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        Bluetooth
        Core Specification
          v 5.0



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        Master Table of
        Contents &
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        Requirements
        Specification of the Bluetooth® System

        Specification Volume 0




        Covered Core Package Version: 5.0
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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
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                           CONTENTS




                        This table of contents (TOC) covers the
                        entire Bluetooth Specification.
                        In addition each part of a volume is
                        preceded by a detailed TOC.




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• The TOC for each Volume starts at the top of a page.
• The Volume name in red is followed by the Volume number in black.
• A Volume contains one or more Parts (A, B, etc.); each Part can be viewed
  independently and has its own TOC.

Red or blue text on the following pages indicates hypertext links that take you
directly to the indicated section, on condition that you have access to a
complete specification.




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[Transport Layer]
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                         requirements for Bluetooth
                         compliance.




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Bluetooth Compliance Requirements


1 INTRODUCTION

The Bluetooth Qualification Program Reference Document (PRD) is the
primary reference document for the Bluetooth Qualification Program and
defines its requirements, functions, and policies. The PRD is available on the
Bluetooth Web site.

Passing the Bluetooth Qualification Process demonstrates a certain measure
of compliance and interoperability, but because products are not tested for
every aspect of this Bluetooth Specification, qualification does not guarantee
compliance. Passing the Bluetooth Qualification Process only satisfies one
condition of the license grant. The Member has the ultimate responsibility to
ensure that the qualified product complies with this Bluetooth Specification and
interoperates with other products.




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Bluetooth Compliance Requirements


2 SCOPE

This part of the specification defines some fundamental concepts used in the
Bluetooth Qualification Program.




Scope                                                             06 December 2016
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Bluetooth Compliance Requirements


3 DEFINITIONS

Bluetooth Qualification Process – The process defined in the Bluetooth
Qualification Program Reference Document (PRD) to qualify a design used in
implementations of Bluetooth wireless technology.

Bluetooth Qualification Program – The Bluetooth Qualification Process
together with other related requirements and processes.

3.1 TYPES OF BLUETOOTH PRODUCTS
Bluetooth Product — Any product containing an implementation of Bluetooth
wireless technology. Bluetooth Products as defined herein may require
enabling technology external to Bluetooth Scope, as defined by the Patent and
Copyright License Agreement, to become functional (e.g. power supply,
technology capable of running executable code, etc.). Enabling technology is
not part of any of the Bluetooth Product type definitions and is not included in
the Bluetooth License grant.

All Bluetooth Products shall be one of the following:
• Bluetooth End Product
• Bluetooth Host Subsystem Product
• Bluetooth Controller Subsystem Product
• Bluetooth Profile Subsystem Product
• Bluetooth Component Product
• Bluetooth Development Tool
• Bluetooth Test Equipment.

Table 3.1 defines abbreviations for the different Core Configurations defined in
Section 4.

                                                                            Section
 Abbreviation      Explanation                                              Reference

 BR CC             Bluetooth Basic Rate Core Configuration                  Section 4.1

 EDR CC            Bluetooth Enhanced Data Rate Core Configuration          Section 4.2

 HS CC             High Speed Bluetooth Core Configuration                  Section 4.3

 LE CC             Bluetooth Low Energy Core Configuration                  Section 4.4

 BR and LE         Bluetooth Basic Rate and Low Energy Combined Core        Section 4.5
 Combined CC       Configuration

 HCI CC            Host Controller Interface Core Configuration             Section 4.6

Table 3.1: Core Configuration abbreviations



Definitions                                                                06 December 2016
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Bluetooth Compliance Requirements

Using the abbreviations in Table 3.1 the following tables define Bluetooth
product types in terms of Core Configurations. For the respective Core
Configuration, the letter “M” indicates that it is mandatory to claim support, “O”
indicates that it is optional to claim support, “P” indicates that it is optionally
permitted to claim only partial support of the Core Configuration, “I” indicates
that the Core Configuration is inherently included in the combined Core
Configuration, “E” indicates that support for the Core Configuration shall not be
claimed.

3.1.1 Bluetooth End Product

A Bluetooth End Product is a Bluetooth product that claims to implement one or
more Core Configurations, in compliance with the required parts of the
Specification, and in accordance with the mandatory requirements as defined
herein. Complementary products for Bluetooth End Products are limited to only
Bluetooth Profile Subsystem Products.
The Bluetooth End Product types are defined in Table 3.2.

                                                     BR and LE
                    BR CC      EDR CC     HS CC      Combined CC   LE CC       HCI CC

 BR End Product        M           P          P             E         E             O

 EDR End Product       M           M          P             E         E             O

 HS End Product        M           M          M             E         E             O

 LE End Product         E          E          E             E         M             O

 BR and LE
                        I          P          P             M         I             O
 End Product

 EDR and LE
                        I          M          P             M         I             O
 End Product

 HS and LE
                        I          M          M             M         I             O
 End Product

Table 3.2: Required configuration per Bluetooth End Product type


3.1.2 Bluetooth Subsystem Product

A Bluetooth Subsystem Product is a Bluetooth product that claims to
implement only a portion of the Specification, in compliance with such portion
of the Specification, and in accordance with the mandatory requirements as
defined herein. Bluetooth Subsystem Products can be qualified solely for
distribution; the use of Bluetooth wireless technology in Bluetooth Subsystem
Products requires such Bluetooth Subsystem Products to be combined with
one or more complementary products such that the resulting combination
satisfies the requirements of a Bluetooth End Product. Complementary


Definitions                                                               06 December 2016
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products used in combinations are limited to those complementary products
specified in each of the product definitions.

There are three types of Bluetooth Subsystem Products defined:
1. Bluetooth Host Subsystem Product
2. Bluetooth Controller Subsystem Product
3. Bluetooth Profile Subsystem Product.

A Bluetooth Subsystem Product shall be one of these types.

3.1.2.1 Bluetooth Host Subsystem Product

The required configuration for each Bluetooth Host Subsystem Product type is
listed in Table 3.3.

                                                    BR and LE
                         BR CC         HS CC       Combined CC       LE CC
                        Host Parts    Host Parts    Host Parts      Host Parts      HCI CC

 BR/EDR Host
                             M            P              E              E              M
 Subsystem Product

 HS Host
                             M            M              E              E              M
 Subsystem Product

 LE Host
                             E            E              E              M              M
 Subsystem Product

 BR/EDR and LE Host
                             I            P              M               I             M
 Subsystem Product

 HS and LE Host
                             I            M              M               I             M
 Subsystem Product

Table 3.3: Required configuration per Bluetooth Host Subsystem Product type

A Bluetooth Host Subsystem Product may contain, in addition to the required
Core Configuration Host parts (as defined in Table 3.3), all the mandatory
requirements defined in one or more of the protocols and profiles above HCI.
Protocols below HCI required by the Core Configuration Controller parts (as
defined in Table 3.4) shall be excluded from the Host Subsystem Product.
Complementary products for Bluetooth Host Subsystem Products are limited to:
              a) Bluetooth Controller Subsystem Products that implement and use
                 the HCI ([Vol 2] Part E) for communication between the
                 subsystems; and
              b) Bluetooth Profile Subsystem Products when the Bluetooth Host
                 Subsystem is combined with a Bluetooth Controller Subsystem
                 Product.




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Bluetooth Compliance Requirements

3.1.2.2 Bluetooth Controller Subsystem Product

The required configuration for each Bluetooth Controller Subsystem Product
type is listed in Table 3.4.

                                                           BR and LE
                    BR CC        EDR CC       HS CC       Combined CC      LE CC
                   Controller   Controller   Controller    Controller     Controller      HCI
                     Parts        Parts        Parts         Parts          Parts         CC

 BR Controller
 Subsystem             M            P            P             E                E          M
 Product

 EDR Control-
 ler Subsys-           M            M            P             E                E          M
 tem Product

 HS Controller
 Subsystem             M            M            M             E                E          M
 Product

 HS only Con-
 troller Subsys-       E            E            M             E                E          M
 tem Product

 LE Controller
 Subsystem             E            E            E             E               M           M
 Product

 BR and LE
 Controller
                       I            P            P            M                 I          M
 Subsystem
 Product

 EDR and LE
 Controller
                       I            M            P            M                 I          M
 Subsystem
 Product

 HS and LE
 Controller
                       I            M            M            M                 I          M
 Subsystem
 Product

Table 3.4: Required configuration per Bluetooth Controller Subsystem Product type

A Bluetooth Controller Subsystem Product shall be limited to the Controller
parts of the Core Configurations. Protocols and Profiles above HCI required by
the Core Configuration Host parts (as defined in Table 3.3) shall be excluded
from the Controller Subsystem Product. Complementary products for Bluetooth
Controller Subsystem Products are limited to Bluetooth Host Subsystem
Products that implement and use the HCI ([Vol 2] Part E) for communication
between the subsystems.




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3.1.2.3 Bluetooth Profile Subsystem Product

A Bluetooth Profile Subsystem Product is a Bluetooth product that claims to
implement, at a minimum, all the mandatory requirements defined in one or
more of the profile or service specifications. Complementary products for
Bluetooth Profile Subsystem Products are limited to:
              a) Bluetooth Host Subsystem Products when combined with a
                 Bluetooth Controller Subsystem Product; and
              b) Bluetooth End Products.

3.1.3 Bluetooth Component Product

A Bluetooth Component Product is a Bluetooth product that claims to
implement, at a minimum, all the mandatory requirements, if any, of either one
or more of any of the protocol and profile or service parts of the Specification in
compliance with such portion of the Specification. Bluetooth Component
Products can be qualified solely for distribution and the use of the Bluetooth
wireless technology in Bluetooth Component Products require such Bluetooth
Component Products to be incorporated in Bluetooth End Products or
Bluetooth Subsystem Products. A product that meets the requirements of a
Bluetooth End Product or Bluetooth Subsystem product may be qualified as a
Bluetooth Component Product if a manufacturer determines that further
integration is necessary prior to qualifying the product as a Bluetooth End
Product or Bluetooth Subsystem Product.

3.1.4 Bluetooth Development Tool

A Bluetooth Development Tool is a Bluetooth product intended to facilitate the
development of new Bluetooth designs. Bluetooth Development Tools can be
qualified solely for distribution and the use of the Bluetooth wireless technology
in development of new Bluetooth Products.

3.1.5 Bluetooth Test Equipment

A Bluetooth Test Equipment is a Bluetooth product intended to facilitate the
testing of new Bluetooth Products. Bluetooth Test Equipment can be qualified
solely for distribution and the use of the Bluetooth wireless technology in
testing of new Bluetooth Products. Where necessary, Bluetooth Test
Equipment may deviate from the Specification in order to fulfill the test
purposes in the Bluetooth Test Specifications.




Definitions                                                            06 December 2016
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Bluetooth Compliance Requirements


4 CORE CONFIGURATIONS

This section defines the set of features that are required for a product to be
qualified to a specification name. The Core Specification version number is
simply the version number of the specification itself.

Specification names differ from Core Specification version numbers in that
products are marked based on meeting requirements for a Core Configuration
together with the mixing requirements (see [Vol 1] Part D, Section 1).

Each Core Configuration is defined by a set of parts and individual features of
the Core Specification that shall be supported to allow the configuration name
to be used. The configuration requirements imposed on a device may depend
on the profiles that it supports.

4.1 BASIC RATE CORE CONFIGURATION
This section specifies compliance requirements for the “Basic Rate” Core
Configuration.

To claim support to the “Basic Rate” Core Configuration, an implementation
must support a set of Required Features, according to the details in Table 4.1
and Table 4.2.

Host Part:

 Layer                       Required Features

 L2CAP ([Vol 3] Part A)      L2CAP Signaling Channel (CID 0x0001) and all mandatory
                             features associated with it

 SDP ([Vol 3] Part B)        All mandatory features
 ATT ([Vol 3] Part F)        If ATT is supported, all mandatory features

 GATT ([Vol 3] Part G)       GATT is mandatory when ATT is supported. When supported,
                             all mandatory features

 GAP ([Vol 3] Part C)        All mandatory features in sections 2 through 8 and section 15
Table 4.1: BR Core Configuration Host requirements

Controller Part:

 Layer                       Required Features

 RF ([Vol 2] Part A)         All mandatory features

 BB ([Vol 2] Part B)         All mandatory features

 LMP ([Vol 2] Part C)        All mandatory features
Table 4.2: BR Core Configuration Controller requirements

Core Configurations                                                              06 December 2016
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4.2 ENHANCED DATA RATE CORE CONFIGURATIONS
This section specifies compliance requirements for the “Enhanced Data Rate”
Core Configuration.

Table 4.3 defines three categories of Transport Requirements that shall be
satisfied subject to the following rules:
• A Bluetooth product shall support category 1 whenever it supports
  asynchronous transports for the profiles it incorporates.
• A Bluetooth product shall support category 2 whenever it supports
  asynchronous transports with multislot ACL packets for the profiles it
  incorporates.
• A Bluetooth product shall support category 3 whenever it supports eSCO
  synchronous transports for the profiles it incorporates.

A multi-profile product shall support all applicable categories in order to claim
support for the Enhanced Data Rate Core Configuration.

                                                   Controller Part            Host Part

 Category                                          LMP Features               L2CAP Feature
 No.                  Transport Requirements       Supported                  Bits Required

 1                    EDR for asynchronous         Enhanced Data Rate         None
                      transports (single slot)     ACL 2 Mb/s mode (25)
                                                   AND
                                                   Enhanced Data Rate
                                                   ACL 3 Mb/s mode (26)

 2                    EDR for asynchronous         3-slot Enhanced Data       None
                      transports (multi-slot)      Rate ACL packets (39)
                                                   AND
                                                   5-slot Enhanced Data
                                                   Rate ACL packets (40)

 3                    EDR for synchronous trans-   Enhanced Data Rate         None
                      ports                        eSCO 2 Mb/s mode (45)

Table 4.3: EDR Core Configuration requirements




Note: No additional requirements are stated on the support of 3-EV3, 2-EV5
and 3-EV5 packets.




Core Configurations                                                              06 December 2016
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4.3 HIGH SPEED CORE CONFIGURATION
This section specifies compliance requirements for the “High Speed” Core
Configuration.

To claim support to the “High Speed” Core Configuration, an implementation
must support a set of Required Features, according to the details in Table 4.4
and Table 4.5.

Host Part:

 Layer                         Required Features

 L2CAP ([Vol 3] Part A)        Enhanced Retransmission Mode (L2CAP extended features
                               mask number 3)
                               Fixed Channels (L2CAP extended features mask number 7)
                               AMP Manager Fixed Channel (CID 0x0003)
                               AMP Channel Creation and Handling ([Vol 3] Part A, Section 9)

 A2MP ([Vol 3] Part E)         All mandatory features

Table 4.4: HS Core Configuration Host requirements

Controller Part:

 Layer                         Required Features

 802.11 PAL ([Vol 5] Part A)   All mandatory features

Table 4.5: HS Core Configuration Controller requirements


4.4 LOW ENERGY CORE CONFIGURATION
This section specifies compliance requirements for the “Low Energy” Core
Configuration.

To claim support to the “Low Energy” Core Configuration, an implementation
must support a set of Required Features, according to the details in Table 4.6
and Table 4.7.

Host Part:

 Layer                         Required Features

 L2CAP ([Vol 3] Part A)        If the GAP Peripheral or Central role is supported, L2CAP LE
                               Signaling Channel (CID 0x0005) and all mandatory features
                               associated with it

 GAP ([Vol 3] Part C)          All mandatory features for at least one of the LE GAP roles
                               (Broadcaster, Observer, Peripheral or Central) in sections 9-12
                               and section 15

Table 4.6: LE Core Configuration Host requirements

Core Configurations                                                              06 December 2016
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 Layer                       Required Features

 ATT ([Vol 3] Part F)        If the GAP Peripheral or Central role is supported, all manda-
                             tory features

 GATT ([Vol 3] Part G)       GATT is mandatory when ATT is supported. When supported,
                             all mandatory features

 SM ([Vol 3] Part H)         If the GAP Peripheral or Central role is supported, all manda-
                             tory features

Table 4.6: LE Core Configuration Host requirements

Controller Part:

 Layer                       Required Features

 PHY ([Vol 6] Part A)        All mandatory features

 LL ([Vol 6] Part B)         All mandatory features

Table 4.7: LE Core Configuration Controller requirements


4.5 BASIC RATE AND LOW ENERGY COMBINED CORE
CONFIGURATION
This section specifies compliance requirements for the “Basic Rate and Low
Energy Combined” Core Configuration.

To claim support for the “Basic Rate and Low Energy” Core Configuration, an
implementation must support a set of Required Features, according to the
details inTable 4.8 and Table 4.9.

Host Part:

 Layer                       Required Features

 L2CAP ([Vol 3] Part A)      All L2CAP requirements in the BR CC and LE CC


 SDP ([Vol 3] Part B)        All mandatory features

 GAP ([Vol 3] Part C)        All GAP requirements in the BR CC and LE CC
                             AND
                             All requirements in sections 13, 14 and 15

 ATT ([Vol 3] Part F)        All ATT requirements in the LE CC. If ATT is supported on BR,
                             all ATT requirements in the BR CC.

 GATT ([Vol 3] Part G)       All GATT requirements in the LE CC. If GATT is supported on
                             BR, all GATT requirements in the BR CC.

 SM ([Vol 3] Part H)         All SM requirements in the LE CC

Table 4.8: BR and LE Combined Core Configuration Host requirements


Core Configurations                                                             06 December 2016
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Controller Part:

 Layer                      Required Features

 RF ([Vol 2] Part A)        All RF requirements in the BR CC

 BB ([Vol 2] Part B)        All BB requirements in the BR CC

 LMP ([Vol 2] Part C)       All LMP requirements in the BR CC
                            AND
                            LMP feature bits 38 and 65 shall be set

 PHY ([Vol 6] Part A)       All mandatory features in the LE CC

 LL ([Vol 6] Part B)        All mandatory features in the LE CC

Table 4.9: BR and LE Combined Core Configuration Controller requirements


4.6 HOST CONTROLLER INTERFACE CORE
CONFIGURATION
This section specifies compliance requirements for the “Host Controller
Interface” Core Configuration.

To claim support for the “Host Controller Interface” Core Configuration, an
implementation must support a set of Required Features, according to the
details in Table 4.10.

 Layer                      Required Features

 HCI ([Vol 2] Part E)       All the supported features in the implementation shall be
                            compliant to the Host Controller Interface.

Table 4.10: HCI Core Configuration requirements




Core Configurations                                                           06 December 2016
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                                                              Part C




                              PART C: APPENDIX




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Appendix


1 REVISION HISTORY

Beginning with v1.2 of the Core System Package the core Bluetooth
specification documents, protocols and profiles were transferred to a new
partitioning comprising volumes and individual profile specifications are each
contained in an individual document instead of the two volumes (Core and
Profiles) used in v1.1.

For more detailed information about changes between versions published
before v1.2, please see the Appendix I “Revision History” in v1.1.

1.1 [VOL 0] MASTER TOC & COMPLIANCE REQUIREMENTS

1.1.1 Bluetooth Compliance Requirements
 Rev               Date            Comments

 5.0               Dec 06 2016     Incorporated errata

 4.2               Dec 02 2014     Incorporated errata

 4.1               Dec 03 2013     Clarifications for allowable complementary subsystems.

                                   Updated to support Low Energy, ATT, and GATT support for
 4.0               June 30 2010    BR/EDR, and to enable High Speed Controller Subsys-
                                   tems.

                                   Updated to include support for the Alternative MAC/PHY
 3.0 + HS          April 21 2009
                                   feature and High Speed Core Configuration.

 v2.1 + EDR        July 26 2007    No content changes. Updates to the Table of Contents.

                                   This version of the specification is intended to be a sepa-
                                   rate Bluetooth Specification that has all the functional char-
 v2.0 + EDR        Oct 15 2004     acteristics of the v1.2 Bluetooth Specification that adds the
                                   Enhanced Data Rate (EDR) feature which required
                                   changes to Volume 0, Part A, Master Table of Contents.

                                   This Part was moved from the Core volume. No content
 v1.2              Nov 05 2003
                                   changes have been made to this document since v1.1.




Revision History                                                                  06 December 2016
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1.2 [VOL 1] ARCHITECTURE & TERMINOLOGY OVERVIEW


 Rev               Date            Comments

                                   Updated to include architectural aspects of new features
 5.0               Dec 06 2016
                                   added. Incorporated errata.

                                   Updated to include architectural aspects of new features
 4.2               Dec 02 2014
                                   added. Incorporated errata.

                                   Updated to include architectural aspects of new features
 4.1               Dec 03 2013
                                   added to CSA2, CSA3, CSA4 and v4.1.

                                   Updated to support Low Energy. and ATT and GATT over
 4.0               June 30 2010
                                   BR/EDR.

                                   Updated to integrate the Alternate MAC/PHY and Unicast
 3.0 + HS          April 21 2009
                                   Connectionless Data features.

                                   Added definitions for new features: Encryption Pause and
                                   Resume, Erroneous Data reporting, Extended Inquiry
 v2.1 + EDR        July 26 2007
                                   Response, Link Supervision Timeout Event, Packet Bound-
                                   ary Flag, Secure Simple Pairing, Sniff Subrating.

                                   This version of the specification is intended to be a separate
                                   Bluetooth Specification that has all the functional characteris-
 v2.0 + EDR        Oct 15 2004     tics of the v1.2 Bluetooth Specification that adds the
                                   Enhanced Data Rate (EDR) feature which incorporates
                                   changes to Volume 1, Part B, Acronyms and Abbreviations.

                                   New volume with informational content. This volume will
 v1.2              Nov 05 2003
                                   always be updated in parallel with the Core System volumes.




Revision History                                                                    06 December 2016
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1.3 [VOLS 2, 3, 5, 6 & 7] CORE SYSTEM PACKAGE
 Rev               Date           Comments

                                  • New features added in 5.0:
                                     - CSA 5 features (Higher Output Power)
                                     - Slot Availability Mask (SAM)
                                     - 2 Msym/s PHY for LE
                                     - LE Long Range
 5.0               Dec 06 2016       - High Duty Cycle Non-Connectable Advertising
                                     - LE Advertising Extensions
                                     - LE Channel Selection Algorithm #2
                                  • Park State was deprecated and removed
                                  • Errata for v2.0 + EDR, v2.1 + EDR, v3.0 + HS + 4.0 + 4.1
                                    + 4.2 (ESR09, ESR10 and ESR11).
                                    See also [Vol 1] Part C, Section 9.4.

                                  • New features added in 4.2:
                                     - LE Data Packet Length Extension
                                     - LE Secure Connections
 4.2               Dec 02 2014       - Link Layer Privacy
                                     - Link Layer Extended Scanner Filter Policies
                                  • Errata for v2.0 + EDR, v2.1 + EDR, v3.0 + HS + 4.0 + 4.1
                                    (ESR08). See also [Vol 1] Part C, Section 8.2.

                                  • New features added and changes made in 4.1:
                                     - CSA 2 features
                                     - CSA 3 features
                                     - CSA 4 features
                                     - Secure Connections
                                     - Train Nudging & Generalized Interlaced Scan
                                     - Low Duty Cycle Directed Advertising
                                     - 32-bit UUID Support in LE
 4.1               Dec 03 2013       - LE Dual Mode Topology
                                     - Piconet Clock Adjustment
                                     - Removal of At Least One New Feature
                                     - LE L2CAP Connection Oriented Channel Support
                                     - LE Privacy v1.1
                                     - LE Link Layer Topology
                                     - LE Ping
                                  • Errata for v2.0 + EDR, v2.1 + EDR, v3.0 + HS + 4.0
                                    (ESR05, ESR06 and ESR07)

                                  • New features added in 4.0:
 4.0               June 30 2010      -Low Energy
                                  • Errata for v2.0 + EDR, v2.1 + EDR, v3.0 + HS




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                                   • New features added in 3.0 + HS:
                                      -AMP Manager Protocol (A2MP)
                                      -Enhancements to L2CAP for AMP
                                      -Enhancements to HCI for AMP
                                      -Enhancements to Security for AMP
 3.0 + HS          April 21 2009      -802.11 Protocol Adaptation Layer
                                   • Enhanced Power Control
                                      -Unicast Connectionless Data
                                      -HCI Read Encryption Key Size command
                                      -Generic Test Methodology for AMP
                                      -Enhanced USB and SDIO HCI Transports
                                   • Errata for v 2.0 + EDR and v2.1 + EDR

                                   • New features added in 2.1 + EDR:
                                      -Encryption Pause and Resume
                                      -Erroneous Data Reporting
                                      -Extended Inquiry Response
                                      -Link Supervision Timeout Changed Event
 v2.1 + EDR        July 26 2007       -Non-Flushable Packet Boundary Flag
                                      -Secure Simple Pairing
                                      -Sniff Subrating
                                      -Security Mode 4
                                   • Updates to IEEE language in Volume 2, Part H, Security
                                   • Errata for v2.0 + EDR

                                   This version of the specification is intended to be a separate
 v2.0 + EDR        Aug 01 2004     Bluetooth Specification. This specification was created by
                                   adding EDR and the errata.

                                   New features added in v1.2:
                                   - Architectural overview
                                   - Faster connection
                                   - Adaptive frequency hopping
                                   - Extended SCO links
                                   - Enhanced error detection and flow control
                                   - Enhanced synchronization capability
                                   - Enhanced flow specification
                                   The Core System Package now comprises two volumes
                                   and the text has gone through a radical change both in
 v1.2              Nov 05 2003
                                   terms of structure and nomenclature. The language is also
                                   more precise and is adapted to meet the IEEE standard.
                                   The following parts are moved from the Core System Pack-
                                   age to other volumes or were deprecated:
                                   RFCOMM [vol 7], Object Exchange (IrDA Interoperability)
                                   [vol 8], TCS [vol 9], Interoperability Requirements for Blue-
                                   tooth as a WAP Bearer [vol 6], HCI USB Transport Layer
                                   [vol4], HCI RS232 Transport Layer [vol 4], HCI UART Trans-
                                   port Layer [vol 4], Bluetooth Compliance Requirements [vol
                                   0], Optional Paging Schemes [deprecated]



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 Rev               Date            Comments

                                   The specification was updated with Errata items previously
                                   published on the web site. The Bluetooth Assigned Num-
 1.1               Feb 22 2001
                                   bers appendix was lifted out from the specification to allow
                                   continuous maintenance on the web site.

                                   The specification was updated with Errata items previously
                                   published on the web site and was revised from a linguistic
                                   point of view.

 1.0B              Dec. 1 1999     The following parts were added:
                                   Interoperability Requirements for Bluetooth as a WAP
                                   Bearer, Test Control Interface, Sample Data (appendix),
                                   Bluetooth Audio (appendix), Baseband Timers (appendix)
                                   and Optional Paging Scheme (appendix)

                                   The first version of the Bluetooth Specification published on
 1.0a              July 26 1999    the public web site.
                                   Added part: Bluetooth Compliance Requirements.

                                   The following parts were added:
                                   Service Discovery Protocol (SDP), Telephony Control Spec-
 1.0 draft         July 05 1999
                                   ification (TCS), Bluetooth Assigned Numbers (appendix)
                                   and Message Sequence Charts (appendix)

                                   The following parts were added:
 0.9               April 30 1999   IrDA Interoperability, HCI RS232 Transport Layer, HCI
                                   UART Transport Layer and Test Mode

                                   The following parts were added:
 0.8               Jan 21 1999     Radio Specification, L2CAP, RFCOMM, HCI & HCI USB
                                   Transport Layer

                                   This first version only included Baseband and Link Manager
 0.7               Oct 19 1998
                                   Protocol


1.4 [VOL 4] TRANSPORT LAYERS
 Rev               Date            Comments

 5.0               Dec 06 2016     Incorporated errata

 4.2               Dec 02 2014     Incorporated errata

 4.1               Dec 03 2013     Incorporated errata

                   June 30
 4.0                               Incorporated errata
                   2010

                                   Updated the USB and SDIO HCI Transport protocols for high
                   April 21
 3.0 + HS                          speed, support composite BR/EDR + AMP devices, and to
                   2009
                                   include errata.

 v2.1 + EDR        July 26 2007    Added this volume to the specification




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Appendix


2 CONTRIBUTORS

2.1 [VOL 0] MASTER TOC & COMPLIANCE REQUIREMENTS

2.1.1 Part B: Bluetooth Compliance Requirements
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Appendix


2.2 [VOL 1] ARCHITECTURE & TERMINOLOGY OVERVIEW

2.2.1 Part A: Architectural Overview

Version 5.0
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2.2.3 Part C: Core Specification Change History
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2.3 [VOL 2] CORE SYSTEM PACKAGE, CONTROLLER

2.3.1 Part A: Radio Specification

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Version 2.0 + EDR
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 Jukka Reunamäki                        Nokia
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Version 1.2
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2.3.2 Part B: Baseband Specification

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Version 4.1
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 Sean Mitchell                          CSR
 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Dishant Srivastava                     CSR
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 Yves Wernaers                          ST-Ericsson
 Alon Cheifetz                          Texas Instruments
 Alon Paycher                           Texas Instruments
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Version 2.1 + EDR
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 Shawn Ding                             Broadcom
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Paul Wright                            CSR
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 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
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 Onn Haran                              Texas Instruments
 Thomas M. Siep                         Texas Instruments
 Ayse Findikli                          Zeevo, Inc.

Previous versions [Encryption Sample Data, appendix]
 Joel Linksy                            RFMD
 Thomas Müller                          Nokia Corporation
 Thomas Sander                          Nokia Corporation
 Joakim Persson (Section Owner)         Telefonaktiebolaget LM Ericsson

Previous versions [Bluetooth Audio, appendix]
 Magnus Hansson                         Telefonaktiebolaget LM Ericsson
 Fisseha Mekuria                        Telefonaktiebolaget LM Ericsson
 Mats Omrin                             Telefonaktiebolaget LM Ericsson
 Joakim Persson (Section Owner)         Telefonaktiebolaget LM Ericsson

Previous versions [Baseband Timers, appendix]
 David E. Cyper                         NIST
 Jaap Haartsen (Section Owner)          Telefonaktiebolaget LM Ericsson
 Joakim Persson                         Telefonaktiebolaget LM Ericsson
 Ayse Findikli                          Zeevo, Inc.


2.3.3 Part C: Link Manager Protocol

Version 5.0
 Steven Hall                            Broadcom
 Knut Odman                             Broadcom
 Huanchun Ye                            Broadcom
 Burch Seymour                          Continental Automotive
 Harish Balasubramaniam                 Intel
 Josselin de la Broise                  Marvell
 L. C. Ko                               MediaTek
 Joel Linsky                            Qualcomm Technologies, Inc.
 Clive D.W. Feather                     Samsung Electronics Co., Ltd.




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Appendix

Version 4.1
 Joakim Linde                           Apple
 Shawn Ding                             Broadcom
 Prasanna Desai                         Broadcom
 Steven Hall                            Broadcom
 Farooq Hameed                          Broadcom
 Robert Hulvey                          Broadcom
 Knut Odman                             Broadcom
 Angel Polo                             Broadcom
 Erik Rivard                            Broadcom
 Mayank Batra                           CSR
 Joe Decuir                             CSR
 Tim Howes                              CSR
 Ian Jones                              CSR
 Sean Mitchell                          CSR
 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Dishant Srivastava                     CSR
 Jonathan Tanner                        CSR
 Steven Wenham                          CSR
 Leif Wilhelmsson                       Ericsson
 Magnus Eriksson                        Intel
 Marcel Holtmann                        Intel
 Sharon Yang                            Intel
 Josselin de la Broise                  Marvell
  L. C. Ko                              MediaTek
 Huanchun Ye                            MediaTek
 Krishna Singala                        Mindtree
 Lily Chen                              NIST
 Kaisa Nyberg                           Nokia
 Tsuyoshi Okada                         Panasonic Corporation
 Niclas Granqvist                       Polar
 Olaf Hirsch                            Qualcomm Atheros
 Joel Linsky                            Qualcomm Atheros
 Cameron McDonald                       Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Jean-Philippe Lambert                  RivieraWaves
 Rasmus Abildgren                       Samsung Electronics
 Clive D. W. Feather                    Samsung Electronics
 Kyong-Sok Seo                          Samsung Electronics Co. Ltd
 Andrew Estrada                         Sony Corporation
 Masahiko Seki                          Sony Corporation
 Jorgen van Parijs                      ST Ericsson
 Yves Wernaers                          ST-Ericsson
 Alon Cheifetz                          Texas Instruments


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Appendix


 Alon Paycher                           Texas Instruments
 Rod Kimmell                            X6D, Inc.

Version 4.0
 Robin Heydon                           CSR
 Steven Wenham                          CSR
 Kanji Kerai                            Nokia
 Steve Davies                           Nokia
 Tim Howes                              Nokia
 Brian A. Redding                       Qualcomm
 Joel Linsky                            Qualcomm
 Alon Paycher                           Texas Instruments

Version 3.0 + HS
 Phil Hough                             Anritsu
 Edward Harrison                        Anritsu
 Shawn Ding                             Broadcom
 Robert Hulvey                          Broadcom
 Mark Braun                             Motorola
 Joel Linsky                            Qualcomm
 Eran Reuveni                           TI

Version 2.1 + EDR
 P G Madhavan                           Agere
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Robin Heydon                           CSR
 Henrik Hedlund                         CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Paul Wright                            CSR
 Dave Suvak                             iAnywhere
 Selim Aissi                            Intel
 Penny Chen                             Intel
 Mattias Edlund                         Infineon
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft
 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft
 Don Stanwyck                           Microsoft
 Yacov Yacobi                           Microsoft


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 Gideon Yuval                           Microsoft
 Peter Hauser                           Microsoft
 Greg Muchnik                           Motorola
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Arto Palin                             Nokia
 Päivi Ruuska                           Nokia
 Joel Linsky                            Qualcomm
 Terry Bourk                            Qualcomm
 Dominique Everaere                     NXP
 Javier del Prado Pavon                 NXP
 Reinhard Meindl                        NXP
 Jorgen van Parijs                      ST
 Guido Bertoni                          ST
 Tim Howes                              Symbian
 Amihai Kidron                          Texas Instruments
 Eran Reuveni                           Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Version 2.0 + EDR
 John Mersh                             TTPCom Ltd.
 Joel Linsky                            RF Micro Devices
 Harald Kafemann                        Nokia
 Simon Morris                           CSR

Version 1.2
 Jennifer Bray                          CSR
 Robin Heydon                           CSR
 Simon Morris                           CSR
 Alexander Thoukydides                  CSR
 Kim Schneider                          Digianswer/Motorola
 Knud Dyring-Olsen                      Digianswer/Motorola
 Henrik Andersen                        Digianswer/Motorola
 Jan Åberg                              Ericsson
 Martin van der Zee                     Ericsson
 Roland Hellfajer                       Infineon
 YC Maa                                 Integrated Programmable Communications, Inc.
 Steve McGowan                          Intel
 Tod Sizer                              Lucent Technologies
 Adrian Stephens                        Mobilian
 Jürgen Schnitzler                      Nokia
 Thomas Müller                          Nokia


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Appendix


 Carmen Kuhl                            Nokia
 Arto Palin                             Nokia
 Thomas Müller                          Nokia
 Roland Matthijssen                     Philips
 Rob Davies                             Philips
 Harmke de Groot                        Philips
 Antonio Salloum                        Philips
 Joel Linsky                            Silicon Wave
 Terry Bourk                            Silicon Wave
 Yariv Raveh                            Texas Instruments
 Tally Shina                            Texas Instruments
 Amihai Kidron                          Texas Instruments
 Yoshimitsu Shimojo                     Toshiba
 Toshiki Kizu                           Toshiba
 John Mersh (section owner)             TTPCom
 Sam Turner                             TTPCom

Previous versions
 Kim Schneider                          Digianswer A/S
 Toru Aihara                            IBM Corporation
 Chatschik Bisdikian                    IBM Corporation
 Kris Fleming                           Intel Corporation
 David E. Cypher                        NIST
 Thomas Busse                           Nokia Corporation
 Julien Corthial                        Nokia Corporation
 Olaf Joeressen                         Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Dong Nguyen                            Nokia Corporation
 Harmke de Groot                        Philips
 Terry Bourk                            Silicon Wave
 Johannes Elg                           Telefonaktiebolaget LM Ericsson
 Jaap Haartsen                          Telefonaktiebolaget LM Ericsson
 Tobias Melin (Section Owner)           Telefonaktiebolaget LM Ericsson
 Mary A. DuVal                          Texas Instruments
 Onn Haran                              Texas Instruments
 John Mersh                             TTPCom




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2.3.4 Part D: Error Codes

Version 5.0
 Steven Hall                            Broadcom
 Knut Odman                             Broadcom
 Angel Polo                             Broadcom
 Huanchun Ye                            Broadcom
 Burch Seymour                          Continental Automotive
 Marcel Holtmann                        Intel
 Harish Balasubramaniam                 Intel
 Tim Wei                                IVT Wireless
 Josselin de la Broise                  Marvell
 L.C. Ko                                MediaTek
 Chris Deck                             ON Semiconductor
 Bjarne Klemmensen                      Oticon A/S
 Robin Heydon                           Qualcomm Technologies, Inc.
 Joel Linsky                            Qualcomm Technologies, Inc.
 Brian A. Redding                       Qualcomm Technologies, Inc.
 Mayank Batra                           Qualcomm Technologies, Inc.
 Jonathan Tanner                        Qualcomm Technologies, Inc.
 Rasmus Abildgren                       Samsung Electronics Co., Ltd.
 Michael Knudsen                        Samsung Electronics Co., Ltd.
 Clive D.W. Feather                     Samsung Electronics Co., Ltd.
 Jeff Solum                             Starkey
 Florian Lefeuvre                       Texas Instruments

Version 4.1
 Shawn Ding                             Broadcom
 Steven Hall                            Broadcom
 Knut Odman                             Broadcom
 Angel Polo                             Broadcom
 Mayank Batra                           CSR
 Joe Decuir                             CSR
 Giriraj Goyal                          CSR
 Neil Stewart                           CSR
 Leif Wilhelmsson                       Ericsson
 Harish Balasubramaniam                 Intel
 Magnus Eriksson                        Intel
 Sharon Yang                            Intel
 Olaf Hirsch                            Qualcomm Atheros
 Joel Linsky                            Qualcomm Atheros
 Jean-Philippe Lambert                  RivieraWaves
 Clive D. W. Feather                    Samsung Electronics


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 Jorgen van Parijs                      ST Ericsson
 Yves Wernaers                          ST-Ericsson
 Alon Cheifetz                          Texas Instruments
 Jason Hillyard                         Wicentric

Version 4.0
 Robert Hulvey                          Broadcom
 Steven Wenham                          CSR
 Kanji Kerai                            Nokia
 Steve Davies                           Nokia
 Tim Howes                              Nokia
 Brian A. Redding                       Qualcomm
 Joel Linsky                            Qualcomm
 Geert Sonck                            ST Ericsson

Version 3.0 + HS
 Phil Hough                             Anritsu
 Kevin Hayes                            Atheros
 Stratos Chatzikyriakos                 Artimi
 Shawn Ding                             Broadcom
 Joe Decuir                             CSR
 David Suvak                            iAnywhere
 Koen Derom                             NXP Semiconductors
 Joel Linsky                            Qualcomm
 Krishnan Rajamani                      Qualcomm
 John Hillan                            Qualcomm
 Mayank Sharma                          SiRF
 Jason Hillyard                         Staccato Communications
 William Stoye                          Staccato Communications

Version 2.1 + EDR
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Selim Aissi                            Intel
 Penny Chen                             Intel
 Mattias Edlund                         Infineon
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft


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 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft
 Don Stanwyck                           Microsoft
 Yacov Yacobi                           Microsoft
 Gideon Yuval                           Microsoft
 Greg Muchnik                           Motorola
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Arto Palin                             Nokia
 Päivi Ruuska                           Nokia
 Dominique Everaere                     NXP
 Reinhard Meindl                        NXP
 Joel Linsky                            Qualcomm
 Terry Bourk                            Qualcomm
 Guido Bertoni                          ST
 Eran Reuveni                           Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Version 1.2
 Robin Heydon (section owner)           CSR
 Roland Hellfajer                       Infineon
 Joel Linsky                            Silicon Wave
 John Mersh                             TTPCom

This part was earlier included in the LMP and HCI functional Specifications.

2.3.5 Part E: Bluetooth Host Controller Interface Functional Specification

Version 5.0
 Edward Harrison                        Anritsu
 Phil Hough                             Anritsu
 Shawn Ding                             Broadcom
 Steven Hall                            Broadcom
 Robert Hulvey                          Broadcom
 Knut Odman                             Broadcom
 Angel Polo                             Broadcom
 Huanchun Ye                            Broadcom
 Burch Seymour                          Continental Automotive
 Raja Banerjea                          CSR
 Sandipan Kundu                         CSR
 Dishant Srivastava                     CSR


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 Harish Balasubramaniam                 Intel
 Marcel Holtmann                        Intel
 Tim Wei                                IVT Wireless
 Josselin de la Broise                  Marvell
 Yi-Ling Chao                           Marvell
 KC Chou                                MediaTek
 L.C. Ko                                MediaTek
 James Wang                             MediaTek
 Thomas Varghese                        Mindtree
 Phil Corbishley                        Nordic Semiconductor ASA
 David Engelien-Lopes                   Nordic Semiconductor ASA
 Eivind Sjøgren Olsen                   Nordic Semiconductor ASA
 Sam Geeraerts                          NXP
 Chris Deck                             ON Semiconductor
 Bjarne Klemmensen                      Oticon A/S
 Amre El-Hoiydi                         Phonak Communications AG
 Till Schmalmack                        Phonak Communications AG
 Niclas Granqvist                       Polar
 RaviKiran Gopalan                      Qualcomm Atheros
 Mayank Batra                           Qualcomm Technologies, Inc.
 Robin Heydon                           Qualcomm Technologies, Inc.
 Joel Linsky                            Qualcomm Technologies, Inc.
 Brian A. Redding                       Qualcomm Technologies, Inc.
 Laurence Richardson                    Qualcomm Technologies, Inc.
 Jonathan Tanner                        Qualcomm Technologies, Inc.
 Jean-Philippe Lambert                  RivieraWaves
 Rasmus Abildgren                       Samsung Electronics Co., Ltd.
 Clive D.W. Feather                     Samsung Electronics Co., Ltd.
 Michael Knudsen                        Samsung Electronics Co., Ltd.
 Jeff Solum                             Starkey Hearing Technologies
 Florian Lefeuvre                       Texas Instruments
 Tomás Motos López                      Texas Instruments
 Anthony Viscardi                       Texas Instruments
 Michael Ungstrup                       Widex A/S

Version 4.2
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR


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Appendix


 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Jonathan Tanner                       CSR
 Harish Balasubramaniam                Intel
 Magnus Eriksson                       Intel
 Marcel Holtmann                       Intel
 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics
 Clive D.W. Feather                    Samsung Electronics
 Ed Callaway                           Sunrise Micro Devices
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jean-Philippe Lambert                 RivieraWaves
 Jason Hillyard                        Wicentric

Version 4.1
 John Padgette                          Accenture
 Joakim Linde                           Apple
 Prasanna Desai                         Broadcom
 Shawn Ding                             Broadcom
 Steven Hall                            Broadcom
 Farooq Hameed                          Broadcom
 Robert Hulvey                          Broadcom
 Knut Odman                             Broadcom
 Angel Polo                             Broadcom
 Erik Rivard                            Broadcom
 Mayank Batra                           CSR
 Joe Decuir                             CSR
 Giriraj Goyal                          CSR
 Robin Heydon                           CSR
 Tim Howes                              CSR
 Ian Jones                              CSR
 Sean Mitchell                          CSR
 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Dishant Srivastava                     CSR
 Neil Stewart                           CSR
 Jonathan Tanner                        CSR
 Steven Wenham                          CSR
 Leif Wilhelmsson                       Ericsson
 Harish Balasubramaniam                 Intel
 Magnus Eriksson                        Intel
 Oren Haggai                            Intel


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Appendix


 Marcel Holtmann                        Intel
 Sharon Yang                            Intel
 Yao Wang                               IVT Corporation
 Josselin de la Broise                  Marvell
  L. C. Ko                              MediaTek
 Huanchun Ye                            MediaTek
 Rajan S Pallathu                       MindTree Ltd.
 Krishna Singala                        Mindtree
 Lily Chen                              NIST
 Kaisa Nyberg                           Nokia
 David Engelien-Lopes                   Nordic Semiconductor
 Tsuyoshi Okada                         Panasonic Corporation
 Niclas Granqvist                       Polar
 Olaf Hirsch                            Qualcomm Atheros
 Joel Linsky                            Qualcomm Atheros
 Cameron McDonald                       Qualcomm
 Brian A. Redding                       Qualcomm Atheros
 Jean-Phillippe Lambert                 RivieraWaves
 Rasmus Abildgren                       Samsung Electronics
 Clive D. W. Feather                    Samsung Electronics
 Kyong-Sok Seo                          Samsung Electronics Co. Ltd
 Len Ott                                Socket Mobile
 Andrew Estrada                         Sony Corporation
 Masahiko Seki                          Sony Corporation
 Jorgen van Parijs                      ST Ericsson
 Yves Wernaers                          ST-Ericsson
 Alon Cheifetz                          Texas Instruments
 Alon Paycher                           Texas Instruments
 Anthony Viscardi                       Texas Instruments
 Jason Hillyard                         Wicentric
 Rod Kimmell                            X6D, Inc.

Version 4.0
 Edward Harrison                       Anritsu
 Kevin Hayes                           Atheros
 Joe Decuir                            CSR
 Robin Heydon                          CSR
 Steven Wenham                         CSR
 Magnus Eriksson                       Infineon
 James Dent                            Nokia
 James Steele                          Nokia
 Jonathan Tanner                       Nokia
 Steve Davies                          Nokia
 Brian A. Redding                      Qualcomm
 Joel Linsky                           Qualcomm


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Appendix


 Terry Bourk                           Qualcomm
 Len Ott                               Socket Mobile
 Geert Sonck                           ST Ericsson
 Aaron Atlas                           Texas Instruments
 Anthony Viscardi                      Texas Instruments

Version 3.0 + HS
 Phil Hough                             Anritsu
 Kevin Hayes                            Atheros
 Stratos Chatzikyriakos                 Artimi
 Angel Polo                             Broadcom
 Shawn Ding                             Broadcom
 Victor Zhodzishsky                     Broadcom
 Joe Decuir                             CSR
 David Suvak                            iAnywhere
 Dominique Everaere                     ST-NXP Wireless
 Yao Wang                               IVT
 Koen Derom                             NXP Semiconductors
 Ana Donezar Ibanez                     Parrot
 Joel Linsky                            Qualcomm
 John Hillan                            Qualcomm
 Krishnan Rajamani                      Qualcomm
 Mayank Sharma                          SiRF
 Jason Hillyard                         Staccato Communications
 William Stoye                          Staccato Communications
 Doug Clark                             Symbian

Version 2.1 + EDR
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Henrik Hedlund                         CSR
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Paul Wright                            CSR
 Mattias Edlund                         Infineon
 David Suvak                            iAnywhere
 Selim Aissi                            Intel
 Penny Chen                             Intel
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft


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Appendix


 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft
 Don Stanwyck                           Microsoft
 Yacov Yacobi                           Microsoft
 Gideon Yuval                           Microsoft
 Greg Muchnik                           Motorola
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Arto Palin                             Nokia
 Päivi Ruuska                           Nokia
 Dominique Everaere                     NXP
 Javier del Prado Pavon                 NXP
 Reinhard Meindl                        NXP
 Joel Linsky                            Qualcomm
 Terry Bourk                            Qualcomm
 Tim Howes                              Symbian
 Jorgen van Parijs                      ST
 Guido Bertoni                          ST
 Amihai Kidron                          Texas Instruments
 Eran Reuveni                           Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Version 2.0 + EDR
 Neil Stewart                           Tality UK, Ltd.
 Joel Linsky                            RF Micro Devices
 Robin Heydon                           CSR

Version 1.2
 Robin Heydon (section owner            CSR
 Jennifer Bray                          CSR
 Alexander Thoukydides                  CSR
 Knud Dyring-Olsen                      Digianswer/Motorola
 Henrik Andersen                        Digianswer/Motorola
 Jan Åberg                              Ericsson
 Martin van der Zee                     Ericsson
 Don Liechty                            Extended Systems
 Kevin Marquess                         Hyper Corp
 Roland Hellfajer                       Infineon
 YC Maa                                 Integrated Programmable Communications, Inc.
 Steve McGowan                          Intel
 Tod Sizer                              Lucent Technologies
 Tsuyoshi Okada                         Matsushita Electric Industrial Co. Ltd


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Appendix


 Andy Glass                             Microsoft
 Adrian Stephens                        Mobilian
 Jürgen Schnitzler                      Nokia
 Thomas Müller                          Nokia
 Rene Tischer                           Nokia
 Rob Davies                             Philips
 Antonio Salloum                        Philips
 Joel Linsky                            Silicon Wave
 Terry Bourk                            Silicon Wave
 Len Ott                                Socket Communications
 Randy Erman                            Taiyo Yuden
 Yoshimitsu Shimojo                     Toshiba
 Toshiki Kizu                           Toshiba
 Katsuhiro Kinoshita                    Toshiba
 Sam Turner                             TTPCom
 John Mersh                             TTPCom
Previous versions
 Todor Cooklev                          3Com Corporation
 Toru Aihara                            IBM Corporation
 Chatschik Bisdikian                    IBM Corporation
 Nathan Lee                             IBM Corporation
 Akihiko Mizutani                       IBM Corporation
 Les Cline                              Intel Corporation
 Bailey Cross                           Intel Corporation
 Kris Fleming                           Intel Corporation
 Robert Hunter                          Intel Corporation
 Jon Inouye                             Intel Corporation
 Srikanth Kambhatla                     Intel Corporation
 Steve Lo                               Intel Corporation
 Vijay Suthar                           Intel Corporation
 Bruce P. Kraemer                       Intersil
 Greg Muchnik                           Motorola, Inc.
 David E. Cypher                        NIST
 Thomas Busse                           Nokia Corporation
 Julien Courthial                       Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Dong Nguyen                            Nokia Corporation
 Jürgen Schnitzler                      Nokia Corporation
 Fujio Watanabe                         Nokia Corporation
 Christian Zechlin                      Nokia Corporation
 Johannes Elg                           Telefonaktiebolaget LM Ericsson
 Christian Johansson (Section Owner)    Telefonaktiebolaget LM Ericsson
 Patrik Lundin                          Telefonaktiebolaget LM Ericsson
 Tobias Melin                           Telefonaktiebolaget LM Ericsson
 Mary A. DuVal                          Texas Instruments

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Appendix


 Thomas M. Siep                         Texas Instruments
 Masahiro Tada                          Toshiba Corporation
 John Mersh                             TTPCom

2.3.6 Part F: Message Sequence Charts

Version 5.0
 Steven Hall                            Broadcom
 Knut Odman                             Broadcom
 Huanchun Ye                            Broadcom
 Burch Seymour                          Continental Automotive
 Harish Balasubramaniam                 Intel
 Josselin de la Broise                  Marvell
 L. C. Ko                               MediaTek
 Joel Linsky                            Qualcomm Technologies, Inc.
 Clive D.W. Feather                     Samsung Electronics Co., Ltd.

Version 4.1
 John Padgette                          Accenture
 Prasanna Desai                         Broadcom
 Farooq Hameed                          Broadcom
 Robert Hulvey                          Broadcom
 Erik Rivard                            Broadcom
 Mayank Batra                           CSR
 Ian Jones                              CSR
 Sean Mitchell                          CSR
 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Dishant Srivastava                     CSR
 Steven Wenham                          CSR
 Marcel Holtmann                        Intel
 Josselin De La Broise                  Marvell
 Lily Chen                              NIST
 Kaisa Nyberg                           Nokia
 Tsuyoshi Okada                         Panasonic Corporation
 Joel Linsky                            Qualcomm Atheros
 Cameron McDonald                       Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Jean-Philippe Lambert                  RivieraWaves
 Clive D. W. Feather                    Samsung Electronics
 Kyong-Sok Seo                          Samsung Electronics Co. Ltd
 Andrew Estrada                         Sony Corporation
 Masahiko Seki                          Sony Corporation
 Alon Cheifetz                          Texas Instruments
 Alon Paycher                           Texas Instruments



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 Rod Kimmell                            X6D, Inc.

Version 3.0 + HS
 Phil Hough                             Anritsu
 Kevin Hayes                            Atheros
 Stratos Chatzikyriakos                 Artimi
 Shawn Ding                             Broadcom
 Joe Decuir                             CSR
 David Suvak                            iAnywhere
 Koen Derom                             NXP Semiconductors
 Joel Linsky                            Qualcomm
 Krishnan Rajamani                      Qualcomm
 John Hillan                            Qualcomm
 Mayank Sharma                          SiRF
 Jason Hillyard                         Staccato Communications
 William Stoye                          Staccato Communications

Version 2.1 + EDR
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Henrik Hedlund                         CSR
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Selim Aissi                            Intel
 Penny Chen                             Intel
 Mattias Edlund                         Infineon
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft
 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft
 Don Stanwyck                           Microsoft
 Yacov Yacobi                           Microsoft
 Gideon Yuval                           Microsoft
 Greg Muchnik                           Motorola
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Päivi Ruuska                           Nokia


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 Dominique Everaere                     NXP
 Reinhard Meindl                        NXP
 Joel Linsky                            Qualcomm
 Terry Bourk                            Qualcomm
 Guido Bertoni                          ST
 Tim Howes                              Symbian
 Amihai Kidron                          Texas Instruments
 Eran Reuveni                           Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Version 1.2
 Tom Siep                               Bluetooth SIG Inc.
 Robin Heydon (section owner)           CSR
 Simon Morris                           CSR
 Jan Åberg                              Ericsson
 Christian Gehrmann                     Ericsson
 Joel Linsky                            Silicon Wave
 John Mersh                             TTPCom

Previous versions
 Todor Cooklev                      3Com Corporation
 Toru Aihara                        IBM Corporation
 Chatschik Bisdikian                IBM Corporation
 Nathan Lee                         IBM Corporation
 Kris Fleming                       Intel Corporation
 Greg Muchnik                       Motorola, Inc.
 David E. Cypher                    NIST
 Thomas Busse                       Nokia Corporation
 Dong Nguyen (Section Owner)        Nokia Corporation
 Fujio Watanabe                     Nokia Corporation
 Christian Johansson                Telefonaktiebolaget LM Ericsson
 Tobias Melin                       Telefonaktiebolaget LM Ericsson
 Mary A. DuVal                      Texas Instruments


2.3.7 Part G: Sample Data

Version 4.1
 John Padgette                          Accenture
 Prasanna Desai                         Broadcom
 Farooq Hameed                          Broadcom
 Robert Hulvey                          Broadcom
 Erik Rivard                            Broadcom
 Mayank Batra                           CSR
 Ian Jones                              CSR
 Sean Mitchell                          CSR



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 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Dishant Srivastava                     CSR
 Steven Wenham                          CSR
 Marcel Holtmann                        Intel
 Josselin De La Broise                  Marvell
 Lily Chen                              NIST
 Kaisa Nyberg                           Nokia
 Tsuyoshi Okada                         Panasonic Corporation
 Joel Linsky                            Qualcomm Atheros
 Cameron McDonald                       Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Jean-Philippe Lambert                  RivieraWaves
 Clive D. W. Feather                    Samsung Electronics
 Kyong-Sok Seo                          Samsung Electronics Co. Ltd
 Andrew Estrada                         Sony Corporation
 Masahiko Seki                          Sony Corporation
 Alon Cheifetz                          Texas Instruments
 Alon Paycher                           Texas Instruments
 Rod Kimmell                            X6D, Inc.

Version 3.0 + HS
 Kevin Hayes                            Atheros
 Robert Hulvey                          Broadcom
 Yao Wang                               IVT
 Joel Linsky                            Qualcomm
 John Saad                              Qualcomm

Version 2.1 + EDR
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Selim Aissi                            Intel
 Penny Chen                             Intel
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft
 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft
 Don Stanwyck                           Microsoft


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 Yacov Yacobi                           Microsoft
 Gideon Yuval                           Microsoft
 Greg Muchnik                           Microsoft
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Arto Palin                             Nokia
 Päivi Ruuska                           Nokia
 Dominique Everaere                     NXP
 Reinhard Meindl                        NXP
 Guido Bertoni                          ST
 Eran Reuveni                           Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Version 1.2
 Joel Linsky                            Silicon Wave

Previous versions
 Thomas Müller                          Nokia Corporation
 Thomas Sander                          Nokia Corporation
 Joakim Persson (Section Owner)         Telefonaktiebolaget LM Ericsson


2.3.8 Part H: Security Specification

Version 4.2
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR
 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Harish Balasubramaniam                Intel
 Marcel Holtmann                       Intel
 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jason Hillyard                        Wicentric




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Version 4.1
 John Padgette                          Accenture
 Prasanna Desai                         Broadcom
 Robert Hulvey                          Broadcom
 Erik Rivard                            Broadcom
 Mayank Batra                           CSR
 Ian Jones                              CSR
 Sean Mitchell                          CSR
 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Marcel Holtmann                        Intel
 Josselin De La Broise                  Marvell
 Lily Chen                              NIST
 Kaisa Nyberg                           Nokia
 Joel Linsky                            Qualcomm Atheros
 Cameron McDonald                       Qualcomm Atheros
 Jean-Philippe Lambert                  RivieraWaves
 Clive D. W. Feather                    Samsung Electronics
 Alon Cheifetz                          Texas Instruments
 Alon Paycher                           Texas Instruments

Version 3.0 + HS
 Phil Hough                             Anritsu
 Edward Harrison                        Anritsu
 Kevin Hayes                            Atheros
 Shawn Ding                             Broadcom
 Robert Hulvey                          Broadcom
 Yao Wang                               IVT
 Mark Braun                             Motorola
 Kaisa Nyberg                           Nokia
 John Saad                              Qualcomm
 Joel Linsky                            Qualcomm
 Eran Reuveni                           TI

Version 2.1 + EDR
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Henrik Hedlund                         CSR
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Selim Aissi                            Intel

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 Penny Chen                             Intel
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft
 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft
 Don Stanwyck                           Microsoft
 Yacov Yacobi                           Microsoft
 Gideon Yuval                           Microsoft
 Greg Muchnik                           Microsoft
 Mattias Edlund                         Infineon
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Arto Palin                             Nokia
 Päivi Ruuska                           Nokia
 Dominique Everaere                     NXP
 Reinhard Meindl                        NXP
 Joel Linsky                            QUALCOMM
 Terry Bourk                            QUALCOMM
 Guido Bertoni                          ST
 Amihai Kidron                          Texas Instruments
 Eran Reuveni                           Texas Instruments
 Shimojo Yoshimitsu                     Toshiba


2.4 [VOL 3] CORE SYSTEM PACKAGE, HOST

2.4.1 Part A: Logical Link Control and Adaptation Protocol Specification

Version 4.2
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR
 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Harish Balasubramaniam                Intel
 Marcel Holtmann                       Intel
 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics

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 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jason Hillyard                        Wicentric

Version 4.1
 Leonid Eidelman                          Broadcom
 Ash Kapur                                Broadcom
 Angel Polo                               Broadcom
 Mayank Batra                             CSR
 Chris Church                             CSR
 Giriraj Goyal                            CSR
 Robin Heydon                             CSR
 Tim Howes                                CSR
 Neil Stewart                             CSR
 Harish Balasubramaniam                   Intel
 Magnus Eriksson                          Intel
 Oren Haggai                              Intel
 Marcel Holtmann                          Intel
 Robert Hughes                            Intel
 Yao Wang                                 IVT
 Josselin De La Broise                    Marvell
 Anindya Bakshi                           Mindtree
 Shwetha Madadik                          Mindtree
 Krishna Singala                          Mindtree
 Niclas Granqvist                         Polar
 Joel Linsky                              Qualcomm Atheros
 Brian A. Redding                         Qualcomm Atheros
 Jean-Philippe Lambert                    RivieraWaves
 Rasmus Abildgren                         Samsung Electronics
 Jason Hillyard                           Wicentric

Version 4.0
 Xavier Boniface                          Alpwise
 Alexandre Gimard                         Alpwise
 Ash Kapur                                Broadcom
 Robert Hulvey                            Broadcom
 Joe Decuir                               CSR
 Laurence Jupp                            CSR
 Magnus Sommansson                        CSR
 Robin Heydon                             CSR
 Dave Suvak                               iAnywhere
 James Dent                               Nokia
 James Steele                             Nokia
 Jonathan Tanner                          Nokia
 Kanji Kerai                              Nokia


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 Steve Davies                              Nokia
 Tim Howes                                 Nokia
 David Lopes                               Nordic Semiconductor
 Brian A. Redding                          Qualcomm
 Joel Linsky                               Qualcomm
 Terry Bourk                               Qualcomm
 Andy Estrada                              Sony
 Karl Torvmark                             Texas Instruments

Version 3.0 + HS
 Victor Zhodzishsky                     Broadcom
 Angel Polo                             Broadcom
 Ash Kapur                              Broadcom
 Robert Hulvey                          Broadcom
 Ken Steck                              CSR
 Dave Suvak                             iAnywhere
 Yao Wang                               IVT
 Jacques Chassot                        Logitech
 Nathan Sherman                         Microsoft
 Sandy Spinrad                          Microsoft
 Doug Clarke                            Nokia
 Kanji Kerai                            Nokia
 Ana Donezar Ibanez                     Parrot
 Joel Linksy                            Qualcomm
 Andy Estrada                           Sony
 Dominique Everaere                     ST-NXP Wireless

Version 2.1 + EDR
 Ayse Findikli                          Atheros
 Robert Hulvey                          Broadcom
 Shawn Ding                             Broadcom
 Robin Heydon                           CSR
 Simon Kingston                         CSR
 Steven Singer                          CSR
 Steven Wenham                          CSR
 Selim Aissi                            Intel
 Penny Chen                             Intel
 Dave Suvak                             iAnywhere
 Josh Benaloh                           Microsoft
 Andy Glass                             Microsoft
 Peter Hauser                           Microsoft
 Joby Lafky                             Microsoft
 Kristin Lauter                         Microsoft
 Dan Simon                              Microsoft


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 Don Stanwyck                           Microsoft
 Yacov Yacobi                           Microsoft
 Gideon Yuval                           Microsoft
 Greg Muchnik                           Microsoft
 N Asokan                               Nokia
 Philip Ginzboorg                       Nokia
 Kanji Kerai                            Nokia
 Noel Lobo                              Nokia
 Kaisa Nyberg                           Nokia
 Dominique Everaere                     NXP
 Javier del Prado Pavon                 NXP
 Reinhard Meindl                        NXP
 Joel Linsky                            QUALCOMM
 Terry Bourk                            QUALCOMM
 Tim Howes                              Symbian
 Jorgen van Parijs                      ST
 Amihai Kidron                          Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Version 1.2
 Tom Siep                               Bluetooth SIG Inc.
 Carsten Andersen (section owner)       CSR
 Jennifer Bray                          CSR
 Jan Åberg                              Ericsson
 Martin van der Zee                     Ericsson
 Sam Ravnborg                           Ericsson
 Stefan Agnani                          Ericsson
 Steve McGowan                          Intel Corporation
 Joby Lafky                             Microsoft
 Doron Holan                            Microsoft
 Andy Glass                             Microsoft
 Brian A. Redding                       Motorola
 Jürgen Schnitzler                      Nokia
 Thomas Müller                          Nokia
 Rob Davies                             Philips
 Terry Bourk                            Silicon Wave
 Michael Hasling                        Tality

Previous versions
 Jon Burgess                            3Com Corporation
 Paul Moran                             3Com Corporation
 Doug Kogan                             Extended Systems
 Kevin D. Marquess                      Hyper Corporation
 Toru Aihara                            IBM Corporation
 Chatschik Bisdikian                    IBM Corporation


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Appendix


 Kris Fleming                           Intel Corporation
 Uma Gadamsetty                         Intel Corporation
 Robert Hunter                          Intel Corporation
 Jon Inouye                             Intel Corporation
 Steve C. Lo                            Intel Corporation
 Chunrong Zhu                           Intel Corporation
 Sergey Solyanik                        Microsoft Corporation
 David E. Cypher                        NIST
 Nada Golmie                            NIST
 Thomas Busse                           Nokia Corporation
 Rauno Makinen                          Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Petri Nykänen                          Nokia Corporation
 Peter Ollikainen                       Nokia Corporation
 Petri O. Nurminen                      Nokia Corporation
 Johannes Elg                           Telefonaktiebolaget LM Ericsson
 Jaap Haartsen                          Telefonaktiebolaget LM Ericsson
 Elco Nijboer                           Telefonaktiebolaget LM Ericsson
 Ingemar Nilsson                        Telefonaktiebolaget LM Ericsson
 Stefan Runesson                        Telefonaktiebolaget LM Ericsson
 Gerrit Slot                            Telefonaktiebolaget LM Ericsson
 Johan Sörensen                         Telefonaktiebolaget LM Ericsson
 Goran Svennarp                         Telefonaktiebolaget LM Ericsson
 Mary A. DuVal                          Texas Instruments
 Thomas M. Siep                         Texas Instruments
 Kinoshita Katsuhiro                    Toshiba Corporation


2.4.2 Part B: Service Discovery Protocol (SDP)

Version 4.1
 Joakim Linde                           Apple
 Robert Hulvey                          Broadcom
 Angel Polo                             Broadcom
 Mayank Batra                           CSR
 Tim Howes                              CSR
 Jonathan Tanner                        CSR
 Magnus Eriksson                        Intel
 Krishna Singala                        Mindtree
 Niclas Granqvist                       Polar
 Joel Linsky                            Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Rasmus Abildgren                       Samsung Electronics




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Version 2.1 + EDR
 Robin Heydon                           CSR
 Mattias Edlund                         Infineon
 Päivi Ruuska                           Nokia
 Arto Palin                             Nokia
 Joel Linsky                            QUALCOMM
 Terry Bourk                            QUALCOMM
 Amihai Kidron                          Texas Instruments
 Shimojo Yoshimitsu                     Toshiba

Previous versions
 Ned Plasson                            3Com Corporation
 John Avery                             Convergence
 Jason Kronz                            Convergence
 Chatschik Bisdikian                    IBM Corporation
 Parviz Kermani                         IBM Corporation
 Brent Miller                           IBM Corporation
 Dick Osterman                          IBM Corporation
 Bob Pascoe                             IBM Corporation
 Jon Inouye                             Intel Corporation
 Srikanth Kambhatla                     Intel Corporation
 Jay Eaglstun                           Motorola, Inc.
 Dale Farnsworth (Section Owner)        Motorola, Inc.
 Jean-Michel Rosso                      Motorola, Inc.
 Jan Grönholm                           Nokia Corporation
  Kati Rantala                          Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Johannes Elg                           Telefonaktiebolaget LM Ericsson
 Kazuaki Iwamura                        Toshiba Corporation


2.4.3 Part C: Generic Access Profile

Version 5.0
 Robert Hulvey                         Broadcom
 Angel Polo                            Broadcom
 Harish Balasubramaniam                Intel
 Marcel Holtmann                       Intel
 Tim Wei                               IVT Wireless
 L.C. Ko                               MediaTek
 Sam Geeraerts                         NXP
 Chris Deck                            ON Semiconductor
 Bjarne Klemmensen                     Oticon A/S
 Amre El-Hoiydi                        Phonak Communications AG



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Appendix


 Till Schmalmack                       Phonak Communications AG
 Mayank Batra                          Qualcomm Technologies, Inc.
 Robin Heydon                          Qualcomm Technologies, Inc.
 Joel Linsky                           Qualcomm Technologies, Inc.
 Brian A. Redding                      Qualcomm Technologies, Inc.
 Laurence Richardson                   Qualcomm Technologies, Inc.
 Jonathan Tanner                       Qualcomm Technologies, Inc.
 Jean-Philippe Lambert                 RivieraWaves
 Rasmus Abildgren                      Samsung Electronics Co., Ltd.
 Clive D.W. Feather                    Samsung Electronics Co., Ltd.
 Michael Knudsen                       Samsung Electronics Co., Ltd.
 Jeff Solum                            Starkey Hearing Technologies
 Florian Lefeuvre                      Texas Instruments
 Michael Ungstrup                      Widex A/S

Version 4.2
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR
 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Jonathan Tanner                       CSR
 Harish Balasubramaniam                Intel
 Marcel Holtmann                       Intel
 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jason Hillyard                        Wicentric

Version 4.1
 John Padgette                          Accenture
 Joakim Linde                           Apple
 Prasanna Desai                         Broadcom
 Farooq Hameed                          Broadcom
 Robert Hulvey                          Broadcom
 Angel Polo                             Broadcom
 Erik Rivard                            Broadcom
 Mayank Batra                           CSR
 Joe Decuir                             CSR
 Giriraj Goyal                          CSR


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Appendix


 Tim Howes                              CSR
 Ian Jones                              CSR
 Sean Mitchell                          CSR
 Krishnan Nair                          CSR
 Ross O'Connor                          CSR
 Steven Singer                          CSR
 Dishant Srivastava                     CSR
 Neil Stewart                           CSR
 Jonathan Tanner                        CSR
 Steven Wenham                          CSR
 Harish Balasubramaniam                 Intel
 Magnus Eriksson                        Intel
 Oren Haggai                            Intel
 Marcel Holtmann                        Intel
 Robert D. Hughes                       Intel
 Josselin De La Broise                  Marvell
 Huanchun Ye                            MediaTek
 Alain Michaud                          Microsoft
 Krishna Singala                        Mindtree
 Lily Chen                              NIST
 Steve Davies                           Nokia
 Kaisa Nyberg                           Nokia
 David Engelien-Lopes                   Nordic Semidonductor
 Tsuyoshi Okada                         Panasonic Corporation
 Niclas Granqvist                       Polar
 Joel Linsky                            Qualcomm Atheros
 Cameron McDonald                       Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Jean-Philippe Lambert                  RivieraWaves
 Rasmus Abildgren                       Samsung Electronics
 Clive D. W. Feather                    Samsung Electronics
 Kyong-Sok Seo                          Samsung Electronics Co. Ltd
 Andrew Estrada                         Sony Corporation
 Masahiko Seki                          Sony Corporation
 Abelardo Gonzales                      ST
 Alon Cheifetz                          Texas Instruments
 Alon Paycher                           Texas Instruments
 Jason Hillyard                         Wicentric
 Rod Kimmell                            X6D, Inc.

Version 4.0
 Alexandre Gimard                            Alpwise
 Xavier Boniface                             Alpwise
 Mike Tsai                                   Atheros
 John Padgette                               Booz Allen Hamilton


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Appendix


 Ash Kapur                                 Broadcom
 Norbert Grunert                           Broadcom
 Robert Hulvey                             Broadcom
 Shawn Ding                                Broadcom
 Burch Seymour                             Continental Automotive
 Joe Decuir                                CSR
 Magnus Sommansson                         CSR
 Nick Hunn                                 CSR
 Robin Heydon                              CSR
 Steven Wenham                             CSR
 David Suvak                               iAnywhere
 Chiu-Mien Chi                             ISSC
 Anindya Bakshi                            MindTree
 Ashok Kelur                               MindTree
 John Barr                                 Motorola
 Michael Russell                           Motorola
 James Dent                                Nokia
 James Steele                              Nokia
 Jonathan Tanner                           Nokia
 Kanji Kerai                               Nokia
 Miika Laaksonen                           Nokia
 Steve Davies                              Nokia
 Tim Howes                                 Nokia
 David Lopes                               Nordic Semiconductor
 Brian A. Redding                          Qualcomm
 Joel Linsky                               Qualcomm
 Terry Bourk                               Qualcomm
 Harsha Master                             Sasken
 Len Ott                                   Socket Mobile
 Frédéric Virot                            ST Ericsson
 Geert Sonck                               ST Ericsson
 Pär-Gunnar Hjälmdahl                      ST Ericsson
 Aaron Atlas                               Texas Instruments

Version 3.0 + HS
 Robert Hulvey                          Broadcom
 Ken Steck                              CSR
 Jacques Chassot                        Logitech
 Nathan Sherman                         Microsoft
 Sandy Spinrad                          Microsoft
 Kanji Kerai                            Nokia
 Joel Linksy                            Qualcomm
 Andy Estrada                           Sony

Version 2.1 + EDR

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 Mattias Edlund                         Infineon
 Päivi Ruuska                           Nokia
 Arto Palin                             Nokia
 Joel Linsky                            QUALCOMM
 Terry Bourk                            QUALCOMM
 Shimojo Yoshimitsu                     Toshiba

Version 1.2
 Jennifer Bray                          CSR
 Alexander Thoukydides                  CSR
 Christian Gehrmann                     Ericsson
 Henrik Hedlund                         Ericsson
 Jan Åberg                              Ericsson
 Stefan Agnani                          Ericsson
 Thomas Müller                          Nokia
 Joel Linsky                            Silicon Wave
 Terry Bourk                            Silicon Wave
 Katsuhiro Kinoshita                    Toshiba

Previous versions
 Ken Morley                             3Com Corporation
 Chatschik Bisdikian                    IBM Corporation
 Jon Inouye                             Intel Corporation
 Brian A. Redding                       Motorola, Inc.
 David E. Cypher                        NIST
 Stephane Bouet                         Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Martin Roter                           Nokia Corporation
 Johannes Elg                           Telefonaktiebolaget LM Ericsson
 Patric Lind (Section Owner)            Telefonaktiebolaget LM Ericsson
 Erik Slotboom                          Telefonaktiebolaget LM Ericsson
 Johan Sörensen                         Telefonaktiebolaget LM Ericsson


2.4.4 Part D: Test Support

Version 3.0 + HS
 Phil Hough                             Anritsu
 Edward Harrison                        Anritsu
 Angus Robinson                         Anritsu
 Kevin Hayes                            Atheros
 Stratos Chatzikyriakos                 Artimi
 Shawn Ding                             Broadcom
 Robert Hulvey                          Broadcom
 Yao Wang                               IVT

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 Joe Decuir                             CSR
 Mark Braun                             Motorola
 Joel Linsky                            Qualcomm
 Eran Reuveni                           TI

Version 1.2
 Emilio Mira Escartis                   Cetecom
 Robin Heydon                           CSR
 Jennifer Bray                          CSR
 Stefan Agnani (section owner)          Ericsson
 Terry Bourk                            Silicon Wave
 Joel Linsky                            Silicon Wave
 Michael Hasling                        Tality

Previous versions [Test Mode]
 Jeffrey Schiffer                       Intel Corporation
 David E. Cypher                        NIST
 Daniel Bencak                          Nokia Corporation
 Arno Kefenbaum                         Nokia Corporation
 Thomas Müller (Section Owner)          Nokia Corporation
 Roland Schmale                         Nokia Corporation
 Fujio Watanabe                         Nokia Corporation
 Stefan Agnani                          Telefonaktiebolaget LM Ericsson
 Mårten Mattsson                        Telefonaktiebolaget LM Ericsson
 Tobias Melin                           Telefonaktiebolaget LM Ericsson
 Lars Nord                              Telefonaktiebolaget LM Ericsson
 Fredrik Töörn                          Telefonaktiebolaget LM Ericsson
 John Mersh                             TTPCom
 Ayse Findikli                          Zeevo, Inc.

Previous versions [Test Control Interface]
 Mike Feldman                           Motorola, Inc.
 Thomas Müller                          Nokia Corporation
 Stefan Agnani (Section Owner)          Telefonaktiebolaget LM Ericsson
 Mårten Mattsson                        Telefonaktiebolaget LM Ericsson
 Dan Sönnerstam                         Telefonaktiebolaget LM Ericsson


2.4.5 Part E: AMP Manager Protocol

Version 3.0 + HS
 Kevin Hayes                            Atheros
 Robert Hulvey                          Broadcom
 Dave Suvak                             iAnywhere
 Yao Wang                               IVT
 Doug Clark                             Nokia

Contributors                                                              06 December 2016
                                                                  Bluetooth SIG Proprietary
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Appendix


 Kaisa Nyberg                           Nokia
 James Steele                           Nokia
 Joel Linsky                            Qualcomm
 John Saad                              Qualcomm


2.4.6 Part F: Attribute Protocol Specification

Version 4.1
 Joakim Linde                           Apple
 Robert Hulvey                          Broadcom
 Angel Polo                             Broadcom
 Mayank Batra                           CSR
 Tim Howes                              CSR
 Jonathan Tanner                        CSR
 Magnus Eriksson                        Intel
 Krishna Singala                        Mindtree
 Niclas Granqvist                       Polar
 Joel Linsky                            Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Rasmus Abildgren                       Samsung Electronics

Version 4.0
 Alexandre Gimard                      Alpwise
 Xavier Boniface                       Alpwise
 Ash Kapur                             Broadcom
 Norbert Grunert                       Broadcom
 Srikanth Uppala                       Broadcom
 Burch Seymour                         Continental Automotive
 Joe Decuir                            CSR
 Magnus Sommansson                     CSR
 Nick Hunn                             CSR
 Robin Heydon                          CSR
 Morgan Lindqvist                      Ericsson
 Dave Suvak                            iAnywhere
 Chris Hansen                          Intel
 Marcel Holtmann                       Intel
 Anindya Bakshi                        MindTree
 John Barr                             Motorola
 Daidi Zhong                           Nokia
 James Dent                            Nokia
 James Steele                          Nokia
 Jonathan Tanner                       Nokia
 Juha Salokannel                       Nokia
 Kanji Kerai                           Nokia
 Miika Laaksonen                       Nokia


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 Päivi Ruuska                          Nokia
 Steve Davies                          Nokia
 Tim Howes                             Nokia
 David Lopes                           Nordic Semiconductor
 Niclas Granqvist                      Polar
 Brian A. Redding                      Qualcomm
 Joel Linsky                           Qualcomm
 Terry Bourk                           Qualcomm
 Harsha Master                         Sasken
 Len Ott                               Socket Mobile
 Pär-Gunnar Hjälmdahl                  ST Ericsson
 Aaron Atlas                           Texas Instruments


2.4.7 Part G: Generic Attribute Profile Specification

Version 4.1
 Joakim Linde                           Apple
 Robert Hulvey                          Broadcom
 Angel Polo                             Broadcom
 Mayank Batra                           CSR
 Tim Howes                              CSR
 Jonathan Tanner                        CSR
 Magnus Eriksson                        Intel
 Oren Haggai                            Intel
 Krishna Singala                        Mindtree
 Niclas Granqvist                       Polar
 Joel Linsky                            Qualcomm Atheros
 Brian A. Redding                       Qualcomm Atheros
 Rasmus Abildgren                       Samsung Electronics

Version 4.0
 Alexandre Gimard                          Alpwise
 Xavier Boniface                           Alpwise
 Ash Kapur                                 Broadcom
 Norbert Grunert                           Broadcom
 Srikanth Uppala                           Broadcom
 Mats Andersson                            connectBlue
 Burch Seymour                             Continental Automotive
 Joe Decuir                                CSR
 Laurence Jupp                             CSR
 Magnus Sommansson                         CSR
 Nick Hunn                                 CSR
 Robin Heydon                              CSR
 Dave Suvak                                iAnywhere
 Marcel Holtmann                           Intel


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 Anindya Bakshi                            MindTree
 Krishna Shingala                          MindTree
 Daidi Zhong                               Nokia
 James Dent                                Nokia
 James Steele                              Nokia
 Jonathan Tanner                           Nokia
 Juha Salokannel                           Nokia
 Kanji Kerai                               Nokia
 Miika Laaksonen                           Nokia
 Päivi Ruuska                              Nokia
 Steve Davies                              Nokia
 Tim Howes                                 Nokia
 David Lopes                               Nordic Semiconductor
 Sebastien Mackaie-Blanchi                 Nordic Semiconductor
 Niclas Granqvist                          Polar
 Brian A. Redding                          Qualcomm
 Joel Linksy                               Qualcomm
 Terry Bourk                               Qualcomm
 Pär-Gunnar Hjälmdahl                      ST Ericsson
 Aaron Atlas                               Texas Instruments


2.4.8 Part H: Security Manager Specification

Version 5.0
 Johan Hedberg                         Intel
 Marcel Holtmann                       Intel
 Joel Linsky                           Qualcomm Technologies, Inc.

Version 4.2
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR
 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Jonathan Tanner                       CSR
 Harish Balasubramaniam                Intel
 Marcel Holtmann                       Intel
 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jason Hillyard                        Wicentric


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Version 4.0
 Alexandre Gimard                         Alpwise
 Mike Tsai                                Atheros
 John Padgette                            Booz Allen Hamilton
 Chaojing Sun                             Broadcom
 Norbert Grunert                          Broadcom
 Prasanna Desai                           Broadcom
 Robert Hulvey                            Broadcom
 Hermanni Suominen                        CSR
 Laurence Jupp                            CSR
 Magnus Sommansson                        CSR
 Robin Heydon                             CSR
 Steven Wenham                            CSR
 Patrick Reinelt                          Frontline
 Chiu-Mien Chi                            ISSC
 Anindya Bakshi                           MindTree
 Ashok Kelur                              MindTree
 Michael Russell                          Motorola
 James Dent                               Nokia
 James Steele                             Nokia
 Jonathan Tanner                          Nokia
 Kanji Kerai                              Nokia
 Miika Laaksonen                          Nokia
 Noel Lobo                                Nokia
 Steve Davies                             Nokia
 Tim Howes                                Nokia
 David Lopes                              Nordic Semiconductor
 Brian A. Redding                         Qualcomm
 Joel Linsky                              Qualcomm
 Terry Bourk                              Qualcomm
 Christian Zechlin                        Sasken
 Frédéric Virot                           ST Ericsson
 Geert Sonck                              ST Ericsson
 Alon Paycher                             Texas Instruments
 Helge Coward                             Texas Instruments




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2.5 [VOL 4] HOST CONTROLLER INTERFACE [TRANSPORT
LAYER]


 Toru Aihara                            IBM Corporation
 Edgar Kerstan                          IBM Corporation
 Nathan Lee                             IBM Corporation
 Kris Fleming                           Intel Corporation
 Robert Hunter                          Intel Corporation
 Patrick Kane                           Motorola, Inc.
 Uwe Gondrum                            Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Christian Zechlin                      Nokia Corporation
 Johannes Elg                           Telefonaktiebolaget LM Ericsson
 Sven Jerlhagen                         Telefonaktiebolaget LM Ericsson
 Christian Johansson                    Telefonaktiebolaget LM Ericsson
 Patrik Lundin                          Telefonaktiebolaget LM Ericsson
 Lars Novak                             Telefonaktiebolaget LM Ericsson
 Masahiro Tada                          Toshiba Corporation
 Steve Ross                             Digianswer A/S
 Chatschik Bisdikian                    IBM Corporation
 Les Cline                              Intel Corporation
 Brad Hosler                            Intel Corporation
 John Howard                            Intel Corporation
 Srikanth Kambhatla                     Intel Corporation
 Kosta Koeman                           Intel Corporation
 John McGrath                           Intel Corporation
 Patrik Lundin                          Telefonaktiebolaget LM Ericsson
 Leonard Ott                            Socket Communications
 Rebecca O’Dell                         Signia Technologies
 Tsuyoshi Okada                         Matsushita Electric
 Robert Hulvey                          Broadcom
 Joe Decuir                             CSR
 Robin Heydon                           CSR
 Joel Linsky                            Qualcomm Atheros
 Toru Aihara                            IBM Corporation
 Edgar Kerstan                          IBM Corporation
 Nathan Lee                             IBM Corporation
 Kris Fleming                           Intel Corporation
 Robert Hunter                          Intel Corporation
 Patrick Kane                           Motorola, Inc.
 Uwe Gondrum                            Nokia Corporation
 Thomas Müller                          Nokia Corporation
 Christian Zechlin                      Nokia Corporation
 Johannes Elg                           Telefonaktiebolaget LM Ericsson


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 Sven Jerlhagen                         Telefonaktiebolaget LM Ericsson
 Christian Johansson                    Telefonaktiebolaget LM Ericsson
 Patrik Lundin                          Telefonaktiebolaget LM Ericsson
 Lars Novak                             Telefonaktiebolaget LM Ericsson
 Masahiro Tada                          Toshiba Corporation
 Steve Ross                             Digianswer A/S
 Chatschik Bisdikian                    IBM Corporation
 Les Cline                              Intel Corporation
 Brad Hosler                            Intel Corporation
 John Howard                            Intel Corporation
 Srikanth Kambhatla                     Intel Corporation
 Kosta Koeman                           Intel Corporation
 John McGrath                           Intel Corporation
 Patrik Lundin                          Telefonaktiebolaget LM Ericsson
 Leonard Ott                            Socket Communications
 Rebecca O’Dell                         Signia Technologies
 Tsuyoshi Okada                         Matsushita Electric


2.6 [VOL 5] CORE SYSTEM PACKAGE [AMP CONTROLLER
VOLUME]

2.6.1 Part A: 802.11 PAL

Version 4.1
 Kevin Hayes                            Atheros
 Raymond Hayes                          Broadcom
 Francoise Bannister                    CSR
 Nick Jackson                           CSR
 Shailendra Govardham                   Marvell
 Joel Linsky                            Qualcomm

Version 3.0 +HS
 Angus Robinson                         Anritsu
 Edward Harrison                        Anritsu
 Phil Hough                             Anritsu
 Stratos Chatzikyriakos                 Artimi
 Kevin Hayes                            Atheros
 Prerepa Viswanadham                    Atheros
 Chris Hansen                           Broadcom
 Raymond Hayes                          Broadcom
 Joe Decuir                             CSR
 Nick Jackson                           CSR
 David Suvak                            iAnywhere
 Ganesh Venkatesan                      Intel



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 Quinton Yuan                           Marvell
 Raja Banerjea                          Marvell
 John Barr                              Motorola
 Janne Marin                            Nokia
 Mika Kasslin                           Nokia
 Joel Linsky                            Qualcomm
 Krishnan Rajamani                      Qualcomm
 Terry Bourk                            Qualcomm
 Ignacio Gimeno                         ST-NXP Wireless
 William Stoye                          Staccato Communications
 Amir Yassur                            TI
 Yossi Peery                            TI




2.7 [VOL 6] LOW ENERGY SPECIFICATION

2.7.1 Part A: Physical Layer Specification

Version 5.0
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Shawn Ding                            Broadcom
 Steven Hall                           Broadcom
 Angel Polo                            Broadcom
 Raja Banerjea                         CSR
 Sandipan Kundu                        CSR
 Dishant Srivastava                    CSR
 Leif Wilhelmsson                      Ericsson
 Yi-Ling Chao                          Marvell
 KC Chou                               MediaTek
 James Wang                            MediaTek
 Thomas Varghese                       Mindtree
 Phil Corbishley                       Nordic Semiconductor ASA
 David Engelien-Lopes                  Nordic Semiconductor ASA
 Eivind Sjøgren Olsen                  Nordic Semiconductor ASA
 Bjarne Klemmensen                     Oticon A/S
 Niclas Granqvist                      Polar
 RaviKiran Gopalan                     Qualcomm Atheros
 Mayank Batra                          Qualcomm Technologies, Inc.
 Robin Heydon                          Qualcomm Technologies, Inc.
 Joel Linsky                           Qualcomm Technologies, Inc.
 Jonathan Tanner                       Qualcomm Technologies, Inc.


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 Clive D.W. Feather                    Samsung Electronics Co., Ltd.
 Jeff Solum                            Starkey Hearing Technologies
 Florian Lefeuvre                      Texas Instruments
 Tomás Motos López                     Texas Instruments
 Anthony Viscardi                      Texas Instruments
 Micheal Ungstrup                      Widex

Version 4.2
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Mayank Batra                          CSR
 Robin Heydon                          CSR
 Harish Balasubramaniam                Intel
 Magnus Eriksson                       Intel
 Marcel Holtmann                       Intel
 Clive D.W. Feather                    Samsung Electronics
 Ed Callaway                           Sunrise Micro Devices
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jean-Philippe Lambert                 RivieraWaves
 Jason Hillyard                        Wicentric

Version 4.0
 Edward Harrison                           Anritsu
 Robert Hulvey                             Broadcom
 Burch Seymour                             Continental Automotive
 Magnus Sommansson                         CSR
 Robin Heydon                              CSR
 Steven Wenham                             CSR
 Henrik Arfwedson                          Infineon
 Jukka Reunamaki                           Nokia
 Mika Kasslin                              Nokia
 Steve Davies                              Nokia
 Frank Karlsen                             Nordic Semiconductor
 Øyvind Vedal                              Nordic Semiconductor
 Brian A. Redding                          Qualcomm
 Joel Linsky                               Qualcomm
 Terry Bourk                               Qualcomm
 Don Sturek                                Texas Instruments




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2.7.2 Part B: Link Layer Specification

Version 5.0
 Edward Harrison                        Anritsu
 Phil Hough                             Anritsu
 Shawn Ding                             Broadcom
 Steven Hall                            Broadcom
 Robert Hulvey                          Broadcom
 Knut Odman                             Broadcom
 Angel Polo                             Broadcom
 Huanchun Ye                            Broadcom
 Raja Banerjea                          CSR
 Sandipan Kundu                         CSR
 Dishant Srivastava                     CSR
 Leif Wilhelmsson                       Ericsson
 Harish Balasubramaniam                 Intel
 Marcel Holtmann                        Intel
 Tim Wei                                IVT Wireless
 Josselin de la Broise                  Marvell
 Yi-Ling Chao                           Marvell
 KC Chou                                MediaTek
 L.C. Ko                                MediaTek
 James Wang                             MediaTek
 Thomas Varghese                        Mindtree
 Phil Corbishley                        Nordic Semiconductor ASA
 David Engelien-Lopes                   Nordic Semiconductor ASA
 Eivind Sjøgren Olsen                   Nordic Semiconductor ASA
 Sam Geeraerts                          NXP
 Chris Deck                             ON Semiconductor
 Bjarne Klemmensen                      Oticon A/S
 Amre El-Hoiydi                         Phonak Communications AG
 Till Schmalmack                        Phonak Communications AG
 Niclas Granqvist                       Polar
 RaviKiran Gopalan                      Qualcomm Atheros
 Mayank Batra                           Qualcomm Technologies, Inc.
 Robin Heydon                           Qualcomm Technologies, Inc.
 Joel Linsky                            Qualcomm Technologies, Inc.
 Brian A. Redding                       Qualcomm Technologies, Inc.
 Laurence Richardson                    Qualcomm Technologies, Inc.
 Jonathan Tanner                        Qualcomm Technologies, Inc.
 Jean-Philippe Lambert                  RivieraWaves
 Rasmus Abildgren                       Samsung Electronics Co., Ltd.


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 Clive D.W. Feather                     Samsung Electronics Co., Ltd.
 Michael Knudsen                        Samsung Electronics Co., Ltd.
 Jeff Solum                             Starkey Hearing Technologies
 Florian Lefeuvre                       Texas Instruments
 Tomás Motos López                      Texas Instruments
 Anthony Viscardi                       Texas Instruments
 Michael Ungstrup                       Widex A/S

Version 4.2
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR
 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Jonathan Tanner                       CSR
 Harish Balasubramaniam                Intel
 Magnus Eriksson                       Intel
 Marcel Holtmann                       Intel
 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics
 Clive D.W. Feather                    Samsung Electronics
 Ed Callaway                           Sunrise Micro Devices
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jean-Philippe Lambert                 RivieraWaves
 Jason Hillyard                        Wicentric

Version 4.1
 Angel Polo                                Broadcom
 Mayank Batra                              CSR
 Joe Decuir                                CSR
 Giriraj Goyal                             CSR
 Robin Heydon                              CSR
 Neil Stewart                              CSR
 Harish Balasubramaniam                    Intel
 Magnus Eriksson                           Intel
 Oren Haggai                               Intel
 Yao Wang                                  IVT Corporation
 Rajan S Pallathu                          MindTree Ltd.


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 David Lopes                              Nordic Semiconductor
 Joel Linsky                              Qualcomm Atheros
 Jean-Philippe Lambert                    RivieraWaves
 Rasmus Abildgren                         Samsung Electronics
 Anthony Viscardi                         Texas Instruments
 Jason Hillyard                           Wicentric

Version 4.0
 Angel Polo                               Broadcom
 Prasanna Desai                           Broadcom
 Robert Hulvey                            Broadcom
 Yuan Zhuang                              Broadcom
 Burch Seymour                            Continental Automotive
 Joe Decuir                               CSR
 Magnus Sommansson                        CSR
 Robin Heydon                             CSR
 Steven Singer                            CSR
 Steven Wenham                            CSR
 Robert Kvacek                            EM Microelectronic
 Henrik Arfwedson                         Infineon
 James Dent                               Nokia
 Jonathan Tanner                          Nokia
 Kanji Kerai                              Nokia
 Mika Kasslin                             Nokia
 Steve Davies                             Nokia
 Asbjørn Sæbø                             Nordic Semiconductor
 David Lopes                              Nordic Semiconductor
 Frank Karlsen                            Nordic Semiconductor
 Torstein Nesje                           Nordic Semiconductor
 Brian A. Redding                         Qualcomm
 Joel Linsky                              Qualcomm
 Terry Bourk                              Qualcomm
 Harsha Master                            Sasken
 Geert Sonck                              ST Ericsson
 Alon Paycher                             Texas Instruments
 Anthony Viscardi                         Texas Instruments
 Don Sturek                               Texas Instruments
 Helge Coward                             Texas Instruments




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2.7.3 Part C: Sample Data

Version 5.0
 Edward Harrison                          Anritsu
 Phil Hough                               Anritsu
 Steven Hall                              Broadcom
 Angel Polo                               Broadcom
 Raja Banerjea                            CSR
 Sandipan Kundu                           CSR
 Dishant Srivastava                       CSR
 Harish Balasubramaniam                   Intel
 Yi-Ling Chao                             Marvell
 KC Chou                                  MediaTek
 James Wang                               MediaTek
 Phil Corbishley                          Nordic Semiconductor ASA
 David Engelien-Lopes                     Nordic Semiconductor ASA
 Eivind Sjøgren Olsen                     Nordic Semiconductor ASA
 Sam Geeraerts                            NXP
 Bjarne Klemmensen                        Oticon A/S
 Amre El-Hoiydi                           Phonak Communications AG
 Till Schmalmack                          Phonak Communications AG
 RaviKiran Gopalan                        Qualcomm Atheros
 Mayank Batra                             Qualcomm Technologies, Inc.
 Robin Heydon                             Qualcomm Technologies, Inc.
 Joel Linsky                              Qualcomm Technologies, Inc.
 Jonathan Tanner                          Qualcomm Technologies, Inc.
 Jean-Philippe Lambert                    RivieraWaves
 Clive D.W. Feather                       Samsung Electronics Co., Ltd.
 Florian Lefeuvre                         Texas Instruments
 Tomás Motos López                        Texas Instruments
 Michael Ungstrup                         Widex A/S

Version 4.0
 Robin Heydon                             CSR
 Steven Wenham                            CSR
 Joel Linsky                              Qualcomm
 Geert Sonck                              ST Ericsson




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2.7.4 Part D: Message Sequence Charts

Version 5.0
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Shawn Ding                            Broadcom
 Steven Hall                           Broadcom
 Angel Polo                            Broadcom
 Raja Banerjea                         CSR
 Sandipan Kundu                        CSR
 Dishant Srivastava                    CSR
 Yi-Ling Chao                          Marvell
 KC Chou                               MediaTek
 James Wang                            MediaTek
 Thomas Varghese                       Mindtree
 Phil Corbishley                       Nordic Semiconductor ASA
 David Engelien-Lopes                  Nordic Semiconductor ASA
 Eivind Sjøgren Olsen                  Nordic Semiconductor ASA
 Bjarne Klemmensen                     Oticon A/S
 Niclas Granqvist                      Polar
 RaviKiran Gopalan                     Qualcomm Atheros
 Mayank Batra                          Qualcomm Technologies, Inc.
 Robin Heydon                          Qualcomm Technologies, Inc.
 Joel Linsky                           Qualcomm Technologies, Inc.
 Jonathan Tanner                       Qualcomm Technologies, Inc.
 Jean-Philippe Lambert                 RiveraWaves
 Clive D.W. Feather                    Samsung Electronics Co., Ltd.
 Jeff Solum                            Starkey Hearing Technologies
 Florian Lefeuvre                      Texas Instruments
 Tomás Motos López                     Texas Instruments
 Anthony Viscardi                      Texas Instruments
 Micheal Ungstrup                      Widex

Version 4.2
 Sriram Hariharan                      Apple
 Angel Polo                            Broadcom
 Mayank Batra                          CSR
 Joe Decuir                            CSR
 Giriraj Goyal                         CSR
 Robin Heydon                          CSR
 Jonathan Tanner                       CSR
 Harish Balasubramaniam                Intel
 Marcel Holtmann                       Intel

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 Yao Wang                              IVT Corporation
 Frank Berntsen                        Nordic Semiconductor
 David Engelien-Lopes                  Nordic Semiconductor
 Rasmus Abildgren                      Samsung Electronics
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jason Hillyard                        Wicentric

Version 4.1
 Angel Polo                                Broadcom
 Mayank Batra                              CSR
 Joe Decuir                                CSR
 Giriraj Goyal                             CSR
 Robin Heydon                              CSR
 Neil Stewart                              CSR
 Harish Balasubramaniam                    Intel
 Magnus Eriksson                           Intel
 Yao Wang                                  IVT Corporation
 Rajan S Pallathu                          MindTree Ltd.
 David Lopes                               Nordic Semiconductor
 Joel Linsky                               Qualcomm Atheros
 Jean-Philippe Lambert                     RivieraWaves
 Rasmus Abildgren                          Samsung Electronics
 Anthony Viscardi                          Texas Instruments
 Jason Hillyard                            Wicentric

Version 4.0
 Robin Heydon                              CSR
 Steven Wenham                             CSR
 Steve Davies                              Nokia
 Joel Linsky                               Qualcomm
 Geert Sonck                               ST Ericsson


2.7.5 Part E: Low Energy Security Specification

Version 4.2
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Mayank Batra                          CSR
 Robin Heydon                          CSR
 Harish Balasubramaniam                Intel
 Magnus Eriksson                       Intel
 Marcel Holtmann                       Intel
 Clive D.W. Feather                    Samsung Electronics
 Ed Callaway                           Sunrise Micro Devices

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 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jean-Philippe Lambert                 RivieraWaves
 Jason Hillyard                        Wicentric

Version 4.0
 Robin Heydon                             CSR
 Steven Singer                            CSR
 Steven Wenham                            CSR
 Mika Kasslin                             Nokia
 Joel Linsky                              Qualcomm
 Geert Sonck                              ST Ericsson
 Alon Paycher                             Texas Instruments


2.7.6 Part F: Direct Test Mode

Version 5.0
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Shawn Ding                            Broadcom
 Steven Hall                           Broadcom
 Angel Polo                            Broadcom
 Raja Banerjea                         CSR
 Sandipan Kundu                        CSR
 Dishant Srivastava                    CSR
 Yi-Ling Chao                          Marvell
 KC Chou                               MediaTek
 James Wang                            MediaTek
 Thomas Varghese                       Mindtree
 Phil Corbishley                       Nordic Semiconductor ASA
 David Engelien-Lopes                  Nordic Semiconductor ASA
 Eivind Sjøgren Olsen                  Nordic Semiconductor ASA
 Bjarne Klemmensen                     Oticon A/S
 Niclas Granqvist                      Polar
 RaviKiran Gopalan                     Qualcomm Atheros
 Mayank Batra                          Qualcomm Technologies, Inc.
 Robin Heydon                          Qualcomm Technologies, Inc.
 Joel Linsky                           Qualcomm Technologies, Inc.
 Jonathan Tanner                       Qualcomm Technologies, Inc.
 Jean-Philippe Lambert                 RiveraWaves
 Clive D.W. Feather                    Samsung Electronics Co., Ltd.
 Jeff Solum                            Starkey Hearing Technologies
 Florian Lefeuvre                      Texas Instruments


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 Tomás Motos López                     Texas Instruments
 Anthony Viscardi                      Texas Instruments
 Micheal Ungstrup                      Widex

Version 4.2
 Edward Harrison                       Anritsu
 Phil Hough                            Anritsu
 Mayank Batra                          CSR
 Robin Heydon                          CSR
 Harish Balasubramaniam                Intel
 Magnus Eriksson                       Intel
 Marcel Holtmann                       Intel
 Clive D.W. Feather                    Samsung Electronics
 Ed Callaway                           Sunrise Micro Devices
 Joel Linsky                           Qualcomm Atheros
 Brian A. Redding                      Qualcomm Atheros
 Jean-Philippe Lambert                 RivieraWaves
 Jason Hillyard                        Wicentric

Version 4.0
 Edward Harrison                           Anritsu
 Robert Hulvey                             Broadcom
 Magnus Sommansson                         CSR
 Robin Heydon                              CSR
 Steven Wenham                             CSR
 Steve Davies                              Nokia
 Frank Karlsen                             Nordic Semiconductor
 Joel Linsky                               Qualcomm
 Helge Coward                              Texas Instruments




2.8 [VOL 7] CORE SYSTEM PACKAGE [WIRELESS
COEXISTENCE VOLUME]

2.8.1 Part A: MWS Coexistence Logical Signaling Specification

Version 4.1
 Knut Odman                                Broadcom
 Shawn Ding                                Broadcom
 Steven Hall                               Broadcom
 Joe Decuir                                CSR
 Leif Wilhelmsson                          Ericsson
 Sharon Yang                               Intel



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 Josselin de la Broise                    Marvell
 Huanchun Ye                              MediaTek
  L. C. Ko                                MediaTek
 Joel Linsky                              Qualcomm Atheros
 Olaf Hirsch                              Qualcomm Atheros
 Yves Wernaers                            ST-Ericsson
 Alon Cheifetz                            Texas Instruments


2.8.2 Part B: Wireless Coexistence Interface 1 (WCI-1) Transport
Specification

Version 4.1
 Steven Hall                              Broadcom
 Joe Decuir                               CSR
 Clive D.W. Feather                       CSR
 Sharon Yang                              Intel
 Huanchun Ye                              MediaTek
 L. C. Ko                                 MediaTek
 Aaron Hsieh                              MediaTek
 Joel Linsky                              Qualcomm Atheros
 Olaf Hirsch                              Qualcomm Atheros
 Alon Cheifetz                            Texas Instruments


2.8.3 Part C: Wireless Coexistence Interface 2 (WCI-2) Transport
Specification

Version 4.1
 Knut Odman                               Broadcom
 Shawn Ding                               Broadcom
 Steven Hall                              Broadcom
 Joe Decuir                               CSR
 Clive D.W. Feather                       CSR
 Leif Wilhelmsson                         Ericsson
 Sharon Yang                              Intel
 Josselin De La Broise                    Marvell
 Huanchun Ye                              MediaTek
 Joel Linsky                              Qualcomm
 Olaf Hirsch                              Qualcomm
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         Architecture &
         Terminology
         Overview

         Specification of the Bluetooth® System

         Specification Volume 1




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The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
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Web Site
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                  Architecture & Terminology Overview
                                               Part A




                    PART A: ARCHITECTURE




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1 GENERAL DESCRIPTION

Bluetooth wireless technology is a short-range communications system
intended to replace the cable(s) connecting portable and/or fixed electronic
devices. The key features of Bluetooth wireless technology are robustness, low
power consumption, and low cost. Many features of the core specification are
optional, allowing product differentiation.

There are two forms of Bluetooth wireless technology systems: Basic Rate
(BR) and Low Energy (LE). Both systems include device discovery, connection
establishment and connection mechanisms. The Basic Rate system includes
optional Enhanced Data Rate (EDR) Alternate Media Access Control (MAC)
and Physical (PHY) layer extensions. The Basic Rate system offers
synchronous and asynchronous connections with data rates of 721.2 kb/s for
Basic Rate, 2.1 Mb/s for Enhanced Data Rate and high speed operation up to
54 Mb/s with the 802.11 AMP. The LE system includes features designed to
enable products that require lower current consumption, lower complexity and
lower cost than BR/EDR. The LE system is also designed for use cases and
applications with lower data rates and has lower duty cycles. Depending on the
use case or application, one system including any optional parts may be more
optimal than the other.

Devices implementing both systems can communicate with other devices
implementing both systems as well as devices implementing either system.
Some profiles and use cases will be supported by only one of the systems.
Therefore, devices implementing both systems have the ability to support the
most use cases.

The Bluetooth core system consists of a Host and one or more Controllers. A
Host is a logical entity defined as all of the layers below the non-core profiles
and above the Host Controller Interface (HCI). A Controller is a logical entity
defined as all of the layers below HCI. An implementation of the Host and
Controller may contain the respective parts of the HCI. Two types of Controllers
are defined in this version of the Core Specification: Primary Controllers and
Secondary Controllers.

An implementation of the Bluetooth Core has only one Primary Controller
which may be one of the following configurations:
• a BR/EDR Controller including the Radio, Baseband, Link Manager and
  optionally HCI.
• an LE Controller including the LE PHY, Link Layer and optionally HCI.
• a combined BR/EDR Controller portion and LE Controller portion (as
  identified in the previous two bullets) into a single Controller.

A Bluetooth core system may additionally have one or more Secondary
Controllers described by the following configuration:



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• an Alternate MAC/PHY (AMP) Controller including an 802.11 PAL (Protocol
  Adaptation Layer), 802.11 MAC and PHY, and optionally HCI.



      Host                      Host                           Host                                          Host




      LE                      BR/EDR                  BR/EDR            AMP                     BR/EDR                AMP
    Controller                Controller              Controller      Controller                Controller          Controllers


Figure 1.1: Bluetooth Host and Controller Combinations: (from left to right): LE Only Primary
Controller, BR/EDR only Primary Controller, BR/EDR Primary Controller, with one AMP Secondary
Controller, and BR/EDR with multiple AMP Secondary Controllers




             Host                                  Host                                              Host




   BR/EDR           LE             BR/EDR          LE           AMP                BR/EDR           LE                 AMP
   Controller    Controller        Controller   Controller    Controller           Controller    Controller          Controllers


Figure 1.2: Bluetooth Host and Controller Combinations (from left to right): BR/EDR and LE
Primary Controller, BR/EDR and LE Primary Controller with one AMP Secondary Controller, and
BR/EDR and LE Primary Controller with multiple AMP Secondary Controllers


This volume of the specification provides an overview of the Bluetooth system
architecture, communication topologies and data transport features. The text in
this volume of the specification should be treated as informational and used as
a background and for context-setting.

1.1 OVERVIEW OF BR/EDR OPERATION
The Basic Rate / Enhanced Data Rate (BR/EDR) radio (physical layer or PHY)
operates in the unlicensed ISM band at 2.4 GHz. The system employs a
frequency hopping transceiver to combat interference and fading and provides
many FHSS carriers. Basic Rate radio operation uses a shaped, binary
frequency modulation to minimize transceiver complexity. The symbol rate is 1
megasymbol per second (Msym/s) supporting the bit rate of 1 megabit per
second (Mb/s) or, with Enhanced Data Rate, a gross air bit rate of 2 or 3Mb/s.
These modes are known as Basic Rate and Enhanced Data Rate respectively.

During typical operation a physical radio channel is shared by a group of
devices that are synchronized to a common clock and frequency hopping
pattern. One device provides the synchronization reference and is known as
the master. All other devices synchronized to a master’s clock and frequency


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hopping pattern are known as slaves. A group of devices synchronized in this
fashion form a piconet. This is the fundamental form of communication in the
Bluetooth BR/EDR wireless technology.

Devices in a piconet use a specific frequency hopping pattern, which is
algorithmically determined by certain fields in the Bluetooth address and clock
of the master. The basic hopping pattern is a pseudo-random ordering of the 79
frequencies, separated by 1 MHz, in the ISM band. The hopping pattern can be
adapted – on a per-slave basis – to exclude a portion of the frequencies that
are used by interfering devices. The adaptive hopping technique improves
Bluetooth co-existence with static (non-hopping) ISM systems when they are
co-located.

The physical channel is sub-divided into time units known as slots. Data is
transmitted between Bluetooth devices in packets that are positioned in these
slots. When circumstances permit, a number of consecutive slots may be
allocated to a single packet. Frequency hopping may take place between the
transmission or reception of packets. Bluetooth technology provides the effect
of full duplex transmission through the use of a Time-Division Duplex (TDD)
scheme.

Above the physical channel there is a layering of links and channels and
associated control protocols. The hierarchy of channels and links from the
physical channel upwards is physical channel, physical link, logical transport,
logical link and L2CAP channel. These are discussed in more detail in Section
3.3 to Section 3.6 but are introduced here to aid the understanding of the
remainder of this section.

Typically within a physical channel, a physical link is formed between a master
device and slave devices. Exceptions to this include Inquiry scan and Page
scan physical channels, which have no associated physical link. The physical
link provides bidirectional packet transport between the master and slave
devices, except in the case of a Connectionless Slave Broadcast physical link.
In that case, the physical link provides a unidirectional packet transport from
the master to a potentially unlimited number of slaves. Since a physical
channel could include multiple slave devices, there are restrictions on which
devices may form a physical link. There is a physical link between each slave
and the master. Physical links are not formed directly between the slaves in a
piconet.

The physical link is used as a transport for one or more logical links that
support unicast synchronous, asynchronous and isochronous traffic, and
broadcast traffic. Traffic on logical links is multiplexed onto the physical link by
occupying slots assigned by a scheduling function in the resource manager.

A control protocol for the baseband and physical layers is carried over logical
links in addition to user data. This is the link manager protocol (LMP). Devices
that are active in a piconet have a default asynchronous connection-oriented
logical transport that is used to transport the LMP protocol signaling. For


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historical reasons this is known as the ACL logical transport. With the
exception of Connectionless Slave Broadcast devices, the primary ACL logical
transport is the one that is created whenever a device joins a piconet.
Connectionless Slave Broadcast devices may join the piconet purely to listen
to Connectionless Slave Broadcast packets. In that case, a Connectionless
Slave Broadcast logical transport is created (also called a CSB logical
transport) and no ACL logical transport is required. For all devices, additional
logical transports may be created to transport synchronous data streams when
required.

The Link Manager function uses LMP to control the operation of devices in the
piconet and provide services to manage the lower architectural layers (radio
layer and baseband layer). The LMP protocol is carried on the primary ACL
and active slave broadcast logical transports.

Above the baseband layer the L2CAP layer provides a channel-based
abstraction to applications and services. It carries out segmentation and
reassembly of application data and multiplexing and de-multiplexing of multiple
channels over a shared logical link. L2CAP has a protocol control channel that
is carried over the default ACL logical transport. Application data submitted to
the L2CAP protocol may be carried on any logical link that supports the L2CAP
protocol.

1.2 OVERVIEW OF BLUETOOTH LOW ENERGY OPERATION
Like the BR/EDR radio, the LE radio operates in the unlicensed 2.4 GHz ISM
band. The LE system employs a frequency hopping transceiver to combat
interference and fading and provides many FHSS carriers. LE radio operation
uses a shaped, binary frequency modulation to minimize transceiver
complexity. LE uses terminology that differs from BR/EDR and AMP to
describe supported PHYs with regards to differences in modulation, coding that
may be applied, and the resulting data rates. The mandatory symbol rate is 1
megasymbol per second (Msym/s), where 1 symbol represents 1 bit therefore
supporting a bit rate of 1 megabit per second (Mb/s), which is referred to as the
LE 1M PHY. The 1 Msym/s symbol rate may optionally support error correction
coding, which is referred to as the LE Coded PHY. This may use either of two
coding schemes: S=2, where 2 symbols represent 1 bit therefore supporting a
bit rate of 500 kb/s, and S=8, where 8 symbols represent 1 bit therefore
supporting a bit rate of 125 kb/s. An optional symbol rate of 2 Msym/s may be
supported, with a bit rate of 2 Mb/s, which is referred to as the LE 2M PHY. The
2 Msym/s symbol rate supports uncoded data only. LE 1M and LE 2M are
collectively referred to as the LE Uncoded PHYs. (Section 3.2.2) describes this
terminology in more detail.

LE employs two multiple access schemes: Frequency division multiple access
(FDMA) and time division multiple access (TDMA). Forty (40) physical
channels, separated by 2 MHz, are used in the FDMA scheme. Three (3) are
used as primary advertising channels and 37 are used as secondary
advertising channels and as data channels. A TDMA based polling scheme is

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used in which one device transmits a packet at a predetermined time and a
corresponding device responds with a packet after a predetermined interval.

The physical channel is sub-divided into time units known as events. Data is
transmitted between LE devices in packets that are positioned in these events.
There are four types of events: Advertising, Extended Advertising, Periodic
Advertising, and Connection events.

Devices that transmit advertising packets on the advertising PHY channels are
referred to as advertisers. Devices that receive advertising packets on the
advertising channels without the intention to connect to the advertising device
are referred to as scanners. Transmissions on the advertising PHY channels
occur in advertising events. At the start of each advertising event, the
advertiser sends an advertising packet corresponding to the advertising event
type. Depending on the type of advertising packet, the scanner may make a
request to the advertiser on the same advertising PHY channel which may be
followed by a response from the advertiser on the same advertising PHY
channel. The advertising PHY channel changes on the next advertising packet
sent by the advertiser in the same advertising event. The advertiser may end
the advertising event at any time during the event. The first advertising PHY
channel is used at the start of the next advertising event.


                            Advertising Event                         Advertising Event




     Adv              Adv     Scanner       Adv   Adv           Adv               Adv


     Adv Ch(k)              Adv Ch(k+1)           Adv Ch(k+2)   Adv Ch(k)          Adv Ch(k+1)



Figure 1.3: Advertising Events


LE devices may fulfill the entire communication in the case of unidirectional or
broadcast communication between two or more devices using advertising
events. They may also use advertising events to establish pair-wise bi-
directional communication between two or more devices using data channels
or to establish periodic broadcasts using secondary advertising channels.

Devices that need to form a connection to another device listen for connectable
advertising packets. Such devices are referred to as initiators. If the advertiser
is using a connectable advertising event, an initiator may make a connection
request using the same advertising PHY channel on which it received the
connectable advertising packet. The advertising event is ended and connection
events begin if the advertiser receives and accepts the request for a
connection be initiated. Once a connection is established, the initiator becomes
the master device in what is referred to as a piconet and the advertising
device becomes the slave device. Connection events are used to send data
packets between the master and slave devices. In connection events, channel


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hopping occurs at the start of each connection event. Within a connection
event, the master and slave alternate sending data packets using the same
data PHY channel. The master initiates the beginning of each connection event
and can end each connection event at any time.


     Advertising Event                  Connection Event             Connection Event




     Adv       Initiator        M->S   S->M       M->S     S->M     M->S       S->M


        Adv Ch(k)                         Data Ch(x)                   Data Ch(x+1)



Figure 1.4: Connection Events


Devices in a piconet use a specific frequency hopping pattern, which is
algorithmically determined by a field contained in the connection request sent
by an initiating device. The hopping pattern used in LE is a pseudo-random
ordering of the 37 frequencies in the ISM band. The hopping pattern can be
adapted to exclude a portion of the frequencies that are used by interfering
devices. The adaptive hopping technique improves Bluetooth co-existence with
static (non-hopping) ISM systems when these are co-located and have access
to information about the local radio environment, or detected by other means.

Above the physical channel there are concepts of links, channels and
associated control protocols. The hierarchy is physical channel, physical link,
logical transport, logical link, and L2CAP channel. These are discussed in
more detail in Section 3.3 to Section 3.6 but are introduced here to aid the
understanding of the remainder of this section.

Within a physical channel, a physical link is formed between devices. The
active physical link provides bidirectional packet transport between the master
and slave devices. Since an LE physical channel could include multiple slave
devices, there are restrictions on which devices may form a physical link. There
is a physical link between each slave and master. Slaves are permitted to have
physical links to more than one master at a time. A device is permitted to be
master and slave at the same time. Physical links are not formed directly
between the slaves in a piconet. Role changes between a master and slave
device are not supported at this time. The advertising and periodic physical
links provide a unidirectional packet transport from the advertiser to a
potentially unlimited number of scanners or initiators.

The physical link is used as a transport for one or more logical links that
support asynchronous traffic. Traffic on logical links is multiplexed onto the
physical link assigned by a scheduling function in the resource manager.

A control protocol for the link and physical layers is carried over logical links in
addition to user data. This is the link layer protocol (LL). Devices that are active


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in a piconet have a default LE asynchronous connection logical transport (LE
ACL) that is used to transport the LL protocol signaling. The default LE ACL is
the one that is created whenever a device joins a piconet.

The Link Layer function uses the LL protocol to control the operation of devices
in the piconet and provide services to manage the lower architectural layers
(PHY and LL).

Just as in BR/EDR, above the link layer the L2CAP layer provides a channel-
based abstraction to applications and services. It carries out fragmentation and
de-fragmentation of application data and multiplexing and de-multiplexing of
multiple channels over a shared logical link. L2CAP has a protocol control
channel that is carried over the primary ACL logical transport.

In addition to L2CAP, LE provides two additional protocol layers that reside on
top of L2CAP. The Security Manager protocol (SMP) uses a fixed L2CAP
channel to implement the security functions between devices. The other is the
Attribute protocol (ATT) that provides a method to communicate small amounts
of data over a fixed L2CAP channel. The Attribute protocol is also used by
devices to determine the services and capabilities of other devices. The
Attribute protocol may also be used over BR/EDR.

1.3 OVERVIEW OF AMP OPERATION
Alternate MAC/PHYs (AMP) are secondary Controllers in the Bluetooth core
system. The BR/EDR radio, the primary radio, is used to perform discovery,
association, connection establishment, and connection maintenance. Once an
L2CAP connection has been established between two devices over the BR/
EDR radio, the AMP Managers can discover the AMPs that are available on
the other device. When an AMP is common between the two devices, the Core
system provides mechanisms for moving data traffic from BR/EDR Controller
to an AMP Controller.

Each AMP consists of a Protocol Adaptation Layer (PAL) on top of a MAC and
PHY. The PAL is responsible for mapping the Bluetooth protocols and behavior
(as specified by HCI) to the specific protocols of the underlying MAC and PHY.

L2CAP channels may be created on, or moved to, an AMP. L2CAP channels
may also be moved back to the BR/EDR radio when those capabilities are not
necessary or when the AMP physical link has a link supervision timeout. A link
supervision timeout on an ACL link connecting two BR/EDR devices forces a
disconnection of all AMP physical links between those devices.

AMPs may be enabled or disabled as needed in order to minimize power
consumption in the system.




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1.4 NOMENCLATURE
Where the following terms appear in the specification they have the meaning
given in Table 1.1.

 Active Slave Broadcast (ASB)    The logical transport that is used to transport L2CAP
                                 user traffic and some kinds of LMP traffic to all active
                                 devices in the piconet over the BR/EDR Controller. See
                                 Section 3.5.4.4

 Ad Hoc Network                  A network typically created in a spontaneous manner.
                                 An ad hoc network requires no formal infrastructure
                                 and is limited in temporal and spatial extent.

 Advertiser                      A Bluetooth low energy device that broadcasts adver-
                                 tising packets during advertising events on advertising
                                 channels

 Advertising Event               A series of between one and three advertising packets
                                 on different advertising channels sent by an advertiser.

 Advertising Packet              A packet containing an advertising PDU. See [Vol 6]
                                 Part B, Section 2.3.1

 AMP                             Alternate Media Access Controller (MAC) and Physical
                                 Layer (PHY) or Alternate MAC/PHY.

 AMP Controller                  A term referring to AMP PHY, AMP MAC, Protocol
                                 Adaptation Layer, and HCI layers.

 BD_ADDR                         The Bluetooth device Address, BD_ADDR, is used to
                                 identify a Bluetooth device.

 Bluetooth                       Bluetooth is a wireless communication link, operating in
                                 the unlicensed ISM band at 2.4 GHz using a frequency
                                 hopping transceiver. It allows real-time AV and data
                                 communications between Bluetooth Hosts. The link
                                 protocol is based on time slots.

 Bluetooth Baseband              The part of the Bluetooth system that specifies or
                                 implements the medium access and physical layer pro-
                                 cedures to support the exchange of real-time voice,
                                 data information streams, and ad hoc networking
                                 between Bluetooth Devices.

 Bluetooth Clock                 A 28 bit clock internal to a BR/EDR Controller sub-sys-
                                 tem that ticks every 312.5µs. The value of this clock
                                 defines the slot numbering and timing in the various
                                 physical channels.

 Bluetooth Controller            A generic term referring to a Primary Controller with or
                                 without a Secondary Controller.

 Bluetooth Device                A device that is capable of short-range wireless com-
                                 munications using the Bluetooth system.

 Bluetooth Device Address        A 48 bit address used to identify each Bluetooth
                                 device.

Table 1.1: Nomenclature


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 BR/EDR                           Bluetooth basic rate (BR) and enhanced data rate
                                  (EDR).

 BR/EDR Controller                A term referring to the Bluetooth Radio, Baseband, Link
                                  Manager, and HCI layers.

 BR/EDR Piconet Physical Chan-    A Channel that is divided into time slots in which each
 nel                              slot is related to an RF hop frequency. Consecutive
                                  hops normally correspond to different RF hop frequen-
                                  cies and occur at a standard hop rate of 1600 hops/s.
                                  These consecutive hops follow a pseudo-random hop-
                                  ping sequence, hopping through a 79 RF channel set,
                                  or optionally fewer channels when Adaptive Frequency
                                  Hopping (AFH) is in use.

 BR/EDR/LE                        Bluetooth basic rate (BR), enhanced data rate (EDR)
                                  and low energy (LE).

 C-plane                          Control plane

 Channel                          Either a physical channel or an L2CAP channel,
                                  depending on the context.

 Connect (to service)             The establishment of a connection to a service. If not
                                  already done, this also includes establishment of a
                                  physical link, logical transport, logical link and L2CAP
                                  channel.

 Connectable device               A BR/EDR device in range that periodically listens on
                                  its page scan physical channel and will respond to a
                                  page on that channel. An LE device that is advertising
                                  using a connectable advertising event.

 Connected devices                Two BR/EDR devices and with a physical link between
                                  them.

 Connecting                       A phase in the communication between devices when
                                  a connection between the devices is being established.
                                  (Connecting phase follows after the link establishment
                                  phase is completed.)

 Connection                       A connection between two peer applications or higher
                                  layer protocols mapped onto an L2CAP channel.

 Connection establishment         A procedure for creating a connection mapped onto a
                                  channel.

 Connection Event                 A series of one or more pairs of interleaving data pack-
                                  ets sent between a master and a slave on the same
                                  physical channel.

 Connectionless Slave Broadcast   A feature that enables a master to broadcast informa-
 (CSB)                            tion to an unlimited number of slaves.

 Connectionless Slave Broadcast   A Bluetooth device that receives broadcast information
 Receiver                         from a Connectionless Slave Broadcast Transmitter.
                                  The device is a slave of the piconet.

Table 1.1: Nomenclature




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 Connectionless Slave Broadcast       A Bluetooth device that sends Connectionless Slave
 Transmitter                          Broadcast messages for reception by one or more
                                      Connectionless Slave Broadcast receivers. The device
                                      is the master of the piconet.

 Controller                           A collective term referring to all of the layers below HCI.

 Coverage area                        The area where two Bluetooth devices can exchange
                                      messages with acceptable quality and performance.

 Creation of a secure connection      A procedure of establishing a connection, including
                                      authentication and encryption.

 Creation of a trusted relationship   A procedure where the remote device is marked as a
                                      trusted device. This includes storing a common link key
                                      for future authentication, or pairing, when a link key is
                                      not available.

 Device discovery                     A procedure for retrieving the Bluetooth device
                                      address, clock, class-of-device field and used page
                                      scan mode from discoverable devices.

 Discoverable device                  A BR/EDR device in range that periodically listens on
                                      an inquiry scan physical channel and will respond to an
                                      inquiry on that channel. An LE device in range that is
                                      advertising with a connectable or scannable advertising
                                      event with a discoverable flag set in the advertising
                                      data. This device is in the discoverable mode.

 Discoverable Mode                    A Bluetooth device that is performing inquiry scans in
                                      BR/EDR or advertising with a discoverable or connect-
                                      able advertising event with a discoverable flag set in
                                      LE.

 Discovery procedure                  A Bluetooth device that is carrying out the inquiry pro-
                                      cedure in BR/EDR or scanning for advertisers using a
                                      discoverable or connectable advertising event with a
                                      discoverable flag set in LE.

 HCI                                  The Host Controller Interface (HCI) provides a com-
                                      mand interface to the baseband Controller and link
                                      manager and access to hardware status and control
                                      registers. This interface provides a uniform method of
                                      accessing the Bluetooth baseband capabilities.

 Host                                 A logical entity defined as all of the layers below the
                                      non-core profiles (e.g.Volume 3) and above the Host
                                      Controller Interface (HCI). A Bluetooth Host attached to
                                      a Bluetooth Controller may communicate with other
                                      Bluetooth Hosts attached to their Controllers as well.

 Initiator                            A Bluetooth low energy device that listens on advertis-
                                      ing channels for connectable advertising events to form
                                      connections.

 Inquiring device                     A BR/EDR device that is carrying out the inquiry proce-
                                      dure. This device is performing the discovery proce-
                                      dure.

Table 1.1: Nomenclature


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 Inquiry                         A procedure where a Bluetooth device transmits inquiry
                                 messages and listens for responses in order to dis-
                                 cover the other Bluetooth devices that are within the
                                 coverage area.

 Inquiry scan                    A procedure where a Bluetooth device listens for inquiry
                                 messages received on its inquiry scan physical channel.

 Interoperability                The ability of two or more systems or components to
                                 exchange information and to use the information that
                                 has been exchanged.

 Isochronous data                Information in a stream where each information entity
                                 in the stream is bound by a time relationship to previ-
                                 ous and successive entities.

 Known device                    A Bluetooth device for which at least the BD_ADDR is
                                 stored.

 L2CAP                           Logical Link Control and Adaptation Protocol

 L2CAP Channel                   A logical connection on L2CAP level between two devices
                                 serving a single application or higher layer protocol.

 L2CAP Channel establishment     A procedure for establishing a logical connection on
                                 L2CAP level.

 LE                              Bluetooth low energy (LE)

 Link                            Shorthand for a logical link.

 Link establishment              A procedure for establishing the default ACL link and
                                 hierarchy of links and channels between devices.

 Link key                        A secret key that is known by two devices and is used
                                 to authenticate the link.

 LMP authentication              An LMP level procedure for verifying the identity of a
                                 remote device.

 LMP pairing                     A procedure that authenticates two devices and cre-
                                 ates a common link key that can be used as a basis for
                                 a trusted relationship or a (single) secure connection.

 Logical link                    The lowest architectural level used to offer independent
                                 data transport services to clients of the Bluetooth system.

 Logical transport               Shared acknowledgment protocol and link identifiers
                                 between different logical links.

 Name discovery                  A procedure for retrieving the user-friendly name (the
                                 Bluetooth device name) of a connectable device.

 Packet                          Format of aggregated bits that are transmitted on a
                                 physical channel.

 Page                            The initial phase of the connection procedure where a
                                 device transmits a train of page messages until a
                                 response is received from the target device or a time-
                                 out occurs.

Table 1.1: Nomenclature


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 Page scan                       A procedure where a device listens for page messages
                                 received on its page scan physical channel.

 Paging device                   A Bluetooth device that is carrying out the page proce-
                                 dure.

 Paired device                   A Bluetooth device for which a link key has been cre-
                                 ated (either before connection establishment was
                                 requested or during connecting phase).

 Passkey                         A 6-digit number used to authenticate connections
                                 when Secure Simple Pairing is used.

 Physical Channel                Characterized by synchronized occupancy of a
                                 sequence of RF carriers by one or more devices. A
                                 number of physical channel types exist with character-
                                 istics defined for their different purposes.

 Physical Link                   A Baseband or Link Layer level connection between
                                 two devices.

 Physical Transport              PHY packet transmission and/or reception on an RF
                                 channel using one or more modulation schemes.

 Piconet                         A collection of devices occupying a shared physical
                                 channel where one of the devices is the Piconet Master
                                 and the remaining devices are connected to it.

 Piconet Master                  The BR/EDR device in a piconet whose Bluetooth
                                 Clock and Bluetooth Device Address are used to define
                                 the piconet physical channel characteristics.

 Piconet Slave                   Any BR/EDR device in a piconet that is not the Piconet
                                 Master, but is connected to the Piconet Master.

 PIN                             A user-friendly number that can be used to authenti-
                                 cate connections to a device before pairing has taken
                                 place.

 PMP                             A Participant in Multiple Piconets. A device that is con-
                                 currently a member of more than one piconet, which it
                                 achieves using time division multiplexing (TDM) to
                                 interleave its activity on each piconet physical channel.

 Profile Broadcast Data (PBD)    A logical link that carries data from a Connectionless
                                 Slave Broadcast Transmitter to one or more
                                 Connectionless Slave Broadcast Receivers.

 Scanner                         A Bluetooth low energy device that listens for advertis-
                                 ing events on the advertising channels.

 Scatternet                      Two or more piconets that include one or more devices
                                 acting as PMPs.

 Service discovery               Procedures for querying and browsing for services
                                 offered by or through another Bluetooth device.

 Service Layer Protocol          A protocol that uses an L2CAP channel for transporting
                                 PDUs.

Table 1.1: Nomenclature



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 Silent device                   A Bluetooth enabled device appears as silent to a
                                 remote device if it does not respond to inquiries made
                                 by the remote device.

 Synchronization Scan Physical   A physical channel that enables a slave device to
 Channel                         receive synchronization train packets from a master
                                 device.

 Synchronization Train           A series of packets transmitted on a set of fixed fre-
                                 quencies that deliver sufficient information for a receiv-
                                 ing device to start receiving corresponding
                                 Connectionless Slave Broadcast packets or to recover
                                 the current piconet clock after missing a Coarse Clock
                                 Adjust.

 U-plane                         User plane

 Unknown device                  A Bluetooth device for which no information (Bluetooth
                                 Device Address, link key or other) is stored.

Table 1.1: Nomenclature




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2 CORE SYSTEM ARCHITECTURE

The Bluetooth Core system consists of a Host, a Primary Controller and zero or
more Secondary Controllers. A minimal implementation of the Bluetooth BR/
EDR core system covers the four lowest layers and associated protocols
defined by the Bluetooth specification as well as one common service layer
protocol; the Service Discovery Protocol (SDP) and the overall profile
requirements are specified in the Generic Access Profile (GAP). The BR/EDR
Core system includes support of Alternate MAC/PHYs (AMPs) including an
AMP Manager Protocol and Protocol Adaptation Layers (PALs) supporting
externally referenced MAC/PHYs. A minimal implementation of a Bluetooth LE
only core system covers the four lowest layers and associated protocols
defined by the Bluetooth specification as well as two common service layer
protocols; the Security Manager (SM) and Attribute Protocol (ATT) and the
overall profile requirements are specified in the Generic Attribute Profile
(GATT) and Generic Access Profile (GAP). Implementations combining
Bluetooth BR/EDR and LE include both of the minimal implementations
described above.

A complete Bluetooth application requires a number of additional service and
higher layer protocols that are defined in the Bluetooth specification, but are
not described here. The core system architecture is shown in Figure 2.1.




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                                                           ATT/                                            AMP Manager
                                         SMP                              SDP
   GAP                                                     GATT




                                                         Channel Manager


                                                                                          L2cap Resource
                                                                                             Manager
                                                 L2CAP



                                                                                                  .

 Host
                                                                                                                            .
                                             HCI                                                               HCI
           C/E           SCO               ACL           C/E             C/E       ACL            ACL                 C/E



                                                      Link              Link
                                                                                                            AMP PAL
                                                     Manager           Manager

          Device
         Manager                           Baseband Resource Manager


                                                                                                            AMP MAC

                                                                            Link
                                  Link Controller
                                                                          Controller




                                       BR/EDR Radio and LE Radio (PHY)                                      AMP PHY

                       BR/EDR Controller                                LE Controller                   AMP Controller(s)

            C-plane and control services             C/E       Command/Event

            U-plane and data traffic                 ACL       Asynchronous (ACL) data path

                                                     SCO       Synchronous(SCO, eSCO) data path


Figure 2.1: Bluetooth core system architecture


Figure 2.1 shows the Core blocks, each with its associated communication
protocol. Link Manager, Link Controller and BR/EDR Radio blocks comprise a
BR/EDR Controller. An AMP PAL, AMP MAC, and AMP PHY comprise an AMP
Controller. Link Manager, Link Controller and LE Radio blocks comprise an LE
Controller. L2CAP, SDP and GAP blocks comprise a BR/EDR Host. L2CAP,
SMP, Attribute protocol, GAP and Generic Attribute Profile (GATT) blocks
comprise an LE Host. A BR/EDR/LE Host combines the set of blocks from
each respective Host. This is a common implementation involving a standard


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physical communication interface between the Controller and the Host.
Although this interface is optional the architecture is designed to allow for its
existence and characteristics. The Bluetooth specification enables
interoperability between independent Bluetooth systems by defining the
protocol messages exchanged between equivalent layers, and also
interoperability between independent Bluetooth subsystems by defining a
common interface between Bluetooth Controllers and Bluetooth Hosts.

A number of functional blocks and the path of services and data between them
are shown. The functional blocks shown in the diagram are informative; in
general the Bluetooth specification does not define the details of
implementations except where this is required for interoperability. Thus the
functional blocks in Figure 2.1 are shown in order to aid description of the
system behavior. An implementation may be different from the system shown
in Figure 2.1.

Standard interactions are defined for all inter-device operation, where
Bluetooth devices exchange protocol signaling according to the Bluetooth
specification. The Bluetooth core system protocols are the Radio (PHY)
protocol, Link Control (LC) and Link Manager (LM) protocol or Link Layer (LL)
protocol, AMP PAL, Logical Link Control and Adaptation protocol (L2CAP), and
AMP Manager Protocol, all of which are fully defined in subsequent parts of the
Bluetooth specification. In addition, the Service Discovery Protocol (SDP) and
the Attribute Protocol (ATT) are service layer protocols that may be required by
some Bluetooth applications.

The Bluetooth core system offers services through a number of service access
points that are shown in the diagram as ellipses. These services consist of the
basic primitives that control the Bluetooth core system. The services can be
split into three types. There are device control services that modify the
behavior and modes of a Bluetooth device, transport control services that
create, modify and release traffic bearers (channels and links), and data
services that are used to submit data for transmission over traffic bearers. It is
common to consider the first two as belonging to the C-plane and the last as
belonging to the U-plane.

A service interface to the Bluetooth Controller subsystem is defined such that
the Primary Controller may be considered a standard part. In this configuration
the Bluetooth Controller operates the lowest four layers. The Bluetooth Host
operates the L2CAP layer and other higher layers. The standard interface is
called the Host Controller Interface (HCI) and its service access points are
represented by the ellipses on the upper edge of the Bluetooth Controller
subsystem in Figure 2.1. Implementation of this standard service interface is
optional.

As the Bluetooth architecture is defined with the possibility of separate Host
and Controller(s) communicating through one or more HCI transports, a
number of general assumptions are made. Bluetooth Controllers are assumed
to have limited data buffering capabilities in comparison with the Host.

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Therefore the L2CAP layer is expected to carry out some simple resource
management when submitting L2CAP PDUs to the Controller for transport to a
peer device. This includes segmentation of L2CAP SDUs into more
manageable PDUs and then the fragmentation of PDUs into start and
continuation packets of a size suitable for the Controller buffers, and
management of the use of Controller buffers to ensure availability for channels
with Quality of Service (QoS) commitments.

The BR/EDR Baseband, LE Link Layer, and AMP MAC layers provides the
basic acknowledgment/repeat request (ARQ) protocol in Bluetooth. The
L2CAP layer can optionally provide a further error detection and retransmission
to the L2CAP PDUs. This feature is recommended for applications with
requirements for a low probability of undetected errors in the user data. A
further optional feature of L2CAP is a window-based flow control that can be
used to manage buffer allocation in the receiving device. Both of these optional
features augment the QoS performance in certain scenarios. Not all of the
L2CAP capabilities are available when using the LE system.

Although these assumptions are not always required for embedded Bluetooth
implementations that combine all layers in a single system, the general
architectural and QoS models are defined with these assumptions in mind, in
effect a lowest common denominator.

Automated conformance testing of implementations of the Bluetooth core
system is required. This is achieved by allowing the tester to control the
implementation through the PHY interface, and test interfaces such as Direct
Test Mode (DTM), Generic Test Methodology (GTM), Test Control Interface
(TCI), and test commands and events over HCI which are only required for
conformance testing.

The tester exchanges with the Implementation Under Test (IUT) through the
PHY interface to ensure the correct responses to requests from remote
devices. The tester controls the IUT through HCI, DTM, GTM, or TCI to cause
the IUT to originate exchanges through the PHY interface so that these can
also be verified as conformant.

The TCI uses a different command-set (service interface) for the testing of
each architectural layer and protocol. A subset of the HCI command-set is
used as the TCI service interface for each of the layers and protocols within the
BR/EDR Controller subsystem. A separate service interface is used for testing
the L2CAP layer and protocol. As an L2CAP service interface is not defined in
the Bluetooth core specification it is defined separately in the Test Control
Interface specification. Implementation of the L2CAP service interface is only
required for conformance testing.




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2.1 CORE ARCHITECTURAL BLOCKS
This section describes the function and responsibility of each of the blocks
shown in Figure 2.1. An implementation is not required to follow the
architecture described above, though every implementation shall conform to
the protocol specifications described in subsequent parts of the Bluetooth
specification, and shall implement the behavioral aspects of the system
outlined below and specified in subsequent parts of the Bluetooth specification.

2.1.1 Host Architectural Blocks

2.1.1.1 Channel Manager

The channel manager is responsible for creating, managing and closing
L2CAP channels for the transport of service protocols and application data
streams. The channel manager uses the L2CAP protocol to interact with a
channel manager on a remote (peer) device to create these L2CAP channels
and connect their endpoints to the appropriate entities. The channel manager
interacts with its local link manager or an AMP PAL to create new logical links
(if necessary) and to configure these links to provide the required quality of
service for the type of data being transported.

2.1.1.2 L2CAP Resource Manager
The L2CAP resource manager block is responsible for managing the ordering
of submission of PDU fragments to the baseband and some relative scheduling
between channels to ensure that L2CAP channels with QoS commitments are
not denied access to the physical channel due to Controller resource
exhaustion. This is required because the architectural model does not assume
that a Controller has limitless buffering, or that the HCI is a pipe of infinite
bandwidth.
L2CAP Resource Managers may also carry out traffic conformance policing to
ensure that applications are submitting L2CAP SDUs within the bounds of their
negotiated QoS settings. The general Bluetooth data transport model assumes
well-behaved applications, and does not define how an implementation is
expected to deal with this problem.

2.1.1.3 Security Manager Protocol

The Security Manager Protocol (SMP) is the peer-to-peer protocol used to
generate encryption keys and identity keys. The protocol operates over a
dedicated fixed L2CAP channel. The SMP block also manages storage of the
encryption keys and identity keys and is responsible for generating random
addresses and resolving random addresses to known device identities. The
SMP block interfaces directly with the Controller to provide stored keys used
for encryption and authentication during the encryption or pairing procedures.




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This block is only used in LE systems. Similar functionality in the BR/EDR system
is contained in the Link Manager block in the Controller. SMP functionality is in the
Host on LE systems to reduce the implementation cost of the LE only Controllers.

2.1.1.4 Attribute Protocol

The Attribute Protocol (ATT) block implements the peer-to-peer protocol
between an attribute server and an attribute client. The ATT client
communicates with an ATT server on a remote device over a dedicated fixed
L2CAP channel. The ATT client sends commands, requests, and confirmations
to the ATT server. The ATT server sends responses, notifications and
indications to the client. These ATT client commands and requests provide a
means to read and write values of attributes on a peer device with an ATT
server.

2.1.1.5 AMP Manager Protocol
The AMP manager is a layer that uses L2CAP to communicate with a peer
AMP Manager on a remote device. It also interfaces directly with the AMP PAL
for AMP control purposes. The AMP manager is responsible for discovering
remote AMP(s) and determining their availability. It also collects information
about remote AMP(s). This information is used to set up and manage AMP
physical links. The AMP manager uses a dedicated L2CAP signaling channel
to communicate with remote AMP manager(s).

2.1.1.6 Generic Attribute Profile

The Generic Attribute Profile (GATT) block represents the functionality of the
attribute server and, optionally, the attribute client. The profile describes the
hierarchy of services, characteristics and attributes used in the attribute server.
The block provides interfaces for discovering, reading, writing and indicating of
service characteristics and attributes. GATT is used on LE devices for LE
profile service discovery.

2.1.1.7 Generic Access Profile

The Generic Access Profile (GAP) block represents the base functionality
common to all Bluetooth devices such as modes and access procedures used
by the transports, protocols and application profiles. GAP services include
device discovery, connection modes, security, authentication, association
models and service discovery.

2.1.2 BR/EDR/LE Controller Architectural Blocks

In implementations where the BR/EDR and LE systems are combined, the
architectural blocks may be shared between systems or each system may
have their own instantiation of the block.



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2.1.2.1 Device Manager
The device manager is the functional block in the baseband that controls the
general behavior of the Bluetooth device. It is responsible for all operations of
the Bluetooth system that are not directly related to data transport, such as
inquiring for the presence of nearby Bluetooth devices, connecting to Bluetooth
devices, or making the local Bluetooth device discoverable or connectable by
other devices.
The device manager requests access to the transport medium from the
baseband resource Controller in order to carry out its functions.
The device manager also controls local device behavior implied by a number of
the HCI commands, such as managing the device local name, any stored link
keys, and other functionality.

2.1.2.2 Link Manager

The link manager is responsible for the creation, modification and release of
logical links (and, if required, their associated logical transports), as well as the
update of parameters related to physical links between devices. The link
manager achieves this by communicating with the link manager in remote
Bluetooth devices using the Link Manager Protocol (LMP) in BR/EDR and the
Link Layer Protocol (LL) in LE.

The LM or LL protocol allows the creation of new logical links and logical
transports between devices when required, as well as the general control of
link and transport attributes such as the enabling of encryption on the logical
transport, the adapting of transmit power in BR/EDR on the physical link, or the
adjustment of QoS settings in BR/EDR for a logical link.

2.1.2.3 Baseband Resource Manager

The baseband resource manager is responsible for all access to the radio
medium. It has two main functions. At its heart is a scheduler that grants time
on the physical channels to all of the entities that have negotiated an access
contract. The other main function is to negotiate access contracts with these
entities. An access contract is effectively a commitment to deliver a certain
QoS that is required in order to provide a user application with an expected
performance.

The access contract and scheduling function must take account of any
behavior that requires use of the Primary Controller. This includes (for
example) the normal exchange of data between connected devices over logical
links, and logical transports, as well as the use of the radio medium to carry out
inquiries, make connections, be discoverable or connectable, or to take
readings from unused carriers during the use of adaptive frequency hopping
mode.



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In some cases in BR/EDR systems the scheduling of a logical link results in
changing a logical link to a different physical channel from the one that was
previously used. This may be (for example) due to involvement in scatternet, a
periodic inquiry function, or page scanning. When the physical channels are
not time slot aligned, then the resource manager also accounts for the
realignment time between slots on the original physical channel and slots on
the new physical channel. In some cases the slots will be naturally aligned due
to the same device clock being used as a reference for both physical channels.

2.1.2.4 Link Controller

The Link Controller is responsible for the encoding and decoding of Bluetooth
packets from the data payload and parameters related to the physical channel,
logical transport and logical link.

The Link Controller carries out the link control protocol signaling in BR/EDR
and link layer protocol in LE (in close conjunction with the scheduling function
of the resource manager), which is used to communicate flow control and
acknowledgment and retransmission request signals. The interpretation of
these signals is a characteristic of the logical transport associated with the
baseband packet. Interpretation and control of the link control signaling is
normally associated with the resource manager’s scheduler.

2.1.2.5 PHY

The PHY block is responsible for transmitting and receiving packets of
information on the physical channel. A control path between the baseband and
the PHY block allows the baseband block to control the timing and frequency
carrier of the PHY block. The PHY block transforms a stream of data to and
from the physical channel and the baseband into required formats.

2.1.3 AMP Controller Architectural Blocks

2.1.3.1 AMP HCI

The AMP HCI is the logical interface between an AMP Controller and Host
(L2CAP and AMP manager). HCI is an optional layer used when the Host and
AMP Controller(s) are physically separated. Support for AMPs requires
additional HCI commands and events. These new commands and events are
related to AMP physical and logical link management, QoS, as well as flow
control.

There is one logical instantiation of an HCI per AMP Controller, and another
logical instantiation for the BR/EDR Controller. The physical HCI transport layer
manages the multiplexing of several Controllers over the same physical
transport bus in cases where multiple Controllers exist in a single physical unit.




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2.1.3.2 AMP PAL

The AMP PAL is the AMP layer interfacing the AMP MAC with the Host
(L2CAP and AMP Manager). It translates commands from the Host into the
specific MAC service primitives and primitives into commands, and it translates
primitives from the AMP MAC into understandable event(s) for the Host. The
AMP PAL provides support for AMP channel management, data traffic
according to specified flow specifications, and power efficiency.

There is not a requirement that the AMP PAL has exclusive access to the AMP
itself. Implementers may choose to allow other protocols to be concurrent
clients of the AMP. Specific mechanisms for allowing other protocols to share
access to the AMP are outside the scope of this specification.
A generic PAL architecture is shown in Figure 2.2.
.
    AMP HCI Interface

     PAL


                                  Physical             Logical
                                                                     Data
          PAL Manager               Link                Link
                                                                    Manager
                                  Manager              Manager

                                  Security              QoS




    MAC Interface            Control             Reservation        Data
                                             MAC/PHY


Figure 2.2: Generic PAL architecture

Capabilities of the PAL and the underlying MAC/PHY are exchanged via the
AMP_Info and AMP_Assoc structures by the AMP Manager Protocol. The
AMP_Info contains generic capabilities of the PAL such as bandwidth
availability, maximum PDU size, PAL capabilities, length of the AMP_Assoc
and flush timeout information. The contents of the AMP_Assoc are dependent
on the PAL and are related to the underlying MAC/PHY.

2.1.3.3 AMP MAC
The AMP MAC is the MAC layer as defined in the IEEE 802 reference layer
model. It provides services such as addressing and mechanisms to control and
access channels. The AMP MAC is in between AMP PHY and AMP PAL layers.

2.1.3.4 AMP PHY
The AMP PHY is the AMP physical layer.


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3 DATA TRANSPORT ARCHITECTURE

The Bluetooth data transport system follows a layered architecture. This
description of the Bluetooth system describes the Bluetooth core transport
layers up to and including L2CAP channels. All Bluetooth operational modes
follow the same generic transport architecture, which is shown in Figure 3.1.


                              L2CAP
                                                 L2CAP Channels
                              Layer

                                                   Logical Links
                              Logical
                               Layer            Logical Transports

                                                  Physical Links

                              Physical
                                                Physical Channels
                               Layer
                                               Physical Transports


Figure 3.1: Bluetooth generic data transport architecture


For efficiency and legacy reasons, the Bluetooth transport architecture
includes a sub-division of the logical layer, distinguishing between logical links
and logical transports. This sub-division provides a general (and commonly
understood) concept of a logical link that provides an independent transport
between two or more devices. The logical transport sub-layer is required to
describe the inter-dependence between some of the logical link types (mainly
for reasons of legacy behavior).

Prior to Version 1.2, the Bluetooth Core specification described the ACL and
SCO links as physical links. With the addition of Extended SCO (eSCO) and for
future expansion it is better to consider these as logical transport types, which
more accurately encapsulates their purpose. However, they are not as
independent as might be desired, due to their shared use of resources such as
the LT_ADDR and acknowledgment/repeat request (ARQ) scheme. Hence the
architecture is incapable of representing these logical transports with a single
transport layer. The additional logical transport layer goes some way towards
describing this behavior.




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3.1 CORE TRAFFIC BEARERS
The Bluetooth core system provides a number of standard traffic bearers for
the transport of service protocol and application data. These are shown in
Figure 3.2 below (for ease of representation this is shown with higher layers to
the left and lower layers to the right).

    ApplicaƟon                                                          Bluetooth core
                                                                                                                         Logical
     Traĸc Types              L2CAP Channels                                 Logical Links                             Transports

                         AMP                                              BR/EDR
                                        Channel                                         LE Link
                       Manager                                AMP PAL      Link
                                        Manager                                          Layer
                       Protocol                                           Manager



                                  Signaling                                                       ACL-C
                                                                                                                       BR/EDR ACL
    Higher Layer
 Protocol Signaling               AMP Manager Fixed Channel                                       ACL-U

                                                                                                  LE-C
       Reliable                                                                                                        LE ACL
    Asynchronous                                                                                  LE-U
 Framed User Data
                                                                                                  AMP-C
     Higher Layer                 Unicast
                                                                                                                       AMP ACL
 Framed Isochronous
      User Data                                                                                   AMP-U

    Constant Rate                                                                                 SCO[-S]
     Isochronous
       User Data                                                                                  eSCO[-S]

     Isochronous                                                                                  PBD                   CSB
       Unframed
     ProĮle Data
                                                                                                  ADVB-C
                                                                                                                       ADVB

                                              AdverƟƐement Broadcast                              ADVB-U                PADVB

                                                                                                  ASB-C
      Unreliable
    Asynchronous                              AcƟve Broadcast                                     ASB-U                ASB
 Framed User Data



Figure 3.2: Bluetooth traffic bearers


The core traffic bearers that are available to applications are shown in Figure
3.2 as the shaded rounded rectangles. The architectural layers that are defined
to provide these services are described in Section 2. A number of data traffic
types are shown on the left of the diagram linked to the traffic bearers that are
typically suitable for transporting that type of data traffic.

The logical links are named using the names of the associated logical transport
and a suffix that indicates the type of data that is transported. (C for control
links carrying LMP or LL messages, U for L2CAP links carrying user data
(L2CAP PDUs) and S for stream links carrying unformatted synchronous or
isochronous data.) It is common for the suffix to be removed from the logical
link without introducing ambiguity, thus a reference to the default ACL logical
transport can be resolved to mean the ACL-C logical link in cases where the
LMP protocol is being discussed, the LE-C logical link in cases where LL
protocol is being discussed, the AMP-C logical link in cases where a PAL

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protocol is being discussed, or the ACL-U,LE-U, or AMP-U logical links when
the L2CAP layer is being discussed.

The mapping of application traffic types to Bluetooth core traffic bearers in
Figure 3.2 is based on matching the traffic characteristics with the bearer
characteristics. It is recommended to use these mappings as they provide the
most natural and efficient method of transporting the data with its given
characteristics.

However, an application (or an implementation of the Bluetooth core system)
may choose to use a different traffic bearer, or a different mapping to achieve a
similar result. For example, in a BR/EDR piconet with only one slave, the
master may choose to transport L2CAP broadcasts over the ACL-U logical link
rather than over the ASB-U logical link. This will probably be more efficient in
terms of bandwidth (if the physical channel quality is not too degraded). Use of
alternative transport paths to those in Figure 3.2 is only acceptable if the
characteristics of the application traffic type are preserved.

Figure 3.2 shows a number of application traffic types. These are used to
classify the types of data that may be submitted to the Bluetooth core system.
The original data traffic type can be different from the type that is submitted to
the Bluetooth core system if an intervening process modifies it. For example,
video data is generated at a constant rate but an intermediate coding process
may alter this to variable rate, e.g. by MPEG4 encoding. For the purposes of
the Bluetooth core system, only the characteristic of the submitted data is of
interest.

3.1.1 Framed Data Traffic
The L2CAP layer services provide a frame-oriented transport for asynchronous
and isochronous user data. The application submits data to this service in
variable-sized frames (up to a negotiated maximum for the channel) and these
frames are delivered in the same form to the corresponding application on the
remote device. There is no requirement for the application to insert additional
framing information into the data, although it may do so if this is required (such
framing is invisible to the Bluetooth core system).
Connection-oriented L2CAP channels may be created for transport of unicast
(point-to-point) data between two Bluetooth devices. Connection-oriented
channels provide a context within which specific properties may be applied to
data transported on the channel. For example, quality of service parameters or
flow and error control modes may be applied. Connection-oriented L2CAP
channels are created using the L2CAP connection procedure.
A connectionless BR/EDR L2CAP channel exists for broadcasting data or for
transport of unicast data. In the case of piconet topologies the master device is
always the source of broadcast data and the slave device(s) are the recipients.
Broadcast traffic on the connectionless L2CAP channel is uni-directional.
Unicast data sent on the connectionless L2CAP channels may be uni-
directional or bi-directional. Unicast data sent on the L2CAP connectionless

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channel provides an alternate mechanism to send data with the same level of
reliability as an L2CAP connection-oriented channel operating in Basic mode
but without the additional latency incurred by opening an L2CAP connection-
oriented channel. LE L2CAP connectionless channels are not supported.
BR/EDR L2CAP channels have an associated QoS setting that defines
constraints on the delivery of the frames of data. These QoS settings may be
used to indicate (for example) that the data is isochronous, and therefore has a
limited lifetime after which it becomes invalid, or that the data should be
delivered within a given time period, or that the data is reliable and should be
delivered without error, however long this takes.

Some L2CAP channels are fixed channels created when the ACL-U and/or LE-
U logical links are established. These fixed channels have fixed channel
identifiers and fixed configurations and do not permit negotiation of the
configuration after they are created. These fixed channels are used for BR/
EDR and LE L2CAP signaling (ACL-U or LE-U), connectionless channel (ACL-
U and ASB-U), AMP manager protocol (ACL-U), Security Manager Protocol
(LE-U), Attribute Protocol (ACL-U or LE-U) and AMP Test Manager (ACL-U).
The L2CAP channel manager is responsible for arranging to transport the
L2CAP channel data frames on an appropriate baseband logical link, possibly
multiplexing this onto the baseband logical link with other L2CAP channels with
similar characteristics.

3.1.2 Unframed Data Traffic

If the application does not require delivery of data in frames, possibly because
it includes in-stream framing, or because the data is a pure stream, then it may
avoid the use of L2CAP channels and make direct use of a baseband logical
link.

The Bluetooth core system supports the direct transport of application data that
is isochronous and of a constant rate (either bit-rate, or frame-rate for pre-
framed data), using a SCO-S or eSCO-S logical link. These logical links
reserve physical channel bandwidth and provide a constant rate transport
locked to the piconet clock. Data is transported in fixed size packets at fixed
intervals with both of these parameters negotiated during channel
establishment. eSCO links provide a greater choice of bit-rates and also
provide greater reliability by using limited retransmission in case of error.
Enhanced Data Rate operation is supported for eSCO, but not for SCO logical
transports. SCO and eSCO logical transports do not support multiplexed
logical links or any further layering within the Bluetooth core. An application
may choose to layer a number of streams within the submitted SCO/eSCO
stream, provided that the submitted stream is, or has the appearance of being,
a constant rate stream.

The Bluetooth core system also supports the direct transport of application
data using a Profile Broadcast Data (PBD) logical link. This logical link is similar
to SCO-S and eSCO-S since it reserves physical channel bandwidth, provides

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a constant rate transport locked to the piconet clock, and transports data at
fixed intervals. It does not support multiplexed logical links or any further
layering within the Bluetooth core but, unlike SCO-S and eSCO-S, it supports
broadcasting data from a single transmitter to many receivers.

The application chooses the most appropriate type of logical link from those
available at the baseband, and creates and configures it to transport the data
stream, and releases it when completed. (The application will normally also
use a framed L2CAP unicast channel to transport its C-plane information to the
peer application on the remote device.)

If the application data is isochronous and of a variable rate, then this may only
be carried by the L2CAP unicast channel, and hence will be treated as framed
data.

Unframed data traffic is not supported in the LE system.

3.1.3 Reliability of Traffic Bearers

3.1.3.1 BR/EDR Reliability

Bluetooth is a wireless communications system. In poor RF environments, this
system should be considered inherently unreliable. To counteract this the
system provides levels of protection at each layer. The baseband packet
header uses forward error correcting (FEC) coding to allow error correction by
the receiver and a header error check (HEC) to detect errors remaining after
correction. Certain Baseband packet types include FEC for the payload.
Furthermore, some Baseband packet types include a cyclic redundancy error
check (CRC).

On ACL logical transports the results of the error detection algorithm are used
to drive a simple ARQ protocol. This provides an enhanced reliability by re-
transmitting packets that do not pass the receiver’s error checking algorithm. It
is possible to modify this scheme to support latency-sensitive packets by
discarding an unsuccessfully transmitted packet at the transmitter if the
packet’s useful life has expired. eSCO links use a modified version of this
scheme to improve reliability by allowing a limited number of retransmissions.

The resulting reliability gained by this ARQ scheme is only as dependable as
the ability of the HEC and CRC codes to detect errors. In most cases this is
sufficient, however it has been shown that for the longer packet types the
probability of an undetected error is too high to support typical applications,
especially those with a large amount of data being transferred.

The L2CAP layer provides an additional level of error control that is designed
to detect the occasional undetected errors in the baseband layer and request
retransmission of the affected data. This provides the level of reliability required
by typical Bluetooth applications.


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Broadcast links have no feedback route, and are unable to use the ARQ
scheme (although the receiver is still able to detect errors in received packets).
Instead each packet is transmitted several times in the hope that the receiver is
able to receive at least one of the copies successfully. Despite this approach
there are still no guarantees of successful receipt, and so these links are
considered unreliable.

In summary, if a link or channel is characterized as reliable this means that the
receiver is capable of detecting errors in received packets and requesting re-
transmission until the errors are removed. Due to the error detection system
used some residual (undetected) errors may still remain in the received data.
For L2CAP channels the level of these is comparable to other communication
systems, although for logical links the residual error level is somewhat higher.

The transmitter may remove packets from the transmit queue such that the
receiver does not receive all the packets in the sequence. If this happens
detection of the missing packets is delegated to the L2CAP layer.

On an unreliable link the receiver is capable of detecting errors in received
packets but cannot request retransmission. The packets passed on by the
receiver may be without error, but there is no guarantee that all packets in the
sequence are received. Hence the link is considered fundamentally unreliable.
There are limited uses for such links, and these uses are normally dependent
on the continuous repetition of data from the higher layers while it is valid.

Stream links have a reliability characteristic somewhere between a reliable and
an unreliable link, depending on the current operating conditions.

3.1.3.2 LE Reliability

Like BR/EDR, in poor RF environments, the LE system should be considered
inherently unreliable. To counteract this, the system provides levels of
protection at each layer. The LL packet uses a 24-bit cyclic redundancy error
check (CRC) to cover the contents of the packet payload. If the CRC
verification fails on the packet payload, the packet is not acknowledged by the
receiver and the packet gets retransmitted by the sender.

Broadcast links have no feedback route, and are unable to use the
acknowledgment scheme (although the receiver is still able to detect errors in
received packets). Instead, each packet is transmitted several times to
increase the probability that the receiver is able to receive at least one of the
copies successfully. Despite this approach there are still no guarantees of
successful receipt, and so these links are considered unreliable.

In summary, if a link or channel is characterized as reliable this means that the
receiver is capable of detecting errors in received packets and requesting re-
transmission until the errors are removed.




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On an unreliable link the receiver is capable of detecting errors in received
packets but cannot request retransmission. The packets passed on by the
receiver may be without error, but there is no guarantee that all packets in the
sequence are received. Hence the link is considered fundamentally unreliable.
There are limited uses for such links, and these uses are normally dependent
on the continuous repetition of data from the higher layers while it is valid.

3.1.3.3 AMP Reliability

The reliability of each AMP depends on the underlying MAC/PHY technology.
Some AMPs only flush user traffic when marked as flushable whereas other
AMPs can flush user traffic.

The Bluetooth Core maintains a level of reliability for protocols and profiles
above the Core by mandating the use of Enhanced Retransmission Mode or
Streaming Mode for any L2CAP channel used over the AMP.

3.2 TRANSPORT ARCHITECTURE ENTITIES
The Bluetooth transport architecture entities are shown in Figure 3.3 and are
described from the lowest layer upwards in the subsequent sections.
  Channels
   L2CAP




                                                                 Unicast          Broadcast




                            User
  Logical




               Control       User    Control         User                           Profile             Control       User     Control       User
   Links




                         (L2CAP)
               (PAL)       (L2CAP)
                          AMP-U      (LMP)         (L2CAP)     Stream             Broadcast              (LL)       (L2CAP)     (LL)         (LL)
               AMP-C      AMP-U      ACL-C          ACL-U                         Data (PBD)             LE-C         LE-U     ADVB-C       ADVB-U
  Transports
    Logical




                           AMP       BR/EDR                                                                        LE
                                                     ASB        SCO        eSCO                CSB                              ADVB         PADVB
                           ACL        ACL                                                                         ACL




                                               BR/EDR                           BR/EDR                          LE                LE             LE
  Physical




                           AMP
   Links




                                                Active                      Connectionless                    Active          Advertising     Periodic
                          Physical
                                               Physical                     Slave Broadcast                  Physical          Physical       Physical
                           Link
                                                 Link                        Physical Link                     Link              Link           Link



                                     BR/EDR         BR/EDR      BR/EDR       BR/EDR
  Channels




                                                                                             BR/EDR            LE                LE              LE
  Physical




                           AMP        Basic         Adapted      Page         Inquiry     Synchronization    Piconet          Advertising      Periodic
                          Physical   Piconet        Piconet      Scan          Scan
                                     Physical       Physical    Physical     Physical      Scan Physical     Physical          Physical        Physical
                          Channel
                                     Channel        Channel     Channel      Channel         Channel         Channel           Channel         Channel
  Transports
   Physical




                                                           BR/EDR Physical Transport                                    LE Physical Transport




Figure 3.3: Overview of transport architecture entities and hierarchy


The BR/EDR Physical Transport encapsulates the BR/EDR Physical Channels.
Transfers using the BR/EDR Physical Transport use the BR/EDR Generic
Packet Structure. The LE Physical Transport encapsulates the LE Physical

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Channels. Transfers using the LE Physical Transport use the LE Generic
Packet Structure.

3.2.1 BR/EDR Generic Packet Structure

The general packet structure nearly reflects the architectural layers found in the
Bluetooth BR/EDR system. The BR/EDR packet structure is designed for
optimal use in normal operation. It is shown in Figure 3.4.

                  Carries the physical channel
                  access code
                                          Carries the logical transport            Layer Information
                                          identifier
                                                              EDR Physical layer mode
                                                              change
                                                                                Carries the logical link
                                                                                identifier
                                                                                                         Payload



                                                   Guard &
   Channel Access Code       Packet Header          Sync            Payload Header               Payload             MIC    CRC
                                                 (EDR Only)




                                         Carries the link control
                                         LC protocol
                                                                                     Carries LMP messages, L2CAP signals,
                                                                                     L2CAP frames or other user data
         Protocols

Figure 3.4: BR/EDR packet structure


Packets normally only include the fields that are necessary to represent the
layers required by the transaction. Thus a simple inquiry request over an
inquiry scan physical channel does not create or require a logical link or higher
layer and therefore consists only of the channel access code (associated with
the physical channel).

All packets include the channel access code. This is used to identify
communications on a particular physical channel, and to exclude or ignore
packets on a different physical channel that happens to be using the same RF
carrier in physical proximity.

There is no direct field within the BR/EDR packet structure that represents or
contains information relating to physical links. This information is implied by the
combination of the logical transport address (LT_ADDR) carried in the packet
header and the channel access code (CAC).

Most BR/EDR packets include a packet header. The packet header is always
present in packets transmitted on physical channels that support physical links,
logical transports and logical links. The packet header carries the LT_ADDR,
which is used by each receiving device to determine if the packet is addressed
to the device and is used to route the packet internally.




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The BR/EDR packet header also carries part of the link control (LC) protocol
that is operated per logical transport (except for ACL and SCO transports that
operate a shared LC protocol carried on either logical transport).

The Enhanced Data Rate (EDR) packets have a guard time and
synchronization sequence before the payload. This is a field used for physical
layer change of modulation scheme.

The payload header is present in all packets on logical transports that support
multiple logical links. The payload header includes a logical link identifier field
used for routing the payload, and a field indicating the length of the payload
body. Some packet types also include a CRC at the end of the packet payload
that is used to detect most errors in received packets. When AES-CCM
encryption is enabled, ACL packets include a Message Integrity Check (MIC)
just prior to the CRC field.

EDR packets have a trailer after the CRC.

The packet payload body is used to transport the user data. The interpretation
of this data is dependent on the logical transport and logical link identifiers. For
ACL logical transports Link Manager Protocol (LMP) messages and L2CAP
signals are transported in the packet payload body, along with general user
data from applications.

For SCO, eSCO, and CSB logical transports the payload body contains the
user data for the logical link.

3.2.2 LE Generic Packet Structure

LE radio operation is based on three PHYs and makes use of two modulation
schemes. Table 3.1 summarizes the properties of each of the LE PHYs. Each
packet transmitted uses a single PHY. Each PHY uses a single modulation
scheme. Two of the PHYs are uncoded - that is, each bit maps directly to a
single radio symbol in the packet - while the third PHY is error correction
coded. There are two coding schemes: S=8 and S=2, where S is the number of
symbols per bit.

                                            Coding scheme
                     Modulation
 PHY                 scheme       Access Header       Payload               Data rate
 LE 1M               1 Msym/s     Uncoded             Uncoded               1 Mb/s
                     modulation
 LE 2M               2 Msym/s     Uncoded             Uncoded               2 Mb/s
                     modulation
 LE Coded            1 Msym/s                         S=8                   125 kb/s
                     modulation   S=8
                                                      S=2                   500 kb/s

Table 3.1: Summary of PHYs, modulation schemes, and coding schemes



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The "Access Header" referred to in Table 3.1 includes all the bits in the packet
format associated with the particular PHY prior to the start of the PDU Header
but not including the preamble. The preamble is excluded as this is uncoded
for all PHYs.

The "Payload" referred to in Table 3.1 includes all the bits in the packet format
from the PDU Header to the end of the packet.

The general structure of the link layer air interface packet closely reflects the
architectural layers found in the LE system. The packet structure for the LE
Uncoded PHYs is designed for optimal use in normal operation and is shown in
Figure 3.5.
                                                                                        Layer Information

               Carries physical channel
               access code
                                                 Carries the logical transport
                                                 and logical link identifiers




   Preamble      Access Address     PDU Header                    PDU Payload                   MIC     CRC




                                                             Carries L2CAP signals, L2CAP
                                                             frames or other user data


   Protocols                                          Carries the Link Layer Protocol


Figure 3.5: The packet structure for the LE Uncoded PHYs


The packet structure for the LE Coded PHY is designed for optimal use in
extended range operation and is shown in Figure 3.6
                                                                                        Layer Information



             Carries physical channel            Carries logical transport
             access code                         and logical link identifiers




  Preamble      Access Address       CI   TERM1       PDU Header      PDU Payload       MIC    CRC TERM2




                              Access                            Carries L2CAP signals, L2CAP
                              Header                            frames or other user data


                                                        Carries the Link Layer Protocol


Figure 3.6: The packet structure for the LE Coded PHY



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When using the LE Coded PHY, it is recommended to carefully consider the
impact of radio-on time for power consumption and duty cycle for scheduling
and coexistence over the air. The LE Coded PHY with S=8 coding (125 kb/s)
represents the worst case, when considering radio-on time and duty cycle,
where each packet sent over the air will be approximately 8 times larger than
LE 1M.

Table 3.2 illustrates the on-air time of advertising events with different sizes of
AdvData. The first is using connectable and scannable undirected advertising
events where the AdvData is sent on the primary advertising channel. The
second is using events where the AdvData is offloaded to the secondary
advertising channel. The usage of the primary and secondary advertising
channels is described in Section 3.3.2.2. Numbers in parentheses are
hypothetical and show cases that are not valid in a compliant implementation.

                                                                    Connectable Undirected
                              Connectable Undirected                Advertising Event Using
     AdvData
                               Advertising Event [µs]                   Offloading [µs]
     [Bytes]
                        LE 1M                LE Coded S=8     LE 1M              LE Coded S=8

                   0                  384           (3,312)               568                4,864
                  15                  744           (6,192)               688                5,824

                  31                 1,128          (9,264)               816                6,848
                100              (2,784)           (22,512)              1,368              11,264
                245              (6,264)           (50,352)              2,528             20,544

Table 3.2: On-air time for various advertising events

Note: The events without offloading were calculated using three ADV_IND
PDUs, while the events with offloading used three ADV_EXT_IND PDUs
containing only the AuxPtr and ADI fields plus one AUX_ADV_IND PDU with
the AdvA and ADI fields present and holding the AdvData.

Table 3.3 illustrates, for a range of payload sizes, the difference in Link Layer
Data Channel PDU packet durations for connections over the LE 1M PHY and
LE Coded PHY with S=8 coding. Connection duty cycle for a specific
implementation may be easily calculated from this information.

                                                     LL Data Channel PDU [µs]
         Payload [bytes]
                                      LE 1M                          LE Coded S=8

                                 0                             80                              720
                                15                            200                            1,680

                                31                            328                            2,704
Table 3.3: On-air time for various data channel packets



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                                                LL Data Channel PDU [µs]
         Payload [bytes]
                                    LE 1M                         LE Coded S=8

                              100                          880                           7,120
                              255                         2,120                        17,040
Table 3.3: On-air time for various data channel packets

The physical link identifier is not contained in the link layer air interface packet.
The physical channel identifiers are either fixed, are determined at connection
setup, or are determined at periodic advertising setup. All LE packets include
the Access Address. This is used to identify communications on a physical
channel, and to exclude or ignore packets on different physical channels that
are using the same PHY channels in physical proximity. The Access Address
determines whether the packet is directed to the advertising physical channel
(and thus an advertising physical link) used for non-periodic advertising, the
periodic physical channel used for periodic advertising, or to a piconet physical
channel (and thus an active physical link to a device). The LE advertising
physical channel used for non-periodic advertising uses a fixed Access
Address. The LE periodic physical channel used for periodic advertising and
LE piconet physical channels use a randomly generated 32-bit value as their
Access Address. This provides a high number of periodic advertisements and
a high number of active devices that can be addressed in an LE periodic
advertisement or an LE piconet.

All LE packets include a PDU header. The PDU header determines the type of
advertisement broadcast or logical link carried over the physical channel.

For advertising channel PDUs, the PDU header contains the type of
advertisement payload, the device address type for addresses contained in the
advertisement, and the advertising channel PDU payload length. Most
advertising channel PDU payloads contain the advertiser's address and
advertising data. One advertising channel PDU payload only contains the
advertiser's device address and the initiator's device address in which the
advertisement is directed. Advertising channel PDUs with scan requests
payloads contain the scanner's device address and the advertiser's device
address. Advertising channel PDUs with scan responses contain advertiser's
device address and the scan response data. Advertising channel PDUs with
connection request payloads contain the initiator's device address, advertiser's
device address and connection setup parameters.

For data channel PDUs, the PDU header contains the Logical Link Identifier
(LLID), the Next Expected Sequence Number (NESN), Sequence Number
(SN), More Data (MD) and payload length. For data channel PDUs that contain
control commands, the data channel PDU payload contains a command
opcode and control data that is specific to the command. There is an optional
Message Integrity Check (MIC) value that is used to authenticate the data
PDU. For data channel PDUs that are data, the data channel PDU payload
contains L2CAP data.

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3.3 PHYSICAL CHANNELS
A number of types of physical channel are defined. All Bluetooth physical
channels are characterized by a set of PHY frequencies combined with
temporal parameters and restricted by spatial considerations. For the basic
and adapted piconet physical channels frequency hopping is used to change
frequency periodically to reduce the effects of interference and for regulatory
reasons.

The Bluetooth BR/EDR system and LE system differ slightly in the way they
use physical channels.

3.3.1 BR/EDR Physical Channels

In the BR/EDR core system, peer devices use a shared physical channel for
communication. To achieve this their transceivers need to be tuned to the same
PHY frequency at the same time, and they need to be within a nominal range
of each other.

Given that the number of RF carriers is limited and that many Bluetooth
devices may be operating independently within the same spatial and temporal
area there is a strong likelihood of two independent Bluetooth devices having
their transceivers tuned to the same RF carrier, resulting in a physical channel
collision. To mitigate the unwanted effects of this collision each transmission on
a physical channel starts with an access code that is used as a correlation
code by devices tuned to the physical channel. This channel access code is a
property of the physical channel. The access code is present at the start of
every transmitted packet.

Several BR/EDR physical channels are defined. Each is optimized and used
for a different purpose. Two of these physical channels (the basic piconet
channel and adapted piconet channel) are used for communication between
connected devices and are associated with a specific piconet. Other BR/EDR
physical channels are used for discovering (the inquiry scan channel) and
connecting (the page scan channel) Bluetooth devices. The synchronization
scan physical channel is used by devices to obtain timing and frequency
information about the Connectionless Slave Broadcast physical link or to
recover the current piconet clock.

A Bluetooth device can only use one BR/EDR physical channel at any given
time. In order to support multiple concurrent operations the device uses time-
division multiplexing between the channels. In this way a Bluetooth device can
appear to operate simultaneously in several piconets, as well as being
discoverable and connectable.

Whenever a Bluetooth device is synchronized to the timing, frequency and
access code of a physical channel it is said to be ‘connected’ to this channel
(whether or not it is actively involved in communications over the channel). The
Bluetooth specification assumes that a device is only capable of connecting to
one physical channel at any time. Advanced devices may be capable of

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connecting simultaneously to more than one physical channel, but the
specification does not assume that this is possible.

3.3.1.1 Basic Piconet Channel

3.3.1.1.1 Overview

The basic piconet channel is used for communication between connected
devices during normal operation.

3.3.1.1.2 Characteristics

The basic piconet channel is characterized by a pseudo-random sequence
hopping through the PHY channels. The hopping sequence is unique for the
piconet and is determined by the Bluetooth device address of the master. The
phase in the hopping sequence is determined by the Bluetooth clock of the
master. All Bluetooth devices participating in the piconet are time- and hop-
synchronized to the channel.

The channel is divided into time slots where each slot corresponds to an PHY
hop frequency. Consecutive hops correspond to different PHY hop frequencies.
The time slots are numbered according to the Bluetooth clock of the piconet
master. Packets are transmitted by Bluetooth devices participating in the piconet
aligned to start at a slot boundary. Each packet starts with the channel access
code, which is derived from the Bluetooth device address of the piconet master.

On the basic piconet channel the master controls access to the channel. The
master starts its transmission in even-numbered time slots only. Packets
transmitted by the master are aligned with the slot start and define the piconet
timing. Packets transmitted by the master may occupy up to five time slots
depending on the packet type.

Each master transmission is a packet carrying information on one of the logical
transports. Slave devices may transmit on the physical channel in response.
The characteristics of the response are defined by the logical transport that is
addressed.

For example, on the asynchronous connection-oriented logical transport (ACL),
the addressed slave device responds by transmitting a packet containing
information for the same logical transport that is nominally aligned with the next
(odd-numbered) slot start. Such a packet may occupy up to five time slots,
depending on the packet type. On a broadcast logical transport no slaves are
allowed to respond.

3.3.1.1.3 Topology

A basic piconet channel may be shared by any number of Bluetooth devices,
limited only by the resources available on the piconet master device. Only one
device is the piconet master, all others being piconet slaves. All communication

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is between the master and slave devices. There is no direct communication
between slave devices on the piconet channel.

There is, however, a limitation on the number of logical transports that can be
supported within a piconet. This means that although there is no theoretical
limit to the number of Bluetooth devices that share a channel there is a limit to
the number of these devices that can be actively involved in exchanging data
with the master.

3.3.1.1.4 Supported layers

The basic piconet channel supports a number of physical links, logical
transports, logical links and L2CAP channels used for general purpose
communications.

3.3.1.2 Adapted Piconet Channel

3.3.1.2.1 Overview

The adapted piconet channel differs from the basic piconet channel in two
ways. First, the frequency on which a slave transmits is the same as the
frequency used by its master in the preceding transmission. In other words the
frequency is not recomputed between master and subsequent slave packets.
Second, the adapted piconet channel may be based on fewer than the full 79
frequencies. A number of frequencies may be excluded from the hopping
pattern by being marked as “unused”. The remainder of the 79 frequencies are
included. The two sequences are the same except that whenever the basic
pseudo-random hopping sequence selects an unused frequency, it is replaced
with an alternative chosen from the used set. The set of frequencies used may
vary between different physical links on the same adapted piconet channel.

Because the adapted piconet channel uses the same timing and access code
as the basic piconet channel, physical links on the two channels are often
coincident. This provides a deliberate benefit as it allows slaves in either the
basic piconet channel or the adapted piconet channel to adjust their
synchronization to the master.

The topology and supported layers of the adapted piconet physical channel are
identical to the basic piconet physical channel with one exception: on the
adapted piconet physical channel, it is possible for a single master to transmit
data to an unlimited number of slaves using a single CSB logical transport. In
this case, however, data is only transferred from master to slave and not from
slave to master.




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3.3.1.3 Inquiry Scan Channel

3.3.1.3.1 Overview

In order for a device to be discovered, an inquiry scan channel is used. A
discoverable device listens for inquiry requests on its inquiry scan channel and
then sends a response to that request. In order for a device to discover other
devices, it iterates (hops) through all possible inquiry scan channel frequencies
in a pseudo-random fashion, sending an inquiry request on each frequency
and listening for any response.

3.3.1.3.2 Characteristics

Inquiry scan channels follow a slower hopping pattern and use an access code
to distinguish between occasional occupancy of the same radio frequency by
two co-located devices using different physical channels.

The access code used on the inquiry scan channel is taken from a reserved set
of inquiry access codes that are shared by all Bluetooth devices. One access
code is used for general inquiries, and a number of additional access codes
are reserved for limited inquiries. Each device has access to a number of
different inquiry scan channels. As all of these channels share an identical
hopping pattern, a device may concurrently occupy more than one inquiry scan
channel if it is capable of concurrently correlating more than one access code.

A device using one of its inquiry scan channels remains passive on that
channel until it receives an inquiry message on this channel from another
Bluetooth device. This is identified by the appropriate inquiry access code. The
inquiry scanning device will then follow the inquiry response procedure to
return a response to the inquiring device.

In order for a device to discover other Bluetooth devices it uses the inquiry
scan channel to send inquiry requests. As it has no prior knowledge of the
devices to discover, it cannot know the exact characteristics of the inquiry scan
channel.

The device takes advantage of the fact that inquiry scan channels have a
reduced number of hop frequencies and a slower rate of hopping. The inquiring
device transmits inquiry requests on each of the inquiry scan hop frequencies
and listens for an inquiry response. Transmissions are done at a faster rate,
allowing the inquiring device to cover all inquiry scan frequencies in a
reasonably short time period.

3.3.1.3.3 Topology

Inquiring and discoverable devices use a simple exchange of packets to fulfill
the inquiring function. The topology formed during this transaction is a simple
and transient point-to-point connection.


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3.3.1.3.4 Supported Layers

During the exchange of packets between an inquiring and discoverable device
it may be considered that a temporary physical link exists between these
devices. However, the concept is quite irrelevant as it has no physical
representation but is only implied by the brief transaction between the devices.
No further architectural layers are considered to be supported.

3.3.1.4 Page Scan Channel

3.3.1.4.1 Overview

A connectable device (one that is prepared to accept connections) does so
using a page scan channel. A connectable device listens for a page request on
its page scan channel and, once received, enters into a sequence of
exchanges with this device. In order for a device to connect to another device,
it iterates (hops) through all page scan channel frequencies in a pseudo-
random fashion, sending a page request on each frequency and listening for a
response.

3.3.1.4.2 Characteristics

The page scan channel uses an access code derived from the scanning
device’s Bluetooth device address to identify communications on the channel.
The page scan channel uses a slower hopping rate than the hop rate of the
basic and adapted piconet channels. The hop selection algorithm uses the
Bluetooth device clock of the scanning device as an input.

A device using its page scan channel remains passive until it receives a page
request from another Bluetooth device. This is identified by the page scan
channel access code. The two devices will then follow the page procedure to
form a connection. Following a successful conclusion of the page procedure
both devices switch to the basic piconet channel that is characterized by
having the paging device as master.

In order for a device to connect to another Bluetooth device it uses the page
scan channel of the target device in order to send page requests. If the paging
device does not know the phase of the target device’s page scan channel it
therefore does not know the current hop frequency of the target device. The
paging device transmits page requests on each of the page scan hop
frequencies and listens for a page response. This is done at a faster hop rate,
allowing the paging device to cover all page scan frequencies in a reasonably
short time period.

The paging device may have some knowledge of the target device’s Bluetooth
clock (indicated during a previous inquiry transaction between the two devices,
or as a result of a previous involvement in a piconet with the device), in this
case it is able to predict the phase of the target device’s page scan channel. It


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may use this information to optimize the synchronization of the paging and
page scanning process and speed up the formation of the connection.

3.3.1.4.3 Topology

Paging and connectable devices use a simple exchange of packets to fulfill the
paging function. The topology formed during this transaction is a simple and
transient point-to-point connection.

3.3.1.4.4 Supported Layers

During the exchange of packets between a paging and connectable device it
may be considered that a temporary physical link exists between these
devices. However, the concept is quite irrelevant as it has no physical
representation but is only implied by the brief transaction between the devices.
No further architectural layers are considered to be supported.

3.3.1.5 Synchronization Scan Channel

3.3.1.5.1 Overview

In order to receive packets sent on the CSB logical transport, a device must
first obtain information about the timing and frequency channels of those
packets. If a device misses a Coarse Clock Adjustment notification, it needs to
recover the current piconet clock. The synchronization scan channel is
provided for these purposes. A scanning device listens for synchronization
train packets on the synchronization scan channel. Once a synchronization
train packet is received, the device may stop listening for synchronization train
packets because it has the timing and frequency information necessary to start
receiving packets sent on the CSB logical transport or to recover the piconet
clock.

3.3.1.5.2 Characteristics

The synchronization scan channel uses an access code derived from the
Bluetooth device address of the synchronization train transmitter to identify
synchronization train packets on the channel. Once a synchronization train
packet is received, the scanning BR/EDR Controller may start receiving
packets sent on the CSB logical transport, depending on the needs of the Host
and any applicable profile(s).

3.3.1.5.3 Topology

The topology formed during this scan is transient and point-to-multipoint. There
can be an unlimited number of scanning devices simultaneously receiving
synchronization train packets from the same synchronization train transmitter.



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3.3.1.5.4 Supported Layers

There is a one-way flow of packets from the synchronization train transmitting
device to the scanning device(s). This may be considered a temporary physical
link that exists only until the scanning device receives the required information.
No further architectural layers are considered to be supported.

3.3.2 LE Physical Channels

In the LE core system, two Bluetooth devices use a shared physical channel
for communication. To achieve this, their transceivers need to be tuned to the
same PHY frequency at the same time, and they need to be within a nominal
range of each other.

Given that the number of PHY channels is limited, and many Bluetooth devices
can be operating independently within the same spatial and temporal area,
there is a strong likelihood of two pairs of independent Bluetooth devices
having their transceivers tuned to the same PHY channel, resulting in a
collision. Unlike BR/EDR, where an access code is used to identify the piconet,
LE uses a randomly generated Access Address to identify a physical channel
between devices. In the event that two devices happen to share the same PHY
channel in the same area, the targeted device Access Address is used as a
correlator to determine to which device the communication is directed.

Three LE physical channels are defined. Each is optimized and used for a
different purpose. The LE piconet channel is used for communication between
connected devices and is associated with a specific piconet. The LE
advertising channel is used for broadcasting advertisements to LE devices.
These advertisements can be used to discover, connect, or send user data to
scanner or initiator devices. The periodic physical channel is used to send user
data to scanner devices in periodic advertisements at a specified interval.

An LE device can only use one of these LE physical channels at any given
time. In order to support multiple concurrent operations the device uses time-
division multiplexing between the channels. In this way a Bluetooth device can
appear to support connected devices while simultaneously sending advertising
broadcasts.

Whenever an LE device is synchronized to the timing and frequency of the
physical channel it is said to be connected or synchronized to this channel
(whether or not it is actively involved in communications over the channel). The
Bluetooth specification assumes that a device is only capable of connecting to
one physical channel at a time. Advanced devices may be capable of
connecting or synchronizing simultaneously to more than one physical
channel, but the specification does not make this assumption.




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3.3.2.1 LE Piconet Channel

3.3.2.1.1 Overview

The LE piconet channel is used for communication between connected LE
devices during normal operation.

3.3.2.1.2 Characteristics

The LE piconet channel is characterized by a pseudo-random sequence of
PHY channels and by three additional parameters provided by the master. The
first is the channel map that indicates the set of PHY channels used in the
piconet. The second is a pseudo random number used as an index into the
complete set of PHY channels. The third is the timing of the first data packet
sent by the master after the connection request.

The channel is divided into connection events where each connection event
corresponds to a PHY hop channel. Consecutive connection events
correspond to different PHY hop channels. The first packet sent by the master
after the connection establishment sets an anchor point for the timing of all
future connection events. In a connection event the master transmits packets
to a slave in the piconet and the slave may or may not respond with a packet of
its own.

On the LE piconet channel the master controls access to the channel. The
master starts its transmission in a connection event that occurs at regular
intervals. Packets transmitted by the master are aligned with the connection
event start and define the piconet timing. Packets sent by the master may vary
in length from 10 to 265 octets.

Each master transmission contains a packet carrying information on one of the
logical transports. Slave devices can transmit on the physical channel in
response.

The LE piconet channel is similar to the BR/EDR adapted piconet channel in
that the set of PHY channels used can be modified to avoid interference. The
set of used channels in the channel map is established by the master during
connection setup. While in a connection the master can change the channel
map when necessary to avoid new interferers.

There are 37 LE piconet channels. The master can reduce this number through
the channel map indicating the used channels. When the hopping pattern hits
an unused channel the unused channel is replaced with an alternate from the
set of used channels. The LE Piconet physical channel can use any LE PHY.




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3.3.2.1.3 Topology

An LE piconet channel can be shared by any number of LE devices, limited
only by the resources available on the piconet master device. Only one device
is the piconet master; all others being piconet slaves. All communication is
between the master and slave devices. There is no direct communication
between slave devices on the piconet channel.

There is virtually no limit on the number of logical transports that can be
supported within a piconet. This means that there is no theoretical limit to the
number of Bluetooth devices that share a channel with the master.

An LE device is permitted to belong to one or more piconets at a time, that is,
an LE device may be a slave in zero or more piconets and may also be a
master of another piconet.

Only one LE piconet channel can exist between two LE device identities or
non-resolvable private addresses.

3.3.2.1.4 Supported layers

The LE piconet channel supports L2CAP channels used for general purpose
communications.

3.3.2.2 Advertising Channels

3.3.2.2.1 Overview

An LE advertising channel is used to set up connections between two devices
or to communicate broadcast information between unconnected devices.

3.3.2.2.2 Characteristics

There are two LE advertising channels: the primary advertising channel and
the secondary advertising channel.

The primary advertising channel is a set of three fixed PHY channels spread
evenly across the LE frequency spectrum. The number of primary advertising
PHY channels can be reduced by the advertising device in order to reduce
interference. The primary advertising channel can use either the LE 1M or LE
Coded PHY.

The primary advertising channel is divided into advertising events where each
advertising event can hop on all three advertising PHY channels. Consecutive
advertising events begin on the first advertising PHY channel. The advertising
events occur at regular intervals which are slightly modified with a random
delay to aid in interference avoidance.



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On the primary advertising channel the advertising device controls access to
the channel. The advertising device starts its transmission in an advertising
event and transmits advertising packets on one or more of the three advertising
PHY channels. Each advertising packet is sent on a different advertising PHY
channel at a fixed interval. Seven types of advertising events can be used, with
each advertising event type having different sized advertising packets. The
PDU payloads of these advertising packets can vary in length from 6 to 37
octets.

Some advertising events sent by the advertising device permit the listening
device to concurrently send scan requests or connection requests packets on
the same advertising PHY channel in which the advertising packet was
received. The advertising device can send a scan response packet again on
the same advertising PHY channel within the same advertising event. The
payload of the scan response packet can vary in length from 6 to 37 octets.

The secondary advertising channel is a set of 37 fixed PHY channels spread
across the LE frequency spectrum. These are the same fixed LE PHY
channels used by the data channel. The secondary advertising channel uses
the same channel indices as the data channel. The payload of advertising
packets used on the secondary advertising channel can vary in length from 0 to
255 octets. Advertising packets on the secondary advertising channel are not
part of the advertising event but are part of the extended advertising event.
These extended advertising events begin at the same time as the advertising
event on the primary advertising channel and conclude with the last packet on
the secondary advertising channel.

The secondary advertising channel is used to offload data that would otherwise
be transmitted on the primary advertising channel. Advertising packets on the
secondary advertising channel ("auxiliary packets") are scheduled by the
advertiser when sufficient over-the-air time is available. The advertising packet
on the primary advertising channel contains the PHY channel and the offset to
the start time of the auxiliary packet.

The secondary advertising channel can use any LE PHY. All advertising
packets on the secondary advertising channel in the same extended
advertising event use the same PHY, which is specified in the advertising
packet on the primary advertising channel.

3.3.2.2.3 Topology

An LE advertising channel can be shared by any number of LE devices. Any
number of LE devices can transmit advertising packets while sharing the
advertising channel. Any number of scanning devices can listen on the
advertising channel. An advertising device can advertise and be connected on
an LE piconet channel simultaneously. Scanning devices may also be
connected to one or more LE piconet channels simultaneously.




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3.3.2.3 Periodic Physical Channel

3.3.2.3.1 Overview

An LE periodic physical channel is used to set up a periodic broadcast between
unconnected devices.

3.3.2.3.2 Characteristics

The periodic physical channel is characterized by a pseudo-random sequence
of PHY channels and additional parameters provided by the advertiser. These
are the channel map that indicates the set of PHY channels used in the
periodic broadcast, the event counter used to determine the channel hopping
sequence, the offset indicating the timing of the first periodic broadcast packet,
and the interval between successive periodic broadcasts.

The channel is divided into periodic advertising events where the start of a
periodic advertising event corresponds to a PHY hop channel. The start of
consecutive periodic advertising events corresponds to different PHY hop
channels. The first packet sent by the advertiser after the broadcast is
established sets an anchor point for the timing of all future periodic advertising
events.

On the periodic physical channel, the advertising device controls access to the
channel. The advertiser starts its transmission in a periodic advertising event
that occurs at regular intervals. Packets transmitted by the advertiser are
aligned with the periodic advertising event and specified broadcast timing. The
payload of packets sent by the advertiser may vary in length from 0 octets to
255 octets.

Each advertiser transmission contains a packet carrying information on the
PADVB logical transports. Scanners cannot transmit on the physical channel.

There are 37 PHY channels. The advertiser can reduce this number through
the channel map indicating the used channels. When the hopping pattern hits
an unused channel, the unused channel is replaced with an alternate from the
set of used channels. The periodic physical channel can use any PHY. All
periodic advertising events use the same PHY used by the advertiser in the
packet describing the characteristics of the periodic physical channel.

3.3.2.3.3 Topology

An LE periodic physical channel can be shared by any number of LE devices.
Any number of LE devices can transmit periodic advertising packets while
sharing the same periodic physical PHY channels. Any number of scanning
devices can listen on the periodic physical channel. An advertising device can
advertise and be synchronized on an LE periodic physical channel
simultaneously. Scanning devices may also be synchronized to one or more LE
periodic physical channels simultaneously.

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3.3.3 AMP Physical Channel

3.3.3.1 Overview

An AMP physical channel is used for communication between connected
devices during normal operation. It is used in parallel with an adapted piconet
channel between the associated BR/EDR Controllers.

3.3.3.2 Characteristics

The AMP physical channel characteristics depend on the referenced MAC and
PHY. See Volume 5 for the referenced MAC and PHY for each PAL.

3.3.3.3 Topology

An AMP physical channel may be shared by any number of Bluetooth devices,
limited only by the resources available on the piconet BR/EDR master device
and the number of LT_ADDRs available. Roles within the AMP physical
channel are not used. All communication is between the BR/EDR piconet
master and a single BR/EDR piconet slave. There is no direct communication
between BR/EDR piconet slave devices over the AMP physical channel.

Although there is no theoretical limit to the number of Bluetooth devices that
can share an AMP physical channel, similar to the basic and adapted piconet
channels, there is a limit to the number of these devices that can be actively
involved in exchanging data with the master.

3.3.3.4 Supported Layers

The AMP physical channel supports a number of physical links, logical
transports, logical links and L2CAP channels used for general purpose
communications.

3.4 PHYSICAL LINKS
A physical link represents a baseband connection between Bluetooth devices.
A physical link is always associated with exactly one physical channel
(although a physical channel may support more than one physical link). Within
the Bluetooth system a physical link is a virtual concept that has no direct
representation within the structure of a transmitted packet.

In BR/EDR the access code packet field, together with the clock and address
of the master Bluetooth device, is used to identify a physical channel. In LE, the
access address and channel map, including hopIncrement in the case of
Channel Selection Algorithm #1 or an event counter in the case of Channel
Selection Algorithm #2, are used to identify a physical channel. For BR/EDR
and LE, there is no subsequent part of the packet that directly identifies the



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physical link. Instead, the physical link may be identified by association with the
logical transport, as each logical transport is only received on one physical link.

Some physical link types have properties that may be modified. An example of
this is the transmit power for the link. Other physical link types have no
modifiable properties. In the case of physical links with modifiable properties
the LM protocol (BR/EDR) is used to adapt these properties. As the LM
protocol (BR/EDR) is supported at a higher layer (by a logical link) the
appropriate physical link is identified by implication from the logical link that
transports the LM signaling.

In the situation where a transmission is broadcast over a number of different
physical links, then the transmission parameters are selected to be suitable for
all of the physical links.

3.4.1 BR/EDR Links Supported by the Basic and Adapted Piconet
     Physical Channel

The basic piconet physical channel supports a physical link which may only be
active. The adapted piconet physical channel may support several physical
links, including active and Connectionless Slave Broadcast. An active physical
link is a point-to-point link between the master and a slave. A Connectionless
Slave Broadcast physical link is a point-to-multipoint link between the master
and zero or more slaves. At least one physical link on the piconet physical
channel is always present when a slave is synchronized in the piconet.

3.4.1.1 Active Physical Link

The physical link between a master and a slave device is active if a default ACL
logical transport exists between the devices. Active physical links have no direct
identification of their own, but are identified by association with the default ACL
logical transport ID with which there is a one-to-one correspondence.

An active physical link has the associated property of radio transmit power in
each direction. Transmissions from slave devices are always directed over the
active physical link to the master, and use the transmit power that is a property
of this link in the slave to master direction. Transmissions from the master may
be directed over a single active physical link (to a specific slave) or over a
number of physical links (to a group of slaves in the piconet). In the case of
point-to-point transmissions the master uses the appropriate transmit power for
the physical link in question. (In the case of point-to-multipoint transmissions
the master uses a transmit power appropriate for the set of devices
addressed.)

Active physical links may be placed into Hold or Sniff mode. The effect of these
modes is to modify the periods when the physical link is active and may carry
traffic. Logical transports that have defined scheduling characteristics are not
affected by these modes and continue according to their pre-defined scheduling


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behavior. The default ACL logical transport and other links with undefined
scheduling characteristics are subject to the mode of the active physical link.

3.4.1.2 This section no longer used



3.4.1.3 Connectionless Slave Broadcast Physical Link

A Connectionless Slave Broadcast physical link is present on a slave when the
slave is synchronized in the piconet where a CSB logical transport exists. On a
master, a Connectionless Slave Broadcast physical link is present when a CSB
logical transport exists whether or not any slaves are synchronized. The
Connectionless Slave Broadcast physical link is a point-to-multipoint
unidirectional link between a master and zero or more slaves.

Connectionless Slave Broadcast physical links do not support power control
because there is no feedback from slaves to the master. Traffic is always
directed from a single master to zero or more slaves.

Connectionless Slave Broadcast packets are sent at regular intervals. The BR/
EDR Controller selects an interval within a range requested by the Host.

3.4.2 BR/EDR Links Supported by the Scanning Physical Channels

In the case of inquiry scan and page scan channels, the physical link exists for
a relatively short time and cannot be controlled or modified in any way. These
types of physical links are not further elaborated.

3.4.3 LE Links Supported by the LE Physical Channels

The LE piconet physical channels support an LE active physical link. The
physical link is a point-to-point link between the master and a slave. It is always
present when the slave is in a connection with the master.

The LE advertising physical channels support an LE advertising physical link.
The physical link is a broadcast between the advertiser device and one or more
scanner or initiator devices. It is always present when the advertiser is
broadcasting advertisement events.

The LE periodic physical channels support an LE periodic physical link. The
physical link is a broadcast between the advertiser device and one or more
scanner devices. It is always present when the advertiser is broadcasting
periodic advertising events.




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3.4.3.1 Active Physical Link

The physical link between a master and a slave device is active if a default LE
ACL logical transport exists between the devices. Active physical links are
each associated with a separate piconet physical channel, which in turn is
identified by the randomly generated Access Address used in the Link Layer
packet. Each Access Address has a one-to-one relationship with the master
and the slave of the active physical link.

3.4.3.2 Advertising Physical Link

An advertising physical link between an advertising device and an initiating
device for the purposes of forming a connection (active physical link) can exist
for a relatively short period of time. These advertising physical links cannot be
controlled or modified in any way and these types of physical links are not
further elaborated.

An advertising physical link between an advertising device and a scanning
device used for periodic broadcasting of user data can exist for longer periods
of time. There is no identification information about the physical link within the
protocol. The relationship between the advertising and scanning device shall
be established through the use of the Bluetooth device address.

3.4.3.3 Periodic Physical Link

A periodic physical link between an advertising device and one or more
scanning devices normally exists for a prolonged period of time. Periodic
physical links are each associated with a separate periodic physical channel,
which in turn is identified by the randomly generated Access Address used in
the Link Layer packet. Each Access Address has a one-to-one relationship
with the advertiser of the periodic physical link.

3.4.4 Links Supported by the AMP Physical Channels

An AMP physical link is always associated with exactly one AMP physical
channel (although an AMP physical channel may support more than one AMP
physical link). The AMP physical link is a point-to-point link between two PALs.
The characteristics of an AMP physical link depend on the underlying AMP
technology.

3.5 LOGICAL LINKS AND LOGICAL TRANSPORTS
A variety of logical links are available to support different application data
transport requirements. Each logical link is associated with a logical transport,
which has a number of characteristics. These characteristics include flow
control, acknowledgment/repeat mechanisms, sequence numbering and
scheduling behavior. Logical transports are able to carry different types of
logical links (depending on the type of the logical transport). In the case of


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some of the Bluetooth logical links these are multiplexed onto the same logical
transport. Logical transports may be carried by active physical links on either
the basic or the adapted piconet physical channel.

Logical transport identification and real-time (link control) signaling are carried
in the packet header, and for some logical links identification is carried in the
payload header. Control signaling that does not require single slot response
times is carried out using the LMP protocol.

Table 3.4 lists all of the logical transport types, the supported logical link types,
which type of physical links and physical channels can support them, and a
brief description of the purpose of the logical transport.

                              Links
 Logical transport            supported       Supported by       Bearer    Overview

 Asynchronous                 Control (LMP)   BR/EDR active      BR/EDR,   Reliable or time-
 Connection-Ori-              ACL-C or        physical link,     AMP       bounded, bi-direc-
 ented (ACL)                  (PAL) AMP-C     BR/EDR basic                 tional, point-to-point
                              User (L2CAP)    or adapted
                              ACL-U or        piconet physical
                              AMP-U           channel, AMP
                                              physical link,
                                              AMP physical
                                              channel

 Synchronous                  Stream          BR/EDR active      BR/EDR    Bi-directional, sym-
 Connection-Ori-              (unframed)      physical link,               metric, point-to-
 ented (SCO)                  SCO-S           BR/EDR basic                 point, AV channels.
                                              or adapted                   Used for 64Kb/s
                                              piconet physical             constant rate data.
                                              channel

 Extended Syn-                Stream          BR/EDR active      BR/EDR    Bi-directional, sym-
 chronous Con-                (unframed)      physical link,               metric or asymmet-
 nection-Oriented             eSCO-S          BR/EDR basic                 ric, point-to-point,
 (eSCO)                                       or adapted                   general regular data,
                                              piconet physical             limited retransmis-
                                              channel                      sion. Used for con-
                                                                           stant rate data
                                                                           synchronized to the
                                                                           master Bluetooth
                                                                           clock.

 Active Slave                 Control (LMP)   BR/EDR active      BR/EDR    Unreliable, uni-direc-
 Broadcast (ASB)              ASB-C           physical link,               tional broadcast to
                              User (L2CAP)    basic or adapted             any devices syn-
                              ASB-U           physical channel             chronized with the
                                                                           physical channel.
                                                                           Used for broadcast
                                                                           L2CAP groups and
                                                                           certain LMP mes-
                                                                           sages.

Table 3.4: Logical transport types



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                              Links
 Logical transport            supported        Supported by        Bearer   Overview

 Connectionless               Profile Broad-   Connectionless      BR/EDR   Unreliable, unidirec-
 Slave Broadcast              cast Data        Slave Broad-                 tional, point-to-multi-
 (CSB)                        (PBD)            cast physical                point, periodic
                                               link, BR/EDR                 transmissions to
                                               adapted piconet              zero or more
                                               physical channel             devices.

 LE asynchronous              Control (LL)     LE active physi-    LE       Reliable, bi-direc-
 connection (LE               LE-C, User       cal link, LE                 tional, point-to-point.
 ACL                          (L2CAP) LE-U     piconet physical
                                               channel

 LE Advertising               Control (LL)     LE advertising      LE       Unreliable, uni-direc-
 Broadcast                    ADVB-C, User     physical link, LE            tional broadcast to
 (ADVB)                       (LL) ADVB-U      advertising                  all devices in a given
                                               physical channel             area or directed to
                                                                            one recipient. Used
                                                                            to carry data and
                                                                            Link Layer signaling
                                                                            between uncon-
                                                                            nected devices.

 LE Periodic                  Control (LL)     LE periodic         LE       Unreliable, periodic,
 Advertising                  ADVB-C, User     physical link, LE            unidirectional broad-
 Broadcast                    (LL) ADVB-U      periodic physi-              cast to all devices in
 (PADVB)                                       cal channel                  a given area.
Table 3.4: Logical transport types

The classification of each link type follows from a selection procedure within
three categories.

3.5.1 Casting

The first category is that of casting. This may be either unicast or broadcast.
• Unicast links. Unicast links exist between exactly two endpoints. Traffic may be
  sent in either direction on unicast links.
• Broadcast links. Broadcast links exist between one source device and zero
  or more receiver devices. Traffic is unidirectional, i e., only sent from the
  source devices to the receiver devices. Broadcast links are connectionless,
  meaning there is no procedure to create these links, and data may be sent
  over them at any time. Broadcast links are unreliable, and there is no
  guarantee that the data will be received.




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3.5.2 Scheduling and Acknowledgment Scheme

The second category relates to the scheduling and acknowledgment scheme
of the link, and implies the type of traffic that is supported by the link. These are
synchronous, isochronous or asynchronous. There are no specific isochronous
links defined, though the default ACL link can be configured to operate in this
fashion.
• Synchronous links. Synchronous links provide a method of associating the
  transported data with the Bluetooth piconet clock. This is achieved by
  reserving regular slots on the physical channel, and transmitting fixed size
  packets at these regular intervals. Such links are suitable for constant rate
  isochronous data.
• Asynchronous links. Asynchronous links provide a method for transporting
  data that has no time-based characteristics. The data is normally expected
  to be retransmitted until successfully received, and each data entity can be
  processed at any time after receipt, without reference to the time of receipt
  of any previous or successive entity in the stream (providing the ordering of
  data entities is preserved).
• Isochronous links. Isochronous links provide a method for transporting data
  that has time-based characteristics. The data may be retransmitted until
  received or expired. The data rate on the link need not be constant (this
  being the main difference from synchronous links).

3.5.3 Class of Data

The final category is related to the class of data that is carried by the link. This
is either control (LMP or PAL) data or user data. The user data category is sub-
divided into L2CAP (or framed) data and stream (or unframed) data.
• Control links. Control links are only used for transporting LMP messages
  between two link managers. These links are invisible above the baseband
  layer, and cannot be directly instantiated, configured or released by
  applications, other than by the use of the connection and disconnection
  services that have this effect implicitly. Control links are always multiplexed
  with an equivalent L2CAP link onto an ACL or ASB logical transport. Subject
  to the rules defining the ARQ scheme, the control link traffic always takes
  priority over the L2CAP link traffic.
• L2CAP links. L2CAP links are used to transport L2CAP PDUs, which may
  carry the L2CAP signaling channel (on the default ACL-U logical link only) or
  framed user data submitted to user-instantiated L2CAP channels. L2CAP
  frames submitted to the baseband may be larger than the available
  baseband packets. A link control protocol embedded within the LLID field
  preserves the frame-start and frame-continuation semantics when the frame
  is transmitted in a number of fragments to the receiver.
• Stream links. Stream links are used to transport user data that has no
  inherent framing that should be preserved when delivering the data. Lost
  data may be replaced by padding at the receiver.

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3.5.4 Logical Transports

3.5.4.1 BR/EDR Asynchronous Connection-Oriented (ACL)

The asynchronous connection-oriented (ACL) logical transport is used to carry
LMP and L2CAP control signaling and best effort asynchronous user data. The
ACL logical transport uses a 1-bit ARQN/SEQN scheme to provide simple
channel reliability. Every active slave device within a piconet has one ACL
logical transport to the piconet master, known as the default ACL.

The default ACL is created between the master and the slave when a device
joins a piconet (connects to the basic piconet physical channel). This default
ACL is assigned a logical transport address (LT_ADDR) by the piconet master.
This LT_ADDR is also used to identify the active physical link when required
(or as a piconet active member identifier, effectively for the same purpose).

The LT_ADDR for the default ACL is reused for synchronous connection-
oriented logical transports between the same master and slave. (This is for
reasons of compatibility with earlier Bluetooth specifications). Thus the
LT_ADDR is not sufficient on its own to identify the default ACL. However the
packet types used on the ACL are different from those used on the
synchronous connection-oriented logical transport. Therefore, the ACL logical
transport can be identified by the LT_ADDR field in the packet header in
combination with the packet type field.

The default ACL may be used for isochronous data transport by configuring it
to automatically flush packets after the packets have expired. Asynchronous
traffic can be sent over an ACL logical transport configured for isochronous
traffic by marking the asynchronous packets as non-automatically-flushable.
This allows both isochronous and asynchronous traffic to be transferred at the
same time to a single device.

If the default ACL is removed from the active physical link then all other logical
transports that exist between the master and the slave are also removed. In the
case of unexpected loss of synchronization to the piconet physical channel the
physical link and all logical transports and logical links cease to exist at the time
that this synchronization loss is detected.

3.5.4.2 BR/EDR Synchronous Connection-Oriented (SCO)

The synchronous connection-oriented (SCO) logical transport is a symmetric,
point-to-point transport between the master and a specific slave. The SCO
logical transport reserves slots on the physical channel and can therefore be
considered as a circuit-switched connection between the master and the slave.
SCO logical transports carry 64 kb/s of information synchronized with the
piconet clock. Typically this information is an encoded voice stream. Three
different SCO configurations exist, offering a balance between robustness,
delay and bandwidth consumption.



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Each SCO-S logical link is supported by a single SCO logical transport, which
is assigned the same LT_ADDR as the default ACL logical transport between
the devices. Therefore the LT_ADDR field is not sufficient to identify the
destination of a received packet. Because the SCO links use reserved slots, a
device uses a combination of the LT_ADDR, the slot numbers (a property of
the physical channel) and the packet type to identify transmissions on the SCO
link.

Although slots are reserved for the SCO, it is permissible to use a reserved slot
for traffic from another channel that has a higher priority. This may be required
as a result of QoS commitments, or to send LMP signaling on the default ACL
when the physical channel bandwidth is fully occupied by SCOs. As SCOs
carry different packet types to ACLs, the packet type is used to identify SCO
traffic (in addition to the slot number and LT_ADDR).

There are no further architectural layers defined by the Bluetooth core
specification that are transported over a SCO link. A number of standard
formats are defined for the 64 kb/s stream that is transported, or an
unformatted stream is allowed where the application is responsible for
interpreting the encoding of the stream.

3.5.4.3 BR/EDR Extended Synchronous Connection-Oriented (eSCO)

The extended synchronous connection-oriented (eSCO) logical transport is a
symmetric or asymmetric, point-to-point transport between the master and a
specific slave. The eSCO reserves slots on the physical channel and can
therefore be considered as a circuit-switched connection between the master
and the slave. eSCO links offer a number of extensions over the standard SCO
links, in that they support a more flexible combination of packet types and
selectable data contents in the packets and selectable slot periods, allowing a
range of synchronous bit rates to be supported.

eSCO links also can offer limited retransmission of packets (unlike SCO links
where there is no retransmission). If these retransmissions are required they
take place in the slots that follow the reserved slots, otherwise the slots may be
used for other traffic.

Each eSCO-S logical link is supported by a single eSCO logical transport,
identified by a LT_ADDR that is unique within the piconet for the duration of the
eSCO. eSCO-S links are created using LM signaling and follow scheduling
rules similar to SCO-S links.

There are no further architectural layers defined by the Bluetooth core
specification that are transported over an eSCO-S link. Instead applications
may use the data stream for whatever purpose they require, subject to the
transport characteristics of the stream being suitable for the data being
transported.




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3.5.4.4 BR/EDR Active Slave Broadcast (ASB)

The active slave broadcast logical transport is used to transport LMP control
signaling and connectionless L2CAP user traffic to all devices in the piconet
that are currently connected to the physical channel that is used by the ASB.
There is no acknowledgment protocol and the traffic is uni-directional from the
piconet master to the slaves. The ASB channel may be used for L2CAP group
traffic (a legacy of the 1.1 specification), and is never used for L2CAP
connection-oriented channels or L2CAP control signaling.

The ASB logical transport is inherently unreliable because of the lack of
acknowledgment. To improve the reliability, each packet is transmitted a
number of times. An identical sequence number is used to assist with filtering
retransmissions at the slave device.

The ASB logical transport is identified by a reserved LT_ADDR.

An ASB is implicitly created whenever a piconet exists, and there is always one
ASB associated with each of the active physical links (whether operating over
the basic or adapted piconet physical channel) that exist within the piconet.
Because the basic and adapted piconet physical channels, and different
channel maps on the adapted piconet physical channel, are mostly coincident,
a slave device cannot distinguish which of the ASB channels is being used to
transmit the packets. This adds to the general unreliability of the ASB channel.
(Although it is, perhaps, no more unreliable than general missed packets.)

A master device may decide to use only one of its two possible ASBs (when it
has both a basic and adapted piconet physical channel), or only one of the
channel maps in use on the adapted piconet physical channel (when it has
more than one map), as with sufficient retransmissions or careful selection of
which slots to transmit on it is possible to address all slaves.

The ASB channel is never used to carry L2CAP control signals.

3.5.4.5 This section no longer used



3.5.4.6 LE Asynchronous Connection (LE ACL)

The LE asynchronous connection (LE ACL) logical transport is used to carry LL
and L2CAP control signaling and best effort asynchronous user data. The LE
ACL logical transport uses a 1-bit NESN/SN scheme to provide simple channel
reliability. Every active slave device within an LE piconet has one LE ACL
logical transport to the piconet master, known as the default LE ACL.

The default LE ACL is automatically created between the master and the slave
when a device joins a piconet (connects to the LE piconet physical channel).
This default LE ACL is assigned an Access Address by the piconet master.


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This Access Address is also used to identify the active physical link and active
piconet physical channel when required.

If the default LE ACL is removed from the LE active physical link then all other
LE logical transports that exist between the master and the slave are also
removed. In the case of unexpected loss of synchronization to the LE piconet
physical channel the LE physical link and all LE logical transports and LE
logical links cease to exist at the time that this synchronization loss is detected.

3.5.4.7 LE Advertising Broadcast (ADVB)

The LE advertising broadcast logical transport is used to transport broadcast
control and user data to all scanning devices in a given area. There is no
acknowledgment protocol and the traffic is predominately unidirectional from
the advertising device. A scanning device can send requests over the logical
transport to get additional broadcast user data, or to form an LE ACL logical
transport connection. The LE Advertising Broadcast logical transport data is
carried only over the LE advertising broadcast link.

The ADVB logical transport is inherently unreliable because of the lack of
acknowledgment. To improve the reliability, each packet is transmitted a
number of times over the LE advertising broadcast link.

An ADVB is created whenever an advertising device begins advertising. The
ADVB logical transport is identified by the advertiser's Bluetooth device
address and advertising set.

3.5.4.8 Connectionless Slave Broadcast (CSB)

The CSB logical transport is used to transport profile broadcast data to all
devices connected to the Connectionless Slave Broadcast logical transport.
There is no acknowledgment scheme and the traffic is unidirectional from a
master to zero or more slaves. To improve reliability, profile broadcast data
may be transmitted multiple times.

The CSB logical transport is created on the transmitter whenever the
Connectionless Slave Broadcast is started. The CSB logical transport is
created on the receiver whenever Connectionless Slave Broadcast reception is
configured. The CSB logical transport is identified by a unique LT_ADDR within
the piconet that is reserved specifically for that purpose by the Connectionless
Slave Broadcast Transmitter.

3.5.4.9 LE Periodic Advertising Broadcast (PADVB)

The LE periodic advertising broadcast logical transport is used to transport
periodic broadcast control and user data to all scanning devices in a given
area. The data may be constant for several periods or may change frequently.
There is no acknowledgment protocol and the traffic is unidirectional from the


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advertising device. The LE Periodic Advertising Broadcast logical transport
data is carried only over the LE periodic physical link.

The PADVB logical transport is inherently unreliable because of the lack of
acknowledgment. To improve the reliability, the period between transmissions
can be shorter than the interval between changes to the data so that each
packet can be transmitted a number of times over the LE periodic physical link.

A PADVB is created whenever an advertising device begins periodic
advertising. The PADVB logical transport is identified by the advertiser's
Bluetooth device address, timing, and advertising set.

3.5.5 Logical Links

Some logical transports are capable of supporting different logical links, either
concurrently multiplexed, or one of the choice.

3.5.5.1 BR/EDR Logical Links

Within BR/EDR logical transports, the logical link is identified by the logical link
identifier (LLID) bits in the payload header of baseband packets that carry a
data payload. The logical links distinguish between a limited set of core
protocols that are able to transmit and receive data on the logical transports.
Not all of the logical transports are able to carry all of the logical links (the
supported mapping is shown in Figure 3.2). In particular the BR/EDR SCO and
eSCO logical transports are only able to carry constant data rate streams, and
these are uniquely identified by the LT_ADDR. Such logical transports only use
packets that do not contain a payload header, as their length is known in
advance, and no LLID is necessary.

3.5.5.1.1 ACL Control Logical Links (ACL-C and ASB-C)

The ACL Control Logical Links (ACL-C and ASB-C) are used to carry BR/EDR
LMP signaling between devices in the piconet. The ACL-C control link is only
carried on the default ACL logical transport while the ASB-C control link is only
carried on the ASB logical transport. Each control link is always given priority
over the corresponding data link carried on the same logical transport.

3.5.5.1.2 User Asynchronous/Isochronous Logical Links (ACL-U and ASB-U)

The user asynchronous/isochronous logical links (ACL-U and ASB-U) are used
to carry all asynchronous and isochronous framed user data. The ACL-U link is
only carried on the default ACL logical transport while the ASB-U link is only
carried on the ASB logical transport. Packets on the ACL-U and ASB-U link are
identified by one of two reserved LLID values. One value is used to indicate
whether the baseband packet contains the start of an L2CAP frame and the
other indicates a continuation of a previous frame. This ensures correct
synchronization of the L2CAP reassembler following flushed packets. The use


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of this technique removes the need for a more complex L2CAP header in every
baseband packet (the header is only required in the L2CAP start packets), but
adds the requirement that a complete L2CAP frame shall be transmitted before
a new one is transmitted. (An exception to this rule being the ability to flush a
partially transmitted L2CAP frame in favor of another L2CAP frame.)

3.5.5.1.3 User Synchronous/Extended Synchronous Logical Links
         (SCO-S/eSCO-S)

Synchronous (SCO-S) and extended synchronous (eSCO-S) logical links are
used to support isochronous data delivered in a stream without framing. These
links are associated with a single logical transport, where data is delivered in
constant sized units at a constant rate. There is no LLID within the packets on
these transports, as only a single logical link can be supported, and the packet
length and scheduling period are pre-defined and remain fixed during the
lifetime of the link.

Variable rate isochronous data cannot be carried by the SCO-S or eSCO-S
logical links. In this case the data must be carried on ACL-U or ASB-U logical
links, which use packets with a payload header.

3.5.5.1.4 Profile Broadcast Data (PBD) Logical Link

The PBD logical link is used to broadcast isochronous unframed data to
multiple receivers and resides on the CSB logical transport.

3.5.5.2 LE Logical Links

Within LE logical transports, the logical link is identified by the logical link
identifier (LLID) bits in the payload header of baseband packets that carry a
data payload. The logical links distinguish between a limited set of core
protocols that are able to transmit and receive data on the logical transports.
Not all of the logical transports are able to carry all of the logical links (the
supported mapping is shown in Figure 3.2).

3.5.5.2.1 Control Logical Link (LE-C)

The LE ACL Control Logical Link (LE-C) is used to carry LE LL signaling
between devices in the piconet. The control link is only carried on the default
LE ACL logical transport.

3.5.5.2.2 User Asynchronous Logical Link (LE-U)

The user asynchronous logical link (LE-U) is used to carry all asynchronous
and framed user data. The LE-U link is carried on the LE logical transport.
Packets on the LE-U link are identified by one of two reserved LLID values.
One value is used to indicate whether the baseband packet contains the start
of an L2CAP frame and the other indicates a continuation of a previous frame


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or empty PDU. This ensures correct synchronization of the L2CAP re-
assembler. The use of this technique removes the need for a more complex
L2CAP header in every baseband packet, but adds the requirement that a
complete L2CAP frame shall be transmitted before a new one is transmitted.

3.5.5.2.3 Advertising Broadcast Control Logical Link (ADVB-C)

The LE Advertising Broadcast Control Logical Link (ADVB-C) is used to carry
LE LL signaling between unconnected devices in a given area. This signaling is
the control commands for gathering additional broadcast user data (scan
requests) or connection requests. The control link is carried on the LE
Advertising Broadcast and LE Periodic Advertising Broadcast logical
transports.

3.5.5.2.4 Advertising Broadcast User Data Logical Link (ADVB-U)

The LE Advertising Broadcast User Data Logical Link (ADVB-U) is used to
carry LE Advertising Broadcast and LE Periodic Advertising Broadcast user
data used between devices without the need for a connection or LE-U between
the devices. The user data link is carried on the LE Advertising Broadcast
logical transport for LE Advertising Broadcast user data and the LE Periodic
Advertising Broadcast logical transport for LE Periodic Advertising Broadcast
user data.

3.5.5.3 AMP Logical Links

3.5.5.3.1 AMP Control Logical Link (AMP-C)

Each PAL functions differently with respect to a control logical link. When one
exists, this logical link is referred to as the AMP-C logical link.

3.5.5.3.2 AMP User Asynchronous/Isochronous Logical Link (AMP-U)

The AMP user asynchronous/isochronous logical link (AMP-U) is used to carry
all asynchronous and isochronous framed user data over an AMP. Unlike the
ACL-U logical link, the AMP-U supports multiple logical link handles per
physical link and each logical link handle may have different quality of service
capabilities. The details of how the AMP-U logical link is mapped to the
underlying MAC/PHY is described by the PAL.

3.6 L2CAP CHANNELS
L2CAP provides a multiplexing role allowing many different applications to
share an ACL-U or AMP-U logical link. Applications and service protocols
interface with L2CAP using a channel-oriented interface to create connections
to equivalent entities on other devices.



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L2CAP channel endpoints are identified to their clients by a Channel Identifier
(CID). This is assigned by L2CAP, and each L2CAP channel endpoint on any
device has a different CID.

L2CAP channels may be configured to provide an appropriate Quality of
Service (QoS) to the application. L2CAP maps the channel onto the ACL-U
logical link, LE-U, or one of the AMP-U logical links.

L2CAP supports channels that are connection-oriented and others that are
group-oriented. Group-oriented channels may be mapped onto the ASB-U
logical link, or implemented as iterated transmission to each member in turn
over an ACL-U logical link.

Apart from the creation, configuration and dismantling of channels, the main
role of L2CAP is to multiplex service data units (SDUs) from the channel clients
onto the ACL-U, LE-U, or AMP-U logical links, and to carry out a simple level of
scheduling, selecting SDUs according to relative priority.

L2CAP can provide per channel flow control with the peer L2CAP layer. This
option is selected by the application when the channel is established. L2CAP
can also provide enhanced error detection and retransmission to (a) reduce the
probability of undetected errors being passed to the application and (b) recover
from loss of portions of the user data when the Baseband layer performs a
flush on the ACL-U logical link.

In the case where an HCI is present, the L2CAP is also required to segment
L2CAP SDUs into fragments that will fit into the baseband buffers, and also to
operate a token based flow control procedure over the HCI, submitting
fragments to the baseband only when allowed to do so. This may affect the
scheduling algorithm.




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4 COMMUNICATION TOPOLOGY AND OPERATION

4.1 PICONET TOPOLOGY

4.1.1 BR/EDR Topology

Any time a link is created using the BR/EDR Controller it is within the context of
a piconet. A piconet consists of two or more devices that occupy the same BR/
EDR physical channel.

Connected BR/EDR devices communicate on the same physical channel by
synchronizing with a common clock and hopping sequence. The common
(piconet) clock is identical to the Bluetooth clock of one of the devices in the
piconet, known as the master of the piconet, and the hopping sequence is
derived from the master’s clock and the master’s Bluetooth device address. All
other synchronized devices are referred to as slaves in the piconet.

The terms master and slave are only used when describing these roles in a
piconet.

A number of independent piconets may exist in close proximity. Each piconet
has a different physical channel (that is a different master device and an
independent timing and hopping sequence).

A Bluetooth device may participate concurrently in two or more piconets. It
does this on a time-division multiplexing basis. A Bluetooth device can never
be a master of more than one piconet. (Since in BR/EDR the piconet is defined
by synchronization to the master’s Bluetooth clock it is impossible to be the
master of two or more piconets.) A Bluetooth device may be a slave in many
independent piconets.

A Bluetooth device that is a member of two or more piconets is said to be
involved in a scatternet. Involvement in a scatternet does not necessarily imply
any network routing capability or function in the Bluetooth device. The
Bluetooth core protocols do not, and are not intended to offer such
functionality, which is the responsibility of higher level protocols and is outside
the scope of the Bluetooth core specification.




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                                        Adapted piconet
                        A               physical channel                                  F


                                                           E
                                                                                                           H


            B                                                                                     Basic piconet
                                                                                      G
                                                                                                 physical channel
                                                D

                              C
                      Basic piconet
                     physical channel
                                                                          M
                     Basic piconet                                                     Inquiry scan
                    physical channel                                                                           K
                                                                                     physical channel
                                   J
                                                      N
                                                                  Adapted piconet
                                                                  physical channel
                                                               (Connectionless Slave
                L                                              Broadcast physical link)

                       Synchronization scan
                         physical channel



Figure 4.1: Example Bluetooth BR/EDR topology


In Figure 4.1 an example topology is shown that demonstrates a number of the
architectural features described below. Device A is a master in a piconet
(represented by the shaded area, and known as piconet A) with devices B, C,
D and E as slaves. Three other piconets are shown: a) one piconet with device
F as master (known as piconet F) and devices E, G and H as slaves, b) one
piconet with device D as master (known as piconet D) and device J as slave,
and c) one piconet with device M as master (known as piconet M) and device E
as a slave and many devices N as slaves.

In piconet A there are two physical channels. Devices B and C are using the
basic piconet physical channel (represented by the blue enclosure) as they do
not support adaptive frequency hopping. Devices D and E are capable of
supporting adaptive frequency hopping, and are using the adapted piconet
physical channel (represented by the red enclosure). Device A is capable of
adaptive frequency hopping, and operates in a TDM basis on both physical
channels according to which slave is being addressed.

Piconet D and piconet F are both using only a basic piconet physical channel
(represented by the cyan and magenta enclosures respectively). In the case of
piconet D this is because device J does not support the adaptive hopping
mode. Although device D supports adaptive hopping it cannot use it in this
piconet. In piconet F device F does not support adaptive hopping, and
therefore it cannot be used in this piconet.

Piconet M (represented by the orange enclosure) uses a Connectionless Slave
Broadcast physical link over the adaptive piconet physical channel to send
Profile Broadcast Data to many slave devices including E and N.

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Device K is shown in the same locality as the other devices. It is not currently a
member of a piconet, but has services that it offers to other Bluetooth devices.
It is currently listening on its inquiry scan physical channel (represented by the
green enclosure), awaiting an inquiry request from another device.

Device L is shown in the same locality as the other devices. It is not currently a
member of a piconet, but is currently listening on its Synchronization scan
physical channel (represented by the brown enclosure), awaiting a
synchronization train from another device.

4.1.2 LE Topology


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Figure 4.2: Example of Bluetooth LE topology


In Figure 4.2 an example topology is shown that demonstrates a number of the
LE architectural features described below. Device A is a master in a piconet
(represented by the shaded area, and known as piconet A) with devices B and
C as slaves. Unlike BR/EDR slaves, LE slaves do not share a common
physical channel with the master. Each slave communicates on a separate
physical channel with the master. One other piconet is shown with device F as
master (known as piconet F) and device G as a slave. Device K is in a
scatternet (known as scatternet K). Device K is master of device L and slave of
device M. Device O is also in a scatternet (known as scatternet O). Device O is


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slave of device P and slave of device Q. Note: In the figure, solid arrows point
from master to slave; dashed arrows, indicating a connection initiation, point
from initiator to advertiser using a connectable advertising event; devices that
are advertising are indicated using stars.

There are five other groups of devices shown:
1. Device D is an advertiser and device A is also an initiator (known as group D).
2. Device E is a scanner and device C is also an advertiser (known as group C).
3. Device H is an advertiser and devices I and J are scanners (known as group H).
4. Device K is also an advertiser and device N is an initiator (known as group K).
5. Device R is an advertiser and device O is also an initiator (known as group R).

Devices A and B are using one LE piconet physical channel (represented by
the blue enclosure and a dark gray background). Devices A and C are using
another LE piconet physical channel (represented by the blue enclosure and a
lighter gray background). In group D, device D is advertising using a
connectable advertising event on the advertising physical channel
(represented by the green enclosure) and device A is an initiator. Device A can
form a connection with device D and add the device to piconet A. In group C,
device C is also advertising on the advertising physical channel (represented
by the orange enclosure) using any type of advertising events that are being
captured by device E as a scanner. Group D and group C may be using
different advertising PHY channels or different timings to avoid collisions.

In piconet F, there is one physical channel. Devices F and G are using an LE
piconet physical channel (represented by the aqua enclosure). Device F is the
master and device G is the slave.

In group H, there is one physical channel. Devices H, I and J are using an LE
advertising physical channel (represented by the purple enclosure). Device H
is an advertiser and devices I and J are scanners.

In scatternet K, devices K and L are using one LE piconet physical channel.
Devices K and M are using another LE piconet physical channel. In group K,
device K is also advertising using a connectable advertising event on the
advertising physical channel and device N is an initiator. Device N can form a
connection with device K resulting in device K being slave of two devices and
master of one device at the same time.

In scatternet O, devices O and P are using one LE piconet physical channel.
Devices O and Q are using another LE piconet physical channel. In group R,
device R is advertising using a connectable advertising event on the
advertising physical channel and device O is an initiator. Device O can form a
connection with device R resulting in device O being slave of two devices and
master of one device at the same time.




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4.2 OPERATIONAL PROCEDURES AND MODES
The typical operational mode of a Bluetooth device is to be connected to other
Bluetooth devices (in a piconet) and exchanging data with those Bluetooth
devices. As Bluetooth is an ad-hoc wireless communications technology, there
are a number of operational procedures that enable piconets to be formed so
that the subsequent communications can take place. Procedures and modes
are applied at different layers in the architecture and therefore a device may be
engaged in a number of these procedures and modes concurrently.

4.2.1 BR/EDR Procedures

4.2.1.1 Inquiry (Discovering) Procedure

Bluetooth devices use the inquiry procedure to discover nearby devices, or to
be discovered by devices in their locality.

The inquiry procedure is asymmetrical. A Bluetooth device that tries to find
other nearby devices is known as an inquiring device and actively sends
inquiry requests. Bluetooth devices that are available to be found are known as
discoverable devices and listen for these inquiry requests and send responses.
The inquiry procedure uses a special physical channel for the inquiry requests
and responses.

Both inquiring and discoverable devices may already be connected to other
Bluetooth devices in a piconet. Any time spent inquiring or occupying the
inquiry scan physical channel needs to be balanced with the demands of the
QoS commitments on existing logical transports.

The inquiry procedure does not make use of any of the architectural layers
above the physical channel, although a transient physical link may be
considered to be present during the exchange of inquiry and inquiry response
information.

4.2.1.1.1 Extended Inquiry Response

An Extended Inquiry Response can be used to provide miscellaneous
information during the inquiry response procedure. Data types are defined for
such things as local name and supported services, information that otherwise
would have to be obtained by establishing a connection. A device that receives
a local name and a list of supported services in an extended inquiry response
does not have to connect to do a remote name request and an SDP service
search, thereby shortening the time to useful information. It is recommended
that a device includes all supported services and a significant portion of its
local name, if that name is too long to be sent in its entirety, in the extended
inquiry response.

The extended inquiry response procedure is backwards compatible with the
standard inquiry response procedure.

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4.2.1.2 Paging (Connecting) Procedure

The procedure for forming connections is asymmetrical and requires that one
Bluetooth device carries out the page (connection) procedure while the other
Bluetooth device is connectable (page scanning). The procedure is targeted,
so that the page procedure is only responded to by one specified Bluetooth
device.

The connectable device uses a special physical channel to listen for
connection request packets from the paging (connecting) device. This physical
channel has attributes that are specific to the connectable device, hence only a
paging device with knowledge of the connectable device is able to
communicate on this channel.

Both paging and connectable devices may already be connected to other
Bluetooth devices. Any time spent paging or occupying the page scan physical
channel needs to be balanced with the demands of the QoS commitments on
existing logical transports.

4.2.1.3 Connected Mode

After a successful connection procedure over the BR/EDR Controller, there is a
piconet physical channel to which both devices are connected, there is a
physical link between the devices, and there are default ACL-C, ACL-U, ASB-
C, and ASB-U logical links. Two of these links (ACL-C and ASB-C) transport
the LMP control protocol and are invisible to the layers above the Link
Manager. The ACL-U link transports the L2CAP signaling protocol and any
multiplexed L2CAP best-effort channels. The ASB-U link transports L2CAP
channels that are broadcast to all slaves on the piconet. It is common to refer
to a default ACL logical transport, which can be resolved by context, but
typically refers to the default ACL-U logical link.

When in the connected mode it is possible to create and release additional
logical links and to change the modes of the physical and logical links while
remaining connected to the piconet physical channel. It is also possible for the
device to carry out inquiry, paging or scanning procedures or to be connected
to other piconets without needing to disconnect from the original piconet
physical channel. These actions are done using the Link Manager, which
exchanges Link Manager Protocol messages with the remote Bluetooth
device.

AMP physical links may be established in connected mode. Once an AMP
physical link is created, one or more AMP-U logical links may be established to
transport L2CAP user data.

During the time that a slave device is actively connected to a piconet there is
always a default ACL logical transport between the slave and the master
device. The only method of deleting the default ACL logical transport is to
detach the device from the piconet physical channel, at which time the entire


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hierarchy of L2CAP channels, logical links, and logical transports between the
devices is deleted.

4.2.1.4 Hold Mode

Hold mode is not a general device mode, but applies to unreserved slots on the
physical link. When in this mode, the physical link is only active during slots
that are reserved for the operation of the synchronous link types SCO and
eSCO. All asynchronous links are inactive. Hold modes operate once for each
invocation and are then exited when complete, returning to the previous mode.

4.2.1.5 Sniff Mode

Sniff mode is not a general device mode, but applies to the default ACL logical
transports. When in this mode the availability of these logical transports is
modified by defining a duty cycle consisting of periods of presence and
absence. Devices that have their default ACL logical transports in sniff mode
may use the absent periods to engage in activity on another physical channel,
or to enter reduced power mode. Sniff mode only affects the default ACL
logical transports (i.e. their shared ACL logical transport), and does not apply to
any additional SCO or eSCO logical transports that may be active. The periods
of presence and absence of the physical link on the piconet physical channel is
derived as a union of all logical transports that are built on the physical link.

Sniff subrating provides a mechanism for further reducing the active duty cycle,
thereby enhancing the power-saving capability of sniff mode. Sniff subrating
allows a Host to create a guaranteed access-like connection by specifying
maximum transmit and receive latencies. This allows the basebands to
optimize the low power performance without having to exit and re-enter sniff
mode using Link Manager commands.

Note that broadcast logical transports have no defined expectations for
presence or absence. A master device should aim to schedule broadcasts to
coincide with periods of physical link presence within the piconet physical
channel, but this is not always possible or practical. Repetition of broadcasts is
defined to improve the possibilities for reaching multiple slaves without
overlapping presence periods. However, broadcast logical transports cannot
be considered to be reliable.

4.2.1.6 This section no longer used



4.2.1.7 Role Switch Procedure

The role switch procedure is a method for swapping the roles of two devices
connected in a piconet. The procedure involves moving from the physical
channel that is defined by the original master device to the physical channel


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that is defined by the new master device. In the process of swapping from one
physical channel to the next, the hierarchy of physical links and logical
transports over the BR/EDR Controller are removed and rebuilt, with the
exception of the ASB logical transport that is implied by the topology and is not
preserved. Note that the role switch procedure does not affect AMP physical
channels. After the role switch, the original piconet physical channel may
cease to exist or may be continued if the original master had other slaves that
are still connected to the channel.

The procedure only copies the default ACL logical links and supporting layers
to the new physical channel. Any additional logical transports are not copied by
this procedure, and if required this must be carried out by higher layers. The
LT_ADDRs of any affected transports will be reassigned on the new physical
channel and, therefore, may change.

If there are any QoS commitments on the original logical transports, then these
are not preserved after a role switch. These must be renegotiated after the role
switch has completed.

4.2.1.8 Enhanced Data Rate

Enhanced Data Rate is a method of extending the capacity and types of
Bluetooth packets for the purposes of increasing the maximum throughput,
providing better support for multiple connections, and lowering power
consumption, while the remainder of the architecture is unchanged.

Enhanced Data Rate may be selected as a mode that operates independently
on each logical transport. Once enabled, the packet type bits in the packet
header are interpreted differently from their meaning in Basic Rate mode. This
different interpretation is clarified in conjunction with the logical transport
address field in the header. The result of this interpretation allows the packet
payload header and payload to be received and demodulated according to the
packet type. Enhanced Data Rate can be enabled only for the ACL and eSCO
logical transports and cannot be enabled for the SCO and broadcast logical
transports.

4.2.1.9 Connectionless Slave Broadcast Mode

Connectionless slave broadcast mode allows a piconet master to transmit
profile broadcast data to any number of connected slave devices using the BR/
EDR adapted piconet physical channel. To enter this mode, the master
reserves a specific logical transport as the dedicated CSB logical transport and
starts broadcasting data using the Connectionless Slave Broadcast physical
link and the synchronization train procedure. A single Profile Broadcast Data
logical link is defined, which carries profile broadcast data using the
Connectionless Slave Broadcast logical transport. The profile broadcast data is
unframed and bypasses L2CAP.



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To receive the Connectionless Slave Broadcast packets, a device must
connect with the Connectionless Slave Broadcast Transmitter which has
already established a CSB logical transport. To connect, a device follows the
Synchronization Scan procedure to obtain the time schedule of the physical
link and then starts receiving the Connectionless Slave Broadcast packets.
Once connected, Connectionless Slave Broadcast receivers can receive profile
broadcast data on the dedicated CSB logical transport and PBD logical link.

4.2.2 LE Procedures

4.2.2.1 Device Filtering Procedure

The device filtering procedure is a method for Controllers to reduce the number
of devices requiring communication responses. Since it is not required to
respond to requests from every device, it reduces the number of transmissions
an LE Controller is required to make which reduces power consumption. It also
reduces the communication the Controller would be required to make with the
Host. This results in additional power savings since the Host does not have to
be involved.

An advertising or scanning device may employ device filtering to restrict the
devices from which it receives advertising packets, scan requests or
connection requests. In LE, some advertising packets received by a scanning
device require that the scanning device send a request to the advertising
device. This advertisement can be ignored if device filtering is used and the
advertising device is being filtered. A similar situation occurs with connection
requests. Connection requests must be responded to by advertisers unless a
device filter is used to limit the devices to which the advertiser is required to
respond. Advertisers can also use device filters to limit the devices in which it
will accept a scan request or connection request.

This device filtering is accomplished through the use of a “White List” located in
the LL block of the Controller. A White List enumerates the remote devices that
are allowed to communicate with the local device. When a White List is in
effect, transmissions from devices that are not in the White List will be ignored
by the LL. Since device filtering occurs in the LL it can have a significant impact
on power consumption by filtering (or ignoring) advertising packets, scan
requests or connection requests from being sent to the higher layers for
handling.

The use of device filtering during certain procedures needs to be evaluated
carefully to ensure devices are not unintentionally ignored, which may cause
interoperability problems when attempting to establish connections or receive
advertising broadcasts.




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4.2.2.2 Advertising Procedure

An advertiser uses the advertising procedure to perform unidirectional
broadcasts to devices in the area. The unidirectional broadcast occurs without
a connection between the advertising device and the listening devices. The
advertising procedure can be used to establish connections with nearby
initiating devices or used to provide periodic broadcast of user data to scanning
devices listening on the advertising channel. The advertising procedure uses
the primary advertising channel for all advertising broadcasts. However, the
data may be offloaded on to the secondary advertising channel in one or more
auxiliary packets to reduce both the occupancy of the primary advertising
channel and the total on-air time and also to allow the data to be longer than
the maximum that will fit into a single packet.

An LE device connected in an LE piconet may advertise using any type of
advertising event. Time spent advertising while connected needs to be
balanced with the connection requirements needed to maintain the already
established connection(s) (if the device is a slave in the piconet then it needs to
maintain its connection with the master and if the device is the master it needs
to maintain its connection(s) with the one or more slaves in the piconet).

Advertising devices may receive scan requests from listening devices in order
to get additional user data from the advertising device. Scan responses are
sent by the advertising device to the device making the scan request.

An advertising device may receive connection requests from initiator devices. If
the advertising device was using a connectable advertising event and the
initiating device is not being filtered by the device filtering procedure, the
advertising device ceases advertising and enters the connected mode. The
device can begin advertising again after it is in the connected mode.

When advertising on the LE Uncoded PHYs, scan requests and scan
responses can take place on the same PHY channel as the original
advertisement or can be offloaded to the secondary advertising channel. In
some cases when advertising on the LE Uncoded PHYs, connection request
and connection responses are offloaded to the secondary advertising channel.
When advertising on the LE Coded PHY, scan requests, scan responses,
connection requests, and connection responses are always offloaded. As with
advertising data, offloading is carried out by having the initial advertisement on
the primary advertising channel point to an auxiliary packet on the secondary
advertising channel. Scan requests and scan responses, connection requests,
and connection responses are made on the same PHY and same channel as
the auxiliary packet.

4.2.2.3 Scanning Procedure

A scanning device uses the scanning procedure to listen for unidirectional
broadcasts of user data from advertising devices using the advertising channel.
A scanning device can request additional user data from an advertising device


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by making a scan request. The advertising device responds to these requests
with additional user data sent to the scanning device over the advertising
channel.

The scanning procedure can be used while connected to other LE devices in
an LE piconet. Time spent scanning while connected needs to be balanced
with the connection requirements needed to maintain the already established
connection with the other LE devices in the piconet.

If the broadcasts are connectable advertising events and the scanning device
is in the initiator mode, it can initiate a connection by sending a connection
request on the primary advertising channel or secondary advertising channel to
the advertising device. Once the connection request is sent on the primary
channel, the scanning device ceases the initiator mode scanning for additional
broadcasts and enters the connected mode. When the connection request is
sent on the secondary channel, the scanning device leaves the initiator mode,
ceasing scanning for additional broadcasts, and enters the connected mode
when it receives the connection response. The device can use the scanning
procedure after it enters the connected mode. For a master device, using the
initiator mode and scanning for connectable advertisements is how additional
devices can be added to the master's LE piconet.

4.2.2.4 Discovering Procedure

Bluetooth devices use the advertising procedure and scanning procedure to
discover nearby devices, or to be discovered by devices in a given area.

The discovery procedure is asymmetrical. A Bluetooth device that tries to find
other nearby devices is known as a discovering device and listens for devices
advertising scannable advertising events. Bluetooth devices that are available
to be found are known as discoverable devices and actively broadcast
scannable advertising events over the advertising broadcast physical channel.

Both discovering and discoverable devices may already be connected to other
Bluetooth devices in a piconet. Any time spent inquiring or occupying the
advertising broadcast physical channel needs to be balanced with the
connection requirements needed to maintain the already established
connection with the other LE devices in the piconet.

Using device filtering by the scanning device will prevent the scanning device
from discovering all the devices in a given area.

4.2.2.5 Connecting Procedure

The procedure for forming connections is asymmetrical and requires that one
Bluetooth device carries out the advertising procedure while the other
Bluetooth device carries out the scanning procedure. The advertising
procedure can be targeted, so that only one device will respond to the
advertising. The scanning device can also target an advertising device by first
discovering that the advertising device is present in a connectable manner, and

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in the given area, and then scanning only connectable advertising events from
that device using the device filter. After receiving connectable advertising
events from the targeted advertising device, it can initiate a connection by
sending the connection request to the targeted advertising device over the
primary advertising channel or secondary advertising channel.

Time spent scanning while connected needs to be balanced with the
connection requirements needed to maintain the already established
connection with the other LE devices in the piconet.

4.2.2.6 Connected Mode

After a successful connection procedure, the devices are physically connected
to each other within a piconet. This means that there is a piconet physical
channel to which they are both connected, there is a physical link between the
devices, and there are default LE-C and LE-U logical links. When in the
connected mode it is possible to change the properties of the physical and
logical links while remaining connected to the piconet physical channel, such
as changing the adaptive frequency hopping sequence or changing the length
of data packets. It is also possible for the device to carry out advertising,
scanning or discovery procedures without needing to disconnect from the
original piconet physical channel.

Additional logical links are created using the Link Manager that exchanges LL
Protocol messages with the remote Bluetooth device to negotiate the creation
and settings for these links. One of these links (LE-C) transports the LL control
protocol and is invisible to the layers above the Link Manager. The other link
(LE-U) transports the L2CAP signaling protocol and any multiplexed L2CAP
best-effort channels. It is common to refer to a default LE ACL logical transport,
which can be resolved by context, but typically refers to the default LE-U logical
link. Also note that these two logical links share a logical transport.

During the time that a slave device is actively connected to a piconet there is
always a default LE ACL logical transport between the slave and the master
device. The method of deleting the default LE ACL logical transport is to detach
the device from the piconet physical channel, at which time the entire hierarchy
of L2CAP channels, logical links, and logical transports between the devices is
deleted.

4.2.2.7 Periodic Advertising Procedure

An advertiser uses the periodic advertising procedure to perform unidirectional
periodic broadcasts to devices in the area. The unidirectional broadcast occurs
without a connection between the advertising device and the listening devices.
The periodic advertising procedure can be used to synchronize with nearby
devices to provide deterministic periodic broadcast of user data to scanning
devices listening on the advertising channel. The advertising procedure uses
the primary and secondary advertising channel to broadcast control and user
information about the periodic advertising.

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An LE device synchronized with other LE devices on the periodic physical
channel uses the periodic advertising event. Time spent periodic advertising
while connected or synchronized with other LE devices needs to be balanced
with the connection and synchronization requirements needed to maintain the
already established connection(s) or synchronizations.

4.2.2.8 Periodic Advertising Synchronization Procedure

The procedure for synchronizing to periodic advertising is asymmetrical and
requires that one Bluetooth device carries out the advertising procedure while
the other Bluetooth device carries out the scanning procedure. The scanning
device can target an advertising device by first discovering that the advertising
device is present and broadcasting periodic advertisements in the given area.
After receiving advertising events containing synchronization information from
the targeted advertising device, it can synchronize to the periodic advertising
events.

Synchronizing devices may already be advertising, scanning, or be connected
to other Bluetooth devices in a piconet or synchronized to other periodic
advertisements. Any time spent synchronizing to periodic advertising needs to
be balanced with the requirements needed to maintain already established
connections or synchronizations.

4.2.2.9 Periodic Advertising Synchronized Mode

After a successful synchronization procedure, the devices are physically
synchronized to each other. This means that there is a periodic physical
channel to which they are both synchronized, there is a periodic physical link
between the devices, and there is an ADVB-U and an ADVB-C logical link. It is
also possible for the device to carry out advertising, scanning, or discovery
procedures without needing to disconnect from the LE periodic physical
channel.

4.2.3 AMP Procedures

4.2.3.1 AMP Discovery Procedures

The AMP Manager is responsible for discovering local AMP Controller(s) and
maintaining that list over time as AMPs may be added or removed dynamically
from the system. The local AMP Manager may request a list of AMPs from the
remote AMP Manager. After the list of AMPs has been requested by the
remote device, when an AMP is added or removed from the system, the local
AMP Manager will notify that remote AMP Manager of the change.

Each AMP Is identified with an ID and a type. Once the list of AMPs has been
received, the AMP Manager may request information (AMP_Info) for each
AMP.



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4.2.3.2 Physical Link Creation Procedure

To set up an L2CAP channel with a remote device over an AMP physical link
(AMP channel), the AMP Manager first discovers the remote AMP(s), collects
the necessary information about the remote AMP(s) to set up a physical link in
an optimal way and then initiates the physical link creation. This is done over a
dedicated L2CAP channel.

The AMP Manager provides the remote AMP information that it collected about
the remote AMP to the local AMP PAL. The local AMP PAL then uses this
information to create the AMP physical link.

4.2.3.3 Logical Link Creation Procedure

Once a physical link exists, L2CAP creates an AMP logical link with the desired
QoS. An L2CAP channel is then created over the logical link, at which point the
channel is ready for data communication.




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5 SECURITY OVERVIEW

5.1 SECURITY ARCHITECTURE
The Bluetooth security model includes five distinct security features: pairing,
bonding, device authentication, encryption and message integrity.
• Pairing: the process for creating one or more shared secret keys
• Bonding: the act of storing the keys created during pairing for use in
  subsequent connections in order to form a trusted device pair
• Device authentication: verification that the two devices have the same keys
• Encryption: message confidentiality
• Message integrity: protects against message forgeries

The Bluetooth Core security architecture has evolved over time. Initially, pairing
utilized the E21 or E22 algorithms based on SAFER+. This version of pairing is
referred to as “BR/EDR legacy pairing”. Device authentication was initially
based on the E1 algorithm, which was also based on SAFER+. Encryption
utilizes the E0 algorithm derived from the Massey-Rueppel algorithm. There
was also no provision for cryptographic message integrity. Note that while the
CRC provides some integrity protection, it is not considered to provide
cryptographic integrity as it can be easily forged.

Version 2.1 + EDR of the Core Specification introduced Secure Simple Pairing,
which utilizes FIPS-approved algorithms (SHA-256, HMAC-SHA-256 and the
P-192 elliptic curve) and introduced four association models: Just Works,
Numeric Comparison, Passkey Entry and Out-Of-Band (see Section 5.2).
Device authentication and encryption remained the same when Secure Simple
Pairing was introduced.

Version 3.0 + HS of the Core Specification added support for AMPs (see
Section 5.5).

Version 4.0 added the entire security model for Low Energy (see Section 5.4)
but did not change any security functionality for BR/EDR or AMP.

Version 4.1 added the Secure Connections feature to the BR/EDR phyisical
transport, which upgraded Secure Simple Pairing to utilize the P-256 elliptic
curve, device authentication to use FIPS-approved algorithms (HMAC-SHA-
256 and AES-CTR). Secure Connections also added message integrity (AES-
CCM).

Version 4.2 added the Secure Connections feature to the LE physical
transport, which upgraded LE pairing to utilize FIPS-approved algorithms
(AES-CMAC and P-256 elliptic curve) and adapts the Numeric Comparison
association model to be used on the Bluetooth LE physical transport. It also
includes provisions for a key generated using Secure Connections on either

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                                                                                                                    DHKey   N1      N2    “btlk” BD_ADDRm     BD_ADDRs




                                                                                                                                    f2 (HMAC-SHA-256)
                                                                                                                   Prior to Secure Connections, DHKey derived from P192
                                                                                                                                                                                                                                                                                                                                                                                                                                   Architecture




                                                                                                                    With Secure Connections, DHKey derived from P256

                                                                                                                                              Link key




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                                                                                                                                               (128b)


                                                                                                AU_RAND BD_ADDR
                                                                                                 (verifier) (claimant)                           “btdk” BD_ADDRm     BD_ADDRs                            “gamp”                      “tmp2”    SALT




                                                                                               E1 (SAFER+)                                                  h4 (HMAC-SHA-256)               L=32   h2 (HMAC-SHA-256)      h6(AES-CMAC-128)    h7(AES-CMAC-128)

                                                                                                                                             Device
                                                                                                SRES           COF (ACO)                     Authentication                                            GAMP_LK                ILTK
                                                                                                                                             Key      AU_RAND_M      AU_RAND_S
                                                                                           Claimant Verifies
                                                                                                                                                                                                         “802b”                  “brle”

                                                                                                                                                            h5 (HMAC-SHA-256)




                                                Figure 5.1: BR/EDR and AMP Key Hierarchy
                                                                                                                                                 SRESmaster               SRESslave   ACO   L=32   h2 (HMAC-SHA-256)      h6(AES-CMAC-128)


                                                                                                                                          Slave Verifies        Master Verifies                               802.11
                                                                                                                                                                                                              Dedicated              LE LTK
                                                                                                                                                                                                              AMP LK
                                                                                                 EN_RAND                                      “btak”        BD_ADDRm BD_ADDRs                          Used by PAL          Used by LE
                                                                                                                                                                                                                                                                                                                                                                                                                                                  BLUETOOTH SPECIFICATION Version 5.0 | Vol 1, Part A




                                                                                                 E3 (SAFER+)                                                h3 (HMAC-SHA-256)

                                                                                                                                             AES
                                                                                               Kc                                            encryption
                                                                                                                                             key
                                                                                                                                                                                                                                                                 Connections or legacy security procedures and algorithms.




                                                                                             Key Shortening                                Key Shortening
                                                                                                                                                                                                                                                                                                                                                   Specification 4.0 and 4.1 is referred to as LE legacy pairing.




                                                                                                                                            (Truncation)

                                                                                                                                             AES
                                                                                               Kc’                                           encryption
                                                                                                     EN_RAND BD_ADDRm                        key
                                                                                                                                             (shortened)



                                                                                                                                                                Nonce:
                                                                                               E0 (Massey Rueppel)          nonce            AES-CCM            Counter / CLK
                                                                                                                            (CLK)
                                                                                                                                                                                                                                                                                                                                                   the other physical transport. LE pairing as defined in the Bluetooth Core




                                                                                                                                                                IV (ACO or EN_RAND)

                                                                                           Device Authentication and BR/EDR                                                                                                       LE Long Term Key
                                                                                                                                                                                                                                                                                                                                                   physical transport to preclude the need for the user to pair a second time on




                                                                                           Encryption Key Generation prior to            Device Authentication and BR/EDR Encryption Key                                         Derived from BR/EDR
                                                                                                                                                                                                                                                                 The security key hierarchy for BR/EDR and AMP is shown in Figure 5.1. The




                                                                                                  Secure Connections                            Generation with Secure Connections            AMP Link Key Generation         Secure Connections Link Key
                                                                                                                                                                                                                                                                 key hierarchy is different depending on whether a physical link is using Secure
                                                                                                                                                                                                                                                                                                                                                                                                                                                  page 241




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The security key hierarchy for LE is shown in Figure 5.2. The key hierarchy is
different depending on whether a physical link is using LE Secure Connections
or LE legacy pairing procedures and algorithms.


                                         LE Secure                                      BR/EDR Secure
  LE Legacy Pairing
                                     Connections Pairing                               Connections Pairing

   TK      Mrand     Srand   DHKey N1      N2            BD_ADDRm   BD_ADDRs

                                                                                     BR/EDR Secure
                                                                                      Connections
         s1(AES-128)                       f5(AES-CMAC-128)

                LE STK                       LE LTK                                    BR/EDR Link Key
                - legacy
                                                “tmp1”         SALT                          “tmp2”      SALT

          LE key
        distribution:              h6(AES-CMAC-128)          h7(AES-CMAC-128)      h6(AES-CMAC-128)    h7(AES-CMAC-128)

     LTK, EDIV, RAND,               ILK                                         ILTK
        IRK, CSRK
                                                “lebr”                                       “brle”
    LTK from
   LE Legacy
      Pairing                      h6(AES-CMAC-128)                                h6(AES-CMAC-128)

                                BR/EDR
                                Link Key                                                     LTK


                                  BR/EDR Link Key


                                                   LE key distribution IRK, CSRK


                                                Stored
                                            Long Term Key



Figure 5.2: LE Key Hierarchy


5.2 BR/EDR SECURE SIMPLE PAIRING
The primary goal of Secure Simple Pairing is to simplify the pairing procedure
for the user. Secondary goals are to maintain or improve the security in
Bluetooth wireless technology. Since high levels of security and ease-of-use
are often at opposite ends of the spectrum in many technologies and products,
much care has been taken to maximize security while minimizing complexity
from the end user's point of view.

5.2.1 Security Goals

Secure Simple Pairing has two security goals: protection against passive
eavesdropping and protection against man-in-the-middle (MITM) attacks
(active eavesdropping). It is a goal of Secure Simple Pairing to exceed the
maximum security level provided by the use of a 16 alphanumeric PIN with the
pairing algorithm used in Bluetooth Core Specification version 2.0 + EDR and
earlier versions. Note that many Bluetooth devices compliant with Bluetooth
Core Specification 2.0 + EDR and earlier versions use a 4-digit PIN or a fixed
PIN of commonly known values significantly limiting the security on the link.

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5.2.2 Passive Eavesdropping Protection

A strong link key coupled with a strong encryption algorithm is necessary to
give the user protection against passive eavesdropping. The strength of the
link key is based on the amount of entropy (or randomness) in its generation
process which would not be known by an attacker. Using legacy pairing, the
only source of entropy is the PIN which, in many use cases, is typically four
digits either selected by the user or fixed for a given product. Therefore, if the
pairing procedure and one authentication exchange is recorded one can run an
exhaustive search to find the PIN in a very short amount of time on commonly
available computing hardware. With Secure Simple Pairing, the recording
attack becomes much harder as the attacker must have solved a hard problem
in public key cryptography in order to derive the link key from the recorded
information. This protection is independent of the length of the passkey or other
numeric values that the user must handle. Secure Simple Pairing gives the
same resistance against the recording and passive eavesdropping attacks
even when the user is not required to do anything.

Secure Simple Pairing uses Elliptic Curve Diffie Hellman (ECDH) public key
cryptography as a means to thwart passive eavesdropping attacks. ECDH
provides a very high degree of strength against passive eavesdropping attacks
but it may be subject to MITM attacks, which however, are much harder to
perform in practice than the passive eavesdropping attack (see Section 5.2.3).

Using the security protocols in the Bluetooth Core Specification version 2.0 +
EDR and earlier with a 16 numeric digit PIN achieves about 53 bits of entropy
whereas a 16 character alphanumeric, case sensitive PIN yields about 95 bits of
entropy when the entire 62 character set is used ([0, … 9, 'A', … 'Z', 'a', … 'z']).
For devices that do not support the Secure Connections feature (introduced in
Core Specification v4.1), Secure Simple Pairing has approximately 96 bits of
entropy using the FIPS approved P-192 elliptic curve which is at least as good as
the entropy in Bluetooth Core Specification 2.0 + EDR and earlier using a 16
character, alphanumeric, case sensitive PIN. For devices that do support the
Secure Connections feature, Secure Simple Pairing has approximately 128 bits
of entropy using the FIPS-approved P-256 elliptic curve. ECDH cryptography
was selected over standard Diffie Hellman (often referred to as DH76) since it is
computationally less complex and less likely to exceed the low computational
capacity in common Bluetooth Controllers.

5.2.3 Man-In-The-Middle Protection

A man-in-the-middle (MITM) attack occurs when a user wants to connect two
devices but instead of connecting directly with each other they unknowingly
connect to a third (attacking) device that plays the role of the device they are
attempting to pair with. The third device then relays information between the
two devices giving the illusion that they are directly connected. The attacking
device may even eavesdrop on communication between the two devices
(known as active eavesdropping) and is able to insert and modify information
on the connection. In this type of attack, all of the information exchanged

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between the two devices are compromised and the attacker may inject
commands and information into each of the devices thus potentially damaging
the function of the devices. Devices falling victim to the attack are capable of
communicating only when the attacker is present. If the attacker is not active or
out range, the two victim devices will not be able to communicate directly with
each other and the user will notice it.

To prevent MITM attacks, Secure Simple Pairing offers two user assisted
numeric methods: numerical comparison or passkey entry. If Secure Simple
Pairing would use 16 decimal digit numbers, then the usability would be the
same as using legacy pairing with 16 decimal digit PIN. The chance for a MITM
to succeed inserting its own link keys in this case is a 1 in 1016 = 253 pairing
instances, which is an unnecessarily low probability.

Secure Simple Pairing protects the user from MITM attacks with a goal of
offering a 1 in 1,000,000 chance that a MITM could mount a successful attack.
The strength of the MITM protections was selected to minimize the user impact
by using a six digit number for numerical comparison and Passkey entry. This
level of MITM protection was selected since, in most cases, users can be
alerted to the potential presence of a MITM attacker when the connection
process fails as a result of a failed MITM attack. While most users feel that
provided that they have not compromised their passkey, a 4-digit key is
sufficient for authentication (i.e. bank card PIN codes), the use of six digits
allows Secure Simple Pairing to be FIPS compliant and this was deemed to
have little perceivable usability impact.

5.2.4 Association Models

Secure Simple Pairing uses four association models referred to as Numeric
Comparison, Just Works, Out Of Band, and Passkey Entry. Each of these
association models are described in more detail in the following sections.

The association model used is deterministic based on the I/O capabilities of the
two devices.

5.2.4.1 Numeric Comparison

The Numeric Comparison association model is designed for scenarios where
both devices are capable of displaying a six digit number and both are capable
of having the user enter "yes" or "no". A good example of this model is the cell
phone / PC scenario.

The user is shown a six digit number (from "000000" to "999999") on both
displays and then asked whether the numbers are the same on both devices. If
"yes" is entered on both devices, the pairing is successful.

The numeric comparison serves two purposes. First, since many devices do
not have unique names, it provides confirmation to the user that the correct


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devices are connected with each other. Second, the numeric comparison
provides protection against MITM attacks (see Section 5.2.3).

Note that there is a significant difference from a cryptographic point of view
between Numeric Comparison and the PIN entry model used by Bluetooth
Core Specification and earlier versions. In the Numeric Comparison
association model, the six digit number is an artifact of the security algorithm
and not an input to it, as is the case in the Bluetooth security model. Knowing
the displayed number is of no benefit in decrypting the encoded data
exchanged between the two devices.

5.2.4.2 Just Works

The Just Works association model is primarily designed for scenarios where at
least one of the devices does not have a display capable of displaying a six
digit number nor does it have a keyboard capable of entering six decimal digits.
A good example of this model is the cell phone/mono headset scenario where
most headsets do not have a display.

The Just Works association model uses the Numeric Comparison protocol but
the user is never shown a number and the application may simply ask the user
to accept the connection (exact implementation is up to the end product
manufacturer).

The Just Works association model provides the same protection as the
Numeric Comparison association model against passive eavesdropping but
offers no protection against the MITM attack.

When compared against today's experience of a headset with a fixed PIN, the
security level of the Just Works association model is considerably higher since
a high degree of protection against passive eavesdropping is realized.

5.2.4.3 Out of Band

The Out of Band (OOB) association model is primarily designed for scenarios
where an Out of Band mechanism is used to both discover the devices as well
as to exchange or transfer cryptographic numbers used in the pairing process.
In order to be effective from a security point of view, the Out of Band channel
should provide different properties in terms of security compared to the
Bluetooth radio channel. The Out of Band channel should be resistant to MITM
attacks. If it is not, security may be compromised during authentication.

The user's experience differs a bit depending on the Out of Band mechanism.
As an example, with a Near Field Communication (NFC) solution, the user(s)
will initially touch the two devices together, and is given the option to pair the
first device with the other device. If "yes" is entered, the pairing is successful.
This is a single touch experience where the exchanged information is used in
both devices. The information exchanged includes discovery information (such
as the Bluetooth Device Address) as well as cryptographic information. One of

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the devices will use a Bluetooth Device Address to establish a connection with
the other device. The rest of the exchanged information is used during
authentication.

The OOB mechanism may be implemented as either read only or read/write. If
one side is read only, a one-way authentication is performed. If both sides are
read/write, a two-way authentication is performed.

The OOB protocol is selected only when the pairing process has been
activated by previous OOB exchange of information and one (or both) of the
device(s) gives OOB as the IO capabilities. The protocol uses the information
which has been exchanged and simply asks the user to confirm connection.

The OOB association model supports any OOB mechanism where
cryptographic information and the Bluetooth Device Address can be
exchanged. The OOB association model does not support a solution where the
user has activated a Bluetooth connection and would like to use OOB for
authentication only.

5.2.4.4 Passkey Entry

The Passkey Entry association model is primarily designed for the scenario
where one device has input capability but does not have the capability to
display six digits and the other device has output capabilities. A good example
of this model is the PC and keyboard scenario.

The user is shown a six digit number (from "000000" to "999999") on the
device with a display, and is then asked to enter the number on the other
device. If the value entered on the second device is correct, the pairing is
successful. Note that there is a significant difference from a cryptographic point
of view between Passkey Entry and the PIN entry model used by Bluetooth
Core Specification 2.0 + EDR and earlier versions. In the Passkey Entry
association model, the six digit number is independent of the security algorithm
and not an input to it, as is the case in the 2.0 + EDR security model. Knowing
the entered number is of no benefit in decrypting the encoded data exchanged
between the two devices.

5.2.4.5 Association Model Overview

The following diagram shows Secure Simple Pairing from the point of view of
the technology used for discovery and then the different association
possibilities.




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                                                                                                                       OOB
    Pairing Procedure                                                             OOB
                                  Bluetooth In Band                                                                Discovery and
          Stage                                                               Discovery only
                                                                                                                   Authentication




                                                                                                                   Bluetooth
                           Bluetooth Information discovered
    Device Discovery                                                Bluetooth Information exchanged            + Security Information
                           by Bluetooth Inquiry
                                                                    via OOB                                    exchanged via OOB



                                                                           BD_ADDR from OOB                     BD_ADDR from OOB

       Connection       Bluetooth Connection created using                                                     Bluetooth Connection
                                                                     Bluetooth Connection created using
                        Page                                                                                   created using Page
                                                                     Page




        Security
                                                      Exchange Public Keys, IO Capabilities, Compute DHKey
     Establishment



                                                                                                                 Security Information
                        Numeric       Passkey         Just          Numeric       Passkey        Just                from OOB
     Authentication     Compare        Entry          Works         Compare        Entry        Works
                                                                                                                        OOB




                                                                      Secure Simple Pairing




Figure 5.3: Secure Simple Pairing Association Models


5.3 SECURE CONNECTIONS ONLY MODE
When a device requires that only FIPS-approved algorithms are used on the
BR/EDR physical transport, it should enter Secure Connections Only Mode on
the BR/EDR physical transport. Secure Connections Only Mode is sometimes
called a "FIPS Mode". This mode should be used when it is more important for
a device to have high security than it is for it to maintain backwards
compatibility with devices that do not support Secure Connections. The Host
will enforce that the P-256 elliptic curve is used during pairing, the secure
authentication sequences are used, and AES-CCM is used for encryption.

When a device requires that only FIPS-approved algorithms are used on the
LE physical transport, it should enter Secure Connections Only Mode on the
LE physical transport. Secure Connections Only Mode is sometimes called a
"FIPS Mode". This mode should be used when it is more important for a device
to have high security than it is for it to maintain backwards compatibility with
devices that do not support LE Secure Connections. In this mode, the Host will
enforce that the P-256 elliptic curve is used during pairing.

If a BR/EDR/LE device is configured in Secure Connections Only Mode, then
both the BR/EDR and the LE transports will be in Secure Connection Only
Mode.




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5.4 LE SECURITY
The pairing mechanisms introduced in Bluetooth Core Specification v4.0
(known as LE Legacy Pairing) have some differences in security aspects with
respect to BR/EDR security features such as Secure Simple Pairing. The
association models are similar to BR/EDR Secure Simple Pairing from the user
perspective and have the same names but have differences in the quality of
the protection provided.

5.4.1 Association Models

Bluetooth LE uses four association models referred to as Just Works, Numeric
Comparison, Out of Band and Passkey Entry. LE legacy pairing does not have
an equivalent of Numeric Comparison.

In LE legacy pairing, each of these association models is similar to BR/EDR
Secure Simple Pairing with the following exceptions.
• Just Works and Passkey Entry do not provide any passive eavesdropping
  protection. This is because Secure Simple Pairing uses Elliptic Curve Diffie-
  Hellman and LE legacy pairing does not.

In LE Secure Connections pairing, the four association models are functionally
equivalent to BR/EDR Secure Connections.

The use of each association model is based on the I/O capabilities of the
devices.

5.4.2 Key Generation

Key generation in Bluetooth LE is performed by the Host on each LE device
independent of any other LE device. By performing key generation in the Host,
the key generation algorithms can be upgraded without the need to change the
Controller. Note: Key generation in BR/EDR is performed in the Controller.

Bluetooth LE uses multiple keys, each for a specific purpose, as follows:
• Confidentiality of data and device authentication
• Authentication of unencrypted data
• Device Identity

In LE, the key used to provide confidentiality and authentication is generated
by combining contributions from each device during pairing.

5.4.3 Encryption

Encryption in Bluetooth LE uses AES-CCM cryptography. Like BR/EDR, in LE
encryption is performed in the Controller.


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5.4.4 Signed Data

Bluetooth LE supports the ability to send authenticated data over an
unencrypted ATT bearer between two devices with a trusted relationship. This
is accomplished by signing the data with a Connection Signature Resolving
Key (CSRK). The sending device places a signature after the Data PDU. The
receiving device verifies the signature and if the signature is verified the Data
PDU is assumed to come from the trusted source. The signature is composed
of a Message Authentication Code generated by the signing algorithm and a
counter. The counter is used to protect against a replay attack and is
incremented on each signed Data PDU sent.

5.4.5 Privacy Feature

Bluetooth LE supports a feature that reduces the ability to track a LE device
over a period of time by changing the Bluetooth device address on a frequent
basis.

In order for a device using the privacy feature to reconnect to known devices,
the device address, referred to as the private address, must be resolvable by
the other device. The private address is generated using the device’s resolving
identity key (IRK) exchanged during the bonding procedure.

There are two variants of the privacy feature. In the first variant, private
addresses are resolved and generated by the Host. In the second variant,
private addresses are resolved and generated by the Controller without
involving the Host after the Host provides the Controller device identity
information. In addition, the second variant may involve the Host when the
resolving list in the Controller cannot store all the device identity resolving keys
necessary for bonded devices.

There are two modes of privacy: device privacy mode and network privacy
mode. A device in device privacy mode is only concerned about the privacy of
the device and will accept advertising packets from peer devices that contain
their identity address as well as ones that contain a private address, even if
the peer device has distributed its IRK in the past. In network privacy mode, a
device will only accept advertising packets from peer devices that contain
private addresses. By default, network privacy mode is used when private
addresses are resolved and generated by the Controller.

The Host maintains a resolving list by adding and removing device identities.
The Host may provide the Controller with a complete resolving list or a subset
of the resolving list. A device identity consists of the peer’s identity address and
a local and peer’s IRK pair.

When the Controller performs address resolution and the Host needs to refer to
a peer device that is included in the resolving list, it uses the peer’s device
identity address. Likewise, all incoming events from the Controller to the Host
will use the peer’s device identity, provided that the peer’s device address has

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been resolved. If the Controller cannot resolve the peer’s device identity
address in an advertisement, it may pass the event to the Host for resolution in
the Host.

Device filtering becomes possible when address resolution is performed in the
Controller because the peer’s device identity address can be resolved prior to
checking whether it is in the White List.

Figure 5.4 shows a logical representation of the relationship between the
Controller resolving list and the Controller White List. Actual implementations of
the resolving list and White List are not required to follow this model. The
resolving list may be independent of the white list.

                                                                           Device White List

                         Resolving List                           Device Identity Address Address Type

   Local IRK Peer IRK Peer Device Identity Address Address Type   Device Identity Address Address Type

   Local IRK Peer IRK Peer Device Identity Address Address Type

   Local IRK Peer IRK Peer Device Identity Address Address Type   Device Identity Address Address Type

   Local IRK Peer IRK Peer Device Identity Address Address Type   Device Identity Address Address Type



                                                                  Device Identity Address Address Type


Figure 5.4: Logical Representation of the Resolving List and Device White List


Note: Not all devices in the White List are device identity addresses.

When address resolution is performed exclusively in the Host, a device may
experience increased power consumption because device filtering must be
disabled.

5.5 AMP SECURITY
AMP security does not change the user experience because it utilizes the
same Secure Simple Pairing association models that were introduced in the
Bluetooth 2.1 + EDR Core Specification. From the user's point of view, all
radios are "paired" in one process.

AMP security starts during the Secure Simple Pairing process. The link key for
BR/EDR is generated during Phase 4 of Secure Simple Pairing. A 256-bit
Generic AMP Link Key (GAMP_LK) is generated from the BR/EDR Link Key.
The Generic AMP Link Key is stored in the security database alongside the
BR/EDR Link Key once pairing has completed.

AMP security does not affect the BR/EDR Link Key so backwards compatibility
is maintained for devices that support the Generic AMP feature with devices
that do not.


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When an AMP is used for the first time, a dedicated AMP key is created by the
AMP Manager for that AMP type using the new Secure Simple Pairing function
h2 and a KeyID for the AMP type. The length of the Dedicated AMP Link Key
depends on the AMP Type. If the Pair-wise Master key already exists due to a
previous connection the AMP link key is not created and the stored key is
reused.

The Dedicated AMP Link Key is sent to the PAL during the Physical Link
creation process. Each PAL is responsible for using the Dedicated AMP Link
Key during the security phase of the physical link establishment process. Note
that a Dedicated AMP link key is used for multiple sessions over the same
AMP.

Each time a dedicated AMP key is successfully created, the Generic AMP Link
Key is updated. This is performed using the h2 function with KeyID 'gamp'.

5.6 KEY GENERATION BETWEEN BR/EDR AND LE PHYSICAL
TRANSPORTS
When two BR/EDR/LE devices support Secure Connections over both
transports, keys for both transports may be generated during a single pairing
procedure. The ability to convert keys from one transport to the other prevents
the need to pair twice, thus enabling a better user experience.

The link key for BR/EDR generated during Phase 4 of Secure Simple Pairing
on the BR/EDR physical transport may be converted to a Long Term Key (LTK)
for use on the LE transport. Similarly, a LTK generated during Phase 2 of
pairing on the LE physical transport may be converted to the BR/EDR Link Key
for use on the BR/EDR physical transport.




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6 BLUETOOTH APPLICATION ARCHITECTURE

6.1 BLUETOOTH PROFILES
Application interoperability in the Bluetooth system is accomplished by
Bluetooth profiles. Bluetooth profiles define the required functions and features
of each layer in the Bluetooth system from the PHY to L2CAP and any other
protocols outside of the Core specification. The profile defines the vertical
interactions between the layers as well as the peer-to-peer interactions of
specific layers between devices.


                                                                Bluetooth Profiles
                 Bluetooth Protocol Layers




                                                                     L2CAP


                                                                  Link Manager
                                                   Profile #1




                                                                                     Profile #2



                                                                                                  Profile #3
                                             GAP




                                                                   Baseband


                                                                  Radio (PHY)



Figure 6.1: Bluetooth Profiles


In addition, application behaviors and data formats are also defined by the
profile. When two devices comply with all the requirements of a Bluetooth
profile, interoperability of an application is enabled.

All profiles describe service discovery requirements necessary for devices to
connect, find available application services and connection information
necessary for making application level connections.

6.2 GENERIC ACCESS PROFILE
The Bluetooth system defines a base profile which all Bluetooth devices
implement. This profile is the Generic Access Profile (GAP), which defines the
basic requirements of a Bluetooth device. For instance, for BR/EDR, it defines
a Bluetooth device to include the Radio, Baseband, Link Manager, L2CAP, and
the service discovery protocol functionality; for LE, it defines the Physical

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Layer, Link Layer, L2CAP, Security Manager, Attribute Protocol and Generic
Attribute Profile. This ties all the various layers together to form the basic
requirements for a Bluetooth device. It also describes the behaviors and
methods for device discovery, connection establishment, security,
authentication, association models and service discovery.

In BR/EDR, GAP defines a single role with functionality that may be present in
each device. This functionality includes how devices discovery each other,
establish connections and describes security association models used for
authentication. In BR/EDR this functionality may be present in both devices. It
may be necessary for a device to implement both the initiating and accepting
functionality if the device wants to discover or establish connections with all
devices. A device may only include either the initiating or the accepting
functionality but it requires the remote device to support the complimentary
functionality to discovery or establish connections with the device. For BR/
EDR, the Controller is required to support all the functionality, however the
Host may limit this functionality based on the other profiles or use cases
supported by the device.

In LE, GAP defines four specific roles: Broadcaster, Observer, Peripheral, and
Central. A device may support multiple LE GAP roles provided that the
underlying Controller supports those roles or role combinations. Each role
specifies the requirements for the underlying Controller. This allows for
Controllers to be optimized for specific use cases.

The Broadcaster role is optimized for transmitter only applications. Devices
supporting the broadcaster role use advertising to broadcast data. The
broadcaster role does not support connections. The Observer role is optimized
for receiver only applications. Devices supporting the observer role are the
complementary device for a broadcaster and receives broadcast data
contained in advertisements. The observer role does not support connections.
The Peripheral role is optimized for devices that support a single connection
and are less complex than central devices. Devices supporting the peripheral
role only require Controllers that support the Controller’s slave role. The
Central role supports multiple connections and is the initiator for all
connections with devices in the peripheral role. Devices supporting the central
role require a Controller that support the Controller’s master role and generally
supports more complex functions compared to the other LE GAP roles.

6.3 PROFILE HIERARCHY
Since all Bluetooth devices are required to implement GAP, any additional
profiles implemented by a Bluetooth device become supersets of GAP.
Depending on the complexity of an application or the ability to reuse common
requirements of functionality of the Bluetooth system between many
applications, additional generic profiles can be created that are both a superset
of GAP as well as being a superset of another profile. A top level profile that
describes application interoperability is called an Application Profile.


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                                     Application Profile #1


                                         Generic Profile #1


                                              Generic Access
                                                 Profile




Figure 6.2: Profile Hierarchy


Application profiles contain by reference GAP and any other generic profile that
describes a set of common requirements of the Bluetooth system.

6.4 GENERIC ATTRIBUTE PROFILE
Generic Attribute Profile (GATT) is built on top of the Attribute Protocol (ATT)
and establishes common operations and a framework for the data transported
and stored by the Attribute Protocol. GATT defines two roles: Server and
Client. The GATT roles are not necessarily tied to specific GAP roles and but
may be specified by higher layer profiles. GATT and ATT are not transport
specific and can be used in both BR/EDR and LE. However, GATT and ATT
are mandatory to implement in LE since it is used for discovering services

The GATT server stores the data transported over the Attribute Protocol and
accepts Attribute Protocol requests, commands and confirmations from the
GATT client. The GATT server sends responses to requests and when
configured, sends indication and notifications asynchronously to the GATT
client when specified events occur on the GATT server.

GATT also specifies the format of data contained on the GATT server.
Attributes, as transported by the Attribute Protocol, are formatted as Services
and Characteristics. Services may contain a collection of characteristics.
Characteristics contain a single value and any number of descriptors
describing the characteristic value.

With the defined structure of services, characteristics and characteristic
descriptors a GATT client that is not specific to a profile can still traverse the
GATT server and display characteristic values to the user. The characteristic
descriptors can be used to display descriptions of the characteristic values that
may make the value understandable by the user.




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6.5 GATT-BASED PROFILE HIERARCHY
The GATT Profile specifies the structure in which profile data is exchanged.
This structure defines basic elements such as services and characteristics,
used in a profile.

The top level of the hierarchy is a profile. A profile is composed of one or more
services necessary to fulfill a use case. A service is composed of
characteristics or references to other services. Each characteristic contains a
value and may contain optional information about the value. The service and
characteristic and the components of the characteristic (i.e., value and
descriptors) contain the profile data and are all stored in Attributes on the
server.


                    Profile

                        Service                   Service

                                       Include                Include



                                       Include                Include


                          Characteristic            Characteristic
                                     Properties             Properties

                                       Value                  Value

                                     Descriptor             Descriptor


                                     Descriptor             Descriptor




                          Characteristic            Characteristic
                                     Properties             Properties

                                       Value                  Value

                                     Descriptor             Descriptor


                                     Descriptor             Descriptor




Figure 6.3: GATT-Based Profile Hierarchy


6.5.1 Service

A service is a collection of data and associated behaviors to accomplish a
particular function or feature of a device or portions of a device. A service may
reference other primary or secondary services and/or a set of characteristics
that make up the service.


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There are two types of services: primary and secondary. A primary service is a
service that provides the primary functionality of a device. A secondary service
is a service that provides auxiliary functionality of a device and is referenced
from at least one primary service on the device.

To maintain backward compatibility with earlier clients, later revisions of a
service definition can only add new referenced services or optional
characteristics. Later revisions of a service definition are also forbidden from
changing behaviors from previous revision of the service definition.

Services may be used in one or more profiles to fulfill a particular use case.

6.5.2 Referenced Services

A referenced service is a method to incorporate another service definition on
the server as part of the service referencing it. When a service references
another service, the entire referenced service becomes part of the new service
including any nested referenced services and characteristics. The referenced
service still exists as an independent service. There are no limits to the depth
of nested references.

6.5.3 Characteristic

A characteristic is a value used in a service along with properties and
configuration information about how the value is accessed and information
about how the value is displayed or represented. A characteristic definition
contains a characteristic declaration, characteristic properties, and a value. It
may also contain descriptors that describe the value or permit configuration of
the server with respect to the characteristic value.




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7 COEXISTENCE AND COLLOCATION

Bluetooth devices operate in the unlicensed 2.4 GHz Industrial, Scientific and
Medical (ISM) band. Many other technologies utilize the ISM band, including
wireless LAN, cordless phones, and microwave ovens. The ISM band is also
close enough to other frequency bands that Bluetooth devices may be an
interferer of or a victim of other technologies.

Radios may be collocated or non-collocated. The term "collocated" is a loose
one - in the Core Specification, collocated radios are assumed to be in the
same product (a Multi-Radio Terminal or MRT) and may or may not have
mechanisms to coordinate their activity in order to mitigate interference.

Determining the amount of expected isolation between radios is important for
choosing an appropriate coexistence mechanism. With sufficient isolation,
frequency division duplexing (FDD) techniques are the most efficient. With
insufficient isolation or a shared antenna, time division duplexing (TDD)
techniques need to be used. In many cases, a combination of FDD and TDD
techniques are required to achieve acceptable levels of performance.

The Bluetooth Core Specification supports a variety of features that help
mitigate interference to other devices and to minimize interference from other
devices. Broadly, the types of solutions fall into the following categories:

 Type                         Description

 Frequency division           Simultaneous use of multiple radios enabled by filters and/or isolation
 Time division                One radio may transmit or receive at a time through scheduling or pri-
                              oritization

 Time alignment               Activities of the collocated radios are aligned in the time domain to
                              optimize performances by avoiding conflicting activities. E.g. Trans-
                              missions of multiple radios may occur simultaneously, multiple recep-
                              tions may occur simultaneously, but it is not possible to transmit and
                              receive simultaneously

 Hybrid frequency             Use of frequency division, time alignment, and time division tech-
 and time division            niques depending on the relative frequencies in use by the radios, fil-
                              ters and isolation

Table 7.1: Interference mitigation types




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7.1 CORE FEATURES SUPPORTING COEXISTENCE AND
    COLLOCATION
There are features in the Bluetooth Core Specification to specifically target the
reduction of interference from collocated or non-collocated devices.

                              Version
 Feature                      Introduced   Description

 Adaptive                     1.2          Allows devices to reduce the number of channels
 Frequency Hopping                         used in a piconet in order to avoid interferers

 HCI Set Host Channel         1.2          Allows a Host to inform the local Bluetooth Control-
 Classification                            ler of the channels that are occupied by a collo-
                                           cated technology
 Enhanced SCO                 1.2          Added retransmissions to SCO for the purpose of
 (eSCO)                                    combating interference

 MWS Coexistence              CSA3         Provides a standardized interface between collo-
 Signaling                                 cated radios for communicating information neces-
                                           sary to enable some coexistence techniques
 Piconet Clock Adjust         4.1          Allows a Bluetooth device to align the piconet clock
                                           with an external technology, e.g. Long Term Evolu-
                                           tion (LTE)
 Train Nudging                4.1          Provides a mechanism to improve the success rate
                                           of page and inquiry when the slots to receive the
                                           respective responses are periodically not available

 Generalized                  4.1          Provides a mechanism to improve the success rate
 Interlaced Scanning                       of page scan and inquiry scan when some slots are
                                           periodically not available for scanning
 Slot Availability Mask       5.0          Provides a mechanism for two Bluetooth devices to
                                           indicate to each other the availability of their time
                                           slots
Table 7.2: Interference mitigation features


7.2 ADAPTIVE FREQUENCY HOPPING
Adaptive Frequency Hopping (AFH) allows Bluetooth devices to improve their
immunity to interference from and avoid causing interference to other devices
in the 2.4 GHz ISM band. The basic principle is that Bluetooth channels are
classified into two categories, used and unused, where used channels are part
of the hopping sequence and unused channels are replaced in the hopping
sequence by used channels in a pseudo-random way. This classification
mechanism allows for the Bluetooth device to use either all or fewer than the
79 channels required in the Core Specification v1.1. The minimum number of
channels allowed by the Bluetooth specification is 20.

The Core Specification defines the aspects of AFH necessary to ensure
interoperability, including the hopping kernel, Baseband behavior, Link

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Manager Protocol (LMP) commands, and Host Controller Interface (HCI)
commands and events required to change and configure hopping sequences.
The Bluetooth Specification also defines a mechanism that allows for a slave to
report channel classification information to the master.

Adaptive Frequency Hopping utilizes metrics obtained through many sources.
These metrics are analyzed and then the resulting Channel_Map is used by
the adaptive frequency hopping kernel. The metrics may come from over-the-
air measurements, data supplied by the Host (via the
HCI_set_AFH_Channel_Classification command), or reports by the slave or
from other hardware coexistence interfaces.

While AFH is a critical element in coexistence, it is not enough in some
circumstances.

7.3 COEXISTENCE BETWEEN BLUETOOTH DEVICES AND
    WIRELESS LAN DEVICES
Coexistence between Bluetooth and Wireless LAN has traditionally been a
combination of Adaptive Frequency Hopping (AFH) and proprietary techniques
to prioritize traffic between the two protocols. The Bluetooth Core Specification
does not specify signaling between the Bluetooth Controller and a Wireless
LAN device.

7.4 MOBILE WIRELESS STANDARDS (MWS) COEXISTENCE
Significant interference can be present between the Bluetooth radio and a
collocated MWS radio operating in frequency bands adjacent to the 2.4 GHz
ISM band. This interference can prevent one radio from receiving while the
other radio is transmitting.

The “Filter recommendations for Coexistence with LTE and WiMAX”
whitepaper1 describes filter specifications that, in some cases, can reduce
collocated interference to an acceptable level. The Bluetooth Core
Specification includes complementary solutions to traditional filtering including
features for Bluetooth Controllers and Hosts as well as signaling and
messaging mechanisms between collocated MWS and Bluetooth radios.
Figure 7.1 illustrates the general architecture model for these mechanisms.
This architecture assumes separate antennas with limited isolation.




1. https://www.bluetooth.org/en-us/specification/reference-publications/white-papers


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                                    Multi-Radio Terminal (MRT)


                                               Host




                                           Coex Signaling
    Base                         MWS                        Bluetooth
                                                                                     Bluetooth
   Station                       Device                     Controller

                                      Co-located Interference



Figure 7.1: MWS Coexistence Architecture


Two types of solutions have been considered. In the first solution, both
Bluetooth transmissions (TX) and receptions (RX) are constrained by
collocated MWS activities. Solutions of this type are called Pure TDM (Time
Division Multiplexed) Mode. In the second solution, only Bluetooth receptions
are affected by collocated MWS transmissions and Bluetooth transmissions do
not impact the operation of the collocated MWS. Solutions of this type are
called Hybrid Mode and are achieved, for example, by using steep roll-off Band
Select Filters (BSFs) for the ISM band in the Bluetooth transceiver. Hybrid
Mode applies where the Bluetooth transmission’s effect on MWS is sufficiently
reduced via filtering that the Bluetooth device can safely transmit during the
MWS downlink time. This requires a frequency guard band between the
Bluetooth and MWS operational frequency ranges as well as constraints on
both the Bluetooth BSF and the MWS BSF. The requirement for a time domain
solution still remains, but only to protect Bluetooth reception.

These solutions are facilitated by an MWS coexistence signaling mechanism
(see [Vol 7] Part A) and multiple transport layers (see [Vol 7] Part B and C).

MWS technologies operate in licensed bands and use centralized scheduling
to support Wide Area Network services. An MWS radio synchronizes both time
and frequency with a network Base Station. The Base Station determines
which MWS radio will transmit or receive and when. MWS radios have no
control over when to transmit or receive. When Bluetooth transmissions
interfere with MWS receptions in the MRT, the MWS radio can be rendered
unusable if the Bluetooth radio transmits freely. Figure 7.2 shows how
Bluetooth activity can interfere with every MWS reception opportunity and
similarly how MWS transmissions can interfere with Bluetooth reception. In the
example shown in Figure 7.2 the Bluetooth device in the MRT is operating as
the master of a piconet. Blocks marked with an “M” are single slot master
transmissions and those marked with an “S” are single slot slave
transmissions. The times at which reception by the MWS device may be
corrupted by Bluetooth transmissions are marked with a red shade.




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               MWS             Downlink                            Uplink                      Downlink                            Uplink                      Downlink


                                One MWS Frame (5ms)

 Example where
 Bluetooth is
 master and is not M       S       M       S       M       S       M       S       M       S       M       S       M       S       M       S       M       S       M       S
 aligned with MWS
 frame boundary


Figure 7.2: MWS receptions interfered with by uncontrolled Bluetooth transmissions


Even with the best relative timing relationship (when the Bluetooth slot
boundary is aligned with the MWS frame boundary), the Bluetooth radio in the
MRT suffers reduced transmission and reception opportunities due to time
multiplexing with the collocated MWS radio. The Bluetooth radio only gets one
transmission/reception opportunity every MWS frame, as shown in Figure 7.3.



               MWS             Downlink                        Uplink                          Downlink                        Uplink                          Downlink


                                One MWS Frame (5ms)

 Bluetooth slot
 boundary is
 aligned with MWS      S       M       S       M       S       M       S       M       S       M       S       M       S       M       S       M       S       M       S
 frame boundary



Figure 7.3: Bluetooth radio has reduced transmission/receiving opportunities


Consequently, three out of four (for 5 ms MWS frames) or seven out of eight
(for 10 ms MWS frames) slot pairs of Bluetooth can be punctured by MWS
activities. Furthermore, since Bluetooth inquiry and paging use a sequence of
16 channels at a time, when the Bluetooth radio in the MRT is performing
inquiry or paging the channel sequence will repeat every 5 ms resulting in the
same channels being repeatedly punctured by the collocated MWS activities,
see Figure 7.4. As a result, there is a high probability that the remote scanning
device will not be able to receive the page or inquiry IDs within the current
timeout.

When the inquiry or paging channel sequence gets repeatedly punctured, Train
Nudging can be used to add an additional offset to the clock bits in order to
shift the channel sequence.




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                                                         MWS Frame Duration (5 ms)


  Bluetooth        T       T        R       R        T    T   R     R       T       T       R       R         T   T    R       R       T       T
                   X       X        X       X        X    X   X     X       X       X       X       X         X   X    X       X       X       X
  MASTER


    MWS                    FAILED                        FAILED                     FAILED                        SUCCESS
                                   Downlink                                                  Uplink                                 Downlink...
                                   Bluetooth                                                Bluetooth                                  Bluetooth
                               Transmit Disallowed                                      Reception Corrupted                        Transmit Disallowed




Figure 7.4: Bluetooth radio can suffer Inquiry/Page failures


As MWS transmissions interfere with Bluetooth receptions in the MRT, up to
50% of the transmitted IDs from the remote inquiry/page device will not be
received by the Bluetooth radio in the MRT performing scanning, as shown in
Figure 7.5.

Based on the pattern of slots that are not available for scanning, Generalized
Interlaced Scanning can be used to tune the phase of the second scan during
a back-to-back scan.

                                                                  MWS Frame Duration (5 ms)


          T    T       R       R        T    T       R   R    T    T    R       R       T       T    R        R   T    T   R       R       T       T
          X    X       X       X        X    X       X   X    X    X    X       X       X       X    X        X   X    X   X       X       X       X
 Master

 Slave
 (MRT)        page scan                                                                             page scan

 MWS          Downlink                               Uplink                                          Downlink


              SUCCESS                       FAILED                FAILED                    SUCCESS                   SUCCESS

Figure 7.5: Bluetooth radio can suffer inquiry scan/page scan failures


7.5 SYNCHRONIZING BLUETOOTH WITH AN EXTERNAL
    TIMING SOURCE
This section provides an example to illustrate the synchronization of the
Bluetooth CLK with an MWS system so that the Bluetooth slots line up with the
Downlink and Uplink times of the MWS system. The external frame in this
example is LTE TDD Frame Configuration #1 and special subframe
configuration #1; however the same mechanisms can be used for any external
TDD/TDMA protocol. The example shows a time span of 10 ms.

[Vol 7] Part A defines the timing of the MWS frame as a fixed offset from the
FRAME_SYNC signal in the coexistence signaling. This is shown in Figure 7.6
as FS. FS can be defined by the Host as any specific offset within the MWS


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frame. For a piconet master, the most useful position for FS is the boundary
between the uplink and the following downlink. This is because the master
needs to transmit in a master slot during the uplink and then receive in the
following slave slot during the downlink. Putting FS at this boundary allows the
master to easily align its Bluetooth clock to put it between these slots. The
situation is reversed in a slave: FS is most useful on the boundary between the
downlink and the following uplink.

The HCI command Set_External_Frame_Configuration ([Vol 2] Part E, Section
7.3.81) is used to describe the MWS frame timing. This knowledge, together
with FS, allows the Bluetooth Controller to align the Bluetooth clock with the
MWS frame timing so as to minimize the effect of mutual interference. This is
illustrated in Figure 7.6. The red ovals show slot pairs where both MWS and
Bluetooth transmit and receive simultaneously and so do not interfere with
each other. The MWS frame structure includes a downlink portion (“D”), an
uplink portion (“U”), and a special portion (“S”) that includes a downlink and
uplink portion separated by a guard period (“GP”).

                                                                 FS                           Middle of GP

                 D           S           U               U                D           D           S           U               U               D

Collocated
   Master        S       M       S       M       S           M        S       M       S       M       S       M       S           M       S       M

Collocated
     Slave   M       S       M       S       M       S           M        S       M       S       M       S       M       S           M       S


Figure 7.6: Alignment of MWS frame timing and Bluetooth clock


Note: In LTE, if the implementation does not have access to the exact LTE
timing it can assume that the downlink-to-uplink boundary is the middle of the
GP in a special LTE subframe.

7.6 PICONET CLOCK ADJUSTMENT
As discussed in the previous section, aligning the MWS and Bluetooth clocks
correctly greatly improves throughput on both technologies. The master has
two mechanisms at its disposal to mitigate misalignments.

Coarse Clock Adjustments can be used to move the Bluetooth CLK using the
LMP_clk_adj PDU. The clk_adj_us parameter is used to align the slots with the
MWS alignment point indicated by the FRAME_SYNC signal. The
clk_adj_slots parameter can be used to move the CLK several slots forward in
time. This can be useful to align e.g. eSCO. Coarse Clock Adjustment is
expected to be used only rarely, for instance at MWS connection or when the
MWS frame timing changes due to roaming. Coarse Clock Adjustment can
only be used when all slaves in the piconet support it.

The other option for the master is to use Clock Dragging. This is a method of
slowly adjusting the phase of the clock backward or forward by making the

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slots a few µs shorter or longer, respectively, until the desired CLK phase has
been achieved. It should be noted that this is a very slow rate of adjustment, as
it is designed to allow a legacy device to track the change, and therefore Clock
Dragging must not be done at a faster rate than the maximum natural drift
between devices. For this reason its main use is to facilitate small corrections
over time if a misalignment with the MWS system is detected. If any device is
connected that does not support Coarse Clock Adjustment, slowly moving the
slave using Clock Dragging is the only option.

It is recommended to let the collocated device be the master, when possible,
as it can react much faster to correct misalignments. If a slave is the collocated
device, doing a role switch to make it master may be worth considering.
Alternatively a slave can send a Piconet Clock Adjustment Request LMP
packet to the master. The master then has the option to perform a Coarse
Clock Adjustment, Clock Dragging, or to reject the request.

7.7 SLOT AVAILABILITY MASK (SAM)
Slot Availability Mask (SAM) allows two Bluetooth devices to indicate to each
other time slots that are available for transmission and reception. The SAM slot
map specifies the availability or otherwise of Bluetooth slots. A slot could be
unavailable because of external conditions (e.g., MWS coexistence) or internal
conditions (e.g., scatternet commitments). SAM does not impose new
mandatory rules for the scheduling of BR/EDR time slots. Instead, it merely
provides information which allows Controllers to refine their scheduling of
Bluetooth slots to improve performance.

SAM slot maps are calculated by the Controller itself based on its scheduling
requirements. There are no HCI commands defined specifically for SAM,
merely LMP sequences that enable devices to exchange maps and indicate
the map in use. The HCI commands "Set_External_Frame_Configuration" (see
[Vol 2] Part E, Section 7.3.81) and "Set_MWS_PATTERN_Configuration" (see
[Vol 2] Part E, Section 7.3.85) and real-time signals (e.g.,
MWS_PATTERN_Index or FRAME_SYNC) provided by the Coexistence
Logical Interface (see [Vol 7] Part A) contain information concerning the
appropriate SAM_Index and SAM anchor point to use for MWS coexistence;
these may therefore trigger these LMP sequences.

A Controller may choose to perform a Piconet Clock Adjustment before
initiating an LMP_SAM_switch sequence so as to increase the number of slot
pairs available per MWS frame.




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                 Architecture & Terminology Overview
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                        PART B: ACRONYMS &
                             ABBREVIATIONS




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Acronyms & Abbreviations


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Acronyms & Abbreviations


1 LIST OF ACRONYMS AND ABBREVIATIONS


 Acronym or
                        Writing out in full                 Comments
 abbreviation

 8DPSK                  8 phase Differential Phase Shift    3 Mb/s modulation type used by
                        Keying                              Enhanced Data rate
 A

 A2MP                   AMP Manager Protocol
 AAD                    Additional Authentical Data
 AC                     Access Category

 ACI                    Access Category Index
 ACK                    Acknowledge/Acknowledgment
 ACL                    Asynchronous Connection-ori-        Reliable or time-bounded, bi-direc-
                        ented [logical transport]           tional, point-to-point

 ACL-C                  ACL Control [logical link] (LMP)
 ACL-U                  ACL User [logical link] (L2CAP)
 ACO                    Authenticated Ciphering Offset

 AD                     Advertising Data
 Adv_idx                Advertising channel index
 ADVB                   LE Advertising Broadcast

 ADVB-C                 LE Advertising Broadcast Control
                        (Logical Link)
 ADVB-U                 LE Advertising Broadcast User
                        Data (Logical Link)
 ADI                    AdvDataInfo

 AES                    Advanced Encryption Standard
 AES-CCM                Advanced Encryption Standard -
                        Counter with CBC MAC

 AFH                    Adaptive Frequency Hopping
 AGC                    Automatic Gain Control
 AHS                    Adapted Hop Sequence

 AIFSN                  Arbitration Interframe Space Num-
                        ber
 AMP                    Alternate MAC PHY
Table 1.1: Acronyms and Abbreviations




List of Acronyms and Abbreviations                                               06 December 2016
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 abbreviation

 AMP_ASSOC              Alternate MAC PHY association
                        information
 AMP-U                  AMP User Asynchronous/Isochro-
                        nous Logical Link
 ARQ                    Automatic Repeat Request

 ASB                    Active Slave Broadcast [logical    Unreliable, uni-directional broad-
                        transport]                         cast to any devices synchronized
                                                           with the physical channel
 ASB-C                  ASB Control [logical link] (LMP)
 ASB-U                  ASB User [logical link] (L2CAP)

 ATT                    Attribute Protocol
 B

 BB                     Baseband
 BCH                    Bose, Chaudhuri & Hocquenghem      Type of code
                                                           The persons who discovered these
                                                           codes in 1959 (H) and 1960 (B&C)
 BD_ADDR                Bluetooth Device Address
 BER                    Bit Error Rate

 BT                     Bandwidth Time
 C

 CAC                    Channel Access Code

                        Cipher Block Chaining
 CBC-MAC
                        Message Authentication Code
 CCM                    Counter with Cipher Block Chain-
                        ing-Message Authentication Code
 CCMP                   CTR with CBC-MAC Protocol

 CLKN                   Native Clock
 CL                     Connectionless
 CLK                    Master Clock

 CLKE                   Estimated Clock
 CODEC                  COder DECoder
 COF                    Ciphering Offset

 CRC                    Cyclic Redundancy Check
 CSA                    Core Specification Addendum        (In plural Addenda)
Table 1.1: Acronyms and Abbreviations


List of Acronyms and Abbreviations                                               06 December 2016
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 abbreviation

 CSB                    Connectionless Slave Broadcast        The logical transport enabled by
                                                              the Connectionless Slave
                                                              Broadcast feature
 CSRK                   Connection Signature Resolving
                        Key
 CTS                    Clear to send

 CVSD                   Continuous Variable Slope Delta
                        Modulation
 D

 DA                     Destination address

 DAC                    Device Access Code
 DCE                    Data Communication Equipment

 DCE                    Data Circuit-Terminating Equip-       In serial communications, DCE
                        ment                                  refers to a device between the
                                                              communication endpoints whose
                                                              sole task is to facilitate the commu-
                                                              nications process; typically a
                                                              modem

 DCI                    Default Check Initialization
 DEVM                   Differential Error Vector Magnitude   Measure of modulation error used
                                                              for Enhanced Data Rate transmit-
                                                              ter testing

 DFS                    Dynamic Frequency Selection
 DH                     Data-High Rate                        Data packet type for high rate data
 DHK                    Diversifier Hiding Key

 DIAC                   Dedicated Inquiry Access Code
 DID                    (Advertising) Data ID
 DIV                    Diversifier

 DM                     Data - Medium Rate                    Data packet type for medium rate
                                                              data
 DPSK                   Differential Phase Shift Keying       Generic description of Enhanced
                                                              Data Rate modulation
 DQPSK                  Differential Quaternary Phase Shift   Modulation type used by
                        Keying                                Enhanced Data Rate

 DSAP                   Destination Service Access Point
Table 1.1: Acronyms and Abbreviations




List of Acronyms and Abbreviations                                                  06 December 2016
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 abbreviation

 DTE                    Data Terminal Equipment              In serial communications, DTE
                                                             refers to a device at the endpoint of
                                                             the communications path; typically
                                                             a computer or terminal.
 DTM                    Direct Test Mode
 DUT                    Device Under Test

 DV                     Data Voice                           Data packet type for data and
                                                             voice
 E

 E                                                           Do not use or claim support in this
                        Excluded
                                                             context.

 ECWmax                 Enhanced Contention Window
                        maximum
 ECWmim                 Enhanced Contention Window
                        minimum

 ED                     Erroneous Data
 EDCA                   Enhanced Distributed Channel
                        Access
 EDIV                   Encrypted Diversifier

 EDR                    Enhanced Data Rate
 EFS                    Extended Flow Specification
 EIR                    Extended Inquiry Response            Host supplied information transmit-
                                                             ted in the inquiry responses sub-
                                                             state

 EIRP                   Effective Isotropic Radiated Power   Equivalent power that an isotropic
                                                             antenna must transmit to provide
                                                             the same field power density
 EOC                    Extreme Operating Conditions
 EPR                    Encryption Pause Resume              Mode allowing the device to initiate
                                                             the pause and resume encryption
                                                             sequence

 ER                     Encryption Root
 ERP                    Extended Rate PHY conforming to
                        Clause 19
 (e)SCO                 Synchronous logical link or          SCO or eSCO
                        Extended Synchronous logical link

Table 1.1: Acronyms and Abbreviations




List of Acronyms and Abbreviations                                                 06 December 2016
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 abbreviation

 eSCO                   Extended Synchronous Connec-        Bi-directional, symmetric or asym-
                        tion Oriented [logical transport]   metric, point-to-point, general reg-
                                                            ular data, limited retransmission
 eSCO-S                 Stream eSCO (unframed)              Used to support isochronous data
                                                            delivered in a stream without fram-
                                                            ing
 ESS                    Extended Service Set

 ETSI                   European Telecommunications
                        Standards Institute
 F

 FCC                    Federal Communications
                        Commission

 FCS                    Frame Check Sequence
 FDMA                   Frequency Division Multiple
                        Access

 FEC                    Forward Error Correction code
 FH                     Frequency Hopping
 FHS                    Frequency Hop Synchronization

 FHSS                   Frequency Hopping Spread Spec-
                        trum
 FIFO                   First In First Out
 FIPS                   Federal Information Processing
                        Standards

 FM                     Frequency Modulation                Modulation type
 G

 GAP                    Generic Access Profile

 GATT                   Generic Attribute Profile
 GFSK                   Gaussian Frequency Shift Keying
 GIAC                   General Inquiry Access Code

 GTM                    Generic Test Methodology
 H

 HCI                    Host Controller Interface

 HEC                    Header-Error-Check
 HID                    Human Interface Device
 HV                     High quality Voice                  e.g. HV1 packet

Table 1.1: Acronyms and Abbreviations

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Acronyms & Abbreviations


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                        Writing out in full                      Comments
 abbreviation

 HW                     Hardware
 I

 IAC                    Inquiry Access Code

 IC                     Industry Canada
 IEC                    International Electrotechnical
                        Commission
 IEEE                   Institute of Electronic and Electrical
                        Engineers

 IETF                   Internet Engineering Task Force
 IFS                    Inter Frame Space

 IP                     Internet Protocol
 IPv4                   Internet Protocol version 4
 IPv6                   Internet Protocol version 6

 IR                     Identity Root
 IrDA                   Infra-red Data Association
 IRK                    Identity Resolving Key

 ISM                    Industrial, Scientific, Medical
 ISO                    International Organization for Stan-
                        dardization
 ITU                    International Telecommunication
                        Union

 IUT                    Implementation Under Test
 IV                     Initialization Vector
 IVm                    Initialization Vector (master)

 IVs                    Initialization Vector (slave)
 J

 JRL                    Japanese Radio Law

 K

 KCC                    Korea Communications Commis-
                        sion
 L

 L2CAP                  Logical Link Control and
                        Adaptation Protocol

Table 1.1: Acronyms and Abbreviations



List of Acronyms and Abbreviations                                                06 December 2016
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 abbreviation

 LAP                    Lower Address Part
 LC                     Link Controller                        Link Controller (or baseband) part
                                                               of the Bluetooth protocol stack. Low
                                                               level Baseband protocol handler
 LC                     Link Control [logical link]            The control logical links LC and
                                                               ACL-C are used at the link control
                                                               level and link manager level,
                                                               respectively.

 LCP                    Link Control Protocol
 LE                     Low Energy
 LE-C                   Low Energy Control (link)

 LE-U                   LE User [logical link]
 LFSR                   Linear Feedback Shift Register

 LL                     Link Layer
 LLCP                   Link Layer Control Protocol
 LLID                   Logical Link Identifier

 LM                     Link Manager
 LMP                    Link Manager Protocol                  For LM peer to peer communication
 LR                     Loudness Rating

 LSB                    Least Significant Bit
 LSO                    Least Significant Octet
 LSTO                   Link Supervision Timeout Event         Controller can send LSTO event to
                                                               Host

 LT_ADDR                Logical Transport ADDRess
 LTK                    Long-Term Key
 M

 M                      Master or Mandatory
 MAC                    Medium Access Control
 MAC                    Message Authentication Code            Usually meaning the Medium
                                                               Access Control code

 Mb/s                   Megabits (millions of bits) per sec-
                        ond
 MD                     More Data
 MIC                    Message Integrity Check

Table 1.1: Acronyms and Abbreviations



List of Acronyms and Abbreviations                                                   06 December 2016
                                                                               Bluetooth SIG Proprietary
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Acronyms & Abbreviations


 Acronym or
                        Writing out in full                   Comments
 abbreviation

 MIIT                   Ministry of Industry and Informa-
                        tion Technology
 MITM                   Man-in-the-middle
 MMI                    Man Machine Interface

 MS                     Mobile Station
 Msym/s                 Megasymbols per second
 MSB                    Most Significant Bit

 mSBC                   modified Sub Band Codec               Hands-Free Profile v1.6 or later
 MSC                    Message Sequence Chart
 MSO                    Most Significant Octet

 MTU                    Maximum Transmission Unit
 MWS                    Mobile Wireless Standards             For example LTE and WiMAX



 N

 NAK                    Negative Acknowledge

 NAP                    Non-significant Address Part
                        National Communications Com-
 NCC
                        mission
 NESN                   Next Expected Sequence Number

 NIST                   National Institute of Standards and
                        Technology
 NOC                    Normal Operating Conditions
 O

 O                      Optional
 OBEX                   OBject EXchange protocol
 OCF                    OpCode Command Field

 OGF                    OpCode Group Field
 OOB                    Out of Band
 P

 π/4 DQPSK              pi/4 Rotated Differential Quater-     2 Mb/s modulation type used by
                        nary Phase Shift Keying               Enhanced Data Rate
 PADVB                  LE Periodic Advertising Broadcast
                        (Logical Transport)
Table 1.1: Acronyms and Abbreviations


List of Acronyms and Abbreviations                                                  06 December 2016
                                                                              Bluetooth SIG Proprietary
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Acronyms & Abbreviations


 Acronym or
                        Writing out in full                Comments
 abbreviation

 PBD                    Profile Broadcast Data             The name of the logical link
                                                           enabled by the Connectionless
                                                           Slave Broadcast feature
                                                           The device supports the capability
 PBF                    Packet Boundary Flag               to correctly handle HCI ACL Data
                                                           Packets
 PCM                    Pulse Coded Modulation

 PDU                    Protocol Data Unit                 A message
 PHY                    Physical Layer
 PIN                    Personal Identification Number

 PN                     Pseudo-random Noise
 PPM                    Part Per Million

 PPP                    Point-to-Point Protocol
 PRBS                   Pseudo Random Bit Sequence
 PRNG                   Pseudo Random Noise Generation

 PSK                    Phase Shift Keying                 Class of modulation types
                        Public Switched Telephone Net-
 PSTN
                        work
                                                           The ptt parameter is used to select
 ptt                    Packet Type Table
                                                           the logical transport types via LMP.

 Q

 QoS                    Quality of Service
 R

 RAND                   Random number
 RF                     Radio Frequency
 RFC                    Request For Comments

                        Retransmission and Flow Control
 RFCMode
                        Mode
                                                           Serial cable emulation protocol
 RFCOMM
                                                           based on ETSI TS 07.10
 RFU                    Reserved for Future Use

 RMS                    Root Mean Square
 RPA                    Resolvable Private Address
                        Received Signal Strength Indica-
 RSSI
                        tion

Table 1.1: Acronyms and Abbreviations

List of Acronyms and Abbreviations                                               06 December 2016
                                                                           Bluetooth SIG Proprietary
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Acronyms & Abbreviations


 Acronym or
                        Writing out in full                Comments
 abbreviation

 RX                     Receive
 S

 S                      Slave

 SAP                    Service Access Points
 SAR                    Segmentation and Reassembly
 SCA                    Sleep Clock Accuracy

                        Synchronous Connection-Ori-        Bi-directional, symmetric, point-to-
 SCO
                        ented [logical transport]          point, AV channels
                                                           Used to support isochronous data
 SCO-S                  Stream SCO (unframed)              delivered in a stream without fram-
                                                           ing

 SD                     Service Discovery
 SDP                    Service Discovery Protocol
 SDU                    Service Data Unit

 SEQN                   Sequential Numbering scheme
 SID                    (Advertising) Set ID
 SK                     Session Key

 SKDm                   Session Key Diversifier (master)   Master portion of the Session Key
                                                           Diversifier
 SKDs                   Session Key Diversifier (slave)    Slave portion of the Session Key
                                                           Diversifier
 SLR                    Send Loudness Ring

 SM                     Security Manager
 SMP                    Security Manager Protocol
 SN                     Sequence Number

 SRES                   Signed Response
 SRK                    Signature Resolving Key
 SS                     Supplementary Services

 SSI                    Signal Strength Indication
 SSP                    Secure Simple Pairing              Simplifies the pairing process and
                                                           improves Bluetooth security
 SSR                    Sniff Subrating                    A mode that defines the anchor
                                                           points at which the master trans-
                                                           mits to the slave.

Table 1.1: Acronyms and Abbreviations



List of Acronyms and Abbreviations                                               06 December 2016
                                                                           Bluetooth SIG Proprietary
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Acronyms & Abbreviations


 Acronym or
                        Writing out in full                 Comments
 abbreviation

 STK                    Short Term Key
 STP                    Synchronization Train Packet        Packets transmitted using the
                                                            Synchronization Train feature
 SW                     Software

 T

 T_IFS                  Time Inter Frame Space              Time interval between consecutive
                                                            packets on same channel index
                                                            Test Control layer for the test inter-
 TC                     Test Control
                                                            face

 TCI                    Test Control Interface
                        Transport Control Protocol/Inter-
 TCP/IP
                        net Protocol

                        Telephony Control protocol
 TCS
                        Specification
 TDD                    Time-Division Duplex
 TDMA                   Time Division Multiple Access

 TK                     Temporary Key
 TX                     Transmit
 U

 UAP                    Upper Address Part
                        Universal Asynchronous receiver
 UART
                        Transmitter
 UI                     User Interface

 UI                     Unnumbered Information
 ULAP                   Upper and Lower Address Parts
 USB                    Universal Serial Bus

 UTF-8                  8-bit UCS/Unicode Transformation
                        Format
 UUID                   Universal Unique Identifier
 W

 WAP                    Wireless Application Protocol
Table 1.1: Acronyms and Abbreviations




List of Acronyms and Abbreviations                                                 06 December 2016
                                                                             Bluetooth SIG Proprietary
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                 Architecture & Terminology Overview
                                              Part C




         PART C: CORE SPECIFICATION
                   CHANGE HISTORY




                                                    Bluetooth SIG Proprietary
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Core Specification Change History


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Core Specification Change History


1 DEPRECATED FEATURES

Some features have been deemed no longer useful and have been
deprecated. The term deprecation does not mean that they are no longer
allowed, but that they are no longer recommended as the best way of
performing a given function.

Deprecated features may be implemented using the latest qualifiable version of
the Bluetooth core specification that specifies the deprecated features.




Deprecated Features                                                06 December 2016
                                                             Bluetooth SIG Proprietary
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Core Specification Change History


2 CHANGES FROM V1.1 TO V1.2

2.1 NEW FEATURES
Several new features were introduced in the Bluetooth Core Specification 1.2.
The major areas of improvement are:
• Architectural overview
• Faster connection
• Adaptive frequency hopping
• Extended SCO links
• Enhanced error detection and flow control
• Enhanced synchronization capability
• Enhanced flow specification

The feature descriptions are incorporated into the existing text in different core
parts, described in Volumes 2 and 3.

2.2 STRUCTURE CHANGES
The Bluetooth Core Specification 1.2 was significantly restructured for better
consistency and readability. The most important structure changes have been
performed in Baseband, LMP, HCI and L2CAP. The text in these sections has
been rearranged to provide:
• Presentation of the information in a more logical progression
• Removal of redundant text and requirements
• Consolidation of baseband related requirements (for example, the
  Baseband Timers and Bluetooth Audio sections into the Baseband
  Specification)
• Alignment of the specification with the new architecture and terminology
  presented in the Architecture Overview (see [Vol 1] Part E).

In addition, new text and requirements were added for the new features as well
as many changes throughout the specification to update the text to use IEEE
language (see [Vol 1] Part E).

2.3 DEPRECATED FEATURES LIST
Features deprecated in version 1.2 are:
• The use of Unit Keys for security
• Optional Paging schemes
• 23 channel hopping sequence

Changes from V1.1 to V1.2                                             06 December 2016
                                                                Bluetooth SIG Proprietary
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Core Specification Change History

• Page scan period mode and associated commands

2.4 CHANGES IN WORDING
Two general classes of changes to the wording of the Bluetooth Specification
have been done for version 1.2. They are a formalization of the language by
using conventions established by the Institute of Electrical and Electronic
Engineers (IEEE), and a regularization of Bluetooth wireless technology-
specific terms. Many portions of the version 1.1 specification use imprecise or
inaccurate terms to describe attributes of the protocol. A more accurate
terminology described in Part E was introduced into the version 1.2
specification and have been applied in future versions.

2.5 NOMENCLATURE CHANGES
The nomenclature in Bluetooth 1.2 was also updated due to new concepts that
are introduced together with the new features and the new architecture. See
[Vol 1] Part A.




Changes from V1.1 to V1.2                                           06 December 2016
                                                              Bluetooth SIG Proprietary
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Core Specification Change History


3 CHANGES FROM V1.2 TO V2.0 + EDR

3.1 NEW FEATURES
The Bluetooth Core Specification version 2.0 + EDR introduces Enhanced
Data Rate (EDR). EDR provides a set of additional packet types that use the
new 2 Mb/s and 3 Mb/s modes.

In addition to EDR a set of errata provided in ESR02 has been incorporated
into this version and revised to include changes caused by the addition of EDR.

These additions are incorporated into the existing text in different core parts
described in Volumes 2 and 3.

3.2 DEPRECATED FEATURES
The only feature deprecated in version 2.0 + EDR is the Page Scan Period
Mode and associated commands (based on Erratum 694 which is also
included in ESR02).




Changes from V1.2 to V2.0 + EDR                                       06 December 2016
                                                                Bluetooth SIG Proprietary
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Core Specification Change History


4 CHANGES FROM V2.0 + EDR TO V2.1 + EDR

4.1 NEW FEATURES
Several new features are introduced in Bluetooth Core Specification 2.1 +
EDR. The major areas of improvement are:
• Erroneous Data Reporting
• Encryption Pause and Resume
• Extended Inquiry Response
• Link Supervision Timeout Changed Event
• Non-Automatically-Flushable Packet Boundary Flag
• Secure Simple Pairing
• Sniff Subrating
• Security Mode 4

4.2 DEPRECATED FEATURES
No features were deprecated in v2.1 + EDR.




Changes from V2.0 + EDR to V2.1 + EDR                             06 December 2016
                                                            Bluetooth SIG Proprietary
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Core Specification Change History


5 CHANGES FROM V2.1 + EDR TO V3.0 + HS

5.1 NEW FEATURES
Several new features are introduced in Bluetooth Core Specification v3.0 + HS.
The major areas of improvement are:
• AMP Manager Protocol (A2MP)
• Enhancements to L2CAP including
    • Enhanced Retransmission Mode and Streaming Mode
    • Improvements to the L2CAP state machine for AMP channels
    • Fixed channel support
• Enhancements to HCI for AMP
• Enhancements to Security for AMP
• 802.11 Protocol Adaptation Layer
• Enhanced Power Control
• Unicast Connectionless Data
• HCI Read Encryption Key Size command
• Generic Test Methodology for AMP
• Enhanced USB and SDIO HCI Transports

5.2 DEPRECATED FEATURES
No features were deprecated in v3.0 + HS.




Changes From V2.1 + EDR To V3.0 + HS                               06 December 2016
                                                             Bluetooth SIG Proprietary
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Core Specification Change History


6 CHANGES FROM V3.0 + HS TO V4.0

6.1 NEW FEATURES
Several new features are introduced in Bluetooth Core Specification v4.0
Release. The major areas of improvement are:
• Bluetooth Low Energy including
    • Low Energy Physical Layer
    • Low Energy Link Layer
    • Enhancements to HCI for Low Energy
    • Low Energy Direct Test Mode
    • AES Encryption
    • Enhancements to L2CAP for Low Energy
    • Enhancements to GAP for Low Energy
    • Attribute Protocol (ATT)
    • Generic Attribute Profile (GATT)
    • Security Manager (SM)

6.2 DEPRECATED FEATURES
No features were deprecated in v4.0.




Changes From V3.0 + HS To v4.0                                    06 December 2016
                                                            Bluetooth SIG Proprietary
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Core Specification Change History


7 CHANGES FROM v4.0 TO v4.1

7.1 NEW FEATURES
Several new features are introduced in the Bluetooth Core Specification v4.1
Release. The major areas of improvement are:
• BR/EDR Secure Connections
• Train Nudging
• Generalized Interlaced Scan
• Low Duty Cycle Directed Advertising
• 32-bit UUID Support in LE
• LE Dual Mode Topology
• Piconet Clock Adjustment
• LE L2CAP Connection Oriented Channel Support
• LE Privacy v1.1
• LE Link Layer Topology
• LE Ping

7.1.1 Features Added in CSA 4 – Integrated in v4.1
• Connectionless Slave Broadcast
• Unencrypted Unicast Connectionless Data Support
• Fast Advertising Interval
• eSCO Reserved Slots Clarification

7.1.2 Features Added in CSA 3 – Integrated in v4.1
• MWS Coexistence HCI Changes
• GAP Connection Parameters Changes
• GAP Authentication and Lost Bond
• Dual Mode Addressing
• Private Address Changes
• Common Profile and Service Error Code Changes
• MWS Coexistence Signaling
• Wireless Coexistence Interface 1 (WCI-1) Transport Specification
• Wireless Coexistence Interface 2 (WCI-2) Transport Specification




Changes from v4.0 to v4.1                                         06 December 2016
                                                            Bluetooth SIG Proprietary
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Core Specification Change History

7.1.3 Features Added in CSA 2 – Integrated in v4.1
• Limited Discovery Time Changes
• EIR and AD Data Types In GAP
• Audio Architecture HCI Changes
• Audio Architecture USB Changes
• 802.11n Enhancements to the 802.11 PAL

7.2 DEPRECATED FEATURES
No features were deprecated in v4.1.




Changes from v4.0 to v4.1                                   06 December 2016
                                                      Bluetooth SIG Proprietary
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Core Specification Change History


8 CHANGES FROM v4.1 TO v4.2

8.1 NEW FEATURES
Several new features are introduced in the Bluetooth Core Specification v4.2
Release. The major areas of improvement are:
• LE Data Packet Length Extension
• LE Secure Connections
• Link Layer Privacy
• Link Layer Extended Scanner Filter Policies

8.2 ERRATA INCORPORATED IN v4.2
Table 8.1 lists the integrated ESR08 errata items and also some ESR09 items,
without test impact, which were added to v4.2 prior to the ESR09 release.

                                       ESR08                     ESR09

 Global / Several Parts                                          5782, 6001
 V0B: Compliance Req.                  5748

 V1A: Architecture Overview            4767, 4768, 4858, 5526,   5965, 6086
                                       5531, 5742, 5748
 V2A: Radio                            5179
 V2B: Baseband                         2645, 2668, 3909, 4997,   5829, 5875, 5966
                                       5185, 5447, 5636

 V2C: LMP                              4934, 5118. 5756          5754, 5802, 5815, 5816,
                                                                 5817, 5818, 5819
 V2D: Error Codes                      5645, 5660                5814
 V2E: HCI                              4998, 5097, 5186, 5286,   5000, 5174, 5247, 5821,
                                       5340, 5358, 5397, 5416,   5822, 5826, 5828, 5859,
                                       5589, 5630, 5637, 5660,   5907, 5926, 5927, 5935,
                                       5736, 5737, 5738          5959, 5960

 V2F: MSCs                             5621                      5762
 V2G: Sample Data

 V2H: Security Spec.                   4815, 4830, 4903
 V3A: L2CAP                            2765, 3253, 3767, 3768,   5987
                                       3901, 3902, 3903, 4603,
                                       4734, 4735, 4776, 5419
 V3B: SDP                              5258                      5257

Table 8.1: Errata integrated in v4.2



Changes from v4.1 to v4.2                                                     06 December 2016
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Core Specification Change History


                                       ESR08                     ESR09

 V3C: GAP                              2341, 4087, 4778, 4895,   5803, 5938, 5939, 5964,
                                       4935, 4936, 5618, 5441,   5989
                                       5051
 V3F: ATT                                                        6006
 V3G: GATT                             3817, 4358, 5116, 5117

 V3H: Security Manager                                           6050
 V4B: USB Transport Layer              5273
 V6A: Physical Layer                   5179

 V6B: Link Layer                       5231, 5232, 5233, 5234,   5824, 5922, 5947, 5950,
                                       5235, 5236, 5307, 5360,   5954, 5994, 6116
                                       5419, 5428, 5526, 5577,
                                       5653, 5656, 5706, 5707,
                                       5720, 5721, 5722, 5723

 V6C: Sample Data                      4948

 V6D: MSCs                             4797, 4798                6032
 V6F: Direct Test Mode                 4834, 5749, 5751
 V7A: MWS Coexistence Logical          5001
 Signaling

 V7B: WCI-1 Transport                  5004, 5619
Table 8.1: Errata integrated in v4.2




Changes from v4.1 to v4.2                                                     06 December 2016
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Core Specification Change History


9 CHANGES FROM v4.2 TO 5.0

9.1 NEW FEATURES
Several new features are introduced in the Bluetooth Core Specification 5.0
Release. The major areas of improvement are:
• Slot Availability Mask (SAM)
• 2 Msym/s PHY for LE
• LE Long Range
• High Duty Cycle Non-Connectable Advertising
• LE Advertising Extensions
• LE Channel Selection Algorithm #2

9.1.1 Features Added in CSA5 - Integrated in v5.0
• Higher Output Power

9.2 DEPRECATED FEATURES
The following features were removed in this version of the specification:
• Park State

9.3 PRIVACY ERRATA
The Privacy errata shown in the table below have been resolved and integrated
in this version of the specification.

 Erratum           Title

 5433              In Table 9.3, C1 condition should be removed
 6182              Invalid behavior with resolving address list not clear in Core or Test Spec
 6214              Statement mismatch between procedure description and figure

 6247              Unclear when to use LE Directed Advertising Report Event or LE Advertising
                   Report Event
 6356              Defining scanner’s device address in “Scanner filter policy”

 6391              Usage of peer address type not clear in privacy 1.2
 6399              LE Enhanced Connection Complete event
 6401              Central Address Resolution Char in LE Peripheral

 6469              Advertiser is not required to check AdvA
Table 9.1: Privacy errata



Changes from v4.2 to 5.0                                                            06 December 2016
                                                                              Bluetooth SIG Proprietary
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Core Specification Change History


 Erratum           Title

 6471              AdvA not well defined in SCAN_RSP pdu, when privacy 1.2 enabled
 6508              HCI command name mismatch
 6519              When an advertiser device (or scanning performing active scanning) using
                   privacy and Controller based resolvable private address generation is sup-
                   posed to answer to a scan request (or advertising) received?

 6613              Privacy Mode not clearly defined
 6629              LE Directed Advertising Report Event - Order of parameters
 6984              How does Adv respond to RPA in Connect Req when there’s no IRK and no
                   WL

Table 9.1: Privacy errata


9.4 ERRATA INCORPORATED IN 5.0
Table 9.2 lists the integrated ESR09 and ESR10 errata items.

                                          ESR09                       ESR10

 Global / Several Parts                   5782, 6001, 6334            6570, 6751, 6855. 7076

 V0B: Bluetooth Compliance                                            6360, 6717
 Requirements

 V1A: Architecture Overview               5900, 5965, 6086, 6120,     6356, 6421, 6465, 6524,
                                          6193, 6240, 6242, 6277,     6529, 6558, 6603, 6604,
                                          6284, 6288, 6290, 6303,     6766, 6922, 7030, 7031,
                                          6361, 6363, 6364            7301
 V1B: Acronyms & Abbreviations            6277, 6349                  6717

 V1C: Change History                      6195, 6318,
 V1E: IEEE Language                       6208, 6381                  6421, 6422, 7521
 V2A: Radio                                                           6199, 6547

 V2B: Baseband                            5829, 5875, 5966, 6096,     6421, 6443, 6446, 6480,
                                          6193, 6277, 6350,           6505, 6523, 6531, 6537,
                                                                      6618, 6646, 6647, 6668,
                                                                      6714, 6721, 6749, 6953,
                                                                      6964

 V2C: LMP                                 5753, 5754, 5802, 5815,     4783, 6447, 6531, 6606,
                                          5816, 5817, 5818, 5819,     6735, 6773, 6776, 6852
                                          6114, 6175, 6176, 6177,
                                          6193, 6210, 6277, 6289,
                                          6291, 6295, 6332, 6339,
                                          6388, 6389, 6404

 V2D: Error Codes                         5112, 5511, 5814, 6305,     6421
                                          6309

Table 9.2: Errata integrated in 5.0


Changes from v4.2 to 5.0                                                           06 December 2016
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Core Specification Change History


                                      ESR09                     ESR10

 V2E: HCI                             4354, 5000, 5174, 5247,   4761, 4999, 5003, 6007,
                                      5266, 5821, 5822, 5826,   6182, 6247, 6356, 6399,
                                      5828, 5859, 5905, 5907,   6421, 6451, 6452, 6493,
                                      5926, 5927, 5935, 5959,   6508, 6531, 6532, 6534,
                                      5960, 6072, 6110, 6115,   6536, 6541, 6556, 6559,
                                      6211, 6265, 6277, 6278,   6563, 6566, 6568, 6576,
                                      6286, 6293, 6301, 6302,   6629, 6672, 6689, 6709,
                                      6326, 6338, 6339, 6374,   6716, 6722, 6749, 6752,
                                      6409, 6419, 6420          6767, 6797, 6807, 6856,
                                                                6857, 6882, 6886, 6910,
                                                                6914, 6918, 6927, 6939,
                                                                6986, 6997, 6998, 7017,
                                                                7021, 7024, 7045, 7067,
                                                                7068, 7069, 7077, 7372

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Table 9.2: Errata integrated in 5.0

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                                       7867, 7871, 7900, 7991,
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 V3B: SDP                              7819
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                                       7896, 7897, 8051, 8055
 V3H: Security Manager                 7226, 7320, 7469

 V5A: 802.11 Protocol Adaption         7875, 7876, 7878
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                                       7686, 7720, 7777, 7791,
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 V6F: Direct Test Mode                 7156, 7281, 7696
 V7A: MWS Coexistence Logical          7525
 Signaling

Table 9.3: Errata integrated in v5.0




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                  Architecture & Terminology Overview
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                      PART D: MIXING OF
                SPECIFICATION VERSIONS




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Mixing of Specification Versions


1 MIXING OF SPECIFICATION VERSIONS

This part describes how volumes, and parts within volumes, of different
versions and Specification Addenda of the Core Specification may be mixed in
Bluetooth implementations. The Core System consists of a BR/EDR Controller
Package (see Volume 2), a Low Energy Controller Package (see Volume 6), a
Host Package (see Volume 3) and AMP Protocol Adaptation Layers (see
Volume 5).
• All parts within a Primary Controller implementation shall comply with the
  same version of Volume 2 and Volume 6.
• All parts within a Host implementation of Volume 3 shall comply with the
  same version.
• An AMP Controller implementation shall contain parts of Volume 2 and
  Volume 5 from the same version.
• The Primary Controller, AMP Controller, and Host may comply with different
  versions within a single implementation.

In order to describe how these volumes and parts within volumes can be
mixed, one needs to distinguish between four categories of features specified
in the different specification versions. The four categories are:

 Category                  Description

 Type 1                    Feature that exists below HCI and cannot be configured/enabled via
                           HCI
 Type 2                    Feature that exists below HCI and can be configured/enabled via HCI
 Type 3                    Feature that exists below and above HCI and requires HCI command/
                           events to function

 Type 4                    Feature that exists only above HCI
Table 1.1: Feature type definitions

The outcome of mixing different Core System Packages are derived from the
feature definitions in the table above:
• If an implementation contains features of type 1 or type 4, these features
  can function with any combination of Host Package and Controller Package
  or AMP Protocol Adaptation Layer (PAL) versions with applicable addenda.
• If an implementation contains features of type 2, these features can only be
  used under a default condition if a Host Package of an older version with
  applicable addenda is mixed with a Controller Package or AMP PAL of this
  version with applicable Core Specification Addenda (CSAs).




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• In order to fully use the feature under all conditions, the Host Package,
  Controller Package, and AMP PAL must comply with the same or later
  version with applicable CSAs.
• If an implementation contains features of type 3, these features can only
  function if the Host Package supports this version or a later version with
  applicable CSAs and if the Controller Package complies with this version or
  a later version with applicable CSAs.

See the Bluetooth Brand Book for specification naming requirements.




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1.1 FEATURES AND THEIR TYPES
The following table lists the features, their types, and the version or addendum
where the feature was first introduced.

 Feature                                                    Version              Type
 Basic AFH operation                                        1.2                  1
 Enhanced inquiry                                           1.2                  1
 Configuration of AFH (setting channels and enabling/dis-   1.2                  2
 abling channel assessment)
 Enhanced synchronization capability                        1.2                  2
 Interlaced inquiry scan                                    1.2                  2
 Interlaced page scan                                       1.2                  2
 Broadcast encryption                                       1.2                  2
 Enhanced flow specification and flush time-out             1.2                  3
 Extended SCO links                                         1.2                  3
 Inquiry Result with RSSI                                   1.2                  3
 L2CAP flow and error control                               1.2                  4
 2 Mb/s EDR                                                 2.0 + EDR            2
 3 Mb/s EDR                                                 2.0 + EDR            2
 3 slot packets in EDR                                      2.0 + EDR            2
 5 slot packets in EDR                                      2.0 + EDR            2
 2 Mb/s eSCO                                                2.0 + EDR            2
 3 Mb/s eSCO                                                2.0 + EDR            2
 3 slot packets for EDR eSCO                                2.0 + EDR            2
 Erroneous Data Reporting                                   2.1 + EDR            3
 Extended Inquiry Response                                  2.1 + EDR            3
 Encryption Pause and Resume                                2.1 + EDR            1
 Link Supervision Timeout Changed Event                     2.1 + EDR            3
 Non-Flushable Packet Boundary Flag                         2.1 + EDR            3
 Sniff subrating                                            2.1+ EDR             3
 Secure Simple Pairing                                      2.1.+ EDR            3
 L2CAP Enhanced Retransmission Mode                         Addendum 1/          4
                                                            3.0 + HS
 L2CAP Streaming Mode                                       Addendum 1/          4
                                                            3.0 + HS
 Enhanced Power Control                                     3.0 + HS             1
Table 1.2: Features and their types


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 Feature                                              Version              Type
 AMP Manager Protocol (A2MP)                          3.0 + HS             4
 L2CAP Enhancements for AMP                           3.0 + HS             4
 802.11 PAL                                           3.0 + HS             3
 Generic Test Methodology                             3.0 + HS             3
 Unicast Connectionless Data                          3.0 + HS             4
 Low Energy Controller (PHY and LL)                   4.0                  3
 Low Energy Host (L2CAP and Security Manager)         4.0                  4
 Attribute Protocol and Generic Attribute Profile     4.0                  4
 Appearance Data Type                                 Addendum 2           4
 802.11n Enhancements to the 802.11 PAL               Addendum 2           3
 MWS Coexistence Signaling                            Addendum 3           2
 Connectionless Slave Broadcast                       Addendum 4           3
 Unencrypted UCD                                      Addendum 4           4
 BR/EDR Secure Connections                            4.1                  3
 Train Nudging                                        4.1                  2
 Generalized Interlaced Scan                          4.1                  2
 Piconet Clock Adjustment                             4.1                  3
 Low Duty Cycle Directed Advertising                  4.1                  2
 32-bit UUID Support in LE                            4.1                  4
 LE Dual Mode Topology                                4.1                  4
 LE L2CAP Connection Oriented Channel Support         4.1                  4
 LE Privacy v1.1                                      4.1                  4
 LE Link Layer Topology                               4.1                  3
 LE Ping                                              4.1                  2
 LE Data Packet Length Extension                      4.2                  2
 LE Secure Connections                                4.2                  4
 Link Layer Privacy                                   4.2                  3
 Link Layer Extended Filter Policies                  4.2                  3
 Slot Availability Mask                               5.0                  2
 LE 2M PHY                                            5.0                  2
 LE Coded PHY                                         5.0                  3
 High Duty Cycle Non-Connectable Advertising          5.0                  2
 LE Advertising Extensions                            5.0                  3
Table 1.2: Features and their types



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 Feature                                              Version              Type
 LE Channel Selection Algorithm #2                    5.0                  2
 LE Higher Output Power                               Addendum 5           1
Table 1.2: Features and their types




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1.2 CORE SPECIFICATION ADDENDA
A Core Specification Addendum (CSA) contains one or more parts of a single
volume, one or more parts in multiple volumes, changes on one or more parts,
or a combination of parts and changes. Addenda are used to supersede a part
in a volume or may be used to add a part to a volume according to the rules in
Table 1.3.

Note: Each Change may contain changes and/or additions to one or more
parts of the Core Specification.



                                         Addition/     Allowed        Mandatory /
                    Volume and Part      Changes/      Versions &     Optional /
 Addendum           or Change Name       Replacement   Addendum       Conditional        Type

 1                  Volume 3, Part A     Replacement   2.0 + EDR,     O                  4
                                                       2.1 + EDR
 2                  Audio Architec-      Change        2.1 + EDR,     O                  2
                    ture HCI Changes                   3.0 + HS,
                                                       4.0
                    Audio Architec-      Change        2.1 + EDR,     O                  2
                    ture USB                           3.0 + HS,
                    Changes                            4.0

                    LE Limited Discov-   Change        4.0            C.1                4
                    ery Time Changes
                    EIR and AD Data      Change        4.0            C.1                4
                    Types in GAP
                    Changes
                    EIR and AD Data      Addition      4.0            C.1                4
                    Types
                    Specification

                    Volume 5, Part A     Replacement   3.0 + HS,      O                  3
                                                       4.0
Table 1.3: Adopted core specification versions to use with addenda.




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                                         Addition/     Allowed        Mandatory /
                    Volume and Part      Changes/      Versions &     Optional /
 Addendum           or Change Name       Replacement   Addendum       Conditional        Type

 3                  LE Errata            Change        4.0 with       C.2                Multiple
                                                       CSA2
                    GAP Connection       Change        4.0 with       C.1                4
                    Parameters                         CSA2
                    Changes
                    GAP Authentica-      Change        4.0 with       C.1                4
                    tion and Lost Bond                 CSA2
                    Changes

                    Common Profile       Change        4.0 with       C.1                4
                    and Services Error                 CSA2
                    Code Range
                    Changes
                    Private Addressing   Change        4.0 with       C.1                4
                    Changes                            CSA2

                    Dual Mode            Change        4.0 with       C.3                4
                    Addressing                         CSA2
                    Changes
                    MWS                  Addition      2.1 + EDR,     O                  2
                    Coexistence                        3.0 + HS,
                    Logical Signaling
                    Specification                      4.0 with
                                                       CSA2

                    MWS                  Addition      2.1 + EDR,     C.4                2
                    Coexistence HCI                    3.0 + HS,
                                                       4.0 with
                                                       CSA2
                    Wireless Coexis-     Addition      2.1 + EDR,     C.4                2
                    tence Interface 1                  3.0 + HS,
                    (WCI-1) Transport
                    Layer Specifica-                   4.0 with
                    tion                               CSA2

                    Wireless Coexis-     Addition      2.1 + EDR,     C.4                2
                    tence Interface 2                  3.0 + HS,
                    (WCI-2) Transport
                    Layer Specifica-                   4.0 with
                    tion                               CSA2

Table 1.3: Adopted core specification versions to use with addenda.




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Mixing of Specification Versions


                                         Addition/     Allowed        Mandatory /
                    Volume and Part      Changes/      Versions &     Optional /
 Addendum           or Change Name       Replacement   Addendum       Conditional        Type

 4                  Connectionless       Change        3.0 + HS,      O                  3
                    Slave Broadcast                    4.0 with
                                                       CSA3
                    Unencrypted UCD      Change        3.0 + HS,      O                  4
                                                       4.0 with
                                                       CSA3
                    Fast Advertising     Change        4.0 with       C.1                4
                    Interval                           CSA3

                    eSCO Reserved        Change        2.1 + EDR,     O                  1
                    Slot Clarification                 3.0 + HS,
                                                       4.0 with
                                                       CSA3
 5                  Higher Output        Change        4.0 with       O                  1
                    Power                              CSA3,
                                                       4.0 with
                                                       CSA4,
                                                       4.1, 4.2

Table 1.3: Adopted core specification versions to use with addenda.

 C.1: Mandatory if either the Host Part of the Low Energy Core Configuration or the Host
      Part of the Basic Rate and Low Energy Combined Core Configuration is supported,
      otherwise Excluded.
 C.2: Mandatory if either the Host Part of the Low Energy Core Configuration, Controller
      Part of the Low Energy Core Configuration, Host Part of the Basic Rate and Low
      Energy Combined Core Configuration, or Controller Part of the Basic Rate and Low
      Energy Combined Core Configuration is supported, otherwise Excluded.
 C.3: Mandatory if the Host Part of the Basic Rate and Low Energy Combined Core Con-
      figuration is supported, otherwise Excluded.
 C.4: Optional if MWS Coexistence Logical Signaling is supported, otherwise Excluded.




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                 Architecture & Terminology Overview
                                               Part E




  PART E: GENERAL TERMINOLOGY
            AND INTERPRETATION




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General Terminology and Interpretation


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General Terminology and Interpretation


1 USE OF IEEE LANGUAGE

One of the purposes of this terminology is to make it easy for the reader to
identify text that describes requirements as opposed to background
information. The general term for text that describes attributes that are required
for proper implementation of Bluetooth wireless technology is normative. The
general term for language that provides background and context for normative
text is informative. These terms are used in various sections to clarify
implementation requirements.

Many portions of the Bluetooth Specification use imprecise or inaccurate terms
to describe attributes of the protocol. This subsection describes the correct
usage of key terms that indicate degree of requirements for processes and
data structures. The information here was derived from the Institute of
Electrical and Electronics Engineers (IEEE) Style Guide, see http://
standards.ieee.org/guides/style/.

The following list is a summary of the terms to be discussed in more detail
below:

 shall         is required to – used to define requirements
 must          is a natural consequence of -- used only to describe unavoidable
               situations
 will          it is true that -- only used in statements of fact
 should        is recommended that – used to indicate that among several
               possibilities one is recommended as particularly suitable, but not
               required
 may           is permitted to – used to allow options
 can           is able to – used to relate statements in a causal fashion
 is            is defined as – used to further explain elements that are
               previously required or allowed
 note          <informational text ONLY>

For clarity of the definition of those terms, the following sections document why
and how they are used. For these sections only, the IEEE terms are italicized to
indicate their use as a noun. Uses and examples of the use of the terms in this
section are underlined.




Use of IEEE Language                                                      06 December 2016
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General Terminology and Interpretation


1.1 SHALL
The word shall is used to indicate mandatory requirements that shall be
followed in order to conform to the specification and from which no deviation is
permitted.

There is a strong implication that the presence of the word shall indicates a
testable requirement. All testable requirements shall be reflected in the
appropriate Implementation Conformance Statement (ICS). In turn, all ICS
indicators should be reflected in the Test Cases (TCs) either directly or
indirectly.

A direct reference is a specific test for the attribute cited in the text. For
example, a minimum value for a given parameter may be an entry in the TCs.
Indirect test coverage may be appropriate if the existence of the attribute is
requisite for passing a higher level test.

1.2 MUST
The word must shall not be used when stating mandatory requirements. Must
is used only to describe unavoidable situations and is seldom appropriate for
the text of a Specification.

An example of an appropriate use of the term must is: “the Bluetooth radios
must be in range of each other to communicate”.

1.3 WILL
The use of the word will shall not be used when stating mandatory
requirements. The term will is only used in statements of fact. As with the term
must, will is not generally applicable to the description of a protocol. An
example of appropriate use of will is: “when power is removed from the radio, it
can be assumed that communications will fail”.

1.4 SHOULD
Should equals is recommended that. The word should is used to indicate that
among several possibilities one is recommended as particularly suitable
without mentioning or excluding others. Alternatively it may indicate that a
certain course of action is preferred but not necessarily required. Finally, in the
negative form, it indicates a certain course of action is deprecated but not
prohibited.

In the Bluetooth Specification the term designates an optional attribute that
may require an entry in the ICS.

Explicit specification of alternatives should be done when using should.



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1.5 MAY
The word may is used to indicate a course of action permissible within the
limits of the specification. The term may equals is permitted. This is generally
used when there is a single, optional attribute described, but multiple
alternatives may be cited.

The use of may implies an optional condition in the ICS and therefore may
need to be reflected in the corresponding test cases.

This specification does not use the phrase may not except in the form may or
may not.

1.6 CAN
The word can is used for statements of possibility and capability, whether
material, physical, or causal. The term can equals is able to.

The term can shall be used only in informative text. It describes capabilities by
virtue of the rules established by normative text.




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2 GENERAL INTERPRETATION RULES

The following rules apply throughout this specification except where explicitly
overridden.

2.1 BINARY AND HEXADECIMAL VALUES
Binary numbers are normally written with a "b" suffix, so 1101b is the same as
the decimal number 13.

In some places a sequence of bits is written in quotation marks thus: '1010'.
Such sequences are not normally intended to be interpreted as numbers. The
order that the bits are to be processed will always be specified.

Hexadecimal numbers are written with a "0x" prefix, so 0x42 is the same as the
decimal number 66. The letters "a" to "f" are used to represent the digits 10 to
15, so 0x1a is the same as the decimal number 26. The case of letters in a
hexadecimal number is not significant.

Underscore characters may be placed between the digits of binary or
hexadecimal numbers to make them easier to interpret; these underscores
shall not affect the value. For example, 0010_1011b and 00101011b both equal
the decimal number 43.

All numbers not written in one of the above ways are decimal.

2.2 BIT NUMBERS AND BIT FIELDS
In some cases the specification needs to refer to some of the bits of an integer
value. Bits are always numbered from 0 as the least significant bit, so bit 0 of
1011b equals 1 while bit 2 equals 0. A single bit will be notated with a subscript,
as in CLK5.

Sometimes it is necessary to refer to a consecutive set of bits; for example,
given a value CLK it may be necessary to refer to bits 2 to 4 of CLK (that is, the
value equal to (CLK ÷ 4) modulo 8, or in C notation "(CLK >> 2) % 8" or "(CLK
>> 2) & 7"). This will be notated either by a subscript with a dash or by brackets
and a colon; the bit numbers will always be inclusive and the most significant
bit number is given first. For example, bits 2 to 4 of CLK are written CLK4-2 or
CLK[4:2].

2.3 SPECIFICATION OF BIT VALUES
Some values in this specification are divided into individual bits, each of which
has a description. If explicit bit values are not given then this description
represents the meaning when the bit equals 1 and the opposite applies when
the value is 0. For example, a description of:


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Bit 3: use 3-slot packets

means the same as:

Bit 3 = 1: use 3-slot packets;

Bit 3 = 0: do not use 3-slot packets.

2.4 RESERVED FOR FUTURE USE (RFU)
Where a field in a packet, PDU, or other data structure is described as
"Reserved for future use" (irrespective of whether in upper or lower case), the
device creating the structure shall set it to zero unless otherwise specified. Any
device receiving or interpreting the structure shall ignore that field; in particular,
it shall not reject the structure because of the value of the field.

Where a field, parameter, or other variable object can take a range of values
and some values are described as "Reserved for future use", devices shall not
set the object to that value. A device receiving an object with such a value
should reject it, and any data structure containing it, as being erroneous;
however, this does not apply in a context where the object is described as
being ignored or if it is specified to ignore unrecognized values.

The abbreviation "RFU" is equivalent to "Reserved for future use".

2.5 USE OF INVALID VALUES IN CHECKSUMS AND OTHER
CALCULATIONS
Where a field or value is used as part of a checksum, CRC, cryptographic key,
or other similar calculation, and the value sent to or received from the peer is
not valid (for example, it is an RFU field that has not been set to 0 by the
sender), the actual value sent or received shall be used in the calculation and it
shall not be replaced by a different valid value.

2.6 ASSIGNED NUMBER REQUIREMENTS
The Bluetooth SIG maintains a published set of assigned numbers on the
Bluetooth SIG Assigned Numbers web page. These assigned numbers are
grouped in various number spaces. Numbers assigned may overlap with other
assigned numbers in different number spaces, but no number within a number
space is permitted to be reused. The various number spaces are defined in the
specification that defines the usage of the assigned numbers.

All Assigned Numbers within a given number space shall only be designated
by the Bluetooth SIG and shall only be used for their intended purposes when
used within a field, parameter, or other variable object defined to take on a
value within that number space. All values not explicitly assigned within a given



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number space are Reserved for future use and subject to the requirements in
Section 2.4.

All 16-bit and 32-bit UUIDs as defined in [Vol 3] Part B, Section 2.5.1, are
considered assigned numbers. All other UUID values may be used in any
context where a UUID is permitted provided they are generated according to
the recommendations in ITU-T Rec. X.667(10/2012), alternatively known as
ISO/IEC 9834.8:2014.




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3 NAMING CONVENTIONS

3.1 BR/EDR
This section is not currently used.

3.2 BLUETOOTH LOW ENERGY

3.2.1 Link Layer PDUs

A consistent naming scheme is used for Link Layer PDUs to make their
purpose and usage clearer.

The PDU name consists of up to five components. Each component is entirely
uppercase. Those components that are present are separated by a single
underscore (e.g., if only three of the five components are present, there are two
underscores, not four). In order, these components are:

        1.     Where the PDU is used (optional)
        2.     When the PDU is used (mandatory)
        3.     What the PDU does (optional but usually present)
        4.     Version (optional)
        5.     How the PDU is used (mandatory)

The first component ("where") indicates which physical channel the PDU is
used on. The values currently used are shown in Table 3.1.

 Value       Meaning

 none        PDU is used on the primary advertising channel or any non-advertising channel
 AUX         PDU is used on the secondary advertising channel
Table 3.1: First component (“where”) values

The second component ("when") indicates which kind of Link Layer procedure
makes use of the PDU. The values currently used are shown in Table 3.2.

 Value                       Meaning

 ADV                         Normal Advertising
 SYNC                        Periodic Advertising

 SCAN                        Scanning
 CONNECT                     Connecting
 CHAIN                       Fragmented Data

Table 3.2: Second component (“when”) values

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 Value                      Meaning

 LL                         Data Link Layer
 DATA                       Reliable Data                            See Note 1
Table 3.2: Second component (“when”) values

 Note 1: This name is not currently used in the specification.

The third component ("what") distinguishes different PDUs that are found in the
same context. While it is normally present, it is sometimes omitted where there
is a "default" or "usual" case. This component may contain more than one word
separated by underlines.

For example, the different cases for legacy advertising are shown in Table 3.3.

 Value                                           Meaning

 none                                            Various
 DIRECT                                          Connectable directed
 NONCONN                                         Non-connectable and non-scannable undi-
                                                 rected

 SCAN                                            Scannable undirected
Table 3.3: Third component (“what”) values for legacy advertising

As another example, each Link Layer PDU has a value for this component
based on the specific procedure it is used for.

The fourth component ("version") distinguishes between PDUs with the same
purpose but different contents (usually because the original PDU was found to
be insufficient to handle new features). The values currently used are shown in
Table 3.4.

 Value                                           Meaning

 none                                            Original version of the PDU
 EXT                                             Extended version of the PDU
Table 3.4: Fourth component (“version”) values

The fifth and final component ("how") indicates how the PDU fits into a
procedure. The values currently used are shown in Table 3.5.

 Value                                           Meaning

 IND                                             An indication that doesn’t expect a reply
 REQ                                             A request that expects a response
Table 3.5: Fifth component (“how”) values


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 Value                                          Meaning

 RSP                                            A response to a request
Table 3.5: Fifth component (“how”) values

Some examples of this convention in use, showing how the PDU name breaks
up into the five components, are given in Table 3.6.

                                                      Components
         PDU name
                             where       when        what                 version       how

 ADV_IND                                 ADV                                            IND
 ADV_DIRECT_IND                          ADV         DIRECT                             IND

 ADV_EXT_IND                             ADV                              EXT           IND
 AUX_ADV_IND                 AUX         ADV                                            IND

 AUX_CHAIN_IND               AUX         CHAIN                                          IND
 SCAN_REQ                                SCAN                                           REQ
 AUX_SYNC_IND                AUX         SYNC                                           IND

 LL_PHY_UPDATE_IND                       LL          PHY_UPDATE                         IND
 LL_LENGTH_REQ                           LL          LENGTH                             REQ
 LL_LENGTH_RSP                           LL          LENGTH                             RSP

 LL_REJECT_IND                           LL          REJECT                             IND
 LL_REJECT_EXT_IND                       LL          REJECT               EXT           IND
Table 3.6: Examples

Thus AUX_SYNC_IND is a PDU used for synchronous advertising on the
secondary advertising channel that does not expect a response.




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         Core System
         Package
         [BR/EDR Controller volume]




         Specification of the Bluetooth® System

         Specification Volume 2




         Covered Core Package Version: 5.0
         Publication Date: Dec 06 2016
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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
https://www.bluetooth.org/en-us/specification/adopted-specifications




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    Core System Package [BR/EDR Controller volume]
                                                              Part A




        PART A: RADIO SPECIFICATION




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Radio Specification


1 SCOPE

Bluetooth devices operate in the unlicensed 2.4 GHz ISM (Industrial Scientific
Medical) band. A frequency hop transceiver is applied to combat interference
and fading.

Two modulation modes are defined. A mandatory mode, called Basic Rate,
uses a shaped, binary FM modulation to minimize transceiver complexity. An
optional mode, called Enhanced Data Rate, uses PSK modulation and has two
variants: π/4-DQPSK and 8DPSK. The symbol rate for all modulation modes is
1 Msym/s. The gross air data rate is 1 Mb/s for Basic Rate, 2 Mb/s for
Enhanced Data Rate using π/4-DQPSK and 3 Mb/s for Enhanced Data Rate
using 8DPSK.

A Time Division Duplex (TDD) scheme is used in both modes. This
specification defines the requirements for a Bluetooth radio for the Basic Rate
and Enhanced Data Rate modes.

Requirements are defined for two reasons:
• Provide compatibility between radios used in the system
• Define the quality of the system

The Bluetooth radio shall fulfil the stated requirements under the operating
conditions specified in Appendix A. The radio parameters shall be measured
according to the methods described in the RF Test Specification.

This specification is based on the established regulations for Europe, Japan
and North America. The standard documents listed below are only for
information, and are subject to change or revision at any time.

The Bluetooth SIG maintains regulatory content associated with Bluetooth
technology in the 2.4 GHz ISM band, posted at https://www.bluetooth.org/
regulatory/newindex.cfm.

Europe:

Approval Standards: European Telecommunications Standards Institute, ETSI
Documents: EN 300 328, EN 300 440, EN 301 489-17
Approval Authority: National Type Approval Authorities

Japan:

Approval Standards: Association of Radio Industries and Businesses, ARIB
Documents: ARIB STD-T66
Approval Authority: Ministry of Post and Telecommunications, MPT.




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North America:

Approval Standards: Federal Communications Commission, FCC, USA
Documents: CFR47, Part 15, Sections 15.205, 15.209, 15.247 and 15.249

Approval Standards: Industry Canada, IC, Canada
Documents: RSS-139 and RSS-210

Approval Authority: FCC (USA), Industry Canada (Canada)




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2 FREQUENCY BANDS AND CHANNEL
ARRANGEMENT

The Bluetooth system operates in the 2.4 GHz ISM band. This frequency band
is 2400 - 2483.5 MHz.

 Regulatory Range                RF Channels

 2.400-2.4835 GHz                f=2402+k MHz, k=0,…,78
Table 2.1: Operating frequency bands

RF channels are spaced 1 MHz and are ordered in channel number k as
shown in Table 2.1.




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3 TRANSMITTER CHARACTERISTICS

The requirements stated in this section are given as power levels at the
antenna connector of the Bluetooth device. If the device does not have a
connector, a reference antenna with 0 dBi gain is assumed.

Due to difficulty in measurement accuracy in radiated measurements, systems
with an integral antenna should provide a temporary antenna connector during
RF qualification testing.

If transmitting antennas of directional gain greater than 0 dBi are used, the
power level delivered to the antenna shall be compensated to comply with the
applicable paragraphs in relevant regulatory standards: EN 300 328,
EN 301 489-17 and FCC part 15.

Bluetooth devices are classified into three power classes based on their
highest output power capabilities.

 Power        Maximum Output    Nominal        Minimum
 Class        Power (Pmax)      Output Power   Output Power1       Power Control

 1            100 mW (20 dBm)   N/A            1 mW (0 dBm)        Pmin<+4 dBm to
                                                                   Pmax
                                                                   Optional:
                                                                   Pmin2 to Pmax
 2            2.5 mW (4 dBm)    1 mW (0 dBm)   0.25 mW (-6 dBm)    Optional:
                                                                   Pmin2 to Pmax

 3            1 mW (0 dBm)      N/A            N/A                 Optional:
                                                                   Pmin2 to Pmax

Table 3.1: Power classes
 1. Minimum output power at maximum power setting.
 2. The lower power limit Pmin<-30dBm is suggested but is not mandatory, and may be
    chosen according to application needs.


A power class 1 device shall support received power control requests. Power
control may be used to limit the transmitted power of a remote device to no
more than +4 dBm to prevent saturation of the receiver of the local device.
Support of received power control requests is optional for class 2 and class 3
devices but may be used to optimize the power consumption and reduce the
overall interference level for all devices that use the same spectrum that
Bluetooth devices use. The power steps shall form a monotonic sequence, with
a maximum step size of 8 dB and a minimum step size of 2 dB.

A class 1 device shall support handling of power control requests and shall be
able to adjust its transmit power down to 4 dBm or less. A device that supports
changing its transmit power controls the output power in a physical link in


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response to LMP commands received from a peer device that is capable of
sending such requests (see [Vol 2] Part C).

In a connection, the output power shall not exceed the maximum output power
of power class 2 for transmitting packets if the receiving device does not
support the necessary messaging for sending the power control messages,
see [Vol 2] Part C, Section 4.1.3. In this case, the transmitting device shall
comply with the rules of a class 2 or class 3 device.

If a class 1 device is paging or inquiring very close to another device, the input
power can be larger than the requirement in Section 4.1.5. This can cause the
receiving device to fail to respond. It may therefore be useful to page at class 2
or 3 power in addition to paging at power class 1.

The transmit power level difference between the packet headers of all
supported packet types at any given power step shall not exceed 10dB.

When communicating with a device that does not support enhanced power
control, an enhanced power control device shall have an equal number of
steps for each supported modulation scheme so that all supported modulation
modes shall reach their respective maximum (or minimum) levels at the same
time. The power levels may vary per modulation mode.

Devices shall not exceed the maximum allowed transmit power levels set by
the regulatory bodies that have jurisdiction over the locales in which the device
is to be sold or intended to operate. Implementers should be aware that the
maximum transmit power level permitted under a given set of regulations might
not be the same for all modulation modes.

3.1 BASIC RATE

3.1.1 Modulation Characteristics

The Modulation is GFSK (Gaussian Frequency Shift Keying) with a bandwidth-
bit period product BT=0.5. The Modulation index shall be between 0.28 and
0.35. A binary one shall be represented by a positive frequency deviation, and
a binary zero shall be represented by a negative frequency deviation. The
symbol timing shall be less than ±20 ppm.




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                                           Ideal Z ero C rossing
                     Ft+fd




                                                                     Fm in-
        T ransm it
       Frequency                                                                                   Tim e
            Ft                  F m in +




                                                                                                  F t - fd
                                                                   Z ero C rossing Error


Figure 3.1: GFSK parameters definition.


For each transmission, the minimum frequency deviation, Fmin = min{|Fmin+|,
Fmin-}, which corresponds to 1010 sequence shall be no smaller than ±80% of
the frequency deviation (fd) with respect to the transmit frequency Ft, which
corresponds to a 00001111 sequence.

In addition, the minimum frequency deviation shall never be smaller than 115
kHz. The data transmitted has a symbol rate of 1 Msym/s.

The zero crossing error is the time difference between the ideal symbol period
and the measured crossing time. This shall be less than ± 1/8 of a symbol period.

3.1.2 Spurious Emissions

In-band spurious emissions shall be measured with a frequency hopping radio
transmitting on one RF channel and receiving on a second RF channel; this
means that the synthesizer may change RF channels between reception and
transmission, but always returns to the same transmit RF channel. The
equipment manufacturer is responsible for compliance in the intended country
of use.

3.1.2.1 In-Band spurious emission

Within the ISM band the transmitter shall pass a spectrum mask, given in
Table 3.2. The spectrum shall comply with the 20 dB bandwidth definition in
FCC part 15.247 and shall be measured accordingly. In addition to the FCC
requirement an adjacent channel power on adjacent channels with a difference
in RF channel number of two or greater is defined. This adjacent channel
power is defined as the sum of the measured power in a 1 MHz bandwidth. The
transmitted power shall be measured in a 100 kHz bandwidth using maximum

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hold. The device shall transmit on RF channel M and the adjacent channel
power shall be measured on RF channel number N. The transmitter shall
transmit a pseudo random data pattern in the payload throughout the test.

 Frequency offset                      Transmit Power

 ± 500 kHz                             -20 dBc

 2MHz (|M-N| = 2)                      -20 dBm
 3MHz or greater (|M-N| ≥ 3)           -40 dBm
Table 3.2: Transmit Spectrum mask.
 Note: If the output power is less than 0dBm then, wherever appropriate, the FCC's 20 dB
   relative requirement overrules the absolute adjacent channel power requirement stated
   in the above table.

Exceptions are allowed in up to three bands of 1 MHz width centered on a
frequency which is an integer multiple of 1 MHz. They shall comply with an
absolute value of –20 dBm.

3.1.3 Radio Frequency Tolerance

The transmitted initial center frequency shall be within ±75 kHz from Fc. The
initial frequency accuracy is defined as being the frequency accuracy before
any packet information is transmitted. Note that the frequency drift requirement
is not included in the ±75 kHz.

The limits on the transmitter center frequency drift within a packet are specified
in Table 3.3. The different packets are defined in the Baseband Specification.

 Duration of Packet                    Frequency Drift

 Max length one slot packet            ±25 kHz
 Max length three slot packet          ±40 kHz
 Max length five slot packet           ±40 kHz

 Maximum drift rate1                   400 Hz/µs

Table 3.3: Maximum allowable frequency drifts in a packet.
 1. The maximum drift rate is allowed anywhere in a packet.


3.2 ENHANCED DATA RATE
A key characteristic of the Enhanced Data Rate mode is that the modulation
mode is changed within the packet. The access code and packet header, as
defined in [Vol 2] Part B, Table 6.1, are transmitted with the Basic Rate 1 Mb/s
GFSK modulation mode, whereas the subsequent synchronization sequence,
payload, and trailer sequence are transmitted using the Enhanced Data Rate
PSK modulation mode.


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3.2.1 Modulation Characteristics

During access code and packet header transmission the Basic Rate GFSK
modulation mode shall be used. During the transmission of the synchronization
sequence, payload, and trailer sequence a PSK type of modulation with a data
rate of 2 Mb/s or optionally 3 Mb/s shall be used. The following subsections
specify the PSK modulation for this transmission.

3.2.1.1 Modulation Method Overview

The PSK modulation format defined for the 2 Mb/s transmission shall be π/4
rotated differential encoded quaternary phase shift keying (π/4-DQPSK).

The PSK modulation format defined for the 3 Mb/s transmission shall be
differential encoded 8-ary phase shift keying (8DPSK).

The modulation shall employ square-root raised cosine pulse shaping to
generate the equivalent lowpass information-bearing signal v(t). The output of
the transmitter shall be a bandpass signal that can be represented as

                                                           j2πF c t
                                   S ( t ) = Re v ( t )e                                                (EQ 1)


with Fc denoting the carrier frequency.

3.2.1.2 Differential Phase Encoding

For the M-ary modulation, the binary data stream {bn}, n=1,2,3, …N, shall be
mapped onto a corresponding sequence {Sk}, k=1,2, …N/log2(M) of complex
valued signal points. M=4 applies for 2 Mb/s and M=8 applies for 3 Mb/s. Gray
coding shall be applied as shown in Table 3.4 and Table 3.5. In the event that
the length of the binary data stream N is not an integer multiple of log2(M), the
last symbol of the sequence {Sk} shall be formed by appending data zeros to
the appropriate length. The signal points Sk shall be defined by:

                                            jϕ k
                         Sk = Sk – 1 e                    k = 1, 2, ..N/ log 2 ( M )                    (EQ 2)



                                       jφ
                              S0 = e               with φ ∈ [ 0, 2π )                                   (EQ 3)




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The relationship between the binary input bk and the phase φk shall be as
defined in Table 3.4 for the 2 Mb/s transmission and in Table 3.5 for the 3 Mb/s
transmission.

 b2k-1                        b2k                 ϕk

 0                            0                   π/4

 0                            1                   3π/4

 1                            1                   -3π/4
 1                            0                   -π/4
Table 3.4: π/4-DQPSK mapping




 b3k-2               b3k-1           b3k                  ϕk

 0                   0               0                    0
 0                   0               1                    π/4

 0                   1               1                    π/2

 0                   1               0                    3π/4
 1                   1               0                    π

 1                   1               1                    -3π/4
 1                   0               1                    -π/2
 1                   0               0                    -π/4

Table 3.5: 8DPSK mapping


3.2.1.3 Pulse Shaping

The lowpass equivalent information-bearing signal v(t) shall be generated
according to

                                    v ( t ) =  S k p ( t – kT )                    (EQ 4)
                                              k

in which the symbol period T shall be 1µs.

The frequency spectrum P(f), which corresponds to the square-root raised
cosine pulse p(t) of the pulse shaping filter is:




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                
                                                                                           1–β
                                                    1                               0 ≤ f ≤ ------------
                                                                                              2T
                
         P(f) =              1---            π(2 f T – 1)                               – β-         1+β                (EQ 5)
                                     1 – sin  ------------------------------- 
                                                                                    1-----------
                                                                                                ≤ f ≤ ------------
                              2                          2β                        2T                2T
                                                   0                                elsewhere
                

The roll off factor β shall be 0.4.

3.2.1.4 Modulation Accuracy

The measurement of modulation accuracy utilizes differential error vector
magnitude (DEVM) with tracking of the carrier frequency drift. The definition of
DEVM and the derivation of the RMS and peak measures of DEVM are given
in Appendix C.

The DEVM shall be measured over the synchronization sequence and payload
portions of the packet, but not the trailer symbols. For each modulation method
and each measurement carrier frequency, the DEVM measurement is made
over a total of 200 non-overlapping blocks, where each block contains 50
symbols.

The transmitted packets shall be the longest supported packet type for each
modulation method, as defined in [Vol 2] Part B, Table 6.9 and [Vol 2] Part B,
Table 6.10.

The DEVM is measured using a square-root raised cosine filter, with a roll-off
of 0.4 and a 3 dB bandwidth of ±500 kHz.

3.2.1.4.1 RMS DEVM

The RMS DEVM for any of the measured blocks shall not exceed 0.20 for
π/4-DQPSK and 0.13 for 8DPSK.

3.2.1.4.2 99% DEVM

The 99% DEVM (defined as the DEVM value for which 99% of measured
symbols have a lower DEVM) shall not exceed 0.30 for π/4-DQPSK and 0.20
for 8DPSK.

3.2.1.4.3 Peak DEVM

The Peak DEVM shall not exceed 0.35 for π/4-DQPSK and 0.25 for 8DPSK.




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3.2.2 Spurious Emissions

In-band spurious emissions shall be measured with a frequency hopping radio
transmitting on one RF channel and receiving on a second RF channel; this
means that the synthesizer may change RF channels between reception and
transmission, but always returns to the same transmit RF channel. The
equipment manufacturer is responsible for compliance in the intended country
of use.

3.2.2.1 In-Band Spurious Emission

Within the ISM band the power spectral density of the transmitter shall comply
with the following requirements when sending pseudo random data. All power
measurements shall use a 100 kHz bandwidth with maximum hold. The power
measurements between 1 MHz and 1.5 MHz from the carrier shall be at least
26 dB below the maximum power measurement up to 500 kHz from the carrier.
The adjacent channel power for channels at least 2 MHz from the carrier is
defined as the sum of the power measurements over a 1 MHz channel and
shall not exceed -20 dBm for the second adjacent channels and -40 dBm for
the third and subsequent adjacent channels. These requirements shall apply to
the transmitted signal from the start of the guard time to the end of the power
down ramp. The spectral mask is illustrated in Figure 3.2.

Exceptions are allowed in up to 3 bands of 1 MHz width centered on a
frequency which is an integer multiple of 1 MHz. They shall comply with an
absolute value of –20 dBm.




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                                                                         26 dB




                                                                                      -20 dBm



                                                                                                      -40 dBm




     FC - 2.5 MHz      FC - 1.5 MHz   FC - 1 MHz   Carrier FC   FC + 1 MHz   FC + 1.5 MHz       FC + 2.5 MHz


Figure 3.2: Transmitter spectrum mask


3.2.3 Radio Frequency Tolerance

The same carrier frequencies Fc as used for Basic Rate transmissions shall be
used for the Enhanced Data Rate transmissions. The transmitted initial center
frequency accuracy shall be within ±75 kHz from Fc. The maximum excursion
from Fc (frequency offset plus drift) shall not exceed ±75 kHz.

The initial frequency accuracy is defined as being the frequency accuracy
before any information is transmitted.




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                                               Sync
              Access Code     Header   Guard                  Payload       Trailer
                                               Word


                                                Maximum Excursion




                                                                                      ±10 kHz

            ±75 kHz

     FC




                                                Maximum Excursion

Figure 3.3: Carrier frequency mask


The requirements on accuracy and stability are illustrated by Figure 3.3 for the
Enhanced Data Rate packet format defined in Definition: Baseband
Specification . The higher frequency accuracy requirement shall start at the first
symbol of the header. The maximum drift over the header, synchronization
sequence and payload shall be ±10 kHz.

3.2.4 Relative Transmit Power

The requirement on the relative power of the GFSK and DPSK portions of the
Enhanced Data Rate packet is defined as follows. The average power level
during the transmission of access code and header is denoted as PGFSK and
the average power level during the transmission of the synchronization
sequence and the payload is denoted as PDPSK. The following inequalities
shall be satisfied independently for each Enhanced Data Rate packet
transmitted:

(PGFSK - 4 dB) < PDPSK < (PGFSK +1 dB)




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4 RECEIVER CHARACTERISTICS

The receiver characteristics shall be measured using loopback as defined in
[Vol 3] Part D, Section 1.

The reference sensitivity level referred to in this chapter is -70 dBm.

4.1 BASIC RATE

4.1.1 Actual Sensitivity Level

The actual sensitivity level is defined as the input level for which a raw bit error
rate (BER) of 0.1% is met. The receiver sensitivity shall be below or equal to
–70 dBm with any Bluetooth transmitter compliant to the transmitter
specification specified in Section 3.

4.1.2 Interference Performance

The interference performance on Co-channel and adjacent 1 MHz and 2 MHz
shall be measured with the wanted signal 10 dB over the reference sensitivity
level. For interference performance on all other RF channels the wanted signal
shall be 3 dB over the reference sensitivity level. If the frequency of an
interfering signal is outside of the band 2400-2483.5 MHz, the out-of-band
blocking specification (see Section 4.1.3) shall apply. The interfering signal
shall be Bluetooth-modulated (see Section 4.1.7). The BER shall be ≤0.1% for
all the signal-to-interference ratios listed in Table 4.1:

 Frequency of Interference                                                 Ratio

 Co-Channel interference, C/Ico-channel                                    11 dB

 Adjacent (1 MHz) interference1, C/I1MHz                                   0 dB

 Adjacent (2 MHz) interference1, C/I2MHz                                   -30 dB

 Adjacent (≥3 MHz) interference1, C/I≥3MHz                                 -40 dB

 Image frequency Interference1 2 3, C/IImage                               -9 dB

 Adjacent (1 MHz) interference to in-band image frequency1,                -20 dB
 C/IImage±1MHz

Table 4.1: Interference performance
 1. If two adjacent channel specifications from Table 4.1 are applicable to the same chan-
    nel, the more relaxed specification applies.
 2. In-band image frequency
 3. If the image frequency ≠ n*1 MHz, then the image reference frequency is defined as
    the closest n*1 MHz frequency for integer n.




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These specifications are only to be tested at nominal temperature conditions
with a device receiving on one RF channel and transmitting on a second RF
channel; this means that the synthesizer may change RF channels between
reception and transmission, but always returns to the same receive RF
channel.

RF channels where the requirements are not met are called spurious response
RF channels. Five spurious response RF channels are allowed at RF channels
with a distance of ≥2 MHz from the wanted signal. On these spurious response
RF channels a relaxed interference requirement C/I = -17 dB shall be met.

4.1.3 Out-of-Band Blocking

The out-of-band suppression (or rejection) shall be measured with the wanted
signal 3 dB over the reference sensitivity level. The interfering signal shall be a
continuous wave signal. The BER shall be ≤0.1%. The out-of-band blocking
shall fulfil the following requirements:

 Interfering Signal              Interfering Signal Power
 Frequency                       Level

 30 MHz - 2000 MHz               -10 dBm

 2000 - 2399 MHz                 -27 dBm
 2484 – 3000 MHz                 -27 dBm
 3000 MHz – 12.75 GHz            -10 dBm

Table 4.2: Out-of-band suppression (or rejection) requirements.

24 exceptions are permitted which are dependent upon the given RF channel
and are centered at a frequency which is an integer multiple of 1 MHz. For at
least 19 of these spurious response frequencies, a reduced interference level
of at least -50dBm is allowed in order to achieve the required BER=0.1%
performance, whereas for a maximum of 5 of the spurious frequencies the
interference level may be assumed arbitrarily lower.

4.1.4 Intermodulation Characteristics

The reference sensitivity performance, BER = 0.1%, shall be met under the
following conditions:
• The wanted signal shall be at frequency f0 with a power level 6 dB over the
  reference sensitivity level.
• A static sine wave signal shall be at a frequency f1 with a power level of –39
  dBm.
• A Bluetooth modulated signal (see Section 4.1.7) shall be at f2 with a power
  level of -39 dBm.



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Frequencies f0, f1 and f2 shall be chosen such that f0=2f1-f2 and  f2-f1 =n*1
MHz, where n can be 3, 4, or 5. The system shall fulfill at least one of the three
alternatives (n=3, 4, or 5).

4.1.5 Maximum Usable Level

The maximum usable input level that the receiver operates at shall be greater
than -20 dBm. The BER shall be less than or equal to 0.1% at –20 dBm input
power.

4.1.6 Receiver Signal Strength Indicator

If a device supports Receive Signal Strength Indicator (RSSI) the accuracy
shall be +/- 6 dB.

4.1.7 Reference Signal Definition

A Bluetooth modulated interfering signal shall be defined as:
   Modulation = GFSK
   Modulation index = 0.32±1%
   BT= 0.5±1%
   Bit Rate = 1 Mb/s ±1 ppm
   Modulating Data for wanted signal = PRBS9
   Modulating Data for interfering signal = PRBS15
   Frequency accuracy better than ±1 ppm.

4.2 ENHANCED DATA RATE

4.2.1 Actual Sensitivity Level

The actual sensitivity level shall be defined as the input level for which a raw bit
error rate (BER) of 0.01% is met. The requirement for a Bluetooth π/4-DQPSK
and 8DPSK Enhanced Data Rate receiver shall be an actual sensitivity level of
–70 dBm or better. The receiver shall achieve the –70 dBm sensitivity level with
any Bluetooth transmitter compliant to the Enhanced Data Rate transmitter
specification as defined in Section 3.2.

4.2.2 BER Floor Performance

The receiver shall achieve a BER less than 0.001% at 10 dB above the
reference sensitivity level.




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4.2.3 Interference Performance

The interference performance for co-channel and adjacent 1 MHz and 2 MHz
channels shall be measured with the wanted signal 10 dB above the reference
sensitivity level. On all other frequencies the wanted signal shall be 3 dB above
the reference sensitivity level. The requirements in this section shall only apply
if the frequency of the interferer is inside of the band 2400-2483.5 MHz.

The interfering signal for co-channel interference shall be similarly modulated
as the desired signal. The interfering signal for other channels shall be
equivalent to a nominal Bluetooth Basic Rate GFSK transmitter. The interfering
signal shall carry random data.

A BER of 0.1% or better shall be achieved for the signal to interference ratios
defined in Table 4.3.

 Frequency of Interference                   π/4-DQPSK Ratio          8DPSK Ratio

 Co-Channel interference, C/I co-channel     13 dB                    21 dB

 Adjacent (1 MHz) interference1, C/I1MHz     0 dB                     5 dB

 Adjacent (2MHz) interference1, C/I2MHz      -30 dB                   -25 dB

 Adjacent (≥3MHz) interference1              -40 dB                   -33 dB

 Image frequency interference1,2,3,          -7 dB                    0 dB
 C/IImage

 Adjacent (1 MHz) interference to in-band    -20 dB                   -13 dB
 image frequency1,2,3,C/IImage ±1MHz

Table 4.3: Interference Performance
 1. If two adjacent channel specifications from Table 4.3 are applicable to the same chan-
    nel, the more relaxed specification applies.
 2. In-band image frequency.
 3. If the image frequency is not equal to n*1 MHz, then the image reference frequency is
    defined as the closest n*1 MHz frequency for integer n.


These specifications are only to be tested at nominal temperature conditions
with a receiver hopping on one frequency; this means that the synthesizer may
change frequency between receive slot and transmit slot, but always returns to
the same receive frequency.

Frequencies where the requirements are not met are called spurious response
frequencies. Five spurious response frequencies are allowed at frequencies
with a distance of ≥2 MHz from the wanted signal. On these spurious response
frequencies a relaxed interference requirement C/I = -15 dB for π/4-DQPSK
and C/I = -10 dB for 8DPSK shall be met.




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4.2.4 Maximum Usable Level

The maximum usable input level that the receiver operates at shall be greater
than -20 dBm. The BER shall be less than or equal to 0.1% at -20 dBm input
power.

4.2.5 Out-of-Band and Intermodulation Characteristics

The Basic Rate out-of-band blocking and intermodulation requirements ensure
adequate Enhanced Data Rate performance, and therefore there are no
specific requirements for Enhanced Data Rate.

4.2.6 Reference Signal Definition

A 2 Mb/s Bluetooth signal used as "wanted" or "interfering signal" is defined as:

Modulation = π/4-DQPSK
Symbol Rate = 1 Ms/s ± 1 ppm
Frequency accuracy better than ±1 ppm
Modulating Data for wanted signal = PRBS9
Modulating Data for interfering signal = PRBS15
RMS Differential Error Vector Magnitude < 5%
Average power over the GFSK and DPSK portions of the packet shall be equal
to within +/- 1 dB

A 3 Mb/s Bluetooth signal used as "wanted" or "interfering signal" is defined as:

Modulation = 8DPSK
Symbol Rate = 1 Ms/s ± 1 ppm
Frequency accuracy better than ±1 ppm
Modulating Data for wanted signal = PRBS9
Modulating Data for interfering signal = PRBS15
RMS Differential Error Vector Magnitude < 5%
Average power over the GFSK and DPSK portions of the packet shall be equal
to within +/- 1 dB




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APPENDIX A TEST CONDITIONS

A.1 NOMINAL TEST CONDITIONS

A.1.1 Nominal Temperature

The nominal temperature conditions for tests shall be +15 to +35 °C. When it is
impractical to carry out the test under this condition a note to this effect, stating
the ambient temperature, shall be recorded. The actual value during the test
shall be recorded in the test report.

A.1.2 Nominal Power Source

The normal test voltage for the equipment shall be the nominal voltage for
which the equipment was designed.

A.2 EXTREME TEST CONDITIONS

A.2.1 Extreme Temperatures

Where tests at extreme temperatures are required, measurements shall be
made over the extremes of the operating temperature range as declared by the
manufacturer.




Appendix A: Test Conditions                                             06 December 2016
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APPENDIX B THIS SECTION NO LONGER USED




Appendix B: This section no longer used                     06 December 2016
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APPENDIX C MODULATION ACCURACY
                                DEFINITION

C.1 ENHANCED DATA RATE MODULATION ACCURACY
The Enhanced Data Rate modulation accuracy is defined by the differential
error vector, being the difference between the vectors representing
consecutive symbols of the transmitted signal, after passing the signal through
a specified measurement filter, sampling it at the symbol rate with an optimum
sampling phase and compensating it for carrier frequency error and for the
ideal carrier phase changes. The magnitude of the normalized differential error
vector is called the Differential Error Vector Magnitude (DEVM). The objective
of the DEVM is to estimate the modulation errors that would be perceived by a
differential receiver.

In an ideal transmitter, the input bit sequence {bj} is mapped onto a complex
valued symbol sequence {Sk}. Subsequently, this symbol sequence is
transformed into a baseband signal S(t) by means of a pulse-shaping filter.

In an actual transmitter implementation, the bit sequence {bj} generates a
baseband equivalent transmitted signal Y(t). This signal Y(t) contains, besides
the desired component S(t), multiple distortion components. This is illustrated
in Figure C.1.


                                                 Actual TX

                 Ideal TX (Baseband)

        {bj}                 {Sk}       Pulse     S(t)                 Y(t)              R(t)
                    Mapper
                                       Shaping
                                                         Distortions             X




                                                                              H[S MȦct)
Figure C.1: TX model


Let Z(t) be the output of the measurement filter after first compensating the
received signal for the initial center frequency error, ωi, of the received packet,
i.e. the output after down conversion and filtering the transmit signal R(t) (see
Figure C.2).The measurement filter is defined by a square-root raised cosine
shaping filter with a roll-off factor equal to 0.4 and 3 dB bandwidth of ±500 kHz.

Let {Zk(ε)} be the sequence of samples obtained by sampling the signal Z(t)
with a sampling period equal to the symbol period T and a sampling phase


Appendix C: Modulation Accuracy Definition                                            06 December 2016
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equal to ε such that Zk(ε)=Z((k+ε)T). Note that this sequence {Zk(ε)} would
coincide with the symbol sequence {Sk} if no distortion is present and the
correct timing phase ε is chosen.

To reflect the behavior of a typical differential receiver, the sample sequence
{Zk(ε)} should be compensated for carrier frequency drift. Therefore, the
sequence {Zk(ε)} is multiplied by a factor W-k in which W = ejωT accounts for the
frequency offset ω. A constant value of ω is used for each DEVM block of N =
50 symbols, but ω may vary between DEVM blocks (note that the values of ω
can be used to measure carrier frequency drift.

In addition, {Zk(ε)} is compensated for the ideal phase changes between
symbols by multiplying it with the complex conjugate of the symbol sequence
{Sk}. However, it is not necessary to compensate {Zk(ε)} for initial carrier phase
or output power of the transmitter.

Let {Qk(ε,ω)} denote the compensated sequence {Zk(ε)}, where the ideal phase
changes have been removed and ε and ω are chosen optimally to minimize the
DEVM, (i.e. remove time and frequency uncertainty). For a transmitter with no
distortions other than a constant frequency error, {Qk(ε,ω)} is a complex
constant that depends on the initial carrier phase and the output power of the
transmitter.

The differential error sequence {Ek(ε,ω)} is defined as the difference between
{Qk(ε,ω)} and {Qk-1(ε,ω)}. This reflects the modulation errors that would be
perceived by a differential receiver. For a transmitter with no distortions other
than a constant frequency error, {Ek(ε,ω)} is zero.

The definitions of the DEVM measures are based upon this differential error
sequence {Ek(ε,ω)}. The generation of the error sequence is depicted in Figure
C.2.

                                                                             -

                                                    Delay
                                                                                 Ek İȦ
                                                    1 μs

                                                                             +




                                                                         Qk İȦ


                              Measurement    Z(t)           Zk İ
    R(t)
                                 Filter




             e M ȦcȦi)t                                          Sk*·W-k


Figure C.2: Error sequence generation

Appendix C: Modulation Accuracy Definition                                             06 December 2016
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C.1.1 RMS DEVM

The root mean squared DEVM (RMS DEVM) computed over N = 50 symbols is
defined as:


                                             N                           N
         RMS DEVM = min                              Ek(     )   2
                                                                             Qk(   )   2                (EQ 6)

                                             k=1                      k=1

As can be seen from the expression above, the RMS DEVM is the square-root
of the normalized power of the error.

C.1.2 Peak DEVM

The DEVM at symbol k is defined as:


                                                                     
                                                     Ek HZ
                           DEVM (k) =                                                                   (EQ 7)
                                                 N


                                             6j=1
                                                          Qj HZ
                                                                         
                                                                             N


where ε0 and ω0 are the values for ε and ω used to calculate the RMS DEVM.

The peak DEVM is defined as:

                           Peak DEVM = max {DEVM (k)}                                                   (EQ 8)
                                                      k




Appendix C: Modulation Accuracy Definition                                                   06 December 2016
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    Core System Package [BR/EDR Controller volume]
                                                              Part B




                             PART B: BASEBAND
                                SPECIFICATION




                         This document describes the
                         specification of the Bluetooth Link
                         Controller which carries out the
                         baseband protocols and other low-
                         level link routines.




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1 GENERAL DESCRIPTION

This part specifies the normal operation of a Bluetooth baseband.

The Bluetooth system provides a point-to-point connection or a point-to-
multipoint connection, see (a) and (b) in Figure 1.1. In a point-to-point
connection the physical channel is shared between two Bluetooth devices. In a
point-to-multipoint connection, the physical channel is shared among several
Bluetooth devices. Two or more devices sharing the same physical channel
form a piconet. One Bluetooth device acts as the master of the piconet,
whereas the other device(s) act as slave(s). Up to seven slaves can be active
in the piconet. The channel access is controlled by the master. An unlimited
number of slaves can receive data on the physical channel carrying the
Connectionless Slave Broadcast physical link.
Piconets that have common devices are called a scatternet, see (c) in Figure
1.1. Each piconet only has a single master, however, slaves can participate in
different piconets on a time-division multiplex basis. In addition, a master in
one piconet can be a slave in other piconets. Piconets shall not be frequency
synchronized and each piconet has its own hopping sequence.


                                          Master
                                          Slave




       a                 b                                      c
Figure 1.1: Piconets with a single slave operation (a), a multi-slave operation (b) and a scatternet
operation (c)


Data is transmitted over the air in packets. Two modes are defined: a
mandatory mode called Basic Rate and an optional mode called Enhanced
Data Rate. The symbol rate for all modulation modes is 1 Msym/s. The gross
air data rate is 1 Mb/s for Basic Rate. Enhanced Data Rate has a primary
modulation mode that provides a gross air data rate of 2 Mb/s, and a
secondary modulation mode that provides a gross air data rate of 3 Mb/s.

The general Basic Rate packet format is shown in Figure 1.2. Each packet
consists of 3 entities: the access code, the header, and the payload.



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         ACCESS
                        HEADER                     PAYLOAD
          CODE


Figure 1.2: Standard Basic Rate packet format


The general Enhanced Data Rate packet format is shown in Figure 1.3. Each
packet consists of 6 entities: the access code, the header, the guard period, the
synchronization sequence, the Enhanced Data Rate payload and the trailer.
The access code and header use the same modulation mode as for Basic Rate
packets while the synchronization sequence, the Enhanced Data Rate payload
and the trailer use the Enhanced Data Rate modulation mode. The guard time
allows for the transition between the modulation modes.


     ACCESS                                        ENHANCED DATA
                      HEADER   GUARD     SYNC                            T R A IL E R
      CODE                                          RATE PAYLOAD

                 GFSK                                    DPSK

Figure 1.3: Standard Enhanced Data Rate packet format


1.1 BLUETOOTH CLOCK
Every Bluetooth device shall have a native clock that shall be derived from a
free running reference clock. Offsets may be added to the reference clock to
synchronize the native clock with other non-Bluetooth systems. For
synchronization with other Bluetooth devices, offsets are used that, when
added to the native clock, provide temporary Bluetooth clocks that are mutually
synchronized. It should be noted that the Bluetooth clock has no relation to the
time of day; it may therefore be initialized to any value. The clock has a cycle of
about a day. If the clock is implemented with a counter, a 28-bit counter is
required that shall wrap around at 228-1. The least significant bit (LSB) shall
tick in units of 312.5 μs (i.e. half a time slot), giving a clock rate of 3.2 kHz.

The clock determines critical periods and triggers the events in the device.
Four periods are important in the Bluetooth system: 312.5 μs, 625 μs, 1.25 ms,
and 1.28 s; these periods correspond to the timer bits CLK0, CLK1, CLK2, and
CLK12, respectively, see Figure 1.4.




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 CLK 27                       12 11 10 9   8   7   6   5   4   3    2   1   0          3.2kHz


                                                                            312.5μs
                                                                       625μs
                                                                   1.25ms
                              1.28s


Figure 1.4: Bluetooth clock


In the different modes and states a device can reside in, the clock has different
appearances:
• CLKR                          reference clock
• CLKN                          native clock
• CLKE                          estimated clock
• CLK                           master clock

CLKR is the reference clock driven by the free running system clock. CLKN
may be offset from the reference clock by a timing offset. In STANDBY and in
Hold, Sniff, and Connectionless Slave Broadcast modes the reference clock
shall have a worst case accuracy of+/-250ppm. In all other circumstances, it
shall have a worst case accuracy of +/-20ppm; this accuracy shall also be used
by the piconet master device while performing Piconet Clock Adjustment (see
Section 8.6.10).

See Section 2.2.4 for the definition of CLK and Section 2.4.1 for the definition
of CLKE.

The master may adjust its native clock during the existence of the piconet
within certain limits (see Section 8.6.10.3). The master may also perform a
coarse adjustment of the native clock by using the LMP_clk_adj sequence.

1.2 BLUETOOTH DEVICE ADDRESSING
Each Bluetooth device shall be allocated a unique 48-bit Bluetooth device
address (BD_ADDR). The address shall be a 48-bit extended unique identifier
(EUI-48) created in accordance with section 8.2 ("Universal addresses") of the
IEEE 802-2014 standard (http://standards.ieee.org/findstds/standard/802-
2014.html).

Creation of a valid EUI-48 requires one of the following MAC Address Block
types to be obtained from the IEEE Registration Authority:
• MAC Address Block Large (MA-L)
• MAC Address Block Medium (MA-M)
• MAC Address Block Small (MA-S)

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See http://standards.ieee.org/develop/regauth/index.html for information on
obtaining one of these MAC Address Blocks. See also the "Guidelines for 48-
bit Global Identifier (EUI-48)" (https://standards.ieee.org/develop/regauth/tut/
eui48.pdf) for a tutorial on creation of EUI-48 addresses.

Figure 1.5 illustrates how the LAP, UAP, and NAP map to the EUI-48.
The bit pattern in Figure 1.5 is an example BD_ADDR.


         LSB                                                   MSB
                                   EUI-48

                      LAP                UAP            NAP

         0000 0001 0000 0000 0000 0000 0001 0010 0111 1011 0011 0101


Figure 1.5: Format of BD_ADDR


The BD_ADDR may take any values except those that would have any of the 64
reserved LAP values for general and dedicated inquiries (see Section 1.2.1).

1.2.1 Reserved Addresses
A block of 64 contiguous LAPs is reserved for inquiry operations; one LAP
common to all devices is reserved for general inquiry, the remaining 63 LAPs
are reserved for dedicated inquiry of specific classes of devices (see Assigned
Numbers). The same LAP values are used regardless of the contents of UAP
and NAP. Consequently, none of these LAPs can be part of a user BD_ADDR.
The reserved LAP addresses are 0x9E8B00-0x9E8B3F. The general inquiry
LAP is 0x9E8B33. All addresses have the LSB at the rightmost position,
hexadecimal notation. The default check initialization (DCI) is used as the UAP
whenever one of the reserved LAP addresses is used. The DCI is defined to be
0x00 (hexadecimal).

1.3 ACCESS CODES
In the Bluetooth system all transmissions over the physical channel begin with
an access code. Three different access codes are defined, see also Section
6.3.1:
• device access code (DAC)
• channel access code (CAC)
• inquiry access code (IAC)

All access codes are derived from the LAP of a device address or an inquiry
address. The device access code is used during page, page scan and page
response substates and shall be derived from the paged device’s BD_ADDR.
The channel access code is used in the CONNECTION state,

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synchronization train substate, and synchronization scan substate, and
forms the beginning of all packets exchanged on the piconet physical channel.
The channel access code shall be derived from the LAP of the master’s
BD_ADDR. Finally, the inquiry access code shall be used in the inquiry
substate. There is one general IAC (GIAC) for general inquiry operations and
there are 63 dedicated IACs (DIACs) for dedicated inquiry operations.

The access code also indicates to the receiver the arrival of a packet. It is used
for timing synchronization and offset compensation. The receiver correlates
against the entire synchronization word in the access code, providing very
robust signaling.




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2 PHYSICAL CHANNELS

The lowest architectural layer in the Bluetooth system is the physical channel.
A number of types of physical channels are defined. All Bluetooth physical
channels are characterized by the combination of a basic pseudo-random
frequency hopping sequence (which, for physical links on the adapted piconet
physical channel, is then modified by the AFH_channel_map (defined in [Vol 2]
Part C, Section 5.2) for that link), the specific slot timing of the transmissions,
the access code and packet header encoding. These aspects, together with
the range of the transmitters, define the signature of the physical channel. For
the basic and adapted piconet physical channels frequency hopping is used to
change frequency periodically to reduce the effects of interference and to
satisfy local regulatory requirements.

Two devices that wish to communicate use a shared physical channel for this
communication. To achieve this, their transceivers must be tuned to the same RF
frequency at the same time, and they must be within a nominal range of each
other.

Given that the number of RF carriers is limited and that many Bluetooth
devices could be operating independently within the same spatial and temporal
area there is a strong likelihood of two independent Bluetooth devices having
their transceivers tuned to the same RF carrier, resulting in a physical channel
collision. To mitigate the unwanted effects of this collision each transmission on
a physical channel starts with an access code that is used as a correlation
code by devices tuned to the physical channel. This channel access code is a
property of the physical channel. The access code is always present at the
start of every transmitted packet.

Several Bluetooth physical channels are defined. Each is optimized and used
for a different purpose. Two of these physical channels (the basic piconet
channel and adapted piconet channel) are used for communication between
connected devices and are associated with a specific piconet. Other physical
channels are used for discovering (the inquiry scan channel) and connecting
(the page scan channel) Bluetooth devices. The synchronization scan physical
channel is used by devices to obtain timing and frequency information about
the Connectionless Slave Broadcast physical link or to recover the current
piconet clock.

A Bluetooth device can only use one of these physical channels at any given
time. In order to support multiple concurrent operations the device uses time-
division multiplexing between the channels. In this way a Bluetooth device can
appear to operate simultaneously in several piconets, as well as being
discoverable and connectable.

Whenever a Bluetooth device is synchronized to the timing, frequency and
access code of a physical channel it is said to be 'connected' to this channel
(whether or not it is actively involved in communications over the channel.) At a


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minimum, a device need only be capable of connection to one physical channel
at a time, however, advanced devices may be capable of connecting
simultaneously to more than one physical channel, but the specification does
not assume that this is possible.

2.1 PHYSICAL CHANNEL DEFINITION
Physical channels, apart from the synchronization scan physical channel
(which uses a set of fixed RF channels), are defined by a basic pseudo-random
RF channel hopping sequence, the packet (slot) timing and an access code.
The hopping sequence is determined by the UAP and LAP of a Bluetooth
device address, the selected basic hopping sequence, and – for the adapted
piconet physical channel – the AFH_channel_map being used on a physical
link. The phase in the hopping sequence is determined by the Bluetooth clock.
All physical channels are subdivided into time slots whose length is different
depending on the physical channel. Within the physical channel, each
reception or transmission event is associated with a time slot or time slots. For
each reception or transmission event an RF channel is selected by the hop
selection kernel (see Section 2.6).The maximum hop rate is 1600 hops/s in the
CONNECTION state, the synchronization train substate, and the
synchronization scan substate and the maximum is 3200 hops/s in the
inquiry and page substates.

The following physical channels are defined:
• basic piconet physical channel
• adapted piconet physical channel
• page scan physical channel
• inquiry scan physical channel
• synchronization scan physical channel

2.2 BASIC PICONET PHYSICAL CHANNEL
During the CONNECTION state the basic piconet physical channel is used by
default. The adapted piconet physical channel may also be used. The adapted
piconet physical channel is identical to the basic piconet physical channel
except for the differences listed in Section 2.3.

2.2.1 Master-Slave Definition

The basic piconet physical channel is defined by the master of the piconet. The
master controls the traffic on the piconet physical channel by a polling scheme
(see Section 8.5).

By definition, the device that initiates a connection by paging is the master.
Once a piconet has been established, master-slave roles may be exchanged.
This is described in Section 8.6.5.

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2.2.2 Hopping Characteristics

The basic piconet physical channel is characterized by a pseudo-random
hopping through all 79 RF channels. The frequency hopping in the piconet
physical channel is determined by the Bluetooth clock and BD_ADDR of the
master. When the piconet is established, the master clock is communicated to
the slaves. Each slave shall add an offset to its native clock to synchronize with
the master clock. Since the clocks are independent, the offsets must be
updated regularly. All devices participating in the piconet are time-synchronized
and hop-synchronized to the channel.

The basic piconet physical channel uses the basic channel hopping sequence
and is described in Section 2.6.

2.2.3 Time Slots

The basic piconet physical channel is divided into time slots, each 625 μs in
length. The time slots are numbered according to the most significant 27 bits of
the Bluetooth clock CLK28-1 of the piconet master. The slot numbering ranges
from 0 to 227-1 and is cyclic with a cycle length of 227. The time slot number is
denoted as k.

A TDD scheme is used where master and slave alternately transmit, see
Figure 2.1. The packet start shall be aligned with the slot start. Packets may
extend over up to five time slots.


          625 μs

            k      k+1   k+2   k+3   k+4   k+5   k+6   k+7   k+8   k+9   k+10     k+11   k+12    k+13
 Master
 Slave




Figure 2.1: Multi-slot packets


The term slot pairs is used to indicate two adjacent time slots starting with a
master-to-slave transmission slot.

2.2.4 Piconet Clocks
CLK is the master clock of the piconet. It shall be used for all timing and
scheduling activities in the piconet. All devices shall use the CLK to schedule
their transmission and reception. The CLK shall be derived from the reference
clock CLKR (see Section 1.1) by adding a time_base_offset and a slave_offset,
see Figure 2.2. The time_base_offset is a value that devices may use to store

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a locally generated offset to CLKN caused by alignment to an external time
base. The slave_offset shall be zero for the master since CLK is identical to its
own native clock CLKN. Each slave shall add an appropriate slave_offset to its
CLKN such that the CLK corresponds to the CLKN of the master. Although all
CLKNs in the devices run at the same nominal rate, mutual drift causes
inaccuracies in CLK. Therefore, the offsets in the slaves must be regularly
updated such that CLK is approximately CLKN of the master.


                                                        CLKN(master)
  a)                CLKR(master)              +                              +              CLK




                                      time_base_offset                 slave_offset = 0



                                                         CLKN(slave)
  b)                 CLKR(slave)              +                              +              CLK




                                      time_base_offset                  slave_offset

Figure 2.2: Derivation of CLK in master (a) and in slave (b)


Changes in time_base_offset are only made by the master of a piconet; a
device acting only as a slave has no need to distinguish CLKR and CLKN in
normal operation. In a scatternet situation, a Controller may be changing both
time_base_offset to align its CLKN with an external clock, either collocated or
at the request of a slave, and slave_offset to maintain synchronization with a
different piconet clock. In some cases, it is not possible to determine how much
of an observed offset is caused by external frame timing alignment
(time_base_offset) and how much is caused by the offset between master and
slave (slave_offset).

2.2.5 Transmit/Receive Timing
The master transmission shall always start at even numbered time slots
(CLK1=0) and the slave transmission shall always start at odd numbered time
slots (CLK1=1). Due to packet types that cover more than a single slot, master
transmission may continue in odd numbered slots and slave transmission may
continue in even numbered slots, see Figure 2.1.
All timing diagrams shown in this chapter are based on the signals as present
at the antenna. The term “exact” when used to describe timing refers to an
ideal transmission or reception and neglects timing jitter and clock frequency
imperfections.
The average timing of packet transmission shall not drift faster than
20 ppm relative to the ideal slot timing of 625 μs. The instantaneous timing

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shall not deviate more than 1 μs from the average timing. Thus, the absolute
packet transmission timing t k of slot boundary k shall fulfill the equation:

                                k                  
                          tk =      ( 1 + d i )T N + j k + offset,                     (EQ 1)
                                                   
                               i = 1               

where T N is the nominal slot length (625 μs), j k denotes jitter ( j k ≤ 1 μs) at the
start of slot k , and, d k , denotes the drift ( d k ≤ 20 ppm) within slot k . The jitter and
drift can vary arbitrarily within the given limits for every slot, while offset is an
arbitrary but fixed constant. For hold and sniff the drift and jitter parameters
specified in Link Manager Protocol [Vol 2] Part C, Section 4.3.1 apply.

2.2.5.1 Piconet Physical Channel Timing

In the figures, only single-slot packets are shown as an example.

The master TX/RX timing is shown in Figure 2.3. In Figure 2.3 and Figure 2.4
the channel hopping frequencies are indicated by f(k) where k is the time slot
number. After transmission, a return packet is expected N × 625 μs after the
start of the TX packet where N is an odd, integer larger than 0. N depends on
the type of the transmitted packet.

To allow for some time slipping, an uncertainty window is defined around the
exact receive timing. During normal operation, the window length shall be 20
μs, which allows the RX packet to arrive up to 10 μs too early or 10 μs too late.
It is recommended that slaves implement variable sized windows or time
tracking to accommodate a master's absence of more than 250ms.

During the beginning of the RX cycle, the access correlator shall search for the
correct channel access code over the uncertainty window. If an event trigger
does not occur the receiver may go to sleep until the next RX event. If in the
course of the search, it becomes apparent that the correlation output will never
exceed the final threshold, the receiver may go to sleep earlier. If a trigger
event occurs, the receiver shall remain open to receive the rest of the packet
unless the packet is for another device, a non-recoverable header error is
detected, or a non-recoverable payload error is detected.




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                           TX slot                      RX slot                  TX slot

                    hop f(k)                   hop f(k+1)                   hop f(k+2)

                    <
                    _ 426 μs                   ±10 μs




                           625 μs

                                         1250 μs

Figure 2.3: RX/TX cycle of master transceiver in normal mode for single-slot packets


Each master transmission shall be derived from bit 2 of the Master's native
Bluetooth clock, thus the current transmission will be scheduled Mx1250μs
after the start of the previous master TX burst where M depends on the
transmitted and received packet type and is an even, integer larger than 0. The
master TX timing shall be derived from the master's native Bluetooth clock, and
thus it will not be affected by time drifts in the slave(s).

Slaves maintain an estimate of the master’s native clock by adding a timing
offset to the slave’s native clock (see Section 2.2.4). This offset shall be updated
each time a packet is received from the master. By comparing the exact RX timing
of the received packet with the estimated RX timing, slaves shall correct the offset
for any timing misalignments. Since only the channel access code is required to
synchronize the slave, slave RX timing can be corrected with any packet sent
in the master-to-slave transmission slot.

The slave's TX/RX timing is shown in Figure 2.4. The slave’s transmission shall
be scheduled N × 625μs after the start of the slave’s RX packet where N is an
odd, positive integer larger than 0. If the slave’s RX timing drifts, so will its TX
timing. During periods when a slave is in the active mode (see Section 8.6) and
is prevented from receiving valid channel access codes from the master due to
local RF interference, slave activity in a different piconet, or any other reason,
the slave may increase its receive uncertainty window and/or use predicted
timing drift to increase the probability of receiving the master's bursts when
reception resumes.




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                             RX slot                    TX slot                  RX slot

                    hop f(k)                    hop f(k+1)                   hop f(k+2)

                    ±10 μs




                             625 μs

                                         1250 μs

Figure 2.4: RX/TX cycle of slave transceiver in normal mode for single-slot packets


2.2.5.2 Piconet Physical Channel Re-synchronization

In the piconet physical channel, a slave can lose synchronization if it does not
receive a packet from the master at least every 200ms (or less if the low power
clock is used). The master may fail to transmit to the slave due to the master
device being busy with other tasks such as maintaining connections to other
devices in Sniff or Hold modes, due to SCO, eSCO, or Connectionless Slave
Broadcast activity, due to the master being involved in a scatternet, or due to
interference. When re-synchronizing to the piconet physical channel a slave
device shall listen for the master before it may send information (except for a
Connectionless Slave Broadcast slave device which shall listen for the master
but does not send information). In this case, the length of the synchronization
search window in the slave device may be increased from 20 µs to a larger
value X µs as illustrated in Figure 2.5. Note that only RX hop frequencies are
used. The hop frequency used in the master-to-slave (RX) slot shall also be
used in the uncertainty window, even when it is extended into the preceding
time interval normally used for the slave-to-master (TX) slot.

If the length of search window, X, exceeds 1250 µs, consecutive windows shall
avoid overlapping search windows. Consecutive windows should instead be
centered at f(k), f(k+4),... f(k+4i) (where 'i' is an integer), which gives a
maximum value X=2500 µs, or even at f(k), f(k+6),...f(k+6i) which gives a
maximum value X=3750 µs. The RX hop frequencies used shall correspond to
the master-to-slave transmission slots.

It is recommended that single slot packets are transmitted by the master during
slave re-synchronization.




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                                   Estimated start of master TX


                                                             RX slot

      hop g(2m-2)           hop f(k)                          hop f(k)                hop f(k+2)

                                                                         X µs




                            625 µs


Figure 2.5: RX timing of slave returning from hold mode


2.3 ADAPTED PICONET PHYSICAL CHANNEL
For devices that enter connectionless slave broadcast mode, the device that
transmits Connectionless Slave Broadcast packets is the master of the piconet
and any device that receives Connectionless Slave Broadcast packets is a
slave of the piconet.

2.3.1 Hopping Characteristics

Each physical link on the adapted piconet physical channel shall use at least
Nmin RF channels (where Nmin is 20).

The adapted piconet physical channel uses the adapted channel hopping
sequence described in Section 2.6.

Adapted piconet physical channels can be used for connected devices that
have adaptive frequency hopping (AFH) enabled. There are two distinctions
between basic and adapted piconet physical channels. The first is the same
channel mechanism that makes the slave frequency the same as the
preceding master transmission. The second aspect is that the adapted piconet
physical channel may be based on less than the full 79 frequencies of the basic
piconet physical channel. Each physical link on an adapted piconet physical
channel may use a different set of frequencies.

2.4 PAGE SCAN PHYSICAL CHANNEL
Although master and slave roles are not defined prior to a connection, the term
master is used for the paging device (that becomes a master in the
CONNECTION state) and slave is used for the page scanning device (that
becomes a slave in the CONNECTION state).


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2.4.1 Clock Estimate for Paging

A paging device uses an estimate of the native clock of the page scanning
device, CLKE; i.e. an offset shall be added to the CLKN of the pager to
approximate the CLKN of the recipient, see Figure 2.6. CLKE shall be derived
from the native CLKN by adding an offset. By using the CLKN of the recipient,
the pager might be able to speed up the connection establishment. Note:
CLKR is never used for deriving CLKE or for any other control of the hopping
kernel.



                                     &/.1 SDJHU
      CLKR(pager)            +                        +         &/.(§&/.1



                      time_base_offset            Estimated
                                                   Offset

Figure 2.6: Derivation of CLKE


2.4.2 Hopping Characteristics

The page scan physical channel follows a slower hopping pattern than the
basic piconet physical channel and is a short pseudo-random hopping
sequence through the RF channels. The timing of the page scan channel shall
be determined by the native Bluetooth clock of the scanning device. The
frequency hopping sequence is determined by the Bluetooth address of the
scanning device.

The page scan physical channel uses the page, master page response, slave
page response, and page scan hopping sequences specified in Section 2.6.

2.4.3 Paging Procedure Timing
During the paging procedure, the master shall transmit paging messages (see
Table 8.3) corresponding to the slave to be connected. Since the paging
message is a very short packet, the hop rate is 3200 hops/s. In a single TX slot
interval, the paging device shall transmit on two different hop frequencies. In
Figure 2.7 through Figure 2.11, f(k) is used for the frequencies of the page
hopping sequence and f'(k) denotes the corresponding page response
sequence frequencies. The first transmission starts where CLK0 = 0 and the
second transmission starts where CLK0 = 1.
In a single RX slot interval, the paging device shall listen for the slave page
response message on two different hop frequencies. Similar to transmission,
the nominal reception starts where CLK0 = 0 and the second reception
nominally starts where CLK0 = 1; see Figure 2.7. During the TX slot, the paging
device shall send the paging message at the TX hop frequencies f(k) and
f(k+1). In the RX slot, it shall listen for a response on the corresponding RX hop
frequencies f’(k) and f’(k+1). The listening periods shall be exactly timed 625

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μs after the corresponding paging packets, and shall include a ±10 μs
uncertainty window.


                         TX slot                      RX slot                    TX slot

      hop f(k)           hop f(k+1)   hop f'(k)       hop f'(k+1)   hop f(k+2)       hop f(k+3)

                 68 µs                       ±10 µs




                 312.5 µs
                          625 µs


Figure 2.7: RX/TX cycle of transceiver in PAGE mode


2.4.4 Page Response Timing
At connection setup a master page response packet is transmitted from the
master to the slave (see Table 8.3). This packet establishes the timing and
frequency synchronization. After the slave device has received the page
message, it shall return a response message that consists of the slave page
response packet and shall follow 625 μs after the receipt of the page message.
The master shall send the master page response packet in the TX slot
following the RX slot in which it received the slave response, according to the
RX/TX timing of the master. The time difference between the slave page
response and master page response message will depend on the timing of the
page message the slave received. In Figure 2.8, the slave receives the paging
message sent first in the master-to-slave slot. It then responds with a first
slave page response packet in the first half of the slave-to-master slot. The
timing of the master page response packet is based on the timing of the page
message sent first in the preceding master-to-slave slot: there is an exact 1250
μs delay between the first page message and the master page response
packet. The packet is sent at the hop frequency f(k+1) which is the hop
frequency following the hop frequency f(k) the page message was received in.




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                                    master-to-slave slot               slave-to-master slot    master-to-slave slot

                         hop f(k)           hop f(k+1)     hop f'(k)                          hop f(k+1)
                                    68 µs



           Master



                               ID               ID                                              FHS




                                                              ID

                    hop f(k)                                                                  hop f(k+1)

           Slave



                                            625 µs                 312.5 µs

Figure 2.8: Timing of page response packets on successful page in first half slot

In Figure 2.9, the slave receives the paging message sent second in the
master-to-slave slot. It then responds with a slave page response packet in the
second half of the slave-to-master slot exactly 625 μs after the receipt of the
page message. The timing of the master page response packet is still based on
the timing of the page message sent first in the preceding master-to-slave slot:
there is an exact 1250 μs delay between the first page message and the
master page response packet. The packet is sent at the hop frequency f(k+2)
which is the hop frequency following the hop frequency f(k+1) the page
message was received in.




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                               master-to-slave slot         slave-to-master slot       master-to-slave slot

                    hop f(k)           hop f(k+1)           hop f'(k)    hop f'(k+1)          hop f(k+2)
                               68 µs



           Master



                       ID                  ID                                                   FHS




                                                                             ID

                      hop f(k+1)                                                              hop f(k+2)

           Slave



                                                    625µs



Figure 2.9: Timing of page response packets on successful page in second half slot


The slave shall adjust its RX/TX timing according to the reception of the master
page response packet (and not according to the reception of the page
message). That is, the second slave page response message that
acknowledges the reception of the master page response packet shall be
transmitted 625 μs after the start of the master page response packet.

2.5 INQUIRY SCAN PHYSICAL CHANNEL
Although master and slave roles are not defined prior to a connection, the term
master is used for the inquiring device and slave is used for the inquiry
scanning device.

2.5.1 Clock for Inquiry

The clock used for inquiry and inquiry scan shall be the device's native clock.

2.5.2 Hopping Characteristics

The inquiry scan channel follows a slower hopping pattern than the piconet
physical channel and is a short pseudo-random hopping sequence through the
RF channels. The timing of the inquiry scan channel is determined by the
native Bluetooth clock of the scanning device while the frequency hopping
sequence is determined by the general inquiry access code.

The inquiry scan physical channel uses the inquiry, inquiry response, and
inquiry scan hopping sequences described in Section 2.6.

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2.5.3 Inquiry Procedure Timing

During the inquiry procedure, the master shall transmit inquiry messages with
the general or dedicated inquiry access code. The timing for inquiry is the
same as for paging (see Section 2.4.3).

2.5.4 Inquiry Response Timing

An inquiry response packet is transmitted from the slave to the master after the
slave has received an inquiry message (see Table 8.5). This packet contains
information necessary for the inquiring master to page the slave (see definition
of the FHS packet in Section 6.5.1.4) and follows 625 μs after the receipt of the
inquiry message. If the slave transmits an extended inquiry response packet, it
shall be transmitted1250 μs after the start of the inquiry response packet.

In Figure 2.10 and Figure 2.11, f(k) is used for the frequencies of the inquiry
hopping sequence and f'(k) denotes the corresponding inquiry response
sequence frequency. The inquiry response packet and the extended inquiry
response packet are received by the master at the hop frequency f'(k) when the
inquiry message received by the slave was first in the master-to-slave slot.


                 master-to-slave slot    slave-to-master slot   master-to-slave slot    slave-to-master slot   master-to-slave slot
                hop f(k)   hop f(k+1) hop f ’(k)                                       hop f ’(k)
                     68 μs

 Master         ID




                                        hop f ’(k)                                     hop f ’(k)
     hop f(k)                                                                          Extended Inquiry
 Slave                                         FHS
                                                                                       Response Packet

                       625 μs                            1250 μs



Figure 2.10: Timing of inquiry response packets on successful inquiry in first half slot


When the inquiry message received by the slave was the second in the
master-to-slave slot the inquiry response packet and the extended inquiry
response packet are received by the master at the hop frequency f'(k+1).




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              master-to-slave slot   slave-to-master slot    master-to-slave slot   slave-to-master slot     master-to-slave slot
             hop f(k)   hop f(k+1) hop f ’(k) hop f ’(k+1)                                   hop f ’(k+1)
                    68 μs

 Master                     ID




                                              hop f ’(k+1)                                    hop f ’(k+1)
                hop f(k+1)                                                                     Extended Inquiry
 Slave                                                 FHS
                                                                                               Response Packet

                                 625 μs                            1250 μs



Figure 2.11: Timing of inquiry response packets on successful inquiry in second half slot


2.6 HOP SELECTION
Bluetooth devices shall use the hopping kernel as defined in the following
sections.

In total, six types of hopping sequence are defined − five for the basic hop
system and one for an adapted set of hop locations used by adaptive
frequency hopping (AFH). These sequences are:
• A page hopping sequence with 32 wake-up frequencies distributed equally
  over the 79 MHz, with a period length of 32;
• A page response hopping sequence covering 32 response frequencies
  that are in a one-to-one correspondence to the current page hopping
  sequence. The master and slave use different rules to obtain the same
  sequence;
• An inquiry hopping sequence with 32 wake-up frequencies distributed
  equally over the 79 MHz, with a period length of 32;
• An inquiry response hopping sequence covering 32 response
  frequencies that are in a one-to-one correspondence to the current inquiry
  hopping sequence.
• A basic channel hopping sequence which has a very long period length,
  which does not show repetitive patterns over a short time interval, and which
  distributes the hop frequencies equally over the 79 MHz during a short time
  interval.
• An adapted channel hopping sequence derived from the basic channel
  hopping sequence which uses the same channel mechanism and may use
  fewer than 79 frequencies. The adapted channel hopping sequence is only
  used in place of the basic channel hopping sequence. All other hopping
  sequences are not affected by hop sequence adaptation.

In addition, a set of synchronization train RF channels with 3 fixed
frequencies is defined.

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2.6.1 General Selection Scheme

The selection scheme consists of two parts:
• selecting a sequence;
• mapping this sequence onto the hop frequencies;

The general block diagram of the hop selection scheme is shown in Figure
2.12. The mapping from the input to a particular RF channel index is performed
in the selection box.

The inputs to the selection box are the selected clock, frozen clock, N, koffset,
interlace_offset, address, sequence selection and AFH_channel_map. The
source of the clock input depends on the hopping sequence selected.
Additionally, each hopping sequence uses different bits of the clock (see Table
2.2). N, interlace_offset, and koffset are defined in Section 2.6.4.

The sequence selection input can be set to the following values:
• page scan
• inquiry scan
• page
• inquiry
• master page response
• slave page response
• inquiry response
• basic channel
• adapted channel

The address input consists of 28 bits including the entire LAP and the 4 LSBs
of the UAP. This is designated as the UAP/LAP. When the basic or adapted
channel hopping sequence is selected, the Bluetooth device address of the
master (BD_ADDR) shall be used. When the page, master page response,
slave page response, or page scan hopping sequences are selected the
BD_ADDR given by the Host of the paged device shall be used (see HCI
Create Connection Command [Vol 2] Part E, Section 7.1.5). When the inquiry,
inquiry response, or inquiry scan hopping sequences are selected, the UAP/
LAP corresponding to the GIAC shall be used even if it concerns a DIAC.
Whenever one of the reserved BD_ADDRs (see Section 1.2.1) is used for
generating a frequency hop sequence, the UAP shall be replaced by the
default check initialization (DCI, see Section 7.1). The hopping sequence is
selected by the sequence selection input to the selection box.

When the adapted channel hopping sequence is selected, the
AFH_channel_map is an additional input to the selection box. The
AFH_channel_map indicates which channels shall be used and which shall be
unused. These terms are defined in Section 2.6.3.

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                           Sequence Selection      AFH_channel_map


                    28
     UAP/LAP

                                        SELECTION                                    RF channel
                                                                                     index
                    27                     BOX
      CLOCK



                         Frozen CLOCK    N koffset knudge Interlace_Offset

Figure 2.12: General block diagram of hop selection scheme


The output, RF channel index, constitutes a pseudo-random sequence. The
RF channel index is mapped to RF channel frequencies using the equation in
[Vol 2] Part A, Table 2.1.

The selection scheme chooses a segment of 32 hop frequencies spanning
about 64 MHz and visits these hops in a pseudo-random order. Next, a
different 32-hop segment is chosen, etc. In the page, master page response,
slave page response, page scan, inquiry, inquiry response and inquiry scan
hopping sequences, the same 32-hop segment is used all the time (the
segment is selected by the address; different devices will have different paging
segments). When the basic channel hopping sequence is selected, the output
constitutes a pseudo-random sequence that slides through the 79 hops. The
principle is depicted in Figure 2.13.
.

                0 2 4 6                 62 64   78 1                     73 75 77




    segment 1


    segment 2       ǻ

    segment 3




                                                                             segment length     ǻ

                                                                                   32          16


Figure 2.13: Hop selection scheme in CONNECTION state


The RF frequency shall remain fixed for the duration of the packet. The RF
frequency for the packet shall be derived from the Bluetooth clock value in the

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first slot of the packet. The RF frequency in the first slot after a multi-slot packet
shall use the frequency as determined by the Bluetooth clock value for that
slot. Figure 2.14 illustrates the hop definition on single- and multi-slot packets.


          625 µs

           f(k)          f(k+1)         f(k+2)        f(k+3)         f(k+4)    f(k+5)            f(k+6)




                         f(k)                         f(k+3)         f(k+4)    f(k+5)            f(k+6)




                                           f(k)                                f(k+5)            f(k+6)




Figure 2.14: Single- and multi-slot packets

When the adapted channel hopping sequence is used, the pseudo-random
sequence contains only frequencies that are in the RF channel set defined by
the AFH_channel_map input. The adapted sequence has similar statistical
properties to the non-adapted hop sequence. In addition, the slave responds
with its packet on the same RF channel that was used by the master to address
that slave (or would have been in the case of a synchronous reserved slot
without a validly received master-to-slave transmission). This is called the
same channel mechanism of AFH. Thus, the RF channel used for the master
to slave packet is also used for the immediately following slave to master
packet. An example of the same channel mechanism is illustrated in Figure
2.15. The same channel mechanism shall be used whenever the adapted
channel hopping sequence is selected.


            fk      fk          f k+2         f k+2                f k+6                 f k+6

 Master
  Tx                       3-slot packet                       5-slot packet




 Slave
  Tx                                                                                3-slot packet

  CLK       k       k+1 k+2 k+3 k+4 k+5 k+6 k+7 k+8 k+9 k+10 k+11 k+12 k+13

Figure 2.15: Example of the same channel mechanism




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2.6.2 Selection Kernel

The basic hop selection kernel shall be as shown in Figure 2.16 and is used for
the page, page response, inquiry, inquiry response and basic channel hopping
selection kernels. In these substates the AFH_channel_map input is unused.
The adapted channel hopping selection kernel is described in Section 2.6.3.
The X input determines the phase in the 32-hop segment, whereas Y1 and Y2
selects between master-to-slave and slave-to-master. The inputs A to D
determine the ordering within the segment, the inputs E and F determine the
mapping onto the hop frequencies. The kernel addresses a register containing
the RF channel indices. This list is ordered so that first all even RF channel
indices are listed and then all odd hop frequencies. In this way, a 32-hop
segment spans about 64 MHz.



               A            B             C           D           E         F
                                              5
                                    Y1   XOR
                    5           4                         9           7         7
                                              5

                                                                                                  0
        5               5   X       5                         5                       7
                                                                                                  2
  X          ADD            O                 PERM5                   ADD
                            R                                                                     4
               mod32
                                                                            mod 79

                                                                      Y2                          78
                                                                                                   1
                                                                                                   3


                                                                                                  77


Figure 2.16: Block diagram of the basic hop selection kernel for the hop system


The selection procedure consists of an addition, an XOR operation, a
permutation operation, an addition, and finally a register selection. In the
remainder of this chapter, the notation Ai is used for bit i of the BD_ADDR.

2.6.2.1 First Addition Operation
The first addition operation only adds a constant to the phase and applies a
modulo 32 operation. For the page hopping sequence, the first addition is
redundant since it only changes the phase within the segment. However, when
different segments are concatenated (as in the basic channel hopping
sequence), the first addition operation will have an impact on the resulting
sequence.




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2.6.2.2 XOR Operation
Let Z’ denote the output of the first addition. In the XOR operation, the four
LSBs of Z’ are modulo-2 added to the address bits A22-19. The operation is
illustrated in Figure 2.17.


                                                A 22-19

                                                     xor
                                          Z'0                 Z0
                                          Z'1                 Z1
                                          Z'2                 Z2
                                          Z'3                 Z3
                                          Z'4                 Z4

Figure 2.17: XOR operation for the hop system


2.6.2.3 Permutation Operation

The permutation operation involves the switching from 5 inputs to 5 outputs for
the hop system, controlled by the control word. The permutation or switching
box shall be as shown in Figure 2.18. It consists of 7 stages of butterfly
operations. The control of the butterflies by the control signals P is shown in
Table 2.1. P0-8 corresponds to D0-8, and, P i + 9 corresponds to C i ⊕ Y1 for
i = 0…4 in Figure 2.16.

 Control                            Control
 signal        Butterfly            signal          Butterfly

 P0            {Z0,Z1}              P8              {Z1,Z4}

 P1            {Z2,Z3}              P9              {Z0,Z3}

 P2            {Z1,Z2}              P10             {Z2,Z4}

 P3            {Z3,Z4}              P11             {Z1,Z3}

 P4            {Z0,Z4}              P12             {Z0,Z3}

 P5            {Z1,Z3}              P13             {Z1,Z2}

 P6            {Z0,Z2}

 P7            {Z3,Z4}

Table 2.1: Control of the butterflies for the hop system

The Z input is the output of the XOR operation as described in the previous
section. The butterfly operation can be implemented with multiplexers as
depicted in Figure 2.19.




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                    stage 1         2           3           4           5           6           7

                    P13 P12   P11 P10   P9 P8       P7 P6       P5 P4       P3 P2       P1 P0


      Z0

      Z1


      Z2


      Z3

      Z4



Figure 2.18: Permutation operation for the hop system



                                                                  P




                                                                      0
                                                                      1


                                                                        1
                                                                        0

Figure 2.19: Butterfly implementation


2.6.2.4 Second Addition Operation

The addition operation selects the hop frequencies to be used by the current
segment and also switches between master-to-slave and slave-to-master. It
adds the output of the current permutation (which selects a channel within the
segment), a constant, the clock bit selecting master or slave slots, and a value
used to switch each segment to a new set of channels in connection state. The
addition is applied modulo 79.

2.6.2.5 Register Bank

The output of the adder addresses a bank of 79 registers. The registers are
loaded with the synthesizer code words corresponding to the hop frequencies
0 to 78. Note that the upper half of the bank contains the even hop frequencies,
whereas the lower half of the bank contains the odd hop frequencies.




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2.6.3 Adapted Hop Selection Kernel

The adapted hop selection kernel is based on the basic hop selection kernel
defined in the preceding sections.

The inputs to the adapted hop selection kernel are the same as for the basic
hop system kernel except that the input AFH_channel_map (defined in Link
Manager Protocol [Vol 2] Part C, Section 5.2) is used. The AFH_channel_map
indicates which RF channels shall be used and which shall be unused. When
hop sequence adaptation is enabled, the number of used RF channels may be
reduced from 79 to some smaller value N. All devices shall be capable of
operating on an adapted hop sequence (AHS) with Nmin ≤ N ≤ 79, with any
combination of used RF channels within the AFH_channel_map that meets this
constraint. Nmin is defined in Section 2.3.1.

Adaptation of the hopping sequence is achieved through two additions to the
basic channel hopping sequence according to Figure 2.16:
• Unused RF channels are re-mapped uniformly onto used RF channels. That
  is, if the hop selection kernel of the basic system generates an unused RF
  channel, an alternative RF channel out of the set of used RF channels is
  selected pseudo-randomly.
• The used RF channel generated for the master-to-slave packet is also used
  for the immediately following slave-to-master packet (see Section 2.6.1).

2.6.3.1 Channel Re-mapping Function

When the adapted hop selection kernel is selected, the basic hop selection
kernel according to Figure 2.16 is initially used to determine an RF channel. If
this RF channel is unused according to the AFH_channel_map, the unused RF
channel is re-mapped by the re-mapping function to one of the used RF
channels. If the RF channel determined by the basic hop selection kernel is
already in the set of used RF channels, no adjustment is made. The hop
sequence of the (non-adapted) basic hop equals the sequence of the adapted
selection kernel on all locations where used RF channels are generated by the
basic hop. This property facilitates all slaves remaining synchronized even if
they are not all using the same hopping sequence.

A block diagram of the re-mapping mechanism is shown in Figure 2.20. The re-
mapping function is a post-processing step to the selection kernel from Figure
2.16, denoted as ‘Hop selection of the basic hop’. The output fk of the basic
hop selection kernel is an RF channel number that ranges between 0 and 78.
This RF channel will either be in the set of used RF channels or in the set of
unused RF channels.




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                    Hop Selection of
 UAP/LAP                                          Is fk in   YES
                    basic hop sy stem   fk
                                             the set of used                                   Use fk for next slot
      CLK            Figure 2.16                carriers?

                                                    NO

                                                             Re-mapping Function



                                    E
                               Y2                                  k'               fk'
                          F'                    ADD                                            Use fk' instead of fk
                                                Mod N                                             for next slot
                      PERM5out


                                                                         Mapping Table



                                                         AFH_channel_map


Figure 2.20: Block diagram of adaptive hop selection mechanism


When an unused RF channel is generated by the basic hop selection
mechanism, it is re-mapped to the set of used RF channels as follows. A new
index k’ ∈ {0, 1,..., N-1} is calculated using some of the parameters from the
basic hop selection kernel:
   k’ = (PERM5out + E + F’ + Y2) mod N

where F’ is defined in Table 2.2. The index k’ is then used to select the re-
mapped channel from a mapping table that contains all of the even used RF
channels in ascending order followed by all the odd used RF channels in
ascending order (i.e., the mapping table of Figure 2.16 with all the unused RF
channels removed).

2.6.4 Control Word

In the following section Xj-i, i<j, denotes bits i, i+1,...,j of the bit vector X. By
convention, X0 is the least significant bit of the vector X.

The control word of the kernel is controlled by the overall control signals X, Y1,
Y2, A to F, and F’ as illustrated in Figure 2.16 and Figure 2.20. During paging
and inquiry, the inputs A to E use the address values as given in the
corresponding columns of Table 2.2. In addition, the inputs X, Y1 and Y2 are
used. The F and F’ inputs are unused. The clock bits CLK6-2 (i.e., input X)
specify the phase within the length 32 sequence. CLK1 (i.e., inputs Y1 and Y2)
is used to select between TX and RX. The address inputs determine the
sequence order within segments. The final mapping onto the hop frequencies
is determined by the register contents.

During the CONNECTION state (see Section 8.5), the inputs A, C and D shall
be derived from the address bits being bit-wise XORed with the clock bits as
shown in the “Connection state” column of Table 2.2 (the two most significant

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bits, MSBs, are XORed together, the two second MSBs are XORed together,
etc.).

       Page scan /
       Generalized Interlaced
       Page Scan /                                             Master/Slave page
                                                                                         Connection
                                     Page/Inquiry              response and
       Inquiry scan /                                                                    state
                                                               Inquiry response
       Generalized Interlaced
       Inquiry Scan

 X     CLKN 16 – 12 /                Xp 4 – 0 ⁄ Xi 4 – 0       Xprm 4 – 0 /              CLK 6 – 2
       ( CLKN 16 – 12 +          /
       interlace offset )mod32                                  Xprs 4 – 0 /

       Xir 4 – 0 /                                             Xir 4 – 0
       ( Xir 4 – 0 +
       interlace offset )mod32

 Y1    0                             CLKE 1 ⁄ CLKN1            CLKE 1 ⁄ CLKN 1 ⁄ 1       CLK 1

 Y2    0                             32 × CLKE 1 ⁄             32 × CLKE 1 /             32 × CLK 1

                                     32 × CLKN1                32 × CLKN 1 /
                                                               32 × 1

 A     A 27 – 23                     A 27 – 23                 A 27 – 23                 A 27 – 23 ⊕ CLK 25 – 21

 B     A 22 – 19                     A 22 – 19                 A 22 – 19                 A 22 – 19

 C     A 8, 6, 4, 2, 0               A 8 , 6, 4, 2, 0          A 8 , 6, 4 , 2, 0         A 8, 6, 4, 2, 0 ⊕ CLK 20 – 16

 D     A 18 – 10                     A 18 – 10                 A 18 – 10                 A 18 – 10 ⊕ CLK 15 – 7

 E     A 13, 11, 9, 7, 5, 3, 1       A 13, 11, 9, 7, 5, 3, 1   A 13, 11, 9, 7, 5, 3, 1   A 13, 11, 9, 7, 5, 3, 1

 F     0                             0                         0                         16 × CLK 27 – 7 mod 79

 F’    n/a                           n/a                       n/a                       16 × CLK 27 – 7 mod N

Table 2.2: Control for hop system

The five X input bits vary depending on the current state of the device. In the
page scan and inquiry scan substates, the native clock (CLKN) shall be used.
In CONNECTION state the master clock (CLK) shall be used as input. The
situation is somewhat more complicated for the other states.

2.6.4.1 Page Scan and Inquiry Scan Hopping Sequences

When the sequence selection input is set to page scan, the Bluetooth device
address of the scanning device shall be used as address input. When the
sequence selection input is set to inquiry scan, the GIAC LAP and the four
LSBs of the DCI (as A 27 – 24 ), shall be used as address input for the hopping
sequence. For the transmitted access code and in the receiver correlator, the


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appropriate GIAC or DIAC shall be used. The application decides which inquiry
access code to use depending on the purpose of the inquiry.

2.6.4.2 Page Hopping Sequence

When the sequence selection input is set to page, the paging device shall start
using the A-train, i.e., { f(k – 8), …, f(k), …, f(k + 7) } , where f(k) is the source’s
estimate of the current receiver frequency in the paged device. The index k is a
function of all the inputs in Figure 2.16. There are 32 possible paging
frequencies within each 1.28 second interval. Half of these frequencies belong
to the A-train, the rest (i.e., { f(k + 8), …, f(k + 15), f(k – 16), …, f(k – 9) } ) belong
to the B-train. In order to achieve the -8 offset of the A-train, a constant of 24
shall be added to the clock bits (which is equivalent to -8 due to the modulo 32
operation). The B-train is obtained by setting the offset to 8. In the case where
slots to receive the first slave response are periodically not available, an
additional offset ( k nudge ) is added to the clock bits in order to shift the train by an
integer multiple of 1.25 ms duration. A cyclic shift of the order within the trains
is also necessary in order to avoid a possible repetitive mismatch between the
paging and scanning devices. Thus,

                    Xp = [CLKE 16 – 12 + k offset + k nudge +
                                                                                                (EQ 2)
                           ( CLKE 4 – 2, 0 – CLKE 16 – 12 ) mod 16 ] mod 32,

where

                                              24        A-train,
                                  k offset =                                                   (EQ 3)
                                             8          B-train.

                                                    st
                               0     During 1 2 × N page repetitions
                     k nudge =                                                                 (EQ 4)
                                Even    During all other repetitions.

Alternatively, each switch between the A- and B-trains may be accomplished
by adding 16 to the current value of k offset (originally initialized with 24).

2.6.4.3 Slave Page Response Hopping Sequence

When the sequence selection input is set to slave page response, in order to
eliminate the possibility of losing the link due to discrepancies of the native
clock CLKN and the master’s clock estimate CLKE, the four bits CLKN 16 – 12
shall be frozen at their current value. The value shall be frozen at the content it
has in the slot where the recipient’s access code is detected. The native clock
shall not be stopped; it is merely the values of the bits used for creating the X-
input that are kept fixed for a while. A frozen value is denoted by an asterisk (*)
in the discussion below.

For each response slot the paged device shall use an X-input value one larger
(modulo 32) than in the preceding response slot. However, the first response

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shall be made with the X-input kept at the same value as it was when the
access code was recognized. Let N be a counter starting at zero. Then, the X-
input in the ( N + 1 ) -th response slot (the first response slot being the one
immediately following the page slot now responding to) of the slave response
substate is:

                            Xprs = [ CLKN∗ 16 – 12 + N ] mod 32,                               (EQ 5)

The counter N shall be set to zero in the slot where the slave acknowledges
the page (see Figure 8.3 and Figure 8.4). Then, the value of N shall be
increased by one each time CLKN 1 is set to zero, which corresponds to the
start of a master TX slot. The X-input shall be constructed this way until the first
FHS packet is received and the immediately following response packet has
been transmitted. After this the slave shall enter the CONNECTION state using
the parameters received in the FHS packet.

2.6.4.4 Master Page Response Hopping Sequence

When the sequence selection input is set to master page response, the master
shall freeze its estimated slave clock to the value that triggered a response
from the paged device. It is equivalent to using the values of the clock estimate
when receiving the slave response (since only CLKE 1 will differ from the
corresponding page transmission). Thus, the values are frozen when the slave
ID packet is received. In addition to the clock bits used, the current values of
k offset and k nudge shall also be frozen. The master shall adjust its X-input in the
same way the paged device does, i.e., by incrementing this value by one for
each time CLKE 1 is set to zero. The first increment shall be done before
sending the FHS packet to the paged device. Let N be a counter starting at
one. The rule for forming the X-input is:

             Xprm = [ CLKE ∗ 16 – 12 + k* offset + k* nudge +
                                                                                               (EQ 6)
                         ( CLKE∗ 4 – 2, 0 – CLKE∗ 16 – 12 ) mod 16 + N ] mod 32,

The value of N shall be increased each time CLKE 1 is set to zero, which
corresponds to the start of a master TX slot.

2.6.4.5 Inquiry Hopping Sequence

When the sequence selection input is set to inquiry, the X-input is similar to that
used in the page hopping sequence. Since no particular device is addressed,
the native clock CLKN of the inquirer shall be used. Moreover, which of the two
train offsets to start with is of no real concern in this state. Consequently,

                    Xi = [ CLKN 16 – 12 + k offset + k nudge +
                                                                                               (EQ 7)
                          ( CLKN 4 – 2, 0 – CLKN 16 – 12 ) mod 16 ] mod 32,

where k offset and k nudge are defined by (EQ 3) and (EQ 4).
The initial choice of k offset is arbitrary.

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The GIAC LAP and the four LSBs of the DCI (as A 27 – 24 ) shall be used as
address input for the hopping sequence generator.

2.6.4.6 Inquiry Response Hopping Sequence

The inquiry response hopping sequence is similar to the slave page response
hopping sequence with respect to the X-input. The clock input shall not be
frozen, thus the following equation apply:

                         Xir = [ CLKN 16 – 12 + N ] mod 32,                    (EQ 8)

Furthermore, the counter N is increased not on CLKN 1 basis, but rather after
each FHS packet has been transmitted in response to the inquiry. There is no
restriction on the initial value of N as it is independent of the corresponding
value in the inquiring unit.

The Xir value used for the extended inquiry response packet shall be the same
Xir value as calculated for the immediately preceding FHS packet.

The GIAC LAP and the four LSBs of the DCI (as A 27 – 24 ) shall be used as
address input for the hopping sequence generator. The other input bits to the
generator shall be the same as for page response.

2.6.4.7 Basic and Adapted Channel Hopping Sequence

In the basic and adapted channel hopping sequences, the clock bits to use in
the basic or adapted hopping sequence generation shall always be derived
from the master clock, CLK. The address bits shall be derived from the
Bluetooth device address of the master.

2.6.4.8 Synchronization Train RF Channels

The synchronization train and synchronization scan use RF channels from the
set of three fixed RF channels with indices 0, 24, and 78.

2.7 SYNCHRONIZATION SCAN PHYSICAL CHANNEL
The synchronization scan physical channel enables devices to receive
synchronization train packets.

2.7.1 Hopping Characteristics

When a device enters the synchronization scan substate, it shall scan the
synchronization train RF channels using the timing defined in Section 2.7.3.
Each individual scan window shall use a different RF channel than the previous
two scan windows.




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The synchronization scan physical channel shall use all of the synchronization
train RF channels defined in Section 2.6.4.8.

2.7.2 Synchronization Train Procedure Timing

The master shall use the synchronization train procedure only when
connectionless slave broadcast mode is enabled or during the Coarse Clock
Adjustment Recovery Mode (Section 8.6.10.2); these can happen concurrently.
During the synchronization train procedure, the master shall attempt to transmit
synchronization train packets on all of the RF channels specified in Section
2.6.4.8. The transmission of synchronization train packets on each RF channel
is independent of the transmission on other RF channels. For each RF
channel, the master shall:
1. Establish synchronization train events that are separated by TSync_Train_Interval
   slots. During Coarse Clock Adjustment Recovery Mode the value of TSyn-
   c_Train_Interval shall be 32. At all other times, it shall be the value selected by
   the Controller from a range provided by the Host ([Vol 2] Part E, Section
   7.3.90).
2. Attempt to send a synchronization train packet between each pair of
   synchronization train events.
3. In the absence of scheduling conflicts, delay the start of the synchronization
   train packet transmission by TSync_Train_Delay slots from the synchronization
   train event, where TSync_Train_Delay is a pseudorandom number between 0
   and TSync_Train_Delay_Max inclusive. Each value of TSync_Train_Delay shall be
   an even integer. TSync_Train_Delay_Max shall equal 4 slots during Coarse
   Clock Adjustment Recovery Mode and 16 slots at all other times. Each
   synchronization packet transmission shall start at the beginning of a time
   slot where CLK[1:0]=00b.
4. If the transmission of the synchronization train packet conflicts with the timing of
   higher priority packets, the actual delay may be adjusted to avoid the conflict.
   The actual delay should stay within the range of 0 to TSync_Train_Delay_Max
   inclusive and shall not be greater than or equal to TSync_Train_Interval. If it is not
   possible to transmit the complete packet before the next synchronization train
   event, it shall not be transmitted. Note that increasing the delay beyond the
   recommended range (0 to TSync_Train_Delay_Max) increases the chance that the
   scanning device will miss the packet.
5. There shall be no more than one synchronization train packet transmitted
   between any two consecutive synchronization train events.
6. The actual delays used shall not all be the same for any three consecutive
   synchronization train packets (though any two may be).

Note: Subject to the above requirements, synchronization train events on
different RF channels may be managed separately or may be co-ordinated
using the same value of TSync_Train_Delay.


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Figure 2.21 shows the timing relationship of consecutive synchronization train
packets on a single RF channel.


                                       Synchronization train event
     TSync_Train_Delay_Max                                                                    TSync_Train_Delay_Max



     TSync_Train_Delay                                                           TSync_Train_Delay




                                       TSync_Train_Interval




Figure 2.21: Synchronization train packet timing on a single channel


2.7.3 Synchronization Scan Procedure Timing

During the Synchronization Scan procedure, a device performs
synchronization scans on the synchronization train RF channels. During each
scan window, the device listens for the duration of TSync_Scan_Window. The RF
channel for each scan window shall be selected as specified in Section 2.7.1.
Each scan window should be continuous and not interrupted by other activities.
The interval between the start of consecutive scan windows shall be equal to
TSync_Scan_Interval. The values for TSync_Scan_Window and TSync_Scan_Interval
shall be chosen as follows:
• During Connectionless Slave Broadcast, refer to [Vol 2] Part E, Section
  7.1.52.
• During Coarse Clock Adjustment Recovery Mode, the values chosen are
  implementation specific.

This timing relationship is shown in Figure 2.22.


                         TSync_Scan_Interval                                 TSync_Scan_Interval


     TSync_Scan_Window                                   TSync_Scan_Window                                 TSync_Scan_Window


            f1                                                  f2                                                f3

          scan                                                scan                                              scan



Figure 2.22: Synchronization scan timing




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3 PHYSICAL LINKS

A physical link represents a baseband connection between devices. A physical
link is always associated with exactly one physical channel. Physical links have
common properties that apply to all logical transports on the physical link.

Other than the Connectionless Slave Broadcast physical link, common
properties of physical links are:
• Power control (see [Vol 2] Part C, Section 4.1.3)
• Link supervision (see Section 3.1 and [Vol 2] Part C, Section 4.1.6)
• Encryption (see [Vol 2] Part H, Section 4 and [Vol 2] Part C, Section 4.2.5)
• Channel quality-driven data rate change (see [Vol 2] Part C, Section 4.1.7)
• Multi-slot packet control (see [Vol 2] Part C, Section 4.1.10)

and for physical links on the adapted piconet physical channel:
• AFH channel map (see Section 2.3 and [Vol 2] Part C, Section 4.1.4)

The Connectionless Slave Broadcast physical link is associated with the BR/
EDR adapted piconet physical channel, a single logical transport (the CSB
logical transport), and does not support the Link Manager Protocol. For
information on link supervision on Connectionless Slave Broadcast physical
links, see Section 3.2. Multi-slot packets on Connectionless Slave Broadcast
physical links are controlled by the Host and specified at the profile level.

3.1 LINK SUPERVISION FOR ACTIVE PHYSICAL LINKS
A connection can break down due to various reasons such as a device moving
out of range, encountering severe interference or a power failure condition.
Since this can happen without any prior warning, it is important to monitor the
link on both the master and the slave side to avoid possible collisions when the
logical transport address (see Section 4.2) is reassigned to another slave.

To be able to detect link loss, both the master and the slave shall use a link
supervision timer, T supervision. Upon reception of a valid packet header with
one of the slave's addresses (see Section 4.2) on the physical link, the timer
shall be reset. If at any time in CONNECTION state, the timer reaches the
supervisionTO value, the connection shall be considered disconnected. The
same link supervision timer shall be used for SCO, eSCO, and ACL logical
transports.

The timeout period, supervisionTO, is negotiated by the Link Manager. Its
value shall be chosen so that the supervision timeout will be longer than hold
and sniff periods.




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3.2 LINK SUPERVISION FOR CONNECTIONLESS SLAVE
    BROADCAST PHYSICAL LINKS
For Connectionless Slave Broadcast physical links, only the slave side
monitors the link. To detect link loss, the slave shall use a link supervision
timer, TCSB_Supervision. Each Connectionless Slave Broadcast slave shall reset
the timer upon reception of a Connectionless Slave Broadcast packet with a
valid packet header. If at any time in connectionless slave broadcast mode of
the CONNECTION state, the timer reaches the CSB_supervisionTO value, the
connection shall be considered disconnected.

For each slave, the timeout period, CSB_supervisionTO, shall be provided by
the Host.

3.3 AUTHENTICATED PAYLOAD TIMEOUT FOR ACTIVE LINKS
For active physical links, when encryption is enabled and AES-CCM is used, a
device monitors the time between receiving packets from the remote device
containing a MIC. To ensure the integrity of the link, an Authenticated Payload
timer, TAuthenticated_Payload, is used. Each device shall reset the timer upon
reception of a packet with a valid MIC. If at any time in the CONNECTION
state, the timer reaches the authenticatedPayloadTO value, the Host shall be
notified. The timeout period, authenticatedPayloadTO, shall be provided by the
Host.

The device shall reset the timer each time after the Host is notified. The
Controller shall reset the timer when the Host writes the
authenticatedPayloadTO value.




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4 LOGICAL TRANSPORTS

4.1 GENERAL
Between master and slave(s), different types of logical transports may be
established. Five logical transports have been defined:
• Synchronous Connection-Oriented (SCO) logical transport
• Extended Synchronous Connection-Oriented (eSCO) logical transport
• Asynchronous Connection-Oriented (ACL) logical transport
• Active Slave Broadcast (ASB) logical transport
• Connectionless Slave Broadcast (CSB) logical transport.

The synchronous logical transports are point-to-point logical transports between
a master and a single slave in the piconet. The synchronous logical transports
typically support time-bounded information like voice or general synchronous
data. The master maintains the synchronous logical transports by using
reserved slots at regular intervals. In addition to the reserved slots the eSCO
logical transport may have a retransmission window after the reserved slots.

The ACL logical transport is also a point-to-point logical transport between the
master and a slave. In the slots not reserved for synchronous logical
transport(s), the master can establish an ACL logical transport on a per-slot
basis to any slave, including the slave(s) already engaged in a synchronous
logical transport.

The ASB logical transport is used by a master to communicate with active
slaves.

The CSB logical transport is used by a master to send profile broadcast data to
zero or more slaves.

4.2 LOGICAL TRANSPORT ADDRESS (LT_ADDR)
Each slave active in a piconet is assigned a primary 3-bit logical transport
address (LT_ADDR). The all-zero LT_ADDR is reserved for ASB broadcast
messages. The CSB logical transport uses a single non-zero LT_ADDR. The
master does not have an LT_ADDR. A master's timing relative to the slaves’
distinguishes it from the slaves. A secondary LT_ADDR is assigned to the slave
for each eSCO logical transport in use in the piconet. The secondary LT_ADDR
shall not be 0. Only eSCO traffic (i.e. NULL, POLL, and one of the EV packet
types as negotiated at eSCO logical transport setup) may be sent on these
LT_ADDRs. ACL traffic (including LMP) shall always be sent on the primary
LT_ADDR. A slave shall only accept packets with matching primary or secondary
LT_ADDR and broadcast packets. The LT_ADDR is carried in the packet header
(see Section 6.4). The LT_ADDR shall only be valid for as long as a slave is in


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the active mode. As soon as it is disconnected, the slave shall lose all of its
LT_ADDRs.

The primary LT_ADDR shall be assigned by the master to the slave when the
slave is activated. This is either at connection establishment or role switch,
when the primary LT_ADDR is carried in the FHS payload.

At any given time an LT_ADDR (other than the special case of the all-zero
LT_ADDR) is either unused or is used for exactly one of the three purposes of
the primary address for a slave, a secondary address for eSCO traffic, or for a
CSB logical transport. Therefore allocating a secondary LT_ADDR for an
eSCO logical transport, or reserving an LT_ADDR for the CSB logical
transport, reduces the maximum number of active slaves possible in the
piconet.

4.3 SYNCHRONOUS LOGICAL TRANSPORTS
The first type of synchronous logical transport, the SCO logical transport, is a
symmetric, point-to-point transport between the master and a specific slave.
The SCO logical transport reserves slots and can therefore be considered as a
circuit-switched connection between the master and the slave. The master may
support up to three SCO links to the same slave or to different slaves. A slave
may support up to three SCO links from the same master, or two SCO links if
the links originate from different masters. SCO packets are never retransmitted.

The second type of synchronous logical transport, the eSCO logical transport,
is a point-to-point logical transport between the master and a specific slave.
eSCO logical transports may be symmetric or asymmetric. Similar to SCO,
eSCO reserves slots and can therefore be considered a circuit-switched
connection between the master and the slave. In addition to the reserved slots,
eSCO supports a retransmission window immediately following the reserved
slots. Together, the reserved slots and the retransmission window form the
complete eSCO window.

4.4 ASYNCHRONOUS LOGICAL TRANSPORT
In the slots not reserved for synchronous logical transports, the master may
exchange packets with any slave on a per-slot basis. The ACL logical transport
provides a packet-switched connection between the master and all active
slaves participating in the piconet. Both asynchronous and isochronous
services are supported. Between a master and a slave only a single ACL
logical transport shall exist. For most ACL packets, packet retransmission is
applied to assure data integrity.

ACL packets not addressed to a specific slave (LT_ADDR=0) are considered
as broadcast packets and should be received by every slave except slaves
with only a CSB logical transport. If there is no data to be sent on the ACL
logical transport and no polling is required, no transmission is required.


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4.5 TRANSMIT/RECEIVE ROUTINES
This section describes the way to use the packets as defined in Section 6 in
order to support the traffic on the ACL, SCO and eSCO logical transports. Both
single-slave and multi-slave configurations are considered. In addition, the use
of buffers for the TX and RX routines are described.

The TX and RX routines described in sections 4.5.1 and 4.5.2 are informative only.

4.5.1 TX Routine

The TX routine is carried out separately for each asynchronous and
synchronous logical transport. Figure 4.1 shows the asynchronous and
synchronous buffers as used in the TX routine. In this figure, only a single TX
asynchronous buffer and a single TX synchronous buffer are shown. In the
master, there is a separate TX asynchronous buffer for each slave. In addition
there can be one or more TX synchronous buffers for each synchronous slave
(different SCO or eSCO logical transports could either reuse the same TX
synchronous buffer, or each have their own TX synchronous buffer). Each TX
buffer consists of two FIFO registers: one current register which can be
accessed and read by the Link Controller in order to compose the packets, and
one next register that can be accessed by the Baseband Resource Manager to
load new information. The positions of the switches S1 and S2 determine
which register is current and which register is next; the switches are controlled
by the Link Controller. The switches at the input and the output of the FIFO
registers can never be connected to the same register simultaneously.


                                      TX asynchronous buffer

                                      current/next data FIFO
      asynchronous
                             S1a                               S1b
        I/O port
                                      next/current data FIFO


                                                                         packet
                                                                        composer
                                      TX synchronous buffer

                                     current/next voice FIFO
      synchronous
                             S2a                               S2b
        I/O port
                                     next/current voice FIFO


Figure 4.1: Functional diagram of TX buffering


Of the packets common on the ACL and SCO logical transports (NULL, POLL
and DM1) only the DM1 packet carries a payload that is exchanged between
the Link Controller and the Link Manager; this common packet makes use of
the asynchronous buffer. All ACL packets make use of the asynchronous


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buffer. All SCO and eSCO packets make use of the synchronous buffer except
for the DV packet where the synchronous data part is handled by the
synchronous buffer and the data part is handled by the asynchronous buffer. In
the next sections, the operation for ACL traffic, SCO traffic, eSCO traffic, and
combined data-voice traffic on the SCO logical transport are described.

4.5.1.1 ACL Traffic
In the case of asynchronous data only the TX ACL buffer in Figure 4.1 has to
be considered. In this case, only packet types DM or DH are used, and these
can have different lengths. The length is indicated in the payload header. The
selection of DM or DH packets should depend on the quality of the link. See
[Vol 2] Part C, Section 4.1.7.
The default packet type in pure data traffic is NULL (see Section 6.5.1.2). This
means that, if there is no data to be sent (the data traffic is asynchronous, and
therefore pauses occur in which no data is available) or no slaves need to be
polled, NULL packets are sent instead − in order to send link control information
to the other device (e.g. ACK/STOP information for received data). When no link
control information is available (either no need to acknowledge and/or no need to
stop the RX flow) no packet is sent at all.
The TX routine works as follows. The Baseband Resource Manager loads new
data information in the register to which the switch S1a points. Next, it gives a
command to the Link Controller, which forces the switch S1 to change (both S1a
and S1b switch synchronously). When the payload needs to be sent, the packet
composer reads the current register and, depending on the packet type, builds a
payload which is appended to the channel access code and the header and is
subsequently transmitted. In the response packet (which arrives in the following
RX slot if it concerned a master transmission, or may be postponed until some
later RX slot if it concerned a slave transmission), the result of the transmission is
reported back. In case of an ACK, the switch S1 changes position; if a NAK
(explicit or implicit) is received instead, the switch S1 will not change position. In
that case, the same payload is retransmitted at the next TX occasion.
As long as the Baseband Resource Manager keeps loading the registers with
new information, the Link Controller will automatically transmit the payload; in
addition, retransmissions are performed automatically in case of errors. The
Link Controller will send NULL or nothing when no new data is loaded. If no
new data has been loaded in the next register, during the last transmission, the
packet composer will be pointing to an empty register after the last
transmission has been acknowledged and the next register becomes the
current register. If new data is loaded in the next register, a flush command is
required to switch the S1 switch to the proper register. As long as the
Baseband Resource Manager keeps loading the data and type registers before
each TX slot, the data is automatically processed by the Link Controller since
the S1 switch is controlled by the ACK information received in response.
However, if the traffic from the Baseband Resource Manager is interrupted
once and a default packet is sent instead, a flush command is necessary to
continue the flow in the Link Controller.

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The flush command may also be used in case of time-bounded (isochronous)
data. In case of a bad link, many retransmissions are necessary. In certain
applications, the data is time-bounded: if a payload is retransmitted all the time
because of link errors, it may become outdated, and the system might decide
to continue with more recent data instead and skip the payload that does not
come through. This is accomplished by the flush command as well. With the
flush, the switch S1 is forced to change and the Link Controller is forced to
consider the next data payload and overrules the ACK control. Any ACL type of
packet can be used to send data or link control information to any other ACL
slave.

4.5.1.2 SCO Traffic

On the SCO logical transport only HV and DV packet types are used, See
Section 6.5.2. The synchronous port may continuously load the next register in
the synchronous buffer. The S2 switches are changed according to the Tsco
interval. This Tsco interval is negotiated between the master and the slave at
the time the SCO logical transport is established.

For each new SCO slot, the packet composer reads the current register after
which the S2 switch is changed. If the SCO slot has to be used to send control
information with high priority concerning a control packet between the master
and the SCO slave, or a control packet between the master and any other
slave, the packet composer will discard the SCO information and use the
control information instead. This control information shall be sent in a DM1
packet. Data or link control information may also be exchanged between the
master and the SCO slave by using the DV or DM1 packets.

4.5.1.3 Mixed Data/Voice Traffic

In Section 6.5.2, a DV packet has been defined that can support both data and
voice simultaneously on a single SCO logical transport. When the TYPE is DV,
the Link Controller reads the data register to fill the data field and the voice
register to fill the voice field. Thereafter, the switch S2 is changed. However,
the position of S1 depends on the result of the transmission as on the ACL
logical transport: only if an ACK has been received will the S1 switch change its
position. In each DV packet, the voice information is new, but the data
information might be retransmitted if the previous transmission failed. If there is
no data to be sent, the SCO logical transport will automatically change from DV
packet type to the current HV packet type used before the mixed data/voice
transmission. Note that a flush command is necessary when the data stream
has been interrupted and new data has arrived.

Combined data-voice transmission can also be accomplished by using a
separate ACL logical transport in addition to the SCO logical transport(s) if
channel capacity permits this.




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4.5.1.4 eSCO Traffic

On the eSCO logical transport only EV, POLL and NULL packet types are
used, see Section 6.5.3. The synchronous port may continuously load the next
register in the synchronous buffer. The S2 switches are changed according to
the TeSCO interval. This TeSCO interval is negotiated between the master and
the slave at the time the eSCO logical transport is established.

For each new eSCO slot, the packet composer reads the current register after
which the S2 switch is changed. If the eSCO slot has to be used to send control
information with high priority concerning a control packet between the master
and the eSCO slave, or an ACL packet between the master and any other
slave, the packet composer will discard the eSCO information and use the
control information instead. Control information to the eSCO slave is sent in a
DM1 packet on the primary LT_ADDR.

4.5.1.5 Default Packet Types

On the ACL links, the default type is always NULL both for the master and the
slave. This means that if no user information needs to be sent, either a NULL
packet is sent if there is ACK or STOP information, or no packet is sent at all.
The NULL packet can be used by the master to allocate the next slave-to-
master slot to a certain slave (namely the one addressed). However, the slave
is not forced to respond to the NULL packet from the master. If the master
requires a response, it sends a POLL packet.

The SCO and eSCO packet types are negotiated at the LM level when the
SCO or eSCO logical transport is established. The agreed packet type is also
the default packet type for the reserved SCO or eSCO slots.

4.5.2 RX Routine

The RX routine is carried out separately for the ACL logical transport and the
synchronous logical transports. However, in contrast to the master TX
asynchronous buffer, a single RX buffer is shared among all slaves. For the
synchronous buffer, how the different synchronous logical transports are
distinguished depends on whether extra synchronous buffers are required or
not. Figure 4.2 shows the asynchronous and synchronous buffers as used in
the RX routine. The RX asynchronous buffer consists of two FIFO registers:
one register that can be accessed and loaded by the Link Controller with the
payload of the latest RX packet, and one register that can be accessed by the
Baseband Resource Manager to read the previous payload. The RX
synchronous buffer also consists of two FIFO registers: one register which is
filled with newly arrived voice information, and one register which can be read
by the voice processing unit.




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                                      RX asynchronous buffer

                                      current/next data FIFO
                                                                        asynchronous
                                S1a                             S1b
                                                                          I/O port
           packet de-composer



                                      next/current data FIFO




                                      RX synchronous buffer

                                      current/next voice FIFO
                                                                        synchronous
                                S2a                             S2b
                                                                          I/O port
                                      next/current voice FIFO


Figure 4.2: Functional diagram of RX buffering


Since the TYPE indication in the header (see Section 6.4.2) of the received
packet indicates whether the payload contains data and/or voice, the packet
de-composer can automatically direct the traffic to the proper buffers. The
switch S1 changes every time the Baseband Resource Manager reads the old
register. If the next payload arrives before the RX register is emptied, a STOP
indication is included in the packet header of the next TX packet that is
returned. The STOP indication is removed again as soon as the RX register is
emptied. The SEQN field is checked before a new ACL payload is stored into
the asynchronous register (flush indication in LLID and broadcast messages
influence the interpretation of the SEQN field see Section 7.6).

The S2 switch is changed every TSCO or TeSCO for SCO and eSCO
respectively. If, due to errors in the header, no new synchronous payload
arrives, the switch still changes. The synchronous data processing unit then
processes the synchronous data to account for the missing parts.

4.5.3 Flow Control

Since the RX ACL buffer can be full while a new payload arrives, flow control is
required. The header field FLOW in the return TX packet may use STOP or GO
in order to control the transmission of new data.

4.5.3.1 Destination Control

As long as data cannot be received, a STOP indication shall be transmitted
which is automatically inserted by the Link Controller into the header of the
return packet. STOP shall be returned as long as the RX ACL buffer is not
emptied by the Baseband Resource Manager. When new data can be
accepted again, the GO indication shall be returned. GO shall be the default
value. All packet types not including data can still be received. Voice
communication for example is not affected by the flow control. Although a

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device can-not receive new information, it may still continue to transmit
information: the flow control shall be separate for each direction.

4.5.3.2 Source Control

On the reception of a STOP signal, the Link Controller shall automatically
switch to the default packet type. The ACL packet transmitted just before the
reception of the STOP indication shall be kept until a GO signal is received. It
may be retransmitted as soon as a GO indication is received. Only default
packets shall be sent as long as the STOP indication is received. When no
packet is received, GO shall be assumed implicitly. Note that the default
packets contain link control information (in the header) for the receive direction
(which may still be open) and may contain synchronous data (HV or EV
packets). When a GO indication is received, the Link Controller may resume
transmitting the data that is present in the TX ACL buffers.

In a multi-slave configuration, only the transmission to the slave that issued the
STOP signal shall be stalled. This means that the master shall only stop
transmission from the TX ACL buffer corresponding to the slave that
momentarily cannot accept data.

4.6 ACTIVE SLAVE BROADCAST TRANSPORT
The active slave broadcast logical transport is used to transport L2CAP user
traffic and certain LMP traffic to all devices in the piconet that are currently
connected to the piconet physical channel that is used by the ASB. There is no
acknowledgment protocol and the traffic is uni-directional from the piconet
master to the slaves. The ASB logical transport may only be used for L2CAP
group traffic and shall never be used for L2CAP connection-oriented channels
or L2CAP control signaling.

The ASB logical transport is unreliable. To improve reliability somewhat each
packet is transmitted a number of times. An identical sequence number is used
to assist with filtering retransmissions at the slave device.

The ASB logical transport is identified by the reserved, all-zero, LT_ADDR.
Packets on the ASB logical transport may be sent by the master at any time.

4.7 THIS SECTION NO LONGER USED



4.8 CONNECTIONLESS SLAVE BROADCAST LOGICAL
    TRANSPORT
The CSB logical transport is used to transport profile broadcast data from a
master to multiple slaves. There is no acknowledgment scheme and the traffic
is unidirectional. Note: The CSB logical transport is not used for L2CAP

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connection-oriented channels, L2CAP control signaling, or LMP control
signaling.

The CSB logical transport is unreliable. To improve reliability each packet
payload may be transmitted a number of times.




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5 LOGICAL LINKS

The following logical links are defined:
• Link Control (LC)
• ACL Control (ACL-C and ASB-C)
• User Asynchronous/Isochronous (ACL-U and ASB-U)
• User Synchronous (SCO-S)
• User Extended Synchronous (eSCO-S)
• Profile Broadcast Data (PBD)

The control logical link LC is used at the link control level. The ACL-C and
ASB-C logical links are used at the link manager level. The ACL-U and ASB-U
logical links are used to carry either asynchronous or isochronous user
information. The SCO-S, and eSCO-S logical links are used to carry
synchronous user information. The PBD logical link is used to carry profile
broadcast data. The LC logical link is carried in the packet header, all other
logical links are carried in the packet payload. The ACL-C, ACL-U, ASB-C, and
ASB-U logical links are indicated in the logical link ID, LLID, field in the payload
header. The SCO-S and eSCO-S logical links are carried by the synchronous
logical transports only; the ACL-U link is normally carried by the ACL logical
transport; however, it may also be carried by the data in the DV packet on the
SCO logical transport. The ACL-C link may be carried either by the SCO or the
ACL logical transport. The ASB-C and ASB-U links are carried by the ASB
logical transport. The PBD logical link is carried by the CSB logical transport.

5.1 LINK CONTROL LOGICAL LINK (LC)
The LC control logical link shall be mapped onto the packet header. This logical
link carries low level link control information like ARQ, flow control, and payload
characterization. The LC logical link is carried in every packet except in the ID
packet which does not have a packet header.

5.2 ACL CONTROL LOGICAL LINKS (ACL-C AND ASB-C)
The ACL-C and ASB-C logical links shall carry control information exchanged
between the link managers of the master and the slave(s). The ACL-C logical
link shall use DM1 or DV packets. DV packets shall only be used on the ACL-C
link if the ACL-C message is less than or equal to 9 bytes and an HV1
synchronous logical transport is in use. The ASB-C logical link shall use DM1
packets. The ACL-C and ASB-C logical links are indicated by the LLID code
11b in the payload header.




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5.3 USER ASYNCHRONOUS/ISOCHRONOUS LOGICAL LINKS
(ACL-U AND ASB-U)
The ACL-U and ASB-U logical links shall carry L2CAP asynchronous and
isochronous user data. These messages may be transmitted in one or more
baseband packets. For fragmented messages, the start packet shall use an
LLID code of 10b in the payload header. Remaining continuation packets shall
use LLID code 01b. If there is no fragmentation, all packets shall use the LLID
start code 10b.

5.3.1 Pausing the ACL-U Logical Link

When paused by LM, the Link Controller transmits the current packet with ACL-
U information, if any, until an ACK is received. While the ACL-U logical link is
paused, the Link Controller shall not transmit any packets with ACL-U logical
link information.
If the ACL-U was paused after an ACK, the next sequence number shall be
used on the next packet. If the ACL-U was paused after a NAK, the same
sequence number shall be used on the next packet and the un-acknowledged
packet shall be transmitted once the ACL-U logical link is un-paused.
When the ACL-U logical link is un-paused by LM, the Link Controller may
resume transmitting packets with ACL-U information.

5.4 USER SYNCHRONOUS DATA LOGICAL LINK (SCO-S)
The SCO-S logical link carries transparent synchronous user data. This logical
link is carried over the synchronous logical transport SCO.

5.5 USER EXTENDED SYNCHRONOUS DATA LOGICAL LINK
    (eSCO-S)
The eSCO-S logical link also carries transparent synchronous user data. This
logical link is carried over the extended synchronous logical transport eSCO.

5.6 LOGICAL LINK PRIORITIES
The ACL-C logical link shall have a higher priority than the ACL-U logical link
when scheduling traffic on the shared ACL logical transport, except in the case
when retransmissions of unacknowledged ACL packets shall be given priority
over traffic on the ACL-C logical link. The ASB-C logical link shall have a higher
priority than the ASB-U logical link when scheduling traffic on the shared ASB
logical transport. The ACL-C logical link should also have priority over traffic on
the SCO-S and eSCO-S logical links but opportunities for interleaving the
logical links should be taken. The ACL-C, SCO-S, and eSCO-S logical links
should have priority over traffic on the PBD logical link.



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5.7 PROFILE BROADCAST DATA LOGICAL LINK
The PBD logical link carries profile broadcast data. Messages shall not be
fragmented and shall always use LLID start code 10b.




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6 PACKETS

Bluetooth devices shall use the packets as defined in the following sections.

6.1 GENERAL FORMAT

6.1.1 Basic Rate

The general packet format of Basic Rate packets is shown in Figure 6.1. Each
packet consists of 3 entities: the access code, the header, and the payload. In
the figure, the number of bits per entity is indicated.


   LSB 68/72                54                         0 - 2790                  MSB
          ACCESS
                       HEADER                          PAYLOAD
           CODE

Figure 6.1: General Basic Rate packet format


The access code is 72 or 68 bits and the header is 54 bits. The payload ranges
from zero to a maximum of 2790 bits. Different packet types have been
defined. A packet may consist of:
• the shortened access code only (see Section 6.5.1.1)
• the access code and the packet header
• the access code, the packet header and the payload.

6.1.2 Enhanced Data Rate

The general format of Enhanced Data Rate packets is shown in Figure 6.2. The
access code and packet header are identical in format and modulation to Basic
Rate packets. Enhanced Data Rate packets have a guard time and
synchronization sequence following the packet header. Following the payload
are two trailer symbols. The guard time, synchronization sequence and trailer
are defined in Section 6.6.


   LSB                                                                       MSB

    ACCESS                                      ENHANCED DATA RATE
                   HEADER        GUARD   SYNC                          TRAILER
     CODE                                            PAYLOAD

             GFSK                                         DPSK



Figure 6.2: General enhanced data rate packet format




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6.2 BIT ORDERING
The bit ordering when defining packets and messages in the Baseband
Specification, follows the Little Endian format. The following rules apply:
• The least significant bit (LSB) corresponds to b 0 ;
• The LSB is the first bit sent over the air;
• In illustrations, the LSB is shown on the left side;

Furthermore, data fields generated internally at baseband level, such as the
packet header fields and payload header length, shall be transmitted with the
LSB first. For instance, a 3-bit parameter X=3 is sent as:

b 0 b 1 b 2 = 110

over the air where 1 is sent first and 0 is sent last.

6.3 ACCESS CODE
Every packet starts with an access code. If a packet header follows, the access
code is 72 bits long, otherwise the access code is 68 bits long and is known as
a shortened access code. The shortened access code does not contain a
trailer. This access code is used for synchronization, DC offset compensation
and identification. The access code identifies all packets exchanged on a
physical channel: all packets sent in the same physical channel are preceded
by the same access code. In the receiver of the device, a sliding correlator
correlates against the access code and triggers when a threshold is exceeded.
This trigger signal is used to determine the receive timing.

The shortened access code is used in paging and inquiry. In this case, the
access code itself is used as a signaling message and neither a header nor a
payload is present.

The access code consists of a preamble, a sync word, and possibly a trailer,
see Figure 6.3. For details see Section 6.3.1.


  LSB      4                           64                                  4    MSB

     PREAMBLE                     SYNC WORD                           TRAILER


Figure 6.3: Access code format




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6.3.1 Access Code Types

The different access code types use different Lower Address Parts (LAPs) to
construct the sync word. The LAP field of the BD_ADDR is explained in
Section 1.2. A summary of the different access code types is in Table 6.1.

 Code type                 LAP                   Code length       Comments

 CAC                       Master                72
 DAC                       Paged device          68/721
                                                                   See also Section 1.3
 GIAC                      Reserved              68/721

 DIAC                      Dedicated             68/721
Table 6.1: Summary of access code types
 1. length 72 is only used in combination with FHS packets


The CAC consists of a preamble, sync word, and trailer and its total length is
72 bits. When used as self-contained messages without a header, the DAC
and IAC do not include the trailer bits and are of length 68 bits.

6.3.2 Preamble

The preamble is a fixed zero-one pattern of 4 symbols used to facilitate DC
compensation. The sequence is either ‘1010’ or ‘0101’ (in transmission order),
depending on whether the LSB of the following sync word is 1 or 0,
respectively. The preamble is shown in Figure 6.4.

          LSB MSB LSB                                        LSB MSB LSB

           1010        1                                      0101    0

          preamble sync word                                 preamble sync word

Figure 6.4: Preamble


6.3.3 Sync Word

The sync word is a 64-bit code word derived from a 24 bit address (LAP); for
the CAC the master’s LAP is used; for the GIAC and the DIAC, reserved,
dedicated LAPs are used; for the DAC, the slave LAP is used. The construction
guarantees large Hamming distance between sync words based on different
LAPs. In addition, the good auto correlation properties of the sync word
improve timing acquisition.




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6.3.3.1 Synchronization Word Definition

The sync words are based on a (64,30) expurgated block code with an overlay
(bit-wise XOR) of a 64 bit full length pseudo-random noise (PN) sequence. The
expurgated code guarantees large Hamming distance ( d min = 14 ) between
sync words based on different addresses. The PN sequence improves the auto
correlation properties of the access code. The following steps describe how the
sync word shall be generated:

      1.    Generate information sequence;
      2.    XOR this with the “information covering” part of the PN overlay
            sequence;
      3.    Generate the codeword;
      4.    XOR the codeword with all 64 bits of the PN overlay sequence;

The information sequence is generated by appending 6 bits to the 24 bit LAP
(step 1). The appended bits are 001101 if the MSB of the LAP equals 0. If the
MSB of the LAP is 1 the appended bits are 110010 . The LAP MSB together with
the appended bits constitute a length-seven Barker sequence. The purpose of
including a Barker sequence is to further improve the auto correlation
properties. In step 2 the information is pre-scrambled by XORing it with the bits
p 34 …p 63 of the PN sequence (defined in Section 6.3.3.2). After generating the
codeword (step 3), the complete PN sequence is XORed to the codeword (step
4). This step de-scrambles the information part of the codeword. At the same
time the parity bits of the codeword are scrambled. Consequently, the original
LAP and Barker sequence are ensured a role as a part of the access code
sync word, and the cyclic properties of the underlying code is removed. The
principle is depicted in Figure 6.5.

In the following discussion, binary sequences will be denoted by their
corresponding D-transform (in which D i represents a delay of i time units). Let
 p'(D) = p' 0 + p' 1 D + … + p' 62 D 62 be the 63 bit PN sequence, where p' 0 is the first
bit (LSB) leaving the PRNG (see Figure 6.6), and, p' 62 is the last bit (MSB). To
obtain 64 bits, an extra zero is appended at the end of this sequence (thus,
p'(D) is unchanged). For notational convenience, the reciprocal of this
extended polynomial, p(D) = D 63 p'(1 ⁄ D) , will be used in the following
discussion. This is the sequence p'(D) in reverse order. We denote the 24 bit
lower address part (LAP) of the Bluetooth device address by
a(D) = a 0 + a 1 D + … + a 23 D 23 ( a 0 is the LSB of the Bluetooth device address).




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                                           LAP
                                       a 0 a 1 …a 23        001101        if a 23 = 0

                                       a 0 a 1 …a 23        110010        if a 23 = 1
                                                       ⊕
                                      p 34 p 35 …p 57      p 58 …p 63


                                         x̃ 0 …x̃ 23       x̃ 24 …x̃ 29   Data to encode


                   c̃ 0 …c̃ 33           x̃ 0 …x̃ 23       x̃ 24 …x̃ 29   Codeword
                                            ⊕
                  p 0 …p 33             p 34 …p 57         p 58 …p 63



                   c 0 …c 33           a 0 a 1 …a 23       001101         if a 23 = 0

                   c 0 …c 33           a 0 a 1 …a 23       110010         if a 23 = 1


Figure 6.5: Construction of the sync word


The (64,30) block code generator polynomial is denoted g(D) = ( 1 + D )g'(D) ,
where g'(D) is the generator polynomial 157464165547 (octal notation) of a
primitive binary (63,30) BCH code. Thus, in octal notation g(D) is

                                 g(D) = 260534236651,                                             (EQ 9)

the left-most bit corresponds to the high-order ( g 34 ) coefficient. The DC-free
four bit sequences 0101 and 1010 can be written

                                     F 0(D) = D + D 3 ,
                                    
                                                                                                (EQ 10)
                                     F (D) = 1 + D 2 ,
                                     1

respectively. Furthermore,

                                  B 0(D) = D 2 + D 3 + D 5 ,
                                 
                                                                                                (EQ 11)
                                  B (D) = 1 + D + D 4 ,
                                  1

which are used to create the length seven Barker sequences. Then, the access
code shall be generated by the following procedure:


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      1.     Format the 30 information bits to encode:

                              x(D) = a(D) + D 24 B a (D).
                                                        23


      2.     Add the information covering part of the PN overlay sequence:

                              x̃(D) = x(D) + p 34 + p 35 D + … + p 63 D 29 .

      3.     Generate parity bits of the (64,30) expurgated block code:1

                              c̃(D) = D 34 x̃(D) mod g(D) .

      4.     Create the codeword:

                              s̃(D) = D 34 x̃(D) + c̃(D).

      5.     Add the PN sequence:

                              s(D) = s̃(D) + p(D).

      6.     Append the (DC-free) preamble and trailer:

                              y(D) = F c (D) + D 4 s(D) + D 68 F a (D).
                                         0                        23




6.3.3.2 Pseudo-Random Noise Sequence Generation

To generate the PN sequence the primitive polynomial
h(D) = 1 + D + D 3 + D 4 + D 6 shall be used. The LFSR and its starting state are
shown in Figure 6.6. The PN sequence generated (including the extra
terminating zero) becomes (hexadecimal notation) 83848D96BBCC54FC. The
LFSR output starts with the left-most bit of this PN sequence. This corresponds
to p'(D) of the previous section. Thus, using the reciprocal p(D) as overlay
gives the 64 bit sequence:

                            p = 3F2A33DD69B121C1,                                              (EQ 12)

where the left-most bit is p 0 = 0 (there are two initial zeros in the binary
representation of the hexadecimal digit 3), and p 63 = 1 is the right-most bit.

                                                +   +        +



                                         1 0 0 0 0 0

Figure 6.6: LFSR and the starting state to generate p'(D)


1. x(D) mod y(D) denotes the remainder when x(D) is divided by y(D).


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6.3.4 Trailer

The trailer is appended to the sync word as soon as the packet header follows
the access code. This is typically the case with the CAC, but the trailer is also
used in the DAC and IAC when these codes are used in FHS packets
exchanged during page response and inquiry response.

The trailer is a fixed zero-one pattern of four symbols. The trailer together with
the three MSBs of the syncword form a 7-bit pattern of alternating ones and
zeroes which can be used for extended DC compensation. The trailer
sequence is either ‘1010’ or ‘0101’(in transmission order) depending on
whether the MSB of the sync word is 0 or 1, respectively. The choice of trailer is
illustrated in Figure 6.7.


                      MSB LSB MSB                              MSB LSB MSB

                    ----0 1010                                ----1 0101

                 sync word trailer                        sync word trailer

                          a)                                       b)

Figure 6.7: Trailer in CAC when MSB of sync word is 0 (a), and when MSB of sync word is 1 (b)


6.4 PACKET HEADER
The header contains link control (LC) information and consists of 6 fields:
•   LT_ADDR:                3-bit logical transport address
•   TYPE:                   4-bit type code
•   FLOW:                   1-bit flow control
•   ARQN:                   1-bit acknowledge indication
•   SEQN:                   1-bit sequence number
•   HEC:                    8-bit header error check

The total header, including the HEC, consists of 18 bits, see Figure 6.8, and is
encoded with a rate 1/3 FEC (not shown but described in Section 7.4) resulting
in a 54-bit header. The LT_ADDR and TYPE fields shall be sent LSB first.


     LSB     3                 4       1    1    1                  8               MSB

          LT_ADDR           TYPE     FLOW ARQN SEQN                HEC


Figure 6.8: Header format




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6.4.1 LT_ADDR

The 3-bit LT_ADDR field contains the logical transport address for the packet
(see Section 4.2). This field indicates the destination slave (or slaves in the
case of a broadcast) for a packet in a master-to-slave transmission slot and
indicates the source slave for a slave-to-master transmission slot.

6.4.2 TYPE

Sixteen different types of packets can be distinguished. The 4-bit TYPE code
specifies which packet type is used. The interpretation of the TYPE code
depends on the logical transport address in the packet. First, it shall be
determined whether the packet is sent on a SCO logical transport, an eSCO
logical transport, an ACL logical transport, or a CSB logical transport. Second,
it shall be determined whether Enhanced Data Rate has been enabled for the
logical transport (ACL or eSCO) indicated by LT_ADDR. It can then be
determined which type of SCO packet, eSCO packet, or ACL packet has been
received. The TYPE code determines how many slots the current packet will
occupy (see the slot occupancy column in Table 6.2). This allows the non-
addressed receivers to refrain from listening to the channel for the duration of
the remaining slots. In Section 6.5, each packet type is described in more
detail.

6.4.3 FLOW

The FLOW bit is used for flow control of packets over the ACL logical transport.
When the RX buffer for the ACL logical transport in the recipient is full, a STOP
indication (FLOW=0) shall be returned to stop the other device from
transmitting data temporarily. The STOP signal only affects ACL packets.
Packets including only link control information (ID, POLL, and NULL packets),
SCO packets or eSCO packets can still be received. When the RX buffer can
accept data, a GO indication (FLOW=1) shall be returned. When no packet is
received, or the received header is in error, a GO shall be assumed implicitly. In
this case, the slave can receive a new packet with CRC although its RX buffer
is still not emptied. The slave shall then return a NAK in response to this packet
even if the packet passed the CRC check.

The FLOW bit is not used on the eSCO logical transport and shall be set to one
on transmission and ignored upon receipt. The FLOW bit is reserved for future
use on the CSB logical transport.




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6.4.4 ARQN

The 1-bit acknowledgment indication ARQN is used to inform the source of a
successful transfer of payload data with CRC, and can be positive
acknowledge ACK or negative acknowledge NAK. See Section 7.6 for
initialization and usage of this bit.

The ARQN bit is reserved for future use on the CSB logical transport.

6.4.5 SEQN

The SEQN bit provides a sequential numbering scheme to order the data
packet stream. See Section 7.6.2 for initialization and usage of the SEQN bit.
For active slave broadcast packets, a modified sequencing method is used,
see Section 7.6.5.

The SEQN bit is reserved for future use on the CSB logical transport.

6.4.6 HEC

Each header has a header-error-check to check the header integrity. The HEC
is an 8-bit word (generation of the HEC is specified in Section 7.1.1). Before
generating the HEC, the HEC generator is initialized with an 8-bit value. For
FHS packets sent in master response substate, the slave upper address part
(UAP) shall be used. For FHS packets and extended inquiry response packets
sent in inquiry response, the default check initialization (DCI, see Section
1.2.1) shall be used. In all other cases, the UAP of the master device shall be
used.

After the initialization, a HEC shall be calculated for the 10 header bits. Before
checking the HEC, the receiver shall initialize the HEC check circuitry with the
proper 8-bit UAP (or DCI). If the HEC does not check, the entire packet shall be
discarded. More information can be found in Section 7.1.




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6.5 PACKET TYPES
The packets used on the piconet are related to the logical transports on which
they are used. Four logical transports with distinct packet types are defined
(see Section 4):
• SCO logical transport
• eSCO logical transport
• ACL logical transport
• CSB logical transport.

To indicate the different packets on a logical transport, the 4-bit TYPE code is
used. The packet types are divided into four segments. The first segment is
reserved for control packets. All control packets occupy a single time slot. The
second segment is reserved for packets occupying a single time slot. The third
segment is reserved for packets occupying three time slots. The fourth segment is
reserved for packets occupying five time slots. The slot occupancy is reflected in
the segmentation and can directly be derived from the type code. Table 6.2
summarizes the packets defined for the SCO, eSCO, ACL, and CSB logical
transport types; a dash means the value is reserved for future use.

All packet types with a payload shall use GFSK modulation unless specified
otherwise in the following sections.

ACL logical transports Enhanced Data Rate packet types are explicitly selected
via LMP using the packet_type_table (ptt) parameter. eSCO Enhanced Data
Rate packet types are selected when the eSCO logical transport is established.
Enhanced Data Rate packet types for the CSB logical transport are selected
when the CSB logical transport is established.




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                                                                                                                                                     TYPE       Slot    SCO logical   eSCO logical   eSCO logical   ACL logical      ACL logical        CSB logical   CSB logical
                                                                                                                                           Segment   code       occu-   transport     transport      transport      transport        transport          transport     transport
                                                                                                                                                     b3b2b1b0   pancy   (1 Mb/s)      (1 Mb/s)       (2-3 Mb/s)     (1 Mb/s) ptt=0   (2-3 Mb/s) ptt=1   (1 Mb/s)      (2-3 Mb/s)

                                                                                                                                                     0000       1       NULL          NULL           NULL           NULL             NULL               NULL          NULL

                                                                                                                                                     0001       1       POLL          POLL           POLL           POLL             POLL               —             —
                                                                                                                                                                                                                                                                                    Baseband Specification




                                                                                                                                              1
                                                                                                                                                     0010       1       FHS           —              —              FHS              FHS                —             —

                                                                                                                                                     0011       1       DM1           —              —              DM1              DM1                DM1           DM1

                                                                                                                                                     0100       1       —             —              —              DH1              2-DH1              DH1           2-DH1

                                                                                                                                                     0101       1       HV1           —              —              —                —                  —             —

                                                                                                                                                     0110       1       HV2           —              2-EV3          —                —                  —             —
                                                                                                                                              2
                                                                                                                                                     0111       1       HV3           EV3            3-EV3          —                —                  —             —

                                                                                                                                                     1000       1       DV            —              —              —                3-DH1              —             3-DH1
                                                                                                                                                                                                                                                                                                             BLUETOOTH SPECIFICATION Version 5.0 | Vol 2, Part B




                                                                                                                                                     1001       1       —             —              —              AUX1             AUX1               —             —

                                                                                                                                                     1010       3       —             —              —              DM3              2-DH3              DM3           2-DH3

                                                                                                                                                     1011       3       —             —              —              DH3              3-DH3              DH3           3-DH3
                                                                                                                                              3
                                                                                                                                                     1100       3       —             EV4            2-EV5          —                —                  —             —

                                                                                                                                                     1101       3       —             EV5            3-EV5          —                —                  —             —

                                                                                                                                                     1110       5       —             —              —              DM5              2-DH5              DM5           2-DH5
                                                                                                                                              4
                                                                                                                                                     1111       5       —             —              —              DH5              3-DH5              DH5           3-DH5




                                               Table 6.2: Packets defined for synchronous, asynchronous, and CSB logical transport types
                                                                                                                                                                                                                                                                                                             page 411




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6.5.1 Common Packet Types

There are five common kinds of packets. In addition to the types listed in
segment 1 of the previous table, the ID packet is also a common packet type
but is not listed in segment 1 because it does not have a packet header.

6.5.1.1 ID Packet
The identity or ID packet consists of the device access code (DAC) or inquiry
access code (IAC). It has a fixed length of 68 bits. It is a very robust packet
since the receiver uses a bit correlator to match the received packet to the
known bit sequence of the ID packet.

6.5.1.2 NULL Packet
The NULL packet has no payload and consists of the channel access code and
packet header only. Its total (fixed) length is 126 bits. The NULL packet may be
used to return link information to the source regarding the success of the
previous transmission (ARQN), or the status of the RX buffer (FLOW). The
NULL packet does not require acknowledgment.

6.5.1.3 POLL Packet
The POLL packet is very similar to the NULL packet. It does not have a payload. In
contrast to the NULL packet, it requires a confirmation from the recipient. It is not a
part of the ARQ scheme. The POLL packet does not affect the ARQN and SEQN
fields. Upon reception of a POLL packet the slave shall respond with a packet even
when the slave does not have any information to send unless the slave has
scatternet commitments in that timeslot. This return packet is an implicit
acknowledgment of the POLL packet. This packet can be used by the master in a
piconet to poll the slaves. Slaves shall not transmit the POLL packet. POLL
packets shall not be sent on a Connectionless Slave Broadcast logical transport.

6.5.1.4 FHS Packet
The FHS packet is a special control packet containing, among other things, the
Bluetooth device address and the clock of the sender. The payload contains
144 information bits plus a 16-bit CRC code. The payload is coded with a rate
2/3 FEC with a gross payload length of 240 bits.
Figure 6.9 illustrates the format and contents of the FHS payload. The FHS
packet is used in page master response, inquiry response and in role switch.

The FHS packet is not encrypted. No payload header or MIC is present.
The FHS packet contains real-time clock information. This clock information
shall be updated before each retransmission. The retransmission of the FHS
payload is different than retransmissions of ordinary data payloads where the
same payload is used for each retransmission. The FHS packet is used for
frequency hop synchronization before the piconet channel has been
established, or when an existing piconet changes to a new piconet. However,


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the FHS packet is not used by Connectionless Slave Broadcast slaves for
frequency hop synchronization with Connectionless Slave Broadcast masters.

  LSB                                                                                                        MSB
        34          24      1         1        2     2   8    16        24          3           26           3

                                                                                                            Page
                                                                    C la s s o f    LT_
   P a rity b its   LAP    E IR R e s e rv e d S R   SP UAP   NAP                           C L K 2 7 -2    scan
                                                                     d e v ic e    ADDR
                                                                                                            m ode




Figure 6.9: Format of the FHS payload


Each field is described in more detail below:

                     This 34-bit field contains the parity bits that form the first part of the sync
 Parity bits         word of the access code of the device that sends the FHS packet. These
                     bits are derived from the LAP as described in Section 1.2.
                     This 24-bit field shall contain the lower address part of the device that sends
 LAP                 the FHS packet.
                     This bit shall indicate that an extended inquiry response packet may follow.
 EIR                 See Section 8.4.3.

 Reserved            This 1-bit field is reserved for future use.

                     This 2-bit field is the scan repetition field and indicates the interval between two
 SR                  consecutive page scan windows, see also Table 6.4 and Table 8.1

 SP                  This 2-bit field shall be set to 10b.

                     This 8-bit field shall contain the upper address part of the device that sends
 UAP                 the FHS packet.

                     This 16-bit field shall contain the non-significant address part of the device
 NAP                 that sends the FHS packet (see also Section 1.2 for LAP, UAP, and NAP).

 Class of            This 24-bit field shall contain the class of device of the device that sends the
 device              FHS packet. The field is defined in Bluetooth Assigned Numbers.

                     This 3-bit field shall contain the logical transport address the recipient shall
                     use if the FHS packet is used at connection setup or role switch. A slave
 LT_ADDR             responding to a master or a device responding to an inquiry request mes-
                     sage shall include an all-zero LT_ADDR field if it sends the FHS packet.
                     This 26-bit field shall contain the value of the native clock of the device that
                     sends the FHS packet, sampled at the beginning of the transmission of the
 CLK27-2             access code of this FHS packet. This clock value has a resolution of
                     1.25ms (two-slot interval). For each new transmission, this field is updated
                     so that it accurately reflects the real-time clock value.

                     This 3-bit field shall indicate which scan mode is used by default by the
 Page scan           sender of the FHS packet. The interpretation of the page scan mode is illus-
 mode                trated in Table 6.5.
Table 6.3: Description of the FHS payload




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The device sending the FHS shall set the SR bits according to Table 6.4.

 SR bit format b1b0       SR mode

 00                       R0

 01                       R1
 10                       R2
 11                       Reserved for future use

Table 6.4: Contents of SR field

The device sending the FHS shall set the page scan mode bits according to
Table 6.5.

 Bit format b2b1b0        Page scan mode

 000                      Mandatory scan mode
 001                      Reserved for future use
 010                      Reserved for future use

 011                      Reserved for future use
 100                      Reserved for future use
 101                      Reserved for future use

 110                      Reserved for future use
 111                      Reserved for future use
Table 6.5: Contents of page scan mode field

The LAP, UAP, and NAP together form the 48-bit Bluetooth Device Address of
the device that sends the FHS packet. Using the parity bits and the LAP, the
recipient can directly construct the channel access code of the sender of the
FHS packet.

When initializing the HEC and CRC for the FHS packet of inquiry response, the
UAP shall be the DCI.

6.5.1.5 DM1 Packet

DM1 is part of segment 1 in order to support control messages in any logical
transport that allows the DM1 packet (see Table 6.2). However, it may also
carry regular user data. Since the DM1 packet can be regarded as an ACL
packet, it will be discussed in Section 6.5.4.




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6.5.2 SCO Packets

HV and DV packets are used on the synchronous SCO logical transport. The
HV packets do not include a MIC or CRC and shall not be retransmitted. DV
packets include a CRC on the data section, but not on the synchronous data
section. DV packets do not include a MIC. The data section of DV packets shall
be retransmitted. SCO packets may be routed to the synchronous I/O port.
Four packets are allowed on the SCO logical transport: HV1, HV2, HV3 and
DV. These packets are typically used for 64kb/s speech transmission but may
be used for transparent synchronous data.

SCO packets shall only be encrypted with E0 when E0 is enabled. SCO
packets shall not be sent when AES-CCM Encryption is enabled.

6.5.2.1 HV1 Packet

The HV1 packet has 10 information bytes. The bytes are protected with a rate
1/3 FEC. No MIC is present. No CRC is present. The payload length is fixed at
240 bits. There is no payload header present.

6.5.2.2 HV2 Packet

The HV2 packet has 20 information bytes. The bytes are protected with a rate
2/3 FEC. No MIC is present. No CRC is present. The payload length is fixed at
240 bits. There is no payload header present.

6.5.2.3 HV3 Packet

The HV3 packet has 30 information bytes. The bytes are not protected by FEC.
No MIC is present. No CRC is present. The payload length is fixed at 240 bits.
There is no payload header present.

6.5.2.4 DV Packet

The DV packet is a combined data - voice packet. The DV packet shall only be
used in place of an HV1 packet. The payload is divided into a voice field of 80
bits and a data field containing up to 150 bits, see Figure 6.10. The voice field is
not protected by FEC. The data field has between 1 and 10 information bytes
(including the 1-byte payload header) plus a 16-bit CRC code. No MIC is
present. The data field (including the CRC) is encoded with a rate 2/3 FEC.
Since the DV packet has to be sent at regular intervals due to its synchronous
contents, it is listed under the SCO packet types. The voice and data fields shall
be treated separately. The voice field shall be handled in the same way as
normal SCO data and shall never be retransmitted; that is, the voice field is
always new. The data field is checked for errors and shall be retransmitted if
necessary. When the asynchronous data field in the DV packet has not be
acknowledged before the SCO logical transport is terminated, the asynchronous
data field shall be retransmitted in a DM1 packet.



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  LSB     72             54           80               45 - 150          MSB
      ACCESS                       VOICE                DATA
                     HEADER
       CODE                         FIELD               FIELD


Figure 6.10: DV packet format


6.5.3 eSCO Packets

EV packets are used on the synchronous eSCO logical transport. The packets
include a CRC and retransmission may be applied if no acknowledgment of
proper reception is received within the retransmission window. No MIC is
present. eSCO packets may be routed to the synchronous I/O port. Three
eSCO packet types (EV3, EV4, EV5) are defined for Basic Rate operation and
four additional eSCO packet types (2-EV3, 3-EV3, 2-EV5, 3-EV5) for
Enhanced Data Rate operation. The eSCO packets may be used for 64kb/s
speech transmission as well as transparent data at 64kb/s and other rates.

6.5.3.1 EV3 Packet

The EV3 packet has between 1 and 30 information bytes plus a 16-bit CRC
code. No MIC is present. The bytes are not protected by FEC. The EV3 packet
may cover up to a single time slot. There is no payload header present. The
payload length is set during the LMP eSCO setup and remains fixed until the
link is removed or re-negotiated.

6.5.3.2 EV4 Packet

The EV4 packet has between 1 and 120 information bytes plus a 16-bit CRC
code. No MIC is present. The EV4 packet may cover to up three time slots. The
information plus CRC bits are coded with a rate 2/3 FEC. There is no payload
header present. The payload length is set during the LMP eSCO setup and
remains fixed until the link is removed or re-negotiated.

6.5.3.3 EV5 Packet

The EV5 packet has between 1 and 180 information bytes plus a 16-bit CRC
code. No MIC is present. The bytes are not protected by FEC. The EV5 packet
may cover up to three time slots. There is no payload header present. The
payload length is set during the LMP eSCO setup and remains fixed until the
link is removed or re-negotiated.

6.5.3.4 2-EV3 Packet

The 2-EV3 packet is similar to the EV3 packet except that the payload is
modulated using π/4-DQPSK. It has between 1 and 60 information bytes plus a
16-bit CRC code. No MIC is present. The bytes are not protected by FEC. The
2-EV3 packet covers a single time slot. There is no payload header present.

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The payload length is set during the LMP eSCO setup and remains fixed until
the link is removed or re-negotiated.

6.5.3.5 2-EV5 Packet

The 2-EV5 packet is similar to the EV5 packet except that the payload is
modulated using π/4-DQPSK. It has between 1 and 360 information bytes plus
a 16-bit CRC code. No MIC is present. The bytes are not protected by FEC.
The 2-EV5 packet may cover up to three time slots. There is no payload
header present. The payload length is set during the LMP eSCO setup and
remains fixed until the link is removed or re-negotiated.

6.5.3.6 3-EV3 Packet

The 3-EV3 packet is similar to the EV3 packet except that the payload is
modulated using 8DPSK. It has between 1 and 90 information bytes plus a 16-
bit CRC code. No MIC is present. The bytes are not protected by FEC. The 3-
EV3 packet covers a single time slot. There is no payload header present. The
payload length is set during the LMP eSCO setup and remains fixed until the
link is removed or re-negotiated.

6.5.3.7 3-EV5 Packet

The 3-EV5 packet is similar to the EV5 packet except that the payload is
modulated using 8DPSK. It has between 1 and 540 information bytes plus a
16-bit CRC code. No MIC is present. The bytes are not protected by FEC. The
3-EV5 packet may cover up to three time slots. There is no payload header
present. The payload length is set during the LMP eSCO setup and remains
fixed until the link is removed or re-negotiated.

6.5.4 ACL Packets

ACL packets are used on the asynchronous logical transport and the CSB
logical transport. The information carried may be user data for either logical
transport or control data for the asynchronous logical transport.

Seven packet types are defined for Basic Rate operation: DM1, DH1, DM3,
DH3, DM5, DH5 and AUX1. Six additional packets are defined for Enhanced
Data Rate operation: 2-DH1, 3-DH1, 2-DH3, 3-DH3, 2-DH5 and 3-DH5.

The length indicator in the payload header specifies the number of user bytes
(excluding payload header, MIC and the CRC code).

6.5.4.1 DM1 Packet

The DM1 packet carries data information only. The payload has between 1 and
18 information bytes (including the 1-byte payload header) plus a 16-bit CRC
code. A 32-bit MIC is present only when encryption with AES-CCM is enabled.


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The DM1 packet occupies a single time slot. The information bits, MIC bits
(when present), plus CRC bits are coded with a rate 2/3 FEC. The payload
header in the DM1 packet is 1 byte long, see Figure 6.12.

6.5.4.2 DH1 Packet

This packet is similar to the DM1 packet, except that the information in the
payload is not FEC encoded. As a result, the DH1 packet has between 1 and
28 information bytes (including the 1-byte payload header) plus a 16-bit CRC
code. A 32-bit MIC is present only when encryption with AES-CCM is enabled.
The DH1 packet occupies a single time slot.

6.5.4.3 DM3 Packet

The DM3 packet may occupy up to three time slots. The payload has between
2 and 123 information bytes (including the 2-byte payload header) plus a 16-bit
CRC code. A 32-bit MIC is present only when encryption with AES-CCM is
enabled. The information bits, MIC bits (when present), plus CRC bits are
coded with a rate 2/3 FEC. The payload header in the DM3 packet is 2 bytes
long, see Figure 6.13.

6.5.4.4 DH3 Packet

This packet is similar to the DM3 packet, except that the information in the
payload is not FEC encoded. As a result, the DH3 packet has between 2 and
185 information bytes (including the 2-byte payload header) plus a 16-bit CRC
code. A 32-bit MIC is present only when encryption with AES-CCM is enabled.
The DH3 packet may occupy up to three time slots.

6.5.4.5 DM5 Packet

The DM5 packet may occupy up to five time slots. The payload has between 2
and 226 information bytes (including the 2-byte payload header) plus a 16-bit
CRC code. A 32-bit MIC is present only when encryption with AES-CCM is
enabled. The payload header in the DM5 packet is 2 bytes long. The
information bits, MIC bits (when present), plus CRC bits are coded with a rate
2/3 FEC.

6.5.4.6 DH5 Packet

This packet is similar to the DM5 packet, except that the information in the
payload is not FEC encoded. As a result, the DH5 packet has between 2 and
341 information bytes (including the 2-byte payload header) plus a 16-bit CRC
code. A 32-bit MIC is present only when encryption with AES-CCM is enabled.
The DH5 packet may occupy up to five time slots.




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6.5.4.7 AUX1 Packet

This packet resembles a DH1 packet but has no MIC or CRC code. The AUX1
packet has between 1 and 30 information bytes (including the 1-byte payload
header). The AUX1 packet occupies a single time slot. The AUX1 packet shall
not be used for the ACL-U, ACL-C, ASB-C, or PBD logical links. An AUX1
packet may be discarded. The AUX1 packet shall only be encrypted when E0
encryption is enabled. The AUX1 packet shall not be used when AES-CCM
encryption is enabled.

6.5.4.8 2-DH1 Packet

This packet is similar to the DH1 packet except that the payload is modulated
using π/4-DQPSK. The 2-DH1 packet has between 2 and 56 information bytes
(including the 2-byte payload header) plus a 16-bit CRC code. A 32-bit MIC is
present only when encryption with AES-CCM is enabled.The 2-DH1 packet
occupies a single time slot.

6.5.4.9 2-DH3 Packet

This packet is similar to the DH3 packet except that the payload is modulated
using π/4-DQPSK. The 2-DH3 packet has between 2 and 369 information
bytes (including the 2-byte payload header) plus a 16-bit CRC code. A 32-bit
MIC is present only when encryption with AES-CCM is enabled. The 2-DH3
packet may occupy up to three time slots.

6.5.4.10 2-DH5 Packet

This packet is similar to the DH5 packet except that the payload is modulated
using π/4-DQPSK. The 2-DH5 packet has between 2 and 681 information
bytes (including the 2-byte payload header) plus a 16-bit CRC code. A 32-bit
MIC is present only when encryption with AES-CCM is enabled. The 2-DH5
packet may occupy up to five time slots.

6.5.4.11 3-DH1 Packet

This packet is similar to the DH1 packet except that the payload is modulated
using 8DPSK. The 3-DH1 packet has between 2 and 85 information bytes
(including the 2-byte payload header) plus a 16-bit CRC code. A 32-bit MIC is
present only when encryption with AES-CCM is enabled. The 3-DH1 packet
occupies a single time slot.

6.5.4.12 3-DH3 Packet

This packet is similar to the DH3 packet except that the payload is modulated
using 8DPSK. The 3-DH3 packet has between 2 and 554 information bytes
(including the 2-byte payload header) plus a 16-bit CRC code. A 32-bit MIC is



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present only when encryption with AES-CCM is enabled. The 3-DH3 packet
may occupy up to three time slots.

6.5.4.13 3-DH5 Packet

This packet is similar to the DH5 packet except that the payload is modulated
using 8DPSK. The 3-DH5 packet has between 2 and 1023 information bytes
(including the 2-byte payload header) plus a 16-bit CRC code. A 32-bit MIC is
present only when encryption with AES-CCM is enabled. The 3-DH5 packet
may occupy up to five time slots.

6.6 PAYLOAD FORMAT
In the payload, two fields are distinguished: the synchronous data field and the
asynchronous data field. The ACL packets only have the asynchronous data
field and the SCO and eSCO packets only have the synchronous data field −
with the exception of the DV packets which have both.

6.6.1 Synchronous Data Field

In SCO, which is only supported in Basic Rate mode, the synchronous data
field has a fixed length and consists only of the synchronous data body portion.
No payload header is present.

In Basic Rate eSCO, the synchronous data field consists of two segments: a
synchronous data body and a CRC code. No payload header is present.

In Enhanced Data Rate eSCO, the synchronous data field consists of five
segments: a guard time, a synchronization sequence, a synchronous data
body, a CRC code and a trailer. No payload header is present.
1. Enhanced Data Rate Guard Time
   For Enhanced Data Rate packets the guard time is defined as the period
   starting at the end of the last GFSK symbol of the header and ending at the
   start of the reference symbol of the synchronization sequence. The length of
   the guard time shall be between 4.75 µs and 5.25 µs.
2. Enhanced Data Rate Synchronization Sequence
   For Enhanced Data Rate packets the symbol timing at the start of the
   synchronization sequence shall be within ±¼ µs of the symbol timing of the
   last GFSK symbol of the packet header. The length of the synchronization
   sequence is 11 µs (11 DPSK symbols) and consists of a reference symbol
   (with arbitrary phase) followed by ten DPSK symbols.
   The phase changes between the DPSK symbols (shown in Definition:
   Synchronization sequence ) shall be
                             {ϕ1, ϕ2, ϕ3, ϕ4, ϕ5, ϕ6, ϕ7, ϕ8, ϕ9, ϕ10} =
              {3π/4, -3π/4, 3π/4, -3π/4, 3π/4, -3π/4, -3π/4, 3π/4, 3π/4, 3π/4}                   (EQ 13)



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                Guard
     End of               Sref                                                                                                             EDR
                Time 5                   S1       S2           S3       S4       S5       S6       S7       S8       S9       S 10
     Header                                                                                                                               Payload
                 s



                                                                                                                 
                                     1        2            3        4        5        6        7        8        9        10



Figure 6.11: Synchronization sequence


   Sref is the reference symbol. ϕ1 is the phase change between the reference
   symbol and the first DPSK symbol S1. ϕk is the phase change between the
   k-1th symbol Sk-1 and the kth symbol Sk
   Note: The synchronization sequence may be generated using the modulator
   by pre-pending the data with bits that generate the synchronization
   sequence.
   For π/4-DQPSK, the bit sequence used to generate the synchronization
   sequence is 0,1,1,1,0,1,1,1,0,1,1,1,1,1,0,1,0,1,0,1.
   For 8DPSK, the bit sequence used to generate the synchronization
   sequence is 0,1,0,1,1,1,0,1,0,1,1,1,0,1,0,1,1,1,1,1,1,0,1,0,0,1,0,0,1,0.
3. Synchronous data body
   For HV and DV packets, the synchronous data body length is fixed. For EV
   packets, the synchronous data body length is negotiated during the LMP
   eSCO setup. Once negotiated, the synchronous data body length remains
   constant unless re-negotiated. The synchronous data body length may be
   different for each direction of the eSCO logical transport.
4. CRC code
   The 16-bit CRC in the payload is generated as specified in Section 7.1. The 8-
   bit UAP of the master is used to initialize the CRC generator.
   Only the Synchronous data body segment is used to generate the CRC code.
5. Enhanced Data Rate Trailer
   For Enhanced Data Rate packets, two trailer symbols shall be added to the
   end of the payload. The trailer bits shall be all zero, i.e. {00, 00} for the π/4-
   DQPSK and {000, 000} for the 8DPSK.

6.6.2 Asynchronous Data Field

Basic rate ACL packets have an asynchronous data field consisting of two,
three or four segments: a payload header, a payload body, possibly a MIC, and
possibly a CRC code.

Enhanced Data Rate ACL packets have an asynchronous data field consisting
of six or seven segments: a guard time, a synchronization sequence, a payload
header, a payload body, possibly a MIC, a CRC and a trailer.

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1. Enhanced Data Rate Guard time
   This is the same as defined for the Synchronous data field in Section 6.6.1.
2. Enhanced Data Rate Synchronization sequence
   This is the same as defined for the Synchronous data field in Section 6.6.1.
3. Payload header
   The payload header is one or two bytes long. Basic rate packets in
   segments one and two have a 1-byte payload header; Basic Rate packets in
   segments three and four and all Enhanced Data Rate packets have a 2-byte
   payload header. The payload header specifies the logical link (2-bit LLID
   indication), controls the flow on the logical channels (1-bit FLOW indication),
   and has a payload length indicator (5 bits and 10 bits for 1-byte and 2-byte
   payload headers, respectively). In the case of a 2-byte payload header, the
   length indicator is extended by five bits into the next byte. The remaining
   three bits of the second byte are reserved for future use. The formats of the
   1-byte and 2-byte payload headers are shown in Figure 6.12 and Figure
   6.13.

                             LSB                             MSB
                                   2       1            5

                                  LLID   FLOW       LENGTH


Figure 6.12: Payload header format for Basic Rate single-slot ACL packets



                LSB                                                         MSB
                      2       1                    10                        3

                   LLID    FLOW                  LENGTH                     RFU



Figure 6.13: Payload header format for multi-slot ACL packets and all EDR ACL packets


   The LLID field shall be transmitted first, the length field last. In Table 6.6,
   more details about the contents of the LLID field are listed.



    LLID code
    b1b0          Logical Link                   Information

    00            N/A                            Reserved for future use
    01            ACL-U and ASB-U                Continuation fragment of an L2CAP
                                                 message

   Table 6.6: Logical link LLID field contents




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    LLID code
    b1b0          Logical Link                   Information

    10            ACL-U and ASB-U                Start of an L2CAP message or no
                                                 fragmentation

                  PBD                            Profile broadcast data, no fragmentation
    11            ACL-C and ASB-C                LMP message
   Table 6.6: Logical link LLID field contents

   An L2CAP message may be fragmented into several packets. Code 10b
   shall be used for an ACL-U or ASB-U packet carrying the first fragment of
   such a message; code 01b shall be used for continuing fragments. The first
   fragment of an L2CAP message sent over HCI is identified by having a
   Packet_Boundary_Flag value of 00b or 10b both of which are mapped to
   LLID code 10b. If there is no fragmentation, code 10b shall be used for every
   packet. ACL packets used over the PBD logical link do not use
   fragmentation. For ACL packets used over the PBD logical link, LLID code
   10b shall be used by the transmitter. Any ACL packet used over the PBD
   logical link with LLID not equal to 10b shall be ignored by the receiver. Code
   11b shall be used for LMP messages. Code 00b is reserved for future use.
   The flow indicator in the payload is used to control the flow at the L2CAP
   level. It is used to control the flow per logical link. FLOW=1 means flow-on
   (GO) and FLOW=0 means flow-off (STOP). After a new connection has
   been established the flow indicator shall be set to GO. When a device
   receives a payload header with the flow bit set to STOP, it shall stop the
   transmission of ACL-U packets before an additional amount of payload data
   is sent. This amount is defined as the flow control lag, expressed as a
   number of bytes. The shorter the flow control lag, the less buffering the other
   device must dedicate to this function. The flow control lag shall not exceed
   1792 bytes (7 × 256 bytes). In order to allow devices to optimize the
   selection of packet length and buffer space, the flow control lag of a given
   implementation shall be provided in the LMP_features_res message.
   If a packet containing the payload flow bit of STOP is received, with a valid
   packet header but bad payload, the payload flow control bit shall be ignored.
   The baseband ACK contained in the packet header will be received and a
   further ACL packet may be transmitted. Each occurrence of this situation
   allows a further ACL packet to be sent in spite of the flow control request
   being sent via the payload header flow control bit. It is recommended that
   devices that use the payload header flow bit should ensure that no further
   ACL packets are sent until the payload flow bit has been correctly received.
   This can be accomplished by simultaneously turning on the flow bit in the
   packet header and keeping it on until an ACK is received back (ARQN=1).
   This will typically be only one round trip time. Since they lack a payload
   CRC, AUX1 packets should not be used with a payload flow bit of STOP.
   The Baseband Resource Manager is responsible for setting and processing
   the flow bit in the payload header. Real-time flow control shall be carried out
   at the packet level by the Link Controller via the flow bit in the packet header

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   (see Section 6.4.3). With the payload flow bit, traffic from the remote end
   can be controlled. It is allowed to generate and send an ACL packet with
   payload length zero irrespective of flow status. L2CAP start-fragment and
   continue-fragment indications (LLID=10 and LLID=01) also retain their
   meaning when the payload length is equal to zero (i.e. an empty start-
   fragment shall not be sent in the middle of an on-going ACL-U or ASB-U
   packet transmission). It is always safe to send an ACL packet with length=0
   and LLID=01. The payload flow bit has its own meaning for each logical link,
   see Table 6.7. On the ACL-C, ASB-C, and ASB-U logical links, no flow
   control is applied and the payload FLOW bit shall always be set to one. On
   the PBD logical link, no flow control is applied and the payload FLOW bit
   shall always be set to zero.

    LLID code                        Usage and semantics of the ACL payload header
    b1b0          Logical Link       FLOW bit

    00            N/A                Reserved for future use.
    01            ACL-U              Flow control of the ACL-U channel (L2CAP messages).

                  ASB-U              Always set FLOW=1 on transmission and ignore the bit
                                     on reception.
                  PBD                Reserved for future use.
    10            ACL-U              Flow control of the ACL-U channel (L2CAP messages).

                  ASB-U              Always set FLOW=1 on transmission and ignore the bit
                                     on reception.
                  PBD                Always set FLOW=0 on transmission and ignore the bit
                                     on reception.

    11            ACL-C and          Always set FLOW=1 on transmission and ignore the bit
                  ASB-C              on reception.
   Table 6.7: Use of payload header flow bit on the logical links

   The length indicator shall be set to the number of bytes (i.e. 8-bit words) in
   the payload excluding the payload header, MIC, and the CRC code; i.e. the
   payload body only. With reference to Figure 6.12 and Figure 6.13, the MSB
   of the length field in a 1-byte header is the last (right-most) bit in the payload
   header; the MSB of the length field in a 2-byte header is the fourth bit to the
   left from the right-most end of the second byte in the payload header.
4. Payload body
   The payload body includes the user information and determines the effective
   user throughput. The length of the payload body is indicated in the length
   field of the payload header.
5. Message Integrity Check
   The 32-bit Message Integrity Check (MIC) in the payload is generated as
   specified in [Vol 2] Part H, Section 9.2.



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6. CRC code generation
   The 16-bit cyclic redundancy check code in the payload is generated as
   specified in Section 7.1. Before determining the CRC code, an 8-bit value is
   used to initialize the CRC generator. For the CRC code in the FHS packets
   sent in master response substate, the UAP of the slave is used. For the
   FHS packet and the extended inquiry response packet sent in inquiry
   response substate, the DCI (see Section 1.2.1) is used. For all other
   packets, the UAP of the master is used.
   Only the Payload header, Payload body, and MIC segments (if present) are
   used to generate the CRC code.
7. Enhanced Data Rate Trailer
   This is the same as defined for the Synchronous data field in Section 6.6.1.

6.7 PACKET SUMMARY
A summary of the packets and their characteristics is shown in Table 6.8, Table
6.9 and Table 6.10. The payload represents the packet payload excluding FEC,
CRC, and payload header.

              Payload                                         Symmetric     Asymmetric
 Type         (bytes)          FEC         MIC         CRC    Max. Rate     Max. Rate

 ID           N/A              N/A         N/A         N/A    N/A           N/A
 NULL         N/A              N/A         N/A         N/A    N/A           N/A
 POLL         N/A              N/A         N/A         N/A    N/A           N/A

 FHS          18               2/3         N/A         Yes    N/A           N/A
Table 6.8: Link control packets



                                                                            Asymmetric
          Payload       User                                  Symmetric    Max. Rate (kb/s)
          Header        Payload                               Max. Rate
 Type     (bytes)       (bytes)      FEC         MIC    CRC   (kb/s)      Forward       Reverse

 DM1      1             0-17         2/3         C.1    Yes   108.8       108.8         108.8
 DH1      1             0-27         No          C.1    Yes   172.8       172.8         172.8

 DM3      2             0-121        2/3         C.1    Yes   258.1       387.2         54.4
 DH3      2             0-183        No          C.1    Yes   390.4       585.6         86.4
 DM5      2             0-224        2/3         C.1    Yes   286.7       477.8         36.3

 DH5      2             0-339        No          C.1    Yes   433.9       723.2         57.6
 AUX1     1             0-29         No          No     No    185.6       185.6         185.6
 2-DH1    2             0-54         No          C.1    Yes   345.6       345.6         345.6

 2-DH3    2             0-367        No          C.1    Yes   782.9       1174.4        172.8
Table 6.9: ACL packets

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                                                                        Asymmetric
          Payload    User                           Symmetric          Max. Rate (kb/s)
          Header     Payload                        Max. Rate
 Type     (bytes)    (bytes)   FEC    MIC    CRC    (kb/s)        Forward       Reverse

 2-DH5    2          0-679     No     C.1    Yes    869.1         1448.5        115.2
 3-DH1    2          0-83      No     C.1    Yes    531.2         531.2         531.2
 3-DH3    2          0-552     No     C.1    Yes    1177.6        1766.4        235.6

 3-DH5    2          0-1021    No     C.1    Yes    1306.9        2178.1        177.1
 C.1: Mandatory when encryption with AES-CCM enabled, else excluded.
Table 6.9: ACL packets




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             Payload                                                       Symmetric
             Header         User Payload                                   Max. Rate
 Type        (bytes)        (bytes)               FEC     MIC   CRC        (kb/s)

 HV1         N/A            10                    1/3     No    No         64.0
 HV2         N/A            20                    2/3     No    No         64.0

 HV3         N/A            30                    no      No    No         64.0

 DV1         1D             10+(0-9) D            2/3 D   No    Yes D      64.0+57.6 D

 EV3         N/A            1-30                  No      No    Yes        96
 EV4         N/A            1-120                 2/3     No    Yes        192

 EV5         N/A            1-180                 No      No    Yes        288
 2-EV3       N/A            1-60                  No      No    Yes        192
 2-EV5       N/A            1-360                 No      No    Yes        576

 3-EV3       N/A            1-90                  No      No    Yes        288
 3-EV5       N/A            1-540                 No      No    Yes        864
Table 6.10: Synchronous packets
 1. Items followed by ‘D’ relate to data field only.




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7 BIT STREAM PROCESSING

Bluetooth devices shall use the bit stream processing schemes as defined in
the following sections.

Before the payload is sent over the air interface, several bit manipulations are
performed in the transmitter to increase reliability and security. An HEC is
added to the packet header, the header bits are scrambled with a whitening
word, and FEC coding is applied. In the receiver, the inverse processes are
carried out. Figure 7.1 shows the processes carried out for the packet header
both at the transmit and the receive side. All header bit processes are
mandatory except that whitening and de-whitening shall not be performed on
synchronization train packets. In Figure 7.1 processes not performed on all
packet types are indicated by dashed blocks.


  TX header             HEC generation                    whitening                    FEC encoding
  (LSB first)

                                                                                                       RF interface


   RX header            HEC checking                     de-whitening                    decoding


Figure 7.1: Header bit processes

Figure 7.2 shows the processes that may be carried out on the payload. In
addition to the processes defined for the packet header, encryption can be
applied on the payload. Whitening and de-whitening, as explained in Section
7.2, are mandatory for every payload except synchronization train payloads,
where they are forbidden.All other processes are optional and depend on the
packet type (see Section 6.6) and whether encryption is enabled. In Figure 7.2,
optional processes are indicated by dashed blocks. When E0 encryption is
used, the entire payload shall be encrypted. When AES-CCM encryption is
used, only the payload body and MIC shall be encrypted; the payload header
and CRC shall not be encrypted.


                         CRC           encryption (E0)

 TX Payload
                                                                         whitening          encoding
   (LSB first)
                    encryption and
                    MIC generation          CRC
                     (AES-CCM)

                                                                                                             RF interface


                         CRC           decryption (E0)

 RX Payload                                                             de-whitening        decoding
                    decryption and
                    MIC verification        CRC
                     (AES-CCM)


Figure 7.2: Payload bit processes

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7.1 ERROR CHECKING
The packet can be checked for errors or wrong delivery using the channel
access code, the HEC in the header, and the CRC in the payload. At packet
reception, the access code is checked first. Since the 64-bit sync word in the
channel access code is derived from the 24-bit master LAP, this checks if the
LAP is correct, and prevents the receiver from accepting a packet of another
piconet (provided the LAP field of the master's BD_ADDR is different).

The HEC and CRC computations are initialized as follows:
• In the Inquiry Response substate, the DCI value shall be used for the FHS
  and Extended Inquiry Response Packet.
• In the Master Page Response substate, the UAP of the slave shall be used
  in the FHS packet.
• In the Connection State, the UAP of the master shall be used. Even though
  the access code may be the same for two piconets the different UAP values
  will typically cause the HEC and CRC to fail.
• During Role Switch starting from the TDD switch, the UAP of the new slave
  shall be used for the FHS packet.

The generation and check of the HEC and CRC are summarized in Figure 7.5
and Figure 7.8. Before calculating the HEC or CRC, the shift registers in the
HEC/CRC generators shall be initialized with the 8-bit UAP (or DCI) value.
Then the header and payload information shall be shifted into the HEC and
CRC generators, respectively (with the LSB first).

A packet has a valid header if the access code is correct for the piconet and the
HEC has the correct value, irrespective of the values of the other header fields.

7.1.1 HEC Generation

The HEC generating LFSR is depicted in Figure 7.3. The generator polynomial
is g(D) = ( D + 1 ) ( D 7 + D 4 + D 3 + D 2 + 1 ) = D 8 + D 7 + D 5 + D 2 + D + 1 . Initially this
circuit shall be pre-loaded with the 8-bit UAP such that the LSB of the UAP
(denoted UAP0) goes to the left-most shift register element, and, UAP7 goes to
the right-most element. The initial state of the HEC LFSR is depicted in Figure
7.4. Then the data shall be shifted in with the switch S set in position 1. When
the last data bit has been clocked into the LFSR, the switch S shall be set in
position 2, and, the HEC can be read out from the register. The LFSR bits shall
be read out from right to left (i.e., the bit in position 7 is the first to be
transmitted, followed by the bit in position 6, etc.).




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                                                                                                  2
            D0          D1         D2                          D5                    D7 S             D8
                                                                                                  1



 Position        0           1          2         3        4        5           6         7
                                                                                              Data in (LSB first)

Figure 7.3: The LFSR circuit generating the HEC




              Position:           0         1     2        3    4          5         6        7
                 LFSR:           UAP 0 UAP 1 UAP 2 UAP 3 UAP 4 UAP 5 UAP 6 UAP 7




Figure 7.4: Initial state of the HEC generating circuit



                             TX part

                                        8-bit UAP or DCI



                                              HEC
                                            circuitry


        LSB              MSB
          10b header info          8b HEC
                                                                                    RX part

                 LSB first                                          8-bit UAP



                                                                          HEC
                                                                                          zero remainder
                                                                        circuitry




Figure 7.5: HEC generation and checking


7.1.2 CRC Generation

The 16 bit LFSR for the CRC is constructed similarly to the HEC using the CRC-
CCITT generator polynomial g(D) = D 16 + D 12 + D 5 + 1 (i.e. 210041 in octal
representation) (see Figure 7.6). For this case, the 8 left-most bits shall be
initially loaded with the 8-bit UAP (UAP0 to the left and UAP7 to the right) while
the 8 right-most bits shall be reset to zero. The initial state of the 16 bit LFSR is
specified in Figure 7.7. The switch S shall be set in position 1 while the data is

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shifted in. After the last bit has entered the LFSR, the switch shall be set in
position 2, and, the register’s contents shall be transmitted, from right to left (i.e.,
starting with position 15, then position 14, etc.).



     D0                                              D5                                          D 12                          S
                                                                                                                                    2
                                                                                                                                        D 16
                                                                                                                                    1




   Position   0        1       2        3        4        5       6       7   8   9   10   11      12       13       14        15
                                                                                                                               Data in (LSB first)



Figure 7.6: The LFSR circuit generating the CRC




 Position:         0       1        2        3        4          5        6   7   8    9    10      11       12           13        14     15
   LFSR:          UAP0 UAP1 UAP2 UAP3 UAP4 UAP5 UAP6 UAP7                         0    0     0          0        0        0         0          0



Figure 7.7: Initial state of the CRC generating circuit



                                        TX part

                                               8-bit UAP or DCI
                                        appended with 8 zero bits



                                                                CRC
                                                              circuitry


          LSB                      MSB
                  data info                 16b CRC
                                                                                                   RX part
                                                                                  8-bit UAP
                       LSB first
                                                                                  appended with 8 zero bits


                                                                                         CRC
                                                                                                             zero remainder
                                                                                       circuitry



Figure 7.8: CRC generation and checking


7.2 DATA WHITENING
Synchronization train packets shall not be scrambled with a data whitening
word. Before transmission of all other packets, both the header and the
payload shall be scrambled with a data whitening word in order to randomize
the data from highly redundant patterns and to minimize DC bias in the packet.
The scrambling shall be performed prior to the FEC encoding.


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At the receiver, the received data of scrambled packets shall be descrambled
using the same whitening word generated in the recipient. The descrambling
shall be performed after FEC decoding.

The whitening word is generated with the polynomial g(D) = D 7 + D 4 + 1 (i.e.,
221 in octal representation) and shall be subsequently XORed with the header
and the payload. The whitening word is generated with the linear feedback shift
register shown in Figure 7.9. Before each transmission, the shift register shall
be initialized with a portion of the master Bluetooth clock, CLK6-1, extended
with an MSB of value one. This initialization shall be carried out with CLK1
written to position 0, CLK2 written to position 1, etc. Exceptions are the FHS
packet sent during inquiry response or page response, and the extended
inquiry response packet sent during inquiry response, where initialization of the
whitening register shall be carried out differently. Instead of the master clock,
the X-input used in the inquiry or page response (depending on current state)
routine shall be used, see Table 2.2. The 5-bit value shall be extended with two
MSBs of value 1. During register initialization, the LSB of X (i.e., X0) shall be
written to position 0, X1 shall be written to position 1, etc.


                                                          data in (LSB first)
              0                           4
          D                           D                   D7


                  0     1   2     3           4   5   6


                                                          data out

Figure 7.9: Data whitening LFSR


After initialization, the packet header and the payload (including the CRC) are
whitened. The payload whitening shall continue from the state the whitening
LFSR had at the end of HEC. There shall be no re-initialization of the shift
register between packet header and payload. The first bit of the “data in”
sequence shall be the LSB of the packet header.

For Enhanced Data Rate packets, whitening shall not be applied to the guard,
synchronization and trailer portions of the Enhanced Data Rate packets.
During the periods where whitening is not applied the LFSR shall be paused.

7.3 ERROR CORRECTION
There are three error correction schemes defined for Bluetooth:
• 1/3 rate FEC
• 2/3 rate FEC
• ARQ scheme for the data



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The purpose of the FEC scheme on the data payload is to reduce the number
of retransmissions. However, in a reasonably error-free environment, FEC
gives unnecessary overhead that reduces the throughput. Therefore, the
packet definitions given in Section 6 have been kept flexible to use FEC in the
payload or not, resulting in the DM and DH packets for the ACL logical
transport, HV packets for the SCO logical transport, and EV packets for the
eSCO logical transport. The packet header is always protected by a 1/3 rate
FEC since it contains valuable link information and is designed to withstand
more bit errors.

Correction measures to mask errors in the voice decoder are not included in
this section. This matter is discussed in Section 9.3.

7.4 FEC CODE: RATE 1/3
A simple 3-times repetition FEC code is used for the header. The repetition
code is implemented by repeating each bit three times, see the illustration in
Figure 7.10. The 3-times repetition code is used for the entire header, as well
as for the synchronous data field in the HV1 packet.



                         b   b   b   b   b    b   b   b   b
                         0   0   0   1   1    1   2   2   2


Figure 7.10: Bit-repetition encoding scheme


7.5 FEC CODE: RATE 2/3
The other FEC scheme is a (15,10) shortened Hamming code. The generator
polynomial is g(D) = ( D + 1 ) ( D 4 + D + 1 ) . This corresponds to 65 in octal notation.
The LFSR generating this code is depicted in Figure 7.11. Initially all register
elements are set to zero. The 10 information bits are sequentially fed into the LFSR
with the switches S1 and S2 set in position 1. Then, after the final input bit, the
switches S1 and S2 are set in position 2, and the five parity bits are shifted out. The
parity bits are appended to the information bits. Subsequently, each block of 10
information bits is encoded into a 15 bit codeword. This code can correct all single
errors and detect all double errors in each codeword. This 2/3 rate FEC is used in
the DM packets, in the data field of the DV packet, in the FHS packet, in the HV2
packet, and in the EV4 packet. Since the encoder operates with information
segments of length 10, tail bits with value zero shall be appended after the CRC
bits to bring the total number of bits equal to a multiple of 10. The number of tail bits
to append shall be the least possible that achieves this (i.e., in the interval 0...9).
These tail bits are not included in the payload length indicator for ACL packets or in
the payload length field of the eSCO setup LMP command.




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                                                              2
                        D0            D2             D 4 S1       D5
                                                              1
                                                                       2
                                                                           S2
                                                                       1

                                                           Data in (LSB first)

Figure 7.11: LFSR generating the (15,10) shortened Hamming code


7.6 ARQ SCHEME
With an automatic repeat request scheme, DM packets, DH packets, the data field
of DV packets, and EV packets shall be transmitted until acknowledgment of a
successful reception is returned by the destination (or timeout is exceeded). The
acknowledgment information shall be included in the header of the return packet.
The ARQ scheme is only used on the payload in the packet and only on packets
that have a CRC. The packet header and the synchronous data payload of HV and
DV packets are not protected by the ARQ scheme.

7.6.1 Unnumbered ARQ

Bluetooth uses a fast, unnumbered acknowledgment scheme. An ACK
(ARQN=1) or a NAK (ARQN=0) is returned in response to the receipt of a
previously received packet. The slave shall respond in the slave-to-master slot
directly following the master-to-slave slot unless the slave has scatternet
commitments in that timeslot; the master shall respond at the next event
addressing the same slave (the master may have addressed other slaves
between the last received packet from the considered slave and the master
response to this packet). For a packet reception to be successful, at least the
HEC must pass. In addition, the MIC and CRC must pass when present.

In the first POLL packet at the start of a new connection (as a result of a page,
page scan, or role switch) the master shall initialize the ARQN bit to NAK. The
response packet sent by the slave shall also have the ARQN bit set to NAK.
The subsequent packets shall use the following rules. The initial value of the
master’s eSCO ARQN at link set-up shall be NAK.

The ARQN bit shall only be affected by data packets containing CRC and
empty slots. As shown in Figure 7.12, upon successful reception of a CRC
packet, the ARQN bit shall be set to ACK. If, in any receive slot in the slave, or,
in a receive slot in the master following transmission of a packet, one of these
events applies:
1. no access code is detected
2. the HEC fails
3. the CRC fails


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4. the MIC fails.

then the ARQN bit shall be set to NAK. In eSCO the ARQN bit may be set to
ACK even when the CRC on an EV packet has failed thus enabling delivery of
erroneous packets.
Packets that have correct HEC but that are addressed to other slaves, or
packets other than DH, DM, DV or EV packets, shall not affect the ARQN bit,
except as noted in Section 7.6.2.2. In these cases the ARQN bit shall be left as
it was prior to reception of the packet. For ACL packets, if a CRC packet with a
correct header has the same SEQN as the previously received CRC packet,
the ARQN bit shall be set to ACK and the payload shall be ignored without
checking the CRC. For eSCO packets, the SEQN shall not be used when
determining the ARQN. If an eSCO packet has been received successfully
within the eSCO window subsequent receptions within the eSCO window shall
be ignored. At the end of the eSCO window, the master’s ARQN shall be
retained for the first master-to-slave transmission in the next eSCO window.
The ARQN bit in the FHS packet is not meaningful. Contents of the ARQN bit in
the FHS packet shall not be checked.

The ARQN bit in the extended inquiry response packet is reserved for future
use.
Broadcast packets shall be checked on errors using the CRC, but no ARQ
scheme shall be applied. Broadcast packets shall never be acknowledged.
Note: In Figure 7.12, TX refers to the next transmission that the device makes
and does not imply that it must transmit in the next slot. NO TX indicates that
the device must not transmit in the next slot.
Note: In Figure 7.14, "Packet OK" means that the packet has an allowed TYPE
for the connection and the CRC is valid.




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                                                            RX




                                                            Role
                                              Slave                  Master



      TRIGGER?                                                                TRIGGER?
                        F                                                                  F



       HEC OK?                                                                HEC OK?
                        F                                                                  F




                                                  ARQN=NAK in
                                                 next transmission
                                                 on all LT_ADDRs


       LT_ADDR                                                                LT_ADDR
         OK?            F                                                       OK?        F


                             Take previous                                                      ARQN=NAK in
                              ARQN in next                                                     next transmission
                            transmission on           Reserved                                   on this slot's
                             all LT_ADDRs               slot?                                     LT_ADDR

                                                           F


                                 NO
         "A"                                                         TX         "A"                  TX
                                 TX


Figure 7.12: Stage 1 of the receive protocol for determining the ARQN bit




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                                                              "A"



                                                             eSCO
                                                           LT_ADDR?                     "B"

                                                                 F

                                     DM/DH/DV                Packet        Reserved
                                                             Type?

                                                                 POLL/NULL/
                                                                 HV/AUX1
                                                            SEQN =
                                                            SEQNOLD
                                                                           F
                                     SEQN =
                                     SEQNOLD

                                          F

                                    CRC OK?
                                                     F


                                    MIC OK?
                                    (if present)
                                                     F


                                    SEQNOLD =
                                      SEQN




               Ignore payload     Accept payload                               Reject payload




                                  ARQN=ACK in             Take previous     ARQN=NAK in
                                 next transmission         ARQN in next    next transmission
                                      on ACL             transmission on        on ACL
                                    LT_ADDR              ACL LT_ADDR          LT_ADDR




                                       TX


Figure 7.13: Stage 2 (ACL) of the receive protocol for determining the ARQN bit

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                                               "B"




                                               Already
                                           received valid
                                             payload in
                                             this eSCO
                                               window


                                                   F


                                           Packet OK?
                                                             F



                        Ignore payload    Accept payload          Reject payload




                                          ARQN=ACK in             ARQN=NAK in
                                         next transmission       next transmission
                                             on eSCO                 on eSCO
                                            LT_ADDR                 LT_ADDR




                                                TX


Figure 7.14: Stage 2 (eSCO) of the receive protocol for determining the ARQN bit


7.6.2 Retransmit Filtering

The data payload shall be transmitted until a positive acknowledgment is
received or a timeout is exceeded. A retransmission shall be carried out either
because the packet transmission itself failed, or because the acknowledgment
transmitted in the return packet failed (note that the latter has a lower failure
probability since the header is more heavily coded). In the latter case, the
destination keeps receiving the same payload over and over again. In order to
filter out the retransmissions in the destination, the SEQN bit is present in the
header. Normally, this bit is alternated for every new CRC data payload
transmission. In case of a retransmission, this bit shall not be changed so the
destination can compare the SEQN bit with the previous SEQN value. If
different, a new data payload has arrived; otherwise it is the same data payload
and may be ignored. Only new data payloads shall be transferred to the
Baseband Resource Manager. Note that CRC data payloads can be carried
only by DM, DH, DV or EV packets.



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7.6.2.1 Initialization of SEQN at Start of New Connection

The SEQN bit of the first CRC data packet at the start of a connection (as a
result of page, page scan, or role switch) on both the master and the slave
sides shall be set to 1. The subsequent packets shall use the rules in the
following sections.

7.6.2.2 ACL and SCO Retransmit Filtering

The SEQN bit shall only be affected by the CRC data packets as shown in Figure
7.15. It shall be inverted every time a new CRC data packet is sent. The CRC
data packet shall be retransmitted with the same SEQN number until an ACK is
received or the packet is flushed. When an ACK is received, a new payload may
be sent and on that transmission the SEQN bit shall be inverted. If a device
decides to flush (see Section 7.6.3), and it has not received an acknowledgment
for the current packet, it shall replace the current packet with an ACL-U
continuation packet with the same sequence number as the current packet and
length zero. If it replaces the current packet in this way it shall not move on to
transmit the next packet until it has received an ACK.

If the slave receives a packet other than DH, DM, DV or EV with the SEQN bit
inverted from that in the last header successfully received on the same
LT_ADDR, it shall set the ARQN bit to NAK until a DH, DM, DV or EV packet is
successfully received.


                               TX




                          DM/DH/DV?
               F

                                    T



                         Has latest
                    DM/DH/DV packet been
                          ACKed?            F

                                    T



                          Inv ert SEQN              FLUSH?
                                                                    T


                                                          F




                        Send new pay load       Send old pay load         Send zero length pay load
                                                                        in ACL-U continuation packet




                              RX



Figure 7.15: Transmit filtering for packets with CRC


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7.6.2.3 eSCO Retransmit Filtering

In eSCO, the SEQN bit shall be toggled every eSCO window. The value shall
be constant for the duration of the eSCO window. The initial value of SEQN
shall be zero.

For a given eSCO window the SEQN value shall be constant.

7.6.2.4 FHS Retransmit Filtering

The SEQN bit in the FHS packet is not meaningful. This bit may be set to any
value. Contents of the SEQN bit in the FHS packet shall not be checked.

7.6.2.5 Extended Inquiry Response Retransmit Filtering

The SEQN bit in the extended inquiry response packet is reserved for future
use.

7.6.2.6 Packets without CRC Retransmit Filtering

During transmission of packets without a CRC the SEQN bit shall remain the
same as it was in the previous packet.

7.6.3 Flushing Payloads

On ACL logical transports, the ARQ scheme can cause variable delay in the
traffic flow since retransmissions are inserted to assure error-free data transfer.
For certain communication links, only a limited amount of delay is allowed:
retransmissions are allowed up to a certain limit at which the current payload
shall be ignored. This data transfer is indicated as isochronous traffic. This
means that the retransmit process must be overruled in order to continue with
the next data payload. Aborting the retransmit scheme is accomplished by
flushing the old data and forcing the Link Controller to take the next data
instead.

Flushing results in loss of remaining portions of an L2CAP message.
Therefore, the packet following the flush shall have a start packet indication of
LLID = 10 in the payload header for the next L2CAP message. This informs the
destination of the flush (see Section 6.6). Flushing will not necessarily result in
a change in the SEQN bit value, see the previous section.

The Flush Timeout defines a maximum period after which all segments of the
ACL-U packet with a Packet_Boundary_Flag value of 10 are flushed from the
Controller buffer. The Flush Timeout shall start when the First segment of the
ACL-U packet is stored in the Controller buffer. If the First segment of an ACL-
U packet has a Packet_Boundary_Flag value of 00, it is non-automatically-
flushable and shall not cause the Flush Timeout to start. After the Flush timeout
has expired the Link Controller may continue transmissions according to the
procedure described in Section 7.6.2.2, however the Baseband Resource


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Manager shall not continue the transmission of the ACL-U packet to the Link
Controller. If the Baseband Resource Manager has further segments of the
packet queued for transmission to the Link Controller it shall delete the
remaining segments of the ACL-U packet from the queue. In case the complete
ACL-U packet was not stored in the Controller buffer yet, any Continuation
segments, received for the ACL logical transport, shall be flushed, until a First
segment is received. When the complete ACL-U packet has been flushed, the
Link Manager shall continue transmission of the next ACL-U packet for the
ACL logical transport. The default Flush Timeout shall be infinite, i.e. re-
transmissions are carried out until physical link loss occurs. This is also
referred to as a 'reliable channel.' All devices shall support the default Flush
Timeout. Reliable data shall be sent over a channel with a finite flush timeout
by marking reliable packets as non-automatically-flushable.

On eSCO logical transports, packets shall be automatically flushed at the end
of the eSCO window.

Connectionless Slave Broadcast packets are transmitted at each scheduled
Connectionless Slave Broadcast Instant. If no new data is available, the
Connectionless Slave Broadcast Transmitter shall transmit a packet with the
last available data in the payload.

7.6.4 Multi-slave Considerations

In a piconet with multiple logical transports, the master shall carry out the ARQ
protocol independently on each logical transport.

7.6.5 Active Slave Broadcast Packets

ASB broadcast packets are packets transmitted by the master to all the slaves
simultaneously (see Section 8.6.4) If multiple hop sequences are being used
each transmission may only be received by some of the slaves. In this case the
master shall repeat the transmission on each hop sequence. An ASB
broadcast packet shall be indicated by the all-zero LT_ADDR (note; the FHS
packet and the extended inquiry response packet are the only packets which
may have an all-zero LT_ADDR but are not broadcast packets). Broadcast
packets shall not be acknowledged (at least not at the LC level).

Since broadcast messages are not acknowledged, each broadcast packet is
transmitted at least a fixed number of times. An ASB broadcast packet should
be transmitted NBC times before the next broadcast packet of the same
broadcast message is transmitted, see Figure 7.16. Optionally, an ASB
broadcast packet may be transmitted NBC + 1 times. Note: NBC=1 means that
each broadcast packet should be sent only once, but optionally may be sent
twice. However, time-critical broadcast information may abort the ongoing
broadcast train. In addition, an LMP packet sent on the ASB-C logical link is
always a complete message for these purposes and is always sent exactly
once; the LMP specification may provide requirements for whether and when
to send another message with the same or related contents.

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If multiple hop sequences are being used then the master may transmit on the
different hop sequences in any order, providing that transmission of a new
broadcast packet shall not be started until all transmissions of any previous
broadcast packet have completed on all hop sequences. The transmission of a
single broadcast packet may be interleaved among the hop sequences to
minimize the total time to broadcast a packet. The master has the option of
transmitting only NBC times on channels common to all hop sequences.

ASB broadcast packets with a CRC shall have their own sequence number.
The SEQN of the first broadcast packet with a CRC shall be set to SEQN = 1
by the master and shall be inverted for each new broadcast packet with CRC
thereafter. ASB broadcast packets without a CRC have no influence on the
sequence number. The slave shall accept the SEQN of the first broadcast
packet it receives in a connection and shall check for change in SEQN for
subsequent broadcast packets. Since there is no acknowledgment of
broadcast messages and there is no end packet indication, it is important to
receive the start packets correctly. To ensure this, repetitions of the broadcast
packets that are L2CAP start packets and LMP packets shall not be filtered out.
These packets shall be indicated by LLID=1X in the payload header as
explained in Table 6.6. Only repetitions of the L2CAP continuation packets
shall be filtered out.


                                    broadcast message

  broadcast packets         1   2                       M




       1    2           N
                        BC

       1    1               1   2     2          2          M   M          M
                                                                                         t

Figure 7.16: Broadcast repetition scheme


7.7 ERRONEOUS SYNCHRONOUS DATA REPORTING
Erroneous data reporting may be enabled for synchronous links. When
enabled, synchronous data shall be processed as follows:
• If, during an (e)SCO interval, an eSCO packet was received with valid HEC,
  an allowed TYPE for the connection, and valid CRC, or a SCO packet was
  received with valid HEC, the received payload data shall be sent to the
  upper-edge of the Controller with a "good data" indication.
• If, during an eSCO interval, eSCO packets with valid HEC were received,
  but none of them had an allowed TYPE for the connection and a valid CRC,
  the best known data available (e.g., data derived from the received data or

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   the actual payload data that was received with a CRC error) shall be sent to
   the upper-edge of the Controller with a "data with possible errors" indication.
• If, during an (e)SCO interval, no SCO or eSCO packet with valid HEC has
  been received, a "lost data" indication shall be sent to the upper-edge of the
  Controller.

7.8 MESSAGE INTEGRITY CHECK
When encryption with AES-CCM is enabled, a Message Integrity Check (MIC)
is added to the payload before the CRC for packets that are defined to include
the MIC. The MIC is sent Most Significant Octet (MSO) first.




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8 LINK CONTROLLER OPERATION

This section describes how a piconet is established and how devices can be
added to and released from the piconet. Several states of operation of the
devices are defined to support these functions. In addition, the operation of
several piconets with one or more common members, the scatternet, is
discussed.

8.1 OVERVIEW OF STATES
Figure 8.1 shows a state diagram illustrating the different states used in the
Link Controller. There are two major states: STANDBY and CONNECTION; in
addition, there are nine substates, page, page scan, inquiry, inquiry scan,
synchronization train, synchronization scan, master response, slave
response, and inquiry response. Note that the master response, slave
response, and inquiry response substates are not shown in the simplified
figure below. The substates are interim states that are used to establish
connections and enable device discovery. To move from one state or substate
to another, either commands from the link manager are used, or internal
signals in the Link Controller are used (such as the trigger signal from the
correlator and the timeout signals).
.

                                                  STANDBY




                Synchronization                                              Inquiry
                    Train

                             Synchronization                       Inquiry
                                 Scan                               Scan

                                               Page    Page Scan




                                                CONNECTION


Figure 8.1: State diagram of Link Controller




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8.2 STANDBY STATE
The STANDBY state is the default state in the device. In this state, the device
may be in a low-power mode. Only the native clock is running with a worst case
accuracy of +/-250 ppm.

The Controller may leave the STANDBY state to scan for page or inquiry
messages, or to page or inquiry itself.

8.3 CONNECTION ESTABLISHMENT SUBSTATES
In order to establish new connections the paging procedure or the
synchronization scan procedure is used. Only the Bluetooth device address is
required to set up a connection using the paging procedure. Knowledge about
the clock, obtained from the inquiry procedure (see Section 8.4) or from a
previous connection with this device, and the page scanning mode of the other
device will accelerate the paging procedure. A device that establishes a
connection using a page procedure will automatically become the master of the
connection. A device that establishes a connection using a synchronization
scan procedure does so in two steps. First, from within the synchronization
scan substate, the BR/EDR Controller follows the synchronization scan
procedure to collect clock, packet timing, and AFH channel map information
from the master and then transitions to the STANDBY state. Second, as
commanded by the Host, the BR/EDR Controller transitions from the
STANDBY state to the connectionless slave broadcast mode of the
CONNECTION state.

The truncated page procedure is a modification of the paging procedure and is
used to deliberately generate a page response timeout on the slave device.

8.3.1 Page Scan Substate

In the page scan substate, a device may be configured to use either the
standard or generalized interlaced scanning procedure. During a standard
scan, a device listens for the duration of the scan window Tw_page_scan
(11.25ms default, see HCI [Vol 2] Part E, Section 7.3.20), while the generalized
interlaced scan is performed as two back to back scans of Tw_page_scan. If the
scan interval is not at least twice the scan window, then generalized interlaced
scan shall not be used. During each scan window, the device shall listen at a
single hop frequency, its correlator matched to its device access code (DAC).
The scan window shall be long enough to completely scan 16 page
frequencies.

When a device enters the page scan substate, it shall select the scan
frequency according to the page hopping sequence determined by the device's
Bluetooth device address, see Section 2.6.4.1. The phase in the sequence
shall be determined by CLKN16-12 of the device’s native clock; that is, every
1.28s a different frequency is selected.


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In the case of a standard scan, if the correlator exceeds the trigger threshold
during the page scan, the device shall enter the slave response substate
described in Section 8.3.3.1. The scanning device may also use generalized
interlaced scan. In this case, if the correlator does not exceed the trigger
threshold during the first scan it shall scan a second time using the phase in
the sequence determined by [CLKN16-12 + interlace_offset] mod 32. If on this
second scan the correlator exceeds the trigger threshold the device shall enter
the slave response substate using [CLKN16-12 + interlace_offset] mod 32 as
the frozen CLKN* in the calculation for Xprs(79) (see Section 2.6.4.3 for
details). If the correlator does not exceed the trigger threshold during a scan in
normal mode or during the second scan in interlaced scan mode it shall return
to either the STANDBY or CONNECTION state.

The interlace_offset value ranges from 0 to 31. The value 16 should be used
unless the pattern of slots that are not available for scanning implies a different
value should be used.

The page scan substate can be entered from the STANDBY state or the
CONNECTION state. In the STANDBY state, no connection has been
established and the device can use all the capacity to carry out the page scan.
Before entering the page scan substate from the CONNECTION state, the
device should reserve as much capacity as possible for scanning. If desired,
the device may place ACL connections in Hold (see Section 8.8) or Sniff (see
Section 8.7). Synchronous connections should not be interrupted by the page
scan, although eSCO retransmissions should be paused during the scan. The
page scan may be interrupted by the reserved synchronous slots which should
have higher priority than the page scan. SCO packets should be used
requiring the least amount of capacity (HV3 packets). The scan window shall
be increased to minimize the setup delay. If one SCO logical transport is
present using HV3 packets and TSCO=6 slots or one eSCO logical transport is
present using EV3 packets and TeSCO=6 slots, a total scan window
Tw_page_scan of at least 36 slots (22.5ms) is recommended; if two SCO links are
present using HV3 packets and TSCO=6 slots or two eSCO links are present
using EV3 packets and TeSCO=6 slots, a total scan window of at least 54 slots
(33.75ms) is recommended.

The scan interval Tpage_scan is defined as the interval between the beginnings
of two consecutive page scans. A distinction is made between the case where
the scan interval is equal to the scan window Tw_page_scan (continuous scan),
the scan interval is maximal 1.28s, or the scan interval is maximal 2.56s. These
three cases shall determine the behavior of the paging device; that is, whether
the paging device shall use R0, R1 or R2, see also Section 8.3.2. Table 8.1
illustrates the relationship between Tpage_scan and modes R0, R1 and R2.
Although scanning in the R0 mode is continuous, the scanning may be
interrupted for example by reserved synchronous slots. The scan interval
information is included in the SR field in the FHS packet.




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  SR mode                   Tpage_scan

      R0            ≤ 1.28s and = Tw_page_scan

      R1                     ≤ 1.28s

      R2                     ≤ 2.56s

Table 8.1: Relationship between scan interval, and paging modes R0, R1, and R2


8.3.2 Page Substate

The page substate is used by the master (source) to activate and connect to a
slave (destination) in the page scan substate. The master tries to coincide with
the slave's scan activity by repeatedly transmitting the paging message
consisting of the slave’s device access code (DAC) in different hop channels.
Since the Bluetooth clocks of the master and the slave are not synchronized,
the master does not know exactly when the slave wakes up and on which hop
frequency. Therefore, it transmits a train of identical page scan messages at
different hop frequencies and listens in between the transmit intervals until it
receives a response from the slave.

The page procedure in the master consists of a number of steps. First, the Host
communicates the BD_ADDR of the slave to the Controller. This BD_ADDR
shall be used by the master to determine the page hopping sequence; see
Section 2.6.4.2. For the phase in the sequence, the master shall use an
estimate of the slave’s clock. For example, this estimate can be derived from
timing information that was exchanged during the last encounter with this
particular device (which could have acted as a master at that time), or from an
inquiry procedure. With this estimate CLKE of the slave’s Bluetooth clock, the
master can predict on which hop channel the slave starts page scanning.

The estimate of the Bluetooth clock in the slave can be completely wrong.
Although the master and the slave use the same hopping sequence, they use
different phases in the sequence and might never select the same frequency.
To compensate for the clock drifts, the master shall send its page message
during a short time interval on a number of wake-up frequencies. It shall
transmit also on hop frequencies just before and after the current, predicted
hop frequency. During each TX slot, the master shall sequentially transmit on
two different hop frequencies. In the following RX slot, the receiver shall listen
sequentially to two corresponding RX hops for an ID packet. The RX hops shall
be selected according to the page response hopping sequence. The page
response hopping sequence is strictly related to the page hopping sequence:
for each page hop there is a corresponding page response hop. The RX/TX
timing in the page substate is described in Section 2.2.5, see also Figure 2.7.
In the next TX slot, the master shall transmit on two hop frequencies different
from the former ones. Note: The hop rate is increased to 3200 hops/s.



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With the increased hopping rate as described above, the transmitter can cover
16 different hop frequencies in 16 slots or 10 ms. The page hopping sequence
is divided over two paging trains A and B of 16 frequencies. Train A includes
the 16 hop frequencies surrounding the current, predicted hop frequency f(k),
where k is determined by the clock estimate CLKE16-12. The first train consists
of hops

f(k-8), f(k-7),...,f(k),...,f(k+7)

When the difference between the Bluetooth clocks of the master and the slave
is between -8x1.28 s and +7x1.28 s, one of the frequencies used by the master
will be the hop frequency the slave will listen to. Since the master does not
know when the slave will enter the page scan substate, the master has to
repeat this train A Npage times or until a response is obtained, whichever is
shorter. If the slave scan interval corresponds to R1, the repetition number is at
least 128; if the slave scan interval corresponds to R2 or if the master has not
previously read the slave's SR mode, the repetition number is at least 256. If
the master has not previously read the slave's SR mode it shall use Npage >=
256. Note that CLKE16-12 changes every 1.28 s; therefore, every 1.28 s, the
trains will include different frequencies of the page hopping set.

When the difference between the Bluetooth clocks of the master and the slave
is less than -8x1.28 s or larger than +7x1.28 s, the remaining 16 hops are used
to form the new 10 ms train B. The second train consists of hops

f(k-16), f(k-15),...,f(k-9),f(k+8)...,f(k+15)

Train B shall be repeated for Npage times. If no response is obtained, knudge
may be updated in the case where slots to receive are periodically not
available and train A shall be tried again Npage times. Alternate use of train A
and train B and updates of knudge shall be continued until a response is
received or the timeout pageTO is exceeded. When extended_pageTO is
greater than zero, the timeout may be extended to (pageTO +
extended_pageTO). If a response is returned by the slave, the master device
enters the master response substate.

The page substate may be entered from the STANDBY state or the
CONNECTION state. In the STANDBY state, no connection has been
established and the device can use all the capacity to carry out the page.
Before entering the page substate from the CONNECTION state, the device
should free as much capacity as possible for paging. To ensure this, it is
recommended that the ACL connections are put on hold. However, the
synchronous connections shall not be disturbed by the page. This means that
the page will be interrupted by the reserved SCO and eSCO slots which have
higher priority than the page. In order to obtain as much capacity for paging, it
is recommended to use the SCO packets which use the least amount of
capacity (HV3 packets). If SCO or eSCO links are present, the repetition
number Npage of a single train shall be increased, see Table 8.2. Here it has
been assumed that the HV3 packet are used with an interval TSCO=6 slots or


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EV3 packets are used with an interval of TeSCO=6 slots, which would
correspond to a 64 kb/s synchronous link.

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    SR mode                 no synchronous                      one synchronous link                two synchronous links
                                  link                                 (HV3)                                (HV3)

       R0                          Npage≥1                               Npage≥2                                 Npage≥3

       R1                         Npage≥128                            Npage≥256                                Npage≥384

       R2                         Npage≥256                            Npage≥512                                Npage≥768

Table 8.2: Relationship between train repetition, and paging modes R0, R1 and R2 when
synchronous links are present

The construction of the page train shall be independent of the presence of
synchronous links; that is, synchronous packets are sent on the reserved slots
but shall not affect the hop frequencies used in the unreserved slots, see
Figure 8.2.


                      10ms train

         1,2    3,4   5,6   7,8    9,10 11,12 13,14 15,16 1,2    3,4   5,6   7,8   9,10 11,12 13,14 15,16 1,2    3,4   5,6

                                                                  a)



               Synchronous slot
         1,2          5,6   7,8        11,12 13,14        1,2    3,4         7,8   9,10      13,14 15,16         3,4   5,6

                                                                  b)



               Synchronous slots
         1,2                7,8              13,14               3,4               9,10            15,16               5,6

                                                                  c)

Figure 8.2: Conventional page (a), page while one synchronous link present (b), page while two
synchronous links present (c)


8.3.3 Page Response Substates

When a page message is successfully received by the slave, there is a coarse
FH synchronization between the master and the slave. Both the master and the
slave enter a response substate to exchange vital information to continue the
connection setup. It is important for the piconet connection that both devices
shall use the same channel access code, use the same channel hopping
sequence, and their clocks are synchronized. These parameters shall be
derived from the master device. The device that initializes the connection

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(starts paging) is defined as the master device (which is thus only valid during
the time the piconet exists). The channel access code and channel hopping
sequence shall be derived from the Bluetooth device address (BD_ADDR) of
the master. The timing shall be determined by the master clock. An offset shall
be added to the slave’s native clock to temporarily synchronize the slave clock
to the master clock. At start-up, the master parameters are transmitted from the
master to the slave. The messaging between the master and the slave at start-
up is specified in this section.

The initial messaging between master and slave is shown in Table 8.3 and in
Figure 8.3 and Figure 8.4. In those two figures frequencies f (k), f(k+1), etc. are
the frequencies of the page hopping sequence determined by the slave’s
BD_ADDR. The frequencies f’(k), f’(k+1), etc. are the corresponding
page_response frequencies (slave-to-master). The frequencies g(m) belong to
the basic channel hopping sequence.



                                Packet                     Hopping         Access Code
 Step       Message                      Direction
                                Type                       Sequence        and Clock

    1       Page                  ID     Master to slave   Page            Slave

            First slave page
    2                             ID     Slave to master   Page response   Slave
            response
            Master page
    3                            FHS     Master to slave   Page            Slave
            response
            Second slave
    4                             ID     Slave to master   Page response   Slave
            page response

    5       1st packet master   POLL     Master to slave   Channel         Master
                                 Any
    6       1st packet slave             Slave to master   Channel         Master
                                 type
Table 8.3: Initial messaging during start-up

In step 1 (see Table 8.3), the master device is in page substate and the slave
device in the page scan substate. Assume in this step that the page message
sent by the master reaches the slave. On receiving the page message, the
slave enters the slave response in step 2. The master waits for a reply from
the slave and when this arrives in step 2, it shall enter the master response in
step 3. Note that during the initial message exchange, all parameters are
derived from the slave’s device address, and that only the page hopping and
page response hopping sequences are used (are also derived from the slave’s
device address). Note that when the master and slave enter the response
states, their clock input to the page and page response hop selection is frozen
as is described in Section 2.6.4.3.




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                         step 1          step 2            step 3       step 4      step 5        step 6

                  f(k)      f(k+1)                     f(k+1)                    g(m)

     MASTER

                   PAGE                                FHS                         1st
                                                                                 TRAFFIC



                                     f'(k)                          f'(k+1)                    g(m+1)

     SLAVE

                                     RESPONSE                       RESPONSE                       1st
                                                                                                  Traffic

                                         page hopping sequence                    basic channel hopping sequence

Figure 8.3: Messaging at initial connection when slave responds to first page message



                         step 1         step 2            step 3       step 4      step 5        step 6

                  f(k)      f(k+1)                     f(k+2)                    g(m)

     MASTER

                   PAGE                                FHS                       1st TRAFFIC




                                             f'(k+1)                f'(k+2)                    g(m+1)

     SLAVE

                                     RESPONSE                       RESPONSE                   1st TRAFFIC


                                         page hopping sequence                    basic channel hopping sequence

Figure 8.4: Messaging at initial connection when slave responds to second page message


In the case of the truncated page procedure, the messaging stops after step 2
in the sequence shown in Table 8.3. This procedure is illustrated in Figure 8.5
and Figure 8.6.




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                            Standard part of the        Truncated part of the
                             paging sequence              paging sequence



  Master          ID          ID                      FHS


                                                      FHS not
                                                       sent

  Slave                                ID



Figure 8.5: First half slot truncated page



                            Standard part of the        Truncated part of the
                             paging sequence              paging sequence



 Master           ID         ID                       FHS


                                                      FHS not
                                                       sent
                                               ID
 Slave


Figure 8.6: Second half slot truncated page


8.3.3.1 Slave Response Substate

After having received the page message in step 1, the slave device shall
transmit a slave page response message (the slave's device access code) in
step 2. This response message shall be the slave’s device access code. The
slave shall transmit this response 625 μs after the beginning of the received
page message and at the response hop frequency that corresponds to the hop
frequency in which the page message was received. The slave transmission is
therefore time aligned to the master transmission. During initial messaging, the
slave shall still use the page response hopping sequence to return information
to the master. The clock input CLKN16-12 shall be frozen at the value it had at
the time the page message was received.

After having sent the response message, the slave’s receiver shall be activated
312.5 μs after the start of the response message and shall await the arrival of
an FHS packet. Note that an FHS packet can arrive 312.5 μs after the arrival of
the page message as shown in Figure 8.4, and not after 625 μs as is usually


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the case in the piconet physical channel RX/TX timing. More details about the
timing can be found in Section 2.4.4.

If the setup fails before the CONNECTION state has been reached, the
following procedure shall be carried out. The slave shall listen as long as no
FHS packet is received until pagerespTO is exceeded. Every 1.25 ms,
however, it shall select the next master-to-slave hop frequency according to the
page hop sequence. If nothing is received after pagerespTO, the slave shall
return back to the page scan substate for one scan period. Length of the scan
period depends on the synchronous reserved slots present. If no page
message is received during this additional scan period, the slave shall resume
scanning at its regular scan interval and return to the state it was in prior to the
first page scan state.

If an FHS packet is received by the slave in the slave response substate, the
slave shall return a slave page response message in step 4 to acknowledge
reception of the FHS packet. This response shall use the page response
hopping sequence. The transmission of the slave page response packet is
based on the reception of the FHS packet. Then the slave shall change to the
master's channel access code and clock as received from the FHS packet.
Only the 26 MSBs of the master clock are transferred: the timing shall be such
that CLK1 and CLK0 are both zero at the time the FHS packet was received as
the master transmits in even slots only. The offset between the master’s clock
and the slave’s clock shall be determined from the master’s clock in the FHS
packet and reported to the slave’s Baseband Resource Manager.

Finally, the slave enters the CONNECTION state in step 5. From then on, the
slave shall use the master’s clock and the master's BD_ADDR to determine the
basic channel hopping sequence and the channel access code. The slave shall
use the LT_ADDR in the FHS payload as the primary LT_ADDR in the
CONNECTION state. The connection mode shall start with a POLL packet
transmitted by the master. The slave may respond with any type of packet. If
the POLL packet is not received by the slave, or the response packet is not
received by the master, within newconnectionTO number of slots after FHS
packet acknowledgment, the master and the slave shall return to page and
page scan substates, respectively. See Section 8.5

8.3.3.2 Master Response Substate

When the master has received a slave page response message in step 2, and the
master is not executing the truncated page procedure, it shall enter the master
response routine. It shall freeze the current clock input to the page hop selection
scheme. The master shall then transmit an FHS packet in step 3 containing the
master’s real-time Bluetooth clock, the master’s BD_ADDR, the BCH parity bits,
and the class of device. The FHS packet contains all information to construct the
channel access code without requiring a mathematical derivation from the
master's Bluetooth device address. The LT_ADDR field in the packet header of
FHS packets in the master response substate shall be set to all-zeros. The FHS
packet shall be transmitted at the beginning of the master-to-slave slot following

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the slot in which the slave responded. The FHS packet shall carry the all-zero
LT_ADDR. The TX timing of the FHS is not based on the reception of the
response packet from the slave. The FHS packet may therefore be sent 312.5 μs
after the reception of the response packet like shown in Figure 8.4 and not 625 μs
after the received packet as is usual in the piconet physical channel RX/TX timing,
see also Section 2.4.4.

After the master has sent its FHS packet, it shall wait for a second slave page
response message in step 4 acknowledging the reception of the FHS packet.
This response shall be the slave’s device access code. If no response is
received, the master shall retransmit the FHS packet with an updated clock
and still using the slave’s parameters. It shall retransmit the FHS packet with
the clock updated each time until a second slave page response message is
received, or the timeout of pagerespTO is exceeded. In the latter case, the
master shall return to the page substate and send an error message to the
Baseband Resource Manager. During the retransmissions of the FHS packet,
the master shall use the page hopping sequence.

If the slave’s response is received, the master shall change to using the master
parameters, so it shall use the channel access code and the master clock. The
lower clock bits CLK0 and CLK1 shall be reset to zero at the start of the FHS
packet transmission and are not included in the FHS packet. Finally, the master
enters the CONNECTION state in step 5. The master BD_ADDR shall be used
to change to a new hopping sequence, the basic channel hopping sequence.
The basic channel hopping sequence uses all 79 hop channels in a pseudo-
random fashion, see also Section 2.6.4.7. The master shall now send its first
traffic packet in a hop determined with the new (master) parameters. This first
packet shall be a POLL packet. See Section 8.5. This packet shall be sent
within newconnectionTO number of slots after reception of the FHS packet
acknowledgment. The slave may respond with any type of packet. If the POLL
packet is not received by the slave or the POLL packet response is not
received by the master within newconnectionTO number of slots, the master
and the slave shall return to page and page scan substates, respectively.

8.4 DEVICE DISCOVERY SUBSTATES
In order to discover other devices a device shall enter inquiry substate. In this
substate, it shall repeatedly transmit the inquiry message (ID packet, see
Section 6.5.1.1) at different hop frequencies. The inquiry hop sequence is
derived from the LAP of the GIAC. Thus, even when DIACs are used, the
applied hopping sequence is generated from the GIAC LAP. A device that
allows itself to be discovered, shall regularly enter the inquiry scan substate to
respond to inquiry messages. The following sections describe the message
exchange and contention resolution during inquiry response. The inquiry
response is optional: a device is not forced to respond to an inquiry message.

During the inquiry substate, the discovering device collects the Bluetooth
device addresses and clocks of all devices that respond to the inquiry
message. In addition, the discovering device also collects extended

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information (e.g. local name and supported services) from devices that
respond with an extended inquiry response packet. It can then, if desired,
make a connection to any one of the discovered devices by means of the
previously described page procedure.

The inquiry message broadcast by the source does not contain any information
about the source. However, it may indicate which class of devices should
respond. There is one general inquiry access code (GIAC) to inquire for any
device, and a number of dedicated inquiry access codes (DIAC) that only
inquire for a certain type of device. The inquiry access codes are derived from
reserved Bluetooth device addresses and are further described in Section
6.3.1.

8.4.1 Inquiry Scan Substate

The inquiry scan substate is very similar to the page scan substate. However,
instead of scanning for the device's device access code, the receiver shall
scan for the inquiry access code long enough to completely scan for 16 inquiry
frequencies. Two types of scans are defined: standard and generalized
interlaced. In the case of a standard scan the length of this scan period is
denoted Tw_inquiry_scan (11.25ms default, see HCI [Vol 2] Part E, Section
7.3.22). The standard scan is performed at a single hop frequency as defined
by Xir4-0 (see Section 2.6.4.6). The generalized interlaced scan is performed
as two back to back scans of Tw_inquiry_scan where the first scan is on the
normal hop frequency and the second scan is defined by [Xir4-0 +
interlace_offset] mod 32. If the scan interval is not at least twice the scan
window then generalized interlaced scan shall not be used. The inquiry
procedure uses 32 dedicated inquiry hop frequencies according to the inquiry
hopping sequence. These frequencies are determined by the general inquiry
address. The phase is determined by the native clock of the device carrying out
the inquiry scan; the phase changes every 1.28s.

The interlace_offset value ranges from 0 to 31. The value 16 should be used
unless the pattern of slots that are not available for scanning implies a different
value should be used.

Instead of, or in addition to, the general inquiry access code, the device may
scan for one or more dedicated inquiry access codes. However, the scanning
shall follow the inquiry scan hopping sequence determined by the general
inquiry address. If an inquiry message is received during an inquiry wake-up
period, the device shall enter the inquiry response substate.

The inquiry scan substate can be entered from the STANDBY state or the
CONNECTION state. In the STANDBY state, no connection has been
established and the device can use all the capacity to carry out the inquiry
scan. Before entering the inquiry scan substate from the CONNECTION
state, the device should reserve as much capacity as possible for scanning. If
desired, the device may place ACL logical transports in Sniff or Hold.
Synchronous logical transports are preferably not interrupted by the inquiry

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scan, although eSCO retransmissions should be paused during the scan. In
this case, the inquiry scan may be interrupted by the reserved synchronous
slots. SCO packets should be used requiring the least amount of capacity (HV3
packets). The scan window, Tw inquiry scan, shall be increased to increase the
probability to respond to an inquiry message. If one SCO logical transport is
present using HV3 packets and TSCO=6 slots or one eSCO logical transport is
present using EV3 packets and TeSCO=6 slots, a total scan window of at least
36 slots (22.5ms) is recommended; if two SCO links are present using HV3
packets and TSCO=6 slots or two eSCO links are present using EV3 packets
and TeSCO=6 slots, a total scan window of at least 54 slots (33.75ms) is
recommended.

The scan interval Tinquiry scan is defined as the interval between two consecutive
inquiry scans. The inquiry scan interval shall be less than or equal to 2.56 s.

8.4.2 Inquiry Substate

The inquiry substate is used to discover new devices. This substate is very
similar to the page substate; the TX/RX timing shall be the same as in paging,
see Section 2.4.4 and Figure 2.7. The TX and RX frequencies shall follow the
inquiry hopping sequence and the inquiry response hopping sequence, and are
determined by the general inquiry access code and the native clock of the
discovering device. In between inquiry transmissions, the receiver shall scan
for inquiry response messages. When a response is received, the entire packet
(an FHS packet) shall be read. If the EIR bit in the FHS packet is set to one, the
device should try to receive the extended inquiry response packet 1250μs after
the start of the FHS packet. After this, the device shall continue with inquiry
transmissions. The device in an inquiry substate shall not acknowledge the
inquiry response messages. If enabled by the Host (see HCI [Vol 2] Part E,
Section 7.3.50), the RSSI value of the inquiry response message shall be
measured. It shall keep probing at different hop channels and in between
listening for response packets. As in the page substate, two 10 ms trains A and
B are defined, splitting the 32 frequencies of the inquiry hopping sequence into
two 16-hop parts. A single train shall be repeated for at least Ninquiry=256 times
before a new train is used. In order to collect all responses in an error-free
environment, at least three train switches must have taken place. As a result,
the inquiry substate may have to last for 10.24 s unless the inquirer collects
enough responses and aborts the inquiry substate earlier. If desired, the
inquirer may also prolong the inquiry substate to increase the probability of
receiving all responses in an error-prone environment. When some receive
slots are periodically not available, it may require up to 31 train switches to
collect all responses in an error-free environment, depending on the pattern of
the available receive slots. Before each switch to train A, knudge may be
updated. As a result, the inquiry substate may have to last for 40.96s. If an
inquiry procedure is automatically initiated periodically (say a 10 s period every
minute), then the interval between two inquiry instances shall be determined
randomly. This is done to avoid two devices synchronizing their inquiry
procedures.


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The inquiry substate is continued until stopped by the Baseband Resource
Manager (when it decides that it has sufficient number of responses), when a
timeout has been reached (Inquiry_Length), or by a command from the Host to
cancel the inquiry procedure. In case Extended_Inquiry_Length is different
from zero, the timeout may be extended to (Inquiry_Length +
Extended_Inquiry_Length).

The inquiry substate can be entered from the STANDBY state or the
CONNECTION state. In the STANDBY state, no connection has been
established and the device can use all the capacity to carry out the inquiry.
Before entering the inquiry substate from the CONNECTION state, the device
should free as much capacity as possible for inquiry. To ensure this, it is
recommended that the ACL logical transports are placed in Sniff or Hold.
However, the reserved slots of synchronous logical transports shall not be
disturbed by the inquiry. This means that the inquiry will be interrupted by the
reserved SCO and eSCO slots which have higher priority than the inquiry. In
order to obtain as much capacity as possible for inquiry, it is recommended to
use the SCO packets which use the least amount of capacity (HV3 packets). If
SCO or eSCO links are present, the repetition number Ninquiry shall be
increased, see Table 8.4.

Here it has been assumed that HV3 packets are used with an interval TSCO=6
slots or EV3 packets are used with an interval of TeSCO=6 slots, which would
correspond to a 64 kb/s synchronous link.

                       No synchronous     One synchronous link       Two synchronous links
                            links                (HV3)                       (HV3)

    Ninquiry                ≥ 256                  ≥ 512                      ≥ 768

Table 8.4: Increase of train repetition when synchronous links are present

If an extended inquiry response packet could not be received because of
higher priority traffic, the reception failed due to HEC or CRC failure, or
because the packet type is not supported by the device, the inquiry response
shall be reported to higher layers as an extended inquiry response with all-zero
data.

8.4.3 Inquiry Response Substate

The slave response substate for inquiries differs completely from the slave
response substate applied for pages. When the inquiry message is received in the
inquiry scan substate, the recipient shall return an inquiry response (FHS) packet
containing the recipient's device address (BD_ADDR) and other parameters. If the
recipient has non-zero extended inquiry response data to send it shall return an
extended inquiry response packet after the FHS packet.

The following protocol in the slave's inquiry response shall be used. On the
first inquiry message received in the inquiry scan substate the slave shall enter
the inquiry response substate. If the slave has non-zero extended inquiry

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response data to send it shall return an FHS packet with the EIR bit set to one
to the master 625μs after the inquiry message was received. It shall then return
an extended inquiry response packet 1250μs after the start of the FHS packet.
If the slave's extended inquiry response data is all zeroes the slave shall only
return an FHS packet with the EIR bit set to zero. A contention problem could
arise when several devices are in close proximity to the inquiring device and all
respond to an inquiry message at the same time. However, because every
device has a free running clock it is highly unlikely that they all use the same
phase of the inquiry hopping sequence. In order to avoid repeated collisions
between devices that wake up in the same inquiry hop channel simultaneously,
a device shall back-off for a random period of time. Thus, if the device receives
an inquiry message and returns an FHS packet, it shall generate a random
number, RAND, between 0 and MAX_RAND. For scanning intervals ≥ 1.28s
MAX_RAND shall be 1023, however, for scanning intervals < 1.28s
MAX_RAND may be as small as 127. A profile that uses a special DIAC may
choose to use a smaller MAX_RAND than 1023 even when the scanning
interval is ≥ 1.28s. The slave shall return to the CONNECTION or STANDBY
state for the duration of at least RAND time slots. Before returning to the
CONNECTION and STANDBY state, the device may go through the page
scan substate. After at least RAND slots, the device shall add an offset of 1 to
the phase in the inquiry hop sequence (the phase has a 1.28 s resolution) and
return to the inquiry scan substate again. If the slave is triggered again, it shall
repeat the procedure using a new RAND. The offset to the clock accumulates
each time an FHS packet is returned. During a probing window, a slave may
respond multiple times, but on different frequencies and at different times.
Reserved synchronous slots should have priority over response packets; that
is, if a response packet overlaps with a reserved synchronous slot, it shall not
be sent but the next inquiry message is awaited. If a device has extended
inquiry response data to send but the extended inquiry response packet
overlaps with a reserved synchronous slot the FHS packet may be sent with
the EIR bit set to zero.

The messaging during the inquiry routines is summarized in Table 8.5. In step
1, the master transmits an inquiry message using the inquiry access code and
its own clock. The slave responds with the FHS packet containing the slave’s
Bluetooth device address, native clock and other slave information. This FHS
packet is returned at times that tend to be random. The FHS packet is not
acknowledged in the inquiry routine, but it is retransmitted at other times and
frequencies as long as the master is probing with inquiry messages. If the
slave has non-zero extended inquiry response data it sends an extended
inquiry response packet to the master in step 3.

The extended inquiry response packet is an ACL packet with type DM1, DM3,
DM5, DH1, DH3 or DH5. To minimize interference it is recommended to use
the shortest packet that fits the data. The packet shall be sent on the same
frequency as the FHS packet, 1250 µs after the start of the FHS packet. In the
packet header, LT_ADDR shall be set to zero. TYPE shall be one of DM1,
DM3, DM5, DH1, DH3 or DH5. FLOW, ARQN and SEQN shall all be set to
zero and ignored during receipt. The HEC LFSR shall be initialized with the

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same DCI (default check initialization) as for the FHS packet. In the payload
header, LLID shall contain the value 10 (start of an L2CAP message or no
fragmentation). FLOW shall be set to zero and ignored upon receipt. The
length of the payload body (LENGTH) shall be smaller than or equal to 240
bytes. The CRC LFSR shall be initialized with the same DCI as for the FHS
packet. The data whitening LFSR shall be initialized with the same value as for
the FHS packet.

The payload data has two parts, a significant part followed by a non-significant
part. The significant part contains a sequence of data structures as defined in
[Vol 3] Part C, Section 8. The non-significant part contains all-zero octets.

The baseband shall not change any octets in the significant part. When
transmitting data, the non-significant part octets may be omitted from the
payload.

A device shall store a single extended inquiry response packet. This packet
shall be used with all IACs.

                               Packet                     Hopping           Access Code
 Step       Message                     Direction
                               Type                       Sequence          and Clock

 1          Inquiry            ID       master to slave   inquiry           inquiry
                                                          inquiry
 2          Inquiry response   FHS      slave to master                     inquiry
                                                          response
 3          Extended Inquiry   DM1,     slave to master   inquiry           inquiry
            Response           DM3,                       response *
                               DM5,
                               DH1,
                               DH3,
                               DH5

Table 8.5: Messaging during inquiry routines
 * The extended inquiry response packet is sent on the same frequency as the inquiry
    response (FHS) packet.


8.5 CONNECTION STATE
In the CONNECTION state, the connection has been established and packets
can be sent back and forth, with the exception of connectionless slave
broadcast mode, in which case packets are only sent from the master. In both
devices, the channel (master) access code, the master's Bluetooth clock, and
the AFH_channel_map are used. CONNECTION state uses the basic or
adapted channel hopping sequence.

There are two ways to enter the CONNECTION state. A device can transition
from the page/page scan substates to the CONNECTION state or directly from
the STANDBY state to the connectionless slave broadcast mode of the
CONNECTION state.


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If a device enters from the page/page scan substates, the CONNECTION state
starts with a POLL packet sent by the master to verify the switch to the
master’s timing and channel frequency hopping. The slave may respond with
any type of packet. If the slave does not receive the POLL packet or the master
does not receive the response packet for newconnectionTO number of slots,
both devices shall return to page/page scan substates.

The first information packets in the CONNECTION state contain control
messages that characterize the link and give more details regarding the
devices. These messages are exchanged between the link managers of the
devices. For example, they may define the SCO logical transport and the sniff
parameters. Then the transfer of user information can start by alternately
transmitting and receiving packets.

The CONNECTION state is left through a detach or reset command. The
detach command is used if the link has been disconnected in the normal way;
all configuration data in the Link Controller shall remain valid. The reset
command is a soft reset of the Link Controller. The functionality of the soft reset
is described in [Vol 2] Part E, Section 7.3.2.

In the CONNECTION state, if a device is not going to be nominally present on
the channel at all times it may describe its unavailability by using sniff mode or
hold mode (see Figure 8.7).

If a device enters the connectionless slave broadcast mode of the
CONNECTION state, the master starts by sending packets on the CSB logical
transport and the slave starts by receiving packets sent on the CSB logical
transport.



                            CONNECTION State
                  Connectionless       Active
                  Slave Broadcast
                       Mode            Mode

                                    Sniff   Hold
                                    Mode    Mode




Figure 8.7: Connection state


8.6 ACTIVE MODE
In the active mode, both master and slave actively participate on the channel. Up
to seven slaves may be in the active mode at any given time in a piconet. The
master schedules the transmission based on traffic demands to and from the
different slaves. In addition, it supports regular transmissions to keep slaves
synchronized to the channel. Slaves in the active mode listen in the master-to-
slave slots for packets. These devices are known as active slaves. If an active

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slave is not addressed, it may sleep until the next new master transmission. Slaves
can derive the number of slots the master has reserved for transmission from the
TYPE field in the packet header; during this time, the non-addressed slaves do not
have to listen on the master-to-slave slots. When a device is participating in
multiple piconets it should listen in the master-to-slave slot for the current piconet.
It is recommended that a device not be away from each piconet in which it is
participating for more than Tpoll slots. A periodic master transmission is required to
keep the slaves synchronized to the channel. Since the slaves only need the
channel access code to synchronize, any packet type can be used for this
purpose.

Only the slave that is addressed by one of its LT_ADDRs (primary or
secondary) may return a packet in the next slave-to-master slot. If no valid
packet header is received, the slave may only respond in its reserved SCO or
eSCO slave-to-master slot. In the case of a broadcast message, no slave shall
return a packet.

                            TX
                 master      1           2              2   1

                                 RX



                                 TX


                 slave 1    RX




                                               TX


                 slave 2                RX



Figure 8.8: RX/TX timing in multi-slave configuration


For ACL logical transports the mode selection may be left to real time packet
type selections. The packet type table (ptt) in Section 6.5 allows the selection
of Basic Rate or Enhanced Data Rate for each of the packet type codes,
however; the DM1 packet is available in all packet type tables. ACL traffic over
this given physical or logical link shall utilize the packet types in the given
column of Table 6.2.

8.6.1 Polling in the Active Mode

The master always has full control over the piconet. Due to the TDD scheme,
slaves can only communicate with the master and not other slaves. In order to
avoid collisions on the ACL logical transport, a slave is only allowed to transmit
in the slave-to-master slot when addressed by the LT_ADDR in the packet
header in the preceding master-to-slave slot. If the LT_ADDR in the preceding

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slot does not match, or a valid packet header was not received, the slave shall
not transmit.

The master normally attempts to poll a slave's ACL logical transport no less
often than once every Tpoll slots. Tpoll is set by the Link Manager (see [Vol 2]
Part C, Section 4.1.8).

The slave's ACL logical transport may be polled with any packet type except for
FHS and ID. For example, polling during SCO may use HV packets, since the
slave may respond to an HV packet with a DM1 packet (see Section 8.6.2).

8.6.2 SCO

The SCO logical transport shall be established by the master sending a SCO
setup message via the LM protocol. This message contains timing parameters
including the SCO interval TSCO and the offset DSCO to specify the reserved
slots.

In order to prevent clock wrap-around problems, an initialization flag in the LMP
setup message indicates whether initialization procedure 1 or 2 is being used.
The slave shall apply the initialization method as indicated by the initialization
flag. The master shall use initialization 1 when the MSB of the current master
clock (CLK27) is 0; it shall use initialization 2 when the MSB of the current
master clock (CLK27) is 1. The master-to-slave SCO slots reserved by the
master and the slave shall be initialized on the slots for which the clock
satisfies the applicable equation:

        CLK27-1 mod TSCO = DSCO                         for initialization 1

        (CLK27,CLK26-1) mod TSCO = DSCO                 for initialization 2

The slave-to-master SCO slots shall directly follow the reserved master-to-
slave SCO slots. After initialization, the clock value CLK(k+1) for the next
master-to-slave SCO slot shall be derived by adding the fixed interval TSCO to
the clock value of the current master-to-slave SCO slot:

        CLK27-1(k+1) = CLK27-1(k) + TSCO

The master will send SCO packets to the slave at regular intervals (the SCO
interval TSCO counted in slots) in the reserved master-to-slave slots. An HV1
packet can carry 1.25ms of speech at a 64 kb/s rate. An HV1 packet shall
therefore be sent every two time slots (TSCO=2). An HV2 packet can carry
2.5ms of speech at a 64 kb/s rate. An HV2 packet shall therefore be sent every
four time slots (TSCO=4). An HV3 packet can carry 3.75ms of speech at a 64
kb/s rate. An HV3 packet shall therefore be sent every six time slots (TSCO=6).

The slave is allowed to transmit in the slot reserved for its SCO logical
transport unless a packet with the correct access code was received in the
preceding slot and the LT_ADDR did not address this slave (irrespective of
whether or not the HEC was correct). If the correct LT_ADDR was received in

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the preceding slot but the HEC was incorrect, the slave should not transmit in
the reserved SCO slot.

Since the DM1 packet is recognized on the SCO logical transport, it may be
sent during the SCO reserved slots if a valid packet header with the primary
LT_ADDR is received in the preceding slot. DM1 packets sent during SCO
reserved slots shall only be used to send ACL-C data.

The slave shall not transmit anything other than an HV packet in a reserved
SCO slot unless it decodes its own slave address in the packet header of the
packet in the preceding master-to-slave transmission slot.

8.6.3 eSCO

The eSCO logical transport is established by the master sending an eSCO
setup message via the LM protocol. This message contains timing parameters
including the eSCO interval TeSCO and the offset DeSCO to specify the reserved
slots.

To enter eSCO, the master or slave shall send an eSCO setup command via
the LM protocol. This message shall contain the eSCO interval TeSCO and an
offset DeSCO. In order to prevent clock wrap-around problems, an initialization
flag in the LMP setup message indicates whether initialization procedure 1 or 2
shall be used. The initiating device shall use initialization 1 when the MSB of
the current master clock (CLK27) is 0; it shall use initialization 2 when the MSB
of the current master clock (CLK27) is 1. The responding device shall apply the
initialization method as indicated by the initialization flag. The master-to-slave
eSCO slots reserved by the master and the slave shall be initialized on the
slots for which the clock satisfies the applicable equation:

        CLK27-1 mod TeSCO = DeSCO                       for initialization 1

        (CLK27,CLK26-1) mod TeSCO = DeSCO               for initialization 2

The slave-to-master eSCO slots shall directly follow the reserved master-to-
slave eSCO slots. After initialization, the clock value CLK(k+1) for the next
master-to-slave eSCO slot shall be found by adding the fixed interval TeSCO to
the clock value of the current master-to-slave eSCO slot:

        CLK27-1(k+1) = CLK27-1(k) + TeSCO

When an eSCO logical transport is established, the master shall assign an
additional LT_ADDR to the slave. This provides the eSCO logical transport with
an ARQ scheme that is separate from that of the ACL logical transport. All
traffic on a particular eSCO logical transport, and only that eSCO traffic, is
carried on the eSCO LT_ADDR. The eSCO ARQ scheme uses the ARQN bit in
the packet header, and operates similarly to the ARQ scheme on ACL links.

There are two different polling rules in eSCO. In the eSCO reserved slots, the
polling rule is the same as to the SCO reserved slots. The master may send a

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packet in the master slot. The slave may transmit on the eSCO LT_ADDR in
the following slot either if it received a packet on the eSCO LT_ADDR in the
previous slot, or if it did not receive a valid packet header in the previous slot.
When the master-to-slave packet type is a three-slot packet, the slave’s
transmit slot is the fourth slot of the eSCO reserved slots. A master shall
transmit in an eSCO retransmission window on a given eSCO LT_ADDR only if
it addressed that eSCO LT_ADDR or did not transmit any packet in the
immediately preceding eSCO reserved slots. A slave may transmit on an
eSCO LT_ADDR in the eSCO reserved slots only if the slave did not received a
valid packet header with a different LT_ADDR in the eSCO reserved slots.
Inside retransmission windows, the same polling rule as for ACL traffic is used:
the slave shall transmit on the eSCO channel only if it received a valid packet
header and correct LT_ADDR on the eSCO channel in the previous master-to-
slave transmission slot. The master may transmit on any non-eSCO LT_ADDR
in any master-to-slave transmission slot inside the eSCO retransmission
window.

The master shall only transmit on an eSCO LT_ADDR in the retransmission
window if there are enough slots left for both the master and slave packets to
complete in the retransmission window. If the master is transmitting a NULL
packet (with ARQN=ACK), then this requires one slot, otherwise it requires
enough slots for the master’s negotiated eSCO packet type plus:
• if the master’s packet has ARQN=NAK, then enough slots for the slave’s
  negotiated eSCO packet type;
• if the master’s packet has ARQN=ACK, then one slot.

The master may refrain from transmitting in any slot during the eSCO
retransmission window. When there is no data to transmit from master to slave,
either due to the traffic being unidirectional or due to the master-to-slave
packet having been ACK’ed, the master shall use the POLL packet. When the
master-to-slave packet has been ACK’ed, and the slave-to-master packet has
been correctly received, the master shall not address the slave on the eSCO
LT_ADDR until the next eSCO reserved slot, with the exception that the master
may transmit a NULL packet with ARQN=ACK on the eSCO LT_ADDR. When
there is no data to transmit from slave to master, either due to the traffic being
unidirectional or due to the slave-to-master packet having been ACK'ed, the
slave shall use NULL packets. eSCO traffic should be given priority over ACL
traffic in the retransmission window.

Figure 8.9 shows the eSCO window when single slot packets are used.




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    eSCO                    Retransmission            eSCO              Retransmission
   Instant                     Window                Instant               Window




         M                                                 M

                S                                               S


                    eSCO Window                                     eSCO Window


Figure 8.9: eSCO Window Details for Single-Slot Packets


When multi-slot packets are used in either direction of the eSCO logical
transport, the first transmission continues into the following slots. The
retransmission window in this case starts the slot after the end of the slave-to-
master packet, i.e. two, four or six slots immediately following the eSCO instant
are reserved and should not be used for other traffic. Figure 8.10 shows the
eSCO window when multi-slot packets are used in one direction and single-slot
packets are used in the other direction.

    eSCO
   Instant

                 Reserved                              Retransmission
                   Slots                                  Window



                M

                               S


                                             eSCO Window


Figure 8.10: eSCO Window Details for Asymmetric Traffic


eSCO windows may overlap on the master, but shall not overlap on an
individual slave.

In the reserved slots both master and slave shall only listen and transmit at
their allocated slots at the first transmission time of each eSCO window.
Intermittent lapses due to, for instance, time-critical signaling during connection
establishment are allowed. Both master and slave may refrain from sending
data and may use instead POLL and NULL packets respectively. When the
master transmits a POLL packet instead of an eSCO 3-slot packet, or the slave
does not receive anything in the reserved master-to-slave transmission slot, it

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shall start any transmission in the same slot as if the master had transmitted
the negotiated packet type. For example, if the master had negotiated an EV5
packet the slave would transmit three slots later. If the master does not receive
a slave transmission in response to an eSCO packet it causes an implicit NAK
of the packet in question. The listening requirements for the slave during the
retransmission window are the same as for an active ACL logical transport.

8.6.4 Broadcast Scheme

The master of the piconet can broadcast messages to all slaves on the ASB
logical transport. An ASB broadcast packet shall have an LT_ADDR set to all
zero. If a new broadcast message carries ASB-U data, it may be fragmented in
the same way as ACL packets. Therefore it shall start with a packet carrying
the start of L2CAP message indication (LLID=10b) and may be followed by
packets carrying the continuation of L2CAP message indication (LLID=01b). If
a new broadcast message carries ASB-C data, it shall not be fragmented and
shall consist of a single packet carrying the LMP message indication
(LLID=11b). In either case, the master may carry out a number of
retransmissions of each of these packets to increase the probability for error-
free delivery; see also Section 7.6.5.

A broadcast packet shall never be acknowledged at the baseband layer.

The Broadcast LT_ADDR shall use a ptt=0.

8.6.5 Role Switch

There are several occasions when a role switch is used:
• A role switch is necessary in order to make a paging device a slave when
  joining an existing piconet, since by definition the paging device is initially
  master of a piconet involving the pager (master) and the paged (slave)
  device.
• A role switch is necessary in order for a slave in an existing piconet to set up
  a new piconet with itself as master and the original piconet master as slave.
  If the original piconet had more than one slave, then this implies a double
  role for the original piconet master; it becomes a slave in the new piconet
  while still maintaining the original piconet as master.

Prior to the role switch, encryption if present, shall be paused or disabled in the
old piconet. A role switch shall not be performed if the physical link is in Sniff or
Hold mode, or has any synchronous logical transports.

For the master and slave involved in the role switch, the switch results in a
reversal of their TX and RX timing: a TDD switch. Additionally, since the
piconet parameters are derived from the Bluetooth device address and clock of
the master, a role switch inherently involves a redefinition of the piconet as
well: a piconet switch. The new piconet's parameters shall be derived from the
former slave's device address and clock.

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Assume device A is to become master; device B was the former master. Then
there are two alternatives: either the slave initiates the role switch or the master
initiates the role switch. These alternatives are described in Link Manager
Protocol, [Vol 2] Part C, Section 4.4.2. The baseband procedure is the same
regardless of which alternative is used.

To begin the role switch, the slave A and master B shall perform a TDD switch
using the former hopping scheme (still using the Bluetooth device address and
clock of device B), so there is no piconet switch yet. The slot offset information
sent by slave A shall not be used yet; it is used when both devices have
switched to the new piconet and device B is positioning its correlation window.
Device A now becomes the master, device B the slave. The LT_ADDR formerly
used by device A in its slave role, shall now be used by slave B.

At the moment of the TDD switch, both devices A and B shall start a timer with
a time out of newconnectionTO. The timer shall be stopped in slave B as soon
as it receives an FHS packet from master A on the TDD-switched channel. The
timer shall be stopped in master A as soon as it receives an ID packet from
slave B. If the newconnectionTO expires, the master and slave shall return to
the old piconet timing and AFH state, taking their old roles of master and slave.
The FHS packet shall be sent by master A using the "old" piconet parameters.
The LT_ADDR in the FHS packet header shall be the former LT_ADDR used
by device A. The LT_ADDR carried in the FHS payload shall be the new
LT_ADDR intended for device B when operating on the new piconet. After the
FHS acknowledgment, which is the ID packet and shall be sent by the slave on
the old hopping sequence, both master A and slave B shall use the new
channel parameters of the new piconet as indicated by the FHS with the
sequence selection set to basic channel hopping sequence. If the new master
has physical links that are AFH enabled, following the piconet switch the new
master is responsible for controlling the AFH operational mode of its new slave.

Since the old and new masters' clocks are synchronized, the clock information
sent in the FHS payload shall indicate the new master's clock at the beginning
of the FHS packet transmission. Furthermore, the 1.25 ms resolution of the
clock information given in the FHS packet is not sufficient for aligning the slot
boundaries of the two piconets. The slot-offset information in the LMP message
previously sent by device A shall be used to provide more accurate timing
information. The slot offset indicates the delay between the start of the master-
to-slave slots of the old and new piconet channels. This timing information
ranges from 0 to 1249 μs with a resolution of 1μs. It shall be used together with
the clock information in the FHS packet to accurately position the correlation
window when switching to the new master's timing after acknowledgment of
the FHS packet.

After reception of the FHS packet acknowledgment, the new master A shall
switch to its own timing with the sequence selection set to the basic channel
hopping sequence and shall send a POLL packet to verify the switch. Both the
master and the slave shall start a new timer with a time out of
newconnectionTO on FHS packet acknowledgment. The start of this timer shall
be aligned with the beginning of the first master TX slot boundary of the new
piconet, following the FHS packet acknowledgment. The slave shall stop the

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timer when the POLL packet is received; the master shall stop the timer when
the POLL packet is acknowledged. The slave shall respond with any type of
packet to acknowledge the POLL. Any pending AFH_Instant shall be cancelled
once the POLL packet has been received by the slave. If no response is
received, the master shall re-send the POLL packet until newconnectionTO is
reached. If this timer expires, both the slave and the master shall return to the
old piconet timing with the old master and slave roles. Expiry of the timer shall
also restore the state associated with AFH (including any pending
AFH_Instant), Channel Quality Driven Data Rate (CQDDR, Link Manager
Protocol [Vol 2] Part C, Section 4.1.7) and power control (Link Manager
Protocol [Vol 2] Part C, Section 4.1.3). The role switch procedure may then
restart from the TDD switch. Aligning the timer with TX boundaries of the new
piconet ensures that no device returns to the old piconet timing in the middle of
a master RX slot.

After the role switch the ACL logical transport is reinitialized as if it were a new
connection. For example, the SEQN of the first data packet containing a CRC
on the new piconet channel shall be set according to the rules in Section 7.6.2.

8.6.6 Scatternet

Multiple piconets can cover the same area. Since each piconet has a different
master, the piconets hop independently, each with their own hopping sequence
and phase as determined by the respective master. In addition, the packets
carried on the channels are preceded by different channel access codes as
determined by the master device addresses. As more piconets are added, the
probability of collisions increases; a graceful degradation of performance
results as is common in frequency-hopping spread spectrum systems.

If multiple piconets cover the same area, a device can participate in two or
more overlaying piconets by applying time multiplexing. To participate on the
proper channel, it shall use the associated master device address and proper
clock offset to obtain the correct phase. A device can act as a slave in several
piconets, but only as a master in a single piconet: since two piconets with the
same master are synchronized and use the same hopping sequence, they are
one and the same piconet. A group of piconets in which connections exist
between different piconets is called a scatternet.

A master or slave can become a slave in another piconet by being paged by
the master of this other piconet. On the other hand, a device participating in
one piconet can page the master or slave of another piconet. Since the paging
device always starts out as master, a master-slave role switch is required if a
slave role is desired. This is described in Section 8.6.5.




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8.6.6.1 Inter-Piconet Communications

Time multiplexing must be used to switch between piconets. Devices may
achieve the time multiplexing necessary to implement scatternet by using sniff
mode or by remaining in an active ACL connection. For an ACL connection in
piconets where the device is a slave in the CONNECTION state, it may choose
not to listen in every master slot. In this case it should be recognized that the
quality of service on this link can degrade abruptly if the slave is not present
enough to match up with the master polling that slave. Similarly, in piconets
where the device is master it may choose not to transmit in every master slot.
In this case it is important to honor Tpoll as much as possible. Devices in sniff
mode could have sufficient time to visit another piconet in between sniff slots.
When the device is a slave using sniff mode and there are not sufficient idle
slots, the device may choose to not listen to all master transmission slots in the
sniff_attempts period or during the subsequent sniff_timeout period. A master
is not required to transmit during sniff slots and therefore has flexibility for
scatternet. If SCO or eSCO links are established, other piconets shall only be
visited in the non-reserved slots in between reserved slots. This is only
possible if there is a single SCO logical transport using HV3 packets or eSCO
links where at least four slots remain in between the reserved slots. Since the
multiple piconets are not synchronized, guard time must be left to account for
misalignment. This means that only 2 slots can effectively be used to visit
another piconet in between the HV3 packets.

Since the clocks of two masters of different piconets are not synchronized, a
slave device participating in two piconets shall maintain two offsets that, added
to its own native clock, create the two master clocks. Since the two master
clocks drift independently, the slave must regularly update the offsets in order
to keep synchronization to both masters.

8.6.7 Hop Sequence Switching

Hop sequence adaptation is controlled by the master and can be set to either
enabled or disabled. Once enabled, hop sequence adaptation shall apply to all
logical transports on a physical link. Once enabled, the master may periodically
update the set of used and unused channels as well as disable hop sequence
adaptation on a physical link. When a master has multiple physical links the
state of each link is independent of all other physical links.

When hop sequence adaptation is enabled, the sequence selection hop selection
kernel input is set to adapted channel hopping sequence and the
AFH_channel_map input is set to the appropriate set of used and unused
channels. Additionally, the same channel mechanism shall be used. When hop
sequence adaptation is enabled with all channels used this is known as AHS(79).

When hop sequence adaptation is disabled, the sequence selection input of
the hop selection kernel is set to basic channel hopping sequence (the
AFH_channel_map input is unused in this case) and the same channel
mechanism shall not be used.

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The hop sequence adaptation state shall be changed when the master sends
the LMP_set_AFH PDU and a baseband acknowledgment is received. When
the baseband acknowledgment is received prior to the hop sequence switch
instant, AFH_Instant, (See Link Manager Protocol [Vol 2] Part C, Section 4.1.4)
the hop sequence proceeds as shown in Figure 8.11.

                                                 AFH_Instant
                            AFH CMD
                Master                                                              t

                                 ACK
                 Slave                                                              t

       Hop Sequence
                                      Non-AHS             AHS(A)
           (Enabling)
       Hop Sequence                   AHS(A)             Non-AHS
          (Disabling)
       Hop Sequence                   AHS(A)              AHS(B)
          (Updating)



Figure 8.11: Successful hop sequence switching


When the baseband acknowledgment is not received prior to the AFH_Instant
the master shall use a recovery hop sequence for the slave(s) that did not
respond with an acknowledgment (this may be because the slave did not hear
the master’s transmission or the master did not hear the slave’s transmission).
When hop sequence adaptation is being enabled or disabled the recovery
sequence shall be the AFH_channel_map specified in the LMP_set_AFH PDU.
When the AFH_channel_map is being updated the master shall choose a
recovery sequence that includes all of the RF channels marked as used in
either the old or new AFH_channel_map, e.g. AHS(79). Once the baseband
acknowledgment is received the master shall use the AFH_channel_map in the
LMP_set_AFH PDU starting with the next transmission to the slave. See
Figure 8.12.




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                                                     AFH_Instant
                            AFH CMD
                Master                                                                   t

                                                       ACK
                 Slave            ?            ?
                                                                                         t

       Hop Sequence
                                      Non-AHS                 AHS(A)
           (Enabling)
       Hop Sequence                   AHS(A)                  Non-AHS
          (Disabling)
       Hop Sequence                   AHS(A)                       AHS(B)
                                                   Recovery
          (Updating)
                                                   Sequence



Figure 8.12: Recovery hop sequences


When the AFH_Instant occurs during a multi-slot packet transmitted by the
master, the slave shall use the same hopping sequence parameters as the
master used at the start of the multi-slot packet. An example of this is shown in
Figure 8.13. In this figure the basic channel hopping sequence is designated f.
The first adapted channel hopping sequence is designated with f', and the
second adapted channel hopping sequence is designated f''.




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                                    f                              f            f'         f'
                                         k                             k+3           k+4        k+4

                           Master
                                             3-slot packet
               Enabling       Tx




                            Slave
                              Tx
                             CLK     k            k+1        k+2   k+3          k+4        k+5


                                                  AFH_Instant
                                    f'                                 f'       f"         f"
                                         i                                  i    i+4            i+4

                           Master
                                             3-slot packet
                              Tx
               Updating




                            Slave
                              Tx
                             CLK        i         i+1        i+2   i+3           i+4        i+5


                                                  AFH_Instant
                                    f"                                 f"       f          f
                                        j                               j            j+4        j+5
                           Master
                                             3-slot packet
                              Tx
               Disabling




                            Slave
                              Tx
                             CLK        j         j+1        j+2   j+3           j+4        j+5


                                                  AFH_Instant

Figure 8.13: AFH_Instant changes during multi-slot packets transmitted by the master




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8.6.8 Channel Classification and Channel Map Selection

RF channels are classified as being unknown, bad or good. These
classifications are determined individually by the master and slaves based on
local information (e.g. active or passive channel assessment methods or from
the Host via HCI). Information received from other devices via LMP (for
example, an AFH_channel_map from a master or a channel classification
report from a slave) shall not be included in a device’s channel classification.

The three possible channel classifications shall be as defined in Table 8.6.

 Classification        Definition

 unknown               A channel shall be classified as unknown if the channel assessment mea-
                       surements are insufficient to reliably classify the channel, and the channel
                       is not marked as bad in the most recent HCI Set_AFH_Channel_Classifi-
                       cation.

 bad                   A channel may be classified as bad if an ACL or synchronous throughput
                       failure measure associated with it has exceeded a threshold (defined by
                       the particular channel assessment algorithm employed).
                       A channel may also be classified as bad if an interference-level measure
                       associated with it, determining the interference level that the link poses
                       upon other systems in the vicinity, has exceeded a threshold (defined by
                       the particular channel assessment algorithm employed).
                       A channel shall be classified as bad when it is marked as bad in the most
                       recent HCI Set_AFH_Channel_Classification
 good                  A channel shall be classified as good if it is not either unknown or bad.

Table 8.6: Channel classification descriptions

A master with AFH enabled physical links shall determine an
AFH_channel_map for each such link (two or more links may use the same
map) based on any combination of the following information:
• Channel classification from local measurements (e.g. active or passive
  channel assessment in the Controller), if supported and enabled. The Host
  may enable or disable local measurements using the HCI
  Write_AFH_Channel_Assessment_Mode command, defined in the HCI
  Functional Specification [Vol 2] Part E, Section 7.3.54 if HCI is present.
• Channel classification information from the Host using the HCI
  Set_AFH_channel_classification command, defined in the HCI Functional
  Specification [Vol 2] Part E, Section 7.3.46 if HCI is present. Channels
  classified as bad in the most recent AFH_Host_Channel_Classification shall
  be marked as unused in the AFH_channel_map.
• Channel classification reports received from slaves in
  LMP_channel_classification PDUs, defined in the LMP Specification [Vol 2]
  Part C, Section 4.1.5.

The algorithm used by the master to combine these information sources and
generate the AFH_channel_map is not defined in the specification and will be

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implementation specific. At no time shall the number of channels used be less
than Nmin, defined in Section 2.3.1.

If a master determines that all channels should be used, it may keep AFH
operation enabled using an AFH_channel_map of 79 used channels, i.e.,
AHS(79).

For all devices that support the Synchronization Train Substate (see Section
8.11.2), the RF channel indices used for the Synchronization Train (see
Section 2.6.4.8) shall be marked as unused in the AFH_channel_map for all
logical links.

8.6.9 Power Management

Features are provided to allow low-power operation. These features are both at
the microscopic level when handling the packets, and at the macroscopic level
when using certain operation modes.

8.6.9.1 Packet Handling

In order to minimize power consumption, packet handling is minimized both at
TX and RX sides. At the TX side, power is minimized by only sending useful
data. This means that if only link control information needs to be exchanged,
NULL packets may be used. No transmission is required if there is no link
control information to be sent, or if the transmission would only involve a NAK
(NAK is implicit on no reply). If there is data to be sent, the payload length shall
be adapted in order to send only the valid data bytes. At the RX side, packet
processing takes place in different steps. If no valid access code is found in the
search window, the transceiver may return to sleep. If an access code is found,
the receiver device shall start to process the packet header. If the HEC fails,
the device may return to sleep after the packet header. A valid header indicates
if a payload will follow and how many slots are involved.

8.6.9.2 Slot Occupancy

As was described in Section 6.5, the packet type indicates how many slots a
packet may occupy. A slave not addressed in the packet header may go to
sleep for the remaining slots the packet occupies. This can be read from the
TYPE code.

8.6.9.3 Recommendations for Low-Power Operation

The most common and flexible method for reducing power consumption is the
use of sniff. Hold can also be used by repeated negotiation of hold periods.




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8.6.9.4 Enhanced Data Rate

Enhanced Data Rate provides power saving because of the ability to send a
given amount of data in either fewer packets or with the same (or similar)
number of packets but with shorter payloads.

8.6.10 Piconet Clock Adjustment

A master may adjust the piconet clock during the existence of a piconet using
two mechanisms: Coarse Clock Adjustment and Clock Dragging. Both
mechanisms may be used within the same piconet.

8.6.10.1 Coarse Clock Adjustment

The master carries out a coarse clock adjustment by selecting an adjustment
instant (clk_adj_instant), which shall be a master to slave slot, and the amount
of the adjustment, and then broadcasting these parameters to all slaves by
sending LMP_clk_adj (see [Vol 2] Part C, Section 4.1.14.1). The amount of the
adjustment is specified as two values: clk_adj_slots, which is the change in the
value of CLK[27:1] at the clk_adj_instant, and clk_adj_us, which is the number
of microseconds between the start of a master slot in the old clock (CLKold) and
in the new clock (CLKnew) domains.

The master shall provide the opportunity for each slave to acknowledge the
adjustment with LMP_clk_adj_ack (see [Vol 2] Part C, Section 4.1.14.1). If the
master receives any other packet than LMP_clk_adj_ack with the current
clk_adj_id, it should poll the slave more times until the expected
acknowledgment is received or the slave responds with a NULL packet. If any
slave does not acknowledge the adjustment, the master shall start the Coarse
Clock Adjustment Recovery Mode (see Section 8.6.10.2).

When the clk_adj_instant occurs, the master will add (clk_adj_slots * 625 +
clk_adj_us) µs to time_base_offset and the slave(s) will add the same amount
to slave_offset. If the clk_adj_instant occurs during a multi-slot packet the
adjustment is delayed until the start of the following master-to-slave slot. If a
role switch is successful prior to the clk_adj_instant, the pending coarse clock
adjustment shall be discarded. The effect of the adjustment is that devices will
use the new clock domain starting at clk_adj_instant.

Figure 8.14 shows an example of a positive clock adjustment. In this example
the clk_adj_instant is set to slot 12 (which is in the old clock domain),
clk_adj_slots is set to 6 and clk_adj_us is set to 400. Time is moved forward
clk_adj_slots * 625 + clk_adj_us = 6 * 625 + 400 = 4150 µs. The initial slot in
the new clock domain is at CLKnew[27:1] = clk_adj_instant + clk_adj_slots = 12
+ 6 = 18. This is an even value so the first slot is a master slot. A positive
clk_adj_us means that the first slot is assumed to have started clk_adj_us
before the clk_adj_instant, and hence only 625 – clk_adj_us = 225 µs remains
after the instant. Since transmissions cannot be started part way through a slot,
this partial slot is unusable. The first complete slot after the clk_adj_instant is a

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slave slot which can be used, for example, for eSCO. If clk_adj_slots had been
an odd number, the first complete slot would have been a master slot. The first
complete master slot in this example happens at CLKnew[27:1] = 20.

                                                  clk_adj_instant = 12


 CLKold[27:1]                          11                                      12                                   13


                     17                                18                                     19                               20
 CLKnew[27:1]
                                                                 625 μs
                                          clk_adj_us
                                           = 400 μs
                               start of slot
                            clk_adj_instant +
                             clk_adj_slots =
                               12 + 6 = 18

                               Last slave slot in            Unusable               First new slave slot in         First new complete master
                                CLKold domain                 225 μs                   CLKnew domain                   slot in CLKnew domain


Figure 8.14: Positive Coarse Clock Adjustment


Figure 8.15 shows an example of a negative clock adjustment. In this example
the clk_adj_instant is again set to slot 12, clk_adj_slots is set to 0 and
clk_adj_us is set to –400. Time is moved by clk_adj_slots * 625 + clk_adj_us =
0 * 625 + (–400) = –400 µs, which is 400 µs backwards. The initial slot in the
CLKnew domain is at CLKnew[27:1] = clk_adj_instant + clk_adj_slots = 12 + 0 =
12. This is an even value so the first slot is a master slot. A negative clk_adj_us
means that the first slot in the CLKnew domain starts clk_adj_us after
clk_adj_instant. The time between the first slot in the CLKnew domain and
clk_adj_instant (in this case 400 µs) is effectively a continuation of the previous
slot, even if its number changes, and hence is unusable. (This is the case
whenever clk_adj_us is negative, even when clk_adj_slots is non-zero.)

                                             clk_adj_instant = 12


CLKold[27:1]                         11                                       12                                   13



CLKnew[27:1]           10                                   11                                     12                               13

                                                                 clk_adj_us                    625 μs
                                                                 = - 400 μs

                                                                         start of slot
                                                                      clk_adj_instant +
                                                                       clk_adj_slots =
                                                                         12 + 0 = 12


                             Last slave slot in                  Unusable                  First new master slot          First new slave slot in
                              CLKold domain                       400 μs                    in CLKnew domain                 CLKnew domain


Figure 8.15: Negative Coarse Clock Adjustment


If clk_adj_us is zero then the adjustment alters the slot numbering but not the
actual times at which slots start. Therefore all slots remain available for use,
though if clk_adj_slots is odd then there will be two consecutive slave slots.


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8.6.10.2 Coarse Clock Adjustment Recovery Mode

In Coarse Clock Adjustment Recovery Mode, the master enters the
Synchronization Train Substate (see Section 8.11.2). The master should
remain in this substate and transmit synchronization train packets until all
slaves have acknowledged the adjustment with the LMP_clk_adj_ack PDU, or
link supervision timeout has expired for the last unresponsive slave. The
master may cancel Coarse Clock Adjustment Recovery Mode to initiate
another coarse clock adjustment or for any other reason. During Coarse Clock
Adjustment Recovery Mode the master shall continue broadcasting
LMP_clk_adj PDUs (see [[Vol 2] Part C, Section 4.1.14.1).

When a slave does not detect any transmissions from its master it may enter
the Synchronization Scan Substate (see Section 8.11.1) and scan for
synchronization train packets as defined in Section 2.7. TSync_Scan_Window
should be set large enough to enable reception of at least one synchronization
train packet. A slave that could have lost its connection to the master due to
coarse clock adjustment should prioritize synchronization scan.

A slave that receives a Synchronization Train packet with the BD_ADDR of its
master shall change the value of slave_offset to make CLK correspond to the
contents of the packet and then exit the Synchronization Scan Substate. If the
new clock is in the range CLKOLD–LSTO to CLKOLD inclusive (where LSTO is
the link supervision timeout period), then this shall be treated as a negative
change. In this case, the slave shall not transmit any packet and shall ignore all
received directed packets until the value of CLK, after being changed, is strictly
greater than the value of CLK the last time it transmitted or received (as
appropriate) a packet. If the new clock is outside this range then this shall be
treated as a positive change (and thus might involve a clock wrap).

8.6.10.3 Clock Dragging

Clock Dragging means that the master periodically adjusts its time_base_offset
(see Section 2.2.4) until a desired time adjustment has been accomplished.

Each single adjustment shall be performed by a directed packet from the
master to each slave and a response (e.g. baseband acknowledgment) from
each slave. If a slave does not respond, the master shall suspend its updating
of time_base_offset (but should continue to poll that slave) at least until each
slave has either responded or has failed to respond for at least
CLK_adj_dragTO. In case several slaves fail to respond, the master should
ensure that each of the failing slaves gets at least one CLK_adj_dragTO to
respond (these may be concurrent for multiple slaves). The master need not
allow more than one suspension of CLK_adj_dragTO for any given slave
during a link supervision timeout for that slave.

A single adjustment shall be less than or equal to 3 µs. Within any period of
125 ms, the total adjustment in a single direction shall be less than or equal to
5 µs. Note: These requirements apply to the changes to time_base_offset and

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are applied irrespective of the accuracy of the master's reference clock (see
Section 1.1). This means that slaves may observe a change in CLK greater
than 20ppm.

If a master is performing Clock Dragging when it initiates a Coarse Clock
Adjustment, a new Clock Dragging, or a sequence containing an instant or
timing control flags, or receives a request from a slave to initiate such a
sequence, it shall abort the current Clock Dragging before processing the new
request or carrying out the sequence. If the master has suspended clock
dragging during CLK_adj_dragTO, it shall reject new requests until the timeout
is cancelled due to slave response or the timeout period expires.

8.6.11 Slot Availability Mask (SAM)

Slot Availability Mask (SAM) allows two Bluetooth devices to indicate to each
other the availability of their time slots for transmission and reception. From the
baseband point of view, SAM provides a map - the SAM slot map - which
marks the availability of Bluetooth slots. The availability arises from either
external conditions (e.g., MWS coexistence) or internal conditions (e.g.,
topology management for scatternets). The SAM slot map marks each slot
using one of four type codes defined in [Vol 2] Part C, Section 5.2 and repeated
for convenience in Table 8.7.

 Slot type code             Meaning

 0                          The slot is not available for either transmission or reception
 1                          The slot is available for transmission but not reception

 2                          The slot is available for reception but not transmission
 3                          The slot is available for both transmission and reception
Table 8.7: SAM Slot Types

Note: A master may mark master-to-slave slots available for reception and
slave-to-master slots available for transmission, because such slots may be
used in this way for multi-slot packets; similarly for a slave. A SAM slot map
with all slots set to type 3 is equivalent to not using SAM and simply performing
normal scheduling.

Figure 8.16 shows an example of a SAM slot map. The master-to-slave slots
are labeled with the letter 'M' and slave-to-master slots with the letter 'S'.


 %OXHWRRWK6ORW   0     6   0   6     0    6    0                               0      6     0    6
 &DQ7UDQVPLW
  &DQ5HFHLYH
   7\SH&RGH                                                                            


Figure 8.16: An example of a SAM slot map




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A SAM slot map has a finite length and is repeated indefinitely until changed by
the associated LMP procedures. SAM anchor points are spaced regularly with
an interval of TSAM, in units of slots. Between adjacent SAM anchor points, the
slot map indicates when the device is able to transmit and receive. The SAM
slot map is effectively repeated every TSAM until it is changed.

The SAM interval TSAM is further divided into NSAM-SM sub-intervals of equal
length, TSAM-SM, such that TSAM = TSAM-SM * NSAM-SM. TSAM-SM shall be an
even integer so as to contain TX/RX slot pairs.

The words "SAM submap" (or simply "submap" when there is no ambiguity
from the context) will be used to denote a sub-interval of TSAM-SM slots. Each
submap is assigned one of the four usage types defined in [Vol 2] Part C,
Section 5.2 and repeated for convenience in Table 8.8.

 Submaptype code            Meaning

 0                          Each slot is individually available or unavailable as configured. Slots
                            may have different availabilities for transmission and reception.
 1                          All slots are available for transmission and reception.
 2                          All slots are unavailable for transmission and reception.

 3                          Reserved for Future Use
Table 8.8: SAM Submap Types

The SAM facilities specify each SAM slot map at the submap granularity.
Figure 8.17 shows an example of a SAM slot map in terms of submaps in the
local device. Each box represents a sub-interval of TSAM-SM slots, with the
label on the box indicating the type of the submap. Note that at the submap
level of granularity, transmit and receive are handled identically. The difference
will only appear inside submaps with type 0.

                                    TSAM-SM



      SAM Slot Map
                        0   0   1      1      1   0   1    1     2   1   2   1   0   0   1     1   0    0    1   ...
     Submaps Types




                                                          TSAM


        Anchor Point


Figure 8.17: Example of a SAM slot map in terms of submaps in the local device


In addition to the SAM slot maps, the Controller also maintains a single "SAM
type 0 submap" that is used to specify the availability of individual slots for
those submaps shown as having type 0. The Controller then combines the
SAM slot map at submap granularity with the first TSAM-SM entries of the type 0


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submap to generate the effective maps. Figure 8.18 shows a SAM slot map
and a SAM type 0 submap together with the resulting effective map.


                                           TSAM-SM                          Ignored for this map
                                       M   S       M   S       M   S                                        M       S

        SAM Type 0          TX
                                                                                   ɃɃɃɃɃɃɃ
         Submap             RX
                       Slot Type       1   3       2   0       3       2                                    3       0
                                                               Fixed to 56 Fields

                                                                   TSAM-SM



        SAM Slot Map                           1                           0                        0                           2                            1
         at Submaps
         Granularity                                                                            TSAM

                   Anchor Point



                                                                   TSAM-SM
                      Bluetooth Slot   M   S       M   S       M       S       M    S   M       S       M       S       M   S       M       S       M    S       M    S
                      Can Transmit

                      Can Receive

                       Type Code       3   3       3   3       1       3       2    0   1       3       2       0       0   0       0       0       3    3       3    3
                                                                                                TSAM

Figure 8.18: Example of a SAM slot map and SAM type 0 submap being combined


Figure 8.19 shows an example of a SAM type 0 submap for a collocated MWS.


       Collocated                           MWS
                                           Downlink                        MWS Uplink                                       MWS Downlink
      MWS Frame
                        Bluetooth Slot     M       S       M       S        M       S   M           S       M           S   M           S       M       S        M     S
       Example          Can Transmit
     SAM Submap          Can Receive
      with Type 0
                          Type Code        2       2       0       1           1    1       1       1           1       2   2           2       2       2        2     2

                                                                                                TSAM-SM

Figure 8.19: Examples of SAM type 0 submap at a Bluetooth device with a collocated MWS


The assumption in the example is that, in order to prevent mutual interference
between Bluetooth and MWS radios, Bluetooth transmissions are not available
during MWS downlink durations and Bluetooth reception is not available during
MWS uplink durations. The MWS frame is 10 ms long and the SAM type 0
submap needs to have the same length, so TSAM-SM is 16.

Figure 8.20 shows another example of a collocated Bluetooth device with a low
traffic load in the MWS Uplink. In this case, the implementation chooses to
mark the MWS Uplink portion available for both TX and RX, because there is a


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good chance that it can receive master packets and respond to them without
interference from MWS.


       Collocated                        MWS
                                        Downlink    MWS Uplink                    MWS Downlink
      MWS Frame
                       Bluetooth Slot   M   S   M   S   M   S   M    S   M    S   M   S     M    S   M     S
       Example         Can Transmit
     SAM Submap         Can Receive
      with Type 0
                        Type Code       2   2   0   1   1   1   1    1   1    3   3   3     3    3   3     3

                                                                    TSAM-SM


       Collocated                        MWS
                                        Downlink    MWS Uplink                    MWS Downlink
      MWS Frame
                       Bluetooth Slot   M   S   M   S   M   S   M    S   M    S   M   S     M    S   M     S
       Example         Can Transmit
     SAM Submap         Can Receive
      with Type 0
                        Type Code       2   2   2   3   3   3   3    3   3    2   2   2     2    2   2     2

                                                                    TSAM-SM

Figure 8.20: Examples of SAM type 0 submap at a Bluetooth device with a collocated MWS with
low uplink traffic load


SAM allows each device to send its local slot availability to the other, in which
case the availability of slots depends on the combined slot maps. The
scheduling recommendations for such a SAM slot map are described in
Section 8.6.11.2.

A device that supports the SAM feature shall be capable of storing three
distinct SAM slot maps from each connected remote device. A remote device
can only define one type 0 submap, which can be referenced by any of its
defined SAM slot maps. The remote device may redefine its type 0 submap at
any time.

8.6.11.1 SAM Anchor Point

SAM slot maps are periodic, defined by an interval TSAM and an offset DSAM.
Figure 8.21 shows an example of SAM slot maps designed to correspond to
periodic MWS active and inactivity cycles.




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      MWS        MWS         MWS        MWS                               MWS                           MWS         MWS
     Downlink    Uplink     Downlink    Uplink                          Inactivity                     Downlink     Uplink




       Type 0 Submap          Type 0 Submap             Type 1 Submap                Type 1 Submap        Type 0 Submap


                                  TSAM-SM
          Anchor Point                                                                                      Anchor Point
                                                 TSAM


Figure 8.21: An example of SAM slot maps for a periodic MWS active and inactive cycles


SAM anchor points are the start points of the first slot in the SAM slot maps.
SAM anchor points are computed from TSAM and DSAM using the current
master clock, which is known to both devices. The first SAM anchor point is
indicated by SAM_Instant. In order to prevent problems caused by the clock
wrap-around, the LMP message carries an additional timing control flag, which
indicates whether initialization procedure 1 or 2 shall be used. The initiating
device shall use initialization 1 when the MSB of the current master clock
(CLK27) is 0; it shall use initialization 2 when the MSB of the current master
clock (CLK27) is 1. The responding device shall apply the initialization method
indicated by the initialization flag. The SAM anchor points shall be initialized on
the slots for which the clock satisfies the applicable equations:

CLK27-1 mod TSAM = DSAM for initialization 1

(CLK 27, CLK26-1) mod TSAM = DSAM for initialization 2

After initialization, the clock value CLK(k+1) for the next SAM anchor point can
be found by adding the fixed interval TSAM to the clock value of the current
anchor point:

CLK27-1 (k+1) = CLK27-1 (k) + TSAM

The SAM anchor point shall be a master-to-slave slot. As a corollary, the first
slot of every SAM submap is also a master-to-slave slot.

8.6.11.2 SAM Scheduling

SAM enables each device to send its local slot availability to the other. The
scheduler in the Bluetooth Controller should consider the SAM slot maps from
both local and remote devices for packet scheduling. The only effect of using
the SAM information is to restrict a device's transmission and reception
opportunities.

For all ACL packets and for eSCO packets in the retransmission window:
1. The master should only transmit a packet if the required master-to-slave
   slots are marked as available for transmission in the master's SAM slot map
   and available for reception in the slave's SAM slot map.


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2. The slave should only transmit a packet if the required slots are marked as
   available for reception in the master's SAM slot map and available for
   transmission in the slave's SAM slot map.
3. The slave may choose not to listen to the master in master-to-slave slots
   that are marked either unavailable for transmission in the master’s SAM slot
   map or unavailable for reception in the slave’s SAM slot map.

For all ACL packets, the master should only transmit a packet if the slot
immediately following the master's packet is marked as available for
transmission in the slave's SAM slot map and available for reception in the
master's SAM slot map.

For eSCO packets in the retransmission window, the master should only
transmit a packet if either:
1. the slot immediately following the master's packet is marked as available for
   transmission in the slave's SAM slot map and available for reception in the
   master's SAM slot map;
2. this is the last opportunity for the master to transmit this packet in this
   retransmission window; or
3. for all subsequent master-to-slave slots in the same retransmission window
   that provide sufficient remaining slots for the master to transmit the same
   packet, the rules in this section state that the master should not transmit the
   packet.

In SCO and eSCO reserved slots, either the master or the slave may choose
not to transmit a SCO or eSCO packet unless the required slots are marked
both as available for transmission in the local SAM slot map and available for
reception in the remote SAM slot map.

Figure 8.22 below illustrates possible scheduling results with combined SAM
slot maps from master and slave.




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               Bluetooth Slot      M       S          M      S        M        S       M        S


                Can Transmit
                 at Master


                Can Receive
                 at Master



                Can Transmit
                  at Slave


                Can Receive
                  at Slave



                1-Slot Packet                                      M->S     S->M


                3-Slot Packet
                                                          M->S              S->M
                  (Master)


                3-Slot Packet
                                                                   M->S              S->M
                   (Slave)



Figure 8.22: Example of possible scheduling results with combined SAM slot maps from master
and slave


8.7 SNIFF MODE
In Sniff mode, the duty cycle of the slave’s activity in the piconet may be
reduced. If a slave is in active mode on an ACL logical transport, it shall listen
in every ACL slot to the master traffic, unless that link is being treated as a
scatternet link or is absent due to hold mode. With sniff mode, the time slots
when a slave is listening are reduced, so the master shall only transmit to a
slave in specified time slots. The sniff anchor points are spaced regularly with
an interval of Tsniff.

                            Sniff interval (Tsniff)
                master-to-slave slave-to-master master-to-slave slave-to-master master-to-slave slave-to-master
                     slot             slot           slot             slot           slot             slot




     Sniff anchor point                                             Sniff anchor point

Figure 8.23: Sniff anchor points




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The slave listens in master-to-slave transmission slots starting at the sniff anchor
point. It shall use the following rules to determine whether to continue listening:
• If fewer than Nsniff attempt master-to-slave transmission slots have elapsed
  since the sniff anchor point then the slave shall continue listening.
• If the slave has received a packet with a matching LT_ADDR that contains
  ACL data (DM, DH, DV, or AUX1 packets) in the preceding Nsniff timeout
  master-to-slave transmission slots then it shall continue listening.
• If the slave has transmitted a packet containing ACL data (DM, DH, DV, or
  AUX1 packets) in the preceding Nsniff timeout slave-to-master transmission
  slots then it shall continue listening.
• If the slave has received any packet with a matching LT_ADDR in the
  preceding Nsniff timeout master-to-slave transmission slots then it may
  continue listening.
• A device may override the rules above and stop listening prior to Nsniff timeout
  or the remaining Nsniff attempt slots if it has activity in another piconet.

It is possible that activity from one sniff timeout may extend to the next sniff
anchor point. Any activity from a previous sniff timeout shall not affect activity
after the next sniff anchor point. So in the above rules, only the slots since the
last sniff anchor point are considered.
Note that Nsniff attempt =1 and Nsniff timeout =0 cause the slave to listen only at
the slot beginning at the sniff anchor point, irrespective of packets received
from the master.
Nsniff attempt =0 shall not be used.

Sniff mode only applies to asynchronous logical transports and their associated
LT_ADDR. Sniff mode shall not apply to synchronous logical transports,
therefore, both masters and slaves shall still respect the reserved slots and
retransmission windows of synchronous links.

To enter sniff mode, the master or slave shall issue a sniff command via the LM
protocol. This message includes the sniff interval Tsniff and an offset Dsniff. In
addition, an initialization flag indicates whether initialization procedure 1 or 2
shall be used. The device shall use initialization 1 when the MSB of the current
master clock (CLK27) is 0; it shall use initialization 2 when the MSB of the
current master clock (CLK27) is 1. The slave shall apply the initialization
method as indicated by the initialization flag irrespective of its clock bit value
CLK27. The sniff anchor point determined by the master and the slave shall be
initialized on the slots for which the clock satisfies the applicable equation:

        CLK27-1 mod Tsniff = Dsniff                       for initialization 1

        (CLK27,CLK26-1) mod Tsniff = Dsniff               for initialization 2

this implies that Dsniff must be even


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After initialization, the clock value CLK(k+1) for the next sniff anchor point shall
be derived by adding the fixed interval Tsniff to the clock value of the current
sniff anchor point:

        CLK27-1(k+1) = CLK27-1(k) + Tsniff

8.7.1 Sniff Transition Mode

Sniff transition mode is a special mode which is used during the transition
between sniff and active mode. It is required because during this transition it is
unclear which mode (Sniff or Active) the slave is in and it is necessary to
ensure that the slave is polled correctly regardless of which mode it is in.

In sniff transition mode the master shall maintain the active mode poll interval
in case the slave is in active mode. In addition the master shall poll the slave at
least once in the sniff attempt transmit slots starting at each sniff anchor point.
Note that this transmission counts for the active mode polling as well. The
master shall use its high power accurate clock when in Sniff Transition Mode.

The precise circumstances under which the master enters Sniff Transition
Mode are defined in [Vol 2] Part C, Section 4.5.3.1.

8.7.2 Sniff Subrating

When sniff subrating is enabled by the Link Manager a device alternates
between sniff mode and sniff subrating mode. Sniff subrating mode allows a
device to use a reduced number of sniff anchor points. A device shall transition
from sniff mode to sniff subrating mode based on the sniff mode timeout value
(see Section 8.7.2.1). A device shall transition from sniff subrating mode to sniff
mode whenever ACL-U, ASB-U, ACL-C, or ASB-C data is received from the
remote device.

                                         Sniff mode timeout expired




                                                                      Sniff Subrating
                            Sniff Mode
                                                                           Mode




                                               Data received

Figure 8.24: Sniff subrating


A slave device in sniff subrating mode shall also temporarily enter sniff mode
after transmitting a packet requiring acknowledgment until the baseband
acknowledgment is received.

Note: Once sniff subrating is enabled the master and slave devices may be in
sniff mode or sniff subrating mode at different times. The rules defined in

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Section 8.7.2.2 describe how the two devices maintain synchronization and
can reliably exchange data.

8.7.2.1 Sniff Mode Timeout

Whenever a packet containing ACL-U,ASB-U, ACL-C, or ASB-C data is
received by a device in sniff subrating mode it shall transition to sniff mode, re-
start the sniff mode timeout and all sniff anchor points shall be used until a
minimum number of slots equal to the received min_sniff_mode_timeout have
expired. If ACL-U, ASB_U, ACL-C, or ASB-C data is received before
min_sniff_mode_timeout slots have passed since the last ACL-U, ASB_U,
ACL-C, or ASB-C data was received, the timeout shall be restarted. NULL and
POLL packets do not contain ACL or ASB data and shall not restart the sniff
mode timeout.

Note that there are two sniff mode timeout values: one for the local device and
one for the remote device.

8.7.2.2 Sniff Subrating Mode

When the sniff mode timeout has expired a device shall enter sniff subrating
mode. In sniff subrating mode the mandatory sniff subrate anchor points at
which the master shall transmit to the slave and the slave shall listen for the
master, are defined as follows (where M is the max subrate received by the
master, N is the max subrate received by the slave, A is the sniff subrating
instant, and k is any positive integer):

            Master                                        Slave

 M=N        CLK M ( k ) = A + [ Tsniff • M • k ]          CLK N ( k ) = A+ [ Tsniff • N • k ]

            At least once every j anchor points           CLK N ( k ) = A + [ Tsniff • N • k ]
            satisfying
 M>N
            CLK N ( k ) = A + [ Tsniff • N • k ], where
            j=M/N

                                                          At least once every j anchor points
                                                          satisfying
 M<N        CLK M( k ) = A + [ Tsniff • M • k ]
                                                          CLK M( k ) = A + [ Tsniff • M • k ], where
                                                          j=N/M

Table 8.9: Sniff subrate anchor points

 1 Note:  X  denotes the mathematical “floor” function, equivalent to rounding down to
   the nearest integer. Hence,  X / Y  yields the highest integer j for which Y • j ≤ X .
 2 Note: When sniff subrating is enabled, the rules specified in Section 8.7 for Nsniff attempt
   and Nsniff Timeout shall apply to sniff subrating anchor points.




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8.8 HOLD MODE
During the CONNECTION state, the ACL logical transport to a slave can be put
in a hold mode. In hold mode the slave temporarily shall not support ACL
packets on the channel. Any synchronous packet during reserved synchronous
slots (from SCO and eSCO links) shall be supported. With the hold mode,
capacity can be made free to do other things like scanning, paging, inquiring, or
attending another piconet. The device in hold mode can also enter a low-
power sleep mode. During hold mode, the slave device keeps its logical
transport address(es) (LT_ADDR).

Prior to entering hold mode, master and slave agree on the time duration the
slave remains in hold mode. A timer shall be initialized with the holdTO value.
When the timer is expired, the slave shall wake up, synchronize to the traffic on
the channel and will wait for further master transmissions.

8.9 THIS SECTION NO LONGER USED



8.10 CONNECTIONLESS SLAVE BROADCAST MODE
In connectionless slave broadcast mode, the master broadcasts packets to
zero or more slaves.

The master can broadcast messages to multiple slaves in connectionless slave
broadcast mode. For this purpose, the master shall reserve an LT_ADDR for
use only by Connectionless Slave Broadcast traffic. In connectionless slave
broadcast mode, the master transmits packets at specified intervals.

8.10.1 Connectionless Slave Broadcast Transmit Operation

In connectionless slave broadcast mode, the master transmits packets on the
CSB logical transport at intervals requested by the Host in master-to-slave
transmission slots.

If the Host has not yet provided the BR/EDR Controller with any data packets
to transmit since enabling the broadcast, or if the length of the data is zero, the
BR/EDR Controller shall transmit NULL packets. This is different than the case
where the Host has provided data since enabling the broadcast but has not
provided new data since the previous broadcast packet. In that case, the BR/
EDR Controller resends the most recent data.

The Host may provide Connectionless Slave Broadcast data through HCI
commands. Because HCI commands are limited to 255 bytes, a single
command cannot carry the maximum payloads allowed by larger packets, such
as DH5. Therefore, HCI commands for Connectionless Slave Broadcast allow
fragmentation of large payloads at the HCI level. The BR/EDR Controller shall
assemble all HCI fragments of a packet before transmission and shall not


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transmit incomplete packets. Until such assembly is complete, the Controller
shall continue to transmit the previous data (if any).

Figure 8.25 shows the timing of Connectionless Slave Broadcast packets.

                     Connectionless Slave Broadcast Interval
                        (TConnectionless_Slave_Broadcast)


          master-to-slave   slave-to-master                           master-to-slave   slave-to-master
               slot               slot                                     slot               slot




 Connectionless Slave                                          Connectionless Slave
  Broadcast Instant                                             Broadcast Instant

Figure 8.25: Connectionless Slave Broadcast Timing

Connectionless Slave Broadcast Instants are separated by the Connectionless
Slave Broadcast Interval (TConnectionless_Slave_Broadcast). The Connectionless
Slave Broadcast interval can be any even value from 0x0002 to 0xFFFE slots and
is negotiated between the BR/EDR Controller and the Host during CSB setup. At
the start of each Connectionless Slave Broadcast Instant, the Connectionless
Slave Broadcast packet is transmitted using the adapted piconet physical
channel. Connectionless Slave Broadcast packets shall not be encrypted.

The master shall stop transmitting Connectionless Slave Broadcast packets
after CSB_supervisionTO slots have passed without transmission of a
Connectionless Slave Broadcast packet. CSB_supervisionTO may be any
even value from 0x0002 to 0xFFFE slots. Connectionless Slave Broadcast
packets can fail to transmit for a certain continuous period of time due to
scheduling conflicts from higher priority traffic.

8.10.2 Connectionless Slave Broadcast Receive Operation

In connectionless slave broadcast mode, the slave is synchronized to a
Connectionless Slave Broadcast transmitter and is receiving profile broadcast
data on the LT_ADDR reserved by the master for the CSB logical transport.

When requesting synchronization establishment, the Host provides the
Controller with the master’s clock offset and the next Connectionless Slave
Broadcast Instant received from the synchronization train. Because of delays in
the Host, it is possible that the Connectionless Slave Broadcast Instant occurs
in the past. The BR/EDR Controller shall support Connectionless Slave
Broadcast instants at least 1 second in the past. The slave should determine
whether the Connectionless Slave Broadcast Instant is in the past or the future
by using the master’s clock offset and its own clock to estimate the current
master clock and start listening from the next broadcast instant.


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The Skip parameter is set by the Host and specifies the number of consecutive
Connectionless Slave Broadcast instants which the receiver may skip after
successfully receiving a Connectionless Slave Broadcast packet. If the
Connectionless Slave Broadcast packet is received successfully, the payload
data shall be forwarded to the Host. If no Connectionless Slave Broadcast
packet is received by a slave during a Connectionless Slave Broadcast Instant,
the slave shall ignore Skip and instead listen at every scheduled
Connectionless Slave Broadcast Instant until it is able to successfully receive a
Connectionless Slave Broadcast packet or until CSB_supervisionTO number
of slots have passed.

The BR/EDR Controller shall stop listening for Connectionless Slave Broadcast
packets after CSB_supervisionTO slots have passed without receiving a
Connectionless Slave Broadcast packet.

The BR/EDR Controller may transfer Connectionless Slave Broadcast data to
the Host through HCI events. Because HCI events are limited to 255 bytes a
received packet may or may not fit into a single HCI event. The BR/EDR
Controller shall fragment and transfer such packets using multiple HCI events.

8.10.3 AFH in Connectionless Slave Broadcast

Connectionless Slave Broadcast packets shall be transmitted on the adapted
piconet channel and the synchronization train shall always contain the current
AFH channel map for the PBD logical link.

8.11 SYNCHRONIZATION ESTABLISHMENT SUBSTATES

8.11.1 Synchronization Scan Substate

The synchronization scan substate is used by slaves to receive
synchronization train packets from the piconet master. The synchronization
scan substate can be entered from the STANDBY or CONNECTED states. In
the synchronization scan substate, a device uses the Synchronization Scan
procedure (see Section 2.7.3). During each synchronization scan window, the
device shall listen on a single frequency with its correlator matched to the
master’s channel access code (CAC).

If the correlator exceeds the trigger threshold during the Synchronization Scan
procedure, the scanning device shall receive the synchronization train packet,
whose contents are defined in Table 8.10. Upon reception of the
synchronization train packet the device shall exit the synchronization scan
substate and return to the STANDBY or CONNECTED state as appropriate. If
the packet is not received the device should stay in the synchronization scan
substate. If the synchronization_scanTO expires before reception of a
Synchronization Train packet, the device shall return to the STANDBY state. A
device attempting to synchronize to a Connectionless Slave Broadcast



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transport shall ignore any synchronization train packet whose Connectionless
Slave Broadcast LT_ADDR field in the payload is set to zero.

The synchronization scan may be interrupted by higher priority traffic. In
particular, the reserved synchronous slots should have higher priority than the
synchronization scan.

8.11.2 Synchronization Train Substate

The synchronization train substate is used by the master of the piconet to
transmit synchronization train packets. The synchronization train substate
can be entered from the STANDBY or CONNECTED states. In the
synchronization train substate, a device uses the Synchronization Train
procedure (see Section 2.7.2). During the Synchronization Train procedure, the
master repeatedly transmits synchronization train packets on the channels
specified in Section 2.6.4.8. While in the synchronization train substate:
• if Connectionless Slave Broadcast mode is enabled, the master shall
  continue to transmit Connectionless Slave Broadcast packets in addition to
  synchronization train packets;
• if the master is in Coarse Clock Adjustment Recovery Mode, it shall continue
  transmitting and receiving on all active logical transports to all slaves that
  have acknowledged the Coarse Clock Adjustment (see [Vol 2] Part C,
  Section 4.1.14.1).

Reserved SCO and eSCO slots should have higher priority than the
synchronization train. Once the master enters the synchronization train
substate, it shall remain in the synchronization train substate until
synchronization_trainTO expires or the Host directs otherwise. The master
shall transition to the STANDBY or CONNECTED state when exiting the
synchronization train substate.

The synchronization train packet is a basic rate ACL packet with type DM3 and
LT_ADDR of zero. FLOW, ARQN and SEQN shall all be set to zero upon
transmission and ignored upon receipt. The HEC LFSR shall be initialized with
the master UAP. In the payload header, the LLID shall contain the value 10b
(start of an L2CAP message or no fragmentation). FLOW in the payload
header shall be set to zero upon transmission and ignored upon reception. The
length of the payload body (LENGTH) shall be 28 bytes. The CRC LFSR shall
be initialized with the master UAP. Data whitening is not used. Encryption is not
used.

There are two possible formats. Format 1 shall be used when the
synchronization train is being transmitted by a device which is the master of a
piconet where Connectionless Slave Broadcast mode is enabled, and format 2




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shall be used otherwise. The format of the payload portion of the DM3 packet
used in the synchronization train is shown in Table 8.10.

                                                 Format 1                  Format 2
 Bytes      Field                     Length     Description               Description

 0-3        CLK                       4 Bytes    Current piconet clock     Current piconet
                                                 (CLK)                     clock (CLK)
 4-7        Future Connectionless     4 Bytes    CLK[27:1] corre-          CLK[27:1] + 1600
            Slave Broadcast Instant              sponding to the start     slots
                                                 of a future Connec-
                                                 tionless Slave Broad-
                                                 cast Instant.

 8-17       AFH Channel Map           10 Bytes   The current               Unspecified
                                                 AFH_Channel_Map
                                                 used for the PBD logi-
                                                 cal link. The format is
                                                 the same as the Link
                                                 Manager AFH_Chan-
                                                 nel_Map parameter,
                                                 see [Vol 2] Part C,
                                                 Table 5.2.

 18-23      Master BD_ADDR            6 Bytes    Master BD_ADDR            Master BD_ADDR

 24-25      Connectionless Slave      2 Bytes    Time duration in slots    Unspecified
            Broadcast Interval                   from the start of a
                                                 Connectionless Slave
                                                 Broadcast packet to
                                                 the start of the next
                                                 Connectionless Slave
                                                 Broadcast packet.
                                                 Must be even.

 26         Connectionless Slave      1 Byte     The LT_ADDR               0x00
            Broadcast LT_ADDR                    reserved for the CSB
                                                 logical transport.
 27         Service Data              1 Byte     Defined by the ser-       0x00
                                                 vice using the Con-
                                                 nectionless Slave
                                                 Broadcast feature.

Table 8.10: Synchronization Train Packet Payload Body

The Host provides the Service Data for the synchronization train packet
payload body when format 1 is used. The BR/EDR Controller provides the data
for all other fields.

All devices in the synchronization scan substate shall accept payloads of any
length from 28 to 121 bytes inclusive and shall ignore bytes 28 (counting from
0) and beyond.

When format 1 is used the Future Connectionless Slave Broadcast Instant in
the synchronization train packet payload shall correspond to one of the next 4

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broadcast instants. Figure 8.26 shows an example of valid and invalid values
for this field.

      STP = SynchronizationTrain Packet
      CSBI = Connectionless Slave Broadcast Instant


                            Invalid
                                                Valid




             CSBI 0           CSBI 1   CSBI 2           CSBI 3   CSBI 4      CSBI 5
                       STP

Figure 8.26: Examples of Synchronization Train Pointing to Connectionless Slave Broadcast Instant


The master shall not transmit synchronization train packets in a Connectionless
Slave Broadcast Instant.




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9 AUDIO

On the air-interface, either a 64 kb/s log PCM (Pulse Code Modulation) format
(A-law or μ-law) may be used, or a 64 kb/s CVSD (Continuous Variable Slope
Delta Modulation) may be used. The latter format applies an adaptive delta
modulation algorithm with syllabic companding.

The voice coding on the line interface is designed to have a quality equal to or
better than the quality of 64 kb/s log PCM.

Table 9.1 summarizes the voice coding schemes supported on the air
interface. The appropriate voice coding scheme is selected after negotiations
between the Link Managers.

 Voice Codecs

 linear                               CVSD
                                      A-law
 8-bit logarithmic
                                      μ-law

Table 9.1: Voice coding schemes supported on the air interface


9.1 LOG PCM CODEC
Since the synchronous logical transports on the air-interface can support a 64
kb/s information stream, a 64 kb/s log PCM traffic can be used for
transmission. Either A-law or μ-law compression may be applied. In the event
that the line interface uses A-law and the air interface uses μ-law or vice versa,
a conversion from A-law to μ-law shall be performed. The compression method
shall follow ITU-T recommendations G. 711.

9.2 CVSD CODEC
A more robust format for voice over the air interface is delta modulation. This
modulation scheme follows the waveform where the output bits indicate
whether the prediction value is smaller or larger than the input waveform. To
reduce slope overload effects, syllabic companding is applied: the step size is
adapted according to the average signal slope. The input to the CVSD encoder
shall be 64 ksamples/s linear PCM (typically 16 bits, but actual value is
implementation specific). Block diagrams of the CVSD encoder and CVSD
decoder are shown in Figure 9.1, Figure 9.2 and Figure 9.3. The system shall
be clocked at 64 kHz.




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             x(k)
                             +                                                               b(k)
                                  -
                      x̂(k – 1)
                                        Accumulator                  Step size
                                                             δ(k)     control




Figure 9.1: Block diagram of CVSD encoder with syllabic companding




                    b(k)

                                      Step size                  Accumulator              x̂(k – 1)
                                       control       δ(k)


Figure 9.2: Block diagram of CVSD decoder with syllabic companding




                           b(k)



            δ(k)            ⊗     ⊕              D                Sat.                ⊗           x̂(k – 1)
                                       ŷ(k)         ŷ(k – 1)           y (k – 1 )

                                                                                      h


Figure 9.3: Accumulator procedure


Let sgn(x) = 1 for x ≥ 0 , otherwise sgn(x) = – 1 . On air these numbers shall be
represented by the sign bit; i.e. negative numbers are mapped on “1” and
positive numbers are mapped on “0”.

Denote the CVSD encoder output bit b(k) , the encoder input x(k) , the
accumulator contents y(k) , and the step size δ(k) . Furthermore, let h be the
decay factor for the accumulator, let β denote the decay factor for the step size,
and, let α be the syllabic companding parameter. The latter parameter monitors
the slope by considering the K most recent output bits

Let

                                               x̂(k) = hy(k).                                                  (EQ 14)

Then, the CVSD encoder internal state shall be updated according to the
following set of equations:


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                             b(k) = sgn { x(k) – x̂(k – 1) },                                   (EQ 15)

                  1,          if J bits in the last K output bits are equal,
             α =                                                                               (EQ 16)
                  0,          otherwise,


                       min { δ(k – 1) + δ min, δ max },           α = 1,
                       
                δ(k) =                                                                         (EQ 17)
                       max { βδ(k – 1), δ min } ,                 α = 0,
                       

                             min { ŷ(k), y max },         ŷ(k) ≥ 0.
                            
                     y(k) =                                                                    (EQ 18)
                            max { ŷ(k), y min },          ŷ(k) < 0.
                            

where

                                ŷ(k) = x̂(k – 1) + b(k)δ(k) .                                  (EQ 19)

In these equations, δmin and δmax are the minimum and maximum step sizes,
and, ymin and ymax are the accumulator’s negative and positive saturation
values, respectively. Over air, the bits shall be sent in the same order they are
generated by the CVSD encoder.

For a 64 kb/s CVSD, the parameters as shown in Table 9.2 shall be used. The
numbers are based on a 16 bit signed number output from the accumulator.
These values result in a time constant of 0.5 ms for the accumulator decay, and
a time constant of 16 ms for the step size decay

 Parameter               Value

 h                             1
                         1 – ------
                             32

 β                                1
                         1 – ------------
                             1024

 J                       4
 K                       4
 δmin                    10

 δmax                    1280

 ymin                    – 2 15 or – 2 15 + 1

 ymax                    2 15 – 1
Table 9.2: CVSD parameter values. The values are based on a 16 bit signed number output
from the accumulator




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9.3 ERROR HANDLING
In the DV, HV3, EV3, EV5, 2-EV3, 3-EV3, 2-EV5 and 3-EV5 packets, the voice
is not protected by FEC. The quality of the voice in an error-prone environment
then depends on the robustness of the voice coding scheme and, in the case of
eSCO, the retransmission scheme. CVSD, in particular, is rather insensitive to
random bit errors, which are experienced as white background noise. However,
when a packet is rejected because either the channel access code, the HEC
test was unsuccessful, or the CRC has failed, measures have to be taken to
“fill” in the lost speech segment.

The voice payload in the HV2 and EV4 packets are protected by a 2/3 rate
FEC. For errors that are detected but cannot be corrected, the receiver should
try to minimize the audible effects. For instance, from the 15-bit FEC segment
with uncorrected errors, the 10-bit information part as found before the FEC
decoder should be used. The HV1 packet is protected by a 3 bit repetition FEC.
For this code, the decoding scheme will always assume zero or one-bit errors.
Thus, there exist no detectable but uncorrectable error events for HV1 packets.

9.4 GENERAL AUDIO REQUIREMENTS

9.4.1 Signal Levels

For A-law and μ-law log-PCM encoded signals the requirements on signal
levels shall follow the ITU-T recommendation G.711.

Full swing at the 16 bit linear PCM interface to the CVSD encoder is defined to
be 3 dBm0.

9.4.2 CVSD Audio Quality

For Bluetooth audio quality the requirements are put on the transmitter side.
The 64 ksamples/s linear PCM input signal should have negligible spectral
power density above 4 kHz. The power spectral density in the 4-32 kHz band of
the decoded signal at the 64 ksamples/s linear PCM output, should be more
than 20 dB below the maximum in the 0-4 kHz range.




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APPENDIX A GENERAL AUDIO
                              RECOMMENDATIONS

A.1 MAXIMUM SOUND PRESSURE
It is the sole responsibility of each manufacturer to design their audio products
in a safe way with regards to injury to the human ear. The Bluetooth
Specification doesn’t specify maximum sound pressure from an audio device.

A.2 OTHER TELEPHONY NETWORK REQUIREMENTS
It is the sole responsibility of each manufacturer to design the Bluetooth audio
product so that it meets the regulatory requirements of all telephony networks
that it may be connected to.

A.3 AUDIO LEVELS FOR BLUETOOTH
Audio levels shall be calculated as Send Loudness Rating, SLR, and Receive
Loudness Rating, RLR. The calculation methods are specified in ITU-T
Recommendation P.79.

The physical test set-up for Handsets and Headsets is described in ITU-T
Recommendation P.51 and P.57

The physical test set-up for speakerphones and “Vehicle hands-free systems”
is specified in ITU-T Recommendation P.34.

A general equation for computation of loudness rating (LR) for telephone sets
is given by ITU-T recommendations P.79 and is given by
                                                     N
                                                2         m ( s i – w i ) ⁄ 10
                                                                               
                           LR = – ------ log10                                ,
                                  10
                                   m                  10
                                                                               
                                                                                                    (EQ 20)
                                                i = N1                        

where
              m is a constant (~ 0.2).
              wi = weighting coefficient (different for the various LRs).
              Si = the sensitivity at frequency Fi, of the electro-acoustic path
              N1,N2, consecutive filter bank numbers (Art. Index: 200-4000 Hz)

(EQ 20) is used for calculating the (SLR) according to Figure A.1, and (RLR)
according to Figure A.2. When calculating LRs one must only include those
parts of the frequency band where an actual signal transmission can occur in
order to ensure that the additive property of LRs is retained. Therefore ITU-T
P.79 uses only the frequency band 200-4000 Hz in LR computations.


Appendix A: General Audio Recommendations                                                 06 December 2016
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A.4 MICROPHONE PATH
SLR measurement model



                                               A/D, Filter   PCM
       MRP                                                                     BTR
                                                 PGA
                                                               CVSD

Figure A.1: SLR measurement set-up


A.5 LOUDSPEAKER PATH
RLR measurement model



                      CVSD
    BTR                                     D/A, Filter
                                                                                ERP
                                              PGA
                          PCM


Figure A.2: RLR measurement set-up


A.6 BLUETOOTH VOICE INTERFACE
The specification for the Bluetooth voice interface should follow in the first
place the ITU-T Recommendations P.79, which specifies the loudness ratings
for telephone sets. These recommendations give general guidelines and
specific algorithms used for calculating the loudness ratings of the audio signal
with respect to Ear Reference Point (ERP).

For Bluetooth voice interface to the different cellular system terminals,
loudness and frequency recommendations based on the cellular standards
should be used. For example, GSM 03.50 gives recommendation for both the
loudness ratings and frequency mask for a GSM terminal interconnection with
Bluetooth.

1- The output of the CVSD decoder are 16-bit linear PCM digital samples, at a
sampling frequency of 8 ksample/s. Bluetooth also supports 8-bit log PCM
samples of A-law and μ-law type. The sound pressure at the ear reference
point for a given 16-bit CVSD sample, should follow the sound pressure level
given in the cellular standard specification.

2- A maximum sound pressure which can be represented by a 16-bit linear
PCM sample at the output of the CVSD decoder should be specified according
to the loudness rating, in ITU P.79 and at PGA value of 0 dB. Programmable
Gain Amplifiers (PGAs) are used to control the audio level at the terminals by

Appendix A: General Audio Recommendations                                06 December 2016
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the user. For conversion between various PCM representations: A-law, μ-law
and linear PCM, ITU-T G.711, G.712, G.714 give guidelines and PCM value
relationships. Zero-code suppression based on ITU-T G.711 is also
recommended to avoid network mismatches.

A.7 FREQUENCY MASK
For interfacing a Bluetooth terminal to a digital cellular mobile terminal, a
compliance of the CVSD decoder signal to the frequency mask given in the
cellular standard, is recommended to guarantee correct function of the speech
coders. A recommendation for a frequency mask is given in the Table A.1
below. The Figure A.3 below shows a plot of the frequency mask for Bluetooth
(solid line). The GSM frequency mask (dotted line) is shown in Figure A.3 for
comparison.


                                 Bluetooth
        dB                       GSM mask
       8.0

       4.0

       0.0



      -6.0

      -9.0

   -12.0

   -20.0

                 0.1 0.2        0.3         1.0     2.0    3.0 3.4          4.0      f kHz
              0.5

Figure A.3: Plot of recommended frequency mask for Bluetooth. The GSM send frequency mask is
given for comparison (dotted line)



 Frequency            Upper Limit            Lower Limit
 (Hz)                 (dB)                   (dB)

 50                   -20                    -

 300                  4                      -12
Table A.1: Recommended Frequency Mask for Bluetooth


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 Frequency            Upper Limit           Lower Limit
 (Hz)                 (dB)                  (dB)

 1000                 4                     -9
 2000                 4                     -9
 3000                 4                     --9

 3400                 4                     -12
 4000                 0                     -
Table A.1: Recommended Frequency Mask for Bluetooth




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Baseband Specification


APPENDIX B TIMERS

This appendix contains a list of Baseband timers related to inactivity timeout
defined in this specification. Definitions and default values of the timers are
listed below

All timer values are given in slots.

B.1 LIST OF TIMERS

B.1.1 inquiryTO

The inquiryTO defines the number of slots the inquiry substate shall last. The
timer value may be changed by the Host. HCI provides a command to change
the timer value.

B.1.2 pageTO

The pageTO defines the number of slots the page substate can last before a
response is received when the extended_pageTO is zero. The timer value may
be changed by the Host. HCI provides a command to change the timer value.

B.1.3 extended_pageTO

The extended_pageTO defines the number of additional slots the page
substate can last beyond pageTO before a response is received. The timer
value may be changed by the Host. HCI provides a command to change the
timer value.

B.1.4 pagerespTO

In the slave, it defines the number of slots the slave shall await the master’s
response, FHS packet, after sending the page acknowledgment ID packet. In
the master, pagerespTO defines the number of slots the master should wait for
the FHS packet acknowledgment before returning to page substate. Both
master and slave units should use the same value for this timeout, to ensure
common page/scan intervals after reaching pagerespTO.

The pagerespTO value is 8 slots.

B.1.5 newconnectionTO

Every time a new connection is started through paging, scanning, or role
switch, the master sends a POLL packet as the first packet in the new
connection. Transmission and acknowledgment of this POLL packet is used to
confirm the new connection. If the POLL packet is not received by the slave or
the response packet is not received by the master for newconnectionTO

Appendix B: Timers                                                   06 December 2016
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number of slots, both the master and the slave should return to the previous
substate.

newconnectionTO value is 32 slots.

B.1.6 supervisionTO

The supervisionTO is used by both the master and slave to monitor link loss. If
a device does not receive any packets that pass the HEC check and have the
proper LT_ADDR for a period of supervisionTO, it should reset the link. The
supervision timer keeps running in Hold mode and Sniff mode.

The supervisionTO value may be changed by the Host. HCI provides a
command to change the timer value. At the baseband level a default value
equivalent to 20 seconds should be used.

B.1.7 CSB_supervisionTO

The CSB_supervisionTO is used by the slave to monitor connection loss and
by the master to monitor scheduling conflicts and has a range of 0x0002 to
0xFFFE with only even values valid. At the baseband level a default value
equivalent to 5.12 seconds should be used. The Host can change the value of
CSB_supervisionTO.

B.1.8 synchronization_trainTO

The synchronization_trainTO is used by the master to determine how long to
continue broadcasting Synchronization Train packets and has a range of
0x00000002 to 0x07FFFFFE with only even values valid. At the baseband
level a default value equivalent to 120 seconds should be used for
Connectionless Slave Broadcast and a default value equivalent to 20 seconds
should be used for Coarse Clock Adjustment Recovery Mode. The Host may
change the value of synchronization_trainTO that is used during
Connectionless Slave Broadcast.

B.1.9 synchronization_scanTO

The synchronization_scanTO is used by the slave to determine when to stop
scanning for synchronization train packets. It has a range of 0x0022 to 0xFFFE
with only even values valid. At the baseband level a default value equivalent to
5.12 seconds should be used for Connectionless Slave Broadcast and a
default value equivalent to 20 seconds should be used during Coarse Clock
Adjustment Recovery Mode. The Host may change the value of
synchronization_scanTO that is used during Connectionless Slave Broadcast.




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B.1.10 authenticatedPayloadTO

The authenticatedPayloadTO is the maximum amount of time in seconds
allowed between receiving packets containing a MIC. The Host can change the
value of authenticatedPayloadTO.

The default value for authenticatedPayloadTO is 30 seconds.

B.1.11 CLK_adj_dragTO

The CLK_adj_dragTO is the minimum amount of time in seconds the drag shall
be suspended when a slave has not responded after the master has dragged
the clock.

The CLK_adj_dragTO value shall be 1 second.




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APPENDIX C RECOMMENDATIONS FOR AFH
                              OPERATION IN HOLD, SNIFF AND CSB
                              CONNECTIONLESS SLAVE BROADCAST

The three possible AFH operation modes for an AFH capable slave in Hold
mode and Sniff mode are the same three AFH operation modes used during
CONNECTION state:
• Enabled (using an AHS with some RF channels unused)
• Enabled (using AHS(79))
• Disabled

The master may place an AFH capable slave in any of the three AFH operating
modes.

C.1 OPERATION AT THE MASTER
A master that has one or more slaves in hold or sniff and decides to update
them simultaneously shall schedule an AFH_Instant for a time that allows it to
update all these slaves (as well as its active slaves) with the new adaptation.

A master that has multiple slaves with non-overlapping “wake” times (e.g.
slaves in sniff mode with different timing parameters) may keep them enabled
on the same adaptation provided that its scheduling of the AFH_Instant allows
enough time to update them all.

This timing is summarized in the figure below. In this example the master
decides that a hop sequence adaptation applying to all its slaves at the same
time is required. However it cannot schedule an AFH_Instant until it has
informed its active slave, its slave in hold, and its slave in sniff.

If it decides that only some slaves require the new adaptation, it need only take
those slaves into account when scheduling the AFH_Instant.




Appendix C: Recommendations for AFH Operation in Hold, Sniff and CSB         06 December 2016
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                                                              THS

    AFH-enabled
 sniff mode slave




                                                                    ENA (Earliest Next Adaptation for this device)
           awake


                                                  THS


    AFH-enabled         Awake                       Awake                                                               Awake
         slave in
      hold mode




                                                        ENA
                                     THS


     AFH-enabled                                         Awake
     slave not in a
                                           ENA




     power-saving
            mode

           Master
           activity

              Previous                      Master                                  Earliest next
             AFH_Instant                   decides on                                possible
                                           a new AH                                 AFH_Instant

Figure C.1: Timing constraint on AFH_Instant with slaves in hold and sniff


C.2 [THIS SECTION NO LONGER USED]



C.3 AFH OPERATION IN SNIFF
Once a slave has been placed in sniff mode, the master may periodically
change its AHS without taking the slave out of sniff mode.

C.4 AFH OPERATION IN HOLD
A slave that is in hold mode cannot send or receive any LMP messages. Once
the slave has left hold mode the master may subsequently update the slave’s
adaptation.

C.5 AFH OPERATION IN CONNECTIONLESS SLAVE
BROADCAST
After the master’s BR/EDR Controller notifies the master’s Host that the AFH
channel map has changed for the PBD logical link, the master’s Host may
restart the synchronization train to allow slaves to obtain the updated AFH
channel map. This is shown in the following MSC.


Appendix C: Recommendations for AFH Operation in Hold, Sniff and CSB                                                       06 December 2016
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                       Host                                                    Controller




                                                                              AFH Channel
                                                                              Map Change


                                 Connectionless Slave Broadcast Channel Map
                                                Change event

                                        Start Synchronization Train


                                             Command Status

                                                                                        Sync
                                                                                        Train




                                                                                        Sync
                                                                                        Train

                                      Synchronization Train Complete



Figure C.2: AFH Map Change – Connectionless Slave Broadcast master


Modification of the AFH channel map will affect slaves using a different AFH
channel map. Depending on the overlap between a slave’s current AFH
channel map and the current AFH channel map of the master, the slave may
miss some Connectionless Slave Broadcast instants and, in the case of disjoint
or nearly disjoint AFH channel maps, the slave may lose synchronization.
Slaves should monitor the Connectionless Slave Broadcast reception rate and
obtain the current AFH channel map of the master (via the synchronization
train) if degradation exceeds desired thresholds.




Appendix C: Recommendations for AFH Operation in Hold, Sniff and CSB                              06 December 2016
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    Core System Package [BR/EDR Controller volume]
                                                              Part C




                 PART C: LINK MANAGER
               PROTOCOL SPECIFICATION




                         This specification describes the Link
                         Manager Protocol (LMP) which is used
                         for link set-up and control. The signals
                         are interpreted and filtered out by the
                         Link Manager on the receiving side and
                         are not propagated to higher layers.




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Link Manager Protocol Specification


1 INTRODUCTION

The Link Manager Protocol (LMP) is used to control and negotiate all aspects
of the operation of the Bluetooth connection between two devices. This
includes the set-up and control of logical transports and logical links, and for
control of physical links.

The Link Manager Protocol is used to communicate between the Link
Managers (LM) on the two devices. All LMP messages shall apply solely to the
physical link and associated logical links and logical transports between the
sending and receiving devices.

The protocol is made up of a series of messages which shall be transferred
over the ACL-C or ASB-C logical link between two devices. LMP messages
shall be interpreted and acted-upon by the LM and shall not be directly
propagated to higher protocol layers.




                             LM             LMP          LM


                              LC                         LC


                              RF                         RF

                                        Physical layer


Figure 1.1: Link Manager Protocol signaling layer




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Link Manager Protocol Specification


2 GENERAL RULES

2.1 MESSAGE TRANSPORT
LMP messages shall be exchanged over the ACL-C logical link that is carried
on the default ACL logical transport ([Vol 2] Part B, Section 4.4) or over the
ASB-C logical link that is carried on the ASB logical transport ([Vol 2] Part B,
Section 4.6). LMP messages shall be carried on the default ACL logical
transport unless specified otherwise in Sections 4 and 5. The ACL-C and ASB-
C logical links are distinguished from the ACL-U and ASB-U logical links (which
carry L2CAP and user data) by the Logical Link Identifier (LLID) field carried in
the payload header of variable-length packets ([Vol 2] Part B, Section 6.6.2).

The control logical links have a higher priority than other traffic - see [Vol 2]
Part B, Section 5.6.

The error detection and correction capabilities of the baseband ACL logical
transport are generally sufficient for the requirements of the LMP. Therefore
LMP messages do not contain any additional error detection information
beyond what can be realized by means of sanity checks performed on the
contents of LMP messages. Any such checks and protections to overcome
undetected errors in LMP messages is an implementation matter.

2.2 SYNCHRONIZATION
This section is informative and explains why many of the LMP message
sequences are defined as they are.

LMP messages are carried on the ACL-C and ASB-C logical links, which do
not guarantee a time to deliver or acknowledge packets. LMP procedures take
account of this when synchronizing state changes in the two devices. For
example, criteria are defined that specify when a logical transport address
(LT_ADDR) may be re-used after it becomes available due to a device leaving
the piconet. Other LMP procedures, such as hold or role switch include the
Bluetooth clock as a parameter in order to define a fixed synchronization point.
The transitions into and out of sniff mode are protected with a transition mode.

The LC normally attempts to communicate with each slave no less often than
every Tpoll slots (see Section 4.1.8) based on the Tpoll for that slave.




General Rules                                                           06 December 2016
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                                    LC Master                             LC Slave

                Message From LM
                                                Message

                                  Tpoll
                       Tdeliver                 Message


                                                          Message               Message To LM
                                                                    Ack

                                                          Message
                                                                    Ack
                         Tack
                                                          Message
                                                                    Ack

                                                          Message
                Ack Available                               Ack




Figure 2.1: Transmission of a message from master to slave1


Figure 2.1 illustrates the fundamental problem. It shows the transmission of a
packet from the master to the slave in conditions of heavy interference for
illustrative purposes. It is obvious that neither side can determine the value of
either Tdeliver or Tack. It is therefore not possible to use simple messages to
identify uniquely the instant at which a state change occurs in the other device.

2.3 PACKET FORMAT
Each PDU is assigned either a 7 or a 15 bit opcode used to uniquely identify
different types of PDUs, see Table 5.1. The first 7 bits of the opcode and a
transaction ID are located in the first byte of the payload body. If the initial 7 bits
of the opcode have one of the special escape values 124-127 then an
additional byte of opcode is located in the second byte of the payload and the
combination uniquely identifies the PDU.

The FLOW bit in the packet header is always 1 and is ignored on reception.

If the PDU contains one or more parameters these are placed in the payload
starting immediately after the opcode, i.e. at byte 2 if the PDU has a 7 bit
opcode or byte 3 if the PDU has a 15 bit opcode. The number of bytes used
depends on the length of the parameters. All parameters have a little-endian
format, i.e. the least significant byte is transferred first.


1. Note the diagram shows the limiting case where the master transmits the message at inter-
   vals of Tpoll. In the case of heavy interference improved performance is gained by transmit-
   ting more often.


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Parameters may have an arrayed type with a fixed number of elements of the
same type; for example, 'u_int8 [5]' designates that the parameter is an array of
five u_int8 values. In these cases the elements of the array are transferred in
order of index. Where the element size is 1, 2, or 4 bits, the elements are
packed 8, 4, or 2 at a time into each byte with the element with the lowest index
placed in the least significant bit(s).

LMP messages shall be transmitted using DM1 packets, however if an HV1
SCO link is in use and the length of the payload is less than 9 bytes then DV
packets may be used.

    LSB                                                                        MSB
    T
    I      OpCode                                     Payload
    D
  LMP PDU with 7 bit OpCode


    LSB                                                                        MSB
   T
           Escape       Extended
   I                                                  Payload
           OpCode       OpCode
   D
  LMP PDU with 15 bit OpCode

Figure 2.2: Payload body when LMP PDUs are sent


2.4 TRANSACTIONS
The LMP operates in terms of transactions. A transaction is a connected set of
message exchanges which achieve a particular purpose. All PDUs which form
part of the same transaction shall have the same value for the transaction ID
which is stored as part of the first byte of the OpCode (see Section 2.3).

The transaction ID is in the least significant bit. It shall be 0 if the PDU forms
part of a transaction that was initiated by the master and 1 if the transaction
was initiated by the slave.

Each sequence described in Section 4 shall be defined as a transaction. For
pairing, see Section 4.2.2, and encryption, see Section 4.2.5, all sequences
belonging to each section shall be counted as one transaction and shall use
the same transaction ID. For connection establishment, see Section 4.1.1,
LMP_host_connection_req and the response with LMP_accepted or
LMP_not_accepted shall form one transaction and have the transaction ID of
0. LMP_setup_complete is a stand-alone PDU, which forms a transaction by
itself.

For error handling, see Section 2.5, the PDU to be rejected and
LMP_not_accepted or LMP_not_accepted_ext shall form a single transaction.



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2.4.1 LMP Response Timeout

The time between receiving a baseband packet carrying an LMP PDU and
sending a baseband packet carrying a valid response PDU, according to the
procedure rules in Section 4, shall be less than the LMP Response Timeout.
The value of this timeout is 30 seconds. Note that the LMP Response Timeout
is applied not only to sequences described in Section 4, but also to the series
of the sequences defined as the transactions in Section 4. It shall also be
applied to the series of LMP transactions that take place during a period when
traffic on the ACL-U logical link is disabled for the duration of the series of LMP
transactions, for example during the enabling of encryption.

The LMP Response Timeout shall restart each time an LMP PDU which
requires a reply is queued for transmission by the baseband.

LMP messages sent on the ASB-C logical link have special rules and are not
subject to the LMP Response Timeout.

2.5 ERROR HANDLING
If the LM receives a PDU with unrecognized opcode, it shall respond with
LMP_not_accepted or LMP_not_accepted_ext with the error code Unknown
LMP PDU (0x19). The opcode parameter that is echoed back is the
unrecognized opcode.

If the LM receives a PDU with invalid parameters, it shall respond with
LMP_not_accepted or LMP_not_accepted_ext with the error code Invalid LMP
Parameters (0x1E).

If the maximum response time (see Section 2.4.1) is exceeded or if a link loss
is detected (see [Vol 2] Part B, Section 3.1), the party that waits for the
response shall conclude that the procedure has terminated unsuccessfully.

Erroneous LMP messages can be caused by errors on the channel or
systematic errors at the transmit side. To detect the latter case, the LM should
monitor the number of erroneous messages and disconnect if it exceeds a
threshold, which is implementation-dependent.

When the LM receives a PDU that is not allowed, and the PDU normally
expects a PDU reply, for example LMP_host_connection_req or LMP_unit_key,
the LM shall return PDU LMP_not_accepted or LMP_not_accepted_ext with
the error code LMP PDU Not Allowed (0x24). If the PDU normally doesn’t
expect a reply, for example LMP_sres or LMP_temp_key, the PDU will be
ignored.

The reception of an optional PDU which is not supported shall be handled in
one of two ways: if the LM simply does not know the opcode (e.g. it was added
at a later version of the specification) it shall respond with LMP_not_accepted
or LMP_not_accepted_ext with the error code Unknown LMP PDU (0x19). If


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the LM recognizes the PDU as optional but unsupported then it shall reply with
LMP_not_accepted or LMP_not_accepted_ext with the error code
Unsupported LMP Feature (0x1A) if the PDU would normally generate a reply
otherwise no reply is generated.

2.5.1 Transaction Collision Resolution

Since LMP PDUs are not interpreted in real time, collision situations can occur
where both LMs initiate the same procedure and both cannot be completed. In
this situation, the master shall reject the slave-initiated procedure by sending
LMP_not_accepted or LMP_not_accepted_ext with the error code LMP Error
Transaction Collision / LL Procedure Collision (0x23). The master-initiated
procedure shall then be completed.

Collision situations can also occur where both LMs initiate different procedures
and both cannot be completed. In this situation, the master shall reject the
slave-initiated procedure by sending LMP_not_accepted or
LMP_not_accepted_ext with the error code Different Transaction Collision
(0x2A). The master-initiated procedure shall then be completed.

2.6 PROCEDURE RULES
Each procedure is described and depicted with a sequence diagram. The
following symbols are used in the sequence diagrams:



                                 A                    B


                                          PDU1


                                          PDU2


                                          PDU3


                                          PDU4


                                          PDU5



Figure 2.3: Symbols used in sequence diagrams


PDU1 is a PDU sent from A to B. PDU2 is a PDU sent from B to A. PDU3 is a
PDU that is optionally sent from A to B. PDU4 is a PDU that is optionally sent
from B to A. PDU5 is a PDU sent from either A or B. A vertical line indicates
that more PDUs can optionally be sent.

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2.7 GENERAL RESPONSE MESSAGES
The PDUs LMP_accepted, LMP_accepted_ext, LMP_not_accepted and
LMP_not_accepted_ext are used as response messages to other PDUs in a
number of different procedures. LMP_accepted or LMP_accepted_ext includes
the opcode of the message which is accepted. LMP_not_accepted or
LMP_not_accepted_ext includes the opcode of the message which is not
accepted and the error code why it is not accepted.

LMP_accepted_ext and LMP_not_accepted_ext shall be used when the
opcode is 15 bits in length. LMP_accepted and LMP_not_accepted shall be
used when the opcode is 7 bits in length.

 M/O       PDU                        Contents

 M         LMP_accepted               op code

 M         LMP_not_accepted           op code
                                      error code

 O         LMP_accepted_ext           escape op code
                                      extended op code

 O         LMP_not_accepted_ext       escape op code
                                      extended op code
                                      error code
Table 2.1: General response messages.


2.8 LMP MESSAGE CONSTRAINTS
This section is informative.
• No LMP message shall exceed the maximum payload length of a single
  DM1 packet i.e. 17 bytes in length ([Vol 2] Part B, Section 6.5.4.1).
• All LM messages are of fixed length.
• The LMP version number shall not be used to indicate the presence or
  absence of functionality.




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3 DEVICE FEATURES

3.1 GENERAL DESCRIPTION
Each PDU is either Mandatory or Optional as defined by the M/O field in the
tables of Section 4. An M in this field shall indicate that support for the PDU is
mandatory. An O in this field shall indicate that support for the PDU is optional
and it shall be followed by the number(s) of the feature(s) involved in brackets.

All features added after the 1.1 specification have associated LMP feature bits.
Support of these features may be made “mandatory” by the qualification
process but the LM still considers them to be optional since it must interoperate
with older devices which do not support them.

The LM does not need to be able to transmit a PDU which is optional. Support
of optional PDUs is indicated by a device's features mask. The features mask
can be read (see Section 4.3.4). An LM shall not send or be sent any PDU
which is incompatible with the features signaled in its or its peer's features
mask, as detailed in Section 3.2.

The set of features supported by the LM shall not change while the Controller
has a connection to another device. A peer device may cache the device's
feature mask or extended feature mask, or the LM may cache a peer's feature
mask or extended feature mask, during a connection.




Device Features                                                       06 December 2016
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3.2 FEATURE DEFINITIONS

 Feature                Definition

 Extended features      This feature indicates whether the device is able to support the
                        extended features mask using the LMP sequences defined in Sec-
                        tion 4.3.4.
 Timing accuracy        This feature indicates whether the LM supports requests for timing
                        accuracy using the sequence defined in Section 4.3.1.

 Enhanced inquiry       This feature indicates whether the device is capable of supporting
 scan                   the enhanced inquiry scan mechanism as defined in [Vol 2] Part B,
                        Section 8.4.1. The presence of this feature has only local meaning
                        and does not imply support for any additional LMP PDUs or
                        sequences.

 Interlaced inquiry     This feature indicates whether the device is capable of supporting
 scan                   the interlaced inquiry scan mechanism as defined in [Vol 2] Part B,
                        Section 8.4.1. The presence of this feature has only local meaning
                        and does not imply support for any additional LMP PDUs or
                        sequences.

 Interlaced page        This feature indicates whether the device is capable of supporting
 scan                   the interlaced page scan mechanism as defined in [Vol 2] Part B,
                        Section 8.3.1. The presence of this feature has only local meaning
                        and does not imply support for any additional LMP PDUs or
                        sequences.

 RSSI with inquiry      This feature bit shall be set if the "Extended Inquiry Response" fea-
 results                ture bit is set. This feature indicates whether the device is capable of
                        reporting the RSSI with inquiry results as defined in [Vol 2] Part B,
                        Section 8.4.2. The presence of this feature has only local meaning
                        and does not imply support for any additional LMP PDUs or
                        sequences.
 Extended Inquiry       This feature indicates whether the device supports extended inquiry
 Response               response as defined in the Baseband specification. If this bit is set,
                        the "RSSI with inquiry results" feature bit shall also be set.

 Paging parameter        This feature indicates whether the LM is capable of supporting the
 negotiation            signaling of changes in the paging scheme as defined in Section
                        4.1.9.
 3 slot packets         This feature indicates whether the device supports the transmission
                        and reception of both DM3 and DH3 packets for the transport of traf-
                        fic on the ACL-U logical link.
 5 slot packets         This feature indicates whether the device supports the transmission
                        and reception of both DM5 and DH5 packets for the transport of traf-
                        fic on the ACL-U logical link.

 Flow control lag       This is defined as the total amount of ACL-U data that can be sent
                        following the receipt of a valid payload header with the payload
                        header flow bit set to 0 and is in units of 256 bytes. See further in [Vol
                        2] Part B, Section 6.6.2.

Table 3.1: Feature Definitions (Sheet 1 of 7)




Device Features                                                                    06 December 2016
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 Feature                Definition

 AFH capable slave      This feature indicates whether the device is able to support the Adap-
                        tive Frequency Hopping mechanism as a slave as defined in [Vol 2]
                        Part B, Section 2.3 using the LMP sequences defined in Section
                        4.1.4.
 AFH classification     This feature indicates whether the device is able to support the AFH
 slave                  classification mechanism as a slave as defined in [Vol 2] Part B, Sec-
                        tion 8.6.8 using the LMP sequences defined Section 4.1.5.
 AFH capable mas-       This indicates whether the device is able to support the Adaptive Fre-
 ter                    quency Hopping mechanism as a master as defined in [Vol 2] Part B,
                        Section 2.3 using the LMP sequences defined in Section 4.1.4.

 AFH classification     This feature indicate whether the device is able to support the AFH
 master                 classification mechanism as a master as defined in [Vol 2] Part B,
                        Section 8.6.8 using the LMP sequences defined Section 4.1.5.
 Power control          This feature indicates whether the device is capable of adjusting its
                        transmission power. This feature indicates the ability to receive the
                        LMP_incr_power and LMP_decr_power PDUs and transmit the
                        LMP_max_power and LMP_min_power PDUs, using the sequences
                        defined in Section 4.1.3. These sequences may be used even if the
                        remote device does not support the power control feature, as long as
                        it supports the Power control requests feature.

 Power control          This feature indicates whether the device is capable of determining if
 requests               the transmit power level of the other device should be adjusted and
                        will send the LMP_incr_power and LMP_decr_power PDUs to
                        request the adjustments. It indicates the ability to receive the LMP_-
                        max_power and LMP_min_power PDUs, using the sequences in
                        Section 4.1.3. These sequences may be used even if the remote
                        device does not support the RSSI feature, as long as it supports the
                        power control feature.

 Enhanced power         This feature indicates whether the device is able to support
 control                enhanced power control using the LMP sequences as defined in
                        Section 4.1.3.1.
                        This feature bit shall only be set if the "power control" feature bit (bit
                        18) is set and if the "power control requests" feature bit (bit 9) is set.
 Channel Quality        This feature indicates whether the LM is capable of recommending a
 Driven Data Rate       packet type (or types) depending on the channel quality using the
                        LMP sequences defined in Section 4.1.7.

 Broadcast              This feature indicates whether the device is capable of supporting
 encryption             broadcast encryption as defined in [Vol 2] Part H, Section 4.2 and
                        also the sequences defined in Section 4.2.6 and Section 4.2.4.
                        Note: Devices compliant to versions of this specification 1.1 and ear-
                        lier may support broadcast encryption even though this feature bit is
                        not set.
                        This feature bit shall not be set if the "coarse clock adjustment"
                        feature bit (bit 134) is set.

Table 3.1: Feature Definitions (Sheet 2 of 7)




Device Features                                                                     06 December 2016
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 Feature                Definition

 Encryption             This feature shall be supported. This feature indicates whether the
                        device supports the encryption of packet contents using the
                        sequence defined in Section 4.2.5.
 Pause Encryption       When this feature bit is enabled on both sides, then the encryption
                        pause/resume sequences shall be used. If either side does not sup-
                        port the Pause Encryption feature bit, then the encryption pause/
                        resume sequences shall not be used.
                        This feature bit shall be set if the “Secure Connections (Controller
                        Support)” feature bit is set.
 Slot offset            This feature indicates whether the LM supports the transfer of the
                        slot offset using the sequence defined in Section 4.4.1.

 Role switch            This feature indicates whether the device supports the change of
                        master and slave roles as defined by [Vol 2] Part B, Section 8.6.5
                        using the sequence defined in Section 4.4.2.

 Hold mode              This feature indicates whether the device is able to support Hold
                        mode as defined in [Vol 2] Part B, Section 8.8 using the LMP
                        sequences defined in Section 4.5.1.
 Sniff mode             This feature indicates whether the device is able to support sniff
                        mode as defined in [Vol 2] Part B, Section 8.7 using the LMP
                        sequences defined in Section 4.5.3.

 Sniff subrating        This feature indicates whether the device is able to support sniff sub-
                        rating as defined in [Vol 2] Part B, Section 8.7.2 using the LMP
                        sequences as defined in Section 4.5.3.3.This feature bit shall be set
                        if the "Sniff mode" feature bit is set.

 SCO link               This feature shall indicate whether the device is able to support the
                        SCO logical transport as defined in [Vol 2] Part B, Section 4.3, the
                        HV1 packet defined in [Vol 2] Part B, Section 6.5.2.1 and receiving
                        the DV packet defined in [Vol 2] Part B, Section 6.5.2.4 using the
                        LMP sequence in Section 4.6.1.
 HV2 packets            This feature indicates whether the device is capable of supporting
                        the HV2 packet type as defined in baseband Section 6.5.2.2 on the
                        SCO logical transport.

 HV3 packets            This feature indicates whether the device is capable of supporting
                        the HV3 packet type as defined in baseband Section 6.5.2.3 on the
                        SCO logical transport.
 μ-law log synchro-     This feature indicates whether the device is capable of supporting µ-
 nous data              Law Log format data as defined in [Vol 2] Part B, Section 9.1 on the
                        SCO and eSCO logical transports.
 A-law log synchro-     This feature indicates whether the device is capable of supporting A-
 nous data              Law Log format data as defined in [Vol 2] Part B, Section 9.1 on the
                        SCO and eSCO logical transports.

Table 3.1: Feature Definitions (Sheet 3 of 7)




Device Features                                                                  06 December 2016
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 Feature                Definition

 CVSD synchro-          This feature indicates whether the device is capable of supporting
 nous data              CVSD format data as defined in [Vol 2] Part B, Section 9.2 on the
                        SCO and eSCO logical transports.


 Transparent            This feature indicates whether the device is capable of supporting
 synchronous data       transparent synchronous data as defined in [Vol 2] Part B, Section
                        6.4.3 on the SCO and eSCO logical transports.
 Extended SCO link      This feature indicates whether the device is able to support the
                        eSCO logical transport as defined [Vol 2] Part B, Section 5.5 and the
                        EV3 packet defined in [Vol 2] Part B, Section 6.5.3.1 using the LMP
                        sequences defined in Section 4.6.2.
 EV4 packets            This feature indicates whether the device is capable of supporting
                        the EV4 packet type defined in [Vol 2] Part B, Section 6.5.3.2 on the
                        eSCO logical transport.

 EV5 packets            This feature indicates whether the device is capable of supporting
                        the EV5 packet type defined in [Vol 2] Part B, Section 6.5.3.3 on the
                        eSCO logical transport.
 Enhanced Data          This feature indicates whether the device supports the transmission
 Rate ACL               and reception of 2-DH1 packets for the transport of traffic on the
 2 Mb/s mode            ACL-U logical link.

 Enhanced Data          This feature indicates whether the device supports the transmission
 Rate ACL               and reception of 3-DH1 packets for the transport of traffic on the
 3 Mb/s mode            ACL-U logical link.
                        This feature bit shall only be set if the “Enhanced Data Rate ACL 2
                        Mb/s mode” feature bit is set.

 3-slot Enhanced        This feature indicates whether the device supports the transmission
 Data Rate ACL          and reception of three-slot Enhanced Data Rate packets on the ACL-
 packets                U logical link.
                        This feature bit shall only be set if the “Enhanced Data Rate ACL 2
                        Mb/s mode” feature bit is set.

 5-slot Enhanced        This feature indicates whether the device supports the transmission
 Data Rate ACL          and reception of 5-slot Enhanced Data Rate packets for the transport
 packets                of traffic on the ACL-U logical link.
                        This feature bit shall only be set if the “Enhanced Data Rate ACL 2
                        Mb/s mode” feature bit is set.

 Enhanced Data          This feature indicates whether the device supports the transmission
 Rate eSCO              and reception of 2-EV3 packets for the transport of traffic on the
 2 Mb/s mode            eSCO logical transport.
 Enhanced Data          This feature indicates whether the device supports the transmission
 Rate eSCO              and reception of 3-EV3 packets for the transport of traffic on the
 3 Mb/s mode            eSCO logical transport.
                        This feature bit shall only be set if the “Enhanced Data Rate eSCO 2
                        Mb/s mode” feature bit is set.

Table 3.1: Feature Definitions (Sheet 4 of 7)



Device Features                                                                 06 December 2016
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 Feature                Definition

 3-slot Enhanced        This feature indicates whether the device supports the transmission
 Data Rate eSCO         and reception of 3-slot Enhanced Data Rate packets for the transport
 packets                of traffic on the eSCO logical transport.
                        This feature bit shall only be set if the “Enhanced Data Rate eSCO 2
                        Mb/s mode” feature bit is set.

 Erroneous Data         This feature indicates whether the device is able to support the Pack-
 Reporting              et_Status_Flag and the HCI commands "Write Default Erroneous
                        Data Reporting" and "Read Default Erroneous Data Reporting".
                        This feature bit may be set if at least one of the "SCO link" or
                        "Extended SCO link" feature bits are set.

 Link Supervision       This feature bit indicates whether the device supports the sending
 Timeout Changed        the HCI Link Supervision Timeout Changed Event to the Host.
 Event
 Non-flushable          This feature indicates that the device supports the capability to cor-
 Packet Boundary        rectly handle HCI ACL Data Packets with a Packet_Boundary_Flag
 Flag                   value of 00 (Non-Automatically-Flushable packet).

 Secure Simple Pair-    This feature indicates whether the Link Manager is capable of sup-
 ing (Controller Sup-   porting the Secure Simple Pairing, Section 4.2.7.
 port)
 Secure Simple Pair-    This feature indicates whether the Host is capable of supporting
 ing (Host Support)     Secure Simple Pairing Section 4.2.7.
                        If HCI is supported, this bit shall be set if Write Simple Pairing Mode
                        has been issued to enable the Secure Simple Pairing feature. When
                        HCI is not supported, this bit may be set using a vendor specific
                        mechanism,
                        This bit shall only be set if the Secure Simple Pairing (Controller Sup-
                        port) bit is set.

 Encapsulated PDU       This feature indicates whether the device is capable of supporting
                        the Encapsulated PDU mechanism as defined in Section 4.1.12.1.
                        This feature shall be set if Secure Simple Pairing is supported.

 Variable Inquiry TX    This feature indicates whether the device is capable of setting the TX
 Power Level            power level for Inquiry.
 BR/EDR Not Sup-        This feature indicates whether the device does not support BR/EDR.
 ported                 If this feature bit is set, then all other LMP feature bits shall be set to
                        zero except the LE Supported (Controller) feature bit that shall be set
                        to one.
 LE Supported (Con-     This feature indicates whether the Controller supports LE.
 troller)               The local Host uses this feature bit to determine whether the Control-
                        ler supports LE.
                        A remote device does not use this feature bit.

Table 3.1: Feature Definitions (Sheet 5 of 7)




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 Feature                Definition

 Simultaneous LE        This feature indicates that the Controller supports simultaneous LE
 and BR/EDR to          and BR/EDR links to the same remote device.
 Same Device Capa-      This bit shall only be set if the LE Supported (Controller) bit is set.
 ble (Controller)
                        The local Host uses this feature bit to determine whether the Control-
                        ler is capable of supporting simultaneous LE and BR/EDR connec-
                        tions to a remote device.
                        A remote device does not use this feature bit.
 LE Supported           This feature indicates that the Host supports LE.
 (Host)                 This bit shall only be set if the LE Supported (Controller) bit is set on
                        the local Controller.
                        The local Host sets this feature bit to indicate to a remote device that
                        the local device is capable of supporting LE.
                        A remote Host uses this feature bit to determine whether an LE con-
                        nection to the peer device is possible.

 Simultaneous LE        This feature indicates that the Host supports simultaneous LE and
 and BR/EDR to          BR/EDR links to the same remote device.
 Same Device Capa-      The local Host shall set this feature bit to zero.
 ble (Host)
                        A remote Host shall ignore this feature bit.
 Connectionless         This feature indicates whether the device supports Connectionless
 Slave Broadcast -      Slave Broadcast as master.
 Master Operation

 Connectionless         This feature indicates whether the device supports Connectionless
 Slave Broadcast -      Slave Broadcast as slave.
 Slave Operation
 Synchronization        This feature indicates whether the device supports Synchronization
 Train                  Train as master.
 Synchronization        This feature indicates whether the device supports Synchronization
 Scan                   Scan as slave.

 Inquiry Response       This feature bit indicates whether the device supports sending the
 Notification Event     HCI Inquiry Response Notification Event to the Host.
 Secure                 This feature indicates whether the Controller is able to support AES-
 Connections            CCM, the P-256 Elliptic Curve for Secure Simple Pairing, and
 (Controller Support)   enhanced authentication using the LMP sequences as defined in
                        Section 4.2.7.
                        This feature bit shall only be set if the “Secure Simple Pairing (Con-
                        troller Support)” feature bit is set.

Table 3.1: Feature Definitions (Sheet 6 of 7)




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 Feature                Definition

 Secure                 This feature indicates whether the Host is capable of supporting
 Connections            Secure Connections.
 (Host Support)         If HCI is supported, this bit shall be set if the Write Secure Connec-
                        tions Host Support command has been issued by the Host. When
                        HCI is not supported, this bit may be set using a vendor specific
                        mechanism.
                        This bit shall only be set if the Secure Connections (Controller Sup-
                        port) bit is set and the Secure Simple Pairing (Host Support) bit is
                        set.

 Ping                   This feature indicates whether the device supports the transmission
                        and reception of ping messages.
                        This feature bit shall be set if the “Secure Connections (Controller
                        Support) feature bit is set.
 Train nudging          This feature indicates whether the device is able to support the train
                        nudging mechanism described in [Vol 2] Part B, Section 8.3.2 and
                        Section 8.4.2.
                        The presence of this feature has only local meaning and does not
                        imply support for any additional LMP PDUs or sequences.

 Generalized            This feature indicates whether the device is able to support the gen-
 interlaced scan        eralized interlaced scan mechanism described in [Vol 2] Part B, Sec-
                        tion 8.3.1 and Section 8.4.1.
                        The presence of this feature has only local meaning and does not
                        imply support for any additional LMP PDUs or sequences.

 Coarse Clock           This feature indicates whether the device is able to support coarse
 Adjustment             clock adjustments using the LMP sequences as defined in Section
                        4.1.14.
                        This feature bit shall only be set if the “AFH capable master” (bit 43)
                        and “AFH capable slave” (bit 35) feature bits are set.

 Slot Availability      This feature indicates whether the device is able to support Slot
 Mask                   Availability Mask using the LMP sequences as defined in Section
                        4.1.15.
Table 3.1: Feature Definitions (Sheet 7 of 7)


3.3 FEATURE MASK DEFINITION
The features are represented as a bit mask when they are transferred in LMP
messages. For each feature a single bit is specified which shall be set to 1 if
the feature is supported and set to 0 otherwise. The single exception is the flow
control lag which is coded as a 3 bit field with the least significant bit in byte 2
bit 4 and the most significant bit in byte 2 bit 6. All removed, unknown, or
unassigned feature bits are reserved for future use.




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 No.          Supported feature                           Byte           Bit

 0            3 slot packets                                0             0
 1            5 slot packets                                0             1
 2            Encryption                                    0             2

 3            Slot offset                                   0             3
 4            Timing accuracy                               0             4
 5            Role switch                                   0             5

 6            Hold mode                                     0             6
 7            Sniff mode                                    0             7
 8            Reserved                                      1             0

 9            Power control requests                        1             1
 10           Channel quality driven data rate (CQDDR)      1             2

 11           SCO link                                      1             3
 12           HV2 packets                                   1             4
 13           HV3 packets                                   1             5

 14           μ-law log synchronous data                    1             6
 15           A-law log synchronous data                    1             7
 16           CVSD synchronous data                         2             0

 17           Paging parameter negotiation                  2             1
 18           Power control                                 2             2
 19           Transparent synchronous data                  2             3

 20           Flow control lag (least significant bit)      2             4
 21           Flow control lag (middle bit)                 2             5
 22           Flow control lag (most significant bit)       2             6

 23           Broadcast Encryption                          2             7
 24           Reserved for future use                       3             0
 25           Enhanced Data Rate ACL 2 Mb/s mode            3             1

 26           Enhanced Data Rate ACL 3 Mb/s mode            3             2
 27           Enhanced inquiry scan                         3             3
 28           Interlaced inquiry scan                       3             4

 29           Interlaced page scan                          3             5
 30           RSSI with inquiry results                     3             6
 31           Extended SCO link (EV3 packets)               3             7

Table 3.2: Feature mask definitions (page 0)

Device Features                                                 06 December 2016
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 No.          Supported feature                                    Byte           Bit

 32           EV4 packets                                            4             0
 33           EV5 packets                                            4             1
 34           Reserved for future use                                4             2

 35           AFH capable slave                                      4             3
 36           AFH classification slave                               4             4
 37           BR/EDR Not Supported                                   4             5

 38           LE Supported (Controller)                              4             6
 39           3-slot Enhanced Data Rate ACL packets                  4             7
 40           5-slot Enhanced Data Rate ACL packets                  5             0

 41           Sniff subrating                                        5             1
 42           Pause encryption                                       5             2

 43           AFH capable master                                     5             3
 44           AFH classification master                              5             4
 45           Enhanced Data Rate eSCO 2 Mb/s mode                    5             5

 46           Enhanced Data Rate eSCO 3 Mb/s mode                    5             6
 47           3-slot Enhanced Data Rate eSCO packets                 5             7
 48           Extended Inquiry Response                              6             0

 49           Simultaneous LE and BR/EDR to Same Device Capable      6             1
              (Controller)
 50           Reserved for future use                                6             2
 51           Secure Simple Pairing                                  6             3

 52           Encapsulated PDU                                       6             4
 53           Erroneous Data Reporting                               6             5
 54           Non-flushable Packet Boundary Flag                     6             6

 55           Reserved for future use                                6             7
 56           Link Supervision Timeout Changed Event                 7             0
 57           Inquiry TX Power Level                                 7             1

 58           Enhanced Power Control                                 7             2
 59           Reserved for future use                                7             3
 60           Reserved for future use                                7             4

 61           Reserved for future use                                7             5
 62           Reserved for future use                                7             6
Table 3.2: Feature mask definitions (page 0)


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 No.          Supported feature                                   Byte           Bit

 63           Extended features                                     7             7
Table 3.2: Feature mask definitions (page 0)


 No.         Supported Feature                                    Byte          Bit

 64          Secure Simple Pairing (Host Support)                   0             0
 65          LE Supported (Host)                                    0             1
 66          Simultaneous LE and BR/EDR to Same Device Capable      0             2
             (Host)

 67          Secure Connections (Host Support)                      0             3
Table 3.3: Extended feature mask definition (page 1)


 No.         Supported Feature                                    Byte          Bit

 128         Connectionless Slave Broadcast – Master Operation      0             0
 129         Connectionless Slave Broadcast – Slave Operation       0             1

 130         Synchronization Train                                  0             2
 131         Synchronization Scan                                   0             3
 132         Inquiry Response Notification Event                    0             4

 133         Generalized interlaced scan                            0             5
 134         Coarse Clock Adjustment                                0             6
 135         Reserved for future use                                0             7

 136         Secure Connections (Controller Support)                1             0
 137         Ping                                                   1             1
 138         Reserved for future use                                1             2

 139         Train nudging                                          1             3
 138         Slot Availability Mask                                 1             2
Table 3.4: Extended feature mask definition (page 2)


3.4 LINK MANAGER INTEROPERABILITY POLICY
Link managers of any version shall interpret using the lowest common subset
of functionality by reading the LMP features mask (defined in Table 3.2).

An optional LMP PDU shall only be sent to a device if the corresponding
feature bit is set in its feature mask. The exception to this are certain PDUs
(see Section 4.1.1) which can be sent before the features mask is requested.
Note: A later version device with a restricted feature set is indistinguishable
from an earlier version device with the same features.


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4 PROCEDURE RULES

4.1 CONNECTION CONTROL

4.1.1 Connection Establishment

After the paging procedure, LMP procedures for clock offset request, LMP
version, supported features, name request and detach may then be initiated.



            Paging                    Paged
            device                    device


                                               Baseband page procedure
                                               LMP procedures for clock offset
                                               request, LMP version, supported
                                               features, name request and/or detach

                                               LMP_host_connection_req
                                               LMP_accepted or LMP_not_accepted

                                               LMP procedures for pairing,
                                               authentication and encryption

                                               LMP_setup_complete
                                               LMP_setup_complete



Figure 4.1: Connection establishment


When the paging device wishes to create a connection involving layers above
LM, it sends an LMP_host_connection_req PDU. When the other side receives
this message, the Host is informed about the incoming connection. The remote
device can accept or reject the connection request by sending an
LMP_accepted PDU or an LMP_not_accepted PDU. Alternatively, if the slave
needs a role switch, see Section 4.4.2, it sends an LMP_slot_offset PDU and
LMP_switch_req PDU after it has received an LMP_host_connection_req
PDU. If the role switch fails the LM shall continue with the creation of the
connection unless this cannot be supported due to limited resources in which
case the connection shall be terminated with an LMP_detach PDU with error
code Remote Device Terminated Connection due to Low Resources (0x14).
When the role switch has been successfully completed, the old slave will reply
with an LMP_accepted PDU or an LMP_not_accepted PDU to the
LMP_host_connection_req PDU (with the transaction ID set to 0).

If the paging device receives an LMP_not_accepted PDU in response to
LMP_host_connection_req it shall immediately disconnect the link using the
mechanism described in Section 4.1.2.

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If the LMP_host_connection_req PDU is accepted, LMP security procedures
(pairing, authentication and encryption) may be invoked. When a device is not
going to initiate any more security procedures during connection establishment
it sends an LMP_setup_complete PDU. When both devices have sent
LMP_setup_complete PDUs the traffic can be transferred on the BR/EDR ACL
logical transport.

 M/O        PDU                                       Contents

 M          LMP_host_connection_req                   -

 M          LMP_setup_complete                        -
Table 4.1: Connection establishment PDU


4.1.2 Detach

The connection between two Bluetooth devices may be detached anytime by
the master or the slave. An error code parameter is included in the message to
inform the other party of why the connection is detached.

 M/O        PDU                  Contents

 M          LMP_detach           error code

Table 4.2: Detach PDU

The initiating LM shall pause traffic on the ACL-U logical link (see [Vol 2] Part
B, Section 5.3.1). The initiating LM then queues the LMP_detach for
transmission and it shall start a timer for 6*Tpoll slots where Tpoll is the poll
interval for the connection. If the initiating LM receives the baseband
acknowledgment before the timer expires it starts a timer for 3*Tpoll slots. When
this timer expires, and if the initiating LM is the master, the LT_ADDR(s) may
be re-used immediately. If the initial timer expires then the initiating LM drops
the link and starts a timer for Tlinksupervisiontimeout slots after which the
LT_ADDR(s) may be re-used if the initiating LM is the master.

When the receiving LM receives the LMP_detach, it shall start a timer for
6*Tpoll slots if it is the master and 3*Tpoll if it is the slave. On timer expiration,
the link shall be detached and, if the receiving LM is the master, the
LT_ADDR(s) may be re-used immediately. If the receiver never receives the
LMP_detach then a link supervision timeout will occur, the link will be
detached, and the LT_ADDR may be re-used immediately.

If at any time during this or any other LMP sequence the Link supervision
timeout expires then the link shall be terminated immediately and the
LT_ADDR(S) may be re-used immediately.

If the connection is in hold mode, the initiating LM shall wait for hold mode to
end before initiating the procedure defined above. If the connection is in sniff
mode, the initiating LM shall perform the procedure to exit sniff mode before

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initiating the procedure defined above. If the procedure to exit sniff mode does
not complete within the LMP response timeout (30 seconds) the procedure
defined above shall be initiated anyway.



           Initiating
                                      LM
              LM


                                              LMP_detach



Sequence 1: Connection closed by sending LMP_detach


4.1.3 Power Control

If the received signal characteristics differ too much from the preferred value of
a Bluetooth device, it may request an increase or a decrease of the other
device’s transmit power level. A device's transmit power level is a property of
the physical link, and affects all logical transports carried over the physical link.
Power control requests carried over the default ACL-C logical link shall only
affect the physical link associated with the requesting device’s default ACL-C
logical link; they shall not affect the power level used on the physical links to
other slaves.

Two power control mechanisms are specified: legacy power control (see Table
4.3) and enhanced power control (see Table 4.4 and Section 4.1.3.1). A device
that supports enhanced power control shall also support legacy power control.

 M/O      PDU                         Contents

 O(9)     LMP_incr_power_req          for future use (1 Byte)

 O(9)     LMP_decr_power_req          for future use (1 Byte)
 O(18)    LMP_max_power               -
 O(18)    LMP_min_power               -

Table 4.3: Legacy Power control PDU


 M/O       PDU                                   Contents

 O(58)     LMP_power_control_req                 power_adjustment_request

 O(58)     LMP_power_control_res                 power_adjustment_response
Table 4.4: Enhanced Power control PDU

The power adjustment requests may be made at any time using the legacy
power control mechanism following a successful baseband paging procedure
and before the Link Manager supported features responses have been
processed. After the Link Manager supported features responses have been


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processed, if both devices support enhanced power control (see Section
4.1.3.1) then only enhanced power control shall be used. Otherwise, if either
device supports only the legacy power control mechanism then only legacy
power control shall be used.

If a device does not support power control requests this is indicated in the
supported features list and thus no power control requests shall be sent after
the supported features response has been processed. Prior to this time, a
power control adjustment might be sent and if the recipient does not support
power control it is allowed to send LMP_max_power in response to
LMP_incr_power_req and LMP_min_power in response to
LMP_decr_power_req. Another possibility is to send LMP_not_accepted with
the error code Unsupported LMP Feature (0x1A).

Upon receipt of an LMP_incr_power_req PDU or LMP_decr_power_req PDU
the output power shall be increased or decreased one step. See [Vol 2] Part A,
Section 3 for the definition of the step size.


            Initiating
                                      LM
               LM


                                               LMP_incr_power_req
                                               or
                                               LMP_decr_power_req



Sequence 2: A device requests a change of the other device’s TX power


If the receiver of LMP_incr_power_req is at maximum power LMP_max_power
shall be returned. The device shall only request an increase again after having
requested a decrease at least once. If the receiver of LMP_decr_power_req is
at minimum power then LMP_min_power shall be returned and the device shall
only request a decrease after having requested an increase at least once.



           Initiating
                                      LM
              LM


                                               LMP_incr_power_req
                                               LMP_max_power


Sequence 3: The TX power cannot be increased




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           Initiating
                                      LM
              LM


                                           LMP_decr_power_req

                                           LMP_min_power


Sequence 4: The TX power cannot be decreased


One byte in LMP_incr/decr_power_req is reserved for future use.

4.1.3.1 Enhanced Power Control

Enhanced power control shall only be used when both devices support the
enhanced power control LMP feature. Legacy power control shall not be used
when both devices support the enhanced power control LMP feature.

4.1.3.1.1 Sending Enhanced Power Control Requests

To adjust the remote device's output power, a device shall send the
LMP_power_control_req PDU with the power_adjustment_request parameter.

The power_adjustment_request parameter may be set to: one step up, one
step down, or all the way to the max power level. The remote device shall
respond with an LMP_power_control_res PDU. The responder shall transmit
the LMP_power_control_res PDU at the new power level. Upon reception of
the LMP_power_control_res PDU, the initiating device should restart any
processes used to determine whether additional power level changes are
required.

If the receiver of the LMP_power_control_req PDU has indicated that the
output power levels for all of the supported modulation modes are at maximum
the requesting device shall only request an increase again after having
requested a decrease at least once. If the receiver of the
LMP_power_control_req PDU has indicated that the output power levels for all
of the supported modulation modes are at minimum the requesting device shall
only request a decrease after having requested an increase at least once.

A new LMP_power_control_req PDU shall not be sent until an
LMP_power_control_res PDU has been received.

4.1.3.1.2 Responding to Enhanced Power Control Requests

When a device receives an LMP_power_control_req PDU with the
power_control_adjust parameter set to "increment one step," all supported
modulations that are not at the maximum level shall be increased one step.


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When a device receives an LMP_power_control_req PDU with the
power_control_adjust parameter set to "decrement one step", all supported
modulations that are not at the minimum level shall be decreased one step.

 Implementations shall not violate the relative power level between modulations
(see [Vol 2] Part A, Section 3).

When a device receives an LMP_power_control_req PDU with the
power_control_adjust parameter set to "increment power to maximum value",
each supported modulation mode shall be set to its maximum power level.

Note: See [Vol 2] Part A, Section 3 for requirements on the relative power
levels of different modulation modes.

The responding LM shall send the LMP_power_control_res PDU to indicate
the status for every modulation. The power_adjustment_response parameter
has three 2-bit fields indicating the status for each modulation mode: GFSK,
DQPSK and 8DPSK. Each 2-bit field shall be set to one of the following values:
not supported, changed one step, max power, or min power. The changed one
step value shall only be used when the power level for that modulation mode
has not reached the minimum or maximum level.

The not supported value shall be used for each unsupported modulation type.

The responder shall transmit the LMP_power_control_res PDU at the new
transmit power level and shall not change its power level until requested by the
remote device by a subsequent LMP_power_control_req PDU.



           Initiating
                                      LM
              LM


                                               LMP_power_control_req
                                               LMP_power_control_res


Sequence 5: A device responds to a power control request


4.1.4 Adaptive Frequency Hopping

AFH is used to improve the performance of physical links in the presence of
interference as well as reducing the interference caused by physical links on
other devices in the ISM band. AFH shall only be used during the connection
state.

The LMP_set_AFH PDU contains three parameters: AFH_Instant, AFH_Mode,
and AFH_Channel_Map. The parameter, AFH_Instant, specifies the instant at
which the hopset switch shall become effective. This is specified as a Bluetooth
Clock value of the master’s clock, that is available to both devices. The AFH


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 M/O              PDU                           Contents

 O(35) Rx         LMP_set_AFH                   AFH_Instant,
 O(43) Tx                                       AFH_Mode,
                                                AFH_Channel_Map
Table 4.5: AFH PDU

instant is chosen by the master and shall be an even value at least 6*Tpoll or 96
slots (whichever is greater) in the future. The AFH_instant shall be within 12
hours of the current clock value. The parameter AFH_Mode, specifies whether
AFH shall be enabled or disabled. The parameter AFH_Channel_Map,
specifies the set of channels that shall be used if AFH is enabled.

When the LMP_set_AFH PDU is received the AFH instant shall be compared
with the current Bluetooth clock value. If it is in the past then the AFH_instant
has passed and the slave shall immediately configure the hop selection kernel
(see [Vol 2] Part B, Section 2.6.3) with the new AFH_mode and
AFH_channel_map specified in the LMP_set_AFH PDU. If it is in the future
then a timer shall be started to expire at the AFH instant. When this timer
expires it shall configure the hop selection kernel with the new AFH_mode and
AFH_channel_map.

The master shall not send a new LMP_set_AFH PDU to a slave until it has
received the baseband acknowledgment for any previous LMP_set_AFH
addressed to that slave and the instant has passed.

Role switch while AFH is enabled shall follow the procedures define by [Vol 2]
Part B, Section 8.6.5.

4.1.4.1 Master Enables AFH

Prior to enabling AFH the master LM shall pause traffic on the ACL-U logical
link (see [Vol 2] Part B, Section 5.3.1). The master shall then enable AFH on a
physical link by sending the LMP_set_AFH PDU with AFH_mode set to
AFH_enabled, the AFH_channel_map parameter containing the set of used
and unused channels, and an AFH_instant. The LM shall not calculate the AFH
instant until after traffic on the ACL-U logical link has been stopped. The master
considers the physical link to be AFH_enabled once the baseband
acknowledgment has been received and the AFH_instant has passed. Once
the baseband acknowledgment has been received the master shall restart
transmission on the ACL-U logical link.




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            Master                    Slave
             LM                        LM


                                              LMP_set_AFH


Sequence 6: Master Enables AFH


4.1.4.2 Master Disables AFH

Prior to disabling AFH the master LM shall pause traffic on the ACL-U logical
link ([Vol 2] Part B, Section 5.3.1). The master shall then disable AFH operation
on a physical link by sending the LMP_set_AFH PDU with AFH_mode set to
AFH_disabled and an AFH_instant. The AFH_channel_map parameter is not
valid when AFH_mode is AFH_disabled. The LM shall not calculate the AFH
instant until after traffic on the ACL-U logical link has been stopped. The master
considers the physical link to have entered AFH_disabled operation once the
baseband acknowledgment has been received and the AFH_instant has
passed. Once the baseband acknowledgment has been received the master
shall restart transmission on the ACL-U logical link.



            Master                    Slave
             LM                        LM


                                              LMP_set_AFH


Sequence 7: Master disables AFH


4.1.4.3 Master Updates AFH

A master shall update the AFH parameters on a physical link by sending the
LMP_set_AFH PDU with AFH_mode set to AFH_enabled, an AFH_instant and
a new AFH_channel_map. The master shall consider the slave to have the
updated AFH parameters once the baseband acknowledgment has been
received and the AFH_instant has passed.


            Master                    Slave
             LM                        LM


                                              LMP_set_AFH



Sequence 8: Master Updates AFH




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4.1.4.4 AFH Operation in Hold and Sniff Modes

A slave in Hold or Sniff shall retain the AFH_mode and AFH_channel_map it
was using prior to entering those modes. A master may change the AFH_mode
while a slave is in sniff.

A master that receives a request from an AFH_enabled slave to enter Hold or
Sniff and decides to operate the slave using a different hop sequence shall
respond with an LMP_set_AFH PDU specifying the new hop sequence.

The master continues with the LMP signaling, for Hold or Sniff initiation, once
the baseband acknowledgment for the LMP_set_AFH PDU has been received.
Optionally, the master may delay the continuation of this LMP signaling until
after the instant. An AFH_capable_slave device shall support both of these
cases.

A master that receives a request from an AFH_enabled slave to enter Hold or
Sniff and decides not to change the slave's hop sequence shall respond
exactly as it would do without AFH. In this case, AFH operation has no effect
on the LMP signaling.

4.1.5 Channel Classification

A master may request channel classification information from a slave that is
AFH_enabled.

A slave that supports the AFH_classification_slave feature shall perform
channel classification and reporting according to its AFH_reporting_mode. The
master shall control the AFH_reporting_mode using the
LMP_channel_classification_req PDU. The slave shall report its channel
classification using the LMP_channel_classification PDU.

The slave shall report pairs of channels as good, bad or unknown. See Table
5.2 for the detailed format of the AFH_Channel_Classification parameter.
When one channel in the nth channel pair is good and the other channel is
unknown the nth channel pair shall be reported as good. When one channel in
the nth channel pair is bad and the other is unknown the nth channel pair shall
be reported as bad. It is implementation dependent what to report when one
channel in a channel pair is good and the other is bad.

 M/O          PDU                               Contents

 O(36) Rx     LMP_channel_classification_req    AFH_Reporting_Mode,
 O(44) Tx                                       AFH_Min_Interval,
                                                AFH_Max_Interval
 O(36) Tx     LMP_channel_classification        AFH_Channel_Classification
 O(44) Rx

Table 4.6: Channel classification PDU



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The LMP_channel_classification_req PDU contains three parameters:
AFH_Reporting_Mode, AFH_Min_Interval, and AFH_Max_Interval. In the
AFH_reporting_disabled state, the slave shall not generate any channel
classification reports. The parameter AFH_min_interval, defines the minimum
amount of time from the last LMP_channel_classification command that was
sent before the next LMP_channel_classification PDU may be sent. The
parameter AFH_max_interval, defines the maximum amount of time between
the change in the radio environment being detected by a slave and its
generation of an LMP_channel_classification PDU. The AFH_max_interval
shall be equal to or larger than AFH_min_interval.

The AFH_reporting_mode parameter shall determine if the slave is in the
AFH_reporting_enabled or AFH_reporting_disabled state. The default state,
prior to receipt of any LMP_channel_classification_req PDUs, shall be
AFH_reporting_disabled.

AFH_reporting_mode is implicitly set to the AFH_reporting_disabled state
when any of the following occur:
• Establishment of a connection at the baseband level
• Master-slave role switch
• Entry to hold mode operation

AFH_reporting_mode is implicitly restored to its former value when any of the
following occur:
• Exit from hold mode
• Failure of Master-slave role switch

4.1.5.1 Channel Classification Reporting Enabling and Disabling

A master enables slave channel classification reporting by sending the
LMP_channel_classification_req PDU with the AFH_reporting_mode
parameter set to AFH_reporting_enabled.

When a slave has had classification reporting enabled by the master it shall
send the LMP_channel_classification PDU according to the information in the
latest LMP_channel_classification_req PDU. The LMP_channel_classification
PDU shall not be sent if there has been no change in the slave’s channel
classification.

A master disables slave channel classification reporting by sending the
LMP_channel_classification_req PDU with the AFH_reporting_mode
parameter set to AFH_reporting_disabled.




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            Master                    Slave
             LM                        LM


                                                LMP_channel_classification_req (enable)
                          ...

                                                LMP_channel_classification
                          ...

                                                LMP_channel_classification
                          ...

                                                LMP_channel_classification_req (disable)



Sequence 9: Channel classification reporting


4.1.6 Link Supervision

Each physical link has a timer that is used for link supervision. This timer is
used to detect physical link loss caused by devices moving out of range, or
being blocked by interference, a device’s power-down, or other similar failure
cases. Link supervision is specified in [Vol 2] Part B, Section 3.1.

 M/O       PDU                                          Contents

 M         LMP_supervision_timeout                      supervision timeout

Table 4.7: Set supervision timeout PDU




            Master                    Slave
             LM                        LM


                                                LMP_supervision_timeout



Sequence 10: Setting the link supervision timeout


4.1.7 Channel Quality Driven Data Rate Change (CQDDR)

The data throughput for a given packet type depends on the quality of the RF
channel. Quality measurements in the receiver of one device can be used to
dynamically control the packet type transmitted from the remote device for
optimization of the data throughput. Device A sends the LMP_auto_rate PDU
once to notify device B to enable this feature. Once enabled, device B may
request packet type(s) that A should transmit by sending the
LMP_preferred_rate PDU. This PDU has a parameter which determines the
preferred error coding (with or without 2/3 FEC) and optionally the preferred

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size in slots of the packets. Device A is not required to change to the packet
type specified by this parameter. Device A shall not send a packet that is larger
than max slots (see Section 4.1.10) even if the preferred size is greater than
this value.

The data rate parameter includes the preferred rate for Basic Rate and
Enhanced Data Rate modes. When operating in Basic Rate mode, the device
shall use bits 0-2 to determine the preferred data rate. When operating in
Enhanced Data Rate mode, the device shall use bits 3-6 to determine the
preferred data rate. For devices that support Enhanced Data Rate, the
preferred rates for both Basic Rate and Enhanced Data Rate modes shall be
valid at all times.

These PDUs may be sent at any time after connection setup is completed.

 M/O       PDU                           Contents

 O(10)     LMP_auto_rate                 -
 O(10)     LMP_preferred_rate            data rate
Table 4.8: Quality-driven change of the data rate PDU




             A LM                     B LM


                                                 LMP_auto_rate


Sequence 11: A notifies B to enable CQDDR




             A LM                     B LM


                                                 LMP_preferred_rate


Sequence 12: B sends A a preferred packet type


4.1.8 Quality of Service (QoS)

The LM provides QoS capabilities. A poll interval, Tpoll, that is defined as the
maximum time between transmissions from the master to a particular slave on
the ACL logical transport, is used to support bandwidth allocation and latency
control - see [Vol 2] Part B, Section 8.6.1 for details. The poll interval is
guaranteed in the active and sniff modes except when there are collisions with
page, page scan, inquiry and inquiry scan, during time critical LMP sequences
in the current piconet and any other piconets in which the Bluetooth device is a

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member, and during critical baseband sequences (such as the page response,
initial connection state until the first POLL, and role switch). These PDUs may
be sent at any time after connection setup is completed.

Master and slave negotiate the number of repetitions for broadcast packets
(NBC), see [Vol 2] Part B, Section 7.6.5.

 M/O     PDU                                  Contents

 M       LMP_quality_of_service               poll interval
                                              NBC

 M       LMP_quality_of_service_req           poll interval
                                              NBC

Table 4.9: Quality of Service PDU


4.1.8.1 Master Notifies Slave of the Quality of Service

The master notifies the slave of the new poll interval and NBC by sending the
LMP_quality_of_service PDU. The slave cannot reject the notification.


            Master                    Slave
             LM                        LM


                                                  LMP_quality_of_service


Sequence 13: Master notifies slave of quality of service


4.1.8.2 Device Requests New Quality of Service

Either the master or the slave may request a new poll interval and NBC by
sending an LMP_quality_of_service_req PDU. The parameter NBC is
meaningful only when it is sent by a master to a slave. For transmission of
LMP_quality_of_service_req PDUs from a slave, this parameter shall be
ignored by the master. The request can be accepted or rejected. This allows
the master and slave to dynamically negotiate the quality of service as needed.

The selected poll interval by the slave shall be less than or equal to the
specified Access Latency for the outgoing traffic of the ACL link (see L2CAP
Definition: Quality of Service (QoS) Option [Vol 3] Part A, Section 5.3).




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           Initiating
                                      LM
              LM


                                                LMP_quality_of_service_req

                                                LMP_accepted


Sequence 14: Device accepts new quality of service




           Initiating
                                      LM
              LM


                                                LMP_quality_of_service_req
                                                LMP_not_accepted


Sequence 15: Device rejects new quality of service


4.1.9 Paging Scheme Parameters

LMP provides a means to negotiate the paging scheme parameters that are
used the next time a device is paged.

 M/O       PDU                                          Contents

 O(17)     LMP_page_mode_req                            paging scheme
                                                        paging scheme settings
 O(17)     LMP_page_scan_mode_req                       paging scheme
                                                        paging scheme settings
Table 4.10: Paging scheme request PDU


4.1.9.1 Page Mode

This procedure is initiated from device A and negotiates the paging scheme
used when device A pages device B. Device A proposes a paging scheme
including the parameters for this scheme and device B can accept or reject. On
rejection the old setting shall not be changed. A request to switch to a reserved
paging scheme shall be rejected.




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             A LM                     B LM


                                              LMP_page_mode_req

                                              LMP_accepted or LMP_not_accepted


Sequence 16: Negotiation for page mode


4.1.9.2 Page Scan Mode

This procedure is initiated from device A and negotiates the paging scheme
and paging scheme settings used when device B pages device A. Device A
proposes a paging scheme and paging scheme settings and device B may
accept or reject. On reject the old setting is not changed. A request specifying
the mandatory scheme shall be accepted. A request specifying a non-
mandatory scheme shall be rejected. This procedure should be used when
device A changes its paging scheme settings. A slave should also send this
message to the master after connection establishment, to inform the master of
the slave's current paging scheme and paging scheme settings.



             A LM                     B LM


                                              LMP_page_scan_mode_req
                                              LMP_accepted or LMP_not_accepted


Sequence 17: Negotiation for page scan mode


4.1.10 Control of Multi-Slot Packets

The number of consecutive slots used by a device on an ACL-U logical link can
be limited. It does not affect traffic on the eSCO links where the packet sizes
are defined as part of link setup. A device allows the remote device to use a
maximum number of slots by sending the PDU LMP_max_slot providing max
slots as parameter. Each device can request to use a maximal number of slots
by sending the PDU LMP_max_slot_req providing max slots as parameter.
After a new connection (as a result of page, page scan, or role switch) the
default value is 1 slot. These PDUs can be sent at any time after connection
setup is completed.




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 M/O       PDU                              Contents

 M         LMP_max_slot                     max slots
 M         LMP_max_slot_req                 max slots
Table 4.11: Multi-slot packet control PDU



           Initiating
                                      LM
              LM


                                                LMP_max_slot


Sequence 18: Device allows Remote Device to use a maximum number of slots




           Initiating
                                      LM
              LM


                                                LMP_max_slot_req

                                                LMP_accepted


Sequence 19: Device requests a maximum number of slots. Remote Device accepts




           Initiating
                                      LM
              LM


                                                LMP_max_slot_req

                                                LMP_not_accepted


Sequence 20: Device requests a maximum number of slots. Remote Device rejects


4.1.11 Enhanced Data Rate

A device may change the packet type table, ptt, to select which if any of the
packets and optional modulation modes are to be used on an ACL logical
transport.

Either the master or the slave may request a new packet type table and
therefore the packets and modulation mode to be used on this ACL link. After a
new baseband connection, as a result of page or page scan, the default value
for ptt shall be 0.



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The change of the modulation mode for an ACL logical transport shall not
affect the packet and packet types used for an associated SCO logical
transport on the same LT_ADDR.

Note: Enhanced Data Rate eSCO links are negotiated using the LMP eSCO
link_req as described in Section 4.6.2.

Before changing the packet type table, the initiator shall finalize the
transmission of the current ACL packet with ACL-U information and shall stop
ACL-U transmissions. It shall then send the LMP_packet_type_table_req PDU.

If the receiver rejects the change, then it shall respond with an
LMP_not_accepted_ext PDU.

If the receiver accepts the change, then it shall finalize the transmission of the
current ACL packet with ACL-U information and shall stop ACL-U
transmissions, it shall change to the new packet type table and shall respond
with an LMP_accepted_ext PDU. When it receives the baseband level
acknowledgment for the LMP_accepted_ext PDU it shall restart ACL-U
transmissions.

When the initiator receives an LMP_not_accepted_ext PDU the initiator shall
restart ACL-U transmissions.

When the initiator receives an LMP_accepted_ext PDU it shall change the
packet type table and restart ACL-U transmissions.

 M/O       PDU                               Contents

 O(25)     LMP_packet_type_table_req         packet type table

Table 4.12: Enhanced Data Rate PDUs




             LM-A                     LM-B


                                                 LMP_packet_type_table_req

                                                 LMP_not_accepted_ext



Sequence 21: Packet type table change is rejected




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             LM-A                     LM-B


                                               LMP_packet_type_table_req
                                               LMP_accepted_ext


Sequence 22: Packet type table change is accepted


4.1.12 Encapsulated LMP PDUs

Some transactions require sending LMP payload data that is longer than 16
octets. To enable a link manager to send a large PDU, an encapsulated LMP
PDU is defined. An encapsulated LMP PDU is composed of a minimum of two
LMP messages, a header PDU and one or more payload PDUs.

 M/O                PDU                             Contents

 O(52)              LMP_encapsulated_header         encapsulated major type
                                                    encapsulated minor type
                                                    encapsulated payload length
 O(52)              LMP_encapsulated_payload        encapsulated data

Table 4.13: Encapsulated LMP PDUs


4.1.12.1 Sending an Encapsulated PDU

The LMP_encapsulated_header PDU shall be sent by the initiating device
when it needs to send an encapsulated PDU. This PDU shall be either
accepted or rejected using the LMP_accepted or LMP_not_accepted PDUs. If
the major and minor types are not supported the PDU shall be rejected with
error code Unsupported LMP Parameter Value (0x20). If the
LMP_encapsulated_header PDU is accepted, then one or more
LMP_encapsulated_payload PDUs will be sent with the encapsulated data
sent in sequence, 16 octets at a time, or if this is last packet, the correct
number of octets and then zero padded.

Each LMP_encapsulated_payload PDU shall be accepted or rejected. If the
LMP_encapsulated_header PDU is rejected, then the opcode in the
LMP_not_accepted PDU shall be the opcode for the
LMP_encapsulated_header and not the encapsulated major type or
encapsulated minor type. If the LMP_encapsulated_payload PDU is rejected,
then the opcode in the LMP_not_accepted PDU shall be the opcode for the
LMP_encapsulated_payload.

A responding device may reject the final LMP_encapsulated_payload PDU
after accepting the LMP_encapsulated_header PDU. This is so that the link


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manager can still reject an encapsulated message after all the data has been
received.


           Initiating
                                      LM
              LM


                                           LMP_encapsulated_header
                                           LMP_accepted or LMP_not_accepted
                                           LMP_encapsulated_payload
                                           LMP_accepted or LMP_not_accepted
                                           LMP_encapsulated_payload

                                           LMP_accepted or LMP_not_accepted



Sequence 23: Sending an encapsulated PDU


Between sending an LMP_encapsulated_header PDU and an
LMP_encapsulated_payload PDU, or between each of the
LMP_encapsulated_payload PDU, either device shall be able to send the
following LMP PDUs without causing a "different transaction collision" error.
• LMP_channel_classification
• LMP_decr_power_req
• LMP_detach
• LMP_incr_power_req
• LMP_max_power
• LMP_max_slot
• LMP_min_power
• LMP_preferred_rate
• LMP_set_AFH

4.1.13 Ping

When both devices support the Ping feature, a Link Manager may verify the
presence of the remote Link Manager by using the LMP ping mechanism. The
LMP ping mechanism may also be used to verify message integrity on the ACL
logical transport by forcing the remote device to send an ACL packet that
contains a MIC.
Note: Since the LMP_ping_res PDU contains a MIC and will update the packet
counter, the sender of the LMP_ping_req PDU can verify that packets with
earlier packet counter values have not been deliberately suppressed by an
attacker.


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 M/O                PDU                         Contents

 O(137)             LMP_ping_req
 O(137)             LMP_ping_res
Table 4.14: Ping PDUs

The initiating link manager sends the LMP_ping_req PDU. The responding link
manager responds with the LMP_ping_res PDU. The initiating link manager
may be a master or slave.


           Initiating
                                      LM
              LM


                                            LMP_ping_req
                                            LMP_ping_res


Sequence 24: Ping PDUs


The Link Manager shall send an LMP_ping_req PDU when the remote device
has not sent a packet containing a payload protected by a MIC within an
authenticated payload timeout set by the Host (see [Vol 2] Part E, Section
7.3.94). The Link Manager should send an LMP_ping_req PDU in advance
enough of the expiration of the authenticated payload timeout to allow the
remote device reasonable time to respond with an LMP_ping_res PDU before
the timeout expires.

4.1.14 Piconet Clock Adjustment

The master may adjust the piconet clock (e.g. to align with an external time
base) by initiating the Coarse Clock Adjustment or Clock Dragging procedures.
A slave may request that the master adjust the piconet clock.

 M/O                PDU                         Contents

 O(134)             LMP_clk_adj                 clk_adj_id
                                                clk_adj_instant
                                                clk_adj_us
                                                clk_adj_slots
                                                clk_adj_mode
                                                clk_adj_clk

 O(134)             LMP_clk_adj_ack             clk_adj_id

 O(134)             LMP_clk_adj_req             clk_adj_us
                                                clk_adj_slots
                                                clk_adj_period
Table 4.15: Piconet clock adjustment PDUs



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Piconet clock adjustment requests may be made at any time after the Link
Manager supported features responses have been processed.

The master’s LM shall not initiate another sequence containing an instant or
timing control flags before an outstanding clock adjustment instant has been
reached, while waiting for CLK_adj_dragTO to expire (see [Vol 2] Part B,
Section Appendix B), or while in Coarse Clock Adjustment Recovery Mode
(see [Vol 2] Part B, Section 8.6.10.2); however the latter may be terminated by
the master in order to initiate the request. If a request to initiate such a
sequence is received before an outstanding clock adjustment instant is
reached or CLK_adj_dragTO has been cancelled or has expired, the request
shall be rejected with the error code Different Transaction Collision (0x2A).

The master is free to reject any request for an adjustment; an implementation
may, for instance, accept coarse clock adjustment requests from one slave but
reject all requests from any other slave.

Note: Broadcast encryption cannot be enabled when the Coarse Clock
Adjustment feature is supported.

4.1.14.1 Master Coarse Adjustment of Piconet Clock

The coarse clock adjustment procedure shall only be used if all connected
slaves declare support for the Coarse Clock Adjustment feature.

For all devices that may use Coarse Clock Adjustment Recovery Mode (see
[Vol 2] Part B, Section 8.6.10.2), the RF channel indices used for the
Synchronization Train (see [Vol 2] Part B, Section 2.6.4.8) shall be marked as
unused in the AFH_channel_map for all logical links.

The master may use the clk_adj_period parameter from one or more slaves, in
addition to other scheduling considerations, to select an optimal value of
clk_adj_slots.

The master selects the parameters of the coarse clock adjustment. Some
parameters shall remain the same for every LMP_clk_adj PDU associated with
a given adjustment. These are the number of slots (clk_adj_slots) between 0
and 255, an offset within a slot (clk_adj_us) between –624 µs and 624 µs, a
coarse clock adjustment instant (clk_adj_instant), which is specified in the old
time domain before the instant, and an identifier for the instant (clk_adj_id).
The clk_adj_instant shall be at least 12 slots in the future and no more than 12
hours away. The clk_adj_id shall be different for any two adjacent adjustments
and for any two adjustments whose instants are closer together in time than the
longest Link Supervision Timeout period for any slave. Each LMP_clk_adj PDU
also contains the value of CLK when it is transmitted (clk_adj_clk) and a flag
clk_adj_mode, which shall be set to Before Instant if the LMP_clk_adj PDU is
sent before the instant or to After Instant if the LMP_clk_adj_PDU is sent on or
after the instant.



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To initiate the coarse adjustment, the master starts broadcasting the
LMP_clk_adj PDU using the ASB-C logical link and, unless all slaves have
acknowledged, it should broadcast the LMP_clk_adj PDU at least 6 times
before the adjustment instant. The master shall continue to broadcast the
LMP_clk_adj PDU until all slaves have acknowledged the adjustment with an
LMP_clk_adj_ack PDU or the master has left Coarse Clock Adjustment
Recovery Mode.

A master shall not initiate a coarse clock adjustment if there are any
transactions outstanding that involve LMP PDUs containing an instant or timing
control flags including, but not limited to: role switch, adaptive frequency
hopping, SCO, eSCO, sniff, sniff subrating, hold, and encryption pause
resume.

A slave shall discard and not acknowledge an LMP_clk_adj PDU with a value
of clk_adj_id that is the same as that in the most recently received
LMP_clk_adj PDU, if any, and any LMP_clk_adj PDU with any parameters
outside the valid range (see Section 5.2).

On receipt of an LMP_clk_adj PDU that passes these checks, the slave shall
reply with an LMP_clk_adj_ack PDU (on the ACL-C logical link) containing the
same value of clk_adj_id as in the LMP_clk_adj PDU and shall change the
value of slave_offset, if not already performed, as described in [Vol 2] Part B,
Section 8.6.10.1, either at the adjustment instant or, if that has passed,
immediately.



          Master LM                Slave LM


                                               LMP_clk_adj
                                               LMP_clk_adj_ack



Sequence 25: Master initiates a coarse clock adjustment


4.1.14.2 Slave Request for Coarse Adjustment of Piconet Clock

The slave may request a coarse adjustment of the piconet clock by sending the
LMP_clk_adj_req PDU to the master. The LMP_clk_adj_req PDU contains
three parameters: clk_adj_us, clk_adj_slots, and clk_adj_period. The
parameters clk_adj_us and clk_adj_slots have the same meaning as in the
LMP_clk_adj PDU and clk_adj_slots or clk_adj_us shall be non-zero. If non-
zero, the parameter clk_adj_period is an indication to the master that the
request is for any of a set of possible adjustments, all of which are equally
acceptable to the slave. These adjustments are those where the number of
slots is equal to clk_adj_slots + N * clk_adj_period, where N is zero or a
positive integer, and the offset within a slot equals clk_adj_us. For example, if
clk_adj_slots is 18 and clk_adj_period is 48, then the acceptable adjustments

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are 18, 66, 114, 162, and 210 slots. A value of zero for clk_adj_period indicates
that an adjustment of any number of slots is equally acceptable to the slave
(that is, the master may ignore the value of clk_adj_slots). A request for a
coarse adjustment shall also update the master’s local record of clk_adj_period
for the slave.

The slave may indicate its preferred clk_adj_period to the master without
requesting a clock adjustment. In this case it shall set clk_adj_slots and
clk_adj_us to zero. Upon receiving an LMP_clk_adj_req PDU with
clk_adj_slots and clk_adj_us set to zero, the master shall respond with
LMP_accepted PDU and update its local record of clk_adj_period for the slave,
but shall not initialize any clock adjustment. The master is not required to honor
a slave’s preferred clk_adj_period when making coarse clock adjustments.

The master may accept the coarse clock adjustment request from the slave by
sending an LMP_accepted_ext PDU. This indicates that the master intends to
carry out a coarse clock adjustment with the requested value of clk_adj_us;
however, the value of clk_adj_slots may be different to that requested and
might not follow the clk_adj_period parameter.



          Master LM               Slave LM


                                               LMP_clk_adj_req

                                               LMP_accepted_ext



Sequence 26: Master accepts slave request for a coarse clock adjustment


The master may reject the coarse clock adjustment request from the slave by
sending an LMP_not_accepted_ext PDU with the error code Command
Disallowed (0x0C) (see [Vol 2] Part D, Section 2.12). The master's decision not
to follow the clk_adj_slots or clk_adj_period parameters does not constitute a
rejection.

The master may implement the coarse clock adjustment request from the slave
by carrying out clock dragging (see [Vol 2] Part B, Section 8.6.10.3) to achieve
the requested clock adjustment. If so, it shall send an LMP_not_accepted_ext
PDU with the error code Coarse Clock Adjustment Rejected but Will Try to
Adjust Using Clock Dragging (0x40) (see [Vol 2] Part D, Section 2.61).




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          Master LM                Slave LM


                                               LMP_clk_adj_req

                                               LMP_not_accepted_ext


Sequence 27: Master rejects a slave request for coarse clock adjustment


4.1.15 Slot Availability Mask

SAM LMP sequences may be initiated at any time after Link Manager
supported features responses have been processed.

Either the master or the slave may initiate the LMP_SAM_set_type0 PDU to
configure the SAM type 0 submapof the local device. The initiation may be
triggered by the HCI command "Set_External_Frame_Configuration"for MWS
coexistence.

Either the master or the slave may initiate the LMP_SAM_define_map PDU to
define a new or modify an existing local SAM slot map. The initiation may be
triggered by the HCI command "Set_MWS_PATTERN_Configuration" for MWS
coexistence. If a type 0 submapis used with the LMP_SAM_define_map PDU,
the Controller shall first execute the SAM set type 0 LMP sequence to configure
the SAM type 0 submap, then the SAM define map LMP sequence itself.

Either the master or the slave may initiate the LMP_SAM_switchPDU to switch
to a local SAM slot map that has been defined by previous SAM set type 0 and
SAM define map LMP sequences. This may be triggered by the real-time
signals (e.g. MWS_PATTERN_Index, FRAME_SYNC, etc) from the
Coexistence Logical Interface (see [Vol 7] Part A), which contain information
for the SAM_Index to be activated and the SAM anchor point for MWS
coexistence. Note that Piconet Clock Adjustment may be performed to create
more available slot pairs per MWS frame before initiating the SAM switch LMP
sequence.

These SAM LMP sequences will be described in detail in the following
subsections.




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 M/O                           PDU                     Contents

 O(138)                        LMP_SAM_set_type0       Update Mode
                                                       SAM_Type0Submap

 O(138)                        LMP_SAM_define_map      SAM_Index
                                                       TSAM-SM
                                                       NSAM-SM
                                                       SAM_Submaps
 O(138)                        LMP_SAM_switch          SAM_Index
                                                       Timing control flags
                                                       DSAM
                                                       SAM_Instant
Table 4.16: PDUs used for SAM negotiation

The LMP_SAM_set_type0 PDU contains the following SAM parameters from
the sender:
1. Update Mode: When Update Mode is set to 0, the existing slot maps
   containing the type 0 submap are invalidated and the corresponding
   SAM_Index shall not be used until the map with that index has been
   redefined in a subsequent SAM define map LMP sequence. When Update
   Mode is set to 1, the new type 0 submap shall take effect immediately. When
   Update Mode is set to 2, the new type 0 submap shall take effect at the start
   of the next sub-interval.
2. SAM_Type0Submap: This parameter specifies the types of each slot in the
   type 0 submap. The length of this parameter corresponds to 56 slots but,
   when it is used in a map, only the first TSAM-SM entries are significant. Note
   that different maps can have different values of TSAM-SM.

The LMP_SAM_define_map PDU contains the following parameters from the
sender:
1. SAM_Index: Index of the SAM slot map this PDU applies to. If the same
   SAM_Index has been previously defined, then the previous map parameters
   associated with the map shall be discarded and replaced by the parameters
   contained in this PDU.
2. TSAM-SM: Length of each SAM submap in slots. It shall be an even integer in
   the range 2 to 56.
3. NSAM_SM: The number of SAM submaps in the SAM slot map.
4. SAM_Submaps: This parameter specifies the types of the SAM submaps,
   using 2 bits for each submap. The length of this parameter corresponds to
   48 submaps, but only the first NSAM_SM entries are significant.



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The LMP_SAM_switch PDU contains the following parameters from the sender:
1. SAM_Index: Index of the SAM slot map. It shall either be the index of a valid
   map, in which case SAM should be enabled and that map selected, or shall
   be 0xFF, which indicates that SAM should be disabled (meaning that, for
   SAM purposes, all slots are available for both transmission and reception).
   Disabling SAM does not invalidate a SAM slot map or the type 0 submap.
2. Timing control flags: This parameter is used to avoid clock wrap-around
   during the sequence, using one of the two initialization rules. Only bit1 of the
   timing control flags parameter is valid.
3. DSAM: SAM offset that is used to compute the SAM anchor point. Only even
   values are valid.
4. SAM_Instant: Bits 27:1 of the Bluetooth master clock value when the SAM
   slot map is to be activated. This is used to indicate the first anchor point of
   the slot map. The new SAM slot map may be activated at SAM_Instant even
   if the baseband acknowledgment is not received.

4.1.15.1 SAM Type 0 Submap Configuration

Either the master or the slave may initiate the SAM type 0 submap
configuration sequence by sending an LMP_SAM_set_type0 PDU to the
responder. Both devices shall save the SAM parameters contained in this
PDU.Update Mode shall not be set to 0 if the active SAM slot map contains a
type 0 submap. If the responder can accept the parameters, it shall send an
LMP_accepted_ext PDU. If the Update Mode parameter is set to 0 and the
active SAM slot map contains a type 0 submap, it shall send an
LMP_not_accepted PDU with the error code Invalid LMP Parameters (0x1E).



           *OJUJBUJOH
                                      -.
              -.


                                           -.1@4".@TFU@UZQF
                                           -.1@BDDFQUFE@FYUPS-.1@OPU@BDDFQUFE@FYU



Sequence 28: SAM Type 0 submap configuration sequence


4.1.15.2 SAM Slot Map Define

Either the master or the slave may initiate the SAM slot map define sequence
by sending an LMP_SAM_define_map PDU. If NSAM-SM is set to zero, the map
shall be deleted. The SAM_Index parameter shall not be 0xFF or that of the
currently selected map. The slot map may only contain a type 0 submap if the
LMP_SAM_set_type0 sequence has already been used to define the type 0
submap. If the responder can accept the parameters, it shall send an


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LMP_accepted_ext PDU. If a SAM type 0 submap is used in an
LMP_SAM_define_map PDU without successfully completing the
LMP_SAM_set_type0 sequence in advance, it shall send an
LMP_not_accepted PDU with the error code Type0 Submap Not Defined
(0x41).




           *OJUJBUJOH           3FTQPOEJOH
              -.                   -.


                                             -.1@4".@EFGJOF@NBQ
                                             -.1@BDDFQUFE@FYUPS-.1@OPU@BDDFQUFE@FYU




Sequence 29: SAM slot map define sequence


4.1.15.3 SAM Switch Sequence

Either the master or the slave may initiate the SAM switch sequence by
sending an LMP_SAM_switch PDU to the responder. There are two
initialization procedures to prevent problems caused by clock wrap-around;
see [Vol 2] Part B, Section 8.6.11.1 for details. The SAM_Index shall refer to a
SAM slot map that is currently valid (the special value 0xFF is always valid). If
the responder can accept the parameters, it shall send an LMP_accepted_ext
PDU. If the SAM_Index is invalid (e.g., the associated SAM_Index
configuration has not yet been defined with LMP_SAM_define_map
sequence), it shall send an LMP_not_accepted PDU with the error code Invalid
LMP Parameters (0x1E).

Each Controller shall notify its Host of a successful SAM switch sequence
specifying a different SAM_Index to that currently selected (it may, but need
not, notify the Host if the sequence specifies the current map). The currently
selected map remains in effect if the change is not accepted.




           *OJUJBUJOH           3FTQPOEJOH
              -.                   -.


                                             -.1@4".@TXJUDI
                                             -.1@BDDFQUFE@FYUPS-.1@OPU@BDDFQUFE@FYU




Sequence 30: SAM switch sequence



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4.1.15.4 SAM Change during the Transmission of a Multi-Slot Packet

SAM slot map changes do not affect the transmission of a multi-slot packet that
spans the change instant. In the case of a master-to-slave packet, the new
map can mean that the slave may choose not to reply to the packet.

4.1.15.5 SAM and Role Switching

The master and slave shall disable SAM at the role switch instant. If the role
switch fails, both devices shall resume using the SAM parameters prior to the
role switch instant

SAM mode may be reconfigured and re-enabled after the successful
completion of a role switch using the new piconet clock.

4.1.15.6 SAM and Sniff Mode

If sniff negotiation is requested when SAM is already enabled, the device
should align sniff with SAM by choosing the sniff anchor point to be an
available master-to-slave slot and the sniff period to be an integral multiple of
TSAM. If such alignment is not possible, the sniff configuration shall take
precedence, even if this requires a device to transmit or receive on a slot
marked as unavailable by SAM. The SAM slot maps shall be reinstated when
devices exit the sniff mode. Note: Even though sniff overrides the SAM slot
maps, a device still might not be able to transmit or receive because of
scatternet commitments, a coexistence clash, or some other reason.

4.2 SECURITY

4.2.1 Authentication

Two authentication procedures are defined: legacy and secure authentication.
Legacy authentication shall be performed when at least one device does not
support both the Secure Connections (Controller Support) and Secure
Connections (Host Support) features and the local device allows legacy
authentication to be used. Secure authentication shall be performed when both
devices support the Secure Connections (Controller Support) and Secure
Connections (Host Support) features.

The legacy authentication procedure is based on a challenge-response
scheme as described in [Vol 2] Part H, Section 3.2.2. The verifier sends an
LMP_au_rand PDU that contains a random number (the challenge) to the
claimant. The claimant calculates a response, that is a function of this
challenge, the claimant’s BD_ADDR and a secret key. The response is sent
back to the verifier, which checks if the response was correct or not. The
response shall be calculated as described in [Vol 2] Part H, Section 6.1. A
successful calculation of the authentication response requires that two devices
share a secret key. This key is created as described in Section 4.2.2. Both the

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master and the slave can be verifiers. The sequences for legacy authentication
are described in Section 4.2.1.1 and Section 4.2.1.2.

The secure authentication procedure is a challenge-response scheme as
described in [Vol 2] Part H, Section 5. The verifier sends an LMP_au_rand
PDU that contains a random number (the challenge) to the claimant. The
claimant responds with another LMP_au_rand PDU also containing a random
number. Both Link Managers calculate the Device Authentication Key using the
h4 function (see [Vol 2] Part H, Section 7.7.7) and then calculate the
SRES_master, SRES_slave and ACO values using the h5 function (see [Vol 2]
Part H, Section 7.7.8). The slave (regardless of whether it was the verifier or
claimant) sends its response (SRES_slave) to the master. The master sends
its response (SRES_master) to the slave. A successful calculation of the
authentication response requires that two devices share a secret key. The
sequences for secure authentication are described in Section 4.2.1.2 and
Section 4.2.1.4.

 M/O       PDU                     Contents

 M         LMP_au_rand             random number
 M         LMP_sres                authentication response
Table 4.17: Authentication PDUs


4.2.1.1 Claimant has Link Key (Legacy Authentication)

If the claimant has a link key associated with the verifier, it shall calculate the
response and sends it to the verifier with LMP_sres. The verifier checks the
response. If the response is not correct, the verifier can end the connection by
sending an LMP_detach PDU with the error code Authentication Failure
(0x05), see Section 4.1.2.


            Verifier               Claimant
             LM                       LM


                                               LMP_au_rand

                                               LMP_sres


Sequence 31: Authentication. Claimant has link key


Upon reception of an LMP_au_rand, an LM shall reply with LMP_sres before
initiating its own authentication.

Note: There can be conflicting actions from the master and the slave which
could lead to the two devices having different Authenticated Ciphering Offsets
(ACOs, see [Vol 2] Part H, Section 6.1) when they calculate the encryption key.
The following procedures assure that this cannot occur:

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• procedure in Section 2.5.1 (Transaction Collision Resolution) when the
  master and slave simultaneously initiate an authentication.
• procedure in Section 4.2.5.1 when encryption parameters are being
  negotiated.

4.2.1.2 Claimant has no Link Key (Legacy Authentication and Secure
Authentication)

If the claimant does not have a link key associated with the verifier it shall send
an LMP_not_accepted PDU with the error code PIN or Key Missing (0x06)
after receiving an LMP_au_rand PDU ([Vol 2] Part D, Section 2.6).

Note: This sequence is identical for legacy authentication and secure
authentication.



            Verifier                Claimant
             LM                        LM


                                                 LMP_au_rand
                                                 LMP_not_accepted


Sequence 32: Authentication fails. Claimant has no link key


4.2.1.3 Repeated Attempts

The scheme described in [Vol 2] Part H, Section 5.1 shall be applied when an
authentication fails. This will prevent an intruder from trying a large number of
keys in a relatively short time.

4.2.1.4 Responder has Link Key (Secure Authentication)

Both the master and slave LM act as verifier and claimant. The initiator is the
device that sends the LMP_au_rand PDU first.

The initiator sends an LMP_au_rand PDU to the responder. If the responder
has a link key associated with the initiator, it shall respond with an
LMP_au_rand PDU. The initiator and responder shall calculate the response.
The slave responds first with an LMP_sres PDU containing SRES_slave. The
master shall then respond with an LMP_sres PDU containing SRES_master.
The master shall verify that the SRES_slave sent by the slave matches the
SRES_slave calculated by the master. The slave shall verify that the
SRES_master sent by the master matches the SRES_master calculated by the
slave. If the response is not correct, then either device can end the connection
by sending an LMP_detach PDU with the error code Authentication Failure
(0x05) (see Section 4.1.2).


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          Initiating LM
                                 Responding LM
            (Master)


                                                 LMP_au_rand
                                                 LMP_au_rand
                                                 LMP_sres
                                                 LMP_sres


Sequence 33: Secure Authentication. Responder has link key. Initiator is master



          Initiating LM
                                 Responding LM
             (Slave)


                                                 LMP_au_rand
                                                 LMP_au_rand
                                                 LMP_sres
                                                 LMP_sres


Sequence 34: Secure Authentication. Responder has link key. Initiator is slave


In the case where the master and slave both initiate the secure authentication
sequence, the master shall reject the slave’s LMP_au_rand PDU with an
LMP_not_accepted PDU with the error code LMP Error Transaction Collision /
LL Procedure Collision (0x23). The slave shall send another LMP_au_rand
PDU with transaction ID set to 0 (master).

Note: Secure Authentication is a mutual authentication.

4.2.2 Pairing

When two devices do not have a common link key an initialization key (Kinit)
shall be created using either the pairing or Secure Simple Pairing procedures.
When pairing is used, Kinit shall be created based on a PIN, and a random
number and a BD_ADDR. Kinit shall be created as specified in [Vol 2] Part H,
Section 6.3. When both devices have calculated Kinit the link key shall be
created, and a mutual authentication is performed. The pairing procedure
starts with a device sending an LMP_in_rand PDU; this device is referred to as
the "initiating LM" or "initiator" in Section 4.2.2.1 - Section 4.2.2.5. The other




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device is referred to as the "responding LM" or "responder". The PDUs used in
the pairing procedure are:

 M/O        PDU                              Contents

 M          LMP_in_rand                      random number
 M          LMP_au_rand                      random number

 M          LMP_sres                         authentication response
 M          LMP_comb_key                     random number
 M          LMP_unit_key                     key

Table 4.18: Pairing PDUs

All sequences described in Section 4, including the mutual authentication after
the link key has been created, shall form a single transaction. The transaction
ID from the first LMP_in_rand shall be used for all subsequent sequences.

4.2.2.1 Responder Accepts Pairing

When the initiator sends an LMP_in_rand PDU and the responder shall reply
with an LMP_accepted PDU. Both devices shall then calculate Kinit based on
the BD_ADDR of the responder and the procedure continues with creation of
the link key; see Section 4.2.2.4.


           Initiating             Responding
              LM                     LM


                                                 LMP_in_rand

                                                 LMP_accepted


Sequence 35: Pairing accepted. Responder has a variable PIN. Initiator has a variable or fixed PIN


4.2.2.2 Responder has a Fixed PIN

If the responder has a fixed PIN it shall generate a new random number and
send it back in an LMP_in_rand PDU. If the initiator has a variable PIN it shall
accept the LMP_in_rand PDU and shall respond with an LMP_accepted PDU.
Both sides shall then calculate Kinit based on the last IN_RAND and the
BD_ADDR of the initiator. The procedure continues with creation of the link
key; see Section 4.2.2.4.




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           Initiating             Responding
              LM                     LM


                                               LMP_in_rand
                                               LMP_in_rand
                                               LMP_accepted



Sequence 36: Responder has a fixed PIN and initiator has a variable PIN


If the responder has a fixed PIN and the initiator also has a fixed PIN, the
second LMP_in_rand shall be rejected by the initiator sending an
LMP_not_accepted PDU with the error code Pairing not Allowed (0x18).


           Initiating             Responding
              LM                     LM


                                               LMP_in_rand
                                               LMP_in_rand

                                               LMP_not_accepted


Sequence 37: Both devices have a fixed PIN


4.2.2.3 Responder Rejects Pairing

If the responder rejects pairing it shall send an LMP_not_accepted PDU with
the error code Pairing not Allowed (0x18) after receiving an LMP_in_rand PDU.


           Initiating             Responding
              LM                     LM


                                               LMP_in_rand
                                               LMP_not_accepted


Sequence 38: Responder rejects pairing


4.2.2.4 Creation of the Link Key

When Kinit is calculated in both devices the link key shall be created. This link
key will be used in the authentication between the two devices for all
subsequent connections until it is changed; see Section 4.2.3 and Section
4.2.4. The link key created in the pairing procedure will either be a combination

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key or one of the device's unit keys. The following rules shall apply to the
selection of the link key:
• if one device sends an LMP_unit_key PDU and the other device sends
  LMP_comb_key, the unit key will be the link key.
• if both devices send an LMP_unit_key PDU, the master's unit key will be the
  link key.
• if both devices send an LMP_comb_key PDU, the link key shall be
  calculated as described in [Vol 2] Part H, Section 3.2.

The content of the LMP_unit_key PDU is the unit key bitwise XORed with Kinit.
The content of the LMP_comb_key PDU is LK_RAND bitwise XORed with Kinit.
Any device configured to use a combination key shall store the link key.

The use of unit keys is deprecated since it is implicitly insecure.

When the new link key has been created mutual authentication shall be
performed to confirm that the same link key has been created in both devices.
After mutual authentication, if encryption is enabled, the initiating device shall
pause and immediately resume encryption to produce a new encryption key.
Note that this will cause a new encryption key to be generated from the ACO
created during the mutual authentication process and, when E0 encryption is
used, the random number sent in the LMP_start_encryption_req PDU which
occurs in response to the resumption of encryption.


           Initiating             Responding
              LM                     LM


                                               LMP_comb_key or LMP_unit_key
                                               LMP_comb_key or LMP_unit_key


Sequence 39: Creation of the link key


4.2.2.5 Repeated Attempts

When the authentication after creation of the link key fails because of an
incorrect authentication response, the same scheme as in Section 4.2.1.3 shall
be used. This prevents an intruder from trying a large number of different PINs
in a relatively short time.

4.2.3 Change Link Key

If the link key is derived from combination keys and the current link is the semi-
permanent link key, the link key can be changed. If the link key is a unit key, the
devices shall go through the pairing procedure in order to change the link key.



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The contents of the LMP_comb_key PDU is protected by a bitwise XOR with
the current link key.

 M/O       PDU                         Contents

 M         LMP_comb_key                random number
Table 4.19: Change link key PDU




           Initiating
                                      LM
              LM


                                                 LMP_comb_key

                                                 LMP_comb_key


Sequence 40: Successful change of the link key




           Initiating
                                      LM
              LM


                                                 LMP_comb_key

                                                 LMP_not_accepted


Sequence 41: Change of the link key not possible since the other device uses a unit key


If the change of link key is successful the new link key shall be stored and the
old link key shall be discarded. The new link key shall be used as link key for all
the following connections between the two devices until the link key is changed
again. The new link key also becomes the current link key. It will remain the
current link key until the link key is changed again, or until a temporary link key
is created, see Section 4.2.4.

When the new link key has been created, mutual or secure authentication shall
be performed to confirm that the same link key has been created in both
devices.

If both devices support the Secure Connections (Controller Support) and
Secure Connections (Host Support) features, the device that initiated the
change link key shall initiate the Secure Authentication procedure. Otherwise,
the first authentication in the mutual authentication is performed with the device
that initiated the change link key as verifier. When finalized an authentication in
the reverse direction is performed.

After mutual or secure authentication, if encryption is enabled, the initiating
device shall pause and immediately resume encryption to produce a new

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encryption key. Note that this will cause a new encryption key to be generated
from the ACO created during the mutual authentication process, and when E0
encryption is used, the random number sent in the LMP_start_encryption_req
PDU which occurs in response to the resumption of encryption.

4.2.4 Change Current Link Key Type

The current link key can be a semi-permanent link key or a temporary link key.
It may be changed temporarily, but the change shall only be valid for the
current connection, see [Vol 2] Part H, Section 3.1. Changing to a temporary
link key is necessary if the piconet is to support encrypted broadcast. The
current link key shall not be changed before the connection establishment
procedure has completed. This feature is only supported if broadcast
encryption is supported as indicated by the LMP features mask.

 M/O       PDU                                Contents

 O(23)     LMP_temp_rand                      random number
 O(23)     LMP_temp_key                       key
 O(23)     LMP_use_semi_permanent_key         -

Table 4.20: Change current link key PDU


4.2.4.1 Change to a Temporary Link Key

The master starts by creating the master key Kmaster as specified in [Vol 2] Part
H (EQ 4). Then the master shall generate a random number, RAND, and shall
send it to the slave in an LMP_temp_rand PDU. Both sides then calculate an
overlay denoted OVL as OVL= E22(current link key, RAND, 16). The master
shall then send Kmaster protected by a modulo-2 addition with OVL to the slave
in an LMP_temp_key PDU. The slave calculates Kmaster, based on OVL, that
becomes the current link key. It shall be the current link key until the devices
fall back to the semi-permanent link key, see Section 4.2.4.2.

Note: The terminology in this section is the same as used in [Vol 2] Part H,
Section 3.2.8.



            Master                    Slave
             LM                        LM


                                                  LMP_temp_rand

                                                  LMP_temp_key


Sequence 42: Change to a temporary link key




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All sequences described in Section 4.2.4.1, including the mutual authentication
after Kmaster has been created, shall form a single transaction. The transaction
ID shall be set to 0.

When the devices have changed to the temporary key, a mutual authentication
shall be made to confirm that the same link key has been created in both
devices. The first authentication in the mutual authentication shall be
performed with the master as verifier. When finalized an authentication in the
reverse direction is performed.

Should the mutual authentication fail at either side, the LM of the verifier should
start the detach procedure. This will allow the procedure to succeed even
though one of the devices may be erroneous.

4.2.4.2 Semi-Permanent Link Key becomes Current Link Key

After the current link key has been changed to Kmaster, this change can be
undone and the semi-permanent link key becomes the current link key again. If
encryption is used on the link, the procedure to go back to the semi-permanent
link key shall be immediately followed by the master stopping encryption using
the procedure described in Section 4.2.5.4. Encryption may be restarted by the
master according to the procedures in Section 4.2.5.1 subsection 3. This is to
assure that encryption with encryption parameters known by other devices in
the piconet is not used when the semi-permanent link key is the current link
key.


            Master                    Slave
             LM                        LM


                                              LMP_use_semi_permanent_key
                                              LMP_accepted


Sequence 43: Link key changed to the semi-permanent link key


4.2.5 Encryption

If at least one authentication has been performed encryption may be used. Two
encryption mechanisms are defined: E0 encryption (legacy) and AES-CCM
encryption. If both devices support the Secure Connections (Controller
Support) and Secure Connections (Host Support) features, then AES-CCM
shall be used when encryption is enabled. If at least one device does not
support both the Secure Connections (Controller Support) and Secure
Connections (Host Support) features, then E0 shall be used when encryption is
enabled.

In order for the master to use the same encryption parameters for all slaves in
the piconet where E0 encryption would be used it shall issue a temporary key,

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Kmaster. The master shall make this key the current link key for all slaves in the
piconet where E0 encryption would be used before encryption is started, see
Section 4.2.4. This is required if broadcast packets are to be encrypted.

Note: Packets encrypted with broadcast encryption can not be received by
slaves that have AES-CCM encryption enabled. When the local Controller
supports Secure Connections and there are not any slaves in the piconet that
do not support Secure Connections, broadcast packets will not be encrypted
and may be received by slaves that support Secure Connections.

 M/O         PDU                                       Contents

 O           LMP_encryption_mode_req                   encryption mode
 O           LMP_encryption_key_size_req               key size

 O           LMP_start_encryption_req                  random number
 O           LMP_stop_encryption_req                   -

 O (42)      LMP_pause_encryption_req
 O (42)      LMP_resume_encryption_req
 O (136)     LMP_pause_encryption_aes_req              random number

Table 4.21: Encryption handling PDU

All sequences described in Section 4.2.5 shall form a single transaction. The
transaction ID from the LMP_encryption_mode_req PDU shall be used for all
start encryption and stop encryption sequences.

4.2.5.1 Encryption Mode

The master and the slave must agree upon whether to use encryption
(encryption mode=1 in LMP_encryption_mode_req) or not (encryption
mode=0). If the semi-permanent key is used (Key_Flag=0x00) encryption shall
only apply to point-to-point packets. If the master link key is used
(Key_Flag=0x01) encryption shall apply to both point-to-point packets and
broadcast packets. If master and slave agree on the encryption mode, the
master continues to give more detailed information about the encryption.

Devices should never send LMP_encryption_mode_req with an encryption
mode value of 2 however for backwards compatibility if the
LMP_encryption_mode_req is received with an encryption mode value of 2
then it should be treated the same as an encryption mode value of 1.

If both devices support both the Secure Connections (Controller Support) and
Secure Connections (Host Support) features, setting the encryption mode to 0
shall not be allowed. If a device receives an LMP_encryption_mode PDU with
encryption mode set to 0, it shall respond with an LMP_not_accepted PDU with
error code Encryption Mode Not Allowed (0x25).



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The initiating LM shall pause traffic on the ACL-U logical link (see [Vol 2] Part
B, Section 5.3.1). The initiating device shall then send the
LMP_encryption_mode_req PDU. If the responding device accepts the change
in encryption mode then it shall complete the transmission of the current packet
on the ACL logical transport and shall then suspend transmission on the ACL-
U logical link. The responding device shall then send the LMP_accepted PDU.

ACL-U logical link traffic shall only be resumed after the attempt to encrypt or
decrypt the logical transport is completed, i.e. at the end of Sequence 42 (on
failure), 43, 44 or 45.


           Initiating
                                      LM
              LM


                                               LMP_encryption_mode_req
                                               LMP_accepted or LMP_not_accepted



Sequence 44: Negotiation for encryption mode


After a device has sent an LMP_encryption_mode_req PDU it shall not send
an LMP_au_rand PDU before encryption is started. After a device has received
an LMP_encryption_mode_req PDU and sent an LMP_accepted PDU it shall
not send an LMP_au_rand PDU before encryption is started. If an
LMP_au_rand PDU is sent violating these rules, the claimant shall respond
with an LMP_not_accepted PDU with the error code LMP PDU Not Allowed
(0x24). This assures that devices will not have different ACOs when they
calculate the encryption key. If the encryption mode is not accepted or the
encryption key size negotiation results in disagreement the devices may send
an LMP_au_rand PDU again.

4.2.5.2 Encryption Key Size

Note: This section uses the same terms as in [Vol 2] Part H, Section 4.1. The
master sends an LMP_encryption_key_size_req PDU including the suggested
key size Lsug, m, that is initially equal to Lmax, m. If Lmin, s ≤ Lsug, m and the
slave supports Lsug, m it shall respond with an LMP_accepted PDU and Lsug, m
shall be used as the key size. If both conditions are not fulfilled the slave sends
back an LMP_encryption_key_size_req PDU including the slave's suggested
key size Lsug, s. This value shall be the slave's largest supported key size that
is less than Lsug, m. Then the master performs the corresponding test on the
slave’s suggestion. This procedure is repeated until a key size agreement is
reached or it becomes clear that no such agreement can be reached. If an
agreement is reached a device sends an LMP_accepted PDU and the key size
in the last LMP_encryption_key_size_req PDU shall be used. After this,
encryption is started; see Section 4.2.5.3. If an agreement is not reached a
device sends an LMP_not_accepted PDU with the error code Unsupported


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LMP Parameter Value (0x20) and the devices shall not communicate using
encryption.


            Master                    Slave
             LM                        LM


                                                LMP_encryption_key_size_req
                                                LMP_encryption_key_size_req
                                                LMP_encryption_key_size_req




                                                LMP_accepted


Sequence 45: Encryption key size negotiation successful




            Master                    Slave
             LM                        LM


                                                LMP_encryption_key_size_req
                                                LMP_encryption_key_size_req
                                                LMP_encryption_key_size_req




                                                LMP_not_accepted


Sequence 46: Encryption key size negotiation failed


4.2.5.3 Start Encryption

To start encryption, the master issues the random number EN_RAND and
calculates the encryption key. See [Vol 2] Part H, Section 3.2.5. The random
number shall be the same for all slaves in the piconet when broadcast
encryption is used. The master then sends an LMP_start_encryption_req PDU,
that includes EN_RAND.

The slave shall calculate the encryption key when this message is received
and shall acknowledge with an LMP_accepted PDU. For E0, the encryption
key shall be calculated using the E3 algorithm (see [Vol 2] Part H, Section 6.4).
For AES-CCM, the encryption key shall be calculated using the h3 algorithm
(see [Vol 2] Part H, Section 7.7.6). Note: For AES-CCM, the EN_RAND is not
used when creating the encryption key.


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If encryption has been paused, then this sequence shall not be used.


            Master                    Slave
             LM                        LM


                                              LMP_start_encryption_req
                                              LMP_accepted


Sequence 47: Start of encryption


Starting encryption shall be performed in three steps:
1. Master is configured to transmit unencrypted packets and to receive
   encrypted packets.
2. Slave is configured to transmit and receive encrypted packets.
3. Master is configured to transmit and receive encrypted packets.

Between step 1 and step 2, master-to-slave transmission is possible. This is
when an LMP_start_encryption_req PDU is transmitted. Step 2 is triggered
when the slave receives this message. Between step 2 and step 3, slave-to-
master transmission is possible. This is when an LMP_accepted PDU is
transmitted. Step 3 is triggered when the master receives this message.

4.2.5.4 Stop Encryption

To stop encryption a device shall send an LMP_encryption_mode_req PDU
with the parameter encryption mode equal to 0 (no encryption). The other
device responds with an LMP_accepted PDU or an LMP_not_accepted PDU
(the procedure is described in Sequence 44 in Section 4.2.5.1). If accepted,
encryption shall be stopped by the master sending an
LMP_stop_encryption_req PDU and the slave shall respond with an
LMP_accepted PDU according to Sequence 48.

If encryption has been paused, then this sequence shall not be used.


            Master                    Slave
             LM                        LM


                                              LMP_stop_encryption_req

                                              LMP_accepted


Sequence 48: Stop of encryption




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Stopping encryption shall be performed in three steps, similar to the procedure
for starting encryption.
1. Master is configured to transmit encrypted packets and to receive unen-
   crypted packets.
2. Slave is configured to transmit and receive unencrypted packets.
3. Master is configured to transmit and receive unencrypted packets.

Between step 1 and step 2 master to slave transmission is possible. This is
when an LMP_stop_encryption_req PDU is transmitted. Step 2 is triggered
when the slave receives this message. Between step 2 and step 3 slave to
master transmission is possible. This is when an LMP_accepted PDU is
transmitted. Step 3 is triggered when the master receives this message.

4.2.5.5 Pause Encryption

For E0 encryption:
• To pause encryption without disabling encryption, a device shall finalize the
  transmission of the current ACL-U data packet and then send an
  LMP_pause_encryption_req PDU (with the transaction ID set to the role of
  the device at the time the LMP_pause_encryption_req PDU is sent).

For AES-CCM encryption:
• To pause encryption without disabling encryption, a device shall finalize the
  transmission of the current ACL-U data packet and then send an
  LMP_pause_encryption_aes_req PDU (with the transaction ID set to the
  role of the device at the time the LMP_pause_encryption_aes_req PDU is
  sent). The LMP_pause_encryption_aes_req PDU includes a random
  number EN_RAND.

If the responding device is a master, then the master device shall finalize the
transmission of the current ACL-U data packet and then respond with an
LMP_stop_encryption_req PDU to the slave.

If the responding device is a slave, then the slave device shall finalize the
transmission of the current ACL-U data packet and then respond with an
LMP_pause_encryption_req PDU. The master device shall respond to the
LMP_pause_encryption_req PDU with an LMP_stop_encryption_req PDU to
the slave.

When the slave receives the LMP_stop_encryption_req PDU it shall respond
with an LMP_accepted PDU.




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            Master                    Slave
             LM                        LM


                                                LMP_pause_encryption_req
                                                LMP_pause_encryption_req

                                                LMP_stop_encryption_req
                                                LMP_accepted



Sequence 49: Master-initiated pausing of encryption (E0)




            Master                    Slave
             LM                        LM


                                                LMP_pause_encryption_aes_req
                                                LMP_pause_encryption_req
                                                LMP_stop_encryption_req
                                                LMP_accepted



Sequence 50: Master-initiated pausing of encryption (AES-CCM)




            Master                    Slave
             LM                        LM


                                                LMP_pause_encryption_req

                                                LMP_stop_encryption_req

                                                LMP_accepted



Sequence 51: Slave-initiated pausing of encryption (E0)




            Master                    Slave
             LM                        LM


                                                LMP_pause_encryption_aes_req

                                                LMP_stop_encryption_req
                                                LMP_accepted


Sequence 52: Slave-initiated pausing of encryption (AES-CCM)

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For E0 encryption:
• The LMP_pause_encryption_req PDU and LMP_stop_encryption_req PDU
  shall only be rejected when a transaction collision needs to be resolved.

For AES-CCM encryption:
• The LMP_pause_encryption_aes_req PDU and LMP_stop_encryption_req
  PDU shall only be rejected when a transaction collision needs to be
  resolved.

Pausing encryption shall be performed in three steps, similar to the procedure
for stopping encryption.
       1.      Master is configured to transmit encrypted packets and to receive
               unencrypted packets.
       2.      Slave is configured to transmit and receive unencrypted packets.
       3.      Master is configured to transmit and receive unencrypted packets.

Between step 1 and step 2 master-to-slave transmission is possible. This is
when the LMP_stop_encryption_req PDU is transmitted from the master to the
slave. Step 2 is triggered when the slave receives this message. Between step
2 and step 3 slave-to-master transmission is possible. This is when an
LMP_accepted PDU is transmitted. Step 3 is triggered when the master
receives this message.

Note: A device can only restart ACL-U data traffic by resuming encryption
using the procedures in Section 4.2.5.6.

4.2.5.6 Resume Encryption


            Initiating –        Responding –
            Master LM             Slave LM


                                               LMP_start_encryption_req
                                               LMP_accepted


Sequence 53: Initiating Master LM resumes encryption




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            Initiating –        Responding –
             Slave LM            Master LM


                                               LMP_resume_encryption_req
                                               LMP_start_encryption_req
                                               LMP_accepted



Sequence 54: Initiating Slave LM resumes encryption


For E0 encryption:
• If the responding device is a slave, then the slave shall calculate the
  encryption key and respond with an LMP_accepted PDU.
• If the responding device is a master, then the master shall respond with an
  LMP_start_encryption_req PDU. The slave, upon receiving the
  LMP_start_encryption_req PDU from the master, shall calculate the
  encryption key and respond with an LMP_accepted PDU.

For AES-CCM encryption:
If the resume encryption was the result of a Change Connection Link Key pro-
cedure, the LMs shall calculate a new encryption key using the h3 algorithm
(see [Vol 2] Part H, Section 7.7.6).

Note: When AES-CCM is used, the EN_RAND value in the
LMP_start_encryption_req PDU is not used.
• If the responding device is a slave, then the slave shall respond with an
  LMP_accepted PDU.
• If the responding device is a master, then the master shall respond with an
  LMP_start_encryption_req PDU. The slave, upon receiving the
  LMP_start_encryption_req PDU from the master, shall respond with an
  LMP_accepted PDU.

The LMP_resume_encryption_req PDU and the LMP_start_encryption_req
PDU shall not be rejected.

Resuming encryption shall be performed in three steps, similar to the
procedure for starting encryption:

       1.      Master is configured to transmit unencrypted packets and to receive
               encrypted packets.
       2.      Slave is configured to transmit and receive encrypted packets.
       3.      Master is configured to transmit and receive encrypted packets.




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Between step 1 and step 2, master-to-slave transmission is possible. This is
when the LMP_start_encryption_req PDU is transmitted from the master. Step
2 is triggered when the slave receives this message. Between step 2 and step
3, slave-to-master transmission is possible. This is when an LMP_accepted
PDU is transmitted. Step 3 is triggered when the master receives this message.

Note: For a slave-initiated resumption of encryption, step 1 is not started when
the master has received the LMP_resume_encryption_req PDU from the slave,
but when the master sends the LMP_start_encryption_req PDU.

4.2.5.7 Change Encryption Mode, Key or Random Number

If the encryption key or encryption random number need to be changed or if the
current link key needs to be changed according to the procedures in Section
4.2.4, encryption shall be paused and resumed after completion, using the
procedures in Section 4.2.5, Section 4.2.5.1 and Section 4.2.5.2, and Section
4.2.3 for the new parameters to be valid. If the Pause Encryption feature is not
supported by both devices, encryption shall be stopped and re-started after
completion, using the procedures in Section 4.2.5, subsections 3-4 for the new
parameters to be valid.

4.2.5.8 Encryption Key Refresh

When E0 encryption is used, the Link Manager shall refresh the encryption key
within 228 ticks of the Bluetooth clock from the previous start or resume of
encryption. When AES-CCM encryption is used, the Link Manager shall refresh
the encryption key before the PayloadCounter or dayCounter roll over (at least
236 ticks of the Bluetooth clock from the previous start of encryption). To
refresh the encryption key, the Link Manager shall Pause encryption using the
procedure in Section 4.2.5.5 and immediately Resume encryption using the
procedure in Section 4.2.5.6.

If the encryption key has not been refreshed before the rollover event, the link
shall be terminated immediately.

4.2.6 Request Supported Encryption Key Size

When broadcast encryption is supported via the LMP features mask, it is
possible for the master to request a slave's supported encryption key sizes.

 M/O       PDU                                Contents

 O(23)     LMP_encryption_key_size_mask_req
 O(23)     LMP_encryption_key_size_mask_res   key size mask
Table 4.22: Encryption key size request PDU

The master shall send an LMP_encryption_key_mask_req PDU to the slave to
obtain the slave’s supported encryption key sizes.

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The slave shall return a bit mask indicating all broadcast encryption key sizes
supported. The least significant bit shall indicate support for a key size of 1, the
next most significant bit shall indicate support for a key size of 2 and so on up
to a key size of 16. In all cases a bit set to 1 shall indicate support for a key
size; a bit set to 0 shall indicate that the key size is not supported.



          Master LM               Slave LM


                                               LMP_encryption_key_size_mask_req

                                               LMP_encryption_key_size_mask_res


Sequence 55: Request for supported encryption key sizes


4.2.7 Secure Simple Pairing

There are four stages defined in the Secure Simple Pairing LM process:
• IO capabilities exchange
• Public key exchange
• Authentication stage 1
• Authentication stage 2

The devices shall first exchange the IO capabilities to determine the proper
algorithm to be used. Three algorithms have been specified: Numeric
comparison, Passkey entry, Out of band.

In following sections, the device requesting the IO capabilities is referred to as
the "Initiating LM" or "Initiator". The other device is referred to as the "LM" or
"Responder". This designation remains throughout the entire Secure Simple
Pairing procedure.

Note that the Host shall enable Secure Simple Pairing before the LMP Secure
Simple Pairing procedures start.

 M/O              PDU                                     Contents

 O(51)            LMP_io_capability_req                   IO_capabilities,
                                                          OOB_Authentication_Data,
                                                          Authentication_Requirements
 O(51)            LMP_io_capability_res                   IO_capabilities,
                                                          OOB_Authentication_Data,
                                                          Authentication_Requirements

 O(51)            LMP_Simple_Pairing_Confirm              Commitment Value
Table 4.23: Secure simple pairing PDUs



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 M/O                                    PDU                                 Contents

 O(51)                                  LMP_Simple_Pairing_Number           Nonce Value
 O(51)                                  LMP_Dhkey_check                     Confirmation value
 O(51)                                  LMP_Numeric_Comparison_Failed       -

 O(51)                                  LMP_OOB_Failed                      -
 O(51)                                  LMP_keypress_notification           Notification Type
 O(51)                                  LMP_Passkey_Entry_Failed            -

Table 4.23: Secure simple pairing PDUs

4.2.7.1 IO Capability Exchange

The Link Managers shall use the local and remote IO capabilities to determine
which association model shall be used.

If Simple_Pairing_Mode is set to enabled, the Initiator shall request the IO
capabilities from the Host. The initiator shall send an LMP_io_capability_req
PDU to the Responder. If Simple_Pairing_Mode is set to enabled on the
responding device, it shall reply with an LMP_io_capability_res PDU containing
its IO capabilities description.

The OOB_Authentication_Data parameter shall be set as shown in Table 4.24.

                                                                                Local Device

                                                             Does not support          Supports Secure
                                                             Secure Connections        Connections

                  Does not have OOB Data                     No OOB Data Received      No OOB Data Received
                  Does not support
                  Secure Connections.                        OOB Data Received         OOB Data Received
                  P-192 OOB Data Available
  Remote Device




                                       Only P-192 OOB Data
                  Secure Connections




                                                             OOB Data Received         No OOB Data Received
                                       Available
                       Supports




                                       P-192 OOB Data and
                                       P-256 OOB Data        OOB Data Received 1       OOB Data Received
                                       Available
                                       Only P-256 OOB Data
                                       Available             No OOB Data Received 1    OOB Data Received

Table 4.24: Setting the OOB_Authentication_Data parameter
 1. A device that does not support Secure Connections cannot generate P-256 OOB data.




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           Initiating
                                       LM
              LM


                                                 LMP_io_capability_req

                                                 LMP_io_capability_res


Sequence 56: IO Capability Exchange


4.2.7.1.1 IO Capability Exchange Transaction Collision and Resolution

If both Link Managers attempt to become the initiator of the IO capability
exchange, the master Link Manager shall send an LMP_not_accepted_ext
PDU with error code LMP Error Transaction Collision / LL Procedure Collision
(0x23). The slave Link Manager shall respond with the LMP_io_capability_res
PDU.

The master LM shall remain the initiating LM for the remainder of the Secure
Simple Pairing sequences.


            Master                    Slave
             LM                        LM


                                                 LMP_io_capability_req
                                                 LMP_io_capability_req

                                                 LMP_not_accepted_ext (transaction collision)
                                                 LMP_io_capability_res



Sequence 57: IO Capability exchange with transaction collision (master transmitting
LMP_io_capability_req first) and resolution




            Master                    Slave
             LM                        LM


                                                 LMP_io_capability_req
                                                 LMP_io_capability_req
                                                 LMP_not_accepted_ext (transaction collision)

                                                 LMP_io_capability_res



Sequence 58: IO Capability exchange with transaction collision (slave transmitting
LMP_io_capability_req first) and resolution



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4.2.7.2 Public Key Exchange

Once the IO capabilities are exchanged, public keys shall be exchanged
between the two devices.

Since the public key size is longer than the payload body length of a DM1
packet, the exchange shall be done using the LMP LMP_encapsulated_header
and LMP_encapsulated_payload PDUs as defined in Section 4.1.12.

When at least one device does not support Secure Connections, the P-192
curve shall be used for calculating the public and private keys. When both
devices support Secure Connections, the P-256 curve shall be used for
calculating the public and private keys.

The Initiator shall first send its public key, and the Responder shall reply with its
public key.


           Initiating
                                      LM
              LM


                                           LMP_encapsulated_header (public key)

                                           LMP_accepted

                                                                      Repeat N Times

                                           LMP_encapsulated_payload

                                           LMP_accepted


                                           LMP_encapsulated_header (public key)
                                           LMP_accepted

                                                                      Repeat N Times

                                           LMP_encapsulated_payload
                                           LMP_accepted




Sequence 59: Public key exchange


A public key shall be considered as received when the last
LMP_encapsulated_payload has been received and the associated
LMP_accepted PDU has been sent.

The device can then start computing its Diffie Hellman Key.




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4.2.7.3 Authentication Stage 1

One of the following procedures shall be used in Authentication Stage 1:
• If one or both devices have the OOB Authentication Data parameter set to
  Received, the Out-of-Band procedure shall be used.
• If both devices have the Authentication_Requirements parameter set to one
  of the man-in-the middle (MITM) Protection Not Required options, the
  Numeric Comparison procedure shall be used.
• If one or both devices have the Authentication_Requirements parameter set
  to one of the MITM Protection Required options, the Passkey Entry procedure
  shall be used if the either the local or remote IO Capability is set to
  KeyboardOnly and the other IO capability is not set to NoInputNoOutput.
  Otherwise, the Numeric Comparison authentication procedure shall be used.

4.2.7.3.1 Authentication Stage 1: Numeric Comparison

Once public keys have been exchanged, both devices shall generate a random
number.

The Responder shall compute its commitment as defined in Section 7.7.1, and
shall send this value to the Initiator by using LMP_simple_pairing_confirm
PDU.

The Initiator shall then send an LMP_simple_pairing_number PDU with its
generated random number. The Responder shall acknowledge by sending an
LMP_accepted PDU.

The Responder shall then send an LMP_simple_pairing_number containing its
own generated random number. Upon reception, the Initiator shall calculate the
commitment as defined in Section 7.7.1 and compare it to the one received
previously with the LMP_simple_pairing_confirm PDU. If both values are
equal, the Initiator shall respond with an LMP_accepted PDU.


           Initiating
                                      LM
              LM


                                            LMP_simple_pairing_confirm
                                            LMP_simple_pairing_number

                                            LMP_accepted
                                            LMP_simple_pairing_number
                                            LMP_accepted


Sequence 60: Numeric Comparison Authentication: Commitment check success




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4.2.7.3.1.1 Commitment Check Failure

If the calculated commitment by the Initiator is not equal to the received
commitment, the Initiator shall abort the Secure Simple Pairing process by
sending an LMP_not_accepted PDU with reason "Authentication Failure."


           Initiating
                                      LM
              LM


                                               LMP_simple_pairing_confirm
                                               LMP_simple_pairing_number
                                               LMP_accepted
                                               LMP_simple_pairing_number
                                               LMP_not_accepted


Sequence 61: Numeric Comparison Authentication: Commitment check failure


4.2.7.3.1.2 Numeric Comparison Failure on Initiator Side

If the user on the initiating side indicates that the confirm values do not match
(as indicated by the HCI_User_Confirmation_Request_Negative_Reply
command) the initiating LM shall send an LMP_numeric_comparison_failure
PDU.

Secure Simple Pairing process shall then be aborted. The Link Managers shall
not disconnect the connection.


           Initiating
                                      LM
              LM


                                               LMP_numeric_comparison_failed


Sequence 62: Authentication stage 1 Numeric Comparison Failure on Initiator Side


4.2.7.3.1.3 Numeric Comparison Failure on Responder Side

If the user on the responding side indicates that the confirm values do not
match (as indicated by the HCI_User_Confirmation_Request_Negative_Reply
command) the responding LM shall send an LMP_not_accepted PDU in
response to the LMP_dhkey_check PDU.

Simple Pairing process shall then be aborted. The Link Managers shall not
disconnect the connection.



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            Initiating
                                      LM
               LM


                                             LMP_simple_pairing_confirm
                                             LMP_simple_pairing_number
                                             LMP_accepted
                                             LMP_simple_pairing_number

                                             LMP_accepted
                                             LMP_dhkey_check (authentication stage 2)
                                             LMP_not_accepted



Sequence 63: Authentication stage 1: Numeric Comparison Failure on Responder Side


4.2.7.3.2 Authentication Stage 1: Passkey Entry Authentication

The initiating LM shall start the following procedure after receiving the Passkey
Reply from the Host. This procedure shall be repeated 20 times:

       1.     The Initiator and the Responder shall generate a new random
              number.
       2.     The Initiator and the Responder shall calculate the local commitment
              value using the exchanged public keys, the local random number,
              and the passkey from the local Host, according to Section 7.7.1.
       3.     The Initiator shall send an LMP_simple_pairing_confirm PDU with
              the commitment it calculated in step 2.
       4.     The Responder shall respond with an LMP_simple_pairing_confirm
              PDU with the commitment it calculated in step 2.
       5.     The Initiator shall then send an LMP_simple_pairing_number PDU
              with the random number it generated in step 1.
       6.     The Responder shall then calculate commitment from the exchanged
              public keys, the random number it received and the passkey from the
              local Host, according to Section 7.7.1. If the calculated commitment
              and the received commitment are equal, the Responder shall reply
              with an LMP_accepted PDU.
       7.     The Responder shall then send an LMP_simple_pairing_number
              PDU with the random value it generated in step 1.
       8.     The Initiator shall calculate the commitment using exchanged public
              keys, the received the random number it received and the passkey
              from the local Host, according to Section 7.7.1. If the calculated
              commitment is equal to the received commitment, the Initiator shall
              reply with an LMP_accepted PDU.



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           Initiating
                                      LM
              LM


                                                                       Repeat 20 times

                                              LMP_simple_pairing_confirm

                                              LMP_simple_pairing_confirm
                                              LMP_simple_pairing_number
                                              LMP_accepted
                                              LMP_simple_pairing_number
                                              LMP_accepted




Sequence 64: Authentication Passkey entry


When this procedure has successfully passed 20 times, the Secure Simple
Pairing process continues with the Authentication step 2 as described in
Section 4.2.7.4.

4.2.7.3.2.1 Commitment Check Failure on the Responder side

If during one of the 20 repetitions, the commitment calculated by the
Responder is not equal to the one received from the Initiator (step 6), the
Responder shall abort the Secure Simple Pairing process by sending an
LMP_not_accepted PDU with reason "Authentication Failure."

Secure Simple Pairing procedures shall then be aborted. The Link Managers
shall not disconnect the connection.


           Initiating
                                      LM
              LM




                                              LMP_simple_pairing_confirm
                                              LMP_simple_pairing_confirm


                                              LMP_simple_pairing_number
                                              LMP_not_accepted




Sequence 65: Authentication Passkey Entry: Commitment check failure on the Responder side


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4.2.7.3.2.2 Commitment check failure on the Initiator side

If during one of the 20 repetitions, the commitment calculated by the Initiator is
not equal to the one received from the Responder (step 8), the Initiator shall
abort the Secure Simple Pairing process by sending an LMP_not_accepted
PDU with reason "Authentication Failure".

Secure Simple Pairing procedures shall then be aborted. The Link Managers
shall not disconnect the connection.


           Initiating
                                      LM
              LM




                                                LMP_simple_pairing_confirm
                                                LMP_simple_pairing_confirm


                                                LMP_simple_pairing_number
                                                LMP_accepted


                                                LMP_simple_pairing_number
                                                LMP_not_accepted




Sequence 66: Authentication Passkey Entry: Commitment check failure on the Initiator side


4.2.7.3.2.3 Passkey Entry Failure on Initiator Side

If the initiating side indicates that the passkey was not entered or canceled (as
indicated by the HCI_Passkey_Request_Negative_Reply command) the
initiating LM shall send an LMP_passkey_entry_failed PDU.

Secure Simple Pairing process shall then be aborted. The Link Managers shall
not disconnect the connection.



           Initiating
                                      LM
              LM


                                                LMP_passkey_entry_failed


Sequence 67: Authentication stage 1 Passkey Entry Failure on Initiator Side




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4.2.7.3.3 Passkey Entry Failure on Responding Side

If the responding side indicates that the passkey was not entered or canceled
(as indicated by the HCI_Passkey_Request_Negative_Reply command), the
responding LM shall send an LMP_not_accepted PDU in response to the
LMP_simple_pairing_config PDU.

Simple Pairing process shall then be aborted. The Link Managers shall not
disconnect the connection.



            Initiating
                                      LM
               LM


                                              LMP_simple_pairing_confirm
                                              LMP_not_accepted



Sequence 68: Authentication Stage 1 Passkey Entry Failure on Responding Side


4.2.7.3.4         Keypress Notifications

A Controller that allows the Host to change its IO capabilities shall send
notifications on key presses to the remote side using the
LMP_keypress_notification PDU when the Host sets the IO capabilities to
KeyboardOnly IO and when Secure Simple Pairing is supported on the Host
and Controller.



            Initiating
                                      LM
               LM


                                              LMP_keypress_notification



Sequence 69: Keypress Notifications


4.2.7.3.5 Authentication Stage 1: OOB

Upon reception of the OOB information (as defined in [Vol 2] Part H, Section
7.2.2) from the Host, the devices shall compare the received commitment from
its Host, with the one calculated using the secret number received from the
Host and the public key received from the remote device. If the local Host has
not set the OOB Authentication Data Present, the LM shall set the remote
secret number to zero and base the subsequent calculations on this value.

If the commitment check on the initiator is valid, the Initiator shall then generate
a random number (nonce) and send it to the Responder using an


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LMP_simple_pairing_number PDU. If the commitment succeeds, the
Responder shall acknowledge by sending an LMP_accepted PDU otherwise it
shall send an LMP_not_accepted PDU. The Responder shall then generate a
random number (nonce) and send it to the Initiator using an
LMP_simple_pairing_number PDU. If the commitment succeeds, the Initiator
shall acknowledge by sending an LMP_accepted PDU otherwise it shall send
an LMP_not_accepted PDU.

If the commitment values don't match in the Initiator, the procedure in Section
4.2.7.3.5.2 shall apply.

If the commitment values don't match in the Responder, the procedure in
Section 4.2.7.3.5.1 shall apply.



           Initiating
                                      LM
              LM


                                             LMP_simple_pairing_number
                                             LMP_accepted
                                             LMP_simple_pairing_number
                                             LMP_accepted



Sequence 70: Authentication OOB: Only one device is OOB-r capable


When these operations have been passed successfully, Secure Simple Pairing
procedures continue with Authentication step 2 as described in Section 4.2.7.4.

4.2.7.3.5.1 Commitment Check Failure on the Responder Side

If the commitment received OOB from the Host is not equal to the calculated
commitment, the Responder shall send an LMP_not_accepted PDU with
reason "Authentication Failure" in response to LMP_simple_pairing_number
PDU.

Secure Simple Pairing process shall then be aborted. The Link Managers shall
not disconnect the connection.




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           Initiating
                                      LM
              LM


                                                LMP_simple_pairing_number

                                                LMP_not_accepted



Sequence 71: Authentication stage 1 OOB: Commitment check failure on the Responder side


4.2.7.3.5.2 Commitment Check Failure on the Initiator Side

If the commitment received OOB from the Host is not equal to the calculated
commitment, the Initiator shall send an LMP_not_accepted PDU with reason
"Authentication Failure" in response to LMP_simple_pairing_number PDU.

Secure Simple Pairing process shall then be aborted. The Link Managers shall
not disconnect the connection.



           Initiating
                                      LM
              LM


                                                LMP_simple_pairing_number
                                                LMP_accepted
                                                LMP_simple_pairing_number
                                                LMP_not_accepted



Sequence 72: Authentication stage 1 OOB: Commitment check failure on the Initiator side


4.2.7.3.6 Out-of-Band Information not Available on the Initiator Side

If the Host on the initiating side does not have out-of-band information the
Initiator shall send an LMP_oob_failed PDU.

Simple Pairing process shall then be aborted. The Link Managers shall not
disconnect the connection.



           Initiating
                                      LM
              LM


                                                LMP_oob_failed



Sequence 73: Authentication stage 1 OOB: OOB information not available on the Initiator side


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4.2.7.4 Authentication stage 2: DHKey Check

At this stage, both devices compute new confirmation values based on Diffie-
Hellman key and previously exchanged information according to Section 7.7.4.

The Initiator shall send an LMP_DHKey_check PDU to the Responder
including the confirmation value it has computed. Upon reception, the
Responder shall reply with an LMP_accepted PDU if the received value is
equal to the one it has calculated according to Section 7.7.4. If it fails, refer to
Section 4.2.7.3.5.1.

The Responder shall then send an LMP_DHKey_check PDU to the Initiator
including its confirmation value it has computed. Upon reception, the Initiator
shall reply with an LMP_accepted PDU if the received value is equal to the one
it has calculated according to Section 7.7.4. If it fails, refer to Section
4.2.7.4.1.1.

At this point, both devices shall compute the link key according to Section
7.7.3.

If at least one device does not support both the Secure Connections (Controller
Support) and the Secure Connections (Host Support) features, the Initiator
shall then start standard mutual authentication as described in Section 4.2.1.1

If both devices support both the Secure Connections (Controller Support) and
the Secure Connections (Host Support) features, the Initiator shall then start
secure authentication as described in Section 4.2.1.4.

After secure authentication, if encryption is enabled, the initiating device shall
pause and immediately resume encryption to produce a new encryption key.
Note: This will cause a new encryption key to be generated using the h3
function including the ACO created during the secure authentication process.


           Initiating
                                      LM
              LM


                                           LMP_DHKey_check

                                           LMP_accepted
                                           LMP_DHKey_check

                                           LMP_accepted


Sequence 74: DHKey check




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4.2.7.4.1 Check Failure on the Responder Side

If the confirmation value received via LMP by the Responder is not equal to the
one it has calculated according to Section 7.7.4, the Responder shall send an
LMP_not_accepted PDU with reason "Authentication Failure".

Secure Simple Pairing procedures shall then be aborted. The Link Managers
shall not disconnect the connection.


           Initiating
                                      LM
              LM


                                                LMP_DHKey_check

                                                LMP_not_accepted



Sequence 75: DHKey check: Check failure on the Responder side


4.2.7.4.1.1 Check Failure on the Initiator Side

If the confirmation value received via LMP by the Initiator is not equal to the
one it has calculated according to Section 7.7.4, the Initiator shall send an
LMP_not_accepted PDU with reason "Authentication Failure".

Secure Simple Pairing procedures shall then be aborted. The Link Managers
shall not disconnect the connection.



           Initiating
                                      LM
              LM


                                                LMP_DHKey_check
                                                LMP_accepted
                                                LMP_DHKey_check

                                                LMP_not_accepted



Sequence 76: DHKey check: check failure on the Initiator side


4.3 INFORMATIONAL REQUESTS

4.3.1 Timing Accuracy

LMP supports requests for the timing accuracy. This information can be used to
minimize the scan window during piconet physical channel re-synchronization
(see [Vol 2] Part B, Section 2.2.5.2). The timing accuracy parameters returned

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are the long term drift measured in ppm and the long term jitter measured in µs
of the worst case clock used. These parameters are fixed for a certain device
and shall be identical when requested several times. Reported time accuracy
shall not include changes caused by performing Piconet Clock Adjustment. If
timing accuracy information has not been received from the remote device, the
worst-case values (drift=250ppm and jitter=10µs) shall be used.

 M/O      PDU                              Contents

 O(4)     LMP_timing_accuracy_req          -

 O(4)     LMP_timing_accuracy_res          drift
                                           jitter

Table 4.25: Request limited timing PDU




           Initiating
                                      LM
              LM


                                               LMP_timing_accuracy_req
                                               LMP_timing_accuracy_res


Sequence 77: The requested device supports timing accuracy information




           Initiating
                                      LM
              LM


                                               LMP_timing_accuracy_req

                                               LMP_not_accepted


Sequence 78: The requested device does not support timing accuracy information


4.3.2 Clock Offset

The clock offset can be used to speed up the paging time the next time the
same device is paged. The master can request the clock offset at anytime
following a successful baseband paging procedure (i.e., before, during or after
connection setup). The clock offset shall be defined by the following equation:

(CLKN16-2 slave - CLKN16-2 master) mod 2**15.




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 M/O       PDU                        Contents

 M         LMP_clkoffset_req          -
 M         LMP_clkoffset_res          clock offset
Table 4.26: PDUs used for clock offset request.



            Master                    Slave
             LM                        LM


                                                 LMP_clkoffset_req
                                                 LMP_clkoffset_res


Sequence 79: Clock offset requested


4.3.3 LMP Version

LMP supports requests for the version of the LM protocol. The
LMP_version_req and LMP_version_res PDUs contain three parameters:
VersNr, CompId and SubVersNr. VersNr specifies the version of the Bluetooth
LMP specification that the device supports. CompId is used to track possible
problems with the lower Bluetooth layers. All companies that create a unique
implementation of the LM shall have their own CompId. The same company is
also responsible for the administration and maintenance of the SubVersNr. It is
recommended that each company has a unique SubVersNr for each RF/BB/LM
implementation. For a given VersNr and CompId, the values of the SubVersNr
shall increase each time a new implementation is released. For both CompId
and SubVersNr the value 0xFFFF means that no valid number applies. There
is no ability to negotiate the version of the LMP. The sequence below is only
used to exchange the parameters. LMP version can be requested at anytime
following a successful baseband paging procedure.



 M/O       PDU                        Contents

 M         LMP_version_req            VersNr
                                      CompId
                                      SubVersNr
 M         LMP_version_res            VersNr
                                      CompId
                                      SubVersNr

Table 4.27: PDUs used for LMP version request




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           Initiating
                                       LM
              LM


                                                 LMP_version_req

                                                 LMP_version_res


Sequence 80: Request for LMP version


4.3.4 Supported Features

The supported features may be requested at anytime following a successful
baseband paging procedure by sending the LMP_features_req PDU. Upon
reception of an LMP_features_req PDU, the receiving device shall return an
LMP_features_res PDU.

 The extended features mask provides support for more than 64 features.
Support for the extended features mask is indicated by the presence of the
appropriate bit in the LMP features mask. The LMP_features_req_ext and
LMP_features_res_ext PDUs operate in precisely the same way as the
LMP_features_req and LMP_features_res PDUs except that they allow the
various pages of the extended features mask to be requested. The
LMP_features_req_ext may be sent at any time following the exchange of the
LMP_features_req and LMP_features_rsp PDUs.

The LMP_features_req_ext PDU contains a feature page index that specifies
which page is requested and the contents of that page for the requesting
device. Pages are numbered from 0-255 with page 0 corresponding to the
normal features mask. Each page consists of 64 bits. If a device does not
support any page number it shall return a mask with every bit set to 0. It also
contains the maximum features page number containing any non-zero bit for
this device. The recipient of an LMP_features_req_ext PDU shall respond with
an LMP_features_res_ext PDU containing the same page number and the
appropriate features page along with its own maximum features page number.

If the extended features request is not supported then all bits in all extended
features pages for that device shall be assumed to be zero.



 M/O       PDU                        Contents

 M         LMP_features_req           features
 M         LMP_features_res           features
Table 4.28: PDUs used for features request




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 M/O       PDU                        Contents

 O(63)     LMP_features_req_ext       features page
                                      max supported page
                                      extended features
 O(63)     LMP_features_res_ext       features page
                                      max supported page
                                      extended features
Table 4.28: PDUs used for features request



           Initiating
                                       LM
              LM


                                                 LMP_features_req
                                                 LMP_features_res



Sequence 81: Request for supported features




           Initiating
                                       LM
              LM


                                                 LMP_features_req_ext

                                                 LMP_features_res_ext


Sequence 82: Request for extended features


4.3.5 Name Request

LMP supports name request to another device. The name is a user-friendly
name associated with the device and consists of a maximum of 248 bytes
coded according to the UTF-8 standard. The name is fragmented over one or
more DM1 packets. When an LMP_name_req PDU is sent, a name offset
indicates which fragment is expected. The corresponding LMP_name_res PDU
carries the same name offset, the name length indicating the total number of
bytes in the name of the device and the name fragment, where:
• name fragment(N) = name(N + name offset), if (N + name offset) < name length
• name fragment(N) = 0,otherwise.

Here 0 ≤ N ≤ 13. In the first sent LMP_name_req PDU, name offset=0.
Sequence 83 is then repeated until the initiator has collected all fragments of



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the name. The name request may be made at any time following a successful
baseband paging procedure.

 M/O         PDU                               Contents

 M           LMP_name_req                      name offset
 M           LMP_name_res                      name offset
                                               name length
                                               name fragment

Table 4.29: Name request PDUs




            Initiating
                                          LM
               LM


                                                    LMP_name_req
                                                    LMP_name_res



Sequence 83: Device’s name requested and it responses


4.4 ROLE SWITCH

4.4.1 Slot Offset

With LMP_slot_offset the information about the difference between the slot
boundaries in different piconets is transmitted. The LMP_slot_offset PDU may
be sent anytime after the baseband paging procedure has completed. This
PDU carries the parameters slot offset and BD_ADDR. The slot offset shall be
the time in microseconds from the start of a master transmission in the current
piconet to the start of the next following master transmission in the piconet
where the BD_ADDR device (normally the slave) is master at the time that the
request is interpreted by the BD_ADDR device.



  Master transmissions in
  piconet where slave becomes
  the master after role switch


  Master transmissions in
  piconet before role switch


                                          Slot offset in
                                          microseconds

Figure 4.2: Slot offset for role switch




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See Section 4.4 for the use of LMP_slot_offset in the context of the role switch.
In the case of role switch the BD_ADDR is that of the slave device.

 M/O      PDU                                  Contents

 O(3)     LMP_slot_offset                      slot offset
                                               BD_ADDR
Table 4.30: Slot Offset PDU




           Initiating
                                       LM
              LM


                                                  LMP_slot_offset


Sequence 84: Slot offset information is sent


4.4.2 Role Switch

Since the paging device always becomes the master of the piconet, a switch of
the master slave role is sometimes needed, see [Vol 2] Part B, Section 8.6.5. A
role switch may be performed anytime after the baseband paging procedure
has completed.

Support for LMP_slot_offset is mandatory if LMP_switch_req is supported.

The LMP_slot_offset shall be sent only if the ACL logical transport is in active
mode. The LMP_switch_req shall be sent only if the ACL logical transport is in
active mode, when encryption is disabled or paused, and all synchronous
logical transports on the same physical link are disabled. Additionally,
LMP_slot_offset or LMP_switch_req shall not be initiated or accepted while a
synchronous logical transport is being negotiated by LM.

 M/O       PDU                            Contents

 O(5)      LMP_switch_req                 switch instant
 O(5)      LMP_slot_offset                slot offset
                                          BD_ADDR

Table 4.31: Role switch PDUs

The initiating LM shall pause traffic on the ACL-U logical link (see [Vol 2] Part
B, Section 5.3.1). If the encryption mode is set to "encryption" and both devices
support pausing encryption, then the initiating device shall initiate the pause
encryption sequence (see Section 4.2.5.5.) It shall then send an
LMP_slot_offset PDU immediately followed by an LMP_switch_req PDU. If the
master accepts the role switch and encryption is not already paused, it shall
pause traffic on the ACL-U logical link (see [Vol 2] Part B, Section 5.3.1) and

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respond with an LMP_accepted PDU. When the role switch has been
completed at the baseband level (successfully or not) if encryption was
paused, the device that paused encryption shall initiate the resume encryption
sequence (see Section 4.2.5.6). If encryption was not paused, both devices
shall re-enable transmission on the ACL-U logical link. If the master rejects the
role switch it responds with an LMP_not_accepted PDU and the slave re-
enables transmission on the ACL-U logical link. The transaction ID for the role
switch PDUs in the sequence (LMP_slot_offset and LMP_switch_req along
with the associated LMP_accepted or LMP_not_accepted) shall be set to 1.


             Slave                   Master
              LM                      LM


                                              LMP_slot_offset
                                              LMP_switch_req

                                              LMP_accepted or LMP_not_accepted



Sequence 85: Role switch (slave initiated)


If the master initiates the role switch and if the encryption mode is set to
"encryption" and both devices support pausing encryption, the master device
shall initiate the pause encryption sequence (See Section 4.2.5.5), otherwise it
shall pause traffic on the ACL-U logical link (see [Vol 2] Part B, Section 5.3.1)
and send an LMP_switch_req PDU. If the slave accepts the role switch and
encryption is not already paused, it shall pause traffic on the ACL-U logical link
(see [Vol 2] Part B, Section 5.3.1) and responds with an LMP_slot_offset PDU
immediately followed by an LMP_accepted PDU. When the role switch has
been completed at the baseband (successfully or not) if encryption was
paused, the device that paused encryption shall initiate the resume encryption
sequence (see Section 4.2.5.6). When AES-CCM encryption is used, the LMs
shall calculate a new encryption key using the h3 algorithm (see [Vol 2] Part H,
Section 7.7.6) with the BD_ADDRs for the new master and slave prior to
resuming encryption. If encryption was not paused, both devices re-enable
transmission on the ACL-U logical link. If the slave rejects the role switch it
responds with an LMP_not_accepted PDU and the master re-enables
transmission on the ACL-U logical link. The transaction ID for the role switch
PDUs in the sequence (LMP_slot_offset and LMP_switch_req along with the
associated LMP_accepted or LMP_not_accepted) shall be set to 0.




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            Master                    Slave
             LM                        LM


                                              LMP_switch_req

                                              LMP_slot_offset (if LMP_accepted)
                                              LMP_accepted or LMP_not_accepted



Sequence 86: Role switch (master initiated)


The LMP_switch_req PDU contains a parameter, switch instant, which
specifies the instant at which the TDD switch is performed. This is specified as
a Bluetooth clock value of the master's clock, that is available to both devices.
This instant is chosen by the sender of the message and shall be at least
2*Tpoll or 32 (whichever is greater) slots in the future. The switch instant shall
be within 12 hours of the current clock value to avoid clock wrap.

The sender of the LMP_switch_req PDU selects the switch instant and queues
the LMP_switch_req PDU to LC for transmission and starts a timer to expire at
the switch instant. When the timer expires it initiates the mode switch. In the
case of a master initiated switch if the LMP_slot_offset PDU has not been
received by the switch instant the role switch is carried out without an estimate
of the slave's slot offset. If an LMP_not_accepted PDU is received before the
timer expires then the timer is stopped and the role switch shall not be initiated.

When the LMP_switch_req is received the switch instant is compared with the
current master clock value. If it is in the past then the instant has been passed
and an LMP_not_accepted PDU with the error code Instant Passed (0x28)
shall be returned. If it is in the future then an LMP_accepted PDU shall be
returned assuming the role switch is allowed and a timer is started to expire at
the switch instant. When this timer expires the role switch shall be initiated.

After a successful role switch the supervision timeout and poll interval (Tpoll)
shall be set to their default values. The authentication state and the ACO shall
remain unchanged. Adaptive Frequency Hopping shall follow the procedures
described in [Vol 2] Part B, Section 8.6.5. The default value for max_slots shall
be used.




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4.5 MODES OF OPERATION

4.5.1 Hold Mode

The ACL logical transport of a connection between two Bluetooth devices can
be placed in hold mode for a specified hold time. See [Vol 2] Part B, Section 8.8
for details.

 M/O       PDU                        Contents

 O(6)      LMP_hold                   hold time, hold instant

 O(6)      LMP_hold_req               hold time, hold instant
Table 4.32: Hold mode PDUs

The LMP_hold and LMP_hold_req PDUs both contain a parameter, hold
instant, that specifies the instant at which the hold becomes effective. This is
specified as a Bluetooth clock value of the master's clock, that is available to
both devices. The hold instant is chosen by the sender of the message and
should be at least 6*Tpoll slots in the future. The hold instant shall be within 12
hours of the current clock value to avoid clock wrap.

4.5.1.1 Master Forces Hold Mode

The master may force hold mode if there has previously been a request for
hold mode that has been accepted by the slave. The hold time included in the
PDU when the master forces hold mode shall not be longer than any hold time
the slave has previously accepted when there was a request for hold mode.

The master LM shall first pause traffic on the ACL-U logical link (see [Vol 2]
Part B, Section 5.3.1). It shall select the hold instant and queue the LMP_hold
PDU to its LC for transmission. It shall then start a timer to wait until the hold
instant occurs. When this timer expires then the connection shall enter hold
mode. If the baseband acknowledgment for the LMP_hold PDU is not received
then the master may enter hold mode, but it shall not use its low accuracy clock
during the hold.

When the slave LM receives an LMP_hold PDU it compares the hold instant
with the current master clock value. If it is in the future then it starts a timer to
expire at this instant and enters hold mode when it expires.

When the master LM exits from Hold mode it re-enables transmission on the
ACL-U logical link.




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            Master                    Slave
             LM                        LM


                                              LMP_hold


Sequence 87: Master forces slave into hold mode


4.5.1.2 Slave Forces Hold Mode

The slave may force hold mode if there has previously been a request for hold
mode that has been accepted by the master. The hold time included in the
PDU when the slave forces hold mode shall not be longer than any hold time
the master has previously accepted when there was a request for hold mode.

The slave LM shall first complete the transmission of the current packet on the
ACL logical transport and then shall suspend transmission on the ACL-U
logical link. It shall select the hold instant and queue the LMP_hold PDU to its
LC for transmission. It shall then wait for an LMP_hold PDU from the master
acting according to the procedure described in Section 4.5.1.1.

When the master LM receives an LMP_hold PDU it shall pause traffic on the
ACL-U logical link (see [Vol 2] Part B, Section 5.3.1). It shall then inspect the
hold instant. If this is less than 6*Tpoll slots in the future it shall modify the
instant so that it is at least 6*Tpoll slots in the future. It shall then send an
LMP_hold PDU using the mechanism described in Section 4.5.1.1.

When the master and slave LMs exit from Hold mode they shall re-enable
transmission on the ACL-U logical link.


            Master                    Slave
             LM                        LM


                                              LMP_hold

                                              LMP_hold



Sequence 88: Slave forces master into hold mode


4.5.1.3 Master or Slave Requests Hold Mode

The master or the slave may request to enter hold mode. Upon receipt of the
request, the same request with modified parameters may be returned or the
negotiation may be terminated. If an agreement is seen an LMP_accepted
PDU terminates the negotiation and the ACL link is placed in hold mode. If no
agreement is seen, an LMP_not_accepted PDU with the error code


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Unsupported LMP Parameter Value (0x20) terminates the negotiation and hold
mode is not entered.

The initiating LM shall pause traffic on the ACL-U logical link (see [Vol 2] Part
B, Section 5.3.1). On receiving an LMP_hold_req PDU the receiving LM shall
complete the transmission of the current packet on the ACL logical transport
and then shall suspend transmission on the ACL-U logical link.

The LM sending the LMP_hold_req PDU selects the hold instant, that shall be
at least 9*Tpoll slots in the future. If this is a response to a previous
LMP_hold_req PDU and the contained hold instant is at least 9*Tpoll slots in the
future then this shall be used. The LMP_hold_req PDU shall then be queued to
its LC for transmission and a timer shall be started to expire at this instant and
the connection enters hold mode when it expires unless an LMP_not_accepted
or LMP_hold_req PDU is received by its LM before that point. If the LM
receiving LMP_hold_req PDU agrees to enter hold mode it shall return an
LMP_accepted PDU and shall start a timer to expire at the hold instant. When
this timer expires it enters hold mode.

When each LM exits from Hold mode it shall re-enable transmission on the
ACL-U logical link.


           Initiating
                                      LM
              LM


                                            LMP_hold_req
                                            LMP_hold_req
                                            LMP_hold_req




                                            LMP_accepted or LMP_not_accepted



Sequence 89: Negotiation for hold mode


4.5.2 This Section no longer used



4.5.3 Sniff Mode

To enter sniff mode, master and slave negotiate a sniff interval Tsniff and a sniff
offset, Dsniff, that specifies the timing of the sniff slots. The offset determines
the time of the first sniff slot; after that the sniff slots follow periodically with the
sniff interval Tsniff. To avoid clock wrap-around during the initialization, one of
two options is chosen for the calculation of the first sniff slot. A timing control


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flag in the message from the master indicates this. Only bit1 of the timing
control flag is valid.

When the ACL logical transport is in sniff mode the master shall only start a
transmission in the sniff slots. Two parameters control the listening activity in
the slave: the sniff attempt and the sniff timeout. The sniff attempt parameter
determines for how many slots the slave shall listen when the slave is not
treating this as a scatternet link, beginning at the sniff slot, even if it does not
receive a packet with its own LT_ADDR. The sniff timeout parameter
determines for how many additional slots the slave shall listen when the slave
is not treating this as a scatternet link if it continues to receive only packets with
its own LT_ADDR. It is not possible to modify the sniff parameters while the
device is in sniff mode.

 M/O      PDU                  Contents

 O(7)     LMP_sniff_req        timing control flags
                               Dsniff
                               Tsniff
                               sniff attempt
                               sniff timeout
 O(7)     LMP_unsniff_req      -
Table 4.33: Sniff mode PDUs


4.5.3.1 Master or Slave Requests Sniff Mode

Either the master or the slave may request entry to sniff mode. The process is
initiated by sending an LMP_sniff_req PDU containing a set of parameters. The
receiving LM shall then decide whether to reject the attempt by sending an
LMP_not_accepted PDU, to suggest different parameters by replying with an
LMP_sniff_req PDU or to accept the request.

Before the first time that the master sends LMP_sniff_req in a transaction it
shall enter sniff transition mode. If the master receives or sends an
LMP_not_accepted PDU it shall exit from sniff transition mode.

If the master receives an LMP_sniff_req PDU it shall enter sniff transition mode
(if not already in it) and then determine whether to accept the request. The
master may reply with an LMP_not_accepted PDU or if it can enter sniff mode
but requires a different set of parameters it shall respond with an
LMP_sniff_req PDU containing the new parameters. If the master decides that
the parameters are acceptable then it shall send an LMP_accepted PDU; when
it receives the baseband acknowledgment for this PDU it shall exit sniff
transition mode and enter sniff mode.

If the master decides to accept the request it shall send an LMP_accepted
PDU. When the master receives the baseband acknowledgment for this PDU it
shall exit sniff transition mode and enter sniff mode.


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If the master receives an LMP_accepted PDU the master shall exit from sniff
transition mode and enter sniff mode.

If the slave receives an LMP_sniff_req PDU it shall determine whether to
accept the request. The slave may reply with an LMP_not_accepted PDU to
reject the request or, if it can enter sniff mode but requires a different set of
parameters it shall respond with an LMP_sniff_req PDU containing the new
parameters. If the slave decides that the parameters are acceptable then it
shall send an LMP_accepted PDU and enter sniff mode. If the slave receives
an LMP_not_accepted PDU it shall terminate the attempt to enter sniff mode.


           Initiating
                                      LM
              LM


                                           LMP_sniff_req
                                           LMP_sniff_req
                                           LMP_sniff_req




                                           LMP_accepted or LMP_not_accepted



Sequence 90: Negotiation for sniff mode


4.5.3.2 Moving a Slave from Sniff Mode to Active Mode

Sniff mode may be exited by either the master or the slave sending an
LMP_unsniff_req PDU. The requested device shall reply with an
LMP_accepted PDU.

If the master requests an exit from sniff mode it shall enter sniff transition mode
and then send an LMP_unsniff_req PDU. When the slave receives the
LMP_unsniff_req it shall exit from sniff mode and reply with an LMP_accepted
PDU. When the master receives the LMP_accepted PDU it shall exit from sniff
transition mode and enter active mode.

If the slave requests an exit from sniff mode it shall send an LMP_unsniff_req
PDU. When the master receives the LMP_unsniff_req PDU it shall enter sniff
transition mode and then send an LMP_accepted PDU. When the slave
receives the LMP_accepted PDU it shall exit from sniff mode and enter active
mode. When the master receives the baseband acknowledgment for the
LMP_accepted PDU it shall leave sniff transition mode and enter active mode.




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           Initiating
                                      LM
              LM


                                             LMP_unsniff_req

                                             LMP_accepted



Sequence 91: Slave moved from sniff mode to active mode


4.5.3.3 Sniff Subrating

Once sniff mode has been started, sniff subrating may be initiated by either
Link Manager.

The LMP_sniff_subrating_req and LMP_sniff_subrating_res PDUs specify
parameters that the peer and initiating device shall use respectively for sniff
subrating.

The sniff subrating instant value shall be used to calculate the first sniff
subrating anchor point. The sniff subrating instant value shall be a maximum of
216 time slots (40.9 seconds) from the current master clock and shall be a sniff
anchor point. The sniff subrating instant value should indicate a clock value in
the future with respect to the clock value when the LMP message is first sent.

If the LMP_sniff_subrating_req PDU is sent by the master, the sniff subrating
instant value shall be used. The slave device shall reply with an
LMP_sniff_subrating_res PDU using the same sniff subrating instant value
given by the master.

When the LMP_sniff_subrating_req PDU is sent by the slave, the sniff
subrating instant value shall be ignored. The master device shall reply with an
LMP_sniff_subrating_res PDU with the sniff subrating instant value that shall
be used for sniff subrating.

The initiating device shall not transition to the new sniff subrating parameters
until the sniff subrating instant has passed and the LMP_sniff_subrating_res
PDU has been received. The non-initiating device shall remain in sniff mode
and shall not transition to the new sniff subrating parameters until after the sniff
subrating instant has passed and the baseband acknowledgment of the
LMP_sniff_subrating_res PDU has been received.




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           Initiating
                                      LM
              LM


                                                  LMP_sniff_subrating_req
                                                  LMP_sniff_subrating_res


Sequence 92: LM accepts sniff subrating request


A device shall not send a new LMP_sniff_subrating_req PDU until the previous
sniff subrating transaction has completed and the sniff subrating instant has
passed.

The maximum clock interval between two sniff subrating anchor points shall be
less than the link supervision timeout. If the link supervision timeout needs to
be updated to a shorter value than the clock interval between two sniff
subrating anchor points, the master shall disable sniff subrating, shall send the
LMP_Supervision_Timeout PDU with the new supervision timeout value, and
shall start using the new supervision timeout value after receiving a baseband
ACK for the LMP_Supervision_Timeout PDU. Upon reception of the
LMP_Supervision_Timeout PDU the slave shall disable sniff subrating and
shall start using the new supervision timeout value.

The master shall initiate sniff subrating with the max_sniff_subrate parameter
less than the new supervision timeout. The slave shall respond with the
LMP_sniff_subrating_res PDU with the max_sniff_subrate parameter less than
the new supervision timeout.

Note: When changing the link supervision timeout while sniff subrating is
enabled, refer to Section 4.5.3.3.

4.6 LOGICAL TRANSPORTS
When a connection is first established between two devices the connection
consists of the ACL logical transport (carrying the ACL-C logical link for LMP
messages and the ACL-U logical link for L2CAP data) and the ASB logical
transport carrying the ASB-C logical links for LMP messages and the ASB-U
logical link for L2CAP data. One or more synchronous logical transports (SCO
or eSCO) may then be added. A new logical transport shall not be created if it
would cause all slots to be allocated to reserved slots on secondary
LT_ADDRs.

4.6.1 SCO Logical Transport

The SCO logical transport reserves slots separated by the SCO interval, Tsco.
The first slot reserved for the SCO logical transport is defined by Tsco and the
SCO offset, Dsco. See [Vol 2] Part B, Section 8.6.2 for details. A device shall

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initiate a request for HV2 or HV3 packet type only if the other device supports it
(bits 12, 13) in its features mask. A device shall initiate CVSD, μ-law or A-law
coding or uncoded (transparent) data only if the other device supports the
corresponding feature. To avoid problems with a wrap-around of the clock
during initialization of the SCO logical transport, the timing control flags
parameter is used to indicate how the first SCO slot shall be calculated. Only
bit1 of the timing control flags parameter is valid. The SCO link is distinguished
from all other SCO links by a SCO handle. The SCO handle zero shall not be
used.

 M/O      PDU                              Contents

                                           SCO handle
                                           timing control flags
                                           Dsco
 O(11)    LMP_SCO_link_req
                                           Tsco
                                           SCO packet
                                           air mode
                                           SCO handle
 O(11)    LMP_remove_SCO_link_req
                                           error
Table 4.34: SCO link management PDUs


4.6.1.1 Master Initiates a SCO Link

When establishing a SCO link the master sends a request, a
LMP_SCO_link_req PDU, with parameters that specify the timing, packet type
and coding that will be used on the SCO link. Each of the SCO packet types
supports three different voice coding formats on the air-interface: µ-law log
PCM, A-law log PCM and CVSD. The air coding by log PCM or CVSD may be
deactivated to achieve a transparent synchronous data link at 64 kb/s.

The slots used for the SCO links are determined by three parameters
controlled by the master: Tsco, Dsco and a flag indicating how the first SCO slot
is calculated. After the first slot, the SCO slots follow periodically at an interval
of Tsco.

If the slave does not accept the SCO link, but can operate with a different set of
SCO parameters, it can indicate what it does not accept in the error code field
of LMP_not_accepted PDU. The master may then issue a new request with
modified parameters.

The SCO handle in the message shall be different from existing SCO link(s).

If the SCO packet type is HV1 the LMP_accepted shall be sent using the DM1
packet.




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            Master                    Slave
             LM                        LM


                                                LMP_SCO_link_req

                                                LMP_accepted or LMP_not_accepted


Sequence 93: Master requests a SCO link


4.6.1.2 Slave Initiates a SCO Link

The slave may initiate the establishment of a SCO link. The slave sends an
LMP_SCO_link_req PDU, but the parameters timing control flags and Dsco are
invalid as well as the SCO handle, that shall be zero. If the master is not
capable of establishing a SCO link, it replies with an LMP_not_accepted PDU.
Otherwise it sends back an LMP_SCO_link_req PDU. This message includes
the assigned SCO handle, Dsco and the timing control flags. The master should
try to use the same parameters as in the slave request; if the master cannot
meet that request, it is allowed to use other values. The slave shall then reply
with LMP_accepted or LMP_not_accepted PDU.

If the SCO packet type is HV1 the LMP_accepted shall be sent using the DM1
packet.


            Master                    Slave
             LM                        LM


                                                LMP_SCO_link_req
                                                LMP_not_accepted



Sequence 94: Master rejects slave’s request for a SCO link




            Master                    Slave
             LM                        LM


                                                LMP_SCO_link_req

                                                LMP_SCO_link_req
                                                LMP_accepted or LMP_not_accepted



Sequence 95: Master accepts slave’s request for a SCO link




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4.6.1.3 Master Requests Change of SCO Parameters

The master sends an LMP_SCO_link_req PDU, where the SCO handle is the
handle of the SCO link the master wishes to change parameters for. If the slave
accepts the new parameters, it replies with an LMP_accepted PDU and the
SCO link will change to the new parameters. If the slave does not accept the
new parameters, it shall reply with an LMP_not_accepted PDU and the SCO
link is left unchanged. When the slave replies with an LMP_not_accepted PDU
it shall indicate in the error code parameter what it does not accept. The master
may then try to change the SCO link again with modified parameters. The
sequence is the same as in Section 4.6.1.1.

4.6.1.4 Slave Requests Change of SCO Parameters

The slave sends an LMP_SCO_link_req PDU, where the SCO handle is the
handle of the SCO link to be changed. The parameters timing control flags and
Dsco are not valid in this PDU. If the master does not accept the new
parameters it shall reply with an LMP_not_accepted PDU and the SCO link is
left unchanged. If the master accepts the new parameters it shall reply with an
LMP_SCO_link_req PDU containing the same parameters as in the slave
request. When receiving this message the slave replies with an
LMP_not_accepted PDU if it does not accept the new parameters. The SCO
link is then left unchanged. If the slave accepts the new parameters it replies
with an LMP_accepted PDU and the SCO link will change to the new
parameters. The sequence is the same as in Section 4.6.1.2.

4.6.1.5 Remove a SCO link

Master or slave may remove the SCO link by sending a request including the
SCO handle of the SCO link to be removed and an error code indicating why
the SCO link is removed. The receiving side shall respond with an
LMP_accepted PDU.


           Initiating
                                      LM
              LM


                                           LMP_remove_SCO_link_req

                                           LMP_accepted


Sequence 96: SCO link removed


Note that the slave shall use the initialization flag appropriate to the master's
Bluetooth clock. See [Vol 2] Part B, Section 8.6.2.




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4.6.2 eSCO Logical Transport

After an ACL link has been established, one or more extended SCO (eSCO)
links can be set up to the remote device. The eSCO links are similar to SCO
links using timing control flags, an interval TeSCO and an offset DeSCO. Only bit1
of the timing control flags parameter is valid. As opposed to SCO links, eSCO
links have a configurable data rate that may be asymmetric, and can be set up
to provide limited retransmissions of lost or damaged packets inside a
retransmission window of size WeSCO. The DeSCO shall be based on CLK.

 M/O       PDU                        Contents

                                      eSCO handle
                                      eSCO LT_ADDR
                                      timing control flags
                                      DeSCO
                                      TeSCO
                                      WeSCO
 O(31)    LMP_eSCO_link_req
                                      eSCO packet type M->S
                                      eSCO packet type S->M
                                      packet length M->S
                                      packet length S->M
                                      air mode
                                      negotiation state

                                      eSCO handle
 O(31)     LMP_remove_eSCO_link_req
                                      error

Table 4.35: PDUs used for managing the eSCO links

The parameters DeSCO, TeSCO, WeSCO, eSCO packet type M->S, eSCO packet
type S->M, packet length M->S, packet length S->M are henceforth referred to
as the negotiable parameters.

4.6.2.1 Master Initiates an eSCO Link

When establishing an eSCO link the master sends an LMP_eSCO_link_req
PDU specifying all parameters. The slave may accept this with an
LMP_accepted_ext PDU, reject it with an LMP_not_accepted_ext PDU, or
respond with its own LMP_eSCO_link_req specifying alternatives for some or
all parameters. The slave shall not negotiate the eSCO handle or eSCO
LT_ADDR parameters. The negotiation of parameters continues until the
master or slave either accepts the latest parameters with an
LMP_accepted_ext PDU, or terminates the negotiation with an
LMP_not_accepted_ext PDU. The negotiation shall use the procedures
defined in Section 4.6.2.5.




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            Master                    Slave
             LM                        LM


                                              LMP_eSCO_link_req
                                              LMP_eSCO_link_req
                                              LMP_eSCO_link_req




                                              LMP_accepted_ext or LMP_not_accepted_ext


Sequence 97: Master requests an eSCO link


4.6.2.2 Slave Initiates an eSCO Link

When attempting to establish an eSCO link the slave shall send an
LMP_eSCO_link_req PDU specifying all parameters, with the exception of
eSCO LT_ADDR and eSCO handle, which are invalid. The latter shall be set to
zero. The master may respond to this with an LMP_eSCO_link_req PDU, filling
in these missing parameters, and potentially changing the other requested
parameters. The slave can accept this with an LMP_accepted_ext PDU, or
respond with a further LMP_eSCO_link_req PDU specifying alternatives for
some or all of the parameters. The negotiation of parameters continues until
the master or slave either accepts the latest parameters with an
LMP_accepted_ext PDU, or terminates the negotiation with an
LMP_not_accepted_ext PDU.


            Master                    Slave
             LM                        LM


                                              LMP_eSCO_link_req
                                              LMP_eSCO_link_req
                                              LMP_eSCO_link_req




                                              LMP_accepted_ext or LMP_not_accepted_ext



Sequence 98: Slave requests an eSCO link


Note that the slave should use the initialization flag appropriate to the master's
Bluetooth clock. See Definition: Baseband Specification Section 8.6.3.



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The master may reject the request immediately with an LMP_not_accepted_ext
PDU. The negotiation shall use the procedures defined in Section 4.6.2.5.


            Master                    Slave
             LM                        LM


                                               LMP_eSCO_link_req
                                               LMP_not_accepted_ext



Sequence 99: Master rejects slave’s request for an eSCO link


4.6.2.3 Master or Slave Requests Change of eSCO Parameters

The master or slave may request a renegotiation of the eSCO parameters. The
master or slave shall send an LMP_eSCO_link_req PDU with the eSCO
handle of the eSCO link the device wishes to renegotiate. The remote device
may accept the changed parameters immediately with LMP_accepted_ext
PDU, or the negotiation may be continued with further LMP_eSCO_link_req
PDUs until the master or slave accepts the latest parameters with an
LMP_accepted_ext PDU or terminates the negotiation with an
LMP_not_accepted_ext PDU. In the case of termination with an
LMP_not_accepted_ext PDU, the eSCO link continues on the previously
negotiated parameters.

The sequence is the same as in Section 4.6.2.2.

During re-negotiation, the eSCO LT_ADDR and eSCO handle shall not be re-
negotiated and shall be set to the originally negotiated values. The negotiation
shall use the procedures defined in Section 4.6.2.5.

4.6.2.4 Remove an eSCO Link

Either the master or slave may remove the eSCO link by sending a request
including the eSCO handle of the eSCO link to be removed and an error code
indicating why the eSCO link is removed. The receiving side shall respond with
an LMP_accepted_ext PDU. The slave shall shut down its eSCO logical
transport before sending its PDU (LMP_remove_eSCO_link_req for slave
initiated removal, LMP_accepted_ext for master initiated). The master shall not
reassign the eSCO LT_ADDR until the end of the removal procedure. If, for
some reason, such as the slave being out of range, the procedure cannot be
completed, the master shall not reassign the eSCO LT_ADDR until the primary
LT_ADDR is available for reuse (supervision timeout).




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           Initiating
                                      LM
              LM


                                           LMP_remove_eSCO_link_req
                                           LMP_accepted_ext


Sequence 100: eSCO link removed


4.6.2.5 Rules for the LMP Negotiation and Renegotiation

Rule 1: the negotiation_state shall be set to 0 by the initiating LM. After the
initial LMP_eSCO_link_req is sent the negotiation_state shall not be set to 0.

Rule 2: if the bandwidth (defined as 1600 times the packet length in bytes
divided by TeSCO in slots) for either RX or TX or the air_mode cannot be
accepted the device shall send LMP_not_accepted_ext with the appropriate
error code.

Rule 3: Bandwidth and air_mode are not negotiable and shall not be changed
for the duration of the negotiation. Once one side has rejected the negotiation
(with LMP_not_accepted_ext) a new negotiation may be started with different
bandwidth and air_mode parameters.

Rule 4: if the parameters will cause a latency violation (TeSCO + WeSCO +
reserved synchronous slots > allowed local latency) the device should propose
new parameters that shall not cause a reserved slot violation or latency
violation for the device that is sending the parameters. In this case the
negotiation_state shall be set to 3. Otherwise the device shall send
LMP_not_accepted_ext.

Rule 5: once a device has received an LMP_eSCO_link_req with the
negotiation_state set to 3 (latency violation), the device shall not propose any
combination of packet type, TeSCO, and WeSCO that will give an equal or larger
latency than the combination that caused the latency violation for the other
device.

Rule 6: if the parameters cause both a reserved slot violation and a latency
violation or if the parameters are not supported and a latency violation occurs,
then the device shall set the negotiation_state to 3 (latency violation).

Rule 7: if the parameters will cause a reserved slot violation the device should
propose new parameters that shall not cause a reserved slot violation. In this
case the negotiation_state shall be set to 2. Otherwise the device shall send
LMP_not_accepted_ext.

Rule 8: If the requested parameters are not supported the device should
propose a setting that is supported, and set the negotiation_state to 4. If it is

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not possible to find such a parameter set, the device shall send
LMP_not_accepted_ext.

Rule 9: when proposing new parameters for reasons other than a latency
violation, reserved slot violation, or configuration not supported, the
negotiation_state shall be set to 1.

4.6.2.6 Negotiation State Definitions

Reserved Slot Violation: a reserved slot violation is when the receiving LM
cannot setup the requested eSCO logical transport because the eSCO
reserved slots would overlap with other regularly scheduled slots (e.g. other
synchronous reserved slots or sniff anchor points).

Latency Violation: a latency violation is when the receiving LM cannot setup the
requested eSCO logical transport because the latency (WeSCO+TeSCO +
reserved synchronous slots) is greater than the maximum allowed latency.

Configuration not supported: The combination of parameters requested is not
inside the supported range for the device.

4.7 TEST MODE
LMP has PDUs to support different test modes used for certification and
compliance testing of the Bluetooth radio and baseband. See Definition: Test
Methodology [Vol 3] Part D, Section 1 for a detailed description of these test
modes.

4.7.1 Activation and Deactivation of Test Mode

The activation may be carried out locally (via a HW or SW interface), or using
the air interface.
• For activation over the air interface, entering the test mode shall be locally
  enabled for security and type approval reasons. The implementation of this
  local enabling is not subject to standardization.
  The tester sends an LMP command that shall force the DUT to enter test
  mode. The DUT shall terminate all normal operation before entering the test
  mode.
  The DUT shall return an LMP_Accepted PDU on reception of an activation
  command. An LMP_Not_Accepted PDU shall be returned if the DUT is not
  locally enabled.
• If the activation is performed locally using a HW or SW interface, the DUT
  shall terminate all normal operation before entering the test mode.
  Until a connection to the tester exists, the device shall perform page scan
  and inquiry scan. Extended scan activity is recommended.



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The test mode is activated by sending an LMP_test_activate PDU to the device
under test (DUT). The DUT is always the slave. The lm shall be able to receive
this message anytime. If entering test mode is locally enabled in the DUT it
shall respond with an LMP_accepted PDU and test mode is entered.
Otherwise the DUT responds with an LMP_not_accepted PDU and the DUT
remains in normal operation. The error code in the LMP_not_accepted PDU
shall be LMP PDU Not Allowed (0x24).


            Master                    Slave
             LM                        LM


                                                 LMP_test_activate
                                                 LMP_accepted


Sequence 101: Activation of test mode successful




            Master                    Slave
             LM                        LM


                                                 LMP_test_activate

                                                 LMP_not_accepted


Sequence 102: Activation of test mode fails. Slave is not allowed to enter test mode


The test mode can be deactivated in two ways. Sending an LMP_test_control
PDU with the test scenario set to "exit test mode" exits the test mode and the
slave returns to normal operation still connected to the master. Sending an
LMP_detach PDU to the DUT ends the test mode and the connection.

4.7.2 Control of Test Mode

Control and configuration is performed using special LMP commands (see
Section 4.7.3). These commands shall be rejected if the Bluetooth device is not
in test mode. In this case, an LMP_not_accepted shall be returned. The DUT
shall return an LMP_accepted on reception of a control command when in test
mode.

A Bluetooth device in test mode shall ignore all LMP commands not related to
control of the test mode. LMP commands dealing with power control and the
request for LMP features (LMP_features_req), and adaptive frequency hopping
(LMP_set_AFH, LMP_channel_classification_req and
LMP_channel_classification) are allowed in test mode; the normal procedures
are also used to test the adaptive power control.


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The DUT shall leave the test mode when an LMP_Detach command is
received or an LMP_test_control command is received with test scenario set to
'exit test mode'.

When the DUT has entered test mode, the PDU LMP_test_control PDU can be
sent to the DUT to start a specific test. This PDU is acknowledged with an
LMP_accepted PDU. If a device that is not in test mode receives an
LMP_test_control PDU it responds with an LMP_not_accepted PDU, where
the error code shall be LMP PDU Not Allowed (0x24).


            Master                    Slave
             LM                        LM


                                                LMP_test_control

                                                LMP_accepted


Sequence 103: Control of test mode successful




            Master                    Slave
             LM                        LM


                                                LMP_test_control
                                                LMP_not_accepted


Sequence 104: Control of test mode rejected since slave is not in test mode


4.7.3 Summary of Test Mode PDUs

Table 4.36 lists all LMP messages used for test mode. To ensure that the
contents of LMP_test_control PDU are suitably whitened (important when sent
in transmitter mode), all parameters listed in Table 4.37 are XORed with 0x55
before being sent.

                             PDU          Possible                                    Position
 LMP PDU                     number       Direction      Contents                     in Payload

 LMP_test_activate           56           m→s

Table 4.36: LMP messages used for Test Mode




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                           PDU          Possible                               Position
 LMP PDU                   number       Direction     Contents                 in Payload

 LMP_test_control          57           m→s           test scenario            2
                                                      hopping mode             3
                                                      TX frequency             4
                                                      RX frequency             5
                                                      power control mode       6
                                                      poll period              7
                                                      packet type              8
                                                      length of test data      9-10

 LMP_detach                7            m→s
 LMP_accepted              3            m←s

 LMP_not_accepted          4            m←s
Table 4.36: LMP messages used for Test Mode




                           Length
 Name                      (bytes)    Type     Unit     Detailed

 Test scenario             1          u_int8            0 Pause Test Mode
                                                        1 Transmitter test – 0 pattern
                                                        2 Transmitter test – 1 pattern
                                                        3 Transmitter test – 1010 pattern
                                                        4 Pseudorandom bit sequence
                                                        5 Closed Loop Back – ACL packets
                                                        6 Closed Loop Back – Synchro-
                                                        nous packets
                                                        7 ACL Packets without whitening
                                                        8 Synchronous Packets without
                                                        whitening
                                                        9 Transmitter test – 1111 0000 pat-
                                                        tern
                                                        10–254 Reserved for future use
                                                        255 Exit Test Mode
                                                        The value is XORed with 0x55.

 Hopping mode              1          u_int8            0 RX/TX on single frequency
                                                        1 Normal hopping
                                                        2–255 Reserved for future use
                                                        The value is XORed with 0x55.
 TX frequency (for DUT)    1          u_int8            f = [2402 + k] MHz
                                                        The value is XORed with 0x55.

 RX frequency (for DUT)    1          u_int8            f = [2402 + k] MHz
                                                        The value is XORed with 0x55.
 Power control mode        1          u_int8            0 fixed TX output power
                                                        1 adaptive power control
                                                        The value is XORed with 0x55.
Table 4.37: Parameters used in LMP_Test_Control PDU


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                            Length
 Name                       (bytes)   Type      Unit     Detailed

 Poll period                1         u_int8    1.25     The value is XORed with 0x55.
                                                ms
 Packet type                1         u_int8             Bits 3-0
                                                         numbering as in packet header,
                                                         see Baseband Specification
                                                         Bits 7-4
                                                         0: ACL/SCO
                                                         1: eSCO
                                                         2: Enhanced Data Rate ACL
                                                         3: Enhanced Data Rate eSCO
                                                         4-15: Reserved for future use
                                                         The value is XORed with 0x55.

 length of test sequence    2         u_int16   1 byte   unsigned binary number
 (=length of user data in                                The value is XORed with 0x5555.
 Baseband Specifica-
 tion)
Table 4.37: Parameters used in LMP_Test_Control PDU

The control PDU is used for both transmitter and loop back tests. The following
restrictions apply for the parameter settings:

                                Restrictions                Restrictions
 Parameter                      Transmitter Test            Loopback Test

 TX frequency                   0 ≤ k ≤ 78                  0 ≤ k ≤ 78

 RX frequency                   same as TX frequency        0 ≤ k ≤ 78
 Poll period                                                not applicable (set to 0)
 Length of test sequence        Depends on packet type.     For ACL and SCO packets:
                                See Table 6.9 and Table     not applicable (set to 0)
                                6.10 in the Baseband        For eSCO packets:
                                specification               [see Table 6.10 in the Base-
                                                            band specification]

Table 4.38: Restrictions on the parameters in the LMP_Test_Control PDU




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5 SUMMARY

5.1 PDU SUMMARY
                                                                                     Position
                      Length     op      Packet    Possible                          in
LMP PDU               (bytes)    code    type      direction Contents                payload

                                                            extended op code         2
Escape 1              variable   124     DM1       m↔s
                                                            variable                 3-?
                                                            extended op code         2
Escape 2              variable   125     DM1       m↔s
                                                            variable                 3-?
                                                            extended op code         2
Escape 3              variable   126     DM1       m↔s
                                                            variable                 3-?

                                                            extended op code         2
Escape 4              variable   127     DM1       m↔s
                                                            variable                 3-?
LMP_accepted          2          3       DM1/DV m ↔ s       op code                  2

                                                            escape op code           3
LMP_accepted_ext      4          127/01 DM1        m↔s
                                                            extended op code         4
LMP_au_rand           17         11      DM1       m↔s      random number            2-17

LMP_auto_rate         1          35      DM1/DV m ↔ s       -
LMP_channel                                                 AFH_channel_
                      12         127/17 DM1        m←s                               3 – 12
_classification                                             classification
                                                            AFH_reporting
                                                                                     3
                                                            _mode
LMP_channel
                      7          127/16 DM1        m→s
_classification_req                                         AFH_min_interval         4-5
                                                            AFH_max_interval         6-7
                                                            clk_adj_id               3

                                                            clk_adj_instant          4-7
                                                            clk_adj_us               8-9
LMP_clk_adj           15         127/5   DM1       m→s
                                                            clk_adj_slots            10
                                                            clk_adj_mode             11
                                                            clk_adj_clk              12-15

LMP_clk_adj_ack       3          127/6   DM1       s→m      clk_adj_id               3
Table 5.1: Coding of the different LM PDUs (Sheet 1 of 8)




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                                                                                     Position
                     Length     op       Packet    Possible                          in
LMP PDU              (bytes)    code     type      direction Contents                payload

                                                            clk_adj_us               3-4
LMP_clk_adj_req      6          127/7    DM1       m←s      clk_adj_slots            5
                                                            clk_adj_period           6

LMP_clkoffset_req    1          5        DM1/DV m → s       –
LMP_clkoffset_res    3          6        DM1/DV m ← s       clock offset             2–3
LMP_comb_key         17         9        DM1       m↔s      random number            2-17

LMP_decr_power
                     2          32       DM1/DV m ↔ s       for future use           2
_req
LMP_detach           2          7        DM1/DV m ↔ s       error code               2

LMP_DHkey_Check 17              65       DM1       m↔s      Confirmation Value 2-17
                                                            encapsulated major
                                                                               2
                                                            type
LMP_encapsulated                                            encapsulated minor
                     4          61       DM1       m↔s                         3
_header                                                     type

                                                            encapsulated pay-
                                                                                     4
                                                            load length
LMP_encapsulated
                     17         62       DM1       m↔s      encapsulated data        2-17
_payload
LMP_encryption
_key_size_mask       1          58       DM1       m→s
_req

LMP_encryption
_key_size            3          59       DM1       m←s      key size mask            2-3
_mask_res
LMP_encryption
                     2          16       DM1/DV m ↔ s       key size                 2
_key_size_req
LMP_encryption
                     2          15       DM1/DV m ↔ s       encryption mode          2
_mode_req

Table 5.1: Coding of the different LM PDUs (Sheet 2 of 8)




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                                                                                    Position
                     Length     op       Packet    Possible                         in
LMP PDU              (bytes)    code     type      direction Contents               payload

                                                            eSCO handle             3
                                                            eSCO LT_ADDR            4
                                                            timing control flags    5

                                                            DeSCO                   6

                                                            TeSCO                   7

                                                            WeSCO                   8
LMP_eSCO_link_req
(see Note 1)         16         127/12 DM1         m↔ s     eSCO packet type
                                                                                    9
                                                            M->S

                                                            eSCO packet type
                                                                                    10
                                                            S->M
                                                            packet length M->S 11-12

                                                            packet length S->M 13-14
                                                            air mode                15
                                                            negotiation state       16

LMP_features_req     9          39       DM1/DV m ↔ s       features                2-9
                                                            features page           3
LMP_features                                                max supported
                     12         127/03 DM1         m↔s                              4
_req_ext                                                    page

                                                            extended features       5-12
LMP_features_res     9          40       DM1/DV m ↔ s       features                2-9
                                                            features page           3

LMP_features                                                max supported
                     12         127/04 DM1         m↔s                              4
_res_ext                                                    page
                                                            extended features       5-12
                                                            hold time               2-3
LMP_hold             7          20       DM1/DV m ↔ s
                                                            hold instant            4-7
                                                            hold time               2-3
LMP_hold_req         7          21       DM1/DV m ↔ s
                                                            hold instant            4-7

LMP_host
                     1          51       DM1/DV m ↔ s       –
_connection_req
LMP_in_rand          17         8        DM1       m↔s      random number           2-17
LMP_incr_power
                     2          31       DM1/DV m ↔ s       for future use          2
_req

Table 5.1: Coding of the different LM PDUs (Sheet 3 of 8)

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                                                                                     Position
                     Length     op       Packet    Possible                          in
LMP PDU              (bytes)    code     type      direction Contents                payload

                                                            IO_capabilities          3
                                                            OOB Authentica-
LMP_IO                                                                               4
                     5          127/25 DM1         m↔s      tion Data
_Capability_req
                                                            Authentication_
                                                                                     5
                                                            Requirement

                                                            IO_capabilities          3
                                                            OOB Authentica-
LMP_IO                                                                               4
                     5          127/26 DM1         m↔s      tion Data
_Capability_res
                                                            Authentication_
                                                                                     5
                                                            Requirement

LMP_keypress
                     3          127/30 DM1         m↔s      Notification Type        2
_notification
LMP_max_power        1          33       DM1/DV m ↔ s       –

LMP_max_slot         2          45       DM1/DV m ↔ s       max slots                2
LMP_max_slot_req     2          46       DM1/DV m ↔ s       max slots                2
LMP_min_power        1          34       DM1/DV m ↔ s       –

LMP_name_req         2          1        DM1/DV m ↔ s       name offset              2
                                                            name offset              2
LMP_name_res         17         2        DM1       m↔s      name length              3

                                                            name fragment            4-17
                                                            op code                  2
LMP_not_accepted     3          4        DM1/DV m ↔ s
                                                            error code               3

                                                            escape op code           3
LMP_not
                     5          127/02 DM1         m↔s      extended op code         4
_accepted_ext
                                                            error code               5

LMP_numeric
                    2           127/27 DM1         m↔s      –
_ comparison_failed
LMP_oob_failed       2          127/29 DM1         m↔s
LMP_packet_type
                     3          127/11   DM1       m↔s      packet type table        3
_table_req

                                                            paging scheme            2
LMP_page_mode
                     3          53       DM1/DV m ↔ s       paging scheme set-
_req                                                                           3
                                                            tings
Table 5.1: Coding of the different LM PDUs (Sheet 4 of 8)



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                                                                                     Position
                     Length     op       Packet    Possible                          in
LMP PDU              (bytes)    code     type      direction Contents                payload

                                                            paging scheme            2
LMP_page_scan
                     3          54       DM1/DV m ↔ s       paging scheme set-
_mode_req                                                                      3
                                                            tings
LMP_passkey
                     2          127/28 DM1         m↔s      –
_failed

LMP_pause_encryp-
                  17            66       DM1       m↔s      random number            2-17
tion_aes_req
LMP_pause
                     2          127/23 DM1         m↔s      –
_encryption_req
LMP_ping_req         2          127/33 DM1         m↔s      -

LMP_ping_res         2          127/34 DM1         m↔s      -
LMP_power                                                   power_adjust-
                     3          127/31 DM1/DV m ↔ s                                  3
_control_req                                                ment_request

LMP_power                                                   power_adjust-
                     3          127/32 DM1/DV m ↔ s                                  3
_control_res                                                ment_response
LMP_preferred_rate 2            36       DM1/DV m ↔ s       data rate                2

LMP_quality_of                                              poll interval            2-3
                     4          41       DM1/DV m → s
_service                                                    NBC                      4

LMP_quality_of                                              poll interval            2-3
                     4          42       DM1/DV m ↔ s
_service_req                                                NBC                      4

LMP_remove                                                  eSCO handle              3
_eSCO_link_req       4          127/13 DM1         m↔ s
(see Note 1)                                                error code               4

LMP_remove                                                  SCO handle               2
                     3          44       DM1/DV m ↔ s
_SCO_link_req                                               error code               3
LMP_resume
                     2          127/24 DM1         m←s      –
_encryption_req

                                                            SAM_Index                3

LMP_SAM_define                                              TSAM-SM                  4
                     17         127/36 DM1         m↔s
_map                                                        NSAM-SM                  5

                                                            SAM_Submaps              6-17
                                                            Update Mode              3
LMP_SAM_set
                     17         127/35 DM1         m↔s      SAM_Type0Sub-
_type0                                                                               4-17
                                                            map

Table 5.1: Coding of the different LM PDUs (Sheet 5 of 8)


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                                                                                      Position
                     Length     op       Packet    Possible                           in
LMP PDU              (bytes)    code     type      direction Contents                 payload

                                                            SAM_Index                 3
                                                            Timing control flags 4
LMP_SAM_switch       9          127/37 DM1         m↔s
                                                            DSAM                      5

                                                            SAM_Instant               6-9

                                                            SCO handle                2
                                                            timing control flags      3
                                                            Dsco                      4
LMP_SCO_link_req 7              43       DM1/DV m ↔ s
                                                            Tsco                      5

                                                            SCO packet                6

                                                            air mode                  7
                                                            AFH_instant               2-5
LMP_set_AFH          16         60       DM1       m→s      AFH_mode                  6

                                                            AFH_channel_map 7-16
LMP_setup
                     1          49       DM1       m↔s      -
_complete
LMP_Simple
                     17         63       DM1       m↔s      Commitment Value 2-17
_Pairing_Confirm

LMP_Simple
                     17         64       DM1       m↔s      Nonce Value               2-17
_Pairing_Number
                                                            slot offset               2-3
LMP_slot_offset      9          52       DM1/DV m ↔ s
                                                            BD_ADDR                   4-9

                                                            timing control flags      2
                                                            Dsniff                    3-4

LMP_sniff_req        10         23       DM1       m↔s      Tsniff                    5-6

                                                            sniff attempt             7-8
                                                            sniff timeout             9-10

                                                            max_sniff_subrate         3

                                                            min_sniff_mode_           4-5
LMP_sniff                                                   timeout
                     9          127/21 DM1         m↔s
_subrating_req
                                                            sniff_subrating_in-       6-9
                                                            stant

Table 5.1: Coding of the different LM PDUs (Sheet 6 of 8)



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                                                                                      Position
                     Length     op       Packet    Possible                           in
LMP PDU              (bytes)    code     type      direction Contents                 payload

                                                            max_sniff_subrate         3
                                                            min_sniff_mode_
LMP_sniff                                                                             4-5
                     9          127/22 DM1         m↔s      timeout
_subrating_res
                                                            sniff_subrating_
                                                                                      6-9
                                                            instant

                                                            authentication
LMP_sres             5          12       DM1/DV m ↔ s                                 2-5
                                                            response
LMP_start
                     17         17       DM1       m→s      random number             2-17
_encryption_req
LMP_stop
                     1          18       DM1/DV m → s       –
_encryption_req

LMP_supervision
                     3          55       DM1/DV m →s        supervision timeout 2-3
_timeout
LMP_switch_req       5          19       DM1       m↔s      switch instant            2-5

LMP_temp_key         17         14       DM1       m→s      key                       2-17
LMP_temp_rand        17         13       DM1       m→s      random number             2-17
LMP_test_activate    1          56       DM1/DV m → s       –

                                                            test scenario             2
                                                            hopping mode              3
                                                            TX frequency              4

                                                            RX frequency              5
LMP_test_control     10         57       DM1       m→s
                                                            power control mode 6
                                                            poll period               7

                                                            packet type               8
                                                            length of test data       9-10
LMP_timing
                     1          47       DM1/DV m ↔ s       –
_accuracy_req

LMP_timing                                                  drift                     2
                     3          48       DM1/DV m ↔ s
_accuracy_res                                               jitter                    3
LMP_unit_key         17         10       DM1       m↔s      key                       2-17

LMP_unsniff_req      1          24       DM1/DV m ↔ s       -
LMP_use_semi
                     1          50       DM1/DV m → s       -
_permanent_key
Table 5.1: Coding of the different LM PDUs (Sheet 7 of 8)



Summary                                                                         06 December 2016
                                                                          Bluetooth SIG Proprietary
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Link Manager Protocol Specification


                                                                                    Position
                     Length     op       Packet    Possible                         in
LMP PDU              (bytes)    code     type      direction Contents               payload

                                                            VersNr                  2
LMP_version_req      6          37       DM1/DV m ↔ s       CompId                  3-4
                                                            SubVersNr               5-6

                                                            VersNr                  2
LMP_version_res      6          38       DM1/DV m ↔ s       CompId                  3-4
                                                            SubVersNr               5-6

Table 5.1: Coding of the different LM PDUs (Sheet 8 of 8)

Note 1. Parameters coincide with their namesakes in LMP_SCO_link_req and
LMP_remove_SCO_link_req apart from the following:
1. eSCO_LT_ADDR - the eSCO connection will be active on an additional
   LT_ADDR that needs to be defined. The master is not allowed to re-assign
   an active eSCO link to a different LT_ADDR.
2. DeSCO, TeSCO - as per LMP_SCO_link_req but with a greater flexibility in
   values (e.g. no longer fixed with respect to HV1, HV2, and HV3 packet
   choice).
3. WeSCO - the eSCO retransmission window size (in slots)
4. packet type and packet length may be prescribed differently in Master-to-
   Slave or Slave-to-Master directions for asynchronous eSCO links
5. packet length (in bytes) - eSCO packet types no longer have fixed length
6. negotiation state – this is used to better enable the negotiation of the
   negotiable parameters: DeSCO, TeSCO, WeSCO, eSCO packet type
   M->S, eSCO packet type S->M, packet length M->S, packet length S->M.
   When responding to an eSCO link request with a new suggestion for these
   parameters, this flag may be set to 1 to indicate that the last received
   negotiable parameters are possible, but the new parameters specified in the
   response eSCO link request would be preferable, to 2 to indicate that the
   last received negotiable parameters are not possible as they cause a
   reserved slot violation or to 3 to indicate that the last received negotiable
   parameters would cause a latency violation. The flag shall be set to zero in
   the initiating LMP_eSCO_link_req.




Summary                                                                       06 December 2016
                                                                        Bluetooth SIG Proprietary
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Link Manager Protocol Specification


5.2 PARAMETER DEFINITIONS
Where no mandatory range is given, the mandatory range consists of all valid
values that are not reserved for future use.


                    Length
                    (bytes)
                                                                                 Mandatory
 Name                         Type      Unit    Detailed
                                                                                 range

                                                0: polling technique
 access
                   1          u_int4            1-15: reserved for future
 scheme
                                                use

                                                The nth (numbering from 0)
                                                element defines the classi-
                                                fication of channels 2n and
                                                2n+1, other than the 39th
                                                element which just con-
                                                tains the classification of
 AFH_channel                   u_int2           channel 78.
                   10                   -
 _classification              [40]
                                                The value of each ele-
                                                ment indicates:
                                                0 = unknown
                                                1 = good
                                                2 = reserved for future use
                                                3 = bad

                                                If AFH_mode is not
                                                AFH_enabled, the con-
                                                tents of this parameter are
                                                reserved for future use.
                                                Otherwise:
                                                The nth (numbering from 0)
                                                element (in the range 0 to
 AFH_channel                  u_int1            78) contains the value for
                   10                   -
 _map                         [80]              channel n.
                                                Element 79 is reserved for
                                                future use.
                                                The value of each ele-
                                                ment indicates:
                                                0: channel n is unused
                                                1: channel n is used
                                                Bits 27:1 of the Bluetooth
                                                master clock value at the
 AFH_instant       4          u_int32   slots
                                                time of switching hop
                                                sequences. Shall be even.
                                                Range is 0x0640 to
 AFH_max                                        0xBB80 slots (1 to 30s)
                   2          u_int16   slots
 _interval
                                                Only even values are valid1
Table 5.2: Parameters in LM PDUs. (Sheet 1 of 12)



Summary                                                                         06 December 2016
                                                                          Bluetooth SIG Proprietary
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                    Length
                    (bytes)
                                                                                  Mandatory
 Name                         Type       Unit    Detailed
                                                                                  range

                                                 Range is 0x0640 to
 AFH_min                                         0xBB80 slots (1 to 30s)
                   2          u_int16    slots
 _interval
                                                 Only even values are valid1
                                                 0: AFH_disabled
                                                 1: AFH_enabled
 AFH_mode          1          u_int8     -
                                                 2-255: reserved for future
                                                 use
                                                 0: AFH_reporting_disabled
 AFH_reporting                                   1: AFH_reporting_enabled
                   1          u_int8     -
 _mode                                           2-255: reserved for future
                                                 use

                                                 0: µ-law log
                                                 1: A-law log
                                                 2: CVSD                          See Table
 air mode          1          u_int8
                                                 3: transparent data              5.3
                                                 4-255: reserved for future
                                                 use

 authentication               multiple
                   4
 response                     bytes
                                                 0x00:MITM Protection Not
                                                 Required – No Bonding
                                                 0x01: MITM Protection
                                                 Required – No Bonding
                                                 0x02: MITM Protection Not
                                                 Required – Dedicated
                                                 Bonding
                                                 0x03: MITM Protection
 Authentication                                  Required – Dedicated
                   1          u_int8
 _Requirements                                   Bonding
                                                 0x04: MITM Protection Not
                                                 Required – General Bond-
                                                 ing
                                                 0x05: MITM Protection
                                                 Required – General Bond-
                                                 ing
                                                 0x06 to 0xFF– reserved for
                                                 future use

                              multiple           BD_ADDR of the sending
 BD_ADDR           6
                              bytes              device
 clk_adj_clk       4          u_int32    slot    CLK[27:2] for the moment
                                         pairs   that the PDU is transmitted.
Table 5.2: Parameters in LM PDUs. (Sheet 2 of 12)

Summary                                                                          06 December 2016
                                                                           Bluetooth SIG Proprietary
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                    Length
                    (bytes)
                                                                                     Mandatory
 Name                         Type       Unit     Detailed
                                                                                     range

 clk_adj_id        1          u_int8              clk_adj_id is chosen by the
                                                  master as a handle to
                                                  identify a Coarse Clock
                                                  Adjustment event.
 clk_adj_instant   4          u_int32    slots    CLKold[27:1] at the time of
                                                  the coarse clock adjust-
                                                  ment, based on the value of
                                                  time_base_offset before the
                                                  adjustment is made. Only
                                                  even values are valid1.

 clk_adj_mode      1          u_int8              0: Before Instant
                                                  1: After Instant
                                                  2-255: reserved for future
                                                  use
 clk_adj_period    1          u_int8     slots    Indicates to the master that
                                                  adding an integer multiple
                                                  of this value to
                                                  clk_adj_slots gives an
                                                  equally acceptable adjust-
                                                  ment. The value of
                                                  clk_adj_period shall be zero
                                                  or an even number greater
                                                  than clk_adj_slots. Only
                                                  even values are valid1.

 clk_adj_slots     1          u_int8     slots    The difference between
                                                  the clocks at the adjust-
                                                  ment instant
                                                  (i.e. CLKnew[27:1] ‒
                                                  CLKold[27:1]).

 clk_adj_us        2          int16      µs       The offset between the old
                                                  and new slot boundaries.
                                                  Valid range is ‒624 to
                                                  +624.
                                                  (CLKN16-2 slave -
                                                  CLKN16-2 master) mod 215
 clock offset      2          u_int16    1.25ms
                                                  MSbit of second byte not
                                                  used.

 Commitment                   Multiple
                   16                             Little Endian format
 value                        bytes
                                                  see
 CompId            2          u_int16             Bluetooth Assigned Num-
                                                  bers)

Table 5.2: Parameters in LM PDUs. (Sheet 3 of 12)


Summary                                                                             06 December 2016
                                                                              Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                    Mandatory
 Name                         Type       Unit    Detailed
                                                                                    range

 Confirmation                 Multiple
                   16                            Little Endian format
 value                        bytes
                                                 When in Basic Rate mode:
                                                 bit0 = 0: use FEC
                                                 bit0 = 1: do not use FEC
                                                 bit1-2=0: No packet-size
                                                 preference available
                                                 bit1-2=1: use 1-slot packets
                                                 bit1-2=2: use 3-slot packets
                                                 bit1-2=3: use 5-slot packets


                                                 When in Enhanced Data
                                                 Rate mode:
                                                 bit3-4=0: use DM1 packets
                                                 bit3-4=1: use 2 Mb/s pack-
                                                 ets
 data rate         1          u_int8
                                                 bit3-4=2: use 3 Mb/s pack-
                                                 ets
                                                 bit3-4=3: reserved for
                                                 future use
                                                 bit5-6=0: No packet-size
                                                 preference available
                                                 bit5-6=1: use 1-slot pack-
                                                 ets
                                                 bit5-6=2: use 3-slot pack-
                                                 ets
                                                 bit5-6=3: use 5-slot pack-
                                                 ets


                                                 bit7: reserved for future
                                                 use

                                                 Only even values less than
 DeSCO             1          u_int8     slots
                                                 TeSCO are valid1
 drift             1          u_int8     ppm
                                                 Offset of the SAM anchor
 DSAM              1          u_int8     slots   point; only even values
                                                 less than TSAM are valid

                                                 Only even values less than
 DSCO              1          u_int8     slots
                                                 TSCO are valid1

Table 5.2: Parameters in LM PDUs. (Sheet 4 of 12)




Summary                                                                            06 December 2016
                                                                             Bluetooth SIG Proprietary
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                    Length
                    (bytes)
                                                                                Mandatory
 Name                         Type       Unit    Detailed
                                                                                range

                                                 Only even values less than
 Dsniff            2          u_int16    slots
                                                 Tsniff are valid1
                                                 MSBs zero padded when
 encapsulated                 Multiple           data is less than 16 bytes.
                   16
 data                         bytes
                                                 Little Endian format
 encapsulated                                    See Table 5.4
                   1          u_int8
 major type
 encapsulated                                    See Table 5.4
                   1          u_int8
 minor type

 encapsulated                                    See Table 5.4
                   1          u_int8
 payload length
                                                 0: no encryption
                                                 1: encryption
 encryption
                   1          u_int8             2: encryption
 mode
                                                 3 -255: reserved for future
                                                 use

 error code        1          u_int8             See [Vol 2] Part D,
                                                 Identifies which escape op
 escape op code    1          u_int8             code is being acknowl-
                                                 edged: range 124-127
 eSCO handle       1          u_int8

                                                 Logical transport address
 eSCO
                   1          u_int8             for the eSCO logical trans-
 LT_ADDR
                                                 port. Valid range is 1-7.

                                                 0x00: NULL/POLL                If the value is
                                                 0x07: EV3                      0x00 the
                                                 0x0C: EV4                      POLL packet
                                                 0x0D: EV5                      shall be used
                                                 0x26: 2-EV3                    by the mas-
 eSCO packet
                   1          u_int8             0x2C: 2-EV5                    ter, the NULL
 type
                                                 0x37: 3-EV3                    packet shall
                                                 0x3D: 3-EV5                    be used by
                                                                                the slave.
                                                 Other values are reserved      See Table
                                                 for future use                 5.3

                                                 The nth (numbering from 0)
                                                 element represents feature
 extended                     u_int1             number 64P + n in Tables
                   8
 features                     [64]               3.2 onwards, where P is
                                                 the relevant features page
                                                 number.
Table 5.2: Parameters in LM PDUs. (Sheet 5 of 12)


Summary                                                                        06 December 2016
                                                                         Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                    Mandatory
 Name                         Type       Unit    Detailed
                                                                                    range

 extended op                                     Which extended op code is
                   1          u_int8
 code                                            being acknowledged

                              u_int1             The nth (numbering from 0)
 features          8                             element represents feature
                              [64]
                                                 number n in Table 3.2
                                                 Identifies which page of
                                                 extended features is being
 features page     1          u_int8             requested.
                                                 0 means standard features
                                                 1-255 other feature pages

                                                 Bits 27:1 of the master
 hold instant      4          u_int32    slots   Bluetooth clock value.
                                                 Only even values are valid1
                                                 Only even values less than
                                                 or equal to (supervisionTO *       0x0014 to
 hold time         2          u_int16    slots
                                                                                    0x8000
                                                 0.999) are valid1
                                                 0: Display only
                                                 1: Display YesNo
                                                 2: KeyboardOnly
 IO_Capabilities   1          u_int8
                                                 3: NoInputNoOutput
                                                 4-255: reserved for future
                                                 use

 jitter            1          u_int8     µs
                              multiple
 key               16
                              bytes

 key size          1          u_int8     byte
                                                 Bit mask of supported
                                                 broadcast encryption key
                                                 sizes: least significant bit is
 key size mask     2          u_int16
                                                 support for length 1, and so
                                                 on. The bit shall be one if
                                                 the key size is supported.

 LT_ADDR           1          u_int4

 max slots         1          u_int8     slots
                                                 Highest page of extended
 max                                             features which contains a
                   1          u_int8
 supported page                                  non-zero bit for the originat-
                                                 ing device. Range 0-255

Table 5.2: Parameters in LM PDUs. (Sheet 6 of 12)



Summary                                                                            06 December 2016
                                                                             Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                  Mandatory
 Name                         Type       Unit    Detailed
                                                                                  range

 max_sniff                               sub-
                   1          u_int8             Valid range: 1-255
 _subrate                                rate
 min_sniff
 _mode_timeout
                   2          u_int16    slots   Only even values are valid1

 name                         multiple
                   14                            UTF-8 characters.
 fragment                     bytes

 name length       1          u_int8     bytes
 name offset       1          u_int8     bytes
                                                 0: Initiate negotiation
                                                 1: the latest received set of
                                                 negotiable parameters
                                                 were possible but these
                                                 parameters are preferred.
                                                 2: the latest received set of
                                                 negotiable parameters
                                                 would cause a reserved
 negotiation                                     slot violation.
                   1          u_int8
 state                                           3: the latest received set of
                                                 negotiable parameters
                                                 would cause a latency vio-
                                                 lation.
                                                 4: the latest received set of
                                                 negotiable parameters are
                                                 not supported.
                                                 Other values are reserved
                                                 for future use

                              Muliti-
 Nonce Value       16         ple                Little Endian Format
                              bytes

                                                 0=passkey entry started
                                                 1=passkey digit entered
                                                 2=passkey digit erased
 Notification
                   1          U_int8             3=passkey cleared
 Type
                                                 4=passkey entry completed
                                                 5-255: reserved for future
                                                 use

 Npoll             1          u_int8

                                                 Number of submaps in the
                                         sub-
 NSAM-SM           1          u_int8             SAM slot map; range 0 to
                                         maps
                                                 48

Table 5.2: Parameters in LM PDUs. (Sheet 7 of 12)



Summary                                                                          06 December 2016
                                                                           Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                  Mandatory
 Name                         Type      Unit    Detailed
                                                                                  range

                                                0: No OOB Authentication
                                                Data received
 OOB Authenti-                                  1: OOB Authentication
                   1          u_int8
 cation Data                                    Data received
                                                2-255: reserved for future
                                                use

 op code           1          u_int8

                                                Length of the eSCO
                                                payload
                                                0 for POLL/NULL
                                                1-30 for EV3
                                                1-120 for EV4
                                                                                  See Table
 packet length     2          uint16    bytes   1-180 for EV5
                                                                                  5.3
                                                1-60 for 2-EV3
                                                1-360 for 2-EV5
                                                1-90 for 3-EV3
                                                1-540 for 3-EV5
                                                Other values are invalid

                                                0: 1Mb/s only
 packet type                                    1: 2/3 Mb/s
                   1          u_int8
 table                                          2-255: reserved for future
                                                use

                                                0: mandatory scheme
 paging
                   1          u_int8            1-255: reserved for future
 scheme
                                                use

                                                For mandatory scheme:
                                                0: R0
 paging
                                                1: R1
 scheme            1          u_int8
 settings                                       2: R2
                                                3-255: reserved for future
                                                use

                                                                                  0x0006 to
 poll interval     2          u_int16   slots   Only even values are valid1       0x1000
                                                0: decrement power one
                                                step
                                                1: increment power one
 power
                                                step
 _adjustment       1          u_int8
                                                2: increase to maximum
 _request
                                                power
                                                3-255: reserved for future
                                                use

Table 5.2: Parameters in LM PDUs. (Sheet 8 of 12)




Summary                                                                          06 December 2016
                                                                           Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                  Mandatory
 Name                         Type       Unit    Detailed
                                                                                  range

                                                 bits 0-1: GFSK
                                                 bits 2-3: DQPSK
                                                 bits 4-5: 8DPSK
                                                 bits 6-7: reserved for future
                                                 use
 power
                                                 Each 2-bit value is defined
 _adjustment       1          u_int8
                                                 as follows
 _response
                                                 0: not supported
                                                 1: changed one step, (not
                                                 min or max)
                                                 2: max power
                                                 3: min power

 random                       multiple
                   16
 number                       bytes

 reserved(n)       n          u_int8             reserved for future use
 SAM_Index         1          u_int8             Index of the SAM slot map        0-2, 0xFF
                                                 CLK[27:1] at the instant
                                                 the SAM slot map is to be
 SAM_Instant       4          u_int32    slots   activated. Only even val-
                                                 ues are valid1.
Table 5.2: Parameters in LM PDUs. (Sheet 9 of 12)




Summary                                                                          06 December 2016
                                                                           Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                  Mandatory
 Name                         Type        Unit   Detailed
                                                                                  range

                                                 This parameter contains
                                                 48 2-bit fields. Only the
                                                 first NSAM-SM fields are
                                                 significant; the remainder
                                                 are reserved for future
                                                 use.
                                                 The nth (numbering from 0)
                                                 such field defines the sub-
                                                 map type of the nth sub-
                                                 map in the map.
                                                 The meanings of the pos-
                                                 sible values are:
                              multiple-
 SAM_Submaps       12                            0 = Each slot is individually
                              bytes
                                                 available or unavailable as
                                                 configured. Slots may
                                                 have different availabilities
                                                 for transmission and
                                                 reception
                                                 1 = All slots are available
                                                 for transmission and
                                                 reception
                                                 2 = All slots are unavail-
                                                 able for transmission and
                                                 reception
                                                 3 = reserved for future use

                                                 This parameter contains
                                                 56 2-bit fields.
                                                 The nth (numbering from 0)
                                                 such field defines the slot
                                                 type of the nth slot.
                                                 The meanings of the pos-
                                                 sible values are:
                                                 0 = The slot is not avail-
 SAM_Type0-                   multiple-          able for either transmis-
                   14                            sion or reception
 Submap                       bytes
                                                 1 = The slot is available for
                                                 transmission but not
                                                 reception
                                                 2 = The slot is available for
                                                 reception but not transmis-
                                                 sion
                                                 3 = The slot is available for
                                                 both transmission and
                                                 reception

Table 5.2: Parameters in LM PDUs. (Sheet 10 of 12)



Summary                                                                          06 December 2016
                                                                           Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                    Mandatory
 Name                         Type      Unit       Detailed
                                                                                    range

 SCO handle        1          u_int8
                                                   0: HV1
                                                   1: HV2
 SCO packet        1          u_int8               2: HV3
                                                   3-255: reserved for future
                                                   use

 slot offset       2          u_int16   µs         0 ≤ slot offset < 1250
                                        received                                    1 to Tsniff/2
 sniff attempt     2          u_int16   slots      Number of receive slots

                                        received
 sniff timeout     2          u_int16   slots      Number of receive slots          0 to 0x0028

 sniff_subrating   4          u_int32   slots      Bits 27:1 of the master
 _instant                                          Bluetooth clock value
                                                   Only even values are valid1
 SubVersNr         2          u_int16              Defined by each company
 supervision                                                                        0 and 0x0190
                   2          u_int16   slots      0 means an infinite timeout
 timeout                                                                            to 0xFFFF

                                                   Bits 27:1 of the master
 switch instant    4          u_int32   slots      Bluetooth clock value
                                                   Only even values are valid1
                                                   Valid range is 4 – 254 slots     See Table
 TeSCO             1          u_int8    slots
                                                   Only even values are valid1      5.3

                                                   bit0 = 0: no timing change
                                                   bit0 = 1: timing change
                                                   bit1 = 0: use initialization 1
 timing control                                    bit1 = 1: use initialization 2
                   1          u_int8
 flags                                             bit2 = 0: access window
                                                   bit2 = 1: no access window
                                                   bit3-7: reserved for future
                                                   use

                                                   Length of each SAM sub-
                                                   map.
 TSAM-SM           1          u_int8    slots      Range 2 to 56.
                                                   Only even values are valid1

 Tsco              1          u_int8    slots      Only even values are valid1      2 and 6

                                                   Only even values less than
                                                   or equal to (supervisionTO *     0x0006 to
 Tsniff            2          u_int16   slots
                                                                                    0x0540
                                                   0.999) are valid1

Table 5.2: Parameters in LM PDUs. (Sheet 11 of 12)

Summary                                                                             06 December 2016
                                                                             Bluetooth SIG Proprietary
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Link Manager Protocol Specification




                    Length
                    (bytes)
                                                                                       Mandatory
 Name                         Type       Unit        Detailed
                                                                                       range

                                                     0: Existing SAM slot maps
                                                     containing any type 0 sub-
                                                     maps are invalidated
                                                     1: The defined type 0 sub-
                                                     map takes effect immedi-
 Update Mode       1          u_int8                 ately
                                                     2:The defined type 0 sub-
                                                     map takes effect at the start
                                                     of the next sub-interval
                                                     All other values are
                                                     reserved for future use.

                                                     See Bluetooth
 VersNr            1          u_int8
                                                     Assigned Numbers

                                                     Number of slots in the
                                                     retransmission window             See Table
 WeSCO             1          u_int8     slots
                                                     Valid range is 0 – 254 slots      5.3
                                                     Only even values are valid1
Table 5.2: Parameters in LM PDUs. (Sheet 12 of 12)
 1. If a device receives an LMP PDU with an odd value in this parameter field the PDU
    should be rejected with an error code of invalid LMP parameters.

Note:
Where a parameter is described as bits N:M of some other value V, the
parameter value in the PDU shall be V shifted right by M bits. Where the space
available for the parameter is greater than that needed (N-M+1 bits), the
parameter value still occupies the entire space and the remaining bits shall be
zero.

For example, if a 16 bit parameter is equal to 0xDEAD and bits 10:6 are stored
in a u_int8, the resulting parameter will be 0x1A.



                                Single Slot Packets                       3-Slot Packets

                                                                          EV4: 16
                                EV3: 6
                                                                          EV5: 16
 TeSCO                          2-EV3: 6-12 (even)
                                                                          2-EV5: 16
                                3-EV3: 6-18 (even)
                                                                          3-EV5: 16
 WeSCO                          0, 2, and 4                               0 and 6

 packet length M → S            10*TeSCO /2                               10*TeSCO /2

 packet length S → M            10*TeSCO /2                               10*TeSCO /2

Table 5.3: Mandatory parameter ranges for eSCO packet types


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Link Manager Protocol Specification


                                 Single Slot Packets                      3-Slot Packets

                                 At least one of A-law, mu-law,
 air mode                                                                 transparent
                                 CVSD, transparent
Table 5.3: Mandatory parameter ranges for eSCO packet types


5.3 LMP ENCAPSULATED

                        Major         Minor      Payload
 Name                   Type          Type       Length           Detailed

                                                                  X, Y format
                                                                  Bytes 23-0: X co-ordinate
 P-192 Public Key       1             1          48
                                                                  Bytes 47-24: Y co-ordinate
                                                                  Little Endian Format

                                                                  X, Y format
                                                                  Bytes 31-0: X co-ordinate
 P-256 Public Key       1             2          64
                                                                  Bytes 63-32: Y co-ordinate
                                                                  Little Endian Format

Table 5.4: LMP encapsulated




5.4 DEFAULT VALUES
Devices shall use these values before anything else has been negotiated:

 Parameter                  Value

 AFH_mode                   AFH_disabled
 AFH_reporting_mode         AFH_reporting_disabled

 drift                      250
 jitter                     10
 max slots                  1

 poll interval              40
Table 5.5: Device default values




Summary                                                                               06 December 2016
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    Core System Package [BR/EDR Controller volume]
                                                              Part D




                      PART D: ERROR CODES




                                                    Bluetooth SIG Proprietary
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Error Codes


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Error Codes


1 OVERVIEW OF ERROR CODES

This document lists the various possible error codes. When a command fails,
or an LMP, LL, or AMP message needs to indicate a failure, error codes are
used to indicate the reason for the error. Error codes have a size of one octet.

1.1 USAGE DESCRIPTIONS
The purpose of this section is to give descriptions of how the error codes
should be used. It is beyond the scope of this document to give detailed
descriptions of all situations where error codes can be used, especially as this
is implementation dependent.

1.2 HCI COMMAND ERRORS
If an HCI Command that should generate a Command Complete event
generates an error then this error shall be reported in the Command Complete
event.

If an HCI Command that sent a Command Status with the error code ‘Success’
to the Host before processing may find an error during execution then the error
may be reported in the normal completion command for the original command
or in a Command Status event.

Some HCI Commands may generate errors that need to be reported to the
Host, but there is insufficient information to determine how the command would
normally be processed. In this case, two events can be used to indicate this to
the Host, the Command Complete event and Command Status events. Which
of the two events is used is implementation-dependent.

1.3 LIST OF ERROR CODES
The error code of 0x00 means Success. The possible range of failure error
codes is 0x01-0xFF. Section 2 provides an error code usage description for
each failure error code.

Values marked as “Reserved for Future Use” or not listed in Table 1.1 can be
used in future versions of the specification. A Host shall consider any error
code that it does not explicitly understand equivalent to the “Unspecified Error
(0x1F).”

 Error Code           Name

 0x00                 Success
 0x01                 Unknown HCI Command

Table 1.1: List of Possible Error Codes



Overview of Error Codes                                              06 December 2016
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Error Codes


 Error Code           Name

 0x02                 Unknown Connection Identifier
 0x03                 Hardware Failure
 0x04                 Page Timeout

 0x05                 Authentication Failure
 0x06                 PIN or Key Missing
 0x07                 Memory Capacity Exceeded

 0x08                 Connection Timeout
 0x09                 Connection Limit Exceeded
 0x0A                 Synchronous Connection Limit To A Device Exceeded

 0x0B                 Connection Already Exists
 0x0C                 Command Disallowed

 0x0D                 Connection Rejected due to Limited Resources
 0x0E                 Connection Rejected Due To Security Reasons
 0x0F                 Connection Rejected due to Unacceptable BD_ADDR

 0x10                 Connection Accept Timeout Exceeded
 0x11                 Unsupported Feature or Parameter Value
 0x12                 Invalid HCI Command Parameters

 0x13                 Remote User Terminated Connection
 0x14                 Remote Device Terminated Connection due to Low Resources
 0x15                 Remote Device Terminated Connection due to Power Off

 0x16                 Connection Terminated By Local Host
 0x17                 Repeated Attempts
 0x18                 Pairing Not Allowed

 0x19                 Unknown LMP PDU
 0x1A                 Unsupported Remote Feature / Unsupported LMP Feature
 0x1B                 SCO Offset Rejected

 0x1C                 SCO Interval Rejected
 0x1D                 SCO Air Mode Rejected
 0x1E                 Invalid LMP Parameters / Invalid LL Parameters

 0x1F                 Unspecified Error
 0x20                 Unsupported LMP Parameter Value / Unsupported LL Parameter Value
 0x21                 Role Change Not Allowed

Table 1.1: List of Possible Error Codes

Overview of Error Codes                                                         06 December 2016
                                                                          Bluetooth SIG Proprietary
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Error Codes


 Error Code           Name

 0x22                 LMP Response Timeout / LL Response Timeout
 0x23                 LMP Error Transaction Collision / LL Procedure Collision
 0x24                 LMP PDU Not Allowed

 0x25                 Encryption Mode Not Acceptable
 0x26                 Link Key cannot be Changed
 0x27                 Requested QoS Not Supported

 0x28                 Instant Passed
 0x29                 Pairing With Unit Key Not Supported
 0x2A                 Different Transaction Collision

 0x2B                 Reserved for Future Use
 0x2C                 QoS Unacceptable Parameter

 0x2D                 QoS Rejected
 0x2E                 Channel Classification Not Supported
 0x2F                 Insufficient Security

 0x30                 Parameter Out Of Mandatory Range
 0x31                 Reserved for Future Use
 0x32                 Role Switch Pending

 0x33                 Reserved for Future Use
 0x34                 Reserved Slot Violation
 0x35                 Role Switch Failed

 0x36                 Extended Inquiry Response Too Large
 0x37                 Secure Simple Pairing Not Supported By Host
 0x38                 Host Busy - Pairing

 0x39                 Connection Rejected due to No Suitable Channel Found
 0x3A                 Controller Busy
 0x3B                 Unacceptable Connection Parameters

 0x3C                 Advertising Timeout
 0x3D                 Connection Terminated due to MIC Failure
 0x3E                 Connection Failed to be Established

 0x3F                 MAC Connection Failed
 0x40                 Coarse Clock Adjustment Rejected but Will Try to Adjust Using Clock
                      Dragging
Table 1.1: List of Possible Error Codes


Overview of Error Codes                                                           06 December 2016
                                                                            Bluetooth SIG Proprietary
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Error Codes


 Error Code           Name

 0x41                 Type0 Submap Not Defined
 0x42                 Unknown Advertising Identifier
 0x43                 Limit Reached

 0x44                 Operation Cancelled by Host
Table 1.1: List of Possible Error Codes




Overview of Error Codes                                      06 December 2016
                                                       Bluetooth SIG Proprietary
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Error Codes


2 ERROR CODE DESCRIPTIONS

2.1 UNKNOWN HCI COMMAND (0x01)
The Unknown HCI Command error code indicates that the Controller does not
understand the HCI Command Packet OpCode that the Host sent. The
OpCode given might not correspond to any of the OpCodes specified in this
document, or any vendor-specific OpCodes, or the command may have not
been implemented.

2.2 UNKNOWN CONNECTION IDENTIFIER (0x02)
The Unknown Connection Identifier error code indicates that a command was
sent from the Host that should identify a connection, but that connection does
not exist.

2.3 HARDWARE FAILURE (0x03)
The Hardware Failure error code indicates to the Host that something in the
Controller has failed in a manner that cannot be described with any other error
code. The meaning implied with this error code is implementation dependent.

2.4 PAGE TIMEOUT (0x04)
The Page Timeout error code indicates that a page timed out because of the
Page Timeout configuration parameter. This error code may occur only with the
Remote_Name_Request and Create_Connection commands.

2.5 AUTHENTICATION FAILURE (0x05)
The Authentication Failure error code indicates that pairing or authentication
failed due to incorrect results in the pairing or authentication procedure. This
could be due to an incorrect PIN or Link Key.

2.6 PIN OR KEY MISSING (0x06)
The PIN or Key Missing error code is used when pairing failed because of a
missing PIN, or authentication failed because of a missing Key.

2.7 MEMORY CAPACITY EXCEEDED (0x07)
The Memory Capacity Exceeded error code indicates to the Host that the
Controller has run out of memory to store new parameters.




Error Code Descriptions                                               06 December 2016
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Error Codes


2.8 CONNECTION TIMEOUT (0x08)
The Connection Timeout error code indicates that the link supervision timeout
has expired for a given connection.

2.9 CONNECTION LIMIT EXCEEDED (0x09)
The Connection Limit Exceeded error code indicates that an attempt to create
another connection failed because the Controller is already at its limit of the
number of connections it can support. The number of connections a device can
support is implementation dependent.

2.10 SYNCHRONOUS CONNECTION LIMIT TO A DEVICE
EXCEEDED (0x0A)
The Synchronous Connection Limit to a Device Exceeded error code indicates
that the Controller has reached the limit to the number of synchronous
connections that can be achieved to a device. The number of synchronous
connections a device can support is implementation dependent.

2.11 CONNECTION ALREADY EXISTS (0x0B)
The Connection Already Exists error code indicates that an attempt was made
to create a new Connection to a device when there is already a connection to
this device and multiple connections to the same device are not permitted.

2.12 COMMAND DISALLOWED (0x0C)
The Command Disallowed error code indicates that the command requested
cannot be executed because the Controller is in a state where it cannot
process this command at this time. This error shall not be used for command
OpCodes where the error code Unknown HCI Command is valid.

2.13 CONNECTION REJECTED DUE TO LIMITED
RESOURCES (0x0D)
The Connection Rejected Due To Limited Resources error code indicates that
a connection was rejected due to limited resources.

2.14 CONNECTION REJECTED DUE TO SECURITY REASONS
(0x0E)
The Connection Rejected Due To Security Reasons error code indicates that a
connection was rejected due to security requirements not being fulfilled, like
authentication or pairing.



Error Code Descriptions                                             06 December 2016
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Error Codes


2.15 CONNECTION REJECTED DUE TO UNACCEPTABLE
BD_ADDR (0x0F)
The Connection Rejected due to Unacceptable BD_ADDR error code indicates
that a connection was rejected because this device does not accept the
BD_ADDR. This may be because the device will only accept connections from
specific BD_ADDRs.

2.16 CONNECTION ACCEPT TIMEOUT EXCEEDED (0x10)
The Connection Accept Timeout Exceeded error code indicates that the
Connection Accept Timeout has been exceeded for this connection attempt.

2.17 UNSUPPORTED FEATURE OR PARAMETER VALUE
(0x11)
The Unsupported Feature Or Parameter Value error code indicates that a
feature or parameter value in the HCI command is not supported. This error
code shall not be used in an LMP PDU.

2.18 INVALID HCI COMMAND PARAMETERS (0x12)
The Invalid HCI Command Parameters error code indicates that at least one of
the HCI command parameters is invalid.

This shall be used when:
    • the parameter total length is invalid.
    • a command parameter is an invalid type.
    • a connection identifier does not match the corresponding event.
    • a parameter is odd when it is required to be even.
    • a parameter is outside of the specified range.
    • two or more parameter values have inconsistent values.

Note: An invalid type can be, for example, when a SCO connection handle is
used where an ACL connection handle is required.

2.19 REMOTE USER TERMINATED CONNECTION (0x13)
The Remote User Terminated Connection error code indicates that the user on
the remote device terminated the connection.




Error Code Descriptions                                            06 December 2016
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Error Codes


2.20 REMOTE DEVICE TERMINATED CONNECTION DUE TO
LOW RESOURCES (0x14)
The Remote Device Terminated Connection due to Low Resources error code
indicates that the remote device terminated the connection because of low
resources.

2.21 REMOTE DEVICE TERMINATED CONNECTION DUE TO
POWER OFF (0x15)
The Remote Device Terminated Connection due to Power Off error code
indicates that the remote device terminated the connection because the device
is about to power off.

2.22 CONNECTION TERMINATED BY LOCAL HOST (0x16)
The Connection Terminated By Local Host error code indicates that the local
device terminated the connection.

2.23 REPEATED ATTEMPTS (0x17)
The Repeated Attempts error code indicates that the Controller is disallowing
an authentication or pairing procedure because too little time has elapsed since
the last authentication or pairing attempt failed.

2.24 PAIRING NOT ALLOWED (0x18)
The Pairing Not Allowed error code indicates that the device does not allow
pairing. For example, when a device only allows pairing during a certain time
window after some user input allows pairing.

2.25 UNKNOWN LMP PDU (0x19)
The Unknown LMP PDU error code indicates that the Controller has received
an unknown LMP OpCode.

2.26 UNSUPPORTED REMOTE FEATURE / UNSUPPORTED
LMP FEATURE (0x1A)
The Unsupported Remote Feature error code indicates that the remote device
does not support the feature associated with the issued command or LMP PDU.

2.27 SCO OFFSET REJECTED (0x1B)
The SCO Offset Rejected error code indicates that the offset requested in the
LMP_SCO_link_req PDU has been rejected.

Error Code Descriptions                                             06 December 2016
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2.28 SCO INTERVAL REJECTED (0x1C)
The SCO Interval Rejected error code indicates that the interval requested in
the LMP_SCO_link_req PDU has been rejected.

2.29 SCO AIR MODE REJECTED (0x1D)
The SCO Air Mode Rejected error code indicates that the air mode requested
in the LMP_SCO_link_req PDU has been rejected.

2.30 INVALID LMP PARAMETERS / INVALID LL
PARAMETERS (0x1E)
The Invalid LMP Parameters / Invalid LL Parameters error code indicates that
some LMP PDU / LL Control PDU parameters were invalid. This shall be used
when:
    • the PDU length is invalid.
    • a parameter is odd when it is required to be even.
    • a parameter is outside of the specified range.
    • two or more parameters have inconsistent values.

2.31 UNSPECIFIED ERROR (0x1F)
The Unspecified Error error code indicates that no other error code specified is
appropriate to use.

2.32 UNSUPPORTED LMP PARAMETER VALUE /
UNSUPPORTED LL PARAMETER VALUE (0x20)
The Unsupported LMP Parameter Value / Unsupported LL Parameter Value
error code indicates that an LMP PDU or an LL Control PDU contains at least
one parameter value that is not supported by the Controller at this time. This is
normally used after a long negotiation procedure, for example during an
LMP_hold_req, LMP_sniff_req and LMP_encryption_key_size_req PDU
exchanges. This may be used by the Link Layer, for example during the
Connection Parameters Request Link Layer Control procedure.

2.33 ROLE CHANGE NOT ALLOWED (0x21)
The Role Change Not Allowed error code indicates that a Controller will not
allow a role change at this time.




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2.34 LMP RESPONSE TIMEOUT / LL RESPONSE TIMEOUT
(0x22)
The LMP Response Timeout / LL Response Timeout error code indicates that
an LMP transaction failed to respond within the LMP response timeout or an LL
transaction failed to respond within the LL response timeout.

2.35 LMP ERROR TRANSACTION COLLISION /
LL PROCEDURE COLLISION (0x23)
The LMP Error Transaction Collision / LL Procedure Collision error code
indicates that an LMP transaction or LL procedure has collided with the same
transaction or procedure that is already in progress.

2.36 LMP PDU NOT ALLOWED (0x24)
The LMP PDU Not Allowed error code indicates that a Controller sent an LMP
PDU with an OpCode that was not allowed.

2.37 ENCRYPTION MODE NOT ACCEPTABLE (0x25)
The Encryption Mode Not Acceptable error code indicates that the requested
encryption mode is not acceptable at this time.

2.38 LINK KEY CANNOT BE CHANGED (0x26)
The Link Key cannot be Changed error code indicates that a link key cannot be
changed because a fixed unit key is being used.

2.39 REQUESTED QoS NOT SUPPORTED (0x27)
The Requested QoS Not Supported error code indicates that the requested
Quality of Service is not supported.

2.40 INSTANT PASSED (0x28)
The Instant Passed error code indicates that an LMP PDU or LL PDU that
includes an instant cannot be performed because the instant when this would
have occurred has passed.

2.41 PAIRING WITH UNIT KEY NOT SUPPORTED (0x29)
The Pairing With Unit Key Not Supported error code indicates that it was not
possible to pair as a unit key was requested and it is not supported.




Error Code Descriptions                                            06 December 2016
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2.42 DIFFERENT TRANSACTION COLLISION (0x2A)
The Different Transaction Collision error code indicates that an LMP
transaction or LL Procedure was started that collides with an ongoing
transaction.

2.43 QoS UNACCEPTABLE PARAMETER (0x2C)
The QoS Unacceptable Parameter error code indicates that the specified
quality of service parameters could not be accepted at this time, but other
parameters may be acceptable.

2.44 QoS REJECTED (0x2D)
The QoS Rejected error code indicates that the specified quality of service
parameters cannot be accepted and QoS negotiation should be terminated.

2.45 CHANNEL ASSESSMENT NOT SUPPORTED (0x2E)
The Channel Assessment Not Supported error code indicates that the
Controller cannot perform channel assessment because it is not supported.

2.46 INSUFFICIENT SECURITY (0x2F)
The Insufficient Security error code indicates that the HCI command or LMP
PDU sent is only possible on an encrypted link.

2.47 PARAMETER OUT OF MANDATORY RANGE (0x30)
The Parameter Out Of Mandatory Range error code indicates that a parameter
value requested is outside the mandatory range of parameters for the given
HCI command or LMP PDU and the recipient does not accept that value.

2.48 ROLE SWITCH PENDING (0x32)
The Role Switch Pending error code indicates that a Role Switch is pending.
This can be used when an HCI command or LMP PDU cannot be accepted
because of a pending role switch. This can also be used to notify a peer device
about a pending role switch.

2.49 RESERVED SLOT VIOLATION (0x34)
The Reserved Slot Violation error code indicates that the current Synchronous
negotiation was terminated with the negotiation state set to Reserved Slot
Violation.



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2.50 ROLE SWITCH FAILED (0x35)
The Role Switch Failed error code indicates that a role switch was attempted
but it failed and the original piconet structure is restored. The switch may have
failed because the TDD switch or piconet switch failed.

2.51 EXTENDED INQUIRY RESPONSE TOO LARGE (0x36)
The Extended Inquiry Response Too Large error code indicates that the
extended inquiry response, with the requested requirements for FEC, is too
large to fit in any of the packet types supported by the Controller.

2.52 SIMPLE PAIRING NOT SUPPORTED BY HOST (0x37)
The Secure Simple Pairing Not Supported by Host error code indicates that the
IO capabilities request or response was rejected because the sending Host
does not support Secure Simple Pairing even though the receiving Link
Manager does.

2.53 HOST BUSY–PAIRING (0x38)
The Host Busy - Pairing error code indicates that the Host is busy with another
pairing operation and unable to support the requested pairing. The receiving
device should retry pairing again later.

2.54 CONNECTION REJECTED DUE TO NO SUITABLE
CHANNEL FOUND (0x39)
The Connection Rejected due to No Suitable Channel Found error code
indicates that the Controller could not calculate an appropriate value for the
Channel selection operation.

2.55 CONTROLLER BUSY (0x3A)
The Controller Busy error code indicates that the operation was rejected
because the Controller was busy and unable to process the request.

2.56 UNACCEPTABLE CONNECTION PARAMETERS (0x3B)
The Unacceptable Connection Parameters error code indicates that the remote
device either terminated the connection or rejected a request because of one
or more unacceptable connection parameters.




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Error Codes


2.57 ADVERTISING TIMEOUT (0x3C)1
The Advertising Timeout error code indicates that advertising for a fixed
duration completed or, for directed advertising, that advertising completed
without a connection being created.

2.58 CONNECTION TERMINATED DUE TO MIC FAILURE
(0x3D)
The Connection Terminated Due to MIC Failure error code indicates that the
connection was terminated because the Message Integrity Check (MIC) failed
on a received packet.

2.59 CONNECTION FAILED TO BE ESTABLISHED (0x3E)
The Connection Failed to be Established error code indicates that the LL
initiated a connection but the connection has failed to be established.

2.60 MAC CONNECTION FAILED (0x3F)
The MAC of the 802.11 AMP was requested to connect to a peer, but the
connection failed.

2.61 COARSE CLOCK ADJUSTMENT REJECTED BUT WILL
     TRY TO ADJUST USING CLOCK DRAGGING (0x40)
The Coarse Clock Adjustment Rejected but Will Try to Adjust Using Clock
Dragging error code indicates that the master, at this time, is unable to make a
coarse adjustment to the piconet clock, using the supplied parameters. Instead
the master will attempt to move the clock using clock dragging.

2.62 TYPE0 SUBMAP NOT DEFINED (0x41)
The Type0 Submap Not Defined error code indicates that the LMP PDU is
rejected because the Type 0 submap is not currently defined.

2.63 UNKNOWN ADVERTISING IDENTIFIER (0x42)
The Unknown Advertising Identifier error code indicates that a command was
sent from the Host that should identify an Advertising or Sync handle, but the
Advertising or Sync handle does not exist.




1. Formerly called Directed Advertising Timeout


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Error Codes


2.64 LIMIT REACHED (0x43)
The Limit Reached error code indicates that number of operations requested
has been reached and has indicated the completion of the activity (e.g.,
advertising or scanning).

2.65 OPERATION CANCELLED BY HOST (0x44)
The Operation Cancelled by Host error code indicates a request to the
Controller issued by the Host and still pending was successfully canceled.




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    Core System Package [BR/EDR Controller volume]
                                                              Part E




            PART E: HOST CONTROLLER
               INTERFACE FUNCTIONAL
                       SPECIFICATION




                         This document describes the
                         functional specification for the Host
                         Controller Interface (HCI).
                         The HCI provides a uniform command
                         interface to a Controller.




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                          Command ................................................................. 1383
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1 INTRODUCTION

This Part of the Bluetooth Core Specification describes the functional
specifications for the Host Controller Interface (HCI). The HCI provides a
uniform interface method of accessing a Bluetooth Controller’s capabilities.
The next three sections provide a brief overview of the lower layers of the
Bluetooth software stack and of the Bluetooth hardware. Section 2 provides an
overview of the Lower HCI Device Driver Interface on the Host device. Section
4 describes the flow control used between the Host and the Controller. Section
7 describes each of the HCI Commands in detail, identifies parameters for
each of the commands, and lists events associated with each command.

This specification is applicable to the following types of Controllers:
• BR/EDR Controller
• BR/EDR/LE Controller
• LE Controller
• AMP Controller

A Host may drive a Primary Controller and zero or more AMP Controllers. A
Primary Controller shall support one of the following sets of functionality:
• BR/EDR only
• LE only
• BR/EDR/LE

In the following sections, the term “BR/EDR Controller” is used to describe the
BR/EDR functionality of a Primary Controller which may be either a BR/EDR
only Controller or a BR/EDR/LE Controller. Similarly, the term “LE Controller” is
used to describe the LE functionality of a Primary Controller which may be
either an LE only Controller or a BR/EDR/LE Controller.

A BR/EDR Controller supports BR/EDR functionality only. A BR/EDR/LE
Controller supports BR/EDR functionality and LE functionality. An LE Controller
supports LE functionality only. An AMP Controller supports an AMP PAL. A
Primary Controller is either a BR/EDR Controller, a BR/EDR/LE Controller, or
an LE Controller.




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1.1 LOWER LAYERS OF THE BLUETOOTH SOFTWARE STACK


                                              Bluetooth Host


                                       Other Higher Layer Drivers




                                                HCI Driver




                                          Physical Bus Driver
                                       (USB, SDIO, UART, Other)




                                       Physical Bus Hardware

                                        Physical Bus Firmware
                                      (USB, SDIO, UART, Other)




                       HCI                                               HCI




                    Link
                                 Link Layer                           AMP PAL
                   Manager



                                 Link Layer
        Baseband Controller                                         AMP MAC & PHY
                                 Controller


               BR/EDR/LE Controller                                 AMP Controller



Figure 1.1: Overview of the Lower Software Layers


Figure 1.1 provides an overview of the lower software layers.

Several layers may exist between the HCI driver on the Host system and the
HCI layer in the Controller(s). These intermediate layers, the Host Controller
Transport Layer, provide the ability to transfer data without intimate knowledge
of the data.




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         Host 1                                                                                                                                                                   Host 2
     Bluetooth Host                                                                                                                                                           Bluetooth Host

                                                                                                  User Data




      Other Higher                                          Wireless                                                                                                         Other Higher
      Layer Driver                                                                                                                                                           Layer Driver
                                                                                                  Wireless

                                     BR/EDR/LE Controller                   AMP Controller                    AMP Controller         BR/EDR/LE Controller
                                      Baseband Controller              AMP MAC & PHY                     AMP MAC & PHY                Baseband Controller

                                                  Firmware                                                                           Firmware
                         HCI                    Link Manager                AMP PAL                           AMP PAL              Link Manager
       HCI Driver                                                                                                                                                  HCI         HCI Driver
                                      HCI Firmware                                                                                        HCI Firmware
                                                                       AMP HCI Firmware                 AMP HCI Firmware

        HCI
      Physical Bus
       Firmware
                       Physical   Physical
                                   PhysicalBus
                                   Card,
                                      Other)
                                            Bus(USB,
                                         Other)
                                                (USB,SDIO,
                                             Firmware
                                                      PC
                                                Firmware
                                                                       Physical Bus (USB, SDIO,
                                                                           Other) Firmware
                                                                                                        Physical Bus (USB, SDIO,
                                                                                                            Other) Firmware
                                                                                                                                       Physical Bus (USB,
                                                                                                                                      SDIO, Other) Firmware
                                                                                                                                                                Physical      Physical Bus
                                                                                                                                                                               Firmware




                      Physical Bus                                                                                                                            Physical Bus
                       Hardware                                         Hardware                                                                               Hardware
                                                      Software
                                                      Firmware



Figure 1.2: End to End Overview of Lower Software Layers to Transfer Data


Figure 1.2 illustrates the path of a data transfer from one device to another. The
HCI driver on the Host exchanges data and commands with the HCI firmware
on the Bluetooth hardware. The Host Control Transport Layer (i.e. physical
bus) driver provides both HCI layers with the ability to exchange information
with each other.

The Host will receive asynchronous notifications of HCI events independent of
which Host Controller Transport Layer is used. HCI events are used for
notifying the Host when something occurs. When the Host discovers that an
event has occurred it will then parse the received event packet to determine
which event occurred.

A BR/EDR/LE Controller uses one shared command buffer and flow control for
BR/EDR and LE. Data buffers can be either shared between BR/EDR and LE
or there may be separate data buffers for BR/EDR and LE. The configuration of
a Controller is determined through HCI.

LE Controllers use a reduced set of HCI commands and events. Some
commands and events are re-used for multiple Controller types.




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2 OVERVIEW OF HOST CONTROLLER TRANSPORT
LAYER

The Host driver stack has a transport layer between the Host Controller
Interface driver and the Host.

The main goal of this transport layer is transparency. The Host Controller driver
(which interfaces to the Controller) should be independent of the underlying
transport technology. In addition, the transport should not require any
understanding of the data that the Host Controller driver passes to the
Controller. This allows the logical interface (HCI) or the Controller to be
upgraded without affecting the transport layer.

The specified Host Controller Transport Layers are described in Volume 4,
Host Controller Interface [Transport Layer].

2.1 HOST CONTROLLER TRANSPORT LAYER AND AMPS
The logical Host Controller Interface does not consider multiplexing/routing
over the Host Controller Transport Layer(s). The Host designer must consider
this in deciding which of the multiple Controller configurations it will support.
Each logical AMP HCI instantiation is particular to a single AMP Controller. The
Host shall direct each HCI Command to a specific AMP, and be aware of the
source of each HCI Event, and manage flow control separately for each HCI.
The Host's Controller_ID concept used for AMP enumeration may assist with
this.

The logical HCI definition does not consider the initial discovery of what AMPs
are present in the system.

The upper layers discover the AMP capabilities. As seen by the AMP Manager,
each local AMP has a Controller_ID that is used to route the data and
commands to the correct AMP Controller. This identifier is not used in AMP
HCI.

The separate logical HCIs within a system may be on the same physical HCI
transport, on separate physical HCI transports, or any combination. This may
require a layer of multiplexing, which is not defined within this AMP HCI logical
specification.

The logical HCI is not affected by this topology. The logical HCI definition
describes commands and events as seen by a single AMP.




Overview of Host Controller Transport Layer                           06 December 2016
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3 OVERVIEW OF COMMANDS AND EVENTS

The commands and events are sent between the Host and the Controller(s).
The version information in this section denotes the version number of the
specification in which this command or event is first specified. The Supported
Controllers column denotes the Controller types that can support the
command: All, BR/EDR, LE, or AMP, or a comma-separated list of Controller
types (e.g. “BR/EDR, LE”). Not all Controllers of the named type(s) will
necessarily support the command.

                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Accept Connection                1.1     The Accept Connection Request             BR/EDR
 Request Command                          command is used to accept a new
                                          incoming BR/EDR connection
                                          request.

 Accept Logical Link              3.0 +   The Accept Logical Command will           AMP
 Command                          HS      cause the AMP Controller to create a
                                          logical link to the remote AMP Con-
                                          troller identified by the physical link
                                          handle.

 Accept Physical Link             3.0 +   The Accept Physical Link command          AMP
 Command                          HS      will cause the AMP Controller to
                                          accept a Physical Link request from
                                          the initiating BR/EDR Controller 's
                                          AMP Controller specified by the com-
                                          mand parameters.

 Accept Synchronous Con-          1.2     The Accept Synchronous Connec-            BR/EDR
 nection Request Command                  tion Request command is used to
                                          accept an incoming request for a
                                          synchronous connection and to
                                          inform the local Link Manager about
                                          the acceptable parameter values for
                                          the synchronous connection.

 AMP Receiver Report              3.0 +   The AMP Receiver Reportevent shall        AMP
 Event                            HS      be sent from the AMP to the tester
                                          via the AMP Test Manager at the
                                          interval configured by the EnableAM-
                                          PReceiverReports command.

 AMP Start Test Event             3.0 +   The AMP Start Test event shall be         AMP
                                  HS      generated when the AMP Test com-
                                          mand has completed and the first
                                          data is ready to be sent or received.

Table 3.1: Alphabetical list of commands and events (Sheet 1 of 41)




Overview of Commands and Events                                                     06 December 2016
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                                                                                  Supported
 Name                             Vers.   Summary description                     Controllers

 AMP Status Change Event          3.0 +   The AMP Status Change event can         AMP
                                  HS      occur at any time, after initial Read
                                          Local AMP_Info request, the Control-
                                          ler detects a change has occurred
                                          regarding status.

 AMP Test Command                 3.0 +   The AMP Test command is used to         AMP
                                  HS      configure and start a test. This com-
                                          mand shall be only valid in AMP Test
                                          Mode.
 AMP Test End Command             3.0 +   The AMP Test End command is used        AMP
                                  HS      to stop any test scenario which is in
                                          progress. This command shall only
                                          be used in AMP Test Mode when a
                                          test is in progress.

 AMP Test End Event               3.0 +   The AMP Test End event shall be         AMP
                                  HS      generated to indicate that the AMP
                                          has transmitted or received the num-
                                          ber of frames/bursts configured.
 Authenticated Payload            4.1     This event is used to indicate that a   BR/EDR, LE
 Timeout Expired Event                    packet containing a valid MIC on the
                                          Handle was not received within the
                                          authenticatedPayloadTO.

 Authentication Complete          1.1     The Authentication Complete event       BR/EDR
 Event                                    occurs when authentication has
                                          been completed for the specified
                                          connection.
 Authentication Requested         1.1     The Authentication Requested com-       BR/EDR
 Command                                  mand is used to establish authentica-
                                          tion between the two devices
                                          associated with the specified Con-
                                          nection_Handle.

 Change Connection Link           1.1     The Change Connection Link Key          BR/EDR
 Key Command                              command is used to force both
                                          devices of a connection associated
                                          to the Connection_Handle, to gener-
                                          ate a new link key.

 Change Connection Link           1.1     The Change Connection Link Key          BR/EDR
 Key Complete Event                       Complete event is used to indicate
                                          that the change in the Link Key for
                                          the Connection_Handle specified by
                                          the Connection_Handle event
                                          parameter had been completed.

Table 3.1: Alphabetical list of commands and events (Sheet 2 of 41)




Overview of Commands and Events                                                   06 December 2016
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Change Connection                1.1     The Change Connection Packet              BR/EDR
 Packet Type Command                      Type command is used to change
                                          which packet types can be used for a
                                          connection that is currently estab-
                                          lished.

 Channel Selected Event           3.0 +   The Channel Selected event indi-          AMP
                                  HS      cates to the Host originating the
                                          physical link that the link information
                                          data is available to be read using the
                                          Read Local AMP Assoc command.

 Command Complete Event           1.1     The Command Complete event is             All
                                          used by the Controller to pass the
                                          return status of a command and the
                                          other event parameters for each HCI
                                          Command.

 Command Status Event             1.1     The Command Status event is used          All
                                          to indicate that the command
                                          described by the Command_Op-
                                          code parameter has been received
                                          and the Controller is currently per-
                                          forming the task for this command.

 Connection Complete              1.1     The Connection Complete event             BR/EDR
 Event                                    indicates to both of the Hosts forming
                                          the connection that a new BR/EDR
                                          connection has been established.

 Connection Packet Type           1.1     The Connection Packet Type                BR/EDR
 Changed Event                            Changed event is used to indicate
                                          the completion of the process of the
                                          Link Manager changing the packet
                                          type mask used for the specified
                                          Connection_Handle.

 Connection Request Event         1.1     The Connection Request event is           BR/EDR
                                          used to indicate that a new incoming
                                          BR/EDR connection is trying to be
                                          established.
 Connectionless Slave             CSA     The Connectionless Slave Broadcast        BR/EDR
 Broadcast Channel Map            4       Channel Map Change event indi-
 Change Event                             cates to the Host that the BR/EDR
                                          Controller has moved to a new AFH
                                          channel map for the PBD logical link.

 Connectionless Slave             CSA     The Connectionless Slave Broadcast        BR/EDR
 Broadcast Receive Event          4       Receive event provides the Host with
                                          the data received from a Connection-
                                          less Slave Broadcast packet.
Table 3.1: Alphabetical list of commands and events (Sheet 3 of 41)




Overview of Commands and Events                                                     06 December 2016
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Connectionless Slave             CSA     On the Connectionless Slave Broad-        BR/EDR
 Broadcast Timeout Event          4       cast Receiver, the Connectionless
                                          Slave Broadcast Timeout event indi-
                                          cates to the Host that the BR/EDR
                                          Controller has lost synchronization
                                          with the Connectionless Slave
                                          Broadcast Transmitter.
                                          On the Connectionless Slave Broad-
                                          cast Transmitter, the Connectionless
                                          Slave Broadcast Timeout event indi-
                                          cates to the Host that the BR/EDR
                                          Controller has been unable to trans-
                                          mit a Connectionless Slave Broad-
                                          cast packet for the timeout interval
                                          specified in the Set Connectionless
                                          Slave Broadcast command.

 Create Connection Cancel         1.2     The Create Connection Cancel com-         BR/EDR
 Command                                  mand is used to cancel an ongoing
                                          Create Connection.
 Create Connection Com-           1.1     The Create Connection command             BR/EDR
 mand                                     will cause the BR/EDR Link Manager
                                          to create an ACL connection to the
                                          BR/EDR Controller with the
                                          BD_ADDR specified by the com-
                                          mand parameters.

 Create Logical Link              3.0 +   The Create Logical Command will           AMP
 Command                          HS      cause the AMP Controller to create a
                                          logical link to the remote AMP Con-
                                          troller identified by the physical link
                                          handle.

 Create New Unit Key Com-         1.1     The Create New Unit Key command           BR/EDR
 mand                                     is used to create a new unit key.
 Create Physical Link             3.0 +   The Create Physical Link command          AMP
 Command                          HS      will cause the AMP Controller to initi-
                                          ate a Physical Link creation to the
                                          remote BR/EDR Controller's AMP
                                          Controller specified by the command
                                          parameters.

 Data Buffer Overflow Event       1.1     The Data Buffer Overflow event is         All
                                          used to indicate that the Controller's
                                          data buffers have overflowed,
                                          because the Host has sent more
                                          packets than allowed.
Table 3.1: Alphabetical list of commands and events (Sheet 4 of 41)




Overview of Commands and Events                                                     06 December 2016
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Delete Reserved                  CSA     The Delete Reserved LT_ADDR              BR/EDR
 LT_ADDR Command                  4       command requests that the BR/EDR
                                          Controller cancel the reservation of a
                                          specific LT_ADDR reserved for the
                                          purposes of Connectionless Slave
                                          Broadcast.

 Delete Stored Link Key           1.1     The Delete Stored Link Key com-          BR/EDR
 Command                                  mand provides the ability to remove
                                          one or more of the link keys stored in
                                          the Controller.
 Disconnect Command               1.1     The Disconnect command is used to        BR/EDR,
                                          terminate an existing BR/EDR or LE       LE
                                          connection.

 Disconnect Logical Link          3.0 +   The Disconnect Logical Link com-         AMP
 Command                          HS      mand is used to terminate the desig-
                                          nated logical link.
 Disconnect Physical Link         3.0 +   The Disconnect Physical Link com-        AMP
 Command                          HS      mand is used to terminate the desig-
                                          nated physical link (during or after
                                          creation).

 Disconnection Complete           1.1     The Disconnection Complete event         BR/EDR,
 Event                                    occurs when a connection has been        LE
                                          terminated.
 Disconnection Logical Link       3.0 +   The Disconnection Logical Link           AMP
 Complete Event                   HS      Complete event occurs when an
                                          AMP Logical Link has been termi-
                                          nated.
 Disconnection Physical           3.0 +   The Disconnection Physical Link          AMP
 Link Complete Event              HS      Complete event occurs when an
                                          AMP Physical Link has been termi-
                                          nated.

 Enable AMP Receiver              3.0+    The Enable AMP Receiver Reports          AMP
 Reports Command                  HS      command is used to enable and dis-
                                          able the reporting of frames
                                          received.
 Enable Device Under Test         1.1     The Enable Device Under Test Mode        BR/EDR,
 Mode Command                             command will allow the local Con-        AMP
                                          troller to enter test mode via LMP
                                          test commands. The Host issues this
                                          command when it wants the local
                                          device to be the DUT for the Testing
                                          scenarios as described in the Blue-
                                          tooth Test Mode document.

Table 3.1: Alphabetical list of commands and events (Sheet 5 of 41)




Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Encryption Change Event          1.1     The Encryption Change event is            BR/EDR, LE
                                          used to indicate that the change in
                                          the encryption has been completed
                                          for the Connection_Handle specified
                                          by the Connection_Handle event
                                          parameter.

 Encryption Key Refresh           2.1 +   The Encryption Key Refresh Com-           BR/EDR, LE
 Complete Event                   EDR     plete event is used to indicate to the
                                          Host that the encryption key was
                                          refreshed on the given Connec-
                                          tion_Handle any time encryption is
                                          paused and then resumed.

 Enhanced Accept Synchro-         CSA     The Enhanced Accept Synchronous           BR/EDR
 nous Connection Request          2       Connection Request command is
 Command                                  used to accept an incoming request
                                          for a synchronous connection and to
                                          inform the local Link Manager about
                                          the acceptable parameter values for
                                          the synchronous connection.

 Enhanced Flush Command           2.1 +   The Enhanced Flush command is             BR/EDR,
                                  EDR     used to discard specific packets cur-     AMP
                                          rently pending for transmission in the
                                          Controller for the specified Handle.
                                          This command takes a parameter
                                          specifying the type of packets to be
                                          flushed.

 Enhanced Flush Complete          2.1 +   The Enhanced Flush Complete               BR/EDR,
 Event                            EDR     event is used to indicate that an         AMP
                                          Enhanced Flush is complete.

 Enhanced Setup Synchro-          CSA     The Enhanced Setup Synchronous            BR/EDR
 nous Connection Com-             2       Connection command adds a new or
 mand                                     modifies an existing synchronous
                                          logical transport (SCO or eSCO) on
                                          a physical link depending on the
                                          Connection_Handle parameter spec-
                                          ified.

 Exit Periodic Inquiry Mode       1.1     The Exit Periodic Inquiry Mode com-       BR/EDR
 Command                                  mand is used to end the Periodic
                                          Inquiry mode when the local device
                                          is in Periodic Inquiry Mode.
 Exit Sniff Mode Command          1.1     The Exit Sniff Mode command is            BR/EDR
                                          used to end the sniff mode for a Con-
                                          nection_Handle which is currently in
                                          sniff mode.

Table 3.1: Alphabetical list of commands and events (Sheet 6 of 41)




Overview of Commands and Events                                                     06 December 2016
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Host Controller Interface Functional Specification


                                                                                     Supported
 Name                             Vers.   Summary description                        Controllers

 Extended Inquiry Result          2.1 +   The Extended Inquiry Result event          BR/EDR
 Event                            EDR     indicates that a BR/EDR Controller
                                          has responded with an extended
                                          inquiry response during the current
                                          Inquiry process.

 Flow Spec Modify                 3.0 +   The Flow Spec Modify command               AMP
 Command                          HS      modifies certain parameters of an
                                          existing Logical Link's Flow Spec on
                                          this AMP Controller.
 Flow Spec Modify                 3.0 +   The Flow Spec Modify Complete              AMP
 Complete Event                   HS      event indicates to the Host that a
                                          Flow Spec Modify command has
                                          been completed.

 Flow Specification Com-          1.2     The Flow Specification command is          BR/EDR
 mand                                     used to specify the flow parameters
                                          for the traffic carried over the ACL
                                          connection identified by the Connec-
                                          tion_Handle.

 Flow Specification Com-          1.2     The Flow Specification Complete            BR/EDR
 plete Event                              event is used to inform the Host
                                          about the Quality of Service for the
                                          ACL connection the Controller is able
                                          to support.

 Flush Command                    1.1     The Flush command is used to dis-          BR/EDR
                                          card all data that is currently pending
                                          for transmission in the Controller for
                                          the specified Connection_Handle.
 Flush Occurred Event             1.1     The Flush Occurred event is used to        BR/EDR,
                                          indicate that, for the specified Han-      AMP
                                          dle, the data to be transmitted has
                                          been discarded.
 Get MWS Transport Layer          CSA     The Get MWS Transport Layer Con-           BR/EDR, LE
 Configuration Command            3       figuration command reads the sup-          and AMP
                                          ported baud rates from the
                                          Controller.

 Hardware Error Event             1.1     The Hardware Error event is used to        All
                                          indicate some type of hardware fail-
                                          ure for the Controller.
 Hold Mode Command                1.1     The Hold Mode command is used to           BR/EDR
                                          initiate Hold Mode.
Table 3.1: Alphabetical list of commands and events (Sheet 7 of 41)




Overview of Commands and Events                                                      06 December 2016
                                                                               Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                      Supported
 Name                             Vers.   Summary description                         Controllers

 Host Buffer Size Command         1.1     The Host Buffer Size command is             BR/EDR, LE
                                          used by the Host to notify the Con-
                                          troller about its buffer sizes for ACL
                                          and synchronous data. The Control-
                                          ler will segment the data to be trans-
                                          mitted from the Controller to the
                                          Host, so that data contained in HCI
                                          Data Packets will not exceed these
                                          sizes.

 Host Number Of Com-              1.1     The Host Number Of Completed                All
 pleted Packets Command                   Packets command is used by the
                                          Host to indicate to the Controller
                                          when the Host is ready to receive
                                          more HCI packets for any Connec-
                                          tion_Handle.

 Inquiry Cancel Command           1.1     The Inquiry Cancel command will             BR/EDR
                                          cause the BR/EDR Controller to stop
                                          the current Inquiry if the BR/EDR
                                          Controller is in Inquiry Mode.
 Inquiry Command                  1.1     The Inquiry command will cause the          BR/EDR
                                          BR/EDR Controller to enter Inquiry
                                          Mode. Inquiry Mode is used to dis-
                                          covery other nearby BR/EDR Con-
                                          trollers.

 Inquiry Complete Event           1.1     The Inquiry Complete event indi-            BR/EDR
                                          cates that the Inquiry is finished.

 Inquiry Response Notifica-       CSA     The Inquiry Response Notification           BR/EDR
 tion Event                       4       event indicates to the Host that the
                                          BR/EDR Controller responded to an
                                          inquiry message.
 Inquiry Result Event             1.1     The Inquiry Result event indicates          BR/EDR
                                          that a BR/EDR Controller or multiple
                                          BR/EDR Controllers have responded
                                          so far during the current Inquiry pro-
                                          cess.

 Inquiry Result with RSSI         1.2     The Inquiry Result with RSSI event          BR/EDR
 Event                                    indicates that a BR/EDR Controller
                                          or multiple BR/EDR Controllers have
                                          responded so far during the current
                                          Inquiry process.

 IO Capability Request            2.1 +   The IO Capability Request event is          BR/EDR
 Event                            EDR     used to indicate that the IO capabili-
                                          ties of the Host are required for a
                                          simple pairing process.
Table 3.1: Alphabetical list of commands and events (Sheet 8 of 41)




Overview of Commands and Events                                                       06 December 2016
                                                                                Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 IO Capability Request Neg-       2.1 +   The IO_Capability_Request_Nega-           BR/EDR
 ative Reply Command              EDR     tive_Reply command is used to
                                          reject a pairing attempt after an HCI
                                          IO Capability Request event has
                                          been received by the Host.

 IO Capability Request            2.1 +   The IO Capability_Request_Reply           BR/EDR
 Reply Command                    EDR     command is used to reply to an IO
                                          Capability Request event from the
                                          Controller, and specifies the current
                                          I/O capabilities of the Host.

 IO Capability Response           2.1 +   The IO Capability Response event is       BR/EDR
 Event                            EDR     used to indicate to the Host that IO
                                          capabilities from a remote device
                                          specified by BD_ADDR have been
                                          received during a simple pairing pro-
                                          cess.

 Keypress Notification            2.1 +   The Keypress Notification event is        BR/EDR
 Event                            EDR     sent to the Host after a passkey noti-
                                          fication has been received by the
                                          Link Manager on the given
                                          BD_ADDR.

 LE Add Device To Periodic        5.0     The LE Add Device To Periodic             LE
 Advertiser List Command                  Advertiser List command will add a
                                          device to the Periodic Advertiser List.

 LE Add Device To Resolv-         4.2     The LE Add Device to Resolving List       LE
 ing List Command                         command is used to add one device
                                          to the list of address translations
                                          used to resolve Resolvable Private
                                          Addresses in the Controller.

 LE Add Device To White           4.0     The LE Add Device To White List           LE
 List Command                             Command will add a device to the
                                          White List.
 LE Advertising Report            4.0     The LE Advertising Report event           LE
 Event                                    indicates that an advertising or scan
                                          response packet has been received.

 LE Advertising Set Termi-        5.0     The LE Advertising Set Terminated         LE
 nated Event                              event indicates that advertising in a
                                          given advertising set has stopped.
 LE Channel Selection             5.0     The LE Channel Selection Algorithm        LE
 Algorithm Event                          event indicates the channel selection
                                          algorithm used on a connection.
 LE Clear Advertising Sets        5.0     The LE Clear Advertising Sets com-        LE
 Command                                  mand will remove all existing adver-
                                          tising sets from the Controller.

Table 3.1: Alphabetical list of commands and events (Sheet 9 of 41)



Overview of Commands and Events                                                     06 December 2016
                                                                             Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 LE Clear Periodic Adver-         5.0     The LE Clear Periodic Advertiser List    LE
 tiser List Command                       command will clear the Periodic
                                          Advertiser List.
 LE Clear Resolving List          4.2     The LE Clear Resolving List com-         LE
 Command                                  mand is used to remove all devices
                                          from the list of address translations
                                          used to resolve Resolvable Private
                                          Addresses in the Controller.

 LE Clear White List              4.0     The LE Clear White List Command          LE
 Command                                  will clear the White List.

 LE Connection Complete           4.0     The LE Connection Complete event         LE
 Event                                    indicates to the Host that a new con-
                                          nection has been created.
 LE Connection Update             4.0     The LE Connection Update Com-            LE
 Command                                  mand will be used to change the con-
                                          nection parameters of an existing
                                          connection.

 LE Connection Update             4.0     The LE Connection Update Com-            LE
 Complete Event                           plete event indicates the completion
                                          of the process to change the connec-
                                          tion parameters.
 LE Create Connection             4.0     The LE Create Connection Cancel          LE
 Cancel Command                           Command is used to cancel an
                                          ongoing LE Create Connection Com-
                                          mand.
 LE Create Connection             4.0     The LE Create Connection Com-            LE
 Command                                  mand is used to create a new con-
                                          nection.

 LE Data Length Change            4.2     The LE Data Length Change event is       LE
 Event                                    used to indicate a change in the
                                          maximum packet sizes by the Link
                                          Layer.
 LE Directed Advertising          4.2     The LE Directed Advertising Report       LE
 Report Event                             event indicates that directed adver-
                                          tisements have been received where
                                          the advertiser is using a resolvable
                                          private address for the TargetA field
                                          in the ADV_DIRECT_IND PDU and
                                          the filter policy is set to send this
                                          event to the Host.

 LE Encrypt Command               4.0     The LE Encrypt Command will              LE
                                          encrypt a block of unencrypted data
                                          against a key and generate a block
                                          of encrypted data.

Table 3.1: Alphabetical list of commands and events (Sheet 10 of 41)



Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                     Supported
 Name                             Vers.   Summary description                        Controllers

 LE Enhanced Connection           4.2     The LE Enhanced Connection Com-            LE
 Complete Event                           plete event indicates to the Host that
                                          a new connection has been created.
                                          This event contains the additional
                                          parameters of the local and peer
                                          resolvable private addresses.

 LE Enhanced Receiver             5.0     The LE Enhanced Receiver Test              LE
 Test Command                             Command will run the LE receiver
                                          test. This command allows the tes-
                                          ter's transmitter to be specified and
                                          supports both standard and stable
                                          modulation indices.

 LE Enhanced Transmitter          5.0     The LE Enhanced Transmitter Test           LE
 Test Command                             Command will run the LE transmitter
                                          test. This command allows the trans-
                                          mitter PHY to be specified.
 LE Extended Advertising          5.0     The LE Extended Advertising Report         LE
 Report Event                             event indicates that an advertising
                                          packet has been received.
 LE Generate DHKey Com-           4.2     The LE_Generate_DHKey command              LE
 mand                                     is used to initiate generation of a Dif-
                                          fie-Hellman key in the Controller for
                                          use over the LE transport.

 LE Generate DHKey Com-           4.2     This event indicates that LE Diffie-       LE
 plete Event                              Hellman key generation has been
                                          completed by the Controller.
 LE Long Term Key                 4.0     The LE Long Term Key Request               LE
 Request Event                            event indicates that a Long Term Key
                                          is required for a connection.
 LE Long Term Key                 4.0     The LE Long Term Key Request               LE
 Request Negative Reply                   Negative Reply Command is used to
 Command                                  reply to an LE Long Term Key
                                          Request event and indicates that the
                                          Host does not have a Long Term Key
                                          for that connection.

 LE Long Term Key                 4.0     The LE Long Term Key Request               LE
 Request Reply Command                    Reply Command is used to reply to
                                          an LE Long Term Key Request event
                                          and includes the Long Term Key
                                          stored in the Host for that connec-
                                          tion.

 LE Periodic Advertising          5.0     The LE Periodic Advertising Create         LE
 Create Sync Cancel Com-                  Sync Cancel command is used to
 mand                                     cancel a pending LE Periodic Adver-
                                          tising Create Sync command.
Table 3.1: Alphabetical list of commands and events (Sheet 11 of 41)


Overview of Commands and Events                                                      06 December 2016
                                                                               Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                      Supported
 Name                             Vers.   Summary description                         Controllers

 LE Periodic Advertising          5.0     The LE Periodic Advertising Create          LE
 Create Sync Command                      Sync command is used to start
                                          receiving periodic advertising pack-
                                          ets from an advertiser.
 LE Periodic Advertising          5.0     The LE Periodic Advertising Report          LE
 Report Event                             event indicates that a periodic adver-
                                          tising packet has been received.
 LE Periodic Advertising          5.0     The LE Periodic Advertising Sync            LE
 Sync Established Event                   Established event indicates that the
                                          Controller has started receiving peri-
                                          odic advertising packets from an
                                          advertiser.

 LE Periodic Advertising          5.0     The LE Periodic Advertising Sync            LE
 Sync Lost Event                          Lost event indicates the Controller
                                          has ended receiving Periodic Adver-
                                          tiser identified by Sync Handle.
 LE Periodic Advertising          5.0     The LE Periodic Advertising Termi-          LE
 Terminate Sync Command                   nate Sync command is used to end
                                          receiving of periodic advertising
                                          identified by Sync_Handle.

 LE PHY Update Complete           5.0     The LE PHY Update Complete event            LE
 Event                                    is used to inform the Host of the cur-
                                          rent PHY.
 LE Rand Command                  4.0     The LE Rand Command will gener-             LE
                                          ate a random number.
 LE Read Advertising              4.0     The LE Read Advertising Channel             LE
 Channel Tx Power                         TX Power Command will read the
 Command                                  transmit power level that will be used
                                          for advertising.

 LE Read Buffer Size Com-         4.0     The LE Read Buffer Size command             LE
 mand                                     returns the size of the HCI buffers.
                                          These buffers are used by the LE
                                          Controller to buffer data that is to be
                                          transmitted.

 LE Read Channel Map              4.0     The LE Read Channel Map Com-                LE
 Command                                  mand will read the current state of
                                          the channel map for a connection.
 LE Read Local P-256 Pub-         4.2     The LE_Read_Local_P-256_Pub-                LE
 lic Key Command                          lic_Key command is used to return
                                          the local P-256 public key from the
                                          Controller.

 LE Read Local P-256 Pub-         4.2     This event is generated when local          LE
 lic Key Complete Event                   P-256 key generation is complete.
Table 3.1: Alphabetical list of commands and events (Sheet 12 of 41)



Overview of Commands and Events                                                       06 December 2016
                                                                                Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                  Supported
 Name                             Vers.   Summary description                     Controllers

 LE Read Local Resolvable         4.2     The LE Read Local Resolvable            LE
 Address Command                          Address command is used to get the
                                          current local Resolvable Private
                                          Address being used for the corre-
                                          sponding peer Identity Address.

 LE Read Local Supported          4.0     The LE Read Local Supported Fea-        LE
 Features Command                         tures command will read the version
                                          information for the local LE Control-
                                          ler.
 LE Read Maximum Adver-           5.0     The LE Read Maximum Advertising         LE
 tising Data Length Com-                  Data Length command will read the
 mand                                     maximum length of advertising data
                                          that the advertising Controller sup-
                                          ports in a given advertising set.

 LE Read Maximum Data             4.2     The LE Read Maximum Data Length         LE
 Length Command                           command allows the Host to read the
                                          Controller’s
                                          supportedMaxTxOctets,
                                          supportedMaxTxTime,
                                          supportedMaxRxOctets,
                                          and
                                          supportedMaxRxTime
                                          parameters.

 LE Read Number of Sup-           5.0     The LE Read Number of Supported         LE
 ported Advertising Sets                  Advertising Sets command will read
 Command                                  the maximum number of advertising
                                          sets supported by the advertising
                                          Controller at the same time.

 LE Read Peer Resolvable          4.2     The LE Read Peer Resolvable             LE
 Address Command                          Address command is used to get the
                                          current peer Resolvable Private
                                          Address being used for the corre-
                                          sponding peer Public and Random
                                          (static) Identity Address.

 LE Read Periodic Adver-          5.0     The LE Read Periodic Advertiser List    LE
 tiser List Size Command                  Size command will read the maxi-
                                          mum number of Periodic Advertiser
                                          List entries that the Controller sup-
                                          ports.

 LE Read PHY Command              5.0     The LE Read PHY command will            LE
                                          read the current PHY.

 LE Read Remote Features          4.0     The LE Read RemoteFeatures Com-         LE
 Command                                  mand is used to read the features
                                          used on a connection and the fea-
                                          tures supported by a remote LE
                                          device.

Table 3.1: Alphabetical list of commands and events (Sheet 13 of 41)


Overview of Commands and Events                                                   06 December 2016
                                                                            Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                     Supported
 Name                             Vers.   Summary description                        Controllers

 LE Read Remote Features          4.0     The LE Read Remote Features                LE
 Complete Event                           Complete event indicates the com-
                                          pletion of the process to read the fea-
                                          tures used on a connection and the
                                          features supported by a remote LE
                                          device.

 LE Read Resolving List           4.2     The LE Read Resolving List Size            LE
 Size Command                             command is used to read the total
                                          number of address translation
                                          entries in the resolving list that can
                                          be stored in the Controller.

 LE Read RF Path Com-             5.0     The LE Read RF Path Compensa-              LE
 pensation Command                        tion command is used to read the RF
                                          Path Compensation Value.

 LE Read Suggested                4.2     The LE Read Suggested Default              LE
 Default Data Length                      Data Length command allows the
 Command                                  Host to read the initial MaxTxOctets
                                          and MaxTxTime values for new con-
                                          nections it suggested to the Control-
                                          ler.

 LE Read Supported States         4.0     The LE Read Supported States               LE
 Command                                  Command will read the current sup-
                                          ported state and role combinations
                                          for the local LE Controllers.

 LE Read Transmit Power           5.0     The LE Read Transmit Power com-            LE
 Command                                  mand will read the minimum and
                                          maximum transmit powers supported
                                          by the Controller for advertising
                                          packets.

 LE Read White List Size          4.0     The LE Read White List Size Com-           LE
 Command                                  mand will read the maximum number
                                          of White List entries that this Control-
                                          ler supports.
 LE Receiver Test                 4.0     The LE Receiver Test Command will          LE
 Command                                  run the LE receiver test.

 LE Remote Connection             4.1     The LE Remote Connection Parame-           LE
 Parameter Request                        ter Request Negative Reply Com-
 Negative Reply Command                   mand is used to reject the remote
                                          device’s request to change the con-
                                          nection parameters of the LE con-
                                          nection.

Table 3.1: Alphabetical list of commands and events (Sheet 14 of 41)




Overview of Commands and Events                                                      06 December 2016
                                                                               Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 LE Remote Connection             4.1     The LE Remote Connection Parame-          LE
 Parameter Request Reply                  ter Request Reply Command is used
 Command                                  to accept the remote device’s
                                          request to change the connection
                                          parameters of the LE connection.

 LE Remove Advertising            5.0     The LE Remove Advertising Set             LE
 Set Command                              command will remove an advertising
                                          set from the Controller.
 LE Remove Device From            5.0     The LE Remove Device From Peri-           LE
 Periodic Advertiser List                 odic Advertiser List command will
 Command                                  remove a single device from the
                                          Periodic Advertiser List.

 LE Remove Device From            4.2     The LE Remove Device From                 LE
 Resolving List Command                   Resolving List command is used to
                                          remove one device from the list of
                                          address translations used to resolve
                                          Resolvable Private Addresses in the
                                          Controller.

 LE Remove Device From            4.0     The LE Remove Device From White           LE
 White List Command                       List Command will remove a single
                                          device from the White List.

 LE Scan Request                  5.0     The LE Scan Request Received              LE
 Received Event                           event indicates that a scan request
                                          has been received.
 LE Scan Timeout Event            5.0     The LE Scan Timeout event indi-           LE
                                          cates that scanning has finished.
 LE Set Address Resolu-           4.2     The LE Set Address Resolution             LE
 tion Enable Command                      Enable command is used to enable
                                          resolution of Resolvable Private
                                          Addresses in the Controller.

 LE Set Advertising Data          4.0     The LE Set Advertising Data Com-          LE
 Command                                  mand will set the data transmitted
                                          when advertising.
 LE Set Advertising Param-        4.0     The LE Set Advertising Parameters         LE
 eters Command                            Command will set the parameters
                                          used for advertising.
 LE Set Advertising Set           5.0     The LE Set Advertising Set Random         LE
 Random Address Com-                      Address command will set the ran-
 mand                                     dom address used in advertising.

 LE Set Advertising Enable        4.0     The LE Set Advertising Enable Com-        LE
 Command                                  mand will enable or disable advertis-
                                          ing.
Table 3.1: Alphabetical list of commands and events (Sheet 15 of 41)




Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 LE Set Data Length               4.2     The LE Set Data Length command is        LE
 Command                                  used to suggest maximum packet
                                          sizes to the Controller.
 LE Set Default PHY Com-          5.0     The LE Set Default PHY command is        LE
 mand                                     used to configure preferred PHYs for
                                          new connections for the local device.
 LE Set Event Mask                4.0     The LE Set Event Mask Command is         LE
 Command                                  used to control which events are
                                          generated by the HCI for the Host.

 LE Set Extended Advertis-        5.0     The LE Set Extended Advertising          LE
 ing Data Command                         Data command will set the advertis-
                                          ing data transmitted when advertis-
                                          ing.
 LE Set Extended Advertis-        5.0     The LE Set Extended Advertising          LE
 ing Enable Command                       Enable command will enable or dis-
                                          able advertising.

 LE Set Extended Advertis-        5.0     The LE Set Extended Advertising          LE
 ing Parameters Command                   Parameters command will set the
                                          parameters used for advertising.
 LE Set Extended Scan             5.0     The LE Set Extended Scan Enable          LE
 Enable Command                           command will enable or disable
                                          scanning on the primary advertising
                                          channels.
 LE Set Extended Scan             5.0     The LE Set Extended Scan Parame-         LE
 Parameters Command                       ters command will set the parame-
                                          ters used for scanning on the primary
                                          advertising channel.

 LE Set Extended Scan             5.0     The LE Set Extended Scan                 LE
 Response Data Command                    Response Data command will set the
                                          data transmitted in a scan response.
 LE Set Host Channel Clas-        4.0     The LE Set Host Channel Classifica-      LE
 sification Command                       tion Command allows the Host to
                                          specify a channel classification
                                          based on its “local information”.
 LE Set Periodic Advertising      5.0     The LE Set Periodic Advertising Data     LE
 Data Command                             command will set the periodic adver-
                                          tising data transmitted when adver-
                                          tising.

 LE Set Periodic Advertising      5.0     The LE Set Periodic Advertising          LE
 Enable Command                           Enable command will enable or dis-
                                          able advertising.
Table 3.1: Alphabetical list of commands and events (Sheet 16 of 41)




Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 LE Set Periodic Advertising      5.0     The LE Set Periodic Advertising           LE
 Parameters Command                       Parameters Command will set the
                                          parameters used for periodic adver-
                                          tising.
 LE Set PHY Command               5.0     The LE Set PHY command is used to         LE
                                          request a change of the PHY for a
                                          Connection_Handle.
 LE Set Privacy Mode Com-         4.2     The LE Set Privacy Mode command           LE
 mand                                     is used to allow the Host to specify
                                          the privacy mode for an entry on the
                                          resolving list.

 LE Set Random Address            4.0     The LE Set Random Address Com-            LE
 Command                                  mand will set the Random Device
                                          Address that may be used in a
                                          packet sent on an advertising PHY
                                          channel.

 LE Set Resolvable Private        4.2     The LE Set Resolvable Private             LE
 Address Timeout Com-                     Address Timeout sets the length of
 mand                                     time the Controller uses a random
                                          private address before a new ran-
                                          dom private address is generated
                                          and starts being used.

 LE Set Scan Enable               4.0     The LE Set Scan Enable Command            LE
 Command                                  will enable or disable scanning.
 LE Set Scan Parameters           4.0     The LE Set Scan Parameters Com-           LE
 Command                                  mand will set the parameters used
                                          for scanning.
 LE Set Scan Response             4.0     The LE Set Scan Response Data             LE
 Data Command                             Command will set the data transmit-
                                          ted in a scan response.

 LE Start Encryption Com-         4.0     The LE Start Encryption Command is        LE
 mand                                     used to enable link level encryption.
 LE Test End Command              4.0     The LE Test End Command will end          LE
                                          the current the receiver or transmitter
                                          test.
 LE Transmitter Test              4.0     The LE Transmitter Test Command           LE
 Command                                  will run the LE transmitter test.

 LE Write RF Path Compen-         5.0     The LE Write RF Path Compensation         LE
 sation Command                           command is used to indicate the RF
                                          path gain or loss from the RF trans-
                                          ceiver output to the antenna output
                                          contributed by intermediate compo-
                                          nents.

Table 3.1: Alphabetical list of commands and events (Sheet 17 of 41)



Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 LE Write Suggested               4.2     The LE Write Suggested Default            LE
 Default Data Length Com-                 Data Length command allows the
 mand                                     Host to suggest initial MaxTxOctets
                                          and MaxTxTime values for new con-
                                          nections.

 Link Key Notification Event      1.1     The Link Key Notification event is        BR/EDR
                                          used to indicate to the Host that a
                                          new Link Key has been created for
                                          the connection with the BR/EDR
                                          Controller specified in BD_ADDR.

 Link Key Request Event           1.1     The Link Key Request event is used        BR/EDR
                                          to indicate that a Link Key is required
                                          for the connection with the device
                                          specified in BD_ADDR.

 Link Key Request Negative        1.1     The Link Key Request Negative             BR/EDR
 Reply Command                            Reply command is used to reply to a
                                          Link Key Request event from the BR/
                                          EDR Controller if the Host does not
                                          have a stored Link Key for the con-
                                          nection with the other BR/EDR Con-
                                          troller specified by BD_ADDR.

 Link Key Request Reply           1.1     The Link Key Request Reply com-           BR/EDR
 Command                                  mand is used to reply to a Link Key
                                          Request event from the BR/EDR
                                          Controller, and specifies the Link Key
                                          stored on the Host to be used as the
                                          link key for the connection with the
                                          other BR/EDR Controller specified
                                          by BD_ADDR.

 Link Supervision Timeout         2.1 +   The Link Supervision Timeout-event        BR/EDR
 Changed Event                    EDR     indicates that the remote device
                                          changed the Link Supervision Time-
                                          out.
 Logical Link Cancel Com-         3.0 +   The Logical Link Cancel command is        AMP
 mand                             HS      used to request cancellation of the
                                          ongoing logical link creation process
                                          identified by the Physical_Link_Han-
                                          dle and the Tx_Flow_Spec_ID.

 Logical Link Complete            3.0 +   The Logical Link Complete event           AMP
 Event                            HS      indicates to both of the Hosts forming
                                          the connection that a new AMP Logi-
                                          cal Link has been established.

 Loopback Command Event           1.1     The Loopback Command event is             BR/EDR
                                          used to loop back all commands that
                                          the Host sends to the BR/EDR Con-
                                          troller with some exceptions.

Table 3.1: Alphabetical list of commands and events (Sheet 18 of 41)


Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Master Link Key Command          1.1     The Master Link Key command is           BR/EDR
                                          used to force both BR/EDR Control-
                                          lers of a connection associated to the
                                          Connection_Handle to use the tem-
                                          porary link key of the Master device
                                          or the regular link keys.

 Master Link Key Complete         1.1     The Master Link Key Complete event       BR/EDR
 Event                                    is used to indicate that the change in
                                          the temporary Link Key or in the
                                          semi-permanent link keys on the
                                          Bluetooth master side has been
                                          completed.

 Max Slots Change Event           1.1     The Max Slots Change event it used       BR/EDR
                                          to indicate a change in the max slots
                                          by the LM.
 Mode Change Event                1.1     The Mode Change event is used to         BR/EDR
                                          indicate that the current mode has
                                          changed.
 Number Of Completed              3.0 +   The Number Of Completed Data             BR/EDR,
 Data Blocks Event                HS      Blocks event is used by the Control-     AMP
                                          ler to indicate to the Host how many
                                          HCI ACL Data Packets have been
                                          completed and how many data block
                                          buffers have been freed for each
                                          Handle since the previous Number of
                                          Completed Data Blocks event was
                                          sent.

 Number Of Completed              1.1     The Number Of Completed Packets          All
 Packets Event                            event is used by the Controller to
                                          indicate to the Host how many HCI
                                          Data Packets have been completed
                                          for each Connection_Handle since
                                          the previous Number Of Completed
                                          Packets event was sent.

 Page Scan Repetition             1.1     The Page Scan Repetition Mode            BR/EDR
 Mode Change Event                        Change event indicates that the con-
                                          nected remote BR/EDR Controller
                                          with the specified Connection_Han-
                                          dle has successfully changed the
                                          Page_Scan_Repetition_Mode (SR)."

 Periodic Inquiry Mode            1.1     The Periodic Inquiry Mode command        BR/EDR
 Command                                  is used to configure the BR/EDR
                                          Controller to perform an automatic
                                          Inquiry based on a specified period
                                          range.

Table 3.1: Alphabetical list of commands and events (Sheet 19 of 41)




Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Physical Link Complete           3.0 +   The Physical Link Complete event         AMP
 Event                            HS      indicates to both of the Hosts forming
                                          the connection that a new AMP
                                          Physical Link has been established.
 Physical Link Loss Early         3.0 +   The Physical Link Loss Early Warn-       AMP
 Warning Event                    HS      ing event occurs when a physical link
                                          has indication that the link may be
                                          disrupted.
 Physical Link Recovery           3.0 +   The Physical Link Recovery event         AMP
 Event                            HS      indicates that whatever interruption
                                          caused an earlier Physical Link Loss
                                          Early Warning event has now been
                                          cleared.

 PIN Code Request Event           1.1     The PIN Code Request event is used       BR/EDR
                                          to indicate that a PIN code is
                                          required to create a new link key for
                                          a connection.
 PIN Code Request Nega-           1.1     The PIN Code Request Negative            BR/EDR
 tive Reply Command                       Reply command is used to reply to a
                                          PIN Code Request event from the
                                          Controller when the Host cannot
                                          specify a PIN code to use for a con-
                                          nection.

 PIN Code Request Reply           1.1     The PIN Code Request Reply com-          BR/EDR
 Command                                  mand is used to reply to a PIN Code
                                          Request event from the Controller
                                          and specifies the PIN code to use for
                                          a connection.

 QoS Setup Command                1.1     The QoS Setup command is used to         BR/EDR
                                          specify Quality of Service parame-
                                          ters for a Connection_Handle.
 QoS Setup Complete               1.1     The QoS Setup Complete event is          BR/EDR
 Event                                    used to indicate that QoS is setup.

 QoS Violation Event              1.1     The QoS Violation event is used to       BR/EDR,
                                          indicate the Controller’s Link Man-      AMP
                                          ager or PAL is unable to provide the
                                          current QoS requirement for the
                                          Handle.

 Read AFH Channel                 1.2     The Read AFH Channel Assessment          BR/EDR
 Assessment Mode Com-                     Mode command will read the value
 mand                                     for the AFH Channel Classification
                                          Mode parameter. This value is used
                                          to enable or disable the Controller’s
                                          channel assessment scheme.

Table 3.1: Alphabetical list of commands and events (Sheet 20 of 41)



Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Read AFH Channel Map             1.2     The Read AFH Channel Map com-             BR/EDR
 Command                                  mand will read the current state of
                                          the channel map for a connection.
 Read Authenticated Pay-          4.1     This command is used to read the          BR/EDR, LE
 load Timeout Command                     Authenticated Payload Timeout
                                          parameter, which is used to set the
                                          maximum time between packets
                                          being received from the remote
                                          device without a valid MIC.

 Read Authentication              1.1     The Read Authentication Enable            BR/EDR
 Enable Command                           command will read the value for the
                                          Authentication Enable parameter,
                                          which controls whether the Bluetooth
                                          device will require authentication for
                                          each connection with other Bluetooth
                                          devices.

 Read Automatic Flush Tim-        1.1     The Read Automatic Flush Timeout          BR/EDR
 eout Command                             command will read the value for the
                                          Flush Timeout configuration parame-
                                          ter for the specified Connec-
                                          tion_Handle. The Flush Timeout
                                          parameter is only used for ACL con-
                                          nections.

 Read BD_ADDR                     1.1     The Read BD_ADDR command will             BR/EDR, LE
 Command                                  read the value for the BD_ADDR
                                          parameter.

 Read Best Effort Flush           3.0 +   The Read Best Effort Flush Timeout        AMP
 Timeout Command                  HS      command returns the last value writ-
                                          ten with the Write Best Effort Flush
                                          Timeout command.
 Read Buffer Size                 1.1     The Read_Buffer_Size command              BR/EDR,
 Command                                  returns the size of the HCI buffers.      AMP
                                          These buffers are used by the Con-
                                          troller to buffer data that is to be
                                          transmitted.

 Read Class of Device             1.1     The Read Class of Device command          BR/EDR
 Command                                  will read the value for the Class of
                                          Device configuration parameter,
                                          which is used to indicate its capabili-
                                          ties to other devices.

 Read Clock Command               1.2     The Read Clock command will read          BR/EDR
                                          an estimate of a piconet or the local
                                          Bluetooth Clock.
Table 3.1: Alphabetical list of commands and events (Sheet 21 of 41)




Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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                                                                                     Supported
 Name                             Vers.   Summary description                        Controllers

 Read Clock Offset Com-           1.1     The Read Clock Offset command              BR/EDR
 mand                                     allows the Host to read the clock off-
                                          set of remote BR/EDR Controllers.
 Read Clock Offset Com-           1.1     The Read Clock Offset Complete             BR/EDR
 plete Event                              event is used to indicate the comple-
                                          tion of the process of the LM obtain-
                                          ing the Clock offset information.
 Read Connection Accept           1.1     The Read Connection Accept Time-           BR/EDR,
 Timeout Command                          out command will read the value for        AMP
                                          the Connection Accept Timeout con-
                                          figuration parameter, which allows
                                          the Controller to automatically deny
                                          a connection request after a speci-
                                          fied period has occurred, and to
                                          refuse a new connection.

 Read Current IAC LAP             1.1     The Read Current IAC LAP com-              BR/EDR
 Command                                  mand will read the LAP(s) used to
                                          create the Inquiry Access Codes
                                          (IAC) that the local BR/EDR Control-
                                          ler is simultaneously scanning for
                                          during Inquiry Scans.

 Read Data Block Size             3.0 +   The Read Data Block Size command           BR/EDR,
 Command                          HS      returns the maximum size of the HCI        AMP
                                          buffers. These buffers are used by
                                          the Controller to buffer data that is to
                                          be transmitted.

 Read Default Erroneous           2.1 +   The Read Default Erroneous Data            BR/EDR
 Data Reporting Command           EDR     Reporting command will read the
                                          value for the Erroneous Data Report-
                                          ing configuration parameter, which
                                          controls whether the BR/EDR Con-
                                          troller will provide data for every
                                          (e)SCO interval, with the Pack-
                                          et_Status_Flag in HCI Synchronous
                                          Data Packets set according to HCI
                                          Synchronous Data Packets.

 Read Default Link Policy         1.2     The Read Default Link Policy Set-          BR/EDR
 Settings Command                         tings command will read the Default
                                          Link Policy configuration parameter
                                          for all new connections.
 Read Encryption Key Size         3.0 +   The Read Encryption Key Size com-          BR/EDR
 Command                          HS      mand is used to read the encryption
                                          key size on a given Connec-
                                          tion_Handle.

Table 3.1: Alphabetical list of commands and events (Sheet 22 of 41)




Overview of Commands and Events                                                      06 December 2016
                                                                               Bluetooth SIG Proprietary
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                                                                                  Supported
 Name                             Vers.   Summary description                     Controllers

 Read Enhanced Transmit           3.0 +   The Read Enhanced Transmit Power        BR/EDR
 Power Level Command              HS      Level command will read the values
                                          for the GFSK, DQPSK and 8DPSK
                                          Transmit Power Level parameters for
                                          the specified Connection_Handle.

 Read Extended Inquiry            4.1     The Read Extended Inquiry Length        BR/EDR
 Length Command                           command is used to read the
                                          Extended Inquiry Length parameter
                                          from the Controller.
 Read Extended Inquiry            2.1 +   The Read Extended Inquiry               BR/EDR
 Response Command                 EDR     Response command will read the
                                          data that the BR/EDR Controller
                                          sends in the extended inquiry
                                          response packet during inquiry
                                          response.

 Read Extended Page               4.1     The Read Extended Page Timeout          BR/EDR
 Timeout Command                          command is used to read the
                                          Extended Page Timeout parameter
                                          from the Controller.
 Read Failed Contact              1.1     The Read Failed Contact Counter-        BR/EDR,
 Counter Command                          command will read the value for the     AMP
                                          Failed Contact Counter configura-
                                          tion parameter for a particular con-
                                          nection to another device.

 Read Flow Control Mode           3.0 +   The Read Flow Control Mode com-         BR/EDR,
 Command                          HS      mand returns the value of the Flow_-    AMP
                                          Control_Mode configuration
                                          parameter supported by this Control-
                                          ler.

 Read Hold Mode Activity          1.1     The Read Hold Mode Activity com-        BR/EDR
 Command                                  mand is used to read which activities
                                          should be suspended when the BR/
                                          EDR Controller is in Hold Mode.
 Read Inquiry Mode Com-           1.2     The Read Inquiry Mode command is        BR/EDR
 mand                                     used to read the Inquiry Mode con-
                                          figuration parameter of the local BR/
                                          EDR Controller.

 Read Inquiry Response            2.1 +   This command will read the inquiry      BR/EDR
 Transmit Power Level             EDR     response Transmit Power level used
 Command                                  to transmit the FHS and EIR data
                                          packets. This can be used directly in
                                          the Tx Power Level EIR data type.
Table 3.1: Alphabetical list of commands and events (Sheet 23 of 41)




Overview of Commands and Events                                                   06 December 2016
                                                                            Bluetooth SIG Proprietary
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Read Inquiry Scan Activity       1.1     The Read Inquiry Scan Activity com-       BR/EDR
 Command                                  mand will read the value for Inquiry
                                          Scan Interval and Inquiry Scan Win-
                                          dow configuration parameters.
                                          Inquiry Scan Interval defines the
                                          amount of time between consecutive
                                          inquiry scans. Inquiry Scan Window
                                          defines the amount of time for the
                                          duration of the inquiry scan.

 Read Inquiry Scan Type           1.2     The Read Inquiry Scan Type com-           BR/EDR
 Command                                  mand is used to read the Inquiry
                                          Scan Type configuration parameter
                                          of the local BR/EDR Controller. The
                                          Inquiry Scan Type configuration
                                          parameter can set the inquiry scan to
                                          either normal or interlaced scan.

 Read LE Host Support             4.0     This command reads the LE Sup-            BR/EDR
 Command                                  ported Host and Simultaneous LE
                                          Host settings from the BR/EDR Con-
                                          troller.
 Read Link Policy Settings        1.1     The Read Link Policy Settings com-        BR/EDR
 Command                                  mand will read the Link Policy config-
                                          uration parameter for the specified
                                          Connection_Handle. The Link Policy
                                          settings allow the Host to specify
                                          which Link Modes the Link Manager
                                          can use for the specified Connec-
                                          tion_Handle.

 Read Link Quality Com-           1.1     The Read Link Quality command will        BR/EDR,
 mand                                     read the value for the Link Quality for   AMP
                                          the specified Connection_Handle.

 Read Link Supervision            1.1     The Read Link Supervision Timeout         BR/EDR,
 Timeout Command                          command will read the value for the       AMP
                                          Link Supervision Timeout configura-
                                          tion parameter for the device. This
                                          parameter is used by the Controller
                                          to determine link loss.

 Read LMP Handle Com-             1.2     The Read LMP Handle command will          BR/EDR
 mand                                     read the current LMP Handle associ-
                                          ated with the Connection_Handle.
 Read Local AMP ASSOC             3.0 +   The Read Local AMP_ASSOC com-             AMP
 Command                          HS      mand will return a fragment of the
                                          AMP_ASSOC structure, which con-
                                          tains AMP specific information for
                                          this AMP Controller.

Table 3.1: Alphabetical list of commands and events (Sheet 24 of 41)




Overview of Commands and Events                                                     06 December 2016
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Host Controller Interface Functional Specification


                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Read Local AMP Info Com-         3.0 +   The Read Local AMP Info command           AMP
 mand                             HS      returns information about this AMP
                                          Controller.
 Read Local Extended Fea-         1.2     The Read Local Extended Features          BR/EDR
 tures Command                            command requests a list of the sup-
                                          ported extended features for the
                                          local device.
 Read Local Name                  1.1     The Read Local Name command               BR/EDR
 Command                                  provides the ability to read the stored
                                          user-friendly name for the BR/EDR
                                          Controller.

 Read Local OOB Data              2.1 +   This command is used to obtain a          BR/EDR
 Command                          EDR     Simple Pairing Hash C and Simple
                                          Pairing Randomizer R which are
                                          intended to be transferred to a
                                          remote device using an OOB mecha-
                                          nism.

 Read Local OOB Extended          4.1     This command is used to obtain Sim-       BR/EDR
 Data Command                             ple Pairing Hash C and Randomizer
                                          R associated with both P-192 and P-
                                          256 public keys, which are intended
                                          to be transferred to a remote device
                                          using an OOB mechanism.

 Read Local Supported             CSA     The Read Local Supported Codecs           BR/EDR
 Codecs Command                   2       command is used for a Host to query
                                          a Controller’s supported codecs.
 Read Local Supported             1.2     The Read Local Supported Com-             All
 Commands Command                         mands command requests a list of
                                          the supported HCI commands for the
                                          local device.
 Read Local Supported             1.1     The Read Local Supported Features         All
 Features Command                         command requests a list of the sup-
                                          ported features for the local device.

 Read Local Version               1.1     The Read Local Version Information        All
 Information Command                      command will read the version infor-
                                          mation for the local Controller.
 Read Location Data               3.0 +   The Read Location Data command            AMP
 Command                          HS      provides the ability to read the Loca-
                                          tion Data parameters from any
                                          stored knowledge of environment or
                                          regulations or currently in use in the
                                          AMP Controller.

Table 3.1: Alphabetical list of commands and events (Sheet 25 of 41)




Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Read Logical Link Accept         3.0 +   The Read Logical Link Accept Time-       AMP
 Timeout Command                  HS      out command will read the value for
                                          the Logical Link Accept Timeout con-
                                          figuration parameter, which allows
                                          the AMP Controller to automatically
                                          deny a Logical Link request after a
                                          specified period has occurred, and to
                                          refuse a new connection.

 Read Loopback Mode               1.1     The Read Loopback Mode command           BR/EDR
 Command                                  will read the value for the setting of
                                          the BR/EDR Controller’s Loopback
                                          Mode. The setting of the Loopback
                                          Mode will determine the path of infor-
                                          mation.

 Read Num Broadcast               1.1     The Read Num Broadcast Retrans-          BR/EDR
 Retransmissions Com-                     missions command will read the
 mand                                     parameter value for the Number of
                                          Broadcast Retransmissions for the
                                          BR/EDR Controller.

 Read Number Of                   1.1     The Read Number of Supported IAC         BR/EDR
 Supported IAC Command                    command will read the value for the
                                          number of Inquiry Access Codes
                                          (IAC) that the local BR/EDR Control-
                                          ler can simultaneously listen for
                                          during an Inquiry Scan.

 Read Page Scan Activity          1.1     The Read Page Scan Activity com-         BR/EDR
 Command                                  mand will read the values for the
                                          Page Scan Interval and Page Scan
                                          Window configuration parameters.
                                          Page Scan Interval defines the
                                          amount of time between consecutive
                                          page scans. Page Scan Window
                                          defines the duration of the page
                                          scan.

 Read Page Scan Type              1.2     The Read Page Scan Type com-             BR/EDR
 Command                                  mand is used to read the page scan
                                          type of the local BR/EDR Controller.
                                          The Page Scan Type configuration
                                          parameter can set the page scan to
                                          either normal or interlaced scan.

Table 3.1: Alphabetical list of commands and events (Sheet 26 of 41)




Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Read Page Timeout Com-           1.1     The Read Page Timeout command            BR/EDR
 mand                                     will read the value for the Page Reply
                                          Timeout configuration parameter,
                                          which determines the time the BR/
                                          EDR Controller will wait for the
                                          remote device to respond to a con-
                                          nection request before the local
                                          device returns a connection failure.

 Read PIN Type Command            1.1     The Read PIN Type command is             BR/EDR
                                          used for the Host to read the value
                                          that is specified to indicate whether
                                          the Host supports variable PIN or
                                          only fixed PINs.

 Read Remote Extended             1.2     The Read Remote Extended Fea-            BR/EDR
 Features Command                         tures command requests a list of the
                                          supported extended features of a
                                          remote device.
 Read Remote Extended             1.2     The Read Remote Extended Fea-            BR/EDR
 Features Complete Event                  tures Complete event is used to indi-
                                          cate the completion of the process of
                                          the Link Manager obtaining the sup-
                                          ported Extended features of the
                                          remote BR/EDR Controller specified
                                          by the Connection_Handle event
                                          parameter.

 Read Remote Supported            1.1     The Read Remote Supported Fea-           BR/EDR
 Features Command                         tures command requests a list of the
                                          supported features of a remote
                                          device.

 Read Remote Supported            1.1     The Read Remote Supported Fea-           BR/EDR
 Features Complete Event                  tures Complete event is used to indi-
                                          cate the completion of the process of
                                          the Link Manager obtaining the sup-
                                          ported features of the remote BR/
                                          EDR Controller specified by the Con-
                                          nection_Handle event parameter.

 Read Remote Version              1.1     The Read Remote Version Informa-         BR/EDR, LE
 Information Command                      tion command will read the values for
                                          the version information for the
                                          remote device associated with the
                                          Connection_Handle.

Table 3.1: Alphabetical list of commands and events (Sheet 27 of 41)




Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Read Remote Version              1.1     The Read Remote Version Informa-          BR/EDR, LE
 Information Complete                     tion Complete event is used to indi-
 Event                                    cate the completion of the process of
                                          the Link Manager obtaining the ver-
                                          sion information of the remote device
                                          associated with the Connec-
                                          tion_Handle event parameter.

 Read RSSI Command                1.1     The Read RSSI command will read           All
                                          the value for the Received Signal
                                          Strength Indication (RSSI) for a Con-
                                          nection_Handle to another Control-
                                          ler.

 Read Scan Enable Com-            1.1     The Read Scan Enable command              BR/EDR
 mand                                     will read the value for the Scan
                                          Enable configuration parameter,
                                          which controls whether or not the
                                          BR/EDR Controller will periodically
                                          scan for page attempts and/or inquiry
                                          requests from other BR/EDR Con-
                                          trollers.

 Read Secure Connections          4.1     The Read Secure Connections Host          BR/EDR
 Host Support Command                     Support command is used to read
                                          the Secure Connections Host Sup-
                                          ports parameter from the Controller.
 Read Simple Pairing Mode         2.1 +   This command reads the Simple             BR/EDR
 Command                          EDR     Pairing mode setting in the BR/EDR
                                          Controller.

 Read Stored Link Key             1.1     The Read Stored Link Key command          BR/EDR
 Command                                  provides the ability to read whether
                                          one or more link keys are stored in
                                          the Controller.
 Read Synchronization             CSA     The Read Synchronization Train            BR/EDR
 Train Parameters Com-            4       Parameters command returns the
 mand                                     currently configured values for the
                                          Synchronization Train functionality in
                                          the BR/EDR Controller.

 Read Synchronous Flow            1.1     The Read Synchronous Flow Control         BR/EDR
 Control Enable Command                   Enable command provides the ability
                                          to read the Synchronous Flow Con-
                                          trol Enable setting. By using this set-
                                          ting, the Host can decide if the
                                          Controller will send Number Of Com-
                                          pleted Packets events for Synchro-
                                          nous Connection_Handles.

Table 3.1: Alphabetical list of commands and events (Sheet 28 of 41)




Overview of Commands and Events                                                     06 December 2016
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Read Transmit Power              1.1     The Read Transmit Power Level             BR/EDR, LE
 Level Command                            command will read the values for the
                                          Transmit Power Level parameter for
                                          the specified Connection_Handle.
 Read Voice Setting Com-          1.1     The Read Voice Setting command            BR/EDR
 mand                                     will read the values for the Voice Set-
                                          ting configuration parameter, which
                                          controls all the various settings for
                                          the voice connections.

 Receive Synchronization          CSA     The Receive_Synchronization_Train         BR/EDR
 Train Command                    4       command requests synchronization
                                          with the specified Connectionless
                                          Slave Broadcast transmitter.

 Refresh Encryption Key           2.1 +   The Refresh Encryption Key com-           BR/EDR
 Command                          EDR     mand s used by the Host to cause
                                          the Controller to refresh the encryp-
                                          tion key by pausing and resuming
                                          encryption

 Reject Connection                1.1     The Reject Connection Request             BR/EDR
 Request Command                          command is used to decline a new
                                          incoming BR/EDR connection
                                          request.

 Reject Synchronous Con-          1.2     The Reject Synchronous Connec-            BR/EDR
 nection Request Command                  tion Request command is used to
                                          decline an incoming request for a
                                          synchronous link.
 Remote Host Supported            2.1 +   The Remote Host Supported Fea-            BR/EDR
 Features Notification Event      EDR     tures Notification event is used to
                                          return the LMP extended features
                                          page containing the Host features.
 Remote Name Request              1.2     The Remote Name Request Cancel            BR/EDR
 Cancel Command                           command is used to cancel an ongo-
                                          ing Remote Name Request.

 Remote Name Request              1.1     The Remote Name Request com-              BR/EDR
 Command                                  mand is used to obtain the user-
                                          friendly name of another BR/EDR
                                          Controller.
 Remote Name Request              1.1     The Remote Name Request com-              BR/EDR
 Complete Event                           plete event is used to indicate a
                                          remote name request has been com-
                                          pleted.

Table 3.1: Alphabetical list of commands and events (Sheet 29 of 41)




Overview of Commands and Events                                                     06 December 2016
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Remote OOB Data                  2.1 +   The Remote OOB Data Request               BR/EDR
 Request Event                    EDR     event is used to indicate that the
                                          Simple Pairing Hash C and the Sim-
                                          ple Pairing Randomizer R is required
                                          for the Secure Simple Pairing pro-
                                          cess involving the device identified
                                          by BD_ADDR.

 Remote OOB Data                  2.1 +   The Remote OOB Data Request               BR/EDR
 Request Negative Reply           EDR     Negative Reply command is used to
 Command                                  reply to a Remote OOB Data
                                          Request event that the Host does not
                                          have the C and R

 Remote OOB Data                  2.1 +   The Remote OOB Data                       BR/EDR
 Request Reply Command            EDR     Request Reply command is used to
                                          reply to a Remote OOB Data
                                          Request event with the C and R val-
                                          ues received via an OOB transfer
                                          from a remote BR/EDR Controller
                                          identified by BD ADDR.

 Remote OOB Extended              4.1     The Remote OOB Extended Data              BR/EDR
 Data Request Reply Com-                  Request Reply command is used to
 mand                                     reply to a Remote OOB Data
                                          Request event with the C and R val-
                                          ues received via an OOB transfer
                                          from a remote BR/EDR Controller
                                          identified by the BD_ADDR.

 Reset Command                    1.1     For a BR/EDR Controller, the Reset        All
                                          command resets HCI, the Link Man-
                                          ager, and the Bluetooth radio. For an
                                          AMP Controller, the Reset command
                                          resets HCI and the AMP PAL. For an
                                          LE Controller, the Reset command
                                          resets HCI, the Link Layer, and LE
                                          PHY.

 Reset Failed Contact             1.1     The Reset Failed Contact Counter-         BR/EDR,
 Counter Command                          command will reset the value for the      AMP
                                          Failed Contact Counter configura-
                                          tion parameter for a particular con-
                                          nection to another device.

 Return Link Keys Event           1.1     The Return Link Keys event is used        BR/EDR
                                          to return stored link keys after a
                                          Read Stored Link Key command is
                                          used.
 Role Change Event                1.1     The Role Change event is used to          BR/EDR
                                          indicate that the current BR/EDR
                                          Controller role related to the particu-
                                          lar connection has been changed.

Table 3.1: Alphabetical list of commands and events (Sheet 30 of 41)

Overview of Commands and Events                                                     06 December 2016
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Role Discovery Command           1.1     The Role Discovery command is             BR/EDR
                                          used for a BR/EDR Controller to
                                          determine which role the device is
                                          performing for a particular Connec-
                                          tion_Handle.

 SAM Status Change Event          5.0     This event is used to indicate that       BR/EDR
                                          either the local or remote SAM slot
                                          map on a particular connection has
                                          been changed.
 Send Keypress Notifica-          2.1 +   This command is used during the           BR/EDR
 tion Command                     EDR     Passkey Entry protocol by a device
                                          with KeyboardOnly IO capabilities. It
                                          is used by a Host to inform the
                                          remote device when keys have been
                                          entered or erased.

 Set AFH Host Channel             1.2     The Set AFH Host Channel Classifi-        BR/EDR
 Classification Command                   cation command allows the Host to
                                          specify a channel classification
                                          based on its “local information”.
 Set Connection Encryption        1.1     The Set Connection Encryption com-        BR/EDR
 Command                                  mand is used to enable and disable
                                          the link level encryption.

 Set Connectionless Slave         CSA     The Set Connectionless Slave              BR/EDR
 Broadcast Command                4       Broadcast command controls Con-
                                          nectionless Slave Broadcast func-
                                          tionality (for transmission) in the BR/
                                          EDR Controller including enabling
                                          and disabling the broadcast.

 Set Connectionless Slave         CSA     The Set Connectionless Slave              BR/EDR
 Broadcast Data Command           4       Broadcast Data command is used by
                                          the Host to set Connectionless Slave
                                          Broadcast data in the BR/EDR Con-
                                          troller.

 Set Connectionless Slave         CSA     The Set Connectionless Slave              BR/EDR
 Broadcast Receive Com-           4       Broadcast Receive command
 mand                                     enables and disables Connection-
                                          less Slave Broadcast reception in the
                                          BR/EDR Controller.

 Set Controller To Host Flow      1.1     The Set Controller To Host Flow           BR/EDR, LE
 Control Command                          Control command is used by the
                                          Host to turn flow control on or off in
                                          the direction from the Controller to
                                          the Host.

Table 3.1: Alphabetical list of commands and events (Sheet 31 of 41)




Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Set Event Filter Command         1.1     The Set Event Filter command is           BR/EDR
                                          used by the Host to specify different
                                          event filters. The Host may issue this
                                          command multiple times to request
                                          various conditions for the same type
                                          of event filter and for different types
                                          of event filters.

 Set Event Mask Command           1.1     The Set Event Mask command is             All
                                          used to control which events are
                                          generated by the HCI for the Host.
 Set Event Mask Page 2            3.0 +   The Set Event Mask Page 2 com-            All
 Command                          HS      mand is used to control which events
                                          are generated by the HCI for the
                                          Host.

 Set External Frame               CSA     The Set External Frame Configura-         BR/EDR, LE
 Configuration Command            3       tion command enables an external          and AMP
                                          device to describe a frame structure
                                          to the Controller.
 Set MWS Channel                  CSA     The Set MWS Channel Parameters            BR/EDR, LE
 Parameters Command               3       command enables an MWS device             and AMP
                                          to inform the Controller about the
                                          MWS channel configuration.

 Set MWS Scan Frequency           CSA     The Set MWS Scan Frequency Table          BR/EDR, LE
 Table Command                    3       command specifies the frequencies         and AMP
                                          represented by the frequency index
                                          supplied by the MWS_SCAN_FRE-
                                          QUENCY signal.

 Set MWS Signaling                CSA     The Set MWS Signaling command             BR/EDR, LE
 Command                          3       enables a MWS device to inform the        and AMP
                                          Controller about the timing parame-
                                          ters for the MWS coexistence inter-
                                          face.

 Set MWS Transport Layer          CSA     The Set MWS Transport Layer com-          BR/EDR, LE
 Command                          3       mand selects the MWS coexistence          and AMP
                                          signaling transport layer in the Con-
                                          troller.

 Set MWS_PATTERN                  CSA     The Set MWS_PATTERN Configura-            BR/EDR, LE
 Configuration Command            3       tion command specifies the configu-       and AMP
                                          ration of the pattern indicated over
                                          the MWS Coexistence Transport
                                          Layer.

Table 3.1: Alphabetical list of commands and events (Sheet 32 of 41)




Overview of Commands and Events                                                     06 December 2016
                                                                              Bluetooth SIG Proprietary
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Set Reserved LT_ADDR             CSA     The Set_Reserved_LT_ADDR com-            BR/EDR
 Command                          4       mand requests that the BR/EDR
                                          Controller reserve a specific
                                          LT_ADDR for the purposes of Con-
                                          nectionless Slave Broadcast.

 Set Triggered Clock Cap-         CSA     The Set Triggered Clock Capture          BR/EDR
 ture Command                     4       command is used to configure the
                                          Controller to return events containing
                                          an estimate of a piconet or the local
                                          Bluetooth clock.

 Setup Synchronous Con-           1.2     The Setup Synchronous Connection         BR/EDR
 nection Command                          command adds a new or modifies an
                                          existing synchronous logical trans-
                                          port (SCO or eSCO) on a physical
                                          link depending on the Connec-
                                          tion_Handle parameter specified.

 Short Range Mode Change          3.0 +   The Short Range Mode Change              802.11 PAL
 Complete Event                   HS      Complete event is used to indicate       only
                                          completion of any tasks relating to
                                          establishment of short range mode.
 Short Range Mode Com-            3.0 +   The Short Range Mode command is          802.11 PAL
 mand                             HS      used to notify the AMP that the peer     only
                                          may be at close enough range to
                                          require modification of AMP trans-
                                          mission power level.

 Simple Pairing Complete          2.1 +   The Simple Pairing Complete event        BR/EDR
 Event                            EDR     is used to indicate that the simple
                                          pairing process has completed.
 Slave Page Response Tim-         CSA     The Slave Page Response Timeout          BR/EDR
 eout Event                       4       event indicates to the Host that the
                                          pagerespTO has been exceeded on
                                          the BR/EDR Controller after the Con-
                                          troller responded to an ID packet.
 Sniff Mode Command               1.1     The Sniff Mode command is used to        BR/EDR
                                          alter the behavior of the LM and have
                                          the LM place the local or remote
                                          device into the sniff mode.

 Sniff Subrating Command          2.1 +   The Sniff Subrating command is           BR/EDR
                                  EDR     used to configure the sniff subrating
                                          parameters in the local device.
 Sniff Subrating Event            2.1 +   The Sniff Subrating event is used to     BR/EDR
                                  EDR     inform the Host of the local and
                                          remote transmit and receive laten-
                                          cies.
Table 3.1: Alphabetical list of commands and events (Sheet 33 of 41)



Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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                                                                                      Supported
 Name                             Vers.   Summary description                         Controllers

 Start Synchronization Train      CSA     The Start Synchronization Train com-        BR/EDR
 Command                          4       mand enables the Synchronization
                                          Train on the BR/EDR Controller
                                          using the currently configured Syn-
                                          chronization Train parameters.

 Switch Role Command              1.1     The Switch Role command is used to          BR/EDR
                                          switch master and slave roles of the
                                          devices on either side of a connec-
                                          tion.
 Synchronization Train            CSA     The Synchronization Train Complete          BR/EDR
 Complete Event                   4       event indicates that the Synchroniza-
                                          tion Train has completed.

 Synchronization Train            CSA     The Synchronization Train Received          BR/EDR
 Received Event                   4       event provides the status of Synchro-
                                          nization Train packets received from
                                          the device with the given BD_ADDR.
 Synchronous Connection           1.2     The Synchronous Connection                  BR/EDR
 Changed Event                            Changed event indicates to the Host
                                          that an existing Synchronous con-
                                          nection has been reconfigured.

 Synchronous Connection           1.2     The Synchronous Connection Com-             BR/EDR
 Complete Event                           plete event indicates to both the
                                          Hosts that a new Synchronous con-
                                          nection has been established.
 Triggered Clock Capture          CSA     The Triggered Clock Capture event           BR/EDR
 Event                            4       reports the Bluetooth clock when an
                                          external trigger occurred.
 Truncated Page Cancel            CSA     The Truncated Page Cancel Com-              BR/EDR
 Command                          4       mand is used to cancel an ongoing
                                          Truncated Page.

 Truncated Page Command           CSA     The Truncated Page command will             BR/EDR
                                  4       cause the BR/EDR Controller to
                                          page the BR/EDR Controller with the
                                          BD_ADDR specified by the com-
                                          mand parameters and abort the page
                                          sequence after receiving the ID
                                          response packet.

 Truncated Page Complete          CSA     The Truncated Page Complete event           BR/EDR
 Event                            4       indicates to the Host that a Trun-
                                          cated Page has completed.
 User Confirmation Request        2.1 +   The User Confirmation Request               BR/EDR
 Event                            EDR     event is used to indicate that user
                                          confirmation of a numeric value is
                                          required.

Table 3.1: Alphabetical list of commands and events (Sheet 34 of 41)



Overview of Commands and Events                                                       06 December 2016
                                                                                Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


                                                                                  Supported
 Name                             Vers.   Summary description                     Controllers

 User Confirmation Request        2.1 +   The User Confirmation Request           BR/EDR
 Negative Reply Command           EDR     Negative Reply command is used to
                                          reply to a User Confirmation Request
                                          event and indicates that the user
                                          selected “no”. This command will ter-
                                          minate Secure Simple Pairing.

 User Confirmation Request        2.1 +   The User Confirmation Request           BR/EDR
 Reply Command                    EDR     Reply command is used to reply to a
                                          User Confirmation Request event
                                          and indicates that the user selected
                                          “yes”. It is also used when the Host
                                          has no input and no output capabili-
                                          ties.

 User Passkey Notification        2.1 +   The User Passkey Notification event     BR/EDR
 Event                            EDR     is used to provide a passkey for the
                                          Host to display to the user as
                                          required as part of a Simple Pairing
                                          process.

 User Passkey Request             2.1 +   The User Passkey Request event is       BR/EDR
 Event                            EDR     used to indicate that a passkey is
                                          required as part of a Simple Pairing
                                          process.
 User Passkey Request             2.1 +   The User Passkey Request Negative       BR/EDR
 Negative Reply Command           EDR     Reply command is used to reply to a
                                          User Passkey Request event and
                                          indicates the Host could not provide
                                          a passkey. This command will termi-
                                          nate Simple Pairing.

 User Passkey Request             2.1 +   The User Passkey Request Reply          BR/EDR
 Reply Command                    EDR     command is used to reply to a User
                                          Passkey Request event and speci-
                                          fies the Numeric_Value (passkey)
                                          entered by the user to be used in the
                                          Secure Simple Pairing process.

 Write AFH Channel                1.2     The Write AFH Channel Assessment        BR/EDR
 Assessment Mode Com-                     Mode command will write the value
 mand                                     for the Channel Classification Mode
                                          configuration parameter. This value
                                          is used to enable or disable the Con-
                                          troller’s channel assessment
                                          scheme.

 Write Authenticated Pay-         4.1     This command is used to write the       BR/EDR, LE
 load Timeout Command                     Authenticated Payload Timeout
                                          parameter, which is used to set the
                                          maximum time between packets
                                          being received from the remote
                                          device without a valid MIC.

Table 3.1: Alphabetical list of commands and events (Sheet 35 of 41)

Overview of Commands and Events                                                   06 December 2016
                                                                            Bluetooth SIG Proprietary
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Write Authentication             1.1     The Write Authentication Enable          BR/EDR
 Enable Command                           command will write the value for the
                                          Authentication Enable parameter,
                                          which controls whether the Bluetooth
                                          device will require authentication for
                                          each connection with other Bluetooth
                                          devices.

 Write Automatic Flush Tim-       1.1     The Write Automatic Flush Timeout        BR/EDR
 eout Command                             command will write the value for the
                                          Flush Timeout configuration parame-
                                          ter for the specified Connec-
                                          tion_Handle. The Flush Timeout
                                          parameter is only used for ACL con-
                                          nections.

 Write Best Effort Flush Tim-     3.0 +   The Write Best Effort Flush Timeout      802.11 PAL
 eout Command                     HS      command configures the AMP               only
                                          device with a maximum time to
                                          attempt to transmit any given frame
                                          on the Best Effort logical link.

 Write Class of Device            1.1     The Write Class of Device command        BR/EDR
 Command                                  will write the value for the
                                          Class_of_Device configuration
                                          parameter, which is used to indicate
                                          its capabilities to other devices.

 Write Connection Accept          1.1     The Write Connection Accept Time-        BR/EDR,
 Timeout Command                          out command will write the value for     AMP
                                          the Connection Accept Timeout con-
                                          figuration parameter, which allows
                                          the Controller to automatically deny a
                                          connection request after a specified
                                          period has occurred, and to refuse a
                                          new connection.

 Write Current IAC LAP            1.1     The Write Current IAC LAP com-           BR/EDR
 Command                                  mand will write the LAP(s) used to
                                          create the Inquiry Access Codes
                                          (IAC) that the local BR/EDR Control-
                                          ler is simultaneously scanning for
                                          during Inquiry Scans.

Table 3.1: Alphabetical list of commands and events (Sheet 36 of 41)




Overview of Commands and Events                                                    06 December 2016
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Write Default Erroneous          2.1 +   The Write Default Erroneous Data         BR/EDR
 Data Reporting Command           EDR     Reporting command will write the
                                          value for the Erroneous Data Report-
                                          ing configuration parameter, which
                                          controls whether the Bluetooth Con-
                                          troller will provide data for every
                                          (e)SCO interval, with the Pack-
                                          et_Status_Flag in HCI Synchronous
                                          Data Packets set according to HCI
                                          Synchronous Data Packets.

 Write Default Link Policy        1.2     The Write Default Link Policy Set-       BR/EDR
 Settings Command                         tings command will write the Default
                                          Link Policy configuration parameter
                                          for all new connections.

 Write Extended Inquiry           4.1     The Write Extended Inquiry Length        BR/EDR
 Length Command                           command is used to write the
                                          Extended Inquiry Length parameter
                                          to the Controller.
 Write Extended Inquiry           2.1 +   The Write Extended Inquiry               BR/EDR
 Response Command                 EDR     Response command will write the
                                          data that the BR/EDR Controller
                                          sends in the extended inquiry
                                          response packet during inquiry
                                          response.

 Write Extended Page              4.1     The Write Extended Page Timeout          BR/EDR
 Timeout Command                          command is used to write the
                                          Extended Page Timeout parameter
                                          to the Controller.

 Write Flow Control Mode          3.0 +   The Write Flow Control Mode com-         BR/EDR,
 Command                          HS      mand sets the value of the Flow_-        AMP
                                          Control_Mode configuration
                                          parameter for this Controller.
 Write Hold Mode Activity         1.1     The Write Hold Mode Activity com-        BR/EDR
 Command                                  mand is used to write which activities
                                          should be suspended when the BR/
                                          EDR Controller is in Hold Mode.
 Write Inquiry Mode               1.2     The Write Inquiry Mode command is        BR/EDR
 Command                                  used to write the Inquiry Mode con-
                                          figuration parameter of the local BR/
                                          EDR Controller.

Table 3.1: Alphabetical list of commands and events (Sheet 37 of 41)




Overview of Commands and Events                                                    06 December 2016
                                                                             Bluetooth SIG Proprietary
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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Write Inquiry Scan Activity      1.1     The Write Inquiry Scan Activity com-     BR/EDR
 Command                                  mand will write the value for Inquiry
                                          Scan Interval and Inquiry Scan Win-
                                          dow configuration parameters.
                                          Inquiry Scan Interval defines the
                                          amount of time between consecutive
                                          inquiry scans. Inquiry Scan Window
                                          defines the amount of time for the
                                          duration of the inquiry scan.

 Write Inquiry Scan Type          1.2     The Write Inquiry Scan Type com-         BR/EDR
 Command                                  mand is used to write the Inquiry
                                          Scan Type configuration parameter
                                          of the local BR/EDR Controller. The
                                          Inquiry Scan Type configuration
                                          parameter can set the inquiry scan to
                                          either normal or interlaced scan.

 Write Inquiry Transmit           2.1 +   This command is used to write the        BR/EDR
 Power Level Command              EDR     transmit power level used to transmit
                                          the inquiry (ID) data packets.
 Write LE Host Support            4.0     This command writes the LE Sup-          BR/EDR
 Command                                  ported Host and Simultaneous LE
                                          Host settings to the BR/EDR Control-
                                          ler.
 Write Link Policy Settings       1.1     The Write Link Policy Settings com-      BR/EDR
 Command                                  mand will write the Link Policy con-
                                          figuration parameter for the specified
                                          Connection_Handle. The Link Policy
                                          settings allow the Host to specify
                                          which Link Modes the Link Manager
                                          can use for the specified Connec-
                                          tion_Handle.

 Write Link Supervision Tim-      1.1     The Write Link Supervision Timeout       BR/EDR,
 eout Command                             command will write the value for the     AMP
                                          Link Supervision Timeout configura-
                                          tion parameter for the device. This
                                          parameter is used by the Controller
                                          to determine link loss.

 Write Local Name Com-            1.1     The Write Local Name command             BR/EDR
 mand                                     provides the ability to modify the
                                          user-friendly name for the BR/EDR
                                          Controller.
 Write Location Data              3.0 +   The Write Location Data command is       AMP
 Command                          HS      used to tell the Controller any knowl-
                                          edge of environment or regulations
                                          currently in force, which may affect
                                          the operation of the Controller.

Table 3.1: Alphabetical list of commands and events (Sheet 38 of 41)



Overview of Commands and Events                                                    06 December 2016
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                                                                                    Supported
 Name                             Vers.   Summary description                       Controllers

 Write Logical Link Accept        3.0 +   The Write Logical Link Accept Time-       AMP
 Timeout Command                  HS      out command will write the value for
                                          the Logical Link Accept Timeout con-
                                          figuration parameter, which allows
                                          the AMP Controller to automatically
                                          deny a connection request after a
                                          specified period has occurred, and to
                                          refuse a new connection.

 Write Loopback Mode              1.1     The Write Loopback Mode command           BR/EDR
 Command                                  will write the value for the setting of
                                          the BR/EDR Controllers Loopback
                                          Mode. The setting of the Loopback
                                          Mode will determine the path of infor-
                                          mation.

 Write Num Broadcast              1.1     The Write Num Broadcast Retrans-          BR/EDR
 Retransmissions Com-                     missions command will write the
 mand                                     parameter value for the Number of
                                          Broadcast Retransmissions for the
                                          BR/EDR Controller.

 Write Page Scan Activity         1.1     The Write Page Scan Activity com-         BR/EDR
 Command                                  mand will write the value for Page
                                          Scan Interval and Page Scan Win-
                                          dow configuration parameters. Page
                                          Scan Interval defines the amount of
                                          time between consecutive page
                                          scans. Page Scan Window defines
                                          the duration of the page scan.

 Write Page Scan Type             1.2     The Write Page Scan Type com-             BR/EDR
 Command                                  mand is used to write the page scan
                                          type of the local BR/EDR Controller.
                                          The Page Scan Type configuration
                                          parameter can set the page scan to
                                          either normal or interlaced scan.

 Write Page Timeout Com-          1.1     The Write Page Timeout command            BR/EDR
 mand                                     will write the value for the Page
                                          Reply Timeout configuration parame-
                                          ter, which allows the BR/EDR Con-
                                          troller to define the amount of time a
                                          connection request will wait for the
                                          remote device to respond before the
                                          local device returns a connection fail-
                                          ure.

 Write PIN Type Command           1.1     The Write PIN Type command is             BR/EDR
                                          used for the Host to specify whether
                                          the Host supports variable PIN or
                                          only fixed PINs.
Table 3.1: Alphabetical list of commands and events (Sheet 39 of 41)



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                                                                                   Supported
 Name                             Vers.   Summary description                      Controllers

 Write Remote AMP                 3.0 +   The Write Remote AMP_ASSOC               AMP
 ASSOC Command                    HS      command allows the Host to write a
                                          fragment of the AMP_ASSOC struc-
                                          ture, which contains AMP specific
                                          information for the AMP Controller.

 Write Scan Enable Com-           1.1     The Write Scan Enable command            BR/EDR
 mand                                     will write the value for the Scan
                                          Enable configuration parameter,
                                          which controls whether or not the
                                          BR/EDR Controller will periodically
                                          scan for page attempts and/or inquiry
                                          requests from other BR/EDR Con-
                                          trollers.

 Write Secure Connections         4.1     The Write Secure Connections Host        BR/EDR
 Host Support Command                     Support command is used to write
                                          the Secure Connections Host Sup-
                                          ports parameter to the Controller.
 Write Secure Connections         4.1     This command is used to put the          BR/EDR
 Test Mode Command                        Controller in a test mode where DM1
                                          packets are not allowed to be used
                                          for ACL-U traffic and/or the contents
                                          of eSCO payloads can be looped
                                          back.

 Write Simple Pairing             2.1 +   This command configures the BR/          BR/EDR
 Debug Mode Command               EDR     EDR Controller to use a predefined
                                          Diffie Hellman private key for Simple
                                          Pairing to enable debug equipment
                                          to monitor the encrypted connection.

 Write Simple Pairing Mode        2.1 +   This command writes the Simple           BR/EDR
 Command                          EDR     Pairing mode setting in the BR/EDR
                                          Controller.
 Write Stored Link Key            1.1     The Write Stored Link Key command        BR/EDR
 Command                                  provides the ability to write one or
                                          more link keys to be stored in the
                                          Controller.
 Write Synchronization            CSA     The Write Synchronization Train          BR/EDR
 Train Parameters Com-            4       Parameters command configures the
 mand                                     Synchronization Train functionality in
                                          the BR/EDR Controller.

Table 3.1: Alphabetical list of commands and events (Sheet 40 of 41)




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Host Controller Interface Functional Specification


                                                                                     Supported
 Name                             Vers.   Summary description                        Controllers

 Write Synchronous Flow           1.1     The Write Synchronous Flow Control         BR/EDR
 Control Enable Command                   Enable command provides the ability
                                          to write the Synchronous Flow Con-
                                          trol Enable setting. By using this set-
                                          ting, the Host can decide if the
                                          Controller will send Number Of Com-
                                          pleted Packets events for Synchro-
                                          nous Connection_Handles.

 Write Voice Setting Com-         1.1     The Write Voice Setting command            BR/EDR
 mand                                     will write the values for the Voice Set-
                                          ting configuration parameter, which
                                          controls all the various settings for
                                          the voice connections.

Table 3.1: Alphabetical list of commands and events (Sheet 41 of 41)




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Host Controller Interface Functional Specification


3.1 LE CONTROLLER REQUIREMENTS
Table 3.2 lists the commands and events that a Controller supporting LE shall
implement if HCI is claimed. The Link Layer Features are defined in [Vol 6] Part
B, Section 4.6.

 Name                                                        LE Feature Requirements

 Command Complete Event                                      Mandatory
 Command Status Event                                        Mandatory

 LE Add Device To White List Command                         Mandatory
 LE Clear White List Command                                 Mandatory
 LE Read Buffer Size Command                                 Mandatory

 LE Read Local Supported Features Command                    Mandatory
 LE Read Supported States Command                            Mandatory

 LE Read White List Size Command                             Mandatory
 LE Remove Device From White List Command                    Mandatory
 LE Set Event Mask Command                                   Mandatory

 LE Test End Command                                         Mandatory
 Read BD_ADDR Command                                        Mandatory
 Read Local Supported Features Command                       Mandatory

 Read Local Version Information Command                      Mandatory
 Reset Command                                               Mandatory
 Read Local Supported Commands Command                       Mandatory

 Set Event Mask Command                                      Mandatory
 LE Read Advertising Channel TX Power Command                C1
 LE Transmitter Test Command                                 C1

 LE Set Advertising Data Command                             C1
 LE Set Advertising Enable Command                           C1
 LE Set Advertising Parameters Command                       C1

 LE Set Random Address Command                               C1
 LE Advertising Report Event                                 C2
 LE Receiver Test Command                                    C2

 LE Set Scan Enable Command                                  C2
 LE Set Scan Parameters Command                              C2
 Disconnect Command                                          C3

Table 3.2: Bluetooth Controller supporting LE requirements

Overview of Commands and Events                                          06 December 2016
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 Name                                                        LE Feature Requirements

 Disconnection Complete Event                                C3
 LE Connection Complete Event                                C3
 LE Connection Update Command                                C3

 LE Connection Update Complete Event                         C3
 LE Create Connection Cancel Command                         C3
 LE Create Connection Command                                C3

 LE Read Channel Map Command                                 C3
 LE Read Remote Features Command                             C3
 LE Read Remote Features Complete Event                      C3

 LE Set Host Channel Classification Command                  C3
 Number Of Completed Packets Event                           C3

 Read Transmit Power Level Command                           C3
 Read Remote Version Information Command                     C3
 Read Remote Version Information Complete Event              C3

 Read RSSI Command                                           C3
 Encryption Change Event                                     C4
 Encryption Key Refresh Complete Event                       C4

 LE Encrypt Command                                          C4
 LE Long Term Key Request Event                              C4
 LE Long Term Key Request Reply Command                      C4

 LE Long Term Key Request Negative Reply Command             C4
 LE Rand Command                                             C4
 LE Start Encryption Command                                 C4

 Read Buffer Size Command                                    C5
 Read LE Host Support                                        C5
 Write LE Host Support                                       C5

 LE Remote Connection Parameter Request Reply Command        C6
 LE Remote Connection Parameter Request Negative Reply       C6
 Command
 LE Remote Connection Parameter Request Event                C6

 Write Authenticated Payload Timeout Command                 C7
 Read Authenticated Payload Timeout Command                  C7
Table 3.2: Bluetooth Controller supporting LE requirements


Overview of Commands and Events                                          06 December 2016
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 Name                                                        LE Feature Requirements

 Authenticated Payload Timeout Expired Event                 C7
 LE Set Data Length Command                                  C8
 LE Data Length Change Event                                 C8

 LE Read Suggested Default Data Length Command               C8
 LE Write Suggested Default Data Length Command              C8
 LE Read Maximum Data Length Command                         C8

 LE Set Resolvable Private Address Timeout Command           C9
 LE Set Address Resolution Enable Command                    C9
 LE Directed Advertising Report Event                        C9

 LE Add Device to Resolving List Command                     C9
 LE Remove Device From Resolving List Command                C9

 LE Clear Resolving List Command                             C9
 LE Set Privacy Mode                                         C9
 LE Read Peer Resolvable Address Command                     C10

 LE Read Local Resolvable Address Command                    C10
 LE Read PHY Command                                         C11
 LE Set Default PHY Command                                  C11

 LE Set PHY Command                                          C11
 LE PHY Update Complete Event                                C11
 LE Enhanced Transmitter Test Command                        C12

 LE Enhanced Receiver Test Command                           C13
 Set Event Mask Page 2 Command                               C14
 LE Set Scan Response Data Command                           C15

 LE Set Advertising Set Random Address Command               C16
 LE Set Extended Advertising Parameters Command              C17
 LE Set Extended Advertising Data Command                    C17

 LE Set Extended Scan Response Data Command                  C17
 LE Scan Request Received Event                              C17
 LE Set Extended Advertising Enable Command                  C17

 LE Read Maximum Advertising Data Length Command             C17
 LE Read Number of Supported Advertising Sets Command        C17
 LE Remove Advertising Set Command                           C17

Table 3.2: Bluetooth Controller supporting LE requirements

Overview of Commands and Events                                          06 December 2016
                                                                   Bluetooth SIG Proprietary
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Host Controller Interface Functional Specification


 Name                                                        LE Feature Requirements

 LE Clear Advertising Sets Command                           C17
 LE Advertising Set Terminated Event                         C17
 LE Set Periodic Advertising Parameters Command              C18

 LE Set Periodic Advertising Data Command                    C18
 LE Set Periodic Advertising Enable Command                  C18
 LE Set Extended Scan Parameters Command                     C19

 LE Set Extended Scan Enable Command                         C19
 LE Scan Timeout Event                                       C19
 LE Extended Advertising Report Event                        C19

 LE Extended Create Connection Command                       C19
 LE Periodic Advertising Create Sync Command                 C20

 LE Periodic Advertising Create Sync Cancel Command          C20
 LE Periodic Advertising Terminate Sync Command              C20
 LE Periodic Advertising Report Event                        C20

 LE Periodic Advertising Sync Established Event              C20
 LE Periodic Advertising Sync Lost Event                     C20
 LE Add Device To Periodic Advertiser List Command           C20

 LE Remove Device From Periodic Advertiser List Command      C20
 LE Clear Periodic Advertiser List Command                   C20
 LE Read Periodic Advertiser List Size Command               C20

 LE Read RF Path Compensation Command                        C21
 LE Write RF Path Compensation Command                       C21
 LE Channel Selection Algorithm Event                        C22

 LE Enhanced Connection Complete Event                       C23
 Data Buffer Overflow Event                                  Optional
 Hardware Error Event                                        Optional

 Host Buffer Size Command                                    Optional
 Host Number Of Completed Packets Command                    Optional
 Set Controller To Host Flow Control Command                 Optional

 LE Read Transmit Power Command                              Optional
 LE Read Local P-256 Public Key Command                      Optional
 LE Generate DH Key Command                                  Optional

Table 3.2: Bluetooth Controller supporting LE requirements

Overview of Commands and Events                                           06 December 2016
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 Name                                                          LE Feature Requirements

 LE Read Local P-256 Public Key Complete Event                 Optional
 LE Generate DHKey Complete Event                              Optional
Table 3.2: Bluetooth Controller supporting LE requirements

 C1:  Mandatory if Controller supports transmitting packets, otherwise optional.
 C2:  Mandatory if Controller supports receiving packets, otherwise optional.
 C3:  Mandatory if Controller supports Connection State, otherwise excluded.
 C4:  Mandatory if LE Feature (LE Encryption) is supported, otherwise optional.
 C5:  Mandatory if BR/EDR is supported, otherwise optional.
 C6:  Mandatory if LE Feature (Connection Parameters Request procedure) is supported,
      otherwise optional.
 C7: Mandatory if LE Feature (LE Ping) is supported, otherwise excluded.
 C8: Mandatory if LE Feature (LE Data Packet Length Extension) is supported, otherwise
      optional.
 C9: Mandatory if LE Feature (LL Privacy) is supported, otherwise excluded.
 C10: Optional if LE Feature (LL Privacy) is supported, otherwise excluded.
 C11: Mandatory if LE Feature (LE 2M PHY) or LE Feature (LE Coded PHY) is supported,
      otherwise excluded.
 C12: Mandatory if LE Feature (LE 2M PHY) or LE Feature (LE Coded PHY) or LE Feature
      (Stable Modulation Index - Transmitter) is supported, otherwise optional.
 C13: Mandatory if LE Feature (LE 2M PHY) or LE Feature (LE Coded PHY) or LE Feature
      (Stable Modulation Index - Receiver) is supported, otherwise optional.
 C14: Mandatory if LE Feature (LE Ping) is supported, otherwise optional.
 C15: Mandatory if Controller supports transmitting scannable advertisements, otherwise
      excluded.
 C16: Mandatory if LE Feature (Extended Advertising) is supported, otherwise excluded.
 C17: Mandatory if LE Feature (Extended Advertising) is supported and the Controller
      supports any advertising states, otherwise excluded.
 C18: Mandatory if LE Feature (Periodic Advertising) is supported and the Controller
      supports any advertising states, otherwise excluded.
 C19: Mandatory if LE Feature (Extended Advertising) is supported and the Controller
      supports any scanning or initiating states, otherwise excluded.
 C20: Mandatory if LE Feature (Periodic Advertising) is supported and the Controller
      supports any scanning states, otherwise excluded.
 C21:Mandatory if the Controller supports sending Transmit Power in advertisements,
      otherwise optional.
 C22: Mandatory if LE Feature (LE Channel Selection Algorithm #2) is supported,
      otherwise excluded.
 C23: Mandatory if LE Feature (LL Privacy) or LE Feature (Extended Advertising) is
      supported, otherwise optional.




Overview of Commands and Events                                              06 December 2016
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3.1.1 Legacy and Extended Advertising

Table 3.3 lists the legacy and extended advertising commands and events.

If a Controller supports any legacy advertising command or event listed in the
table and also supports the LE Feature (Extended Advertising), it shall support
the corresponding extended advertising command or event in the same row of
the table.

If, since the last power-on or reset, the Host has ever issued a legacy
advertising command and then issues an extended advertising command, or
has ever issued an extended advertising command and then issues a legacy
advertising command, the Controller shall return the error code Command
Disallowed (0x0C).

A Host should not issue legacy commands to a Controller that supports the LE
Feature (Extended Advertising).

 Legacy advertising command or event           Extended advertising command or event

 LE Advertising Report Event                   LE Extended Advertising Report Event
 LE Directed Advertising Report Event          LE Extended Advertising Report Event

 LE Set Advertising Parameters Command         LE Set Extended Advertising Parameters
                                               Command
 LE Read Advertising Channel Tx Power          None
 Command
 LE Set Advertising Data Command               LE Set Extended Advertising Data Command

 LE Set Scan Response Data Command             LE Set Extended Scan Response Data
                                               Command
 LE Set Advertising Enable Command             LE Set Extended Advertising Enable
                                               Command
 none                                          LE Read Maximum Advertising Data Length
                                               Command

 none                                          LE Read Number of Supported Advertising
                                               Sets Command
 none                                          LE Remove Advertising Set Command
 none                                          LE Clear Advertising Sets Command

 none                                          LE Set Periodic Advertising Parameters
                                               Command
 none                                          LE Set Periodic Advertising Data Command
 none                                          LE Set Periodic Advertising Enable Command

 LE Set Scan Parameters Command                LE Set Extended Scan Parameters Command
Table 3.3: Legacy and extended advertising commands and events



Overview of Commands and Events                                                06 December 2016
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 Legacy advertising command or event           Extended advertising command or event

 LE Set Scan Enable Command                    LE Set Extended Scan Enable Command
 LE Create Connection Command                  LE Extended Create Connection Command
 none                                          LE Periodic Advertising Create Sync
                                               Command

 none                                          LE Periodic Advertising Create Sync Cancel
                                               Command
 none                                          LE Periodic Advertising Terminate Sync
                                               Command
 none                                          LE Add Device To Periodic Advertiser List
                                               Command

 none                                          LE Remove Device From Periodic Advertiser
                                               List Command
 none                                          LE Clear Periodic Advertiser List Command

 none                                          LE Read Periodic Advertiser List Size
                                               Command
Table 3.3: Legacy and extended advertising commands and events




Overview of Commands and Events                                                 06 December 2016
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4 HCI FLOW CONTROL

Flow control for data shall be used in the direction from the Host to the
Controller to avoid overflowing the Controller data buffers with ACL data
destined for a remote device (using a Connection_Handle) that is not
responding. The Host manages the data buffers of the Controller. For Primary
Controller, packet based flow control is the default. For AMP Controllers, data
block based data flow control is the default for ACL traffic. Flow control for data
moving from the Controller to the Host may be used in the Primary Controller in
accordance with Section 4.2.

Command flow control is covered in Section 4.4 and Section 4.5.

4.1 HOST TO CONTROLLER DATA FLOW CONTROL
Two methods of data flow control are defined: 'packet-based' flow control and
'data-block-based' flow control, known as buffer management. Selection of the
data flow control mechanism is performed with the Write Flow Control Mode
command (see Section 7.3.73).

If a BR/EDR/LE Controller implements separate buffers for ACL Data:
1. The Host shall use the LE Read Buffer Size command to determine the buf-
   fers that are used for ACL Data on an LE-U logical link.
2. The Host shall use separate packet based flow control for each set of
   buffers.
3. The Connection_Handle contained in the ACL Data packet shall be used by
   the Controller to determine which set of buffers to use and the logical link
   (ACL-U, ASB-U, or LE-U) over which the data is to be sent.

If a BR/EDR/LE Controller does not implement separate buffers, then all ACL
Data shall use the BR/EDR buffer management as described below, and only
the logical link (ACL-U, ASB-U, or LE-U) shall be determined by the
Connection_Handle.

4.1.1 Packet-based Data Flow Control

When the packet based flow control mechanism is enabled, on initialization, a
Host that supports LE shall issue the LE Read Buffer Size command. Two of
the return parameters of this command determine the maximum size of HCI
ACL (excluding header) Data Packets that can be used to transmit ACL data
for an LE transport sent from the Host to the Controller. There is an additional
return parameter that specifies the total number of HCI ACL Data Packets that
the Controller may have waiting for transmission in those buffers. A Primary
Controller that supports BR/EDR and LE may return zero for the total number
of HCI ACL Packets used to transmit ACL data for an LE transport. In this case



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the Host shall then send all BR/EDR and LE data using the HCI ACL Data
Packets into the buffers identified using the Read Buffer Size command.

In a BR/EDR Controller, when the packet based flow control mechanism is
enabled, on initialization, the Host shall issue the Read Buffer Size command.
Two of the return parameters of this command determine the maximum size of
HCI ACL and synchronous Data Packets (excluding header) sent from the Host
to the Controller. There are also two additional return parameters that specify
the total number of HCI ACL and synchronous Data Packets that the Controller
may have waiting for transmission in its buffers.

When there is at least one connection to another device, or when in local
loopback mode on a BR/EDR Controller, the Controller shall use the Number
Of Completed Packets event to control the flow of data from the Host. This
event contains a list of Connection_Handles and a corresponding number of
HCI Data Packets that have been completed (transmitted, flushed, or looped
back to the Host) since the previous time the event was returned (or since the
connection was established, if the event has not been returned before for a
particular Connection_Handle).

The Host chooses the Connection_Handles for the following HCI Data Packets
based on the information returned in this event, and/or the LE Read Buffer Size
commands.

Every time it has sent an HCI Data Packet, the Host shall assume that the free
buffer space for the corresponding link type (ACL, SCO or eSCO) in the
Controller has decreased by one HCI Data Packet.

Each Number Of Completed Packets event received by the Host provides
information about how many HCI Data Packets have been completed
(transmitted or flushed) for each Connection_Handle since the previous
Number Of Completed Packets event was sent to the Host. It can then
calculate the actual current buffer usage.

When the Controller has completed one or more HCI Data Packet(s) it shall
send a Number Of Completed Packets event to the Host, until it finally reports
that all the pending HCI Data Packets have been completed. The frequency at
which this event is sent is manufacturer specific.

Note: The Number Of Completed Packets events will not report on
synchronous Connection_Handles if Synchronous Flow Control is disabled.
(See Read Synchronous Flow Control Enable Command, and Write
Synchronous Flow Control Enable Command.)

For each individual Handle, the data shall be sent to the Controller in HCI Data
Packets in the order in which it was created in the Host. The Controller shall
also transmit data on the air that is received from the Host for a given Handle
in the same order as it is received from the Host.



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Data that is received on the air from another device shall, for the corresponding
Connection_Handle, be sent in HCI Data Packets to the Host in the same order
as it is received. This means the scheduling shall be decided separately for
each Handle basis. For each individual Handle, the order of the data shall not
be changed from the order in which the data has been created.

HCI shall not fragment an L2CAP message on an LE-U logical link that is 27
octets or less in length.

4.1.2 Data-Block-Based Data Flow Control

When the data-block-based flow control mechanism is enabled, on initialization
the Host shall issue the Read Data Block Size Command. Two of the return
parameters of this command determine the maximum size of HCI ACL Data
Packets (excluding header) sent from the Host to the Controller. A further
return parameter specifies the total number of HCI ACL Data Packets that the
Controller may have waiting for transmission in its buffers.

When there is at least one Logical Link to another AMP the Controller shall use
the Number Of Completed Data Blocks event to control the flow of data from
the Host. This event contains a list of Handles and a corresponding number of
HCI Data Packets that have been completed (transmitted or flushed) since the
previous time the event was returned (or since the link was established, if the
event has not been returned before for a particular Handle).

Based on the information returned in this event, and the return parameters of
the Read Data Block Size command that specify the total number of HCI ACL
Data Packets that can be stored in the Controller, the Host decides for which
Handles the following HCI Data Packets should be sent.

Every time it has sent an HCI Data Packet, the Host shall assume that the free
buffer space for the corresponding ACL link type in the Controller has
decreased by one HCI Data Packet.

Each Number Of Completed Data Blocks event received by the Host provides
information about how many HCI Data Packets have been completed
(transmitted or flushed) for each Handle since the previous Number Of
Completed Data Blocks event was sent to the Host. It can then calculate the
actual current buffer usage.

When the Controller has completed one or more HCI Data Packet(s) it shall
send a Number Of Completed Data Blocks event to the Host until it finally
reports that all the pending HCI Data Packets have been completed. The
frequency at which this event is sent is manufacturer specific.

For each individual Handle, the data must be sent to the Controller in HCI Data
Packets in the order in which it was created in the Host. The Controller shall
also transmit data for a given Handle in the same order as it is received from
the Host.


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Data that is received shall be sent in HCI Data Packets to the Host in the same
order as it is received. This means the scheduling shall be decided separately
for each Handle basis.

4.2 CONTROLLER TO HOST DATA FLOW CONTROL
In some implementations, flow control may also be necessary in the direction
from the Controller to the Host. The Set Host Controller To Host Flow Control
command can be used to turn flow control on or off in that direction. For AMP
Controllers, Controller to Host data flow control is provided by the HCI physical
transport or software equivalent.

On initialization, the Host uses the Host Buffer Size command to notify the
Controller about the maximum size of HCI ACL and synchronous Data Packets
sent from the Controller to the Host. The command also contains two additional
command parameters to notify the Primary Controller about the total number of
ACL and synchronous Data Packets that can be stored in the data buffers of
the Host.

The Host uses the Host Number Of Completed Packets command in exactly
the same way as the Primary Controller uses the Number Of Completed
Packets event as was previously described in this section.

The Host Number Of Completed Packets command is a special command for
which no command flow control is used, and which can be sent anytime there
is a connection or when in local loopback mode. The command also has no
event after the command has completed. This makes it possible for the flow
control to work in exactly the same way in both directions, and the flow of
normal commands will not be disturbed.

4.3 DISCONNECTION BEHAVIOR
When the Host receives a Disconnection Complete, Disconnection Physical
Link Complete or Disconnection Logical Link Complete event, the Host shall
assume that all unacknowledged HCI Data Packets that have been sent to the
Controller for the returned Handle have been flushed, and that the
corresponding data buffers have been freed. A Primary Controller does not
have to notify the Host about this in a Number Of Completed Packets event,
nor does the AMP Controller have to notify the Host about this in a Number Of
Completed Data Blocks event, before the disconnection event (and must not
do so afterwards because the Connection_Handle is no longer valid).

If flow control is also enabled in the direction from the Controller to the Host,
the Controller may, after it has sent a Disconnection Complete event, assume
that the Host will flush its data buffers for the sent Handle when it receives the
Disconnection Complete event. The Host does not have to notify the Primary
Controller about this in a Host Number Of Completed Packets command.



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4.4 COMMAND FLOW CONTROL
On initial power-on, and after a reset, the Host shall send a maximum of one
outstanding HCI Command Packet until a Command Complete or Command
Status event has been received.

The Command Complete and Command Status events contain a parameter
called Num HCI Command Packets, which indicates the number of HCI
Command Packets the Host is currently allowed to send to the Controller. The
Controller may buffer one or more HCI command packets, but the Controller
shall start performing the commands in the order in which they are received. The
Controller can start performing a command before it completes previous
commands. Therefore, the commands do not always complete in the order they
are started.

To indicate to the Host that the Controller is ready to receive HCI command
packets, the Controller may generate a Command Complete or Command
Status event with the Command Opcode set to 0x0000 and the Num HCI
Command Packets event parameter set to 1 or more. Command Opcode
0x0000 is a special value indicating that this event is not associated with a
command sent by the Host. The Controller can send a Command Complete or
Command Status event with Command Opcode 0x0000 at any time to change
the number of outstanding HCI command packets that the Host can send
before waiting. The Controller may generate a Command Complete or
Command Status event with the Num HCI Command Packets event parameter
set to zero to inform the Host that it must stop sending commands.

For most commands, a Command Complete event shall be sent to the Host
when the Controller completes the command. Some commands are executed
in the background and do not return a Command Complete event when they
have been completed. Instead, the Controller shall send a Command Status
event back to the Host when it has begun to execute the command. When the
actions associated with the command have finished, an event that is
associated with the command shall be sent by the Controller to the Host.

If the command does not begin to execute (for example, if there was a
parameter error or the command is currently not allowed), the Command
Status event shall be returned with the appropriate error code in the Status
parameter, and the event associated with the sent command shall not be
returned.

When a connection is disconnected and there are outstanding commands
relating to that connection, the Controller may return the event associated with
each command to the Host. Each such event shall have a non-zero status and
shall precede the Disconnection Complete event. No events for that
Connection_Handle shall be sent after the Disconnection Complete event.




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4.5 COMMAND ERROR HANDLING
If an error occurs for a command for which a Command Complete event is
returned, the Return Parameters field may only contain some of the return
parameters specified for the command. The Status parameter, which explains
the error reason and which is the first return parameter, shall always be
returned. If there is a Handle parameter or a BD_ADDR parameter right after
the Status parameter, this parameter shall also be returned so that the Host
can identify to which instance of a command the Command Complete event
belongs. In this case, the Handle or BD_ADDR parameter shall have exactly
the same value as that in the corresponding command parameter. It is
implementation specific whether more parameters will be returned in case of
an error.

The above also applies to commands that have associated command specific
completion events with a status parameter in their completion event, with five
exceptions. The first two exceptions are the Connection Complete and the
Synchronous Connection Complete events. On failure, for these two events
only, the second parameter, Connection_Handle, is not valid and the third
parameter, BD_ADDR, is valid for identification purposes. The next two
exceptions are the LE Connection Complete and LE Enhanced Connection
Complete events. On failure, the Status parameter is valid, all other parameters
are not valid. The final exception is the Logical Link completion event. On
failure, for this event, the second parameter (Logical_Link_Handle) is not valid
but the third parameter (Physical_Link_Handle) is valid for identification
purposes. The validity of other parameters is likewise implementation specific
for failed commands in this group, but they shall be sent in any case.

Note: The BD_ADDR return parameter of the command Read BD_ADDR is not
used to identify to which instance of the Read BD ADDR command the
Command Complete event belongs. It is optional for the Controller to return
this parameter in case of an error.

4.6 LMP TRANSACTION AND LL PROCEDURE COLLISIONS
If the Host issues a command that returns a successful Command Status event
but then triggers an LMP transaction or Link Layer procedure that terminates
with the error code LMP Error Transaction Collision / LL Procedure Collision
(0x23) because the peer has also initiated the same transaction or procedure,
then the Controller shall take one of the following actions:
• The Controller shall wait until the peer-initiated transaction or procedure has
  completed and use the result to generate the command-specific completion
  event. In this case, the collision is not reported to the Host.
• The Controller shall generate the command-specific completion event with
  the error code LMP Error Transaction Collision / LL Procedure Collision
  (0x23).



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5 HCI DATA FORMATS

5.1 INTRODUCTION
The HCI provides a uniform command method of accessing Controller
capabilities. The HCI Link commands provide the Host with the ability to control
connections to other BR/EDR Controllers. For the BR/EDR Controller, these
commands typically involve the Link Manager (LM) to exchange LMP
commands or the Link Layer (LL) to exchange LL Control packets with remote
Bluetooth devices. For details see [Vol 2] Part C, Link Manager Protocol
Specification and [Vol 6] Part B, Link Layer Specification. For AMP Controllers,
these commands typically involve the AMP PAL. For details see the
appropriate PAL specification (see [Vol 5] Part A, 802.11 Protocol Adaptation
Layer Functional Specification).

The HCI Policy commands are used to affect the behavior of the local and
remote LM or LL. These Policy commands provide the Host with methods of
influencing how the LM or LL manages the piconet. The Controller &
Baseband, Informational, and Status commands provide the Host access to
various registers in the Controller.

HCI commands may take different amounts of time to be completed. Therefore,
the results of commands will be reported back to the Host in the form of an
event. For example, for most HCI commands the Controller will generate the
Command Complete event when a command is completed. This event
contains the return parameters for the completed HCI command. For enabling
the Host to detect errors on the HCI-Transport Layer, there needs to be a
timeout between the transmission of the Host’s command and the reception of
the Controller’s response (e.g. a Command Complete or Command Status
event). Since the maximum response timeout is strongly dependent on the
HCI-Transport Layer used, it is recommended to use a default value of one
second for this timer. This amount of time is also dependent on the number of
commands unprocessed in the command queue.

5.2 DATA AND PARAMETER FORMATS
• All values are in Binary and Hexadecimal Little Endian formats unless
  otherwise noted
• In addition, all parameters which can have negative values must use 2’s
  complement when specifying values
• Unless noted otherwise, the order of parameters in an HCI command packet
  or HCI event packet is the order the parameters are listed in the command
  or event.
• Arrayed parameters are specified using the following notation:
  ParameterA[i]. If more than one set of arrayed parameters are specified
  (e.g. ParameterA[i], ParameterB[i]), then, unless noted otherwise, the order


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   of the parameters are as follows: ParameterA[0], ParameterB[0],
   ParameterA[1], ParameterB[1], ParameterA[2], ParameterB[2], …
   ParameterA[n], ParameterB[n]
• Unless noted otherwise, all parameter values are sent and received in Little
  Endian format (i.e. for multi-octet parameters the rightmost (Least
  Significant Octet) is transmitted first)
• Most command and event parameters that are not-arrayed and all elements
  in an arrayed parameter have fixed sizes (an integer number of octets).
  Where a parameter, or an element of an arrayed parameter, has a variable
  length, this will be noted in the specific command; the length will then be
  specified in another parameter.The parameters and the size of each not
  arrayed parameter (or of each element in an arrayed parameter) contained
  in a command or an event is specified for each command or event. The
  number of elements in an arrayed parameter is not fixed.
• Where bit strings are specified, the low order bit is the right hand bit, e.g. 0 is
  the low order bit in 10b.
• Parameter values or opcodes that an implementation does not know how to
  interpret shall be ignored and the operation that is being attempted shall be
  completed with the correct signaling. The Host or Controller shall not stop
  functioning because of receiving a reserved value.

5.3 HANDLES
Three types of handles are used to identify logical channels between the Host
and a Controller: Connection_Handles, Logical Link Handles, and Physical
Link Handles.

5.3.1 Primary Controller Handles

Connection_Handles are used to identify logical channels between the Host
and the Primary Controller. Connection_Handles are assigned by the Primary
Controller when a new logical link is created, using the Connection Complete,
Synchronous Connection Complete, LE Connection Complete, or LE
Enhanced Connection Complete events. Broadcast Connection_Handles are
handled differently, and are described in Section 5.3.1.1.

Note: There are no Broadcast or Synchronous Connection_Handles in a
Controller that only supports LE.

5.3.1.1 Broadcast Connection_Handles

The first time the Host sends an HCI Data Packet with Broadcast_Flag set to
01b (active slave broadcast) after a power-on or a reset, the value of the
Connection_Handle parameter must be a value which is not currently assigned
by the Host Controller.



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The BR/EDR Controller must then continue to use the same
Connection_Handles for broadcast until a reset is made. Note: The Host
Controller must not send a Connection Complete event containing a new
Connection_Handle that it knows is used for broadcast.

Note: In some situations, it may happen that the Host Controller sends a
Connection Complete event before having interpreted a Broadcast packet
received from the Host, and that the Connection_Handles of both Connection
Complete event and HCI Data packet are the same. This conflict has to be
avoided as follows:

If a Connection Complete event is received containing the Connection_Handle
used for broadcast, the Host has to wait before sending any packets for the
new connection until it receives a Number Of Completed Packets event
indicating that there are no pending broadcast packets belonging to the
Connection_Handle. In addition, the Host must change the Connection_Handle
used for broadcast to a Connection_Handle which is currently not assigned by
the Host Controller.

This Connection_Handle must then be used for all following broadcasts of until
a reset is performed or the same conflict situation happens again. However,
this will occur very rarely.

The Host Controller must, in the above conflict case, be able to distinguish
between the Broadcast message sent by the Host and the new connection
made (this could be even a new synchronous link) even though the
Connection_Handles are the same.

For an HCI Data Packet sent from the Host Controller to the Host where the
Broadcast_Flag is 01, the Connection_Handle parameter should contain the
Connection_Handle for the ACL connection to the master that sent the
broadcast.

For Connectionless Slave Broadcast, no Connection_Handle is assigned.

5.3.2 AMP Controller Handles

AMP Controllers have two types of handles: Physical Link Handles and Logical
Link Handles. For data, command and event operations between the Host and
an AMP Controller, a Logical Link Handle is used where a Connection_Handle
is specified, unless a Physical Link Handle is explicitly specified.

A Physical Link is an association between the local Controller and a remote
Controller. For any AMP Controller, there can be at most one Physical Link.
The Host is responsible for allocating Physical Link Handles. A value of 0 shall
not be used for a Physical Link Handle. Physical Links are created and
removed explicitly, and encryption keys are established on a per Physical Link
basis. The AMP may support one or more Physical Links (representing
different remote devices) at any one time.


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For each Physical Link, an AMP Controller provides zero or more Logical
Links.

A Logical Link is an allocation of bandwidth or other resources for application
level data transfer between the local AMP Controller and a remote AMP
Controller. A Logical Link exists with respect to a specific Physical Link and the
Controller ensures this Handle's uniqueness. The AMP shall support one or
more Logical Links (representing distinct resource allocations) over any one
Physical Link.

5.4 EXCHANGE OF HCI-SPECIFIC INFORMATION
The Host Controller Transport Layer provides transparent exchange of HCI
specific information. These transporting mechanisms provide the ability for the
Host to send HCI commands, ACL data and synchronous data to the BR/EDR
Controller, and HCI commands and ACL data to the LE Controller or AMP
Controller. These transport mechanisms also provide the ability for the Host to
receive HCI events, ACL data and synchronous data from the BR/EDR
Controller, and HCI events and ACL data from the LE Controller or AMP
Controller. Since the Host Controller Transport Layer provides transparent
exchange of HCI-specific information, the HCI specification specifies the
format of the commands, events, and data exchange between the Host and the
Controller(s). The next sections specify the HCI packet formats.

5.4.1 HCI Command Packet

The HCI Command Packet is used to send commands to the Controller from
the Host. The format of the HCI Command Packet is shown in Figure 5.1, and
the definition of each field is explained below.

Controllers shall be able to accept HCI Command Packets with up to 255 bytes
of data excluding the HCI Command Packet header. The HCI Command
Packet header is the first 3 octets of the packet.

Each command is assigned a 2 byte Opcode used to uniquely identify different
types of commands. The Opcode parameter is divided into two fields, called
the OpCode Group Field (OGF) and OpCode Command Field (OCF). The
OGF occupies the upper 6 bits of the Opcode, while the OCF occupies the
remaining 10 bits. The OGF of 0x3F is reserved for vendor-specific debug
commands. The organization of the opcodes allows additional information to
be inferred without fully decoding the entire Opcode.

Note: The OGF composed of all ‘ones’ has been reserved for vendor-specific
debug commands. These commands are vendor-specific and are used during
manufacturing, for a possible method for updating firmware, and for debugging.

On receipt of a Vendor Specific Debug command the Controller should respond
with either:


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1. A Command Status Event. If the status indicates success (Section 7.7.15)
   then this event shall be followed by an HCI Event with Event Code field of
   0xFF (Section 5.4.4).
2. A Command Complete Event specifying the corresponding Vendor Specific
   Debug command opcode.

The Host shall assume that sending of a Vendor Specific Debug command will
consume an HCI Command credit.

     0             4         8         12         16         20          24         28          31


                         OpCode                        Parameter Total        Parameter 0
                   OCF                  OGF                Length
                        Parameter 1                                 Parameter ...




         Parameter N-1                                 Parameter N

Figure 5.1: HCI Command Packet


Op_Code:                                                                            Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                OGF Range (6 bits): 0x00-0x3F (0x3F reserved for vendor-specific debug
                       commands)
                       OCF Range (10 bits): 0x0000-0x03FF

Parameter_Total_Length:                                                              Size: 1 Octet
 Value                 Parameter Description

 0xXX                  Lengths of all of the parameters contained in this packet measured in
                       octets. (N.B.: total length of parameters, not number of parameters)

Parameter 0 - N:                                                  Size: Parameter Total Length
 Value                 Parameter Description

 0xXX                  Each command has a specific number of parameters associated with it.
                       These parameters and the size of each of the parameters are defined for
                       each command. Each parameter is an integer number of octets in size.




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5.4.2 HCI ACL Data Packets

HCI ACL Data Packets are used to exchange data between the Host and
Controller. There are two types of HCI ACL Data Packets:
• Automatically-Flushable
• Non-Automatically-Flushable

Automatically-Flushable HCI Data Packets are flushed based on the setting of
an automatic flush timer (see Read Automatic Flush Timeout Command). Non-
Automatically-Flushable HCI Data Packets are not controlled by the automatic
flush timeout and shall not be automatically flushed. The format of the HCI ACL
Data Packet is shown in Figure 5.2. The definition for each of the fields in the
data packets is explained below.

Hosts and Controllers shall be able to accept HCI ACL Data Packets with up to
27 bytes of data excluding the HCI ACL Data Packet header on
Connection_Handles associated with an LE-U logical link.The HCI ACL Data
Packet header is the first 4 octets of the packet.

Note: HCI ACL Data Packets with a Connection_Handle associated with an
LE-U logical link will not be affected by the automatic flush timer because only
non-flushable packet boundary flags are allowed.

All packets on an AMP logical link are affected by the automatic flush timer.


     0             4            8   12                 16   20         24               28           31

                                          PB    BC
                       Handle            Flag   Flag
                                                                 Data Total Length




                                                   Data




Figure 5.2: HCI ACL Data Packet




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Handle:                                                                            Size: 12 Bits
 Value              Parameter Description

 0xXXX              Connection_Handle to be used for transmitting a data packet or segment
                    over a Primary Controller.
                    Logical_Link_Handle to be used for transmitting a data packet over an
                    AMP Controller.
                    On the receiving side (AMP Controller to Host), the least significant 8 bits
                    of the Handle are the Physical_Link_Handle and the most significant 4 bits
                    are reserved for future use. (This is because certain AMP Controllers
                    might not be able to provide the logical link context on the receiving side,
                    and the Host does not require it.)
                    Range: 0x000-0xEFF (all other values reserved for future use)

The Flag Bits consist of the Packet_Boundary_Flag and Broadcast_Flag. The
Packet_Boundary_Flag is located in bit 4 and bit 5, and the Broadcast_Flag is
located in bit 6 and bit 7 in the second octet of the HCI ACL Data packet.

Packet_Boundary_Flag:                                                               Size: 2 Bits
           Parameter
 Value                                        ASB-U         ACL-U        AMP-U         LE-U
           Description

 00b       First non-auto-       Host to      Not           Allowed      Not           Allowed
           matically-flush-      Controller   allowed                    allowed
           able packet of
           Higher Layer          Controller   Not           Not          Not           Not
           Message (start of     to Host      allowed       allowed      allowed       allowed
           a non-automati-                                  (except
           cally-flushable                                  during
           L2CAP PDU) from                                  loopback)
           Host to Controller.

 01b       Continuing frag-      Host to      Allowed       Allowed      Not           Allowed
           ment of Higher        Controller                              allowed
           Layer Message
                                 Controller   Allowed       Allowed      Not           Allowed
                                 to Host                                 allowed

 10b       First automati-       Host to      Allowed       Allowed      Not           Not
           cally flushable       Controller                              allowed       Allowed
           packet of Higher
           Layer Message         Controller   Allowed       Allowed      Not           Allowed
           (start of an auto-    to Host                                 allowed
           matically-flush-
           able L2CAP
           PDU).

 11b       A complete            Host to      Not           Not          Allowed       Not
           L2CAP PDU.            Controller   allowed       Allowed                    Allowed
           Automatically
           flushable.            Controller   Not           Not          Allowed       Not
                                 to Host      allowed       Allowed                    Allowed




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The start of a non-flushable packet of a Higher Layer Message (start of a non-
automatically-flushable L2CAP PDU) with the PBF of 00b shall be transmitted
with an LLID of 10b. All continuing fragment packets of a Higher Layer
Message shall be transmitted with an LLID of 01b.

Broadcast_Flag (in packet from Host to Controller):                                Size: 2 Bits
 Value             Parameter Description

 00b               No broadcast. Only point-to-point (this is the only valid option for AMPs).
 01b               Active Slave Broadcast: packet is sent to all active slaves and may be
                   received by slaves in sniff mode.

 10b               Reserved for future use.
 11b               Reserved for future use.

Broadcast_Flag (in packet from Controller to Host):                                Size: 2 Bits
 Value             Parameter Description

 00b               Point-to-point
 01b               Active Slave Broadcast

 10b               Reserved for future use.
 11b               Reserved for future use.

Note: Slaves in sniff mode may or may not receive a broadcast packet
depending on whether they happen to be listening at sniff slots, when the
packet is sent.

Data_Total_Length:                                                             Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Length of data measured in octets.




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5.4.3 HCI Synchronous Data Packets

HCI synchronous (SCO and eSCO) Data Packets are used to exchange
synchronous data between the Host and Controller. The format of the
synchronous Data Packet is shown in Figure 5.3. The definition for each of the
fields in the data packets is explained below. The HCI SCO Data Packet
header is the first 3 octets of the packet.


     0             4         8        12            16           20            24     28            31
                                        Packet_
              Connection_Handle         Status_   RFU      Data_Total_Length
                                        Flag




                                                    Data




Figure 5.3: HCI Synchronous Data Packet


Connection_Handle:                                                                         Size: 12 Bits
 Value                 Parameter Description

 0xXXX                 Connection_Handle to be used to for transmitting a synchronous data
                       packet or segment.
                       Range: 0x0000-0x0EFF (all other values reserved for future use)

The Packet_Status_Flag bits consist of two bits, which are located from bit 4 to
5 in the second octet of the HCI Synchronous Data packet.

The Host shall set the Packet_Status_Flag bits to 00b.

If the Erroneous_Data_Reporting parameter was set to disabled when the
synchronous connection was created, the Controller shall set the
Packet_Status_Flag bits to 00b and whether or not data is provided for cases
when a valid (e)SCO packet was not received is unspecified.

If the Erroneous_Data_Reporting parameter was set to enabled when the
synchronous connection was created, the Controller shall set the
Packet_Status_Flag according to the following table.




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Packet_Status_Flag (in packets sent by the Controller)                          Size: 2 Bits
 Value             Parameter Description

 00b               Correctly received data. The payload data belongs to received eSCO or
                   SCO packets that the baseband marked as “good data”.
 01b               Possibly invalid data. At least one eSCO packet has been marked by the
                   baseband as “data with possible errors” and all others have been marked
                   as “good data” in the eSCO interval(s) corresponding to the HCI Synchro-
                   nous Data Packet.
 10b               No data received. All data from the baseband received during the (e)SCO
                   interval(s) corresponding to the HCI Synchronous Data Packet have been
                   marked as "lost data" by the baseband. The Payload data octets shall be
                   set to 0.

 11b               Data partially lost. Not all, but at least one (e)SCO packet has been
                   marked as “lost data” by the baseband in the (e)SCO intervals corre-
                   sponding to the HCI Synchronous Data Packet. The payload data octets
                   corresponding to the missing (e)SCO packets shall be set to 0.

Note: Some HCI transports and/or Controller implementations will align the HCI
Synchronous Data Packets with the (e)SCO baseband packets such that data
integrity can be explicitly marked in the Packet_Status_Flag. For HCI
transports or Controller implementations that do not preserve this alignment,
information in the Packet_Status_Flag may be ambiguous.

Data_Total_Length:                                                            Size: 1 Octet
 Value             Parameter Description

 0xXX              Length of synchronous data measured in octets




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5.4.4 HCI Event Packet

The HCI Event Packet is used by the Controller to notify the Host when events
occur. The Host must be able to accept HCI Event Packets with up to 255 octets of
data excluding the HCI Event Packet header. The format of the HCI Event Packet
is shown in Figure 5.4, and the definition of each field is explained below. The HCI
Event Packet header is the first 2 octets of the packet.

An LE Controller uses subevent codes to transmit LE specific events from the
Controller to the Host. Note: The subevent code will always be the first Event
Parameter (See Section 7.7.65).


     0             4          8            12       16          20           24          28           31
                                  Parameter Total
           Event Code                                                Event Parameter 0
                                      Length

                       Event Parameter 1                 Event Parameter 2        Event Parameter 3




                   Event Parameter N-1                            Event Parameter N



Figure 5.4: HCI Event Packet


Event_Code:                                                                                Size: 1 Octet
 Value                  Parameter Description

 0xXX                   Each event is assigned a 1-Octet event code used to uniquely identify dif-
                        ferent types of events.
                        Range: 0x00-0xFF (The event code 0xFF is reserved for the event code
                        used for vendor-specific debug events.)

Parameter_Total_Length:                                                                    Size: 1 Octet
 Value                  Parameter Description

 0xXX                   Length of all of the parameters contained in this packet, measured in
                        octets

Event_Parameter 0 - N:                                            Size: Parameter Total Length
 Value                  Parameter Description

 0xXX                   Each event has a specific number of parameters associated with it. These
                        parameters and the size of each of the parameters are defined for each
                        event. Each parameter is an integer number of octets in size.



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6 HCI CONFIGURATION PARAMETERS

6.1 SCAN ENABLE
The Scan_Enable parameter controls whether or not the BR/EDR Controller
will periodically scan for page attempts and/or inquiry requests from other BR/
EDR Controllers. If Page_Scan is enabled, then the device will enter page scan
mode based on the value of the Page_Scan_Interval and Page_Scan_Window
parameters. If Inquiry_Scan is enabled, then the BR/EDR Controller will enter
Inquiry Scan mode based on the value of the Inquiry_Scan_Interval and
Inquiry_Scan_Window parameters.

 Value                Parameter Description

 0x00                 No Scans enabled.
 0x01                 Inquiry Scan enabled.
                      Page Scan always disabled.

 0x02                 Inquiry Scan disabled.
                      Page Scan enabled.
 0x03                 Inquiry Scan enabled.
                      Page Scan enabled.
 All other values     Reserved for future use


6.2 INQUIRY SCAN INTERVAL
The Inquiry_Scan_Interval configuration parameter defines the amount of time
between consecutive inquiry scans. This is defined as the time interval from
when the BR/EDR Controller started its last inquiry scan until it begins the next
inquiry scan.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0012 to 0x1000; only even values are valid
                      Default: 0x1000
                      Mandatory Range: 0x0012 to 0x1000
                      Time = N * 0.625 ms
                      Time Range: 11.25 to 2560 ms
                      Time Default: 2.56 s




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6.3 INQUIRY SCAN WINDOW
The Inquiry_Scan_Window configuration parameter defines the amount of time
for the duration of the inquiry scan. The Inquiry_Scan_Window can only be less
than or equal to the Inquiry_Scan_Interval.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0011 to 0x1000
                      Default: 0x0012
                      Mandatory Range: 0x0011 to Inquiry Scan Interval
                      Time = N * 0.625 ms
                      Time Range: 10.625 ms to 2560 ms
                      Time Default: 11.25 ms


6.4 INQUIRY SCAN TYPE
The Inquiry_Scan_Type configuration parameter indicates whether inquiry
scanning will be done using non-interlaced scan or interlaced scan. Currently,
one mandatory inquiry scan type and one optional inquiry scan type are
defined. For details, see the Baseband Specification, [Vol 2] Part B, Section
8.4.1.

 Value                Parameter Description

 0x00                 Mandatory: Standard Scan (default)
 0x01                 Optional: Interlaced Scan

 All other values     Reserved for future use


6.5 INQUIRY MODE
The Inquiry_Mode configuration parameter indicates whether inquiry returns
Inquiry Result events in the standard format, with RSSI, or with RSSI and
extended inquiry response information.

 Value                Parameter Description

 0x00                 Standard Inquiry Result event format
 0x01                 Inquiry Result format with RSSI
 0x02                 Inquiry Result with RSSI format or Extended Inquiry Result format

 All other values     Reserved for future use




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6.6 PAGE TIMEOUT
The Page_Timeout configuration parameter defines the maximum time the
local Link Manager will wait for a baseband page response from the remote
device at a locally initiated connection attempt. If this time expires and the
remote BR/EDR Controller has not responded to the page at baseband level,
the connection attempt will be considered to have failed.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0001 to 0xFFFF
                      Default: 0x2000
                      Mandatory Range: 0x0016 to 0xFFFF
                      Time = N * 0.625 ms
                      Time Range: 0.625 ms to 40.9 s
                      Time Default: 5.12 s


6.7 CONNECTION ACCEPT TIMEOUT
The Connection_Accept_Timeout configuration parameter allows the BR/EDR
Controller to automatically deny a connection request after a specified time
period has occurred and the new connection is not accepted. The parameter
defines the time duration from when the BR/EDR Controller sends a
Connection Request event until the BR/EDR Controller will automatically reject
an incoming connection.

The Connection_Accept_Timeout configuration parameter allows each AMP
Controller to limit the duration of the Create_Physical_Link command or
Accept_Physical_Link command it is locally serving. The parameter defines
the maximum time duration for all physical connection setup activities that
occur between the Create_Physical_Link command or Accept_Physical_Link
command and the corresponding Physical Link Compete event (including all
authentication activity) before the AMP Controller will automatically reject the
physical link setup.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0001 to 0xB540
                      Default: 0x1F40
                      Mandatory Range: 0x00A0 to 0xB540
                      Time = N * 0.625 ms
                      Time Range: 0.625 ms to 29 s
                      Time Default:
                      BR/EDR 5 s
                      AMP type dependent


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6.8 PAGE SCAN INTERVAL
The Page_Scan_Interval configuration parameter defines the amount of time
between consecutive page scans. This time interval is defined from when the
Controller started its last page scan until it begins the next page scan.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0012 to 0x1000; only even values are valid
                      Default: 0x0800
                      Mandatory Range: 0x0012 to 0x1000
                      Time = N * 0.625 ms
                      Time Range: 11.25 ms to 2560 ms
                      Time Default: 1.28 s


6.9 PAGE SCAN WINDOW
The Page_Scan_Window configuration parameter defines the amount of time
for the duration of the page scan. The Page_Scan_Window can only be less
than or equal to the Page_Scan_Interval.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0011 to 0x1000
                      Default: 0x0012
                      Mandatory Range: 0x0011 to Page Scan Interval
                      Time = N * 0.625 ms
                      Time Range: 10.625 ms to Page Scan Interval
                      Time Default: 11.25 ms


6.10 THIS SECTION NO LONGER USED

6.11 PAGE SCAN TYPE
The Page_Scan_Type parameter indicates whether page scanning will be
done using non-interlaced scan or interlaced scan. For details, see the
Baseband Specification, [Vol 2] Part B, Section 8.3.1.

 Value                Parameter Description

 0x00                 Mandatory: Standard Scan (default)

 0x01                 Optional: Interlaced Scan
 All other values     Reserved for future use




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6.12 VOICE SETTING
The Voice_Setting parameter controls all the various settings for voice
connections. The input settings apply to all voice connections, and cannot be
set for individual voice connections. The Voice_Setting parameter controls the
configuration for voice connections: Input Coding, Air coding format, input data
format, Input sample size, and linear PCM parameter. The air coding format
bits in the Voice_Setting command parameter specify which air coding format
the local device requests. The air coding format bits do not specify which air
coding format(s) the local device accepts when a remote device requests an air
coding format. This is determined by the hardware capabilities of the local BR/
EDR Controller.

 Value                         Parameter Description
 00XXXXXXXX                    Input Coding: Linear
 01XXXXXXXX                    Input Coding: µ-law Input Coding
 10XXXXXXXX                    Input Coding: A-law Input Coding
 11XXXXXXXX                    Reserved for future use
 XX00XXXXXX                    Input Data Format: 1’s complement
 XX01XXXXXX                    Input Data Format: 2’s complement
 XX10XXXXXX                    Input Data Format: Sign-Magnitude
 XX11XXXXXX                    Input Data Format: Unsigned
 XXXX0XXXXX                    Input Sample Size: 8-bit (only for linear PCM)
 XXXX1XXXXX                    Input Sample Size: 16-bit (only for linear PCM)
 XXXXXnnnXX                    Linear_PCM_Bit_Pos: # bit positions that MSB of sample is away
                               from starting at MSB (only for Linear PCM).
 XXXXXXXX00                    Air Coding Format: CVSD
 XXXXXXXX01                    Air Coding Format: µ-law
 XXXXXXXX10                    Air Coding Format: A-law
 XXXXXXXX11                    Air Coding Format: Transparent Data


6.13 PIN TYPE
The PIN Type configuration parameter determines whether the Link Manager
assumes that the Host supports variable PIN codes or a fixed PIN code. The
Host Controller uses the PIN-type information during pairing.

 Value                Parameter Description

 0x00                 Variable PIN.
 0x01                 Fixed PIN.




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6.14 LINK KEY
The Controller can store a limited number of link keys for other BR/EDR
Controllers. Link keys are shared between two BR/EDR Controllers, and are
used for all security transactions between the two BR/EDR Controllers. A Host
device may have additional storage capabilities, which can be used to save
additional link keys to be reloaded to the BR/EDR Controller when needed. A
Link Key is associated with a BD_ADDR.

 Value                   Parameter Description

 0xXXXXXXXXXX            Link Key for an associated BD_ADDR.
 XXXXXXXXXXX
 XXXXXXXXXXX


6.15 FAILED CONTACT COUNTER
The Failed_Contact_Counter records the number of consecutive incidents in
which either the local or remote device did not respond after the flush timeout
had expired, and the L2CAP PDU that was currently being transmitted was
automatically ‘flushed’. When this occurs, the Failed_Contact_Counter is
incremented by 1.

The Failed Contact Counter is maintained for each Connection_Handle and
Logical_Link_Handle.

The Failed_Contact_Counter for a connection is reset to zero on the following
conditions:
1. When a new connection is established
2. When the Failed_Contact_Counter is > zero and an L2CAP PDU is
   acknowledged for that connection
3. When the Reset_Failed_Contact_Counter command has been issued


 Value               Parameter Description

 0xXXXX              Number of consecutive failed contacts for a connection corresponding to
                     the Connection or Logical Link Handle.


6.16 AUTHENTICATION ENABLE
The Authentication_Enable parameter controls if the local device requires to
authenticate the remote device at connection setup (between the
Create_Connection command or acceptance of an incoming ACL connection
and the corresponding Connection Complete event). At connection setup, only
the device(s) with the Authentication_Enable parameter enabled will try to
authenticate the other device.



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Note: Changing this parameter does not affect existing connections.

 Value                Parameter Description

 0x00                 Authentication not required.
 0x01                 Authentication required for all connections.
 All other values     Reserved for future use


6.17 HOLD MODE ACTIVITY
The Hold_Mode_Activity value is used to determine what activities should be
suspended when the BR/EDR Controller is in hold mode. After the hold period
has expired, the device will return to the previous mode of operation. Multiple
hold mode activities may be specified for the Hold_Mode_Activity parameter by
performing a bitwise OR operation of the different activity types. If no activities
are suspended, then all of the current Periodic Inquiry, Inquiry Scan, and Page
Scan settings remain valid during the Hold Mode. If the Hold_Mode_Activity
parameter is set to Suspend Page Scan, Suspend Inquiry Scan, and Suspend
Periodic Inquiries, then the device can enter a low-power state during the Hold
Mode period, and all activities are suspended. Suspending multiple activities
can be specified for the Hold_Mode_Activity parameter by performing a bitwise
OR operation of the different activity types. The Hold Mode Activity is only valid
if all connections are in Hold Mode.

 Value                Parameter Description

 0x00                 Maintain current Power State.
 0x01                 Suspend Page Scan.

 0x02                 Suspend Inquiry Scan.
 0x04                 Suspend Periodic Inquiries.
 All other values     Reserved for future use.




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6.18 LINK POLICY SETTINGS
The Link_Policy_Settings parameter determines the behavior of the local Link
Manager when it receives a request from a remote Link Manager or it
determines itself to change the master-slave role or to enter hold or sniff mode.
The local Link Manager will automatically accept or reject such a request from
the remote device, and may even autonomously request itself, depending on
the value of the Link_Policy_Settings parameter for the corresponding
Connection_Handle. When the value of the Link_Policy_Settings parameter is
changed for a certain Connection_Handle, the new value will only be used for
requests from a remote device or from the local Link Manager itself made after
this command has been completed. By enabling each mode individually, the
Host can choose any combination needed to support various modes of
operation. Multiple LM policies may be specified for the Link_Policy_Settings
parameter by performing a bitwise OR operation of the different activity types.

Note: The local BR/EDR Controller may be forced into hold mode (regardless
of whether the local device is master or slave) by the remote device regardless
of the value of the Link_Policy_Settings parameter. The forcing of hold mode
can however only be done once the connection has already been placed into
hold mode through an LMP request (the Link_Policy_Settings determine if
requests from a remote device should be accepted or rejected). The forcing of
hold mode can after that be done as long as the connection lasts regardless of
the setting for hold mode in the Link_Policy_Settings parameter.

Note that the previous description implies that if the implementation in the
remote device is a “polite” implementation that does not force another device
into hold mode via LMP PDUs, then the Link_Policy_Settings will never be
overruled.

 Value               Parameter Description

 0x0000              Disable All LM Modes Default
 0x0001              Enable Role switch.
 0x0002              Enable Hold Mode.

 0x0004              Enable Sniff Mode.
 All other bits      Reserved for future use.




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6.19 FLUSH TIMEOUT
The Flush_Timeout configuration parameter is used for ACL connections on a
BR/EDR Controller only. The Flush Timeout is defined in the Baseband
specification [Vol 2] Part B, Section 7.6.3. This parameter allows automatically-
flushable ACL packets to be automatically flushed without the Host device
issuing a Flush command. This provides support for isochronous data, such as
audio. Non-automatically-flushable ACL packets shall not be affected by this
parameter (see Section 5.4.2) providing support for both asynchronous and
isochronous data on the same ACL connection. When the L2CAP packet that
is currently being transmitted is automatically ‘flushed’, the Failed Contact
Counter is incremented by one.

Note: Since for AMP Controllers a Flush Timeout value is maintained as part of
the Extended Flow Specification for each logical link, the separate Flush
Timeout configuration parameter is not used.

 Value               Parameter Description

 0                   Timeout = ∞; No Automatic Flush
 N = 0xXXXX          Size: 2 Octets
                     Range: 0x0001 to 0x07FF
                     Mandatory Range: 0x0002 to 0x07FF
                     Time = N * 0.625 ms
                     Time Range: 0.625 ms to 1279.375 ms


6.20 NUM BROADCAST RETRANSMISSIONS
Broadcast packets are not acknowledged and are unreliable. The Number of
Broadcast Retransmissions parameter, N, is used to increase the reliability of a
broadcast message by retransmitting the broadcast message multiple times.
This sets the value NBC in the baseband to one greater than the Num
Broadcast Retransmissions value. (See [Vol 2] Part B, Section 7.6.5) This
parameter should be adjusted as the link quality measurement changes.

 Value               Parameter Description

 N = 0xXX            NBC = N + 1
                     Range 0x00-0xFE




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6.21 LINK SUPERVISION TIMEOUT
The Link_Supervision_Timeout parameter is used by the Controller to monitor
link loss. If, for any reason, no packets are received from that Handle (a
Connection_Handle for the BR/EDR Controller or the Physical_Link_Handle for
an AMP Controller) for a duration longer than the Link_Supervision_Timeout,
the connection shall be disconnected. For the BR/EDR Controller, the same
timeout value is used for both synchronous and ACL connections for the device
specified by the Connection_Handle. For an AMP Controller, the timeout value
is maintained for each physical link. Note: Some AMP Controllers may also
have an early notification event (See Physical Link Loss Early Warning Event).

Note: Setting the Link_Supervision_Timeout to No Link_Supervision_Timeout
(0x0000) on a BR/EDR Controller will disable the Link_Supervision_Timeout
check for the specified Connection_Handle.

 Value               Parameter Description

 0x0000              No Link_Supervision_Timeout.
                     Shall not be used with AMP Controllers.
 N = 0xXXXX          Size: 2 Octets
                     Range: 0x0001 to 0xFFFF
                     Default: 0x7D00
                     Mandatory Range: 0x0190 to 0xFFFF
                     Time = N * 0.625 ms
                     Time Range: 0.625 ms to 40.9 s
                     Time Default:
                     BR/EDR 20 s
                     AMP 10 s


6.22 SYNCHRONOUS FLOW CONTROL ENABLE
The Synchronous Flow Control Enable configuration parameter allows the
Host to decide if the BR/EDR Controller will send Number Of Completed
Packets events for synchronous Connection_Handles. This setting allows the
Host to enable and disable synchronous flow control.

 Value                Parameter Description

 0x00                 Synchronous Flow Control is disabled. No Number of Completed Packets
                      events will be sent from the BR/EDR Controller for synchronous Connec-
                      tion_Handles.
 0x01                 Synchronous Flow Control is enabled. Number of Completed Packets
                      events will be sent from the BR/EDR Controller for synchronous Connec-
                      tion_Handles.




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6.23 LOCAL NAME
The user-friendly Local Name provides the user the ability to distinguish one
BR/EDR Controller from another. The Local Name configuration parameter is a
UTF-8 encoded string with up to 248 octets in length. The Local Name
configuration parameter will be null terminated (0x00) if the UTF-8 encoded
string is less than 248 octets.

Note: The Local Name configuration parameter is a string parameter.
Endianess does therefore not apply to the Local Name configuration
parameter. The first octet of the name is received first.

 Value     Parameter Description

           A UTF-8 encoded User Friendly Descriptive Name for the device.
           If the name contained in the parameter is shorter than 248 octets, the end of the
           name is indicated by a NULL octet (0x00), and the following octets (to fill up 248
           octets, which is the length of the parameter) do not have valid values.


6.24 EXTENDED INQUIRY RESPONSE
The Extended Inquiry Response provides information about the local device in
response to inquiry from remote devices. The configuration parameter has two
parts, a significant part followed by a non-significant part. The non-significant
part contains only zero octets. The length of the extended inquiry response
configuration parameter is 240 octets. The data format of the significant part is
defined in [Vol 3] Part C, Section 8.

 Value     Parameter Description

           Information about the local device that will be sent in an extended inquiry response
           packet to remote devices during inquiry response.


6.25 ERRONEOUS DATA REPORTING
The Erroneous_Data_Reporting configuration parameter shall be used for
SCO and eSCO connections only. This parameter determines if the BR/EDR
Controller is required to provide data to the Host for every (e)SCO interval, with
the Packet_Status_Flag in HCI Synchronous Data Packets set according to
Section 5.4.3.

 Value                                 Parameter Description

 0x00                                  Erroneous data reporting disabled

 0x01                                  Erroneous data reporting enabled.
 All other values                      Reserved for future use




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6.26 CLASS OF DEVICE
The Class_of_Device parameter is used to indicate the capabilities of the local
device to other devices.

 Value                Parameter Description

 0xXXXXXX             Class of Device for the device.


6.27 SUPPORTED COMMANDS
The Supported Commands configuration parameter lists which HCI commands
the local Controller supports. It is implied that if a command is listed as
supported, the feature underlying that command is also supported.

The Supported Commands is a 64 octet bit field. If a bit is set to 1, then this
command is supported.



 Octet          Bit       Command Supported

 0              0         Inquiry
                1         Inquiry Cancel

                2         Periodic Inquiry Mode
                3         Exit Periodic Inquiry Mode
                4         Create Connection

                5         Disconnect
                6         Add SCO Connection (deprecated)
                7         Create Connection Cancel

 1              0         Accept Connection Request
                1         Reject Connection Request
                2         Link Key Request Reply

                3         Link Key Request Negative Reply
                4         PIN Code Request Reply
                5         PIN Code Request Negative Reply

                6         Change Connection Packet Type
                7         Authentication Requested




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 Octet          Bit       Command Supported

 2              0         Set Connection Encryption
                1         Change Connection Link Key
                2         Master Link Key

                3         Remote Name Request
                4         Remote Name Request Cancel
                5         Read Remote Supported Features

                6         Read Remote Extended Features
                7         Read Remote Version Information
 3              0         Read Clock Offset

                1         Read LMP Handle
                2         Reserved for Future Use

                3         Reserved for Future Use
                4         Reserved for Future Use
                5         Reserved for Future Use

                6         Reserved for Future Use
                7         Reserved for Future Use
 4              0         Reserved for Future Use

                1         Hold Mode
                2         Sniff Mode
                3         Exit Sniff Mode

                4         Reserved
                5         Reserved
                6         QoS Setup

                7         Role Discovery
 5              0         Switch Role
                1         Read Link Policy Settings

                2         Write Link Policy Settings
                3         Read Default Link Policy Settings
                4         Write Default Link Policy Settings

                5         Flow Specification
                6         Set Event Mask
                7         Reset



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 Octet          Bit       Command Supported

 6              0         Set Event Filter
                1         Flush
                2         Read PIN Type

                3         Write PIN Type
                4         Create New Unit Key
                5         Read Stored Link Key

                6         Write Stored Link Key
                7         Delete Stored Link Key
 7              0         Write Local Name

                1         Read Local Name
                2         Read Connection Accept Timeout

                3         Write Connection Accept Timeout
                4         Read Page Timeout
                5         Write Page Timeout

                6         Read Scan Enable
                7         Write Scan Enable
 8              0         Read Page Scan Activity

                1         Write Page Scan Activity
                2         Read Inquiry Scan Activity
                3         Write Inquiry Scan Activity

                4         Read Authentication Enable
                5         Write Authentication Enable
                6         Read Encryption Mode (deprecated)

                7         Write Encryption Mode (deprecated)
 9              0         Read Class Of Device
                1         Write Class Of Device

                2         Read Voice Setting
                3         Write Voice Setting
                4         Read Automatic Flush Timeout

                5         Write Automatic Flush Timeout
                6         Read Num Broadcast Retransmissions
                7         Write Num Broadcast Retransmissions



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 Octet          Bit       Command Supported

 10             0         Read Hold Mode Activity
                1         Write Hold Mode Activity
                2         Read Transmit Power Level

                3         Read Synchronous Flow Control Enable
                4         Write Synchronous Flow Control Enable
                5         Set Controller To Host Flow Control

                6         Host Buffer Size
                7         Host Number Of Completed Packets
 11             0         Read Link Supervision Timeout

                1         Write Link Supervision Timeout
                2         Read Number of Supported IAC

                3         Read Current IAC LAP
                4         Write Current IAC LAP
                5         Read Page Scan Mode Period (deprecated)

                6         Write Page Scan Mode Period (deprecated)
                7         Read Page Scan Mode (deprecated)
 12             0         Write Page Scan Mode (deprecated)

                1         Set AFH Host Channel Classification
                2         Reserved for Future Use
                3         Reserved for Future Use

                4         Read Inquiry Scan Type
                5         Write Inquiry Scan Type
                6         Read Inquiry Mode

                7         Write Inquiry Mode
 13             0         Read Page Scan Type
                1         Write Page Scan Type

                2         Read AFH Channel Assessment Mode
                3         Write AFH Channel Assessment Mode
                4         Reserved for Future Use

                5         Reserved for Future Use
                6         Reserved for Future Use
                7         Reserved for Future Use



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 Octet          Bit       Command Supported

 14             0         Reserved for Future Use
                1         Reserved for Future Use
                2         Reserved for Future Use

                3         Read Local Version Information
                4         Reserved for Future Use
                5         Read Local Supported Features

                6         Read Local Extended Features
                7         Read Buffer Size
 15             0         Read Country Code [Deprecated]

                1         Read BD ADDR
                2         Read Failed Contact Counter

                3         Reset Failed Contact Counter
                4         Read Link Quality
                5         Read RSSI

                6         Read AFH Channel Map
                7         Read Clock
 16             0         Read Loopback Mode

                1         Write Loopback Mode
                2         Enable Device Under Test Mode
                3         Setup Synchronous Connection Request

                4         Accept Synchronous Connection Request
                5         Reject Synchronous Connection Request
                6         Reserved for Future Use

                7         Reserved for Future Use
 17             0         Read Extended Inquiry Response
                1         Write Extended Inquiry Response

                2         Refresh Encryption Key
                3         Reserved for Future Use
                4         Sniff Subrating

                5         Read Simple Pairing Mode
                6         Write Simple Pairing Mode
                7         Read Local OOB Data



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 Octet          Bit       Command Supported

 18             0         Read Inquiry Response Transmit Power Level
                1         Write Inquiry Transmit Power Level
                2         Read Default Erroneous Data Reporting

                3         Write Default Erroneous Data Reporting
                4         Reserved for Future Use
                5         Reserved for Future Use

                6         Reserved for Future Use
                7         IO Capability Request Reply
 19             0         User Confirmation Request Reply

                1         User Confirmation Request Negative Reply
                2         User Passkey Request Reply

                3         User Passkey Request Negative Reply
                4         Remote OOB Data Request Reply
                5         Write Simple Pairing Debug Mode

                6         Enhanced Flush
                7         Remote OOB Data Request Negative Reply
 20             0         Reserved for Future Use

                1         Reserved for Future Use
                2         Send Keypress Notification
                3         IO Capability Request Negative Reply

                4         Read Encryption Key Size
                5         Reserved for Future Use
                6         Reserved for Future Use

                7         Reserved for Future Use
 21             0         Create Physical Link
                1         Accept Physical Link

                2         Disconnect Physical Link
                3         Create Logical Link
                4         Accept Logical Link

                5         Disconnect Logical Link
                6         Logical Link Cancel
                7         Flow Spec Modify



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 Octet          Bit       Command Supported

 22             0         Read Logical Link Accept Timeout
                1         Write Logical Link Accept Timeout
                2         Set Event Mask Page 2

                3         Read Location Data
                4         Write Location Data
                5         Read Local AMP Info

                6         Read Local AMP_ASSOC
                7         Write Remote AMP_ASSOC
 23             0         Read Flow Control Mode

                1         Write Flow Control Mode
                2         Read Data Block Size

                3         Reserved for Future Use
                4         Reserved for Future Use
                5         Enable AMP Receiver Reports

                6         AMP Test End
                7         AMP Test
 24             0         Read Enhanced Transmit Power Level

                1         Reserved for Future Use
                2         Read Best Effort Flush Timeout
                3         Write Best Effort Flush Timeout

                4         Short Range Mode
                5         Read LE Host Support
                6         Write LE Host Support

                7         Reserved for Future Use
 25             0         LE Set Event Mask
                1         LE Read Buffer Size

                2         LE Read Local Supported Features
                3         Reserved for Future Use
                4         LE Set Random Address

                5         LE Set Advertising Parameters
                6         LE Read Advertising Channel TX Power
                7         LE Set Advertising Data



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 Octet          Bit       Command Supported

 26             0         LE Set Scan Response Data
                1         LE Set Advertising Enable
                2         LE Set Scan Parameters

                3         LE Set Scan Enable
                4         LE Create Connection
                5         LE Create Connection Cancel

                6         LE Read White List Size
                7         LE Clear White List
 27             0         LE Add Device To White List

                1         LE Remove Device From White List
                2         LE Connection Update

                3         LE Set Host Channel Classification
                4         LE Read Channel Map
                5         LE Read Remote Features

                6         LE Encrypt
                7         LE Rand
 28             0         LE Start Encryption

                1         LE Long Term Key Request Reply
                2         LE Long Term Key Request Negative Reply
                3         LE Read Supported States

                4         LE Receiver Test
                5         LE Transmitter Test
                6         LE Test End

                7         Reserved for Future Use
 29             0         Reserved for Future Use
                1         Reserved for Future Use

                2         Reserved for Future Use
                3         Enhanced Setup Synchronous Connection
                4         Enhanced Accept Synchronous Connection

                5         Read Local Supported Codecs
                6         Set MWS Channel Parameters
                7         Set External Frame Configuration



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 Octet          Bit       Command Supported

 30             0         Set MWS Signaling
                1         Set MWS Transport Layer
                2         Set MWS Scan Frequency Table

                3         Get MWS Transport Layer Configuration
                4         Set MWS PATTERN Configuration
                5         Set Triggered Clock Capture

                6         Truncated Page
                7         Truncated Page Cancel
 31             0         Set Connectionless Slave Broadcast

                1         Set Connectionless Slave Broadcast Receive
                2         Start Synchronization Train

                3         Receive Synchronization Train
                4         Set Reserved LT_ADDR
                5         Delete Reserved LT_ADDR

                6         Set Connectionless Slave Broadcast Data
                7         Read Synchronization Train Parameters
 32             0         Write Synchronization Train Parameters

                1         Remote OOB Extended Data Request Reply
                2         Read Secure Connections Host Support
                3         Write Secure Connections Host Support

                4         Read Authenticated Payload Timeout
                5         Write Authenticated Payload Timeout
                6         Read Local OOB Extended Data

                7         Write Secure Connections Test Mode
 33             0         Read Extended Page Timeout
                1         Write Extended Page Timeout

                2         Read Extended Inquiry Length
                3         Write Extended Inquiry Length
                4         LE Remote Connection Parameter Request Reply

                5         LE Remote Connection Parameter Request Negative Reply
                6         LE Set Data Length
                7         LE Read Suggested Default Data Length



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 Octet          Bit       Command Supported

 34             0         LE Write Suggested Default Data Length
                1         LE Read Local P-256 Public Key
                2         LE Generate DH Key

                3         LE Add Device To Resolving List
                4         LE Remove Device From Resolving List
                5         LE Clear Resolving List

                6         LE Read Resolving List Size
                7         LE Read Peer Resolvable Address
 35             0         LE Read Local Resolvable Address

                1         LE Set Address Resolution Enable
                2         LE Set Resolvable Private Address Timeout

                3         LE Read Maximum Data Length
                4         LE Read PHY Command
                5         LE Set Default PHY Command

                6         LE Set PHY Command
                7         LE Enhanced Receiver Test Command
 36             0         LE Enhanced Transmitter Test Command

                1         LE Set Advertising Set Random Address Command
                2         LE Set Extended Advertising Parameters Command
                3         LE Set Extended Advertising Data Command

                4         LE Set Extended Scan Response Data Command
                5         LE Set Extended Advertising Enable Command
                6         LE Read Maximum Advertising Data Length Command

                7         LE Read Number of Supported Advertising Sets Command
 37             0         LE Remove Advertising Set Command
                1         LE Clear Advertising Sets Command

                2         LE Set Periodic Advertising Parameters Command
                3         LE Set Periodic Advertising Data Command
                4         LE Set Periodic Advertising Enable Command

                5         LE Set Extended Scan Parameters Command
                6         LE Set Extended Scan Enable Command
                7         LE Extended Create Connection Command



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 Octet          Bit       Command Supported

 38             0         LE Periodic Advertising Create Sync Command
                1         LE Periodic Advertising Create Sync Cancel Command
                2         LE Periodic Advertising Terminate Sync Command

                3         LE Add Device To Periodic Advertiser List Command
                4         LE Remove Device From Periodic Advertiser List Command
                5         LE Clear Periodic Advertiser List Command

                6         LE Read Periodic Advertiser List Size Command
                7         LE Read Transmit Power Command
 39             0         LE Read RF Path Compensation Command

                1         LE Write RF Path Compensation Command
                2         LE Set Privacy Mode

                3         Reserved for Future Use
                4         Reserved for Future Use
                5         Reserved for Future Use

                6         Reserved for Future Use
                7         Reserved for Future Use


6.28 LOGICAL LINK ACCEPT TIMEOUT
The Logical_Link_Accept_Timeout configuration parameter allows the AMP
Controller to automatically deny a logical link request after a specified time period
has elapsed and the new logical link has not completed. The parameter defines
the timeout duration, which includes all logical link setup activities that occur
between the Create_Logical_Link or Accept_Logical_Link commands and the
Logical Link Compete event. If these activities are not completed within the
specified time, the AMP Controller will automatically reject the logical link set up.

 Value                Parameter Description

 N = 0xXXXX           Size: 2 Octets
                      Range: 0x0001 to 0xB540
                      Default: 0x1F40
                      Mandatory Range: 0x00A0 to 0xB540
                      Time = N * 0.625 ms
                      Time Range: 0.625 ms to 29 s
                      Time Default: AMP Type dependent




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6.29 LOCATION DOMAIN AWARE
The Location_Domain_Aware parameter indicates if the transmitter has
information about the current regulatory domain.

Location_Domain_Aware:                                                             Size 1 Octet
 Value                Parameter Description

 0x00                 Regulatory domain unknown
 0x01                 Regulatory domain known

 All other values     Reserved for future use


6.30 LOCATION DOMAIN
The Location_Domain parameter specifies the country or other location code if
known.

Location_Domain:                                                                  Size 2 Octets
 Value                Parameter Description

 0xXXXX               Shall be set to the character string "XX" (0x5858) for a non-country entity
                      or when Location_Domain_Aware is set to regulatory domain unknown.
                      When the regulatory domain is known, it shall be set to the relevant ISO
                      3166-11 alpha-2 two character country code, with the first letter in the
                      least significant octet (for example, "BT" is encoded as 0x5442).
 1. ISO 3166-1-alpha-2 code elements (English),
    http://www.iso.org/iso/country_names_and_code_elements




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6.31 LOCATION DOMAIN OPTIONS
The Location_Domain_Options parameter may specify additional information
specific to that country, or that the location is not a single country.

Location_Domain_Options:                                                            Size: 1 Octet
 Values               Parameter Descriptions

                      Single octet suffix:
 0x20                 "space" indicates that the code applies to the entire country
 0x4F                 "O" indicates for use outdoors only
 0x49                 "I" indicates for use indoors only
 0x58                 "X" indicates a non-country entity

 All other values     Reserved for future use

The format of the Location_Domain_Options parameter is derived from IEEE
802.11-2007 Annex D "ASN.1 encoding of the MAC and PHY MIB."

6.32 LOCATION OPTIONS
The Location_Options parameter indicates if the transmitter has information
about any options that may affect operation in different locations.

Location_Options:                                                                  Size: 1 Octet
 Bit                  Value                  Parameter Description

 0                    0                      Not mains-powered
 0                    1                      Mains powered

 1-7                                         Reserved for future use


6.33 FLOW CONTROL MODE
The Flow_Control_Mode configuration parameter allows the Host to select the
HCI Data flow control mode used by the Controller for ACL Data traffic.

Flow_Control_Mode:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0x00                     Packet based data flow control mode (default for a Primary Controller)
 0x01                     Data block based data flow control mode (default for an AMP Control-
                          ler)
 All other values         Reserved for future use




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6.34 LE SUPPORTED HOST
The LE_Supported_Host parameter allows the Host to read and set the Link
Manager Protocol feature bit LE Supported (Host). See [Vol 2] Part C, Section
3.2.


 Value                         Parameter Description

 0x00                          LE Supported (Host) disabled (default)
 0x01                          LE Supported (Host) enabled

 All other values              Reserved for future use


6.35 SIMULTANEOUS LE HOST
The Simultaneous_LE_Host parameter allows the Host to read and set the Link
Manager Protocol feature bit Simultaneous LE and BR/EDR to Same Device
Capable (Host). See [Vol 2] Part C, Section 3.2.


 Value                         Parameter Description

 0x00                          Simultaneous LE and BR/EDR to Same Device Capable (Host)
                               disabled (default). This value shall be ignored.
 All other values              Reserved for future use


6.36 SYNCHRONIZATION TRAIN INTERVAL
The Sync_Train_Interval configuration parameter defines the time between
Synchronization Train transmit events on a single transmit RF channel.

Sync_Train_Interval:                                                          Size: 2 Octets
 Value                         Parameter Description

 N = 0xXXXX                    Range: 0x0020 to 0xFFFE; only even values are valid
                               Default: 0x0080
                               Mandatory Range: 0x0020 to 0x1000
                               Time = N * 0.625 ms
                               Time Range: 20 ms to 40.9 s
                               Time Default: 80 ms




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6.37 SYNCHRONIZATION TRAIN TIMEOUT
The synchronization_trainTO configuration parameter is used by the Controller
to terminate the Synchronization Train after it has been started via the
HCI_Start_Synchronization_Train command.

synchronization_trainTO:                                                      Size: 4 Octets
 Value                         Parameter Description

 N = 0xXXXXXXXX                Range: 0x00000002 to 0x07FFFFFE; only even values are valid
                               Default: 0x0002EE00
                               Mandatory Range: 0x00000002 to 0x07FFFFFE
                               Time = N * 0.625 ms
                               Time Range: 1.25 ms to 23.3 hours
                               Time Default: 120 s


6.38 SERVICE DATA
The Service_Data configuration parameter defines the value of the service
data field in the Synchronization Train.

Service_Data:                                                                   Size: 1 Octet
 Value                         Parameter Description

 N = 0xXX                      Range: 0x00 to 0xFF
                               Default: 0x00


6.39 SECURE CONNECTIONS HOST SUPPORT
The Secure_Connections_Host_Support configuration parameter allows the
Host to indicate whether it supports Secure Connections or not. When Secure
Connections Host Support is set to 'enabled' the Controller shall use the
enhanced reporting mechanisms for the Encryption_Enabled parameter in the
Encryption Change event (see Section 7.7.8) and the Key_Type parameter in
the Link Key Notification event (see Section 7.7.24).

Secure_Connections_Host_Support:                                               Size: 1 Octet
 Value                  Parameter Description

 0x00                   Secure_Conections_Host_Support is ‘disabled’. Host does not support
                        Secure Connections (default)
 0x01                   Secure_Connections_Host_Support is ‘enabled’. Host supports Secure
                        Connections

 All other values       Reserved for future use




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6.40 AUTHENTICATED PAYLOAD TIMEOUT
The Authenticated_Payload_Timeout configuration parameter allows the Host
to configure the maximum interval between packets containing a MIC received
from the remote device when AES-CCM encryption is enabled.

Authenticated_Payload_Timeout:                                              Size: 2 Octets
 Value                  Parameter Description

 N = 0xXXXX             Maximum amount of time specified between packets authenticated
                        by a MIC.
                        Range: 0x0001 to 0xFFFF
                        Time = N * 10 ms
                        Time Range: 10 ms to 655,350 ms


6.41 EXTENDED PAGE TIMEOUT
The Extended_Page_Timeout configuration parameter together with
Page_Timeout defines the maximum time the local Link Manager will wait for a
baseband page response from the remote device at a locally initiated connection
attempt. If this time expires and the remote device has not responded to the
page at baseband level, the connection attempt will be considered to have failed.

Extended_Page_Timeout:                                                      Size: 2 Octets
 Value                  Parameter Description

 N = 0xXXXX             Range: 0x0000 to 0xFFFF
                        Default: 0x0000
                        Mandatory Range: 0x0000 to 0xFFFF
                        Time = N * 0.625 ms
                        Time Range: 0 to 40.9 s
                        Time Default: 0 s


6.42 EXTENDED INQUIRY LENGTH
The Extended_Inquiry_Length configuration parameter together with
Inquiry_Length defines the maximum time the local Link Manager will wait for a
baseband inquiry response messages from the remote device at a locally
initiated inquiry or periodic inquiry.

Extended Inquiry Length:                                                    Size: 2 Octets
 Value                  Parameter Description

 N = 0xXXXX             Range: 0x0000 to 0xFFFF Default: 0x0000
                        Mandatory Range: 0x0000 to 0xFFFF Time = N * 0.625 ms
                        Time Range: 0 to 40.9 s
                        Time Default: 0 s


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7 HCI COMMANDS AND EVENTS

7.1 LINK CONTROL COMMANDS
The Link Control commands allow a Controller to control connections to other
BR/EDR Controllers. Some Link Control commands are used only with a BR/
EDR Controller whereas other Link Control commands are used only with an
AMP Controller.

In the BR/EDR Controller, when the Link Control commands are used, the Link
Manager (LM) controls how the Bluetooth piconets and scatternets are
established and maintained. These commands instruct the LM to create and
modify link layer connections with Bluetooth remote devices, perform Inquiries
of other BR/EDR Controllers in range, and other LMP commands.

In the AMP Controller, Link Control commands are used to create, modify and
disconnect physical and logical links.

In the LE Controller, Link Control commands are used to disconnect physical
links.

For the Link Control commands, the OGF is defined as 0x01.

7.1.1 Inquiry Command


 Command                     OCF         Command Parameters   Return Parameters

 HCI_Inquiry                 0x0001      LAP,
                                         Inquiry_Length,
                                         Num_Responses

Description:

This command causes the BR/EDR Controller to enter Inquiry Mode. Inquiry
Mode is used to discover other nearby BR/EDR Controllers. The LAP input
parameter contains the LAP from which the inquiry access code shall be
derived when the inquiry procedure is made. The Inquiry_Length parameter
specifies the total duration of the Inquiry Mode and, when this time expires,
Inquiry will be halted. When Extended_Inquiry_Length is greater than zero, the
duration of the Inquiry Mode may be changed to (Inquiry_Length +
Extended_Inquiry_Length). The Num_Responses parameter specifies the
number of responses that can be received before the Inquiry is halted. Inquiry
Result, Inquiry Result with RSSI, or Extended Inquiry Result events will be sent
to report the details of nearby BR/EDR Controllers that have responded to this
inquiry. The Inquiry Complete event is sent to report that Inquiry Mode has
ended.



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A device which responds during an inquiry or inquiry period should always be
reported to the Host in an Inquiry Result, Inquiry Result with RSSI, or Extended
Inquiry Result event if the device has not been reported earlier during the
current inquiry or inquiry period and the device has not been filtered out using
the command Set_Event_Filter. If the device has been reported earlier during
the current inquiry or inquiry period, it may or may not be reported depending
on the implementation (depending on if earlier results have been saved in the
BR/EDR Controller and in that case how many responses that have been
saved). It is recommended that the BR/EDR Controller tries to report a
particular device only once during an inquiry or inquiry period.

Command Parameters:

LAP:                                                                         Size: 3 Octets
 Value               Parameter Description

 0x9E8B00–           This is the LAP from which the inquiry access code should be derived
 0x9E8B3F            when the inquiry procedure is made; see Bluetooth Assigned Numbers.


Inquiry_Length:                                                                Size: 1 Octet
 Value             Parameter Description

 N = 0xXX          Maximum amount of time specified before the Inquiry is halted.
                   Size: 1 octet
                   Range: 0x01 – 0x30
                   Time = N * 1.28 s
                   Range: 1.28 – 61.44 s

Num_Responses:                                                                 Size: 1 Octet
 Value             Parameter Description

 0x00              Unlimited number of responses.

 0xXX              Maximum number of responses from the Inquiry before the Inquiry is
                   halted.
                   Range: 0x01 – 0xFF

Return Parameters:

None.

Event(s) generated (unless masked away):

A Command Status event shall be sent from the BR/EDR Controller to the Host
when the BR/EDR Controller has started the Inquiry process. Unless filtered,
an Inquiry Result, Inquiry Result with RSSI, or Extended Inquiry Result event
shall be created for each BR/EDR Controller which responds to the Inquiry
message. In addition, multiple BR/EDR Controllers which respond to the


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Inquire message may be combined into the same event. An Inquiry Complete
event shall be generated when the Inquiry process has completed.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Inquiry Complete
event will indicate that this command has been completed. No Inquiry
Complete event will be generated for the cancelled Inquiry process.




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7.1.2 Inquiry Cancel Command


 Command                       OCF         Command Parameters          Return Parameters

 HCI_Inquiry_Cancel            0x0002                                  Status

Description:

This command shall cause the BR/EDR Controller to stop the current Inquiry if
the BR/EDR Controller is in Inquiry Mode. This command allows the Host to
interrupt the BR/EDR Controller and request the BR/EDR Controller to perform
a different task. The command should only be issued after the Inquiry
command has been issued, a Command Status event has been received for
the Inquiry command, and before the Inquiry Complete event occurs.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Inquiry_Cancel command succeeded.

 0x01-0xFF         Inquiry_Cancel command failed. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

Event(s) generated (unless masked away):

When the Inquiry_Cancel command has completed, a Command Complete
event shall be generated. No Inquiry Complete event will be generated for the
cancelled Inquiry process.




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7.1.3 Periodic Inquiry Mode Command


 Command                     OCF         Command Parameters   Return Parameters

 HCI_Periodic_               0x0003      Max_Period_Length,   Status
 Inquiry_Mode                            Min_Period_Length,
                                         LAP,
                                         Inquiry_Length,
                                         Num_Responses

Description:

The Periodic_Inquiry_Mode command is used to configure the BR/EDR
Controller to enter the Periodic Inquiry Mode that performs an automatic
Inquiry. Max_Period_Length and Min_Period_Length define the time range
between two consecutive inquiries, from the beginning of an inquiry until the
start of the next inquiry. The BR/EDR Controller shall use this range to
determine a new random time between two consecutive inquiries for each
Inquiry. The LAP input parameter contains the LAP from which the inquiry
access code shall be derived when the inquiry procedure is made. The
Inquiry_Length parameter specifies the total duration of the Inquiry Mode and,
when time expires, Inquiry will be halted. When Extended_Inquiry_Length is
greater than zero, the duration of the Inquiry Mode may be changed to
(Inquiry_Length + Extended_Inquiry_Length). The Num_Responses parameter
specifies the number of responses that can be received before the Inquiry is
halted. This command is completed when the Inquiry process has been started
by the BR/EDR Controller, and a Command Complete event is sent from the
Controller to the Host. When each of the periodic Inquiry processes are
completed, the Controller will send an Inquiry Complete event to the Host
indicating that the latest periodic Inquiry process has finished. When a BR/EDR
Controller responds to the Inquiry message, an Inquiry Result, Inquiry Result
with RSSI, or Extended Inquiry Result event will occur to notify the Host of the
discovery.

Note: Max_Period_Length > Min_Period_Length > (Inquiry_Length +
Extended_Inquiry_Length)

A device which responds during an inquiry or inquiry period should always be
reported to the Host in an Inquiry Result, Inquiry Result with RSSI, or Extended
Inquiry Result event if the device has not been reported earlier during the
current inquiry or inquiry period and the device has not been filtered out using
the command Set_Event_Filter. If the device has been reported earlier during
the current inquiry or inquiry period, it may or may not be reported depending
on the implementation (depending on if earlier results have been saved in the
BR/EDR Controller and in that case how many responses that have been
saved). It is recommended that the BR/EDR Controller tries to report a
particular device only once during an inquiry or inquiry period.



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Command Parameters:

Max_Period_Length:                                                          Size: 2 Octets
 Value             Parameter Description
 N = 0xXXXX        Maximum amount of time specified between consecutive inquiries.
                   Size: 2 octets
                   Range: 0x03 – 0xFFFF
                   Time = N * 1.28 s
                   Range: 3.84 – 83884.8 s
                   0.0 – 23.3 hours

Min_Period_Length:                                                          Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Minimum amount of time specified between consecutive inquiries.
                   Size: 2 octets
                   Range: 0x02 – 0xFFFE
                   Time = N * 1.28 s
                   Range: 2.56 – 83883.52 s
                   0.0 – 23.3 hours

LAP:                                                                        Size: 3 Octets
 Value               Parameter Description

 0x9E8B00–           This is the LAP from which the inquiry access code should be derived
 0x9E8B3F            when the inquiry procedure is made;
                     see “Bluetooth Assigned Numbers”

Inquiry_Length:                                                               Size: 1 Octet
 Value             Parameter Description

 N = 0xXX          Maximum amount of time specified before the Inquiry is halted.
                   Size: 1 octet
                   Range: 0x01 – 0x30
                   Time = N * 1.28 s
                   Range: 1.28 – 61.44 s

Num_Responses:                                                                Size: 1 Octet
 Value             Parameter Description

 0x00              Unlimited number of responses.
 0xXX              Maximum number of responses from the Inquiry before the Inquiry is
                   halted.
                   Range: 0x01 – 0xFF



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Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Periodic Inquiry Mode command succeeded.
 0x01-0xFF         Periodic Inquiry Mode command failed. See [Vol 2] Part D, Error Codes for
                   a list of error codes and descriptions.

Event(s) generated (unless masked away):

The Periodic Inquiry Mode begins when the BR/EDR Controller sends the
Command Complete event for this command to the Host. Unless filtered, an
Inquiry Result, Inquiry Result with RSSI, or Extended Inquiry Result event shall
be created for each remote device that have responded to the Inquiry
message. In addition, multiple BR/EDR Controllers which response to the
Inquiry message may be combined into the same event. An Inquiry Complete
event shall be generated when each of the periodic Inquiry processes has
completed. No Inquiry Complete event will be generated for the cancelled
Inquiry process.




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7.1.4 Exit Periodic Inquiry Mode Command


                                                     Command
 Command                                  OCF
                                                     Parameters      Return Parameters

 HCI_Exit_Periodic_Inquiry_Mode           0x0004                     Status

Description:

The Exit_Periodic_Inquiry_Mode command is used to end the Periodic Inquiry
mode when the local device is in Periodic Inquiry Mode. If the BR/EDR
Controller is currently in an Inquiry process, the Inquiry process shall be
stopped directly and the BR/EDR Controller shall no longer perform periodic
inquiries until the Periodic Inquiry Mode command is reissued.

Command Parameters:

None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Exit Periodic Inquiry Mode command succeeded.
 0x01-0xFF         Exit Periodic Inquiry Mode command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

A Command Complete event for this command shall occur when the local
device is no longer in Periodic Inquiry Mode. No Inquiry Complete event will be
generated for the cancelled Inquiry process.




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7.1.5 Create Connection Command


                                                                           Return
 Command                       OCF          Command Parameters
                                                                           Parameters

 HCI_Create_Connection         0x0005       BD_ADDR,
                                            Packet_Type,
                                            Page_Scan_Repetition_Mode,
                                            Reserved,
                                            Clock_Offset,
                                            Allow_Role_Switch

Description:

This command causes the Link Manager to create a connection to the remote
device with the BD_ADDR specified by the command parameters. This
command causes the local BR/EDR Controller to begin the Page process to
create a link level connection. The Link Manager will determine how the new
ACL connection is established. This ACL connection is determined by the
current state of the device, its piconet, and the state of the device to be
connected. The Packet_Type command parameter specifies which packet
types the Link Manager shall use for the ACL connection. When sending HCI
ACL Data Packets the Link Manager shall only use the packet type(s) specified
by the Packet_Type command parameter or the always-allowed DM1 packet
type. Multiple packet types may be specified for the Packet Type parameter by
performing a bit-wise OR operation of the different packet types. The Link
Manager may choose which packet type to be used from the list of acceptable
packet types. The Page_Scan_Repetition_Mode parameter specifies the page
scan repetition mode supported by the remote device with the BD_ADDR. This
is the information that was acquired during the inquiry process. The
Clock_Offset parameter is the difference between its own clock and the clock
of the remote device with BD_ADDR. Only bits 2 through 16 of the difference
are used, and they are mapped to this parameter as bits 0 through 14
respectively. A Clock_Offset_Valid_Flag, located in bit 15 of the Clock_Offset
parameter, is used to indicate if the Clock Offset is valid or not. A
Connection_Handle for this connection is returned in the Connection Complete
event (see below). The Allow_Role_Switch parameter specifies if the local
device accepts or rejects the request of a master-slave role switch when the
remote device requests it at the connection setup (in the Role parameter of the
Accept_Connection_Request command) (before the local Controller returns a
Connection Complete event). For a definition of the different packet types see
the [Vol 2] Part B, Baseband Specification.

Note: The Host should enable as many packet types as possible for the Link
Manager to perform efficiently. However, the Host must not enable packet
types that the local device does not support.




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Command Parameters:

BD_ADDR:                                                                          Size: 6 Octets
 Value                             Parameter Description

 0xXXXXXXXXXXXX                    BD_ADDR of the Device to be connected.

Packet_Type:                                                                      Size: 2 Octets
 Value                 Parameter Description

 0x0001                Reserved for future use.
 0x0002                2-DH1 shall not be used.
 0x0004                3-DH1 shall not be used.

 0x00081               DM1 may be used.

 0x0010                DH1 may be used.
 0x0020                Reserved for future use.
 0x0040                Reserved for future use.

 0x0080                Reserved for future use.
 0x0100                2-DH3 shall not be used.
 0x0200                3-DH3 shall not be used.

 0x0400                DM3 may be used.
 0x0800                DH3 may be used.
 0x1000                2-DH5 shall not be used.

 0x2000                3-DH5 shall not be used.
 0x4000                DM5 may be used.
 0x8000                DH5 may be used.
 1. This bit will be interpreted as set to 1 by Bluetooth V1.2 or later Controllers.


Page_Scan_Repetition_Mode:                                                          Size: 1 Octet
 Value                 Parameter Description

 0x00                  R0
 0x01                  R1
 0x02                  R2

 All other values      Reserved for future use.




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Reserved:                                                                        Size: 1 Octet
 Value                Parameter Description

 0x00                 Reserved, must be set to 0x00.
                      See Section A.10.2.

Clock_Offset:                                                                  Size: 2 Octets
 Bit format           Parameter Description

 Bits 14-0            Bits 16-2 of CLKNslave-CLK
 Bit 15               Clock_Offset_Valid_Flag
                      Invalid Clock Offset = 0
                      Valid Clock Offset = 1

Allow_Role_Switch:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 The local device will be a master, and will not accept a role switch
                      requested by the remote device at the connection setup.
 0x01                 The local device may be a master, or may become a slave after
                      accepting a role switch requested by the remote device at the connec-
                      tion setup.
 All other values     Reserved for future use.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Create_Connection command, the
BR/EDR Controller shall send the Command Status event to the Host. In
addition, when the Link Manager determines the connection is established, the
BR/EDR Controller, on both BR/EDR Controllers that form the connection, shall
send a Connection Complete event to each Host. The Connection Complete
event contains the Connection_Handle if this command is successful.

Note: No Command Complete event will be sent by the Controller to
indicate that this command has been completed. Instead, the Connection
Complete event will indicate that this command has been completed.




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7.1.6 Disconnect Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Disconnect              0x0006      Connection_Handle,
                                         Reason

Description:

The Disconnect command is used to terminate an existing connection. The
Connection_Handle command parameter indicates which connection is to be
disconnected. The Reason command parameter indicates the reason for
ending the connection and is copied into the error code field of the
LMP_detach PDU on a BR/EDR connection or the Error Code field of the
LL_TERMINATE_IND PDU on an LE connection. All synchronous connections
on a physical link should be disconnected before the ACL connection on the
same physical connection is disconnected.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Reason:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x05,             Authentication Failure error code (0x05), Other End Terminated Connec-
 0x13-0x15,        tion error codes (0x13-0x15), Unsupported Remote Feature error code
 0x1A,             (0x1A), Pairing with Unit Key Not Supported error code (0x29) and Unac-
 0x29,             ceptable Connection Parameters error code (0x3B), see [Vol 2] Part D,
 0x3B              Error Codes for a list of error codes and descriptions.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Disconnect command, it shall send the
Command Status event to the Host. The Disconnection Complete event will
occur at each Host when the termination of the connection has completed, and
on the local Host also indicates that this command has been completed. The
Reason event parameter in the event on the local Host shall be set to the value
"Connection Terminated by Local Host (0x16)", while that on the remote Host
shall be set to the value of the Reason command parameter.


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Note: No Command Complete event will be sent by the Controller to
indicate that this command has been completed. Instead, the Disconnection
Complete event will indicate that this command has been completed.




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7.1.7 Create Connection Cancel Command


 Command                     OCF         Command Parameters      Return Parameters

 HCI_Create_Connec-          0x0008      BD_ADDR                 Status,
 tion_Cancel                                                     BD_ADDR

Description:

This command is used to request cancellation of the ongoing connection
creation process, which was started by a Create_Connection command of the
local BR/EDR Controller.

Command Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Create Connection command request that was
                          issued before and is subject of this cancellation request

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Create Connection Cancel command succeeded

 0x01-0xff         Create Connection Cancel command failed. See [Vol 2] Part D, Error
                   Codes for list of error codes

BD_ADDR:                                                                     Size: 6 Octet
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Create Connection command that was issued
                          before and is the subject of this cancellation request.

Event(s) generated (unless masked away):

When the Create_Connection_Cancel command has completed, a Command
Complete event shall be generated.

If the connection is already established by the baseband, but the BR/EDR
Controller has not yet sent the Connection Complete event, then the local
device shall detach the link and return a Command Complete event with the
status “Success”.




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If the connection is already established, and the Connection Complete event
has been sent, then the Controller shall return a Command Complete event
with the error code Connection already exists (0x0B).

If the Create_Connection_Cancel command is sent to the Controller without a
preceding Create Connection command to the same device, the BR/EDR
Controller shall return a Command Complete event with the error code
Unknown Connection Identifier (0x02).

The Connection Complete event for the corresponding Create_Connection
command shall always be sent. The Connection Complete event shall be sent
after the Command Complete event for the Create_Connection_Cancel
command. If the cancellation was successful, the Connection Complete event
will be generated with the error code Unknown Connection Identifier (0x02).




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7.1.8 Accept Connection Request Command


 Command                       OCF        Command Parameters        Return Parameters

 HCI_Accept_Connec-            0x0009     BD_ADDR,
 tion_Request                             Role

Description:

The Accept_Connection_Request command is used to accept a new incoming
connection request. The Accept_Connection_Request command shall only be
issued after a Connection Request event has occurred. The Connection
Request event will return the BD_ADDR of the device which is requesting the
connection. This command will cause the Link Manager to create a connection
to the BR/EDR Controller, with the BD_ADDR specified by the command
parameters. The Link Manager will determine how the new connection will be
established. This will be determined by the current state of the device, its
piconet, and the state of the device to be connected. The Role command
parameter allows the Host to specify if the Link Manager shall request a role
switch and become the Master for this connection. This is a preference and not
a requirement. If the Role Switch fails then the connection will still be accepted,
and the Role Discovery Command will reflect the current role.

Note: The Link Manager may terminate the connection if it would be low on
resources if the role switch fails. The decision to accept a connection must be
completed before the connection accept timeout expires on the local Bluetooth
Module.

Note: When accepting synchronous connection request, the Role parameter is
not used and will be ignored by the BR/EDR Controller.

Command Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                            Parameter Description

 0xXXXXXXXXXXXX                   BD_ADDR of the Device to be connected

Role:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Become the Master for this connection. The LM will perform the role
                   switch.

 0x01              Remain the Slave for this connection. The LM will NOT perform the role
                   switch.




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Return Parameters:

None.

Event(s) generated (unless masked away):

The Accept_Connection_Request command shall cause the Command Status
event to be sent from the BR/EDR Controller when the BR/EDR Controller
begins setting up the connection. In addition, when the Link Manager
determines the connection is established, the local BR/EDR Controller shall
send a Connection Complete event to its Host, and the remote Controller will
send a Connection Complete event or a Synchronous Connection Complete
event to the Host. The Connection Complete event contains the
Connection_Handle if this command is successful.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Connection
Complete event will indicate that this command has been completed.




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7.1.9 Reject Connection Request Command


 Command                     OCF         Command Parameters          Return Parameters

 HCI_Reject_Connec-          0x000A      BD_ADDR,
 tion_Request                            Reason

Description:

The Reject_Connection_Request command is used to decline a new incoming
connection request. The Reject_Connection_Request command shall only be
called after a Connection Request event has occurred. The Connection Request
event will return the BD_ADDR of the device that is requesting the connection.
The Reason command parameter will be returned to the connecting device in the
Status parameter of the Connection Complete event returned to the Host of the
connection device, to indicate why the connection was declined.

Command Parameters:

BD_ADDR:                                                                       Size: 6 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXX              BD_ADDR of the Device to reject the connection from.

Reason:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x0D-0x0F         Host Reject Error Code. See [Vol 2] Part D, Error Codes for list of Error
                   Codes and descriptions.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Reject_Connection_Request command, the
Controller shall send the Command Status event to the Host. Then, the local
BR/EDR Controller will send a Connection Complete event to its Host, and the
remote device shall send a Connection Complete event or a Synchronous
Connection Complete event to the Host. The Status parameter of the
Connection Complete event, which is sent to the Host of the device attempting
to make the connection, will contain the Reason command parameter from this
command.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Connection
Complete event will indicate that this command has been completed.



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7.1.10 Link Key Request Reply Command


                                               Command
 Command                            OCF
                                               Parameters              Return Parameters

 HCI_Link_Key_Request_Reply         0x000B      BD_ADDR, Link_Key      Status, BD_ADDR

Description:
The Link_Key_Request_Reply command is used to reply to a Link Key
Request event from the Controller, and specifies the Link Key stored on the
Host to be used as the link key for the connection with the other BR/EDR
Controller specified by BD_ADDR. The Link Key Request event will be
generated when the BR/EDR Controller needs a Link Key for a connection.
When the BR/EDR Controller generates a Link Key Request event in order for
the local Link Manager to respond to the request from the remote Link
Manager (as a result of a Create_Connection or Authentication_Requested
command from the remote Host), the local Host must respond with either a
Link_Key_Request_Reply or Link_Key_Request_Negative_Reply command
before the remote Link Manager detects LMP response timeout. (See [Vol 2]
Part C, Link Manager Protocol Specification.)
When the BR/EDR Controller supports the Secure Connections (Controller
Support) feature, it shall discard the Link Key once the connection has been
disconnected.

Command Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                        Parameter Description

 0xXXXXXXXXXXXX               BD_ADDR of the Device of which the Link Key is for.

Link_Key:                                                                  Size: 16 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Link Key for the associated BD_ADDR.
 XXXXXXXXXXX
 XXXXXXXXXXX

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Link_Key_Request_Reply command succeeded.

 0x01-0xFF         Link_Key_Request_Reply command failed. See [Vol 2] Part D, Error
                   Codes for error codes and descriptions.



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BD_ADDR:                                                                  Size: 6 Octets
 Value             Parameter Description

 0xXXXXXXXX        BD_ADDR of the Device of which the Link Key request reply has
 XXXX              completed.

Event(s) generated (unless masked away):

When the Link_Key_Request_Reply command has completed, a Command
Complete event shall be generated.




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7.1.11 Link Key Request Negative Reply Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Link_Key_Re-            0x000C      BD_ADDR                  Status, BD_ADDR
 quest_Negative_Reply

Description:
The Link_Key_Request_Negative_Reply command is used to reply to a Link
Key Request event from the BR/EDR Controller if the Host does not have a
stored Link Key for the connection with the other BR/EDR Controller specified
by BD_ADDR. The Link Key Request event will be generated when the BR/
EDR Controller needs a Link Key for a connection.
When the Controller generates a Link Key Request event in order for the local
Link Manager to respond to the request from the remote Link Manager (as a
result of a Create_Connection or Authentication_Requested command from
the remote Host), the local Host must respond with either a
Link_Key_Request_Reply or Link_Key_Request_Negative_Reply command
before the remote Link Manager detects LMP response timeout. (See [Vol 2]
Part C, Link Manager Protocol Specification.)

Command Parameters:

BD_ADDR:                                                                     Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR of the Device which the Link Key is for.
 XX

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Link_Key_Request_Negative_Reply command succeeded.
 0x01-0xFF         Link_Key_Request_Negative_Reply command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                     Size: 6 Octets
 Value             Parameter Description

 0xXXXXXXXX        BD_ADDR of the Device which the Link Key request negative reply has
 XXXX              completed.

Event(s) generated (unless masked away):
When the Link_Key_Request_Negative_Reply command has completed, a
Command Complete event shall be generated.

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7.1.12 PIN Code Request Reply Command


                                                Command
 Command                             OCF
                                                Parameters                Return Parameters

 HCI_PIN_Code_Request_Reply          0x000D     BD_ADDR,                  Status, BD_ADDR
                                                PIN_Code_Length,
                                                PIN_Code

Description:

The PIN_Code_Request_Reply command is used to reply to a PIN Code
request event from the BR/EDR Controller, and specifies the PIN code to use
for a connection. The PIN Code Request event will be generated when a
connection with remote initiating device has requested pairing.

When the BR/EDR Controller generates a PIN Code Request event in order for
the local Link Manager to respond to the request from the remote Link
Manager (as a result of a Create_Connection or Authentication_Requested
command from the remote Host), the local Host must respond with either a
PIN_Code_Request_Reply or PIN_Code_Request_Negative_Reply command
before the remote Link Manager detects LMP response timeout. (See [Vol 2]
Part C, Link Manager Protocol Specification.)

Command Parameters:

BD_ADDR:                                                                       Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR of the Device which the PIN code is for.
 XX

PIN_Code_Length:                                                                 Size: 1 Octet
 Value                Parameter Description

 0xXX                 The PIN code length specifics the length, in octets, of the PIN code to
                      be used.
                      Range: 0x01-0x10

PIN_Code:                                                                    Size: 16 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         PIN code for the device that is to be connected. The Host should
 XXXXXXXXXXX          ensure that strong PIN Codes are used. PIN Codes can be up to a
 XXXXXXXXXXX          maximum of 128 bits. Note: The PIN_Code Parameter is a string
                      parameter. Endianess does therefore not apply to the PIN_Code
                      Parameter. The first octet of the PIN code should be transmitted first.




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Return Parameters:

Status:                                                                   Size: 1 Octet
 Value             Parameter Description

 0x00              PIN_Code_Request_Reply command succeeded.
 0x01-0xFF         PIN_Code_Request_Reply command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

BD_ADDR:                                                                 Size: 6 Octets
 Value             Parameter Description

 0xXXXXXXXX        BD_ADDR of the Device which the PIN Code request reply has
 XXXX              completed.

Event(s) generated (unless masked away):

When the PIN_Code_Request_Reply command has completed, a Command
Complete event shall be generated.




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7.1.13 PIN Code Request Negative Reply Command


 Command                        OCF        Command Parameters      Return Parameters

 HCI_PIN_Code_                  0x000E     BD_ADDR                 Status, BD_ADDR
 Request_Negative_Reply

Description:

The PIN_Code_Request_Negative_Reply command is used to reply to a PIN
Code request event from the BR/EDR Controller when the Host cannot specify
a PIN code to use for a connection. This command will cause the pair request
with remote device to fail.

When the BR/EDR Controller generates a PIN Code Request event in order for
the local Link Manager to respond to the request from the remote Link
Manager (as a result of a Create_Connection or Authentication_Requested
command from the remote Host), the local Host must respond with either a
PIN_Code_Request_Reply or PIN_Code_Request_Negative_Reply command
before the remote Link Manager detects LMP response timeout. (See [Vol 2]
Part C, Link Manager Protocol Specification.)

Command Parameters:

BD_ADDR:                                                                  Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Device which this command is responding to.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              PIN_Code_Request_Negative_Reply command succeeded.

 0x01-0xFF         PIN_Code_Request_Negative_Reply command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                  Size: 6 Octets
 Value             Parameter Description

 0xXXXXXXXX        BD_ADDR of the Device which the PIN Code request negative reply has
 XXXX              completed.

Event(s) generated (unless masked away):

When the PIN_Code_Request_Negative_Reply command has completed, a
Command Complete event shall be generated.


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7.1.14 Change Connection Packet Type Command


 Command                         OCF        Command Parameters        Return Parameters

 HCI_Change_Connection_          0x000F     Connection_Handle,
 Packet_Type                                Packet_Type

Description:

The Change_Connection_Packet_Type command is used to change which
packet types can be used for a connection that is currently established. This
allows current connections to be dynamically modified to support different
types of user data. The Packet_Type command parameter specifies which
packet types the Link Manager can use for the connection. When sending HCI
ACL Data Packets the Link Manager shall only use the packet type(s) specified
by the Packet_Type command parameter or the always-allowed DM1 packet
type. The interpretation of the value for the Packet_Type command parameter
will depend on the Link_Type command parameter returned in the Connection
Complete event at the connection setup. Multiple packet types may be
specified for the Packet_Type command parameter by bitwise OR operation of
the different packet types. For a definition of the different packet types see the
[Vol 2] Part B, Baseband Specification.

Note: The Host should enable as many packet types as possible for the Link
Manager to perform efficiently. However, the Host must not enable packet
types that the local device does not support.

Note: To change an eSCO connection, use the Setup Synchronous Connection
command.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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Packet_Type:                                                                Size: 2 Octets

For ACL Link_Type
 Value                 Parameter Description

 0x0001                Reserved for future use.
 0x0002                2-DH1 shall not be used.

 0x0004                3-DH1 shall not be used.

 0x00081               DM1 may be used.

 0x0010                DH1 may be used.
 0x0020                Reserved for future use.

 0x0040                Reserved for future use.
 0x0080                Reserved for future use.
 0x0100                2-DH3 shall not be used.

 0x0200                3-DH3 shall not be used.
 0x0400                DM3 may be used.
 0x0800                DH3 may be used.

 0x1000                2-DH5 shall not be used.
 0x2000                3-DH5 shall not be used.
 0x4000                DM5 may be used.

 0x8000                DH5 may be used.
 1. This bit will be set to 1 by Bluetooth V1.2 or later Controllers.


For SCO Link Type
 Value                 Parameter Description

 0x0001                Reserved for future use.
 0x0002                Reserved for future use.

 0x0004                Reserved for future use.
 0x0008                Reserved for future use.
 0x0010                Reserved for future use.

 0x0020                HV1
 0x0040                HV2
 0x0080                HV3

 0x0100                Reserved for future use.
 0x0200                Reserved for future use.
 0x0400                Reserved for future use.


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 Value                Parameter Description

 0x0800               Reserved for future use.
 0x1000               Reserved for future use.
 0x2000               Reserved for future use.

 0x4000               Reserved for future use.
 0x8000               Reserved for future use.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Change Connection Packet Type
command, BR/EDR the Controller shall send the Command Status event to the
Host. In addition, when the Link Manager determines the packet type has been
changed for the connection, the Controller on the local device will send a
Connection Packet Type Changed event to the Host. This will be done at the
local side only.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Connection
Packet Type Changed event will indicate that this command has been
completed.




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7.1.15 Authentication Requested Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Authentication_         0x0011      Connection_Handle
 Requested

Description:

The Authentication_Requested command is used to try to authenticate the
remote device associated with the specified Connection_Handle. On an
authentication failure, the BR/EDR Controller or Link Manager shall not
automatically detach the link. The Host is responsible for issuing a Disconnect
command to terminate the link if the action is appropriate.

Note: The Connection_Handle command parameter is used to identify the
other BR/EDR Controller which forms the connection. The Connection_Handle
should be a Connection_Handle for an ACL connection. The authentication will
apply to all Connection_Handles with the same remote BR/EDR Controller.

Command Parameters:

Connection_Handle:                                   Size 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Authentication_Requested command, it shall
send the Command Status event to the Host. If Simple Pairing Mode is
enabled, the Link Key Request event shall be generated, and Simple Pairing
shall be started only if Host replies to it with Link Key Request Negative Reply
Command; if Host replies to it with Link Key Request Reply Command, only
authentication procedure (see [Vol 2] Part C, Section 4.2.1) shall be performed
and no Simple Pairing shall be started. If Simple Pairing Mode is not enabled
and authentication fails, the PIN Code Request event may be generated. The
Authentication Complete event will occur when the authentication has been
completed for the connection and is indication that this command has been
completed.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Authentication
Complete event will indicate that this command has been completed.

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On receipt of an Authentication Requested Command, a local BR/EDR
Controller that is not in Simple Pairing Mode may use an existing stored link
key and respond immediately to the Host with an Authentication Complete
event.

This behavior is not recommended for Controllers as it offers the Host no
method for enhancing the security of an existing link (e.g., in the case where a
profile mandating a minimum passkey length is started over a link that is
already authenticated with shorter passkey than the new service requires).




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7.1.16 Set Connection Encryption Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Set_Connection_         0x0013      Connection_Handle,
 Encryption                              Encryption_Enable

Description:

The Set_Connection_Encryption command is used to enable and disable the
link level encryption. Note: The Connection_Handle command parameter is
used to identify the other BR/EDR Controller which forms the connection. The
Connection_Handle should be a Connection_Handle for an ACL connection.
The encryption setting will apply to all Connection_Handles with the same
remote BR/EDR Controller. While the encryption is being changed, all ACL
traffic must be turned off for all Connection_Handles associated with the
remote device.

If both devices support both the Secure Connections (Controller Support) and
Secure Connections (Host Support) features, and Encryption_Enable is set to
Turn Link Level Encryption OFF when encryption is currently enabled on the
specified Connection_Handle, the Controller shall return the error code
Encryption Mode Not Acceptable (0x25).

Command Parameters:

Connection_Handle:                                   Size 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Encryption_Enable:                                                            Size: 1 Octet
 Value             Parameter Description

 0x00              Turn Link Level Encryption OFF.

 0x01              Turn Link Level Encryption ON.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Set_Connection_Encryption
command, the BR/EDR Controller shall send the Command Status event to the
Host. When the Link Manager has completed enabling/disabling encryption for
the connection, the local BR/EDR Controller shall send an Encryption Change


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event to the Host, and the BR/EDR Controller on the remote device will also
generate an Encryption Change event.

Note: No Command Complete event will be sent by the Controller to indicate
that this command has been completed. Instead, the Encryption Change event
will indicate that this command has been completed.




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7.1.17 Change Connection Link Key Command


 Command                        OCF         Command Parameters        Return Parameters

 HCI_Change_Connection_         0x0015      Connection_Handle
 Link_Key

Description:

The Change_Connection_Link_Key command is used to force both devices of
a connection associated with the Connection_Handle to generate a new link
key. The link key is used for authentication and encryption of connections.

Note: The Connection_Handle command parameter is used to identify the
other BR/EDR Controller forming the connection. The Connection_Handle
should be a Connection_Handle for an ACL connection.

Note: The resulting link key, generated as a result of
Change_Connection_Link_Key command, will be of equal link key strength to
the previously used link key.

Command Parameters:

Connection_Handle:                                   Size 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Change_Connection_Link_Key command,
the BR/EDR Controller shall send the Command Status event to the Host.
When the Link Manager has changed the Link Key for the connection, the local
BR/EDR Controller shall send a Link Key Notification event and a Change
Connection Link Key Complete event to the Host, and the remote BR/EDR
Controller will also generate a Link Key Notification event. The Link Key
Notification event indicates that a new connection link key is valid for the
connection.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Change
Connection Link Key Complete event will indicate that this command has been
completed.


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7.1.18 Master Link Key Command


 Command                       OCF            Command Parameters   Return Parameters

 HCI_Master_Link_Key           0x0017         Key_Flag

Description:

The Master_Link_Key command is used to force the device that is master of
the piconet to use the temporary link key of the master device, or the semi-
permanent link keys. The temporary link key is used for encryption of
broadcast messages within a piconet, and the semi-permanent link keys are
used for
private encrypted point-to-point communication. The Key_Flag command
parameter is used to indicate which Link Key (temporary link key of the Master,
or the semi-permanent link keys) shall be used.

The HCI Master Link Key Command shall be rejected with error code
Command Disallowed (0x0C) when all slaves in the piconet support AES-CCM
encryption and Key_Flag is set to “Use Temporary Link Key”.

Note: When at least one slave in the piconet cannot support AES-CCM
encryption, encrypted broadcast packets will not be received by slave devices
where both the Controller and Host support Secure Connections. When all
slaves in the piconet support AES-CCM encryption, broadcast packets will not be
encrypted and may be received by slaves that have AES-CCM encryption
enabled.

Command Parameters:

Key_Flag:                                                                 Size: 1 Octet
 Value             Parameter Description

 0x00              Use semi-permanent Link Keys.

 0x01              Use Temporary Link Key.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Master_Link_Key command, the
BR/EDR Controller shall send the Command Status event to the Host. When
the Link Manager has changed link key, the BR/EDR Controller on both the
local and the remote device shall send a Master Link Key Complete event to
the Host. The Connection_Handle on the master side shall be a
Connection_Handle for one of the existing connections to a slave. On the slave


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side, the Connection_Handle shall be a Connection_Handle to the initiating
master.

The Master Link Key Complete event contains the status of this command.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Master Link Key
Complete event will indicate that this command has been completed.




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7.1.19 Remote Name Request Command


                                                                             Return
 Command                            OCF       Command Parameters
                                                                             Parameters

 HCI_Remote_Name_Request            0x0019    BD_ADDR,
                                              Page_Scan_Repetition_Mode,
                                              Reserved,
                                              Clock_Offset

Description:

The Remote_Name_Request command is used to obtain the user-friendly
name of another BR/EDR Controller. The user-friendly name is used to enable
the user to distinguish one BR/EDR Controller from another. The BD_ADDR
command parameter is used to identify the device for which the user-friendly
name is to be obtained. The Page_Scan_Repetition_Mode parameter specifies
the page scan repetition mode supported by the remote device with the
BD_ADDR. This is the information that was acquired during the inquiry
process. The Clock_Offset parameter is the difference between its own clock
and the clock of the remote device with BD_ADDR. Only bits 2 through 16 of
the difference are used and they are mapped to this parameter as bits 0
through 14 respectively. A Clock_Offset_Valid_Flag, located in bit 15 of the
Clock_Offset command parameter, is used to indicate if the Clock Offset is
valid or not.

When the Remote Supported Host Features Notification event is unmasked
and when the Remote_Name_Request command initiates a connection, the
Link Manager shall read the remote LMP features mask pages 0 and 1.

Note: If no connection exists between the local device and the device
corresponding to the BD_ADDR, a temporary link layer connection will be
established to obtain the LMP features and name of the remote device.

Command Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR for the device whose name is requested.
 XX




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Page_Scan_Repetition_Mode:                                       Size: 1 Octet
 Value                Parameter Description

 0x00                 R0
 0x01                 R1
 0x02                 R2

 All other values     Reserved for future use.

Reserved:                                                        Size: 1 Octet
 Value                Parameter Description

 0x00                 Reserved, must be set to 0x00.
                      See Section A.10.2.

Clock_Offset:                                                  Size: 2 Octets
 Bit format           Parameter Description

 Bits 14-0            Bits 16-2 of CLKNslave-CLK
 Bit 15               Clock_Offset_Valid_Flag
                      Invalid Clock Offset = 0
                      Valid Clock Offset = 1

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Remote_Name_Request command,
the BR/EDR Controller shall send the Command Status event to the Host. If a
temporary link layer connection was established, then when the Link Manager
has completed the LMP sequence to obtain the remote Host supported
features, if present, the BR/EDR Controller on the local device shall send a
Remote Host Supported Features Notification event. When the Link Manager
has completed the LMP messages to obtain the remote name, the local BR/
EDR Controller shall send a Remote Name Request Complete event to the
Host. If the remote Host supported features page is present, the Remote Host
Supported Features Notification event shall be sent before the Remote Name
Request Complete event. If not, only the Remote Name Request Complete
event shall be sent.

Note: No Command Complete event shall be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, only the Remote
Name Request Complete event will indicate that this command has been
completed.



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7.1.20 Remote Name Request Cancel Command


                                                        Command                Return
 Command                                      OCF
                                                        Parameters             Parameters

 HCI_Remote_Name_Request_Cancel               0x001A    BD_ADDR                Status,
                                                                               BD_ADDR

Description:

This command is used to request cancellation of the ongoing remote name
request process, which was started by the Remote Name Request command.

Command Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Remote Name Request command that was issued
                          before and that is subject of this cancellation request

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Remote Name Request Cancel command succeeded
 0x01-0xff         Remote Name Request Cancel command failed. See [Vol 2] Part D, Error
                   Codes for list of error codes

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Remote Name Request Cancel command that was
                          issued before and that was subject of this cancellation request

Event(s) generated (unless masked away):

When the Remote Name Request Cancel command has completed, a
Command Complete event shall be generated.

If the Remote Name Request Cancel command is sent to the BR/EDR
Controller without a preceding Remote Name Request command to the same
device, the Controller shall return a Command Complete event with the error
code Invalid HCI Command Parameters (0x12).

The Remote Name Request Complete event for the corresponding Remote
Name Request Command shall always be sent. The Remote Name Request
Complete event shall be sent after the Command Complete event for the

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Remote Name Request Cancel command. If the cancellation was successful,
the Remote Name Request Complete event shall be generated with the error
code Unknown Connection Identifier (0x02).




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7.1.21 Read Remote Supported Features Command


                                                         Command                Return
 Command                                      OCF
                                                         Parameters             Parameters

 HCI_Read_Remote_Supported_Features           0x001B     Connection_Handle

Description:

This command requests a list of the supported features for the remote device
identified by the Connection_Handle parameter. The Connection_Handle must
be a Connection_Handle for an ACL-U logical link. The Read Remote
Supported Features Complete event will return a list of the LMP features. For
details see [Vol 2] Part C, Link Manager Protocol Specification.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the
Read_Remote_Supported_Features command, the BR/EDR Controller shall
send the Command Status event to the Host. When the Link Manager has
completed the LMP sequence to determine the remote features or has
determined that it will be using a cached copy, the BR/EDR Controller on the
local device shall send a Read Remote Supported Features Complete event to
the Host. The Read Remote Supported Features Complete event contains the
status of this command, and parameters describing the supported features of
the remote device.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Read Remote
Supported Features Complete event will indicate that this command has been
completed.




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7.1.22 Read Remote Extended Features Command


                                                         Command                Return
 Command                                      OCF
                                                         Parameters             Parameters

 HCI_Read_Remote_Extended_Features            0x001C     Connection_Han-
                                                         dle,
                                                         Page Number

Description:

The Read_Remote_Extended_Features command returns the requested page
of the extended LMP features for the remote device identified by the specified
Connection_Handle. The Connection_Handle must be the Connection_Handle
for an ACL-U logical link. This command is only available if the extended
features feature is implemented by the remote device. The Read Remote
Extended Features Complete event will return the requested information. For
details see [Vol 2] Part C, Link Manager Protocol Specification.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Page Number:                                                                  Size: 1 Octet
 Value             Parameter Description

 0x00              Requests the normal LMP features as returned by the Read_Remote_-
                   Supported_Features command

 0x01-0xFF         Return the corresponding page of features

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Read_Remote_Extended_Features
command the BR/EDR Controller shall send the Command Status event to the
Host. When the Link Manager has completed the LMP sequence to determine
the remote extended features or has determined that it will be using a cached
copy, the Controller on the local device shall generate a Read Remote
Extended Features Complete event to the Host. The Read Remote Extended
Features Complete event contains the page number and the remote features
returned by the remote device.


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Note: No Command Complete event will ever be sent by the BR/EDR
Controller to indicate that this command has been completed. Instead the
Read Remote Extended Features Complete event will indicate that this
command has been completed.




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7.1.23 Read Remote Version Information Command


                                                                                Return
 Command                              OCF            Command Parameters
                                                                                Parameters

 HCI_Read_Remote_Version_             0x001D         Connection_Handle
 Information

Description:

This command will obtain the values for the version information for the remote
device identified by the Connection_Handle parameter. The
Connection_Handle must be a Connection_Handle for an ACL-U or LE-U
logical link.

Command Parameters:

Connection_Handle:                                     Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Read_Remote_Version_Information
command, the Controller shall send the Command Status event to the Host.
When the Link Manager or Link Layer has completed the sequence to
determine the remote version information, the local Controller shall send a
Read Remote Version Information Complete event to the Host. The Read
Remote Version Information Complete event contains the status of this
command, and parameters describing the version and subversion of the LMP
or Link Layer used by the remote device.

Note: No Command Complete event will be sent by the Controller to indicate
that this command has been completed. Instead, the Read Remote Version
Information Complete event will indicate that this command has been
completed.




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7.1.24 Read Clock Offset Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Read_Clock_Offset       0x001F      Connection_Handle

Description:

Both the System Clock and the clock offset to a remote device are used to
determine what hopping frequency is used by a remote device for page scan.
This command allows the Host to read the clock offset of remote devices. The
clock offset can be used to speed up the paging procedure when the local
device tries to establish a connection to a remote device, for example, when
the local Host has issued Create_Connection or Remote_Name_Request. The
Connection_Handle must be a Connection_Handle for an ACL-U logical link.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Read_Clock_Offset command, the
BR/EDR Controller shall send the Command Status event to the Host. If this
command was requested at the master and the Link Manager has completed
the LMP messages to obtain the Clock Offset information, the BR/EDR
Controller on the local BR/EDR Controller shall send a Read Clock Offset
Complete event to the Host.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, only the Read Clock
Offset Complete event will indicate that this command has been completed. If
the command is requested at the slave, the LM will immediately send a
Command Status event and a Read Clock Offset Complete event to the Host,
without an exchange of LMP PDU.




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7.1.25 Read LMP Handle Command


 Command                       OCF         Command Parameters       Return Parameters

 HCI_Read_LMP_Handle           0x0020      Connection_Handle        Status, Connec-
                                                                    tion_Handle,
                                                                    LMP_Handle,
                                                                    Reserved

Description:

This command reads the current LMP Handle associated with the
Connection_Handle. The Connection_Handle shall be a SCO or eSCO
Handle. If the Connection_Handle is a SCO Connection_Handle, then this
command shall read the LMP SCO Handle for this connection. If the
Connection_Handle is an eSCO Connection_Handle, then this command shall
read the LMP eSCO Handle for this connection.

Command Parameters:

Connection_Handle:                                   Size 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_LMP_Handle command succeeded.

 0x01 – 0xFF       Read_LMP_Handle command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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LMP_Handle:                                                                  Size: 1 Octet
 Value             Parameter Description

 0xXX              The LMP Handle is the LMP Handle that is associated with this Connec-
                   tion_Handle.
                   For a synchronous handle, this would be the LMP Synchronous Handle
                   used when negotiating the synchronous connection in the link manager.

Reserved:                                                                  Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        This parameter is reserved, must be set to zero.

Events(s) generated (unless masked away):

When the Read_LMP_Handle command has completed, a Command
Complete event shall be generated.




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7.1.26 Setup Synchronous Connection Command


 Command                       OCF         Command Parameters       Return Parameters

 HCI_Setup_Synchro-            0x0028      Connection_Handle,
 nous_Connection                           Transmit_Bandwidth,
                                           Receive_Bandwidth,
                                           Max_Latency,
                                           Voice_Setting,
                                           Retransmission_Effort,
                                           Packet Type

Description:

The Setup_Synchronous_Connection command adds a new or modifies an
existing synchronous logical transport (SCO or eSCO) on a physical link
depending on the Connection_Handle parameter specified. If the
Connection_Handle refers to an ACL link a new synchronous logical transport
will be added. If the ACL link has encryption enabled using AES-CCM and the
Controller cannot establish an eSCO transport (e.g. the Host parameters
restricting the packet types to only SCO packet types), the Controller shall
return the error code Connection Rejected Due to Security Reasons (0x0E)
and a SCO transport will not be established. If the Connection_Handle refers to
an already existing synchronous logical transport (eSCO only) this link will be
modified. The parameters are specified per connection. This synchronous
connection can be used to transfer synchronous voice at 64kb/s or transparent
synchronous data.

When used to setup a new synchronous logical transport, the Connection_Handle
parameter shall specify an ACL connection with which the new synchronous
connection will be associated. The other parameters relate to the negotiation of
the link, and may be reconfigured during the lifetime of the link. The transmit and
receive bandwidth specify how much bandwidth shall be available for transmitting
and for receiving data. While in many cases the receive and transmit bandwidth
parameters may be equal, they may be different. The latency specifies an upper
limit to the time in milliseconds between the eSCO (or SCO) instants, plus the size
of the retransmission window, plus the length of the reserved synchronous slots
for this logical transport. The content format specifies the settings for voice or
transparent data on this connection. The retransmission effort specifies the extra
resources that are allocated to this connection if a packet may need to be
retransmitted. The Retransmission_Effort parameter shall be set to indicate the
required behavior, or to don't care.

When used to modify an existing synchronous logical transport, the
Transmit_Bandwidth, Receive_Bandwidth and Voice_Setting shall be set to the
same values as were used during the initial setup. The Packet_Type,
Retransmission_Effort and Max_Latency parameters may be modified.

The Packet_Type field is a bitmap specifying which packet types the LM shall
accept in the negotiation of the link parameters. Multiple packet types are

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specified by bitwise OR of the packet type codes in the table. At least one
packet type must be specified for each negotiation. It is recommended to
enable as many packet types as possible. Note that it is allowed to enable
packet types that are not supported by the local device.

A Connection_Handle for the new synchronous connection will be returned in
the synchronous connection complete event.

Note: The link manager may choose any combination of packet types, timing,
and retransmission window sizes that satisfy the parameters given. This may
be achieved by using more frequent transmissions of smaller packets. The link
manager may choose to set up either a SCO or an eSCO connection, if the
parameters allow, using the corresponding LMP sequences.

Note: To modify a SCO connection, use the Change Connection Packet Type
command.

Note: If the lower layers cannot achieve the exact transmit and receive
bandwidth requested subject to the other parameters, then the link shall be
rejected.

A synchronous connection may only be created when an ACL connection
already exists.

Command Parameters:

Connection_Handle:                                         2 octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Transmit_Bandwidth:                                                                  4 octets
 Value             Parameter Description

 0xXXXXXXXX        Transmit bandwidth in octets per s.

Receive_Bandwidth:                                                                   4 octets
 Value             Parameter Description

 0xXXXXXXXX        Receive bandwidth in octets per s.




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Max_Latency:                                                                               2 octets
 Value              Parameter Description

 0x0000-            Reserved for Future Use
 0x0003
 0x0004-            This is a value in milliseconds representing the upper limit of the sum of
 0xFFFE             the synchronous interval, and the size of the eSCO window, where the
                    eSCO window is the reserved slots plus the retransmission window. (See
                    Figure 8.7 in the Baseband specification)
 0xFFFF             Don't care.

Voice_Setting:                                                 2 octets (10 bits meaningful)
 Value              Parameter Description

 See Section 6.12.

Retransmission_Effort:                                                                       1 octet
 Value               Parameter Description

 0x00                No retransmissions
 0x01                At least one retransmission, optimize for power consumption.

 0x02                At least one retransmission, optimize for link quality
 0xFF                Don’t care
 All other values    Reserved for future use

Packet_Type:                                                                               2 octets
 Value              Parameter Description

 0x0001             HV1 may be used.
 0x0002             HV2 may be used.

 0x0004             HV3 may be used.
 0x0008             EV3 may be used.
 0x0010             EV4 may be used.

 0x0020             EV5 may be used.
 0x0040             2-EV3 shall not be used.
 0x0080             3-EV3 shall not be used.

 0x0100             2-EV5 shall not be used.
 0x0200             3-EV5 shall not be used.
 0x0400             Reserved for future use

 0x0800             Reserved for future use



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 Value             Parameter Description

 0x1000            Reserved for future use
 0x2000            Reserved for future use
 0x4000            Reserved for future use

 0x8000            Reserved for future use

Return Parameters:

None.

Event(s) generated (unless masked away)

When the BR/EDR Controller receives the Setup_Synchronous_Connection
command, it shall send the Command Status event to the Host. In addition,
when the LM determines the connection is established, the local BR/EDR
Controller shall send a Synchronous Connection Complete event to the local
Host, and the remote Controller will send a Synchronous Connection Complete
event or a Connection Complete event to the remote Host. The synchronous
Connection Complete event contains the Connection_Handle if this command
is successful.

If this command is used to change the parameters of an existing eSCO link, the
Synchronous Connection Changed Event is sent to both Hosts. In this case no
Connection Setup Complete Event or Connection Request Event will be sent to
either Host. This command cannot be used to change the parameters of a
SCO link.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Synchronous
Connection Complete event will indicate that this command has been
completed.




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7.1.27 Accept Synchronous Connection Request Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Accept_                 0x0029      BD_ADDR,
 Synchronous_                            Transmit_Bandwidth,
 Connection_Request
                                         Receive_Bandwidth,
                                         Max_Latency,
                                         Voice_Setting,
                                         Retransmission_Effort,
                                         Packet_Type

Description:

The Accept_Synchronous_Connection_Request command is used to accept
an incoming request for a synchronous connection and to inform the local Link
Manager about the acceptable parameter values for the synchronous
connection.

The Command shall only be issued after a Connection_Request event with link
type SCO or eSCO has occurred. Connection_Request event contains the
BD_ADDR of the device requesting the connection. The decision to accept a
connection must be taken before the connection accept timeout expires on the
local device.

If the ACL link has encryption enabled using AES-CCM and the Controller
cannot establish an eSCO transport (e.g. the Host parameters restricting the
packet types to only SCO packet types), the Controller shall return the error
code Connection Rejected Due to Security Reasons (0x0E) and a SCO
transport will not be established.

The parameter set of the Accept_Synchronous_Connection_Request
command is the same as for the Setup_Synchronous_Connection command.
The Transmit_Bandwidth and Receive_Bandwidth values are required values
for the new link and shall be met. The Max_Latency is an upper bound to the
acceptable latency for the Link, as defined in Section 7.1.26
Setup_Synchronous_Connection and shall not be exceeded. Voice_Setting
specifies the encoding in the same way as in the
Setup_Synchronous_Connection command and shall be met. The
Retransmission_Effort parameter shall be set to indicate the required behavior,
or to don't care. The Packet_Type parameter is a bit mask specifying the
synchronous packet types that are allowed on the link and shall be met. The
reserved bits in the Packet_Type field shall be set to one. If all bits are set in
the packet type field then all packets types shall be allowed.

If the Link Type of the incoming request is SCO, then only the
Transmit_Bandwidth, Max_Latency, Voice_Settings, and Packet_Type fields
are valid.

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If the Connection_Request event is masked away, and the BR/EDR Controller
is not set to auto-accept this connection attempt, the BR/EDR Controller will
automatically reject it. If the Controller is set to automatically accept the
connection attempt, the LM should assume default parameters. In that case
the Synchronous Connection Complete Event shall be generated, unless
masked away.

Command Parameters:

BD_ADDR:                                                                                6 octets
 Value                     Parameter Description

 0xXXXXXXXXXXXXX           BD_ADDR of the device requesting the connection

Transmit_Bandwidth:                                                                     4 octets
 Value                           Parameter Description

 0x00000000-0xFFFFFFFE           Maximum possible transmit bandwidth in octets per s.
 0xFFFFFFFF                      Don’t care

Default: Don’t care

Receive_Bandwidth:                                                                      4 octets
 Value                           Parameter Description

 0x00000000-0xFFFFFFFE           Maximum possible receive bandwidth in octets per s.

 0xFFFFFFFF                      Don’t care

Default: Don’t care

Max_Latency:                                                                            2 octets
 Value             Parameter Description

 0x0000-           Reserved for Future Use
 0x0003
 0x0004-           This is a value in milliseconds representing the upper limit of the sum of
 0xFFFE            the synchronous interval and the size of the eSCO window, where the
                   eSCO window is the reserved slots plus the retransmission window.
 0xFFFF            Don't care.

Default: Don't care




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Voice_Settings:                                                2 octets (10 bits meaningful)
 Value              Parameter Description

 See Section 6.12.

Default: When links are auto-accepted, the values written by the
Write_Voice_Settings command are used.

Retransmission_Effort:                                                                        1 octet
 Value               Parameter Description

 0x00                No retransmissions
 0x01                At least one retransmission, optimize for power consumption.

 0x02                At least one retransmission, optimize for link quality.
 All other values    Reserved for future use

 0xFF                Don’t care

Default: Don't care

Packet_Type:                                                                                2 octets
 Value              Parameter Description

 0x0001             HV1 may be used.
 0x0002             HV2 may be used.
 0x0004             HV3 may be used.

 0x0008             EV3 may be used.
 0x0010             EV4 may be used.
 0x0020             EV5 may be used.

 0x0040             2-EV3 shall not be used.
 0x0080             3-EV3 shall not be used
 0x0100             2-EV5 shall not be used.

 0x0200             3-EV5 shall not be used.
 0x0400             Reserved for future use
 0x0800             Reserved for future use

 0x1000             Reserved for future use
 0x2000             Reserved for future use
 0x4000             Reserved for future use

 0x8000             Reserved for future use

Default: 0x003F - means all defined packet types may be used.

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Return Parameters:

None.

Event(s) generated (unless masked away):

The Accept_Synchronous_Request command shall cause the Command
Status event to be sent from the BR/EDR Controller when the BR/EDR
Controller starts setting up the connection. When the link setup is complete, the
local BR/EDR Controller shall send a Synchronous Connection Complete
event to its Host, and the remote BR/EDR Controller will send a Connection
Complete event or a Synchronous Connection Complete event to the Host.
The Synchronous Connection Complete will contain the Connection_Handle
and the link parameters if the setup is successful.

Note: No Command Complete event will be sent by the Host Controller as the
result of this command. Instead, the Synchronous Connection Complete or
Connection Complete event will indicate that this command has been
completed.




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7.1.28 Reject Synchronous Connection Request Command


                                               Command
 Command                            OCF
                                               Parameters              Return Parameters

 HCI_Reject_Synchronous_            0x002A     BD_ADDR,
 Connection_Request                            Reason

Description:

The Reject_Synchronous_Connection_Request command is used to decline
an incoming request for a synchronous link. It shall only be issued after a
Connection Request Event with Link Type equal to SCO or eSCO has
occurred. The Connection Request Event contains the BD_ADDR of the device
requesting the connection. The Reason parameter will be returned to the
initiating Host in the Status parameter of the Synchronous connection complete
event on the remote side.

Command Parameters:

BD_ADDR:                                                                              6 octets
 Value                     Parameter Description

 0xXXXXXXXXXXXXX           BD_ADDR of the device requesting the connection

Reason:                                                                                 1 octet
 Value             Parameter Description

 0x0D-0x0F         Host Reject Error Code. See [Vol 2] Part D, Error Codes for error codes
                   and descriptions.

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Host Controller receives the
Reject_Synchronous_Connection_Request, it shall send a Command Status
event to the Host. When the setup is terminated, the local Controller shall send
a Synchronous Connection Complete event to its Host, and the remote
Controller will send a Connection Complete event or a Synchronous
Connection Complete event to the Host with the Reason code from this
command.

Note: No Command complete event will be sent by the Host Controller to
indicate that this command has been completed. Instead, the Synchronous
Connection Complete or Connection Complete event will indicate that this
command has been completed.

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7.1.29 IO Capability Request Reply Command


 Command                  OCF        Command Parameters            Return Parameters

 HCI_IO_Capability_       0x002B     BD_ADDR,                      Status,
 Request_Reply                       IO_Capability,                BD_ADDR
                                     OOB_Data_Present,
                                     Authentication_Requirements

Description:
The IO_Capability_Request_Reply command is used to reply to an IO
Capability Request event from the Controller, and specifies the current I/O
capabilities of the Host. This includes the Host input, output and out-of-band
(OOB) capabilities.

If an authenticated link key is not required by the Host, the Authentication
Requirements parameter may be set to one of the following:
• MITM Protection Not Required – No Bonding
• MITM Protection Not Required – Dedicated Bonding
• MITM Protection Not Required – General Bonding

If both Hosts set the Authentication_Requirements parameter to one of the
above values, the Link Managers shall use the numeric comparison
authentication procedure and the Hosts shall use the Just Works Association
Model.

If an authenticated link key is required by the Host, the Authentication
Requirements parameter shall be set to one of the following:
• MITM Protection Required – No Bonding
• MITM Protection Required – Dedicated Bonding
• MITM Protection Required – General Bonding

In addition, the following requirements apply:
• If one or both Hosts set the Authentication Requirements parameter to one
  of the above values, the Link Managers shall use the IO_Capability
  parameter to determine the authentication procedure.
• A Host that sets the Authentication_Requirements parameter to one of the
  above values shall verify that the resulting Link Key type meets the security
  requirements requested.
If the Host has received OOB authentication data from a device with the same
BD_ADDR sent in the IO Capabilty Request event, then the
OOB_Data_Present parameter shall be set to:
• "P-192 OOB authentication data from remote device present" when the Host
  has received only P-192 OOB data,


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• "P-256 OOB authentication data from remote device present" when the Host
  has received only P-256 OOB data, or
• "P-192 and P-256 OOB authentication data from remote device present"
  when the Host has received both P-192 and P-256 OOB data.
Otherwise OOB_Data_Present shall be set to "OOB authentication data not
present".

Command Parameters:

BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

IO_Capability:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x00                     DisplayOnly
 0x01                     DisplayYesNo
 0x02                     KeyboardOnly

 0x03                     NoInputNoOutput
 All other values         Reserved for future use

OOB_Data_Present:                                                               Size: 1 Octet
 Value                    Parameter Description

 0x00                     OOB authentication data not present
 0x01                     P-192 OOB authentication data from remote device present
 0x02                     P-256 OOB authentication data from remote device present

 0x03                     P-192 and P-256 OOB authentication data from remote device present
 All other values         Reserved for future use




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Authentication_Requirements:                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     MITM Protection Not Required – No Bonding. Numeric comparison
                          with automatic accept allowed.
 0x01                     MITM Protection Required – No Bonding. Use IO Capabilities to deter-
                          mine authentication procedure
 0x02                     MITM Protection Not Required – Dedicated Bonding. Numeric compar-
                          ison with automatic accept allowed.

 0x03                     MITM Protection Required – Dedicated Bonding. Use IO Capabilities to
                          determine authentication procedure
 0x04                     MITM Protection Not Required – General Bonding. Numeric Compari-
                          son with automatic accept allowed.
 0x05                     MITM Protection Required – General Bonding. Use IO capabilities to
                          determine authentication procedure.
 All other values         Reserved for future use

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     IO_Capability_Request_Reply command succeeded
 0x01 - 0xFF              IO_Capability_Request_Reply command failed. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                       Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

Event(s) generated (unless masked away):

When the IO_Capability_Request_Reply command has completed, a
Command Complete event shall be generated. When the device is the initiator
of Secure Simple Pairing, an IO Capability Response event shall be generated.
Additionally, when the OOB_Data_Present parameter indicates that OOB
authentication data from the remote device is present, the Remote OOB Data
Request event shall be generated.




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7.1.30 User Confirmation Request Reply Command


                                                                            Return
 Command                            OCF            Command Parameters       Parameters

 HCI_User_Confirmation_             0x002C         BD_ADDR                  Status,
 Request_Reply                                                              BD_ADDR

Description:

The User_Confirmation_Request_Reply command is used to reply to a User
Confirmation Request event and indicates that the user selected "yes". It is
also used when the Host has no input and no output capabilities.

Command Parameters:

BD_ADDR:                                                                     Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 X

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     User_Confirmation_Request_Reply command succeeded

 0x01 - 0xFF              User_Confirmation_Request_Reply command failed. See [Vol 2] Part
                          D, Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                     Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 X

Event(s) generated (unless masked away):

When the User_Confirmation_Request_Reply command has completed, a
Command Complete event shall be generated.




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7.1.31 User Confirmation Request Negative Reply Command


                                                                                  Return
 Command                             OCF            Command Parameters            Parameters

 HCI_User_Confirmation_              0x002D         BD_ADDR                       Status,
 Request_Negative_Reply                                                           BD_ADDR

Description:

The User_Confirmation_Request_Negative_Reply command is used to reply
to a User Confirmation Request event and indicates that the user selected
"no". This command shall cause the initiating Link Manager to transmit an
LMP_Numeric_Comparison_Failed PDU and terminate Secure Simple Pairing.

Command Parameters:

BD_ADDR:                                                                           Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

Return Parameters:

Status:                                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00                     User_Confirmation_Request_Negative_Reply command succeeded
 0x01 - 0xFF              User_Confirmation_Request_Negative_Reply command failed. See
                          [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                           Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

Event(s) generated (unless masked away):

When the User_Confirmation_Request_Negative_Reply command has
completed, a Command Complete event shall be generated.




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7.1.32 User Passkey Request Reply Command


                                                            Command              Return
 Command                                         OCF        Parameters           Parameters

 HCI_User_Passkey_Request_Reply                  0x002E     BD_ADDR,             Status,
                                                            Numeric_Value        BD_ADDR

Description:

The User_Passkey_Request_Reply command is used to reply to a User
Passkey Request event and specifies the Numeric_Value (passkey) entered by
the user to be used in the Secure Simple Pairing process.

Command Parameters:

BD_ADDR:                                                                        Size: 6 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXX              BD_ADDR of remote device involved in simple pairing process

Numeric_Value:                                                                  Size: 4 Octets
 Value                    Parameter Description

 0x00000000 -             Numeric value (passkey) entered by user. Valid values are decimal
 0x000F423F               000000 - 999999.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     User_Passkey_Request_Reply command succeeded

 0x01 - 0xFF              User_Passkey_Request_Reply command failed. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                        Size: 6 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXX              BD_ADDR of remote device involved in simple pairing process

Event(s) generated (unless masked away):

When the User_Passkey_Request_Reply command has completed, a
Command Complete event shall be generated.




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7.1.33 User Passkey Request Negative Reply Command


                                                                             Return
 Command                            OCF           Command Parameters         Parameters

 HCI_User_Passkey_                  0x002F        BD_ADDR                    Status,
 Request_Negative_Reply                                                      BD_ADDR

Description:

The User_Passkey_Request_Negative_Reply command is used to reply to a
User Passkey Request event and indicates the Host could not provide a
passkey. This command shall cause the initiating Link Manager to transmit an
LMP_Passkey_Entry_Failed PDU and terminate Simple Pairing.

Command Parameters:

BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     User_Passkey_Request_Negative_Reply command succeeded
 0x01 - 0xFF              User_Passkey_Request_Negative_Reply command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

Event(s) generated (unless masked away):

When the User_Passkey_Negative_Request_Reply command has completed,
a Command Complete event shall be generated.




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7.1.34 Remote OOB Data Request Reply Command


                                                                           Return
 Command                            OCF           Command Parameters       Parameters

 HCI_Remote_OOB_                    0x0030        BD_ADDR,                 Status,
 Data_Request_Reply                               C,                       BD_ADDR
                                                  R

Description:

The Remote_OOB_Data_Request_Reply command is used to reply to a
Remote OOB Data Request event with the C and R values received via an
OOB transfer from a remote device identified by BD_ADDR. If the R value is
not present in the received OOB data from the remote device, the Host shall
set R to zeros.

Command Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device from which the C and R values were
 XX                       received

C:                                                                        Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             Simple Pairing Hash C
 XXXXXXXXXXXX
 XXXXXXXXXX

R:                                                                        Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             Simple Pairing Randomizer R
 XXXXXXXXXXXX
 XXXXXXXXXX

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x00                     Remote_OOB_Data_Request_Reply command succeeded
 0x01 - 0xFF              Remote_OOB_Data_Request_Reply command failed. See [Vol 2] Part
                          D, Error Codes for a list of error codes and descriptions.




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BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             BD_ADDR of remote device involved in simple pairing process
 XX

Event(s) generated (unless masked away):

When the Remote_OOB_Data_Request_Reply command has completed, a
Command Complete event shall be generated.




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7.1.35 Remote OOB Data Request Negative Reply Command


                                                                                Return
 Command                            OCF           Command Parameters            Parameters

 HCI_Remote_OOB_Data_               0x0033        BD_ADDR                       Status,
 Request_Negative_Reply                                                         BD_ADDR

Description:

The Remote_OOB_Data_Request_Negative_Reply command is used to reply
to a Remote OOB Data Request event that the Host does not have the C and R
values associated with the remote device identified by BD_ADDR.

Command Parameters:

BD_ADDR:                                                                         Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of remote device

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value                    Parameter Description

 0x00                     Remote_OOB_Data_Request_Negative_Reply command suc-
                          ceeded
 0x01 - 0xFF              Remote_OOB_Data_Request_Negative_Reply command failed. See
                          [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                         Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            BD_ADDR of remote device involved in simple pairing process
 X

Event(s) generated (unless masked away):

When the Remote_OOB_Data_Request_Negative_Reply command has
completed, a Command Complete event shall be generated.




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7.1.36 IO Capability Request Negative Reply Command


                                                                              Return
 Command                           OCF            Command Parameters          Parameters

 HCI_IO_Capability_                0x0034         BD_ADDR,                    Status,
 Request_Negative_Reply                           Reason                      BD_ADDR

Description:

The IO_Capability_Request_Negative_Reply command shall be used to reject
a pairing attempt after an HCI IO Capability Request event has been received
by the Host. The reason for the rejection is given in the Reason parameter. The
error code Simple Pairing not Supported by Host (0x37) shall not be used in
the Reason parameter.

Command Parameters:

BD_ADDR:                                                                       Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of remote device involved in the Simple Pairing process

Reason:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Reason that Simple Pairing rejected. See [Vol 2] Part D, Error Codes
                          for a list of error codes and descriptions.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     IO_Capability_Request_Negative_Reply command succeeded.
 0x01 - 0xFF              IO_Capability_Request_Negative_Reply command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

BD_ADDR:                                                                       Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            BD_ADDR of remote device involved in Simple Pairing process
 X

Event(s) generated (unless masked away):

When the IO_Capability_Request_Negative_Reply command has completed,
a Command Complete event shall be generated.


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7.1.37 Create Physical Link Command


                                                                                 Return
 Command                       OCF            Command Parameters                 Parameters

 HCI_Create_Physical_Link      0x0035         Physical_Link_Handle,
                                              Dedicated_AMP_Key_Length,
                                              Dedicated_AMP_Key_Type,
                                              Dedicated_AMP_Key

Description:

When this command is received by an AMP Controller, the AMP Controller
shall initiate a connection to another AMP Controller. The AMP_ASSOC used
to create the physical link shall be written to the AMP Controller using the Write
Remote AMP_ASSOC command following the Create Physical Link command.

The Dedicated_AMP_Key_Length parameter is used by the Host to indicate
the number of valid octets of the Dedicated_AMP_Key. The AMP shall use the
supplied key to generate a session key in order to encrypt all data on the
indicated physical link. The method by which to do this is AMP type specific.
The Dedicated_AMP_Key_Type parameter indicates whether the key is an
authenticated combination key, an unauthenticated combination key, or a
debug combination key.

Command Parameters:

Physical _Link_Handle:                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical Link Handle identifying the physical link to be created (see
                          Section 5.3.2).

 0x00                     Reserved for Future Use

Dedicated_AMP_Key_Length:                                                        Size: 1 Octet
 Value                    Parameter Description

 0                        Reserved for Future Use

 0xXX                     See Assigned Numbers.
 33-255                   Reserved for Future Use




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Dedicated_AMP_Key_Type:                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Reserved for Future Use
 0x01                     Reserved for Future Use
 0x02                     Reserved for Future Use

 0x03                     Debug combination keys
 0x04                     Unauthenticated combination key
 0x05                     Authenticated combination key

 0x06                     Reserved for Future Use
 All other values         Reserved for future use

Dedicated_AMP_Key:                                        Size: AMP_Key_Length Octets
 Value                    Parameter Description

 0xXX...XX                Dedicated AMP Key for the associated AMP. The Dedicated AMP
                          Key is a multi-octet integer.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the AMP Controller receives the Create Physical Link command, the
AMP Controller shall send the Command Status event to the Host. When the
AMP Controller has determined underlying connection details to populate the
AMP_ASSOC the AMP Controller shall generate a Channel Selected event to
the Host. After the Channel Selected event is received the Host uses the Read
Local AMP_ASSOC command to obtain the capabilities and status of the local
AMP. The AMP_ASSOC is sent to the remote AMP to be used to perform a
matching Accept Physical Link command. When the connection has been
completed the AMP Controller on both devices that form the connection shall
send a Physical Link Complete event to its Host. The Physical Link Complete
event indicates to the Host whether the physical link creation was successful.
This sequence must be completed before any Logical Links using this
Controller can be created.

If the AMP physical link security establishment process fails (for instance, if the
two AMP Controllers do not have matching keys) then the physical link shall be
disconnected and the Physical Link Complete event shall be sent to the Host
with the Authentication Failure error code see [Vol 2] Part D, Error Codes.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Physical Link
Complete event will indicate that this command has been completed.

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Host Controller Interface Functional Specification

7.1.38 Accept Physical Link Command


                                                                                  Return
 Command                          OCF        Command Parameters                   Parameters

 HCI_Accept_Physical_Link         0x0036     Physical_Link_Handle,
                                             Dedicated_AMP_Key_Length,
                                             Dedicated_AMP_Key_Type,
                                             Dedicated_AMP_Key

Description:

When this command is received by an AMP Controller, the AMP Controller
shall attempt to accept a connection request from the initiating BR/EDR
Controller's AMP Controller. The AMP_ASSOC used to create the physical link
shall be written to the AMP Controller using the Write_Remote_AMP_ASSOC
command after issuing the Accept_Physical_Link command.

The Dedicated_AMP_Key_Length parameter is used by the Host to indicate
the number of valid octets of the Dedicated_AMP_Key. The AMP shall use the
Dedicated_AMP_Key for AMP type-specific security functions. The
Dedicated_AMP_Key_Type parameter indicates whether the key is an
authenticated combination key, an unauthenticated combination key, or a
debug combination key.

Command Parameters:

Physical_Link_Handle:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical Link Handle identifying the physical link to be created.

Dedicated_AMP_Key_Length:                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Reserved for Future Use
 0xXX                     See Assigned Numbers.

 33-255                   Reserved for Future Use




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Dedicated_AMP_Key_Type                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Reserved for Future Use
 0x01                     Reserved for Future Use
 0x02                     Reserved for Future Use

 0x03                     Debug combination key
 0x04                     Authenticated combination key
 0x05                     Unauthenticated combination key

 0x06                     Reserved for Future Use
 All other values         Reserved for future use

Dedicated_AMP_Key                           Size: Dedicated_AMP_Key_Length Octets
 Value                    Parameter Description

 0xXX..XX                 Dedicated AMP Key for the associated AMP. The Dedicated AMP
                          Key is a multi-octet integer.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the AMP Controller receives the Accept Physical Link command, the
AMP Controller shall send the Command Status event to the Host. When the
connection has been completed, the AMP Controller shall send a Physical Link
Complete event to the Host. The Physical Link Complete event indicates to the
Host whether the link creation was successful. This sequence must be
completed before any Logical Links can be created.

If communication is not established within the Connection Accept Timeout then
a Physical Link Complete event shall be returned with a Status value of
Connection Accept Timeout Exceeded (0x10).

If the AMP-specific security establishment process fails (for instance, if the two
AMP Controllers do not have matching keys) then the physical link shall be
deleted and the Physical Link Complete event sent to the Host with the
Authentication Failure error code.

No Physical Link Complete event shall be sent before the security is established.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Physical Link
Complete event will indicate that this command has been completed.



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7.1.39 Disconnect Physical Link Command


                                                                                  Return
 Command                       OCF            Command Parameters                  Parameters

 HCI_Disconnect_Physi-         0x0037         Physical_Link_Handle,
 cal_Link                                     Reason

Description:

When the Disconnect_Physical_Link command is received by an AMP
Controller, the AMP Controller shall terminate the AMP physical link indicated
by the Physical_Link_Handle parameter. The Reason parameter indicates the
reason for ending the connection. The remote AMP Controller will receive the
Reason parameter in the Disconnection Physical Link Complete event.

All logical links on a physical link should be disconnected before the physical
link is disconnected.

The Disconnect_Physical_Link command may be used to cancel the creation
of a physical link, before the Physical Link Complete event for this link has
been generated.

Command Parameters:

Physical_Link_Handle:                                                             Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle identifying the physical link which has been
                          created.

Reason:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x05,                    Authentication Failure error code (0x05), Other End Terminated
 0x13-0x16,               Connection error codes (0x13-0x16), Unsupported Remote Feature
                          error code (0x1A), see [Vol 2] Part D, Error Codes for a list of error
 0x1A                     codes and descriptions.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the AMP Controller receives the Disconnect Physical Link command, a
Command Status event shall be sent to the Host. The Disconnection Physical
Link Complete event occurs at both Hosts when the termination of the
connection has completed, and indicates that this command has been
completed.

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The Disconnect Physical Link command may be used to cancel the creation of
a physical link. In such a case, the Physical Link Complete event for the
corresponding Create Physical Link or Accept Physical Link command shall
always be sent. The Physical Link Complete event shall be sent after the
Disconnection Physical Link Complete event, in the case the Controller has
already issued a Command Status event for the Disconnect Physical Link
command, thus treating it as a creation cancel. If the cancellation was
successful, the Physical Link Complete event shall be generated with the error
code Unknown Connection Identifier (0x02).

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Disconnection
Physical Link Complete event will indicate that this command has been
completed.




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7.1.40 Create Logical Link Command


                                                                                 Return
 Command                       OCF            Command Parameters                 Parameters

 HCI_Create_Logical_Link       0x0038         Physical_Link_Handle,
                                              Tx_Flow_Spec,
                                              Rx_Flow_Spec

Description:

When the Create_Logical_Link command is received by an AMP Controller,
the AMP Controller shall create a logical connection to the remote AMP
Controller identified by the physical link handle.

The Flow_Spec structures define the traffic requirements of the link. The Flow
Spec ID values in the Tx/Rx parameters identify the logical link. Note: The
Tx_Flow_Spec and Rx_Flow_Spec parameter only use 16 out of the 18 octets
of the L2CAP Extended Flow Spec. The Type and Length fields from the
L2CAP format are not included in the Tx_Flow_Spec and Rx_Flow_Spec
parameters. A logical link can be created between two devices that are already
joined by a physical link. In order to create a logical link the Create Logical Link
command is called on one device (the initiating device) and the Accept Logical
Link command is called on the other device (the responding device). The
Flow_Spec information must match for the two calls (see [Vol 3] Part A, Section
5.6 and Section 9.1).

The AMP Controller may refuse to create the logical link if it has insufficient
resources. If the AMP Controller is already in the process of creating one or
more logical links, it may reject a Create Logical Link command with the error
code Controller Busy (0x3A). When the Host receives this error code, it shall
wait until a previous logical link creation completes before requesting another
logical link.

The logical link must be completed before the Logical Link Accept Timeout
expires on the local AMP.

Command Parameters:

Physical_Link_Handle:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical Link Handle over which the logical link is to be established.

Tx_Flow_Spec:                                                                Size: 16 Octets
 Parameter Description

 Extended Flow Specification value defining transmitted traffic.
 See [Vol 3] Part A, Section 5.6.

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Rx_Flow_Spec:                                                                 Size: 16 Octets
 Parameter Description

 Extended Flow Specification value defining received traffic. (See [Vol 3] Part A, Section 5.6).

Return Parameters:

None.

Event(s) generated (unless masked away):

When the AMP Controller receives the Create Logical Link command, the AMP
Controller shall send the Command Status event to the Host. In addition, when
the AMP Controller determines the logical link is established, the AMP
Controller shall send a Logical Link Complete event to each Host. The Logical
Link Complete event contains the Logical Link Handle, Physical Link Handle,
and the corresponding flow spec ID if this command is successful.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Logical Link
Complete event will indicate that this command has been completed.




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7.1.41 Accept Logical Link Command


                                                                                 Return
 Command                       OCF            Command Parameters                 Parameters

 HCI_Accept_Logical_Link       0x0039         Physical_Link_Handle,
                                              Tx_Flow_Spec,
                                              Rx_Flow_Spec

Description:

When the Accept_Logical_Link command is received by an AMP Controller,
the AMP Controller shall attempt to accept a logical link with the remote AMP
Controller identified by the Physical_Link_Handle.

The Flow_Spec structures define the traffic requirements of the link. The Flow
Spec ID in the Tx/Rx parameter values identify the logical link.

A logical link may be created between two devices which are already joined by
a physical link. In order to create a logical link the Create Logical Link
command is called on one device (the initiating device) and the Accept Logical
Link command is called on the other device (the responding device). The
Flow_Spec information must match for the two calls. See [Vol 3] Part A,
Section 5.6 and Section 9.1 for how this is achieved.

The AMP Controller may refuse to create the logical link if it has insufficient
resources.

The logical link must be completed before the Logical Link Accept Timeout
expires on the local AMP.

Command Parameters:

Physical_Link_Handle:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical Link Handle over which the logical link is to be established.

Tx_Flow_Spec:                                                                 Size: 16 Octets
 Parameter Description

 Extended Flow Specification value defining transmitted traffic (see [Vol 3] Part A, Section
 5.6).

Rx_Flow_Spec:                                                                 Size: 16 Octets
 Parameter Description

 Extended Flow Specification value defining received traffic (see [Vol 3] Part A, Section 5.6).



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Return Parameters:

None.

Event(s) generated (unless masked away):

When the AMP Controller receives the Accept Logical Link command, the AMP
Controller shall send the Command Status event to the Host. In addition, when
the AMP Controller determines the logical link is established, it shall send a
Logical Link Complete event to each Host. This action shall occur on both
Controllers that form the connection. The Logical Link Complete event contains
the Logical Link Handle if this command is successful.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Logical Link
Complete event will indicate that this command has been completed.




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7.1.42 Disconnect Logical Link Command


                                                                               Return
 Command                       OCF            Command Parameters               Parameters

 HCI_                          0x003A         Logical_Link_Handle
 Disconnect_Logical_Link

Description:

When the Disconnect_Logical_Link command is received by an AMP
Controller it shall terminate the designated logical link on the local Controller.
The Logical_Link_Handle command parameter indicates which logical link is to
be disconnected.

Command Parameters:

Logical_Link_Handle:                                 Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Logical_Link_Handle for the logical link being disconnected.
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When the AMP Controller receives the Disconnect Logical Link command it
shall send the Command Status event to the Host. The Disconnection Logical
Link Complete event shall be sent to the Host when the termination of the
logical link has completed, and indicates that this command has been
completed.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Disconnection
Logical Link Complete event will indicate that this command has been
completed.




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7.1.43 Logical Link Cancel Command


 Command                       OCF          Command Parameters         Return Parameters

 HCI_Logical_Link_Cancel       0x003B       Physical_Link_Handle,      Status,
                                            Tx_Flow_Spec_ID            Physical_Link_Handle,
                                                                       Tx_Flow_Spec_ID

Description:

When the Logical_Link_Cancel command is received by an AMP Controller,
the AMP Controller shall cancel the ongoing logical link creation process
identified by the Physical_Link_Handle and the Tx_Flow_Spec_ID.

Command Parameters:

Physical_Link_Handle:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle over which the logical link is to be estab-
                          lished.

Tx_Flow_Spec_ID:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Flow Spec ID identifying the logical link whose creation is being
                          cancelled. This matches the ID field of the Tx_Flow_Spec in the
                          matching Create or Accept Logical Link command.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Logical Link Cancel command succeeded

 0x01-0xFF                Logical Link Cancel command failed. See [Vol 2] Part D, Error
                          Codes for list of error codes.

Physical_Link_Handle:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical Link Handle identifying the logical link creation being can-
                          celled.




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Tx_Flow_Spec_ID:                                                               Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Flow Spec ID identifying the logical link creation being cancelled.
                          This matches the ID field of the Tx_Flow_Spec in the matching Cre-
                          ate or Accept Logical Link command.

Event(s) generated (unless masked away):

When the Logical Link Cancel command has completed, a Command
Complete event shall be generated.

If the logical link is already established by the Controller, but the AMP
Controller has not yet sent the Logical Link Complete event, then the local
Controller shall detach the logical link and return a Command Complete event
with the status "Success".

If the logical link is already established, and the Logical Link Complete event
has been sent, then the AMP Controller shall return a Command Complete
event with the error code Connection already exists (0x0B).

If the Logical Link Cancel command is sent to the AMP Controller without a
preceding Create or Accept Logical Link command to the same device, the
Controller shall return a Command Complete event with the error code
Unknown Connection Identifier (0x02).

The Logical Link Complete event for the corresponding Create Logical Link
Command shall always be sent. The Logical Link Complete event shall be sent
after the Command Complete event for the Logical Link Cancel command. If
the cancellation was successful, the Logical Link Complete event shall be
generated with the error code Unknown Connection Identifier (0x02).




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7.1.44 Flow Spec Modify Command


                                                                                 Return
 Command                       OCF            Command Parameters                 Parameters

 HCI_Flow_Spec_Modify          0x003C         Handle,
                                              Tx_Flow_Spec,
                                              Rx_Flow_Spec

Description:

When the Flow_Spec_Modify command is received by an AMP Controller, the
AMP Controller shall modify the Flow Spec of the logical connection identified
by the Handle.

Matching commands will be issued on both devices. This ensures that both
Controllers have full knowledge of the traffic requirements on this logical link, in
both directions. Each Controller is responsible for meeting its own Tx Flow
specification.

The Flow_Spec_Modify command cannot be used to change the Identifier or
the Service Type fields of an existing Handle's Flow Spec.

Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle if the receiving Controller is a BR/EDR Control-
                          ler.
                          Logical_Link_Handle, if the receiving Controller is an AMP Control-
                          ler, identifying the logical link to be changed.
                          Range: 0x0000-0x0EFF (0x0F00 - 0x0FFF Reserved for future use

Tx_Flow_Spec:                                                                 Size: 16 Octets
 Parameter Description

 Extended Flow Specification value defining transmitted traffic (see [Vol 3] Part A, Section
 5.6).

Rx_Flow_Spec:                                                                 Size: 16 Octets
 Parameter Description

 Extended Flow Specification value defining received traffic (see [Vol 3] Part A, Section 5.6).

Return Parameters:

None.


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Event(s) generated (unless masked away):

When the AMP Controller receives the Flow Spec Modify command, the AMP
Controller shall send the Command Status event to the Host. When each AMP
Controller has completed the change a Flow Spec Modify Complete event shall
be sent to the Host. If the modify fails, the Controllers shall revert to previously
specified values.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Flow Spec
Modify Complete event will indicate that this command has been completed.




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7.1.45 Enhanced Setup Synchronous Connection Command


                                                                               Return
 Command                        OCF        Command Parameters                  Parameters

 HCI_Enhanced_Setup_            0x003D     Connection_Handle,
 Synchronous_Connection                    Transmit_Bandwidth,
                                           Receive_Bandwidth,
                                           Transmit_Coding_Format,
                                           Receive_Coding_Format,
                                           Transmit_Codec_Frame_Size,
                                           Receive_Codec_Frame_Size,
                                           Input_Bandwidth,
                                           Output_Bandwidth,
                                           Input_Coding_Format,
                                           Output_Coding_Format,
                                           Input_Coded_Data_Size,
                                           Output_Coded_Data_Size,
                                           Input_PCM_Data_Format,
                                           Output_PCM_Data_Format,
                                           Input_PCM_Sample_Payload_
                                           MSB_Position,
                                           Output_PCM_Sample_Payload_
                                           MSB_Position,
                                           Input_Data_Path,
                                           Output_Data_Path,
                                           Input_Transport_Unit_Size,
                                           Output_Transport_Unit_Size,
                                           Max_Latency,
                                           Packet_Type,
                                           Retransmission_Effort

Description:

The Enhanced_Setup_Synchronous_Connection command adds a new, or
modifies an existing, synchronous logical transport (SCO or eSCO) on a
physical link depending on the Connection_Handle parameter specified. If the
Connection_Handle refers to an ACL link, then a new synchronous logical
transport shall be added. If the Connection_Handle refers to an existing
synchronous logical transport (eSCO only), then this link shall be modified. The
parameters are specified per connection. This synchronous connection can be
used to transfer synchronous voice data or transparent synchronous data. If
the ACL link has encryption enabled using AES-CCM and the Controller
cannot establish an eSCO transport (e.g. the Host parameters restricting the
packet types to SCO packet types), the Controller shall return the error code
Connection Rejected Due to Security Reasons (0x0E) and a SCO transport will
not be established.

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When used to setup a new synchronous logical transport, the Connection_Handle
parameter shall specify an ACL connection with which the new synchronous
connection shall be associated. The other parameters relate to the negotiation of
the link, and may be reconfigured during the lifetime of the link.

The following terms are used to describe the four different audio paths:
Transmit, Receive, Input and Output. The Transmit and Receive paths are from
the perspective of the local Controller’s radio. The Input and Output paths are
from the perspective of the Controller.




          Local Host                                               Remote Host
        INPUT




                                                                   INPUT
                    OUTPUT




                                                                                OUTPUT
                                 RECEIVE              TRANSMIT
       Local Controller                                          Remote Controller

                             TRANSMIT                RECEIVE




The following parameters are used to describe the transmit and receive paths
over the air:
• The Transmit_Bandwidth and Receive_Bandwidth parameters specify how
  much bandwidth shall be available for transmitting and for receiving data.
  The Host shall set the Transmit_Bandwidth and Receive_Bandwidth
  parameters to be equal or shall set one of them to be zero and the other
  non-zero.
• The Transmit_Coding_Format and Receive_Coding_Format parameters
  specify the coding format used for transmitted or received data. The Host
  shall set the Transmit_Coding_Format and Receive_Coding_Formats to be
  equal. Note: When the Transmit_Coding_Format and
  Receive_Coding_Format parameters are not equal to CVSD, A-law or µ-law,
  the Link Manager shall map these to Transparent air mode.
• The Transmit_Codec_Frame_Size and Receive_Codec_Frame_Size
  parameters specify the frame size produced by the codecs in the context of
  over-the-air coding. The over-the-air packet size should have the following
  relationship with the codec frame size:

                Packet_Size = Frame_Size * N, or
                Packet_Size = Frame_Size / N
   where N is an integer.

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The following parameters are used to describe the coding format used prior to
encapsulating over the audio data transport path:
• The Input_Bandwidth and Output_Bandwidth specify the nominal rate at
  which the Host or Controller transfers data (note that for HCI transports this
  excludes the HCI header). The Host shall either set the Input_Bandwidth
  and Output_Bandwidth to be equal, or shall set one of them to be zero and
  the other non-zero.
• The Input_Coding_Format and Output_Coding_Format parameters specify
  the coding format used over the transport. The Host shall set the
  Input_Coding_Format and Output_Coding_Format to be equal.
• The Input_Coded_Data_Size and Output_Coded_Data_Size specify the
  number of bits in each sample or frame of data. For CVSD, a frame of data
  shall be 8 bits.
• The Input_PCM_Data_Format and Output_PCM_Data_Format parameters
  specify the data format over the transport for linear samples. It is ignored
  when the data is encoded in any other way.
• The Input_PCM_Sample_Payload_MSB_Position and
  Output_PCM_Sample_Payload_MSB_Position parameters indicate, for
  linear samples, how many bit positions that the MSB of the sample is away
  from starting at the MSB of the data. It is ignored when the data is encoded
  in any other way. For example, if Input_Coded_Data_Size =16 and
  Input_PCM_Sample_Payload_MSB_Position = 3, then each sample is
  actually only 13 bits, the MSB (which is the sign bit for signed formats) is bit
  12 (counting from the LSB at bit 0), and the contents of bits 13, 14, and 15 of
  each sample are ignored.

The following parameters describe the audio data transport path
characteristics:
• The Input_Data_Path and Output_Data_Path parameters specify the audio
  data transport path. When set to 0x00, the audio data path shall be over the
  HCI transport. When set to 0xFF, audio test mode (see Section 7.6.2) is
  selected. Note: This is only applicable during test mode. When set to 0x01-
  0xFE, the audio data path shall use non-HCI transport data paths (e.g. PCM
  interface) with logical transport channel numbers. The meanings of these
  logical transport channel numbers are vendor specific.
• The Input_Transport_Unit_Size and Output_Transport_Unit_Size indicate
  how many bits are in each unit of data delivered by the audio data transport.
  Except for HCI, the meaning of “unit” depends on the Host transport used
  and, therefore, is vendor specific (for example, on a PCM transport this
  should indicate the number of bits transported per sync pulse, and would
  normally be 8 or 16). The Host shall set the Input_Transport_Unit_Size and
  Output_Transport_Unit_Size to be equal. For HCI Host transport the Host
  shall set them to 0.




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The following parameters are used by the Link Manager to negotiate the
synchronous transport:
• The Max_Latency parameter specifies an upper limit to the time in
  milliseconds between the eSCO (or SCO) instants, plus the size of the
  retransmission window, plus the length of the reserved synchronous slots for
  this logical transport.
• The Packet_Type parameter is a bitmap specifying which synchronous
  packet types may be used by the Link Manager in the negotiation of the link
  parameters. Multiple packet types are specified by bitwise OR of the packet
  type codes in the table. At least one packet type shall be specified for each
  negotiation. It is recommended to enable as many packet types as possible.
  Note: It is allowed to enable packet types that are not supported by the local
  device.
• The Retransmission_Effort parameter specifies the extra resources that are
  allocated to this connection if a packet may need to be retransmitted. The
  Retransmission_Effort parameter shall be set to indicate the required
  behavior, or to “Don’t care”.

The following restrictions shall apply:
• Either both the Transmit_Coding_Format and Input_Coding_Format shall be
  “transparent” or neither shall be. If both are “transparent”, the
  Transmit_Bandwidth and the Input_Bandwidth shall be the same and the
  Controller shall not modify the data sent to the remote device.
• Either both the Receive_Coding_Format and Output_Coding_Format shall
  be “transparent” or neither shall be. If both are “transparent”, the
  Receive_Bandwidth and the Output_Bandwidth shall be the same and the
  Controller shall not modify the data sent to the Host.
A Connection_Handle for the new synchronous connection will be returned in
the Synchronous Connection Complete event if the command is used to set up
a new synchronous connection.
When used to modify an existing synchronous logical transport, only the
Packet_Type, Retransmission_Effort and Max_Latency parameters may be
modified.
Note: The Link Manager may choose any combination of packet types, timing,
and retransmission window sizes that satisfy the parameters given. This may
be achieved by using more frequent transmissions of smaller packets. The link
manager may choose to set up either a SCO or an eSCO connection, if the
parameters allow, using the corresponding LMP sequences.
Note: To modify a SCO connection, use the Change_Connection_Packet_Type
command.
Note: If the lower layers cannot achieve the exact transmit and receive
bandwidth requested subject to the other parameters, or cannot achieve the
transcoding or resampling implied by the parameters, then the link creation or


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link modification shall be rejected. A synchronous connection may only be
created when an ACL connection already exists.
The data at the audio data transport interface shall be treated as a stream of
bits. The bits in each unit of data delivered by the transport shall be taken LSB
first, and the units shall be taken in the order of delivery. The samples, encoded
samples, frames, or other entity to be transcoded for transmission, or that has
been transcoded after reception, shall be taken in the order of transmission or
reception, with each entity taken LSB first.
For example, if the audio data transport uses 16 bit units and the Input or
Output coding format is A-law, each unit represents two samples with the first
in the 8 least significant bits and the second in the 8 most significant bits.
Similarly, if the audio data transport uses 8 bit units and the Input or Output
coding format is linear PCM with a size of 16 bits, the 8 least significant bits of
each sample are transmitted first.

Command Parameters:

Connection_Handle:                                     Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000 – 0x0EFF (all other values reserved for future use)

Transmit_Bandwidth:                                                             Size: 4 Octets
 Value                    Parameter Description

 0x00000000 –             Transmit bandwidth in octets per s.
 0xFFFFFFFE
 0xFFFFFFFF               Don’t care

Receive_Bandwidth:                                                              Size: 4 Octets
 Value                    Parameter Description

 0x00000000 –             Receive bandwidth in octets per s.
 0xFFFFFFFE
 0xFFFFFFFF               Don’t care

Transmit_Coding_Format:                                                         Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format
 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier
                          Octet 3-4: Vendor specific codec ID.


                          Shall be ignored if octet 0 of Transmit_Coding_Format is not 0xFF.


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Receive_Coding_Format:                                                            Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format
 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.
                          Shall be ignored if octet 0 of Receive_Coding_Format is not 0xFF.

Transmit_Codec_Frame_Size:                                                        Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Range: 0x0001-0xFFFF, the actual size of the over-the-air encoded
                          frame in octets.
 0x0000                   Reserved for Future Use

Receive_Codec_Frame_Size:                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Range: 0x0001-0xFFFF, the actual size of the over-the-air encoded
                          frame in octets.

 0x0000                   Reserved for Future Use

Input_Bandwidth:                                                                  Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               Host to Controller nominal data rate in octets per s.

Output_Bandwidth:                                                                 Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               Controller to Host nominal data rate in octets per s.

Input_Coding_Format:                                                              Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format
 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.
                          Shall be ignored if octet 0 of Input_Coding_Format is not 0xFF.

Output_Coding_Format:                                                             Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format



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 Value                    Parameter Description

 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.


                          Shall be ignored if octet 0 of Output_Coding_Format is not 0xFF.

Input_Coded_Data_Size:                                                          Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Size, in bits, of the sample or framed data

Output_Coded_Data_Size:                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Size, in bits, of the sample or framed data

Input_PCM_Data_Format:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Assigned Numbers for PCM_Data_Format

Output_PCM_Data_Format:                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Assigned Numbers for PCM_Data_Format

Input_PCM_Sample_Payload_MSB_Position:                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     The number of bit positions within an audio sample that the MSB of
                          the sample is away from starting at the MSB of the data.

Output_PCM_Sample_Payload_MSB_Position:                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     The number of bit positions within an audio sample that the MSB of
                          the sample is away from starting at the MSB of the data.




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Input_Data_Path:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x00                     HCI
 0x01-0xFE                Logical_Channel_Number. The meaning of the logical channels will be
                          vendor specific.
 0xFF                     Audio test mode

Output_Data_Path:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x00                     HCI
 0x01-0xFE                Logical_Channel_Number. The meaning of the logical channels will
                          be vendor specific.

 0xFF                     Audio test mode

Input_Transport_Unit_Size:                                                         Size: 1 Octet
 Value                    Parameter Description

 1 to 255                 The number of bits in each unit of data received from the Host over the
                          audio data transport.
 0                        Not applicable (implied by the choice of audio data transport)

Output_Transport_Unit_Size:                                                        Size: 1 Octet
 Value                    Parameter Description

 1 to 255                 The number of bits in each unit of data sent to the Host over the audio
                          data transport.
 0                        Not applicable (implied by the choice of audio data transport)

Max_Latency:                                                                     Size: 2 Octets
 Value                    Parameter Description

 0x0000 – 0x0003          Reserved for Future Use
 0x0004 – 0xFFFE          The value in milliseconds representing the upper limit of the sum of
                          the synchronous interval, and the size of the eSCO window, where the
                          eSCO window is the reserved slots plus the retransmission window.
                          (See Figure 8.9 in [Vol 2] Part B, Baseband Specification)

 0xFFFF                   Don’t care.




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Packet_Type:                                                                       Size: 2 Octets
 Value                    Parameter Description

 0x0001                   HV1 may be used
 0x0002                   HV2 may be used
 0x0004                   HV3 may be used

 0x0008                   EV3 may be used
 0x0010                   EV4 may be used
 0x0020                   EV5 may be used

 0x0040                   2-EV3 shall not be used
 0x0080                   3-EV3 shall not be used
 0x0100                   2-EV5 shall not be used

 0x0200                   3-EV5 shall not be used
 0x0400                   Reserved for future use

 0x0800                   Reserved for future use
 0x1000                   Reserved for future use
 0x2000                   Reserved for future use

 0x4000                   Reserved for future use
 0x8000                   Reserved for future use

Note: 0x003F means all packet types may be used.

Retransmission_Effort:                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00                     No retransmission
 0x01                     At least one retransmission, optimize for power consumption

 0x02                     At least one retransmission, optimize for link quality
 All other values         Reserved for future use
 0xFF                     Don’t care

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the
Enhanced_Setup_Synchronous_Connection command, it shall send the
Command Status event to the Host. In addition, when the LM determines that


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the connection is established, the local BR/EDR Controller shall send a
Synchronous Connection Complete event to the local Host, and the remote
Controller will send a Synchronous Connection Complete event or a
Connection Complete event to the remote Host. The Synchronous Connection
Complete event contains the Connection_Handle if this command is
successful.

This command cannot be used to change the parameters of a SCO link.

Note: No Command Complete event will be sent by the local BR/EDR
Controller to indicate that this command has been completed. Instead, the
Synchronous Connection Complete event (for a new connection setup) or
Synchronous Connection Changed event (for modifying an existing
synchronous link) will indicate that this command has been completed.




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7.1.46 Enhanced Accept Synchronous Connection Request Command


                                                                            Return
 Command             OCF        Command Parameters                          Paramters

 HCI_Enhanced_       0x003E     BD_ADDR,
 Accept_                        Transmit_Bandwidth,
 Synchronous_
 Connection_                    Receive_Bandwidth,
 Request                        Transmit_Coding_Format,
                                Receive_Coding_Format,
                                Transmit_Codec_Frame_Size,
                                Receive_Codec_Frame_Size,
                                Input_Bandwidth,
                                Output_Bandwidth,
                                Input_Coding_Format,
                                Output_Coding_Format,
                                Input_Coded_Data_Size,
                                Output_Coded_Data_Size,
                                Input_PCM_Data_Format,
                                Output_PCM_Data_Format,
                                Input_PCM_Sample_Payload_MSB_Position,
                                Output_PCM_Sample_Payload_MSB_Position,
                                Input_Data_Path,
                                Output_Data_Path,
                                Input_Transport_Unit_Size,
                                Output_Transport_Unit_Size,
                                Max_Latency,
                                Packet_Type,
                                Retransmission_Effort

Description:

The Enhanced_Accept_Synchronous_Connection_Request command is used
to accept an incoming request for a synchronous connection and to present the
local Link Manager with the acceptable parameter values for the synchronous
connection. This command shall only be issued after a Connection_Request
event, with link type SCO or eSCO, has occurred. A Connection_Request
event contains the BD_ADDR of the device requesting the connection. The
command to accept a connection must be received by the Controller before the
connection accept timeout expires on the local device.

The parameter set of the
Enhanced_Accept_Synchronous_Connection_Request command is the same
as for the Enhanced_Setup_Synchronous_Connection command except for
the Connection_Handle in the Enhanced_Setup_Synchronous_Connection


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command, which is replaced by the BD_ADDR in the
Enhanced_Accept_Synchronous_Connection_Request command. Please
refer to Section 7.1.45 for their descriptions.

If the Link Type of the incoming request is SCO, then the Retransmission Effort
parameter shall be ignored.

If the Connection_Request event is masked away, the BR/EDR Controller will
automatically reject it. A Controller shall not be configured to auto accept a
synchronous connection.

If the ACL link has encryption enabled using AES-CCM and the Controller
cannot establish an eSCO transport (e.g. the Host parameters restricting the
packet types to SCO packet types), the Controller shall return the error code
Connection Rejected Due to Security Reasons (0x0E) and a SCO transport will
not be established.

Command Parameters:

BD_ADDR:                                                                        Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXX             BD_ADDR of the device requesting the connection
 X

Transmit_Bandwidth:                                                             Size: 4 Octets
 Value                    Parameter Description

 0x00000000 –             Transmit bandwidth in octets per s.
 0xFFFFFFFE

 0xFFFFFFFF               Don’t care

Receive_Bandwidth:                                                              Size: 4 Octets
 Value                    Parameter Description

 0x00000000 –             Receive bandwidth in octets per s.
 0xFFFFFFFE

 0xFFFFFFFF               Don’t care

Transmit_Coding_Format:                                                         Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format
 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.


                          Shall be ignored if octet 0 of Transmit_Coding_Format is not 0xFF.


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Receive_Coding_Format:                                                             Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format

 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.


                          Shall be ignored if octet 0 of Receive_Coding_Format is not 0xFF.

Transmit_Codec_Frame_Size:                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Range: 0x0001-0xFFFF, the actual size of the over-the-air encoded
                          frame in octets.

 0x0000                   Reserved for Future Use

Receive_Codec_Frame_Size:                                                          Size: 2 Octets
 Value                    Parameter Description
 0xXXXX                   Range: 0x0001-0xFFFF, the actual size of the over-the-air encoded
                          frame in octets.

 0x0000                   Reserved for Future Use

Input_Bandwidth:                                                                   Size: 4 Octets
 Value                     Parameter Description

 0xXXXXXXXX                Host to Controller nominal data rate in octets per s.

Output_Bandwidth:                                                                  Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               Controller to Host nominal data rate in octets per s.

Input_Coding_Format:                                                               Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format
 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.
                          Shall be ignored if octet 0 of Input_Coding_Format is not 0xFF.




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Output_Coding_Format:                                                           Size: 5 Octets
 Value                    Parameter Description

 Octet 0                  See Assigned Numbers for Coding_Format
 Octets 1-4               Octet 1-2: Company ID, see Assigned Numbers for Company Identifier.
                          Octet 3-4: Vendor specific codec ID.
                          Shall be ignored if octet 0 of Output_Coding_Format is not 0xFF.

Input_Coded_Data_Size:                                                          Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Size, in bits, of the sample or framed data

Output_Coded_Data_Size:                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Size, in bits, of the sample or framed data

Input_PCM_Data_Format:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Assigned Numbers for PCM_Data_Format

Output_PCM_Data_Format:                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Assigned Numbers for PCM_Data_Format

Input_PCM_Sample_Payload_MSB_Position:                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     The number of bit positions within an audio sample that the MSB of
                          the sample is away from starting at the MSB of the data.

Output_PCM_Sample_Payload_MSB_Position:                                           Size: 1 Octet
 Value                    Parameter Description
 0xXX                     The number of bit positions within an audio sample that the MSB of
                          the sample is away from starting at the MSB of the data.

InputData_Path:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x00                     HCI
 0x01-0xFE                Logical_Channel_Number. The meaning of the logical channels will
                          be vendor specific.


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 Value                    Parameter Description

 0xFF                     Audio test mode

Output_Data_Path:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x00                     HCI
 0x01-0xFE                Logical_Channel_Number. The meaning of the logical channels will
                          be vendor specific.

 0xFF                     Audio test mode

Input_Transport_Unit_Size:                                                         Size: 1 Octet
 Value                    Parameter Description

 1 to 255                 The number of bits in each unit of data received from the Host over
                          the audio data transport.

 0                        Not applicable (implied by the choice of audio data transport)


Output_Transport_Unit_Size:                                                        Size: 1 Octet
 Value                    Parameter Description

 1 to 255                 The number of bits in each unit of data sent to the Host over the audio
                          data transport.
 0                        Not applicable (implied by the choice of audio data transport)

Max_Latency:                                                                     Size: 2 Octets
 Value                    Parameter Description

 0x0000 – 0x0003          Reserved for Future Use
 0x0004 – 0xFFFE          The value in milliseconds representing the upper limit of the sum of
                          the synchronous interval, and the size of the eSCO window, where
                          the eSCO window is the reserved slots plus the retransmission win-
                          dow. (See Baseband Specification Figure 8.9)
 0xFFFF                   Don’t care.

Packet_Type:                                                                     Size: 2 Octets
 Value                    Parameter Description

 0x0001                   HV1 may be used
 0x0002                   HV2 may be used

 0x0004                   HV3 may be used
 0x0008                   EV3 may be used

 0x0010                   EV4 may be used

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 Value                    Parameter Description

 0x0020                   EV5 may be used
 0x0040                   2-EV3 shall not be used
 0x0080                   3-EV3 shall not be used

 0x0100                   2-EV5 shall not be used
 0x0200                   3-EV5 shall not be used
 0x0400                   Reserved for future use

 0x0800                   Reserved for future use
 0x1000                   Reserved for future use
 0x2000                   Reserved for future use

 0x4000                   Reserved for future use
 0x8000                   Reserved for future use

Note: 0x003F means all packet types may be used.

Retransmission_Effort:                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00                     No retransmission
 0x01                     At least one retransmission, optimize for power consumption

 0x02                     At least one retransmission, optimize for link quality
 All other values         Reserved for future use
 0xFF                     Don’t care

Return Parameters:

None.

Event(s) generated (unless masked away):

The Enhanced_Accept_Synchronous_Request command requests the local BR/
EDR Controller to start setting up the connection. When this action commences,
the Command Status event shall be sent by the BR/EDR Controller. When the link
setup is complete, the BR/EDR Controller shall send a Synchronous Connection
Complete event to its Host, and the remote BR/EDR Controller will send a
Connection Complete event, or a Synchronous Connection Complete event, to its
Host. The Synchronous Connection Complete will contain the Connection_Handle
and the link parameters if the setup is successful.

Note: No Command Complete event will be sent by the local Controller as the
result of this command. Instead, the Synchronous Connection Complete or
Connection Complete event will indicate that this command has been completed.

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7.1.47 Truncated Page Command


                                                                            Return
 Command                       OCF            Command Parameters            Parameters

 HCI_Truncated_Page            0x003F         BD_ADDR,
                                              Page_Scan_Repetition_Mode,
                                              Clock_Offset

Description:

The Truncated_Page command is used to page the BR/EDR Controller with
the specified BD_ADDR and then abort the paging sequence after an ID
response has been received. See [Vol 2] Part B, Section 8.3.3 for additional
information.

The Page_Scan_Repetition_Mode parameter specifies the page scan repetition
mode supported by the remote BR/EDR Controller with the BD_ADDR. This is
the information that was acquired during the inquiry process.

The Clock_Offset parameter is the difference between the local BR/EDR
Controller’s own clock and the clock of the remote BR/EDR Controller with
BD_ADDR. Only bits 2 through 16 of the difference are used, and they are
mapped to this parameter as bits 0 through 14 respectively. A
Clock_Offset_Valid_Flag, located in bit 15 of the Clock_Offset parameter,
indicates if the Clock Offset is valid or not.

Command Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Device to page

Page_Scan_Repetition_Mode:                                                  Size: 1 Octet
 Value                    Parameter Description

 0x00                     R0
 0x01                     R1

 0x02                     R2
 All other values         Reserved for future use.




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Clock_Offset:                                                  Size: 2 Octets
 Value                    Parameter Description

 Bits 14-0                Bits 16-2 of CLKNslave-CLK
 Bit 15                   Clock Offset is valid

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Truncated_Page command the BR/
EDR Controller shall send the Command Status event to the Host. In addition,
when the Truncated Page procedure has completed, the BR/EDR Controller
shall send a Truncated Page Complete event to the Host.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Truncated Page
Complete event will indicate that this command has been completed.




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7.1.48 Truncated Page Cancel Command


                                                                                Return
 Command                       OCF            Command Parameters                Parameters

 HCI_Truncated_Page_           0x0040         BD_ADDR                           Status,
 Cancel                                                                         BD_ADDR

Description:

The Truncated_Page_Cancel command is used to request cancellation of an
ongoing Truncated_Page process previously started by a Truncated_Page
command.

Command Parameters:

BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the device to which the Truncated Page command
                          was previously issued and that is the subject of the cancellation
                          request.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Truncated_Page_Cancel command succeeded.

 0x01-0xFF                Truncated_Page_Cancel command failed. See [Vol 2] Part D, Error
                          Codes, for error codes and descriptions

BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the device to which the Truncated Page command
                          was previously issued before and that is the subject of the cancella-
                          tion request.

Event(s) generated (unless masked away):

When the Truncated_Page_Cancel command has completed, a Command
Complete event shall be generated.

If the truncated page procedure has already completed, but the BR/EDR
Controller has not yet sent the Truncated Page Complete event, then the local
device shall return a Command Complete event with status “Success”.



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If the Truncated Page Cancel command is sent to the BR/EDR Controller
without an outstanding Truncated Page Command to the same device, the BR/
EDR Controller shall return a Command Complete event with the error code
Unknown Connection Identifier (0x02). Note that from the BR/EDR Controller
perspective this is identical to the situation where the Truncated Page
Command has already completed and the Truncated Page Complete event
already sent.




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7.1.49 Set Connectionless Slave Broadcast Command


                                                                         Return
 Command                       OCF            Command Parameters         Parameters

 HCI_Set_Connectionless        0x0041         Enable,                    Status,
 _Slave_Broadcast                             LT_ADDR,                   LT_ADDR,
                                              LPO_Allowed,
                                              Packet_Type,               Interval
                                              Interval_Min,
                                              Interval_Max,
                                              CSB_supervisionTO

Description:

The Set_Connectionless_Slave_Broadcast command controls the
Connectionless Slave Broadcast functionality in the BR/EDR Controller.
Connectionless slave broadcast mode may be enabled or disabled by the
Enable parameter. If this command is issued with Enable = 0, and the
synchronization train substate is active, then the Controller shall also exit the
synchronization train substate.

The LT_ADDR indicated in the Set_Connectionless_Slave_Broadcast shall be
pre-allocated using the HCI_Set_Reserved_LT_ADDR command. If the
LT_ADDR has not been reserved, the Unknown Connection Identifier (0x02)
error code shall be returned. If the Controller is unable to reserve sufficient
bandwidth for the requested activity, the Connection Rejected Due to Limited
Resources (0x0D) error code shall be returned.

The LPO_Allowed parameter informs the BR/EDR Controller whether it is
allowed to sleep.

The Packet_Type parameter specifies which packet types are allowed. The
Host shall either enable BR packet types only, or shall enable EDR and DM1
packet types only.

The Interval_Min and Interval_Max parameters specify the range from which
the BR/EDR Controller must select the Connectionless Slave Broadcast
Interval. The selected Interval is returned.

Command Parameters:

Enable:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x00                     Disabled

 0x01                     Enabled
 All other values         Reserved for future use




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LT_ADDR:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR used for Connectionless Slave Broadcast
 All other values         Reserved for future use

LPO_Allowed:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x00                     BR/EDR Controller shall not sleep (that is, clock accuracy shall be
                          equal to or better than ± 20 ppm)
 0x01                     BR/EDR Controller may sleep (that is, clock accuracy shall be
                          equal to or better than ± 250 ppm)
 All other values         Reserved for future use

Packet_Type:                                                                  Size: 2 Octets
 Value                    Parameter Description

 0x0001                   Reserved for future use

 0x0002                   2-DH1 shall not be used
 0x0004                   3-DH1 shall not be used
 0x0008                   DM1 may be used

 0x0010                   DH1 may be used
 0x0020                   Reserved for future use
 0x0040                   Reserved for future use

 0x0080                   Reserved for future use
 0x0100                   2-DH3 shall not be used
 0x0200                   3-DH3 shall not be used

 0x0400                   DM3 may be used
 0x0800                   DH3 may be used
 0x1000                   2-DH5 shall not be used

 0x2000                   3-DH5 shall not be used
 0x4000                   DM5 may be used
 0x8000                   DH5 may be used




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Interval_Min:                                                                  Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Minimum interval between Connectionless Slave Broadcast pack-
                          ets in slots.
                          Range: 0x0002-0xFFFE; only even values are valid

Interval_Max:                                                                  Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Maximum interval between Connectionless Slave Broadcast pack-
                          ets in slots.
                          Range: 0x0002-0xFFFE; only even values are valid

CSB_supervisionTO:                                                             Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Duration in slots after which the BR/EDR Controller reports a Con-
                          nectionless Slave Broadcast Timeout event if it is unable to transmit
                          a Connectionless Slave Broadcast packet.
                          Range: 0x0002-0xFFFE; only even values are valid

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_Connectionless_Slave_Broadcast command succeeded.

 0x01-0xFF                Set_Connectionless_Slave_Broadcast command failed. See [Vol 2]
                          Part D, Error Codes, for error codes and descriptions.

LT_ADDR:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR used for Connectionless Slave Broadcast

 All other values         Reserved for future use

Interval:                                                                      Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Actual interval between Connectionless Slave Broadcast packets in
                          slots.
                          Range: 0x0002-0xFFFE; only even values are valid




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Event(s) generated (unless masked away):

When the Set_Connectionless_Slave_Broadcast command has completed, a
Command Complete event shall be generated.

If the BR/EDR Controller is unable to transmit a Connectionless Slave
Broadcast packet for CSB_supervisionTO slots, it shall generate a
Connectionless Slave Broadcast Timeout event.




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7.1.50 Set Connectionless Slave Broadcast Receive Command


                                                                              Return
 Command                       OCF            Command Parameters              Parameters

 HCI_Set_Connectionless_       0x0042         Enable,                         Status,
 Slave_Broadcast_Receive                      BD_ADDR,                        BD_ADDR,
                                              LT_ADDR,                        LT_ADDR
                                              Interval,
                                              Clock_Offset,
                                              Next_Connectionless_
                                              Slave_Broadcast_Clock,
                                              CSB_supervisionTO,
                                              Remote_Timing_Accuracy,
                                              Skip,
                                              Packet_Type,
                                              AFH_Channel_Map

Description:

The Set_Connectionless_Slave_Broadcast_Receive command controls the
reception of Connectionless Slave Broadcast packets in the BR/EDR Controller
of a Connectionless Slave Broadcast slave. If the Enable parameter is set to
Disabled, the BR/EDR Controller does not attempt to receive Connectionless
Slave Broadcast packets. If the Enable parameter is set to Enabled, the BR/
EDR Controller starts attempting to receive Connectionless Slave Broadcast
packets on the specified LT_ADDR.

The Interval parameter specifies the interval of the Connectionless Slave
Broadcast to be used by the BR/EDR Controller.

The Skip parameter specifies the number of consecutive Connectionless Slave
Broadcast instants which the receiver may skip after successfully receiving a
Connectionless Slave Broadcast packet.

The Packet_Type parameter specifies which packet types are allowed. The
Host shall either enable BR packet types only or shall enable EDR and DM1
packet types only.

The AFH_Channel_Map parameter is the AFH channel map used by the
master for the PBD logical link, and is obtained by the slave’s Host from the
Synchronization Train Received event.




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Command Parameters:

Enable:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Disabled
 0x01                     Enabled

 All other values         Reserved for future use

BD_ADDR:                                                                     Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Connectionless Slave Broadcast transmitter

LT_ADDR:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR to use for receiving Connectionless Slave Broadcast
                          messages

 All other values         Reserved for future use

Interval:                                                                    Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Interval between Connectionless Slave Broadcast packets instants
                          in slots.
                          Range: 0x0002-0xFFFE; only even values are valid

Clock_Offset:                                        Size: 4 Octets (28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               (CLKNslave – CLK) modulo 228

Next_Connectionless_Slave_Broadcast_Clock:Size: 4 Octets (28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               CLK for next Connectionless Slave Broadcast instant

CSB_supervisionTO:                                                           Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Duration in slots to continue listening for Connectionless Slave
                          Broadcast packets after the last successfully received Connection-
                          less Slave Broadcast packet.
                          Range: 0x0002-0xFFFE; only even values are valid



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Remote_Timing_Accuracy:                                                       Size: 1 Octet
 Value                    Parameter Description

 N = 0xXX                 Timing accuracy of the master in ppm. Typical values are 20ppm
                          and 250ppm.

Skip:                                                                         Size: 1 Octet
 Value                    Parameter Description

 N = 0xXX                 Number of Connectionless Slave Broadcast instants to skip after
                          successfully receiving a Broadcast packet.

Packet_Type:                                                                Size: 2 Octets
 Value                    Parameter Description

 0x0001                   Reserved for future use

 0x0002                   2-DH1 shall not be used
 0x0004                   3-DH1 shall not be used
 0x0008                   DM1 may be used

 0x0010                   DH1 may be used
 0x0020                   Reserved for future use
 0x0040                   Reserved for future use

 0x0080                   Reserved for future use
 0x0100                   2-DH3 shall not be used
 0x0200                   3-DH3 shall not be used

 0x0400                   DM3 may be used
 0x0800                   DH3 may be used
 0x1000                   2-DH5 shall not be used

 0x2000                   3-DH5 shall not be used
 0x4000                   DM5 may be used
 0x8000                   DH5 may be used




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AFH_Channel_Map:                                     Size: 10 Octets (79 Bits Meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               This parameter contains 80 1-bit fields.
 XXXXXXXXXX               The nth such field (in the range 0 to 78) contains the value for
 XX                       channel n:
                          0: channel n is unused
                          1: channel n is used
                          The most significant bit (bit 79) is reserved for future use
                          At least Nmin channels shall be marked as used (see [Vol 2] Part B,
                          Section 2.3.1)

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_Connectionless_Slave_Broadcast_Receive command suc-
                          ceeded.

 0x01-0xFF                Set_Connectionless_Slave_Broadcast_Receive command failed.
                          See [Vol 2] Part D, Error Codes, for error codes and descriptions.

BD_ADDR:                                                                        Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Connectionless Slave Broadcast transmitter

LT_ADDR:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR used for receiving Connectionless Slave Broadcast mes-
                          sages
 All other values         Reserved for future use

Event(s) generated (unless masked away):

When the Set_Connectionless_Slave_Broadcast_Receive command has been
received, a Command Complete event shall be generated. Completion of the
Set_Connectionless_Slave_Broadcast_Receive command does not require
reception of a Connectionless Slave Broadcast packet. If the BR/EDR
Controller does not receive a Connectionless Slave Broadcast packet for
CSB_supervisionTO slots, it shall generate a Connectionless Slave Broadcast
Timeout event.




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7.1.51 Start Synchronization Train Command


                                                        Command          Return
 Command                                       OCF      Parameters       Parameters

 HCI_Start_Synchronization_Train               0x0043

Description:

The Start_Synchronization_Train command controls the Synchronization Train
functionality in the BR/EDR Controller. Connectionless slave broadcast mode
must be enabled on the BR/EDR Controller before this command may be used.
If connectionless slave broadcast mode is not enabled, the Command
Disallowed (0x0C) error code shall be returned. After receiving this command
and returning a Command Status event, the Baseband starts attempting to
send synchronization train packets containing information related to the
enabled Connectionless Slave Broadcast packet timing.

Note: The AFH_Channel_Map used in the synchronization train packets is
configured by the Set_AFH_Channel_Classification command and the local
channel classification in the BR/EDR Controller.

The synchronization train packets will be sent using the parameters specified
by the latest Write_Synchronization_Train_Parameters command. The
Synchronization Train will continue until synchronization_trainTO slots (as
specified in the last Write_Synchronization_Train command) have passed or
until the Host disables the Connectionless Slave Broadcast logical transport.

Command Parameters:

None.

Return Parameters:

None

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Start_Synchronization_Train
command, it shall send a Command Status event to the Host.

Note: No Command Complete event shall be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead the Synchronization
Train Complete event will indicate that this command has been completed.




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7.1.52 Receive Synchronization Train Command


                                                                                   Return
 Command                       OCF            Command Parameters                   Parameters

 HCI_ Receive_                 0x0044         BD_ADDR,
 Synchronization_Train                        synchronization_scanTO,
                                              Sync_Scan_Window,
                                              Sync_Scan_Interval

Description:

The Receive_Synchronization_Train command requests synchronization with
the specified Connectionless Slave Broadcast Transmitter. The
Sync_Scan_Window parameter specifies the duration of each scan and the
Sync_Scan_Interval parameter specifies the interval between the start of
consecutive scan windows. A Synchronization_Train_Received event shall be
sent if a synchronization train packet is received with a non-zero
Connectionless Slave Broadcast LT_ADDR or if the BR/EDR Controller fails to
receive a synchronization train packet for synchronization_scanTO slots.

Command Parameters:

BD_ADDR:                                                                         Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Connectionless Slave Broadcast transmitter

synchronization_scanTO:                                                          Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Duration in slots to search for the synchronization train
                          Shall be greater than or equal to Sync_Scan_Window; only even
                          values are valid

Sync_Scan_Window:                                                                Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Duration in slots to listen for a synchronization train packet on a sin-
                          gle frequency
                          Range: 0x0022-0xFFFE; only even values are valid




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Sync_Scan_Interval:                                                         Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Duration in slots between the start of consecutive scan windows
                          Shall be greater than or equal to Sync_Scan_Window+0x0002;
                          only even values are valid

Return Parameters:

None.

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Receive_Synchronization_Train
command, it shall send a Command Status event to the Host. In addition, when
the BR/EDR Controller receives, or fails to receive within the duration specified
by synchronization_scanTO, the synchronization train from the Connectionless
Slave Broadcast transmitter, it shall send a Synchronization Train Received
event to the Host.

Note: No Command Complete event shall be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead the Synchronization
Train Received event will indicate that this command has been completed.




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7.1.53 Remote OOB Extended Data Request Reply Command


                                                              Command           Return
 Command                                          OCF         Parameters        Parameters

 HCI_Remote_OOB_Extended_Data_                    0x0045      BD_ADDR,          Status,
 Request_Reply                                                C_192,            BD_ADDR
                                                              R_192,
                                                              C_256,
                                                              R_256

Description:

The Remote_OOB_Extended_Data_Request_Reply command is used to reply
to a Remote OOB Data Request event with the C and R values derived with
the P-192 public key and the C and R values associated with the P-256 public
key received via an OOB transfer from a remote device identified by
BD_ADDR. If the C_192 and R_192 values are not present in the received
OOB data from the remote device, the Host shall set C_192 and R_192 to
zeros. If the C_256 and R_256 values are not present in the received OOB
data from the remote device, the Host shall set C_256 and R_256 to zeros.

Command Parameters:

BD_ADDR:                                                                       Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            BD_ADDR of remote device from which the C and R values were
 X                        received


C_192:                                                                       Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Hash C derived from the P-192 public key.
 XXXXXXXXXXXX
 XXXXXXXXX

R_192:                                                                       Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Randomizer associated with the P-192 public key.
 XXXXXXXXXXXX
 XXXXXXXXX




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C_256:                                                                          Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Hash C derived from the P-256 public key.
 XXXXXXXXXXXX
 XXXXXXXXX

R_256:                                                                          Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Randomizer associated with the P-256 public key.
 XXXXXXXXXXXX
 XXXXXXXXX




Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     Remote_OOB_Extended_Data_Request_Reply command suc-
                          ceeded.
 0x01-0xFF                Remote_OOB_Extended_Data_Request_Reply command failed.
                          See [Vol 2] Part D, Error Codes for a list of error codes and descrip-
                          tions.

BD_ADDR:                                                                          Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            BD_ADDR of remote device from which the C and R values were
 X                        received




Event(s) generated (unless masked away):

When the Remote_OOB_Extended_Data_Request_Reply command has
completed, a Command Complete event shall be generated.




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7.2 LINK POLICY COMMANDS
The Link Policy Commands provide methods for the Host to affect how the Link
Manager manages the piconet. When Link Policy Commands are used, the LM
still controls how Bluetooth piconets and scatternets are established and
maintained, depending on adjustable policy parameters. These policy
commands modify the Link Manager behavior that can result in changes to the
link layer connections with Bluetooth remote devices.

Note: Only one ACL connection can exist between two BR/EDR Controllers,
and therefore there can only be one ACL HCI Connection_Handle for each
physical link layer Connection. The BR/EDR Controller provides policy
adjustment mechanisms to provide support for a number of different policies.
This capability allows one Bluetooth module to be used to support many
different usage models, and the same Bluetooth module can be incorporated in
many different types of BR/EDR Controllers.

For the Link Policy Commands, the OGF is defined as 0x02.

7.2.1 Hold Mode Command


 Command                  OCF       Command Parameters        Return Parameters

 HCI_Hold_Mode            0x0001    Connection_Handle,
                                    Hold_Mode_Max_Interval,
                                    Hold_Mode_Min_Interval

Description:

The Hold_Mode command is used to alter the behavior of the Link Manager,
and have it place the ACL baseband connection associated by the specified
Connection_Handle into the hold mode. The Hold_Mode_Max_Interval and
Hold_Mode_Min_Interval command parameters specify the length of time the
Host wants to put the connection into the hold mode. The local and remote
devices will negotiate the length in the hold mode. The Hold_Mode_Max_
Interval parameter is used to specify the maximum length of the Hold interval
for which the Host may actually enter into the hold mode after negotiation with
the remote device. The Hold interval defines the amount of time between when
the Hold Mode begins and when the Hold Mode is completed. The Hold_
Mode_Min_Interval parameter is used to specify the minimum length of the
Hold interval for which the Host may actually enter into the hold mode after the
negotiation with the remote device. Therefore the Hold_Mode_Min_Interval
cannot be greater than the Hold_Mode_Max_Interval. The BR/EDR Controller
will return the actual Hold interval in the Interval parameter of the Mode
Change event, if the command is successful. This command enables the Host
to support a low-power policy for itself or several other BR/EDR Controllers,
and allows the devices to enter Inquiry Scan, Page Scan, and a number of
other possible actions.

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Note: The Connection_Handle cannot be of the SCO or eSCO link type
If the Host sends data to the BR/EDR Controller with a Connection_Handle
corresponding to a connection in hold mode, the BR/EDR Controller will keep
the data in its buffers until either the data can be transmitted (the hold mode
has ended) or a flush, a flush timeout or a disconnection occurs. This is valid
even if the Host has not yet been notified of the hold mode through a Mode
Change event when it sends the data.

Note: The above is not valid for an HCI Data Packet sent from the Host to the
BR/EDR Controller on the master side where the Connection_Handle is a
Connection_Handle used for broadcast and the Broadcast_Flag is set to Active
Broadcast. The broadcast data will then never be received by slaves in hold
mode.

The Hold_Mode_Max_Interval shall be less than the Link Supervision Timeout
configuration parameter.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Hold_Mode_Max_Interval:                                                       Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Maximum acceptable number of Baseband slots to wait in Hold Mode.
                   Time Length of the Hold = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0002-0xFFFE; only even values are valid.
                   Time Range: 1.25ms - 40.9 s
                   Mandatory Range: 0x0014 to 0x8000

Hold_Mode_Min_Interval:                                                       Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Minimum acceptable number of Baseband slots to wait in Hold Mode.
                   Time Length of the Hold = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0002-0xFF00; only even values are valid
                   Time Range: 1.25 ms - 40.9 s
                   Mandatory Range: 0x0014 to 0x8000

Return Parameters:

None.



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Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Hold_Mode command, the BR/EDR
Controller shall send the Command Status event to the Host. The Mode
Change event shall occur when the Hold Mode has started and the Mode
Change event shall occur again when the Hold Mode has completed for the
specified Connection_Handle. The Mode Change event signaling the end of
the Hold Mode is an estimation of the hold mode ending if the event is for a
remote BR/EDR Controller.

Note: No Command Complete event will be sent by the Controller to
indicate that this command has been completed. Instead, only the Mode
Change event will indicate that this command has been completed. If an error
occurs after the Command Status event has occurred, then the status in the
Mode Change event shall indicate the error.




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7.2.2 Sniff Mode Command


 Command                  OCF      Command Parameters    Return Parameters

 HCI_Sniff_Mode           0x0003   Connection_Handle,
                                   Sniff_Max_Interval,
                                   Sniff_Min_Interval,
                                   Sniff_Attempt,
                                   Sniff_Timeout

Description:
The Sniff_Mode command is used to alter the behavior of the Link Manager
and have it place the ACL baseband connection associated with the specified
Connection_Handle into the sniff mode. The Connection_Handle command
parameter is used to identify which ACL link connection is to be placed in sniff
mode. The Sniff_Max_Interval and Sniff_Min_Interval command parameters
are used to specify the requested acceptable maximum and minimum periods
in the Sniff Mode. The Sniff_Min_Interval shall not be greater than the
Sniff_Max_Interval. The sniff interval defines the amount of time between each
consecutive sniff period. The BR/EDR Controller will return the actual sniff
interval in the Interval parameter of the Mode Change event, if the command is
successful. For a description of the meaning of the Sniff_Attempt and
Sniff_Timeout parameters, see [Vol 2] Part B, Section 8.7. Sniff_Attempt is
there called Nsniff attempt and Sniff_Timeout is called Nsniff timeout. This
command enables the Host to support a low-power policy for itself or several
other BR/EDR Controllers, and allows the devices to enter Inquiry Scan, Page
Scan, and a number of other possible actions.
Note: In addition, the Connection_Handle cannot be one of the synchronous
link types. If the Host sends data to the BR/EDR Controller with a
Connection_Handle corresponding to a connection in sniff mode, the BR/EDR
Controller will keep the data in its buffers until either the data can be
transmitted or a flush, a flush timeout or a disconnection occurs. This is valid
even if the Host has not yet been notified of the sniff mode through a Mode
Change event when it sends the data. Note that it is possible for the master to
transmit data to a slave without exiting sniff mode (see description in [Vol 2]
Part B, Section 8.7).
Note: The above is not valid for an HCI Data Packet sent from the Host to the
BR/EDR Controller on the master side where the Connection_Handle is a
Connection_Handle used for broadcast and the Broadcast_Flag is set to Active
Broadcast. In that case, the broadcast data will only be received by a slave in
sniff mode if that slave happens to listen to the master when the broadcast is
made.
The Sniff_Max_Interval shall be less than the Link Supervision Timeout
configuration parameter.




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Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Sniff_Max_Interval:                                                          Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Range: 0x0002 to 0xFFFE; only even values are valid
                   Mandatory Range: 0x0006 to 0x0540
                   Time = N * 0.625 ms
                   Time Range: 1.25 ms to 40.9 s

Sniff_Min_Interval:                                                          Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Range: 0x0002 to 0xFFFE; only even values are valid
                   Mandatory Range: 0x0006 to 0x0540
                   Time = N * 0.625 ms
                   Time Range: 1.25 ms to 40.9 s

Sniff_Attempt:                                                               Size: 2 Octets
 Value             Parameter Description
 N = 0xXXXX        Number of Baseband receive slots for sniff attempt.
                   Length = N* 1.25 ms
                   Range for N: 0x0001 – 0x7FFF
                   Time Range: 1.25ms - 40.9 s
                   Mandatory Range for Controller: 1 to Tsniff/2


Sniff_Timeout:                                                               Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Number of Baseband receive slots for sniff timeout.
                   Length = N * 1.25 ms
                   Range for N: 0x0000 – 0x7FFF
                   Time Range: 0 ms - 40.9 s
                   Mandatory Range for Controller: 0 to 0x0028

Return Parameters:

None.


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Event(s) generated (unless masked away):

When the BR/EDR Controller receives the Sniff_Mode command, the BR/EDR
Controller shall send the Command Status event to the Host. The Mode
Change event shall occur when the Sniff Mode has started for the specified
Connection_Handle.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead only the Mode
Change event will indicate that this command has been completed. If an error
occurs after the Command Status event has occurred, then the status in the
Mode Change event shall indicate the error.




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7.2.3 Exit Sniff Mode Command


 Command                     OCF         Command Parameters         Return Parameters

 HCI_Exit_Sniff_Mode         0x0004      Connection_Handle

Description:

The Exit_Sniff_Mode command is used to end the sniff mode for a
Connection_Handle, which is currently in sniff mode. The Link Manager will
determine and issue the appropriate LMP commands to remove the sniff mode
for the associated Connection_Handle.

Note: The Connection_Handle cannot be one of the synchronous link types.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) generated (unless masked away):

When BR/EDR Controller receives the Exit_Sniff_Mode command, the BR/
EDR Controller shall send the Command Status event to the Host. The Mode
Change event shall occur when the Sniff Mode has ended for the specified
Connection_Handle.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, only the Mode
Change event will indicate that this command has been completed.

7.2.4 This section no longer used


7.2.5 This section no longer used




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7.2.6 QoS Setup Command


                                            Command
 Command                       OCF
                                            Parameters              Return Parameters

 HCI_QoS_Setup                 0x0007       Connection_Handle,
                                            Flags,
                                            Service_Type,
                                            Token_Rate,
                                            Peak_Bandwidth,
                                            Latency,
                                            Delay_Variation

Description:

The QoS_Setup command is used to specify Quality of Service parameters for
a Connection_Handle. The Connection_Handle must be a Connection_Handle
for an ACL connection. These QoS parameter are the same parameters as
L2CAP QoS. For more detail see [Vol 3] Part A, Logical Link Control and
Adaptation Protocol Specification. This allows the Link Manager to have all of
the information about what the Host is requesting for each connection. The LM
will determine if the QoS parameters can be met. BR/EDR Controllers that are
both slaves and masters can use this command. When a device is a slave, this
command will trigger an LMP request to the master to provide the slave with
the specified QoS as determined by the LM. When a device is a master, this
command is used to request a slave device to accept the specified QoS as
determined by the LM of the master. The Connection_Handle command
parameter is used to identify for which connection the QoS request is
requested.

Command Parameters:

Connection_Handle:                                     Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Flags:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00 – 0xFF       Reserved for future use.




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Service_Type:                                                       Size: 1 Octet
 Value              Parameter Description

 0x00               No Traffic.
 0x01               Best Effort.
 0x02               Guaranteed.

 All other values   Reserved for future use.

Token_Rate:                                                       Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Token Rate in octets per s.

Peak_Bandwidth:                                                   Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Peak Bandwidth in octets per s.

Latency:                                                          Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Latency in microseconds.

Delay_Variation:                                                  Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Delay Variation in microseconds.

Return Parameters:
None.

Event(s) generated (unless masked away):
When the BR/EDR Controller receives the QoS_Setup command, the BR/EDR
Controller shall send the Command Status event to the Host. When the Link
Manager has completed the LMP messages to establish the requested QoS
parameters, the BR/EDR Controller shall send a QoS Setup Complete event to
the Host, and the event may also be generated on the remote side if there was
LMP negotiation. The values of the parameters of the QoS Setup Complete
event may, however, be different on the initiating and the remote side. The QoS
Setup Complete event returned by the BR/EDR Controller on the local side
contains the status of this command, and returned QoS parameters describing
the supported QoS for the connection.
Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the QoS Setup
Complete event will indicate that this command has been completed.

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7.2.7 Role Discovery Command


 Command                  OCF        Command Parameters        Return Parameters

 HCI_Role_Discovery       0x0009     Connection_Handle         Status, Connection_Handle,
                                                               Current_Role

Description:

The Role_Discovery command is used for a Host to determine which role the
device is performing for a particular Connection_Handle. The
Connection_Handle must be a Connection_Handle for an ACL connection.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Role_Discovery command succeeded
 0x01-0xFF         Role_Discovery command failed. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Current_Role:                                                                  Size: 1 Octet
 Value             Parameter Description

 0x00              Current Role is Master for this Connection_Handle.

 0x01              Current Role is Slave for this Connection_Handle.

Event(s) generated (unless masked away):

When the Role_Discovery command has completed, a Command Complete
event shall be generated.


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7.2.8 Switch Role Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Switch_Role             0x000B      BD_ADDR,
                                         Role

Description:

The Switch_Role command is used to switch the current BR/EDR role the
device is performing for a particular connection with another specified BR/EDR
Controller. The BD_ADDR command parameter indicates for which connection
the role switch is to be performed. The Role parameter indicates the requested
new role that the local device performs.

Note: The BD_ADDR command parameter must specify a BR/EDR Controller
for which a connection already exists.

Note: If there is an (e)SCO connection between the local device and the device
identified by the BD_ADDR parameter, an attempt to perform a role switch
shall be rejected by the local device.

Note: If the connection between the local device and the device identified by
the BD_ADDR parameter is placed in Sniff Mode, an attempt to perform a role
switch will be rejected by the local device.

Command Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR for the connected device with which a role switch is to be
 XX                   performed.

Role:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Change own Role to Master for this BD_ADDR.
 0x01              Change own Role to Slave for this BD_ADDR.

Return Parameters:
None.

Event(s) generated (unless masked away):
When the BR/EDR Controller receives the Switch_Role command, the BR/
EDR Controller shall send the Command Status event to the Host. When the
role switch is performed, a Role Change event shall occur to indicate that the
roles have been changed, and will be communicated to both Hosts.

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Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, only the Role
Change event will indicate that this command has been completed.




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7.2.9 Read Link Policy Settings Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Read_Link_Poli-         0x000C      Connection_Handle        Status,
 cy_Settings                                                      Connection_Handle,
                                                                  Link_Policy_Settings

Description:

This command will read the Link Policy setting for the specified
Connection_Handle. The Connection_Handle shall be a Connection_Handle
for an ACL connection. Section 6.18.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Link_Policy_Settings command succeeded.
 0x01-0xFF         Read_Link_Policy_Settings command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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Link_Policy_Settings                                      Size: 2 Octets
 Value             Parameter Description

 0x0000            Disable All LM Modes Default.
 0x0001            Enable Role Switch.
 0x0002            Enable Hold Mode.

 0x0004            Enable Sniff Mode.
 All other bits    Reserved for future use.

Event(s) generated (unless masked away):

When the Read_Link_Policy_Settings command has completed, a Command
Complete event shall be generated.




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7.2.10 Write Link Policy Settings Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Write_Link_             0x000D      Connection_Handle,       Status,
 Policy_Settings                         Link_Policy_Settings     Connection_Handle

Description:

This command writes the Link Policy setting for the specified
Connection_Handle. The Connection_Handle shall be a Connection_Handle
for an ACL connection. See Section 6.18.

The default value is the value set by the Write Default Link Policy Settings
Command.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Link_Policy_Settings                                                        Size: 2 Octets
 Value             Parameter Description

 0x0000            Disable All LM Modes.

 0x0001            Enable Role Switch.
 0x0002            Enable Hold Mode.
 0x0004            Enable Sniff Mode.

 All other bits    Reserved for future use.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Link_Policy_Settings command succeeded.
 0x01-0xFF         Write_Link_Policy_Settings command failed. See [Vol 2] Part D, Error
                   Codes for error codes and descriptions.




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Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Event(s) generated (unless masked away):

When the Write_Link_Policy_Settings command has completed, a Command
Complete event shall be generated.




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7.2.11 Read Default Link Policy Settings Command


                                             Command      Return
 Command                         OCF
                                             Parameters   Parameters

 HCI_Read_Default_Link_          0x000E                   Status,
 Policy_Settings                                          Default_Link_Policy_Settings

Description:

This command reads the Default Link Policy setting for all new BR/EDR
connections.

Note: See the Link Policy Settings configuration parameter for more
information. See Section 6.18.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Link_Policy_Settings command succeeded
 0x01-0xFF         Read_Link_Policy_Settings command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Default_Link_Policy_Settings                                               Size: 2 Octets
 Value             Parameter Description

 0x0000            Disable All LM Modes Default
 0x0001            Enable Role Switch
 0x0002            Enable Hold Mode

 0x0004            Enable Sniff Mode
 All other bits    Reserved for future use

Event(s) generated (unless masked away):

When the Read_Default_Link_Policy_Settings command has completed, a
Command Complete event shall be generated.




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7.2.12 Write Default Link Policy Settings Command


                                                 Command                          Return
 Command                              OCF
                                                 Parameters                       Parameters

 HCI_Write_Default_Link_Policy_       0x000F     Default_Link_Policy_Settings     Status
 Settings

Description:

This command writes the Default Link Policy configuration value. The
Default_Link_Policy_Settings parameter determines the initial value of the
Link_Policy_Settings for all new BR/EDR connections.

Note: See the Link Policy Settings configuration parameter for more
information. See Section 6.18.

Command Parameters:

Default_Link_Policy_Settings                                                    Size: 2 Octets
 Value             Parameter Description

 0x0000            Disable All LM Modes Default

 0x0001            Enable Role Switch
 0x0002            Enable Hold Mode
 0x0004            Enable Sniff Mode

 All other bits    Reserved for future use

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Link_Policy_Settings command succeeded
 0x01-0xFF         Write_Link_Policy_Settings command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Default_Link_Policy_Settings command has completed, a
Command Complete event will be generated.




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7.2.13 Flow Specification Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Flow_Specification      0x0010      Connection_Handle,
                                         Flags,
                                         Flow_direction,
                                         Service_Type,
                                         Token_Rate,
                                         Token_Bucket_Size,
                                         Peak_Bandwidth,
                                         Access Latency

Description:
The Flow_Specification command is used to specify the flow parameters for the
traffic carried over the ACL connection identified by the Connection_Handle. The
Connection_Handle must be a Connection_Handle for an ACL connection. The
Connection_Handle command parameter is used to identify for which connection
the Flow Specification is requested. The flow parameters refer to the outgoing or
incoming traffic of the ACL link, as indicated by the Flow_direction field. The Flow
Specification command allows the Link Manager to have the parameters of the
outgoing as well as the incoming flow for the ACL connection. The flow
parameters are defined in the L2CAP specification [Vol 3] Part A, Section 5.3,
Quality of Service (QoS) Option. The Link Manager will determine if the flow
parameters can be supported. BR/EDR Controllers that are both master and
slave can use this command.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000 - 0x0EFF (all other values reserved for future use)

Flags:                                                                           Size: 1 Octet
 Value             Parameter Description

 0x00 – 0xFF       Reserved for future use.

Flow_direction:                                                                  Size: 1 Octet
 Value             Parameter Description

 0x00              Outgoing Flow i.e. traffic send over the ACL connection
 0x01              Incoming Flow i.e. traffic received over the ACL connection
 0x02 – 0xFF       Reserved for future use.




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Service_Type:                                                     Size: 1 Octet
 Value             Parameter Description

 0x00              No Traffic
 0x01              Best Effort
 0x02              Guaranteed

 0x03 – 0xFF       Reserved for future use

Token Rate:                                                     Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Token Rate in octets per s

Token Bucket Size:                                              Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Token Bucket Size in octets

Peak_Bandwidth:                                                 Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Peak Bandwidth in octets per s

Access Latency:                                                 Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Latency in microseconds

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Flow_Specification command, the BR/EDR
Controller shall send the Command Status event to the Host. When the Link
Manager has determined if the Flow specification can be supported, the BR/
EDR Controller on the local BR/EDR Controller shall send a Flow Specification
Complete event to the Host. The Flow Specification Complete event returned
by the Controller on the local side contains the status of this command, and
returned Flow parameters describing the supported QoS for the ACL
connection.

Note: No Command Complete event will be sent by the BR/EDR Controller to
indicate that this command has been completed. Instead, the Flow
Specification Complete event will indicate that this command has been
completed.

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7.2.14 Sniff Subrating Command


 Command                   OCF           Command Parameters           Return Parameters

 HCI_Sniff_Subrating       0x0011        Connection_Handle,           Status,
                                         Maximum_Latency,             Connection_Handle
                                         Minimum_Remote_Timeout,
                                         Minimum_Local_Timeout

Description:

The Sniff_Subrating command specifies the parameters for sniff subrating for a
given link. The interval shall be determined from the sniff interval and the
maximum subrate latency parameters from the command. The link may have
smaller subrates and therefore lower latencies and longer timeouts than those
specified. When the sniff subrate has been exchanged a Sniff Subrating event
shall be generated. If this command is used on a link in sniff mode this shall
cause sniff subrating to be negotiated at the Link Manager, otherwise sniff
subrating shall be negotiated only after the device has entered the sniff mode.

The Connection_Handle shall be the primary Connection_Handle between the
two devices.

The Maximum Latency parameter shall define the maximum allowed sniff
subrate of the remote device.

Note: If the Host does not write the sniff subrating parameters prior to sniff
subrating being initiated by the Link Manager the default values shall be used.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                 Parameter Description

 0xXXXX                Connection_Handle
                       Range: 0x0000 – 0x0EFF (all other values reserved for future use)

Maximum_Latency:                                                             Size: 2 Octets
 Value                 Parameter Description

 N = 0xXXXX            The Maximum Latency parameter shall be used to calculate the maxi-
                       mum_sniff subrate that the remote device may use.
                       Default: Tsniff
                       Latency = N * 0.625 ms (1 Baseband slot)
                       Range for N: 0x0002 – 0xFFFE
                       Time Range: 1.25ms – 40.9 s




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Minimum_Remote_Timeout:                                                       Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Minimum base sniff subrate timeout that the remote device may use
                      Default: 0x0000
                      Latency = N * 0.625 ms (1 Baseband slot)
                      Range for N: 0x0000 – 0xFFFE
                      Time Range: 0 s - 40.9 s

Minimum_Local_Timeout:                                                        Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Minimum base sniff subrate timeout that the local device may use.
                          Default: 0x0000
                          Latency = N * 0.625 ms (1 Baseband slot)
                          Range for N: 0x0000 – 0xFFFE
                          Time Range: 0 s - 40.9 s




Return Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              The Sniff Subrating command succeeded.

 0x01 - 0xFF       Sniff Subrating command failed. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000 - 0x0EFF (all other values reserved for future use)




Event(s) generated (unless masked away)

When the Sniff_Subrating command has been received by the BR/EDR
Controller, a Command Complete event shall be generated.

A Sniff_Subrating event shall occur when the sniff subrating has been
negotiated for the specified Connection_Handle.




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7.3 CONTROLLER & BASEBAND COMMANDS
The Controller & Baseband Commands provide access and control to various
capabilities of the Bluetooth hardware. These parameters provide control of
BR/EDR Controllers and of the capabilities of the Link Manager and Baseband
in the BR/EDR Controller, the PAL in an AMP Controller, and the Link Layer in
an LE Controller. The Host can use these commands to modify the behavior of
the local Controller.

For the HCI Control and Baseband Commands, the OGF is defined as 0x03.

7.3.1 Set Event Mask Command


 Command                     OCF         Command Parameters   Return Parameters

 HCI_Set_Event_Mask          0x0001      Event_Mask           Status

Description:

The Set_Event_Mask command is used to control which events are generated
by the HCI for the Host. If the bit in the Event_Mask is set to a one, then the
event associated with that bit will be enabled. For an LE Controller, the “LE
Meta Event” bit in the Event_Mask shall enable or disable all LE events in the
LE Meta Event (see Section 7.7.65). The Host has to deal with each event that
occurs. The event mask allows the Host to control how much it is interrupted.

Command Parameters:

Event_Mask:                                                            Size: 8 Octets
 Bit      Parameter Description

 0        Inquiry Complete Event
 1        Inquiry Result Event
 2        Connection Complete Event

 3        Connection Request Event
 4        Disconnection Complete Event
 5        Authentication Complete Event

 6        Remote Name Request Complete Event
 7        Encryption Change Event
 8        Change Connection Link Key Complete Event

 9        Master Link Key Complete Event
 10       Read Remote Supported Features Complete Event
 11       Read Remote Version Information Complete Event



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 Bit      Parameter Description

 12       QoS Setup Complete Event
 13       Reserved for future use
 14       Reserved for future use

 15       Hardware Error Event
 16       Flush Occurred Event
 17       Role Change Event

 18       Reserved for future use
 19       Mode Change Event
 20       Return Link Keys Event

 21       PIN Code Request Event
 22       Link Key Request Event

 23       Link Key Notification Event
 24       Loopback Command Event
 25       Data Buffer Overflow Event

 26       Max Slots Change Event
 27       Read Clock Offset Complete Event
 28       Connection Packet Type Changed Event

 29       QoS Violation Event
 30       Page Scan Mode Change Event [deprecated]
 31       Page Scan Repetition Mode Change Event

 32       Flow Specification Complete Event
 33       Inquiry Result with RSSI Event
 34       Read Remote Extended Features Complete Event

 35       Reserved for future use
 36       Reserved for future use
 37       Reserved for future use

 38       Reserved for future use
 39       Reserved for future use
 40       Reserved for future use

 41       Reserved for future use
 42       Reserved for future use
 43       Synchronous Connection Complete Event



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 Bit      Parameter Description

 44       Synchronous Connection Changed Event
 45       Sniff Subrating Event
 46       Extended Inquiry Result Event

 47       Encryption Key Refresh Complete Event
 48       IO Capability Request Event
 49       IO Capability Response Event

 50       User Confirmation Request Event
 51       User Passkey Request Event
 52       Remote OOB Data Request Event

 53       Simple Pairing Complete Event
 54       Reserved for future use

 55       Link Supervision Timeout Changed Event
 56       Enhanced Flush Complete Event
 57       Reserved for Future Use

 58       User Passkey Notification Event
 59       Keypress Notification Event
 60       Remote Host Supported Features Notification Event

 61       LE Meta Event
 62       Reserved for future use
 63       Reserved for future use

The value with all bits set to 0 indicates that no events are specified.
The default is for bits 0 to 44 inclusive (the value 0x0000 1FFF FFFF FFFF) to
be set.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Set_Event_Mask command succeeded.
 0x01-0xFF         Set_Event_Mask command failed. See [Vol 2] Part D, Error Codes for
                   error codes and descriptions.

Event(s) generated (unless masked away):

When the Set_Event_Mask command has completed, a Command Complete
event shall be generated.


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7.3.2 Reset Command


 Command                     OCF         Command Parameters         Return Parameters

 HCI_Reset                   0x0003                                 Status

Description:

The Reset command will reset the Controller and the Link Manager on the BR/
EDR Controller, the PAL on an AMP Controller, or the Link Layer on an LE
Controller. If the Controller supports both BR/EDR and LE then the Reset
command shall reset the Link Manager, Baseband and Link Layer. The Reset
command shall not affect the used HCI transport layer since the HCI transport
layers may have reset mechanisms of their own. After the reset is completed,
the current operational state will be lost, the Controller will enter standby mode
and the Controller will automatically revert to the default values for the
parameters for which default values are defined in the specification.
Note: The Reset command will not necessarily perform a hardware reset. This
is implementation defined. On an AMP Controller, the Reset command shall
reset the service provided at the logical HCI to its initial state, but beyond this
the exact effect on the Controller device is implementation defined and should
not interrupt the service provided to other protocol stacks.
The Host shall not send additional HCI commands before the Command
Complete event related to the Reset command has been received.

Command Parameters:
None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Reset command succeeded, was received and will be executed.
 0x01-0xFF         Reset command failed. See [Vol 2] Part D, Error Codes for a list of error
                   codes and descriptions.

Event(s) generated (unless masked away):

When the reset has been performed, a Command Complete event shall be
generated.




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7.3.3 Set Event Filter Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Set_Event_Filter        0x0005      Filter_Type,             Status
                                         Filter_Condition_Type,
                                         Condition

Description:

The Set_Event_Filter command is used by the Host to specify different event
filters. The Host may issue this command multiple times to request various
conditions for the same type of event filter and for different types of event
filters. The event filters are used by the Host to specify items of interest, which
allow the BR/EDR Controller to send only events which interest the Host. Only
some of the events have event filters. By default (before this command has
been issued after power-on or Reset) no filters are set, and the
Auto_Accept_Flag is off (incoming connections are not automatically
accepted). An event filter is added each time this command is sent from the
Host and the Filter_Condition_Type is not equal to 0x00. (The old event filters
will not be overwritten). To clear all event filters, the Filter_Type = 0x00 is used.
The Auto_Accept_Flag will then be set to off. To clear event filters for only a
certain Filter_Type, the Filter_Condition_Type = 0x00 is used.

The Inquiry Result filter allows the BR/EDR Controller to filter out Inquiry
Result, Inquiry Result with RSSI, or Extended Inquiry Result events. The
Inquiry Result filter allows the Host to specify that the BR/EDR Controller only
sends Inquiry Results to the Host if the report meets one of the specified
conditions set by the Host. For the Inquiry Result filter, the Host can specify
one or more of the following Filter Condition Types:
1. Return responses from all devices during the Inquiry process
2. A device with a specific Class of Device responded to the Inquiry process
3. A device with a specific BD_ADDR responded to the Inquiry process

The Inquiry Result filter is used in conjunction with the Inquiry and Periodic
Inquiry command.

The Connection Setup filter allows the Host to specify that the Controller only
sends a Connection Complete or Connection Request event to the Host if the
event meets one of the specified conditions set by the Host. For the
Connection Setup filter, the Host can specify one or more of the following Filter
Condition Types:
1. Allow Connections from all devices
2. Allow Connections from a device with a specific Class of Device
3. Allow Connections from a device with a specific BD_ADDR


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For each of these conditions, an Auto_Accept_Flag parameter allows the Host
to specify what action should be done when the condition is met. The Auto_
Accept_Flag allows the Host to specify if the incoming connection should be
auto accepted (in which case the BR/EDR Controller will send the Connection
Complete event to the Host when the connection is completed) or if the Host
should make the decision (in which case the BR/EDR Controller will send the
Connection Request event to the Host, to elicit a decision on the connection).

The Connection Setup filter is used in conjunction with the Read/Write_
Scan_Enable commands. If the local device is in the process of a page scan,
and is paged by another device which meets one on the conditions set by the
Host, and the Auto_Accept_Flag is off for this device, then a Connection
Request event will be sent to the Host by the BR/EDR Controller. A Connection
Complete event will be sent later on after the Host has responded to the
incoming connection attempt. In this same example, if the Auto_Accept_Flag is
on, then a Connection Complete event will be sent to the Host by the
Controller. (No Connection Request event will be sent in that case.)

The BR/EDR Controller will store these filters in volatile memory until the Host
clears the event filters using the Set_Event_Filter command or until the Reset
command is issued. The number of event filters the BR/EDR Controller can
store is implementation dependent. If the Host tries to set more filters than the
BR/EDR Controller can store, the BR/EDR Controller will return the Memory
Full error code and the filter will not be installed.

Note: The Clear All Filters has no Filter Condition Types or Conditions.

Note: In the condition that a connection is auto accepted, a Link Key Request
event and possibly also a PIN Code Request event and a Link Key Notification
event could be sent to the Host by the Controller before the Connection
Complete event is sent.

If there is a contradiction between event filters, the latest set event filter will
override older ones. An example is an incoming connection attempt where
more than one Connection Setup filter matches the incoming connection
attempt, but the Auto-Accept_Flag has different values in the different filters.

Command Parameters:

Filter_Type:                                                                    Size: 1 Octet
 Value              Parameter Description

 0x00               Clear All Filters (Note: In this case, the Filter_Condition_Type and Condi-
                    tion parameters should not be given, they should have a length of 0
                    octets. Filter_Type should be the only parameter.)
 0x01               Inquiry Result.
 0x02               Connection Setup.

 All other values   Reserved for future use.


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Filter Condition Types: For each Filter Type one or more Filter Condition types
exists.

Inquiry_Result_Filter_Condition_Type:                                          Size: 1 Octet
 Value              Parameter Description

 0x00               Return responses from all devices during the Inquiry process.
                    (Note: A device may be reported to the Host in an Inquiry Result, Inquiry
                    Result with RSSI, or Extended Inquiry Result event more than once
                    during an inquiry or inquiry period depending on the implementation, see
                    description in Section 7.1.1 and Section 7.1.3)

 0x01               A device with a specific Class of Device responded to the Inquiry process.
 0x02               A device with a specific BD_ADDR responded to the Inquiry process.
 All other values   Reserved for future use

Connection_Setup_Filter_Condition_Type:                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Allow Connections from all devices.

 0x01               Allow Connections from a device with a specific Class of Device.
 0x02               Allow Connections from a device with a specific BD_ADDR.
 All other values   Reserved for future use.




Condition: For each Filter Condition Type defined for the Inquiry Result Filter
and the Connection Setup Filter, zero or more Condition parameters are
required – depending on the filter condition type and filter type.

Condition for Inquiry_Result_Filter_Condition_Type = 0x00

Condition:                                                                     Size: 0 Octet
 Value              Parameter Description

                    The Condition parameter is not used.




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Condition for Inquiry_Result_Filter_Condition_Type = 0x01

Condition:
Size: 6 Octets

Class_of_Device:                                                                 Size: 3 Octets
 Value               Parameter Description

 0x000000            Default, Return All Devices.
 0xXXXXXX            Class of Device of Interest.

Class_of_Device_Mask:                                                            Size: 3 Octets
 Value               Parameter Description

 0xXXXXXX            Bit Mask used to determine which bits of the Class of Device parameter
                     are ‘don’t care’. Zero-value bits in the mask indicate the ‘don’t care’ bits
                     of the Class of Device.

Condition for Inquiry_Result_Filter_Condition_Type = 0x02

Condition:
Size: 6 Octets

BD_ADDR:                                                                         Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR of the Device of Interest
 XX

Condition for Connection_Setup_Filter_Condition_Type = 0x00

Condition:
Size: 1 Octet

Auto_Accept_Flag:                                                                  Size:1 Octet
 Value                Parameter Description

 0x01                 Do NOT Auto accept the connection. (Auto accept is off)

 0x02                 Do Auto accept the connection with role switch disabled. (Auto accept
                      is on).
 0x03                 Do Auto accept the connection with role switch enabled. (Auto accept is
                      on).
                      Note: When auto accepting an incoming synchronous connection, no
                      role switch will be performed. The value 0x03 of the Auto_Accept_Flag
                      will then get the same effect as if the value had been 0x02.

 0x04 – 0xFF          Reserved for future use.


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Condition for Connection_Setup_Filter_Condition_Type = 0x01

Condition:
Size: 7 Octets

Class_of_Device:                                                                 Size: 3 Octets
 Value               Parameter Description

 0x000000            Default, Return All Devices.
 0xXXXXXX            Class of Device of Interest.

Class_of_Device_Mask:                                                            Size: 3 Octets
 Value               Parameter Description

 0xXXXXXX            Bit Mask used to determine which bits of the Class of Device parameter
                     are ‘don’t care’. Zero-value bits in the mask indicate the ‘don’t care’ bits
                     of the Class of Device.
                     Note: For an incoming SCO connection, if the class of device is
                     unknown then the connection will be accepted.

Auto_Accept_Flag:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x01                 Do NOT Auto accept the connection. (Auto accept is off)

 0x02                 Do Auto accept the connection with role switch disabled. (Auto accept
                      is on).
 0x03                 Do Auto accept the connection with role switch enabled. (Auto accept is
                      on).
                      Note: When auto accepting an incoming synchronous connection, no
                      role switch will be performed. The value 0x03 of the Auto_Accept_Flag
                      will then get the same effect as if the value had been 0x02.

 0x04 – 0xFF          Reserved for future use.

Condition for Connection_Setup_Filter_Condition_Type = 0x02

Condition:
Size: 7 Octets

BD_ADDR:                                                                         Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR of the Device of Interest.
 XX




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Auto_Accept_Flag:                                                               Size: 1 Octet
 Value                Parameter Description

 0x01                 Do NOT Auto accept the connection. (Auto accept is off)
 0x02                 Do Auto accept the connection with role switch disabled. (Auto accept
                      is on).
 0x03                 Do Auto accept the connection with role switch enabled. (Auto accept is
                      on). Note: When auto accepting an incoming synchronous connection,
                      no role switch will be performed. The value 0x03 of the Auto_Accept_-
                      Flag will then get the same effect as if the value had been 0x02.

 0x04 – 0xFF          Reserved for future use.




Return Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Set_Event_Filter command succeeded.

 0x01-0xFF         Set_Event_Filter command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

Event(s) generated (unless masked away):

A Command Complete event for this command shall occur when the Controller
has enabled the filtering of events. When one of the conditions are met, a
specific event shall occur.




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7.3.4 Flush Command


 Command         OCF         Command Parameters              Return Parameters

 HCI_Flush       0x0008      Connection_Handle               Status,
                                                             Connection_Handle

Description:

The Flush command is used to discard all data that is currently pending for
transmission in the Controller for the specified Connection_Handle, even if
there currently are chunks of data that belong to more than one L2CAP packet
in the Controller. Both automatically-flushable and non-automatically-flushable
packets shall be discarded (see Section 5.4.2). After this, all data that is sent to
the Controller for the same Connection_Handle will be discarded by the
Controller until an HCI Data Packet with one of the start
Packet_Boundary_Flag values (0x00 or 0x02) is received. When this happens,
a new transmission attempt can be made.

This command, when used on a BR/EDR Controller or an AMP Controller, will
allow higher-level software to control how long the baseband should try to
retransmit a baseband packet for a Connection_Handle before all data that is
currently pending for transmission in the Controller should be flushed.

Note: The Flush command is used for ACL connections only. In addition to the
Flush command, the automatic flush timers (see Section 7.3.29) can be used
to automatically flush an automatically-flushable L2CAP packet that is currently
being transmitted after the specified flush timer has expired.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Flush command succeeded.
 0x01-0xFF         Flush command failed. See [Vol 2] Part D, Error Codes for a list of error
                   codes and descriptions.




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Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Event(s) generated (unless masked away):

The Flush Occurred event shall occur once the flush is completed. A Flush
Occurred event could be from an automatic Flush or could be caused by the
Host issuing the Flush command. When the Flush command has completed, a
Command Complete event shall be generated, to indicate that the Host caused
the Flush.




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7.3.5 Read PIN Type Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Read_PIN_Type           0x0009                               Status,
                                                                  PIN_Type

Description:

The Read_PIN_Type command is used to read the PIN_Type configuration
parameter. See Section 6.13.

Command Parameters:

None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_PIN_Type command succeeded.
 0x01-0xFF         Read_PIN_Type command failed. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

PIN_Type:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Variable PIN.
 0x01              Fixed PIN.

Event(s) generated (unless masked away):

When the Read_PIN_Type command has completed, a Command Complete
event will be generated.




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7.3.6 Write PIN Type Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Write_PIN_Type          0x000A      PIN_Type                  Status

Description:

The Write_PIN_Type command is used to write the PIN Type configuration
parameter. See Section 6.13.

Command Parameters:

PIN_Type:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Variable PIN.

 0x01              Fixed PIN.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Write_PIN_Type command succeeded.
 0x01-0xFF         Write_PIN_Type command failed. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_PIN_Type command has completed, a Command Complete
event shall be generated.




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7.3.7 Create New Unit Key Command


 Command                         OCF         Command Parameters     Return Parameters

 HCI_Create_New_Unit_Key         0x000B                             Status

Description:

The Create_New_Unit_Key command is used to create a new unit key. The
Controller shall generate a random seed that shall be used to generate the new
unit key. All new connection shall use the new unit key, but the old unit key
shall still be used for all current connections.

Note: This command will not have any effect for a device which doesn’t use
unit keys (i.e. a device which uses only combination keys).

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Create_New_Unit_Key command succeeded.

 0x01-0xFF         Create_New_Unit_Key command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Create_New_Unit_Key command has completed, a Command
Complete event shall be generated.




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7.3.8 Read Stored Link Key Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Read_Stored_            0x000D      BD_ADDR,                  Status,
 Link_Key                                Read_All_Flag             Max_Num_Keys,
                                                                   Num_Keys_Read

Description:

The Read_Stored_Link_Key command provides the ability to read whether one
or more link keys are stored in the BR/EDR Controller. The BR/EDR Controller
can store a limited number of link keys for other BR/EDR Controllers. Link keys
are shared between two BR/EDR Controllers, and are used for all security
transactions between the two devices. The read link key command shall not
return the link keys value. A Host device may have additional storage
capabilities, which can be used to save additional link keys to be reloaded to
the BR/EDR Controller when needed. The Read_All_Flag parameter is used to
indicate if all of the stored Link Keys should be returned. If Read_All_Flag
indicates that all Link Keys are to be returned, then the BD_ADDR command
parameter must be ignored. The BD_ADDR command parameter is used to
identify which link key to read. The stored Link Keys are returned by one or
more Return Link Keys events. See Section 6.14.

Command Parameters:

BD_ADDR:                                                                       Size: 6 Octets
 Value                           Parameter Description

 0xXXXXXXXXXXXX                  BD_ADDR for the stored link key to be read.

Read_All_Flag:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00                 Return Link Key for specified BD_ADDR.
 0x01                 Return all stored Link Keys.

 All other values     Reserved for future use.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Stored_Link_Key command succeeded.
 0x01-0xFF          Read_Stored_Link_Key command failed. See [Vol 2] Part D, Error Codes
                    for error codes and descriptions.



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Max_Num_Keys:                                                                 Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Total Number of Link Keys that the Controller can store.
                   Range: 0x0000 – 0xFFFF

Num_Keys_Read:                                                                Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Number of Link Keys Read.
                   Range: 0x0000 – 0xFFFF

Event(s) generated (unless masked away):

Zero or more instances of the Return Link Keys event shall occur after the
command is issued. When there are no link keys stored, no Return Link Keys
events will be returned. When there are link keys stored, the number of link
keys returned in each Return Link Keys event is implementation specific.
When the Read_Stored_Link_Key command has completed a Command
Complete event shall be generated.




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7.3.9 Write Stored Link Key Command


                                               Command
 Command                           OCF
                                               Parameters             Return Parameters

 HCI_Write_Stored_Link_Key         0x0011      Num_Keys_To_Write,     Status,
                                               BD_ADDR[i],            Num_Keys_Written
                                               Link_Key[i]

Description:

The Write_Stored_Link_Key command provides the ability to write one or more
link keys to be stored in the BR/EDR Controller. The BR/EDR Controller can
store a limited number of link keys for other BR/EDR Controllers. If no
additional space is available in the BR/EDR Controller then no additional link
keys will be stored. If space is limited and if all the link keys to be stored will not
fit in the limited space, then the order of the list of link keys without any error
will determine which link keys are stored. Link keys at the beginning of the list
will be stored first. The Num_Keys_Written parameter will return the number of
link keys that were successfully stored. If no additional space is available, then
the Host must delete one or more stored link keys before any additional link
keys are stored. The link key replacement algorithm is implemented by the
Host and not the BR/EDR Controller. Link keys are shared between two BR/
EDR Controllers and are used for all security transactions between the two
devices. A Host device may have additional storage capabilities, which can be
used to save additional link keys to be reloaded to the BR/EDR Controller
when needed. See Section 6.14.

Note: Link Keys are only stored by issuing this command.

A Host in Secure Connections Only Mode should not store link keys in the
Controller.

Command Parameters:

Num_Keys_To_Write:                                                           Size: 1 Octet
 Value             Parameter Description

 0xXX              Number of Link Keys to Write.
                   Range: 0x01 - 0x0B

BD_ADDR [i]:                                         Size: 6 Octets * Num_Keys_To_Write
 Value                              Parameter Description

 0xXXXXXXXXXXXX                     BD_ADDR for the associated Link Key.




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Link_Key[i]:                                     Size: 16 Octets* Num_Keys_To_Write
 Value                Parameter Description

 0xXXXXXXXXXX         Link Key for an associated BD_ADDR.
 XXXXXXXXXXX
 XXXXXXXXXXX

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Stored_Link_Key command succeeded.
 0x01-0xFF         Write_Stored_Link_Key command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Num_Keys_Written:                                                           Size: 1 Octet
 Value             Parameter Description

 0xXX              Number of Link Keys successfully written.
                   Range: 0x00 – 0x0B

Event(s) generated (unless masked away):

When the Write_Stored_Link_Key command has completed, a Command
Complete event shall be generated.




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7.3.10 Delete Stored Link Key Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Delete_Stored_          0x0012      BD_ADDR,                  Status,
 Link_Key                                Delete_All_Flag           Num_Keys_Deleted

Description:

The Delete_Stored_Link_Key command provides the ability to remove one or
more of the link keys stored in the BR/EDR Controller. The BR/EDR Controller
can store a limited number of link keys for other BR/EDR devices. Link keys
are shared between two BR/EDR devices and are used for all security
transactions between the two devices. The Delete_All_Flag parameter is used
to indicate if all of the stored Link Keys should be deleted. If the
Delete_All_Flag indicates that all Link Keys are to be deleted, then the
BD_ADDR command parameter must be ignored This command provides the
ability to negate all security agreements between two devices. The BD_ADDR
command parameter is used to identify which link key to delete. If a link key is
currently in use for a connection, then the link key will be deleted when all of
the connections are disconnected. See Section 6.14.

Command Parameters:

BD_ADDR:                                                                     Size: 6 Octets
 Value                             Parameter Description

 0xXXXXXXXXXXXX                    BD_ADDR for the link key to be deleted.

Delete_All_Flag:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 Delete only the Link Key for specified BD_ADDR.
 0x01                 Delete all stored Link Keys.

 All other values     Reserved for future use.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value              Parameter Description

 0x00               Delete_Stored_Link_Key command succeeded.
 0x01-0xFF          Delete_Stored_Link_Key command failed. See [Vol 2] Part D, Error Codes
                    for error codes and descriptions.




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Num_Keys_Deleted:                                         Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Number of Link Keys Deleted

Event(s) generated (unless masked away):

When the Delete_Stored_Link_Key command has completed, a Command
Complete event shall be generated.




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7.3.11 Write Local Name Command


 Command                         OCF        Command Parameters          Return Parameters

 HCI_Write_Local_Name            0x0013     Local Name                  Status

Description:

The Write_Local_Name command provides the ability to modify the user-
friendly name for the BR/EDR Controller. See Section 6.23.

Command Parameters:

Local Name:                                                               Size: 248 Octets
 Value             Parameter Description

                   A UTF-8 encoded User-Friendly Descriptive Name for the device.
                   If the name contained in the parameter is shorter than 248 octets, the end
                   of the name is indicated by a NULL octet (0x00), and the following octets
                   (to fill up 248 octets, which is the length of the parameter) do not have
                   valid values.

                   Null terminated Zero length String. Default.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value               Parameter Description

 0x00                Write_Local_Name command succeeded.

 0x01-0xFF           Write_Local_Name command failed. See [Vol 2] Part D, Error Codes for
                     a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Local_Name command has completed, a Command
Complete event shall be generated.




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7.3.12 Read Local Name Command


 Command                         OCF        Command Parameters            Return Parameters

 HCI_Read_Local_Name             0x0014                                   Status,
                                                                          Local_Name

Description:

The Read_Local_Name command provides the ability to read the stored user-
friendly name for the BR/EDR Controller. See Section 6.23.

Command Parameters:

None.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value               Parameter Description

 0x00                Read_Local_Name command succeeded
 0x01-0xFF           Read_Local_Name command failed (see [Vol 2] Part D, Error Codes for
                     list of Error Codes).

Local_Name:                                                                  Size: 248 Octets
 Value               Parameter Description

                     A UTF-8 encoded User Friendly Descriptive Name for the device.
                     If the name contained in the parameter is shorter than 248 octets, the
                     end of the name is indicated by a NULL octet (0x00), and the following
                     octets (to fill up 248 octets, which is the length of the parameter) do not
                     have valid values.

Event(s) generated (unless masked away):

When the Read_Local_Name command has completed a Command Complete
event shall be generated.




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7.3.13 Read Connection Accept Timeout Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Read_Connec-            0x0015                               Status,
 tion_Accept_Timeout                                              Conn_Accept_Timeout

Description:

This command reads the value for the Connection_Accept_Timeout
configuration parameter. See Section 6.7.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Connection_Accept_Timeout command succeeded.
 0x01-0xFF         Read_Connection_Accept_Timeout command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Conn_Accept_Timeout:                                                        Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Connection Accept Timeout measured in Number of BR/EDR Baseband
                   slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0001 – 0xB540
                   Time Range: 0.625 ms -29 s

Event(s) generated (unless masked away):

When the Read_Connection_Timeout command has completed, a Command
Complete event shall be generated.




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7.3.14 Write Connection Accept Timeout Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Write_Connec-           0x0016      Conn_Accept_Timeout      Status
 tion_Accept_Timeout

Description:

This command writes the value for the Connection_Accept_Timeout
configuration parameter. See Section 6.7.

Command Parameters:

Conn_Accept_Timeout:                                                       Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Connection Accept Timeout measured in Number of BR/EDR Baseband
                   slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0001 – 0xB540
                   Time Range: 0.625 ms - 29 s
                   Default: N = 0x1FA0 Time = 5.06 s
                   Mandatory Range for Controller: 0x00A0 to 0xB540

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Connection_Accept_Timeout command succeeded.
 0x01-0xFF         Write_Connection_Accept_Timeout command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Connection_Accept_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.15 Read Page Timeout Command


 Command                        OCF         Command Parameters        Return Parameters

 HCI_Read_Page_Timeout          0x0017                                Status,
                                                                      Page_Timeout

Description:

This command reads the value for the Page_Timeout configuration parameter.
See Section 6.6.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Page_Timeout command succeeded.
 0x01-0xFF         Read_Page_Timeout command failed. See [Vol 2] Part D, Error Codes for
                   a list of error codes and descriptions.

Page_Timeout:                                                               Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Page Timeout measured in Number of Baseband slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0001 – 0xFFFF
                   Time Range: 0.625 ms -40.9 s

Event(s) generated (unless masked away):

When the Read_Page_Timeout command has completed, a Command
Complete event shall be generated.




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7.3.16 Write Page Timeout Command


 Command                        OCF         Command Parameters        Return Parameters

 HCI_Write_Page_Timeout         0x0018      Page_Timeout              Status

Description:

This command writes the value for the Page_Timeout configuration parameter.
The Page_Timeout configuration parameter defines the maximum time the
local Link Manager shall wait for a baseband page response from the remote
device at a locally initiated connection attempt. If this time expires and the
remote device has not responded to the page at baseband level, the
connection attempt will be considered to have failed.

Command Parameters:

Page_Timeout:                                                              Size: 2 Octets
 Value             Parameter Description

 0                 Illegal Page Timeout. Must be larger than 0.
 N = 0xXXXX        Page Timeout measured in Number of Baseband slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0001 – 0xFFFF
                   Time Range: 0.625 ms -40.9 s
                   Default: N = 0x2000 Time = 5.12 s
                   Mandatory Range for Controller: 0x0016 to 0xFFFF

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Page_Timeout command succeeded.

 0x01-0xFF         Write_Page_Timeout command failed. See [Vol 2] Part D, Error Codes for
                   a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Page_Timeout command has completed, a Command
Complete event shall be generated.




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7.3.17 Read Scan Enable Command


 Command                      OCF        Command Parameters      Return Parameters

 HCI_Read_Scan_Enable         0x0019                             Status,
                                                                 Scan_Enable

Description:

This command reads the value for the Scan_Enable parameter configuration
parameter. See Section 6.1.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Scan_Enable command succeeded.
 0x01-0xFF          Read_Scan_Enable command failed. See [Vol 2] Part D, Error Codes for
                    a list of error codes and descriptions.

Scan_Enable:                                                                 Size: 1 Octet
 Value              Parameter Description

 0x00               No Scans enabled.
 0x01               Inquiry Scan enabled.
                    Page Scan disabled.
 0x02               Inquiry Scan disabled.
                    Page Scan enabled.

 0x03               Inquiry Scan enabled.
                    Page Scan enabled.
 All other values   Reserved for future use

Event(s) generated (unless masked away):

When the Read_Scan_Enable command has completed, a Command
Complete event shall be generated.




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7.3.18 Write Scan Enable Command


 Command                       OCF           Command Parameters       Return Parameters

 HCI_Write_Scan_Enable         0x001A        Scan_Enable              Status

Description:

This command writes the value for the Scan_Enable configuration parameter.
See Section 6.1.

Command Parameters:

Scan_Enable:                                                                   Size: 1 Octet
 Value              Parameter Description

 0x00               No Scans enabled. Default.

 0x01               Inquiry Scan enabled.
                    Page Scan disabled.
 0x02               Inquiry Scan disabled.
                    Page Scan enabled.
 0x03               Inquiry Scan enabled.
                    Page Scan enabled.

 All other values   Reserved for future use

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Scan_Enable command succeeded.
 0x01-0xFF          Write_Scan_Enable command failed. See [Vol 2] Part D, Error Codes for a
                    list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Scan_Enable command has completed, a Command
Complete event shall be generated.




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7.3.19 Read Page Scan Activity Command


 Command                     OCF         Command Parameters      Return Parameters

 HCI_Read_Page_Scan_         0x001B                              Status,
 Activity                                                        Page_Scan_Interval,
                                                                 Page_Scan_Window

Description:

This command reads the value for Page_Scan_Interval and
Page_Scan_Window configuration parameters. See Section 6.8 and Section
6.9.

Note: Page Scan is only performed when Page_Scan is enabled (see 6.1,
7.3.17 and 7.3.18). A changed Page_Scan_Interval could change the local
Page_Scan_Repetition_Mode (see [Vol 2] Part B, Baseband Specification).

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Page_Scan_Activity command succeeded.
 0x01-0xFF         Read_Page_Scan_Activity command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Page_Scan_Interval:                                                        Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Size: 2 Octets
                   Range: 0x0012 – 0x1000
                   Time = N * 0.625 ms
                   Range: 11.25 ms - 2560 ms; only even values are valid

Page_Scan_Window:                                                          Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Size: 2 Octets
                   Range: 0x0011 - 0x1000
                   Time = N * 0.625 ms
                   Range: 10.625 ms - 2560 ms



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Event(s) generated (unless masked away):

When the Read_Page_Scan_Activity command has completed, a Command
Complete event shall be generated.




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7.3.20 Write Page Scan Activity Command


 Command                     OCF         Command Parameters      Return Parameters

 HCI_Write_Page_Scan_        0x001C      Page_Scan_Interval,     Status
 Activity                                Page_Scan_Window

Description:

This command writes the values for the Page_Scan_Interval and
Page_Scan_Window configuration parameters. The Page_Scan_Window shall
be less than or equal to the Page_Scan_Interval. See Section 6.8 and Section
6.9.

Note: Page Scan is only performed when Page_Scan is enabled (see 6.1,
7.3.17 and 7.3.18). A changed Page_Scan_Interval could change the local
Page_Scan_Repetition_Mode (see [Vol 2] Part B, Baseband Specification).

Command Parameters:

Page_Scan_Interval:                                                        Size: 2 Octets
 Value             Parameter Description

 See Section 6.8

Page_Scan_Window:                                                          Size: 2 Octets
 Value             Parameter Description

 See Section 6.9

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Page_Scan_Activity command succeeded.

 0x01-0xFF         Write_Page_Scan_Activity command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Page_Scan_Activity command has completed, a Command
Complete event shall be generated.




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7.3.21 Read Inquiry Scan Activity Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Read_                   0x001D                               Status,
 Inquiry_Scan_Activity                                            Inquiry_Scan_Interval,
                                                                  Inquiry_Scan_Window

Description:

This command reads the value for Inquiry_Scan_Interval and Inquiry_
Scan_Window configuration parameter. See Section 6.2 and Section 6.3.

Note: Inquiry Scan is only performed when Inquiry_Scan is enabled see 6.1,
7.3.17 and 7.3.18).

Command Parameters:
None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Inquiry_Scan_Activity command succeeded.
 0x01-0xFF         Read_Inquiry_Scan_Activity command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Inquiry_Scan_Interval:                                                      Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Size: 2 Octets
                   Range: 0x0012 – 0x1000
                   Time = N * 0.625 ms
                   Range: 11.25 - 2560 ms; only even values are valid

Inquiry_Scan_Window:                                                        Size: 2 Octets
 Value             Parameter Description

 N = 0xXXXX        Size: 2 Octets
                   Range: 0x0011 - 0x1000
                   Time = N * 0.625 ms
                   Range: 10.625 ms - 2560 ms




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Event(s) generated (unless masked away):
When the Read_Inquiry_Scan_Activity command has completed, a Command
Complete event shall be generated.




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7.3.22 Write Inquiry Scan Activity Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Write_Inquiry_          0x001E      Inquiry_Scan_Interval,    Status
 Scan_Activity                           Inquiry_Scan_Window

Description:

This command writes the values for the Inquiry_Scan_Interval and
Inquiry_Scan_Window configuration parameters. The Inquiry_Scan_Window
shall be less than or equal to the Inquiry_Scan_Interval. See Section 6.2 and
Section 6.3.

Note: Inquiry Scan is only performed when Inquiry_Scan is enabled (see 6.1,
7.3.17 and 7.3.18).

Command Parameters:

Inquiry_Scan_Interval:                                                       Size: 2 Octets
 Value              Parameter Description

 See Section 6.2.

Inquiry_Scan_Window:                                                         Size: 2 Octets
 Value              Parameter Description

 See Section 6.3.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Inquiry_Scan_Activity command succeeded.
 0x01-0xFF          Write_Inquiry_Scan_Activity command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Inquiry_Scan_Activity command has completed, a Command
Complete event shall be generated.




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7.3.23 Read Authentication Enable Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Read_                   0x001F                                Status,
 Authentication_Enable                                             Authentication_Enable

Description:

This command reads the value for the Authentication_Enable configuration
parameter. See Section 6.16 Authentication Enable.

Command Parameters:

None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Authentication_Enable command succeeded.
 0x01-0xFF          Read_Authentication_Enable command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Authentication_Enable:                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Authentication not required.
 0x01               Authentication required for all connections.
 All other values   Reserved for future use

Event(s) generated (unless masked away):

When the Read_Authentication_Enable command has completed, a
Command Complete event shall be generated.




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7.3.24 Write Authentication Enable Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Write_                  0x0020      Authentication_Enable     Status
 Authentication_Enable

Description:

This command writes the value for the Authentication_Enable configuration
parameter. See Section 6.16 Authentication Enable.

The Authentication_Enable configuration parameter shall only apply to
connections (e.g. send an LMP_in_rand or LMP_au_rand) when the remote
device’s Host or BR/EDR Controller does not support Secure Simple Pairing or
when the local Host does not support Secure Simple Pairing.

Note: Requires LM to read Host features during connection setup.

Command Parameters:

Authentication_Enable:                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Authentication not required. Default.
 0x01               Authentication required for all connections.

 All other values   Reserved for future use

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Authentication_Enable command succeeded.
 0x01-0xFF          Write_Authentication_Enable command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Authentication_Enable command has completed, a Command
Complete event shall be generated.




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7.3.25 Read Class of Device Command


 Command                          OCF        Command Parameters     Return Parameters

 HCI_Read_Class_of_Device         0x0023                            Status,
                                                                    Class_of_Device

Description:

This command reads the value for the Class_of_Device parameter. See
Section 6.26.

Command Parameters:

None.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Class_of_Device command succeeded.
 0x01-0xFF         Read_Class_of_Device command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Class_of_Device:                                                         Size: 3 Octets
 Value             Parameter Description

 0xXXXXXX          Class of Device for the device.

Event(s) generated (unless masked away):

When the Read_Class_of_Device command has completed, a Command
Complete event shall be generated.




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7.3.26 Write Class of Device Command


                                                                            Return
 Command                             OCF         Command Parameters
                                                                            Parameters

 HCI_Write_Class_of_Device           0x0024      Class_of_Device            Status

Description:

This command writes the value for the Class_of_Device parameter.
See Section 6.26.

Command Parameters:

Class_of_Device:                                                          Size: 3 Octets
 Value             Parameter Description

 0xXXXXXX          Class of Device for the device.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Class_of_Device command succeeded.

 0x01-0xFF         Write_Class_of_Device command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Class_of_Device command has completed, a Command
Complete event shall be generated.




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7.3.27 Read Voice Setting Command


 Command                       OCF        Command Parameters      Return Parameters

 HCI_Read_Voice_Setting        0x0025                             Status,
                                                                  Voice_Setting

Description:

This command reads the values for the Voice_Setting configuration parameter.
See Section 6.12.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Voice_Setting command succeeded.
 0x01-0xFF         Read_Voice_Setting command failed. See [Vol 2] Part D, Error Codes for
                   a list of error codes and descriptions.

Voice_Setting:                                       Size: 2 Octets (10 Bits meaningful)
 Value                    Parameter Description

 See Section 6.12.

Event(s) generated (unless masked away):

When the Read_Voice_Setting command has completed, a Command
Complete event shall be generated.




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7.3.28 Write Voice Setting Command


 Command                        OCF         Command Parameters       Return Parameters

 HCI_Write_Voice_Setting        0x0026      Voice_Setting            Status

Description:

This command writes the values for the Voice_Setting configuration parameter.
See Section 6.12.

Command Parameters:

Voice_Setting:                                       Size: 2 Octets (10 Bits meaningful)
 Value                    Parameter Description

 See Section 6.12.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Voice_Setting command succeeded.

 0x01-0xFF         Write_Voice_Setting command failed. See [Vol 2] Part D, Error Codes for
                   a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Voice_Setting command has completed, a Command
Complete event shall be generated.




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7.3.29 Read Automatic Flush Timeout Command


 Command                           OCF       Command Parameters       Return Parameters

 HCI_Read_Automatic_Flush_         0x0027    Connection_Handle        Status,
 Timeout                                                              Connection_Handle,
                                                                      Flush_Timeout

Description:
This command reads the value for the Flush_Timeout parameter for the
specified Connection_Handle. See Section 6.19.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Automatic_Flush_Timeout command succeeded.

 0x01-0xFF         Read_Automatic_Flush_Timeout command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Flush_Timeout:                                                              Size: 2 Octets
 Value             Parameter Description

 0                 Timeout = ∞; No Automatic Flush
 N = 0xXXXX        Flush Timeout = N * 0.625 ms
                   Size: 11 bits
                   Range: 0x0001 – 0x07FF




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Event(s) generated (unless masked away):
When the Read_Automatic_Flush_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.30 Write Automatic Flush Timeout Command


 Command                           OCF        Command Parameters      Return Parameters

 HCI_Write_Automatic_Flush_        0x0028     Connection_Handle,      Status,
 Timeout                                      Flush_Timeout           Connection_Handle

Description:
This command writes the value for the Flush_Timeout parameter for the
specified Connection_Handle. See Section 6.19.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Flush_Timeout:                                                              Size: 2 Octets
 Value             Parameter Description

 0                 Timeout = ∞; No Automatic Flush. Default.

 N = 0xXXXX        Flush Timeout = N * 0.625 ms
                   Size: 11 bits
                   Range: 0x0001 – 0x07FF
                   Mandatory Range for Controller: 0x0002 to 0x07FF

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Automatic_Flush_Timeout command succeeded.
 0x01-0xFF         Write_Automatic_Flush_Timeout command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.




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Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Event(s) generated (unless masked away):
When the Write_Automatic_Flush_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.31 Read Num Broadcast Retransmissions Command


                                            Command
 Command                          OCF
                                            Parameters   Return Parameters

 HCI_Read_Num_Broadcast_          0x0029                 Status,
 Retransmissions                                         Num_Broadcast_Retransmissions


Description:

This command reads the device’s parameter value for the Number of
Broadcast Retransmissions. See Section 6.20

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Num_Broadcast_Retransmissions command succeeded.
 0x01-0xFF         Read_Num_Broadcast_Retransmissions command failed. See [Vol 2]
                   Part D, Error Codes for a list of error codes and descriptions.

Num_Broadcast_Retransmissions:                                               Size: 1 Octet
 Value             Parameter Description

 See Section 6.20.

Event(s) generated (unless masked away):

When the Read_Num_Broadcast_Retransmission command has completed,
a Command Complete event shall be generated.




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7.3.32 Write Num Broadcast Retransmissions Command


 Command                          OCF        Command Parameters    Return Parameters

 HCI_Write_Num_Broadcast_         0x002A     Num_Broadcast_        Status
 Retransmissions                             Retransmissions


Description:

This command writes the device’s parameter value for the Number of
Broadcast Retransmissions. See Section 6.20.

Command Parameters:

Num_Broadcast_Retransmissions:                                            Size: 1 Octet
 Value             Parameter Description

 See Section 6.20.

Return Parameters:

Status:                                                                  Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Num_Broadcast_Retransmissions command succeeded.
 0x01-0xFF         Write_Num_Broadcast_Retransmissions command failed. See [Vol 2]
                   Part D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Num_Broadcast_Retransmissions command has completed,
a Command Complete event shall be generated.




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7.3.33 Read Hold Mode Activity Command


                                                  Command
 Command                              OCF         Parameters   Return Parameters

 HCI_Read_Hold_Mode_Activity          0x002B                   Status,
                                                               Hold_Mode_Activity

Description:

This command reads the value for the Hold_Mode_Activity parameter.
See Section 6.16.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Hold_Mode_Activity command succeeded.
 0x01-0xFF          Read_Hold_Mode_Activity command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Hold_Mode_Activity:                                                            Size: 1 Octet
 Value              Parameter Description

 0x00               Maintain current Power State.
 0x01               Suspend Page Scan.
 0x02               Suspend Inquiry Scan.

 0x04               Suspend Periodic Inquiries.
 All other values   Reserved for future use.

Event(s) generated (unless masked away):

When the Read_Hold_Mode_Activity command has completed, a Command
Complete event shall be generated.




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7.3.34 Write Hold Mode Activity Command


                                               Command
 Command                            OCF
                                               Parameters              Return Parameters

 HCI_Write_Hold_Mode_Activity       0x002C     Hold_Mode_Activity      Status

Description:
This command writes the value for the Hold_Mode_Activity parameter.
See Section 6.16.

Command Parameters:

Hold_Mode_Activity:                                                           Size: 1 Octet
 Value              Parameter Description

 0x00               Maintain current Power State. Default.
 0x01               Suspend Page Scan.
 0x02               Suspend Inquiry Scan.

 0x04               Suspend Periodic Inquiries.
 All other values   Reserved for future use.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Hold_Mode_Activity command succeeded.
 0x01-0xFF          Write_Hold_Mode_Activity command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Hold_Mode_Activity command has completed, a Command
Complete event shall be generated.




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7.3.35 Read Transmit Power Level Command


 Command                   OCF         Command Parameters         Return Parameters

 HCI_Read_Transmit_        0x002D      Connection_Handle,         Status,
 Power_Level                           Type                       Connection_Handle,
                                                                  Transmit_Power_Level

Description:

This command reads the values for the Transmit_Power_Level parameter for
the specified Connection_Handle. The Connection_Handle shall be a
Connection_Handle for an ACL connection.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value              Parameter Description

 0xXXXX             Connection_Handle
                    Range: 0x0000-0x0EFF (all other values reserved for future use)

Type:                                                                          Size: 1 Octet
 Value              Parameter Description

 0x00               Read Current Transmit Power Level.

 0x01               Read Maximum Transmit Power Level.
 All other values   Reserved for future use

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Transmit_Power_Level command succeeded.
 0x01-0xFF          Read_Transmit_Power_Level command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value              Parameter Description

 0xXXXX             Connection_Handle
                    Range: 0x0000-0x0EFF (all other values reserved for future use)




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Transmit_Power_Level:                                       Size: 1 Octet
 Value             Parameter Description

 N = 0xXX          Size: 1 Octet (signed integer)
                   Range: -30 ≤ N ≤ 20
                   Units: dBm

Event(s) generated (unless masked away):

When the Read_Transmit_Power_Level command has completed, a
Command Complete event shall be generated.




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7.3.36 Read Synchronous Flow Control Enable Command


 Command                   OCF         Command Parameters        Return Parameters

 HCI_Read_                 0x002E                                Status, Synchronous_-
 Synchronous_Flow_                                               Flow_
 Control_Enable                                                  Control_Enable

Description:

The Read_Synchronous_Flow_Control_Enable command provides the ability
to read the Synchronous_Flow_Control_Enable parameter. See Section 6.22.

The Synchronous_Flow_Control_Enable parameter shall only be changed if
no connection exists.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Synchronous_Flow_Control_Enable command succeeded
 0x01-0xFF         Read_Synchronous_Flow_Control_Enable command failed (see [Vol 2]
                   Part D, Error Codes for list of Error Codes).

Synchronous_Flow_Control_Enable:                                             Size: 1 Octet
 Value             Parameter Description

 0x00              Synchronous Flow Control is disabled. No Number of Completed Packets
                   events will be sent from the Controller for Synchronous Connection_Han-
                   dles.
 0x01              Synchronous Flow Control is enabled. Number of Completed Packets
                   events will be sent from the Controller for Synchronous Connection_Han-
                   dles.

Event(s) generated (unless masked away):

When the Read_Synchronous_Flow_Control_Enable command has
completed a Command Complete event shall be generated.




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7.3.37 Write Synchronous Flow Control Enable Command


 Command                      OCF         Command Parameters      Return Parameters

 HCI_Write_Synchro-           0x002F      Synchronous_Flow_       Status
 nous_Flow_Control_En-                    Control_Enable
 able

Description:

The Write_Synchronous_Flow_Control_Enable command provides the ability
to write the Synchronous_Flow_Control_Enable parameter. See Section 6.22.

The Synchronous_Flow_Control_Enable parameter can only be changed if no
connections exist.

Command Parameters:

Synchronous_Flow_Control_Enable:                                           Size: 1 Octet
 Value             Parameter Description

 0x00              Synchronous Flow Control is disabled. No Number of Completed Packets
                   events shall be sent from the Controller for synchronous
                   Connection_Handles.
                   Default

 0x01              Synchronous Flow Control is enabled. Number of Completed Packets
                   events shall be sent from the Controller for synchronous
                   Connection_Handles.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Synchronous_Flow_Control_Enable command succeeded
 0x01-0xFF         Write_Synchronous_Flow_Control_Enable command failed (see [Vol 2]
                   Part D, Error Codes for list of Error Codes.)

Event(s) generated (unless masked away):

When the Write_Synchronous_Flow_Control_Enable command has completed
a Command Complete event shall be generated.




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7.3.38 Set Controller To Host Flow Control Command


 Command                        OCF        Command Parameters           Return Parameters

 HCI_Set_Controller_To_         0x0031     Flow_Control_Enable          Status
 Host_Flow_Control

Description:
This command is used by the Host to turn flow control on or off for data and/or
voice sent in the direction from the Controller to the Host. If flow control is turned
off, the Host should not send the Host_Number_Of_Completed_Packets
command. That command will be ignored by the Controller if it is sent by the
Host and flow control is off. If flow control is turned on for HCI ACL Data Packets
and off for HCI synchronous Data Packets,
Host_Number_Of_Completed_Packets commands sent by the Host should only
contain Connection_Handles for ACL connections. If flow control is turned off for
HCI ACL Data Packets and on for HCI synchronous Data Packets,
Host_Number_Of_Completed_Packets commands sent by the Host should only
contain Connection_Handles for synchronous connections. If flow control is
turned on for HCI ACL Data Packets and HCI synchronous Data Packets, the
Host will send Host_Number_Of_Completed_Packets commands both for ACL
connections and synchronous connections.
The Flow_Control_Enable parameter shall only be changed if no connections
exist.

Command Parameters:

Flow_Control_Enable:                                                              Size: 1 Octet
 Value              Parameter Description

 0x00               Flow control off in direction from Controller to Host. Default.
 0x01               Flow control on for HCI ACL Data Packets and off for HCI synchronous
                    Data Packets in direction from Controller to Host.
 0x02               Flow control off for HCI ACL Data Packets and on for HCI synchronous
                    Data Packets in direction from Controller to Host.

 0x03               Flow control on both for HCI ACL Data Packets and HCI synchronous
                    Data Packets in direction from Controller to Host.
 All other values   Reserved for future use




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Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Set_Controller_To_Host_Flow_Control command succeeded.
 0x01-0xFF         Set_Controller_To_Host_Flow_Control command failed. See [Vol 2] Part
                   D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):
When the Set_Controller_To_Host_Flow_Control command has completed, a
Command Complete event shall be generated.




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7.3.39 Host Buffer Size Command


                                                                           Return
 Command                   OCF       Command Parameters
                                                                           Parameters

 HCI_Host_Buffer_Size      0x0033    Host_ACL_Data_Packet_Length,          Status
                                     Host_Synchronous_Data_Pack-
                                     et_Length,
                                     Host_Total_Num_ACL_Data_Packets,
                                     Host_Total_Num_Synchronous_Data_
                                     Packets

Description:

The Host_Buffer_Size command is used by the Host to notify the Controller
about the maximum size of the data portion of HCI ACL and synchronous Data
Packets sent from the Controller to the Host. The Controller shall segment the
data to be transmitted from the Controller to the Host according to these sizes,
so that the HCI Data Packets will contain data with up to these sizes. The
Host_Buffer_Size command also notifies the Controller about the total number
of HCI ACL and synchronous Data Packets that can be stored in the data
buffers of the Host. If flow control from the Controller to the Host is turned off,
and the Host_Buffer_Size command has not been issued by the Host, this
means that the Controller will send HCI Data Packets to the Host with any
lengths the Controller wants to use, and it is assumed that the data buffer sizes
of the Host are unlimited. If flow control from the Controller to the Host is turned
on, the Host_Buffer_Size command shall after a power-on or a reset always be
sent by the Host before the first Host_Number_Of_Completed_Packets
command is sent.

The Set Controller To Host Flow Control Command is used to turn flow control
on or off. The Host_ACL_Data_Packet_Length command parameter will be
used to determine the size of the L2CAP segments contained in ACL Data
Packets, which are transferred from the Controller to the Host. The
Host_Synchronous_Data_Packet_Length command parameter is used to
determine the maximum size of HCI synchronous Data Packets. Both the Host
and the Controller shall support command and event packets, where the data
portion (excluding header) contained in the packets is 255 octets in size.

The Host_Total_Num_ACL_Data_Packets command parameter contains the
total number of HCI ACL Data Packets that can be stored in the data buffers of
the Host. The Controller will determine how the buffers are to be divided
between different Connection_Handles. The Host_Total_Num_Synchronous_
Data_Packets command parameter gives the same information for HCI
synchronous Data Packets.

Note: The Host_ACL_Data_Packet_Length and Host_Synchronous_Data_
Packet_Length command parameters do not include the length of the HCI Data
Packet header.

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Command Parameters:

Host_ACL_Data_Packet_Length:                                                Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Maximum length (in octets) of the data portion of each HCI ACL Data
                   Packet that the Host is able to accept.

Host_Synchronous_Data_Packet_Length:                                          Size: 1 Octet
 Value             Parameter Description

 0xXX              Maximum length (in octets) of the data portion of each HCI synchronous
                   Data Packet that the Host is able to accept.

Host_Total_Num_ACL_Data_Packets:                                            Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Total number of HCI ACL Data Packets that can be stored in the data
                   buffers of the Host.

Host_Total_Num_Synchronous_Data_Packets:                                    Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Total number of HCI synchronous Data Packets that can be stored in the
                   data
                   buffers of the Host.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Host_Buffer_Size command succeeded.

 0x01-0xFF         Host_Buffer_Size command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Host_Buffer_Size command has completed, a Command Complete
event shall be generated.




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7.3.40 Host Number Of Completed Packets Command


                                                                             Return
 Command                     OCF       Command Parameters
                                                                             Parameters

 HCI_Host_Number_Of_         0x0035    Number_Of_Handles,
 Completed_Packets                     Connection_Handle[i],
                                       Host_Num_Of_Completed_Packets [i]

Description:

The Host_Number_Of_Completed_Packets command is used by the Host to
indicate to the Controller the number of HCI Data Packets that have been
completed for each Connection_Handle since the previous Host_Number_Of_
Completed_Packets command was sent to the Controller. This means that the
corresponding buffer space has been freed in the Host. Based on this
information, and the Host_Total_Num_ACL_Data_Packets and
Host_Total_Num_Synchronous_Data_Packets command parameters of the
Host_Buffer_Size command, the Controller can determine for which
Connection_Handles the following HCI Data Packets should be sent to the
Host. The command should only be issued by the Host if flow control in the
direction from the Controller to the Host is on and there is at least one
connection, or if the Controller is in local loopback mode. Otherwise, the
command will be ignored by the Controller. When the Host has completed one
or more HCI Data Packet(s) it shall send a
Host_Number_Of_Completed_Packets command to the Controller, until it
finally reports that all pending HCI Data Packets have been completed. The
frequency at which this command is sent is manufacturer specific.

The Set Controller To Host Flow Control Command is used to turn flow control on
or off. If flow control from the Controller to the Host is turned on, the
Host_Buffer_Size command shall always be sent by the Host after a power-on or
a reset before the first Host_Number_Of_Completed_Packets command is sent.

Note: The Host_Number_Of_Completed_Packets command is a special
command in the sense that no event is normally generated after the command
has completed. The command may be sent at any time by the Host when there
is at least one connection, or if the Controller is in local loopback mode
independent of other commands. The normal flow control for commands is not
used for the Host_Number_Of_Completed_Packets command.




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Command Parameters:

Number_Of_Handles:                                                            Size: 1 Octet
 Value    Parameter Description

 0xXX     The number of Connection_Handles and Host_Num_Of_Completed_Packets
          parameters pairs contained in this command.
          Range: 0-255

Connection_Handle[i]: Size: Number_Of_Handles*2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Host_Num_Of_Completed_Packets [i]:                   Size: Number_Of_Handles * 2 Octets
 Value             Parameter Description

 N = 0xXXXX        The number of HCI Data Packets that have been completed for the asso-
                   ciated Connection_Handle since the previous time the event was
                   returned.
                   Range for N: 0x0000-0xFFFF

Return Parameters:

None.

Event(s) generated (unless masked away):

Normally, no event is generated after the Host_Number_Of_Completed_
Packets command has completed. However, if the Host_Number_Of_
Completed_Packets command contains one or more invalid parameters, the
Controller shall return a Command Complete event with a failure status
indicating the Invalid HCI Command Parameters error code. The Host may
send the Host_Number_Of_Completed_Packets command at any time when
there is at least one connection, or if the Controller is in local loopback mode.
The normal flow control for commands is not used for this command.




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7.3.41 Read Link Supervision Timeout Command


                                               Command
 Command                             OCF
                                               Parameters            Return Parameters

 HCI_Read_Link_Supervision_          0x0036    Handle                Status,
 Timeout                                                             Handle,
                                                                     Link_Supervision_
                                                                     Timeout

Description:

This command reads the value for the Link_Supervision_Timeout parameter
for the Controller.

The Handle used for this command shall be the ACL connection to the
appropriate device. See Section 6.21.

Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Specifies which Connection_Handle’s Link Supervision Timeout value is
                   to be read.
                   On an AMP, a Physical Link Handle is used as the lower 8 bits of the Han-
                   dle. The upper 4 bits are reserved and shall be set to 0.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Link_Supervision_Timeout command succeeded.
 0x01-0xFF         Read_Link_Supervision_Timeout command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Specifies which Connection_Handle’s Link Supervision Timeout value
                   was read.
                   The Handle is a Connection_Handle for a BR/EDR Controller. On an AMP
                   a Physical Link Handle is used as the lower 8 bits of the Handle. The
                   upper 4 bits are reserved and shall be set to 0.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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Link_Supervision_Timeout:                                                 Size: 2 Octets
 Value             Parameter Description

 0x0000            No Link_Supervision_Timeout.
 N = 0xXXXX        Measured in Number of BR/EDR Baseband slots
                   Link_Supervision_Timeout = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0001 – 0xFFFF
                   Time Range: 0.625ms - 40.9 s

Event(s) generated (unless masked away):

When the Read_Link_Supervision_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.42 Write Link Supervision Timeout Command


 Command                           OCF        Command Parameters        Return Parameters

 HCI_Write_Link_Supervision_       0x0037     Handle,                   Status,
 Timeout                                      Link_Supervision_         Handle
                                              Timeout

Description:

This command writes the value for the Link_Supervision_Timeout parameter
for a BR/EDR or AMP Controller. If the Host issues this command with a
Connection_Handle which identifies a BR/EDR connection where the
Controller is the slave, the Controller shall return the error code Command
Disallowed (0x0C). The command may be issued to any AMP Controller
without restriction to role.

The Handle used for this command shall be the ACL connection to the
appropriate device. This command will set the Link_Supervision_
Timeout values for other Synchronous Handles to that device.
See Section 6.21.

Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Specifies which Handle’s Link Supervision Timeout value is to be written.
                   The Handle is a Connection_Handle for a BR/EDR Controller. On an AMP
                   a Physical Link Handle is used as the lower 8 bits of the Handle. The
                   upper 4 bits are reserved and shall be set to 0.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Link_Supervision_Timeout:                                                     Size: 2 Octets
 Value             Parameter Description

 0x0000            No Link_Supervision_Timeout.
 N = 0xXXXX        Measured in Number of BR/EDR Baseband slots
                   Link_Supervision_Timeout = N*0.625 ms (1 Baseband slot)
                   Range for N: 0x0001 – 0xFFFF
                   Time Range: 0.625ms – 40.9 s
                   Default: N = 0x7D00
                   Link_Supervision_Timeout = 20 s
                   Mandatory Range for Controller: 0x0190 to 0xFFFF; plus 0 for infinite tim-
                   eout




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Return Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Link_Supervision_Timeout command succeeded.
 0x01-0xFF         Write_Link_Supervision_Timeout command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Specifies which Handle’s Link Supervision Timeout value was written.
                   The Handle is a Connection_Handle for a BR/EDR Controller. On an AMP
                   a Physical Link Handle is used as the lower 8 bits of the Handle. The
                   upper 4 bits (of the 12 meaningful bits) are reserved and shall be set to 0.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Event(s) generated (unless masked away):

When the Write_Link_Supervision_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.43 Read Number Of Supported IAC Command


                                                        Command        Return
 Command                                       OCF
                                                        Parameters     Parameters

 HCI_Read_Number_Of_Supported_IAC              0x0038                  Status,
                                                                       Num_Support_IAC

Description:

This command reads the value for the number of Inquiry Access Codes (IAC)
that the local BR/EDR Controller can simultaneous listen for during an Inquiry
Scan. All BR/EDR Controllers are required to support at least one IAC, the
General Inquiry Access Code (the GIAC). Some BR/EDR Controllers support
additional IACs.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Number_Of_Supported_IAC command succeeded.
 0x01-0xFF         Read_Number_Of_Supported_IAC command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Num_Support_IAC                                                              Size: 1 Octet
 Value             Parameter Description

 0xXX              Specifies the number of Supported IAC that the local BR/EDR Controller
                   can simultaneous listen for during an Inquiry Scan.
                   Range: 0x01-0x40

Event(s) generated (unless masked away):

When the Read_Number_Of_Supported_IAC command has completed, a
Command Complete event shall be generated.




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7.3.44 Read Current IAC LAP Command


 Command                           OCF        Command Parameters        Return Parameters

 HCI_Read_Current_IAC_LAP          0x0039                               Status,
                                                                        Num_Current_IAC,
                                                                        IAC_LAP[i]

Description:

This command reads the LAP(s) used to create the Inquiry Access Codes
(IAC) that the local BR/EDR Controller is simultaneously scanning for during
Inquiry Scans. All BR/EDR Controllers shall support at least one IAC, the
General Inquiry Access Code (the GIAC). Some BR/EDR Controllers support
additional IACs.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Current_IAC_LAP command succeeded.

 0x01-0xFF         Read_Current_IAC_LAP command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Num_Current_IAC                                                                Size: 1 Octet
 Value             Parameter Description

 0xXX              Specifies the number of IACs which are currently in use by the local BR/
                   EDR Controller to simultaneously listen for during an Inquiry Scan.
                   Range: 0x01-0x40

IAC_LAP[i]                                           Size: 3 Octets * Num_Current_IAC
 Value             Parameter Description

 0xXXXXXX          LAPs used to create the IAC which is currently in use by the local BR/EDR
                   Controller to simultaneously listen for during an Inquiry Scan.
                   Range: 0x9E8B00-0x9E8B3F

Event(s) generated (unless masked away):

When the Read_Current_IAC_LAP command has completed, a Command
Complete event shall be generated.


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7.3.45 Write Current IAC LAP Command


 Command                           OCF        Command Parameters          Return Parameters

 HCI_Write_Current_IAC_LAP         0x003A     Num_Current_IAC,            Status
                                              IAC_LAP[i]

Description:

This command writes the LAP(s) used to create the Inquiry Access Codes
(IAC) that the local BR/EDR Controller is simultaneously scanning for during
Inquiry Scans. All BR/EDR Controller shall support at least one IAC, the
General Inquiry Access Code (the GIAC). Some BR/EDR Controllers support
additional IACs.

This command shall clear any existing IACs and stores Num_Current_IAC and
the IAC_LAPs in to the Controller. If Num_Current_IAC is greater than
Num_Support_IAC then only the first Num_Support_IAC shall be stored in the
Controller, and a Command Complete event with error code Success (0x00)
shall be generated.

Command Parameters:

Num_Current_IAC                                                                    Size: 1 Octet
 Value             Parameter Description

 0xXX              Specifies the number of IACs that will be used by the local BR/EDR Con-
                   troller to simultaneously listen for during an Inquiry Scan.
                   Range: 0x01-0x40

IAC_LAP[i]                                           Size: 3 Octets * Num_Current_IAC
 Value             Parameter Description

 0xXXXXXX          LAP(s) that will be used to create the IACs that will be used by the local
                   BR/EDR Controller to simultaneously listen for during an Inquiry Scan.
                   Range: 0x9E8B00-0x9E8B3F.
                   The default IAC(s) to be used shall be the GIAC and zero or more other
                   IACs specified by the manufacturer.

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Current_IAC_LAP command succeeded.
 0x01-0xFF         Write_Current_IAC_LAP command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.




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Event(s) generated (unless masked away):

When the Write_Current_IAC_LAP command has completed, a Command
Complete event shall be generated.




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7.3.46 Set AFH Host Channel Classification Command


                                                                                   Return
 Command                              OCF            Command Parameters
                                                                                   Parameters

 Set_AFH_Host_Channel_                0x003F         AFH_Host_Channel_             Status
 Classification                                      Classification

Description:
The Set_AFH_Host_Channel_Classification command allows the Host to specify
a channel classification based on its “local information”. This classification
persists until overwritten with a subsequent
Set_AFH_Host_Channel_Classification command or until the BR/EDR
Controller is reset.
This command shall be supported by a device that declares support for any of
the AFH_capable_master, AFH_classification_slave or
AFH_classification_master features.
If this command is used, updates should be sent within 10 seconds of the Host
knowing that the channel classification has changed. The interval between two
successive commands sent shall be at least 1 second.

Command Parameters:

AFH_Host_Channel_Classification:                      Size: 10 Octets (79 Bits meaningful)
 Value             Parameter Description

 0xXXXXXXXX        This parameter contains 80 1-bit fields.
 XXXXXXXXXX
                   The nth such field (in the range 0 to 78) contains the value for channel n:
 XX
                   0: channel n is bad
                   1: channel n is unknown
                   The most significant bit (bit 79) is reserved for future use
                   At least Nmin channels shall be marked as unknown. (See [Vol 2] Part B,
                   Section 2.3.1). If the device supports Synchronizable mode, then the syn-
                   chronization train channels (see [Vol 2] Part B, Section 2.6.4.8) shall be
                   excluded when checking this requirement.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value             Parameter Description

 0x00              Set_AFH_Host_Channel_Classification command succeeded.
 0x01-0xFF         Set_AFH_Host_Channel_Classification command failed. [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.




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Event(s) generated (unless masked away):

When the Set_AFH_Host_Channel_Classification command has completed, a
Command Complete event shall be generated.




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7.3.47 Read Inquiry Scan Type Command


                                                     Command          Return
 Command                               OCF
                                                     Parameters       Parameters

 HCI_Read_Inquiry_Scan_Type            0x0042                         Status,
                                                                      Inquiry_Scan_Type

Description:

This command reads the Inquiry_Scan_Type configuration parameter from the
local BR/EDR Controller. See Section 6.4.For details, see the Baseband
Specification, [Vol 2] Part B, Section 8.4.1.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Inquiry_Scan_Type command succeeded
 0x01-0xFF          Read_Inquiry_Scan_Type command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Inquiry_Scan_Type:                                                           Size: 1 Octet
 Value              Parameter Description

 0x00               Standard Scan (default)
 0x01               Interlaced Scan

 All other values   Reserved for future use

Event(s) generated (unless masked away):

When the Read_Inquiry_Scan_Type command has completed, a Command
Complete event shall be generated.




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7.3.48 Write Inquiry Scan Type Command


                                                                                 Return
 Command                              OCF            Command Parameters
                                                                                 Parameters

 HCI_Write_Inquiry_Scan_Type          0x0043         Scan_Type                   Status

Description:

This command writes the Inquiry Scan Type configuration parameter of the
local BR/EDR Controller. See Section 6.4. For details, see the Baseband
Specification, [Vol 2] Part B, Inquiry Scan Substate.

Command Parameters:

Scan_Type:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Standard Scan (default)
 0x01               Interlaced Scan
 All other values   Reserved for future use

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Inquiry_Scan_Type command succeeded

 0x01-0xFF          Write_Inquiry_Scan_Type command failed. See [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Inquiry_Scan_Type command has completed, a Command
Complete event shall be generated.




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7.3.49 Read Inquiry Mode Command


                                                                                 Return
 Command                              OCF            Command Parameters
                                                                                 Parameters

 HCI_Read_Inquiry_Mode                0x0044                                     Status,
                                                                                 Inquiry_-
                                                                                 Mode

Description:

This command reads the Inquiry_Mode configuration parameter of the local
BR/EDR Controller. See Section 6.5.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Inquiry_Mode command succeeded.
 0x01-0xFF          Read_Inquiry_Mode command failed. See [Vol 2] Part D, Error Codes for
                    list of Error Codes.

Inquiry_Mode:                                                                   Size: 1 Octet
 Value              Parameter Description

 0x00               Standard Inquiry Result event format
 0x01               Inquiry Result format with RSSI
 0x02               Inquiry Result with RSSI format or Extended Inquiry Result format

 All other values   Reserved for future use

Event(s) generated (unless masked away):

When the Read_Inquiry_Mode command has completed, a Command
Complete event shall be generated.




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7.3.50 Write Inquiry Mode Command


                                                                                 Return
 Command                              OCF            Command Parameters
                                                                                 Parameters

 HCI_Write_Inquiry_Mode               0x0045         Inquiry_Mode                Status

Description:

This command writes the Inquiry_Mode configuration parameter of the local
BR/EDR Controller. See Section 6.5.

Command Parameters:

Inquiry_Mode:                                                                   Size: 1 Octet
 Value              Parameter Description

 0x00               Standard Inquiry Result event format (default)

 0x01               Inquiry Result format with RSSI
 0x02               Inquiry Result with RSSI format or Extended Inquiry Result format
 All other values   Reserved for future use

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Inquiry_Mode command succeeded.

 0x01-0xFF          Write_Inquiry_Mode command failed. See [Vol 2] Part D, Error Codes for
                    a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Inquiry_Mode command has completed, a Command
Complete event shall be generated.




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7.3.51 Read Page Scan Type Command


                                                     Command                  Return
 Command                               OCF
                                                     Parameters               Parameters

 HCI_Read_Page_Scan_Type               0x0046                                 Status,
                                                                              Page_Scan_Type

Description:

This command reads the Page Scan Type configuration parameter of the local
BR/EDR Controller. See Section 6.11. For details, see the Baseband
Specification, “Part B, Page Scan Substate” .

Command Parameters:

None.

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Page_Scan_Type command succeeded.
 0x01-0xFF          Read_Page_Scan_Type command failed. See [Vol 2] Part D, Error Codes
                    for a list of error codes and descriptions.

Page_Scan_Type:                                                                    Size: 1 Octet
 Value                                           Parameter Description

 0x00                                            Mandatory: Standard Scan (default)
 0x01                                            Optional: Interlaced Scan

 All other values                                Reserved for future use

Event(s) generated (unless masked away):

When the Read_Page_Scan_Type command has completed, a Command
Complete event shall be generated.




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7.3.52 Write Page Scan Type Command


                                                                                 Return
 Command                              OCF            Command Parameters
                                                                                 Parameters

 HCI_Write_Page_Scan_Type             0x0047         Page_Scan_Type              Status

Description:

This command writes the Page Scan Type configuration parameter of the local
BR/EDR Controller. See Section 6.11. For details, see the Baseband
Specification, [Vol 2] Part B, Section 8.3.1.

Command Parameters:

Page_Scan_Type:                                                                 Size: 1 Octet
 Value              Parameter Description

 0x00               Mandatory: Standard Scan (default)
 0x01               Optional: Interlaced Scan
 All other values   Reserved for future use

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Page_Scan_Type command succeeded.

 0x01-0xFF          Write_Page_Scan_Type command failed. See [Vol 2] Part D, Error Codes
                    for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Page_Scan_Type command has completed, a Command
Complete event shall be generated.




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7.3.53 Read AFH Channel Assessment Mode Command


                                                     Command      Return
 Command                                OCF
                                                     Parameters   Parameters

 Read_AFH_Channel_Assess-               0x0048                    Status,
 ment_Mode                                                        AFH_Channel
                                                                  _Assessment_Mode

Description:

The Read_AFH_Channel_Assessment_Mode command reads the value for
the AFH_Channel_Assessment_Mode parameter. The
AFH_Channel_Assessment_Mode parameter controls whether the Controller’s
channel assessment scheme is enabled or disabled.

This command shall be supported by a device that declares support for any of
the AFH_capable_master, AFH_classification_slave or
AFH_classification_master features.

Command Parameters:

None.

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value              Parameter Description

 0x00               Read_AFH_Channel_Assessment_Mode command succeeded.

 0x01-0xFF          Read_AFH_Channel_Assessment_Mode command failed. See [Vol 2]
                    Part D, Error Codes for a list of error codes and descriptions.

AFH_Channel_Assessment_Mode:                                                Size: 1 Octet
 Value              Parameter Description

 0x00               Controller channel assessment disabled.

 0x01               Controller channel assessment enabled.
 All other values   Reserved for future use.

Event(s) generated (unless masked away):

When the Read_AFH_Channel_Assessment_Mode command has completed,
a Command Complete event shall be generated.




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7.3.54 Write AFH Channel Assessment Mode Command


                                                                                 Return
 Command                              OCF            Command Parameters
                                                                                 Parameters

 Write_AFH_Channel                    0x0049         AFH_Channel                 Status
 _Assessment_Mode                                    _Assessment_Mode

Description:

The Write_AFH_Channel_Assessment_Mode command writes the value for
the AFH_Channel_Assessment_Mode parameter. The
AFH_Channel_Assessment_Mode parameter controls whether the Controller’s
channel assessment scheme is enabled or disabled.

Disabling channel assessment forces all channels to be unknown in the local
classification, but does not affect the AFH_reporting_mode or support for the
Set_AFH_Host_Channel_Classification command. A slave in the
AFH_reporting_enabled state shall continue to send LMP channel
classification messages for any changes to the channel classification caused
by either this command (altering the AFH_Channel_Assessment_Mode) or
HCI Set_AFH_Host_Channel_Classification command (providing a new
channel classification from the Host).

This command shall be supported by a device that declares support for any of
the AFH_capable_master, AFH_classification_slave or
AFH_classification_master features.

If the AFH_Channel_Assessment_Mode parameter is enabled and the BR/
EDR Controller does not support a channel assessment scheme, other than
via the Set_AFH_Host_Channel_Classification command, then a Status
parameter of ‘Channel Assessment Not Supported’ should be returned. See
“Part D, Error Codes” for a list of error codes and descriptions.

If the BR/EDR Controller supports a channel assessment scheme then the
default AFH_Channel_Assessment_Mode is enabled, otherwise the default is
disabled.

Command Parameters:

AFH_Channel_Assessment_Mode:                                                    Size: 1 Octet
 Value              Parameter Description

 0x00               Controller channel assessment disabled.

 0x01               Controller channel assessment enabled.
 All other values   Reserved for future use.




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Return Parameters:

Status:                                                                   Size: 1 Octet
 Value             Parameter Description

 0x00              Write_AFH_Channel_Assessment_Mode command succeeded.
 0x01-0xFF         Write_AFH_Channel_Assessment_Mode command failed. See [Vol 2]
                   Part D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_AFH_Channel_Assessment_Mode command has completed,
a Command Complete event shall be generated.




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7.3.55 Read Extended Inquiry Response Command


                                           Command
 Command                       OCF         Parameters      Return Parameters

 HCI_Read_Extended_            0x0051                      Status,
 Inquiry_Response                                          FEC_Required,
                                                           Extended_Inquiry_Response

Description:

The Read_Extended_Inquiry_Response command reads the extended inquiry
response to be sent during the extended inquiry response procedure. The
FEC_Required parameter states if FEC encoding is required.

Command Parameters:
None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value               Parameter Description

 0x00                Read_Extended_Inquiry_Response command succeeded.
 0x01 - 0xFF         Read_Extended_Inquiry_Response command failed. See [Vol 2] Part
                     D, Error Codes for a list of error codes and descriptions.

FEC_Required:                                                                  Size: 1 Octet
 Value              Parameter Description

 0x00               FEC is not required
 0x01               FEC is required

 All other values   Reserved for future use

Extended_Inquiry_Response:                                                Size: 240 Octets
 Value               Parameter Description

                     Extended inquiry response data as defined in [Vol 3] Part C, Section 8.

Event(s) generated (unless masked away):
When the Read_Extended_Inquiry_Response command has completed, a
Command Complete event shall be generated.




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7.3.56 Write Extended Inquiry Response Command


                                                                               Return
 Command                        OCF         Command Parameters                 Parameters

 HCI_Write_Extended_            0x0052      FEC_Required,                      Status
 Inquiry_Response                           Extended_Inquiry_Response

Description:

The Write_Extended_Inquiry_Response command writes the extended inquiry
response to be sent during the extended inquiry response procedure. The
FEC_Required command parameter states if FEC encoding is required. The
extended inquiry response data is not preserved over a reset. The initial value
of the inquiry response data is all zero octets. The Controller shall not interpret
the extended inquiry response data.

Command Parameters:

FEC_Required:                                                                   Size: 1 Octet
 Value              Parameter Description

 0x00               FEC is not required

 0x01               FEC is required
 All other values   Reserved for future use

Extended Inquiry Response:                                                 Size: 240 Octets
 Value              Parameter Description

                    Extended inquiry response data as defined in [Vol 3] Part C, Section 8.
                    All octets zero (default).

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Write_Extended_Inquiry_Response command succeeded
 0x01-0xFF          Write_Extended_Inquiry_Response command failed. See [Vol 2] Part D,
                    Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):
When the Write_Extended_Inquiry_Response command has completed, a
Command Complete event shall be generated.




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7.3.57 Refresh Encryption Key Command


                                                                                Return
 Command                               OCF           Command Parameters         Parameters

 HCI_Refresh_Encryption_Key            0x0053        Connection_Handle

Description:
This command is used by the Host to cause the BR/EDR Controller to refresh
the encryption key on an ACL connection identified by a Connection_Handle
by pausing and resuming encryption.

Command Parameters:

Connection_Handle:                                     Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)




Return Parameters:
None.

Event(s) generated (unless masked away):
A Command_Status event is sent from the BR/EDR Controller to the Host
when the Controller has started the Refresh Encryption Key procedure. An
Encryption Key Refresh Complete event shall be generated when the Refresh
Encryption Key procedure has completed.




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7.3.58 Read Simple Pairing Mode Command


                                                                             Return
 Command                             OCF            Command Parameters       Parameters

 HCI_Read_Simple_Pairing_            0x0055                                  Status,
 Mode                                                                        Simple_Pair-
                                                                             ing_Mode

Description:

This command reads the Simple_Pairing_Mode parameter in the BR/EDR
Controller.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Simple_Pairing_Mode command succeeded.
 0x01 - 0xFF              Read_Simple_Pairing_Mode command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

Simple_Pairing_Mode                                                             Size: 1Octet
 Value                    Parameter Description

 0x00                     Simple Pairing not set (default)
 0x01                     Simple pairing enabled
 All other values         Reserved for future use

Event(s) generated (unless masked away):

When the Read_Simple_Pairing_Mode command has completed, a Command
Complete event shall be generated.




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7.3.59 Write Simple Pairing Mode Command


                                                                             Return
 Command                             OCF            Command Parameters       Parameters

 HCI_Write_Simple_Pairing_           0x0056         Simple_Pairing_Mode      Status
 Mode

Description:

This command enables Simple Pairing mode in the BR/EDR Controller. When
Simple Pairing Mode is set to 'enabled' the Link Manager shall respond to an
LMP_io_capability_req PDU with an LMP_io_capability_res PDU and continue
with the subsequent pairing procedure. When Simple Pairing mode is set to
'disabled', the Link Manager shall reject an IO capability request. A Host shall
not set the Simple Pairing Mode to ‘disabled.’

Until Write_Simple_Pairing_Mode is received by the BR/EDR Controller, it shall
not support any Simple Pairing sequences, and shall return the error code
Simple Pairing not Supported by Host (0x37). This command shall be written
before initiating page scan or paging procedures.

The Link Manager Secure Simple Pairing (Host Support) feature bit shall be set
to the Simple_Pairing_Mode parameter. The default value for
Simple_Pairing_Mode shall be 'disabled.' When Simple_Pairing_Mode is set to
'enabled,' the bit in the LMP features mask indicating support for Secure
Simple Pairing (Host Support) shall be set to enabled in subsequent responses
to an LMP_features_req from a remote device.

Command Parameters:

Simple_Pairing_Mode:                                                            Size: 1 Octet
 Value                    Parameter Description

 0x00                     Simple Pairing disabled (default)
 0x01                     Simple pairing enabled

 All other values         Reserved for future use

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Simple_Pairing_Mode command succeeded.
 0x01 - 0xFF              Write_Simple_Pairing_Mode command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.




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Event(s) generated (unless masked away):

When the Write_Simple_Pairing_Mode command has completed, a Command
Complete event shall be generated.




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7.3.60 Read Local OOB Data Command


                                                                           Return
 Command                            OCF           Command Parameters       Parameters

 HCI_Read_Local_OOB_Data            0x0057                                 Status,
                                                                           C,
                                                                           R

Description:

This command obtains a Simple Pairing Hash C and Simple Pairing
Randomizer R which are intended to be transferred to a remote device using
an OOB mechanism. The BR/EDR Controller shall create new values for C and
R for each invocation of this command.

Note: Each OOB transfer will have unique C and R values so after each OOB
transfer this command shall be used to obtain a new set of values for the next
OOB transfer.

Note: The Controller keeps information used to generate these values for later
use in the simple pairing process. If the BR/EDR Controller is powered off or
reset then this information is lost and the values obtained before the power off
or reset are invalid.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Local_OOB_Data command succeeded.

 0x01 - 0xFF              Read_Local_OOB_Data command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

C:                                                                        Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             Simple Pairing Hash C
 XXXXXXXXXXXX
 XXXXXXXXXX




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R:                                                        Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXX             Simple Pairing Randomizer R
 XXXXXXXXXXXX
 XXXXXXXXXX

Event(s) generated (unless masked away):

When the Read_Local_OOB_Data command has completed, a Command
Complete event shall be generated.




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7.3.61 Read Inquiry Response Transmit Power Level Command


                                                                                 Return
 Command                               OCF          Command Parameters           Parameters

 HCI_Read_Inquiry                      0x0058                                    Status,
 _Response_Transmit                                                              TX_Power
 _Power_Level

Description:

This command reads the power level used to transmit the FHS and EIR data
packets. This can be used directly in the Tx Power Level EIR data type.

Command Parameters:

None.

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Inquiry_Response_Transmit_Power_Level command suc-
                          ceeded.
 0x01 - 0xFF              Read_Inquiry_Response_Transmit_Power_Level command failed.
                          See [Vol 2] Part D, Error Codes for a list of error codes and descrip-
                          tions.

TX_Power:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Size: 1 Octet (signed integer)
                          Range: -70 ≤ N ≤ 20
                          Units: dBm

Event(s) generated (unless masked away):

When the Read_Inquiry_Response_Transmit_Power_Level command has
completed, a Command Complete event shall be generated.




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7.3.62 Write Inquiry Transmit Power Level Command


                                                                             Return
 Command                               OCF          Command Parameters       Parameters

 HCI_Write_Inquiry_Trans-              0x0059       TX_Power                 Status
 mit_Power_Level

Description:

This command writes the inquiry transmit power level used to transmit the
inquiry (ID) data packets. The Controller should use the supported TX power
level closest to the Tx_Power parameter.

Command Parameters:

TX Power:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Size: 1 Octet (signed integer)
                          Range: -70 ≤ N ≤ 20
                          Units: dBm

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Inquiry_Transmit_Power_Level command succeeded
 0x01 - 0xFF              Write_Inquiry_Transmit_Power_Level command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Inquiry_Transmit_Power_Level command has completed, a
Command Complete event shall be generated.




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7.3.63 Send Keypress Notification Command


 Command                  OCF         Command Parameters        Return Parameters

 HCI_Send_Key-            0x0060      BD_ADDR,                  Status,
 press_Notification                   Notification_Type         BD_ADDR

Description:

This command is used during the Passkey Entry protocol by a device with
KeyboardOnly IO capabilities. It is used by a Host to inform the remote device
when keys have been entered or erased.

Command Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of remote device involved in simple pairing process

Notification_Type:                                                           Size: 1 Octet
 Value                    Parameter Description

 0                        Passkey entry started
 1                        Passkey digit entered

 2                        Passkey digit erased
 3                        Passkey cleared
 4                        Passkey entry completed

 5-255                    Reserved for future use

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Send_Keypress_Notification command succeeded
 0x01 - 0xFF              Send_Keypress_Notification command failed

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of remote device involved in simple pairing process




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Event(s) generated (unless masked away):

When the Send_Keypress_Notification command has completed, a Command
Complete event shall be generated.




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7.3.64 Read Default Erroneous Data Reporting Command


                                                Command
 Command                            OCF         Parameters        Return Parameters

 HCI_Read_Default_                  0x005A                        Status,
 Erroneous_Data_Reporting                                         Erroneous_Data_Reporting

Description:

This command reads the Erroneous_Data_Reporting parameter.

Command Parameters:

None.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Default_Erroneous_Data_Reporting command succeeded.

 0x01 - 0xFF              Read_Default_Erroneous_Data_Reporting command failed. See [Vol
                          2] Part D, Error Codes for a list of error codes and descriptions.

Erroneous_Data_Reporting:                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Erroneous data reporting disabled.

 0x01                     Erroneous data reporting enabled.
 All other values         Reserved for future use.

Event(s) generated (unless masked away):

When the Read_Default_Erroneous_Data_Reporting command has
completed, a Command Complete event shall be generated.




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7.3.65 Write Default Erroneous Data Reporting Command


                                                                              Return
 Command                            OCF         Command Parameters            Parameters

 HCI_Write_Default_                 0x005B      Erroneous_Data_Reporting      Status
 Erroneous_Data_Reporting

Description:

This command writes the Erroneous_Data_Reporting parameter. The BR/EDR
Controller shall set the Packet_Status_Flag as defined in Section 5.4.3 HCI
Synchronous Data Packets, depending on the value of this parameter. The
new value for the Erroneous_Data_Reporting parameter shall not apply to
existing synchronous connections.

Command Parameters:

Erroneous_Data_Reporting:                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Erroneous Data reporting disabled (default).

 0x01                     Erroneous data reporting enabled.
 All other values         Reserved for future use.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Default_Erroneous_Data_Reporting command succeeded.
 0x01 - 0xFF              Write_Default_Erroneous_Data_Reporting command failed. See [Vol
                          2] Part D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Default_Erroneous_Data_Reporting command has
completed, a Command Complete event shall be generated.




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7.3.66 Enhanced Flush Command


                                              Command
 Command                          OCF         Parameters            Return Parameters

 HCI_Enhanced_Flush               0x005F      Handle,
                                              Packet_Type

Description:

The Enhanced_Flush command is used to discard all L2CAP packets identified
by Packet_Type that are currently pending for transmission in the Controller for
the specified Handle, even if there currently are chunks of data that belong to
more than one L2CAP packet of the same type in the Controller. The only
packet type defined is automatically-flushable. Packets not identified by
Packet_Type will not be flushed and will be processed normally by the
Controller.

After flushing the packets, all data that is sent to the BR/EDR Controller for the
same Handle and packet type shall be discarded by the Controller until an HCI
Data Packet with the start Packet_Boundary_Flag (0x00 or 0x02) is received.
This command allows higher-level software to control how long the baseband
should try to retransmit a baseband packet of a specific type for a Handle
before all data of that type currently pending for transmission in the Controller
should be flushed. Note that the Enhanced Flush command is used for ACL-U
connections only. On the BR/EDR Controller, the Flush command can be used
to flush all packets (see Section 7.3.4). In addition to the Enhanced Flush and
Flush commands, the automatic flush timers (see Section 7.3.29) can be used
to automatically flush an automatically-flushable L2CAP packet that is currently
being transmitted after the specified flush timer has expired.

This command shall be supported by a device that declares support for the
Non-Flushable Packet Boundary Flag feature.

On an AMP Controller, in addition to the Enhanced_Flush command, the
automatic flush timer specified in the Flow Specification for this logical link may
be used to automatically flush packets on this logical link.

Command Parameters:

Handle:                                              Size: 2 Octets (12 bits meaningful)
 Value       Parameter Description

 0xXXXX      Handle to be used to identify a connection.
             The Handle is a Connection_Handle for a BR/EDR Controller and a Logical Link
             Handle for an AMP Controller.
             Range: 0x0000 - 0x0EFF (all other values reserved for future use)




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Packet_Type:                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Automatically flushable only.
 All other values   Reserved for future use.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Enhanced_Flush command, the Controller
shall send the Command Status event to the Host. In addition, when all the
packets identified by Packet_Type have been flushed for the specified Handle,
the Controller shall send an Enhanced Flush Complete event to the Host. The
Controller may send the Enhanced Flush Complete event immediately after
flushing all the packets of type Packet_Type for the specified Handle, or it may
wait until all packets for the specified Handle, independent of Packet_Type,
buffered in the Controller at the time of the receipt of the Enhanced Flush
Command, have been either flushed or transmitted.

Note: No Command Complete event will be sent by the Controller to indicate
that this command has been completed. Instead, the Enhanced Flush
Complete event will indicate that this command has been completed.




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7.3.67 Read Logical Link Accept Timeout Command


                                            Command
 Command                         OCF        Parameters    Return Parameters

 HCI_Read_Logical_Link_          0x0061                   Status,
 Accept_Timeout                                           Logical_Link_Accept_Timeout

Description:

This command reads the value for the Logical_Link_Accept_Timeout
configuration parameter.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Logical_Link_Accept_Timeout command succeeded.
 0x01-0xFF                Read_Logical_Link_Accept_Timeout command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

Logical_Link_Accept_Timeout:                                               Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Logical_Link Accept Timeout measured in Number of BR/EDR
                          Baseband slots.
                          Interval Length = N * 0.625 ms (1 BR/EDR Baseband slot)
                          Range for N: 0x0001 - 0xB540
                          Time Range: 0.625 ms -29 s

Event(s) generated (unless masked away):

When the Read_Logical_Link_Timeout command has completed, a Command
Complete event shall be generated.




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7.3.68 Write Logical Link Accept Timeout Command


                                                                             Return
 Command                         OCF        Command Parameters               Parameters

 HCI_Write_Logical_Link _        0x0062     Logical_Link_Accept_Timeout      Status
 Accept_Timeout

Description:

This command writes the value for the Logical_Link_Accept_Timeout
configuration parameter. See Logical Link Accept Timeout.

Command Parameters:

Logical_Link_Accept_Timeout:                                               Size: 2 Octets
 Value                         Parameter Description

 N = 0xXXXX                    Logical_Link Accept Timeout measured in Number of BR/EDR
                               Baseband slots.
                               Interval Length = N * 0.625 ms (1 BR/EDR Baseband slot)
                               Range for N: 0x0001 - 0xB540
                               Time Range: 0.625 ms - 29 s
                               Default: N = 0x1FA0 Time = 5.06 s
                               Mandatory Range for Controller: 0x00A0 to 0xB540

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Logical_Link_Accept_Timeout command succeeded.
 0x01-0xFF                Write_Logical_Link_Accept_Timeout command failed. See [Vol 2]
                          Part D, Error Codesor a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Logical_Link_Accept_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.69 Set Event Mask Page 2 Command


                                                                                Return
 Command                               OCF           Command Parameters         Parameters

 HCI_Set_Event_Mask_Page_2             0x0063        Event_Mask_Page_2          Status

Description:

The Set_Event_Mask_Page_2 command is used to control which events are
generated by the HCI for the Host. The Event_Mask_Page_2 is a logical
extension to the Event_Mask parameter of the Set_Event_Mask command. If
the bit in the Event_Mask_Page_2 is set to a one, then the event associated
with that bit shall be enabled. The Host has to deal with each event that occurs
by the Controllers. The event mask allows the Host to control how much it is
interrupted.

Command Parameters:

Event_Mask_Page_2:                                                            Size: 8 Octets
 Bit     Parameter Description

 0       Physical Link Complete Event
 1       Channel Selected Event

 2       Disconnection Physical Link Complete Event
 3       Physical Link Loss Early Warning Event
 4       Physical Link Recovery Event

 5       Logical Link Complete Event
 6       Disconnection Logical Link Complete Event
 7       Flow Spec Modify Complete Event

 8       Number Of Completed Data Blocks Event
 9       AMP Start Test Event
 10      AMP Test End Event

 11      AMP Receiver Report Event
 12      Short Range Mode Change Complete Event
 13      AMP Status Change Event

 14      Triggered Clock Capture Event
 15      Synchronization Train Complete Event
 16      Synchronization Train Received Event

 17      Connectionless Slave Broadcast Receive Event
 18      Connectionless Slave Broadcast Timeout Event


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 Bit      Parameter Description

 19       Truncated Page Complete Event
 20       Slave Page Response Timeout Event
 21       Connectionless Slave Broadcast Channel Map Change Event

 22       Inquiry Response Notification Event
 23       Authenticated Payload Timeout Expired Event
 24       SAM Status Change Event

The value with all bits set to 0 (which is the default) indicates that no events are
specified.

All bits not listed in this table are reserved for future use.

Return Parameters:

Status:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_Event_Mask_Page_2 command succeeded.

 0x01-0xFF                Set_Event_Mask_Page_2 command failed. See [Vol 2] Part D,
                          Error Codesfor error codes and descriptions.

Event(s) generated (unless masked away):

When the Set_Event_Mask_Page_2 command has completed, a Command
Complete event shall be generated.




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7.3.70 Read Location Data Command


                                               Command
 Command                     OCF               Parameters     Return Parameters

 HCI_                        0x0064                           Status,
 Read_Location_Data                                           Location_Domain_Aware,
                                                              Location_Domain,
                                                              Location_Domain Options,
                                                              Location_Options

Description:

The Read_Location_Data command provides the ability to read any stored
knowledge of environment or regulations or currently in use in the AMP
Controller. See Section 6.29 to Section 6.32.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Location_Data command succeeded.
 0x01-0xFF                Read_Location_Data command failed. See " [Vol 2] Part D, Error
                          Codes for error codes and descriptions.

See Section 6.29 to Section 6.32 for Location_Domain_Aware,
Location_Domain, Location_Domain_Options and Location_Options
respectively.

Event(s) generated (unless masked away):

When the Read_Location_Data command has completed, a Command
Complete event shall be generated.




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7.3.71 Write Location Data Command


                                                                             Return
 Command                   OCF                Command Parameters             Parameters

 HCI_                      0x0065             Location_Domain_Aware,         Status
 Write_Location_Data                          Location_Domain,
                                              Location_Domain_Options,
                                              Location_Options

Description:

The Write_Location_Data command writes information about the environment
or regulations currently in force, which may affect the operation of the
Controller. The Controller may use this information to optimize its operation
and to ensure its conformance to currently applicable regulations. The exact
way in which this affects AMP operation is AMP type specific.

Command Parameters:

See Section 6.29 to Section 6.32 for Location_Domain_Aware,
Location_Domain, Location_Domain_Options, Location_Options.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Location_Data command succeeded.

 0x01-0xFF                Write_Location_Data command failed. See [Vol 2] Part D, Error
                          Codes for error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Location_Data command has completed, a Command
Complete event shall be generated.




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7.3.72 Read Flow Control Mode Command


                                                     Command
 Command                           OCF               Parameters   Return Parameters

 HCI_                              0x0066                         Status,
 Read_Flow_Control_Mode                                           Flow_Control_Mode

Description:

This command reads the value for the Flow_Control_Mode configuration
parameter. See Section 6.33.

Command Parameters:

None.

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Flow_Control_Mode command succeeded.
 0x01-0xFF                Read_Flow_Control_Mode command failed. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.

Flow_Control_Mode: See Section 6.33.

Event(s) generated (unless masked away):

When the Read_Flow_Control_Mode command has completed, a Command
Complete event shall be generated.




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7.3.73 Write Flow Control Mode Command


                                                     Command                Return
 Command                              OCF            Parameters             Parameters

 HCI_Write_Flow_Control_Mode          0x0067         Flow_Control_Mode      Status

Description:

This command writes the value for the Flow_Control_Mode configuration
parameter. See Section 6.33.

Command Parameters:

Flow_Control_Mode:                                                            Size: 1 Octet
 Value               Parameter Description

 0x00                Packet based data flow control mode (default for a BR/EDR Control-
                     ler)

 0x01                Data block based data flow control mode (default for an AMP Control-
                     ler)

 All other values    Reserved for future use

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Flow_Control_Mode command succeeded.
 0x01-0xFF                Write_Flow_Control_Mode command failed. See [Vol 2] Part D,
                          Error Codesfor a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Flow_Control_Mode command has completed, a Command
Complete event shall be generated. If the set fails then the Controller continues
using its current mode.




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7.3.74 Read Enhanced Transmit Power Level Command


                                     Command                  Return
 Command                   OCF       Parameters               Parameters

 HCI_Read_                 0x0068    Connection_Handle,       Status,
 Enhanced_                           Type                     Connection_Handle,
 Transmit_Power_                                              Transmit_Power_Level_GFSK,
 Level                                                        Transmit_Power_Level_DQPSK,
                                                              Transmit_Power_Level_8DPSK

Description:

This command reads the values for the Enhanced_Transmit_Power_Level
parameters for the specified Connection_Handle. The Connection_Handle
must be a Connection_Handle for an ACL connection.

Command Parameters:

Connection_Handle:                                    Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000 - 0x0EFF (all other values reserved for future use).

Type:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read Current Transmit Power Level
 0x01                     Read Maximum Transmit Power Level

 All other values         Reserved for future use.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Enhanced_Transmit_Power_Level command succeeded.
 0x01-0xFF                Read_Enhanced_Transmit_Power_Level command failed. See
                          [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000 - 0x0EFF (all other values reserved for future use)




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Transmit_Power_Level_GFSK:                                       Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Size: 1 Octet (signed integer)
                          Range: -100 ≤ N ≤ 20
                          Units: dBm

Transmit_Power_Level_DQPSK:                                      Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Size: 1 Octet (signed integer)
                          Range: -100 ≤ N ≤ 20
                          Units: dBm

Transmit_Power_Level_8DPSK:                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Size: 1 Octet (signed integer)
                          Range: -100 ≤ N ≤ 20
                          Units: dBm

Event(s) generated (unless masked away):

When the Read_Enhanced_Transmit_Power_Level command has completed,
a Command Complete event shall be generated.




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7.3.75 Read Best Effort Flush Timeout Command


 Command                  OCF       Command Parameters         Return Parameters

 HCI_                     0x0069    Logical_Link_Handle        Status,
 Read_Best_Ef-                                                 Best_Effort_Flush_Timeout
 fort_Flush_Timeout

Description:

This command reads the value of the Best Effort Flush Timeout from the AMP
Controller.

Command Parameters:

Logical_Link_Handle:                                 Size: 2 Octets (12 Bits meaningful)
 Value                     Parameter Description

 0xXXXX                    Logical_Link_Handle to which the Write_Best_Effort_Flush_Time-
                           out command applies.
                           Range: 0x0000-0xEFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                     Parameter Description

 0x00                      Read_Best_Effort_Flush_Timeout command succeeded.
 0x01-0xFF                 Read_Best_Effort_Flush_Timeout command failed. See [Vol 2] Part
                           D, Error Codes for a list of error codes and descriptions.

Best_Effort_Flush_Timeout:                                                   Size: 4 Octets
 Value                     Parameter Description

 0xXXXXXXXX                0x00000000 - 0xFFFFFFFE: Best Effort Flush Timeout value in
                           microseconds
                           0xFFFFFFFF: No Best Effort Flush Timeout used (default)

Event(s) generated (unless masked away):

When the Read_Best_Effort_Flush_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.76 Write Best Effort Flush Timeout Command


                                                                          Return
 Command                       OCF           Command Parameters           Parameters

 HCI_                          0x006A        Logical_Link_Handle,         Status
 Write_Best_Effort_Flush_-                   Best_Effort_Flush_Timeout
 Timeout

Description:

This command writes the value of the Best_Effort_Flush_Timeout into the AMP
Controller. The Best_Effort_Flush_Timeout shall be associated with the given
logical link, and that Logical_Link_Handle must specify a Best Effort logical
link.

Command Parameters:

Logical_Link_Handle:                                 Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Logica_Link_Handle to which the Write_Best_Effort_Flush_Time-
                          out command applies.
                          Range: 0x0000-0xEFF (all other values reserved for future use)

Best_Effort_Flush_Timeout:                                                   Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               0x00000000 - 0xFFFFFFFE: Best_Effort_Flush_Timeout value in
                          microseconds
                          0xFFFFFFFF: No Best Effort Flush Timeout used (default)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Best_Effort_Flush_Timeout command succeeded.
 0x01-0xFF                Write_Best_Effort_Flush_Timeout command failed. See " [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Best_Effort_Flush_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.77 Short Range Mode Command


 Command                  OCF            Command Parameters       Return Parameters

 HCI_                     0x006B         Physical_Link_Handle,
 Short_Range_Mode                        Short_Range_Mode

Description:

This command will configure the value of Short_Range_Mode to the AMP
Controller and is AMP type specific (see Volume 5, Core System Package
[AMP Controller volume]).

Command Parameters:

Physical_Link_Handle:                                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle to which the Short Range Mode command
                          applies.

Short_Range_Mode:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Configuration setting of Short Range Mode
                          0x00 - Short Range Mode disabled (default)
                          0x01 - Short Range Mode enabled
                          0x02 - 0xFF - Reserved for Future Use

Return Parameters:

None.

Event(s) generated (unless masked away):

A Command Status event is sent from the AMP Controller to the Host when the
AMP Controller has received the Short_Range_Mode command. When the
Short_Range_Mode command has completed, a Short Range Mode Change
Complete event shall be generated.

Note: No Command Complete event will be sent by the AMP Controller to
indicate that this command has been completed. Instead, the Short Range
Mode Change Complete event will indicate that this command has been
completed.




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7.3.78 Read LE Host Support Command


                                             Command
 Command                       OCF           Parameters       Return Parameters

 HCI_Read_LE_Host_             0x006C                         Status,
 Support                                                      LE_Supported_Host,
                                                              Simultaneous_LE_Host

Description:

The Read_LE_Host_Support command is used to read the LE Supported
(Host) and Simultaneous LE and BR/EDR to Same Device Capable (Host) Link
Manager Protocol feature bits. These Link Manager Protocol feature bits are
used by the local Host and a remote device (Controller and Host). See [Vol 2]
Part C, Section 3.2.

The Simultaneous_LE_Host parameter shall be ignored upon receipt.

Command Parameters:

None.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Read_LE_Host_Support command succeeded.

 0x01 - 0xFF          Read_LE_Host_Support command failed. See [Vol 2] Part D, Error
                      Codes for a list of error codes and descriptions.

LE_Supported_Host:                                                               Size: 1 Octet
 Value                    Parameter Description

 0xXX                     LE_Supported_Host parameter, see Section 6.34.

Simultaneous_LE_Host:                                                            Size: 1 Octet
 Value         Parameter Description

 0xXX          Simultaneous_LE_Host parameter, see Section 6.35.

Event(s) Generated (unless masked away):

When the Read_LE_Host_Support command has completed, a Command
Complete event shall be generated.




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7.3.79 Write LE Host Support Command


 Command                             OCF      Command Parameters          Return Parameters

 HCI_Write_LE_Host_Support           0x006    LE_Supported_Host,          Status
                                     D        Simultaneous_LE_Host

Description:

The Write_LE_Host_Support command is used to set the LE Supported (Host)
and Simultaneous LE and BR/EDR to Same Device Capable (Host) Link
Manager Protocol feature bits. These Link Manager Protocol feature bits are
used by a remote Host. See [Vol 2] Part C, Section 3.2.

The default value for these feature bits shall be disabled. When
LE_Supported_Host is set to enabled the bit in LMP features mask indicating
support for LE Support (Host) shall be set. The Simultaneous_LE_Host
parameter shall be set to disabled.

Command Parameters:

LE_Supported_Host:                                                               Size: 1 Octet
 Value                    Parameter Description

 0xXX                     LE_Supported_Host parameter. See Section 6.34

Simultaneous_LE_Host:                                                            Size: 1 Octet
 Value         Parameter Description

 0xXX          Simultaneous_LE_Host parameter. See Section 6.35

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Write_LE_Host_Support command succeeded.
 0x01 - 0xFF          Write_LE_Host_Support command failed. See "[Vol 2] Part D, Error
                      Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the Write_LE_Host_Support command has completed, a Command
Complete event shall be generated.




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7.3.80 Set MWS Channel Parameters Command


                                                                            Return
 Command                       OCF            Command Parameters            Parameters

 HCI_Set_MWS_Channel_          0x006E         MWS_Channel_Enable,           Status
 Parameters                                   MWS_RX_Center_Frequency,
                                              MWS_TX_Center_Frequency,
                                              MWS_RX_Channel_Bandwidth,
                                              MWS_TX_Channel_Bandwidth,
                                              MWS_Channel_Type

Description:

The Set_MWS_Channel_Parameters command is used to inform the
Controller of the MWS channel parameters.

The MWS_Channel_Enable parameter is used to enable or disable the MWS
channel.

The MWS_RX_Center_Frequency and MWS_TX_Center_Frequency
parameters are used to indicate the center frequency of the MWS device’s
uplink (TX) and downlink (RX) channels. Note that the uplink and downlink
channel centers may be the same value or different values.

The MWS_RX_Channel_Bandwidth and MWS_TX_Channel_Bandwidth
parameters are used to indicate the bandwidth, in kHz, of the MWS device’s
uplink and downlink channels.

The MWS_Channel_Type parameter describes the type of channel. The types
are defined in the Bluetooth Assigned Numbers.

Command Parameters:

MWS_Channel_Enable:                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     MWS channel is disabled.

 0x01                     MWS channel is enabled.
 0x02 – 0xFF              Reserved for Future Use.

MWS_RX_Center_Frequency:                                                  Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS RX center frequency in MHz.




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MWS_TX_Center_Frequency:                                                 Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS TX center frequency in MHz

MWS_RX_Channel_Bandwidth:                                                Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS RX channel bandwidth in kHz.

MWS_TX_Channel_Bandwidth:                                                Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS TX channel bandwidth in kHz.

MWS_Channel_Type:                                                          Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Bluetooth Assigned numbers.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_MWS_Channel_Parameters command succeeded.
 0x01-0xFF                Set_MWS_Channel_Parameters command failed. See [Vol 2] Part
                          D, Error Codes, for error codes and descriptions

Event(s) generated (unless masked away):

When the Set_MWS_Channel_Parameters command has completed, a
Command Complete event shall be generated.




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7.3.81 Set External Frame Configuration Command


                                             Command                           Return
 Command                         OCF         Parameters                        Parameters

 HCI_ Set_ External_             0x006F      Ext_Frame_Duration,               Status
 Frame_Configuration                         Ext_Frame_Sync_Assert_Offset,
                                             Ext_Frame_Sync_Assert_Jitter,
                                             Ext_Num_Periods,
                                             Period_Duration[i],
                                             Period_Type[i]

Description:

The Set_External_Frame_Configuration command allows the Host to specify a
frame configuration for an external collocated MWS system. This frame
configuration persists until overwritten with a subsequent
Set_External_Frame_Configuration or until the Primary Controller is reset.

This command may be supported by a device that declares support for the
Coarse Clock Adjustment feature. It may be used to allow the Controller to
align the piconet clock with an external frame structure.

When the external frame structure is a multiple of 1.25 ms, it can be aligned in
a stable manner with the piconet clock.

The start of the external frame structure is defined as an offset from an external
frame synchronization signal. This offset is defined by the
Ext_Frame_Sync_Assert_Offset parameter. The offset is represented as the
time (in microseconds) from the start of the next MWS frame to the
FRAME_SYNC signal.

An external frame consists of downlink periods, uplink periods and guard
periods. Downlink means the collocated MWS system is receiving, thus may
be interfered with by Bluetooth transmissions. Uplink means the collocated
MWS system is transmitting, thus may cause interference to Bluetooth
receptions. A guard period may be used by the MWS system to compensate
for propagation delays; in this case it should be regarded as split equally
between downlink and uplink durations.

The number of specified periods is given by Ext_Num_Periods.

The duration in microseconds of each period is defined by the
Period_Duration[i] parameters.

The Period_Type[i] parameter indicates if the specified period is an uplink,
downlink, bi-directional or guard period.

The sum of all Period_Duration[i] parameters shall be equal to the
Ext_Frame_Duration parameter.


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Upon reception of a Set_External_Frame_Configuration command and a
FRAME_SYNC signal from the MWS Coexistence Logical Interface, the
Controller may compute the type 0 submap for local SAM slot maps. The
Controller may then initiate the SAM set type 0 and SAM define map LMP
sequences with the remote device.

Command Parameters:

Ext_Frame_Duration:                                                             Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   External frame duration in microseconds (unsigned integer)

Ext_Frame_Sync_Assert_Offset:                                                   Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   External frame offset in microseconds (signed integer)

Ext_Frame_Sync_Assert_Jitter:                                                   Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   External frame sync jitter in microseconds (unsigned integer)

Ext_Num_Periods:                                                                   Size: 1 Octet
 Value                     Parameter Description

 N                         Number of specified periods in an external frame.
                           Valid range: 1 to 32 (unsigned integer)

Period_Duration[i]:                                    Size: Ext_Num_Periods * 2 Octets
 Value                     Parameter Description

 0xXXXX                    Duration of the [i] period in microseconds (unsigned integer)

Period_Type[i]:                                         Size: Ext_Num_Periods * 1 Octet
 Value                     Parameter Description

 0x00                      Downlink
 0x01                      Uplink

 0x02                      Bi-Directional
 0x03                      Guard Period
 All other values          Reserved for future use




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Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_External_Frame_Configuration command succeeded.
 0x01-0xFF                Set_External_Frame_Configuration command failed. See [Vol 2]
                          Part D, Error Codes, for error codes and descriptions

Event(s) generated (unless masked away):

When the Set_External_Frame_Configuration command has completed, a
Command Complete event shall be generated.




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7.3.82 Set MWS Signaling Command
 Command            OCF         Command Parameters             Return Parameters

 HCI_Set_           0x0070      MWS_RX_Assert_Offset,          Status,
 MWS_Signaling                  MWS_RX_Assert_Jitter,          Bluetooth_Rx_Priority_
                                MWS_RX_Deassert_Offset,        Assert_Offset,

                                MWS_RX_Deassert_Jitter,        Bluetooth_Rx_Priority_
                                                               Assert_Jitter,
                                MWS_TX_Assert_Offset,
                                                               Bluetooth_Rx_Priority_
                                MWS_TX_Assert_Jitter,          Deassert_Offset,
                                MWS_TX_Deassert_Offset,        Bluetooth_Rx_Priority_
                                MWS_TX_Deassert_Jitter,        Deassert_Jitter,
                                MWS_Pattern_Assert_Offset,     802_Rx_Priority_Assert_
                                MWS_Pattern_Assert_Jitter,     Offset,
                                MWS_Inactivity_Duration_       802_Rx_Priority_Assert_
                                Assert_Offset,                 Jitter,
                                MWS_Inactivity_Duration_       802_Rx_Priority_Deassert_
                                Assert_Jitter,                 Offset,
                                MWS_Scan_Frequency_            802_Rx_Priority_Deassert_
                                Assert_Offset,                 Jitter,

                                MWS_Scan_Frequency_            Bluetooth_Tx_On_Assert_
                                Assert_Jitter,                 Offset,
                                MWS_Priority_Assert_           Bluetooth_Tx_On_Assert_
                                Offset_Request                 Jitter,
                                                               Bluetooth_Tx_On_Deassert_
                                                               Offset,
                                                               Bluetooth_Tx_On_Deassert_
                                                               Jitter,
                                                               802_Tx_On_Assert_Offset,
                                                               802_Tx_On_Assert_Jitter,
                                                               802_Tx_On_Deassert_Offset,
                                                               802_Tx_On_Deassert_Jitter

Description:

The Set_MWS_Signaling command is used to inform the Bluetooth Controller
of the MWS signaling interface logical layer parameters.

All signals are defined in [Vol 7] Part A.

Command Parameters:

MWS_RX_Assert_Offset:                                                        Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_RX signal assert offset in microseconds (signed integer).




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MWS_RX_Assert_Jitter:                                            Size: 2 Octets

 Value                    Parameter Description

 0xXXXX                   MWS_RX signal assert jitter in microseconds (unsigned integer).

MWS_RX_Deassert_Offset:                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_RX signal de-assert offset in microseconds (signed integer).

MWS_RX_Deassert_Jitter:                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_RX signal de-assert jitter in microseconds (unsigned integer).

MWS_TX_Assert_Offset:                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_TX signal assert offset in microseconds (signed integer).

MWS_TX_Assert_Jitter:                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_TX signal assert jitter in microseconds (unsigned integer).

MWS_TX_Deassert_Offset:                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_TX signal de-assert offset in microseconds (signed integer).

MWS_TX_Deassert_Jitter:                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_TX signal de-assert jitter in microseconds (unsigned integer).

MWS_Pattern_Assert_Offset:                                                    Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_PATTERN signal assert offset in microseconds (signed integer).

MWS_Pattern_Assert_Jitter:                                                    Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_PATTERN signal assert jitter in microseconds (unsigned integer).




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MWS_Inactivity_Duration_Assert_Offset:                                      Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_INACTIVITY_DURATION signal assert offset in microseconds
                          (signed integer).

MWS_Inactivity_Duration_Assert_Jitter:                                      Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_INACTIVITY_DURATION signal assert jitter in microseconds
                          (unsigned integer).

MWS_Scan_Frequency_Assert_Offset:                                           Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_SCAN_FREQUENCY signal assert offset in microseconds
                          (signed integer).

MWS_Scan_Frequency_Assert_Jitter:                                           Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   MWS_SCAN_FREQUENCY signal assert jitter in microseconds
                          (unsigned integer).

MWS_Priority_Assert_Offset_Request:                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Minimum advance notification from the beginning of an MWS Uplink
                          period in microseconds (unsigned integer) before which the BLUE-
                          TOOTH_RX_PRI or 802_RX_PRI signal shall be asserted to be rec-
                          ognized by the MWS.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_MWS_Signaling command succeeded.
 0x01-0xFF                Set_MWS_Signaling command failed. See [Vol 2] Part D, Error
                          Codes, for error codes and descriptions

Bluetooth_RX_Priority_Assert_Offset:                                        Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_RX_PRI signal assert offset in microseconds (signed
                          integer).




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Bluetooth_RX_Priority_Assert_Jitter:                                             Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_RX_PRI signal assert jitter in microseconds
                          (unsigned integer).

Bluetooth_RX_Priority_Deassert_Offset:                                           Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_RX_PRI signal de-assert offset in microseconds
                          (signed integer).

802_RX_Bluetooth_RX_Priority_Deassert_Jitter:                                    Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_RX_PRI signal de-assert jitter in microseconds
                          (unsigned integer).

Priority_Assert_Offset:                                                          Size: 2 Octets
 Value                     Parameter Description

 0xXXXX                    802_RX_PRI signal assert offset in microseconds (signed integer).

802_RX_Priority_Assert_Jitter:                                                   Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_RX_PRI signal assert jitter in microseconds (unsigned integer).

802_RX_Priority_Deassert_Offset:                                                 Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_RX_PRI signal de-assert offset in microseconds (signed integer).

802_RX_Priority_Deassert_Jitter:                                                 Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_RX_PRI signal de-assert jitter in microseconds (unsigned integer).

Bluetooth_TX_On_Assert_Offset:                                                   Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_TX_ON signal assert offset in microseconds (signed
                          integer).




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Bluetooth_TX_On_Assert_Jitter:                                                 Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_TX_ON signal assert jitter in microseconds (unsigned
                          integer).

Bluetooth_TX_On_Deassert_Offset:                                               Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_TX_ON signal de-assert offset in microseconds
                          (signed integer).

Bluetooth_TX_On_Deassert_Jitter:                                               Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   BLUETOOTH_TX_ON signal de-assert jitter in microseconds
                          (unsigned integer).

802_TX_On_Assert_Offset:                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_TX_ON signal assert offset in microseconds (signed integer).

802_TX_On_Assert_Jitter:                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_TX_ON signal assert jitter in microseconds (unsigned integer).

802_TX_On_Deassert_Offset:                                                     Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_TX_ON signal de-assert offset in microseconds (signed integer).

802_TX_On_Deassert_Jitter:                                                     Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   802_TX_ON signal de-assert jitter in microseconds (unsigned integer).

Event(s) generated (unless masked away):

When the Set_MWS_Signaling command has completed, a Command
Complete event shall be generated.




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7.3.83 Set MWS Transport Layer Command
                                                     Command                      Return
 Command                                 OCF         Parameters                   Parameters

 HCI_Set_MWS_Transport_Layer             0x0071      Transport_Layer,             Status
                                                     To_MWS_Baud_Rate,
                                                     From_MWS_Baud_Rate

Description:

The Set_MWS_Transport_Layer command configures the transport layer
between the Bluetooth Controller and MWS device.

Command Parameters:

Transport_Layer:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Bluetooth Assigned numbers.

To_MWS_Baud_Rate:                                                                Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               Baud rate in the Bluetooth to MWS direction in Baud.

From_MWS_Baud_Rate:                                                              Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               Baud rate in the MWS to Bluetooth direction in Baud.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_MWS_Transport_Layer command succeeded.
 0x01-0xFF                Set_MWS_Transport_Layer command failed. See [Vol 2] Part D,
                          Error Codes, for error codes and descriptions

Event(s) generated (unless masked away):

When the Set_MWS_Transport_Layer command has completed, a Command
Complete event shall be generated.




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7.3.84 Set MWS Scan Frequency Table Command
                                             Command                        Return
 Command                        OCF          Parameters                     Parameters

 HCI_Set_MWS_Scan_              0x0072       Num_Scan_Frequencies,          Status
 Frequency_Table                             Scan_Frequency_Low[i],
                                             Scan_Frequency_High[i]

Description:

The Set_MWS_Scan_Frequency_Table command configures the MWS scan
frequency table in the Controller.

The Num_Scan_Frequencies parameter indicates the number of MWS scan
frequencies to be set. A Controller shall support at least 8 table entries.

The Scan_Frequency_Low[i] and Scan_Frequency_High[i] parameters
indicate the lower and upper edges for each scan frequency.

Command Parameters:

Num_Scan_Frequencies:                                                        Size: 1 Octet
 Value                    Parameter Description

 N                        Number of MWS scan frequencies to be set in the table.

Scan_Frequency_Low[i]:                        Size: Num_Scan_Frequencies * 2 Octets
 Value                    Parameter Description

 0xXXXX                   Lower edge of the MWS scan frequency in MHz (unsigned integer).

Scan_Frequency_High[i]:                      Size: Num_Scan_Frequencies * 2 Octets
 Value                    Parameter Description

 0xXXXX                   Upper edge of the MWS scan frequency in MHz (unsigned integer).

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                     Parameter Description

 0x00                      Set_MWS_Scan_Frequency_Table command succeeded.
 0x01-0xFF                 Set_MWS_Scan_Frequency_Table command failed. See [Vol 2]
                           Part D, Error Codes, for error codes and descriptions




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Event(s) generated (unless masked away):

When the Set_MWS_Scan_Frequency_Table command has completed, a
Command Complete event shall be generated.




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7.3.85 Set MWS_PATTERN Configuration Command
                                                                              Return
 Command                      OCF        Command Parameters                   Parameters

 HCI_Set_MWS_                 0x0073     MWS_PATTERN_Index,                   Status
 PATTERN_Configuration                   MWS_PATTERN_NumIntervals,
                                         MWS_PATTERN_IntervalDuration[i],
                                         MWS_PATTERN_IntervalType[i]

Description:

The Set_MWS_PATTERN_Configuration command is used by the Host to
specify, in conjunction with the Set_External_Frame_Configuration command,
local MWS_PATTERN parameters for an external collocated system.

An MWS_PATTERN configuration shall persist until overwritten by a
subsequent Set_MWS_PATTERN_Configuration. All MWS_PATTERN
configurations are deleted when a Set_External_Frame_Configuration
command is received or when the Primary Controller is reset.

The sum of the MWS_PATTERN_IntervalDuration parameters shall be an
integral multiple of the length of a frame as defined by the most recent
Set_External_Frame_Configuration command.

If any interval with type 4 either has a MWS_PATTERN_IntervalDuration
greater than the length of a frame or the sum of the
MWS_PATTERN_IntervalDuration parameters for the previous intervals is not
a multiple of the length of the frame, the Controller shall return the error code
Invalid HCI Command Parameters (0x12).

Upon reception of a Set_MWS_PATTERN_Configuration command, the
Controller may compute the local SAM slot map with SAM_Index equal to
MWS_PATTERN_Index. If the SAM slot map does not exist, it should be
created; if the SAM slot map already exists, its parameters should be replaced.
The Controller may then initiate the SAM define map LMP sequence with the
remote device.

Upon reception of a MWS_PATTERN signal, with a value other than 3, from the
MWS Coexistence Logical Interface (see [Vol 7] Part A), the Controller should
check the MWS_PATTERN value against the SAM_Index of those SAM slot
maps that have been configured by previous
Set_MWS_PATTERN_Configuration commands. It should then take the
following course of action:
1. If MWS_PATTERN does not match any configured SAM slot map, it should
   take no further action.
2. If MWS_PATTERN matches an available SAM slot map that is already
   active or is being activated, it should take no further action (i.e. let the
   current or pending active SAM slot map continue).

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3. If MWS_PATTERN matches an available SAM slot map that is neither active
   nor is being activated, then:
             a) If the SAM slot map has been activated previously using the
                LMP_SAM_set_type0 (if relevant) and LMP_SAM_define_map
                LMP sequences, the Controller should start the SAM switch LMP
                sequence to activate the matched SAM slot map;
             b) Otherwise the Controller should start or complete the SAM set
                type 0 (if relevant), SAM define map, and SAM switch LMP
                sequences to activate the matched SAM slot map.

Command Parameters:

MWS_PATTERN_Index:                                                               Size: 1 Octet
 Value                         Parameter Description

 0xXX                          Index of the MWS_PATTERN instance to be configured.
                               Range is 0-2.

MWS_PATTERN_NumIntervals:                                                        Size: 1 Octet
 Value                         Parameter Description

 0xXX                          The number of intervals in the following array.

MWS_PATTERN_IntervalDuration[i]:
                          Size: MWS_PATTERN_NumInterval * 2 Octets
 Value                         Parameter Description

 0xXXXX                        An array specifying the duration of Bluetooth activity intervals
                               in microseconds.

MWS_PATTERN_IntervalType[i]:
                                        Size: MWS_PATTERN_NumInterval * 1 Octet
 Value                         Parameter Description

 0xXX                          An array specifying the types of permitted Bluetooth activities
                               in each interval:
                               0. Neither transmission nor reception is allowed.
                               1. Transmission is allowed.
                               2. Reception is allowed.
                               3. Both transmission and reception are allowed.
                               4. Interval for the MWS frame as defined by the Set_Exter-
                               nal_Frame_Configuration command.




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Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                         Parameter Description

 0x00                          Set_MWS_PATTERN_Configuration command succeeded
 0x01-0xFF                     Set_MWS_PATTERN_Configuration command failed. See
                               [Vol 2] Part D, Error Codes for a list of error codes and
                               descriptions.

Event(s) generated (unless masked away):

When the Set_MWS_PATTERN_Configuration command has completed, a
Command Complete event shall be generated.




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7.3.86 Set Reserved LT_ADDR Command


                                                                            Return
 Command                       OCF            Command Parameters            Parameters

 HCI_Set_                      0x0074         LT_ADDR                       Status,
 Reserved_LT_ADDR                                                           LT_ADDR

Description:

The Set_Reserved_LT_ADDR command allows the Host to request that the
BR/EDR Controller reserve a specific LT_ADDR for Connectionless Slave
Broadcast.

If the LT_ADDR indicated in the LT_ADDR parameter is already in use by the
BR/EDR Controller, it shall return the Connection Already Exists (0x0B) error
code. If the LT_ADDR indicated in the LT_ADDR parameter is out of range, the
Controller shall return the Invalid HCI Command Parameters (0x12) error code.
If the command succeeds, then the reserved LT_ADDR shall be used when
issuing subsequent Set Connectionless Slave Broadcast Data and Set
Connectionless Slave Broadcast commands.

To ensure that the reserved LT_ADDR is not already allocated, it is
recommended that this command be issued at some point after HCI_Reset is
issued but before page scanning is enabled or paging is initiated.

Command Parameters:

LT_ADDR:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR to reserve for Connectionless Slave Broadcast
 All other values         Reserved for future use

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_Reserved_LT_ADDR command succeeded.
 0x01-0xFF                Set_Reserved_LT_ADDR command failed. See [Vol 2] Part D,
                          Error Codes, for error codes and descriptions.




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LT_ADDR:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR reserved for Connectionless Slave Broadcast. This
                          parameter shall have the same value as the Command Parameter
                          LT_ADDR.
 All other values         Reserved for future use




Event(s) generated (unless masked away):

When the Set_Reserved_LT_ADDR command has completed, a Command
Complete event shall be generated.




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7.3.87 Delete Reserved LT_ADDR Command


                                                                            Return
 Command                       OCF            Command Parameters            Parameters

 HCI_Delete_                   0x0075         LT_ADDR                       Status,
 Reserved_LT_ADDR                                                           LT_ADDR

Description:
The Delete_Reserved_LT_ADDR command requests that the BR/EDR
Controller cancel the reservation for a specific LT_ADDR reserved for the
purposes of Connectionless Slave Broadcast.
If the LT_ADDR indicated in the LT_ADDR parameter is not reserved by the
BR/EDR Controller, it shall return the Unknown Connection Identifier (0x02)
error code.
If connectionless slave broadcast mode is still active, then the Controller shall
return the Command Disallowed (0x0C) error code.

Command Parameters:

LT_ADDR:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR currently reserved for Connectionless Slave Broadcast
                          and for which reservation is to be cancelled
 All other values         Reserved for future use

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Delete_Reserved_LT_ADDR command succeeded.
 0x01-0xFF                Delete_Reserved_LT_ADDR command failed. See [Vol 2] Part D,
                          Error Codes, for error codes and descriptions.

LT_ADDR:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR whose reservation the Host has requested to cancel.
 All other values         Reserved for future use

Event(s) generated (unless masked away):

When the Delete_Reserved_LT_ADDR command has completed, a Command
Complete event shall be generated.

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7.3.88 Set Connectionless Slave Broadcast Data Command


                                                                           Return
 Command                       OCF            Command Parameters           Parameters

 HCI_Set_Connectionless_       0x0076         LT_ADDR,                     Status,
 Slave_Broadcast_Data                         Fragment,                    LT_ADDR
                                              Data_Length,
                                              Data

Description:

The Set_Connectionless_Slave_Broadcast_Data command provides the
ability for the Host to set Connectionless Slave Broadcast data in the BR/EDR
Controller. This command may be issued at any time after an LT_ADDR has
been reserved regardless of whether connectionless slave broadcast mode
has been enabled or disabled by the Enable parameter in the
Set_Connectionless_Slave_Broadcast command. If the command is issued
without the LT_ADDR reserved, the Unknown Connection Identifier (0x02)
error code shall be returned.

If connectionless slave broadcast mode is disabled, this data shall be kept by
the BR/EDR Controller and used once connectionless slave broadcast mode is
enabled. If connectionless slave broadcast mode is enabled, and this
command is successful, this data will be sent starting with the next
Connectionless Slave Broadcast instant.

The Data_Length field may be zero, in which case no data needs to be
provided.

The Host may fragment the data using the Fragment field in the command. If
the combined length of the fragments exceeds the capacity of the largest
allowed packet size specified in the Set Connectionless Slave Broadcast
command, all fragments associated with the data being assembled shall be
discarded and the Invalid HCI Command Parameters error (0x12) shall be
returned.



Command Parameters:

LT_ADDR:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR on which to send Connectionless Slave Broadcast data
 All other values         Reserved for future use




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Fragment:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Continuation fragment
 0x01                     Starting fragment
 0x02                     Ending fragment

 0x03                     No fragmentation (single fragment)
 All other values         Reserved for future use

Data_Length:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Length of the Data field

Data:                                                          Size: Data_Length Octets
 Value                    Parameter Description

 Variable                 Data to send in future Connectionless Slave Broadcast packets.
                          This data will be repeated in future Connectionless Slave Broadcast
                          instants until new data is provided

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Set_Connectionless_Slave_Broadcast_Data command succeeded.
 0x01-0xFF                Set_Connectionless_Slave_Broadcast_Data command failed. See
                          [Vol 2] Part D, Error Codes, for error codes and descriptions

LT_ADDR:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR on which Connectionless Slave Broadcast data will be
                          sent
 All other values         Reserved for future use

Event(s) generated (unless masked away):

When the Set_Connectionless_Slave_Broadcast_Data command has
completed, a Command Complete event shall be generated.




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7.3.89 Read Synchronization Train Parameters Command


                                               Command
 Command                        OCF            Parameters           Return Parameters

 HCI_Read_Synchroniza-          0x0077         None                 Status,
 tion_                                                              Sync_Train_Interval,
 Train_Parameters
                                                                    synchroniza-
                                                                    tion_trainTO,
                                                                    Service_Data

Description:

The Read_Synchronization_Train_Parameters command returns the currently
configured values for the Synchronization Train functionality in the master’s
BR/EDR Controller. This command may be issued at any time.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Synchronization_Train_Parameters command succeeded.

 0x01-0xFF                Read_Synchronization_Train_Parameters command failed. See
                          [Vol 2] Part D, Error Codes, for error codes and descriptions.

Sync_Train_Interval:                                                          Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Interval in slots between consecutive Synchronization Train events
                          on the same channel.
                          Range: 0x0020-0xFFFE; only even values are valid

synchronization_trainTO:                                                      Size: 4 Octets
 Value                    Parameter Description

 N = 0xXXXXXXXX           Duration in slots to continue sending the synchronization train
                          Range: 0x00000002 - 0x07FFFFFE; only even values are valid

Service_Data:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Host provided value included in Synchronization Train packet, octet
                          27; see [Vol 2] Part B, Table 8.10.

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Event(s) generated (unless masked away):

When the BR/EDR Controller receives the
Read_Synchronization_Train_Parameters command, it shall send a Command
Complete event to the Host.




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7.3.90 Write Synchronization Train Parameters Command


 Command                        OCF      Command Parameters       Return Parameters

 HCI_Write_Synchroniza-         0x007    Interval_Min,            Status,
 tion                           8        Interval_Max,            Sync_Train_Interval
 _Train_Parameters
                                         synchroniza-
                                         tion_trainTO,
                                         Service_Data

Description:

The Write_Synchronization_Train_Parameters command configures the
Synchronization Train functionality in the BR/EDR Controller. This command
may be issued at any time.

Note: The AFH_Channel_Map used in the Synchronization Train packets is
configured by the Set_AFH_Channel_Classification command and the local
channel classification in the BR/EDR Controller.

Interval_Min and Interval_Max specify the allowed range of
Sync_Train_Interval. Refer to [Vol 2] Part B, Section 2.7.2 for a detailed
description of Sync_Train_Interval. The BR/EDR Controller shall select an
interval from this range and return it in Sync_Train_Interval. If the Controller is
unable to select a value from this range, it shall return the Invalid HCI
Command Parameters (0x12) error code.

Once started (via the Start_Synchronization_Train Command) the
Synchronization Train will continue until synchronization_trainTO slots have
passed or Connectionless Slave Broadcast has been disabled.

Command Parameters:

Interval_Min:                                                                 Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Minimum value allowed for the interval Sync_Train
                          _Interval in slots.
                          Range: 0x0020-0xFFFE; only even values are valid

Interval_Max:                                                                 Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Maximum value allowed for the interval Sync_Train
                          _Interval in slots.
                          Range: 0x0020-0xFFFE; only even values are valid




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synchronization_trainTO :                                                     Size: 4 Octets
 Value                    Parameter Description

 N = 0xXXXXXXXX           Duration in slots to continue sending the synchronization train
                          Range: 0x0000 0002-0x07FF FFFE; only even values are valid

Service_Data:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Host provided value to be included in octet 27 of the Synchroniza-
                          tion Train packet payload body; see [Vol 2] Part B, Table 8.10.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Synchronization_Train_Parameters command succeeded.

 0x01-0xFF                Write_Synchronization_Train_Parameters command failed. See
                          [Vol 2] Part D, Error Codes, for error codes and descriptions.

Sync_Train_Interval:                                                          Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Interval in slots between consecutive Synchronization Train packets
                          on the same channel.
                          Range: 0x0020-0xFFFE; only even values are valid

Event(s) generated (unless masked away):

When the BR/EDR Controller receives the
Write_Synchronization_Train_Parameters command, it shall send a Command
Complete event to the Host.




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7.3.91 Read Secure Connections Host Support Command


                                                     Command          Return
 Command                                 OCF         Parameters       Parameters

 HCI_Read_Secure_Connections_            0x0079                       Status,
 Host_Support                                                         Secure_Connections_
                                                                      Host_Support

Description:

This command reads the Secure_Connections_Host_Support parameter in the
BR/EDR Controller. When Secure Connections Host Support is set to 'enabled'
the Controller uses the enhanced reporting mechanisms for the
Encryption_Enabled parameter in the Encryption Change event (see Section
7.7.8) and the Key_Type parameter in the Link Key Notification event (see
Section 7.7.24).

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Secure_Connections_Host_Support command succeeded.
 0x01-0xFF                Read_Secure_Connections_Host_Support command failed. See [Vol
                          2] Part D, Error Codes for a list of error codes and descriptions.

Secure_Connections_Host_Support:                                                Size: 1 Octet
 Value                    Parameter Description

 0x00                     Secure_Connections_Host_Support is ‘disabled’. Host does not sup-
                          port Secure Connections (default)
 0x01                     Secure_Connections_Host_Support is ‘enabled’. Host supports
                          Secure Connections

 All other values         Reserved for future use




Event(s) generated (unless masked away):

When the Read_Secure_Connections_Host_Support command has
completed, a Command Complete event shall be generated.




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7.3.92 Write Secure Connections Host Support Command


                                                     Command                    Return
 Command                               OCF           Parameters                 Parameters

 HCI_Write_Secure_                     0x007A        Secure_Connections_        Status
 Connections_Host_Support                            Host_Support

Description:

This command writes the Secure_Connections_Host_Support parameter in the
BR/EDR Controller. When Secure Connections Host Support is set to 'enabled'
the Controller shall use the enhanced reporting mechanisms for the
Encryption_Enabled parameter in the Encryption Change event (see Section
7.7.8) and the Key_Type parameter in the Link Key Notification event (see
Section 7.7.24). If the Host has not written this parameter before initiating page
scan or paging procedures, the Controller shall return the error code Command
Disallowed (0x0C).

The Link Manager Secure Connections (Host Support) feature bit shall be set
to the Secure_Connections_Host_Support parameter. The default value for
Secure_Connections_Host_Support shall be 'disabled.' When
Secure_Connections_Host_Support is set to 'enabled,' the bit in the LMP
features mask indicating support for Secure Connections (Host Support) shall
be set to enabled in subsequent responses to an LMP_features_req from a
remote device.

Command Parameters:

Secure_Connections_Host_Support:                                                 Size: 1 Octet
 Value                    Parameter Description

 0x00                     Secure_Connections_Host_Support is ‘disabled’. Host does not sup-
                          port Secure Connections (default)
 0x01                     Secure_Connections_Host_Support is ‘enabled’. Host supports
                          Secure Connections
 All other values         Reserved for future use




Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Secure_Connections_Host_Support command succeeded.
 0x01-0xFF                Write_Secure_Connections_Host_Support command failed. See [Vol
                          2] Part D, Error Codes for a list of error codes and descriptions.


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Event(s) generated (unless masked away):

When the Write_Secure_Connections_Host_Support command has
completed, a Command Complete event shall be generated.




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7.3.93 Read Authenticated Payload Timeout Command


                                              Command               Return
 Command                          OCF         Parameters            Parameters

 HCI_Read_Authenticated_          0x007B      Connection_Handle     Status,
 Payload_Timeout                                                    Connection_Handle,
                                                                    Authenticated_Payload_
                                                                    Timeout

Description:

This command reads the Authenticated_Payload_Timeout
(authenticatedPayloadTO, see [Vol 2] Part B, Section Appendix B for BR/EDR
connections and [Vol 6] Part B, Section 5.4 for LE connections) parameter in
the Primary Controller on the specified Connection_Handle.

When the Connection_Handle identifies a BR/EDR synchronous connection,
the Controller shall return the error code Command Disallowed (0x0C).

Command Parameters:

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)




Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Authenticated_Payload_Timeout command succeeded.
 0x01-0xFF                Read_Authenticated_Payload_Timeout command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)




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Authenticated_Payload_Timeout:                                               Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Maximum amount of time specified between packets authenticated by
                          a MIC.
                          Default = 0x0BB8 (30 s)
                          Range: 0x0001 to 0xFFFF
                          Time = N * 10 ms
                          Time Range: 10 ms to 655,350 ms




Event(s) generated (unless masked away):

When the Read_Authenticated_Payload_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.94 Write Authenticated Payload Timeout Command


                                              Command              Return
 Command                          OCF         Parameters           Parameters

 HCI_Write_Authenticated_         0x007C      Connection_Handle,   Status,
 Payload_Timeout                              Authenticated_       Connection_Handle
                                              Payload_Timeout

Description:

This command writes the Authenticated_Payload_Timeout
(authenticatedPayloadTO, see [Vol 2] Part B, Section Appendix B and [Vol 6]
Part B, Section 5.4 for the LE connection) parameter in the Primary Controller
for the specified Connection_Handle.

When the Connection_Handle identifies a BR/EDR ACL connection:
• If the connection is in sniff mode, the Authenticated_Payload_Timeout shall
  be equal to or greater than Tsniff.
• If the connection is in sniff subrating mode, the
  Authenticated_Payload_Timeout shall be equal to or greater than
  (max subrate)xTsniff.
• If the connection is in hold mode, the Authenticated_Payload_Timeout shall
  be equal to or greater than the holdTO value.

When the Connection_Handle identifies a BR/EDR synchronous connection,
this command shall be rejected with the error code Command Disallowed
(0x0C).

When the Connection_Handle identifies an LE connection, the
Authenticated_Payload_Timeout shall be equal to or greater than
connInterval * (1 + connSlaveLatency).

When the Connection_Handle is associated with an ACL connection, the Link
Manager will use this parameter to determine when to use the LMP ping
sequence.

When the Connection_Handle is associated with an LE connection, the Link
Layer will use this parameter to determine when to use the LE ping sequence.




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Command Parameters:

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Authenticated_Payload_Timeout:                                                 Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Maximum amount of time specified between packets authenticated by
                          a valid MIC.
                          Range: 0x0001 to 0xFFFF
                          Time = N * 10 ms
                          Time Range: 10 ms to 655,350 ms

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Authenticated_Payload_Timeout command succeeded.
 0x01-0xFF                Write_Authenticated_Payload_Timeout command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)




Event(s) generated (unless masked away):

When the Write_Authenticated_Payload_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.95 Read Local OOB Extended Data Command


                                                              Command        Return
 Command                                             OCF      Parameters     Parameters

 HCI_Read_Local_OOB_Extended_Data                    0x007D                  Status,
                                                                             C_192,
                                                                             R_192,
                                                                             C_256,
                                                                             R_256

Description:

This command obtains Simple Pairing Hash C_192, Simple Pairing
Randomizer R_192, Simple Pairing Hash C_256, and Simple Pairing
Randomizer R_256, which are intended to be transferred to a remote device
using an OOB mechanism. The BR/EDR Controller shall create new values for
C_192, R_192, C_256, and R_256 for each invocation of this command. Each
random number (R_192 and R_256) shall be created according to [Vol 2] Part
H, Section 2.

Note: Each OOB transfer will have unique C_192, R_192, C_256, and R_256
values so after each OOB transfer this command shall be used to obtain a new
set of values for the next OOB transfer.

Note: The Controller keeps information used to generate these values for later
use in the simple pairing process. If the BR/EDR Controller is powered off or
reset then this information is lost and the values obtained before the power off
or reset are invalid.

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Local_OOB_Extended_Data command succeeded.
 0x01-0xFF                Read_Local_OOB_Extended_Data command failed. See [Vol 2] Part
                          D, Error Codes for a list of error codes and descriptions.




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C_192:                                                                       Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Hash C derived from the P-192 public key.
 XXXXXXXXXXXX
 XXXXXXXXX

R_192:                                                                       Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Randomizer associated with the P-192 public key.
 XXXXXXXXXXXX
 XXXXXXXXX

C_256:                                                                       Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Hash C derived from the P-256 public key.
 XXXXXXXXXXXX
 XXXXXXXXX

R_256:                                                                       Size: 16 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Simple Pairing Randomizer associated with the P-256 public key.
 XXXXXXXXXXXX
 XXXXXXXXX




Event(s) generated (unless masked away):

When the Read_Local_OOB_Extended_Data command has completed, a
Command Complete event shall be generated.




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7.3.96 Read Extended Page Timeout Command


                                          Command      Return
 Command                     OCF          Parameters   Parameters

 HCI_Read_Extended_          0x007E                    Status,
 Page_Timeout                                          Extended_Page_Timeout


Description:

The Read_Extended_Page_Timeout command will read the value for the
Extended_Page_Timeout configuration parameter. See Section 6.41.

Command Parameters:

None.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value           Parameter Description

 0x00            Read_Extended_Page_Timeout command succeeded.

 0x01-0x0F       Read_Extended_Page_Timeout command failed. See [Vol 2] Part D, Error
                 Codes for a list of error codes and descriptions.

Extended_Page_Timeout:                                                   Size: 2 Octets
 Value           Parameter Description

 0xXXXX          Extended Page Timeout measured in Number of Baseband slots. Interval
                 Length = N * 0.625 ms (1 Baseband slot)
                 Range for N: 0x0000 (default) – 0xFFFF
                 Time Range: 0 - 40.9 s




Event(s) generated (unless masked away):

When the Read_Extended_Page_Timeout command has completed, a
Command Complete event shall be generated.




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7.3.97 Write Extended Page Timeout Command


                                             Command                       Return
 Command                        OCF          Parameters                    Parameters

 HCI_Write_Extended_            0x007F       Extended_Page_Timeout         Status
 Page_Timeout


Description:

The Write_Extended_Page_Timeout command will write the value for the
Extended_Page_Timeout configuration parameter.
The Extended_Page_Timeout configuration parameter defines the maximum
time after the Page_Timeout expires that the local Link Manager may wait for a
baseband page response from the remote device at a locally initiated
connection attempt. If this time expires and the remote device has not
responded to the page at baseband level, the connection attempt will be
considered to have failed.

Command Parameters:

Extended_Page_Timeout:                                                    Size: 2 Octets
 Value             Parameter Description

 0                 Default
 N = 0xXXXX        Extended Page Timeout measured in Number of Baseband slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0000 – 0xFFFF
                   Time Range: 0 - 40.9 s
                   Mandatory Range for Controller: 0x0000 to 0xFFFF

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Extended_Page_Timeout command succeeded.
 0x01-0x0F         Write_Extended_Page_Timeout command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.




Event(s) generated (unless masked away):

When the Write_Extended_Page_Timeout command has completed, a
Command Complete event shall be generated.



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7.3.98 Read Extended Inquiry Length Command


                                            Command         Return
 Command                        OCF         Parameters      Parameters

 HCI_Read_Extended_             0x0080                      Status,
 Inquiry_Length                                             Extended_Inquiry_Length


Description:

The Read_Extended_Inquiry_Length command will read the value for the
Extended_Inquiry_Length configuration parameter. See Section 6.42.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Extended_Inquiry_Length command succeeded.
 0x01-0x0F         Read_Extended_Inquiry_Length command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.




Extended_Inquiry_Length:                                                     Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Extended_Inquiry_Length measured in Number of Baseband slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0000 (default) – 0xFFFF
                   Time Range: 0 - 40.9 s




Event(s) generated (unless masked away):

When the Read_Extended_Inquiry_Length command has completed, a
Command Complete event shall be generated.




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7.3.99 Write Extended Inquiry Length Command


                                             Command                         Return
 Command                        OCF          Parameters                      Parameters

 HCI_Write_Extended_            0x0081       Extended_Inquiry_Length         Status
 Inquiry_Length


Description:

The Write_Extended_Inquiry_Length command will write the value for the
Extended_Inquiry_Length configuration parameter.
The Extended_ Inquiry_Length configuration parameter defines the maximum
time after the Inquiry_Length expires that the local Link Manager may wait for a
baseband inquiry response from the remote device at a locally initiated
connection attempt. If this time expires and the remote device has not
responded to the inquiry at baseband level, the inquiry will be considered to
have failed.

Command Parameters:

Extended_Inquiry_Length:                                                    Size: 2 Octets
 Value             Parameter Description

 0                 Default
 0xXXXX            Extended_Inquiry_Length measured in Number of Baseband slots.
                   Interval Length = N * 0.625 ms (1 Baseband slot)
                   Range for N: 0x0000 – 0xFFFF
                   Time Range: 0 - 40.9 s

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Write_Extended_Inquiry_Length command succeeded.
 0x01-0x0F         Write_Extended_Inquiry_Length command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.




Event(s) generated (unless masked away):

When the Write_Extended_Inquiry_Length command has completed, a
Command Complete event shall be generated.




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7.4 INFORMATIONAL PARAMETERS
The Informational Parameters are fixed by the manufacturer of the Bluetooth
hardware. These parameters provide information about the BR/EDR Controller
and the capabilities of the Link Manager and Baseband in the BR/EDR
Controller and PAL in the AMP Controller. The Host device cannot modify any
of these parameters.

For Informational Parameters Commands, the OGF is defined as 0x04.

7.4.1 Read Local Version Information Command


                                                     Command
 Command                             OCF
                                                     Parameters   Return Parameters

 HCI_Read_Local_Version_             0x0001                       Status,
 Information                                                      HCI Version,
                                                                  HCI Revision,
                                                                  LMP Version,
                                                                  Manufacturer_Name,
                                                                  LMP Subversion

Description:

This command reads the values for the version information for the local
Controller.

The HCI Version information defines the version information of the HCI layer.
The LMP/PAL Version information defines the version of the LMP or PAL. The
Manufacturer_Name information indicates the manufacturer of the local device.

The HCI Revision and LMP/PAL Subversion are implementation dependent.

Command Parameters:

None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Local_Version_Information command succeeded.

 0x01-0xFF         Read_Local_Version_Information command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.




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HCI_Version:                                                                     Size: 1 Octet
 Value             Parameter Description

 See Bluetooth Assigned Numbers

HCI_Revision:                                                                  Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Revision of the Current HCI in the BR/EDR Controller.

LMP/PAL_Version:                                                                 Size: 1 Octet
 Value             Parameter Description

 0xXX              Version of the Current LMP or PAL in the Controller.
                   See Bluetooth Assigned Numbers

Manufacturer_Name:                                                             Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Manufacturer Name of the BR/EDR Controller.
                   See Bluetooth Assigned Numbers

LMP/PAL_Subversion:                                                            Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Subversion of the Current LMP or PAL in the Controller. This value is
                   implementation dependent.

Event(s) generated (unless masked away):

When the Read_Local_Version_Information command has completed, a
Command Complete event shall be generated.




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7.4.2 Read Local Supported Commands Command


                                                     Command
 Command                                   OCF
                                                     Parameters      Return Parameters

 HCI_                                      0x0002                    Status,
 Read_Local_Supported_Commands                                       Supported_Commands

Description:

This command reads the list of HCI commands supported for the local
Controller.

This command shall return the Supported_Commands configuration
parameter. It is implied that if a command is listed as supported, the feature
underlying that command is also supported.

See Section 6.27 for more information.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0                 Read_Local_Supported_Commands command succeeded

 0x01-0xff         Read_Local_Supported_Commands command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Supported Commands:                                                         Size: 64 Octets
 Value             Parameter Description

                   Bit mask for each HCI Command. If a bit is 1, the Controller supports the
                   corresponding command and the features required for the command.
                   Unsupported or undefined commands shall be set to 0.
                   See Section 6.27.

Event(s) generated (unless masked away):

When the Read_Local_Supported_Commands command has completed, a
Command Complete event shall be generated.




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7.4.3 Read Local Supported Features Command


                                                        Command
 Command                                      OCF
                                                        Parameters      Return Parameters

 HCI_Read_Local_Supported_Features            0x0003                    Status,
                                                                        LMP_Features

Description:

This command requests a list of the supported features for the local BR/EDR
Controller. This command will return a list of the LMP features. For details see
[Vol 2] Part C, Link Manager Protocol Specification.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Local_Supported_Features command succeeded.
 0x01-0xFF         Read_Local_Supported_Features command failed. See [Vol 2] Part D,
                   Error Codes.

LMP_Features:                                                                 Size: 8 Octets
 Value             Parameter Description

 0xXXXXXXXX        Bit Mask List of LMP features. For details see [Vol 2] Part C, Link Manager
 XXXXXXXX          Protocol Specification.

Event(s) generated (unless masked away):

When the Read_Local_Supported_Features command has completed, a
Command Complete event shall be generated.




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7.4.4 Read Local Extended Features Command


                                           Command
 Command                       OCF         Parameters            Return Parameters

 HCI_Read_Local_               0x0004      Page number           Status,
 Extended_Features                                               Page number,
                                                                 Maximum Page Number,
                                                                 Extended_LMP_Features

Description:

The Read_Local_Extended_Features command returns the requested page of
the extended LMP features.

Command Parameters:

Page Number:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Requests the normal LMP features as returned by Read_Local_Support-
                   ed_Features.

 0x01-0xFF         Return the corresponding page of features.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Local_Extended_Features command succeeded
 0x01-0xFF         Read_Local_Extended_Features command failed. See [Vol 2] Part D,
                   Error Codes for list of error codes.

Page Number:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              The normal LMP features as returned by Read_Local_Supported_Fea-
                   tures.
 0x01-0xFF         The page number of the features returned.

Maximum Page Number:                                                            Size: 1 Octet
 Value             Parameter Description

 0x00-0xFF         The highest features page number which contains non-zero bits for the
                   local device.




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Extended_LMP_Features:                                                      Size: 8 Octets
 Value                                       Parameter Description

 0xXXXXXXXXXXXXXXXX                          Bit map of requested page of LMP features.
                                             See LMP specification for details.

Event(s) generated (unless masked away):

When the Read_Local_Extended_Features command has completed, a
Command Complete event shall be generated.




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7.4.5 Read Buffer Size Command


                                       Command
 Command                     OCF
                                       Parameters    Return Parameters

 HCI_Read_Buffer_Size        0x0005                  Status,
                                                     HC_ACL_Data_Packet_Length,
                                                     HC_Synchronous_Data_Packet_
                                                     Length,
                                                     HC_Total_Num_ACL_Data_Packets,
                                                     HC_Total_Num_Synchronous_Data_
                                                     Packets

Description:

The Read_Buffer_Size command is used to read the maximum size of the data
portion of HCI ACL and synchronous Data Packets sent from the Host to the
Controller. The Host will segment the data to be transmitted from the Host to
the Controller according to these sizes, so that the HCI Data Packets will
contain data with up to these sizes. The Read_Buffer_Size command also
returns the total number of HCI ACL and synchronous Data Packets that can
be stored in the data buffers of the Controller. The Read_Buffer_Size
command must be issued by the Host before it sends any data to the
Controller.

For a device supporting BR/EDR and LE, if the LE_Read_Buffer_Size
command returned zero for the number of buffers, then buffers returned by
Read_Buffer_Size are shared between BR/EDR and LE.

On an Primary Controller that supports LE only, the Read_Buffer_Size
command shall not be supported (the LE_Read_Buffer_Size command is to be
used in this case).

The HC_ACL_Data_Packet_Length return parameter will be used to determine
the size of the L2CAP segments contained in ACL Data Packets, which are
transferred from the Host to the Controller to be broken up into baseband
packets by the Link Manager. The HC_Synchronous_Data_Packet_Length
return parameter is used to determine the maximum size of HCI synchronous
Data Packets. The HC_Total_Num_ACL_Data_Packets return parameter
contains the total number of HCI ACL Data Packets that can be stored in the
data buffers of the Controller. The Host will determine how the buffers are to be
divided between different Connection_Handles. The HC_Total_Num_
Synchronous_Data_Packets return parameter gives the same information but
for HCI synchronous Data Packets.

Note: The HC_ACL_Data_Packet_Length and HC_Synchronous_Data_
Packet_Length return parameters do not include the length of the HCI Data
Packet header.


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Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Buffer_Size command succeeded.
 0x01-0xFF         Read_Buffer_Size command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

HC_ACL_Data_Packet_Length:                                                  Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Maximum length (in octets) of the data portion of each HCI ACL Data
                   Packet that the Controller is able to accept.

HC_Synchronous_Data_Packet_Length:                                            Size: 1 Octet
 Value             Parameter Description

 0xXX              Maximum length (in octets) of the data portion of each HCI Synchronous
                   Data Packet that the Controller is able to accept.

HC_Total_Num_ACL_Data_Packets:                                              Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Total number of HCI ACL Data Packets that can be stored in the data
                   buffers of the Controller.

HC_Total_Num_Synchronous_Data_Packets:                                      Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Total number of HCI Synchronous Data Packets that can be stored in the
                   data buffers of the Controller.

Event(s) generated (unless masked away):

When the Read_Buffer_Size command has completed, a Command Complete
event shall be generated.




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7.4.6 Read BD_ADDR Command


                                           Command
 Command                       OCF
                                           Parameters           Return Parameters

 HCI_Read_BD_ADDR              0x0009                           Status,
                                                                BD_ADDR

Description:

On a BR/EDR Controller, this command reads the Bluetooth Controller address
(BD_ADDR). See the [Vol 2] Part B, Baseband Specification for details of how
BD_ADDR is used (see [Vol 3] Part C, Section 3.2.1).

On an LE Controller, this command shall read the Public Device Address as
defined in [Vol 6] Part B, Section 1.3. If this Controller does not have a Public
Device Address, the value 0x000000000000 shall be returned.

On a BR/EDR/LE Controller, the public address shall be the same as the
BD_ADDR.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_BD_ADDR command succeeded.
 0x01-0xFF         Read_BD_ADDR command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

BD_ADDR:                                                                      Size: 6 Octets
 Value                                       Parameter Description

 0xXXXXXXXXXXXX                              BD_ADDR of the Device

Event(s) generated (unless masked away):

When the Read_BD_ADDR command has completed, a Command Complete
event shall be generated.




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7.4.7 Read Data Block Size Command
                                        Command
 Command                    OCF         Parameters         Return Parameters

 HCI_                       0x000A                         Status,
 Read_Data_                                                Max_ACL_Data_Packet_Length,
 Block_Size
                                                           Data_Block_Length,
                                                           Total_Num_Data_Blocks

Description:

The Read_Data_Block_Size command is used to read values regarding the
maximum permitted data transfers over the Controller and the data buffering
available in the Controller.

The Host uses this information when fragmenting data for transmission, and
when performing block-based flow control, based on the Number Of
Completed Data Blocks event. The Read_Data_Block_Size command shall be
issued by the Host before it sends any data to the Controller.

Command Parameters:

None.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Data_Block_Size command succeeded.

 0x01-0xFF         Read_Data_Block_Size command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Max_ACL_Data_Packet_Length:                                                    Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Maximum length (in octets) of the data portion of an HCI ACL Data Packet
                   that the Controller is able to accept for transmission. For AMP Controllers
                   this always equals to Max_PDU_Size.

Data_Block_Length:                                                             Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Maximum length (in octets) of the data portion of each HCI ACL
                          Data Packet that the Controller is able to hold in each of its data
                          block buffers.




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Total_Num_Data_Blocks:                                                          Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Total number of data block buffers available in the Controller for the
                          storage of data packets scheduled for transmission.

Event(s) generated (unless masked away):

When the Read_Data_Block_Size command has completed, a Command
Complete event shall be generated.




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7.4.8 Read Local Supported Codecs Command


                                              Command
 Command                            OCF       Parameters   Return Parameters

 HCI_Read_Local_                    0x000B                 Status,
 Supported_Codecs                                          Number_of_Supported_Codecs,
                                                           Supported_Codecs[i],
                                                           Number_of_Supported_
                                                           Vendor_Specific_Codecs,
                                                           Vendor_Specific_Codecs[k]

The order of the return parameters in an HCI event packet is:
   Status
   Number_of_Supported_Codecs
   Supported_Codecs[0]
   ...
   Supported_Codecs[n]
   Number_of_Supported_Vendor_Specific_Codecs
   Vendor_Specific_Codecs[0]
   ...
   Vendor_Specific_Codecs[m]

Description:

This command reads a list of the Bluetooth SIG approved codecs supported by
the Controller, as well as vendor specific codecs, which are defined by an
individual manufacturer.

Command Parameters:

None

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Local_Supported_Codecs command succeeded.
 0x01 – 0xFF              Read_Local_Supported_Codecs command failed. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.




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Number_of_Supported_Codecs:                                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Total number of codecs supported

Supported_Codecs[i]:                  Size: 1 * Number_of_Supported_Codecs Octets
 Value                    Parameter Description

 0xXX, 0xXX, …            An array of codec identifiers. See Assigned Numbers for Codec ID

Number_of_Supported_Vendor_Specific_Codecs:                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Total number of vendor specific codecs supported

Vendor_Specific_Codecs[k]:
                  Size: 4 * Number_of_Supported_Vendor_Specific_Codecs
 Value                    Parameter Description

 0xXXXXXXXX               Octets 0 and 1: Company ID, see Assigned Numbers for Company
                          Identifier
                          Octets 2 and 3: Vendor defined codec ID




Event(s) generated (unless masked away):

When the Read_Local_Supported_Codecs command has completed, a
Command Complete event shall be generated.




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7.5 STATUS PARAMETERS
The Controller modifies all status parameters. These parameters provide
information about the current state of the Link Manager and Baseband in the
BR/EDR Controller and the PAL in an AMP Controller. The Host device cannot
modify any of these parameters other than to reset certain specific parameters.

For the Status Parameters Commands, the OGF is defined as 0x05.



7.5.1 Read Failed Contact Counter Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Read_Failed_            0x0001      Handle                   Status,
 Contact_Counter                                                  Handle,
                                                                  Failed_Contact_Counter

Description:

This command reads the value for the Failed_Contact_Counter parameter for a
particular connection to another device. The Handle shall be a Handle for an
ACL connection. See Section 6.15.

Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the Connection for which the Failed Contact Counter
                   should be read.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Logi-
                   cal_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Failed_Contact_Counter command succeeded.
 0x01-0xFF         Read_Failed_Contact_Counter command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.




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Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which the Failed Contact Counter has
                   been read.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Logi-
                   cal_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Failed_Contact_Counter:                                                     Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Number of consecutive failed contacts for a connection corresponding to
                   the Handle.

Event(s) generated (unless masked away):

When the Read_Failed_Contact_Counter command has completed, a
Command Complete event shall be generated.




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7.5.2 Reset Failed Contact Counter Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Reset_Failed_           0x0002      Handle                   Status,
 Contact_Counter                                                  Handle

Description:

This command resets the value for the Failed_Contact_Counter parameter for
a particular connection to another device. The Handle shall be a Handle for an
ACL connection. See Section 6.15.

Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which the Failed Contact Counter
                   should be reset.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Logi-
                   cal Link Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Reset_Failed_Contact_Counter command succeeded.
 0x01-0xFF         Reset_Failed_Contact_Counter command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which the Failed Contact Counter has
                   been reset.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Logi-
                   cal_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Event(s) generated (unless masked away):

When the Reset_Failed_Contact_Counter command has completed, a
Command Complete event shall be generated.



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7.5.3 Read Link Quality Command


 Command                     OCF         Command Parameters        Return Parameters

 HCI_Read_Link_Quality       0x0003      Handle                    Status,
                                                                   Handle,
                                                                   Link_Quality

Description:

This command returns the value for the Link_Quality for the specified Handle.
The Handle shall be a Handle for an ACL connection. This command shall
return a Link_Quality value from 0-255, which represents the quality of the link
between two BR/EDR Controllers. The higher the value, the better the link
quality is. Each Bluetooth module vendor will determine how to measure the
link quality.

The Read_Link_Quality command is provided by AMPs. The meaning of the
link quality metric is AMP type specific and defined in the AMP PALs (see
Volume 5, Core System Package [AMP Controller volume].

Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which link quality parameters are to be
                   read.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Phys-
                   ical_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Link_Quality command succeeded.

 0x01-0xFF         Read_Link_Quality command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.




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Handle:                                               Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which the link quality parameter has
                   been read.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Phys-
                   ical_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Link_Quality:                                                                    Size: 1 Octet
 Value             Parameter Description

 0xXX              The current quality of the Link connection between the local device and
                   the remote device specified by the Handle.
                   Range: 0x00 – 0xFF
                   The higher the value, the better the link quality is.

Event(s) generated (unless masked away):

When the Read_Link_Quality command has completed, a Command
Complete event shall be generated.




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7.5.4 Read RSSI Command


 Command                  OCF       Command Parameters   Return Parameters

 HCI_Read_RSSI            0x0005    Handle               Status,
                                                         Handle,
                                                         RSSI

Description:

This command reads the Received Signal Strength Indication (RSSI) value
from a Controller.

For a BR/EDR Controller, a Connection_Handle is used as the Handle
command parameter and return parameter. The RSSI parameter returns the
difference between the measured Received Signal Strength Indication (RSSI)
and the limits of the Golden Receive Power Range for a Connection_Handle to
another BR/EDR Controller. The Connection_Handle must be a
Connection_Handle for an ACL connection. Any positive RSSI value returned
by the Controller indicates how many dB the RSSI is above the upper limit, any
negative value indicates how many dB the RSSI is below the lower limit. The
value zero indicates that the RSSI is inside the Golden Receive Power Range.

Note: How accurate the dB values will be depends on the Bluetooth hardware.
The only requirements for the hardware are that the BR/EDR Controller is able
to tell whether the RSSI is inside, above or below the Golden Device Power
Range.

The RSSI measurement compares the received signal power with two
threshold levels, which define the Golden Receive Power Range. The lower
threshold level corresponds to a received power between -56 dBm and 6 dB
above the actual sensitivity of the receiver. The upper threshold level is 20 dB
above the lower threshold level to an accuracy of +/- 6 dB.

For an AMP Controller, a Physical_Link_Handle is used for the Handle
command parameter and return parameter. The meaning of the RSSI metric is
AMP type specific and defined in the AMP PALs (see Volume 5, Core System
Package [AMP Controller volume].

For an LE transport, a Connection_Handle is used as the Handle command
parameter and return parameter. The meaning of the RSSI metric is an
absolute receiver signal strength value in dBm to ± 6 dB accuracy. If the RSSI
cannot be read, the RSSI metric shall be set to 127.




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Command Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which the RSSI is to be read.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Phys-
                   ical_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_RSSI command succeeded.
 0x01-0xFF         Read_RSSI command failed. See [Vol 2] Part D, Error Codes for a list of
                   error codes and descriptions.

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Handle for the connection for which the RSSI has been read.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Phys-
                   ical_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

RSSI:                                                                          Size: 1 Octet
 Value             Parameter Description

                   BR/EDR
                     Range: -128 ≤ N ≤ 127 (signed integer)
                     Units: dB
                   AMP:
                    Range: AMP type specific (signed integer)
                    Units: dBm
                   LE:
                     Range: -127 to 20, 127 (signed integer)
                     Units: dBm

Event(s) generated (unless masked away):

When the Read_RSSI command has completed, a Command Complete event
shall be generated.




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7.5.5 Read AFH Channel Map Command


 Command                  OCF       Command Parameters         Return Parameters

 HCI_Read_AFH             0x0006    Connection_Handle          Status,
 _Channel_Map                                                  Connection_Handle,
                                                               AFH_Mode,
                                                               AFH_Channel_Map

Description:

This command returns the values for the AFH_Mode and AFH_Channel_Map
for the specified Connection_Handle. The Connection_Handle shall be a
Connection_Handle for an ACL connection.

The returned values indicate the state of the hop sequence specified by the
most recent LMP_Set_AFH message for the specified Connection_Handle,
regardless of whether the master has received the baseband ACK or whether
the AFH_Instant has passed.

This command shall be supported by a device that declares support for either
the AFH_capable_slave or AFH_capable_master feature.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_AFH_Channel_Map command succeeded.

 0x01-0xFF         Read_AFH_Channel_Map command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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AFH_Mode:                                                                           Size: 1 Octet
 Value              Parameter Description

 0x00               AFH disabled.
 0x01               AFH enabled.
 All other values   Reserved for future use.

AFH_Channel_Map:                                     Size: 10 Octets (79 Bits meaningful)
 Value              Parameter Description

 0xXXXXXXXX         If AFH_Mode is not AFH enabled then the contents of this parameter are
 XXXXXXXXX          reserved for future use. Otherwise:
 XXX                This parameter contains 80 1-bit fields.
                    The nth such field (in the range 0 to 78) contains the value for channel n:
                    0: channel n is unused
                    1: channel n is used
                    The most significant bit (bit 79) is reserved for future use

Event(s) generated (unless masked away):

When the Read_AFH_Channel_Map command has completed, a Command
Complete event shall be generated.




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7.5.6 Read Clock Command


 Command                  OCF       Command Parameters         Return Parameters

 HCI_Read_Clock           0x0007    Connection_Handle,         Status,
                                    Which_Clock                Connection_Handle,
                                                               Clock,
                                                               Accuracy

Description:

This command reads the estimate of the value of the Bluetooth Clock from the
BR/EDR Controller.

If the Which_Clock value is 0, then the Connection_Handle shall be ignored,
the local Bluetooth Clock value shall be returned and the accuracy parameter
shall be set to 0.

If the Which_Clock value is 1, then the Connection_Handle shall be a valid
ACL Connection_Handle. If the current role of this ACL connection is Master,
then the Bluetooth Clock of this device shall be returned. If the current role is
Slave, then an estimate of the Bluetooth Clock of the remote master and the
accuracy of this value shall be returned.

The accuracy reflects the clock drift that might have occurred since the slave
last received a valid transmission from the master.

Note: The Bluetooth Clock has a minimum accuracy of 250ppm, or about 22
seconds drift in one day.

Note: See [Vol 2] Part B, Section 1.1 for more information about the Bluetooth
Clock.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Which_Clock:                                                                   Size 1 Octet)
 Value          Parameter Description

 0xXX           0x00 = Local Clock (Connection_Handle does not have to be valid)
                0x01 = Piconet Clock (Connection_Handle shall be valid)
                0x02 to 0xFF = Reserved for Future Use



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Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Clock command succeeded.
 0x01 – 0xFF       Read_Clock command failed. See [Vol 2] Part D, Error Codes for a list of
                   error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Connection_Handle for the connection for which the master clock has
                   been read. If the Which_Clock parameter was 0, then the
                   Connection_Handle is reserved for future use.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Clock:                                               Size: 4 Octets (28 bits meaningful)
 Value             Parameter Description

 0xXXXXXXXX        Bluetooth Clock of the device requested.

Accuracy:                                                                    Size: 2 Octets
 Value             Parameter Description

 0xXXXX            +/- maximum Bluetooth Clock error. Value of 0xFFFF means Unknown.
                   Accuracy = +/- N * 0.3125 ms (1 Bluetooth Clock)
                   Range for N: 0x0000 - 0xFFFE
                   Time Range for N: 0 - 20479.375 ms

Event(s) generated (unless masked away):

When the Read_Clock command has completed, a Command Complete event
shall be generated.




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7.5.7 Read Encryption Key Size Command
 Command                  OCF          Command Parameters        Return Parameters

 HCI_                     0x0008       Connection_Handle         Status,
 Read_Encryption_                                                Connection_Handle,
 Key_Size
                                                                 Key_Size

Description:

This command reads the current encryption key size associated with the
Connection_Handle. The Connection_Handle shall be a Connection_Handle
for an active ACL connection.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use).

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Encryption_Key_Size succeeded

 0x01 - 0xFF              Read_Encryption_Key_Size failed. See [Vol 2] Part D, Error Codes
                          for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use).

Key_Size:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Encryption key size. See [Vol 2] Part C, Section 5.2.




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Event(s) generated (unless masked away):

When the Read_Encryption_Key_Size command has completed, a
Command_Complete event shall be generated.

If the ACL connection associated with the Connection_Handle is not encrypted,
the Controller shall return a Command Complete event with the error code
Insufficient Security (0x2F).




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7.5.8 Read Local AMP Info Command
                                             Command
 Command                          OCF        Parameters     Return Parameters

 HCI_Read_Local_AMP_Info          0x0009                    Status,
                                                            AMP_Status,
                                                            Total_Bandwidth,
                                                            Max_Guaranteed_Bandwidth,
                                                            Min_Latency,
                                                            Max_PDU_Size,
                                                            Controller_Type,
                                                            PAL_Capabilities,
                                                            Max_AMP_ASSOC_Length,
                                                            Max_Flush_Timeout,
                                                            Best_Effort_Flush_Timeout

Description:

This command returns information about the AMP Controller.

Command Parameters:

None.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Local_AMP_Info command succeeded
 0x01-0xFF                Read_Local_AMP_Info command failed. See [Vol 2] Part D, Error
                          Codes

AMP_Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     The Controller is available but is currently physically powered
                          down.
                          This value shall be used if the AMP Controller is present and can
                          be powered up by the AMP Manager.
                          This value indicates that there may be a cost of time and power to
                          use this AMP Controller (i.e., the time taken and power required to
                          power up the AMP Controller). These costs are AMP type and AMP
                          implementation dependent.




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 Value                    Parameter Description

 0x01                     This value indicates that the AMP Controller is only used by Blue-
                          tooth technology and will not be shared with other non-Bluetooth
                          technologies.
                          This value shall only be used if the AMP Controller is powered up.
                          This value does not indicate how much bandwidth is currently free
                          on the AMP Controller.

 0x02                     The AMP Controller has no capacity available for Bluetooth opera-
                          tion
                          This value indicates that all of the AMP Controller’s bandwidth is
                          currently allocated to servicing a non Bluetooth technology.
                          A device is permitted to create a Physical Link to an AMP Controller
                          that has this status.
                          This value shall only be used if the AMP Controller is powered up.

 0x03                     The AMP Controller has low capacity available for Bluetooth opera-
                          tion.
                          This value indicates that the majority of the AMP Controller’s band-
                          width is currently allocated to servicing a non Bluetooth technology.
                          An AMP Controller with capacity in the approximate range of 0% to
                          30% should indicate this value.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up.

 0x04                     The AMP Controller has medium capacity available for Bluetooth
                          operation.
                          An AMP Controller with capacity in the approximate range of 30%
                          to 70% should indicate this value.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up.

 0x05                     The AMP Controller has high capacity available for Bluetooth oper-
                          ation.
                          This value indicates that the majority of the AMP Controller’s band-
                          width is currently allocated to servicing the Bluetooth technology.
                          An AMP Controller with capacity in the approximate range of 70%
                          to 100% should indicate this value.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up.




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 Value                    Parameter Description

 0x06                     The AMP Controller has full capacity available for Bluetooth opera-
                          tion.
                          This value indicates that while currently the AMP is only being used
                          by Bluetooth the device allows a different technology to share the
                          radio.
                          This value shall be used by devices that are not capable of deter-
                          mining the current available capacity of an AMP that is shared by a
                          different technology.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up.

 All other values         Reserved for future use

The AMP Controller to generate AMP_Status_Change event if this parameter
changes after initial Read_Local_AMP_Info request. See [Vol 3] Part E,
Section 3.4.

Total_Bandwidth:                                                              Size: 4 Octets
 Value                    Parameter Description

                          An upper bound on the total data rate that can be achieved by the
                          AMP over HCI. It accounts for the total bandwidth provided by the
                          HCI transport. No sustained combination of transmit and receive
                          operations shall exceed this value. This can be used to help in AMP
                          selection and admission control. Expressed in kb/s.

Max_Guaranteed_Bandwidth:                                                     Size: 4 Octets
 Value                    Parameter Description

                          An upper bound on the maximum data the AMP can guarantee for
                          a single logical link over HCI. Any request made by an application
                          above this threshold would be rejected. It accounts for any band-
                          width limitations of the HCI transport. No sustained combination of
                          transmit and receive operations shall exceed this value. This can
                          be used to help in AMP selection and admission control. Expressed
                          in kb/s.

Min_Latency:                                                                  Size: 4 Octets
 Value                    Parameter Description

                          A lower bound on the latency in microseconds that the AMP can
                          guarantee for a logical channel. It accounts for the minimum latency
                          of the HCI transport. This can be used to help in AMP selection and
                          admission control.




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Max_PDU_Size:                                                                  Size: 2 Octets
 Value                    Parameter Description

                          An upper bound on the size of L2CAP PDU which may be provided
                          for transmission or reception on this AMP. The Host shall not
                          require the AMP to transport L2CAP PDUs larger than this value.
                          Expressed in octets. The Maximum PDU Size parameter described
                          in [Vol 3] Part A, Section 5.4 for any connection over this AMP
                          should not exceed this value.

Controller_Type:                                                                 Size: 1 Octet
 Value                    Parameter Description

 See Bluetooth Assigned Numbers.

PAL_Capabilities:                                                              Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Bit 0: "Service Type = Guaranteed" is supported by PAL = 1
                          Bits 15-1: Reserved for future use
                          (See [Vol 3] Part A, Section 5.6.)

Max_AMP_ASSOC_Length:                                                          Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   AMP_ASSOC maximum length for this local AMP Controller. For
                          use with Read and Write AMP_ASSOC commands [Section 7.5.8
                          and Section 7.5.9]. This value is sent to the remote AMP Manager
                          in the AMP Get Info Response (see "[Vol 3] Part E, Section 3.8).

Max_Flush_Timeout:                                                             Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               Maximum time period, in microseconds, which the AMP device
                          uses to attempt to transmit a frame on a Guaranteed Logical Link.
                          If the Controller is configured to retry frames for an unbounded time
                          (i.e. there is no flushing at all), then it shall set this value to
                          0xFFFFFFFF.




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Best_Effort_Flush_Timeout                                                      Size: 4 Octets
 Value                    Parameter Description

 0xXXXXXXXX               The typical time period, in microseconds, which the AMP device
                          may use to attempt to transmit a frame on a Best Effort Logical
                          Link. The value shall not exceed the value given in Max_Flush_-
                          Timeout.
                          If the Controller is configured to retry frames for an unbounded time
                          (i.e. there is no flushing at all), then it shall set this value to
                          0xFFFFFFFF.

Event(s) generated (unless masked away):

When the Read_Local_AMP_Info command has completed, a Command
Complete event shall be generated.




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7.5.9 Read Local AMP ASSOC Command


                                          Command
 Command                        OCF       Parameters              Return Parameters

 HCI_                           0x000A    Physical_Link_Handle,   Status,
 Read_Local_AMP_ASSOC                     Length_So_Far,          Physical_Link_Handle,
                                          Max_Remote_             AMP_ASSOC_
                                          AMP_ASSOC_Length        Remaining_Length,
                                                                  AMP_ASSOC_fragment

Description:

This command returns a fragment of the AMP_ASSOC structure. The
AMP_ASSOC contains information in an AMP type specific format and is
defined in the AMP PALs (see Volume 5, Core System Package [AMP
Controller volume]). This may include a combination of address, capabilities
and status information. This command can be used when creating an AMP
physical link as given by the Physical_Link_Handle parameter, see the Create
Physical Link command for more details. If the command is being executed
outside of the context of any physical link creation, then the
Physical_Link_Handle shall be 0x00.

The Controller shall limit the returned AMP_ASSOC to
Max_AMP_ASSOC_Length octets. The Host shall set this parameter to the
"AMP_ASSOC_Size" value returned from the remote device in the AMP Get
Info Response (see AMP Manager Protocol Specification, [Vol 3] Part E,
Section 3.8).

The AMP_ASSOC length may be larger than can fit in a single HCI event. Each
time the Read_Local_AMP_ASSOC command is called, the remaining length
of the AMP_ASSOC (including the data returned in the Command Complete
event) is included in the AMP_ASSOC_Remaining_Length parameter and data
from the AMP_ASSOC is contained in the AMP_ASSOC_fragment parameter.
In order to obtain the entire AMP_ASSOC, a Host shall continue calling
Read_Local_AMP_ASSOC until the AMP_ASSOC_Remaining_Length
parameter returned is equal to the size of the AMP_ASSOC_fragment in that
event.

The Length_So_Far parameter shall be set to 0 to obtain the first
AMP_ASSOC_fragment. Subsequent fragments are obtained by incrementing
the Length_So_Far parameter by the length of the previous fragment.

Once the Host begins reading an AMP_ASSOC, all fragments returned in a
sequence of Read_Local_AMP_ASSOC commands shall be from one, static
AMP_ASSOC.




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Command Parameters:

Physical_Link_Handle:                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Used to indicate invalid Physical_Link_Handle
 0xXX                     Physical_Link_Handle which describes the link to which the
                          AMP_ASSOC belongs.

Length_So_Far:                                                                Size: 2 Octets
 Value

 Set Length_So_Far to 0 for the first fragment. Increment parameter by the length of the pre-
 vious fragment, for each subsequent call

AMP_ASSOC_Length :                                                            Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   The maximum length, in octets, allowed by the Host for the
                          AMP_ASSOC maximum length for the remote returned by the AMP
                          Controller. For use with Read command to prevent interoperability
                          issues.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Read_Local_AMP_ASSOC command succeeded
 0x01-0xFF                Read_Local_AMP_ASSOC command failed. See [Vol 2] Part D,
                          Error Codes for list of Error Codes.

Physical_Link_Handle:                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle identifying the physical link to be created
                          with the associated AMP_ASSOC.

AMP_ASSOC_Remaining_Length:                                                   Size: 2 Octets
 Value                    Parameter Description

 1-size of variable       Length, in octets, of the remainder of the AMP_ASSOC including
                          this fragment.
 0                        Reserved for Future Use




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AMP_ASSOC_fragment:                                                Size: 1 to 248 Octets
 Value

 A fragment of the local AMP_ASSOC structure created by a remote AMP of the same Con-
 troller type. A fragment, other than the final one, shall be exactly 248 bytes in length.

Event(s) generated (unless masked away):

When the Read_Local_AMP_ASSOC command has completed, a Command
Complete event shall be generated.




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7.5.10 Write Remote AMP ASSOC Command
 Command                       OCF       Command Parameters           Return Parameters

 HCI_Write_Remote_             0x000B    Physical_Link_Handle,        Status,
 AMP_ASSOC                               Length_So_Far,               Physical_Link_Handle
                                         AMP_ASSOC_
                                         Remaining_Length,
                                         AMP_ASSOC_fragment

Description:

This command writes an AMP_ASSOC fragment to the AMP Controller. The
AMP_ASSOC contains information in an AMP type specific format and is
defined in the AMP PALs (see Volume 5, Core System Package [AMP
Controller volume]). This may include a combination of address, capabilities
and status information. This command may be used when creating an AMP
physical link. See the Create_Physical_Link command for more details. See
Section 7.1.37.

The AMP_ASSOC length may be larger than can fit in a single HCI command.
Each time the Write_Remote_AMP_ASSOC command is called, the remaining
length of the AMP_ASSOC (including the data provided in the command) is
included in the AMP_ASSOC_Remaining_Length parameter and data from the
AMP_ASSOC is contained in the AMP_ASSOC_fragment parameter. In order
to write the entire AMP_ASSOC to the Controller, a Host shall continue calling
Write_Remote_AMP_ASSOC until the AMP_ASSOC_Remaining_Length
parameter returned is equal to the size of the AMP_ASSOC_fragment in that
command.

The Write_Local_AMP_ASSOC command shall be called immediately after the
Command Status event (with result of success) for either the
Create_Physical_Link or Accept_Physical_Link commands.

The Length_So_Far parameter shall be set to 0 to write the first
AMP_ASSOC_fragment. Subsequent fragments are written by incrementing
the Length_So_Far parameter by the length of the previous fragment.

Command Parameters:

Physical_Link_Handle:                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle identifying the physical link to be created
                          with the associated AMP_ASSOC.




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Length_So_Far:                                                                  Size: 2 Octets
 Value

 Set Length_So_Far to 0 for the first fragment. Increment it by the length of the previous frag-
 ment, for each subsequent call.

AMP_ASSOC_Remaining_Length:                                                     Size: 2 Octets
 Value                    Parameter Description

 0x0001- Max-             Length, in octets, of the remainder of the AMP_ASSOC, including
 _AMP_AS-                 this fragment. Max_AMP_ASSOC_Length as reported in Read_Lo-
 SOC_Length               cal_AMP_Info command.

 0x0000                   Reserved for Future Use

AMP_ASSOC_fragment:                                                      Size: 1 to 248 Octets
 Value

 A fragment of the AMP_ASSOC structure created by a remote AMP of the same Controller
 type.
 The fragment length shall be 248 bytes for all but the last fragment.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Remote_AMP_ASSOC command succeeded
 0x01-0xFF                Write_Remote_AMP_ASSOC command failed. See "[Vol 2] Part D,
                          Error Codes for list of Error Codes.

Physical_Link_Handle:                                                             Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle identifying the physical link to be created
                          with the associated AMP_ASSOC.

Event(s) generated (unless masked away):

When the Write_Remote_AMP_ASSOC command has completed, a Command
Complete event shall be generated.




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7.5.11 Get MWS Transport Layer Configuration Command


                                            Command
 Command                         OCF        Parameters   Return Parameters

 HCI_Get_MWS_Transport_          0x000C                  Status,
 Layer_Configuration                                     Num_Transports,
                                                         Transport_Layer[i],
                                                         Num_Baud_Rates[i],
                                                         To_MWS_Baud_Rate[k],
                                                         From_MWS_Baud_Rate[k]

The order of the return parameters in an HCI event packet is:
   Status
   Num_Transports
   Transport_Layer[0]
   Num_Baud_Rates[0]
   ...
   Transport_Layer[n]
   Num_Baud_Rates[n]
   To_MWS_Baud_Rate[0]
   From_MWS_Baud_Rate[0]
   ...
   To_MWS_Baud_Rate[m]
   From_MWS_Baud_Rate[m]

Description:

The Get_MWS_Transport_Layer_Configuration command is used to inform the
Host of the Baud rates supported by the Controller for the transport layer.

The Num_Transports parameter is used to indicate the number of MWS
coexistence transport interfaces supported by the Controller.
The Num_Baud_Rates parameter indicates the number of supported baud
rates for each transport.

The To_MWS_Baud_Rate parameters indicate the supported baud rates in the
direction from Bluetooth to MWS for each transport.

The From_MWS_Baud_Rate parameters indicate the supported baud rates in
the direction from MWS to Bluetooth for each transport.

If one direction has more supported rates than the other direction, the
Controller shall - in the direction with less supported rates - fill with sufficient


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zeros to produce the same number of values. The rates for the two directions
are not necessarily paired.

Command Parameters:

None.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                         Parameter Description

 0x00                          Get_MWS_Transport_Layer_Configuration command suc-
                               ceeded.

 0x01-0xFF                     Get_MWS_Transport_Layer_Configuration command failed.
                               See [Vol 2] Part D, Error Codes, for error codes and descrip-
                               tions.

Num_Transports:                                                                   Size: 1 Octet
 Value                         Parameter Description

 0xXX                          Number of supported MWS coexistence transport layers.

Transport_Layer[i]:                                      Size: Num_Transports * 1 Octet
 Value                         Parameter Description

 0xXX                          See Bluetooth Assigned numbers.

Num_Baud_Rates[i]:                                       Size: Num_Transports * 1 Octet
 Value                         Parameter Description

 0xXX                          Number of different baud rates supported for one transport.

To_MWS_Baud_Rate[k]:                      Size: SUM (Num_Baud_Rates [i])* 4 Octets
 Value                         Parameter Description

 0xXXXXXXXX                    List of supported Baud rates in the Bluetooth Controller to
                               MWS Device direction in Baud. Each element of the list shall
                               have the format 0xXXXXXXXX. The list shall start with the first
                               baud rate for the first transport, followed by the remaining
                               baud rates for the first transport, followed by the baud rates for
                               the second transport (if any), followed by baud rates for subse-
                               quent transports (if any).




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From_MWS_Baud_Rate[k]:                    Size: SUM (Num_Baud_Rates[i]) * 4 Octets
 Value                         Parameter Description

 0xXXXXXXXX                    List of supported Baud rates in the Bluetooth Controller for sig-
                               nals in the MWS to Bluetooth Controller Device direction in
                               Baud. Each element of the list shall have the format
                               0xXXXXXXXX. The list shall start with the first baud rate for
                               the first transport, followed by the remaining baud rates for the
                               first transport, followed by the baud rates for the second trans-
                               port (if any), followed by baud rates for subsequent transports
                               (if any).

Event(s) generated (unless masked away):

When the Get_MWS_Transport Layer_Configuration command has
completed, a Command Complete event shall be generated.




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7.5.12 Set Triggered Clock Capture Command


 Command                     OCF         Command Parameters       Return Parameters

 HCI_Set_Triggered_          0x000D      Connection_Handle,       Status
 Clock_Capture                           Enable,
                                         Which_Clock,
                                         LPO_Allowed,
                                         Num_Clock_
                                         Captures_To_Filter

Description:

The Set_Triggered_Clock_Capture command configures the BR/EDR
Controller for triggered clock capturing.

Triggered clock capturing is enabled or disabled by the Enable parameter.

If the Which_Clock value is 0, then the Connection_Handle shall be ignored. If
the Which_Clock value is 1, then the Connection_Handle shall be a valid ACL
Connection _Handle.

The LPO_Allowed parameter informs the BR/EDR Controller whether it may
use a lower accuracy clock or not.

The Num_Clock_Captures_To_Filter parameter is used to filter triggered clock
captures between sending Triggered Clock Capture events to the Host. When
set to zero, all triggered clock captures shall result in a Triggered Clock
Capture event sent to the Host. When set to a non-zero value, after every
Triggered Clock Capture event, Num_Clock_Captures_To_Filter triggered
clock captures in a row shall not trigger an event to be sent to the Host.

Note: An implementation should ensure that the rate of triggered clock
captures does not overwhelm the HCI event queue and processing.

Note: See [Vol 2] Part B, Section 1.1 for more information about the Bluetooth
Clock.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000 – 0x0EFF (all other values reserved for future use)




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Enable:                                                                            Size: 1 Octet
 Value              Parameter Description

 0x00               Disable triggered clock capturing on the specified Connection_Handle
                    (Default)
 0x01               Enable triggered clock capturing on the specified Connection_Handle
 All other values   Reserved for future use

Which_Clock:                                                                       Size: 1 Octet
 Value              Parameter Description

 0xXX               0x00 = Local Clock (Connection_Handle does not have to be valid)
                    0x01 = Piconet Clock (Connection_Handle shall be valid)
                    0x02-0xFF = Reserved for Future Use

LPO_Allowed:                                                                       Size: 1 Octet
 Value              Parameter Description

 0x00               Controller shall not sleep (that is, clock accuracy shall be equal to or bet-
                    ter than ± 20 ppm)

 0x01               Controller may sleep (that is, clock accuracy shall be equal to or better
                    than ± 250 ppm)
 All other values   Reserved for future use

Num_Clock_Captures_To_Filter:                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               All triggered clock captures result in a Triggered Clock Capture event sent
                    to the Host
 0x01-0xFF          Number of triggered clock captures filtered between sending a Triggered
                    Clock Capture event to the Host.

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value              Parameter Description

 0x00               Set_Triggered_Clock_Capture command succeeded.
 0x01-0xFF          Set_Triggered_Clock_Capture command failed. See [Vol 2] Part D, Error
                    Codes, for error codes and descriptions.




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Event(s) generated (unless masked away):

When the Set_Triggered_Clock_Capture command has completed, a
Command Complete event shall be sent to the Host.

When Triggered Clock Capturing is enabled, Triggered Clock Capture events
are returned until Triggered Clock Capturing is disabled.




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7.6 TESTING COMMANDS
The Testing commands are used to provide the ability to test various functional
capabilities of the Bluetooth hardware. These commands provide the ability to
arrange various conditions for testing.

For the Testing Commands, the OGF is defined as 0x06.

7.6.1 Read Loopback Mode Command


 Command                          OCF       Command Parameters      Return Parameters

 HCI_Read_Loopback_Mode           0x0001                            Status,
                                                                    Loopback_Mode

Description:

This command reads the value for the setting of the Controller’s
Loopback_Mode. The setting of the Loopback_Mode parameter shall
determine the path of information. In Non-testing Mode operation, the
Loopback_Mode parameter is set to Non-testing Mode and the path of the
information is as specified by the Bluetooth specifications. In Local Loopback
Mode, every Data Packet (ACL, SCO and eSCO) and Command Packet that is
sent from the Host to the Controller is sent back with no modifications by the
Controller, as shown in Figure 7.1. For details of loopback modes see Section
7.6.2.

Command Parameters:

None.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value              Parameter Description

 0x00               Read_Loopback_Mode command succeeded.

 0x01-0xFF          Read_Loopback_Mode command failed. See [Vol 2] Part D, Error Codes
                    for a list of error codes and descriptions.

Loopback_Mode:                                                              Size: 1 Octet
 Value              Parameter Description

 0x00               No Loopback mode enabled (default).

 0x01               Enable Local Loopback.
 0x02               Enable Remote Loopback. (Not supported by AMPs)
 All other values   Reserved for future use.


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Event(s) generated (unless masked away):
When the Read_Loopback_Mode command has completed, a Command
Complete event shall be generated.




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7.6.2 Write Loopback Mode Command


 Command                          OCF        Command Parameters   Return Parameters

 HCI_Write_Loopback_Mode          0x0002     Loopback_Mode        Status

Description:

This command writes the value for the setting of the BR/EDR Controller’s
Loopback Mode. The setting of the Loopback_Mode parameter shall determine
the path of information. In Non-testing Mode operation, the Loopback_Mode
parameter is set to Non-testing Mode and the path of the information as
specified by the Bluetooth specifications. In Local Loopback Mode, every Data
Packet (ACL, SCO and eSCO) and Command Packet that is sent from the
Host to the BR/EDR Controller is sent back with no modifications by the BR/
EDR Controller, as shown in Figure 7.1.

When the BR/EDR Controller enters Local Loopback Mode, it shall respond with
one to four Connection_Handles, one for an ACL connection and zero to three
for synchronous connections. The Host should use these Connection_Handles
when sending data in Local Loopback Mode. The number of
Connection_Handles returned for synchronous connections (between zero and
three) is implementation specific. When in Local Loopback Mode, the BR/EDR
Controller loops back commands and data to the Host. The Loopback Command
event is used to loop back commands that the Host sends to the Controller.

When an AMP enters Local Loopback Mode, all data transmission will be
looped back with the received Logical_Link_Handle value, without checking
the validity of the Logical Link Handle. This allows local loopback of data
without any link creation, and without any data transmission over the air.

There are some commands that are not looped back in Local Loopback Mode:
Reset, Set_Controller_To_Host_Flow_Control, Host_Buffer_Size, Host_
Number_Of_Completed_Packets, Read_Buffer_Size, Read_Loopback_Mode
and Write_Loopback_Mode. These commands should be executed in the way
they are normally executed. The commands Reset and Write_Loopback_Mode
can be used to exit local loopback mode.

If Write_Loopback_Mode is used to exit Local Loopback Mode on a BR/EDR
Controller, Disconnection Complete events corresponding to the Connection
Complete events that were sent when entering Local Loopback Mode should
be sent to the Host. Furthermore, no connections are allowed in Local
Loopback mode. If there is a connection, and there is an attempt to set the
device to Local Loopback Mode, the attempt will be refused. When the device
is in Local Loopback Mode, the Controller will refuse incoming connection
attempts. This allows the Host BR/EDR Controller Transport Layer to be tested
without any other variables.




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If a BR/EDR Controller is set to Remote Loopback Mode, it will send back all
data (ACL, SCO and eSCO) that comes over the air. It will only allow a
maximum of one ACL connection and three synchronous connections, and
these shall all be to the same remote device. If there are existing connections
to a remote device and there is an attempt to set the local device to Remote
Loopback Mode, the attempt shall be refused.

If a Host sets Loopback Mode to “Remote Loopback” on an AMP Controller,
the Controller shall reject the command with the error code Invalid HCI
command parameter (0x12).

See Figure 7.2, where the rightmost device is set to Remote Loopback Mode
and the leftmost device is set to Non-testing Mode. This allows the BR/EDR Air
link to be tested without any other variables.


                                       Bluetooth Host #1

                                          HCI Driver




                                         HCI Firmware

                                                     Link Manager
                                                       Firmware

                                     Baseband Controller
                                     BR/EDR Hardware
                                Software                 Hardware
                                Firmware                 Loopback
                                                         Data Path
Figure 7.1: Local Loopback Mode




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              Bluetooth Host #1                                Bluetooth Host #2

                    HCI Driver                                      HCI Driver




               HCI Firmware                                     HCI Firmware

                           Link Manager                                    Link Manager
                             Firmware                                        Firmware

             Baseband Controller                              Baseband Controller
             BR/EDR Hardware                                  BR/EDR Hardware



                                     Software           Hardware
                                     Firmware           Loopback
                                                        Data Path

Figure 7.2: Remote Loopback Mode


Command Parameters:

Loopback_Mode:                                                                   Size: 1 Octet
 Value                Parameter Description

 0x00                 No Loopback mode enabled (default).

 0x01                 Enable Local Loopback.
 0x02                 Enable Remote Loopback. (Not Supported by AMPs)
 All other values     Reserved for future use.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Write_Loopback_Mode command succeeded.

 0x01-0xFF            Write_Loopback_Mode command failed. See [Vol 2] Part D, Error Codes
                      for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Loopback_Mode command has completed, a Command
Complete event shall be generated.




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7.6.3 Enable Device Under Test Mode Command


                                                     Command
 Command                               OCF
                                                     Parameters   Return Parameters

 HCI_Enable_Device_Under_              0x0003                     Status
 Test_Mode

Description:

The Enable_Device_Under_Test_Mode command allows the local BR/EDR
Controller to enter test mode via LMP test commands for BR/EDR Controllers
or via the AMP Test Command for AMP Controllers. For details see [Vol 2] Part
C, Link Manager Protocol Specification for BR/EDR Controllers or Section
7.6.7 for AMP Controllers. The Host issues this command when it wants the
local device to be the DUT for the Testing scenarios as described in the [Vol 3]
Part D, Section 1. When the BR/EDR Controller receives this command, it shall
complete the command with a Command Complete event. The BR/EDR
Controller functions as normal until the remote tester issues the LMP test
command or for AMPs the AMP Test Command to place the local device into
Device Under Test mode. To disable and exit the Device Under Test Mode, the
Host may issue the Reset command. This command prevents remote BR/EDR
Controllers from causing the local BR/EDR Controller to enter test mode
without first issuing this command.

Command Parameters:

None.

Return Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Enter_Device_Under_Test_Mode command succeeded.
 0x01-0xFF         Enter_Device_Under_Test_Mode command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Enter_Device_Under_Test_Mode command has completed, a
Command Complete event shall be generated.




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7.6.4 Write Simple Pairing Debug Mode Command


                                                                                Return
 Command                             OCF            Command Parameters          Parameters

 HCI_Write_Simple_Pairing_           0x0004         Simple_Pairing_Debug_-      Status
 Debug_Mode                                         Mode

Description:

This command configures the BR/EDR Controller to use a predefined Diffie
Hellman private key for Simple Pairing to enable debug equipment to monitor
the encrypted connection.

Note: Only one side (initiator or responder) needs to set simple pairing debug
mode in order for debug equipment to be able to determine the link key and,
therefore, be able to monitor the encrypted connection.

When the Simple_Pairing_Debug_Mode parameter is set to enabled the BR/
EDR Controller shall use the predefined Diffie Hellman private key. The BR/
EDR Controller shall also set the resulting Link_Key type to "Debug
Combination Key."

When in Simple Pairing debug mode, the Link Manager shall use the following
Diffie Hellman private / public key pairs:


For P-192:
Private key:      07915f86918ddc27005df1d6cf0c142b625ed2eff4a518ff
Public key (X): 15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
Public key (Y): b09d42b81bc5bd009f79e4b59dbbaa857fca856fb9f7ea25


For P-256:
Private key:      3f49f6d4 a3c55f38 74c9b3e3 d2103f50 4aff607b eb40b799 5899b8a6 cd3c1abd
Public key (X):   20b003d2 f297be2c 5e2c83a7 e9f9a5b9 eff49111 acf4fddb cc030148 0e359de6
Public key (Y):   dc809c49 652aeb6d 63329abf 5a52155c 766345c2 8fed3024 741c8ed0 1589d28b




Command Parameters:

Simple_Pairing_Debug_Mode:                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Simple Pairing debug mode disabled (default)

 0x01                     Simple pairing debug mode enabled
 All other values         Reserved for future use



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Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Write_Simple_Pairing_Mode command succeeded.
 0x01 - 0xFF              Write_Simple_Pairing_Mode command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Simple_Pairing_Debug_Mode command has completed, a
Command Complete event shall be generated.




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7.6.5 Enable AMP Receiver Reports Command


                                                          Command         Return
 Command                                       OCF        Parameters      Parameters

 HCI_Enable_AMP_Receiver_Reports               0x0007     Enable,         Status
                                                          Interval

Description:

This command enables and disables the reporting of frames received. This
command shall only be valid in AMP Test Mode. After multiples of the specified
Interval, a report of frames that have been received/not received by the DUT
shall be sent to the tester. Optionally, the sums of bits in error are also reported.
The values returned are the cumulative totals since the mode was last initiated
or reset. The totals are reset by sending the Enable_AMP_Receiver_Reports,
the HCI_AMP_Test command or the AMP_Test_End command. This event is
also generated after an AMP Test End event.

Command Parameters:

Enable:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Disable
 0x01               Enable

 All other values   Reserved for future use

Interval:                                                                    Size: 1 Octet
 Value              Parameter Description

 0x00               Reserved for Future Use

 0x01-0xFF          Number of s between event reporting

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               Enable_AMP_Receiver_Reports command succeeded
 0x01-0xFF          Enable_AMP_Receiver_Reports command failed. [Vol 2] Part D, Error
                    Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the Enable_AMP_Receiver_Reports command has completed, a
Command Complete event shall be generated.

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7.6.6 AMP Test End Command


                                                     Command
 Command                                   OCF       Parameters       Return Parameters

 HCI_AMP_Test_End                          0x0008                     Status


Description:

This command is used to stop any test scenario in progress. This command
shall only be used in AMP Test Mode when a test is in progress. This command
shall not exit an AMP Controller from AMP Test mode.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              AMP_Test_End command succeeded

 0x01-0xFF         AMP_Test_End command failed. [Vol 2] Part D, Error Codes for a list of
                   error codes and descriptions.

Event(s) Generated (unless masked away):

When the AMP_Test_End command has completed an AMP Test End event
shall be generated and the AMP Receiver Report event shall be generated if
the AMP receiver reports are enabled.




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7.6.7 AMP Test Command


                                                 Command
 Command                            OCF          Parameters         Return Parameters

 HCI_AMP_Test                       0x0009       Test_Parameters    Status



Description:

This command is used to configure and start a test. This command shall be
only valid in AMP Test Mode.

When a test scenario has completed or on receiving a AMP_Test_End
command the AMP shall send a AMP Test End event and the AMP returns to
an idle state with the RX and TX off.

The details of the Test_Parameters for each Controller Type are detailed in the
AMP PAL specification.

Command Parameters:

Test_Parameters:                                                              Size: 1 Octet
 Value             Parameter Description

 0xXX              Controller Type. See Assigned Numbers

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              AMP_Test command succeeded
 0x01-0xFF         AMP_Test command failed. See [Vol 2] Part D, Error Codes

Event(s) generated (unless masked away):

When the AMP Controller receives the AMP_Test command, the AMP
Controller shall send the Command Status event to the AMP Test Manager
which shall be routed to the tester.

The AMP Start Test event shall be generated when the AMP_Test command
has completed and the first data is ready to be sent or received.

Command Complete event shall not be sent by the AMP to indicate that this
command has been completed. Instead, the AMP Start Test event shall
indicate that this command has been completed.

When in a transmitter test scenario and the frames/bursts count have been
transmitted the AMP Test End event shall be sent.

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7.6.8 Write Secure Connections Test Mode Command


                                                  Command                        Return
 Command                              OCF         Parameters                     Parameters

 HCI_Write_Secure_                    0x000A      Connection_Handle,             Status,
 Connections_Test_Mode                            DM1_ACL-U_Mode,                Connection_Handle
                                                  eSCO_Loopback_Mode

Description:

This command configures the BR/EDR Controller to enable and disable the
two test modes used for verifying the Secure Connections feature during
qualification. The DM1_ACL-U_Mode parameter enables and disables the use
of DM1 packets for transmitting ACL-U data. When DM1 ACL-U Mode is
disabled, ACL-U traffic may use DM1 packets. When DM1 ACL-U Mode is
enabled, ACL-U traffic shall not use DM1 packets unless the Packet_Type
parameter only allows DM1 packets (e.g. set to 0x3306 or 0x330E).

The command is used during testing to help make transmit ACL packet
selection predictable.

The eSCO_Loopback_Mode parameter enables and disables the loopback of
received eSCO payloads. When the eSCO_Loopback_Mode parameter is set
to Enabled, the BR/EDR Controller will send back all eSCO data that comes
over the air irrespective of whether the CRC check in the received eSCO
packet passes or fails. It will only allow one synchronous connection. If there is
more than one synchronous connection and there is an attempt to set the local
device to eSCO_Loopback_Mode, the attempt shall be refused.

See Figure 7.3, where the rightmost device has the eSCO_Loopback_Mode
parameter set to enabled and the leftmost device is in a normal mode of
operation. This allows the encryption and decryption of eSCO packets to be
tested without any other variables.

          Bluetooth Host #1                          Bluetooth Host #2

             HCI Driver                                    HCI Driver




           HCI Firmware                                HCI Firmware

                    Link Manager                                  Link Manager
                      Firmware                                      Firmware

         Baseband Controller                        Baseband Controller
         BR/EDR Hardware                            BR/EDR Hardware



                               Software        Hardware
                               Firmware        Loopback
                                               Data Path


Figure 7.3: Secure Connections eSCO Loopback




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The Connection_Handle shall be for an ACL connection.

When the eSCO_Loopback_Mode parameter is set to enabled, received eSCO
payloads are looped back as subsequent transmitted eSCO payloads. There
may be a delay of 0 or more eSCO intervals before the Controller loops back
the payload. This is illustrated in the following three figures.


         payload                                                                          payload                                                        payload


    RX             TX                                                              RX               TX                                              RX             TX
                   ACK                                                                              ACK                                                            ACK
         ARQN                                                                             ARQN                                                            ARQN




         payload                                                                          payload                      payload                           payload                      payload


    RX             TX                                                              RX               TX           RX              TX                 RX             TX           RX              TX
                   ACK                                                                              NAK          ACK             ACK                               ACK          NAK             ACK
         ARQN                                                                             ARQN            ARQN         ARQN                               ARQN           ARQN         ARQN

 Valid header              No packet or                                    Valid header       Valid header and
  and valid                HEC failure                                      and CRC             unspecified
   payload                                                                    failure              payload



Figure 7.4: Secure Connections eSCO loopback immediate



                                                   payload                                                                             payload




    RX             TX                                                               RX              TX                                               RX            TX
                   ACK                                                                              ACK                                                            ACK
          ARQN                                                                             ARQN                                                           ARQN




Figure 7.5: Secure Connections eSCO loopback delayed



                                                                payload                                                                payload                                                            payload




    RX             TX           RX                                                 RX               TX                                               RX            TX           RX              TX
                   NAK          ACK          ACK                                                    ACK                                                            ACK          NAK             ACK
          ARQN           ARQN         ARQN                                                ARQN                                                            ARQN           ARQN         ARQN


                                        Valid header and
                                           no payload
                                                                                                                                       payload                                                            payload




    RX             TX           RX                        RX                       RX               TX                                               RX            TX
                   NAK          ACK          NAK          ACK             NAK                       ACK                                                            ACK
          ARQN           ARQN         ARQN         ARQN         ARQN                       ARQN                                                           ARQN




Figure 7.6: Secure Connections eSCO loopback delayed with retransmissions


Command Parameters:

Connection_Handle:                                                                                                                          Size: 2 Octets (12 Bits meaningful)
 Value                                  Parameter Description

 0xXXXX                                 Connection_Handle
                                        Range: 0x0000-0x0EFF (all other values reserved for future use)




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DM1_ACL-U_Mode:                                                                   Size: 1 Octet
 Value              Parameter Description

 0x00               DM1 ACL-U mode disabled (default)
 0x01               DM1 ACL-U mode enabled
 All other values   Reserved for future use

eSCO_Loopback_Mode:                                                               Size: 1 Octet
 Value              Parameter Description

 0x00               eSCO loopback mode disabled (default)
 0x01               eSCO loopback mode enabled

 All other values   Reserved for future use

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value           Parameter Description

 0x00            Write_Secure_Connections_Test_Mode command succeeded.
 0x01-0xFF       Write_Secure_Connections_Test_Mode command failed.
                 See [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value           Parameter Description

 0xXXXX          Connection_Handle
                 Range: 0x0000-0x0EFF (all other values reserved for future use)




Events(s) generated (unless masked away):

When the Write_Secure_Connections_Test_Mode command has completed, a
Command_Complete event shall be generated.




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7.7 EVENTS

7.7.1 Inquiry Complete Event


 Event                                     Event Code       Event Parameters

 Inquiry Complete                          0x01             Status

Description:

The Inquiry Complete event indicates that the Inquiry is finished. This event
contains a Status parameter, which is used to indicate if the Inquiry completed
successfully or if the Inquiry was not completed.

Event Parameters:

Status:                                                                          Size: 1 Octet
 Value              Parameter Description

 0x00               Inquiry command completed successfully.

 0x01-0xFF          Inquiry command failed. See [Vol 2] Part D, Error Codes for a list of error
                    codes and descriptions.




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7.7.2 Inquiry Result Event


 Event                                     Event Code      Event Parameters

 Inquiry Result                            0x02            Num_Responses,
                                                           BD_ADDR[i],
                                                           Page_Scan_Repetition_Mode[i],
                                                           Reserved[i],
                                                           Reserved[i],
                                                           Class_of_Device[i]
                                                           Clock_Offset[i]

Description:

The Inquiry Result event indicates that a BR/EDR Controller or multiple BR/
EDR Controllers have responded so far during the current Inquiry process.
This event will be sent from the BR/EDR Controller to the Host as soon as an
Inquiry Response from a remote device is received if the remote device
supports only mandatory paging scheme. The BR/EDR Controller may queue
these Inquiry Responses and send multiple BR/EDR Controllers information in
one Inquiry Result event. The event can be used to return one or more Inquiry
responses in one event.

This event is only generated if the Inquiry_Mode parameter of the last
Write_Inquiry_Mode command was set to 0x00 (Standard Inquiry Result event
format) or if the Write_Inquiry_Mode command has not been used.

Event Parameters:

Num_Responses:                                                                     Size: 1 Octet
 Value             Parameter Description

 0xXX              Number of responses from the Inquiry.

BD_ADDR[i]:                                          Size: 6 Octets * Num_Responses
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR for each device which responded.
 XX

Page_Scan_Repetition_Mode[i]:                           Size: 1 Octet * Num_Responses
 Value                Parameter Description

 0x00                 R0
 0x01                 R1
 0x02                 R2



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 Value                Parameter Description

 0x03 – 0xFF          Reserved for Future Use


Reserved[i]: 1                                          Size: 1 Octet * Num_Responses
 Value                Parameter Description

 0xXX                 Reserved for Future Use.


Reserved[i]: 2                                          Size: 1 Octet * Num_Responses
 Value                Parameter Description

 0xXX                 Reserved for Future Use.

Class_of_Device[i]:                                    Size: 3 Octets * Num_Responses
 Value                Parameter Description

 0xXXXXXX             Class of Device for the device

Clock_Offset[i]:                                       Size: 2 Octets * Num_Responses
 Bit format           Parameter Description

 Bits 14-0            Bits 16-2 of CLKNslave-CLK
 Bit 15               Reserved for Future Use




1. This was the Page_Scan_Period_Mode parameter in the v1.1 specification. This parameter
   has no meaning in v1.2 or later and no default value.
2. This was the Page_Scan_Mode parameter in the v1.1 specification.


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7.7.3 Connection Complete Event


 Event                                      Event Code      Event Parameters

 Connection Complete                        0x03            Status,
                                                            Connection_Handle,
                                                            BD_ADDR,
                                                            Link_Type,
                                                            Encryption_Enabled

Description:

The Connection Complete event indicates to both of the Hosts forming the
connection that a new connection has been established. This event also
indicates to the Host, which issued the Create_Connection, or
Accept_Connection_Request or Reject_Connection_Request command and
then received a Command Status event, if the issued command failed or was
successful.

Event Parameters:

Status:                                                                          Size: 1 Octet
 Value              Parameter Description

 0x00               Connection successfully completed.
 0x01-0xFF          Connection failed to Complete. See [Vol 2] Part D, Error Codes for a list of
                    error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value              Parameter Description

 0xXXXX             Connection_Handle
                    Range: 0x0000-0x0EFF (all other values reserved for future use)

BD_ADDR:                                                                        Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the other connected Device forming the connection.

Link_Type:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               SCO connection.
 0x01               ACL connection (Data Channels).

 All other values   Reserved for future use.




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Encryption_Enabled:                                         Size: 1 Octet
 Value              Parameter Description

 0x00               Link level encryption disabled.
 0x01               Link level encryption enabled.
 All other values   Reserved for future use.




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7.7.4 Connection Request Event


 Event                                     Event Code     Event Parameters

 Connection Request                        0x04           BD_ADDR,
                                                          Class_of_Device,
                                                          Link_Type

Description:
The Connection Request event is used to indicate that a new incoming connection
is trying to be established. The connection may either be accepted or rejected. If
this event is masked away and there is an incoming connection attempt and the
BR/EDR Controller is not set to auto-accept this connection attempt, the BR/EDR
Controller shall automatically refuse the connection attempt. When the Host
receives this event and the link type parameter is ACL, it should respond with
either an Accept_Connection_Request or Reject_Connection_Request command
before the timer Conn_Accept_Timeout expires. If the link type is SCO or eSCO,
the Host should reply with the Accept_Synchronous_Connection_Request or the
Reject_Synchronous_Connection_Request command. If the link type is SCO, the
Host may respond with Accept_Connection_Request command. If the event is
responded to with Accept_Connection_Request command, then the default
parameter settings of the Accept_Synchronous_Connection_Request command
(see Section 7.1.27) should be used by the local Link Manager when negotiating
the SCO link parameters. In that case, the Connection Complete event and not the
Synchronous Connection Complete event, shall be returned on completion of the
connection.

Event Parameters:
BD_ADDR:                                                                     Size: 6 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXX              BD_ADDR of the device that requests the connection.

Class_of_Device:                                                             Size: 3 Octets
 Value                Parameter Description

 0xXXXXXX             Class of Device for the device, which requests the connection.
 0x000000             Unknown Class of Device

Link_Type:                                                                     Size: 1 Octet
 Value              Parameter Description

 0x00               SCO Connection requested
 0x01               ACL Connection requested

 0x02               eSCO Connection requested
 All other values   Reserved for future use.


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7.7.5 Disconnection Complete Event


 Event                                     Event Code      Event Parameters

 Disconnection Complete                    0x05            Status,
                                                           Connection_Handle, Reason

Description:

The Disconnection Complete event occurs when a connection is terminated.
The status parameter indicates if the disconnection was successful or not. The
reason parameter indicates the reason for the disconnection if the
disconnection was successful. If the disconnection was not successful, the
value of the reason parameter can be ignored by the Host. For example, this
can be the case if the Host has issued the Disconnect command and there was
a parameter error, or the command was not presently allowed, or a
Connection_Handle that didn’t correspond to a connection was given.

Note: When a physical link fails, one Disconnection Complete event will be
returned for each logical channel on the physical link with the corresponding
Connection_Handle as a parameter.

Event Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Disconnection has occurred.
 0x01-0xFF         Disconnection failed to complete. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle which was disconnected.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Reason:                                                                          Size: 1 Octet
 Value             Parameter Description

 0xXX              Reason for disconnection. See [Vol 2] Part D, Error Codes for error codes
                   and descriptions.




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7.7.6 Authentication Complete Event


 Event                                     Event Code     Event Parameters

 Authentication Complete                   0x06           Status,
                                                          Connection_Handle

Description:

The Authentication Complete event occurs when authentication has been
completed for the specified connection. The Connection_Handle must be a
Connection_Handle for an ACL connection.

Event Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Authentication Request successfully completed.

 0x01-0xFF         Authentication Request failed to complete. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle for which Authentication has been performed.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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7.7.7 Remote Name Request Complete Event


 Event                                     Event Code     Event Parameters

 Remote Name Request Complete              0x07           Status,
                                                          BD_ADDR, Remote_Name

Description:

The Remote Name Request Complete event is used to indicate that a remote
name request has been completed. The Remote_Name event parameter is a
UTF-8 encoded string with up to 248 octets in length. The Remote_Name
event parameter will be null-terminated (0x00) if the UTF-8 encoded string is
less than 248 octets. The BD_ADDR event parameter is used to identify which
device the user-friendly name was obtained from.

Note: The Remote_Name parameter is a string parameter. Endian-ness does
therefore not apply to the Remote_Name parameter. The first octet of the name
is received first.

Event Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Remote_Name_Request command succeeded.

 0x01-0xFF         Remote_Name_Request command failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR for the device whose name was requested.

Remote_Name:                                                              Size: 248 Octets
 Value             Parameter Description

 Name[248]         A UTF-8 encoded user-friendly descriptive name for the remote device.
                   If the name contained in the parameter is shorter than 248 octets, the end
                   of the name is indicated by a NULL octet (0x00), and the following octets
                   (to fill up 248 octets, which is the length of the parameter) do not have
                   valid values.




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7.7.8 Encryption Change Event


 Event                                     Event Code       Event Parameters

 Encryption Change                         0x08             Status,
                                                            Connection_Handle,
                                                            Encryption_Enabled

Description:

The Encryption Change event is used to indicate that the change of the
encryption mode has been completed. The Connection_Handle will be a
Connection_Handle for an ACL connection and is used to identify the remote
device. The Encryption_Enabled event parameter specifies the new
Encryption_Enabled parameter for the Connection_Handle specified by the
Connection_Handle event parameter. This event will occur on both devices to
notify the Hosts when Encryption has changed for all connections between the
two devices. Note: This event shall not be generated if encryption is paused or
resumed; during a role switch, for example.

The meaning of the Encryption_Enabled parameter depends on whether the
Host has indicated support for Secure Connections in the
Secure_Connections_Host_Support parameter. When
Secure_Connections_Host_Support is ‘disabled’ or the Connection_Handle
refers to an LE link, the Controller shall only use Encryption_Enabled values
0x00 (OFF) and 0x01 (ON). When Secure_Connections_Host_Support is
‘enabled’ and the Connection_Handle refers to a BR/EDR link, the Controller
shall set Encryption_Enabled to 0x00 when encryption is off, to 0x01 when
encryption is on and using E0 and to 0x02 when encryption is on and using
AES-CCM.

Event Parameters:

Status:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x00              Encryption Change has occurred.

 0x01-0xFF         Encryption Change failed. See [Vol 2] Part D, Error Codes for a list of error
                   codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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Encryption_Enabled:                                                          Size: 1 Octet
 Value              Parameter Description

 0x00               Link Level Encryption is OFF.
 0x01               Link Level Encryption is ON with E0 for BR/EDR.
                    Link Level Encryption is ON with AES-CCM for LE.
 0x02               Link Level Encryption is ON with AES-CCM for BR/EDR.
 All other values   Reserved for future use.




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7.7.9 Change Connection Link Key Complete Event


 Event                                         Event Code      Event Parameters

 Change Connection Link Key Complete           0x09            Status,
                                                               Connection_Handle

Description:

The Change Connection Link Key Complete event is used to indicate that the
change in the Link Key for all connections to a given remote BR/EDR
Controller has been completed.

The Connection_Handle will be a Connection_Handle for an ACL connection to
the remote Controller. The Change Connection Link Key Complete event is
sent only to the Host which issued the Change_Connection_Link_Key
command.

Event Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Change_Connection_Link_Key command succeeded.
 0x01-0xFF         Change_Connection_Link_Key command failed. See [Vol 2] Part D, Error
                   Codes for a list of error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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7.7.10 Master Link Key Complete Event


 Event                                     Event Code    Event Parameters

 Master Link Key Complete                  0x0A          Status,
                                                         Connection_Handle, Key_Flag

Description:

The Master Link Key Complete event is used to indicate that the Link Key
managed by the master of the piconet has been changed. The
Connection_Handle will be a Connection_Handle for an ACL connection within
that piconet. The link key used for the connection will be the temporary link key
of the master device or the semi-permanent link key indicated by the Key_Flag.
The Key_Flag event parameter is used to indicate which Link Key (temporary
link key of the Master, or the semi-permanent link keys) is now being used in
the piconet.

Note: For a master, the change from a semi-permanent Link Key to temporary
Link Key will affect all Connection_Handles related to the piconet. For a slave,
this change affects only this particular Connection_Handle. A temporary link
key must be used when both broadcast and point-to-point traffic shall be
encrypted.

Event Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Master_Link_Key command succeeded.
 0x01-0xFF         Master_Link_Key command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Key_Flag:                                                                     Size: 1 Octet
 Value             Parameter Description

 0x00              Using Semi-permanent Link Key.
 0x01              Using Temporary Link Key.




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7.7.11 Read Remote Supported Features Complete Event


 Event                            Event Code         Event Parameters

 Read Remote Supported            0x0B               Status,
 Features Complete                                   Connection_Handle, LMP_Features

Description:

The Read Remote Supported Features Complete event is used to indicate the
completion of the process of the Link Manager obtaining the supported
features of the remote BR/EDR Controller specified by the Connection_Handle
event parameter. The Connection_Handle will be a Connection_Handle for an
ACL connection. The event parameters include a list of LMP features. For
details see [Vol 2] Part C, Link Manager Protocol Specification.

Note: If the features are requested more than once while a connection exists
between the two devices, the second and subsequent requests may report a
cached copy of the features rather than fetching the feature mask again.

Event Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Remote_Supported_Features command succeeded.

 0x01-0xFF         Read_Remote_Supported_Features command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

LMP_Features:                                                                Size: 8 Octets
 Value             Parameter Description

 0xXXXXXXXX        Bit Mask List of LMP features. See [Vol 2] Part C, Link Manager Protocol
 XXXXXXXX          Specification.




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7.7.12 Read Remote Version Information Complete Event


 Event                                     Event Code   Event Parameters

 Read Remote Version Information           0x0C         Status,
 Complete                                               Connection_Handle,
                                                        Version,
                                                        Manufacturer_Name,
                                                        Subversion

Description:

The Read Remote Version Information Complete event is used to indicate the
completion of the process obtaining the version information of the remote
Controller specified by the Connection_Handle event parameter. The
Connection_Handle shall be for an ACL connection.

The Version event parameter defines the specification version of the BR/EDR
or LE Controller. The Manufacturer_Name event parameter indicates the
manufacturer of the remote Controller. The Subversion event parameter is
controlled by the manufacturer and is implementation dependent. The
Subversion event parameter defines the various revisions that each version of
the Bluetooth hardware will go through as design processes change and errors
are fixed. This allows the software to determine what Bluetooth hardware is
being used and, if necessary, to work around various bugs in the hardware.

When the Connection_Handle is associated with a BR/EDR ACL-U logical link,
the Version event parameter shall be LMP VersNr parameter, the
Manufacturer_Name event parameter shall be the CompId parameter, and the
Subversion event parameter shall be the LMP SubVersNr parameter.

When the Connection_Handle is associated with an LE-U logical link, the
Version event parameter shall be Link Layer VersNr parameter, the
Manufacturer_Name event parameter shall be the CompId parameter, and the
Subversion event parameter shall be the SubVersNr parameter.

Event Parameters:

Status:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Remote_Version_Information command succeeded.
 0x01-0xFF         Read_Remote_Version_Information command failed. See [Vol 2] Part D,
                   Error Codes for a list of error codes and descriptions.




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Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Version:                                                                       Size: 1 Octet
 Value             Parameter Description

 0xXX              Version of the Current LMP in the remote Controller. See LMP VersNr and
                   Link LayerVersNr in the Bluetooth Assigned Numbers.

Manufacturer_Name:                                                           Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Manufacturer Name of the remote Controller. See CompId in the Blue-
                   tooth Assigned Numbers.

Subversion:                                                                  Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Subversion of the LMP in the remote Controller. See [Vol 2] Part C, Table
                   5.2 and [Vol 6] Part B, Section 2.4.2.13(SubVersNr).




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7.7.13 QoS Setup Complete Event


 Event                                     Event Code    Event Parameters

 QoS Setup Complete                        0x0D          Status,
                                                         Connection_Handle,
                                                         Flags,
                                                         Service_Type,
                                                         Token_Rate,
                                                         Peak_Bandwidth,
                                                         Latency,
                                                         Delay_Variation

Description:

The QoS Setup Complete event is used to indicate the completion of the
process of the Link Manager setting up QoS with the remote BR/EDR
Controller specified by the Connection_Handle event parameter. The
Connection_Handle will be a Connection_Handle for an ACL connection. For
more detail see
[Vol 3] Part A, Logical Link Control and Adaptation Protocol Specification.

Event Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              QoS_Setup command succeeded.

 0x01-0xFF         QoS_Setup command failed. See [Vol 2] Part D, Error Codes for a list of
                   error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Flags:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00 – 0xFF       Reserved for future use.




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Service_Type:                                                           Size: 1 Octet
 Value              Parameter Description

 0x00               No Traffic Available.
 0x01               Best Effort Available.
 0x02               Guaranteed Available.

 All other values   Reserved for future use.

Token_Rate:                                                           Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Available Token Rate, in octets per s.

Peak_Bandwidth:                                                       Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Available Peak Bandwidth, in octets per s.

Latency:                                                              Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Available Latency, in microseconds.

Delay_Variation:                                                      Size: 4 Octets
 Value              Parameter Description

 0xXXXXXXXX         Available Delay Variation, in microseconds.




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7.7.14 Command Complete Event


 Event                      Event Code         Event Parameters

 Command Complete           0x0E               Num_HCI_Command_Packets,
                                               Command_Opcode, Return_Parameters

Description:

The Command Complete event is used by the Controller for most commands
to transmit return status of a command and the other event parameters that are
specified for the issued HCI command.

The Num_HCI_Command_Packets event parameter allows the Controller to
indicate the number of HCI command packets the Host can send to the
Controller. If the Controller requires the Host to stop sending commands, the
Num_HCI_Command_Packets event parameter will be set to zero. To indicate
to the Host that the Controller is ready to receive HCI command packets, the
Controller generates a Command Complete event with the Command_Opcode
set to 0x0000 and the Num_HCI_Command_Packets event parameter set to 1
or more. Command_Opcode 0x0000 is a special value indicating that this
event is not associated with a command sent by the Host. The Controller can
send a Command Complete event with Command Opcode 0x0000 at any time
to change the number of outstanding HCI command packets that the Host can
send before waiting. See each command for the parameters that are returned
by this event.

Event Parameters:

Num_HCI_Command_Packets:                                                    Size: 1 Octet
 Value             Parameter Description

 N = 0xXX          The Number of HCI command packets which are allowed to be sent to the
                   Controller from the Host.
                   Range for N: 0 – 255

Command_Opcode:                                                           Size: 2 Octets
 Value             Parameter Description

 0x0000            No associated command
 0xXXXX            (non-zero) Opcode of the command which caused this event.

Return_Parameter(s):                                      Size: Depends on Command
 Value             Parameter Description

 0xXX              This is the return parameter(s) for the command specified in the
                   Command_Opcode event parameter. See each command’s definition for
                   the list of return parameters associated with that command.


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7.7.15 Command Status Event


 Event                                     Event Code     Event Parameters

 Command Status                            0x0F           Status,
                                                          Num_HCI_Command_Packets,
                                                          Command_Opcode

Description:

The Command Status event is used to indicate that the command described by
the Command_Opcode parameter has been received, and that the Controller
is currently performing the task for this command. This event is needed to
provide mechanisms for asynchronous operation, which makes it possible to
prevent the Host from waiting for a command to finish. If the command cannot
begin to execute (a parameter error may have occurred, or the command may
currently not be allowed), the Status event parameter will contain the
corresponding error code, and no complete event will follow since the
command was not started. The Num_HCI_Command_Packets event
parameter allows the Controller to indicate the number of HCI command
packets the Host can send to the Controller. If the Controller requires the Host
to stop sending commands, the Num_HCI_Command_Packets event
parameter will be set to zero. To indicate to the Host that the Controller is ready
to receive HCI command packets, the Controller generates a Command Status
event with Status 0x00 and Command_Opcode 0x0000 and the
Num_HCI_Command_Packets event parameter set to 1 or more.
Command_Opcode 0x0000 is a special value indicating that this event is not
associated with a command sent by the Host. The Controller can send a
Command Status event with Command Opcode 0x0000 at any time to change
the number of outstanding HCI command packets that the Host can send
before waiting.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Command currently in pending.
 0x01-0xFF         Command failed. See [Vol 2] Part D, Error Codes for a list of error codes
                   and descriptions.

Num_HCI_Command_Packets:                                                        Size: 1 Octet
 Value             Parameter Description

 N = 0xXX          The Number of HCI command packets which are allowed to be sent to the
                   Controller from the Host.
                   Range for N: 0 – 255




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Command_Opcode:                                                             Size: 2 Octets
 Value             Parameter Description

 0x0000            No associated command
 0xXXXX            (non-zero) Opcode of the command which caused this event and is pending
                   completion.




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7.7.16 Hardware Error Event


 Event                                     Event Code   Event Parameters

 Hardware Error                            0x10         Hardware_Code

Description:

The Hardware Error event is used to notify the Host that a hardware failure has
occurred in the Controller.

Event Parameters:

Hardware_Code:                                                              Size: 1 Octet
 Value             Parameter Description

 0x00-0xFF         These Hardware_Codes will be implementation-specific, and can be
                   assigned to indicate various hardware problems.




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7.7.17 Flush Occurred Event


 Event                                     Event Code    Event Parameters

 Flush Occurred                            0x11          Handle

Description:

The Flush Occurred event is used to indicate that, for the specified Handle, the
current user data to be transmitted has been removed. The Handle shall be a
Connection_Handle for a BR/EDR LE ACL connection or a
Logical_Link_Handle for an AMP ACL connection. This could result from the
Flush command, or be due to the automatic flush. Multiple blocks of an L2CAP
packet could have been pending in the Controller. If one baseband packet part
of an L2CAP PDU is flushed, then the rest of the HCI data packets for the
L2CAP PDU must also be flushed.

Event Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Handle that was flushed. The Handle is a Connection_Handle for a Pri-
                   mary Controller or a Logical_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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7.7.18 Role Change Event


 Event                                     Event Code       Event Parameters

 Role Change                               0x12             Status,
                                                            BD_ADDR, New_Role

Description:

The Role Change event is used to indicate that the current role of the BR/EDR
Controller related to the particular connection has changed. This event only
occurs when both the remote and local BR/EDR Controllers have completed
their role change for the BR/EDR Controller associated with the BD_ADDR
event parameter. This event allows both affected Hosts to be notified when the
Role has been changed.

Event Parameters:

Status:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x00              Role change has occurred.

 0x01-0xFF         Role change failed. See [Vol 2] Part D, Error Codes for a list of error codes
                   and descriptions.

BD_ADDR:                                                                        Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXXX            BD_ADDR of the Device for which a role change has completed.

New_Role:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Currently the Master for specified BD_ADDR.
 0x01              Currently the Slave for specified BD_ADDR.




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7.7.19 Number Of Completed Packets Event


 Event                               Event Code      Event Parameters

 Number Of Completed Packets         0x13            Number_of_Handles,
                                                     Connection_Handle[i],
                                                     HC_Num_Of_Completed_Packets[i]

Description:

The Number Of Completed Packets event is used by the Controller to indicate
to the Host how many HCI Data Packets have been completed (transmitted or
flushed) for each Connection_Handle since the previous Number Of
Completed Packets event was sent to the Host. This means that the
corresponding buffer space has been freed in the Controller. Based on this
information, and the HC_Total_Num_ACL_Data_Packets and
HC_Total_Num_Synchronous_Data_Packets return parameter of the
Read_Buffer_Size command, the Host can determine for which
Connection_Handles the following HCI Data Packets should be sent to the
Controller. The Number Of Completed Packets event shall not specify a given
Connection_Handle before the Connection Complete event for the
corresponding connection or after an event indicating disconnection of the
corresponding connection. While the Controller has HCI data packets in its
buffer, it must keep sending the Number Of Completed Packets event to the
Host at least periodically, until it finally reports that all the pending ACL Data
Packets have been transmitted or flushed. The rate with which this event is
sent is manufacturer specific.

Note: Number Of Completed Packets events will not report on synchronous
Connection_Handles if synchronous Flow Control is disabled. (See Section
7.3.36 and Section 7.3.37.)

Event Parameters:

Number_of_Handles:                                                            Size: 1 Octet
 Value             Parameter Description

 0xXX              The number of Connection_Handles and Num_HCI_Data_Packets
                   parameters pairs contained in this event.
                   Range: 0-255

Connection_Handle[i]: Size: Number_of_Handles * 2 Octets(12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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HC_Num_Of_Completed_Packets [i]:                     Size: Number_of_Handles * 2 Octets
 Value             Parameter Description

 N = 0xXXXX        The number of HCI Data Packets that have been completed (transmitted
                   or flushed) for the associated Connection_Handle since the previous time
                   the event was returned.
                   Range for N: 0x0000-0xFFFF




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7.7.20 Mode Change Event


 Event                                     Event Code     Event Parameters

 Mode Change                               0x14           Status,
                                                          Connection_Handle,
                                                          Current_Mode,
                                                          Interval

Description:

The Mode Change event is used to indicate when the device associated with
the Connection_Handle changes between Active mode, Hold mode, and Sniff
mode. The Connection_Handle will be a Connection_Handle for an ACL
connection. The Connection_Handle event parameter is used to indicate which
connection the Mode Change event is for. The Current_Mode event parameter
is used to indicate which state the connection is currently in. The Interval
parameter is used to specify a time amount specific to each state. Each
Controller that is associated with the Connection_Handle which has changed
Modes shall send the Mode Change event to its Host.

Event Parameters:

Status:                                                                       Size: 1 Octet
 Value              Parameter Description

 0x00               A Mode Change has occurred.
 0x01-0xFF          Hold_Mode, Sniff_Mode, or Exit_Sniff_Mode command failed. See [Vol 2]
                    Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets(12 Bits meaningful)
 Value              Parameter Description

 0xXXXX             Connection_Handle.
                    Range: 0x0000-0x0EFF (all other values reserved for future use)

Current_Mode:                                                                  Size: 1 Octet
 Value              Parameter Description

 0x00               Active Mode.
 0x01               Hold Mode.

 0x02               Sniff Mode.
 All other values   Reserved for future use.




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Interval:                                                                  Size: 2 Octets
 Value           Parameter Description

 N = 0xXXXX      Hold:
                 Number of Baseband slots to wait in Hold Mode.
                 Hold Interval = N * 0.625 ms (1 Baseband slot)
                 Range for N: 0x0002-0xFFFE
                 Time Range: 1.25 ms-40.9 s


                 Sniff:
                 Number of Baseband slots between sniff anchor points. Time between sniff
                 anchor points = N * 0.625 ms (1 Baseband slot)Range for N: 0x0002-
                 0xFFFE
                 Time Range: 1.25 ms-40.9 s




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7.7.21 Return Link Keys Event


 Event                                     Event Code     Event Parameters

 Return Link Keys                          0x15           Num_Keys,
                                                          BD_ADDR [i], Link_Key[i]

Description:

The Return Link Keys event is used by the BR/EDR Controller to send the Host
the BD_ADDRs associated with one or more stored Link Keys. Zero or more
instances of this event will occur after the Read_Stored_Link_Key command.
When there are no link keys stored, no Return Link Keys events shall be
returned. When there are link keys stored, the number of link keys returned in
each Return Link Keys event is implementation specific. This event shall never
return the value of the link keys. The link keys value parameter shall always
contain the value of zero.

Event Parameters:

Num_Keys:                                                                     Size: 1 Octet
 Value              Parameter Description

 0xXX               Number of Link Keys contained in this event.
                    Range: 0x01 – 0x0B

BD_ADDR [i]:                                                 Size: 6 Octets * Num_Keys
 Value                              Parameter Description

 0xXXXXXXXXXXXX                     BD_ADDR for the associated Link Key.

Link_Key[i]:                                                Size:16 Octets * Num_Keys
 Value                Parameter Description

 0x000000000000       Shall be zero.
 00000000000000
 000000




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7.7.22 PIN Code Request Event


 Event                                     Event Code    Event Parameters

 PIN Code Request                          0x16          BD_ADDR

Description:

The PIN Code Request event is used to indicate that a PIN code is required to
create a new link key. The Host shall respond using either the
PIN_Code_Request_Reply or the PIN_Code_Request_Negative_Reply
command, depending on whether the Host can provide the Controller with a
PIN code or not.

Note: If the PIN Code Request event is masked away, then the BR/EDR
Controller will assume that the Host has no PIN Code.

When the BR/EDR Controller generates a PIN Code Request event in order for
the local Link Manager to respond to the request from the remote Link
Manager (as a result of a Create_Connection or Authentication_Requested
command from the remote Host), the local Host must respond with either a
PIN_Code_Request_Reply or PIN_Code_Request_Negative_Reply command
before the remote Link Manager detects LMP response timeout. (See [Vol 2]
Part C, Link Manager Protocol Specification.)

Event Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Device which a new link key is being created for.




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7.7.23 Link Key Request Event


 Event                                     Event Code     Event Parameters

 Link Key Request                          0x17           BD_ADDR

Description:

The Link Key Request event is used to indicate that a Link Key is required for
the connection with the device specified in BD_ADDR. If the Host has the
requested stored Link Key, then the Host shall pass the requested Key to the
Controller using the Link_Key_Request_Reply command. If the Host does not
have the requested stored Link Key, or the stored Link Key does not meet the
security requirements for the requested service, then the Host shall use the
Link_Key_Request_Negative_Reply command to indicate to the Controller that
the Host does not have the requested key.

Note: If the Link Key Request event is masked away, then the BR/EDR
Controller will assume that the Host has no additional link keys.

If the Host uses the Link_Key_Request_Negative_Reply command when the
requested service requires an authenticated Link Key and the current Link Key
is unauthenticated, the Host should set the Authentication_Requirements
parameter one of the MITM Protection Required options.

When the Controller generates a Link Key Request event in order for the local
Link Manager to respond to the request from the remote Link Manager (as a
result of a Create_Connection or Authentication_Requested command from
the remote Host), the local Host must respond with either a
Link_Key_Request_Reply or Link_Key_Request_Negative_Reply command
before the remote Link Manager detects LMP response timeout. (See [Vol 2]
Part C, Link Manager Protocol Specification.)

Event Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Device which a stored link key is being requested.




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7.7.24 Link Key Notification Event


 Event                                     Event Code   Event Parameters

 Link Key Notification                     0x18         BD_ADDR,
                                                        Link_Key,
                                                        Key_Type

Description:

The Link Key Notification event is used to indicate to the Host that a new Link
Key has been created for the connection with the device specified in
BD_ADDR. The Host can save this new Link Key in its own storage for future
use. Also, the Host can decided to store the Link Key in the BR/EDR
Controller’s Link Key Storage by using the Write_Stored_Link_Key command.
The Key_Type event parameter informs the Host about which key type
(combination key, local unit key, or remote unit key, debug combination key,
unauthenticated combination key, authenticated combination key or changed
combination key) that was used during pairing. If pairing with unit key is not
supported, the Host can for instance discard the key or disconnect the link.

The combination key Key_Type is used when standard pairing was used. The
debug combination key Key_Type is used when Simple Pairing was used and
the debug public key is sent or received. The unauthenticated combination key
Key_Type is used when the Just Works Simple Pairing association model was
used. The authenticated combination key Key_Type is used when Simple
Pairing was used and the Just Works association mode was not used. The
changed combination key Key_Type is used when the link key has been
changed using the Change Connection Link Key procedure and Simple Pairing
Mode is set to enabled. Note: It is the responsibility of the Host to remember
the Key_Type (combination, debug combination, unauthenticated combination,
or authenticated combination) prior to changing the link key.

When the unauthenticated or authenticated combination key Key_Type is
used, the Controller shall use values 0x04 and 0x05 to indicate keys created
with the P-192 elliptic curve and values 0x07 through 0x08 to indicate keys
created with the P-256 elliptic curve. The values 0x07 and 0x08 shall only be
used when the Host has indicated support for Secure Connections in the
Secure_Connections_Host_Support parameter.

Event Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXXX            BD_ADDR of the Device for which the new link key has been
                           generated.




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Link_Key:                                                              Size: 16 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Link Key for the associated BD_ADDR.
 XXXXXXXXXXX
 XXXXXXXXXXX

Key_Type:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00                 Combination Key

 0x01                 Local Unit Key
 0x02                 Remote Unit Key
 0x03                 Debug Combination Key

 0x04                 Unauthenticated Combination Key generated from P-192
 0x05                 Authenticated Combination Key generated from P-192

 0x06                 Changed Combination Key
 0x07                 Unauthenticated Combination Key generated from P-256
 0x08                 Authenticated Combination Key generated from P-256

 All other values     Reserved for future use




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7.7.25 Loopback Command Event


 Event                                     Event Code   Event Parameters

 Loopback Command                          0x19         HCI_Command_Packet

Description:
When in Local Loopback mode, the BR/EDR Controller loops back commands
and data to the Host. The Loopback Command event is used to loop back all
commands that the Host sends to the Controller with some exceptions. See
Section 7.6.1 for a description of which commands that are not looped back.
The HCI_Command_Packet event parameter contains the entire HCI
Command Packet including the header.
Note: The event packet is limited to a maximum of 255 octets in the payload;
since an HCI Command Packet has 3 octets of header data, only the first 252
octets of the command parameters will be returned.

Event Parameters:

HCI_Command_Packet:                                      Size: Depends on Command
 Value                Parameter Description

 0xXXXXXX             HCI Command Packet, including header.




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7.7.26 Data Buffer Overflow Event


 Event                                     Event Code   Event Parameters

 Data Buffer Overflow                      0x1A         Link_Type

Description:

This event is used to indicate that the Controller’s data buffers have been
overflowed. This can occur if the Host has sent more packets than allowed.
The Link_Type parameter is used to indicate that the overflow was caused by
ACL or synchronous data.

Event Parameters:

Link_Type:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00                 Synchronous Buffer Overflow (Voice Channels).
 0x01                 ACL Buffer Overflow (Data Channels).

 All other values     Reserved for future use.




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7.7.27 Max Slots Change Event


 Event                                     Event Code    Event Parameters

 Max Slots Change                          0x1B          Connection_Handle,
                                                         LMP_Max_Slots

Description:

This event is used to notify the Host about the LMP_Max_Slots parameter
when the value of this parameter changes. It shall be sent each time the
maximum allowed length, in number of slots, for baseband packets transmitted
by the local device, changes. The Connection_Handle will be a
Connection_Handle for an ACL connection.

Event Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle.
                      Range: 0x0000-0x0EFF (all other values reserved for future use)

LMP_Max_Slots:                                                                Size: 1 octet
 Value                Parameter Description

 0x01, 0x03, 0x05     Maximum number of slots allowed to use for baseband packets, see
                      [Vol 2] Part C, Section 4.1.10 and Section 5.2.




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7.7.28 Read Clock Offset Complete Event


 Event                                     Event Code    Event Parameters

 Read Clock Offset Complete                0x1C          Status,
                                                         Connection_Handle,
                                                         Clock_Offset

Description:

The Read Clock Offset Complete event is used to indicate the completion of
the process of the Link Manager obtaining the Clock Offset information of the
BR/EDR Controller specified by the Connection_Handle event parameter. The
Connection_Handle will be a Connection_Handle for an ACL connection.

Event Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Read_Clock_Offset command succeeded.

 0x01-0xFF         Read_Clock_Offset command failed. See [Vol 2] Part D, Error Codes for a
                   list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Clock_Offset:                                                               Size: 2 Octets
 Bit format           Parameter Description

 Bits 14-0            Bits 16-2 of CLKNslave-CLK
 Bit 15               Reserved for Future Use.




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7.7.29 Connection Packet Type Changed Event


 Event                                     Event Code    Event Parameters

 Connection Packet Type Changed            0x1D          Status,
                                                         Connection_Handle,
                                                         Packet_Type

Description:
The Connection Packet Type Changed event is used to indicate that the
process has completed of the Link Manager changing which packet types can
be used for the connection. This allows current connections to be dynamically
modified to support different types of user data. The Packet_Type event
parameter specifies which packet types the Link Manager can use for the
connection identified by the Connection_Handle event parameter for sending
L2CAP data or voice. The Packet_Type event parameter does not decide
which packet types the LM is allowed to use for sending LMP PDUs.

Event Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Connection Packet Type changed successfully.

 0x01-0xFF         Connection Packet Type Changed failed. See [Vol 2] Part D, Error Codes
                   for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle.
                      Range: 0x0000-0x0EFF (all other values reserved for future use)

Packet_Type:                                                                Size: 2 Octets

For ACL_Link_Type
 Value                Parameter Description

 0x0001               Reserved for future use.

 0x0002               2-DH1 shall not be used.
 0x0004               3-DH1 shall not be used.

 0x00081              DM1 may be used.

 0x0010               DH1 may be used.

 0x0020               Reserved for future use.
 0x0040               Reserved for future use.


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 Value                 Parameter Description

 0x0080                Reserved for future use.
 0x0100                2-DH3 shall not be used.
 0x0200                3-DH3 shall not be used.

 0x0400                DM3 may be used.
 0x0800                DH3 may be used.
 0x1000                2-DH5 shall not be used.

 0x2000                3-DH5 shall not be used.
 0x4000                DM5 may be used.
 0x8000                DH5 may be used.
 1. This bit will be interpreted as set to 1 by Bluetooth V1.2 or later Controllers.

For SCO_Link_Type
 Value                 Parameter Description

 0x0001                Reserved for future use.

 0x0002                Reserved for future use.
 0x0004                Reserved for future use.
 0x0008                Reserved for future use.

 0x0010                Reserved for future use.
 0x0020                HV1
 0x0040                HV2

 0x0080                HV3
 0x0100                Reserved for future use.
 0x0200                Reserved for future use.

 0x0400                Reserved for future use.
 0x0800                Reserved for future use.

 0x1000                Reserved for future use.
 0x2000                Reserved for future use.
 0x4000                Reserved for future use.

 0x8000                Reserved for future use.




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7.7.30 QoS Violation Event


 Event                                     Event Code    Event Parameters

 QoS Violation                             0x1E          Handle

Description:

The QoS Violation event is used to indicate the Controller is unable to provide
the current QoS requirement for the Connection or Logical Link Handle. This
event indicates that the Controller is unable to provide one or more of the
agreed QoS parameters.

The Host chooses what action should be done. With a BR/EDR Controller the
Host can reissue the QoS_Setup command to renegotiate the QoS setting for
Connection_Handle. With an AMP Controller the Host can reissue the
Flow_Spec_Modify command.

Event Parameters:

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Handle for the link that the Controller cannot provide the current QoS
                   requested. The Handle is a Connection_Handle for a BR/EDR Controller
                   and a Logical_Link_Handle for an AMP Controller.
                   Range: 0x0000-0x0EFF (all other values reserved for future use)




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7.7.31 Page Scan Repetition Mode Change Event


                                            Event
 Event                                                Event Parameters
                                            Code

 Page Scan Repetition Mode Change           0x20      BD_ADDR,
                                                      Page_Scan_Repetition_Mode

Description:

The Page Scan Repetition Mode Change event indicates that the remote
BR/EDR Controller with the specified BD_ADDR has successfully changed the
Page_Scan_Repetition_Mode (SR).

Event Parameters:

BD_ADDR:                                                              Size: 6 Octets
 Value             Parameter Description

 0xXXXXXXXX        BD_ADDR of the remote device.
 XXXX

Page_Scan_Repetition_Mode:                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 R0
 0x01                 R1

 0x02                 R2
 0x03 – 0xFF          Reserved for Future Use.




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7.7.32 Flow Specification Complete Event


 Event                                     Event Code     Event Parameters

 Flow Specification Complete               0x21           Status, Connection_Handle,
                                                          Flags, Flow_direction,
                                                          Service_Type, Token_Rate,
                                                          Token_Bucket_Size,
                                                          Peak_Bandwidth,
                                                          Access Latency

Description:

The Flow Specification Complete event is used to inform the Host about the
Quality of Service for the ACL connection the Controller is able to support. The
Connection_Handle will be a Connection_Handle for an ACL connection. The
flow parameters refer to the outgoing or incoming traffic of the ACL link, as
indicated by the Flow_direction field. The flow parameters are defined in the
L2CAP specification [Vol 3] Part A, Section 5.3. When the Status parameter
indicates a successful completion, the flow parameters specify the agreed
values by the Controller. When the Status parameter indicates a failed
completion with the error code QoS Unacceptable Parameters (0x2C), the flow
parameters specify the acceptable values of the Controller. This enables the
Host to continue the 'QoS negotiation' with a new HCI Flow_Specification
command with flow parameter values that are acceptable for the Controller.
When the Status parameter indicates a failed completion with the error code
QoS Rejected (0x2D), this indicates a request of the Controller to discontinue
the 'QoS negotiation'. When the Status parameter indicates a failed
completion, the flow parameter values of the most recently successful
completion must be assumed (or the default values when there was no
success completion).

Event Parameters:

Status:                                                                       Size: 1 Octet
 Value             Parameter Description

 0x00              Flow_Specification command succeeded
 0x01 – 0xFF       Flow_Specification command failed. See [Vol 2] Part D, Error Codes for
                   list of Error Codes

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000 - 0x0EFF (all other values reserved for future use)



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Flags:                                                                       Size: 1 Octet)
 Value             Parameter Description

 0x00 – 0xFF       Reserved for future use.

Flow_direction:                                                                  Size: 1 Octet
 Value             Parameter Description

 0x00              Outgoing Flow i.e. traffic send over the ACL connection

 0x01              Incoming Flow i.e. traffic received over the ACL connection
 0x02 – 0xFF       Reserved for future use.

Service_Type:                                                                    Size: 1 Octet
 Value             Parameter Description

 0x00              No Traffic
 0x01              Best Effort

 0x02              Guaranteed
 0x03 – 0xFF       Reserved for future use

Token Rate:                                                                  Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Token Rate in octets per s

Token Bucket Size:                                                           Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Token Bucket Size in octets

Peak_Bandwidth:                                                              Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Peak Bandwidth in octets per s

Access Latency:                                                              Size: 4 Octets
 Value             Parameter Description

 0xXXXXXXXX        Access Latency in microseconds




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7.7.33 Inquiry Result with RSSI Event


 Event                                     Event Code      Event Parameters

 Inquiry Result with RSSI                  0x22            Num_responses,
                                                           BD_ADDR[i],
                                                           Page_Scan_Repetition_Mode[i],
                                                           Reserved[i],
                                                           Class_of_Device[i],
                                                           Clock_Offset[i],
                                                           RSSI[i]

Description:
The Inquiry Result with RSSI event indicates that a BR/EDR Controller or
multiple BR/EDR Controllers have responded so far during the current Inquiry
process. This event will be sent from the BR/EDR Controller to the Host as
soon as an Inquiry Response from a remote device is received if the remote
device supports only mandatory paging scheme. This BR/EDR Controller may
queue these Inquiry Responses and send multiple BR/EDR Controllers
information in one Inquiry Result event. The event can be used to return one or
more Inquiry responses in one event. The RSSI parameter is measured during
the FHS packet returned by each responding slave.
This event shall only be generated if the Inquiry Mode parameter of the last
Write_Inquiry_Mode command was set to 0x01 (Inquiry Result format with RSSI),
or was set to 0x02 (Inquiry Result with RSSI format or Extended Inquiry Result
format) and the inquiry response packet had the EIR field set to 0.

Event Parameters:

Num_Responses:                                                                      Size: 1 Octet
 Value             Parameter Description

 0xXX              Number of responses from the Inquiry.

BD_ADDR[i]:                                          Size: 6 Octets * Num_Responses
 Value                Parameter Description

 0xXXXXXXXXXX         BD_ADDR for each device which responded.
 XX




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Page_Scan_Repetition_Mode[i]:                           Size: 1 Octet* Num_Responses
 Value                Parameter Description

 0x00                 R0
 0x01                 R1
 0x02                 R2

 0x03 – 0xFF          Reserved for Future Use


Reserved[i]:1                                           Size: 1 Octet* Num_Responses
 Value                Parameter Description

 0xXX                 Reserved for Future Use.

Class_of_Device[i]:                                    Size: 3 Octets * Num_Responses
 Value                Parameter Description

 0xXXXXXX             Class of Device for the device

Clock_Offset[i]:                                       Size: 2 Octets * Num_Responses
 Bit format           Parameter Description

 Bits 14-0            Bits 16-2 of CLKNslave-CLK

 Bit 15               Reserved for Future Use

RSSI[i]:                                                Size: 1 Octet * Num_Responses
 Value             Parameter Description

 0xXX              Range: -127 to +20
                   Units: dBm




1. This was the Page_Scan_Period_Mode parameter in the v1.1 specification. This parameter
   has no meaning in v1.2 or later and no default value.


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7.7.34 Read Remote Extended Features Complete Event


 Event                                     Event Code     Event Parameters

 Read Remote Extended Features             0x23           Status,
 Complete                                                 Connection_Handle,
                                                          Page_Number,
                                                          Maximum page number,
                                                          Extended_LMP_Features

Description:
The Read Remote Extended Features Complete event is used to indicate the
completion of the process of the Link Manager obtaining the remote extended
LMP features of the remote device specified by the Connection_Handle event
parameter. The Connection_Handle will be a Connection_Handle for an ACL
connection. The event parameters include a page of the remote devices
extended LMP features. For details see [Vol 2] Part C, Link Manager Protocol
Specification.
Note: If a feature page is requested more than once while a connection exists
between the two devices, the second and subsequent requests may report a
cached copy of that page rather than fetching it again.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Request for remote extended features succeeded
 0x01-0xFF         Request for remote extended features failed. See [Vol 2] Part D, Error
                   Codes for error codes.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            The Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Page Number:                                                                   Size: 1Octet
 Value             Parameter Description

 0x00              The normal LMP features as returned by Read_Remote_Supported_Fea-
                   tures command
 0x01-0xFF         The page number of the features returned




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Maximum Page Number:                                                             Size: 1Octet
 Value             Parameter Description

 0x00-0xFF         The highest features page number which contains non-zero bits for the
                   remote device

Extended_LMP_Features:                                                          Size: 8 Octets
 Value                       Parameter Description

 0xFFFFFFFFFFFFFFFF          Bit map of requested page of LMP features.
                             See LMP [Vol 2] Part C, Section 3.3 for details.




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7.7.35 Synchronous Connection Complete Event


 Event                               Event Code      Event Parameters

 Synchronous Connection Com-         0x2C            Status,
 plete                                               Connection_Handle,
                                                     BD_ADDR,
                                                     Link Type,
                                                     Transmission_Interval,
                                                     Retransmission Window,
                                                     Rx_Packet_Length,
                                                     Tx_Packet_Length
                                                     Air Mode

Description:

The Synchronous Connection Complete event is sent to indicate completion of
any of the following commands:
• Setup_Synchronous_Connection
• Accept_Synchronous_Connection_Request
• Reject_Synchronous_Connection_Request
• Enhanced_Setup_Synchronous_Connection
• Enhanced_Accept_Synchronous_Connection_Request

This event returns the completion status for the command.

When the Synchronous Connection Complete event was triggered by the
Enhanced_Setup_Synchronous_Connection or
Enhanced_Accept_Synchronous_Connection_Request commands, the
Controller shall set the Air Mode parameter to the Transmit Air Coding Format
parameter of the original command.

Event Parameters:

Status:                                                                         Size: 1 Octet
 Value             Parameter Description

 0x00              Connection successfully completed.
 0x01 –0xFF        Connection failed to complete. See [Vol 2] Part D, Error Codes for error
                   codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)



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BD_ADDR:                                                                      Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the other connected device forming the connection.

Link_Type:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              SCO Connection

 0x01              Reserved for Future Use
 0x02              eSCO Connection
 0x03 – 0xFF       Reserved for Future Use

Transmission_Interval:                                                          Size: 1 Octet
 Value             Parameter Description

 0xXX              Time between two consecutive eSCO instants measured in slots. Must be
                   zero for SCO links.

Retransmission window:                                                          Size: 1 Octet
 Value             Parameter Description

 0xXX              The size of the retransmission window measured in slots. Must be zero for
                   SCO links.

Rx_Packet_Length:                                                             Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Length in bytes of the eSCO payload in the receive direction. Must be zero
                   for SCO links.

Tx_Packet_Length:                                                             Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Length in bytes of the eSCO payload in the transmit direction. Must be
                   zero for SCO links.

Air Mode:                                                                       Size: 1 Octet
 Value             Parameter Description
 0x00              µ-law log
 0x01              A-law log
 0x02              CVSD
 0x03              Transparent Data
 0x04 – 0xFF       Reserved for Future Use


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7.7.36 Synchronous Connection Changed Event


 Event                                  Event Code    Event Parameters

 Synchronous Connection Changed         0x2D          Status,
                                                      Connection_Handle,
                                                      Transmission_Interval,
                                                      Retransmission Window,
                                                      Rx_Packet_Length,
                                                      Tx_Packet_Length

Description:

The Synchronous Connection Changed event indicates to the Host that an
existing synchronous connection has been reconfigured. This event also
indicates to the initiating Host (if the change was Host initiated) if the issued
command failed or was successful.

Command Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Connection successfully reconfigured.
 0x01 –0xFF        Reconfiguration failed to complete.
                   See [Vol 2] Part D, Error Codes for error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Transmission_Interval:                                                         Size: 1 Octet
 Value             Parameter Description

 0xXX              Time between two consecutive SCO/eSCO instants measured in slots.

Retransmission window:                                                         Size: 1 Octet
 Value             Parameter Description

 0xXX              The size of the retransmission window measured in slots. Must be zero for
                   SCO links.




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Rx_Packet_Length:                                                           Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Length in bytes of the SCO/eSCO payload in the receive direction.

Tx_Packet_Length:                                                           Size: 2 Octets
 Value             Parameter Description

 0xXXXX            Length in bytes of the SCO/eSCO payload in the transmit direction.




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7.7.37 Sniff Subrating Event

 Event                       Event Code                 Event Parameters

 Sniff Subrating             0x2E                       Status
                                                        Connection_Handle
                                                        Maximum_Transmit_Latency
                                                        Maximum_Receive_Latency
                                                        Minimum_Remote_Timeout
                                                        Minimum_Local_Timeout

Description:

The Sniff Subrating event indicates that the device associated with the
Connection_Handle has either enabled sniff subrating or the sniff subrating
parameters have been renegotiated by the link manager. The
Connection_Handle will be a Connection_Handle for an ACL connection. The
Connection_Handle event parameter indicates which connection the Sniff
Subrating event is for.

Each BR/EDR Controller that is associated with the Connection_Handle that
has changed its subrating parameters will send the Sniff Subrating event to its
Host.

Event Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Sniff_Subrating command succeeded
 0x01 – 0xFF              Subrating command failed to complete.
                          See [Vol 2] Part D, Error Codes for error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle.
                          Range: 0x0000 – 0x0EFF (all other values reserved for future use)




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Maximum_Transmit_Latency:                                                         Size: 2 Octet
 Value                    Parameter Description

 N = 0xXXXX               Maximum latency for data being transmitted from the local device to
                          the remote device.
                          Latency = N * 0.625 ms (1 Baseband slot)
                          Range for N: 0x0000 – 0xFFFE
                          Time Range: 0 s - 40.9 s

Maximum_Receive_Latency:                                                          Size: 2 Octet
 Value                     Parameter Description

 N = 0xXXXX                Maximum latency for data being received by the local device from
                           the remote device.
                           Latency = N * 0.625 ms (1 Baseband slot)
                           Range for N: 0x0000 – 0xFFFE
                           Time Range: 0 s - 40.9 s

Minimum_Remote_Timeout:                                                         Size: 2 Octets
 Value                    Parameter Description
 N = 0xXXXX               The base sniff subrate timeout in baseband slots that the remote
                          device shall use.
                          Timeout = N * 0.625 ms (1 Baseband slot)
                          Range for N: 0x0000 – 0xFFFE
                          Time Range: 0 s – 40.9 s

Minimum_Local_Timeout:                                                          Size: 2 Octets
 Value                     Parameter Description

 N = 0xXXXX                The base sniff subrate timeout in baseband slots that the local
                           device will use.
                           Timeout = N * 0.625 ms (1 Baseband slot)
                           Range for N: 0x0000 – 0xFFFE
                           Time Range: 0 s – 40.9 s




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7.7.38 Extended Inquiry Result Event


 Event                         Event Code            Event Parameters

 Extended Inquiry Result       0x2F                  Num_Responses,
                                                     BD_ADDR,
                                                     Page_Scan_Repetition_Mode,
                                                     Reserved,
                                                     Class_of_Device,
                                                     Clock_Offset,
                                                     RSSI,
                                                     Extended_Inquiry_Response

Description:

The Extended Inquiry Result event indicates that a BR/EDR Controller has
responded during the current inquiry process with extended inquiry response
data. This event will be sent from the BR/EDR Controller to the Host upon
reception of an Extended Inquiry Response from a remote device. One single
Extended Inquiry Response is returned per event. This event contains RSSI
and inquiry response data for the BR/EDR Controller that responded to the
latest inquiry. The RSSI parameter is measured during the FHS packet
returned by each responding slave. The Num_Responses parameter shall be
set to one.

This event is only generated if the Inquiry_Mode parameter of the last
Write_Inquiry_Mode command was set to 0x02 (Inquiry Result with RSSI
format or Extended Inquiry Result format).

Note: This ensures that a Host that does not support Extended Inquiry Results
will never receive the Extended Inquiry Result event.

If an inquiry response packet with the EIR field set to zero is received, the
Inquiry Result with RSSI event format shall be used. If the EIR bit is set to one
the Extended Inquiry Result event format shall be used. If the EIR bit is set to
one but the Controller failed to receive the extended inquiry response packet,
the Extended_Inquiry_Response parameter is set to zeros. If an extended
inquiry response packet from the same device is correctly received in a later
response, another event shall be generated.

Note: The only difference between the Extended Inquiry Result event and the
Inquiry Result with RSSI event is the additional Extended_Inquiry_Response
parameter.

Note: The Extended_Inquiry_Response parameter is not interpreted by the
Controller. The tagged data set by the other Host should be passed unaltered if
it has been correctly received.



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Event Parameters:

Num_Responses:                                                                Size: 1 Octet
 Value              Parameter Description

 0x01               Number of responses from the inquiry. The Extended Inquiry Result event
                    always contains a single response.

BD_ADDR:                                                                    Size: 6 Octets
 Value              Parameter Description

 0xXXXXXXXX         BD_ADDR for the device that responded.
 XXXX

Page_Scan_Repetition_Mode:                                                    Size: 1 Octet
 Value              Parameter Description

 0x00               R0
 0x01               R1
 0x02               R2

 All other values   Reserved for future use

Reserved:                                                                     Size: 1 Octet
 Value              Parameter Description

 0xXX               Reserved for Future Use.

Class_of_Device:                                                            Size: 3 Octets
 Value              Parameter Description

 0xXXXXXX           Class of Device for the device that responded.

Clock_Offset                                                                Size: 2 Octets
 Value              Parameter Description

 Bits 14-0          Bits 16-2 of CLKNslave-CLK
 Bit 15             Reserved for Future Use.

RSSI:                                                                         Size: 1 Octet
 Value              Parameter Description

 0xXX               Range: -127 to +20
                    Units: dBm




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Extended_Inquiry_Response:                                               Size: 240 Octets
 Value             Parameter Description

                   Extended Inquiry Response data as defined in [Vol 3] Part C, Section 8




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7.7.39 Encryption Key Refresh Complete Event


 Command                  Event Code             Event Parameters

 Encryption Key           0x30                   Status,
 Refresh Complete                                Connection_Handle

Description:

The Encryption Key Refresh Complete event is used to indicate to the Host
that the encryption key was refreshed on the given Connection_Handle any
time encryption is paused and then resumed. The BR/EDR Controller shall
send this event when the encryption key has been refreshed due to encryption
being started or resumed.

If the Encryption Key Refresh Complete event was generated due to an
encryption pause and resume operation embedded within a change connection
link key procedure, the Encryption Key Refresh Complete event shall be sent
prior to the Change Connection Link Key Complete event.

If the Encryption Key Refresh Complete event was generated due to an
encryption pause and resume operation embedded within a role switch
procedure, the Encryption Key Refresh Complete event shall be sent prior to
the Role Change event.

Event parameters:

Status:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x00              Encryption Key Refresh completed successfully
 0x01 - 0xFF       Encryption Key Refresh failed. See [Vol 2] Part D, Error Codes for list of
                   Error Codes

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use).




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7.7.40 IO Capability Request Event


 Event                        Event Code                   Event Parameters

 IO Capability Request        0x31                         BD_ADDR

Description:

The IO Capability Request event is used to indicate that the IO capabilities of
the Host are required for a simple pairing process. The Host shall respond with
an IO_Capability_Request_Reply command. This event shall only be
generated if simple pairing has been enabled with the
Write_Simple_Pairing_Mode command.

Event Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of remote device involved in simple pairing process




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7.7.41 IO Capability Response Event


 Event                                   Event Code             Event Parameters

 IO Capability Response                  0x32                   BD_ADDR,
                                                                IO_Capability,
                                                                OOB_Data_Present,
                                                                Authentication_Requirements

Description:

The IO Capability Response event is used to indicate to the Host that IO
capabilities from a remote device specified by BD_ADDR have been received
during a simple pairing process. This event will only be generated if simple
pairing has been enabled with the Write_Simple_Pairing_Mode command.

Event Parameters:

BD_ADDR:                                                                         Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXXX            BD_ADDR identifying the device to which the IO capabilities apply.

IO_Capability:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x00                     DisplayOnly
 0x01                     DisplayYesNo
 0x02                     KeyboardOnly

 0x03                     NoInputNoOutput
 0x04 – 0xFF              Reserved for future use

OOB_Data_Present:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0x00                     OOB authentication data not present
 0x01                     OOB authentication data from remote device present
 0x02 – 0xFF              Reserved for future use

Authentication_Requirements:                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     MITM Protection Not Required – No Bonding. Numeric comparison
                          with automatic accept allowed.



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 Value                    Parameter Description

 0x01                     MITM Protection Required – No Bonding. Use IO Capabilities to
                          determine authentication procedure
 0x02                     MITM Protection Not Required – Dedicated Bonding. Numeric com-
                          parison with automatic accept allowed.
 0x03                     MITM Protection Required – Dedicated Bonding. Use IO Capabilities
                          to determine authentication procedure

 0x04                     MITM Protection Not Required – General Bonding. Numeric Compar-
                          ison with automatic accept allowed.
 0x05                     MITM Protection Required – General Bonding. Use IO capabilities to
                          determine authentication procedure.
 All other values         Reserved for future use




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7.7.42 User Confirmation Request Event


 Event                                  Event Code           Event Parameters

 User Confirmation Request              0x33                 BD_ADDR,
                                                             Numeric_Value

Description:

The User Confirmation Request event is used to indicate that user confirmation
of a numeric value is required. The Host shall reply with either the
User_Confirmation_Request_Reply or the
User_Confirmation_Request_Negative_Reply command. If the Host has
output capability (DisplayYesNo or KeyboardOnly), it shall display the
Numeric_Value until the Simple Pairing Complete event is received. It shall
reply based on the yes/no response from the user. If the Host has no input and
no output it shall reply with the User Confirmation Request Reply command.
When the Controller generates a User Confirmation Request event, in order for
the local Link Manager to respond to the request from the remote Link
Manager, the local Host must respond with either a
User_Confirmation_Request_Reply or a
User_Confirmation_Request_Negative_Reply command before the remote
Link Manager detects LMP response timeout. (See [Vol 2] Part C, Link
Manager Protocol Specification.)

Event Parameters:

BD_ADDR:                                                                     Size: 6 Octets
 Value                    Parameter Description
 0xXXXXXXXXXXXX           BD_ADDR of device involved in Simple Pairing process.

Numeric_Value:                                                               Size: 4 Octets
 Value                    Parameter Description
 0x00000000 –             Numeric value to be displayed. Valid values are decimal 000000 –
 0x000F423F               999999.




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7.7.43 User Passkey Request Event


 Event                                  Event Code           Event Parameters

 User Passkey Request                   0x34                 BD_ADDR

Description:

The User Passkey Request event is used to indicate that a passkey is required
as part of a Simple Pairing process. The Host shall respond with either a
User_Passkey_Request_Reply or User_Passkey_Request_Negative_Reply
command. This event will only be generated if simple pairing has been enabled
with the Write_Simple_Pairing_Mode command. When the Controller
generates a User Passkey Request event, in order for the local Link Manager
to respond to the request from the remote Link Manager, the local Host must
respond with either a User_Passkey_Request_Reply or
User_Passkey_Request_Negative_Reply command before the remote Link
Manager detects LMP response timeout. (See [Vol 2] Part C, Link Manager
Protocol Specification.)

Event Parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the device involved in simple pairing process.




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7.7.44 Remote OOB Data Request Event


 Event                                  Event Code         Event Parameters

 Remote OOB Data Request                0x35               BD_ADDR

Description:

The Remote OOB Data Request event is used to indicate that the Simple
Pairing Hash C and the Simple Pairing Randomizer R is required for the
Secure Simple Pairing process involving the device identified by BD_ADDR.
The C and R values were transferred to the Host from the remote device via an
OOB mechanism. This event is sent by the Controller because the Host
previously set the OOB Data Present parameter to "OOB authentication data
from remote device present" in an IO Capability Request Reply command. If
both the Host and Controller support Secure Connections the Host shall
respond with the Remote OOB Extended Data Request Reply command.
Otherwise, the Host shall respond with the Remote OOB Data Request Reply
command.

Event Parameters:

BD_ADDR:                                                                  Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the device from which the C and R values were
                          received.




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7.7.45 Simple Pairing Complete Event


 Event                                     Event Code             Event Parameters

 Simple Pairing Complete                   0x36                   Status,
                                                                  BD_ADDR

Description:

The Simple Pairing Complete event is used to indicate that the simple pairing
process has completed. A Host that is displaying a numeric value can use this
event to change its UI.

When the LMP simple pairing sequences fail for any reason, the Simple Pairing
Complete event shall be sent to the Host. When Simple Pairing Complete
event is sent in response to the IO capability exchange failing, the Status
parameter shall be set to the error code received from the remote device.
Otherwise, the Status shall be set to the error code Authentication Failure
(0x05).

Event Parameters:

Status:                                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00                     Simple Pairing succeeded

 0x01 - 0xFF              Simple Pairing failed. See [Vol 2] Part D, Error Codes for a list of Error
                          Codes.

BD_ADDR:                                                                           Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXXX            BD_ADDR of the device involved in simple pairing process.




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7.7.46 Link Supervision Timeout Changed Event


 Event                                   Event Code           Event Parameters

 Link Supervision Timeout Changed        0x38                 Connection_Handle,
                                                              Link_Supervision_Timeout

Description:

The Link Supervision Timeout Changed event is used to notify the slave's Host
when the Link_Supervision_Timeout parameter is changed in the slave
Controller. This event shall only be sent to the Host by the slave Controller
upon receiving an LMP_supervision_timeout PDU from the master.

Note: The Connection_Handle used for this command shall be the ACL
connection of the appropriate device.

Event Parameters:

Connection_Handle:                                    Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Link_Supervision_Timeout:                                                     Size: 2 Octets
 Value                     Parameter Description

 N = 0xXXXX                Measured in Number of Baseband slots
                           Link_Supervision_Timeout = N*0.625 ms (1 Baseband slot)
                           Range for N: 0x0001 - 0xFFFF
                           Time Range: 0.625ms - 40.9 s
                           (0 means infinite timeout)




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7.7.47 Enhanced Flush Complete Event


 Event                            Event Code         Event parameter

 Enhanced Flush Complete          0x39               Handle

Description:

The Enhanced Flush Complete event is used to indicate that an Enhanced
Flush is complete for the specified Handle.

Event Parameters:

Handle:                                                 Size: 2 Octets (12 bits meaningful)
 Value             Parameter Description

 0xXXXX            Handle of the link for which Controller cannot provide the requested QoS.
                   The Handle is a Connection_Handle for a BR/EDR Controller and a Logi-
                   cal_Link_Handle for an AMP Controller.
                   Range: 0x0000 - 0x0EFF (all other values reserved for future use)




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7.7.48 User Passkey Notification Event


 Event                                  Event Code           Event Parameters

 User Passkey Notification              0x3B                 BD_ADDR,
                                                             Passkey

Description:

The User Passkey Notification event is used to provide a passkey for the Host
to display to the user as required as part of a Simple Pairing process. The
Passkey parameter shall be a randomly generated number (see [Vol 2] Part H,
Section 2) generated by the Controller modulo 1,000,000.

This event will be generated if the IO capabilities of the local device are
DisplayOnly or DisplayYesNo and the IO capabilities of the remote device are
KeyboardOnly.

This event shall only be generated if simple pairing has been enabled with the
Write_Simple_Pairing_Mode command.

Event Parameters:

BD_ADDR:                                                                     Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the device involved in simple pairing process.

Passkey:                                                                     Size: 4 Octets
 Value                    Parameter Description

 0x00000000 -             Passkey to be displayed. Valid values are decimal 000000 - 999999.
 0x000F423F




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7.7.49 Keypress Notification Event


 Command                   Event Code          Event Parameters

 Keypress Notification     0x3C                BD_ADDR,
                                               Notification_Type

Description:

The Keypress Notification event is sent to the Host after a passkey notification
has been received by the Link Manager on the given BD_ADDR. The
Notification_Type parameter may be used by the Host's user interface.

Event parameters:

BD_ADDR:                                                                    Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            BD_ADDR of remote device involved in simple pairing process
 X

Notification_Type:                                                            Size: 1 Octet
 Value                     Parameter Description

 0                         Passkey entry started
 1                         Passkey digit entered

 2                         Passkey digit erased
 3                         Passkey cleared
 4                         Passkey entry completed

 5-255                     Reserved for future use




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7.7.50 Remote Host Supported Features Notification Event


 Command                  Event Code           Event Parameters

 Remote Host Sup-         0x3D                 BD_ADDR,
 ported Features Noti-                         Host_Supported_Features
 fication

Description:

The Remote Host Supported Features Notification event is used to return the
LMP extended features page containing the Host features. The BD_ADDR
shall be the address of the remote device.

This event shall only be generated after the LMP extended features are read
from the remote device during a connection initiated by a Remote Name
Request command.

Note: This event is not generated during a connection initiated by the
Create_Connection command.

Event parameters:

BD_ADDR:                                                                     Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of remote device.

Host_Supported_Features:                                                     Size: 8 Octets
 Value                    Parameter Description

 0xFFFFFFFFFFFFF          Bit map of Host Supported Features page of LMP extended fea-
 FFF                      tures.
                          For more information, see [Vol 2] Part C, Link Manager Protocol
                          Specification.




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7.7.51 Physical Link Complete Event


 Event                      Event Code                   Event Parameters

 Physical Link Complete     0x40                         Status,
                                                         Physical_Link_Handle

Description:

The Physical Link Complete event indicates to the Host that a new AMP
physical link has been established. This event is used as a response for either
Create_Physical_Link or Accept_Physical_Link commands and is preceded by
a Command Status event.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Connection successfully completed.
 0x01-0xFF                Connection failed to Complete. See [Vol 2] Part D, Error Codes for
                          a list of error codes and descriptions.

Physical_Link_Handle:                                                          Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle identifying the physical link which has been
                          created.




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7.7.52 Channel Selected Event


 Event                     Event Code        Event Parameters

 Channel Selected          0x41              Physical_Link_Handle

Description:

The Channel Selected event indicates to the Host originating the physical link
that the link information data is available to be read using the Read Local AMP
Assoc command. This allows the originating device to determine link
implementation parameters such as an underlying physical channel choice.
This structure shall be sent in the AMP Create Physical Link Request (see [Vol
3] Part E, Section 3.11]) and be used at the remote end in the
Accept_Physical_Link command.

Event Parameters:

Physical_Link_Handle:                                                          Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle to the established physical link.




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7.7.53 Disconnection Physical Link Complete Event


 Event                        Event Code             Event Parameters

 Disconnection Physical       0x42                   Status,
 Link Complete                                       Physical_Link_Handle,
                                                     Reason

Description:

The Disconnection Physical Link Complete event occurs when a physical link
is terminated. The status parameter indicates if the disconnection was
successful or not.

When a physical link fails, one Disconnection Logical Link Complete event will
be returned for each logical channel on the physical link with the corresponding
Logical_Link_Handle as a parameter.

Event Parameters:

Status:                                                                           Size: 1 Octet
 Value             Parameter Description

 0x00              Disconnection has occurred.
 0x01-0xFF         Disconnection failed to complete. See [Vol 2] Part D, Error Codes for a list
                   of error codes and descriptions.

Physical_Link_Handle:                                                              Size: 1 Octet
 Value             Parameter Description

 0xXX              Physical_Link_Handle which was disconnected.


Reason:                                                                            Size: 1 Octet
 Value             Parameter Description

 0xXX              Reason for disconnection. See [Vol 2] Part D, Error Codes for error codes
                   and descriptions.




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7.7.54 Physical Link Loss Early Warning Event


 Event                                        Event Code     Event Parameters

 Physical Link Loss Early Warning             0x43           Physical_Link_Handle,
                                                             Link_Loss_Reason

Description:

The Physical Link Loss Early Warning event occurs when a physical link has
early indication that the link may be disrupted. Data transmission and reception
may suffer impairment on this link. The Host may use this to indicate to the
user that traffic may be disrupted.

The exact low level meaning is dependent on the AMP type. Some AMP types
may never generate this event.

Event Parameters:

Physical_Link_Handle:                                                        Size: 1 Octet
 Value             Parameter Description

 0xXX              Physical_Link_Handle to which the warning refers.


Link_Loss_Reason:                                                            Size: 1 Octet
 Value             Parameter Description

 0                 Unknown

 1                 Range related
 2                 Bandwidth related
 3                 Resolving conflict

 4                 Interference
 5-255             Reserved for Future Use




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7.7.55 Physical Link Recovery Event


 Event                                 Event Code         Event Parameters

 Physical Link Recovery                0x44               Physical_Link_Handle

Description:

The Physical Link Recovery event indicates that whatever interruption caused
an earlier Physical Link Loss Early Warning event has now been cleared. The
normal data transmission and reception service can be expected. The exact
low level meaning is dependent on the AMP type. The Host may use this event
to cancel any indication to the user caused by the Physical Link Loss Early
Warning event.

Event Parameters:

Physical_Link_Handle:                                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle to which the warning referred.




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7.7.56 Logical Link Complete Event


 Event                     Event Code     Event Parameters

 Logical Link Complete     0x45           Status,
                                          Logical_Link_Handle,
                                          Physical_Link_Handle,
                                          TX_Flow_Spec_ID

Description:

The Logical Link Complete event indicates to both of the Hosts forming the
connection whether a new connection has been established successfully.

Event Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Connection successfully completed.

 0x01-0xFF                Connection failed to Complete. See [Vol 2] Part D, Error Codes for
                          a list of error codes and descriptions.

Logical_Link_Handle:                                 Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Logical_Link_Handle to be used to identify a connection between
                          two BR/EDR Controllers with communicating AMPs. The Logi-
                          cal_Link_Handle is used as an identifier for transmitting and
                          receiving data.
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Physical_Link_Handle:                                                            Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link identifying the physical link over which the logical
                          link has been created.

TX_Flow_Spec_ID:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Flow Spec ID identifying the logical link creation that completed.
                          This matches the ID field of the TX_Flow_Spec




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7.7.57 Disconnection Logical Link Complete Event


 Event                                               Event Code      Event Parameters

 Disconnection Logical Link Complete                 0x46            Status,
                                                                     Logical_Link_Handle,
                                                                     Reason

Description:

The Disconnection Logical Link Complete event occurs when a logical link is
terminated on the local Controller. The status parameter indicates if the
disconnection was successful or not.

Note: When the local Controller disconnects a logical link, the remote
Controller will not be notified.

Note: When a physical link fails, one Disconnection Logical Link Complete
event will be returned for each logical channel on the physical link with the
corresponding Logical_Link_Handle as a parameter.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Disconnection has occurred.
 0x01-0xFF                Disconnection failed to complete. See [Vol 2] Part D, Error Codes
                          for a list of error codes and descriptions.

Logical_Link_Handle:                                  Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Logical_Link_Handle which was disconnected.
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Reason:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Reason for disconnection. See [Vol 2] Part D, Error Codes for error
                          codes and descriptions.




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7.7.58 Flow Spec Modify Complete Event


 Event                                       Event Code          Event Parameters

 Flow Spec Modify Complete                   0x47                Status,
                                                                 Handle

Description:

The Flow Spec Modify Complete event indicates to the Host that a Flow Spec
Modify command has been completed. This event also indicates to the Host
which issued the Flow_Spec_Modify command and then received a Command
Status event if the issued command failed or was successful.

 Event Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     Flow_Spec_Modify command successfully completed.

 0x01-0xFF                Flow_Spec_Modify command failed to Complete. See [Vol 2] Part
                          D, Error Codes for a list of error codes and descriptions.

Handle:                                              Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle if the receiving Controller is a BR/EDR Control-
                          ler.
                          Logical_Link_Handle, if the receiving Controller is an AMP Control-
                          ler, identifying the logical link to be changed.
                          Logical_Link_Handle to be used to identify a connection between
                          two BR/EDR Controllers with communicating AMPs.
                          Range: 0x0000-0x0EFF (all other values reserved for future use)




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7.7.59 Number Of Completed Data Blocks Event


 Event                                  Event Code   Event Parameters

 Number Of Completed Data Blocks        0x48         Total_Num_Data_Blocks,
                                                     Number_of_Handles,
                                                     Handle[i],
                                                     Num_Of_Completed_Packets[i],
                                                     Num_Of_Completed_Blocks[i]

Description:

The Number Of Completed Data Blocks event is used by the Controller to
indicate to the Host how many HCI ACL Data Packets have been completed
(transmitted or flushed), and how many data block buffers have been freed, for
each Handle (a Connection_Handle if the Controller is a BR/EDR Controller or
a Logical_Link_Handle if the Controller is an AMP Controller) since the
previous Number Of Completed Data Blocks event was sent to the Host. This
means that the corresponding buffer space has been freed in the Controller.
Based on this information, and the Total_Num_Data_Blocks parameter, the
Host can determine for which Handles the following HCI ACL Data Packets
should be sent to the Controller.

The Host should determine the number of blocks occupied by each ACL data
packet by dividing the ACL data packet size by the Data_Block_Length
parameter of the Read_Data_Block_Size command.

The Total_Num_Data_Blocks parameter indicates the total number of buffer
blocks available in the Controller. Before any Number of Complete Data Blocks
event is received, the value of Total_Num_Data_Blocks from the
Read_Data_Block_Size command is used. This allows the value to be updated
at any time, which provides the Controller with some flexibility on its buffer
allocation.

If the Controller were permitted to reduce its buffer pool in an arbitrary way then
there is a potential race condition, in the case where the Host has just started
to transmit a new packet. In order to prevent this race condition, the
Total_Num_Data_Blocks parameter shall not indicate a reduction in the pool of
blocks greater than the sum of the Num_Of_Completed_Blocks values in this
event. If a greater reduction in the block pool is required then the value 0 shall
be indicated here. The value 0 has a special meaning and indicates that the
Host shall re-issue the Read Data Block Size command in order to find the new
buffer pool size. The Host shall wait for any outstanding TX to complete and
shall defer further TX until the Read_Data_Block_Size command has been
issued and completed. The Controller shall reduce its allocation only after the
Read_Data_Block_Size command has been issued and completed. This
ensures that the race condition described above is avoided.



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Event Parameters:

Total_Num_Data_Blocks:                                                          Size: 2 Octets
 Value                    Parameter Description

 0x0000                   The size of the buffer pool may have changed. The Host is
                          requested to issue a Read Data Block Size command in order to
                          determine the new value of Total_Num_Data_Blocks.
 0xXXXX                   Total number of data block buffers available in the Controller for the
                          storage of data packets scheduled for transmission. This indicates
                          the existing value is unchanged, or increased, or reduced by up to
                          the sum of the Num_Of_Completed_Blocks values in this com-
                          mand.

Number_of_Handles:                                                                Size: 1 Octet
 Value                    Parameter Description

 0xXX                     The number of Handles and Num_Of_Completed_Packets and
                          Num_Of_Completed_Blocks parameter triples contained in this
                          event.

 Range: 0-255

Handle[i]:                Size: Number_of_Handles * 2 Octets(12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Handle (Connection_Handle for a BR/EDR Controller or a Logi-
                          cal_Link_Handle for an AMP Controller).
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Num_Of_Completed_Packets [i]:                        Size: Number_of_Handles * 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               The number of HCI ACL Data Packets that have been completed
                          (transmitted or flushed) for the associated Handle since the previ-
                          ous time that a Number Of Completed Data Blocks event provided
                          information about this Handle.
                          Range for N: 0x0000-0xFFFF

Num_Of_Completed_Blocks [i]:                         Size: Number_of_Handles * 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               The number of data blocks that have been freed for the associated
                          Handle since the previous time that a Number Of Completed Data
                          Blocks event provided information about this Handle.
                          Range for N: 0x0000-0xFFFF




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7.7.60 Short Range Mode Change Complete Event


 Event                                 Event Code      Event Parameters

 Short_ Range_ Mode_ Change_-          0x4C            Status,
 Complete                                              Physical_Link_Handle,
                                                       Short_Range_Mode_State

Description:

The Short Range Mode Change Complete event occurs after the AMP
Controller has been notified to enable or disable Short Range Mode for a given
physical link. The status parameter indicates if the configuration change was
successful or not.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Short Range Mode configuration has occurred.

 0x01-0xFF                Short Range Mode configuration failed to complete. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.

Physical_Link_Handle:                                                          Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Physical_Link_Handle to which the configuration applies.

Short_Range_Mode_State:                                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     State of Short Range Mode in Controller.
                          0 - Short Range Mode disabled
                          1 - Short Range Mode enabled
                          0x02 - 0xFF - Reserved for Future Use




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7.7.61 AMP Status Change Event


                               Event
 Event                         Code          Event Parameters

 AMP_ Status_ Change           0x4D          Status,
                                             AMP_Status

Description:

The AMP Status Change event can occur at any time, after initial
Read_Local_AMP_Info_Request command, and when the AMP Controller
detects a change has occurred regarding status and is based on availability
thresholds.

Event Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     AMP_Status_Change has occurred.
 0x01-0xFF                AMP_Status_Change failed to complete. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

AMP_Status:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0x00                     The Controller radio is available but is currently physically powered
                          down.
                          This value should be used if the AMP Controller is present and can
                          be powered up by the AMP Manager.
                          This value indicates that there may be a cost of time and power to
                          use this AMP Controller (i.e., the time taken and power required to
                          power up the AMP Controller). These costs are AMP type and AMP
                          implementation dependent.

 0x01                     This value indicates that the AMP Controller is only used by Blue-
                          tooth technology and will not be shared with other non-Bluetooth
                          technologies.
                          This value shall only be used if the AMP Controller is powered up.
                          This value does not indicate how much bandwidth is currently free
                          on the AMP Controller.

 0x02                     The AMP Controller has no capacity available for Bluetooth opera-
                          tion.
                          This value indicates that all of the AMP Controllers bandwidth is
                          currently allocated to servicing a non Bluetooth technology.
                          A device is permitted to create a Physical Link to an AMP Controller
                          that has this status.
                          This value shall only be used if the AMP Controller is powered up.

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 Value                    Parameter Description

 0x03                     The AMP Controller has low capacity available for Bluetooth operation.
                          This value indicates that the majority of the AMP Controllers band-
                          width is currently allocated to servicing a non Bluetooth technology.
                          An AMP Controller that with capacity in the approximate range of 0
                          < capacity < 30% should indicate this value.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up.

 0x04                     The AMP Controller has medium capacity available for Bluetooth
                          operation.
                          An AMP Controller that with capacity in the approximate range of
                          30% < capacity < 70% should indicate this value.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up

 0x05                     The AMP Controller has high capacity available for Bluetooth oper-
                          ation.
                          This value indicates that the majority of the AMP Controllers band-
                          width is currently allocated to servicing the Bluetooth technology.
                          An AMP Controller that with capacity in the approximate range of
                          70% < capacity < 100% should indicate this value.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up

 0x06                     The AMP Controller has full capacity available for Bluetooth operation.
                          This value indicates that while currently the AMP is only being used
                          by Bluetooth the device allows a different technology to share the
                          radio.
                          This value shall be used by devices that are not capable of deter-
                          mining the current available capacity of an AMP that is shared by a
                          different technology.
                          This value does not indicate how much of the capacity available for
                          Bluetooth operation is currently available.
                          This value shall only be used if the AMP Controller is powered up.

 All other values         Reserved for future use




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7.7.62 AMP Start Test Event


 Event                                  Event Code       Event Parameters

 AMP Start Test                         0x49             Status,
                                                         Test Scenario

Description:

The AMP Start Test event shall be generated when the AMP_Test command
has completed and the first data is ready to be sent or received .

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value             Parameter Description

 0x00              Test command succeeded
 0x01-0xFF         Test command failed. See [Vol 2] Part D, Error Codes

Test Scenario:                                                                 Size: 1 Octet
 Value             Parameter Description

 0xXX              See the Test Commands section of the Protocol Adaptation Layer Func-
                   tional Specification for the Controller type




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7.7.63 AMP Test End Event


 Event                                     Event Code   Event Parameters

 AMP Test End                              0x4A         Status,
                                                        Test Scenario

Description:

The AMP Test End event shall be generated to indicate that the AMP has
transmitted or received the number of frames/bursts configured.

If the Receiver reports are enabled an AMP Receiver Report Event shall be
generated.

Event Parameters:

Status:                                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              AMP_Test_End command succeeded
 0x01-0xFF         AMP_Test_End command failed. See [Vol 2] Part D, Error Codes

Test Scenario:                                                                Size: 1 Octet
 Value             Parameter Description

 0xXX              See the Test Commands section of the Protocol Adaptation Layer Func-
                   tional Specification for the Controller type




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7.7.64 AMP Receiver Report Event


 Event                                      Event Code       Event Parameters

 AMP Receiver Report                        0x4B             Controller_Type,
                                                             Reason,
                                                             Event_Type,
                                                             Number_Of_Frames,
                                                             Number_Of_Error_Frames,
                                                             Number_Of_Bits,
                                                             Number_Of_Error_Bits

Description:

The AMP Receiver Report event shall be sent from the AMP to the tester via
the AMP Test Manager at the interval configured by the
Enable_AMP_Receiver_Reports command.

The AMP Receiver Report event is generated to indicate the number of frames
received and optionally the number of bits in error detected.

Event Parameters:

Controller_Type:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0xXX                     See Bluetooth Assigned Numbers

Reason:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0xXX                     0x00 Configured Interval report
                          0x01 Test Ended report
                          0x02 – 0xFF Reserved for Future Use

Event_type:                                                                      Size: 4 Bytes
 Value                    Parameter Description

 0xXX                     0x00 Frames received report
                          0x01 Frames received and bits in error report (optional)
                          0x02 – 0xFF Reserved for Future Use

Number_Of_Frames:                                                                Size: 2 Bytes
 Value                    Parameter Description

 0xXXXX                   Number of frames received so far



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Number_Of_Error_Frames:                                                         Size: 2 Bytes
 Value                    Parameter Description

 0xXXXX                   Number of frames with errors received so far

Number_Of_Bits:                                                                 Size: 4 Bytes
 Value                    Parameter Description

 0xXXXXXXXX               Number of bits received so far.
                          Shall be set to 0x00000000 if the Event_type is not equal to 0x01.

Number_Of_Error_Bits:                                                           Size: 4 Bytes
 Value                    Parameter Description

 0xXXXXXXXX               Number of bit errors received so far.
                          Shall be set to 0x00000000 if the Event_type is not equal to 0x01.




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7.7.65 LE Meta Event

Description:

The LE Meta Event is used to encapsulate all LE Controller specific events.
The Event Code of all LE Meta Events shall be 0x3E. The Subevent_Code is
the first octet of the event parameters. The Subevent_Code shall be set to one
of the valid Subevent_Codes from an LE specific event. All other
Subevent_Parameters are defined in the LE Controller specific events.

7.7.65.1 LE Connection Complete Event


 Event                       Event Code              Event parameters

 LE Connection Com-          0x3E                    Subevent_Code,
 plete                                               Status,
                                                     Connection_Handle,
                                                     Role,
                                                     Peer_Address_Type,
                                                     Peer_Address,
                                                     Conn_Interval,
                                                     Conn_Latency,
                                                     Supervision_Timeout,
                                                     Master_Clock_Accuracy

Description:

The LE Connection Complete event indicates to both of the Hosts forming the
connection that a new connection has been created. Upon the creation of the
connection a Connection_Handle shall be assigned by the Controller, and
passed to the Host in this event. If the connection creation fails this event shall
be provided to the Host that had issued the LE_Create_Connection command.
This event indicates to the Host which issued a LE_Create_Connection
command and received a Command Status event if the connection creation
failed or was successful.
The Master_Clock_Accuracy parameter is only valid for a slave. On a master,
this parameter shall be set to 0x00.
Note: This event is not sent if the LE Enhanced Connection Complete event
(see Section 7.7.65.10) is unmasked.




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Event Parameters:

Subevent_Code:                                                                   Size: 1 Octet
 Value                Parameter Description

 0x01                 Subevent code for the LE Connection Complete event

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Connection successfully completed.
 0x01 – 0xFF          Connection failed to complete. [Vol 2] Part D, Error Codes for a list of
                      error codes and descriptions.

Connection_Handle:                                    Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Role:                                                                            Size: 1 Octet
 Value                    Parameter Description

 0x00                     Connection is master

 0x01                     Connection is slave
 All other values         Reserved for future use

Peer_Address_Type:                                                               Size: 1 Octet
 Value                    Parameter Description

 0x00                     Peer is using a Public Device Address
 0x01                     Peer is using a Random Device Address
 All other values         Reserved for future use

Peer_Address:                                                                  Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           Public Device Address or Random Device Address of the peer
                          device




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Conn_Interval:                                                                Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Connection interval used on this connection.
                          Range: 0x0006 to 0x0C80
                          Time = N * 1.25 ms
                          Time Range: 7.5 ms to 4000 ms.

Conn_Latency:                                                                 Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Slave latency for the connection in number of connection events.
                          Range: 0x0000 to 0x01F3

Supervision_Timeout:                                                          Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Connection supervision timeout.
                          Range: 0x000A to 0x0C80
                          Time = N * 10 ms
                          Time Range: 100 ms to 32 s

Master_Clock_Accuracy:                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     500 ppm
 0x01                     250 ppm
 0x02                     150 ppm

 0x03                     100 ppm
 0x04                     75 ppm
 0x05                     50 ppm

 0x06                     30 ppm
 0x07                     20 ppm
 All other values         Reserved for future use




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7.7.65.2 LE Advertising Report Event


 Event                    Event Code       Event parameters

 LE Advertising           0x3E             Subevent_Code,
 Report                                    Num_Reports,
                                           Event_Type[i],
                                           Address_Type[i],
                                           Address[i],
                                           Length[i],
                                           Data[i],
                                           RSSI[i]

Description:

The LE Advertising Report event indicates that one or more Bluetooth devices
have responded to an active scan or have broadcast advertisements that were
received during a passive scan. The Controller may queue these advertising
reports and send information from multiple devices in one LE Advertising
Report event.

This event shall only be generated if scanning was enabled using the LE Set
Scan Enable command. It only reports advertising events that used legacy
advertising PDUs.

Event Parameters:

Subevent_Code:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x02                     Subevent code for the LE Advertising Report event

Num_Reports:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x01 - 0x19              Number of responses in event.
 All other values         Reserved for future use

Event_Type[i]:                                                Size: 1 Octet * Num_Reports
 Value                    Parameter Description

 0x00                     Connectable and scannable undirected advertising (ADV_IND)
 0x01                     Connectable directed advertising (ADV_DIRECT_IND)
 0x02                     Scannable undirected advertising (ADV_SCAN_IND)

 0x03                     Non connectable undirected advertising (ADV_NONCONN_IND)



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 Value                    Parameter Description

 0x04                     Scan Response (SCAN_RSP)
 All other values         Reserved for future use

Address_Type[i]:                                             Size: 1 Octet * Num_Reports
 Value                    Parameter Description

 0x00                     Public Device Address

 0x01                     Random Device Address
 0x02                     Public Identity Address (Corresponds to Resolved Private Address)
 0x03                     Random (static) Identity Address (Corresponds to Resolved Private
                          Address)

 All other values         Reserved for future use

Address[i]:                                                 Size: 6 Octets * Num_Reports
 Value                    Parameter Description

 0xXXXXXXXXXXXX           Public Device Address, Random Device Address, Public Identity
                          Address or Random (static) Identity Address of the advertising
                          device.

Length_Data[i]:                                             Size: 1 Octets * Num_Reports
 Value                    Parameter Description

 0x00 - 0x1F              Length of the Data[i] field for each device which responded.

 All other values         Reserved for future use.

Data[i]:                                               Size: SUM (Length_Data[i]) Octets
 Value                    Parameter Description

                          Length_Data[i] octets of advertising or scan response data formatted
                          as defined in [Vol 3] Part C, Section 11.
                          Note: Each element of this array has a variable length.

RSSI[i]:                                                     Size: 1 Octet * Num_Reports
 Value                    Parameter Description

 N                        Size: 1 Octet (signed integer)
                          Range: -127 ≤ N ≤ +20
                          Units: dBm
 127                      RSSI is not available
 21 to 126                Reserved for future use




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7.7.65.3 LE Connection Update Complete Event


 Event                    Event Code      Event parameters

 LE Connection            0x3E            Subevent_Code,
 Update Complete                          Status,
                                          Connection_Handle,
                                          Conn_Interval,
                                          Conn_Latency,
                                          Supervision_Timeout

Description:

The LE Connection Update Complete event is used to indicate that the
Controller process to update the connection has completed.

This event shall be issued if the LE Connection Update command was issued
by the Host or if the connection parameters are updated following a request
from the peer device. If no parameters are updated following a request from
the peer device then this event shall not be issued.

Note: This event can be issued autonomously by the Master’s Controller if it
decides to change the connection interval based on the range of allowable
connection intervals for that connection.

Note: The parameter values returned in this event may be different from the
parameter values provided by the Host through the LE Connection Update
command (Section 7.8.18) or the LE Remote Connection Parameter Request
Reply command (Section 7.8.31).

Event Parameters:

Subevent_Code:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0x03                     Subevent code for the LE Connection Update Complete event

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Connection_Update command successfully completed.
 0x01 – 0xFF              Connection_Update command failed to complete. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.




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Connection_Handle:                                     Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000-0x0EFF (all other values reserved for future use)

Conn_Interval:                                                                 Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Connection interval used on this connection.
                          Range: 0x0006 to 0x0C80
                          Time = N * 1.25 ms
                          Time Range: 7.5 ms to 4000 ms.

Conn_Latency:                                                                  Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Slave latency for the connection in number of connection events.
                          Range: 0x0000 to 0x01F3

Supervision_Timeout:                                                           Size: 2 Octets
 Value                     Parameter Description

 0xXXXX                    Supervision timeout for this connection.
                           Range: 0x000A to 0x0C80
                           Time = N * 10 ms
                           Time Range: 100 ms to 32000 ms




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7.7.65.4 LE Read Remote Features Complete Event


 Event                       Event Code           Event parameters

 LE Read Remote              0x3E                 Subevent_Code,
 Features Complete                                Status,
                                                  Connection_Handle,
                                                  LE_Features

Description:

The LE Read Remote Features Complete event is used to indicate the
completion of the process of the Controller obtaining the features used on the
connection and the features supported by the remote Bluetooth device
specified by the Connection_Handle event parameter.

Note: If the features are requested more than once while a connection exists
between the two devices, the second and subsequent requests may report a
cached copy of the features rather than fetching the feature mask again.

Event Parameters:

Subevent_Code:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x04                     Subevent code for the LE Read Remote Features Complete event.

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 LE_Read_Remote_Features command successfully completed.
 0x01 – 0xFF          LE_Read_Remote_Features command failed to complete. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                     Size: 2 Octets (12 bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle
                      Range: 0x0000-0x0EFF (all other values reserved for future use)

LE_Features:                                                                   Size: 8 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Bit Mask List of LE features. See [Vol 6] Part B, Section 4.6.
 XXXXXX




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7.7.65.5 LE Long Term Key Request Event


 Event                          Event Code             Event parameters

 LE Long Term Key               0x3E                   Subevent_Code,
 Request                                               Connection_Handle,
                                                       Random_Number,
                                                       Encryption_Diversifier

Description:

The LE Long Term Key Request event indicates that the master device is
attempting to encrypt or re-encrypt the link and is requesting the Long Term
Key from the Host. (See [Vol 6] Part B, Section 5.1.3).

Event Parameters:

Subevent_Code:                                                                   Size: 1 Octet
 Value                Parameter Description

 0x05                 Subevent code for the LE Long Term Key Request event

Connection_Handle:                                    Size: 2 Octets (12 bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle
                      Range: 0x0000-0x0EFF (all other values reserved for future use)

Random_Number:                                                                  Size: 8 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         64-bit random number.
 XXXXXX

Encrypted_Diversifier:                                                          Size: 2 Octets
 Value                Parameter Description

 0xXXXX               16-bit encrypted diversifier.




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7.7.65.6 LE Remote Connection Parameter Request Event


 Event                          Event Code            Event parameters

 LE Remote Connection           0x3E                  Subevent_Code,
 Parameter Request                                    Connection_Handle,
                                                      Interval_Min,
                                                      Interval_Max,
                                                      Latency,
                                                      Timeout

Description:

This event indicates to the master’s Host or the slave’s Host that the remote
device is requesting a change in the connection parameters. The Host replies
either with the HCI LE Remote Connection Parameter Request Reply
command or the HCI LE Remote Connection Parameter Request Negative
Reply command.

Event Parameters:

Subevent_Code:                                                                 Size: 1 Octet
 Value                Parameter Description

 0x06                 Subevent code for the LE Remote Connection Parameter Request
                      event.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle
                      Range 0x0000-0x0EFF (all other values reserved for future use)

Interval_Min:                                                                Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Minimum value of the connection interval requested by the remote
                      device.
                      Range: 0x0006 to 0x0C80
                      Time = N * 1.25 ms
                      Time Range: 7.5 ms to 4 s




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Interval_Max:                                                               Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Maximum value of the connection interval requested by the remote
                      device.
                      Range: 0x0006 to 0x0C80
                      Time = N * 1.25 ms
                      Time Range: 7.5 ms to 4 s

Latency:                                                                    Size: 2 Octets
 Value                Parameter Description

 0xXXXX               Maximum allowed slave latency for the connection specified as the
                      number of connection events requested by the remote device.
                      Range: 0x0000 to 0x01F3 (499)

Timeout:                                                                    Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Supervision timeout for the connection requested by the remote
                      device.
                      Range: 0x000A to 0x0C80
                      Time = N * 10 ms
                      Time Range: 100 ms to 32 s




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7.7.65.7 LE Data Length Change Event


 Event                          Event Code            Event parameters

 LE Data Length Change          0x3E                  Subevent_Code,
                                                      Connection_Handle,
                                                      MaxTxOctets,
                                                      MaxTxTime,
                                                      MaxRxOctets,
                                                      MaxRxTime

Description:

The LE Data Length Change event notifies the Host of a change to either the
maximum Payload length or the maximum transmission time of packets in
either direction. The values reported are the maximum that will actually be
used on the connection following the change, except that on the LE Coded
PHY a packet taking up to 2704 µs to transmit may be sent even though the
corresponding parameter has a lower value.

Event Parameters:

Subevent_Code:                                                                 Size: 1 Octet
 Value                Parameter Description

 0x07                 Subevent code for the LE Data Length Change event

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle
                      Range 0x0000-0x0EFF (all other values reserved for future use)

MaxTxOctets:                                                                 Size: 2 Octets
 Value                Parameter Description

 0xXXXX               The maximum number of payload octets in a Link Layer packet that the
                      local Controller will send on this connection
                      (connEffectiveMaxTxOctets defined in [Vol 6] Part B, Section 4.5.10).
                      Range 0x001B-0x00FB (all other values reserved for future use)

MaxTxTime:                                                                   Size: 2 Octets
 Value                Parameter Description

 0xXXXX               The maximum time that the local Controller will take to send a Link
                      Layer packet on this connection (connEffectiveMaxTxTime defined in
                      [Vol 6] Part B, Section 4.5.10).
                      Range 0x0148-0x4290 (all other values reserved for future use)



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MaxRxOctets:                                                                  Size: 2 Octets
 Value                Parameter Description

 0xXXXX               The maximum number of payload octets in a Link Layer packet that the
                      local Controller expects to receive on this connection
                      (connEffectiveMaxRxOctets defined in [Vol 6] Part B, Section 4.5.10).
                      Range 0x001B-0x00FB (all other values reserved for future use)

MaxRxTime:                                                                    Size: 2 Octets
 Value                Parameter Description

 0xXXXX               The maximum time that the local Controller expects to take to receive a
                      Link Layer packet on this connection (connEffectiveMaxRxTime
                      defined in [Vol 6] Part B, Section 4.5.10).
                      Range 0x0148-0x4290 all other values reserved for future use)




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7.7.65.8 LE Read Local P-256 Public Key Complete Event


 Event                                               Event Code   Event Parameters

 LE Read Local P-256 Public Key Complete             0x3E         Subevent_Code,
                                                                  Status,
                                                                  Local_P-256_Public_Key

Description:

This event is generated when local P-256 key generation is complete.

Event Parameters:

Subevent_Code:                                                                    Size: 1 Octet
 Value         Parameter Description

 0x08          Subevent code for the LE Read Local P-256 Public Key Complete event.

Status:                                                                           Size: 1 Octet
 Value         Parameter Description

 0x00          LE Read Local P-256 Public Key command completed successfully.
 0x01-0xFF     LE Read Local P-256 Public Key command failed. See [Vol 2] Part D, Error
               Codes for a list of error codes and descriptions.

Local_P-256_Public_Key:                                                       Size: 64 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXXXXXX             Local P-256 public key.
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX




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7.7.65.9 LE Generate DHKey Complete Event


 Event                                               Event Code   Event Parameters

 LE Generate DHKey Complete                          0x3E         Subevent_Code,
                                                                  Status,
                                                                  DHKey

Description:

This event indicates that LE Diffie Hellman key generation has been completed
by the Controller.

Event Parameters:

Subevent_Code:                                                                    Size: 1 Octet
 Value         Parameter Description

 0x09          Subevent code for the LE Generate DHKey Complete event.

Status:                                                                           Size: 1 Octet
 Value         Parameter Description

 0x00          LE_Generate_DHKey command completed successfully.

 0x01-0xFF     LE_Generate_DHKey command failed. See [Vol 2] Part D, Error Codes for a
               list of error codes and descriptions.

DHKey:                                                                        Size: 32 Octets
 Value                          Parameter Description

 0xXXXXXXXX                     Diffie Hellman Key.
 XXXXXXXX
 XXXXXXXX
 XXXXXXXX
 XXXXXXXX
 XXXXXXXX
 XXXXXXXX
 XXXXXXXX




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7.7.65.10 LE Enhanced Connection Complete Event


 Event                          Event Code           Event parameters

 LE Enhanced Connection         0x3E                 Subevent_Code,
 Complete                                            Status,
                                                     Connection_Handle,
                                                     Role,
                                                     Peer_Address_Type,
                                                     Peer_Address,
                                                     Local_Resolvable_Private_Address,
                                                     Peer_Resolvable_Private_Address
                                                     Conn_Interval,
                                                     Conn_Latency,
                                                     Supervision_Timeout,
                                                     Master_Clock_Accuracy

Description:

The LE Enhanced Connection Complete event indicates to both of the Hosts
forming the connection that a new connection has been created. Upon the
creation of the connection a Connection_Handle shall be assigned by the
Controller, and passed to the Host in this event. If the connection creation fails,
this event shall be provided to the Host that had issued the
LE_Create_Connection or LE_Extended_Create_Connection command.

If this event is unmasked and LE Connection Complete event is unmasked,
only the LE Enhanced Connection Complete event is sent when a new
connection has been created.

This event indicates to the Host that issued an LE_Create_Connection or
LE_Extended_Create_Connection command and received a Command Status
event if the connection creation failed or was successful.

The Master_Clock_Accuracy parameter is only valid for a slave. On a master,
this parameter shall be set to 0x00.

Event Parameters:

Subevent Code:                                                                Size: 1 Octet
 Value                Parameter Description

 0x0A                 Subevent code for the LE Enhanced Connection Complete event




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Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 Connection successfully completed.
 0x01 – 0xFF          Connection failed to complete. See Part D, Error Codes for a list of
                      error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 bits meaningful)
 Value                Parameter Description

 0xXXXX               Connection_Handle
                      Range: 0x0000-0x0EFF (all other values reserved for future use)

Role:                                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 Connection is master

 0x01                 Connection is slave
 All other values     Reserved for future use

Peer_Address_Type:                                                              Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address (default)
 0x01                 Random Device Address
 0x02                 Public Identity Address (Corresponds to Resolved Private Address)

 0x03                 Random (Static) Identity Address (Corresponds to Resolved Private
                      Address)
 All other values     Reserved for future use

Peer_Address:                                                                 Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, or Random Device Address, Public Identity
 XX                   Address or Random (static) Identity Address of the device to be con-
                      nected.




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Local_Resolvable_Private_Address:                                             Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Resolvable Private Address being used by the local device for this
 XX                   connection. This is only valid when the Own_Address_Type (from the
                      HCI_LE_Create_Connection, HCI_LE_Set_Advertising_Parameters,
                      HCI_LE_Set_Extended_Advertising_Parameters, or
                      HCI_LE_Extended_Create_Connection commands) is set to 0x02 or
                      0x03, and the Controller generated a resolvable private address for the
                      local device using a non-zero local IRK. For other Own_Address_Type
                      values, the Controller shall return all zeros.

Peer_Resolvable_Private_Address:                                              Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Resolvable Private Address being used by the peer device for this con-
 XX                   nection. This is only valid for Peer_Address_Type 0x02 and 0x03. For
                      other Peer_Address_Type values, the Controller shall return all zeros.

Conn_Interval:                                                                Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Connection interval used on this connection.
                      Range: 0x0006 to 0x0C80
                      Time = N * 1.25 ms
                      Time Range: 7.5 ms to 4000 ms.

Conn_Latency:                                                                 Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Slave latency for the connection in number of connection events.
                      Range: 0x0000 to 0x01F3

Supervision_Timeout:                                                          Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Connection supervision timeout.
                      Range: 0x000A to 0x0C80
                      Time = N * 10 ms
                      Time Range: 100 ms to 32 s

Master_Clock_Accuracy:                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 500 ppm
 0x01                 250 ppm



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 Value                Parameter Description

 0x02                 150 ppm
 0x03                 100 ppm
 0x04                 75 ppm

 0x05                 50 ppm
 0x06                 30 ppm
 0x07                 20 ppm

 0x08 – 0xFF          Reserved for future use




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7.7.65.11 LE Directed Advertising Report Event


 Event                          Event Code           Event parameters

 LE Directed Advertising        0x3E                 Subevent_Code,
 Report                                              Num_Reports,
                                                     Event_Type[i],
                                                     Address_Type[i],
                                                     Address[i],
                                                     Direct_Address_Type[i],
                                                     Direct_Address[i],
                                                     RSSI[i]

Description:

The LE Directed Advertising Report event indicates that directed
advertisements have been received where the advertiser is using a resolvable
private address for the TargetA field of the advertising PDU which the
Controller is unable to resolve and the Scanning_Filter_Policy is equal to 0x02
or 0x03, see Section 7.8.10. Direct_Address_Type and Direct_Address specify
the address the directed advertisements are being directed to. Address_Type
and Address specify the address of the advertiser sending the directed
advertisements. The Controller may queue these advertising reports and send
information from multiple advertisers in one LE Directed Advertising Report
event.

This event shall only be generated if scanning was enabled using the LE Set
Scan Enable command. It only reports advertising events that used legacy
advertising PDUs.

Event Parameters:

Subevent Code:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x0B                 Subevent code for the LE Directed Advertising Report event

Num_reports:                                                                    Size: 1 Octet
 Value                Parameter Description

 0x01 – 0x19          Number of responses in event

 All other values     Reserved for future use




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Event_Type[i]:                                                                 Size: 1 Octet
 Value                Parameter Description

 0x01                 Connectable directed legacy advertising (ADV_DIRECT_IND)
 All other values     Reserved for future use

Address_Type[i]:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address (default)
 0x01                 Random Device Address
 0x02                 Public Identity Address (Corresponds to Resolved Private Address )

 0x03                 Random (static) Identity Address (Corresponds to Resolved Private
                      Address)
 0xFF                 No address provided (anonymous advertisement)

 All other values     Reserved for future use

Address[i]:                                                                  Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, Random Device Address, Public Identity
 XX                   Address or Random (static) Identity Address of the advertising device.

Direct_Address_Type[i]:                                                        Size: 1 Octet
 Value                Parameter Description

 0x01                 Random Device Address (default)
 All other values     Reserved for future use

Direct_Address[i]:                                                           Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Random Device Address
 XX

RSSI[i]:                                                                       Size: 1 Octet
 Value                Parameter Description

 N                    Size: 1 Octet (signed integer)
                      Range: -127 ≤ N ≤ +20
                      Units: dBm
 127                  RSSI is not available

 21 to 126            Reserved for future use



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7.7.65.12 LE PHY Update Complete Event


 Event                                     Event Code          Event Parameter

 LE PHY Update Complete                    0x3E                Subevent_Code,
                                                               Status,
                                                               Connection_Handle,
                                                               TX_PHY,
                                                               RX_PHY

Description:

The LE PHY Update Complete Event is used to indicate that the Controller has
changed the transmitter PHY or receiver PHY in use.

If the Controller changes the transmitter PHY, the receiver PHY, or both PHYs,
this event shall be issued.

If an LE_Set_PHY command was sent and the Controller determines that
neither PHY will change as a result, it issues this event immediately.

Event Parameters:

Subevent_Code:                                                                 Size: 1 Octet
 Value         Parameter Description

 0x0C          Subevent code for the LE PHY Update Complete event

Status:                                                                        Size: 1 Octet
 Value           Parameter Description

 0x00            LE_Set_PHY command succeeded or autonomous PHY update made by
                 the Controller.
 0x01 – 0xFF     LE_Set_PHY command failed. See Part D, Error Codes for a list of error
                 codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value         Parameter Description

 0xXXXX        Connection_Handle
               Range: 0x0000-0x0EFF (all other values reserved for future use)

TX_PHY:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x01               The transmitter PHY for the connection is LE 1M

 0x02               The transmitter PHY for the connection is LE 2M


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 Value              Parameter Description

 0x03               The transmitter PHY for the connection is LE Coded
 All other values   Reserved for future use

RX_PHY:                                                                        Size: 1 Octet
 Value               Parameter Description

 0x01                The receiver PHY for the connection is LE 1M

 0x02                The receiver PHY for the connection is LE 2M
 0x03                The receiver PHY for the connection is LE Coded
 All other values    Reserved for future use




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7.7.65.13 LE Extended Advertising Report Event


 Event                    Event Code       Event Parameters

 LE Extended Adver-       0x3E             Subevent_Code,
 tising Report                             Num_Reports,
                                           Event_Type[i],
                                           Address_Type[i],
                                           Address[i],
                                           Primary_PHY[i],
                                           Secondary_PHY[i],
                                           Advertising_SID[i],
                                           Tx_Power[i],
                                           RSSI[i],
                                           Periodic_Advertising_Interval[i],
                                           Direct_Address_Type[i],
                                           Direct_Address[i],
                                           Data_Length[i],
                                           Data[i]

Description:

The LE Extended Advertising Report event indicates that one or more
Bluetooth devices have responded to an active scan or have broadcast
advertisements that were received during a passive scan. The Controller may
coalesce multiple advertising reports from the same or different advertisers into
a single LE Extended Advertising Report event, provided all the parameters
from all the advertising reports fit in a single HCI event.

This event shall only be generated if scanning was enabled using the LE Set
Extended Scan Enable command. It reports advertising events using either
legacy or extended advertising PDUs.

The Controller may split the data from a single advertisement (whether one
PDU or several) into several reports. If so, each report except the last shall
have an Event_Type with a data status field of "incomplete, more data to
come", while the last shall have the value "complete"; the Address_Type,
Address, Advertising_SID, Primary_PHY, and Secondary_PHY fields shall be
the same in all the reports.

When a scan response is received, bits 0-2 and 4 of the event type shall
indicate the properties of the original advertising event.

An Event_Type with a data status field of "incomplete, data truncated" indicates
that the Controller attempted to receive an AUX_CHAIN_IND PDU but was not
successful.


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Where the event being reported used a legacy advertising PDU, the Controller
shall set the Event_Type to the value specified in Table 7.1.

 PDU Type                                           Event_Type

 ADV_IND                                            0010011b
 ADV_DIRECT_IND                                     0010101b

 ADV_SCAN_IND                                       0010010b
 ADV_NONCONN_IND                                    0010000b
 SCAN_RSP to an ADV_IND                             0011011b

 SCAN_RSP to an ADV_SCAN_IND                        0011010b
Table 7.1: Event_Type values for legacy PDUs

If the Event_Type indicates a legacy PDU (bit 4 = 1), the Primary_PHY
parameter shall indicate the LE 1M PHY and the Secondary_PHY parameter
shall be set to 0x00. Otherwise, the Primary_PHY parameter indicates the PHY
used to send the advertising PDU on the primary advertising channel and the
Secondary_PHY parameter indicates the PHY used to send the advertising
PDU(s), if any, on the secondary advertising channel.

The Periodic_Advertising_Interval event parameter is set to zero when no
periodic advertising exists as part of the advertising set.

The Direct_Address_Type and Direct_Address parameters indicate the
TargetA address in the advertising PDU for directed advertising event types (bit
2 = 1). These parameters shall be ignored for undirected advertising event
types (bit 2 = 0).

When multiple advertising packets are used to complete a single advertising
report (e.g., a packet containing an ADV_EXT_IND PDU combined with one
containing an AUX_ADV_IND PDU), the RSSI and TxPower event parameters
shall be set based on the last packet received.

Event Parameters:

Subevent_Code:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0x0D                     Subevent code for the LE Extended Advertising Report event

Num_Reports:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x01 – 0x0A              Number of separate reports in the event
 All other values         Reserved for future use




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Event_Type[i]:                                             Size: 2 Octets * Num_Reports
 Bit Number               Parameter Description

 0                        Connectable advertising
 1                        Scannable advertising
 2                        Directed advertising

 3                        Scan response
 4                        Legacy advertising PDUs used
 5-6                      Data status:
                          00b = Complete
                          01b = Incomplete, more data to come
                          10b = Incomplete, data truncated, no more to come
                          11b = Reserved for future use

 All other bits           Reserved for future use

Address_Type[i]:                                             Size: 1 Octet * Num_Reports
 Value                    Parameter Description

 0x00                     Public Device Address

 0x01                     Random Device Address
 0x02                     Public Identity Address (corresponds to Resolved Private Address)
 0x03                     Random (static) Identity Address (corresponds to Resolved Private
                          Address)

 0xFF                     No address provided (anonymous advertisement)
 All other values         Reserved for future use

Address[i]:                                                Size: 6 Octets * Num_Reports
 Value                       Parameter Description

 0xXXXXXXXXXXXX              Public Device Address, Random Device Address, Public Identity
                             Address or Random (static) Identity Address of the advertising
                             device.

Primary_PHY[i]:                                              Size: 1 Octet * Num_Reports
 Value                       Parameter Description

 0x01                        Advertiser PHY is LE 1M

 0x03                        Advertiser PHY is LE Coded
 All other values            Reserved for future use




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Secondary_PHY[i]:                                            Size: 1 Octet * Num_Reports
 Value                     Parameter Description

 0x00                      No packets on the secondary advertising channel
 0x01                      Advertiser PHY is LE 1M
 0x02                      Advertiser PHY is LE 2M

 0x03                      Advertiser PHY is LE Coded
 All other values          Reserved for future use

Advertising_SID[i]:                                          Size: 1 Octet * Num_Reports
 Value                     Parameter Description

 0x00 – 0x0F               Value of the Advertising SID subfield in the ADI field of the PDU
 0xFF                      No ADI field in the PDU

 All other values          Reserved for future use

Tx_Power[i]:                                                 Size: 1 Octet * Num_Reports
 Value                     Parameter Description

 N = 0xXX                  Size: 1 Octet (signed integer)
                           Range: -127 ≤ N ≤ +126
                           Units: dBm
 127                       Tx Power information not available

RSSI[i]:                                                     Size: 1 Octet * Num_Reports
 Value                     Parameter Description

 N                         Size: 1 Octet (signed integer)
                           Range: -127 ≤ N ≤ +20
                           Units: dBm
 127                       RSSI is not available

 All other values          Reserved for future use

Periodic_Advertising_Interval[i]:                           Size: 2 Octets * Num_Reports
 Value                     Parameter Description

 0                         No periodic advertising

 N = 0xXXXX                Interval of the periodic advertising
                           Range: 0x0006 to 0xFFFF
                           Time = N * 1.25 ms
                           Time Range: 7.5 ms to 81,918.75 s



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Direct_Address_Type[i]:                                     Size: 1 Octet * Num_Reports
 Value                     Parameter Description

 0x00                      Public Device Address
 0x01                      Random Device Address
 0x02                      Public Identity Address (Corresponds to Resolved Private
                           Address)

 0x03                      Random (static) Identity Address (Corresponds to Resolved Pri-
                           vate Address)
 0xFE                      Random Device Address (Controller unable to resolve)
 All other values          Reserved for future use

Direct_Address[i]:                                        Size: 6 Octets * Num_Reports
 Value                     Parameter Description

 0xXXXXXXXXXXXX            Public Device Address, Random Device Address, Public Identity
                           Address or Random (static) Identity Address of the target device

Data_Length[i]:                                             Size: 1 Octet * Num_Reports
 Value                     Parameter Description

 0-229                     Length of the Data[i] field for each device which responded
 All other values          Reserved for future use

Data[i]Size:                                                SUM (Data_Length[i]) Octets
 Value                     Parameter Description

                           Data_Length[i] octets of advertising or scan response data format-
                           ted as defined in [Vol 3] Part C, Section 11.
                           Note: Each element of this array has a variable length.




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7.7.65.14 LE Periodic Advertising Sync Established Event


 Event                            Event Code         Event Parameters

 LE Periodic Advertising Sync     0x3E               Subevent_Code,
 Established                                         Status,
                                                     Sync_Handle,
                                                     Advertising_SID,
                                                     Advertiser_Address_Type,
                                                     Advertiser_Address,
                                                     Advertiser_PHY,
                                                     Periodic_Advertising_Interval,
                                                     Advertiser_Clock_Accuracy

Description:

The LE Periodic Advertising Sync Established event indicates that the
Controller has received the first periodic advertising packet from an advertiser
after the LE_Periodic_Advertising_Create_Sync Command has been sent to
the Controller.

The Sync_Handle shall be assigned by the Controller.

This event indicates to the Host which issued an
LE_Periodic_Advertising_Create_Sync command and received a Command
Status event if the periodic advertising reception failed or was successful.

Event Parameters:

Subevent_Code:                                                                    Size: 1 Octet
 Value                     Parameter Description

 0x0E                      Subevent code for the LE Periodic Advertising Sync Established
                           event

Status:                                                                           Size: 1 Octet
 Value                     Parameter Description

 0x00                      Periodic advertising sync successful

 0x01 - 0xFF               Periodic advertising sync failed. See [Vol 2] Part D, Error Codes for
                           a list of error codes and descriptions

Sync_Handle:                                          Size: 2 Octets (12 bits meaningful)
 Value                     Parameter Description

 0xXXXX                    Sync_Handle to be used to identify the periodic advertiser
                           Range: 0x0000-0x0EFF


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 Value                     Parameter Description

 All other values          Reserved for future use

Advertising_SID:                                                                 Size: 1 Octet
 Value                     Parameter Description

 0x00 - 0x0F               Value of the Advertising SID subfield in the ADI field of the PDU
 All other values          Reserved for future use

Advertiser_Address_Type:                                                         Size: 1 Octet
 Value                     Parameter Description

 0x00                      Public Device Address or Public Identity Address

 0x01                      Random Device Address or Random (static) Identity Address
 0x02                      Public Identity Address (corresponds to Resolved Private Address)
 0x03                      Random (static) Identity Address (corresponds to Resolved Pri-
                           vate Address)

 All other values          Reserved for future use

Advertiser_Address:                                                            Size: 6 Octets
 Value                     Parameter Description

 0xXXXXXXXXXXXX            Public Device Address, Random Device Address, Public Identity
                           Address, or Random (static) Identity Address of the advertiser

Advertiser_PHY:                                                                  Size: 1 Octet
 Value                     Parameter Description

 0x01                      Advertiser PHY is LE 1M
 0x02                      Advertiser PHY is LE 2M

 0x03                      Advertiser PHY is LE Coded
 All other values          Reserved for future use

Periodic_Advertising_Interval:                                                 Size: 2 Octets
 Value                     Parameter Description

 N = 0xXXXX                Periodic_advertising interval
                           Range: 0x0006 to 0xFFFF
                           Time = N * 1.25 ms
                           Time Range: 7.5 ms to 81.91875 s




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Advertiser_Clock_Accuracy:                                  Size: 1 Octet
 Value                     Parameter Description

 0x00                      500 ppm
 0x01                      250 ppm
 0x02                      150 ppm

 0x03                      100 ppm
 0x04                      75 ppm
 0x05                      50 ppm

 0x06                      30 ppm
 0x07                      20 ppm
 All other values          Reserved for future use




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7.7.65.15 LE Periodic Advertising Report Event


 Event                         Event Code            Event Parameters

 LE Periodic Advertising       0x3E                  Subevent_Code,
 Report                                              Sync_Handle,
                                                     Tx_Power,
                                                     RSSI,
                                                     Unused
                                                     Data_Status,
                                                     Data_Length,
                                                     Data

Description:

The LE Periodic Advertising Report event indicates that the Controller has
received a Periodic Advertising packet.

The Sync_Handle parameter indicates the identifier for the periodic
advertisements specified by the Advertising SID subfield of the ADI field in the
ADV_EXT_IND PDU.

The Controller may split the data from a single periodic advertisement (whether
one PDU or several) into several reports. If so, each report except the last shall
have a Data_Status of "incomplete, more data to come", while the last shall
have the value "complete".

A Data_Status of "incomplete, data truncated" indicates that the Controller
attempted to receive an AUX_CHAIN_IND PDU but was not successful.

The Unused parameter shall be set to 0xFF by the Controller and ignored by
the Host.

Event Parameters:

Subevent_Code:                                                                  Size: 1 Octet
 Value                     Parameter Description

 0x0F                      Subevent code for the LE Periodic Advertising Report event

Sync_Handle:                                            Size: 2 Octets (12 bits meaningful)
 Value                     Parameter Description

 0xXXXX                    Sync_Handle to be used to identify the periodic advertiser from
                           which data has been received.
                           Range: 0x0000-0x0EFF
 All other values          Reserved for future use


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Tx_Power:                                                                       Size: 1 Octet
 Value                     Parameter Description

 N = 0xXX                  Size: 1 Octet (signed integer)
                           Range: -127 ≤ N ≤ +126
                           Units: dBm
 127                       Tx Power information not available

RSSI:                                                                           Size: 1 Octet
 Value                     Parameter Description

 N                         Size: 1 Octet (signed integer)
                           Range: -127 ≤ N ≤ +20
                           Units: dBm

 127                       RSSI is not available
 All other values          Reserved for future use


Unused:1                                                                        Size: 1 Octet
 Value                     Parameter Description

 0xFF                      This value must be used by the Controller

 All other values          Reserved for future use
  1. This parameter is intended to be used in a future feature.

Data_Status:                                                                    Size: 1 Octet
 Value                     Parameter Description

 0x00                      Data complete
 0x01                      Data incomplete, more data to come
 0x02                      Data incomplete, data truncated, no more to come

 All other values          Reserved for future use

Data_Length:                                                                    Size: 1 Octet
 Value                     Parameter Description

 0 - 248                   Length of the Data field

 All other values          Reserved for future use

Data:                                                             Size: Data_Length Octets
 Value                     Parameter Description

 Variable                  Data received from a Periodic Advertising packet



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7.7.65.16 LE Periodic Advertising Sync Lost Event


 Event                               Event Code       Event Parameters

 LE Periodic Advertising Sync        0x3E             Subevent_Code,
 Lost                                                 Sync_Handle

Description:

The LE Periodic Advertising Sync Lost event indicates that the Controller has
not received a Periodic Advertising packet identified by Sync_Handle within the
timeout period.

Event Parameters:

Subevent_Code:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x10                     Subevent code for the LE Periodic Advertising Sync Lost event

Sync_Handle:                                           Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Sync_Handle to be used to identify the periodic advertiser.
                          Range: 0x0000-0x0EFF
 All other values         Reserved for future use




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7.7.65.17 LE Scan Timeout Event


 Event                          Event Code           Event Parameters

 LE Scan Timeout                0x3E                 Subevent_Code

Description:

The LE Scan Timeout event indicates that scanning has ended because the
duration has expired.

This event shall only be generated if scanning was enabled using the LE Set
Extended Scan Enable command.

Event Parameters:

Subevent_Code:                                                                Size: 1 Octet
 Value                    Parameter Description

 0x11                     Subevent code for the LE Scan Timeout event




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7.7.65.18 LE Advertising Set Terminated Event


 Event                      Event Code      Event Parameters

 LE Advertising Set         0x3E            Subevent_Code,
 Terminated                                 Status,
                                            Advertising_Handle,
                                            Connection_Handle,
                                            Num_Completed_Extended_Advertising_Events

Description:

The LE Advertising Set Terminated event indicates that the Controller has
terminated advertising in the advertising sets specified by the
Advertising_Handle parameter.

This event shall be generated every time connectable advertising in an
advertising set results in a connection being created.

This event shall only be generated if advertising was enabled using the LE Set
Extended Advertising Enable command.

The Connection_Handle parameter is only valid when advertising ends
because a connection was created.

If the Max_Extended_Advertising_Events parameter in the
LE_Set_Extended_Advertising_Enable command was non-zero, the
Num_Completed_Extended_Advertising_Events parameter shall be set to the
number of completed extended advertising events the Controller had
transmitted when either the duration elapsed or the maximum number of
extended advertising events was reached; otherwise it shall be set to zero.

If advertising has terminated as a result of the advertising duration elapsing,
the Status parameter shall be set to the error code Advertising Timeout (0x3C).

If advertising has terminated because the Max_Extended_Advertising_Events
was reached, the Status parameter shall be set to the error code Limit
Reached (0x43).

Event Parameters:

Subevent_Code:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x12                     Subevent code for the LE Advertising Set Terminated event




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Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     Advertising successfully ended with a connection being created
 0x01 – 0xFF              Advertising ended for another reason. See [Vol 2] Part D, Error Codes
                          for a list of error codes and descriptions.

Advertising_Handle:                                                               Size: 1 Octet
 Value                    Parameter Description

 0x00 – 0xEF              Advertising_Handle in which advertising has ended
 All other values         Reserved for future use

Connection_Handle:                                     Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle of the connection whose creation ended the
                          advertising
                          Range: 0x0000 – 0x0EFF (all other values reserved for future use)

Num_Completed_Extended_Advertising_Events:                                        Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Number of completed extended advertising events transmitted by the
                          Controller




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7.7.65.19 LE Scan Request Received Event


 Event                             Event Code                    Event Parameters

 LE Scan Request Received          0x3E                          Subevent_Code,
                                                                 Advertising_Handle,
                                                                 Scanner_Address_Type,
                                                                 Scanner_Address

Description:

The LE Scan Request Received event indicates that a SCAN_REQ PDU or an
AUX_SCAN_REQ PDU has been received by the advertiser. The request
contains a device address from a scanner that is allowed by the advertising
filter policy. The advertising set is identified by Advertising_Handle.

This event shall only be generated if advertising was enabled using the LE Set
Extended Advertising Enable command.

The Scanner_Address_Type and Scanner_Address indicates the type of the
address and the address of the scanner device.

Event Parameters:

Subevent_Code:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x13                     Subevent code for the LE Scan Request Received event

Advertising_Handle:                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00 – 0xEF              Used to identify an advertising set
 All other values         Reserved for future use

Scanner_Address_Type:                                                            Size: 1 Octet
 Value                    Parameter Description

 0x00                     Public Device Address
 0x01                     Random Device Address

 0x02                     Public Identity Address (corresponds to Resolved Private Address)
 0x03                     Random (static) Identity Address (corresponds to Resolved Private
                          Address)
 All other values         Reserved for future use




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Scanner_Address:                                                                Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Public Device Address, Random Device Address, Public Identity
 X                        Address or Random (static) Identity Address of the advertising device




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7.7.65.20 LE Channel Selection Algorithm Event


 Event                                         Event Code      Event Parameters

 LE Channel Selection Algorithm Event          0x3E            Subevent_Code,
                                                               Connection_Handle,
                                                               Channel_Selection_Algorithm

Description:

The LE Channel Selection Algorithm Event indicates which channel selection
algorithm is used on a data channel connection (see [Vol 6] Part B, Section
4.5.8).

Event Parameters:

Subevent_Code:                                                                   Size: 1Octet
 Value                    Parameter Description

 0x14                     Subevent code for the LE Channel Selection Algorithm event

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000 – 0x0EFF (all other values reserved for future use)

Channel_Selection_Algorithm:                                                     Size: 1Octet
 Value                    Parameter Description

 0x00                     LE Channel Selection Algorithm #1 is used
 0x01                     LE Channel Selection Algorithm #2 is used

 0x02 – 0xFF              Reserved for future use




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7.7.66 Triggered Clock Capture Event


 Event                                      Event Code      Event Parameters

 Triggered Clock Capture                    0x4E            Connection_Handle,
                                                            Which_Clock,
                                                            Clock,
                                                            Slot_Offset

Description:
The Triggered Clock Capture event is sent to indicate that a triggering event
has occurred at the specified clock and offset value. The Which_Clock
parameter indicates whether the clock is local or a piconet clock. The
Connection_Handle parameter is used when the clock is a piconet clock to
indicate which piconet’s clock was reported.
The Clock parameter indicates the value of the selected clock at the instant of
the triggering event, with bits 1 and 0 set to 0b.
The Slot_Offset parameter indicates the number of microseconds (from 0 to
1249) from the instant at which the selected clock took the value Clock until the
triggering event.
Note: What constitutes a triggering event is defined by the Controller
implementation. For example, it could be an interrupt signal received by the
Controller hardware.

Event Parameters:

Connection_Handle:                                    Size: 2 Octets (12 bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range: 0x0000 – 0x0EFF (all other values reserved for future use)

Which_Clock:                                                                      Size: 1 Octet
 Value                    Parameter Description

 0xXX                     0x00 = Local Clock (Connection_Handle does not have to be valid)
                          0x01 = Piconet Clock (Connection_Handle shall be valid)
                          0x02-0xFF = Reserved for Future Use

Clock:                                                Size: 4 Octets (28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               Bluetooth clock of the device requested with bits 1 and 0 set to 0b.




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Slot_Offset:                                                                 Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Number of microseconds from the selected clock attaining the value
                          Clock until the triggering event.
                          Range: 0 to 1249.




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7.7.67 Synchronization Train Complete Event


 Event                                     Event Code    Event Parameters

 Synchronization Train Complete            0x4F          Status

Description:

The Synchronization Train Complete event indicates that the Start
Synchronization Train command has completed.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Start Synchronization Train command completed successfully.

 0x01-0xFF                Start Synchronization Train command failed. See [Vol 2] Part D,
                          Error Codes, for error codes and descriptions.




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7.7.68 Synchronization Train Received Event


 Event                                     Event Code    Event Parameters

 Synchronization Train Received            0x50          Status,
                                                         BD_ADDR,
                                                         Clock_Offset,
                                                         AFH_Channel_Map,
                                                         LT_ADDR,
                                                         Next_Broadcast_Instant,
                                                         Connectionless_Slave_
                                                         Broadcast_Interval,
                                                         Service_Data

Description:

The Synchronization Train Received event provides information received from
a synchronization train packet transmitted by a Connectionless Slave
Broadcast transmitter with the given BD_ADDR. If synchronization was
successful, it provides the clock offset, AFH channel map, LT_ADDR, next
broadcast instant, broadcast interval, and service data as received from the
synchronization train payload. If the command returns a status of 0x01-0xFF,
then all other parameters are undefined and shall be ignored.

A packet with the Connectionless Slave Broadcast LT_ADDR field in the
payload set to zero shall be ignored for the purposes of this event.

Event Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     Received Synchronization Train command completed successfully.

 0x01-0xFF                Received Synchronization Train command failed. See Part D, Error
                          Codes, for error codes and descriptions.

BD_ADDR:                                                                     Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the Connectionless Slave Broadcast transmitter.

Clock_Offset:                                        Size: 4 Octets(28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               (CLKNslave - CLK) modulo 228




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AFH_Channel_Map:                                     Size: 10 Octets (79 Bits Meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               This parameter contains 80 1-bit fields.
 XXXXXXXXXX               The nth such field (in the range 0 to 78) contains the value for
 XX                       channel n:
                          0: channel n is unused
                          1: channel n is used
                          The most significant bit (bit 79) is reserved for future use

LT_ADDR:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR of Connectionless Slave Broadcast channel.
 All other values         Reserved for future use

Next_Broadcast_Instant:                               Size: 4 Octets (28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               CLK of a future broadcast on this channel

Connectionless_Slave_Broadcast_Interval:                                        Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Interval between Connectionless Slave Broadcast instants in slots.
                          Range: 0x0002-0xFFFE; only even values are valid

Service_Data:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Value from octet 27 of the Synchronization Train packet; see [Vol 2]
                          Part B, Table 8.10.




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7.7.69 Connectionless Slave Broadcast Receive Event


 Event                                     Event Code    Event Parameters

 Connectionless Slave Broadcast            0x51          BD_ADDR,
 Receive                                                 LT_ADDR,
                                                         CLK,
                                                         Offset,
                                                         Receive_Status,
                                                         Fragment,
                                                         Data_Length,
                                                         Data

Description:

The Connectionless Slave Broadcast Receive event shall be sent by the BR/
EDR Controller every Connectionless Slave Broadcast Instant on which the
BR/EDR Controller is scheduled to receive a Connectionless Slave Broadcast
packet. If the packet is not received successfully, the event returns a
Receive_Status of 0x01. Otherwise, the event returns the payload Data along
with the Piconet Clock and the offset from the local CLKN when the packet was
received.

The BR/EDR Controller shall send multiple Connectionless Slave Broadcast
Receive events if the length of the received data exceeds the capacity of a
single Connectionless Slave Broadcast Receive event. The fragments shall be
marked as starting, continuation, or ending to allow the Host to reassemble the
received packet. Only a single event shall be generated for a Connectionless
Slave Broadcast instant on which a Connectionless Slave Broadcast packet
was scheduled for reception but the BR/EDR Controller failed to successfully
receive it.

Event Parameters:

BD_ADDR:                                                                   Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the broadcasting master device

LT_ADDR:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR of the Connectionless Slave Broadcast

 All other values         Reserved for future use

CLK:                                                 Size: 4 Octets (28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               CLK when Connectionless Slave Broadcast data was received


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Offset:                                              Size: 4 Octets (28 bits meaningful)
 Value                    Parameter Description

 0xXXXXXXXX               (CLKNslave – CLK) modulo 228

Receive Status:                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00                     Packet received successfully
 0x01                     Packet not received successfully (Fragment, Data_Length, and
                          Data fields invalid)

 All other values         Reserved for future use

Fragment:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x00                     Continuation fragment

 0x01                     Starting fragment
 0x02                     Ending fragment
 0x03                     No fragmentation (single fragment)

 All other values         Reserved for future use

Data_Length:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Length of Data field

Data:                                                          Size: Data_Length Octets
 Value                    Parameter Description

 Variable                 Data received from a Connectionless Slave Broadcast packet.




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7.7.70 Connectionless Slave Broadcast Timeout Event


 Event                                        Event Code   Event Parameters

 Connectionless Slave Broadcast Timeout       0x52         BD_ADDR,
                                                           LT_ADDR

Description:

On the Connectionless Slave Broadcast Receiver, the Connectionless Slave
Broadcast Timeout event indicates to the Host that the BR/EDR Controller has
lost synchronization with the Connectionless Slave Broadcast because no
Connectionless Slave Broadcast packets have been received for the timeout
interval, CSB_supervisionTO, specified in the Set Connectionless Slave
Broadcast Receive command.

On the Connectionless Slave Broadcast Transmitter, the Connectionless Slave
Broadcast Timeout event indicates to the Host that the BR/EDR Controller has
been unable to transmit a Connectionless Slave Broadcast packet for the
timeout interval, CSB_supervisionTO, specified in the Set Connectionless
Slave Broadcast command.

Event Parameters:

BD_ADDR:                                                                  Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the broadcasting master device

LT_ADDR:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x01-0x07                LT_ADDR of the Connectionless Slave Broadcast
 All other values         Reserved for future use




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7.7.71 Truncated Page Complete Event


 Event                                     Event Code   Event Parameters

 Truncated Page Complete                   0x53         Status,
                                                        BD_ADDR

Description:

The Truncated Page Complete event indicates to the Host that a Truncated
Page command completed. Truncated Paging is considered to be successful
when a slave page response ID packet has been received by the local BR/EDR
Controller. See [Vol 2] Part B, Section 8.3.3 for more information.

A Truncated Page Complete event shall always be sent for each Truncated
Page Command. If the Host issues a Truncated Page Cancel command before
the Controller returns the Truncated Page Complete event, then the Truncated
Page Complete event shall be sent after the Command Complete event for the
Truncated Page Cancel command. If the cancellation was successful, the
Truncated Page Complete event shall be generated with the error code
Unknown Connection Identifier (0x02).

Event Parameters:

Status:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     Truncated_Page command completed successfully.
 0x01-0xFF                Truncated_Page command failed. See [Vol 2] Part D, Error Codes
                          for a list of error codes and descriptions.

BD_ADDR:                                                                  Size: 6 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXXX           BD_ADDR of the paged (slave) device




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7.7.72 Slave Page Response Timeout Event


 Event                                     Event Code   Event Parameters

 Slave Page Response Timeout               0x54

Description:

The Slave Page Response Timeout event indicates to the Host that a slave
page response timeout has occurred in the BR/EDR Controller. Note: This
event will be generated if the slave BR/EDR Controller responds to a page but
does not receive the master FHS packet (see [Vol 2] Part B, Section 8.3.3)
within pagerespTO.

Event Parameters:

None




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7.7.73 Connectionless Slave Broadcast Channel Map Change Event


 Event                                       Event Code     Event Parameters

 Connectionless Slave Broadcast              0x55           Channel_Map
 Channel Map Change

Description:

The Connectionless Slave Broadcast Channel Map Change event is sent by
the master's BR/EDR Controller to the master's Host to indicate that the
master’s BR/EDR Controller has moved to a new AFH channel map for the
PBD logical link.

After an AFH channel map change takes effect for the PBD logical link, the
Connectionless Slave Broadcast Transmitter BR/EDR Controller shall send
this event to the Host. Upon reception of this event, the Host may restart the
synchronization train to allow receivers to obtain the updated AFH channel
map.

This event shall also be sent if the Host issues a
Set_AFH_Channel_Classification command which causes the Connectionless
Slave Broadcast Channel Map to change.

Event Parameters:

Channel_Map:                                         Size: 10 Octets (79 Bits Meaningful)
 Value                Parameter Description

 0xXXXXXXXX           This parameter contains 80 1-bit fields.
 XXXXXXXXXX           The nth such field (in the range 0 to 78) contains the value for channel n:
 XX                   0: channel n is unused
                      1: channel n is used
                      The most significant bit (bit 79) is reserved for future use




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7.7.74 Inquiry Response Notification Event


 Event                                     Event Code      Event Parameters

 Inquiry Response Notification             0x56            LAP,
                                                           RSSI

Description:

The Inquiry Response Notification event indicates to the Host that the BR/EDR
Controller responded to an Inquiry message. The LAP parameter in the event
indicates the LAP used to create the access code received. The parameter
may be used by the Host to determine which access code was used in cases
where the BR/EDR Controller is performing inquiry scan on multiple inquiry
access codes using parallel scanning or sequential scanning. See [Vol 3] Part
C, Section 4.1.2.1 for details on sequential and parallel scanning.

The LAP parameter returned by the BR/EDR Controller shall be one of the
LAPs currently enabled. LAPs are enabled via the Write_Current_IAC_LAP
command.

The RSSI parameter indicates the signal strength of the received ID packet.



Event Parameters:

LAP:                                                                       Size: 3 Octets
 Value                    Parameter Description

 0x9E8B00–                LAP from which the IAC was derived;
 0x9E8B3F                 see Bluetooth Assigned Numbers.


RSSI:                                                                         Size: 1 Octet
 Value                    Parameter Description

 N = 0xXX                 Size: 1 Octet (signed integer)
 Signed Integer           Range: -100 ≤ N ≤ 20, +127 indicates unknown RSSI
                          Units: dBm




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7.7.75 Authenticated Payload Timeout Expired Event


 Event                                               Event Code     Event Parameters

 Authenticated Payload Timeout Expired               0x57           Connection_Handle

Description:

The Authenticated Payload Timeout Expired event is used to indicate that a
packet containing a valid MIC on the Connection_Handle was not received
within the authenticatedPayloadTO (see [Vol 2] Part B, Section Appendix B for
the BR/EDR and [Vol 6] Part B, Section 5.4 for the LE connection). Note: A
Host may choose to disconnect the link when this occurs.

Event Parameters:

Connection_Handle:                                    Size: 2 Octet (12 Bits meaningful)
 Value       Parameter Description

 0xXXXX      Connection_Handle
             Range: 0x0000-0x0EFF (all other values reserved for future use)




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7.7.76 SAM Status Change Event


 Event                           Event Code           Event Parameters

 SAMStatusChange                 0x58                 Connection_Handle,
                                                      Local_SAM_Index,
                                                      Local_SAM_TX_Availability,
                                                      Local_SAM_RX_Availability,
                                                      Remote_SAM_Index,
                                                      Remote_SAM_TX_Availability,
                                                      Remote_SAM_RX_Availability

Description:

The SAM Status Change event indicates that the Controller has changed the
SAM status for the connection identified by the Connection_Handle; i.e., a new
SAM slot map has been enabled or the existing one disabled. Note: A change
from one SAM slot map to another only generates one event, not two.

Event Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value             Parameter Description

 0xXXXX            Connection_Handle
                   Range: 0x0000-0x0EFF (all other values reserved for future use)

Local_SAM_Index:                                                                 Size: 1 Octet
 Value             Parameter Description

 0xXX              The index of the current SAM slot map used by the local device.0xFF
                   means SAM is disabled (i.e. all slots are available)

Local_SAM_TX_Availability:                                                       Size: 1 Octet
 Value             Parameter Description

 0xXX              The proportion of slots available for the local device to transmit. 0 rep-
                   resents "less than 1 in 255" and 255 represents "all"; other proportions
                   shall be linearly scaled. That is, Local_SAM_TX_Availability = (total_avail-
                   able_TX_slots / local_TSAM) * 255, rounded to the integer below, where
                   total_available_TX_slots is the total number of slots available for transmis-
                   sion in the current local SAM slot map and local_TSAM is TSAM for the
                   current local SAM slot map.




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Local_SAM_RX_Availability:                                                       Size: 1 Octet
 Value             Parameter Description

 0xXX              The proportion of slots available for the local device to receive. 0 rep-
                   resents "less than 1 in 255" and 255 represents "all"; other proportions
                   shall be linearly scaled. That is, Local_SAM_RX_Availability = (total_avail-
                   able_RX_slots / local_TSAM) * 255, rounded to the integer below, where
                   total_available_RX_slots is the total number of slots available for recep-
                   tion in the current local SAM slot map and local_ TSAM is TSAM for the cur-
                   rent local SAM slot map.

Remote_SAM_Index:                                                                Size: 1 Octet
 Value             Parameter Description

 0xXX              The index of the current SAM slot map used by the remote device.0xFF
                   means SAM is disabled (i.e. all slots are available)

Remote_SAM_TX_Availability:                                                      Size: 1 Octet
 Value             Parameter Description

 0xXX              The proportion of slots available for the remote device to transmit. 0 rep-
                   resents "less than 1 in 255" and 255 represents "all"; other proportions
                   shall be linearly scaled. That is, Remote_SAM_TX_Availability =
                   (total_available_TX_slots / remote_TSAM) * 255, rounded to the integer
                   below, where total_available_TX_slots is the total number of slots avail-
                   able for transmission in the current remote SAM slot map and
                   remote_TSAM is TSAM for the current remote SAM slot map.


Remote_SAM_RX_Availability:                                                      Size: 1 Octet
 Value             Parameter Description

 0xXX              The proportion of slots available for the remote device to receive. 0 rep-
                   resents "less than 1 in 255" and 255 represents "all"; other proportions
                   shall be linearly scaled. That is, Remote_SAM_RX_Availability =
                   (total_available_RX_slots / remote_TSAM) * 255, rounded to the integer
                   below, where total_available_RX_slots is the total number of slots avail-
                   able for reception in the current remote SAM slot map and remote_TSAM
                   is TSAM for the current remote SAM slot map.




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7.8 LE CONTROLLER COMMANDS
The LE Controller Commands provide access and control to various
capabilities of the Bluetooth hardware, as well as methods for the Host to affect
how the Link Layer manages the piconet, and controls connections.

For the LE Controller Commands, the OGF code is defined as 0x08.

7.8.1 LE Set Event Mask Command


                                                               Return
 Command                  OCF             Command Parameters   Parameters

 HCI_LE_Set_Event         0x0001          LE_Event_Mask        Status
 _Mask

Description:

The LE_Set_Event_Mask command is used to control which LE events are
generated by the HCI for the Host. If the bit in the LE_Event_Mask is set to a
one, then the event associated with that bit will be enabled. The Host has to
deal with each event that is generated by an LE Controller. The event mask
allows the Host to control which events will interrupt it.

For LE events to be generated, the LE Meta Event bit in the Event_Mask shall
also be set. If that bit is not set, then LE events shall not be generated,
regardless of how the LE_Event_Mask is set.

Command Parameters:

LE_Event_Mask:                                                     Size: 8 Octets
 Bit       LE Subevent Types

 0         LE Connection Complete Event
 1         LE Advertising Report Event
 2         LE Connection Update Complete Event

 3         LE Read Remote Features Complete Event
 4         LE Long Term Key Request Event
 5         LE Remote Connection Parameter Request Event

 6         LE Data Length Change Event
 7         LE Read Local P-256 Public Key Complete Event
 8         LE Generate DHKey Complete Event

 9         LE Enhanced Connection Complete Event
 10        LE Directed Advertising Report Event


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 Bit       LE Subevent Types

 11        LE PHY Update Complete Event
 12        LE Extended Advertising Report Event
 13        LE Periodic Advertising Sync Established Event

 14        LE Periodic Advertising Report Event
 15        LE Periodic Advertising Sync Lost Event
 16        LE Extended Scan Timeout Event

 17        LE Extended Advertising Set Terminated Event
 18        LE Scan Request Received Event
 19        LE Channel Selection Algorithm Event

The value with all bits set to 0 indicates that no events are specified. The
default is for bits 0 to 4 inclusive (the value 0x0000 0000 0000 001F) to be set.

All bits not listed in this table are reserved for future use.

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                     Parameter Description

 0x00                      LE_Set_Event_Mask command succeeded.

 0x01 – 0xFF               LE_Set_Event_Mask command failed. See [Vol 2] Part D, Error
                           Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Event_Mask command has completed, a Command
Complete event shall be generated.




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7.8.2 LE Read Buffer Size Command


                                   Command
 Command                  OCF      parameters        Return Parameters

 HCI_LE_Read              0x0002                     Status,
 _Buffer_Size                                        HC_LE_ACL_Data_Packet_Length,
                                                     HC_Total_Num_LE_ACL_Data_Packets

Description:

The LE_Read_Buffer_Size command is used to read the maximum size of the
data portion of HCI LE ACL Data Packets sent from the Host to the Controller.
The Host will segment the data transmitted to the Controller according to these
values, so that the HCI Data Packets will contain data with up to this size. The
LE_Read_Buffer_Size command also returns the total number of HCI LE ACL
Data Packets that can be stored in the data buffers of the Controller. The
LE_Read_Buffer_Size command must be issued by the Host before it sends
any data to an LE Controller (see Section 4.1.1).
If the Controller returns a length value of zero, the Host shall use the
Read_Buffer_Size command to determine the size of the data buffers (shared
between BR/EDR and LE transports).
Note: Both the Read_Buffer_Size and LE_Read_Buffer_Size commands may
return buffer length and number of packets parameter values that are non-
zero. This allows a Controller to offer different buffers and number of buffers for
BR/EDR data packets and LE data packets.
The HC_LE_ACL_Data_Packet_Length return parameter shall be used to
determine the size of the L2CAP PDU segments contained in ACL Data
Packets, which are transferred from the Host to the Controller to be broken up
into packets by the Link Layer. The HC_Total_Num_LE_ACL_Data_Packets
return parameter contains the total number of HCI ACL Data Packets that can
be stored in the data buffers of the Controller. The Host determines how the
buffers are to be divided between different Connection_Handles.
Note: The HC_LE_ACL_Data_Packet_Length return parameter does not
include the length of the HCI Data Packet header.

Command Parameters:

None.




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Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                     Parameter Description

 0x00                      LE_Read_Buffer_Size command succeeded.
 0x01 – 0xFF               LE_Read_Buffer_Size command failed. See [Vol 2] Part D, Error
                           Codes for a list of error codes and descriptions.

HC_LE_Data_Packet_Length:                                                     Size: 2 Octets
 Value                    Parameter Description

 0x0000                   No dedicated LE Buffer – use Read_Buffer_Size command.
 0x0001 – 0x001A          Reserved for Future Use

 0x001B – 0xFFFF          Maximum length (in octets) of the data portion of each HCI ACL
                          Data Packet that the Controller is able to accept.

HC_Total_Num_LE_Data_Packets:                                                   Size: 1 Octet
 Value                    Parameter Description

 0x00                     No dedicated LE Buffer – use Read_Buffer_Size command.
 0x01 – 0xFF              Total number of HCI ACL Data Packets that can be stored in the data
                          buffers of the Controller.

Event(s) Generated (unless masked away):

When the LE_Read_Buffer_Size command has completed, a Command
Complete event shall be generated.




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7.8.3 LE Read Local Supported Features Command


 Command              OCF              Command parameters            Return Parameters

 HCI_LE_Read_L        0x0003                                        Status,
 ocal_Supported_-                                                   LE_Features
 Features

Description:

This command requests the list of the supported LE features for the Controller.

Command Parameters:

None.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                         Parameter Description

 0x00                          LE_Read_Local_Supported_Features command succeeded.
 0x01 – 0xFF                   LE_Read_Local_Supported_Features command failed. See
                               [Vol 2] Part D, Error Codes for a list of error codes and
                               descriptions.

LE_Features:                                                                   Size: 8 Octets
 Value                         Parameter Description

 0xXXXXXXXXXXXXXXXX            Bit Mask List of supported LE features. See [Vol 6] Part B, Sec-
                               tion 4.6.

Event(s) Generated (unless masked away):

When the LE_Read_Local_Supported_Features command has completed, a
Command Complete event shall be generated.




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7.8.4 LE Set Random Address Command


 Command                  OCF              Command parameters            Return Parameters

 HCI_LE_Set_Ran-          0x0005           Random_Address                Status
 dom_Address

Description:
The LE_Set_Random_Address command is used by the Host to set the LE
Random Device Address in the Controller (see [Vol 6] Part B, Section 1.3).
If this command is used to change the address, the new random address shall
take effect for advertising no later than the next successful LE Set Advertising
Enable Command, for scanning no later than the next successful LE Set Scan
Enable Command or LE Set Extended Scan Enable Command, and for
initiating no later than the next successful LE Create Connection Command or
LE Extended Create Connection Command.
Note: If Extended Advertising is in use, this command only affects the address
used for scanning and initiating. The addresses used for advertising are set by
the LE_Set_Advertising_Set_Random_Address command (see Section
7.8.52).
If the Host issues this command when scanning or legacy advertising is
enabled, the Controller shall return the error code Command Disallowed
(0x0C).

Command Parameters:

Random_Addess:                                                                Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Random Device Address as defined by [Vol 6] Part B, Section
                                1.3.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                          Parameter Description

 0x00                           LE_Set_Random_Address command succeeded.
 0x01 – 0xFF                    LE_Set_Random_Address command failed. See [Vol 2] Part D,
                                Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Random_Address command has completed, a Command
Complete event shall be generated.

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7.8.5 LE Set Advertising Parameters Command


                                                                   Return
 Command              OCF              Command parameters          Parameters

 HCI_LE_Set_          0x0006           Advertising_Interval_Min,   Status
 Advertising_                          Advertising_Interval_Max,
 Parameters
                                       Advertising_Type,
                                       Own_Address_Type,
                                       Peer_Address_Type,
                                       Peer_Address,
                                       Advertising_Channel_Map,
                                       Advertising_Filter_Policy

Description:

The LE_Set_Advertising_Parameters command is used by the Host to set the
advertising parameters.

The Advertising_Interval_Min shall be less than or equal to the
Advertising_Interval_Max. The Advertising_Interval_Min and
Advertising_Interval_Max should not be the same value to enable the
Controller to determine the best advertising interval given other activities.

For high duty cycle directed advertising, i.e. when Advertising_Type is 0x01
(ADV_DIRECT_IND, high duty cycle), the Advertising_Interval_Min and
Advertising_Interval_Max parameters are not used and shall be ignored.

The Advertising_Type is used to determine the packet type that is used for
advertising when advertising is enabled.

Own_Address_Type parameter indicates the type of address being used in the
advertising packets.

If Own_Address_Type equals 0x02 or 0x03, the Peer_Address parameter
contains the peer’s Identity Address and the Peer_Address_Type parameter
contains the Peer’s Identity Type (i.e. 0x00 or 0x01). These parameters are
used to locate the corresponding local IRK in the resolving list; this IRK is used
to generate the own address used in the advertisement.

If directed advertising is performed, i.e. when Advertising_Type is set to 0x01
(ADV_DIRECT_IND, high duty cycle) or 0x04 (ADV_DIRECT_IND, low duty
cycle mode), then the Peer_Address_Type and Peer_Address shall be valid.

If Own_Address_Type equals 0x02 or 0x03, the Controller generates the
peer’s Resolvable Private Address using the peer’s IRK corresponding to the
peer’s Identity Address contained in the Peer_Address parameter and peer’s
Identity Address Type (i.e. 0x00 or 0x01) contained in the Peer_Address_Type
parameter.

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The Advertising_Channel_Map is a bit field that indicates the advertising
channels that shall be used when transmitting advertising packets. At least one
channel bit shall be set in the Advertising_Channel_Map parameter.

The Advertising_Filter_Policy parameter shall be ignored when directed
advertising is enabled.

The Host shall not issue this command when advertising is enabled in the
Controller; if it is the Command Disallowed error code shall be used.

If the advertising interval range provided by the Host (Advertising_Interval_Min,
Advertising_Interval_Max) is outside the advertising interval range supported
by the Controller, then the Controller shall return the Unsupported Feature or
Parameter Value (0x11) error code.

Command Parameters:

Advertising_Interval_Min:                                                      Size: 2 Octets
 Value                      Parameter Description

 N = 0xXXXX                 Minimum advertising interval for undirected and low duty cycle
                            directed advertising.
                            Range: 0x0020 to 0x4000
                            Default: N = 0x0800 (1.28 s)
                            Time = N * 0.625 ms
                            Time Range: 20 ms to 10.24 s

Advertising_Interval_Max:                                                      Size: 2 Octets
 Value                      Parameter Description

 N = 0xXXXX                 Maximum advertising interval for undirected and low duty cycle
                            directed advertising.
                            Range: 0x0020 to 0x4000
                            Default: N = 0x0800 (1.28 s)
                            Time = N * 0.625 ms
                            Time Range: 20 ms to 10.24 s

Advertising_Type:                                                               Size: 1 Octet
 Value                      Parameter Description

 0x00                       Connectable and scannable undirected advertising (ADV_IND)
                            (default)
 0x01                       Connectable high duty cycle directed advertising
                            (ADV_DIRECT_IND, high duty cycle)
 0x02                       Scannable undirected advertising (ADV_SCAN_IND)

 0x03                       Non connectable undirected advertising (ADV_NONCONN_IND)



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 Value                        Parameter Description

 0x04                         Connectable low duty cycle directed advertising
                              (ADV_DIRECT_IND, low duty cycle)
 0x05 – 0xFF                  Reserved for future use

Own_Address_Type:                                                                   Size: 1 Octet
 Value                    Parameter Description

 0x00                     Public Device Address (default)

 0x01                     Random Device Address
 0x02                     Controller generates Resolvable Private Address based on the local
                          IRK from the resolving list. If the resolving list contains no matching
                          entry, use the public address.

 0x03                     Controller generates Resolvable Private Address based on the local
                          IRK from the resolving list. If the resolving list contains no matching
                          entry, use the random address from LE_Set_Random_Address.
 0x04 – 0xFF              Reserved for future use

Peer_Address_Type:                                                                  Size: 1 Octet
 Value                    Parameter Description
 0x00                     Public Device Address (default) or Public Identity Address
 0x01                     Random Device Address or Random (static) Identity Address

 0x02 – 0xFF              Reserved for future use

Peer_Address:                                                                     Size: 6 Octets
 Value                         Parameter Description

 0xXXXXXXXXXXXX                Public Device Address, Random Device Address, Public Identity
                               Address, or Random (static) Identity Address of the device to be
                               connected.

Advertising_Channel_Map:                                                            Size: 1 Octet
 Value              Parameter Description

 00000000b          Reserved for future use
 xxxxxxx1b          Channel 37 shall be used

 xxxxxx1xb          Channel 38 shall be used
 xxxxx1xxb          Channel 39 shall be used
 00000111b          Default (all channels enabled)




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Advertising_Filter_Policy:                                                      Size: 1 Octet
 Value             Parameter Description

 0x00              Process scan and connection requests from all devices (i.e., the White List
                   is not in use) (default).
 0x01              Process connection requests from all devices and only scan requests from
                   devices that are in the White List.
 0x02              Process scan requests from all devices and only connection requests from
                   devices that are in the White List.

 0x03              Process scan and connection requests only from devices in the White List.
 0x04 – 0xFF       Reserved for future use.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                     Parameter Description

 0x00                      LE_Set_Advertising_Parameters command succeeded.

 0x01 – 0xFF               LE_Set_Advertising_Parameters command failed. See [Vol 2] Part
                           D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Advertising_Parameters command has completed, a
Command Complete event shall be generated.




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7.8.6 LE Read Advertising Channel Tx Power Command


                                                     Command
 Command                                OCF          parameters   Return Parameters

 HCI_LE_Read_Advertising_               0x0007                    Status,
 Channel_Tx_Power                                                 Transmit_Power_Level

Description:

The LE_Read_Advertising_Channel_Tx_Power command is used by the Host
to read the transmit power level used for LE advertising channel packets.

Command Parameters:

None.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Read_Advertising_Channel_Tx_Power command succeeded.
 0x01 – 0xFF              LE_Read_Advertising_Channel_Tx_Power failed. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.

Transmit_Power_Level:                                                             Size: 1 Octet
 Value                    Parameter Description

 N = 0xXX                 Size: 1 Octet (signed integer)
                          Range: -20 ≤ N ≤ 10
                          Units: dBm
                          Accuracy: +/- 4 dB

Event(s) Generated (unless masked away):

When the LE_Read_Advertising_Channel_Tx_Power command has
completed, a Command Complete event shall be generated.




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7.8.7 LE Set Advertising Data Command


                                                                                   Return
 Command                               OCF         Command parameters              Parameters

 HCI_LE_Set_Advertising_Data           0x0008      Advertising_Data_Length,        Status
                                                   Advertising_Data

Description:

The LE_Set_Advertising_Data command is used to set the data used in
advertising packets that have a data field.

Only the significant part of the Advertising_Data should be transmitted in the
advertising packets, as defined in [Vol 3] Part C, Section 11.

If advertising is currently enabled, the Controller shall use the new data in
subsequent advertising events. If an advertising event is in progress when this
command is issued, the Controller may use the old or new data for that event.
If advertising is currently disabled, the data shall be kept by the Controller and
used once advertising is enabled.

Command Parameters:

Advertising_Data_Length:                                                          Size: 1 Octet
 Value                      Parameter Description

 0x00 – 0x1F                The number of significant octets in the Advertising_Data.

Advertising_Data:                                                             Size: 31 Octets
 Value                       Parameter Description

                             31 octets of advertising data formatted as defined in [Vol 3] Part
                             C, Section 11.
                             All octets zero (default).

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                        Parameter Description

 0x00                         LE_Set_Advertising_Data command succeeded.

 0x01 – 0xFF                  LE_Set_Advertising_Data command failed. See [Vol 2] Part D,
                              Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Advertising_Data command has completed, a Command
Complete event shall be generated.

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7.8.8 LE Set Scan Response Data Command


 Command              OCF                 Command parameters              Return Parameters

 HCI_LE_Set_          0x0009              Scan_Response_                  Status
 Scan_Response_                           Data_Length,
 Data                                     Scan_Response_Data

Description:

This command is used to provide data used in Scanning Packets that have a
data field.

Only the significant part of the Scan_Response_Data should be transmitted in
the Scanning Packets, as defined in [Vol 3] Part C, Section 11.

If advertising is currently enabled, the Controller shall use the new data in
subsequent advertising events. If an advertising event is in progress when this
command is issued, the Controller may use the old or new data for that event.
If advertising is currently disabled, the data shall be kept by the Controller and
used once advertising is enabled.

Command Parameters:

Scan_Response_Data_Length:                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00 – 0x1F              The number of significant octets in the Scan_Response_Data.

Scan_Response_Data:                                                          Size: 31 Octets
 Value                    Parameter Description

                          31 octets of Scan_Response_Data formatted as defined in [Vol 3] Part
                          C, Section 11.
                          All octets zero (default).

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value                Parameter Description

 0x00                 LE_Set_Scan_Response_Data command succeeded.

 0x01 – 0xFF          LE_Set_Scan_Response_Data command failed. See [Vol 2] Part D,
                      Error Codes for a list of error codes and descriptions.




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Event(s) Generated (unless masked away):

When the LE_Set_Scan_Response_Data command has completed, a
Command Complete event shall be generated.




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7.8.9 LE Set Advertising Enable Command1


 Command                  OCF           Command parameters       Return Parameters

 HCI_LE_Set_              0x000A        Advertising_Enable       Status
 Advertising_
 Enable

Description:

The LE_Set_Advertising_Enable command is used to request the Controller to
start or stop advertising. The Controller manages the timing of advertisements
as per the advertising parameters given in the
LE_Set_Advertising_Parameters command.

The Controller shall continue advertising until the Host issues an
LE_Set_Advertising_Enable command with Advertising_Enable set to 0x00
(Advertising is disabled) or until a connection is created or until the Advertising
is timed out due to high duty cycle Directed Advertising. In these cases,
advertising is then disabled.

If the advertising parameters' Own_Address_Type parameter is set to 0x01
and the random address for the device has not been initialized, the Controller
shall return the error code Invalid HCI Command Parameters (0x12).

If the advertising parameters' Own_Address_Type parameter is set to 0x03,
the controller's resolving list did not contain a matching entry, and the random
address for the device has not been initialized, the Controller shall return the
error code Invalid HCI Command Parameters (0x12).

Note: Enabling advertising when it is already enabled can cause the random
address to change. Disabling advertising when it is already disabled has no
effect.

Command Parameters:

Advertising_Enable:                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     Advertising is disabled (default)

 0x01                     Advertising is enabled.
 0x02 – 0xFF              Reserved for future use




1. This command was formerly called “LE Set Advertise Enable”.


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Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Set_Advertising_Enable command succeeded.
 0x01 – 0xFF              LE_Set_Advertising_Enable command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Advertising_Enable command has completed, a Command
Complete event shall be generated.

If the Advertising_Type parameter is 0x01 (ADV_DIRECT_IND, high duty
cycle) and the directed advertising fails to create a connection, an LE
Connection Complete or LE Enhanced Connection Complete event shall be
generated with the Status code set to Advertising Timeout (0x3C).

If the Advertising_Type parameter is 0x00 (ADV_IND), 0x01
(ADV_DIRECT_IND, high duty cycle), or 0x04 (ADV_DIRECT_IND, low duty
cycle) and a connection is created, an LE Connection Complete or LE
Enhanced Connection Complete event shall be generated.

Note: There is a possible race condition if the Advertising_Enable parameter is
set to 0x00 (Disable) and the Advertising_Type parameter is 0x00, 0x01, or
0x04. The advertisements might not be stopped before a connection is
created, and therefore both the Command Complete event and either an LE
Connection Complete event or an LE Enhanced Connection Complete event
could be generated. This can also occur when high duty cycle directed
advertising is timed out and this command disables advertising.




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7.8.10 LE Set Scan Parameters Command


 Command                  OCF          Command parameters            Return Parameters

 HCI_LE_Set_S-            0x000B       LE_Scan_Type,                 Status
 can_Parameters                        LE_Scan_Interval,
                                       LE_Scan_Window,
                                       Own_Address_Type,
                                       Scanning_Filter_Policy

Description:

The LE_Set_Scan_Parameters command is used to set the scan parameters.

The LE_Scan_Type parameter controls the type of scan to perform.

The LE_Scan_Interval and LE_Scan_Window parameters are
recommendations from the Host on how long (LE_Scan_Window) and how
frequently (LE_Scan_Interval) the Controller should scan (See [Vol 6] Part B,
Section 4.5.3). The LE_Scan_Window parameter shall always be set to a value
smaller or equal to the value set for the LE_Scan_Interval parameter. If they
are set to the same value scanning should be run continuously.

Own_Address_Type parameter indicates the type of address being used in the
scan request packets.

The Host shall not issue this command when scanning is enabled in the
Controller; if it is the Command Disallowed error code shall be used.

Command Parameters:

LE_Scan_Type:                                                                       Size: 1 Octet
 Value                       Parameter Description

 0x00                        Passive Scanning. No scanning PDUs shall be sent (default)

 0x01                        Active scanning. Scanning PDUs may be sent.
 0x02 – 0xFF                 Reserved for future use

LE_Scan_Interval:                                                                 Size: 2 Octets
 Value                       Parameter Description

 N = 0xXXXX                  This is defined as the time interval from when the Controller
                             started its last LE scan until it begins the subsequent LE scan.
                             Range: 0x0004 to 0x4000
                             Default: 0x0010 (10 ms)
                             Time = N * 0.625 ms
                             Time Range: 2.5 ms to 10.24 s


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LE_Scan_Window:                                                                   Size: 2 Octets
 Value                       Parameter Description

 N = 0xXXXX                  The duration of the LE scan. LE_Scan_Window shall be less
                             than or equal to LE_Scan_Interval
                             Range: 0x0004 to 0x4000
                             Default: 0x0010 (10 ms)
                             Time = N * 0.625 ms
                             Time Range: 2.5 ms to 10.24 s

Own_Address_Type:                                                                   Size: 1 Octet
 Value                       Parameter Description

 0x00                        Public Device Address (default)

 0x01                        Random Device Address
 0x02                        Controller generates Resolvable Private Address based on the
                             local IRK from the resolving list. If the resolving list contains no
                             matching entry, use the public address.

 0x03                        Controller generates Resolvable Private Address based on the
                             local IRK from the resolving list. If the resolving list contains no
                             matching entry, use the random address from LE_Set_Ran-
                             dom_Address.
 All other values            Reserved for future use.

Scanning_Filter_Policy:                                                             Size: 1 Octet
 Value                Parameter Description

 0x00                 Accept all advertising packets except directed advertising packets not
                      addressed to this device (default).
 0x01                 Accept only advertising packets from devices where the advertiser’s
                      address is in the White List. Directed advertising packets which are not
                      addressed to this device shall be ignored.
 0x02                 Accept all advertising packets except directed advertising packets
                      where the initiator's identity address does not address this device.
                      Note: Directed advertising packets where the initiator's address is a
                      resolvable private address that cannot be resolved are also accepted.
 0x03                 Accept all advertising packets except:
                      •   advertising packets where the advertiser's identity address is not in
                          the White List; and
                      •   directed advertising packets where the initiator's identity address
                          does not address this device
                      Note: Directed advertising packets where the initiator's address is a
                      resolvable private address that cannot be resolved are also accepted.

 0x04 – 0xFF          Reserved for future use.



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Return Parameters:

Status:                                                                    Size: 1 Octet
 Value                Parameter Description

 0x00                 LE_Set_Scan_Parameters command succeeded.
 0x01 – 0xFF          LE_Set_Scan_Parameters command failed. See [Vol 2] Part D, Error
                      Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Scan_Parameters command has completed, a Command
Complete event shall be generated.




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7.8.11 LE Set Scan Enable Command


 Command                  OCF           Command parameters   Return Parameters

 HCI_LE_Set_S-            0x000C        LE_Scan_Enable,      Status
 can_Enable                             Filter_Duplicates

Description:

The LE_Set_Scan_Enable command is used to start scanning. Scanning is
used to discover advertising devices nearby.

The Filter_Duplicates parameter controls whether the Link Layer should filter
out duplicate advertising reports (Filtering_Enabled) to the Host, or if the Link
Layer should generate advertising reports for each packet received
(Filtering_Disabled). See [Vol 6] Part B, Section 4.4.3.5.

If the scanning parameters' Own_Address_Type parameter is set to 0x01 or
0x03 and the random address for the device has not been initialized, the
Controller shall return the error code Invalid HCI Command Parameters (0x12).

If the LE_Scan_Enable parameter is set to 0x01 and scanning is already
enabled, any change to the Filter_Duplicates setting shall take effect.
Note: Disabling scanning when it is disabled has no effect.

Command Parameters:

LE_Scan_Enable:                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     Scanning disabled.

 0x01                     Scanning enabled.
 0x02 – 0xFF              Reserved for future use.

Filter_Duplicates:                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     Duplicate filtering disabled.
 0x01                     Duplicate filtering enabled.
 0x02 – 0xFF              Reserved for future use.

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Set_Scan_Enable command succeeded.


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 Value                    Parameter Description

 0x01 – 0xFF              LE_Set_Scan_Enable command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Scan_Enable command has completed, a Command
Complete event shall be generated.

Zero or more LE Advertising Reports are generated by the Controller based on
advertising packets received and the duplicate filtering. More than one
advertising packet may be reported in each LE Advertising Report event.

When the Scanning_Filter_Policy is set to 0x02 or 0x03 (see Section 7.8.10)
and a directed advertisement was received where the advertiser used a
resolvable private address which the Controller is unable to resolve, an LE
Directed Advertising Report event shall be generated instead of an LE
Advertising Report Event.




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7.8.12 LE Create Connection Command


 Command                  OCF          Command parameters         Return Parameters

 HCI_LE_Create            0x000D       LE_Scan_Interval,
 _Connection                           LE_Scan_Window,
                                       Initiator_Filter_Policy,
                                       Peer_Address_Type,
                                       Peer_Address,
                                       Own_Address_Type,
                                       Conn_Interval_Min,
                                       Conn_Interval_Max,
                                       Conn_Latency,
                                       Supervision_Timeout,
                                       Minimum_CE_Length,
                                       Maximum_CE_Length

Description:

The LE_Create_Connection command is used to create a Link Layer
connection to a connectable advertiser.

The LE_Scan_Interval and LE_Scan_Window parameters are
recommendations from the Host on how long (LE_Scan_Window) and how
frequently (LE_Scan_Interval) the Controller should scan. The
LE_Scan_Window parameter shall be set to a value smaller or equal to the
value set for the LE_Scan_Interval parameter. If both are set to the same
value, scanning should run continuously.
The Initiator_Filter_Policy is used to determine whether the White List is used.
If the White List is not used, the Peer_Address_Type and the Peer_Address
parameters specify the address type and address of the advertising device to
connect to.

Peer_Address_Type parameter indicates the type of address used in the
connectable advertisement sent by the peer. The Host shall not set
Peer_Address_Type to either 0x02 or 0x03 if both the Host and the Controller
support the LE Set Privacy Mode command. If a Controller that supports the LE
Set Privacy Mode command receives the LE Create Connection command with
Peer_Address_Type set to either 0x02 or 0x03, it may use either device
privacy mode or network privacy mode for that peer device.

Peer_Address parameter indicates the Peer’s Public Device Address, Random
(static) Device Address, Non-Resolvable Private Address or Resolvable
Private Address depending on the Peer_Address_Type parameter.

Own_Address_Type parameter indicates the type of address being used in the
connection request packets.


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The Conn_Interval_Min and Conn_Interval_Max parameters define the
minimum and maximum allowed connection interval. The Conn_Interval_Min
parameter shall not be greater than the Conn_Interval_Max parameter.

The Conn_Latency parameter defines the maximum allowed connection
latency (see [Vol 6] Part B, Section 4.5.1).

The Supervision_Timeout parameter defines the link supervision timeout for
the connection. The Supervision_Timeout in milliseconds shall be larger than
(1 + Conn_Latency) * Conn_Interval_Max * 2, where Conn_Interval_Max is
given in milliseconds. (See [Vol 6] Part B, Section 4.5.2).

The Minimum_CE_Length and Maximum_CE_Length parameters are
informative parameters providing the Controller with the expected minimum
and maximum length of the connection events. The Minimum_CE_Length
parameter shall be less than or equal to the Maximum_CE_Length parameter.

If the Host issues this command when another LE_Create_Connection
command is pending in the Controller, the Controller shall return the error code
Command Disallowed (0x0C).

If the Own_Address_Type parameter is set to 0x01 and the random address for
the device has not been initialized, the Controller shall return the error code
Invalid HCI Command Parameters (0x12).

If the Own_Address_Type parameter is set to 0x03, the Initiator_Filter_Policy
parameter is set to 0x00, the controller's resolving list did not contain a
matching entry, and the random address for the device has not been initialized,
the Controller shall return the error code Invalid HCI Command Parameters
(0x12).

If the Own_Address_Type parameter is set to 0x03, the Initiator_Filter_Policy
parameter is set to 0x01, and the random address for the device has not been
initialized, the Controller shall return the error code Invalid HCI Command
Parameters (0x12).

Command Parameters:

LE_Scan_Interval:                                                              Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               This is defined as the time interval from when the Controller started
                          its last LE scan until it begins the subsequent LE scan.
                          Range: 0x0004 to 0x4000
                          Time = N * 0.625 ms
                          Time Range: 2.5 ms to 10.24 s




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LE_Scan_Window:                                                                  Size: 2 Octets
 Value                     Parameter Description

 N = 0xXXXX                Amount of time for the duration of the LE scan. LE_Scan_Window
                           shall be less than or equal to LE_Scan_Interval
                           Range: 0x0004 to 0x4000
                           Time = N * 0.625 ms
                           Time Range: 2.5 ms to 10.24 s

Initiator_Filter_Policy:                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     White List is not used to determine which advertiser to connect to.
                          Peer_Address_Type and Peer_Address shall be used.

 0x01                     White List is used to determine which advertiser to connect to.
                          Peer_Address_Type and Peer_Address shall be ignored.
 0x02 – 0xFF              Reserved for future use.

Peer_Address_Type:                                                                 Size: 1 Octet
 Value                    Parameter Description

 0x00                     Public Device Address
 0x01                     Random Device Address

 0x02                     Public Identity Address (Corresponds to peer’s Resolvable Private
                          Address). This value shall only be used by the Host if either the Host
                          or the Controller does not support the LE Set Privacy Mode com-
                          mand.
 0x03                     Random (static) Identity Address (Corresponds to peer’s Resolvable
                          Private Address). This value shall only be used by a Host if either the
                          Host or the Controller does not support the LE Set Privacy Mode
                          command.
 0x04 – 0xFF              Reserved for future use

Peer_Address:                                                                    Size: 6 Octets
 Value                         Parameter Description

 0xXXXXXXXXXXXX                Public Device Address, Random Device Address, Public Identity
                               Address, or Random (static) Identity Address of the device to be
                               connected

Own_Address_Type:                                                                  Size: 1 Octet
 Value                       Parameter Description

 0x00                        Public Device Address
 0x01                        Random Device Address



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 Value                       Parameter Description

 0x02                        Controller generates Resolvable Private Address based on the
                             local IRK from the resolving list. If the resolving list contains no
                             matching entry, use the public address.
 0x03                        Controller generates Resolvable Private Address based on the
                             local IRK from the resolving list. If the resolving list contains no
                             matching entry, use the random address from the most recent
                             successful LE_Set_Random_Address Command.
 0x04 – 0xFF                 Reserved for future use

Conn_Interval_Min:                                                                Size: 2 Octets
 Value                      Parameter Description

 N = 0xXXXX                 Minimum value for the connection interval. This shall be less than
                            or equal to Conn_Interval_Max.
                            Range: 0x0006 to 0x0C80
                            Time = N * 1.25 ms
                            Time Range: 7.5 ms to 4 s.

 0x0000 – 0x0005 and        Reserved for future use
 0x0C81 – 0xFFFF

Conn_Interval_Max:                                                                Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Maximum value for the connection interval. This shall be greater
                          than or equal to Conn_Interval_Min.
                          Range: 0x0006 to 0x0C80
                          Time = N * 1.25 ms
                          Time Range: 7.5 ms to 4 s.

 0x0000 – 0x0005          Reserved for future use
 and 0x0C81 –
 0xFFFF

Conn_Latency:                                                                     Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Slave latency for the connection in number of connection events.
                          Range: 0x0000 to 0x01F3




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Supervision_Timeout:                                                           Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Supervision timeout for the LE Link. (See [Vol 6] Part B, Section
                          4.5.2)
                          Range: 0x000A to 0x0C80
                          Time = N * 10 ms
                          Time Range: 100 ms to 32 s

 0x0000 - 0x0009          Reserved for future use
 and
 0x0C81 - 0xFFFF

Minimum_CE_Length:                                                             Size: 2 Octets
 Value                       Parameter Description

 N = 0xXXXX                  Information parameter about the minimum length of connection
                             event needed for this LE connection.
                             Range: 0x0000 – 0xFFFF
                             Time = N * 0.625 ms.

Maximum_CE_Length:                                                             Size: 2 Octets
 Value               Parameter Description

 N = 0xXXXX          Information parameter about the maximum length of connection event
                     needed for this LE connection.
                     Range: 0x0000 – 0xFFFF
                     Time = N * 0.625 ms.

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Create_Connection command, the
Controller sends the Command Status event to the Host. An LE Connection
Complete or LE Enhanced Connection Complete event shall be generated
when a connection is created or the connection creation procedure is
cancelled. If a connection is created and the Controller supports the LE
Channel Selection Algorithm #2 feature, this event shall be immediately
followed by an LE Channel Selection Algorithm Event.

Note: No Command Complete event is sent by the Controller to indicate that
this command has been completed. Instead, the LE Connection Complete or
LE Enhanced Connection Complete event indicates that this command has
been completed.



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7.8.13 LE Create Connection Cancel Command


                                              Command
 Command                     OCF              parameters           Return Parameters

 HCI_LE_Create               0x000E                               Status
 _Connection_Cancel

Description:

The LE_Create_Connection_Cancel command is used to cancel the
LE_Create_Connection or LE_Extended_Create_Connection commands. This
command shall only be issued after the LE_Create_Connection or
LE_Extended_Create_Connection commands have been issued, a Command
Status event has been received for the LE Create Connection or
LE_Extended_Create_Connection commands, and before the LE Connection
Complete or LE Enhanced Connection Complete events.

Command Parameters:

None.

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                      Parameter Description

 0x00                       LE_Create_Connection_Cancel command succeeded.
 0x01 – 0xFF                LE_Create_Connection_Cancel command failed. See [Vol 2] Part
                            D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Create_Connection_Cancel command has completed, a
Command Complete event shall be generated.

If the LE_Create_Connection_Cancel command is sent to the Controller
without a preceding LE_Create_Connection or
LE_Extended_Create_Connection command, the Controller shall return a
Command Complete event with the error code Command Disallowed (0x0C).

If the cancellation was successful then, after the Command Complete event for
the LE_Create_Connection_Cancel command, either an LE Connection
Complete or an LE Enhanced Connection Complete event shall be generated.

In either case, the event shall be sent with the error code Unknown Connection
Identifier (0x02).




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7.8.14 LE Read White List Size Command


 Command                  OCF          Command parameters            Return Parameters

 HCI_LE_Read_             0x000F                                    Status,
 White_List_Size                                                    White_List_Size

Description:

The LE_Read_White_List_Size command is used to read the total number of
White List entries that can be stored in the Controller. Note: The number of
entries that can be stored is not fixed and the Controller can change it at any
time (e.g. because the memory used to store the White List can also be used
for other purposes).

Command Parameters:

None.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Read_White_List_Size command succeeded.
 0x01 – 0xFF              LE_Read_White_List_Size command failed. See [Vol 2] Part D,
                          Error Codes for a list of error codes and descriptions.

White_List_Size:                                                                 Size: 1 Octet
 Value                     Parameter Description

 0x01 – 0xFF               Total number of White List entries that can be stored in the
                           Controller.
 0x00                      Reserved for future use

Event(s) Generated (unless masked away):

When the LE_Read_White_List_Size command has completed, a Command
Complete event shall be generated.




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7.8.15 LE Clear White List Command


 Command                  OCF          Command parameters         Return Parameters

 HCI_LE_Clear_            0x0010                                 Status
 White_List

Description:

The LE_Clear_White_List command is used to clear the White List stored in
the Controller.

This command can be used at any time except when:
• any advertising filter policy uses the White List and advertising is enabled.
• the scanning filter policy uses the White List and scanning is enabled.
• the initiator filter policy uses the White List and an LE_Create_Connection
  command is outstanding.

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                     Parameter Description

 0x00                      LE_Clear_White_List command succeeded.
 0x01 – 0xFF               LE_Clear_White_List command failed. See [Vol 2] Part D, Error
                           Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE Clear White List command has completed, a Command
Complete event shall be generated.




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7.8.16 LE Add Device To White List Command


 Command                  OCF          Command parameters        Return Parameters

 HCI_LE_Add               0x0011       Address_Type,             Status
 _De-                                  Address
 vice_To_White_List

Description:

The LE_Add_Device_To_White_List command is used to add a single device
to the White List stored in the Controller.

This command can be used at any time except when:
• any advertising filter policy uses the White List and advertising is enabled.
• the scanning filter policy uses the White List and scanning is enabled.
• the initiator filter policy uses the White List and a create connection
  command is outstanding.

When a Controller cannot add a device to the White List because there is no
space available, it shall return the error code Memory Capacity Exceeded
(0x07).

Address is ignored when Address_Type is set to 0xFF.

Command Parameters:

Address_Type:                                                                   Size: 1 Octet
 Value                      Parameter Description

 0x00                       Public Device Address

 0x01                       Random Device Address
 0xFF                       Devices sending anonymous advertisements
 All other values           Reserved for future use.

Address:                                                                      Size: 6 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXX              Public Device Address or Random Device Address of the device
                             to be added to the White List.




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Return Parameters:

Status:                                                                    Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Add_Device_To_White_List command succeeded.
 0x01 – 0xFF              LE_Add_Device_To_White_List command failed. See [Vol 2] Part
                          D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Add_Device_To_White_List command has completed, a
Command Complete event shall be generated.




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7.8.17 LE Remove Device From White List Command


 Command                  OCF          Command parameters             Return Parameters

 HCI_LE_Remove            0x0012       Address_Type,                 Status
 _Device_From                          Address
 _White_List

Description:

The LE_Remove_Device_From_White_List command is used to remove a
single device from the White List stored in the Controller.

This command can be used at any time except when:
• any advertising filter policy uses the White List and advertising is enabled.
• the scanning filter policy uses the White List and scanning is enabled.
• the initiator filter policy uses the White List and a create connection
  command is outstanding.

Address is ignored when Address_Type is set to 0xFF.

Command Parameters:

Address_Type:                                                                       Size: 1 Octet
 Value                        Parameter Description

 0x00                         Public Device Address
 0x01                         Random Device Address

 0xFF                         Devices sending anonymous advertisements
 All other values             Reserved for future use.

Address:                                                                          Size: 6 Octets
 Value                        Parameter Description

 0xXXXXXXXXXXXX               Public Device Address or Random Device Address of the device
                              to be removed from the White List.

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                       Parameter Description

 0x00                        LE_Remove_Device_From_White_List command succeeded.

 0x01 – 0xFF                 LE_Remove_Device_From_White_List command failed. See
                             [Vol 2] Part D, Error Codes for a list of error codes and descrip-
                             tions.



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Event(s) Generated (unless masked away):
When the LE_Remove_Device_From_White_List command has completed, a
Command Complete event shall be generated.




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7.8.18 LE Connection Update Command


 Command                  OCF          Command parameters         Return Parameters

 HCI_LE_Connec-           0x0013       Connection_Handle,
 tion_Update                           Conn_Interval_Min,
                                       Conn_Interval_Max,
                                       Conn_Latency,
                                       Supervision_Timeout,
                                       Minimum_CE_Length,
                                       Maximum_CE_Length

Description:

The LE_Connection_Update command is used to change the Link Layer
connection parameters of a connection. This command may be issued on both
the master and slave.

The Conn_Interval_Min and Conn_Interval_Max parameters are used to define
the minimum and maximum allowed connection interval. The
Conn_Interval_Min parameter shall not be greater than the Conn_Interval_Max
parameter.

The Conn_Latency parameter shall define the maximum allowed connection
latency.

The Supervision_Timeout parameter shall define the link supervision timeout
for the LE link. The Supervision_Timeout in milliseconds shall be larger than (1
+ Conn_Latency) * Conn_Interval_Max * 2, where Conn_Interval_Max is given
in milliseconds.

The Minimum_CE_Length and Maximum_CE_Length are information
parameters providing the Controller with a hint about the expected minimum
and maximum length of the connection events. The Minimum_CE_Length shall
be less than or equal to the Maximum_CE_Length.

The actual parameter values selected by the Link Layer may be different from
the parameter values provided by the Host through this command.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                          Parameter Description

 0xXXXX                         Connection_Handle
                                Range 0x0000-0x0EFF (all other values reserved for future
                                use)




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Conn_Interval_Min:                                                             Size: 2 Octets
 Value                           Parameter Description

 N = 0xXXXX                      Minimum value for the connection interval. This shall be less
                                 than or equal to Conn_Interval_Max.
                                 Range: 0x0006 to 0x0C80
                                 Time = N * 1.25 ms
                                 Time Range: 7.5 ms to 4 s.

 0x0000-0x0005 and               Reserved for future use
 0x0C81-0xFFFF

Conn_Interval_Max:                                                             Size: 2 Octets
 Value                          Parameter Description

 N = 0xXXXX                     Maximum value for the connection interval. This shall be
                                greater than or equal to Conn_Interval_Min.
                                Range: 0x0006 to 0x0C80
                                Time = N * 1.25 ms
                                Time Range: 7.5 ms to 4 s.

 0x0000-0x0005 and              Reserved for future use
 0x0C81-0xFFFF

Conn_Latency:                                                                  Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Slave latency for the connection in number of connection events.
                          Range: 0x0000 to 0x01F3
 0x01F4 – 0xFFFF          Reserved for future use.

Supervision_Timeout:                                                           Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Supervision timeout for the LE Link.
                          Range: 0x000A to 0x0C80
                          Mandatory Range: 0x000A to 0x0C80
                          Time = N * 10 ms
                          Time Range: 100 ms to 32 s

 0x0001-0x0009 and        Reserved for future use
 0x0C81-0xFFFF




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Minimum_CE_Length:                                                             Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Information parameter about the minimum length of connection event
                          needed for this LE connection. How this value is used is outside the
                          scope of this specification.
                          Range: 0x0000 – 0xFFFF
                          Time = N * 0.625 ms.

Maximum_CE_Length:                                                             Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Information parameter about the maximum length of connection event
                          needed for this LE connection. How this value is used is outside the
                          scope of this specification.
                          Range: 0x0000 – 0xFFFF
                          Time = N * 0.625 ms.

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Connection_Update command, the
Controller sends the Command Status event to the Host. The LE Connection
Update Complete event shall be generated after the connection parameters
have been applied by the Controller or if the command subsequently fails.

Note: A Command Complete event is not sent by the Controller to indicate that
this command has been completed. Instead, the LE Connection Update
Complete event indicates that this command has been completed.




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7.8.19 LE Set Host Channel Classification Command


 Command                    OCF            Command parameters               Return Parameters

 HCI_LE_Set_Host_C          0x0014         Channel_Map                     Status
 hannel_Classification

Description:

The LE_Set_Host_Channel_Classification command allows the Host to specify
a channel classification for data channels based on its “local information”. This
classification persists until overwritten with a subsequent
LE_Set_Host_Channel_Classification command or until the Controller is reset
using the Reset command (see [Vol 6] Part B, Section 4.5.8.1).

If this command is used, the Host should send it within 10 seconds of knowing
that the channel classification has changed. The interval between two
successive commands sent shall be at least one second.

This command shall only be used when the local device supports the Master
role.

Command Parameters:

Channel_Map:                                            Size: 5 Octet (37 Bits meaningful)
 Value                     Parameter Description

 0xXXXXXXXXXX              This parameter contains 37 1-bit fields.
                           The nth such field (in the range 0 to 36) contains the value for the
                           link layer channel index n.
                           Channel n is bad = 0.
                           Channel n is unknown = 1.
                           The most significant bits are reserved and shall be set to 0for future
                           use.
                           At least one channel shall be marked as unknown.

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Set_Host_Channel_Classification command succeeded.
 0x01 – 0xFF              LE_Set_Host_Channel_Classification command failed. See [Vol 2]
                          Part D, Error Codes for a list of error codes and descriptions.




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Event(s) Generated (unless masked away):

When the LE_Set_Host_Channel_Classification command has completed, a
Command Complete event shall be generated.




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7.8.20 LE Read Channel Map Command


 Command                  OCF          Command parameters          Return Parameters

 HCI_LE_Read_Cha          0x0015       Connection_Handle          Status,
 nnel_Map                                                         Connection_Handle,
                                                                  Channel_Map

Description:

The LE_Read_Channel_Map command returns the current Channel_Map for
the specified Connection_Handle. The returned value indicates the state of the
Channel_Map specified by the last transmitted or received Channel_Map (in a
CONNECT_IND or LL_CHANNEL_MAP_IND message) for the specified
Connection_Handle, regardless of whether the Master has received an
acknowledgment.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                      Parameter Description

 0xXXXX                     Connection_Handle
                            Range 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                     Parameter Description

 0x00                      LE_Read_Channel_Map command succeeded.
 0x01 – 0xFF               LE_Read_Channel_Map command failed. See [Vol 2] Part D, Error
                           Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                     Parameter Description

 0xXXXX                    Connection_Handle
                           Range 0x0000-0x0EFF (all other values reserved for future use)




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Channel_Map:                                                                    Size: 5 Octets
 Value                      Parameter Description

 0xXXXXXXXXXX               This parameter contains 37 1-bit fields.
                            The nth such field (in the range 0 to 36) contains the value for the
                            link layer channel index n.
                            Channel n is unused = 0.
                            Channel n is used = 1.
                            The most significant bits are reserved for future use.

Event(s) Generated (unless masked away):

When the LE_Read_Channel_Map command has completed, a Command
Complete event shall be generated.




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7.8.21 LE Read Remote Features Command


 Command                  OCF             Command parameters          Return Parameters

 HCI_LE_Read_             0x0016          Connection_Handle
 Remote_Features

Description:

This command requests, from the remote device identified by the connection
handle, the features used on the connection and the features supported by the
remote device. For details see [Vol 6] Part B, Section 4.6.

This command may be issued on both the master and slave.

Note: If a connection already exists between the two devices and the features
have already been fetched on that connection, the Controller may use a
cached copy of the features.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value         Parameter Description

 0xXXXX        Connection_Handle
               Range 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Read_Remote_Features command, the
Controller shall send the Command Status event to the Host. When the
Controller has completed the procedure to determine the remote features or
has determined that it will be using a cached copy, the Controller shall send a
LE Read Remote Features Complete event to the Host.

The LE Read Remote Features Complete event contains the status of this
command and the parameter describing the features used on the connection
and the features supported by the remote device.

Note: A Command Complete event is not sent by the Controller to indicate that
this command has been completed. Instead, the LE Read Remote Features
Complete event indicates that this command has been completed.




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7.8.22 LE Encrypt Command


 Command                  OCF          Command parameters            Return Parameters

 HCI_LE_Encrypt           0x0017       Key,                         Status,
                                       Plaintext_Data               Encrypted_Data

Description:

The LE_Encrypt command is used to request the Controller to encrypt the
Plaintext_Data in the command using the Key given in the command and
returns the Encrypted_Data to the Host. The AES-128 bit block cypher is
defined in NIST Publication FIPS-197 (http://csrc.nist.gov/publications/fips/
fips197/fips-197.pdf).

Command Parameters:

Key:                                                                          Size: 16 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXXXX            128 bit key for the encryption of the data given in the command.
 XXXXXXXXXXXXXXX             The most significant octet of the key corresponds to key[0] using
 XXX                         the notation specified in FIPS 197.

Plaintext_Data:                                                               Size: 16 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXXXX            128 bit data block that is requested to be encrypted.
 XXXXXXXXXXXXXXX             The most significant octet of the PlainText_Data corresponds to
 XXX                         in[0] using the notation specified in FIPS 197.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value             Parameter Description

 0x00              LE_Encrypt command succeeded.
 0x01 – 0xFF       LE_Encrypt command failed. See [Vol 2] Part D, Error Codes for a list of
                   error codes and descriptions.

Encrypted_Data:                                                               Size: 16 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXXXX            128 bit encrypted data block.
 XXXXXXXXXXXXXXX             The most significant octet of the Encrypted_Data corresponds to
 XXX                         out[0] using the notation specified in FIPS 197.




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Event(s) Generated (unless masked away):

When the LE_Encrypt command has completed, a Command Complete event
shall be generated.




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7.8.23 LE Rand Command


 Command                  OCF             Command parameters            Return Parameters

 HCI_LE_Rand              0x0018                                       Status,
                                                                       Random_Number

Description:

The LE_Rand command is used to request the Controller to generate 8 octets
of random data to be sent to the Host. The Random_Number shall be
generated according to [Vol 2] Part H, Section 2 if the LE Feature (LE
Encryption) is supported.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                Parameter Description

 0x00                 LE_Rand command succeeded.

 0x01 – 0xFF          LE_Rand command failed. See [Vol 2] Part D, Error Codes for a list of
                      error codes and descriptions.

Random_Number:                                                               Size: 8 Octets
 Value                    Parameter Description

 0xXXXXXXXXXXX            Random Number
 XXXXX

Event(s) Generated (unless masked away):

When the LE_Rand command has completed, a Command Complete event
shall be generated.




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7.8.24 LE Start Encryption Command


 Command                  OCF              Command parameters          Return Parameters

 HCI_LE_Start_            0x0019           Connection_Handle,
 Encryption                                Random_Number,
                                           Encrypted_Diversifier,
                                           Long_Term_Key

Description:

The LE_Start_Encryption command is used to authenticate the given
encryption key associated with the remote device specified by the
Connection_Handle, and once authenticated will encrypt the connection. The
parameters are as defined in [Vol 3] Part H, Section 2.4.4.

If the connection is already encrypted then the Controller shall pause
connection encryption before attempting to authenticate the given encryption
key, and then re-encrypt the connection. While encryption is paused no user
data shall be transmitted.

On an authentication failure, the connection shall be automatically
disconnected by the Link Layer. If this command succeeds, then the
connection shall be encrypted.
This command shall only be used when the local device’s role is Master.

Command Parameters:

Connection_Handle:                                     Size: 2 Octets (12 Bits meaningful)
 Value                       Parameter Description

 0xXXXX                      Connection_Handle
                             Range 0x0000-0x0EFF (all other values reserved for future use)

Random_Number:                                                               Size: 8 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXXXX            64 bit random number.
 XX

Encrypted_Diversifier:                                                       Size: 2 Octets
 Value                       Parameter Description

 0xXXXX                      16 bit encrypted diversifier.




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Long_Term_Key:                                                 Size: 16 Octets
 Value                      Parameter Description

 0xXXXXXXXXXXXXXX           128 bit long term key.
 XXXXXXXXXXXXXXX
 XXX

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Start_Encryption command it shall send
the Command Status event to the Host. If the connection is not encrypted when
this command is issued, an Encryption Change event shall occur when
encryption has been started for the connection. If the connection is encrypted
when this command is issued, an Encryption Key Refresh Complete event
shall occur when encryption has been resumed.

Note: A Command Complete event is not sent by the Controller to indicate that
this command has been completed. Instead, the Encryption Change or
Encryption Key Refresh Complete events indicate that this command has been
completed.




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7.8.25 LE Long Term Key Request Reply Command


 Command                  OCF             Command parameters              Return Parameters

 HCI_LE_Long_             0x001A          Connection_Handle,             Status,
 Term_Key_                                Long_Term_Key                  Connection_Handle
 Request_Reply

Description:
The LE_Long_Term_Key_Request Reply command is used to reply to an LE
Long Term Key Request event from the Controller, and specifies the
Long_Term_Key parameter that shall be used for this Connection_Handle. The
Long_Term_Key is used as defined in [Vol 6] Part B, Section 5.1.3.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                       Parameter Description

 0xXXXX                      Connection_Handle
                             Range 0x0000-0x0EFF (all other values reserved for future use)

Long Term Key:                                                                 Size: 16 Octets
 Value                       Parameter Description

 0xXXXXXXXXXXXXXX            128 bit long term key for the given connection.
 XXXXXXXXXXXXXXX
 XXX

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                       Parameter Description

 0x00                        LE_Long_Term_Key_Request_Reply command succeeded.

 0x01 – 0xFF                 LE_Long_Term_Key_Request_Reply command failed. See [Vol 2]
                             Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                       Parameter Description

 0xXXXX                      Connection_Handle
                             Range 0x0000-0x0EFF (all other values reserved for future use)

Event(s) Generated (unless masked away):
When the LE_Long_Term_Key_Request_Reply command has completed, a
Command Complete event shall be generated.

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7.8.26 LE Long Term Key Request Negative Reply Command


 Command                  OCF             Command parameters             Return Parameters

 HCI_LE_Long              0x001B          Connection_Handle              Status,
 _Term_Key                                                               Connection_Handle
 _Request
 _Negative_Reply

Description:

The LE_Long_Term_Key_Request_Negative_Reply command is used to reply
to an LE Long Term Key Request event from the Controller if the Host cannot
provide a Long Term Key for this Connection_Handle.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value               Parameter Description

 0x00                LE_Long_Term_Key_Request_Negative_Reply command succeeded.

 0x01 – 0xFF         LE_Long_Term_Key_Request_Negative_Reply command failed. See
                     [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value               Parameter Description

 0xXXXX              Connection_Handle
                     Range 0x0000-0x0EFF (all other values reserved for future use)

Event(s) Generated (unless masked away):

When the LE_Long_Term_Key_Request_Negative_Reply command has
completed, a Command Complete event shall be generated.




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7.8.27 LE Read Supported States Command


 Command                                      OCF                                      Command parameters                                             Return Parameters

 HCI_LE_Read_                                 0x001C                                                                                                Status,
 Supported_States                                                                                                                                   LE_States

Description:

The LE_Read_Supported_States command reads the states and state
combinations that the link layer supports. See [Vol 6] Part B, Section 1.1.1.

LE_States is an 8-octet bit field. If a bit is set to 1 then this state or state
combination is supported by the Controller. Multiple bits in LE_States may be
set to 1 to indicate support for multiple state and state combinations.

Command Parameters:

None.

Return Parameters:

Status:                                                                                                                                                                 Size: 1 Octet
 Value                          Parameter Description

 0x00                           LE_Read_Supported_States command succeeded.
 0x01 – 0xFF                    LE_Read_Supported_States command failed. See [Vol 2] Part D, Error
                                Codes for a list of error codes and descriptions.

LE_States:                                                                                                                                                             Size: 8 Octets
           SUPPORTED STATES & ROLES
            Advertising State
            Scannable

                                  Advertising State
                                  Connectable

                                                      Advertising State
                                                      Non-connectable
                                                                          Advertising State
                                                                          Directed
                                                                          High Duty Cycle
                                                                                              Advertising State
                                                                                              Directed
                                                                                              Low Duty Cycle

                                                                                                                  Scanning State
                                                                                                                  Active

                                                                                                                                   Scanning State
                                                                                                                                   Passive


                                                                                                                                                    Initiating State


                                                                                                                                                                        (Master Role)
                                                                                                                                                                        Connection State

                                                                                                                                                                                           (Slave Role)
                                                                                                                                                                                           Connection State




 Bit
 0                                                          X
 1                X
 2                                      X
 3                                                                                X
 4                                                                                                                                      X
 5                                                                                                                     X
 6                                                                                                                                                     X
 7                                                                                                                                                                                              X
 8                                                          X                                                                           X
 9                X                                                                                                                     X


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           SUPPORTED STATES & ROLES


            Advertising State
            Scannable

                                Advertising State
                                Connectable

                                                    Advertising State
                                                    Non-connectable
                                                                        Advertising State
                                                                        Directed
                                                                        High Duty Cycle
                                                                                            Advertising State
                                                                                            Directed
                                                                                            Low Duty Cycle

                                                                                                                Scanning State
                                                                                                                Active

                                                                                                                                 Scanning State
                                                                                                                                 Passive


                                                                                                                                                  Initiating State


                                                                                                                                                                     (Master Role)
                                                                                                                                                                     Connection State

                                                                                                                                                                                        (Slave Role)
                                                                                                                                                                                        Connection State
 Bit
 10                                   X                                                                                               X
 11                                                                             X                                                     X
 12                                                       X                                                          X
 13               X                                                                                                  X
 14                                   X                                                                              X
 15                                                                             X                                    X
 16                                                       X                                                                                          X
 17               X                                                                                                                                  X
 18                                                       X                                                                                                               X
 19               X                                                                                                                                                       X
 20                                                       X                                                                                                                                  X
 21               X                                                                                                                                                                          X
 22                                                                                                                                   X              X
 23                                                                                                                  X                               X
 24                                                                                                                                   X                                   X
 25                                                                                                                  X                                                    X
 26                                                                                                                                   X                                                      X
 27                                                                                                                  X                                                                       X
 28                                                                                                                                                  X                    X
 29                                                                                                 X
 30                                                                                                 X                                 X
 31                                                                                                 X                X
 32                                   X                                                                                                              X
 33                                                                             X                                                                    X
 34                                                                                                 X                                                X
 35                                   X                                                                                                                                   X
 36                                                                             X                                                                                         X
 37                                                                                                 X                                                                     X
 38                                   X                                                                                                                                                      X
 39                                                                             X                                                                                                            X
 40                                                                                                 X                                                                                        X
 41                                                                                                                                                  X                                       X

All bits not listed in this table, and the value with all bits set to 0, are reserved
for future use.

Event(s) Generated (unless masked away):
When the LE_Read_Supported_States command has completed, a Command
Complete event will be generated.

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7.8.28 LE Receiver Test Command


                                                                        Return
 Command                        OCF            Command Parameters       Parameters

 HCI_LE_Receiver_Test           0x001D         RX_Channel               Status

Description:

This command is used to start a test where the DUT receives test reference
packets at a fixed interval. The tester generates the test reference packets.

Command Parameters:

RX_Channel:                                                                    Size: 1 Octet
 Value                    Parameter Description

 N = 0xXX                 N = (F – 2402) / 2

                          Range: 0x00 – 0x27. Frequency Range : 2402 MHz to 2480 MHz

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Receiver_Test command succeeded.
 0x01 – 0xFF              LE_Receiver_Test command failed. See [Vol 2] Part D, Error Codes
                          for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Receiver_Test command has completed, a Command Complete
event shall be generated.




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7.8.29 LE Transmitter Test Command


                                                                             Return
 Command                          OCF          Command Parameters            Parameters

 HCI_LE_Transmitter_Test          0x001E       TX_Channel,                   Status
                                               Length_Of_Test_Data,
                                               Packet_Payload

Description:

This command is used to start a test where the DUT generates test reference
packets at a fixed interval. The Controller shall transmit at maximum power.

An LE Controller supporting the LE_Transmitter_Test command shall support
Packet_Payload values 0x00, 0x01 and 0x02. An LE Controller may support
other values of Packet_Payload.

Command Parameters:

TX_Channel:                                                                      Size: 1 Octet
 Value                    Parameter Description

 N = 0xXX                 N = (F – 2402) / 2
                          Range: 0x00 – 0x27. Frequency Range : 2402 MHz to 2480 MHz

Length_Of_Test_Data:                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00-0xFF                Length in bytes of payload data in each packet

Packet_Payload:                                                                  Size: 1 Octet
 Value                    Parameter Description

 0x00                     PRBS9 sequence ‘11111111100000111101…’ (in transmission order)
                          as described in [Vol 6] Part F, Section 4.1.5

 0x01                     Repeated ‘11110000’ (in transmission order) sequence as described
                          in [Vol 6] Part F, Section 4.1.5
 0x02                     Repeated ‘10101010’ (in transmission order) sequence as described
                          in [Vol 6] Part F, Section 4.1.5
 0x03                     PRBS15 sequence as described in [Vol 6] Part F, Section 4.1.5

 0x04                     Repeated ‘11111111’ (in transmission order) sequence
 0x05                     Repeated ‘00000000’ (in transmission order) sequence
 0x06                     Repeated ‘00001111’ (in transmission order) sequence

 0x07                     Repeated ‘01010101’ (in transmission order) sequence


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 Value                    Parameter Description

 All other values         Reserved for future use

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Transmitter_Test command succeeded.

 0x01 – 0xFF              LE_Transmitter_Test command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Transmitter_Test command has completed, a Command
Complete event shall be generated.




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7.8.30 LE Test End Command


                                             Command
 Command                        OCF          Parameters              Return Parameters

 HCI_LE_Test_End                0x001F                               Status,
                                                                     Number_Of_Packets

Description:

This command is used to stop any test which is in progress. The
Number_Of_Packets for a transmitter test shall be reported as 0x0000. The
Number_Of_Packets is an unsigned number and contains the number of
received packets.

Command Parameters:

None.

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Test_End command succeeded.
 0x01-0xFF                LE_Test_End command failed See [Vol 2] Part D, Error Codes for a
                          list of error codes and descriptions.

Number_Of_Packets:                                                           Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Number of packets received

Event(s) Generated (unless masked away):

When the LE_Test_End command has completed, a Command Complete
event shall be generated.




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7.8.31 LE Remote Connection Parameter Request Reply Command


 Command                           OCF        Command Parameters        Return Parameters

 LE_Remote_Connection_             0x0020     Connection_Handle,        Status,
 Parameter_ Request_Reply                     Interval_Min,             Connection_Handle
                                              Interval_Max,
                                              Latency,
                                              Timeout,
                                              Minimum_CE_Length,
                                              Maximum_CE_Length

Description:

Both the master Host and the slave Host use this command to reply to the HCI
LE Remote Connection Parameter Request event. This indicates that the Host
has accepted the remote device’s request to change connection parameters.

The Interval_Min and Interval_Max parameters define the minimum and
maximum allowed connection interval. The Interval_Min parameter shall not be
greater than the Interval_Max parameter.

The Latency parameter shall define the maximum allowed slave latency for the
connection in number of connection events.

The Timeout parameter shall define the link supervision timeout for the LE link.
The Timeout in milliseconds shall be larger than (1 + Latency) * Interval_Max * 2,
where Interval_Max is given in milliseconds.

The Minimum_CE_Length and Maximum_CE_Length are information
parameters providing the Controller with a hint about the expected minimum
and maximum length of the connection events. The Minimum_CE_Length shall
be less than or equal to the Maximum_CE_Length.

The actual parameter values selected by the Link Layer may be different from
the parameter values provided by the Host through this command.

Command Parameters:

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)




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Interval_Min:                                                                 Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Minimum value of the connection interval.
                          Range: 0x0006 to 0x0C80
                          Time = N * 1.25 ms
                          Time Range: 7.5 ms to 4 s

Interval_Max:                                                                 Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Maximum value of the connection interval.
                          Range: 0x0006 to 0x0C80
                          Time = N * 1.25 ms
                          Time Range: 7.5 ms to 4 s

Latency:                                                                      Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Maximum allowed slave latency for the connection specified as the
                          number of connection events.
                          Range: 0x0000 to 0x01F3 (499)

Timeout:                                                                      Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Supervision timeout for the connection.
                          Range: 0x000A to 0x0C80
                          Time = N * 10 ms
                          Time Range: 100 ms to 32 s

Minimum_CE_Length:                                                            Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Information parameter about the minimum length of connection event
                          needed for this LE connection.
                          Range: 0x0000 to 0xFFFF
                          Time = N * 0.625 ms
                          Time Range: 0 ms to 40.9 s




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Maximum_CE_Length:                                                                Size: 2 Octets
 Value                    Parameter Description

 N = 0xXXXX               Information parameter about the maximum length of connection
                          event needed for this LE connection.
                          Range: 0x0000 to 0xFFFF
                          Time = N * 0.625 ms
                          Time Range: 0 ms to 40.9 s

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Remote_Connection_Parameter_ Request_Reply command
                          succeeded.
 0x01-0xFF                LE_Remote_Connection_Parameter_ Request_Reply command
                          failed. See [Vol 2] Part D, Error Codes for a list of error codes and
                          description.

Connection_Handle:                                      Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)




Events(s) generated (unless masked away):

When the LE_Remote_Connection_Parameter_Request_Reply command has
completed, a Command Complete event shall be generated.




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7.8.32 LE Remote Connection Parameter Request Negative Reply
Command


 Command                            OCF        Command Parameters           Return Parameters

 LE_Remote_Connection_              0x0021     Connection_Handle,           Status,
 Parameter_Request_                            Reason                       Connection_Handle
 Negative_Reply

Description:

Both the master Host and the slave Host use this command to reply to the HCI
LE Remote Connection Parameter Request event. This indicates that the Host
has rejected the remote device’s request to change connection parameters.
The reason for the rejection is given in the Reason parameter.

Instead of issuing this command, the Host should try to provide alternative
connection parameters to the Link Layer via the HCI LE Remote Connection
Parameter Request Reply command (Section 7.8.31).

Command Parameters:

Connection_Handle:                                      Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)

Reason:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0xXX                     Reason that the connection parameter request was rejected. See
                          [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Remote_Connection_Parameter_ Request_Negative_Reply
                          command succeeded.
 0x01-0xFF                LE_Remote_Connection_Parameter_ Request_Negative_Reply
                          command failed. See [Vol 2] Part D, Error Codes for a list of error
                          codes and description.




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Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)




Events(s) generated (unless masked away):

When the LE_Remote_Connection_Parameter_ Request_Negative_Reply
command has completed, a Command Complete event shall be generated.




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7.8.33 LE Set Data Length Command


 Command                          OCF        Command Parameters           Return Parameters

 HCI_LE_Set_Data_Length           0x0022     Connection_Handle,           Status,
                                             TxOctets,                    Connection_Handle
                                             TxTime

Description:

The LE_Set_Data_Length command allows the Host to suggest maximum
transmission packet size and maximum packet transmission time
(connMaxTxOctets and connMaxTxTime - see [Vol 6] Part B, Section 4.5.10) to
be used for a given connection. The Controller may use smaller or larger
values based on local information.

Command Parameters:

Connection_Handle:                                    Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)

TxOctets:                                                                       Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Preferred maximum number of payload octets that the local Control-
                          ler should include in a single Link Layer packet on this connection.
                          Range 0x001B-0x00FB (all other values reserved for future use)

TxTime:                                                                         Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   Preferred maximum number of microseconds that the local Controller
                          should use to transmit a single Link Layer packet on this connection.
                          Range 0x0148-0x4290 (all other values reserved for future use)

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Set_Data_Length command succeeded.
 0x01 - 0xFF              LE_Set_Data_Length command failed. See [Vol 2] Part D, Error
                          Codes for a list of error codes and description.




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Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value                    Parameter Description

 0xXXXX                   Connection_Handle
                          Range 0x0000-0x0EFF (all other values reserved for future use)

Event(s) generated (unless masked away):

When the LE_Set_Data_Length command has completed, a Command
Complete event shall be generated.

If the command causes the maximum transmission packet size or maximum
packet transmission time to change, an LE Data Length Change Event shall be
generated.




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7.8.34 LE Read Suggested Default Data Length Command


                                                       Command
 Command                                    OCF        Parameters      Return Parameters

 HCI_LE_Read_Suggested_Default_             0x0023                     Status,
 Data_Length                                                           SuggestedMaxTxOctets,
                                                                       SuggestedMaxTxTime

Description:

The LE_Read_Suggested_Default_Data_Length command allows the Host to
read the Host's suggested values (SuggestedMaxTxOctets and
SuggestedMaxTxTime) for the Controller's maximum transmitted number of
payload octets and maximum packet transmission time to be used for new
connections (see [Vol 6] Part B, Section 4.5.10).

Command Parameters:

None.

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Read_Suggested_Default_Data_Length command succeeded
 0x01 - 0xFF              LE_Read_Suggested_Default_Data_Length command failed. See
                          [Vol 2] Part D, Error Codes for a list of error codes and description.

SuggestedMaxTxOctets:                                                             Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   The Host's suggested value for the Controller's maximum transmitted
                          number of payload octets to be used for new connections.
                          Range 0x001B-0x00FB (all other values reserved for future use)
                          Default: 0x001B

SuggestedMaxTxTime:                                                               Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   The Host's suggested value for the Controller's maximum packet
                          transmission time to be used for new connections.
                          Range 0x0148-0x4290 (all other values reserved for future use)
                          Default: 0x0148




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Event(s) generated (unless masked away):

When the LE_Read_Suggested_Default_Data_Length command has
completed, a Command Complete event shall be generated.




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7.8.35 LE Write Suggested Default Data Length Command


                                                                                      Return
 Command                                    OCF        Command Parameters             Parameters

 HCI_LE_Write_Suggested_Default_            0x0024     SuggestedMaxTxOctets,          Status
 Data_Length                                           SuggestedMaxTxTime

Description:

The LE_Write_Suggested_Default_Data_Length command allows the Host to
specify its suggested values for the Controller's maximum transmission
number of payload octets and maximum packet transmission time to be used
for new connections. The Controller may use smaller or larger values for
connInitialMaxTxOctets and connInitialMaxTxTime based on local
information.(see [Vol 6] Part B, Section 4.5.10).

Command Parameters:

SuggestedMaxTxOctets:                                                             Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   The Host's suggested value for the Controller's maximum transmitted
                          number of payload octets to be used for new connections.
                          Range 0x001B-0x00FB (all other values reserved for future use)

SuggestedMaxTxTime:                                                               Size: 2 Octets
 Value                    Parameter Description

 0xXXXX                   The Host's suggested value for the Controller's maximum packet
                          transmission time to be used for new connections.
                          Range 0x0148-0x4290 (all other values reserved for future use)

Return Parameters:

Status:                                                                             Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Write_Suggested_Default_Data_Length command succeeded.
 0x01 - 0xFF              LE_Write_Suggested_Default_Data_Length command failed. See
                          [Vol 2] Part D, Error Codes for a list of error codes and description.

Event(s) generated (unless masked away):

When the LE_Write_Suggested_Default_Data_Length command has
completed, a Command Complete event shall be generated.




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7.8.36 LE Read Local P-256 Public Key Command


 Command                           OCF        Command Parameters   Return Parameters

 HCI_LE_Read_Local_P-256_          0x0025
 Public_Key

Description:

The LE_Read_Local_P-256_Public_Key command is used to return the local
P-256 public key from the Controller. The Controller shall generate a new P-
256 public/private key pair upon receipt of this command.

The keys returned via this command shall not be used when Secure
Connections is used over the BR/EDR transport.

Command Parameters:

None.

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Read_Local_P-256_Public_Key
command, the Controller shall send the Command Status event to the Host.
When the local P-256 public key generation finishes, an LE Read Local P-256
Public Key Complete event shall be generated.

No Command Complete event is sent by the Controller to indicate that this
command has been completed.




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7.8.37 LE Generate DHKey Command


 Command                        OCF       Command Parameters            Return Parameters

 HCI_LE_Generate_DHKey          0x0026    Remote_P-256_Public_Key

Description:

The LE_Generate_DHKey command is used to initiate generation of a Diffie-
Hellman key in the Controller for use over the LE transport. This command
takes the remote P-256 public key as input. The Diffie-Hellman key generation
uses the private key generated by LE_Read_Local_P256_Public_Key
command.

The Diffie-Hellman key returned via this command shall not be generated using
any keys used for Secure Connections over the BR/EDR transport.

Command Parameters:

Remote_P-256_Public_Key: Size:                                                     64 Octets
 Value                                         Parameter Description

 0xXXXXXXXXXXXXXXXX                            The remote P-256 public key:
 XXXXXXXXXXXXXXXX                              X, Y format
 XXXXXXXXXXXXXXXX                              Octets 31-0: X co-ordinate
 XXXXXXXXXXXXXXXX                              Octets 63-32: Y co-ordinate
 XXXXXXXXXXXXXXXX                              Little Endian Format
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX
 XXXXXXXXXXXXXXXX

Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Generate_DHKey command, the
Controller shall send the Command Status event to the Host. When the DHKey
generation finishes, an LE DHKey Generation Complete event shall be
generated.

No Command Complete event is sent by the Controller to indicate that this
command has been completed.




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7.8.38 LE Add Device To Resolving List Command


                                                                                 Return
 Command                          OCF        Command Parameters                  parameters

 HCI_LE_Add_Device_To_            0x0027     Peer_Identity_Address_Type,         Status
 Resolving_List                              Peer_Identity_Address,
                                             Peer_IRK,
                                             Local_IRK

Description:

The LE_Add_Device_To_Resolving_List command is used to add one device
to the list of address translations used to resolve Resolvable Private Addresses
in the Controller.

This command cannot be used when address translation is enabled in the
Controller and:
• Advertising is enabled
• Scanning is enabled
• Create connection command is outstanding

This command can be used at any time when address translation is disabled in
the Controller.

The added device shall be set to Network Privacy mode.

When a Controller cannot add a device to the list because there is no space
available, it shall return the error code Memory Capacity Exceeded (0x07).

Command Parameters:

Peer_Identity_Address_Type:                                                     Size: 1 Octet
 Value                          Parameter Description

 0x00                           Public Identity Address
 0x01                           Random (static) Identity Address

 0x02 – 0xFF                    Reserved for Future Use

Peer_Identity_Address:                                                        Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Public or Random (static) Identity address of the peer device




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Peer_IRK:                                                                  Size: 16 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXXXXXX             IRK of the peer device
 XXXXXXXXXXXXXXXX

Local_IRK:                                                                  Size:16 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXXXXXX             IRK of the local device
 XXXXXXXXXXXXXXXX

Return Parameters:

Status:                                                                        Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Add_Device_To_Resolving_List command succeeded
 0x01 – 0xFF                    LE_Add_Device_To_Resolving_List command failed. See
                                [Vol 2] Part D, Error Codes for a list of error codes and
                                descriptions.




Event(s) Generated (unless masked away):

When the LE_Add_Device_To_Resolving_List command has completed, a
Command Complete event shall be generated.




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7.8.39 LE Remove Device From Resolving List Command


                                                                                 Return
 Command                          OCF        Command Parameters                  parameters

 HCI_LE_Remove_Device_            0x0028     Peer_Identity_Address_Type,         Status
 From_Resolving_List                         Peer_Identity_Address

Description:

The LE_Remove_Device_From_Resolving_List command is used to remove
one device from the list of address translations used to resolve Resolvable
Private Addresses in the Controller.

This command cannot be used when address translation is enabled in the
Controller and:
• Advertising is enabled
• Scanning is enabled
• Create connection command is outstanding

This command can be used at any time when address translation is disabled in
the Controller.

When a Controller cannot remove a device from the resolving list because it is
not found, it shall return the error code Unknown Connection Identifier (0x02).

Command Parameters:

Peer_Identity_Address_Type:                                                     Size: 1 Octet
 Value                          Parameter Description

 0x00                           Public Identity Address

 0x01                           Random (static) Identity Address
 0x02 – 0xFF                    Reserved for Future Use

Peer_Device_Address:                                                          Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Public or Random (static) Identity Address of the peer device




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Return Parameters:

Status:                                                                         Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Remove_Device_From_Resolving_List command
                                succeeded
 0x01 – 0xFF                    LE_Remove_Device_From_Resolving_List command failed.
                                See [Vol 2] Part D, Error Codes for a list of error codes and
                                descriptions.




Event(s) Generated (unless masked away):

When the LE_Remove_Device_From_Resolving_List command has
completed, a Command Complete event shall be generated.




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7.8.40 LE Clear Resolving List Command


                                                     Command             Return
 Command                               OCF           Parameters          parameters

 HCI_LE_Clear_Resolving_List           0x0029                            Status

Description:

The LE_Clear_Resolving_List command is used to remove all devices from the
list of address translations used to resolve Resolvable Private Addresses in the
Controller.

This command cannot be used when address translation is enabled in the
Controller and:
• Advertising is enabled
• Scanning is enabled
• Create connection command is outstanding

This command can be used at any time when address translation is disabled in
the Controller.

Command Parameters:

None

Return Parameters:

Status:                                                                       Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Clear_Resolving_List command succeeded
 0x01 – 0xFF                    LE_Clear_Resolving_List command failed. See [Vol 2] Part D,
                                Error Codes for a list of error codes and descriptions.




Event(s) Generated (unless masked away):

When the LE_Clear_Resolving_List command has completed, a Command
Complete event shall be generated.




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7.8.41 LE Read Resolving List Size Command


                                                       Command
 Command                                    OCF        Parameters       Return parameters

 HCI_LE_Read_Resolving_List_Size            0x002A                      Status,
                                                                        Resolving_List_Size

Description:

The LE_Read_Resolving_List_Size command is used to read the total number
of address translation entries in the resolving list that can be stored in the
Controller. Note: The number of entries that can be stored is not fixed and the
Controller can change it at any time (e.g. because the memory used to store
the list can also be used for other purposes).

Command Parameters:

None

Return Parameters:

Status:                                                                           Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Read_Resolving_List_Size command succeeded
 0x01 – 0xFF                    LE_Read_Resolving_List_Size command failed. See [Vol 2]
                                Part D, Error Codes for a list of error codes and descriptions.

Resolving_List_Size:                                                              Size:1 Octet
 Value                          Parameter Description

 0xXX                           Number of address translation entries in the resolving list




Event(s) Generated (unless masked away):

When the LE_Read_Resolving_List_Size command has completed, a
Command Complete event shall be generated.




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7.8.42 LE Read Peer Resolvable Address Command


 Command                         OCF        Command Parameters          Return parameters

 HCI_LE_Read_                    0x002B     Peer_Identity_Address_      Status,
 Peer_Resolvable_Address                    Type,                       Peer_Resolvable_
                                            Peer_Identity_Address       Address

Description:

The LE_Read_Peer_Resolvable_Address command is used to get the current
peer Resolvable Private Address being used for the corresponding peer Public
and Random (static) Identity Address. The peer’s resolvable address being
used may change after the command is called.

This command can be used at any time.

When a Controller cannot find a Resolvable Private Address associated with
the Peer Identity Address, it shall return the error code Unknown Connection
Identifier (0x02).

Command Parameters:

Peer_Identity_Address_Type                                                      Size: 1 Octet
 Value                          Parameter Description

 0x00                           Public Identity Address
 0x01                           Random (static) Identity Address

 0x02 – 0xFF                    Reserved for Future Use

Peer_Identity_Address:                                                        Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Public or Random (static) Identity Address of the peer device




Return Parameters:

Status                                                                            Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Read_Peer_Resolvable_Address command succeeded
 0x01 – 0xFF                    LE_Read_Peer_Resolvable_Address command failed. See
                                [Vol 2] Part D, Error Codes for a list of error codes and
                                descriptions.




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Peer_Resolvable_Address:                                                    Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Resolvable Private Address being used by the peer device




Event(s) Generated (unless masked away):

When the LE_Read_Peer_Resolvable_Address command has completed, a
Command Complete event shall be generated.




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7.8.43 LE Read Local Resolvable Address Command


                                               Command               Return
 Command                         OCF           Parameters            Parameters

 HCI_LE_Read_Local_              0x002C        Peer_Identity_        Status,
 Resolvable_Address                            Address_Type,         Local_Resolvable_
                                               Peer_Identity_        Address
                                               Address

Description:

The LE_Read_Local_Resolvable_Address command is used to get the current
local Resolvable Private Address being used for the corresponding peer
Identity Address. The local’s resolvable address being used may change after
the command is called.

This command can be used at any time.

When a Controller cannot find a Resolvable Private Address associated with
the Peer Identity Address, it shall return the error code Unknown Connection
Identifier (0x02).

Command Parameters:

Peer_Identity_Address_Type:                                                      Size: 1 Octet
 Value                          Parameter Description

 0x00                           Public Identity Address
 0x01                           Random (static) Identity Address

 0x02 – 0xFF                    Reserved for Future Use

Peer_Identity_Address:                                                         Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Public Identity Address or Random (static) Identity Address of
                                the peer device, 48 bit value.

Return Parameters:

Status:                                                                          Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Read_Local_Resolvable_Address command succeeded

 0x01 – 0xFF                    LE_Read_Local_Resolvable_Address command failed. See
                                [Vol 2] Part D, Error Codes for a list of error codes and
                                descriptions.



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Local_Resolvable_Address:                                                    Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 Resolvable Private Address being used by the local device

Event(s) Generated (unless masked away):

When the LE_Read_Local_Resolvable_Address command has completed, a
Command Complete event shall be generated.




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7.8.44 LE Set Address Resolution Enable Command


                                                      Command                     Return
 Command                                   OCF        Parameters                  parameters

 HCI_LE_Set_Address_Resolution_            0x002D     Address_Resolution_         Status
 Enable                                               Enable

Description:

The LE_Set_Address_Resolution_Enable command is used to enable
resolution of Resolvable Private Addresses in the Controller. This causes the
Controller to use the resolving list whenever the Controller receives a local or
peer Resolvable Private Address.

This command can be used at any time except when:
• Advertising is enabled
• Scanning is enabled
• Create connection command is outstanding

Note: enabling address resolution when it is already enabled, or disabling it
when it is already disabled, has no effect.

Command Parameters:

Address_Resolution_Enable:                                                       Size:1 Octet
 Value                          Parameter Description

 0x00                           Address Resolution in Controller disabled (default)
 0x01                           Address Resolution in Controller enabled

 0x02 – 0xFF                    Reserved for Future Use

Return Parameters:

Status:                                                                          Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Set_Address_Resolution_Enable command succeeded
 0x01 – 0xFF                    LE_Set_Address_Resolution_Enable command failed. See
                                [Vol 2] Part D, Error Codes for a list of error codes and
                                descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Address_Resolution_Enable command has completed, a
Command Complete event shall be generated.


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7.8.45 LE Set Resolvable Private Address Timeout Command


                                                                   Command           Return
 Command                                               OCF         Parameters        parameters

 HCI_LE_Set_Resolvable_Private_Address_Tim-            0x002E      RPA_Timeout       Status
 eout

Description:

The LE_Set_Resolvable_Private_Address_Timeout command set the length of
time the Controller uses a Resolvable Private Address before a new resolvable
private address is generated and starts being used.

This timeout applies to all addresses generated by the Controller.

Command Parameters:

RPA_Timeout:                                                                     Size: 2 Octets
 Value                          Parameter Description

 N = 0xXXXX                     RPA_Timeout measured in s
                                Range for N: 0x0001 – 0xA1B8 (1 s – approximately 11.5
                                hours)
                                Default: N= 0x0384 (900 s or 15 minutes)

Return Parameters:

Status:                                                                            Size:1 Octet
 Value                          Parameter Description

 0x00                           LE_Set_Resolvable_Private_Address_Timeout command
                                succeeded

 0x01 – 0xFF                    LE_Set_Resolvable_Private_Address_Timeout command
                                failed. See [Vol 2] Part D, Error Codes for a list of error codes
                                and descriptions.




Event(s) Generated (unless masked away):

When the LE_Set_Resolvable_Private_Address_Timeout command has
completed, a Command Complete event shall be generated.




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7.8.46 LE Read Maximum Data Length Command


                                                     Command
 Command                                 OCF         Parameters      Return parameters

 HCI_LE_Read_Maximum_Data_               0x002F                      Status,
 Length                                                              supportedMaxTxOctets,
                                                                     supportedMaxTxTime,
                                                                     supportedMaxRxOctets,
                                                                     supportedMaxRxTime

Description:

The LE_Read_Maximum_Data_Length command allows the Host to read the
Controller’s maximum supported payload octets and packet duration times for
transmission and reception (supportedMaxTxOctets and
supportedMaxTxTime, supportedMaxRxOctets, and supportedMaxRxTime,
see [Vol 6] Part B, Section 4.5.10).

Command Parameters:

None.

Return Parameters:

Status:                                                                              Size: 1 Octet
 Value                    Parameter Description

 0x00                     LE_Read_Maximum_Data_Length command succeeded.
 0x01 - 0xFF              LE_Read_Maximum_Data_Length command failed. See [Vol 2] Part
                          D, Error Codes for a list of error codes and description.

supportedMaxTxOctets:                                                                Size: 2 Octet
 Value                    Parameter Description

 0xXXXX                   Maximum number of payload octets that the local Controller supports
                          for transmission of a single Link Layer packet on a data connection.
                          Range 0x001B-0x00FB (all other values reserved for future use)

supportedMaxTxTime:                                                                  Size: 2 Octet
 Value                    Parameter Description

 0xXXXX                   Maximum time, in microseconds, that the local Controller supports for
                          transmission of a single Link Layer packet on a data connection.
                          Range 0x0148-0x4290 all other values reserved for future use)




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supportedMaxRxOctets:                                                             Size: 2 Octet
 Value                    Parameter Description

 0xXXXX                   Maximum number of payload octets that the local Controller supports
                          for reception of a single Link Layer packet on a data connection.
                          Range 0x001B-0x00FB (all other values reserved for future use)

supportedMaxRxTime:                                                               Size: 2 Octet
 Value                    Parameter Description

 0xXXXX                   Maximum time, in microseconds, that the local Controller supports for
                          reception of a single Link Layer packet on a data connection.
                          Range 0x0148-0x4290 all other values reserved for future use)




Event(s) generated (unless masked away):

When the LE_Read_Maximum_Data_Length command has completed, a
Command Complete event shall be generated.




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7.8.47 LE Read PHY Command


 Command                    OCF         Command Parameter             Return Parameters

 HCI_LE_Read_PHY            0x0030      Connection_Handle             Status,
                                                                      Connection_Handle,
                                                                      TX_PHY,
                                                                      RX_PHY

Description:

The LE_Read_PHY command is used to read the current transmitter PHY and
receiver PHY on the connection identified by the Connection_Handle.

Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value         Parameter Description

 0xXXXX        Connection_Handle
               Range:0x0000-0x0EFF (all other values reserved for future use)

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x00               LE_Read_PHY command succeeded.
 0x01 – 0xFF        LE_Read_PHY command failed. See Part D, Error Codes for a list of
                    error codes and descriptions.

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value         Parameter Description

 0xXXXX        Connection_Handle
               Range:0x0000-0x0EFF (all other values reserved for future use)

TX_PHY:                                                                         Size: 1 Octet
 Value              Parameter Description

 0x01               The transmitter PHY for the connection is LE 1M

 0x02               The transmitter PHY for the connection is LE 2M
 0x03               The transmitter PHY for the connection is LE Coded
 All other values   Reserved for future use




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RX_PHY:                                                                      Size: 1 Octet
 Value               Parameter Description

 0x01                The receiver PHY for the connection is LE 1M
 0x02                The receiver PHY for the connection is LE 2M
 0x03                The receiver PHY for the connection is LE Coded

 All other values    Reserved for future use

Event(s) Generated (unless masked away):

When the LE_Read_PHY command has completed, a Command Complete
event shall be generated.




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7.8.48 LE Set Default PHY Command


 Command                          OCF        Command Parameter        Return Parameters

 HCI_LE_Set_Default_PHY           0x0031     ALL_PHYS,                Status
                                             TX_PHYS,
                                             RX_PHYS

Description:

The LE_Set_Default_PHY command allows the Host to specify its preferred
values for the transmitter PHY and receiver PHY to be used for all subsequent
connections over the LE transport.

The ALL_PHYS parameter is a bit field that allows the Host to specify, for each
direction, whether it has no preference among the PHYs that the Controller
supports in a given direction or whether it has specified particular PHYs that it
prefers in the TX_PHYS or RX_PHYS parameter.

The TX_PHYS parameter is a bit field that indicates the transmitter PHYs that
the Host prefers the Controller to use. If the ALL_PHYS parameter specifies
that the Host has no preference, the TX_PHYS parameter is ignored;
otherwise at least one bit shall be set to 1.

The RX_PHYS parameter is a bit field that indicates the receiver PHYs that the
Host prefers the Controller to use. If the ALL_PHYS parameter specifies that
the Host has no preference, the RX_PHYS parameter is ignored; otherwise at
least one bit shall be set to 1.

Command Parameters:

ALL_PHYS:                                                                      Size: 1 Octet
 Bit number     Meaning

 0              The Host has no preference among the transmitter PHYs supported by the
                Controller
 1              The Host has no preference among the receiver PHYs supported by the Con-
                troller

 2-7            Reserved for future use

TX_PHYS:                                                                       Size: 1 Octet
 Bit number     Meaning

 0              The Host prefers to use the LE 1M transmitter PHY (possibly among others)

 1              The Host prefers to use the LE 2M transmitter PHY (possibly among others)
 2              The Host prefers to use the LE Coded transmitter PHY (possibly among others)



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 Bit number     Meaning

 3–7            Reserved for future use

RX_PHYS:                                                                     Size: 1 Octet
 Bit number     Meaning

 0              The Host prefers to use the LE 1M receiver PHY (possibly among others)
 1              The Host prefers to use the LE 2M receiver PHY (possibly among others)

 2              The Host prefers to use the LE Coded receiver PHY (possibly among others)
 3–7            Reserved for future use

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value              Parameter Description

 0x00               LE_Set_Default_PHY command succeeded.

 0x01 – 0xFF        LE_Set_Default_PHY command failed. See [Vol 2] Part D, Error Codes
                    for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Default_PHY command has completed, a Command
Complete event shall be generated.




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7.8.49 LE Set PHY Command


 Command                   OCF         Command Parameter    Return Parameters

 HCI_LE_Set_PHY            0x0032      Connection_Handle,
                                       ALL_PHYS,
                                       TX_PHYS,
                                       RX_PHYS,
                                       PHY_options

Description:

The LE_Set_PHY command is used to set the PHY preferences for the
connection identified by the Connection_Handle. The Controller might not be
able to make the change (e.g. because the peer does not support the
requested PHY) or may decide that the current PHY is preferable.

The ALL_PHYS parameter is a bit field that allows the Host to specify, for each
direction, whether it has no preference among the PHYs that the Controller
supports in a given direction or whether it has specified particular PHYs that it
prefers in the TX_PHYS or RX_PHYS parameter.

The TX_PHYS parameter is a bit field that indicates the transmitter PHYs that
the Host prefers the Controller to use. If the ALL_PHYS parameter specifies
that the Host has no preference, the TX_PHYS parameter is ignored;
otherwise at least one bit shall be set to 1.

The RX_PHYS parameter is a bit field that indicates the receiver PHYs that the
Host prefers the Controller to use. If the ALL_PHYS parameter specifies that
the Host has no preference, the RX_PHYS parameter is ignored; otherwise at
least one bit shall be set to 1.

If, for at least one direction, the Host has specified a preference and the current
PHY is not one of those preferred, the Controller shall request a change.
Otherwise the Controller may, but need not, request a change.

The PHY preferences provided by the LE Set PHY command override those
provided via the LE Set Default PHY command (Section 7.8.48) or any
preferences previously set using the LE Set PHY command on the same
connection.

The PHY_options parameter is a bit field that allows the Host to specify options
for PHYs. The default value for a new connection shall be all zero bits. The
Controller may override any preferred coding for transmitting on the LE Coded
PHY.

The Host may specify a preferred coding even if it prefers not to use the LE
Coded transmitter PHY since the Controller may override the PHY preference.


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Command Parameters:

Connection_Handle:                                   Size: 2 Octets (12 Bits meaningful)
 Value        Parameter Description

 0xXXXX       Connection_Handle
              Range: 0x0000-0x0EFF (all other values reserved for future use)

ALL_PHYS:                                                                       Size: 1 Octet
 Bit number     Meaning

 0              The Host has no preference among the transmitter PHYs supported by the
                Controller

 1              The Host has no preference among the receiver PHYs supported by the Con-
                troller
 2–7            Reserved for future use

TX_PHYS:                                                                        Size: 1 Octet
 Bit number     Meaning

 0              The Host prefers to use the LE 1M transmitter PHY (possibly among others)
 1              The Host prefers to use the LE 2M transmitter PHY (possibly among others)

 2              The Host prefers to use the LE Coded transmitter PHY (possibly among others)
 3–7            Reserved for future use

RX_PHYS:                                                                        Size: 1 Octet
 Bit number     Meaning

 0              The Host prefers to use the LE 1M receiver PHY (possibly among others)
 1              The Host prefers to use the LE 2M receiver PHY (possibly among others)
 2              The Host prefers to use the LE Coded receiver PHY (possibly among others)

 3–7            Reserved for future use

PHY_options:                                                                  Size: 2 Octets
 Bit number     Meaning

 0–1            0 = the Host has no preferred coding when transmitting on the LE Coded
                PHY
                1 = the Host prefers that S=2 coding be used when transmitting on the LE
                Coded PHY
                2 = the Host prefers that S=8 coding be used when transmitting on the LE
                Coded PHY
                3 = Reserved for future use

 2 – 15         Reserved for future use


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Return Parameters:

None.

Event(s) Generated (unless masked away):

When the Controller receives the LE_Set_PHY command, the Controller shall
send the Command Status event to the Host. The LE PHY Update Complete
event shall be generated either when one or both PHY changes or when the
Controller determines that neither PHY will change immediately.

Note: If the peer negotiation resulted in no change to either PHY, this is not an
error and the Update Complete event will contain a status indicating success.

Note: A Command Complete event is not sent by the Controller to indicate that
this command has been completed. Instead, the LE PHY Update Complete
event indicates that this command has been completed. The LE PHY Update
Complete event may also be issued autonomously by the Link Layer.




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7.8.50 LE Enhanced Receiver Test Command


                                                      Command                   Return
 Command                                     OCF      Parameters                Parameter

 HCI_LE_Enhanced_Receiver_Test               0x0033   RX_Channel,               Status
                                                      PHY,
                                                      Modulation_Index

Description:

This command is used to start a test where the DUT receives test reference
packets at a fixed interval. The tester generates the test reference packets.

Command Parameters:

RX_Channel:                                                                    Size: 1 Octet
 Value              Parameter Description

 N=0xXX             N = (F-2402) / 2
                    Range: 0x00 – 0x27.
                    Frequency Range: 2402 MHz to 2480 MHz

PHY:                                                                           Size: 1 Octet
 Value              Parameter Description

 0x00               Reserved for future use
 0x01               Receiver set to use the LE 1M PHY
 0x02               Receiver set to use the LE 2M PHY

 0x03               Receiver set to use the LE Coded PHY
 0x04 – 0xFF        Reserved for future use

Modulation_Index:                                                              Size: 1 Octet
 Value              Parameter Description

 0x00               Assume transmitter will have a standard modulation index
 0x01               Assume transmitter will have a stable modulation index
 0x02 – 0xFF        Reserved for future use

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value              Parameter Description

 0x00               LE_Enhanced_Receiver_Test command succeeded.


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 Value              Parameter Description

 0x01 – 0xFF        LE_Enhanced_Receiver_Test command failed. See Part D, Error Codes
                    for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Enhanced_Receiver_Test command has completed, a
Command Complete event shall be generated.




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7.8.51 LE Enhanced Transmitter Test Command


                                                                                 Return
 Command                                    OCF      Command Parameters          Parameter

 HCI_LE_Enhanced_Transmitter_Test           0x0034   TX_Channel,                 Status
                                                     Length_Of_Test_Data,
                                                     Packet_Payload,
                                                     PHY

Description:

This command is used to start a test where the DUT generates test reference
packets at a fixed interval. The Controller shall transmit at maximum power.

An LE Controller supporting the LE_Enhanced Transmitter_Test command
shall support Packet_Payload values 0x00, 0x01 and 0x02. An LE Controller
supporting the LE Coded PHY shall also support Packet_Payload value 0x04.
An LE Controller may support other values of Packet_Payload.

Command Parameters:

TX_Channel:                                                                   Size: 1 Octet
 Value                Parameter Description

 N=0xXX               N = (F-2402) / 2
                      Range: 0x00 – 0x27
                      Frequency Range: 2402 MHz to 2480 MHz

Length_Of_Test_Data:                                                          Size: 1 Octet
 Value                Parameter Description

 0x00-0xFF            Length in bytes of payload data in each packet

Packet_Payload:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 PRBS9 sequence ‘11111111100000111101…’ (in transmission order) as
                      described in [Vol 6] Part F, Section 4.1.5

 0x01                 Repeated ‘11110000’ (in transmission order) sequence as described in
                      [Vol 6] Part F, Section 4.1.5
 0x02                 Repeated ‘10101010’ (in transmission order) sequence as described in
                      [Vol 6] Part F, Section 4.1.5
 0x03                 PRBS15 sequence as described in [Vol 6] Part F, Section 4.1.5

 0x04                 Repeated ‘11111111’ (in transmission order) sequence
 0x05                 Repeated ‘00000000’ (in transmission order) sequence


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 Value                Parameter Description

 0x06                 Repeated ‘00001111’ (in transmission order) sequence
 0x07                 Repeated ‘01010101’ (in transmission order) sequence
 0x08 – 0xFF          Reserved for future use

PHY:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 Reserved for future use
 0x01                 Transmitter set to use the LE 1M PHY
 0x02                 Transmitter set to use the LE 2M PHY

 0x03                 Transmitter set to use the LE Coded PHY with S=8 data coding
 0x04                 Transmitter set to use the LE Coded PHY with S=2 data coding

 0x05 – 0xFF          Reserved for future use

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                Parameter Description

 0x00                 LE_Enhanced_Transmitter_Test command succeeded.
 0x01 – 0xFF          LE_Enhanced_Transmitter_Test command failed.[Vol 2] Part D, Section
                      1.3 for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Enhanced_Transmitter_Test command has completed, a
Command Complete event shall be generated.




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7.8.52 LE Set Advertising Set Random Address Command


                                                       Command                Return
 Command                                 OCF
                                                       Parameters             Parameters

 HCI_LE_Set_Advertising_Set_Ran-         0x0035        Advertising_Handle,    Status
 dom_Address                                           Random_Address

Description:

The LE_Set_Advertising_Set_Random_Address command is used by the Host
to set the random device address specified by the Random_Address
parameter. This address is used in the Controller (see [Vol 6] Part B, Section
1.3.2) for the advertiser's address contained in the advertising PDUs for the
advertising set specified by the Advertising_Handle parameter.

If the Host issues this command while an advertising set using connectable
advertising is enabled, the Controller shall return the error code Command
Disallowed (0x0C). The Host may issue this command at any other time.

If this command is used to change the address, the new random address shall
take effect for advertising no later than the next successful LE Extended Set
Advertising Enable Command and for periodic advertising no later than the
next successful LE Periodic Advertising Enable Command.

Command Parameters:

Advertising_Handle:                                                            Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set

 All other values     Reserved for future use

Advertising_Random_Address:                                                  Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Random Device Address as defined by [Vol 6] Part B, Section 1.3.2
 XX

Return Parameters:

Status:                                                                        Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Advertising_Set_Random_Address command succeeded

 0x01 – 0xFF          HCI_LE_Set_Advertising_Set_Random_Address command failed. See
                      [Vol 2] Part D, Error Codes for a list of error codes and descriptions



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Event(s) Generated (unless masked away):

When the LE_Set_Advertising_Set_Random_Address command has
completed, a Command Complete event shall be generated.




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7.8.53 LE Set Extended Advertising Parameters Command


                                                                           Return
 Command                  OCF      Command Parameters
                                                                           Parameters

 HCI_LE_Set_              0x0036   Advertising_Handle,                     Status,
 Extended_                         Advertising_Event_Properties,           Selected_Tx_
 Advertising_                                                              Power
 Parameters                        Primary_Advertising_Interval_Min,
                                   Primary_Advertising_Interval_Max,
                                   Primary_Advertising_Channel_Map,
                                   Own_Address_Type,
                                   Peer_Address_Type,
                                   Peer_Address,
                                   Advertising_Filter_Policy,
                                   Advertising_Tx_Power,
                                   Primary_Advertising_PHY,
                                   Secondary_Advertising_Max_Skip,
                                   Secondary_Advertising_PHY,
                                   Advertising_SID,
                                   Scan_Request_Notification_Enable

Description:

The LE_Set_Extended_Advertising_Parameters command is used by the Host
to set the advertising parameters.

The Advertising_Handle parameter identifies the advertising set whose
parameters are being configured.

The Advertising_Event_Properties parameter describes the type of advertising
event that is being configured and its basic properties. The type shall be one
supported by the Controller. In particular, the following restrictions apply to this
parameter:
• If legacy advertising PDU types are being used, then the parameter value
  shall be one of those specified in Table 7.2. If the advertising set already
  contains data, the type shall be one that supports advertising data and the
  amount of data shall not exceed 31 octets.




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                                                            Advertising
                                                            Event             Advertising
 Event Type                         PDU Type                Properties        Data

 Connectable and scannable          ADV_IND                 00010011b         Supported
 undirected
 Connectable directed               ADV_DIRECT_IND          00010101b         Not allowed
 (low duty cycle)
 Connectable directed               ADV_DIRECT_IND          00011101b         Not allowed
 (high duty cycle)
 Scannable undirected               ADV_SCAN_IND            00010010b         Supported
 Non-connectable and non-           ADV_NONCONN_IND         00010000b         Supported
 scannable undirected

Table 7.2: Advertising Event Properties values for legacy PDUs

• If extended advertising PDU types are being used (bit 4 = 0) then:
          The advertisement shall not be both connectable and scannable.
          High duty cycle directed connectable advertising (≤ 3.75 ms
          advertising interval) shall not be used (bit 3 = 0).

If the Advertising_Event_Properties parameter does not describe an event type
supported by the Controller, contains an invalid bit combination, or specifies a
type that does not support advertising data when the advertising set already
contains some, the Controller shall return the error code Invalid HCI Command
Parameters (0x12).

The parameters beginning with“Secondary” are only valid when extended
advertising PDU types are being used (bit 4 = 0).

The Own_Address_Type parameter shall be ignored for anonymous
advertising (bit 5 = 1).

If Directed advertising is selected, the Peer_Address_Type and Peer_Address
shall be valid and the Advertising_Filter_Policy parameter shall be ignored.

The Primary_Advertising_Interval_Min parameter shall be less than or equal to
the Primary_Advertising_Interval_Max parameter. The
Primary_Advertising_Interval_Min and Primary_Advertising_Interval_Max
parameters should not be the same value so that the Controller can choose the
best advertising interval given other activities.

For high duty cycle connectable directed advertising event type
(ADV_DIRECT_IND), the Primary_Advertising_Interval_Min and
Primary_Advertising_Interval_Max parameters are not used and shall be
ignored.


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If the primary advertising interval range provided by the Host
(Primary_Advertising_Interval_Min, Primary_Advertising_Interval_Max) is
outside the advertising interval range supported by the Controller, then the
Controller shall return the error code Unsupported Feature or Parameter Value
(0x11).

The Primary_Advertising_Channel_Map is a bit field that indicates the
advertising channels that shall be used when transmitting advertising packets.
At least one channel bit shall be set in the Primary_Advertising_Channel_Map
parameter.

The Own_Address_Type parameter specifies the type of address being used in
the advertising packets. For random addresses, the address is specified by the
LE_Set_Advertising_Set_Random_Address command.

If Own_Address_Type equals 0x02 or 0x03, the Peer_Address parameter
contains the peer’s Identity Address and the Peer_Address_Type parameter
contains the peer’s Identity Type (i.e., 0x00 or 0x01). These parameters are
used to locate the corresponding local IRK in the resolving list; this IRK is used
to generate their own address used in the advertisement.

The Advertising_Tx_Power parameter indicates the maximum power level at
which the advertising packets are to be transmitted on the advertising
channels. The Controller shall choose a power level lower than or equal to the
one specified by the Host.

The Primary_Advertising_PHY parameter indicates the PHY on which the
advertising packets are transmitted on the primary advertising channel. If
legacy advertising PDUs are being used, the Primary_Advertising_PHY shall
indicate the LE 1M PHY. The Secondary_Advertising_PHY parameter
indicates the PHY on which the advertising packets are be transmitted on the
secondary advertising channel.

The Secondary_Advertising_Max_Skip parameter is the maximum number of
advertising events that can be skipped before the AUX_ADV_IND can be sent.

The Advertising_SID parameter specifies the value to be transmitted in the
Advertising SID subfield of the ADI field of the Extended Header of those
advertising channel PDUs that have an ADI field. If the advertising set only
uses PDUs that do not contain an ADI field, Advertising_SID is ignored.

The Scan_Request_Notification_Enable parameter indicates whether the
Controller shall send notifications upon the receipt of a scan request PDU that
is in response to an advertisement from the specified advertising set that
contains its device address and is from a scanner that is allowed by the
advertising filter policy.

If the Host issues this command when advertising is enabled for the specified
advertising set, the Controller shall return the error code Command Disallowed
(0x0C).

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If periodic advertising is enabled for the advertising set and the
Secondary_Advertising_PHY parameter does not specify the PHY currently
being used for the periodic advertising, the Controller shall return the error
code Command Disallowed (0x0C).

If the Advertising_Handle does not identify an existing advertising set and the
Controller is unable to support a new advertising set at present, the Controller
shall return the error code Memory Capacity Exceeded (0x07).

Command Parameters:

Advertising_Handle:                                                             Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set

 All other values     Reserved for future use

Advertising_Event_Properties:                                                 Size: 2 Octets
 Bit number           Parameter Description

 0                    Connectable advertising
 1                    Scannable advertising
 2                    Directed advertising

 3                    High Duty Cycle Directed Connectable advertising (≤ 3.75 ms Advertis-
                      ing Interval)
 4                    Use legacy advertising PDUs

 5                    Omit advertiser's address from all PDUs ("anonymous advertising")
 6                    Include TxPower in the extended header of the advertising PDU
 All other bits       Reserved for future use

Primary_Advertising_Interval_Min:                                             Size: 3 Octets
 Value                Parameter Description

 N = 0xXXXXXX         Minimum advertising interval for undirected and low duty cycle directed
                      advertising.
                      Range: 0x000020 to 0xFFFFFF
                      Time = N * 0.625 ms
                      Time Range: 20 ms to 10,485.759375 s




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Primary_Advertising_Interval_Max:                                             Size: 3 Octets
 Value                Parameter Description

 N = 0xXXXXXX         Maximum advertising interval for undirected and low duty cycle directed
                      advertising.
                      Range: 0x000020 to 0xFFFFFF
                      Time = N * 0.625 ms
                      Time Range: 20 ms to 10,485.759375 s

Primary_Advertising_Channel_Map:                                                Size: 1 Octet
 Bit number           Parameter Description

 0                    Channel 37 shall be used

 1                    Channel 38 shall be used
 2                    Channel 39 shall be used

 All other bits       Reserved for future use

Own_Address_Type:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address

 0x01                 Random Device Address
 0x02                 Controller generates the Resolvable Private Address based on the local
                      IRK from the resolving list. If the resolving list contains no matching
                      entry, use the public address.
 0x03                 Controller generates the Resolvable Private Address based on the local
                      IRK from the resolving list. If the resolving list contains no matching
                      entry, use the random address from LE_Set_Advertising_Set_Ran-
                      dom_Address.

 All other values     Reserved for future use

Peer_Address_Type:                                                              Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address or Public Identity Address

 0x01                 Random Device Address or Random (static) Identity Address
 All other values     Reserved for future use

Peer_Address:                                                                 Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, Random Device Address, Public Identity
 XX                   Address, or Random (static) Identity Address of the device to be con-
                      nected.


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Advertising_Filter_Policy:                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 Process scan and connection requests from all devices (i.e., the White
                      List is not in use)
 0x01                 Process connection requests from all devices and only scan requests
                      from devices that are in the White List
 0x02                 Process scan requests from all devices and only connection requests
                      from devices that are in the White List.

 0x03                 Process scan and connection requests only from devices in the White
                      List.
 All other values     Reserved for future use

Advertising_Tx_Power:                                                          Size: 1 Octet
 Value                Parameter Description

 N = 0xXX             Size: 1 Octet (signed integer)
                      Range: -127 ≤ N ≤ +126
                      Units: dBm

 127                  Host has no preference

Primary_Advertising_PHY:                                                       Size: 1 Octet
 Value                Parameter Description

 0x01                 Primary advertisement PHY is LE 1M

 0x03                 Primary advertisement PHY is LE Coded
 All other values     Reserved for future use

Secondary_Advertising_Max_Skip:                                                Size: 1 Octet
 Value                Parameter Description

 0x00                 AUX_ADV_IND shall be sent prior to the next advertising event
 0x01-0xFF            Maximum advertising events the Controller can skip before sending the
                      AUX_ADV_IND packets on the secondary advertising channel

Secondary_Advertising_PHY:                                                     Size: 1 Octet
 Value                Parameter Description

 0x01                 Secondary advertisement PHY is LE 1M
 0x02                 Secondary advertisement PHY is LE 2M
 0x03                 Secondary advertisement PHY is LE Coded

 All other values     Reserved for future use



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Advertising_SID:                                                                 Size: 1 Octet
 Value                Parameter Description

 0x00 – 0x0F          Value of the Advertising SID subfield in the ADI field of the PDU
 All other values     Reserved for future use

Scan_Request_Notification_Enable:                                                Size: 1 Octet
 Value                Parameter Description

 0x00                 Scan request notifications disabled
 0x01                 Scan request notifications enabled
 All other values     Reserved for future use

Return Parameters

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Extended_Advertising_Parameters command succeeded
 0x01 – 0xFF          HCI_LE_Set_Extended_Advertising_Parameters command failed. See
                      [Vol 2] Part D, Error Codes for a list of error codes and descriptions

Selected_Tx_Power:                                                               Size: 1 Octet
 Value                Parameter Description

 N = 0xXX             Size: 1 Octet (signed integer)
                      Range: -127 ≤ N ≤ +126
                      Units: dBm

Event(s) Generated (unless masked away):

When the LE_Set_Extended_Advertising_Parameters command has
completed, a Command Complete event shall be generated. The
Selected_Tx_Power return parameter indicates the transmit power selected by
the Controller. The Controller shall not change the transmit power for this
advertising set without being directed to by the Host.




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Host Controller Interface Functional Specification

7.8.54 LE Set Extended Advertising Data Command


                                                                             Return
 Command                         OCF         Command Parameters
                                                                             Parameters

 HCI_LE_Set_Extended_            0x0037      Advertising_Handle,             Status
 Advertising_Data                            Operation,
                                             Fragment_Preference,
                                             Advertising_Data_Length,
                                             Advertising_Data

Description:

The LE_Set_Extended_Advertising_Data command is used to set the data
used in advertising PDUs that have a data field. This command may be issued
at any time after an advertising set identified by the Advertising_Handle
parameter has been created using the LE Set Extended Advertising
Parameters Command (see Section 7.8.53), regardless of whether advertising
in that set is enabled or disabled.

If advertising is currently enabled for the specified advertising set, the
Controller shall use the new data in subsequent extended advertising events
for this advertising set. If an extended advertising event is in progress when
this command is issued, the Controller may use the old or new data for that
event.

If advertising is currently disabled for the specified advertising set, the data
shall be kept by the Controller and used once advertising is enabled for that
set. The data shall be discarded when the advertising set is removed.

Only the significant part of the advertising data should be transmitted in the
advertising packets as defined in [Vol 3] Part C, Section 11.

The Host may set the advertising data in one or more operations using the
Operation parameter in the command. If the combined length of the data
exceeds the capacity of the advertising set identified by the
Advertising_Handle parameter (see Section 7.8.57 LE Read Maximum
Advertising Data Length Command) or the amount of memory currently
available, all the data shall be discarded and the Controller shall return the
error code Memory Capacity Exceeded (0x07).

If Operation indicates the start of new data (values 0x01 or 0x03), then any
existing partial or complete advertising data shall be discarded. If the
Advertising_Data_Length parameter is zero and Operation is 0x03, any
existing partial or complete data shall be deleted (with no new data provided).

If Operation is 0x04, the behavior is the same as if the current advertising data
had been sent again; this can be used to cause the Advertising DID value to be
updated (see [Vol 6] Part B, Section 4.4.2.11).

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The Fragment_Preference parameter provides a hint to the Controller as to
whether advertising data should be fragmented.

If the advertising set specifies a type that does not support advertising data, the
Controller shall return the error code Invalid HCI Parameters (0x12).

If the advertising set uses legacy advertising PDUs that support advertising
data and either Operation is not 0x03 or the Advertising_Data_Length
parameter exceeds 31 octets, the Controller shall return the error code Invalid
HCI Command Parameters (0x12).

If Operation is 0x04 and:
• advertising is currently disabled for the advertising set;
• the advertising set contains no data;
• the advertising set uses legacy PDUs; or
• Advertising_Data_Length is not zero;

then the Controller shall return the error code Invalid HCI Command
Parameters (0x12).

If Operation is not 0x03 or 0x04 and Advertising_Data_Length is zero, the
Controller shall return the error code Invalid HCI Command Parameters (0x12).

If advertising is currently enabled for the specified advertising set and
Operation does not have the value 0x03 or 0x04, the Controller shall return the
error code Command Disallowed (0x0C).

If the advertising set corresponding to the Advertising_Handle parameter does
not exist, then the Controller shall return the error code Unknown Advertising
Identifier (0x42).

Command Parameters:

Advertising_Handle:                                                            Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set
 All other values     Reserved for future use

Operation:                                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 Intermediate fragment of fragmented extended advertising data
 0x01                 First fragment of fragmented extended advertising data

 0x02                 Last fragment of fragmented extended advertising data
 0x03                 Complete extended advertising data


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 Value                Parameter Description

 0x04                 Unchanged data (just update the Advertising DID)
 All other values     Reserved for future use

Fragment_Preference :                                                            Size: 1 Octet
 Value                Parameter Description

 0x00                 The Controller may fragment all Host advertising data

 0x01                 The Controller should not fragment or should minimize fragmentation of
                      Host advertising data
 All other values     Reserved for future use

Advertising_Data_Length:                                                         Size: 1 Octet
 Value                Parameter Description

 0 – 251              The number of octets in the Advertising Data parameter
 All other values     Reserved for future use

Advertising_Data:                                Size: Advertising_Data_Length Octets
 Value                Parameter Description

                      Advertising data formatted as defined in [Vol 3] Part C, Section 11
                      Note: This parameter has a variable length.

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Extended_Advertising_Data command succeeded
 0x01 – 0xFF          HCI_LE_Set_Extended_Advertising_Data command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions

Event(s) Generated (unless masked away):

When the LE_Set_Extended_Advertising_Data command has completed, a
Command Complete event shall be generated.




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Host Controller Interface Functional Specification

7.8.55 LE Set Extended Scan Response Data Command


                                                                              Return
 Command                       OCF         Command Parameters
                                                                              Parameters

 HCI_LE_Set_Extended_          0x0038      Advertising_Handle,                Status
 Scan_Response_Data                        Operation,
                                           Fragment_Preference,
                                           Scan_Response_Data_Length,
                                           Scan_Response_Data

Description:

The LE_Set_Extended_Scan_Response_Data command is used to provide
scan response data used in scanning response PDUs. This command may be
issued at any time after the advertising set identified by the Advertising_Handle
parameter has been created using the LE Set Extended Advertising
Parameters Command (see Section 7.8.53) regardless of whether advertising
in that set is enabled or disabled.

If advertising is currently enabled for the specified advertising set, the
Controller shall use the new data in subsequent extended advertising events
for this advertising set. If an extended advertising event is in progress when
this command is issued, the Controller may use the old or new data for that
event.

If advertising is currently disabled for the specified advertising set, the data
shall be kept by the Controller and used once advertising is enabled for that
set. The data shall be discarded when the advertising set is removed.

Only the significant part of the scan response data should be transmitted in the
advertising packets as defined in [Vol 3] Part C, Section 11.

The Host may set the scan response data in one or more operations using the
Operation parameter in the command. If the combined length of the data
exceeds the capacity of the advertising set identified by the
Advertising_Handle parameter (see Section 7.8.57 LE Read Maximum
Advertising Data Length Command) or the amount of memory currently
available, all the data shall be discarded and the Controller shall return the
error code Memory Capacity Exceeded (0x07).

If Operation indicates the start of new data (values 0x01 or 0x03), then any
existing partial or complete scan response data shall be discarded. If the
Scan_Response_Data_Length parameter is zero, then Operation shall be
0x03; this indicates that any existing partial or complete data shall be deleted
and no new data provided.

The Fragment_Preference parameter provides a hint to the Controller as to
whether advertising data should be fragmented.

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If the advertising set is non-scannable and the Host uses this command other
than to delete existing data, the Controller shall return the error code Invalid
HCI Parameters (0x12).

If the advertising set uses scannable legacy advertising PDUs and either
Operation is not 0x03 or the Scan_Response_Data_Length parameter
exceeds 31 octets, the Controller shall return the error code Invalid HCI
Command Parameters (0x12).

If advertising is currently enabled for the specified advertising set and
Operation does not have the value 0x03, the Controller shall return the error
code Command Disallowed (0x0C).

If the advertising set corresponding to the Advertising_Handle parameter does
not exist, then the Controller shall return the error code Unknown Advertising
Identifier (0x42).

Command Parameters:

Advertising_Handle:                                                            Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set
 All other values     Reserved for future use

Operation:                                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 Intermediate fragment of fragmented scan response data
 0x01                 First fragment of fragmented scan response data
 0x02                 Last fragment of fragmented scan response data

 0x03                 Complete scan response data
 All other values     Reserved for future use

Fragment_Preference:                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 The Controller may fragment all scan response data
 0x01                 The Controller should not fragment or should minimize fragmentation of
                      scan response data
 All other values     Reserved for future use




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Scan_Response_Data_Length:                                                      Size: 1 Octet
 Value                Parameter Description

 0 – 251              The number of octets in the Scan_Response Data parameter
 All other values     Reserved for future use

Scan_Response_Data:                       Size: Scan_Response_Data_Length Octets
 Value                Parameter Description

                      Scan response data formatted as defined in [Vol 3] Part C, Section 11
                      Note: This parameter has a variable length.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Extended_Scan_Response_Data command succeeded
 0x01 – 0xFF          HCI_LE_Set_Extended_Scan_Response_Data command failed. See
                      [Vol 2] Part D, Error Codes for a list of error codes and descriptions

Event(s) Generated (unless masked away):

When the LE_Set_Extended_Scan_Response_Data command has
completed, a Command Complete event shall be generated.




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7.8.56 LE Set Extended Advertising Enable Command


                                                                              Return
 Command                     OCF        Command Parameters
                                                                              Parameters

 HCI_LE_Set_Extended_        0x0039     Enable,                               Status
 Advertising_Enable                     Number_of_Sets,
                                        Advertising_Handle[i],
                                        Duration[i],
                                        Max_Extended_Advertising_Events[i]

Description:

The LE_Set_Extended_Advertising_Enable command is used to request the
Controller to enable or disable one or more advertising sets using the
advertising sets identified by the Advertising_Handle[i] parameter. The
Controller manages the timing of advertisements in accordance with the
advertising parameters given in the
LE_Set_Extended_Advertising_Parameters command. The Number_of_Sets
parameter is the number of advertising sets contained in the parameter arrays.
If Enable and Number_of_Sets are both set to 0x00, then all advertising sets
are disabled.

The Controller shall only start an advertising event when the corresponding
advertising set is enabled. The Controller shall continue advertising until all
advertising sets have been disabled. This can happen when the Host issues an
LE_Set_Extended_Advertising_Enable command with the Enable parameter
set to 0x00 (Advertising is disabled), a connection is created, the duration
specified in the Duration[i] parameter expires, or the number of extended
advertising events transmitted for the set exceeds the
Max_Extended_Advertising_Events[i] parameter.

The Duration[i] parameter indicates the duration for which that advertising set
is enabled. The duration begins at the start of the first advertising event of this
advertising set. The Controller should not start an extended advertising event
that it cannot complete within the duration.

If the advertising is high duty cycle connectable directed advertising, then
Duration[i] shall be less than or equal to 1.28 seconds and shall not be equal to 0.

The Max_Extended_Advertising_Events[i] parameter, if non-zero, indicates the
maximum number of extended advertising events that shall be sent prior to
disabling the extended advertising set even if the Duration[i] parameter has not
expired.

Duration[i] and Max_Extended_Advertising_Events[i] are ignored when Enable
is set to 0x00.



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If the LE_Set_Extended_Advertising_Enable command is sent again for an
advertising set while that set is enabled, the timer used for the duration and the
number of events counter are reset and any change to the random address
shall take effect.

Disabling the advertising set identified by the Advertising_Handle[i] parameter
does not disable any periodic advertising associated with that set.

Note: disabling an advertising set that is already disabled has no effect.

If the same advertising set is identified by more than one entry in the
Advertising_Handle[i] arrayed parameter, then the Controller shall return the
error code Invalid HCI Command Parameters (0x12).

If the advertising set corresponding to the Advertising_Handle[i] parameter
does not exist, then the Controller shall return the error code Unknown
Advertising Identifier (0x42).

If the advertising data or scan response data in the advertising set is not
complete, the Controller shall return the error code Command Disallowed
(0x0C).

If the advertising set uses connectable extended advertising PDUs and the
advertising data in the advertising set will not fit in the AUX_ADV_IND PDU,
the Controller shall return the error code Invalid HCI Command Parameters
(0x12).

Note: The maximum amount of data that will fit in the PDU depends on which
options are selected and on the maximum length of PDU that the Controller is
able to transmit.

If the Enable parameter is set to 0x01 (Advertising is enabled) and
Number_of_Sets is set to 0x00, the Controller shall return the error code
Invalid HCI Command Parameters (0x12).

If the advertising set's Own_Address_Type parameter is set to 0x01 and the
random address for the advertising set has not been initialized, the Controller
shall return the error code Invalid HCI Command Parameters (0x12).

If the advertising set's Own_Address_Type parameter is set to 0x03, the
controller's resolving list did not contain a matching entry, and the random
address for the advertising set has not been initialized, the Controller shall
return the error code Invalid HCI Command Parameters (0x12).




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Command Parameters:

Enable:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Advertising is disabled
 0x01                 Advertising is enabled

 All other values     Reserved for future use

Number_of_Sets:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00                 Disable all advertising sets

 0x01 – 0x3F          Number of advertising sets to enable or disable
 All other values     Reserved for future use

Advertising_Handle[i]:                                      Size: 1 Octet * Number_of_Sets
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set
 All other values     Reserved for future use

Duration[i]:                                           Size: 2 Octets * Number_of_Sets
 Value                Parameter Description

 0x0000               No advertising duration. Advertising to continue until the Host disables
                      it.
 N = 0xXXXX           Advertising duration
                      Range: 0x0001 – 0xFFFF
                      Time = N * 10 ms
                      Time Range: 10 ms to 655,350 ms

Max_Extended_Advertising_Events[i]:                         Size: 1 Octet * Number_of_Sets
 Value                Parameter Description

 N = 0xXX             Maximum number of extended advertising events the Controller shall
                      attempt to send prior to terminating the extended advertising
 0x00                 No maximum number of advertising events.




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Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Extended_Advertising_Enable command succeeded
 0x01 – 0xFF          HCI_LE_Set_Extended_Advertising_Enable command failed. See [Vol
                      2] Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Set_Extended_Advertising_Enable command has
completed, a Command Complete event shall be generated.

If the Duration[i] parameter is set to a value other than 0x0000, an LE
Advertising Set Terminated event shall be generated when the duration
specified in the Duration[i] parameter expires.

If the Max_Extended_Advertising_Events[i] parameter is set to a value other
than 0x00, an LE Advertising Set Terminated event shall be generated when
the maximum number of extended advertising events has been transmitted by
the Controller.

If the advertising set is connectable and a connection gets created, an LE
Connection Complete event shall be generated followed by an LE Advertising
Set Terminated event with the Status parameter set to 0x00.

If the advertising set is for high duty cycle connectable directed advertising that
fails to create a connection before the duration expires, an LE Connection
Complete event shall be generated with the Status parameter set to the error
code Advertising Timeout (0x3C).

Note: If this command is used to disable advertising at about the same time
that a connection is established or the advertising duration expires, there is a
possible race condition in that it is possible to receive both an LE Connection
Complete event and the Command Complete event for this command.




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7.8.57 LE Read Maximum Advertising Data Length Command


                                                     Command
 Command                               OCF                          Return Parameters
                                                     Parameters

 HCI_LE_Read_Maximum_                  0x003A                       Status,
 Advertising_Data_Length                                            Maximum_Advertising_
                                                                    Data_Length

Description:

The LE_Read_Maximum_Advertising_Data_Length command is used to read
the maximum length of data supported by the Controller for use as
advertisement data or scan response data in an advertising event or as
periodic advertisement data.

Note: The maximum amount may be fragmented across multiple PDUs (see
[Vol 6] Part B, Section 2.3.4.9).

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Read_Maximum_Advertising_Data_Length command suc-
                      ceeded
 0x01 – 0xFF          HCI_LE_Read_Maximum_Advertising_Data_Length command failed.
                      See [Vol 2] Part D, Error Codes for a list of error codes and descrip-
                      tions.

Maximum_Advertising_Data_Length:                                              Size: 2 Octets
 Value                Parameter Description

 0x001F – 0x0672      Maximum supported advertising data length
 All other values     Reserved for future use

Event(s) Generated (unless masked away):

When the HCI_LE_Read_Maximum_Advertising_Data_Length command has
completed, a Command Complete event shall be generated.




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7.8.58 LE Read Number of Supported Advertising Sets Command


                                                 Command
 Command                            OCF                           Return Parameters
                                                 Parameters

 HCI_LE_Read_Number_of_             0x003B                        Status,
 Supported_Advertising_Sets                                       Num_Supported_
                                                                  Advertising_Sets

Description:

The LE_Read_Number_of_Supported_Advertising_Sets command is used to
read the maximum number of advertising sets supported by the advertising
Controller at the same time. Note: The number of advertising sets that can be
supported is not fixed and the Controller can change it at any time because the
memory used to store advertising sets can also be used for other purposes.

Command Parameters:

None.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Read_Number_of_Supported_Advertising_Sets command
                      succeeded
 0x01 – 0xFF          HCI_LE_Read_Number_of_Supported_Advertising_Sets command
                      failed. See [Vol 2] Part D, Error Codes for a list of error codes and
                      descriptions.

Num_Supported_Advertising_Sets:                                                   Size: 1 Octet
 Value                Parameter Description

 0x01 – 0xF0          Number of advertising sets supported at the same time
 All other values     Reserved for future use

Event(s) Generated (unless masked away):

When the HCI_LE_Read_Number_of_Supported_Advertising_Sets command
has completed, a Command Complete event shall be generated.




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7.8.59 LE Remove Advertising Set Command


                                                       Command                    Return
 Command                                  OCF
                                                       Parameters                 Parameters

 HCI_LE_Remove_Advertising_Set            0x003C       Advertising_Handle         Status

Description:

The LE_Remove_Advertising_Set command is used to remove an advertising
set from the Controller.

If the advertising set corresponding to the Advertising_Handle parameter does
not exist, then the Controller shall return the error code Unknown Advertising
Identifier (0x42). If advertising on the advertising set is enabled, then the
Controller shall return the error code Command Disallowed (0x0C).

Command Parameters:

Advertising_Handle:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set
 All other values     Reserved for future use

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Remove_Advertising_Set command succeeded
 0x01 – 0xFF          HCI_LE_Remove_Advertising_Set command failed. See [Vol 2] Part D,
                      Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Remove_Advertising_Set command has completed, a
Command Complete event shall be generated.




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7.8.60 LE Clear Advertising Sets Command


                                                      Command         Return
 Command                                     OCF
                                                      Parameters      Parameters

 HCI_LE_Clear_Advertising_Sets               0x003D                   Status

Description:

The LE_Clear_Advertising_Sets command is used to remove all existing
advertising sets from the Controller.

If advertising is enabled on any advertising set, then the Controller shall return
the error code Command Disallowed (0x0C).

Note: All advertising sets are cleared on HCI reset.

Command Parameters:

None.

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Clear_Advertising_Sets command succeeded
 0x01 – 0xFF          HCI_LE_Clear_Advertising_Sets command failed. See [Vol 2] Part D,
                      Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Clear_Advertising_Sets command has completed, a
Command Complete event shall be generated.




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7.8.61 LE Set Periodic Advertising Parameters Command


                                                                                  Return
 Command                      OCF        Command Parameters
                                                                                  Parameters

 HCI_LE_Set_Periodic_         0x003E     Advertising_Handle,                      Status
 Advertising_Parameters                  Periodic_Advertising_Interval_Min,
                                         Periodic_Advertising_Interval_Max,
                                         Periodic_Advertising_Properties

Description:

The LE_Set_Periodic_Advertising_Parameters command is used by the Host
to set the parameters for periodic advertising.

The Advertising_Handle parameter identifies the advertising set whose
periodic advertising parameters are being configured. If the corresponding
advertising set does not already exist, then the Controller shall return the error
code Unknown Advertising Identifier (0x42).

The Periodic_Advertising_Interval_Min parameter shall be less than or equal to
the Periodic_Advertising_Interval_Max parameter. The
Periodic_Advertising_Interval_Min and Periodic_Advertising_Interval_Max
parameters should not be the same value to enable the Controller to determine
the best advertising interval given other activities.

The Periodic_Advertising_Properties parameter indicates which fields should
be included in the advertising packet.

If the advertising set identified by the Advertising_Handle specified anonymous
advertising, the Controller shall return the error code Invalid HCI Parameters
(0x12).

If the Host issues this command when periodic advertising is enabled for the
specified advertising set, the Controller shall return the error code Command
Disallowed (0x0C).

If the Advertising_Handle does not identify an advertising set that is already
configured for periodic advertising and the Controller is unable to support more
periodic advertising at present, the Controller shall return the error code
Memory Capacity Exceeded (0x07).




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Command Parameters:

Advertising_Handle:                                                              Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify a periodic advertisement
 All other values     Reserved for future use

Periodic_Advertising_Interval_Min:                                             Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Minimum advertising interval for periodic advertising.
                      Range: 0x0006 to 0xFFFF
                      Time = N * 1.25 ms
                      Time Range: 7.5ms to 81.91875 s

Periodic_Advertising_Interval_Max:                                             Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Maximum advertising interval for periodic advertising.
                      Range: 0x0006 to 0xFFFF
                      Time = N * 1.25 ms
                      Time Range: 7.5ms to 81.91875 s

Periodic_Advertising_Properties:                                               Size: 2 Octets
 Bit Number           Parameter Description

 6                    Include TxPower in the advertising PDU
 All other bits       Reserved for future use

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Periodic_Advertising_Parameters command succeeded
 0x01 – 0xFF          HCI_LE_Set_Periodic_Advertising_Parameters command failed. See
                      [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Periodic_Advertising_Parameters command has
completed, a Command Complete event shall be generated.




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7.8.62 LE Set Periodic Advertising Data Command


                                                                            Return
 Command                        OCF          Command Parameters
                                                                            Parameters

 HCI_LE_Set_Periodic_           0x003F       Advertising_Handle,            Status
 Advertising_Data                            Operation,
                                             Advertising_Data_Length,
                                             Advertising_Data

Description:

The LE_Set_Periodic_Advertising_Data command is used to set the data used
in periodic advertising PDUs. This command may be issued at any time after
the advertising set identified by the Advertising_Handle parameter has been
configured for periodic advertising using the
LE_Set_Periodic_Advertising_Parameters Command (see Section 7.8.61),
regardless of whether advertising in that set is enabled or disabled. If the
advertising set has not been configured for periodic advertising, then the
Controller shall return the error code Command Disallowed (0x0C).

If advertising is currently enabled for the specified advertising set, the
Controller shall use the new data in subsequent periodic advertising events for
this advertising set. If a periodic advertising event is in progress when this
command is issued, the Controller may use the old or new data for that event.

If periodic advertising is currently disabled for the specified advertising set, the
data shall be kept by the Controller and used once periodic advertising is
enabled for that set. The data shall be discarded when the advertising set is
removed.

Only the significant part of the periodic advertising data should be transmitted
in the advertising packets as defined in [Vol 3] Part C, Section 11.

The Host may set the periodic advertising data in one or more operations using
the Operation parameter in the command. If the combined length of the data
exceeds the capacity of the advertising set identified by the
Advertising_Handle parameter (see Section 7.8.57 LE Read Maximum
Advertising Data Length Command) or the amount of memory currently
available, all the data shall be discarded and the Controller shall return the
error code Memory Capacity Exceeded (0x07).

If Operation indicates the start of new data (values 0x01 or 0x03), then any
existing partial or complete data shall be discarded. If the
Advertising_Data_Length parameter is 0, then Operation shall be 0x03; this
indicates that any existing partial or complete data shall be deleted and no new
data provided.



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If periodic advertising is currently enabled for the specified advertising set and
Operation does not have the value 0x03, the Controller shall return the error
code Command Disallowed (0x0C).

If the advertising set corresponding to the Advertising_Handle parameter does
not exist, then the Controller shall return the error code Unknown Advertising
Identifier (0x42).

Command Parameters:

Advertising_Handle:                                                              Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set
 All other values     Reserved for future use

Operation:                                                                       Size: 1 Octet
 Value                Parameter Description

 0x00                 Intermediate fragment of fragmented periodic advertising data

 0x01                 First fragment of fragmented periodic advertising data
 0x02                 Last fragment of fragmented periodic advertising data
 0x03                 Complete periodic advertising data

 All other values     Reserved for future use

Advertising_Data_Length:                                                         Size: 1 Octet
 Value                Parameter Description

 0 – 252              The number of octets in the Advertising Data parameter

 All other values     Reserved for future use

Advertising_Data:                                Size: Advertising_Data_Length Octets
 Value                Parameter Description

                      Periodic advertising data formatted as defined in [Vol 3] Part C, Section
                      11.
                      Note: This parameter has a variable length.




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Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Periodic_Advertising_Data command succeeded
 0x01 – 0xFF          HCI_LE_Set_Periodic_Advertising_Data command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Periodic_Advertising_Data command has completed, a
Command Complete event shall be generated.




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7.8.63 LE Set Periodic Advertising Enable Command


                                                         Command               Return
 Command                                     OCF
                                                         Parameters            Parameters

 HCI_LE_Set_Periodic_Advertising_            0x0040      Enable,               Status
 Enable                                                  Advertising_Handle

Description:

The LE_Set_Periodic_Advertising_Enable command is used to request the
Controller to enable or disable the periodic advertising for the advertising set
specified by the Advertising_Handle parameter (ordinary advertising is not
affected).

If the advertising set is not currently enabled (see the
LE_Set_Extended_Advertising_Enable command), the periodic advertising is
not started until the advertising set is enabled. Once the advertising set has
been enabled, the Controller shall continue periodic advertising until the Host
issues an LE_Set_Periodic_Advertising_Enable command with Enable set to
0x00 (periodic advertising is disabled). Disabling the advertising set has no
effect on the periodic advertising once the advertising set has been enabled.

The Controller manages the timing of advertisements in accordance with the
advertising parameters given in the LE_Set_Periodic_Advertising_Parameters
command.

If the advertising set corresponding to the Advertising_Handle parameter does
not exist, the Controller shall return the error code Unknown Advertising
Identifier (0x42).

If the periodic advertising data in the advertising set is not complete, the
Controller shall return the error code Command Disallowed (0x0C).

Note: Enabling periodic advertising when it is already enabled can cause the
random address to change. Disabling periodic advertising when it is already
disabled has no effect.

Command Parameters:

Enable:                                                                        Size: 1 Octet
 Value                Parameter Description

 0x00                 Periodic advertising is disabled (default)
 0x01                 Periodic advertising is enabled
 All other values     Reserved for future use




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Advertising_Handle:                                                         Size: 1 Octet
 Value                Parameter Description

 0x00 – 0xEF          Used to identify an advertising set
 All other values     Reserved for future use

Return Parameters:

Status:                                                                     Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Periodic_Advertising_Enable command succeeded
 0x01 – 0xFF          HCI_LE_Set_Periodic_Advertising_Enable command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Set_Perodic_Advertising_Enable command has
completed, a Command Complete event shall be generated.




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7.8.64 LE Set Extended Scan Parameters Command


                                                                          Return
 Command                         OCF          Command Parameters
                                                                          Parameters

 HCI_LE_Set_Extended_            0x0041       Own_Address_Type            Status
 Scan_Parameters                              Scanning_Filter_Policy
                                              Scanning_PHYs,
                                              Scan_Type[i],
                                              Scan_Interval[i],
                                              Scan_Window[i]

Description:

The LE_Set_Extended_Scan_Parameters command is used to set the
extended scan parameters to be used on the advertising channels.

The Scanning_PHYs parameter indicates the PHY(s) on which the advertising
packets should be received on the primary advertising channel. The Host may
enable one or more scanning PHYs. The Scan_Type[i], Scan_Interval[i], and
Scan_Window[i] parameters array elements are ordered in the same order as
the set bits in the Scanning_PHY parameter, starting from bit 0. The number of
array elements is determined by the number of bits set in the Scanning_PHY
parameter.

The Scan_Type[i] parameter specifies the type of scan to perform.

The Scan_Interval[i] and Scan_Window[i] parameters are recommendations
from the Host on how long (Scan_Window[i]) and how frequently
(Scan_Interval[i]) the Controller should scan (see [Vol 6] Part B, Section 4.5.3);
however the frequency and length of the scan is implementation specific. If the
requested scan cannot be supported by the implementation, the Controller
shall return the error code Invalid HCI Command Parameters (0x12).

The Own_Address_Type parameter indicates the type of address being used
in the scan request packets.

If the Host issues this command when scanning is enabled in the Controller,
the Controller shall return the error code Command Disallowed (0x0C).




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Command Parameters:

Own_Address_Type:                                                                 Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address
 0x01                 Random Device Address

 0x02                 Controller generates the Resolvable Private Address based on the local
                      IRK from the resolving list. If the resolving list contains no matching
                      entry, then use the public address.
 0x03                 Controller generates the Resolvable Private Address based on the local
                      IRK from the resolving list. If the resolving list contains no matching
                      entry, then use the random address from LE_Set_Random_Address.
 All other values     Reserved for future use

Scanning_Filter_Policy:                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 Accept all advertising packets except directed advertising packets not
                      addressed to this device

 0x01                 Accept only advertising packets from devices where the advertiser’s
                      address is in the White List. Directed advertising packets which are not
                      addressed to this device shall be ignored.
 0x02                 Accept all advertising packets except directed advertising packets
                      where the initiator’s identity address does not address this device.
                      Note: directed advertising packets where the initiator’s address is a
                      resolvable private address that cannot be resolved are also accepted.
 0x03                 Accept all advertising packets except:
                      •   advertising packets where the advertiser’s identity address is not in
                          the White List; and
                      •   directed advertising packets where the initiator’s identity address
                          does not address this device
                      Note: directed advertising packets where the initiator’s address is a
                      resolvable private address that cannot be resolved are also accepted.

 All other values     Reserved for future use

Scanning_PHYs:                                                                    Size: 1 Octet
 Bit number           Parameter Description

 0                    Scan advertisements on the LE 1M PHY
 2                    Scan advertisements on the LE Coded PHY

 All other bits       Reserved for future use




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Scan_Type[i]:                                Size: 1 Octet * bits set in Scanning_PHYs
 Value                Parameter Description

 0x00                 Passive Scanning. No scan request PDUs shall be sent.
 0x01                 Active Scanning. Scan request PDUs may be sent.
 All other values     Reserved for future use

Scan_Interval[i]:                           Size: 2 Octets * bits set in Scanning_PHYs
 Value                Parameter Description

 N = 0xXXXX           Time interval from when the Controller started its last scan until it
                      begins the subsequent scan on the primary advertising channel.
                      Range: 0x0004 to 0xFFFF
                      Time = N * 0.625 ms
                      Time Range: 2.5 ms to 40.959375 s

Scan_Window[i]:                             Size: 2 Octets * bits set in Scanning_PHYs
 Value                Parameter Description

 N = 0xXXXX           Duration of the scan on the primary advertising channel.
                      Range: 0x0004 to 0xFFFF
                      Time = N * 0.625 ms
                      Time Range: 2.5 ms to 40.959375 s

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Extended_Scan_Parameters command succeeded
 0x01 – 0xFF          HCI_LE_Set_Extended_Scan_Parameters command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Extended_Scan_Parameters command has completed, a
Command Complete event shall be generated.




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7.8.65 LE Set Extended Scan Enable Command


                                                         Command                Return
 Command                                        OCF
                                                         Parameters             Parameters

 HCI_LE_Set_Extended_Scan_Enable                0x0042   Enable,                Status
                                                         Filter_Duplicates,
                                                         Duration,
                                                         Period

Description:

The LE_Set_Extended_Scan_Enable command is used to enable or disable
scanning.

The Enable parameter determines whether scanning is enabled or disabled. If
it is disabled, the remaining parameters are ignored.

The Filter_Duplicates parameter controls whether the Link Layer should filter
out duplicate advertising reports (filtering duplicates enabled) to the Host or if
the Link Layer should generate advertising reports for each packet received
(filtering duplicates disabled). See [Vol 6] Part B, Section 4.4.3.5.

If the Filter_Duplicates parameter is set to 0x00, all advertisements received
from advertisers shall be sent to the Host in advertising report events.

If the Filter_Duplicates parameter is set to 0x01, duplicate advertisements
should not be sent to the Host in advertising report events until scanning is
disabled.

If the Filter_Duplicates parameter is set to 0x02, duplicate advertisements in a
single scan period should not be sent to the Host in advertising report events;
this setting shall only be used if Period is non-zero. If Filter_Duplicates is set to
0x2 and Period to zero, the Controller shall return the Invalid error code HCI
Command Parameters (0x12).

If the Duration parameter is zero or both the Duration parameter and Period
parameter are non-zero, the Controller shall continue scanning until scanning
is disabled by the Host issuing an LE_Set_Extended_Scan_Enable command
with the Enable parameter set to 0x00 (Scanning is disabled). The Period
parameter is ignored when the Duration parameter is zero.

If the Duration parameter is non-zero and the Period parameter is zero, the
Controller shall continue scanning until the duration specified in the Duration
parameter has expired.

If both the Duration and Period parameters are non-zero and the Duration
parameter is greater than or equal to the Period parameter, the Controller shall
return the error code Invalid HCI Command Parameters (0x12).


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When the Duration and Period parameters are non-zero, the Controller shall
scan for the duration of the Duration parameter within a scan period specified
by the Period parameter. After the scan period has expired, a new scan period
shall begin and scanning shall begin again for the duration specified. The scan
periods continue until the Host disables scanning.

If the LE_Set_Extended_Scan_Enable command is sent while scanning is
enabled, the timers used for duration and period are reset to the new
parameter values and a new scan period is started. Any change to the
Filter_Duplicates setting or the random address shall take effect. Note:
Disabling scanning when it is disabled has no effect.

Note: The duration of a scan period refers to the time spent scanning on both
the primary and secondary advertising channels. However, expiry of the
duration does not prevent the Link Layer from scanning for and receiving
auxiliary packets of received advertisements.

If the scanning parameters' Own_Address_Type parameter is set to 0x01 or
0x03 and the random address for the device has not been initialized, the
Controller shall return the error code Invalid HCI Command Parameters (0x12).

Command Parameters:

Enable:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Scanning disabled
 0x01                 Scanning enabled

 All other values     Reserved for future use

Filter_Duplicates:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 Duplicate filtering disabled

 0x01                 Duplicate filtering enabled
 0x02                 Duplicate filtering enabled, reset for each scan period
 All other values     Reserved for future use




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Duration:                                                                     Size: 2 Octets
 Value                Parameter Description

 0x0000               Scan continuously until explicitly disable
 N = 0xXXXX           Scan duration
                      Range: 0x0001 – 0xFFFF
                      Time = N * 10 ms
                      Time Range: 10 ms to 655.35 s

Period:                                                                       Size: 2 Octets
 Value                Parameter Description

 0x0000               Periodic scanning disabled
 N = 0xXXXX           Time interval from when the Controller started its last Scan_Duration
                      until it begins the subsequent Scan_Duration.
                      Range: 0x0001 – 0xFFFF
                      Time = N * 1.28 sec
                      Time Range: 1.28 s to 83,884.8 s

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Extended_Scan_Enable command succeeded

 0x01 – 0xFF          HCI_LE_Set_Extended_Scan_Enable command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the LE_Set_Extended_Scan_Enable command has completed, a
Command Complete event shall be generated.

Zero or more LE Extended Advertising Reports are generated by the Controller
based on any advertising packets received and the duplicate filtering in effect.
More than one advertising packet may be reported in each LE Advertising
Report event. If the LE_Set_Extended_Scan_Parameters Command
Scanning_Filter_Policy parameter is set to 0x02 or 0x03 (see Section 7.8.64),
LE Directed Advertising Report events may also be generated.

At the end of a single scan (Duration non-zero but Period zero), an LE Scan
Timeout event shall be generated.




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7.8.66 LE Extended Create Connection Command


                                                                                      Return
 Command                                 OCF         Command Parameters
                                                                                      Parameters

 HCI_LE_Extended_Create_                 0x0043      Initiator_Filter_Policy,
 Connection                                          Own_Address_Type,
                                                     Peer_Address_Type,
                                                     Peer_Address,
                                                     Initiating_PHYs,
                                                     Scan_Interval[i],
                                                     Scan_Window[i],
                                                     Conn_Interval_Min[i],
                                                     Conn_Interval_Max[i],
                                                     Conn_Latency[i],
                                                     Supervision_Timeout[i],
                                                     Minimum_CE_Length[i],
                                                     Maximum_CE_Length[i]

Description:

The LE_Extended_Create_Connection command is used to create a Link
Layer connection to a connectable advertiser.
LE_Extended_Create_Connection command can be used in place of
LE_Create_Connection command.

The Initiator_Filter_Policy parameter is used to determine whether the White
List is used. If the White List is not used, the Peer_Address_Type and the
Peer_Address parameters specify the address type and address of the
advertising device to connect to.

The Own_Address_Type parameter indicates the type of address being used
in the connection request packets.

The Peer_Address_Type parameter indicates the type of address used in the
connectable advertisement sent by the peer.

The Peer_Address parameter indicates the Peer’s Public Device Address,
Random (static) Device Address, Non-Resolvable Private Address, or
Resolvable Private Address depending on the Peer_Address_Type parameter.

The Initiating_PHYs parameter indicates the PHY(s) on which the advertising
packets should be received on the primary advertising channel and the PHYs
for which connection parameters have been specified. The Host may enable
one or more initiating PHYs. The array elements of the arrayed parameters are
ordered in the same order as the set bits in the Initiating_PHYs parameter,
starting from bit 0. The number of array elements is determined by the number
of bits set in the Initiating_PHYs parameter. When a connectable

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advertisement is received and a connection request is sent on one PHY,
scanning on any other PHYs is terminated.

The Scan_Interval[i] and Scan_Window[i] parameters are recommendations
from the Host on how long (Scan_Window[i]) and how frequently
(Scan_Interval[i]) the Controller should scan (see [Vol 6] Part B, Section 4.5.3);
however the frequency and length of the scan is implementation specific. If the
requested scan cannot be supported by the implementation, the Controller
shall return the error code Invalid HCI Command Parameters (0x12). If bit 1 is
set in Initiating_PHYs, the values for the LE 2M PHY are ignored.

The Conn_Interval_Min[i] and Conn_Interval_Max[i] parameters define the
minimum and maximum allowed connection interval. The Conn_Interval_Min[i]
parameter shall not be greater than the Conn_Interval_Max[i] parameter.

The Conn_Latency[i] parameter defines the maximum allowed connection
latency (see [Vol 6] Part B, Section 4.5.1).

The Supervision_Timeout[i] parameter defines the link supervision timeout for
the connection. The Supervision_Timeout[i] in milliseconds shall be larger than
(1 + Conn_Latency[i]) * Conn_Interval_Max[i] * 2, where Conn_Interval_Max[i]
is given in milliseconds (see [Vol 6] Part B, Section 4.5.2).

The Minimum_CE_Length[i] and Maximum_CE_Length[i] parameters are
informative parameters providing the Controller with the expected minimum
and maximum length of the connection events. The Minimum_CE_Length[i]
parameter shall be less than or equal to the Maximum_CE_Length[i]
parameter.

Where the connection is made on a PHY whose bit is not set in the
Initiating_PHYs parameter, the Controller shall use the Conn_Interval_Min[i],
Conn_Interval_Max[i], Conn_Latency[i], Supervision_Timeout[i],
Minimum_CE_Length[i], and Maximum_CE_Length[i] parameters for an
implementation-chosen PHY whose bit is set in the Initiating_PHYs parameter.

If the Host issues this command when another
LE_Extended_Create_Connection command is pending in the Controller, the
Controller shall return the error code Command Disallowed (0x0C).

If the Own_Address_Type parameter is set to 0x01 and the random address for
the device has not been initialized, the Controller shall return the error code
Invalid HCI Command Parameters (0x12).

If the Own_Address_Type parameter is set to 0x03, the Initiator_Filter_Policy
parameter is set to 0x00, the controller's resolving list did not contain a
matching entry, and the random address for the device has not been initialized,
the Controller shall return the error code Invalid HCI Command Parameters
(0x12).



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If the Own_Address_Type parameter is set to 0x03, the Initiator_Filter_Policy
parameter is set to 0x01, and the random address for the device has not been
initialized, the Controller shall return the error code Invalid HCI Command
Parameters (0x12).

If the Initiating_PHYs parameter does not have at least one bit set for a PHY
allowed for scanning on the primary advertising channel, the Controller shall
return the error code Invalid HCI Command Parameters (0x12).

Command Parameters:

Initiating_Filter_Policy:                                                       Size: 1 Octet
 Value                Parameter Description

 0x00                 White List is not used to determine which advertiser to connect to.
                      Peer_Address_Type and Peer_Address shall be used.

 0x01                 White List is used to determine which advertiser to connect to.
                      Peer_Address_Type and Peer_Address shall be ignored.

 All other values     Reserved for future use

Own_Address_Type:                                                               Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address

 0x01                 Random Device Address
 0x02                 Controller generates the Resolvable Private Address based on the local
                      IRK from the resolving list. If the resolving list contains no matching
                      entry, then use the public address.
 0x03                 Controller generates the Resolvable Private Address based on the local
                      IRK from the resolving list. If the resolving list contains no matching
                      entry, then use the random address from the most recent successful
                      LE_Set_Random_Address Command.

 All other values     Reserved for future use

Peer_Address_Type:                                                              Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address or Public Identity Address

 0x01                 Random Device Address or Random (static) Identity Address
 All other values     Reserved for future use




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Peer_Address:                                                                    Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, Random Device Address, Public Identity
 XX                   Address, or Random (static) Identity Address of the device to be con-
                      nected.

Initiating_PHYs:                                                                   Size: 1 Octet
 Bit number           Parameter Description

 0                    Scan connectable advertisements on the LE 1M PHY. Connection
                      parameters for the LE 1M PHY are provided.

 1                    Connection parameters for the LE 2M PHY are provided.
 2                    Scan connectable advertisements on the LE Coded PHY. Connection
                      parameters for the LE Coded PHY are provided.

 All other bits       Reserved for future use

Scan_Interval[i]:                            Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Time interval from when the Controller started its last scan until it
                      begins the subsequent scan on the primary advertising channel.
                      Range: 0x0004 to 0xFFFF
                      Time = N * 0.625 ms
                      Time Range: 2.5 ms to 40.959375 s

Scan_Window[i]:                              Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Duration of the scan on the primary advertising channel.
                      Range: 0x0004 to 0xFFFF
                      Time = N * 0.625 ms
                      Time Range: 2.5 ms to 40.959375 s

Conn_Interval_Min[i]:                        Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Minimum value for the connection interval. This shall be less
                      than or equal to Conn_Interval_Max[i].
                      Range: 0x0006 to 0x0C80
                      Time = N * 1.25 ms
                      Time Range: 7.5 ms to 4 s

 All other values     Reserved for future use




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Conn_Interval_Max[i]:                        Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Maximum value for the connection interval. This shall be greater than or
                      equal to Conn_Interval_Max[i].
                      Range: 0x0006 to 0x0C80
                      Time = N * 1.25 ms
                      Time Range: 7.5 ms to 4 s

 All other values     Reserved for future use

Conn_Latency[i]:                             Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Slave latency for the connection in number of connection events.
                      Range: 0x0000 to 0x01F3

 All other values     Reserved for future use

Supervision_Timeout[i]:                      Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Supervision timeout for the LE Link. (See [Vol 6] Part B, Section 4.5.2)
                      Range: 0x000A to 0x0C80
                      Time = N * 10 ms
                      Time Range: 100 ms to 32 s

 All other values     Reserved for future use

Minimum_CE_Length[i]:                        Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Informative parameter recommending the minimum length of connec-
                      tion event needed for this LE connection.
                      Range: 0x0000 – 0xFFFF
                      Time = N * 0.625 ms

Maximum_CE_Length[i]:                        Size: 2 Octets * bits set in Initiating_PHYs
 Value                Parameter Description

 N = 0xXXXX           Informative parameter recommending the maximum length of connec-
                      tion event needed for this LE connection.
                      Range: 0x0000 – 0xFFFF
                      Time = N * 0.625 ms

Return Parameters:

None.

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Event(s) Generated (unless masked away):

When the Controller receives the LE_Extended_Create_Connection
command, the Controller sends the Command Status event to the Host. An LE
Enhanced Connection Complete event shall be generated when a connection
is created or the connection creation procedure is cancelled. If a connection is
created, this event shall be immediately followed by an LE Channel Selection
Algorithm Event.

Note: No Command Complete event is sent by the Controller to indicate that
this command has been completed. Instead, the LE Enhanced Connection
Complete event indicates that this command has been completed.




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7.8.67 LE Periodic Advertising Create Sync Command


                                                                             Return
 Command                             OCF        Command Parameters
                                                                             Parameters

 HCI_LE_Periodic_                    0x0044     Filter_Policy,
 Advertising_Create_Sync                        Advertising_SID,
                                                Advertiser_Address_Type,
                                                Advertiser_Address,
                                                Skip,
                                                Sync_Timeout,
                                                Unused

Description:

The LE_Periodic_Advertising_Create_Sync command is used to synchronize
with periodic advertising from an advertiser and begin receiving periodic
advertising packets.

This command may be issued whether or not scanning is enabled and
scanning may be enabled and disabled (see the LE Set Extended Scan Enable
Command) while this command is pending. However, synchronization can only
occur when scanning is enabled. While scanning is disabled, no attempt to
synchronize will take place.

The Filter_Policy parameter is used to determine whether the Periodic
Advertiser List is used. If the Periodic Advertiser List is not used, the
Advertising_SID, Advertiser Address_Type, and Advertiser Address
parameters specify the periodic advertising device to listen to; otherwise they
are ignored.

The Advertising_SID parameter, if used, specifies the value that must match
the Advertising SID subfield in the ADI field of the received advertisement for it
to be used to synchronize.

The Skip parameter specifies the number of consecutive periodic advertising
packets that the receiver may skip after successfully receiving a periodic
advertising packet.

The Sync_Timeout parameter specifies the maximum permitted time between
successful receives. If this time is exceeded, synchronization is lost.

The Unused parameter is reserved for future use.

Irrespective of the value of the Skip parameter, the Controller should stop
skipping packets before the Sync_Timeout would be exceeded.




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If the Host issues this command when another
LE_Periodic_Advertising_Create_Sync command is pending (see page 1380),
the Controller shall return the error code Command Disallowed (0x0C).

If the Host issues this command for a periodic advertising set from an
advertiser that the Controller is already synchronized to, the Controller shall
return the error code Connection Already Exists (0x0B).

Command Parameters:

Filter_Policy:                                                                    Size: 1 Octet
 Value                Parameter Description

 0x00                 Use the Advertising_SID, Advertising_Address_Type, and Advertis-
                      ing_Address parameters to determine which advertiser to listen to.
 0x01                 Use the Periodic Advertiser List to determine which advertiser to listen
                      to.
 All other values     Reserved for future use

Advertising_SID:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00 – 0x0F          Advertising SID subfield in the ADI field used to identify the Periodic
                      Advertising
 All other values     Reserved for future use

Advertising_Address_Type:                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address
 0x01                 Random Device Address
 All other values     Reserved for future use

Advertiser_Address:                                                             Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, Random Device Address, Public Identity
 XX                   Address, or Random (static) Identity Address of the advertiser

Skip:                                                                           Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           The number of periodic advertising packets that can be skipped after a
                      successful receive
                      Range: 0x0000 to 0x01F3




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Sync_Timeout:                                                                    Size: 2 Octets
 Value                Parameter Description

 N = 0xXXXX           Synchronization timeout for the periodic advertising
                      Range: 0x000A to 0x4000
                      Time = N*10 ms
                      Time Range: 100 ms to 163.84 s


Unused:1                                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 This value must be used by the Host
 All other values     Reserved for future use




Return Parameters:

None.

Event(s) generated (unless masked away):

When the LE_Periodic_Advertising_Create_Sync command has been
received, the Controller sends the Command Status event to the Host. An LE
Periodic Advertising Sync Established event shall be generated when the
Controller starts receiving periodic advertising packets; until the event is
generated, the command is considered to be pending.

When the Controller receives periodic advertising packets, it sends LE Periodic
Advertising Report events to the Host.

Note: No Command Complete event is sent by the Controller to indicate that
this command has been completed. Instead, the LE Periodic Advertising Sync
Established event indicates that this command has been completed.




1. This parameter is intended to be used in a future feature.


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7.8.68 LE Periodic Advertising Create Sync Cancel Command


                                                               Command          Return
 Command                                             OCF
                                                               Parameters       Parameters

 HCI_LE_Periodic_Advertising_Create_                 0x0045                     Status
 Sync_Cancel

Description:

The LE_Periodic_Advertising_Create_Sync_Cancel command is used to
cancel the LE_Periodic_Advertising_Create_Sync command while it is
pending.

If the Host issues this command while no
LE_Periodic_Advertising_Create_Sync command is pending, the Controller
shall return the error code Command Disallowed (0x0C).

Command Parameters:

None.

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Periodic_Advertising_Create_Sync_Cancel command suc-
                      ceeded

 0x01 – 0xFF          HCI_LE_Periodic_Advertising_Create_Sync_Cancel command failed.
                      See [Vol 2] Part D, Error Codes for a list of error codes and descrip-
                      tions.

Event(s) generated (unless masked away):

When the LE_Periodic_Advertising_Create_Sync_Cancel command has
completed, the Controller sends a Command Complete event to the Host.

After the Command Complete is sent and if the cancellation was successful,
the Controller sends a LE Periodic Advertising Sync Established event to the
Host with the error code Operation Cancelled by Host (0x44).




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7.8.69 LE Periodic Advertising Terminate Sync Command


                                                              Command            Return
 Command                                             OCF
                                                              Parameters         Parameters

 HCI_LE_Periodic_Advertising_                        0x0046   Sync_Handle        Status
 Terminate_Sync

Description:

The LE_Periodic_Advertising_Terminate_Sync command is used to stop
reception of the periodic advertising identified by the Sync_Handle parameter.

If the Host issues this command when another
LE_Periodic_Advertising_Create_Sync command is pending (see below), the
Controller shall return the error code Command Disallowed (0x0C).

If the periodic advertising corresponding to the Sync_Handle parameter does
not exist, then the Controller shall return the error code Unknown Advertising
Identifier (0x42).

Command Parameters:

Sync_Handle:                                          Size: 2 Octets (12 bits meaningful)
 Value                Parameter Description

 0xXXXX               Sync_Handle to be used to identify the periodic advertiser
                      Range: 0x0000-0x0EFF
 All other values     Reserved for future use

Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Periodic_Advertising_Terminate_Sync command succeeded

 0x01 – 0xFF          HCI_LE_Periodic_Advertising_Terminate_Sync command failed. See
                      [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the LE_Periodic_Advertising_Terminate_Sync command has
completed, a Command Complete event shall be generated.




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7.8.70 LE Add Device To Periodic Advertiser List Command


                                                                                 Return
 Command                           OCF          Command Parameters
                                                                                 Parameters

 HCI_LE_Add_Device_To_             0x0047       Advertiser_Address_Type,         Status
 Periodic_Advertiser_List                       Advertiser_Address,
                                                Advertising_SID

Description:

The LE_Add_Device_To_Periodic_Advertiser_List command is used to add a
single device to the Periodic Advertiser list stored in the Controller. Any
additions to the Periodic Advertiser list take effect immediately. If the device is
already on the list, the Controller shall return the error code Invalid HCI
Command Parameters (0x12).

If the Host issues this command when an
LE_Periodic_Advertising_Create_Sync command is pending, the Controller
shall return the error code Command Disallowed (0x0C).

When a Controller cannot add a device to the Periodic Advertiser list because
the list is full, the Controller shall return the error code Memory Capacity
Exceeded (0x07).

Command Parameters:

Advertiser_Address_Type:                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address or Public Identity Address
 0x01                 Random Device Address or Random (static) Identity Address
 All other values     Reserved for future use

Advertiser_Address:                                                             Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, Random Device Address, Public Identity
 XX                   Address, or Random (static) Identity Address of the advertiser

Advertising_SID:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00-0x0F            Advertising SID subfield in the ADI field used to identify the Periodic
                      Advertising
 All other values     Reserved for future use




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Return Parameters:

Status:                                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Add_Device_To_Periodic_Advertiser_List command suc-
                      ceeded
 0x01 – 0xFF          HCI_LE_Add_Device_To_Periodic_Advertiser_List command failed.
                      See [Vol 2] Part D, Error Codes for a list of error codes and descrip-
                      tions.

Event(s) Generated (unless masked away):

When the HCI_LE_Add_Device_To_Periodic_Advertiser_List command has
completed, a Command Complete event shall be generated.




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7.8.71 LE Remove Device From Periodic Advertiser List Command


                                                                                   Return
 Command                              OCF         Command Parameters
                                                                                   Parameters

 HCI_LE_Remove_Device_                0x0048      Advertiser_Address_Type,         Status
 From_Periodic_Advertiser_List                    Advertiser_Address,
                                                  Advertising_SID

Description:

The LE_Remove_Device_From_Periodic_Advertiser_List command is used to
remove one device from the list of Periodic Advertisers stored in the Controller.
Removals from the Periodic Advertisers List take effect immediately.

If the Host issues this command when an
LE_Periodic_Advertising_Create_Sync command is pending, the Controller
shall return the error code Command Disallowed (0x0C).

When a Controller cannot remove a device from the Periodic Advertiser list
because it is not found, the Controller shall return the error code Unknown
Advertising Identifier (0x42).

Command Parameters:

Advertiser_Address_Type:                                                          Size: 1 Octet
 Value                Parameter Description

 0x00                 Public Device Address or Public Identity Address
 0x01                 Random Device Address or Random (static) Identity Address

 All other values     Reserved for future use

Advertiser_Address:                                                             Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Device Address, Random Device Address, Public Identity
 XX                   Address, or Random (static) Identity Address of the advertiser

Advertising_SID:                                                                  Size: 1 Octet
 Value                Parameter Description

 0x00-0x0F            Advertising SID subfield in the ADI field used to identify the Periodic
                      Advertising
 All other values     Reserved for future use




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Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Remove_Device_From_Periodic_Advertiser_List command
                      succeeded
 0x01 – 0xFF          HCI_LE_Remove_Device_From_Periodic_Advertiser_List command
                      failed. See [Vol 2] Part D, Error Codes for a list of error codes and
                      descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Remove_Device_From_Periodic_Advertiser_List
command has completed, a Command Complete event shall be generated.




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7.8.72 LE Clear Periodic Advertiser List Command


                                                              Command       Return
 Command                                             OCF
                                                              Parameters    Parameters

 HCI_LE_Clear_Periodic_Advertiser_List               0x0049                 Status

Description:

The LE_Clear_Periodic_Advertiser_List command is used to remove all
devices from the list of Periodic Advertisers in the Controller.

If this command is used when an LE_Periodic_Advertising_Create_Sync
command is pending, the Controller shall return the error code Command
Disallowed (0x0C).

Command Parameters:

None.

Return Parameters:

Status:                                                                      Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Clear_Periodic_Advertiser_List command succeeded
 0x01 – 0xFF          HCI_LE_Clear_Periodic_Advertiser_List command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Clear_Periodic_Advertiser_List command has completed, a
Command Complete event shall be generated.




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7.8.73 LE Read Periodic Advertiser List Size Command


                                            Command
 Command                        OCF                          Return Parameters
                                            Parameters

 HCI_LE_Read_Periodic_          0x004A                       Status,
 Advertiser_List_Size                                        Periodic_Advertiser_List_Size

Description:

The LE_Read_Periodic_Advertiser_List_Size command is used to read the
total number of Periodic Advertiser list entries that can be stored in the
Controller. Note: The number of entries that can be stored is not fixed and the
Controller can change it at any time (e.g., because the memory used to store
the list can also be used for other purposes).

Command Parameters:

None.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Read_Periodic_Advertiser_List_Size command succeeded
 0x01 – 0xFF          HCI_LE_Read_Periodic_Advertiser_List_Size command failed. See
                      [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

Periodic_Advertiser_List_Size:                                                    Size: 1 Octet
 Value                Parameter Description

 0x01 – 0xFF          Total number of Periodic Advertiser list entries that can be stored in the
                      Controller
 0x00                 Reserved for future use

Event(s) Generated (unless masked away):

When the HCI_LE_Read_Periodic_Advertiser_List_Size command has
completed, a Command Complete event shall be generated.




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7.8.74 LE Read Transmit Power Command


                                                       Command
 Command                                 OCF                        Return Parameters
                                                       Parameters

 HCI_LE_Read_Transmit_Power              0x004B                     Status,
                                                                    Min_ Tx_Power,
                                                                    Max_ Tx_Power

Description:

The LE_Read_Transmit_Power command is used to read the minimum and
maximum transmit powers supported by the Controller.

Command Parameters:

None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Read_Transmit_Power command succeeded

 0x01 – 0xFF          HCI_LE_Read_Transmit_Power command failed. See [Vol 2] Part D,
                      Error Codes for a list of error codes and descriptions.

Min_Tx_Power:                                                                 Size: 1 Octet
 Value                Parameter Description

 N = 0xXX             Size: 1 Octet (signed integer)
                      Range: -127 ≤ N ≤ +126
                      Units: dBm

Max_Tx_Power:                                                                 Size: 1 Octet
 Value                Parameter Description

 N = 0xXX             Size: 1 Octet (signed integer)
                      Range: -127 ≤ N ≤ +126
                      Units: dBm

Event(s) Generated (unless masked away):

When the HCI_LE_Read _Transmit_Power command has completed, a
Command Complete event shall be generated.




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7.8.75 LE Read RF Path Compensation Command


                                      Command
 Command                  OCF                           Return Parameters
                                      Parameters

 HCI_LE_Read_RF_          0x004C                        Status,
 Path_Compensation                                      RF_Tx_Path_Compensation_Value,
                                                        RF_Rx_Path_Compensation_Value

Description:

The LE_Read_RF_Path_Compensation command is used to read the RF Path
Compensation Values parameter used in the Tx Power Level and RSSI
calculation.

Command Parameters:

None.

Return Parameters:

Status:                                                                       Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Read_RF_Path_Compensation command succeeded
 0x01 – 0xFF          HCI_LE_Read_RF_Path_Compensation command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

RF_Tx_Path_Compensation_Value:                                              Size: 2 Octets
 Value                Parameter Description

 0xXXXX               Size: 2 Octets (signed integer)
                      Range: -128.0 dB (0xFB00) ≤ N ≤ 128.0 dB (0x0500)
                      Units: 0.1 dB

RF_Rx_Path_Compensation_Value:                                              Size: 2 Octets
 Value                Parameter Description

 0xXXXX               Size: 2 Octets (signed integer)
                      Range: -128.0 dB (0xFB00) ≤ N ≤ 128.0 dB (0x0500)
                      Units: 0.1 dB

Event(s) Generated (unless masked away):

When the HCI_LE_Read_RF_Path_Compensation command has completed,
a Command Complete event shall be generated.



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7.8.76 LE Write RF Path Compensation Command


                                                                            Return
 Command                  OCF         Command Parameters
                                                                            Parameters

 HCI_LE_Write_RF_         0x004D      RF_Tx_Path_Compensation_Value,        Status
 Path_Compensation                    RF_Rx_Path_Compensation_Value

Description:

The LE_Write_RF_Path_Compensation command is used to indicate the RF
path gain or loss between the RF transceiver and the antenna contributed by
intermediate components. A positive value means a net RF path gain and a
negative value means a net RF path loss. The RF Tx Path Compensation
Value parameter shall be used by the Controller to calculate radiative Tx Power
Level used in the TxPower field in the Extended Header using the following
equation:

Radiative Tx Power Level = Tx Power Level at RF transceiver output + RF Tx
Path Compensation Value

For example, if the Tx Power Level is +4 (dBm) at RF transceiver output and
the RF Path Compensation Value is -1.5 (dB), the radiative Tx Power Level is
+4+(-1.5) = 2.5 (dBm).

The RF Rx Path Compensation Value parameter shall be used by the
Controller to calculate the RSSI value reported to the Host.

Command Parameters:

RF_Tx_Path_Compensation_Value:                                            Size: 2 Octets
 Value                Parameter Description

 0xXXXX               Size: 2 Octets (signed integer)
                      Range: -128.0 dB (0xFB00) ≤ N ≤ 128.0 dB (0x0500)
                      Units: 0.1 dB

RF_Rx_Path_Compensation_Value:                                            Size: 2 Octets
 Value                Parameter Description

 0xXXXX               Size: 2 Octets (signed integer)
                      Range: -128.0 dB (0xFB00) ≤ N ≤ 128.0 dB (0x0500)
                      Units: 0.1 dB




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Return Parameters:

Status:                                                                    Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Write_RF_Path_Compensation command succeeded
 0x01 – 0xFF          HCI_LE_Write_RF_Path_Compensation command failed. See [Vol 2]
                      Part D, Error Codes for a list of error codes and descriptions.

Event(s) Generated (unless masked away):

When the HCI_LE_Write_RF_Path_Compensation command has completed,
a Command Complete event shall be generated.




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7.8.77 LE Set Privacy Mode Command


                                                                                  Return
 Command                           OCF         Command Parameters                 Parameter

 HCI_LE_Set_Privacy_Mode           0x004E      Peer_Identity_Address_Type,        Status
                                               Peer_Identity_Address,
                                               Privacy_Mode

Description:

The HCI_LE_Set_Privacy_Mode command is used to allow the Host to specify
the privacy mode to be used for a given entry on the resolving list. The effect of
this setting is specified in [Vol 6] Part B, Section 4.7.

When an entry on the resolving list is removed, the mode associated with that
entry shall also be removed.

This command cannot be used when address translation is enabled in the
Controller and:
• Advertising is enabled
• Scanning is enabled
• Create connection command is outstanding

This command can be used at any time when address translation is disabled in
the Controller.

If the device is not on the resolving list, the Controller shall return the error
code Unknown Connection Identifier (0x02).

Command Parameters:

Peer_Identity_Address_Type:                                                     Size: 1 Octet
 Value               Parameter Description

 0x00                Public Identity Address
 0x01                Random (static) Identity Address
 All other values    Reserved for future use

Peer Identity_Address:                                                        Size: 6 Octets
 Value                Parameter Description

 0xXXXXXXXXXX         Public Identity Address or Random (static) Identity Address of the
 XX                   advertiser




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Privacy_Mode:                                                                   Size: 1 Octet
 Value                Parameter Description

 0x00                 Use Network Privacy Mode for this peer device (default)
 0x01                 Use Device Privacy Mode for this peer device
 All other values     Reserved for future use

Return Parameters:

Status:                                                                         Size: 1 Octet
 Value                Parameter Description

 0x00                 HCI_LE_Set_Privacy_Mode command succeeded

 0x01 - 0xFF          HCI_LE_Set_Privacy_Mode command failed. See [Vol 2] Part D, Error
                      Codes for a list of error codes and descriptions.




Event(s) Generated (unless masked away):

When the HCI_LE_Set_Privacy_Mode command has completed, a Command
Complete event shall be generated.




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APPENDIX A DEPRECATED COMMANDS, EVENTS
                              AND CONFIGURATION PARAMETERS

Commands, events and configuration parameters in this section were in prior
versions of the specification, but have been determined not to be required.

They may be implemented by a Controller to allow for backwards compatibility
with a Host utilizing a prior version of the specification.

A Host should not use these commands.
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         A.2     Write Page Scan Mode Command ............................... page 1397
         A.3     Read Page Scan Period Mode Command ................... page 1398
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A.1 READ PAGE SCAN MODE COMMAND
                                                              Command
 Command                                OGF       OCF         Parameters   Return Parameters

 HCI_Read_Page_Scan_Mode                0x03      0x003D                   Status,
                                                                           Page_Scan_Mode

Description:

This command is used to read the default Page Scan Mode configuration
parameter of the local BR/EDR Controller. See Section A.10.2.

Command Parameters:

None.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value               Parameter Description

 0x00                Read_Page_Scan_Mode command succeeded.
 0x01-0xFF           Read_Page_Scan_Mode command failed. See [Vol 2] Part D, Error
                     Codes for a list of error codes and descriptions.

Page_Scan_Mode:                                                                   Size: 1 Octet
 Value               Parameter Description

 See Appendix A, Section A.10.2.

Event(s) generated (unless masked away):

When the Read_Page_Scan_Mode command has completed, a Command
Complete event will be generated.




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A.2 WRITE PAGE SCAN MODE COMMAND

                                                                                   Return
 Command                               OGF     OCF         Command Parameters      Parameters

 HCI_Write_Page_Scan_Mode              0x03    0x003E      Page_Scan_Mode          Status

Description:

This command is used to write the default Page Scan Mode configuration
parameter of the local BR/EDR Controller. See Section A.10.2

Command Parameters:

Page_Scan_Mode:                                                                   Size: 1 Octet
 Value               Parameter Description

 See Section A.10.2.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value               Parameter Description

 0x00                Write_Page_Scan_Mode command succeeded.
 0x01-0xFF           Write_Page_Scan_Mode command failed. See [Vol 2] Part D, Error
                     Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Page_Scan_Mode command has completed, a Command
Complete event will be generated.




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A.3 READ PAGE SCAN PERIOD MODE COMMAND

                                                       Command
 Command                          OGF      OCF         Parameters      Return Parameters

 HCI_Read_Page_Scan_              0x03     0x003B                      Status,
 Period_Mode                                                           Page_Scan_Period_Mode

Description:

This command is used to read the mandatory Page_Scan_Period_Mode
configuration parameter of the local BR/EDR Controller. See Section 6.10.

Command Parameters:

None.

Return Parameters:

Status:                                                                                Size: 1 Octet
 Value               Parameter Description

 0x00                Read_Page_Scan_Period_Mode command succeeded.
 0x01-0xFF           Read_Page_Scan_Period_Mode command failed. See [Vol 2] Part D,
                     Error Codes for a list of error codes and descriptions.

Page_Scan_Period_Mode:                                                                 Size: 1 Octet
 Value                Parameter Description

 0x00                 P0
 0x01                 P1

 0x02                 P2
 All other values     Reserved for future use.

Event(s) generated (unless masked away):

When the Read_Page_Scan_Period_Mode command has completed, a
Command Complete event will be generated.




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A.4 WRITE PAGE SCAN PERIOD MODE COMMAND

                                                                                   Return
 Command                         OGF      OCF          Command Parameters          Parameters

 HCI_Write_Page_Scan_            0x03     0x003C       Page_Scan_Period_Mode       Status
 Period_Mode

Description:
This command is used to write the mandatory Page_Scan_Period_Mode
configuration parameter of the local BR/EDR Controller. See Section 6.10.

Command Parameters:

Page_Scan_Period_Mode:                                                            Size: 1 Octet
 Value                Parameter Description

 0x00                 P0
 0x01                 P1
 0x02                 P2. Default.

 All other values     Reserved for future use.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value               Parameter Description

 0x00                Write_Page_Scan_Period_Mode command succeeded.
 0x01-0xFF           Write_Page_Scan_Period_Mode command failed. See [Vol 2] Part D,
                     Error Codes for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Page_Scan_Period_Mode command has completed, a
Command Complete event will be generated.




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A.5 ADD SCO CONNECTION COMMAND

                                                            Command                Return
 Command                              OGF       OCF         Parameters             Parameters

 HCI_Add_SCO_Connection               0x01      0x0007      Connection_Handle,
                                                            Packet_Type

Description:

This command will cause the Link Manager to create a SCO connection using
the ACL connection specified by the Connection_Handle command parameter.
This command causes the local BR/EDR Controller to create a SCO
connection. The Link Manager will determine how the new connection is
established. This connection is determined by the current state of the device,
its piconet, and the state of the device to be connected. The Packet_Type
command parameter specifies which packet types the Link Manager should
use for the connection. The Link Manager must only use the packet type(s)
specified by the Packet_Type command parameter for sending HCI SCO Data
Packets. Multiple packet types may be specified for the Packet_Type
command parameter by performing a bitwise OR operation of the different
packet types. The Link Manager may choose which packet type is to be used
from the list of acceptable packet types. A Connection_Handle for this
connection is returned in the Connection Complete event (see below).

Note: A SCO connection can only be created when an ACL connection already
exists. For a definition of the different packet types, see the [Vol 2] Part B,
Baseband Specification.

Note: At least one packet type must be specified. The Host should enable as
many packet types as possible for the Link Manager to perform efficiently.
However, the Host must not enable packet types that the local device does not
support.

Command Parameters:

Connection_Handle                                          Size 2 Octets (12 Bits meaningful)
 Value               Parameter Description

 0xXXXX              Connection_Handle
                     Range: 0x0000-0x0EFF (all other values reserved for future use)




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Packet_Type:                                                               Size: 2 Octets
 Value                  Parameter Description

 0x0001                 Reserved for future use.
 0x0002                 Reserved for future use.
 0x0004                 Reserved for future use.

 0x0008                 Reserved for future use.
 0x0010                 Reserved for future use.
 0x0020                 HV1

 0x0040                 HV2
 0x0080                 HV3
 0x0100                 Reserved for future use.

 0x0200                 Reserved for future use.
 0x0400                 Reserved for future use.

 0x0800                 Reserved for future use.
 0x1000                 Reserved for future use.
 0x2000                 Reserved for future use.

 0x4000                 Reserved for future use.
 0x8000                 Reserved for future use.

Return Parameters:

None.

Event(s) generated (unless masked away):

When the Controller receives the Add_SCO_Connection command, it sends
the Command Status event to the Host. In addition, when the LM determines
the connection is established, the local Controller will send a Connection
Complete event to its Host, and the remote Controller will send a Connection
Complete event or a Synchronous Connection Complete event to the Host.
The Connection Complete event contains the Connection_Handle if this
command is successful.

Note: No Command Complete event will be sent by the Controller to
indicate that this command has been completed. Instead, the Connection
Complete event will indicate that this command has been completed.




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A.6 PAGE SCAN MODE CHANGE EVENT
 Event                                         Event Code        Event Parameters

 Page Scan Mode Change                         0x1F              BD_ADDR, Page_Scan_Mode

Description:

The Page Scan Mode Change event indicates that the connected remote BR/
EDR Controller with the specified BD_ADDR has successfully changed the
Page_Scan_Mode.

Event Parameters:

BD_ADDR:                                                                         Size: 6 Octets
 Value               Parameter Description

 0xXXXXXXXX          BD_ADDR of the remote device.
 XXXX

Page_Scan_Mode:                                                                     Size: 1 Octet
 Value                  Parameter Description

 0x00                   Mandatory Page Scan Mode.

 0x01                   Optional Page Scan Mode I.
 0x02                   Optional Page Scan Mode II.
 0x03                   Optional Page Scan Mode III.

 0x04 – 0xFF            Reserved for Future Use.




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A.7 READ COUNTRY CODE COMMAND
                                                            Command
 Command                              OGF      OCF          Parameters   Return Parameters

 HCI_Read_Country_Code                0x04     0x0007                    Status,
                                                                         Country_Code

Description:

This command will read the value for the Country_Code return parameter.
The Country_Code defines which range of frequency band of the ISM 2.4 GHz
band will be used by the device. Each country has local regulatory bodies
regulating which ISM 2.4 GHz frequency ranges can be used.

Command Parameters:

None.

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value               Parameter Description

 0x00                Read_Country_Code command succeeded.

 0x01-0xFF           Read_Country_Code command failed. See [Vol 2] Part D, Error Codes for
                     error codes and descriptions.

Country_Code:                                                                      Size: 1 Octet
 Value                Parameter Description

 0x00                 North America & Europe* and Japan

 0x01                 France
 All other values     Reserved for future use.

 *. Except France

Event(s) generated (unless masked away):

When the Read_Country_Code command has completed, a Command
Complete event will be generated.




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A.8 READ ENCRYPTION MODE COMMAND

                                                               Command
 Command                                 OGF      OCF          Parameters   Return Parameters

 HCI_Read_Encryption_Mode                0x03     0x0021                    Status,
                                                                            Encryption_Mode

Description:

This command will read the value for the Encryption_Mode configuration
parameter. See Section A.10.1.

Command Parameters:

None.

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value               Parameter Description

 0x00                Read_Encryption_Mode command succeeded.
 0x01-0xFF           Read_Encryption_Mode command failed. See [Vol 2] Part D, Error Codes
                     for a list of error codes and descriptions.

Encryption_Mode:                                                                   Size: 1 Octet
 Value               Parameter Description

 See Section A.10.1

Event(s) generated (unless masked away):

When the Read_Encryption_Mode command has completed, a Command
Complete event will be generated.




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A.9 WRITE ENCRYPTION MODE COMMAND

                                                                                    Return
 Command                              OGF      OCF         Command Parameters       Parameters

 HCI_Write_Encryption_Mode            0x03     0x0022      Encryption_Mode          Status

Description:

This command will write the value for the Encryption_Mode configuration
parameter. See Section A.10.1.

Command Parameters:

Encryption_Mode:                                                                   Size: 1 Octet
 Value               Parameter Description

 See Section A.10.1.

Return Parameters:

Status:                                                                           Size: 1 Octet
 Value               Parameter Description

 0x00                Write_Encryption_Mode command succeeded.
 0x01-0xFF           Write_Encryption_Mode command failed. See [Vol 2] Part D, Error Codes
                     for a list of error codes and descriptions.

Event(s) generated (unless masked away):

When the Write_Encryption_Mode command has completed, a Command
Complete event will be generated.




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A.10 DEPRECATED PARAMETERS

A.10.1 Encryption Mode

The Encryption_Mode parameter controls if the local device requires
encryption to the remote device at connection setup (between the
Create_Connection command or acceptance of an incoming ACL connection
and the corresponding Connection Complete event). At connection setup, only
devices with the Authentication_Enabled configuration parameter set to
required and the Encryption_Mode configuration parameter set to required will
try to encrypt the physical link to the other device.

Note: Changing this parameter does not affect existing connections.

A temporary link key is used when both broadcast and point-to-point traffic are
encrypted.

The Host must not specify the Encryption_Mode parameter with more
encryption capability than its local device currently supports, although the
parameter is used to request the encryption capability to the remote device.
Note that the Host must not request the command with the Encryption_Mode
parameter set to 0x01, when the local device does not support encryption.

Note: For encryption to be used, both devices must support and enable
encryption.

 Value                Parameter Description

 0x00                 Encryption not required.

 0x01                 Encryption required for all connections.
 All other values     Reserved for future use.

Note: In the Connection Complete event the Encryption_Mode parameter will
show whether encryption was successfully turned on. If the remote device
does not support encryption or has set Encryption_Mode to 0x01 when the
local device has not, the encryption mode returned in the Connection Complete
event may or may not equal the encryption mode set in the
Write_Encryption_Mode command.

A.10.2 Page Scan Mode

The Page_Scan_Mode parameter indicates the page scan mode that is used
for default page scan. Currently one mandatory page scan mode and three
optional page scan modes are defined. Following an inquiry response, if the
Baseband timer T_mandatory_pscan has not expired, the mandatory page




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scan mode must be applied. For details see the [Vol 2] Part B, Baseband
Specification (Keyword: Page Scan Mode, FHS Packet, T_mandatory_pscan)

 Value                Parameter Description

 0x00                 Mandatory Page Scan Mode
 0x01                 Optional Page Scan Mode I

 0x02                 Optional Page Scan Mode II
 0x03                 Optional Page Scan Mode III
 All other values     Reserved for future use


A.10.3 Page Scan Period Mode

Every time an inquiry response message is sent, the BR/EDR Controller will
start a timer (T_mandatory_pscan), the value of which is dependent on the
Page_Scan_Period_Mode. As long as this timer has not expired, the BR/EDR
Controller will use the mandatory page scan mode for all following page scans.

Note: The timer T_mandatory_pscan will be reset at each new inquiry
response. For details see [Vol 2] Part B, Baseband Specification.

 Value                Parameter Description
 0x00                 P0
 0x01                 P1
 0x02                 P2
 All other values     Reserved for future use.




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    Core System Package [BR/EDR Controller volume]
                                                                Part F




         PART F: MESSAGE SEQUENCE
                           CHARTS




                          Examples of interactions between Host
                          Controller Interface Commands and
                          Events and Link Manager Protocol
                          Data Units are represented in the form
                          of message sequence charts. The
                          message sequence charts also present
                          interaction examples of HCI with AMP
                          (Alternate MAC and PHY) Controllers.
                          These charts show typical interactions
                          and do not indicate all possible
                          protocol behavior.




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Message Sequence Charts


1 INTRODUCTION

This section shows typical interactions between Host Controller Interface (HCI)
Commands and Events and Link Manager (LM) Protocol Data Units (PDU) on
the BR/EDR Controller. It focuses on the message sequence charts (MSCs) for
the procedures specified in “Host Controller Interface Functional Specification”
with regard to LM Procedures from “Link Manager Protocol Specification” and
PALs found in [Vol 5] Part A.

This section illustrates only the most useful scenarios, it does not cover all
possible alternatives. Furthermore, the message sequence charts do not
consider errors over the air interface or Host interface. In all message
sequence charts it is assumed that all events are not masked, so the Host
Controller will not filter out any events.

The sequence of messages in these message sequence charts is for
illustrative purposes. The messages may be sent in a different order where
allowed by the Link Manager, PAL, or HCI sections. If any of these charts differ
with text in the Baseband, Link Manager, PAL, or HCI sections, the text in those
sections shall be considered normative. This section is informative.

1.1 NOTATION
The notation used in the message sequence charts (MSCs) consists of ovals,
elongated hexagons, boxes, lines, and arrows. The vertical lines terminated on
the top by a shadow box and at the bottom by solid oval indicate a protocol
entity that resides in a device. MSCs describe interactions between these
entities and states those entities may be in.

The following symbols represent interactions and states:

 Oval            Defines the context for the message sequence chart.

                 Indicates a condition needed to start the transactions below this hexagon.
                 The location and width of the Hexagon indicates which entity or entities
 Hexagon         make this decision.
                 Replaces a group of transactions. May indicate a user action, or a proce-
 Box             dure in the baseband.

 Dashed Box      Optional group of transactions.

                 Represents a message, signal or transaction. Can be used to show LMP
                 and HCI traffic.
                 Some baseband packet traffic is also shown. These are prefixed by BB
                 followed by either the type of packet, or an indication that there is an ACK
 Solid Arrow     signal in a packet.

                 Represents an optional message, signal or transaction. Can be used to
 Dashed Arrow    show LMP and HCI traffic.




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1.2 FLOW OF CONTROL
Some message sequences are split into several charts. These charts are
marked in sequence with different step numbers with multiple paths through
with optional letters after the step numbers. Numbers indicate normal or
required ordering. The letters represent alternative paths. For example, Step 4
is after Step 3, and Step 5a could be executed instead of Step 5b.

1.3 EXAMPLE MSC
The protocol entities represented in the example shown in Figure 1.1 illustrate
the interactions of two devices named A and B. Note that each device includes
a Host and a LM entity in this example. Other MSCs in this section may show
the interactions of more than two devices.


                                         LM-A                        LM-B
           Host A                                                                                     Host B
                                         Master                      Slave



                                    Step 1: Context Statement for following chart



               User
               Input


                       HCI_Command

                        HCI_Event

                                                     LMP_message




                                               Group of Transactions


                                                     LMP_message




                                     LM-A Decision


                                                     LMP_optional




                                               LM-A & LM-B Decision


                                                     LMP_message


                                                     LMP_message

                        HCI_Event                                                   HCI_Event




Figure 1.1: Example MSC


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Message Sequence Charts


2 SERVICES WITHOUT CONNECTION REQUEST

2.1 REMOTE NAME REQUEST
The service Remote Name Request is used to find out the name of the remote
device without requiring an explicit ACL Connection.

Step 1: The Host sends an HCI_Set_Event_Mask with the bit of Remote Host
Supported Features Notification Event (bit 60) set and an
HCI_Remote_Name_Request command expecting that its local device will
automatically try to connect to the remote device. (See Figure 2.1.)


                                             LM-A                           LM-B
          Host A                                                                          Host B
                                             Master                         Slave



                             Step 1: Host A requests sending Remote_Name_Request

                     HCI_Set_Event_Mask
                                                Only necessary if local
                         (bit 60 is set)        device supports SSP and
                                                this command has not been
                    HCI_Command_Complete        issued yet

                   HCI_Remote_Name_Request


                     HCI_Command_Status




Figure 2.1: Remote name request




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Step 2a: If an ACL Connection does not exist device A pages device B. After
the Baseband paging procedure, the local device attempts to get the remote
device's extended features, send an
HCI_Remote_Device_Supported_Features_Notification event, get the remote
name, disconnect, and return the name of the remote device to the Host. (See
Figure 2.2.)


                                          LM-A                            LM-B
          Host A                                                                                        Host B
                                          Master                          Slave



                      Step 2a: LM-A does not have a Baseband connection to Device B



                                             Device A pages Device B

                                                    LMP_features_req


                                                    LMP_features_res


                                                   LMP_features_req_ext

                                                   LMP_features_res_ext
                                                                              Only necessary if
                                                                              device supports
                    HCI_Remote_Host_                                          extended features
                    Supported_Features_
                        Notification


                                                     LMP_name_req


                                                      LMP_name_res


                    HCI_Remote_Name_
                     Request_Complete


                                                       LMP_detach




Figure 2.2: Remote name request if no current baseband connection




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Step 2b: If an ACL Connection exists when the request is made, then the
Remote Name Request procedure will be executed like an optional service. No
Paging and no ACL disconnect is done. (See Figure 2.3.)


                                        LM-A                    LM-B
          Host A                                                                       Host B
                                        Master                  Slave



                       Step 2b: LM-A already has a Baseband connection to Device B

                                                 LMP_name_req

                                                 LMP_name_res


                    HCI_Remote_Name_
                     Request_Complete




Figure 2.3: Remote name request with baseband connection




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2.2 ONE-TIME INQUIRY
Inquiry is used to detect and collect nearby devices.

Step 1: The Host sends an HCI_Inquiry command. (See Figure 2.4.)



                                           LM-A
          Host A                                                        BB-B                    BB-C
                                           Master



                                         Step 1: Host A starts Inquiry Procedure

                       HCI_Inquiry


                   HCI_Command_Status




Figure 2.4: Host A starts inquiry procedure


Step 2: The Controller will start the Baseband inquiry procedure with the
specified Inquiry Access Code and Inquiry Length. When Inquiry Responses
are received, the Controller extracts the required information and returns the
information related to the found devices using one or more Inquiry Result
events to the Host. (See Figure 2.5.)


                                           LM-A
          Host A                                                        BB-B                    BB-C
                                           Master



                                                 Step 2: Inquiry is active


                                                 Device A Performs Inquiry by sending ID packets,
                                                receives FHS packets from Device B and Device C


                                                           BB

                    HCI_Inquiry_Result

                                                                         BB

                    HCI_Inquiry_Result




Figure 2.5: LM-A performs inquiry and reports result




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Step 3a: If the Host wishes to terminate an Inquiry, the HCI_Inquiry_Cancel
command is used to immediately stop the inquiry procedure.
(See Figure 2.6.)


                                           LM-A
          Host A                                                    BB-B                    BB-C
                                           Master



                                 Step 3a: Host A decides to cancel Current Inquiry

                     HCI_Inquiry_Cancel

                   HCI_Command_Complete




Figure 2.6: Host A cancels inquiry


Step 3b: If the Inquiry procedure is completed due to the number of results
obtained, or the Inquiry Length has expired, an Inquiry Complete event is
returned to the Host. (See Figure 2.7.)


                                           LM-A
          Host A                                                    BB-B                    BB-C
                                           Master


                       Step 3b: LM-A terminates Inquiry when Inquiry Length expired or
                                         Num Responses returned
                    HCI_Inquiry_Complete




Figure 2.7: LM-A terminates current inquiry




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2.3 PERIODIC INQUIRY
Periodic inquiry is used when the inquiry procedure is to be repeated
periodically.

Step 1: The Hosts sends an HCI_Periodic_Inquiry_Mode command. (See
Figure 2.8.)


                                             LM-A
          Host A                                                          BB-B                  BB-C
                                             Master



                                           Step 1: Host A requires Periodic Inquiry

                    HCI_Periodic_Inquiry

                   HCI_Command_Complete




Figure 2.8: Host A starts periodic inquiry


Step 2: The Controller will start a periodic Inquiry. In the inquiry cycle, one or
several Inquiry Result events will be returned. (See Figure 2.9.)


                                             LM-A
          Host A                                                          BB-B                  BB-C
                                             Master



                                     Step 2: Periodically an Inquiry is Performed


                                                             Device A Performs Inquiry
                                                  Receives FHS packets from Device B and Device C


                                                             BB

                     HCI_Inquiry_Result

                                                                           BB

                     HCI_Inquiry_Result




Figure 2.9: LM-A periodically performs an inquiry and reports result




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Step 3: An Inquiry Complete event will be returned to the Host when the
current periodic inquiry has finished. (See Figure 2.10.)


                                               LM-A
          Host A                                                    BB-B                        BB-C
                                               Master



             Step 3: LM-A terminates Inquiry when Inquiry Length or Num Responses returned

                    HCI_Inquiry_Complete




Figure 2.10: LM-A terminates current inquiry


Step 4: The periodic Inquiry can be stopped using the
HCI_Exit_Periodic_Inquiry_Mode command. (See Figure 2.11.)


                                               LM-A
          Host A                                                    BB-B                        BB-C
                                               Master



                             Step 4: Host A decides to cancel Current Periodic Inquiry

                   HCI_Exit_Periodic_Inquiry


                   HCI_Command_Complete




Figure 2.11: Host A decides to exit periodic inquiry




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Message Sequence Charts


3 ACL CONNECTION ESTABLISHMENT AND
DETACHMENT

A flow diagram of the establishment and detachment of a connection between
two devices is shown in Figure 3.1. The process is illustrated in 9 distinct steps.
A number of these steps may be optionally performed, such as authentication
and encryption. Some steps are required, such as the Connection Request and
Setup Complete steps. The steps in the overview diagram directly relate to the
steps in the following message sequence charts.


                                    Step 1:Create Connection

                                   Step 2:FeaturesExchange

                                   Step 3:Connection Request

                                  Step 4:Optional Role Switch

                                       Step 5:Optional AFH

                                     Step 6:OptionalSecurity


                      Step 7a:Optional                Step 7b:Optional
                           Pairing                     Authentication


                                   Step 8:OptionalEncryption

                                     Step 9:Setup Complete

                                        OptionalDataFlow

                                      Step 10:Disconnection

Figure 3.1: Overview diagram for connection setup




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3.1 CONNECTION SETUP
Step 1: The Host sends an HCI_Create_Connection command to the
Controller. The Controller then performs a Baseband paging procedure with the
specified BD_ADDR. (See Figure 3.2.)


                                           LM-A                            LM-B
          Host A                                                                         Host B
                                           Master                          Slave



                                Step 1: Host A requests a connection to Device B

                   HCI_Create_Connection

                   HCI_Command_Status




                                              Device A pages Device B




Figure 3.2: Host A requests connection with device B


Step 2: Optionally, the LM may decide to exchange features.
(See Figure 3.3.)


                                           LM-A                            LM-B
          Host A                                                                         Host B
                                           Master                          Slave



                            Step 2: LM-A exchanges Extended Features with LM-B

                                                    LMP_features_req_ext

                                                    LMP_features_res_ext


                                                    LMP_features_req_ext

                                                    LMP_features_res_ext




Figure 3.3: LM-A and LM-B exchange features




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Step 3: The LM on the master will request an LMP_Host_connection_req
PDU. The LM on the slave will then confirm that a connection is OK, and if so,
what role is preferred. (See Figure 3.4)


                                             LM-A                               LM-B
          Host A                                                                                                   Host B
                                             Master                             Slave



                              Step 3: LM-A sends Host Connection Request to LM-B

                                                      LMP_Host_connection_req

                                                                                          HCI_Connection_Request




Figure 3.4: LM-A requests Host connection


Step 4a: The remote Host rejects this connection, and the link is terminated.
(See Figure 3.5.)


                                             LM-A                               LM-B
          Host A                                                                                                   Host B
                                             Master                             Slave



                              Step 4a: LM-B rejects Connection Request from LM-A

                                                                                        HCI_Reject_Connection_Request


                                                         LMP_not_accepted


                                                           LMP_detach

                   HCI_Connection_Complete                                               HCI_Connection_Complete

                       (Host Rejected)                                                        (Host Rejected)




Figure 3.5: Device B rejects connection request




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Step 4b: The remote Host accepts this connection. (See Figure 3.6.)


                                             LM-A                                 LM-B
          Host A                                                                                                      Host B
                                             Master                               Slave



                      Step 4b: LM-B accepts Connection Request from LM-A as a slave

                                                                                          HCI_Accept_Connection_Request
                                                                                                (Slave Preferred)

                                                                                             HCI_Command_Status


                                                           LMP_accepted




Figure 3.6: Device B accepts connection request


Step 4c: The remote Host accepts this connection but with the preference of
being a master. This will cause a role switch to occur before the LMP_accepted
for the LMP_Host_connection_req PDU is sent. (See Figure 3.7.)


                                             LM-A                                 LM-B
          Host A                                                                                                      Host B
                                             Master                               Slave



                     Step 4c: LM-B accepts Connection Request from LM-A as a master

                                                                                          HCI_Accept_Connection_Request
                                                                                               (Master Preferred)


                                                                                             HCI_Command_Status

                                                           LMP_slot_offset


                                                           LMP_switch_req


                                                           LMP_accepted




                                                          Role Switch


                                                           LMP_accepted
                                                      (LMP_host_connection_req)


                   HCI_Role_Change (Slave)                                                 HCI_Role_Change (Master)




Figure 3.7: Device B accepts connection requests as master




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Message Sequence Charts

Step 5: After the features have been exchanged and AFH support is
determined to be available, the master may at any time send an LMP_set_AFH
and LMP_channel_classification_req PDU. (See Figure 3.8.)


                                          LM-A                                  LM-B
          Host A                                                                              Host B
                                          Master                                Slave



                                            Step 5: LM-A may enable AFH

                                                         LMP_set_AFH




                                      LM-A may enable channel classification

                                                LMP_channel_classification_req


                                                   LMP_channel_classification

                                                   LMP_channel_classification




Figure 3.8: LM-A starts adaptive frequency hopping


Step 6: The LM will request if authentication is required. It does this by
requesting the Link Key for this connection from the Host. (See Figure 3.9.)


                                          LM-A                                  LM-B
          Host A                                                                              Host B
                                          Master                                Slave



                                          Step 6: LM Authentication required

                   HCI_Link_Key_Request




Figure 3.9: Authentication initiated




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Step 7a: If authentication is required by the higher layers and the devices to
be connected do not have a common link key, a pairing procedure will be used.
The LM will have requested a link key from the Host for this connection. If there
is a negative reply, then a PIN code will be requested. This PIN code will be
requested on both sides of the connection, and authentication performed
based on this PIN code. The last step is for the new link key for this connection
to be passed to the Host so that it may store it for future connections.
(See Figure 3.10.)


                                               LM-A                    LM-B
          Host A                                                                                            Host B
                                               Master                  Slave



                                   Step 7a: Pairing during connection establishment

              HCI_Link_Key_Request_Negative_Reply

                   HCI_Command_Complete


                    HCI_PIN_Code_Request




           User
        inputs PIN
           Code


                 HCI_PIN_Code_Request_Reply


                   HCI_Command_Complete


                                                         LMP_in_rand


                                                                                HCI_PIN_Code_Request




                                                                                                           User
                                                                                                        inputs PIN
                                                                                                           Code


                                                                               HCI_PIN_Code_Request_Reply


                                                                                HCI_Command_Complete

                                                        LMP_accepted

                                                        LMP_comb_key


                                                        LMP_comb_key

                                                        LMP_au_rand

                                                          LMP_sres

                                                        LMP_au_rand


                                                          LMP_sres

                   HCI_Link_Key_Notification                                    HCI_Link_Key_Notification




Figure 3.10: Pairing during connection setup



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Step 7b: If a common link key exists between the devices, then pairing is not
needed. The LM will have asked for a link key from the Host for this
connection. If this is a positive reply, then the link key is used for authentication.
If the configuration parameter Authentication_Enable is set, then the
authentication procedure must be executed. This MSC only shows the case
when Authentication_Enable is set on both sides. (See Figure 3.11.)


                                          LM-A                   LM-B
          Host A                                                                                  Host B
                                          Master                 Slave



                           Step 7b: Authentication during connection establishment

                HCI_Link_Key_Request_Reply

                   HCI_Command_Complete

                                                   LMP_au_rand


                                                                           LMP_Link_Key_Request

                                                                         HCI_Link_Key_Request_Reply


                                                    LMP_sres


                                                                          HCI_Command_Complete

                                                   LMP_au_rand


                                                    LMP_sres




Figure 3.11: Authentication during connection setup




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Step 8: Once the pairing or authentication procedure is successful, the
encryption procedure may be started. This MSC only shows the set up of an
encrypted point-to-point connection. (See Figure 3.12.)


                                             LM-A                                LM-B
          Host A                                                                                                   Host B
                                             Master                              Slave



                           Step 8: Starting encryption during connection establishment



                                                 If (encryption required)


                                                      LMP_encryption_mode_req


                                                           LMP_accepted

                                                  LMP_encryption_key_size_req

                                                           LMP_accepted


                                                      LMP_start_encryption_req

                                                           LMP_accepted




Figure 3.12: Starting encryption during connection setup


Step 9: The LMs indicate that the connection is setup by sending
LMP_setup_complete PDU. This will cause the Host to be notified of the new
connection handle, and this connection may be used to send higher layer data
such as L2CAP information. (See Figure 3.13.)


                                             LM-A                                LM-B
          Host A                                                                                                   Host B
                                             Master                              Slave



                                Step 9: LM-A finishes Connection Setup with LM-B

                                                        LMP_setup_complete


                                                        LMP_setup_complete

                   HCI_Connection_Complete                                               HCI_Connection_Complete




Figure 3.13: LM-A and LM-B finishes connection setup




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Step 10: Once the connection is no longer needed, either device may
terminate the connection using the HCI_Disconnect command and
LMP_detach message PDU. The disconnection procedure is one-sided and
does not need an explicit acknowledgment from the remote LM. The use of
ARQ Acknowledgment from the Baseband is needed to ensure that the remote
LM has received the LMP_detach PDU. (See Figure 3.14.)


                                                LM-A                  LM-B
          Host A                                                                                           Host B
                                                Master                Slave



                                   Step 10: Host-A decides to terminate connection

                        HCI_Disconnect


                     HCI_Command_Status

                                                         LMP_detach


                                                          BB ACK


                   HCI_Disconnection_Complete                                 HCI_Disconnection_Complete




Figure 3.14: Host A decides to disconnect




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Message Sequence Charts


4 OPTIONAL ACTIVITIES AFTER ACL CONNECTION
ESTABLISHMENT

4.1 AUTHENTICATION REQUESTED
Step 1: Authentication can be explicitly executed at any time after a
connection has been established. If no Link Key is available then the Link Key
is required from the Host. (See Figure 4.1.)

Note: If the Controller or LM and the Host do not have the Link Key a PIN Code
Request event will be sent to the Host to request a PIN Code for pairing. A
procedure identical to that used during Connection Setup (Section 3.1, Step
7a:) will be used. (See Figure 3.10.)



           Host A                                 LM-A                 LM-B                            Host B



                           Step 1: Host A requests authentication (Legacy Authentication)

                  HCI_Authentication_Requested


                       HCI_Command_Status




                      If (link key missing) then Link Key Required


                      HCI_Link_Key_Request

                  HCI_Link_Key_Request_Reply


                     HCI_Command_Complete

                                                         LMP_au_rand


                                                                                HCI_Link_Key_Request

                                                                              HCI_Link_Key_Request_Reply

                                                                               HCI_Command_Complete


                                                          LMP_sres

                    HCI_Authentication_Complete




Figure 4.1: Authentication requested (Legacy Authentication)




Optional Activities after ACL Connection Establishment                                                 06 December 2016
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When both devices support Secure Connections, Secure Authentication is
used.


                                              LM-A                   LM-B
           Host A                                                                                     Host B
                                              Master                 Slave



                           Step 1: Host A requests authentication (Secure Authentication)

                  HCI_Authentication_Requested

                       HCI_Command_Status




                      If (link key missing) then Link Key Required


                      HCI_Link_Key_Request

                  HCI_Link_Key_Request_Reply


                     HCI_Command_Complete

                                                       LMP_au_rand


                                                                               HCI_Link_Key_Request


                                                                             HCI_Link_Key_Request_Reply

                                                                              HCI_Command_Complete


                                                       LMP_au_rand

                                                         LMP_sres


                                                         LMP_sres


                    HCI_Authentication_Complete




Figure 4.2: Authentication requested (Secure Authentication)




Optional Activities after ACL Connection Establishment                                                06 December 2016
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Message Sequence Charts


4.2 SIMPLE PAIRING MESSAGE SEQUENCE CHARTS
A flow diagram of simple pairing between two devices is shown in Figure 4.3.
The process is illustrated in 11 distinct steps. A number of these steps have a
number of different options.


                                    Step 1: Optional OOB Information Collection


                                           Step 2: Enable Simple Pairing


             Step 3a: L2CAP Connection Request                    Step 3b: Optional OOB Information
                     for a Secure Service                                      Transfer


                                            Step 4: Start Simple Pairing


                                          Step 5: IO Capability Exchange


                                           Step 6: Public Key Exchange


              Step 7a: Optional                  Step 7b: Optional
                                                                                  Step 7c: Optional OOB
             Numeric Comparison                   Passkey Entry


                                              Step 8: DHKey Checks


                                            Step 9: Calculate Link Key


                                            Step 10: Enable Encryption


                                      Step 11: L2CAP Connection Response



Figure 4.3: Simple pairing, flow diagram




Optional Activities after ACL Connection Establishment                                           06 December 2016
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4.2.1 Optional OOB Information Collection

If a device supports OOB information exchange, then the Host should request
the C and R values from the Controller that need to be sent by OOB. It is then
assumed that the Host transfers this information to the OOB system. Note: This
could occur a long time before, for example at the factory for a passive tag.


                                              LM-A                  LM-B
           Host A                                                                                     Host B
                                              Master                Slave



                                    Step 1a: Optional OOB Information Collection

                    HCI_Read_Local_OOB_Data                                 HCI_Read_Local_OOB_Data

                     HCI_Command_Complete                                    HCI_Command_Complete




     CR transferred to                                                                       CR transferred to
           OOB                                                                                     OOB




Figure 4.4: Optional OOB information collection (P-192 only)


When the Controller and Host support Secure Connections, the
HCI_Read_Local_OOB_Extended_Data command is used instead of
HCI_Read_Local_OOB_Data.


                                              LM-A                  LM-B
           Host A                                                                                     Host B
                                              Master                Slave



                                    Step 1b: Optional OOB Information Collection

               HCI_Read_Local_OOB_Extended_Data                        HCI_Read_Local_OOB_Extended_Data


                    HCI_Command_Complete                                    HCI_Command_Complete




     CR transferred to                                                                       CR transferred to
           OOB                                                                                     OOB




Figure 4.5: Optional OOB information collection (P-192 and P-256)




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4.2.2 Enable Simple Pairing and Secure Connections

To enable simple pairing, a device must use the Write Simple Pairing Mode
command. This should be done before any other connections that may use
simple pairing are created.


                                             LM-A                         LM-B
           Host A                                                                                             Host B
                                             Master                       Slave



                                                 Step 2a: Enable Simple Pairing

                 HCI_Write_Simple_Pairing_Mode
                           (enabled)

                    HCI_Command_Complete


                                                                                  HCI_Write_Simple_Pairing_Mode
                                                                                            (enabled)

                                                                                    HCI_Command_Complete




Figure 4.6: Enable simple pairing


To configure the Controller to use Secure Connections HCI commands and
events, a device must use the HCI_Write_Secure_Connections_Host_Support
command. This should be done before any connections are created.


                                             LM-A                         LM-B
           Host A                                                                                             Host B
                                             Master                       Slave



                           Step 2b: Write Secure Connections Host Support on Device A

            HCI_Write_Secure_Connections_Host_Support

                            (enabled)

                     HCI_Command_Complete




Figure 4.7: Enable Secure Connections Host support




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To configure the Controller to enforce a maximum interval between packets
containing a MIC (when AES-CCM encryption is used), a device must use the
HCI_Write_Authenticated_Payload_Timeout command.



           Host A                         LM-A Master                     LM-B Slave          Host B



                             Step 2c: Write Authenticated Payload Timeout on Device A

                    HCI_Write_Authenticated_
                        Payload_Timeout
                    HCI_Command_Complete




Figure 4.8: Set Authenticated_Payload_Timeout


4.2.3 Connection Establishment

Simple pairing, once it is enabled, is triggered by one of two possible actions. It
could be triggered by an L2CAP connection request to a service that requires
security, or it could be triggered by an OOB transfer of information.

4.2.4 L2CAP Connection Request for a Secure Service

Once a connection has been established between two devices, if a device
requests an L2CAP connection to a service that requires authentication and
encryption, then the device will start simple pairing.


          L2CAP A                                                                            L2CAP B



                             Step 3a: L2CAP Connection Request for a Secure Service

                                                    L2CAP Connection Request

                                               L2CAP Connection Response (Pending)




Figure 4.9: L2CAP connection request for a secure service




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Message Sequence Charts

4.2.5 Optional OOB Information Transfer

Even if a Bluetooth connection has not been established between two devices,
an OOB transfer can occur that transfers the Bluetooth Device Address of the
device, and other OOB information for authentication. If an OOB transfer
occurs, then the Host can start simple pairing.


           Host A                                                                           Host B



                                         Step 3b: Optional OOB Information Transfer

                                                               OOB Transfer


                                                               OOB Transfer




                                                     Device A connects to Device B




Figure 4.10: Optional OOB information transfer


4.2.6 Start Simple Pairing

Once the Host has determined that simple pairing should start, it issues an
Authentication Requested command to the Controller. This will cause the
Controller to generate a request for a link key. If the Host has a link key for this
connection, then pairing is not required, and the link key can be used
immediately once it has been authenticated. Simple Pairing will only be used if
a Link_Key_Request_Negative_Reply Command is sent from the Host to the
Controller on the initiating side.


           Host A                                 LM-A                        LM-B          Host B



                                                      Step 4: Start Simple Pairing

                   HCI_Authentication Requested


                       HCI_Command Status

                    HCI_Link Key Request Reply


               HCI_Link Key Request Negative Reply

                     HCI_Command Complete




Figure 4.11: Start simple pairing




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4.2.7 IO Capability Exchange

To be able to determine the correct authentication algorithm to use, the input /
output capabilities of the two devices are exchanged.



           Host A                                 LM-A                           LM-B                                 Host B



                                                  Step 5: IO Capability Exchange

                    HCI_IO_Capability_Request

                HCI_IO_Capability_Request_Reply


                     HCI_Command_Complete


                                                         LMP_IO_capability_req

                                                                                        HCI_IO_Capabilitiy_Response


                                                                                         HCI_IO_Capabilitiy_Request

                                                                                        HCI_IO_Capability_Request_Reply


                                                                                          HCI_Command_Complete


                                                         LMP_IO_capability_res


                    HCI_IO_Capability_Response




Figure 4.12: IO capability exchange




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4.2.8 Public Key Exchange

Next the public keys are exchanged between the two devices. Once a device
has received the public key of the peer device, it can start to calculate the Diffie
Hellman Key (DHKey). This may take a long time, and should be started early,
so that user interaction can hide the calculation time. The DHKey is not
required until step 8.



           Host A                       LM-A                                  LM-B                    Host B



                                          Step 6: Public Key Exchange

                                                 LMP_encapsulated_header
                                            (P-192_public_key or P-256_public_key)


                                                       LMP_accepted



                                                                          Repeat 3x for P-192 and 4x for P-256

                                                 LMP_encapsulated_payload


                                                       LMP_accepted




                                                                      Start Calculating
                                                                           DHKey


                                                 LMP_encapsulated_header

                                            (P-192_public_key or P-256_public_key)

                                                       LMP_accepted



                                                                          Repeat 3x for P-192 and 4x for P-256
                                                 LMP_encapsulated_payload


                                                       LMP_accepted




                                  Start Calculating
                                       DHKey




Figure 4.13: Public key exchange


4.2.9 Authentication

A device can be authenticated by using one of three algorithms. The choice of
algorithm is determined by the combination of the IO capabilities of the two devices.

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4.2.10 Numeric Comparison

The numeric comparison step will be done when both devices have output
capabilities, or if one of the devices has no input or output capabilities. If both
devices have output capabilities, this step requires the displaying of a user
confirmation value. This value should be displayed until the end of step 8. If
one or both devices do not have output capabilities, the same protocol is used
but the Hosts will skip the step asking for the user confirmation.

Note: The sequence for Just Works is identical to that of Numeric Comparison
with the exception that the Host will not show the numbers to the user.


           Host A                                LM-A                                LM-B                             Host B



                                                  Step 7a: Numeric Comparison



                                                                                 Pick N
                                             Pick N
                                                                               Calculate C


                                                        LMP_simple_pairing_confirm

                                                        LMP_simple_pairing_number


                                                              LMP_accepted

                                                        LMP_simple_pairing_number




                                            Check C


                                                              LMP_accepted




                                        Calculate User                       Calculate User
                                        Confirm Value                        Confirm Value


                  HCI_User_Confirmation_Request                                         HCI_User_Confirmation_Request
                             (Value)                                                                  (Value)




       User Confirms                                                                                              User Confirms
          Value                                                                                                      Value


                HCI_User_Confirmation_Request_                                              HCI_User_Confirmation_Request_
                             Reply                                                                     Reply


                     HCI_Command_Complete                                                     HCI_Command_Complete




Figure 4.14: Numeric comparison authentication


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Message Sequence Charts

4.2.11 Numeric Comparison Failure on Initiating Side

If the numeric comparison fails on the initiating side due to the user indicating
that the confirmation values do not match, Simple Pairing is terminated.


           Host A                                LM-A                                LM-B                                Host B



                                                  Step 7a: Numeric Comparison



                                                                                 Pick N
                                              Pick N
                                                                               Calculate C


                                                        LMP_simple_pairing_confirm

                                                        LMP_simple_pairing_number


                                                              LMP_accepted

                                                        LMP_simple_pairing_number




                                             Check C


                                                              LMP_accepted




                                           Calculate User                    Calculate User
                                           Confirm Value                     Confirm Value


                  HCI_User_Confirmation_Request                                         HCI_User_Confirmation_Request

                             (Value)                                                                  (Value)




       User Confirms                                                                                                 User Confirms
          Value                                                                                                         Value


                HCI_User_Confirmation_Request_                                              HCI_User_Confirmation_Request_
                          Negative_Reply                                                                Reply

                     HCI_Command_Complete                                                      HCI_Command_Complete


                                                     LMP_numeric_comparison_failed

                    HCI_Simple_Paring_Complete                                              HCI_Simple_Pairing_Complete
                             (failure)                                                                 (failure)




Figure 4.15: Numeric comparison authentication (failure on initiating side)




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Message Sequence Charts

4.2.12 Numeric Comparison Failure on Responding Side

If the numeric comparison fails on the responding side due to the user
indicating that the confirmation values do not match, Simple Pairing is
terminated.



           Host A                               LM-A                                LM-B                                Host B



                                                  Step 7a: Numeric Comparison



                                                                                Pick N
                                            Pick N
                                                                              Calculate C


                                                       LMP_simple_pairing_confirm

                                                       LMP_simple_pairing_number


                                                             LMP_accepted

                                                       LMP_simple_pairing_number




                                           Check C


                                                             LMP_accepted




                                         Calculate User                     Calculate User
                                         Confirm Value                      Confirm Value


                  HCI_User_Confirmation_Request                                        HCI_User_Confirmation_Request
                            (Value)                                                                  (Value)




       User Confirms                                                                                                User Confirms
          Value                                                                                                        Value


               HCI_User_Confirmation_Request_                                              HCI_User_Confirmation_Request_
                              Reply                                                                Negative_Reply


                     HCI_Command_Complete                                                     HCI_Command_Complete

                                                           LMP_Dhkey_check


                                                           LMP_not_accepted

                    HCI_Simple_Paring_Complete                                             HCI_Simple_Pairing_Complete
                             (failure)                                                                (failure)




Figure 4.16: Numeric comparison failure on responding side




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Message Sequence Charts

4.2.13 Passkey Entry

The Passkey entry step is used in two cases: when one device has numeric
input only and the other device has either a display or numeric input capability
or when both devices only have numeric input capability. In this step, one
device display a number to be entered by the other device or the user enters a
number on both devices. This number should be displayed until the end of step
8. Key press notification messages are shown during the user input phase.


               Host A                          LM-A                                LM-B                           Host B



            Step 7b: Passkey Entry (Initiator=DisplayOnly or DisplayYesNo , Responder=KeyboardOnly)

                     HCI_User_Passkey_Notification                                      HCI_User_Passkey_Request




                                                     Example Notifications
                                                                                         HCI_Send_Keypress_Notification
                                                      LMP_keypress _notification          (Notification _Type=Entry
                        HCI_Keypress_Notification
                                                                                                    started)
                        (Notification_Type=Entry
                                                                                          HCI_Command_Complete
                                 Started )

                                                                                                                                User
                                                                                                                                Input

                                                                                         HCI_Send_Keypress_Notification
                                                      LMP_keypress _notification          (Notification _Type=Entry
                        HCI_Keypress_Notification
                                                                                                  Completed )
                        (Notification_Type=Entry
                                                                                          HCI_Command_Complete
                               Completed )



                                                                                              HCI_User_Passkey_
                                                                                                Request_Reply
                                                                                             HCI_Command_Complete

                                                          Repeat 20 times

                                                     LMP_simple_pairing_confirm

                                                     LMP_simple_pairing_confirm

                                                     LMP_simple_pairing_number


                                                                                   Check C

                                                            LMP_accepted

                                                     LMP_simple_pairing_number


                                                Check C

                                                            LMP_accepted




Figure 4.17: Passkey entry authentication




Optional Activities after ACL Connection Establishment                                                                    06 December 2016
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4.2.14 Passkey Entry Failure on Responding Side

If the passkey entry fails on the responding side, Simple Pairing is terminated.


           Host A                              LM-A                                LM-B                               Host B



                 Step 7b: Passkey Entry (Responding Device Failure, Initiator=DisplayOnly or
                                 DisplayYesNo, Responder=KeyboardOnly)

                    HCI_User_Passkey_Notification                                         HCI_User_Passkey_Request




                                                                                                                    User Input



                                                                                          HCI_User_Passkey_Request_
                                                                                                Negative_Reply


                                                                                            HCI_Command_Complete

                                                      LMP_simple_pairing_confirm


                                                          LMP_not_accepted


                    HCI_Simple_Pairing_Complete                                           HCI_Simple_Pairing_Complete
                               (failure)                                                            (failure)




Figure 4.18: Passkey entry failure on responding side




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4.2.15 Passkey Entry Failure on Initiator Side

If the passkey entry fails on the initiating side, Simple Pairing is terminated.
Note that this is only possible if the initiating LM side sends an HCI User
Passkey Request event.



           Host A                                 LM-A                               LM-B                               Host B



                    Step 7b: Passkey Entry (Initiating Device Failure, Initiator=KeyboardOnly,
                                   Responder=DisplayOnly or DisplayYesNo)
                    HCI_User_Passkey_Request                                            HCI_User_Passkey_Notification

                    HCI_User_Passkey_Request_
                          Negative_Reply


                      HCI_Command_Complete


                                                         LMP_passkey _entry_failed


                    HCI_Simple_Pairing_Complete                                             HCI_Simple_Pairing_Complete
                              (failure)                                                               (failure)




Figure 4.19: Passkey entry failure on initiating side




Optional Activities after ACL Connection Establishment                                                                  06 December 2016
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4.2.16 Out of Band

The OOB authentication will only be done when both devices have some OOB
information to use. This step requires no user interaction.



           Host A                            LM-A                               LM-B                           Host B



                                                        Step 7c: OOB

                  HCI_Remote_OOB_Data_Request                                      HCI_Remote_OOB_Data_Request

               HCI_Remote_OOB_Data_Request_Reply                                  HCI_Remote_OOB_Data_Request_Reply


                    HCI_Command_Complete                                               HCI_Command_Complete




                                    Check C from OOB                 Check C from OOB




                                           Pick N                           Pick N
                                         Calculate C                      Calculate C


                                                    LMP_simple_pairing_number


                                                          LMP_accepted


                                                    LMP_simple_pairing_number


                                                          LMP_accepted




Figure 4.20: OOB authentication (P-192)




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           Host A                          LM-A                                LM-B                          Host B



                                                       Step 7c: OOB

                  HCI_Remote_OOB_Data_Request                                    HCI_Remote_OOB_Data_Request

          HCI_Remote_OOB_Extended_Data_Request_Reply                       HCI_Remote_OOB_Extended_Data_Request_Reply


                    HCI_Command_Complete                                              HCI_Command_Complete




                                   Check C from OOB                 Check C from OOB




                                          Pick N                           Pick N
                                        Calculate C                      Calculate C


                                                   LMP_simple_pairing_number


                                                         LMP_accepted

                                                   LMP_simple_pairing_number


                                                         LMP_accepted




Figure 4.21: OOB authentication (P-256)




Optional Activities after ACL Connection Establishment                                                       06 December 2016
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Message Sequence Charts

4.2.17 OOB Failure on Initiator Side

If the initiating side does not have OOB information, Simple Pairing is
terminated.



           Host A                              LM-A                          LM-B                                 Host B



                                                         Step 7c: OOB

                  HCI_Remote_OOB_Data_Request                                    HCI_Remote_OOB_Data_Request


                HCI_Remote_OOB_Data_Request_                                        HCI_Remote_OOB_Data_Request_
                          Negative_Reply                                                         Reply


                      HCI_Command_Complete                                             HCI_Command_Complete




                                      Check C from OOB               Check C from OOB




                                             Pick N                          Pick N
                                           Calculate C                     Calculate C


                                                          LMP_oob_failed


                    HCI_Simple_Pairing_Complete                                     HCI_Simple_Pairing_Complete
                              (failure)                                                       (failure)




Figure 4.22: OOB authentication failure on initiating side




Optional Activities after ACL Connection Establishment                                                          06 December 2016
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Message Sequence Charts

4.2.18 DHKey Checks

Once the devices have been authenticated, and the DHKey calculation has
completed, the DHKey value generated is checked. If this succeeds, then both
devices would have finished displaying information to the user about the
process, and therefore a message is sent from the Controller to the Host to
notify it to stop displaying this information.


           Host A                                 LM-A                       LM-B                             Host B



                                                     Step 8: DHKey Checks



                                             DHKey                           DHKey
                                           Calculation                     Calculation
                                            Finished                        Finished


                                                         LMP_dhkey_check




                                                                            Check E


                                                          LMP_accepted


                                                         LMP_dhkey_check




                                             Check E


                                                          LMP_accepted


                    HCI_Simple_Pairing_Complete                                     HCI_Simple_Pairing_Complete




      User Confirmation                                                                                User Confirmation
          Finishes                                                                                         Finishes




Figure 4.23: DHKey checks




Optional Activities after ACL Connection Establishment                                                        06 December 2016
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4.2.19 Calculate Link Key

Once simple pairing is complete, the link key can be calculated from the
DHKey, and this should be used as input to a standard mutual authentication.
Once this is complete, a Link Key Notification event will be generated.


           Host A                               LM-A                     LM-B                               Host B



                                                  Step 9: Calculate Link Key



                                            Calculate                   Calculate
                                            Link Key                    Link Key


                                                          LMP_au_rand

                                                           LMP_sres


                                                          LMP_au_rand

                                                           LMP_sres


                    HCI_Link_Key_Notification                                   HCI_Link_Key_Notification




Figure 4.24: Calculate link key




Optional Activities after ACL Connection Establishment                                                      06 December 2016
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Message Sequence Charts

4.2.20 Enable Encryption

Once the link key has been notified to the Host, the Authentication Requested
command will complete with an Authentication Complete event. The Host can
then turn on encryption using the standard methods.


           Host A                                 LM-A                                   LM-B                                Host B



                                                    Step 10: Start Encryption

                    HCI_Authentication_Complete


                 HCI_Set_Connection_Encryption
                               (on)


                       HCI_Command_Status

                                                          LMP_encryption_mode_req


                                                                LMP_accepted


                                                         LMP_encryption _key _size_req

                                                                LMP_accepted


                                                             LMP_start_encryption


                                                                LMP_accepted


                    HCO_Encryption_Change (on)                                                  HCI_Encryption_Change (on)




Figure 4.25: Start encryption


4.2.21 L2CAP Connection Response

If this simple pairing was triggered by an L2CAP Connection Request, then
only after all of the above steps have completed can the L2CAP Connection
Response message be sent.


          L2CAP A                                                                                                        L2CAP B



                                          Step 11: L2CAP Connection Response

                                                   L2CAP Connection Response (Success )




Figure 4.26: L2CAP connection response




Optional Activities after ACL Connection Establishment                                                                       06 December 2016
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4.2.22 LMP Ping

When the Authenticated Payload Timeout has nearly expired, the Link
Manager will force the remote device to send a packet containing a MIC by
sending the LMP_ping_req PDU.



           Host A                   LM-A Master                            LM-B Slave         Host B


                                                     Packet containing a MIC




                                   TAuthenticated_Payload
                                   nearly expired



                                                            LMP_ping_req


                                                            LMP_ping_res




Figure 4.27: Successful Ping


When a packet with a MIC has not been received within the Authenticated
Payload Timeout, the Host is notified that the timer has expired.




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           Host A                         LM-A Master                            LM-B Slave         Host B


                                                           Packet containing a MIC




                                        TAuthenticated_Payload
                                         nearly expired


                                                                 LMP_ping_req




                                        TAuthenticated_Payload
                                             expired


            HCI_Authenticated_Payload_Timeout_Expired




                                        TAuthenticated_Payload
                                         nearly expired




                                        TAuthenticated_Payload
                                             expired


            HCI_Authenticated_Payload_Timeout_Expired




                                         LMP response
                                        timeout expired




                                        TAuthenticated_Payload
                                         nearly expired


                                                                 LMP_ping_req




Figure 4.28: Unsuccessful Ping




Optional Activities after ACL Connection Establishment                                              06 December 2016
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Message Sequence Charts


4.3 LINK SUPERVISION TIMEOUT CHANGED EVENT
When enabled by the Host, the slave generates an
HCI_Link_Supervision_Timeout_Changed event after the
LMP_supervision_timeout PDU is received.


                                              LM-A                               LM-B
           Host A                                                                                                Host B
                                              Master                             Slave



                                Step 1: Master's Host changes link supervision timeout

                    HCI_Write_Link_Supervision_
                             Timeout


                                                       LMP_supervision_timeout

                     HCI_Command_Complete


                                                                                         HCI_Link_Supervision_
                                                                                           Timeout_Changed




Figure 4.29: Link supervision timeout event


4.4 SET CONNECTION ENCRYPTION
Step 1: The Host may at any time turn on encryption using the
HCI_Set_Connection_Encryption command. This command can be originated
from either the master or slave sides. Only the master side is shown in Figure
4.30. If this command is sent from a slave, the only difference is that the
LMP_encryption_mode_req PDU will be sent from the slave. The
LMP_encryption_key_size_req and LMP_start_encryption_req PDUs will
always be requested from the master. (See Figure 4.30.)




Optional Activities after ACL Connection Establishment                                                           06 December 2016
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                                                  LM-A                                LM-B
           Host A                                                                                                           Host B
                                                  Master                              Slave



                                            Step 1: Host A requests encryption on

                 HCI_Set_Connection_Encryption
                               (on)


                      HCI_Command_Status


                                                           LMP_encryption_mode_req

                                                                LMP_accepted


                                                       LMP_encryption_key_size_req

                                                                LMP_accepted


                                                           LMP_start_encryption_req

                                                                LMP_accepted


                    HCI_Encryption_Change (on)                                                HCI_Encryption_Change (on)




Figure 4.30: Encryption requested


Step 2: To terminate the use of encryption, The
HCI_Set_Connection_Encryption command is used. (See Figure 4.31.)


                                                  LM-A                                LM-B
           Host A                                                                                                           Host B
                                                  Master                              Slave



                                            Step 2: Host A requests encryption off

                 HCI_Set_Connection_Encryption
                               (off)


                      HCI_Command_Status

                                                           LMP_encryption_mode_req


                                                                LMP_accepted


                                                           LMP_stop_encryption_req

                                                                LMP_accepted


                    HCI_Encryption_Change (off)                                               HCI_Encryption_Change (off)




Figure 4.31: Encryption off requested




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Message Sequence Charts


4.5 CHANGE CONNECTION LINK KEY
Step 1: The master Host (Host A) may change the connection link key using the
HCI_Change_Connection_Link_Key command. A new link key will be generated
and the Hosts will be notified of this new link key. (See Figure 4.32.)


                                                LM-A                    LM-B
           Host A                                                                                           Host B
                                                Master                  Slave



                                Step 1: Host A requests Connection Link Key Change

                    HCI_Change_Connection_
                            Link_Key

                     HCI_Command_Status


                                                         LMP_comb_key


                                                         LMP_comb_key

                                                         LMP_au_rand

                                                           LMP_sres


                                                         LMP_au_rand

                                                           LMP_sres


                    HCI_Link_Key_Notification                                   HCI_Link_Key_Notification

                    HCI_Change_Connection_
                       Link_Key_Complete




Figure 4.32: Change connection link key




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Message Sequence Charts


4.6 CHANGE CONNECTION LINK KEY WITH ENCRYPTION
PAUSE AND RESUME
Step 1: The master Host (Host A) may change the connection link key using
the HCI_Change_Connection_Link_Key command. A new link key will be
generated and the Hosts will be notified of this new link key. Encryption will
then be paused and resumed, immediately using this new link key to generate
a new encryption key. (See Figure 4.33.)


                                                LM-A                                 LM-B
           Host A                                                                                                        Host B
                                                Master                               Slave



                    Step 1: Change Connection Link Key with Encryption Pause and Resume

                    HCI_Change_Connection_
                            Link_Key


                     HCI_Command_Status


                                                              LMP_comb_key

                                                              LMP_comb_key


                                                               LMP_au_rand

                                                                 LMP_sres


                                                               LMP_au_rand


                                                                 LMP_sres

                    HCI_Link_Key_Notification                                                HCI_Link_Key_Notification


                                                         LMP_pause_encryption _req

                                                         LMP_pause_encryption _req


                                                          LMP_stop_encryption_req

                                                              LMP_accepted


                                                         LMP_start_encryption _req

                                                              LMP_accepted


                      HCI_Encryption_Key_                                                      HCI_Encryption_Key_
                       Refresh_Complete                                                         Refresh_Complete


                    HCI_Change_Connection_
                       Link_Key_Complete




Figure 4.33: Change connection link key with encryption pause resume




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Message Sequence Charts


4.7 MASTER LINK KEY
Step 1: The Host changes to a Master Link Key from a Semi-permanent Link
Key using the HCI_Master_Link_Key command when at least one device does
not support Encryption Pause Resume. (See Figure 4.34.)


                                            LM-A                                LM-B
           Host A                                                                                              Host B
                                            Master                              Slave



               Step 1: Host requests switch from Semi-permanent Link Key to Master Link Key

                      HCI_Master_Link_Key

                        (master_link_key)

                     HCI_Command_Status

                                                         LMP_temp_rand


                                                         LMP_temp_key

                                                          LMP_au_rand

                                                           LMP_sres

                                                          LMP_au_rand

                                                           LMP_sres



                                  If (encryption is enabled)
                                    then restart encryption


                                                     LMP_encryption_mode_req
                                                               (off)

                                                          LMP_accepted

                                                     LMP_stop_encryption_req

                                                          LMP_accepted


                                                     LMP_encryption_mode_req
                                                               (on)

                                                          LMP_accepted


                                                  LMP_encryption_key_size_req

                                                          LMP_accepted

                                                     LMP_start_encryption_req

                                                          LMP_accepted

                  HCI_Master_Link_Key_Complete                                      HCI_Master_Link_Key_Complete




Figure 4.34: Change to master link key




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Step 2: The Host changes to a Semi-permanent Link Key from a Master Link
Key using the HCI_Master_Link_Key command. (See Figure 4.35.)


                                                LM-A                                LM-B
           Host A                                                                                                  Host B
                                                Master                              Slave



               Step 2: Host requests switch from Master Link Key to Semi-permanent Link Key

                      HCI_Master_Link_Key
                    (semi_permanent_link_key)

                      HCI_Command_Status


                                                     LMP_use_semi_permanent_key


                                                              LMP_accepted



                                  If (encryption is enabled)
                                    then restart encryption


                                                         LMP_encryption_mode_req
                                                                   (off)


                                                              LMP_accepted


                                                         LMP_stop_encryption_req


                                                              LMP_accepted

                                                         LMP_encryption_mode_req
                                                                   (on)

                                                              LMP_accepted


                                                     LMP_encryption_key_size_req


                                                              LMP_accepted

                                                         LMP_start_encryption_req

                                                              LMP_accepted


                  HCI_Master_Link_Key_Complete                                          HCI_Master_Link_Key_Complete




Figure 4.35: Change to semi permanent link key


4.8 READ REMOTE SUPPORTED FEATURES
Using the HCI_Read_Remote_Supported_Features command the supported
LMP Features of a remote device can be read. (See Figure 4.36.)

If the remote supported features have been obtained previously then the
Controller may return them without sending any LMP PDUs.




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Message Sequence Charts

Step 1: The Host requests the supported features of a remote device.



           Host A                             LM-A                          LM-B             Host B



                            Step 1: Host A requests Supported Features from Device B

                        HCI_Read_Remote_
                        Supported_Features

                       HCI_Command_Status


                                                      LMP_features_req


                                                      LMP_features_res

                    HCI_Read_Remote_Supported_
                         Features_Complete




Figure 4.36: Read remote supported features


4.9 READ REMOTE EXTENDED FEATURES
Using the HCI_Read_Remote_Extended_Features command the extended
LMP features of a remote device can be read. (See Figure 4.37.)

If the remote extended features have been obtained previously then the
Controller may return them without sending any LMP PDUs.

Step 1: The Host requests the extended features of a remote device.



           Host A                             LM-A                          LM-B             Host B



                             Step 1: Host A requests Extended Features from Device B

                  HCI_Read_Remote_Extended_
                            Features

                      HCI_Command_Status

                                                     LMP_features_req_ext


                                                     LMP_features_res_ext

                  HCI_Read_Remote_Extended_
                       Features_Complete




Figure 4.37: Read remote extended features




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Message Sequence Charts


4.10 READ CLOCK OFFSET
Using the HCI_Read_Clock_Offset command the device acting as the master
can read the Clock Offset of a slave. The Clock Offset can be used to speed up
the paging procedure in a later connection attempt. If the command is
requested from the slave device, the Controller will directly return a Command
Status event and a Read Clock Offset Complete event without sending any
LMP PDUs. (See Figure 4.38.)

Step 1: The Host requests the clock offset of a remote device.



           Host A                            LM-A                       LM-B               Host B



                                Step 1: Host A requests Clock Offset from Device B

                    HCI_Read_Clock_Offset


                     HCI_Command_Status

                                                    LMP_clkoffset_req

                                                    LMP_clkoffset_res


                    HCI_Read_Clock_Offset_
                          Complete




Figure 4.38: Read clock offset




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Message Sequence Charts


4.11 ROLE SWITCH ON AN ENCRYPTED LINK USING
     ENCRYPTION PAUSE AND RESUME
The HCI_Switch_Role command can be used to explicitly switch the current
master / slave role of the local device with the specified device. The master
Host (A) requests a role switch with a slave. This will first pause encryption,
and then send the switch request, and the slave will respond with the slot offset
and accepted. The role switch is performed by doing the TDD switch and
piconet switch. Encryption is resumed, and finally an HCI_Role_Change event
is sent on both sides. (Figure 4.39)


                                           LM-A                                  LM-B
           Host A                                                                                               Host B
                                           Master                                Slave



                    Role Switch on an Encrypted Link Using Encryption Pause and Resume

                       HCI_Switch_Role


                     HCI_Command_Status


                                                    LMP_pause_encryption_req

                                                    LMP_pause_encryption_req


                                                     LMP_stop_encryption_req

                                                          LMP_accepted


                                                         LMP_switch_req


                                                          LMP_slot_offset


                                                          LMP_accepted




                                                    Role Switch Occurs




                                           LM-A                                  LM-B
                                           Slave                                 Master


                                                    LMP_resume_encryption _req

                                                     LMP_start_encryption _req


                                                          LMP_accepted

                     HCI_Encryption_Key_                                                  HCI_Encryption_Key_
                      Refresh_Complete                                                     Refresh_Complete


                      HCI_Role_Change                                                      HCI_Role_Change




Figure 4.39: Role switch on an encrypted link using encryption pause and resume




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Message Sequence Charts


4.12 REFRESHING ENCRYPTION KEYS
The HCI_Refresh_Encryption_Key command may be used by the master's
Host to explicitly pause and resuming encryption to refresh the encryption key.
After encryption is resumed an HCI_Encryption_Key_Refresh_Complete event
is sent on both sides. (See Figure 4.40).


                                                 LM-A                                LM-B
           Host A                                                                                                     Host B
                                                 Master                              Slave



                     Refreshing the Encryption Key with Encryption Pause and Resume (E0)

                    HCI_Refresh_Encryption_Key
                                                      Optional HCI
                      HCI_Command_Status              initiation

                                                          LMP_pause_encryption_req

                                                          LMP_pause_encryption_req


                                                          LMP_stop_encryption_req


                                                               LMP_accepted

                                                          LMP_start_encryption_req


                                                               LMP_accepted

               HCI_Encryption_Key_Refresh_Complete                                     HCI_Encryption_Key_Refresh_Complete




Figure 4.40: Refreshing encryption keys (E0)


When both devices support Secure Connections, the encryption key refresh
sequence is performed as follows.




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Message Sequence Charts




                                                 LM-A                                LM-B
           Host A                                                                                                      Host B
                                                 Master                              Slave



                Refreshing the Encryption Key with Encryption Pause and Resume (AES-CCM)

                    HCI_Refresh_Encryption_Key


                      HCI_Command_Status


                                                      LMP_pause_encryption_aes_req

                                                          LMP_pause_encryption_req


                                                          LMP_stop_encryption_req


                                                               LMP_accepted


                                                          LMP_start_encryption_req

                                                               LMP_accepted

               HCI_Encryption_Key_Refresh_Complete                                      HCI_Encryption_Key_Refresh_Complete




Figure 4.41: Refreshing encryption keys (AES-CCM)


4.13 READ REMOTE VERSION INFORMATION
Using the HCI_Read_Remote_Version_Information command the version
information of a remote device can be read. (See Figure 4.42.)

If the remote version information has been obtained previously then the
Controller may return them without sending any LMP PDUs.

Step 1: The Host requests the version information of a remote device.



           Host A                                LM-A                                LM-B                              Host B



                         Step 1: Host A requests Remote Version Information from Host B

                       HCI_Read_Remote_
                        Version_Information


                      HCI_Command_Status

                                                              LMP_version_req


                                                              LMP_version_res

                    HCI_Read_Remote_Version_

                       Information_Complete




Figure 4.42: Read remote version information


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Message Sequence Charts


4.14 QOS SETUP
Using the HCI_Flow_Specification command the Quality of Service (QoS) and
Flow Specification requirements of a connection can be notified to a Controller.
The Controller may then change the quality of service parameters with a
remote device. (See Figure 4.43.)

Step 1: The Host sends QoS parameters to a remote device.


                                                  LM-A                                  LM-B
           Host A                                                                                                        Host B
                                                  Master                                Slave



                                      Step 1: Host A notifies LM-B of QoS parameters

                    HCI_Flow_Specification (Tx)


                      HCI_Command_Status

                  HCI_Flow_Specification_Complete
                               (Tx)

                    HCI_Flow_Specification (Rx)

                      HCI_Command_Status

                                                           LMP_quality_of_service_req


                                                                 LMP_accepted


                  HCI_Flow_Specification_Complete                                          HCI_Flow_Specification_Complete
                               (Rx)                                                                       (Rx)




Figure 4.43: QoS flow specification


4.15 SWITCH ROLE
The HCI_Switch_Role command can be used to explicitly switch the current
master / slave role of the local device with the specified device.

Step 1a: The master Host (A) requests a role switch with a slave. This will
send the switch request, and the slave will respond with the slot offset and
accepted. (See Figure 4.44.)




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Message Sequence Charts




                                          LM-A                        LM-B
           Host A                                                                                  Host B
                                          Master                      Slave



                       Step 1a: Master Host A requests Role Switch with Slave Device B

                       HCI_Switch_Role

                     HCI_Command_Status


                                                    LMP_switch_req

                                                    LMP_slot_offset


                                                    LMP_accepted




Figure 4.44: Master requests role switch


Step 1b: The slave Host (B) requests a role switch with a master. This will
send the slot offset and the switch request, and the master will respond with a
LMP_accepted PDU. (See Figure 4.45.)


                                          LM-A                        LM-B
           Host A                                                                                  Host B
                                          Master                      Slave



                       Step 1b: Slave Host B requests Role Switch with Master Device B

                                                                                HCI_Switch_Role

                                                                              HCI_Command_Status


                                                    LMP_slot_offset


                                                    LMP_switch_req


                                                    LMP_accepted




Figure 4.45: Slave requests role switch




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Message Sequence Charts

Step 2: The role switch is performed by doing the TDD switch and piconet
switch. Finally an HCI_Role_Change event is sent on both sides.
(See Figure 4.46.)


                                              LM-A                      LM-B
           Host A                                                                                           Host B
                                              Master                    Slave



                                              Step 2: Role Switch is performed



                                       Role Switch performed using TDD Switch




                                                       Piconet Switch


                    HCI_Role_Change (slave)                                      HCI_Role_Change (master)




Figure 4.46: Role switch is performed


4.16 AMP PHYSICAL LINK CREATION AND DISCONNECT
A flow diagram of the AMP link establishment and detachment of a connection
between two devices is shown in Figure 4.47.


                                    Step 1: Get remote AMP data

                                Step 2: HCI Create Physical Link


                                Step 3: HCI Accept Physical Link


                                              Step 4: Authentication


                                              Step 5: Disconnection

Figure 4.47: Overview diagram for physical link creation and disconnection


4.16.1 Physical Link Establishment

The process of establishing a Physical Link consists of 4 steps.




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Message Sequence Charts

Step 1: Host A uses the BR/EDR Controller to request AMP_Info data from
Host B in order to create an AMP connection. Host B gets this information from
PAL B using HCI Read Local AMP Info. Host B returns the information to Host
A over the BR/EDR radio.


                                         AMP                        AMP
           Host A                                                                                    Host B
                                        PAL A                      PAL B



                                   Step 1: Host A starts Physical Link creation



                     Host A uses the BR/EDR Controller to request AMP data from Host B


                                                                           HCI_Read_Local_AMP_Info

                                                                            HCI_Command_Complete

                                                                           HCI_Read_Local_AMP_Assoc


                                                                            HCI_Command_Complete




                     Host B uses the BR/EDR Controller to return the AMP data to Host A




Figure 4.48: Get remote AMP data




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Message Sequence Charts

Step 2: Host A sends an HCI Create Physical Link command to its AMP
Controller. AMP Controller A determines which channel will be used, and
provides channel information to its Host. AMP Controller A joins or creates that
channel. Note use of dotted rectangles for zero or multiple uses of read or write
AMP_Assoc.


                                                AMP                   AMP
           Host A                                                                                 Host B
                                               PAL A                 PAL B



                      Step 2: Host A tells its Controller to create a physical link to Device B

                    HCI_Create_Physical_Link

                     HCI_Command_Status


                 HCI_Write_Remote_AMP_Assoc

                    HCI_Command_Complete




                       Controller A joins the selected channel.
                        May include AMP specific operations.


                     HCI_Channel_Selected


                  HCI_Read_Local_AMP_Assoc


                    HCI_Command_Complete




Figure 4.49: Host A tells its Controller to create the physical link




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Message Sequence Charts

Step 3: Host A uses the BR/EDR radio to request a physical link to B. Host B
tells its AMP Controller to accept a physical link from Device A.


                                         AMP                        AMP
           Host A                                                                                     Host B
                                        PAL A                      PAL B



                        Step 3: Host A tells Device B to accept an incoming physical link



                    Host A uses the BR/EDR radio to tell Device B to accept a physical link


                                                                           HCI_Accept_Physical_Link


                                                                             HCI_Command_Status


                                                                          HCI_Write_Remote_AMP_Assoc

                                                                           HCI_Command_Complete




                                                   Controller B joins the selected channel.
                                                    May include AMP specific operations.




                                    A and B detect each other in the channel




Figure 4.50: Host A tells Host B to accept an incoming physical link




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Message Sequence Charts

Step 4: The AMP Controllers perform security operations. When the
handshake is complete, both devices inform their Hosts that the link is ready
for use. Note that the mechanism used to transport the authentication
messages is defined by each PAL.


                                                  AMP                        AMP
           Host A                                                                                                  Host B
                                                 PAL A                      PAL B



                                                 Step 4: A and B establish security


                                        Establish handshake transport mechanism
                                           May include PAL specific operations



                                   A and B perform the authentication handshake and
                                         encryption key generation installation

                    HCI_Physical_Link_Complete                                        HCI_Physical_Link_Complete




Figure 4.51: A and B establish AMP physical link security


Step 5: Host A sends a Physical Link Disconnect command to its AMP
Controller. AMP Controllers A and B do whatever AMP specific action is
required to meet the request. Each AMP Controller sends the Physical Link
Disconnect Complete event to its Host. Both devices can now leave the AMP
channel.

Note that disconnection of any active Logical Links is not shown in Figure 4.52.




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Message Sequence Charts




                                                  AMP                      AMP
           Host A                                                                                              Host B
                                                 PAL A                    PAL B



                                          Step 5: Host A disconnects the physical link

                  HCI_Physical_Link_Disconnect


                      HCI_Command_Status



                                               AMP Controllers perform any AMP
                                                specific action/protocol needed


                        HCI_Physical_Link_                                            HCI_Physical_Link_
                       Disconnect_Complete                                           Disconnect_Complete




                                                   A and B leave the channel




Figure 4.52: Host A disconnects the physical link


Step 6: During normal operation the AMP Controller may alert its Host to
issues on the link.


                                                  AMP                      AMP
           Host A                                                                                              Host B
                                                 PAL A                    PAL B



                             Step 6: Physical link exists between Device A and Device B


                           Controller A detects potential issues with operation on channel.
                                        May include AMP specific operations.

                     HCI_Physical_Link_Loss_                                       HCI_Physical_Link_Loss_
                          Early_Warning                                                  Early_Warning



                                                   Controllers recover link.
                                             May include AMP specific operations.

                    HCI_Physical_Link_Recovery                                    HCI_Physical_Link_Recovery




Figure 4.53: Controller reports link loss to its Host




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Message Sequence Charts

4.16.2 Logical Link Creation

Step 1: Host A sends a Logical Link Create command to its AMP Controller.
AMP Controllers A and B do whatever AMP specific action is required to meet
the bandwidth request. Each AMP Controller sends the Logical Link Creation
Complete event to its Host. Both devices can now pass data traffic over the
AMP channel.

A flow diagram of the establishment of a Guaranteed logical connection
between two devices is shown in Figure 4.54.


                                                 AMP                  AMP
           Host A                                                                                        Host B
                                                PAL A                PAL B



                          Step 1: Creation of a Guaranteed Logical Link between A and B


                A and B use the BR/EDR Controller to exchange Flow Specification information
               for the Guaranteed logical link along with any L2CAP Config negotiation needed

                     HCI_Logical_Link_Create                                  HCI_Logical_Link_Accept

                      HCI_Command_Status                                       HCI_Command_Status


                                 AMP Controllers A and B create/accept a bandwidth
                                    allocation for data traffic on the logical link in
                                 whatever AMP specific way needed to meet the QoS
                                             requested in the Flow Spec
                    HCI_Logical_Link_Complete                                HCI_Logical_Link_Complete



                                 Lock step between hosts prior to data traffic between
                                              AMP Controllers A and B




Figure 4.54: Guaranteed logical link creation




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Step 2: Host A sends a Logical Link Disconnect command to its AMP
Controller. AMP Controllers A and B do whatever AMP specific action is
required to meet the request. Each AMP Controller sends the Logical Link
Disconnect Complete event to its Host.


                                                   AMP                    AMP
           Host A                                                                                          Host B
                                                  PAL A                  PAL B



                                         Step 2: Host A disconnects the logical link

                    HCI_Disconnect_Logical_Link

                       HCI_Command_Status



                                              AMP Controllers perform any AMP
                                               specific action/protocol needed


                  HCI_Disconnection_Logical_Link_                            HCI_Disconnection_Logical_Link_
                             Complete                                                    Complete




                                             No logical channel between A and B




Figure 4.55: Host A disconnects the logical link


Step 3: During normal operation the Host may modify logical link characteristics.


                                                   AMP                    AMP
           Host A                                                                                          Host B
                                                  PAL A                  PAL B



                              Step 3: Logical link exists between Device A and Device B



          Host A having negotiated with remote Host new Flow Spec, makes request to its Controller


                      HCI_Flow_Spec_Modify                                        HCI_Flow_Spec_Modify


                       HCI_Command_Status                                          HCI_Command_Status



                                     AMP Controllers A and B adjust a bandwidth
                                     allocation for data traffic on the logical link in
                                  whatever AMP specific way needed to meet the QoS
                                              requested in the Flow Spec
                 HCI_Flow Spec Modify Complete                                HCI_Flow Spec Modify Complete




Figure 4.56: Host A modifies Flow_Spec on an existing logical link



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Message Sequence Charts


4.17 AMP TEST MODE SEQUENCE CHARTS


                    Step 1: Discover remote AMPs and read PHY
                                    capabilities

           Step 2: Configure and run a transmitter test on an AMP


           Step 3: Configure and run a receiver test with Receiver
                             reports on an AMP

Figure 4.57: Overview diagram for AMP test mode


4.17.1 Discover the AMP Present and Running Transmitter and Receiver
Tests

The process of discovering the number of AMPs and running transmitter and
receiver tests is detailed in the following three steps.




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Step 1: The tester sends an AMP Discovery Request to the AMP Test Manager
of the DUT over the BR/EDR ACL connection. The AMP Test Manager will
reply with the AMP Discover Response to the tester with a list of available AMP
and type over the BR/EDR ACL connection. The tester then requests the PHY
capabilities for each of the AMP it may test.


                                              AMP Test                            DUT                   DUT
           Tester
                                              Manager                            AMP 1                 AMP 2



                                                                        AMP enumeration




                     Step 1: Discover remote AMPs and read the supported PHY capabilities

                       AMP Discover request


                      AMP Discover response

                AMP Read PHY capabilities request
                         (Controller_ID=1)


                                                      HCI_Read_Local_AMP_ASSOC

                                  Repeat                 HCI_Command_Complete
                        reading parts of
                          AMP ASSOC                   HCI_Read_Local_AMP_ASSOC
                         until all is read
                                                         HCI_Command_Complete

                  AMP Read PHY capabilities reponse
                         (Controller_ID=1)


                AMP Read PHY capabilities request
                         (Controller_ID=2)


                                                                      HCI_Read_Local_AMP_ASSOC

                                  Repeat                                HCI_Command_Complete
                        reading parts of
                          AMP ASSOC                                   HCI_Read_Local_AMP_ASSOC
                         until all is read
                                                                        HCI_Command_Complete

                  AMP Read PHY capabilities reponse
                         (Controller_ID=2)




Figure 4.58: Discover remote AMPs and their PHY capabilities




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Step 2: In order to configure a transmitter test, the Tester sends an
HCI_AMP_Test_Command to the AMP Test Manager of the DUT using the
L2CAP AMP Test Message for the AMP Controller indicated by the
Controller_ID. The AMP Test Manager sends on the
HCI_AMP_Test_Command on to the AMP indicated by the Controller_ID.
When the HCI_AMP_Start_Test_Event is returned from the AMP Controller,
the event will be sent via the AMP Test Manager back to the Tester within an
L2CAP AMP Test message.


                                                                                  AMP Test                                DUT
           Tester
                                                                                  Manager                                AMP 1



                             Step 1: Discover remote AMP and there PHY capabilities




                                  Step 2: Activate test mode and run transmitter test

                                      L2CAP AMP Test Message
                  (Controller_ID, HCI_AMP_Test Command (Transmitter test parameters))


                                                                                               HCI_AMP_Test
                                                                                         (Transmitter test parameters)

                                                                                             HCI_AMP_Start_Test

                                      L2CAP AMP Test Message
                               (Controller_ID, HCI_AMP_Start_Test Event)


                                                                                             HCI_AMP_Test_End

                                      L2CAP AMP Test Message
                               (Controller_ID, HCI_AMP_Test_End Event)




Figure 4.59: Activate test mode and run a transmitter test

Step 3: In order to Enable AMP Receiver Reports, the Tester sends an AMP
test command to the AMP Test Manager of the DUT using the L2CAP AMP
Test message for the AMP Controller indicated by the Controller_ID. The
Command_Complete_Event is returned to the Tester via the AMP Test
Manager in an L2CAP AMP Test Message.
In order to configure a receiver test, the Tester sends an
HCI_AMP_Test_Command to the AMP Test Manager of the DUT using the
L2CAP AMP Test Message for the AMP Controller indicated by the
Controller_ID. The AMP Test Manager sends on the
HCI_AMP_Test_Command on to the AMP indicated by the Controller_ID. The
HCI_AMP_Start_Event is returned to the Tester via the AMP Test Manager in
an L2CAP AMP Test Message.
AMP_Receiver_Reports and the HCI_Test_End_Event are sent back to the
Tester via the AMP Test Manager from the Controller and then the Recever
reports is disabled by the Tester using the
HCI_Enable_AMP_Receiver_Reports command.

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                                                                                     AMP Test                              DUT
           Tester
                                                                                     Manager                              AMP 1


                              Step 1: Discover remote AMP and there PHY capabilities


                                    Step 3: Activate test mode and run receiver test




                                                                                                                                  Enable Receiver Reports
                                      L2CAP AMP Test Message
                    (Controller_ID, Enable_AMP_Receiver_Reports (Enable,Interval))


                                                                                          Enable_AMP_Receiver_Reports
                                                                                                   (Enable,Interval)

                                                                                            Command_Complete_Event

                                      L2CAP AMP Test Message
                              (Controller_ID, Command_Complete_Event)

                                      L2CAP AMP Test Message
                     (Controller_ID, HCI Test Command( Receiver test parameters))


                                                                                                  HCI Test Command
                                                                                             (Receiver test parameters)

                                                                                                 AMP Start Test Event


                                      L2CAP AMP Test Message
                                 (Controller_ID, AMP Start Test Event)

                                                                                                 AMP_Receiver_Report


                                      L2CAP AMP Test Message
                                (Controller_ID, AMP_Receiver_Report)

                                      L2CAP AMP Test Message
                                   (Controller_ID, AMP_Test_End)

                                                                                                    AMP_Test_End

                                                                                            Command_Complete_Event


                                      L2CAP AMP Test Message
                              (Controller_ID, Command_Complete_Event)

                                                                                                HCI AMP Test End Event


                                      L2CAP AMP Test Message
                                 (Controller_ID, AMP_Test_End Event)

                                                                                                 AMP_Receiver_Report


                                      L2CAP AMP Test Message
                                (Controller_ID, AMP_Receiver_Report)
                                                                                                                                  Disable Receiver Reports




                                      L2CAP AMP Test Message
                    (Controller_ID, Enable_AMP_Receiver_Reports(Disable,Interval))

                                                                                          Enable_AMP_Receiver_Reports
                                                                                                   (Disable, Interval)

                                                                                            Command_Complete_Event


                                      L2CAP AMP Test Message
                              (Controller_ID, Command_Complete_Event)




Figure 4.60: Configure and run a receiver test with receiver reports on an AMP

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Message Sequence Charts


4.18 SLOT AVAILABILITY MASK
A flow diagram of SAM negotiation between two devices is shown in Figure
4.61. The setup of SAM may be triggered by the Link Manager for MWS
coexistence or topology management purposes. For MWS coexistence, SAM
LMP sequences may be triggered by the HCI commands
"Set_External_Frame_Configuration" and
"Set_MWS_PATTERN_Configuration" or by the real-time signals (e.g.
MWS_PATTERN_Index, FRAME_SYNC, etc) from the Coexistence Logical
Interface (see [Vol 7] Part A), as these contain information for the SAM_Index
to be activated and the SAM anchor point for MWS coexistence. Piconet Clock
Adjustment may be performed to create more available slot pairs per MWS
frame before initiating the LMP_SAM_switch sequence.




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             +RVW$                                 /0$                                     /0%                           +RVW%



                                            6$0QHJRWLDWLRQVEHWZHHQWZRGHYLFHV

                      HCI_Set_MWS_Transport_Layer

                         HCI_Command_Complete

                         HCI_Set_MWS_Signaling

                         HCI_Command_Complete

                   HCI_Set_External_Frame_Configuration
                                                             2SWLRQDO
                         HCI_Command_Complete

                   HCI_Set_MWS_PATTERN_Configuration

                         HCI_Command_Complete


                                           3&$LVILQLVKHG


                                /0$GHFLGHVWRHQDEOH6$0

                                                                  LMP_SAM_set_type0

                                                                   LMP_accepted_ext

                                                                 LMP_SAM_define_map

                                                                   LMP_accepted_ext

                                                                   LMP_SAM_switch

                                                                   LMP_accepted_ext

                         HCI_SAM_Status_Change                                                      HCI_SAM_Status_Change


                   HCI_Set_MWS_PATTERN_Configuration

                         HCI_Command_Complete                2SWLRQDO


                       /0$GHFLGHVWRDGGDQHZ6$0VORWPDS

                                                          LMP_SAM_define_map (new SAM_Index)

                                                                   LMP_accepted_ext


                      /0$GHFLGHVWRVZLWFKWRWKHQHZVORWPDS

                                                            LMP_SAM_switch (new SAM_Index)

                                                                   LMP_accepted_ext

               HCI_SAM_Status_Change (new Local_SAM_Index)                               HCI_SAM_Status_Change (new Remote_SAM_Index)




Figure 4.61: SAM negotiations between two devices




Optional Activities after ACL Connection Establishment                                                                         06 December 2016
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Message Sequence Charts


4.19 LMP TRANSACTION COLLISION
The Link Managers of both the master and slave may initiate the same LMP
transaction at the same time.



                                                 /0$                                         /0%
              +RVW$                                                                                                             +RVW%
                                                 0DVWHU                                       6ODYH


                                6WHS%RWK+RVW$DQG+RVW%UHTXHVW6QLII0RGH

                           HCI_Sniff_Mode                                                                 HCI_Sniff_Mode

                        HCI_Command_Status                                                             HCI_Command_Status

                                                     LM
                                                       P_s                                  de
                                                             niff_                       mo
                                                                  mo
                                                                     de          _s niff_
                                                                             LMP




                                                                 LMP_not_accepted
                                                          (LMP Error Transaction Collision)
                                                                                                        HCI_Mode_Change
                                                                                                  (LMP Error Transaction Collision)
                                                                     LMP_accepted


                                                          6QLIIPRGHVWDUWHG

                       HCI_Mode_Change (sniff)                                                        HCI_Mode_Change (sniff)




Figure 4.62: LMP Transaction Collision




Optional Activities after ACL Connection Establishment                                                                                06 December 2016
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Message Sequence Charts


5 SYNCHRONOUS CONNECTION ESTABLISHMENT
AND DETACHMENT

5.1 SYNCHRONOUS CONNECTION SETUP
Using the HCI_Setup_Synchronous_Connection command, a Host can add a
synchronous logical channel to the link. A synchronous logical link can be
provided by creating a SCO or an eSCO logical transport.

Note: An ACL Connection must be established before a synchronous
connection can be created.

Step 1a: Master device requests a synchronous connection with a device.
(See Figure 5.1.)


                                             LM-A                         LM-B
          Host A                                                                                            Host B
                                             Master                       Slave



                        Step 1a: Host A requests Synchronous Connection with Device B

              HCI_Setup_Synchronous_Connection
                       (EV3 | EV4 | EV5)


                     HCI_Command_Status


                                                      LMP_eSCO_link_req

                                                                                  HCI_Connection_Request
                                                                                          (eSCO)


                                                                                  HCI_Accept_Synchronous_
                                                                                    Connection_Request
                                                                                      (EV3 | EV4 | EV5)


                                                      LMP_eSCO_link_req

                                                      LMP_eSCO_link_req


                                                      LMP_accepted_ext




                                             Synchronous Connection started


                 HCI_Synchronous_Connection_                                  HCI_Synchronous_Connection_
                       Complete (eSCO)                                                Complete (eSCO)




Figure 5.1: Master requests synchronous EV3, EV4 or EV5 connection




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Message Sequence Charts

Step 1b: Slave device requests a synchronous connection with a device. (See
Figure 5.2.)


                                             LM-A                         LM-B
          Host A                                                                                             Host B
                                             Master                       Slave



                       Step 1b: Host B requests Synchronous Connection with Device A

                                                                                  HCI_Setup_Synchronous_Connection
                                                                                       (EV3 | EV4 | EV5)


                                                                                     HCI_Command_Status


                                                      LMP_eSCO_link_req


                   HCI_Connection_Request
                           (eSCO)

                   HCI_Accept_Synchronous_
                     Connection_Request
                       (EV3 | EV4 | EV5)


                    HCI_Command_Status


                                                      LMP_eSCO_link_req


                                                      LMP_eSCO_link_req

                                                      LMP_eSCO_link_req


                                                      LMP_accepted_ext




                                             Synchronous Connection started


                HCI_Synchronous_Connection_                                   HCI_Synchronous_Connection_
                       Complete (eSCO)                                                 Complete (eSCO)




Figure 5.2: Slave requests synchronous EV3, EV4 or EV5 connection




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Message Sequence Charts

Step 1c: Master device requests a SCO connection with a device. (See Figure
5.3.)


                                            LM-A                          LM-B
          Host A                                                                                              Host B
                                            Master                        Slave



                        Step 1c: Host A requests Synchronous Connection with Device B

              HCI_Setup_Synchronous_Connection
                   (HV1|HV2|HV3|EV3|EV4|EV5)

                     HCI_Command_Status


                                                       LMP_SCO_link_req


                                                                                    HCI_Connection_Request
                                                                                            (SCO)


                                                                                  HCI_Accept_Connection_Request


                                                                                     HCI_Command_Status

                                                         LMP_accepted




                                               Synchronous Connection started


                HCI_Synchronous_Connection_                                         HCI_Connection_Complete
                        Complete (SCO)




Figure 5.3: Master requests synchronous connection using SCO




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Message Sequence Charts

Step 1d: Master device requests a SCO connection with a device. (See
Figure 5.4.)


                                             LM-A                           LM-B
          Host A                                                                                               Host B
                                             Master                         Slave



                        Step 1d: Host A requests Synchronous Connection with Device B

              HCI_Setup_Synchronous_Connection
                   (HV1|HV2|HV3|EV3|EV4|EV5)

                     HCI_Command_Status


                                                         LMP_SCO_link_req


                                                                                      HCI_Connection_Request
                                                                                              (SCO)


                                                                                    HCI_Accept_Connection_Request


                                                                                       HCI_Command_Status

                                                           LMP_accepted




                                                 Synchronous Connection started


                 HCI_Synchronous_Connection_                                         HCI_Connection_Complete
                           Complete




Figure 5.4: Master requests synchronous connection with legacy slave




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Message Sequence Charts

Step 1e: Host device requests a SCO connection with a device. (See Figure
5.5.)


                                                LM-A                        LM-B
          Host A                                                                                              Host B
                                                Master                      Slave



             Step 1e: Legacy Host B requests Synchronous Connection with Master Device A

                                                                                    HCI_Add_SCO_Connection

                                                                                     HCI_Command_Status


                                                         LMP_SCO_link_req

                    HCI_Connection_Request
                             (SCO)


              HCI_Accept_Synchronous_Connection
                   _Request (HV1 | HV2 | HV3)


                     HCI_Command_Status


                                                         LMP_SCO_link_req

                                                          LMP_accepted




                                                Synchronous Connection started


                 HCI_Synchronous_Connection_                                        HCI_Connection_Complete
                           Complete




Figure 5.5: Any device that supports only SCO connections requests a synchronous connection
with a device




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Message Sequence Charts

Step 2a: Master renegotiates eSCO connection (see Figure 5.6.)


                                              LM-A                         LM-B
          Host A                                                                                         Host B
                                              Master                       Slave


                                               Synchronous Connection exists
                                              with EV3, TeSCO=6, and WeSCO=4



                        Step 2a: Host A changes Synchronous Connection with Device B

              HCI_Setup_Synchronous_Connection
                 (Retransmission_effort = 0x00)


                     HCI_Command_Status

                                                       LMP_eSCO_link_req

                                                       LMP_eSCO_link_req


                                                       LMP_eSCO_link_req

                                                       LMP_accepted_ext




                                              Synchronous Connection changed


                 HCI_Synchronous_Connection_                                   HCI_Synchronous_Connection_
                           Changed                                                      Changed




Figure 5.6: Master renegotiates eSCO connection




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Message Sequence Charts

Step 2b: Slave renegotiates eSCO connection (see Figure 5.7.)


                                                LM-A                                LM-B
          Host A                                                                                                          Host B
                                                Master                              Slave


                                                 Synchronous Connection exists
                                                with EV3, TeSCO=6, and WeSCO=4



                        Step 2b: Host B changes Synchronous Connection with Device A

                                                                                            HCI_Setup_Synchronous_Connection
                                                                                            (EV3, Retransmission_effort = 0x00)


                                                                                               HCI_Command_Status


                                                            LMP_eSCO_link_req


                                                            LMP_eSCO_link_req

                                                             LMP_accepted_ext




                                            Synchronous Connection changed


                HCI_Synchronous_Connection_                                             HCI_Synchronous_Connection_
                            Changed                                                                   Changed




Figure 5.7: Slave renegotiates eSCO connection


Step 3a: eSCO Disconnection. (See Figure 5.8.)


                                                LM-A                                LM-B
          Host A                                                                                                          Host B
                                                Master                              Slave



                           Step 3a: Host A requests eSCO Disconnection from Device B

                        HCI_Disconnect

                      HCI_Command_Status


                                                         LMP_remove_eSCO_link_req

                                                             LMP_accepted_ext




                                                Synchronous Connection exited


                   HCI_Disconnection_Complete                                               HCI_Disconnection_Complete




Figure 5.8: Synchronous disconnection of eSCO connection


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Message Sequence Charts

Step 3b: SCO Disconnection. (See Figure 5.9.)


                                                LM-A                               LM-B
          Host A                                                                                                        Host B
                                                Master                             Slave



                            Step 3b: Host A requests SCO Disconnection from Device B

                        HCI_Disconnect


                      HCI_Command_Status


                                                         LMP_remove_SCO_link_req


                                                              LMP_accepted




                                                Synchronous Connection exited


                   HCI_Disconnection_Complete                                              HCI_Disconnection_Complete




Figure 5.9: Synchronous disconnection of SCO connection


5.2 SYNCHRONOUS CONNECTION SETUP WITH ENHANCED
SYNCHRONOUS COMMANDS
Using the HCI_Enhanced_Setup_Synchronous_Connection command, a Host
can add a synchronous logical channel to the link. A synchronous logical link
can be provided by creating a SCO or an eSCO logical transport.

Note: An ACL Connection must be established before a synchronous
connection can be created.




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Message Sequence Charts

Step 1a: Master device requests a synchronous connection with a slave
device.


                                             LM-A                         LM-B
          Host A                                                                                            Host B
                                             Master                       Slave



                       Step 1a: Host A requests Synchronous Connection with Device B

                    HCI_Enhanced_Setup_
                   Synchronous _Connection
              (EV3|EV4|EV5|2EV3|2EV5|3EV3|3EV5)


                    HCI_Command_Status

                                                      LMP_eSCO_link_req

                                                                                  HCI_Connection_Request
                                                                                          (eSCO)


                                                                                  HCI_Accept_Synchronous_
                                                                                    Connection_Request
                                                                            (EV3|EV4|EV5|2EV3|2EV5|3EV3|3EV5)


                                                                                   HCI_Command_Status

                                                      LMP_eSCO_link_req

                                                      LMP_eSCO_link_req


                                                      LMP_accepted_ext




                                             Synchronous Connection started


                 HCI_Synchronous_Connection_                                  HCI_Synchronous_Connection_
                      Complete (eSCO)                                                 Complete (eSCO)




Figure 5.10: Master requests synchronous connection
(EV3, EV4, EV5, 2-EV3, 2-EV5, 3-EV3, or 3-EV5)




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Message Sequence Charts

Step 1b: Slave device requests a synchronous connection with a master
device.


                                            LM-A                            LM-B
          Host A                                                                                             Host B
                                            Master                          Slave



                       Step 1b: Host B requests Synchronous Connection with Device A

                                                                                    HCI_Enhanced_Setup_
                                                                                    Synchronous_Connection
                                                                              (EV3|EV4|EV5|2EV3|2EV5|3EV3|3EV5)


                                                                                     HCI_Command_Status

                                                        LMP_eSCO_link_req

                   HCI_Connection_Request
                           (eSCO)


                   HCI_Enhanced_Accept_
               Synchronous_Connection_Request
              (EV3|EV4|EV5|2EV3|2EV5|3EV3|3EV5)


                    HCI_Command_Status

                                                        LMP_eSCO_link_req


                                                        LMP_eSCO_link_req

                                                        LMP_eSCO_link_req


                                                         LMP_accepted_ext




                                                Synchronous Connection started


                HCI_Synchronous_Connection_                                     HCI_Synchronous_Connection_
                       Complete (eSCO)                                                 Complete (eSCO)




Figure 5.11: Slave requests synchronous connection
(EV3, EV4, EV5, 2-EV3, 2-EV5, 3-EV3, or 3-EV5)




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Message Sequence Charts

Step 1c: Master device requests a SCO connection with a slave device.


                                            LM-A                        LM-B
          Host A                                                                                           Host B
                                            Master                      Slave



                       Step 1c: Host A requests Synchronous Connection with Device B

                    HCI_Enhanced_Setup_
                      Synchronous_Conn
              (HV1|HV2|HV3|EV3|EV4|EV5|2EV3|2EV5
                         |3EV3|3EV5)

                    HCI_Command_Status

                                                     LMP_SCO_link_req


                                                                                  HCI_Connection_Request
                                                                                          (SCO)

                                                                                HCI_Accept_Connection_Request


                                                                                   HCI_Command_Status

                                                      LMP_accepted




                                            Synchronous Connection started


                 HCI_Synchronous_Connection_                                     HCI_Connection_Complete
                       Complete (SCO)                                                     (SCO)




Figure 5.12: Master requests synchronous connection
(HV1, HV2, HV3, EV3, EV4, EV5, 2EV3, 2EV5, 3EV3 or 3EV5)




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Message Sequence Charts

 Step 1d: Slave device requests a SCO connection with a master device.


                                            LM-A                          LM-B
          Host A                                                                                            Host B
                                            Master                        Slave



                       Step 1d: Host B requests Synchronous Connection with Device A

                                                                                  HCI_Add_SCO_Connection
                                                                                      (HV1|HV2|HV3)


                                                                                   HCI_Command_Status


                                                       LMP_SCO_link_req

                   HCI_Connection_Request
                           (SCO)


                   HCI_Enhanced_Accept_
              Synchronous_Connection_Request
                       (HV1|HV2|HV3)


                    HCI_Command_Status


                                                       LMP_SCO_link_req

                                                         LMP_accepted




                                               Synchronous Connection started


                HCI_Synchronous_Connection_                                       HCI_Connection_Complete
                       Complete (SCO)                                                     (SCO)




Figure 5.13: Slave requests synchronous connection (HV1, HV2, or HV3)




Synchronous Connection Establishment and Detachment                                                         06 December 2016
                                                                                                  Bluetooth SIG Proprietary
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Message Sequence Charts

 Step 2a: Master renegotiates eSCO connection.


                                            LM-A                         LM-B
          Host A                                                                                       Host B
                                            Master                       Slave



                    Step 2a: Host A renegotiates Synchronous Connection with Device B

                   HCI_Enhanced_Setup_
                   Synchronous_Connection
             (EV3|EV4|EV5|2EV3|2EV5|3EV3|3EV5)


                    HCI_Command_Status

                                                     LMP_eSCO_link_req


                                                     LMP_eSCO_link_req

                                                     LMP_eSCO_link_req


                                                     LMP_accepted_ext




                                            Synchronous Connection changed


                HCI_Synchronous_Connection_                                  HCI_Synchronous_Connection_
                          Changed                                                     Changed




Figure 5.14: Master renegotiates synchronous connection parameter change




Synchronous Connection Establishment and Detachment                                                    06 December 2016
                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts

Step 2b: Slave renegotiates eSCO connection.


                                          LM-A                         LM-B
          Host A                                                                                        Host B
                                          Master                       Slave



                    Step 2b: Host B renegotiate Synchronous Connection with Device A

                                                                               HCI_Enhanced_Setup_
                                                                               Synchronous_Connection
                                                                         (EV3|EV4|EV5|2EV3|2EV5|3EV3|3EV5)


                                                                                HCI_Command_Status

                                                   LMP_eSCO_link_req


                                                   LMP_eSCO_link_req


                                                   LMP_eSCO_link_req


                                                   LMP_eSCO_link_req


                                                   LMP_accepted_ext




                                         Synchronous Connection changed


                HCI_Synchronous_Connection_                                 HCI_Synchronous_Connection_
                         Changed                                                      Changed




Figure 5.15: Slave renegotiates synchronous connection parameter change




Synchronous Connection Establishment and Detachment                                                     06 December 2016
                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts


6 SNIFF AND HOLD

Entry into Sniff mode or Hold mode requires an established ACL Connection.

6.1 SNIFF MODE
The HCI_Sniff_Mode command is used to enter sniff mode.
The HCI_Exit_Sniff_Mode command is used to exit sniff mode.

Step 1: Host requests to enter sniff mode. Multiple LMP_sniff_req PDUs may
be sent as the parameters for sniff mode are negotiated. (See Figure 6.1.)



           Host A                             LM-A                        LM-B                             Host B



                                  Step 1: Host A requests Sniff Mode with Device B

                        HCI_Sniff_Mode

                     HCI_Command_Status


                                                         LMP_sniff_req


                                                         LMP_accepted




                                                     Sniff mode started


                    HCI_Mode_Change (sniff)                                      HCI_Mode_Change (sniff)




Figure 6.1: Sniff mode request




Sniff and Hold                                                                                             06 December 2016
                                                                                                 Bluetooth SIG Proprietary
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Message Sequence Charts

Step 2: Host requests to exit sniff mode. (See Figure 6.2.)



           Host A                              LM-A                             LM-B                               Host B



                                     Step 2: Host A exits Sniff Mode with Device B

                      HCI_Exit_Sniff_Mode

                      HCI_Command_Status


                                                           LMP_unsniff_req

                                                            LMP_accepted




                                                        Sniff mode exited


                    HCI_Mode_Change (active)                                            HCI_Mode_Change (active)




Figure 6.2: Exit sniff mode request


6.2 HOLD MODE
The HCI_Hold_Mode command can be used to place a device into hold mode. The
Controller may do this by either negotiating the hold mode parameters or forcing
hold mode. Hold mode will automatically end after the negotiated length of time.
Step 1a: A Host requests hold mode. (See Figure 6.3.)


                                               LM-A                             LM-B
           Host A                                                                                                  Host B
                                               Master                           Slave



                                  Step 1a: Host A requests Hold Mode with Device B

                        HCI_Hold_Mode


                      HCI_Command_Status


                                                        LMP_set_AFH (AHS(79))

                                                            LMP_hold_req


                                                            LMP_accepted




                                                        Hold mode started


                    HCI_Mode_Change (hold)                                              HCI_Mode_Change (hold)




Figure 6.3: Hold request


Sniff and Hold                                                                                                     06 December 2016
                                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts

Step 1b: A Host may force hold mode. (See Figure 6.4.)


                                             LM-A                             LM-B
           Host A                                                                                              Host B
                                             Master                           Slave



                         Step 1b: Master Host A forces Hold Mode with Slave Device B

                        HCI_Hold_Mode


                     HCI_Command_Status


                                                      LMP_set_AFH (AHS(79))


                                                            LMP_hold




                                                      Hold mode started


                    HCI_Mode_Change (hold)                                            HCI_Mode_Change (hold)




Figure 6.4: Master forces hold mode




Sniff and Hold                                                                                                 06 December 2016
                                                                                                     Bluetooth SIG Proprietary
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Message Sequence Charts

Step 1c: A slave device requests hold mode. (See Figure 6.5.)


                                               LM-A                                 LM-B
           Host A                                                                                                      Host B
                                               Master                               Slave



                          Step 1c: Slave Host B forces Hold Mode with Master Device A

                                                                                                HCI_Hold_Mode


                                                                                              HCI_Command_Status


                                                                LMP_hold

                                                         LMP_set_AFH (AHS(79))

                                                                LMP_hold




                                                        Hold mode started


                    HCI_Mode_Change (hold)                                                  HCI_Mode_Change (hold)




Figure 6.5: Slave forces hold mode


Step 2: When hold mode completes the Hosts are notified using the
HCI_Mode_Change event. (See Figure 6.6.)


                                               LM-A                                 LM-B
           Host A                                                                                                      Host B
                                               Master                               Slave



                                                Step 2: Hold Mode Completes



                                                    Hold mode completes


                    HCI_Mode_Change (active)                                                HCI_Mode_Change (active)


                                                        LMP_set_AFH (current_map)




Figure 6.6: Hold mode completes


6.3 THIS SECTION NO LONGER USED




Sniff and Hold                                                                                                         06 December 2016
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Message Sequence Charts


7 BUFFER MANAGEMENT, FLOW CONTROL

Buffer management is very important for resource limited devices. This can be
achieved on the Host Controller Interface using the HCI_Read_Buffer_Size
command, and the HCI_Number_Of_Completed_Packets event, and the
HCI_Set_Host_Controller_To_Host_Flow_Control, HCI_Host_Buffer_Size and
HCI_Host_Number_Of_Completed_Packets commands.

Step 1: During initialization, the Host reads the buffer sizes available in the
Controller. When an HCI Data Packet has been transferred to the remote
device, and a Baseband acknowledgment has been received for this data, then
an HCI_Number_Of_Completed_Packets event will be generated.
(See Figure 7.1.)



          Host A                        LM-A >> BB-A                 LM-B >> BB-B                     Host B



                                  Step 1: Host A Initializes and uses Flow Control

                    HCI_Read_Buffer_Size


                   HCI_Command_Complete




                                         After an ACL connection is established


                      ACL Data Packet


                                                       Data Packet


                                                         BB ACK

                      HCI_Number_Of_                                                ACL Data Packet
                     Completed_Packets




Figure 7.1: Host to Controller flow control




Buffer Management, Flow Control                                                                       06 December 2016
                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts

Step 2: During initialization, the Host notifies the Controller that Host flow
control shall be used, and then the Host buffer sizes available. When a data
packet has been received from a remote device, an HCI Data Packet is sent to
the Host from the Controller, and the Host shall acknowledge its receipt by
sending HCI_Host_Number_Of_Completed_Packets. (See Figure 7.2.)



          Host A                       LM-A >> BB-A                    LM-B >> BB-B                   Host B



                               Step 2: Host A Initializes and uses Host Flow Control

                   HCI_Set_Host_Controller_
                    To_Host_Flow_Control


                   HCI_Command_Complete


                    HCI_Host_Buffer_Size


                   HCI_Command_Complete




                                           After an ACL connection is established


                                                                                      Data Packet

                                                         Data Packet


                                                            ACK


                         Data Packet

                    HCI_Host_Number_Of_
                     Completed_Packets




Figure 7.2: Controller to Host flow control




Buffer Management, Flow Control                                                                       06 December 2016
                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts


8 LOOPBACK MODE

The loopback modes are used for testing of a device only.

8.1 LOCAL LOOPBACK MODE
The local loopback mode is used to loopback received HCI Commands, and
HCI ACL and HCI Synchronous packets sent from the Host to the Controller.

Step 1: The Host enters local loopback mode. Four connection complete
events are generated and then a command complete event.
(See Figure 8.1.)



         Host A                        LM-A >> BB-A             LM-B >> BB-B             Host B



                                       Step 1: Host A enters Local Loopback Mode

                  HCI_Write_Loopback_Mode
                           (local)


                  HCI_Connection_Complete
                           (ACL)


                  HCI_Connection_Complete
                       (SCO or eSCO)


                  HCI_Connection_Complete
                       (SCO or eSCO)


                  HCI_Connection_Complete
                       (SCO or eSCO)


                  HCI_Connection_Complete




Figure 8.1: Entering local loopback mode




Loopback Mode                                                                            06 December 2016
                                                                                   Bluetooth SIG Proprietary
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Message Sequence Charts

Step 2a: The Host sending HCI Data Packet will receive the exact same data
back in HCI Data Packets from the Controller. (See Figure 8.2.)



         Host A                        LM-A >> BB-A       LM-B >> BB-B                    Host B



                  Step 2a: Host A sends data to Controller while in Local Loopback Mode

                     ACL Data Packet


                     ACL Data Packet

                     ACL Data Packet


                     ACL Data Packet




Figure 8.2: Looping back data in local loopback mode


Step 2b: The Host sending most HCI Command Packets to the Controller will
receive an HCI_Loopback_Command event with the contents of the HCI
Command Packet in the payload. (See Figure 8.3.)



         Host A                        LM-A >> BB-A       LM-B >> BB-B                    Host B



           Step 2b: Host A sends HCI Commands to Controller while in Local Loopback Mode

                   HCI Command Packet


                  HCI_Loopback_Command


                   HCI Command Packet


                  HCI_Loopback_Command




Figure 8.3: Looping back commands in local loopback mode




Loopback Mode                                                                             06 December 2016
                                                                                  Bluetooth SIG Proprietary
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Message Sequence Charts

Step 3: The Host exits local loopback mode. Multiple disconnection complete
events are generated before the command complete event.
(See Figure 8.4.)



         Host A                          LM-A >> BB-A             LM-B >> BB-B                  Host B



                                         Step 3: Host A Exits Local Loopback Mode

                  HCI_Write_Loopback_Mode
                         (no loopback)


                  HCI_Disconnection_Complete
                            (ACL)


                  HCI_Disconnection_Complete
                        (SCO or eSCO)


                  HCI_Disconnection_Complete
                        (SCO or eSCO)


                  HCI_Disconnection_Complete
                        (SCO or eSCO)


                  HCI_Command_Complete




Figure 8.4: Exiting local loopback mode


8.2 REMOTE LOOPBACK MODE
The remote loopback mode is used to loopback data to a remote device over
the air.

Step 1: The local device first enables remote loopback. The remote Host then
sets up a connection to the local device. (See Figure 8.5.)



         Host A                          LM-A >> BB-A             LM-B >> BB-B                  Host B



                                      Step 1: Host A enters Remote Loopback Mode


                  HCI_Write_Loopback_Mode
                           (remote)


                   HCI_Command_Complete



                                                          Host B creates ACL connection




Figure 8.5: Entering remote loopback mode

Loopback Mode                                                                                   06 December 2016
                                                                                          Bluetooth SIG Proprietary
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Message Sequence Charts

Step 2: Any data received from the remote Host will be looped back in the
Controller of the local device. (See Figure 8.6.)



         Host A                        LM-A >> BB-A                 LM-B >> BB-B                      Host B



                   Step 2: Host B sends data packets that will loopback through Device A

                                                                                   HCI Data Packet

                                                      Data Packet

                                                         ACK


                                                                             HCI_Number_Of_Completed_
                                                                                      Packets


                                                      Data Packet

                                                                                   HCI Data Packet




Figure 8.6: Looping back data in remote loopback mode


Step 3: The local Host exits remote loopback mode. Any connections can
then be disconnected by the remote device. (See Figure 8.7.)



         Host A                        LM-A >> BB-A                 LM-B >> BB-B                      Host B



                                       Step 3: Host A exits Remote Loopback Mode

                  HCI_Write_Loopback_Mode
                       (no loopback)

                  HCI_Command_Complete




                                                      Host B disconnects ACL connection




Figure 8.7: Exiting remote loopback mode




Loopback Mode                                                                                         06 December 2016
                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts


9 CONNECTIONLESS SLAVE BROADCAST SERVICES

Figure 9.1 illustrates the Truncated Page procedure.



          Host A                        Controller A                   Controller B                        Host B



                           Step 1: Device B Pages Device A Using Truncated Paging

                    HCI_Write_Scan_Enable


                   HCI_Command_Complete


                                                                                      HCI_Truncated_Page


                                                                                  HCI_Command_Status


                                                           Page




                                                           Page


                                                       Page Response

                                                                               HCI_Truncated_Page_Complete




                                       pagerespTO



               HCI_Slave_Page_Response_Timeout




Figure 9.1: Truncated paging




Connectionless Slave Broadcast Services                                                                    06 December 2016
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Message Sequence Charts

Figure 9.2 illustrates how Device A starts transmitting Connectionless Slave
Broadcast packets to Device B.



          Host A                          Controller A                         Controller B         Host B



                               Step 2: Device A Starts Connectionless Slave Broadcast

                   HCI_Set_Reserved_LT_ADDR


                     HCI_Command_Complete

           HCI_Set_Connectionless_Slave_Broadcast_Data


                     HCI_Command_Complete

             HCI_Set_Connectionless_Slave_Broadcast


                     HCI_Command_Complete

                                                  Connectionless Slave Broadcast Packet




                                                  Connectionless Slave Broadcast Packet




Figure 9.2: Connectionless slave broadcast transmitter start




Connectionless Slave Broadcast Services                                                             06 December 2016
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Message Sequence Charts

Figure 9.3 shows the Synchronization Train feature. Device A is the
Connectionless Slave Broadcast Transmitter. Device B is the Connectionless
Slave Broadcast Receiver.



          Host A                           Controller A                          Controller B                         Host B



                                    Step 3: Device A Starts the Synchronization Train

            HCI_Write_Synchronization_Train_Parameters


                     HCI_Command_Complete


                 HCI_Start_Synchronization_Train

                      HCI_Command_Status


                                                         Synchronization Train Packet




                                                         Synchronization Train Packet

                                                                                        HCI_Receive_Synchronization_Train


                                                                                              HCI_Command_Status


                                                         Synchronization Train Packet

                                                                                        HCI_Synchronization_Train_Received


                                                         Synchronization Train Packet




                                                         Synchronization Train Packet




                            synchronization_trainTO



               HCI_Synchronization_Train_Complete




Figure 9.3: Synchronization train




Connectionless Slave Broadcast Services                                                                               06 December 2016
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Message Sequence Charts

Figure 9.4 illustrates how Device B starts receiving Connectionless Slave
Broadcast packets from Device A.



          Host A                   Controller A                        Controller B                            Host B



                Step 4: Device B Starts Listening to Connectionless Slave Broadcast Packets

                                          Connectionless Slave Broadcast Packet




                                          Connectionless Slave Broadcast Packet


                                                                           HCI_Set_Connectionless_Slave_Broadcast_Receive


                                                                                      HCI_Command_Complete

                                          Connectionless Slave Broadcast Packet

                                                                              HCI_Connectionless_Slave_Broadcast_Receive


                                          Connectionless Slave Broadcast Packet

                                                                              HCI_Connectionless_Slave_Broadcast_Receive




Figure 9.4: Connectionless slave broadcast receiver start




Connectionless Slave Broadcast Services                                                                        06 December 2016
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    Core System Package [BR/EDR Controller volume]
                                                               Part G




                        PART G: SAMPLE DATA




                          Sample data for various parts of the
                          Bluetooth baseband specification. All
                          sample data are provided for reference
                          purpose only; they are intended as a
                          complement to the definitions provided
                          elsewhere in the specification. They
                          can be used to check the behavior of
                          an implementation and avoid
                          misunderstandings. Fulfilling these
                          sample data is a necessary but not
                          sufficient condition for an
                          implementation to be fully Bluetooth
                          compliant.




                                                     Bluetooth SIG Proprietary
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Sample Data


1 ENCRYPTION SAMPLE DATA

1.1 E0 ENCRYPTION SAMPLE DATA
This section contains four sets of sample data for the encryption process.

With respect to the functional description of the encryption engine in the
Bluetooth baseband specification, the contents of registers and resulting
concurrent values are listed as well. This by no means excludes different
implementations (as far as they produce the same encryption stream) but is
intended to describe the functional behavior.

In case of misunderstandings or inconsistencies, these sample data form the
normative reference.

1.1.1 Generating Kc' from Kc

where Kc'(x) = g2(x)(Kc(x) mod g1(x)).

Note: All polynomials are in hexadecimal notation.
        'L' is the effective key length in bytes.
        The notation 'p: [m]' implies that deg(p(x)) = m.


                                 MSB                                       LSB
L = 1
g1:                      [8]     00000000 00000000 00000000 0000011d
g2:                      [119]   00e275a0 abd218d4 cf928b9b bf6cb08f
Kc:                              a2b230a4 93f281bb 61a85b82 a9d4a30e
Kc mod g1:               [7]     00000000 00000000 00000000 0000009f
g2(Kc mod g1):           [126]   7aa16f39 59836ba3 22049a7b 87f1d8a5
-----------------------------------------------------------
L = 2
g1:                      [16]    00000000 00000000 00000000 0001003f
g2:                      [112]   0001e3f6 3d7659b3 7f18c258 cff6efef
Kc:                              64e7df78 bb7ccaa4 61433123 5b3222ad
Kc mod g1:               [12]    00000000 00000000 00000000 00001ff0
g2(Kc mod g1):           [124]   142057bb 0bceac4c 58bd142e 1e710a50
-----------------------------------------------------------
L = 3
g1:                      [24]    00000000 00000000 00000000 010000db
g2:                      [104]   000001be f66c6c3a b1030a5a 1919808b
Kc:                              575e5156 ba685dc6 112124ac edb2c179
Kc mod g1:               [23]    00000000 00000000 00000000 008ddbc8
g2(Kc mod g1):           [127]   d56d0adb 8216cb39 7fe3c591 1ff95618
-----------------------------------------------------------
L = 4
g1:                      [32]    00000000 00000000 00000001 000000af
g2:                      [96]    00000001 6ab89969 de17467f d3736ad9
Kc:                              8917b4fc 403b6db2 1596b86d 1cb8adab



Encryption Sample Data                                                       06 December 2016
                                                                       Bluetooth SIG Proprietary
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Sample Data

Kc mod g1:               [31]    00000000 00000000 00000000 aa1e78aa
g2(Kc mod g1):           [127]   91910128 b0e2f5ed a132a03e af3d8cda
-----------------------------------------------------------
L = 5
g1:                      [40]    00000000 00000000 00000100 00000039
g2:                      [88]    00000000 01630632 91da50ec 55715247
Kc:                              785c915b dd25b9c6 0102ab00 b6cd2a68
Kc mod g1:               [38]    00000000 00000000 0000007f 13d44436
g2(Kc mod g1):           [126]   6fb5651c cb80c8d7 ea1ee56d f1ec5d02
-----------------------------------------------------------
L = 6
g1:                      [48]    00000000 00000000 00010000 00000291
g2:                      [77]    00000000 00002c93 52aa6cc0 54468311
Kc:                              5e77d19f 55ccd7d5 798f9a32 3b83e5d8
Kc mod g1:               [47]    00000000 00000000 000082eb 4af213ed
g2(Kc mod g1):           [124]   16096bcb afcf8def 1d226a1b 4d3f9a3d
-----------------------------------------------------------




Encryption Sample Data                                                       06 December 2016
                                                                       Bluetooth SIG Proprietary
Case 6:20-cv-00980-ADA Document 70-7 Filed 10/12/21 Page 1514 of 2823

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Sample Data

L = 7
g1:                      [56]    00000000 00000000 01000000 00000095
g2:                      [71]    00000000 000000b3 f7fffce2 79f3a073
Kc:                              05454e03 8ddcfbe3 ed024b2d 92b7f54c
Kc mod g1:               [55]    00000000 00000000 0095b8a4 8eb816da
g2(Kc mod g1):           [126]   50f9c0d4 e3178da9 4a09fe0d 34f67b0e
-----------------------------------------------------------
L = 8
g1:                      [64]    00000000 00000001 00000000 0000001b
g2:                      [63]    00000000 00000000 a1ab815b c7ec8025
Kc:                              7ce149fc f4b38ad7 2a5d8a41 eb15ba31
Kc mod g1:               [63]    00000000 00000000 8660806c 1865deec
g2(Kc mod g1):           [126]   532c36d4 5d0954e0 922989b6 826f78dc
-----------------------------------------------------------
L = 9
g1:                      [72]    00000000 00000100 00000000 00000609
g2:                      [49]    00000000 00000000 0002c980 11d8b04d
Kc:                              5eeff7ca 84fc2782 9c051726 3df6f36e
Kc mod g1:               [71]    00000000 00000083 58ccb7d0 b95d3c71
g2(Kc mod g1):           [120]   016313f6 0d3771cf 7f8e4bb9 4aa6827d
-----------------------------------------------------------
L = 10
g1:                      [80]    00000000 00010000 00000000 00000215
g2:                      [42]    00000000 00000000 0000058e 24f9a4bb
Kc:                              7b13846e 88beb4de 34e7160a fd44dc65
Kc mod g1:               [79]    00000000 0000b4de 34171767 f36981c3
g2(Kc mod g1):           [121]   023bc1ec 34a0029e f798dcfb 618ba58d
-----------------------------------------------------------
L = 11
g1:                      [88]    00000000 01000000 00000000 0000013b
g2:                      [35]    00000000 00000000 0000000c a76024d7
Kc:                              bda6de6c 6e7d757e 8dfe2d49 9a181193
Kc mod g1:               [86]    00000000 007d757e 8dfe88aa 2fcee371
g2(Kc mod g1):           [121]   022e08a9 3aa51d8d 2f93fa78 85cc1f87
-----------------------------------------------------------
L = 12
g1:                      [96]    00000001 00000000 00000000 000000dd
g2:                      [28]    00000000 00000000 00000000 1c9c26b9
Kc:                              e6483b1c 2cdb1040 9a658f97 c4efd90d
Kc mod g1:               [93]    00000000 2cdb1040 9a658fd7 5b562e41
g2(Kc mod g1):           [121]   030d752b 216fe29b b880275c d7e6f6f9
-----------------------------------------------------------
L = 13
g1:                      [104]   00000100 00000000 00000000 0000049d
g2:                      [21]    00000000 00000000 00000000 0026d9e3
Kc:                              d79d281d a2266847 6b223c46 dc0ab9ee
Kc mod g1:               [100]   0000001d a2266847 6b223c45 e1fc5fa6
g2(Kc mod g1):           [121]   03f11138 9cebf919 00b93808 4ac158aa
-----------------------------------------------------------




Encryption Sample Data                                                       06 December 2016
                                                                       Bluetooth SIG Proprietary
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Sample Data

L = 14
g1:                        [112]             00010000 00000000 00000000 0000014f
g2:                        [14]              00000000 00000000 00000000 00004377
Kc:                                          cad9a65b 9fca1c1d a2320fcf 7c4ae48e
Kc mod g1:                 [111]             0000a65b 9fca1c1d a2320fcf 7cb6a909
g2(Kc mod g1):             [125]             284840fd f1305f3c 529f5703 76adf7cf
-----------------------------------------------------------
L = 15
g1:                        [120]             01000000 00000000 00000000 000000e7
g2:                        [7]               00000000 00000000 00000000 00000089
Kc:                                          21f0cc31 049b7163 d375e9e1 06029809
Kc mod g1:                 [119]             00f0cc31 049b7163 d375e9e1 0602840e
g2(Kc mod g1):             [126]             7f10b53b 6df84b94 f22e566a 3754a37e
-----------------------------------------------------------
L = 16
g1:                        [128]             00000001 00000000 00000000 00000000 00000000
g2:                        [0]               00000000 00000000 00000000 00000001
Kc:                                          35ec8fc3 d50ccd32 5f2fd907 bde206de
Kc mod g1:                 [125]             35ec8fc3 d50ccd32 5f2fd907 bde206de
g2(Kc mod g1):             [125]             35ec8fc3 d50ccd32 5f2fd907 bde206de
-----------------------------------------------------------




1.1.2 First Set of Sample Data

Initial values for the key, pan address and clock


K’c1[0]        = 00     K’c1[1]    = 00      K’c1[2]       = 00    K’c1[3]        = 00
K’c1[4]        = 00     K’c1[5]    = 00      K’c1[6]       = 00    K’c1[7]        = 00
K’c1[8]        = 00     K’c1[9]    = 00      K’c1[10]      = 00    K’c1[11] = 00
K’c1[12]       = 00     K’c1[13]   = 00      K’c1[14]      = 00    K’c1[15] = 00


Addr1[0] = 00          Addr1[1] = 00        Addr1[2] = 00
Addr1[3] = 00          Addr1[4] = 00        Addr1[5] = 00


CL1[0]     = 00       CL1[1]    = 00      CL1[2]   = 00       CL1[3]   = 00




===============================================================================================
           Fill LFSRs with initial data
===============================================================================================


  t   clk#        LFSR1        LFSR2       LFSR3          LFSR4               X1 X2 X3 X4     Z   C[t+1] C[t] C[t-1]


  0        0      0000000* 00000000* 000000000* 0000000000*                   0   0   0   0   0   00     00   00
  1        1      0000000* 00000001* 000000000* 0000000001*                   0   0   0   0   0   00     00   00
  2        2      0000000* 00000002* 000000000* 0000000003*                   0   0   0   0   0   00     00   00
  3        3      0000000* 00000004* 000000000* 0000000007*                   0   0   0   0   0   00     00   00
  4        4      0000000* 00000008* 000000000* 000000000E*                   0   0   0   0   0   00     00   00
  5        5      0000000* 00000010* 000000000* 000000001C*                   0   0   0   0   0   00     00   00
  6        6      0000000* 00000020* 000000000* 0000000038*                   0   0   0   0   0   00     00   00




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                                                                                                   Bluetooth SIG Proprietary
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Sample Data

  7     7    0000000* 00000040* 000000000* 0000000070*        0   0   0   0   0   00     00   00
  8     8    0000000* 00000080* 000000000* 00000000E0*        0   0   0   0   0   00     00   00
  9     9    0000000* 00000100* 000000000* 00000001C0*        0   0   0   0   0   00     00   00
 10    10    0000000* 00000200* 000000000* 0000000380*        0   0   0   0   0   00     00   00
 11    11    0000000* 00000400* 000000000* 0000000700*        0   0   0   0   0   00     00   00
 12    12    0000000* 00000800* 000000000* 0000000E00*        0   0   0   0   0   00     00   00
 13    13    0000000* 00001000* 000000000* 0000001C00*        0   0   0   0   0   00     00   00
 14    14    0000000* 00002000* 000000000* 0000003800*        0   0   0   0   0   00     00   00
 15    15    0000000* 00004000* 000000000* 0000007000*        0   0   0   0   0   00     00   00
 16    16    0000000* 00008000* 000000000* 000000E000*        0   0   0   0   0   00     00   00
 17    17    0000000* 00010000* 000000000* 000001C000*        0   0   0   0   0   00     00   00
 18    18    0000000* 00020000* 000000000* 0000038000*        0   0   0   0   0   00     00   00
 19    19    0000000* 00040000* 000000000* 0000070000*        0   0   0   0   0   00     00   00
 20    20    0000000* 00080000* 000000000* 00000E0000*        0   0   0   0   0   00     00   00
 21    21    0000000* 00100000* 000000000* 00001C0000*        0   0   0   0   0   00     00   00
 22    22    0000000* 00200000* 000000000* 0000380000*        0   0   0   0   0   00     00   00
 23    23    0000000* 00400000* 000000000* 0000700000*        0   0   0   0   0   00     00   00
 24    24    0000000* 00800000* 000000000* 0000E00000*        0   1   0   0   1   00     00   00
 25    25    0000000* 01000000* 000000000* 0001C00000*        0   0   0   0   0   00     00   00
 26    26    0000000     02000000* 000000000* 0003800000*     0   0   0   0   0   00     00   00
 27    27    0000000     04000000* 000000000* 0007000000*     0   0   0   0   0   00     00   00
 28    28    0000000     08000000* 000000000* 000E000000*     0   0   0   0   0   00     00   00
 29    29    0000000     10000000* 000000000* 001C000000*     0   0   0   0   0   00     00   00
 30    30    0000000     20000000* 000000000* 0038000000*     0   0   0   0   0   00     00   00
 31    31    0000000     40000000* 000000000* 0070000000*     0   0   0   0   0   00     00   00
 32    32    0000000     00000001   000000000* 00E0000000*    0   0   0   1   1   00     00   00
 33    33    0000000     00000002   000000000* 01C0000000*    0   0   0   1   1   00     00   00
 34    34    0000000     00000004   000000000   0380000000*   0   0   0   1   1   00     00   00
 35    35    0000000     00000008   000000000   0700000000*   0   0   0   0   0   00     00   00
 36    36    0000000     00000010   000000000   0E00000000*   0   0   0   0   0   00     00   00
 37    37    0000000     00000020   000000000   1C00000000*   0   0   0   0   0   00     00   00
 38    38    0000000     00000040   000000000   3800000000*   0   0   0   0   0   00     00   00
 39    39    0000000     00000080   000000000   7000000000*   0   0   0   0   0   00     00   00
===============================================================================================
         Start clocking Summation Combiner
===============================================================================================
 40     1    0000000     00000100   000000000   6000000001    0   0   0   0   0   00     00   00
 41     2    0000000     00000200   000000000   4000000003    0   0   0   0   0   00     00   00
 42     3    0000000     00000400   000000000   0000000007    0   0   0   0   0   00     00   00
 43     4    0000000     00000800   000000000   000000000E    0   0   0   0   0   00     00   00
 44     5    0000000     00001001   000000000   000000001D    0   0   0   0   0   00     00   00
 45     6    0000000     00002002   000000000   000000003B    0   0   0   0   0   00     00   00
 46     7    0000000     00004004   000000000   0000000077    0   0   0   0   0   00     00   00
 47     8    0000000     00008008   000000000   00000000EE    0   0   0   0   0   00     00   00
 48     9    0000000     00010011   000000000   00000001DD    0   0   0   0   0   00     00   00
 49    10    0000000     00020022   000000000   00000003BB    0   0   0   0   0   00     00   00
 50    11    0000000     00040044   000000000   0000000777    0   0   0   0   0   00     00   00
 51    12    0000000     00080088   000000000   0000000EEE    0   0   0   0   0   00     00   00
 52    13    0000000     00100110   000000000   0000001DDD    0   0   0   0   0   00     00   00
 53    14    0000000     00200220   000000000   0000003BBB    0   0   0   0   0   00     00   00
 54    15    0000000     00400440   000000000   0000007777    0   0   0   0   0   00     00   00
 55    16    0000000     00800880   000000000   000000EEEE    0   1   0   0   1   00     00   00
 56    17    0000000     01001100   000000000   000001DDDD    0   0   0   0   0   00     00   00
 57    18    0000000     02002200   000000000   000003BBBB    0   0   0   0   0   00     00   00
 58    19    0000000     04004400   000000000   0000077777    0   0   0   0   0   00     00   00
 59    20    0000000     08008800   000000000   00000EEEEE    0   0   0   0   0   00     00   00
 60    21    0000000     10011000   000000000   00001DDDDD    0   0   0   0   0   00     00   00



Encryption Sample Data                                                                   06 December 2016
                                                                                   Bluetooth SIG Proprietary
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Sample Data

 61    22    0000000     20022000   000000000   00003BBBBB   0   0   0   0   0   00     00   00
 62    23    0000000     40044000   000000000   0000777777   0   0   0   0   0   00     00   00
 63    24    0000000     00088001   000000000   0000EEEEEE   0   0   0   0   0   00     00   00
 64    25    0000000     00110003   000000000   0001DDDDDD   0   0   0   0   0   00     00   00
 65    26    0000000     00220006   000000000   0003BBBBBB   0   0   0   0   0   00     00   00
 66    27    0000000     0044000C   000000000   0007777777   0   0   0   0   0   00     00   00
 67    28    0000000     00880018   000000000   000EEEEEEE   0   1   0   0   1   00     00   00
 68    29    0000000     01100031   000000000   001DDDDDDC   0   0   0   0   0   00     00   00
 69    30    0000000     02200062   000000000   003BBBBBB8   0   0   0   0   0   00     00   00
 70    31    0000000     044000C4   000000000   0077777770   0   0   0   0   0   00     00   00
 71    32    0000000     08800188   000000000   00EEEEEEE0   0   1   0   1   0   01     00   00
 72    33    0000000     11000311   000000000   01DDDDDDC1   0   0   0   1   0   00     01   00
 73    34    0000000     22000622   000000000   03BBBBBB83   0   0   0   1   1   11     00   01
 74    35    0000000     44000C44   000000000   0777777707   0   0   0   0   1   10     11   00
 75    36    0000000     08001888   000000000   0EEEEEEE0E   0   0   0   1   1   01     10   11
 76    37    0000000     10003111   000000000   1DDDDDDC1D   0   0   0   1   0   01     01   10
 77    38    0000000     20006222   000000000   3BBBBBB83B   0   0   0   1   0   11     01   01
 78    39    0000000     4000C444   000000000   7777777077   0   0   0   0   1   01     11   01
 79    40    0000000     00018888   000000000   6EEEEEE0EF   0   0   0   1   0   10     01   11
 80    41    0000000     00031110   000000000   5DDDDDC1DE   0   0   0   1   1   00     10   01
 81    42    0000000     00062220   000000000   3BBBBB83BC   0   0   0   1   1   01     00   10
 82    43    0000000     000C4440   000000000   7777770779   0   0   0   0   1   01     01   00
 83    44    0000000     00188880   000000000   6EEEEE0EF2   0   0   0   1   0   11     01   01
 84    45    0000000     00311100   000000000   5DDDDC1DE5   0   0   0   1   0   10     11   01
 85    46    0000000     00622200   000000000   3BBBB83BCB   0   0   0   1   1   01     10   11
 86    47    0000000     00C44400   000000000   7777707797   0   1   0   0   0   01     01   10
 87    48    0000000     01888801   000000000   6EEEE0EF2F   0   1   0   1   1   11     01   01
 88    49    0000000     03111003   000000000   5DDDC1DE5E   0   0   0   1   0   10     11   01
 89    50    0000000     06222006   000000000   3BBB83BCBC   0   0   0   1   1   01     10   11
 90    51    0000000     0C44400C   000000000   7777077979   0   0   0   0   1   00     01   10
 91    52    0000000     18888018   000000000   6EEE0EF2F2   0   1   0   1   0   10     00   01
 92    53    0000000     31110030   000000000   5DDC1DE5E5   0   0   0   1   1   11     10   00
 93    54    0000000     62220060   000000000   3BB83BCBCB   0   0   0   1   0   00     11   10
 94    55    0000000     444400C1   000000000   7770779797   0   0   0   0   0   10     00   11
 95    56    0000000     08880183   000000000   6EE0EF2F2F   0   1   0   1   0   00     10   00
 96    57    0000000     11100307   000000000   5DC1DE5E5F   0   0   0   1   1   01     00   10
 97    58    0000000     2220060E   000000000   3B83BCBCBF   0   0   0   1   0   00     01   00
 98    59    0000000     44400C1C   000000000   770779797E   0   0   0   0   0   11     00   01
 99    60    0000000     08801838   000000000   6E0EF2F2FC   0   1   0   0   0   01     11   00
100    61    0000000     11003070   000000000   5C1DE5E5F8   0   0   0   0   1   11     01   11
101    62    0000000     220060E0   000000000   383BCBCBF0   0   0   0   0   1   01     11   01
102    63    0000000     4400C1C0   000000000   70779797E0   0   0   0   0   1   11     01   11
103    64    0000000     08018380   000000000   60EF2F2FC1   0   0   0   1   0   10     11   01
104    65    0000000     10030701   000000000   41DE5E5F82   0   0   0   1   1   01     10   11
105    66    0000000     20060E02   000000000   03BCBCBF04   0   0   0   1   0   01     01   10
106    67    0000000     400C1C05   000000000   0779797E09   0   0   0   0   1   10     01   01
107    68    0000000     0018380A   000000000   0EF2F2FC12   0   0   0   1   1   00     10   01
108    69    0000000     00307015   000000000   1DE5E5F825   0   0   0   1   1   01     00   10
109    70    0000000     0060E02A   000000000   3BCBCBF04B   0   0   0   1   0   00     01   00
110    71    0000000     00C1C055   000000000   779797E097   0   1   0   1   0   10     00   01
111    72    0000000     018380AA   000000000   6F2F2FC12F   0   1   0   0   1   11     10   00
112    73    0000000     03070154   000000000   5E5E5F825E   0   0   0   0   1   11     11   10
113    74    0000000     060E02A8   000000000   3CBCBF04BC   0   0   0   1   0   11     11   11
114    75    0000000     0C1C0550   000000000   79797E0979   0   0   0   0   1   00     11   11
115    76    0000000     18380AA0   000000000   72F2FC12F2   0   0   0   1   1   10     00   11
116    77    0000000     30701541   000000000   65E5F825E5   0   0   0   1   1   11     10   00
117    78    0000000     60E02A82   000000000   4BCBF04BCB   0   1   0   1   1   00     11   10



Encryption Sample Data                                                                  06 December 2016
                                                                                  Bluetooth SIG Proprietary
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Sample Data

118    79    0000000     41C05505   000000000   1797E09796   0   1   0   1   0   11     00   11
119    80    0000000     0380AA0A   000000000   2F2FC12F2C   0   1   0   0   0   01     11   00
120    81    0000000     07015415   000000000   5E5F825E59   0   0   0   0   1   11     01   11
121    82    0000000     0E02A82A   000000000   3CBF04BCB2   0   0   0   1   0   10     11   01
122    83    0000000     1C055054   000000000   797E097964   0   0   0   0   0   01     10   11
123    84    0000000     380AA0A8   000000000   72FC12F2C9   0   0   0   1   0   01     01   10
124    85    0000000     70154151   000000000   65F825E593   0   0   0   1   0   11     01   01
125    86    0000000     602A82A3   000000000   4BF04BCB26   0   0   0   1   0   10     11   01
126    87    0000000     40550546   000000000   17E097964C   0   0   0   1   1   01     10   11
127    88    0000000     00AA0A8D   000000000   2FC12F2C99   0   1   0   1   1   01     01   10
128    89    0000000     0154151A   000000000   5F825E5932   0   0   0   1   0   11     01   01
129    90    0000000     02A82A34   000000000   3F04BCB264   0   1   0   0   0   10     11   01
130    91    0000000     05505468   000000000   7E097964C9   0   0   0   0   0   01     10   11
131    92    0000000     0AA0A8D0   000000000   7C12F2C992   0   1   0   0   0   01     01   10
132    93    0000000     154151A1   000000000   7825E59324   0   0   0   0   1   10     01   01
133    94    0000000     2A82A342   000000000   704BCB2648   0   1   0   0   1   00     10   01
134    95    0000000     55054684   000000000   6097964C91   0   0   0   1   1   01     00   10
135    96    0000000     2A0A8D09   000000000   412F2C9923   0   0   0   0   1   01     01   00
136    97    0000000     54151A12   000000000   025E593246   0   0   0   0   1   10     01   01
137    98    0000000     282A3424   000000000   04BCB2648D   0   0   0   1   1   00     10   01
138    99    0000000     50546848   000000000   097964C91A   0   0   0   0   0   01     00   10
139   100    0000000     20A8D090   000000000   12F2C99235   0   1   0   1   1   00     01   00
140   101    0000000     4151A120   000000000   25E593246A   0   0   0   1   1   11     00   01
141   102    0000000     02A34240   000000000   4BCB2648D5   0   1   0   1   1   01     11   00
142   103    0000000     05468481   000000000   17964C91AB   0   0   0   1   0   10     01   11
143   104    0000000     0A8D0903   000000000   2F2C992357   0   1   0   0   1   00     10   01
144   105    0000000     151A1206   000000000   5E593246AE   0   0   0   0   0   01     00   10
145   106    0000000     2A34240C   000000000   3CB2648D5C   0   0   0   1   0   00     01   00
146   107    0000000     54684818   000000000   7964C91AB8   0   0   0   0   0   11     00   01
147   108    0000000     28D09030   000000000   72C9923571   0   1   0   1   1   01     11   00
148   109    0000000     51A12060   000000000   6593246AE2   0   1   0   1   1   10     01   11
149   110    0000000     234240C0   000000000   4B2648D5C5   0   0   0   0   0   00     10   01
150   111    0000000     46848180   000000000   164C91AB8A   0   1   0   0   1   01     00   10
151   112    0000000     0D090301   000000000   2C99235714   0   0   0   1   0   00     01   00
152   113    0000000     1A120602   000000000   593246AE28   0   0   0   0   0   11     00   01
153   114    0000000     34240C04   000000000   32648D5C51   0   0   0   0   1   10     11   00
154   115    0000000     68481809   000000000   64C91AB8A2   0   0   0   1   1   01     10   11
155   116    0000000     50903012   000000000   4992357144   0   1   0   1   1   01     01   10
156   117    0000000     21206024   000000000   13246AE288   0   0   0   0   1   10     01   01
157   118    0000000     4240C048   000000000   2648D5C511   0   0   0   0   0   00     10   01
158   119    0000000     04818090   000000000   4C91AB8A23   0   1   0   1   0   00     00   10
159   120    0000000     09030120   000000000   1923571446   0   0   0   0   0   00     00   00
160   121    0000000     12060240   000000000   3246AE288D   0   0   0   0   0   00     00   00
161   122    0000000     240C0480   000000000   648D5C511B   0   0   0   1   1   00     00   00
162   123    0000000     48180900   000000000   491AB8A237   0   0   0   0   0   00     00   00
163   124    0000000     10301200   000000000   123571446F   0   0   0   0   0   00     00   00
164   125    0000000     20602400   000000000   246AE288DF   0   0   0   0   0   00     00   00
165   126    0000000     40C04800   000000000   48D5C511BE   0   1   0   1   0   01     00   00
166   127    0000000     01809001   000000000   11AB8A237D   0   1   0   1   1   00     01   00
167   128    0000000     03012002   000000000   23571446FA   0   0   0   0   0   11     00   01
168   129    0000000     06024004   000000000   46AE288DF5   0   0   0   1   0   01     11   00
169   130    0000000     0C048008   000000000   0D5C511BEA   0   0   0   0   1   11     01   11
170   131    0000000     18090011   000000000   1AB8A237D5   0   0   0   1   0   10     11   01
171   132    0000000     30120022   000000000   3571446FAA   0   0   0   0   0   01     10   11
172   133    0000000     60240044   000000000   6AE288DF55   0   0   0   1   0   01     01   10
173   134    0000000     40480089   000000000   55C511BEAA   0   0   0   1   0   11     01   01
174   135    0000000     00900113   000000000   2B8A237D54   0   1   0   1   1   10     11   01



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Sample Data

175   136    0000000     01200227   000000000   571446FAA8   0   0   0   0   0   01     10   11
176   137    0000000     0240044E   000000000   2E288DF550   0   0   0   0   1   00     01   10
177   138    0000000     0480089C   000000000   5C511BEAA0   0   1   0   0   1   11     00   01
178   139    0000000     09001138   000000000   38A237D540   0   0   0   1   0   01     11   00
179   140    0000000     12002270   000000000   71446FAA81   0   0   0   0   1   11     01   11
180   141    0000000     240044E0   000000000   6288DF5503   0   0   0   1   0   10     11   01
181   142    0000000     480089C0   000000000   4511BEAA06   0   0   0   0   0   01     10   11
182   143    0000000     10011381   000000000   0A237D540D   0   0   0   0   1   00     01   10
183   144    0000000     20022702   000000000   1446FAA81A   0   0   0   0   0   11     00   01
184   145    0000000     40044E04   000000000   288DF55035   0   0   0   1   0   01     11   00
185   146    0000000     00089C08   000000000   511BEAA06A   0   0   0   0   1   11     01   11
186   147    0000000     00113810   000000000   2237D540D5   0   0   0   0   1   01     11   01
187   148    0000000     00227021   000000000   446FAA81AA   0   0   0   0   1   11     01   11
188   149    0000000     0044E042   000000000   08DF550355   0   0   0   1   0   10     11   01
189   150    0000000     0089C085   000000000   11BEAA06AA   0   1   0   1   0   10     10   11
190   151    0000000     0113810A   000000000   237D540D54   0   0   0   0   0   10     10   10
191   152    0000000     02270215   000000000   46FAA81AA9   0   0   0   1   1   10     10   10
192   153    0000000     044E042A   000000000   0DF5503553   0   0   0   1   1   10     10   10
193   154    0000000     089C0854   000000000   1BEAA06AA7   0   1   0   1   0   01     10   10
194   155    0000000     113810A8   000000000   37D540D54E   0   0   0   1   0   01     01   10
195   156    0000000     22702150   000000000   6FAA81AA9D   0   0   0   1   0   11     01   01
196   157    0000000     44E042A0   000000000   5F5503553A   0   1   0   0   0   10     11   01
197   158    0000000     09C08540   000000000   3EAA06AA75   0   1   0   1   0   10     10   11
198   159    0000000     13810A80   000000000   7D540D54EA   0   1   0   0   1   10     10   10
199   160    0000000     27021500   000000000   7AA81AA9D5   0   0   0   1   1   10     10   10
200   161    0000000     4E042A00   000000000   75503553AB   0   0   0   0   0   10     10   10
201   162    0000000     1C085400   000000000   6AA06AA756   0   0   0   1   1   10     10   10
202   163    0000000     3810A800   000000000   5540D54EAC   0   0   0   0   0   10     10   10
203   164    0000000     70215000   000000000   2A81AA9D58   0   0   0   1   1   10     10   10
204   165    0000000     6042A001   000000000   5503553AB0   0   0   0   0   0   10     10   10
205   166    0000000     40854002   000000000   2A06AA7561   0   1   0   0   1   10     10   10
206   167    0000000     010A8004   000000000   540D54EAC3   0   0   0   0   0   10     10   10
207   168    0000000     02150009   000000000   281AA9D586   0   0   0   0   0   10     10   10
208   169    0000000     042A0012   000000000   503553AB0C   0   0   0   0   0   10     10   10
209   170    0000000     08540024   000000000   206AA75618   0   0   0   0   0   10     10   10
210   171    0000000     10A80048   000000000   40D54EAC30   0   1   0   1   0   01     10   10
211   172    0000000     21500091   000000000   01AA9D5861   0   0   0   1   0   01     01   10
212   173    0000000     42A00122   000000000   03553AB0C3   0   1   0   0   0   11     01   01
213   174    0000000     05400244   000000000   06AA756186   0   0   0   1   0   10     11   01
214   175    0000000     0A800488   000000000   0D54EAC30D   0   1   0   0   1   01     10   11
215   176    0000000     15000911   000000000   1AA9D5861A   0   0   0   1   0   01     01   10
216   177    0000000     2A001223   000000000   3553AB0C35   0   0   0   0   1   10     01   01
217   178    0000000     54002446   000000000   6AA756186A   0   0   0   1   1   00     10   01
218   179    0000000     2800488D   000000000   554EAC30D5   0   0   0   0   0   01     00   10
219   180    0000000     5000911B   000000000   2A9D5861AA   0   0   0   1   0   00     01   00
220   181    0000000     20012236   000000000   553AB0C355   0   0   0   0   0   11     00   01
221   182    0000000     4002446C   000000000   2A756186AA   0   0   0   0   1   10     11   00
222   183    0000000     000488D9   000000000   54EAC30D54   0   0   0   1   1   01     10   11
223   184    0000000     000911B2   000000000   29D5861AA8   0   0   0   1   0   01     01   10
224   185    0000000     00122364   000000000   53AB0C3550   0   0   0   1   0   11     01   01
225   186    0000000     002446C8   000000000   2756186AA0   0   0   0   0   1   01     11   01
226   187    0000000     00488D90   000000000   4EAC30D540   0   0   0   1   0   10     01   11
227   188    0000000     00911B20   000000000   1D5861AA81   0   1   0   0   1   00     10   01
228   189    0000000     01223640   000000000   3AB0C35502   0   0   0   1   1   01     00   10
229   190    0000000     02446C80   000000000   756186AA05   0   0   0   0   1   01     01   00
230   191    0000000     0488D901   000000000   6AC30D540B   0   1   0   1   1   11     01   01
231   192    0000000     0911B203   000000000   55861AA817   0   0   0   1   0   10     11   01



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                                                                                  Bluetooth SIG Proprietary
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Sample Data

232     193    0000000   12236407   000000000   2B0C35502F   0   0   0   0   0   01     10   11
233     194    0000000   2446C80E   000000000   56186AA05F   0   0   0   0   1   00     01   10
234     195    0000000   488D901C   000000000   2C30D540BF   0   1   0   0   1   11     00   01
235     196    0000000   111B2039   000000000   5861AA817E   0   0   0   0   1   10     11   00
236     197    0000000   22364072   000000000   30C35502FD   0   0   0   1   1   01     10   11
237     198    0000000   446C80E4   000000000   6186AA05FB   0   0   0   1   0   01     01   10
238     199    0000000   08D901C8   000000000   430D540BF6   0   1   0   0   0   11     01   01
239     200    0000000   11B20391   000000000   061AA817EC   0   1   0   0   0   10     11   01


Z[0]    = 3D
Z[1]    = C1
Z[2]    = F0
Z[3]    = BB
Z[4]    = 58
Z[5]    = 1E
Z[6]    = 42
Z[7]    = 42
Z[8]    = 4B
Z[9]    = 8E
Z[10] = C1
Z[11] = 2A
Z[12] = 40
Z[13] = 63
Z[14] = 7A
Z[15] = 1E


===============================================================================================
          Reload this pattern into the LFSRs
          Hold content of Summation Combiner regs and calculate new C[t+1] and Z values
===============================================================================================
LFSR1    <= 04B583D
LFSR2    <= 208E1EC1
LFSR3    <= 063C142F0
LFSR4    <= 0F7A2A42BB
C[t+1] <= 10


===============================================================================================
          Generating 125 key symbols (encryption/decryption sequence)
===============================================================================================
240       1    04B583D   208E1EC1   063C142F0   0F7A2A42BB   0   1   0   0   0   10     11   01
241       2    096B07A   411C3D82   0C78285E1   1EF4548577   1   0   1   1   1   10     10   11
242       3    12D60F4   02387B04   18F050BC3   3DE8A90AEF   0   0   1   1   0   01     10   10
243       4    05AC1E9   0470F609   11E0A1786   7BD15215DF   0   0   0   1   0   01     01   10
244       5    0B583D2   08E1EC13   03C142F0C   77A2A42BBF   1   1   0   1   0   00     01   01
245       6    16B07A5   11C3D827   078285E18   6F4548577E   0   1   0   0   1   11     00   01
246       7    0D60F4B   2387B04F   0F050BC30   5E8A90AEFD   1   1   1   1   1   00     11   00
247       8    1AC1E97   470F609E   1E0A17860   3D15215DFA   1   0   1   0   0   11     00   11
248       9    1583D2E   0E1EC13D   1C142F0C0   7A2A42BBF4   0   0   1   0   0   01     11   00
249      10    0B07A5D   1C3D827B   18285E181   74548577E9   1   0   1   0   1   10     01   11
250      11    160F4BB   387B04F7   1050BC302   68A90AEFD2   0   0   0   1   1   00     10   01
251      12    0C1E976   70F609EE   00A178605   515215DFA5   1   1   0   0   0   00     00   10
252      13    183D2ED   61EC13DD   0142F0C0B   22A42BBF4B   1   1   0   1   1   01     00   00
253      14    107A5DA   43D827BA   0285E1817   4548577E97   0   1   0   0   0   00     01   00
254      15    00F4BB4   07B04F74   050BC302F   0A90AEFD2E   0   1   0   1   0   10     00   01
255      16    01E9769   0F609EE8   0A178605E   15215DFA5C   0   0   1   0   1   11     10   00
256      17    03D2ED3   1EC13DD0   142F0C0BD   2A42BBF4B9   0   1   0   0   0   00     11   10
257      18    07A5DA7   3D827BA0   085E1817B   548577E972   0   1   1   1   1   11     00   11



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                                                                                  Bluetooth SIG Proprietary
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Sample Data

258    19    0F4BB4F     7B04F740   10BC302F6   290AEFD2E5   1   0   0   0   0   01     11   00
259    20    1E9769F     7609EE80   0178605ED   5215DFA5CA   1   0   0   0   0   10     01   11
260    21    1D2ED3F     6C13DD01   02F0C0BDA   242BBF4B94   1   0   0   0   1   00     10   01
261    22    1A5DA7E     5827BA03   05E1817B4   48577E9729   1   0   0   0   1   01     00   10
262    23    14BB4FC     304F7407   0BC302F69   10AEFD2E53   0   0   1   1   1   00     01   00
263    24    09769F9     609EE80E   178605ED2   215DFA5CA7   1   1   0   0   0   10     00   01
264    25    12ED3F2     413DD01C   0F0C0BDA4   42BBF4B94F   0   0   1   1   0   00     10   00
265    26    05DA7E5     027BA038   1E1817B49   0577E9729F   0   0   1   0   1   01     00   10
266    27    0BB4FCA     04F74071   1C302F693   0AEFD2E53F   1   1   1   1   1   11     01   00
267    28    1769F95     09EE80E3   18605ED27   15DFA5CA7F   0   1   1   1   0   11     11   01
268    29    0ED3F2B     13DD01C6   10C0BDA4F   2BBF4B94FE   1   1   0   1   0   10     11   11
269    30    1DA7E56     27BA038D   01817B49F   577E9729FD   1   1   0   0   0   10     10   11
270    31    1B4FCAD     4F74071B   0302F693E   2EFD2E53FB   1   0   0   1   0   01     10   10
271    32    169F95B     1EE80E37   0605ED27D   5DFA5CA7F7   0   1   0   1   1   01     01   10
272    33    0D3F2B7     3DD01C6E   0C0BDA4FB   3BF4B94FEF   1   1   1   1   1   00     01   01
273    34    1A7E56F     7BA038DC   1817B49F6   77E9729FDE   1   1   1   1   0   01     00   01
274    35    14FCADF     774071B9   102F693ED   6FD2E53FBD   0   0   0   1   0   00     01   00
275    36    09F95BE     6E80E373   005ED27DB   5FA5CA7F7B   1   1   0   1   1   10     00   01
276    37    13F2B7C     5D01C6E7   00BDA4FB6   3F4B94FEF7   0   0   0   0   0   11     10   00
277    38    07E56F9     3A038DCE   017B49F6C   7E9729FDEE   0   0   0   1   0   00     11   10
278    39    0FCADF2     74071B9C   02F693ED8   7D2E53FBDD   1   0   0   0   1   10     00   11
279    40    1F95BE5     680E3738   05ED27DB0   7A5CA7F7BA   1   0   0   0   1   11     10   00
280    41    1F2B7CA     501C6E71   0BDA4FB60   74B94FEF74   1   0   1   1   0   01     11   10
281    42    1E56F94     2038DCE2   17B49F6C0   69729FDEE8   1   0   0   0   0   10     01   11
282    43    1CADF29     4071B9C4   0F693ED80   52E53FBDD1   1   0   1   1   1   11     10   01
283    44    195BE53     00E37389   1ED27DB01   25CA7F7BA3   1   1   1   1   1   01     11   10
284    45    12B7CA6     01C6E713   1DA4FB602   4B94FEF747   0   1   1   1   0   01     01   11
285    46    056F94C     038DCE26   1B49F6C04   1729FDEE8E   0   1   1   0   1   11     01   01
286    47    0ADF299     071B9C4D   1693ED808   2E53FBDD1C   1   0   0   0   0   10     11   01
287    48    15BE532     0E37389A   0D27DB011   5CA7F7BA38   0   0   1   1   0   10     10   11
288    49    0B7CA64     1C6E7135   1A4FB6022   394FEF7471   1   0   1   0   0   01     10   10
289    50    16F94C9     38DCE26A   149F6C044   729FDEE8E2   0   1   0   1   1   01     01   10
290    51    0DF2993     71B9C4D4   093ED8089   653FBDD1C4   1   1   1   0   0   00     01   01
291    52    1BE5327     637389A9   127DB0112   4A7F7BA388   1   0   0   0   1   11     00   01
292    53    17CA64E     46E71353   04FB60224   14FEF74710   0   1   0   1   1   01     11   00
293    54    0F94C9C     0DCE26A6   09F6C0448   29FDEE8E21   1   1   1   1   1   01     01   11
294    55    1F29939     1B9C4D4D   13ED80890   53FBDD1C42   1   1   0   1   0   00     01   01
295    56    1E53272     37389A9A   07DB01121   27F7BA3884   1   0   0   1   0   10     00   01
296    57    1CA64E5     6E713534   0FB602242   4FEF747108   1   0   1   1   1   00     10   00
297    58    194C9CB     5CE26A69   1F6C04485   1FDEE8E210   1   1   1   1   0   11     00   10
298    59    1299397     39C4D4D3   1ED80890A   3FBDD1C420   0   1   1   1   0   00     11   00
299    60    053272F     7389A9A6   1DB011214   7F7BA38840   0   1   1   0   0   11     00   11
300    61    0A64E5E     6713534C   1B6022428   7EF7471081   1   0   1   1   0   00     11   00
301    62    14C9CBD     4E26A699   16C044850   7DEE8E2102   0   0   0   1   1   10     00   11
302    63    099397A     1C4D4D32   0D80890A0   7BDD1C4205   1   0   1   1   1   00     10   00
303    64    13272F4     389A9A65   1B0112141   77BA38840B   0   1   1   1   1   00     00   10
304    65    064E5E8     713534CB   160224283   6F74710817   0   0   0   0   0   00     00   00
305    66    0C9CBD1     626A6997   0C0448507   5EE8E2102E   1   0   1   1   1   01     00   00
306    67    19397A3     44D4D32E   180890A0E   3DD1C4205C   1   1   1   1   1   11     01   00
307    68    1272F46     09A9A65D   10112141D   7BA38840B8   0   1   0   1   1   10     11   01
308    69    04E5E8C     13534CBA   00224283A   7747108171   0   0   0   0   0   01     10   11
309    70    09CBD19     26A69975   004485075   6E8E2102E3   1   1   0   1   0   10     01   10
310    71    1397A32     4D4D32EB   00890A0EA   5D1C4205C7   0   0   0   0   0   00     10   01
311    72    072F465     1A9A65D7   0112141D5   3A38840B8F   0   1   0   0   1   01     00   10
312    73    0E5E8CA     3534CBAF   0224283AA   747108171F   1   0   0   0   0   00     01   00
313    74    1CBD194     6A69975E   044850755   68E2102E3E   1   0   0   1   0   10     00   01
314    75    197A329     54D32EBC   0890A0EAB   51C4205C7D   1   1   1   1   0   01     10   00



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                                                                                  Bluetooth SIG Proprietary
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Sample Data

315    76    12F4653     29A65D79   112141D56   238840B8FA   0   1   0   1   1   01     01   10
316    77    05E8CA6     534CBAF2   024283AAD   47108171F4   0   0   0   0   1   10     01   01
317    78    0BD194D     269975E5   04850755B   0E2102E3E9   1   1   0   0   0   11     10   01
318    79    17A329A     4D32EBCB   090A0EAB6   1C4205C7D2   0   0   1   0   0   00     11   10
319    80    0F46535     1A65D797   12141D56D   38840B8FA5   1   0   0   1   0   11     00   11
320    81    1E8CA6A     34CBAF2F   04283AADA   7108171F4B   1   1   0   0   1   01     11   00
321    82    1D194D5     69975E5F   0850755B4   62102E3E97   1   1   1   0   0   01     01   11
322    83    1A329AA     532EBCBF   10A0EAB68   44205C7D2F   1   0   0   0   0   11     01   01
323    84    1465355     265D797F   0141D56D1   0840B8FA5E   0   0   0   0   1   01     11   01
324    85    08CA6AB     4CBAF2FF   0283AADA2   108171F4BC   1   1   0   1   0   01     01   11
325    86    1194D56     1975E5FF   050755B45   2102E3E979   0   0   0   0   1   10     01   01
326    87    0329AAD     32EBCBFF   0A0EAB68A   4205C7D2F3   0   1   1   0   0   11     10   01
327    88    065355A     65D797FF   141D56D14   040B8FA5E7   0   1   0   0   0   00     11   10
328    89    0CA6AB4     4BAF2FFF   083AADA28   08171F4BCF   1   1   1   0   1   11     00   11
329    90    194D569     175E5FFF   10755B450   102E3E979E   1   0   0   0   0   01     11   00
330    91    129AAD3     2EBCBFFF   00EAB68A1   205C7D2F3C   0   1   0   0   0   10     01   11
331    92    05355A6     5D797FFF   01D56D142   40B8FA5E78   0   0   0   1   1   00     10   01
332    93    0A6AB4D     3AF2FFFE   03AADA285   0171F4BCF1   1   1   0   0   0   00     00   10
333    94    14D569B     75E5FFFD   0755B450A   02E3E979E2   0   1   0   1   0   01     00   00
334    95    09AAD37     6BCBFFFA   0EAB68A15   05C7D2F3C4   1   1   1   1   1   11     01   00
335    96    1355A6E     5797FFF4   1D56D142A   0B8FA5E788   0   1   1   1   0   11     11   01
336    97    06AB4DC     2F2FFFE8   1AADA2854   171F4BCF11   0   0   1   0   0   11     11   11
337    98    0D569B8     5E5FFFD0   155B450A9   2E3E979E23   1   0   0   0   0   11     11   11
338    99    1AAD370     3CBFFFA1   0AB68A153   5C7D2F3C46   1   1   1   0   0   10     11   11
339   100    155A6E0     797FFF43   156D142A7   38FA5E788D   0   0   0   1   1   01     10   11
340   101    0AB4DC0     72FFFE87   0ADA2854E   71F4BCF11B   1   1   1   1   1   10     01   10
341   102    1569B81     65FFFD0E   15B450A9D   63E979E236   0   1   0   1   0   11     10   01
342   103    0AD3703     4BFFFA1C   0B68A153B   47D2F3C46C   1   1   1   1   1   01     11   10
343   104    15A6E07     17FFF438   16D142A76   0FA5E788D8   0   1   0   1   1   10     01   11
344   105    0B4DC0F     2FFFE870   0DA2854EC   1F4BCF11B0   1   1   1   0   1   11     10   01
345   106    169B81F     5FFFD0E1   1B450A9D8   3E979E2360   0   1   1   1   0   01     11   10
346   107    0D3703F     3FFFA1C3   168A153B0   7D2F3C46C1   1   1   0   0   1   10     01   11
347   108    1A6E07E     7FFF4386   0D142A761   7A5E788D83   1   1   1   0   1   11     10   01
348   109    14DC0FD     7FFE870C   1A2854EC2   74BCF11B07   0   1   1   1   0   01     11   10
349   110    09B81FB     7FFD0E19   1450A9D84   6979E2360E   1   1   0   0   1   10     01   11
350   111    13703F6     7FFA1C33   08A153B09   52F3C46C1C   0   1   1   1   1   11     10   01
351   112    06E07EC     7FF43867   1142A7612   25E788D838   0   1   0   1   1   00     11   10
352   113    0DC0FD8     7FE870CF   02854EC25   4BCF11B071   1   1   0   1   1   11     00   11
353   114    1B81FB1     7FD0E19E   050A9D84B   179E2360E3   1   1   0   1   0   00     11   00
354   115    1703F62     7FA1C33D   0A153B096   2F3C46C1C7   0   1   1   0   0   11     00   11
355   116    0E07EC4     7F43867B   142A7612C   5E788D838E   1   0   0   0   0   01     11   00
356   117    1C0FD88     7E870CF6   0854EC259   3CF11B071C   1   1   1   1   1   01     01   11
357   118    181FB11     7D0E19ED   10A9D84B3   79E2360E38   1   0   0   1   1   11     01   01
358   119    103F622     7A1C33DA   0153B0967   73C46C1C71   0   0   0   1   0   10     11   01
359   120    007EC45     743867B5   02A7612CE   6788D838E3   0   0   0   1   1   01     10   11
360   121    00FD88B     6870CF6B   054EC259C   4F11B071C6   0   0   0   0   1   00     01   10
361   122    01FB117     50E19ED7   0A9D84B38   1E2360E38C   0   1   1   0   0   10     00   01
362   123    03F622F     21C33DAE   153B09671   3C46C1C718   0   1   0   0   1   11     10   00
363   124    07EC45F     43867B5C   0A7612CE2   788D838E30   0   1   1   1   0   01     11   10
364   125    0FD88BF     070CF6B9   14EC259C4   711B071C61   1   0   0   0   0   10     01   11




Encryption Sample Data                                                                  06 December 2016
                                                                                  Bluetooth SIG Proprietary
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Sample Data

1.1.3 Second Set of Sample Data

Initial values for the key, BD_ADDR and clock


K’c2[0]        = 00     K’c2[1]    = 00      K’c2[2]       = 00     K’c2[3]        = 00
K’c2[4]        = 00     K’c2[5]    = 00      K’c2[6]       = 00     K’c2[7]        = 00
K’c2[8]        = 00     K’c2[9]    = 00      K’c2[10]      = 00     K’c2[11] = 00
K’c2[12]       = 00     K’c2[13]   = 00      K’c2[14]      = 00     K’c2[15] = 00


Addr2[0] = 00          Addr2[1] = 00        Addr2[2] = 00
Addr2[3] = 00          Addr2[4] = 00        Addr2[5] = 00


CL2[0]     = 00       CL2[1]    = 00      CL2[2]   = 00       CL2[3]    = 03




===============================================================================================
           Fill LFSRs with initial data
===============================================================================================


  t   clk#        LFSR1        LFSR2       LFSR3          LFSR4                X1 X2 X3 X4     Z   C[t+1] C[t] C[t-1]


  0        0      0000000* 00000000* 000000000* 0000000000*                    0   0   0   0   0   00     00   00
  1        1      0000001* 00000001* 000000001* 0000000001*                    0   0   0   0   0   00     00   00
  2        2      0000002* 00000002* 000000002* 0000000003*                    0   0   0   0   0   00     00   00
  3        3      0000004* 00000004* 000000004* 0000000007*                    0   0   0   0   0   00     00   00
  4        4      0000008* 00000008* 000000008* 000000000E*                    0   0   0   0   0   00     00   00
  5        5      0000010* 00000010* 000000010* 000000001C*                    0   0   0   0   0   00     00   00
  6        6      0000020* 00000020* 000000020* 0000000038*                    0   0   0   0   0   00     00   00
  7        7      0000040* 00000040* 000000040* 0000000070*                    0   0   0   0   0   00     00   00
  8        8      0000080* 00000080* 000000080* 00000000E0*                    0   0   0   0   0   00     00   00
  9        9      0000100* 00000100* 000000100* 00000001C0*                    0   0   0   0   0   00     00   00
 10       10      0000200* 00000200* 000000200* 0000000380*                    0   0   0   0   0   00     00   00
 11       11      0000400* 00000400* 000000400* 0000000700*                    0   0   0   0   0   00     00   00
 12       12      0000800* 00000800* 000000800* 0000000E00*                    0   0   0   0   0   00     00   00
 13       13      0001000* 00001000* 000001000* 0000001C00*                    0   0   0   0   0   00     00   00
 14       14      0002000* 00002000* 000002000* 0000003800*                    0   0   0   0   0   00     00   00
 15       15      0004000* 00004000* 000004000* 0000007000*                    0   0   0   0   0   00     00   00
 16       16      0008000* 00008000* 000008000* 000000E000*                    0   0   0   0   0   00     00   00
 17       17      0010000* 00010000* 000010000* 000001C000*                    0   0   0   0   0   00     00   00
 18       18      0020000* 00020000* 000020000* 0000038000*                    0   0   0   0   0   00     00   00
 19       19      0040000* 00040000* 000040000* 0000070000*                    0   0   0   0   0   00     00   00
 20       20      0080000* 00080000* 000080000* 00000E0000*                    0   0   0   0   0   00     00   00
 21       21      0100000* 00100000* 000100000* 00001C0000*                    0   0   0   0   0   00     00   00
 22       22      0200000* 00200000* 000200000* 0000380000*                    0   0   0   0   0   00     00   00
 23       23      0400000* 00400000* 000400000* 0000700000*                    0   0   0   0   0   00     00   00
 24       24      0800000* 00800000* 000800000* 0000E00000*                    1   1   0   0   0   01     00   00
 25       25      1000000* 01000000* 001000000* 0001C00000*                    0   0   0   0   0   00     00   00
 26       26      0000001      02000000* 002000000* 0003800000*                0   0   0   0   0   00     00   00
 27       27      0000002      04000000* 004000000* 0007000000*                0   0   0   0   0   00     00   00
 28       28      0000004      08000000* 008000000* 000E000000*                0   0   0   0   0   00     00   00
 29       29      0000008      10000000* 010000000* 001C000000*                0   0   0   0   0   00     00   00
 30       30      0000010      20000000* 020000000* 0038000000*                0   0   0   0   0   00     00   00
 31       31      0000020      40000000* 040000000* 0070000000*                0   0   0   0   0   00     00   00
 32       32      0000040      00000001    080000000* 00E0000000*              0   0   1   1   0   01     00   00
 33       33      0000080      00000002    100000000* 01C0000000*              0   0   0   1   1   00     00   00
 34       34      0000101      00000004    000000001      0380000000*          0   0   0   1   1   00     00   00


Encryption Sample Data                                                                                    06 December 2016
                                                                                                    Bluetooth SIG Proprietary
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Sample Data

 35    35    0000202     00000008   000000002   0700000000*   0   0   0   0   0   00     00   00
 36    36    0000404     00000010   000000004   0E00000000*   0   0   0   0   0   00     00   00
 37    37    0000808     00000020   000000008   1C00000000*   0   0   0   0   0   00     00   00
 38    38    0001011     00000040   000000011   3800000000*   0   0   0   0   0   00     00   00
 39    39    0002022     00000080   000000022   7000000000*   0   0   0   0   0   00     00   00
===============================================================================================
         Start clocking Summation Combiner
===============================================================================================
 40     1    0004044     00000100   000000044   6000000001    0   0   0   0   0   00     00   00
 41     2    0008088     00000200   000000088   4000000003    0   0   0   0   0   00     00   00
 42     3    0010111     00000400   000000111   0000000007    0   0   0   0   0   00     00   00
 43     4    0020222     00000800   000000222   000000000E    0   0   0   0   0   00     00   00
 44     5    0040444     00001001   000000444   000000001D    0   0   0   0   0   00     00   00
 45     6    0080888     00002002   000000888   000000003B    0   0   0   0   0   00     00   00
 46     7    0101111     00004004   000001111   0000000077    0   0   0   0   0   00     00   00
 47     8    0202222     00008008   000002222   00000000EE    0   0   0   0   0   00     00   00
 48     9    0404444     00010011   000004444   00000001DD    0   0   0   0   0   00     00   00
 49    10    0808888     00020022   000008888   00000003BB    1   0   0   0   1   00     00   00
 50    11    1011110     00040044   000011111   0000000777    0   0   0   0   0   00     00   00
 51    12    0022221     00080088   000022222   0000000EEE    0   0   0   0   0   00     00   00
 52    13    0044442     00100110   000044444   0000001DDD    0   0   0   0   0   00     00   00
 53    14    0088884     00200220   000088888   0000003BBB    0   0   0   0   0   00     00   00
 54    15    0111109     00400440   000111111   0000007777    0   0   0   0   0   00     00   00
 55    16    0222212     00800880   000222222   000000EEEE    0   1   0   0   1   00     00   00
 56    17    0444424     01001100   000444444   000001DDDD    0   0   0   0   0   00     00   00
 57    18    0888848     02002200   000888888   000003BBBB    1   0   0   0   1   00     00   00
 58    19    1111090     04004400   001111110   0000077777    0   0   0   0   0   00     00   00
 59    20    0222120     08008800   002222220   00000EEEEE    0   0   0   0   0   00     00   00
 60    21    0444240     10011000   004444440   00001DDDDD    0   0   0   0   0   00     00   00
 61    22    0888480     20022000   008888880   00003BBBBB    1   0   0   0   1   00     00   00
 62    23    1110900     40044000   011111100   0000777777    0   0   0   0   0   00     00   00
 63    24    0221200     00088001   022222200   0000EEEEEE    0   0   0   0   0   00     00   00
 64    25    0442400     00110003   044444400   0001DDDDDD    0   0   0   0   0   00     00   00
 65    26    0884800     00220006   088888800   0003BBBBBB    1   0   1   0   0   01     00   00
 66    27    1109000     0044000C   111111000   0007777777    0   0   0   0   1   01     01   00
 67    28    0212001     00880018   022222001   000EEEEEEE    0   1   0   0   0   11     01   01
 68    29    0424002     01100031   044444002   001DDDDDDC    0   0   0   0   1   01     11   01
 69    30    0848004     02200062   088888004   003BBBBBB8    1   0   1   0   1   10     01   11
 70    31    1090008     044000C4   111110008   0077777770    0   0   0   0   0   00     10   01
 71    32    0120010     08800188   022220010   00EEEEEEE0    0   1   0   1   0   00     00   10
 72    33    0240020     11000311   044440020   01DDDDDDC1    0   0   0   1   1   00     00   00
 73    34    0480040     22000622   088880040   03BBBBBB83    0   0   1   1   0   01     00   00
 74    35    0900081     44000C44   111100080   0777777707    1   0   0   0   0   00     01   00
 75    36    1200103     08001888   022200101   0EEEEEEE0E    0   0   0   1   1   11     00   01
 76    37    0400207     10003111   044400202   1DDDDDDC1D    0   0   0   1   0   01     11   00
 77    38    080040E     20006222   088800404   3BBBBBB83B    1   0   1   1   0   01     01   11
 78    39    100081C     4000C444   111000808   7777777077    0   0   0   0   1   10     01   01
 79    40    0001038     00018888   022001010   6EEEEEE0EF    0   0   0   1   1   00     10   01
 80    41    0002070     00031110   044002020   5DDDDDC1DE    0   0   0   1   1   01     00   10
 81    42    00040E0     00062220   088004040   3BBBBB83BC    0   0   1   1   1   00     01   00
 82    43    00081C1     000C4440   110008081   7777770779    0   0   0   0   0   11     00   01
 83    44    0010383     00188880   020010103   6EEEEE0EF2    0   0   0   1   0   01     11   00
 84    45    0020707     00311100   040020206   5DDDDC1DE5    0   0   0   1   0   10     01   11
 85    46    0040E0E     00622200   08004040C   3BBBB83BCB    0   0   1   1   0   11     10   01
 86    47    0081C1D     00C44400   100080819   7777707797    0   1   0   0   0   00     11   10
 87    48    010383A     01888801   000101032   6EEEE0EF2F    0   1   0   1   0   11     00   11
 88    49    0207075     03111003   000202064   5DDDC1DE5E    0   0   0   1   0   01     11   00



Encryption Sample Data                                                                   06 December 2016
                                                                                   Bluetooth SIG Proprietary
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Sample Data

 89    50    040E0EA     06222006   0004040C8   3BBB83BCBC   0   0   0   1   0   10     01   11
 90    51    081C1D5     0C44400C   000808191   7777077979   1   0   0   0   1   00     10   01
 91    52    10383AB     18888018   001010323   6EEE0EF2F2   0   1   0   1   0   00     00   10
 92    53    0070756     31110030   002020646   5DDC1DE5E5   0   0   0   1   1   00     00   00
 93    54    00E0EAC     62220060   004040C8C   3BB83BCBCB   0   0   0   1   1   00     00   00
 94    55    01C1D59     444400C1   008081919   7770779797   0   0   0   0   0   00     00   00
 95    56    0383AB2     08880183   010103232   6EE0EF2F2F   0   1   0   1   0   01     00   00
 96    57    0707565     11100307   020206464   5DC1DE5E5F   0   0   0   1   0   00     01   00
 97    58    0E0EACA     2220060E   04040C8C8   3B83BCBCBF   1   0   0   1   0   10     00   01
 98    59    1C1D594     44400C1C   080819191   770779797E   1   0   1   0   0   00     10   00
 99    60    183AB28     08801838   101032323   6E0EF2F2FC   1   1   0   0   0   00     00   10
100    61    1075650     11003070   002064647   5C1DE5E5F8   0   0   0   0   0   00     00   00
101    62    00EACA1     220060E0   0040C8C8E   383BCBCBF0   0   0   0   0   0   00     00   00
102    63    01D5943     4400C1C0   00819191D   70779797E0   0   0   0   0   0   00     00   00
103    64    03AB286     08018380   01032323A   60EF2F2FC1   0   0   0   1   1   00     00   00
104    65    075650C     10030701   020646475   41DE5E5F82   0   0   0   1   1   00     00   00
105    66    0EACA18     20060E02   040C8C8EA   03BCBCBF04   1   0   0   1   0   01     00   00
106    67    1D59430     400C1C05   0819191D4   0779797E09   1   0   1   0   1   00     01   00
107    68    1AB2861     0018380A   1032323A9   0EF2F2FC12   1   0   0   1   0   10     00   01
108    69    15650C3     00307015   006464752   1DE5E5F825   0   0   0   1   1   11     10   00
109    70    0ACA186     0060E02A   00C8C8EA4   3BCBCBF04B   1   0   0   1   1   00     11   10
110    71    159430C     00C1C055   019191D48   779797E097   0   1   0   1   0   11     00   11
111    72    0B28618     018380AA   032323A90   6F2F2FC12F   1   1   0   0   1   01     11   00
112    73    1650C30     03070154   064647520   5E5E5F825E   0   0   0   0   1   11     01   11
113    74    0CA1860     060E02A8   0C8C8EA40   3CBCBF04BC   1   0   1   1   0   11     11   01
114    75    19430C0     0C1C0550   19191D480   79797E0979   1   0   1   0   1   11     11   11
115    76    1286180     18380AA0   12323A900   72F2FC12F2   0   0   0   1   0   11     11   11
116    77    050C301     30701541   046475201   65E5F825E5   0   0   0   1   0   11     11   11
117    78    0A18602     60E02A82   08C8EA402   4BCBF04BCB   1   1   1   1   1   10     11   11
118    79    1430C04     41C05505   1191D4804   1797E09796   0   1   0   1   0   10     10   11
119    80    0861808     0380AA0A   0323A9008   2F2FC12F2C   1   1   0   0   0   01     10   10
120    81    10C3011     07015415   064752011   5E5F825E59   0   0   0   0   1   00     01   10
121    82    0186022     0E02A82A   0C8EA4022   3CBF04BCB2   0   0   1   1   0   10     00   01
122    83    030C045     1C055054   191D48044   797E097964   0   0   1   0   1   11     10   00
123    84    061808A     380AA0A8   123A90088   72FC12F2C9   0   0   0   1   0   00     11   10
124    85    0C30115     70154151   047520111   65F825E593   1   0   0   1   0   11     00   11
125    86    186022A     602A82A3   08EA40222   4BF04BCB26   1   0   1   1   0   00     11   00
126    87    10C0455     40550546   11D480444   17E097964C   0   0   0   1   1   10     00   11
127    88    01808AA     00AA0A8D   03A900888   2FC12F2C99   0   1   0   1   0   00     10   00
128    89    0301155     0154151A   075201111   5F825E5932   0   0   0   1   1   01     00   10
129    90    06022AA     02A82A34   0EA402222   3F04BCB264   0   1   1   0   1   00     01   00
130    91    0C04555     05505468   1D4804445   7E097964C9   1   0   1   0   0   10     00   01
131    92    1808AAA     0AA0A8D0   1A900888A   7C12F2C992   1   1   1   0   1   00     10   00
132    93    1011555     154151A1   152011115   7825E59324   0   0   0   0   0   01     00   10
133    94    0022AAB     2A82A342   0A402222B   704BCB2648   0   1   1   0   1   00     01   00
134    95    0045556     55054684   148044457   6097964C91   0   0   0   1   1   11     00   01
135    96    008AAAC     2A0A8D09   0900888AE   412F2C9923   0   0   1   0   0   01     11   00
136    97    0115559     54151A12   12011115D   025E593246   0   0   0   0   1   11     01   11
137    98    022AAB2     282A3424   0402222BA   04BCB2648D   0   0   0   1   0   10     11   01
138    99    0455564     50546848   080444575   097964C91A   0   0   1   0   1   01     10   11
139   100    08AAAC8     20A8D090   100888AEA   12F2C99235   1   1   0   1   0   10     01   10
140   101    1155591     4151A120   0011115D5   25E593246A   0   0   0   1   1   00     10   01
141   102    02AAB22     02A34240   002222BAA   4BCB2648D5   0   1   0   1   0   00     00   10
142   103    0555644     05468481   004445755   17964C91AB   0   0   0   1   1   00     00   00
143   104    0AAAC88     0A8D0903   00888AEAA   2F2C992357   1   1   0   0   0   01     00   00
144   105    1555911     151A1206   011115D55   5E593246AE   0   0   0   0   1   01     01   00
145   106    0AAB222     2A34240C   02222BAAA   3CB2648D5C   1   0   0   1   1   11     01   01



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146   107    1556445     54684818   044457555   7964C91AB8   0   0   0   0   1   01     11   01
147   108    0AAC88B     28D09030   0888AEAAA   72C9923571   1   1   1   1   1   01     01   11
148   109    1559117     51A12060   11115D555   6593246AE2   0   1   0   1   1   11     01   01
149   110    0AB222F     234240C0   0222BAAAB   4B2648D5C5   1   0   0   0   0   10     11   01
150   111    156445F     46848180   044575557   164C91AB8A   0   1   0   0   1   01     10   11
151   112    0AC88BF     0D090301   088AEAAAE   2C99235714   1   0   1   1   0   10     01   10
152   113    159117F     1A120602   1115D555D   593246AE28   0   0   0   0   0   00     10   01
153   114    0B222FE     34240C04   022BAAABA   32648D5C51   1   0   0   0   1   01     00   10
154   115    16445FD     68481809   045755574   64C91AB8A2   0   0   0   1   0   00     01   00
155   116    0C88BFA     50903012   08AEAAAE8   4992357144   1   1   1   1   0   01     00   01
156   117    19117F5     21206024   115D555D1   13246AE288   1   0   0   0   0   00     01   00
157   118    1222FEA     4240C048   02BAAABA2   2648D5C511   0   0   0   0   0   11     00   01
158   119    0445FD5     04818090   057555744   4C91AB8A23   0   1   0   1   1   01     11   00
159   120    088BFAA     09030120   0AEAAAE88   1923571446   1   0   1   0   1   10     01   11
160   121    1117F55     12060240   15D555D11   3246AE288D   0   0   0   0   0   00     10   01
161   122    022FEAA     240C0480   0BAAABA22   648D5C511B   0   0   1   1   0   00     00   10
162   123    045FD54     48180900   175557444   491AB8A237   0   0   0   0   0   00     00   00
163   124    08BFAA9     10301200   0EAAAE889   123571446F   1   0   1   0   0   01     00   00
164   125    117F553     20602400   1D555D113   246AE288DF   0   0   1   0   0   00     01   00
165   126    02FEAA7     40C04800   1AAABA227   48D5C511BE   0   1   1   1   1   10     00   01
166   127    05FD54F     01809001   15557444F   11AB8A237D   0   1   0   1   0   00     10   00
167   128    0BFAA9F     03012002   0AAAE889E   23571446FA   1   0   1   0   0   00     00   10
168   129    17F553F     06024004   1555D113D   46AE288DF5   0   0   0   1   1   00     00   00
169   130    0FEAA7E     0C048008   0AABA227A   0D5C511BEA   1   0   1   0   0   01     00   00
170   131    1FD54FC     18090011   1557444F5   1AB8A237D5   1   0   0   1   1   00     01   00
171   132    1FAA9F9     30120022   0AAE889EB   3571446FAA   1   0   1   0   0   10     00   01
172   133    1F553F2     60240044   155D113D7   6AE288DF55   1   0   0   1   0   00     10   00
173   134    1EAA7E4     40480089   0ABA227AE   55C511BEAA   1   0   1   1   1   00     00   10
174   135    1D54FC9     00900113   157444F5D   2B8A237D54   1   1   0   1   1   01     00   00
175   136    1AA9F93     01200227   0AE889EBA   571446FAA8   1   0   1   0   1   00     01   00
176   137    1553F26     0240044E   15D113D75   2E288DF550   0   0   0   0   0   11     00   01
177   138    0AA7E4C     0480089C   0BA227AEA   5C511BEAA0   1   1   1   0   0   00     11   00
178   139    154FC98     09001138   17444F5D4   38A237D540   0   0   0   1   1   10     00   11
179   140    0A9F931     12002270   0E889EBA9   71446FAA81   1   0   1   0   0   00     10   00
180   141    153F262     240044E0   1D113D753   6288DF5503   0   0   1   1   0   00     00   10
181   142    0A7E4C5     480089C0   1A227AEA7   4511BEAA06   1   0   1   0   0   01     00   00
182   143    14FC98B     10011381   1444F5D4F   0A237D540D   0   0   0   0   1   01     01   00
183   144    09F9316     20022702   0889EBA9E   1446FAA81A   1   0   1   0   1   11     01   01
184   145    13F262D     40044E04   1113D753D   288DF55035   0   0   0   1   0   10     11   01
185   146    07E4C5A     00089C08   0227AEA7A   511BEAA06A   0   0   0   0   0   01     10   11
186   147    0FC98B4     00113810   044F5D4F5   2237D540D5   1   0   0   0   0   01     01   10
187   148    1F93169     00227021   089EBA9EB   446FAA81AA   1   0   1   0   1   11     01   01
188   149    1F262D2     0044E042   113D753D7   08DF550355   1   0   0   1   1   10     11   01
189   150    1E4C5A4     0089C085   027AEA7AE   11BEAA06AA   1   1   0   1   1   10     10   11
190   151    1C98B48     0113810A   04F5D4F5C   237D540D54   1   0   0   0   1   10     10   10
191   152    1931691     02270215   09EBA9EB8   46FAA81AA9   1   0   1   1   1   01     10   10
192   153    1262D22     044E042A   13D753D71   0DF5503553   0   0   0   1   0   01     01   10
193   154    04C5A44     089C0854   07AEA7AE2   1BEAA06AA7   0   1   0   1   1   11     01   01
194   155    098B488     113810A8   0F5D4F5C4   37D540D54E   1   0   1   1   0   11     11   01
195   156    1316910     22702150   1EBA9EB89   6FAA81AA9D   0   0   1   1   1   11     11   11
196   157    062D220     44E042A0   1D753D712   5F5503553A   0   1   1   0   1   11     11   11
197   158    0C5A440     09C08540   1AEA7AE25   3EAA06AA75   1   1   1   1   1   10     11   11
198   159    18B4880     13810A80   15D4F5C4B   7D540D54EA   1   1   0   0   0   10     10   11
199   160    1169100     27021500   0BA9EB897   7AA81AA9D5   0   0   1   1   0   01     10   10
200   161    02D2201     4E042A00   1753D712E   75503553AB   0   0   0   0   1   00     01   10
201   162    05A4403     1C085400   0EA7AE25C   6AA06AA756   0   0   1   1   0   10     00   01
202   163    0B48807     3810A800   1D4F5C4B8   5540D54EAC   1   0   1   0   0   00     10   00



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203    164    169100F    70215000   1A9EB8971   2A81AA9D58   0   0   1   1   0   00     00   10
204    165    0D2201E    6042A001   153D712E3   5503553AB0   1   0   0   0   1   00     00   00
205    166    1A4403C    40854002   0A7AE25C6   2A06AA7561   1   1   1   0   1   01     00   00
206    167    1488079    010A8004   14F5C4B8D   540D54EAC3   0   0   0   0   1   01     01   00
207    168    09100F2    02150009   09EB8971B   281AA9D586   1   0   1   0   1   11     01   01
208    169    12201E5    042A0012   13D712E37   503553AB0C   0   0   0   0   1   01     11   01
209    170    04403CA    08540024   07AE25C6E   206AA75618   0   0   0   0   1   11     01   11
210    171    0880795    10A80048   0F5C4B8DD   40D54EAC30   1   1   1   1   1   11     11   01
211    172    1100F2A    21500091   1EB8971BA   01AA9D5861   0   0   1   1   1   11     11   11
212    173    0201E54    42A00122   1D712E374   03553AB0C3   0   1   1   0   1   11     11   11
213    174    0403CA9    05400244   1AE25C6E9   06AA756186   0   0   1   1   1   11     11   11
214    175    0807952    0A800488   15C4B8DD3   0D54EAC30D   1   1   0   0   1   11     11   11
215    176    100F2A5    15000911   0B8971BA6   1AA9D5861A   0   0   1   1   1   11     11   11
216    177    001E54A    2A001223   1712E374C   3553AB0C35   0   0   0   0   1   00     11   11
217    178    003CA94    54002446   0E25C6E98   6AA756186A   0   0   1   1   0   11     00   11
218    179    0079528    2800488D   1C4B8DD31   554EAC30D5   0   0   1   0   0   01     11   00
219    180    00F2A50    5000911B   18971BA62   2A9D5861AA   0   0   1   1   1   10     01   11
220    181    01E54A0    20012236   112E374C4   553AB0C355   0   0   0   0   0   00     10   01
221    182    03CA940    4002446C   025C6E988   2A756186AA   0   0   0   0   0   01     00   10
222    183    0795280    000488D9   04B8DD310   54EAC30D54   0   0   0   1   0   00     01   00
223    184    0F2A500    000911B2   0971BA620   29D5861AA8   1   0   1   1   1   10     00   01
224    185    1E54A00    00122364   12E374C40   53AB0C3550   1   0   0   1   0   00     10   00
225    186    1CA9400    002446C8   05C6E9880   2756186AA0   1   0   0   0   1   01     00   10
226    187    1952800    00488D90   0B8DD3101   4EAC30D540   1   0   1   1   0   11     01   00
227    188    12A5000    00911B20   171BA6202   1D5861AA81   0   1   0   0   0   10     11   01
228    189    054A000    01223640   0E374C404   3AB0C35502   0   0   1   1   0   10     10   11
229    190    0A94000    02446C80   1C6E98808   756186AA05   1   0   1   0   0   01     10   10
230    191    1528001    0488D901   18DD31011   6AC30D540B   0   1   1   1   0   10     01   10
231    192    0A50003    0911B203   11BA62023   55861AA817   1   0   0   1   0   11     10   01
232    193    14A0006    12236407   0374C4047   2B0C35502F   0   0   0   0   1   11     11   10
233    194    094000C    2446C80E   06E98808E   56186AA05F   1   0   0   0   0   11     11   11
234    195    1280018    488D901C   0DD31011D   2C30D540BF   0   1   1   0   1   11     11   11
235    196    0500030    111B2039   1BA62023A   5861AA817E   0   0   1   0   0   11     11   11
236    197    0A00060    22364072   174C40475   30C35502FD   1   0   0   1   1   11     11   11
237    198    14000C0    446C80E4   0E98808EA   6186AA05FB   0   0   1   1   1   11     11   11
238    199    0800180    08D901C8   1D31011D5   430D540BF6   1   1   1   0   0   10     11   11
239    200    1000301    11B20391   1A62023AB   061AA817EC   0   1   1   0   0   10     10   11


Z[0]   = 25
Z[1]   = 45
Z[2]   = 6B
Z[3]   = 55
Z[4]   = 5F
Z[5]   = C2
Z[6]   = 20
Z[7]   = E5
Z[8]   = C4
Z[9]   = F8
Z[10] = 3A
Z[11] = F1
Z[12] = FF
Z[13] = 89
Z[14] = 02
Z[15] = 35


===============================================================================================
         Reload this pattern into the LFSRs



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Sample Data

         Hold content of Summation Combiner regs and calculate new C[t+1] and Z values
===============================================================================================
LFSR1   <= 1C45F25
LFSR2   <= 7FF8C245
LFSR3   <= 1893A206B
LFSR4   <= 1A02F1E555
C[t+1] <= 10


===============================================================================================
         Generating 125 key symbols (encryption/decryption sequence)
===============================================================================================
240      1     1C45F25   7FF8C245   1893A206B   1A02F1E555   1   1   1   0   1   10     10   11
241      2     188BE4A   7FF1848B   1127440D7   3405E3CAAB   1   1   0   0   0   01     10   10
242      3     1117C95   7FE30917   024E881AF   680BC79557   0   1   0   0   0   01     01   10
243      4     022F92B   7FC6122F   049D1035E   50178F2AAF   0   1   0   0   0   11     01   01
244      5     045F257   7F8C245E   093A206BD   202F1E555E   0   1   1   0   1   10     11   01
245      6     08BE4AE   7F1848BC   127440D7A   405E3CAABC   1   0   0   0   1   01     10   11
246      7     117C95C   7E309178   04E881AF4   00BC795579   0   0   0   1   0   01     01   10
247      8     02F92B8   7C6122F0   09D1035E8   0178F2AAF2   0   0   1   0   0   11     01   01
248      9     05F2570   78C245E1   13A206BD0   02F1E555E5   0   1   0   1   1   10     11   01
249     10     0BE4AE1   71848BC2   07440D7A0   05E3CAABCA   1   1   0   1   1   10     10   11
250     11     17C95C3   63091784   0E881AF40   0BC7955795   0   0   1   1   0   01     10   10
251     12     0F92B87   46122F09   1D1035E80   178F2AAF2B   1   0   1   1   0   10     01   10
252     13     1F2570F   0C245E12   1A206BD01   2F1E555E56   1   0   1   0   0   11     10   01
253     14     1E4AE1F   1848BC25   1440D7A03   5E3CAABCAC   1   0   0   0   0   00     11   10
254     15     1C95C3E   3091784A   0881AF407   3C79557958   1   1   1   0   1   11     00   11
255     16     192B87D   6122F094   11035E80F   78F2AAF2B1   1   0   0   1   1   01     11   00
256     17     12570FA   4245E128   0206BD01E   71E555E562   0   0   0   1   0   10     01   11
257     18     04AE1F4   048BC250   040D7A03D   63CAABCAC5   0   1   0   1   0   11     10   01
258     19     095C3E8   091784A0   081AF407A   479557958A   1   0   1   1   0   01     11   10
259     20     12B87D1   122F0941   1035E80F4   0F2AAF2B14   0   0   0   0   1   11     01   11
260     21     0570FA3   245E1283   006BD01E9   1E555E5628   0   0   0   0   1   01     11   01
261     22     0AE1F46   48BC2506   00D7A03D2   3CAABCAC50   1   1   0   1   0   01     01   11
262     23     15C3E8C   11784A0C   01AF407A5   79557958A0   0   0   0   0   1   10     01   01
263     24     0B87D18   22F09419   035E80F4A   72AAF2B140   1   1   0   1   1   11     10   01
264     25     170FA30   45E12832   06BD01E94   6555E56280   0   1   0   0   0   00     11   10
265     26     0E1F460   0BC25065   0D7A03D28   4AABCAC501   1   1   1   1   0   00     00   11
266     27     1C3E8C0   1784A0CB   1AF407A50   1557958A03   1   1   1   0   1   01     00   00
267     28     187D181   2F094196   15E80F4A0   2AAF2B1406   1   0   0   1   1   00     01   00
268     29     10FA302   5E12832C   0BD01E941   555E56280C   0   0   1   0   1   11     00   01
269     30     01F4604   3C250658   17A03D283   2ABCAC5019   0   0   0   1   0   01     11   00
270     31     03E8C09   784A0CB0   0F407A506   557958A033   0   0   1   0   0   10     01   11
271     32     07D1812   70941960   1E80F4A0C   2AF2B14066   0   1   1   1   1   11     10   01
272     33     0FA3024   612832C1   1D01E9419   55E56280CD   1   0   1   1   0   01     11   10
273     34     1F46049   42506583   1A03D2832   2BCAC5019A   1   0   1   1   0   01     01   11
274     35     1E8C093   04A0CB07   1407A5065   57958A0335   1   1   0   1   0   00     01   01
275     36     1D18127   0941960F   080F4A0CB   2F2B14066B   1   0   1   0   0   10     00   01
276     37     1A3024F   12832C1F   101E94196   5E56280CD7   1   1   0   0   0   00     10   00
277     38     146049F   2506583E   003D2832C   3CAC5019AE   0   0   0   1   1   01     00   10
278     39     08C093E   4A0CB07D   007A50658   7958A0335D   1   0   0   0   0   00     01   00
279     40     118127C   141960FA   00F4A0CB0   72B14066BA   0   0   0   1   1   11     00   01
280     41     03024F8   2832C1F4   01E941961   656280CD74   0   0   0   0   1   10     11   00
281     42     06049F1   506583E9   03D2832C2   4AC5019AE9   0   0   0   1   1   01     10   11
282     43     0C093E2   20CB07D2   07A506585   158A0335D3   1   1   0   1   0   10     01   10
283     44     18127C5   41960FA5   0F4A0CB0B   2B14066BA7   1   1   1   0   1   11     10   01
284     45     1024F8A   032C1F4B   1E9419616   56280CD74F   0   0   1   0   0   00     11   10
285     46     0049F15   06583E97   1D2832C2C   2C5019AE9F   0   0   1   0   1   10     00   11



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286    47    0093E2B     0CB07D2F   1A5065859   58A0335D3E   0   1   1   1   1   00     10   00
287    48    0127C56     1960FA5E   14A0CB0B2   314066BA7D   0   0   0   0   0   01     00   10
288    49    024F8AD     32C1F4BC   094196164   6280CD74FB   0   1   1   1   0   11     01   00
289    50    049F15A     6583E978   12832C2C8   45019AE9F6   0   1   0   0   0   10     11   01
290    51    093E2B5     4B07D2F0   050658591   0A0335D3ED   1   0   0   0   1   01     10   11
291    52    127C56B     160FA5E0   0A0CB0B22   14066BA7DA   0   0   1   0   0   01     01   10
292    53    04F8AD7     2C1F4BC1   141961645   280CD74FB5   0   0   0   0   1   10     01   01
293    54    09F15AF     583E9783   0832C2C8A   5019AE9F6A   1   0   1   0   0   11     10   01
294    55    13E2B5E     307D2F06   106585915   20335D3ED5   0   0   0   0   1   11     11   10
295    56    07C56BD     60FA5E0D   00CB0B22B   4066BA7DAA   0   1   0   0   0   11     11   11
296    57    0F8AD7A     41F4BC1B   019616457   00CD74FB54   1   1   0   1   0   10     11   11
297    58    1F15AF4     03E97836   032C2C8AF   019AE9F6A9   1   1   0   1   1   10     10   11
298    59    1E2B5E9     07D2F06C   06585915E   0335D3ED52   1   1   0   0   0   01     10   10
299    60    1C56BD2     0FA5E0D8   0CB0B22BC   066BA7DAA4   1   1   1   0   0   10     01   10
300    61    18AD7A5     1F4BC1B0   196164578   0CD74FB549   1   0   1   1   1   11     10   01
301    62    115AF4B     3E978361   12C2C8AF0   19AE9F6A92   0   1   0   1   1   00     11   10
302    63    02B5E96     7D2F06C2   0585915E0   335D3ED524   0   0   0   0   0   10     00   11
303    64    056BD2D     7A5E0D85   0B0B22BC1   66BA7DAA49   0   0   1   1   0   00     10   00
304    65    0AD7A5B     74BC1B0A   161645783   4D74FB5493   1   1   0   0   0   00     00   10
305    66    15AF4B6     69783615   0C2C8AF07   1AE9F6A926   0   0   1   1   0   01     00   00
306    67    0B5E96D     52F06C2B   185915E0F   35D3ED524C   1   1   1   1   1   11     01   00
307    68    16BD2DB     25E0D857   10B22BC1F   6BA7DAA499   0   1   0   1   1   10     11   01
308    69    0D7A5B7     4BC1B0AF   01645783F   574FB54933   1   1   0   0   0   10     10   11
309    70    1AF4B6F     1783615F   02C8AF07F   2E9F6A9266   1   1   0   1   1   01     10   10
310    71    15E96DF     2F06C2BF   05915E0FF   5D3ED524CC   0   0   0   0   1   00     01   10
311    72    0BD2DBF     5E0D857F   0B22BC1FE   3A7DAA4998   1   0   1   0   0   10     00   01
312    73    17A5B7F     3C1B0AFE   1645783FD   74FB549331   0   0   0   1   1   11     10   00
313    74    0F4B6FF     783615FD   0C8AF07FA   69F6A92662   1   0   1   1   0   01     11   10
314    75    1E96DFF     706C2BFB   1915E0FF5   53ED524CC4   1   0   1   1   0   01     01   11
315    76    1D2DBFE     60D857F6   122BC1FEB   27DAA49988   1   1   0   1   0   00     01   01
316    77    1A5B7FD     41B0AFEC   045783FD7   4FB5493310   1   1   0   1   1   10     00   01
317    78    14B6FFA     03615FD8   08AF07FAE   1F6A926620   0   0   1   0   1   11     10   00
318    79    096DFF4     06C2BFB1   115E0FF5D   3ED524CC40   1   1   0   1   0   01     11   10
319    80    12DBFE8     0D857F63   02BC1FEBB   7DAA499881   0   1   0   1   1   10     01   11
320    81    05B7FD0     1B0AFEC6   05783FD77   7B54933103   0   0   0   0   0   00     10   01
321    82    0B6FFA1     3615FD8C   0AF07FAEF   76A9266206   1   0   1   1   1   00     00   10
322    83    16DFF42     6C2BFB18   15E0FF5DE   6D524CC40C   0   0   0   0   0   00     00   00
323    84    0DBFE85     5857F631   0BC1FEBBD   5AA4998819   1   0   1   1   1   01     00   00
324    85    1B7FD0B     30AFEC62   1783FD77A   3549331033   1   1   0   0   1   00     01   00
325    86    16FFA16     615FD8C5   0F07FAEF5   6A92662067   0   0   1   1   0   10     00   01
326    87    0DFF42D     42BFB18B   1E0FF5DEA   5524CC40CE   1   1   1   0   1   00     10   00
327    88    1BFE85B     057F6317   1C1FEBBD5   2A4998819C   1   0   1   0   0   00     00   10
328    89    17FD0B7     0AFEC62E   183FD77AA   5493310339   0   1   1   1   1   01     00   00
329    90    0FFA16F     15FD8C5C   107FAEF55   2926620672   1   1   0   0   1   00     01   00
330    91    1FF42DF     2BFB18B9   00FF5DEAA   524CC40CE5   1   1   0   0   0   10     00   01
331    92    1FE85BF     57F63172   01FEBBD55   24998819CA   1   1   0   1   1   00     10   00
332    93    1FD0B7F     2FEC62E4   03FD77AAA   4933103394   1   1   0   0   0   00     00   10
333    94    1FA16FF     5FD8C5C9   07FAEF555   1266206728   1   1   0   0   0   01     00   00
334    95    1F42DFF     3FB18B93   0FF5DEAAA   24CC40CE51   1   1   1   1   1   11     01   00
335    96    1E85BFF     7F631727   1FEBBD554   4998819CA3   1   0   1   1   0   11     11   01
336    97    1D0B7FE     7EC62E4F   1FD77AAA9   1331033947   1   1   1   0   0   10     11   11
337    98    1A16FFC     7D8C5C9F   1FAEF5553   266206728E   1   1   1   0   1   10     10   11
338    99    142DFF9     7B18B93F   1F5DEAAA7   4CC40CE51D   0   0   1   1   0   01     10   10
339   100    085BFF3     7631727F   1EBBD554E   198819CA3B   1   0   1   1   0   10     01   10
340   101    10B7FE6     6C62E4FF   1D77AAA9C   3310339477   0   0   1   0   1   00     10   01
341   102    016FFCC     58C5C9FE   1AEF55538   66206728EE   0   1   1   0   0   00     00   10
342   103    02DFF98     318B93FC   15DEAAA70   4C40CE51DC   0   1   0   0   1   00     00   00



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Sample Data

343   104    05BFF31     631727F8   0BBD554E1   18819CA3B9   0   0   1   1   0   01     00   00
344   105    0B7FE62     462E4FF1   177AAA9C2   3103394772   1   0   0   0   0   00     01   00
345   106    16FFCC5     0C5C9FE2   0EF555384   6206728EE4   0   0   1   0   1   11     00   01
346   107    0DFF98A     18B93FC4   1DEAAA709   440CE51DC9   1   1   1   0   0   00     11   00
347   108    1BFF315     31727F88   1BD554E12   0819CA3B93   1   0   1   0   0   11     00   11
348   109    17FE62A     62E4FF11   17AAA9C24   1033947726   0   1   0   0   0   01     11   00
349   110    0FFCC54     45C9FE22   0F5553849   206728EE4C   1   1   1   0   0   01     01   11
350   111    1FF98A8     0B93FC44   1EAAA7093   40CE51DC99   1   1   1   1   1   00     01   01
351   112    1FF3150     1727F889   1D554E127   019CA3B933   1   0   1   1   1   10     00   01
352   113    1FE62A0     2E4FF112   1AAA9C24F   0339477267   1   0   1   0   0   00     10   00
353   114    1FCC541     5C9FE225   15553849E   06728EE4CF   1   1   0   0   0   00     00   10
354   115    1F98A82     393FC44B   0AAA7093C   0CE51DC99F   1   0   1   1   1   01     00   00
355   116    1F31504     727F8897   1554E1279   19CA3B933E   1   0   0   1   1   00     01   00
356   117    1E62A09     64FF112F   0AA9C24F2   339477267D   1   1   1   1   0   01     00   01
357   118    1CC5412     49FE225E   1553849E4   6728EE4CFB   1   1   0   0   1   00     01   00
358   119    198A824     13FC44BC   0AA7093C9   4E51DC99F7   1   1   1   0   1   10     00   01
359   120    1315049     27F88979   154E12792   1CA3B933EE   0   1   0   1   0   00     10   00
360   121    062A093     4FF112F3   0A9C24F24   39477267DC   0   1   1   0   0   00     00   10
361   122    0C54127     1FE225E6   153849E48   728EE4CFB8   1   1   0   1   1   01     00   00
362   123    18A824E     3FC44BCD   0A7093C91   651DC99F71   1   1   1   0   0   11     01   00
363   124    115049C     7F88979A   14E127922   4A3B933EE2   0   1   0   0   0   10     11   01
364   125    02A0938     7F112F35   09C24F244   1477267DC5   0   0   1   0   1   01     10   11




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Sample Data

1.1.4 Third Set of Samples

Initial values for the key, pan address and clock


K’c3[0]        = FF     K’c3[1]    = FF      K’c3[2]       = FF     K’c3[3]        = FF
K’c3[4]        = FF     K’c3[5]    = FF      K’c3[6]       = FF     K’c3[7]        = FF
K’c3[8]        = FF     K’c3[9]    = FF      K’c3[10]      = FF     K’c3[11] = FF
K’c3[12]       = FF     K’c3[13]   = FF      K’c3[14]      = FF     K’c3[15] = FF


Addr3[0] = FF          Addr3[1] = FF        Addr3[2] = FF
Addr3[3] = FF          Addr3[4] = FF        Addr3[5] = FF


CL3[0]     = FF       CL3[1]    = FF      CL3[2]   = FF       CL3[3]    = 03




===============================================================================================
           Fill LFSRs with initial data
===============================================================================================


  t   clk#        LFSR1        LFSR2       LFSR3          LFSR4                X1 X2 X3 X4     Z   C[t+1] C[t] C[t-1]


  0        0      0000000* 00000000* 000000000* 0000000000*                    0   0   0   0   0   00     00   00
  1        1      0000001* 00000001* 000000001* 0000000001*                    0   0   0   0   0   00     00   00
  2        2      0000003* 00000002* 000000003* 0000000003*                    0   0   0   0   0   00     00   00
  3        3      0000007* 00000004* 000000007* 0000000007*                    0   0   0   0   0   00     00   00
  4        4      000000F* 00000009* 00000000F* 000000000F*                    0   0   0   0   0   00     00   00
  5        5      000001F* 00000013* 00000001F* 000000001F*                    0   0   0   0   0   00     00   00
  6        6      000003F* 00000027* 00000003F* 000000003F*                    0   0   0   0   0   00     00   00
  7        7      000007F* 0000004F* 00000007F* 000000007F*                    0   0   0   0   0   00     00   00
  8        8      00000FF* 0000009F* 0000000FF* 00000000FF*                    0   0   0   0   0   00     00   00
  9        9      00001FF* 0000013F* 0000001FF* 00000001FF*                    0   0   0   0   0   00     00   00
 10       10      00003FF* 0000027F* 0000003FF* 00000003FF*                    0   0   0   0   0   00     00   00
 11       11      00007FF* 000004FF* 0000007FF* 00000007FF*                    0   0   0   0   0   00     00   00
 12       12      0000FFF* 000009FF* 000000FFF* 0000000FFF*                    0   0   0   0   0   00     00   00
 13       13      0001FFF* 000013FF* 000001FFF* 0000001FFF*                    0   0   0   0   0   00     00   00
 14       14      0003FFF* 000027FF* 000003FFF* 0000003FFF*                    0   0   0   0   0   00     00   00
 15       15      0007FFF* 00004FFF* 000007FFF* 0000007FFF*                    0   0   0   0   0   00     00   00
 16       16      000FFFF* 00009FFF* 00000FFFF* 000000FFFF*                    0   0   0   0   0   00     00   00
 17       17      001FFFF* 00013FFF* 00001FFFF* 000001FFFF*                    0   0   0   0   0   00     00   00
 18       18      003FFFF* 00027FFF* 00003FFFF* 000003FFFF*                    0   0   0   0   0   00     00   00
 19       19      007FFFF* 0004FFFF* 00007FFFF* 000007FFFF*                    0   0   0   0   0   00     00   00
 20       20      00FFFFF* 0009FFFF* 0000FFFFF* 00000FFFFF*                    0   0   0   0   0   00     00   00
 21       21      01FFFFF* 0013FFFF* 0001FFFFF* 00001FFFFF*                    0   0   0   0   0   00     00   00
 22       22      03FFFFF* 0027FFFF* 0003FFFFF* 00003FFFFF*                    0   0   0   0   0   00     00   00
 23       23      07FFFFF* 004FFFFF* 0007FFFFF* 00007FFFFF*                    0   0   0   0   0   00     00   00
 24       24      0FFFFFF* 009FFFFF* 000FFFFFF* 0000FFFFFF*                    1   1   0   0   0   01     00   00
 25       25      1FFFFFF* 013FFFFF* 001FFFFFF* 0001FFFFFF*                    1   0   0   0   1   00     00   00
 26       26      1FFFFFF      027FFFFF* 003FFFFFF* 0003FFFFFF*                1   0   0   0   1   00     00   00
 27       27      1FFFFFF      04FFFFFF* 007FFFFFF* 0007FFFFFF*                1   1   0   0   0   01     00   00
 28       28      1FFFFFF      09FFFFFF* 00FFFFFFF* 000FFFFFFF*                1   1   0   0   0   01     00   00
 29       29      1FFFFFF      13FFFFFF* 01FFFFFFF* 001FFFFFFF*                1   1   0   0   0   01     00   00
 30       30      1FFFFFF      27FFFFFF* 03FFFFFFF* 003FFFFFFF*                1   1   0   0   0   01     00   00
 31       31      1FFFFFF      4FFFFFFF* 07FFFFFFF* 007FFFFFFF*                1   1   0   0   0   01     00   00
 32       32      1FFFFFF      1FFFFFFF    0FFFFFFFF* 00FFFFFFFF*              1   1   1   1   0   10     00   00
 33       33      1FFFFFF      3FFFFFFE    1FFFFFFFF* 01FFFFFFFF*              1   1   1   1   0   10     00   00
 34       34      1FFFFFF      7FFFFFFC    1FFFFFFFF      03FFFFFFFF*          1   1   1   1   0   10     00   00


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                                                                                                    Bluetooth SIG Proprietary
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Sample Data

 35    35    1FFFFFF     7FFFFFF9   1FFFFFFFF   07FFFFFFFF*   1   1   1   1   0   10     00   00
 36    36    1FFFFFF     7FFFFFF3   1FFFFFFFF   0FFFFFFFFF*   1   1   1   1   0   10     00   00
 37    37    1FFFFFF     7FFFFFE7   1FFFFFFFF   1FFFFFFFFF*   1   1   1   1   0   10     00   00
 38    38    1FFFFFF     7FFFFFCF   1FFFFFFFF   3FFFFFFFFF*   1   1   1   1   0   10     00   00
 39    39    1FFFFFF     7FFFFF9F   1FFFFFFFF   7FFFFFFFFF*   1   1   1   1   0   10     00   00
===============================================================================================
         Start clocking Summation Combiner
===============================================================================================
 40     1    1FFFFFF     7FFFFF3F   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   01     10   00
 41     2    1FFFFFF     7FFFFE7F   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   1   10     01   10
 42     3    1FFFFFF     7FFFFCFF   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   10     10   01
 43     4    1FFFFFF     7FFFF9FF   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   00     10   10
 44     5    1FFFFFF     7FFFF3FF   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   11     00   10
 45     6    1FFFFFF     7FFFE7FE   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   1   00     11   00
 46     7    1FFFFFF     7FFFCFFC   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   00     00   11
 47     8    1FFFFFF     7FFF9FF9   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   10     00   00
 48     9    1FFFFFF     7FFF3FF3   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   0   01     10   00
 49    10    1FFFFFF     7FFE7FE6   1FFFFFFFF   7FFFFFFFFF    1   1   1   1   1   10     01   10
 50    11    1FFFFFE     7FFCFFCC   1FFFFFFFE   7FFFFFFFFF    1   1   1   1   0   10     10   01
 51    12    1FFFFFC     7FF9FF99   1FFFFFFFC   7FFFFFFFFF    1   1   1   1   0   00     10   10
 52    13    1FFFFF8     7FF3FF33   1FFFFFFF8   7FFFFFFFFF    1   1   1   1   0   11     00   10
 53    14    1FFFFF0     7FE7FE67   1FFFFFFF0   7FFFFFFFFF    1   1   1   1   1   00     11   00
 54    15    1FFFFE0     7FCFFCCF   1FFFFFFE1   7FFFFFFFFF    1   1   1   1   0   00     00   11
 55    16    1FFFFC0     7F9FF99F   1FFFFFFC3   7FFFFFFFFF    1   1   1   1   0   10     00   00
 56    17    1FFFF80     7F3FF33E   1FFFFFF87   7FFFFFFFFE    1   0   1   1   1   00     10   00
 57    18    1FFFF00     7E7FE67C   1FFFFFF0F   7FFFFFFFFC    1   0   1   1   1   00     00   10
 58    19    1FFFE01     7CFFCCF8   1FFFFFE1E   7FFFFFFFF8    1   1   1   1   0   10     00   00
 59    20    1FFFC03     79FF99F0   1FFFFFC3C   7FFFFFFFF0    1   1   1   1   0   01     10   00
 60    21    1FFF807     73FF33E0   1FFFFF878   7FFFFFFFE1    1   1   1   1   1   10     01   10
 61    22    1FFF00F     67FE67C0   1FFFFF0F0   7FFFFFFFC3    1   1   1   1   0   10     10   01
 62    23    1FFE01E     4FFCCF80   1FFFFE1E1   7FFFFFFF87    1   1   1   1   0   00     10   10
 63    24    1FFC03C     1FF99F00   1FFFFC3C3   7FFFFFFF0F    1   1   1   1   0   11     00   10
 64    25    1FF8078     3FF33E01   1FFFF8787   7FFFFFFE1E    1   1   1   1   1   00     11   00
 65    26    1FF00F0     7FE67C02   1FFFF0F0F   7FFFFFFC3C    1   1   1   1   0   00     00   11
 66    27    1FE01E1     7FCCF805   1FFFE1E1E   7FFFFFF878    1   1   1   1   0   10     00   00
 67    28    1FC03C3     7F99F00A   1FFFC3C3C   7FFFFFF0F0    1   1   1   1   0   01     10   00
 68    29    1F80787     7F33E015   1FFF87878   7FFFFFE1E1    1   0   1   1   0   10     01   10
 69    30    1F00F0F     7E67C02A   1FFF0F0F0   7FFFFFC3C3    1   0   1   1   1   11     10   01
 70    31    1E01E1E     7CCF8054   1FFE1E1E1   7FFFFF8787    1   1   1   1   1   01     11   10
 71    32    1C03C3C     799F00A9   1FFC3C3C3   7FFFFF0F0F    1   1   1   1   1   01     01   11
 72    33    1807878     733E0152   1FF878787   7FFFFE1E1E    1   0   1   1   0   00     01   01
 73    34    100F0F0     667C02A5   1FF0F0F0F   7FFFFC3C3C    0   0   1   1   0   10     00   01
 74    35    001E1E0     4CF8054B   1FE1E1E1F   7FFFF87878    0   1   1   1   1   00     10   00
 75    36    003C3C1     19F00A96   1FC3C3C3F   7FFFF0F0F0    0   1   1   1   1   00     00   10
 76    37    0078783     33E0152C   1F878787F   7FFFE1E1E1    0   1   1   1   1   01     00   00
 77    38    00F0F07     67C02A59   1F0F0F0FF   7FFFC3C3C3    0   1   1   1   0   11     01   00
 78    39    01E1E0E     4F8054B3   1E1E1E1FF   7FFF878787    0   1   1   1   0   11     11   01
 79    40    03C3C1C     1F00A966   1C3C3C3FF   7FFF0F0F0F    0   0   1   1   1   11     11   11
 80    41    0787838     3E0152CC   1878787FF   7FFE1E1E1E    0   0   1   1   1   11     11   11
 81    42    0F0F070     7C02A598   10F0F0FFF   7FFC3C3C3C    1   0   0   1   1   11     11   11
 82    43    1E1E0E0     78054B30   01E1E1FFF   7FF8787878    1   0   0   1   1   11     11   11
 83    44    1C3C1C0     700A9660   03C3C3FFE   7FF0F0F0F0    1   0   0   1   1   11     11   11
 84    45    1878380     60152CC0   078787FFC   7FE1E1E1E0    1   0   0   1   1   11     11   11
 85    46    10F0700     402A5980   0F0F0FFF8   7FC3C3C3C0    0   0   1   1   1   11     11   11
 86    47    01E0E00     0054B300   1E1E1FFF0   7F87878780    0   0   1   1   1   11     11   11
 87    48    03C1C00     00A96601   1C3C3FFE0   7F0F0F0F00    0   1   1   0   1   11     11   11
 88    49    0783800     0152CC03   18787FFC0   7E1E1E1E01    0   0   1   0   0   11     11   11



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                                                                                   Bluetooth SIG Proprietary
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Sample Data

 89    50    0F07000     02A59806   10F0FFF80   7C3C3C3C03   1   1   0   0   1   11     11   11
 90    51    1E0E000     054B300D   01E1FFF00   7878787807   1   0   0   0   0   11     11   11
 91    52    1C1C001     0A96601A   03C3FFE01   70F0F0F00F   1   1   0   1   0   10     11   11
 92    53    1838003     152CC035   0787FFC03   61E1E1E01E   1   0   0   1   0   10     10   11
 93    54    1070007     2A59806B   0F0FFF807   43C3C3C03C   0   0   1   1   0   01     10   10
 94    55    00E000F     54B300D7   1E1FFF00F   0787878078   0   1   1   1   0   10     01   10
 95    56    01C001F     296601AE   1C3FFE01F   0F0F0F00F1   0   0   1   0   1   00     10   01
 96    57    038003F     52CC035C   187FFC03F   1E1E1E01E2   0   1   1   0   0   00     00   10
 97    58    070007F     259806B8   10FFF807F   3C3C3C03C4   0   1   0   0   1   00     00   00
 98    59    0E000FE     4B300D71   01FFF00FE   7878780788   1   0   0   0   1   00     00   00
 99    60    1C001FD     16601AE2   03FFE01FD   70F0F00F10   1   0   0   1   0   01     00   00
100    61    18003FA     2CC035C5   07FFC03FB   61E1E01E21   1   1   0   1   0   11     01   00
101    62    10007F4     59806B8B   0FFF807F7   43C3C03C43   0   1   1   1   0   11     11   01
102    63    0000FE8     3300D717   1FFF00FEE   0787807887   0   0   1   1   1   11     11   11
103    64    0001FD0     6601AE2F   1FFE01FDC   0F0F00F10E   0   0   1   0   0   11     11   11
104    65    0003FA0     4C035C5F   1FFC03FB8   1E1E01E21D   0   0   1   0   0   11     11   11
105    66    0007F40     1806B8BE   1FF807F70   3C3C03C43B   0   0   1   0   0   11     11   11
106    67    000FE81     300D717C   1FF00FEE1   7878078877   0   0   1   0   0   11     11   11
107    68    001FD02     601AE2F8   1FE01FDC2   70F00F10EF   0   0   1   1   1   11     11   11
108    69    003FA05     4035C5F0   1FC03FB84   61E01E21DE   0   0   1   1   1   11     11   11
109    70    007F40B     006B8BE0   1F807F708   43C03C43BC   0   0   1   1   1   11     11   11
110    71    00FE816     00D717C0   1F00FEE11   0780788778   0   1   1   1   0   10     11   11
111    72    01FD02C     01AE2F81   1E01FDC23   0F00F10EF1   0   1   1   0   0   10     10   11
112    73    03FA059     035C5F02   1C03FB847   1E01E21DE3   0   0   1   0   1   10     10   10
113    74    07F40B3     06B8BE05   1807F708F   3C03C43BC7   0   1   1   0   0   01     10   10
114    75    0FE8166     0D717C0B   100FEE11E   780788778F   1   0   0   0   0   01     01   10
115    76    1FD02CD     1AE2F817   001FDC23D   700F10EF1F   1   1   0   0   1   11     01   01
116    77    1FA059B     35C5F02F   003FB847A   601E21DE3F   1   1   0   0   1   10     11   01
117    78    1F40B37     6B8BE05E   007F708F4   403C43BC7F   1   1   0   0   0   10     10   11
118    79    1E8166E     5717C0BD   00FEE11E9   00788778FF   1   0   0   0   1   10     10   10
119    80    1D02CDC     2E2F817A   01FDC23D3   00F10EF1FE   1   0   0   1   0   01     10   10
120    81    1A059B9     5C5F02F5   03FB847A6   01E21DE3FD   1   0   0   1   1   01     01   10
121    82    140B373     38BE05EB   07F708F4C   03C43BC7FB   0   1   0   1   1   11     01   01
122    83    08166E7     717C0BD7   0FEE11E98   0788778FF7   1   0   1   1   0   11     11   01
123    84    102CDCF     62F817AE   1FDC23D31   0F10EF1FEF   0   1   1   0   1   11     11   11
124    85    0059B9F     45F02F5C   1FB847A63   1E21DE3FDE   0   1   1   0   1   11     11   11
125    86    00B373E     0BE05EB9   1F708F4C7   3C43BC7FBC   0   1   1   0   1   11     11   11
126    87    0166E7D     17C0BD72   1EE11E98F   788778FF78   0   1   1   1   0   10     11   11
127    88    02CDCFB     2F817AE5   1DC23D31F   710EF1FEF1   0   1   1   0   0   10     10   11
128    89    059B9F7     5F02F5CA   1B847A63F   621DE3FDE2   0   0   1   0   1   10     10   10
129    90    0B373EF     3E05EB94   1708F4C7F   443BC7FBC4   1   0   0   0   1   10     10   10
130    91    166E7DF     7C0BD728   0E11E98FF   08778FF788   0   0   1   0   1   10     10   10
131    92    0CDCFBE     7817AE50   1C23D31FF   10EF1FEF10   1   0   1   1   1   01     10   10
132    93    19B9F7D     702F5CA1   1847A63FE   21DE3FDE21   1   0   1   1   0   10     01   10
133    94    1373EFB     605EB942   108F4C7FC   43BC7FBC43   0   0   0   1   1   00     10   01
134    95    06E7DF7     40BD7285   011E98FF8   0778FF7886   0   1   0   0   1   01     00   10
135    96    0DCFBEF     017AE50A   023D31FF0   0EF1FEF10D   1   0   0   1   1   00     01   00
136    97    1B9F7DF     02F5CA15   047A63FE1   1DE3FDE21A   1   1   0   1   1   10     00   01
137    98    173EFBF     05EB942B   08F4C7FC3   3BC7FBC434   0   1   1   1   1   00     10   00
138    99    0E7DF7F     0BD72856   11E98FF87   778FF78869   1   1   0   1   1   00     00   10
139   100    1CFBEFF     17AE50AC   03D31FF0F   6F1FEF10D3   1   1   0   0   0   01     00   00
140   101    19F7DFE     2F5CA159   07A63FE1E   5E3FDE21A7   1   0   0   0   0   00     01   00
141   102    13EFBFC     5EB942B3   0F4C7FC3C   3C7FBC434F   0   1   1   0   0   10     00   01
142   103    07DF7F8     3D728566   1E98FF878   78FF78869F   0   0   1   1   0   00     10   00
143   104    0FBEFF0     7AE50ACD   1D31FF0F0   71FEF10D3E   1   1   1   1   0   11     00   10
144   105    1F7DFE1     75CA159B   1A63FE1E1   63FDE21A7D   1   1   1   1   1   00     11   00
145   106    1EFBFC3     6B942B36   14C7FC3C3   47FBC434FB   1   1   0   1   1   11     00   11



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146   107    1DF7F86     5728566D   098FF8786   0FF78869F7   1   0   1   1   0   00     11   00
147   108    1BEFF0C     2E50ACDB   131FF0F0C   1FEF10D3EF   1   0   0   1   0   11     00   11
148   109    17DFE19     5CA159B6   063FE1E19   3FDE21A7DF   0   1   0   1   1   01     11   00
149   110    0FBFC33     3942B36D   0C7FC3C32   7FBC434FBF   1   0   1   1   0   01     01   11
150   111    1F7F866     728566DB   18FF87865   7F78869F7E   1   1   1   0   0   00     01   01
151   112    1EFF0CC     650ACDB6   11FF0F0CB   7EF10D3EFC   1   0   0   1   0   10     00   01
152   113    1DFE199     4A159B6D   03FE1E196   7DE21A7DF9   1   0   0   1   0   00     10   00
153   114    1BFC333     142B36DB   07FC3C32C   7BC434FBF3   1   0   0   1   0   00     00   10
154   115    17F8666     28566DB6   0FF878659   778869F7E6   0   0   1   1   0   01     00   00
155   116    0FF0CCC     50ACDB6D   1FF0F0CB3   6F10D3EFCC   1   1   1   0   0   11     01   00
156   117    1FE1999     2159B6DA   1FE1E1966   5E21A7DF99   1   0   1   0   1   10     11   01
157   118    1FC3332     42B36DB5   1FC3C32CC   3C434FBF33   1   1   1   0   1   10     10   11
158   119    1F86664     0566DB6B   1F8786599   78869F7E67   1   0   1   1   1   01     10   10
159   120    1F0CCC8     0ACDB6D6   1F0F0CB33   710D3EFCCE   1   1   1   0   0   10     01   10
160   121    1E19991     159B6DAC   1E1E19666   621A7DF99D   1   1   1   0   1   11     10   01
161   122    1C33323     2B36DB58   1C3C32CCC   4434FBF33B   1   0   1   0   1   00     11   10
162   123    1866647     566DB6B0   187865999   0869F7E676   1   0   1   0   0   11     00   11
163   124    10CCC8F     2CDB6D60   10F0CB333   10D3EFCCEC   0   1   0   1   1   01     11   00
164   125    019991E     59B6DAC0   01E196666   21A7DF99D9   0   1   0   1   1   10     01   11
165   126    033323C     336DB580   03C32CCCD   434FBF33B3   0   0   0   0   0   00     10   01
166   127    0666478     66DB6B01   07865999A   069F7E6766   0   1   0   1   0   00     00   10
167   128    0CCC8F0     4DB6D603   0F0CB3334   0D3EFCCECD   1   1   1   0   1   01     00   00
168   129    19991E1     1B6DAC07   1E1966669   1A7DF99D9B   1   0   1   0   1   00     01   00
169   130    13323C3     36DB580E   1C32CCCD3   34FBF33B37   0   1   1   1   1   10     00   01
170   131    0664786     6DB6B01C   1865999A7   69F7E6766F   0   1   1   1   1   00     10   00
171   132    0CC8F0D     5B6D6039   10CB3334F   53EFCCECDF   1   0   0   1   0   00     00   10
172   133    1991E1A     36DAC073   01966669E   27DF99D9BF   1   1   0   1   1   01     00   00
173   134    1323C35     6DB580E6   032CCCD3C   4FBF33B37E   0   1   0   1   1   00     01   00
174   135    064786A     5B6B01CD   065999A78   1F7E6766FC   0   0   0   0   0   11     00   01
175   136    0C8F0D5     36D6039B   0CB3334F0   3EFCCECDF9   1   1   1   1   1   00     11   00
176   137    191E1AA     6DAC0737   1966669E1   7DF99D9BF3   1   1   1   1   0   00     00   11
177   138    123C354     5B580E6E   12CCCD3C3   7BF33B37E7   0   0   0   1   1   00     00   00
178   139    04786A9     36B01CDC   05999A787   77E6766FCE   0   1   0   1   0   01     00   00
179   140    08F0D53     6D6039B8   0B3334F0E   6FCCECDF9C   1   0   1   1   0   11     01   00
180   141    11E1AA6     5AC07370   166669E1D   5F99D9BF38   0   1   0   1   1   10     11   01
181   142    03C354C     3580E6E0   0CCCD3C3A   3F33B37E70   0   1   1   0   0   10     10   11
182   143    0786A99     6B01CDC0   1999A7875   7E6766FCE1   0   0   1   0   1   10     10   10
183   144    0F0D533     56039B81   13334F0EB   7CCECDF9C2   1   0   0   1   0   01     10   10
184   145    1E1AA66     2C073703   06669E1D6   799D9BF385   1   0   0   1   1   01     01   10
185   146    1C354CC     580E6E06   0CCD3C3AC   733B37E70B   1   0   1   0   1   11     01   01
186   147    186A998     301CDC0C   199A78759   66766FCE17   1   0   1   0   1   10     11   01
187   148    10D5331     6039B818   1334F0EB2   4CECDF9C2F   0   0   0   1   1   01     10   11
188   149    01AA662     40737031   0669E1D65   19D9BF385E   0   0   0   1   0   01     01   10
189   150    0354CC5     00E6E063   0CD3C3ACB   33B37E70BD   0   1   1   1   0   00     01   01
190   151    06A998A     01CDC0C6   19A787596   6766FCE17B   0   1   1   0   0   10     00   01
191   152    0D53315     039B818C   134F0EB2C   4ECDF9C2F6   1   1   0   1   1   00     10   00
192   153    1AA662A     07370318   069E1D659   1D9BF385ED   1   0   0   1   0   00     00   10
193   154    154CC54     0E6E0630   0D3C3ACB3   3B37E70BDB   0   0   1   0   1   00     00   00
194   155    0A998A8     1CDC0C60   1A7875967   766FCE17B6   1   1   1   0   1   01     00   00
195   156    1533151     39B818C0   14F0EB2CE   6CDF9C2F6C   0   1   0   1   1   00     01   00
196   157    0A662A3     73703180   09E1D659D   59BF385ED8   1   0   1   1   1   10     00   01
197   158    14CC547     66E06301   13C3ACB3A   337E70BDB0   0   1   0   0   1   11     10   00
198   159    0998A8E     4DC0C602   078759675   66FCE17B61   1   1   0   1   0   01     11   10
199   160    133151D     1B818C05   0F0EB2CEB   4DF9C2F6C2   0   1   1   1   0   01     01   11
200   161    0662A3B     3703180B   1E1D659D6   1BF385ED85   0   0   1   1   1   11     01   01
201   162    0CC5477     6E063017   1C3ACB3AC   37E70BDB0B   1   0   1   1   0   11     11   01
202   163    198A8EF     5C0C602F   187596759   6FCE17B617   1   0   1   1   0   10     11   11



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203    164    13151DE    3818C05F   10EB2CEB2   5F9C2F6C2F   0   0   0   1   1   01     10   11
204    165    062A3BC    703180BF   01D659D65   3F385ED85E   0   0   0   0   1   00     01   10
205    166    0C54779    6063017E   03ACB3ACB   7E70BDB0BD   1   0   0   0   1   11     00   01
206    167    18A8EF2    40C602FD   075967597   7CE17B617B   1   1   0   1   0   00     11   00
207    168    1151DE4    018C05FA   0EB2CEB2F   79C2F6C2F7   0   1   1   1   1   11     00   11
208    169    02A3BC9    03180BF5   1D659D65E   7385ED85EE   0   0   1   1   1   01     11   00
209    170    0547793    063017EB   1ACB3ACBC   670BDB0BDC   0   0   1   0   0   10     01   11
210    171    0A8EF27    0C602FD6   159675978   4E17B617B9   1   0   0   0   1   00     10   01
211    172    151DE4E    18C05FAD   0B2CEB2F1   1C2F6C2F73   0   1   1   0   0   00     00   10
212    173    0A3BC9C    3180BF5A   1659D65E3   385ED85EE6   1   1   0   0   0   01     00   00
213    174    1477938    63017EB5   0CB3ACBC6   70BDB0BDCC   0   0   1   1   1   00     01   00
214    175    08EF270    4602FD6A   19675978D   617B617B99   1   0   1   0   0   10     00   01
215    176    11DE4E1    0C05FAD5   12CEB2F1A   42F6C2F733   0   0   0   1   1   11     10   00
216    177    03BC9C3    180BF5AA   059D65E34   05ED85EE67   0   0   0   1   0   00     11   10
217    178    0779387    3017EB55   0B3ACBC68   0BDB0BDCCF   0   0   1   1   0   11     00   11
218    179    0EF270F    602FD6AA   1675978D0   17B617B99F   1   0   0   1   1   01     11   00
219    180    1DE4E1F    405FAD54   0CEB2F1A1   2F6C2F733F   1   0   1   0   1   10     01   11
220    181    1BC9C3F    00BF5AA9   19D65E342   5ED85EE67F   1   1   1   1   0   10     10   01
221    182    179387F    017EB552   13ACBC684   3DB0BDCCFE   0   0   0   1   1   10     10   10
222    183    0F270FF    02FD6AA5   075978D09   7B617B99FC   1   1   0   0   0   01     10   10
223    184    1E4E1FF    05FAD54A   0EB2F1A12   76C2F733F9   1   1   1   1   1   10     01   10
224    185    1C9C3FE    0BF5AA94   1D65E3425   6D85EE67F2   1   1   1   1   0   10     10   01
225    186    19387FD    17EB5529   1ACBC684B   5B0BDCCFE4   1   1   1   0   1   01     10   10
226    187    1270FFA    2FD6AA53   15978D096   3617B99FC9   0   1   0   0   0   01     01   10
227    188    04E1FF5    5FAD54A7   0B2F1A12C   6C2F733F93   0   1   1   0   1   11     01   01
228    189    09C3FEB    3F5AA94E   165E34258   585EE67F27   1   0   0   0   0   10     11   01
229    190    1387FD7    7EB5529C   0CBC684B1   30BDCCFE4F   0   1   1   1   1   10     10   11
230    191    070FFAE    7D6AA538   1978D0962   617B99FC9E   0   0   1   0   1   10     10   10
231    192    0E1FF5C    7AD54A70   12F1A12C4   42F733F93D   1   1   0   1   1   01     10   10
232    193    1C3FEB9    75AA94E1   05E342588   05EE67F27A   1   1   0   1   0   10     01   10
233    194    187FD73    6B5529C3   0BC684B10   0BDCCFE4F4   1   0   1   1   1   11     10   01
234    195    10FFAE6    56AA5386   178D09621   17B99FC9E8   0   1   0   1   1   00     11   10
235    196    01FF5CC    2D54A70C   0F1A12C43   2F733F93D0   0   0   1   0   1   10     00   11
236    197    03FEB98    5AA94E19   1E3425887   5EE67F27A1   0   1   1   1   1   00     10   00
237    198    07FD731    35529C33   1C684B10F   3DCCFE4F42   0   0   1   1   0   00     00   10
238    199    0FFAE63    6AA53866   18D09621F   7B99FC9E84   1   1   1   1   0   10     00   00
239    200    1FF5CC6    554A70CD   11A12C43F   7733F93D09   1   0   0   0   1   11     10   00


Z[0]   = 59
Z[1]   = 3B
Z[2]   = EF
Z[3]   = 07
Z[4]   = 13
Z[5]   = 70
Z[6]   = 9B
Z[7]   = B7
Z[8]   = 52
Z[9]   = 8F
Z[10] = 3E
Z[11] = B9
Z[12] = A5
Z[13] = AC
Z[14] = EA
Z[15] = 9E




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Sample Data

===============================================================================================
         Reload this pattern into the LFSRs
         Hold content of Summation Combiner regs and calculate new C[t+1] and Z values
===============================================================================================
LFSR1   <= 1521359
LFSR2   <= 528F703B
LFSR3   <= 0AC3E9BEF
LFSR4   <= 4FEAB9B707
C[t+1] <= 00


===============================================================================================
         Generating 125 key symbols (encryption/decryption sequence)
===============================================================================================
240      1     1521359   528F703B   0AC3E9BEF   4FEAB9B707   0   1   1   1   1   00     10   00
241      2     0A426B3   251EE076   1587D37DE   1FD5736E0F   1   0   0   1   0   00     00   10
242      3     1484D67   4A3DC0ED   0B0FA6FBD   3FAAE6DC1E   0   0   1   1   0   01     00   00
243      4     0909ACF   147B81DA   161F4DF7A   7F55CDB83D   1   0   0   0   0   00     01   00
244      5     121359E   28F703B5   0C3E9BEF5   7EAB9B707B   0   1   1   1   1   10     00   01
245      6     0426B3C   51EE076B   187D37DEB   7D5736E0F6   0   1   1   0   0   00     10   00
246      7     084D679   23DC0ED6   10FA6FBD7   7AAE6DC1EC   1   1   0   1   1   00     00   10
247      8     109ACF2   47B81DAC   01F4DF7AF   755CDB83D8   0   1   0   0   1   00     00   00
248      9     01359E4   0F703B59   03E9BEF5E   6AB9B707B1   0   0   0   1   1   00     00   00
249     10     026B3C8   1EE076B3   07D37DEBD   55736E0F63   0   1   0   0   1   00     00   00
250     11     04D6791   3DC0ED67   0FA6FBD7A   2AE6DC1EC7   0   1   1   1   1   01     00   00
251     12     09ACF22   7B81DACF   1F4DF7AF4   55CDB83D8F   1   1   1   1   1   11     01   00
252     13     1359E44   7703B59E   1E9BEF5E8   2B9B707B1F   0   0   1   1   1   10     11   01
253     14     06B3C88   6E076B3C   1D37DEBD0   5736E0F63F   0   0   1   0   1   01     10   11
254     15     0D67911   5C0ED678   1A6FBD7A1   2E6DC1EC7E   1   0   1   0   1   01     01   10
255     16     1ACF223   381DACF0   14DF7AF42   5CDB83D8FD   1   0   0   1   1   11     01   01
256     17     159E446   703B59E0   09BEF5E85   39B707B1FA   0   0   1   1   1   10     11   01
257     18     0B3C88C   6076B3C0   137DEBD0A   736E0F63F4   1   0   0   0   1   01     10   11
258     19     1679118   40ED6780   06FBD7A15   66DC1EC7E8   0   1   0   1   1   01     01   10
259     20     0CF2231   01DACF00   0DF7AF42A   4DB83D8FD1   1   1   1   1   1   00     01   01
260     21     19E4463   03B59E01   1BEF5E854   1B707B1FA3   1   1   1   0   1   10     00   01
261     22     13C88C6   076B3C03   17DEBD0A9   36E0F63F47   0   0   0   1   1   11     10   00
262     23     079118C   0ED67807   0FBD7A152   6DC1EC7E8E   0   1   1   1   0   01     11   10
263     24     0F22318   1DACF00E   1F7AF42A4   5B83D8FD1D   1   1   1   1   1   01     01   11
264     25     1E44630   3B59E01C   1EF5E8548   3707B1FA3B   1   0   1   0   1   11     01   01
265     26     1C88C61   76B3C039   1DEBD0A91   6E0F63F477   1   1   1   0   0   11     11   01
266     27     19118C3   6D678073   1BD7A1523   5C1EC7E8EF   1   0   1   0   1   11     11   11
267     28     1223187   5ACF00E6   17AF42A46   383D8FD1DE   0   1   0   0   0   11     11   11
268     29     044630E   359E01CC   0F5E8548D   707B1FA3BD   0   1   1   0   1   11     11   11
269     30     088C61C   6B3C0399   1EBD0A91A   60F63F477B   1   0   1   1   0   10     11   11
270     31     1118C39   56780733   1D7A15234   41EC7E8EF6   0   0   1   1   0   10     10   11
271     32     0231872   2CF00E67   1AF42A468   03D8FD1DEC   0   1   1   1   1   01     10   10
272     33     04630E5   59E01CCE   15E8548D1   07B1FA3BD8   0   1   0   1   1   01     01   10
273     34     08C61CB   33C0399D   0BD0A91A3   0F63F477B1   1   1   1   0   0   00     01   01
274     35     118C396   6780733A   17A152347   1EC7E8EF63   0   1   0   1   0   10     00   01
275     36     031872D   4F00E674   0F42A468E   3D8FD1DEC7   0   0   1   1   0   00     10   00
276     37     0630E5A   1E01CCE8   1E8548D1D   7B1FA3BD8E   0   0   1   0   1   01     00   10
277     38     0C61CB5   3C0399D0   1D0A91A3B   763F477B1C   1   0   1   0   1   00     01   00
278     39     18C396A   780733A0   1A1523477   6C7E8EF639   1   0   1   0   0   10     00   01
279     40     11872D5   700E6741   142A468EF   58FD1DEC72   0   0   0   1   1   11     10   00
280     41     030E5AB   601CCE83   08548D1DF   31FA3BD8E5   0   0   1   1   1   00     11   10
281     42     061CB57   40399D07   10A91A3BF   63F477B1CB   0   0   0   1   1   10     00   11
282     43     0C396AF   00733A0F   01523477E   47E8EF6396   1   0   0   1   0   00     10   00
283     44     1872D5F   00E6741F   02A468EFD   0FD1DEC72C   1   1   0   1   1   00     00   10



Encryption Sample Data                                                                  06 December 2016
                                                                                  Bluetooth SIG Proprietary
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284    45    10E5ABE     01CCE83F   0548D1DFA   1FA3BD8E58   0   1   0   1   0   01     00   00
285    46    01CB57C     0399D07F   0A91A3BF4   3F477B1CB0   0   1   1   0   1   00     01   00
286    47    0396AF9     0733A0FE   1523477E9   7E8EF63961   0   0   0   1   1   11     00   01
287    48    072D5F3     0E6741FD   0A468EFD2   7D1DEC72C3   0   0   1   0   0   01     11   00
288    49    0E5ABE7     1CCE83FA   148D1DFA4   7A3BD8E587   1   1   0   0   1   10     01   11
289    50    1CB57CE     399D07F4   091A3BF49   7477B1CB0F   1   1   1   0   1   11     10   01
290    51    196AF9D     733A0FE9   123477E92   68EF63961E   1   0   0   1   1   00     11   10
291    52    12D5F3B     66741FD2   0468EFD25   51DEC72C3C   0   0   0   1   1   10     00   11
292    53    05ABE77     4CE83FA4   08D1DFA4B   23BD8E5879   0   1   1   1   1   00     10   00
293    54    0B57CEE     19D07F49   11A3BF496   477B1CB0F2   1   1   0   0   0   00     00   10
294    55    16AF9DC     33A0FE92   03477E92C   0EF63961E4   0   1   0   1   0   01     00   00
295    56    0D5F3B8     6741FD25   068EFD259   1DEC72C3C9   1   0   0   1   1   00     01   00
296    57    1ABE771     4E83FA4B   0D1DFA4B3   3BD8E58793   1   1   1   1   0   01     00   01
297    58    157CEE2     1D07F496   1A3BF4967   77B1CB0F26   0   0   1   1   1   00     01   00
298    59    0AF9DC5     3A0FE92D   1477E92CE   6F63961E4D   1   0   0   0   1   11     00   01
299    60    15F3B8B     741FD25A   08EFD259C   5EC72C3C9B   0   0   1   1   1   01     11   00
300    61    0BE7716     683FA4B4   11DFA4B39   3D8E587937   1   0   0   1   1   10     01   11
301    62    17CEE2D     507F4968   03BF49672   7B1CB0F26E   0   0   0   0   0   00     10   01
302    63    0F9DC5B     20FE92D0   077E92CE4   763961E4DC   1   1   0   0   0   00     00   10
303    64    1F3B8B6     41FD25A0   0EFD259C9   6C72C3C9B9   1   1   1   0   1   01     00   00
304    65    1E7716D     03FA4B40   1DFA4B393   58E5879373   1   1   1   1   1   11     01   00
305    66    1CEE2DB     07F49680   1BF496727   31CB0F26E6   1   1   1   1   1   11     11   01
306    67    19DC5B7     0FE92D00   17E92CE4E   63961E4DCD   1   1   0   1   0   10     11   11
307    68    13B8B6F     1FD25A00   0FD259C9C   472C3C9B9A   0   1   1   0   0   10     10   11
308    69    07716DF     3FA4B400   1FA4B3938   0E58793735   0   1   1   0   0   01     10   10
309    70    0EE2DBF     7F496800   1F4967271   1CB0F26E6A   1   0   1   1   0   10     01   10
310    71    1DC5B7F     7E92D000   1E92CE4E2   3961E4DCD4   1   1   1   0   1   11     10   01
311    72    1B8B6FF     7D25A001   1D259C9C4   72C3C9B9A9   1   0   1   1   0   01     11   10
312    73    1716DFF     7A4B4002   1A4B39389   6587937352   0   0   1   1   1   10     01   11
313    74    0E2DBFF     74968005   149672713   4B0F26E6A5   1   1   0   0   0   11     10   01
314    75    1C5B7FE     692D000B   092CE4E26   161E4DCD4B   1   0   1   0   1   00     11   10
315    76    18B6FFC     525A0017   1259C9C4D   2C3C9B9A96   1   0   0   0   1   10     00   11
316    77    116DFF8     24B4002F   04B39389B   587937352C   0   1   0   0   1   11     10   00
317    78    02DBFF1     4968005F   096727136   30F26E6A58   0   0   1   1   1   00     11   10
318    79    05B7FE3     12D000BF   12CE4E26C   61E4DCD4B1   0   1   0   1   0   11     00   11
319    80    0B6FFC7     25A0017F   059C9C4D8   43C9B9A963   1   1   0   1   0   00     11   00
320    81    16DFF8E     4B4002FF   0B39389B1   07937352C6   0   0   1   1   0   11     00   11
321    82    0DBFF1C     168005FF   167271363   0F26E6A58C   1   1   0   0   1   01     11   00
322    83    1B7FE38     2D000BFF   0CE4E26C7   1E4DCD4B18   1   0   1   0   1   10     01   11
323    84    16FFC70     5A0017FF   19C9C4D8F   3C9B9A9631   0   0   1   1   0   11     10   01
324    85    0DFF8E1     34002FFF   139389B1E   7937352C62   1   0   0   0   0   00     11   10
325    86    1BFF1C3     68005FFF   07271363D   726E6A58C4   1   0   0   0   1   10     00   11
326    87    17FE387     5000BFFE   0E4E26C7B   64DCD4B188   0   0   1   1   0   00     10   00
327    88    0FFC70F     20017FFD   1C9C4D8F6   49B9A96311   1   0   1   1   1   00     00   10
328    89    1FF8E1F     4002FFFB   19389B1ED   137352C623   1   0   1   0   0   01     00   00
329    90    1FF1C3F     0005FFF7   1271363DB   26E6A58C46   1   0   0   1   1   00     01   00
330    91    1FE387F     000BFFEE   04E26C7B6   4DCD4B188C   1   0   0   1   0   10     00   01
331    92    1FC70FF     0017FFDC   09C4D8F6D   1B9A963118   1   0   1   1   1   00     10   00
332    93    1F8E1FF     002FFFB8   1389B1EDA   37352C6231   1   0   0   0   1   01     00   10
333    94    1F1C3FF     005FFF70   071363DB4   6E6A58C462   1   0   0   0   0   00     01   00
334    95    1E387FE     00BFFEE0   0E26C7B68   5CD4B188C5   1   1   1   1   0   01     00   01
335    96    1C70FFC     017FFDC1   1C4D8F6D1   39A963118A   1   0   1   1   0   11     01   00
336    97    18E1FF9     02FFFB82   189B1EDA2   7352C62315   1   1   1   0   0   11     11   01
337    98    11C3FF2     05FFF705   11363DB45   66A58C462B   0   1   0   1   1   11     11   11
338    99    0387FE4     0BFFEE0A   026C7B68B   4D4B188C56   0   1   0   0   0   11     11   11
339   100    070FFC9     17FFDC15   04D8F6D16   1A963118AD   0   1   0   1   1   11     11   11
340   101    0E1FF92     2FFFB82B   09B1EDA2C   352C62315A   1   1   1   0   0   10     11   11



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                                                                                  Bluetooth SIG Proprietary
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Sample Data

341   102    1C3FF24     5FFF7057   1363DB458   6A58C462B4   1   1   0   0   0   10     10   11
342   103    187FE48     3FFEE0AE   06C7B68B0   54B188C569   1   1   0   1   1   01     10   10
343   104    10FFC90     7FFDC15C   0D8F6D161   2963118AD2   0   1   1   0   1   01     01   10
344   105    01FF920     7FFB82B9   1B1EDA2C2   52C62315A5   0   1   1   1   0   00     01   01
345   106    03FF240     7FF70573   163DB4584   258C462B4B   0   1   0   1   0   10     00   01
346   107    07FE481     7FEE0AE6   0C7B68B08   4B188C5696   0   1   1   0   0   00     10   00
347   108    0FFC902     7FDC15CD   18F6D1610   163118AD2D   1   1   1   0   1   00     00   10
348   109    1FF9204     7FB82B9A   11EDA2C20   2C62315A5B   1   1   0   0   0   01     00   00
349   110    1FF2408     7F705735   03DB45841   58C462B4B6   1   0   0   1   1   00     01   00
350   111    1FE4810     7EE0AE6B   07B68B082   3188C5696C   1   1   0   1   1   10     00   01
351   112    1FC9021     7DC15CD6   0F6D16105   63118AD2D8   1   1   1   0   1   00     10   00
352   113    1F92042     7B82B9AD   1EDA2C20B   462315A5B0   1   1   1   0   1   00     00   10
353   114    1F24084     7705735A   1DB458416   0C462B4B61   1   0   1   0   0   01     00   00
354   115    1E48108     6E0AE6B5   1B68B082C   188C5696C3   1   0   1   1   0   11     01   00
355   116    1C90211     5C15CD6A   16D161059   3118AD2D86   1   0   0   0   0   10     11   01
356   117    1920422     382B9AD5   0DA2C20B3   62315A5B0D   1   0   1   0   0   10     10   11
357   118    1240845     705735AA   1B4584167   4462B4B61A   0   0   1   0   1   10     10   10
358   119    048108A     60AE6B55   168B082CF   08C5696C34   0   1   0   1   0   01     10   10
359   120    0902114     415CD6AB   0D161059E   118AD2D869   1   0   1   1   0   10     01   10
360   121    1204228     02B9AD56   1A2C20B3D   2315A5B0D2   0   1   1   0   0   11     10   01
361   122    0408451     05735AAD   14584167B   462B4B61A4   0   0   0   0   1   11     11   10
362   123    08108A2     0AE6B55B   08B082CF7   0C5696C348   1   1   1   0   0   10     11   11
363   124    1021144     15CD6AB6   1161059EF   18AD2D8690   0   1   0   1   0   10     10   11
364   125    0042289     2B9AD56C   02C20B3DE   315A5B0D20   0   1   0   0   1   10     10   10




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Sample Data

1.1.5 Fourth Set of Samples

Initial values for the key, pan address and clock


K’c4[0]        = 21     K’c4[1]    = 87      K’c4[2]       = F0     K’c4[3]        = 4A
K’c4[4]        = BA     K’c4[5]    = 90      K’c4[6]       = 31     K’c4[7]        = D0
K’c4[8]        = 78     K’c4[9]    = 0D      K’c4[10]      = 4C     K’c4[11] = 53
K’c4[12]       = E0     K’c4[13]   = 15      K’c4[14]      = 3A     K’c4[15] = 63


Addr4[0] = 2C          Addr4[1] = 7F        Addr4[2] = 94
Addr4[3] = 56          Addr4[4] = 0F        Addr4[5] = 1B


CL4[0]     = 5F       CL4[1]    = 1A      CL4[2]   = 00       CL4[3]    = 02




===============================================================================================
           Fill LFSRs with initial data
===============================================================================================


  t   clk#        LFSR1        LFSR2       LFSR3          LFSR4                X1 X2 X3 X4     Z   C[t+1] C[t] C[t-1]


  0        0      0000000* 00000000* 000000000* 0000000000*                    0   0   0   0   0   00     00   00
  1        1      0000000* 00000001* 000000001* 0000000001*                    0   0   0   0   0   00     00   00
  2        2      0000001* 00000002* 000000002* 0000000003*                    0   0   0   0   0   00     00   00
  3        3      0000002* 00000004* 000000004* 0000000007*                    0   0   0   0   0   00     00   00
  4        4      0000004* 00000009* 000000008* 000000000F*                    0   0   0   0   0   00     00   00
  5        5      0000008* 00000013* 000000010* 000000001E*                    0   0   0   0   0   00     00   00
  6        6      0000010* 00000027* 000000021* 000000003D*                    0   0   0   0   0   00     00   00
  7        7      0000021* 0000004F* 000000043* 000000007A*                    0   0   0   0   0   00     00   00
  8        8      0000042* 0000009F* 000000087* 00000000F4*                    0   0   0   0   0   00     00   00
  9        9      0000084* 0000013F* 00000010F* 00000001E9*                    0   0   0   0   0   00     00   00
 10       10      0000108* 0000027F* 00000021F* 00000003D2*                    0   0   0   0   0   00     00   00
 11       11      0000211* 000004FE* 00000043E* 00000007A5*                    0   0   0   0   0   00     00   00
 12       12      0000422* 000009FC* 00000087C* 0000000F4A*                    0   0   0   0   0   00     00   00
 13       13      0000845* 000013F8* 0000010F8* 0000001E94*                    0   0   0   0   0   00     00   00
 14       14      000108B* 000027F0* 0000021F1* 0000003D29*                    0   0   0   0   0   00     00   00
 15       15      0002117* 00004FE1* 0000043E3* 0000007A52*                    0   0   0   0   0   00     00   00
 16       16      000422E* 00009FC2* 0000087C6* 000000F4A4*                    0   0   0   0   0   00     00   00
 17       17      000845D* 00013F84* 000010F8C* 000001E948*                    0   0   0   0   0   00     00   00
 18       18      00108BA* 00027F08* 000021F18* 000003D290*                    0   0   0   0   0   00     00   00
 19       19      0021174* 0004FE10* 000043E30* 000007A520*                    0   0   0   0   0   00     00   00
 20       20      00422E8* 0009FC21* 000087C61* 00000F4A41*                    0   0   0   0   0   00     00   00
 21       21      00845D1* 0013F842* 00010F8C3* 00001E9482*                    0   0   0   0   0   00     00   00
 22       22      0108BA3* 0027F084* 00021F186* 00003D2905*                    0   0   0   0   0   00     00   00
 23       23      0211747* 004FE109* 00043E30C* 00007A520B*                    0   0   0   0   0   00     00   00
 24       24      0422E8F* 009FC213* 00087C619* 0000F4A417*                    0   1   0   0   1   00     00   00
 25       25      0845D1E* 013F8426* 0010F8C32* 0001E9482F*                    1   0   0   0   1   00     00   00
 26       26      108BA3D      027F084D* 0021F1864* 0003D2905E*                0   0   0   0   0   00     00   00
 27       27      011747B      04FE109B* 0043E30C9* 0007A520BC*                0   1   0   0   1   00     00   00
 28       28      022E8F6      09FC2136* 0087C6192* 000F4A4179*                0   1   0   0   1   00     00   00
 29       29      045D1EC      13F8426C* 010F8C325* 001E9482F2*                0   1   0   0   1   00     00   00
 30       30      08BA3D9      27F084D8* 021F1864B* 003D2905E5*                1   1   0   0   0   01     00   00
 31       31      11747B3      4FE109B0* 043E30C97* 007A520BCA*                0   1   0   0   1   00     00   00
 32       32      02E8F67      1FC21360    087C6192E* 00F4A41795*              0   1   1   1   1   01     00   00
 33       33      05D1ECF      3F8426C1    10F8C325C* 01E9482F2B*              0   1   0   1   0   01     00   00
 34       34      0BA3D9F      7F084D82    01F1864B8      03D2905E56*          1   0   0   1   0   01     00   00


Encryption Sample Data                                                                                    06 December 2016
                                                                                                    Bluetooth SIG Proprietary
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Sample Data

 35    35    1747B3E     7E109B04   03E30C970   07A520BCAC*   0   0   0   1   1   00     00   00
 36    36    0E8F67C     7C213608   07C6192E1   0F4A417958*   1   0   0   0   1   00     00   00
 37    37    1D1ECF8     78426C11   0F8C325C3   1E9482F2B1*   1   0   1   1   1   01     00   00
 38    38    1A3D9F0     7084D822   1F1864B86   3D2905E563*   1   1   1   0   1   01     00   00
 39    39    147B3E1     6109B044   1E30C970C   7A520BCAC6*   0   0   1   0   1   00     00   00
===============================================================================================
         Start clocking Summation Combiner
===============================================================================================
 40     1    08F67C2     42136088   1C6192E18   74A417958D    1   0   1   1   1   01     00   00
 41     2    11ECF84     0426C111   18C325C30   69482F2B1B    0   0   1   0   0   00     01   00
 42     3    03D9F08     084D8222   11864B861   52905E5637    0   0   0   1   1   11     00   01
 43     4    07B3E10     109B0444   030C970C3   2520BCAC6E    0   1   0   0   0   01     11   00
 44     5    0F67C21     21360889   06192E186   4A417958DC    1   0   0   0   0   10     01   11
 45     6    1ECF843     426C1112   0C325C30C   1482F2B1B8    1   0   1   1   1   11     10   01
 46     7    1D9F086     04D82225   1864B8619   2905E56370    1   1   1   0   0   01     11   10
 47     8    1B3E10D     09B0444B   10C970C32   520BCAC6E1    1   1   0   0   1   10     01   11
 48     9    167C21B     13608897   0192E1865   2417958DC3    0   0   0   0   0   00     10   01
 49    10    0CF8436     26C1112F   0325C30CB   482F2B1B87    1   1   0   0   0   00     00   10
 50    11    19F086D     4D82225E   064B86197   105E56370F    1   1   0   0   0   01     00   00
 51    12    13E10DB     1B0444BC   0C970C32F   20BCAC6E1F    0   0   1   1   1   00     01   00
 52    13    07C21B7     36088979   192E1865E   417958DC3F    0   0   1   0   1   11     00   01
 53    14    0F8436E     6C1112F2   125C30CBD   02F2B1B87F    1   0   0   1   1   01     11   00
 54    15    1F086DD     582225E4   04B86197B   05E56370FF    1   0   0   1   1   10     01   11
 55    16    1E10DBA     30444BC9   0970C32F7   0BCAC6E1FF    1   0   1   1   1   11     10   01
 56    17    1C21B75     60889793   12E1865EE   17958DC3FF    1   1   0   1   0   01     11   10
 57    18    18436EA     41112F27   05C30CBDD   2F2B1B87FF    1   0   0   0   0   10     01   11
 58    19    1086DD4     02225E4E   0B86197BA   5E56370FFF    0   0   1   0   1   00     10   01
 59    20    010DBA8     0444BC9D   170C32F74   3CAC6E1FFF    0   0   0   1   1   01     00   10
 60    21    021B750     0889793A   0E1865EE8   7958DC3FFF    0   1   1   0   1   00     01   00
 61    22    0436EA0     1112F274   1C30CBDD0   72B1B87FFE    0   0   1   1   0   10     00   01
 62    23    086DD40     2225E4E9   186197BA1   656370FFFC    1   0   1   0   0   00     10   00
 63    24    10DBA81     444BC9D3   10C32F743   4AC6E1FFF8    0   0   0   1   1   01     00   10
 64    25    01B7502     089793A7   01865EE86   158DC3FFF1    0   1   0   1   1   00     01   00
 65    26    036EA05     112F274E   030CBDD0D   2B1B87FFE3    0   0   0   0   0   11     00   01
 66    27    06DD40B     225E4E9C   06197BA1A   56370FFFC6    0   0   0   0   1   10     11   00
 67    28    0DBA817     44BC9D39   0C32F7434   2C6E1FFF8D    1   1   1   0   1   10     10   11
 68    29    1B7502E     09793A72   1865EE868   58DC3FFF1B    1   0   1   1   1   01     10   10
 69    30    16EA05D     12F274E5   10CBDD0D0   31B87FFE36    0   1   0   1   1   01     01   10
 70    31    0DD40BA     25E4E9CB   0197BA1A1   6370FFFC6D    1   1   0   0   1   11     01   01
 71    32    1BA8174     4BC9D397   032F74343   46E1FFF8DA    1   1   0   1   0   11     11   01
 72    33    17502E8     1793A72F   065EE8687   0DC3FFF1B4    0   1   0   1   1   11     11   11
 73    34    0EA05D0     2F274E5E   0CBDD0D0F   1B87FFE369    1   0   1   1   0   10     11   11
 74    35    1D40BA0     5E4E9CBD   197BA1A1F   370FFFC6D2    1   0   1   0   0   10     10   11
 75    36    1A81741     3C9D397B   12F74343F   6E1FFF8DA5    1   1   0   0   0   01     10   10
 76    37    1502E82     793A72F6   05EE8687F   5C3FFF1B4B    0   0   0   0   1   00     01   10
 77    38    0A05D05     7274E5ED   0BDD0D0FF   387FFE3696    1   0   1   0   0   10     00   01
 78    39    140BA0B     64E9CBDA   17BA1A1FF   70FFFC6D2C    0   1   0   1   0   00     10   00
 79    40    0817416     49D397B4   0F74343FE   61FFF8DA59    1   1   1   1   0   11     00   10
 80    41    102E82C     13A72F69   1EE8687FD   43FFF1B4B3    0   1   1   1   0   00     11   00
 81    42    005D058     274E5ED2   1DD0D0FFA   07FFE36966    0   0   1   1   0   11     00   11
 82    43    00BA0B0     4E9CBDA5   1BA1A1FF5   0FFFC6D2CD    0   1   1   1   0   00     11   00
 83    44    0174160     1D397B4A   174343FEA   1FFF8DA59B    0   0   0   1   1   10     00   11
 84    45    02E82C0     3A72F695   0E8687FD4   3FFF1B4B37    0   0   1   1   0   00     10   00
 85    46    05D0580     74E5ED2B   1D0D0FFA9   7FFE36966E    0   1   1   1   1   00     00   10
 86    47    0BA0B00     69CBDA56   1A1A1FF53   7FFC6D2CDC    1   1   1   1   0   10     00   00
 87    48    1741600     5397B4AC   14343FEA6   7FF8DA59B8    0   1   0   1   0   00     10   00
 88    49    0E82C01     272F6959   08687FD4D   7FF1B4B370    1   0   1   1   1   00     00   10



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 89    50    1D05802     4E5ED2B3   10D0FFA9A   7FE36966E0   1   0   0   1   0   01     00   00
 90    51    1A0B004     1CBDA566   01A1FF535   7FC6D2CDC0   1   1   0   1   0   11     01   00
 91    52    1416009     397B4ACC   0343FEA6B   7F8DA59B80   0   0   0   1   0   10     11   01
 92    53    082C013     72F69599   0687FD4D7   7F1B4B3701   1   1   0   0   0   10     10   11
 93    54    1058026     65ED2B33   0D0FFA9AF   7E36966E03   0   1   1   0   0   01     10   10
 94    55    00B004D     4BDA5667   1A1FF535E   7C6D2CDC06   0   1   1   0   1   01     01   10
 95    56    016009B     17B4ACCE   143FEA6BD   78DA59B80D   0   1   0   1   1   11     01   01
 96    57    02C0137     2F69599D   087FD4D7B   71B4B3701A   0   0   1   1   1   10     11   01
 97    58    058026F     5ED2B33B   10FFA9AF6   636966E034   0   1   0   0   1   01     10   11
 98    59    0B004DF     3DA56677   01FF535ED   46D2CDC068   1   1   0   1   0   10     01   10
 99    60    16009BF     7B4ACCEF   03FEA6BDB   0DA59B80D0   0   0   0   1   1   00     10   01
100    61    0C0137F     769599DF   07FD4D7B7   1B4B3701A1   1   1   0   0   0   00     00   10
101    62    18026FE     6D2B33BE   0FFA9AF6E   36966E0342   1   0   1   1   1   01     00   00
102    63    1004DFC     5A56677D   1FF535EDD   6D2CDC0684   0   0   1   0   0   00     01   00
103    64    0009BF9     34ACCEFB   1FEA6BDBB   5A59B80D09   0   1   1   0   0   10     00   01
104    65    00137F2     69599DF7   1FD4D7B76   34B3701A12   0   0   1   1   0   00     10   00
105    66    0026FE5     52B33BEF   1FA9AF6EC   6966E03424   0   1   1   0   0   00     00   10
106    67    004DFCA     256677DF   1F535EDD8   52CDC06848   0   0   1   1   0   01     00   00
107    68    009BF94     4ACCEFBE   1EA6BDBB0   259B80D091   0   1   1   1   0   11     01   00
108    69    0137F29     1599DF7C   1D4D7B760   4B3701A123   0   1   1   0   1   10     11   01
109    70    026FE53     2B33BEF9   1A9AF6EC0   166E034246   0   0   1   0   1   01     10   11
110    71    04DFCA7     56677DF2   1535EDD81   2CDC06848D   0   0   0   1   0   01     01   10
111    72    09BF94F     2CCEFBE4   0A6BDBB03   59B80D091B   1   1   1   1   1   00     01   01
112    73    137F29E     599DF7C9   14D7B7607   33701A1236   0   1   0   0   1   11     00   01
113    74    06FE53C     333BEF93   09AF6EC0E   66E034246C   0   0   1   1   1   01     11   00
114    75    0DFCA79     6677DF26   135EDD81D   4DC06848D8   1   0   0   1   1   10     01   11
115    76    1BF94F2     4CEFBE4D   06BDBB03B   1B80D091B1   1   1   0   1   1   11     10   01
116    77    17F29E5     19DF7C9A   0D7B76077   3701A12363   0   1   1   0   1   00     11   10
117    78    0FE53CA     33BEF934   1AF6EC0EF   6E034246C6   1   1   1   0   1   11     00   11
118    79    1FCA794     677DF269   15EDD81DF   5C06848D8C   1   0   0   0   0   01     11   00
119    80    1F94F29     4EFBE4D2   0BDBB03BE   380D091B19   1   1   1   0   0   01     01   11
120    81    1F29E53     1DF7C9A5   17B76077D   701A123633   1   1   0   0   1   11     01   01
121    82    1E53CA6     3BEF934B   0F6EC0EFB   6034246C66   1   1   1   0   0   11     11   01
122    83    1CA794D     77DF2696   1EDD81DF6   406848D8CD   1   1   1   0   0   10     11   11
123    84    194F29B     6FBE4D2C   1DBB03BED   00D091B19B   1   1   1   1   0   11     10   11
124    85    129E536     5F7C9A59   1B76077DA   01A1236337   0   0   1   1   1   00     11   10
125    86    053CA6C     3EF934B3   16EC0EFB4   034246C66E   0   1   0   0   1   10     00   11
126    87    0A794D9     7DF26967   0DD81DF69   06848D8CDD   1   1   1   1   0   01     10   00
127    88    14F29B3     7BE4D2CF   1BB03BED3   0D091B19BB   0   1   1   0   1   01     01   10
128    89    09E5366     77C9A59F   176077DA6   1A12363377   1   1   0   0   1   11     01   01
129    90    13CA6CD     6F934B3F   0EC0EFB4D   34246C66EF   0   1   1   0   1   10     11   01
130    91    0794D9B     5F26967F   1D81DF69A   6848D8CDDF   0   0   1   0   1   01     10   11
131    92    0F29B37     3E4D2CFE   1B03BED35   5091B19BBE   1   0   1   1   0   10     01   10
132    93    1E5366F     7C9A59FD   16077DA6B   212363377C   1   1   0   0   0   11     10   01
133    94    1CA6CDF     7934B3FB   0C0EFB4D6   4246C66EF9   1   0   1   0   1   00     11   10
134    95    194D9BE     726967F6   181DF69AD   048D8CDDF2   1   0   1   1   1   11     00   11
135    96    129B37D     64D2CFED   103BED35B   091B19BBE5   0   1   0   0   0   01     11   00
136    97    05366FA     49A59FDA   0077DA6B7   12363377CA   0   1   0   0   0   10     01   11
137    98    0A6CDF5     134B3FB4   00EFB4D6E   246C66EF95   1   0   0   0   1   00     10   01
138    99    14D9BEA     26967F69   01DF69ADD   48D8CDDF2B   0   1   0   1   0   00     00   10
139   100    09B37D4     4D2CFED2   03BED35BB   11B19BBE56   1   0   0   1   0   01     00   00
140   101    1366FA8     1A59FDA5   077DA6B77   2363377CAC   0   0   0   0   1   01     01   00
141   102    06CDF51     34B3FB4A   0EFB4D6EF   46C66EF959   0   1   1   1   0   00     01   01
142   103    0D9BEA2     6967F695   1DF69ADDF   0D8CDDF2B2   1   0   1   1   1   10     00   01
143   104    1B37D45     52CFED2A   1BED35BBF   1B19BBE564   1   1   1   0   1   00     10   00
144   105    166FA8A     259FDA54   17DA6B77E   363377CAC8   0   1   0   0   1   01     00   10
145   106    0CDF515     4B3FB4A9   0FB4D6EFC   6C66EF9591   1   0   1   0   1   00     01   00



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146   107    19BEA2B     167F6952   1F69ADDF8   58CDDF2B22   1   0   1   1   1   10     00   01
147   108    137D457     2CFED2A5   1ED35BBF1   319BBE5645   0   1   1   1   1   00     10   00
148   109    06FA8AF     59FDA54A   1DA6B77E2   63377CAC8B   0   1   1   0   0   00     00   10
149   110    0DF515F     33FB4A95   1B4D6EFC4   466EF95916   1   1   1   0   1   01     00   00
150   111    1BEA2BF     67F6952A   169ADDF88   0CDDF2B22C   1   1   0   1   0   11     01   00
151   112    17D457F     4FED2A55   0D35BBF10   19BBE56459   0   1   1   1   0   11     11   01
152   113    0FA8AFE     1FDA54AB   1A6B77E20   3377CAC8B3   1   1   1   0   0   10     11   11
153   114    1F515FD     3FB4A957   14D6EFC40   66EF959166   1   1   0   1   1   10     10   11
154   115    1EA2BFA     7F6952AF   09ADDF880   4DDF2B22CC   1   0   1   1   1   01     10   10
155   116    1D457F4     7ED2A55F   135BBF100   1BBE564598   1   1   0   1   0   10     01   10
156   117    1A8AFE8     7DA54ABF   06B77E200   377CAC8B31   1   1   0   0   0   11     10   01
157   118    1515FD0     7B4A957F   0D6EFC401   6EF9591663   0   0   1   1   1   00     11   10
158   119    0A2BFA1     76952AFE   1ADDF8803   5DF2B22CC7   1   1   1   1   0   00     00   11
159   120    1457F42     6D2A55FD   15BBF1007   3BE564598E   0   0   0   1   1   00     00   00
160   121    08AFE84     5A54ABFB   0B77E200F   77CAC8B31C   1   0   1   1   1   01     00   00
161   122    115FD09     34A957F7   16EFC401F   6F95916639   0   1   0   1   1   00     01   00
162   123    02BFA12     6952AFEF   0DDF8803E   5F2B22CC73   0   0   1   0   1   11     00   01
163   124    057F424     52A55FDF   1BBF1007D   3E564598E7   0   1   1   0   1   01     11   00
164   125    0AFE848     254ABFBF   177E200FA   7CAC8B31CF   1   0   0   1   1   10     01   11
165   126    15FD090     4A957F7E   0EFC401F5   795916639E   0   1   1   0   0   11     10   01
166   127    0BFA121     152AFEFD   1DF8803EA   72B22CC73C   1   0   1   1   0   01     11   10
167   128    17F4243     2A55FDFA   1BF1007D4   6564598E78   0   0   1   0   0   10     01   11
168   129    0FE8486     54ABFBF4   17E200FA8   4AC8B31CF0   1   1   0   1   1   11     10   01
169   130    1FD090C     2957F7E8   0FC401F51   15916639E1   1   0   1   1   0   01     11   10
170   131    1FA1219     52AFEFD1   1F8803EA3   2B22CC73C2   1   1   1   0   0   01     01   11
171   132    1F42432     255FDFA2   1F1007D47   564598E785   1   0   1   0   1   11     01   01
172   133    1E84865     4ABFBF44   1E200FA8F   2C8B31CF0B   1   1   1   1   1   11     11   01
173   134    1D090CB     157F7E88   1C401F51E   5916639E17   1   0   1   0   1   11     11   11
174   135    1A12196     2AFEFD11   18803EA3C   322CC73C2E   1   1   1   0   0   10     11   11
175   136    142432C     55FDFA23   11007D479   64598E785C   0   1   0   0   1   01     10   11
176   137    0848659     2BFBF446   0200FA8F2   48B31CF0B9   1   1   0   1   0   10     01   10
177   138    1090CB2     57F7E88C   0401F51E4   116639E173   0   1   0   0   1   00     10   01
178   139    0121964     2FEFD118   0803EA3C8   22CC73C2E6   0   1   1   1   1   00     00   10
179   140    02432C9     5FDFA230   1007D4791   4598E785CD   0   1   0   1   0   01     00   00
180   141    0486593     3FBF4461   000FA8F23   0B31CF0B9B   0   1   0   0   0   00     01   00
181   142    090CB26     7F7E88C3   001F51E47   16639E1736   1   0   0   0   1   11     00   01
182   143    121964D     7EFD1187   003EA3C8F   2CC73C2E6C   0   1   0   1   1   01     11   00
183   144    0432C9B     7DFA230E   007D4791E   598E785CD8   0   1   0   1   1   10     01   11
184   145    0865936     7BF4461C   00FA8F23C   331CF0B9B0   1   1   0   0   0   11     10   01
185   146    10CB26D     77E88C38   01F51E479   6639E17361   0   1   0   0   0   00     11   10
186   147    01964DA     6FD11870   03EA3C8F2   4C73C2E6C2   0   1   0   0   1   10     00   11
187   148    032C9B4     5FA230E1   07D4791E4   18E785CD84   0   1   0   1   0   00     10   00
188   149    0659368     3F4461C2   0FA8F23C9   31CF0B9B09   0   0   1   1   0   00     00   10
189   150    0CB26D0     7E88C384   1F51E4793   639E173612   1   1   1   1   0   10     00   00
190   151    1964DA0     7D118709   1EA3C8F27   473C2E6C24   1   0   1   0   0   00     10   00
191   152    12C9B41     7A230E12   1D4791E4E   0E785CD848   0   0   1   0   1   01     00   10
192   153    0593683     74461C24   1A8F23C9C   1CF0B9B091   0   0   1   1   1   00     01   00
193   154    0B26D06     688C3848   151E47938   39E1736123   1   1   0   1   1   10     00   01
194   155    164DA0D     51187091   0A3C8F271   73C2E6C247   0   0   1   1   0   00     10   00
195   156    0C9B41A     2230E123   14791E4E3   6785CD848F   1   0   0   1   0   00     00   10
196   157    1936835     4461C247   08F23C9C6   4F0B9B091E   1   0   1   0   0   01     00   00
197   158    126D06A     08C3848E   11E47938D   1E1736123C   0   1   0   0   0   00     01   00
198   159    04DA0D5     1187091C   03C8F271B   3C2E6C2478   0   1   0   0   1   11     00   01
199   160    09B41AA     230E1238   0791E4E37   785CD848F1   1   0   0   0   0   01     11   00
200   161    1368354     461C2470   0F23C9C6F   70B9B091E3   0   0   1   1   1   10     01   11
201   162    06D06A9     0C3848E1   1E47938DF   61736123C6   0   0   1   0   1   00     10   01
202   163    0DA0D52     187091C3   1C8F271BE   42E6C2478D   1   0   1   1   1   00     00   10



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203    164    1B41AA4    30E12387   191E4E37C   05CD848F1A   1   1   1   1   0   10     00   00
204    165    1683549    61C2470F   123C9C6F9   0B9B091E34   0   1   0   1   0   00     10   00
205    166    0D06A92    43848E1E   047938DF3   1736123C68   1   1   0   0   0   00     00   10
206    167    1A0D524    07091C3C   08F271BE7   2E6C2478D1   1   0   1   0   0   01     00   00
207    168    141AA49    0E123879   11E4E37CF   5CD848F1A2   0   0   0   1   0   00     01   00
208    169    0835492    1C2470F3   03C9C6F9F   39B091E345   1   0   0   1   0   10     00   01
209    170    106A925    3848E1E6   07938DF3F   736123C68B   0   0   0   0   0   11     10   00
210    171    00D524A    7091C3CD   0F271BE7E   66C2478D16   0   1   1   1   0   01     11   10
211    172    01AA495    6123879B   1E4E37CFD   4D848F1A2D   0   0   1   1   1   10     01   11
212    173    035492A    42470F36   1C9C6F9FB   1B091E345B   0   0   1   0   1   00     10   01
213    174    06A9255    048E1E6C   1938DF3F6   36123C68B7   0   1   1   0   0   00     00   10
214    175    0D524AB    091C3CD8   1271BE7EC   6C2478D16E   1   0   0   0   1   00     00   00
215    176    1AA4957    123879B1   04E37CFD8   5848F1A2DD   1   0   0   0   1   00     00   00
216    177    15492AF    2470F363   09C6F9FB0   3091E345BA   0   0   1   1   0   01     00   00
217    178    0A9255E    48E1E6C7   138DF3F61   6123C68B75   1   1   0   0   1   00     01   00
218    179    1524ABD    11C3CD8F   071BE7EC3   42478D16EB   0   1   0   0   1   11     00   01
219    180    0A4957B    23879B1F   0E37CFD87   048F1A2DD6   1   1   1   1   1   00     11   00
220    181    1492AF6    470F363F   1C6F9FB0E   091E345BAD   0   0   1   0   1   10     00   11
221    182    09255EC    0E1E6C7F   18DF3F61D   123C68B75B   1   0   1   0   0   00     10   00
222    183    124ABD9    1C3CD8FF   11BE7EC3A   2478D16EB6   0   0   0   0   0   01     00   10
223    184    04957B3    3879B1FE   037CFD874   48F1A2DD6D   0   0   0   1   0   00     01   00
224    185    092AF66    70F363FD   06F9FB0E9   11E345BADB   1   1   0   1   1   10     00   01
225    186    1255ECD    61E6C7FA   0DF3F61D3   23C68B75B7   0   1   1   1   1   00     10   00
226    187    04ABD9B    43CD8FF5   1BE7EC3A7   478D16EB6E   0   1   1   1   1   00     00   10
227    188    0957B37    079B1FEA   17CFD874E   0F1A2DD6DD   1   1   0   0   0   01     00   00
228    189    12AF66F    0F363FD4   0F9FB0E9C   1E345BADBB   0   0   1   0   0   00     01   00
229    190    055ECDE    1E6C7FA9   1F3F61D39   3C68B75B76   0   0   1   0   1   11     00   01
230    191    0ABD9BC    3CD8FF53   1E7EC3A73   78D16EB6EC   1   1   1   1   1   00     11   00
231    192    157B379    79B1FEA7   1CFD874E6   71A2DD6DD9   0   1   1   1   1   11     00   11
232    193    0AF66F3    7363FD4E   19FB0E9CD   6345BADBB2   1   0   1   0   1   01     11   00
233    194    15ECDE6    66C7FA9D   13F61D39A   468B75B765   0   1   0   1   1   10     01   11
234    195    0BD9BCC    4D8FF53A   07EC3A735   0D16EB6ECA   1   1   0   0   0   11     10   01
235    196    17B3799    1B1FEA75   0FD874E6A   1A2DD6DD94   0   0   1   0   0   00     11   10
236    197    0F66F33    363FD4EA   1FB0E9CD5   345BADBB28   1   0   1   0   0   11     00   11
237    198    1ECDE67    6C7FA9D5   1F61D39AA   68B75B7650   1   0   1   1   0   00     11   00
238    199    1D9BCCF    58FF53AB   1EC3A7354   516EB6ECA0   1   1   1   0   1   11     00   11
239    200    1B3799E    31FEA756   1D874E6A8   22DD6DD940   1   1   1   1   1   00     11   00


Z[0]   = 3F
Z[1]   = B1
Z[2]   = 67
Z[3]   = D2
Z[4]   = 2F
Z[5]   = A6
Z[6]   = 1F
Z[7]   = B9
Z[8]   = E6
Z[9]   = 84
Z[10] = 43
Z[11] = 07
Z[12] = D8
Z[13] = 1E
Z[14] = E7
Z[15] = C3




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Sample Data

===============================================================================================
         Reload this pattern into the LFSRs
         Hold content of Summation Combiner regs and calculate new C[t+1] and Z values
===============================================================================================
LFSR1   <= 0E62F3F
LFSR2   <= 6C84A6B1
LFSR3   <= 11E431F67
LFSR4   <= 61E707B9D2
C[t+1] <= 00


===============================================================================================
         Generating 125 key symbols (encryption/decryption sequence)
===============================================================================================
240      1     0E62F3F   6C84A6B1   11E431F67   61E707B9D2   1   1   0   1   0   00     11   00
241      2     1CC5E7F   59094D63   03C863ECE   43CE0F73A5   1   0   0   1   0   11     00   11
242      3     198BCFF   32129AC6   0790C7D9D   079C1EE74A   1   0   0   1   1   01     11   00
243      4     13179FE   6425358C   0F218FB3A   0F383DCE94   0   0   1   0   0   10     01   11
244      5     062F3FD   484A6B19   1E431F675   1E707B9D28   0   0   1   0   1   00     10   01
245      6     0C5E7FB   1094D632   1C863ECEB   3CE0F73A50   1   1   1   1   0   11     00   10
246      7     18BCFF7   2129AC64   190C7D9D7   79C1EE74A1   1   0   1   1   0   00     11   00
247      8     1179FEE   425358C8   1218FB3AE   7383DCE942   0   0   0   1   1   10     00   11
248      9     02F3FDD   04A6B190   0431F675D   6707B9D285   0   1   0   0   1   11     10   00
249     10     05E7FBB   094D6320   0863ECEBB   4E0F73A50B   0   0   1   0   0   00     11   10
250     11     0BCFF77   129AC640   10C7D9D77   1C1EE74A16   1   1   0   0   0   11     00   11
251     12     179FEEE   25358C80   018FB3AEE   383DCE942C   0   0   0   0   1   10     11   00
252     13     0F3FDDC   4A6B1900   031F675DD   707B9D2859   1   0   0   0   1   01     10   11
253     14     1E7FBB8   14D63200   063ECEBBA   60F73A50B3   1   1   0   1   0   10     01   10
254     15     1CFF771   29AC6401   0C7D9D774   41EE74A167   1   1   1   1   0   10     10   01
255     16     19FEEE2   5358C803   18FB3AEE9   03DCE942CE   1   0   1   1   1   01     10   10
256     17     13FDDC4   26B19007   11F675DD2   07B9D2859C   0   1   0   1   1   01     01   10
257     18     07FBB88   4D63200E   03ECEBBA4   0F73A50B38   0   0   0   0   1   10     01   01
258     19     0FF7711   1AC6401D   07D9D7748   1EE74A1670   1   1   0   1   1   11     10   01
259     20     1FEEE23   358C803B   0FB3AEE91   3DCE942CE1   1   1   1   1   1   01     11   10
260     21     1FDDC47   6B190076   1F675DD23   7B9D2859C2   1   0   1   1   0   01     01   11
261     22     1FBB88F   563200ED   1ECEBBA47   773A50B385   1   0   1   0   1   11     01   01
262     23     1F7711E   2C6401DB   1D9D7748F   6E74A1670A   1   0   1   0   1   10     11   01
263     24     1EEE23D   58C803B6   1B3AEE91E   5CE942CE15   1   1   1   1   0   11     10   11
264     25     1DDC47A   3190076C   1675DD23D   39D2859C2B   1   1   0   1   0   01     11   10
265     26     1BB88F4   63200ED9   0CEBBA47A   73A50B3856   1   0   1   1   0   01     01   11
266     27     17711E8   46401DB2   19D7748F5   674A1670AD   0   0   1   0   0   11     01   01
267     28     0EE23D0   0C803B64   13AEE91EA   4E942CE15B   1   1   0   1   0   11     11   01
268     29     1DC47A0   190076C8   075DD23D4   1D2859C2B7   1   0   0   0   0   11     11   11
269     30     1B88F41   3200ED90   0EBBA47A9   3A50B3856E   1   0   1   0   1   11     11   11
270     31     1711E83   6401DB20   1D7748F53   74A1670ADC   0   0   1   1   1   11     11   11
271     32     0E23D07   4803B641   1AEE91EA7   6942CE15B8   1   0   1   0   1   11     11   11
272     33     1C47A0F   10076C82   15DD23D4F   52859C2B71   1   0   0   1   1   11     11   11
273     34     188F41E   200ED905   0BBA47A9E   250B3856E3   1   0   1   0   1   11     11   11
274     35     111E83C   401DB20A   17748F53D   4A1670ADC7   0   0   0   0   1   00     11   11
275     36     023D078   003B6414   0EE91EA7A   142CE15B8E   0   0   1   0   1   10     00   11
276     37     047A0F0   0076C828   1DD23D4F5   2859C2B71C   0   0   1   0   1   11     10   00
277     38     08F41E1   00ED9050   1BA47A9EA   50B3856E39   1   1   1   1   1   01     11   10
278     39     11E83C2   01DB20A0   1748F53D5   21670ADC72   0   1   0   0   0   10     01   11
279     40     03D0785   03B64141   0E91EA7AA   42CE15B8E4   0   1   1   1   1   11     10   01
280     41     07A0F0A   076C8283   1D23D4F54   059C2B71C8   0   0   1   1   1   00     11   10
281     42     0F41E14   0ED90507   1A47A9EA9   0B3856E390   1   1   1   0   1   11     00   11
282     43     1E83C29   1DB20A0F   148F53D52   1670ADC720   1   1   0   0   1   01     11   00
283     44     1D07853   3B64141E   091EA7AA5   2CE15B8E40   1   0   1   1   0   01     01   11



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Sample Data

284    45    1A0F0A6     76C8283C   123D4F54B   59C2B71C81   1   1   0   1   0   00     01   01
285    46    141E14C     6D905079   047A9EA97   33856E3902   0   1   0   1   0   10     00   01
286    47    083C299     5B20A0F2   08F53D52F   670ADC7204   1   0   1   0   0   00     10   00
287    48    1078533     364141E4   11EA7AA5E   4E15B8E408   0   0   0   0   0   01     00   10
288    49    00F0A67     6C8283C8   03D4F54BC   1C2B71C811   0   1   0   0   0   00     01   00
289    50    01E14CE     59050791   07A9EA978   3856E39022   0   0   0   0   0   11     00   01
290    51    03C299C     320A0F23   0F53D52F1   70ADC72045   0   0   1   1   1   01     11   00
291    52    0785339     64141E47   1EA7AA5E2   615B8E408A   0   0   1   0   0   10     01   11
292    53    0F0A673     48283C8E   1D4F54BC4   42B71C8115   1   0   1   1   1   11     10   01
293    54    1E14CE6     1050791C   1A9EA9788   056E39022B   1   0   1   0   1   00     11   10
294    55    1C299CD     20A0F239   153D52F10   0ADC720456   1   1   0   1   1   11     00   11
295    56    185339B     4141E472   0A7AA5E20   15B8E408AC   1   0   1   1   0   00     11   00
296    57    10A6736     0283C8E4   14F54BC41   2B71C81158   0   1   0   0   1   10     00   11
297    58    014CE6C     050791C9   09EA97882   56E39022B0   0   0   1   1   0   00     10   00
298    59    0299CD9     0A0F2393   13D52F104   2DC7204561   0   0   0   1   1   01     00   10
299    60    05339B3     141E4726   07AA5E208   5B8E408AC3   0   0   0   1   0   00     01   00
300    61    0A67366     283C8E4C   0F54BC411   371C811587   1   0   1   0   0   10     00   01
301    62    14CE6CC     50791C98   1EA978822   6E39022B0F   0   0   1   0   1   11     10   00
302    63    099CD99     20F23930   1D52F1045   5C7204561E   1   1   1   0   0   01     11   10
303    64    1339B33     41E47260   1AA5E208B   38E408AC3D   0   1   1   1   0   01     01   11
304    65    0673666     03C8E4C0   154BC4117   71C811587A   0   1   0   1   1   11     01   01
305    66    0CE6CCC     0791C980   0A978822E   639022B0F5   1   1   1   1   1   11     11   01
306    67    19CD999     0F239301   152F1045C   47204561EB   1   0   0   0   0   11     11   11
307    68    139B332     1E472603   0A5E208B9   0E408AC3D6   0   0   1   0   0   11     11   11
308    69    0736664     3C8E4C06   14BC41172   1C811587AD   0   1   0   1   1   11     11   11
309    70    0E6CCC8     791C980C   0978822E5   39022B0F5A   1   0   1   0   1   11     11   11
310    71    1CD9990     72393019   12F1045CB   7204561EB4   1   0   0   0   0   11     11   11
311    72    19B3320     64726033   05E208B97   6408AC3D69   1   0   0   0   0   11     11   11
312    73    1366640     48E4C067   0BC41172F   4811587AD3   0   1   1   0   1   11     11   11
313    74    06CCC81     11C980CF   178822E5E   1022B0F5A6   0   1   0   0   0   11     11   11
314    75    0D99903     2393019E   0F1045CBC   204561EB4C   1   1   1   0   0   10     11   11
315    76    1B33206     4726033D   1E208B979   408AC3D699   1   0   1   1   1   10     10   11
316    77    166640D     0E4C067B   1C41172F2   011587AD33   0   0   1   0   1   10     10   10
317    78    0CCC81B     1C980CF6   18822E5E5   022B0F5A66   1   1   1   0   1   01     10   10
318    79    1999036     393019EC   11045CBCA   04561EB4CD   1   0   0   0   0   01     01   10
319    80    133206C     726033D9   0208B9794   08AC3D699B   0   0   0   1   0   11     01   01
320    81    06640D9     64C067B3   041172F29   11587AD337   0   1   0   0   0   10     11   01
321    82    0CC81B3     4980CF66   0822E5E53   22B0F5A66F   1   1   1   1   0   11     10   11
322    83    1990366     13019ECC   1045CBCA6   4561EB4CDF   1   0   0   0   0   00     11   10
323    84    13206CC     26033D98   008B9794D   0AC3D699BE   0   0   0   1   1   10     00   11
324    85    0640D98     4C067B31   01172F29B   1587AD337C   0   0   0   1   1   11     10   00
325    86    0C81B30     180CF662   022E5E537   2B0F5A66F9   1   0   0   0   0   00     11   10
326    87    1903660     3019ECC5   045CBCA6F   561EB4CDF3   1   0   0   0   1   10     00   11
327    88    1206CC1     6033D98A   08B9794DE   2C3D699BE6   0   0   1   0   1   11     10   00
328    89    040D983     4067B315   1172F29BD   587AD337CC   0   0   0   0   1   11     11   10
329    90    081B306     00CF662A   02E5E537A   30F5A66F98   1   1   0   1   0   10     11   11
330    91    103660C     019ECC55   05CBCA6F4   61EB4CDF31   0   1   0   1   0   10     10   11
331    92    006CC19     033D98AB   0B9794DE8   43D699BE62   0   0   1   1   0   01     10   10
332    93    00D9833     067B3156   172F29BD0   07AD337CC5   0   0   0   1   0   01     01   10
333    94    01B3066     0CF662AC   0E5E537A0   0F5A66F98B   0   1   1   0   1   11     01   01
334    95    03660CD     19ECC559   1CBCA6F41   1EB4CDF317   0   1   1   1   0   11     11   01
335    96    06CC19B     33D98AB2   19794DE83   3D699BE62F   0   1   1   0   1   11     11   11
336    97    0D98336     67B31565   12F29BD06   7AD337CC5F   1   1   0   1   0   10     11   11
337    98    1B3066D     4F662ACA   05E537A0C   75A66F98BF   1   0   0   1   0   10     10   11
338    99    1660CDB     1ECC5594   0BCA6F418   6B4CDF317E   0   1   1   0   0   01     10   10
339   100    0CC19B7     3D98AB29   1794DE831   5699BE62FC   1   1   0   1   0   10     01   10
340   101    198336F     7B315653   0F29BD062   2D337CC5F9   1   0   1   0   0   11     10   01



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341   102    13066DE     7662ACA7   1E537A0C5   5A66F98BF2   0   0   1   0   0   00     11   10
342   103    060CDBC     6CC5594F   1CA6F418B   34CDF317E4   0   1   1   1   1   11     00   11
343   104    0C19B78     598AB29F   194DE8317   699BE62FC9   1   1   1   1   1   00     11   00
344   105    18336F1     3315653F   129BD062E   5337CC5F92   1   0   0   0   1   10     00   11
345   106    1066DE2     662ACA7E   0537A0C5C   266F98BF25   0   0   0   0   0   11     10   00
346   107    00CDBC5     4C5594FD   0A6F418B9   4CDF317E4B   0   0   1   1   1   00     11   10
347   108    019B78B     18AB29FA   14DE83172   19BE62FC96   0   1   0   1   0   11     00   11
348   109    0336F16     315653F4   09BD062E5   337CC5F92C   0   0   1   0   0   01     11   00
349   110    066DE2D     62ACA7E8   137A0C5CA   66F98BF258   0   1   0   1   1   10     01   11
350   111    0CDBC5B     45594FD1   06F418B95   4DF317E4B1   1   0   0   1   0   11     10   01
351   112    19B78B6     0AB29FA2   0DE83172B   1BE62FC962   1   1   1   1   1   01     11   10
352   113    136F16C     15653F45   1BD062E57   37CC5F92C5   0   0   1   1   1   10     01   11
353   114    06DE2D9     2ACA7E8B   17A0C5CAE   6F98BF258B   0   1   0   1   0   11     10   01
354   115    0DBC5B2     5594FD16   0F418B95D   5F317E4B16   1   1   1   0   0   01     11   10
355   116    1B78B64     2B29FA2C   1E83172BB   3E62FC962C   1   0   1   0   1   10     01   11
356   117    16F16C8     5653F458   1D062E577   7CC5F92C58   0   0   1   1   0   11     10   01
357   118    0DE2D91     2CA7E8B0   1A0C5CAEF   798BF258B1   1   1   1   1   1   01     11   10
358   119    1BC5B23     594FD161   1418B95DF   7317E4B163   1   0   0   0   0   10     01   11
359   120    178B647     329FA2C2   083172BBF   662FC962C7   0   1   1   0   0   11     10   01
360   121    0F16C8E     653F4584   1062E577F   4C5F92C58E   1   0   0   0   0   00     11   10
361   122    1E2D91C     4A7E8B09   00C5CAEFE   18BF258B1C   1   0   0   1   0   11     00   11
362   123    1C5B238     14FD1613   018B95DFC   317E4B1639   1   1   0   0   1   01     11   00
363   124    18B6471     29FA2C27   03172BBF9   62FC962C72   1   1   0   1   0   01     01   11
364   125    116C8E2     53F4584E   062E577F3   45F92C58E4   0   1   0   1   1   11     01   01




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Sample Data


1.2 AES-CCM ENCRYPTION SAMPLE DATA
All values below are hexadecimal and follow notation of AES-CCM:
MSbyte to LSbyte & msbit to lsbit.

(0 byte DM1, M --> S)
(8 byte DM1, M --> S)
(8 byte DM1, S --> M)
(17 byte DM1, M --> S)
(17 byte DM1, S --> M)
(20 byte DH1, M --> S)
(20 byte DH1, S --> M)
(27 byte DH1, M --> S)
(27 byte DH1, S --> M)
(367 byte 2-DH3, M --> S)
(367 byte 2-DH3, S --> M)
(1021 byte 3-DH5, M --> S)
(1021 byte 3-DH5, S --> M)



1.2.1 Sample Data 1 (DM1, M --> S)

Payload byte length: 00
K: 89678967 89678967 45234523 45234523
Payload counter: 0000bc614e
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 66778899 aabbccdd
LT_ADDR: 1
Packet Type: 3
LLID: 2
Payload:

B0: 494e61bc 0000ddcc bbaa9988 77660000
B1: 00190200 00000000 00000000 00000000

Y0: bb01f0c5 16dfd7b5 0d0cccb8 eaebb347
Y1: a9adf6e6 7876cf95 118a09d5 ac3f216e


T: a9adf6e6

CTR0: 014e61bc 0000ddcc bbaa9988 77660000

S0: b90f2b23 f63717d3 38e0559d 1e7e785e

MIC: 10a2ddc5
Encrypted payload:




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Sample Data

1.2.2 Sample Data 2 (DM1, M --> S)

Payload byte length: 08
K: 89678967 89678967 45234523 45234523
Payload counter: 0000bc614e
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 66778899 aabbccdd
LT_ADDR: 1
Packet Type: 3
LLID: 2
Payload: 68696a6b 6c6d6e6f

B0: 494e61bc 0000ddcc bbaa9988 77660008
B1: 00190200 00000000 00000000 00000000
B2: 68696a6b 6c6d6e6f 00000000 00000000

Y0: 95ddc3d4 2c9a70f1 61a28ee2 c08271ab
Y1: 418635ff 54615443 8aceca41 fe274779
Y2: 08d78b32 9d78ed33 b285fc42 e178d781

T: 08d78b32

CTR0: 014e61bc 0000ddcc bbaa9988 77660000
CTR1: 014e61bc 0000ddcc bbaa9988 77660001

S0: b90f2b23 f63717d3 38e0559d 1e7e785e
S1: d8c7e3e1 02050abb 025d0895 17cbe5fb

MIC: b1d8a011
Encrypted payload: b0ae898a 6e6864d4




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Sample Data

1.2.3 Sample Data 3 (DM1, S --> M)

Payload byte length: 08
K: 89678967 89678967 45234523 45234523
Payload counter: 0000bc614e
Zero-length ACL-U Continuation: 0
Direction: 1
Initialization vector: 66778899 aabbccdd
LT_ADDR: 1
Packet Type: 3
LLID: 2
Payload: 68696a6b 6c6d6e6f

B0: 494e61bc 0020ddcc bbaa9988 77660008
B1: 00190200 00000000 00000000 00000000
B2: 68696a6b 6c6d6e6f 00000000 00000000

Y0: 31081122 b1cca37a 5f04d238 897b9bc8
Y1: 02ee3065 95c5d55a d0a030a3 3bee507b
Y2: 7382a2ba aa874418 14eafbef 41f57180

T: 7382a2ba

CTR0: 014e61bc 0020ddcc bbaa9988 77660000
CTR1: 014e61bc 0020ddcc bbaa9988 77660001

S0: 2a4d408d 2035b058 cc2fbf3b 8de15c73
S1: 9c89f68f b31bf4b5 7fbc7e83 123bd8a8

MIC: 59cfe237
Encrypted payload: f4e09ce4 df769ada



1.2.4 Sample Data 4 (DM1, M --> S)

Payload byte length: 11
K: ce2ad11b a11456bd bd9d8b1f 848322fc
Payload counter: 00bdb3be95
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 82b8b727 5bf92769
LT_ADDR: 1
Packet Type: 3
LLID: 2
Payload: 86126da5 dbb39164 9ba1cac4 60917233
         05

B0:   4995beb3     bd006927   f95b27b7   b8820011
B1:   00190200     00000000   00000000   00000000
B2:   86126da5     dbb39164   9ba1cac4   60917233
B3:   05000000     00000000   00000000   00000000

Y0:   ab182b6f     e8bca0a9   7cc306e0   eab19e84
Y1:   c198f821     49061035   977a5aae   60c51726
Y2:   45dd4181     40facb43   0f73f71b   49ea36ae
Y3:   7b112114     38d06bc2   98cb22db   c5218041

Encryption Sample Data                                      06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data



T: 7b112114

CTR0: 0195beb3 bd006927 f95b27b7 b8820000
CTR1: 0195beb3 bd006927 f95b27b7 b8820001
CTR2: 0195beb3 bd006927 f95b27b7 b8820002

S0: bd3d1368 1478c30c 62b734ac e8e00c6e
S1: bfaa326d 8d84d8f6 e4518d12 20babe4f
S2: fc4a6327 776a3136 604a1ab8 20836505

MIC: c62c327c
Encrypted payload: 39b85fc8 56374992 7ff047d6 402bcc7c
                   f9



1.2.5 Sample Data 5 (DM1, S --> M)

Payload byte length: 11
K: ce2ad11b a11456bd bd9d8b1f 848322fc
Payload counter: 00bdb3be95
Zero-length ACL-U Continuation: 0
Direction: 1
Initialization vector: 82b8b727 5bf92769
LT_ADDR: 1
Packet Type: 3
LLID: 2
Payload: 86126da5 dbb39164 9ba1cac4 60917233
         05

B0:   4995beb3     bd206927   f95b27b7   b8820011
B1:   00190200     00000000   00000000   00000000
B2:   86126da5     dbb39164   9ba1cac4   60917233
B3:   05000000     00000000   00000000   00000000

Y0:   2c317af0     b12026df   8400f84e   aa8e53e7
Y1:   1ec2c0c5     74e2cad3   3e143b2b   9d63095d
Y2:   e7f08f4b     d7c24c04   651434d8   a84f8ae9
Y3:   d6f08416     0d556004   6c9b850b   1b579614

T: d6f08416

CTR0: 0195beb3 bd206927 f95b27b7 b8820000
CTR1: 0195beb3 bd206927 f95b27b7 b8820001
CTR2: 0195beb3 bd206927 f95b27b7 b8820002

S0: d8bc791d b48ea182 ef438e70 ee0f50e1
S1: c5e90ff5 6e1e06b3 4d6b699c 9fb72e3d
S2: b68f4956 19bea370 0a1f118e a5dd6aff

MIC: 0e4cfd0b
Encrypted payload: 43fb6250 b5ad97d7 d6caa358 ff265c0e
                   b3




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Sample Data

1.2.6 Sample Data 6 (DH1, M --> S)

Payload byte length: 14
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: 4
LLID: 2
Payload: 9bb3a2bd dd043b3a 904cc247 0a1d545f
         b2095e3d

B0:   498bf767     62006f98   36b1e858   ca740014
B1:   00210200     00000000   00000000   00000000
B2:   9bb3a2bd     dd043b3a   904cc247   0a1d545f
B3:   b2095e3d     00000000   00000000   00000000

Y0:   ae691727     39e614a3   e0be3227   ac9afd99
Y1:   47b13424     8ff2f5f7   eaea4fdd   0fab9d92
Y2:   36154960     3c1fc026   4509902e   de57dfc3
Y3:   1d45d8f7     950a39c3   9779bb7c   d1b3fe17

T: 1d45d8f7

CTR0: 018bf767 62006f98 36b1e858 ca740000
CTR1: 018bf767 62006f98 36b1e858 ca740001
CTR2: 018bf767 62006f98 36b1e858 ca740002

S0: 254593c4 cd12c6a7 d9dec572 95524b75
S1: af492e65 ca391b26 e8ce9653 498ed0de
S2: 869271ed ac79c1bc 3cf0f959 c2711f3b

MIC: 38004b33
Encrypted payload: 34fa8cd8 173d201c 78825414 43938481
                   349b2fd0




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Sample Data

1.2.7 Sample Data 7 (DH1, S --> M)

Payload byte length: 14
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 1
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: 4
LLID: 2
Payload: 9bb3a2bd dd043b3a 904cc247 0a1d545f
         b2095e3d

B0:   498bf767     62206f98   36b1e858   ca740014
B1:   00210200     00000000   00000000   00000000
B2:   9bb3a2bd     dd043b3a   904cc247   0a1d545f
B3:   b2095e3d     00000000   00000000   00000000

Y0:   55410490     6f3a5827   e5a04a60   7cf19ad5
Y1:   000cc95c     c0d099ca   b15b244b   d3440c24
Y2:   bd1d9815     96438c28   eebfd508   6cf80d34
Y3:   8c227888     d0725a21   ffba99b2   38043d5e

T: 8c227888

CTR0: 018bf767 62206f98 36b1e858 ca740000
CTR1: 018bf767 62206f98 36b1e858 ca740001
CTR2: 018bf767 62206f98 36b1e858 ca740002

S0: 1404487a 919e16c8 b3245d80 2b364231
S1: 82082cbc 57038db7 4823be9a 34e0a8d7
S2: 1b5f7526 d26fe763 7669dfee 63743d3a

MIC: 982630f2
Encrypted payload: 19bb8e01 8a07b68d d86f7cdd 3efdfc88
                   a9562b1b




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                                                         Bluetooth SIG Proprietary
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Sample Data

1.2.8 Sample Data 8 (DH1, M --> S)

Payload byte length: 1b
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: 4
LLID: 2
Payload: 8f11d05e e0e749b5 eeda42f9 2b184502
         95388ce5 872916b4 bf7260

B0:   498bf767     62006f98   36b1e858   ca74001b
B1:   00210200     00000000   00000000   00000000
B2:   8f11d05e     e0e749b5   eeda42f9   2b184502
B3:   95388ce5     872916b4   bf726000   00000000

Y0:   28015834     f3117a84   904800f7   ebd4b0d4
Y1:   15c4a61e     b7ae954e   2c9d1b19   3ba2a9e5
Y2:   832c185d     1effc0ee   94d3a26e   23aca8e6
Y3:   dcef7067     fc38a84e   893670a6   fb9e069b

T: dcef7067

CTR0: 018bf767 62006f98 36b1e858 ca740000
CTR1: 018bf767 62006f98 36b1e858 ca740001
CTR2: 018bf767 62006f98 36b1e858 ca740002

S0: 254593c4 cd12c6a7 d9dec572 95524b75
S1: af492e65 ca391b26 e8ce9653 498ed0de
S2: 869271ed ac79c1bc 3cf0f959 c2711f3b

MIC: f9aae3a3
Encrypted payload: 2058fe3b 2ade5293 0614d4aa 629695dc
                   13aafd08 2b50d708 838299




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Sample Data

1.2.9 Sample Data 9 (DH1, S --> M)

Payload byte length: 1b
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 1
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: 4
LLID: 2
Payload: 8f11d05e e0e749b5 eeda42f9 2b184502
         95388ce5 872916b4 bf7260

B0:   498bf767     62206f98   36b1e858   ca74001b
B1:   00210200     00000000   00000000   00000000
B2:   8f11d05e     e0e749b5   eeda42f9   2b184502
B3:   95388ce5     872916b4   bf726000   00000000

Y0:   feb39b06     54b486da   bf1cec46   b5c5ec2a
Y1:   eeda0fc3     4057d94e   3572448d   67b640f4
Y2:   48461729     ec1c7060   3b0f88ce   becef21a
Y3:   b1ff4755     658c2aa2   862952a5   1ca041a1

T: b1ff4755

CTR0: 018bf767 62206f98 36b1e858 ca740000
CTR1: 018bf767 62206f98 36b1e858 ca740001
CTR2: 018bf767 62206f98 36b1e858 ca740002

S0: 1404487a 919e16c8 b3245d80 2b364231
S1: 82082cbc 57038db7 4823be9a 34e0a8d7
S2: 1b5f7526 d26fe763 7669dfee 63743d3a

MIC: a5fb0f2f
Encrypted payload: 0d19fce2 b7e4c402 a6f9fc63 1ff8edd5
                   8e67f9c3 5546f1d7 c91bbf




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Sample Data

1.2.10 Sample Data 10 (2-DH3, M --> S)

Payload byte length: 16f
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: a
LLID: 2
Payload: 969b0972 549738ea 89120710 55797f19
         631dd8e7 219308a0 836e8d6b a55ec08f
         42604406 543c2f96 60c261c3 1c3d8826
         73aab82e bd5a8278 93625aa8 b9a4c5b3
         bc310174 e4d6436e 2e44aa08 1d64e751
         b5501222 dcc34270 6aefd398 1e10b2e2
         56e20d95 1e4e68cc 3fdd4b5c 8e93809a
         ff008232 3b6a864e b8556219 e94fbdd2
         500550e9 939e6108 43a375ab a75d1f6d
         a0304656 b45f488c 0ba40259 4e1ee6a1
         c59301e8 f1507906 40dc0c24 330120c0
         ac7f6707 e7f00d4a ea6c0577 a31abbb6
         4f9b6bab 47bfa387 c89bbbe1 6d8cbd49
         4a9c452f 9d46ab05 dcf0f434 f4c27bce
         2e0e177d 1aba438d 64a8cd72 ca0c170c
         9fa6e227 992fe354 98c94581 f1d869ee
         b07ffcf2 c19b35c8 5e22939e b54c772c
         2c4c0963 f51a653d 777879f2 d1ab67fc
         ba300c9e fa3ba62e 9f70e4b9 1a996f81
         7a9dff0b 56fd15c2 e9858db3 9b33e8c2
         254df11b 64b9ac36 409f2406 5c9e478a
         fc3b8161 b32d1b56 9236e631 23ed2a53
         89d4c4e0 8a799f0a 370e7310 734c9f

B0: 498bf767 62006f98 36b1e858 ca74016f
B1: 00510200 00000000 00000000 00000000
B2: 969b0972 549738ea 89120710 55797f19
B3: 631dd8e7 219308a0 836e8d6b a55ec08f
B4: 42604406 543c2f96 60c261c3 1c3d8826
B5: 73aab82e bd5a8278 93625aa8 b9a4c5b3
B6: bc310174 e4d6436e 2e44aa08 1d64e751
B7: b5501222 dcc34270 6aefd398 1e10b2e2
B8: 56e20d95 1e4e68cc 3fdd4b5c 8e93809a
B9: ff008232 3b6a864e b8556219 e94fbdd2
B10: 500550e9 939e6108 43a375ab a75d1f6d
B11: a0304656 b45f488c 0ba40259 4e1ee6a1
B12: c59301e8 f1507906 40dc0c24 330120c0
B13: ac7f6707 e7f00d4a ea6c0577 a31abbb6
B14: 4f9b6bab 47bfa387 c89bbbe1 6d8cbd49
B15: 4a9c452f 9d46ab05 dcf0f434 f4c27bce
B16: 2e0e177d 1aba438d 64a8cd72 ca0c170c
B17: 9fa6e227 992fe354 98c94581 f1d869ee
B18: b07ffcf2 c19b35c8 5e22939e b54c772c
B19: 2c4c0963 f51a653d 777879f2 d1ab67fc
B20: ba300c9e fa3ba62e 9f70e4b9 1a996f81


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Sample Data

B21:   7a9dff0b      56fd15c2   e9858db3   9b33e8c2
B22:   254df11b      64b9ac36   409f2406   5c9e478a
B23:   fc3b8161      b32d1b56   9236e631   23ed2a53
B24:   89d4c4e0      8a799f0a   370e7310   734c9f00

Y0: 29d89cd3 f2a1cf11 de30fb32 7e036fd8
Y1: 969453f9 b7ed6ed5 0bb166ac ad84b447
Y2: 29c1dbe6 569d3bcd 517acede fdf9b2a3
Y3: 87ae6d80 ceb1d9ae e7e009f3 0564b2b4
Y4: f7b4d9bf a1fa7bba 484cba56 f72c649c
Y5: 7cff7307 318bed9a 94c81c3f 7fa87554
Y6: ccf442c7 832413c6 1387b50f 1d6af991
Y7: fda7fb71 83c5a785 a798814c d0a4f4ef
Y8: ca85d795 514e510a e715b603 ad7fd821
Y9: 65527777 4efa23ca d5124e05 0597d5ff
Y10: b17f66c4 8a523b41 950f09c0 fc3a2a15
Y11: 886ec25e ed7cd1af 44de48bf fde11c40
Y12: cd685d0d 10a34a2f 2fa75fee c8a36979
Y13: d7486efa 056ebad9 0f6fe2ac f9871d36
Y14: c28103ad 2fe40cb6 42337daa fee66a03
Y15: c4a313af aad33282 8db4432c 73550d1c
Y16: e29b7baa b3c83223 72fc11d5 b15c01bb
Y17: 22737a00 4e7f26b9 c9f368e1 a90843ae
Y18: 11f9a9f7 997119fb ebad9814 230e9f11
Y19: 026c4112 d016c255 9595bdc9 a8b14e95
Y20: dfe4c01a b101dfca 4bd2ca7e 4342d595
Y21: 5a128313 b4180f77 80a029cc 23a0c1fc
Y22: b4df1ace 2e0a3a2a 968d45e4 7a11a3cf
Y23: d2fb23c5 4849439d 80e8fed4 7ee0e5cb
Y24: da1c4547 7eab6f64 b771cf1e 8ca278ad

T: da1c4547

CTR0: 018bf767 62006f98 36b1e858 ca740000
CTR1: 018bf767 62006f98 36b1e858 ca740001
CTR2: 018bf767 62006f98 36b1e858 ca740002
CTR3: 018bf767 62006f98 36b1e858 ca740003
CTR4: 018bf767 62006f98 36b1e858 ca740004
CTR5: 018bf767 62006f98 36b1e858 ca740005
CTR6: 018bf767 62006f98 36b1e858 ca740006
CTR7: 018bf767 62006f98 36b1e858 ca740007
CTR8: 018bf767 62006f98 36b1e858 ca740008
CTR9: 018bf767 62006f98 36b1e858 ca740009
CTR10: 018bf767 62006f98 36b1e858 ca74000a
CTR11: 018bf767 62006f98 36b1e858 ca74000b
CTR12: 018bf767 62006f98 36b1e858 ca74000c
CTR13: 018bf767 62006f98 36b1e858 ca74000d
CTR14: 018bf767 62006f98 36b1e858 ca74000e
CTR15: 018bf767 62006f98 36b1e858 ca74000f
CTR16: 018bf767 62006f98 36b1e858 ca740010
CTR17: 018bf767 62006f98 36b1e858 ca740011
CTR18: 018bf767 62006f98 36b1e858 ca740012
CTR19: 018bf767 62006f98 36b1e858 ca740013
CTR20: 018bf767 62006f98 36b1e858 ca740014
CTR21: 018bf767 62006f98 36b1e858 ca740015
CTR22: 018bf767 62006f98 36b1e858 ca740016
CTR23: 018bf767 62006f98 36b1e858 ca740017

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Sample Data



S0: 254593c4 cd12c6a7 d9dec572 95524b75
S1: af492e65 ca391b26 e8ce9653 498ed0de
S2: 869271ed ac79c1bc 3cf0f959 c2711f3b
S3: 31554cb7 aa9b1dfb 24ba8b26 eab59ad8
S4: 7cb39415 9dce80e6 0ac0e5e0 9667747e
S5: 9727b319 ccbcc251 d539fd08 497942c8
S6: bd972408 212a147c 3eb66687 1488e2d9
S7: aef3e149 6b4e615b 309a7f93 53ca2981
S8: 6b276914 1d957bec 4c87e76d ee681e76
S9: a2df383f eece9b0d 4553f2e8 6f8b6035
S10: 11dac6bc c4177830 c7038ee1 e6cb0579
S11: 30bfd1cf 7fa95155 7c0757bf f14840a0
S12: 2315682b 1f4cb1f6 10fd4365 4d9b6155
S13: 7f4aa2fd 211bbc18 9ff3dcd7 c8102220
S14: a072aa38 70e32a62 f7214fb1 97dbfbfd
S15: f7c2b622 96a1f9e1 d3e7837f 293f6e86
S16: e63dc9fd 830944d5 b9fa2257 b0e19402
S17: eceef697 e76f671f 5e7e8c6e ae43f63b
S18: a9bccd3a 4ae6b498 40a6ead6 cd6200a8
S19: 2b624b6b f923eb0f 110ff341 4b1ab902
S20: a47db290 f068ca62 c9236eec ddb431f4
S21: a4ad3dc5 7e324250 1938950e 7b3827fd
S22: 364c32d8 35f63c05 5c8f32dd e560cc8f
S23: f2fd81dc cd12d0cc 2e4f7834 43a74630

MIC: ff59d683
Encrypted payload: 39d22717      9eae23cc   61dc9143   1cf7afc7
                   e58fa90a      8deac91c   bf9e7432   672fdfb4
                   733508b1      fea7326d   4478eae5   f68812fe
                   0f192c3b      2094029e   99a2bf48   2fc3b1cd
                   2b16b26d      286a813f   fb7d5700   541da599
                   08c7362a      fde9560c   5459b51f   0a98503b
                   f811ecdc      75000997   0f4734cf   dd59a91b
                   9427eb26      26fffda2   f4d28574   0727a3a4
                   f2da68d6      7d50fa05   06f08743   c8d67f58
                   b1ea80ea      704830bc   cca78cb8   a8d5e3d8
                   f52cd027      8ef92853   3cdb5b9b   c2496060
                   8f6a0f2c      f8bcbcbc   fa914612   ee81dae3
                   30d1c956      66a41f9f   57686736   a59c9f69
                   eaeeef17      eda58167   2bd1bb85   63198033
                   d9cca15f      8c1bba6c   b74f4e0d   e333798a
                   799b2bda      1a26a781   213367d6   4139fdec
                   5c910a65      26f452d7   005c1ff0   1b0f8117
                   85f0c459      bffcd1a5   37de9324   1cc96754
                   915247f5      03184d21   8e7f17f8   5183d683
                   dee04d9b      a695dfa0   20a6e35f   4687d936
                   81e0ccde      1a8bee66   59a7b108   27a66077
                   ca77b3b9      86db2753   ceb9d4ec   c68de6dc
                   7b29453c      476b4fc6   19410b24   30ebd9




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Sample Data

1.2.11 Sample Data 11 (2-DH3, S --> M)

Payload byte length: 16f
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 1
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: a
LLID: 2
Payload: 969b0972 549738ea 89120710 55797f19
         631dd8e7 219308a0 836e8d6b a55ec08f
         42604406 543c2f96 60c261c3 1c3d8826
         73aab82e bd5a8278 93625aa8 b9a4c5b3
         bc310174 e4d6436e 2e44aa08 1d64e751
         b5501222 dcc34270 6aefd398 1e10b2e2
         56e20d95 1e4e68cc 3fdd4b5c 8e93809a
         ff008232 3b6a864e b8556219 e94fbdd2
         500550e9 939e6108 43a375ab a75d1f6d
         a0304656 b45f488c 0ba40259 4e1ee6a1
         c59301e8 f1507906 40dc0c24 330120c0
         ac7f6707 e7f00d4a ea6c0577 a31abbb6
         4f9b6bab 47bfa387 c89bbbe1 6d8cbd49
         4a9c452f 9d46ab05 dcf0f434 f4c27bce
         2e0e177d 1aba438d 64a8cd72 ca0c170c
         9fa6e227 992fe354 98c94581 f1d869ee
         b07ffcf2 c19b35c8 5e22939e b54c772c
         2c4c0963 f51a653d 777879f2 d1ab67fc
         ba300c9e fa3ba62e 9f70e4b9 1a996f81
         7a9dff0b 56fd15c2 e9858db3 9b33e8c2
         254df11b 64b9ac36 409f2406 5c9e478a
         fc3b8161 b32d1b56 9236e631 23ed2a53
         89d4c4e0 8a799f0a 370e7310 734c9f

B0: 498bf767 62206f98 36b1e858 ca74016f
B1: 00510200 00000000 00000000 00000000
B2: 969b0972 549738ea 89120710 55797f19
B3: 631dd8e7 219308a0 836e8d6b a55ec08f
B4: 42604406 543c2f96 60c261c3 1c3d8826
B5: 73aab82e bd5a8278 93625aa8 b9a4c5b3
B6: bc310174 e4d6436e 2e44aa08 1d64e751
B7: b5501222 dcc34270 6aefd398 1e10b2e2
B8: 56e20d95 1e4e68cc 3fdd4b5c 8e93809a
B9: ff008232 3b6a864e b8556219 e94fbdd2
B10: 500550e9 939e6108 43a375ab a75d1f6d
B11: a0304656 b45f488c 0ba40259 4e1ee6a1
B12: c59301e8 f1507906 40dc0c24 330120c0
B13: ac7f6707 e7f00d4a ea6c0577 a31abbb6
B14: 4f9b6bab 47bfa387 c89bbbe1 6d8cbd49
B15: 4a9c452f 9d46ab05 dcf0f434 f4c27bce
B16: 2e0e177d 1aba438d 64a8cd72 ca0c170c
B17: 9fa6e227 992fe354 98c94581 f1d869ee
B18: b07ffcf2 c19b35c8 5e22939e b54c772c
B19: 2c4c0963 f51a653d 777879f2 d1ab67fc
B20: ba300c9e fa3ba62e 9f70e4b9 1a996f81


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Sample Data

B21:   7a9dff0b      56fd15c2   e9858db3   9b33e8c2
B22:   254df11b      64b9ac36   409f2406   5c9e478a
B23:   fc3b8161      b32d1b56   9236e631   23ed2a53
B24:   89d4c4e0      8a799f0a   370e7310   734c9f00

Y0: 34969012 2648722b fb7771dd b1b38b1b
Y1: 8c511978 793004c6 975e5f19 93c19d99
Y2: 482014e5 39ddbbd4 0833c079 5bab45ef
Y3: b994181f a79795ce a6968237 28ad1659
Y4: 7b8fea33 1c4c8c50 d8ae584b bfc65033
Y5: e185c7b7 dd9831f5 2e0d2140 95368c09
Y6: d598bb23 fb4d4e82 a8b74b2b c95b5b71
Y7: 6c5c7fc1 8cc70897 3bb594a8 39541943
Y8: c7f822e8 7546115f 80d57035 7960abb8
Y9: a430ddc8 58f529f1 97bebcb7 e9160550
Y10: c9bf7627 33253b87 1490fbd7 353a3175
Y11: 1d93c403 de2c3b76 62e6ea6e cbf757c0
Y12: 0d607c00 af5502d9 2d56d483 745f6855
Y13: e27bdc66 de323cff a3a1620d 1637310e
Y14: 840d6d95 6785fead 710de246 e944bf2e
Y15: 806b9eb6 6517c4f8 1d55f260 e08f455b
Y16: 36883866 2f7275ab 6ba45111 2431882d
Y17: e5b4f1f6 cbbcc363 33ef1b05 94b5385e
Y18: e8d47695 67be9d89 04445e73 8a45e019
Y19: 77639b94 f0f9907c db541ef0 c8d45e4b
Y20: a2bd914a 281e1d5f 0c9b8de4 3fcb6565
Y21: 6c1072e6 5581e658 7d7a0561 e8a85ddf
Y22: 8256c105 5c932ba8 bb71936b c727d10f
Y23: 2f4cc66a d568be7e 500a7448 6c2278ad
Y24: 2ca06cb0 0009e3c3 9e123a8a 2c2869dc

T: 2ca06cb0

CTR0: 018bf767 62206f98 36b1e858 ca740000
CTR1: 018bf767 62206f98 36b1e858 ca740001
CTR2: 018bf767 62206f98 36b1e858 ca740002
CTR3: 018bf767 62206f98 36b1e858 ca740003
CTR4: 018bf767 62206f98 36b1e858 ca740004
CTR5: 018bf767 62206f98 36b1e858 ca740005
CTR6: 018bf767 62206f98 36b1e858 ca740006
CTR7: 018bf767 62206f98 36b1e858 ca740007
CTR8: 018bf767 62206f98 36b1e858 ca740008
CTR9: 018bf767 62206f98 36b1e858 ca740009
CTR10: 018bf767 62206f98 36b1e858 ca74000a
CTR11: 018bf767 62206f98 36b1e858 ca74000b
CTR12: 018bf767 62206f98 36b1e858 ca74000c
CTR13: 018bf767 62206f98 36b1e858 ca74000d
CTR14: 018bf767 62206f98 36b1e858 ca74000e
CTR15: 018bf767 62206f98 36b1e858 ca74000f
CTR16: 018bf767 62206f98 36b1e858 ca740010
CTR17: 018bf767 62206f98 36b1e858 ca740011
CTR18: 018bf767 62206f98 36b1e858 ca740012
CTR19: 018bf767 62206f98 36b1e858 ca740013
CTR20: 018bf767 62206f98 36b1e858 ca740014
CTR21: 018bf767 62206f98 36b1e858 ca740015
CTR22: 018bf767 62206f98 36b1e858 ca740016
CTR23: 018bf767 62206f98 36b1e858 ca740017

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Sample Data



S0: 1404487a 919e16c8 b3245d80 2b364231
S1: 82082cbc 57038db7 4823be9a 34e0a8d7
S2: 1b5f7526 d26fe763 7669dfee 63743d3a
S3: a3673258 5020c6cd d72bf517 accb632d
S4: 8a60ebb6 59c59ac1 a45a1ffd f54f7cd7
S5: 036f35c7 130c8a30 25e9da14 706df5bc
S6: e328cbb0 09c91d56 f010b40e e0fc5c3f
S7: 626d3d67 b53eb139 e155c9a2 df407b17
S8: d94e430b 829c7caf 289d2898 3c68aa5a
S9: d6343452 d92cb1ac b3fde90b e2f0789f
S10: 8ab8413c 0df18adf ae07a74f 82b3c91f
S11: 61bfac52 125b8fc4 eaac30f7 5a543821
S12: 68899f8f 2892931d 88b08926 7fa3cfc9
S13: 86b668c5 4ef24455 22a45f42 61aea816
S14: f57b4941 8332f0b3 7749ea30 53a711ee
S15: 593562a8 45c75a7c 70030f08 6fedd965
S16: f85e742f a743f353 6a22b384 be1dabdc
S17: ed7e317b 635deed3 e8b619f2 9bc65eb0
S18: 2035622d 94718ad6 c1631fa2 755883f4
S19: 40f50638 ad826c4a 3ca4fb88 467445ae
S20: e27eb632 0c2aee5c 9210b1c7 736fb897
S21: 711a9be3 c7054fa5 82ec70b6 028489e7
S22: 7b543081 c52e2cba 26400e6b 46642d0d
S23: d9564733 01fa7fae 7cfac2a7 239639e2

MIC: 38a424ca
Encrypted payload: 149325ce      0394b55d   c131b98a   6199d7ce
                   7842adc1      f3fcefc3   f5075285   c62afdb5
                   e107765e      041ce95b   b7e994d4   b0f6eb0b
                   f9ca5398      e49f18b9   37384555   4cebb964
                   bf5e34b3      f7dac95e   0bad701c   6d0912ed
                   5678d992      d50a5f26   9aff6796   feeceedd
                   348f30f2      ab70d9f5   de8882fe   51d3fb8d
                   264ec139      b9f6fae1   90c84a81   d5271788
                   863164bb      4ab2d0a4   f05e9ca0   45ad67f2
                   2a88076a      b9aec253   a5a3a516   ccad2fbe
                   a42cadba      e30bf6c2   aa703cd3   695518e1
                   c4f6f888      cf629e57   62dc8c51   dcb9747f
                   c92d036e      094de7d2   ea3fe4a3   0c22155f
                   bfe70c6e      1e745bb6   abb91e04   a7656a20
                   773b75d5      5f7d19f1   14abc27a   a5e1ce69
                   67f89608      3e6c1007   f2ebf605   4fc5c232
                   5d01cd89      a2c6db1b   b6948a6c   2e8a299c
                   0c796b4e      616befeb   b61b6650   a4f3e408
                   fac50aa6      57b9ca64   a3d41f31   5ced2a2f
                   98e34939      5ad7fb9e   7b953c74   e85c5055
                   54576af8      a3bce393   c27354b0   5e1ace6d
                   876fb1e0      760337ec   b476e85a   6589075e
                   508283d3      8b83e0a4   4bf4b1b7   50daa6




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Sample Data

1.2.12 Sample Data 12 (3-DH5, M --> S)

Payload byte length: 3fd
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 0
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: f
LLID: 2
Payload: 6d42614c 50694940 209c8bd5 5be57733
         3ec1066a 76cb602e a58ced25 f98ceb94
         58bc3db4 e7c46bb9 e23f9220 68bfca00
         c1da8f08 1c10e526 0ea37fab 3d91be9f
         3a4e68e9 006cca11 fdc76c59 1e20769d
         e1e34385 af105dab 4d44eda7 eacd1974
         5414d5a9 568d67af c05aedd9 6726a130
         7ebe31fd 81881237 c953d2a5 42c57c3b
         019691ef 911953fb 39264712 c61e3e5e
         21286421 85891af5 bf8ca291 59c30596
         11bbe5cd 8f88a7bb b8afd34a 4211eed5
         850ca781 cc9cf5b9 06d5fced 79d35981
         39a1a239 2965b0d5 c6c03a9f e22433ba
         08e7aac7 7d207392 b3486ead dd5c81c6
         5454d575 edd91892 0a2f0fe9 f6d5c037
         fec1272e f22c9aa0 d02b3412 81f60847
         887cd303 a82937cf ded4be2d 139342ce
         bd09041a f5eaa675 4307eb2d 20a60f7b
         1b944afe e3ae1a6f 476021c7 d30d300e
         44f9eaa2 42e8cb7a 6d74d5b5 0f2d6c1b
         d436f44f 1ddf8579 70821a65 117e1200
         e0270f00 7cbe6bb2 020ec332 bc464299
         20131eb1 e8864206 3b4a8324 522cfe0a
         a5209fd7 3f11a1e0 da00c945 835b6b5f
         ec9eaea9 9d177dc0 cbd2efe8 21b388c3
         78b2e137 c84f37a4 5599ffc0 a9106204
         5ed1439f 7e67ea1d 6ab024f7 247e85df
         bf15d19c b0f488d2 cb06bed9 644ec34c
         2e69f752 4af38319 81c7556e 359bfaf5
         22a00878 4ce3e7e2 362698ea 6c00001d
         fdf0936d 2cf7a318 ed4f0447 ad506cdd
         c2fcf8b7 328bb527 063859b5 f60819d3
         eebdd291 0a12c6af 1c670a30 38fd9e2c
         4a6a3ad7 a51982bd 8d4fabf5 a8c16517
         831661b0 09405052 9fba337b 2b3544cf
         6811a761 093afd66 8b154a21 a5941b88
         a482c5ce f04b18c1 c2e67d7d f90c3a4d
         d4ee12fe 4b734174 d3ee8b0c 1ade74eb
         237710da 4694764b 7cce26c4 7a2570bf
         30bb18c7 6571ab05 26892de7 b5d62840
         7f300971 14d6014b 2ca566b3 d6ad1ef5
         96e552e6 defc287e 6a5a5c16 be31d26a
         392e1570 a9f9e0b3 32d223e5 b15407f3
         41cc55f8 3296f3f5 175ebece 580a3f24
         49494406 fa75e051 c829441b ce7cba98


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Sample Data

          cb7ea85d 8031787d 9495b971       c6925f64
          2726ef05 932d3f1a 14a9bd1a       d88a9b31
          6f54d80e 9fe31dcf c94c1f6a       92cc2c82
          60bd9296 e075b884 2976b667       041800df
          520e7a28 e5b9314a 0bb93966       1aba4643
          829544e2 d69f255c ce5bfa89       9a4704f3
          be803081 fbc36f5c 65fb13c8       69fc770a
          07cbc8ff 50b8dbe3 b171e9f9       ebc8cf22
          49127607 32973806 95979b3c       d75a3f8f
          f933a408 d4945f63 96755d6e       493b554b
          58e78f5b a21d31b3 bbcddf62       83e94233
          15a3bea8 3a6ff73f f02809da       3c6d8208
          acfd6f05 b62bb5a5 91f1e4d5       4b84d357
          2f00672a 3e3c434c 1736072b       45f6370c
          bb46706b 56a57e86 3ed2217a       816e5c09
          1e2895f7 89b57c5e c0a67011       d5f2f69d
          6dac3941 3bc897dc cb42d3bc       ffda31e0
          e961f3fb e4f40041 69e86cc0       530e891c
   7665902a 1ce0804c 921780ae e2

B0: 498bf767 62006f98 36b1e858 ca7403fd
B1: 00790200 00000000 00000000 00000000
B2: 6d42614c 50694940 209c8bd5 5be57733
B3: 3ec1066a 76cb602e a58ced25 f98ceb94
B4: 58bc3db4 e7c46bb9 e23f9220 68bfca00
B5: c1da8f08 1c10e526 0ea37fab 3d91be9f
B6: 3a4e68e9 006cca11 fdc76c59 1e20769d
B7: e1e34385 af105dab 4d44eda7 eacd1974
B8: 5414d5a9 568d67af c05aedd9 6726a130
B9: 7ebe31fd 81881237 c953d2a5 42c57c3b
B10: 019691ef 911953fb 39264712 c61e3e5e
B11: 21286421 85891af5 bf8ca291 59c30596
B12: 11bbe5cd 8f88a7bb b8afd34a 4211eed5
B13: 850ca781 cc9cf5b9 06d5fced 79d35981
B14: 39a1a239 2965b0d5 c6c03a9f e22433ba
B15: 08e7aac7 7d207392 b3486ead dd5c81c6
B16: 5454d575 edd91892 0a2f0fe9 f6d5c037
B17: fec1272e f22c9aa0 d02b3412 81f60847
B18: 887cd303 a82937cf ded4be2d 139342ce
B19: bd09041a f5eaa675 4307eb2d 20a60f7b
B20: 1b944afe e3ae1a6f 476021c7 d30d300e
B21: 44f9eaa2 42e8cb7a 6d74d5b5 0f2d6c1b
B22: d436f44f 1ddf8579 70821a65 117e1200
B23: e0270f00 7cbe6bb2 020ec332 bc464299
B24: 20131eb1 e8864206 3b4a8324 522cfe0a
B25: a5209fd7 3f11a1e0 da00c945 835b6b5f
B26: ec9eaea9 9d177dc0 cbd2efe8 21b388c3
B27: 78b2e137 c84f37a4 5599ffc0 a9106204
B28: 5ed1439f 7e67ea1d 6ab024f7 247e85df
B29: bf15d19c b0f488d2 cb06bed9 644ec34c
B30: 2e69f752 4af38319 81c7556e 359bfaf5
B31: 22a00878 4ce3e7e2 362698ea 6c00001d
B32: fdf0936d 2cf7a318 ed4f0447 ad506cdd
B33: c2fcf8b7 328bb527 063859b5 f60819d3
B34: eebdd291 0a12c6af 1c670a30 38fd9e2c
B35: 4a6a3ad7 a51982bd 8d4fabf5 a8c16517
B36: 831661b0 09405052 9fba337b 2b3544cf

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Sample Data

B37:   6811a761      093afd66   8b154a21   a5941b88
B38:   a482c5ce      f04b18c1   c2e67d7d   f90c3a4d
B39:   d4ee12fe      4b734174   d3ee8b0c   1ade74eb
B40:   237710da      4694764b   7cce26c4   7a2570bf
B41:   30bb18c7      6571ab05   26892de7   b5d62840
B42:   7f300971      14d6014b   2ca566b3   d6ad1ef5
B43:   96e552e6      defc287e   6a5a5c16   be31d26a
B44:   392e1570      a9f9e0b3   32d223e5   b15407f3
B45:   41cc55f8      3296f3f5   175ebece   580a3f24
B46:   49494406      fa75e051   c829441b   ce7cba98
B47:   cb7ea85d      8031787d   9495b971   c6925f64
B48:   2726ef05      932d3f1a   14a9bd1a   d88a9b31
B49:   6f54d80e      9fe31dcf   c94c1f6a   92cc2c82
B50:   60bd9296      e075b884   2976b667   041800df
B51:   520e7a28      e5b9314a   0bb93966   1aba4643
B52:   829544e2      d69f255c   ce5bfa89   9a4704f3
B53:   be803081      fbc36f5c   65fb13c8   69fc770a
B54:   07cbc8ff      50b8dbe3   b171e9f9   ebc8cf22
B55:   49127607      32973806   95979b3c   d75a3f8f
B56:   f933a408      d4945f63   96755d6e   493b554b
B57:   58e78f5b      a21d31b3   bbcddf62   83e94233
B58:   15a3bea8      3a6ff73f   f02809da   3c6d8208
B59:   acfd6f05      b62bb5a5   91f1e4d5   4b84d357
B60:   2f00672a      3e3c434c   1736072b   45f6370c
B61:   bb46706b      56a57e86   3ed2217a   816e5c09
B62:   1e2895f7      89b57c5e   c0a67011   d5f2f69d
B63:   6dac3941      3bc897dc   cb42d3bc   ffda31e0
B64:   e961f3fb      e4f40041   69e86cc0   530e891c
B65:   7665902a      1ce0804c   921780ae   e2000000

Y0: ebe10d25 4ab27e31 1ea87d16 867d7904
Y1: 99b84ef8 a25d519e 700f76f1 85a74583
Y2: 23fd3478 f96bddd9 dd2e7ded 25f2515e
Y3: 5659d15b 1b569b1f 298f4430 7459cbe0
Y4: d0e6d2f8 939e7c9d 3774cf46 642295ce
Y5: 7e6662bc 99ec7ecc d985ddd4 d2365187
Y6: 421bb569 a5f4d07a 5157fed4 db03f630
Y7: 9fa62969 f43263b1 ac3e269f 15b844ff
Y8: a36e0d50 b75b2feb 45d8c9ee 052f33e4
Y9: 6245ece7 0ad0e314 2ce6ad6b f406b745
Y10: 41ff1de6 e1b3ccec eb6cfb07 fd150751
Y11: 43cae883 dd43266d 2f717cd4 b7c777ba
Y12: 92e3f4b7 bc4b8613 38c0043b 6885fbfb
Y13: b1595644 ec0a8e4e 803994e6 f3d284c5
Y14: e9f7ec01 c4f11349 a5f0a3aa efe88c98
Y15: 8c48cadc 7483c350 c11b6cb4 b8f32b25
Y16: b76f72f5 d54da8e0 b70bcaae 0727f4ed
Y17: b700d8e8 585256f8 38530196 ef3a4a6e
Y18: e0a0f7f0 8f252298 48f8e404 ff4d9f93
Y19: aea86952 8f028974 d890f4e5 52e6da13
Y20: 36566635 1c0a0078 9ee4499b d30ac682
Y21: 886e6fcb 9e9fe3e8 dbfa13ae 7d1e44a7
Y22: 43c5285e de2846da 266a4720 cbd3713e
Y23: 52c47b3e d9a6666e 566eaba7 9275a90f
Y24: ac04ee00 56922a78 5f48347a 3a2360f7
Y25: 33b5496f 546e71f0 80272f6a d189898a
Y26: 5519cbaf ff8fe542 4934f09a 39584456

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Sample Data

Y27:   913a3746      5e6ad4c1   7fce844c   f72dc1d8
Y28:   46cef034      a103a8f4   ac13040c   6c466b4b
Y29:   6cbffa5e      2dff5b95   87ba863b   26eab593
Y30:   f3dbf258      03f21f71   4d03c4a2   7be84598
Y31:   b3c7f849      ab6e9612   e9ece9d5   57c4c813
Y32:   39043423      c60f8fd8   2c108055   6f387c76
Y33:   f9dd8872      1fa6f4f4   e5345613   fd5495fd
Y34:   cf3d7135      63d2ccfd   41507bd0   fe759830
Y35:   8215cff7      93ae5d92   446fb102   632b4fb8
Y36:   8b02ecb6      fcc063f6   fb41e34a   19afdb3a
Y37:   982e82d3      171d9fb0   ab5b8fbf   17dc00d2
Y38:   2dc18652      f4818748   e3c5fe0e   36b47716
Y39:   e6eaef36      46e56552   8ed8c309   ea46ba7f
Y40:   40842220      827424b0   b2f7d5cf   b201b5e4
Y41:   5153e29d      bc85bafb   36dea69c   ec1f1a43
Y42:   08614ff3      44d96b3a   f5b9e763   5600b69c
Y43:   2550a964      b17af58b   1843199b   1394de57
Y44:   11cda830      619505fa   49d971c9   c8051abb
Y45:   d73824df      17b8ccc2   b52ba9ea   ff6f6097
Y46:   100d3219      3486065d   9e7e7ebd   235c34c1
Y47:   440e8fbf      e2af1797   2fa75056   2e1941d4
Y48:   91eb5850      4d92d2b8   a64b0e8e   34cf38ef
Y49:   715b4924      0a081cee   2509e363   c746ba6b
Y50:   1cc42047      e5fa2dfb   1c0901f0   a01676c5
Y51:   2634d6db      62d0d5b7   328c5278   6d44b7b1
Y52:   79a0548c      8589f663   323c1604   6af753a8
Y53:   e0ba54a0      412e68c1   13c5daf1   8a6e275a
Y54:   a1a5e608      3359873b   cfb66476   052fcb79
Y55:   ce70f15c      f2971ebe   7c2d1e3c   a288f591
Y56:   d9a64946      58968fda   4756668d   a5b82b89
Y57:   0c2d5786      6ae786a6   03c6db95   6d26186a
Y58:   00732c24      192905a4   3edaeb0d   cc3d4a95
Y59:   ae9a2e1c      042112df   4578395b   cba685b1
Y60:   50fdc48d      0af8812c   b3e64e85   3316b083
Y61:   d2c14e67      888a7401   85bd5b91   37d6977a
Y62:   4b882e82      ca8338bb   2278c4d3   8d07f474
Y63:   4bf051e5      19bc961e   38c52cae   50e61d87
Y64:   657025a1      064ec7d6   e1d16bc0   049931bf
Y65:   6de9dbe8      c5a2ed24   66701ea3   4caee13e

T: 6de9dbe8

CTR0: 018bf767 62006f98 36b1e858 ca740000
CTR1: 018bf767 62006f98 36b1e858 ca740001
CTR2: 018bf767 62006f98 36b1e858 ca740002
CTR3: 018bf767 62006f98 36b1e858 ca740003
CTR4: 018bf767 62006f98 36b1e858 ca740004
CTR5: 018bf767 62006f98 36b1e858 ca740005
CTR6: 018bf767 62006f98 36b1e858 ca740006
CTR7: 018bf767 62006f98 36b1e858 ca740007
CTR8: 018bf767 62006f98 36b1e858 ca740008
CTR9: 018bf767 62006f98 36b1e858 ca740009
CTR10: 018bf767 62006f98 36b1e858 ca74000a
CTR11: 018bf767 62006f98 36b1e858 ca74000b
CTR12: 018bf767 62006f98 36b1e858 ca74000c
CTR13: 018bf767 62006f98 36b1e858 ca74000d
CTR14: 018bf767 62006f98 36b1e858 ca74000e

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Sample Data

CTR15:    018bf767       62006f98   36b1e858   ca74000f
CTR16:    018bf767       62006f98   36b1e858   ca740010
CTR17:    018bf767       62006f98   36b1e858   ca740011
CTR18:    018bf767       62006f98   36b1e858   ca740012
CTR19:    018bf767       62006f98   36b1e858   ca740013
CTR20:    018bf767       62006f98   36b1e858   ca740014
CTR21:    018bf767       62006f98   36b1e858   ca740015
CTR22:    018bf767       62006f98   36b1e858   ca740016
CTR23:    018bf767       62006f98   36b1e858   ca740017
CTR24:    018bf767       62006f98   36b1e858   ca740018
CTR25:    018bf767       62006f98   36b1e858   ca740019
CTR26:    018bf767       62006f98   36b1e858   ca74001a

CTR27:    018bf767       62006f98   36b1e858   ca74001b
CTR28:    018bf767       62006f98   36b1e858   ca74001c
CTR29:    018bf767       62006f98   36b1e858   ca74001d
CTR30:    018bf767       62006f98   36b1e858   ca74001e
CTR31:    018bf767       62006f98   36b1e858   ca74001f
CTR32:    018bf767       62006f98   36b1e858   ca740020
CTR33:    018bf767       62006f98   36b1e858   ca740021
CTR34:    018bf767       62006f98   36b1e858   ca740022
CTR35:    018bf767       62006f98   36b1e858   ca740023
CTR36:    018bf767       62006f98   36b1e858   ca740024
CTR37:    018bf767       62006f98   36b1e858   ca740025
CTR38:    018bf767       62006f98   36b1e858   ca740026
CTR39:    018bf767       62006f98   36b1e858   ca740027
CTR40:    018bf767       62006f98   36b1e858   ca740028
CTR41:    018bf767       62006f98   36b1e858   ca740029
CTR42:    018bf767       62006f98   36b1e858   ca74002a
CTR43:    018bf767       62006f98   36b1e858   ca74002b
CTR44:    018bf767       62006f98   36b1e858   ca74002c
CTR45:    018bf767       62006f98   36b1e858   ca74002d
CTR46:    018bf767       62006f98   36b1e858   ca74002e
CTR47:    018bf767       62006f98   36b1e858   ca74002f
CTR48:    018bf767       62006f98   36b1e858   ca740030
CTR49:    018bf767       62006f98   36b1e858   ca740031
CTR50:    018bf767       62006f98   36b1e858   ca740032
CTR51:    018bf767       62006f98   36b1e858   ca740033
CTR52:    018bf767       62006f98   36b1e858   ca740034
CTR53:    018bf767       62006f98   36b1e858   ca740035
CTR54:    018bf767       62006f98   36b1e858   ca740036
CTR55:    018bf767       62006f98   36b1e858   ca740037
CTR56:    018bf767       62006f98   36b1e858   ca740038
CTR57:    018bf767       62006f98   36b1e858   ca740039
CTR58:    018bf767       62006f98   36b1e858   ca74003a
CTR59:    018bf767       62006f98   36b1e858   ca74003b
CTR60:    018bf767       62006f98   36b1e858   ca74003c
CTR61:    018bf767       62006f98   36b1e858   ca74003d
CTR62:    018bf767       62006f98   36b1e858   ca74003e
CTR63:    018bf767       62006f98   36b1e858   ca74003f
CTR64:    018bf767       62006f98   36b1e858   ca740040

S0:   254593c4     cd12c6a7   d9dec572   95524b75
S1:   af492e65     ca391b26   e8ce9653   498ed0de
S2:   869271ed     ac79c1bc   3cf0f959   c2711f3b
S3:   31554cb7     aa9b1dfb   24ba8b26   eab59ad8
S4:   7cb39415     9dce80e6   0ac0e5e0   9667747e

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Sample Data

S5: 9727b319 ccbcc251 d539fd08 497942c8
S6: bd972408 212a147c 3eb66687 1488e2d9
S7: aef3e149 6b4e615b 309a7f93 53ca2981
S8: 6b276914 1d957bec 4c87e76d ee681e76
S9: a2df383f eece9b0d 4553f2e8 6f8b6035
S10: 11dac6bc c4177830 c7038ee1 e6cb0579
S11: 30bfd1cf 7fa95155 7c0757bf f14840a0
S12: 2315682b 1f4cb1f6 10fd4365 4d9b6155
S13: 7f4aa2fd 211bbc18 9ff3dcd7 c8102220
S14: a072aa38 70e32a62 f7214fb1 97dbfbfd
S15: f7c2b622 96a1f9e1 d3e7837f 293f6e86
S16: e63dc9fd 830944d5 b9fa2257 b0e19402
S17: eceef697 e76f671f 5e7e8c6e ae43f63b
S18: a9bccd3a 4ae6b498 40a6ead6 cd6200a8
S19: 2b624b6b f923eb0f 110ff341 4b1ab902
S20: a47db290 f068ca62 c9236eec ddb431f4
S21: a4ad3dc5 7e324250 1938950e 7b3827fd
S22: 364c32d8 35f63c05 5c8f32dd e560cc8f
S23: f2fd81dc cd12d0cc 2e4f7834 43a74630
S24: 7875bf58 8a162375 b25069d6 b82f4f36
S25: a66bb2d0 43870301 47dbe7f1 92f04b34
S26: 52b87f3e 796b208e 5a0f57c1 6de88c53
S27: 312e84cd 8f627142 ffa9b6cd 56ce3c59
S28: 6695a4dd 1e85cb05 c2070e7c fa16dd90
S29: 10df7734 8a106a97 3b37c508 e54fc157
S30: 54abd840 17756b69 0b7e187b ef5c8ea5
S31: 0bf5f442 c3fecabd 64b313ca 9787f134
S32: aaed31c5 98d1b73a ceaf242d 37b08fd4
S33: 37946570 fcf94220 77cf63da 4781771b
S34: ab5dd397 a7c0d893 7b17c1d2 eb9bc233
S35: 7367b29c 0ecc6a76 1a3c5602 40ca2ca2
S36: 6b593c6d f7485995 f36f1169 089c0be9
S37: ffca503f cfb8848c 73e37041 508128a3
S38: 444e1461 b95ef61a 90c93236 5aaa9fa8
S39: 4099c123 717f86df 23e16eaf 7ed015df
S40: 730217d1 28fa1af8 720864ad 99430469
S41: 43e6b844 95068645 5aca15ed 1bc668a6
S42: 9ee17b6a 65f56326 42e4b829 b5348945
S43: acf20ec7 151b75f0 dd4023ba d099b71c
S44: 41880777 e033c519 79eee51e 14a9246d
S45: 02bb2b01 4981e028 ddb66c67 a7077a1b
S46: db90a526 db75c631 d31af69d ef7b9082
S47: fddfda45 35a30553 78f655cb eae4d1d3
S48: 3472e976 3205e39b e8295a5d 9be10244
S49: fbe961bd 23f25c70 c87cac28 157b55d1
S50: 20a9174a 8da17e48 167086fd 5201ccbb
S51: 390a62b8 90a669c1 b89476ac a46ee788
S52: e354ab7f bd3afd7d 02361116 91afbf21
S53: cbe14419 ab1a4841 3155aaab e1d41a64
S54: cf8fd9f8 8d63ce6a c4c81f7b 852a081f
S55: c6abaae1 44875175 f239963a 194565d1
S56: 8f420880 95982bda d1317139 e9ca663b
S57: 5c7e5c2e 9a457be9 325620ed e0465cf7
S58: f9eb32f4 e1804702 eaff74d1 dea8a295
S59: eb66a965 5551f198 b13495a8 2200509c
S60: a0ee623d 5562b3a6 2cea2c8d f60eb0d8
S61: e7562630 9f7d5b7b 4da8effc e4a1e015

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Sample Data

S62: fa1a5da9 7cdfed2b efd7b409 e065c33e
S63: 238ac0b6 f00d1b5b 77b091cc f4a4ffc4
S64: 533e37d7 b179b943 53511492 e4f58248

MIC: 48ac482c
Encrypted payload: c20b4f29      9a505266   c8521d86   126ba7ed
                   b8537787      dab2a192   997c147c   3bfdf4af
                   69e97103      4d5f7642   c6851906   820a50d8
                   bd691b1d      81de65c0   04639a4b   abf6cae1
                   ad69dbf0      ccd00840   28fe9151   57593455
                   5c74678d      8e3a49d7   73f28b20   fe45fbad
                   fae734e0      3dc306f4   f0c0924a   34ec88b1
                   159958e9      9c1d69db   85d435c8   acad624d
                   a349a9d0      7fd7c8f6   7c75b5fa   a9955e6b
                   30f2a29d      419e62c5   788f2c70   bf0800ef
                   21043402      f021f6ee   c4a884f5   b359ae75
                   a619cfaa      d3d0444f   1628bf88   344838d4
                   46eb00c4      087e0ccd   5933e648   2a34119a
                   a89500ff      0dc359f0   4469211c   4a877a3b
                   a3966357      7b78e173   d9c88c96   dfeaaeb1
                   18fceed3      7125de75   69d11645   31179c45
                   64922594      4f4650d0   80aa3243   bdd0b4f5
                   14b5c920      bf0c12ed   03a101fb   edc40fd3
                   30f60195      1a8df160   566fd286   9817890c
                   e0845832      b2800118   a457bb59   d2995def
                   709bc98a      63edc729   69ba8f6b   6a4635fd
                   d66b3dd8      494857b7   5e81f1ef   59268e16
                   d2ee9f6d      259492ca   1505fb10   118bb83a
                   dd55208f      b5078295   6850a093   3b742469
                   4af51c79      de907ec1   8c090819   b343c3f7
                   2a0a9e09      b124172a   0f96a801   c4f8ee57
                   6fffc752      f1059b5f   9519923a   72b0b986
                   d9807541      ae7143d7   0901b0a5   9e581edc
                   3eb68066      c0e3e98e   baf09066   d0d43ba2
                   760bd038      5b968c8b   3d588091   835c8eb8
                   f605672f      ef0969a5   89fc178d   3ad79de9
                   6811c972      aa5a021d   c8977d98   c1b89607
                   d929b7e1      f6eb848f   6ba869ea   7f7ce937
                   e137e940      02d95a2e   f6586a27   435aa724
                   f071d32c      078c3a24   85866579   6bff686d
                   03489b0c      fe72a4f3   787a5b48   ad081061
                   5b4895f1      3ff39c4d   b1050d3c   a98d12ee
                   90a0069f      f22db76e   4327b93a   4074eb43
                   63eed1f9      37ebf094   5f2f486b   04f56560
                   43b90f16      4d8bb1fd   5481494a   2c952c29
                   3cd6b135      81d0870e   766f735e   cd6b7653
                   0804298c      bb094b58   28bee43f   0b055b2f
                   95dc1bb7      bce29543   ef92005f   61cdb0ef
                   0044528f      d2a536ec   6eb05bd0   4ca31b49
                   4bf26f07      b3f40079   159f287c   697bc083
                   10ee0d7b      5b44be4c   478f4fec   29e9cfe6
                   daf93540      a68e3a49   6c5fe8d1   326e4ae2
                   5b263178      ade6fe54   21654537   092d2ec6
                   9b54f32b      c387e4f4   e10a1a4f   1163550e
                   72a76d62      68184f02   1dc9bf9b   48bb8af8
                   bb9f265a      46394c9d   76cf8c25   3e29e37b
                   5dd49bfe      46f99221   67cd02de   f853c82b

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Sample Data

                         cc2a8ce6   fba293a2   80244352   0a1cd546
                         869dafff   bff4f66c   515f8447   52703790
                         3f980ee9   90130e16   644ccb54   507e309a
                         d7a587db   37851a69   6afcae5b   6a232408
                         49dde286   a02a8cd6   c27e2937   dc2bdeff
                         55165df1   57abf2a7   7b0e9004   952c71c2
                         c466ce4f   6b6db2d4   a6029283   67f66790
                         1ba81256   03c7cd20   12380df7   7760ecd1
                         f97eb3c7   16c82725   8d0e9fed   31531688
                         97b664e8   47177af7   249567b5   1fbff2de
                         caeb334d   14f91b1a   1e58fd0c   a7aa76d8
                         255ba7fd   ad99390f   c146943c   06



1.2.13 Sample Data 13 (3-DH5, S --> M)

Payload byte length: 3fd
K: 7b04934f d9d25294 ef1a014d a094f0b5
Payload counter: 006267f78b
Zero-length ACL-U Continuation: 0
Direction: 1
Initialization vector: 74ca58e8 b136986f
LT_ADDR: 1
Packet Type: f
LLID: 2
Payload: 6d42614c 50694940 209c8bd5 5be57733
         3ec1066a 76cb602e a58ced25 f98ceb94
         58bc3db4 e7c46bb9 e23f9220 68bfca00
         c1da8f08 1c10e526 0ea37fab 3d91be9f
         3a4e68e9 006cca11 fdc76c59 1e20769d
         e1e34385 af105dab 4d44eda7 eacd1974
         5414d5a9 568d67af c05aedd9 6726a130
         7ebe31fd 81881237 c953d2a5 42c57c3b
         019691ef 911953fb 39264712 c61e3e5e
         21286421 85891af5 bf8ca291 59c30596
         11bbe5cd 8f88a7bb b8afd34a 4211eed5
         850ca781 cc9cf5b9 06d5fced 79d35981
         39a1a239 2965b0d5 c6c03a9f e22433ba
         08e7aac7 7d207392 b3486ead dd5c81c6
         5454d575 edd91892 0a2f0fe9 f6d5c037
         fec1272e f22c9aa0 d02b3412 81f60847
         887cd303 a82937cf ded4be2d 139342ce
         bd09041a f5eaa675 4307eb2d 20a60f7b
         1b944afe e3ae1a6f 476021c7 d30d300e
         44f9eaa2 42e8cb7a 6d74d5b5 0f2d6c1b
         d436f44f 1ddf8579 70821a65 117e1200
         e0270f00 7cbe6bb2 020ec332 bc464299
         20131eb1 e8864206 3b4a8324 522cfe0a
         a5209fd7 3f11a1e0 da00c945 835b6b5f
         ec9eaea9 9d177dc0 cbd2efe8 21b388c3
         78b2e137 c84f37a4 5599ffc0 a9106204
         5ed1439f 7e67ea1d 6ab024f7 247e85df
         bf15d19c b0f488d2 cb06bed9 644ec34c
         2e69f752 4af38319 81c7556e 359bfaf5
         22a00878 4ce3e7e2 362698ea 6c00001d
         fdf0936d 2cf7a318 ed4f0447 ad506cdd


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Sample Data

             c2fcf8b7    328bb527   063859b5   f60819d3
             eebdd291    0a12c6af   1c670a30   38fd9e2c
             4a6a3ad7    a51982bd   8d4fabf5   a8c16517
             831661b0    09405052   9fba337b   2b3544cf
             6811a761    093afd66   8b154a21   a5941b88
             a482c5ce    f04b18c1   c2e67d7d   f90c3a4d
             d4ee12fe    4b734174   d3ee8b0c   1ade74eb
             237710da    4694764b   7cce26c4   7a2570bf
             30bb18c7    6571ab05   26892de7   b5d62840
             7f300971    14d6014b   2ca566b3   d6ad1ef5
             96e552e6    defc287e   6a5a5c16   be31d26a
             392e1570    a9f9e0b3   32d223e5   b15407f3
             41cc55f8    3296f3f5   175ebece   580a3f24
             49494406    fa75e051   c829441b   ce7cba98
             cb7ea85d    8031787d   9495b971   c6925f64
             2726ef05    932d3f1a   14a9bd1a   d88a9b31
             6f54d80e    9fe31dcf   c94c1f6a   92cc2c82
             60bd9296    e075b884   2976b667   041800df
             520e7a28    e5b9314a   0bb93966   1aba4643
             829544e2    d69f255c   ce5bfa89   9a4704f3
             be803081    fbc36f5c   65fb13c8   69fc770a
             07cbc8ff    50b8dbe3   b171e9f9   ebc8cf22
             49127607    32973806   95979b3c   d75a3f8f
             f933a408    d4945f63   96755d6e   493b554b
             58e78f5b    a21d31b3   bbcddf62   83e94233
             15a3bea8    3a6ff73f   f02809da   3c6d8208
             acfd6f05    b62bb5a5   91f1e4d5   4b84d357
             2f00672a    3e3c434c   1736072b   45f6370c
             bb46706b    56a57e86   3ed2217a   816e5c09
             1e2895f7    89b57c5e   c0a67011   d5f2f69d
             6dac3941    3bc897dc   cb42d3bc   ffda31e0
             e961f3fb    e4f40041   69e86cc0   530e891c
             7665902a    1ce0804c   921780ae   e2

B0: 498bf767 62206f98 36b1e858 ca7403fd
B1: 00790200 00000000 00000000 00000000
B2: 6d42614c 50694940 209c8bd5 5be57733
B3: 3ec1066a 76cb602e a58ced25 f98ceb94
B4: 58bc3db4 e7c46bb9 e23f9220 68bfca00
B5: c1da8f08 1c10e526 0ea37fab 3d91be9f
B6: 3a4e68e9 006cca11 fdc76c59 1e20769d
B7: e1e34385 af105dab 4d44eda7 eacd1974
B8: 5414d5a9 568d67af c05aedd9 6726a130
B9: 7ebe31fd 81881237 c953d2a5 42c57c3b
B10: 019691ef 911953fb 39264712 c61e3e5e
B11: 21286421 85891af5 bf8ca291 59c30596
B12: 11bbe5cd 8f88a7bb b8afd34a 4211eed5
B13: 850ca781 cc9cf5b9 06d5fced 79d35981
B14: 39a1a239 2965b0d5 c6c03a9f e22433ba
B15: 08e7aac7 7d207392 b3486ead dd5c81c6
B16: 5454d575 edd91892 0a2f0fe9 f6d5c037
B17: fec1272e f22c9aa0 d02b3412 81f60847
B18: 887cd303 a82937cf ded4be2d 139342ce
B19: bd09041a f5eaa675 4307eb2d 20a60f7b
B20: 1b944afe e3ae1a6f 476021c7 d30d300e
B21: 44f9eaa2 42e8cb7a 6d74d5b5 0f2d6c1b
B22: d436f44f 1ddf8579 70821a65 117e1200

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Sample Data

B23:   e0270f00      7cbe6bb2   020ec332   bc464299
B24:   20131eb1      e8864206   3b4a8324   522cfe0a
B25:   a5209fd7      3f11a1e0   da00c945   835b6b5f
B26:   ec9eaea9      9d177dc0   cbd2efe8   21b388c3
B27:   78b2e137      c84f37a4   5599ffc0   a9106204
B28:   5ed1439f      7e67ea1d   6ab024f7   247e85df
B29:   bf15d19c      b0f488d2   cb06bed9   644ec34c
B30:   2e69f752      4af38319   81c7556e   359bfaf5
B31:   22a00878      4ce3e7e2   362698ea   6c00001d
B32:   fdf0936d      2cf7a318   ed4f0447   ad506cdd
B33:   c2fcf8b7      328bb527   063859b5   f60819d3
B34:   eebdd291      0a12c6af   1c670a30   38fd9e2c
B35:   4a6a3ad7      a51982bd   8d4fabf5   a8c16517
B36:   831661b0      09405052   9fba337b   2b3544cf
B37:   6811a761      093afd66   8b154a21   a5941b88
B38:   a482c5ce      f04b18c1   c2e67d7d   f90c3a4d
B39:   d4ee12fe      4b734174   d3ee8b0c   1ade74eb
B40:   237710da      4694764b   7cce26c4   7a2570bf
B41:   30bb18c7      6571ab05   26892de7   b5d62840
B42:   7f300971      14d6014b   2ca566b3   d6ad1ef5
B43:   96e552e6      defc287e   6a5a5c16   be31d26a
B44:   392e1570      a9f9e0b3   32d223e5   b15407f3
B45:   41cc55f8      3296f3f5   175ebece   580a3f24
B46:   49494406      fa75e051   c829441b   ce7cba98
B47:   cb7ea85d      8031787d   9495b971   c6925f64
B48:   2726ef05      932d3f1a   14a9bd1a   d88a9b31
B49:   6f54d80e      9fe31dcf   c94c1f6a   92cc2c82
B50:   60bd9296      e075b884   2976b667   041800df
B51:   520e7a28      e5b9314a   0bb93966   1aba4643
B52:   829544e2      d69f255c   ce5bfa89   9a4704f3
B53:   be803081      fbc36f5c   65fb13c8   69fc770a
B54:   07cbc8ff      50b8dbe3   b171e9f9   ebc8cf22
B55:   49127607      32973806   95979b3c   d75a3f8f
B56:   f933a408      d4945f63   96755d6e   493b554b
B57:   58e78f5b      a21d31b3   bbcddf62   83e94233
B58:   15a3bea8      3a6ff73f   f02809da   3c6d8208
B59:   acfd6f05      b62bb5a5   91f1e4d5   4b84d357
B60:   2f00672a      3e3c434c   1736072b   45f6370c
B61:   bb46706b      56a57e86   3ed2217a   816e5c09
B62:   1e2895f7      89b57c5e   c0a67011   d5f2f69d
B63:   6dac3941      3bc897dc   cb42d3bc   ffda31e0
B64:   e961f3fb      e4f40041   69e86cc0   530e891c
B65:   7665902a      1ce0804c   921780ae   e2000000

Y0: b7b63a11 d2ff710c 5d821353 120fe064
Y1: 31635446 16989968 dbd392df 77ab44b2
Y2: fe667b06 7ef88846 a74b5119 476c5ca9
Y3: 03db41e6 902e40ff fa6d86e6 92a2c630
Y4: 0a1c2366 e55a2cd0 701fe43d 34becee0
Y5: 8e8c6fd4 dfb9071b 3feb7938 defa835e
Y6: 61b2fe53 6f876519 43698e8d f7ca327e
Y7: 3705a0c3 39989f81 377afb1b d9f01569
Y8: d96211f1 959c7a64 3ee0a727 b4ad2ae2
Y9: 7cdc85ed d204d4ce 33665710 bcd4f7f1
Y10: 9a6d0fed cfde263e 62eddf28 fab38c98
Y11: 98915f60 f70cc4df 74ac9931 1a4f2990
Y12: 4a88113a 754243af c00324ef 117678f7

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Y13:   a0f620c0      b3a903fa   648210ef   63eef46f
Y14:   f526db99      20291004   225a762f   129e58ff
Y15:   8ee96b03      494a8b18   1e1194b7   babb8a27
Y16:   59b69b74      0455f2ac   65f9c651   34ceae70
Y17:   9c0a2ee9      64e57ffb   57bcd10d   f3c8a567
Y18:   ee339202      c09ff61a   72fc2a2f   183b370e
Y19:   57b1bac2      63769a7b   db0eac84   6b49aca4
Y20:   20e3786a      e9526a50   cdc9dcc5   c579a3bf
Y21:   6bc61121      214dd538   aa3cc0a3   9abab72a
Y22:   5a42d758      fb854450   55199e78   ba42ca62
Y23:   fc9cf1f6      58691ce8   01ca2501   25223403
Y24:   cfa5ab4f      90431bc8   f832f148   db633e8e
Y25:   7254ae54      60a7dcbd   3470df60   7af3c1ca
Y26:   436205c4      763e68ab   390907e2   da236e8d
Y27:   6738b5db      e1b8b739   d5eccc0d   47ab511c
Y28:   65a1dd1e      f661d376   1c917ea7   f171dc7e
Y29:   55a82897      a7d19703   87e783cd   52ddecd8
Y30:   7e0ae507      5c9b8dc1   e4981e02   377472b5
Y31:   035d4dd3      493a84b5   0c2bd3ae   2f9f728b
Y32:   34441d1c      cd9400d9   164c74b3   5021a97e
Y33:   4c5c3051      0c1d8571   782993c0   3a7a9e13
Y34:   63453300      3bc6cc3d   53a36db3   79f2b047
Y35:   e3630826      7ac4040c   b087d657   953a4560
Y36:   967ef5bd      bf821572   466bf00f   aefd751b
Y37:   4f19c371      c5da0b9f   4bc55452   05dab223
Y38:   6fa54807      d40a41ca   3c41bf6a   890d56c9
Y39:   fb2d42e7      013c1e0d   17aa1e01   090fe190
Y40:   f6104499      02efdc76   6cae97b7   f27d8765
Y41:   5d9ebc6d      22b48c7c   276b9670   636433cb
Y42:   d85fb261      60c02b6d   348e6616   8d79f268
Y43:   c66ab5e0      7fc159dd   07f41e8d   511989d0
Y44:   e18f58b0      c831550b   2aa0f002   51899793
Y45:   c36620e2      7a396916   74cc358f   36d4ae68
Y46:   6b1cb137      b69d021f   764150fd   5b29744f
Y47:   cc3b7f27      a69a9666   6919d755   6893a18f
Y48:   b1e1c8f8      936c88d1   b2540bf8   e82032d9
Y49:   045ad0f2      638df0e6   79357e37   0240dd8a
Y50:   455f563e      5cf94329   a4efbede   ac30d09f
Y51:   f6e8f947      ec78897c   96fe5879   a1519ede
Y52:   f2a0a601      d7765bb7   0a41a0b6   fae10c36
Y53:   86bcc098      bcd1e930   7b008ec5   6c027ccb
Y54:   8f0f380b      c973be6a   c88d8a4d   45f86b0c
Y55:   2b5ca348      5bb4015a   e9b907f6   1cc77400
Y56:   a2755ca8      2c52702b   ed08736d   ef68938a
Y57:   d92292d5      0a0cf7cd   79d95799   6c6dff88
Y58:   469d1262      83afb58c   9810c732   a4a36a79
Y59:   bb563499      7ca1c960   8357c393   60148fff
Y60:   83e8dbc7      67e501de   080aac2d   0501b9ec
Y61:   956f13a2      c14f9476   d268896c   f24ed47a
Y62:   1dfcb90c      4b088e40   830784fe   f9dbe7c6
Y63:   e7c8898d      9c033db9   117191d0   57d0d5cb
Y64:   6a187312      e7bc05cc   bd8e8199   e9e7348d
Y65:   682ec5d4      8fec944f   0e02eeb0   bcf11786

T: 682ec5d4

CTR0: 018bf767 62206f98 36b1e858 ca740000

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Sample Data

CTR1: 018bf767 62206f98 36b1e858 ca740001
CTR2: 018bf767 62206f98 36b1e858 ca740002
CTR3: 018bf767 62206f98 36b1e858 ca740003
CTR4: 018bf767 62206f98 36b1e858 ca740004
CTR5: 018bf767 62206f98 36b1e858 ca740005
CTR6: 018bf767 62206f98 36b1e858 ca740006
CTR7: 018bf767 62206f98 36b1e858 ca740007
CTR8: 018bf767 62206f98 36b1e858 ca740008
CTR9: 018bf767 62206f98 36b1e858 ca740009
CTR10: 018bf767 62206f98 36b1e858 ca74000a
CTR11: 018bf767 62206f98 36b1e858 ca74000b
CTR12: 018bf767 62206f98 36b1e858 ca74000c
CTR13: 018bf767 62206f98 36b1e858 ca74000d
CTR14: 018bf767 62206f98 36b1e858 ca74000e
CTR15: 018bf767 62206f98 36b1e858 ca74000f
CTR16: 018bf767 62206f98 36b1e858 ca740010
CTR17: 018bf767 62206f98 36b1e858 ca740011
CTR18: 018bf767 62206f98 36b1e858 ca740012
CTR19: 018bf767 62206f98 36b1e858 ca740013
CTR20: 018bf767 62206f98 36b1e858 ca740014
CTR21: 018bf767 62206f98 36b1e858 ca740015
CTR22: 018bf767 62206f98 36b1e858 ca740016
CTR23: 018bf767 62206f98 36b1e858 ca740017
CTR24: 018bf767 62206f98 36b1e858 ca740018
CTR25: 018bf767 62206f98 36b1e858 ca740019
CTR26: 018bf767 62206f98 36b1e858 ca74001a
CTR27: 018bf767 62206f98 36b1e858 ca74001b
CTR28: 018bf767 62206f98 36b1e858 ca74001c
CTR29: 018bf767 62206f98 36b1e858 ca74001d
CTR30: 018bf767 62206f98 36b1e858 ca74001e
CTR31: 018bf767 62206f98 36b1e858 ca74001f
CTR32: 018bf767 62206f98 36b1e858 ca740020
CTR33: 018bf767 62206f98 36b1e858 ca740021
CTR34: 018bf767 62206f98 36b1e858 ca740022
CTR35: 018bf767 62206f98 36b1e858 ca740023
CTR36: 018bf767 62206f98 36b1e858 ca740024
CTR37: 018bf767 62206f98 36b1e858 ca740025
CTR38: 018bf767 62206f98 36b1e858 ca740026
CTR39: 018bf767 62206f98 36b1e858 ca740027
CTR40: 018bf767 62206f98 36b1e858 ca740028
CTR41: 018bf767 62206f98 36b1e858 ca740029
CTR42: 018bf767 62206f98 36b1e858 ca74002a
CTR43: 018bf767 62206f98 36b1e858 ca74002b
CTR44: 018bf767 62206f98 36b1e858 ca74002c
CTR45: 018bf767 62206f98 36b1e858 ca74002d
CTR46: 018bf767 62206f98 36b1e858 ca74002e
CTR47: 018bf767 62206f98 36b1e858 ca74002f
CTR48: 018bf767 62206f98 36b1e858 ca740030
CTR49: 018bf767 62206f98 36b1e858 ca740031
CTR50: 018bf767 62206f98 36b1e858 ca740032
CTR51: 018bf767 62206f98 36b1e858 ca740033
CTR52: 018bf767 62206f98 36b1e858 ca740034
CTR53: 018bf767 62206f98 36b1e858 ca740035
CTR54: 018bf767 62206f98 36b1e858 ca740036
CTR55: 018bf767 62206f98 36b1e858 ca740037
CTR56: 018bf767 62206f98 36b1e858 ca740038
CTR57: 018bf767 62206f98 36b1e858 ca740039

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Sample Data

CTR58:    018bf767       62206f98   36b1e858   ca74003a
CTR59:    018bf767       62206f98   36b1e858   ca74003b
CTR60:    018bf767       62206f98   36b1e858   ca74003c
CTR61:    018bf767       62206f98   36b1e858   ca74003d
CTR62:    018bf767       62206f98   36b1e858   ca74003e
CTR63:    018bf767       62206f98   36b1e858   ca74003f
CTR64:    018bf767       62206f98   36b1e858   ca740040

S0: 1404487a 919e16c8 b3245d80 2b364231
S1: 82082cbc 57038db7 4823be9a 34e0a8d7
S2: 1b5f7526 d26fe763 7669dfee 63743d3a
S3: a3673258 5020c6cd d72bf517 accb632d
S4: 8a60ebb6 59c59ac1 a45a1ffd f54f7cd7
S5: 036f35c7 130c8a30 25e9da14 706df5bc
S6: e328cbb0 09c91d56 f010b40e e0fc5c3f
S7: 626d3d67 b53eb139 e155c9a2 df407b17
S8: d94e430b 829c7caf 289d2898 3c68aa5a
S9: d6343452 d92cb1ac b3fde90b e2f0789f
S10: 8ab8413c 0df18adf ae07a74f 82b3c91f
S11: 61bfac52 125b8fc4 eaac30f7 5a543821
S12: 68899f8f 2892931d 88b08926 7fa3cfc9
S13: 86b668c5 4ef24455 22a45f42 61aea816
S14: f57b4941 8332f0b3 7749ea30 53a711ee
S15: 593562a8 45c75a7c 70030f08 6fedd965
S16: f85e742f a743f353 6a22b384 be1dabdc
S17: ed7e317b 635deed3 e8b619f2 9bc65eb0
S18: 2035622d 94718ad6 c1631fa2 755883f4
S19: 40f50638 ad826c4a 3ca4fb88 467445ae
S20: e27eb632 0c2aee5c 9210b1c7 736fb897
S21: 711a9be3 c7054fa5 82ec70b6 028489e7
S22: 7b543081 c52e2cba 26400e6b 46642d0d
S23: d9564733 01fa7fae 7cfac2a7 239639e2
S24: 202ed696 6fbc2ecf f0982979 25bef3ea
S25: e2148e71 5935e2a5 bd175ee9 a799a549
S26: 77310821 6671e6dc 3a121369 a557aa4f
S27: 6d6c2659 06036f0c 1cec57ed 4a36158d
S28: b216aab3 be06fde0 262ae2ea e81cd2e5
S29: 0b56812e 52b653f9 0e27362e dd7dcbd4
S30: df590fb5 d38ea1cd f8eb2d5b 3d474253
S31: 6493924c 073da4bf d5658181 48b52d76
S32: e8491efc f7d18b0a 027f656e c6886a7d
S33: eb26ca54 5d221211 73a037ec e43053e9
S34: fa2f9edf 4e9d9c1c aa6e786c e743c1c0
S35: cf833d58 0d508e0e da69560a 66d3c03b
S36: f5922c3b 4382f00f 9b64ebb1 b2accbb0
S37: 9a3faeeb 69fdb9e1 3a025f2d 299c177e
S38: 376d0236 76cfe2b1 1c0e342a afe6418b
S39: 1d2a5ab1 7dc816ee 6c37e855 07f11bd7
S40: c33e7e9f 7669ad90 44625f47 1155c411
S41: bae0615e 9d48b215 0b9e7065 04b09ef7
S42: 606e0db2 17e5251d ba08c3db f20915fd
S43: f28282de b65b5dcc 0b88f0d0 20fa4810
S44: 701e67ab aa5af6c2 1bf15c6f ea339a58
S45: bd5176ce 91b3298f fe989ff0 c6ff991f
S46: 9eb857c4 bfec9af6 b1c78acd f3aabd69
S47: 7acfb2d7 217154f8 09cd5f4c 9728c6cc
S48: 66b07ebe 3665809d 7b855491 4bf90528

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Sample Data

S49:   91a82a7d      f3744bd0   7fc8850c   08554c8d
S50:   0fa45385      3cca72db   eaa031b2   65c9d590
S51:   2bf70aa1      dab678d7   f8d8a2b2   88dc22da
S52:   1633856d      aacda2bb   94f1d66b   0f4ad876
S53:   b09b906a      ff48f724   b9524495   409a0a62
S54:   7cda29ed      1e6f903d   b7a9f4c5   26c28530
S55:   f5338a50      74e0c5ed   214c4380   70886009
S56:   9cd2fb3c      f8e8d55f   93a10ccd   f288eead
S57:   9f1b72ba      2e506062   9dcc02a2   a3536e0e
S58:   ea50be8b      e9ffe171   c6f64b44   1357e68e
S59:   5d3c94b8      ef4051ff   79cd4200   3d9a3208
S60:   14267f84      ee8d7e71   df5d46ec   361f1648
S61:   7871fd55      dbcbcf6c   20c2902d   58935861
S62:   33b892d6      63807bf4   ddc0cc2b   3e037547
S63:   611a7ca9      85d3571a   1b6a0917   40795e7c
S64:   ef6adb06      6b6cb075   5ac5a39a   08ae7e7b

MIC: 7c2a8dae
Encrypted payload: ef4a4df0          076ac4f7   68bf354f   6f05dfe4
                   259e734c          a4a4874d   d3e532cb   9af8d6ae
                   fbdb0fec          b7e4ad74   35146737   c474a92d
                   4bba64be          45d57fe7   aaf96056   c8dec248
                   39215d2e          13604021   d82eb64d   6e4d8321
                   02cb8835          a6d940fd   bd5459a9   0a31454b
                   3679e8ce          e3b3d696   210f247b   b866da27
                   a7f072f6          03146e98   e1cefa3d   7eadd661
                   d7a2a5bd          4835e257   8adbae19   24ee46c1
                   ab90251d          8878902a   118b05de   db70cc89
                   7004499f          9dd3287f   5203e3bd   1845d6f4
                   ed85380e          e40e66a4   8e6575cb   06709648
                   bf17cafc          6797f480   e46465dd   838a9bac
                   fd9ce386          fe128321   c401849d   8efb9028
                   0d61b7dd          a81e42ee   7a2c00e1   99381952
                   069f5301          556f69f3   ba098796   3feba39b
                   6502e278          cb74d91c   3662a7df   88551c7e
                   9d3c6637          619b2ca3   8264f48f   55fe8c8f
                   5b614cc6          4e2c7625   7bc4da4f   957975a0
                   a6875c90          4ec22526   ff646472   7c42d48c
                   a52c6fac          dadacadc   f26e6ad3   13fa9be7
                   9b733f81          b9904708   244ecd59   fa226f94
                   f9455982          e97c3da8   47b04183   71bac7e8
                   850e4941          50ad8f2f   2a98e03c   a6e598b5
                   0e8a20d8          c4229f65   76c5b101   862a2d8a
                   0f83e916          ae3ed178   6f8beca9   0c47c84b
                   33bd65c6          78648511   765c731a   6e489052
                   0d037b2f          0ef27532   ed2c5c33   8c5211a9
                   253f767c          1845d0e0   8fe06340   e8e63121
                   fdf907cd          9f6d462f   cecdb5b1   5147424e
                   99630121          2bca07a7   382a85c6   e5e541ab
                   2ab5e64b          c55a3e2d   04473cdb   308073ae
                   059b18c5          5730d4be   6fc73ddc   dccdcdc5
                   b045a408          eb841ea1   2721d399   4f82a4d7
                   4c955ce8          0410de5c   45d36571   4de684f4
                   9d838b5a          4ab80d69   1071a190   1738d038
                   3ebd6b25          99b6a120   f8e42250   d0902d33
                   e38310c8          3dbca3c5   cfe0bf26   b5383560
                   3e5d4a6b          3b5c60a5   10f9ce91   7dd46b68

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Sample Data

                         f3856658   13180695   62eb72a0   a483ec51
                         c5d0682f   899eb35e   273b16d6   d21d8002
                         f68b5f54   c9190d63   d0529fcd   4c38c797
                         cbac97ae   1fa2bd7f   395ad335   91ae4fe3
                         31d23253   98cc0537   0cafe2a1   b239a57c
                         f41832c8   6bc6c9de   36b1dbeb   08832387
                         55c6ff99   3fdde28b   255233bc   3538e20d
                         5de95dd2   b25c6be2   1d64e256   4fa25dfd
                         09e4a6b0   a9869d52   b2c94bfb   d93529aa
                         f115b8eb   1301f354   56be336b   0c4d4c52
                         5daa29ad   d9734391   e11908d4   7f7393d3
                         a9624e43   0c295d8b   3683583b   129b2629
                         a8b3b5ec   510ecde7   f10ac5a3   66b6af7c
                         b7505895   aff02cc7   0823ad6c   ab52c540
                         35c85fea   2cf8a83b   223e6ff9   f198babf
                         0c002e58   a0749a8e   b7391eee   39b33542
                         c4357467   5af5e4ec   286cd3af   7161ac9e
                         8ab8cc12   143f975d   6de40b78   9f3eec06
                         46add18e   5fd454d4   5707af91   58d335d9
                         723cf392   d17c12b3   6efb452b   786c0504
                         af600fef   b82800f7   e18f6796   b7714a41
                         665968a2   527eb332   e064e03c   8d61aefc
                         5e14ab97   5848ec28   16821f97   c1d944a7
                         887b8f52   6127575b   728265d7   1377d760
                         990f4b2c   778c3039   c8d22334   ea



1.2.14 Sample Data 14 (EV3)

Payload byte length: 1e
K: 972b7dcd be8942b7 d8fdc356 a5590aca
CLK[27:1]: 030b5a8f
dayCounter: 061a
Initialization vector: 70b690bd dfe9630f
LT_ADDR: 1
Packet Type: 7
Payload: 4625f778 578290f9 0ee83576 b3f8a898
         faff3fe4 5db812b2 e189297a fd89

CTR0: 018f5a0b d3700f63 e9dfbd90 b6700000
CTR1: 018f5a0b d3700f63 e9dfbd90 b6700001
CTR2: 018f5a0b d3700f63 e9dfbd90 b6700002

Encrypted payload: 76637937 69b2ba4c 41704100 d6c4602a
                   dbae2a87 f77a9fdb a0c56d2c b532




Encryption Sample Data                                                     06 December 2016
                                                                     Bluetooth SIG Proprietary
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Sample Data


2 FREQUENCY HOPPING SAMPLE DATA

The section contains three sets of sample data showing the basic and adapted
hopping schemes for different combinations of addresses and initial clock
values.




Frequency Hopping Sample Data                                    06 December 2016
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Sample Data


2.1 FIRST SET

Hop sequence {k} for PAGE SCAN/INQUIRY SCAN SUBSTATE:
CLKN start:     0x0000000
UAP / LAP:      0x00000000
#ticks:         0000 | 1000 | 2000 | 3000 | 4000 | 5000 | 6000 | 7000 |
                --------------------------------------------------------
0x0000000:         0 |     2 |   4 |    6 |    8 |    10 |  12 |   14 |
0x0008000:        16 |    18 |  20 |   22 |   24 |    26 |  28 |   30 |
0x0010000:        32 |    34 |  36 |   38 |   40 |    42 |  44 |   46 |
0x0018000:        48 |    50 |  52 |   54 |   56 |    58 |  60 |   62 |
0x0020000:         0 |     2 |   4 |    6 |    8 |    10 |  12 |   14 |
0x0028000:        16 |    18 |  20 |   22 |   24 |    26 |  28 |   30 |
0x0030000:        32 |    34 |  36 |   38 |   40 |    42 |  44 |   46 |
0x0038000:        48 |    50 |  52 |   54 |   56 |    58 |  60 |   62 |

Hop sequence {k} for PAGE STATE/INQUIRY SUBSTATE:
CLKE start:     0x0000000
UAP / LAP:      0x00000000
#ticks:         00 01 02 03 | 04 05 06 07 | 08 09 0a 0b | 0c 0d 0e 0f |
                --------------------------------------------------------
0x0000000:      48 50 09 13 | 52 54 41 45 | 56 58 11 15 | 60 62 43 47 |
0x0000010:      00 02 64 68 | 04 06 17 21 | 08 10 66 70 | 12 14 19 23 |
0x0000020:      48 50 09 13 | 52 54 41 45 | 56 58 11 15 | 60 62 43 47 |
0x0000030:      00 02 64 68 | 04 06 17 21 | 08 10 66 70 | 12 14 19 23 |
...
0x0001000:      48 18 09 05 | 20 22 33 37 | 24 26 03 07 | 28 30 35 39 |
0x0001010:      32 34 72 76 | 36 38 25 29 | 40 42 74 78 | 44 46 27 31 |
0x0001020:      48 18 09 05 | 20 22 33 37 | 24 26 03 07 | 28 30 35 39 |
0x0001030:      32 34 72 76 | 36 38 25 29 | 40 42 74 78 | 44 46 27 31 |
...
0x0002000:      16 18 01 05 | 52 54 41 45 | 56 58 11 15 | 60 62 43 47 |
0x0002010:      00 02 64 68 | 04 06 17 21 | 08 10 66 70 | 12 14 19 23 |
0x0002020:      16 18 01 05 | 52 54 41 45 | 56 58 11 15 | 60 62 43 47 |
0x0002030:      00 02 64 68 | 04 06 17 21 | 08 10 66 70 | 12 14 19 23 |
...
0x0003000:      48 50 09 13 | 52 22 41 37 | 24 26 03 07 | 28 30 35 39 |
0x0003010:      32 34 72 76 | 36 38 25 29 | 40 42 74 78 | 44 46 27 31 |
0x0003020:      48 50 09 13 | 52 22 41 37 | 24 26 03 07 | 28 30 35 39 |
0x0003030:      32 34 72 76 | 36 38 25 29 | 40 42 74 78 | 44 46 27 31 |
Hop sequence {k} for SLAVE PAGE RESPONSE SUBSTATE:
CLKN* =         0x0000010
UAP / LAP:      0x00000000
#ticks:         00 | 02 04 | 06 08 | 0a 0c | 0e 10 | 12 14 | 16 18 | 1a 1c | 1e
                ----------------------------------------------------------------
0x0000012:      64 | 02 68 | 04 17 | 06 21 | 08 66 | 10 70 | 12 19 | 14 23 | 16
0x0000032:      01 | 18 05 | 20 33 | 22 37 | 24 03 | 26 07 | 28 35 | 30 39 | 32
0x0000052:      72 | 34 76 | 36 25 | 38 29 | 40 74 | 42 78 | 44 27 | 46 31 | 48
0x0000072:      09 | 50 13 | 52 41 | 54 45 | 56 11 | 58 15 | 60 43 | 62 47 | 00
Hop sequence {k} for MASTER PAGE RESPONSE SUBSTATE:
Offset value:   24
CLKE* =         0x0000012
UAP / LAP:      0x00000000
#ticks:         00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                ----------------------------------------------------------------
0x0000014:      02 68 | 04 17 | 06 21 | 08 66 | 10 70 | 12 19 | 14 23 | 16 01 |
0x0000034:      18 05 | 20 33 | 22 37 | 24 03 | 26 07 | 28 35 | 30 39 | 32 72 |
0x0000054:      34 76 | 36 25 | 38 29 | 40 74 | 42 78 | 44 27 | 46 31 | 48 09 |
0x0000074:      50 13 | 52 41 | 54 45 | 56 11 | 58 15 | 60 43 | 62 47 | 00 64 |
                                     P    1




Frequency Hopping Sample Data                                    06 December 2016
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Sample Data



Hop sequence {k} for CONNECTION STATE (Basic channel hopping sequence; ie, non-AFH):
CLK start:       0x0000010
UAP/LAP:         0x00000000
#ticks:          00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                 ----------------------------------------------------------------
0x0000010:       08 66 | 10 70 | 12 19 | 14 23 | 16 01 | 18 05 | 20 33 | 22 37 |
0x0000030:       24 03 | 26 07 | 28 35 | 30 39 | 32 72 | 34 76 | 36 25 | 38 29 |
0x0000050:       40 74 | 42 78 | 44 27 | 46 31 | 48 09 | 50 13 | 52 41 | 54 45 |
0x0000070:       56 11 | 58 15 | 60 43 | 62 47 | 32 17 | 36 19 | 34 49 | 38 51 |
0x0000090:       40 21 | 44 23 | 42 53 | 46 55 | 48 33 | 52 35 | 50 65 | 54 67 |
0x00000b0:       56 37 | 60 39 | 58 69 | 62 71 | 64 25 | 68 27 | 66 57 | 70 59 |
0x00000d0:       72 29 | 76 31 | 74 61 | 78 63 | 01 41 | 05 43 | 03 73 | 07 75 |
0x00000f0:       09 45 | 13 47 | 11 77 | 15 00 | 64 49 | 66 53 | 68 02 | 70 06 |
0x0000110:       01 51 | 03 55 | 05 04 | 07 08 | 72 57 | 74 61 | 76 10 | 78 14 |
0x0000130:       09 59 | 11 63 | 13 12 | 15 16 | 17 65 | 19 69 | 21 18 | 23 22 |
0x0000150:       33 67 | 35 71 | 37 20 | 39 24 | 25 73 | 27 77 | 29 26 | 31 30 |
0x0000170:       41 75 | 43 00 | 45 28 | 47 32 | 17 02 | 21 04 | 19 34 | 23 36 |
0x0000190:       33 06 | 37 08 | 35 38 | 39 40 | 25 10 | 29 12 | 27 42 | 31 44 |
0x00001b0:       41 14 | 45 16 | 43 46 | 47 48 | 49 18 | 53 20 | 51 50 | 55 52 |
0x00001d0:       65 22 | 69 24 | 67 54 | 71 56 | 57 26 | 61 28 | 59 58 | 63 60 |
0x00001f0:       73 30 | 77 32 | 75 62 | 00 64 | 49 34 | 51 42 | 57 66 | 59 74 |
0x0000210:       53 36 | 55 44 | 61 68 | 63 76 | 65 50 | 67 58 | 73 03 | 75 11 |
0x0000230:       69 52 | 71 60 | 77 05 | 00 13 | 02 38 | 04 46 | 10 70 | 12 78 |
0x0000250:       06 40 | 08 48 | 14 72 | 16 01 | 18 54 | 20 62 | 26 07 | 28 15 |
0x0000270:       22 56 | 24 64 | 30 09 | 32 17 | 02 66 | 06 74 | 10 19 | 14 27 |
0x0000290:       04 70 | 08 78 | 12 23 | 16 31 | 18 03 | 22 11 | 26 35 | 30 43 |
0x00002b0:       20 07 | 24 15 | 28 39 | 32 47 | 34 68 | 38 76 | 42 21 | 46 29 |
0x00002d0:       36 72 | 40 01 | 44 25 | 48 33 | 50 05 | 54 13 | 58 37 | 62 45 |
0x00002f0:       52 09 | 56 17 | 60 41 | 64 49 | 34 19 | 36 35 | 50 51 | 52 67 |
0x0000310:       38 21 | 40 37 | 54 53 | 56 69 | 42 27 | 44 43 | 58 59 | 60 75 |
0x0000330:       46 29 | 48 45 | 62 61 | 64 77 | 66 23 | 68 39 | 03 55 | 05 71 |
0x0000350:       70 25 | 72 41 | 07 57 | 09 73 | 74 31 | 76 47 | 11 63 | 13 00 |
0x0000370:       78 33 | 01 49 | 15 65 | 17 02 | 66 51 | 70 67 | 03 04 | 07 20 |
0x0000390:       68 55 | 72 71 | 05 08 | 09 24 | 74 59 | 78 75 | 11 12 | 15 28 |
0x00003b0:       76 63 | 01 00 | 13 16 | 17 32 | 19 53 | 23 69 | 35 06 | 39 22 |
0x00003d0:       21 57 | 25 73 | 37 10 | 41 26 | 27 61 | 31 77 | 43 14 | 47 30 |
0x00003f0:       29 65 | 33 02 | 45 18 | 49 34 | 19 04 | 21 08 | 23 20 | 25 24 |




Frequency Hopping Sample Data                                        06 December 2016
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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
all channel used; ie, AFH(79)):
CLK start:        0x0000010
ULAP:             0x00000000
Used Channels:0x7fffffffffffffffffff
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         08 08 | 10 10 | 12 12 | 14 14 | 16 16 | 18 18 | 20 20 | 22 22 |
0x0000030         24 24 | 26 26 | 28 28 | 30 30 | 32 32 | 34 34 | 36 36 | 38 38 |
0x0000050         40 40 | 42 42 | 44 44 | 46 46 | 48 48 | 50 50 | 52 52 | 54 54 |
0x0000070         56 56 | 58 58 | 60 60 | 62 62 | 32 32 | 36 36 | 34 34 | 38 38 |
0x0000090         40 40 | 44 44 | 42 42 | 46 46 | 48 48 | 52 52 | 50 50 | 54 54 |
0x00000b0         56 56 | 60 60 | 58 58 | 62 62 | 64 64 | 68 68 | 66 66 | 70 70 |
0x00000d0         72 72 | 76 76 | 74 74 | 78 78 | 01 01 | 05 05 | 03 03 | 07 07 |
0x00000f0         09 09 | 13 13 | 11 11 | 15 15 | 64 64 | 66 66 | 68 68 | 70 70 |
0x0000110         01 01 | 03 03 | 05 05 | 07 07 | 72 72 | 74 74 | 76 76 | 78 78 |
0x0000130         09 09 | 11 11 | 13 13 | 15 15 | 17 17 | 19 19 | 21 21 | 23 23 |
0x0000150         33 33 | 35 35 | 37 37 | 39 39 | 25 25 | 27 27 | 29 29 | 31 31 |
0x0000170         41 41 | 43 43 | 45 45 | 47 47 | 17 17 | 21 21 | 19 19 | 23 23 |
0x0000190         33 33 | 37 37 | 35 35 | 39 39 | 25 25 | 29 29 | 27 27 | 31 31 |
0x00001b0         41 41 | 45 45 | 43 43 | 47 47 | 49 49 | 53 53 | 51 51 | 55 55 |
0x00001d0         65 65 | 69 69 | 67 67 | 71 71 | 57 57 | 61 61 | 59 59 | 63 63 |
0x00001f0         73 73 | 77 77 | 75 75 | 00 00 | 49 49 | 51 51 | 57 57 | 59 59 |
0x0000210         53 53 | 55 55 | 61 61 | 63 63 | 65 65 | 67 67 | 73 73 | 75 75 |
0x0000230         69 69 | 71 71 | 77 77 | 00 00 | 02 02 | 04 04 | 10 10 | 12 12 |
0x0000250         06 06 | 08 08 | 14 14 | 16 16 | 18 18 | 20 20 | 26 26 | 28 28 |
0x0000270         22 22 | 24 24 | 30 30 | 32 32 | 02 02 | 06 06 | 10 10 | 14 14 |
0x0000290         04 04 | 08 08 | 12 12 | 16 16 | 18 18 | 22 22 | 26 26 | 30 30 |
0x00002b0         20 20 | 24 24 | 28 28 | 32 32 | 34 34 | 38 38 | 42 42 | 46 46 |
0x00002d0         36 36 | 40 40 | 44 44 | 48 48 | 50 50 | 54 54 | 58 58 | 62 62 |
0x00002f0         52 52 | 56 56 | 60 60 | 64 64 | 34 34 | 36 36 | 50 50 | 52 52 |
0x0000310         38 38 | 40 40 | 54 54 | 56 56 | 42 42 | 44 44 | 58 58 | 60 60 |
0x0000330         46 46 | 48 48 | 62 62 | 64 64 | 66 66 | 68 68 | 03 03 | 05 05 |
0x0000350         70 70 | 72 72 | 07 07 | 09 09 | 74 74 | 76 76 | 11 11 | 13 13 |
0x0000370         78 78 | 01 01 | 15 15 | 17 17 | 66 66 | 70 70 | 03 03 | 07 07 |
0x0000390         68 68 | 72 72 | 05 05 | 09 09 | 74 74 | 78 78 | 11 11 | 15 15 |
0x00003b0         76 76 | 01 01 | 13 13 | 17 17 | 19 19 | 23 23 | 35 35 | 39 39 |
0x00003d0         21 21 | 25 25 | 37 37 | 41 41 | 27 27 | 31 31 | 43 43 | 47 47 |
0x00003f0         29 29 | 33 33 | 45 45 | 49 49 | 19 19 | 21 21 | 23 23 | 25 25 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
channels 0 to 21 unused):
CLK start:        0x0000010
ULAP:             0x00000000
Used Channels:0x7fffffffffffffc00000
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         30 30 | 32 32 | 34 34 | 36 36 | 38 38 | 40 40 | 42 42 | 22 22 |
0x0000030         24 24 | 26 26 | 28 28 | 30 30 | 32 32 | 34 34 | 36 36 | 38 38 |
0x0000050         40 40 | 42 42 | 44 44 | 46 46 | 48 48 | 50 50 | 52 52 | 54 54 |
0x0000070         56 56 | 58 58 | 60 60 | 62 62 | 32 32 | 36 36 | 34 34 | 38 38 |
0x0000090         40 40 | 44 44 | 42 42 | 46 46 | 48 48 | 52 52 | 50 50 | 54 54 |
0x00000b0         56 56 | 60 60 | 58 58 | 62 62 | 64 64 | 68 68 | 66 66 | 70 70 |
0x00000d0         72 72 | 76 76 | 74 74 | 78 78 | 45 45 | 49 49 | 47 47 | 51 51 |
0x00000f0         53 53 | 57 57 | 55 55 | 59 59 | 64 64 | 66 66 | 68 68 | 70 70 |
0x0000110         45 45 | 47 47 | 49 49 | 51 51 | 72 72 | 74 74 | 76 76 | 78 78 |
0x0000130         53 53 | 55 55 | 57 57 | 59 59 | 61 61 | 63 63 | 65 65 | 23 23 |
0x0000150         33 33 | 35 35 | 37 37 | 39 39 | 25 25 | 27 27 | 29 29 | 31 31 |
0x0000170         41 41 | 43 43 | 45 45 | 47 47 | 61 61 | 65 65 | 63 63 | 23 23 |
0x0000190         33 33 | 37 37 | 35 35 | 39 39 | 25 25 | 29 29 | 27 27 | 31 31 |
0x00001b0         41 41 | 45 45 | 43 43 | 47 47 | 49 49 | 53 53 | 51 51 | 55 55 |
0x00001d0         65 65 | 69 69 | 67 67 | 71 71 | 57 57 | 61 61 | 59 59 | 63 63 |
0x00001f0         73 73 | 77 77 | 75 75 | 66 66 | 49 49 | 51 51 | 57 57 | 59 59 |
0x0000210         53 53 | 55 55 | 61 61 | 63 63 | 65 65 | 67 67 | 73 73 | 75 75 |
0x0000230         69 69 | 71 71 | 77 77 | 66 66 | 68 68 | 70 70 | 76 76 | 78 78 |
0x0000250         72 72 | 74 74 | 23 23 | 25 25 | 27 27 | 29 29 | 26 26 | 28 28 |
0x0000270         22 22 | 24 24 | 30 30 | 32 32 | 68 68 | 72 72 | 76 76 | 23 23 |
0x0000290         70 70 | 74 74 | 78 78 | 25 25 | 27 27 | 22 22 | 26 26 | 30 30 |
0x00002b0         29 29 | 24 24 | 28 28 | 32 32 | 34 34 | 38 38 | 42 42 | 46 46 |
0x00002d0         36 36 | 40 40 | 44 44 | 48 48 | 50 50 | 54 54 | 58 58 | 62 62 |
0x00002f0         52 52 | 56 56 | 60 60 | 64 64 | 34 34 | 36 36 | 50 50 | 52 52 |
0x0000310         38 38 | 40 40 | 54 54 | 56 56 | 42 42 | 44 44 | 58 58 | 60 60 |
0x0000330         46 46 | 48 48 | 62 62 | 64 64 | 66 66 | 68 68 | 34 34 | 36 36 |
0x0000350         70 70 | 72 72 | 38 38 | 40 40 | 74 74 | 76 76 | 42 42 | 44 44 |
0x0000370         78 78 | 32 32 | 46 46 | 48 48 | 66 66 | 70 70 | 34 34 | 38 38 |
0x0000390         68 68 | 72 72 | 36 36 | 40 40 | 74 74 | 78 78 | 42 42 | 46 46 |
0x00003b0         76 76 | 32 32 | 44 44 | 48 48 | 50 50 | 23 23 | 35 35 | 39 39 |
0x00003d0         52 52 | 25 25 | 37 37 | 41 41 | 27 27 | 31 31 | 43 43 | 47 47 |
0x00003f0         29 29 | 33 33 | 45 45 | 49 49 | 50 50 | 52 52 | 23 23 | 25 25 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
even channels used):
CLK start:        0x0000010
ULAP:             0x00000000
Used Channels:0x55555555555555555555
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         08 08 | 10 10 | 12 12 | 14 14 | 16 16 | 18 18 | 20 20 | 22 22 |
0x0000030         24 24 | 26 26 | 28 28 | 30 30 | 32 32 | 34 34 | 36 36 | 38 38 |
0x0000050         40 40 | 42 42 | 44 44 | 46 46 | 48 48 | 50 50 | 52 52 | 54 54 |
0x0000070         56 56 | 58 58 | 60 60 | 62 62 | 32 32 | 36 36 | 34 34 | 38 38 |
0x0000090         40 40 | 44 44 | 42 42 | 46 46 | 48 48 | 52 52 | 50 50 | 54 54 |
0x00000b0         56 56 | 60 60 | 58 58 | 62 62 | 64 64 | 68 68 | 66 66 | 70 70 |
0x00000d0         72 72 | 76 76 | 74 74 | 78 78 | 00 00 | 04 04 | 02 02 | 06 06 |
0x00000f0         08 08 | 12 12 | 10 10 | 14 14 | 64 64 | 66 66 | 68 68 | 70 70 |
0x0000110         00 00 | 02 02 | 04 04 | 06 06 | 72 72 | 74 74 | 76 76 | 78 78 |
0x0000130         08 08 | 10 10 | 12 12 | 14 14 | 16 16 | 18 18 | 20 20 | 22 22 |
0x0000150         32 32 | 34 34 | 36 36 | 38 38 | 24 24 | 26 26 | 28 28 | 30 30 |
0x0000170         40 40 | 42 42 | 44 44 | 46 46 | 16 16 | 20 20 | 18 18 | 22 22 |
0x0000190         32 32 | 36 36 | 34 34 | 38 38 | 24 24 | 28 28 | 26 26 | 30 30 |
0x00001b0         40 40 | 44 44 | 42 42 | 46 46 | 48 48 | 52 52 | 50 50 | 54 54 |
0x00001d0         64 64 | 68 68 | 66 66 | 70 70 | 56 56 | 60 60 | 58 58 | 62 62 |
0x00001f0         72 72 | 76 76 | 74 74 | 00 00 | 48 48 | 50 50 | 56 56 | 58 58 |
0x0000210         52 52 | 54 54 | 60 60 | 62 62 | 64 64 | 66 66 | 72 72 | 74 74 |
0x0000230         68 68 | 70 70 | 76 76 | 00 00 | 02 02 | 04 04 | 10 10 | 12 12 |
0x0000250         06 06 | 08 08 | 14 14 | 16 16 | 18 18 | 20 20 | 26 26 | 28 28 |
0x0000270         22 22 | 24 24 | 30 30 | 32 32 | 02 02 | 06 06 | 10 10 | 14 14 |
0x0000290         04 04 | 08 08 | 12 12 | 16 16 | 18 18 | 22 22 | 26 26 | 30 30 |
0x00002b0         20 20 | 24 24 | 28 28 | 32 32 | 34 34 | 38 38 | 42 42 | 46 46 |
0x00002d0         36 36 | 40 40 | 44 44 | 48 48 | 50 50 | 54 54 | 58 58 | 62 62 |
0x00002f0         52 52 | 56 56 | 60 60 | 64 64 | 34 34 | 36 36 | 50 50 | 52 52 |
0x0000310         38 38 | 40 40 | 54 54 | 56 56 | 42 42 | 44 44 | 58 58 | 60 60 |
0x0000330         46 46 | 48 48 | 62 62 | 64 64 | 66 66 | 68 68 | 00 00 | 02 02 |
0x0000350         70 70 | 72 72 | 04 04 | 06 06 | 74 74 | 76 76 | 08 08 | 10 10 |
0x0000370         78 78 | 78 78 | 12 12 | 14 14 | 66 66 | 70 70 | 00 00 | 04 04 |
0x0000390         68 68 | 72 72 | 02 02 | 06 06 | 74 74 | 78 78 | 08 08 | 12 12 |
0x00003b0         76 76 | 78 78 | 10 10 | 14 14 | 16 16 | 20 20 | 32 32 | 36 36 |
0x00003d0         18 18 | 22 22 | 34 34 | 38 38 | 24 24 | 28 28 | 40 40 | 44 44 |
0x00003f0         26 26 | 30 30 | 42 42 | 46 46 | 16 16 | 18 18 | 20 20 | 22 22 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
odd channels used):
CLK start:        0x0000010
ULAP:             0x00000000
Used Channels:0x2aaaaaaaaaaaaaaaaaaa
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         09 09 | 11 11 | 13 13 | 15 15 | 17 17 | 19 19 | 21 21 | 23 23 |
0x0000030         25 25 | 27 27 | 29 29 | 31 31 | 33 33 | 35 35 | 37 37 | 39 39 |
0x0000050         41 41 | 43 43 | 45 45 | 47 47 | 49 49 | 51 51 | 53 53 | 55 55 |
0x0000070         57 57 | 59 59 | 61 61 | 63 63 | 33 33 | 37 37 | 35 35 | 39 39 |
0x0000090         41 41 | 45 45 | 43 43 | 47 47 | 49 49 | 53 53 | 51 51 | 55 55 |
0x00000b0         57 57 | 61 61 | 59 59 | 63 63 | 65 65 | 69 69 | 67 67 | 71 71 |
0x00000d0         73 73 | 77 77 | 75 75 | 01 01 | 01 01 | 05 05 | 03 03 | 07 07 |
0x00000f0         09 09 | 13 13 | 11 11 | 15 15 | 65 65 | 67 67 | 69 69 | 71 71 |
0x0000110         01 01 | 03 03 | 05 05 | 07 07 | 73 73 | 75 75 | 77 77 | 01 01 |
0x0000130         09 09 | 11 11 | 13 13 | 15 15 | 17 17 | 19 19 | 21 21 | 23 23 |
0x0000150         33 33 | 35 35 | 37 37 | 39 39 | 25 25 | 27 27 | 29 29 | 31 31 |
0x0000170         41 41 | 43 43 | 45 45 | 47 47 | 17 17 | 21 21 | 19 19 | 23 23 |
0x0000190         33 33 | 37 37 | 35 35 | 39 39 | 25 25 | 29 29 | 27 27 | 31 31 |
0x00001b0         41 41 | 45 45 | 43 43 | 47 47 | 49 49 | 53 53 | 51 51 | 55 55 |
0x00001d0         65 65 | 69 69 | 67 67 | 71 71 | 57 57 | 61 61 | 59 59 | 63 63 |
0x00001f0         73 73 | 77 77 | 75 75 | 03 03 | 49 49 | 51 51 | 57 57 | 59 59 |
0x0000210         53 53 | 55 55 | 61 61 | 63 63 | 65 65 | 67 67 | 73 73 | 75 75 |
0x0000230         69 69 | 71 71 | 77 77 | 03 03 | 05 05 | 07 07 | 13 13 | 15 15 |
0x0000250         09 09 | 11 11 | 17 17 | 19 19 | 21 21 | 23 23 | 29 29 | 31 31 |
0x0000270         25 25 | 27 27 | 33 33 | 35 35 | 05 05 | 09 09 | 13 13 | 17 17 |
0x0000290         07 07 | 11 11 | 15 15 | 19 19 | 21 21 | 25 25 | 29 29 | 33 33 |
0x00002b0         23 23 | 27 27 | 31 31 | 35 35 | 37 37 | 41 41 | 45 45 | 49 49 |
0x00002d0         39 39 | 43 43 | 47 47 | 51 51 | 53 53 | 57 57 | 61 61 | 65 65 |
0x00002f0         55 55 | 59 59 | 63 63 | 67 67 | 37 37 | 39 39 | 53 53 | 55 55 |
0x0000310         41 41 | 43 43 | 57 57 | 59 59 | 45 45 | 47 47 | 61 61 | 63 63 |
0x0000330         49 49 | 51 51 | 65 65 | 67 67 | 69 69 | 71 71 | 03 03 | 05 05 |
0x0000350         73 73 | 75 75 | 07 07 | 09 09 | 77 77 | 01 01 | 11 11 | 13 13 |
0x0000370         03 03 | 01 01 | 15 15 | 17 17 | 69 69 | 73 73 | 03 03 | 07 07 |
0x0000390         71 71 | 75 75 | 05 05 | 09 09 | 77 77 | 03 03 | 11 11 | 15 15 |
0x00003b0         01 01 | 01 01 | 13 13 | 17 17 | 19 19 | 23 23 | 35 35 | 39 39 |
0x00003d0         21 21 | 25 25 | 37 37 | 41 41 | 27 27 | 31 31 | 43 43 | 47 47 |
0x00003f0         29 29 | 33 33 | 45 45 | 49 49 | 19 19 | 21 21 | 23 23 | 25 25 |




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Sample Data


2.2 SECOND SET


Hop sequence {k} for PAGE SCAN/INQUIRY SCAN SUBSTATE:
CLKN start:     0x0000000
ULAP:           0x2a96ef25
#ticks:         0000 | 1000 | 2000 | 3000 | 4000 | 5000 | 6000 | 7000 |
                --------------------------------------------------------
0x0000000:        49 |    13 |  17 |   51 |   55 |    19 |  23 |   53 |
0x0008000:        57 |    21 |  25 |   27 |   31 |    74 |  78 |   29 |
0x0010000:        33 |    76 |   1 |   35 |   39 |     3 |   7 |   37 |
0x0018000:        41 |     5 |   9 |   43 |   47 |    11 |  15 |   45 |
0x0020000:        49 |    13 |  17 |   51 |   55 |    19 |  23 |   53 |
0x0028000:        57 |    21 |  25 |   27 |   31 |    74 |  78 |   29 |
0x0030000:        33 |    76 |   1 |   35 |   39 |     3 |   7 |   37 |
0x0038000:        41 |     5 |   9 |   43 |   47 |    11 |  15 |   45 |
Hop sequence {k} for PAGE STATE/INQUIRY SUBSTATE:
CLKE start:     0x0000000
ULAP:           0x2a96ef25
#ticks:         00 01 02 03 | 04 05 06 07 | 08 09 0a 0b | 0c 0d 0e 0f |
                --------------------------------------------------------
0x0000000:      41 05 10 04 | 09 43 06 16 | 47 11 18 12 | 15 45 14 32 |
0x0000010:      49 13 34 28 | 17 51 30 24 | 55 19 26 20 | 23 53 22 40 |
0x0000020:      41 05 10 04 | 09 43 06 16 | 47 11 18 12 | 15 45 14 32 |
0x0000030:      49 13 34 28 | 17 51 30 24 | 55 19 26 20 | 23 53 22 40 |
...
0x0001000:      41 21 10 36 | 25 27 38 63 | 31 74 65 59 | 78 29 61 00 |
0x0001010:      33 76 02 75 | 01 35 77 71 | 39 03 73 67 | 07 37 69 08 |
0x0001020:      41 21 10 36 | 25 27 38 63 | 31 74 65 59 | 78 29 61 00 |
0x0001030:      33 76 02 75 | 01 35 77 71 | 39 03 73 67 | 07 37 69 08 |
...
0x0002000:      57 21 42 36 | 09 43 06 16 | 47 11 18 12 | 15 45 14 32 |
0x0002010:      49 13 34 28 | 17 51 30 24 | 55 19 26 20 | 23 53 22 40 |
0x0002020:      57 21 42 36 | 09 43 06 16 | 47 11 18 12 | 15 45 14 32 |
0x0002030:      49 13 34 28 | 17 51 30 24 | 55 19 26 20 | 23 53 22 40 |
...
0x0003000:      41 05 10 04 | 09 27 06 63 | 31 74 65 59 | 78 29 61 00 |
0x0003010:      33 76 02 75 | 01 35 77 71 | 39 03 73 67 | 07 37 69 08 |
0x0003020:      41 05 10 04 | 09 27 06 63 | 31 74 65 59 | 78 29 61 00 |
0x0003030:      33 76 02 75 | 01 35 77 71 | 39 03 73 67 | 07 37 69 08 |

Hop sequence {k} for SLAVE PAGE RESPONSE SUBSTATE:
CLKN* =         0x0000010
ULAP:           0x2a96ef25
#ticks:         00 | 02 04 | 06 08 | 0a 0c | 0e 10 | 12 14 | 16 18 | 1a
                --------------------------------------------------------
0x0000012:      34 | 13 28 | 17 30 | 51 24 | 55 26 | 19 20 | 23 22 | 53
0x0000032:      42 | 21 36 | 25 38 | 27 63 | 31 65 | 74 59 | 78 61 | 29
0x0000052:      02 | 76 75 | 01 77 | 35 71 | 39 73 | 03 67 | 07 69 | 37
0x0000072:      10 | 05 04 | 09 06 | 43 16 | 47 18 | 11 12 | 15 14 | 45

Hop sequence {k} for MASTER PAGE RESPONSE SUBSTATE:
Offset value:   24
CLKE* =         0x0000012
ULAP:           0x2a96ef25
#ticks:         00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a |
                --------------------------------------------------------
0x0000014:      13 28 | 17 30 | 51 24 | 55 26 | 19 20 | 23 22 | 53 40 |
0x0000034:      21 36 | 25 38 | 27 63 | 31 65 | 74 59 | 78 61 | 29 00 |
0x0000054:      76 75 | 01 77 | 35 71 | 39 73 | 03 67 | 07 69 | 37 08 |
0x0000074:      05 04 | 09 06 | 43 16 | 47 18 | 11 12 | 15 14 | 45 32 |




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Sample Data



Hop sequence {k} for CONNECTION STATE (Basic channel hopping sequence; ie, non-AFH):
CLK start:       0x0000010
ULAP:            0x2a96ef25
#ticks:          00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                 ---------------------------------------------------------------
0x0000010:       55 26 | 19 20 | 23 22 | 53 40 | 57 42 | 21 36 | 25 38 | 27 63 |
0x0000030:       31 65 | 74 59 | 78 61 | 29 00 | 33 02 | 76 75 | 01 77 | 35 71 |
0x0000050:       39 73 | 03 67 | 07 69 | 37 08 | 41 10 | 05 04 | 09 06 | 43 16 |
0x0000070:       47 18 | 11 12 | 15 14 | 45 32 | 02 66 | 47 60 | 49 64 | 04 54 |
0x0000090:       06 58 | 51 52 | 53 56 | 08 70 | 10 74 | 55 68 | 57 72 | 59 14 |
0x00000b0:       61 18 | 27 12 | 29 16 | 63 30 | 65 34 | 31 28 | 33 32 | 67 22 |
0x00000d0:       69 26 | 35 20 | 37 24 | 71 38 | 73 42 | 39 36 | 41 40 | 75 46 |
0x00000f0:       77 50 | 43 44 | 45 48 | 00 62 | 26 11 | 69 05 | 73 07 | 36 17 |
0x0000110:       40 19 | 04 13 | 08 15 | 38 25 | 42 27 | 06 21 | 10 23 | 12 48 |
0x0000130:       16 50 | 59 44 | 63 46 | 14 56 | 18 58 | 61 52 | 65 54 | 28 64 |
0x0000150:       32 66 | 75 60 | 00 62 | 30 72 | 34 74 | 77 68 | 02 70 | 20 01 |
0x0000170:       24 03 | 67 76 | 71 78 | 22 09 | 58 43 | 24 37 | 26 41 | 68 47 |
0x0000190:       70 51 | 36 45 | 38 49 | 72 55 | 74 59 | 40 53 | 42 57 | 44 78 |
0x00001b0:       46 03 | 12 76 | 14 01 | 48 07 | 50 11 | 16 05 | 18 09 | 60 15 |
0x00001d0:       62 19 | 28 13 | 30 17 | 64 23 | 66 27 | 32 21 | 34 25 | 52 31 |
0x00001f0:       54 35 | 20 29 | 22 33 | 56 39 | 19 04 | 62 63 | 66 00 | 07 73 |
0x0000210:       11 10 | 54 69 | 58 06 | 23 75 | 27 12 | 70 71 | 74 08 | 76 33 |
0x0000230:       01 49 | 44 29 | 48 45 | 13 35 | 17 51 | 60 31 | 64 47 | 05 41 |
0x0000250:       09 57 | 52 37 | 56 53 | 21 43 | 25 59 | 68 39 | 72 55 | 78 65 |
0x0000270:       03 02 | 46 61 | 50 77 | 15 67 | 51 36 | 17 18 | 19 34 | 41 24 |
0x0000290:       43 40 | 09 22 | 11 38 | 57 28 | 59 44 | 25 26 | 27 42 | 29 63 |
0x00002b0:       31 00 | 76 61 | 78 77 | 45 67 | 47 04 | 13 65 | 15 02 | 37 71 |
0x00002d0:       39 08 | 05 69 | 07 06 | 53 75 | 55 12 | 21 73 | 23 10 | 33 16 |
0x00002f0:       35 32 | 01 14 | 03 30 | 49 20 | 75 60 | 39 48 | 43 56 | 00 66 |
0x0000310:       04 74 | 47 62 | 51 70 | 08 68 | 12 76 | 55 64 | 59 72 | 61 18 |
0x0000330:       65 26 | 29 14 | 33 22 | 69 20 | 73 28 | 37 16 | 41 24 | 77 34 |
0x0000350:       02 42 | 45 30 | 49 38 | 06 36 | 10 44 | 53 32 | 57 40 | 63 50 |
0x0000370:       67 58 | 31 46 | 35 54 | 71 52 | 28 13 | 73 03 | 75 11 | 34 17 |
0x0000390:       36 25 | 02 15 | 04 23 | 42 21 | 44 29 | 10 19 | 12 27 | 14 48 |
0x00003b0:       16 56 | 61 46 | 63 54 | 22 52 | 24 60 | 69 50 | 71 58 | 30 64 |
0x00003d0:       32 72 | 77 62 | 00 70 | 38 68 | 40 76 | 06 66 | 08 74 | 18 01 |
0x00003f0:       20 09 | 65 78 | 67 07 | 26 05 | 44 29 | 32 23 | 36 25 | 70 43 |




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                                                                Bluetooth SIG Proprietary
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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
all channel used; ie, AFH(79)):
CLK start:        0x0000010
ULAP:             0x2a96ef25
Used Channels:0x7fffffffffffffffffff
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         55 55 | 19 19 | 23 23 | 53 53 | 57 57 | 21 21 | 25 25 | 27 27 |
0x0000030         31 31 | 74 74 | 78 78 | 29 29 | 33 33 | 76 76 | 01 01 | 35 35 |
0x0000050         39 39 | 03 03 | 07 07 | 37 37 | 41 41 | 05 05 | 09 09 | 43 43 |
0x0000070         47 47 | 11 11 | 15 15 | 45 45 | 02 02 | 47 47 | 49 49 | 04 04 |
0x0000090         06 06 | 51 51 | 53 53 | 08 08 | 10 10 | 55 55 | 57 57 | 59 59 |
0x00000b0         61 61 | 27 27 | 29 29 | 63 63 | 65 65 | 31 31 | 33 33 | 67 67 |
0x00000d0         69 69 | 35 35 | 37 37 | 71 71 | 73 73 | 39 39 | 41 41 | 75 75 |
0x00000f0         77 77 | 43 43 | 45 45 | 00 00 | 26 26 | 69 69 | 73 73 | 36 36 |
0x0000110         40 40 | 04 04 | 08 08 | 38 38 | 42 42 | 06 06 | 10 10 | 12 12 |
0x0000130         16 16 | 59 59 | 63 63 | 14 14 | 18 18 | 61 61 | 65 65 | 28 28 |
0x0000150         32 32 | 75 75 | 00 00 | 30 30 | 34 34 | 77 77 | 02 02 | 20 20 |
0x0000170         24 24 | 67 67 | 71 71 | 22 22 | 58 58 | 24 24 | 26 26 | 68 68 |
0x0000190         70 70 | 36 36 | 38 38 | 72 72 | 74 74 | 40 40 | 42 42 | 44 44 |
0x00001b0         46 46 | 12 12 | 14 14 | 48 48 | 50 50 | 16 16 | 18 18 | 60 60 |
0x00001d0         62 62 | 28 28 | 30 30 | 64 64 | 66 66 | 32 32 | 34 34 | 52 52 |
0x00001f0         54 54 | 20 20 | 22 22 | 56 56 | 19 19 | 62 62 | 66 66 | 07 07 |
0x0000210         11 11 | 54 54 | 58 58 | 23 23 | 27 27 | 70 70 | 74 74 | 76 76 |
0x0000230         01 01 | 44 44 | 48 48 | 13 13 | 17 17 | 60 60 | 64 64 | 05 05 |
0x0000250         09 09 | 52 52 | 56 56 | 21 21 | 25 25 | 68 68 | 72 72 | 78 78 |
0x0000270         03 03 | 46 46 | 50 50 | 15 15 | 51 51 | 17 17 | 19 19 | 41 41 |
0x0000290         43 43 | 09 09 | 11 11 | 57 57 | 59 59 | 25 25 | 27 27 | 29 29 |
0x00002b0         31 31 | 76 76 | 78 78 | 45 45 | 47 47 | 13 13 | 15 15 | 37 37 |
0x00002d0         39 39 | 05 05 | 07 07 | 53 53 | 55 55 | 21 21 | 23 23 | 33 33 |
0x00002f0         35 35 | 01 01 | 03 03 | 49 49 | 75 75 | 39 39 | 43 43 | 00 00 |
0x0000310         04 04 | 47 47 | 51 51 | 08 08 | 12 12 | 55 55 | 59 59 | 61 61 |
0x0000330         65 65 | 29 29 | 33 33 | 69 69 | 73 73 | 37 37 | 41 41 | 77 77 |
0x0000350         02 02 | 45 45 | 49 49 | 06 06 | 10 10 | 53 53 | 57 57 | 63 63 |
0x0000370         67 67 | 31 31 | 35 35 | 71 71 | 28 28 | 73 73 | 75 75 | 34 34 |
0x0000390         36 36 | 02 02 | 04 04 | 42 42 | 44 44 | 10 10 | 12 12 | 14 14 |
0x00003b0         16 16 | 61 61 | 63 63 | 22 22 | 24 24 | 69 69 | 71 71 | 30 30 |
0x00003d0         32 32 | 77 77 | 00 00 | 38 38 | 40 40 | 06 06 | 08 08 | 18 18 |
0x00003f0         20 20 | 65 65 | 67 67 | 26 26 | 44 44 | 32 32 | 36 36 | 70 70 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
channels 0 to 21 unused):
CLK start:        0x0000010
ULAP:             0x2a96ef25
Used Channels:0x7fffffffffffffc00000
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         55 55 | 50 50 | 23 23 | 53 53 | 57 57 | 52 52 | 25 25 | 27 27 |
0x0000030         31 31 | 74 74 | 78 78 | 29 29 | 33 33 | 76 76 | 32 32 | 35 35 |
0x0000050         39 39 | 34 34 | 38 38 | 37 37 | 41 41 | 36 36 | 40 40 | 43 43 |
0x0000070         47 47 | 42 42 | 46 46 | 45 45 | 55 55 | 47 47 | 49 49 | 57 57 |
0x0000090         59 59 | 51 51 | 53 53 | 61 61 | 63 63 | 55 55 | 57 57 | 59 59 |
0x00000b0         61 61 | 27 27 | 29 29 | 63 63 | 65 65 | 31 31 | 33 33 | 67 67 |
0x00000d0         69 69 | 35 35 | 37 37 | 71 71 | 73 73 | 39 39 | 41 41 | 75 75 |
0x00000f0         77 77 | 43 43 | 45 45 | 53 53 | 26 26 | 69 69 | 73 73 | 36 36 |
0x0000110         40 40 | 57 57 | 61 61 | 38 38 | 42 42 | 59 59 | 63 63 | 65 65 |
0x0000130         69 69 | 59 59 | 63 63 | 67 67 | 71 71 | 61 61 | 65 65 | 28 28 |
0x0000150         32 32 | 75 75 | 53 53 | 30 30 | 34 34 | 77 77 | 55 55 | 73 73 |
0x0000170         24 24 | 67 67 | 71 71 | 22 22 | 58 58 | 24 24 | 26 26 | 68 68 |
0x0000190         70 70 | 36 36 | 38 38 | 72 72 | 74 74 | 40 40 | 42 42 | 44 44 |
0x00001b0         46 46 | 65 65 | 67 67 | 48 48 | 50 50 | 69 69 | 71 71 | 60 60 |
0x00001d0         62 62 | 28 28 | 30 30 | 64 64 | 66 66 | 32 32 | 34 34 | 52 52 |
0x00001f0         54 54 | 73 73 | 22 22 | 56 56 | 37 37 | 62 62 | 66 66 | 25 25 |
0x0000210         29 29 | 54 54 | 58 58 | 23 23 | 27 27 | 70 70 | 74 74 | 76 76 |
0x0000230         76 76 | 44 44 | 48 48 | 31 31 | 35 35 | 60 60 | 64 64 | 23 23 |
0x0000250         27 27 | 52 52 | 56 56 | 39 39 | 25 25 | 68 68 | 72 72 | 78 78 |
0x0000270         78 78 | 46 46 | 50 50 | 33 33 | 51 51 | 35 35 | 37 37 | 41 41 |
0x0000290         43 43 | 27 27 | 29 29 | 57 57 | 59 59 | 25 25 | 27 27 | 29 29 |
0x00002b0         31 31 | 76 76 | 78 78 | 45 45 | 47 47 | 31 31 | 33 33 | 37 37 |
0x00002d0         39 39 | 23 23 | 25 25 | 53 53 | 55 55 | 39 39 | 23 23 | 33 33 |
0x00002f0         35 35 | 76 76 | 78 78 | 49 49 | 75 75 | 39 39 | 43 43 | 40 40 |
0x0000310         44 44 | 47 47 | 51 51 | 48 48 | 52 52 | 55 55 | 59 59 | 61 61 |
0x0000330         65 65 | 29 29 | 33 33 | 69 69 | 73 73 | 37 37 | 41 41 | 77 77 |
0x0000350         42 42 | 45 45 | 49 49 | 46 46 | 50 50 | 53 53 | 57 57 | 63 63 |
0x0000370         67 67 | 31 31 | 35 35 | 71 71 | 28 28 | 73 73 | 75 75 | 34 34 |
0x0000390         36 36 | 42 42 | 44 44 | 42 42 | 44 44 | 50 50 | 52 52 | 54 54 |
0x00003b0         56 56 | 61 61 | 63 63 | 22 22 | 24 24 | 69 69 | 71 71 | 30 30 |
0x00003d0         32 32 | 77 77 | 40 40 | 38 38 | 40 40 | 46 46 | 48 48 | 58 58 |
0x00003f0         60 60 | 65 65 | 67 67 | 26 26 | 44 44 | 32 32 | 36 36 | 70 70 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
even channels used):
CLK start:        0x0000010
ULAP:             0x2a96ef25
Used Channels:0x55555555555555555555
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         52 52 | 16 16 | 20 20 | 50 50 | 54 54 | 18 18 | 22 22 | 24 24 |
0x0000030         28 28 | 74 74 | 78 78 | 26 26 | 30 30 | 76 76 | 78 78 | 32 32 |
0x0000050         36 36 | 00 00 | 04 04 | 34 34 | 38 38 | 02 02 | 06 06 | 40 40 |
0x0000070         44 44 | 08 08 | 12 12 | 42 42 | 02 02 | 44 44 | 46 46 | 04 04 |
0x0000090         06 06 | 48 48 | 50 50 | 08 08 | 10 10 | 52 52 | 54 54 | 56 56 |
0x00000b0         58 58 | 24 24 | 26 26 | 60 60 | 62 62 | 28 28 | 30 30 | 64 64 |
0x00000d0         66 66 | 32 32 | 34 34 | 68 68 | 70 70 | 36 36 | 38 38 | 72 72 |
0x00000f0         74 74 | 40 40 | 42 42 | 00 00 | 26 26 | 66 66 | 70 70 | 36 36 |
0x0000110         40 40 | 04 04 | 08 08 | 38 38 | 42 42 | 06 06 | 10 10 | 12 12 |
0x0000130         16 16 | 56 56 | 60 60 | 14 14 | 18 18 | 58 58 | 62 62 | 28 28 |
0x0000150         32 32 | 72 72 | 00 00 | 30 30 | 34 34 | 74 74 | 02 02 | 20 20 |
0x0000170         24 24 | 64 64 | 68 68 | 22 22 | 58 58 | 24 24 | 26 26 | 68 68 |
0x0000190         70 70 | 36 36 | 38 38 | 72 72 | 74 74 | 40 40 | 42 42 | 44 44 |
0x00001b0         46 46 | 12 12 | 14 14 | 48 48 | 50 50 | 16 16 | 18 18 | 60 60 |
0x00001d0         62 62 | 28 28 | 30 30 | 64 64 | 66 66 | 32 32 | 34 34 | 52 52 |
0x00001f0         54 54 | 20 20 | 22 22 | 56 56 | 14 14 | 62 62 | 66 66 | 02 02 |
0x0000210         06 06 | 54 54 | 58 58 | 18 18 | 22 22 | 70 70 | 74 74 | 76 76 |
0x0000230         76 76 | 44 44 | 48 48 | 08 08 | 12 12 | 60 60 | 64 64 | 00 00 |
0x0000250         04 04 | 52 52 | 56 56 | 16 16 | 20 20 | 68 68 | 72 72 | 78 78 |
0x0000270         78 78 | 46 46 | 50 50 | 10 10 | 46 46 | 12 12 | 14 14 | 36 36 |
0x0000290         38 38 | 04 04 | 06 06 | 52 52 | 54 54 | 20 20 | 22 22 | 24 24 |
0x00002b0         26 26 | 76 76 | 78 78 | 40 40 | 42 42 | 08 08 | 10 10 | 32 32 |
0x00002d0         34 34 | 00 00 | 02 02 | 48 48 | 50 50 | 16 16 | 18 18 | 28 28 |
0x00002f0         30 30 | 76 76 | 78 78 | 44 44 | 70 70 | 34 34 | 38 38 | 00 00 |
0x0000310         04 04 | 42 42 | 46 46 | 08 08 | 12 12 | 50 50 | 54 54 | 56 56 |
0x0000330         60 60 | 24 24 | 28 28 | 64 64 | 68 68 | 32 32 | 36 36 | 72 72 |
0x0000350         02 02 | 40 40 | 44 44 | 06 06 | 10 10 | 48 48 | 52 52 | 58 58 |
0x0000370         62 62 | 26 26 | 30 30 | 66 66 | 28 28 | 68 68 | 70 70 | 34 34 |
0x0000390         36 36 | 02 02 | 04 04 | 42 42 | 44 44 | 10 10 | 12 12 | 14 14 |
0x00003b0         16 16 | 56 56 | 58 58 | 22 22 | 24 24 | 64 64 | 66 66 | 30 30 |
0x00003d0         32 32 | 72 72 | 00 00 | 38 38 | 40 40 | 06 06 | 08 08 | 18 18 |
0x00003f0         20 20 | 60 60 | 62 62 | 26 26 | 44 44 | 32 32 | 36 36 | 70 70 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
odd channels used):
CLK start:        0x0000010
ULAP:             0x2a96ef25
Used Channels:0x2aaaaaaaaaaaaaaaaaaa
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         55 55 | 19 19 | 23 23 | 53 53 | 57 57 | 21 21 | 25 25 | 27 27 |
0x0000030         31 31 | 77 77 | 03 03 | 29 29 | 33 33 | 01 01 | 01 01 | 35 35 |
0x0000050         39 39 | 03 03 | 07 07 | 37 37 | 41 41 | 05 05 | 09 09 | 43 43 |
0x0000070         47 47 | 11 11 | 15 15 | 45 45 | 07 07 | 47 47 | 49 49 | 09 09 |
0x0000090         11 11 | 51 51 | 53 53 | 13 13 | 15 15 | 55 55 | 57 57 | 59 59 |
0x00000b0         61 61 | 27 27 | 29 29 | 63 63 | 65 65 | 31 31 | 33 33 | 67 67 |
0x00000d0         69 69 | 35 35 | 37 37 | 71 71 | 73 73 | 39 39 | 41 41 | 75 75 |
0x00000f0         77 77 | 43 43 | 45 45 | 05 05 | 31 31 | 69 69 | 73 73 | 41 41 |
0x0000110         45 45 | 09 09 | 13 13 | 43 43 | 47 47 | 11 11 | 15 15 | 17 17 |
0x0000130         21 21 | 59 59 | 63 63 | 19 19 | 23 23 | 61 61 | 65 65 | 33 33 |
0x0000150         37 37 | 75 75 | 05 05 | 35 35 | 39 39 | 77 77 | 07 07 | 25 25 |
0x0000170         29 29 | 67 67 | 71 71 | 27 27 | 63 63 | 29 29 | 31 31 | 73 73 |
0x0000190         75 75 | 41 41 | 43 43 | 77 77 | 01 01 | 45 45 | 47 47 | 49 49 |
0x00001b0         51 51 | 17 17 | 19 19 | 53 53 | 55 55 | 21 21 | 23 23 | 65 65 |
0x00001d0         67 67 | 33 33 | 35 35 | 69 69 | 71 71 | 37 37 | 39 39 | 57 57 |
0x00001f0         59 59 | 25 25 | 27 27 | 61 61 | 19 19 | 67 67 | 71 71 | 07 07 |
0x0000210         11 11 | 59 59 | 63 63 | 23 23 | 27 27 | 75 75 | 01 01 | 03 03 |
0x0000230         01 01 | 49 49 | 53 53 | 13 13 | 17 17 | 65 65 | 69 69 | 05 05 |
0x0000250         09 09 | 57 57 | 61 61 | 21 21 | 25 25 | 73 73 | 77 77 | 05 05 |
0x0000270         03 03 | 51 51 | 55 55 | 15 15 | 51 51 | 17 17 | 19 19 | 41 41 |
0x0000290         43 43 | 09 09 | 11 11 | 57 57 | 59 59 | 25 25 | 27 27 | 29 29 |
0x00002b0         31 31 | 03 03 | 05 05 | 45 45 | 47 47 | 13 13 | 15 15 | 37 37 |
0x00002d0         39 39 | 05 05 | 07 07 | 53 53 | 55 55 | 21 21 | 23 23 | 33 33 |
0x00002f0         35 35 | 01 01 | 03 03 | 49 49 | 75 75 | 39 39 | 43 43 | 07 07 |
0x0000310         11 11 | 47 47 | 51 51 | 15 15 | 19 19 | 55 55 | 59 59 | 61 61 |
0x0000330         65 65 | 29 29 | 33 33 | 69 69 | 73 73 | 37 37 | 41 41 | 77 77 |
0x0000350         09 09 | 45 45 | 49 49 | 13 13 | 17 17 | 53 53 | 57 57 | 63 63 |
0x0000370         67 67 | 31 31 | 35 35 | 71 71 | 35 35 | 73 73 | 75 75 | 41 41 |
0x0000390         43 43 | 09 09 | 11 11 | 49 49 | 51 51 | 17 17 | 19 19 | 21 21 |
0x00003b0         23 23 | 61 61 | 63 63 | 29 29 | 31 31 | 69 69 | 71 71 | 37 37 |
0x00003d0         39 39 | 77 77 | 07 07 | 45 45 | 47 47 | 13 13 | 15 15 | 25 25 |
0x00003f0         27 27 | 65 65 | 67 67 | 33 33 | 51 51 | 39 39 | 43 43 | 77 77 |




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Sample Data


2.3 THIRD SET


Hop sequence {k} for PAGE SCAN/INQUIRY SCAN SUBSTATE:
CLKN start:     0x0000000
ULAP:           0x6587cba9
#ticks:         0000 | 1000 | 2000 | 3000 | 4000 | 5000 | 6000 | 7000 |
                --------------------------------------------------------
0x0000000:        16 |    65 |  67 |   18 |   20 |    53 |  55 |    6 |
0x0008000:         8 |    57 |  59 |   10 |   12 |    69 |  71 |   22 |
0x0010000:        24 |    73 |  75 |   26 |   28 |    45 |  47 |   77 |
0x0018000:         0 |    49 |  51 |    2 |    4 |    61 |  63 |   14 |
0x0020000:        16 |    65 |  67 |   18 |   20 |    53 |  55 |    6 |
0x0028000:         8 |    57 |  59 |   10 |   12 |    69 |  71 |   22 |
0x0030000:        24 |    73 |  75 |   26 |   28 |    45 |  47 |   77 |
0x0038000:         0 |    49 |  51 |    2 |    4 |    61 |  63 |   14 |
Hop sequence {k} for PAGE STATE/INQUIRY SUBSTATE:
CLKE start:     0x0000000
ULAP:           0x6587cba9
#ticks:         00 01 02 03 | 04 05 06 07 | 08 09 0a 0b | 0c 0d 0e 0f |
                --------------------------------------------------------
0x0000000:      00 49 36 38 | 51 02 42 40 | 04 61 44 46 | 63 14 50 48 |
0x0000010:      16 65 52 54 | 67 18 58 56 | 20 53 60 62 | 55 06 66 64 |
0x0000020:      00 49 36 38 | 51 02 42 40 | 04 61 44 46 | 63 14 50 48 |
0x0000030:      16 65 52 54 | 67 18 58 56 | 20 53 60 62 | 55 06 66 64 |
...
0x0001000:      00 57 36 70 | 59 10 74 72 | 12 69 76 78 | 71 22 03 01 |
0x0001010:      24 73 05 07 | 75 26 11 09 | 28 45 13 30 | 47 77 34 32 |
0x0001020:      00 57 36 70 | 59 10 74 72 | 12 69 76 78 | 71 22 03 01 |
0x0001030:      24 73 05 07 | 75 26 11 09 | 28 45 13 30 | 47 77 34 32 |
...
0x0002000:      08 57 68 70 | 51 02 42 40 | 04 61 44 46 | 63 14 50 48 |
0x0002010:      16 65 52 54 | 67 18 58 56 | 20 53 60 62 | 55 06 66 64 |
0x0002020:      08 57 68 70 | 51 02 42 40 | 04 61 44 46 | 63 14 50 48 |
0x0002030:      16 65 52 54 | 67 18 58 56 | 20 53 60 62 | 55 06 66 64 |
...
0x0003000:      00 49 36 38 | 51 10 42 72 | 12 69 76 78 | 71 22 03 01 |
0x0003010:      24 73 05 07 | 75 26 11 09 | 28 45 13 30 | 47 77 34 32 |
0x0003020:      00 49 36 38 | 51 10 42 72 | 12 69 76 78 | 71 22 03 01 |
0x0003030:      24 73 05 07 | 75 26 11 09 | 28 45 13 30 | 47 77 34 32 |
Hop sequence {k} for SLAVE PAGE RESPONSE SUBSTATE:
CLKN* =         0x0000010
ULAP:           0x6587cba9
#ticks:         00 | 02 04 | 06 08 | 0a 0c | 0e 10 | 12 14 | 16 18 | 1a 1c | 1e
                ----------------------------------------------------------------
0x0000012:      52 | 65 54 | 67 58 | 18 56 | 20 60 | 53 62 | 55 66 | 06 64 | 08
0x0000032:      68 | 57 70 | 59 74 | 10 72 | 12 76 | 69 78 | 71 03 | 22 01 | 24
0x0000052:      05 | 73 07 | 75 11 | 26 09 | 28 13 | 45 30 | 47 34 | 77 32 | 00
0x0000072:      36 | 49 38 | 51 42 | 02 40 | 04 44 | 61 46 | 63 50 | 14 48 | 16

Hop sequence {k} for MASTER PAGE RESPONSE SUBSTATE:
Offset value:   24
CLKE* =         0x0000012
ULAP:           0x6587cba9
#ticks:         00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                ----------------------------------------------------------------
0x0000014:      65 54 | 67 58 | 18 56 | 20 60 | 53 62 | 55 66 | 06 64 | 08 68 |
0x0000034:      57 70 | 59 74 | 10 72 | 12 76 | 69 78 | 71 03 | 22 01 | 24 05 |
0x0000054:      73 07 | 75 11 | 26 09 | 28 13 | 45 30 | 47 34 | 77 32 | 00 36 |
0x0000074:      49 38 | 51 42 | 02 40 | 04 44 | 61 46 | 63 50 | 14 48 | 16 52 |




Frequency Hopping Sample Data                                       06 December 2016
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Sample Data



Hop sequence {k} for CONNECTION STATE (Basic channel hopping sequence; ie, non-AFH):
CLK start:       0x0000010
ULAP:            0x6587cba9
#ticks:          00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                 ----------------------------------------------------------------
0x0000010:       20 60 | 53 62 | 55 66 | 06 64 | 08 68 | 57 70 | 59 74 | 10 72 |
0x0000030:       12 76 | 69 78 | 71 03 | 22 01 | 24 05 | 73 07 | 75 11 | 26 09 |
0x0000050:       28 13 | 45 30 | 47 34 | 77 32 | 00 36 | 49 38 | 51 42 | 02 40 |
0x0000070:       04 44 | 61 46 | 63 50 | 14 48 | 50 05 | 16 07 | 20 09 | 48 11 |
0x0000090:       52 13 | 06 15 | 10 17 | 38 19 | 42 21 | 08 23 | 12 25 | 40 27 |
0x00000b0:       44 29 | 22 31 | 26 33 | 54 35 | 58 37 | 24 39 | 28 41 | 56 43 |
0x00000d0:       60 45 | 77 62 | 02 64 | 30 66 | 34 68 | 00 70 | 04 72 | 32 74 |
0x00000f0:       36 76 | 14 78 | 18 01 | 46 03 | 72 29 | 42 39 | 44 43 | 74 41 |
0x0000110:       76 45 | 46 47 | 48 51 | 78 49 | 01 53 | 50 63 | 52 67 | 03 65 |
0x0000130:       05 69 | 54 55 | 56 59 | 07 57 | 09 61 | 58 71 | 60 75 | 11 73 |
0x0000150:       13 77 | 30 15 | 32 19 | 62 17 | 64 21 | 34 31 | 36 35 | 66 33 |
0x0000170:       68 37 | 38 23 | 40 27 | 70 25 | 27 61 | 72 71 | 76 73 | 25 75 |
0x0000190:       29 77 | 78 00 | 03 02 | 31 04 | 35 06 | 01 16 | 05 18 | 33 20 |
0x00001b0:       37 22 | 07 08 | 11 10 | 39 12 | 43 14 | 09 24 | 13 26 | 41 28 |
0x00001d0:       45 30 | 62 47 | 66 49 | 15 51 | 19 53 | 64 63 | 68 65 | 17 67 |
0x00001f0:       21 69 | 70 55 | 74 57 | 23 59 | 53 22 | 35 12 | 37 28 | 67 14 |
0x0000210:       69 30 | 23 32 | 25 48 | 55 34 | 57 50 | 39 40 | 41 56 | 71 42 |
0x0000230:       73 58 | 27 36 | 29 52 | 59 38 | 61 54 | 43 44 | 45 60 | 75 46 |
0x0000250:       77 62 | 15 00 | 17 16 | 47 02 | 49 18 | 31 08 | 33 24 | 63 10 |
0x0000270:       65 26 | 19 04 | 21 20 | 51 06 | 06 54 | 65 42 | 69 58 | 18 46 |
0x0000290:       22 62 | 55 64 | 59 01 | 08 68 | 12 05 | 71 72 | 75 09 | 24 76 |
0x00002b0:       28 13 | 57 66 | 61 03 | 10 70 | 14 07 | 73 74 | 77 11 | 26 78 |
0x00002d0:       30 15 | 47 32 | 51 48 | 00 36 | 04 52 | 63 40 | 67 56 | 16 44 |
0x00002f0:       20 60 | 49 34 | 53 50 | 02 38 | 38 78 | 12 05 | 14 13 | 44 07 |
0x0000310:       46 15 | 16 17 | 18 25 | 48 19 | 50 27 | 24 33 | 26 41 | 56 35 |
0x0000330:       58 43 | 20 21 | 22 29 | 52 23 | 54 31 | 28 37 | 30 45 | 60 39 |
0x0000350:       62 47 | 00 64 | 02 72 | 32 66 | 34 74 | 08 01 | 10 09 | 40 03 |
0x0000370:       42 11 | 04 68 | 06 76 | 36 70 | 70 31 | 42 35 | 46 43 | 74 39 |
0x0000390:       78 47 | 48 49 | 52 57 | 01 53 | 05 61 | 56 65 | 60 73 | 09 69 |
0x00003b0:       13 77 | 50 51 | 54 59 | 03 55 | 07 63 | 58 67 | 62 75 | 11 71 |
0x00003d0:       15 00 | 32 17 | 36 25 | 64 21 | 68 29 | 40 33 | 44 41 | 72 37 |
0x00003f0:       76 45 | 34 19 | 38 27 | 66 23 | 11 71 | 05 18 | 07 22 | 13 20 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
all channel used; ie, AFH(79)):
CLK start:        0x0000010
ULAP:             0x6587cba9
Used Channels:0x7fffffffffffffffffff
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         20 20 | 53 53 | 55 55 | 06 06 | 08 08 | 57 57 | 59 59 | 10 10 |
0x0000030         12 12 | 69 69 | 71 71 | 22 22 | 24 24 | 73 73 | 75 75 | 26 26 |
0x0000050         28 28 | 45 45 | 47 47 | 77 77 | 00 00 | 49 49 | 51 51 | 02 02 |
0x0000070         04 04 | 61 61 | 63 63 | 14 14 | 50 50 | 16 16 | 20 20 | 48 48 |
0x0000090         52 52 | 06 06 | 10 10 | 38 38 | 42 42 | 08 08 | 12 12 | 40 40 |
0x00000b0         44 44 | 22 22 | 26 26 | 54 54 | 58 58 | 24 24 | 28 28 | 56 56 |
0x00000d0         60 60 | 77 77 | 02 02 | 30 30 | 34 34 | 00 00 | 04 04 | 32 32 |
0x00000f0         36 36 | 14 14 | 18 18 | 46 46 | 72 72 | 42 42 | 44 44 | 74 74 |
0x0000110         76 76 | 46 46 | 48 48 | 78 78 | 01 01 | 50 50 | 52 52 | 03 03 |
0x0000130         05 05 | 54 54 | 56 56 | 07 07 | 09 09 | 58 58 | 60 60 | 11 11 |
0x0000150         13 13 | 30 30 | 32 32 | 62 62 | 64 64 | 34 34 | 36 36 | 66 66 |
0x0000170         68 68 | 38 38 | 40 40 | 70 70 | 27 27 | 72 72 | 76 76 | 25 25 |
0x0000190         29 29 | 78 78 | 03 03 | 31 31 | 35 35 | 01 01 | 05 05 | 33 33 |
0x00001b0         37 37 | 07 07 | 11 11 | 39 39 | 43 43 | 09 09 | 13 13 | 41 41 |
0x00001d0         45 45 | 62 62 | 66 66 | 15 15 | 19 19 | 64 64 | 68 68 | 17 17 |
0x00001f0         21 21 | 70 70 | 74 74 | 23 23 | 53 53 | 35 35 | 37 37 | 67 67 |
0x0000210         69 69 | 23 23 | 25 25 | 55 55 | 57 57 | 39 39 | 41 41 | 71 71 |
0x0000230         73 73 | 27 27 | 29 29 | 59 59 | 61 61 | 43 43 | 45 45 | 75 75 |
0x0000250         77 77 | 15 15 | 17 17 | 47 47 | 49 49 | 31 31 | 33 33 | 63 63 |
0x0000270         65 65 | 19 19 | 21 21 | 51 51 | 06 06 | 65 65 | 69 69 | 18 18 |
0x0000290         22 22 | 55 55 | 59 59 | 08 08 | 12 12 | 71 71 | 75 75 | 24 24 |
0x00002b0         28 28 | 57 57 | 61 61 | 10 10 | 14 14 | 73 73 | 77 77 | 26 26 |
0x00002d0         30 30 | 47 47 | 51 51 | 00 00 | 04 04 | 63 63 | 67 67 | 16 16 |
0x00002f0         20 20 | 49 49 | 53 53 | 02 02 | 38 38 | 12 12 | 14 14 | 44 44 |
0x0000310         46 46 | 16 16 | 18 18 | 48 48 | 50 50 | 24 24 | 26 26 | 56 56 |
0x0000330         58 58 | 20 20 | 22 22 | 52 52 | 54 54 | 28 28 | 30 30 | 60 60 |
0x0000350         62 62 | 00 00 | 02 02 | 32 32 | 34 34 | 08 08 | 10 10 | 40 40 |
0x0000370         42 42 | 04 04 | 06 06 | 36 36 | 70 70 | 42 42 | 46 46 | 74 74 |
0x0000390         78 78 | 48 48 | 52 52 | 01 01 | 05 05 | 56 56 | 60 60 | 09 09 |
0x00003b0         13 13 | 50 50 | 54 54 | 03 03 | 07 07 | 58 58 | 62 62 | 11 11 |
0x00003d0         15 15 | 32 32 | 36 36 | 64 64 | 68 68 | 40 40 | 44 44 | 72 72 |
0x00003f0         76 76 | 34 34 | 38 38 | 66 66 | 11 11 | 05 05 | 07 07 | 13 13 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
channels 0 to 21 unused):
CLK start:        0x0000010
ULAP:             0x6587cba9
Used Channels:0x7fffffffffffffc00000
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         29 29 | 53 53 | 55 55 | 72 72 | 74 74 | 57 57 | 59 59 | 76 76 |
0x0000030         78 78 | 69 69 | 71 71 | 22 22 | 24 24 | 73 73 | 75 75 | 26 26 |
0x0000050         28 28 | 45 45 | 47 47 | 77 77 | 66 66 | 49 49 | 51 51 | 68 68 |
0x0000070         70 70 | 61 61 | 63 63 | 23 23 | 50 50 | 25 25 | 29 29 | 48 48 |
0x0000090         52 52 | 72 72 | 76 76 | 38 38 | 42 42 | 74 74 | 78 78 | 40 40 |
0x00000b0         44 44 | 22 22 | 26 26 | 54 54 | 58 58 | 24 24 | 28 28 | 56 56 |
0x00000d0         60 60 | 77 77 | 68 68 | 30 30 | 34 34 | 66 66 | 70 70 | 32 32 |
0x00000f0         36 36 | 23 23 | 27 27 | 46 46 | 72 72 | 42 42 | 44 44 | 74 74 |
0x0000110         76 76 | 46 46 | 48 48 | 78 78 | 32 32 | 50 50 | 52 52 | 34 34 |
0x0000130         36 36 | 54 54 | 56 56 | 38 38 | 40 40 | 58 58 | 60 60 | 42 42 |
0x0000150         44 44 | 30 30 | 32 32 | 62 62 | 64 64 | 34 34 | 36 36 | 66 66 |
0x0000170         68 68 | 38 38 | 40 40 | 70 70 | 27 27 | 72 72 | 76 76 | 25 25 |
0x0000190         29 29 | 78 78 | 34 34 | 31 31 | 35 35 | 32 32 | 36 36 | 33 33 |
0x00001b0         37 37 | 38 38 | 42 42 | 39 39 | 43 43 | 40 40 | 44 44 | 41 41 |
0x00001d0         45 45 | 62 62 | 66 66 | 46 46 | 50 50 | 64 64 | 68 68 | 48 48 |
0x00001f0         52 52 | 70 70 | 74 74 | 23 23 | 53 53 | 35 35 | 37 37 | 67 67 |
0x0000210         69 69 | 23 23 | 25 25 | 55 55 | 57 57 | 39 39 | 41 41 | 71 71 |
0x0000230         73 73 | 27 27 | 29 29 | 59 59 | 61 61 | 43 43 | 45 45 | 75 75 |
0x0000250         77 77 | 46 46 | 48 48 | 47 47 | 49 49 | 31 31 | 33 33 | 63 63 |
0x0000270         65 65 | 50 50 | 52 52 | 51 51 | 59 59 | 65 65 | 69 69 | 71 71 |
0x0000290         22 22 | 55 55 | 59 59 | 61 61 | 65 65 | 71 71 | 75 75 | 24 24 |
0x00002b0         28 28 | 57 57 | 61 61 | 63 63 | 67 67 | 73 73 | 77 77 | 26 26 |
0x00002d0         30 30 | 47 47 | 51 51 | 53 53 | 57 57 | 63 63 | 67 67 | 69 69 |
0x00002f0         73 73 | 49 49 | 53 53 | 55 55 | 38 38 | 65 65 | 67 67 | 44 44 |
0x0000310         46 46 | 69 69 | 71 71 | 48 48 | 50 50 | 24 24 | 26 26 | 56 56 |
0x0000330         58 58 | 73 73 | 22 22 | 52 52 | 54 54 | 28 28 | 30 30 | 60 60 |
0x0000350         62 62 | 53 53 | 55 55 | 32 32 | 34 34 | 61 61 | 63 63 | 40 40 |
0x0000370         42 42 | 57 57 | 59 59 | 36 36 | 70 70 | 42 42 | 46 46 | 74 74 |
0x0000390         78 78 | 48 48 | 52 52 | 76 76 | 23 23 | 56 56 | 60 60 | 27 27 |
0x00003b0         31 31 | 50 50 | 54 54 | 78 78 | 25 25 | 58 58 | 62 62 | 29 29 |
0x00003d0         33 33 | 32 32 | 36 36 | 64 64 | 68 68 | 40 40 | 44 44 | 72 72 |
0x00003f0         76 76 | 34 34 | 38 38 | 66 66 | 29 29 | 23 23 | 25 25 | 31 31 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
even channels used):
CLK start:        0x0000010
ULAP:             0x6587cba9
Used Channels:0x55555555555555555555
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         20 20 | 52 52 | 54 54 | 06 06 | 08 08 | 56 56 | 58 58 | 10 10 |
0x0000030         12 12 | 68 68 | 70 70 | 22 22 | 24 24 | 72 72 | 74 74 | 26 26 |
0x0000050         28 28 | 44 44 | 46 46 | 76 76 | 00 00 | 48 48 | 50 50 | 02 02 |
0x0000070         04 04 | 60 60 | 62 62 | 14 14 | 50 50 | 16 16 | 20 20 | 48 48 |
0x0000090         52 52 | 06 06 | 10 10 | 38 38 | 42 42 | 08 08 | 12 12 | 40 40 |
0x00000b0         44 44 | 22 22 | 26 26 | 54 54 | 58 58 | 24 24 | 28 28 | 56 56 |
0x00000d0         60 60 | 76 76 | 02 02 | 30 30 | 34 34 | 00 00 | 04 04 | 32 32 |
0x00000f0         36 36 | 14 14 | 18 18 | 46 46 | 72 72 | 42 42 | 44 44 | 74 74 |
0x0000110         76 76 | 46 46 | 48 48 | 78 78 | 78 78 | 50 50 | 52 52 | 00 00 |
0x0000130         02 02 | 54 54 | 56 56 | 04 04 | 06 06 | 58 58 | 60 60 | 08 08 |
0x0000150         10 10 | 30 30 | 32 32 | 62 62 | 64 64 | 34 34 | 36 36 | 66 66 |
0x0000170         68 68 | 38 38 | 40 40 | 70 70 | 24 24 | 72 72 | 76 76 | 22 22 |
0x0000190         26 26 | 78 78 | 00 00 | 28 28 | 32 32 | 78 78 | 02 02 | 30 30 |
0x00001b0         34 34 | 04 04 | 08 08 | 36 36 | 40 40 | 06 06 | 10 10 | 38 38 |
0x00001d0         42 42 | 62 62 | 66 66 | 12 12 | 16 16 | 64 64 | 68 68 | 14 14 |
0x00001f0         18 18 | 70 70 | 74 74 | 20 20 | 50 50 | 32 32 | 34 34 | 64 64 |
0x0000210         66 66 | 20 20 | 22 22 | 52 52 | 54 54 | 36 36 | 38 38 | 68 68 |
0x0000230         70 70 | 24 24 | 26 26 | 56 56 | 58 58 | 40 40 | 42 42 | 72 72 |
0x0000250         74 74 | 12 12 | 14 14 | 44 44 | 46 46 | 28 28 | 30 30 | 60 60 |
0x0000270         62 62 | 16 16 | 18 18 | 48 48 | 06 06 | 62 62 | 66 66 | 18 18 |
0x0000290         22 22 | 52 52 | 56 56 | 08 08 | 12 12 | 68 68 | 72 72 | 24 24 |
0x00002b0         28 28 | 54 54 | 58 58 | 10 10 | 14 14 | 70 70 | 74 74 | 26 26 |
0x00002d0         30 30 | 44 44 | 48 48 | 00 00 | 04 04 | 60 60 | 64 64 | 16 16 |
0x00002f0         20 20 | 46 46 | 50 50 | 02 02 | 38 38 | 12 12 | 14 14 | 44 44 |
0x0000310         46 46 | 16 16 | 18 18 | 48 48 | 50 50 | 24 24 | 26 26 | 56 56 |
0x0000330         58 58 | 20 20 | 22 22 | 52 52 | 54 54 | 28 28 | 30 30 | 60 60 |
0x0000350         62 62 | 00 00 | 02 02 | 32 32 | 34 34 | 08 08 | 10 10 | 40 40 |
0x0000370         42 42 | 04 04 | 06 06 | 36 36 | 70 70 | 42 42 | 46 46 | 74 74 |
0x0000390         78 78 | 48 48 | 52 52 | 76 76 | 00 00 | 56 56 | 60 60 | 04 04 |
0x00003b0         08 08 | 50 50 | 54 54 | 78 78 | 02 02 | 58 58 | 62 62 | 06 06 |
0x00003d0         10 10 | 32 32 | 36 36 | 64 64 | 68 68 | 40 40 | 44 44 | 72 72 |
0x00003f0         76 76 | 34 34 | 38 38 | 66 66 | 06 06 | 00 00 | 02 02 | 08 08 |




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Sample Data

Hop Sequence {k} for CONNECTION STATE (Adapted channel hopping sequence with
odd channels used):
CLK start:        0x0000010
ULAP:             0x6587cba9
Used Channels:0x2aaaaaaaaaaaaaaaaaaa
#ticks:           00 02 | 04 06 | 08 0a | 0c 0e | 10 12 | 14 16 | 18 1a | 1c 1e |
                  ---------------------------------------------------------------
0x0000010         23 23 | 53 53 | 55 55 | 09 09 | 11 11 | 57 57 | 59 59 | 13 13 |
0x0000030         15 15 | 69 69 | 71 71 | 25 25 | 27 27 | 73 73 | 75 75 | 29 29 |
0x0000050         31 31 | 45 45 | 47 47 | 77 77 | 03 03 | 49 49 | 51 51 | 05 05 |
0x0000070         07 07 | 61 61 | 63 63 | 17 17 | 53 53 | 19 19 | 23 23 | 51 51 |
0x0000090         55 55 | 09 09 | 13 13 | 41 41 | 45 45 | 11 11 | 15 15 | 43 43 |
0x00000b0         47 47 | 25 25 | 29 29 | 57 57 | 61 61 | 27 27 | 31 31 | 59 59 |
0x00000d0         63 63 | 77 77 | 05 05 | 33 33 | 37 37 | 03 03 | 07 07 | 35 35 |
0x00000f0         39 39 | 17 17 | 21 21 | 49 49 | 75 75 | 45 45 | 47 47 | 77 77 |
0x0000110         01 01 | 49 49 | 51 51 | 03 03 | 01 01 | 53 53 | 55 55 | 03 03 |
0x0000130         05 05 | 57 57 | 59 59 | 07 07 | 09 09 | 61 61 | 63 63 | 11 11 |
0x0000150         13 13 | 33 33 | 35 35 | 65 65 | 67 67 | 37 37 | 39 39 | 69 69 |
0x0000170         71 71 | 41 41 | 43 43 | 73 73 | 27 27 | 75 75 | 01 01 | 25 25 |
0x0000190         29 29 | 03 03 | 03 03 | 31 31 | 35 35 | 01 01 | 05 05 | 33 33 |
0x00001b0         37 37 | 07 07 | 11 11 | 39 39 | 43 43 | 09 09 | 13 13 | 41 41 |
0x00001d0         45 45 | 65 65 | 69 69 | 15 15 | 19 19 | 67 67 | 71 71 | 17 17 |
0x00001f0         21 21 | 73 73 | 77 77 | 23 23 | 53 53 | 35 35 | 37 37 | 67 67 |
0x0000210         69 69 | 23 23 | 25 25 | 55 55 | 57 57 | 39 39 | 41 41 | 71 71 |
0x0000230         73 73 | 27 27 | 29 29 | 59 59 | 61 61 | 43 43 | 45 45 | 75 75 |
0x0000250         77 77 | 15 15 | 17 17 | 47 47 | 49 49 | 31 31 | 33 33 | 63 63 |
0x0000270         65 65 | 19 19 | 21 21 | 51 51 | 11 11 | 65 65 | 69 69 | 23 23 |
0x0000290         27 27 | 55 55 | 59 59 | 13 13 | 17 17 | 71 71 | 75 75 | 29 29 |
0x00002b0         33 33 | 57 57 | 61 61 | 15 15 | 19 19 | 73 73 | 77 77 | 31 31 |
0x00002d0         35 35 | 47 47 | 51 51 | 05 05 | 09 09 | 63 63 | 67 67 | 21 21 |
0x00002f0         25 25 | 49 49 | 53 53 | 07 07 | 43 43 | 17 17 | 19 19 | 49 49 |
0x0000310         51 51 | 21 21 | 23 23 | 53 53 | 55 55 | 29 29 | 31 31 | 61 61 |
0x0000330         63 63 | 25 25 | 27 27 | 57 57 | 59 59 | 33 33 | 35 35 | 65 65 |
0x0000350         67 67 | 05 05 | 07 07 | 37 37 | 39 39 | 13 13 | 15 15 | 45 45 |
0x0000370         47 47 | 09 09 | 11 11 | 41 41 | 75 75 | 47 47 | 51 51 | 01 01 |
0x0000390         05 05 | 53 53 | 57 57 | 01 01 | 05 05 | 61 61 | 65 65 | 09 09 |
0x00003b0         13 13 | 55 55 | 59 59 | 03 03 | 07 07 | 63 63 | 67 67 | 11 11 |
0x00003d0         15 15 | 37 37 | 41 41 | 69 69 | 73 73 | 45 45 | 49 49 | 77 77 |
0x00003f0         03 03 | 39 39 | 43 43 | 71 71 | 11 11 | 05 05 | 07 07 | 13 13 |




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Sample Data


3 ACCESS CODE SAMPLE DATA

Different access codes (GIAC, DIACs, others...)
LAP with LSB as rightmost bit.


                      Bit transmit order on air
                  --------------------------------->
LAP:         | Preamble:| Sync word:          | Trailer: |
--------------------------------------------------
000000       |    5       | 7e7041e3 4000000d |    5     |
ffffff       |    a       | e758b522 7ffffff2 |    a     |
9e8b33       |    5       | 475c58cc 73345e72 |    a     |
9e8b34       |    5       | 28ed3c34 cb345e72 |    a     |
9e8b36       |    5       | 62337b64 1b345e72 |    a     |
9e8b39       |    a       | c05747b9 e7345e72 |    a     |
9e8b3d       |    5       | 7084eab0 2f345e72 |    a     |
9e8b42       |    5       | 64c86d2b 90b45e72 |    a     |
9e8b48       |    a       | e3c3725e 04b45e72 |    a     |
9e8b4f       |    a       | 8c7216a6 bcb45e72 |    a     |
9e8b57       |    a       | b2f16c30 fab45e72 |    a     |
9e8b60       |    5       | 57bd3b22 c1b45e72 |    a     |
9e8b6a       |    a       | d0b62457 55b45e72 |    a     |
9e8b75       |    a       | 81843a39 abb45e72 |    a     |
9e8b81       |    5       | 0ca96681 e0745e72 |    a     |
9e8b8e       |    a       | aecd5a5c 1c745e72 |    a     |
9e8b9c       |    5       | 17453fbf ce745e72 |    a     |
9e8bab       |    a       | f20968ad f5745e72 |    a     |
9e8bbb       |    5       | 015f4a1e f7745e72 |    a     |
9e8bcc       |    a       | d8c695a0 0cf45e72 |    a     |
9e8bde       |    5       | 614ef043 def45e72 |    a     |
9e8bf1       |    a       | ba81ddc7 a3f45e72 |    a     |
9e8c05       |    5       | 64a7dc4f 680c5e72 |    a     |
9e8c1a       |    5       | 3595c221 960c5e72 |    a     |
9e8c30       |    a       | cb35cc0d 830c5e72 |    a     |
9e8c47       |    5       | 12ac13b3 788c5e72 |    a     |
9e8c5f       |    5       | 2c2f6925 3e8c5e72 |    a     |
9e8c78       |    5       | 3a351c84 078c5e72 |    a     |
9e8c92       |    5       | 7396d0f3 124c5e72 |    a     |
9e8cad       |    5       | 5b0fdfc4 6d4c5e72 |    a     |
9e8cc9       |    a       | aea2eb38 e4cc5e72 |    a     |
9e8ce6       |    5       | 756dc6bc 99cc5e72 |    a     |
9e8d04       |    5       | 214cf934 882c5e72 |    a     |
9e8d23       |    5       | 37568c95 b12c5e72 |    a     |
9e8d43       |    5       | 72281560 f0ac5e72 |    a     |
9e8d64       |    5       | 643260c1 c9ac5e72 |    a     |
9e8d86       |    a       | e044f493 986c5e72 |    a     |
9e8da9       |    5       | 3b8bd917 e56c5e72 |    a     |
9e8dcd       |    a       | ce26edeb 6cec5e72 |    a     |
9e8df2       |    a       | e6bfe2dc 13ec5e72 |    a     |
9e8e18       |    a       | 82dcde3d c61c5e72 |    a     |
9e8e3f       |    a       | 94c6ab9c ff1c5e72 |    a     |


Access Code Sample Data                                            06 December 2016
                                                             Bluetooth SIG Proprietary
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Sample Data

9e8e67       |    a       | 969059a6 799c5e72 |   a   |
9e8e90       |    a       | c4dfccef 425c5e72 |   a   |
9e8eba       |    5       | 3a7fc2c3 575c5e72 |   a   |
9e8ee5       |    5       | 57985401 69dc5e72 |   a   |
9e8f11       |    5       | 0ae2a363 623c5e72 |   a   |
9e8f3e       |    a       | d12d8ee7 1f3c5e72 |   a   |
9e8f6c       |    5       | 547063a8 0dbc5e72 |   a   |
9e8f9b       |    5       | 063ff6e1 367c5e72 |   a   |
9e8fcb       |    a       | c9bc5cfe f4fc5e72 |   a   |
9e8ffc       |    5       | 2cf00bec cffc5e72 |   a   |
9e902e       |    a       | 8ec5052f 5d025e72 |   a   |
9e9061       |    5       | 1074b15e 61825e72 |   a   |
9e9095       |    a       | 9d59ede6 2a425e72 |   a   |
9e90ca       |    a       | f0be7b24 14c25e72 |   a   |
9e9100       |    5       | 10e10dd0 c0225e72 |   a   |
9e9137       |    a       | f5ad5ac2 fb225e72 |   a   |
9e916f       |    a       | f7fba8f8 7da25e72 |   a   |
9e91a8       |    5       | 2f490e5b c5625e72 |   a   |
9e91e2       |    a       | 94979982 91e25e72 |   a   |
9e921d       |    5       | 26cda478 2e125e72 |   a   |
9e9259       |    a       | aacb81dd 26925e72 |   a   |
9e9296       |    a       | bfac7f5b da525e72 |   a   |
9e92d4       |    a       | c9a7b0a7 cad25e72 |   a   |
9e9313       |    a       | c142bdde 32325e72 |   a   |
616cec       |    5       | 586a491f 0dcda18d |   5   |
616ceb       |    5       | 37db2de7 b5cda18d |   5   |
616ce9       |    5       | 7d056ab7 65cda18d |   5   |
616ce6       |    a       | df61566a 99cda18d |   5   |
616ce2       |    5       | 6fb2fb63 51cda18d |   5   |
616cdd       |    5       | 472bf454 2ecda18d |   5   |
616cd7       |    a       | c020eb21 bacda18d |   5   |
616cd0       |    a       | af918fd9 02cda18d |   5   |
616cc8       |    a       | 9112f54f 44cda18d |   5   |
616cbf       |    5       | 488b2af1 bf4da18d |   5   |
616cb5       |    a       | cf803584 2b4da18d |   5   |
616caa       |    a       | 9eb22bea d54da18d |   5   |
616c9e       |    a       | a49cb509 9e4da18d |   5   |
616c91       |    5       | 06f889d4 624da18d |   5   |
616c83       |    a       | bf70ec37 b04da18d |   5   |
616c74       |    a       | ed3f797e 8b8da18d |   5   |
616c64       |    5       | 1e695bcd 898da18d |   5   |
616c53       |    a       | fb250cdf b28da18d |   5   |
616c41       |    5       | 42ad693c 608da18d |   5   |
616c2e       |    a       | a5b7cc14 dd0da18d |   5   |
616c1a       |    a       | 9f9952f7 960da18d |   5   |
616c05       |    a       | ceab4c99 680da18d |   5   |
616bef       |    a       | d403ddde fdf5a18d |   5   |
616bd8       |    5       | 314f8acc c6f5a18d |   5   |
616bc0       |    5       | 0fccf05a 80f5a18d |   5   |
616ba7       |    5       | 25030d57 7975a18d |   5   |
616b8d       |    a       | dba3037b 6c75a18d |   5   |
616b72       |    5       | 4439ce17 13b5a18d |   5   |



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616b56       |    a       | 8d417247 5ab5a18d |   5   |
616b39       |    5       | 6a5bd76f e735a18d |   5   |
616b1b       |    5       | 592e8166 b635a18d |   5   |
616afc       |    5       | 28609d46 cfd5a18d |   5   |
616adc       |    5       | 51cb8c1f 4ed5a18d |   5   |
616abb       |    5       | 7b047112 b755a18d |   5   |
616a99       |    5       | 4871271b e655a18d |   5   |
616a76       |    5       | 24bdc8c4 9b95a18d |   5   |
616a52       |    a       | edc57494 d295a18d |   5   |
616a2d       |    a       | f989f30f 6d15a18d |   5   |
616a07       |    5       | 0729fd23 7815a18d |   5   |
6169e0       |    a       | 8bf0ba4f 81e5a18d |   5   |
6169b8       |    a       | 89a64875 0765a18d |   5   |
61698f       |    5       | 6cea1f67 3c65a18d |   5   |
616965       |    5       | 2549d310 29a5a18d |   5   |
61693a       |    5       | 48ae45d2 1725a18d |   5   |
61690e       |    5       | 7280db31 5c25a18d |   5   |
6168e1       |    a       | ce1b9f34 61c5a18d |   5   |
6168b3       |    5       | 4b46727b 7345a18d |   5   |
616884       |    a       | ae0a2569 4845a18d |   5   |
616854       |    a       | ea5fc581 4a85a18d |   5   |
616823       |    5       | 33c61a3f b105a18d |   5   |
6167f1       |    a       | c49fb8c5 63f9a18d |   5   |
6167be       |    5       | 5a2e0cb4 5f79a18d |   5   |
61678a       |    5       | 60009257 1479a18d |   5   |
616755       |    a       | 86314e62 eab9a18d |   5   |
61671f       |    5       | 3defd9bb be39a18d |   5   |
6166e8       |    a       | bff7e728 c5d9a18d |   5   |
6166b0       |    a       | bda11512 4359a18d |   5   |
616677       |    5       | 6513b3b1 fb99a18d |   5   |
61663d       |    a       | decd2468 af19a18d |   5   |
616602       |    a       | f6542b5f d019a18d |   5   |
6165c6       |    a       | dc44b49b d8e9a18d |   5   |
616589       |    5       | 42f500ea e469a18d |   5   |
61654b       |    a       | bf2885e1 34a9a18d |   5   |
61650c       |    a       | ec4c69b5 4c29a18d |   5   |




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Sample Data


4 HEC AND PACKET HEADER SAMPLE DATA

This section contains examples of HECs computed for sample UAP and packet
header contents (Data). The resulting 54 bit packet headers are shown in the
rightmost column. Note that the UAP, Data and HEC values are in hexadecimal
notation, while the header is in octal notation. The header is transmitted from
left to right over the air.


UAP          Data    HEC            Header (octal)
--------------------------------------------
00           123     e1             770007 007070 000777
47           123     06             770007 007007 700000
00           124     32             007007 007007 007700
47           124     d5             007007 007070 707077
00           125     5a             707007 007007 077070
47           125     bd             707007 007070 777707
00           126     e2             077007 007007 000777
47           126     05             077007 007070 700000
00           127     8a             777007 007007 070007
47           127     6d             777007 007070 770770
00           11b     9e             770770 007007 777007
47           11b     79             770770 007070 077770
00           11c     4d             007770 007070 770070
47           11c     aa             007770 007007 070707
00           11d     25             707770 007070 700700
47           11d     c2             707770 007007 000077
00           11e     9d             077770 007070 777007
47           11e     7a             077770 007007 077770
00           11f     f5             777770 007070 707777
47           11f     12             777770 007007 007000




HEC and Packet Header Sample Data                                   06 December 2016
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Sample Data


5 CRC SAMPLE DATA
This section shows the CRC computed for a sample 10 byte payload and a UAP of 0x47.



Data:
-----


data[0] = 0x4e
data[1] = 0x01
data[2] = 0x02
data[3] = 0x03
data[4] = 0x04
data[5] = 0x05
data[6] = 0x06
data[7] = 0x07
data[8] = 0x08
data[9] = 0x09


UAP = 0x47



==> CRC = 6d d2


Codeword (hexadecimal notation):
---------------------------------


4e 01 02 03 04 05 06 07 08 09 6d d2



NB: Over the air each byte in the codeword
    is sent with the LSB first.




CRC Sample Data                                                          06 December 2016
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Sample Data


6 COMPLETE SAMPLE PACKETS

6.1 EXAMPLE OF DH1 PACKET
Packet header: (MSB...LSB)
--------------------------
LT_ADDR = 011
TYPE = 0100 (DH1)
FLOW = 0
ARQN = 1
SEQN = 0


Payload: (MSB...LSB)
--------------------
payload length: 5 bytes
logical channel = 10 (UA/I, Start L2CAP message)
flow = 1
data byte 1 = 00000001
data byte 2 = 00000010
data byte 3 = 00000011
data byte 4 = 00000100
data byte 5 = 00000101


HEC and CRC initialization: (MSB...LSB)
---------------------------------------
uap = 01000111


NO WHITENING USED




AIR DATA (LSB...MSB)


Packet header (incl HEC):
-------------------------
111111000
000000111000
000111000
000111111000000000000000


Payload (incl payload header and CRC):
-------------------------------------------------------------
01110100
10000000
01000000
11000000
00100000
10100000
1110110000110110


Complete Sample Packets                                               06 December 2016
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Sample Data


6.2 EXAMPLE OF DM1 PACKET

Packet header: (MSB...LSB)
--------------------------
LT_ADDR = 011
TYPE = 0011 (DM1)
FLOW = 0
ARQN = 1
SEQN = 0


Payload: (MSB...LSB)
--------------------
payload length: 5 bytes
logical channel = 10 (UA/I, Start L2CAP message)
flow = 1
data byte 1 = 00000001
data byte 2 = 00000010
data byte 3 = 00000011
data byte 4 = 00000100
data byte 5 = 00000101


HEC and CRC initialization: (MSB...LSB)
---------------------------------------
uap = 01000111


NO WHITENING USED




AIR DATA (LSB...MSB)


Packet header (incl HEC):
-------------------------
111111000
111111000000
000111000
111000000111111111111000


Payload (incl payload header, FEC23, CRC and 6 padded zeros):
-------------------------------------------------------------
0111010010 11001
0000000100 01011
0000110000 11110
0000100000 00111
1010000011 01100
1011000011 00010
0110000000 10001




Complete Sample Packets                                               06 December 2016
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Sample Data


7 SIMPLE PAIRING SAMPLE DATA

This section provides sample data for the Simple Pairing cryptographic
functions (f1, f2, f3, g and the ECDH calculations).

7.1 ELLIPTIC CURVE SAMPLE DATA
In each data set, the bytes are ordered from least significant on the right to
most significant on the left.

7.1.1 P-192 Sample Data

7.1.1.1 P-192 Data Set 1

Private A:        07915f86918ddc27005df1d6cf0c142b625ed2eff4a518ff
Private B:        1e636ca790b50f68f15d8dbe86244e309211d635de00e16d
Public A(x): 15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
Public A(y): b09d42b81bc5bd009f79e4b59dbbaa857fca856fb9f7ea25
DHKey:            fb3ba2012c7e62466e486e229290175b4afebc13fdccee46


7.1.1.2 P-192 Data Set 2

Private A:        52ec1ca6e0ec973c29065c3ca10be80057243002f09bb43e
Private B:        57231203533e9efe18cc622fd0e34c6a29c6e0fa3ab3bc53
Public A(x): 45571f027e0d690795d61560804da5de789a48f94ab4b07e
Public A(y): 0220016e8a6bce74b45ffec1e664aaa0273b7cbd907a8e2b
DHKey:            a20a34b5497332aa7a76ab135cc0c168333be309d463c0c0


7.1.1.3 P-192 Data Set 3

Private A:        00a0df08eaf51e6e7be519d67c6749ea3f4517cdd2e9e821
Private B:        2bf5e0d1699d50ca5025e8e2d9b13244b4d322a328be1821
Public A(x): 2ed35b430fa45f9d329186d754eeeb0495f0f653127f613d
Public A(y): 27e08db74e424395052ddae7e3d5a8fecb52a8039b735b73
DHKey:            3b3986ba70790762f282a12a6d3bcae7a2ca01e25b87724e


7.1.1.4 P-192 Data Set 4

Private A:        030a4af66e1a4d590a83e0284fca5cdf83292b84f4c71168
Private B:        12448b5c69ecd10c0471060f2bf86345c5e83c03d16bae2c
Public A(x): f24a6899218fa912e7e4a8ba9357cb8182958f9fa42c968c
Public A(y): 7c0b8a9ebe6ea92e968c3a65f9f1a9716fe826ad88c97032
DHKey:            4a78f83fba757c35f94abea43e92effdd2bc700723c61939


7.1.1.5 P-192 Data Set 5

Private A:        604df406c649cb460be16244589a40895c0db7367dc11a2f


Simple Pairing Sample Data                                             06 December 2016
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Sample Data

Private B:        526c2327303cd505b9cf0c012471902bb9e842ce32b0addc
Public A(x): cbe3c629aceb41b73d475a79fbfe8c08cdc80ceec00ee7c9
Public A(y): f9f70f7ae42abda4f33af56f7f6aa383354e453fa1a2bd18
DHKey:            64d4fe35567e6ea0ca31f947e1533a635436d4870ce88c45


7.1.1.6 P-192 Data Set 6

Private A:        1a2c582a09852979eb2cee18fb0befb9a55a6d06f6a8fad3
Private B:        243778916920d68df535955bc1a3cccd5811133a8205ae41
Public A(x): eca2d8d30bbef3ba8b7d591fdb98064a6c7b870cdcebe67c
Public A(y): 2e4163a44f3ae26e70dae86f1bf786e1a5db5562a8ed9fee
DHKey:            6433b36a7e9341940e78a63e31b3cf023282f7f1e3bf83bd


7.1.1.7 P-192 Data Set 7

Private A:        0f494dd08b493edb07228058a9f30797ff147a5a2adef9b3
Private B:        2da4cd46d9e06e81b1542503f2da89372e927877becec1be
Public A(x): 9f56a8aa27346d66652a546abacc7d69c17fd66e0853989f
Public A(y): d7234c1464882250df7bbe67e0fa22aae475dc58af0c4210
DHKey:            c67beda9baf3c96a30616bf87a7d0ae704bc969e5cad354b


7.1.1.8 P-192 Data Set 8

Private A:        7381d2bc6ddecb65126564cb1af6ca1985d19fb57f0fff16
Private B:        18e276beff75adc3d520badb3806822e1c820f1064447848
Public A(x): 61c7f3c6f9e09f41423dce889de1973d346f2505a5a3b19b
Public A(y): 919972ff4cd6aed8a4821e3adc358b41f7be07ede20137df
DHKey:            6931496eef2fcfb03e0b1eef515dd4e1b0115b8b241b0b84


7.1.1.9 P-192 Data Set 9

Private A:        41c7b484ddc37ef6b7952c379f87593789dac6e4f3d8d8e6
Private B:        33e4eaa77f78216e0e99a9b200f81d2ca20dc74ad62d9b78
Public A(x): 9f09c773adb8e7b66b5d986cd15b143341a66d824113c15f
Public A(y): d2000a91738217ab8070a76c5f96c03de317dfab774f4837
DHKey:            a518f3826bb5fa3d5bc37da4217296d5b6af51e5445c6625


7.1.1.10 P-192 Data Set 10

Private A:        703cf5ee9c075f7726d0bb36d131c664f5534a6e6305d631
Private B:        757291c620a0e7e9dd13ce09ceb729c0ce1980e64d569b5f
Public A(x): fa2b96d382cf894aeeb0bd985f3891e655a6315cd5060d03
Public A(y): f7e8206d05c7255300cc56c88448158c497f2df596add7a2
DHKey:            12a3343bb453bb5408da42d20c2d0fcc18ff078f56d9c68c




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Sample Data

7.1.2 P-256 Sample Data

7.1.2.1 P-256 Data Set 1

Private A:      3f49f6d4     a3c55f38   74c9b3e3   d2103f50   4aff607b   eb40b799   5899b8a6   cd3c1abd
Private B:      55188b3d     32f6bb9a   900afcfb   eed4e72a   59cb9ac2   f19d7cfb   6b4fdd49   f47fc5fd
Public A(x):    20b003d2     f297be2c   5e2c83a7   e9f9a5b9   eff49111   acf4fddb   cc030148   0e359de6
Public A(y):    dc809c49     652aeb6d   63329abf   5a52155c   766345c2   8fed3024   741c8ed0   1589d28b
Public B(x):    1ea1f0f0     1faf1d96   09592284   f19e4c00   47b58afd   8615a69f   559077b2   2faaa190
Public B(y):    4c55f33e     429dad37   7356703a   9ab85160   472d1130   e28e3676   5f89aff9   15b1214a
DHKey:          ec0234a3     57c8ad05   341010a6   0a397d9b   99796b13   b4f866f1   868d34f3   73bfa698


7.1.2.2 P-256 Data Set 2

Private A:      06a51669 3c9aa31a 6084545d 0c5db641 b48572b9 7203ddff b7ac73f7 d0457663
Private B:      529aa067 0d72cd64 97502ed4 73502b03 7e8803b5 c60829a5 a3caa219 505530ba
Public A(x): 2c31a47b 5779809e f44cb5ea af5c3e43 d5f8faad 4a8794cb 987e9b03 745c78dd
Public A(y): 91951218 3898dfbe cd52e240 8e43871f d0211091 17bd3ed4 eaf84377 43715d4f
Public B(x): f465e43f f23d3f1b 9dc7dfc0 4da87581 84dbc966 204796ec cf0d6cf5 e16500cc
Public B(y): 0201d048 bcbbd899 eeefc424 164e33c2 01c2b010 ca6b4d43 a8a155ca d8ecb279
DHKey:          ab85843a 2f6d883f 62e5684b 38e30733 5fe6e194 5ecd1960 4105c6f2 3221eb69




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Sample Data


7.2 HASH FUNCTIONS SAMPLE DATA
In each data set, the bytes are ordered from least significant on the right to
most significant on the left.

7.2.1 f1()

7.2.1.1 f1() with P-192 Inputs

Set 1a
U:          15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
V:          356b31938421fbbf2fb331c89fd588a69367e9a833f56812
X:          d5cb8454d177733effffb2ec712baeab
Z:          00
output:     1bdc955a9d542ffc9f9e670cdf665010


Set 1b
U:         15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
V:         356b31938421fbbf2fb331c89fd588a69367e9a833f56812
X:         d5cb8454d177733effffb2ec712baeab
Z:         80
output: 611325ebcb6e5269b868113306095fa6


Set 1c
U:         15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
V:         356b31938421fbbf2fb331c89fd588a69367e9a833f56812
X:         d5cb8454d177733effffb2ec712baeab
Z:         81
output: b68df39fd8a406b06a6c517d3666cf91


Set 2a (swapped U and V inputs compared with set 1)
U:          356b31938421fbbf2fb331c89fd588a69367e9a833f56812
V:          15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
X:          d5cb8454d177733effffb2ec712baeab
Z:          00
output:     f4e1ec4b88f305e81477627b1643a927


Set 2b (swapped U and V inputs compared with set 1)
U:         356b31938421fbbf2fb331c89fd588a69367e9a833f56812
V:         15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
X:         d5cb8454d177733effffb2ec712baeab
Z:         80
output: ac6aa7cfa96ae99dd3a74225adb068ae




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Sample Data

Set 2c (swapped U and V inputs compared with set 1)
U:         356b31938421fbbf2fb331c89fd588a69367e9a833f56812
V:         15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
X:         d5cb8454d177733effffb2ec712baeab
Z:         81
output: 5ad4721258aa1fa06082edad980d0cc5


Set 3a (U and V set to same value as U in set 1)
U:          15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
V:          15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
X:          d5cb8454d177733effffb2ec712baeab
Z:          00
output:     49125fc1e8cdc615826c15e5d23ede41


Set 3b (U and V set to same value as V in set 1)
U:          356b31938421fbbf2fb331c89fd588a69367e9a833f56812
V:          356b31938421fbbf2fb331c89fd588a69367e9a833f56812
X:          d5cb8454d177733effffb2ec712baeab
Z:          80
output:     159f204c520565175c2b9c523acad2eb


Set 3c (U and V set to same value as V in set 1)
U:          356b31938421fbbf2fb331c89fd588a69367e9a833f56812
V:          356b31938421fbbf2fb331c89fd588a69367e9a833f56812
X:          d5cb8454d177733effffb2ec712baeab
Z:          81
output:     9a162ff9a8235e5b12539ba0ff9179da



7.2.1.2 f1() with P-256 Inputs

Set 1a
U: 20b003d2f297be2c5e2c83a7e9f9a5b9eff49111acf4fddbcc0301480e359de6
V: 55188b3d32f6bb9a900afcfbeed4e72a59cb9ac2f19d7cfb6b4fdd49f47fc5fd
X: d5cb8454d177733effffb2ec712baeab
Z: 00
output: D301CE92CC7B9E3F51D2924B8B33FACA


Set 1b
U: 20b003d2f297be2c5e2c83a7e9f9a5b9eff49111acf4fddbcc0301480e359de6
V: 55188b3d32f6bb9a900afcfbeed4e72a59cb9ac2f19d7cfb6b4fdd49f47fc5fd
X: d5cb8454d177733effffb2ec712baeab
Z: 80
output: 7E431112C10DE8A3984C8AC8149FF6EC




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Sample Data

7.2.2 g()

7.2.2.1 g() with P-192 Inputs

Set 1
U:           15207009984421a6586f9fc3fe7e4329d2809ea51125f8ed
V:           356b31938421fbbf2fb331c89fd588a69367e9a833f56812
X:           d5cb8454d177733effffb2ec712baeab
Y:           a6e8e7cc25a75f6e216583f7ff3dc4cf
output:                      52146a1e
output (decimal):            1377069598
6 digits (decimal): 069598


7.2.2.2 g() with P-256 Inputs

Set 1
U: 20b003d2f297be2c5e2c83a7e9f9a5b9eff49111acf4fddbcc0301480e359de6
V: 55188b3d32f6bb9a900afcfbeed4e72a59cb9ac2f19d7cfb6b4fdd49f47fc5fd
X: d5cb8454d177733effffb2ec712baeab
Y: a6e8e7cc25a75f6e216583f7ff3dc4cf
output: 000240E0
output (decimal): 147680
6 digits (decimal): 147680


7.2.3 f2()

7.2.3.1 f2() with P-192 Inputs

Set 1
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
keyID:     62746c6b
A1:        56123737bfce
A2:        a713702dcfc1
output: c234c1198f3b520186ab92a2f874934e


7.2.3.2 f2() with P-256 Inputs

Set 1
W: ec0234a357c8ad05341010a60a397d9b99796b13b4f866f1868d34f373bfa698
N1: d5cb8454d177733effffb2ec712baeab
N2: a6e8e7cc25a75f6e216583f7ff3dc4cf
keyID: 62746c6b
A1: 56123737bfce
A2: a713702dcfc1
output: 47300bb95c7404129450674b1741104d




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Sample Data

7.2.4 f3()

7.2.4.1 f3() with P-192 Inputs

Set 1
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000000
A1:        56123737bfce
A2:        a713702dcfc1
output: 5e6a346b8add7ee80e7ec0c2461b1509


Set 2
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000001
A1:        56123737bfce
A2:        a713702dcfc1
output: 7840e5445a13e3ce6e48a2decbe51482


Set 3
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000002
A1:        56123737bfce
A2:        a713702dcfc1
output: da9afb5c6c9dbe0af4722b532520c4b3


Set 4
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000003
A1:        56123737bfce
A2:        a713702dcfc1
output: 2c0f220c50075285852e01bcee4b5f90




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Sample Data

Set 5
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000100
A1:        56123737bfce
A2:        a713702dcfc1
output: 0a096af0fa61dce0933987febe95fc7d


Set 6
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000101
A1:        56123737bfce
A2:        a713702dcfc1
output: 49b8d74007888e770e1a49d6810069b9


Set 7
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000102
A1:        56123737bfce
A2:        a713702dcfc1
output: 309cd0327dec2514894a0c88b101a436


Set 8
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000103
A1:        56123737bfce
A2:        a713702dcfc1
output: 4512274ba875b156c2187e2061b90434


Set 9 (same as set 1 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000000
A1:        a713702dcfc1
A2:        56123737bfce
output: 8d56dc59e70855f563b5e85e42d5964e


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Sample Data



Set 10 (same as set 2 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000001
A1:        a713702dcfc1
A2:        56123737bfce
output: c92fdacbf0ce931e9c4087a9dfb7bc0b


Set 11 (same as set 3 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000002
A1:        a713702dcfc1
A2:        56123737bfce
output: 52ac910200dc34285bbbf2144883c498


Set 12 (same as set 4 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000003
A1:        a713702dcfc1
A2:        56123737bfce
output: c419d677e0d426e6bb36de5fa54c5041


Set 13 (same as set 5 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000100
A1:        a713702dcfc1
A2:        56123737bfce
output: fb0e1f9f7c623c1bf2675fcff1551137




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Sample Data

Set 14 (same as set 6 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000101
A1:        a713702dcfc1
A2:        56123737bfce
output: 16c7be68184f1170fbbb2bef5a9c515d


Set 15 (same as set 7 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000102
A1:        a713702dcfc1
A2:        56123737bfce
output: 24849f33d3ac05fef9034c18d9adb310


Set 16 (same as set 8 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     000103
A1:        a713702dcfc1
A2:        56123737bfce
output: e0f484bb0b071483285903e85094046b


Set 17
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010000
A1:        56123737bfce
A2:        a713702dcfc1
output: 4bf22677415ed90aceb21873c71c1884


Set 18
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010001
A1:        56123737bfce
A2:        a713702dcfc1
output: 0d4b97992eb570efb369cfe45e1681b5


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Sample Data



Set 19
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010002
A1:        56123737bfce
A2:        a713702dcfc1
output: 0f0906bbfa75e95c471e97c4211b2741


Set 20
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010003
A1:        56123737bfce
A2:        a713702dcfc1
output: 88f1f60ce1ff4bf8aa08a170dd061d4e


Set 21
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010100
A1:        56123737bfce
A2:        a713702dcfc1
output: 940f88f25317c358d9bd2f146778e36b


Set 22
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010101
A1:        56123737bfce
A2:        a713702dcfc1
output: 591396355ac4dc72be05a15e718ec945




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Sample Data

Set 23
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010102
A1:        56123737bfce
A2:        a713702dcfc1
output: a3dc055f656abb1d6e11d3f37340189a


Set 24
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        d5cb8454d177733effffb2ec712baeab
N2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010103
A1:        56123737bfce
A2:        a713702dcfc1
output: fd5412a22ba5dd893852608f8ab0c934


Set 25 (same as set 1 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010000
A1:        a713702dcfc1
A2:        56123737bfce
output: 2a742039c5fd6c6faafce17b619ac56f


Set 26 (same as set 2 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010001
A1:        a713702dcfc1
A2:        56123737bfce
output: a60d89efb52db7905179a6c63b8f212a


Set 27 (same as set 3 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010002
A1:        a713702dcfc1
A2:        56123737bfce
output: cb02f803d755fd936f0a832f4ee9fd4a


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Sample Data

Set 28 (same as set 4 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010003
A1:        a713702dcfc1
A2:        56123737bfce
output: 00786c04a24561485aaf22808871b874


Set 29 (same as set 5 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010100
A1:        a713702dcfc1
A2:        56123737bfce
output: 2a58ef2d99281d472a88027423f8215f


Set 30 (same as set 6 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010101
A1:        a713702dcfc1
A2:        56123737bfce
output: ff7ab3752a144232f2cbbcbf979f5517


Set 31 (same as set 7 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010102
A1:        a713702dcfc1
A2:        56123737bfce
output: 9d7fccef23625b1cc684fbf3f8b0e182


Set 32 (same as set 8 with N1 and N2 swapped and A1 and A2 swapped)
W:         fb3ba2012c7e62466e486e229290175b4afebc13fdccee46
N1:        a6e8e7cc25a75f6e216583f7ff3dc4cf
N2:        d5cb8454d177733effffb2ec712baeab
R:         12a3343bb453bb5408da42d20c2d0fc8
IOcap:     010103
A1:        a713702dcfc1
A2:        56123737bfce
output: 864f87e26dece4dfdde30ade1e463d4f


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Sample Data

7.2.4.2 f3() with P-256 Inputs

Set 1
W: ec0234a357c8ad05341010a60a397d9b99796b13b4f866f1868d34f373bfa698
N1: d5cb8454d177733effffb2ec712baeab
N2: a6e8e7cc25a75f6e216583f7ff3dc4cf
R: 12a3343bb453bb5408da42d20c2d0fc8
IOcap: 000000
A1: 56123737bfce
A2: a713702dcfc1
output: 5634c83c9996a86b53473fe25979ec90




7.2.5 h2()

Each element in this section except for 'L' is a multi-octet integer arranged with
the least significant octet on the right and the most significant octet on the left.

Set 1 (Generic AMP initial creation)
     W:          c234c1198f3b520186ab92a2f874934ec234c1198f3b520186ab92a2f874934e
     keyID:     67616d70 ('gamp')
     L:         32
     output: 7E010832407F59D51CB473FB0D3355899C077DD052D0F5F03F0FA4B964097A04


Set 2 (802.11)
     W:          7E010832407F59D51CB473FB0D3355899C077DD052D0F5F03F0FA4B964097A04
     keyID:     38303262 ('802b')
     L:         32
     output: D660DC08E542F1DCC32CDC2000B548F06BC1D7EB0F227DD809B50D9F1945C68E


Set 3 (Generic AMP refresh after 802.11)
     W:         7E010832407F59D51CB473FB0D3355899C077DD052D0F5F03F0FA4B964097A04
     keyID:     67616d70 ('gamp')
     L:         32
     output: AA8247E5DBAFC80F908C1C2ECA2F73E86D41DF754355994B220D5817040991B2


Set 4 (ECMA-368)
     W:         AA8247E5DBAFC80F908C1C2ECA2F73E86D41DF754355994B220D5817040991B2
     keyID:     65636d61 ('ecma')
     L:         16
     output: 89286411644B33DC378A93A1B1506AFF


Set 5 (Generic AMP refresh after ECMA-368)
     W:         AA8247E5DBAFC80F908C1C2ECA2F73E86D41DF754355994B220D5817040991B2
     keyID:     67616d70 ('gamp')
     L:         32
     output: 925CAE4683A2CCF105ED141F5370AB501448E83D2E43F38573120360B100F27D




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Sample Data

7.2.6 h4()

Set 1a
keyID:     6274646b
A1:        56123737bfce
A2:        a713702dcfc1
input:     6274646b56123737bfcea713702dcfc1
W:         c234c1198f3b520186ab92a2f874934e
output: b089c4e39d7c192c3aba3c2109d24c0dc039e700adf3a263008e65a8b00fb1fa
Device Authentication Key: b089c4e39d7c192c3aba3c2109d24c0d




7.2.7 h5()

Set 1a
R1:        d5cb8454d177733effffb2ec712baeab
R2:        a6e8e7cc25a75f6e216583f7ff3dc4cf
input:     d5cb8454d177733effffb2ec712baeaba6e8e7cc25a75f6e216583f7ff3dc4cf
W:         b089c4e39d7c192c3aba3c2109d24c0d
output: 746af87e1eeb1137c683b97d9d421f911f3ddf100403871b362958c458976d65
SRESmaster: 746af87e
SRESslave:      1eeb1137
ACO:            c683b97d9d421f91




7.2.8 h3()

Set 1a
keyID:      6274616b
A1:         56123737bfce
A2:         a713702dcfc1
ACO:        c683b97d9d421f91
input:      6274616b56123737bfcea713702dcfc1c683b97d9d421f91
W:          c234c1198f3b520186ab92a2f874934e
output:     677b377f74a5d501121c46492d4cb489e27fe151026ab47f271a47399c8969ff
AES Encryption key: 677b377f74a5d501121c46492d4cb489




Simple Pairing Sample Data                                           06 December 2016
                                                               Bluetooth SIG Proprietary
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Sample Data


8 WHITENING SEQUENCE SAMPLE DATA
This section shows the output of the whitening sequence generator.



   Whitening    Whitening
   Sequence       LFSR
    (=D7)       D7.....D0
-----------------------
        1        1111111
        1        1101111
        1        1001111
        0        0001111
        0        0011110
        0        0111100
        1        1111000
        1        1100001
        1        1010011
        0        0110111
        1        1101110
        1        1001101
        0        0001011
        0        0010110
        0        0101100
        1        1011000
        0        0100001
        1        1000010
        0        0010101
        0        0101010
        1        1010100
        0        0111001
        1        1110010
        1        1110101
        1        1111011
        1        1100111
        1        1011111
        0        0101111
        1        1011110
        0        0101101
        1        1011010
        0        0100101
        1        1001010
        0        0000101
        0        0001010
        0        0010100
        0        0101000
        1        1010000
        0        0110001
        1        1100010
        1        1010101
        0        0111011
        1        1110110


Whitening Sequence Sample Data                                             06 December 2016
                                                                     Bluetooth SIG Proprietary
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Sample Data

        1        1111101
        1        1101011
        1        1000111
        0        0011111
        0        0111110
        1        1111100
        1        1101001
        1        1000011
        0        0010111
        0        0101110
        1        1011100
        0        0101001
        1        1010010
        0        0110101
        1        1101010
        1        1000101
        0        0011011
        0        0110110
        1        1101100
        1        1001001
        0        0000011
        0        0000110
        0        0001100
        0        0011000
        0        0110000
        1        1100000
        1        1010001
        0        0110011
        1        1100110
        1        1011101
        0        0101011
        1        1010110
        0        0111101
        1        1111010
        1        1100101
        1        1011011
        0        0100111
        1        1001110
        0        0001101
        0        0011010
        0        0110100
        1        1101000
        1        1000001
        0        0010011
        0        0100110
        1        1001100
        0        0001001
        0        0010010
        0        0100100
        1        1001000
        0        0000001
        0        0000010



Whitening Sequence Sample Data                              06 December 2016
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Sample Data

        0        0000100
        0        0001000
        0        0010000
        0        0100000
        1        1000000
        0        0010001
        0        0100010
        1        1000100
        0        0011001
        0        0110010
        1        1100100
        1        1011001
        0        0100011
        1        1000110
        0        0011101
        0        0111010
        1        1110100
        1        1111001
        1        1100011
        1        1010111
        0        0111111
        1        1111110
        1        1101101
        1        1001011
        0        0000111
        0        0001110
        0        0011100
        0        0111000
        1        1110000
        1        1110001
        1        1110011
        1        1110111
        1        1111111




Whitening Sequence Sample Data                              06 December 2016
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Sample Data


9 FEC SAMPLE DATA
================================================
 Rate 2/3 FEC -- (15,10) Shortened Hamming Code
================================================


Data is in hexadecimal notation, the codewords are in binary notation. The codeword bits
are sent from left to right over the air interface. The space in the codeword indicates
the start of parity bits.


Data:             Codeword:


0x001        1000000000 11010
0x002        0100000000 01101
0x004        0010000000 11100
0x008        0001000000 01110
0x010        0000100000 00111
0x020        0000010000 11001
0x040        0000001000 10110
0x080        0000000100 01011
0x100        0000000010 11111
0x200        0000000001 10101




FEC Sample Data                                                            06 December 2016
                                                                     Bluetooth SIG Proprietary
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Sample Data


10 ENCRYPTION KEY SAMPLE DATA

Explanation:

For the Section 10.1 through Section 10.5, the hexadecimal sample data is
written with the least significant byte at the leftmost position and the most
significant byte at the rightmost position. Within each byte, the least significant
bit (LSB) is at the rightmost position and the most significant bit (MSB) is at the
leftmost position Thus, a line reading:

aco: 48afcdd4bd40fef76693b113

means aco[0]=0x48, ac[1]=0xaf, ..., aco[11]=0x13. The LSB of aco[11] is 1 and
the MSB of aco[11] is 0.

Key [ i]:         denotes the ith sub-key in Ar or A'r;
round r:          denotes the input to the rth round;
added ->:         denotes the input to round 3 in
                  A'r after adding original input (of round 1).

10.1 FOUR TESTS OF E1
rand     :00000000000000000000000000000000
address :000000000000
key      :00000000000000000000000000000000
round   1:00000000000000000000000000000000
Key [ 1]:00000000000000000000000000000000
Key [ 2]:4697b1baa3b7100ac537b3c95a28ac64
round   2:78d19f9307d2476a523ec7a8a026042a
Key [ 3]:ecabaac66795580df89af66e66dc053d
Key [ 4]:8ac3d8896ae9364943bfebd4969b68a0
round   3:600265247668dda0e81c07bbb30ed503
Key [ 5]:5d57921fd5715cbb22c1be7bbc996394
Key [ 6]:2a61b8343219fdfb1740e6511d41448f
round   4:d7552ef7cc9dbde568d80c2215bc4277
Key [ 7]:dd0480dee731d67f01a2f739da6f23ca
Key [ 8]:3ad01cd1303e12a1cd0fe0a8af82592c
round   5:fb06bef32b52ab8f2a4f2b6ef7f6d0cd
Key [ 9]:7dadb2efc287ce75061302904f2e7233
Key [10]:c08dcfa981e2c4272f6c7a9f52e11538
round   6:b46b711ebb3cf69e847a75f0ab884bdd
Key [11]:fc2042c708e409555e8c147660ffdfd7
Key [12]:fa0b21001af9a6b9e89e624cd99150d2
round   7:c585f308ff19404294f06b292e978994
Key [13]:18b40784ea5ba4c80ecb48694b4e9c35
Key [14]:454d54e5253c0c4a8b3fcca7db6baef4
round   8:2665fadb13acf952bf74b4ab12264b9f
Key [15]:2df37c6d9db52674f29353b0f011ed83
Key [16]:b60316733b1e8e70bd861b477e2456f1
Key [17]:884697b1baa3b7100ac537b3c95a28ac



Encryption Key Sample Data                                              06 December 2016
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Sample Data

round   1:158ffe43352085e8a5ec7a88e1ff2ba8
Key [ 1]:e9e5dfc1b3a79583e9e5dfc1b3a79583
Key [ 2]:7595bf57e0632c59f435c16697d4c864
round   2:0b5cc75febcdf7827ca29ec0901b6b5b
Key [ 3]:e31b96afcc75d286ef0ae257cbbc05b7
Key [ 4]:0d2a27b471bc0108c6263aff9d9b3b6b
round   3:e4278526c8429211f7f2f0016220aef4
added ->:f1b68365fd6217f952de6a89831fd95c
Key [ 5]:98d1eb5773cf59d75d3b17b3bc37c191
Key [ 6]:fd2b79282408ddd4ea0aa7511133336f
round   4:d0304ad18337f86040145d27aa5c8153
Key [ 7]:331227756638a41d57b0f7e071ee2a98
Key [ 8]:aa0dd8cc68b406533d0f1d64aabacf20
round   5:84db909d213bb0172b8b6aaf71bf1472
Key [ 9]:669291b0752e63f806fce76f10e119c8
Key [10]:ef8bdd46be8ee0277e9b78adef1ec154
round   6:f835f52921e903dfa762f1df5abd7f95
Key [11]:f3902eb06dc409cfd78384624964bf51
Key [12]:7d72702b21f97984a721c99b0498239d
round   7:ae6c0b4bb09f25c6a5d9788a31b605d1
Key [13]:532e60bceaf902c52a06c2c283ecfa32
Key [14]:181715e5192efb2a64129668cf5d9dd4
round   8:744a6235b86cc0b853cc9f74f6b65311
Key [15]:83017c1434342d4290e961578790f451
Key [16]:2603532f365604646ff65803795ccce5
Key [17]:882f7c907b565ea58dae1c928a0dcf41
sres     :056c0fe6
aco      :48afcdd4bd40fef76693b113
-----------------------------------------
rand     :bc3f30689647c8d7c5a03ca80a91eceb
address :7ca89b233c2d
key      :159dd9f43fc3d328efba0cd8a861fa57
round   1:bc3f30689647c8d7c5a03ca80a91eceb
Key [ 1]:159dd9f43fc3d328efba0cd8a861fa57
Key [ 2]:326558b3c15551899a97790e65ff669e
round   2:3e950edf197615638cc19c09f8fedc9b
Key [ 3]:62e879b65b9f53bbfbd020c624b1d682
Key [ 4]:73415f30bac8ab61f410adc9442992db
round   3:6a7640791cb536678936c5ecd4ae5a73
Key [ 5]:5093cfa1d31c1c48acd76df030ea3c31
Key [ 6]:0b4acc2b8f1f694fc7bd91f4a70f3009
round   4:fca2c022a577e2ffb2aa007589693ec7
Key [ 7]:2ca43fc817947804ecff148d50d6f6c6
Key [ 8]:3fcd73524b533e00b7f7825bea2040a4
round   5:e97f8ea4ed1a6f4a36ffc179dc6bb563
Key [ 9]:6c67bec76ae8c8cc4d289f69436d3506
Key [10]:95ed95ee8cb97e61d75848464bffb379
round   6:38b07261d7340d028749de1773a415c7
Key [11]:ff566c1fc6b9da9ac502514550f3e9d2
Key [12]:ab5ce3f5c887d0f49b87e0d380e12f47
round   7:58241f1aed7c1c3e047d724331a0b774
Key [13]:a2cab6f95eac7d655dbe84a6cd4c47f5



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [14]:f5caff88af0af8c42a20b5bbd2c8b460
round   8:3d1aaeff53c0910de63b9788b13c490f
Key [15]:185099c1131cf97001e2f36fda415025
Key [16]:a0ebb82676bc75e8378b189eff3f6b1d
Key [17]:cf5b348aaee27ae332b4f1bfa10289a6
round   1:2e4b417b9a2a9cfd7d8417d9a6a556eb
Key [ 1]:fe78b835f26468ab069fd3991b086fda
Key [ 2]:095c5a51c6fa6d3ac1d57fa19aa382bd
round   2:b8bca81d6bb45af9d92beadd9300f5ed
Key [ 3]:1af866df817fd9f4ec00bc704192cffc
Key [ 4]:f4a8a059c1f575f076f5fbb24bf16590
round   3:351aa16dec2c3a4787080249ed323eae
added ->:1b65e2167656d6bafa8c19904bd79445
Key [ 5]:8c9d18d9356a9954d341b4286e88ea1f
Key [ 6]:5c958d370102c9881bf753e69c7da029
round   4:2ce8fef47dda6a5bee74372e33e478a2
Key [ 7]:7eb2985c3697429fbe0da334bb51f795
Key [ 8]:af900f4b63a1138e2874bfb7c628b7b8
round   5:572787f563e1643c1c862b7555637fb4
Key [ 9]:834c8588dd8f3d4f31117a488420d69b
Key [10]:bc2b9b81c15d9a80262f3f48e9045895
round   6:16b4968c5d02853c3a43aa4cdb5f26ac
Key [11]:f08608c9e39ad3147cba61327919c958
Key [12]:2d4131decf4fa3a959084714a9e85c11
round   7:10e4120c7cccef9dd4ba4e6da8571b01
Key [13]:c934fd319c4a2b5361fa8eef05ae9572
Key [14]:4904c17aa47868e40471007cde3a97c0
round   8:f9081772498fed41b6ffd72b71fcf6c6
Key [15]:ea5e28687e97fa3f833401c86e6053ef
Key [16]:1168f58252c4ecfccafbdb3af857b9f2
Key [17]:b3440f69ef951b78b5cbd6866275301b
sres     :8d5205c5
aco      :3ed75df4abd9af638d144e94
-----------------------------------------
rand     :0891caee063f5da1809577ff94ccdcfb
address :c62f19f6ce98
key      :45298d06e46bac21421ddfbed94c032b
round   1:0891caee063f5da1809577ff94ccdcfb
Key [ 1]:45298d06e46bac21421ddfbed94c032b
Key [ 2]:8f03e1e1fe1c191cad35a897bc400597
round   2:1c6ca013480a685c1b28e0317f7167e1
Key [ 3]:4f2ce3a092dde854ef496c8126a69e8e
Key [ 4]:968caee2ac6d7008c07283daec67f2f2
round   3:06b4915f5fcc1fc551a52048f0af8a26
Key [ 5]:ab0d5c31f94259a6bf85ee2d22edf56c
Key [ 6]:dfb74855c0085ce73dc17b84bfd50a92
round   4:077a92b040acc86e6e0a877db197a167
Key [ 7]:8f888952662b3db00d4e904e7ea53b5d
Key [ 8]:5e18bfcc07799b0132db88cd6042f599
round   5:7204881fb300914825fdc863e8ceadf3
Key [ 9]:bfca91ad9bd3d1a06c582b1d5512dddf
Key [10]:a88bc477e3fa1d5a59b5e6cf793c7a41



Encryption Key Sample Data                                  06 December 2016
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Sample Data

round   6:27031131d86cea2d747deb4f756143aa
Key [11]:f3cfb8dac8aea2a6a8ef95af3a2a2767
Key [12]:77beb90670c5300b03aa2b2232d3d40c
round   7:fc8c13d49149b1ce8d86f96e44a00065
Key [13]:b578373650af36a06e19fe335d726d32
Key [14]:6bcee918c7d0d24dfdf42237fcf99d53
round   8:04ef5f5a7ddf846cda0a07782fc23866
Key [15]:399f158241eb3e079f45d7b96490e7ea
Key [16]:1bcfbe98ecde2add52aa63ea79fb917a
Key [17]:ee8bc03ec08722bc2b075492873374af
round   1:d989d7a40cde7032d17b52f8117b69d5
Key [ 1]:2ecc6cc797cc41a2ab02007f6af396ae
Key [ 2]:acfaef7609c12567d537ae1cf9dc2198
round   2:8e76eb9a29b2ad5eea790db97aee37c1
Key [ 3]:079c8ff9b73d428df879906a0b87a6c8
Key [ 4]:19f2710baf403a494193d201f3a8c439
round   3:346bb7c35b2539676375aafe3af69089
added ->:edf48e675703a955b2f0fc062b71f95c
Key [ 5]:d623a6498f915cb2c8002765247b2f5a
Key [ 6]:900109093319bc30108b3d9434a77a72
round   4:fafb6c1f3ebbd2477be2da49dd923f69
Key [ 7]:e28e2ee6e72e7f4e5b5c11f10d204228
Key [ 8]:8e455cd11f8b9073a2dfa5413c7a4bc5
round   5:7c72230df588060a3cf920f9b0a08f06
Key [ 9]:28afb26e2c7a64238c41cefc16c53e74
Key [10]:d08dcafc2096395ba0d2dddd0e471f4d
round   6:55991df991db26ff00073a12baa3031d
Key [11]:fcffdcc3ad8faae091a7055b934f87c1
Key [12]:f8df082d77060252c02d91e55bd6a7d6
round   7:70ec682ff864375f63701fa4f6be5377
Key [13]:bef3706e523d708e8a44147d7508bc35
Key [14]:3e98ab283ca2422d56a56cf8b06caeb3
round   8:172f12ec933da85504b4ea5c90f8f0ea
Key [15]:87ad9625d06645d22598dd5ef811ea2c
Key [16]:8bd3db0cc8168009e5da90877e13a36f
Key [17]:0e74631d813a8351ac7039b348c41b42
sres     :00507e5f
aco      :2a5f19fbf60907e69f39ca9f
-----------------------------------------
rand     :0ecd61782b4128480c05dc45542b1b8c
address :f428f0e624b3
key      :35949a914225fabad91995d226de1d92
round   1:0ecd61782b4128480c05dc45542b1b8c
Key [ 1]:35949a914225fabad91995d226de1d92
Key [ 2]:ea6b3dcccc8ee5d88de349fa5010404f
round   2:8935e2e263fbc4b9302cabdfc06bce3e
Key [ 3]:920f3a0f2543ce535d4e7f25ad80648a
Key [ 4]:ad47227edf9c6874e80ba80ebb95d2c9
round   3:b4c8b878675f184a0c72f3dab51f8f05
Key [ 5]:81a941ca7202b5e884ae8fa493ecac3d
Key [ 6]:bcde1520bee3660e86ce2f0fb78b9157
round   4:77ced9f2fc42bdd5c6312b87fc2377c5



Encryption Key Sample Data                                  06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data

Key [ 7]:c8eee7423d7c6efa75ecec0d2cd969d3
Key [ 8]:910b3f838a02ed441fbe863a02b4a1d0
round   5:fe28e8056f3004d60bb207e628b39cf2
Key [ 9]:56c647c1e865eb078348962ae070972d
Key [10]:883965da77ca5812d8104e2b640aec0d
round   6:1f2ba92259d9e88101518f145a33840f
Key [11]:61d4cb7e4f8868a283327806a9bd8d4d
Key [12]:9f57de3a3ff310e21dc1e696ce060304
round   7:cc9b5d0218d29037e88475152ebebb2f
Key [13]:7aa1d8adc1aeed7127ef9a18f6eb2d8e
Key [14]:b4db9da3bf865912acd14904c7f7785d
round   8:b04d352bedc02682e4a7f59d7cda1dba
Key [15]:a13d7141ef1f6c7d867e3d175467381b
Key [16]:08b2bc058e50d6141cdd566a307e1acc
Key [17]:057b2b4b4be5dc0ac49e50489b8006c9
round   1:5cfacc773bae995cd7f1b81e7c9ec7df
Key [ 1]:1e717950f5828f3930fe4a9395858815
Key [ 2]:d1623369b733d98bbc894f75866c544c
round   2:d571ffa21d9daa797b1a0a3c962fc64c
Key [ 3]:4abf27664ae364cc8a7e5bcf88214cc4
Key [ 4]:2aaedda8dc4933dd6aeaf6e5c0d5a482
round   3:e17c8e498a00f125bf654c938c23f36d
added ->:bd765a3eb1ae8a796856048df0c1bab2
Key [ 5]:bc7f8ab2d86000f47b1946cc8d7a7a2b
Key [ 6]:6b28544cb13ec6c5d98470df2cf900b7
round   4:a9727c26f2f06bd9920e83c8605dcd76
Key [ 7]:1be840d9107f2c9523f66bb19f5464a1
Key [ 8]:61d6fb1aa2f0c2b26fb2a3d6de8c177c
round   5:aeff751f146eab7e4626b2e2c9e2fb39
Key [ 9]:adabfc82570c568a233173099f23f4c2
Key [10]:b7df6b55ad266c0f1ff7452101f59101
round   6:cf412b95f454d5185e67ca671892e5bd
Key [11]:8e04a7282a2950dcbaea28f300e22de3
Key [12]:21362c114433e29bda3e4d51f803b0cf
round   7:16165722fe4e07ef88f8056b17d89567
Key [13]:710c8fd5bb3cbb5f132a7061de518bd9
Key [14]:0791de7334f4c87285809343f3ead3bd
round   8:28854cd6ad4a3c572b15490d4b81bc3f
Key [15]:4f47f0e5629a674bfcd13770eb3a3bd9
Key [16]:58a6d9a16a284cc0aead2126c79608a1
Key [17]:a564082a0a98399f43f535fd5cefad34
sres     :80e5629c
aco      :a6fe4dcde3924611d3cc6ba1



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Encryption Key Sample Data                                  06 December 2016
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Sample Data


10.2 FOUR TESTS OF E21
rand     :00000000000000000000000000000000
address :000000000000
round   1:00000000000000000000000000000000
Key [ 1]:00000000000000000000000000000006
Key [ 2]:4697b1baa3b7100ac537b3c95a28dc94
round   2:98611307ab76bbde9a86af1ce8cad412
Key [ 3]:ecabaac66795580df89af66e665d863d
Key [ 4]:8ac3d8896ae9364943bfebd4a2a768a0
round   3:820999ad2e6618f4b578974beeedf9e7
added ->:820999ad2e6618f4b578974beeedf9e7
Key [ 5]:5d57921fd5715cbb22c1bedb1c996394
Key [ 6]:2a61b8343219fdfb1740e9541d41448f
round   4:acd6edec87581ac22dbdc64ea4ced3a2
Key [ 7]:dd0480dee731d67f01ba0f39da6f23ca
Key [ 8]:3ad01cd1303e12a18dcfe0a8af82592c
round   5:1c7798732f09fbfe25795a4a2fbc93c2
Key [ 9]:7dadb2efc287ce7b0c1302904f2e7233
Key [10]:c08dcfa981e2f4572f6c7a9f52e11538
round   6:c05b88b56aa70e9c40c79bb81cd911bd
Key [11]:fc2042c708658a555e8c147660ffdfd7
Key [12]:fa0b21002605a6b9e89e624cd99150d2
round   7:abacc71b481c84c798d1bdf3d62f7e20
Key [13]:18b407e44a5ba4c80ecb48694b4e9c35
Key [14]:454d57e8253c0c4a8b3fcca7db6baef4
round   8:e8204e1183ae85cf19edb2c86215b700
Key [15]:2d0b946d9db52674f29353b0f011ed83
Key [16]:76c316733b1e8e70bd861b477e2456f1
Key [17]:8e4697b1baa3b7100ac537b3c95a28ac
Ka       :d14ca028545ec262cee700e39b5c39ee
-----------------------------------------
rand     :2dd9a550343191304013b2d7e1189d09
address :cac4364303b6
round   1:cac4364303b6cac4364303b6cac43643
Key [ 1]:2dd9a550343191304013b2d7e1189d0f
Key [ 2]:14c4335b2c43910c5dcc71d81a14242b
round   2:e169f788aad45a9011f11db5270b1277
Key [ 3]:55bfb712cba168d1a48f6e74cd9f4388
Key [ 4]:2a2b3aacca695caef2821b0fb48cc253
round   3:540f9c76652e92c44987c617035037bf
added ->:9ed3d23566e45c007fcac9a1c9146dfc
Key [ 5]:a06aab22d9a287384042976b4b6b00ee
Key [ 6]:c229d054bb72e8eb230e6dcdb32d16b7
round   4:83659a41675f7171ea57909dc5a79ab4
Key [ 7]:23c4812ab1905ddf77dedaed4105649a
Key [ 8]:40d87e272a7a1554ae2e85e3638cdf52
round   5:0b9382d0ed4f2fccdbb69d0db7b130a4
Key [ 9]:bdc064c6a39f6b84fe40db359f62a3c4
Key [10]:58228db841ce3cee983aa721f36aa1b9
round   6:c6ebda0f8f489792f09c189568226c1f
Key [11]:a815bacd6fa747a0d4f52883ac63ebe7



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [12]:a9ce513b38ea006c333ecaaefcf1d0f8
round   7:75a8aba07e69c9065bcd831c40115116
Key [13]:3635e074792d4122130e5b824e52cd60
Key [14]:511bdb61bb28de72a5d794bffbf407df
round   8:57a6e279dcb764cf7dd6a749dd60c735
Key [15]:a32f5f21044b6744b6d913b13cdb4c0a
Key [16]:9722bbaeef281496ef8c23a9d41e92f4
Key [17]:807370560ad7e8a13a054a65a03b4049
Ka       :e62f8bac609139b3999aedbc9d228042
-----------------------------------------
rand     :dab3cffe9d5739d1b7bf4a667ae5ee24
address :02f8fd4cd661
round   1:02f8fd4cd66102f8fd4cd66102f8fd4c
Key [ 1]:dab3cffe9d5739d1b7bf4a667ae5ee22
Key [ 2]:e315a8a65d809ec7c289e69c899fbdcc
round   2:ef85ff081b8709405e19f3e275cec7dc
Key [ 3]:df6a119bb50945fc8a3394e7216448f3
Key [ 4]:87fe86fb0d58b5dd0fb3b6b1dab51d07
round   3:aa25c21bf577d92dd97381e3e9edcc54
added ->:a81dbf5723d8dbd524bf5782ebe5c918
Key [ 5]:36cc253c506c0021c91fac9d8c469e90
Key [ 6]:d5fda00f113e303809b7f7d78a1a2b0e
round   4:9e69ce9b53caec3990894d2baed41e0d
Key [ 7]:c14b5edc10cabf16bc2a2ba4a8ae1e40
Key [ 8]:74c6131afc8dce7e11b03b1ea8610c16
round   5:a5460fa8cedca48a14fd02209e01f02e
Key [ 9]:346cfc553c6cbc9713edb55f4dcbc96c
Key [10]:bddf027cb059d58f0509f8963e9bdec6
round   6:92b33f11eadcacc5a43dd05f13d334dd
Key [11]:8eb9e040c36c4c0b4a7fd3dd354d53c4
Key [12]:c6ffecdd5e135b20879b9dfa4b34bf51
round   7:fb0541aa5e5df1a61c51aef606eb5a41
Key [13]:bf12f5a6ba08dfc4fda4bdfc68c997d9
Key [14]:37c4656b9215f3c959ea688fb64ad327
round   8:f0bbd2b94ae374346730581fc77a9c98
Key [15]:e87bb0d86bf421ea4f779a8eee3a866c
Key [16]:faa471e934fd415ae4c0113ec7f0a5ad
Key [17]:95204a80b8400e49db7cf6fd2fd40d9a
Ka       :b0376d0a9b338c2e133c32b69cb816b3
-----------------------------------------
rand     :13ecad08ad63c37f8a54dc56e82f4dc1
address :9846c5ead4d9
round   1:9846c5ead4d99846c5ead4d99846c5ea
Key [ 1]:13ecad08ad63c37f8a54dc56e82f4dc7
Key [ 2]:ad04f127bed50b5e671d6510d392eaed
round   2:97374e18cdd0a6f7a5aa49d1ac875c84
Key [ 3]:57ad159e5774fa222f2f3039b9cd5101
Key [ 4]:9a1e9e1068fede02ef90496e25fd8e79
round   3:9dd3260373edd9d5f4e774826b88fd2d
added ->:0519ebe9a7c6719331d1485bf3cec2c7
Key [ 5]:378dce167db62920b0b392f7cfca316e
Key [ 6]:db4277795c87286faee6c9e9a6b71a93



Encryption Key Sample Data                                  06 December 2016
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Sample Data

round   4:40ec6563450299ac4e120d88672504d6
Key [ 7]:ec01aa2f5a8a793b36c1bb858d254380
Key [ 8]:2921a66cfa5bf74ac535424564830e98
round   5:57287bbb041bd6a56c2bd931ed410cd4
Key [ 9]:07018e45aab61b3c3726ee3d57dbd5f6
Key [10]:627381f0fa4c02b0c7d3e7dfbffc3333
round   6:66affa66a8dcd36e36bf6c3f1c6a276e
Key [11]:33b57c925bd5551999f716e138efbe79
Key [12]:a6dc7f9aa95bcc9243aebd12608f657a
round   7:450e65184fd8c72c578d5cdecb286743
Key [13]:a6a6db00fd8c72a28ea57ea542f6e102
Key [14]:dcf3377daeb2e24e61f0ad6620951c1f
round   8:e5eb180b519a4e673f21b7c4f4573f3d
Key [15]:621240b9506b462a7fa250da41844626
Key [16]:ae297810f01f43dc35756cd119ee73d6
Key [17]:b959835ec2501ad3894f8b8f1f4257f9
Ka       :5b61e83ad04d23e9d1c698851fa30447
=========================================



10.3 THREE TESTS OF E22
(for K_master and overlay generation)

rand     :001de169248850245a5f7cc7f0d6d633
PIN      :d5a51083a04a1971f18649ea8b79311a
round   1:001de169248850245a5f7cc7f0d6d623
Key [ 1]:d5a51083a04a1971f18649ea8b79311a
Key [ 2]:7317cdbff57f9b99f9810a2525b17cc7
round   2:5f05c143347b59acae3cb002db23830f
Key [ 3]:f08bd258adf1d4ae4a54d8ccb26220b2
Key [ 4]:91046cbb4ccc43db18d6dd36ca7313eb
round   3:c8f3e3300541a25b6ac5a80c3105f3c4
added ->:c810c45921c9f27f302424cbc1dbc9e7
Key [ 5]:67fb2336f4d9f069da58d11c82f6bd95
Key [ 6]:4fed702c75bd72c0d3d8f38707134c50
round   4:bd5e0c3a97fa55b91a3bbbf306ebb978
Key [ 7]:41c947f80cdc0464c50aa89070af314c
Key [ 8]:680eecfa8daf41c7109c9a5cb1f26d75
round   5:21c1a762c3cc33e75ce8976a73983087
Key [ 9]:6e33fbd94d00ff8f72e8a7a0d2cebc4c
Key [10]:f4d726054c6b948add99fabb5733ddc3
round   6:56d0df484345582f6b574a449ba155eb
Key [11]:4eda2425546a24cac790f49ef2453b53
Key [12]:cf2213624ed1510408a5a3e00b7333df
round   7:120cf9963fe9ff22993f7fdf9600d9b8
Key [13]:d04b1a25b0b8fec946d5ecfa626d04c9
Key [14]:01e5611b0f0e140bdb64585fd3ae5269
round   8:a6337400ad8cb47fefb91332f5cb2713
Key [15]:f15b2dc433f534f61bf718770a3698b1
Key [16]:f990d0273d8ea2b9e0b45917a781c720
Key [17]:f41b3cc13d4301297bb6bdfcb3e5a1dd
Ka       :539e4f2732e5ae2de1e0401f0813bd0d


Encryption Key Sample Data                                  06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data

-----------------------------------------
rand     :67ed56bfcf99825f0c6b349369da30ab
PIN      :7885b515e84b1f082cc499976f1725ce
round   1:67ed56bfcf99825f0c6b349369da30bb
Key [ 1]:7885b515e84b1f082cc499976f1725ce
Key [ 2]:72445901fdaf506beb036f4412512248
round   2:6b160b66a1f6c26c1f3432f463ef5aa1
Key [ 3]:59f0e4982e97633e5e7fd133af8f2c5b
Key [ 4]:b4946ec77a41bf7c729d191e33d458ab
round   3:3f22046c964c3e5ca2a26ec9a76a9f67
added ->:580f5ad359e5c003ae0da25ace44cfdc
Key [ 5]:eb0b839f97bdf534183210678520bbef
Key [ 6]:cff0bc4a94e5c8b2a2d24d9f59031e19
round   4:87aa61fc0ff88e744c195249b9a33632
Key [ 7]:592430f14d8f93db95dd691af045776d
Key [ 8]:3b55b404222bf445a6a2ef5865247695
round   5:83dcf592a854226c4dcd94e1ecf1bc75
Key [ 9]:a9714b86319ef343a28b87456416bd52
Key [10]:e6598b24390b3a0bf2982747993b0d78
round   6:dee0d13a52e96bcf7c72045a21609fc6
Key [11]:62051d8c51973073bff959b032c6e1e2
Key [12]:29e94f4ab73296c453c833e217a1a85b
round   7:08488005761e6c7c4dbb203ae453fe3a
Key [13]:0e255970b3e2fc235f59fc5acb10e8ce
Key [14]:d0dfbb3361fee6d4ffe45babf1cd7abf
round   8:0d81e89bddde7a7065316c47574feb8f
Key [15]:c12eee4eb38b7a171f0f736003774b40
Key [16]:8f962523f1c0abd9a087a0dfb11643d3
Key [17]:24be1c66cf8b022f12f1fb4c60c93fd1
Ka       :04435771e03a9daceb8bb1a493ee9bd8
-----------------------------------------
rand     :40a94509238664f244ff8e3d13b119d3
PIN      :1ce44839badde30396d03c4c36f23006
round   1:40a94509238664f244ff8e3d13b119c3
Key [ 1]:1ce44839badde30396d03c4c36f23006
Key [ 2]:6dd97a8f91d628be4b18157af1a9dcba
round   2:0eac5288057d9947a24eabc1744c4582
Key [ 3]:fef9583d5f55fd4107ad832a725db744
Key [ 4]:fc3893507016d7c1db2bd034a230a069
round   3:60b424f1082b0cc3bd61be7b4c0155f0
added ->:205d69f82bb17031f9604c465fb26e33
Key [ 5]:0834d04f3e7e1f7f85f0c1db685ab118
Key [ 6]:1852397f9a3723169058e9b62bb3682b
round   4:2c6b65a49d66af6566675afdd6fa7d7d
Key [ 7]:6c10da21d762ae4ac1ba22a96d9007b4
Key [ 8]:9aa23658b90470a78d686344b8a9b0e7
round   5:a2c537899665113a42f1ac24773bdc31
Key [ 9]:137dee3bf879fe7bd02fe6d888e84f16
Key [10]:466e315a1863f47d0f93bc6827cf3450
round   6:e26982980d79b21ed3e20f8c3e71ba96
Key [11]:0b33cf831465bb5c979e6224d7f79f7c
Key [12]:92770660268ede827810d707a0977d73



Encryption Key Sample Data                                  06 December 2016
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Sample Data

round   7:e7b063c4e2e3110b89b7e1631c762dd5
Key [13]:7be30ae4961cf24ca17625a77bb7a9f8
Key [14]:be65574a33ae30e6e82dbd2826d3cc1a
round   8:7a963e37b2c2e76b489cfe40a2cf00e5
Key [15]:ed0ba7dd30d60a5e69225f0a33011e5b
Key [16]:765c990f4445e52b39e6ed6105ad1c4f
Key [17]:52627bf9f35d94f30d5b07ef15901adc
Ka       :9cde4b60f9b5861ed9df80858bac6f7f



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10.4 TESTS OF E22 WITH PIN AUGMENTING
for PIN lengths 1,...,16 bytes

rand     :24b101fd56117d42c0545a4247357048
PIN length =16 octets
PIN      :fd397c7f5c1f937cdf82d8816cc377e2
round   1:24b101fd56117d42c0545a4247357058
Key [ 1]:fd397c7f5c1f937cdf82d8816cc377e2
Key [ 2]:0f7aac9c9b53f308d9fdbf2c78e3c30e
round   2:838edfe1226266953ccba8379d873107
Key [ 3]:0b8ac18d4bb44fad2efa115e43945abc
Key [ 4]:887b16b062a83bfa469772c25b456312
round   3:8cd0c9283120aba89a7f9d635dd4fe3f
added ->:a881cad5673128ea5ad3f7211a096e67
Key [ 5]:2248cbe6d299e9d3e8fd35a91178f65b
Key [ 6]:b92af6237385bd31f8fb57fb1bdd824e
round   4:2648d9c618a622b10ef80c4dbaf68b99
Key [ 7]:2bf5ffe84a37878ede2d4c30be60203b
Key [ 8]:c9cb6cec60cb8a8f29b99fcf3e71e40f
round   5:b5a7d9e96f68b14ccebf361de3914d0f
Key [ 9]:5c2f8a702e4a45575b103b0cce8a91c6
Key [10]:d453db0c9f9ddbd11e355d9a34d9b11b
round   6:632a091e7eefe1336857ddafd1ff3265
Key [11]:32805db7e59c5ed4acabf38d27e3fece
Key [12]:fde3a8eedfa3a12be09c1a8a00890fd7
round   7:048531e9fd3efa95910540150f8b137b
Key [13]:def07eb23f3a378f059039a2124bc4c2
Key [14]:2608c58f23d84a09b9ce95e5caac1ab4
round   8:461814ec7439d412d0732f0a6f799a6a
Key [15]:0a7ed16481a623e56ee1442ffa74f334
Key [16]:12add59aca0d19532f1516979954e369
Key [17]:dd43d02d39ffd6a386a4b98b4ac6eb23
Ka       :a5f2adf328e4e6a2b42f19c8b74ba884
-----------------------------------------
rand     :321964061ac49a436f9fb9824ac63f8b
PIN length =15 octets
PIN      :ad955d58b6b8857820ac1262d617a6
address :0314c0642543
round   1:321964061ac49a436f9fb9824ac63f9b


Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [ 1]:ad955d58b6b8857820ac1262d617a603
Key [ 2]:f281736f68e3d30b2ac7c67f125dc416
round   2:7c4a4ece1398681f4bafd309328b7770
Key [ 3]:43c157f4c8b360387c32ab330f9c9aa8
Key [ 4]:3a3049945a298f6d076c19219c47c3cb
round   3:9672b00738bdfaf9bd92a855bc6f3afb
added ->:a48b1401228194bad23161d7f6357960
Key [ 5]:c8e2eaa6d73b7de18f3228ab2173bc69
Key [ 6]:8623f44488222e66a293677cf30bf2bb
round   4:9b30247aad3bf133712d034b46d21c68
Key [ 7]:f3e500902fba31db9bae50ef30e484a4
Key [ 8]:49d4b1137c18f4752dd9955a5a8d2f43
round   5:4492c25fda08083a768b4b5588966b23
Key [ 9]:9d59c451989e74785cc097eda7e42ab8
Key [10]:251de25f3917dcd99c18646107a641fb
round   6:21ae346635714d2623041f269978c0ee
Key [11]:80b8f78cb1a49ec0c3e32a238e60fddf
Key [12]:beb84f4d20a501e4a24ecfbde481902b
round   7:9b56a3d0f8932f20c6a77a229514fb00
Key [13]:852571b44f35fd9d9336d3c1d2506656
Key [14]:d0a0d510fb06ba76e69b8ee3ebc1b725
round   8:6cd8492b2fd31a86978bcdf644eb08a8
Key [15]:c7ffd523f32a874ed4a93430a25976de
Key [16]:16cdcb25e62964876d951fdcc07030d3
Key [17]:def32c0e12596f9582e5e3c52b303f52
Ka       :c0ec1a5694e2b48d54297911e6c98b8f
-----------------------------------------
rand     :d4ae20c80094547d7051931b5cc2a8d6
PIN length =14 octets
PIN      :e1232e2c5f3b833b3309088a87b6
address :fabecc58e609
round   1:d4ae20c80094547d7051931b5cc2a8c6
Key [ 1]:e1232e2c5f3b833b3309088a87b6fabe
Key [ 2]:5f0812b47cd3e9a30d7707050fffa1f2
round   2:1f45f16be89794bef33e4547c9c0916a
Key [ 3]:77b681944763244ffa3cd71b248b79b5
Key [ 4]:e2814e90e04f485958ce58c9133e2be6
round   3:b10d2f4ac941035263cee3552d774d2f
added ->:65bb4f82c9d5572f131f764e7139f5e9
Key [ 5]:520acad20801dc639a2c6d66d9b79576
Key [ 6]:c72255cdb61d42be72bd45390dd25ba5
round   4:ead4dc34207b6ea721c62166e155aaad
Key [ 7]:ebf04c02075bf459ec9c3ec06627d347
Key [ 8]:a1363dd2812ee800a4491c0c74074493
round   5:f507944f3018e20586d81d7f326aae9d
Key [ 9]:b0b6ba79493dc833d7f425be7b8dadb6
Key [10]:08cd23e536b9b9b53e85eb004cba3111
round   6:fff450f4302a2b3571e8405e148346da
Key [11]:fec22374c6937dcd26171f4d2edfada3
Key [12]:0f1a8ef5979c69ff44f620c2e007b6e4
round   7:de558779589897f3402a90ee78c3f921
Key [13]:901fb66f0779d6aad0c0fba1fe812cb5



Encryption Key Sample Data                                  06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data

Key [14]:a0cab3cd15cd23603adc8d4474efb239
round   8:b2df0aa0c9f07fbbaa02f510a29cf540
Key [15]:18edc3f4296dd6f1dea13f7c143117a1
Key [16]:8d3d52d700a379d72ded81687f7546c7
Key [17]:5927badfe602f29345f840bb53e1dea6
Ka       :d7b39be13e3692c65b4a9e17a9c55e17
-----------------------------------------
rand     :272b73a2e40db52a6a61c6520549794a
PIN length =13 octets
PIN      :549f2694f353f5145772d8ae1e
address :20487681eb9f
round   1:272b73a2e40db52a6a61c6520549795a
Key [ 1]:549f2694f353f5145772d8ae1e204876
Key [ 2]:42c855593d66b0c458fd28b95b6a5fbf
round   2:d7276dc8073f7677c31f855bde9501e2
Key [ 3]:75d0a69ae49a2da92e457d767879df52
Key [ 4]:b3aa7e7492971afaa0fb2b64827110df
round   3:71aae503831133d19bc452da4d0e409b
added ->:56d558a1671ee8fbf12518884857b9c1
Key [ 5]:9c8cf1604a98e9a503c342e272de5cf6
Key [ 6]:d35bc2df6b85540a27642106471057d9
round   4:f41a709c89ea80481aa3d2b9b2a9f8ca
Key [ 7]:b454dda74aeb4eff227ba48a58077599
Key [ 8]:bcba6aec050116aa9b7c6a9b7314d796
round   5:20fdda20f4a26b1bd38eb7f355a7be87
Key [ 9]:d41f8a9de0a716eb7167a1b6e321c528
Key [10]:5353449982247782d168ab43f17bc4d8
round   6:a70e316997eeed49a5a9ef9ba5e913b5
Key [11]:32cbc9cf1a81e36a45153972347ce4ac
Key [12]:5747619006cf4ef834c749f2c4b9feb6
round   7:e66f2317a825f589f76b47b6aa6e73fb
Key [13]:f9b68beba0a09d2a570a7dc88cc3c3c2
Key [14]:55718f9a4f0b1f9484e8c6b186a41a4b
round   8:5f68f940440a9798e074776019804ada
Key [15]:4ecc29be1b4d78433f6aa30db974a7fb
Key [16]:8470a066ffb00cda7b08059599f919f5
Key [17]:f39a36d74e960a051e1ca98b777848f4
Ka       :9ac64309a37c25c3b4a584fc002a1618
-----------------------------------------
rand     :7edb65f01a2f45a2bc9b24fb3390667e
PIN length =12 octets
PIN      :2e5a42797958557b23447ca8
address :04f0d2737f02
round   1:7edb65f01a2f45a2bc9b24fb3390666e
Key [ 1]:2e5a42797958557b23447ca804f0d273
Key [ 2]:18a97c856561eb23e71af8e9e1be4799
round   2:3436e12db8ffdc1265cb5a86da2fed0b
Key [ 3]:7c0908dcbc73201e17c4f7aa1ab8aec8
Key [ 4]:7cb58833602fbe4194c7cc797ce8c454
round   3:caed6af4226f67e4ad1914620803ef2a
added ->:b4c8cf04389eac4611b438993b935544
Key [ 5]:f4dce7d607b5234562d0ebb2267b08b8



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [ 6]:560b75c5545751fd8fa99fa4346e654b
round   4:ee67c87d6f74bb75db98f68bff0192c1
Key [ 7]:32f10cefd8d3e6424c6f91f1437808af
Key [ 8]:a934a46045be30fb3be3a5f3f7b18837
round   5:792398dcbeb8d10bdb07ae3c819e943c
Key [ 9]:a0f12e97c677a0e8ac415cd2c8a7ca88
Key [10]:e27014c908785f5ca03e8c6a1da3bf13
round   6:e778b6e0c3e8e7edf90861c7916d97a8
Key [11]:1b4a4303bcc0b2e0f41c72d47654bd9f
Key [12]:4b1302a50046026d6c9054fc8387965a
round   7:1fafddc7efa5f04c1dec1869d3f2d9bb
Key [13]:58c334bb543d49eca562cdbe0280e0fc
Key [14]:bdb60d383c692d06476b76646c8dec48
round   8:3d7c326d074bd6aa222ea050f04a3c7f
Key [15]:78c0162506be0b5953e8403c01028f93
Key [16]:24d7dbbe834dbd7b67f57fcf0d39d60f
Key [17]:2e74f1f3331c0f6585e87b2f715e187e
Ka       :d3af4c81e3f482f062999dee7882a73b
-----------------------------------------
rand     :26a92358294dce97b1d79ec32a67e81a
PIN length =11 octets
PIN      :05fbad03f52fa9324f7732
address :b9ac071f9d70
round   1:26a92358294dce97b1d79ec32a67e80a
Key [ 1]:05fbad03f52fa9324f7732b9ac071f9d
Key [ 2]:2504c9691c04a18480c8802e922098c0
round   2:0be20e3d76888e57b6bf77f97a8714fb
Key [ 3]:576b2791d1212bea8408212f2d43e77e
Key [ 4]:90ae36dcce8724adb618f912d1b27297
round   3:1969667060764453257d906b7e58bd5b
added ->:3f12892849c312c494542ea854bfa551
Key [ 5]:bc492c42c9e87f56ec31af5474e9226e
Key [ 6]:c135d1dbed32d9519acfb4169f3e1a10
round   4:ac404205118fe771e54aa6f392da1153
Key [ 7]:83ccbdbbaf17889b7d18254dc9252fa1
Key [ 8]:80b90a1767d3f2848080802764e21711
round   5:41795e89ae9a0cf776ffece76f47fd7a
Key [ 9]:cc24e4a86e8eed129118fd3d5223a1dc
Key [10]:7b1e9c0eb9dab083574be7b7015a62c9
round   6:29ca9e2f87ca00370ef1633505bfba4b
Key [11]:888e6d88cf4beb965cf7d4f32b696baa
Key [12]:6d642f3e5510b0b043a44daa2cf5eec0
round   7:81fc891c3c6fd99acc00028a387e2366
Key [13]:e224f85da2ab63a23e2a3a036e421358
Key [14]:c8dc22aaa739e2cb85d6a0c08226c7d0
round   8:e30b537e7a000e3d2424a9c0f04c4042
Key [15]:a969aa818c6b324bae391bedcdd9d335
Key [16]:6974b6f2f07e4c55f2cc0435c45bebd1
Key [17]:134b925ebd98e6b93c14aee582062fcb
Ka       :be87b44d079d45a08a71d15208c5cb50
-----------------------------------------
rand     :0edef05327eab5262430f21fc91ce682



Encryption Key Sample Data                                  06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data

PIN length =10 octets
PIN      :8210e47390f3f48c32b3
address :7a3cdfe377d1
round   1:0edef05327eab5262430f21fc91ce692
Key [ 1]:8210e47390f3f48c32b37a3cdfe377d1
Key [ 2]:c6be4c3e425e749b620a94c779e33a7e
round   2:07ca3c7a7a6bcbc31d79a856d9cffc0e
Key [ 3]:2587cec2a4b8e4f996a9ed664350d5dd
Key [ 4]:70e4bf72834d9d3dbb7eb2c239216dc0
round   3:792ad2ac4e4559d1463714d2f161b6f4
added ->:7708c2ff692f0ef7626706cd387d9c66
Key [ 5]:6696e1e7f8ac037e1fff3598f0c164e2
Key [ 6]:23dbfe4d0b561bea08fbcef25e49b648
round   4:7d8c71a9d7fbdcbd851bdf074550b100
Key [ 7]:b03648acd021550edee904431a02f00c
Key [ 8]:cb169220b7398e8f077730aa4bf06baa
round   5:b6fcaa45064ffd557e4b7b30cfbb83e0
Key [ 9]:af602c2ba16a454649951274c2be6527
Key [10]:5d60b0a7a09d524143eca13ad680bc9c
round   6:b3416d391a0c26c558843debd0601e9e
Key [11]:9a2f39bfe558d9f562c5f09a5c3c0263
Key [12]:72cae8eebd7fabd9b1848333c2aab439
round   7:abe4b498d9c36ea97b8fd27d7f813913
Key [13]:15f27ea11e83a51645d487b81371d7dc
Key [14]:36083c8666447e03d33846edf444eb12
round   8:8032104338a945ba044d102eabda3b22
Key [15]:0a3a8977dd48f3b6c1668578befadd02
Key [16]:f06b6675d78ca0ee5b1761bdcdab516d
Key [17]:cbc8a7952d33aa0496f7ea2d05390b23
Ka       :bf0706d76ec3b11cce724b311bf71ff5
-----------------------------------------
rand     :86290e2892f278ff6c3fb917b020576a
PIN length = 9 octets
PIN      :3dcdffcfd086802107
address :791a6a2c5cc3
round   1:86290e2892f278ff6c3fb917b0205765
Key [ 1]:3dcdffcfd086802107791a6a2c5cc33d
Key [ 2]:b4962f40d7bb19429007062a3c469521
round   2:1ec59ffd3065f19991872a7863b0ef02
Key [ 3]:eb9ede6787dd196b7e340185562bf28c
Key [ 4]:2964e58aacf7287d1717a35b100ae23b
round   3:f817406f1423fc2fe33e25152679eaaf
added ->:7e404e47861574d08f7dde02969941ca
Key [ 5]:6abf9a314508fd61e486fa4e376c3f93
Key [ 6]:6da148b7ee2632114521842cbb274376
round   4:e9c2a8fac22b8c7cf0c619e2b3f890ed
Key [ 7]:df889cc34fda86f01096d52d116e620d
Key [ 8]:5eb04b147dc39d1974058761ae7b73fc
round   5:444a8aac0efee1c02f8d38f8274b7b28
Key [ 9]:8426cc59eee391b2bd50cf8f1efef8b3
Key [10]:8b5d220a6300ade418da791dd8151941
round   6:9185f983db150b1bccab1e5c12eb63a1



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [11]:82ba4ddef833f6a4d18b07aa011f2798
Key [12]:ce63d98794682054e73d0359dad35ec4
round   7:5eded2668f5916dfd036c09e87902886
Key [13]:da794357652e80c70ad8b0715dbe33d6
Key [14]:732ef2c0c3220b31f3820c375e27bb29
round   8:88a5291b4acbba009a85b7dd6a834b3b
Key [15]:3ce75a61d4b465b70c95d7ccd5799633
Key [16]:5df9bd2c3a17a840cdaafb76c171db7c
Key [17]:3f8364b089733d902bccb0cd3386846f
Ka       :cdb0cc68f6f6fbd70b46652de3ef3ffb
-----------------------------------------
rand     :3ab52a65bb3b24a08eb6cd284b4b9d4b
PIN length = 8 octets
PIN      :d0fb9b6838d464d8
address :25a868db91ab
round   1:3ab52a65bb3b24a08eb6cd284b4b9d45
Key [ 1]:d0fb9b6838d464d825a868db91abd0fb
Key [ 2]:2573f47b49dad6330a7a9155b7ae8ba1
round   2:ad2ffdff408fcfab44941016a9199251
Key [ 3]:d2c5b8fb80cba13712905a589adaee71
Key [ 4]:5a3381511b338719fae242758dea0997
round   3:2ddc17e570d7931a2b1d13f6ace928a5
added ->:17914180cb12b7baa5d3e0dee734c5e0
Key [ 5]:e0a4d8ac27fbe2783b7bcb3a36a6224d
Key [ 6]:949324c6864deac3eca8e324853e11c3
round   4:62c1db5cf31590d331ec40ad692e8df5
Key [ 7]:6e67148088a01c2d4491957cc9ddc4aa
Key [ 8]:557431deab7087bb4c03fa27228f60c6
round   5:9c8933bc361f4bde4d1bda2b5f8bb235
Key [ 9]:a2551aca53329e70ade3fd2bb7664697
Key [10]:05d0ad35de68a364b54b56e2138738fe
round   6:9156db34136aa06655bf28a05be0596a
Key [11]:1616a6b13ce2f2895c722e8495181520
Key [12]:b12e78a1114847b01f6ed2f5a1429a23
round   7:84dcc292ed836c1c2d523f2a899a2ad5
Key [13]:316e144364686381944e95afd8a026bb
Key [14]:1ab551b88d39d97ea7a9fe136dbfe2e1
round   8:87bdcac878d777877f4eccf042cfee5e
Key [15]:70e21ab08c23c7544524b64492b25cc9
Key [16]:35f730f2ae2b950a49a1bf5c8b9f8866
Key [17]:2f16924c22db8b74e2eadf1ba4ebd37c
Ka       :983218718ca9aa97892e312d86dd9516
-----------------------------------------
rand     :a6dc447ff08d4b366ff96e6cf207e179
PIN length = 7 octets
PIN      :9c57e10b4766cc
address :54ebd9328cb6
round   1:a6dc447ff08d4b366ff96e6cf207e174
Key [ 1]:9c57e10b4766cc54ebd9328cb69c57e1
Key [ 2]:00a609f4d61db26993c8177e3ee2bba8
round   2:1ed26b96a306d7014f4e5c9ee523b73d
Key [ 3]:646d7b5f9aaa528384bda3953b542764



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [ 4]:a051a42212c0e9ad5c2c248259aca14e
round   3:a53f526db18e3d7d53edbfc9711041ed
added ->:031b9612411b884b3ce62da583172299
Key [ 5]:d1bd5e64930e7f838d8a33994462d8b2
Key [ 6]:5dc7e2291e32435665ebd6956bec3414
round   4:9438be308ec83f35c560e2796f4e0559
Key [ 7]:10552f45af63b0f15e2919ab37f64fe7
Key [ 8]:c44d5717c114a58b09207392ebe341f8
round   5:b79a7b14386066d339f799c40479cb3d
Key [ 9]:6886e47b782325568eaf59715a75d8ff
Key [10]:8e1e335e659cd36b132689f78c147bda
round   6:ef232462228aa166438d10c34e17424b
Key [11]:8843efeedd5c2b7c3304d647f932f4d1
Key [12]:13785aaedd0adf67abb4f01872392785
round   7:02d133fe40d15f1073673b36bba35abd
Key [13]:837d7ca2722419e6be3fae35900c3958
Key [14]:93f8442973e7fccf2e7232d1d057c73a
round   8:275506a3d08c84e94cc58ed60054505e
Key [15]:8a7a9edffa3c52918bc6a45f57d91f5d
Key [16]:f214a95d777f763c56109882c4b52c84
Key [17]:10e2ee92c5ea1ddc5eb010e55510c403
Ka       :9cd6650ead86323e87cafb1ff516d1e0
-----------------------------------------
rand     :3348470a7ea6cc6eb81b40472133262c
PIN length = 6 octets
PIN      :fcad169d7295
address :430d572f8842
round   1:3348470a7ea6cc6eb81b404721332620
Key [ 1]:fcad169d7295430d572f8842fcad169d
Key [ 2]:b3479d4d4fd178c43e7bc5b0c7d8983c
round   2:af976da9225066d563e10ab955e6fc32
Key [ 3]:7112462b37d82dd81a2a35d9eb43cb7c
Key [ 4]:c5a7030f8497945ac7b84600d1d161fb
round   3:d08f826ebd55a0bd7591c19a89ed9bde
added ->:e3d7c964c3fb6cd3cdac01dda820c1fe
Key [ 5]:84b0c6ef4a63e4dff19b1f546d683df5
Key [ 6]:f4023edfc95d1e79ed4bb4de9b174f5d
round   4:6cd952785630dfc7cf81eea625e42c5c
Key [ 7]:ea38dd9a093ac9355918632c90c79993
Key [ 8]:dbba01e278ddc76380727f5d7135a7de
round   5:93573b2971515495978264b88f330f7f
Key [ 9]:d4dc3a31be34e412210fafa6eca00776
Key [10]:39d1e190ee92b0ff16d92a8be58d2fa0
round   6:b3f01d5e7fe1ce6da7b46d8c389baf47
Key [11]:1eb081328d4bcf94c9117b12c5cf22ac
Key [12]:7e047c2c552f9f1414d946775fabfe30
round   7:0b833bff6106d5bae033b4ce5af5a924
Key [13]:e78e685d9b2a7e29e7f2a19d1bc38ebd
Key [14]:1b582272a3121718c4096d2d8602f215
round   8:23de0bbdc70850a7803f4f10c63b2c0f
Key [15]:8569e860530d9c3d48a0870dac33f676
Key [16]:6966b528fdd1dc222527052c8f6cf5a6



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [17]:a34244c757154c53171c663b0b56d5c2
Ka       :98f1543ab4d87bd5ef5296fb5e3d3a21
-----------------------------------------
rand     :0f5bb150b4371ae4e5785293d22b7b0c
PIN length = 5 octets
PIN      :b10d068bca
address :b44775199f29
round   1:0f5bb150b4371ae4e5785293d22b7b07
Key [ 1]:b10d068bcab44775199f29b10d068bca
Key [ 2]:aec70d1048f1bbd2c18040318a8402ad
round   2:342d2b79d7fb7cd110379742b9842c79
Key [ 3]:6d8d5cf338f29ef4420639ef488e4fa9
Key [ 4]:a1584117541b759ba6d9f7eb2bedcbba
round   3:9407e8e3e810603921bf81cfda62770a
added ->:9b6299b35c477addc437d35c088df20d
Key [ 5]:09a20676666aeed6f22176274eb433f4
Key [ 6]:840472c001add5811a054be5f5c74754
round   4:9a3ba953225a7862c0a842ed3d0b2679
Key [ 7]:fad9e45c8bf70a972fcd9bff0e8751f5
Key [ 8]:e8f30ff666dfd212263416496ff3b2c2
round   5:2c573b6480852e875df34b28a5c44509
Key [ 9]:964cdba0cf8d593f2fc40f96daf8267a
Key [10]:bcd65c11b13e1a70bcd4aafba8864fe3
round   6:21b0cc49e880c5811d24dee0194e6e9e
Key [11]:468c8548ea9653c1a10df6288dd03c1d
Key [12]:5d252d17af4b09d3f4b5f7b5677b8211
round   7:e6d6bdcd63e1d37d9883543ba86392fd
Key [13]:e814bf307c767428c67793dda2df95c7
Key [14]:4812b979fdc20f0ff0996f61673a42cc
round   8:e3dde7ce6bd7d8a34599aa04d6a760ab
Key [15]:5b1e2033d1cd549fc4b028146eb5b3b7
Key [16]:0f284c14fb8fe706a5343e3aa35af7b1
Key [17]:b1f7a4b7456d6b577fded6dc7a672e37
Ka       :c55070b72bc982adb972ed05d1a74ddb
-----------------------------------------
rand     :148662a4baa73cfadb55489159e476e1
PIN length = 4 octets
PIN      :fb20f177
address :a683bd0b1896
round   1:148662a4baa73cfadb55489159e476eb
Key [ 1]:fb20f177a683bd0b1896fb20f177a683
Key [ 2]:47266cefbfa468ca7916b458155dc825
round   2:3a942eb6271c3f4e433838a5d3fcbd27
Key [ 3]:688853a6d6575eb2f6a2724b0fbc133b
Key [ 4]:7810df048019634083a2d9219d0b5fe0
round   3:9c835b98a063701c0887943596780769
added ->:8809bd3c1a0aace6d3dcdca4cf5c7d82
Key [ 5]:c78f6dcf56da1bbd413828b33f5865b3
Key [ 6]:eb3f3d407d160df3d293a76d1a513c4a
round   4:7e68c4bafa020a4a59b5a1968105bab5
Key [ 7]:d330e038d6b19d5c9bb0d7285a360064
Key [ 8]:9bd3ee50347c00753d165faced702d9c



Encryption Key Sample Data                                  06 December 2016
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Sample Data

round   5:227bad0cf0838bdb15b3b3872c24f592
Key [ 9]:9543ad0fb3fe74f83e0e2281c6d4f5f0
Key [10]:746cd0383c17e0e80e6d095a87fd0290
round   6:e026e98c71121a0cb739ef6f59e14d26
Key [11]:fa28bea4b1c417536608f11f406ea1dd
Key [12]:3aee0f4d21699df9cb8caf5354a780ff
round   7:cd6a6d8137d55140046f8991da1fa40a
Key [13]:372b71bc6d1aa6e785358044fbcf05f4
Key [14]:00a01501224c0405de00aa2ce7b6ab04
round   8:52cd7257fe8d0c782c259bcb6c9f5942
Key [15]:c7015c5c1d7c030e00897f104a006d4a
Key [16]:260a9577790c62e074e71e19fd2894df
Key [17]:c041b7a231493acd15ddcdaee94b9f52
Ka       :7ec864df2f1637c7e81f2319ae8f4671
-----------------------------------------
rand     :193a1b84376c88882c8d3b4ee93ba8d5
PIN length = 3 octets
PIN      :a123b9
address :4459a44610f6
round   1:193a1b84376c88882c8d3b4ee93ba8dc
Key [ 1]:a123b94459a44610f6a123b94459a446
Key [ 2]:5f64d384c8e990c1d25080eb244dde9b
round   2:3badbd58f100831d781ddd3ccedefd3f
Key [ 3]:5abc00eff8991575c00807c48f6dbea5
Key [ 4]:127521158ad6798fb6479d1d2268abe6
round   3:0b53075a49c6bf2df2421c655fdedf68
added ->:128d22de7e3247a5decf572bb61987b4
Key [ 5]:f2a1f620448b8e56665608df2ab3952f
Key [ 6]:7c84c0af02aad91dc39209c4edd220b1
round   4:793f4484fb592e7a78756fd4662f990d
Key [ 7]:f6445b647317e7e493bb92bf6655342f
Key [ 8]:3cae503567c63d3595eb140ce60a84c0
round   5:9e46a8df925916a342f299a8306220a0
Key [ 9]:734ed5a806e072bbecb4254993871679
Key [10]:cda69ccb4b07f65e3c8547c11c0647b8
round   6:6bf9cd82c9e1be13fc58eae0b936c75a
Key [11]:c48e531d3175c2bd26fa25cc8990e394
Key [12]:6d93d349a6c6e9ff5b26149565b13d15
round   7:e96a9871471240f198811d4b8311e9a6
Key [13]:5c4951e85875d663526092cd4cbdb667
Key [14]:f19f7758f5cde86c3791efaf563b3fd0
round   8:e94ca67d3721d5fb08ec069191801a46
Key [15]:bf0c17f3299b37d984ac938b769dd394
Key [16]:7edf4ad772a6b9048588f97be25bde1c
Key [17]:6ee7ba6afefc5b561abbd8d6829e8150
Ka       :ac0daabf17732f632e34ef193658bf5d
-----------------------------------------
rand     :1453db4d057654e8eb62d7d62ec3608c
PIN length = 2 octets
PIN      :3eaf
address :411fbbb51d1e
round   1:1453db4d057654e8eb62d7d62ec36084



Encryption Key Sample Data                                  06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data

Key [ 1]:3eaf411fbbb51d1e3eaf411fbbb51d1e
Key [ 2]:c3a1a997509f00fb4241aba607109c64
round   2:0b78276c1ebc65707d38c9c5fa1372bd
Key [ 3]:3c729833ae1ce7f84861e4dbad6305cc
Key [ 4]:c83a43c3a66595cb8136560ed29be4ff
round   3:23f3f0f6441563d4c202cee0e5cb2335
added ->:3746cbbb418bb73c2964a536cb8e83b1
Key [ 5]:18b26300b86b70acdd1c8f5cbc7c5da8
Key [ 6]:04efc75309b98cd8f1cef5513c18e41e
round   4:c61afa90d3c14bdf588320e857afdc00
Key [ 7]:517c789cecadc455751af73198749fb8
Key [ 8]:fd9711f913b5c844900fa79dd765d0e2
round   5:a8a0e02ceb556af8bfa321789801183a
Key [ 9]:bb5cf30e7d3ceb930651b1d16ee92750
Key [10]:3d97c7862ecab42720e984972f8efd28
round   6:0b58e922438d224db34b68fca9a5ea12
Key [11]:4ce730344f6b09e449dcdb64cd466666
Key [12]:38828c3a56f922186adcd9b713cdcc31
round   7:b90664c4ac29a8b4bb26debec9ffc5f2
Key [13]:d30fd865ea3e9edcff86a33a2c319649
Key [14]:1fdb63e54413acd968195ab6fa424e83
round   8:6934de3067817cefd811abc5736c163b
Key [15]:a16b7c655bbaa262c807cba8ae166971
Key [16]:7903dd68630105266049e23ca607cda7
Key [17]:888446f2d95e6c2d2803e6f4e815ddc9
Ka       :1674f9dc2063cc2b83d3ef8ba692ebef
-----------------------------------------
rand     :1313f7115a9db842fcedc4b10088b48d
PIN length = 1 octets
PIN      :6d
address :008aa9be62d5
round   1:1313f7115a9db842fcedc4b10088b48a
Key [ 1]:6d008aa9be62d56d008aa9be62d56d00
Key [ 2]:46ebfeafb6657b0a1984a8dc0893accf
round   2:839b23b83b5701ab095bafd162ec0ac7
Key [ 3]:8e15595edcf058af62498ee3c1dc6098
Key [ 4]:dd409c3444e94b9cc08396ae967542a0
round   3:c0a2010cc44f2139427f093f4f97ae68
added ->:d3b5f81d9eecd97bbe6ccd8e4f1f62e2
Key [ 5]:487deff5d519f6a6481e947b926f633c
Key [ 6]:5b4b6e3477ed5c2c01f6e607d3418963
round   4:1a5517a0efad3575931d8ea3bee8bd07
Key [ 7]:34b980088d2b5fd6b6a2aceeda99c9c4
Key [ 8]:e7d06d06078acc4ecdbc8da800b73078
round   5:d3ce1fdfe716d72c1075ff37a8a2093f
Key [ 9]:7d375bad245c3b757380021af8ecd408
Key [10]:14dac4bc2f4dc4929a6cceec47f4c3a3
round   6:47e90cb55be6e8dd0f583623c2f2257b
Key [11]:66cfda3c63e464b05e2e7e25f8743ad7
Key [12]:77cfccda1ad380b9fdf1df10846b50e7
round   7:f866ae6624f7abd4a4f5bd24b04b6d43
Key [13]:3e11dd84c031a470a8b66ec6214e44cf



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Sample Data

Key [14]:2f03549bdb3c511eea70b65ddbb08253
round   8:02e8e17cf8be4837c9c40706b613dfa8
Key [15]:e2f331229ddfcc6e7bea08b01ab7e70c
Key [16]:b6b0c3738c5365bc77331b98b3fba2ab
Key [17]:f5b3973b636119e577c5c15c87bcfd19
Ka       :38ec0258134ec3f08461ae5c328968a1


=========================================




10.5 FOUR TESTS OF E3
rand     :00000000000000000000000000000000
aco      :48afcdd4bd40fef76693b113
key      :00000000000000000000000000000000
round   1:00000000000000000000000000000000
Key [ 1]:00000000000000000000000000000000
Key [ 2]:4697b1baa3b7100ac537b3c95a28ac64
round   2:78d19f9307d2476a523ec7a8a026042a
Key [ 3]:ecabaac66795580df89af66e66dc053d
Key [ 4]:8ac3d8896ae9364943bfebd4969b68a0
round   3:600265247668dda0e81c07bbb30ed503
Key [ 5]:5d57921fd5715cbb22c1be7bbc996394
Key [ 6]:2a61b8343219fdfb1740e6511d41448f
round   4:d7552ef7cc9dbde568d80c2215bc4277
Key [ 7]:dd0480dee731d67f01a2f739da6f23ca
Key [ 8]:3ad01cd1303e12a1cd0fe0a8af82592c
round   5:fb06bef32b52ab8f2a4f2b6ef7f6d0cd
Key [ 9]:7dadb2efc287ce75061302904f2e7233
Key [10]:c08dcfa981e2c4272f6c7a9f52e11538
round   6:b46b711ebb3cf69e847a75f0ab884bdd
Key [11]:fc2042c708e409555e8c147660ffdfd7
Key [12]:fa0b21001af9a6b9e89e624cd99150d2
round   7:c585f308ff19404294f06b292e978994
Key [13]:18b40784ea5ba4c80ecb48694b4e9c35
Key [14]:454d54e5253c0c4a8b3fcca7db6baef4
round   8:2665fadb13acf952bf74b4ab12264b9f
Key [15]:2df37c6d9db52674f29353b0f011ed83
Key [16]:b60316733b1e8e70bd861b477e2456f1
Key [17]:884697b1baa3b7100ac537b3c95a28ac
round   1:5d3ecb17f26083df0b7f2b9b29aef87c
Key [ 1]:e9e5dfc1b3a79583e9e5dfc1b3a79583
Key [ 2]:7595bf57e0632c59f435c16697d4c864
round   2:de6fe85c5827233fe22514a16f321bd8
Key [ 3]:e31b96afcc75d286ef0ae257cbbc05b7
Key [ 4]:0d2a27b471bc0108c6263aff9d9b3b6b
round   3:7cd335b50d09d139ea6702623af85edb
added ->:211100a2ff6954e6e1e62df913a656a7
Key [ 5]:98d1eb5773cf59d75d3b17b3bc37c191
Key [ 6]:fd2b79282408ddd4ea0aa7511133336f
round   4:991dccb3201b5b1c4ceff65a3711e1e9
Key [ 7]:331227756638a41d57b0f7e071ee2a98



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [ 8]:aa0dd8cc68b406533d0f1d64aabacf20
round   5:18768c7964818805fe4c6ecae8a38599
Key [ 9]:669291b0752e63f806fce76f10e119c8
Key [10]:ef8bdd46be8ee0277e9b78adef1ec154
round   6:82f9aa127a72632af43d1a17e7bd3a09
Key [11]:f3902eb06dc409cfd78384624964bf51
Key [12]:7d72702b21f97984a721c99b0498239d
round   7:1543d7870bf2d6d6efab3cbf62dca97d
Key [13]:532e60bceaf902c52a06c2c283ecfa32
Key [14]:181715e5192efb2a64129668cf5d9dd4
round   8:eee3e8744a5f8896de95831ed837ffd5
Key [15]:83017c1434342d4290e961578790f451
Key [16]:2603532f365604646ff65803795ccce5
Key [17]:882f7c907b565ea58dae1c928a0dcf41
kc       :cc802aecc7312285912e90af6a1e1154
-----------------------------------------
rand     :950e604e655ea3800fe3eb4a28918087
aco      :68f4f472b5586ac5850f5f74
key      :34e86915d20c485090a6977931f96df5
round   1:950e604e655ea3800fe3eb4a28918087
Key [ 1]:34e86915d20c485090a6977931f96df5
Key [ 2]:8de2595003f9928efaf37e5229935bdb
round   2:d46f5a04c967f55840f83d1cdb5f9afc
Key [ 3]:46f05ec979a97cb6ddf842ecc159c04a
Key [ 4]:b468f0190a0a83783521deae8178d071
round   3:e16edede9cb6297f32e1203e442ac73a
Key [ 5]:8a171624dedbd552356094daaadcf12a
Key [ 6]:3085e07c85e4b99313f6e0c837b5f819
round   4:805144e55e1ece96683d23366fc7d24b
Key [ 7]:fe45c27845169a66b679b2097d147715
Key [ 8]:44e2f0c35f64514e8bec66c5dc24b3ad
round   5:edbaf77af070bd22e9304398471042f1
Key [ 9]:0d534968f3803b6af447eaf964007e7b
Key [10]:f5499a32504d739ed0b3c547e84157ba
round   6:0dab1a4c846aef0b65b1498812a73b50
Key [11]:e17e8e456361c46298e6592a6311f3fb
Key [12]:ec6d14da05d60e8abac807646931711f
round   7:1e7793cac7f55a8ab48bd33bc9c649e0
Key [13]:2b53dde3d89e325e5ff808ed505706ae
Key [14]:41034e5c3fb0c0d4f445f0cf23be79b0
round   8:3723768baa78b6a23ade095d995404da
Key [15]:e2ca373d405a7abf22b494f28a6fd247
Key [16]:74e09c9068c0e8f1c6902d1b70537c30
Key [17]:767a7f1acf75c3585a55dd4a428b2119
round   1:39809afb773efd1b7510cd4cb7c49f34
Key [ 1]:1d0d48d485abddd3798b483a82a0f878
Key [ 2]:aed957e600a5aed5217984dd5fef6fd8
round   2:6436ddbabe92655c87a7d0c12ae5e5f6
Key [ 3]:fee00bb0de89b6ef0a289696a4faa884
Key [ 4]:33ce2f4411db4dd9b7c42cc586b8a2ba
round   3:cec690f7e0aa5f063062301e049a5cc5
added ->:f7462a0c97e85c1d4572fd52b35efbf1



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [ 5]:b5116f5c6c29e05e4acb4d02a46a3318
Key [ 6]:ff4fa1f0f73d1a3c67bc2298abc768f9
round   4:dcdfe942e9f0163fc24a4718844b417d
Key [ 7]:5453650c0819e001e48331ad0e9076e0
Key [ 8]:b4ff8dda778e26c0dce08349b81c09a1
round   5:265a16b2f766afae396e7a98c189fda9
Key [ 9]:f638fa294427c6ed94300fd823b31d10
Key [10]:1ccfa0bd86a9879b17d4bc457e3e03d6
round   6:628576b5291d53d1eb8611c8624e863e
Key [11]:0eaee2ef4602ac9ca19e49d74a76d335
Key [12]:6e1062f10a16e0d378476da3943842e9
round   7:d7b9c2e9b2d5ea5c27019324cae882b3
Key [13]:40be960bd22c744c5b23024688e554b9
Key [14]:95c9902cb3c230b44d14ba909730d211
round   8:97fb6065498385e47eb3df6e2ca439dd
Key [15]:10d4b6e1d1d6798aa00aa2951e32d58d
Key [16]:c5d4b91444b83ee578004ab8876ba605
Key [17]:1663a4f98e2862eddd3ec2fb03dcc8a4
kc       :c1beafea6e747e304cf0bd7734b0a9e2
-----------------------------------------
rand     :6a8ebcf5e6e471505be68d5eb8a3200c
aco      :658d791a9554b77c0b2f7b9f
key      :35cf77b333c294671d426fa79993a133
round   1:6a8ebcf5e6e471505be68d5eb8a3200c
Key [ 1]:35cf77b333c294671d426fa79993a133
Key [ 2]:c4524e53b95b4bf2d7b2f095f63545fd
round   2:ade94ec585db0d27e17474b58192c87a
Key [ 3]:c99776768c6e9f9dd3835c52cea8d18a
Key [ 4]:f1295db23823ba2792f21217fc01d23f
round   3:da8dc1a10241ef9e6e069267cd2c6825
Key [ 5]:9083db95a6955235bbfad8aeefec5f0b
Key [ 6]:8bab6bc253d0d0c7e0107feab728ff68
round   4:e6665ca0772ceecbc21222ff7be074f8
Key [ 7]:2fa1f4e7a4cf3ccd876ec30d194cf196
Key [ 8]:267364be247184d5337586a19df8bf84
round   5:a857a9326c9ae908f53fee511c5f4242
Key [ 9]:9aef21965b1a6fa83948d107026134c7
Key [10]:d2080c751def5dc0d8ea353cebf7b973
round   6:6678748a1b5f21ac05cf1b117a7c342f
Key [11]:d709a8ab70b0d5a2516900421024b81e
Key [12]:493e4843805f1058d605c8d1025f8a56
round   7:766c66fe9c460bb2ae39ec01e435f725
Key [13]:b1ed21b71daea03f49fe74b2c11fc02b
Key [14]:0e1ded7ebf23c72324a0165a698c65c7
round   8:396e0ff7b2b9b7a3b35c9810882c7596
Key [15]:b3bf4841dc92f440fde5f024f9ce8be9
Key [16]:1c69bc6c2994f4c84f72be8f6b188963
Key [17]:bb7b66286dd679a471e2792270f3bb4d
round   1:45654f2f26549675287200f07cb10ec9
Key [ 1]:1e2a5672e66529e4f427b0682a3a34b6
Key [ 2]:974944f1ce0037b1febcf61a2bc961a2
round   2:990cd869c534e76ed4f4af7b3bfbc6c8



Encryption Key Sample Data                                  06 December 2016
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Sample Data

Key [ 3]:8147631fb1ce95d624b480fc7389f6c4
Key [ 4]:6e90a2db33d284aa13135f3c032aa4f4
round   3:ceb662f875aa6b94e8192b5989abf975
added ->:8b1bb1d753fe01e1c08b2ba9f55c07bc
Key [ 5]:cbad246d24e36741c46401e6387a05f9
Key [ 6]:dcf52aaec5713110345a41342c566fc8
round   4:d4e000be5de78c0f56ff218f3c1df61b
Key [ 7]:8197537aa9d27e67d17c16b182c8ec65
Key [ 8]:d66e00e73d835927a307a3ed79d035d8
round   5:9a4603bdef954cfaade2052604bed4e4
Key [ 9]:71d46257ecc1022bcd312ce6c114d75c
Key [10]:f91212fa528379651fbd2c32890c5e5f
round   6:09a0fd197ab81eb933eece2fe0132dbb
Key [11]:283acc551591fadce821b02fb9491814
Key [12]:ca5f95688788e20d94822f162b5a3920
round   7:494f455a2e7a5db861ece816d4e363e4
Key [13]:ba574aef663c462d35399efb999d0e40
Key [14]:6267afc834513783fef1601955fe0628
round   8:37a819f91c8380fb7880e640e99ca947
Key [15]:fdcd9be5450eef0f8737e6838cd38e2b
Key [16]:8cfbd9b8056c6a1ce222b92b94319b38
Key [17]:4f64c1072c891c39eeb95e63318462e0
kc       :a3032b4df1cceba8adc1a04427224299
-----------------------------------------
rand     :5ecd6d75db322c75b6afbd799cb18668
aco      :63f701c7013238bbf88714ee
key      :b9f90c53206792b1826838b435b87d4d
round   1:5ecd6d75db322c75b6afbd799cb18668
Key [ 1]:b9f90c53206792b1826838b435b87d4d
Key [ 2]:15f74bbbde4b9d1e08f858721f131669
round   2:72abb85fc80c15ec2b00d72873ef9ad4
Key [ 3]:ef7fb29f0b01f82706c7439cc52f2dab
Key [ 4]:3003a6aecdee06b9ac295cce30dcdb93
round   3:2f10bab93a0f73742183c68f712dfa24
Key [ 5]:5fcdbb3afdf7df06754c954fc6340254
Key [ 6]:ddaa90756635579573fe8ca1f93d4a38
round   4:183b145312fd99d5ad08e7ca4a52f04e
Key [ 7]:27ca8a7fc703aa61f6d7791fc19f704a
Key [ 8]:702029d8c6e42950762317e730ec5d18
round   5:cbad52d3a026b2e38b9ae6fefffecc32
Key [ 9]:ff15eaa3f73f4bc2a6ccfb9ca24ed9c5
Key [10]:034e745246cd2e2cfc3bda39531ca9c5
round   6:ce5f159d0a1acaacd9fb4643272033a7
Key [11]:0a4d8ff5673731c3dc8fe87e39a34b77
Key [12]:637592fab43a19ac0044a21afef455a2
round   7:8a49424a10c0bea5aba52dbbffcbcce8
Key [13]:6b3fde58f4f6438843cdbe92667622b8
Key [14]:a10bfa35013812f39bf2157f1c9fca4e
round   8:f5e12da0e93e26a5850251697ec0b917
Key [15]:2228fe5384e573f48fdd19ba91f1bf57
Key [16]:5f174db2bc88925c0fbc6b5485bafc08
Key [17]:28ff90bd0dc31ea2bb479feb7d8fe029



Encryption Key Sample Data                                  06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data

round   1:0c75eed2b54c1cfb9ff522daef94ed4d
Key [ 1]:a21ceb92d3c027326b4de775865fe8d0
Key [ 2]:26f64558a9f0a1652f765efd546f3208
round   2:48d537ac209a6aa07b70000016c602e8
Key [ 3]:e64f9ef630213260f1f79745a0102ae5
Key [ 4]:af6a59d7cebfd0182dcca9a537c4add8
round   3:8b6d517ac893743a401b3fb7911b64e1
added ->:87e23fa87ddf90c1df10616d7eaf51ac
Key [ 5]:9a6304428b45da128ab64c8805c32452
Key [ 6]:8af4d1e9d80cb73ec6b44e9b6e4f39d8
round   4:9f0512260a2f7a5067efc35bf1706831
Key [ 7]:79cc2d138606f0fca4e549c34a1e6d19
Key [ 8]:803dc5cdde0efdbee7a1342b2cd4d344
round   5:0cfd7856edfafac51f29e86365de6f57
Key [ 9]:e8fa996448e6b6459ab51e7be101325a
Key [10]:2acc7add7b294acb444cd933f0e74ec9
round   6:2f1fa34bf352dc77c0983a01e8b7d622
Key [11]:f57de39e42182efd6586b86a90c86bb1
Key [12]:e418dfd1bb22ebf1bfc309cd27f5266c
round   7:ee4f7a53849bf73a747065d35f3752b1
Key [13]:80a9959133856586370854db6e0470b3
Key [14]:f4c1bc2f764a0193749f5fc09011a1ae
round   8:8fec6f7249760ebf69e370e9a4b80a92
Key [15]:d036cef70d6470c3f52f1b5d25b0c29d
Key [16]:d0956af6b8700888a1cc88f07ad226dc
Key [17]:1ce8b39c4c7677373c30849a3ee08794
kc       :ea520cfc546b00eb7c3a6cea3ecb39ed


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Encryption Key Sample Data                                  06 December 2016
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Sample Data


11 CONNECTIONLESS SLAVE BROADCAST SAMPLE
   DATA

This section contains an example of the DM3 packet used for the
synchronization train (see [Vol 2] Part B, Section 8.11.2).


Packet header: (MSB...LSB)
--------------------------
LT_ADDR = 0
TYPE = 1010 (DM3)
FLOW = 0
ARQN = 0
SEQN = 0

Payload:
--------
logical channel = 10 (binary) (L2CAP start or no fragmentation)
payload length = 28 bytes
flow = 0
current CLK = 0x2345678
next connectionless slave broadcast instant = 0x23457a0
AFH channel map = all channels used except 16 and 42 to 47
master BD_ADDR = NAP 0xACDE, UAP 0x48, LAP 0x610316
connectionless slave broadcast interval = 564 slots
connectionless slave broadcast LT_ADDR = 1
service data = 0x69


AIR DATA

Packet header (including HEC, in transmitted bit order):
--------------------------------------------------------
000000000
000111000111
000
000
000
111111111000000000000111

Payload
-------
The data forming the payload consists of the following 32 octets
(given in hexadecimal) in the order transmitted:

e2   00
78   56   34   02
d0   2b   1a   01
ff   ff   fe   ff ff 03 ff ff ff 7f
16   03   61   48 de ac
34   02
01
69
f2   85


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Sample Data



The bit sequence transmitted (including FEC) will therefore begin:

0100011100 01001
0000000001 10101
1110011010 11011

and end:

0100111110 10001
1000010000 00011




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    Core System Package [BR/EDR Controller volume]
                                                               Part H




 PART H: SECURITY SPECIFICATION




                          This document describes the
                          specification of the security system
                          which may be used at the link layer.
                          The Encryption, Authentication and
                          Key Generation schemes are specified.
                          The requirements for the supporting
                          process of random number generation
                          are also specified.




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1 SECURITY OVERVIEW

Bluetooth wireless technology provides peer-to-peer communications over
short distances. In order to provide usage protection and information
confidentiality, the system provides security measures both at the application
layer and the link layer. These measures are designed to be appropriate for a
peer environment.

This means that in each device, the authentication and encryption routines are
implemented in the same way.

The security mechanisms used in BR/EDR have evolved over the course of
multiple Core Specifications in three phases: legacy, Secure Simple Pairing,
and Secure Connections. The encryption, authentication and key generation
algorithms associated with each is shown in Table 1.1.

 Security Mechanism       Legacy          Secure Simple Pairing     Secure Connections

 Encryption               E0              E0                        AES-CCM
 Authentication           SAFER+          SAFER+                    HMAC-SHA256
 Key Generation           SAFER+          P-192 ECDH                P-256 ECDH
                                          HMAC-SHA-256              HMAC-SHA-256
Table 1.1: Security algorithms

The legacy encryption, authentication and key generation algorithms are
described in Section 3 to 6. The algorithms used for Secure Simple Pairing and
Secure Connections are described in Section 7 to 9.

Four different entities are used for maintaining security at the link layer: a
Bluetooth device address, two secret keys, and a pseudo-random number that
shall be regenerated for each new transaction. The four entities and their sizes
are summarized in Table 1.2.

 Entity                                         Size

 BD_ADDR                                        48 bits

 Private user key, authentication               128 bits
 Private user key, encryption                   8-128 bits
 configurable length (byte-wise)
 RAND                                           128 bits

Table 1.2: Entities used in authentication and encryption procedures.

The Bluetooth device address (BD_ADDR) is the 48-bit address. The
BD_ADDR can be obtained via user interactions, or, automatically, via an
inquiry routine by a device.


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The secret keys are derived during initialization and are never disclosed. The
encryption key is derived from the authentication key during the authentication
process. For the authentication algorithm, the size of the key used is always
128 bits. For the encryption algorithm, the key size may vary between 1 and 16
octets (8 - 128 bits). The size of the encryption key is configurable for two
reasons. The first has to do with the many different requirements imposed on
cryptographic algorithms in different countries − both with respect to export
regulations and official attitudes towards privacy in general. The second reason
is to facilitate a future upgrade path for the security without the need of a costly
redesign of the algorithms and encryption hardware; increasing the effective
key size is the simplest way to combat increased computing power at the
opponent side.

The encryption key is entirely different from the authentication key. Each time
encryption is activated, a new encryption key shall be generated. Thus, the
lifetime of the encryption key does not necessarily correspond to the lifetime of
the authentication key.

It is anticipated that the authentication key will be more static in its nature than
the encryption key − once established, the particular application running on the
device decides when, or if, to change it. To underline the fundamental
importance of the authentication key to a specific link, it is often referred to as
the link key.

The RAND is a pseudo-random number which can be derived from a random
or pseudo-random process in the device. This is not a static parameter and will
change frequently.

In the remainder of this chapter, the terms user and application are used
interchangeably to designate the entity that is at either side.

1.1 PAUSING ENCRYPTION AND ROLE SWITCH
To perform a role switch on a connection encryption must be disabled or
paused as the encryption is based off the master's clock and Bluetooth address
information. Unfortunately, if the role switch is required, and encryption is
turned off, the device on the other end of the link will not be aware of the
reason for disabling encryption, and can therefore take two possible actions:
send clear text data, or disconnect. Neither of these possible actions is
desirable. When performing a role switch on an encrypted link, the role switch
shall be performed as a single operation where possible. If this is not possible
because the other device does not support the encryption pause feature, then
when a device wishes to have an encrypted link, and encryption is disabled,
then the device should not send any user data, and should not disconnect. If
both devices support the encryption pause feature, then this procedure shall be
used.




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1.2 CHANGE CONNECTION LINK KEYS
It is possible to perform a change of connection link keys while a link is
encrypted, but it is not possible to use the new link keys until encryption has
been stopped and then restarted. As with role switches, disabling encryption
and then re-enabling it again can cause user data to be sent in the clear or a
disconnection to occur. The use of encryption pausing prevents this problem
from occurring. On devices that do not support the encryption pause feature,
when a device wishes to have an encrypted link, and encryption is disabled,
then the device should not send any data, and should not disconnect. If both
devices support the encryption pause feature, then this procedure shall be
used.

1.3 PERIODICALLY REFRESHING ENCRYPTION KEYS
If both devices support the encryption pause feature, then the encryption keys
shall be refreshed by the Link Manager at least once every 228 Bluetooth
Clocks (about 23.3 hours) when E0 encryption is used and before the
PayloadCounter or dayCounter roll over (at least 238 Bluetooth Clocks or at
least 2.72 years) when AES-CCM encryption is used if it is not refreshed by the
Host or the remote Link Manager. To refresh an encryption key, the Host may
use the Change Connection Link Key procedure or request an encryption key
refresh. If the encryption key has not been refreshed before going stale, a
device may disconnect the link.




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2 RANDOM NUMBER GENERATION

Each device has a pseudo-random number generator. Pseudo-random numbers
are used for many purposes within the security functions − for instance, for the
challenge-response scheme, for generating authentication and encryption keys,
nonces used in Simple Pairing, for Passkeys used in authentication. A device
shall use a pseudo random number generator compliant with [FIPS PUB 140-2]
(http://csrc.nist.gov/publications/fips/fips140-2/fips1402annexc.pdf).

An example of a possible random generator is provided in [FIPS PUB 186-2]
Appendix 3.1 (http://dx.doi.org/10.6028/NIST.FIPS.186-4), which can be used
by replacing SHA-1 function with the SHA-256 function.

The device shall use a seed with at least the minimum entropy required by the
pseudo random number generator.

The random number generator shall be tested against the [FIPS SP800-22]
(http://csrc.nist.gov/publications/nistpubs/800-22-rev1a/SP800-22rev1a.pdf).
This encompasses the verification of the following statistical tests performed on
the output of the PRNG as specified by the [FIPS SP800-22]:

      1.     The Frequency (Monobit) Test
      2.     Frequency Test within a Block
      3.     The Runs Test
      4.     Test for the Longest-Run-of-Ones in a Block
      5.     The Binary Matrix Rank Test
      6.     The Discrete Fourier Transform (Spectral) Test
      7.     The Non-overlapping Template Matching Test
      8.     The Overlapping Template Matching Test
      9.     Maurer's "Universal Statistical" Test
      10.    The Linear Complexity Test
      11.    The Serial Test
      12.    The Approximate Entropy Test
      13.    The Cumulative Sums (Cusums) Test
      14.    The Random Excursions Test
      15.    The Random Excursions Variant Test

These tests are part of standard statistical mathematical packages. Some test
suites, like the Diehard test suite can be used to verify the compliance.
Alternatively, other tools, such as the DieHarder (http://www.phy.duke.edu/
~rgb/General/rand_rate.php) or the available NIST tools (http://csrc.nist.gov/
groups/ST/toolkit/random_number.html) and the corresponding
recommendations
(http://csrc.nist.gov/publications/nistpubs/800-22-rev1/SP800-22rev1.pdf) may
also be used.

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3 KEY MANAGEMENT

It is important that the encryption key size within a specific device cannot be set
by the user − this should be a factory preset entity. In order to prevent the user
from over-riding the permitted key size, the Bluetooth baseband processing
shall not accept an encryption key given from higher software layers.
Whenever a new encryption key is required, it shall be created as defined in
Section 6.4.

Changing a link key shall also be done through the defined baseband
procedures. Depending on what kind of link key it is, different approaches are
required. The details are found in Section 3.2.7.

3.1 KEY TYPES
The link key is a 128-bit random number which is shared between two or more
parties and is the base for all security transactions between these parties. The
link key itself is used in the authentication routine. Moreover, the link key is
used as one of the parameters when the encryption key is derived.

In the following, a session is defined as the time interval for which the device is
a member of a particular piconet. Thus, the session terminates when the
device disconnects from the piconet.

The link keys are either semi-permanent or temporary. A semi-permanent link
key may be stored in non-volatile memory and may be used after the current
session is terminated. Consequently, once a semi-permanent link key is
defined, it may be used in the authentication of several subsequent
connections between the devices sharing it. The designation semi-permanent
is justified by the possibility of changing it. How to do this is described in
Section 3.2.7.

The lifetime of a temporary link key is limited by the lifetime of the current
session − it shall not be reused in a later session. Typically, in a point-to-
multipoint configuration where the same information is to be distributed
securely to several recipients, a common encryption key is useful. To achieve
this, a special link key (denoted master key) may temporarily replace the
current link keys. The details of this procedure are found in Section 3.2.6.

In the following, the current link key is the link key in use at the current moment.
It can be semi-permanent or temporary. Thus, the current link key is used for all
authentications and all generation of encryption keys in the on-going
connection (session).




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In order to accommodate different types of applications, four types of link keys
have been defined:
• the combination key KAB
• the unit key KA
• the temporary key Kmaster
• the initialization key Kinit

Note: The use of unit keys is deprecated since it is implicitly insecure.

In addition to these keys there is an encryption key, denoted Kc. This key is
derived from the current link key. Whenever encryption is activated by an LM
command, the encryption key shall be changed automatically. The purpose of
separating the authentication key and encryption key is to facilitate the use of a
shorter encryption key without weakening the strength of the authentication
procedure. There are no governmental restrictions on the strength of
authentication algorithms. However, in some countries, such restrictions exist
on the strength of encryption algorithms.

The combination key KAB and the unit key KA are functionally indistinguishable;
the difference is in the way they are generated. The unit key KA is generated in,
and therefore dependent on, a single device A. The unit key shall be generated
once at installation of the device; thereafter, it is very rarely changed. The
combination key is derived from information in both devices A and B, and is
therefore always dependent on two devices. The combination key is derived for
each new combination of two devices.

It depends on the application or the device whether a unit key or a combination
key is used. Devices which have little memory to store keys, or are installed in
equipment that will be accessible to a large group of users, should use their
own unit key. In that case, they only have to store a single key. Applications
that require a higher security level should use the combination keys. These
applications will require more memory since a combination key for each link to
a different device has to be stored.

The master key, Kmaster, shall only be used during the current session. It shall
only replace the original link key temporarily. For example, this may be utilized
when a master wants to reach more than two devices simultaneously using the
same encryption key, see Section 3.2.6.

The initialization key, Kinit, shall be used as the link key during the initialization
process when no combination or unit keys have been defined and exchanged
yet or when a link key has been lost. The initialization key protects the transfer of
initialization parameters. The key is derived from a random number, an L-octet
PIN code, and a BD_ADDR. This key shall only be used during initialization.

The PIN may be a fixed number provided with the device (for example when
there is no user interface as in a PSTN plug). Alternatively, the PIN can be

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selected by the user, and then entered in both devices that are to be matched.
The latter procedure should be used when both devices have a user interface,
for example a phone and a laptop. Entering a PIN in both devices is more
secure than using a fixed PIN in one of the devices, and should be used
whenever possible. Even if a fixed PIN is used, it shall be possible to change
the PIN; this is in order to prevent re-initialization by users who once obtained
the PIN. If no PIN is available, a default value of zero may be used. The length
of this default PIN is one byte, PIN (default) = 0x00. This default PIN may be
provided by the Host.
For many applications the PIN code will be a relatively short string of numbers.
Typically, it may consist of only four decimal digits. Even though this gives
sufficient security in many cases, there exist countless other, more sensitive,
situations where this is not reliable enough. Therefore, the PIN code may be
chosen to be any length from 1 to 16 octets. For the longer lengths, the devices
exchanging PIN codes may use software at the application layer rather than
mechanical (i.e. human) interaction. For example, this can be a Diffie-Hellman
key agreement, where the exchanged key is passed on to the K init generation
process in both devices, just as in the case of a shorter PIN code.

3.2 KEY GENERATION AND INITIALIZATION
The link keys must be generated and distributed among the devices in order to
be used in the authentication procedure. Since the link keys shall be secret,
they shall not be obtainable through an inquiry routine in the same way as the
Bluetooth device addresses. The exchange of the keys takes place during an
initialization phase which shall be carried out separately for each two devices
that are using authentication and encryption. The initialization procedures
consist of the following five parts:
• generation of an initialization key
• generation of link key
• link key exchange
• authentication
• generation of encryption key in each device (optional)
After the initialization procedure, the devices can proceed to communicate, or
the link can be disconnected. If encryption is implemented, the E0 algorithm
shall be used with the proper encryption key derived from the current link key.
For any new connection established between devices A and B, they should use
the common link key for authentication, instead of once more deriving Kinit from
the PIN. A new encryption key derived from that particular link key shall be
created next time encryption is activated.
If no link key is available, the LM shall automatically start an initialization
procedure.




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3.2.1 Generation of Initialization Key, K init

A link key is used temporarily during initialization, the initialization key K init .
This key shall be derived by the E 22 algorithm from a BD_ADDR, a PIN code,
the length of the PIN (in octets), and a random number IN_RAND. The principle is
depicted in Figure 6.4. The 128-bit output from E 22 shall be used for key
exchange during the generation of a link key. When the devices have
performed the link key exchange, the initialization key shall be discarded.

When the initialization key is generated, the PIN is augmented with the
BD_ADDR. If one device has a fixed PIN the BD_ADDR of the other device
shall be used. If both devices have a variable PIN the BD_ADDR of the device
that received IN_RAND shall be used. If both devices have a fixed PIN they
cannot be paired. Since the maximum length of the PIN used in the algorithm
cannot exceed 16 octets, it is possible that not all octets of BD_ADDR will be
used. This procedure ensures that K init depends on the identity of the device
with a variable PIN. A fraudulent device may try to test a large number of PINs
by claiming another BD_ADDR each time. It is the application’s responsibility
to take countermeasures against this threat. If the device address is kept fixed,
the waiting interval before the next try may be increased exponentially (see
Section 5.1).

The details of the E 22 algorithm can be found in Section 6.3.

3.2.2 Authentication

The legacy authentication procedure shall be carried out as described in
Section 5. During each legacy authentication, a new AU_RANDA shall be issued.

For legacy authentication, mutual authentication is achieved by first performing
the authentication procedure in one direction and then immediately performing
the authentication procedure in the opposite direction.

The secure authentication procedure is always a mutual authentication. Secure
authentication shall be carried out as described in Section 7.7.8. During each
secure authentication, new AU_RAND_M and AU_RAND_S shall be used.

As a side effect of a successful authentication procedure an auxiliary
parameter, the Authenticated Ciphering Offset (ACO), will be computed. The
ACO shall be used for ciphering key generation as described in Section 3.2.5.

The claimant/verifier status is determined by the LM.

3.2.3 Generation of a Unit Key

A unit key K A shall be generated when the device is in operation for the first time;
i.e. not during each initialization. The unit key shall be generated by the E 21
algorithm as described in Section 6.3. Once created, the unit key should be
stored in non-volatile memory and very rarely changed. If after initialization the

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unit key is changed, any previously initialized devices will possess a wrong link
key. At initialization, the application must determine which of the two parties will
provide the unit key as the link key. Typically, this will be the device with restricted
memory capabilities, since this device only has to remember its own unit key.
The unit key shall be transferred to the other party and then stored as the link key
for that particular party. So, for example in Figure 3.1, the unit key of device A,
K A , is being used as the link key for the connection A-B; device A sends the unit
key K A to device B; device B will store K A as the link key K BA . For another
initialization, for example with device C, device A will reuse its unit key K A ,
whereas device C stores it as K CA .


              UNIT A                                                     UNIT B

                  Kinit                                              K
                                                                      init


       KA                                                                         KBA = KA



Figure 3.1: Generation of unit key. When the unit key has been exchanged, the initialization key is
discarded in both devices.


3.2.4 Generation of a Combination Key

To use a combination key, it is first generated during the initialization
procedure. The combination key is the combination of two numbers generated
in device A and B, respectively. First, each device shall generate a random
number, LK_RANDA and LK_RANDB. Then, utilizing E 21 with the random number
and their own BD_ADDRs, the two random numbers

                          LK_K A = E 21(LK_RAND A, BD_ADDR A),                                (EQ 1)

and

                          LK_K B = E 21(LK_RAND B, BD_ADDR B),                                (EQ 2)

shall be created in device A and device B, respectively. These numbers
constitute the devices’ contribution to the combination key that is to be created.
Then, the two random numbers LK_RANDA and LK_RANDB shall be exchanged
securely by XORing with the current link key, K . Thus, device A shall send
K ⊕ LK_RAND A to device B, while device B shall send K ⊕ LK_RAND B to device
A. If this is done during the initialization phase the link key K = K init .

When the random numbers LK_RAND A and LK_RAND B have been mutually
exchanged, each device shall recalculate the other device’s contribution to the
combination key. This is possible since each device knows the Bluetooth
device address of the other device. Thus, device A shall calculate (EQ 2) and
device B shall calculate (EQ 1). After this, both devices shall combine the two


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numbers to generate the 128-bit link key. The combining operation is a simple
bitwise modulo-2 addition (i.e. XOR). The result shall be stored in device A as
the link key K AB and in device B as the link key K BA . When both devices have
derived the new combination key, a mutual authentication procedure shall be
initiated to confirm the success of the transaction. The old link key shall be
discarded after a successful exchange of a new combination key. The
message flow between master and slave and the principle for creating the
combination key is depicted in Figure 3.2.

                                      Unit A           Unit B

  LK_K A = E 21(LK_RAND A, BD_ADDR A)                       LK_K B = E 21(LK_RAND B, BD_ADDR B)
                  C A = LK_RAND A ⊕ K                       C B = LK_RAND B ⊕ K
                                               CA

                                                CB

                  LK_RAND B = C B ⊕ K                       LK_RAND A = C A ⊕ K
  LK_K B = E 21(LK_RAND B, BD_ADDR B)                       LK_K A = E 21(LK_RAND A, BD_ADDR A)
                 K AB = LK_K A ⊕ LK_K B                     K BA = LK_K A ⊕ LK_K B = K AB

                                           Authentication



Figure 3.2: Generating a combination key. The old link key (K) is discarded after the exchange of a
new combination key has succeeded


3.2.5 Generating the Encryption Key

The encryption key, K C , is derived by algorithm E 3 from the current link key, a
96-bit Ciphering OFfset number (COF), and a 128-bit random number. The
COF is determined in one of two ways. If the current link key is a master key,
then COF shall be derived from the master BD_ADDR. Otherwise the value of
COF shall be set to the value of ACO as computed during the authentication
procedure. Therefore:1

                 
           COF =  BD_ADDR ∪ BD_ADDR, if link key is a master key                                  (EQ 3)
                  ACO,               otherwise.

There is an explicit call of E 3 when the LM activates encryption. Consequently,
the encryption key is automatically changed each time the device enters
encryption mode. The details of the key generating function E 3 can be found in
Section 6.4.




1. x ∪ y denotes the concatenation of x and y .


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3.2.6 Point-to-Multipoint Configuration

It is possible for the master to use separate encryption keys for each slave in a
point-to-multipoint configuration with ciphering activated. Then, if the
application requires more than one slave to listen to the same payload, each
slave must be addressed individually. This can cause unwanted capacity loss
for the piconet. Moreover, a slave might not be capable of switching between
two or more encryption keys in real time (e.g., after looking at the LT_ADDR in
the header). Thus, the master cannot use different encryption keys for
broadcast messages and individually addressed traffic. Therefore, the master
may tell several slave devices to use a common link key (and, hence, indirectly
also to use a common encryption key) and may then broadcast the information
encrypted. For many applications, this key is only of temporary interest. In the
following discussion, this key is denoted by K master .

The transfer of necessary parameters shall be protected by the routine
described in Section 3.2.8. After the confirmation of successful reception in
each slave, the master shall issue a command to the slaves to replace their
respective current link key by the new (temporary) master key. Before
encryption can be activated, the master shall also generate and distribute a
common EN_RAND to all participating slaves. Using this random number and
the newly derived master key, each slave shall generate a new encryption key.

Note that the master must negotiate the encryption key length to use
individually with each slave that will use the master key. If the master has
already negotiated with some of these slaves, it has knowledge of the sizes
that can be accepted. There may be situations where the permitted key lengths
of some devices are incompatible. In that case, the master must exclude the
limiting device from the group.

When all slaves have received the necessary data, the master can
communicate information on the piconet securely using the encryption key
derived from the new temporary link key. Each slave in possession of the
master key can eavesdrop on all encrypted traffic, not only the traffic intended
for itself. The master may tell all participants to fall back to their old link keys
simultaneously.

3.2.7 Modifying the Link Keys

A link key based on a unit key can be changed. The unit key is created once
during first use. Typically, the link key should be changed rather than the unit
key, as several devices may share the same unit key as link key (e.g. a printer
whose unit key is distributed to all users using the printer’s unit key as link key).
Changing the unit key will require re-initialization of all devices connecting.
Changing the unit key can be justified in some circumstances, e.g. to deny
access to all previously allowed devices.

If the key change concerns combination keys, then the procedure is
straightforward. The change procedure is identical to the procedure described

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in Figure 3.2, using the current value of the combination key as link key. This
procedure can be carried out at any time after the authentication and
encryption start. Since the combination key corresponds to a single link, it can
be modified each time this link is established. This will improve the security of
the system since then old keys lose their validity after each session.

Starting up an entirely new initialization procedure is also possible. In that case,
user interaction is necessary since a PIN will be required in the authentication
and encryption procedures.

3.2.8 Generating a Master Key

The key-change routines described so far are semi-permanent. To create the
master link key, which can replace the current link key during a session (see
Section 3.2.6), other means are needed. First, the master shall create a new
link key from two 128-bit random numbers, RAND1 and RAND2. This shall be
done by

                         K master = E 22(RAND1, RAND2, 16).                        (EQ 4)

This key is a 128-bit random number. The reason for using the output of E 22
and not directly choosing a random number as the key, is to avoid possible
problems with degraded randomness due to a poor implementation of the
random number generator within the device.

Then, a third random number, RAND, shall be transmitted to the slave. Using
E 22 with the current link key and RAND as inputs, both the master and the
slave shall compute a 128-bit overlay. The master shall send the bitwise XOR
of the overlay and the new link key to the slave. The slave, who knows the
overlay, shall recalculate K master . To confirm the success of this transaction, the
devices shall perform a mutual authentication procedure using the new link
key. This procedure shall then be repeated for each slave that receives the
new link key. The ACO values from the authentications shall not replace the
current ACO, as this ACO is needed to (re)compute a ciphering key when the
master falls back to the previous (non-temporary) link key.

The master activates encryption by an LM command. Before activating
encryption, the master shall ensure that all slaves receive the same random
number, EN_RAND, since the encryption key is derived through the means of
E 3 individually in all participating devices. Each slave shall compute a new
encryption key as follows:

                         K C = E 3(K master, EN_RAND, COF)                         (EQ 5)

where the value of COF shall be derived from the master’s BD_ADDR as
specified by equation (EQ 3). The details of the encryption key generating
function are described in Section 6.4. The message flow between the master
and the slave when generating the master key is depicted in Figure 3.3. Note



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that in this case the ACO produced during the authentication is not used when
computing the ciphering key.

                                      Master                    Slave
        K master = E 22(RAND1, RAND2, 16)
                                                   RAND
                 OVL = E 22(K, RAND, 16)                          OVL = E 22(K, RAND, 16)
                     C = OVL ⊕ K master
                                                     C

                                                                  K master = OVL ⊕ C

                                               Authentication




Figure 3.3: Master link key distribution and computation of the corresponding encryption key.




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4 ENCRYPTION (E0)

User information can be protected by encryption of the packet payload; the
access code and the packet header shall never be encrypted. The encryption
of the payload shall be carried out with a stream cipher called E0 that shall be
re-synchronized for every payload. The overall principle is shown in Figure 4.1.

The stream cipher system E0 shall consist of three parts:
• the first part performs initialization (generation of the payload key). The
  payload key generator shall combine the input bits in an appropriate order
  and shall shift them into the four LFSRs used in the key stream generator.
• the second part generates the key stream bits and shall use a method
  derived from the summation stream cipher generator attributable to Massey
  and Rueppel. The second part is the main part of the cipher system, as it will
  also be used for initialization.
• the third part performs encryption and decryption.



         Kc                             payload key
                                                               plain text/cipher text
         address
                     payload key                 Key stream      z
         clock                                    generator
                         generator
         RAND
                                                              cipher text/ plain text



Figure 4.1: Stream ciphering for Bluetooth with E0.


4.1 ENCRYPTION KEY SIZE NEGOTIATION
Each device implementing the baseband specification shall have a parameter
defining the maximal allowed key length, L max, 1 ≤ L max ≤ 16 (number of octets in
the key). For each application using encryption, a number L min shall be defined
indicating the smallest acceptable key size for that particular application.
Before generating the encryption key, the devices involved shall negotiate to
decide the key size to use.

The master shall send a suggested value, L sug     ( M ) , to the slave. Initially, the

suggested value shall be set to L max . If L min ≤ L sug
                                    ( M )    ( S )       ( M ) , and, the slave supports the

suggested length, the slave shall acknowledge and this value shall be the
length of the encryption key for this link. However, if both conditions are not
fulfilled, the slave shall send a new proposal, L sug    ( S ) < L ( M ) , to the master. This
                                                                  sug
value shall be the largest among all supported lengths less than the previous
master suggestion. Then, the master shall perform the corresponding test on

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the slave suggestion. This procedure shall be repeated until a key length
agreement is reached, or, one device aborts the negotiation. An abort may be
caused by lack of support for L sug and all smaller key lengths, or if L sug < L min in
one of the devices. In case of an abort link encryption cannot be employed.

The possibility of a failure in setting up a secure link is an unavoidable
consequence of letting the application decide whether to accept or reject a
suggested key size. However, this is a necessary precaution. Otherwise a
fraudulent device could enforce a weak protection on a link by claiming a small
maximum key size.

4.2 ENCRYPTION OF BROADCAST MESSAGES
There may be three settings for the baseband regarding encryption:
1. No encryption.
   This is the default setting. No messages are encrypted
2. Point-to-point only encryption.
   Broadcast messages are not encrypted. This may be enabled either during
   the connection establishment procedure or after the connection has been
   established.
3. Point-to-point and broadcast encryption.
   All messages are encrypted. This may be enabled after the connection has
   been established only. This setting should not be enabled unless all affected
   links share the same master link key as well as the same EN_RAND value,
   both used in generating the encryption key.

4.3 ENCRYPTION CONCEPT

 Broadcast traffic              Individually addressed traffic

 No encryption                  No encryption
 No encryption                  Encryption, K master

 Encryption, K master           Encryption, K master

Table 4.1: Possible encryption modes for a slave in possession of a master key.

For the encryption routine, a stream cipher algorithm is used in which ciphering
bits are bit-wise modulo-2 added to the data stream to be sent over the air
interface. The payload is ciphered after the CRC bits are appended, but, prior
to the FEC encoding.

Each packet payload shall be ciphered separately. The cipher algorithm E 0
uses the master Bluetooth device address (BD_ADDR), 26 bits of the master
real-time clock (CLK 26-1) and the encryption key K C as input, see Figure 4.2
(where it is assumed that device A is the master).


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The encryption key KC is derived from the current link key, COF, and a random
number, EN_RANDA (see Section 6.4). The random number shall be issued by
the master before entering encryption mode. Note that EN_RANDA is publicly
known since it is transmitted as plain text over the air.

Within the E 0 algorithm, the encryption key K C is modified into another key
denoted K′ C . The maximum effective size of this key shall be factory preset
and may be set to any multiple of eight between one and sixteen (8-128 bits).
The procedure for deriving the key is described in Section 4.5.

The real-time clock is incremented for each slot. The E 0 algorithm shall be re-
initialized at the start of each new packet (i.e. for Master-to-Slave as well as for
Slave-to-Master transmission). By using CLK26-1 at least one bit is changed
between two transmissions. Thus, a new keystream is generated after each re-
initialization. For packets covering more than a single slot, the Bluetooth clock
as found in the first slot shall be used for the entire packet.

The encryption algorithm E 0 generates a binary keystream, K cipher , which shall
be modulo-2 added to the data to be encrypted. The cipher is symmetric;
decryption shall be performed in exactly the same way using the same key as
used for encryption.


            Device A (master)                                             Device B
                                          EN_RANDA

        BD_ADDRA                                                 BD_ADDRA
                          E0                                                         E0
        clockA                                                   clockA
        Kc                                                       Kc


                          Kcipher                                                    Kcipher


         dataA-B
                                               data
         dataB-A


Figure 4.2: Functional description of the encryption procedure


4.4 ENCRYPTION ALGORITHM
The system uses linear feedback shift registers (LFSRs) whose output is
combined by a simple finite state machine (called the summation combiner)
with 16 states. The output of this state machine is the key stream sequence, or,
during initialization phase, the randomized initial start value. The algorithm



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uses an encryption key K C , a 48-bit Bluetooth address, the master clock bits
CLK26-1, and a 128-bit RAND value. Figure 4.3 shows the setup.

There are four LFSRs (LFSR1,...,LFSR4) of lengths L 1 = 25 , L 2 = 31 , L 3 = 33 ,
and, L 4 = 39 , with feedback polynomials as specified in Table 4.2. The total
length of the registers is 128. These polynomials are all primitive. The
Hamming weight of all the feedback polynomials is chosen to be five − a
reasonable trade-off between reducing the number of required XOR gates in
the hardware implementation and obtaining good statistical properties of the
generated sequences.


                                        Summation Combiner Logic
                       LFSR1                    x1t
 initial values




                       LFSR2                    x2t

                       LFSR3                    x3t
                                                          XOR                  Encryption Stream Zt
                       LFSR4                    x4t
                                                c0t
                                                                                                        blend

                                                              1
                                                                                   z-1
                                                                           2
                                                                      ct                     T1


                                               x1t
                                                                                   z-1       T2
                                                                                                             2               ct+1
                                               x2t                                                                XOR
                                               x3t        +                                           st+1
                                                                                                             2

                                                                                                             2
                                                                                                                         2


                                               x4t
                                                                  3
                                                                               +         3
                                                                                             /2   2

                                                                      yt


Figure 4.3: Concept of the encryption engine.




   i              Li      feedback f i(t)                                      weight

 1                25      t 25 + t 20 + t 12 + t 8 + 1                         5

 2                31      t 31 + t 24 + t 16 + t 12 + 1                        5

 3                33      t 33 + t 28 + t 24 + t 4 + 1                         5

 4                39      t 39 + t 36 + t 28 + t 4 + 1                         5

Table 4.2: The four primitive feedback polynomials.

Let x ti denote the t th symbol of LFSRi. The value y t is derived from the four-
tuple x t1, …, x t4 using the following equation:



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                                                         4

                                              yt =       xti ,                                                  (EQ 6)
                                                        i=1

where the sum is over the integers. Thus y t can take the values 0,1,2,3, or 4.
The output of the summation generator is obtained by the following equations:

                             z t = x t1 ⊕ x t2 ⊕ x t3 ⊕ x t4 ⊕ c t0 ∈ { 0, 1 },                                  (EQ 7)

                                                             yt + ct
                    s t + 1 = ( s t1+ 1 , s t0+ 1 ) =        -------------- ∈ { 0, 1, 2, 3 },                    (EQ 8)
                                                                   2

                  c t + 1 = ( c t1+ 1 , c t0+ 1 ) = s t + 1 ⊕ T 1 [ c t ] ⊕ T 2 [ c t – 1 ],                     (EQ 9)

where T 1 [ . ] and T 2 [ . ] are two different linear bijections over GF(4). Suppose
GF(4) is generated by the irreducible polynomial x 2 + x + 1 , and let α be a zero
of this polynomial in GF(4). The mappings T 1 and T 2 are now defined as:

                                             T 1 : GF(4) → GF(4)
                                                              x→
                                                               | x


                                           T 2 : GF(4) → GF(4)
                                                         | ( α + 1 )x.
                                                        x→

The elements of GF(4) can be written as binary vectors. This is summarized in
Table 4.3.


 x                T1 [ x ]                          T2 [ x ]

 00               00                                00
 01               01                                11

 10               10                                01
 11               11                                10
Table 4.3: The mappings T1 and T2.

Since the mappings are linear, they can be implemented using XOR gates; i.e.

                                  T1 :            ( x 1, x 0 ) →
                                                               | ( x 1, x 0 ),

                                  T2 :            ( x 1, x 0 ) →
                                                               | ( x 0, x 1 ⊕ x 0 ).


4.4.1 The Operation of the Cipher

Figure 4.4 gives an overview of the operation in time. The encryption algorithm
shall run through the initialization phase before the start of transmission or
reception of a new packet. Thus, for multislot packets the cipher is initialized
using the clock value of the first slot in the multislot sequence.

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                            Master  Slave                    Slave  Master


                    Init     Encrypt/Decrypt         Init     Encrypt/Decrypt


                                       clock cycles (time)


Figure 4.4: Overview of the operation of the encryption engine. Between each start of a packet (TX
or RX), the LFSRs are re-initialized.


4.5 LFSR INITIALIZATION
The key stream generator is loaded with an initial value for the four LFSRs (in
total 128 bits) and the 4 bits that specify the values of c 0 and c –1 . The 132 bit
initial value is derived from four inputs by using the key stream generator. The
input parameters are the key K C , a 128-bit random number RAND, a 48-bit
Bluetooth device address, and the 26 master clock bits CLK26-1.

The effective length of the encryption key may vary between 8 and 128 bits.
Note that the actual key length as obtained from E 3 is 128 bits. Then, within E 0 ,
the key length may be reduced by a modulo operation between K C and a
polynomial of desired degree. After reduction, the result is encoded with a
block code in order to distribute the starting states more uniformly. The
operation shall be as defined in (EQ 10).

When the encryption key has been created the LFSRs are loaded with their
initial values. Then, 200 stream cipher bits are created by operating the
generator. Of these bits, the last 128 are fed back into the key stream
generator as an initial value of the four LFSRs. The values of c t and c t – 1 are
kept. From this point on, when clocked the generator produces the encryption
(decryption) sequence which is bitwise XORed to the transmitted (received)
payload data.

In the following, octet i of a binary sequence X is X [ i ] . Bit 0 of X is the LSB.
Then, the LSB of X [ i ] corresponds to bit 8i of the sequence X , the MSB of
X [ i ] is bit 8i + 7 of X . For instance, bit 24 of the Bluetooth device address is the
LSB of BD_ADDR[3].

The details of the initialization shall be as follows:

       1.         Create the encryption key to use from the 128-bit secret key K C and
                  the 128-bit publicly known EN_RAND. Let L, 1 ≤ L ≤ 16 , be the




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                  effective key length in number of octets. The resulting encryption key
                  is K' C :
                                          (L)                       (L)
                             K' C(x) = g 2 (x) ( K C(x) mod g 1 (x) ),                                   (EQ 10)
                                 (L)                          (L)
                  where              = 8L and
                           deg(g 1 (x))                     ≤ 128 – 8L . The polynomials
                                                        deg(g 2 (x))
                  are defined in Table 4.4.
       2.         Shift the 3 inputs K' C , the Bluetooth device address, the clock, and
                  the six-bit constant 111001 into the LFSRs. In total, 208 bits are
                  shifted in:
                  a) Open all switches shown in Figure 4.5;
                  b) Arrange inputs bits as shown in Figure 4.5; Set the content of all
                     shift register elements to zero. Set t = 0 .
                  c) Start shifting bits into the LFSRs. The rightmost bit at each level of
                     Figure 4.5 is the first bit to enter the corresponding LFSR.
                  d) When the first input bit at level i reaches the rightmost position of
                     LFSRi, close the switch of this LFSR.
                  e) At t = 39 (when the switch of LFSR4 is closed), reset both blend
                     registers c 39 = c 39 – 1 = 0 ; Up to this point, the content of c t and
                     c t – 1 has been of no concern. However, their content will now be
                     used in computing the output sequence.
                  f) From now on output symbols are generated. The remaining input
                     bits are continuously shifted into their corresponding shift
                     registers. When the last bit has been shifted in, the shift register is
                     clocked with input = 0;
                       Note: When finished, LFSR1 has effectively clocked 30 times with
                       feedback closed, LFSR2 has clocked 24 times, LFSR3 has
                       clocked 22 times, and LFSR4 has effectively clocked 16 times with
                       feedback closed.
       3.         To mix initial data, continue to clock until 200 symbols have been
                  produced with all switches closed ( t = 239 );
       4.         Keep blend registers c t and c t – 1 , make a parallel load of the last 128
                  generated bits into the LFSRs according to Figure 4.6 at t = 240 ;

After the parallel load in item 4, the blend register contents shall be updated for
each subsequent clock.

                   (L)                                                     (L)
 L     deg        g1                                         deg          g2

 1     [8]        00000000 00000000 00000000 0000011d        [119]        00e275a0 abd218d4 cf928b9b bf6cb08f

 2     [16]       00000000 00000000 00000000 0001003f        [112]        0001e3f6 3d7659b3 7f18c258 cff6efef

 3     [24]       00000000 00000000 00000000 010000db        [104]        000001be f66c6c3a b1030a5a 1919808b

 4     [32]       00000000 00000000 00000001 000000af        [96]         00000001 6ab89969 de17467f d3736ad9


Table 4.4: Polynomials used when creating K’c. . 1


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                       (L)                                                                  (L)
 L       deg         g1                                                         deg        g2

 5       [40]        00000000 00000000 00000100 00000039                        [88]      00000000 01630632 91da50ec 55715247

 6       [48]        00000000 00000000 00010000 00000291                        [77]      00000000 00002c93 52aa6cc0 54468311

 7       [56]        00000000 00000000 01000000 00000095                        [71]      00000000 000000b3 f7fffce2 79f3a073

 8       [64]        00000000 00000001 00000000 0000001b                        [63]      00000000 00000000 a1ab815b c7ec8025

 9       [72]        00000000 00000100 00000000 00000609                        [49]      00000000 00000000 0002c980 11d8b04d

 10      [80]        00000000 00010000 00000000 00000215                        [42]      00000000 00000000 0000058e 24f9a4bb

 11      [88]        00000000 01000000 00000000 0000013b                        [35]      00000000 00000000 0000000c a76024d7

 12      [96]        00000001 00000000 00000000 000000dd                        [28]      00000000 00000000 00000000 1c9c26b9

 13      [104]       00000100 00000000 00000000 0000049d                        [21]      00000000 00000000 00000000 0026d9e3

 14      [112]       00010000 00000000 00000000 0000014f                        [14]      00000000 00000000 00000000 00004377

 15      [120]       01000000 00000000 00000000 000000e7                        [7]       00000000 00000000 00000000 00000089

 16      [128]       1 00000000 00000000 00000000 00000000                      [0]       00000000 00000000 00000000 00000001


Table 4.4: Polynomials used when creating K’c. . 1
 1. All polynomials are in hexadecimal notation. The LSB is in the rightmost position.

In Figure 4.5, all bits are shifted into the LFSRs, starting with the least
significant bit (LSB). For instance, from the third octet of the address,
BD_ADDR[2], first BD_ADDR16 is entered, followed by BD_ADDR17, etc.
Furthermore, CL0 corresponds to CLK1,..., CL25 corresponds to CLK26.
                                                         i
Note that the output symbols x t, i = 1, …, 4 are taken from the positions 24, 24,
32, and 32 for LFSR1, LFSR2,LFSR3, and LFSR4, respectively (counting the
leftmost position as number 1).


                                                                                                8     12            20

                              ADR[2] CL[1] Kc'[12] Kc'[8] Kc'[4] Kc'[0] CL 24
                                                                                                                          24         X 1t
                                                                                                      12     16           24

                      ADR[3] ADR[0] Kc'[13] Kc'[9] Kc'[5] Kc'[1] CL[0]L 0 0 1
                                                                                                                          24         X 2t
                                                                          4                                 24      28

                ADR[4] CL[2] Kc'[14] Kc'[10] Kc'[6] Kc'[2] CL 25
                                                                                                                          32         X 3t
                                                                          4                                         28          36

     ADR[5] ADR[1] Kc'[15] Kc'[11] Kc'[7] Kc'[3] CL[0]U 1 1 1
                                                                                                                          32         X 4t
                                                                                       CL[0]L = CL 3 ...   CL 0

                                                                                       CL[0]U = CL 7 ...   CL 4



Figure 4.5: Arranging the input to the LFSRs.




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In Figure 4.6, the 128 binary output symbols Z0,..., Z127 are arranged in octets
denoted Z[0],..., Z[15]. The LSB of Z[0] corresponds to the first of these
symbols, the MSB of Z[15] is the last output from the generator. These bits
shall be loaded into the LFSRs according to the figure. It is a parallel load and
no update of the blend registers is done. The first output symbol is generated at
the same time. The octets shall be written into the registers with the LSB in the
leftmost position (i.e. the opposite of before). For example, Z24 is loaded into
position 1 of LFSR4.

                                                                                       Z[12]0
                                          8     12                20


                                 Z[0]                Z[4]              Z[8]
                                                                               24
                                                                                             X 1t
                                               12           16                  24


                                 Z[1]                Z[5]              Z[9]          Z[12]7-1
                                                                                24
                                                                                              X t2
                    4                                        24   28
                                                                                           Z[15]0
                  Z[2]           Z[6]                Z[10]             Z[13]
                                                                               32
                                                                                             X 3t
                    4                                             28                  36


                  Z[3]           Z[7]                Z[11]             Z[14]          Z[15]7-1
                                                                               32
                                                                                             X 4t

Figure 4.6: Distribution of the 128 last generated output symbols within the LFSRs.


4.6 KEY STREAM SEQUENCE
When the initialization is finished, the output from the summation combiner is
used for encryption/decryption. The first bit to use shall be the one produced at
the parallel load, i.e. at t = 240 . The circuit shall be run for the entire length of
the current payload. Then, before the reverse direction is started, the entire
initialization process shall be repeated with updated values on the input
parameters.

Sample data of the encryption output sequence can be found in [Vol 2] Part G,
Section 1.1. A necessary, but not sufficient, condition for all Bluetooth
compliant implementations of encryption is to produce these encryption
streams for identical initialization values.




Encryption (E0)                                                                             06 December 2016
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5 AUTHENTICATION

Legacy authentication uses a challenge-response scheme in which a
claimant’s knowledge of a secret key is checked through a 2-move protocol
using symmetric secret keys. The latter implies that a correct claimant/verifier
pair share the same secret key, for example K. In the challenge-response
scheme the verifier challenges the claimant to authenticate a random input (the
challenge), denoted by AU_RANDA, with an authentication code, denoted by
E 1 , and return the result SRES to the verifier, see Figure 5.1. This figure also
shows that the input to E1 consists of the tuple AU_RANDA and the Bluetooth
device address (BD_ADDR) of the claimant. The use of this address prevents
a simple reflection attack1. The secret K shared by devices A and B is the
current link key.


             Verifier (Device A)                                 Claimant (Device B)


         AU_RANDA                         AU_RANDA
                                                                          AU_RANDA

         BD_ADDRB                                                          BD_ADDRB
                            E1                                   E1
          Link key                                                          Link key

                                               SRES

                     ACO                                               ACO
                             SRES’                          SRES
                               ?
                               =
                             SRES


Figure 5.1: Challenge-response for the Bluetooth.


The challenge-response scheme for symmetric keys in legacy authentication is
depicted in Figure 5.2.




1. The reflection attack actually forms no threat because all service requests are dealt with on
   a FIFO basis. When preemption is introduced, this attack is potentially dangerous.


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                                     Verifier          Claimant
                                     (User A)          (User B, with identity IDB)


                                                RAND


                                                               SRES = E1(key, IDB, RAND)
                                                SRES


             SRES' = E1(key, IDB, RAND)

             Check: SRES' = SRES


Figure 5.2: Challenge-response for symmetric key systems.


In legacy authentication, the verifier is not required to be the master. The
application indicates which device has to be authenticated. Some applications
only require a one-way authentication. However, some peer-to-peer
communications, should use a mutual authentication in which each device is
subsequently the challenger (verifier) in two authentication procedures. The
LM shall process authentication preferences from the application to determine
in which direction(s) the authentication(s) takes place. For mutual
authentication with the devices of Figure 5.1, after device A has successfully
authenticated device B, device B could authenticate device A by sending an
AU_RANDB (different from the AU_RANDA that device A issued) to device A, and
deriving the SRES and SRES’ from the new AU_RANDB, the address of device A,
and the link key KAB.

If a legacy authentication is successful the value of ACO as produced by E 1
shall be retained.

Secure Authentication uses a challenge-response scheme in which both
devices act as a verifier and claimant in the same sequence where the
knowledge of a secret key is checked through a 4-move protocol using
symmetric secret keys. The latter implies that a correct claimant/verifier pair
share the same secret key, for example K. In the challenge-response scheme
the master challenges the slave to authenticate a random input (the challenge),
denoted by AU_RANDm, with an authentication code, denoted by h4 and h5,
and return the resulting SRESs to the verifier, see Figure 5.3. Similarly, the
slave challenges the master to authenticate a random input (the challenge),
denoted AU_RANDs, with an authentication code, denoted by h4 and h5, and
return the resulting SRESm to the verifier. This figure also shows that the
inputs to h4 and h5 consist of a secret, a string “btdk”, the Bluetooth device
address of the master (BD_ADDRm), and the Bluetooth device address of the
slave (BD_ADDRs). The use of these addresses prevents a simple reflection
attack. The secret K shared by the master and slave is the current link key.




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                      Master Device                                                            Slave Device

                         Device                                                                   Device
                      Authentication                           AU_RANDm                        Authentication
    Link Key              Key                                                                      Key
                                                                                                                         Link Key

      "btdk"
                                                                                                                         "btdk"
                                                               AU_RANDs
                 h4                             h5                               h5                               h4
  BD_ADDRm              AU_RANDm                                                               AU_RANDm
                                                                                                                         BD_ADDRm

  BD_ADDRs               AU_RANDs                                                              AU_RANDs
                                                                                                                         BD_ADDRs
                                                                SRESm




                                       SRESm   SRESs    ACO               SRESm SRESs    ACO
                                                 ?              SRESs       ?
                                                 =                          =
                                               SRESs'                     SRESm'




Figure 5.3: Challenge and response for secure authententication.


The challenge-response scheme for symmetric keys in secure authentication is
depicted in Figure 5.4.

                                           Master                               Slave


                                                              AU_RANDm


                                                              AU_RANDs
                    SRESm || SRESs =                                                    SRESm || SRESs =
   h5(h4(link_key, "btdk", BD_ADDRm,                                                    h5(h4(link_key, "btdk", BD_ADDRm,
 BD_ADDRs), AU_RANDm, AU_RANDs)                                SRESm                    BD_ADDRs), AU_RANDm, AU_RANDs)

                                                                                        Check SRESm' = SRESm
                                                               SRESs
                  Check SRESs' = SRESs


Figure 5.4: Challenge-response for secure authentication.


In secure authentication, both the master and slave are the verifier and
claimant. The application indicates which device has to be authenticated, but
secure authentication is always a mutual authentication.

If a secure authentication is successful the value of ACO as produced by h5
shall be retained.

5.1 REPEATED ATTEMPTS
When the authentication attempt fails, a waiting interval shall pass before the
verifier will initiate a new authentication attempt to the same claimant, or before
it will respond to an authentication attempt initiated by a device claiming the
same identity as the failed device. For each subsequent authentication failure,
the waiting interval shall be increased exponentially. For example, after each
failure, the waiting interval before a new attempt can be made could be twice




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as long as the waiting interval prior to the previous attempt1. The waiting
interval shall be limited to a maximum.

The maximum waiting interval depends on the implementation. The waiting
time shall exponentially decrease to a minimum when no new failed attempts
are made during a certain time period. This procedure prevents an intruder
from repeating the authentication procedure with a large number of different
keys.

To protect a device's private key, a device should implement a method to prevent
an attacker from retrieving useful information about the device's private key using
invalid public keys. For this purpose, a device can use one of the following
methods:
• Change its private key after three failed attempts from any BD_ADDR and
  after 10 successful pairings from any BD_ADDR; or after a combination of
  these such that 3 successful pairings count as one failed pairing; or
• Verify that the received public keys from any BD_ADDR are on the correct
  curve; or
• Implement elliptic curve point addition and doubling using formulas that are
  valid only on the correct curve.




1. Another appropriate value larger than 1 may be used.


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6 THE AUTHENTICATION AND KEY-GENERATING
FUNCTIONS

This section describes the algorithms used for authentication and key
generation.

6.1 THE AUTHENTICATION FUNCTION E1

The authentication function E 1 is a computationally secure authentication
code. E 1 uses the encryption function SAFER+. The algorithm is an enhanced
version of an existing 64-bit block cipher SAFER-SK128, and it is freely
available. In the following discussion, the block cipher will be denoted as the
function A r which maps using a 128-bit key, a 128-bit input to a 128-bit output,
i.e.
                                                 128                128                128
                               A r : { 0, 1 }          × { 0, 1 }         → { 0, 1 }
                                                                                                                              (EQ 11)
                                              (k × x) →
                                                      | t.


The details of A r are given in the next section. The function E 1 is constructed
using A r as follows
                              128                128                48                32                96
             E 1 : { 0, 1 }         × { 0, 1 }         × { 0, 1 }        → { 0, 1 }        × { 0, 1 }
                                                                                                                              (EQ 12)
                                    ( K, RAND, address ) →
                                                         | ( SRES, ACO ),


where SRES = Hash ( K, RAND, address, 6 ) [ 0, …, 3 ] , where Hash is a keyed hash
function defined as1,
                                128                128                   8×L                                 128
             Hash: { 0, 1 }           × { 0, 1 }         × { 0, 1 }            × { 6, 12 } → { 0, 1 }
                                                                                                                              (EQ 13)
             ( K , I 1, I 2, L ) →
                                 | A' r ( [ K̃ ], [ E ( I 2, L ) +16 ( A r ( K, I 1 ) I 1 ) ] ),
                                                                                      16


and where
                                    8×L                                   8 × 16
                    E: { 0, 1 }           × { 6, 12 } → { 0, 1 }
                                                                                                                              (EQ 14)
                     ( X [ 0, …, L – 1 ], L ) →
                                              | ( X [ i(mod L) ] for i = 0...15 ),


is an expansion of the L octet word X into a 128-bit word. The function A r is
evaluated twice for each evaluation of E 1 . The key K̃ for the second use of A r
(actually A' r ) is offset from K as follows2




1. The operator +16 denotes bytewise addition mod 256 of the 16 octets, and the operator ⊕16
   denotes bytewise XORing of the 16 octets.
2. The constants are the largest primes below 257 for which 10 is a primitive root.


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           K̃ [ 0 ] = ( K [ 0 ] + 233 )          mod 256, K̃ [ 1 ] = K [ 1 ] ⊕ 229,
           K̃ [ 2 ] = ( K [ 2 ] + 223 )          mod 256, K̃ [ 3 ] = K [ 3 ] ⊕ 193,
           K̃ [ 4 ] = ( K [ 4 ] + 179 )          mod 256, K̃ [ 5 ] = K [ 5 ] ⊕ 167,
           K̃ [ 6 ] = ( K [ 6 ] + 149 )          mod 256, K̃ [ 7 ] = K [ 7 ] ⊕ 131,                             (EQ 15)
          K̃ { 8 } = K [ 8 ] ⊕ 233,                            K̃ [ 9 ] = ( K [ 9 ] + 229 ) mod 256,
         K̃ [ 10 ] = K [ 10 ] ⊕ 223,                          K̃ [ 11 ] = ( K [ 11 ] + 193 ) mod 256,
         K̃ [ 12 ] = K [ 12 ] ⊕ 179,                          K̃ [ 13 ] = ( K [ 13 ] + 167 ) mod 256,
         K̃ [ 14 ] = K [ 14 ] ⊕ 149,                          K̃ [ 15 ] = ( K [ 15 ] + 131 ) mod 256.


A data flowchart of the computation of E 1 is shown in Figure 6.1. E 1 is also
used to deliver the parameter ACO (Authenticated Ciphering Offset) that is
used in the generation of the ciphering key by E 3 , see equations (EQ 3) and
(EQ 23). The value of ACO is formed by the octets 4 through 15 of the output of
the hash function defined in (EQ 13):

                      ACO = Hash ( K, RAND, address, 6 ) [ 4, …, 15 ] .                                         (EQ 16)


                                                        RAND                      address




                                                                                        48
                K                         Ar




                     offset     xor +16

                                                        128
                    K̃          add +16                                 E
                                                                                             L = 6


                                          A' r




                               32                  96

                                                                            xor :16 8-bit xor-ings

                                                                            add: 16 8-bit additions mod 256
                      SRES                           ACO

Figure 6.1: Flow of data for the computation of E1.




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6.2 THE FUNCTIONS Ar AND A’r

The function A r is identical to SAFER+. It consists of a set of 8 layers, (each
layer is called a round) and a parallel mechanism for generating the sub keys
K p [ j ] , p = 1, 2, …, 17 , which are the round keys to be used in each round. The
function will produce a 128-bit result from a 128-bit random input string and a
128-bit key. Besides the function A r , a slightly modified version referred to as
A′ r is used in which the input of round 1 is added to the input of round 3. This is
done to make the modified version non-invertible and prevents the use of A′ r
(especially in E 2x ) as an encryption function. See Figure 6.2 for details.

6.2.1 The Round Computations

The computations in each round are a composition of encryption with a round
key, substitution, encryption with the next round key, and, finally, a Pseudo
Hadamard Transform (PHT). The computations in a round shall be as shown in
Figure 6.2. The sub keys for round r, r = 1, 2, …, 8 are denoted K 2r – 1 [ j ] , K 2r [ j ] ,
j = 0, 1, …, 15 . After the last round K 17 [ j ] is applied identically to all previous
odd numbered keys.

6.2.2 The Substitution Boxes “e” and “l”

In Figure 6.2 two boxes are shown, marked “e” and “l”. These boxes implement
the same substitutions as are used in SAFER+; i.e. they implement
                           e, l     :      { 0, …, 255 } → { 0, …, 255 },
                           e        :       i→
                                             | ( 45 i (mod 257) ) (mod 256),

                           l        :      i→
                                            | j s.t. i = e(j).

Their role, as in the SAFER+ algorithm, is to introduce non-linearity.




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                                     0   1   2     3       4      5      6     7    8    9   10    11   12   13   14    15


                                                                                                                              Only for A’r in round 3

                                                                                                                                 128
                                                                                                                                       A input[0..15]


                                                                                                                                 128
                                                                                                                                       K2r-1 [0..15]


                                     e   l   l     e       e      l     l      e    e    l   l     e    e    l    l     e
                                                                                                                                 128
                                                                                                                                       K2r [0..15]
                           K 2r[0]                                                                                          K [15]
                                                                                                                             2r


                                     PHT         PHT       PHT              PHT     PHT          PHT     PHT          PHT
    ROUND r, r=1,2,...,8




                                                       PERMUTE: 8 11 12 15 2 1 6 5 10 9 14 13 0 7 4 3



                                     PHT         PHT       PHT              PHT     PHT          PHT     PHT          PHT




                                                       PERMUTE: 8 11 12 15 2 1 6 5 10 9 14 13 0 7 4 3



                                     PHT         PHT       PHT              PHT     PHT          PHT     PHT          PHT




                                                       PERMUTE: 8 11 12 15 2 1 6 5 10 9 14 13 0 7 4 3



                                     PHT         PHT       PHT              PHT     PHT          PHT     PHT          PHT


                                                                                                                                 Only after last round
                                                                                                                                 128
                                                                                                                                       K17 [0..15]




                                                           addition mod 256

                                                           bitwise XOR
                                                       PHT(x,y)= (2x+y mod 256, x+y mod 256)


Figure 6.2: One round in Ar and A’r.


In Section 6.2, the permutation boxes show how input byte indices are mapped
onto output byte indices. Thus, position 8 is mapped on position 0 (leftmost),
position 11 is mapped on position 1, etc.

6.2.3 Key Scheduling

In each round, 2 batches of 16 octet-wide keys are needed. These round keys
are derived as specified by the key scheduling in SAFER+. Figure 6.3 gives an
overview of how the round keys K p [ j ] are determined. The bias vectors B2, B3,
..., B17 shall be computed according to following equation:
                                                               17p + i + 1
                                                        ( 45                 mod 257 )
                               B p [ i ] = ( ( 45                                        mod 257 ) mod 256 ), for i = 0, …, 15.                                  (EQ 17)




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              128 bit Key grouped in 16 octets
   0    1                                                14   15

                                                                        sum octets
                                                                        bit-by-bit
                                                                        modulo two

                                                                                 Select octets
   0    1                                                14   15   16                                                    K
                                                                                                                          1
                                                                                 0,1,2,...,14,15
             Rotate each octet left by 3 bit positions

                                                                                 Select octets              +16
   0    1                                                14   15   16                                                     K2
                                                                                 1,2,3,...,15,16
             Rotate each octet left by 3 bit positions
                                                                                                             B
                                                                                                                  2
                                                                                     Select octets          +16          K3
   0    1                                                14   15   16
                                                                                 2,3,4,...,16,0
                            ...
                                                                                                             B3

             Rotate each octet left by 3 bit positions

                                                                                 Select Bytes               +16          K17
   0    1                                                14   15   16
                                                                                 16,0,1,...,13,14

                                                                                                             B 17

Figure 6.3: Key scheduling in Ar.


6.3 E2-KEY GENERATION FUNCTION FOR AUTHENTICATION

The key used for authentication shall be derived through the procedure that is
shown in Figure 6.4. The figure shows two modes of operation for the
algorithm. In the first mode, E 21 produces a 128-bit kink key, K , using a 128-bit
RAND value and a 48-bit address. This mode shall be utilized when creating
unit keys and combination keys. In the second mode, E 22 produces a 128-bit
link key, K , using a 128-bit RAND value and an L octet user PIN. The second
mode shall be used to create the initialization key, and also when a master key
is to be generated.

When the initialization key is generated, the PIN is augmented with the
BD_ADDR, see Section 3.2.1 for which address to use. The augmentation
shall always start with the least significant octet of the address immediately
following the most significant octet of the PIN. Since the maximum length of the
PIN used in the algorithm cannot exceed 16 octets, it is possible that not all
octets of BD_ADDR will be used.




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This key generating algorithm again exploits the cryptographic function E 2 . for
mode 1 (denoted E 21 ) is computed according to following equations:
                                               128                 48                128
                            E 21 : { 0, 1 }           × { 0, 1 }        → { 0, 1 }
                                                                                                                 (EQ 18)
                                    ( RAND, address ) →
                                                      | A' r(X, Y)


where (for mode 1)

                          X = RAND [ 0…14 ] ∪ ( RAND [ 15 ] ⊕ 6 )
                         
                               15
                                                                                                                (EQ 19)
                         Y =
                         
                                    ∪
                                   address [ i (mod 6) ]
                              i=0


Let L be the number of octets in the user PIN. The augmenting is defined by

             PIN [ 0…L – 1 ] ∪ BD_ADDR [ 0…min { 5, 15 – L } ],                                 L < 16,
     PIN' =                                                                                                     (EQ 20)
             PIN [ 0…L – 1 ],                                                                   L = 16,

Then, in mode 2, E 2 (denoted E 22 ) is

                                   8L'                128                                  128
                 E 22 : { 0, 1 }         × { 0, 1 }         × { 1, 2, …, 16 } → { 0, 1 }
                                                                                                                 (EQ 21)
                                   ( PIN', RAND, L′ ) →
                                                      | A' r(X, Y)


where

                             15
                        
                        X =
                              ∪ PIN' [ i (mod L') ] ,
                                                                                                                 (EQ 22)
                            i=0
                         Y = RAND [ 0…14 ] ∪ ( RAND [ 15 ] ⊕ L' ),
                        

and L' = min { 16, L + 6 } is the number of octets in PIN’.




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                                          Mode 1                                                   L’      Mode 2


          RAND                                                                  PIN’
                       128                                                                   8L’
                                            E 21                                                             E 22

     BD_ADDR                                                                 RAND
                       48                                                                    128
                                                      128                                                           128

                                                Key                                                           Key

Figure 6.4: Key generating algorithmE2 and its two modes. Mode 1 is used for unit and
combination keys, while mode 2 is used for Kinit and K master.


6.4 E3-KEY GENERATION FUNCTION FOR ENCRYPTION

The ciphering key K C used by E 0 shall be generated by E 3 . The function E 3 is
constructed using A' r as follows
                             128                128                96                128
            E 3 : { 0, 1 }         × { 0, 1 }         × { 0, 1 }        → { 0, 1 }
                                                                                                                          (EQ 23)
                                    ( K, RAND, COF ) →
                                                     | Hash ( K, RAND, COF, 12 )


where Hash is the hash function as defined by (EQ 13). The key length
produced is 128 bits. However, before use within E 0 , the encryption key K C is
shortened to the correct encryption key length, as described in Section 4.5. A
block scheme of E 3 is depicted in Figure 6.5.

The value of COF is determined as specified by equation (EQ 3).



                                      EN_RAND
                                                            128
                                      COF                                        E3
                                                             96
                    Link key
                                                             128
                                                                                           128

                                                                                 KC

Figure 6.5: Generation of the encryption key




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7 SECURE SIMPLE PAIRING

The Secure Simple Pairing security functions and procedures are described in
this section. In addition, a cryptographic analysis of each procedure is
provided.

There are five phases of Secure Simple Pairing:
• Phase 1: Public key exchange
• Phase 2: Authentication Stage 1
• Phase 3: Authentication Stage 2
• Phase 4: Link key calculation
• Phase 5: LMP Authentication and Encryption

Phases 1, 3, 4 and 5 are the same for all protocols whereas phase 2
(Authentication Stage 1) is different depending on the protocol used.
Distributed through these five phases are 13 steps.

                         Initiating                                    Non-initiating
                         Device A                                       Device B

                                                                                         Public Key Exchange
                                      Step 1: Same for all protocols


                                                                                        Authentication Stage 1
                                      Steps 2-8: Protocol dependent


                                                                                        Authentication Stage 2
                                  Steps 9-11: Same for all protocols


                                                                                          Link Key Calculation
                                      Step 12: Same for all protocols


                                                                                                   Encryption
                                      Step 13: Same for all protocols


                                                                                                                 p

Figure 7.1: Simple Pairing Security Phases


The terminology used in the security sections is defined in Table 7.1:

 Term                     Definition

 Cx                       Commitment value from device X
 Cxi                      ith commitment value from device X. Only used in the passkey
                          entry protocol
Table 7.1: Terminology

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 Term                    Definition

 DHKey                   Diffie Hellman key
 Ex                      Check value from device X
 f1( )                   Used to generate the 128-bit commitment values Ca and Cb

 f2( )                   Used to compute the link key and possible other keys from the
                         DHKey and random nonces
 f3( )                   Used to compute check values Ea and Eb in Authentication
                         Stage 2
 g( )                    Used to compute numeric check values

 h2( )                   Used to compute Generic AMP and Dedicated AMP keys
 IOcapA                  IO capabilities of device A
 IOcapB                  IO capabilities of device B

 LK                      Link Key
 Nx                      Nonce (unique random value) from device X

 Nxi                     ith nonce (unique random value) from device X. Only used in
                         the passkey entry protocol
 PKx                     Public Key of device X

 rx                      Random value generated by device X
 rxi                     Bit i of the random value rx. Only used in the passkey entry
                         protocol
 SKx                     Secret (Private) Key of device X

 Vx                      Confirmation value on device X. Only used in the numeric
                         compare protocol.
 X                       BD_ADDR of device X
Table 7.1: Terminology


7.1 PHASE 1: PUBLIC KEY EXCHANGE
Initially, each device generates its own Elliptic Curve Diffie-Hellman (ECDH)
public-private key pair (step 1). This key pair needs to be generated only once
per device and may be computed in advance of pairing. A device may, at any
time, choose to discard its public-private key pair and generate a new one,
although there is not a requirement to do so.

Pairing is initiated by the initiating device sending its public key to the receiving
device (step 1a). The responding device replies with its own public key (step
1b) These public keys are not regarded as secret although they may identify
the devices. Note that steps 1a and 1b are the same in all three protocols.




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When both device’s Controllers and Hosts support Secure Connections, the P-
256 elliptic curve is used. When at least one device’s Controller or Host doesn’t
support Secure Connections, the P-192 elliptic curve is used.

                            Initiating                                Non-initiating
                            Device A                                   Device B

                                                                                         Public Key Exchange
                                                    1a. PKa
      start computing DHKey                                                   start computing DHKey
                                                    1b. PKb
      DHKey = P192 (SKa, PKb) or                                              DHKey = P192 (SKb, PKa) or
      DHKey = P256 (SKa, PKb)                                                 DHKey = P256 (SKb, PKa)



Figure 7.2: Public Key Exchange Details


7.2 PHASE 2: AUTHENTICATION STAGE 1
Authentication Stage 1 has three different protocols: Numeric Comparison,
Out-of-Band, and Passkey Entry. Note that there is not a separate protocol for
the Just Works association model. This association model shares the Numeric
Comparison protocol.

The protocol is chosen based on the IO capabilities of the two devices.

                             Initiating                               Non-initiating
                             Device A                                  Device B

                                                                                        Authentication Stage 1
                                          Steps 2-8: Protocol dependent



Figure 7.3: Authentication Stage 1 (High Level)


The three protocols are described in the following sections.

7.2.1 Authentication Stage 1: Numeric Comparison Protocol

The Numeric Comparison protocol provides limited protection against active
"man-in-the-middle" (MITM) attacks as an active man-in-the-middle will
succeed with a probability of 0.000001 on each iteration of the protocol.
Provided that there is no MITM at the time the pairing is performed, the shared
Link Key that is generated is computationally secure from even a passive
eavesdropper that may have been present during the pairing.

The sequence diagram of Authentication Stage 1 for the Numeric Comparison
protocol from the cryptographic point of view is shown below:




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                             Initiating                                       Non-initiating
                             Device A                                          Device B

                                                                                             Authentication Stage 1:
                                                                                              NumericComparison
                        2a. Select random Na                             2b. Select random Nb

                           3a. Set ra and rb to 0                            3b. Set rb and ra to 0

                                                                      3c. Compute commitment:
                                                                       Cb=f1(PKbx,PKax, Nb, 0)
                                                         4. Cb
                                                         5. Na
                                                         6. Nb
              6a. check if Cb =f1(PKbx,PKax, Nb, 0)
                       If check fails , abort
                                     Va and Vb are 6 digit numbers to be displayed on
                                                          each side
                                    (for no-display devices numbers are NOT displayed)


                7a. Va=g(PKax,PKbx,Na,Nb)                             7b. Vb=g(PKax,PKbx,Na,Nb)


                                              8. USER checks if Va=Vb and
                  Proceed if user                  confirms on each end                  Proceed if user
                  confirms ‘ok’                   (for no-display devices                confirms ‘ok’
                                                     user confirms ‘ok’)




Figure 7.4: Authentication Stage 1: Numeric Comparison Protocol Details


After the public keys have been exchanged, each device selects a pseudo-
random 128-bit nonce (step 2). This value is used to prevent replay attacks and
must be freshly generated with each instantiation of the pairing protocol. This
value should be generated directly from a physical source of randomness or
with a good pseudo-random generator seeded with a random value from a
physical source.

Following this the responding device then computes a commitment to the two
public keys that have been exchanged and its own nonce value (step 3c). This
commitment is computed as a one-way function of these values and is
transmitted to the initiating device (step 4). The commitment prevents an
attacker from changing these values at a later time.

The initiating and responding devices then exchange their respective nonce
values (steps 5 and 6) and the initiating device confirms the commitment (step
6a). A failure at this point indicates the presence of an attacker or other
transmission error and causes the protocol to abort. The protocol may be
repeated with or without the generation of new public-private key pairs, but new
nonces must be generated if the protocol is repeated.

Assuming that the commitment check succeeds, the two devices each
compute 6-digit confirmation values that are displayed to the user on their

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respective devices (steps 7a, 7b, and 8). The user is expected to check that
these 6-digit values match and to confirm if there is a match. If there is no
match, the protocol aborts and, as before, new nonces must be generated if
the protocol is to be repeated.

An active MITM must inject its own key material into this process to have any
effect other than denial-of-service. A simple MITM attack will result in the two 6-
digit display values being different with probability 0.999999. A more
sophisticated attack may attempt to engineer the display values to match, but
this is thwarted by the commitment sequence. If the attacker first exchanges
nonces with the responding device, it must commit to the nonce that it will use
with the initiating device before it sees the nonce from the initiating device. If
the attacker first exchanges nonces with the initiating device, it must send a
nonce to the responding device before seeing the nonce from the responding
device. In each case, the attacker must commit to at least the second of its
nonces before knowing the second nonce from the legitimate devices. It
therefore cannot choose its own nonces in such a way as to cause the display
values to match.

7.2.2 Authentication Stage 1: Out of Band Protocol

The Out-of-Band protocol is used when authentication information has been
received by at least one of the devices and indicated in the OOB Authentication
Data Present parameter in the LMP IO capability exchange sequence. The
mode in which the discovery of the peer device is first done in-band and then
followed by the transmission of authentication parameters through OOB
interface is not supported. The sequence diagram for Authentication Stage 1
for Out of Band from the cryptographic point of view is shown below:




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                              Initiating                                 Non-initiating
                              Device A                                    Device B

                                                                                     Authentication Stage 1:
                                                                                          Out -Of-Band


                        2a. Set ra=rand, rb=0                        2b. Set rb=rand, ra=0


                  3b. Compute commitment                         3b. Compute commitment
              Ca=f1(Pkax,Pkax,ra,0) and send 4a.             Cb=f1(PKbx,PKbx,rb,0) and send 4b.


                                                 4a. A, ra, Ca                    OOB
                                                                                  Communication
                                                     OR AND
                                                                                  A = Bluetooth address of A
                                                 4b. B, rb, Cb                    B = Bluetooth address of B
                                                LMP Pairing begins

                5a. If 4b received reset rb to the             5b. If 4a received reset ra to the
                       received value, and if                         received value, and if
                   Cbf1(PKbx,PKbx,rb,0) abort.                   &DI 3.D[3.D[UD DERUW
                If 4b received and Device B’s IO               If 4a received and Device A’s IO
                capability does not indicate OOB               capability does not indicate OOB
               authentication data present set set              authentication data present set
                               ra=0.                                         rb=0.


                        6a. Select random Na                         6b. Select random Nb


                                                     7. Na
                                                     8. Nb



Figure 7.5: Authentication Stage 1: Out of Band Details


Principle of operation: If both devices can transmit and/or receive data over
an out-of-band channel, then mutual authentication will be based on the
commitments of the public keys (Ca and Cb) exchanged OOB in Authentication
stage 1. If OOB communication is possible only in one direction, then
authentication of the device receiving the OOB communication will be based
on that device knowing a random number r sent via OOB. In this case, r must
be secret: r can be created afresh every time, or access to the device sending r
must be restricted. If r is not sent by a device, it is assumed to be 0 by the
device receiving the OOB information in step 4a or 4b.

Roles of A and B: The OOB Authentication Stage 1 protocol is symmetric with
respect to the roles of A and B. It does not require that device A always will
initiate pairing and it automatically resolves asymmetry in the OOB
communication, e.g. in the case when one of the devices has an NFC tag and
can only transmit OOB.

Order of steps: The public key exchange must happen before the verification
step 5. In the diagram the in-band public key exchange between the devices
(step 1) is done before the OOB communication (step 4). But when the pairing


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is initiated by an OOB interface, public key exchange will happen after the
OOB communication (step 1 will be between steps 4 and 5).

Values of ra and rb: Since the direction of the peer's OOB interface cannot be
verified before the OOB communication takes place, a device should always
generate and if possible transmit through its OOB interface a random number r
to the peer. Each device applies the following rules locally to set the values of
its own r and the value of the peer's r:

       1.     Initially, r of the device is set to a random number and r of the peer is
              set to 0 (step 2).
       2.     If a device has received OOB, it sets the peer's r value to what was
              sent by the peer (Step 5).
       3.     If the remote device's OOB Authentication Data parameter sent in the
              LMP IO capabilities exchange sequence is set to No OOB Data
              Received, it sets its own r value to 0 (Step 5)

These rules ensure that when entering Authentication Stage 2, both A and B
have the same values for ra and rb if OOB communication took place.

7.2.3 Authentication Stage 1: Passkey Entry Protocol

The Passkey Entry protocol is used when LMP IO capability exchange
sequence indicates that Passkey Entry shall be used.

The sequence diagram for Authentication Stage 1 for Passkey Entry from the
cryptographic point of view is shown in Figure 7.6.




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                              Initiating                                 Non-initiating
                              Device A                                    Device B

                                                                                          Authentication Stage 1:
                                                                                              Passkey Entry
                                                      Host


                 2a. Inject secret ra; Set rb = ra              2b. Inject secret rb; Set ra = rb
                                                   Execute 20 times
                                                ra = ra1 | ra2 | … ra20
                                                rb = rb1 | rb2 | … rb20
                                           New random number is selected in
                                                      each round
                        3a. Select random Nai                       3b. Select random Nbi

                   4a. Compute commitment:                        4b. Compute commitment :
                   Cai=f1(PKax,PKbx,Nai,rai)                      Cbi=f1(PKbx,PKax,Nbi,rbi)
                                                     5. Cai
                                                     6. Cbi

                                                     7. Nai

                                                              7a.check if Cai=f1(PKax,PKbx,Nai,rbi)
                                                                       If check fails, abort

                                                     8. Nbi

            8a. check if Cbi=f1(PKbx,Pkax,Nbi,rai)
                     If check fails, abort




Figure 7.6: Authentication Stage 1: Passkey Entry Details


The user inputs an identical Passkey into both devices. Alternately, the
Passkey may be generated and displayed on one device, and the user then
inputs it into the other (step 2). This short shared key will be the basis of the
mutual authentication of the devices. Steps 3 through 8 are repeated k times
for a k-bit Passkey --e.g., k=20 for a 6-digit Passkey (999999=0xF423F).

In Steps 3-8, each side commits to each bit of the Passkey, using a long nonce
(128 bits), and sending the hash of the nonce, the bit of the Passkey, and both
public keys to the other party. The parties then take turns revealing their
commitments until the entire Passkey has been mutually disclosed. The first
party to reveal a commitment for a given bit of the Passkey effectively reveals
that bit of the Passkey in the process, but the other party then has to reveal the
corresponding commitment to show the same bit value for that bit of the
Passkey, or else the first party will then abort the protocol, after which no more
bits of the Passkey are revealed.

This "gradual disclosure" prevents leakage of more than 1 bit of un-guessed
Passkey information in the case of a MITM attack. A MITM attacker with only
partial knowledge of the Passkey will only receive one incorrectly-guessed bit
of the Passkey before the protocol fails. Hence, a MITM attacker who engages


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first one side, then the other will only gain an advantage of at most two bits
over a simple brute-force guesser which succeeds with probability 0.000001.

The long nonce is included in the commitment hash to make it difficult to brute-
force even after the protocol has failed. The public Diffie-Hellman values are
included to tie the Passkey protocol to the original ECDH key exchange, to
prevent a MITM from substituting the attacker's public key on both sides of the
ECDH exchange in standard MITM fashion.

At the end of this stage, Na is set to Na20 and Nb is set to Nb20 for use in
Authentication Stage 2.

7.3 PHASE 3: AUTHENTICATION STAGE 2
The second stage of authentication then confirms that both devices have
successfully completed the exchange. This stage is identical in all three
protocols.

Each device computes a new confirmation value that includes the previously
exchanged values and the newly derived shared key (step 9). The initiating
device then transmits its confirmation value which is checked by the
responding device (step 10). If this check fails, it indicates that the initiating
device has not confirmed the pairing, and the protocol must be aborted. The
responding device then transmits its confirmation value which is checked by
the initiating device (step 11). A failure indicates that the responding device has
not confirmed the pairing and the protocol should abort.


                         Initiating                                        Non-initiating
                         Device A                                           Device B

                                      “IOcapA” is the IO capability of A                    Authentication Stage 2
                                      “IOcapB” is the IO capability of B
                                         A = Bluetooth address of A
                                         B = Bluetooth address of B


                       9a. compute                                  9b. compute
             Ea=f3(DHKey,Na,Nb,rb,IOcapA,A,B)             Eb=f3(DHKey,Nb,Na,ra,IOcapB,B,A)

                                                   10. Ea

                                                                       10b. check
                                                          Ea=f3(DHKey,Na,Nb,rb,IOcapA,A,B)
                                                                  If check fails, abort

                                                  11. Eb
                         11a. check
             Eb=f3(DHKey,Nb,Na,ra,IOcapB,B,A)
                     If check fails , abort



Figure 7.7: Authentication Stage 2




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7.4 PHASE 4: LINK KEY CALCULATION
Once both sides have confirmed the pairing, a link key is computed from the
derived shared key and the publicly exchanged data (step 12). The nonces
ensure the freshness of the key even if long-term ECDH values are used by
both sides. This link key is used to maintain the pairing.

When computing the link key both parties shall input the parameters in the
same order to ensure that both devices compute the same key: device A's
parameters are those of the piconet master and device B's parameters are
those of the piconet slave.

                         Initiating                                  Non-initiating
                         Device A                                     Device B

                                                                                        Link Key Calculation
                                12. Both parties compute link key
                                LK=f2(DHkey,Nmaster,Nslave,”btlk”,
                                BD_ADDRmaster, BD_ADDRslave)



Figure 7.8: Link Key Calculation


7.5 PHASE 5: LMP AUTHENTICATION AND ENCRYPTION
The final phase in Simple Pairing consists of authentication and generation of
the encryption key. This is the same as the final steps in legacy pairing.

7.6 ELLIPTIC CURVE DEFINITION
Simple Pairing supports two elliptic curves: P-192 and P-256.

Simple Pairing uses the FIPS P-192 and P-256 curves defined in FIPS 186-31.
Elliptic curves are specified by p, a, b and are of the form:
                   E: y2 = x3 + ax + b (mod p)

For each value of b a unique curve can be developed. In NIST P-192 and P-256:
                   a = mod (-3, p)
                   b is defined and its method of generation can be verified by using
                   SHA-1 (with a given seed s and using b2c = -27 (mod p))




1. http://dx.doi.org/10.6028/NIST.FIPS.186-4


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The following parameters are given:
• The prime modulus p, order r, base point x-coordinate Gx, base point y-
  coordinate Gy.
• The integers p and r are given in decimal form; bit strings and field elements
  are given in hex.


For P-192:
p   = 6277101735386680763835789423207666416083908700390324961279
r   = 6277101735386680763835789423176059013767194773182842284081
b   = 64210519 e59c80e7 0fa7e9ab 72243049 feb8deec c146b9b1
Gx = 188da80e b03090f6 7cbf20eb 43a18800 f4ff0afd 82ff1012
Gy = 07192b95 ffc8da78 631011ed 6b24cdd5 73f977a1 1e794811

The function P192 is defined as follows. Given an integer u, 0 < u < r, and a
point V on the curve E, the value P192(u,V) is computed as the x-coordinate of
the uth multiple uV of the point V.

The private keys shall be between 1 and r/2, where r is the Order of the Abelian
Group on the elliptic curve (e.g. between 1 and 2192/2).


For P-256:
p   = 11579208921035624876269744694940757353008614341529031419553363130
      8867097853951
r   = 11579208921035624876269744694940757352999695522413576034242225906
      1068512044369
b   = 5ac635d8 aa3a93e7 b3ebbd55 769886bc 651d06b0 cc53b0f6 3bce3c3e
      27d2604b
Gx = 6b17d1f2 e12c4247 f8bce6e5 63a440f2 77037d81 2deb33a0 f4a13945
     d898c296
Gy = 4fe342e2 fe1a7f9b 8ee7eb4a 7c0f9e16 2bce3357 6b315ece cbb64068
     37bf51f5

The function P-256 is defined as follows. Given an integer u, 0 < u < r, and a
point V on the curve E, the value P-256(u,V) is computed as the x-coordinate of
the uth multiple uV of the point V.

The private keys shall be between 1 and r/2, where r is the Order of the Abelian
Group on the elliptic curve (e.g. between 1 and 2256/2).




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7.7 CRYPTOGRAPHIC FUNCTION DEFINITIONS
In addition to computing the Elliptic Curve Diffie Hellman key, the Numeric
Comparison, Out-of-Band and Passkey Entry protocols require four
cryptographic functions. These functions are known as f1, g, f2 and f3.
     f1 is used to generate the 128-bit commitment values Ca and Cb
     g is used to compute the 6-digit numeric check values
     f2 is used to compute the link key and possible other keys from the DHKey
     and random nonces
     f3 is used to compute check values Ea and Eb in Authentication Stage 2.

The basic building block for these functions is based on as it already exists in
the key derivation function E3 (which is the same as E1 but with a larger input).

Inside the f1, g, f2, and f3 cryptographic functions, when a multi-octet integer
input parameter is used as input to the SHA-256 and HMAC-SHA-256
functions, the most significant octet of the integer parameter shall be the first
octet of the stream and the least significant octet of the integer parameter shall
be the last octet of the stream. The output of the f1, g, f2 and f3 cryptographic
functions is a multi-octet integer where the first octet out of SHA-256 and
HMAC-SHA-256 shall be the MSB and the last octet shall be the LSB of that
parameter.

Inside the h2 cryptographic function, when a multi-octet integer input
parameter is used as input to the SHA-256 and HMAC-SHA-256 functions, the
most significant octet of the integer parameter shall be the last octet of the
stream and the least significant octet of the integer parameter shall be the first
octet of the stream. The output of the h2 cryptographic function is a multi-octet
integer where the first octet out of SHA-256 and HMAC-SHA-256 shall be the
LSB and the last octet shall be the MSB of that parameter.

7.7.1 The Simple Pairing Commitment Function f1

The commitments are computed with function f1. The definition of the Simple
Pairing commitment function makes use of the MAC function HMAC based on
SHA-256x, which is denoted as HMAC-SHA-256X with 128-bit key X.

The inputs to the Simple Pairing function f1 are:

 Input         Bits with P-192    Bits with P-256

 U             192                256

 V             192                256
 X             128                128
 Z             8                  8




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Z is zero (i.e., 8 bits of zeros) for Numeric Comparison and OOB protocol. In
the Passkey protocol the most significant bit of Z is set equal to one and the
least significant bit is made up from one bit of the passkey e.g. if the passkey
bit is 1 then Z = 0x81 and if the passkey bit is 0 then Z = 0x80.

The output of the Simple Pairing f1 function is:
                     f1(U, V, X, Z) = HMAC-SHA-256X (U || V || Z) / 2128

The inputs to f1 are different depending on the different protocols.

 Numeric Comparison               Out-Of-Band               Passkey Entry

 Ca = f1(PKax, PKbx, Na, 0)       Ca = f1(PKax, PKax, ra,   Cai = f1(PKax, PKbx, Nai, rai)
                                  0)
 Cb = f1(PKbx, PKax, Nb, 0)       Cb = f1(PKbx, PKbx, rb,   Cbi = f1(PKbx, PKax, Nbi, rbi)
                                  0)

Table 7.2: Inputs to f1 for the different protocols

where PKax denotes the x-coordinate of the public key PKa of A. Similarly,
PKbx denotes the x-coordinate of the public key PKb of B. Nai is the nonce
value of ith round. For each round Nai value is a new 128 bit number. Similarly,
rai is one bit value of the passkey expanded to 8 bits (either 0x80 or 0x81).

Na and Nb are nonces from Devices A and B. ra and rb are random values
generated by devices A and B.

7.7.2 The Simple Pairing Numeric Verification Function g

The Simple Pairing g function is defined as follows:

The inputs to the Simple Pairing function g are:

 Input         Bits with P-192           Bits with P-256

 U             192                       256

 V             192                       256
 X             128                       128
 Y             128                       128

The output of the Simple Pairing g function is:
                     g(U, V, X, Y) = SHA-256(U || V || X || Y) mod 232

The numeric verification value is taken as six least significant digits of the 32-bit
integer g(PKax, PKbx, Na, Nb) where PKax denotes the x-coordinate of the
public key PKa of A and PKbx denotes the x-coordinate of the public key PKb
of B.


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Output of SHA-256 is truncated to 32 bits by taking the least significant 32 bits
of the output of SHA-256. This value is converted to decimal numeric value.
The checksum used for numeric comparison is the least significant six digits.
                    Compare Value = g (U, V, X, Y) mod 106

For example, if output = 0x 01 2e b7 2a then decimal value = 19838762 and
the checksum used for numeric comparison is 838762.

7.7.3 The Simple Pairing Key Derivation Function f2

The definition of the Simple Pairing key derivation function makes use of the
MAC function HMAC based on SHA-256, which is denoted as HMAC-SHA-
256W with 192-bit or 256-bit key W.

The inputs to the Simple Pairing function f2 are:

 Input         Bits with P-192          Bits with P-256

 W             192                      256
 N1            128                      128

 N2            128                      128

 keyID         32                       32
 A1            48                       48

 A2            48                       48


The string "btlk" is mapped into keyID using extended ASCII1 as follows:
                    keyID[0] = 0110    1011 (lsb)
                    keyID[1] = 0110    1100
                    keyID[2] = 0111    0100
                    keyID[3] = 0110    0010


                    KeyID = 0x62746c6b

The output of the Simple Pairing f2 function is:
      f2(W, N1, N2, KeyID, A1, A2) = HMAC-SHA-256W (N1 || N2|| KeyID || A1|| A2) / 2128

The output of f2 is taken as the 128 most significant (leftmost) bits of the output
of HMAC-SHA-256.
The link key is then calculated as:
     LK = f2(DHKey, N_master, N_slave, "btlk", BD_ADDR_master, BD_ADDR_slave)


1. ISO/IEC 8859-1(see www.iso.org)


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7.7.4 The Simple Pairing Check Function f3

The definition of the Simple Pairing f3 check function makes use of the MAC
function HMAC based on SHA-256, which is denoted as HMAC-SHA-256W
with 192-bit or 256-bit key W.

The inputs to the Simple Pairing function f3 are:

 Input       Bits with P-192       Bits with P-256

 W           192                   256
 N1          128                   128

 N2          128                   128

 IOcap       24                    24

 A1          48                    48

 A2          48                    48


IOcap is three octets with the most significant octet as the Authentication
Requirements parameter, the middle octet as the LMP Out-of-Band Authentication
Data parameter, and the least significant octet as the LMP IO capability parameter.

The output of the Simple Pairing f3 function is:
   f3(W, N1, N2, R, IOcap, A1, A2) = HMAC-SHA-256W (N1 || N2 || R || IOcap || A1 || A2) / 2128

The output of f3 is taken as the 128 most significant (leftmost) bits of the output
of HMAC-SHA-256. The check values are computed with function f3. The
inputs to f3 are different depending on the different protocols:

 Numeric Comparison            Out-Of-Band                   Passkey Entry

 Ea = f3(DHKey, Na, Nb,        Ea = f3(DHKey, Na, Nb,         Ea = f3(DHKey, Na20, Nb20, rb,
      0, IOcapA, A, B)              rb, IOcapA, A, B)             IOcapA, A, B)
 Eb = f3(DHKey, Nb, Na,        Eb = f3(DHKey, Nb, Na,        Eb = f3(DHKey, Nb20, Na20, ra,
      0, IOcapB, B, A)              ra, IOcapB, B, A)             IOcapB, B, A)

Table 7.3: Inputs to f3 for the different protocols

DHKey denotes the shared secret Diffie-Hellman Key computed as P192(SKa,
PKb) or P256(SKa, PKb) by A and as P192(SKb, PKa) or P256(SKb, PKb) by
B. IOcapA denotes the IO capability data of A and IOcapB denotes the IO
capability data of B. In Passkey Entry, the data ra and rb are 6-digit passkey
values which are expressed as a 128-bit integer. For instance, if the 6-digit
value of ra is 131313
   then R = 0x 00 00 00 00 00 00 00 00 00 00 00 00 00 02 00 f1.

The input A is the BD_ADDR of device A and the input B is the BD_ADDR of
device B.

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7.7.5 The Simple Pairing AMP Key Derivation Function h2

The definition of the Simple Pairing dedicated AMP key derivation function
makes use of the MAC function HMAC based on SHA-256, which is denoted
as HMAC-SHA-256W with 256-bit key W.

The inputs to the Simple Pairing function h2 are as follows:
                   W is 256 bits
                   keyID is 32 bits
                   L is 8 bits

The output of the Simple Pairing h2 function is as follows:
                   h2(W, keyID, L) = HMAC-SHA-256W (keyID) / 2256-(L*8)

For each Dedicated AMP, a fixed value of the key identifier KeyID is specified.
A master key MKAMP of length LAMP, 0 ≤ LAMP ≤ 32, is computed as
                   MKAMP = h2 (GAMP_LK, keyIDAMP, LAMP).

7.7.5.1 Initial GAMP_LK Creation

The Generic AMP Link Key (GAMP_LK) shall be created every time the link
key (LK) is changed or created using the f2 function (see Section 7.7.3).
Whenever the GAMP_LK is created, all dedicated AMP link keys associated
with the remote BD_ADDR shall be discarded.

A fixed value of the key identifier KeyID is specified ('gamp'). The string 'gamp'
is mapped into keyID using extended ASCII1 as follows:
                   keyID[0] = 0111 0000 (lsb)
                   keyID[1] = 0110 1101
                   keyID[2] = 0110 0001
                   keyID[3] = 0110 0111
                   keyID = 0x67616d70

The initial GAMP_LK shall be created in the Host using the h2 function.
                   GAMP_LK = h2 (W, 'gamp', 32)

Where W = LK || LK

7.7.5.2 Dedicated AMP Link Key Generation

Each AMP uses a defined keyID and keyLength. Both values are defined in the
Assigned numbers page.

A dedicated AMP link key is computed as

1. ISO_8859-1


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                   Dedicated_AMP_Link_Key = h2 (GAMP_LK, keyID, keyLength)

7.7.5.3 GAMP_LK Regeneration

Each time the GAMP_LK is used to generate a valid dedicated AMP link key it
shall be regenerated by computing
                   New_ GAMP_LK = h2 (GAMP_LK, 'gamp', 32)

and then setting
                   GAMP_LK = New_GAMP_LK

7.7.5.4 Debug AMP Link Key Generation

When the BR/EDR link key is a debug link key, the dedicated AMP link keys
are set equal to the keyLength least significant octets of the Generic AMP link
key. When debug link keys are used, the Generic AMP link key shall not be
regenerated.

7.7.6 The AES Encryption Key Generation Function h3

AES encryption keys are created using the AES encryption key generation
function h3. The definition of the AES encryption key generation function
makes use of the MAC function HMAC based on SHA-256, which is denoted
as HMAC-SHA-256T with 128-bit key T.

The inputs to function h3 are:

 Input                   Bits with P-256

 T                       128

 keyID                   32
 A1                      48

 A2                      48

 ACO                     64

A1 is the BD_ADDR of the master. A2 is the BD_ADDR of the slave. ACO is the
64 bit ACO output from h5. T is the 128 bit Bluetooth Link Key derived from f2.

The string “btak” (Bluetooth AES Key) is mapped into keyID using extended
ASCII as follows:
     keyID[0] = 0110 1011 (lsb)
     keyID[1] = 0110 0001
     keyID[2] = 0111 0100
     keyID[3] = 0110 0010
     KeyID = 0x6274616b

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The output of function h3 is:
     h3(W, keyID, A1, A2, ACO) =
     HMAC-SHA-256T(KeyID || A1 || A2 || ACO) / 2128

The output of h3 is taken as the 128 most significant (leftmost) bits of the
output of HMAC-SHA-256.

7.7.7 The Device Authentication Key Generation Function h4

With Secure Connections, a device authentication key is created using function
h4. The definition of the device authentication key generation function makes
use of the MAC function HMAC based on SHA-256, which is denoted as
HMAC-SHA-256T with 128-bit key T.

The inputs to function h4 are:

 Input                   Bits with P-256

 T                       128

 keyID                   32
 A1                      48

 A2                      48


A1 is the BD_ADDR of the master. A2 is the BD_ADDR of the slave. T is the
128 bit Bluetooth Link Key derived from f2.

The string “btdk” (Bluetooth Device Key) is mapped into keyID using extended
ASCII as follows:
     keyID[0] = 0110 1011 (lsb)
     keyID[1] = 0110 0100
     keyID[2] = 0111 0100
     keyID[3] = 0110 0010
     KeyID = 0x6274646b

The output of function h4 is:
     h4(W, KeyID, A1, A2) = HMAC-SHA-256T(KeyID || A1 || A2) / 2128

The output of h4 is taken as the 128 most significant (leftmost) bits of the
output of HMAC-SHA-256.




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7.7.8 The Device Authentication Confirmation Function h5

With Secure Connections, device authentication confirmation values are
created using function h5. The definition of the device authentication
confirmation function makes use of the MAC function HMAC based on SHA-
256, which is denoted as HMAC-SHA-256S with 128-bit key S.

The inputs to function h5 are:

 Input                  Bits with P-256

 S                      128

 R1                     128

 R2                     128


R1 is the 128 bit random number (AU_RAND_M) from the master during the
Link Manager device authentication sequence. R2 is the 128 bit random
number from the slave (AU_RAND_S) during the Link Manager device
authentication sequence. S is the 128-bit Bluetooth Device Authentication Key
derived from h4.
The output of function h5 is:
     h5(W, R1, R2) = HMAC-SHA-256S(R1 || R2) / 2128

The output of h5 is taken as the 128 most significant (leftmost) bits of the
output of HMAC-SHA-256. The first 32 bits (leftmost) become the
SRESmaster. The next 32 bits become the SRESslave. The final 64 bits
become the Authentication Ciphering Offset (ACO), which is used in h3 and as
the IV for Encryption Start for the encryption nonce.




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8 AMP SECURITY

8.1 CREATION OF THE INITIAL GENERIC AMP LINK KEY
AMP security starts any time the BR/EDR link key is created or changed. This
may be as the result of the f2 function during Phase 4 of the Secure Simple
Pairing process (see Section 7.7.3) or due to a change connection link key
procedure. The initial Generic AMP link key, GAMP_LK, is created with the h2
function using the BR/EDR Link Key concatenated together with itself to form a
256-bit value and with the KeyID 'gamp' (see Section 7.7.5.1). The Generic
AMP Link Key (GAMP_LK) is stored in the security database alongside the BR/
EDR Link Key once pairing has completed.

Whenever the Generic AMP Link Key is created, all Dedicated AMP Link Keys
associated with the remote device shall be discarded and any active AMP
Physical Links to the remote device shall be disconnected. Note that when a
Host initiates a Change Connection Link Key procedure, all active AMP
physical links between the two devices will be disconnected.

Since AMP security does not affect the BR/EDR Link Key, backwards
compatibility is maintained for devices that support the Generic AMP feature
with devices that do not. The Generic AMP Link Key is generated as part of
Secure Simple Pairing regardless of whether the devices both support the
Generic AMP feature or any AMP in common.

8.2 CREATION OF DEDICATED AMP LINK KEYS
When an AMP is used for the first time, a dedicated AMP key is created by the
AMP Manager for that AMP type using the new Secure Simple Pairing function
h2 and a KeyID for the AMP type. The length of the Dedicated AMP Link Key
depends on the AMP Type. If the Dedicated AMP Link Key already exists due
to a previous connection the AMP link key is not created and the stored key is
reused.

The Dedicated AMP Link Key is sent down to the PAL in the HCI Create
Physical Link and HCI Accept Physical Link commands (see [Vol 2] Part E,
Section 7.1.37 and [Vol 2] Part E, Section 7.1.38). Each PAL is responsible for
establishing security from the Dedicated AMP Link Key. Note that a Dedicated
AMP Link Key may be used for multiple sessions over the same AMP.

Each time a dedicated AMP key is created and the AMP Create Physical Link
sequence completes successfully (see [Vol 3] Part E, Section 2.3.3), the
Generic AMP Link Key is updated. This is performed using the h2 function with
KeyID 'gamp.' If the AMP Create Physical Link sequence does not complete
successfully, the dedicated AMP link key shall be discarded and the Generic
AMP Link Key shall not be updated.

Figure 8.1 shows an overview of the AMP key generation in the Host.

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                                            Yes        PMK exists
                                                        for AMP
                                                          type?



                                                              No


                                                       Debug Link
                                                                          Yes
                                                       Key Type?




                                                              No

                                                   Run h2 function with
                                                 keyID and keyLength set
                                                   for the selected AMP
                                                            type




                                           Use result in Create_Physical_Link or   Use keyLength least significant octets of
  Use stored key in Create_Physical_Link
                                             Accept_Physical_Link command.          GAMP_LK in Create_Physical_Link or
   or Accept_Physical_Link command.
                                                                                      Accept_Physical_Link command.




                  AMP                                     AMP                                       AMP
                 Security                                Security                                  Security
   No          Handshake                   No          Handshake                    No           Handshake
                Complete                                Complete                                  Complete
               Successfully                            Successfully                              Successfully
                    ?                                       ?                                         ?


                     Yes                                      Yes                                       Yes

                                                   Run h2 function with
                                                   ‘gamp’ and replace
                                                       GAMP_LK




Figure 8.1: AMP key generation in Host


Creation of the dedicated AMP keys and updates to the Generic AMP Link Key
are the responsibility of the AMP Manager (see [Vol 3] Part E, Section 2.3.3).

8.3 DEBUG CONSIDERATIONS
Since the AMP architecture requires encryption to be enabled on each AMP, in
order to support sniffers for debug as well as to enable testing over the air,
provisions need to be made in the AMP architecture to support debug
combination keys. In this document, this is supported in two ways:



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• Passing the link key type along with the link key (and length) in the
  HCI_Create_Physical_Link and HCI_Accept_Physical_Link commands and
• Requiring that the GAMP_LK is used as the dedicated AMP key when the
  key type is set to "debug combination key.”




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9 AES-CCM ENCRYPTION FOR BR/EDR

The Baseband provides security using Counter with Cipher Block Chaining-
Message Authentication Code (CCM) as defined in IETF RFC 3610 (http://
www.ietf.org/rfc/rfc3610.txt) with a modification to the B1 counter mode block
format that omits the length of the additional authenticated data. The
description of the algorithm can also be found in the NIST Special Publication
800-38C (http://csrc.nist.gov/publications/PubsSPs.html).

Using the notation in [4], CCM has two size parameters, M and L.
The Baseband defines these to be:

M = 4; indicating that the MIC length is 4 octets (32 bits)

Size of M represents a trade-off between message expansion and the
probability that an attacker can undetectably modify a message.

L = 2; indicating that the Length field is 2 octets (16 bits)

Size of L requires a trade-off between the maximum message size and the size
of the Nonce.

9.1 NONCE FORMATS
All of the parameters in the nonce are unique per logical transport. The nonce
will be 13 octets and will have two formats. The first format is called the
payload counter format and is used for ACL packets on the primary LT_ADDR.
The second format is called the clock format and is used for eSCO packets.

The reason for two formats has to do with two factors: potential security attacks
and synchronization. Since ACL packets on the primary LT_ADDR carry
protocol, they are susceptible to attacks that eSCO packets (only data) are not.

The descriptions of the two nonce formats are provided in Table 9.1.


                                  Payload Counter               Clock Format
 Octet     Field         Octets   Format Description            Description

 0         Nonce0        1        PayloadCounter[7:0]           CLK[8:1]
 1         Nonce1        1        PayloadCounter[15:8]          CLK[16:9]
 2         Nonce2        1        PayloadCounter[23:16]         CLK[24:17]

Table 9.1: Nonce Formats.




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                                  Payload Counter                           Clock Format
 Octet     Field         Octets   Format Description                        Description

 3         Nonce3        1        PayloadCounter[31:24]                     Bit 2 – Bit 0:
                                                                            CLK[27:25]


                                                                            Bit 7 – Bit 3:
                                                                            dayCounter[4:0]
 4         Nonce4        1        Bits 3 - 0: PayloadCounter[35:32]         Bit 5 – Bit 0:
                                                                            dayCounter[10:5]

                                  Bit 4: zero-length ACL-U
                                  continuation packet (1=zero-length        Bits 7-6:
                                  ACL-U continuation packet,                nonceType =
                                  0=otherwise)                              01b (eSCO)


                                  Bit 5: direction (0=master to slave,
                                  1=slave to master)


                                  Bits 7-6:
                                  nonceType = 00b (ACL)

 5         Nonce5        1                             Octet0 (LSO) of IV
 6         Nonce6        1                                Octet1 of IV

 7         Nonce7        1                                Octet2 of IV
 8         Nonce8        1                                Octet3 of IV
 9         Nonce9        1                                Octet4 of IV

 10        Nonce10       1                                Octet5 of IV
 11        Nonce11       1                                Octet6 of IV
 12        Nonce12       1                             Octet7 (MSO) of IV

Table 9.1: Nonce Formats.

In the payload counter format, the PayloadCounter starts at zero for the first
encrypted packet in each direction after encryption is started or resumed and
increments every time an encrypted payload including zero-length payloads is
accepted by the remote device. Note: It is possible that when encryption is
being enabled or resumed, a packet may first get transmitted unencrypted and
then get retransmitted encrypted. In such a case, the PayloadCounter gets
incremented when the encrypted retransmission of the packet gets accepted
by the remote device.

Bit 4 of Octet 4 shall be set to 1 for a zero length ACL-U continuation packet
(see [Vol 2] Part B, Section 7.6.2.2), otherwise it shall be set to 0.

In the clock format, the master clock (CLK) used for the nonce shall be the
value in the first slot of the packet. After a new ACL connection has been
established or a role switch has been successfully performed and when eSCO

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is successfully established for the first time then the dayCounter value shall be
initialized to:
     1 if CLK27 in the first clock format nonce is 0, and initialization procedure 2
     (see [Vol 2] Part B, Section 8.6.3) is used
     0 otherwise.

After the dayCounter has been initialized, it shall increment every time the
master clock (CLK) rolls over to 0x0000000 (approximately every 23.3 hours).
Note: When Security Mode 4 is in use, eSCO will not be established before
encryption is started.

The IV is an 8 octet field. For encryption start, all octets of the IV are from the
ACO output of the last execution of h5 prior to the start of encryption.
Note: Multiple device authentications may occur prior to starting encryption but
only the ACO of the last device authentication is used. After an encryption
resume, all 8 octets of the IV are from the EN_RAND sent by the device
initiating the encryption pause (see [Vol 2] Part C, Section 4.2.5.5). An
encryption pause and resume will be required prior to the PayloadCounter or
dayCounter rolling over in order to keep the nonce fresh for an encryption key.


            IV for Encryption       IV After Resume
 Octet      Start                   Encryption

 0          ACO[0]                  EN_RAND[0]

 1          ACO[1]                  EN_RAND[1]
 2          ACO[2]                  EN_RAND[2]
 3          ACO[3]                  EN_RAND[3]

 4          ACO[4]                  EN_RAND[4]
 5          ACO[5]                  EN_RAND[5]
 6          ACO[6]                  EN_RAND[6]

 7          ACO[7]                  EN_RAND[7]
Table 9.2: IV Construction.


9.2 COUNTER MODE BLOCKS
For calculating the MIC, the payload is broken into two or more counter mode
blocks. The CCM specification refers to these blocks as blocks B0 – Bn. B0
applies to the nonce, B1 applies to the associated data {that is packet header
and payload header} and additional B blocks are generated as needed for




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authentication of the payload body.


 Offset                         Size
 (octets)    Field              (octets)        Value      Description

 0           Flags              1               0x49       As per the CCM specification
 1           Nonce              13              variable   The nonce as described in Section 9.1.
                                                           Nonce0 shall have offset 1.
                                                           Nonce12 shall have offset 13.


 14          Length[MSO]        1               variable   The most significant octet of the length of
                                                           the payload body
 15          Length[LSO]        1               variable   The least significant octet of the length of
                                                           the payload body

Table 9.3: B0 Counter Mode Block Format.




                                     Size
 Offset     Field                    (octets)      Value           Description

 0          Packet_Header            1             Variable        The most significant octet of the
            [MSO]                                                  packet header:
                                                                   Bit 0: 0b (ARQN masked)
                                                                   Bit 1: 0b (SEQN masked)
                                                                   Bit 7 – Bit 2: 000000b

 1          Packet_Header            1             Variable        The least significant octet of the
            [LSO]                                                  packet header:
                                                                   Bit 2 – Bit 0: LT_ADDR
                                                                   Bit 6 – Bit 3: TYPE
                                                                   Bit 7: 0b (FLOW masked)

 2          Payload_Header           1             Variable        The payload header:
                                                                   Bit 1 – Bit 0: LLID
                                                                   Bit 2: 0b (FLOW masked)
                                                                   Bit 7 – Bit 3: 00000b

 3          Padding                  13            0x00, 0x00,     These octets are only used to
                                                   0x00, 0x00,     pad the block. They are not part
                                                   0x00, 0x00,     of the packet and never
                                                   0x00, 0x00,     transmitted.
                                                   0x00, 0x00,
                                                   0x00, 0x00,
                                                   0x00

Table 9.4: B1 Counter Mode Block Format.




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9.3 ENCRYPTION BLOCKS
The CCM algorithm uses the Ai blocks to generate a keystream that is used to
encrypt the MIC and payload body. Block A0 is always used to encrypt and
decrypt the MIC, when present. Block A1 is always used to encrypt and decrypt
the first 16 octets of the payload body. Subsequent blocks are always used to
encrypt and decrypt the rest of the payload body as needed.


 Offset                  Size
 (octets)   Field        (octets)   Value      Description

 0          Flags        1          0x01       As per the CCM specification
 1          Nonce        13         variable   The nonce as described in Section 9.1.
                                               Nonce0 shall have offset 1.
                                               Nonce12 shall have offset 13.

 14         i[MSO]       1          variable   The most significant octet of the counter i
 15         i[LSO]       1          variable   The least significant octet of the counter i
Table 9.5: Encryption Mode Block Format.


9.4 ENCRYPTION KEY SIZE REDUCTION
When the devices have negotiated a key size shorter than the maximum
length, the key will be shortened by replacing LSOs of the key with 0x00.

9.5 REPEATED MIC FAILURES
Anytime the MIC check fails and the CRC passes on a given packet, it is
considered an authentication failure. No more than three authentication failures
shall be permitted during the lifetime of an encryption key with a given IV. The
third authentication failure shall initiate an encryption key refresh (see [Vol 2]
Part C, Section 4.2.5.8). If a fourth authentication failure occurs prior to the
encryption key refresh procedure completing, the link shall be disconnected
with reason code Connection Rejected Due to Security Reasons (0x0E).
Note: The MIC is not checked when the CRC is invalid.




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          Core System
          Package
          [Host volume]



          Specification of the Bluetooth® System

          Specification Volume 3




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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
https://www.bluetooth.org/en-us/specification/adopted-specifications




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                   Core System Package [Host volume]
                                              Part A




    PART A: LOGICAL LINK CONTROL
       AND ADAPTATION PROTOCOL
                    SPECIFICATION




                          The Bluetooth logical link control and
                          adaptation protocol (L2CAP) supports
                          higher level protocol multiplexing,
                          packet segmentation and reassembly,
                          and the conveying of quality of service
                          information. The protocol state
                          machine, packet format, and
                          composition are described in this
                          document.




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Logical Link Control and Adaptation Protocol Specification


1 INTRODUCTION

This section of the Bluetooth Specification defines the Logical Link Control and
Adaptation Layer Protocol, referred to as L2CAP. L2CAP provides connection-
oriented and connectionless data services to upper layer protocols with
protocol multiplexing capability and segmentation and reassembly operation.
L2CAP permits higher level protocols and applications to transmit and receive
upper layer data packets (L2CAP Service Data Units, SDU) up to 64 kilobytes
in length. L2CAP also permits per-channel flow control and retransmission.

The L2CAP layer provides logical channels, named L2CAP channels, which
are multiplexed over one or more logical links.

1.1 L2CAP FEATURES
The functional requirements for L2CAP include protocol/channel multiplexing,
segmentation and reassembly (SAR), per-channel flow control, and error
control. L2CAP sits above a lower layer composed of one of the following:

        1.     BR/EDR Controller and zero or more AMP Controllers or
        2.     BR/EDR/LE Controller (supporting BR/EDR and LE) and zero or
               more AMP Controllers, or
        3.     LE Controller (supporting LE only)

L2CAP interfaces with upper layer protocols.

Figure 1.1 breaks down L2CAP into its architectural components. The Channel
Manager provides the control plane functionality and is responsible for all
internal signaling, L2CAP peer-to-peer signaling and signaling with higher and
lower layers. It performs the state machine functionality described in Section 6
and uses message formats described in Section 4, and Section 5. The
Retransmission and Flow Control block provides per-channel flow control and
error recovery using packet retransmission. The Resource Manager is
responsible for providing a frame relay service to the Channel Manager, the
Retransmission and Flow Control block and those application data streams
that do not require Retransmission and Flow Control services. It is responsible
for coordinating the transmission and reception of packets related to multiple
L2CAP channels over the facilities offered at the lower layer interface.




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                                data
                                           data
       Upper                                          data                control
       layer

                                                           (SDUs)

                              Segmentation (Reassembly )
                 Resource
                 Manager




                                                                          Channel
                             Retransmission & Flow Control
      L2CAP                                                               Manager
                                                             (commands)
       layer                  Encapsulation & Scheduling


                                             (PDUs)
                            Fragmentation (Recombination)
                                             (f ragments)

      Lower                 Fragmentation (Recombination)
       layer                                                                          Controls
     (HCI)                                                                            Data/packet f low


Figure 1.1: L2CAP architectural blocks


• Protocol/channel multiplexing
  L2CAP supports multiplexing over individual Controllers and across multiple
  Controllers. An L2CAP channel shall operate over one Controller at a time.
  During channel setup, protocol multiplexing capability is used to route the
  connection to the correct upper layer protocol.
  For data transfer, logical channel multiplexing is needed to distinguish
  between multiple upper layer entities. There may be more than one upper
  layer entity using the same protocol.
• Segmentation and reassembly
  With the frame relay service offered by the Resource Manager, the length of
  transport frames is controlled by the individual applications running over
  L2CAP. Many multiplexed applications are better served if L2CAP has
  control over the PDU length. This provides the following benefits:
               a) Segmentation will allow the interleaving of application data units in
                  order to satisfy latency requirements.
               b) Memory and buffer management is easier when L2CAP controls
                  the packet size.
               c) Error correction by retransmission can be made more efficient.
               d) The amount of data that is destroyed when an L2CAP PDU is
                  corrupted or lost can be made smaller than the application's data unit.
               e) The application is decoupled from the segmentation required to
                  map the application packets into the lower layer packets.




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• Flow control per L2CAP channel
  Controllers provide error and flow control for data going over the air and HCI
  flow control exists for data going over an HCI transport. When several data
  streams run over the same Controller using separate L2CAP channels, each
  channel requires individual flow control. A window based flow control
  scheme is provided.
• Error control and retransmissions
  When L2CAP channels are moved from one Controller to another data can
  be lost. Also, some applications require a residual error rate much smaller
  than some Controllers can deliver. L2CAP provides error checks and
  retransmissions of L2CAP PDUs. The error checking in L2CAP protects
  against errors due to Controllers falsely accepting packets that contain
  errors but pass Controller-based integrity checks. L2CAP error checking and
  retransmission also protect against loss of packets due to flushing by the
  Controller. The error control works in conjunction with flow control in the
  sense that the flow control mechanism will throttle retransmissions as well
  as first transmissions.
• Support for Streaming
  Streaming applications such as audio set up an L2CAP channel with an
  agreed-upon data rate and do not want flow control mechanisms, including
  those in the Controller, to alter the flow of data. A flush timeout is used to
  keep data flowing on the transmit side. Streaming mode is used to stop HCI
  and Controller based flow control from being applied on the receiving side.
• Fragmentation and Recombination
  Some Controllers may have limited transmission capabilities and may
  require fragment sizes different from those created by L2CAP segmentation.
  Therefore layers below L2CAP may further fragment and recombine L2CAP
  PDUs to create fragments which fit each layer’s capabilities. During
  transmission of an L2CAP PDU, many different levels of fragmentation and
  recombination may occur in both peer devices.
  The HCI driver or Controller may fragment L2CAP PDUs to honor packet
  size constraints of a Host Controller interface transport scheme. This results
  in HCI data packet payloads carrying start and continuation fragments of the
  L2CAP PDU. Similarly the Controller may fragment L2CAP PDUs to map
  them into Controller packets. This may result in Controller packet payloads
  carrying start and continuation fragments of the L2CAP PDU.
  Each layer of the protocol stack may pass on different sized fragments of
  L2CAP PDUs, and the size of fragments created by a layer may be different
  in each peer device. However the PDU is fragmented within the stack, the
  receiving L2CAP entity still recombines the fragments to obtain the original
  L2CAP PDU.




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• Quality of Service
  The L2CAP connection establishment process allows the exchange of
  information regarding the quality of service (QoS) expected between two
  Bluetooth devices. Each L2CAP implementation monitors the resources
  used by the protocol and ensures that QoS contracts are honored.
  For a BR/EDR or BR/EDR/LE Controller, L2CAP may support both
  isochronous (Guaranteed) and asynchronous (Best Effort) data flows over
  the same ACL logical link by marking packets as automatically-flushable or
  non-automatically-flushable by setting the appropriate value for the
  Packet_Boundary_Flag in the HCI ACL Data Packet (see [Vol 2] Part E,
  Section 5.4.2). Automatically-flushable L2CAP packets are flushed
  according to the automatic flush timeout set for the ACL logical link on which
  the L2CAP channels are mapped (see [Vol 2] Part E, Section 6.19). Non-
  automatically-flushable L2CAP packets are not affected by the automatic
  flush timeout and will not be flushed. All L2CAP packets can be flushed by
  using the HCI Flush command (see [Vol 2] Part E, Section 7.3.4).
  For AMP Controllers, L2CAP places all asynchronous data flows going to
  the same remote device over a single logical link (aggregation). L2CAP
  places each isochronous data flow over its own logical link.

1.2 ASSUMPTIONS
The protocol is designed based on the following assumptions:
1. Controllers provide orderly delivery of data packets, although there might be
   individual packet corruption and duplicates. For devices with a BR/EDR or
   BR/EDR/LE Controller, no more than one ACL-U logical link exists between
   any two devices. For devices with a given AMP Controller, more than one
   AMP-U logical link may exist between any two devices. For devices with a
   BR/EDR/LE or LE Controller, no more than one LE-U logical link exists
   between any two devices.
2. Controllers always provide the impression of full-duplex communication
   channels. This does not imply that all L2CAP communications are bi-
   directional. Unidirectional traffic does not require duplex channels.
3. The L2CAP layer provides a channel with a degree of reliability based on the
   mechanisms available in Controllers and with additional packet
   segmentation, error detection, and retransmission that can be enabled in the
   enhanced L2CAP layer. Some Controllers perform data integrity checks and
   resend data until it has been successfully acknowledged or a timeout
   occurs. Other Controllers will resend data up to a certain number of times
   whereupon the data is flushed. Because acknowledgments may be lost,
   timeouts may occur even after the data has been successfully sent. Note
   that the use of baseband broadcast packets in a BR/EDR or BR/EDR/LE
   Controller is unreliable and that all broadcasts start the first segment of an
   L2CAP packet with the same sequence bit.
4. Controllers provide error and flow control for data going over the air and HCI
   flow control exists for data going over an HCI transport but some

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   applications will want better error control than some Controllers provide.
   Also, moving channels between Controllers requires L2CAP flow and error
   control. The Flow and Error Control block provides four modes. Enhanced
   Retransmission mode and Retransmission Mode offer segmentation, flow
   control and L2CAP PDU retransmissions. Flow control mode offers just the
   segmentation and flow control functions. Streaming mode offers
   segmentation and receiver side packet flushing.

1.3 SCOPE
The following features are outside the scope of L2CAP’s responsibilities:
• L2CAP does not transport synchronous data designated for SCO or eSCO
  logical transports.
• L2CAP does not support a reliable broadcast channel. See Section 3.2.

1.4 TERMINOLOGY
The following formal definitions apply:

 Term                  Description

                       The system layer above the L2CAP layer, which exchanges data with
                       L2CAP in the form of SDUs. The upper layer may be represented by
 Upper layer           an application or higher protocol entity known as the Service Level
                       Protocol. The interface of the L2CAP layer with the upper layer is not
                       specified.

                       The system layer below the L2CAP layer, which exchanges data with
                       the L2CAP layer in the form of PDUs, or fragments of PDUs. The
                       lower layer is mainly represented within the Controller, however a
 Lower layer           Host Controller Interface (HCI) may be involved, such that an HCI
                       Host driver could also be seen as the lower layer. Except for the HCI
                       functional specification (in case HCI is involved) the interface between
                       L2CAP and the lower layer is not specified.

                       The logical connection between two endpoints in peer devices, char-
 L2CAP channel         acterized by their Channel Identifiers (CID), which is multiplexed over
                       one Controller based logical link.
                       Service Data Unit: a packet of data that L2CAP exchanges with the
                       upper layer and transports transparently over an L2CAP channel
 SDU,
                       using the procedures specified here. The term SDU is associated with
 or L2CAP SDU
                       data originating from upper layer entities only, i.e. does not include
                       any protocol information generated by L2CAP procedures.

                       A part of an SDU, as resulting from the Segmentation procedure. An
                       SDU may be split into one or more segments.
 Segment,
                       Note: This term is relevant only to Enhanced Retransmission mode,
 or SDU segment
                       Streaming mode, Retransmission Mode and Flow Control Mode, not
                       to the Basic L2CAP Mode.

Table 1.1: Terminology



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 Term                  Description

                       A procedure used in the L2CAP Retransmission and Flow Control
                       Modes, resulting in an SDU being split into one or more smaller units,
                       called Segments, as appropriate for the transport over an L2CAP
 Segmentation          channel.
                       Note: This term is relevant only to the Enhanced Retransmission
                       mode, Streaming mode, Retransmission Mode and Flow Control
                       Mode, not to the Basic L2CAP Mode.

                       The reverse procedure corresponding to Segmentation, resulting in
                       an SDU being re-established from the segments received over an
                       L2CAP channel, for use by the upper layer. Note that the interface
                       between the L2CAP and the upper layer is not specified; therefore,
 Reassembly            reassembly may actually occur within an upper layer entity although it
                       is conceptually part of the L2CAP layer.
                       Note: This term is relevant only to Enhanced Retransmission mode,
                       Streaming mode, Retransmission Mode and Flow Control Mode, not
                       to the Basic L2CAP Mode.

                       Protocol Data Unit: a packet of data containing L2CAP protocol infor-
                       mation fields, control information, and/or upper layer information data.
 PDU, or
                       A PDU is always started by a Basic L2CAP header. Types of PDUs
 L2CAP PDU
                       are: B-frames, I-frames, S-frames, C-frames, G-frames, and LE-
                       Frames.

                       Minimum L2CAP protocol information that is present in the beginning
 Basic L2CAP
                       of each PDU: a length field and a field containing the Channel Identi-
 header
                       fier (CID).
                       A B-frame is a PDU used in the Basic L2CAP mode for L2CAP data
 Basic information
                       packets. It contains a complete SDU as its payload, encapsulated by
 frame (B-frame)
                       a Basic L2CAP header.

                       An I-frame is a PDU used in Enhanced Retransmission Mode,
 Information frame     Streaming mode, Retransmission mode, and Flow Control Mode. It
 (I-frame)             contains an SDU segment and additional protocol information, encap-
                       sulated by a Basic L2CAP header
                       An S-frame is a PDU used in Enhanced Retransmission Mode,
 Supervisory frame     Retransmission Mode, and Flow Control Mode. It contains protocol
 (S-frame)             information only, encapsulated by a Basic L2CAP header, and no
                       SDU data.
                       A C-frame is a PDU that contains L2CAP signaling messages
 Control frame
                       exchanged between the peer L2CAP entities. C-frames are exclusively
 (C-frame)
                       used on the L2CAP signaling channel.

                       A G-frame is a PDU exclusively used on the Connectionless L2CAP
                       channel. It is encapsulated by a Basic L2CAP header and contains the
 Group frame
                       PSM followed by the completed SDU. G-frames may be used to broad-
 (G-frame)
                       cast data to active slaves via Active Broadcast or to send unicast data to
                       a single remote device.

                       An LE-frame is a PDU used in LE Credit Based Flow Control Mode. It
 LE Information
                       contains an SDU segment and additional protocol information, encapsu-
 frame (LE-frame)
                       lated by a Basic L2CAP header.
Table 1.1: Terminology


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                       A part of a PDU, as resulting from a fragmentation operation. Frag-
                       ments are used only in the delivery of data to and from the lower layer.
                       They are not used for peer-to-peer transportation. A fragment may be
                       a Start or Continuation Fragment with respect to the L2CAP PDU. A
 Fragment              fragment does not contain any protocol information beyond the PDU;
                       the distinction of start and continuation fragments is transported by
                       lower layer protocol provisions.
                       Note: Start Fragments always begin with the Basic L2CAP header of a
                       PDU.

                       A procedure used to split L2CAP PDUs to smaller parts, named frag-
                       ments, appropriate for delivery to the lower layer transport. Although
                       described within the L2CAP layer, fragmentation may actually occur in
                       an HCI Host driver, and/or in a Controller, to accommodate the L2CAP
 Fragmentation         PDU transport to HCI data packet or Controller packet sizes.
                       Fragmentation of PDUs may be applied in all L2CAP modes.
                       Note: In version 1.1, Fragmentation and Recombination was referred
                       to as “Segmentation and Reassembly“.

                       The reverse procedure corresponding to fragmentation, resulting in
                       an L2CAP PDU re-established from fragments. In the receive path,
 Recombination         full or partial recombination operations may occur in the Controller
                       and/or the Host, and the location of recombination does not necessar-
                       ily correspond to where fragmentations occurs on the transmit side.

 Maximum               The maximum size of payload data, in octets, that the upper layer
 Transmission Unit     entity is capable of accepting, i.e. the MTU corresponds to the maxi-
 (MTU)                 mum SDU size.

                       The maximum size of payload data in octets that the L2CAP layer
                       entity is capable of accepting, i.e. the MPS corresponds to the maxi-
 Maximum               mum PDU payload size.
 PDU payload Size
 (MPS)                 Note: In the absence of segmentation, or in the Basic L2CAP Mode, the
                       Maximum Transmission Unit is the equivalent to the Maximum PDU
                       payload Size and shall be made equal in the configuration parameters.

                       The maximum size of command information that the L2CAP layer
                       entity is capable of accepting. The MTUsig, refers to the signaling
 Signaling MTU
                       channel only and corresponds to the maximum size of a C-frame,
 (MTUsig)
                       excluding the Basic L2CAP header. The MTUsig value of a peer is dis-
                       covered when a C-frame that is too large is rejected by the peer.
                       The maximum size of the connection packet information that the
                       L2CAP layer entity is capable of accepting. The MTUcnl refers to the
 Connectionless        connectionless channel only and corresponds to the maximum G-
 MTU (MTUcnl)          frame, excluding the Basic L2CAP header and the PSM which imme-
                       diately follows it. The MTUcnl of a peer can be discovered by sending
                       an Information Request.

Table 1.1: Terminology




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 Term                  Description

                       In Enhanced Retransmission mode and Retransmission mode, Max-
                       Transmit controls the number of transmissions of a PDU that L2CAP
                       is allowed to try before assuming that the PDU (and the link) is lost.
                       The minimum value is 1 (only 1 transmission permitted). In Enhanced
 MaxTransmit           Retransmission mode a value 0 means infinite transmissions.
                       Note: Setting MaxTransmit to 1 prohibits PDU retransmissions. Fail-
                       ure of a single PDU will cause the link to drop. By comparison, in Flow
                       Control mode, failure of a single PDU will not necessarily cause the
                       link to drop.

Table 1.1: Terminology




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2 GENERAL OPERATION

L2CAP is based around the concept of ’channels’. Each one of the endpoints of
an L2CAP channel is referred to by a channel identifier (CID).

2.1 CHANNEL IDENTIFIERS
A channel identifier (CID) is the local name representing a logical channel
endpoint on the device. The scope of CIDs is related to the logical link as
shown in Figure 2.1. The null identifier (0x0000) shall never be used as a
destination endpoint. Identifiers from 0x0001 to 0x003F are reserved for
specific L2CAP functions. These channels are referred to as Fixed Channels.
At a minimum, the L2CAP Signaling channel (Fixed Channel 0x0001) or the
L2CAP LE Signaling channel (Fixed Channel 0x0005) shall be supported. If
Fixed Channel 0x0005 is supported, then Fixed Channels 0x0004 and 0x0006
shall be supported (see Table 2.2). Other fixed channels may be supported.
The Information Request / Response mechanism (described in Section 4.10
and Section 4.11) shall be used to determine which fixed channels a remote
device supports over the ACL-U logical link.

The characteristics of each fixed channel are defined on a per channel basis.
Fixed channel characteristics include configuration parameters (e.g., reliability,
MTU size, QoS), security, and the ability to change parameters using the
L2CAP configuration mechanism. Table 2.1 lists the defined fixed channels,
provides a reference to where the associated channel characteristics are
defined and specifies the logical link over which the channel may operate.
Fixed channels are available as soon as the ACL-U or LE-U logical link is set
up. All initialization that is normally performed when a channel is created shall
be performed for each of the supported fixed channels when the ACL-U or LE-
U logical link is set up. Fixed channels shall only run over ACL-U, ASB-U, or
LE-U logical links and shall not be moved.

Implementations are free to manage the remaining CIDs in a manner best
suited for that particular implementation, with the provision that two
simultaneously active L2CAP channels shall not share the same CID. A
different CID name space exists for each ACL-U, ASB-U, and LE-U logical link.
The AMP-U logical link shares the CID name space with its associated ACL-U
logical link. Table 2.1 and Table 2.2 summarizes the definition and partitioning
of the CID name space for each logical link.




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                                                                                       Local
          CID                    CID                            CID
                        MOVE                                                           device
           N                      N                              N




            L2CAP                 L2CAP                           L2CAP
           multiplexer           multiplexer                     multiplexer

                                       AMP-U
                ACL-U




                                                                      LE-U
             Remote               Remote                          Remote               Remote
            address A            address B                       address C             device



                                               Address may be
                                                    equal



                         CID name space


Figure 2.1: Dynamically allocated CID assignments


Assignment of dynamically allocated CIDs is relative to a particular logical link
and a device can assign CIDs independently from other devices. Thus, even if
the same CID value has been assigned to (remote) channel endpoints by
several remote devices connected to a single local device, the local device can
still uniquely associate each remote CID with a different device. Further, even if
the same CID value has been assigned to (remote) channel endpoints by the
same remote device, these can be distinguished because they will be bound to
a different logical link.
The CID name space for the ACL-U, ASB-C, and AMP-U logical links is as fol-
lows:

                                                         Channel                      Logical Link
 CID                      Description                    Characteristics              Supported

 0x0000                   Null identifier                Not allowed
 0x0001                   L2CAP Signaling channel        See Section 4                ACL-U

 0x0002                   Connectionless channel         See Section 7.6              ACL-U,
                                                                                      ASB-U
Table 2.1: CID name space on ACL-U, ASB-U, and AMP-U logical links



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                                                  Channel                        Logical Link
 CID                Description                   Characteristics                Supported

 0x0003             AMP Manager Protocol          See [Vol 3] Part E, Section    ACL-U
                                                  2.2.
 0x0004-0x0006      Reserved for Future Use       Not applicable
 0x0007             BR/EDR Security Manager       See [Vol 3] Part H             ACL-U

 0x0008-0x003E      Reserved for Future Use       Not applicable
 0x003F             AMP Test Manager              See [Vol 3] Part D, Section    ACL-U
                                                  1.2.3
 0x0040-0xFFFF      Dynamically allocated         Communicated using             ACL-U,
                                                  L2CAP configuration            AMP-U
                                                  mechanism (see Section
                                                  7.1)

Table 2.1: CID name space on ACL-U, ASB-U, and AMP-U logical links

The CID name space for the LE-U logical link is as follows:

                                                  Channel                        Logical Link
 CID                Description                   Characteristics                Supported

 0x0000             Null identifier               Not Allowed
 0x0001-0x0003      Reserved for Future Use       Not applicable
 0x0004             Attribute Protocol            See [Vol 3] Part F             LE-U

 0x0005             Low Energy L2CAP              See Section 4                  LE-U
                    Signaling channel
 0x0006             Security Manager Protocol     See [Vol 3] Part H             LE-U
 0x0007-0x001F      Reserved for Future Use       Not applicable

 0x0020-0x003E      Assigned Numbers                                             LE-U
 0x003F             Reserved for Future Use       Not applicable
 0x0040-0x007F      Dynamically allocated         Communicated using the         LE-U
                                                  L2CAP LE credit based
                                                  create connection mecha-
                                                  nism (see Section 4.22)

 Other              Reserved for Future Use       Not applicable
Table 2.2: CID name space on LE-U logical link




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2.2 OPERATION BETWEEN DEVICES
Figure 2.2 illustrates the use of CIDs in a communication between
corresponding peer L2CAP entities in separate devices. The connection-
oriented data channels represent a connection between two devices, where a
CID, combined with the logical link, identifies each endpoint of the channel.
When used for broadcast transmissions, the connectionless channel restricts
data flow to a single direction. The connectionless channel may be used to
transmit data to all active slaves, using Active Broadcast. When used for
unicast transmissions the connectionless channel may be used in either
direction between a master and a slave.

There are also a number of CIDs reserved for special purposes. The L2CAP
signaling channels are examples of reserved channels. Fixed channel 0x0001
is used to create and establish connection-oriented data channels and to
negotiate changes in the characteristics of connection-oriented channels and
to discover characteristics of the connectionless channel operating over the
ACL-U logical link.

The L2CAP signaling channel (0x0001) and all supported fixed channels are
available immediately when the ACL-U logical link is established between two
devices. Another CID (0x0002) is reserved for all incoming and outgoing
connectionless data traffic, whether broadcast or unicast. Connectionless data
traffic may flow immediately once the ACL-U logical link is established between
two devices and once the transmitting device has determined that the remote
device supports connectionless traffic.

The L2CAP LE signaling channel (0x0005) and all supported fixed channels
are available immediately when the LE-U logical link is established between
two devices.



               Connection-oriented                 Connectionless                               Signaling
               and Unicast Traffic on               data channel                                channel
               Connectionless Channel
                                CID




                                                 CID




                                                                         CID




                                                                                          CID




                     L2CAP                                   L2CAP                               L2CAP
                      Entity                                  Entity                              Entity
                                CID




                                                 CID




                                                               CID
                    Device #1         CID                                           CID
                                                                                                Device #2



                                                       CID             CID

                                       L2CAP                                   L2CAP
                                        Entity                                  Entity


                                  Device #3                                  Device #4

Figure 2.2: Channels between devices



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Table 2.3 describes the various channel types and their source and destination
identifiers. A dynamically allocated CID is allocated to identify, along with the
logical link, the local endpoint and shall be in the range 0x0040 to 0xFFFF for
ACL-U, 0x0040 to 0x007F for LE-U. Section 6 describes the state machine
associated with each connection-oriented channel with a dynamically allocated
CID. Section 3.1 and Section 3.3 describe the packet format associated with
connection-oriented channels. Section 3.2 describes the packet format
associated with the connectionless channel.

 Channel Type            Local CID (sending)                     Remote CID (receiving)

 Connection-oriented     Dynamically allocated and fixed         Dynamically allocated and fixed
 Connectionless data     0x0002 (fixed)                          0x0002 (fixed)

 L2CAP Signaling         0x0001 and 0x0005 (fixed)               0x0001 and 0x0005 (fixed)
Table 2.3: Types of Channel Identifiers


2.3 OPERATION BETWEEN LAYERS
L2CAP implementations should follow the general architecture described
below. L2CAP implementations transfer data between upper layer protocols
and the lower layer protocol. This document lists a number of services that
should be exported by any L2CAP implementation. Each implementation shall
also support a set of signaling commands for use between L2CAP
implementations. L2CAP implementations should also be prepared to accept
certain types of events from lower layers and generate events to upper layers.
How these events are passed between layers is implementation specific.


                                            Upper Layer


                     Request      Confirm             Response        Indication


                                            L2CAP Layer


                     Request      Confirm             Response        Indication


                                            Lower Layer




Figure 2.3: L2CAP transaction model




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2.4 MODES OF OPERATION
L2CAP channels may operate in one of five different modes as selected for
each L2CAP channel.

The modes are:
• Basic L2CAP Mode (equivalent to L2CAP specification in Bluetooth v1.1) 1
• Flow Control Mode
• Retransmission Mode
• Enhanced Retransmission Mode
• Streaming Mode
• LE Credit Based Flow Control Mode

The modes are enabled using the configuration procedure described in Section
7.1. The Basic L2CAP Mode shall be the default mode, which is used when no
other mode is agreed. Enhanced Retransmission mode shall be used for all
reliable channels created over AMP-U logical links and for ACL-U logical links
operating as described in Section 7.10. Enhanced Retransmission mode
should be enabled for reliable channels created over ACL-U logical links not
operating as described in Section 7.10. Streaming mode shall be used for
streaming applications created over AMP-U logical links and ACL-U logical
links operating as described in Section 7.10. Streaming mode should be
enabled for streaming applications created over ACL-U logical links not
operating as described in Section 7.10. Either Enhanced Retransmission mode
or Streaming mode should be enabled when supported by both L2CAP entities.
Flow Control Mode and Retransmission mode shall only be enabled when
communicating with L2CAP entities that do not support either Enhanced
Retransmission mode or Streaming mode.

In Flow Control mode, Retransmission mode, and Enhanced Retransmission
mode, PDUs exchanged with a peer entity are numbered and acknowledged.
The sequence numbers in the PDUs are used to control buffering, and a
TxWindow size is used to limit the required buffer space and/or provide a
method for flow control.

In Flow Control Mode no retransmissions take place, but missing PDUs are
detected and can be reported as lost.

In Retransmission Mode a timer is used to ensure that all PDUs are delivered
to the peer, by retransmitting PDUs as needed. A go-back-n repeat mechanism
is used to simplify the protocol and limit the buffering requirements.

Enhanced Retransmission mode is similar to Retransmission mode. It adds the
ability to set a POLL bit to solicit a response from a remote L2CAP entity, adds


1. Specification of the Bluetooth System v1.1 (Feb 22nd 2001): volume 1, part D.


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the SREJ S-frame to improve the efficiency of error recovery and adds an RNR
S-frame to replace the R-bit for reporting a local busy condition.

Streaming mode is for real-time isochronous traffic. PDUs are numbered but
are not acknowledged. A finite flush timeout is set on the sending side to flush
packets that are not sent in a timely manner. On the receiving side if the
receive buffers are full when a new PDU is received then a previously received
PDU is overwritten by the newly received PDU. Missing PDUs can be detected
and reported as lost. TxWindow size is not used in Streaming mode.

Note: Although L2CAP Basic mode may be used for L2CAP channels
operating over ACL-U logical links, only L2CAP channels which have been
configured to use Enhanced Retransmission mode or Streaming mode may be
moved to operate over an AMP-U logical link. (see Section 4.16).

LE Credit Based Flow Control Mode is used for LE L2CAP connection oriented
channels for flow control using a credit based scheme for L2CAP data (i.e. not
signaling packets). This is the only mode that shall be used for LE L2CAP
connection oriented channels.

L2CAP channels used for multiplexing layers such as RFCOMM can serve a
variety of higher layer protocols. In cases where the local device and remote
device have mutual support for an AMP and complementary support for profiles
on a multiplexing layer which requires reliability (e.g. RFCOMM), the multiplexing
layer should be configured to use Enhanced Retransmission mode to ensure
that profiles utilizing the multiplexer are not prevented from being moved to the
AMP-U logical link. Similarly, in cases where the local device and remote device
have mutual support for an AMP and complementary support for profiles on a
multiplexing layer which does not require reliability, the multiplexing layer should
be configured to use Streaming mode to ensure that profiles utilizing the
multiplexer are not prevented from being moved to the AMP-U logical link.

Care should be taken in selecting the parameters used for Enhanced
Retransmission mode and Streaming mode when they are used beneath legacy
profile implementations to ensure that performance is not negatively impacted
relative to the performance achieved when using the same profile with Basic
mode on an ACL-U logical link. When there can never be a mutually supported
AMP, nor complementary support for a profile which would benefit from AMP, it
may be preferable to configure Basic mode to minimize the risk of negative
performance impacts.




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2.5 MAPPING CHANNELS TO LOGICAL LINKS
L2CAP maps channels to Controller logical links, which in turn run over
Controller physical links. All logical links going between a local Controller and
remote Controller run over a single physical link. There is one ACL-U logical
link per BR/EDR physical link and one LE-U logical link per LE physical link,
while there may be multiple AMP-U logical links per AMP physical link.

All Best Effort and Guaranteed channels going over a BR/EDR physical link
between two devices shall be mapped to a single ACL-U logical link. All Best
Effort channels going over an AMP physical link between two Controllers shall
be mapped to a single AMP-U logical link while each Guaranteed channel
going between two Controllers shall be mapped to its own AMP-U logical link
with one AMP-U logical link per Guaranteed channel. All channels going over
an LE physical link between two devices shall be treated as best effort and
mapped to a single LE-U logical link.

When a Guaranteed channel is created or moved to a Controller, a
corresponding Guaranteed logical link shall be created to carry the channel
traffic. Creation of a Guaranteed logical link involves admission control.
Admission control is verifying that the guarantee can be achieved without
compromising existing guarantees. For an AMP Controller, L2CAP shall tell the
Controller to create a Guaranteed logical link and admission control shall be
performed by the Controller. For a BR/EDR Controller, admission control
(creation of a Guaranteed logical link) shall be performed by the L2CAP layer.




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3 DATA PACKET FORMAT

L2CAP is packet-based but follows a communication model based on
channels. A channel represents a data flow between L2CAP entities in remote
devices. Channels may be connection-oriented or connectionless. Fixed
channels other than the L2CAP connectionless channel (CID 0x0002) and the
two L2CAP signaling channels (CIDs 0x0001 and 0x0005) are considered
connection-oriented. All channels with dynamically assigned CIDs are
connection-oriented. All L2CAP layer packet fields shall use Little Endian byte
order with the exception of the information payload field. The endian-ness of
higher layer protocols encapsulated within L2CAP information payload is
protocol-specific.

3.1 CONNECTION-ORIENTED CHANNELS IN BASIC L2CAP
MODE
Figure 3.1 illustrates the format of the L2CAP PDU used on connection-
oriented channels. In basic L2CAP mode, the L2CAP PDU on a connection-
oriented channel is also referred to as a "B-frame".


         Basic L2CAP
            header

                Channel
      Length                                      Information payload
                  ID
   LSB    16         16                                                                  MSB

    Basic information frame (B-frame)

Figure 3.1: L2CAP PDU format in Basic L2CAP mode on connection-oriented channels (field
sizes in bits)


The fields shown are:
• Length: 2 octets (16 bits)
  Length indicates the size of the information payload in octets, excluding the
  length of the L2CAP header. The length of an information payload can be up
  to 65535 octets. The Length field is used for recombination and serves as a
  simple integrity check of the recombined L2CAP packet on the receiving end.
• Channel ID: 2 octets
  The channel ID (CID) identifies the destination channel endpoint of the packet.
• Information payload: 0 to 65535 octets
  This contains the payload received from the upper layer protocol (outgoing
  packet), or delivered to the upper layer protocol (incoming packet). The MTU
  for channels with dynamically allocated CIDs is determined during channel



Data Packet Format                                                            06 December 2016
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   configuration (see Section 5.1). The minimum supported MTU values for the
   signaling PDUs are shown in Table 4.1).

3.2 CONNECTIONLESS DATA CHANNEL IN BASIC L2CAP
MODE
Figure 3.2 illustrates the L2CAP PDU format within a connectionless data
channel. Here, the L2CAP PDU is also referred to as a "G-frame".


         Basic L2CAP
            header

      Length 0x0002       PSM                     Information payload

   LSB    16         16                                                               MSB
    Group frame (G-frame)


Figure 3.2: L2CAP PDU format on the Connectionless channel


The fields shown are:
• Length: 2 octets
  Length indicates the size of information payload plus the PSM field in octets.
• Channel ID: 2 octets
  Channel ID (0x0002) reserved for connectionless traffic.
• Protocol/Service Multiplexer (PSM): 2 octets (minimum)
  For information on the PSM field see Section 4.2.
• Information payload: 0 to 65533 octets
  This parameter contains the payload information to be distributed to all
  slaves in the piconet for broadcast connectionless traffic, or to a specific
  remote device for data sent via the L2CAP connectionless channel.
  Implementations shall support a connectionless MTU (MTUcnl) of 48 octets
  on the connectionless channel. Devices may also explicitly change to a
  larger or smaller connectionless MTU (MTUcnl).
  Note: The maximum size of the Information payload field decreases
  accordingly if the PSM field is extended beyond the two octet minimum.




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3.3 CONNECTION-ORIENTED CHANNEL IN
RETRANSMISSION/FLOW CONTROL/STREAMING MODES
To support flow control, retransmissions, and streaming, L2CAP PDU types
with protocol elements in addition to the Basic L2CAP header are defined. The
information frames (I-frames) are used for information transfer between L2CAP
entities. The supervisory frames (S-frames) are used to acknowledge I-frames
and request retransmission of I-frames.

           Basic L2CAP
              header



                     Channel
       Length                       Control3      FCS1
                       ID

 LSB     16            16            16 or 32    0 or 16
                                                           MSB
 Supervisory frame (S-frame)


           Basic L2CAP
              header


                                                 L2CAP
                     Channel
       Length                       Control3      SDU,           Information Payload       FCS1
                       ID
                                                 Length2
 LSB     16            16            16 or 32    0 or 16                                   0 or 16
                                                                                                     MSB
 Information frame (I-frame)

                        1
                            FCS is optional
                        2
                            Only present in the “Start of L2CAP SDU” frame, SAR=01b
                        3
                            Standard and Enhanced Control is 16 bits, Extended Control is 32 bits

Figure 3.3: L2CAP PDU formats in Flow Control and Retransmission Modes




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3.3.1 L2CAP header fields
• Length: 2 octets
  The first two octets in the L2CAP PDU contain the length of the entire
  L2CAP PDU in octets, excluding the Length and CID field.
  For I-frames and S-frames, the Length field therefore includes the octet
  lengths of the Control, L2CAP SDU Length (when present), Information
  octets and frame check sequence (FCS) (when present) fields.
  The maximum number of Information octets in one I-frame is based on
  which fields are present and the type of the Control Field. The maximum
  number of Information octets in an I-frame with a Standard Control field is as
  follows:

   L2CAP SDU Length present and FCS present                        65529 octets
   L2CAP SDU Length present and FCS not present                    65531 octets
   L2CAP SDU Length not present and FCS present                    65531 octets
   L2CAP SDU Length not present and FCS not present                65533 octets

   The maximum number of Information octets in an I-frame with an Extended
   Control field is as follows:

   L2CAP SDU Length present and FCS present                        65527 octets
   L2CAP SDU Length present and FCS not present                    65529 octets
   L2CAP SDU Length not present and FCS present                    65529 octets
   L2CAP SDU Length not present and FCS not present                65531 octets

• Channel ID: 2 octets
  This field contains the Channel Identification (CID).




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3.3.2 Control field (2 or 4 octets)

The Control Field identifies the type of frame. There are three different Control
Field formats: the Standard Control Field, the Enhanced Control Field, and the
Extended Control Field. The Standard Control Field shall be used for
Retransmission mode and Flow Control mode. The Enhanced Control Field
shall be used for Enhanced Retransmission mode and Streaming mode. The
Extended Control Field may be used for Enhanced Retransmission mode and
Streaming mode. The Control Field will contain sequence numbers where
applicable. Its coding is shown in Table 3.1, Table 3.2, and Table 3.3. There are
two different frame types, Information frame types and Supervisory frame
types. Information and Supervisory frames types are distinguished by the least
significant bit in the Control Field, as shown in Table 3.1, Table 3.2, and Table
3.3.
• Information frame format (I-frame)
  The I-frames are used to transfer information between L2CAP entities. Each
  I-frame has a TxSeq(Send sequence number), ReqSeq(Receive sequence
  number) which may or may not acknowledge additional I-frames received by
  the data link layer entity. Each I-frame with a Standard Control field has a
  retransmission bit (R bit) that affects whether I-frames are retransmitted.
  Each I-frame with an Enhanced Control Field or an Extended Control Field
  has an F-bit that is used in Poll/Final bit functions.
  The SAR field in the I-frame is used for segmentation and reassembly
  control. The L2CAP SDU Length field specifies the length of an SDU,
  including the aggregate length across all segments if segmented.
• Supervisory frame format (S-frame)
     S-frames are used to acknowledge I-frames and request retransmission of I-
     frames. Each S-frame has an ReqSeq sequence number which may
     acknowledge additional I-frames received by the data link layer entity. Each
     S-frame with a Standard Control Field has a retransmission bit (R bit) that
     affects whether I-frames are retransmitted. Each S-frame with an Enhanced
     Control field or an Extended Control Field has a Poll bit (P-bit) and a Final bit
     (F-bit) and does not have an R-bit.
     Defined types of S-frames are RR (Receiver Ready), REJ (Reject), RNR
     (Receiver Not Ready) and SREJ (Selective Reject).

 Frame
 type       16       15   14   13   12   11   10   9   8     7   6   5    4     3      2     1

 I          SAR           ReqSeq                       R     TxSeq                           0
 S          X        X    ReqSeq                       R     X   X   X    S            0     1
 X denotes bits reserved for future use.

Table 3.1: Standard Control Field formats




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 Frame
 type       16       15   14   13   12   11   10   9   8     7   6   5    4       3    2     1

 I          SAR           ReqSeq                       F     TxSeq                           0
 S          X        X    ReqSeq                       F     X   X   P        S        0     1
 X denotes bits reserved for future use.

Table 3.2: Enhanced Control Field formats




 Frame
 type       16       15   14   13   12   11   10   9   8     7   6   5    4       3    2     1

 I          ReqSeq                                                                     F     0
            TxSeq                                                                      SAR

 S          ReqSeq                                                                     F     1
                                                       X     X   X   X    X       P    S
 X denotes bits reserved for future use.

Table 3.3: Extended Control Field formats

• Send Sequence Number - TxSeq (6 bits or 14 bits)
  The send sequence number is used to number each I-frame, to enable
  sequencing and retransmission.
• Receive Sequence Number - ReqSeq (6 bits or 14 bits)
  The receive sequence number is used by the receiver side to acknowledge
  I-frames, and in the REJ and SREJ frames to request the retransmission of
  an I-frame with a specific send sequence number.
• Retransmission Disable Bit - R (1 bit)
  The Retransmission Disable bit is used to implement Flow Control. The
  receiver sets the bit when its internal receive buffer is full, this happens when
  one or more I-frames have been received but the SDU reassembly function
  has not yet pulled all the frames received. When the sender receives a
  frame with the Retransmission Disable bit set it shall disable the
  RetransmissionTimer, this causes the sender to stop retransmitting I-frames.
  R=0: Normal operation. Sender uses the RetransmissionTimer to control
  retransmission of I-frames. Sender does not use the MonitorTimer.
  R=1: Receiver side requests sender to postpone retransmission of I-frames.
  Sender monitors signaling with the MonitorTimer. Sender does not use the
  RetransmissionTimer.
  The functions of ReqSeq and R are independent.



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• Segmentation and Reassembly - SAR (2 bits)
  The SAR bits define whether an L2CAP SDU is segmented. For segmented
  SDUs, the SAR bits also define which part of an SDU is in this I-frame, thus
  allowing one L2CAP SDU to span several I-frames.
  An I-frame with SAR=”Start of L2CAP SDU” also contains a length indicator,
  specifying the number of information octets in the total L2CAP SDU. The
  encoding of the SAR bits is shown in Table 3.4.

     00b    Unsegmented L2CAP SDU
     01b    Start of L2CAP SDU

     10b    End of L2CAP SDU
     11b    Continuation of L2CAP SDU
   Table 3.4: SAR control element format

• Supervisory function - S (2 bits)
  The S-bits mark the type of S-frame. There are four types defined: RR
  (Receiver Ready), REJ (Reject), RNR (Receiver Not Ready) and SREJ
  (Selective Reject). The encoding is shown in Table 3.5.

     00b    RR - Receiver Ready

     01b    REJ - Reject
     10b     RNR - Receiver Not Ready
     11b     SREJ - Select Reject

   Table 3.5: S control element format: type of S-frame

• Poll - P (1 bit)
  The P-bit is set to 1 to solicit a response from the receiver. The receiver shall
  respond immediately with a frame with the F-bit set to 1.
• Final - F (1 bit)
  The F-bit is set to 1 in response to an S-frame with the P bit set to 1.

3.3.3 L2CAP SDU Length Field (2 octets)

When an SDU spans more than one I-frame, the first I-frame in the sequence
shall be identified by SAR=01b=”Start of L2CAP SDU”. The L2CAP SDU
Length field shall specify the total number of octets in the SDU. The L2CAP
SDU Length field shall be present in I-frames with SAR=01b (Start of L2CAP
SDU) and shall not be used in any other I-frames. When the SDU is
unsegmented (SAR=00b), the L2CAP SDU Length field is not needed and
shall not be present.




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3.3.4 Information Payload Field

The information payload field consists of an integral number of octets. The
maximum number of octets in this field is the same as the negotiated value of
the MPS configuration parameter. The maximum number of octets in this field
is also limited by the range of the Basic L2CAP header length field. This ranges
from 65533 octets for I-frames with a Standard or Enhanced Control Field, no
SDU length field, and no FCS field to 65527 octets for I-frames with an
Enhanced Control Field, an SDU length field, and FCS field. Thus, even if an
MPS of 65533 has been negotiated, the range of the Basic L2CAP header
length field will restrict the number of octets in this field. For example, when an
Enhanced Control Field, an SDU length field, and FCS field are present the
number of octets in this field is restricted to 65529.

3.3.5 Frame Check Sequence (2 octets)

The Frame Check Sequence (FCS) is 2 octets. The FCS is constructed using
the generator polynomial g(D) = D16 + D15 + D2 + 1 (see Figure 3.4). The 16 bit
LFSR is initially loaded with the value 0x0000, as depicted in Figure 3.5. The
switch S is set in position 1 while data is shifted in, LSB first for each octet.
After the last bit has entered the LFSR, the switch is set in position 2, and the
register contents are transmitted from right to left (i.e. starting with position 15,
then position 14, etc.). The FCS covers the Basic L2CAP header, Control,
L2CAP-SDU length and Information payload fields, if present, as shown in
Figure 3.3.



             D0           D2                                                                D15     S       2   D16
                                                                                                        1


                                                                                                                 FCS out

  Position        0   1        2   3   4   5   6       7       8   9   10   11   12   13    14    15

                                                                                           Data in (LSB first)

Figure 3.4: The LFSR circuit generating the FCS



 Position    0    1       2        3   4   5       6       7       8   9     10 11 12 13 14 15
   LFSR      0    0       0        0   0   0       0       0       0   0     0        0      0          0        0    0

Figure 3.5: Initial state of the FCS generating circuit


Examples of FCS calculation, g(D) = D16 + D15 + D2 + 1:




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1. I Frame
   Length = 14
   Control = 0x0002 (SAR=00b, ReqSeq=000000b, R=0b, TxSeq=000001b)
   Information Payload = 00 01 02 03 04 05 06 07 08 09 (10 octets, hexadeci-
   mal notation)
   ==> FCS = 0x6138
   ==> Data to Send = 0E 00 40 00 02 00 00 01 02 03 04 05 06 07 08 09 38 61
   (hexadecimal notation)
2. RR Frame
   Length = 4
   Control = 0x0101 (ReqSeq=000001b, R=0b, S=00b)
   ==> FCS = 0x14D4
   ==> Data to Send = 04 00 40 00 01 01 D4 14 (hexadecimal notation)

3.3.6 Invalid Frame Detection

For Retransmission mode and Flow Control mode, a received PDU shall be
regarded as invalid, if one of the following conditions occurs:
1. Contains an unknown CID.
2. Contains an FCS error.
3. Contains a length greater than the maximum PDU payload size (MPS).
4. I-frame that has fewer than 8 octets.
5. I-frame with SAR=01b (Start of L2CAP SDU) that has fewer than 10 octets.
6. I-frame with SAR bits that do not correspond to a normal sequence of either
   unsegmented or start, continuation, end for the given CID.
7. S-frame where the length field is not equal to 4.

These error conditions may be used for error reporting.

3.3.7 Invalid Frame Detection Algorithm

For Enhanced Retransmission mode and Streaming mode the following
algorithm shall be used for received PDUs. It may be used for Retransmission
mode and Flow Control mode:

       1.     Check the CID. If the PDU contains an unknown CID then it shall be
              ignored.
       2.     Check the FCS. If the PDU contains an FCS error then it shall be
              ignored. If the channel is configured to use "No FCS" then the PDU
              is considered to have a good FCS (no FCS error).




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       3.     Check the following conditions. If one of the conditions occurs the
              channel shall be closed or in the case of fixed channels the ACL shall
              be disconnected.
              a) PDU contains a length greater than the maximum PDU payload
                 size (MPS)
              b) I-frame that has fewer than the required number of octets.If the
                 channel is configured to use a Standard or Enhanced Control Field
                 then the required number of octets is 6 if "No FCS" is configured;
                 otherwise, it is 8. If the channel is configured to use the Extended
                 Control Field then the required number of octets is 8 if "No FCS"
                 is configured; otherwise, it is 10.
              c) S-frame where the length field is invalid. If the channel is
                 configured to use a Standard or Enhanced Control Field then the
                 length field shall be 2 if "No FCS" is configured; otherwise, the
                 length field shall be 4. If the channel is configured to use the
                 Extended Control Field then the length field shall be 4 if "No FCS"
                 is configured; otherwise, the length field shall be 6.
       4.     Check the SAR bits. The SAR check is performed after the frame has
              been successfully received in the correct sequence. The PDU is
              invalid if one of the following conditions occurs:
              a) I-frame with SAR=01b (Start of L2CAP SDU) that has fewer than
                 the required number of octets. If the channel is configured to use
                 a Standard or Enhanced Control field then the required number of
                 octets is 8 if "No FCS" is configured; otherwise, the required
                 number of octets is 10. If the channel is configured to use an
                 Extended Control field then the required number of octets is 10 if
                 "No FCS" is configured; otherwise, the required number of octets
                 is 12.
              b) I-frame with SAR bits that do not correspond to a normal sequence
                 of either unsegmented or start, continuation, end for the given
                 CID.
              c) I-frame with SAR= 01b (Start of L2CAP SDU) where the value in
                 the L2CAP SDU length field exceeds the configured MTU.
       5.     If the I-frame has been received in the correct sequence and is invalid
              as described in 4 then the channel shall be closed or in the case of
              fixed channels the ACL shall be disconnected. For Streaming mode
              and Flow Control mode if one or more I-frames are missing from a
              sequence of I-frames using SAR bits of start, continuation and end
              then received I-frames in the sequence may be ignored. For Flow
              Control mode and Streaming mode I-frames received out of
              sequence with SAR bits of unsegmented may be accepted.

If the algorithm is used for Retransmission mode or Flow control mode then it
shall be used instead of Invalid Frame detection described in Section 3.3.6.

These error conditions may be used for error reporting.

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3.4 CONNECTION-ORIENTED CHANNELS IN LE CREDIT
BASED FLOW CONTROL MODE
To support LE Credit Based Flow Control Mode, L2CAP PDU type with protocol
elements in addition to the Basic L2CAP header are defined. In LE Credit
Based Flow Control Mode, the L2CAP PDU on a connection-oriented channel
is an LE information frame (LE-frame).


              Basic L2CAP
                header


                                    L2CAP SDU
          Length      Channel ID                               Information Payload
                                      Length1

   LSB       16            16             16                                                       MSB

   LE Information frame (LE-frame)

                                                             1. Only present in first LE-frame of the SDU

Figure 3.6: L2CAP PDU format in LE Credit Based Flow Control Mode


3.4.1 L2CAP Header Fields
• Length: 2 octets
  The first two octets in the L2CAP PDU contain the length of the entire
  L2CAP PDU in octets, excluding the Length and CID fields.
  For LE-frames, the Length field includes the octet lengths of the L2CAP
  SDU Length when present and Information Payload fields.
• Channel ID: 2 octets
  The channel ID (CID) identifies the destination channel endpoint of the
  packet.

3.4.2 L2CAP SDU Length Field (2 octets)

The first LE-frame of the SDU shall contain the L2CAP SDU Length field that
shall specify the total number of octets in the SDU. All subsequent LE-frames
that are part of the same SDU shall not contain the L2CAP SDU Length field.

3.4.3 Information Payload Field

The information payload field consists of an integral number of octets. The
maximum number of octets in this field is the same as the peer’s MPS. The
maximum number of octets in this field is also limited by the range of the Basic
L2CAP header length field, of 65533 octets.

The number of octets contained in the first LE-frame information payload of the
SDU is equal to the L2CAP header length field minus 2 octets. All subsequent

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LE-frames of the same SDU contain the number of octets in the information
payload equal to the L2CAP header length field.

If the SDU length field value exceeds the receiver's MTU, the receiver shall
disconnect the channel. If the payload length of any LE-frame exceeds the
receiver's MPS, the receiver shall disconnect the channel. If the sum of the
payload lengths for the LE-frames exceeds the specified SDU length, the
receiver shall disconnect the channel.




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4 SIGNALING PACKET FORMATS

This section describes the signaling commands passed between two L2CAP
entities on peer devices. All signaling commands are sent over a signaling
channel. The signaling channel for managing channels over ACL-U logical
links shall use CID 0x0001 and the signaling channel for managing channels
over LE-U logical links shall use CID 0x0005. Signaling channels are available
as soon as the lower layer logical transport is set up and L2CAP traffic is
enabled. Figure 4.1 illustrates the general format of L2CAP PDUs containing
signaling commands (C-frames). Multiple commands may be sent in a single
C-frame over Fixed Channel CID 0x0001 while only one command per C-frame
shall be sent over Fixed Channel CID 0x0005. Commands take the form of
Requests and Responses. All L2CAP implementations shall support the
reception of C-frames with a payload length that does not exceed the signaling
MTU. The minimum supported payload length for the C-frame (MTUsig) is
defined in Table 4.1. L2CAP implementations should not use C-frames that
exceed the MTUsig of the peer device. If a device receives a C-frame that
exceeds its MTUsig then it shall send a Command Reject containing the
supported MTUsig. Implementations shall be able to handle the reception of
multiple commands in an L2CAP packet sent over Fixed Channel CID 0x0001.

                                                                Minimum Supported Payload
 Logical Link                                                   Length for the C-frame (MTUsig)

 ACL-U not supporting Extended Flow Specification               48 octets

 ACL-U supporting the Extended Flow Specification               672 octets
 feature
 LE-U                                                           23 octets

Table 4.1: Minimum Signaling MTU


             Basic L2CAP
               header


         Length     Channel ID            Information payload

   LSB      16             16    Control frame (C-frame)                                       MSB

     Channel ID = 0x0001 for ACL-U
     Channel ID = 0x0005 for LE-U

Figure 4.1: L2CAP PDU format on a signaling channel


Figure 4.2 displays the general format of all signaling commands.




Signaling Packet Formats                                                             06 December 2016
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                  LSB       octet 0       octet 1          octet 2            octet 3         MSB

                           Code       Identifier                     Length
                                                    data


Figure 4.2: Command format


The fields shown are:
• Code (1 octet)
  The Code field is one octet long and identifies the type of command. When a
  packet is received with a Code field that is unknown or disallowed on the
  signaling channel it is received on, a Command Reject packet (defined in
  Section 4.1) is sent in response.
  Table 4.2 lists the codes defined by this document. All codes are specified
  with the most significant bit in the left-most position.

                                                                                        CIDs on which Code is
     Code             Description                                                       Allowed

     0x00             Reserved for Future Use                                           Any

     0x01             Command reject                                                    0x0001 and 0x0005
     0x02             Connection request                                                0x0001
     0x03             Connection response                                               0x0001

     0x04             Configure request                                                 0x0001
     0x05             Configure response                                                0x0001

     0x06             Disconnection request                                             0x0001 and 0x0005
     0x07             Disconnection response                                            0x0001 and 0x0005
     0x08             Echo request                                                      0x0001

     0x09             Echo response                                                     0x0001
     0x0A             Information request                                               0x0001
     0x0B             Information response                                              0x0001

     0x0C             Create Channel request                                            0x0001
     0x0D             Create Channel response                                           0x0001
     0x0E             Move Channel request                                              0x0001

     0x0F             Move Channel response                                             0x0001
     0x10             Move Channel Confirmation                                         0x0001
     0x11             Move Channel Confirmation response                                0x0001

   Table 4.2: Signaling Command Codes

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                                                             CIDs on which Code is
     Code             Description                            Allowed

     0x12             Connection Parameter Update request    0x0005
     0x13             Connection Parameter Update response   0x0005
     0x14             LE Credit Based Connection request     0x0005

     0x15             LE Credit Based Connection response    0x0005
     0x16             LE Flow Control Credit                 0x0005
     Other            Reserved for Future Use                Any

   Table 4.2: Signaling Command Codes (Continued)

• Identifier (1 octet)
  The Identifier field is one octet long and matches responses with requests.
  The requesting device sets this field and the responding device uses the
  same value in its response. Within each signaling channel a different
  Identifier shall be used for each successive command. Following the original
  transmission of an Identifier in a command, the Identifier may be recycled if
  all other Identifiers have subsequently been used.
  RTX and ERTX timers are used to determine when the remote end point is
  not responding to signaling requests. On the expiration of a RTX or ERTX
  timer, the same identifier shall be used if a duplicate Request is re-sent as
  stated in Section 6.2.
  A device receiving a duplicate request on a particular signaling channel
  should reply with a duplicate response on the same signaling channel. A
  command response with an invalid identifier is silently discarded. Signaling
  identifier 0x00 is an illegal identifier and shall never be used in any
  command.
• Length (2 octets)
  The Length field is two octets long and indicates the size in octets of the data
  field of the command only, i.e., it does not cover the Code, Identifier, and
  Length fields.
• Data (0 or more octets)
  The Data field is variable in length. The Code field determines the format of
  the Data field. The length field determines the length of the data field.




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4.1 COMMAND REJECT (CODE 0x01)
A Command Reject packet shall be sent in response to a command packet with
an unknown command code or when sending the corresponding response is
inappropriate. Figure 4.3 displays the format of the packet. The identifier shall
match the identifier of the command packet being rejected. Implementations
shall always send these packets in response to unidentified signaling packets.
Command Reject packets should not be sent in response to an identified
Response packet.

When multiple commands are included in an L2CAP packet and the packet
exceeds the signaling MTU (MTUsig) of the receiver, a single Command Reject
packet shall be sent in response. The identifier shall match the first Request
command in the L2CAP packet. If only Responses are recognized, the packet
shall be silently discarded.


                  LSB        octet 0     octet 1         octet 2            octet 3   MSB

                           Code=0x01   Identifier                  Length
                                  Reason                  Data (optional)


Figure 4.3: Command Reject Packet


Figure 4.3 shows the format of the Command Reject packet. The data fields are:
• Reason (2 octets)
  The Reason field describes why the Request packet was rejected, and is set
  to one of the Reason codes in Table 4.3.

     Reason value               Description

     0x0000                     Command not understood
     0x0001                     Signaling MTU exceeded
     0x0002                     Invalid CID in request

     Other                      Reserved for Future Use
   Table 4.3: Reason Code Descriptions

• Data (0 or more octets)
  The length and content of the Data field depends on the Reason code. If the
  Reason code is 0x0000, “Command not understood”, no Data field is used.
  If the Reason code is 0x0001, “Signaling MTU Exceeded”, the 2-octet Data
  field represents the maximum signaling MTU the sender of this packet can
  accept.
  If a command refers to an invalid channel then the Reason code 0x0002 will
  be returned. Typically a channel is invalid because it does not exist. The data


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   field shall be 4 octets containing the local (first) and remote (second) channel
   endpoints (relative to the sender of the Command Reject) of the disputed
   channel. The remote endpoint is the source CID from the rejected command.
   The local endpoint is the destination CID from the rejected command. If the
   rejected command contains only one of the channel endpoints, the other one
   shall be replaced by the null CID 0x0000.

     Reason value             Data Length              Data value

     0x0000                   0 octets                 N/A

     0x0001                   2 octets                 Actual MTUsig

     0x0002                   4 octets                 Requested CID
   Table 4.4: Reason Data values


4.2 CONNECTION REQUEST (CODE 0x02)
Connection request packets are sent to create an L2CAP channel between two
devices. The L2CAP channel shall be established before configuration begins.
Figure 4.4 illustrates a Connection Request packet.


                  LSB        octet 0         octet 1         octet 2            octet 3   MSB

                           Code=0x02     Identifier                    Length
                                       PSM                       Source CID


Figure 4.4: Connection Request Packet


The data fields are:
• Protocol/Service Multiplexer - PSM (2 octets (minimum))
  The PSM field is at least two octets in length. The structure of the PSM field
  is based on the ISO 3309 extension mechanism for address fields. All PSM
  values shall be ODD, that is, the least significant bit of the least significant
  octet must be 1. Also, all PSM values shall have the least significant bit of
  the most significant octet equal to 0. This allows the PSM field to be
  extended beyond 16 bits. PSM values are separated into two ranges. Valid
  values in the first range are assigned by the Bluetooth SIG and indicate
  protocols. The second range of values are dynamically allocated and used
  in conjunction with the Service Discovery Protocol (SDP). The dynamically
  assigned values may be used to support multiple implementations of a
  particular protocol.




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   PSM values are defined in the Assigned Numbers document.

     Range                 Type         Server Usage           Client Usage

     0x0001-0x0EFF         Fixed, SIG   PSM is fixed for all   PSM may be obtained via SDP or
     (Note 1)              assigned     implementations.       may be assumed for a fixed ser-
                                                               vice. Protocol used is indicated
                                                               by the PSM as defined in the
                                                               Assigned Numbers page.

     >0x1000               Dynamic      PSM may be fixed       PSM shall be obtained via SDP
                                        for a given imple-     upon every reconnection. PSM
                                        mentation or may       for one direction will typically be
                                        be assigned at the     different from the other direction.
                                        time the service is
                                        registered in SDP.

   Table 4.5: PSM ranges and usage
     1. PSMs shall be odd and the least significant bit of the most significant byte shall be
        zero, hence the following ranges do not contain valid PSMs: 0x0100-0x01FF,
        0x0300-0x03FF, 0x0500-0x05FF, 0x0700-0x07FF, 0x0900-0x09FF, 0x0B00-
        0x0BFF, 0x0D00-0x0DFF, 0x0F00-0x0FFF. All even values are also not valid as
        PSMs.


• Source CID - SCID (2 octets)
  The source CID is two octets in length and represents a channel endpoint on
  the device sending the request. Once the channel has been configured, data
  packets flowing to the sender of the request shall be sent to this CID. Thus,
  the Source CID represents the channel endpoint on the device sending the
  request and receiving the response. The value of the Source CID shall be
  from the dynamically allocated range as defined in Table 2.1 and shall not be
  already allocated to a different channel on the device sending the request.




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4.3 CONNECTION RESPONSE (CODE 0x03)
When a device receives a Connection Request packet, it shall send a
Connection Response packet. Note: Implementations conforming to previous
versions of this specification may respond with a Command Reject (Reason
0x0002 – Invalid CID In Request) packet under conditions now covered by
result codes of 0x0006 and 0x0007.
The format of the connection response packet is shown in Figure 4.5.


                  LSB        octet 0        octet 1   octet 2            octet 3   MSB

                           Code=0x03   Identifier               Length
                              Destination CID             Source CID

                                   Result                       Status


Figure 4.5: Connection Response Packet


The data fields are:
• Destination Channel Identifier - DCID (2 octets)
  This field contains the channel endpoint on the device sending this
  Response packet. Thus, the Destination CID represents the channel
  endpoint on the device receiving the request and sending the response. The
  value of the Destination CID shall be from the dynamically allocated range
  as defined in Table 2.1 and shall not be already allocated to a different
  channel on the device sending the response.
• Source Channel Identifier - SCID (2 octets)
  This field contains the channel endpoint on the device receiving this
  Response packet. This is copied from the SCID field of the connection
  request packet.
• Result (2 octets)
  The result field indicates the outcome of the connection request. The result
  value of 0x0000 indicates success while a non-zero value indicates the
  connection request failed or is pending. A logical channel is established on
  the receipt of a successful result unless the DCID field is outside of the
  dynamically allocated range (see Table 2.1) or is already allocated on the
  device sending the response. Table 4.6 defines values for this field. If the
  result field does not indicate the connection was successful, the DCID and
  SCID fields may be invalid and shall be ignored.

     Value             Description

     0x0000            Connection successful.
     0x0001            Connection pending
   Table 4.6: Result values

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     Value             Description

     0x0002            Connection refused – PSM not supported.
     0x0003            Connection refused – security block.
     0x0004            Connection refused – no resources available.

     0x0005            Reserved for Future Use
     0x0006            Connection refused – invalid Source CID
     0x0007            Connection refused – Source CID already allocated

     Other             Reserved for Future Use.
   Table 4.6: Result values (Continued)

• Status (2 octets)
  Only defined for Result = Pending. Indicates the status of the connection.
  The status is set to one of the values shown in Table 4.7.

     Value          Description

     0x0000         No further information available

     0x0001         Authentication pending
     0x0002         Authorization pending
     Other          Reserved for Future Use

   Table 4.7: Status values




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4.4 CONFIGURATION REQUEST (CODE 0x04)
Configuration Request packets are sent to establish an initial logical link
transmission contract between two L2CAP entities and also to re-negotiate this
contract whenever appropriate. The contract consists of a set of configuration
parameter options defined in Section 5. All parameter options have default
values and can have previously agreed values which are values that were
accepted in a previous configuration process or in a previous step in the
current configuration process. The only parameters that should be included in
the Configuration Request packet are those that require different values than
the default or previously agreed values.

If no parameters need to be negotiated or specified then no options shall be
inserted and the continuation flag (C) shall be set to zero. Any missing
configuration parameters are assumed to have their most recently explicitly or
implicitly accepted values. Even if all default values are acceptable, a
Configuration Request packet with no options shall be sent. Implicitly accepted
values are default values for the configuration parameters that have not been
explicitly negotiated for the specific channel under configuration.

See Section 7.1 for details of the configuration procedure.

Figure 4.6 defines the format of the Configuration Request packet.


                 LSB         octet 0         octet 1     octet 2            octet 3    MSB

                           Code=0x04     Identifier                Length

                              Destination CID                      Flags

                                         Configuration Options


Figure 4.6: Configuration Request Packet


The data fields are:
• Destination CID - DCID (2 octets)
   This field contains the channel endpoint on the device receiving this
   Request packet.
• Flags (2 octets)
  Figure 4.7 shows the two-octet Flags field. Note the most significant bit is
  shown on the left.


                                       MSB                         LSB
                                                   RFU             C


Figure 4.7: Configuration Request Flags field format


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   Only one flag is defined, the Continuation flag (C).
   When both L2CAP entities support the Extended Flow Specification option,
   the Continuation flag shall not be used and shall be set to zero in all
   Configuration Request and Response packets.
   When all configuration options cannot fit into a Configuration Request with
   length that does not exceed the receiver's MTUsig, the options shall be
   passed in multiple configuration command packets. If all options fit into the
   receiver's MTUsig, then they shall be sent in a single configuration request
   with the continuation flag set to zero. Each Configuration Request shall
   contain an integral number of options - partially formed options shall not be
   sent in a packet. Each Request shall be tagged with a different Identifier and
   shall be matched with a Response with the same Identifier.
   When used in the Configuration Request, the continuation flag indicates the
   responder should expect to receive multiple request packets. The responder
   shall reply to each Configuration Request packet. The responder may reply
   to each Configuration Request with a Configuration Response containing
   the same option(s) present in the Request (except for those error conditions
   more appropriate for a Command Reject), or the responder may reply with a
   "Success" Configuration Response packet containing no options, delaying
   those options until the full Request has been received. The Configuration
   Request packet with the continuation flag cleared shall be treated as the
   Configuration Request event in the channel state machine.
   When used in the Configuration Response, the continuation flag shall be set
   to one if the flag is set to one in the Request. If the continuation flag is set to
   one in the Response when the matching Request has the flag set to zero, it
   indicates the responder has additional options to send to the requestor. In
   this situation, the requestor shall send null-option Configuration Requests
   (with continuation flag set to zero) to the responder until the responder
   replies with a Configuration Response where the continuation flag is set to
   zero. The Configuration Response packet with the continuation flag set to
   zero shall be treated as the Configuration Response event in the channel
   state machine.
   The result of the configuration transaction is the union of all the result
   values. All the result values must succeed for the configuration transaction
   to succeed.
   Other flags are reserved for future use.
• Configuration Options
  A list of the parameters and their values to be negotiated shall be provided in
  the Configuration Options field. These are defined in Section 5. A
  Configuration Request may contain no options (referred to as an empty or
  null configuration request) and can be used to request a response. For an
  empty configuration request the length field is set to 0x0004.




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4.5 CONFIGURATION RESPONSE (CODE 0x05)
Configuration Response packets shall be sent in reply to Configuration
Request packets except when the error condition is covered by a Command
Reject response. Each configuration parameter value (if any is present) in a
Configuration Response reflects an ’adjustment’ to a configuration parameter
value that has been sent (or, in case of default values, implied) in the
corresponding Configuration Request. For example, if a configuration request
relates to traffic flowing from device A to device B, the sender of the
configuration response may adjust this value for the same traffic flowing from
device A to device B, but the response cannot adjust the value in the reverse
direction.

The options sent in the Response depend on the value in the Result field.
Figure 4.8 defines the format of the Configuration Response packet. See also
Section 7.1 for details of the configuration process.


                  LSB        octet 0         octet 1         octet 2            octet 3   MSB

                           Code=0x05     Identifier                    Length
                                Source CID                             Flags

                                   Result                              Config


Figure 4.8: Configuration Response Packet


The data fields are:
• Source CID - SCID (2 octets)
  This field contains the channel endpoint on the device receiving this
  Response packet. The device receiving the Response shall check that the
  Identifier field matches the same field in the corresponding configuration
  request command and the SCID matches its local CID paired with the
  original DCID.
• Flags (2 octets)
  Figure 4.9 displays the two-octet Flags field. Note the most significant bit is
  shown on the left.


                                       MSB                              LSB
                                                       RFU              C


Figure 4.9: Configuration Response Flags field format


   Only one flag is defined, the Continuation flag (C).



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   When both L2CAP entities support the Extended Flow Specification option,
   the Continuation flag shall not be used and shall be set to zero in all
   Configuration Request and Response packets.
   More configuration responses will follow when C is set to one. This flag
   indicates that the parameters included in the response are a partial subset of
   parameters being sent by the device sending the Response packet.
   The other flag bits are reserved for future use.
• Result (2 octets)
  The Result field indicates whether or not the Request was acceptable. See
  Table 4.8 for possible result codes.

     Result        Description

     0x0000        Success
     0x0001        Failure – unacceptable parameters

     0x0002        Failure – rejected (no reason provided)
     0x0003        Failure – unknown options
     0x0004        Pending

     0x0005        Failure - flow spec rejected
     Other         Reserved for Future Use
   Table 4.8: Configuration Response Result codes

• Configuration Options
   This field contains the list of parameters being configured. These are
   defined in Section 5. On a successful result (Result=0x0000) and pending
   result (Result=0x0004), these parameters contain the return values for any
   wild card parameter values (see Section 5.3) and “adjustments” to non-
   negotiated configuration parameter values contained in the request. A
   response with the result code of 0x0000 (Success) is also referred to as a
   positive response.
   On an unacceptable parameters failure (Result=0x0001) the rejected
   parameters shall be sent in the response with the values that would have
   been accepted if sent in the original request. Any missing configuration
   parameters in the Configuration Request are assumed to have their default
   value or previously agreed value and they too shall be included in the
   Configuration Response if they need to be changed. A response with the
   result code of 0x0001 is also referred to as a negative response.
   On an unknown option failure (Result=0x0003), the option(s) that contain an
   option type field that is not understood by the recipient of the Request shall
   be included in the Response unless they are hints. Hints are those options in
   the Request that are skipped if not understood (see Section 5). Hints shall
   not be included in the Response and shall not be the sole cause for rejecting
   the Request.


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   On a flow spec rejected failure (Result=0x0005), an Extended Flow Spec
   option may be included to reflect the QoS level that would be acceptable
   (see Section 7.1.3).
   The decision on the amount of time (or messages) spent arbitrating the
   channel parameters before terminating the negotiation is implementation
   specific.

4.6 DISCONNECTION REQUEST (CODE 0x06)
Terminating an L2CAP channel requires that a disconnection request be sent
and acknowledged by a disconnection response. Figure 4.10 shows a
disconnection request. The receiver shall ensure that both source and
destination CIDs match before initiating a channel disconnection.

Once a Disconnection Request is issued, all incoming data in transit on this
L2CAP channel shall be discarded and any new additional outgoing data shall
be discarded. Once a disconnection request for a channel has been received,
all data queued to be sent out on that channel shall be discarded.


                  LSB         octet 0    octet 1     octet 2            octet 3   MSB

                           Code=0x06    Identifier             Length

                              Destination CID            Source CID


Figure 4.10: Disconnection Request Packet


The data fields are:
• Destination CID - DCID (2 octets)
  This field specifies the endpoint of the channel to be disconnected on the
  device receiving this request.
• Source CID - SCID (2 octets)
  This field specifies the endpoint of the channel to be disconnected on the
  device sending this request.

The SCID and DCID are relative to the sender of this request and shall match
those of the channel to be disconnected. If the DCID is not recognized by the
receiver of this message, a CommandReject message with ’invalid CID’ result
code shall be sent in response. If the receiver finds a DCID match but the SCID
fails to find the same match, the request should be silently discarded.




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4.7 DISCONNECTION RESPONSE (CODE 0x07)
Disconnection responses shall be sent in response to each valid disconnection
request.


                  LSB         octet 0    octet 1      octet 2            octet 3   MSB

                           Code=0x07    Identifier              Length

                              Destination CID             Source CID


Figure 4.11: Disconnection Response Packet


The data fields are:
• Destination CID - DCID (2 octets)
  This field identifies the channel endpoint on the device sending the
  response.
• Source CID - SCID (2 octets)
  This field identifies the channel endpoint on the device receiving the
  response.
  The DCID and the SCID (which are relative to the sender of the request),
  and the Identifier fields shall match those of the corresponding
  disconnection request command. If the CIDs do not match, the response
  should be silently discarded at the receiver.

4.8 ECHO REQUEST (CODE 0x08)
Echo requests are used to request a response from a remote L2CAP entity.
These requests may be used for testing the link or for passing vendor specific
information using the optional data field. L2CAP entities shall respond to a valid
Echo Request packet with an Echo Response packet. The Data field is optional
and implementation specific. L2CAP entities should ignore the contents of this
field if present.


                  LSB         octet 0    octet 1      octet 2            octet 3   MSB

                           Code=0x08    Identifier              Length

                                            Data (optional)


Figure 4.12: Echo Request Packet




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4.9 ECHO RESPONSE (CODE 0x09)
An Echo response shall be sent upon receiving a valid Echo Request. The
identifier in the response shall match the identifier sent in the Request. The
optional and implementation specific data field may contain the contents of the
data field in the Request, different data, or no data at all.


                  LSB         octet 0      octet 1      octet 2            octet 3   MSB

                           Code=0x09      Identifier              Length

                                              Data (optional)


Figure 4.13: Echo Response Packet


4.10 INFORMATION REQUEST (CODE 0x0A)
Information requests are used to request implementation specific information
from a remote L2CAP entity. L2CAP implementations shall respond to a valid
Information Request with an Information Response. It is optional to send
Information Requests.

An L2CAP implementation shall only use optional features or attribute ranges
for which the remote L2CAP entity has indicated support through an
Information Response. Until an Information Response which indicates support
for optional features or ranges has been received only mandatory features and
ranges shall be used.


                  LSB         octet 0      octet 1      octet 2            octet 3   MSB

                           Code=0x0A      Identifier              Length

                                  InfoType


Figure 4.14: Information Request Packet


The data field is:
• InfoType (2 octets)
   The InfoType defines the type of implementation specific information being
   requested. See Section 4.11 for details on the type of information requested.

     Value                  Description

     0x0001                 Connectionless MTU
     0x0002                 Extended features supported

   Table 4.9: InfoType definitions



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     Value                 Description

     0x0003                Fixed Channels supported
     Other                 Reserved for Future Use
   Table 4.9: InfoType definitions (Continued)

L2CAP entities shall not send an Information Request packet with InfoType
0x0003 over Fixed Channel CID 0x0001 until first verifying that the Fixed
Channels bit is set in the Extended feature mask of the remote device. Support
for fixed channels is mandatory for devices with BR/EDR/LE or LE Controllers.
Information Request and Information Response shall not be used over Fixed
Channel CID 0x0005.

4.11 INFORMATION RESPONSE (CODE 0x0B)
An information response shall be sent upon receiving a valid Information
Request. The identifier in the response shall match the identifier sent in the
Request. The data field shall contain the value associated with the InfoType
field sent in the Request, or shall be empty if the InfoType is not supported.


                  LSB        octet 0      octet 1      octet 2            octet 3   MSB

                           Code=0x0B     Identifier              Length
                                  InfoType                       Result

                                             Data (optional)


Figure 4.15: Information Response Packet


The data fields are:
• InfoType (2 octets)
  The InfoType defines the type of implementation specific information that
  was requested. This value shall be copied from the InfoType field in the
  Information Request.
• Result (2 octets)
  The Result contains information about the success of the request. If result is
  "Success," the data field contains the information as specified in Table 4.11.
  If result is "Not supported," no data shall be returned.

     Value                      Description

     0x0000                     Success
     0x0001                     Not supported
   Table 4.10: Information Response Result values


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     Value                   Description

     Other                   Reserved for Future Use
   Table 4.10: Information Response Result values (Continued)

• Data (0 or more octets)
  The contents of the Data field depends on the InfoType.
  For InfoType = 0x0001 the data field contains the remote entity’s 2-octet
  acceptable connectionless MTU. The default value is defined in Section 3.2.
  For InfoType = 0x0002, the data field contains the 4 octet L2CAP extended
  feature mask. The feature mask refers to the extended features that the
  L2CAP entity sending the Information Response supports. The feature bits
  contained in the L2CAP feature mask are specified in Section 4.12.
  For InfoType = 0x0003, the data field contains an 8 octet bit map that
  indicates which Fixed L2CAP Channels (i.e., the L2CAP channels that use a
  CID from 0x0000 to 0x003F) are supported. A list of available fixed channels
  is provided in Table 2.1 in Section 2.1. A detailed description of this InfoType
  data field is given in Section 4.13.
  Note: L2CAP entities of versions prior to version 1.2, receiving an
  Information Request with InfoType = 0x0002 for an L2CAP feature
  discovery, return an Information Response with result code "Not supported."
  L2CAP entities at version 1.2 to 2.1 + EDR that have an all zero extended
  features mask may return an Information Response with result code "Not
  supported."

                                                       Data Length
     InfoType      Data                                (octets)

     0x0001        Connectionless MTU                  2
     0x0002        Extended feature mask               4
     0x0003        Fixed Channels Supported            8

   Table 4.11: Information Response Data fields




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4.12 EXTENDED FEATURE MASK
The features are represented as a bit mask in the Information Response data
field (see Section 4.11). For each feature a single bit is specified which shall be
set to 1 if the feature is supported and set to 0 otherwise. All unknown or
unassigned feature bits are reserved for future use.

The feature mask shown in Table 4.12 consists of 4 octets (numbered octet 0
... 3), with bit numbers 0 ... 7 each. Within the Information Response packet
data field, bit 0 of octet 0 is aligned leftmost, bit 7 of octet 3 is aligned rightmost.

Note: The L2CAP feature mask was introduced in Bluetooth v1.2 and contains
features introduced after Bluetooth v1.1.

 No.    Supported feature                            Octet   Bit

 0      Flow control mode                            0       0

 1      Retransmission mode                          0       1
 2      Bi-directional QoS1                          0       2

 3      Enhanced Retransmission Mode                 0       3
 4      Streaming Mode                               0       4
 5      FCS Option                                   0       5

 6      Extended Flow Specification for BR/EDR       0       6
 7      Fixed Channels                               0       7
 8      Extended Window Size                         1       0

 9      Unicast Connectionless Data Reception        1       1
 31     Reserved for feature mask extension          3       7
Table 4.12: Extended feature mask
 1. Peer side supports upper layer control of the Link Manager's
    Bi-directional QoS, see Section 5.3 for more details.




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4.13 FIXED CHANNELS SUPPORTED
Each Fixed Channel is represented by a single bit in an 8 octet bit mask. The
bit associated with a channel shall be set to 1 if the L2CAP entity supports
signaling on that channel. The L2CAP signaling channel is mandatory and
therefore the bit associated with that channel shall be set to 1.Table 4.13
shows the format of the bit mask.

 CID                Fixed Channel                  Value                    Octet       Bit

 0x0000             Null identifier                Shall be set to 0        0           0
 0x0001             L2CAP Signaling channel        Shall be set to 1        0           1
 0x0002             Connectionless reception       0 – if not supported     0           2
                                                   1 – if supported

 0x0003             AMP Manager Protocol Chan-     0 – if not supported     0           3
                    nel                            1 – if supported

 0x0004-            Reserved for Future Use                                 0           4-6
 0x0006
 0x0007             BR/EDR Security Manager        0 – if not supported     0           7
                                                   1 – if supported
 0x0008-            Reserved for Future Use                                 1-6         0-7
 0x003E                                                                     7           0-6
 0x003F             AMP Test Manager               0 – if not supported     7           7
                                                   1 – if supported
 Other              Reserved for Future Use                                 Other
Table 4.13: Fixed Channels Supported bit mask

An L2CAP entity shall not transmit on any fixed channel (with the exception of
the L2CAP signaling channel) until it has received a Fixed Channels Supported
InfoType from the peer L2CAP entity indicating support for the channel, or has
received a valid signaling packet from the remote device on the Fixed channel.
All packets received on a non-supported fixed channel shall be ignored.




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4.14 CREATE CHANNEL REQUEST (CODE 0x0C)
The Create Channel request packet, shown in Figure 4.16, is sent to create an
L2CAP channel between two devices over the Controller identified by the
Controller ID.


                  LSB          octet 0         octet 1   octet 2            octet 3   MSB

                           Code=0x0C       Identifier              Length
                                         PSM                 Source CID

                           Controller ID


Figure 4.16: Create Channel Request Packet


The data fields are:
• Protocol/Service Multiplexer –PSM (2 octets (minimum))
  The PSM field is at least two octets in length. The structure of the PSM field
  is based on the ISO 3309 extension mechanism for address fields. All PSM
  values shall be odd, that is, the least significant bit of the least significant
  octet must be 1. Also, all PSM values shall have the least significant bit of
  the most significant octet equal to 0. This allows the PSM field to be
  extended beyond 16 bits. PSM values are separated into two ranges. Values
  in the first range are assigned by the Bluetooth SIG and indicate protocols.
  The second range of values are dynamically allocated and used in
  conjunction with the Service Discovery Protocol (SDP). The dynamically
  assigned values may be used to support multiple implementations of a
  particular protocol. PSM values are defined in the Assigned Numbers
  document.
• Source CID –SCID (2 octets)
  The source CID is two octets in length and represents a channel endpoint on
  the device sending the request. Once the channel has been configured, data
  packets flowing to the sender of the request shall be sent to this CID. Thus,
  the Source CID represents the channel endpoint on the device sending the
  request and receiving the response. The value of the Source CID shall be
  from the dynamically allocated range as defined in Table 2.1 and shall not be
  already allocated to a different channel on the device sending the request.
• Controller Identifier –Controller ID (1 octet)
  The Controller ID is one octet in length and represents the Controller
  physical link over which the channel shall be created. The Controller ID is
  the identifier of the Controller on the remote device obtained via an AMP
  Manager Discover Available AMPs request. See [Vol 3] Part E, AMP
  Manager Protocol Specification The Controller physical link shall already
  exist.


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4.15 CREATE CHANNEL RESPONSE (CODE 0x0D)
When a device receives a Create Channel Request Packet, it shall send a
Create Channel Response packet. Note: Implementations conforming to
versions prior to 4.2 may respond with a Command Reject (Reason 0x0002 –
Invalid CID In Request) packet under conditions now covered by result codes
of 0x0006 and 0x0007 of this packet.
The format of the Create Channel Response packet is shown in Figure 4.17.


                  LSB         octet 0        octet 1   octet 2            octet 3   MSB

                           Code=0x0D Identifier                  Length
                              Destination CID              Source CID

                                    Result                       Status


Figure 4.17: Create Channel Response Packet


The data fields are:
• Destination Channel Identifier–DCID (2 octets)
  This field contains the channel endpoint on the device sending this
  Response packet. Thus, the Destination CID represents the channel
  endpoint on the device receiving the request and sending the response. The
  value of the Destination CID shall be from the dynamically allocated range
  as defined in Table 2.1 and shall not be already allocated to a different
  channel on the device sending the response.
• Source Channel Identifier–SCID (2 octets)
  This field contains the channel endpoint on the device receiving this
  Response packet. This is copied from the SCID field of the Create Channel
  Request packet.
• Result (2 octets)
  The result field indicates the outcome of the Create Channel Request. The
  result value of 0x0000 indicates success while a non-zero value indicates
  the Create Channel Request failed or is pending. A logical channel is
  established on the receipt of a successful result unless the DCID field is
  outside of the dynamically allocated range (see Table 2.1) or is already
  allocated on the device sending the response. Table 4.14 defines values for
  this field. The DCID and SCID fields shall be ignored when the result field
  indicates the connection was refused.

     Result             Description

     0x0000             Connection successful
   Table 4.14: Result values



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     Result             Description

     0x0001             Connection pending
     0x0002             Connection refused - PSM not supported
     0x0003             Connection refused - security block

     0x0004             Connection refused - no resources available
     0x0005             Connection refused - Controller ID not supported
     0x0006             Connection refused – invalid Source CID

     0x0007             Connection refused – Source CID already allocated
     Other              Reserved for Future Use
   Table 4.14: Result values (Continued)

• Status (2 octets)
  Only defined for Result = Pending. Indicates the status of the connection.
  The status is set to one of the values shown in Table 4.15.

     Value              Description

     0x0000             No further information available
     0x0001             Authentication pending
     0x0002             Authorization pending

     Other              Reserved for Future Use
   Table 4.15: Status values


4.16 MOVE CHANNEL REQUEST (CODE 0x0E)
Move Channel request packets are sent to move an existing L2CAP channel
from a physical link on one Controller to a physical link on another Controller.
The CIDs for the L2CAP channel are not changed by a Move operation. Figure
4.18 illustrates a Move Channel request packet. Channels shall only be moved
if configured to use Enhanced Retransmission mode or Streaming mode. Fixed
channels (see Section 2.1) shall not be moved.


                  LSB        octet 0      octet 1       octet 2            octet 3   MSB

                           Code=0x0E    Identifier                Length
                                Initiator CID           Dest
                                                     Controller ID

Figure 4.18: Move Channel Request Packet


The data fields are:


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• Initiator Channel Identifier - ICID (2 octets)
  This field contains the channel endpoint on the device sending this Request
  packet.
• Destination Controller Identifier - Dest Controller ID (1 octet)
  The Dest Controller ID is one octet in length and represents the Controller
  physical link to which the channel shall be moved. The Controller ID is the
  identifier of the Controller on the remote device obtained via an AMP
  Manager Discover Available AMPs request. See [Vol 3] Part E, AMP
  Manager Protocol Specification.The Controller physical link shall already
  exist.




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4.17 MOVE CHANNEL RESPONSE (CODE 0x0F)
When a device receives a Move Channel request packet it shall send a Move
Channel response packet. If the device has sent its own Move Channel request
then a collision has occurred. One of the requests shall be rejected while the
other shall proceed. The Move Channel request that shall be rejected is based
on the algorithm in Section 7.7

The format of Move Channel response packet is shown in Figure 4.19.


                  LSB          octet 0      octet 1     octet 2            octet 3   MSB

                           Code=0x0F       Identifier             Length

                                  Initiator CID                   Result


Figure 4.19: Move Channel Response Packet


The data fields are:
• Initiator Channel Identifier – ICID (2 octets)
  This field contains the channel endpoint on the device that sent the Move
  Channel Request (device receiving this Response packet). This is the same
  value as was sent in the Move Channel Request packet.
• Result (2 octets)
  The result field indicates the outcome of the move request. The result value
  of 0x0000 indicates success while a non-zero value indicates the move
  request failed. A logical channel is moved on the receipt of a successful
  result. Table 4.16 defines values for this field. The ICID field shall be ignored
  when the result field indicates the move was refused.

     Result                Description

     0x0000                Move Success

     0x0001                Move Pending
     0x0002                Move refused - Controller ID not supported
     0x0003                Move refused - new Controller ID is same as old Con-
                           troller ID

     0x0004                Move refused - Configuration not supported
     0x0005                Move refused - Move Channel collision
     0x0006                Move refused - Channel not allowed to be moved

     Other                 Reserved for Future Use
   Table 4.16: Result values




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4.18 MOVE CHANNEL CONFIRMATION (CODE 0x10)
When the initiator of a Move Channel request receives a Move Channel
response with a result code other than "pending" from the responder, it shall
send a Move Channel confirmation packet, that will conclude the Move
Channel procedure, informing the responder that all the QoS parameters were
successfully (or not) negotiated. The format of Move Channel confirmation
packet is shown in Figure 4.20.


                  LSB         octet 0      octet 1     octet 2            octet 3   MSB

                           Code=0x10      Identifier             Length

                                 Initiator CID                   Result


Figure 4.20: Move Channel Confirmation Packet


The data fields are:
• Initiator Channel Identifier – ICID (2 octets)
  This field contains the channel endpoint on the device sending the Move
  Channel Confirmation packet. This is the same value as was sent in the
  original Move Channel Request packet.
• Result (2 octets)
  The result field indicates the outcome of the move confirmation. The result
  value of 0x0000 indicates success while a non-zero value indicates the
  move failed.

     Result             Description

     0x0000             Move success - both sides succeed

     0x0001             Move failure - one or both sides refuse
     Other              Reserved for Future Use

   Table 4.17: Result values




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4.19 MOVE CHANNEL CONFIRMATION RESPONSE (CODE
     0x11)
When a device receives a Move Channel Confirmation packet it shall send a
Move Channel Confirmation response packet. The purpose of the Move
Channel Confirmation Response is so that Move Channel Confirmation is
consistent with the command/response style. The format of Move Channel
Confirmation response packet is shown in Figure 4.21.


                  LSB         octet 0     octet 1     octet 2            octet 3   MSB

                           Code=0x11     Identifier             Length

                                Initiator CID


Figure 4.21: Move Channel Confirmation Response Packet


The data field is:
• Initiator Channel Identifier – ICID (2 octets)
  This field contains the channel endpoint on the device that sent the Move
  Channel Confirmation packet.

4.20 CONNECTION PARAMETER UPDATE REQUEST (CODE
     0x12)
This command shall only be sent from the LE slave device to the LE master
device and only if one or more of the LE slave Controller, the LE master
Controller, the LE slave Host and the LE master Host do not support the
Connection Parameters Request Link Layer Control Procedure ([Vol 6] Part B,
Section 5.1.7). If an LE slave Host receives a Connection Parameter Update
Request packet it shall respond with a Command Reject packet with reason
0x0000 (Command not understood).

The Connection Parameter Update Request allows the LE slave Host to
request a set of new connection parameters. When the LE master Host
receives a Connection Parameter Update Request packet, depending on the
parameters of other connections, the LE master Host may accept the
requested parameters and deliver the requested parameters to its Controller or
reject the request. In devices supporting HCI, the LE master Host delivers the
requested parameters to its Controller using the HCI_LE_Connection_Update
command (see [Vol 2] Part E, Section 7.8.18). If the LE master Host accepts
the requested parameters it shall send the Connection Parameter Update
Response packet with result 0x0000 (Parameters accepted) otherwise it shall
set the result to 0x0001 (request rejected).

The LE slave Host will receive an indication from the LE slave Controller when
the connection parameters have been updated. In devices supporting HCI, this

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notification will be in the form of an LE Connection Update Complete event
(see [Vol 2] Part E, Section 7.7.65.3). If the LE master Controller rejects the
updated connection parameters no indication from the LE slave Controller will
be sent to the LE slave Host.


                  LSB        octet 0     octet 1    octet 2            octet 3   MSB

                           Code=0x12   Identifier             Length
                                Interval Min           Interval Max

                              Slave Latency         Timeout Multiplier


Figure 4.22: Connection Parameters Update Request Packet

The data fields are:
• Interval Min (2 octets)
  Defines minimum value for the connection interval in the following
  manner:
  connIntervalMin = Interval Min * 1.25 ms. Interval Min range: 6 to 3200 frames
  where 1 frame is 1.25 ms and equivalent to 2 BR/EDR slots. Values outside the
  range are reserved for future use. Interval Min shall be less than or equal to
  Interval Max.
• Interval Max (2 octets)
  Defines maximum value for the connection interval in the following manner:
  connIntervalMax = Interval Max * 1.25 ms. Interval Max range: 6 to 3200
  frames. Values outside the range are reserved for future use. Interval Max
  shall be equal to or greater than the Interval Min.
• Slave Latency (2 octets)
  Defines the slave latency parameter (as number of LL connection events) in
  the following manner:
  connSlaveLatency = Slave Latency. The Slave Latency field shall have a value
  in the range of 0 to ((connSupervisionTimeout / (connIntervalMax*2)) -1).
  The Slave Latency field shall be less than 500.
• Timeout Multiplier (2 octets)
  Defines connection timeout parameter in the following manner:
  connSupervisionTimeout = Timeout Multiplier * 10 ms
  The Timeout Multiplier field shall have a value in the range of 10 to 3200.




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4.21 CONNECTION PARAMETER UPDATE RESPONSE (CODE
     0x13)
This response shall only be sent from the LE master device to the LE slave
device.

The Connection Parameter Update Response packet shall be sent by the
master Host when it receives a Connection Parameter Update Request packet.
If the LE master Host accepts the request it shall send the connection
parameter update to its Controller.


                  LSB         octet 0        octet 1   octet 2            octet 3   MSB

                           Code=0x13     Identifier              Length

                                    Result


Figure 4.23: Connection Parameters Update Response Packet


The data field is:
• Result (2 octets)
  The result field indicates the response to the Connection Parameter Update
  Request. The result value of 0x0000 indicates that the LE master Host has
  accepted the connection parameters while 0x0001 indicates that the LE
  master Host has rejected the connection parameters.

     Result                   Description

     0x0000                   Connection Parameters accepted

     0x0001                   Connection Parameters rejected
     Other                    Reserved for Future Use

   Table 4.18: Result values




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4.22 LE CREDIT BASED CONNECTION REQUEST (CODE
     0x14)
LE Credit Based Connection Request packets are sent to create and configure
an L2CAP channel between two devices. Figure 4.24 illustrates a Connection
Request packet.


                  LSB        octet 0         octet 1   octet 2            octet 3   MSB

                           Code=0x14     Identifier              Length
                                  LE_PSM                   Source CID

                                       MTU                       MPS

                               Initial Credits

Figure 4.24: LE Credit Based Connection Request Packet


The data fields are:
• LE Protocol/Service Multiplexer – LE_PSM (2 octets)
  The LE_PSM field is two octets in length. LE_PSM values are separated into
  two ranges. Values in the first range are assigned by the Bluetooth SIG and
  indicate protocols. Values in the second range are dynamically allocated and
  used in conjunction with services defined in the GATT server. The
  dynamically assigned values may be used to support multiple
  implementations of a particular protocol.
  LE_PSM values are defined in the table below.

     Range        Type           Server Usage                     Client Usage

     0x0001-      Fixed, SIG     LE_PSM is fixed for all          LE_PSM may be assumed for fixed
     0x007F       assigned       implementations                  service. Protocol used is indicated
                                                                  by the LE_PSM as defined in the
                                                                  Assigned Numbers page.
     0x0080-      Dynamic        LE_PSM may be fixed              LE_PSM shall be obtained from the
     0x00FF                      for a given implementa-          service in GATT upon every recon-
                                 tion or may be assigned          nection. LE_PSM for one direction
                                 at the time the service is       will typically be different from the
                                 registered in GATT               other direction.

     Other        RFU            Not applicable                   Not applicable
   Table 4.19: LE Credit Based Connection Request LE_PSM ranges

• Source CID – SCID (2 octets)
  The source CID is two octets in length and represents a channel endpoint on
  the device sending the request. Once the channel has been created, data
  packets flowing to the sender of the request shall be sent to this CID. Thus,



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   the Source CID represents the channel endpoint on the device sending the
   request and receiving the response.
• Maximum Transmission Unit – MTU (2 octets)
  The MTU field specifies the maximum SDU size (in octets) that the L2CAP
  layer entity sending the LE Credit Based Connection Request can receive
  on this channel. L2CAP implementations shall support a minimum MTU size
  of 23 octets.
• Maximum PDU Size – MPS (2 octets)
  The MPS field specifies the maximum payload size (in octets) that the
  L2CAP layer entity sending the LE Credit Based Connection Request is
  capable of receiving on this channel. L2CAP implementations shall support
  a minimum MPS of 23 octets and may support an MPS up to 65533 octets.
• Initial Credits – (2 octets)
  The initial credit value indicates the number of LE-frames that the peer
  device can send to the L2CAP layer entity sending the LE Credit Based
  Connection Request. The initial credit value shall be in the range of 0 to
  65535.

4.23 LE CREDIT BASED CONNECTION RESPONSE (CODE
     0x15)
When a device receives a LE Credit Based Connection Request packet, it shall
send a LE Credit Based Connection Response packet. The format of the
connection response packet is shown in Figure 4.25.


                  LSB        octet 0         octet 1   octet 2            octet 3   MSB

                           Code=0x15     Identifier              Length
                              Destination CID                    MTU

                                       MPS                Initial Credits

                                   Result

Figure 4.25: LE Credit Based Connection Response Packet


The data fields are:
• Destination CID – DCID (2 octets)
  The destination CID is two octets in length and represents a channel
  endpoint on the device sending the response. Once the channel has been
  created, data packets flowing to the sender of the response shall be sent to
  this CID. Thus, the destination CID represents the channel endpoint on the
  device receiving the request and sending the response.




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• Maximum Transmission Unit – MTU (2 octets)
  The MTU field specifies the maximum SDU size (in octets) that the L2CAP
  layer entity sending the LE Credit Based Connection Response can receive
  on this channel. L2CAP implementations shall support a minimum MTU size
  of 23 octets.
• Maximum PDU Size – MPS (2 octets)
  The MPS field specifies the maximum payload size (in octets) that the
  L2CAP layer entity sending the LE Credit Based Connection Response is
  capable of receiving on this channel. L2CAP implementations shall support
  a minimum MPS of 23 octets and may support an MPS up to 65533 octets.
• Initial Credits – (2 octets)
  The initial credit value indicates the number of LE-frames that the peer
  device can send to the L2CAP layer entity sending the LE Credit Based
  Connection Response. The initial credit value shall be in the range of 0 to
  65535.
• Result – (2 octets)
  The result field indicates the outcome of the connection request. A result
  value of 0x0000 indicates success while a non-zero value indicates the
  connection request was refused. A logical channel is established on the
  receipt of a successful result. Table 4.20 defines values for this field. The
  DCID, MTU, MPS and Initial Credits fields shall be ignored when the result
  field indicates the connection was refused.

     Value                  Description

     0x0000                 Connection successful
     0x0001                 Reserved for Future Use
     0x0002                 Connection refused – LE_PSM not supported

     0x0003                 Reserved for Future Use
     0x0004                 Connection refused – no resources available
     0x0005                 Connection refused – insufficient authentication

     0x0006                 Connection refused – insufficient authorization
     0x0007                 Connection refused – insufficient encryption key size
     0x0008                 Connection refused – insufficient encryption

     0x0009                 Connection refused – invalid Source CID
     0x000A                 Connection refused – Source CID already allocated
     0x000B                 Connection refused – unacceptable parameters

     Other                  Reserved for Future Use
   Table 4.20: Result values for LE Credit Based Connection Response




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4.24 LE FLOW CONTROL CREDIT (CODE 0x16)
A device shall send a LE Flow Control Credit packet when it is capable of
receiving additional LE-frames (for example after it has processed one or more
LE-frames).


                  LSB        octet 0         octet 1   octet 2            octet 3   MSB

                           Code=0x16     Identifier              Length
                                       CID                   Credits

Figure 4.26: LE Flow Control Credit Packet


The data fields are:
• CID – (2 octets)
  The CID is two octets in length and represents the source channel endpoint
  of the device sending the LE Flow Control Credit packet. For example, a
  received LE Flow Control Credit packet with a given CID (0x0042) would
  provide credits for the receiving device’s destination CID (0x0042).
• Credits – (2 octets)
  The credit value field represents number of credits the receiving device can
  increment, corresponding to the number of LE-frames that can be sent to
  the peer device sending the LE Flow Control Credit packet. The credit value
  field shall be a number between 1 and 65535.




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5 CONFIGURATION PARAMETER OPTIONS

Options are a mechanism to extend the configuration parameters. Options
shall be transmitted as information elements containing an option type, an
option length, and one or more option data fields. Figure 5.1 illustrates the
format of an option.


                  LSB         octet 0     octet 1   octet 2      octet 3   MSB

                             type         length        option data


Figure 5.1: Configuration option format


The configuration option fields are:
• Type (1 octet)
  The option type field defines the parameters being configured. The most
  significant bit of the type determines the action taken if the option is not
  recognized.
  0 - option must be recognized; if the option is not recognized then refuse the
  configuration request
  1 - option is a hint; if the option is not recognized then skip the option and
  continue processing
• Length (1 octet)
  The length field defines the number of octets in the option data. Thus an
  option type without option data has a length of 0.
• Option data
  The contents of this field are dependent on the option type.

5.1 MAXIMUM TRANSMISSION UNIT (MTU)
This option specifies the maximum SDU size the sender of this option is
capable of accepting for a channel. The type is 0x01, and the payload length is
2 octets, carrying the two-octet MTU size value as the only information element
(see Figure 5.2). Unlike the B-Frame length field, the I-frame length field may
be greater than the configured MTU because it includes the octet lengths of the
Control, L2CAP SDU Length (when present), and frame check sequence fields
as well as the Information octets.

MTU is not a negotiated value, it is an informational parameter that each device
can specify independently. It indicates to the remote device that the local device
can receive, in this channel, an MTU larger than the minimum required. All
L2CAP implementations shall support a minimum MTU of 48 octets over the ACL-
U logical link and 23 octets over the LE-U logical link; however, some protocols


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and profiles explicitly require support for a larger MTU. The minimum MTU for a
channel is the larger of the L2CAP minimum 48 octet MTU and any MTU explicitly
required by the protocols and profiles using that channel. (Note: The MTU is only
affected by the profile directly using the channel. For example, if a service
discovery transaction is initiated by a non service discovery profile, that profile
does not affect the MTU of the L2CAP channel used for service discovery).

The following rules shall be used when responding to a configuration request
specifying the MTU for a channel:
• A request specifying any MTU greater than or equal to the minimum MTU for
  the channel shall be accepted.
• A request specifying an MTU smaller than the minimum MTU for the
  channel may be rejected.

The signaling described in Section 4.5 may be used to reject an MTU smaller
than the minimum MTU for a channel. The "failure-unacceptable parameters"
result sent to reject the MTU shall include the proposed value of MTU that the
remote device intends to transmit. It is implementation specific whether the
local device continues the configuration process or disconnects the channel.

If the remote device sends a positive configuration response it should include
the actual MTU to be used on this channel for traffic flowing into the local
device. Following the above rules, the actual MTU cannot be less than 48
bytes.This is the minimum of the MTU in the configuration request and the
outgoing MTU capability of the device sending the configuration response. The
new agreed value (the default value in a future re-configuration) is the value
specified in the response.

Note: For backwards compatibility reception of the MTU option in a negative
Configuration Response where the MTU option is not in error should be
interpreted in the same way as it is in a positive Configuration Response (e.g.
the case where another configuration option value is unacceptable but the
negative Configuration Response contains the MTU option in addition to the
unacceptable option).

The MTU to be used on this channel for the traffic flowing in the opposite
direction will be established when the remote device sends its own
Configuration Request as explained in Section 4.4.

If the configured mode is Enhanced Retransmission mode or Streaming mode
then MTU shall not be reconfigured to a smaller size.


                  LSB         octet 0    octet 1   octet 2         octet 3   MSB

                         Type=0x01      Length=2             MTU


Figure 5.2: MTU Option Format



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The option data field is:
• Maximum Transmission Unit - MTU (2 octets)
  The MTU field is the maximum SDU size, in octets, that the originator of the
  Request can accept for this channel. The MTU is asymmetric and the
  sender of the Request shall specify the MTU it can receive on this channel if
  it differs from the default value. L2CAP implementations shall support a
  minimum MTU size of 48 octets. The default value is 672 octets1.

5.2 FLUSH TIMEOUT OPTION
This option is used to inform the recipient of the Flush Timeout the sender is
going to use. This option shall not be used if the Extended Flow Specification is
used. The Flush Timeout is defined in the BR/EDR Baseband specification [Vol
2] Part B, Section 7.6.3. The type is 0x02 and the payload size is 2 octets. The
Flush Timeout option is negotiable.

If the remote device returns a negative response to this option and the local
device cannot honor the proposed value, then it shall either continue the
configuration process by sending a new request with the original value, or
disconnect the channel. The flush timeout applies to all channels on the same
ACL logical transport but may be overridden on a packet by packet basis by
marking individual L2CAP packets as non-automatically-flushable via the
Packet_Boundary_Flag in the HCI ACL Data Packet (see Section 1.1).


                  LSB         octet 0    octet 1   octet 2      octet 3    MSB

                         Type=0x02      Length=2      Flush Timeout


Figure 5.3: Flush Timeout option format


The option data field is:
• Flush Timeout
  This value is the Flush Timeout in milliseconds. This is an asymmetric value
  and the sender of the Request shall specify its flush timeout value if it differs
  from the default value of 0xFFFF.
  Possible values are:
  0x0001 - no retransmissions at the baseband level should be performed
  since the minimum polling interval is 1.25 ms.
  0x0002 to 0xFFFE - Flush Timeout used by the baseband.



1. The default MTU was selected based on the payload carried by two baseband DH5 packets
   (2*341=682 octets) minus the baseband ACL headers (2*2=4 octets) and a 6-octet L2CAP
   header. Note that the L2CAP header length is 4 octets (see Section 3.3.1) but for historical
   reasons an L2CAP header length of 6 bytes is used.


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   0xFFFF - an infinite amount of retransmissions. This is also referred to as a
   ’reliable channel’. In this case, the baseband shall continue retransmissions
   until physical link loss is declared by link manager timeouts.

5.3 QUALITY OF SERVICE (QOS) OPTION
This option specifies a flow specification similar to RFC 13631. Although the
RFC flow specification addresses only the transmit characteristics, the
Bluetooth QoS interface can handle the two directions (Tx and Rx) in the
negotiation as described below.

If no QoS configuration parameter is negotiated the link shall assume the
default parameters. The QoS option is type 0x03. This option shall not be used
if the Extended Flow Specification option is used. The QoS option is
negotiable.

In a configuration request, this option describes the outgoing traffic flow from
the device sending the request. In a positive Configuration Response, this
option describes the incoming traffic flow agreement to the device sending the
response. In a negative Configuration Response, this option describes the
preferred incoming traffic flow to the device sending the response.

L2CAP implementations are only required to support ’Best Effort’ service,
support for any other service type is optional. Best Effort does not require any
guarantees. If no QoS option is placed in the request, Best Effort shall be
assumed. If any QoS guarantees are required then a QoS configuration
request shall be sent.

The remote device’s Configuration Response contains information that
depends on the value of the result field (see Section 4.5). If the request was for
Guaranteed Service, the response shall include specific values for any wild
card parameters (see Token Rate and Token Bucket Size descriptions)
contained in the request. If the result is “Failure – unacceptable parameters”,
the response shall include a list of outgoing flow specification parameters and
parameter values that would make a new Connection Request from the local
device acceptable by the remote device. Both explicitly referenced in a
Configuration Request or implied configuration parameters can be included in
a Configuration Response. Recall that any missing configuration parameters
from a Configuration Request are assumed to have their most recently
accepted values.

If a configuration request contains any QoS option parameters set to “do not
care” then the configuration response shall set the same parameters to “do not
care”. This rule applies for both Best Effort and Guaranteed Service.




1. Internet Engineering Task Force, “A Proposed Flow Specification”, RFC 1363, September 1992.


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                       0                                                          31
                              0x03         length=22       Flags       service type

                                                   Token Rate

                                          Token Bucket Size (octets)

                                        Peak Bandwidth (octets/second)

                                           Latency (microseconds)

                                        Delay Variation (microseconds)


Figure 5.4: Quality of Service (QoS) option format containing Flow Specification


The option data fields are:
• Flags (1 octet)
  Reserved for future use.
• Service Type (1 octet)
   This field indicates the level of service required. Table 5.1 defines the
   different services available. The default value is ‘Best effort’.
   If ‘Best effort’ is selected, the remaining parameters should be treated as
   optional by the remote device. The remote device may choose to ignore the
   fields, try to satisfy the parameters but provide no response (QoS option
   omitted in the Response message), or respond with the settings it will try to
   meet.
   If ‘No traffic’ is selected, the remainder of the fields shall be ignored because
   there is no data being sent across the channel in the outgoing direction.

     Value                 Description

     0x00                  No traffic

     0x01                  Best effort (Default)
     0x02                  Guaranteed
     Other                 Reserved for Future Use

   Table 5.1: Service type definitions

• Token Rate (4 octets)
  The value of this field represents the average data rate with which the
  application transmits data. The application may send data at this rate
  continuously. On a short time scale the application may send data in excess
  of the average data rate, dependent on the specified Token Bucket Size and
  Peak Bandwidth (see below). The Token Bucket Size and Peak Bandwidth
  allow the application to transmit data in a 'bursty' fashion.


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   The Token Rate signaled between two L2CAP peers is the data transmitted
   by the application and shall exclude the L2CAP protocol overhead. The
   Token Rate signaled over the interface between L2CAP and the Link
   Manager shall include the L2CAP protocol overhead. Furthermore the Token
   Rate value signaled over this interface may also include the aggregation of
   multiple L2CAP channels onto the same ACL logical transport.
   The Token Rate is the rate with which traffic credits are provided. Credits
   can be accumulated up to the Token Bucket Size. Traffic credits are
   consumed when data is transmitted by the application. When traffic is
   transmitted, and there are insufficient credits available, the traffic is non-
   conformant. The Quality of Service guarantees are only provided for
   conformant traffic. For non-conformant traffic there may be insufficient
   resources such as bandwidth and buffer space. Furthermore non-
   conformant traffic may violate the QoS guarantees of other traffic flows.
   The Token Rate is specified in octets per second. The value 0x00000000
   indicates no token rate is specified. This is the default value and means “do
   not care”. When the Guaranteed service is selected, the default value shall
   not be used. The value 0xFFFFFFFF is a wild card matching the maximum
   token rate available. The meaning of this value depends on the service type.
   For best effort, the value is a hint that the application wants as much
   bandwidth as possible. For Guaranteed service the value represents the
   maximum bandwidth available at the time of the request.
• Token Bucket Size (4 octets)
  The Token Bucket Size specifies a limit on the 'burstiness' with which the
  application may transmit data. The application may offer a burst of data
  equal to the Token Bucket Size instantaneously, limited by the Peak
  Bandwidth (see below). The Token Bucket Size is specified in octets.
  The Token Bucket Size signaled between two L2CAP peers is the data
  transmitted by the application and shall exclude the L2CAP protocol
  overhead. The Token Bucket Size signaled over the interface between
  L2CAP and Link Manager shall include the L2CAP protocol overhead.
  Furthermore the Token Bucket Size value over this interface may include the
  aggregation of multiple L2CAP channels onto the same ACL logical
  transport.
  The value of 0x00000000 means that no token bucket is needed; this is the
  default value. When the Guaranteed service is selected, the default value
  shall not be used. The value 0xFFFFFFFF is a wild card matching the
  maximum token bucket available. The meaning of this value depends on the
  service type. For best effort, the value indicates the application wants a
  bucket as big as possible. For Guaranteed service the value represents the
  maximum L2CAP SDU size.
  The Token Bucket Size is a property of the traffic carried over the L2CAP
  channel. The Maximum Transmission Unit (MTU) is a property of an L2CAP
  implementation. For the Guaranteed service the Token Bucket Size shall be
  smaller or equal to the MTU.
• Peak Bandwidth (4 octets)

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   The value of this field, expressed in octets per second, limits how fast
   packets from applications may be sent back-to-back. Some systems can
   take advantage of this information, resulting in more efficient resource
   allocation.
   The Peak Bandwidth signaled between two L2CAP peers specifies the data
   transmitted by the application and shall exclude the L2CAP protocol
   overhead. The Peak Bandwidth signaled over the interface between L2CAP
   and Link Manager shall include the L2CAP protocol overhead. Furthermore
   the Peak Bandwidth value over this interface may include the aggregation of
   multiple L2CAP channels onto the same ACL logical transport.
   The value of 0x00000000 means "don't care." This states that the device
   has no preference on incoming maximum bandwidth, and is the default
   value. When the Guaranteed service is selected, the default value shall not
   be used.
• Access Latency (4 octets)
  The value of this field is the maximum acceptable delay of an L2CAP packet
  to the air-interface. The precise interpretation of this number depends on
  over which interface this flow parameter is signaled. When signaled between
  two L2CAP peers, the Access Latency is the maximum acceptable delay
  between the instant when the L2CAP SDU is received from the upper layer
  and the start of the L2CAP SDU transmission over the air. When signaled
  over the interface between L2CAP and the Link Manager, it is the maximum
  delay between the instant the first fragment of an L2CAP PDU is stored in
  the Host Controller buffer and the initial transmission of the L2CAP packet
  on the air.
  Thus the Access Latency value may be different when signaled between
  L2CAP and the Link Manager to account for any queuing delay at the
  L2CAP transmit side. Furthermore the Access Latency value may include
  the aggregation of multiple L2CAP channels onto the same ACL logical
  transport.
  The Access Latency is expressed in microseconds. The value 0xFFFFFFFF
  means “do not care” and is the default value. When the Guaranteed service
  is selected, the default value shall not be used.
• Delay Variation (4 octets)
  The value of this field is the difference, in microseconds, between the
  maximum and minimum possible delay of an L2CAP SDU between two
  L2CAP peers. The Delay Variation is a purely informational parameter. The
  value 0xFFFFFFFF means “do not care” and is the default value.




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5.4 RETRANSMISSION AND FLOW CONTROL OPTION
This option specifies whether retransmission and flow control is used. If the
feature is used both incoming and outgoing parameters are specified by this
option. The Retransmission and Flow Control option contains both negotiable
parameters and non-negotiable parameters. The mode parameter controls
both incoming and outgoing data flow (i.e. both directions have to agree) and is
negotiable. The other parameters control incoming data flow and are non-
negotiable.


              0                                                                          31

                         0x04           Length=9       Mode           TxWindow size
                                                                      Monitor time-out
                     Max Transmit      Retransmission time-out
                                                                   (least significant byte)
                    Monitor time-out
                                          Maximum PDU size (MPS)
                  (most significant byte)


Figure 5.5: Retransmission and Flow Control option format


The option data fields are:
• Mode (1 octet)
  The field contains the requested mode of the link. Possible values are
  shown in Table 5.2.

     Value              Description

     0x00               L2CAP Basic Mode

     0x01               Retransmission mode
     0x02               Flow control mode
     0x03               Enhanced Retransmission mode

     0x04               Streaming mode
     Other              Reserved for future use
   Table 5.2: Mode definitions

   The Basic L2CAP mode is the default. If Basic L2CAP mode is requested
   then all other parameters shall be ignored.
   Enhanced Retransmission mode should be enabled if a reliable channel has
   been requested. Enhanced Retransmission mode shall only be sent to an
   L2CAP entity that has previously advertised support for the mode in its
   Extended Feature Mask (see Section 4.12).
   Streaming mode should be enabled if a finite L2CAP Flush Time-Out is set
   on an L2CAP connection. Streaming mode shall only be sent to a device
   that has previously advertised support for the mode in the Extended Feature
   Mask (see Section 4.12).

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   Flow Control mode and Retransmission mode shall only be used for
   backwards compatibility with L2CAP entities that do not support Enhanced
   Retransmission mode or Streaming mode.
• TxWindow size (1 octet)
  This field specifies the size of the transmission window for Flow Control
  mode, Retransmission mode, and Enhanced Retransmission mode. The
  range is 1 to 32 for Flow Control mode and Retransmission mode. The
  range is 1 to 63 for Enhanced Retransmission mode.
  In Retransmission mode and Flow Control mode this parameter should be
  negotiated to reflect the buffer sizes allocated for the connection on both
  sides. In general, the Tx Window size should be made as large as possible
  to maximize channel utilization. Tx Window size also controls the delay on
  flow control action. The transmitting device can send as many PDUs fit
  within the window.
  In Enhanced Retransmission mode this value indicates the maximum
  number of I-frames that the sender of the option can receive without
  acknowledging some of the received frames. It is not negotiated. It is an
  informational parameter that each L2CAP entity can specify separately. In
  general, the TxWindow size should be made as large as possible to
  maximize channel utilization. The transmitting L2CAP entity can send as
  many PDUs as will fit within the receiving L2CAP entity's TxWindow.
  TxWindow size values in a Configuration Response indicate the maximum
  number of packets the sender can send before it requires an
  acknowledgment. In other words it represents the number of
  unacknowledged packets the send can hold. The value sent in a
  Configuration Response shall be less than or equal to the TxWindow size
  sent in the Configuration Request. The receiver of this option in the
  Configuration Response may use this value as part of its acknowledgment
  algorithm.
  In Streaming mode this value is reserved for future use.
• MaxTransmit (1 octet)
  This field controls the number of transmissions of a single I-frame that
  L2CAP is allowed to try in Retransmission mode and Enhanced
  Retransmission mode. The minimum value is 1 (one transmission is
  permitted).
  MaxTransmit controls the number of retransmissions that L2CAP is allowed to
  try in Retransmission mode and Enhanced Retransmission mode before
  accepting that a packet and the channel is lost. When a packet is lost after being
  transmitted MaxTransmit times the channel shall be disconnected by sending a
  Disconnect request (see Section 4.6). In Enhanced Retransmission mode
  MaxTransmit controls the number of retransmissions for I-frames and S-frames
  with P-bit set to 1. The sender of the option in a Configuration Request specifies
  the value that shall be used by the receiver of the option. MaxTransmit values in
  a Configuration Response shall be ignored. Lower values might be appropriate
  for services requiring low latency. Higher values will be suitable for a link
  requiring robust operation. A value of 1 means that no retransmissions will be

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   made but also means that the channel will be disconnected as soon as a packet
   is lost. MaxTransmit shall not be set to zero in Retransmission mode. In
   Enhanced Retransmission mode a value of zero for MaxTransmit means infinite
   retransmissions.
   In Streaming mode this value is reserved for future use.
• Retransmission time-out (2 octets)
  This is the value in milliseconds of the retransmission time-out (this value is
  used to initialize the RetransmissionTimer).
  The purpose of this timer in retransmission mode is to activate a
  retransmission in some exceptional cases. In such cases, any delay
  requirements on the channel may be broken, so the value of the timer
  should be set high enough to avoid unnecessary retransmissions due to
  delayed acknowledgments. Suitable values could be 100’s of milliseconds
  and up.
  The purpose of this timer in flow control mode is to supervise I-frame
  transmissions. If an acknowledgment for an I-frame is not received within
  the time specified by the RetransmissionTimer value, either because the I-
  frame has been lost or the acknowledgment has been lost, the timeout will
  cause the transmitting side to continue transmissions. Suitable values are
  implementation dependent.
  The purpose of this timer in Enhanced Retransmission mode is to detect lost
  I-frames and initiate appropriate error recovery. The value used for the
  Retransmission time-out is specified in Section 8.6.2. The value sent in a
  Configuration Request is also specified in Section 8.6.2. A value for the
  Retransmission time-out shall be sent in a positive Configuration Response
  and indicates the value that will be used by the sender of the Configuration
  Response.
  In Streaming mode this value is reserved for future use.
• Monitor time-out (2 octets)
  In Retransmission mode this is the value in milliseconds of the interval at
  which S-frames should be transmitted on the return channel when no frames
  are received on the forward channel. (this value is used to initialize the
  MonitorTimer, see below).
  This timer ensures that lost acknowledgments are retransmitted. Its main
  use is to recover Retransmission Disable Bit changes in lost frames when
  no data is being sent. The timer shall be started immediately upon
  transitioning to the open state. It shall remain active as long as the
  connection is in the open state and the retransmission timer is not active.
  Upon expiration of the Monitor timer an S-frame shall be sent and the timer
  shall be restarted. If the monitor timer is already active when an S-frame is
  sent, the timer shall be restarted. An idle connection will have periodic
  monitor traffic sent in both directions. The value for this time-out should also
  be set to 100’s of milliseconds or higher.
  In Enhanced Retransmission mode the Monitor time-out is used to detect
  lost S-frames with P-bit set to 1. If the time-out occurs before a response

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   with the F-bit set to 1 is received the S-frame is resent. The value used for
   the Monitor time-out is specified in Section 8.6.3. The value sent in a
   Configuration Request is also specified in Section 8.6.2. A value for the
   Monitor time-out shall be sent in a positive Configuration Response and
   indicates the value that will be used by the sender of the Configuration
   Response.
   In Streaming mode this value is reserved for future use.
• Maximum PDU payload Size - MPS (2 octets)
  The maximum size of payload data in octets that the L2CAP layer entity
  sending the option in a Configuration Request is capable of accepting, i.e.
  the MPS corresponds to the maximum PDU payload size. Values used for
  MPS should take into account all possible Controllers to which the channel
  might be moved given that the MPS value cannot be renegotiated once the
  channel is created. Each device specifies the value separately. An MPS
  value sent in a positive Configuration Response is the actual MPS the
  receiver of the Configuration Request will use on this channel for traffic
  flowing into the local device. An MPS value sent in a positive Configuration
  Response shall be equal to or smaller than the value sent in the
  Configuration Request.

When using Retransmission mode and Flow Control mode the settings are
configured separately for the two directions of an L2CAP connection. For
example, in operating with an L2CAP entity implementing an earlier version of
the core specification, an L2CAP connection can be configured as Flow
Control mode in one direction and Retransmission mode in the other direction.
If Basic L2CAP mode is configured in one direction and Retransmission mode
or Flow control mode is configured in the other direction on the same L2CAP
channel then the channel shall not be used.

Note: This asymmetric configuration only occurs during configuration.

When using Enhanced Retransmission mode or Streaming mode, both
directions of the L2CAP connection shall be configured to the same mode. A
precedence algorithm shall be used by both devices so a mode conflict can be
resolved in a quick and deterministic manner.

There are two operating states:
• A device has a preferred mode but is willing to use another mode (known as
  "state 1"), and
• A device requires a specific mode (known as "state 2"). This includes cases
  where channels are created over AMP-U logical links or ACL-U logical links
  operating as described in Section 7.10.

In state 1, Basic L2CAP mode has the highest precedence and shall take
precedence over Enhanced Retransmission mode and Streaming mode.
Enhanced Retransmission mode has the second highest precedence and shall
take precedence over all other modes except Basic L2CAP mode. Streaming


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mode shall have the next level of precedence after Enhanced Retransmission
mode.

In state 2, a layer above L2CAP requires Enhanced Retransmission mode or
Streaming mode. In this case, the required mode takes precedence over all
other modes.

A device does not know in which state the remote device is operating so the
state 1 precedence algorithm assumes that the remote device may be a state 2
device. If the mode proposed by the remote device has a higher precedence
(according to the state 1 precedence) then the algorithm will operate such that
creation of a channel using the remote device's mode has higher priority than
disconnecting the channel.

The algorithm for state 1 devices is divided into two parts. Part one covers the
case where the remote device proposes a mode with a higher precedence than
the state 1 local device. Part two covers the case where the remote device
proposes a mode with a lower precedence than the state 1 local device. Part
one of the algorithm is as follows:
• When the remote device receives the Configuration Request from the local
  device it will either reject the local device's Configuration Request by
  sending a negative Configuration Response or disconnect the channel. The
  negative Configuration Response will contain the remote device's desired
  mode.
• Upon receipt of the negative Configuration Response the local device shall
  either send a second Configuration Request proposing the mode contained
  in the remote device's negative Configuration Response or disconnect the
  channel.
• When the local device receives the Configuration Request from the remote
  device it shall send a positive Configuration Response or disconnect the
  channel.
• If the mode in the remote Device's negative Configuration Response does
  not match the mode in the remote device's Configuration Request then the
  local device shall disconnect the channel.

Part two of the algorithm is as follows:
• When the local device receives the Configuration Request from the remote
  device it shall reject the Configuration Request by sending a negative
  Configuration Response proposing its desired mode. The local device's
  desired mode shall be the same mode it sent in its Configuration Request.
  Upon receiving the negative Configuration Response the remote device will
  either send a second Configuration Request or disconnect the channel.
• If the local device receives a second Configuration Request from the remote
  device that does not contain the desired mode then the local device shall
  disconnect the channel.



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• If the local device receives a negative Configuration Response then it shall
  disconnect the channel.

An example of the algorithm for state 1 devices is as follows:
• The remote device proposes Basic L2CAP mode in a Configuration Request
  and the local device proposes Enhanced Retransmission mode or
  Streaming mode. The remote device rejects the local device's Configuration
  Request by sending a negative Configuration Response proposing Basic
  mode. The local device will send a second Configuration Request proposing
  Basic L2CAP mode or disconnect the channel. If the local device sends a
  second Configuration Request that does not propose Basic L2CAP mode
  then the remote device will disconnect the channel. If the local device rejects
  the remote device's Configuration Request then the remote device will
  disconnect the channel.

The algorithm for state 2 devices is as follows:
• If the local device proposes a mode in a Configuration Request and the
  remote device proposes a different mode or rejects the local device's
  Configuration Request then the local device shall disconnect the channel.

For Enhanced Retransmission mode and Streaming mode the Retransmission
time-out and Monitor Time-out parameters of the Retransmission and Flow
Control option parameters may be changed but all other parameters shall not
be changed in a subsequent reconfiguration after the channel has reached the
OPEN state.

5.5 FRAME CHECK SEQUENCE (FCS) OPTION
This option is used to specify the type of Frame Check Sequence (FCS) that
will be included on S/I-frames that are sent. It is non-negotiable. The FCS
option shall only be used when the mode is being, or is already configured to
Enhanced Retransmission mode or Streaming mode. Note: The FCS option
can be reconfigured only when the mode is Enhanced Retransmission mode or
Streaming mode. Implementations may reconfigure the FCS when L2CAP
channels are moved between Controllers. The Frame Check Sequence option
is type 0x05. "No FCS" shall only be used if both L2CAP entities send the FCS
Option with value 0x00 (No FCS) in a configuration request. If one L2CAP
entity sends the FCS Option with "No FCS" in a configuration request and the
other L2CAP sends the FCS Option with a value other than "No FCS" then the
default shall be used. If one or both L2CAP entities do not send the FCS option
in a configuration request then the default shall be used.




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                  LSB         octet 0     octet 1      octet 2          octet 3   MSB

                         Type=0x05      Length=1     FCS Type



Figure 5.6: FCS option format


The FCS types are shown in Table 5.3

 Value                  Description

 0x00                   No FCS
 0x01                   16-bit FCS defined in section 3.3.5 (default)
 Other                  Reserved for Future Use

Table 5.3: FCS types

Value of 0x00 is set when the sender wishes to omit the FCS from S/I-frames.

This option shall only be sent if the peer L2CAP entity has indicated support for
the FCS Option in the Extended Features Mask (see Section 4.12).

5.6 EXTENDED FLOW SPECIFICATION OPTION
This option specifies a flow specification for requesting a desired Quality of
Service (QoS) on a channel. It is non-negotiable. The Extended Flow
Specification shall be supported on all channels created over AMP-U logical
links. Optionally, Extended Flow Specification may be supported on channels
created over ACL-U logical links (see Section 7.10). If both devices show
support for Extended Flow Specification for BR/EDR in the Extended Feature
mask (see Table 4.12) then all channels created between the two devices shall
use an Extended Flow Specification. The Quality of Service option and Flush
Timeout option shall not be used if the Extended Flow Specification is used.

The parameters in the Extended Flow Specification option specify the traffic
stream in the outgoing direction (transmitted traffic). Extended Flow
Specification option is type 0x06.




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                         0                                                                                 31

                             Type = 0x06         Length = 16             Identifier        Service Type


                                                                         SDU Inter-arrival Time (least
                                   Maximum SDU Size
                                                                             significant octets)


                             SDU Inter-arrival Time (remaining        Access Latency (least significant
                                          octets)                                 octets)


                                                                        Flush Timeout (least significant
                             Access Latency (remaining octets)
                                                                                   octets)


                             Flush Timeout (remaining octets)



                                octet 0            octet 1                octet 2          octet 3


Figure 5.7: Extended Flow Specification option format


If no Extended Flow Specification is provided by the upper layer, an Extended
Flow Specification with following default values shall be used:

 Qos Parameter                                         Default Value

 Identifier                                            0x01

 Service Type                                          Best Effort
 Maximum SDU size                                      0xFFFF
 SDU Inter-arrival Time                                0xFFFFFFFF

 Access Latency                                        0xFFFFFFFF
 Flush Timeout                                         0xFFFFFFFF
Table 5.4: Default Values for Extended Flow Specification

For a Best Effort channel no latency, air-time or bandwidth guarantees shall be
assumed.

The parameters of the Extended Flow Specification are shown in Table 5.5:

                                    Parameter
                                    Size in
 QoS parameter                      Octets                       Unit

 Identifier                         1                            na
 Service Type                       1                            na

 Maximum SDU Size                   2                            octets
 SDU Inter-arrival Time             4                            microseconds
Table 5.5: Traffic parameters for L2CAP QoS configuration



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                                  Parameter
                                  Size in
 QoS parameter                    Octets      Unit

 Access Latency                   4           microseconds
 Flush Timeout                    4           microseconds
Table 5.5: Traffic parameters for L2CAP QoS configuration

• Identifer (1 octet)
  This field provides a unique identifier for the flow specification. This identifier
  is used by some Controllers in the process of setting up the QoS request.
  Each active flow specification sent by a device to configure an L2CAP
  channel shall have a unique Identifier. An Identifier can be reused when the
  L2CAP channel associated with the flow spec is disconnected. The Identifier
  shall be unique within the scope of a physical link. Extended Flow
  Specifications for channels on different physical links may have the same
  Identifier. The Identifier for an Extended Flow Specification with Service
  Type Best Effort shall be 0x01.
  Note: Since the Identifier for an Extended Flow Specification with Service
  Type Best Effort is fixed to 0x01 it is possible to generate a Best Effort
  Extended Flow Specification for the remote device without performing the
  Lockstep Configuration process. (The Lockstep Configuration process is
  described in Section 7.1.3). This allows a Best Effort channel created over
  the ACL-U logical link without using the Lockstep configuration procedure to
  be moved to an AMP-U logical link. It is not possible to move a Guaranteed
  channel created over the ACL-U logical link to an AMP-U logical link unless
  the Lockstep configuration procedure is used during channel creation. This
  is because the Identifier for the remote device's Extended Flow Specification
  with Service Type Guaranteed is not known.
• Service Type (1 octet)
  This field indicates the level of service required. Table 5.6 defines the
  different Service Types values. The default value is 'Best effort'. If 'Best
  effort' is selected then Access Latency and Flush Timeout shall both be set
  to 0xFFFFFFFF. Maximum SDU size and SDU Inter-arrival Time are used to
  indicate the maximum data rate that the application can deliver to L2CAP for
  transmission. This is useful for high speed Controllers so they do not
  reserve more bandwidth than the application can deliver. The remote device
  should respond with lower settings indicating the maximum rate at which it
  can receive data (for example, maximum rate data it can write to a mass
  storage device, etc.). Values of 0xFFFF for Maximum SDU size and
  0xFFFFFFFF for SDU Inter-arrival time are used when the actual values are
  not known. If Maximum SDU size is set to 0xFFFF then SDU Inter-arrival
  time shall be set to 0xFFFFFFFF, if SDU Inter-arrival time is set to
  0xFFFFFFFF then Maximum SDU size shall be set to 0xFFFF. This tells the
  Controller to allocate as much bandwidth as possible.



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If “Guaranteed” is selected the QoS parameters can be used to identify
different types of Guaranteed traffic.
• Guaranteed bandwidth traffic is traffic with a minimum data rate but no
  particular latency requested. Latency will be related to the link supervision
  timeout. For this type of traffic Access Latency is set to 0xFFFFFFFF.
• Guaranteed Latency traffic is traffic with only latency requirements. For this
  type of traffic SDU Inter-arrival time is set to 0xFFFFFFFF. HID interrupt
  channel and AVRCP are examples of this type of traffic.
• Both Guaranteed Latency and Bandwidth traffic has both a latency and
  bandwidth requirement. An example is Audio/Video streaming.

If 'No Traffic' is selected the remainder of the fields shall be ignored because
there is no data being sent across the channel in the outgoing direction.

 Value              Description

 0x00               No Traffic
 0x01               Best effort (Default)
 0x02               Guaranteed

 Other              Reserved for Future Use
Table 5.6: Service Type definitions

A channel shall not be configured as “Best Effort” in one direction and
“Guaranteed” in the other direction. If a channel is configured in this way it shall
be disconnected. A channel may be configured as “No Traffic” in one direction
and “Best Effort” in the other direction. The “No Traffic” refers to the application
traffic not the Enhanced Retransmission mode supervisory traffic. A channel
configured in this way is considered to have a service type of Best Effort. A
channel may be configured as “No Traffic” in one direction and “Guaranteed” in
the other direction. A channel configure in this way is considered to have a
service type of Guaranteed.

Once configured the service type of a channel shall not be changed during
reconfiguration.
• Maximum SDU Size (2 octets)
  The Maximum SDU Size parameter specifies the maximum size of the
  SDUs transmitted by the application. If the Service Type is “Guaranteed”
  then traffic submitted to L2CAP with a larger size is considered non-
  conformant. QoS guarantees are only provided for conformant traffic.
• SDU Inter-arrival time (4 octets)
  The SDU Inter-arrival time parameter specifies the time between
  consecutive SDUs generated by the application. For streaming traffic, SDU
  Inter-arrival time should be set to the average time between SDUs. For
  variable rate traffic and best effort traffic, SDU Inter-arrival time should be
  set to the minimum time between SDUs. If the Service Type is “Guaranteed”

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   then traffic submitted to L2CAP with a smaller interval, is considered non-
   conformant. QoS guarantees are only provided for conformant traffic.
• Access Latency (4 octets)
  The Access Latency parameter specifies the maximum delay between
  consecutive transmission opportunities on the air-interface for the
  connection. Note that access latency is based on the time base of the
  Controller, which may or may not be synchronous to the time base being
  used by the Host or the application.
  For streaming traffic (for example, A2DP), the Access Latency should be set
  to indicate the time budgeted for transmission of the data over the air, and
  would normally be roughly equal to the Flush Timeout minus the duration of
  streaming data which can be stored in the receive side application buffers.
  For non-streaming, bursty traffic (i.e. HID and AVRCP), the Access Latency
  parameter value sent in the L2CAP Configuration Request should be set to
  the desired latency, minus any HCI transport delays and any other stack
  delays that may be expected on the device and on target Host systems. The
  remote device receiving the L2CAP Configuration Request may send an
  Access Latency parameter value in the L2CAP Configuration Response
  which is equal to or lower than the value it received. The remote device may
  send a lower value to account for other traffic it may be carrying, or
  overhead activities it may be carrying out.
  If HCI is used then the Host should take into account the latency of the HCI
  transport when determining the value for the Access Latency. For example if
  the application requires an Access Latency of 20ms and the HCI transport
  has a latency of 5 ms then the value for Access Latency should be 15ms.




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• Flush Timeout (4 Octets)
  The Flush Timeout defines a maximum period after which all segments of
  the SDU are flushed from L2CAP and the Controller. A Flush Timeout value
  of 0xFFFFFFFF indicates that data will not be discarded by the transmitting
  side, even if the link becomes congested. Note that in this case data is
  treated as reliable, and is never flushed. The device receiving the L2CAP
  Configuration Request with Flush Timeout set to 0xFFFFFFFF should not
  modify this parameter. The Flush Timeout for a “Best Effort” channel shall be
  set to 0xFFFFFFFF.
  However, if the Traffic Type is “Guaranteed” and the transmit side buffer is
  limited, then the Flush Timeout parameter given in the L2CAP Configuration
  Request may be set to a value corresponding to the duration of streaming
  data which the transmit buffer can hold before it must begin discarding data.
  The side receiving the L2CAP Configuration Request may then set the Flush
  Timeout parameter in the L2CAP Configuration Response to a lower value if
  the receive side buffer is smaller than the transmit side buffer. Note that the
  total available buffer space is typically a combination of application buffers,
  any buffers maintained by the L2CAP implementation, and HCI buffers
  provided by the Controller.
  The Flush Timeout should normally be set to a value which is larger than the
  Access Latency, and which also accounts for buffers maintained by the
  application on the receive side such as de-jitter buffers used in audio and
  video streaming applications. In general, the Flush Timeout value should be
  selected to ensure that the Flush Timeout expires when the application
  buffers are about to be exhausted.
  Flush Timeout may be set to 0x00000000 to indicate that no retransmissions
  are to occur. Data may be flushed immediately after transmission in this
  case. This behavior is useful in applications such as gaming where the
  tolerable latency is on the order of a few milliseconds, and hence the
  information contained in a packet will become stale very rapidly. In such
  applications, it is preferable to send “fresher” data if the last SDU submitted
  for transmission was not transmitted as a result of interference.




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5.7 EXTENDED WINDOW SIZE OPTION
This option is used to negotiate the maximum extended window size. The
Extended Window Size option is type 0x07 and is non-negotiable.



                  LSB         octet 0      octet 1     octet 2      octet 3   MSB

                         Type=0x07        Length=2      Max Window Size



Figure 5.8: Extended Window Size option format


The allowable values for the Maximum Extended Window Size are:

 Value                            Description

 0x0000                           Invalid value for Enhanced Retransmission
                                  mode
                                  Valid for Streaming mode

 0x0001 - 0x3FFF                  Valid maximum window size (frames) for
                                  Enhanced Retransmission mode. Invalid for
                                  Streaming mode
 Other                            Reserved for Future Use
Table 5.7: Extended Window Size values

This option shall only be sent if the peer L2CAP entity has indicated support for
the Extended Window size feature in the Extended Features Mask (see
Section 4.12).

This option shall be ignored if the channel is configured to use Basic L2CAP
Mode (see Section 5.4).

For Enhanced Retransmission mode, this option has the same directional
semantics as the Retransmission and Flow Control option (see Section 5.4).
The sender of a Configuration Request command containing this option is
suggesting the maximum window size (possibly based on its own internal
L2CAP receive buffer resources) that the peer L2CAP entity should use when
sending data.

For Streaming mode, this option is used to enable use of the Extended Control
Field and if sent, shall have a value of 0.

If this option is successfully configured then the Maximum Window Size
negotiated using the Retransmission and Flow Control option (see Section 5.4)
shall be ignored.




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If this option is successfully configured in either direction then both L2CAP
entities shall use the Extended Control Fields in all S/I-frames (see Section
3.3.2).

If the option is only configured in one direction then the maximum window size
for the opposite direction shall be taken from the maximum window size value
in the existing Retransmission and Flow Control option. In this configuration
both L2CAP entities shall use the extended control fields in all S/I-frames.




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6 STATE MACHINE

This section is informative. The state machine does not necessarily represent
all possible scenarios.

6.1 GENERAL RULES FOR THE STATE MACHINE:
• It is implementation specific, and outside the scope of this specification, how
  the transmissions are triggered.
• “Ignore” means that the signal can be silently discarded.

The following states have been defined to clarify the protocol; the actual
number of states and naming in a given implementation is outside the scope of
this specification:
• CLOSED – channel not connected.
• WAIT_CONNECT – a connection request has been received, but only a
  connection response with indication “pending” can be sent.
• WAIT_CONNECT_RSP – a connection request has been sent, pending a
  positive connect response.
• CONFIG – the different options are being negotiated for both sides; this
  state comprises a number of substates, see Section 6.1.3
• OPEN – user data transfer state.
• WAIT_DISCONNECT – a disconnect request has been sent, pending a
  disconnect response.
• WAIT_CREATE – a channel creation request has been received, but only a
  response with indication “pending” can be sent. This state is similar to
  WAIT_CONNECT.
• WAIT_CREATE_RSP – a channel creation request has been sent, pending
  a channel creation response. This state is similar to WAIT_CONNECT_RSP.
• WAIT_MOVE – a request to move the current channel to another Controller
  has been received, but only a response with indication “pending” can be
  sent.
• WAIT_MOVE_RSP – a request to move a channel to another Controller has
  been sent, pending a move response
• WAIT_MOVE_CONFIRM – a response to the move channel request has
  been sent, waiting for a confirmation of the move operation by the initiator
  side
• WAIT_CONFIRM_RSP – a move channel confirm has been sent, waiting for
  a move channel confirm response.

In the following state tables and descriptions, the L2CAP_Data message
corresponds to one of the PDU formats used on connection-oriented data
channels as described in section 3, including PDUs containing B-frames, I-
frames, S-frames.


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Some state transitions and actions are triggered only by internal events
effecting one of the L2CAP entity implementations, not by preceding L2CAP
signaling messages. It is implementation-specific and out of the scope of this
specification, how these internal events are realized; just for the clarity of
specifying the state machine, the following abstract internal events are used in
the state event tables, as far as needed:
• OpenChannel_Req – a local L2CAP entity is requested to set up a new
  connection-oriented channel.
• OpenChannel_Rsp – a local L2CAP entity is requested to finally accept or
  refuse a pending connection request.
• ConfigureChannel_Req – a local L2CAP entity is requested to initiate an
  outgoing configuration request.
• CloseChannel_Req – a local L2CAP entity is requesed to close a channel.
• SendData_Req – a local L2CAP entity is requested to transmit an SDU.
• ReconfigureChannel_Req – a local L2CAP entity is requested to reconfigure
  the parameters of a connection-oriented channel.
• OpenChannelCntrl_Req – a local L2CAP entity is requested to set up a new
  connection over a Controller identified by a Controller ID.
• OpenChannelCntrl_Rsp – a local L2CAP entity is requested to internally
  accept or refuse a pending connection over a Controller identified by a
  Controller ID.
• MoveChannel_Req – a local L2CAP entity is requested to move the current
  channel to another Controller.
• ControllerLogicalLinkInd – a Controller indicates the acceptance or rejection
  of a logical link request with an Extended Flow Specification.

There is a single state machine for each L2CAP connection-oriented channel
that is active. A state machine is created for each new L2CAP_ConnectReq
received. The state machine always starts in the CLOSED state.

To simplify the state event tables, the RTX and ERTX timers, as well as the
handling of request retransmissions are described in Section 6.1.7 and not
included in the state tables.

L2CAP messages not bound to a specific data channel and thus not impacting
a channel state (e.g. L2CAP_InformationReq, L2CAP_EchoReq) are not
covered in this section.

The following states and transitions are illustrated in Figure 6.1.




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6.1.1 CLOSED state

 Event                     Condition           Action                       Next State
 OpenChannel_req           -                   Send L2CAP_                  WAIT_
                                               ConnectReq                   CONNECT_RSP
 L2CAP_ConnectReq          Normal,             Send L2CAP_                  CONFIG
                           connection is       ConnectRsp (success)         (substate
                           possible                                         WAIT_CONFIG)
 L2CAP_ConnectReq          Need to indicate    Send L2CAP_                  WAIT_CONNECT
                           pending             ConnectRsp (pending)
 L2CAP_ConnectReq          No resource, not    Send L2CAP_                  CLOSED
                           approved, etc.      ConnectRsp (refused)
 L2CAP_ConnectRsp          -                   Ignore                       CLOSED
 L2CAP_ConfigReq           -                   Send L2CAP_                  CLOSED
                                               CommandReject
                                               (with reason Invalid CID)
 L2CAP_ConfigRsp           -                   Ignore                       CLOSED
 L2CAP_                    -                   Send L2CAP_                  CLOSED
 DisconnectReq                                 DisconnectRsp
 L2CAP_DisconnectRsp       -                   Ignore                       CLOSED
 L2CAP_Data                -                   Ignore                       CLOSED
 OpenChannelCntrl_                             Send L2CAP_                  WAIT_
 Req                                           CreateChanReq                CREATE_RSP
 L2CAP_                    Normal,             Send                         CONFIG
 CreateChanReq             connection is       L2CAP_CreateChanRsp
                           possible            (success)
 L2CAP_                    Need to indicate    Send                         WAIT_CREATE
 CreateChanReq             pending             L2CAP_CreateChanRsp
                                               (pending)
 L2CAP_                    No resource,        Send                         CLOSED
 CreateChanReq             not approved        L2CAP_CreateChanRsp
                                               (refused)
 L2CAP_                                        Ignore                       CLOSED
 CreateChanRsp
 L2CAP_MoveChanReq                             Ignore                       CLOSED
 L2CAP_MoveChanRsp                             Ignore                       CLOSED
 L2CAP_                                        Ignore                       CLOSED
 MoveChanConfirm
 L2CAP_                                        Ignore                       CLOSED
 MoveChanConfirmRsp
Table 6.1: CLOSED state event table

Notes. The L2CAP_ConnectReq message is not mentioned in any of the other states
   apart from the CLOSED state, as it triggers the establishment of a new channel, thus
   the branch into a new instance of the state machine.


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6.1.2 WAIT_CONNECT_RSP state

 Event                      Condition           Action                Next State
 L2CAP_ConnectRsp           Success indi-       Send L2CAP_           CONFIG
                            cated in result     ConfigReq             (substate WAIT_CON-
                                                                      FIG)
 L2CAP_ConnectRsp           Result pending      -                     WAIT_CONNECT_RSP
 L2CAP_ConnectRsp           Remote side         -                     CLOSED
                            refuses connec-
                            tion
 L2CAP_ConfigReq            -                   Send L2CAP_           WAIT_CONNECT_RSP
                                                CommandReject
                                                (with reason
                                                Invalid CID)
 L2CAP_ConfigRsp            -                   Ignore                WAIT_CONNECT_RSP
 L2CAP_DisconnectRsp        -                   Ignore                WAIT_CONNECT_RSP
 L2CAP_Data                 -                   Ignore                WAIT_CONNECT_RSP
 L2CAP_                                         Ignore                WAIT_CONNECT_RSP
 CreateChanReq
 L2CAP_                                         Ignore                WAIT_CONNECT_RSP
 CreateChanRsp
 L2CAP_MoveChanReq                              Ignore                WAIT_CONNECT_RSP
 L2CAP_MoveChanRsp                              Ignore                WAIT_CONNECT_RSP
 L2CAP_                                         Ignore                WAIT_CONNECT_RSP
 MoveChanConfirm
 L2CAP_                                         Ignore                WAIT_CONNECT_RSP
 MoveChanConfirmRsp
Table 6.2: WAIT_CONNECT_RSP state event table

Notes. An L2CAP_DisconnectReq message is not included here, since the Source and
   Destination CIDs are not available yet to relate it correctly to the state machine of a
   specific channel.




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6.1.3 WAIT_CONNECT state

 Event                      Condition            Action                     Next State
 OpenChannel_Rsp            Pending connec-      Send L2CAP_Con-            CONFIG
                            tion request is      nect_Rsp (success)         (substate WAIT_
                            finally acceptable                              CONFIG)
 OpenChannel_Rsp            Pending connec-      Send L2CAP_Con-            CLOSED
                            tion request is      nect_Rsp (refused)
                            finally refused
 L2CAP_ConnectRsp           -                    Ignore                     WAIT_CONNECT
 L2CAP_ConfigRsp            -                    Ignore                     WAIT_CONNECT
 L2CAP_DisconnectRsp        -                    Ignore                     WAIT_CONNECT
 L2CAP_Data                 -                    Ignore                     WAIT_CONNECT
 L2CAP_                                          Ignore                     WAIT_CONNECT
 CreateChanReq
 L2CAP_                                          Ignore                     WAIT_CONNECT
 CreateChanRsp
 L2CAP_MoveChanReq                               Ignore                     WAIT_CONNECT
 L2CAP_MoveChanRsp                               Ignore                     WAIT_CONNECT
 L2CAP_                                          Ignore                     WAIT_CONNECT
 MoveChanConfirm
 L2CAP_                                          Ignore                     WAIT_CONNECT
 MoveChanConfirmRsp
Table 6.3: WAIT_CONNECT state event table

Notes. An L2CAP_DisconnectReq or L2CAP_ConfigReq message is not included here,
   since the Source and Destination CIDs are not available yet to relate it correctly to the
   state machine of a specific channel.


6.1.4 CONFIG state

Two configuration processes exist as described in Section 7.1. The
configuration processes are the Standard process and the Lockstep process.

In the Standard and Lockstep configuration processes both L2CAP entities
initiate a configuration request during the configuration process. This means
that each device adopts an initiator role for the outgoing configuration request,
and an acceptor role for the incoming configuration request. Configurations in
both directions may occur sequentially, but can also occur in parallel.

In the Lockstep configuration process both L2CAP entities send Configuration
Request packets and receive Configuration Response packets with a pending
result code before submitting the flow specifications to their local Controllers. A
final Configuration Response packet is sent by each L2CAP entity indicating
the response from its local Controller.



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The following substates are distinguished within the CONFIG state:
• WAIT_CONFIG – a device has sent or received a connection response, but
  has neither initiated a configuration request yet, nor received a configuration
  request with acceptable parameters.
• WAIT_SEND_CONFIG – for the initiator path, a configuration request has
  not yet been initiated, while for the response path, a request with acceptable
  options has been received.
• WAIT_CONFIG_REQ_RSP – for the initiator path, a request has been sent
  but a positive response has not yet been received, and for the acceptor
  path, a request with acceptable options has not yet been received.
• WAIT_CONFIG_RSP – the acceptor path is complete after having
  responded to acceptable options, but for the initiator path, a positive
  response on the recent request has not yet been received.
• WAIT_CONFIG_REQ – the initiator path is complete after having received a
  positive response, but for the acceptor path, a request with acceptable
  options has not yet been received.
• WAIT_IND_FINAL_RSP – for both the initiator and acceptor, the Extended
  Flow Specification has been sent to the local Controller but neither a
  response from Controller nor the final configuration response has yet been
  received.
• WAIT_FINAL_RSP – the device received an indication from the Controller
  accepting the Extended Flow Specification and has sent a positive
  response. It is waiting for the remote device to send a configuration
  response.
• WAIT_CONTROL_IND – the device has received a positive response and is
  waiting for its Controller to accept or reject the Extended Flow Specification.

According to Section 6.1.1 and Section 6.1.2, the CONFIG state is entered via
WAIT_CONFIG substate from either the CLOSED state, the WAIT_CONNECT
state, or the WAIT_CONNECT_RSP state. The CONFIG state is left for the
OPEN state if both the initiator and acceptor paths complete successfully.

For better overview, separate tables are given: Table 6.4 shows the success
transitions; therein, transitions on one of the minimum paths (no previous non-
success transitions) are shaded. Table 6.5 shows the non-success transitions
within the configuration process, and Table 6.6 shows further transition cause
by events not belonging to the configuration process itself. The following
configuration states and transitions are illustrated in Figure 6.2.




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                                                               Bluetooth SIG Proprietary
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 Previous state      Event                 Condition         Action             Next State

 WAIT_CONFIG         ConfigureChannel_     Standard          Send L2CAP_        WAIT_
                     Req                   process           ConfigReq          CONFIG_
                                                                                REQ_RSP
 WAIT_CONFIG         ConfigureChannel_     Lockstep          Send L2CAP_        WAIT_
                     Req                   process           Config Req         CONFIG_
                                                             (Ext Flow Spec     REQ_RSP
                                                             plus other
                                                             options)

 WAIT_CONFIG         L2CAP_ConfigReq       Options           Send L2CAP_        WAIT_SEND_
                                           acceptable        ConfigRsp          CONFIG
                                           Standard          (success)
                                           process

 WAIT_CONFIG         L2CAP_ConfigReq       Options           Send L2CAP_        WAIT_SEND_
                                           acceptable        ConfigRsp          CONFIG
                                           Lockstep          (pending)
                                           process
                                                             Send
 WAIT_CONFIG_                              Options           L2CAP_             WAIT_
                     L2CAP_ConfigReq
 REQ_RSP                                   acceptable        ConfigRsp          CONFIG_RSP
                                                             (success)
                                           Remote side       (continue wait-
 WAIT_CONFIG_                                                                   WAIT_
                     L2CAP_ConfigRsp       accepts           ing for configu-
 REQ_RSP                                                                        CONFIG_REQ
                                           options           ration request)

                                           Options
                                           acceptable        Send L2CAP_
 WAIT_CONFIG_
                     L2CAP_ConfigReq                         ConfigRsp          OPEN
 REQ                                       Standard          (success)
                                           process

 WAIT_CONFIG_        L2CAP_ConfigReq       Options           Send L2CAP_        WAIT_IND_
 REQ                                       acceptable        ConfigRsp          FINAL_RSP
                                           Lockstep          (pending)
                                           process

 WAIT_               ConfigureChannel_                       Send L2CAP_        WAIT_
                                           -
 SEND_CONFIG         Req                                     ConfigReq          CONFIG_RSP
                                           Remote side
                                           accepts
 WAIT_CONFIG_                              options
                     L2CAP_ConfigRsp                         -                  OPEN
 RSP
                                           Standard
                                           process

Table 6.4: CONFIG state event table




State Machine                                                                     06 December 2016
                                                                            Bluetooth SIG Proprietary
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 Previous state      Event                 Condition         Action           Next State

                                           Remote side                        WAIT_IND_
                                           accepts                            FINAL_RSP
 WAIT_CONFIG_                              option
                     L2CAP_ConfigRsp
 RSP
                                           Lockstep
                                           proc

                                                             Send L2CAP_      WAIT_CONFIG
 WAIT_IND_           ControllerLogical
                                           Reject            ConfigRsp
 FINAL_RSP           LinkInd
                                                             (fail)
                                                             Send L2CAP_      WAIT_FINAL_
 WAIT_IND_           ControllerLogical
                                           Accept            ConfigRsp        RSP
 FINAL_RSP           LinkInd
                                                             (success)
 WAIT_IND_                                 Remote side                        WAIT_CONFIG
                     L2CAP_ConfigRsp
 FINAL_RSP                                 fail

                                                                              WAIT_
 WAIT_IND_                                 Remote side
                     L2CAP_ConfigRsp                                          CONTROL_
 FINAL_RSP                                 success
                                                                              IND
 WAIT_FINAL_                               Remote side                        WAIT_CONFIG
                     L2CAP_ConfigRsp
 RSP                                       fail

 WAIT_FINAL_                               Remote side                        OPEN
                     L2CAP_ConfigRsp
 RSP                                       success
                                                             Send L2CAP_      WAIT_CONFIG
 WAIT_               ControllerLogical
                                           Reject            ConfigRsp
 CONTROL_IND         LinkInd
                                                             (fail)
                                                             Send L2CAP_      OPEN
 WAIT_               ControllerLogical
                                           Accept            ConfigRsp
 CONTROL_IND         LinkInd
                                                             (success)

Table 6.4: CONFIG state event table (Continued)




State Machine                                                                    06 December 2016
                                                                           Bluetooth SIG Proprietary
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 Previous state     Event                  Condition         Action            Next State

                                                             Send
                                           Options not
 WAIT_CONFIG        L2CAP_ConfigReq                          L2CAP_Confi-      WAIT_CONFIG
                                           acceptable
                                                             gRsp (fail)
 WAIT_CONFIG        L2CAP_ConfigRsp        -                 Ignore            WAIT_CONFIG

 WAIT_SEND                                                                     WAIT_SEND
                    L2CAP_ConfigRsp        -                 Ignore
 _CONFIG                                                                       _CONFIG
                                                             Send
 WAIT_CON-                                 Options not                         WAIT_CON-
                    L2CAP_ConfigReq                          L2CAP_Confi-
 FIG_REQ_RSP                               acceptable                          FIG_REQ_RSP
                                                             gRsp (fail)
                                                             Send
                                           Remote side
 WAIT_CON-                                                   L2CAP_Confi-      WAIT_CON-
                    L2CAP_ConfigRsp        rejects
 FIG_REQ_RSP                                                 gReq (new         FIG_REQ_RSP
                                           options
                                                             options)
                                                             Send
 WAIT_CON-                                 Options not                         WAIT_CON-
                    L2CAP_ConfigReq                          L2CAP_Confi-
 FIG_REQ                                   acceptable                          FIG_REQ
                                                             gRsp (fail)
 WAIT_CON-                                                                     WAIT_CON-
                    L2CAP_ConfigRsp        -                 Ignore
 FIG_REQ                                                                       FIG_REQ

                                                             Send
                                           Remote side
 WAIT_CON-                                                   L2CAP_Confi-      WAIT_CON-
                    L2CAP_ConfigRsp        rejects
 FIG_RSP                                                     gReq (new         FIG_RSP
                                           options
                                                             options)
Table 6.5: CONFIG state/substates event table: non-success transitions within configuration
process




 Previous state     Event                  Condition         Action            Next State

                                           Any internal      Send L2CAP_
 CONFIG                                                                        WAIT_
                    CloseChannel_Req       reason to         Disconnect
 (any substate)                                                                DISCONNECT
                                           stop              Req

                                                             Send L2CAP_
 CONFIG             L2CAP_Disconnec-
                                           -                 Disconnect        CLOSED
 (any substate)     tReq
                                                             Rsp
                                                                               CONFIG
 CONFIG             L2CAP_Disconnec-
                                           -                 Ignore            (remain in sub-
 (any substate)     tRsp
                                                                               state)
                                                                               CONFIG
 CONFIG                                                      Process the
                    L2CAP_Data             -                                   (remain in sub-
 (any substate)                                              PDU
                                                                               state)

Table 6.6: CONFIG state/substates event table: events not related to configuration process




State Machine                                                                     06 December 2016
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 Previous state     Event                  Condition         Action          Next State

                                                                             CONFIG
 CONFIG             L2CAP_
                                                             Ignore          (remain in sub-
 (any substate)     CreateChanReq
                                                                             state)
                                                                             CONFIG
 CONFIG             L2CAP_
                                                             Ignore          (remain in sub-
 (any substate)     CreateChanRsp
                                                                             state)
                                                                             CONFIG
 CONFIG             L2CAP_
                                                             Ignore          (remain in sub-
 (any substate)     MoveChanReq
                                                                             state)

                                                                             CONFIG
 CONFIG             L2CAP_
                                                             Ignore          (remain in sub-
 (any substate)     MoveChanRsp
                                                                             state)
                                                                             CONFIG
 CONFIG             L2CAP_
                                                             Ignore          (remain in sub-
 (any substate)     MoveChanConfirm
                                                                             state)

                    L2CAP_                                                   CONFIG
 CONFIG
                    MoveChanCon-                             Ignore          (remain in sub-
 (any substate)
                    firmRsp                                                  state)
Table 6.6: CONFIG state/substates event table: events not related to configuration process

 Notes:
 - Receiving data PDUs (L2CAP_Data) in CONFIG state should be relevant only in case
   of a transition to a reconfiguration procedure (from OPEN state). Discarding the
   received data is allowed only in Retransmission Mode and Enhanced Retransmission
   Mode. Discarding an S-frame is allowed but not recommended. If a S-frame is dis-
   carded, the monitor timer will cause a new S-frame to be sent after a time out.
 - Indicating a failure in a configuration response does not necessarily imply a failure of
   the overall configuration procedure; instead, based on the information received in the
   negative response, a modified configuration request may be triggered.




State Machine                                                                   06 December 2016
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6.1.5 OPEN state

 Event                     Condition           Action                      Next State

 SendData_req              -                   Send L2CAP_Data             OPEN
                                               packet according to con-
                                               figured mode
 ReconfigureChannel_       -                   Complete outgoing SDU       CONFIG
 Req                                           Send L2CAP_ConfigReq        (substate
                                                                           WAIT_CONFIG_
                                                                           REQ_RSP)
 CloseChannel_Req          -                   Send L2CAP_Discon-          WAIT_
                                               nectReq                     DISCONNECT

 L2CAP_ConnectRsp          -                   Ignore                      OPEN
 L2CAP_ConfigReq           Incoming config     Complete outgoing SDU       CONFIG
                           options accept-     Send L2CAP_                 (substate
                           able                ConfigRsp (ok)              WAIT_SEND_
                                                                           CONFIG)

 L2CAP_ConfigReq           Incoming config     Complete outgoing SDU       OPEN
                           options not         Send L2CAP_
                           acceptable          ConfigRsp (fail)

 L2CAP_DisconnectReq       -                   Send L2CAP_                 CLOSED
                                               DisconnectRsp
 L2CAP_DisconnectRsp       -                   Ignore                      OPEN
 L2CAP_Data                -                   Process the PDU             OPEN

 MoveChannel_Req                               Send                        WAIT_MOVE_
                                               L2CAP_MoveChanReq           RSP
 L2CAP_                                        Ignore                      OPEN
 CreateChanReq
 L2CAP_                                        Ignore                      OPEN
 CreateChanRsp

 L2CAP_MoveChanReq         Logical Link cre-   Send                        WAIT_MOVE_
                           ate/modify is not   L2CAP_MoveChanRsp           CONFIRM
                           needed              (success)
 L2CAP_MoveChanReq         Need to indicate    Send                        WAIT_MOVE
                           pending (logical    L2CAP_MoveChanRsp
                           link create/mod-    (pending)
                           ify is needed)
 L2CAP_MoveChanReq         No resource,        Send                        WAIT_MOVE_
                           not approved        L2CAP_MoveChanRsp           CONFIRM
                                               (refused)

 L2CAP_MoveChanRsp                             Ignore                      OPEN
Table 6.7: OPEN state event table




State Machine                                                                   06 December 2016
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 Event                     Condition           Action                  Next State

 L2CAP_                                        Ignore                  OPEN
 MoveChanConfirm
 L2CAP_                                        Ignore                  OPEN
 MoveChanConfirmRsp
Table 6.7: OPEN state event table

Note: The outgoing SDU shall be completed from the view of the remote entity.
Therefore all PDUs forming the SDU shall have been reliably transmitted by
the local entity and acknowledged by the remote entity, before entering the
configuration state.

6.1.6 WAIT_DISCONNECT state

 Event                      Condition     Action                    Next State

 L2CAP_ConnectRsp           -             Ignore                    WAIT_DISCONNECT
 L2CAP_ConfigReq            -             Send L2CAP_               WAIT_DISCONNECT
                                          CommandReject
                                          with reason Invalid CID
 L2CAP_ConfigRsp            -             Ignore                    WAIT_DISCONNECT

 L2CAP_DisconnectReq        -             Send L2CAP_               CLOSED
                                          DisconnectRsp
 L2CAP_DisconnectRsp        -             -                         CLOSED
 L2CAP_Data                 -             Ignore                    WAIT_DISCONNECT

 L2CAP_                                   Ignore                    WAIT_DISCONNECT
 CreateChanReq
 L2CAP_                                   Ignore                    WAIT_DISCONNECT
 CreateChanRsp
 L2CAP_MoveChanReq                        Ignore                    WAIT_DISCONNECT

 L2CAP_MoveChanRsp                        Ignore                    WAIT_DISCONNECT
 L2CAP_                                   Ignore                    WAIT_DISCONNECT
 MoveChanConfirm
 L2CAP_                                   Ignore                    WAIT_DISCONNECT
 MoveChanConfirmRsp

Table 6.8: WAIT_DISCONNECT state event table




State Machine                                                               06 December 2016
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6.1.7 WAIT_CREATE_RSP state

 Event                            Condition        Action             Next State

 L2CAP_CreateChanReq                               Ignore             WAIT_CREATE_RSP
 L2CAP_CreateChanRsp              Success          Send               CONFIG (substate
                                  indicated in     L2CAP_ConfigReq    WAIT_CONFIG)
                                  result
 L2CAP_CreateChanRsp              Result                              WAIT_CREATE_RSP
                                  pending

 L2CAP_CreateChanRsp              Remote                              CLOSED
                                  side refuses
                                  connection
 L2CAP_MoveChanReq                                 Ignore             WAIT_CREATE_RSP
 L2CAP_MoveChanRsp                                 Ignore             WAIT_CREATE_RSP

 L2CAP_MoveChanConfirm                             Ignore             WAIT_CREATE_RSP
 L2CAP_                                            Ignore             WAIT_CREATE_RSP
 MoveChanConfirmRsp

Table 6.9: WAIT_CREATE_RSP state event table


6.1.8 WAIT_CREATE state

 Event                        Condition               Action           Next State

 OpenChannelCntrl_Req         -                       Ignore           WAIT_CREATE
 OpenChannelCntrl_Rsp         Pending connec-         Send             CONFIG
                              tion request is         L2CAP_
                              finally acceptable      CreateChanRsp
                                                      (success)
 OpenChannelCntrl_Rsp         Pending connec-         Send             CLOSED
                              tion request is         L2CAP_
                              finally refused         CreateChanRsp
                                                      (refused)

 L2CAP_CreateChanReq          -                       Ignore           WAIT_CREATE
 L2CAP_CreateChanRsp          -                       Ignore           WAIT_CREATE
 L2CAP_MoveChanReq            -                       Ignore           WAIT_CREATE

 L2CAP_MoveChanRsp            -                       Ignore           WAIT_CREATE
 L2CAP_                       -                       Ignore           WAIT_CREATE
 MoveChanConfirm
 L2CAP_                       -                       Ignore           WAIT_CREATE
 MoveChanConfirmRsp

Table 6.10: WAIT_CREATE state event table




State Machine                                                                 06 December 2016
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6.1.9 WAIT_MOVE_RSP state

 Event                       Condition         Action            Next State

 L2CAP_MoveChanReq           Prioritization    Send L2CAP_       WAIT_MOVE_RSP
                             algorithm         MoveChanRsp
                             (remain initi-    (collision)
                             ator)
 L2CAP_MoveChanReq           Prioritization    Send L2CAP_       WAIT_MOVE
                             algorithm         MoveChanRsp
                             (become           (pending)
                             responder)
                             and logical
                             link create/
                             modify is
                             needed)

 L2CAP_MoveChanReq           Prioritization    Send L2CAP_       WAIT_MOVE_CONFIRM
                             algorithm         MoveChanRsp
                             (become           (success)
                             responder)
                             and logical
                             link create/
                             modify is not
                             needed)

 L2CAP_CreateChanRsp         -                 Ignore            WAIT_MOVE_RSP
 L2CAP_CreateChanReq         -                 Ignore            WAIT_MOVE_RSP

 L2CAP_MoveChanRsp           Result pend-      -                 WAIT_MOVE_RSP
                             ing
 L2CAP_MoveChanRsp           Remote side       Send L2CAP_       WAIT_CONFIRM_RSP
                             refuses move      MoveChanConfirm
                             and/or local      (failure)
                             side refuses
                             move (create/
                             modify logi-
                             cal link fails)

 L2CAP_MoveChanRsp           Both remote       Send L2CAP_       WAIT_CONFIRM_RSP
                             side and local    MoveChanConfirm
                             side accepts      (success)
                             move (create/
                             modify
                             logical link
                             succeeds)

 L2CAP_                      -                 Ignore            WAIT_MOVE_RSP
 MoveChanConfirm
 L2CAP_                      -                 Ignore            WAIT_MOVE_RSP
 MoveChanConfirmRsp
Table 6.11: WAIT_MOVE_RSP state event table




State Machine                                                                 06 December 2016
                                                                      Bluetooth SIG Proprietary
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6.1.10 WAIT_MOVE state

 Event                              Condition          Action        Next State

 ControllerLogicalLinkInd           Create/mod-        Send L2CAP_   WAIT_MOVE_
                                    ify logical link   MoveChanRsp   CONFIRM
                                    completed          (success)
                                    successfully
 ControllerLogicalLinkInd           Create/mod-        Send L2CAP_   WAIT_MOVE_
                                    ify logical link   MoveChanRsp   CONFIRM
                                    completed          (refused)
                                    with failure
 L2CAP_CreateChanReq                -                  Ignore        WAIT_MOVE

 L2CAP_CreateChanRsp                -                  Ignore        WAIT_MOVE
 L2CAP_MoveChanReq                  -                  Ignore        WAIT_MOVE

 L2CAP_MoveChanRsp                  -                  Ignore        WAIT_MOVE
 L2CAP_MoveChanConfirm              -                  Ignore        WAIT_MOVE
 L2CAP_MoveChanConfirmRsp           -                  Ignore        WAIT_MOVE

Table 6.12: WAIT_MOVE state event table


6.1.11 WAIT_MOVE_CONFIRM state

 Event                          Condition          Action        Next State

 L2CAP_CreateChanReq            -                  Ignore        WAIT_MOVE_CONFIRM
 L2CAP_CreateChanRsp            -                  Ignore        WAIT_MOVE_CONFIRM
 L2CAP_MoveChanReq              -                  Ignore        WAIT_MOVE_CONFIRM

 L2CAP_MoveChanRsp              -                  Ignore        WAIT_MOVE_CONFIRM
 L2CAP_MoveChanConfirm          Result of          Send          OPEN (on new Controller)
                                move is suc-       L2CAP_Move
                                cess               ChanCon-
                                                   firmRsp
 L2CAP_MoveChanConfirm          Result of          Send          OPEN (on old Controller)
                                move is fail-      L2CAP_Move
                                ure                ChanCon-
                                                   firmRsp

 L2CAP_                         -                  Ignore        WAIT_MOVE_CONFIRM
 MoveChanConfirmRsp
Table 6.13: WAIT_MOVE_CONFIRM state event table




State Machine                                                                 06 December 2016
                                                                       Bluetooth SIG Proprietary
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6.1.12 WAIT_CONFIRM_RSP state

 Event                          Condition       Action       Next State

 L2CAP_CreateChanReq            -               Ignore       WAIT_CONFIRM_RSP
 L2CAP_CreateChanRsp            -               Ignore       WAIT_CONFIRM_RSP
 L2CAP_MoveChanReq              -               Ignore       WAIT_CONFIRM_RSP

 L2CAP_MoveChanRsp              -               Ignore       WAIT_CONFIRM_RSP
 L2CAP_MoveChanConfirm          -               Ignore       WAIT_CONFIRM_RSP
 L2CAP_                         Move suc-                    OPEN (on new Controller)
 MoveChanConfirmRsp             ceeded

 L2CAP_                         Move failed                  OPEN (on old Controller)
 MoveChanConfirmRsp
Table 6.14: WAIT_CONFIRM_RSP state event table




State Machine                                                              06 December 2016
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6.2 TIMERS EVENTS

6.2.1 RTX

The Response Timeout eXpired (RTX) timer is used to terminate the channel
when the remote endpoint is unresponsive to signaling requests. This timer is
started when a signaling request (see Section 7) is sent to the remote device.
This timer is disabled when the response is received. If the initial timer expires,
a duplicate Request message may be sent or the channel identified in the
request may be disconnected. If a duplicate Request message is sent, the RTX
timeout value shall be reset to a new value at least double the previous value.
When retransmitting the Request message, the context of the same state shall
be assumed as with the original transmission. If a Request message is
received that is identified as a duplicate (retransmission), it shall be processed
in the context of the same state which applied when the original Request
message was received.

Implementations have the responsibility to decide on the maximum number of
Request retransmissions performed at the L2CAP level before terminating the
channel identified by the Requests. The exception is fixed channel CIDs since
they can never be terminated. The LE Peripheral may disconnect the link on
the expiry of the RTX timer. The decision should be based on the flush timeout
of the signaling link. The longer the flush timeout, the more retransmissions
may be performed at the physical layer and the reliability of the channel
improves, requiring fewer retransmissions at the L2CAP level.

For example, if the flush timeout is infinite, no retransmissions should be
performed at the L2CAP level. When terminating the channel, it is not
necessary to send a L2CAP_DisconnectReq and enter WAIT_DISCONNECT
state. Channels can be transitioned directly to the CLOSED state.

The value of this timer is implementation-dependent but the minimum initial
value is 1 second and the maximum initial value is 60 seconds. One RTX timer
shall exist for each outstanding signaling request, including each Echo
Request. The timer disappears on the final expiration, when the response is
received, or the physical link is lost. The maximum elapsed time between the
initial start of this timer and the initiation of channel termination (if no response
is received) is 60 seconds.




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6.2.2 ERTX

The Extended Response Timeout eXpired (ERTX) timer is used in place of the
RTX timer when it is suspected the remote endpoint is performing additional
processing of a request signal. This timer is started when the remote endpoint
responds that a request is pending, e.g., when an L2CAP_ConnectRsp event
with a “connect pending” result (0x0001) is received. This timer is disabled
when the formal response is received or the physical link is lost. If the initial
timer expires, a duplicate Request may be sent or the channel may be
disconnected.

If a duplicate Request is sent, the particular ERTX timer disappears, replaced
by a new RTX timer and the whole timing procedure restarts as described
previously for the RTX timer.

The value of this timer is implementation-dependent but the minimum initial
value is 60 seconds and the maximum initial value is 300 seconds. Similar to
RTX, there MUST be at least one ERTX timer for each outstanding request that
received a Pending response. There should be at most one (RTX or ERTX)
associated with each outstanding request. The maximum elapsed time
between the initial start of this timer and the initiation of channel termination (if
no response is received) is 300 seconds. When terminating the channel, it is
not necessary to send a L2CAP_DisconnectReq and enter
WAIT_DISCONNECT state. Channels should be transitioned directly to the
CLOSED state.




State Machine                                                           06 December 2016
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                                                                                                Event: L2CAP_ConnectionRsp
    Event: L2CAP_ConnectionRsp                                                                         (ref used)
                                                                                                Action: -
           (ref used)                             CLOSED
    Action: -




                 Event: L2CAP_ConnectReq
                                                                                   Event: OpenChannelReq
                 Action: L2CAP_ConnectRsp
                                                                                   Action: L2CAP_ConnectReq
                          (pending)




                                                                             Event: L2CAP_ConnectReq         WAIT_
                  WAIT_            Event: L2CAP_DisconnectReq                Action: L2CAP_ConnectRsp      CONNECT_
                 CONNECT           Action: L2CAP_DisconnectRsp                        (success)
                                                                                                              RSP


            Event: OpenChannelRes
                     (success)
            Action: L2CAP_ConnectRsp
                     (success)

                                                                                                     Event: L2CAP_ConnectRsp
                                                                                                             (success)
  Event: L2CAP_Conf igReq                                                                            Action: -
  Action: L2CAP_CommandReject
        (inv alid CID)

  Event: L2CAP_ConnectRspOR
       L2CAP_Conf igReq OR
        L2CAP_Data                                                                                Event: L2CAP_Data
  Action: Ignore                                                                                  Action: process the PDU
                                               Event: CloseChannelReq
                                               Action: L2CAP_DisconnectReq
                          WAIT_DIS-
                                                                                 CONFIG
                          CONNECT


                                                                                             Event: Reconf igureChannelReq
                                                                                             Action: Complete outgoingSDU
                                                     Event: L2CAP_Conf igReq                       L2CAP_Conf igReq
                                                     Action: L2CAP_Conf igRsp
                                                                                             Event: L2CAP_Conf igReq
                                                                                                    options acceptable
                                                                                             Action: L2CAP_Conf igRsp
                                                                                             (success)

  Event: L2CAP_DisconnectReq                                                                 Event: L2CAP_Conf igReq
  Action: L2CAP_DisconnectRsp                                                                       options not acceptable
                                                                                             Action: L2CAP_Conf igRsp(f ail)
  Event: L2CAP_DisconnectRsp            Event: CloseChannelReq
  Action: -                             Action: L2CAP_DisconnectReq




                          CLOSED                                                  OPEN
                                            Event: L2CAP_DisconnectReq
                                            Action: L2CAP_DisconnectRsp



                                                                                     Event: SendDataReq
                                                                                     Action: Send L2CAP_Data packet

                                                                                     Ev ent: L2CAP_Data
                                                                                     Action: Process the PDU

                                                                                     Ev ent: L2CAP_DisconnectRsp
                                                                                          OR L2CAP_ConnectRsp
                                                                                     Action: Ignore



Figure 6.1: States and transitions




State Machine                                                                                                  06 December 2016
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                                                                           Event: ControllerIndication
                                         WAIT_                                       (reject)
                                       CONNECT_                            Action:L2CAP_ConnectRsp
                                                                                                                                                        WAIT_
                                          RSP                                          (fail)
                                                                                                                                                       CONTROL
                                                                                                                                                         _IND

                           Event: L2CAP_ConnectRsp                                                                                  Event: ControllerIndication
                                                                                                               WAIT_
         CLOSED                                                                                                                              (accept)
                                                                                                               FINAL_               Action:L2CAP_ConnectRsp
                                                                                                                RSP                          (success)
                            Event: L2CAP_ConnectReq
                            Action:L2CAP_ConnectRsp                          Event: L2CAP_ConfigRsp
                                                                                                                     Event: L2CAP_ConfigRsp
                                     (success)                                         (fail)
                                                                                                                             (success)


                                                                                                                                              OPEN
                  Event: OpenChannel_Rsp                                      Event: ControllerIndication (reject)
  WAIT_
                          (success)                                           Action:L2CAP_ConnectRsp (fail)
 CONNECT         Action:L2CAP_ConnectRsp                   WAIT_                              or
                          (success)                       CONFIG                 Event: L2CAP_ConfigRsp (fail)
                                                                                                                         Event: ControllerIndication
                                                                                                                                  (accept)
                        Event: L2CAP_ConfigReq                                                                           Action:L2CAP_ConnectRsp
                          options not acceptable                        Event: L2CAP_ConfigReq                                                          Event: L2CAP_ConfigRsp
                                                                                                                                  (success)
                      Action:L2CAP_ConfigRsp(fail)                         options not acceptable                                                               (success)
                                                                       Action:L2CAP_ConfigRsp(fail)

                                                     Event:ConfigureChannelReq
                                                      Action:L2CAP_ConfigReq
                                                                                              WAIT_
                                                                                             CONFIG_
                                                                                               REQ
                                                                   Event:L2CAP_ConfigRsp
                                                                     options acceptable
 Event:L2CAP_ConfigReq                                                                                        Event:L2CAP_ConfigReq
    options acceptable                                                                                           options acceptable
 Action:L2CAP_ConfigRsp                                                                                       Action:L2CAP_ConfigRsp
                                                                                 Event:L2CAP_ConfigReq
  (success) or (pending)                                                                                              (pending)
                                                                                    options acceptable
                              Event: L2CAP_ConfigRsp                             Action:L2CAP_ConfigRsp                                   WAIT_IND
                                         (fail)                                          (success)                                        _FINAL_
                               Action:L2CAP_ConfigReq     WAIT_
                                                                                                                                            RSP
                                     (new options)       CONIFG_
                                                         REQ_RSP

     WAIT_
    SEND_                                                               Event:L2CAP_ConfigReq            OPEN
    CONFIG                            Event: L2CAP_ConfigReq                options acceptable
                                        options not acceptable          Action:L2CAP_ConfigRsp
                                    Action:L2CAP_ConfigRsp(fail)                 (success)


                                                                                            Event: L2CAP_ConfigRsp
                                                                                                                            Event: L2CAP_ConfigRsp
                                                                                               Options accetable
                                                                                                                               Options accetable
                   Event:ConfigureChannelReq
                    Action:L2CAP_ConfigReq



                                                                                              WAIT_
                                                                                             CONFIG_
                                                                                               RSP


                                                                                             Event: L2CAP_ConfigRsp
                                                                                                       (fail)
                                                                                             Action:L2CAP_ConfigReq
                                                                                                   (new options)




Figure 6.2: Configuration states and transitions




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                                                    Event:L2CAP_CreateChanRsp
                                                             [refused]
                           CLOSED                 Event:OpenChanCntrl_Req
                                                 Action:L2CAP_CreateChanReq



                                                  Event:OpenChanCntrl_Rsp
                                                 Action:L2CAP_CreateChanRsp
                                                           [refused]


                                    Event:L2CAP_CreateChanReq
                                    Action:L2CAP_CreateChanRsp
                                              [pending]


                 WAIT_                                                                                       WAIT_
   WAIT_                                                             WAIT_
                CONNECT                                                                                     CREATE
  CONNECT                                                           CREATE
                  _RSP                                                                                       _RSP

                             Event:L2CAP_CreateChanReq
                             Action:L2CAP_CreateChanRsp
                                       [success]
                                                    Event:OpenChanCntrl_Rsp
                                                   Action:L2CAP_CreateChanRsp
                                                             [success]



                                                            Event:L2CAP_CreateChanRsp
                                                                     [success]



                                                                                                     Event:L2CAP_MoveChanReq
                                                       WAIT_                                         [priority = become responder]
                                                       MOVE_                                         Action:L2CAP_MoveChanRsp
  WAIT_DIS                                            CONFIRM                                                    [success]
                           CONFIG
  CONNECT                                                          Event: ControllerLogicalLinkInd
                                                                           [success/failure]
                                                                   Action: L2CAP_MoveChanRsp
                                                                                                        WAIT_
                                                                           [success/failure]
                                                                                                        MOVE

                                 Event: L2CAP_MoveChanConfirm
                                          [success/failure]
                               Action: L2CAP_MoveChanConfirmRsp
                                                                    Event:L2CAP_MoveChanReq
                                                                    Action: L2CAP_MoveChanRsp
                                                                              [pending]
                                         Event:L2CAP_MoveChanReq
                                         Action: L2CAP_MoveChanRsp                  Event:L2CAP_MoveChanReq
                                                 [success/failure]                  [priority = become responder]
                                                                                    Action:L2CAP_MoveChanRsp
                                                                                                [pending]

                                                              Event:MoveChan_Req
  CLOSED                    OPEN                          Action:L2CAP_MoveChanReq        WAIT_
                                                                                          MOVE_
                                                  Event:                                   RSP
                                         L2CAP_MoveChanConfirmRsp                                             Event:L2CAP_MoveChanReq
                                                                                                                [priority = remain initiator]
                                                                                                              Action:L2CAP_MoveChanRsp
                                                           WAIT_           Event:L2CAP_MoveChanRsp
                                                                                                                          [collison]
                                                                                 [success/refused]
                                                          CONFRIM_                                            Event:L2CAP_MoveChanRsp
                                                                           and ControllerLogicalLinkInd
                                                            RSP                   [success/failure]                       [pending]
                                                                         Action:L2CAP_MoveChanConfirm
                                                                                  [success/failure]



Figure 6.3: States and transitions–AMP enabled operation


Figure 6.3 is based on Figure 6.1. Only the new transitions show event/action
labels. Transitions without labels are the same as in Figure 6.1.




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7 GENERAL PROCEDURES

This section describes the general operation of L2CAP, including the
configuration process, the handling and the processing of user data for
transportation over the air interface. This section also describes the operation
of L2CAP features including the delivery of erroneous packets, the flushing of
expired data and operation in connectionless mode, operation collision
resolution, aggregation of best effort flow specifications, and prioritizing data
over HCI.

Procedures for the flow control and retransmission modes are described in
Section 8.

7.1 CONFIGURATION PROCESS
Configuration consists of two processes, the Standard process and the
Lockstep process. The Lockstep process shall be used if both L2CAP entities
support the Extended Flow Specification option otherwise the Standard
process shall be used.

For both processes, configuring the channel parameters shall be done
independently for both directions. Both configurations may be done in parallel.

Each configuration parameter is one-directional. The configuration parameters
describe the non default parameters the device sending a Configuration
Request will accept. The configuration request cannot request a change in the
parameters the device receiving the request will accept.

If a device needs to establish the value of a configuration parameter the remote
device will accept, then it must wait for a configuration request containing that
configuration parameter to be sent from the remote device.

The Lockstep process is used when the channel parameters include an
Extended Flow Specification option. The Lockstep process can be divided into
two phases. In the first phase, each L2CAP entity shall receive an Extended
Flow Specification option along with all non-default parameters from its peer
L2CAP entity and then present the pair of Extended Flow specifications (local
and remote) to its local Controller. In the second phase, each L2CAP entity
shall report the result from its local Controller to the peer L2CAP entity. The
Lockstep process is described in Section 7.1.3. The Standard process is
described in Section 7.1.4.

Both the Lockstep and Standard processes can be abstracted into the initial
Request configuration path and a Response configuration path, followed by the
reverse direction phase. Reconfiguration follows a similar two-phase process
by requiring configuration in both directions.




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During a reconfiguration session, all data traffic on the channel should be
suspended pending the outcome of the configuration. If an L2CAP entity
receives a Configuration Request while it is waiting for a response it shall not
block sending the Configuration Response, otherwise the configuration
process may deadlock.

7.1.1 Request Path

The Request Path can configure the following:
• requester’s incoming MTU
• requester’s outgoing flush timeout
• requester’s outgoing QoS
• requester’s incoming and outgoing flow and error control information
• requester's incoming and outgoing Frame Check Sequence option
• requester's outgoing QoS using Extended Flow Specification option
• requester's incoming Extended Window size option plus incoming and
  outgoing frame format.

Table 7.1 defines the configuration options that may be placed in a
Configuration Request.

 Parameter           Description

 MTU                 Incoming MTU information

 FlushTO             Outgoing flush timeout1
 QoS                 Outgoing QoS information1
 RFCMode             Incoming and outgoing Retransmission and Flow
                     Control Mode

 FCS                 Incoming and outgoing Frame Check Sequence
 ExtFlowSpec         Outgoing QoS information1

 ExtWindow           Incoming Extended Window size plus incoming
                     and outgoing frame format
Table 7.1: Parameters allowed in Request
 1. FlushTO, QoS and ExtFlowSpec are considered QoS informa-
    tion. ExtFlowSpec is used instead of FlushTO and QoS when
    both devices support ExtFlowSpec.


The state machine for the configuration process is described in Section 6.




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7.1.2 Response Path

The Response Path can configure the following:
• responder’s outgoing MTU, that is the remote side’s incoming MTU
• remote side’s flush timeout
• responder’s incoming QoS Flow Specification (remote side’s outgoing QoS
  Flow Specification)
• responder’s incoming and outgoing Flow and Error Control information
• responder's incoming QoS Extended Flow Specification (remote side's
  outgoing QoS Flow Specification)
• responder's outgoing Extended Window size.

For the Standard process, if a request-oriented parameter is not present in the
Request message (reverts to last agreed value), the remote side may
negotiate for a non-default value by including the proposed value in a negative
Response message. Table 7.2 defines the configuration options that may be
placed in a Configuration Response.

 Parameter           Description

 MTU                 Outgoing MTU information
 FlushTO             Incoming flush timeout 1

 QoS                 Incoming QoS information1
 RFCMode             Incoming and outgoing Retransmission and Flow
                     Control Mode
 ExtFlowSpec         Incoming QoS information1

 ExtWindow           Outgoing Extended Window size
Table 7.2: Parameters allowed in Response
 1. FlushTO, QoS and ExtFlowSpec are considered QoS informa-
    tion. ExtFlowSpec is used instead of FlushTO and QoS when
    both devices support ExtFLowSpec


7.1.3 Lockstep Configuration Process

Configuration Request packets are sent to establish or change the channel
parameters including the QoS contract between two L2CAP entities. An
Extended Flow Specification option along with any non-default parameters shall
be sent in a Configuration Request following the sending or receipt of a Connect
Response which accepts an L2CAP Connect Request for the channel being
configured. Unlike the Standard process, negotiation involving the sending of
multiple Configuration Request packets shall not be performed. In other words,
only one Configuration Request packet shall be sent by each L2CAP entity
during the Lockstep configuration process. The Lockstep process shall only be

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used during channel reconfiguration when an Extended Flow Specification
option is present in the Configuration Request packet used for reconfiguration.

The Extended Flow Specification shall be sent for all channels created on
AMP-U logical links and shall only be sent for channels created on the ACL-U
logical link if both the local and remote L2CAP entities have indicated support
for the Extended Flow Specification for BR/EDR in their Extended Features
masks. The Extended Features mask shall be obtained via the L2CAP
Information Request/Response signaling mechanism (InfoType = 0x0002) prior
to the issuance of the L2CAP Configuration Request. If a Configuration
Request is sent containing the Extended Flow Specification option then the
Quality of Service option and Flush Timeout option shall not be included.

Configuration Response packets shall be sent in reply to Configuration
Request packets except when the error condition is covered by a Command
Reject response. Although the L2CAP Configuration signaling mechanism
allows for the use of wildcards, wildcard values are not supported in the
Extended Flow Specification since each parameter represents a property of the
traffic in one direction only, and no negotiation is intended to be performed at
the L2CAP Configuration level.

The recipient of a Configuration Request shall perform all necessary checks
with the Controller to validate that the requested QoS can be granted. In the
case of a BR/EDR or BR/EDR/LE Controller the L2CAP layer performs the
Controller checks. If HCI is used then the L2CAP entity should check that the
requested QoS can be achieved over the HCI transport. In order to perform
these checks, the recipient needs to have the QoS parameters for both
directions. In order for each side to determine when to perform relevant
Controller checks, each side will reply with a result “Pending” (0x0004). If no
parameters are sent in the Configuration Response packet with result
“Pending” then the parameters sent in the Configuration Request have been
accepted without change. This Lockstep procedure results in both L2CAP
entities performing the following:
• Receiving a Configuration Request containing the Extended Flow
  Specification option along with all non-default parameters
• Sending a Configuration Response with any modifications to the Extended
  Flow Specification option and allowed modifications to non-default
  parameters (result “Pending”)
• Sending a Configuration Request containing the Extended Flow
  Specification option along with all non-default parameters
• Receiving a Configuration Response containing any modifications to the
  Extended Flow Specification option and allowed modifications to non-default
  parameters (result “Pending”).

The ERTX timer is used when a Configuration Response is received with result
“Pending” (see Section 6.2.2).



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If a Configuration Response with result “success” is received before a
Configuration Response with result “pending” is received the recipient shall
disconnect the channel. This is a violation of the Lockstep configuration
process.

If a device sends an Extended Flow Specification option in a Configuration
Request with service type “Best Effort” and receives a Configuration Request
with service type “Guaranteed,” the channel shall be disconnected. If a device
sends an Extended Flow Specification in a Configuration Request with type
“Guaranteed” and receives a Configuration Request with service type “Best
Effort,” the channel shall be disconnected.

If the service type is “Best Effort” then values for certain parameters may be
sent in a Configuration Response with result “Pending” to indicate the
maximum bandwidth the sender of the Configuration Response is capable to
receive. The values sent in a Configuration Response with result “Pending”
and service type Best Effort shall be in accordance with Table 7.3.

 Parameter                   Changes permitted by responder

 Maximum SDU Size            May decrease only
 SDU Inter-arrival Time      May increase only
 Access Latency              None

 Flush Timeout               None
Table 7.3: Permitted parameter in L2CAP Configuration Response for Service Type “Best
Effort”

After the Configuration Response is received with result “Pending,” L2CAP
may issue the necessary checks with the Controller.

If the Controller cannot support the Extended Flow Specifications with service
type “Guaranteed,” then the recipient of the Configuration Request shall send a
Configuration Response indicating a result code of “Failure - flow spec
rejected” (0x0005). If the Controller indicates that it can support the Extended
Flow Specifications, then the recipient of the Configuration Request shall send
a Configuration Response with result code of “Success” (0x0000) with no
parameters.

If the Result of the Configuration Response is Failure (0x0005) for service type
“Guaranteed” then an Extended Flow Specification option may be sent in the
Configuration Response. The Extended Flow Specification parameters sent in
the Configuration Response may be changed to reflect a QoS level that would
be acceptable, but shall only be changed in accordance with Table 7.4.

If an L2CAP Configuration Response is received containing the Extended Flow
Specification option with the same values sent earlier, the upper layer shall be
notified of the error.


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 Parameter                 Changes permitted by responder

 Maximum SDU Size          None
 SDU Inter-arrival Time    None
 Access Latency            May decrease only

 Flush Timeout             May decrease only (unless set to 0xFFFFFFFF,
                           in which case no change is permitted)
Table 7.4: Permitted parameter changes in L2CAP Configuration Response for Service Type
          “Guaranteed”

7.1.4 Standard Configuration Process

For the Standard process the following general procedure shall be used for
each direction:
1. Local device informs the remote device of the parameters that the local
   device will accept using a Configuration Request.
2. Remote device responds, agreeing or disagreeing with these values,
   including the default ones, using a Configuration Response.
3. The local and remote devices repeat steps (1) and (2) until agreement on all
   parameters is reached.

The decision on the amount of time (or messages) spent configuring the
channel parameters before terminating the configuration is left to the
implementation, but it shall not last more than 120 seconds.

There are two types of configuration parameters: negotiable and non-negotiable.

Negotiable parameters are those that a remote side receiving a Configuration
Request can disagree with by sending a Configuration Response with the
Unacceptable Parameters (0x0001) result code, proposing new values that
can be accepted. Non-negotiable parameters are only informational and the
recipient of a Configuration Request cannot disagree with them but can provide
adjustments to the values in a positive Configuration Response. Section 5
identifies each parameter as negotiable or non-negotiable. Note: MTU is non-
negotiable but can be rejected if a value lower than the mandated minimum is
proposed (See Section 5.1).

The following rules shall be used for parameter negotiation in the Request
Path:
1. An L2CAP entity shall send at least one Configuration Request packet as
   part of initial configuration or reconfiguration. If all default or previously
   agreed values are acceptable, a Configuration Request packet with no
   options shall be sent.
2. When an L2CAP entity receives a positive Configuration Response from the
   remote device it shall consider all configuration parameters explicitly


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   contained in the Configuration Request along with the default and previously
   agreed values not explicitly contained in the Configuration Request as
   accepted by the remote device.
3. When an L2CAP entity receives a negative Configuration Response and
   sends a new Configuration Request it shall include all the options it sent in
   the previous Configuration Request with the same values except the
   negotiable options that were explicitly rejected in the negative Configuration
   Response which will have new values. Note: The resending of all the
   options provides backwards compatibility with remote implementations that
   don’t assume rule 4 when responding.
4. Negotiable options not included in a negative Configuration Response are
   considered accepted by the remote device. Note: For backwards
   compatibility if non-negotiable options are included in a negative
   Configuration Response, they should be processed as if the response was
   positive.

The following rules shall be used for parameter negotiation in the Response
Path:
1. A positive Configuration Response accepts the values of all configuration
   parameters explicitly contained in the received Configuration Request and
   the default and previously agreed values not explicitly provided.
2. An L2CAP Entity shall send a negative Configuration Response to reject
   negotiable parameter values that are unacceptable, be it values explicitly
   provided in the received Configuration Request or previously agreed or
   default values. The rejected parameters sent in a negative Configuration
   Response shall have values that are acceptable to the L2CAP entity
   sending the negative Configuration Response.
3. All negotiable options being rejected shall be rejected in the same negative
   Configuration Response.
4. The only options allowed in a negative Configuration Response are the
   negotiable options being rejected. No wildcards or adjustments to non-
   negotiable options shall be in a negative Configuration Response.
5. Negotiable options not included in the negative Configuration Response are
   considered accepted.




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7.2 FRAGMENTATION AND RECOMBINATION
Fragmentation is the breaking down of PDUs into smaller pieces for delivery
from L2CAP to the lower layer. Recombination is the process of reassembling
a PDU from fragments delivered up from the lower layer. Fragmentation and
Recombination may be applied to any L2CAP PDUs.

7.2.1 Fragmentation of L2CAP PDUs

An L2CAP implementation may fragment any L2CAP PDU for delivery to the
lower layers. If L2CAP runs directly over the Controller without HCI, then an
implementation may fragment the PDU into multiple Controller packets for
transmission over the air. If L2CAP runs above the HCI, then an
implementation may send HCI transport sized fragments to the Controller. All
L2CAP fragments associated with an L2CAP PDU shall be processed for
transmission by the Controller before any other L2CAP PDU for the same
logical transport shall be processed.

For example, in the BR/EDR Controller the two LLID bits defined in the first
octet of baseband payload (also called the frame header) are used to signal
the start and continuation of L2CAP PDUs. LLID shall be 10b for the first
segment in an L2CAP PDU and 01b for a continuation segment. An illustration
of fragmentation for a BR/EDR Controller is shown in Figure 7.1. An example
of how fragmentation might be used in a device with HCI is shown in Figure
7.2.


                     Length     CID                      Payload




               LLID=10b               LLID=01b                     LLID=01b


Figure 7.1: L2CAP fragmentation in a BR/EDR Controller


Note: The BR/EDR Link Controller is able to impose a different fragmentation
on the PDU by using “start” and “continuation” indications as fragments are
translated into baseband packets. Thus, both L2CAP and the BR/EDR Link
Controller use the same mechanism to control the size of fragments.




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                                                                                                               Service Data Unit
                           Encapsulate SDU
                           into L2CAP
              L2CAP                                   Length                    CID                              L2CAP Payload
                           B-frame




                                                    Connection Handle Flags=Start              Length           HCI data payload

                                                                      Connection Handle Flags=Continue            Length            HCI data payload
                           Segment L2CAP packet
                  HCI      into the payload of
                           many HCI data packets.


  Host                                                                          Connection Handle Flags=Continue           Length           HCI data payload
  Software

                           Transfer packets to    HCI 1                 HCI 2                                HCI n
             HCI-USB       USB driver             Start                 Continue                             Continue



                USB        Send USB
                           packets over bus      USB 1        USB 2     USB 3      USB 4      USB 5                           USB p
               Driver

                                                                                    USB Hardware bus

                  USB        Receive USB
                 Driver      packets.            USB 1        USB 2     USB 3      USB 4      USB 5                           USB p

  Embedded
  Software                   Re-assemble &
               HCI-USB       buffer packets           HCI 1                HCI 2                                 HCI n



                             Assemble 1,3 & 5         Air 1                         Air 2         Air 3                            Air q
         Link Controller     slot packet types as     Start                        Continue       Continue                     Continue
                             appropriate


                                                          Radio modulation and transmission



Figure 7.2: Example of fragmentation processes in a device with a BR/EDR Controller and USB
HCI transport




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7.2.2 Recombination of L2CAP PDUs

Controllers will attempt to deliver packets in sequence and without errors.
Recombination of fragments may occur in the Controller but ultimately it is the
responsibility of L2CAP to reassemble PDUs and SDUs and to check the
length field of the SDUs. As the Controller receives packet fragments, it either
signals the L2CAP layer on the arrival of each fragment, or accumulates a
number of fragments (before the receive buffer fills up or a timer expires)
before passing packets to the L2CAP layer.

An L2CAP implementation shall use the length field in the header of L2CAP
PDUs, see Section 3, as a consistency check and shall discard any L2CAP
PDUs that fail to match the length field. If channel reliability is not needed,
packets with invalid lengths may be silently discarded. For reliable channels
using Basic mode, an L2CAP implementation shall indicate to the upper layer
that the channel has become unreliable. Reliable channels are defined by
having an infinite flush timeout value as specified in Section 5.2. For higher
data integrity L2CAP should be operated in the Enhanced Retransmission
Mode.




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7.3 ENCAPSULATION OF SDUs
All SDUs are encapsulated into one or more L2CAP PDUs.

In Basic L2CAP mode, an SDU shall be encapsulated with a minimum of
L2CAP protocol elements, resulting in a type of L2CAP PDU called a Basic
Information Frame (B-frame).

Segmentation and Reassembly operations are only used in Enhanced
Retransmission mode, Streaming mode, Retransmission mode, and Flow
Control mode. SDUs may be segmented into a number of smaller packets
called SDU segments. Each segment shall be encapsulated with L2CAP
protocol elements resulting in an L2CAP PDU called an Information Frame (I-
frame).

The maximum size of an SDU segment shall be given by the Maximum PDU
Payload Size (MPS). The MPS parameter may be exported using an
implementation specific interface to the upper layer.

Note that this specification does not have a normative service interface with the
upper layer, nor does it assume any specific buffer management scheme of a
Host implementation. Consequently, a reassembly buffer may be part of the
upper layer entity. It is assumed that SDU boundaries shall be preserved
between peer upper layer entities.

7.3.1 Segmentation of L2CAP SDUs

In Flow Control, Streaming, or Retransmission modes, incoming SDUs may be
broken down into segments, which shall then be individually encapsulated with
L2CAP protocol elements (header and checksum fields) to form I-frames. I-
frames are subject to flow control and may be subject to retransmission
procedures. The header carries a 2 bit SAR field that is used to identify
whether the I-frame is a 'start', 'end' or 'continuation' packet or whether it
carries a complete, unsegmented SDU. Figure 7.3 illustrates segmentation and
fragmentation.


                                           L2CAP SDU



                           I-frame                              I-frame

        HCI
              Fragment/              Fragment/       Fragment/          Fragment/
              BB payload             BB payload      BB payload         BB payload

Figure 7.3: Segmentation and fragmentation of an SDU in a BR/EDR Controller



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7.3.2 Reassembly of L2CAP SDUs

The receiving side uses the SAR field of incoming 'I-frames' for the reassembly
process. The L2CAP SDU length field, present in the “start of SDU” I-frame, is
an extra integrity check, and together with the sequence numbers may be used
to indicate lost L2CAP SDUs to the application. Figure 7.3 illustrates
segmentation and fragmentation.

7.3.3 Segmentation and fragmentation

Figure 7.4 illustrates the use of segmentation and fragmentation operations to
transmit a single SDU. Note that while SDUs and L2CAP PDUs are transported
in peer-to-peer fashion, the fragment size used by the Fragmentation and
Recombination routines is implementation specific and may be different in the
sender and the receiver. The over-the-air sequence of packet fragments as
created by the sender is common to both devices.


                                                                              Service Data Unit




            Length   Channel ID   Control    SDU length           Information payload                    FCS
   L2CAP




                        Length    Channel ID    Control            Information payload                    FCS


           Segment SDU into
           the payload of many
           L2CAP I-frames
                                                 Length      Channel ID       Control                    Information payload                FCS




                         Connection handle     Flags=start     Length                   HCI data payload


                                       Connection handle Flags=continue       Length                      HCI data payload
               HCI
                       Fragment L2CAP PDU
                       into the payload of
                       multiple HCI data packets.                               Flags=continue
                                                                        Connection                Length
                                                                                   handle Flags=continue           Length              HCI data
                                                                                                                                            HCIpayload
                                                                                                                                                data payload




                                     Transfer packets to         HCI 1             HCI 2                                    HCI n
                     HCI-USB         USB driver                  Start             Continue                                 Continue


  Host                    USB        Send USB
                         Driver      packets over bus          USB 1      USB 2    USB 3         USB 4     USB 5                              USB p
  Software
                                                                                                    USB Hardware bus

  Embedded                USB        Receive USB
                         Driver      packets.                  USB 1      USB 2    USB 3         USB 4     USB 5                              USB p
  Software

                                     Re-assemble &
                     HCI-USB         buffer packets                  HCI 1               HCI 2                                 HCI n



                                     Assemble 1,3 & 5                Air 1                    Air 2              Air 3                          Air q
            Link Controller          slot packet types as
                                                                    Start                     Continue          Continue                       Continue
                                     appropriate


                                                                          Radio modulation and transmission



Figure 7.4: Example of segmentation and fragment processes in a device with a BR/EDR
Controller and USB HCI Transport1


1. For simplicity, the stripping of any additional HCI and USB specific information fields prior to the
   creation of the baseband packets (Air_1, Air_2, etc.) is not shown in the figure.


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7.4 DELIVERY OF ERRONEOUS L2CAP SDUS
Some applications may require corrupted or incomplete L2CAP SDUs to be
delivered to the upper layer. If delivery of erroneous L2CAP SDUs is enabled,
the receiving side will pass information to the upper layer on which parts of the
L2CAP SDU (i.e., which L2CAP frames) have been lost, failed the error check,
or passed the error check. If delivery of erroneous L2CAP SDUs is disabled,
the receiver shall discard any L2CAP SDU segment with any missing frames or
any frames failing the error checks. L2CAP SDUs whose length field does not
match the actual frame length shall also be discarded.

7.5 OPERATION WITH FLUSHING ON ACL-U LOGICAL LINKS
In the L2CAP configuration using either the Flush Timeout option or the
Extended Flow Specification option, the Flush timeout may be set separately
per L2CAP channel, but in the BR/EDR baseband, the flush mechanisms
operate per ACL logical transport.

When there is more than one L2CAP channel mapped to the same ACL logical
transport, the automatic flush time-out does not discriminate between L2CAP
channels. The automatic flush time-out also applies to unicast data sent via the
L2CAP connectionless channel. The exception is packets marked as non-
automatically-flushable via the Packet_Boundary_Flag in the HCI ACL Data
Packet (see Section 1.1). The automatic flush time-out flushes a specific
automatically-flushable L2CAP PDU. The HCI Flush command flushes all
outstanding L2CAP PDUs for the ACL logical transport including L2CAP PDUs
marked as non-automatically-flushable. Therefore, care has to be taken when
using the Automatic Flush Time-out and the HCI Flush command. The HCI
Enhanced Flush command should be used instead.

All packets associated with a reliable connection shall be marked as non-
automatically-flushable (if it is mapped to an ACL logical transport with a finite
automatic flush time-out) or L2CAP Enhanced Retransmission mode or
Retransmission mode shall be used. In Enhanced Retransmission mode or
Retransmission mode, loss of flushed L2CAP PDUs on the channel is detected
by the L2CAP ARQ mechanism and they are retransmitted. Note that L2CAP
Enhanced Retransmission mode or Retransmission mode might be used for
other purposes such as the need for a residual error rate that is much smaller
than the baseband can deliver. In this situation L2CAP Enhanced
Retransmission mode or Retransmission mode and the Non-Flushable Packet
Boundary Flag feature can be used at the same time.

If it is desired to send unicast data via the L2CAP connectionless channel
which is not subject to automatic flushing, then the data should be marked as
non-automatically flushable if it is mapped to an ACL logical transport with a
finite automatic flush time-out. Unicast data sent via the L2CAP connectionless
channel may be marked flushable.



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There is only one automatic flush time-out setting per ACL logical transport.
Therefore, all time bounded L2CAP channels on an ACL logical transport with
an automatic flush time-out setting should configure the same flush time-out
value at the L2CAP level. The flush time-out setting for the ACL logical
transport also applies to unicast data sent via the L2CAP connectionless
channel which are marked flushable.

If Automatic Flush Time-out is used, then it should be taken into account that it
only flushes one L2CAP PDU. If one PDU has timed out and needs flushing,
then other automatically-flushable packets on the same logical transport are
also likely to need flushing. Therefore, flushing can be handled by the HCI
Enhanced Flush command so that all outstanding automatically-flushable
L2CAP PDUs are flushed.

When both reliable and isochronous data is to be sent over the same ACL
logical transport, an infinite Automatic Flush Time-out can be used. In this case
the isochronous data is flushed using the HCI Enhanced Flush command with
Packet_Type set to “Automatically-Flushable Only,” thus preserving the reliable
data.

7.6 CONNECTIONLESS DATA CHANNEL
In addition to connection-oriented channels, L2CAP also provides a
connectionless channel. Data sent on the connectionless channel shall only be
sent over the BR/EDR radio. The connectionless channel allows broadcast
transmissions from the master device to all members of the piconet or unicast
transmissions from either a master or slave to a single remote device. Data
sent through the connectionless channel is sent in a best-effort manner. The
connectionless channel provided by L2CAP has no quality of service.

While L2CAP itself does not provide retransmission for data sent via the
connectionless channel, the baseband does provide an ARQ scheme for
unicast data (see [Vol 2] Part B, Section 7.6). If a higher degree of reliability is
desired for unicast data sent via the connectionless L2CAP channel than is
provided by the baseband ARQ scheme then an ARQ scheme should be
implemented at a higher layer.

No acknowledgment is provided by the baseband for broadcast transmissions
and hence broadcast transmissions sent via the connectionless L2CAP
channel are unreliable and hence might or might not reach each member of the
piconet.

The receiving L2CAP entity may silently discard data received via the
connectionless L2CAP channel if the data packet is addressed to a PSM and
no application is registered to receive data on that PSM.

Note that L2CAP does not provide flow control for either connection-oriented
L2CAP channels operating in Basic mode or for traffic on the connectionless
L2CAP channel. Hence if data received by L2CAP is not accepted by the target

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applications in a timely manner, congestion can occur in a receiving L2CAP
implementation. For connection-oriented channels, the receiving L2CAP entity
may elect to close a channel if the target application for that channel does not
accept the data in a timely manner. Since this option is not available for unicast
data received via the connectionless L2CAP channel, the receiving L2CAP
entity may instead elect to de-register the application receiving the data or to
disconnect the underlying physical link. An application shall be notified if it is
de-registered. If the underlying physical link is disconnected then all
applications utilizing that physical link shall be notified.

Unicast data shall only be sent via the connectionless L2CAP channel to a
remote device if the remote device indicates support for Unicast
Connectionless Data Reception in the L2CAP Extended Features Mask.1
The L2CAP Extended Features Mask should be retrieved using the L2CAP
Information Request signal to determine if Unicast Connectionless Data
Reception is supported. Optionally, support for Unicast Connectionless Data
Reception can be inferred from information obtained via a SDP or EIR. For
example, if a service is found via SDP or EIR that is known to mandate the
support of UCD, then it may be assumed that the device indicating support for
the service supports Unicast Connectionless Data Reception.

Unicast data sent via the L2CAP connectionless channel are subject to
automatic flushing and hence the packet boundary flags should be set
appropriately if the Controller supports the Packet Boundary Flag feature. See
Section 7.5 for further details. Since the receiving L2CAP entity has no
mechanism to enable it to know whether received packets were originally
marked as flushable or non-flushable on the transmitting device, the receiving
L2CAP entity should treat all unicast packets received via the connectionless
L2CAP packet as non-flushable.

If encryption is required for a given profile, then the profile or application shall
ensure that authentication is performed and encryption is enabled prior to
sending any unicast data on the connectionless L2CAP channel by utilizing
Security Mode 4 as defined in GAP ([Vol 3] Part C, Section 5.2.2). There is no
mechanism provided in this specification to prevent reception of unencrypted
data on the connectionless L2CAP channel. An application which requires
received data to be encrypted should ignore any unencrypted data it may
receive over the connectionless channel.

Broadcast transmissions to the connectionless channel are sent with the
broadcast LT_ADDR and hence may be received by any of the slaves in the
piconet. If it is desirable to restrict the reception of the transmitted data to only
a subset of the slaves in the piconet, then higher level encryption may be used
to support private communication.

1. Note that the Unicast Connectionless Data Reception bit in the L2CAP Extended Features Mask does
   not in any way indicate support or lack of support for reception of broadcast data on the connectionless
   L2CAP channel even though both broadcast data and unicast data are sent and received using the
   same CID (0x0002). For historical reasons, there is no bit to indicate support for sending or receiving of
   broadcast data on the connectionless L2CAP channel.


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The master will not receive transmissions broadcast on the connectionless
channel. Therefore, higher layer protocols must loopback any broadcast data
traffic being sent to the master device if required.

The connectionless data channel shall not be used with Enhanced
Retransmission mode, Retransmission Mode or Flow Control Mode.

7.7 OPERATION COLLISION RESOLUTION
When two devices request the same operation by sending a request packet
with the same code, a collision can occur. Some operations require collision
resolution. The description of each operation in Section 4 will indicate if
collision resolution is required. Both devices must know which request will be
rejected. The following algorithm shall be used by both devices to determine
which request to reject.

       1.     Set i=0 (representing the least significant octet of the BD_ADDR).
       2.     Compare the octet[i] of the BD_ADDR of both devices. If the octets
              are not equal go to step 4.
       3.     Increment i by 1. Go to step 2.
       4.     The device with the larger BD_ADDR octet shall reject the request
              from the other device.

7.8 AGGREGATING BEST EFFORT EXTENDED FLOW
SPECIFICATIONS
There shall only be one pair of Extended Flow Specifications per logical link
and only one “Best Effort” logical link per physical link. Thus, all Best Effort
L2CAP channels running over the same physical link are aggregated into one
logical link and the Best Effort Flow Specifications describing the traffic for each
channel running over an AMP-U logical link shall be aggregated to a single pair
of Extended Flow Specifications (one for each direction). The purpose of a
Best Effort Flow Specification is to specify the maximum data rate of the data
that can be delivered to the Controller from the Host and/or taken from the
Controller by the Host in order to help the Controller to not over allocate
bandwidth on the physical link. Since L2CAP performs admission control for
BR/EDR and BR/EDR/LE Controllers it is not necessary to aggregate Best
Effort channels for BR/EDR and BR/EDR/LE Controllers.

The two Extended Flow Specification parameters that are affected by Best
Effort are Maximum SDU size and SDU Inter-arrival Time. A data rate is
determined by dividing the Maximum SDU size by the SDU Inter-arrival time
giving a value in bytes per second. The important value is the data rate and not
the Maximum SDU size or SDU Inter-arrival time.

Best Effort aggregation shall occur when performing any of the three
operations:


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• Configuring a new Best Effort channel
• Disconnecting a Best Effort channel
• Moving a Best Effort a channel

During L2CAP channel configuration, the Extended Flow Specifications are
exchanged and each L2CAP entity is allowed to modify the other's flow
specification (lower the values). If a Best Effort logical link already exists
(meaning there is at least one other Best Effort channel) then the new flow
specifications shall be aggregated with the existing Best Effort aggregate
before sending it to the Controller. When a Best Effort channel is moved or
disconnected a new aggregate shall be created. If the new aggregate is
different from the previous aggregate it shall be given to the Controller. The
following guidelines are provided for aggregating Best Effort Flow specification
parameters. Keep in mind that the data rate is the important value so the
description shows how to aggregate data rates.

       1.     The value 0xFFFF is used for Maximum SDU Size and the value
              0xFFFFFFFF is used for SDU Inter-arrival time to indicate that the
              actual values are unknown and maximum bandwidth is assumed.
              Therefore, if these values exist in an Extended Flow Specification
              then the aggregate becomes 0xFFFF and 0xFFFFFFFF for
              Maximum SDU Size and SDU Inter-arrival time respectively.
       2.     In general it is assumed that data rates provided by the local
              applications can be added together. For example if one application
              indicates a data rate of 100 bytes/s and a second application
              indicates a data rate of 100 bytes/s then the aggregate data rate from
              the two applications is 200 bytes/s. This is assumed for both
              directions.
       3.     The adjustments (sent in a Configuration Response) made by the
              remote device to an outgoing flow specification are assumed to be
              made on behalf of the application. These adjustments reduce the
              data rate of the outgoing flow specification. The reduced data rates
              can be added to data rates from other applications.
       4.     The final data rates shall be converted back into Maximum SDU Size
              and SDU Inter-arrival time to be passed to the Controller. Controllers
              may have a maximum PDU size or a “preferred” PDU size. When
              possible the “preferred” size should be used for the Maximum SDU
              size and the SDU Inter-arrival time should be set to a value that
              achieves the desired data rate. If the data rate cannot be achieved by
              using the “preferred” PDU size then an integer multiple of the
              preferred PDU size should be used.




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7.9 PRIORITIZING DATA OVER HCI
In order for guaranteed channels to meet their guarantees, L2CAP should
prioritize traffic over the HCI transport in devices that support HCI. Packets for
Guaranteed channels should receive higher priority than packets for Best Effort
channels.

7.10 SUPPORTING EXTENDED FLOW SPECIFICATION FOR
     BR/EDR AND BR/EDR/LE CONTROLLERS
If both the local L2CAP entity and the remote L2CAP entity indicate support for
Extended Flow Specification for BR/EDR in the Extended Feature Mask then
all channels created between the two devices shall send an Extended Flow
Specification option and shall use the Lockstep configuration procedure. In
addition all channels shall use Enhanced Retransmission mode or Streaming
mode. If one or both L2CAP entities do not indicate support for Extended Flow
Specification for BR/EDR in the Extended Feature Mask then the Lockstep
configuration procedure shall not be used and the Extended Flow Specification
option shall not be sent for channels created over the ACL-U logical link
between the two devices.

The L2CAP entity shall perform admission control for Guaranteed channels
during the Lockstep configuration procedure (see Section 7.1.3). Admission
control is performed to determine if the requested Guaranteed QoS can be
achieved by the BR/EDR or BR/EDR/LE Controller over an ACL-U logical link
without compromising existing Guaranteed channels running on the Controller.
If HCI is used then the L2CAP entity shall also verify that the QoS can be
achieved over the HCI transport.

In performing admission control the L2CAP layer shall reject a Guaranteed
QoS request that causes at least one of the following rules to be violated.

       1.     The total guaranteed data rate in both directions shall not exceed two
              times the highest Symmetric Max of an ACL-U logical link over the
              BR/EDR or BR/EDR/LE Controller (see [Vol 2] Part B, Section 6.7).
              For example for a Basic Rate Controller the highest Symmetric Max
              Rate is 433.9kb/s (DH5) from [Vol 2] Part B, Table 6.9. Two times that
              value is 867.8kb/s.
       2.     The total guaranteed data rate in any one direction shall not exceed
              the highest Asymmetric Max Rate of an ACL-U logical link (see [Vol
              2] Part B, Section 6.7). For example the highest Asymmetric Max
              Rate for Basic Rate is 723.2kb/s (DH5 packet) from [Vol 2] Part B,
              Table 6.9.

The data rate of a Guaranteed channel is calculated by dividing the Maximum
SDU size in an Extended Flow Specification by the SDU Inter-arrival time. Total
guaranteed data rate in both directions is calculated by taking the sum of the
data rates in both directions for all existing Guaranteed channels plus the data


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rate in both directions of the requested Guaranteed channel (i.e. data rates
from the both outgoing and incoming Extended Flow Specifications). Total
guaranteed data rate for one direction is calculated by taking the sum of the
data rates in one direction for all existing Guaranteed channels plus the data
rate in the same direction of the requested Guaranteed channel.

An L2CAP entity should use additional information for admission control that
may result in a Guaranteed QoS request being rejected even if none of the
rules are violated. This allows the L2CAP entity to account for things such as
CQDDR, SCO/eSCO channels, LMP traffic, page scanning, etc.

In order to meet the access latency and/or data rate required by a Guaranteed
channel, the L2CAP entity should:
              a) Prioritize traffic over the HCI transport in devices that support HCI.
              b) Give conformant packets for Guaranteed channels higher priority
                 than packets for Best Effort channels. Packets for Best Effort
                 channels should have higher priority than non-conformant packets
                 for Guaranteed channels. (See Section 5.6 for a discussion of
                 non-conformant and conformant traffic).
              c) Utilize the SAR feature to restrict the PDU sizes of Best Effort
                 SDUs so that they do not prevent the Controller from sending the
                 SDUs of the Guaranteed channel within the time periods required
                 by its Extended Flow Specification.

When a channel is reconfigured the Lockstep configuration process is only
used when an Extended Flow Specification option is present in the
Configuration Request packet as described in Section 7.1.3.




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8 PROCEDURES FOR FLOW CONTROL AND
  RETRANSMISSION

When Enhanced Retransmission mode, Streaming mode, Flow Control mode,
or Retransmission mode is used, the procedures defined in this chapter shall
be used, including the numbering of information frames, the handling of SDU
segmentation and reassembly, and the detection and notification of frames with
errors. Retransmission mode and Enhanced Retransmission mode also allow
the sender to resend frames with errors on request from the receiver.

8.1 INFORMATION RETRIEVAL
Before attempting to configure Enhanced Retransmission mode, Streaming
mode, Flow Control mode, or Retransmission mode on a channel, support for
the suggested mode shall be verified by performing an information retrieval for
the “Extended features supported” information type (0x0002). If the information
retrieval is not successful or the “Extended features mask” bit is not set for the
wanted mode, the mode shall not be suggested in a configuration request.

8.2 FUNCTION OF PDU TYPES FOR FLOW CONTROL AND
RETRANSMISSION
Two frame formats are defined for Enhanced Retransmission mode, Streaming
Mode, Flow Control Mode, and Retransmission mode (see Section 3.3). The I-
frame is used to transport user information instead of the B-frame. The S-frame
is used for supervision.

8.2.1 Information frame (I-frame)
I-frames are sequentially numbered frames containing information fields. I-
frames also include some of the functionality of RR frames (see below).

8.2.2 Supervisory Frame (S-frame)
The S-frame is used to control the transmission of I-frames. For
Retransmission mode and Flow Control mode, the S-frame has two formats:
Receiver Ready (RR) and Reject (REJ). A description of how S-frames are
used in Enhanced Retransmission mode is given in Section 8.6.1. S-frames
are not used in Streaming mode. The following description of S-frames only
applies to Retransmission mode and Flow Control mode.

8.2.2.1 Receiver Ready (RR)

The receiver ready (RR) S-frame is used to:
1. Acknowledge I-frames numbered up to and including ReqSeq - 1.
2. Enable or disable retransmission of I-frames by updating the receiver with
   the current status of the Retransmission Disable Bit.
The RR frame has no information field.

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8.2.2.2 Reject (REJ)

The reject (REJ) S-frame is used to request retransmission of all I-frames
starting with the I-frame with TxSeq equal to ReqSeq specified in the REJ. The
value of ReqSeq in the REJ frame acknowledges I-frames numbered up to and
including ReqSeq - 1. I-frames that have not been transmitted, shall be
transmitted following the retransmitted I-frames.

When a REJ is transmitted, it triggers a REJ Exception condition. A second
REJ frame shall not be transmitted until the REJ Exception condition is cleared.
The receipt of an I-frame with a TxSeq equal to the ReqSeq of the REJ frame
clears the REJ Exception. The REJ Exception condition only applies to traffic in
one direction. Note: This means that only valid I-frames can be rejected.

8.3 VARIABLES AND SEQUENCE NUMBERS
The sending peer uses the following variables and Sequence numbers:
• TxSeq – the send Sequence number used to sequentially number each new
  I-frame transmitted.
• NextTxSeq – the Sequence number to be used in the next new I-frame
  transmitted.
• ExpectedAckSeq – the Sequence number of the next I-frame expected to be
  acknowledged by the receiving peer.

The receiving peer uses the following variables and Sequence numbers:
• ReqSeq – The Sequence number sent in an acknowledgment frame to
  request transmission of I-frame with TxSeq = ReqSeq and acknowledge
  receipt of I-frames up to and including (ReqSeq-1).
• ExpectedTxSeq – the value of TxSeq expected in the next I-frame.
• BufferSeq – When segmented I-frames are buffered this is used to delay
  acknowledgment of received I-frame so that new I-frame transmissions do
  not cause buffer overflow.

All variables have the range 0 to 63. Arithmetic operations on state variables
(NextTXSeq, ExpectedTxSeq, ExpectedAckSeq, BufferSeq) and sequence
numbers (TxSeq, ReqSeq) contained in this document shall be taken modulo
64.

To perform Modulo 64 operation on negative numbers multiples of 64 shall be
added to the negative number until the result becomes non-negative.




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8.3.1 Sending peer

8.3.1.1 Send sequence number TxSeq

I-frames contain TxSeq, the send sequence number of the I-frame. When an I-
frame is first transmitted, TxSeq is set to the value of the send state variable
NextTXSeq. TxSeq is not changed if the I-frame is retransmitted.

8.3.1.2 Send state variable NextTXSeq

The CID sent in the information frame is the destination CID and identifies the
remote endpoint of the channel. A send state variable NextTxSeq shall be
maintained for each remote endpoint. NextTxSeq is the sequence number of
the next in-sequence I-frame to be transmitted to that remote endpoint. When
the link is created NextTXSeq shall be initialized to 0.

The value of NextTxSeq shall be incremented by 1 after each in-sequence I-
frame transmission, and shall not exceed ExpectedAckSeq by more than the
maximum number of outstanding I-frames (TxWindow). The value of
TxWindow shall be in the range 1 to 32 for Retransmission mode and Flow
Control mode. The value of TxWindow shall be in the range of 1 to 63 for
Enhanced Retransmission mode.

8.3.1.3 Acknowledge state variable ExpectedAckSeq

The CID sent in the information frame is the destination CID and identifies the
remote endpoint of the channel. An acknowledge state variable
ExpectedAckSeq shall be maintained for each remote endpoint.
ExpectedAckSeq is the sequence number of the next in-sequence I-frame that
the remote receiving peer is expected to acknowledge. (ExpectedAckSeq – 1
equals the TxSeq of the last acknowledged I-frame). When the link is created
ExpectedAckSeq shall be initialized to 0.
Note that if the next acknowledgment acknowledges a single I-frame then its
ReqSeq will be expectedAckSeq + 1.

If a valid ReqSeq is received from the peer then ExpectedAckSeq is set to
ReqSeq. A valid ReqSeq value is one that is in the range ExpectedAckSeq ≤
ReqSeq ≤ NextTxSeq.

Note: The comparison with NextTXSeq must be ≤ in order to handle the
situations where there are no outstanding I-frames.

These inequalities shall be interpreted in the following way: ReqSeq is valid, if
and only if (ReqSeq-ExpectedAckSeq) mod 64 ≤ (NextTXSeq-
ExpectedAckSeq) mod 64. Furthermore, from the description of NextTXSeq, it
can be seen that (NextTXSeq-ExpectedAckSeq) mod 64 ≤ TxWindow.




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                          ExpectedAckSeq                    NextTxSeq
                                      TxWindow


                             F1     F2    F3     F4   F5   F6    F7   F8   F9



               Transmitted and                                        Not yet
               acknowledged                                           transmitted
                                         Transmitted but
                                         not yet                Upon transmission:
                                         acknowledged           ReqSeq = ExpectedTxSeq;
                                                                TxSeq = NextTxSeq;
                                                                INC(NextTxSeq);

Figure 8.1: Example of the transmitter side


Figure 8.1 shows TxWindow=5, and three frames awaiting transmission. The
frame with number F7 may be transmitted when the frame with F2 is
acknowledged. When the frame with F7 is transmitted, TxSeq is set to the
value of NextTXSeq. After TxSeq has been set, NextTxSeq is incremented.

The sending peer expects to receive legal ReqSeq values, these are in the
range ExpectedAckSeq up to and including NextTxSeq. Upon receipt of a
ReqSeq value equal to the current NextTxSeq all outstanding I-frames have
been acknowledged by the receiver.

8.3.2 Receiving peer

8.3.2.1 Receive sequence number ReqSeq

All I-frames and S-frames contain ReqSeq, the send Sequence number
(TxSeq) that the receiving peer requests in the next I-frame.

When an I-frame or an S-frame is transmitted, the value of ReqSeq shall be set
to the current value of the receive state variable ExpectedTxSeq or the buffer
state variable BufferSeq. The value of ReqSeq shall indicate that the data link
layer entity transmitting the ReqSeq has correctly received all I-frames
numbered up to and including ReqSeq – 1.

Note: The option to set ReqSeq to BufferSeq instead of ExpectedTxSeq allows
the receiver to impose flow control for buffer management or other purposes. In
this situation, if BufferSeq<>ExpectedTxSeq, the receiver should also set the
retransmission disable bit to 1 to prevent unnecessary retransmissions.




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8.3.2.2 Receive state variable, ExpectedTxSeq

Each channel shall have a receive state variable (ExpectedTxSeq). The
receive state variable is the sequence number (TxSeq) of the next in-sequence
I-frame expected.

The value of the receive state variable shall be the last in-sequence, valid I-
frame received.

8.3.2.3 Buffer state variable BufferSeq

Each channel may have an associated BufferSeq. BufferSeq is used to delay
acknowledgment of frames until they have been pulled by the upper layers,
thus preventing buffer overflow. BufferSeq and ExpectedTxSeq are equal when
there is no extra segmentation performed and frames are pushed to the upper
layer immediately on reception. When buffer space is scarce, for example
when frames reside in the buffer for a period, the receiver may choose to set
ReqSeq to BufferSeq instead of ExpectedTxSeq, incrementing BufferSeq as
buffer space is released. The windowing mechanism will ensure that
transmission is halted when ExpectedTxSeq - BufferSeq is equal to TxWindow.

Note: Owing to the variable size of I-frames, updates of BufferSeq may be
based on changes in available buffer space instead of delivery of I-frame
contents.

I-frames shall have sequence numbers in the range ExpectedTxSeq ≤ TxSeq <
(BufferSeq + TxWindow).

On receipt of an I-frame with TxSeq equal to ExpectedTxSeq, ExpectedTxSeq
shall be incremented by 1 regardless of how many I-frames with TxSeq greater
than ExpectedTxSeq were previously received.


                               BufferSeq
                                       ExpectedTxSeq                     Illegal TxSeq
                                                                         values
                                                 TxWindow

                              F1 F2        F3      F4 F5       F6   F7   F8   F9


           Received and                          Legal TxSeq         Received but not
           pulled by                             values              yet pulled by
           reassembly function                                       reassembly function


Figure 8.2: Example of the receiver side




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Figure 8.2 shows TxWindow=5. F1 is successfully received and pulled by the
upper layer. BufferSeq shows that F2 is the next I-frame to be pulled, and
ExpectedTxSeq points to the next I-frame expected from the peer. An I-frame
with TxSeq equal to 5 has been received thus triggering an SREJ or REJ
exception. The star indicates I-frames received but discarded owing to the
SREJ or REJ exception. They will be resent as part of the error recovery
procedure.

In Figure 8.2 there are several I-frames in a buffer awaiting the SDU
reassembly function to pull them and the TxWindow is full. The receiver would
usually disable retransmission in Retransmission mode or Flow Control mode
by setting the Retransmission Disable Bit to 1 and send an RR back to the
sending side. This tells the transmitting peer that there is no point in performing
retransmissions. Both sides will send S-frames to make sure the peer entity
knows the current value of the Retransmission Disable Bit.

8.4 RETRANSMISSION MODE

8.4.1 Transmitting frames

A new I-frame shall only be transmitted when the TxWindow is not full. No I-
frames shall be transmitted if the last RetransmissionDisableBit (R) received is
set to one.

A previously transmitted I-frame may be retransmitted as a result of an error
recovery procedure, even if the TxWindow is full. When an I-frame is
retransmitted it shall always be sent with the same TxSeq value used in its
initial transmission.

The state of the RetransmissionDisableBit (R) is stored and used along with
the state of the RetransmissionTimer to decide the actions when transmitting I-
frames. The RetransmissionTimer is running whenever I-frames have been
sent but not acknowledged.

8.4.1.1 Last received R was set to zero

If the last R received was set to zero, then I-frames may be transmitted. If there
are any I-frames which have been sent and not acknowledged then they shall
be retransmitted when the RetransmissionTimer elapses. If the retransmission
timer has not elapsed then a retransmission shall not be sent and only new I-
frames may be sent.
               a) If unacknowledged I-frames have been sent and the
                  RetransmissionTimer has elapsed then an unacknowledged I-




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                  frame shall be retransmitted. The RetransmissionTimer shall be
                  restarted.
               b) If unacknowledged I-frames have been sent, the Retransmission
                  timer has not elapsed then a new I-frame shall be sent if one is
                  waiting and no timer action shall be taken.
               c) If no unacknowledged I-frames have been sent, and a new I-frame
                  is waiting, then the new I-frame shall be sent, the
                  RetransmissionTimer shall be started and if the Monitor Timer is
                  running, it shall be stopped.
               d) If no unacknowledged I-frames have been sent and no new I-
                  frames are waiting to be transmitted, and the
                  RetransmissionTimer is running, then the retransmission timer
                  shall be stopped and the monitor timer shall be started.

The table below summarizes actions when the RetransmissionTimer is in use
and R=0.

 Unacknowledged
                           Retrans-
 I-frames sent =                                 New I-frames    Transmit             Timer
                           mission Timer
 Retransmission                                  are waiting     Action               Action
                           has elapsed
 Timer is running

                                                                 Retransmit un-       Restart
 True                      True                  True or False   acknowledged         Retransmission
                                                                 I-frame              Timer
                                                                 Transmit new
 True                      False                 True                                 No timer action
                                                                 I-frame
                                                                 No transmit          No Timer
 True                      False                 False
                                                                 action               action

                                                                                      Restart
                                                                 Transmit new
 False                     False                 True                                 Retransmis-
                                                                 I-frame
                                                                                      sion Timer
                                                                                      If MonitorTimer
                                                                 No Transmit          is not running
 False                     False                 False
                                                                 action               then restart
                                                                                      MonitorTimer
Table 8.1: Summary of actions when the RetransmissionTimer is in use and R=0




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If the RetransmissionTimer is not in use, no unacknowledged I-frames have
been sent and no new I-frames are waiting to be transmitted
               a) If the MonitorTimer is running and has not elapsed then no
                  transmit action shall be taken and no timer action shall be taken.
               b) If the MonitorTimer has elapsed then an S-frame shall be sent and
                  the MonitorTimer shall be restarted.

If any I-frames become available for transmission then the MonitorTimer shall
be stopped, the RetransmissionTimer shall be started and the rules for when
the RetransmissionTimer is in use shall be applied.

When an I-frame is sent ReqSeq shall be set to ExpectedTxSeq, TxSeq shall
be set to NextTxSeq and NextTxSeq shall be incremented by one.

8.4.1.2 Last received R was set to one

If the last R received was set to one, then I-frames shall not be transmitted.
The only frames which may be sent are S-frames. An S-frame shall be sent
according to the rules below:
               a) If the MonitorTimer is running and has not elapsed then no
                  transmit action shall be taken and no timer action shall be taken.
               b) If the MonitorTimer has elapsed then an S-frame shall be sent and
                  the MonitorTimer shall be restarted.

8.4.2 Receiving I-frames

Upon receipt of a valid I-frame with TxSeq equal to ExpectedTxSeq, the frame
shall be accepted for the SDU reassembly function. ExpectedTxSeq is used by
the reassembly function.

The first valid I-frame received after an REJ was sent, with a TxSeq of the
received I-frame equal to ReqSeq of the REJ, shall clear the REJ Exception
condition.

The ReqSeq shall be processed according to Section 8.4.6.

If a valid I-frame with TxSeq ≠ ExpectedTxSeq is received then an exception
condition shall be triggered which is handled according to Section 8.4.7.




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8.4.3 I-frames pulled by the SDU reassembly function

When the L2CAP layer has removed one or more I-frames from the buffer,
BufferSeq may be incremented in accordance with the amount of buffer space
released. If BufferSeq is incremented, an acknowledgment shall be sent to the
peer entity.

Note: Since the primary purpose of BufferSeq is to prevent buffer overflow, an
implementation may choose to set BufferSeq in accordance with how many
new incoming I-frames could be stored rather than how many have been
removed.

The acknowledgment may either be an RR or an I-frame. The acknowledgment
shall be sent to the peer L2CAP entity with ReqSeq equal to BufferSeq. When
there are no I-frames buffered for pulling ExpectedTxSeq is equal to BufferSeq.

If the MonitorTimer is active then it shall be restarted to indicate that a signal
has been sent to the peer L2CAP entity.

8.4.4 Sending and receiving acknowledgments

Either the MonitorTimer or the RetransmissionTimer shall be active while in
Retransmission Mode. Both timers shall not be active concurrently.

8.4.4.1 Sending acknowledgments

Whenever an L2CAP entity transmits an I-frame or an S-frame, ReqSeq shall
be set to ExpectedTxSeq or BufferSeq.

8.4.4.2 Receiving acknowledgments

On receipt of a valid S-frame or I-frame, the ReqSeq contained in the frame
shall acknowledge previously transmitted I-frames. ReqSeq acknowledges I-
frames with a TxSeq up to and including ReqSeq – 1.

The following rules shall be applied:
1. If the RetransmissionDisableBit changed value from 0 to 1 (stop retransmis-
   sions) then the receiving entity shall
               a) If the RetransmissionTimer is running then stop it and start the
                  MonitorTimer.
               b) Store the state of the RetransmissionDisableBit received.




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2. If the RetransmissionDisableBit changed value from 1 to 0 (start
   retransmissions) then the receiving entity shall
               a) Store the state of the RetransmissionDisableBit received.
               b) If there are any I-frames that have been sent but not
                  acknowledged, then stop the MonitorTimer and start the
                  RetransmissionTimer.
               c) Any buffered I-frames shall be transmitted according to Section
                  8.4.1.
3. If any unacknowledged I-frames were acknowledged by the ReqSeq
   contained in the frame, and the RetransmissionDisableBit equals 1
   (retransmissions stopped), then the receiving entity shall
               a) Follow the rules in Section 8.4.1.
4. If any unacknowledged I-frames were acknowledged by the ReqSeq
   contained in the frame and the RetransmissionDisableBit equals 0
   (retransmissions started) then the receiving entity shall
               a) If the RetransmissionTimer is running, then stop it.
               b) If any unacknowledged I-frames have been sent then the
                  RetransmissionTimer shall be restarted.
               c) Follow the rules in Section 8.4.1.
               d) If the RetransmissionTimer is not running and the MonitorTimer is
                  not running, then start the MonitorTimer.

On receipt of a valid S-frame or I-frame the ReqSeq contained in the frame
shall acknowledge previously transmitted I-frames. ExpectedAckSeq shall be
set to ReqSeq to indicate that the I-frames with TxSeq up to and including
(ReqSeq - 1) have been acknowledged.

8.4.5 Receiving REJ frames

Upon receipt of a valid REJ frame, where ReqSeq identifies an I-frame not yet
acknowledged, the ReqSeq acknowledges I-frames with TxSeq up to and
including ReqSeq - 1. Therefore the REJ acknowledges all I-frames before the
I-frame it is rejecting.

ExpectedAckSeq shall be set equal to ReqSeq to mark I-frames up to and
including ReqSeq - 1 as received.

NextTXSeq shall be set to ReqSeq to cause transmissions of I-frames to
resume from the point where TxSeq equals ReqSeq.

If ReqSeq equals ExpectedAckSeq then the REJ frame shall be ignored.




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8.4.6 Waiting acknowledgments

A counter, TransmitCounter, counts the number of times an L2CAP PDU has
been transmitted. This shall be set to 1 after the first transmission. If the
RetransmissionTimer expires the following actions shall be taken:
1. If the TransmitCounter is less than MaxTransmit then:
               a) Increment the TransmitCounter
               b) Retransmit the last unacknowledged I-frame, according to Section
                  8.4.1.
2. If the TransmitCounter is equal to MaxTransmit this channel to the peer
   entity shall be assumed lost. The channel shall move to the CLOSED state
   and appropriate action shall be taken to report this to the upper layers.

8.4.7 Exception conditions

Exception conditions may occur as the result of physical layer errors or L2CAP
procedural errors. The error recovery procedures which are available following
the detection of an exception condition at the L2CAP layer in Retransmission
Mode are defined in this section.

8.4.7.1 TxSeq Sequence error

A TxSeq sequence error exception condition occurs in the receiver when a
valid I-frame is received which contains a TxSeq value which is not equal to the
expected value, thus TxSeq is not equal to ExpectedTxSeq.

The TxSeq sequence error may be due to three different causes:
• Duplicated I-frame
  The duplicated I-frame is identified by a TxSeq in the range BufferSeq to
  ExpectedTxSeq – 1 (BufferSeq ≤TxSeq<ExpectedTxSeq). The ReqSeq and
  RetransmissionDisableBit shall be processed according to Section 8.4.4.
  The Information field shall be discarded since it has already been received.
• Out-of-sequence I-frame
  The out-of-sequence I-frame is identified by a TxSeq within the legal range.
  The ReqSeq and RetransmissionDisableBit shall be processed according to
  Section 8.4.4.
  A REJ exception is triggered, and an REJ frame with ReqSeq equal to
  ExpectedTxSeq shall be sent to initiate recovery. The received I-frame shall
  be discarded.
• Invalid TxSeq
  An invalid TxSeq value is a value that does not meet either of the above
  conditions. An I-frame with an invalid TxSeq is likely to have errors in the
  control field and shall be silently discarded.



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8.4.7.2 ReqSeq Sequence error

An ReqSeq sequence error exception condition occurs in the transmitter when
a valid S-frame or I-frame is received which contains an invalid ReqSeq value.
An invalid ReqSeq is one that is not in the range ExpectedAckSeq ≤ ReqSeq ≤
NextTxSeq.

The L2CAP entity shall close the channel as a consequence of an ReqSeq
Sequence error.

8.4.7.3 Timer recovery error

If an L2CAP entity fails to receive an acknowledgment for the last I-frame sent,
then it will not detect an out-of-sequence exception condition and therefore will
not transmit an REJ frame.

The L2CAP entity that transmitted an unacknowledged I-frame shall, on the
expiry of the RetransmissionTimer, take appropriate recovery action as defined
in Section 8.4.6.

8.4.7.4 Invalid frame

Any frame received which is invalid (as defined in Section 3.3.6) shall be
discarded, and no action shall be taken as a result of that frame.




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8.5 FLOW CONTROL MODE
When a link is configured to work in flow control mode, the flow control
operation is similar to the procedures in retransmission mode, but all
operations dealing with CRC errors in received packets are not used.
Therefore
• REJ frames shall not be used in Flow Control Mode.
• The RetransmissionDisableBit shall always be set to zero in the transmitter,
  and shall be ignored in the receiver.

The behavior of flow control mode is specified in this section.

Assuming that the TxWindow size is equal to the buffer space available in the
receiver (counted in number of I-frames), in flow control mode the number of
unacknowledged frames in the transmitter window is always less than or equal
to the number of frames for which space is available in the receiver. Note that a
missing frame still occupies a place in the window.


               Missing                                  ExpectedTxSeq
               (lost or         BufferSeq
               corrupted)                                               Illegal TxSeq
               I-frame                                                  values
                                                 TxWindow


                               1      2     3       4    5     6   7    8    9


          Received and                           Legal TxSeq       Received but not
          pulled by                              values            yet pulled by
          reassembly function                                      reassembly function

Figure 8.3: Overview of the receiver side when operating in flow control mode


8.5.1 Transmitting I-frames

A new I-frame shall only be transmitted when the TxWindow is not full.

Upon transmission of the I-frame the following actions shall be performed:
• If no unacknowledged I-frames have been sent then the MonitorTimer shall
  be stopped and the RetransmissionTimer shall be started.
• If any I-frames have been sent and not acknowledged then the
  RetransmissionTimer remains active and no timer operation is performed.

The control field parameter ReqSeq shall be set to ExpectedTxSeq, TxSeq
shall be set to NextTXSeq and NextTXSeq shall be incremented by one.



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8.5.2 Receiving I-frames

Upon receipt of a valid I-frame with TxSeq equal to ExpectedTxSeq, the frame
shall be made available to the reassembly function. ExpectedTxSeq shall be
incremented by one. An acknowledgment shall not be sent until the SDU
reassembly function has pulled the I-frame.

Upon receipt of a valid I-frame with an out-of-sequence TxSeq (see Section
8.5.6) all frames with a sequence number less than TxSeq shall be assumed
lost and marked as missing. The missing I-frames are in the range from
ExpectedTxSeq (the frame that the device was expecting to receive) up to
TxSeq-1, (the frame that the device actually received). ExpectedTxSeq shall
be set to TxSeq +1. The received I-frame shall be made available for pulling by
the reassembly function. The acknowledgment shall not occur until the SDU
reassembly function has pulled the I-frame. The ReqSeq shall be processed
according to Section 8.5.4.

8.5.3 I-frames pulled by the SDU reassembly function

When the L2CAP layer has removed one or more I-frames from the buffer,
BufferSeq may be incremented in accordance with the amount of buffer space
released. If BufferSeq is incremented, an acknowledgment shall be sent to the
peer entity. If the MonitorTimer is active then it shall be restarted to indicate that
a signal has been sent to the peer L2CAP entity.

Note: Since the primary purpose of BufferSeq is to prevent buffer overflow, an
implementation may choose to set BufferSeq in accordance with how many
new incoming I-frames could be stored rather than how many have been
removed.

The acknowledgment may be an RR or an I-frame. The acknowledgment shall
be sent to the peer L2CAP entity with ReqSeq equal to BufferSeq. When there
is no I-frame buffered for pulling, ExpectedTxSeq is equal to BufferSeq.

8.5.4 Sending and receiving acknowledgments

One of the timers MonitorTimer or RetransmissionTimer shall always be active
while in Flow Control mode. Both timers shall never be active concurrently.

8.5.4.1 Sending acknowledgments

Whenever a data link layer entity transmits an I-frame or a S-frame, ReqSeq
shall be set to ExpectedTxSeq or BufferSeq.




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8.5.4.2 Receiving acknowledgments

On receipt of a valid S-frame or I-frame the ReqSeq contained in the frame
shall be used to acknowledge previously transmitted I-frames. ReqSeq
acknowledges I-frames with a TxSeq up to and including ReqSeq – 1.
1. If any outstanding I-frames were acknowledged then
               a) Stop the RetransmissionTimer
               b) If there are still unacknowledged I-frames then restart the
                  RetransmissionTimer, otherwise start the MonitorTimer.
               c) Transmit any I-frames awaiting transmission according to Section
                  8.5.1.

ExpectedAckSeq shall be set to ReqSeq to indicate that the I-frames with
TxSeq up to and including ExpectedAckSeq have been acknowledged.

8.5.5 Waiting acknowledgments

If the RetransmissionTimer expires the following actions shall be taken:
The I-frame supervised by the RetransmissionTimer shall be considered lost,
and ExpectedAckSeq shall be incremented by one.
1. If I-frames are waiting to be sent
               a) the RetransmissionTimer is restarted.
               b) I-frames awaiting transmission are transmitted according to
                  Section 8.5.1.
2. If there are no I-frames waiting to be sent
               a) If there are still unacknowledged I-frames the RetransmissionTimer
                  is restarted, otherwise the MonitorTimer is started.




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8.5.6 Exception conditions

Exception conditions may occur as the result of physical layer errors or L2CAP
procedural errors. The error recovery procedures which are available following
the detection of an exception condition at the L2CAP layer in flow control only
mode are defined in this section.

8.5.6.1 TxSeq Sequence error

A TxSeq sequence error exception condition occurs in the receiver when a
valid I-frame is received which contains a TxSeq value which is not equal to the
expected value, thus TxSeq is not equal to ExpectedTxSeq.

The TxSeq sequence error may be due to three different causes:
• Duplicated I-frame
  The duplicated I-frame is identified by a TxSeq in the range BufferSeq to
  ExpectedTxSeq – 1. The ReqSeq shall be processed according to Section
  8.5.4. The Information field shall be discarded since it has already been
  received.
• Out-of-sequence I-frame
  The out-of-sequence I-frame is identified by a TxSeq within the legal range
  ExpectedTxSeq < TxSeq < (BufferSeq + TxWindow). The ReqSeq shall be
  processed according to Section 8.5.4.
  The missing I-frame(s) are considered lost and ExpectedTXSeq is set equal
  to TxSeq+1 as specified in Section 8.5.2. The missing I-frame(s) are
  reported as lost to the SDU reassembly function.
• Invalid TxSeq
  An invalid TxSeq value is a value that does not meet either of the above
  conditions and TxSeq is not equal to ExpectedTxSeq. An I-frame with an
  invalid TxSeq is likely to have errors in the control field and shall be silently
  discarded.

8.5.6.2 ReqSeq Sequence error

An ReqSeq sequence error exception condition occurs in the transmitter when
a valid S-frame or I-frame is received which contains an invalid ReqSeq value.
An invalid ReqSeq is one that is not in the range ExpectedAckSeq ≤ ReqSeq ≤
NextTXSeq.

The L2CAP entity shall close the channel as a consequence of an ReqSeq
Sequence error.

An L2CAP entity that fails to receive an acknowledgment for an I-frame shall,
on the expiry of the RetransmissionTimer, take appropriate recovery action as
defined in Section 8.5.5.



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8.5.6.3 Invalid frame

Any frame received that is invalid (as defined in Section 3.3.6) shall be
discarded, and no action shall be taken as a result of that frame, unless the
receiving L2CAP entity is configured to deliver erroneous frames to the layer
above L2CAP. In that case, the data contained in invalid frames may also be
added to the receive buffer and made available for pulling from the SDU
reassembly function.

8.6 ENHANCED RETRANSMISSION MODE
Enhanced Retransmission mode operates as an HDLC balanced data link
operational mode. Either L2CAP entity may send frames at any time without
receiving explicit permission from the other L2CAP entity. A transmission may
contain single or multiple frames and shall be used for I-frame transfer and/or
to indicate status change.

8.6.1 Function Of PDU Types

Enhanced Retransmission mode uses I-frames to transfer upper layer
information and S-frames for supervision. There are four S-frames defined:
Receiver Ready (RR), Reject (REJ), Receiver Not Ready (RNR), and Selective
Reject (SREJ). All frames formats in Enhanced Retransmission mode shall use
the Enhanced Control Field.

8.6.1.1 Receiver Ready (RR)

The RR frame shall be used by an L2CAP entity to
1. Indicate that it is ready to receive I-frames
2. Acknowledge previously received I-frames numbered up to ReqSeq - 1
   inclusive.

An RR with P-bit set to 1 (P=1) is used to indicate the clearance of any busy
condition that was initiated by an earlier transmission of an RNR frame by the
same L2CAP entity.

8.6.1.2 Reject (REJ)

The REJ frame shall be used by an L2CAP entity to request retransmission of
I-frames starting with the frame numbered ReqSeq. I-frames numbered
ReqSeq - 1 and below shall be considered acknowledged. Additional I-frames
awaiting initial transmission may be transmitted following the retransmitted I-
frame(s) up to the TxWindow size of the receiver.

At most only one REJ exception from a given L2CAP entity to another L2CAP
entity shall be established at any given time. A REJ frame shall not be
transmitted until an earlier REJ exception condition or all earlier SREJ


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exception conditions have been cleared. The REJ exception condition shall be
cleared upon the receipt of an I-frame with TxSeq equal to the ReqSeq of the
REJ frame.

Two L2CAP entities may be in REJ exception conditions with each other at the
same time.

8.6.1.3 Receiver Not Ready (RNR)

The RNR frame shall be used by an L2CAP entity to indicate a busy condition
(i.e. temporary inability to receive I-frames). I-frames numbered up to
ReqSeq - 1 inclusive shall be considered acknowledged. The I-frame
numbered ReqSeq and any subsequent I-frames sent shall not be considered
acknowledged. The acceptance status of these I-frames shall be indicated in
subsequent transfers.

8.6.1.4 Selective Reject (SREJ)

The SREJ frame shall be used by an L2CAP entity to request retransmission of
one I-frame. The ReqSeq shall indicate the TxSeq of the earliest I-frame to be
retransmitted (not yet reported by a SREJ). If the P-bit is set to 1 then I-frames
numbered up to ReqSeq -1 inclusive shall be considered acknowledged. If the
P-bit is set to 0 then the ReqSeq field in the SREJ shall not indicate
acknowledgment of I-frames.

Each SREJ exception condition shall be cleared upon receipt of an I-frame with
TxSeq equal to the ReqSeq sent in the SREJ frame.

An L2CAP entity may transmit one or more SREJ frames with the P=0 before
one or more earlier SREJ exception conditions initiated with SREJ(P=0) have
been cleared. An L2CAP entity shall not transmit more than one SREJ with
P=1 before all earlier SREJ exception conditions have been cleared. A SREJ
frame shall not be transmitted if an earlier REJ exception condition has not
been cleared. Likewise a REJ frame shall not be transmitted if one or more
SREJ exception conditions have not been cleared. Only one I-frame shall be
retransmitted in response to receiving a SREJ frame with P=0. Additional I-
frames awaiting initial transmission may be transmitted following the
retransmission of the specific I-frame requested by SREJ with P=1.

8.6.1.5 Functions of the Poll (P) and Final (F) bits.

P-bit set to 1 shall be used to solicit a response frame with the F-bit set to 1
from the remote L2CAP entity at the earliest respond opportunity. At most only
one frame with a P=1 shall be outstanding in a given direction at a given time.
Before an L2CAP entity issues another frame with P=1, it shall have received a
response frame from the remote L2CAP entity with F=1. If no valid frame is
received with F=1 within Monitor time-out period, the frame with P=1 may be
retransmitted.


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The Final bit shall be used to indicate the frame as a response to a soliciting
poll (S-frame with P=1). The frame with F=1 shall not be retransmitted. The
Monitor-timeout is not used to monitor lost frames with F=1. Additional frames
with F=0 may be transmitted following the frame with F=1.

S-frames shall not be transmitted with both the F-bit and the P-bit set to 1 at the
same time.

8.6.2 Rules For Timers

Timers are started upon transmission of a packet. Timers should be started
when the corresponding packet leaves the Controller (transmitted or flushed). If
the timer is not started when the packet leaves the Controller then it shall be
started when the packet is delivered to the Controller. The specific rules for BR/
EDR Controllers, BR/EDR/LE Controllers, and AMP Controllers are described
in the following sections.

8.6.2.1 Timer Rules for ACL-U Logical Links

If a flush timeout does not exist on the ACL-U logical link for the channel using
Enhanced Retransmission mode then the value for the Retransmission time-
out shall be at least two seconds and the value for the Monitor time-out shall be
at least twelve seconds.

If a flush timeout exists on the link for Enhanced Retransmission mode then the
value for the Retransmission time-out shall be three times the value of flush
timeout, subject to a minimum of 1 second and maximum of 2 seconds.

If a flush timeout exists on the link for Enhanced Retransmission mode and
both sides of the link are configured to the same flush timeout value then the
monitor time-out shall be set to a value at least as large as the Retransmission
time-out otherwise the value of the Monitor time-out shall be six times the value
of flush timeout, subject to a minimum of the retransmission timeout value and
a maximum of 12 seconds.

If an L2CAP entity knows that a specific packet has been flushed instead of
transmitted then it may execute proper error recovery procedures immediately.

When configuring a channel over an ACL-U logical link the values sent in a
Configuration Request packet for Retransmission timeout and Monitor timeout
shall be 0.

Note: If the link has a flush timeout and the Non-Flushable Packet Boundary
Flag feature is used to mark the Enhanced Retransmission mode packets as
non-flushable then the link does not have a flush timeout with regards to
Enhanced Retransmission mode.




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8.6.2.2 Timer Rules for AMP Controllers

AMP Controllers can be classified by their behavior as follows:

       1.      Attempt to send a packet until LSTO disconnects the physical link.
       2.      Attempt to send a packet until a Controller based retry counter is
               exceeded whereupon the packet is flushed.

Class 1 AMP Controllers are reliable. They will not lose packets though packets
can be lost during a move operation. Class 2 AMP Controllers are not reliable
and can lose packets. The Best Effort Flush Timeout field in the AMP Info (see
[Vol 2] Part E, Section 7.5.8) can be used to determine the behavior of the
Controller (i.e. class 1 or class 2). If the Best Effort Flush Timeout field in the
AMP info is 0xFFFFFFFF then the class is 1 otherwise the class is 2. The Best
Effort Flush Timeout field indicates the flush timeout that may be set on the
Best Effort logical link.

For class 1 AMP Controllers the Retransmission and Monitor timers are not
really needed. Packets should not be lost. Packets lost during the move
operation will be detected by L2CAP and retransmitted as part of the move
operation. Therefore, the Retransmission timeout and Monitor timeout shall be
at least the value of the Link supervision timeout set on the link or can be
turned off altogether. The values sent in a Configuration Request packet for
Retransmission timeout and Monitor timeout shall be 0.

When configuring a channel the AMP-U logical link of a over a class 2 AMP
Controller non-0 values for Retransmission timeout and Monitor timeout shall
be sent in a Configuration Request packet. The non-0 values specify the
“processing” time of received packets. Processing time includes the time it
takes for a received packet to be passed from the device's Controller to the
L2CAP layer plus the time to be processed by the L2CAP layer and a response
submitted back to the Controller. The local device's processing time is used by
the remote device in calculating the Retransmission timeout and Monitor
timeout it will use. The timeout values that will actually be used by a device
shall be sent in a Configuration Response packet.

As with BR/EDR and BR/EDR/LE Controllers, the method used for setting
timer values for class 2 AMP Controllers depends on when timers are started.
Timers are either started when the packet leaves the Controller or when the
packet is delivered to the Controller.

The timeout values used for Class 2 AMP Controllers where timers are started
when the packet leaves the Controller shall be at least the values received in
the Configuration Request packet from the remote device (remote device's
“processing” time).




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For Class 2 AMP Controller where timers are started when the packet is
delivered to the Controller the following rules shall be used:

       1.      The local L2CAP Entity shall set a flush timeout on the Best Effort
               logical link equal to the value provided by the local Controller in the
               Best Effort Flush Timeout field of AMP info structure.
       2.      The value of the Retransmission timeout and Monitor Timeout shall
               be the value of the flush timeout multiplied by three plus the
               corresponding processing time received in the Configuration
               Request packet from the remote device.

If an L2CAP entity knows that a specific packet has been flushed instead of
transmitted then it may execute proper error recovery procedures immediately.

8.6.2.3 Timer Values used After a Move Operation

When a channel is moved from one Controller to another Controller the timeout
values used after the move operation are based on the capabilities of the new
Controller. The timeout values shall be set according to the following table:

 Controller                            Timeout Values

 BR/EDR and BR/EDR/LE                  Retransmission timeout – at least 2 seconds
                                       Monitor timeout – at least 12 seconds
 Class 1 AMP Controller                Retransmission timeout – at least LSTO (or turned off)
                                       Monitor timeout – at least LSTO (or turned off)
 Class 2 AMP Controller                Retransmission timeout – at least 500ms
 where timers are started              Monitor timeout – at least 500ms
 when packets leave the Con-
 troller                               Note: 500ms is the default value for the “processing” time of
                                       received packets.
 Class 2 AMP Controller                Retransmission timeout – at least (local Controller "Best
 where timers are started              Effort” Flush Timeout * 3) + 500ms
 when packets are delivered            Monitor timeout – at least (local Controller “Best Effort”
 to the Controller                     Flush Timeout * 3) + 500ms
                                       Note: 500ms is the default value for the “processing” time of
                                       received packets

Table 8.2: AMP Controller timeout values

When moving to a Class 2 AMP Controller, the Retransmission Timeout and
Monitor timeout should be reconfigured after the move operation to get the
actual value for the “processing” time of received packets.

8.6.3 General Rules for the State Machine

Enhanced Retransmission mode is specified using a pair of state machines, a
Transmitter state machine and a Receiver state machine. The following rules
apply to the state machine pair.

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1. The state machine pair is informative but described using normative text in
   order to clearly specify the behavior of the protocol. Designers and imple-
   menters may choose any design / implementation technique they wish, but it
   shall behave in a manner identical to the external behavior of the specified
   state machines.
2. There is a single state machine pair for each active L2CAP channel
   configured to use Enhanced Retransmission mode.
3. Variables are used to limit the number of states by maintaining the state of
   particular conditions. The variables are defined in Section 8.6.5.2.
4. For some combinations of Event and Condition, the state tables provide
   alternative groups of actions. These alternatives are separated by horizontal
   lines in the Actions and Next State columns. The alternatives are mutually
   exclusive; selection of an alternate is done based upon (i) local status, (ii) a
   layer management action, or (iii) an implementation decision. There is no
   relationship between the order of the alternatives between events, nor is it
   implied that the same alternative must be selected every time the event
   occurs.
5. The state tables use timers. Any Start Timer action restarts the specified
   timer from its initial value, even if the timer is already running. When the
   timer reaches 0 the appropriate timer expired event is set and the timer
   stops. The Stop Timer action stops a timer if it is running.
6. Events not recognized in a particular state are assumed to remain pending
   until any masking flag is modified or a transition is made to a state where
   they can be recognized.
7. Some state transitions and actions are triggered by internal events (e.g.
   requests from the upper layer). It is implementation specific how these
   internal events are realized. They are used for clarity in specifying the state
   machine. All events including Internal events are described in Section
   8.6.5.3.
8. The state machines specify the exact frames to be sent by transmitters but
   are relaxed on what receivers are allowed to accept as valid. For example
   there are cases where the transmitter is required to send a frame with P=1.
   The correct response is a frame with F=1 but in some cases the receiver is
   allowed to accept a frame with F=0 in addition to F=1.




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8.6.4 State Diagram

The state diagram shows the states and the main transitions. Not all events are
shown on the state diagram.



                       SREJ_
                       SENT
                                        Recv I-frame with
                                       Unexpected TxSeq                                                 Monitor Timer expires
                                       Action: send SREJ    Recv I-frames, S-frames              Action: send RR(P=1) or RNR(P=1)
                                          (see note 1)      Action: send RR, RNR, I-
                                                                     frames
                     Recv I-frame(s) with
                      requested TxSeq
    Recv I-frame with
   Unexpected TxSeq
    Action:send REJ

                                               RECV                                                        WAIT_F
                                                                               Retrans timer expires
                        Recv I-frame with                                      Or Local Busy clears
                        expected TxSeq                                         Action: send RR(P=1)
                                                                               or RNR(P=1)

         REJ_
                               Recv I-frame with
         SENT                 Unexpected TxSeq                                                         Recv Frame(F=1)
                               Action: send REJ
                                 (see note 1)

                                                                               XMIT
 Note 1: Implementations may chose
  between sending an REJ or SREJ
   when receiving an I-frame with
                                                                                               Transmitter State Machine
          Unexpected TxSeq


Figure 8.4: Receiver state machine


8.6.5 States Tables

8.6.5.1 State Machines

Enhanced Retransmission mode is described as a pair of state machine. The
Receiver state machine handles all received frames while the Transmitter State
machine handles all asynchronous events including requests from the upper
layer and the expiration of timers.

The Receiver state machine “calls” the Transmitter state machine using the
PassToTx action. This shows up in the Transmitter state machine as an event.
When the Transmitter state machine is called it runs to completion before
returning to the Receiver state machine. Running to completion means that all
actions are executed and the Transmitter state is changed to the new state.

The Receiver and Transmitter state machine share variables and timers.




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8.6.5.2 States

The following states have been defined to specify the protocol; the actual
number of states and naming in a given implementation is outside the scope of
this specification:

RECV—This is the main state of the Receiver state machine.

REJ_SENT—The L2CAP entity has sent a REJ frame to cause the remote
L2CAP entity to resend I-frame(s). The L2CAP entity is waiting for the I-frame
with a TxSeq that matches the ReqSeq sent in the REJ. Whether to send a
REJ versus a SREJ is implementation dependent.

SREJ_SENT—The L2CAP entity has sent one or more SREJ frames to cause
the remote L2CAP entity to resend missing I-frame(s). The local L2CAP entity
is waiting for all requested I-frames to be received. If additional missing I-
frames are detected while in SREJ_SENT then additional SREJ frames or a
REJ frame can be sent to request those I-frames. Whether to send a SREJ
versus a REJ is implementation dependent.

XMIT—This is the main state of the Transmitter state machine.

WAIT_F—Local busy has been cleared or the Retransmission timer has
expired and an S-frame with P=1 has been sent. The local L2CAP entity is
waiting for a frame with F=1. New I-frames cannot be sent while in the WAIT_F
state to prevent the situation where retransmission of I-frames could result in
the channel being disconnected.

8.6.5.3 Variables and Timers

Variables are used to limit the number of states and help clarify the state chart
tables. Variables can be set to values, evaluated in conditions and compared in
conditional statements. They are also used in the action descriptions. Below is
a list of the operators, connectives and statements that can be used with
variables.

 Operator,
 connective or statement           Description

 :=                                Assignment operator. Used to set a variable to a value
 =                                 Relational operator "equal"

 >                                 Relational operator "greater than"
 <                                 Relational operator "less than"
 ≥                                 Relational operator "greater than or equal"

 ≤                                 Relational operator "less than or equal"
 +                                 Arithmetic operator "plus"
Table 8.3: Operators, connectives and statements used with variables

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 Operator,
 connective or statement           Description

 mod                               Modulo operator - returns the remainder of division of one
                                   number by another.
 and                               logical connective "and." It returns TRUE if both operands are
                                   TRUE otherwise it returns FALSE.
 or                                logical connective "or." It returns TRUE if either of its operands
                                   are TRUE otherwise it returns FALSE.

 if (expression) then {            Conditional Statement. If expression is TRUE then the state-
     statement                     ment is executed otherwise the statement is not executed. The
 }                                 statement is composed of one or more actions. All the actions
                                   in the statement are indented under the if … then clause and
                                   contained within braces “{ }”.
 if (expression) then {            Conditional Statement. If expression is TRUE then statement1
      statement1                   is executed otherwise statement2 is executed. A statement is
                                   composed of one or more actions. All the actions in the state-
 }                                 ment1 are indented under the if … then clause and contained
 else {                            within braces “{ }”. All the actions of statement2 are indented
      statement2                   under the else clause and contained within braces “{ }”.

 }

Table 8.3: Operators, connectives and statements used with variables (Continued)

Enhanced Retransmission mode uses the following variables and sequence
numbers described in Section 8.3:
• TxSeq
• NextTxSeq
• ExpectedAckSeq
• ReqSeq
• ExpectedTxSeq
• BufferSeq

In addition to the variables above the following variables and timers are used:

RemoteBusy—when set to TRUE RemoteBusy indicates that the local L2CAP
entity has received an RNR from the remote L2CAP entity and considers the
remote L2CAP entity as busy. When the remote device is busy it will likely
discard I-frames sent to it. The RemoteBusy flag is set to FALSE when the
local L2CAP Entity receives an RR, REJ or SREJ. When set to FALSE the local
L2CAP entity considers the remote L2CAP entity able to accept I-frames.
When the channel is created RemoteBusy shall be set to FALSE.

LocalBusy—when set to TRUE, LocalBusy indicates the local L2CAP entity is
busy and will discard received I-frames. When set to FALSE the local L2CAP
entity is not busy and is able to receive I-frames. When the channel is created
LocalBusy shall be set to FALSE.

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UnackedFrames—holds the number of unacknowledged I-frames. When the
channel is created UnackedFrames shall be set to 0.

UnackedList—holds the unacknowledged I-frames so they can be
retransmitted if necessary. I-frames in the list are accessed via their TxSeq
number. For example UnackedList[5] accesses the I-frame with TxSeq 5.

PendingFrames—holds the number of pending I-frames. I-frames passed to
L2CAP from the upper layer may be unable to be sent immediately because
the remote L2CAP entity's TxWindow is full, is in a busy condition or the local
L2CAP is in the incorrect state. When I-frames cannot be sent they are stored
in a queue until conditions allow them to be sent. When the channel is created
PendingFrames shall be set to 0.

SrejList—is a list of TxSeq values for I-frames that are missing and need to be
retransmitted using SREJ. A SREJ has already been sent for each TxSeq on
the list. When SrejList is empty it equals 0 (i.e. SrejList = 0). If SrejList is not
empty it is greater than 0 (i.e. SrejList > 0).

RetryCount—holds the number of times an S-frame operation is retried. If an
operation is tried MaxTransmit times without success the channel shall be
closed.

RetryIframes[]—holds a retry counter for each I-frame that is sent within the
receiving device's TxWindow. Each time an I-frame is retransmitted the
corresponding counter within RetryIframes is incremented. When an attempt to
retransmit the I-frame is made and the counter is equal to MaxTransmit then
the channel shall be closed.

RNRsent—when set to TRUE it means that the local L2CAP entity has sent an
RNR frame. It is used to determine if the L2CAP entity needs to send an RR to
the remote L2CAP entity to clear the busy condition. When the channel is
created RNRsent shall be set to FALSE.

RejActioned—is used to prohibit a frame with F=1 from causing I-frames
already retransmitted in response to a REJ from being retransmitted again.
RejActioned is set to TRUE if a received REJ is actioned when a frame sent
with P=1 is unanswered. When the channel is created RejActioned shall be set
to FALSE.

SrejActioned—is used in conjunction with SrejSaveReqSeq to prohibit a
frame with F=1 from causing an I-frame already retransmitted in response to a
SREJ from being retransmitted again. SrejActioned is set to TRUE if a received
SREJ is actioned when a frame sent with P=1 is unanswered. When the
channel is created SrejActioned shall be set to FALSE.

SrejSaveReqSeq—is used to save the ReqSeq of a SREJ frame that causes
SrejActioned to be set to TRUE.



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SendRej—when set to TRUE it indicates that the local L2CAP entity has
determined that a REJ should be sent in the SREJ_SENT state while
processing received I-frames. The sending of new SREJ frames is stopped.
When the channel is created SendRej shall be set to FALSE.

BufferSeqSrej—is used while in the SREJ_SENT state to keep track of the
value to which BufferSeq will be set upon exit of the SREJ_SENT state.

FramesSent—is used to keep track of the number I-frames sent by the Send-
Data and Retransmit-I-frames actions.

MaxTxWin—contains the maximum window size plus 1. It is used in
TxWindow modulo operations as the divisor and in state table conditions. This
value shall be set to 16384 (0x4000) if the Extended Window Size option is
used; otherwise it shall be set to 64.

RetransTimer—The Retransmission Timer is used to detect lost I-frames.
When the channel is created the RetransTimer shall be off.

MonitorTimer—The Monitor Timer is used to detect lost S-frames. When the
channel is created the MonitorTimer shall be off.

8.6.5.4 Events

Data-Request—The upper layer has requested that an SDU be sent. The SDU
may need to be broken into multiple I-frames by L2CAP based on the MPS of
the remote device and/or the maximum PDU allowed by the HCI or QoS
requirements of the system.

Local-Busy-Detected—A local busy condition occurs when the local L2CAP
entity is temporarily unable to receive, or unable to continue to receive, I-
frames due to internal constraints. For example, the upper layer has not pulled
received I-frames and the local L2CAP entity needs to send an
acknowledgment to the remote L2CAP entity. The method for handling the
detection of local busy is implementation specific. An implementation may wait
to send an RNR to see if the busy condition will clear before the remote L2CAP
entity's Retransmission timer expires. If the busy condition clears then frames
can be acknowledged with an RR or I-frame. If the busy condition does not
clear before the remote L2CAP entity's Retransmission timer expires then an
RNR shall be sent in response to the RR or RNR poll sent by the remote
L2CAP entity. Optionally an implementation may send an RNR as soon as the
local busy condition is detected.

Local-Busy-Clear—The local busy condition clears when L2CAP has buffer
space to receive more I-frames (i.e. SDU Reassembly function and/or upper
layer has pulled I-frames) and if necessary the upper layer has cleared the
busy condition.




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Recv ReqSeqAndFbit—This is an event generated by the Receiver state
machine. It contains the ReqSeq and F-bit value of a received frame. The
value of the F-bit can be checked in a condition.

Recv Fbit—This is an event generated by the Receiver state machine. It
contains the F-bit value of a received frame. The value of the F-bit can be
checked in a condition.

RetransTimer-Expires—The Retransmission Timer has counted to down to 0
and stopped.

MonitorTimer-Expires—The Monitor Timer has counted down to 0 and
stopped.

Recv I-frame—Receive an I-frame with any value for the F-bit.

Recv RR, REJ, RNR, SREJ (P=x) or (F=x)—Receive a specific S-frame (RR,
REJ, etc.) with a specific value for the P and/or F bit. The F-bit and the P-bit
shall not both be set to 1 in a transmitted S-frame so received S-frames with
both P and F set to 1 should be ignored. If the P and/or F bit value is not
specified in the event then either value is accepted.

Recv RRorRNR—Receive an RR or RNR with any value for the P-bit and F-
bit.

Recv REJorSREJ—Receive an REJ or SREJ with any value for the P-bit and
F-bit.

Recv frame—This is catch-all for all frames that are not explicitly declared as
events in the state table.

8.6.5.5 Conditions

RemoteBusy = TRUE or FALSE—TRUE indicates the remote L2CAP entity is
in a busy condition and FALSE indicates the remote L2CAP entity is not busy.

LocalBusy = TRUE or FALSE—TRUE indicates the local L2CAP entity is in a
busy condition and FALSE indicates the local L2CAP entity is not busy.

RemWindow-Not-Full—The number of unacknowledged I-frames sent by
L2CAP has not yet reached the TxWindow size of the remote L2CAP entity.

RemWindow-Full—The number of unacknowledged I-frames sent by the
L2CAP entity has reached the TxWindow size of the remote L2CAP entity. No
more I-frames shall be sent until one or more I-frames have been
acknowledged.

RNRsent = TRUE or FALSE—TRUE indicates an RNR has been sent while a
local busy condition exists. It is set to FALSE when the local busy condition
clears.

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F = 0 or 1—the F-bit of a received frame is checked. The F-bit of the received
frame is available as part of the Recv ReqSeqAndFbit and Recv Fbit events.

RetryIframes[i] < or ≥ MaxTransmit—Compare the appropriate counter in
RetryIframes after processing the ReqSeq in the receive frame to determine if
it has reached MaxTransmit or not.

RetryCount < or ≥ MaxTransmit—Compare RetryCount to determine if it has
reached MaxTransmit or not.

With-Expected-TxSeq—The TxSeq of a received I-frame is equal to
ExpectedTxSeq.

With-Valid-ReqSeq—The ReqSeq of the received frame is in the range
ExpectedAckSeq ≤ ReqSeq < NextTxSeq.

With-Valid-ReqSeq-Retrans—The ReqSeq of the received frame is in the
range ExpectedAckSeq ≤ ReqSeq < NextTxSeq.

With-Valid-F-bit —The F-bit of a received frame is valid if it is 0 or if it is 1 and
a frame sent with P=1 by the local L2CAP entity is unanswered (i.e. the local
L2CAP entity send a frame with P=1 and has not yet received a frame with F=1
until receiving this one). If the Transmitter state machine is in the WAIT_F state
then a frame sent with P=1 is unanswered.

With-unexpected-TxSeq—The TxSeq of the received I-frame is within the
TxWindow of the L2CAP entity receiving the I-frame but has a TxSeq “greater”
than ExpectedTxSeq where “greater” means later in sequence than
ExpectedTxSeq.

With-duplicate-TxSeq—The TxSeq of the received I-frame is within the
TxWindow of the L2CAP entity receiving the I-frame but has a TxSeq “less”
than ExpectedTxSeq where “less” means earlier in the sequence than
ExpectedTxSeq. In other words this is a frame that has already been received.

With-Invalid-TxSeq—The TxSeq of the received I-frame is not within the
TxWindow of the L2CAP entity receiving the frame.

With-Invalid-ReqSeq—The ReqSeq of the received frame is not in the range
ExpectedAckSeq ≤ ReqSeq < NextTxSeq.

With-Invalid-ReqSeq-Retrans—The ReqSeq of the received frame is not in
the range ExpectedAckSeq ≤ ReqSeq < NextTxSeq.

Not-With-Expected-TxSeq—The TxSeq of the received I-frame is within the
TxWindow of the L2CAP entity receiving the frame but is not equal to
ExpectedTxSeq. It is either unexpected or a duplicate.

With-Expected-TxSeq-Srej—The TxSeq of the received I-frame is equal to
the TxSeq at the head of SrejList.


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SendRej = TRUE or FALSE—TRUE indicates that a REJ will be sent after all
frames requested using SREJ have been received.

SrejList = or > 1—Determine if the number of items in SrejList is equal to or
greater than 1.

With-Unexpected-TxSeq-Srej—The TxSeq of the received I-frame is equal to
one of the values stored in SrejList but is not the TxSeq at the head. This
indicates that one or more I-frames requested using SREJ are missing either
because the SREJ was lost or the requested I-frame(s) were lost. Either way
the SREJ frames must be resent to retrieve the missing I-frames.

With-duplicate-TxSeq-Srej—The TxSeq of the received I-frame is equal to a
TxSeq of one of the saved I-frames indicating it is a duplicate.

8.6.5.6 Actions

Send-Data—This action is executed as a result of a Data-Request event. The
number of I-frames sent without being acknowledged shall not exceed the
TxWindow size of the receiving L2CAP entity (UnackedFrames is less than or
equal to the remote L2CAP entity's TxWindow). Any I-frames that cannot be
sent because they would exceed the TxWindow size are queued for later
transmission. For each I-frame the following actions shall be carried out:
   Send I-frame with TxSeq set to NextTxSeq and ReqSeq set
   to BufferSeq.
   UnackedList[NextTxSeq] := I-frame
   UnackedFrames := UnackedFrames + 1
   FramesSent := FramesSent + 1
   RetryIframes[NextTxSeq] := 1
   NextTxSeq := (NextTxSeq + 1) mod MaxTxWin
   Start-RetransTimer

Pend-Data—This action is executed as a result of a Data-Request when it is
not possible to send I-frames because the window is full, the remote L2CAP
entity is in a busy condition or the local L2CAP entity is not in a state where I-
frames can be sent (e.g. WAIT_F). The I-frame(s) are queued for later
transmission.

Process-ReqSeq—the ReqSeq contained in the received frame shall
acknowledge previously transmitted I-frames. ExpectedAckSeq shall be set to
ReqSeq to indicate that the I-frames with TxSeq up to and including
(ReqSeq—1) have been acknowledged. The acknowledged I-frames shall be
removed from UnackedList, the retry counters for each acknowledged frame
shall be set to 0 and the number of acknowledged frames shall be subtracted
from UnackedFrames so that UnackedFrames shall contain the number of the
remaining unacknowledged I-frames. Pending I-frames are now available to be


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transmitted by the Send-Ack action. If UnackedFrames equals 0 then Stop-
RetransTimer.

Send RR, RNR (P=x) or (F=x)—Send the specified S-frame with the specified
value for the P-bit or F-bit. If a value for the P-bit or F-bit is not specified the
value shall be 0. For example Send RR(P=1) means send an RR with the P-bit
set to 1 and the F-bit set to 0. The ReqSeq field shall be set to BufferSeq. If an
RNR is sent, RNRsent shall be set to TRUE.

Send REJ (P =x) or (F=x)—Send a REJ with the specified value for the P-bit
or F-bit. The ReqSeq field shall be set to ExpectedTxSeq. If a value for the P-
bit or F-bit is not specified the value shall be 0. Note that this will acknowledge
previously received I-frames up to ExpectedTxSeq—1 and may allow the
remote L2CAP entity to transmit new I-frames. If the local L2CAP entity is not
in a position to acknowledge the previously received I-frames it may use
SREJ(P=0) or RNR. It may also wait to send the REJ until it is able to
acknowledge the I-frames.

Send RRorRNR (P=x) or (F=1)—Send an RR or RNR with the specified value
for the P-bit or F-bit based on the value of LocalBusy. If a value for the P-bit or
F-bit is not specified the value shall be 0. An RNR shall be sent if LocalBusy
equals TRUE. If LocalBusy equals FALSE then an RR shall be sent.

Send IorRRorRNR(F=1)—Send I-frames, an RR or an RNR with the F-bit set
to 1. The following algorithm shall be used:
                  FramesSent:=0
                  if LocalBusy = TRUE then {
                          Send RNR(F=1)
                  }
                  if RemoteBusy = TRUE and UnackedFrames > 0 then {
                          Start-RetransTimer
                  }
                  RemoteBusy := FALSE
                  Send-Pending-I-frames(see note)
                  if LocalBusy = FALSE and FramesSent = 0 then {
                            Send RR(F=1)
                  }
               Note: The SendIorRRorRNR(F=1) sends frames by invoking other
               actions. During the execution of SendIorRRorRNR multiple actions
               may be invoked. The first action invoked shall send the first or only
               frame with the F-bit set to 1. All other frames sent shall have the F-
               bit set to 0.

Send SREJ—Send one or more SREJ frames with P=0. For each missing I-
frame starting with ExpectedTxSeq up to but not including the TxSeq of the

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received I-frame, an SREJ frame is sent with ReqSeq set to the TxSeq of the
missing frame. The TxSeq is inserted into the tail of SrejList. For example if
ExpectedTxSeq is 3 and the received I-frame has a TxSeq of 5 there are two
missing I-frames. An SREJ with ReqSeq 3 is sent followed by an SREJ with
ReqSeq 4. TxSeq 3 is inserted first into SrejList followed by TxSeq 4. After all
SREJ frames have been sent ExpectedTxSeq shall be set to the TxSeq of the
received I-frame + 1 mod MaxTxWin.

Send SREJ(SrejList)—Send one or more SREJ frames with P=0. An I-frame
was received that matches one of the TxSeq values in the SrejList but does not
match the head of SrejList. This means I-frames requested via SREJ are still
missing. For each TxSeq value starting with the head of SrejList and going
backwards (i.e., from the head towards the tail) through the SrejList up to but
not including the TxSeq of the received frame, an SREJ frame is sent with
ReqSeq set to the TxSeq from SrejList. The TxSeq is removed from SrejList
and reinserted into the tail of SrejList. Finally, remove the TxSeq of the
received frame from the head of the list.

Send SREJ(SrejList-tail)(F=1)—Send a SREJ frame with F=1 and ReqSeq
equal to the TxSeq at the tail of SrejList.

Start-RetransTimer—If the Monitor timer is not running then start the
Retransmission Timer from its initial value (see Retransmission time-out in
Section 5.4). If the Retransmission timer is already running it is restarted from
its initial value. If the Monitor timer is running then the Retransmission timer is
not started.

Start-MonitorTimer—Start the Monitor Timer from its initial value (see Monitor
time-out in Section 5.4). If the timer is already running it is restarted from its
initial value.

PassToTx—Pass the ReqSeq and F-bit value of a received frame to the
Transmitter state machine. This will show up as a Recv ReqSeqAndFbit event
in the Transmitter state machine.

PassToTxFbit—Pass the F-bit value of a received frame to the Transmitter
state machine. This will show up as a Recv Fbit event in the Transmitter state
machine.

Data-Indication—A received I-frame is passed to the SDU reassembly
function. For the purpose of the state machine this operation is completed
immediately so the Send_Ack action should be executed as one of the next
actions. In some cases the SDU reassembly function cannot accept the I-frame
so the I-frame will be stored within the L2CAP Entity consuming a portion of its
TxWindow. When the I-frame is pulled by the SDU reassembly function the
Send_Ack action should be executed. Before the Send_Ack action is executed
BufferSeq is advanced as follows:
               BufferSeq := (BufferSeq + 1) mod MaxTxWin


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Increment-ExpectedTxSeq—ExpectedTxSeq is incremented as follows:
               ExpectedTxSeq := (ExpectedTxSeq + 1) mod MaxTxWin

Stop-RetransTimer—the Retransmission timer is stopped.

Stop-MonitorTimer —the Monitor timer is stopped.

Send-Ack (F=x)—an acknowledgment with the specified value for the F-bit
may be sent. Note that this action may occur in an action block with other
actions that also send frames. If a frame has already been sent then it is not
necessary to send additional frames. If the value for the F-bit is not specified it
shall be set to 0. If the value specified is P then the F-bit shall be set equal to
the value of the P-bit of the received frame being acknowledged. If more than
one frame is sent in the acknowledgment only the first frame shall have an F-bit
set to 1. An acknowledgment is an RR, RNR, or pending I-frame(s) (I-frames
that have not been transmitted yet). If pending I-frames are available and are
allowed to be sent then as many as allowed should be sent as an
acknowledgment. Sending an RR or RNR as an acknowledgment for each
received I-frame is not required. An implementation may wait to send an RR or
RNR until a specific number of I-frames have been received, after a certain
period of time has elapsed or some other algorithm. To keep data flowing it is
recommended that an acknowledgment be sent before the TxWindow is full. It
should also be noted that the maximum size of a remote L2CAP entity's
unacknowledged I-frame list may be smaller than the local L2CAP entity's
TxWindow. Therefore the local L2CAP entity should not expect the remote
L2CAP entity to send enough frames to fill its TxWindow and should
acknowledge I-frames accordingly. The following algorithm shall be used when
sending an acknowledgment.
               if LocalBusy == TRUE then {
                   Send_RNR(F=x)
               }
               else if (RemoteBusy == FALSE) and Pending I-frames
               Exist and RemWindow-Not-Full then {
                   Send-Pending-I-frames (F=x)
               }
               else {
                   Send_RR (F=x)
               }

InitSrej—Initialize the variables used for processing SREJ as follows:
               Clear SrejList - (remove all values)
               SendRej := FALSE
               BufferSeqSrej := BufferSeq

SaveIframeSrej—Save the received I-frame. Missing I-frame(s) will be
retransmitted in response to SREJ frames. Implementations may want to save

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the I-frame in its proper sequence order by leaving room for the missing I-
frames.

StoreOrIgnore—If the local L2CAP entity has room to store the received I-
frame then it may store it otherwise it shall discard it. If the received I-frame is
stored, ExpectedTxSeq is advanced as follows:
               ExpectedTxSeq := (ExpectedTxSeq + 1) mod MaxTxWin

PbitOutstanding—If the Transmitter state machine of the local L2CAP entity is
in the WAIT_F state then return TRUE otherwise return FALSE.

Retransmit-I-frames—All the unacknowledged I-frames starting with the I-
frame with TxSeq equal to the ReqSeq field of the received S-frame (REJ or
RR) is retransmitted. If the P-bit of the received S-frame is 1 then the F-bit of
the first I-frame sent shall be 1. If the P-bit of the received S-frame is 0 then the
F-bit of the first I-frame sent shall be 0. The F-bit of all other unacknowledged I-
frames sent shall be 0. The retry counter in RetryIframes[] for each
retransmitted I-frame is incremented by 1. If a retry counter in RetryIframes[] is
equal to MaxTransmit then the channel shall be closed. FramesSent shall be
incremented by 1 for each frame sent. If the RetransTimer is not already
running then perform the Start-RetransTimer action.

Retransmit-Requested-I-frame—The unacknowledged I-frame with TxSeq
equal to the ReqSeq field of the received S-frame (SREJ) is retransmitted. If
the P-bit of the received S-frame is 1 then the F-bit of the retransmitted I-frame
shall be 1. If the P-bit of the received S-frame is 0 then the F-bit of the
retransmitted I-frame shall be 0. The retry counter in RetryIframes[]
corresponding to the retransmitted I-frame is incremented by 1. If the
RetransTimer is not already running then perform the Start-RetransTimer
action.

Send-Pending-I-frames (F=x)—If PbitOutstanding equals FALSE then send
all pending I-frames that can be sent without exceeding the receiver's
TxWindow using the Send-Data action. If a value for the F-bit is specified then
the F-bit of the first I-frame sent shall be set to the specified value and the F-bit
of all other I-frames sent shall be set to 0. If no value for the F-bit is specified
then all I-frames sent shall have the F-bit set to 0. Pending I-frames are I-
frames that have been given to the L2CAP entity by the upper layer but have
not yet been transmitted. If one or more I-frames are sent and the
RetransTimer is not already running then perform the Start-RetransTimer
action.

Close Channel—Close the L2CAP channel as described in Section 4.6.

Ignore—the event may be silently discarded.

PopSrejList—Remove and discard the TxSeq from the head of SrejList.




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Data-IndicationSrej—If the received I-frame fills a gap in a sequence of saved
I-frames then all the saved I-frames in the sequence are passed to the SDU
reassembly function. For the purpose of the state machine this operation is
completed immediately. For example if the TxSeq of saved I-frames before
receiving an I-frame is 2, 3, 5, 6, 9 and the received I-frame has a TxSeq of 4
then it fills the gap between 3 and 5 so the sequence 2, 3, 4, 5, 6 can be
passed to the SDU reassembly function. When the I-frames are actually
removed from the L2CAP entity receive buffers either by being processed
immediately or when pulled by the SDU reassembly function, BufferSeqSrej is
advanced as follows:

BufferSeqSrej := (BufferSeqSrej + 1) mod MaxTxWin




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8.6.5.7 XMIT State Table

 Event                         Condition                Action                     Next State

 Data-Request                  RemoteBusy = FALSE       Send-Data                  XMIT
                               and
                               RemWindow-Not-Full
 Data-Request                  RemoteBusy = TRUE or     Pend-Data                  XMIT
                               RemWindow-Full
 Local-Busy-Detected                                    LocalBusy := TRUE          XMIT
                                                        LocalBusy := TRUE          XMIT
                                                        Send RNR
 Local-Busy-Clear              RNRsent = TRUE           LocalBusy := FALSE         WAIT_F
                                                        RNRsent := FALSE
                                                        Send RR(P=1)
                                                        RetryCount := 1
                                                        Stop-RetransTimer
                                                        Start-MonitorTimer

 Local-Busy-Clear              RNRsent = FALSE          LocalBusy := FALSE         XMIT
                                                        RNRsent := FALSE
 Recv ReqSeqAndFbit                                     Process-ReqSeq             XMIT

 Recv Fbit                                                                         XMIT
 RetransTimer-Expires                                   Send RRorRNR(P=1)          WAIT_F
                                                        RetryCount := 1
                                                        Start-MonitorTimer

Table 8.4: XMIT state table




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8.6.5.8 WAIT_F State Table

 Event                        Condition           Action                            Next State

 Data-Request                                     Pend-Data                         WAIT_F
 Recv ReqSeqAndFbit           F=1                 Process-ReqSeq                    XMIT
                                                  Stop-MonitorTimer
                                                  If UnackedFrames > 0 then {
                                                      Start-RetransTimer
                                                  }

 Recv ReqSeqAndFbit           F=0                 Process-ReqSeq                    WAIT_F
 Recv Fbit                    F=1                 Stop-MonitorTimer                 XMIT
                                                  If UnackedFrames > 0 then {
                                                      Start-RetransTimer
                                                  }

 Recv Fbit                    F=0                                                   WAIT_F
 MonitorTimer-Expires         RetryCount < Max-   RetryCount := RetryCount+1        WAIT_F
                              Transmit            Send RRorRNR(P=1)
                                                  Start-MonitorTimer
 MonitorTimer-Expires         RetryCount ≥ Max-   Close Channel
                              Transmit
Table 8.5: WAIT_F State Table




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8.6.5.9 RECV State Table

 Event                 Condition                 Action                              Next State

 Recv I-frame          With-Expected-TxSeq       Increment-ExpectedTxSeq             RECV
 (F=0)                 and With-Valid-ReqSeq     PassToTx
                       and With-Valid-F-bit      Data-Indication
                       and LocalBusy = FALSE     Send-Ack(F=0)

 Recv I-frame          With-Expected-TxSeq       Increment-ExpectedTxSeq             RECV
 (F=1)                 and With-Valid-ReqSeq     PassToTx
                       and With-Valid-F-bit      Data-Indication
                       and LocalBusy = FALSE     If RejActioned = FALSE then {
                                                     Retransmit-I-frames
                                                     Send-Pending-I-frames
                                                 } else {
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Ack(F=0)

 Recv I-frame          With-duplicate-TxSeq      PassToTx                            RECV
                       and With-Valid-ReqSeq
                       and With-Valid-F-bit
                       and LocalBusy = FALSE

 Recv I-frame          With-unexpected-TxSeq     PassToTx                            REJ_SENT
                       and With-Valid-ReqSeq     SendREJ
                       and With-Valid-F-bit
                       and LocalBusy = FALSE     PassToTx                            SREJ_SENT
                                                 InitSrej
                                                 SaveIframeSrej
                                                 SendSREJ

 Recv I-frame          With-Expected-TxSeq       PassToTx                            RECV
                       and With-Valid-ReqSeq     StoreOrIgnore
                       and With-Valid-F-bit
                       and LocalBusy = TRUE

 Recv I-frame          With-Valid-ReqSeq         PassToTx                            RECV
                       and Not-With_Expect-
                       ed_TxSeq
                       and With-Valid-F-bit
                       and LocalBusy = TRUE

 Recv RNR (P=0) With-Valid-ReqSeq                RemoteBusy := TRUE                  RECV
                and With-Valid-F-bit             PassToTx
                                                 Stop-RetransTimer

Table 8.6: RECV_State table




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 Event                 Condition                 Action                              Next State

 Recv RNR (P=1) With-Valid-ReqSeq                RemoteBusy := TRUE                  RECV
                and With-Valid-F-bit             PassToTx
                                                 Stop-RetransTimer
                                                 Send RRorRNR (F=1)

 Recv                  With-Valid-ReqSeq         PassToTx                            RECV
 RR(P=0)(F=0)          and With-Valid-F-bit      If RemoteBusy = TRUE and
                                                 UnackedFrames > 0 then {
                                                     Start-RetransTimer
                                                 }
                                                 RemoteBusy := FALSE
                                                 Send-Pending-I-frames

 Recv RR(F=1)          With-Valid-ReqSeq         RemoteBusy := FALSE                 RECV
                       and With-Valid-F-bit      PassToTx
                                                 If RejActioned = FALSE then {
                                                     Retransmit-I-frames
                                                 } else {
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Pending-I-frames
 Recv RR(P=1)          With-Valid-ReqSeq         PassToTx                            RECV
                       and With-Valid-F-bit      Send IorRRorRNR(F=1)
 Recv REJ (F=0)        With-Valid-ReqSeq-        RemoteBusy := FALSE                 RECV
                       Retrans and               PassToTx
                       RetryIframes[i] < Max-
                       Transmit                  Retransmit-I-frames

                       and With-Valid-F-bit      Send-Pending-I-frames
                                                 If PbitOutstanding then {
                                                     RejActioned := TRUE
                                                 }

 Recv REJ (F=1)        With-Valid-ReqSeq-        RemoteBusy := FALSE                 RECV
                       Retrans and               PassToTx
                       RetryIframes[i] < Max-
                       Transmit                  If RejActioned = FALSE then {

                       and With-Valid-F-bit          Retransmit-I-frames
                                                 } else {
                                                     RejActioned :=FALSE
                                                 }
                                                 Send-Pending-I-frames ]
Table 8.6: RECV_State table (Continued)




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 Event                 Condition                 Action                              Next State

 Recv SREJ             With-Valid-ReqSeq-        RemoteBusy := FALSE                 RECV
 (P=0) (F=0)           Retrans and               PassToTxFbit
                       RetryIframes[i] < Max-    Retransmit-Requested-I-frame
                       Transmit
                                                 If PbitOutstanding then {
                       and With-Valid-F-bit
                                                     SrejActioned := TRUE
                                                     SrejSaveReqSeq = ReqSeq
                                                 }

 Recv SREJ             With-Valid-ReqSeq-        RemoteBusy := FALSE                 RECV
 (P=0) (F=1)           Retrans and               PassToTxFbit
                       RetryIframes[i] < Max-    If SrejActioned = TRUE and
                       Transmit                  SrejSaveReqSeq = ReqSeq
                       and With-Valid-F-bit      then {
                                                     SrejActioned := FALSE
                                                 } else {
                                                     Retransmit-Requested-I-
                                                     frame
                                                 }

 Recv SREJ(P=1) With-Valid-ReqSeq-               RemoteBusy := FALSE                 RECV
                Retrans and                      PassToTx
                       RetryIframes[i] < Max-    Retransmit-Requested-I-frame
                       Transmit
                                                 Send-Pending-I-frames
                       and With-Valid-F-bit
                                                 If PbitOutstanding then {
                                                     SrejActioned = TRUE
                                                     SrejSaveReqSeq := ReqSeq
                                                 }

 Recv REJ              With-Valid-ReqSeq-        Close Channel
                       Retrans and
                       RetryIframes[i] ≥ Max-
                       Transmit

 RECV SREJ             With-Valid-ReqSeq-        Close Channel
                       Retrans and
                       RetryIframes[i] >= Max-
                       Transmit

 Recv I-frame          (With-Invalid-TxSeq and Close Channel
                       TxWindow >(MaxTxWin/2)
                       or With-Invalid-ReqSeq

 Recv I-frame          With-Invalid-TxSeq        Close Channel
                       and TxWindow ≤ (MaxTx- Ignore                                 RECV
                       Win/2)

 Recv RRorRNR          With-Invalid-ReqSeq       Close Channel
Table 8.6: RECV_State table (Continued)


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 Event                 Condition                 Action                             Next State

 Recv                  With-Invalid-ReqSeq-      Close Channel
 REJorSREJ             Retrans
 Recv frame                                      Ignore                             RECV
Table 8.6: RECV_State table (Continued)

8.6.5.10 REJ_SENT State Table

 Event                 Condition                 Action                              Next State

 Recv I-frame          With-Expected-TxSeq       Increment-ExpectedTxSeq             RECV
 (F=0)                 and With-Valid-ReqSeq     PassToTx
                       and With-Valid-F-bit      Data-Indication
                                                 Send-Ack (F=0)

 Recv I-frame          With-Expected-TxSeq       Increment-ExpectedTxSeq             RECV
 (F=1)                 and With-Valid-ReqSeq     PassToTx
                       and With-Valid-F-bit
                                                 Data-Indication
                                                 If RejActioned = FALSE then {
                                                     Retransmit I-frames
                                                     Send-Pending-I-frames
                                                  } else {
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Ack (F=0)
 Recv I-frame          With-Unexpected-TxSeq     PassToTx                            REJ_SENT
                       and With-Valid-ReqSeq
                       and With-Valid-F-bit

 Recv RR               With-Valid-ReqSeq         RemoteBusy := FALSE                 REJ_SENT
 (F=1)                 and With-Valid-F-bit      PassToTx
                                                 If RejActioned = FALSE then {
                                                     Retransmit-I-frames
                                                 } else {
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Pending-I-frames

Table 8.7: REJ_SENT State table




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 Event                 Condition                 Action                              Next State

 Recv RR               With-Valid-ReqSeq         PassToTx                            REJ_SENT
 (P=0)(F=0)            and With-Valid-F-bit      If RemoteBusy = TRUE and
                                                 UnackedFrames > 0 then {
                                                     Start-RetransTimer
                                                 }
                                                 RemoteBusy := FALSE
                                                 Send-Ack (F=0)
 Recv RR (P=1)         With-Valid-ReqSeq         PassToTx                            REJ_SENT
                       and With-Valid-F-bit      If RemoteBusy = TRUE and
                                                 UnackedFrames > 0 then {
                                                     Start-RetransTimer
                                                 }
                                                 RemoteBusy := FALSE
                                                 Send RR (F=1)

 Recv RNR (P=1)        With-Valid-ReqSeq         RemoteBusy := TRUE                  REJ_SENT
                       and With-Valid-F-bit      PassToTx
                                                 Send RR (F=1)
 Recv RNR (P=0)        With-Valid-ReqSeq         RemoteBusy := TRUE                  REJ_SENT
                       and With-Valid-F-bit      PassToTx
                                                 Send RR (F=0)
 Recv REJ (F=0)        With-Valid-ReqSeq -       RemoteBusy := FALSE                 REJ_SENT
                       Retrans and               PassToTx
                       RetryIframes[i] < Max-    Retransmit-I-frames
                       Transmit
                                                 Send-Pending-I-frames
                       and With-Valid-F-bit
                                                 If PbitOutstanding then {
                                                     RejActioned := TRUE
                                                 }

 Recv REJ (F=1)        With-Valid-ReqSeq -       RemoteBusy := FALSE                 REJ_SENT
                       Retrans and               PassToTx
                       RetryIframes[i] < Max-    If RejActioned = FALSE then {
                       Transmit
                                                     Retransmit-I-frames
                       and With-Valid-F-bit
                                                 } else {
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Pending-I-frames
Table 8.7: REJ_SENT State table (Continued)




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 Event                 Condition                 Action                              Next State

 Recv SREJ             With-Valid-ReqSeq-        RemoteBusy := FALSE                 REJ_SENT
 (P=0) (F=0)           Retrans and               PassToTxFbit
                       RetryIframes[i] < Max-    Retransmit-Requested-I-frame
                       Transmit
                                                 If PbitOutstanding then {
                       and With-Valid-F-bit
                                                     SrejActioned := TRUE
                                                     SrejSaveReqSeq := ReqSeq
                                                 }

 Recv SREJ             With-Valid-ReqSeq-        RemoteBusy := FALSE                 REJ_SENT
 (P=0) (F=1)           Retrans and               PassToTxFbit
                       RetryIframes[i] < Max-    If SrejActioned = TRUE and
                       Transmit
                                                 SrejSaveReqSeq = ReqSeq
                       and With-Valid-F-bit      then {
                                                     SrejActioned := FALSE
                                                 } else {
                                                     Retransmit-Requested-I-
                                                     frame
                                                 }

 Recv SREJ             With-Valid-ReqSeq-        RemoteBusy := FALSE                 REJ_SENT
 (P=1)                 Retrans and               PassToTx
                       RetryIframes[i] < Max-    Retransmit-Requested-I-
                       Transmit                  frames
                       and With-Valid-F-bit      Send-Pending-I-frames
                                                 If PbitOutstanding then {
                                                     SrejActioned := TRUE
                                                     SrejSaveReqSeq := ReqSeq
                                                 }

 Recv REJ              With-Valid-ReqSeq-        Close Channel
                       Retrans and
                       RetryIframes[i] ≥ Max-
                       Transmit
 Recv SREJ             With-Valid-ReqSeq-        Close Channel
 (P=0)                 Retrans and
                       RetryIframes[i] ≥ Max-
                       Transmit
 RECV SREJ             With-Valid-ReqSeq-        Close Channel
 (P=1)                 Retrans and
                       RetryIframes[i] ≥ Max-
                       Transmit
Table 8.7: REJ_SENT State table (Continued)




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 Event                 Condition                 Action                   Next State

 Recv I-frame          (With-Invalid-TxSeq       Close Channel
                       and TxWindow > (MaxTx-
                       Win/2))
                       or With-Invalid-ReqSeq

 Recv RRorRNR          With-Invalid-ReqSeq       Close Channel
 RecvREJorSREJ With-Invalid-ReqSeq-              Close Channel
               Retrans
 Recv I-frame          With-Invalid-TxSeq        Close Channel
                       and TxWindow ≤ (MaxTx-    Ignore                   REJ_SENT
                       Win/2)
                       and With-Valid-ReqSeq

 Recv frame                                      Ignore                   REJ_SENT

Table 8.7: REJ_SENT State table (Continued)




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8.6.5.11 SREJ_SENT State Table

 Event                Condition                  Action                              Next State

 Recv I-frame         With-Expected-TxSeq-       SaveIframeSrej                      RECV
                      Srej                       PopSrejList
                      and With-Valid-ReqSeq      PassToTx
                      and With-Valid-F-bit       Data-IndicatioSrej
                      and SendRej = FALSE        BufferSeq := BufferSeqSrej
                      and SrejList = 1           Send-Ack (F=0)

 Recv I-frame         With-Expected-TxSeq-       SaveIframeSrej                      REJ_SENT
                      Srej                       PopSrejList
                      and With-Valid-ReqSeq      PassToTx
                      and With-Valid-F-bit       Data-IndicationSrej
                      and SendRej = TRUE         BufferSeq := BufferSeqSrej
                      and SrejList = 1           Send REJ

 Recv I-frame         With-Expected-TxSeq-       SaveIframeSrej                      SREJ_SENT
                      Srej                       PopSrejList
                      and With-Valid-ReqSeq      PassToTx
                      and With-Valid-F-bit       Data-IndicationSrej
                      and SrejList > 1

 Recv I-frame         With-Expected-TxSeq        SaveIframeSrej                      SREJ_SENT
                      and With-Valid-ReqSeq      Increment-ExpectedTxSeq
                      and With-Valid-F-bit       PassToTx
 Recv I-frame         With-Unexpected-           SaveIframeSrej                      SREJ_SENT
                      TxSeq                      PassToTx
                      and With-Valid-ReqSeq      Send SREJ
                      and With-Valid-F-bit
                                                 PassToTx                            SREJ_SENT
                      and SendRej = FALSE
                                                 SendRej := TRUE
 Recv I-frame         With-Unexpected-           PassToTx                            SREJ_SENT
                      TxSeq
                      and With-Valid-ReqSeq
                      and With-Valid-F-bit
                      and SendRej = TRUE

 Recv I-frame         With-Unexpected-           SaveIframeSrej                      SREJ_SENT
                      TxSeq-Srej                 PassToTx
                      and With-Valid-ReqSeq      Send SREJ(SrejList)
                      and With-Valid-F-bit

Table 8.8: SREJ_SENT State Table




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 Event                Condition                  Action                             Next State

 Recv I-frame         With-duplicate-TxSeq-      PassToTx                           SREJ_SENT
                      Srej
                      and With-Valid-ReqSeq
                      and With-Valid-F-bit

 Recv RR(F=1)         With-Valid-ReqSeq          RemoteBusy := FALSE                SREJ_SENT
                      and With-Valid-F-bit       PassToTx
                                                 If RejActioned = FALSE then {
                                                     Retransmit-I-frames
                                                 } else {
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Pending-I-frames

 Recv RR(P=1)         With-Valid-ReqSeq          PassToTx                           SREJ_SENT
                      and With-Valid-F-bit       If RemoteBusy = TRUE and
                                                 UnackedFrames > 0 then {
                                                     Start-RetransTimer
                                                 }
                                                 RemoteBusy := FALSE
                                                 Send SREJ(SrejList-tail)(F=1)
 Recv                 With-Valid-ReqSeq          PassToTx                           SREJ_SENT
 RR(P=0)(F=0)         and With-Valid-F-bit       If RemoteBusy = TRUE and
                                                 UnackedFrames > 0 then {
                                                     Start-RetransTimer
                                                 }
                                                 RemoteBusy := FALSE
                                                 Send-Ack(F=0)
 Recv                 With-Valid-ReqSeq          RemoteBusy := TRUE                 SREJ_SENT
 RNR(P=1)             and With-Valid-F-bit       PassToTx
                                                 Send SREJ(SrejList-tail)(F=1)

 Recv                 With-Valid-ReqSeq          RemoteBusy := TRUE                 SREJ_SENT
 RNR(P=0)             and With-Valid-F-bit       PassToTx
                                                 Send RR(F=0)
 Recv REJ             With-Valid-ReqSeq-         RemoteBusy := FALSE                SREJ_SENT
 (F=0)                Retrans                    PassToTx
                       and                       Retransmit-I-frames
                      RetryIframes[i] < Max-     Send-Pending-I-frames
                      Transmit
                                                 If PbitOutstanding then {
                      and With-Valid-F-bit
                                                     RejActioned := TRUE
                                                 }

Table 8.8: SREJ_SENT State Table (Continued)

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 Event                Condition                  Action                               Next State

 Recv REJ             With-Valid-ReqSeq-         RemoteBusy := FALSE                  SREJ_SENT
 (F=1)                Retrans                    PassToTx
                       and                       If RejActioned = FALSE then {
                      RetryIframes[i] < Max-         Retransmit-I-frames
                      Transmit
                                                 } else {
                      and With-Valid-F-bit
                                                     RejActioned := FALSE
                                                 }
                                                 Send-Pending-I-frames

 Recv                 With-Valid-ReqSeq-         RemoteBusy := FALSE                  SREJ_SENT
 SREJ(P=0)            Retrans                    PassToTxFbit
 (F=0)                and RetryIframes[i] <      Retransmit-Requested-I-frame
                      MaxTransmit
                                                 If PbitOutstanding then {
                      and With-Valid-F-bit
                                                     SrejActioned := TRUE
                                                     SrejSaveReqSeq = ReqSeq
                                                 }

 Recv                 With-Valid-ReqSeq-         RemoteBusy := FALSE                  SREJ_SENT
 SREJ(P=0)            Retrans                    PassToTxFbit
 (F=1)                and RetryIframes[i] <      If SrejActioned = TRUE and
                      MaxTransmit
                                                 SrejSaveReqSeq = ReqSeq
                      and With-Valid-F-bit       then {
                                                     SrejActioned := FALSE
                                                 } else {
                                                     Retransmit-Requested-I-
                                                     frame
                                                 }

 Recv                 With-Valid-ReqSeq-         RemoteBusy := FALSE                  SREJ_SENT
 SREJ(P=1)            Retrans                    PassToTx
                      and RetryIframes[i] <      Retransmit-Requested-I-frame
                      MaxTransmit
                                                 Send-Pending-I-frames
                      and With-Valid-F-bit
                                                 If PbitOutstanding then {
                                                     SrejActioned := TRUE
                                                     SrejSaveReqSeq = ReqSeq
                                                 }

 Recv REJ             With-Valid-ReqSeq-         Close Channel
                      Retrans
                      and RetryIframes[i] ≥
                      MaxTransmit
Table 8.8: SREJ_SENT State Table (Continued)




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 Event                Condition                  Action                 Next State

 Recv                 With-Valid-ReqSeqRe-       Close Channel
 SREJ(P=0)            trans
                       and
                      RetryIframes[i] ≥ Max-
                      Transmit
 Recv                 With-Valid-ReqSeqRe-       Close Channel
 SREJ(P=1)            trans
                       and
                      RetryIframes[i] ≥ Max-
                      Transmit
 Recv I-frame         (With-Invalid-TxSeq        Close Channel
                      and TxWindow > (Max-
                      TxWin/2)
                      or With-Invalid-ReqSeq
 Recv RRor-           With-Invalid-ReqSeq        Close Channel
 RNR

 Recv                 With-Invalid-ReqSeq-       Close Channel
 REJorSREJ            Retrans
 Recv I-frame         With-Invalid-TxSeq         Close Channel
                      and TxWindow ≤ (Max-       Ignore                 SREJ_SENT
                      TxWin/2)
 Recv frame           -                          Ignore                 SREJ_SENT
Table 8.8: SREJ_SENT State Table (Continued)




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8.7 STREAMING MODE
When a link is configured to work in Streaming Mode, the frame format for
outgoing data is the same as for Enhanced Retransmission mode but frames
are not acknowledged. Therefore
• RR, REJ, RNR and SREJ frames shall not be used in Streaming Mode.
• The F-bit shall always be set to zero in the transmitter, and shall be ignored
  in the receiver.
• the MonitorTimer and RetransmissionTimer shall not be used in Streaming
  mode.

A channel configured to work in Streaming mode shall be configured with a
finite value for the Flush Timeout on the transmitter.

8.7.1 Transmitting I-frames

When transmitting a new I-frame the control field parameter ReqSeq shall be
set to 0, TxSeq shall be set to NextTXSeq and NextTXSeq shall be
incremented by one.

8.7.2 Receiving I-frames

Upon receipt of a valid I-frame with TxSeq equal to ExpectedTxSeq, the frame
shall be made available to the reassembly function. ExpectedTxSeq shall be
incremented by one.

Upon receipt of a valid I-frame with an out-of-sequence TxSeq (see Section
8.7.3.1) all frames with a sequence number less than TxSeq shall be assumed
lost and marked as missing. The missing I-frames are in the range from
ExpectedTxSeq (the frame that the device was expecting to receive) up to and
including TxSeq - 1. ExpectedTxSeq shall be set to TxSeq +1. The received I-
frame shall be made available for pulling by the reassembly function. The
ReqSeq shall be ignored.

Note: It is possible for a complete window size of I-frames to be missing and
thus, no missing I-frames are detected. For example, when a window size of 63
is used this situation occurs when 63 I-frames in a row are missing. If the ability
to not detect missing I-frames will cause problems for an application, it is
recommended that the Extended Window Size option be used.

If there is no buffer space for the received I-frame an existing I-frame (i.e. the
oldest) shall be discarded (flushed) freeing up buffer space for the new I-frame.
The discarded I-frame shall be marked as missing.




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8.7.3 Exception Conditions

Exception conditions may occur as the result of physical layer errors or L2CAP
procedural errors. The error recovery procedures which are available following
the detection of an exception condition at the L2CAP layer in Streaming mode
are defined in this section.

8.7.3.1 TxSeq Sequence error

A TxSeq sequence error exception condition occurs in the receiver when a
valid I-frame is received which contains a TxSeq value which is not equal to the
expected value, thus TxSeq is not equal to ExpectedTxSeq.

The out-of-sequence I-frame is identified by a TxSeq that is greater than
ExpectedTxSeq (TxSeq > ExpectedTXSeq). The ReqSeq shall be ignored.
The missing I-frame(s) are considered lost and ExpectedTXSeq is set equal to
TxSeq+1 as specified in Section 8.7.2. The missing I-frame(s) are reported as
lost to the SDU reassembly function.




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9 PROCEDURE FOR AMP CHANNEL CREATION AND
  HANDLING

When an AMP is used, the procedures defined in this chapter shall be used.
Enhanced Retransmission mode is used on all reliable channels to ensure a
reliable move channel operation and to ensure that user traffic with an infinite
flush timeout is reliable even for AMPs that do not support infinite flush timeout.
Streaming mode is used on all channels configured with a finite flush timeout.

9.1 CREATE CHANNEL
Create Channel Request is used to create a new L2CAP channel over a
Controller. The channel will have the quality of service specified by a pair of
Extended Flow Specifications exchanged during channel configuration.
Channels shall only be created over the BR/EDR Controller if both L2CAP
entities support Extended Flow Specification for BR/EDR. After configuration
each device will have an outgoing (transmit traffic) flow specification and an
incoming (received traffic) flow specification. Note: Where Extended Flow
Specification for BR/EDR is not supported by one or both L2CAP entities, an
L2CAP channel can be established with Connection Request.

All Best Effort channels created over the same AMP Physical link are
aggregated over a single AMP Logical link, so if a Best Effort channel is
requested over an AMP Physical link where a Best Effort logical link already
exists then the Best Effort Extended Flow Specifications are aggregated into
one pair of flow specifications and the flow specification of the AMP Logical link
is modified using the HCI Flow Spec Modify command (in devices that support
HCI). Section 7.8 describes how Best Effort Flow specifications are
aggregated. A logical link is created for each Guaranteed channel and one for
the first Best Effort channel of the AMP.

All channels created over the same BR/EDR physical link are aggregated over
a single logical link. Aggregation of Best Effort Extended Flow Specifications is
not necessary for channels created over ACL-U logical links so the term
“modify the logical link” in the algorithm descriptions results in “no action” when
the logical link is ACL-U. The L2CAP layer should perform admission control
for Guaranteed channels created on ACL-U logical links (see Section 7.10 for a
description of L2CAP admission control). The term “create a logical link” in the
algorithm description refers to L2CAP performing admission control when the
logical link is ACL-U.




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Basic Algorithm:

       1.     Extended Flow specifications and other configuration parameters
              shall be exchanged via the Lockstep Configuration procedure.
       2.     If the service type of the Extended Flow Specifications are Best Effort
              (including the case where one is Best Effort and the other is “No
              Traffic”) then the Best Effort Algorithm shall be used otherwise the
              Guaranteed Algorithm shall be used. (See Section 5.6 for rules on
              setting the service type of Extended Flow Specifications).

Best Effort Algorithm:

       1.     If one or more Best Effort channels already exist for the Controller
              then Goto step 3
       2.     Tell the Controller to create a logical link passing the Extended Flow
              Specifications. Goto step 5
       3.     Aggregate the Extended Flow Specifications with all the other Best
              Effort Extended Flow specifications running on the same physical link
              as described in Section 7.8.
       4.     Tell the Controller to modify the logical link passing the aggregated
              Extended Flow Specifications.
       5.     If the Controller accepts the create/modify request and returns
              success then complete the L2CAP Configuration with result =
              success otherwise complete the L2CAP configuration with result =
              “Failure - flow spec rejected”

Guaranteed Algorithm

       1.     Tell the Controller to create a logical link passing the Extended Flow
              Specifications.
       2.     If the Controller accepts the create request and returns success,
              complete the L2CAP Configuration with result = success; otherwise,
              complete the L2CAP configuration with result = “Failure - flow spec
              rejected.”

If the Controller is a BR/EDR or BR/EDR/LE Controller and the Extended Flow
Specification type is Guaranteed then L2CAP should perform admission
control by determining if the requested QoS can be achieved by the Controller
without compromising existing Guaranteed channels running on the Controller.

An example of the creation of the first Best Effort channel or a guaranteed
channel is shown in Figure 9.1. An example of creation of a subsequent Best
Effort channel is shown in Figure 9.2.




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                                      $03                                   $03
                     +RVW$                                                           +RVW%
                                     3$/$                                 3$/%

 L2CA_CreateChannel
      Request
                                               Create Channel Request

                                                                                           L2CA_CreateChannel
                                                                                               Indication
                                                                                             L2CA_CreateChannel
                                              Create Channel Response                            Response

    L2CA_CreateChannel
         Confirm

                                                   Config Request
                                             w/Extended Flow Spec option

 May happen in                                     Config Request
 different orders.
                                             W/Extended Flow Spec option
 After Last Config
 Response has been
 sent in each direction,
 both sides have all                              Config Response
 information to                              w/Extended Flow Spec option
 configure QoS.                                    Result = pending
                                                  Config Response
                                             W/Extended Flow Spec option
                                                  Result = pending



                                          /RJLFDO/LQN&UHDWLRQ

                                                  Config Response
                                             W/Extended Flow Spec option
                                                  Result = success
                                                  Config Response
                                             w/Extended Flow Spec option
                                                   Result = success




Figure 9.1: Creation of First Best Effort L2CAP channel or a Guaranteed L2CAP channel




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                                      $03                                   $03
                       +RVW$                                                         +RVW%
                                     3$/$                                 3$/%

 L2CA_CreateChannel
      Request
                                               Create Channel Request

                                                                                           L2CA_CreateChannel
                                                                                               Indication
                                                                                             L2CA_CreateChannel
                                              Create Channel Response                            Response

    L2CA_CreateChannel
         Confirm

                                                   Config Request
                                             w/Extended Flow Spec option

 May happen in                                     Config Request
 different orders.
                                             W/Extended Flow Spec option
 After Last Config
 Response has been
 sent in each direction,
 both sides have all                              Config Response
 information to                              w/Extended Flow Spec option
 configure QoS.                                    Result = pending
                                                  Config Response
                                             W/Extended Flow Spec option
                                                  Result = pending
 Logical Link for
 Best Effort already exists
 so L2CAP aggregates
 all the best effort
 Flow Specs and modifies
 the best effort logical link
                                             )ORZ6SHF0RGLI\

                                                  Config Response
                                             W/Extended Flow Spec option
                                                  Result = success
                                                  Config Response
                                             w/Extended Flow Spec option
                                                   Result = success




Figure 9.2: Creation of Subsequent Best Effort L2CAP channel


9.2 MOVE CHANNEL
Move Channel is used to move an L2CAP channel from one Controller to
another. Moving a channel retains the existing channel configuration (MTU,
QOS, etc.) and the CID. If reconfiguration is necessary then it may be done
after a successful move channel operation. If a channel configured as Best
Effort is moved, the Extended Flow Specification aggregate shall be
recalculated (see Section 7.8 for the aggregation algorithm) for both the old
and new Controllers in cases where an aggregate already exists or where a
channel is moved to a Controller with an existing Best Effort channel. If the
Extended Flow Specification aggregate are modified for a Controller then a
logical link modify operation shall be performed for that Controller.

The two procedures for moving channels are based on the mode configured for
the channel. One procedure is used for channels configured with Enhanced



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Retransmission mode. Another procedure is used for channels configured with
Streaming mode. The procedures are described in the following sections.

Note that the terms such as “logical link create” and “logical link modify” are
used in the Move procedures. For AMP Controllers these terms refer to logical
link operations (e.g. QoS admission control) performed by the Controller. For
BR/EDR and BR/EDR/LE Controllers these terms refer to QoS admission
control performed by L2CAP on behalf of the Controller.

9.2.1 Move Channel Protocol Procedure with Enhanced Retransmission
      Mode

       1.     When the L2CAP layer on the initiating device receives the
              L2CA_Move_Channel.request from the upper layer (application) it
              shall stop sending I-frames and S-frames. It shall continue to listen
              on the old Controller and follow the procedures in Section 9.2.1.1.
              The L2CAP layer on the initiating device shall send the Move
              Channel Request packet over the L2CAP signaling channel to the
              remote (responding) device.
       2.     When the L2CAP layer on the responding device receives the Move
              Channel Request packet it shall stop sending I-frames and S-frames.
              It shall still listen on the old Controller and follow the procedures in
              Section 9.2.1.1. It shall send a Move Channel Response packet to
              the other side. If a logical link must be created or modified (or
              admission control is required) the Move Channel Response packet
              shall contain a result code of “pending.” If a logical link does not need
              to be created or modified and the move operation is allowed then the
              Move Channel Response packet shall contain a result code of
              “success.” Otherwise, it shall contain the appropriate “refused” result
              code. If the response code sent in the Move Channel Response
              packet is “pending” then the L2CAP layer on the responding device
              shall attempt to create or modify a logical link on the new Controller
              for the channel. When the logical link create/modify operation is
              complete, the L2CAP layer on the responding device shall send a
              Move Channel Response packet to the other side with the result code
              indicating the success/failure of the logical link create/modify.
       3.     When the L2CAP layer on the initiating device receives the Move
              Channel Response packet it shall check the result code. If the result
              code in the Move Channel Response packet is “refused” it shall send
              a Move Channel Confirmation packet with result code “failure” to the
              other side. If the result code in the Move Channel Response packet
              is “pending” or “success” the L2CAP layer shall stop listening on the
              old Controller and attempt to create/modify a logical link on the new
              Controller for the channel. If the result code in the Move Channel
              Response packet is “pending” then it shall use the ERTX timer while
              waiting for a Move Channel Response packet with a “non-pending”
              result code from the responding device. When the logical link create/
              modify operation is complete and the L2CAP layer on the initiating

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              device has received a Move Channel Response packet from the
              responding device with a “non-pending” result code, it shall send a
              Move Channel Confirmation packet to conclude the Move Channel
              procedure. The result code in the Move Channel Confirmation packet
              indicates the success/failure of its own logical channel create/modify
              operation and the result code in the Move Channel Response packet
              from the responding device. If both are success then the result code
              sent in the Move Channel Confirmation packet shall be “success”
              otherwise it shall be “failure.”
       4.     When the L2CAP layer on the responding device receives the Move
              Channel Confirmation packet it shall send a Move Channel
              Confirmation Response and send an
              L2CA_Move_Channel_Confirm.indication to the upper layer with the
              result code contained in the Move Channel Confirmation packet. If
              the result code of the Move Channel Confirmation is success the
              L2CAP layer on the responding device shall listen on the new
              Controller if the result code is failure then it shall listen on the old
              Controller.
       5.     When the L2CAP layer on the initiating device receives the Move
              Channel Confirmation response packet it shall send an
              L2CAP_Move_Channel.confirm to the upper layer with the result
              code passed in the Move Channel Confirmation packet. If the result
              code sent in the Move Channel Confirmation packet is success then
              the L2CAP layer on the initiating device shall send an RR(P=1) on
              the new Controller and shall start listening on the new Controller.
              Before sending the RR(P=1) the L2CAP layer on the initiating device
              may initiate reconfiguration by sending a Configuration Request
              packet. If the result sent is failure then the L2CAP layer on the
              initiating device shall send an RR(P=1) on the old Controller and start
              listening on the old Controller.
       6.     When the L2CAP layer on the responding device receives the
              RR(P=1) packet it shall send an I-frame(F=1) with a TxSeq matching
              the ReqSeq in the RR(P=1) or an RR(F=1) if there are no I-frames to
              send. If the I-frame is a retransmission and the PDU size used for the
              new Controller is smaller than the PDU size used for the old
              Controller, the responding device shall segment the retransmitted I-
              frame to make it fit in the new PDU size. If the L2CAP layer on the
              responding device receives a Configuration Request packet before
              the RR(P=1) it shall perform reconfiguration. When the
              reconfiguration is complete it shall wait for the RR(P=1). If the L2CAP
              layer on the responding device desires to perform reconfiguration but
              receives the RR(P=1) it may send a Configuration Request packet
              instead of the RR(F=1) or I-frame(F=1) to initiate reconfiguration.
              After the reconfiguration is complete it shall send the RR(F=1) or I-
              frame(F=1).




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       7.     When the L2CAP layer on the initiating device receives the I-
              frame(F=1) or RR(F=1) from the responding device, the move is
              complete. If it receives a Configuration Request packet before
              receiving the RR(F=1) or I-frame(F=1) it shall perform
              reconfiguration. When reconfiguration is complete it shall wait for the
              RR(F=1) or I-frame(F=1).

9.2.1.1 Enhanced Retransmission Mode Procedures During a Move
        Operation

       1.     Stop sending I-frames and S-frames and cancel all timers. Set the
              transmitter to the XMIT state and clear all retry counters.
       2.     Clear or reset any SREJ_SENT and REJ_SENT state specific
              variables including flushing any received out-of-sequence I-frames
              saved as part of being in the SREJ_SENT state. Set the receiver to
              the RECV state.
       3.     Process received I-frames in the RECV state including processing
              the ReqSeq and passing completed SDUs to the upper layer. Only
              process the ReqSeq of received S-frames. Do not change state.
       4.     Ignore all out-of-sequence I-frames keeping note of the TxSeq of the
              last in-sequence I-frame received.
       5.     If the initiating device is in a local busy condition then it should wait
              to send the Move Channel Confirmation packet until the local busy
              condition has cleared. If the responding device is in a local busy
              condition then it should send a Move Channel Response packet with
              result “pending” upon receiving the Move Channel Request packet
              and wait until the local busy condition is cleared before sending a
              Move Channel Response packet with a “non-pending” result.
       6.     The ReqSeq of the RR(P=1) sent by the initiating device shall be set
              to the TxSeq of the next I-frame after the last in-sequence I-frame
              received (noted in step 4). The ReqSeq of the RR(F=1) or I-
              frame(F=1) sent by the responding device shall be set to the TxSeq
              of the next frame after the last in-sequence I-frame received (noted
              in step 4).
       7.     The new Controller or HCI transport may require smaller PDU size
              than the old Controller. If this is the case then the L2CAP layer shall
              segment all retransmitted I-frames to fit the new PDU size.
       8.     After sending the RR(P=1) the initiating device should start the
              Monitor Timer and go to the WAIT_F state.
       9.     Timers shall be stopped during channel reconfiguration and restarted
              when reconfiguration is complete.




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9.2.2 Move Channel Protocol Procedure with Streaming Mode (Initiator is
      Data Source)

       1.     When the L2CAP layer on the initiating device (data source) receives
              the L2CA_Move_Channel.request it shall stop sending L2CAP
              PDUs. The L2CAP layer on the initiating device shall send a Move
              Channel Request packet over the L2CAP signaling channel to the
              remote (responding) device.
       2.     When the L2CAP layer on the responding device receives the Move
              Channel Request packet it shall still listen on the old Controller for
              receive frames (timing could be such that packets from the initiating
              device are still in transit). It shall pass completely received SDUs up
              to the upper layer. It shall send a Move Channel Response packet to
              the other side. If a logical link must be created (or admission control
              is required) the Move Channel Response packet shall contain a
              result code of “pending.” If a logical link does not need to be created
              and the move operation is allowed then the Move Channel Response
              packet shall contain a result code of “success.” Otherwise it shall
              contain the appropriate “refused” result code. If the response code
              sent in the Move Channel Response packet is “pending” then the
              L2CAP layer on the responding device shall attempt to create a
              logical link on the new Controller for the channel. When the logical
              link create operation is complete, the L2CAP layer on the responding
              device shall send a Move Channel Response packet to the other side
              with the result code indicating the success/failure of the logical link
              create operation. It shall continue to listen on the old Controller.
       3.     When the L2CAP layer on the initiating device receives the Move
              Channel Response packet it shall check the result code. If the result
              code in the Move Channel Response packet is “refused” it shall send
              a Move Channel Confirmation packet with result code “failure” to the
              other side. If the result code in the Move Channel Response packet
              is “pending” or “success” the L2CAP layer shall attempt to create a
              logical link on the new Controller for the channel. If the result code in
              the Move Channel Response packet is “pending” then it shall use the
              ERTX timer while waiting for a Move Channel Response packet with
              a “non-pending” result code from the responding device. When the
              logical link create operation is complete and it has received a Move
              Channel Response packet from the responding device with a “non-
              pending” result code it shall send a Move Channel Confirmation
              packet and wait for a Move Channel Confirmation response packet.
              The result code in the Move Channel Confirmation indicates the
              success/failure of its own logical link create operation and the result
              code in the Move Channel Response packet from the responding
              device. If both are success then the result code sent in the Move
              Channel Confirmation shall be success otherwise it shall be failure.




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       4.     When the L2CAP layer on the responding device receives the Move
              Channel Confirmation packet it shall send a Move Channel
              Confirmation response packet and send an
              L2CA_Move_Channel_Confirm.indication to the upper layer with the
              result code passed in the Move Channel Confirmation packet. If the
              result code of the Move Channel Confirmation is success it shall
              listen on the new Controller. If the result code is failure it shall listen
              on the old Controller.
       5.     When the L2CAP layer on the initiating device receives the Move
              Channel Confirmation response packet it shall send an
              L2CAP_Move_Channel.confirm to the upper layer with the result
              code passed in the Move Channel Confirmation packet. If the result
              sent in the Move Channel Confirmation is success then the initiating
              device shall send I-frames for the channel on the new Controller
              otherwise it shall send I-frames for the channel on the old Controller.

9.2.3 Move Channel Protocol Procedure with Streaming Mode (Initiator is
      Data Sink)

       1.     When the L2CAP layer on initiating device (data sink) receives the
              L2CAP_Move_Channel.request it shall send a Move Channel
              Request packet over the L2CAP signaling channel to the remote
              (responding) device. It shall continue listening on the old Controller.
       2.     When the L2CAP layer on the responding device receives the Move
              Channel Request packet it shall stop sending L2CAP PDUs and
              send a Move Channel Response packet to the other side. If a logical
              link must be created (or admission control is required) the Move
              Channel Response packet shall contain a result code of “pending.” If
              a logical link does not need to be created and the move operation is
              allowed then the Move Channel Response packet shall contain a
              result code of “success.” Otherwise it shall contain the appropriate
              “refused” result code. If the result code sent in the Move Channel
              Response packet is “pending” then the L2CAP layer on the
              responding device shall attempt to create a logical link on the new
              Controller for the channel. When the logical link create operation is
              complete, the L2CAP layer on the responding device shall send a
              Move Channel Response packet to the other side with the result code
              indicating the success/failure of the logical link create.
       3.     When the L2CAP layer on the initiating device receives the Move
              Channel Response packet it shall check the result code. If the result
              code in the Move Channel Response packet is “refused” it shall send
              a Move Channel Confirmation packet with result code “failure” to the
              other side. If the result code in the Move Channel Response packet
              is “pending” or “success” the L2CAP layer shall attempt to create a
              logical link on the new Controller for the channel. If the result code in
              the Move Channel Response packet is “pending” then it shall use the
              ERTX timer while waiting for a Move Channel Response packet with


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              a “non-pending” result code from the responding device. When the
              logical link create operation is complete and it has received a Move
              Channel Response packet from the responding device with a “non-
              pending” result code it shall send a Move Channel Confirmation
              packet and wait for a Move Channel Confirmation response packet.
              The result code in the Move Channel Confirmation indicates the
              success/failure of its own logical link create operation and the result
              code in the Move Channel Response packet from the responding
              device. If both are success then the result code sent in the Move
              Channel Confirmation shall be success otherwise it shall be failure.
              If the result sent is success then the initiating device shall listen on
              the new Controller otherwise it shall listen on the old Controller.
       4.     When the L2CAP layer on the responding device receives the Move
              Channel Confirmation packet it shall send a Move Channel
              Confirmation response packet and send an
              L2CA_Move_Channel_Confirm.indication to the upper layer. If the
              result code in the Move Channel Confirmation packet is success it
              shall send I-frames for the channel on the new Controller. If the result
              code is failure it shall send I-frames on for the channel the old
              Controller.
       5.     When the L2CAP layer on the initiating device receives the Move
              Channel Confirmation response packet it shall send an
              L2CA_Move_Channel.confirm to the upper layer with the result code
              passed in the Move Channel Confirmation packet.

Figure 9.3 and Figure 9.4 show examples of the move operation with
Enhanced Retransmission mode active.




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                                      $03                                 $03
                  +RVW$                                                            +RVW%
                                     3$/$                               3$/%

 L2CA_Move_Channel.                                                                                 Stop
                                                                                                transmission
      Request
                                                  Move Channel Request
       Stop
   transmission


                                              Move Channel Response
                                                        [pending]



                                           /RJLFDO/LQN&UHDWLRQ


                                              Move Channel Response
                                                        [success]



      Resume                                 Move Channel Confirmation
   transmission
                                                    [success]
                                                                                        L2CA_Move_Channel_
                                                                                          Confirm.indication
                                             Move Channel Confirmation                       [success]
                                                    Response
                                                                                                   Resume
   L2CA_Move_Channel.                                                                           transmission
     confirm [success]

                                                        RR(P=1)



                                              RR(F=1) or I-frame (F=1)




Figure 9.3: Move of a Best Effort L2CAP channel Enhanced Retransmission mode enabled to an
           AMP with no existing best effort logical link or move of any Guaranteed L2CAP channel




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                                      $03                                 $03
                  +RVW$                                                            +RVW%
                                     3$/$                               3$/%

 L2CA_Move_Channel.                                                                                 Stop
                                                                                                transmission
      Request
                                                  Move Channel Request
       Stop
   transmission


                                              Move Channel Response
                                                        [pending]



                                             )ORZ6SHF0RGLI\


                                              Move Channel Response
                                                        [success]



      Resume                                 Move Channel Confirmation
   transmission
                                                    [success]
                                                                                        L2CA_Move_Channel_
                                                                                          Confirm.indication
                                             Move Channel Confirmation                       [success]
                                                    Response
                                                                                                   Resume
   L2CA_Move_Channel.                                                                           transmission
     confirm [success]

                                                        RR(P=1)



                                              RR(F=1) or I-frame (F=1)




Figure 9.4: Move of a Best Effort L2CAP channel with Enhanced Retransmission mode enabled to
            an AMP where a best effort logical link exists


9.3 DISCONNECT CHANNEL
If a channel configured as Best Effort is disconnected the Extended Flow
Specification aggregate shall be recalculated (see Section 7.8 for the
aggregation algorithm) unless it is the last or only channel. If this is not the last
or only Best Effort channel for the logical link then a logical link modify
operation shall be performed otherwise the logical link should be disconnected.
The ACL-U logical link between two devices should not be disconnected until
all the L2CAP channels running over all logical links between the two devices
have been disconnected.




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10 PROCEDURES FOR CREDIT BASED FLOW CONTROL

10.1 LE CREDIT BASED FLOW CONTROL MODE
LE Credit Based Flow Control Mode is used for LE L2CAP connection oriented
channels with flow control using a credit based scheme for L2CAP data (i.e.
not signaling packets).

The number of credits (LE-frames) that can be received by a device on an
L2CAP channel is determined during connection establishment. LE-frames
shall only be sent on an L2CAP channel if the device has a credit count greater
than zero for that L2CAP channel. For each LE-frame sent the device
decreases the credit count for that L2CAP channel by one. The peer device
may return credits for an L2CAP channel at any time by sending an LE Flow
Control Credit packet. When a credit packet is received by a device it shall
increment the credit count for that L2CAP channel by the value of the Credits
field in this packet. The number of credits returned for an L2CAP channel may
exceed the initial credits provided in the LE Credit Based Connection Request
or Response packet. The device sending the LE Flow Control Credit packet
shall ensure that the number of credits returned for an L2CAP channel does
not cause the credit count to exceed 65535. The device receiving the credit
packet shall disconnect the L2CAP channel if the credit count exceeds 65535.
The device shall also disconnect the L2CAP channel if it receives an LE-frame
on an L2CAP channel from the peer device that has a credit count of zero. If a
device receives an LE Flow Control Credit packet with credit value set to zero,
the packet shall be ignored. A device shall not send credit values of zero in LE
Flow Control Credit packets.

If a connection request is received and there is insufficient authentication
between the two devices, the connection shall be rejected with a result value of
“Connection refused - insufficient authentication”. If a connection request is
received and there is insufficient authorization between the two devices, the
connection shall be rejected with a result value of “Connection refused -
insufficient authorization”. If a connection request is received and the
encryption key size is too short, the connection shall be rejected with a result
value of “Connection refused – insufficient encryption key size”.

Note: When encryption is not enabled, the result value “Connection refused –
insufficient authentication” does not indicate that MITM protection is required.




Procedures for Credit Based Flow Control                             06 December 2016
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APPENDIX A CONFIGURATION MSCs

The examples in this appendix describe a sample of the multiple possible
configuration scenarios that might occur.

Figure A.1 illustrates the basic configuration process. In this example, the
devices exchange MTU information. All other values are assumed to be
default.


                                    Device A                               Device B
                                     L2CA                                   L2CA
                                               LP                     LP
                 L2CA_ConfigReq
                 Option=0x01
                 [MTU=0x00000100]                   L2CAP_ConfigReq
                                                                                      L2CA_ConfigInd

                                                                                      L2CA_ConfigRsp
                                                                                      Result=Success

                 L2CA_ConfigCfm                     L2CAP_ConfigRsp
                                                                                      L2CA_ConfigReq
                                                                                      Option=0x01
                                                                                      [MTU=0x00000200]
                 L2CA_ConfigInd                     L2CAP_ConfigReq

                 L2CA_ConfigRsp
                 Result=Success
                                                    L2CAP_ConfigRsp
                                                                                      L2CA_ConfigCfm




                                     TIME


Figure A.1: Basic MTU exchange




Appendix A: Configuration MSCs                                                                           06 December 2016
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Figure A.2 illustrates how two devices interoperate even though one device
supports more options than the other does. Device A is an upgraded version. It
uses a hypothetically defined option type 0x20 for link-level security. Device B
rejects the command using the Configuration Response packet with result
‘unknown parameter’ informing Device A that option 0x20 is not understood.
Device A then resends the request omitting option 0x20. Device B notices that
it does not need to such a large MTU and accepts the request but includes in
the response the MTU option informing Device A that Device B will not send an
L2CAP packet with a payload larger than 0x80 octets over this channel. On
receipt of the response, Device A could reduce the buffer allocated to hold
incoming traffic.


                                   Device A                               Device B
                                    L2CA                                   L2CA
                                              LP                     LP
               L2CA_ConfigReq
               Option=0x01
               [MTU=0x00000100]
               Option=0x20
                                                   L2CAP_ConfigReq                   L2CA_ConfigInd
               [Data=0xFA12D823]
                                                                                     L2CA_ConfigRsp
                                                                                     Result=Unknown option
                                                                                     Option=0x20
               L2CA_ConfigCfm                      L2CAP_ConfigRsp


               L2CA_ConfigReq
               Option=0x01
               [MTU=0x00000100]
                                                   L2CAP_ConfigReq                   L2CA_ConfigInd

                                                                                     L2CA_ConfigRsp
                                                                                     Result=Success
                                                                                     [MTU=0x00000080]
               L2CA_ConfigCfm                      L2CAP_ConfigRsp
                                                                                     L2CA_ConfigReq
                                                                                     Option=0x01
                                                                                     [MTU=0x00000200]
               L2CA_ConfigInd                      L2CAP_ConfigReq

               L2CA_ConfigRsp
               Result=Success

                                                   L2CAP_ConfigRsp                   L2CA_ConfigCfm

                                    TIME


Figure A.2: Dealing with Unknown Options




Appendix A: Configuration MSCs                                                                          06 December 2016
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Figure A.3 illustrates an unsuccessful configuration request. There are two
problems described by this example. The first problem is that the configuration
request is placed in an L2CAP packet that cannot be accepted by the remote
device, due to its size. The remote device informs the sender of this problem
using the Command Reject message. Device A then resends the configuration
options using two smaller L2CAP_ConfigReq messages.

The second problem is an attempt to configure a channel with an invalid CID.
For example device B may have no open connection on that CID (0x01234567
in this example case).


                                    Device A                                Device B
                                     L2CA                                    L2CA
                                               LP                      LP
                   L2CA_ConfigReq

                                                    L2CAP_ConfigReq
                                                      ID=0x1234
                                                      DCID=0x01234567
                                                      Option=0x01
                                                      [MTU=0x00000100]
                                                      Option=0x20
                                                      [Data=BIG]



                                                    L2CAP_CmdReject
                                                      ID=0x1234
                                                      Reason=0x0001
                                                      (MTU exceeded)
                                                      Data=0x80


                                                    L2CAP_ConfigReq
                                                      ID=0x1235
                                                      DCID=0x01234567
                                                      Option=0x01
                                                      [MTU=0x00000100]
                                                      C flag set to 1



               L2CA_ConfigCfmNeg                    L2CAP_CmdReject                L2CAP_ConfigReq
                                                    ID=0x1235                          ID=0x1236
                                                    Reason=0x0002                      DCID=0x01234567
                                                    (Invalid CID)                      Option=0x20
                                                                                       [Data=BIG]
                                                    L2CAP_CmdReject
                                                    ID=0x1236
                                                    Reason=0x0002
                                                    (Invalid CID)

                                     TIME


Figure A.3: Unsuccessful Configuration Request




Appendix A: Configuration MSCs                                                                      06 December 2016
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                   Core System Package [Host volume]
                                              Part B




      PART B: SERVICE DISCOVERY
   PROTOCOL (SDP) SPECIFICATION




                          This specification defines a protocol
                          for locating services provided by or
                          available through a Bluetooth device.




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1 INTRODUCTION

1.1 GENERAL DESCRIPTION
The service discovery protocol (SDP) provides a means for applications to
discover which services are available and to determine the characteristics of
those available services.

1.2 MOTIVATION
Service Discovery in the Bluetooth environment, where the set of services that
are available changes dynamically based on the RF proximity of devices in
motion, is qualitatively different from service discovery in traditional network-
based environments. The service discovery protocol defined in this
specification is intended to address the unique characteristics of the Bluetooth
environment. See Appendix A, for further information on this topic.

1.3 REQUIREMENTS
The following capabilities have been identified as requirements for version 1.0
of the Service Discovery Protocol.
1. SDP shall provide the ability for clients to search for needed services based
   on specific attributes of those services.
2. SDP shall permit services to be discovered based on the class of service.
3. SDP shall enable browsing of services without a priori knowledge of the
   specific characteristics of those services.
4. SDP shall provide the means for the discovery of new services that become
   available when devices enter RF proximity with a client device as well as
   when a new service is made available on a device that is in RF proximity
   with the client device.
5. SDP shall provide a mechanism for determining when a service becomes
   unavailable when devices leave RF proximity with a client device as well as
   when a service is made unavailable on a device that is in RF proximity with
   the client device.
6. SDP shall provide for services, classes of services, and attributes of
   services to be uniquely identified.
7. SDP shall allow a client on one device to discover a service on another
   device without consulting a third device.
8. SDP should be suitable for use on devices of limited complexity.
9. SDP shall provide a mechanism to incrementally discover information about
   the services provided by a device. This is intended to minimize the quantity
   of data that must be exchanged in order to determine that a particular
   service is not needed by a client.

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10.SDP should support the caching of service discovery information by
  intermediary agents to improve the speed or efficiency of the discovery
  process.
11.SDP should be transport independent.
12.SDP shall function while using L2CAP as its transport protocol.
13.SDP shall permit the discovery and use of services that provide access to
  other service discovery protocols.
14.SDP shall support the creation and definition of new services without
   requiring registration with a central authority.

1.4 NON-REQUIREMENTS AND DEFERRED REQUIREMENTS
The Bluetooth SIG recognizes that the following capabilities are related to
service discovery. These items are not addressed in SDP version 1.0.
However, some may be addressed in future revisions of the specification.
1. SDP 1.0 does not provide access to services. It only provides access to
   information about services.
2. SDP 1.0 does not provide brokering of services.
3. SDP 1.0 does not provide for negotiation of service parameters.
4. SDP 1.0 does not provide for billing of service use.
5. SDP 1.0 does not provide the means for a client to control or change the
   operation of a service.
6. SDP 1.0 does not provide an event notification when services, or information
   about services, become unavailable.
7. SDP 1.0 does not provide an event notification when attributes of services
   are modified.
8. This specification does not define an application programming interface for
   SDP.
9. SDP 1.0 does not provide support for service agent functions such as
   service aggregation or service registration.




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1.5 CONVENTIONS

1.5.1 Bit And Byte Ordering Conventions

When multiple bit fields are contained in a single byte and represented in a
drawing in this specification, the more significant (high-order) bits are shown
toward the left and less significant (low-order) bits toward the right.

Multiple-byte fields are drawn with the more significant bytes toward the left
and the less significant bytes toward the right. Multiple-byte fields are
transferred in network byte order. See Section 4.1.




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2 OVERVIEW

2.1 SDP CLIENT-SERVER ARCHITECTURE




                Client                                   Server
              Application                              Application




                                      SDP requests
                 SDP                                      SDP
                 Client                                  Server
                                     SDP responses




Figure 2.1: SDP Client-Server Interaction


The service discovery mechanism provides the means for client applications to
discover the existence of services provided by server applications as well as
the attributes of those services. The attributes of a service include the type or
class of service offered and the mechanism or protocol information needed to
utilize the service.

As far as the Service Discovery Protocol (SDP) is concerned, the configuration
shown in Figure 2.1 can be simplified to that shown in Figure 2.2.



                                        SDP requests
                    SDP                                    SDP
                    Client                                Server
                                       SDP responses


Figure 2.2: Simplified SDP Client-Server Interaction



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SDP involves communication between an SDP server and an SDP client. The
server maintains a list of service records that describe the characteristics of
services associated with the server. Each service record contains information
about a single service. A client can retrieve information from a service record
maintained by the SDP server by issuing an SDP request.

If the client, or an application associated with the client, decides to use a
service, it opens a separate connection to the service provider in order to utilize
the service. SDP provides a mechanism for discovering services and their
attributes (including associated service access protocols), but it does not
provide a mechanism for utilizing those services (such as delivering the service
access protocols).

If multiple applications on a device provide services, an SDP server can act on
behalf of those service providers to handle requests for information about the
services that they provide. Similarly, multiple client applications can utilize an
SDP client to query servers on behalf of the client applications.

The set of SDP servers that are available to an SDP client will change
dynamically based on the RF proximity of the servers to the client. When a
server becomes available, a potential client must be notified by a means other
than SDP so that the client can use SDP to query the server about its services.
Similarly, when a server leaves proximity or becomes unavailable for any
reason, there is no explicit notification via the service discovery protocol.
However, the client can use SDP to poll the server and may infer that the
server is not available if it no longer responds to requests.

Additional information regarding application interaction with SDP shall be
contained in the Bluetooth Service Discovery Profile document.

2.2 SERVICE RECORD
A service is any entity that can provide information, perform an action, or
control a resource on behalf of another entity. A service may be implemented
as software, hardware, or a combination of hardware and software.

All of the information about a service that is maintained by an SDP server is
contained within a single service record. The service record shall only be a list
of service attributes.




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                              Service Record
                              Service Attribute 1
                              Service Attribute 2
                              Service Attribute 3
                              ...
                              Service Attribute N


Figure 2.3: Service Record


A service record handle is a 32-bit number that shall uniquely identify each
service record within an SDP server. It is important to note that, in general,
each handle is unique only within each SDP server. If SDP server S1 and SDP
server S2 both contain identical service records (representing the same
service), the service record handles used to reference these identical service
records are completely independent. The handle used to reference the service
on S1 will be meaningless if presented to S2.

The service discovery protocol does not provide a mechanism for notifying
clients when service records are added to or removed from an SDP server.
While an L2CAP (Logical Link Control and Adaptation Protocol) connection is
established to a server, a service record handle acquired from the server shall
remain valid unless the service record it represents is removed. If a service is
removed from the server, further requests to the server (during the L2CAP
connection in which the service record handle was acquired) using the
service’s (now stale) record handle shall result in an error response indicating
an invalid service record handle. An SDP server shall ensure that no service
record handle values are re-used while an L2CAP connection remains
established. Service record handles shall remain valid across successive
L2CAP connections while the ServiceDatabaseState attribute value remains
unchanged. Further, service record handles should remain valid until such time
that the corresponding service is permanently removed or changes in an
incompatible way. See the ServiceRecordState and ServiceDatabaseState
attributes in Section 5.

A device may have a service record with a service record handle of
0x00000000 representing the SDP server itself. This service record contains
attributes for the SDP server and the protocol it supports. For example, one of
its attributes is the list of SDP protocol versions supported by the server.




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2.3 SERVICE ATTRIBUTE
Each service attribute describes a single characteristic of a service. Some
examples of service attributes are:
 ServiceClassIDList             Identifies the type of service represented by a service record.
                                In other words, the list of classes of which the service is an
                                instance
 ServiceID                      Uniquely identifies a specific instance of a service
 ProtocolDescriptorList         Specifies the protocol stack(s) that may be used to utilize a
                                service

 ProviderName                   The textual name of the individual or organization that pro-
                                vides a service
 IconURL                        Specifies a URL that refers to an icon image that may be
                                used to represent a service

 ServiceName                    A text string containing a human-readable name for the ser-
                                vice
 ServiceDescription             A text string describing the service

See Section 5.1, for attribute definitions that are common to all service records.
Service providers can also define their own service attributes.

A service attribute consists of two components: an attribute ID and an attribute
value.


                                   Service Attribute
                                   Attribute ID
                                   Attribute Value


Figure 2.4: Service Attribute


2.3.1 Attribute ID
An attribute ID is a 16-bit unsigned integer that distinguishes each service
attribute from other service attributes within a service record. The attribute ID
also identifies the semantics of the associated attribute value.
A service class definition specifies each of the attribute IDs for a service class
and assigns a meaning to the attribute value associated with each attribute ID.
Each attribute ID is defined to be unique only within each service class.
All services belonging to a given service class assign the same meaning to
each particular attribute ID. See Section 2.4.
In the Service Discovery Protocol, an attribute ID is represented as a data
element. See Section 3.

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2.3.2 Attribute Value

The attribute value is a variable length field whose meaning is determined by
the attribute ID associated with it and by the service class of the service record
in which the attribute is contained. In the Service Discovery Protocol, an
attribute value is represented as a data element. (See Section 3.) Generally,
any type of data element is permitted as an attribute value, subject to the
constraints specified in the service class definition that assigns an attribute ID
to the attribute and assigns a meaning to the attribute value. See Section 5, for
attribute value examples.

2.4 SERVICE CLASS
Each service is an instance of a service class. The service class definition
provides the definitions of all attributes contained in service records that
represent instances of that class. Each attribute definition specifies the numeric
value of the attribute ID, the intended use of the attribute value, and the format
of the attribute value. A service record contains attributes that are specific to a
service class as well as universal attributes that are common to all services.

Each service class is also assigned a unique identifier. This service class
identifier is contained in the attribute value for the ServiceClassIDList attribute,
and is represented as a UUID (see Section 2.5.1). Since the format and
meanings of many attributes in a service record are dependent on the service
class of the service record, the ServiceClassIDList attribute is very important.
Its value shall be examined or verified before any class-specific attributes are
used. Since all of the attributes in a service record must conform to all of the
service’s classes, the service class identifiers contained in the
ServiceClassIDList attribute are related. Typically, each service class is a
subclass of another class whose identifier is contained in the list. A service
subclass definition differs from its superclass in that the subclass contains
additional attribute definitions that are specific to the subclass.

When a new service class is defined that is a subclass of an existing service
class, the new service class retains all of the attributes defined in its
superclass. Additional attributes may be defined that are specific to the new
service class. In other words, the mechanism for adding new attributes to some
of the instances of an existing service class is to create a new service class
that is a subclass of the existing service class.

If a Service Class UUID is exposed in the SDP database of a product, then the
product containing the SDP record shall comply with the specification which
defines the service corresponding to the UUID.




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2.4.1 A Printer Service Class Example

A color postscript printer with duplex capability might conform to 4
ServiceClass definitions and have a ServiceClassIDList with UUIDs (See
Section 2.5.1.) representing the following ServiceClasses:
   DuplexColorPostscriptPrinterServiceClassID,
   ColorPostscriptPrinterServiceClassID,
   PostscriptPrinterServiceClassID,
   PrinterServiceClassID

Note that this example is only illustrative. This is not necessarily a practical
printer class hierarchy.

2.5 SEARCHING FOR SERVICES
The Service Search transaction allows a client to retrieve the service record
handles for particular service records based on the values of attributes
contained within those service records. Once an SDP client has a service
record handle, it can request the values of specific attributes.

The capability search for service records based on the values of arbitrary
attributes is not provided. Rather, the capability is provided to search only for
attributes whose values are Universally Unique Identifiers1 (UUIDs). Important
attributes of services that can be used to search for a service are represented
as UUIDs.

2.5.1 UUID

A UUID is a universally unique identifier that is guaranteed to be unique across
all space and all time. UUIDs can be independently created in a distributed
fashion. No central registry of assigned UUIDs is required. A UUID is a 128-bit
value.

To reduce the burden of storing and transferring 128-bit UUID values, a range
of UUID values has been pre-allocated for assignment to often-used,
registered purposes. The first UUID in this pre-allocated range is known as the
Bluetooth Base UUID and has the value 00000000-0000-1000-8000-
00805F9B34FB, from the Bluetooth Assigned Numbers document. UUID
values in the pre-allocated range have aliases that are represented as 16-bit or
32-bit values. These aliases are often called 16-bit and 32-bit UUIDs, but it is
important to note that each actually represents a 128-bit UUID value.

The full 128-bit value of a 16-bit or 32-bit UUID may be computed by a simple
arithmetic operation.



1. The format of UUIDs is specified in ITU-T Rec. X.667(10/2012), alternatively known as
   ISO/IEC 9834-8:2014.


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128_bit_value = 16_bit_value * 296 + Bluetooth_Base_UUID

128_bit_value = 32_bit_value * 296 + Bluetooth_Base_UUID

A 16-bit UUID may be converted to 32-bit UUID format by zero-extending the
16-bit value to 32-bits. An equivalent method is to add the 16-bit UUID value to
a zero-valued 32-bit UUID.

Note that two 16-bit UUIDs may be compared directly, as may two 32-bit
UUIDs or two 128-bit UUIDs. If two UUIDs of differing sizes are to be
compared, the shorter UUID must be converted to the longer UUID format
before comparison.

2.5.2 Service Search Patterns

A service search pattern is a list of UUIDs used to locate matching service
records. A service search pattern matches a service record if each and every
UUID in the service search pattern is contained within any of the service
record’s attribute values. The UUIDs need not be contained within any specific
attributes or in any particular order within the service record. The service
search pattern matches if the UUIDs it contains constitute a subset of the
UUIDs in the service record’s attribute values. The only time a service search
pattern does not match a service record is if the service search pattern
contains at least one UUID that is not contained within the service record’s
attribute values. Note also that a valid service search pattern must contain at
least one UUID.

2.6 BROWSING FOR SERVICES
Normally, a client searches for services based on some desired
characteristic(s) (represented by a UUID) of the services. However, there are
times when it is desirable to discover which types of services are described by
an SDP server’s service records without any a priori information about the
services. This process of looking for any offered services is termed browsing.
In SDP, the mechanism for browsing for services is based on an attribute
shared by all service classes. This attribute is called the BrowseGroupList
attribute. The value of this attribute contains a list of UUIDs. Each UUID
represents a browse group with which a service may be associated for the
purpose of browsing.

When a client desires to browse an SDP server’s services, it creates a service
search pattern containing the UUID that represents the root browse group. All
services that may be browsed at the top level are made members of the root
browse group by having the root browse group’s UUID as a value within the
BrowseGroupList attribute.

Normally, if an SDP server has relatively few services, all of its services will be
placed in the root browse group. However, the services offered by an SDP
server may be organized in a browse group hierarchy, by defining additional

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browse groups below the root browse group. Each of these additional browse
groups is described by a service record with a service class of
BrowseGroupDescriptor.

A browse group descriptor service record defines a new browse group by
means of its Group ID attribute. In order for a service contained in one of these
newly defined browse groups to be browseable, the browse group descriptor
service record that defines the new browse group must in turn be browseable.
The hierarchy of browseable services that is provided by the use of browse
group descriptor service records allows the services contained in an SDP
server to be incrementally browsed and is particularly useful when the SDP
server contains many service records.

2.6.1 Example Service Browsing Hierarchy

Here is a fictitious service browsing hierarchy that illuminates the manner in
which browse group descriptors are used. Browse group descriptor service
records are identified with (G); other service records with (S).




Figure 2.5: Service Browsing Hierarchy




Overview                                                             06 December 2016
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This table shows the services records and service attributes necessary to
implement the browse hierarchy.

 Service Name        Service Class               Attribute Name    Attribute Value

 Entertainment       BrowseGroupDescriptor       BrowseGroupList   PublicBrowseRoot
                                                 GroupID           EntertainmentID

 News                BrowseGroupDescriptor       BrowseGroupList   PublicBrowseRoot
                                                 GroupID           NewsID
 Reference           BrowseGroupDescriptor       BrowseGroupList   PublicBrowseRoot

                                                 GroupID           ReferenceID
 Games               BrowseGroupDescriptor       BrowseGroupList   EntertainmentID
                                                 GroupID           GamesID

 Movies              BrowseGroupDescriptor       BrowseGroupList   EntertainmentID
                                                 GroupID           MoviesID

 Starcraft           Video Game Class ID         BrowseGroupList   GamesID
 A Bug’s Life        Movie Class ID              BrowseGroupList   MovieID
 Dictionary Z        Dictionary Class ID         BrowseGroupList   ReferenceID

 Encyclopedia X      Encyclopedia Class ID       BrowseGroupList   ReferenceID
 New York Times      Newspaper ID                BrowseGroupList   NewspaperID
 London Times        Newspaper ID                BrowseGroupList   NewspaperID

 Local Newspaper     Newspaper ID                BrowseGroupList   NewspaperID
Table 2.1: Service Browsing Hierarchy




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3 DATA REPRESENTATION

Attribute values can contain information of various types with arbitrary
complexity; thus enabling an attribute list to be generally useful across a wide
variety of service classes and environments.

SDP defines a simple mechanism to describe the data contained within an
attribute ID, attribute ID range, and attribute value. The primitive construct used
is the data element.

3.1 DATA ELEMENT
A data element is a typed data representation. It consists of two fields: a
header field and a data field. The header field, in turn, is composed of two
parts: a type descriptor and a size descriptor. The data is a sequence of bytes
whose length is specified in the size descriptor (described in Section 3.3) and
whose meaning is (partially) specified by the type descriptor.

3.2 DATA ELEMENT TYPE DESCRIPTOR
A data element type is represented as a 5-bit type descriptor. The type
descriptor is contained in the most significant (high-order) 5 bits of the first byte
of the data element header. The following types have been defined.

 Type                 Valid Size
 Descriptor           Descriptor
 Value                Values          Type Description

 0                    0               Nil, the null type
 1                    0, 1, 2, 3, 4   Unsigned Integer
 2                    0, 1, 2, 3, 4   Signed twos-complement integer

 3                    1, 2, 4         UUID, a universally unique identifier
 4                    5, 6, 7         Text string
 5                    0               Boolean1
 6                    5, 6, 7         Data element sequence, a data element whose data field
                                      is a sequence of data elements

 7                    5, 6, 7         Data element alternative, data element whose data field is
                                      a sequence of data elements from which one data ele-
                                      ment is to be selected.
 8                    5, 6, 7         URL, a uniform resource locator
 Other                                Reserved for future use

Table 3.1: Data Element
 1. False is represented by the value 0, and true is represented by the value 1. However, to max-
    imize interoperability, any non-zero value received must be accepted as representing true.


Data Representation                                                                 06 December 2016
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3.3 DATA ELEMENT SIZE DESCRIPTOR
The data element size descriptor is represented as a 3-bit size index followed
by 0, 8, 16, or 32 bits. The size index is contained in the least significant (low-
order) 3 bits of the first byte of the data element header. The size index is
encoded as follows.

 Size        Additional
 Index       bits          Data Size

 0           0             1 byte. Exception: if the data element type is nil, the data size is 0
                           bytes.

 1           0             2 bytes
 2           0             4 bytes
 3           0             8 bytes

 4           0             16 bytes
 5           8             The data size is contained in the additional 8 bits, which are inter-
                           preted as an unsigned integer.

 6           16            The data size is contained in the additional 16 bits, which are
                           interpreted as an unsigned integer.
 7           32            The data size is contained in the additional 32 bits, which are
                           interpreted as an unsigned integer.
Table 3.2: Data Element Size




Data Representation                                                               06 December 2016
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3.4 DATA ELEMENT EXAMPLES

   Nil is represented as:

           Type       Size Index


                  0      0
                  5      3


   A 16-bit signed integer is represented as:

           Type       Size Index


                  2      1         16-bit data value
                  5      3                 16


  The 3 character ASCII string "Hat" is represented as:

           Type Size Index             Size


                  4      5         3             'H'      'a'         't'
                  5      3         8                      24

Figure 3.1: Data Element




Data Representation                                                   06 December 2016
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4 PROTOCOL DESCRIPTION

SDP is a simple protocol with minimal requirements on the underlying
transport. It can function over a reliable packet transport (or even unreliable, if
the client implements timeouts and repeats requests as necessary).

SDP uses a request/response model where each transaction consists of one
request protocol data unit (PDU) and one response PDU. In the case where
SDP is used with the Bluetooth L2CAP transport protocol, no more than one
SDP request PDU per connection to a given SDP server may be outstanding at
a given instant. In other words, a client does not issue a further request to a
server prior to receiving a response to the current request before issuing
another request on the same L2CAP connection. Limiting SDP to sending one
unacknowledged request PDU provides a simple form of flow control.

The protocol examples found in Appendix B, could be helpful in understanding
the protocol transactions.

4.1 TRANSFER BYTE ORDER
The service discovery protocol shall transfer multiple-byte fields in standard
network byte order (Big Endian), with more significant (high-order) bytes being
transferred before less-significant (low-order) bytes.

4.2 PROTOCOL DATA UNIT FORMAT
Every SDP PDU consists of a PDU header followed by PDU-specific
parameters. The header contains three fields: a PDU ID, a Transaction ID, and
a ParameterLength. Each of these header fields is described here. Parameters
may include a continuation state parameter, described below; PDU-specific
parameters for each PDU type are described later in separate PDU
descriptions.


 PDU Format:

   Header:             PDU ID      Transaction ID       ParameterLength
                       1 byte           2 bytes             2 bytes

    Parameters:        Parameter 1        Parameter 2                 Parameter N
                                         ParameterLength bytes

Figure 4.1: Protocol Data Unit Format




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PDU ID:                                                                             Size: 1 Byte
 Value                 Parameter Description

 N                     The PDU ID field identifies the type of PDU. I.e. its meaning and the
                       specific parameters.
 0x00                  Reserved for future use
 0x01                  SDP_ErrorResponse

 0x02                  SDP_ServiceSearchRequest
 0x03                  SDP_ServiceSearchResponse
 0x04                  SDP_ServiceAttributeRequest

 0x05                  SDP_ServiceAttributeResponse
 0x06                  SDP_ServiceSearchAttributeRequest

 0x07                  SDP_ServiceSearchAttributeResponse
 0x08-0xFF             Reserved for future use

TransactionID:                                                                    Size: 2 Bytes
 Value                 Parameter Description

 N                     The TransactionID field uniquely identifies request PDUs and is used to
                       match response PDUs to request PDUs. The SDP client can choose
                       any value for a request’s TransactionID provided that it is different from
                       all outstanding requests. The TransactionID value in response PDUs is
                       required to be the same as the request that is being responded to.
                       Range: 0x0000 – 0xFFFF

ParameterLength:                                                                  Size: 2 Bytes
 Value                 Parameter Description

 N                     The ParameterLength field specifies the length (in bytes) of all parame-
                       ters contained in the PDU.
                       Range: 0x0000 – 0xFFFF




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4.3 PARTIAL RESPONSES AND CONTINUATION STATE
Some SDP requests may require responses that are larger than can fit in a
single response PDU. In this case, the SDP server shall generate a partial
response along with a continuation state parameter. The continuation state
parameter can be supplied by the client in a subsequent request to retrieve the
next portion of the complete response. The continuation state parameter is a
variable length field whose first byte contains the number of additional bytes of
continuation information in the field. The format of the continuation information
is not standardized among SDP servers. Each continuation state parameter is
meaningful only to the SDP server that generated it.


                       InfoLength       Continuation Information
                          1 byte            InfoLength bytes

Figure 4.2: Continuation State Format


After a client receives a partial response and the accompanying continuation
state parameter, it can re-issue the original request (with a new transaction ID)
and include the continuation state in the new request indicating to the server
that the remainder of the original response is desired. The maximum allowable
value of the InfoLength field is 16 (0x10).

Note that, unless otherwise stated in a PDU response specification, an SDP
server can split a response at any arbitrary boundary when it generates a
partial response. The SDP server may select the boundary based on the
contents of the reply, but is not required to do so. Therefore, length fields give
the lengths as measured in the complete assembled record, not the length of
the fields in the partial segment. When a service record is segmented into
partial responses all attribute list values are relative to the complete record, not
relevant to the partial record.

4.4 ERROR HANDLING
Each transaction consists of a request and a response PDU. Generally, each
type of request PDU has a corresponding type of response PDU. However, if
the server determines that a request is improperly formatted or for any reason
the server cannot respond with the appropriate PDU type, it shall respond with
an SDP_ErrorResponse PDU.




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                                Any Request

               Client                                                       Server
                                SDP_ErrorResponse



Figure 4.3: Error Handling


4.4.1 SDP_ErrorResponse PDU


 PDU Type                                         PDU ID       Parameters

 SDP_ErrorResponse                                0x01         ErrorCode

Description:

The SDP server generates this PDU type in response to an improperly
formatted request PDU or when the SDP server, for whatever reason, cannot
generate an appropriate response PDU.

PDU Parameters:

ErrorCode:                                                                       Size: 2 Bytes
 Value                  Parameter Description

 N                      The ErrorCode identifies the reason that an SDP_ErrorResponse PDU
                        was generated.
 0x0000                 Reserved for future use

 0x0001                 Invalid/unsupported SDP version
 0x0002                 Invalid Service Record Handle
 0x0003                 Invalid request syntax

 0x0004                 Invalid PDU Size
 0x0005                 Invalid Continuation State

 0x0006                 Insufficient Resources to satisfy Request
 0x0007-0xFFFF          Reserved for future use

Note: Invalid PDU size should be used, for example, if an incoming request
PDU's length is inconsistent with the specification of that request PDU or the
length parameter of an incoming request PDU is inconsistent with that request
PDU's actual contents.




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4.5 SERVICESEARCH TRANSACTION


                              SDP_ServiceSearchRequest
                                                                            Server
          Client
                             SDP_ServiceSearchResponse


Figure 4.4: ServiceSearch Transaction


4.5.1 SDP_ServiceSearchRequest PDU


 PDU Type                               PDU ID     Parameters

 SDP_ServiceSearchRequest               0x02       ServiceSearchPattern,
                                                   MaximumServiceRecordCount,
                                                   ContinuationState

Description:

The SDP client generates an SDP_ServiceSearchRequest to locate service
records that match the service search pattern given as the first parameter of
the PDU. Upon receipt of this request, the SDP server shall examine its service
record data base and return an SDP_ServiceSearchResponse containing the
service record handles of service records within its service record database
that match the given service search pattern, or an appropriate error response.

Note that no mechanism is provided to request information for all service
records. However, see Section 2.6 for a description of a mechanism that
permits browsing for non-specific services without a priori knowledge of the
services.

PDU Parameters:

ServiceSearchPattern:                                                          Size: Varies
 Value                 Parameter Description

 Data Element          The ServiceSearchPattern is a data element sequence where each ele-
 Sequence              ment in the sequence is a UUID. The sequence shall contain at least
                       one UUID. The maximum number of UUIDs in the sequence is 121. The
                       list of UUIDs constitutes a service search pattern.
 1. The value of 12 has been selected as a compromise between the scope of a service
    search and the size of a search request PDU. It is not expected that more than 12
    UUIDs will be useful in a service search pattern.




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MaximumServiceRecordCount:                                                        Size: 2 Bytes
 Value                 Parameter Description

 N                     MaximumServiceRecordCount is a 16-bit count specifying the maximum
                       number of service record handles to be returned in the response(s) to
                       this request. The SDP server shall not return more handles than this
                       value specifies. If more than N service records match the request, the
                       SDP server determines which matching service record handles to return
                       in the response(s).
                       Range: 0x0001-0xFFFF

ContinuationState:                                                         Size: 1 to 17 Bytes
 Value                  Parameter Description

 Continuation           ContinuationState consists of an 8-bit count, N, of the number of bytes
 State                  of continuation state information, followed by the N bytes of continua-
                        tion state information that were returned in a previous response from
                        the server. N is required to be less than or equal to 16. If no continua-
                        tion state is to be provided in the request, N is set to 0.


4.5.2 SDP_ServiceSearchResponse PDU


 PDU Type                                 PDU ID       Parameters

 SDP_ServiceSearchResponse                0x03         TotalServiceRecordCount,
                                                       CurrentServiceRecordCount,
                                                       ServiceRecordHandleList,
                                                       ContinuationState

Description:

The SDP server generates an SDP_ServiceSearchResponse upon receipt of a
valid SDP_ServiceSearchRequest. The response contains a list of service
record handles for service records that match the service search pattern given
in the request. If a partial response is generated, it shall contain an integral
number of complete service record handles; a service record handle value
shall not be split across multiple PDUs.




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PDU Parameters:

TotalServiceRecordCount:                                                          Size: 2 Bytes
 Value                 Parameter Description

 N                     The TotalServiceRecordCount is an integer containing the number of
                       service records that match the requested service search pattern. If no
                       service records match the requested service search pattern, this param-
                       eter is set to 0. N should never be larger than the MaximumServiceRe-
                       cordCount value specified in the SDP_ServiceSearchRequest. When
                       multiple partial responses are used, each partial response contains the
                       same value for TotalServiceRecordCount.
                       Range: 0x0000-0xFFFF

CurrentServiceRecordCount:                                                        Size: 2 Bytes
 Value                 Parameter Description

 N                     The CurrentServiceRecordCount is an integer indicating the number of
                       service record handles that are contained in the next parameter. If no
                       service records match the requested service search pattern, this param-
                       eter is set to 0. N should never be larger than the TotalServiceRecord-
                       Count value specified in the current response.
                       Range: 0x0000-0xFFFF

ServiceRecordHandleList:                    Size: (CurrentServiceRecordCount*4) Bytes
 Value                 Parameter Description

 List of               The ServiceRecordHandleList contains a list of service record handles.
 32-bit handles        The number of handles in the list is given in the CurrentServiceRecord-
                       Count parameter. Each of the handles in the list refers to a service
                       record that matches the requested service search pattern. Note that this
                       list of service record handles does not have the format of a data ele-
                       ment. It contains no header fields, only the 32-bit service record han-
                       dles.

ContinuationState:                                                         Size: 1 to 17 Bytes
 Value                  Parameter Description

 Continuation           ContinuationState consists of an 8-bit count, N, of the number of bytes
 State                  of continuation state information, followed by the N bytes of continua-
                        tion information. If the current response is complete, this parameter
                        consists of a single byte with the value 0. If a partial response is con-
                        tained in the PDU, the ContinuationState parameter may be supplied in
                        a subsequent request to retrieve the remainder of the response.




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4.6 SERVICEATTRIBUTE TRANSACTION


                             SDP_ServiceAttributeRequest
                                                                                Server
          Client
                            SDP_ServiceAttributeResponse


Figure 4.5: ServiceAttribute Transaction


4.6.1 SDP_ServiceAttributeRequest PDU


 PDU Type                                  PDU ID    Parameters

 SDP_ServiceAttributeRequest               0x04      ServiceRecordHandle,
                                                     MaximumAttributeByteCount,
                                                     AttributeIDList,
                                                     ContinuationState

Description:

The SDP client generates an SDP_ServiceAttributeRequest to retrieve
specified attribute values from a specific service record. The service record
handle of the desired service record and a list of desired attribute IDs to be
retrieved from that service record are supplied as parameters.

Command Parameters:

ServiceRecordHandle:                                                             Size: 4 Bytes
 Value                 Parameter Description

 32-bit handle         The ServiceRecordHandle parameter specifies the service record from
                       which attribute values are to be retrieved. The handle is obtained via a
                       previous SDP_ServiceSearch transaction.




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MaximumAttributeByteCount:                                                           Size: 2 Bytes
 Value                 Parameter Description

 N                     MaximumAttributeByteCount specifies the maximum number of bytes of
                       attribute data to be returned in the response to this request. The SDP
                       server shall not return more than N bytes of attribute data in the
                       response PDU. If the requested attributes require more than N bytes,
                       the SDP server determines how to segment the list. In this case the cli-
                       ent may request each successive segment by issuing a request contain-
                       ing the continuation state that was returned in the previous response
                       PDU. Note that in the case where multiple response PDUs are needed
                       to return the attribute data, MaximumAttributeByteCount specifies the
                       maximum size of the portion of the attribute data contained in each
                       response PDU.
                       Range: 0x0007-0xFFFF

AttributeIDList:                                                                       Size: Varies
 Value                 Parameter Description

 Data Element          The AttributeIDList is a data element sequence where each element in
 Sequence              the list is either an attribute ID or a range of attribute IDs. Each attribute
                       ID is encoded as a 16-bit unsigned integer data element. Each attribute
                       ID range is encoded as a 32-bit unsigned integer data element, where
                       the high order 16 bits are interpreted as the beginning attribute ID of the
                       range and the low order 16 bits are interpreted as the ending attribute ID
                       of the range. The attribute IDs contained in the AttributeIDList shall be
                       listed in ascending order without duplication of any attribute ID values.
                       Note that all attributes can be requested by specifying a range of
                       0x0000-0xFFFF.

ContinuationState:                                                            Size: 1 to 17 Bytes
 Value                  Parameter Description

 Continuation           ContinuationState consists of an 8-bit count, N, of the number of bytes
 State                  of continuation state information, followed by the N bytes of continua-
                        tion state information that were returned in a previous response from
                        the server. N shall be less than or equal to 16. If no continuation state is
                        to be provided in the request, N shall be set to 0.




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4.6.2 SDP_ServiceAttributeResponse PDU


 PDU Type                                    PDU ID       Parameters

 SDP_ServiceAttributeResponse                0x05         AttributeListByteCount,
                                                          AttributeList,
                                                          ContinuationState

Description:

The SDP server generates an SDP_ServiceAttributeResponse upon receipt of
a valid SDP_ServiceAttributeRequest. The response contains a list of
attributes (both attribute ID and attribute value) from the requested service
record.

PDU Parameters:

AttributeListByteCount:                                                              Size: 2 Bytes
 Value                 Parameter Description

 N                     The AttributeListByteCount contains a count of the number of bytes in
                       the AttributeList parameter. N shall never be larger than the Maximu-
                       mAttributeByteCount value specified in the SDP_ServiceAttributeReq-
                       uest.
                       Range: 0x0002-0xFFFF

AttributeList:                                                   Size: AttributeListByteCount
 Value                 Parameter Description

 Data Element          The AttributeList is a data element sequence containing attribute IDs
 Sequence              and attribute values. The first element in the sequence contains the attri-
                       bute ID of the first attribute to be returned. The second element in the
                       sequence contains the corresponding attribute value. Successive pairs
                       of elements in the list contain additional attribute ID and value pairs.
                       Only attributes that have non-null values within the service record and
                       whose attribute IDs were specified in the SDP_ServiceAttributeRequest
                       are contained in the AttributeList. Neither an attribute ID nor an attribute
                       value is placed in the AttributeList for attributes in the service record that
                       have no value. The attributes are listed in ascending order of attribute ID
                       value.

ContinuationState:                                                           Size: 1 to 17 Bytes
 Value                  Parameter Description

 Continuation           ContinuationState consists of an 8-bit count, N, of the number of bytes
 State                  of continuation state information, followed by the N bytes of continua-
                        tion information. If the current response is complete, this parameter
                        consists of a single byte with the value 0. If a partial response is given,
                        the ContinuationState parameter may be supplied in a subsequent
                        request to retrieve the remainder of the response.



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If a partial response is generated, the response may be arbitrarily segmented
into multiple PDUs (subject to the constraint imposed by the allowed range of
values for the AttributeListByteCount parameter). Attributes in partial
responses are not required to be integral.

4.7 SERVICESEARCHATTRIBUTE TRANSACTION


                        SDP_ServiceSearchAttributeRequest

             Client                                                     Server
                       SDP_ServiceSearchAttributeResponse



Figure 4.6: ServiceSearchAttribute Transaction


4.7.1 SDP_ServiceSearchAttributeRequest PDU


 PDU Type                                   PDU ID   Parameters

 SDP_ServiceSearchAttributeRequest          0x06     ServiceSearchPattern,
                                                     MaximumAttributeByteCount,
                                                     AttributeIDList,
                                                     ContinuationState

Description:
The SDP_ServiceSearchAttributeRequest transaction combines the
capabilities of the SDP_ServiceSearchRequest and the
SDP_ServiceAttributeRequest into a single request. As parameters, it contains
both a service search pattern and a list of attributes to be retrieved from service
records that match the service search pattern. The
SDP_ServiceSearchAttributeRequest and its response are more complex and
can require more bytes than separate SDP_ServiceSearch and
SDP_ServiceAttribute transactions. However, using
SDP_ServiceSearchAttributeRequest can reduce the total number of SDP
transactions, particularly when retrieving multiple service records.
Note that the service record handle for each service record is contained in the
ServiceRecordHandle attribute of that service and may be requested along
with other attributes.




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PDU Parameters:

ServiceSearchPattern:                                                                  Size: Varies
 Value                 Parameter Description

 Data Element          The ServiceSearchPattern is a data element sequence where each ele-
 Sequence              ment in the sequence is a UUID. The sequence must contain at least
                       one UUID. The maximum number of UUIDs in the sequence is 121. The
                       list of UUIDs constitutes a service search pattern.
 1. The value of 12 has been selected as a compromise between the scope of a service
    search and the size of a search request PDU. It is not expected that more than 12
    UUIDs will be useful in a service search pattern.


MaximumAttributeByteCount:                                                           Size: 2 Bytes
 Value                 Parameter Description

 N                     MaximumAttributeByteCount specifies the maximum number of bytes of
                       attribute data to be returned in the response to this request. The SDP
                       server shall not return more than N bytes of attribute data in the
                       response PDU. If the requested attributes require more than N bytes,
                       the SDP server determines how to segment the list. In this case the cli-
                       ent may request each successive segment by issuing a request contain-
                       ing the continuation state that was returned in the previous response
                       PDU. Note that in the case where multiple response PDUs are needed
                       to return the attribute data, MaximumAttributeByteCount specifies the
                       maximum size of the portion of the attribute data contained in each
                       response PDU.
                       Range: 0x0007-0xFFFF

AttributeIDList:                                                                       Size: Varies
 Value                 Parameter Description

 Data Element          The AttributeIDList is a data element sequence where each element in
 Sequence              the list is either an attribute ID or a range of attribute IDs. Each attribute
                       ID is encoded as a 16-bit unsigned integer data element. Each attribute
                       ID range is encoded as a 32-bit unsigned integer data element, where
                       the high order 16 bits are interpreted as the beginning attribute ID of the
                       range and the low order 16 bits are interpreted as the ending attribute ID
                       of the range. The attribute IDs contained in the AttributeIDList shall be
                       listed in ascending order without duplication of any attribute ID values.
                       Note that all attributes may be requested by specifying a range of
                       0x0000-0xFFFF.

ContinuationState:                                                            Size: 1 to 17 Bytes
 Value                  Parameter Description

 Continuation           ContinuationState consists of an 8-bit count, N, of the number of bytes
 State                  of continuation state information, followed by the N bytes of continua-
                        tion state information that were returned in a previous response from
                        the server. N shall be less than or equal to 16. If no continuation state is
                        to be provided in the request, N shall set to 0.


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4.7.2 SDP_ServiceSearchAttributeResponse PDU


 PDU Type                                             PDU ID      Parameters

 SDP_ServiceSearchAttributeResponse                   0x07        AttributeListsByteCount,
                                                                  AttributeLists,
                                                                  ContinuationState

Description:

The SDP server generates an SDP_ServiceSearchAttributeResponse upon
receipt of a valid SDP_ServiceSearchAttributeRequest. The response contains
a list of attributes (both attribute ID and attribute value) from the service
records that match the requested service search pattern.

PDU Parameters:

AttributeListsByteCount:                                                            Size: 2 Bytes
 Value                 Parameter Description

 N                     The AttributeListsByteCount contains a count of the number of bytes in
                       the AttributeLists parameter. N shall never be larger than the Maximu-
                       mAttributeByteCount value specified in the SDP_ServiceSearchAt-
                       tributeRequest.
                       Range: 0x0002-0xFFFF

AttributeLists:                                                                       Size: Varies
 Value                 Parameter Description

 Data Element          The AttributeLists is a data element sequence where each element in
 Sequence              turn is a data element sequence representing an attribute list. Each attri-
                       bute list contains attribute IDs and attribute values from one service
                       record. The first element in each attribute list contains the attribute ID of
                       the first attribute to be returned for that service record. The second ele-
                       ment in each attribute list contains the corresponding attribute value.
                       Successive pairs of elements in each attribute list contain additional
                       attribute ID and value pairs. Only attributes that have non-null values
                       within the service record and whose attribute IDs were specified in the
                       SDP_ServiceSearchAttributeRequest are contained in the AttributeLists.
                       Neither an attribute ID nor attribute value is placed in AttributeLists for
                       attributes in the service record that have no value. Within each attribute
                       list, the attributes are listed in ascending order of attribute ID value.




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ContinuationState:                                                         Size: 1 to 17 Bytes
 Value                 Parameter Description

 Continuation          ContinuationState consists of an 8-bit count, N, of the number of bytes
 State                 of continuation state information, followed by the N bytes of continua-
                       tion information. If the current response is complete, this parameter
                       consists of a single byte with the value 0. If a partial response is given,
                       the ContinuationState parameter may be supplied in a subsequent
                       request to retrieve the remainder of the response.

If a partial response is generated, the response may be arbitrarily segmented
into multiple PDUs (subject to the constraint imposed by the allowed range of
values for the AttributeListByteCount parameter). Attributes in partial
responses are not required to be integral.




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5 SERVICE ATTRIBUTE DEFINITIONS

The service classes and attributes contained in this document are necessarily
a partial list of the service classes and attributes supported by SDP. Only
service classes that directly support the SDP server are included in this
document. Additional service classes will be defined in other documents and
possibly in future revisions of this document. Also, it is expected that additional
attributes will be discovered that are applicable to a broad set of services;
these may be added to the list of Universal attributes in future revisions of this
document.

5.1 UNIVERSAL ATTRIBUTE DEFINITIONS
Universal attributes are those service attributes whose definitions are common
to all service records. Note that this does not mean that every service record
contains values for all of these service attributes. However, if a service record
has a service attribute with an attribute ID allocated to a universal attribute, the
attribute value shall conform to the universal attribute’s definition.

Only two attributes are required to exist in every service record instance. They
are the ServiceRecordHandle (attribute ID 0x0000) and the ServiceClassIDList
(attribute ID 0x0001). All other service attributes are optional within a service
record.

5.1.1 ServiceRecordHandle Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ServiceRecordHandle                    0x0000         32-bit unsigned integer

Description:

A service record handle is a 32-bit number that uniquely identifies each service
record within an SDP server. It is important to note that, in general, each
handle is unique only within each SDP server. If SDP server S1 and SDP
server S2 both contain identical service records (representing the same
service), the service record handles used to reference these identical service
records are completely independent. The handle used to reference the service
on S1 will, in general, be meaningless if presented to S2. Service record
handle values 0x00000001-0x0000FFFF are reserved for future use.




Service Attribute Definitions                                              06 December 2016
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5.1.2 ServiceClassIDList Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ServiceClassIDList                     0x0001         Data Element Sequence

Description:

The ServiceClassIDList attribute consists of a data element sequence in which
each data element is a UUID representing the service classes that a given
service record conforms to. The UUIDs should be listed in order from the most
specific class to the most general class unless otherwise specified by the
profile specifications defining the service classes. When profiles are enhanced,
any new UUIDs should be added at the end of the ServiceClassIDList (after
any existing UUIDs) to minimize interoperability issues with legacy
implementations. The ServiceClassIDList shall contain at least one service
class UUID.

5.1.3 ServiceRecordState Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ServiceRecordState                     0x0002         32-bit unsigned integer

Description:

The ServiceRecordState is a 32-bit integer that is used to facilitate caching of
Service Attributes. If this attribute is contained in a service record, its value
shall be changed when any other attribute value is added to, deleted from or
changed within the service record. This permits a client to check the value of
this single attribute. If its value has not changed since it was last checked, the
client knows that no other attribute values within the service record have
changed.

5.1.4 ServiceID Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ServiceID                              0x0003         UUID

Description:

The ServiceID is a UUID that universally and uniquely identifies the service
instance described by the service record. This service attribute is particularly
useful if the same service is described by service records in more than one
SDP server.



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5.1.5 ProtocolDescriptorList Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ProtocolDescriptorList                 0x0004         Data Element Sequence or Data
                                                       Element Alternative

Description:

The ProtocolDescriptorList attribute describes one or more protocol stacks that
can be used to gain access to the service described by the service record.

If the ProtocolDescriptorList describes a single stack, it takes the form of a data
element sequence in which each element of the sequence is a protocol
descriptor. Each protocol descriptor is, in turn, a data element sequence whose
first element is a UUID identifying the protocol and whose successive elements
are protocol-specific parameters. Potential protocol-specific parameters are a
protocol version number and a connection-port number. The protocol
descriptors are listed in order from the lowest layer protocol to the highest layer
protocol used to gain access to the service.

If it is possible for more than one kind of protocol stack to be used to gain
access to the service, the ProtocolDescriptorList takes the form of a data
element alternative where each member is a data element sequence as
described in the previous paragraph.

Protocol Descriptors

A protocol descriptor identifies a communications protocol and provides
protocol-specific parameters. A protocol descriptor is represented as a data
element sequence. The first data element in the sequence shall be the UUID
that identifies the protocol. Additional data elements optionally provide
protocol-specific information, such as the L2CAP protocol/service multiplexer
(PSM) and the RFCOMM server channel number (CN) shown below.

ProtocolDescriptorList Examples

These examples are intended to be illustrative. The parameter formats for each
protocol are not defined within this specification.

In the first two examples, it is assumed that a single RFCOMM instance exists
on top of the L2CAP layer. In this case, the L2CAP protocol specific information
(PSM) points to the single instance of RFCOMM. In the last example, two
different and independent RFCOMM instances are available on top of the
L2CAP layer. In this case, the L2CAP protocol specific information (PSM)
points to a distinct identifier that distinguishes each of the RFCOMM instances.
See the L2CAP specification ([Vol 3] Part A, Section 4.2) for the range of
allowed PSM values.



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IrDA-like printer

( ( L2CAP, PSM=RFCOMM ), ( RFCOMM, CN=1 ), ( PostscriptStream ) )

IP Network Printing

( ( L2CAP, PSM=RFCOMM ), ( RFCOMM, CN=2 ), ( PPP ), ( IP ), ( TCP ),
( IPP ) )

Synchronization Protocol Descriptor Example

( ( L2CAP, PSM=0x1001 ), ( RFCOMM, CN=1 ), ( Obex ), ( vCal ) )

( ( L2CAP, PSM=0x1003 ), ( RFCOMM, CN=1 ), ( Obex ),
( otherSynchronisationApplication ) )

5.1.6 AdditionalProtocolDescriptorList Attribute


 Attribute Name                               Attribute ID       Attribute Value Type

 AdditionalProtocolDescriptorList             0x000D             Data Element Sequence

Description:

The AdditionalProtocolDescriptorLists attribute contains a sequence of
ProtocolDescriptorList-elements. Each element having the same format as the
ProtocolDescriptorList described in section 5.1.5. The ordering of the elements
is significant and should be specified and fixed in Profiles that make use of this
attribute.

The AdditionalProtocolDescriptorLists attribute supports services that require
more channels in addition to the service described in Section 5.1.5. If the
AdditionalProtocolDescriptorLists attribute is included in a service record, the
ProtocolDescriptorList attribute must be included.

AdditionalProtocolDescriptorList Examples

The following is just an illustrative example and is not meant to refer a real
specified service or protocols.
Attribute          Attribute Value type                      Attribute Value

ProtocolDescriptorList

    ProtocolDescriptor #0DataElementSequence

            ProtocolID          UUID     L2CAP

            Param: PSM          PSM      FooDataProtocol

    ProtocolDescriptor #1DataElementSequence

              ProtocolID               UUID            FooDataProtocol



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AdditionalProtocolDescriptorLists

    ProtocolDescriptorList #0      DataElementSequence

    ProtocolDescriptor #0          DataElementSequence

                     ProtocolID    UUID            L2CAP

                      Param: PSM   PSM             FooControlProtocol

             ProtocolDescriptor #1DataElementSequence

                     ProtocolID    UUID            FooControlProtocol


5.1.7 BrowseGroupList Attribute


 Attribute Name                           Attribute ID     Attribute Value Type

 BrowseGroupList                          0x0005           Data Element Sequence

Description:

The BrowseGroupList attribute consists of a data element sequence in which
each element is a UUID that represents a browse group to which the service
record belongs. The top-level browse group ID, called PublicBrowseRoot and
representing the root of the browsing hierarchy, has the value 00001002-0000-
1000-8000-00805F9B34FB (UUID16: 0x1002) from the Bluetooth Assigned
Numbers document.

5.1.8 LanguageBaseAttributeIDList Attribute


 Attribute Name                           Attribute ID     Attribute Value Type

 LanguageBaseAttributeIDList              0x0006           Data Element Sequence

Description:

In order to support human-readable attributes for multiple natural languages in
a single service record, a base attribute ID is assigned for each of the natural
languages used in a service record. The human-readable universal attributes
are then defined with an attribute ID offset from each of these base values,
rather than with an absolute attribute ID.

The LanguageBaseAttributeIDList attribute is a list in which each member contains
a language identifier, a character encoding identifier, and a base attribute ID for
each of the natural languages used in the service record. The
LanguageBaseAttributeIDList attribute consists of a data element sequence in
which each element is a 16-bit unsigned integer. The elements are grouped as
triplets (threes).




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The first element of each triplet contains an identifier representing the natural
language. The language is encoded according to ISO 639:1988 (E/F): “Code
for the representation of names of languages”.

The second element of each triplet contains an identifier that specifies a
character encoding used for the language. Values for character encoding can
be found in IANA's database1, and have the values that are referred to as
MIBEnum values. The recommended character encoding is UTF-8.

The third element of each triplet contains an attribute ID that serves as the
base attribute ID for the natural language in the service record. Different
service records within a server may use different base attribute ID values for
the same language.

To facilitate the retrieval of human-readable universal attributes in a principal
language, the base attribute ID value for the primary language supported by a
service record shall be 0x0100. Also, if a LanguageBaseAttributeIDList
attribute is contained in a service record, the base attribute ID value contained
in its first element shall be 0x0100. If one or more human readable attributes
are contained in a service record, the LanguageBaseAttributeIDList attribute
should be included in that service record.

5.1.9 ServiceInfoTimeToLive Attribute


 Attribute Name                         Attribute ID      Attribute Value Type

 ServiceInfoTimeToLive                  0x0007            32-bit unsigned integer

Description:

The ServiceTimeToLive attribute is a 32-bit integer that contains the number of
seconds for which the information in a service record is expected to remain
valid and unchanged. This time interval is measured from the time that the
attribute value is retrieved from the SDP server. This value does not imply a
guarantee that the service record will remain available or unchanged. It is
simply a hint that a client can use to determine a suitable polling interval to re-
validate the service record contents.




1. See http://www.isi.edu/in-notes/iana/assignments/character-sets


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5.1.10 ServiceAvailability Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ServiceAvailability                    0x0008         8-bit unsigned integer

Description:
The ServiceAvailability attribute is an 8-bit unsigned integer that represents the
relative ability of the service to accept additional clients. A value of 0xFF
indicates that the service is not currently in use and is thus fully available, while
a value of 0x00 means that the service is not accepting new clients. For
services that support multiple simultaneous clients, intermediate values
indicate the relative availability of the service on a linear scale.
For example, a service that can accept up to 3 clients should provide
ServiceAvailability values of 0xFF, 0xAA, 0x55, and 0x00 when 0, 1, 2, and 3
clients, respectively, are utilizing the service. The value 0xAA is approximately (2/3)
* 0xFF and represents 2/3 availability, while the value 0x55 is approximately (1/
3)*0xFF and represents 1/3 availability. Note that the availability value is be
approximated as
    ( 1 - ( current_number_of_clients / maximum_number_of_clients ) ) * 0xFF
When the maximum number of clients is large, this formula must be modified to
ensure that ServiceAvailability values of 0x00 and 0xFF are reserved for their
defined meanings of unavailability and full availability, respectively.
Note that the maximum number of clients a service can support may vary
according to the resources utilized by the service's current clients.
A non-zero value for ServiceAvailability does not guarantee that the service will
be available for use. It should be treated as a hint or an approximation of
availability status.

5.1.11 BluetoothProfileDescriptorList Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 BluetoothProfileDescriptorList         0x0009         Data Element Sequence

Description:
The BluetoothProfileDescriptorList attribute consists of a data element
sequence in which each element is a profile descriptor that contains
information about a Bluetooth profile to which the service represented by this
service record conforms. Each profile descriptor is a data element sequence
whose first element is the UUID assigned to the profile and whose second
element is a 16-bit profile version number.



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Each version of a profile is assigned a 16-bit unsigned integer profile version
number, which consists of two 8-bit fields. The higher-order 8 bits contain the
major version number field and the lower-order 8 bits contain the minor version
number field. The initial version of each profile has a major version of 1 and a
minor version of 0. When upward compatible changes are made to the profile,
the minor version number will be incremented. If incompatible changes are
made to the profile, the major version number will be incremented.

5.1.12 DocumentationURL Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 DocumentationURL                       0x000A         URL

Description:

This attribute is a URL which points to documentation on the service described
by a service record.

5.1.13 ClientExecutableURL Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ClientExecutableURL                    0x000B         URL

Description:

This attribute contains a URL that refers to the location of an application that
can be used to utilize the service described by the service record. Since
different operating environments require different executable formats, a
mechanism has been defined to allow this single attribute to be used to locate
an executable that is appropriate for the client device’s operating environment.
In the attribute value URL, the first byte with the value 0x2A (ASCII character
‘*’) is to be replaced by the client application with a string representing the
desired operating environment before the URL is to be used.

The list of standardized strings representing operating environments is
contained in the Bluetooth Assigned Numbers document.

For example, assume that the value of the ClientExecutableURL attribute is
http://my.fake/public/*/client.exe. On a device capable of executing SH3
WindowsCE files, this URL would be changed to http://my.fake/public/sh3-
microsoft-wince/client.exe. On a device capable of executing Windows 98
binaries, this URL would be changed to http://my.fake/public/i86-microsoft-
win98/client.exe.




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5.1.14 IconURL Attribute


 Attribute Name                                  Attribute ID      Attribute Value Type

 IconURL                                         0x000C            URL

Description:

This attribute contains a URL that refers to the location of an icon that can be
used to represent the service described by the service record. Since different
hardware devices require different icon formats, a mechanism has been
defined to allow this single attribute to be used to locate an icon that is
appropriate for the client device. In the attribute value URL, the first byte with
the value 0x2A (ASCII character ‘*’) is to be replaced by the client application
with a string representing the desired icon format before the URL is to be used.

The list of standardized strings representing icon formats is contained in the
Bluetooth Assigned Numbers document.

For example, assume that the value of the IconURL attribute is http://my.fake/
public/icons/*. On a device that prefers 24 x 24 icons with 256 colors, this URL
would be changed to http://my.fake/public/icons/24x24x8.png. On a device that
prefers 10 x 10 monochrome icons, this URL would be changed to http://
my.fake/public/icons/10x10x1.png.

5.1.15 ServiceName Attribute


 Attribute Name                 Attribute ID Offset       Attribute Value Type

 ServiceName                    0x0000                    String

Description:

The ServiceName attribute is a string containing the name of the service
represented by a service record. It should be brief and suitable for display with
an Icon representing the service. The offset 0x0000 is added to the attribute ID
base (contained in the LanguageBaseAttributeIDList attribute) in order to
compute the attribute ID for this attribute.




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5.1.16 ServiceDescription Attribute


 Attribute Name                    Attribute ID Offset     Attribute Value Type

 ServiceDescription                0x0001                  String

Description:

This attribute is a string containing a brief description of the service. It should
be less than 200 characters in length. The offset 0x0001 is added to the
attribute ID base (contained in the LanguageBaseAttributeIDList attribute) in
order to compute the attribute ID for this attribute.

5.1.17 ProviderName Attribute


 Attribute Name                 Attribute ID Offset      Attribute Value Type

 ProviderName                   0x0002                   String

Description:

This attribute is a string containing the name of the person or organization
providing the service. The offset 0x0002 is added to the attribute ID base
(contained in the LanguageBaseAttributeIDList attribute) in order to compute
the attribute ID for this attribute.

5.1.18 Reserved Universal Attribute IDs

Attribute IDs in the range of 0x000E – 0x01FF are reserved for use by SDP, if
allocated the assigned numbers document will be updated.




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5.2 SERVICEDISCOVERYSERVER SERVICE CLASS
ATTRIBUTE DEFINITIONS
This service class describes service record that contains attributes of the
service discovery server itself. The attributes listed in this section are only valid
if the ServiceClassIDList attribute contains the
ServiceDiscoveryServerServiceClassID. All of the universal attributes may be
included in service records of the ServiceDiscoveryServer class.

5.2.1 ServiceRecordHandle Attribute

Described in the universal attribute definition for ServiceRecordHandle.

Value

A 32-bit integer with the value 0x00000000.

5.2.2 ServiceClassIDList Attribute

Described in the universal attribute definition for ServiceClassIDList.

Value

A UUID representing the ServiceDiscoveryServerServiceClassID.

5.2.3 VersionNumberList Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 VersionNumberList                      0x0200         Data Element Sequence

Description:

The VersionNumberList is a data element sequence in which each element of
the sequence is a version number supported by the SDP server.

A version number is a 16-bit unsigned integer consisting of two fields. The
higher-order 8 bits contain the major version number field and the low-order 8
bits contain the minor version number field. The initial version of SDP has a
major version of 1 and a minor version of 0. When upward compatible changes
are made to the protocol, the minor version number will be incremented. If
incompatible changes are made to SDP, the major version number will be
incremented. This guarantees that if a client and a server support a common
major version number, they can communicate if each uses only features of the
specification with a minor version number that is supported by both client and
server.




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5.2.4 ServiceDatabaseState Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 ServiceDatabaseState                   0x0201         32-bit unsigned integer

Description:

The ServiceDatabaseState is a 32-bit integer that is used to facilitate caching
of service records. If this attribute exists, its value shall be changed when any
of the other service records are added to or deleted from the server's database.
If this value has not changed since the last time a client queried its value, the
client knows that a) none of the other service records maintained by the SDP
server have been added or deleted; and b) any service record handles
acquired from the server are still valid. A client shall query this attribute's value
when a connection to the server is established, prior to using any service
record handles acquired during a previous connection.

Note that the ServiceDatabaseState attribute does not change when existing
service records are modified, including the addition, removal, or modification of
service attributes. A service record's ServiceRecordState attribute indicates
when that service record is modified.

5.2.5 Reserved Attribute IDs

Attribute IDs in the range of 0x0202-0x02FF are reserved for future use.




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5.3 BROWSEGROUPDESCRIPTOR SERVICE CLASS
    ATTRIBUTE DEFINITIONS
This service class describes the ServiceRecord provided for each
     BrowseGroupDescriptor service offered on a Bluetooth device. The
     attributes listed in this section are only valid if the ServiceClassIDList
     attribute contains the BrowseGroupDescriptorServiceClassID. Note that
     all of the universal attributes may be included in service records of the
     BrowseGroupDescriptor class.

5.3.1 ServiceClassIDList Attribute

Described in the universal attribute definition for ServiceClassIDList.

Value

A UUID representing the BrowseGroupDescriptorServiceClassID.

5.3.2 GroupID Attribute


 Attribute Name                         Attribute ID   Attribute Value Type

 GroupID                                0x0200         UUID

Description:

This attribute contains a UUID that can be used to locate services that are
members of the browse group that this service record describes.

5.3.3 Reserved Attribute IDs

Attribute IDs in the range of 0x0201-0x02FF are reserved for future use.




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6 SECURITY

In Security Mode 4, SDP should use no security but may use security (an
authenticated or unauthenticated link key with encryption). See [Vol 3] Part C,
Section 5.2.2).




Security                                                            06 December 2016
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APPENDIX A BACKGROUND INFORMATION

A.1 SERVICE DISCOVERY
As computing continues to move to a network-centric model, finding and
making use of services that may be available in the network becomes
increasingly important. Services can include common ones such as printing,
paging, FAXing, and so on, as well as various kinds of information access such
as teleconferencing, network bridges and access points, eCommerce facilities,
and so on — most any kind of service that a server or service provider might
offer. In addition to the need for a standard way of discovering available
services, there are other considerations: getting access to the services (finding
and obtaining the protocols, access methods, “drivers” and other code
necessary to utilize the service), controlling access to the services, advertising
the services, choosing among competing services, billing for services, and so
on. This problem is widely recognized; many companies, standards bodies and
consortia are addressing it at various levels in various ways. Service Location
Protocol (SLP), Jini™, and Salutation™, to name just a few, all address some
aspect of service discovery.

A.2 BLUETOOTH SERVICE DISCOVERY
Bluetooth Service Discovery Protocol (SDP) addresses service discovery
specifically for the Bluetooth environment. It is optimized for the highly dynamic
nature of Bluetooth communications. SDP focuses primarily on discovering
services available from or through Bluetooth devices. SDP does not define
methods for accessing services; once services are discovered with SDP, they
can be accessed in various ways, depending upon the service. This might
include the use of other service discovery and access mechanisms such as
those mentioned above; SDP provides a means for other protocols to be used
along with SDP in those environments where this can be beneficial. While SDP
can coexist with other service discovery protocols, it does not require them. In
Bluetooth environments, services can be discovered using SDP and can be
accessed using other protocols defined by Bluetooth.




Appendix A: Background Information                                    06 December 2016
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APPENDIX B EXAMPLE SDP TRANSACTIONS

The following are simple examples of typical SDP transactions. These are
meant to be illustrative of SDP flows. The examples do not consider:
• Caching (in a caching system, the SDP client would make use of the
  ServiceRecordState and ServiceDatabaseState attributes);
• Service availability (if this is of interest, the SDP client should use the
  ServiceAvailability and/or ServiceTimeToLive attributes);
• SDP versions (the VersionNumberList attribute could be used to determine
  compatible SDP versions);
• SDP Error Responses (an SDP error response is possible for any SDP
  request that is in error); and
• Communication connection (the examples assume that an L2CAP
  connection is established).

The examples are meant to be illustrative of the protocol. The format used is
ObjectName[ObjectSizeInBytes] {SubObjectDefinitions}, but
this is not meant to illustrate an interface. The ObjectSizeInBytes is the
size of the object in decimal. The SubObjectDefinitions (inside of {}
characters) are components of the immediately enclosing object. Hexadecimal
values shown as lower-case letters, such as for transaction IDs and service
handles, are variables (the particular value is not important for the illustration,
but each such symbol always represents the same value). Comments are
included in this manner: /* comment text */

Numeric values preceded by “0x” are hexadecimal, while those preceded by
“0b” are binary. All other numeric values are decimal.

B.1 SDP EXAMPLE 1 – ServiceSearchRequest
The first example is that of an SDP client searching for a generic printing
service. The client does not specify a particular type of printing service. In the
example, the SDP server has two available printing services. The transaction
illustrates:
1. SDP client to SDP server: SDP_ServiceSearchRequest, specifying the
   PrinterServiceClassID (represented as a DataElement with a 32-bit UUID
   value of ppp...ppp) as the only element of the ServiceSearchPattern. The
   PrinterServiceClassID is assumed to be a 32-bit UUID and the data element
   type for it is illustrated. The TransactionID is illustrated as tttt.
2. SDP server to SDP client: SDP_ServiceSearchResponse, returning handles
   to two printing services, represented as qqqqqqqq for the first printing
   service and rrrrrrrr for the second printing service. The Transaction ID is
   the same value as supplied by the SDP client in the corresponding request
   (ττττ).


Appendix B: Example SDP Transactions                                    06 December 2016
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/* Sent from SDP Client to SDP server */
SDP_ServiceSearchRequest[15] {
  PDUID[1] {
    0x02
  }
  TransactionID[2] {
    0xtttt
  }
  ParameterLength[2] {
    0x000A
  }
  ServiceSearchPattern[7] {
    DataElementSequence[7] {
      0b00110 0b101 0x05
      UUID[5] {
         /* PrinterServiceClassID */
         0b00011 0b010 0xpppppppp
      }
    }
  }
  MaximumServiceRecordCount[2] {
    0x0003
  }
  ContinuationState[1] {
    /* no continuation state */
    0x00
  }
}


/* Sent from SDP server to SDP client */
SDP_ServiceSearchResponse[18] {
  PDUID[1] {
    0x03
  }
  TransactionID[2] {
    0xtttt
  }
  ParameterLength[2] {
    0x000D
  }
  TotalServiceRecordCount[2] {
    0x0002
  }
  CurrentServiceRecordCount[2] {
    0x0002
  }
  ServiceRecordHandleList[8] {
    /* print service 1 handle */
    0xqqqqqqqq
    /* print service 2 handle */
    0xrrrrrrrr
  }
  ContinuationState[1] {
    /* no continuation state */


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        0x00
    }
}



B.2 SDP EXAMPLE 2 – ServiceAttributeTransaction
The second example continues the first example. In Example 1, the SDP client
obtained handles to two printing services. In Example 2, the client uses one of
those service handles to obtain the ProtocolDescriptorList attribute for that
printing service. The transaction illustrates:
1. SDP client to SDP server: SDP_ServiceAttributeRequest, presenting the
   previously obtained service handle (the one denoted as qqqqqqqq) and
   specifying the ProtocolDescriptorList attribute ID (AttributeID 0x0004) as the
   only attribute requested (other attributes could be retrieved in the same
   transaction if desired). The TransactionID is illustrated as uuuu to distin-
   guish it from the TransactionID of Example 1.
2. SDP server to SDP client: SDP_ServiceAttributeResponse, returning the
   ProtocolDescriptorList for the specified printing service. This protocol stack
   is assumed to be ( (L2CAP), (RFCOMM, 2), (PostscriptStream) ). The
   ProtocolDescriptorList is a data element sequence in which each element is,
   in turn, a data element sequence whose first element is a UUID representing
   the protocol, and whose subsequent elements are protocol-specific
   parameters. In this example, one such parameter is included for the
   RFCOMM protocol, an 8-bit value indicating RFCOMM server channel 2.
   The Transaction ID is the same value as supplied by the SDP client in the
   corresponding request (uuuu). The Attributes returned are illustrated as a
   data element sequence where the protocol descriptors are 32-bit UUIDs and
   the RFCOMM server channel is a data element with an 8-bit value of 2.


 /* Sent from SDP Client to SDP server */
SDP_ServiceAttributeRequest[17] {
  PDUID[1] {
    0x04
  }
  TransactionID[2] {
    0xuuuu
  }
  ParameterLength[2] {
    0x000C
  }
  ServiceRecordHandle[4] {
    0xqqqqqqqq
  }
  MaximumAttributeByteCount[2] {
    0x0080
  }
  AttributeIDList[5] {
    DataElementSequence[5] {


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         0b00110 0b101 0x03
         AttributeID[3] {
           0b00001 0b001 0x0004
         }
      }
    }
    ContinuationState[1] {
      /* no continuation state */
      0x00
    }
}

/* Sent from SDP server to SDP client */
SDP_ServiceAttributeResponse[38] {
  PDUID[1] {
    0x05
  }
  TransactionID[2] {
    0xuuuu
  }
  ParameterLength[2] {
    0x0021
  }
  AttributeListByteCount[2] {
    0x001E
  }
  AttributeList[30] {
    DataElementSequence[30] {
      0b00110 0b101 0x1C
      Attribute[28] {
         AttributeID[3] {
           0b00001 0b001 0x0004
         }
         AttributeValue[25] {
           /* ProtocolDescriptorList */
           DataElementSequence[25] {
             0b00110 0b101 0x17
             /* L2CAP protocol descriptor */
             DataElementSequence[7] {
               0b00110 0b101 0x05
               UUID[5] {
                 /* L2CAP Protocol UUID */
                 0b00011 0b010 <32-bit L2CAP UUID>
               }
             }
             /* RFCOMM protocol descriptor */
             DataElementSequence[9] {
               0b00110 0b101 0x07
               UUID[5] {
                 /* RFCOMM Protocol UUID */
                 0b00011 0b010 <32-bit RFCOMM UUID>
               }
               /* parameter for server 2 */
               Uint8[2] {
                 0b00001 0b000 0x02
               }
             }

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                      /* PostscriptStream protocol descriptor */
                      DataElementSequence[7] {
                        0b00110 0b101 0x05
                        UUID[5] {
                          /* PostscriptStream Protocol UUID */
                          0b00011 0b010 <32-bit PostscriptStream UUID>
                        }
                      }
                  }
              }
          }
      }
    }
    ContinuationState[1] {
      /* no continuation state */
      0x00
    }
}


B.3 SDP EXAMPLE 3 – ServiceSearchAttributeTransaction
The third example is a form of service browsing, although it is not generic
browsing in that it does not make use of SDP browse groups. Instead, an SDP
client is searching for available Synchronization services that can be presented
to the user for selection. The SDP client does not specify a particular type of
synchronization service. In the example, the SDP server has three available
synchronization services: an address book synchronization service and a
calendar synchronization service (both from the same provider), and a second
calendar synchronization service from a different provider. The SDP client is
retrieving the same attributes for each of these services; namely, the data
formats supported for the synchronization service (vCard, vCal, ICal, etc.) and
those attributes that are relevant for presenting information to the user about
the services. Also assume that the maximum size of a response is 400 bytes.
Since the result is larger than this, the SDP client will repeat the request
supplying a continuation state parameter to retrieve the remainder of the
response. The transaction illustrates:
1. SDP client to SDP server: SDP_ServiceSearchAttributeRequest, specifying
   the generic SynchronisationServiceClassID (represented as a data element
   whose 32-bit UUID value is sss...sss) as the only element of the Service-
   SearchPattern. The SynchronisationServiceClassID is assumed to be a 32-
   bit UUID. The requested attributes are the ServiceRecordHandle (Attribute
   ID 0x0000), ServiceClassIDList (AttributeID 0x0001), IconURL (AttributeID
   0x000C), ServiceName (AttributeID 0x0100), ServiceDescription (Attribu-
   teID 0x0101), and ProviderName (AttributeID 0x0102) attributes; as well as
   the service-specific SupportedDataStores (AttributeID 0x0301). Since the
   first two attribute IDs (0x0000 and 0x0001) and three other attribute
   IDs(0x0100, 0x0101, and 0x0102 are consecutive, they are specified as
   attribute ranges. The TransactionID is illustrated as vvvv to distinguish it
   from the TransactionIDs of the other Examples.



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   Note that values in the service record’s primary language are requested for
   the text attributes (ServiceName, ServiceDescription and ProviderName) so
   that absolute attribute IDs may be used, rather than adding offsets to a base
   obtained from the LanguageBaseAttributeIDList attribute.
2. SDP server to SDP client: SDP_ServiceSearchAttributeResponse, returning
   the specified attributes for each of the three synchronization services. In the
   example, each ServiceClassIDList is assumed to contain a single element,
   the generic SynchronisationServiceClassID (a 32-bit UUID represented as
   sss...sss). Each of the other attributes contain illustrative data in the
   example (the strings have illustrative text; the icon URLs are illustrative, for
   each of the respective three synchronization services; and the
   SupportedDataStore attribute is represented as an unsigned 8-bit integer
   where 0x01 = vCard2.1, 0x02 = vCard3.0, 0x03 = vCal1.0 and 0x04 = iCal).
   Note that one of the service records (the third for which data is returned) has
   no ServiceDescription attribute. The attributes are returned as a data
   element sequence, where each element is in turn a data element sequence
   representing a list of attributes. Within each attribute list, the
   ServiceClassIDList is a data element sequence while the remaining
   attributes are single data elements. The Transaction ID is the same value as
   supplied by the SDP client in the corresponding request (0xvvvv). Since the
   entire result cannot be returned in a single response, a non-null continuation
   state is returned in this first response.
3. Note that the total length of the initial data element sequence (487 in the
   example) is indicated in the first response, even though only a portion of this
   data element sequence (368 bytes in the example, as indicated in the
   AttributeLists byte count) is returned in the first response. The remainder of
   this data element sequence is returned in the second response (without an
   additional data element header).
4. SDP client to SDP server: SDP_ServiceSearchAttributeRequest, with the
   same parameters as in step 1, except that the continuation state received
   from the server in step 2 is included as a request parameter. The
   TransactionID is changed to 0xwww to distinguish it from previous request.
5. SDP server to SDP client: SDP_ServiceSearchAttributeResponse, with the
   remainder of the result computed in step 2 above. Since all of the remaining
   result fits in this second response, a null continuation state is included.

/* Part 1 -- Sent from SDP Client to SDP server */
SdpSDP_ServiceSearchAttributeRequest[33] {
  PDUID[1] {
    0x06
  }
  TransactionID[2] {
    0xvvvv
  }
  ParameterLength[2] {
    0x001C


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  }
  ServiceSearchPattern[7] {
    DataElementSequence[7] {
      0b00110 0b101 0x05
      UUID[5] {
         /* SynchronisationServiceClassID */
         0b00011 0b010 0xssssssss
      }
    }
  }
  MaximumAttributeByteCount[2] {
    0x0190
  }
AttributeIDList[18] {
    DataElementSequence[18] {
      0b00110 0b101 0x10
      AttributeIDRange[5] {
         0b00001 0b010 0x00000001
      }
      AttributeID[3] {
         0b00001 0b001 0x000C
      }
      AttributeIDRange[5] {
         0b00001 0b010 0x01000102
      }
      AttributeID[3] {
         0b00001 0b001 0x0301
      }     }
  }
  ContinuationState[1] {
    /* no continuation state */
    0x00
  }
}

/* Part 2 -- Sent from SDP server to SDP client */
SdpSDP_ServiceSearchAttributeResponse[384] {
  PDUID[1] {
    0x07
  }
  TransactionID[2] {
    0xvvvv
  }
  ParameterLength[2] {
    0x017B
  }
  AttributeListByteCount[2] {
    0x0170
  }
  AttributeLists[368] {
    DataElementSequence[487] {
      0b00110 0b110 0x01E4
      DataElementSequence[178] {
         0b00110 0b101 0xB0
         Attribute[8] {
           AttributeID[3] {
             0b00001 0b001 0x0000

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               }
               AttributeValue[5] {
                 /* service record handle */
                 0b00001 0b010 0xhhhhhhhh
               }
        }
        Attribute[10] {
          AttributeID[3] {
            0b00001 0b001 0x0001
          }
AttributeValue[7] {
            DataElementSequence[7] {
              0b00110 0b101 0x05
              UUID[5] {
                /* SynchronisationServiceClassID */
                0b00011 0b010 0xssssssss
              }
            }
          }
        }
        Attribute[35] {
          AttributeID[3] {
            0b00001 0b001 0x000C
          }
          AttributeValue[32] {
            /* IconURL; '*' replaced by client application */
            0b01000 0b101 0x1E
            "http://Synchronisation/icons/*"
          }
        }
        Attribute[22] {
          AttributeID[3] {
            0b00001 0b001 0x0100
          }
          AttributeValue[19] {
            /* service name */
            0b00100 0b101 0x11
            "Address Book Sync"
          }
        }
        Attribute[59] {
          AttributeID[3] {
            0b00001 0b001 0x0101
          }
          AttributeValue[56] {
            /* service description */
            0b00100 0b101 0x36
            "Synchronisation Service for"
            " vCard Address Book Entries"
          }
        }
        Attribute[37] {
          AttributeID[3] {
            0b00001 0b001 0x0102
          }
          AttributeValue[34] {
            /* service provider */

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                  0b00100 0b101 0x20
                  "Synchronisation Specialists Inc."
              }
            }
            Attribute[5] {
              AttributeID[3] {
                0b00001 0b001 0x0301
              }
              AttributeValue[2] {
                /* Supported Data Store ’phonebook’ */
                0b00001 0b000 0x01
              }
            }
         }
         DataElementSequence[175] {
           0b00110 0b101 0xAD
           Attribute[8] {
             AttributeID[3] {
               0b00001 0b001 0x0000
             }
             AttributeValue[5] {
               /* service record handle */
               0b00001 0b010 0xmmmmmmmm
             }
           }
           Attribute[10] {
             AttributeID[3] {
               0b00001 0b001 0x0001
             }
                       AttributeValue[7] {
               DataElementSequence[7] {
                 0b00110 0b101 0x05
                 UUID[5] {
                   /* SynchronisationServiceClassID */
                   0b00011 0b010 0xssssssss
                 }
               }
             }
           }
           Attribute[35] {
             AttributeID[3] {
               0b00001 0b001 0x000C
             }
             AttributeValue[32] {
               /* IconURL; '*' replaced by client application */
               0b01000 0b101 0x1E
               "http://Synchronisation/icons/*"
             }
           }
           Attribute[21] {
             AttributeID[3] {
               0b00001 0b001 0x0100
             }
             AttributeValue[18] {
               /* service name */
               0b00100 0b101 0x10
               "Appointment Sync"

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              }
            }
            Attribute[57] {
              AttributeID[3] {
                0b00001 0b001 0x0101
              }
              AttributeValue[54] {
                /* service description */
                0b00100 0b101 0x34
                "Synchronisation Service for"
                " vCal Appointment Entries"
              }
            }
            Attribute[37] {
              AttributeID[3] {
                0b00001 0b001 0x0102
              }
              AttributeValue[34] {
                /* service provider */
                0b00100 0b101 0x20
                "Synchronisation Specialists Inc."
              }
            }
            Attribute[5] {
              AttributeID[3] {
                0b00001 0b001 0x0301
              }
              AttributeValue[2] {
                /* Supported Data Store ’calendar’ */
                0b00001 0b000 0x03
              }
            }
        }
      /* } Data element sequence of attribute lists */
      /* is not completed in this PDU. */
    }
    ContinuationState[9] {
      /* 8 bytes of continuation state */
      0x08 0xzzzzzzzzzzzzzzzz
    }
}

/* Part 3 -- Sent from SDP Client to SDP server */
SdpSDP_ServiceSearchAttributeRequest[41] {
  PDUID[1] {
    0x06
  }
  TransactionID[2] {
    0xwwww
  }
  ParameterLength[2] {
    0x0024
  }
  ServiceSearchPattern[7] {
    DataElementSequence[7] {
      0b00110 0b101 0x05
      UUID[5] {

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              /* SynchronisationServiceClassID */
              0b00011 0b010 0xssssssss
          }
      }
    }
    MaximumAttributeByteCount[2] {
      0x0180
    }
      AttributeIDList[18] {
      DataElementSequence[18] {
        0b00110 0b101 0x10
        AttributeIDRange[5] {
          0b00001 0b010 0x00000001
        }
        AttributeID[3] {
          0b00001 0b001 0x000C
        }
        AttributeIDRange[5] {
          0b00001 0b010 0x01000102
        }
        AttributeID[3] {
          0b00001 0b001 0x0301
        }
      }
    }
    ContinuationState[9] {
      /* same 8 bytes of continuation state */
      /* received in part 2 */
      0x08 0xzzzzzzzzzzzzzzzz
    }
}

Part 4 -- Sent from SDP server to SDP client

SdpSDP_ServiceSearchAttributeResponse[115] {
  PDUID[1] {
    0x07
  }
  TransactionID[2] {
    0xwwww
  }
  ParameterLength[2] {
    0x006E
  }
  AttributeListByteCount[2] {
    0x006B
  }
  AttributeLists[107] {
    /* Continuing the data element sequence of */
    /* attribute lists begun in Part 2. */
      DataElementSequence[107] {
         0b00110 0b101 0x69
         Attribute[8] {
           AttributeID[3] {
             0b00001 0b001 0x0000
           }
           AttributeValue[5] {

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                  /* service record handle */
                  0b00001 0b010 0xffffffff
              }
            }
            Attribute[10] {
              AttributeID[3] {
                0b00001 0b001 0x0001
              }
              AttributeValue[7] {
                DataElementSequence[7] {
                  0b00110 0b101 0x05
                  UUID[5] {
                    /* SynchronisationServiceClassID */
                    0b00011 0b010 0xssssssss
                  }
                }
              }
            }
            Attribute[35] {
              AttributeID[3] {
                0b00001 0b001 0x000C
              }
              AttributeValue[32] {
                /* IconURL; '*' replaced by client application */
                0b01000 0b101 0x1E
                "http://DevManufacturer/icons/*"
              }
            }
            Attribute[18] {
              AttributeID[3] {
                0b00001 0b001 0x0100
              }
              AttributeValue[15] {
                /* service name */
                0b00100 0b101 0x0D
                "Calendar Sync"
              }
            }
            Attribute[29] {
              AttributeID[3] {
                0b00001 0b001 0x0102
              }
              AttributeValue[26] {
                /* service provider */
                0b00100 0b101 0x18
                "Device Manufacturer Inc."
              }
            }
            Attribute[5] {
              AttributeID[3] {
                0b00001 0b001 0x0301
              }
              AttributeValue[2] {
                /* Supported Data Store ’calendar’ */
                0b00001 0b000 0x03
              }
            }

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        }
      /* This completes the data element sequence */
      /* of attribute lists begun in Part 2. */
    }
    ContinuationState[1] {
      /* no continuation state */
      0x00
    }
}




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                   Core System Package [Host volume]
                                              Part C




                PART C: GENERIC ACCESS
                               PROFILE




                          This profile defines the generic
                          procedures related to discovery of
                          Bluetooth devices (idle mode
                          procedures) and link management
                          aspects of connecting to Bluetooth
                          devices (connecting mode
                          procedures). It also defines procedures
                          related to use of different security
                          levels. In addition, this profile includes
                          common format requirements for
                          parameters accessible on the user
                          interface level.




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FOREWORD

Interoperability between devices from different manufacturers is provided for a
specific service and use case, if the devices conform to a Bluetooth SIG-
defined profile specification. A profile defines a selection of messages and
procedures (generally termed capabilities) from the Bluetooth SIG
specifications and gives a description of the air interface for specified
service(s) and use case(s).

All defined features are process-mandatory. This means that, if a feature is
used, it is used in a specified manner. Whether the provision of a feature is
mandatory or optional is stated separately for both sides of the Bluetooth air
interface.




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Generic Access Profile


1 INTRODUCTION

1.1 SCOPE
The purpose of the Generic Access Profile is:

To introduce definitions, recommendations and common requirements related
to modes and access procedures that are to be used by transport and
application profiles.

To describe how devices are to behave in standby and connecting states in
order to guarantee that links and channels always can be established between
Bluetooth devices, and that multi-profile operation is possible. Special focus is
put on discovery, link establishment and security procedures.

To state requirements on user interface aspects, mainly coding schemes and
names of procedures and parameters, that are needed to guarantee a
satisfactory user experience.

This profile defines three device types based on the supported Core
Configurations as defined in [Vol 0] Part B, Section 3.1. The device types are
shown in Table 1.1:

 Device Type              Description

 BR/EDR                   Devices that support the “Basic Rate” Core Configuration (see [Vol
                          0] Part B, Section 4.1)

 LE only                  Devices that support the “Low Energy” Core Configuration (see
                          [Vol 0] Part B, Section 4.4)
 BR/EDR/LE                Devices that support the “Basic Rate and Low Energy Combined”
                          Core Configuration (see [Vol 0] Part B, Section 4.5)
Table 1.1: Device Types

The terms physical transport, physical link and physical channel as defined in
[Vol 1] Part A, Section 3 are used in this specification.

The requirements for device types are shown in Table 1.2.



 Device Types                           Sections                 Support

 BR/EDR                                 1-8, 12, 15-18           C1
 LE-only                                1-3, 9-12, 15-18         C1
 BR/EDR/LE                              1-18                     C1

 C1: Mandatory to support only one device type
Table 1.2: Requirements for device types

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1.2 SYMBOLS AND CONVENTIONS

1.2.1 Requirement Status Symbols

In this document (especially in the profile requirements tables), the following
symbols are used:

‘M’ for mandatory to support (used for capabilities that shall be used in the
profile);

’O’ for optional to support (used for capabilities that can be used in the profile);

‘C’ for conditional support (used for capabilities that shall be used in case a
certain other capability is supported);

‘E’ for excluded within profile role (used for capabilities that may be supported
by the unit but shall never be used in the profile role);

’N/A’ for not applicable (in the given context it is impossible to use this
capability).

Some excluded capabilities are capabilities that, according to the relevant
Bluetooth specification, are mandatory. These are features that may degrade
operation of devices following this profile. Therefore, these features shall never
be activated while a unit is operating as a unit within this profile.

In this specification, the word shall is used for mandatory requirements, the
word should is used to express recommendations and the word may is used for
options.




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1.2.2 Signaling diagram conventions

The following arrows are used in diagrams describing procedures:

                              A                       B



                                            PROC 1



                                            PROC 2




                                            PROC 3



                                            PROC 4




                                            PROC 5


                                            MSG 1


                                            MSG 2


                                            MSG 3


                                            MSG 4




Figure 1.1: Arrows used in signaling diagrams


In Figure 1.1, the following cases are shown: PROC1 is a sub-procedure
initiated by B. PROC2 is a sub-procedure initiated by A. PROC3 is a sub-
procedure where the initiating side is undefined (may be both A or B). Dashed
arrows denote optional steps. PROC4 indicates an optional sub-procedure
initiated by A, and PROC5 indicates an optional sub-procedure initiated by B.

MSG1 is a message sent from B to A. MSG2 is a message sent from A to B.
MSG3 indicates an optional message from A to B, and MSG4 indicates a
conditional message from B to A.




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1.2.3 Notation for Timers and Counters

Timers are introduced specific to this profile. To distinguish them from timers
used in the Bluetooth protocol specifications and other profiles, these timers
are named in the following format: ’TGAP(nnn)’.

1.2.4 Notation for UUIDs

The use of « » (e.g. «Device Name») indicates a Bluetooth SIG-defined UUID.




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2 PROFILE OVERVIEW

2.1 PROFILE STACK


                         GAP                                     Generic Attribute Profile
                                                                         (GATT)
                                                Security
                                                Manager
                   SDP                           (SM)             Attribute Protocol (ATT)


                         Logical Link Control and Adaptation Protocol (L2CAP)



         Link Manager Protocol (LMP)                           Link Layer (LL)


Figure 2.1: Relationship of GAP with lower layers of the Bluetooth architecture


The purpose of this profile is to describe:
• Profile roles
• Discoverability modes and procedures
• Connection modes and procedures
• Security modes and procedures




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2.2 PROFILE ROLES

2.2.1 Roles when Operating over BR/EDR Physical Transport

In GAP, for describing the Bluetooth communication that occurs between two
devices in the BR/EDR GAP role, the generic notation of the A-party (the
paging device in case of link establishment, or initiator in case of another
procedure on an established link) and the B-party (paged device or acceptor) is
used. The A-party is the one that, for a given procedure, initiates device
discovery, initiates the establishment of a physical link or initiates a transaction
on an existing link.

This profile handles the procedures between two devices related to discovery
and connecting (link and connection establishment) for the case where none of
the two devices has any link established as well as the case where (at least)
one device has a link established (possibly to a third device) before starting the
described procedure.



            A                                         B




                                                                                   A or C

            B                                         A


Figure 2.2: This profile covers procedures initiated by one device (A) towards another device (B)
that may or may not have an existing Bluetooth link active


The initiator and the acceptor generally operate the generic procedures
according to this profile or another profile referring to this profile. If the acceptor
operates according to several profiles simultaneously, this profile describes
generic mechanisms for how to handle this.

2.2.2 Roles when Operating over an LE Physical Transport

There are four GAP roles defined for devices operating over an LE physical
transport:
• Broadcaster
• Observer
• Peripheral
• Central

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Table 2.1 defines compliance requirements for Physical Layer and Link Layer
functionalities for each GAP role when operating over an LE physical transport.



                                               GAP Roles When Operating Over an
                                                    LE Physical Transport

                                        Broadcaster      Observer     Peripheral     Central

 Physical Layer functionality:

 • Transmitter Characteristics                M              O            M              M
 • Receiver Characteristics                   O              M            M              M
 Link Layer functionality:

 States:

 • Standby State                              M              M            M              M

 • Advertising State                          M              E            M              E
 • Scanning State                              E             M             E             M
 • Initiating State                            E             E             E             M

                         Slave Role            E             E            M              E
 • Connection State
                         Master Role           E             E             E             M
 Advertising event types:

 • Connectable and scannable
                                               E             E            M              E
   undirected event
 • Connectable undirected event                E             E            O              E
 • Connectable directed event                  E             E            O              E

 • Non-connectable and non-scanna-            M              E            O              E
   ble undirected event
 • Non-connectable and non-                   O              E            O              E
   scannable directed event
 • Scannable undirected event                 O              E            O              E

 • Scannable directed event                   O              E            O              E
 Scanning type:

 • Passive scanning                            E             M             E             O

 • Active scanning                             E             O             E            C1
 Link Layer control procedures:

 • Connection Update procedure                 E             E            M              M

 • Channel Map Update procedure                E             E            M              M
Table 2.1: GAP compliance requirements for Physical Layer and Link Layer functionalities for
each GAP role when operating over an LE physical transport

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                                                GAP Roles When Operating Over an
                                                     LE Physical Transport

                                         Broadcaster      Observer     Peripheral      Central

 • Encryption procedure                        E               E            O              O
 • Master-initiated Feature Exchange           E               E            M              M
   procedure
 • Slave-initiated Feature Exchange            E               E            C2             C2
   procedure

 • Connection Parameters Request               E               E            O              O
   procedure
 • Version Exchange procedure                  E               E            M              M
 • Termination procedure                       E               E            M              M

 C1: If passive scanning is supported then active scanning is optional, otherwise active
     scanning is mandatory.
 C2: Mandatory if Connection Parameters Request procedure is supported, otherwise optional.
Table 2.1: GAP compliance requirements for Physical Layer and Link Layer functionalities for
each GAP role when operating over an LE physical transport

2.2.2.1 Broadcaster Role

A device operating in the Broadcaster role is a device that sends advertising
events as described in [Vol 6] Part B, Section 4.4.2. A device operating in the
Broadcaster role is referred to as a Broadcaster and shall have a transmitter
and may have a receiver.

2.2.2.2 Observer Role

A device operating in the Observer role is a device that receives advertising
events as described in [Vol 6] Part B, Section 4.4.3. A device operating in the
Observer role is referred to as an Observer and shall have a receiver and may
have a transmitter.

2.2.2.3 Peripheral Role

Any device that accepts the establishment of an LE active physical link using
any of the connection establishment procedures as defined in Section 9 is
referred to as being in the Peripheral role. A device operating in the Peripheral
role will be in the Slave role in the Link Layer Connection State as described in
[Vol 6] Part B, Section 4.5. A device operating in the Peripheral role is referred
to as a Peripheral. A Peripheral shall have both a transmitter and a receiver.




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2.2.2.4 Central Role

A device that supports the Central role initiates the establishment of an LE
active physical link. A device operating in the Central role will be in the Master
role in the Link Layer Connection State as described in [Vol 6] Part B, Section
4.5. A device operating in the Central role is referred to as a Central. A Central
shall have both a transmitter and a receiver.

2.2.2.5 Concurrent Operation in Multiple GAP Roles

A device may operate in multiple GAP roles concurrently if supported by the
Controller. The Host should read the supported Link Layer States and State
combinations from the Controller before any procedures or modes are used.




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2.3 USER REQUIREMENTS AND SCENARIOS
The Bluetooth user should, where expected, be able to connect a Bluetooth
device to any other Bluetooth device. Even if the two connected devices don’t
share any common application, it should be possible for the user to find this out
using basic Bluetooth capabilities. When the two devices do share the same
application but are from different manufacturers, the ability to connect them
should not be blocked just because manufacturers choose to call basic
Bluetooth capabilities by different names on the user interface level or
implement basic procedures to be executed in different orders.

2.4 PROFILE FUNDAMENTALS
This profile states the requirements on names, values and coding schemes
used for names of parameters and procedures experienced on the user
interface level.

This profile defines modes of operation that are not service- or profile-specific,
but that are generic and can be used by profiles referring to this profile, and by
devices implementing multiple profiles.

This profile defines the general procedures that can be used for discovering
identities, names and basic capabilities of other Bluetooth devices that are in a
mode where they can be discovered. Only procedures where no channel or
connection establishment is used are specified.

This profile defines the general procedure for how to create bonds (i.e.,
dedicated exchange of link keys) between Bluetooth devices.

This profile describes the general procedures that can be used for establishing
connections to other Bluetooth devices that are in a mode that allows them to
accept connections and service requests.

2.5 CONFORMANCE
Bluetooth devices shall conform to this profile to ensure basic interoperability.

Bluetooth devices that conform to another Bluetooth profile may use
adaptations of the generic procedures as specified by that other profile. They
shall, however, be compatible with devices compliant to this profile at least on
the level of the supported generic procedures.

All capabilities indicated as mandatory for this profile shall be supported in the
specified manner (process-mandatory). This also applies for all optional and
conditional capabilities for which support is indicated. All mandatory
capabilities, and optional and conditional capabilities for which support is
indicated, are subject to verification as part of the Bluetooth qualification
program.


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3 USER INTERFACE ASPECTS

3.1 THE USER INTERFACE LEVEL
In the context of this specification, the user interface level refers to places
(such as displays, dialog boxes, manuals, packaging, advertising, etc.) where
users of Bluetooth devices encounters names, values and numerical
representation of Bluetooth terminology and parameters.

This profile specifies the generic terms that should be used on the user
interface level.

3.2 REPRESENTATION OF BLUETOOTH PARAMETERS

3.2.1 Bluetooth Device Address (BD_ADDR)

3.2.1.1 Definition

A BD_ADDR is the address used by a Bluetooth device as defined in Section
15.1. It is received from a remote device during the device discovery
procedure.

3.2.1.2 Term on user interface level

When the Bluetooth address is referred to on UI level, the term Bluetooth
Device Address’ should be used.

3.2.1.3 Representation

On the baseband level the BD_ADDR is represented as 48 bits (see [Vol 2]
Part B, Section 1.2). On the Link Layer the public and random device address
are represented as 48-bit addresses.

On the UI level the Bluetooth address shall be represented as 12 hexadecimal
characters, possibly divided into sub-parts separated by ‘:’
(e.g., ‘000C3E3A4B69’ or ‘00:0C:3E:3A:4B:69’). On the UI level any number
shall have the MSB -> LSB (from left to right) ‘natural’ ordering.




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3.2.2 Bluetooth Device Name (the user-friendly name)

3.2.2.1 Definition

The Bluetooth device name is the user-friendly name that a Bluetooth device
exposes to remote devices. For a device supporting the BR/EDR device type,
the name is a character string returned in the LMP_name_res in response to
an LMP_name_req. For a device supporting the LE-only device type, the name
is a character string held in the Device Name characteristic as defined in
Section 12.1.

3.2.2.1.1 Bluetooth Device Name in a Device with BR/EDR/LE Device Type

A BR/EDR/LE device type shall have a single Bluetooth device name which
shall be identical irrespective of the physical channel used to perform the name
discovery procedure.

For the BR/EDR physical channel the name is received in the LMP_name_res.
For the LE physical channel the name can be read from the Device Name
characteristic as defined in Section 12.1.

Note: The Device Name Characteristic of the local device can be read by a remote
device using ATT over BR/EDR if the local device supports ATT over BR/EDR.

3.2.2.2 Term on user interface level

When the Bluetooth device name is referred to on UI level, the term ‘Bluetooth
Device Name’ should be used.

3.2.2.3 Representation

The Bluetooth device name can be up to 248 bytes (see [Vol 2] Part C, Section
4.3.5). It shall be encoded according to UTF-8 (therefore the name entered on
the UI level may be restricted to as few as 62 characters if codepoints outside the
range U+0000 to U+007F are used).

A device cannot expect that a general remote device is able to handle more
than the first 40 characters of the Bluetooth device name. If a remote device
has limited display capabilities, it may use only the first 20 characters.




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3.2.3 Bluetooth Passkey (Bluetooth PIN)

3.2.3.1 Definition

The Bluetooth passkey may be used to authenticate two Bluetooth devices with
each other during the creation of a mutual link key via the pairing procedure. The
passkey may be used in the pairing procedures to generate the initial link key.

The PIN may be entered on the UI level but may also be stored in the device; e.g.,
in the case of a device without sufficient MMI for entering and displaying digits.

3.2.3.2 Terms at user interface level

When the Bluetooth PIN is referred to on UI level, the term ‘Bluetooth Passkey’
should be used.

3.2.3.3 Representation

There are a number of different representations of the Bluetooth passkey. At a
high level there are two distinct representations: one used with the Secure
Simple Pairing and Security Manager, and another used with legacy pairing
(where it is generally referred to as the Bluetooth PIN).

For Secure Simple Pairing and Security Manager, the Bluetooth passkey is a 6-
digit numerical value. It is represented as integer value in the range
0x00000000 – 0x000F423F (000000 to 999999). The numeric value may be
used as the input to the Authentication Stage 1 for Secure Simple Pairing
Passkey Entry (see [Vol 2] Part H, Section 7.2.3), or as the TK value in the
Security Manager for the process defined in [Vol 3] Part H, Section 2.3.5.

For legacy pairing (see Section B.2), the Bluetooth PIN has different
representations on different levels. PINBB is used on baseband level, and
PINUI is used on user interface level. PINBB is the PIN used by [1] for
calculating the initialization key during the Pairing Procedure.

PINUI is the character representation of the PIN that is entered on the UI level.
The transformation from PINUI to PINBB shall be according to UTF-8. PINBB
may be 128 bits (16 bytes).

PIN codes may be up to 16 characters. In order to take advantage of the full
level of security all PINs should be 16 characters long. Variable PINs should be
composed of alphanumeric characters chosen from within the Unicode range
U+0000 to U+007F. If the PIN contains any decimal digits these shall be
encoded using the Unicode Basic Latin characters (i.e., U+0030 to U+0039)
(Note 1).

For compatibility with devices with numeric keypads, fixed PINs shall be
composed of only decimal digits, and variable PINs should be composed of
only decimal digits.

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If a device supports entry of characters outside the Unicode range U+0000 to
U+007F, other Unicode code points may be used (Note 2), except the Halfwidth
and Fullwidth Forms (i.e., U+FF00 to U+FFEF) shall not be used (Note 3).

Examples:

                         Corresponding PINBB[0..length-1]
 User-entered code       (value as a sequence of octets in hexadecimal notation)

 ’0196554200906493’      length = 16, value = 0x30 0x31 0x39 0x36 0x35 0x35 0x34 0x32
                         0x30 0x30 0x39 0x30 0x36 0x34 0x39 0x33

 ’Børnelitteratur’       length = 16, value = 0x42 0xC3 0xB8 0x72 0x6e 0x65 0x6c 0x69
                         0x74 0x74 0x65 0x72 0x61 0x74 0x75 0x72

Note 1: This is to prevent interoperability problems since there are decimal digits
at other code points (e.g., the Fullwidth digits at code points U+FF10 to U+FF19).

Note 2: Unicode characters outside the Basic Latin range (U+0000 to U+007F)
encode to multiple bytes; therefore, when characters outside the Basic Latin
range are used the maximum number of characters in the PINUI will be less
than 16. The second example illustrates a case where a 15 character string
encodes to 16 bytes because the character ø is outside the Basic Latin range
and encodes to two bytes (0xC3 0xB8).

Note 3: This is to prevent interoperability problems since the Halfwidth and
Fullwidth forms contain alternative variants of ASCII, Katakana, Hangul,
punctuation and symbols. All of the characters in the Halfwidth and Fullwidth
forms have other related Unicode characters; for example, U+3150 (Hangul
Letter AE) can be used instead of U+FFC3 (Halfwidth Hangul Letter AE).

3.2.4 Class of Device

3.2.4.1 Definition

Class of device is a parameter received during the device discovery procedure
on the BR/EDR physical transport, indicating the type of device. The Class of
Device parameter is only used on BR/EDR and BR/EDR/LE devices using the
BR/EDR physical transport.

3.2.4.2 Term on user interface level

The information within the Class of Device parameter should be referred to as
‘Bluetooth Device Class’ (i.e., the major and minor device class fields) and
‘Bluetooth Service Type’ (i.e., the service class field). The terms for the defined
Bluetooth Device Types and Bluetooth Service Types are defined in [7].

When using a mix of information found in the Bluetooth Device Class and the
Bluetooth Service Type, the term ‘Bluetooth Device Type’ should be used.


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3.2.4.3 Representation

The Class of device is a bit field and is defined in [7]. The UI-level
representation of the information in the Class of Device is implementation
specific.

3.2.4.4 Usage

Some devices provide more than one service and a given service may be
provided by different device types. Therefore, the device type does not have a
one-to-one relationship with services supported. The major and minor device
class field should not be used to determine whether a device supports any
specific service(s). It may be used as an indication of devices that are most
likely to support desired services before service discovery requests are made,
and it may be used to guide the user when selecting among several devices
that support the same service.

3.2.5 Appearance Characteristic

3.2.5.1 Definition

The Appearance characteristic contains a 16-bit number that can be mapped
to an icon or string that describes the physical representation of the device
during the device discovery procedure. It is a characteristic of the GAP service
located on the device’s GATT server. See Section 12.2.

3.2.5.2 Usage at user interface level

The Appearance characteristic value should be mapped to an icon or string or
something similar that conveys to the user a visual description of the device.
This allows the user to determine which device is being discovered purely by
visual appearance. If a string is displayed, this string should be translated into
the language selected by the user for the device.

3.2.5.3 Representation

The Appearance characteristic value shall be set to one of the 16-bit numbers
assigned by the Bluetooth SIG and defined in [Core Specification Supplement],
Part A, Section 1.12. The UI-level representation of the Appearance
characteristic value is implementation specific.




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3.3 PAIRING
Pairing over a BR/EDR physical link is defined on LMP level (LMP pairing, see
Appendix B.2). Pairing over an LE physical link is defined by the Security
Manager specification ([Vol 3] Part H, Section 2.3). Either the user initiates the
bonding procedure and enters the passkey with the explicit purpose of creating
a bond (and maybe also a secure relationship) between two Bluetooth devices,
or the user is requested to enter the passkey during the establishment
procedure since the devices did not share a common link key beforehand. In
the first case, the user is said to perform “bonding (with entering of passkey)”
and in the second case the user is said to “authenticate using the passkey.”




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4 MODES – BR/EDR PHYSICAL TRANSPORT


 Procedure                                                      Ref.            Support

 Discoverability modes:                                         4.1
 Non-discoverable mode                                                          C1
 Discoverable mode                                                              O

 Limited discoverable mode                                                      C3
 General discoverable mode                                                      C4
 Connectability modes:                                          4.2

 Non-connectable mode                                                           O
 Connectable mode                                                               M
 Bondable modes:                                                4.3

 Non-bondable mode                                                              O
 Bondable mode                                                                  C2
 Synchronizability modes:                                       4.4

 Non-synchronizable mode                                                        M
 Synchronizable mode                                                            O
 C1: If limited discoverable mode is supported, non-discoverable mode is mandatory,
 otherwise optional.

 C2: If the bonding procedure is supported, support for bondable mode is mandatory,
 otherwise optional.
 C3: If Discoverable mode is supported, support for Limited Discoverable mode is manda-
 tory, otherwise optional.
 C4: If Discoverable mode is supported, support for General Discoverable mode is manda-
 tory, otherwise optional

Table 4.1: Conformance requirements related to modes defined in this section


4.1 DISCOVERABILITY MODES
With respect to inquiry, a Bluetooth device shall be either in non-discoverable
mode or in a discoverable mode. (The device shall be in one, and only one,
discoverability mode at a time.) The two discoverable modes defined here are
called limited discoverable mode and general discoverable mode. Inquiry is
defined in [Vol 2] Part B, Section 8.4.

When a Bluetooth device is in non-discoverable mode it does not respond to
inquiry.



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A Bluetooth device is said to be made discoverable, or set into a discoverable
mode, when it is in limited discoverable mode or in general discoverable mode.
Even when a Bluetooth device is made discoverable, it may be unable to
respond to inquiry due to other baseband activity (for example, reserved
synchronous slots should have priority over response packets, so that
synchronous links may prevent a response from being returned). A Bluetooth
device that does not respond to inquiry is called a silent device.

After being made discoverable, the Bluetooth device shall be discoverable for
at least TGAP(103).

The speed of discovery is dependent on the configuration of the inquiry scan
interval and inquiry scan type of the Bluetooth device. The Host is able to
configure these parameters based on trade-offs between power consumption,
bandwidth and the desired speed of discovery.

4.1.1 Non-discoverable Mode

4.1.1.1 Definition

When a Bluetooth device is in non-discoverable mode, it shall never enter the
INQUIRY_SCAN state.

4.1.1.2 Term on UI-level

Bluetooth device is ‘non-discoverable’ or in ’non-discoverable mode’.

4.1.2 Limited Discoverable Mode

4.1.2.1 Definition

The limited discoverable mode should be used by devices that need to be
discoverable only for a limited period of time, during temporary conditions, or
for a specific event. The purpose is to respond to a device that makes a limited
inquiry (inquiry using the LIAC).

A Bluetooth device should not be in limited discoverable mode for more than
TGAP(104). The scanning for the limited inquiry access code can be done
either in parallel or in sequence with the scanning of the general inquiry access
code. When in limited discoverable mode, one of the following options shall be
used.
• Parallel scanning
  When a Bluetooth device is in limited discoverable mode and when
  discovery speed is more important than power consumption or bandwidth, it
  is recommended that the Bluetooth device enter the INQUIRY_SCAN state
  at least every TGAP(105) and that Interlaced Inquiry scan is used.



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   If, however, power consumption or bandwidth is important, but not critical, it
   is recommended that the Bluetooth device enter the INQUIRY_SCAN state
   at least every TGAP(102) and Interlaced Inquiry scan is used.
   When power consumption or bandwidth is critical it is recommended that the
   Bluetooth device enter the INQUIRY_SCAN state at least every TGAP(102)
   and Non-interlaced Inquiry scan is used.
   In all cases the Bluetooth device shall enter the INQUIRY_SCAN state at
   least once in TGAP(102) and scan for the GIAC and the LIAC for at least
   TGAP(101).
   When either a SCO or eSCO link is in operation, it is recommended to use
   interlaced scan to significantly decrease the discoverability time.
• Sequential scanning
  When a Bluetooth device is in limited discoverable mode, it shall enter the
  INQUIRY_SCAN state at least once in TGAP(102) and scan for the GIAC for
  at least TGAP(101) and enter the INQUIRY_SCAN state more often than
  once in TGAP(102) and scan for the LIAC for at least TGAP(101).
   If an inquiry message is received when in limited discoverable mode, the
   entry into the INQUIRY_RESPONSE state takes precedence over the next
   entries into INQUIRY_SCAN state until the inquiry response is completed.

4.1.2.2 Conditions

When a device is in limited discoverable mode it shall set bit no 13 in the Major
Service Class part of the Class of Device/Service field [7].

4.1.2.3 Term on UI-level

Bluetooth device is ‘discoverable’ or in ‘discoverable mode’.




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4.1.3 General Discoverable Mode

4.1.3.1 Definition

The general discoverable mode shall be used by devices that need to be
discoverable continuously or for no specific condition. The purpose is to
respond to a device that makes a general inquiry (inquiry using the GIAC).

4.1.3.2 Conditions

When a Bluetooth device is in general discoverable mode and when discovery
speed is more important than power consumption or bandwidth, it is
recommended that the Bluetooth device enter the INQUIRY_SCAN state at
least every TGAP(105) and that Interlaced Inquiry scan is used.

If, however, power consumption or bandwidth is important, but not critical, it is
recommended that the Bluetooth device enter the INQUIRY_SCAN state at
least every TGAP(102) and Interlaced Inquiry scan is used.

When power consumption or bandwidth is critical it is recommended that the
Bluetooth device enter the INQUIRY_SCAN state at least every TGAP(102) and
Non-interlaced Inquiry scan is used.

In all cases the Bluetooth device shall enter the INQUIRY_SCAN state at least
once in TGAP(102) and scan for the GIAC for at least TGAP(101).

When either a SCO or eSCO link is in operation, it is recommended to use
interlaced scan to significantly decrease the discoverability time.

A device in general discoverable mode shall not respond to a LIAC inquiry.

4.1.3.3 Term on UI-level

Bluetooth device is ‘discoverable’ or in ‘discoverable mode’.




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4.2 CONNECTABILITY MODES
With respect to paging, a Bluetooth device shall be either in non-connectable
mode or connectable mode. Paging is defined in [Vol 2] Part B, Section 8.3.

When a Bluetooth device is in non-connectable mode it does not respond to
paging. When a Bluetooth device is in connectable mode it responds to paging.

The speed of connections is dependent on the configuration of the page scan
interval and page scan type of the Bluetooth device. The Host is able to
configure these parameters based on trade-offs between power consumption,
bandwidth and the desired speed of connection.

4.2.1 Non-connectable Mode

4.2.1.1 Definition

When a Bluetooth device is in non-connectable mode it shall never enter the
PAGE_SCAN state.

4.2.1.2 Term on UI-level

Bluetooth device is ‘non-connectable’ or in ‘non-connectable mode’.

4.2.2 Connectable Mode

4.2.2.1 Definition

When a Bluetooth device is in connectable mode it shall periodically enter the
PAGE_SCAN state. The device makes page scan using the Bluetooth device
address, BD_ADDR. Connection speed is a trade-off between power
consumption / available bandwidth and speed. The Bluetooth Host is able to
make these trade-offs using the Page Scan interval, Page Scan window, and
Interlaced Scan parameters.

R0 page scanning should be used when connection speeds are critically
important and when the paging device has a very good estimate of the
Bluetooth clock. Under these conditions it is possible for paging to complete
within two times the page scan window. Because the page scan interval is
equal to the page scan window it is not possible for any other traffic to go over
the Bluetooth link when using R0 page scanning. In R0 page scanning it is not
possible to use interlaced scan. R0 page scanning is the highest power
consumption mode of operation.

When connection times are critical but the other device either does not have an
estimate of the Bluetooth clock or when the estimate is possibly out of date, it is
better to use R1 page scanning with a very short page scan interval,
TGAP(106), and Interlaced scan. This configuration is also useful to achieve


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nearly the same connection speeds as R0 page scanning but using less power
and leaving bandwidth available for other connections. Under these
circumstances it is possible for paging to complete within TGAP(106). In this
case the Bluetooth device shall page scan for at least TGAP(101).

When connection times are important but not critical enough to sacrifice
significant bandwidth and/or power consumption it is recommended to use
either TGAP(107) or TGAP(108) for the scanning interval. Using Interlaced scan
will reduce the connection time by half but may use twice the power
consumption. Under these circumstances it is possible for paging to complete
within one or two times the page scanning interval depending on whether
Interlaced Scan is used. In this case the Bluetooth device shall page scan for at
least TGAP(101).

In all cases the Bluetooth device shall enter the PAGE_SCAN state at least
once in TGAP(102) and scan for at least TGAP(101).

The page scan interval, page scan window size, and scan type for the six
scenarios are described in Table 4.2:

                                    Page Scan   Page Scan
 Scenario                           Interval    Window           Scan Type

 R0 (1.28s)                         TGAP(107)   TGAP(107)        Normal scan

 Fast R1 (100ms)                    TGAP(106)   TGAP(101)        Interlaced scan

 Medium R1 (1.28s)                  TGAP(107)   TGAP(101)        Interlaced scan

 Slow R1 (1.28s)                    TGAP(107)   TGAP(101)        Normal scan

 Fast R2 (2.56s)                    TGAP(108)   TGAP(101)        Interlaced scan

 Slow R2 (2.56s)                    TGAP(108)   TGAP(101)        Normal scan

Table 4.2: Page scan parameters for connection speed scenarios

When either a SCO or eSCO link is in operation, it is recommended to use
interlaced scan to significantly decrease the connection time.

4.2.2.2 Term on UI-level

Bluetooth device is ‘connectable’ or in ‘connectable mode’.




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4.3 BONDABLE MODES
With respect to bonding, a Bluetooth device shall be either in non-bondable
mode or in bondable mode. In bondable mode the Bluetooth device accepts
bonding initiated by the remote device, and in non-bondable mode it does not.

4.3.1 Non-bondable Mode

4.3.1.1 Definition

When a Bluetooth device is in non-bondable mode it shall not accept a pairing
request that results in bonding. Devices in non-bondable mode may accept
connections that do not request or require bonding.

A device in non-bondable mode shall respond to a received LMP_in_rand with
LMP_not_accepted with the reason pairing not allowed.

When both devices support Secure Simple Pairing and the local device is in
non-bondable mode, the local Host shall respond to an IO capability request
where the Authentication_Requirements parameter requests dedicated
bonding or general bonding with a negative response.

4.3.1.2 Term on UI-level

Bluetooth device is ‘non-bondable’ or in ‘non-bondable mode’ or “does not
accept bonding”.

4.3.2 Bondable Mode

4.3.2.1 Definition
When a Bluetooth device is in bondable mode, and Secure Simple Pairing is not
supported by either the local or remote device, the local device shall respond to a
received LMP_in_rand with LMP_accepted (or with LMP_in_rand if it has a fixed
PIN).

When both devices support Secure Simple Pairing, the local Host shall
respond to a user confirmation request with a positive response.

4.3.2.2 Term on UI-level

Bluetooth device is ‘bondable’ or in ‘bondable mode’ or “accepts bonding”.




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4.4 SYNCHRONIZABILITY MODES
A Bluetooth device shall be either in non-synchronizable mode or
synchronizable mode. The synchronization train procedure is defined in [Vol 2]
Part B, Section 2.7.2.

When a Bluetooth device is in synchronizable mode, it transmits timing and
frequency information for its active Connectionless Slave Broadcast packets.
When a Bluetooth device is non-synchronizable, timing and frequency
information is not transmitted.

The Host is able to configure the Synchronization Train interval based on
trade-offs between bandwidth, potential interference to other devices, power
consumption, and the desired time for a slave to receive a synchronization train
packet.

4.4.1 Non-synchronizable Mode

4.4.1.1 Definition

When a Bluetooth device is in non-synchronizable mode it shall never enter the
synchronization train substate.

4.4.1.2 Term on UI-level

Bluetooth device is ‘non-synchronizable’ or in ‘non-synchronizable mode’.

4.4.2 Synchronizable Mode

4.4.2.1 Definition

When a Bluetooth device is in synchronizable mode, it shall enter the
synchronization train substate using a synchronization train interval of
TGAP(Sync_Train_Interval).

After being made synchronizable, the Bluetooth device shall be synchronizable
for at least TGAP(Sync_Train_Duration).




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5 SECURITY ASPECTS – BR/EDR PHYSICAL TRANSPORT


                 Procedure                                 Ref.             Support

 1               Authentication                            5.1              M
 2               Security modes                            5.2
                 Security mode 1                                            E

                 Security mode 2                                            O.1
                 Security mode 3                                            E
                 Security mode 4                                            M

 O.1: Security Mode 2 may only be used for backwards compatibility when the remote device
 does not support Secure Simple Pairing.
Table 5.1: Conformance requirements related to the generic authentication procedure and the
security modes defined in this section


5.1 AUTHENTICATION

5.1.1 Purpose

The generic authentication procedure describes how the LMP-authentication
and LMP-pairing procedures are used when authentication is initiated by one
Bluetooth device towards another, depending on if a link key exists or not and if
pairing is allowed or not.

5.1.2 Term on UI level

 ‘Bluetooth authentication’.




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5.1.3 Procedure


                                               Authentication
                                                   start




                                                    link         yes
                                               authenticated
                                                 already?


                                                  no




                                                  link key      yes
                                                 available?

                                                  no
                                                                fail
                                                                       LMP_authentication

                                                                            ok

                                          no       Initiate
                                                  pairing?

                                                yes



                                   fail
                                               LMP_pairing

                                                  ok




              authentication
                                           authentication ok
                  failed


Figure 5.1: Definition of the generic authentication procedure


5.1.4 Conditions

The local device shall initiate authentication after link establishment. The
remote device may initiate security during or after link establishment.




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5.2 SECURITY MODES
The following flow chart provides an overview of the channel establishment
procedures.


                                                                    Paging




                                                               Link Setup



                                                           LMP_host_conne
                                                              ction_req



                                                           Security initiated
                                    Yes
                                                          by remote device?



                                                                     No
                    Figure 5.3
                   (pre-2.1 only)

                                                              LMP_accepted




                                                               Link Setup
                                                                complete




                                                            Responding
             2.0 or earlier
                                                           Device version?      2.1 or later




                                                  Initiating Side                 Role?          Responding Side




                                             Figure 5.4                                                Figure 5.5
    Security Mode 2
                                          (Security Mode 4)                                         (Security Mode 4)




Figure 5.2: Channel establishment with security


A device may support two security modes simultaneously: security mode 2 for
backwards compatibility with remote devices that do not support Secure
Simple Pairing and security mode 4 for devices that support Secure Simple
Pairing.


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5.2.1 Legacy Security Modes

Legacy security modes apply to those devices with a Controller or a Host that
does not support SSP.

5.2.1.1 Security mode 1 (non-secure)

When a remote Bluetooth device is in security mode 1 it will never initiate any
security procedure (i.e., it will never send LMP_au_rand, LMP_in_rand or
LMP_encryption_mode_req).

5.2.1.2 Security mode 2 (service level enforced security)

When a remote Bluetooth device is in security mode 2 it will not initiate any
security procedure before a channel establishment request
(L2CAP_ConnectReq) has been received or a channel establishment
procedure has been initiated by itself. (The behavior of a device in security
mode 2 is further described in [6].) Whether a security procedure is initiated or
not depends on the security requirements of the requested channel or service.

A Bluetooth device in security mode 2 should classify the security requirements
of its services using at least the following attributes:
• Authorization required
• Authentication required
• Encryption required

Note: Security mode 1 can be considered (at least from a remote device point
of view) as a special case of security mode 2 where no service has registered
any security requirements.




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5.2.1.3 Security mode 3 (link level enforced security)

When a remote Bluetooth device is in security mode 3 it will initiate security
procedures before it sends LMP_setup_complete.

A Bluetooth device in security mode 3 may reject the Host connection request
(respond with LMP_not_accepted to the LMP_host_connection_req) based on
settings in the Host (e.g., only communication with pre-paired devices allowed).




                                      yes        Device rejected?        no



                              LMP_not_accepted                      LMP_accepted



                                                                    Authentication /
                                                                        Pairing


                                                                       Encrypt




Figure 5.3: Security mode 3 with a legacy remote device


5.2.2 Security Mode 4 (service level enforced security)

A Bluetooth device in security mode 4 shall classify the security requirements
of its services using at least the following attributes (in order of decreasing
security):
• Authenticated link key required
• Unauthenticated link key required
• Security optional – SDP only. Limited to specific services (see Section
  5.2.2.8).

An authenticated link key is a link key where either the numeric comparison,
out-of-band, or passkey entry simple pairing association models were used. An
authenticated link key has protection against man-in-the-middle (MITM)
attacks. To ensure that an authenticated link key is created during the Simple
Pairing procedure, the Authentication_Requirements parameter should be set
to one of the MITM Protection Required options. An unauthenticated link key is
a link key where the just works Secure Simple Pairing association model was
used. An unauthenticated link key does not have protection against MITM
attacks.

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When both devices support Secure Simple Pairing, GAP shall require at least
an unauthenticated link key and enabling encryption for all connections except
those allowed to have security level 0 (see Section 5.2.2.8). A profile or
protocol may define services that require more security (e.g., an authenticated
link key) or no security (although unencrypted connections are only allowed
when connecting to a service allowed to have security level 0). To allow an
unauthenticated link key to be created during the Simple Pairing procedure, the
Authentication_Requirements parameter may be set to one of the MITM
Protection Not Required options.

When the device is in Bondable Mode, it shall enable Secure Simple Pairing
mode prior to entering Connectable Mode or establishing a link.

A Bluetooth device in security mode 4 shall respond to authentication requests
during link establishment when the remote device is in security mode 3 for
backwards compatibility reasons.

A Bluetooth device in security mode 4 enforces its security requirements before
it attempts to access services offered by a remote device and before it grants
access to services it offers to remote devices. Service access may occur via
L2CAP channels or via channels established by protocols above L2CAP such
as RFCOMM.

For services transmitting unicast data over the connectionless L2CAP channel,
the transmitting device shall enforce its security requirements prior to sending
data. There is no mechanism for a device receiving data via the L2CAP
connectionless channel to prevent unencrypted data from being received.
Hence, Section 5.2.2.1 addresses unicast connectionless data transmission
together with devices initiating connection-oriented channels while Section
5.2.2.2 covers only devices responding to requests for connection-oriented
channel establishment but does not cover unicast connectionless data
reception.

A device may be in a Secure Connections Only mode. When in Secure
Connections Only mode, all services (except those allowed to have Security
Mode 4, Level 0) available on the BR/EDR physical transport require Security
Mode 4, Level 4. The device shall reject both new outgoing and incoming service
level connections when the service requires Security Mode 4, Level 4 and either
the physical transport does not support Secure Connections or unauthenticated
pairing is being requested.
A device operating with a physical transport operating in Secure Connections
Only mode may disconnect the ACL connection using error code 0x05
(Authentication Failure) when the physical transport that does not support
Secure Connections, tries to access a service that requires Security Mode 4,
Level 4.
Note: A device may operate several physical transports simultaneously - in this
case all physical transports are required to enable Security Connections Only
Mode simultaneously.



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5.2.2.1 Security for Access to Remote Service (Initiating Side)

When the responding device does not support Secure Simple Pairing, it may
disconnect the link while the initiating device is requesting the PIN to be
entered by the user. This may occur due to the lack of an L2CAP channel being
present for longer than an implementation-specific amount of time (e.g., a few
seconds). When this occurs, the initiating device shall allow the user to
complete entering the PIN and shall then re-page the remote device and restart
the pairing procedure (see [Vol 2] Part C, Section 4.2.2) using the PIN entered.

5.2.2.1.1 Pairing Required for Access to Remote Service

When a Bluetooth device in security mode 4 initiates access to a remote
service via a connection-oriented L2CAP channel and a sufficient link-key is
not available, the local device shall perform pairing procedures and enable
encryption before sending a channel establishment request
(L2CAP_ConnectReq or a higher-layer channel establishment request such as
that of RFCOMM).

When a Bluetooth device in security mode 4 transmits data to a remote service
via the unicast connectionless L2CAP channel and a sufficient link-key is not
available, the local device shall perform pairing procedures and enable
encryption before transmitting unicast data on the connectionless L2CAP
channel.

See Section 5.2.2.8 for details on determining whether or not a link key is
sufficient.

If pairing does not succeed, the local device shall not send a channel
establishment request. The local device may re-try pairing up to three (3)
times. If pairing fails three consecutive times, the local device shall disconnect
the ACL link with error code 0x05 - Authentication Failure.

If the link key generated is not at least as good as the expected or required
type, the local device shall fail the establishment and may disconnect the ACL
link with error code 0x05 - Authentication Failure.

5.2.2.1.2 Authentication Required for Access to Remote Service

When a Bluetooth device in security mode 4 initiates access to a remote
service via a connection-oriented L2CAP channel and a sufficient link key is
available for the remote device, it shall authenticate the remote device and
enable encryption before sending a channel establishment request
(L2CAP_ConnectReq or higher a layer-channel establishment request such as
that of RFCOMM).

When a Bluetooth device in security mode 4 transmits unicast data to a remote
service via the connectionless L2CAP channel and security is required for the
application and a sufficient link-key is available then the local device shall

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authenticate the remote device and enable encryption before transmitting
unicast data on the L2CAP connectionless channel.

See Section 5.2.2.8 for details on determining whether or not a link key is
sufficient.

If authentication is required by the service but does not succeed, or if a
sufficient link-key is not available, then the local device shall not enable
encryption and shall not send a channel establishment request and shall not
send any unicast data via the L2CAP connectionless channel for that
application. The Host may then notify the user and offer to perform pairing.




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                                              Channel
                                          Establishment or
                                             Connection
                                          Establishment or
                                           preparation for
                                           connectionless
                                              data TX


                                           Query security
                                                DB



                               Rejected                       Yes, security not required (Level 0)
                                              Access?



                                                   Yes, security required (Levels, 1, 2, 3 and 4)


                                                              Yes
                                           Link Key Exists


                                                   No         No      Link Key Good
                                                                         Enough?

                                    Yes                                        Yes
                                          Remote device
                                          supports SSP?

                                                                                           Yes
                                                                        Encryption
                                                   No                    Enabled?


                                                                               No
                                             Security         No (level 1)
                                          Required for Pre-
                                              v2.1?


                                                                       Authentication

                                           Secure Simple
                                              Pairing

                                                              No
                                                                         Success?


                                    No     Success and                         Yes
                                          correct link key
                                               type?

                                                   Yes
                                                                         Encryption




                                                               No       Encryption
                                                                       key size long
                                                                         enough?

                                                                                Yes          Cross-transport    No
                                                                                             Key generation
                                                                                             and distribution
                                                                                                possible?

                                                                                                       Yes
                       Abort
                                                                                           LE key generation
                                                                                            and distribution
                                                                                             ([vol 3] Part H,
                                                                                            Section 2.3.5.7)

                                                                                             L2CAP_Connect
                                                                                                 Req or
                                                                                            channel_est_req
                                                                                            or connectionless
                                                                                                 data TX




Figure 5.4: Channel establishment using security mode 4 for initiating side



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5.2.2.1.3 Cross-transport Key Generation and Distribution

After encryption is enabled and both devices support cross-transport key
generation, the master of the BR/EDR transport may perform LE key
generation and distribution ([Vol 3] Part H, Section 2.3.5.7).

5.2.2.2 Security for Access to Local Service by Remote Device
        (Responding Side)

When a remote device attempts to access a service offered by a Bluetooth
device that is in security mode 4 and a sufficient link key exists and
authentication has not been performed the local device shall authenticate the
remote device and enable encryption after the channel establishment request
is received but before a channel establishment confirmation
(L2CAP_ConnectRsp with result code of 0x0000 or a higher-level channel
establishment confirmation such as that of RFCOMM) is sent.

When L2CAP is the channel establishment protocol being used for the
requested service, an L2CAP_ConnectRsp signaling packet shall be sent by
the responding device containing the result code 0x0001 (connection pending)
following receipt of an L2CAP_ConnectReq and prior to initiating security
procedures which can result in prompting the local user for input (e.g., pairing
using a PIN or Secure Simple Pairing using either the Passkey entry or
Numerical Comparison association models). This will stop the L2CAP RTX
timer on the remote device (which may be as short as 1 second) and will
invoke the ERTX timer on the remote device, which is a minimum duration of
60 seconds.

See [Vol 3] Part A, Section 6.1.7, for additional information on L2CAP RTX and
ERTX timers. See also [Vol 3] Part A, Section 4.3 for additional information on
the L2CAP_ConnectRsp signaling packet, and the defined result codes.

Higher layer channel establishment protocols should be designed to restrict
timeouts to be 30 seconds or longer to allow for user input, or provide
mechanisms to dynamically extend timeouts when user input may be required.

If authentication or pairing fails when a remote device is attempting to access a
local service, the local device shall send a negative response to the channel
establishment request (L2CAP_ConnectReq or channel_est_req) indicating a
security issue if possible. If the channel establishment protocol is L2CAP, then
the result code 0x0003 (connection refused - security block) shall be sent in the
L2CAP_ConnectRsp signal.

If the remote device has indicated support for Secure Simple Pairing, a channel
establishment request is received for a service other than SDP, and encryption
has not yet been enabled, then the local device shall disconnect the ACL link
with error code 0x05 - Authentication Failure.




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5.2.2.2.1 Pairing Required for Access to Local Service by Remote Device

When a remote device attempts to access a service offered by a Bluetooth
device that is in security mode 4 and pairing is required due to the link key
being absent or insufficient, the local device shall perform pairing procedures
and enable encryption after the channel establishment request is received and
before a channel establishment confirmation (L2CAP_ConnectRsp with result
code of 0x0000 or a higher-level channel establishment response such as that
of RFCOMM) is sent.

See Section 5.2.2.6 for details on determining whether or not a link key is
sufficient.

If pairing does not succeed, then the local device shall not send a channel
establishment confirmation. The local device may retry pairing up to three (3)
times. If pairing fails three consecutive times, then the local device shall
disconnect the ACL link with error code 0x05 - Authentication Failure.

If the link-key generated is not at least as good as the expected or required
type, then the local device shall fail the channel establishment and may
disconnect the ACL link with error code 0x05 - Authentication Failure.

5.2.2.2.2 Authentication Required for Access to Local Service by Remote
          Device

See Section 5.2.2.6 for details on determining whether or not a link key is
sufficient.

If authentication does not succeed, then the local device shall not send a
channel establishment confirmation. The Host may at this point notify the user
and offer to perform pairing.

A Bluetooth device in security mode 4 shall respond to authentication and
pairing requests during link establishment when the remote device is in security
mode 3 for backwards compatibility reasons. However, authentication of the
remote device shall be performed after the receipt of the channel establishment
request is received, and before the channel establishment response is sent.




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                              L2CAP_
                           ConnectReq or
                           connect_est_req

                           Query security
                                DB




                Rejected                          Yes, security not required (Level 0)
                              Access?


                                     Yes, security required (Levels, 1, 2, 3 and 4)


                                                    Yes
                           Link Key Good
                              Enough?


                              No                                      No             Encryption          Yes
                                                                                      Enabled?


                                        Yes        Remote device             No
                                                   supports SSP?


                           Secure Simple
                                                                               Authentication
                              Pairing




                                                                No
                                                                                     Success?



                      No    Success and                                                   Yes
                           correct link key
                                type?

                                      Yes
                                                                      Encryption




                                                        No            Encryption
                                                                     key size long
                                                                       enough?

                                                                                          Cross-transport
                                                                             Yes                                No
                                                                                          Key generation
                                                                                          and distribution
                                                                                            possible?

                                                                                                  Yes
                                                                                       LE key generation
                                                                                        and distribution
                                                                                         ([vol 3] Part H,
                                                                                        Section 2.3.5.7)


        L2CAP_Connect                                                                    L2CAP_Connect
           Resp(-) or                                                                       Resp(+) or
        connect_est_fail                                                                 connect_est_acc




Figure 5.5: Channel establishment using security mode 4 for the responding side




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5.2.2.2.3 Cross-transport Key Generation and Distribution

After encryption is enabled and both devices support cross-transport key
generation, the master of the BR/EDR transport may perform LE key
generation and distribution ([Vol 3] Part H, Section 2.3.5.7).

5.2.2.3 Simple Pairing after Authentication Failure

When both devices support Secure Simple Pairing all non-SDP connections
are encrypted regardless of whether security was required or whether the
devices are bonded or not. The initial connection between the two devices will
result in a link key through Secure Simple Pairing. Depending on whether or
not bonding was performed and the security policy of the initiating device, the
link key may or may not be stored. When the link key is stored, subsequent
connections to the same device will use authentication but this may fail if the
remote device has deleted the link key. Table 5.2 defines what shall be done
depending on the type of the link key and whether bonding was performed or
not.

                        Devices
 Link Key Type          Bonded?        Action to take when Authentication Fails

 Combination            No             Depends on security policy of the device:
                                       • Option 1: Automatically initiate pairing
                                       • Option 2: Notify user and ask if pairing is ok
                                       Option 2 is recommended.

 Combination            Yes            Notify user of security failure

 Unauthenticated        No             Depends on security policy of the device:
                                       • Option 1: Automatically initiate secure simple pairing
                                       • Option 2: Notify user and ask if secure simple pairing is
                                         ok.
                                       Option 1 is recommended.

 Unauthenticated        Yes            Notify user of security failure
 Authenticated          No             Depends on security policy of the device:
                                       • Option 1: Automatically initiate secure simple pairing
                                       • Option 2: Notify user and ask if secure simple pairing is
                                         ok
                                       Option 2 is recommended.

 Authenticated          Yes            Notify user of security failure
Table 5.2: Simple Pairing after Authentication Failure

Note that non-bonded authenticated or unauthenticated link keys may be
considered disposable by either device and may be deleted at any time.




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5.2.2.4 IO Capabilities

Once a connection is established, if the Host determines that security is
necessary and both devices support Secure Simple Pairing, the devices
perform an IO capability exchange. The purpose of the IO capability exchange
is to determine the authentication algorithm used in the Authentication Stage 1
phase of Simple Pairing.

The input and output capabilities are described in Table 5.3:

 Capability                Description

 No input                  Device does not have the ability to indicate 'yes' or 'no'
 Yes / No                  Device has at least two buttons that are mapped easily to 'yes' and 'no' or
                           the device has a mechanism whereby the user can indicate either 'yes' or
                           'no' (see note below).

 Keyboard                  Device has a numeric keyboard that can input the numbers '0' through '9'
                           and a confirmation. Device also has two buttons that can be easily mapped
                           to 'yes' and 'no' or the device has a mechanism whereby the user can indi-
                           cate either 'yes' or 'no' (see Note below).
Table 5.3: User Input Capabilities

Note: 'yes' could be indicated by pressing a button within a certain time limit
otherwise 'no' would be assumed.

 Capability                              Description

 No output                               Device does not have the ability to display or communicate a
                                         6 digit decimal number

 Numeric output                          Device has the ability to display or communicate a 6 digit dec-
                                         imal number
Table 5.4: User Output Capabilities


5.2.2.5 Mapping of Input / Output Capabilities to IO Capability

The individual input and output capabilities are mapped to a single IO capability
which is later used to determine which authentication algorithm will be used.

                                                        Local Output Capability

                                 No Output                             Numeric Output

                No input         NoInputNoOutput                       DisplayOnly
  Local Input
  Capability




                Yes / No         NoInputNoOutput                       DisplayYesNo

                Keyboard         KeyboardOnly                          DisplayYesNo

Table 5.5: IO Capability mapping



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When a device has OOB authentication information from the remote device, it
will indicate it in the LMP_IO_Capability_Res PDU. When either device has
OOB information, the OOB association model will be used.

The Host may allow the Link Manager to ignore the IO capabilities and use the
Numeric Comparison protocol with automatic accept by setting the
Authentication_Requirements parameter to one of the MITM Protection Not
Required options.

5.2.2.6 IO and OOB Capability Mapping to Authentication Stage 1 Method

Determining which association model to use in Authentication Stage 1 is
performed in three steps. First, the devices look at the OOB Authentication
Data Present parameter received in the remote IO capabilities. If either device
has received OOB authentication data then the OOB association model is
used. The event of receiving the OOB information is indicated by a device to its
peer in the IO Capability Exchange step of simple pairing.

                                                               Device A

                                       Has not received remote      Has received remote OOB
                                       OOB authentication data      authentication table

              Has not received         Use the IO capability map-   Use OOB association with
              remote OOB               ping table                   ra = 0
              authentication data
   Device B




                                                                    rb from OOB
              Has received             Use OOB association with     Use OOB association with
              remote OOB               ra from OOB                  ra from OOB
              authentication data
                                       rb = 0                       rb from OOB

Table 5.6: IO and OOB capability mapping

Second, if neither device has received OOB authentication data and if both
devices have set the Authentication_Requirements parameter to one of the
MITM Protection Not Required options, authentication stage 1 shall function as
if both devices set their IO capabilities to DisplayOnly (e.g., Numeric
comparison with automatic confirmation on both devices).

Finally, if neither device has received OOB authentication data and if one or
both devices have set the Authentication_Requirements parameter to one of
the MITM Protection Required options, the IO and OOB capabilities are
mapped to the authentication stage 1 method as defined in the following table.
A Host that has set the Authentication_Requirements parameter to one of the
MITM Protection Required options shall verify that the resulting Link Key is an
Authenticated Combination Key (see [Vol 2] Part E, Section 7.7.24). The table
also lists whether the combination key results in an authenticated or
unauthenticated link key.




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                                                                  Device A (Initiator)

                                       Display Only     DisplayYesNo       KeyboardOnly       NoInputNoOutput

                                       Numeric          Numeric            Passkey Entry:     Numeric
                                       Comparison       Comparison         Responder          Comparison
                                       with auto-       with auto-         Display,           with automatic
                                       matic confir-    matic confir-      Initiator Input.   confirmation on
                         DisplayOnly   mation on        mation on                             both devices.
                                       both devices.    device B only.

                                       Un-              Un-                Authenticated      Unauthenticated
                                       authenticated    authenticated

                                       Numeric          Numeric            Passkey Entry:     Numeric
                                       Comparison       Comparison:        Responder          Comparison
                                       with auto-       Both Display,      Display,           with automatic
                                       matic confir-    Both Confirm.      Initiator Input.   confirmation on
                                       mation on                                              device A only and
                                       device A only.                                         Yes/No confirma-
                         DisplayYes                                                           tion whether to
                         No                                                                   pair on device B.
                                                                                              Device B does not
                                                                                              show the confir-
                                                                                              mation value.
  Device B (Responder)




                                       Un-              Authenticated      Authenticated      Unauthenticated
                                       authenticated

                                       Passkey          Passkey            Passkey Entry:     Numeric
                                       Entry: Initia-   Entry: Initiator   Initiator and      Comparison
                                       tor Display,     Display,           Responder          with automatic
                         Keyboard
                                       Responder        Responder          Input.             confirmation on
                         Only
                                       Input.           Input.                                both devices.

                                       Authenticated    Authenticated      Authenticated      Unauthenticated

                                       Numeric          Numeric            Numeric            Numeric
                                       Comparison       Comparison         Comparison         Comparison
                                       with auto-       with auto-         with automatic     with automatic
                                       matic confir-    matic confir-      confirmation on    confirmation on
                                       mation on        mation on          both devices.      both devices.
                                       both devices.    device B only
                                                        and Yes/No
                                                        confirmation
                         NoInputNo
                                                        on whether to
                         Output
                                                        pair on device
                                                        A. Device A
                                                        does not show
                                                        the confirma-
                                                        tion value.

                                       Un-              Un-                Un-                Unauthenticated
                                       authenticated    authenticated      authenticated

Table 5.7: IO Capability Mapping to Authentication Stage 1

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Note: The "DisplayOnly" IO capability only provides unidirectional
authentication.

5.2.2.7 Out of Band (OOB)

An out of band mechanism may also be used to communicate discovery
information as well as other information related to the pairing process.

The contents of the OOB data block are:

Mandatory contents:
• Length (2 bytes)
• BD_ADDR (6 bytes)

Optional contents:
• Class of Device (3 bytes)
• Simple Pairing Hash C (16 bytes)
• Simple Pairing Randomizer R (16 bytes)
• Local name (variable length)
• Other information

The length field includes all bytes in the OOB data block including the length
field itself. The BD_ADDR will be a fixed field in the beginning of the OOB data
block. Following the BD_ADDR will be zero or more EIR tag fields containing
optional contents. The EIR tag format will be used for the optional contents.


                                       OOB Data Block


           Mandatory Part                               Optional parts


                                   EIR Data         EIR Data                     EIR Data
      LENGTH        BD_ADDR                                              ...
                                  Structure 1      Structure 2                  Structure N




                                 1 octet                Length octets

                                 Length                 Data




                                                        n octets               Length - n octets

                                                        EIR Data Type          EIR Data


Figure 5.6: OOB Data Block Format




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If Simple Pairing fails when one or both devices have OOB Authentication Data
present, both devices shall discard the OOB Authentication Data and the
device that originally initiated authentication shall re-initiate authentication.
Note that although the user may get involved in authentication as defined by
the IO capabilities of the two devices, falling back to the in-band association
model will prevent deadlock conditions when one or both devices has stale
OOB Authentication Data.

There is a MIME type defined for use with the OOB data format. The MIME
type can be found from the following link: http://www.iana.org/assignments/
media-types/application/vnd.bluetooth.ep.oob

5.2.2.8 Security Database

A Bluetooth device in security mode 4 shall classify the security requirements
of its services using at least the following levels attributes (in order of
decreasing security) for use when pairing with remote devices supporting
Secure Simple Pairing:
• Level 4, for services with the following attributes or devices in Secure
  Connections Only Mode:
   MITM protection required
   128-bit equivalent strength for link and encryption keys required using FIPS
   approved algorithms (E0 not allowed, SAFER+ not allowed, and P-192 not
   allowed)
   User interaction acceptable
• Level 3, for services with the following attributes:
   MITM protection required
   Encryption required
   User interaction acceptable
• Level 2, for services with the following attributes:
  MITM protection not required
  Encryption required
• Level 1, for services with the following attributes:
   MITM protection not required
   Minimal user interaction desired
• Level 0: Service requires the following:
  MITM protection not required
  No encryption required
  No user interaction required




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   Security Mode 4 Level 0 shall only be used for:
              a) L2CAP fixed signaling channels with CIDs 0x0001, 0x0003, and
                 0x003F
              b) SDP
              c) broadcast data sent on the connectionless L2CAP channel
                 (CID 0x0002)
              d) services with the combinations of Service Class UUIDs and L2CAP
                 traffic types listed in [Core Specification Supplement], Part C.
The security level required for each service offered should be stored in a secu-
rity database that is accessed to determine the type of link key that is required
for access to the respective service. The security level required for service data
transmitted on an L2CAP connection-oriented channel may differ from the
security level required for service data transmitted on another L2CAP connec-
tion-oriented channel or on the connectionless L2CAP channel. Table 5.8
shows the type of link key required for each security level for both remote
devices that support Secure Simple Pairing (v2.1 + EDR remote devices) and
for those that do not (pre-v2.1 + EDR remote devices).

                                                           Link Key type
                                         Link Key type     required for
 Security Level Required for             required for      pre-v2.1
 Service                                 remote devices    remote devices   Comments

 Level 4                                 Authenticated     NA               Highest Security
 • MITM protection required              (P-256 based                       Only possible
 • Encryption required                   Secure Simple                      when both devices
                                         Pairing and                        support Secure
 • User interaction acceptable           Secure                             Connections
                                         Authentication)

 Level 3                                 Authenticated     Combination      High Security
 • MITM protection required                                (16 digit PIN
                                                           recommended)
 • Encryption required
 • User interaction acceptable

 Level 2                                 Unauthenticated   Combination      Medium Security
 • MITM protection not necessary
 • Encryption desired
 Level 1                                 Unauthenticated   None             Low Security
 • MITM protection not necessary
 • Encryption not necessary1
 • Minimal user interaction
   desired
Table 5.8: Security Level mapping to link key requirements




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                                                          Link Key type
                                         Link Key type    required for
 Security Level Required for             required for     pre-v2.1
 Service                                 remote devices   remote devices   Comments

 Level 0                                 None             None             Permitted only for
 • MITM protection not necessary                                           SDP and service
                                                                           data sent via either
 • Encryption not necessary                                                L2CAP fixed sig-
 • No user interaction desired                                             naling channels or
                                                                           the L2CAP con-
                                                                           nectionless chan-
                                                                           nel to PSMs that
                                                                           correspond to ser-
                                                                           vice class UUIDs
                                                                           which are allowed
                                                                           to utilize Level 0.

Table 5.8: Security Level mapping to link key requirements
 1. Though encryption is not necessary for the service for Level 1, this specification man-
    dates the use of encryption when the remote device is v2.1+EDR for all services other
    than SDP.

An authenticated link key is a link key where either the numeric comparison,
out-of-band, or passkey entry simple pairing association models were used. An
authenticated link key has protection against MITM attacks. To ensure that an
authenticated link key is created during the Simple Pairing procedure, the
Authentication_Requirements parameter should be set to one of the MITM
Protection Required options.

An unauthenticated link key is a link key where the “Just Works” simple pairing
association model was used (see [Vol 1] Part A, Section 5.2.4). An
unauthenticated link key does not have protection against MITM attacks. To
allow an unauthenticated link key to be created during the Simple Pairing
procedure, the Authentication_Requirements parameter may be set to one of
the MITM Protection Not Required options.

When both devices support Secure Simple Pairing and at least one device
does not support Secure Connections, the strength of the link key is 96
effective bits. When both devices support Secure Connections, the strength of
the link key is 128 effective bits. Secure Connections does not change the
protection against MITM attacks.

A combination link key is a link key where the v2.0 pairing mechanism was
used to generate the link-key (see [Vol 2] Part C, Section 4.2.2.4).

When both devices support Secure Simple Pairing, GAP shall require at least
an unauthenticated link key and enable encryption for service traffic sent or
received via connection-oriented L2CAP channels. A profile or protocol may
define services that require more security (for example, an authenticated link
key) or no security in the case of SDP or service traffic sent via the L2CAP
connectionless channel for services that do not require security.

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When the device is in Bondable Mode, it shall enable Secure Simple Pairing
mode prior to entering Connectable Mode or establishing a link.

A Bluetooth device in security mode 4 shall respond to authentication and
pairing requests during link establishment when the remote device is in security
mode 3 for backwards compatibility reasons. See Section 5.2.1.3 for more
information.

The remote Controller's and remote Host's support for Secure Simple Pairing
shall be determined by the Link Manager Secure Simple Pairing (Host Support)
feature bit.

A previously generated link key is considered “sufficient” if the link key type is
of the type required for the service, or of a higher strength. Authenticated link
keys are considered higher strength than Unauthenticated or Combination
keys. Unauthenticated link keys are considered higher strength than
Combination keys.




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6 IDLE MODE PROCEDURES – BR/EDR PHYSICAL
  TRANSPORT

The inquiry and discovery procedures described here are applicable only to the
device that initiates them (A). The requirements on the behavior of B is
according to the modes specified in Section 4 and to [2].

                Procedure                                     Ref.               Support

 1              General inquiry                               6.1                C1
 2              Limited inquiry                               6.2                C1

 3              Name discovery                                6.3                O
 4              Device discovery                              6.4                O
 5              Bonding                                       6.5                O

 C1: If initiation of bonding is supported, support for at least one inquiry procedure is manda-
 tory, otherwise optional.
 (Note: Support for LMP-pairing is mandatory [2].)


6.1 GENERAL INQUIRY

6.1.1 Purpose

The purpose of the general inquiry procedure is to provide the initiator with the
Bluetooth device address, clock, Class of Device, page scan mode, and
extended inquiry response information of general discoverable devices (i.e.,
devices that are in range with regard to the initiator and are set to scan for
inquiry messages with the General Inquiry Access Code). Also devices in
limited discoverable mode will be discovered using general inquiry.

The general inquiry should be used by devices that need to discover devices
that are made discoverable continuously or for no specific condition.

6.1.2 Term on UI level

‘Bluetooth Device Inquiry’.




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6.1.3 Description


                                                                          B"
                                                                     B'
                              A                                  B


                                             Inquiry (GIAC)


                                              inquiry_res


                                                   inquiry_res




                            list of
                          Bluetooth
                           Device
                          Addresses




Figure 6.1: General inquiry, where B is a device in non-discoverable mode, B´ is a device in limited
discoverable mode and B” is a device in general discoverable mode. (Note that all discoverable
devices are discovered using general inquiry, independent of which discoverable mode they are in.)


6.1.4 Conditions

When general inquiry is initiated by a Bluetooth device, the INQUIRY state
shall last TGAP(100) or longer, unless the inquirer collects enough responses
and determines to abort the INQUIRY state earlier. The Bluetooth device shall
perform inquiry using the GIAC.

In order for Device A to receive inquiry responses, the remote devices in range
have to be made discoverable (limited or general).

6.2 LIMITED INQUIRY

6.2.1 Purpose

The purpose of the limited inquiry procedure is to provide the initiator with the
Bluetooth device address, clock, Class of Device, page scan mode, and
extended inquiry response information of limited discoverable devices. The
latter devices are devices that are in range with regard to the initiator, and may
be set to scan for inquiry messages with the Limited Inquiry Access Code, in
addition to scanning for inquiry messages with the General Inquiry Access
Code.



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The limited inquiry should be used by devices that need to discover devices
that are made discoverable only for a limited period of time, during temporary
conditions or for a specific event. Since it is not guaranteed that the
discoverable device scans for the LIAC, the initiating device may choose any
inquiry procedure (general or limited). Even if the remote device that is to be
discovered is expected to be made limited discoverable (e.g., when a
dedicated bonding is to be performed), the limited inquiry should be done in
sequence with a general inquiry in such a way that both inquiries are
completed within the time the remote device is limited discoverable; i.e., at
least TGAP(103).

6.2.2 Term on UI level

’Bluetooth Device Inquiry’.

6.2.3 Description



                                                                       B"
                                                                  B'
                              A                               B


                                             Inquiry (LIAC)


                                              inquiry_res




                            list of
                          Bluetooth
                           Device
                          Addresses




Figure 6.2: Limited inquiry where B is a device in non-discoverable mode, B’ is a device in limited
discoverable mode and B” is a device in general discoverable mode. (Note that only limited
discoverable devices can be discovered using limited inquiry.)


6.2.4 Conditions

When limited inquiry is initiated by a Bluetooth device, the INQUIRY state shall
last TGAP(100) or longer, unless the inquirer collects enough responses and
determines to abort the INQUIRY state earlier. The Bluetooth device shall
perform inquiry using the LIAC.

In order for Device A to receive inquiry responses, the remote devices in range
has to be made limited discoverable.


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6.3 NAME DISCOVERY

6.3.1 Purpose

The purpose of name discovery is to provide the initiator with the Bluetooth
Device Name of connectable devices (i.e., devices in range that will respond to
paging).

6.3.2 Term on UI level

’Bluetooth Device Name Discovery’.

6.3.3 Description

6.3.3.1 Name request

Name request is the procedure for retrieving the Bluetooth Device Name from
a connectable Bluetooth device. It is not necessary to perform the full link
establishment procedure (see 7.1) in order to just to get the name of another
device.



                                  A                             B



                                                     Paging


                                              LMP_name_req


                                              LMP_name_res


                                                   LMP_detach




Figure 6.3: Name request procedure


6.3.3.2 Name discovery

Name discovery is the procedure for retrieving the Bluetooth Device Name
from connectable Bluetooth devices by performing name request towards
known devices (i.e., Bluetooth devices for which the Bluetooth Device
Addresses are available).




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                                                                       B"
                                                                  B'
                              A                               B


                             list of
                           Bluetooth
                            Device
                           Addresses




                                           Name request



                                             Name request


                                               Name request



                             list of
                           Bluetooth
                         Device Names




Figure 6.4: Name discovery procedure


6.3.4 Conditions

In the name request procedure, the initiator will use the Device Access Code of
the remote device as retrieved immediately beforehand – normally through an
inquiry procedure.

6.4 DEVICE DISCOVERY
This section only applies to a device of the BR/EDR and BR/EDR/LE device
type.

6.4.1 Purpose

The purpose of device discovery is to provide the initiator with the Bluetooth
Device Address, clock, Class of Device, used page scan mode, Bluetooth
Device Name, and extended inquiry response information of discoverable
devices.

6.4.2 Term on UI Level

’Bluetooth Device Discovery’.



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6.4.3 Description

During the device discovery procedure, first an inquiry (either general or
limited) is performed, and then name discovery is done towards some or all of
the devices that responded to the inquiry. If the initiator of the device discovery
receives a complete local name or a shortened local name that is considered
long enough, via an extended inquiry response from a remote device, the
initiator should not do a separate name discovery for that device.


                                                                        B"
                                                                   B'
                                          A                    B


                  initiate                                               make discoverable & connectable
             device discovery


                                                   Inquiry
   list of discovered Bluetooth devices
     (Bluetooth Device Addresses and
        Extended Inquiry Response
                 information)

                                              Name discovery
   list of discovered Bluetooth devices
         (Bluetooth Device Names)




Figure 6.5: Device discovery procedure


6.4.4 Conditions

Conditions for both inquiry (general or limited) and name discovery must be
fulfilled (i.e., devices discovered during device discovery must be both
discoverable and connectable).




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6.5 BONDING

6.5.1 Purpose

The purpose of bonding is to create a relation between two Bluetooth devices
based on a common link key (a bond). The link key is created and exchanged
(pairing) during the bonding procedure and is expected to be stored by both
Bluetooth devices, to be used for future authentication. In addition to pairing,
the bonding procedure can involve higher-layer initialization procedures.

6.5.2 Term on UI level

’Bluetooth Bonding’.

6.5.3 Description

Two forms of bonding are described in the following sections: General Bonding
and Dedicated Bonding.

6.5.3.1 General Bonding

General Bonding refers to the process of performing bonding during
connection setup or channel establishment procedures as a precursor to
accessing a service.

When the devices that are performing General Bonding both support Secure
Simple Pairing, the Authentication_Requirements parameter should be set to
MITM Protection Not Required – General Bonding unless the security policy of
an available local service requires MITM Protection in which case the
Authentication_Requirements parameter shall be set to MITM Protection
Required – General Bonding. 'No bonding' is used when the device is
performing a Secure Simple Pairing procedure, but does not intend to retain
the link key after the physical link is disconnected.




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                                    A                                    B


          Initiate bonding
                                                                                    Make bondable
            (BD_ADDR)

                          Delete link key to
                           paged device

                                               LMP_host_connection_req
                                                    LMP_accepted




                                                 LMP_setup_complete

                                                 LMP_setup_complete


                                                       Pairing



    Update list of paired devices                                            Update list of paired devices



Figure 6.6: General description of general bonding as being the link establishment procedure
executed under specific conditions on both devices, followed by authentication and an optional
higher layer initialization process.


6.5.3.2 Dedicated Bonding

Dedicated Bonding refers to a procedure wherein one device connects to
another only for the purpose of pairing without accessing a particular service.
The main difference with dedicated bonding, as compared to a pairing done
during link or channel establishment, is that for bonding it is the paging device
(A) that must initiate the authentication.

When the devices that are performing Dedicated Bonding both support Secure
Simple Pairing, the Authentication_Requirements parameter should be set to
MITM Protection Not Required – Dedicated Bonding unless the security policy
of an available local service requires MITM Protection in which case the
Authentication Required parameter shall be set to MITM Protection Required –
Dedicated Bonding. 'No bonding' is used when the device is performing a
Secure Simple Pairing procedure, but does not intend to retain the link key
after the physical link is disconnected.




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                                     A                                                    B


           Initiate bonding
                                                                                                     Make bondable
             (BD_ADDR)

                           Delete link key to
                            paged device

                                                  LMP_host_connection_req
                                                        LMP_accepted

                                                          Pairing
                                         (Dedicated Bonding for 2.0 or earlier devices)

                                                     LMP_setup_complete

                                                     LMP_setup_complete


                                          Pairing (For 2.1 or later devices or general
                                               bonding for 2.0 or earlier devices)

                                                         LMP_detach
     Update list of paired devices                                                            Update list of paired devices




Figure 6.7: Dedicated Bonding as performed when the purpose of the procedure is only to create
and exchange a link key between two Bluetooth devices


6.5.4 Conditions

Before bonding can be initiated, the initiating device (A) must know the Device
Access Code of the device to pair with. This is normally done by first
performing device discovery. A Bluetooth Device that can initiate bonding (A)
should use limited inquiry, and a Bluetooth Device that accepts bonding (B)
should support the limited discoverable mode.

Bonding is in principle the same as link establishment with the conditions:
• The paged device (B) shall be set into bondable mode. The paging device
  (A) is assumed to allow pairing since it has initiated the bonding procedure.
• The paging device (the initiator of the bonding procedure, A) shall initiate
  authentication.
• Before initiating the authentication part of the bonding procedure, the paging
  device should delete any link key corresponding to a previous bonding with
  the paged device.




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7 ESTABLISHMENT PROCEDURES – BR/EDR
  PHYSICAL TRANSPORT


       Procedure                                       Ref.   Support in A     Support in B

 1     Link establishment                              7.1    M                M
 2     Channel establishment                           7.2    O                M
 3     Connection establishment                        7.3    O                O

 4     Synchronization establishment                   7.5    O                O
Table 7.1: Establishment procedures

The establishment procedures defined here do not include any discovery part.
Before establishment procedures are initiated, the information provided during
device discovery (in the FHS packet or the extended inquiry response packet
of the inquiry response or in the response to a name request or in the
synchronization train packet) must be available in the initiating device.
This information is:
• The Bluetooth Device Address (BD_ADDR) from which the Device Access
  Code is generated
• The system clock of the remote device
• The page scan mode used by the remote device for Link establishment.

Additional information provided during device discovery that may be useful for
making the decision to initiate an establishment procedure is:
• The Class of device
• The Device name
• The supported Service Classes.

7.1 LINK ESTABLISHMENT

7.1.1 Purpose

The purpose of the link establishment procedure is to establish a logical
transport (of ACL type) between two Bluetooth devices using procedures from
[1] and [2].

7.1.2 Term on UI Level

’Bluetooth link establishment’




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7.1.3 Description

In this sub-section, the paging device (A) is in security mode 3. During link
establishment, the paging device cannot distinguish if the paged device (B) is
in security mode 1, 2 or 4.

7.1.3.1 B in security mode 1, 2, or 4



                                  A                               B

                 init                                                 make connectable

                                                 Paging



                                           Switch negotiation



                                               Link setup


                                      LMP_host_connection_req
                                          LMP_accepted



                                             Authentication


                                         Encryption negotiation



                                          Link setup complete




Figure 7.1: Link establishment procedure when the paging device (A) is in security mode 3 and the
paged device (B) is in security mode 1, 2, or 4




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7.1.3.2 B in security mode 3


                                    A                              B

                   init                                                Make connectable

                                                  Paging


                                                Link setup


                                        LMP_host_connection_req


                                            Switch negotiation


                                              LMP_accepted



                                              Authentication

                                              Authentication


                                          Encryption negotiation



                                           Link setup complete




Figure 7.2: Link establishment procedure when both the paging device (A) and the paged device
(B) are in security mode 3


7.1.4 Conditions

The paging procedure shall be according to [Vol 2] Part B, Section 8.3 and the
paging device should use the Device Access Code and page mode received
through a previous inquiry. When paging is completed, a physical link between
the two Bluetooth devices is established.

If role switching is needed (normally it is the paged device that has an interest
in changing the master/slave roles) it should be done as early as possible after
the physical link is established. If the paging device does not accept the switch,
the paged device has to consider whether to keep the physical link or not.

Both devices may perform link setup (using LMP procedures that require no
interaction with the Host on the remote side). Optional LMP features can be
used after having confirmed (using LMP_features_req) that the other device
supports the feature.



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When the paging device needs to go beyond the link setup phase, it issues a
request to be connected to the Host of the remote device. If the paged device
is in security mode 3, this is the trigger for initiating authentication.

The paging device shall send LMP_host_connection_req during link
establishment (i.e., before channel establishment) and may initiate
authentication only after having sent LMP_host_connection_req.

After an authentication has been performed, any of the devices can initiate
encryption.

Further link configuration may take place after the LMP_host_connection_req.
When both devices are satisfied, they send LMP_setup_complete.

Link establishment is completed when both devices have sent
LMP_setup_complete.

7.2 CHANNEL ESTABLISHMENT

7.2.1 Purpose

The purpose of the channel establishment procedure is to establish a Bluetooth
channel (L2CAP channel) between two Bluetooth devices using [1].

7.2.2 Term on UI level

’Bluetooth channel establishment’.

7.2.3 Description

In this sub-section, the initiator (A) is in security mode 3. During channel
establishment, the initiator cannot distinguish if the acceptor (B) is in security
mode 1 or 3.




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7.2.3.1 B in security mode 2 or 4


                                  A                               B


                                               established link


                                          L2CAP_ConnectReq



                                              Authentication



                                         Encryption negotiation

                                        L2CAP_ConnectRsp(+)


Figure 7.3: Channel establishment procedure when the initiator (A) is in security mode 3 and the
acceptor (B) is in security mode 2 or 4


7.2.3.2 B in security mode 1 or 3


                                  A                               B


                                               established link


                                          L2CAP_ConnectReq

                                        L2CAP_ConnectRsp(+)


Figure 7.4: Channel establishment procedure when the initiator (A) is in security mode 3 and the
acceptor (B) is in security mode 1 or 3


7.2.4 Conditions

Channel establishment starts after link establishment is completed when the
initiator sends a channel establishment request (L2CAP_ConnectReq).

Depending on security mode, security procedures may take place after the
channel establishment has been initiated.

Channel establishment is completed when the acceptor responds to the
channel establishment request (with a positive L2CAP_ConnectRsp).



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7.3 CONNECTION ESTABLISHMENT

7.3.1 Purpose

The purpose of the connection establishment procedure is to establish a
connection between applications on two Bluetooth devices.

7.3.2 Term on UI level

’Bluetooth connection establishment’

7.3.3 Description

In this sub-section, the initiator (A) is in security mode 3. During connection
establishment, the initiator cannot distinguish if the acceptor (B) is in security
mode 1 or 3.

7.3.3.1 B in security mode 2 or 4


                                  A                               B


                                            established channel


                                            connect_est_req



                                              Authentication



                                         Encryption negotiation

                                            connect_est_acc


Figure 7.5: Connection establishment procedure when the initiator (A) is in security mode 3 and the
acceptor (B) is in security mode 2 or 4




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7.3.3.2 B in security mode 1 or 3


                                  A                                B

                                             established channel


                                            connect_est_req

                                            connect_est_acc


Figure 7.6: Connection establishment procedure when the initiator (A) is in security mode 3 and the
acceptor (B) is in security mode 1 or 3


7.3.4 Conditions

Connection establishment starts after channel establishment is completed,
when the initiator sends a connection establishment request (’connect_est_req’
is application protocol-dependent). This request may be a TCS SETUP
message [4] in the case of a Bluetooth telephony application Cordless
Telephony Profile, or initialization of RFCOMM and establishment of DLC [3] in
the case of a serial port-based application Serial Port Profile (although neither
TCS or RFCOMM use the term ‘connection’ for this).

Connection establishment is completed when the acceptor accepts the
connection establishment request (’connect_est_acc’ is application protocol
dependent).

7.4 ESTABLISHMENT OF ADDITIONAL CONNECTION
When a Bluetooth device has established one connection with another
Bluetooth device, it may be available for establishment of:
• A second connection on the same channel, and/or
• A second channel on the same logical link, and/or
• A second physical link.

If the new establishment procedure is to be towards the same device, the
security part of the establishment depends on the security modes used. If the
new establishment procedure is to be towards a new remote device, the device
should behave according to active modes independent of the fact that it
already has another physical link established (unless allowed co-incident radio
and baseband events have to be handled).




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7.5 SYNCHRONIZATION ESTABLISHMENT

7.5.1 Purpose
The purpose of the Synchronization Establishment procedure is for a device to
receive synchronization train packets using the procedures in [Vol 2] Part B,
Section 2.7.3

7.5.2 Term on UI Level
’Bluetooth synchronization establishment’

7.5.3 Description

In Figure 7.7 the receiving device (B) is attempting to receive synchronization
train packets from device (A).


                                     A                 B

    Set Connectionless Slave Broadcast
                                         Broadcast




                                         Broadcast
    Start Synchronization Train
                                         Broadcast

                                         Broadcast

                                         Sync train

                                                           Receive Synchronization Train

                                         Sync train
                                                           Synchronization Train Received




Figure 7.7: Synchronization establishment procedure


7.5.4 Conditions

After receiving a synchronization train packet, the receiving device can listen to
and receive profile data sent via Connectionless Slave Broadcast by device A.
Note that devices A and B may go through a separate Link Establishment
procedure any time they desire to establish an ACL logical transport between
each other. They may also use Connectionless Slave Broadcast procedures
with an ACL logical transport already established.

The receiving device shall enter the synchronization scan substate using a
scan interval of TGAP(Sync_Scan_Interval) and a scan window of
TGAP(Sync_Scan_Window).

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8 EXTENDED INQUIRY RESPONSE DATA FORMAT

The extended inquiry response data format is shown in Figure 8.1. The data is
240 octets and consists of a significant part and a non-significant part. The
significant part contains a sequence of data structures. Each data structure
shall have a length field of one octet, which contains the Length value, and a
data field of Length octets. The first n octets of the data field contain the
extended inquiry response (EIR) data type. The content of the remaining
Length - n octets in the data field depends on the value of the EIR data type
and is called the EIR data. The non-significant part extends the extended
inquiry response to 240 octets and shall contain all-zero octets.

                                             Extended Inquiry Response (240 octets)


                    Significant part                                                  Non-significant part


    EIR Data       EIR Data                     EIR Data
                                       ...                                                 000...000
   Structure 1    Structure 2                  Structure N




  1 octet           Length octets

  Length            Data




                    n octets                  Length - n octets

                    EIR Data Type             EIR Data


Figure 8.1: Extended Inquiry Response data format


The extended inquiry response data formats and meanings are defined in
[Core Specification Supplement], Part A.The extended inquiry response data
type values are defined in the Assigned Numbers document.

If the length field is set to zero, then the data field has zero octets. This shall
only occur to allow an early termination of the tagged data.

To reduce interference, the Host should try to minimize the amount of EIR data
such that the baseband can use a 1-slot or 3-slot EIR packet. This is
advantageous because it reduces interference and maximizes the probability
that the EIR packet will be received. If applications on a Host provide more
than 240 bytes of extended inquiry response data, it is up to the Host to limit it
to 240 octets.

The EIR data shall be sent during the inquiry response state. EIR data can
contain device name, Tx power level, service class UUIDs, as well as
manufacturer’s data, as defined in [Core Specification Supplement], Part A. In
selecting the packet type to be used, FEC (DM1 or DM3) should be considered
to maximize the range.

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The Host shall include the device name in the EIR data according to the
following rules:
1. If the device does not have a device name (i.e., 0 octet) and
              a) If there is no other data to be sent in the EIR packet, the Host shall
                 send a name tag with zero length and the type field set to indicate
                 that this is the complete name (i.e., total of 2 octets with length =
                 1).
              b) If there is other important data to be sent in the EIR packet and a
                 zero octet name tag will not fit, the Host may avoid sending the
                 name tag.
2. If the device has a device name (greater than 0 octet) and
              a) If it is too long be included in the EIR packet (given the choice of
                 packet type and any other data that is being sent), the Host may
                 send a shortened version of the name (even 0 octet) and shall
                 mark the name as 'shortened' to inform the receiver that a remote
                 name request is required obtain the full name if the name is
                 needed.
              b) If there are no other data to be sent in the EIR packet (given the
                 choice of packet type selected), the Host shall maximize the length
                 of the device name to be sent, this may be complete or shortened
                 name (e.g., if DM1 packet is chosen and device name characters
                 equates to greater than 15 octets, then Host sends first few
                 characters that equates to 15 octets or less with shortened flag).

Note: It is not necessary to understand each and every EIR data type. If the
Host does not understand a given EIR data type value it should just skip over
Length octets and look for the next EIR data structure.




Extended Inquiry Response Data Format                                     06 December 2016
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9 OPERATIONAL MODES AND PROCEDURES – LE
  PHYSICAL TRANSPORT

Several different modes and procedures may be performed simultaneously
over an LE physical transport. The following modes and procedures are
defined for use over an LE physical transport:
• Broadcast mode and observation procedure
• Discovery modes and procedures
• Connection modes and procedures
• Bonding modes and procedures
• Periodic advertising modes and procedure

Each of the above modes and procedures are independent from each other but
are closely related since a combination of the modes and procedures are
necessary for most devices to communicate with each other. Both the modes
and procedures may be entered or executed respectively as a result of direct
user action or autonomously by a device.

The Host shall configure the Controller with its local Link Layer feature
information as defined in [Vol 6] Part B, Section 4.6 before performing any of
the above modes and procedures.

The types of advertising used in these modes and procedures for each of the
associated GAP roles are defined in Section 2.2.2 Table 2.1.

9.1 BROADCAST MODE AND OBSERVATION PROCEDURE
The broadcast mode and observation procedure allow two devices to
communicate in a unidirectional connectionless manner using the advertising
events. The requirements for a device operating in a specific GAP role to
support the broadcast mode and observation procedure are defined in Table
9.1.

 Broadcast Mode and Observation
 procedure                                             Ref.    Broadcaster     Observer

 Broadcast mode                                        9.1.1   M               E
 Observation procedure                                 9.1.2   E               M
Table 9.1: Broadcast mode and Observation procedure Requirements




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9.1.1 Broadcast Mode

9.1.1.1 Definition

The broadcast mode provides a method for a device to send connectionless
data in advertising events.

9.1.1.2 Conditions

A device in the broadcast mode shall send data using non-connectable
advertising events.

A device in the broadcast mode may send non-connectable and non-
scannable undirected or non-connectable and non-scannable directed
advertising events anonymously by excluding the broadcaster's address.

The advertising data shall be formatted using the Advertising Data (AD) type
format as defined in [Core Specification Supplement], Part A, Section 1.3. A
device in the broadcast mode shall not set the ‘LE General Discoverable Mode’
flag or the ‘LE Limited Discoverable Mode’ flag in the Flags AD Type as defined
in [Core Specification Supplement], Part A, Section 1.3.

Note: All data sent by a device in the broadcast mode is considered unreliable
since there is no acknowledgment from any device that may have received the
data.

The device may configure and enable multiple independent advertising sets.
Each advertising set may have an independent advertising filter policy.

9.1.2 Observation Procedure

9.1.2.1 Definition

The observation procedure provides a method for a device to receive
connectionless data from a device that is sending advertising events.

9.1.2.2 Conditions

A device performing the observation procedure may use passive scanning or
active scanning to receive advertising events.

A device performing the observation procedure may use active scanning to
also receive scan response data sent by any device in the broadcast mode that
advertises using scannable advertising events.

When a device performing the observation procedure receives a resolvable
private address in the advertising event, the device may resolve the private
address by using the resolvable private address resolution procedure as
defined in Section 10.8.2.3.

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Note: In use cases where a device in the broadcast mode sends dynamic data,
the receiving device should disable duplicate filtering capability in the Controller
so that the Host receives all advertising packets received by the Controller.

9.2 DISCOVERY MODES AND PROCEDURES
All devices shall be in either non-discoverable mode or one of the discoverable
modes. A device in the discoverable mode shall be in either the general
discoverable mode or the limited discoverable mode. A device in the non-
discoverable mode is not discoverable. Devices operating in either the general
discoverable mode or the limited discoverable mode can be found by the
discovering device. A device that is discovering other devices performs either
the limited discovery procedure as defined in Section 9.2.5 or the general
discovery procedure as defined in Section 9.2.6.

Some devices may only scan for advertising events using legacy advertising
PDUs. It is therefore recommended that devices using advertising events with
the extended advertising PDUs also use an advertising set with advertising
events that use legacy advertising PDUs.

9.2.1 Requirements


 Discovery modes and procedures                      Ref.    Peripheral   Central

 Non-Discoverable mode                               9.2.2   M            E
 Limited Discoverable mode                           9.2.3   O            E

 General Discoverable mode                           9.2.4   C1           E
 Limited Discovery procedure                         9.2.5   E            O
 General Discovery procedure                         9.2.6   E            M

 Name Discovery procedure                            9.2.7   O            O
 C1: if limited discoverable mode is not supported then general discoverable
 mode is mandatory, else optional.
Table 9.2: Device discovery requirements


9.2.2 Non-Discoverable Mode

9.2.2.1 Description

A device configured in non-discoverable mode will not be discovered by any
device that is performing either the general discovery procedure or the limited
discovery procedure.




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9.2.2.2 Conditions

A device in the non-discoverable mode may send advertising events. If the
device sends advertising events, it shall not set the ‘LE General Discoverable
Mode’ flag or ‘LE Limited Discoverable Mode’ flag in the Flags AD type (see
[Core Specification Supplement], Part A, Section 1.3).

If the device sends advertising events, then it is recommended that the Host
configures the Controller as follows:
• The Host should set the advertising filter policy for all advertising sets to
  either ‘process scan and connection requests only from devices in the White
  List’ or ‘process scan and connection requests from all devices’.
• The Host should set the advertising intervals as defined in Section 9.3.11.

9.2.3 Limited Discoverable Mode

9.2.3.1 Description

Devices configured in the limited discoverable mode are discoverable for a
limited period of time by other devices performing the limited or general device
discovery procedure. The limited discoverable mode is typically used when a
user performs a specific action to make the device discoverable for a limited
period of time.

9.2.3.2 Conditions

While a device is in the Peripheral role the device may support the limited
discoverable mode. While a device is only in the Broadcaster, Observer or
Central role the device shall not support the limited discoverable mode.

A device in the limited discoverable mode shall send advertising event types
with the advertising data including the Flags AD type as defined in [Core
Specification Supplement], Part A, Section 1.3 with all the following flags set as
described:
• The LE Limited Discoverable Mode flag set to one.
• The LE General Discoverable Mode flag set to zero.
• For a device of the LE-only device type with all the following flags set as
  described:
              a) The ‘BR/EDR Not Supported’ flag to set one.
              b) The ‘Simultaneous LE and BR/EDR to Same Device Capable
                 (Controller)’ flag set to zero.
              c) The ‘Simultaneous LE and BR/EDR to Same Device Capable
                 (Host)’ flag set to zero.




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The advertising data should also include the following AD types to enable a
faster connectivity experience:
• TX Power Level AD type defined in [Core Specification Supplement], Part A,
  Section 1.5.
• Local Name AD type defined in [Core Specification Supplement], Part A,
  Section 1.2.
• Service UUIDs AD type defined in [Core Specification Supplement], Part A,
  Section 1.1.
• Slave Connection Interval Range AD type as defined in [Core Specification
  Supplement], Part A, Section 1.9.

Devices shall remain in the limited discoverable mode no longer than
TGAP(lim_adv_timeout).

While a device is in limited discoverable mode the Host configures the
Controller as follows:
• The Host shall set the advertising filter policy to ‘process scan and
  connection requests from all devices’.
• The Host should set the advertising intervals as defined in Section 9.3.11.

The device shall remain in limited discoverable mode until a connection is
established or the Host terminates the mode.

If a device is in the limited discoverable mode and in the undirected
connectable mode the advertising interval values should be set as defined in
Section 9.3.4

A device in the limited discoverable mode shall not set both the LE Limited
Discoverable Flag and the LE General Discoverable Flag to one.

Note: Host data used in legacy advertising events that change frequently
should be placed in the advertising data and static data should be placed in the
scan response data.

Note: The choice of advertising interval is a trade-off between power
consumption and device discovery time.

The device may configure and enable multiple independent advertising sets.
Each advertising set may have an independent advertising filter policy.

9.2.4 General Discoverable Mode

9.2.4.1 Description

Devices configured in general discoverable mode are intended to be
discoverable by devices performing the general discovery procedure. The


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general discoverable mode is typically used when the device is intending to be
discoverable for a long period of time.

9.2.4.2 Conditions

While a device is in the Peripheral role the device may support the general
discoverable mode. While a device is only in the Broadcaster, Observer or
Central role the device shall not support the general discoverable mode.

A device in general discoverable mode shall send advertising events with the
advertising data including the Flags AD data type as defined in [Core
Specification Supplement], Part A, Section 1.3 with all the following flags set as
described:
• The LE Limited Discoverable Mode flag set to zero.
• The LE General Discoverable Mode flag set to one.
• For a device of the LE-only device type with all the following flags set as
  described:
              a) The ‘BR/EDR Not Supported’ flag set to one.
              b) The ‘Simultaneous LE and BR/EDR to Same Device Capable
                 (Controller)’ flag set to zero.
              c) The ‘Simultaneous LE and BR/EDR to Same Device Capable
                 (Host)’ flag set to zero.

The advertising data should also include the following AD types to enable a
faster connectivity experience:
• TX Power Level AD type as defined in [Core Specification Supplement], Part
  A, Section 1.5.
• Local Name AD type as defined in [Core Specification Supplement], Part A,
  Section 1.2.
• Service UUIDs AD type as defined in [Core Specification Supplement], Part
  A, Section 1.1.
• Slave Connection Interval Range AD type as defined in [Core Specification
  Supplement], Part A, Section 1.9.

While a device is in general discoverable mode the Host configures the
Controller as follows:
• The Host shall set the advertising filter policy for all advertising sets to
  ‘process scan and connection requests from all devices’.
• The Host should set the advertising intervals as defined in Section 9.3.11.

The device shall remain in general discoverable mode until a connection is
established or the Host terminates the mode.




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If a device is in the general discoverable mode and in the directed connectable
mode or the non-connectable mode, the advertising interval values should be
set as defined in Section 9.3.3.

A device in the general discoverable mode shall not set both the LE Limited
Discoverable Flag and the LE General Discoverable Flag to one.

Note: Host data used in legacy advertising events that change frequently
should be placed in the advertising data and static data should be placed in the
scan response data.

Note: The choice of advertising interval is a trade-off between power
consumption and device discovery time.

9.2.5 Limited Discovery Procedure

9.2.5.1 Description

A device performing the limited discovery procedure receives the device
address, advertising data and scan response data from devices in the limited
discoverable mode only.
.


                                                                        Peripheral
                           Central                                   Peripheral’

                                                                                   make general discoverable
          start scanning                                                      make limited discoverable
                                     advertising event (‘limited )


                                     advertising event (‘general’)




           stop scanning


                      list of limited
                      discoverable
                           mode
                      devices only




Figure 9.1: A Central performing limited discovery procedure discovering Peripherals in the limited
discoverable mode




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9.2.5.2 Conditions

While a device is in the Central role the device may support the limited
discovery procedure. While a device is only in the Broadcaster, Observer or
Peripheral role the device shall not support the limited discovery procedure.

It is recommended that the device scan on all the PHYs it supports.

When a Host performs the limited discovery procedure, the Host configures the
Controller as follows:
1. The Host shall set the scanner filter policy to ‘process all advertising
   packets’.
2. The Host should set the scan interval and scan window as defined in
   Section 9.3.11.
3. The Host should configure the Controller to use active scanning.

The Host shall begin scanning for advertising packets and should continue for
a minimum of TGAP(lim_disc_scan_min) when scanning on the LE 1M PHY
and TGAP(lim_disc_scan_min_coded) when scanning on the LE Coded PHY,
unless the Host ends the limited discovery procedure.

The Host shall check for the Flags AD type in the advertising data. If the Flags
AD type is present and the LE Limited Discoverable Flag is set to one then the
Host shall consider the device as a discovered device, otherwise the
advertising data shall be ignored. The Flag AD type is defined in [Core
Specification Supplement], Part A, Section 1.3. The advertising data of the
discovered device may contain data with other AD types, e.g. Service UUIDs
AD type, TX Power Level AD type, Local Name AD type, Slave Connection
Interval Range AD type. The Host may use the data in performing any of the
connection establishment procedures.

The Host shall ignore the 'Simultaneous LE and BR/EDR to Same Device
Capable (Controller)' and 'Simultaneous LE and BR/EDR to Same Device
Capable (Host)' bits in the Flags AD type.

9.2.6 General Discovery Procedure

9.2.6.1 Description

A device performing the general discovery procedure receives the device
address, advertising data and scan response data from devices in the limited
discoverable mode or the general discoverable mode.




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                                                                        Peripheral
                           Central                                   Peripheral’

                                                                                   make general discoverable
          start scanning                                                      make limited discoverable
                                     advertising event ( limited )


                                     advertising event ( general’)




           stop scanning

                         list of all
                       limited and
                          general
                      discoverable
                           mode
                          devices




Figure 9.2: A Central performing general discovery procedure discovering Peripherals in the limited
discoverable mode and general discoverable mode


9.2.6.2 Conditions

While a device is in the Central role the device shall support the general
discovery procedure. While a device is only in the Broadcaster, Observer or
Peripheral role the device shall not support the general discovery procedure.

It is recommended that the device scan on all the PHYs it supports.

When a Host performs the general discovery procedure, the Host configures
the Controller as follows:
1. The Host shall set the scanner filter policy to ‘process all advertising packets’.
2. The Host should set the scan interval and scan window as defined in
   Section 9.3.11.
3. The Host should configure the Controller to use active scanning.

The Host shall begin scanning for advertising packets and should continue for
a minimum of TGAP(gen_disc_scan_min) when scanning on the LE 1M PHY
and TGAP(gen_disc_scan_min_coded) when scanning on the LE Coded PHY.
The procedure may be terminated early by the Host.

The Host shall check for the Flags AD type in the advertising data. If the Flags
AD type (see [Core Specification Supplement], Part A, Section 1.3) is present
and either the LE General Discoverable Mode flag is set to one or the LE Limited
Discoverable Mode flag is set to one then the Host shall consider the device as a

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discovered device, otherwise the advertising data shall be ignored. The
advertising data of the discovered device may contain data with other AD types,
e.g. Service UUIDs AD type, TX Power Level AD type, Local Name AD type,
Slave Connection Interval Range AD type. The Host may use the data in
performing any of the connection establishment procedures as defined in
Section 9.3.

The Host shall ignore the 'Simultaneous LE and BR/EDR to Same Device
Capable (Controller)' and 'Simultaneous LE and BR/EDR to Same Device
Capable (Host)' bits in the Flags AD type.

9.2.7 Name Discovery Procedure

9.2.7.1 Description

The name discovery procedure is used to obtain the Bluetooth Device Name of
a remote connectable device.

9.2.7.2 Conditions

If the complete device name is not acquired while performing either the limited
discovery procedure or the general discovery procedure, then the name
discovery procedure may be performed.

The name discovery procedure shall be performed as follows:
1. The Host shall establish a connection using one of the connection establish-
   ment procedures as defined in Section 9.3.
2. The Host shall read the device name characteristic using the GATT
   procedure Read Using Characteristic UUID [Vol 3] Part G, Section 4.8.2
3. The connection may be terminated after the GATT procedure has completed.

9.3 CONNECTION MODES AND PROCEDURES
The connection modes and procedures allow a device to establish a
connection to another device.

When devices are connected, the parameters of the connection can be
updated with the Connection Parameter Update procedure. The connected
device may terminate the connection using the Terminate Connection
procedure. The requirements for a device to support the connection modes
and procedures are defined in Table 9.3.




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9.3.1 Requirements


 Connection Modes and
 Procedures                            Ref.      Peripheral   Central   Broadcaster     Observer

 Non-connectable mode                  9.3.2     M            E         M               M
 Directed connectable mode             9.3.3     O            E         E               E
 Undirected connectable                9.3.4     M            E         E               E
 mode

 Auto connection establish-            9.3.5     E            O         E               E
 ment procedure
 General connection estab-             9.3.6     E            O         E               E
 lishment procedure
 Selective connection estab-           9.3.7     E            O         E               E
 lishment procedure
 Direct connection establish-          9.3.8     E            M         E               E
 ment procedure
 Connection parameter                  9.3.9     O            M         E               E
 update procedure

 Terminate connection proce-           9.3.10    M            M         E               E
 dure

Table 9.3: Connection modes and procedures requirements1
 1. Note: Requirements listed in the table above refer to the specific role a device is oper-
    ating in. Devices supporting multiple roles are required to support the specified modes
    and procedures for a given role while operating in that role.


9.3.2 Non-Connectable Mode

9.3.2.1 Description

A device in the non-connectable mode shall not allow a connection to be
established.

9.3.2.2 Conditions

While a device is in the Peripheral role the device shall support the non-
connectable mode. A device in the Broadcaster or Observer role cannot
establish a connection, therefore the device is considered to support the non-
connectable mode.

A Peripheral device in the non-connectable mode may send non-connectable
advertising events. In this case it is recommended that the Host configures the
Controller as follows:



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• The Host should set the advertising filter policy to either ‘process scan and
  connection requests only from devices in the White List’ or ‘process scan
  and connection requests from all devices’.
• The Host should set the advertising intervals as defined in Section 9.3.11.

The device may configure and enable multiple independent advertising sets.
Each advertising set may have an independent advertising filter policy.

9.3.3 Directed Connectable Mode

9.3.3.1 Description

A device in the directed connectable mode shall accept a connection request
from a known peer device performing the auto connection establishment
procedure or the general connection establishment procedure.

9.3.3.2 Conditions

While a device is in the Peripheral role the device may support the directed
connectable mode. This mode shall only be used if the device has a known
peer device address. While a device is only in the Broadcaster, Observer, or
the Central role the device shall not support the direct connectable mode.

A Peripheral device shall send connectable directed advertising events.

The device may configure and enable multiple independent advertising sets.
Each advertising set may have an independent advertising filter policy.




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9.3.4 Undirected Connectable Mode

9.3.4.1 Description

A device in the undirected connectable mode shall accept a connection
request from a device performing the auto connection establishment procedure
or the general connection establishment procedure.

9.3.4.2 Conditions

While a device is in the Peripheral role the device shall support the undirected
connectable mode. While a device is only in the Broadcaster, Observer, or the
Central role the device shall not support the undirected connectable mode.

A Peripheral device should follow the guidelines defined in Section 9.3.11. A
Peripheral device shall send either connectable and scannable undirected
advertising events or connectable undirected advertising events.

The device may configure and enable multiple independent advertising sets.
Each advertising set may have an independent advertising filter policy.

9.3.5 Auto Connection Establishment Procedure

9.3.5.1 Description

The auto connection establishment procedure allows the Host to configure the
Controller to autonomously establish a connection with one or more devices in
the directed connectable mode or the undirected connectable mode. White
Lists in the Controller are used to store device addresses. This procedure uses
the initiator White List in the Controller. The Controller autonomously
establishes a connection with a device with the device address that matches
the address stored in the White List.

9.3.5.2 Conditions

While a device is in the Central role the device may support the auto
connection establishment procedure. While a device is only in the Broadcaster,
Observer, or Peripheral role the device shall not support the auto connection
establishment procedure.




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                                               Auto connection
                                                establishment
                                                  procedure




                                     Host writes list of device addresses to
                                             the Controller whitelist




                                       Host sets initiator’s filter policy to:
                                   ‘process connectable advertising packets
                                       from all devices in the White List’




                                          Host sets connection, slave
                                         latency and scan parameters




                                               End of procedure



Figure 9.3: Flow chart for a device performing the auto connection establishment procedure


When a Host performs the auto connection establishment procedure, the Host
configures the Controller as follows:
1. The Host shall write the list of device addresses that are to be auto con-
   nected to into the White List.
2. The Host shall set the initiator filter policy to ‘process connectable
   advertising packets from all devices in the White List’.
3. The Host should set the scan interval and scan window as defined in
   Section 9.3.11.
4. The Host should set connection parameters as defined in Section 9.3.12.

This procedure is terminated when a connection is established or when the
Host terminates the procedure.

9.3.6 General Connection Establishment Procedure

9.3.6.1 Description

The general connection establishment procedure allows the Host to establish a
connection with a set of known peer devices in the directed connectable mode
or the undirected connectable mode.



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9.3.6.2 Conditions

While a device is in the Central role the device may support the general
connection establishment procedure. While a device is only in the Broadcaster,
Observer, or Peripheral role the device shall not support the general
connection establishment procedure.



                                         General connection
                                        establishment procedure




                                  Host sets scanner filter policy to one
                                     of the 'accept all' advertisLQJ
                                             packet options




                                 Host sets scan parameters and starts
                                               scanning




                                       Host compares received
                                   advertisers address with the list of
                                     devices it wants to connect to




                                               Connect to
                                               peripheral
                                                device?


                                                   Yes

                                             Stop scanning




                                      Initiate connection using the
                                   directed connection establishment
                                                 procedure
                                                                           No



                                         Connection successful




                                            End of procedure



Figure 9.4: Flow chart for a device performing the general connection establishment procedure




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When a Host performs the general connection establishment procedure, the
Host configures the Controller as follows:
1. The Host shall set the scanner filter policy to one of the ‘accept all’ options as
   defined in [Vol 2] Part E, Section 7.8.10.
2. The Host should set the scan interval as defined in Section 9.3.11.
3. The Host should set the scan window as defined in Section 9.3.11.
4. The Host shall start scanning.
5. The Host should set connection parameters as defined in Section 9.3.12.

When the Host discovers a device to which the Host may attempt to connect,
the Host shall stop the scanning, and initiate a connection using the direct
connection establishment procedure.

This procedure is terminated when a connection is established or when the
Host terminates the procedure.

9.3.7 Selective Connection Establishment Procedure

9.3.7.1 Description

The selective connection establishment procedure allows the Host to establish
a connection with the Host selected connection configuration parameters with
a set of devices addresses in the White List.

9.3.7.2 Conditions

While a device is in the Central role the device may support the selective
connection establishment procedure. While a device is only in the Broadcaster,
Observer, or the Peripheral role the device shall not support the selective
connection establishment procedure. Figure 9.5 shows the flow chart for a
device performing the selective connection establishment procedure.

When a Host performs the selective connection establishment procedure, the
Host configures the Controller as follows:
1. The Host shall write the list of device addresses that are to be selectively
   connected into the White List.
2. The Host shall set the scanner filter policy to the 'accept only' option as
   defined in [Vol 2] Part E, Section 7.8.10.
3. The Host should set the scan interval as defined in Section 9.3.11.
4. The Host should set the scan window as defined in Section 9.3.11.
5. The Host shall start active scanning or passive scanning.




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When the Host discovers one of the peer devices it is connecting to, the Host shall
stop scanning, and initiate a connection using the direct connection establishment
procedure with the connection configuration parameters for that peer device.

This procedure is terminated when a connection is established or when the
Host terminates the procedure.


                                        Selective connection
                                       establishment procedure




                                  Host writes list of device addresses to
                                  the Controller whitelist to selectively
                                                connect to



                                   Host sets scanner filter policy to:
                                       the 'accept only' option




                                      Host sets scan parameters




                                             Start scanning




                                      Host compares received
                                  advertiser’s address with the list of
                                    devices it wants to connect to



                                              Connect to
                                              peripheral          no
                                               device?
                                                     yes


                                             Stop scanning




                                 Initiate connection using the directed
                                 connection establishment procedure
                                   with the connection configuration
                                      parameters for the peripheral




                                           End of procedure


Figure 9.5: Flow chart for a device performing the selective connection establishment procedure

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9.3.8 Direct Connection Establishment Procedure

9.3.8.1 Description

The direct connection establishment procedure allows the Host to establish a
connection with the Host selected connection configuration parameters with a
single peer device.

9.3.8.2 Conditions

While a device is in the Central role the device shall support the direct
connection establishment procedure. While a device is only in the Broadcaster,
Observer, or the Peripheral role the device shall not support the direct
connection establishment procedure.



                                              Directed connection
                                             establishment procedure



                                    Host sets initiator’s filter policy to ‘ignore
                                    the White List and process connectable
                                      advertising packets from a specific
                                      single device specified by the Host’




                                   Host sets the connection parameters for
                                             the Peripheral device




                                        Host initiates a connection to the
                                                 peripheral device




                                                  End of procedure



Figure 9.6: Flow chart for a device performing the directed connection establishment procedure


When a Host performs the direct connection establishment procedure, the Host
configures the Controller as follows:
1. The Host shall set the initiator filter policy to ‘ignore the White List and pro-
   cess connectable advertising packets from a specific single device specified
   by the Host’.
2. The Host shall set the peer address to the device address of the specific
   single device.
3. The Host should set connection parameters as defined in Section 9.3.12.


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4. The Host shall initiate a connection.

This procedure is terminated when a connection is established or when the
Host terminates the procedure.

9.3.9 Connection Parameter Update Procedure

9.3.9.1 Description

The connection parameter update procedure allows a Peripheral or Central to
update the Link Layer connection parameters of an established connection.

9.3.9.2 Conditions

While a device is in the Central role the device shall support the connection
parameter update procedure. While a device is only in the Peripheral role the
device may support the connection parameter update procedure. While a
device is in the Broadcaster or the Observer role the device shall not support
the connection parameter update procedure.

A Central initiating the connection parameter update procedure shall use the
Link Layer Connection Update procedure defined in [Vol 6] Part B, Section
5.1.1 with the required connection parameters if either the Central or the
Peripheral does not support the Connection Parameters Request Link Layer
Control procedure.

If both the Central and Peripheral support the Connection Parameters Request
Link Layer control procedure, then the Central or Peripheral initiating the
connection parameter update procedure shall use the Connection Parameters
Request Link Layer Control procedure defined in [Vol 6] Part B, Section 5.1.7
with the required connection parameters.

If either the Central or the Peripheral does not support the Connection
Parameters Request Link Layer Control procedure, then the Peripheral
initiating the connection parameter update procedure shall use the L2CAP
Connection Parameter Update Request command defined in [Vol 3] Part A,
Section 4.20 with the required connection parameters. The Peripheral shall not
send an L2CAP Connection Parameter Update Request command within
TGAP(conn_param_timeout) of an L2CAP Connection Parameter Update
Response being received. When the Central accepts the Peripheral initiated
Connection Parameter Update, the Central should initiate the Link Layer
Connection Update procedure defined in [Vol 6] Part B, Section 5.1.1 with the
required connection parameters within TGAP(conn_param_timeout).

If the requested or updated connection parameters are unacceptable to the
Central or Peripheral then it may disconnect the connection with the error code
0x3B (Unacceptable Connection Parameters). Devices should be tolerant of
connection parameters given to them by the remote device.


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9.3.10 Terminate Connection Procedure

9.3.10.1 Description

The terminate connection procedure allows a Host to terminate the connection
with a peer device.

9.3.10.2 Conditions

Centrals and Peripherals shall support the terminate connection procedure.
Broadcasters and Observers shall not support the terminate connection
procedure.

The Host initiating the terminate connection procedure shall use the Link Layer
Termination Procedure defined in [Vol 6] Part B, Section 5.1.6.

9.3.11 Connection Establishment Timing Parameters

9.3.11.1 Description

The connection establishment timing parameters are used during initial
connection establishment between a Central and a Peripheral device.

A Central device should use one of the GAP connection establishment
procedures to initiate a connection to a Peripheral device in a connectable
mode. The procedures and modes that may use these timing parameters are
defined in Section 9.3.4 through Section 9.3.8.

9.3.11.2 Conditions

A Central device starting a GAP connection establishment procedure should
use the recommended scan interval TGAP(scan_fast_interval) and scan
window TGAP(scan_fast_window) for TGAP(scan_fast_period) when scanning
on the LE 1M PHY and should use scan interval
TGAP(scan_fast_interval_coded) and scan window
TGAP(scan_fast_window_coded) for TGAP(scan_fast_period) when scanning
on the LE Coded PHY.

A Central device that is background scanning should use the recommended
scan interval TGAP(scan_slow_interval1) and scan window
TGAP(scan_slow_window1) when scanning on the LE 1M PHY and should use
scan interval TGAP(scan_slow_interval1_coded) and scan window
TGAP(scan_slow_window1_coded) when scanning on the LE Coded PHY.
Alternatively the central may use TGAP(scan_slow_interval2) and scan window
TGAP(scan_slow_window2) when scanning on the LE 1M PHY and should use
TGAP(scan_slow_interval2_coded) and scan window
TGAP(scan_slow_window2_coded) when scanning on the LE Coded PHY.



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A Peripheral device entering any of the following GAP Modes should use the
recommended advertising interval TGAP(adv_fast_interval1) for
TGAP(adv_fast_period) when advertising on the LE 1M PHY and should use
TGAP(adv_fast_interval1_coded) for TGAP(adv_fast_period) when advertising
on the LE Coded PHY:
• Undirected Connectable Mode
• Limited Discoverable Mode and sending connectable undirected advertising
  events
• General Discoverable Mode and sending connectable undirected
  advertising events
• Directed Connectable Mode and sending low duty cycle connectable
  directed advertising events

A Peripheral device when entering any of the following GAP Modes and
sending non-connectable advertising events should use the recommended
advertising interval TGAP(adv_fast_interval2) for TGAP(adv_fast_period) when
advertising on the LE 1M PHY and should use
TGAP(adv_fast_interval2_coded) for TGAP(adv_fast_period) when advertising
on the LE Coded PHY:
• Non-Discoverable Mode
• Non-Connectable Mode
• Limited Discoverable Mode
• General Discoverable Mode

A Peripheral device that is background advertising in any GAP Mode other than
GAP Directed Connectable Mode with high duty cycle connectable directed
advertising events should use the recommended advertising interval
TGAP(adv_slow_interval) when advertising on the LE 1M PHY and should use
TGAP(adv_slow_interval_coded) when advertising on the LE Coded PHY.

Note: When advertising interval values of less than 100ms are used for non-
connectable or scannable undirected advertising in environments where the
advertiser can interfere with other devices, it is recommended that steps be taken
to minimize the interference. For example, the advertising might be alternately
enabled for only a few seconds and disabled for several minutes.

9.3.12 Connection Interval Timing Parameters

9.3.12.1 Description

The connection interval timing parameters are used within a connection. Initial
connection interval is used to ensure procedures such as bonding, encryption
setup and service discovery are completed quickly. The connection interval
should be changed to the Peripheral Preferred Connection Parameters after
initiating procedures are complete.

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9.3.12.2 Conditions

The Central device should either read the Peripheral Preferred Connection
Parameters characteristic (see Section 12.3) or retrieve the parameters from
advertising data (see Section 12.3).

The connection interval should be set to TGAP(initial_conn_interval) when
establishing a connection on the LE 1M PHY and to
TGAP(initial_conn_interval_coded) when establishing a connection on the LE
Coded PHY and slave latency should be set to zero. These parameters should
be used until the Central device has no further pending actions to perform or
until the Peripheral device performs a Connection Parameter Update
procedure (see Section 9.3.9).

After the Central device has no further pending actions to perform and the
Peripheral device has not initiated any other actions within
TGAP(conn_pause_central), then the Central device should invoke the
Connection Parameter Update procedure (see Section 9.3.9) and change the
connection intervals as defined in the Peripheral Preferred Connection
Parameters.

If the Central device does not have the Peripheral Preferred Connection
Parameters, then the Central device may choose the connection parameters to
be used.

After the Peripheral device has no further pending actions to perform and the
Central device has not initiated any other actions within
TGAP(conn_pause_central), then the Peripheral device may perform a
Connection Parameter Update procedure (see Section 9.3.9). The Peripheral
device should not perform a Connection Parameter Update procedure within
TGAP(conn_pause_peripheral) after establishing a connection.

At any time a key refresh or encryption setup procedure is required and the
current connection interval is greater than TGAP(initial_conn_interval) when
connected on the LE 1M PHY or LE 2M PHY or greater than
TGAP(initial_conn_interval_coded) when connected on the LE Coded PHY, the
key refresh or encryption setup procedure should be preceded with a
Connection Parameter Update procedure (see Section 9.3.9). The connection
interval should be set to TGAP(initial_conn_interval) when connected on the LE
1M PHY and to LE 2M PHY and TGAP(initial_conn_interval_coded) when
connected on the LE Coded PHY and slave latency should be set to zero. This
fast connection interval should be maintained until the key refresh or
encryption setup procedure is complete. It should then switch to the Peripheral
Preferred Connection Parameters.




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9.4 BONDING MODES AND PROCEDURES
Bonding allows two connected devices to exchange and store security and
identity information to create a trusted relationship. The security and identity
information as defined in [Vol 3] Part H, Section 2.4.1 is also known as the
bonding information. When the devices store the bonding information, it is
known as the phrases ‘devices have bonded’ or ‘a bond is created’.

There are two modes for bonding, non-bondable mode and bondable mode.
Bonding may only occur between two devices in bondable mode. The
requirements for a device to support the bonding modes and procedure are
defined in Table 9.4.

9.4.1 Requirements


 Bonding                                             Ref.    Peripheral   Central

 Non-Bondable mode                                   9.4.2   M            M
 Bondable mode                                       9.4.3   O            O

 Bonding procedure                                   9.4.4   O            O
Table 9.4: Bonding Compliance Requirements


9.4.2 Non-Bondable Mode

9.4.2.1 Description

A device in the non-bondable mode does not allow a bond to be created with a
peer device.

9.4.2.2 Conditions

While a device is in the Peripheral or the Central role the device shall support
the non-bondable mode. If a device does not support pairing as defined in the
Security Manager section then it is considered to be in non-bondable mode.

If Security Manager pairing is supported, the Host shall set the Bonding_Flags
to ‘No Bonding’ as defined in [Vol 3] Part H, Section 3.5.1 and bonding
information shall not be exchanged or stored.

9.4.3 Bondable Mode

9.4.3.1 Description

A device in the bondable mode allows a bond to be created with a peer device
in the bondable mode.


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9.4.3.2 Conditions

The Host shall set the Bonding_Flags to ‘Bonding’ during the pairing
procedure.

9.4.4 Bonding Procedure

9.4.4.1 Description

The bonding procedure may be performed when a non-bonded device tries to
access a service that requires bonding. The bonding procedure may be
performed for the purpose of creating a bond between two devices.



                                 Central                          Peripheral


                                               established link


                    Access to service is protected and bonding is required



                                        SM pairing (general bonding)


        update list of paired devices                                   update list of paired devices




Figure 9.7: The Bonding procedure


9.4.4.2 Conditions

While a device is in the Peripheral or the Central role the device may support
the Bonding procedure. While a device is in the Broadcaster or the Observer
role the device shall not support the bonding procedure.

The Host of the Central initiates the pairing process as defined in [Vol 3] Part C,
Section 2.1 with the Bonding_Flags set to Bonding as defined in [Vol 3] Part H,
Section 3.5.1. If the peer device is in the bondable mode, the devices shall
exchange and store the bonding information in the security database.

If a device supports the generation of resolvable private addresses as defined
in Section 10.8.2.2 and generates a resolvable private address for its local
address, it shall send Identity Information with SMP, including a valid IRK. If a
device does not generate a resolvable private address for its own address and
the Host sends Identity Information with SMP, the Host shall send an all-zero
IRK. The Host can abort the pairing procedure if the authentication
requirements are not sufficient to distribute the IRK.


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9.5 PERIODIC ADVERTISING MODES AND PROCEDURE
The periodic advertising modes and procedure allow two or more devices to
communicate in a unidirectional connectionless manner using extended
advertising events and periodic advertising events. The requirements for a
device operating in a specific GAP role to support periodic advertising
synchronizability mode, periodic advertising mode, and periodic advertising
synchronization procedure are defined in Table 9.5.

 Mode and Procedures                                       Ref.    Broadcaster      Observer

 Periodic Advertising Synchronizability mode               9.5.1       O                 E
 Periodic Advertising mode                                 9.5.2       C1                E

 Periodic Advertising Synchronization Establishment        9.5.3       E                O
 procedure
 C1: If Periodic Advertising Synchronization mode is supported, Periodic Advertising mode is
     mandatory; otherwise excluded.

Table 9.5: Periodic Advertising modes and Periodic Advertising procedure requirements


9.5.1 Periodic Advertising Synchronizability Mode

9.5.1.1 Definition

The periodic advertising synchronizability mode provides a method for a device
to send synchronization information about periodic advertising events.

9.5.1.2 Conditions

A device in the periodic advertising synchronizability mode shall send
synchronization information for periodic advertising events in non-connectable
and non-scannable extended advertising events.

9.5.2 Periodic Advertising Mode

9.5.2.1 Definition

The periodic advertising mode provides a method for a device to send
advertising data at periodic and deterministic intervals.

9.5.2.2 Conditions

A device in the periodic advertising mode shall send periodic advertising
events at the interval and using the frequency hopping sequence specified in
the periodic advertising synchronization information.




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9.5.3 Periodic Advertising Synchronization Establishment Procedure

9.5.3.1 Definition

The periodic advertising synchronization establishment procedure provides a
method for a device to receive periodic advertising synchronization information
and to synchronize to periodic advertisements.

9.5.3.2 Conditions

A device performing the periodic advertising synchronization establishment
procedure shall scan for non-connectable and non-scannable advertising
events containing synchronization information for periodic advertising events.
When a device receives synchronization information for periodic advertising
events, it may listen for periodic advertising events at the intervals and using
the frequency hopping sequence specified in the synchronization information
contained in the non-connectable and non-scannable extended advertising
event.




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10 SECURITY ASPECTS – LE PHYSICAL TRANSPORT

This section defines the modes and procedures that relate to the security of a
connection. The following modes and procedures are defined:
• LE security mode 1
• LE security mode 2
• Authentication procedure
• Authorization procedure
• Connection data signing procedure
• Authenticate signed data procedure

Requirements for a device to support the LE security modes and procedures is
shown in Table 10.1.

10.1 REQUIREMENTS


 Security Modes and
 Procedures                         Ref.     Broadcaster   Observer   Peripheral      Central

 LE Security mode 1                 10.2.1   E             E          O               O

 LE Security mode 2                 10.2.2   E             E          O               O
 Authentication procedure           10.3     E             E          O               O
 Authorization procedure            10.5     E             E          O               O

 Connection data signing            10.4.1   E             E          O               O
 procedure
 Authenticate signed data           10.4.2   E             E          O               O
 procedure
Table 10.1: Requirements related to security modes and procedures


10.2 LE SECURITY MODES
The security requirements of a device, a service or a service request are
expressed in terms of a security mode and security level. Each service or
service request may have its own security requirement. The device may also
have a security requirement. A physical connection between two devices shall
operate in only one security mode.

There are two LE security modes, LE security mode 1 and LE security mode 2.




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10.2.1 LE Security Mode 1

LE security mode 1 has the following security levels:
1. No security (No authentication and no encryption)
2. Unauthenticated pairing with encryption
3. Authenticated pairing with encryption
4. Authenticated LE Secure Connections pairing with encryption using a 128-
   bit strength encryption key.

A connection operating in LE security mode 1 level 2 shall also satisfy the
security requirements for LE security mode 1 level 1.

A connection operating in LE security mode 1 level 3 shall also satisfy the
security requirements for LE security mode 1 level 2 or LE security mode 1
level 1.

A connection operating in LE security mode 1 level 3 shall also satisfy the
security requirements for LE security mode 2.

A connection operating in LE security mode 1 level 4 shall also satisfy the
security requirements for LE security mode 1 level 3 or LE security mode 1
level 2 or LE security mode 1 level 1.
A connection operating in LE security mode 1 level 4 shall also satisfy the
security requirements for LE security mode 2.

10.2.2 LE Security Mode 2

LE security mode 2 has two security levels:
1. Unauthenticated pairing with data signing
2. Authenticated pairing with data signing

LE security mode 2 shall only be used for connection based data signing.

Data signing as defined in Section 10.4 shall not be used when a connection is
operating in LE security mode 1 level 2, LE security mode 1 level 3, or LE
security mode 1 level 4.




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10.2.3 Mixed Security Modes Requirements

If there are requirements for both LE security mode 1 and LE security mode 2
level 2 for a given physical link then LE security mode 1 level 3 shall be used.

If there are requirements for both LE security mode 1 level 3 and LE security
mode 2 for a given physical link then LE security mode 1 level 3 shall be used.

If there are requirements for both LE security mode 1 level 2 and LE security
mode 2 level 1 for a given physical link then LE security mode 1 level 2 shall be
used.

If there are requirements for both LE security mode 1 level 4 and any other
security mode or level for a given physical link then LE security mode 1 level 4
shall be used.

10.2.4 Secure Connections Only Mode

A device may be in a Secure Connections Only mode. When in Secure
Connections Only mode only security mode 1 level 4 shall be used except for
services that only require security mode 1 level 1.

The device shall only accept new outgoing and incoming service level
connections for services that require Security Mode 1, Level 4 when the remote
device supports LE Secure Connections and authenticated pairing is used.




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10.3 AUTHENTICATION PROCEDURE
The authentication procedure describes how the required security is
established when a device initiates a service request to a remote device and
when a device receives a service request from a remote device. The
authentication procedure covers LE security mode 1. The authentication
procedure shall only be initiated after a connection has been established.

LE security mode 2 pertains to the use of data signing and is covered in
Section 10.4.

Authentication in LE security mode 1 is achieved by enabling encryption as
defined in Section 10.6. The security of the encryption is impacted by the type
of pairing performed. There are two types of pairing: authenticated pairing or
unauthenticated pairing. Authenticated pairing involves performing the pairing
procedure defined in [Vol 3] Part H, Section 2.1 with the authentication set to
‘MITM protection’. Unauthenticated pairing involves performing the pairing
procedure with authentication set to ‘No MITM protection’.
Note: In this section, the terms “authenticated pairing” and “unauthenticated
pairing” refer to the security method used to perform pairing and are not related
to the authentication of previously bonded devices during a reconnection.

Section 10.3.1 specifies the authentication procedure when a device responds to a
service request. Section 10.3.2 specifies the authentication procedure when a
device initiates a service request.

10.3.1 Responding to a Service Request

In this section the local device is the device responding to a service request
made by a remote device. In the L2CAP protocol the local device responds
with a connection response to a remote device making a connection request. In
GATT, the local device is the GATT server and the remote device is the GATT
client.

When a local device receives a service request from a remote device, it shall
respond with an error code if the service request is denied. The error code is
dependent on whether the current connection is encrypted or not and on the
type of pairing that was performed to create the LTK or STK to be used.

When a local device receives a service request from a remote device it shall
behave according to the following rules:
• The local device’s security database specifies the security settings required
  to accept a service request. If no encryption and no data signing are
  required, the service request shall be accepted. If encryption is required the
  local device must send an error code as defined in Table 10.2. If no
  encryption is required, but data signing is required, then the local device
  behavior is as defined in Section 10.4.



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• If neither an LTK nor an STK is available, the service request shall be
  rejected with the error code “Insufficient Authentication”.
   Note: When the link is not encrypted, the error code “Insufficient
   Authentication” does not indicate that MITM protection is required.
• If an LTK or an STK is available and encryption is required (LE security
  mode 1) but encryption is not enabled, the service request shall be rejected
  with the error code “Insufficient Encryption”. If the encryption is enabled with
  insufficient key size then the service request shall be rejected with the error
  code “Insufficient Encryption Key Size.”
• If an authenticated pairing is required but only an unauthenticated pairing
  has occurred and the link is currently encrypted, the service request shall be
  rejected with the error code “Insufficient Authentication.”
   Note: When unauthenticated pairing has occurred and the link is currently
   encrypted, the error code “Insufficient Authentication” indicates that MITM
   protection is required.
• If LE Secure Connections pairing is required but LE legacy pairing has
  occurred and the link is currently encrypted, the service request shall be
  rejected with the error code “Insufficient Authentication”.

The local device will respond with the minimum security level required for
access to its services. If the local device has no security requirement it should
default to the minimum security level that the local device is capable of as
defined in pairing phase 1, (see [Vol 3] Part H, Section 2.1).

A local device shall not require an authenticated pairing (MITM) if the
localdevice does not support the required IO capabilities or OOB data1.

The local device responds to a service request from a remote device are
summarized in Table 10.2.




1. Note that if an OOB mechanism is used, the level of MITM protection is dependent upon the
   properties of the OOB communications channel. See [Vol 3] Part H, Section 2.3.5.1 for more
   information


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                                                    Local Device Pairing Status

 Link              Local Device’s                 Unauthenticated   Authenticated   Authenticated
 Encryp-           Access                         LTK or            LTK or          LTK with
 tion              Requirement No LTK             Unauthenticated   Authenticated   Secure
 State             for Service    No STK          STK               STK             Connections

                   None           Request         Request           Request         Request
                                  succeeds        succeeds          succeeds        succeeds
                   Encryption,    Error Resp.:   Error Resp.:       Error Resp.:    Error Resp.:
                   No MITM        Insufficient   Insufficient       Insufficient    Insufficient
     Unencrypted




                   Protection     Authentication Encryption         Encryption      Encryption

                   Encryption,    Error Resp.:   Error Resp.:       Error Resp.:    Error Resp.:
                   MITM           Insufficient   Insufficient       Insufficient    Insufficient
                   Protection     Authentication Encryption         Encryption      Encryption

                   Encryption,    Error Resp.:   Error Resp.:       Error Resp.:    Error Resp.:
                   MITM Protec-   Insufficient   Insufficient       Insufficient    Insufficient
                   tion, Secure   Authentication Encryption         Encryption      Encryption
                   Connections

                   None                           Request           Request         Request
                                                  succeeds          succeeds        succeeds

                   Encryption,                    Request           Request         Request
                   No MITM                        succeeds          succeeds        succeeds
                   Protection     N/A
     Encrypted




                                  (Not possible
                   Encryption,    to be           Error Resp.:      Request         Request
                   MITM           encrypted       Insufficient      succeeds        succeeds
                   Protection     without LTK)    Authentication
                   Encryption,                    Error Resp.:      Error Resp.:   Request
                   MITM Protec-                   Insufficient      Insufficient   succeeds
                   tion, Secure                   Authentication    Authentication
                   Connections

Table 10.2: Local device responds to a service request




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Figure 10.1 shows how a server handles a service request.


                                 Receive a Service
                                       Request




                                 Query security DB




                                 Access to service               No, security not
                     rejected
                                   successful?                  required (level 1)


                                            Yes



                                   Bond Exists?                  Yes


                                       No

                                                                  Current security
                                                     No
                                                                  Good Enough?


                                       Pairing

                                                                        Yes


                                   Success and                       Encryption              No
                        No        correct Security        Yes
                                                                     Needed?               (Mode 2)
                                       level?


                                                                        Yes



                                                                      Remote
                                  No                                 supports
                                                                    encryption?


                                                                        Yes


                                                                     Encryption




                                                                   Cross-transport
                                                                   Key derivation     No
                                                                     possible?


                                                                        Yes
                                                                                             Perform Service
             Abort                                                   BR/EDR                    Request on
                                                                Link Key generation           Local Device




Figure 10.1: Flow chart for a local device handling a service request from a remote device



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10.3.1.1 Handling of GATT Indications and Notifications

A client “requests” a server to send indications and notifications by
appropriately configuring the server via a Client Characteristic Configuration
Descriptor. Since the configuration is persistent across a disconnection and
reconnection, security requirements must be checked upon a reconnection
before sending indications or notifications. When a server reconnects to a
client to send an indication or notification for which security is required, the
server shall initiate or request encryption with the client prior to sending an
indication or notification. If the client does not have an LTK indicating that the
client has lost the bond, enabling encryption will fail.

10.3.1.2 Cross-transport Key Generation

After encryption is enabled, the correct security level has been achieved, and
both devices support cross-transport key generation, the both devices may
perform BR/EDR link key derivation.
Note: If the LTK has an encryption key size that is less than 16 octets (128
bits), the BR/EDR link key is derived before the LTK gets masked.

10.3.2 Initiating a Service Request

In this section the local device is the device initiating a service request to a
remote device. In the L2CAP protocol the local device sends the connection
request and the remote device sends the connection response. In GATT, the
local device is the GATT client and the remote device is the GATT server.

When a local device initiates a service request to a remote device it shall
behave according to the following rules:
• The local device’s security database specifies the security required to initiate
  a service request. If no encryption is required by the local device then the
  service request may proceed without encryption or pairing.
• If an LTK is not available but encryption is required, the pairing procedure
  shall be initiated with the local device’s required authentication settings. If
  the pairing procedure fails then the service request shall be aborted.
   Note: When encryption is not enabled, the error code “Insufficient
   Authentication” does not indicate to the local device that MITM protection is
   required.
   Note: If the local device is a Peripheral then it may send a Slave Initiated
   Security Request as defined in [Vol 3] Part H, Section 2.4.6.
• If pairing has occurred but the encryption key size is insufficient the pairing
  procedure shall be executed with the required encryption key size. If the
  pairing procedure fails then the service request shall be aborted.
• If an LTK is available and encryption is required (LE security mode 1) then
  encryption shall be enabled before the service request proceeds as defined
  in Section 10.6. Once encryption is enabled the service request shall

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   proceed. If encryption fails either the bond no longer exists on the remote
   device, or the wrong device has been connected. The local device must,
   after user interaction to confirm the remote device, re-bond, perform service
   discovery and re-configure the remote device. If the local device had
   previously determined that the remote device did not have the «Service
   Changed» characteristic then service discovery may be skipped.
• If an authenticated pairing is required but only an unauthenticated pairing
  has occurred and the link is currently encrypted, the pairing procedure
  should be executed with the required authentication settings. If the pairing
  procedure fails, or an authenticated pairing cannot be performed with the IO
  capabilities of the local device and remote device, then the service request
  shall be aborted.
   When a bond has been created between two devices, any reconnection
   should result in the local device enabling or requesting encryption with the
   remote device before initiating any service request.
   If a local device does not enable encryption before initiating a service
   request and relies on the error codes to determine the security
   requirements, the local device shall not request pairing with MITM protection
   in response to receiving an “Insufficient Authentication” error code from the
   remote device while the link is unencrypted. The local device shall only set
   the MITM protection required flag if the local device itself requires MITM
   protection.
• If encryption is not enabled at the time of the service request, the error code
  “Insufficient Authentication” is received, and the local device currently has
  an LTK, then the encryption procedure should be started (see Section 10.6).
  If this fails (likely indicating that the remote device has lost the bond and no
  longer has the LTK) or the local device does not have the correct LTK, then
  the pairing procedure should be started. IO capabilities are exchanged in
  pairing phase 1, (see [Vol 3] Part H, Section 2.1) and the security level shall
  be determined by the device’s IO capabilities and MITM requirements.
• If encryption is not enabled at the time of the service request, the error code
  “Insufficient Encryption” is received, and the local device currently has an
  LTK, then the encryption procedure shall be started (see Section 10.6). If
  starting encryption fails (likely indicating that the remote device has lost the
  bond and no longer has the LTK) or the local device does not have the
  correct LTK, then the pairing procedure should be started.
• If LE Secure Connections authenticated pairing is required but the remote
  device does not support LE Secure Connections, then the service request
  shall be aborted.




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Figure 10.2 shows how a client issues a service request.


                                      Initiate a service
                                         request to a
                                       remote device




                                       Local device
                                      queries security
                                            DB




                                             Access
                        No                  to service
                                            allowed?


                                                    Yes


                                         Remote                       No, security not
                                       device needs
                                      authenticating?                required Mode1,
                                                                          (level 1)

                                                    Yes

                                           Bond Exists
                                                                           Yes
                                            Locally?

                                            No

                                                           No                Current security
                                                                             Good Enough?

                                             Pairing

                                                                                    Yes


                                       Success and
                      No              correct Security                           Encryption
                                           level?

                                              Yes



                                      Cross-transport
                                      Key derivation            No
                                        possible?


                                              Yes

       Local device                      BR/EDR                                                   Perform Service
        abandons                    Link Key generation                                              request on
        procedure                                                                                  remote device




Figure 10.2: Flow chart for a local device issuing a service request to a remote device



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10.3.2.1 Cross-transport Key Generation

After encryption is enabled, the correct security level has been achieved, and
both devices support cross-transport key generation, the both devices may
perform BR/EDR link key derivation.
Note: If the LTK has an encryption key size that is less than 16 octets (128
bits), the BR/EDR link key is derived before the LTK gets masked.

10.4 DATA SIGNING
The data signing is used for transferring authenticated data between two
devices in an unencrypted connection. The data signing method is used by
services that require fast connection set up and fast data transfer.

If a service request specifies LE security mode 2, the connection data signing
procedure shall be used.

10.4.1 Connection Data Signing Procedure

A device shall generate a new Connection Signature Resolving Key CSRK for
each set of peer device(s) to which it sends signed data in connections. CSRK
is defined in [Vol 3] Part H, Section 2.4.2.2.

The data shall be formatted using the Signing Algorithm as defined in [Vol 3]
Part H, Section 2.4.5 where m is the Data PDU to be signed, k is the CSRK
and the SignCounter is the counter value. A Signature is composed of the
counter value and the Message Authentication Code (MAC) generated by the
Signing Algorithm. The counter value shall be incremented by one for each
new Data PDU sent.

The format of signed data is shown in Figure 10.3.


              Data PDU                     Signature

    LSB                                                  MSB
              Variable                     12 octets



                            SignCounter                MAC

                          LSB                                       MSB
                                4 octets                     8 octets


Figure 10.3: Generic format of signed data




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10.4.2 Authenticate Signed Data Procedure

If encryption is not required and CSRK is available (LE security mode 2) then
the data signing procedure shall be used when making a service request
involving a write operation.

Note: The existence of the bond on the server can be determined by
successfully enabling encryption with the server using the encryption
procedure defined in Section 10.6. A higher layer profile may allow a client to
not perform the authentication procedure. Alternatively, a higher layer protocol
may signal the client that the signature check has failed due to a lost bond, and
the client may then take action to notify the user or attempt to pair again to
reestablish the bond.

A device receiving signed data shall authenticate it by performing the Signing
Algorithm. The signed data shall be authenticated by performing the Signing
Algorithm where m is the Data PDU to be authenticated, k is the stored CSRK
and the SignCounter is the received counter value. If the MAC computed by
the Signing Algorithm does not match the received MAC, the verification fails
and the Host shall ignore the received Data PDU.

Note that since the server does not respond to a Signed Write Command, the
higher layer application may or may not be notified of the ignored request.
Hence, it is recommended that the server disconnect the link in case the client
is a malicious device attempting to mount a security attack.

If the server has no stored CSRK upon receiving a signed write command, it
shall ignore the received Data PDU. Note that since the server does not
respond to a Signed Write Command, the higher layer application may or may
not be notified of the ignored request. Although the disconnection may be an
adequate indication to the user that the devices need to be paired, it is
recommended that implementers consider providing a more informative
indication to the user that the devices need to be paired to establish a CSRK.

If the server receives a request from a client for a write operation that requires
a response (i.e. other than a Signed Write Command or Write Command), and
encryption is not enabled, then the server shall respond with the error code
“Insufficient Authentication”.

If the link is encrypted and the server receives a request from a client for which
the server requires data signing but does not require encryption, then the
server shall complete the request if it is otherwise valid as the encrypted state
of the link is considered to satisfy the signing requirement.

As required by Section 10.2.2, for a given link, signed data is not used at the
same time as encryption. Therefore, if the client wishes to test that the server is
still bonded, and thus enables encryption, further data transfer must occur
without signing, assuming the server does not disconnect the link as
recommended above.


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If a higher layer determines the bond no longer exists on the server, the client
must, after user interaction to confirm the remote device, re-bond, perform
service discovery and re-configure the server. If the client had previously
determined that the server did not have the «Service Changed» characteristic
then service discovery may be skipped.

The receiving device shall protect against a replay attack by comparing the
received SignCounter with previously received SignCounter from the same
peer device. If the SignCounter was previously used then the receiving device
shall ignore the Data PDU.

10.5 AUTHORIZATION PROCEDURE
A service may require authorization before allowing access. Authorization is a
confirmation by the user to continue with the procedure. Authentication does
not necessarily provide authorization. Authorization may be granted by user
confirmation after successful authentication.

10.6 ENCRYPTION PROCEDURE
A Central may encrypt a connection using the Encryption Session Setup as
defined in [Vol 3] Part H, Section 2.4.4 to provide integrity and confidentiality.

A Peripheral may encrypt a connection using the Slave Initiated Security
Request as defined in [Vol 3] Part H, Section 2.4.6 to provide integrity and
confidentiality.

If the encryption procedure fails and either the Central or Peripheral used a
Resolvable Private Address for the connection establishment, then the current
Resolvable Private Address(es) shall be immediately discarded and new
Resolvable Private Address(es) shall be generated.




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10.7 PRIVACY FEATURE
The privacy feature provides a level of privacy which makes it more difficult for
an attacker to track a device over a period of time. The requirements for a
device to support the privacy feature are defined in Table 10.3.

 Privacy Requirements                 Ref.       Broadcaster   Observer   Peripheral       Central

 Privacy feature                      10.7       O             O          O                O
 Non-resolvable private               10.8.2.1   C2            C4         O                O
 address generation proce-
 dure

 Resolvable private address           10.8.2.2   C3            C5         C1               C1
 generation procedure
 Resolvable private address           10.8.2.3   E             O          C1               C1
 resolution procedure

 Bondable Mode                        9.4.3      E             E          C1               C1
 Bonding procedure                    9.4.4      E             E          C1               C1
 C1: Mandatory if privacy feature is supported, else optional
 C2: Mandatory if privacy feature is supported and resolvable private address generation
 procedure is not supported, else optional
 C3: Mandatory if privacy feature is supported and non-resolvable private address generation
 procedure is not supported, else optional
 C4: Mandatory if privacy feature and active scanning are supported and resolvable private
 address generation procedure is not supported, else optional
 C5: Mandatory if privacy feature and active scanning are supported and non-resolvable pri-
 vate address generation procedure is not supported, else optional

Table 10.3: Requirements related to privacy feature

Two modes of privacy exist:
• Device Privacy Mode: When a device is in device privacy mode, it is only
  concerned about its own privacy. It should accept advertising packets from
  peer devices that contain their identity addresses as well as their private
  address, even if the peer device has distributed its IRK. A device shall only
  use this mode when the Resolvable Private Address Only characteristic is
  not present in the GAP service of the peer device.
• Network Privacy Mode. When a device is in network privacy mode, it shall
  not accept advertising packets containing the identity address of peer
  devices that have distributed their IRK.

A device may use different modes for different peers.

If a device, i.e. Host and Controller, claims support for the privacy feature, the
requirements in this section shall be met.



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A device may support either Host-based privacy or both Host-based and
Controller-based privacy. When a device supports Controller-based privacy,
some of the privacy functionality is configured to be performed by the
Controller by the Host.

If a device supports Controller-based privacy, the requirements in the following
paragraphs shall be met.
• The Host may maintain a resolving list by adding and removing device
  identities. A device identity consists of the peer’s identity address, and a
  local and peer’s IRK pair. The local or peer’s IRK shall be an all-zero key, if
  not applicable for the particular device identity.
• If a peer device provides an all-zero identity address during pairing, the Host
  shall choose a unique identifier to substitute the peer’s device identity
  address. The Host shall ensure that all identities provided to the Controller
  are unique.
• When address resolution is enabled in the Controller, all references to peer
  devices that are included in the resolving list from Host to the Controller shall
  be done using the peer’s device identity address. Likewise, all incoming
  events from the Controller to the Host will use the peer’s device identity, if
  the peer’s device address has been resolved.
• If the Host wants to be in device privacy mode, it shall so instruct the
  Controller for each peer in the resolving list.

10.7.1 Privacy Feature in a Peripheral

The privacy-enabled Peripheral shall use a resolvable private address as the
advertiser's device address when in connectable mode.

A Peripheral shall use non-resolvable or resolvable private addresses when in
non-connectable mode as defined in Section 9.3.2.

If a privacy-enabled Peripheral, that has a stored bond, receives a resolvable
private address, the Host may resolve the resolvable private address by
performing the ‘resolvable private address resolution procedure’ as defined in
Section 10.8.2.3. If the resolution is successful, the Host may accept the
connection. If the resolution procedure fails, then the Host shall disconnect with
the error code "Authentication failure", or perform the pairing procedure, or
perform the authentication procedure as defined in Section 10.3.

The device should not send the device name or unique data in the advertising
data that can be used to recognize the device.

10.7.1.1 Privacy Feature in a Peripheral with Controller-based privacy

A privacy-enabled Peripheral shall use either the undirected connectable mode
as defined in Section 9.3.4 or directed connectable mode as defined in Section



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9.3.3. The directed connectable mode shall only be used if the peer device
supports Address Resolution in the Controller.

The Host shall enable resolvable private address generation by enabling it in
the Controller and populating the resolving list.

By default, network privacy mode is used when private addresses are resolved
and generated by the Controller.

10.7.1.2 Privacy Feature in a Peripheral with Host-based privacy

A privacy-enabled Peripheral should use the undirected connectable mode as
defined in Section 9.3.4, to create a connection.

The Host shall generate a resolvable private address using the ‘resolvable
private address generation procedure’ as defined in Section 10.8.2.2 or non-
resolvable private address procedure as defined in Section 10.8.2.1. The Host
shall set a timer equal to TGAP(private_addr_int). The Host shall generate a
new resolvable private address or non-resolvable private address when the
timer TGAP(private_addr_int) expires.

Note: TGAP(private_addr_int) timer may or may not be run if a Peripheral is not
advertising.




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10.7.2 Privacy Feature in a Central

The Central shall use a resolvable private address as the initiator's device
address.

During active scanning, a privacy enabled Central shall use a non-resolvable
or resolvable private address.

If, a privacy-enabled Central, that has a stored bond, receives a resolvable
private address, the Host may resolve the resolvable private address by
performing the "resolvable private address resolution procedure" as defined in
Section 10.8.2.3.

10.7.2.1 Privacy Feature in a Central with Controller-based privacy

A privacy-enabled Central with Address Resolution enabled in the Controller
can use any of the connection establishment procedures defined in Section
9.3.

By default, network privacy mode is used when private addresses are resolved
and generated by the Controller.

10.7.2.2 Privacy Feature in a Central with Host-based privacy

A privacy-enabled Central should use the general connection establishment
procedure defined in Section 9.3.6 to create a connection.

The Host shall generate a resolvable private address using the ‘resolvable
private address generation procedure’ as defined in Section 10.8.2.2 or non-
resolvable private address procedure as defined in Section 10.8.2.1. The Host
shall set a timer equal to TGAP(private_addr_int). The Host shall generate a
new resolvable private address or non-resolvable private address when the
timer TGAP(private_addr_int) expires.

Note: TGAP(private_addr_int) timer may or may not be run if a Central is not
scanning or connected.

10.7.3 Privacy Feature in a Broadcaster

A privacy-enabled Broadcaster shall use the Broadcast mode defined in
Section 9.1.1. The Broadcaster shall use either a resolvable private address or
non-resolvable private address.

If Address Resolution is not supported or disabled in the Controller, the
following applies to the Host: The Host shall generate a resolvable private
address using the ‘resolvable private address generation procedure’ as defined
in Section 10.8.2.2 or non-resolvable private address procedure as defined in
Section 10.8.2.1. The Host shall set a timer to TGAP(private_addr_int). The



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Host shall generate a new resolvable private address or non-resolvable private
address when the timer TGAP(private_addr_int) expires.

Note: TGAP(private_addr_int) timer may or may not be run if a Broadcaster is
not advertising.

The device should not send the device name or unique data in the advertising
data which can be used to recognize the device.

10.7.4 Privacy Feature in an Observer

A privacy-enabled Observer shall use the observation procedure defined in
Section 9.1.2. During active scanning, a privacy enabled Observer shall use
either a resolvable private address or non-resolvable private address.

If Address Resolution is not supported or disabled in the Controller, the
following applies to the Host: The Host shall generate a resolvable private
address using the ‘resolvable private address generation procedure’ as defined
in Section 10.8.2.2 or non-resolvable private address procedure as defined in
Section 10.8.2.1. The Host shall set a timer equal to TGAP(private_addr_int).
The Host shall generate a new resolvable private address or non-resolvable
private address when the timer TGAP(private_addr_int) expires.

Note: TGAP(private_addr_int) timer may or may not be run if an Observer is not
scanning.

10.8 RANDOM DEVICE ADDRESS
For the purposes of this profile, the random device address may be of either of
the following two sub-types:
• Static address
• Private address.

The term random device address refers to both static and private address
types.

The transmission of a random device address is optional. A device shall accept
the reception of a random device address from a remote device.

The private address may be of either of the following two sub-types:
• Non-resolvable private address
• Resolvable private address

A bonded device shall process a resolvable private address as defined in
Section 10.8.2.3 or by establishing a connection and then performing the
authentication procedure as defined in Section 10.3. A device that generates a
resolvable private address for its local address shall always request to


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distribute its IRK value as defined in [Vol 3] Part H, Section 3.6.4 if both sides
are bondable, unless keys have been pre-distributed.

After a device has distributed its IRK, it should use resolvable private
addresses when establishing a connection with a peer device to which the IRK
has been distributed.

10.8.1 Static Address

The Host can generate a static address using the procedure described in
[Vol 6] Part B, Section 1.3.2.1.

10.8.2 Private address

The private address may be of either of the following two sub-types:
• Non-resolvable private address
• Resolvable private address

10.8.2.1 Non-Resolvable Private Address Generation Procedure

The Host can generate a non resolvable private address using the procedure
described in [Vol 6] Part B, Section 1.3.2.2.

10.8.2.2 Resolvable Private Address Generation Procedure

The Host can generate a resolvable private address where the Host has its IRK
using the procedure described in [Vol 6] Part B, Section 1.3.2.2.

10.8.2.3 Resolvable Private Address Resolution Procedure

The Host can resolve a resolvable private address where the Host has the peer
device’s IRK or the local device's IRK, using the procedure described in [Vol 6]
Part B, Section 1.3.2.3.




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11 ADVERTISING AND SCAN RESPONSE DATA
   FORMAT

The format of Advertising data and Scan Response data is shown in Figure
11.1. The data consists of a significant part and a non-significant part. The
significant part contains a sequence of AD structures. Each AD structure shall
have a Length field of one octet, which contains the Length value, and a Data
field of Length octets. The first octet of the Data field contains the AD type field.
The content of the remaining Length - 1 octet in the Data field depends on the
value of the AD type field and is called the AD data. The non-significant part
extends the Advertising and Scan Response data when necessary and shall
contain all-zero octets.


                                                Advertising or Scan Response data


                       Significant part                                             Non-significant part



  AD Structure 1   AD Structure 2         ...   AD Structure 'N                          000...000b




   1 octet              Length octets

   Length               Data




                        n octets                 Length - n octets

                        AD Type                  AD Data




Figure 11.1: Advertising and Scan Response data format


If the Length field is set to zero, then the Data field has zero octets. This shall
only occur to allow an early termination of the Advertising or Scan Response
data.

Only the significant part of the Advertising or Scan Response data should be
sent over the air.

The Advertising and Scan Response data is sent in advertising events. The
Advertising Data is placed in the AdvData field of ADV_IND,
ADV_NONCONN_IND, ADV_SCAN_IND, AUX_ADV_IND, AUX_CHAIN_IND,
and AUX_SYNC_IND packets. The Scan Response data is sent in the
ScanRspData field of SCAN_RSP packets or the AdvData field of the
AUX_SCAN_RSP packet. If the complete Advertising or Scan Response data
cannot fit in the AUX_ADV_IND or AUX_SCAN_RSP packets,
AUX_CHAIN_IND packets are used to send the remaining fragments of the
data.



Advertising and Scan Response Data Format                                                                   06 December 2016
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The AD type data formats and meanings are defined in [Core Specification
Supplement], Part A. The AD type identifier values are defined in the Assigned
Numbers document.




Advertising and Scan Response Data Format                          06 December 2016
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12 GAP SERVICE AND CHARACTERISTICS FOR GATT
SERVER

The GATT server shall contain the GAP service as defined in the GAP Service
Requirements in Table 12.1. A device shall have only one instance of the GAP
service in the GATT server. The GAP service is a GATT based service with the
service UUID as «GAP Service» defined in the Bluetooth Assigned Numbers
document.

                       BR/EDR            LE                LE           LE                LE
                       GAP Role          Broadcaster       Observer     Peripheral        Central

 GAP Service                 C1                   E             E            M                M
 C1: Mandatory for BR/EDR/LE type devices, else optional
Table 12.1: GAP Service Requirements

The characteristics requirements for the GAP service in each of the GAP roles
are shown in Table 12.2.

                                   BR/EDR             LE          LE           LE             LE
 Characteristics          Ref.     GAP Role       Broadcaster   Observer   Peripheral       Central

 Device Name              12.1         C1              E            E            M             M
 Appearance               12.2         C1              E            E            M             M
 Peripheral
 Preferred Connec-        12.3          O              E            E            O             E
 tion Parameters

 Central Address
                          12.4          O              E            E            C3            C2
 Resolution
 Resolvable Private
                          12.5          O              E            E            C3            C3
 Address Only
 C1: Mandatory for BR/EDR/LE type devices, else optional
 C2: Mandatory if Link Layer Privacy is supported, otherwise excluded
 C3: Optional if Link Layer Privacy is supported, otherwise excluded
Table 12.2: Requirements related to GAP Service characteristics

A device that supports multiple GAP roles contains all the characteristics to
meet the requirements for the supported roles. The device must continue to
expose the characteristics when the device is operating in the role in which the
characteristics are not valid.




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12.1 DEVICE NAME CHARACTERISTIC
The Device Name characteristic shall contain the name of the device as an
UTF-8 string as defined in Section 3.2.2. When the device is discoverable, the
Device Name characteristic value shall be readable without authentication or
authorization. When the device is not discoverable, the Device Name
Characteristic should not be readable without authentication or authorization.
The Device Name characteristic value may be writable. If writable,
authentication and authorization may be defined by a higher layer specification
or be implementation specific.

 Attribute      Attribute      Attribute
 Handle         Type           Value          Attribute Permissions

 0xMMMM         0x2A00 –       Device         Readable without authentication or authorization
                UUID for       Name           when discoverable.
                «Device                       Optionally writable, authentication and authorization
                Name»                         may be defined by a higher layer specification or be
                                              implementation specific.

Table 12.3: Device Name characteristic

The Device Name characteristic value shall be 0 to 248 octets in length.
A device shall have only one instance of the Device Name characteristic.

12.2 APPEARANCE CHARACTERISTIC
The Appearance characteristic defines the representation of the external
appearance of the device. This enables the discovering device to represent the
device to the user using an icon, or a string, or similar. The Appearance
characteristic value shall be readable without authentication or authorization.
The Appearance characteristic value may be writable. If writable,
authentication and authorization may be defined by a higher layer specification
or be implementation specific.

 Attribute                           Attribute
 Handle         Attribute Type       Value           Attribute Permissions

 0xMMMM         0x2A01 –             Appearance      Readable without authentication or
                UUID for                             authorization.
                «Appearance»                         Optionally writable, authentication and autho-
                                                     rization may be defined by a higher layer
                                                     specification or be implementation specific.

Table 12.4: Appearance characteristic

The Appearance characteristic value shall be the enumerated value as defined
by Bluetooth Assigned Numbers document. The Appearance characteristic
value shall be 2 octets in length. A device shall have only one instance of the
Appearance characteristic.


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12.3 PERIPHERAL PREFERRED CONNECTION
     PARAMETERS CHARACTERISTIC
The Peripheral Preferred Connection Parameters (PPCP) characteristic
contains the preferred connection parameters of the Peripheral.

The Peripheral Preferred Connection Parameters characteristic value shall be
readable. Authentication and authorization may be defined by a higher layer
specification or be implementation specific.

The Peripheral Preferred Connection Parameters characteristic value shall not
be writable.

 Attribute                           Attribute
 Handle         Attribute Type       Value           Attribute Permissions

 0xMMMM         0x2A04 –             Peripheral      Readable, authentication and authorization
                UUID for             Preferred       may be defined by a higher layer specification
                «Peripheral          Connection      or be implementation specific
                Preferred            Parameter       Not writable
                Connection
                Parameters»

Table 12.5: Peripheral Preferred Connection Parameters characteristic

The Peripheral Preferred Connection Parameters characteristic value shall be
8 octets in length. A device shall have only one instance of the Peripheral
Preferred Connection Parameters characteristic.

The preferred connection parameters structured data is defined as follows:

                           Size
 Name                      (Octet)     Description

 Minimum                   2           Defines minimum value for the connection interval in the
 connection interval                   following manner:
                                       connIntervalmin = Conn_Interval_Min * 1.25 ms
                                       Conn_Interval_Min range: 0x0006 to 0x0C80
                                       Value of 0xFFFF indicates no specific minimum.
                                       Values outside the range (except 0xFFFF) are reserved for
                                       future use.

Table 12.6: Format of the preferred connection parameters structured data




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                           Size
 Name                      (Octet)     Description

 Maximum                   2           Defines maximum value for the connection interval in the
 connection interval                   following manner:
                                       connIntervalmax = Conn_Interval_Max * 1.25 ms
                                       Conn_Interval_Max range: 0x0006 to 0x0C80
                                       Shall be equal to or greater than the Conn_Interval_Min.
                                       Value of 0xFFFF indicates no specific maximum.
                                       Values outside the range (except 0xFFFF) are reserved for
                                       future use.

 Slave latency             2           Defines the slave latency for the connection in number of
                                       connection events.
                                       Slave latency range: 0x0000 to 0x01F3
                                       Values outside the range are reserved for future use.

 Connection                2           Defines the connection supervisor timeout multiplier as a
 Supervision                           multiple of 10ms.
 timeout multiplier                    Range: 0xFFFF indicates no specific value requested.
                                       Range: 0x000A to 0x0C80
                                       Time = N * 10 ms
                                       Time Range: 100 ms to 32 seconds
                                       Values outside the range (except 0xFFFF) are reserved for
                                       future use.

Table 12.6: Format of the preferred connection parameters structured data


12.4 CENTRAL ADDRESS RESOLUTION
The Peripheral shall check if the peer device supports address resolution by
reading the Central Address Resolution characteristic before using directed
advertisement where the initiator address is set to a Resolvable Private
Address (RPA).

The Central Address Resolution characteristic defines whether the device
supports privacy with address resolution. See Table 12.7.

 Attribute Handle         Attribute Type             Attribute Value      Attribute Permissions

 0xMMMM                   0x2AA6 - UUID of           Central Address      Readable without
                          «Central Address           Resolution Support   authentication or autho-
                          Resolution»                                     rization.
                                                                          Not writable.
Table 12.7: Central Address Resolution Characteristic




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The Central Address Resolution characteristic value shall be 1 octet in length:
               0 = address resolution is not supported in this device
               1 = address resolution is supported in this device
               2 – 255 = Reserved for future use

A device shall have only one instance of the Central Address Resolution
characteristic. If the Central Address Resolution characteristic is not present,
then it shall be assumed that Central Address Resolution is not supported.

12.5 RESOLVABLE PRIVATE ADDRESS ONLY
The device shall check if the peer will only use Resolvable Private Addresses
(RPAs) after bonding by reading the Resolvable Private Address Only
characteristic.

The Resolvable Private Address Only characteristic defines whether the device
will only use Resolvable Private Addresses (RPAs) as local addresses. See
Table 12.8.

 Attribute Handle         Attribute Type          Attribute Value      Attribute Permissions

 0xMMMM                   0x2AC9 - UUID of        Resolvable Private   Readable without
                          «Resolvable Private     Address Only         authentication or
                          Address Only»                                authorization.
                                                                       Not writable.
Table 12.8: Resolvable Private Address Only Characteristic

The Resolvable Private Address Only characteristic value shall be 1 octet in
length:
   0 = only Resolvable Private Addresses will be used as local addresses after
   bonding
   1 – 255 = Reserved for future use

A device shall have only one instance of the Resolvable Private Address Only
characteristic. If the Resolvable Private Address Only characteristic is not
present, then it cannot be assumed that only Resolvable Private Addresses will
be used over the air.




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13 BR/EDR/LE OPERATION

This section describes the requirements for devices that support the BR/EDR/
LE device type. The device may support any LE GAP roles allowed by the
Controller over the LE physical channel.

 Feature                 Ref.       Broadcaster     Observer    Peripheral      Central

 BR/EDR/LE modes         13.1 and   O               O           O               O
 and procedures          13.2
Table 13.1: Requirements for the modes of a BR/EDR/LE device type

A BR/EDR/LE device type that supports the Broadcaster role shall meet the
requirements for the Broadcaster role as defined in Section 9.

A BR/EDR/LE device type that supports the Observer role shall meet the
requirements for the Observer role as defined in Section 9.

A BR/EDR/LE device type that supports the Peripheral role shall meet the
requirements for the Peripheral role as defined in Section 9.

A BR/EDR/LE device type that supports the Central role shall meet the
requirements for the Central role as defined in Section 9.

13.1 MODES, PROCEDURES AND SECURITY ASPECTS
All modes, procedures and security aspects shall follow the requirements as
specified for the physical transport over which they operate. Sections 4, 5, 6
and 7 specify the requirements for the modes, procedures and security aspects
for operations performed over the BR/EDR physical transport. Sections 9 and
10 specify the requirements for the modes, procedures and security aspects
performed over the LE physical transport. It is optional to support both physical
transports simultaneously to the same remote device.




BR/EDR/LE Operation                                                       06 December 2016
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13.1.1 Discoverable Mode Requirements

A device shall expose the capabilities of both physical transports for both
Limited and General Discoverable Mode using the advertisement Flag AD
Type as follows:
             a) The ‘BR/EDR Not Supported’ bit in the Flags AD type shall be set
                to 0 as defined in [Core Specification Supplement], Part A, Section
                1.3.
             b) The 'Simultaneous LE and BR/EDR to Same Device Capable
                (Controller)' and ‘Simultaneous LE and BR/EDR to Same Device
                Capable (Host)’ bits in the Flags AD type shall be set to 0.

The ‘LE Supported (Controller)’ and ‘LE Supported (Host)’ bits in the LMP
features shall be set as defined in [Vol 2] Part C, Section 3.2.

13.2 BONDING FOR BR/EDR/LE DEVICE TYPE
The requirements for a device supporting BR/EDR/LE device type are shown
in Table 13.2.


 Bonding Requirement                  Ref.             Peripheral            Central

 Bonding                              6.5 / 9.4.4      O                     O

Table 13.2: Requirements for the bonding of a BR/EDR/LE device type

If the remote device supports the BR/EDR physical transport, the bonding
procedures for the BR/EDR physical transport as defined in Section 6.5 shall
be used.

If the remote device supports the LE physical transport, the bonding
procedures for the LE physical transport as defined in Section 9.4.4 shall be
used.

13.3 RELATIONSHIP BETWEEN PHYSICAL TRANSPORTS
To determine if both the BR/EDR physical transport and the LE physical
transport are established to the same peer device, the device shall use either
the public address used on the LE advertising channel or the public address
from the BD_ADDR field contained in the SMP Identity Address Information
packet ([Vol 3] Part H, Section 3.6.5) if it has been received.




BR/EDR/LE Operation                                                         06 December 2016
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14 BR/EDR/LE SECURITY ASPECTS

The requirements for a device supporting BR/EDR/LE device type are shown
in Table 14.1.

 Security aspects                Ref.       Peripheral    Central

 Security aspects                14         M             M
Table 14.1: Requirements for the security aspects of a BR/EDR/LE device type

If the remote device supports the BR/EDR physical transport the security
procedures for the BR/EDR physical transport as defined in Section 5 shall be
used.

If the remote device supports the LE physical transport the security procedures
for the LE physical transport as defined in Section 10 shall be used.

If the LE transport in a BR/EDR/LE device supports Secure Connections, the
security procedures in Section 14.1 may also be used.

14.1 CROSS-TRANSPORT KEY DERIVATION
If both the local and remote devices support Secure Connections over the BR/
EDR and LE transports, devices may optionally generate keys of identical
strength and the same MITM protection for both transports as part of a single
pairing procedure.

If both the local and remote devices support Secure Connections over the LE
transport but not over the BR/EDR transport, then the devices may optionally
generate the BR/EDR keys of identical strength and the same MITM protection
as the LE keys as part of the LE pairing procedure.

If Secure Connections pairing occurs first on the LE transport the procedures in
[Vol 3] Part H, Section 2.3.5.7 may be used.

If Secure Connections pairing occurs first on the BR/EDR transport the
procedures in [Vol 3] Part H, Section 2.3.5.7 may be used.

14.2 COLLISION HANDLING
If pairing has been initiated by the local device on the BR/EDR transport, and a
pairing request is received from the same remote device on the LE transport,
the LE pairing shall be rejected with SMP error code “BR/EDR pairing in
progress” (0x0D) if both sides support LE Secure Connections.

If a BR/EDR/LE device supports LE Secure Connections, then it shall initiate
pairing on only one transport at a time to the same remote device.


BR/EDR/LE Security Aspects                                                  06 December 2016
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15 BLUETOOTH DEVICE REQUIREMENTS

15.1 BLUETOOTH DEVICE ADDRESS
All Bluetooth devices shall have a Bluetooth Device Address (BD_ADDR) that
uniquely identifies the device to another Bluetooth device. The specific
Bluetooth Device Address requirements depend on the type of Bluetooth
device.

15.1.1 Bluetooth Device Address Types

15.1.1.1 Public Bluetooth Address

A Bluetooth public address used as the BD_ADDR for the BR/EDR physical
channel is defined in [Vol 2] Part B, Section 1.2. A Bluetooth public address
used as the BD_ADDR for the LE physical channel is defined in [Vol 6] Part B,
Section 1.3.

15.1.1.2 Random Bluetooth Address

A random device address used as the BD_ADDR on the LE physical channel is
defined in Section 10.8.

15.2 GATT PROFILE REQUIREMENTS
The requirements for supporting a GATT Client or GATT Server are specified in
Table 15.1.

                        BR/EDR             LE               LE                LE              LE
                        GAP Role       Broadcaster        Observer        Peripheral        Central

 GATT Client                    O            E                 E               O               O
 GATT Server                C1               E                 E               M               M
 C1: Mandatory if the GATT profile is supported on the BR/EDR physical transport; otherwise excluded

Table 15.1: Requirements based on GAP Roles Supported




Bluetooth Device Requirements                                                        06 December 2016
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15.3 SDP REQUIREMENTS
The requirements for supporting an SDP Client or SDP Server are specified in
Table 15.2. There shall be no more than one active SDP server per device.

                      BR/EDR and BR/EDR/LE             LE-Only
                           Device Type                Device Type

 SDP Client                           C1                    E
 SDP Server                      C1 or C2                   E
 C1: Mandatory to support at least one; Optional to support both
 C2: Mandatory to support if GATT server is supported
Table 15.2: Requirements based on GAP Roles Supported


15.4 SDP SERVICE RECORD REQUIREMENT
A BR/EDR or BR/EDR/LE device that supports a GATT server accessible over
the BR/EDR physical transport shall publish the SDP record shown below in
Table 15.3. The GAP Start Handle shall be set to the attribute handle of the
«Generic Attribute Profile» service declaration. The GAP End Handle shall be
set to the attribute handle of the last attribute within the «Generic Attribute
Profile» service definition group.

 Item                           Definition         Type     Value                           Status

 Service Class ID List                                                                      M
 Service Class #0                                  UUID     «Generic Attribute Profile»     M

 ProtocolDescriptorList                                                                     M
 Protocol #0                                       UUID     «L2CAP»                         M
 Parameter #0                   PSM                Unit16   PSM = ATT                       M
 for Protocol #0

 Protocol #1                                       UUID     «ATT»                           M
 Parameter #0                   GAP Start Handle   Uint16                                   M
 for Protocol #1
 Parameter #1                   GAP End Handle     Uint16                                   M
 for Protocol #1

 BrowseGroupList                                            PublicBrowseRoot                M
Table 15.3: SDP Record for the Generic Access Profile

If a BR/EDR or BR/EDR/LE device supports a GATT-based service on the BR/
EDR transport, the service shall exist in the SDP server and the GATT server.




Bluetooth Device Requirements                                                      06 December 2016
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16 DEFINITIONS

In the following, terms written with capital letters refer to states.

Most definitions in this section are BR/EDR specific.

16.1 GENERAL DEFINITIONS
Mode . A set of directives that defines how a device will respond to certain
events.

Idle . As seen from a remote device, a Bluetooth device is idle, or is in idle
mode, when there is no link established between them.

Bond . A relation between two Bluetooth devices defined by creating,
exchanging and storing a common link key. The bond is created through the
bonding or LMP-pairing procedures.

16.2 CONNECTION-RELATED DEFINITIONS
Physical channel . A synchronized Bluetooth baseband-compliant RF
hopping sequence.

Piconet . A set of Bluetooth devices sharing the same physical channel
defined by the master parameters (clock and BD_ADDR).

Physical link . A Baseband-level connection1 between two devices
established using paging. A physical link comprises a sequence of
transmission slots on a physical channel alternating between master and slave
transmission slots.

ACL link . An asynchronous (packet-switched) connection1 between two
devices created on LMP level. Traffic on an ACL link uses ACL packets to be
transmitted.

SCO link . A synchronous (circuit-switched) connection1 for reserved
bandwidth communications; e.g. voice between two devices, created on the
LMP level by reserving slots periodically on a physical channel. Traffic on a
SCO link uses SCO packets to be transmitted. SCO links can be established
only after an ACL link has first been established.

Link . Shorthand for an ACL link.

PAGE . A baseband state where a device transmits page trains, and processes
any eventual responses to the page trains.


1. The term ’connection’ used here is not identical to the definition below. It is used in the
   absence of a more concise term.


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PAGE_SCAN . A baseband state where a device listens for page trains.

Page . The transmission by a device of page trains containing the Device
Access Code of the device to which the physical link is requested.

Page scan . The listening by a device for page trains containing its own Device
Access Code.

Channel . A logical connection on L2CAP level between two devices serving a
single application or higher layer protocol.

Connection . A connection between two peer applications or higher layer
protocols mapped onto a channel.

Connecting . A phase in the communication between devices when a
connection between them is being established. (Connecting phase follows after
the link establishment phase is completed.)

Connect (to service) . The establishment of a connection to a service. If not
already done, this includes establishment of a physical link, link and channel as
well.

16.3 DEVICE-RELATED DEFINITIONS
Discoverable device . A Bluetooth device in range that will respond to an
inquiry (normally in addition to responding to page).

Silent device . A Bluetooth device appears as silent to a remote device if it
does not respond to inquiries made by the remote device. A device may be
silent due to being non-discoverable or due to baseband congestion while
being discoverable.
Connectable device . A Bluetooth device in range that will respond to a page.

Trusted device . A paired device that is explicitly marked as trusted.

Paired device . A Bluetooth device with which a link key has been exchanged
(either before connection establishment was requested or during connecting
phase).
Pre-paired device . A Bluetooth device with which a link key was exchanged,
and the link key is stored, before link establishment.
Un-paired device . A Bluetooth device for which there was no exchanged link
key available before connection establishment was requested.
Known device . A Bluetooth device for which at least the BD_ADDR is stored.

Un-known device . A Bluetooth device for which no information (BD_ADDR,
link key or other) is stored.



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Authenticated device . A Bluetooth device whose identity has been verified
during the lifetime of the current link, based on the authentication procedure.

16.4 PROCEDURE-RELATED DEFINITIONS
Paging. A procedure for establishing a physical link of ACL type on baseband
level, consisting of a page action of the initiator and a page scan action of the
responding device.

Link establishment . A procedure for establishing a link on LMP level. A link is
established when both devices have agreed that LMP setup is completed.

Channel establishment . A procedure for establishing a channel on L2CAP
level.

Connection establishment . A procedure for creating a connection mapped
onto a channel.

Creation of a trusted relationship . A procedure where the remote device is
marked as a trusted device. This includes storing a common link key for future
authentication and pairing (if the link key is not available).

Creation of a secure connection. A procedure of establishing a connection,
including authentication and encryption.

Device discovery . A procedure for retrieving the Bluetooth device address,
clock, class-of-device field and used page scan mode from discoverable
devices.

Name discovery . A procedure for retrieving the user-friendly name (the
Bluetooth device name) of a connectable device.

Service discovery . Procedures for querying and browsing for services
offered by or through another Bluetooth device.

16.5 SECURITY-RELATED DEFINITIONS
Authentication . A generic procedure based on LMP-authentication if a link
key exists or on LMP-pairing if no link key exists.

LMP-authentication . An LMP level procedure for verifying the identity of a
remote device. The procedure is based on a challenge-response mechanism
using a random number, a secret key and the BD_ADDR of the non-initiating
device. The secret key used can be a previously exchanged link key.

Authorization . A procedure where a user of a Bluetooth device grants a
specific (remote) Bluetooth device access to a specific service. Authorization
implies that the identity of the remote device can be verified through
authentication.


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Authorize . The act of granting a specific Bluetooth device access to a specific
service. It may be based upon user confirmation, or given the existence of a
trusted relationship.

LMP-pairing . A procedure that authenticates two devices, based on a PIN,
and subsequently creates a common link key that can be used as a basis for a
trusted relationship or a (single) secure connection. The procedure consists of
the steps: creation of an initialization key (based on a random number and a
PIN), creation and exchange of a common link key and LMP-authentication
based on the common link key.

Bonding . A dedicated procedure for performing the first authentication, where
a common link key is created and stored for future use.

Trusting . The marking of a paired device as trusted. Trust marking can be
done by the user, or automatically by the device (e.g. when in bondable mode)
after a successful pairing.




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17 REFERENCES

[1]   Baseband Specification
[2]   Link Manager Protocol
[3]   RFCOMM
[4]   Telephony Control Specification
[5]   Service Discovery Protocol
[6]   Security Architecture (white paper)
[7]   Bluetooth Assigned Numbers




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APPENDIX A (NORMATIVE):
                               TIMERS AND CONSTANTS

The following timers are required by this profile.

                                                                               Requirement or
 Timer name                         Value       Description                    Recommendation

 TGAP(100)                          10.24 s     Time span that a               Recommended
                                                Bluetooth device performs      value
                                                device discovery.
 TGAP(101)                          10.625 ms   A discoverable Bluetooth       Required value
                                                device enters INQUIRY_S-
                                                CAN for at least
                                                TGAP(101) every
                                                TGAP(102).

 TGAP(102)                          2.56 s      Maximum time between           Recommended
                                                repeated INQUIRY_SCAN          value
                                                enterings.

 TGAP(103)                          30.72 s     Minimum time span that a       Required value
                                                device is in discoverable
                                                mode.
 TGAP(104)                          1 min.      Maximum time span that a       Recommended
                                                device is in limited discov-   value
                                                erable mode.
 TGAP(105)                          100ms       Maximum time between           Recommended
                                                INQUIRY_SCAN enterings         value

 TGAP(106)                          100ms       Maximum time between           Recommended
                                                PAGE_SCAN enterings            value
 TGAP(107)                          1.28s       Maximum time between           Recommended
                                                PAGE_SCAN enterings            value
                                                (R1 page scan)
 TGAP(108)                          2.56s       Maximum time between           Recommended
                                                PAGE_SCAN enterings            value
                                                (R2 page scan)

Table A.1: Defined GAP timers (Sheet 1 of 6)




Appendix A: (Normative): Timers and Constants                                        06 December 2016
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                                                                              Requirement or
 Timer name                         Value       Description                   Recommendation

 TGAP(adv_fast_                     90 ms to    Minimum to maximum            Recommended
 interval1_coded)                   180 ms      advertising interval in the   value
                                                following GAP Modes on
                                                the LE Coded PHY when
                                                user initiated:
                                                1. Undirected
                                                   Connectable Mode
                                                2. Limited Discoverable
                                                   Mode and sending
                                                   connectable undirected
                                                   advertising events
                                                3. General Discoverable
                                                   Mode and sending
                                                   connectable undirected
                                                   advertising events
                                                4. Directed Connectable
                                                   Mode and sending low
                                                   duty cycle connectable
                                                   directed advertising
                                                   events

 TGAP(adv_fast_interval1)           30 ms to    Minimum to maximum            Recommended
                                    60 ms       advertising interval in the   value
                                                following GAP Modes on
                                                the LE 1M PHY when user
                                                initiated:
                                                1. Undirected
                                                   Connectable Mode
                                                2. Limited Discoverable
                                                   Mode and sending
                                                   connectable undirected
                                                   advertising events
                                                3. General Discoverable
                                                   Mode and sending
                                                   connectable undirected
                                                   advertising events
                                                4. Directed Connectable
                                                   Mode and sending low
                                                   duty cycle directed
                                                   advertising events

Table A.1: Defined GAP timers (Sheet 2 of 6)




Appendix A: (Normative): Timers and Constants                                       06 December 2016
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                                                                               Requirement or
 Timer name                         Value       Description                    Recommendation

 TGAP(adv_fast_                     300 ms to   Minimum to maximum             Recommended
 interval2_coded)                   450 ms      advertising interval in the    value
                                                following GAP Modes on
                                                the LE Coded PHY when
                                                user initiated and sending
                                                non-connectable advertis-
                                                ing events:
                                                1. Non-Discoverable
                                                   Mode
                                                2. Non-Connectable Mode
                                                3. Limited Discoverable
                                                   Mode
                                                4. General Discoverable
                                                   Mode

 TGAP(adv_fast_interval2)           100 ms to   Minimum to maximum             Recommended
                                    150 ms      advertising interval in the    value
                                                following GAP Modes on
                                                the LE 1M PHY when user
                                                initiated and sending non-
                                                connectable advertising
                                                events:
                                                1. Non-Discoverable
                                                   Mode
                                                2. Non-Connectable Mode
                                                3. Limited Discoverable
                                                   Mode
                                                4. General Discoverable
                                                   Mode

 TGAP(adv_fast_period)              30 s        Minimum time to perform        Recommended
                                                advertising when user initi-   value
                                                ated
 TGAP(adv_slow_                     3 s to      Minimum to maximum             Recommended
 interval_coded)                    3.6 s       advertisement interval in      value
                                                any discoverable or con-
                                                nectable mode when back-
                                                ground advertising on the
                                                LE Coded PHY

 TGAP(adv_slow_interval)            1 s to      Minimum to maximum             Recommended
                                    1.2 s       advertisement interval in      value
                                                any discoverable or con-
                                                nectable mode when back-
                                                ground advertising on the
                                                LE 1M PHY

Table A.1: Defined GAP timers (Sheet 3 of 6)




Appendix A: (Normative): Timers and Constants                                        06 December 2016
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                                                                               Requirement or
 Timer name                         Value       Description                    Recommendation

 TGAP(conn_param_timeout)           30 s        Connection parameter           Recommended
                                                update notification timer      value
                                                when performing the con-
                                                nection parameter update
                                                procedure

 TGAP(conn_pause_central)           1s          Central idle timer             Recommended
                                                                               value


 TGAP(conn_pause_                   5s          Minimum time upon con-         Recommended
 peripheral)                                    nection establishment          value
                                                before the peripheral starts
                                                a connection update proce-
                                                dure

 TGAP(gen_disc_                     30.72 s     Minimum time to perform        Recommended
 scan_min_coded)                                scanning when performing       value
                                                the general discovery pro-
                                                cedure on the LE Coded
                                                PHY

 TGAP(gen_disc_scan_min)            10.24 s     Minimum time to perform        Recommended
                                                scanning when performing       value
                                                the general discovery pro-
                                                cedure on the LE 1M PHY
 TGAP(initial_conn_                 90 ms to    Minimum to maximum con-        Recommended
 interval_coded)                    150 ms      nection interval upon any      value
                                                connection establishment
                                                on the LE Coded PHY
 TGAP(initial_conn_interval)        30 ms to    Minimum to maximum con-        Recommended
                                    50 ms       nection interval upon any      value
                                                connection establishment
                                                on the LE 1M PHY

 TGAP(lim_adv_timeout)              180 s       Maximum time to remain         Required value
                                                advertising when in the lim-
                                                ited discoverable mode
 TGAP(lim_disc_                     33.75 ms    Scan interval used in the      Recommended
 scan_int_coded)                                limited discovery proce-       value
                                                dure on the LE Coded PHY
 TGAP(lim_disc_scan_int)            11.25 ms    Scan interval used in the      Recommended
                                                limited discovery proce-       value
                                                dure on the LE 1M PHY

 TGAP(lim_disc_                     30.72 s     Minimum time to perform        Recommended
 scan_min_coded)                                scanning when performing       value
                                                the limited discovery pro-
                                                cedure on the LE Coded
                                                PHY

Table A.1: Defined GAP timers (Sheet 4 of 6)



Appendix A: (Normative): Timers and Constants                                        06 December 2016
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                                                                             Requirement or
 Timer name                         Value       Description                  Recommendation

 TGAP(lim_disc_scan_min)            10.24 s     Minimum time to perform      Recommended
                                                scanning when performing     value
                                                the limited discovery pro-
                                                cedure on the LE 1M PHY
 TGAP(private_addr_int)             15 mins     Minimum time interval        Recommended
                                                between private address      value
                                                change
 TGAP(scan_fast_                    90 ms to    Scan interval in any dis-    Recommended
 interval_coded)                    180 ms      covery or connection         value
                                                establishment procedure
                                                when user initiated on the
                                                LE Coded PHY

 TGAP(scan_fast_interval)           30 ms to    Scan interval in any dis-    Recommended
                                    60 ms       covery or connection         value
                                                establishment procedure
                                                when user initiated on the
                                                LE 1M PHY

 TGAP(scan_fast_period)             30.72 s     Minimum time to perform      Recommended
                                                scanning when user initi-    value
                                                ated

 TGAP(scan_fast_                    90 ms       Scan window in any dis-      Recommended
 window_coded)                                  covery or connection         value
                                                establishment procedure
                                                when user initiated on the
                                                LE Coded PHY

 TGAP(scan_fast_window)             30 ms       Scan window in any dis-      Recommended
                                                covery or connection         value
                                                establishment procedure
                                                when user initiated on the
                                                LE 1M PHY

 TGAP(scan_slow_                    3.84 s      Scan interval in any dis-    Recommended
 interval1_coded)                               covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE Coded PHY

 TGAP(scan_slow_interval1)          1.28 s      Scan interval in any dis-    Recommended
                                                covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE 1M PHY

 TGAP(scan_slow_                    7.68 s      Scan interval in any dis-    Recommended
 interval2_coded)                               covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE Coded PHY

Table A.1: Defined GAP timers (Sheet 5 of 6)


Appendix A: (Normative): Timers and Constants                                      06 December 2016
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                                                                             Requirement or
 Timer name                         Value       Description                  Recommendation

 TGAP(scan_slow_interval2)          2.56 s      Scan interval in any dis-    Recommended
                                                covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE 1M PHY

 TGAP(scan_slow_                    33.75 ms    Scan window in any dis-      Recommended
 window1_coded)                                 covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE Coded PHY

 TGAP(scan_slow_window1)            11.25 ms    Scan window in any dis-      Recommended
                                                covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE 1M PHY

 TGAP(scan_slow_                    67.5 ms     Scan window in any dis-      Recommended
 window2_coded)                                 covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE Coded PHY

 TGAP(scan_slow_window2)            22.5 ms     Scan window in any dis-      Recommended
                                                covery or connection         value
                                                establishment procedure
                                                when background scan-
                                                ning on the LE 1M PHY

 TGAP(Sync_Scan_                    320 ms      Interval between the start   Recommended
 Interval)                                      of adjacent synchroniza-     value
                                                tion scan windows
 TGAP(Sync_Scan_                    91.25 ms    Duration of Synchroniza-     Recommended
 Window)                                        tion scan window             value


 TGAP(Sync_Train_                   30.72 s     Duration of                  Required value
 Duration)                                      synchronizability mode


 TGAP(Sync_Train_Interval)          80 ms       Interval between Synchro-    Recommended
                                                nization Train events        value


Table A.1: Defined GAP timers (Sheet 6 of 6)




Appendix A: (Normative): Timers and Constants                                      06 December 2016
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APPENDIX B (INFORMATIVE): INFORMATION
                                  FLOWS OF RELATED PROCEDURES

B.1 LMP – AUTHENTICATION
The specification of authentication on link level is found in [2].


                                     Verifier
                                                                     Claimant
                                    (initiator)


             init_authentication

                 secret key                                                          secret key
            (link key or Kinit)                                                  (link key or Kinit)

                                     Generate
                                  random number


                                                   lmp_au_rand


                                   Calculate                         Calculate
                                   Challenge                         response
                               (random number)
                                                     lmp_sres



                                    Compare

                  result
                (ok or fail)


Figure B.1: LMP-authentication as defined by [2]


The secret key used here is an already exchanged link key.




Appendix B: (Informative): Information Flows of Related Procedures                        06 December 2016
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B.2 LMP – PAIRING
The specification of pairing on link level is found in [2].


                                   Verifier
                                                                        Claimant
                                  (initiator)


               init_pairing


                                 Generate
                              random number


                                                   LMP_in_rand
                                                  LMP_accepted
                   PIN                                                                    PIN



                               Calculate K init                      Calculate K init



                                                  Create link key


                                                lmp-authentication
                Link Key                                                                Link Key




Figure B.2: LMP-pairing as defined in [2]


The PIN used here is PINBB.

The create link key procedure is described in [Vol 2] Part C, Section 4.2.2.4
and [Vol 2] Part H, Section 3.2. In case the link key is based on a combination
key, a mutual authentication takes place and shall be performed irrespective of
current security mode.




Appendix B: (Informative): Information Flows of Related Procedures                                 06 December 2016
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B.3 SERVICE DISCOVERY
The Service Discovery Protocol [5] specifies what PDUs are used over-the-air
to inquire about services and service attributes. The procedures for discovery
of supported services and capabilities using the Service Discovery Protocol are
described in higher layer specifications. This is just an example.


                                      A                                  B


       initiate service discovery                                            make connectable



                                                Link establishment



                                              Channel establishment



                                             service discovery session


                                                 Channel release


                                                   LMP_detach


Figure B.3: Service discovery procedure


B.4 GENERATING A RESOLVABLE PRIVATE ADDRESS
Generating a resolvable private address is described in Section 10.8.2.2.

B.5 RESOLVING A RESOLVABLE PRIVATE ADDRESS
Resolving a resolvable private address is described in Section 10.8.2.3.




Appendix B: (Informative): Information Flows of Related Procedures                   06 December 2016
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                   Core System Package [Host volume]
                                              Part D




                     PART D: TEST SUPPORT




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Test Support


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Test Support


1 TEST METHODOLOGY

This section describes the test modes for hardware and low-level functionality
tests of Bluetooth devices.

The BR/EDR test mode supports testing of the Bluetooth transmitter and
receiver including transmitter tests (packets with constant bit patterns) and
loopback tests. It is intended mainly for certification/compliance testing of the
radio and baseband layer, and may also be used for regulatory approval or in-
production and after-sales testing.

For AMP, this section describes the AMP test mode for hardware and low-level
functionality tests of Bluetooth AMP devices. The AMP test mode provides the
ability to control an AMP device using HCI Commands for both MAC
conformance testing and PHY transmitter and receiver tests utilising the BR/
EDR connection. The AMP test mode is intended mainly for certification/
compliance testing of the MAC and PHY and may also be used for regulatory
approval or in production and after sales testing.

1.1 BR/EDR TEST SCENARIOS
A device in BR/EDR test mode shall not support normal operation. For security
reasons the BR/EDR test mode is designed such that it offers no benefit to the
user. Therefore, no data output or acceptance on a HW or SW interface shall
be allowed.

1.1.1 Test Setup

The setup consists of a device under test (DUT) and a tester. Optionally,
additional measurement equipment may be used.


                                  Control commands

                                      Test data            Device under
               Tester
                                                               Test


           Additional
          Measurement
           Equipment                                  Local activation/enabling
            (optional)


Figure 1.1: Setup for Test Mode


Tester and DUT form a piconet where the tester acts as master and has full
control over the test procedure. The DUT acts as slave.


Test Methodology                                                          06 December 2016
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Test Support

The control is done via the air interface using LMP commands (see [Vol 2] Part
C, Section 4.7.3). Hardware interfaces to the DUT may exist, but are not
subject to standardization.

The test mode is a special state of the Bluetooth model. For security and type
approval reasons, a Bluetooth device in test mode shall not support normal
operation. When the DUT leaves the test mode it enters the standby state.
After power-off the Bluetooth device shall return to the standby state.

1.1.2 Transmitter Test

The Bluetooth device transmits a constant bit pattern. This pattern is
transmitted periodically with packets aligned to the slave TX timing of the
piconet formed by tester and DUT. The same test packet is repeated for each
transmission.

The transmitter test is started when the master sends the first POLL packet. In
non-hopping mode the agreed frequency is used for this POLL packet.

The tester (master) transmits control or POLL packets in the master-to-slave
transmission slots. The DUT (slave) shall transmit packets in the following
slave-to-master transmission slot. The tester’s polling interval is fixed and
defined by the LMP_test_control PDU. The device under test may transmit its
burst according to the normal timing even if no packet from the tester was
received. In this case, the ARQN bit is shall be set to NAK.

The burst length may exceed the length of a one slot packet. In this case the
tester may take the next free master TX slot for polling. The timing is illustrated
in Figure 1.2.


                   Burst Length                                   Burst Length
    POLL                                              POLL

                     Test Packet                                    Test Packet     ...
                                                                                               time
     Master TX      Slave TX   Master TX   Slave TX   Master TX    Slave TX


Figure 1.2: Timing for Transmitter Test




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1.1.2.1 Packet Format

The test packet is a normal Bluetooth packet, see Figure 1.3. For the payload
itself see below.



                            Packet
            Access Code                               Payload
                            Header



  ACL Packet       Guard &Sync Payload
                                                 Test Pattern                CRC
  (with CRC)        (EDR only) Header



                                     Payload
          AUX1 Packet                            Test Pattern
                                     Header



        SCO Packet                               Test Pattern



                   Guard &Sync
  eSCO Packet                                    Test Pattern                CRC
                    (EDR only)


Figure 1.3: General Format of TX Packet


During configuration the tester defines:
• the packet type to be used
• payload length

For the payload length, the restrictions from the baseband specification shall
apply (see Section Part B:). In case of ACL, SCO and eSCO packets the
payload structure defined in the baseband specification is preserved as well,
see Figure 1.3.

For the transmitter test mode, only packets without FEC should be used; i.e.
HV3, EV3, EV5, DH1, DH3, DH5, 2-EV3, 2-EV5, 3-EV3, 3-EV5, 2-DH1, 2-DH3,
2-DH5, 3-DH1, 3-DH3, 3-DH5 and AUX1 packets.

In transmitter test mode, the packets exchanged between the tester and the
DUT shall not be scrambled with the whitening sequence. Whitening shall be
turned off when the DUT has accepted to enter the transmitter test mode, and
shall be turned on when the DUT has accepted to exit the transmitter test
mode, see Figure 1.4. Implementations shall ensure that retransmissions of the
LMP_accepted messages use the same whitening status as used in the
original LMP_accepted.


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             TESTER                                           DUT
                                LMP_test_control
                         (Enter Transmitter Test mode)

                                                                       Whitening on
                                 LMP_accepted




                                LMP_test_control
                          (Exit Transmitter Test mode)                 Whitening off

                                 LMP_accepted



                                                                       Whitening on


Figure 1.4: Use of whitening in Transmitter mode


1.1.2.2 Pseudorandom Sequence

The same pseudorandom sequence of bits shall be used for each transmission
(i.e. the packet is repeated). A PRBS9 sequence is used, see [2] and [3].

The properties of this sequence are as follows (see [3]). The sequence may be
generated in a nine-stage shift register whose 5th and 9th stage outputs are
added in a modulo-two addition stage (see Figure 1.5), and the result is fed
back to the input of the first stage. The sequence begins with the first ONE of 9
consecutive ONEs; i.e. the shift register is initialized with nine ones.
• Number of shift register stages:                 9
• Length of pseudo-random sequence: 29-1 = 511 bits
• Longest sequence of zeros:                       8 (non-inverted signal)




                                                   +

Figure 1.5: Linear Feedback Shift Register for Generation of the PRBS sequence




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1.1.2.3 Control of Transmit Parameters

The following parameters can be set to configure the transmitter test:
1. Bit pattern:
   • Constant zero
   • Constant one
   • Alternating 1010...1
   • Alternating 1111 0000 1111 0000...1
   • Pseudorandom bit pattern
   • Transmission off
2. Frequency selection:
   • Single frequency
   • Normal hopping
3. TX frequency
   • k → f := (2402 + k) MHz
4. Default poll period in TDD frames (n * 1.25 ms)
5. Packet Type
6. Length of Test Sequence (user data of packet definition in Section Part B:)

1.1.2.4 Power Control

When the legacy power control mechanism is tested the DUT shall start
transmitting at the maximum power and shall reduce/increase its power by one
step on every LMP_incr_power_req or LMP_decr_power_req PDU received.
When the enhanced power control mechanism is tested a DUT shall start
transmitting at the maximum power and shall reduce/increase its power by one
step or go to the maximum power level when a LMP_power_control_req PDU
is received.

1.1.2.5 Switch Between Different Frequency Settings

A change in the frequency selection becomes effective when the LMP
procedure is completed:

When the tester receives the LMP_accepted it shall then transmit POLL
packets containing the ACK for at least 8 slots (4 transmissions). When these
transmissions have been completed the tester shall change to the new
frequency hop and whitening settings.

After sending LMP_accepted the DUT shall wait for the LC level ACK for the
LMP_accepted. When this is received it shall change to the new frequency hop
and whitening settings.


1. It is recommended that the sequence starts with a one; but, as this is irrelevant for measure-
   ments, it is also allowed to start with a zero.


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There will be an implementation defined delay after sending the LMP_accepted
before the TX or loopback test starts. Testers shall be able to cope with this.

Note: Loss of the LMP_accepted PDU will eventually lead to a loss of
frequency synchronization that cannot be recovered. Similar problems occur in
normal operation, when the hopping pattern changes.

1.1.2.6 Adaptive Frequency Hopping

Adaptive Frequency Hopping (AFH) shall only be used when the Hopping
Mode is set to 79 channels (e.g. Hopping Mode = 1) in the LMP_test_control
PDU. If AFH is used, the normal LMP commands and procedures shall be
used. When AFH is enabled prior to entering test mode it shall continue to be
used with the same parameters if Hopping Mode = 1 until the AFH parameters
are changed by the LMP_set_AFH PDU.

The channel classification reporting state shall be retained upon entering or
exiting Test Mode. The DUT shall change the channel classification reporting
state in Test Mode based on control messages from the tester
(LMP_channel_classification_req) and from the Host (HCI
Write_AFH_Channel_Classification_Mode).

1.1.3 LoopBack Test

In loopback, the device under test receives normal baseband packets
containing payload Accepted from the tester. The received packets shall be
decoded in the DUT, and the payload shall be sent back using the same packet
type. The return packet shall be sent back in either the slave-to-master
transmission slot directly following the transmission of the tester, or it is
delayed and sent back in the slave-to-master transmission slot after the next
transmission of the tester (see Figure 1.7 to Figure 1.9).

There is no signaling to determine or control the mode. The device behavior
shall be fixed or adjusted by other means, and shall not change randomly.

The tester can select, whether whitening is on or off. This setting holds for both
uplink and downlink. For switching the whitening status, the same rules as in
Section 1.1.2 (Figure 1.4) shall apply.

The following rules apply (for illustration see Figure 1.6):
• If the synch word was not detected, the DUT shall not reply.
• If the header error check (HEC) fails, the DUT shall either reply with a NULL
  packet with the ARQN bit set to NAK or send nothing.
• If the packet contains an LMP message relating to the control of the test
  mode this command shall be executed and the packet shall not be returned,
  though ACK or NAK shall be returned as per the usual procedure. Other
  LMP commands are ignored and no packet is returned.


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• The payload FEC is decoded and the payload shall be encoded again for
  transmission. This allows testing of the FEC handling. If the pure bit error
  rate shall be determined the tester chooses a packet type without FEC.
• The CRC shall be evaluated. In the case of a failure, ARQN=NAK shall be
  returned. The payload shall be returned as received.
  A new CRC for the return packet shall be calculated for the returned payload
  regardless of whether the CRC was valid or not.
• If the CRC fails for a packet with a CRC and a payload header, the number
  of bytes as indicated in the (possibly erroneous) payload header shall be
  looped back.




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  Receive Path:                        Synch found


                              Deccode Header


                                                 faili
                                    HEC

                                        o.k.
               Packet type                                    Build NULL
               without FEC                                    + ARQN = NAK
                                Payload:
                                decode FEC
                                                                  Send

               Packet type
               without CRC                     fail
                                    CRC

                                       o.k.

                               ARQN = ACK                ARQN = NAK



                                               LMP message                     fail
                                    LLID                         CRC
                                        other                         o.k.

                                Take payload                   Execute                    Discard
                                 as decoded                  LMP Command                  packet


  Transmit Path:

               Packet type
               without FEC       Code FEC



               Packet type
                                 Add CRC
               without CRC



                                Build Packet
                                (incl. ARQN)



                                   Send


Figure 1.6: DUT Packet Handling in Loop Back Test


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The timing for normal and delayed loopback is illustrated in Figure 1.7 to Figure
1.9:


                   Payload                       Payload                        Payload

                   ARQN                           ARQN                           ARQN

        RX Packet         TX Packet      RX Packet      TX Packet       RX Packet      TX Packet

         Master TX        Slave TX        Master TX      Slave TX        Master TX     Slave TX      time


Figure 1.7: Payload & ARQN handling in normal loopback.




                                 Payload                          Payload                      Payload

                 ARQN                             ARQN                           ARQN
                          ACK




        RX Packet                         RX Packet     TX Packet       RX Packet      TX Packet

         Master TX        Slave TX        Master TX      Slave TX        Master TX      Slave TX
                                                                                                     time


Figure 1.8: Payload & ARQN handling in delayed loopback - start.




       Payload                       Payload                        Payload

                   ARQN                              ARQN                       ARQN
                                                                         Poll




         RX Packet         TX Packet      RX Packet      TX Packet                      TX Packet

         Master TX         Slave TX        Master TX        Slave TX     Master TX      Slave TX
                                                                                                     time


Figure 1.9: Payload & ARQN handling in delayed loopback - end.


The whitening is performed in the same way as it is used in normal active
mode.

The following parameters can be set to configure the loop back test:
1. Packet Class1
   ACL Packets
   SCO Packets
   eSCO Packets
   ACL Packets without whitening

1. This is included because the packet type numbering is ambiguous.


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   SCO Packets without whitening
   eSCO Packets without whitening
2. Frequency Selection
   Single frequency (independent for RX and TX)
   Normal hopping
3. Power level: (To be used according radio specification requirements)
   power control or fixed TX power

The switch of the frequency setting is done exactly as for the transmitter test
(see Section 1.1.2.5).

1.1.4 Pause Test

Pause test is used by testers to put the device under test into Pause Test mode
from either the loopback or transmitter test modes.

When an LMP_test_control PDU that specifies Pause Test is received the DUT
shall stop the current test and enter Pause Test mode. In the case of a
transmitter test this means that no more packets shall be transmitted. While in
Pause Test mode the DUT shall respond normally to POLL packets (i.e.
responds with a NULL packet). The DUT shall also respond normally to all the
LMP packets that are allowed in test mode.

When the test scenario is set to Pause Test all the other fields in the
LMP_test_control PDU shall be ignored. There shall be no change in hopping
scheme or whitening as a result of a request to pause test.




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1.2 AMP TEST SCENARIOS


                    Optional Control

                                       DUT
             AMP Test Manager

                                                           Tester


     HCI
                               L2CAP

                                             L2CAP
                                             ACL
                                             BR/EDR
                                             connection
     AMP                       BR/EDR                     BR/EDR
       AMP
         AMP
           AMP
                                                           Additional
                                                          Measurement
                                                           Equipment
   Local activation/enabling                               (   ti   l)



Figure 1.10: Test Architecture


1.2.1 Methodology Overview

To perform PHY tests on an AMP, the DUT shall first have AMP Test Mode
enabled locally as required for a BR/EDR Controller using the HCI
Enable_Device_Under_Test_Mode command. When this command is received
by the AMP Controller it shall enable the AMP to accept HCI Test Commands
and when received by the BR/EDR Controller it shall enable the AMP Test
Manager to pass HCI commands and events between the tester and the AMP
device utilizing the BR/EDR connection. A DUT AMP shall reject all AMP
related HCI Test Commands, except HCI_Enable_Device_Under_Test_Mode,
until the HCI_Enable_Device_Under_Test_Mode command has been issued
by the local Host. Although AMP Test Mode is enabled the AMP shall not enter
AMP Test Mode until the HCI_AMP_Test_Command is received.

Note: Enabling test mode with HCI_Enable_Device_Under_Test_Mode
command allows the AMP to enter test mode when an
HCI_AMP_Test_Command is received.

The local control of an AMP in AMP Test Mode shall be by the AMP Test
Manager as shown in Figure 1.10. The AMP Test Manager will receive AMP
Test Manager commands and HCI test commands via ACL data packets as

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shown in Figure 1.10, using an L2CAP connectionless fixed test channel
(channel 0x003F) from a Bluetooth test device. This does not exclude driving
the AMP Test Manager directly from an implementation vendor specific
interface as shown from the "Optional Control" in Figure 1.10.

The AMP Test Manager commands allow the tester to discover the number and
type of AMPs supported and to read their PHY capability support via the AMP
Test Manager.

The tester can use HCI commands and HCI Test Commands to control all of
the AMPs to perform qualification, IOP testing as well as entering AMP Test
Mode to perform AMP PHY tests. The HCI events and responses shall be
routed back to the tester via the fixed test channel (0x003F).

If an HCI command is sent to an invalid Controller ID (a Controller not reported
in the Discovery Response) the AMP Command Rejected Event shall be
returned with an Invalid Controller Id as the reason.

An AMP shall be taken out of AMP Test Mode by the HCI_Reset command.
This will reset only the AMP receiving the HCI_Reset.

The AMP Test Manager shall not be enabled to support HCI commands over
the fixed test channel (0x003F) unless AMP Test Mode has been enabled
locally with the HCI_Enable_Device_Under_Test_Mode command.

The "Optional Control" interface shown in Figure 1.10 is a vendor specific
interface that allows local control of the AMP Test Manager when a BR/EDR
link is not available.

1.2.1.1 Initiation Example Description

The AMP Test Manager is enabled to receive AMP test commands and HCI
commands over the fixed test channel once it has been locally enabled. Using
the fixed test channel, the tester shall use the AMP test commands and events
to identify the number and type of AMPs available.

When the AMP Test Manager has been enabled and the AMPs identified the
Tester shall use the AMP Test Manager to
• Transfer HCI commands and Events to and from the AMPs for qualification
  and IOP testing.
• Put the AMPs into test mode using HCI AMP test commands and events for
  AMP PHY testing.




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1.2.2 Control and Configuration

Control and configuration of AMP tests shall be performed using two groups of
commands/events over the ACL BR/EDR connection on the fixed test channel.
The two groups are the AMP Test Manager commands/events which are to the
AMP Test Manager and the HCI AMP test commands/events which are routed
via the AMP Test Manager between the AMP indicated as part of the message
structure and the tester.
                    AMP Command Rejected Event

 AMP Test           AMP Discover Request Command
 Manager com-
                    AMP Discover Response Event
 mands and
 events             AMP Read PHY Capability Bit Map Request
                    AMP Read PHY Capability Bit Map Response Event

                    Read Loopback Mode Command
                    Write Loopback Mode Command
                    Enable AMP Receiver Reports Command
 HCI AMP test       AMP Test End Command
 commands
 and events         AMP Test Command
                    AMP Start Test Event

                    AMP Test End Event
                    AMP Receiver Report Event


1.2.3 AMP Test Manager

The AMP Test Manager provides the interface to the AMPs available so that
qualification, IOP and PHY testing can be performed using the BR/EDR
connection. The AMP Test Manager provides the following services:

       1.      Identification of the number and type of AMPs available
       2.      Enumeration of the available AMPs so that they can be
               communicated to individually
       3.      Routing of the HCI commands and events between the AMPs and
               the tester over the ACL BR/EDR connection on the fixed test
               channel, or the vendor specific interface (that is, a local interface to
               the AMP Test Manager other than the BR/EDR radio).




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1.2.4 Test Commands/Events Format


       L2CAP                   Protocol ID                             Command/Event
      HEADER
                  Channel ID
   I-L e n g th




                               AMP Test        AMP Test Opcode   RES      ATC                         Data
                               Cmd/Event                                 Length



                               AMP HCI           Controller ID   HCI Opcode       Parameter   HCI command data
                               Command                                            length



                               AMP HCI           Controller ID   HCI Event        Parameter   HCI event data
                               Event                             code             length



Figure 1.11: L2CAP test command/event formats


The fields shown are:
• L2CAP header (4 octets)
  This is the Basic L2CAP header with the Channel ID always set to test
  channel (0x003F). (See section [Vol 3] Part A, Section 3.1)
              Length (2 octets)
              Length of the Information payload which includes the Protocol ID
              and the Command/Event
                                Channel ID (2 octets)
                                Fixed value of (0x003F)
• Protocol ID (1 octet)
  This identifies the protocol in the command/event data. The IDs used are an
  extension of the UART transport packet types.

 Protocol ID                                 Command/event type

 0x01                                        HCI Command

 0x02                                        Reserved for future use
 0x03                                        Reserved for future use
 0x04                                        HCI Event

 0x05                                        AMP Test Command
 0x06                                        AMP Test Event
 Other                                       Reserved for future use

Table 1.1: L2CAP valid test protocol IDs




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• Controller ID (1 octet)
  Each Controller in a device is assigned a one-octet unique identifier by the
  local AMP Test Manager. This field determines the destination of the HCI
  Command or the source of the HCI Event. The Controller ID values shall be
  in the range of 1 to 255. Controller ID 0 has been reserved for the primary
  BR/EDR Controller.
   Note: "Controller" is a generic term which covers both the primary BR/EDR
   Controller and any AMPs
• ATO (AMP Test Opcode) (1 octet)
  This is the AMP Test Manager commands or event code as described in
  Section 1.2.5.
• RFU (1 octet)
• AMP Test Command (ATC) Length (2 octets)
  This is the number of octets in the data portion of this message
• AMP HCI Commands and Events
  The format of these packets follow the standard HCI format described in [Vol
  2] Part E, after the Controller ID.

Examples

                   Protocol ID                  Command/Event

 AMP Test          0x05            AMP Test   0x00     Length         AMP Test
 command                           Opcode                             Com-
                                                                      mand
 AMP Test          0x06            AMP Test   0x00      Length        AMP Test
 Event                             Opcode                             Event

 AMP HCI           0x01            Control-           HCI Command
 Command                           ler ID
 AMP HCI           0x04            Control-            HCI Event
 Event                             ler ID




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1.2.5 AMP Test Manager Commands/Events

The AMP Test Manager commands are sent to the AMP Test Manager from the
tester and the events are from the AMP Test Manager to the tester.

The data fields are:
• AMP Test Opcode (1 octet)
  Identifies the type of AMP Test Manager command/event.
• RFU (1 octet)
• Amp Test Command (ATC) length (2 octets)
  Length of the data field of the command/event. This length does not include
  the AMP Test Opcode, RFU octet or the ATC length.

 AMP Test Opcode                 Description

 0x00                            Reserved for future use

 0x01                            AMP Command Rejected Event
 0x02                            AMP Discover Request
 0x03                            AMP Discover Response Event

 0x04                            AMP Read PHY Capability Bit Map Com-
                                 mand
 0x05                            AMP Read PHY Capability Bit Map
                                 Response Event
 Other                           Reserved for future use

Table 1.2: AMP Test Opcodes


1.2.5.1 AMP Command Rejected Event

This event shall be sent by the DUT to the tester when a command cannot be
accepted. The parameter returned indicates the reason.


   Opcode = 0x01       RFU = 0       ATC length = 2        Reason


The data fields are:
• AMP Test Opcode (1 octet)
  0x01
• RFU (1 octet)
• ATC length (2 octets)
  Always set to 0x0002
• Reason (2 octets)
  See Table 1.3.

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 Reason Value          Description

 0x0000                Command not recognized
 0x0001                Invalid Controller ID
 0x0002                Invalid Protocol ID

 Other                 Reserved for future use
Table 1.3: AMP Command reasons for rejection

1.2.5.2 AMP Discover Request

The tester shall send this command to the AMP Test Manager to obtain the
available Controllers and their types.


  Opcode = 0x02          RFU = 0             ATC length = 0


The data fields are:
• AMP Test Opcode (1 octet)
  Shall be set to 0x02
• RFU (1 octet)
• ATC length (2 octet)
  Shall be set to 0x0000

Events generated

On receipt of the AMP_Discover_Request command the AMP Test Manager
shall return the AMP_Discover_Response event.

1.2.5.3 AMP Discover Response Event

When the AMP Test Manager receives an AMP_Discover_Request command
it shall reply to the tester with an AMP_Discover_Response event indicating for
each Controller the Controller ID and Controller Type. The first Controller ID
and Type pair in the response shall be 0 for the BR/EDR primary Controller
followed by the available additional Controllers ID and Type pairs.


   Opcode = 0x03         RFU = 0               ATC length             Controller list


   Controller list
   Controller ID=0   Controller Type=0         Additional Controller ID and Type pairs


• AMP Test Opcode (1 octet)
  Shall be set to 0x03

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• RFU (1 octet)
• ATC length (2 octets)
  ATClength = (Controller ID length + Controller Type length) * number of
  Controllers
• Controller Types (1 octet)
  Each type of Controller is assigned a unique one-octet value. These values
  are defined in Assigned Numbers. A device may have multiple AMPs of the
  same type.

Note: The AMP Discovery Response shall include the primary BR/EDR
Controller as the first Controller ID and Controller Type pair.

1.2.5.4 AMP Read PHY Capability Bit Map Command

To perform AMP PHY tests the tester needs to know the supported PHY
capabilities of the DUT. This information shall be provided in the PHY
Capability Bit Map. This command shall be sent from the tester to the DUT to
request the PHY Capability Bit Map from an AMP with the passed Controller
ID.


   Opcode = 0x04       RFU = 0      ATC length = 1    Controller ID


The data fields are:
• AMP Test Opcode (1 octet)
  Always set to 0x04
• RFU (1 octet)
• ATC length (2 octets)
  Always set to 0x0001
• Controller ID (1 octet)
  The Controller from which the PHY Capability Bit Map is being requested.
  This is an invalid request from a BR/EDR Controller and will be rejected with
  the reason of Invalid Controller ID.

1.2.5.5 AMP Read PHY Capability Bit Map Response Event

When the AMP_Read_PHY_Capability_Bit_Map Command is received by an
AMP Test Manager it shall reply with the capability bit map for the AMP
indicated if the Controller ID is valid.
• AMP Test Opcode (1 octet)
  Always set to 0x05
• RFU (1 octet)
• ATC length (2 octets)

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      The length of the PHY Capabilities Bit Map returned depending on the AMP
      type.
• Status (1 octet)
  See Table 1.4.

 Reason Value            Description

 0x00                    Success

 0x01                    Invalid Controller ID
 Other                   Reserved for future use
Table 1.4: AMP Read PHY Capability Bit Map status values

Note: If the status is not Success the remaining parameters shall be zero.
• Controller ID (1 octet)
  This is the Controller ID from which the PHY Capability Bit Map has been
  sent.
• PHY Capabilities Bit Map
  See Volume 5 for the PHY Capabilities Bit Map.


 Opcode = 0x05     RFU = 0   ATC length     Status   Controller ID   PHY Capabilities Bit Map



1.3 REFERENCES
[1]     Bluetooth Link Manager Protocol.
[2]     CCITT Recommendation O.153 (1992), Basic parameters for the
        measurement of error performance at bit rates below the primary rate.
[3]     ITU-T Recommendation O.150 (1996), General requirements for
        instrumentation for performance measurements on digital transmission
        equipment.
[4]     Bluetooth Baseband Specification.




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2 TEST CONTROL INTERFACE (TCI)

This section describes the Bluetooth Test Control Interface (TCI). The TCI
provides a uniform method of accessing the upper interface of the
implementation being tested. This facilitates the use of a standardized interface
on test equipment used for formal Qualification of implementations.

2.1 INTRODUCTION

2.1.1 Terms Used


 Conformance testing           Testing according to the applicable procedures given in
                               the Bluetooth Protocol Test Specifications and the Blue-
                               tooth Profile Conformance Test Specification when tested
                               against a test system.
 HCI                           Host Controller Interface

 IUT                           Implementation Under Test: An implementation of one or
                               more Bluetooth protocols and profiles which is to be stud-
                               ied by testing. This term is used when describing the test
                               concept for products and components equipped with Blue-
                               tooth wireless technology as defined in the PRD.

 PRD                           Bluetooth Qualification Program Reference Document:
                               This document is maintained by the Bluetooth Qualifica-
                               tion Review Board and is the reference to specify the func-
                               tions, organization and processes inside the Bluetooth
                               Qualification program.

 TCI                           Test Control Interface: The interface and protocol used by
                               the test equipment to send and receive messages to and
                               from the upper interface of the IUT.


2.1.2 Usage of the Interface

For all products and components equipped with Bluetooth wireless technology,
conformance testing is used to verify the implemented functionality in the lower
layers. Conformance testing of the lowest layers requires an upper tester to
test the implementation sufficiently well.

In order to avoid that the tester will have to adapt to each and every product
and component equipped with Bluetooth wireless technology, the use of the
standardized TCI is mandated. This concept puts some burden upon the
manufacturer of the IUT in terms of supplying an adapter providing the
necessary conversion from/to the IUT’s specific interface to the TCI. The
adapter can consist of hardware, firmware and software. After qualification
testing has been performed the TCI may be removed from the product or
component equipped with Bluetooth wireless technology. It is the



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manufacturer’s option to remove it from the qualified product or component
equipped with Bluetooth wireless technology.

The TCI is used when qualifying the implemented functionality of the:
• Baseband layer, BB
• Link Manager layer, LM

If support of the Host Controller Interface is claimed by the manufacturer the
TCI is used to qualify it.

2.2 TCI CONFIGURATIONS
This section describes the test configurations used when verifying the different
Bluetooth requirements. Each layer in the Bluetooth stack is qualified using the
procedures described in the layer specific test specification.

2.2.1 Bluetooth RF Requirements

For qualification of the Bluetooth Radio Frequency requirements the defined
Test Mode is used, see Section 1.

Similar to TCI, the specific test mode functionality may be removed from the
product or component after qualification, at the discretion of the manufacturer.

2.2.1.1 Required interfaces

For RF qualification only the air interface is required, see Figure 2.1.
Depending on the physical design of the IUT it might be necessary to
temporarily attach an RF connector for executing the RF tests. As stated in
Section 1, the Test Mode shall be locally enabled on the IUT for security
reasons. The implementation of this local enabling is not subject to
standardization.




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        Local activation/enabling
                                                             Used for test mode
                                                                 signaling


                                  IUT               Air             Test system
     Implementation                              Interface
     dependent interface

                      LM                               LMP                   LM

                      BB                                                     BB

                      RF                                                     RF



Figure 2.1: General test set-up for RF qualification


2.2.2 Bluetooth Protocol Requirements

Depending on which of the Bluetooth layers BB, LM or HCI are implemented in
the product subject to qualification, the amount of testing needed to verify the
Bluetooth protocol requirements differs. Also, the TCI used during the
qualification is slightly different. The commands and events necessary for
qualification are detailed in the test specifications and only those commands
indicated in the test cases to be executed need be implemented.

For other protocols in the Bluetooth stack the TCI is not used. An
implementation specific user interface is used to interact with the IUT’s upper
interface.

2.2.2.1 Required interfaces

For BB, LM and HCI qualification both the air interface of the IUT and the TCI
are required. For other protocols both the air interface and the user interface
are used as described in the test specification.




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2.2.3 Bluetooth Profile Requirements

For each Bluetooth profile for which conformance is claimed, profile
qualification testing is performed to verify the Bluetooth profile requirements.
With higher layer protocols the TCI is not used during testing. A user interface
specific to the implementation is used to interact with the IUT’s upper interface.

2.2.3.1 Required interfaces

For this type of qualification both the air interface and the user interface of the
IUT are used as described in the test specification.


                               Test Operator:
                               Executes commands on         Test system
                               the IUT and feeds results
                               to the test system             Test Operator
                                                                Interface
                                                                with MMI            Application
                                  IUT
                                                 Air
                 MMI
                                              Interface
                                                                Bluetooth
                                                                 Profile
             Application
                                                                Emulator

                                                                Bluetooth
             Bluetooth
                                                                Protocol
           Protocol Stack
                                                                  Stack


Figure 2.2: General test set-up for profile qualification




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2.3 TCI CONFIGURATION AND USAGE
This interface is semantically and syntactically identical to the HCI interface
described in Section Part E:. The complete HCI interface is not required in the
TCI, but the subset of HCI commands and events necessary for verifying the
functionality of the IUT. The exact set of commands and events is specified in
the test specifications for the layers subject to testing.

It is worth emphasizing again the TCI is an adapter, logically attached to the
upper interface of the IUT. As such the TCI adapts the standardized signaling
described here to the implementation specific interface of the IUT.

2.3.1 Transport Layers

The method used to convey commands and events between the tester and the
IUT’s upper interface can be either physical bearer or “software bearer”.

2.3.1.1 Physical bearer

It is recommended to use one of the transport layers specified for the HCI in
Volume 4, Host Controller Interface [Transport Layer]. However, other physical
bearers are not excluded and may be provided on test equipment. The use of a
physical bearer is required for test cases active in category A. Please see the
PRD for the definitions of test case categories. Please see the current active
Test Case Reference List for the categorization of specific test cases.

2.3.1.2 Software bearer

There is no physical connection between the tester and the IUT’s upper
interface. In this case, the manufacturer of the IUT shall supply test software
and hardware that can be operated by a test operator. The operator will receive
instructions from the tester and will execute them on the IUT. The “software
bearer” shall support the same functionality as if using the TCI with a physical
bearer. Use of the “software bearer” shall be agreed upon between the
manufacturer of the IUT and the test facility that performs the qualification
tests. The test facilities can themselves specify requirements placed on such a
“software bearer”. Furthermore, the use of a “software bearer” is restricted to
test cases active in one of the three lower categories B, C and D.




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2.3.2 Baseband and Link Manager Qualification

For the qualification of the link control part of the Baseband layer and for the
Link Manager layer, the TCI is used as the interface between the test system
and the upper interface of the IUT. The test system accesses the upper
interface of the IUT by sending HCI commands and receiving HCI events from
the IUT as described in the HCI specification. The required functionality on the
TCI depends on the IUT’s implemented functionality of the BB and LM layers,
and therefore which test cases are executed.

A schematic example in Figure 2.3 shows the test configuration for BB and LM
qualification of Bluetooth products which do not support HCI, and use a
physical bearer for the TCI. In this example the Test Control (TC) Software
represents what the manufacturer has to supply with the IUT when using an
external test facility for qualification. The function of the TC Software is to adapt
the implementation dependent interface to the TCI.


                                                  TCI

    TC Software                                                Test system

                               HCI Firmware      TCI-HCI          HCI Driver

         Adapter               Physical Bus                      Physical Bus



                                                                   Test Suite
                                                                   Executor
                                        IUT       Air
     Implementation                            Interface
     dependent interface

                      LM                          LMP                  LM

                      BB                           LCP                 BB

                      RF                                               RF



Figure 2.3: BB and LM qualification with TCI physical bearer


Figure 2.4 shows a schematic example of the test configuration for the same
Bluetooth product using a “software bearer” for the TCI. Here the function of
the Test Control Software is to represent the application that can be controlled
by the test operator.




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                                                  TCI

    TC Software                                                Test system

                                             Execute Command
                                                                      Test
                                 Test                              Operator
                               Application                         Interface
         Adapter                               Report Event        with MMI


                                                                   Test Suite
                                                                   Executor
                                       IUT        Air
     Implementation                            Interface
     dependent interface

                      LM                           LMP                 LM

                      BB                           LCP                 BB

                      RF                                               RF



Figure 2.4: BB and LM qualification with “software bearer”




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2.3.3 HCI Qualification

The TCI may also be used for HCI signaling verification and qualification. The
HCI signaling is only verified if support of the HCI functionality is claimed by the
manufacturer.

A schematic example in Figure 2.5 shows the test configuration for HCI
qualification of Bluetooth products. As can be seen in the figure the
implemented HCI is used as the interface to the tester.


                                                    TCI
                                    IUT                     Test system

               Physical Bus                                     Physical Bus
           USB,RS232 or UART

                                                    HCI          HCI Driver


              HCI Firmware                         Air           Test Suite
                                                Interface        Executor

                               LM                   LMP               LM

                      BB                            LCP               BB

                      RF                                              RF



Figure 2.5: General test set-up for HCI qualification




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                   Core System Package [Host volume]
                                              Part E




                 PART E: AMP MANAGER
               PROTOCOL SPECIFICATION




                          This document specifies the changes
                          to the Core specification required to
                          incorporate the AMP Manager Protocol
                          (A2MP) for the Alternate MAC/PHY
                          feature.




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AMP Manager Protocol Specification


1 INTRODUCTION

1.1 GENERAL DESCRIPTION
The AMP Manager Protocol (A2MP) provides a means for one device to solicit
information regarding AMP capabilities from another device. Each device
contains an abstract entity called an AMP Manager which uses the AMP
Manager Protocol to communicate with a peer AMP Manager on another
device.




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2 GENERAL OPERATION

2.1 BASIC CAPABILITIES
The AMP Manager entity has the following responsibilities and capabilities:
1. Ability to discover remote AMP Managers
2. Ability to discover available Controllers
3. Ability to query remote AMP Controller information
4. Ability to manage AMP physical links
5. Responsible for the creation of dedicated AMP keys

The AMP Manager communicates with the local AMP PAL and communicates
with remote AMP Managers using the AMP Manager Protocol over a fixed
L2CAP channel. The AMP Manager entity exists within the Bluetooth stack as
depicted in Figure 2.1.


                                         AMP Manager


                            L2CAP



                              1                     2




                      BR/EDR HCI                AMP HCI
                                                      AMP HCI
                                                           AMP HCI
                                               AMP PAL 1
                                                     AMP PAL 2 PAL 3
                         Primary                          AMP
                        BR/EDR                   AMP AMP
                        Controller             MAC/PHY  1    AMP
                                                    MAC/PHY   2
                                                          MAC/PHY  3


Figure 2.1: Overview of the Lower Software Layers


Figure 2.1 shows the two basic communication paths for the AMP Manager.
The AMP Manager uses path 1 via L2CAP and the Primary BR/EDR Controller
to first discover remote AMP Managers. The AMP Manager can query for the
possibility of available remote AMPs and their capabilities as well as other
information. The AMP Managers communicate over the AMP Manager
Protocol Channel (A2MP Channel). See Section 2.2 for more information on
the A2MP Channel.




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After discovering the AMPs supported by the remote device, the AMP Manager
uses communication path 2 to manage the physical links between its local
AMP(s) and AMPs on remote devices. Note that there can be more than one
local AMP and there also may be more than one AMP located on the remote
device.



                    AMP Manager           Request        AMP Manager
                         1                Response            2


Figure 2.2: AMP Manager Peers


The AMP Manager Protocol is a request / response protocol between two AMP
Managers. Requests and responses go in both directions. Either peer can
request the same category of information from its corresponding peer.

2.2 AMP MANAGER CHANNEL OVER L2CAP
Peer AMP Managers communicate over the A2MP Channel which is an
L2CAP fixed channel. The configuration parameters for the AMP Manager
channel shall be as shown below. The MTU value shall be any valid value
greater than or equal to 670 bytes.

 Parameter            Value

 MTU                  ≥ 670

 Flush Timeout        0xFFFF (Infinite)
 QoS                  Best Effort
 Mode                 Enhanced Retransmission Mode

 FCS Option           16-bit FCS
Table 2.1: AMP Manager Channel configuration parameters

The parameters for the Enhanced Retransmission Mode used on the fixed
channel shall be as shown below. The Retransmission Time-out, Monitor Time-
out and MPS shall be any valid value that is greater than or equal to the values
stated in the following tables.

 Parameter                                Value

 TxWindow size                            1

 Max Transmit                             0xff
 Retransmission time-out                  ≥ 2 seconds
 Monitor time-out                         ≥ 12 seconds

Table 2.2: AMP Manager Channel Enhanced Retransmission Mode parameters

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 Parameter                            Value

 Maximum PDU size (MPS)               ≥ 670
 16-bit FCS                           Enabled
Table 2.2: AMP Manager Channel Enhanced Retransmission Mode parameters

The minimum value for both MTU and MPS is 670 bytes. A larger MTU and
MPS size can be communicated using the AMP Discover request (see section
3.3) and AMP Discover response (see Section 3.4) packets. The MTU
parameter and the Enhanced Retransmission mode MPS parameter are
numerically equal to allow an AMP manager to send any A2MP packet using a
single L2CAP PDU. A device may segment any A2MP packet into multiple
L2CAP PDUs.

2.3 USING THE AMP MANAGER PROTOCOL
The following text describes how the AMP Manager Protocol is used to
establish an AMP physical link between two devices.

2.3.1 Discovering a Remote AMP Manager

Once an ACL connection is established over the Primary BR/EDR Controller,
the local AMP Manager shall examine the L2CAP extended features bits of the
remote device to determine if L2CAP fixed channels are supported (see [Vol 3]
Part A, Section 4.12). If so, a query for the existence of its peer (AMP
Manager) may be made by issuing an Information Request for all available
fixed channels.

2.3.2 Discovering Available Controllers on a Remote Device

The next step is to discover the existence and capabilities of the AMP
Controllers of the peer. An AMP Discover Request packet can be issued over
the AMP Manager Protocol channel for this purpose.

In an AMP Discover Response packet, the peer AMP Manager will return
information about its local AMP capabilities in the form of a Controller List. A
Controller List is a sequence of Controller ID/Controller Type/Controller Status
triples identifying the Controllers that are available for communication.

The Controller List contains a basic top level description of the available peer
Controllers and their status. The AMP Manager parses this list for physical
radio compatibility. If more information is required about a remote AMP
Controller, the local AMP Manager can subsequently issue an AMP Get Info
Request packet using the Controller ID retrieved via the AMP Discover
exchange. An AMP Get Info Response packet is returned from the peer with
AMP Controller Info for the specified AMP Controller. The AMP Controller Info
contains information about the AMP Controller that can be used by the Host to
determine whether or not to create a physical link to the AMP Controller.

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2.3.3 Creation of AMP Physical Links

Once it has been determined that a Bluetooth connection over an AMP is
desired, the AMP Manager retrieves the remote AMP Controller's AMP_Assoc
structure by issuing an AMP Get AMP Assoc Request packet. It then passes
the AMP_Assoc structure received from the remote device to its local AMP
PAL and signals it to begin the physical discovery and connection process. In
devices that support HCI this is done via the HCI_Create_Physical_Link
command followed by the HCI_Write_Remote_AMP_ASSOC command.

Note that the AMP Manager only holds the contents of the AMP_Assoc
structure for use in AMP Manager operations. The AMP Manager does not
directly attempt to interpret the contents of the AMP_Assoc structure.

The AMP manager is responsible for generating the Physical Link Handle used
in the HCI_Create_Physical_Link and HCI_Accept_Physical_Link commands.
See section [Vol 2] Part E, Section 5.3.2 for details. When the AMP PAL is
ready it will generate an HCI_Channel_Selected event which is a signal to read
the local AMP_Assoc structure using the HCI_Read_Local_AMP_ASSOC
command.

The AMP Manager shall not create or accept a physical link over an AMP if
mutual authentication was not performed or encryption was not enabled over
BR/EDR.

When the AMP Manager does not have a dedicated AMP key for the selected
Controller type between the two devices and the BR/EDR link key type is not
"Debug", the AMP Manager shall call the Secure Simple Pairing h2 function
(see [Vol 2] Part H, Section 7.7.5.2) to generate a dedicated AMP key. This
dedicated AMP key shall be used during subsequent connections.

If the Bluetooth device supports more than one AMP type, the AMP Manager
shall call the h2 function a second time to regenerate Key_GAMP as defined in
[Vol 2] Part H, Section 7.7.5.3 before generating a Dedicated AMP link key for
a different AMP type.

When the BR/EDR link key type is set to "Debug", the AMP Manager shall use
Key_GAMP directly as the key for the AMP regardless of the AMP Type. The
key length, key type and the link key itself are passed to the AMP Controller in
the HCI_Create_Physical_Link command.

After receiving the HCI_Channel_Selected event and reading the local
AMP_Assoc structure the AMP Manager then issues an AMP Create Physical
Link Request packet to send the local AMP_Assoc structure to the peer device
in order to engage the peer device in the AMP physical link creation.

If the peer accepts the request it issues an HCI_Accept_Physical_Link
command to its local AMP and passes the AMP_Assoc structure received in
the AMP Create Physical Link Request packet to its local AMP Controller. The


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peer responds with an AMP Create Physical Link Response packet to either
accept or reject the request to create a physical link.

Both Hosts will receive an HCI_Physical_Link_Complete event indicating the
completion of the physical link creation.

On success, the procedure for creation of a logical connection can then
commence.

2.4 CONTROLLER IDS
Each Controller in a device is assigned a one-octet unique identifier by the
local AMP Manager. From the perspective of a remote device, Controller IDs
are only valid during the life time of the AMP Manager Protocol channel. The
Controller IDs on a remote device become invalid when the A2MP Channel is
disconnected. If a local Controller becomes unavailable during the life time of
the A2MP channel, the Controller ID may be reclaimed after receiving the AMP
Change Response to the AMP Change Notify packets sent to all affected
remote AMP Managers. It can then be assigned to any new AMP that is added.
The value 0 is reserved for the Primary BR/EDR Controller. Other Controllers in
the device shall be assigned values from 1 to 255.

If an AMP Controller becomes unavailable and later becomes available again
during the life time of the A2MP Channel, remote AMP Managers shall not
assume that the AMP Controller will be assigned the Controller ID that it was
previously assigned.

2.5 CONTROLLER TYPES
Each type of Controller is assigned a unique one-octet value. These values are
defined in Assigned Numbers. A device may have multiple AMPs of the same
type.




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AMP Manager Protocol Specification


3 PROTOCOL DESCRIPTION

The AMP Manager Protocol defines the procedures and format of the packets
used to exchange information between two peer AMP Managers.

3.1 PACKET FORMATS
This section describes the packets used in the AMP Manager Protocol. Unless
otherwise stated an implementation shall include all specified fields in a packet.

Figure 3.1 displays the general format of all AMP Manager Protocol packets.


              LSB      octet 0        octet 1            octet 2       octet 3       MSB

                       Code           Identifer                    Length


                                                  Data


Figure 3.1: AMP Manager Protocol Packet Format


The fields shown are:
• Code (1 octet)
  The code identifies the type of packet. When an AMP manager receives a
  packet with an unknown Code field it shall send a Command Reject packet
  in response. Table 3.1 lists the codes defined by this document. All codes
  are specified with the most significant bit in the left most position.

     Code               Description

     0x00               Reserved for future use
     0x01               AMP Command Reject
     0x02               AMP Discover request

     0x03               AMP Discover response
     0x04               AMP Change notify
     0x05               AMP Change response

     0x06               AMP Get Info request
     0x07               AMP Get Info response
     0x08               AMP Get AMP Assoc request

     0x09               AMP Get AMP Assoc response
   Table 3.1: Codes



Protocol Description                                                                   06 December 2016
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     Code              Description

     0x0A              AMP Create Physical Link request
     0x0B              AMP Create Physical Link response
     0x0C              AMP Disconnect Physical Link request

     0x0D              AMP Disconnect Physical Link response
     0x0E - 0xFF       Reserved for future use
   Table 3.1: Codes

• Identifier (1 octet)
  The Identifier field matches responses with requests. The requesting device
  sets this field and the responding devices uses the same value in the
  response. For each A2MP channel an AMP manger shall use different
  identifiers for each request sent (this includes the AMP Change Notify
  command). Following the original transmission of an identifier in a request,
  the identifier may be recycled if all other identifiers have subsequently been
  used.
   A response packet with an invalid identifier is discarded. Identifier 0x00 is an
   illegal identifier and shall never be used in any packet. Table 3.2 shows the
   valid values for the Identifier field,

     Value             Description

     0x00              Invalid
     0x01 - 0xFF       Valid

   Table 3.2: Identifier

• Length (2 octets)
  The Length field indicates the size in octets of the data field of the packet
  only, i.e. it does not cover the Code, Identifier and Length fields.
• Data (0 or more octets)
  The Data field is variable in length. The Code field determines the format of
  the Data field. The Length field determines the length of the Data field.




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3.2 AMP COMMAND REJECT (CODE 0x01)
An AMP Manager shall send an AMP Command Reject packet in response to
a request packet with an unknown code or when sending the corresponding
response is inappropriate. The identifier shall match the identifier of the request
packet being rejected. AMP Command Reject packets shall not be sent in
response to an unknown response packet.


              LSB        octet 0         octet 1         octet 2       octet 3       MSB

                       Code = 0x01       Identifer                 Length


                                   Reason                    Data (optional)


Figure 3.2: AMP Command Reject Packet


The data fields are
• Reason (2 octets)
  The Reason field describes why the request packet was rejected, and is set
  to one of the following Reason codes.

     Reason value                  Description

     0x0000                        Command not recognized

     Other                         Reserved for future use
   Table 3.3: AMP Command Reject reasons

• Data (0 or more octets)
  The length and content of the Data field depends on the Reason code. If the
  reason code is 0x0000 "Command not recognized" no Data field is used.




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3.3 AMP DISCOVER REQUEST (CODE 0x02)
An AMP Manager sends an AMP Discover Request packet to a peer AMP
Manager to obtain the list of the available Controllers supported by the peer
device.


              LSB        octet 0     octet 1              octet 2       octet 3       MSB

                       Code = 0x02   Identifer                      Length


                            MTU/MPS Size                 Extended Feature Mask


Figure 3.3: AMP Discover Request Packet


The data fields are
• MTU/MPS size (2 octets)
  The MTU/MPS Size field in the AMP Discover Request packet indicates the
  MTU/MPS that the sender of the request can receive on the AMP Manager
  Protocol Channel. The minimum value is 670 (see Section 2.2). An AMP
  manager shall send the same value for the AMP Manager Protocol Channel
  MTU/MPS in both AMP Discover Request and AMP Discover Response
  packets.
• Extended Feature Mask (2 octets)
  The extended features supported by the AMP Manager are represented by
  a bit mask. Each feature is represented by a single bit which shall be set to 1
  if the feature is supported and set to 0 otherwise.
   The feature mask is defined in Table 3.4.

     Supported Feature                           Octet          Bit

     Reserved for future use                     0              0-7

     Reserved for future use                     1              0-6
     Extension Bit                               1              7
   Table 3.4: A2MP Extended Feature Mask

   Bit 7 of Octet 1 of this field is used to extend the A2MP Extended Feature
   Mask. If the Extension Bit is set then the Extended Feature Mask field is
   extended by two octets. Each two octet extension includes an Extension Bit
   that allows a further two octets to be added to the field. Figure 3.4 shows
   how the Extension Bit (E) can be used to extend the A2MP Extended
   Feature Mask.




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              LSB                octet 0                            octet 1                MSB

                       Extended Feature Mask         Extended Feature Mask
                                                                                     E=1
                             (Octet 0)                     (Octet 1)

                       Extended Feature Mask         Extended Feature Mask
                                                                                     E=1
                             (Octet 2)                     (Octet 3)

                       Extended Feature Mask         Extended Feature Mask
                                                                                     E=0
                             (Octet 4)                     (Octet 5)


Figure 3.4: Example A2MP Extended Feature Mask


3.4 AMP DISCOVER RESPONSE (CODE 0x03)
When an AMP Manager receives an AMP Discover Request packet it shall
reply with an AMP Discover Response packet indicating the IDs, types and
status of the Controllers that are currently available on the local device. If there
is a change in the number or status of supported Controllers after sending an
AMP Discover Response packet and before the A2MP Channel is
disconnected, the AMP Manager shall send an AMP Change Notify packet to
the peer AMP Manager.

        LSB            octet 0      octet 1            octet 2       octet 3         MSB

                  Code = 0x03       Identifer                    Length


                          MTU/MPS Size               Extended Feature Mask


                                           Controller List


Figure 3.5: AMP Discover Response Packet


The data fields are
• MTU/MPS size (2 octets)
  The MTU/MPS Size field in the AMP Discover Response packet indicates
  the MTU/MPS that the sender of the response can receive on the AMP
  Manager Protocol Channel. The minimum value is 670 (see Section 2.2). An
  AMP Manager shall send the same value for the AMP Manager Protocol
  Channel MTU/MPS supported in both AMP Discover Request and AMP
  Discover Response packets.
• Extended Feature Mask (2 octets)
  The extended features supported by the AMP Manager are represented by
  a bit mask. Each feature is represented by a single bit which shall be set to 1

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   if the feature is supported and set to 0 otherwise. All unknown or unassigned
   feature bits are reserved for future use.
   The feature mask is defined in Table 3.4 and Figure 3.4.
• Controller List (3 or more octets)
  Controller List is variable in length. It consists of 1 or more entries. Each
  entry is comprised of a Controller ID, a Controller Type and a Controller
  status.
   An entry for Controller ID 0x00 (Primary BR/EDR Controller) shall always be
   sent and shall be the first entry in the Controller List. The Controller Type for
   this entry shall be set to 0x00 (Primary BR/EDR Controller). The Controller
   status for this entry shall be set to 0x01 (The AMP Controller can only be
   used by Bluetooth technology). If the Primary BR/EDR Controller’s Link
   Manager does not support Secure Simple Pairing, it shall be the only
   Controller in the Controller List.
   Figure 3.6 displays the format of the Controller list.

              LSB          octet 0           octet 1             octet 2          octet 3     MSB
                         Controller        Controller           Controller     Controller list
                         ID = 0x00        Type = 0x00            Status          entry 2
                                         (Primary BR/EDR)

                            Controller list entry 2
                                                                  Controller list entry 3
                                (continued)

                       Controller list
                                                        Controller list entry 4


                                                       ...
                       entry 3 (cont.)




                                      Controller list entry N



Figure 3.6: Controller list format


• Controller ID (1 octet)
  The Controller ID uniquely identifies a Controller (see Section 2.4 for more
  information about Controller IDs).
• Controller Type (1 octet)
  The Controller Type specifies the type of the Controller. The Controller type
  values are defined in Assigned Numbers.
• Controller Status (1 octet)
  The Controller Status field indicates the current status of the AMP. The
  status information can be used by the receiving device to help decide if it
  should use the AMP. If multiple AMPs are available the status can also be
  used by an implementation to determine which would be the optimal AMP to

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   use. None of the AMP status values indicate that a Physical Link shall not be
   created to the AMP. If an implementation wishes to ensure it does not
   receive Create Physical Link Requests for a given AMP then it should
   remove the associated entry from the Controller list it sends.

Table 3.5 contains the different values of the Controller Status field.

 Value            Parameter Description

 0x00             The Controller radio is available but is currently physically powered down.
                  This value should be used if the AMP Controller is present and can be pow-
                  ered up by the AMP Manager. A Controller List entry shall not exist for an AMP
                  that is not present or cannot be powered up by the AMP manager.
                  This value indicates that there may be a cost of time and power to use this
                  AMP Controller (i.e., the time taken and power required to power up the AMP
                  Controller). These costs are AMP type and AMP implementation dependent.

 0x01             This value indicates that the AMP Controller is only used by the Bluetooth
                  technology and will not be shared with other non-Bluetooth technologies.
                  This value shall only be used if the AMP Controller is powered up.
                  This value does not indicate how much bandwidth is currently free on the AMP
                  Controller.

 0x02             The AMP Controller has no capacity available for Bluetooth operation.
                  This value indicates that all of the AMP Controller's bandwidth is currently allo-
                  cated to servicing a non Bluetooth technology.
                  A device may create a Physical Link to an AMP Controller that has this status.
                  This value shall only be used if the AMP Controller is powered up.

 0x03             The AMP Controller has low capacity available for Bluetooth operation.
                  This value indicates that the majority of the AMP Controller's bandwidth is cur-
                  rently allocated to servicing a non Bluetooth technology.
                  An AMP Controller with capacity in the approximate range of 0 < capacity <
                  30% should indicate this value.
                  This value does not indicate how much of the capacity available for Bluetooth
                  operation is currently being used.
                  This value shall only be used if the AMP Controller is powered up.

 0x04             The AMP Controller has medium capacity available for Bluetooth operation.
                  An AMP Controller with capacity in the approximate range of 30% < capacity <
                  70% should indicate this value.
                  This value does not indicate how much of the capacity available for Bluetooth
                  operation is currently being used.
                  This value shall only be used if the AMP Controller is powered up.

Table 3.5: Controller Status




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 Value            Parameter Description

 0x05             The AMP Controller has high capacity available for Bluetooth operation.
                  This value indicates that the majority of the AMP Controller's bandwidth is cur-
                  rently allocated to servicing the Bluetooth technology.
                  An AMP Controller with capacity in the approximate range of 70% < capacity <
                  100% should indicate this value.
                  This value does not indicate how much of the capacity available for Bluetooth
                  operation is currently being used.
                  This value shall only be used if the AMP Controller is powered up.

 0x06             The AMP Controller has full capacity available for Bluetooth operation.
                  This value indicates that while currently the AMP is only being used by Blue-
                  tooth the device allows a different technology to share the radio.
                  This value shall be used as the default Controller Status value for devices that
                  are not capable of determining the available capacity for Bluetooth operation
                  for an AMP Controller.
                  This value does not indicate how much of the capacity available for Bluetooth
                  operation is currently being used.
                  This value shall only be used if the AMP Controller is powered up.

 Other            Reserved for future use
Table 3.5: Controller Status

The available capacity ranges given for values 0x03, 0x04, and 0x05 are only
approximate and permit an implementation to not send an AMP Change Notify
packet if the current availability is moving frequently from one range to another
(e.g., if the current availability is moving between 68% (corresponding to
Controller status 0x04) and 72% (corresponding to Controller status 0x05)
frequently an implementation is not mandated to send an AMP Change Notify
packet every time the value crosses the approximate 70% threshold between
the two Controller Status values).

3.5 AMP CHANGE NOTIFY (CODE 0x04)
The AMP Change Notify packet indicates to the peer device that something
has changed in the list of supported Controllers. An AMP Change Notify packet
shall only be sent to a remote AMP Manager if it has previously requested a
Controller List via an AMP Discover Request. Examples of when an AMP
Change Notify packet is sent is when a new Controller becomes available or
one or several Controllers advertised in the previous AMP Discover Response
or AMP Change Notify packet become unavailable or if the status of a
previously advertised Controller changes. The AMP Change Notify carries the
new list of the available Controllers. Based on the changes from the previous
Change Notify or Discovery Response, the AMP Manager can identify added
or deleted Controllers or Controllers that have changed status.




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           LSB           octet 0     octet 1          octet 2       octet 3       MSB

                       Code = 0x04   Identifer                  Length


                                          Controller List



Figure 3.7: AMP Change Notify Packet


• Controller List (3 or more octets)
  Controller List is variable in length. It consists of 1 or more entries. Each
  entry is comprised of a Controller ID, a Controller Type and a Controller
  status (see Section 3.4 for a description of Controller List).

3.6 AMP CHANGE RESPONSE (CODE 0x05)
The AMP Change Response packet shall be sent to acknowledge receipt of
the AMP Change Notify packet.

           LSB           octet 0     octet 1          octet 2       octet 3       MSB

                       Code = 0x05   Identifer                  Length



Figure 3.8: AMP Change Response Packet


3.7 AMP GET INFO REQUEST (CODE 0x06)
To determine if a physical link should be established to a particular AMP
Controller, an AMP Manager may need to obtain further information for a
remote AMP Controller. For each Controller ID reported in the AMP Discover
Response or AMP Change Notify packet the AMP Manager can query this
information by issuing an AMP Get Info Request packet. The exception is
Controller ID 0. Information for the Primary BR/EDR radio shall not be obtained
with an AMP Get Info Request packet.




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           LSB           octet 0         octet 1        octet 2       octet 3       MSB

                       Code = 0x06       Identifer                Length


                       Controller ID



Figure 3.9: AMP Get Info Request Packet


The data fields are
• Controller ID (1 octet)
  Controller ID is one of the IDs reported in the latest AMP Discover Response,
  or AMP Change Notify packet received from the peer AMP Manager.

3.8 AMP GET INFO RESPONSE (CODE 0x07)
When an AMP Manager receives an AMP Get Info Request packet it shall
reply with the AMP Get Info Response packet. This packet carries Controller
Information including bandwidth and latency capabilities. The receiver of the
AMP Get Info Response packet can assume that the value of all fields shall
remain constant while the remote AMP remains active.

           LSB           octet 0         octet 1        octet 2       octet 3       MSB


                       Code = 0x07       Identifer                Length

                                                          Total Bandwidth
                       Controller ID      Status
                                                      (Least significant octets)

                          Total Bandwidth Cont.      Max Guaranteed Bandwidth
                         (Most significant octets)    (Least significant octets)
                       Max Guaranteed Bandwidth
                                                            Min Latency
                         Cont. (Most significant
                                                      (Least significant octets)
                                 octets)
                           Min Latency Cont.                   PAL_
                         (Most significant octets)           Capabilities

                            AMP_Assoc Size


Figure 3.10: AMP Get Info Response Packet


• Controller ID (1 octet)
  Controller ID is the identifier requested in the AMP Get Info Request.

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• Status (1 octet)
  The Status field indicates the status of the request

 Status Code           Description

 0x00                  Success
 0x01                  Invalid Controller ID
 Other                 Reserved for future use

Table 3.6: AMP Get Info Response Status values

   An AMP Get Info Response with status of Invalid Controller ID shall be sent
   by an AMP manager that has received an AMP Get Info Request containing
   either:
               a) A Controller ID that has not been allocated by the AMP manager
               b) A Controller ID of 0
   If the Status field is set to Invalid Controller ID all subsequent fields in the
   AMP Get Info Response shall be ignored by the receiver.
• Total Bandwidth (4 octets)
  The Total Bandwidth field indicates the total data rate in kilobits per second
  (1000 b/s) that can be achieved by the Controller for applications. This value
  shall account for any bandwidth limitations of the Host and the HCI transport
  if present. The Host is responsible for determining these bandwidth
  limitations.
• Max Guaranteed Bandwidth (4 octets)
  The Maximum Guaranteed Bandwidth field indicates the maximum data rate
  in kilobits per second that the AMP can guarantee for a logical channel. Any
  request made by an application above this level will be rejected. This value
  shall account for any bandwidth limitations of the Host and the HCI transport if
  present. The Host is responsible for determining these bandwidth limitations.
• Min Latency (4 octets)
  The Min Latency field indicates the minimum latency in microseconds that
  the AMP can guarantee for a logical channel. This value shall account for
  any latency limitations of the Host and the HCI transport if present. The Host
  is responsible for determining these latency limitations.
• PAL_Capabilities (2 octets)
  The PAL_Capabilities field contains the PAL capabilities returned via HCI
  Read Local AMP Info Command (see [Vol 2] Part E, Section 7.5.8 for more
  information).
• AMP_Assoc Structure Size (2 octets)
  The maximum size in octets of the requested AMP's AMP_Assoc structure.
  The value of the AMP_Assoc Structure Size for a given AMP is determined
  by the Controller. If an HCI is being used this value can be retrieved by the
  Host sending the HCI_Read_Local_AMP_Info command to the Controller.

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3.9 AMP GET AMP ASSOC REQUEST (CODE 0x08)
To establish a physical link to a particular Controller, an AMP Manager needs to
obtain the AMP_Assoc structure for the remote Controller. The remote AMP is
identified by its Controller ID as reported in the AMP Discover Response or
AMP Change Notify packet. AMP Get AMP Assoc Request packet shall not be
used to obtain an AMP_Assoc structure for the Primary BR/EDR Controller.


           LSB           octet 0       octet 1     octet 2       octet 3           MSB

                       Code = 0x08     Identifer             Length


                       Controller ID


Figure 3.11: AMP Get AMP Assoc Request Packet


The data fields are:
• Controller ID (1 octet)
  Controller ID is one of the IDs reported in the latest AMP Discover Response
  or AMP Change Notify packet received from the peer AMP Manager.

3.10 AMP GET AMP ASSOC RESPONSE (CODE 0x09)
When an AMP Manager receives an AMP Get AMP Assoc Request packet it
shall reply with the AMP Get AMP Assoc Response packet. This packet carries
the AMP_Assoc structure. The AMP_Assoc structure is used in creating the
physical AMP link. The exact length and format of the AMP_Assoc structure
shall be defined in each AMP PAL specification.


           LSB           octet 0       octet 1     octet 2       octet 3           MSB

                       Code = 0x09     Identifer             Length


                       Controller ID    Status         AMP_Assoc



Figure 3.12: AMP Get AMP Assoc Response Packet




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The data fields are
• Controller ID (1 octet)
  Controller ID is the identifier requested in the AMP Get AMP Assoc Request
  packet.
• Status (1 octet)
  The Status field indicates the status of the request.

 Status Code           Description

 0x00                  Success
 0x01                  Invalid Controller ID
 Other                 Reserved for future use

Table 3.7: AMP Get AMP Assoc Response Status values

   An AMP Get AMP Assoc Response packet with status of Invalid Controller
   ID shall be sent by an AMP manager that has received an AMP Get AMP
   Assoc Request packet containing either
               a) A Controller ID that has not been allocated by the AMP manager
               b) A Controller ID of 0
   If the Status field is set to Invalid Controller ID (0x01) then the AMP_Assoc
   structure shall not be included in the Get AMPAssoc Response packet.
• AMP_Assoc structure (from 0 to (A2MP MTU - 6) octets)
  AMP_Assoc structure is variable in length. The Controller Type of the
  Controller ID referenced in the AMP Get AMP Assoc Request packet
  determines the format and the length of the AMP_Assoc structure. The
  length of the AMP_Assoc structure can be determined by subtracting two
  from the Length field.
   The length of the AMP_Assoc structure shall not exceed any previously
   communicated AMP_Assoc length (the AMP_Assoc length is included in the
   AMP Get Info Response packet. See Section 3.8).

3.11 AMP CREATE PHYSICAL LINK REQUEST (CODE 0x0A)
Establishing an AMP physical link requires signaling between the AMP
Managers in order to turn the AMP Controller on, if it is not already turned on,
and to provide information to set the required state of the AMP Controller,
setup addressing, security, etc. When an AMP Manager receives an AMP
Create Physical Link request packet it shall initiate its part of the AMP physical
link creation and send the AMP Create Physical Link Response packet. AMP
Create Physical Link request shall not be used to establish a physical link to
the Primary BR/EDR Controller.

For some AMP Controllers it may be required to send additional information to
the peer AMP Manager. This information is packaged in a variable size

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AMP_Assoc structure. The exact length and format of the AMP_Assoc
structure shall be defined in each AMP PAL specification.


           LSB         octet 0      octet 1        octet 2    octet 3       MSB

                   Code = 0x0A       Identifer           Length

                      Local          Remote
                                                       AMP_Assoc
                   Controller ID   Controller ID




Figure 3.13: AMP Create Physical Link Request Packet


• Local Controller ID (1 octet)
   Local Controller ID is the ID of the Controller to be used on the device
   sending the AMP Create Physical Request packet.
• Remote Controller ID (1 octet)
  The ID of the AMP Controller to use on the device that receives the AMP
  Create Physical Link Request packet. The sender of the AMP Create
  Physical Link Request packet obtains the Remote Controller ID from the
  latest Discover Response, or the Change Notify packet received from the
  peer AMP Manager.
• AMP_Assoc structure (from 0 to (A2MP MTU - 6) octets)
  AMP_Assoc structure is variable in length. See section 3.10 for a description
  of AMP_Assoc structure.

3.12 AMP CREATE PHYSICAL LINK RESPONSE (CODE 0x0B)
For each AMP Create Physical Link Request the AMP Manager shall reply with
an AMP Create Physical Link Response packet. If the device has sent its own
AMP Create Physical Link Request to create a physical link with the same
AMP Controller a collision has occurred and one of the requests shall be
rejected while the other request shall proceed. The algorithm described in
Section 3.15 shall be used to determine which request to reject.

When the AMP Manager receives an AMP Create Physical Link Request
packet it shall try to perform the requested actions and send a response
identifying the status of the operation.




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           LSB            octet 0         octet 1             octet 2    octet 3       MSB

                   Code = 0x0B             Identifer                Length

                          Local           Remote
                                                               Status
                       Controller ID    Controller ID



Figure 3.14: AMP Create Physical Link Response Packet


The data fields are
• Local Controller ID (1 octet)
  This field contains the Controller ID local to the sender of the AMP Create
  Physical Link Response packet. The ID value is the same as the Remote
  Controller ID that was in the associated AMP Create Physical Link Request
  packet.
• Responder Controller ID (1 octet)
  This field contains the Controller ID used by the receiver of the AMP Create
  Physical Link Response packet. The ID value is the same as the Local
  Controller ID that was in the associated AMP Create Physical Link Request
  packet.
• Status (1 octet)
  The Status field indicates the result of the request.

 Status Code             Description

 0x00                    Success - Link creation is started

 0x01                    Invalid Controller ID
 0x02                    Failed - Unable to start link creation
 0x03                    Failed - Collision Occurred

 0x04                    Failed - AMP Disconnected Physical Link Request packet received
 0x05                    Failed - Physical Link Already Exists
 0x06                    Failed - Security violation

 Other                   Reserved for future use
Table 3.8: AMP Create Physical Link Response Status values




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   An AMP Create Physical Link Response with status of Invalid Controller ID
   shall be sent by an AMP manager that has received an AMP Create
   Physical Link Request containing either
               a) A Controller ID that has not been allocated by the AMP manager
               b) A Controller ID of 0
   An AMP Create Physical Link Response with status of Failed - Security
   Violation shall be sent by an AMP manager that has received an AMP
   Create Physical Link Request without mutual authentication being
   performed over the BR/EDR Controller and without encryption being
   enabled on the BR/EDR Controller.




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3.13 AMP DISCONNECT PHYSICAL LINK REQUEST (CODE
     0x0C)
AMP Disconnect Physical Link request is an optional request that can be used
by either initiator or responder to either abort the creation of an AMP physical
link or disconnect an existing Physical Link.


           LSB            octet 0       octet 1        octet 2    octet 3       MSB

                   Code = 0x0C           Identifer           Length

                          Local          Remote
                       Controller ID   Controller ID


Figure 3.15: AMP Disconnect Physical Link Request Packet


The data fields are:
• Local Controller ID (1 octet)
  Local Controller ID is the ID of the Controller on the device sending the AMP
  Disconnect Physical Link Request packet.
• Remote Controller ID (1 octet)
  The ID of the AMP Controller on the device that receives the AMP
  Disconnect Physical Link Request packet.

3.14 AMP DISCONNECT PHYSICAL LINK RESPONSE (CODE
     0x0D)
If an AMP Manager receives an AMP Disconnect Physical Link request packet
while creation of a physical link is outstanding, it shall abort the operation. In
devices that support HCI the Host may send an
HCI_Disconnect_Physical_Link command to cause the Controller to abort the
creation of a Physical Link.

If an AMP Disconnect Physical Link request packet is received from a device
that has an AMP Create Physical Link request packet outstanding, the receiver
shall send both an AMP Create Physical Link Response packet with a status of
'Failed - AMP Disconnected Physical Link Request packet received' and an
AMP Disconnect Physical Link response packet with a status of 'Success'.

If an AMP manager receives an AMP Disconnect Physical Link request packet
when creation of a physical link is not outstanding and a Physical Link does not
exist for the given local and remote AMP IDs it shall send an AMP Disconnect
Physical Link Response with a status of 'Failed - No Physical Link exists and
no Physical Link creation is in progress'.

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The status of 'Invalid Controller ID' shall only be used if the receiver of the AMP
Disconnect Request packet does not have an AMP with an ID that matches the
Remote Controller ID in the received AMP Disconnect Request packet.


           LSB            octet 0         octet 1           octet 2      octet 3         MSB

                       Code = 0x0D          Identifer                 Length

                          Local            Remote
                                                               Status
                       Controller ID     Controller ID


Figure 3.16: AMP Disconnect Physical Link Response Packet


The data fields are:
• Local Controller ID (1 octet)
  This field contains the Controller ID local to the sender of the AMP
  Disconnect Physical Link Response packet. The ID value is the same as the
  Remote Controller ID that was in the associated AMP Disconnect Physical
  Link Request packet.
• Remote Controller ID (1 octet)
  This field contains the Controller ID used by the receiver of the AMP
  Disconnect Physical Link Response packet. The ID value is the same as the
  Local Controller ID that was in the associated AMP Disconnect Physical Link
  Request packet.
• Status (1 octet)
  The Status field indicates the result of the request.

 Status Code             Description

 0x00                    Success
 0x01                    Invalid Controller ID

 0x02                    Failed - No Physical Link exists and no Physical Link creation is in prog-
                         ress
 Other                   Reserved for future use

Table 3.9: AMP Disconnect Physical Link Response Status values




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AMP Manager Protocol Specification


3.15 CREATE PHYSICAL LINK COLLISION RESOLUTION
If two devices simultaneously attempt to create a physical link a collision will
occur. In this situation one of the requests shall be cancelled while the other
request shall proceed. Both devices must know which request will be rejected.
The following algorithm shall be used by both devices to determine which
request to reject.
1. Set i=0 (representing the least significant octet of the BD_ADDR).
2. Compare the least significant octet, octet[i] of the BD_ADDR, of both
   devices. If the octets are not equal go to step 4.
3. Increment i by 1. Go to step 2.
4. The device with the larger BD_ADDR octet shall send an AMP Create
   Physical Link Response with the Status field set to "Failed - Collision
   Occurred."

3.16 RESPONSE TIMEOUT
The Response Timeout is used to monitor the response to request packets.
The exact timeout value is implementation dependent and may be chosen
within the range of 15 - 60 seconds. The recommended value is 20 seconds. If
a response to a request packet is not received within the Response Timeout
then the ACL link shall be disconnected.

3.17 UNEXPECTED BR/EDR PHYSICAL LINK DISCONNECT
It is possible that the BR/EDR link between two devices might unexpectedly
disconnect (Link Supervision Timeout) while AMP links between the same two
devices remain active. This situation is problematic since the BR/EDR link is
used for L2CAP and AMP Manager signaling between the two devices.

When the BR/EDR link with a remote device unexpectedly disconnects due to
Link Supervision Timeout the AMP manager shall disconnect all AMP physical
links to the same remote device.




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                   Core System Package [Host volume]
                                              Part F




       PART F: ATTRIBUTE PROTOCOL
                             (ATT)




                          This specification defines the Attribute
                          Protocol; a protocol for discovering,
                          reading, and writing attributes on a
                          peer device




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Attribute Protocol (ATT)


1 INTRODUCTION

1.1 SCOPE
The attribute protocol allows a device referred to as the server to expose a set
of attributes and their associated values to a peer device referred to as the
client. These attributes exposed by the server can be discovered, read, and
written by a client, and can be indicated and notified by the server.

1.2 CONFORMANCE
If conformance to this protocol is claimed, all capabilities indicated as
mandatory for this protocol shall be supported in the specified manner
(process-mandatory). This also applies to all optional and conditional
capabilities for which support is indicated. All mandatory capabilities, and
optional and conditional capabilities for which support is indicated, are subject
to verification as part of the Bluetooth qualification program.

1.3 CONVENTIONS
In this specification PDU names appear in italics. Error codes defined in Table
3.3 (see Section 3.4.1.1) appear in « » (e.g. «Attribute Not Found»). Other
names such as parameters appear in Roman text.




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Attribute Protocol (ATT)


2 PROTOCOL OVERVIEW

The attribute protocol defines two roles; a server role and a client role. It allows
a server to expose a set of attributes to a client that are accessible using the
attribute protocol.

An attribute is a discrete value that has the following three properties
associated with it:
              a) attribute type, defined by a UUID
              b) attribute handle
              c) a set of permissions that are defined by each higher layer
                 specification that utilizes the attribute; these permissions cannot
                 be accessed using the Attribute Protocol.

The attribute type specifies what the attribute represents. Bluetooth SIG
defined attribute types are defined in the Bluetooth SIG Assigned Numbers
page, and used by an associated higher layer specification. Non-Bluetooth SIG
attribute types may also be defined.

The attribute handle uniquely identifies an attribute on a server, allowing a
client to reference the attribute in read or write requests; see Section 3.4.4,
Section 3.4.5, and Section 3.4.6. It allows a client to uniquely identify the
attribute being notified or indicated, see Section 3.4.7. Clients are able to
discover the handles of the server’s attributes; see Section 3.4.3. Permissions
may be applied to an attribute to prevent applications from obtaining or altering
an attribute’s value. An attribute may be defined by a higher layer specification
to be readable or writable or both, and may have additional security
requirements. For more information, see Section 3.2.5.

A client may send attribute protocol requests to a server, and the server shall
respond to all requests that it receives. A device can implement both client and
server roles, and both roles can function concurrently in the same device and
between the same devices. There shall be only one instance of a server on
each Bluetooth device; this implies that the attribute handles shall be identical
for all supported bearers. For a given client, the server shall have one set of
attributes. The server can support multiple clients. Note: Multiple services may
be exposed on a single server by allocating separate ranges of handles for
each service. The discovery of these handle ranges is defined by a higher layer
specification.

The attribute protocol has notification and indication capabilities that provide an
efficient way of sending attribute values to a client without the need for them to
be read; see Section 3.3.




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Attribute Protocol (ATT)


3 PROTOCOL REQUIREMENTS

3.1 INTRODUCTION
Each attribute has an attribute type that identifies, by means of a UUID
(Universally Unique IDentifier), what the attribute represents so that a client
can understand the attributes exposed by a server. Each attribute has an
attribute handle that is used for accessing the attribute on a server, as well as
an attribute value.

An attribute value is accessed using its attribute handle. The attribute handles
are discovered by a client using attribute protocol PDUs (Protocol Data Unit).
Attributes that have the same attribute type may exist more than once in a
server. Attributes also have a set of permissions that controls whether they can
be read or written, or whether the attribute value shall be sent over an encrypted
link. Security aspects of the attribute protocol are defined in Section 4.

3.2 BASIC CONCEPTS

3.2.1 Attribute Type

A universally unique identifier (UUID) is used to identify every attribute type. A
UUID is considered unique over all space and time. A UUID can be
independently created by anybody and distributed or published as required.
There is no central registry for UUIDs, as they are based off a unique identifier
that is not duplicated. The attribute protocol allows devices to identify attribute
types using UUIDs regardless of the local handle used to identify them in a
read or write request.

Universal unique identifiers are defined in SDP [Vol 3] Part B, Section 2.5.1.

All 32-bit Attribute UUIDs shall be converted to 128-bit UUIDs when the
Attribute UUID is contained in an ATT PDU.

3.2.2 Attribute Handle

An attribute handle is a 16-bit value that is assigned by each server to its own
attributes to allow a client to reference those attributes. An attribute handle
shall not be reused while an ATT Bearer exists between a client and its server.

Attribute handles on any given server shall have unique, non-zero values.
Attributes are ordered by attribute handle.

An attribute handle of value 0x0000 is reserved for future use. An attribute
handle of value 0xFFFF is known as the maximum attribute handle.




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Note: Attributes can be added or removed while an ATT Bearer is active,
however, an attribute that has been removed cannot be replaced by another
attribute with the same handle while an ATT Bearer is active.

3.2.3 Attribute Handle Grouping

Grouping is defined by a specific attribute placed at the beginning of a range of
other attributes that are grouped with that attribute, as defined by a higher layer
specification. Clients can request the first and last handles associated with a
group of attributes.

3.2.4 Attribute Value

An attribute value is an octet array that may be either fixed or variable length.
For example, it can be a one octet value, or a four octet integer, or a variable
length string. An attribute may contain a value that is too large to transmit in a
single PDU and can be sent using multiple PDUs. The values that are
transmitted are opaque to the attribute protocol. The encoding of these octet
arrays is defined by the attribute type.

When transmitting attribute values in a request, a response, a notification or an
indication, the attribute value length is not sent in any field of the PDU. The
length of a variable length field in the PDU is implicitly given by the length of the
packet that carries this PDU. This implies that:
              a) only one attribute value can be placed in a single request,
                 response, notification or indication unless the attribute values
                 have lengths known by both the server and client, as defined by
                 the attribute type.
              b) This attribute value will always be the only variable length field of
                 a request, response, notification or indication.
              c) The bearer protocol (e.g. L2CAP) preserves datagram
                 boundaries.

Note: Some responses include multiple attribute values, for example when
client requests multiple attribute reads. For the client to determine the attribute
value boundaries, the attribute values must have a fixed size defined by the
attribute type.

3.2.5 Attribute Permissions

An attribute has a set of permission values associated with it. The permissions
associated with an attribute specifies that it may be read and/or written. The
permissions associated with the attribute specifies the security level required
for read and/or write access, as well as notification and/or indication. The
permissions of a given attribute are defined by a higher layer specification, and
are not discoverable using the attribute protocol.



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If access to a secure attribute requires an authenticated link, and the client is
not already authenticated with the server with sufficient security, then an error
response shall be sent with the error code «Insufficient Authentication». When
a client receives this error code it may try to authenticate the link, and if the
authentication is successful, it can then access the secure attribute.

If access to a secure attribute requires an encrypted link, and the link is not
encrypted, then an error response shall be sent with the error code
«Insufficient Encryption». When a client receives this error code it may try to
encrypt the link and if the encryption is successful, it can then access the
secure attribute.

If access to a secure attribute requires an encrypted link, and the link is
encrypted but with an encryption key size that is too short for the level of
security required, then an error response shall be sent with the error code
«Insufficient Encryption Key Size». When a client receives this error code it
may try to encrypt the link with a larger key size, and if the encryption is
successful, it can then access the secure attribute.

Attribute permissions are a combination of access permissions, encryption
permissions, authentication permissions and authorization permissions.

The following access permissions are possible:
• Readable
• Writeable
• Readable and writable

The following encryption permissions are possible:
• Encryption required
• No encryption required

The following authentication permissions are possible:
• Authentication Required
• No Authentication Required

The following authorization permissions are possible:
• Authorization Required
• No Authorization Required

Encryption, authentication, and authorization permissions can have different
possibilities; for example, a specific attribute could require a particular kind of
authentication or a certain minimum encryption key length. An attribute can
have several combinations of permissions that apply; for example, a specific
attribute could allow any of the following:
• Read if encrypted (authentication not required)


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• Write if authenticated and encrypted
• Read or write if authenticated and authorized (irrespective of encryption)

Access permissions are used by a server to determine if a client can read and/
or write an attribute value.

Authentication permissions are used by a server to determine if an
authenticated physical link is required when a client attempts to access an
attribute. Authentication permissions are also used by a server to determine if
an authenticated physical link is required before sending a notification or
indication to a client.

Authorization permissions determine if a client needs to be authorized before
accessing an attribute value.

3.2.6 Control-Point Attributes

Attributes that cannot be read, but can only be written, notified or indicated are
called control-point attributes. These control-point attributes can be used by
higher layers to enable device specific procedures, for example the writing of a
command or the indication when a given procedure on a device has
completed.

3.2.7 Protocol Methods

The attribute protocol uses methods defined in Section 3.4 to find, read, write,
notify, and indicate attributes. A method is categorized as either a command, a
request, a response, a notification, an indication, or a confirmation method; see
Section 3.3. Some attribute protocol PDUs can also include an Authentication
Signature, to allow authentication of the originator of this PDU without requiring
encryption. The method and signed bit are known as the opcode.

3.2.8 Exchanging MTU Size

ATT_MTU is defined as the maximum size of any packet sent between a client
and a server. A higher layer specification defines the default ATT_MTU value.

The client and server may optionally exchange the maximum size of a packet
that can be received using the Exchange MTU Request and Response PDUs.
Both devices then use the minimum of these exchanged values for all further
communication (see Section 3.4.2).

A device that is acting as a server and client at the same time shall use the
same value for Client Rx MTU and Server Rx MTU.

The ATT_MTU value is a per ATT Bearer value. Note: A device with multiple
ATT Bearers may have a different ATT_MTU value for each ATT Bearer.



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3.2.9 Long Attribute Values

The longest attribute that can be sent in a single packet is (ATT_MTU-1) octets
in size. At a minimum, the Attribute Opcode is included in an Attribute PDU.

An attribute value may be defined to be larger than (ATT_MTU-1) octets in
size. These attributes are called long attributes.

To read the entire value of an attributes larger than (ATT_MTU-1) octets, the
read blob request is used. It is possible to read the first (ATT_MTU-1) octets of
a long attribute value using the read request.

To write the entire value of an attribute larger than (ATT_MTU-3) octets, the
prepare write request and execute write request is used. It is possible to write
the first (ATT_MTU-3) octets of a long attribute value using the write request.

It is not possible to determine if an attribute value is longer than (ATT_MTU-3)
octets using this protocol. A higher layer specification will state that a given
attribute can have a maximum length larger than (ATT_MTU-3) octets.

The maximum length of an attribute value shall be 512 octets.

Note: The protection of an attribute value changing when reading the value
using multiple attribute protocol PDUs is the responsibility of the higher layer.

3.2.10 Atomic Operations

The server shall treat each request or command as an atomic operation that
cannot be affected by another client sending a request or command at the
same time. If a physical link is disconnected for any reason (user action or loss
of the radio link), the value of any modified attribute is the responsibility of the
higher layer specification.

Long attributes cannot be read or written in a single atomic operation.

3.3 ATTRIBUTE PDU
Attribute PDUs have one of six types:
• Commands—PDUs sent to a server by a client that do not invoke a
  response.
• Requests—PDUs sent to a server by a client that invoke a response.
• Responses—PDUs sent to a client by a server in response to a request.
• Notifications—Unsolicited PDUs sent to a client by a server that do not
  invoke a confirmation.
• Indications—Unsolicited PDUs sent to a client by a server that invoke a
  confirmation.


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• Confirmations—PDUs sent to a server by a client to confirm receipt of an
  indication.

A server shall be able to receive and properly respond to the following
requests:
• Find Information Request
• Read Request

Support for all other PDU types in a server can be specified in a higher layer
specification, see Section 3.4.8.

If a client sends a request, then the client shall support all possible responses
PDUs for that request.

If a server receives a request that it does not support, then the server shall
respond with the Error Response with the Error Code «Request Not
Supported», with the Attribute Handle In Error set to 0x0000.

If a server receives a command that it does not support, indicated by the
Command Flag of the PDU set to one, then the server shall ignore the
Command.

If the server receives an invalid request – for example, the PDU is the wrong
length – then the server shall respond with the Error Response with the Error
Code «Invalid PDU», with the Attribute Handle In Error set to 0x0000.

If a server does not have sufficient resources to process a request, then the
server shall respond with the Error Response with the Error Code «Insufficient
Resources», with the Attribute Handle In Error set to 0x0000.

If a server cannot process a request because an error was encountered during
the processing of this request, then the server shall respond with the Error
Response with the Error Code «Unlikely Error», with the Attribute Handle In
Error set to 0x0000.

3.3.1 Attribute PDU Format

Attribute PDUs has the following format:


 Name                      Size (octets)   Description

 Attribute Opcode          1               The attribute PDU operation code
                                           bit7: Authentication Signature Flag
                                           bit6: Command Flag
                                           bit5-0: Method

Table 3.1: Format of Attribute PDU




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 Name                      Size (octets)        Description

 Attribute Parameters      0 to (ATT_MTU - X)   The attribute PDU parameters
                                                X = 1 if Authentication Signature Flag of the
                                                Attribute Opcode is 0
                                                X = 13 if Authentication Signature Flag of the
                                                Attribute Opcode is 1

 Authentication            0 or 12              Optional authentication signature for the
 Signature                                      Attribute Opcode and Attribute Parameters

Table 3.1: Format of Attribute PDU

Multi-octet fields within the attribute protocol shall be sent least significant octet
first (little endian) with the exception of the Attribute Value field. The endian-
ness of the Attribute Value field is defined by a higher layer specification.
The Attribute Opcode is composed of three fields, the Authentication Signature
Flag, the Command Flag, and the Method. The Method is a 6-bit value that
determines the format and meaning of the Attribute Parameters.
If the Authentication Signature Flag of the Attribute Opcode is set to one, the
Authentication Signature value shall be appended to the end of the attribute
PDU, and X is 13. If the Authentication Signature Flag of the Attribute Opcode is
set to zero, the Authentication Signature value shall not be appended, and X is 1.
The Authentication Signature field is calculated as defined in Security Manager
(see [Vol 3] Part H, Section 2.4.5). This value provides an Authentication
Signature for the variable length message (m) consisting of the following
values in this order: Attribute Opcode, Attribute Parameters.
An Attribute PDU that includes an Authentication Signature should not be sent
on an encrypted link. Note: An encrypted link already includes authentication
data on every packet and therefore adding more authentication data is not
required.
If the Command Flag of the Attribute Opcode is set to one, the PDU shall be
considered to be a Command.
Only the Write Command may include an Authentication Signature.

3.3.2 Sequential Protocol

Many attribute protocol PDUs use a sequential request-response protocol.
Once a client sends a request to a server, that client shall send no other
request to the same server until a response PDU has been received.
Indications sent from a server also use a sequential indication-confirmation
protocol. No other indications shall be sent to the same client from this server
until a confirmation PDU has been received. The client, however, is free to
send commands and requests prior to sending a confirmation.

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For notifications, which do not have a response PDU, there is no flow control
and a notification can be sent at any time.
Commands that do not require a response do not have any flow control. Note:
A server can be flooded with commands, and a higher layer specification can
define how to prevent this from occurring.
Commands and notifications that are received but cannot be processed, due to
buffer overflows or other reasons, shall be discarded. Therefore, those PDUs
must be considered to be unreliable.
Note: Flow control for each client and a server is independent.

Note: It is possible for a server to receive a request, send one or more
notifications, and then the response to the original request. The flow control of
requests is not affected by the transmission of the notifications.

Note: It is possible for a server to receive a request and then a command
before responding to the original request. The flow control of requests is not
affected by the transmission of commands.

Note: It is possible for a notification from a server to be sent after an indication
has been sent but the confirmation has not been received. The flow control of
indications is not affected by the transmission of notifications.

Note: It is possible for a client to receive an indication from a server and then
send a request or command to that server before sending the confirmation of
the original indication.

3.3.3 Transaction

An attribute protocol request and response or indication-confirmation pair is
considered a single transaction. A transaction shall always be performed on
one ATT Bearer, and shall not be split over multiple ATT Bearers.

On the client, a transaction shall start when the request is sent by the client. A
transaction shall complete when the response is received by the client.

On a server, a transaction shall start when a request is received by the server.
A transaction shall complete when the response is sent by the server.

On a server, a transaction shall start when an indication is sent by the server. A
transaction shall complete when the confirmation is received by the server.

On a client, a transaction shall start when an indication is received by the client.
A transaction shall complete when the confirmation is sent by the client.

A transaction not completed within 30 seconds shall time out. Such a
transaction shall be considered to have failed and the local higher layers shall



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be informed of this failure. No more attribute protocol requests, commands,
indications or notifications shall be sent to the target device on this ATT Bearer.

Note: To send another attribute protocol PDU, a new ATT Bearer must be
established between these devices. The existing ATT Bearer may need to be
disconnected or the bearer terminated before the new ATT Bearer is
established.

If the ATT Bearer is disconnected during a transaction, then the transaction
shall be considered to be closed, and any values that were being modified on
the server will be in an undetermined state, and any queue that was prepared
by the client using this ATT Bearer shall be cleared.

Note: Each Prepare Write Request is a separate request and is therefore a
separate transaction.

Note: Each Read Blob Request is a separate request and is therefore a
separate transaction.

3.4 ATTRIBUTE PROTOCOL PDUS

3.4.1 Error Handling

3.4.1.1 Error Response

The Error Response is used to state that a given request cannot be performed,
and to provide the reason.

Note: The Write Command does not generate an Error Response.

 Parameter                    Size (octets)   Description

 Attribute Opcode             1               0x01 = Error Response
 Request Opcode In Error      1               The request that generated this error
                                              response

 Attribute Handle In Error    2               The attribute handle that generated this
                                              error response
 Error Code                   1               The reason why the request has gener-
                                              ated an error response


Table 3.2: Format of Error Response

The Request Opcode In Error parameter shall be set to the Attribute Opcode of
the request that generated this error.

The Attribute Handle In Error parameter shall be set to the attribute handle in
the original request that generated this error. If there was no attribute handle in


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the original request or if the request is not supported, then the value 0x0000
shall be used for this field.

The Error Code parameter shall be set to one of the following values:

 Name                          Error Code      Description

 Invalid Handle                0x01            The attribute handle given was not
                                               valid on this server.

 Read Not Permitted            0x02            The attribute cannot be read.
 Write Not Permitted           0x03            The attribute cannot be written.
 Invalid PDU                   0x04            The attribute PDU was invalid.

 Insufficient Authentication   0x05            The attribute requires authentication
                                               before it can be read or written.
 Request Not Supported         0x06            Attribute server does not support the
                                               request received from the client.

 Invalid Offset                0x07            Offset specified was past the end of the
                                               attribute.
 Insufficient Authorization    0x08            The attribute requires authorization
                                               before it can be read or written.
 Prepare Queue Full            0x09            Too many prepare writes have been
                                               queued.

 Attribute Not Found           0x0A            No attribute found within the given attri-
                                               bute handle range.
 Attribute Not Long            0x0B            The attribute cannot be read using the
                                               Read Blob Request.
 Insufficient Encryption Key   0x0C            The Encryption Key Size used for
 Size                                          encrypting this link is insufficient.

 Invalid Attribute Value       0x0D            The attribute value length is invalid for
 Length                                        the operation.
 Unlikely Error                0x0E            The attribute request that was
                                               requested has encountered an error
                                               that was unlikely, and therefore could
                                               not be completed as requested.
 Insufficient Encryption       0x0F            The attribute requires encryption
                                               before it can be read or written.

 Unsupported Group Type        0x10            The attribute type is not a supported
                                               grouping attribute as defined by a
                                               higher layer specification.
 Insufficient Resources        0x11            Insufficient Resources to complete the
                                               request.
 Reserved for future use       0x012 – 0x7F    Reserved for future use.

Table 3.3: Error Codes



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 Name                         Error Code       Description

 Application Error            0x80-0x9F        Application error code defined by a
                                               higher layer specification.
 Reserved for future use      0xA0 – 0xDF      Reserved for future use
 Common Profile and Service   0xE0 – 0xFF      Common profile and service error
 Error Codes                                   codes defined in [Core Specification
                                               Supplement], Part B.

Table 3.3: Error Codes

If an error code is received in the Error Response that is not understood by the
client, for example an error code that was reserved for future use that is now
being used in a future version of this specification, then the Error Response
shall still be considered to state that the given request cannot be performed for
an unknown reason.

3.4.2 MTU Exchange

3.4.2.1 Exchange MTU Request

The Exchange MTU Request is used by the client to inform the server of the
client’s maximum receive MTU size and request the server to respond with its
maximum receive MTU size.

 Parameter                    Size (octets)     Description

 Attribute Opcode             1                 0x02 = Exchange MTU Request
 Client Rx MTU                2                 Client receive MTU size

Table 3.4: Format of Exchange MTU Request

The Client Rx MTU shall be greater than or equal to the default ATT_MTU.

This request shall only be sent once during a connection by the client. The
Client Rx MTU parameter shall be set to the maximum size of the attribute
protocol PDU that the client can receive.

3.4.2.2 Exchange MTU Response

The Exchange MTU Response is sent in reply to a received Exchange MTU
Request.

 Parameter                    Size (octets)     Description

 Attribute Opcode             1                 0x03 = Exchange MTU Response
 Server Rx MTU                2                 Attribute server receive MTU size

Table 3.5: Format of Exchange MTU Response



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The Server Rx MTU shall be greater than or equal to the default ATT_MTU.

The Server Rx MTU parameter shall be set to the maximum size of the
attribute protocol PDU that the server can receive.

The server and client shall set ATT_MTU to the minimum of the Client Rx MTU
and the Server Rx MTU. The size is the same to ensure that a client can
correctly detect the final packet of a long attribute read.

This ATT_MTU value shall be applied in the server after this response has
been sent and before any other attribute protocol PDU is sent.

This ATT_MTU value shall be applied in the client after this response has been
received and before any other attribute protocol PDU is sent.

If either Client Rx MTU or Service Rx MTU are incorrectly less than the default
ATT_MTU, then the ATT_MTU shall not be changed and the ATT_MTU shall
be the default ATT_MTU.

If a device is both a client and a server, the following rules shall apply:
1. A device's Exchange MTU Request shall contain the same MTU as the
   device's Exchange MTU Response (i.e. the MTU shall be symmetric).
2. If MTU is exchanged in one direction, that is sufficient for both directions.
3. It is permitted, (but not necessary - see 2.) to exchange MTU in both
   directions, but the MTUs shall be the same in each direction (see 1.)
4. If an Attribute Protocol Request is received after the MTU Exchange
   Request is sent and before the MTU Exchange Response is received, the
   associated Attribute Protocol Response shall use the default MTU. Figure
   3.1 shows an example that is covered by this rule. In this case device A and
   device B both use the default MTU for the Attribute Protocol Response.
5. Once the MTU Exchange Request has been sent, the initiating device shall
   not send an Attribute Protocol Indication or Notification until after the MTU
   Exchange Response has been received. Note: This stops the risk of a cross-
   over condition where the MTU size is unknown for the Indication or
   Notification.




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Figure 3.1: MTU request and response exchange


3.4.3 Find Information

3.4.3.1 Find Information Request

The Find Information Request is used to obtain the mapping of attribute
handles with their associated types. This allows a client to discover the list of
attributes and their types on a server.

 Parameter                      Size (octets)   Description

 Attribute Opcode               1               0x04 = Find Information Request
 Starting Handle                2               First requested handle number

 Ending Handle                  2               Last requested handle number
Table 3.6: Format of Find Information Request

Only attributes with attribute handles between and including the Starting
Handle parameter and the Ending Handle parameter will be returned. To read
all attributes, the Starting Handle parameter shall be set to 0x0001, and the
Ending Handle parameter shall be set to 0xFFFF. The Starting Handle
parameter shall be less than or equal to the Ending Handle parameter.




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If one or more attributes will be returned, a Find Information Response PDU
shall be sent.

If a server receives a Find Information Request with the Starting Handle
parameter greater than the Ending Handle parameter or the Starting Handle
parameter is 0x0000, an Error Response shall be sent with the «Invalid
Handle» error code; the Attribute Handle In Error parameter shall be set to the
Starting Handle parameter.

If no attributes will be returned, an Error Response shall be sent with the
«Attribute Not Found» error code; the Attribute Handle In Error parameter shall
be set to the Starting Handle parameter.

The server shall not respond to the Find Information Request with an Error
Response with the «Insufficient Authentication», «Insufficient Authorization»,
«Insufficient Encryption Key Size» or «Application Error» error code.

3.4.3.2 Find Information Response

The Find Information Response is sent in reply to a received Find Information
Request and contains information about this server.

 Parameter                   Size (octets)       Description

 Attribute Opcode            1                   0x05 = Find Information Response

 Format                      1                   The format of the information data.

 Information Data            4 to (ATT_MTU-2)    The information data whose format is
                                                 determined by the Format field
Table 3.7: Format of Find Information Response

The Find Information Response shall have complete handle-UUID pairs. Such
pairs shall not be split across response packets; this also implies that a handle-
UUID pair shall fit into a single response packet. The handle-UUID pairs shall
be returned in ascending order of attribute handles.

The Format parameter can contain one of two possible values.

 Name                             Format           Description

 Handle(s) and 16-bit Bluetooth   0x01             A list of 1 or more handles with their
 UUID(s)                                           16-bit Bluetooth UUIDs

 Handle(s) and 128-bit UUID(s)    0x02             A list of 1 or more handles with their
                                                   128-bit UUIDs
Table 3.8: Format field values




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The information data field is comprised of a list of data defined in the tables
below depending on the value chosen for the format.

 Handle                        16-bit Bluetooth UUID

 2 octets                      2 octets
Table 3.9: Format 0x01 - handle and 16-bit Bluetooth UUIDs


 Handle                        128-bit UUID

 2 octets                      16 octets
Table 3.10: Format 0x02 - handle and 128-bit UUIDs

Note: If sequential attributes have differing UUID sizes, it may happen that a
Find Information Response is not filled with the maximum possible amount of
(handle, UUID) pairs. This is because it is not possible to include attributes with
differing UUID sizes into a single response packet. In that case, the following
attribute would have to be read using another Find Information Request with its
starting handle updated.




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3.4.3.3 Find By Type Value Request

The Find By Type Value Request is used to obtain the handles of attributes that
have a 16-bit UUID attribute type and attribute value.This allows the range of
handles associated with a given attribute to be discovered when the attribute
type determines the grouping of a set of attributes. Note: Generic Attribute
Profile defines grouping of attributes by attribute type.

 Parameter                   Size (octets)         Description

 Attribute Opcode            1                     0x06 = Find By Type Value Request

 Starting Handle             2                     First requested handle number
 Ending Handle               2                     Last requested handle number
 Attribute Type              2                     2 octet UUID to find

 Attribute Value             0 to (ATT_MTU-7)      Attribute value to find

Table 3.11: Format of Find By Type Value Request

Only attributes with attribute handles between and including the Starting
Handle parameter and the Ending Handle parameter that match the requested
attribute type and the attribute value that have sufficient permissions to allow
reading will be returned. To read all attributes, the Starting Handle parameter
shall be set to 0x0001, and the Ending Handle parameter shall be set to
0xFFFF.

If one or more handles will be returned, a Find By Type Value Response PDU
shall be sent.

Note: Attribute values will be compared in terms of length and binary
representation.

Note: It is not possible to use this request on an attribute that has a value
longer than (ATT_MTU-7).

If a server receives a Find By Type Value Request with the Starting Handle
parameter greater than the Ending Handle parameter or the Starting Handle
parameter is 0x0000, an Error Response shall be sent with the «Invalid
Handle» error code. The Attribute Handle In Error parameter shall be set to the
Starting Handle parameter.

If no attributes will be returned, an Error Response shall be sent by the server
with the error code «Attribute Not Found». The Attribute Handle In Error
parameter shall be set to the starting handle.

The server shall not respond to the Find By Type Value Request with an Error
Response with the «Insufficient Authentication», «Insufficient Authorization»,
«Insufficient Encryption Key Size», «Insufficient Encryption» or «Application
Error» error code.


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3.4.3.4 Find By Type Value Response

The Find By Type Value Response is sent in reply to a received Find By Type
Value Request and contains information about this server.

 Parameter                   Size (octets)          Description

 Attribute Opcode            1                      0x07 = Find By Type Value Response

 Handles Information List     4 to (ATT_MTU-1)      A list of 1 or more Handle Informations

Table 3.12: Format of Find By Type Value Response

The Handles Information List field is a list of one or more Handle Informations.
The Handles Information field is an attribute handle range as defined in Table
3.13.

 Found Attribute Handle          Group End Handle

 2 octets                        2 octets
Table 3.13: Format of the Handles Information

The Find By Type Value Response shall contain one or more complete
Handles Information. Such Handles Information shall not be split across
response packets. The Handles Information List is ordered sequentially based
on the found attribute handles.

For each handle that matches the attribute type and attribute value in the Find
By Type Value Request a Handles Information shall be returned. The Found
Attribute Handle shall be set to the handle of the attribute that has the exact
attribute type and attribute value from the Find By Type Value Request. If the
attribute type in the Find By Type Value Request is a grouping attribute as
defined by a higher layer specification, the Group End Handle shall be defined
by that higher layer specification. If the attribute type in the Find By Type Value
Request is not a grouping attribute as defined by a higher layer specification,
the Group End Handle shall be equal to the Found Attribute Handle.

Note: The Group End Handle may be greater than the Ending Handle in the
Find By Type Value Request.

If a server receives a Find By Type Value Request, the server shall respond
with the Find By Type Value Response containing as many handles for
attributes that match the requested attribute type and attribute value that exist
in the server that will fit into the maximum PDU size of (ATT_MTU-1).




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3.4.4 Reading Attributes

3.4.4.1 Read By Type Request

The Read By Type Request is used to obtain the values of attributes where the
attribute type is known but the handle is not known.

 Parameter                    Size (octets)     Description

 Attribute Opcode             1                 0x08 = Read By Type Request
 Starting Handle              2                 First requested handle number

 Ending Handle                2                 Last requested handle number
 Attribute Type               2 or 16           2 or 16 octet UUID

Table 3.14: Format of Read By Type Request

Only the attributes with attribute handles between and including the Starting
Handle and the Ending Handle with the attribute type that is the same as the
Attribute Type given will be returned. To search through all attributes, the
starting handle shall be set to 0x0001 and the ending handle shall be set to
0xFFFF.

Note: All attribute types are effectively compared as 128-bit UUIDs, even if a
16-bit UUID is provided in this request or defined for an attribute. See [Vol 3]
Part B, Section 2.5.1.

The starting handle shall be less than or equal to the ending handle. If a server
receives a Read By Type Request with the Starting Handle parameter greater
than the Ending Handle parameter or the Starting Handle parameter is 0x0000,
an Error Response shall be sent with the «Invalid Handle» error code; The
Attribute Handle In Error parameter shall be set to the Starting Handle
parameter.

If no attribute with the given type exists within the handle range, then no
attribute handle and value will be returned, and an Error Response shall be
sent with the error code «Attribute Not Found». The Attribute Handle In Error
parameter shall be set to the starting handle.

The attributes returned shall be the attributes with the lowest handles within the
handle range. These are known as the requested attributes.

If the attributes with the requested type within the handle range have attribute
values that have the same length, then these attributes can all be read in a
single request.

The attribute server shall include as many attributes as possible in the
response in order to minimize the number of PDUs required to read attributes
of the same type.


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Note: If the attributes with the requested type within the handle range have
attribute values with different lengths, then multiple Read By Type Requests
must be made.

When multiple attributes match, then the rules below shall be applied to each in
turn.
• Only attributes that can be read shall be returned in a Read By Type
  Response.
• If an attribute in the set of requested attributes would cause an Error
  Response then this attribute cannot be included in a Read By Type
  Response and the attributes before this attribute shall be returned.
• If the first attribute in the set of requested attributes would cause an Error
  Response then no other attributes in the requested attributes can be
  considered.

The server shall respond with a Read By Type Response if the requested
attributes have sufficient permissions to allow reading.

If the client has insufficient authorization to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authorization».
The Attribute Handle In Error parameter shall be set to the handle of the
attribute causing the error.

If the client has insufficient security to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authentication».
The Attribute Handle In Error parameter shall be set to the handle of the
attribute causing the error.

If the client has an insufficient encryption key size to read the requested
attribute then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size». The Attribute Handle In Error parameter shall be set to
the handle of the attribute causing the error.

If the client has not enabled encryption, and encryption is required to read the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption». The Attribute Handle In Error parameter shall be set
to the handle of the attribute causing the error.

If the requested attribute’s value cannot be read due to permissions then an
Error Response shall be sent with the error code «Read Not Permitted». The
Attribute Handle In Error parameter shall be set to the handle of the attribute
causing the error.

Note: If there are multiple attributes with the requested type within the handle
range, and the client would like to get the next attribute with the requested type,
it would have to issue another Read By Type Request with its starting handle
updated. The client can be sure there are no more such attributes remaining
once it gets an Error Response with the error code «Attribute Not Found».


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3.4.4.2 Read By Type Response

The Read By Type Response is sent in reply to a received Read By Type
Request and contains the handles and values of the attributes that have been
read.

 Parameter                       Size (octets)         Description

 Attribute Opcode                1                     0x09 = Read By Type Response
 Length                          1                     The size of each attribute handle-
                                                       value pair
 Attribute Data List             2 to (ATT_MTU- 2)     A list of Attribute Data

Table 3.15: Format of Read By Type Response

The Read By Type Response shall contain complete handle-value pairs. Such
pairs shall not be split across response packets. The handle-value pairs shall
be returned sequentially based on the attribute handle.

The Length parameter shall be set to the size of one attribute handle-value
pair.

The maximum length of an attribute handle-value pair is 255 octets, bounded
by the Length parameter that is one octet. Therefore, the maximum length of
an attribute value returned in this response is (Length – 2) = 253 octets.

The attribute handle-value pairs shall be set to the value of the attributes
identified by the attribute type within the handle range within the request. If the
attribute value is longer than (ATT_MTU - 4) or 253 octets, whichever is
smaller, then the first (ATT_MTU - 4) or 253 octets shall be included in this
response.

Note: The Read Blob Request would be used to read the remaining octets of a
long attribute value.

The Attribute Data field is comprised of a list of attribute handle and value pairs
as defined in Table 3.16.

 Attribute Handle                Attribute Value

 2 octets                        (Length – 2) octets
Table 3.16: Format of the Attribute Data




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3.4.4.3 Read Request

The Read Request is used to request the server to read the value of an
attribute and return its value in a Read Response.

 Parameter                    Size (octets)           Description

 Attribute Opcode             1                       0x0A = Read Request

 Attribute Handle             2                       The handle of the attribute to be
                                                      read
Table 3.17: Format of Read Request

The attribute handle parameter shall be set to a valid handle.

The server shall respond with a Read Response if the handle is valid and the
attribute has sufficient permissions to allow reading.

If the client has insufficient authorization to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authorization».

If the client has insufficient security to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authentication».

If the client has an insufficient encryption key size to read the requested
attribute then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size».

If the client has not enabled encryption, and encryption is required to read the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption».

If the handle is invalid, then an Error Response shall be sent with the error
code «Invalid Handle».

If the attribute value cannot be read due to permissions then an Error
Response shall be sent with the error code «Read Not Permitted».

3.4.4.4 Read Response

The read response is sent in reply to a received Read Request and contains
the value of the attribute that has been read.

 Parameter                    Size (octets)           Description

 Attribute Opcode             1                       0x0B = Read Response
 Attribute Value              0 to (ATT_MTU-1)        The value of the attribute with the
                                                      handle given

Table 3.18: Format of Read Response



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The attribute value shall be set to the value of the attribute identified by the
attribute handle in the request. If the attribute value is longer than
(ATT_MTU-1) then the first (ATT_MTU-1) octets shall be included in this
response.

Note: The Read Blob Request would be used to read the remaining octets of a
long attribute value.

3.4.4.5 Read Blob Request

The Read Blob Request is used to request the server to read part of the value
of an attribute at a given offset and return a specific part of the value in a Read
Blob Response.

 Parameter                 Size (octets)   Description

 Attribute Opcode          1               0x0C = Read Blob Request

 Attribute Handle          2               The handle of the attribute to be read
 Value Offset              2               The offset of the first octet to be read
Table 3.19: Format of Read Blob Request

The attribute handle parameter shall be set to a valid handle.

The value offset parameter is based from zero; the first value octet has an
offset of zero, the second octet has a value offset of one, etc.

The server shall respond with a Read Blob Response if the handle is valid and
the attribute and value offset is not greater than the length of the attribute value
and has sufficient permissions to allow reading.

If the client has insufficient authorization to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authorization».

If the client has insufficient security to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authentication».

If the client has an insufficient encryption key size to read the requested
attribute then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size».

If the client has not enabled encryption, and encryption is required to read the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption».

If the handle is invalid, then an Error Response shall be sent with the error
code «Invalid Handle».

If the attribute value cannot be read due to permissions then an Error
Response shall be sent with the error code «Read Not Permitted».

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If the value offset of the Read Blob Request is greater than the length of the
attribute value, an Error Response shall be sent with the error code «Invalid
Offset».

If the attribute value has a fixed length that is less than or equal to
(ATT_MTU - 1) octets in length, then an Error Response may be sent with the
error code «Attribute Not Long».

If the value offset of the Read Blob Request is equal to the length of the
attribute value, then the length of the part attribute value in the response shall
be zero.

Note: If the attribute is longer than (ATT_MTU-1) octets, the Read Blob
Request is the only way to read the additional octets of a long attribute. The
first (ATT_MTU-1) octets may be read using a Read Request, an Handle Value
Notification or an Handle Value Indication.

Note: Long attributes may or may not have their length specified by a higher
layer specification. If the long attribute has a variable length, the only way to
get to the end of it is to read it part by part until the value in the Read Blob
Response has a length shorter than (ATT_MTU-1) or an Error Response with
the error code «Invalid Offset».

Note: The value of a Long Attribute may change between one Read Blob
Request and the next Read Blob Request. A higher layer specification should
be aware of this and define appropriate behavior.

3.4.4.6 Read Blob Response

The Read Blob Response is sent in reply to a received Read Blob Request and
contains part of the value of the attribute that has been read.

 Parameter                    Size (octets)           Description

 Attribute Opcode             1                       0x0D = Read Blob Response
 Part Attribute Value         0 to (ATT_MTU -1)       Part of the value of the attribute
                                                      with the handle given

Table 3.20: Format of Read Blob Response

The part attribute value shall be set to part of the value of the attribute identified
by the attribute handle and the value offset in the request. If the value offset is
equal to the length of the attribute value, then the length of the part attribute
value shall be zero. If the attribute value is longer than (Value Offset +
ATT_MTU-1) then (ATT_MTU-1) octets from Value Offset shall be included in
this response.




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Attribute Protocol (ATT)

3.4.4.7 Read Multiple Request

The Read Multiple Request is used to request the server to read two or more
values of a set of attributes and return their values in a Read Multiple
Response. Only values that have a known fixed size can be read, with the
exception of the last value that can have a variable length. The knowledge of
whether attributes have a known fixed size is defined in a higher layer
specification.

 Parameter                 Size (octets)       Description

 Attribute Opcode          1                   0x0E = Read Multiple Request
 Set Of Handles            4 to (ATT_MTU -1)   A set of two or more attribute handles.
Table 3.21: Format of Read Multiple Request

The attribute handles in the Set Of Handles parameter shall be valid handles.

The server shall respond with a Read Multiple Response if all the handles are
valid and all attributes have sufficient permissions to allow reading.

Note: The attribute values for the attributes in the Set Of Handles parameters
do not have to all be the same size.

Note: The attribute handles in the Set Of Handles parameter do not have to be
in attribute handle order; they are in the order that the values are required in
the response.

If the client has insufficient authorization to read any of the attributes then an
Error Response shall be sent with the error code «Insufficient Authorization».

If the client has insufficient security to read any of the attributes then an Error
Response shall be sent with the error code «Insufficient Authentication».

If the client has an insufficient encryption key size to read any of the attributes
then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size».

If the client has not enabled encryption, and encryption is required to read the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption».

If any of the handles are invalid, then an Error Response shall be sent with the
error code «Invalid Handle».

If any of the attribute values cannot be read due to permissions then an Error
Response shall be sent with the error code «Read Not Permitted».

If an Error Response is sent, the Attribute Handle In Error parameter shall be
set to the handle of the first attribute causing the error.


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3.4.4.8 Read Multiple Response

The read response is sent in reply to a received Read Multiple Request and
contains the values of the attributes that have been read.

 Parameter                     Size (octets)          Description

 Attribute Opcode              1                      0x0F = Read Multiple Response

 Set Of Values                 0 to (ATT_MTU-1)       A set of two or more values
Table 3.22: Format of Read Multiple Response

The Set Of Values parameter shall be a concatenation of attribute values for
each of the attribute handles in the request in the order that they were
requested. If the Set Of Values parameter is longer than (ATT_MTU-1) then
only the first (ATT_MTU-1) octets shall be included in this response.

Note: A client should not use this request for attributes when the Set Of Values
parameter could be (ATT_MTU-1) as it will not be possible to determine if the
last attribute value is complete, or if it overflowed.

3.4.4.9 Read by Group Type Request

The Read By Group Type Request is used to obtain the values of attributes
where the attribute type is known, the type of a grouping attribute as defined by
a higher layer specification, but the handle is not known.

 Parameter                     Size (octets)       Description

 Attribute Opcode              1                   0x10 = Read By Group Type Request
 Starting Handle               2                   First requested handle number

 Ending Handle                 2                   Last requested handle number
 Attribute Group Type          2 or 16             2 or 16 octet UUID

Table 3.23: Format of Read By Group Type Request

Only the attributes with attribute handles between and including the Starting
Handle and the Ending Handle with the attribute type that is the same as the
Attribute Group Type given will be returned. To search through all attributes,
the starting handle shall be set to 0x0001 and the ending handle shall be set to
0xFFFF.

Note: All attribute types are effectively compared as 128-bit UUIDs, even if a
16-bit UUID is provided in this request or defined for an attribute. See [Vol 3]
Part B, Section 2.5.1.

The starting handle shall be less than or equal to the ending handle. If a server
receives a Read By Group Type Request with the Starting Handle parameter
greater than the Ending Handle parameter or the Starting Handle parameter is

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0x0000, an Error Response shall be sent with the «Invalid Handle» error code;
The Attribute Handle In Error parameter shall be set to the Starting Handle
parameter.

If the Attribute Group Type is not a supported grouping attribute as defined by a
higher layer specification then an Error Response shall be sent with the error
code «Unsupported Group Type». The Attribute Handle In Error parameter
shall be set to the Starting Handle.

If no attribute with the given type exists within the handle range, then no
attribute handle and value will be returned, and an Error Response shall be
sent with the error code «Attribute Not Found». The Attribute Handle In Error
parameter shall be set to the starting handle.

The attributes returned shall be the attributes with the lowest handles within the
handle range. These are known as the requested attributes.

If the attributes with the requested type within the handle range have attribute
values that have the same length, then these attributes can all be read in a
single request.

The attribute server shall include as many attributes as possible in the
response in order to minimize the number of PDUs required to read attributes
of the same type.

Note: If the attributes with the requested type within the handle range have
attribute values with different lengths, then multiple Read By Group Type
Requests must be made.

When multiple attributes match, then the rules below shall be applied to each in
turn.
• Only attributes that can be read shall be returned in a Read By Group Type
  Response.
• If an attribute in the set of requested attributes would cause an Error
  Response then this attribute cannot be included in a Read By Group Type
  Response and the attributes before this attribute shall be returned.
• If the first attribute in the set of requested attributes would cause an Error
  Response then no other attributes in the requested attributes can be
  considered.

The server shall respond with a Read By Group Type Response if the
requested attributes have sufficient permissions to allow reading.

If the client has insufficient authorization to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authorization».
The Attribute Handle In Error parameter shall be set to the handle of the
attribute causing the error.



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If the client has insufficient security to read the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authentication».
The Attribute Handle In Error parameter shall be set to the handle of the
attribute causing the error.

If the client has an insufficient encryption key size to read the requested
attribute then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size». The Attribute Handle In Error parameter shall be set to
the handle of the attribute causing the error.

If the client has not enabled encryption, and encryption is required to read the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption». The Attribute Handle In Error parameter shall be set
to the handle of the attribute causing the error.

If the requested attribute’s value cannot be read due to permissions then an
Error Response shall be sent with the error code «Read Not Permitted». The
Attribute Handle In Error parameter shall be set to the handle of the attribute
causing the error.

Note: If there are multiple attributes with the requested type within the handle
range, and the client would like to get the next attribute with the requested type, it
would have to issue another Read By Group Type Request with its starting handle
updated. The client can be sure there are no more such attributes remaining once
it gets an Error Response with the error code «Attribute Not Found».

3.4.4.10 Read by Group Type Response

The Read By Group Type Response is sent in reply to a received Read By
Group Type Request and contains the handles and values of the attributes that
have been read.

 Parameter                    Size (octets)           Description

 Attribute Opcode             1                       0x11 = Read By Group Type
                                                      Response

 Length                       1                       The size of each Attribute Data
 Attribute Data List          4 to (ATT_MTU- 2)       A list of Attribute Data
Table 3.24: Format of Read By Group Type Response

The Read By Group Type Response shall contain complete Attribute Data. An
Attribute Data shall not be split across response packets. The Attribute Data
List is ordered sequentially based on the attribute handles

The Length parameter shall be set to the size of the one Attribute Data.

The maximum length of an Attribute Data is 255 octets, bounded by the Length
parameter that is one octet. Therefore, the maximum length of an attribute
value returned in this response is (Length – 4) = 251 octets.

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The Attribute Data List shall be set to the value of the attributes identified by
the attribute type within the handle range within the request. If the attribute
value is longer than (ATT_MTU - 6) or 251 octets, whichever is smaller, then
the first (ATT_MTU - 6) or 251 octets shall be included in this response.

Note: The Read Blob Request would be used to read the remaining octets of a
long attribute value.

The Attribute Data List is comprised of a list of Attribute Data as defined in
Table 3.25.

 Attribute Handle          End Group Handle           Attribute Value

 2 octets                  2 octets                   (Length - 4) octets
Table 3.25: Format of the Attribute Data


3.4.5 Writing Attributes

3.4.5.1 Write Request

The Write Request is used to request the server to write the value of an
attribute and acknowledge that this has been achieved in a Write Response.

 Parameter                       Size (octets)        Description

 Attribute Opcode                1                    0x12 = Write Request
 Attribute Handle                2                    The handle of the attribute to be
                                                      written

 Attribute Value                 0 to (ATT_MTU-3)     The value to be written to the attri-
                                                      bute
Table 3.26: Format of Write Request

The Attribute Handle shall be set to a valid handle.

The Attribute Value shall be set to the new value of the attribute.

If the attribute value has a variable length, then the attribute value shall be
truncated or lengthened to match the length of the Attribute Value parameter.

Note: If an attribute value has a variable length and if the Attribute Value
parameter is of zero length, the attribute value will be fully truncated.

If the attribute value has a fixed length and the Attribute Value parameter length
is less than or equal to the length of the attribute value, the octets of the
attribute value parameter length shall be written; all other octets in this attribute
value shall be unchanged.




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The server shall respond with a Write Response if the handle is valid, the
attribute has sufficient permissions to allow writing, and the attribute value has
a valid size and format, and it is successful in writing the attribute.

If the attribute value has a variable length and the Attribute Value parameter
length exceeds the maximum valid length of the attribute value then the server
shall respond with an Error Response with the error code «Invalid Attribute
Value Length».

If the attribute value has a fixed length and the requested attribute value
parameter length is greater than the length of the attribute value then the
server shall respond with an Error Response with the error code «Invalid
Attribute Value Length».

If the client has insufficient authorization to write the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authorization».

If the client has insufficient security to write the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authentication».

If the client has an insufficient encryption key size to write the requested
attribute then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size».

If the client has not enabled encryption, and encryption is required to write the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption».

If the handle is invalid, then an Error Response shall be sent with the error
code «Invalid Handle».

If the attribute value cannot be written due to permissions then an Error
Response shall be sent with the error code «Write Not Permitted».

If the attribute value cannot be written due to an application error then an Error
Response shall be sent with an error code defined by a higher layer specification.

3.4.5.2 Write Response

The Write Response is sent in reply to a valid Write Request and
acknowledges that the attribute has been successfully written.

 Parameter                     Size (octets)          Description

 Attribute Opcode              1                      0x13 = Write Response
Table 3.27: Format of Write Response

The Write Response shall be sent after the attribute value is written.



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3.4.5.3 Write Command

The Write Command is used to request the server to write the value of an
attribute, typically into a control-point attribute.

 Parameter                    Size (octets)           Description

 Attribute Opcode             1                       0x52 = Write Command

 Attribute Handle             2                       The handle of the attribute to be
                                                      set
 Attribute Value              0 to (ATT_MTU-3)        The value of be written to the attri-
                                                      bute
Table 3.28: Format of Write Command

The attribute handle parameter shall be set to a valid handle.

The attribute value parameter shall be set to the new value of the attribute.

If the attribute value has a variable length, then the attribute value shall be
truncated or lengthened to match the length of the attribute value parameter.

Note: If an attribute value has a variable length and if the attribute value
parameter is of zero length, the attribute value will be fully truncated.

If the attribute value has a fixed length and the attribute value parameter length
is less than or equal to the length of the attribute value, the octets up to the
attribute value parameter length shall be written; all other octets in this attribute
value shall be unchanged.

If the attribute value has a variable length and the attribute value parameter
length exceeds the maximum valid length of the attribute value then the server
shall ignore the command.

If the attribute value has a fixed length and the requested attribute value
parameter length is greater than the length of the attribute value then the
server shall ignore the command.

No Error Response or Write Response shall be sent in response to this
command. If the server cannot write this attribute for any reason the command
shall be ignored.




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3.4.5.4 Signed Write Command

The Signed Write Command is used to request the server to write the value of an
attribute with an authentication signature, typically into a control-point attribute.

 Parameter                  Size (Octets)         Description

 Attribute Opcode           1                     0xD2 = Signed Write Command

 Attribute Handle           2                     The handle of the attribute to be set
 Attribute Value            0 to (ATT_MTU - 15)   The value to be written to the attribute
 Authentication Signature   12                    Authentication signature for the
                                                  Attribute Opcode, Attribute Handle
                                                  and Attribute Value Parameters

Table 3.29: Format of Signed Write Command

The attribute handle parameter shall be set to a valid handle.

The attribute value parameter shall be set to the new value of the attribute.

The attribute signature shall be calculated as defined in Section 3.3.1.
For example, if the variable length message m to be signed is ‘D212001337’,
SignCounter is 0x00000001 and key is
0x611B64EBFBCD1FD372EC9196DF425E50, then message to be signed (M)
by the CMAC function is the octet sequence ‘D21200133701000000’.
The padding(M) is 0x0000000137130012D280000000000000, resultant
CMAC is 0xF20F903C931E87F159B64F012574B4D0 and Authentication
Signature is the octet sequence ‘01000000F1871E933C900FF2’.
The final signed message is ‘D21200133701000000F1871E933C900FF2’.

If the attribute value has a variable length, then the attribute value shall be
truncated or lengthened to match the length of the attribute value parameter.

Note: If an attribute value has a variable length and if the attribute value
parameter is of zero length, the attribute value will be fully truncated.

If the attribute value has a fixed length and the attribute value parameter length
is less than or equal to the length of the attribute value, the octets up to the
attribute value parameter length shall be written; all other octets in this attribute
value shall be unchanged.

If the attribute value has a variable length and the attribute value parameter
length exceeds the maximum valid length of the attribute value then the server
shall ignore the command.

If the attribute value has a fixed length and the requested attribute value
parameter length is greater than the length of the attribute value then the
server shall ignore the command.



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If the authentication signature verification fails, then the server shall ignore the
command.

No Error Response or Write Response shall be sent in response to this
command. If the server cannot write this attribute for any reason the command
shall be ignored.

3.4.6 Queued Writes

The purpose of queued writes is to queue up writes of values of multiple
attributes in a first-in first-out queue and then execute the write on all of them in
a single atomic operation.

3.4.6.1 Prepare Write Request

The Prepare Write Request is used to request the server to prepare to write the
value of an attribute. The server will respond to this request with a Prepare Write
Response, so that the client can verify that the value was received correctly.

A client may send more than one Prepare Write Request to a server, which will
queue and send a response for each handle value pair.

A server may limit the number of prepare write requests that it can accept. A
higher layer specification should define this limit.

After a Prepare Write Request has been issued, and the response received,
any other attribute command or request can be issued from the same client to
the same server.

Each client’s queued values are separate; the execution of one queue shall not
affect the preparation or execution of any other client’s queued values.

Any actions on attributes that exist in the prepare queue shall proceed as if the
prepare queue did not exist, and the prepare queue shall be unaffected by
these actions. A subsequent execute write will write the values in the prepare
queue even if the value of the attribute has changed since the prepare writes
were started.

The attribute protocol makes no determination on the validity of the Part
Attribute Value or the Value Offset. A higher layer specification determines the
meaning of the data.

Each Prepare Write Request will be queued even if the attribute handle is the
same as a previous Prepare Write Request. These will then be executed in the
order received, causing multiple writes for this attribute to occur.




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If the link is lost while a number of prepared write requests have been queued,
the queue will be cleared and no writes will be executed.

 Parameter                     Size (octets)          Description

 Attribute Opcode              1                      0x16 = Prepare Write Request

 Attribute Handle              2                      The handle of the attribute to be
                                                      written
 Value Offset                  2                      The offset of the first octet to be
                                                      written
 Part Attribute Value          0 to (ATT_MTU-5)       The value of the attribute to be writ-
                                                      ten

Table 3.30: Format of Prepare Write Request

The Attribute Handle parameter shall be set to a valid handle.

The Value Offset parameter shall be set to the offset of the first octet where the
Part Attribute Value parameter is to be written within the attribute value. The
Value Offset parameter is based from zero; the first octet has an offset of zero,
the second octet has an offset of one, etc.

The server shall respond with a Prepare Write Response if the handle is valid,
the attribute has sufficient permissions to allow writing at this time, and the
prepare queue has sufficient space.

Note: The Attribute Value validation is done when an Execute Write Request is
received. Hence, any Invalid Offset or Invalid Attribute Value Length errors are
generated when an Execute Write Request is received.

If the client has insufficient authorization to write the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authorization».

If the client has insufficient security to write the requested attribute then an
Error Response shall be sent with the error code «Insufficient Authentication».

If the client has an insufficient encryption key size to write the requested
attribute then an Error Response shall be sent with the error code «Insufficient
Encryption Key Size».

If the client has not enabled encryption, and encryption is required to write the
requested attribute, then an Error Response shall be sent with the error code
«Insufficient Encryption».

If the server does not have sufficient space to queue this request then an Error
Response shall be sent with the error code «Prepare Queue Full».

If the handle is invalid, then an Error Response shall be sent with the error
code «Invalid Handle».


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If the attribute value cannot be written then an Error Response shall be sent
with the error code «Write Not Permitted».

The server shall not change the value of the attribute until an Execute Write
Request is received.

If a Prepare Write Request was invalid, and therefore an Error Response has
been issued, then this prepared write will be considered to have not been
received. All existing prepared writes in the prepare queue shall not be affected
by this invalid request.

3.4.6.2 Prepare Write Response

The Prepare Write Response is sent in response to a received Prepare Write
Request and acknowledges that the value has been successfully received and
placed in the prepare write queue.

 Parameter                     Size (octets)          Description

 Attribute Opcode              1                      0x17 = Prepare Write Response

 Attribute Handle              2                      The handle of the attribute to be
                                                      written
 Value Offset                  2                      The offset of the first octet to be
                                                      written
 Part Attribute Value          0 to (ATT_MTU-5)       The value of the attribute to be writ-
                                                      ten

Table 3.31: Format of Prepare Write Response

The attribute handle shall be set to the same value as in the corresponding
Prepare Write Request.

The value offset and part attribute value shall be set to the same values as in
the corresponding Prepare Write Request.

3.4.6.3 Execute Write Request

The Execute Write Request is used to request the server to write or cancel the
write of all the prepared values currently held in the prepare queue from this
client. This request shall be handled by the server as an atomic operation.

 Parameter                     Size (octets)          Description

 Attribute Opcode              1                      0x18 = Execute Write Request

Table 3.32: Format of Execute Write Request




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 Parameter                        Size (octets)        Description

 Flags                            1                    0x00 – Cancel all prepared writes
                                                       0x01 – Immediately write all pend-
                                                       ing prepared values

Table 3.32: Format of Execute Write Request

When the flags parameter is set to 0x01, values that were queued by the
previous prepare write requests shall be written in the order they were received
in the corresponding Prepare Write Request. The queue shall then be cleared,
and an Execute Write Response shall be sent.

When the flags parameter is set to 0x00 all pending prepare write values shall
be discarded for this client. The queue shall then be cleared, and an Execute
Write Response shall be sent.

If there are no pending prepared write values, then no values are written, and
an Execute Write Response shall be sent.

If the prepared Attribute Value exceeds the maximum valid length of the
attribute value then all pending prepare write values shall be discarded for this
client, the queue shall then be cleared, and an Error Response shall be sent
with the error code «Invalid Attribute Value Length».

If the prepare Value Offset is greater than the current length of the attribute
value then all pending prepare write values shall be discarded for this client,
the queue shall be cleared and then an Error Response shall be sent with the
«Invalid Offset».

If the prepare write requests cannot be written, due to an application error, the
queue shall be cleared and then an Error Response shall be sent with a higher
layer specification defined error code. The Attribute Handle In Error parameter
shall be set to the attribute handle of the attribute from the prepare queue that
caused this application error. The state of the attributes that were to be written
from the prepare queue is not defined in this case.

3.4.6.4 Execute Write Response

The Execute Write Response is sent in response to a received Execute Write
Request.

 Parameter                 Size       Description

 Attribute Opcode          1          0x19 - Execute Write Response

Table 3.33: Format of Execute Write Response

The Execute Write Response shall be sent after the attributes are written. In
case an action is taken in response to the write, an indication may be used
once the action is complete.

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3.4.7 Server Initiated

3.4.7.1 Handle Value Notification

A server can send a notification of an attribute’s value at any time.

 Parameter                      Size (octets)         Description

 Attribute Opcode               1                     0x1B = Handle Value Notification
 Attribute Handle               2                     The handle of the attribute

 Attribute Value                0 to (ATT_MTU-3)      The current value of the attribute

Table 3.34: Format of Handle Value Notification

The attribute handle shall be set to a valid handle.

The attribute value shall be set to the current value of attribute identified by the
attribute handle.

If the attribute value is longer than (ATT_MTU-3) octets, then only the first
(ATT_MTU-3) octets of this attributes value can be sent in a notification.

Note: For a client to get a long attribute, it would have to use the Read Blob
Request following the receipt of this notification.

If the attribute handle or the attribute value is invalid, then this notification shall
be ignored upon reception.

3.4.7.2 Handle Value Indication

A server can send an indication of an attribute’s value.

 Parameter                      Size (octets)         Description

 Attribute Opcode               1                     0x1D = Handle Value Indication

 Attribute Handle               2                     The handle of the attribute

 Attribute Value                0 to (ATT_MTU-3)      The current value of the attribute

Table 3.35: Format of Handle Value Indication

The attribute handle shall be set to a valid handle.

The attribute value shall be set to the current value of attribute identified by the
attribute handle.

If the attribute value is longer than (ATT_MTU-3) octets, then only the first
(ATT_MTU - 3) octets of this attributes value can be sent in an indication.

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Note: For a client to get a long attribute, it would have to use the Read Blob
Request following the receipt of this indication.

The client shall send a Handle Value Confirmation in response to a Handle
Value Indication. No further indications to this client shall occur until the
confirmation has been received by the server.

If the attribute handle or the attribute value is invalid, the client shall send a
handle value confirmation in response and shall discard the handle and value
from the received indication.

3.4.7.3 Handle Value Confirmation

The Handle Value Confirmation is sent in response to a received Handle Value
Indication and confirms that the client has received an indication of the given
attribute.

 Parameter                     Size (octets)          Description

 Attribute Opcode              1                      0x1E = Handle Value Confirmation
Table 3.36: Format of Handle Value Confirmation




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3.4.8 Attribute Opcode Summary

Table 3.37 gives a summary of the attribute protocol PDUs. .

 Attribute PDU                           Attribute
 Name                                    Opcode       Parameters

                                                      Request Opcode in Error,
 Error Response                          0x01         Attribute Handle In Error,
                                                      Error Code
 Exchange MTU Request                    0x02         Client Rx MTU

 Exchange MTU Response                   0x03         Server Rx MTU
                                                      Starting Handle,
 Find Information Request                0x04
                                                      Ending Handle
                                                      Format,
 Find Information Response               0x05
                                                      Information Data
                                                      Starting Handle,
                                                      Ending Handle,
 Find By Type Value Request              0x06
                                                      Attribute Type,
                                                      Attribute Value
 Find By Type Value Response             0x07         Handles Information List

                                                      Starting Handle,
 Read By Type Request                    0x08         Ending Handle,
                                                      UUID
                                                      Length,
 Read By Type Response                   0x09
                                                      Attribute Data List
 Read Request                            0x0A         Attribute Handle

 Read Response                           0x0B         Attribute Value
                                                      Attribute Handle,
 Read Blob Request                       0x0C
                                                      Value Offset
 Read Blob Response                      0x0D         Part Attribute Value

 Read Multiple Request                   0x0E         Handle Set
 Read Multiple Response                  0x0F         Value Set
                                                      Start Handle,
 Read by Group Type Request              0x10         Ending Handle,
                                                      UUID

                                                      Length,
 Read by Group Type Response             0x11
                                                      Attribute Data List
                                                      Attribute Handle,
 Write Request                           0x12
                                                      Attribute Value
 Write Response                          0x13         -

Table 3.37: Attribute Protocol Summary



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Attribute Protocol (ATT)


 Attribute PDU                           Attribute
 Name                                    Opcode       Parameters

                                                      Attribute Handle,
 Write Command                           0x52
                                                      Attribute Value
                                                      Attribute Handle,
 Prepare Write Request                   0x16         Value Offset,
                                                      Part Attribute Value
                                                      Attribute Handle,
 Prepare Write Response                  0x17         Value Offset,
                                                      Part Attribute Value

 Execute Write Request                   0x18         Flags
 Execute Write Response                  0x19         -
                                                      Attribute Handle,
 Handle Value Notification               0x1B
                                                      Attribute Value

                                                      Attribute Handle,
 Handle Value Indication                 0x1D
                                                      Attribute Value
 Handle Value Confirmation               0x1E

                                                      Attribute Handle,
 Signed Write Command                    0xD2         Attribute Value,
                                                      Authentication Signature
Table 3.37: Attribute Protocol Summary




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Attribute Protocol (ATT)

3.4.9 Attribute PDU Response Summary

Table 3.38 gives a summary of the Attribute PDU Method responses that are
allowed. Each method indicates the method that should be sent as a
successful response, and whether an Error Response can be sent in response
instead. If an Error Response can be sent, then the table also indicates the
Error Codes that are valid within this Error Response for the given method.

                                              Error
 Attribute PDU             Successful         Response
 Method                    Response           Allowed    Error Response Error Codes

 Exchange MTU              Exchange MTU
                                              Yes        Request Not Supported
 Request                   Response

 Find Information          Find Information              Invalid Handle,
                                              Yes
 Request                   Response                      Attribute Not Found

                                                         Invalid Handle,
 Find By Type Value        Find By Type
                                              Yes        Request Not Supported,
 Request                   Value Response
                                                         Attribute Not Found
                                                         Invalid Handle,
                                                         Request Not Supported,
                                                         Attribute Not Found,
                                                         Insufficient Authorization,
 Read By Type              Read By Type
                                              Yes        Insufficient Authentication,
 Request                   Response
                                                         Insufficient Encryption,
                                                         Insufficient Encryption Key Size,
                                                         Read Not Permitted,
                                                         Application Error

                                                         Invalid Handle,
                                                         Insufficient Authorization,
                                                         Insufficient Authentication,
 Read Request              Read Response      Yes        Insufficient Encryption,
                                                         Insufficient Encryption Key Size,
                                                         Read Not Permitted,
                                                         Application Error

Table 3.38: Attribute Request and Response Summary




Protocol Requirements                                                        06 December 2016
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Attribute Protocol (ATT)


                                            Error
 Attribute PDU             Successful       Response
 Method                    Response         Allowed    Error Response Error Codes

                                                       Invalid Handle,
                                                       Request Not Supported,
                                                       Insufficient Authorization,
                                                       Insufficient Authentication,
                           Read Blob                   Insufficient Encryption,
 Read Blob Request                          Yes
                           Response                    Insufficient Encryption Key Size,
                                                       Read Not Permitted,
                                                       Invalid Offset,
                                                       Attribute Not Long,
                                                       Application Error

                                                       Invalid Handle,
                                                       Request Not Supported,
                                                       Insufficient Authorization,
 Read Multiple             Read Multiple               Insufficient Authentication,
                                            Yes
 Request                   Response                    Insufficient Encryption,
                                                       Insufficient Encryption Key Size,
                                                       Read Not Permitted,
                                                       Application Error

                                                       Invalid Handle,
                                                       Request Not Supported,
                                                       Attribute Not Found,
                                                       Insufficient Authorization,

 Read by Group Type        Read by Group               Insufficient Authentication,
                                            Yes
 Request                   Type Response               Insufficient Encryption,
                                                       Insufficient Encryption Key Size
                                                       Read Not Permitted,
                                                       Unsupported Group Type,
                                                       Application Error

                                                       Invalid Handle,
                                                       Request Not Supported,
                                                       Insufficient Authorization,
                                                       Insufficient Authentication,
 Write Request             Write Response   Yes        Insufficient Encryption,
                                                       Insufficient Encryption Key Size,
                                                       Write Not Permitted,
                                                       Invalid Attribute Value Length,
                                                       Application Error

Table 3.38: Attribute Request and Response Summary


Protocol Requirements                                                        06 December 2016
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Attribute Protocol (ATT)


                                           Error
 Attribute PDU             Successful      Response
 Method                    Response        Allowed    Error Response Error Codes

 Write Command             N/A             No

 Signed Write              N/A             No
 Command

                                                      Invalid Handle,
                                                      Request Not Supported,
                                                      Insufficient Authorization,
                                                      Insufficient Authentication,
 Prepare Write             Prepare Write
                                           Yes        Write Not Permitted,
 Request                   Response
                                                      Prepare Queue Full,
                                                      Insufficient Encryption,
                                                      Insufficient Encryption Key Size,
                                                      Application Error

                                                      Application Error,
 Execute Write             Execute Write
                                           Yes        Invalid Offset,
 Request                   Response
                                                      Invalid Attribute Value Length

 Handle Value              N/A             No
 Notification

 Handle Value              Handle Value
                                           No
 Indication                Confirmation

Table 3.38: Attribute Request and Response Summary




Protocol Requirements                                                      06 December 2016
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Attribute Protocol (ATT)


4 SECURITY CONSIDERATIONS

The attribute protocol can be used to access information that may require both
authorization and an authenticated and encrypted physical link before an
attribute can be read or written.

If such a request is issued when the client has not been authorized to access
this information, the server shall send an Error Response with the error code
set to «Insufficient Authorization». The authorization requirements for access
to a given attribute are not defined in this specification. Each device
implementation will determine how authorization occurs. Authorization
procedures are defined in GAP, and may be further refined in a higher layer
specification.

If such a request is issued when the physical link is unauthenticated, the server
shall send an Error Response with the error code set to «Insufficient
Authentication». A client wanting to read or write this attribute can then request
that the physical link be authenticated, and once this has been completed,
send the request again.

The attribute protocol can be used to notify or indicate the value of an attribute
that may require an authenticated and encrypted physical link before an
attribute notification or indication is performed. A server wanting to notify or
indicate this attribute can then request that the physical link be authenticated,
and once this has been completed, send the notification or indication.

The list of attributes that a device supports is not considered private or
confidential information, and therefore the Find Information Request shall
always be permitted. This implies that an «Insufficient Authorization» or
«Insufficient Authentication» error code shall not be used in an Error Response
for a Find Information Request.

For example, an attribute value may be allowed to be read by any device, but
only written by an authenticated device. An implementation should take this
into account, and not assume that just because it can read an attribute’s value,
it will also be able to write the value. Similarly, just because an attribute value
can be written, does not mean that an attribute value can also be read. Each
individual attribute could have different security requirements.

When a client accesses an attribute, the order of checks that are performed on
the server will have security implications. A server shall check authentication
and authorization requirements before any other check is performed.

Note: For example, if the authentication and authorization requirement checks
are not performed first then the size of an attribute could be determined by
performing repeated read blob requests on an attribute that a client does not
have access to, because either an «Invalid Offset» error code or «Insufficient
Authentication» error codes would be returned.


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                   Core System Package [Host volume]
                                              Part G




           PART G: GENERIC ATTRIBUTE
                      PROFILE (GATT)




                          This specification defines the Generic
                          Attribute Profile that describes a
                          service framework using the Attribute
                          Protocol for discovering services, and
                          for reading and writing characteristic
                          values on a peer device.




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Generic Attribute Profile (GATT)


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Generic Attribute Profile (GATT)


1 INTRODUCTION

1.1 SCOPE
The Generic Attribute Profile (GATT) defines a service framework using the
Attribute Protocol. This framework defines procedures and formats of services
and their characteristics. The procedures defined include discovering, reading,
writing, notifying and indicating characteristics, as well as configuring the
broadcast of characteristics.

1.2 PROFILE DEPENDENCY



       Generic Access Profile


               Generic Attribute Profile


                  Example Application
                       Profile




Figure 1.1: Profile dependencies


Figure 1.1 depicts the structure and the dependencies of the profiles. A profile
is dependent upon another profile if it re-uses parts of that profile by implicitly
or explicitly referencing it.

1.3 CONFORMANCE
If conformance to this profile is claimed, all capabilities indicated as mandatory
for this profile shall be supported in the specified manner (process-mandatory).
This also applies for all optional and conditional capabilities for which support is
indicated. All mandatory capabilities, and optional and conditional capabilities
for which support is indicated, are subject to verification as part of the
Bluetooth qualification program.




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Generic Attribute Profile (GATT)


1.4 BLUETOOTH SPECIFICATION RELEASE COMPATIBILITY
This specification can be used with Bluetooth Core Specification Version 1.2 or
later when using the profile on the BR/EDR physical link and Bluetooth Core
Specification Version 4.0 or later when using the profile on the LE physical link.

1.5 CONVENTIONS
In this specification the use of literal terms such as procedure, PDUs, opcodes
or function names appear in italics. Specific names of fields in structures,
packets, etc. also appear in italics. The use of « » (e.g. «Primary Service»)
indicates a UUID or an Attribute Protocol error code (see [Vol 3] Part F, Table
3.3).




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Generic Attribute Profile (GATT)


2 PROFILE OVERVIEW

The GATT profile is designed to be used by an application or another profile, so
that a client can communicate with a server. The server contains a number of
attributes, and the GATT Profile defines how to use the Attribute Protocol to
discover, read, write and obtain indications of these attributes, as well as
configuring broadcast of attributes.

2.1 PROTOCOL STACK
Figure 2.1 shows the peer protocols used by this profile.




       Application                           Application

          Attribute                            Attribute
          Protocol                             Protocol

           L2CAP                                L2CAP


        Controller                            Controller

Figure 2.1: Protocol model


2.2 CONFIGURATIONS AND ROLES
The following roles are defined for devices that implement this profile:

Client—This is the device that initiates commands and requests towards the
server and can receive responses, indications and notifications sent by the
server.

Server—This is the device that accepts incoming commands and requests
from the client and sends responses, indications and notifications to a client.

Note: The roles are not fixed to the device. The roles are determined when a
device initiates a defined procedure, and they are released when the
procedure ends.



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Generic Attribute Profile (GATT)

A device can act in both roles at the same time.

An example of configurations illustrating the roles for this profile is depicted in
Figure 2.2.




Figure 2.2: Examples of configuration


In Figure 2.2, the computer is the temperature service client and the sensor is
the temperature service server. The computer initiates procedures to configure
the sensor or to read the sensor values. In this example the sensor provides
information about the characteristics the sensor device exposes as part of the
temperature service and may permit some characteristics to be written. Also,
the sensor responds to read requests with the appropriate values.

2.3 USER REQUIREMENTS AND SCENARIOS
The following scenarios are covered by this profile:
• Exchanging configuration
• Discovery of services and characteristics on a device
• Reading a characteristic value
• Writing a characteristic value
• Notification of a characteristic value
• Indication of a characteristic value

2.4 PROFILE FUNDAMENTALS
This profile can be used over any physical link, using the Attribute Protocol
L2CAP channel, known as the ATT Bearer. Here is a brief summary of lower
layer requirements communication between the client and the server.
• An ATT Bearer is established using “Channel Establishment” as defined in
  Section 6.


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Generic Attribute Profile (GATT)

• The profile roles are not tied to the Controller master/slave roles.
• On an LE Physical link, use of security features such as authorization,
  authentication and encryption are optional. On a BR/EDR physical link
  encryption is mandatory.
• Multi-octet fields within the GATT Profile shall be sent least significant octet
  first (little endian).

2.5 ATTRIBUTE PROTOCOL
The GATT Profile requires the implementation of the Attribute Protocol (ATT)
and the required Attribute opcodes indicated in Section 4.2 and Section 4.13.

2.5.1 Overview

The GATT Profile uses the Attribute Protocol to transport data in the form of
commands, requests, responses, indications, notifications and confirmations
between devices. This data is contained in Attribute Protocol PDUs.


         1 Octet             Variable Length        12 Octets (when present)



         Opcode            Attribute Parameters     Authentication Signature



Figure 2.3: Attribute Protocol PDU


The Opcode contains the specific command, request, response, indication,
notification or confirmation opcode and a flag for authentication. The Attribute
Parameters contain data for the specific command or request or the data
returned in a response, indication or notification. The Authentication Signature
is optional and is described in [Vol 3] Part H, Section 2.4.5.

Attribute Protocol commands and requests act on values stored in Attributes
on the server device. An Attribute is composed of four parts: Attribute Handle,
Attribute Type, Attribute Value, and Attribute Permissions. Figure 2.4 shows a
logical representation of an Attribute. The actual representation for a given
implementation is specific to that implementation.


                                                                                 implementation
        2 Octets       2 or 16 Octets             variable length                    specific



    Attribute Handle   Attribute Type             Attribute Value              Attribute Permissions


Figure 2.4: Logical Attribute Representation




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The Attribute Handle is an index corresponding to a specific Attribute. The
Attribute Type is a UUID that describes the Attribute Value. The Attribute Value
is the data described by the Attribute Type and indexed by the Attribute Handle.
The Attributes are ordered by increasing Attribute Handle values. Attribute
Handle values may begin at any value between 0x0001 and 0xFFFF. Although
the Attribute Handle values are in increasing order, following Attribute Handle
values may differ by more than one. That is to say there may be gaps between
successive Attribute Handles. When this specification requires two attribute
handles to be adjacent or for one to immediately follow one the other, such
gaps are still permitted and shall be ignored.

Attribute Permissions is part of the Attribute that cannot be read from or written
to using the Attribute Protocol. It is used by the server to determine whether
read or write access is permitted for a given attribute. Attribute Permissions are
established by the GATT profile, a higher layer profile or are implementation
specific if not specified.

2.5.2 Attribute Caching

Attribute caching is an optimization that allows the client to discover the
Attribute information such as Attribute Handles used by the server once and
use the same Attribute information across reconnections without rediscovery.
Without caching the Attribute information, the client shall rediscover the
Attribute information at each reconnection. With caching, time is saved and a
significant amount of packets exchanged between the client and server is not
required. The Attribute information that shall be cached by a client is the
Attribute Handles of all server attributes and the GATT service characteristics
values.

Attribute Handles used by the server should not change over time. This means
that once an Attribute Handle is discovered by a client the Attribute Handle for
that Attribute should not be changed.

Some circumstances may cause servers to change the Attribute Handles used
for services, perhaps due to a factory reset or a firmware upgrade procedure
being performed. The following is only required on the server if the services on
the server can be added, modified or removed. If GATT based services on the
server cannot be changed during the usable lifetime of the device, the Service
Changed characteristic shall not exist on the server and the client does not
need to ever perform service discovery after the initial service discovery for that
server.

To support caching when a server supports changes in GATT based services,
an indication is sent by the server to clients when a service is added, removed,
or modified on the server. A GATT based service is considered modified if the
binding of the Attribute Handles to the associated Attributes grouped within a
service definition are changed. Any change to the GATT service definition
characteristic values other than the Service Changed characteristic value itself
shall also be considered a modification.

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For clients that have a trusted relationship (i.e. bond) with the server, the
attribute cache is valid across connections. For clients with a trusted
relationship and not in a connection when a service change occurs, the server
shall send an indication when the client reconnects to the server (see Section
7.1). For clients that do not have a trusted relationship with the server, the
attribute cache is valid only during the connection. Clients without a trusted
relationship shall receive an indication when the service change occurs only
during the current connection.

Note: Clients without a trusted relationship must perform service discovery on
each connection if the server supports the Service Changed characteristic.

The server shall send a Handle Value Indication containing the range of
affected Attribute Handles that shall be considered invalid in the client’s
attribute cache. The start Attribute Handle shall be the start Attribute Handle of
the service definition containing the change and the end Attribute Handle shall
be the last Attribute Handle of the service definition containing the change. The
value in the indication is composed of two 16-bit Attribute Handles
concatenated to indicate the affected Attribute Handle range.

Note: A server may set the affected Attribute Handle range to 0x0001 to
0xFFFF to indicate to the client to rediscover the entire set of Attribute Handles
on the server.

The client, upon receiving a Handle Value Indication containing the range of
affected Attribute Handles, shall consider the attribute cache invalid over the
affected Attribute Handle range. Any outstanding request transaction shall be
considered invalid if the Attribute Handle is contained within the affected
Attribute Handle range. The client must perform service discovery before the
client uses any service that has an attribute within the affected Attribute Handle
range.

Once the server has received the Handle Value Confirmation, the server can
consider the client to be aware of the updated Attribute Handles.

The client shall consider the affected Attribute Handle range to be invalid in its
attribute cache and perform the discovery procedures to restore the attribute
cache. The server shall store service changed information for all bonded
devices.

2.5.3 Attribute Grouping

Generic attribute profile defines grouping of attributes for three attribute types:
«Primary Service», «Secondary Service» and «Characteristic». A group begins
with a declaration, and ends as defined in Section 3.1 for services and Section
3.3 for characteristics. Not all of the grouping attributes can be used in the ATT
Read By Group Type Request. The «Primary Service» and «Secondary
Service» grouping types may be used in the Read By Group Type Request.



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The «Characteristic» grouping type shall not be used in the ATT Read By
Group Type Request.

2.5.4 UUIDs

All 16-bit UUIDs shall be contained in exactly 2 octets. All 128-bit UUIDs shall
be contained in exactly 16 octets.

All 32-bit UUIDs shall be converted to 128-bit UUIDs when the UUID is
contained in an ATT PDU. See [Vol 3] Part B, Section 2.5.1 for the method of
conversion.




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2.6 GATT PROFILE HIERARCHY

2.6.1 Overview

The GATT Profile specifies the structure in which profile data is exchanged.
This structure defines basic elements such as services and characteristics,
used in a profile. All of the elements are contained by Attributes. Attributes
used in the Attribute Protocol are containers that carry this profile data.

The top level of the hierarchy is a profile. A profile is composed of one or more
services necessary to fulfill a use case. A service is composed of characteristics
or references to other services. Each characteristic contains a value and may
contain optional information about the value. The service and characteristic and
the components of the characteristic (i.e. value and descriptors) contain the
profile data and are all stored in Attributes on the server.


          Profile

              Service                       Service

                            Include                     Include



                            Include                     Include


                   Characteristic              Characteristic
                          Properties                  Properties

                            Value                       Value

                          Descriptor                  Descriptor


                          Descriptor                  Descriptor




                   Characteristic              Characteristic
                          Properties                  Properties

                            Value                       Value

                          Descriptor                  Descriptor


                          Descriptor                  Descriptor




Figure 2.5: GATT Profile hierarchy

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2.6.2 Service

A service is a collection of data and associated behaviors to accomplish a
particular function or feature. In GATT, a service is defined by its service
definition. A service definition may contain referenced services, mandatory
characteristics and optional characteristics.

To maintain backward compatibility with earlier clients, later versions of a
service definition can only add new referenced services or optional
characteristics. Later versions of a service definition are forbidden from
changing behaviors from previous versions of the service definition.

There are two types of services: primary service and secondary service. A
primary service is a service that exposes the primary usable functionality of this
device. A primary service can be included by another service. Primary services
can be discovered using Primary Service Discovery procedures. A secondary
service is a service that is only intended to be referenced from a primary
service or another secondary service or other higher layer specification. A
secondary service is only relevant in the context of the entity that references it.

The determination of whether a service is either a primary or secondary service
can be mandated by a higher layer specification.

Services may be used in one or more higher layer specifications to fulfill a
particular use case.

The service definition is described in Section 3.1.

2.6.3 Included Services

An included service is a method to reference another service definition existing
on the server into the service being defined. To include another service, an
include definition is used at the beginning of the service definition. When a
service definition uses an include definition to reference the included service,
the entire included service definition becomes part of the new service
definition. This includes all the included services and characteristics of the
included service. The included service still exists as an independent service. A
service that is included by another service shall not be changed by the act of
inclusion or by the including service. There are no limits to the number of
include definitions or the depth of nested includes in a service definition.

The include definition is described in Section 3.2.




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2.6.4 Characteristic

A characteristic is a value used in a service along with properties and
configuration information about how the value is accessed and information
about how the value is displayed or represented. In GATT, a characteristic is
defined by its characteristic definition. A characteristic definition contains a
characteristic declaration, characteristic properties, and a value and may
contain descriptors that describe the value or permit configuration of the server
with respect to the characteristic.

The characteristic definition is described in Section 3.3.

2.7 CONFIGURED BROADCAST
For LE physical links, Configured Broadcast is a method for a client to indicate
to a server which Characteristic Value shall be broadcast in the advertising
data when the server is executing the broadcast mode procedure. For BR/EDR
physical links, Configured Broadcast is not supported.

To configure a Characteristic Value to be broadcast by the server when in
broadcast mode, the client sets the broadcast configuration bit described in
Section 3.3.3.4. The frequency of the broadcast is part of the service behavior
definition.




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3 SERVICE INTEROPERABILITY REQUIREMENTS

3.1 SERVICE DEFINITION
A service definition shall contain a service declaration and may contain include
definitions and characteristic definitions. The service definition ends before the
next service declaration or after the maximum Attribute Handle is reached.
Service definitions appear on the server in an order based on Attribute Handle.

All include definitions and characteristic definitions contained within the service
definition are considered to be part of the service. All include definitions shall
immediately follow the service declaration and precede any characteristic
definitions. A service definition may have zero or more include definitions. All
characteristic definitions shall be immediately following the last include
definition or in the event of no include definitions, immediately following the
service declaration. A service definition may have zero or more characteristic
definitions. There is no upper limit for include or characteristic definitions.

A service declaration is an Attribute with the Attribute Type set to the UUID for
«Primary Service» or «Secondary Service». The Attribute Value shall be the
16-bit Bluetooth UUID or 128-bit UUID for the service, known as the service
UUID. A client shall support the use of both 16-bit and 128-bit UUIDs. A client
may ignore any service definition with an unknown service UUID. An unknown
service UUID is a UUID for an unsupported service. The Attribute Permissions
shall be read-only and shall not require authentication or authorization.

When multiple services exist, services definitions with service declarations
using 16-bit Bluetooth UUID should be grouped together (i.e. listed
sequentially) and services definitions with service declarations using 128-bit
UUID should be grouped together.

 Attribute                                                                Attribute
 Handle           Attribute Type               Attribute Value            Permission

 0xNNNN           0x2800 – UUID for «Primary   16-bit Bluetooth UUID or   Read Only,
                  Service» OR 0x2801 for       128-bit UUID for Service   No Authentication,
                  «Secondary Service»                                     No Authorization

Table 3.1: Service Declaration

A device or higher level specification may have multiple service definitions and
may have multiple service definitions with the same service UUID.

All Attributes on a Server shall either contain a service declaration or exist
within a service definition.

Service definitions contained in a server may appear in any order; a client shall
not assume the order of service definitions on a server.



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3.2 INCLUDE DEFINITION
An include definition shall contain only one include declaration.

The include declaration is an Attribute with the Attribute Type set to the UUID
for «Include». The Attribute Value shall be set to the included service Attribute
Handle, the End Group Handle, and the service UUID. The Service UUID shall
only be present when the UUID is a 16-bit Bluetooth UUID.The Attribute
Permissions shall be read only and not require authentication or authorization.

 Attribute       Attribute
 Handle          Type                          Attribute Value             Attribute Permission

 0xNNNN          0x2802 –          Included      End Group       Service   Read Only,
                 UUID for          Service       Handle          UUID      No Authentication,
                 «Include»         Attribute                               No Authorization
                                   Handle

Table 3.2: Include Declaration

A server shall not contain a service definition with an include definition to
another service that references the original service. This applies to each of the
services the included definition references. This is referred to as a circular
reference.

If the client detects a circular reference or detects nested include declarations
to a greater level than it expects, it should terminate the ATT Bearer.

3.3 CHARACTERISTIC DEFINITION
A characteristic definition shall contain a characteristic declaration, a
Characteristic Value declaration and may contain characteristic descriptor
declarations. A characteristic definition ends at the start of the next
characteristic declaration or service declaration or after the maximum Attribute
Handle. Characteristic definitions appear on the server within a service
definition in an order based on Attribute Handle.

Each declaration above is contained in a separate Attribute. The two required
declarations are the characteristic declaration and the Characteristic Value
declaration. The Characteristic Value declaration shall exist immediately
following the characteristic declaration. Any optional characteristic descriptor
declarations are placed after the Characteristic Value declaration. The order of
the optional characteristic descriptor declarations is not significant.

A characteristic definition may be defined to concatenate several Characteristic
Values into a single aggregated Characteristic Value. This may be used to
optimize read and writes of multiple Characteristic Values through the reading
and writing of a single aggregated Characteristic Value. This type of
characteristic definition is the same as a normal characteristic definition. The
characteristic declaration shall use a characteristic UUID that is unique to the


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aggregated characteristic definition. The aggregated characteristic definition
may also contain a characteristic aggregate format descriptor that describes
the display format of the aggregated Characteristic Value.

3.3.1 Characteristic Declaration

A characteristic declaration is an Attribute with the Attribute Type set to the
UUID for «Characteristic» and Attribute Value set to the Characteristic
Properties, Characteristic Value Attribute Handle and Characteristic UUID. The
Attribute Permissions shall be readable and not require authentication or
authorization.

The characteristic declaration Attribute Value shall not change while the server
has a trusted relationship with any client.

 Attribute       Attribute                                                            Attribute
 Handle          Types                                Attribute Value                 Permissions

 0xNNNN          0x2803–UUID             Charac-       Character-     Character-      Read Only,
                 for                     teristic      istic Value    istic UUID      No Authentication,
                 «Characteristic»        Properties    Attribute                      No Authorization
                                                       Handle

Table 3.3: Characteristic declaration

The Attribute Value of a characteristic declaration is read only.

 Attribute Value              Size                    Description

 Characteristic               1 octets                Bit field of characteristic properties
 Properties

 Characteristic               2 octets                Handle of the Attribute containing the value of
 Value Handle                                         this characteristic
 Characteristic UUID          2 or 16 octets          16-bit Bluetooth UUID or 128-bit UUID for Char-
                                                      acteristic Value

Table 3.4: Attribute Value Field in characteristic declaration

A service may have multiple characteristic definitions with the same
Characteristic UUID.

Within a service definition, some characteristics may be mandatory and those
characteristics shall be located after the include declarations and before any
optional characteristics within the service definition. A client shall not assume
any order of those characteristics that are mandatory or any order of those
characteristics that are optional within a service definition. Whenever possible
and within the requirements stated earlier, characteristics definitions with
characteristic declarations using 16-bit Bluetooth UUIDs should be grouped
together (i.e. listed sequentially) and characteristics definitions with
characteristic declarations using 128-bit UUIDs should be grouped together.


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3.3.1.1 Characteristic Properties

The Characteristic Properties bit field determines how the Characteristic Value
can be used, or how the characteristic descriptors (see Section 3.3.3) can be
accessed. If the bits defined in Table 3 5 are set, the action described is
permitted. Multiple Characteristic Properties can be set.

These bits shall be set according to the procedures allowed for this
characteristic, as defined by higher layer specifications, without regard to
security requirements.

 Properties            Value      Description

 Broadcast             0x01       If set, permits broadcasts of the Characteristic Value using
                                  Server Characteristic Configuration Descriptor. If set, the Server
                                  Characteristic Configuration Descriptor shall exist.

 Read                  0x02       If set, permits reads of the Characteristic Value using procedures
                                  defined in Section 4.8
 Write Without         0x04       If set, permit writes of the Characteristic Value without response
 Response                         using procedures defined in Section 4.9.1.
 Write                 0x08       If set, permits writes of the Characteristic Value with response
                                  using procedures defined in Section 4.9.3 or Section 4.9.4.

 Notify                0x10       If set, permits notifications of a Characteristic Value without
                                  acknowledgment using the procedure defined in Section 4.10. If
                                  set, the Client Characteristic Configuration Descriptor shall exist.
 Indicate              0x20       If set, permits indications of a Characteristic Value with acknowl-
                                  edgment using the procedure defined in Section 4.11. If set, the
                                  Client Characteristic Configuration Descriptor shall exist.
 Authenticated         0x40       If set, permits signed writes to the Characteristic Value using the
 Signed Writes                    procedure defined in Section 4.9.2.

 Extended              0x80       If set, additional characteristic properties are defined in the Char-
 Properties                       acteristic Extended Properties Descriptor defined in Section
                                  3.3.3.1. If set, the Characteristic Extended Properties Descriptor
                                  shall exist.
Table 3.5: Characteristic Properties bit field


3.3.1.2 Characteristic Value Attribute Handle

The Characteristic Value Attribute Handle field is the Attribute Handle of the
Attribute that contains the Characteristic Value.

3.3.1.3 Characteristic UUID

The Characteristic UUID field is a 16-bit Bluetooth UUID or 128-bit UUID that
describes the type of Characteristic Value. A client shall support the use of both
16-bit and 128-bit Characteristic UUIDs. A client may ignore any characteristic



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definition with an unknown Characteristic UUID. An unknown characteristic
UUID is a UUID for an unsupported characteristic.

3.3.2 Characteristic Value Declaration

The Characteristic Value declaration contains the value of the characteristic. It
is the first Attribute after the characteristic declaration. All characteristic
definitions shall have a Characteristic Value declaration.

A Characteristic Value declaration is an Attribute with the Attribute Type set to
the 16-bit Bluetooth or 128-bit UUID for the Characteristic Value used in the
characteristic declaration. The Attribute Value is set to the Characteristic Value.
The Attribute Permissions are specified by the service or may be
implementation specific if not specified otherwise.

 Attribute
 Handle          Attribute Type               Attribute Value        Attribute Permissions

 0xNNNN          0xuuuu – 16-bit Bluetooth    Characteristic Value   Higher layer profile or
                 UUID or 128-bit UUID for                            implementation specific
                 Characteristic UUID

Table 3.6: Characteristic Value declaration


3.3.3 Characteristic Descriptor Declarations

Characteristic descriptors are used to contain related information about the
Characteristic Value. The GATT profile defines a standard set of characteristic
descriptors that can be used by higher layer profiles. Higher layer profiles may
define additional characteristic descriptors that are profile specific. Each
characteristic descriptor is identified by the characteristic descriptor UUID. A
client shall support the use of both 16-bit and 128-bit characteristic descriptor
UUIDs. A client may ignore any characteristic descriptor declaration with an
unknown characteristic descriptor UUID. An unknown characteristic descriptor
UUID is a UUID for an unsupported characteristic descriptor.

Characteristic descriptors if present within a characteristic definition shall follow
the Characteristic Value declaration. The characteristic descriptor declaration
may appear in any order within the characteristic definition. The client shall not
assume the order in which a characteristic descriptor declaration appears in a
characteristic definition following the Characteristic Value declaration.

Characteristic descriptor declaration permissions are defined by a higher layer
profile or are implementation specific. A client shall not assume all
characteristic descriptor declarations are readable.




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3.3.3.1 Characteristic Extended Properties

The Characteristic Extended Properties declaration is a descriptor that defines
additional Characteristic Properties. If the Extended Properties bit of the
Characteristic Properties is set then this characteristic descriptor shall exist.
The characteristic descriptor may occur in any position within the characteristic
definition after the Characteristic Value. Only one Characteristic Extended
Properties declaration shall exist in a characteristic definition.

The characteristic descriptor is contained in an Attribute and the Attribute Type
shall be set to the UUID for «Characteristic Extended Properties» and the
Attribute Value shall be the Characteristic Extended Properties Bit Field. The
Attribute Permissions shall be readable without authentication and
authorization being required.

 Attribute                                                                      Attribute
 Handle           Attribute Type                   Attribute Value              Permissions

 0xNNNN           0x2900 – UUID for «Charac-       Characteristic Extended      Read Only,
                  teristic Extended Properties»    Properties Bit Field         No Authentication,
                                                                                No Authorization
Table 3.7: Characteristic Extended Properties declaration

The Characteristic Extended Properties bit field describes additional properties
on how the Characteristic Value can be used, or how the characteristic
descriptors (see Section 3.3.3.3) can be accessed. If the bits defined in Table 3
8 are set, the action described is permitted. Multiple Characteristic Properties
can be set.

 Properties                        Value    Description

 Reliable Write                    0x0001   If set, permits reliable writes of the Characteristic
                                            Value using the procedure defined in Section 4.9.5

 Writable Auxiliaries              0x0002   If set, permits writes to the characteristic descriptor
                                            defined in Section 3.3.3.2
 Reserved for Future Use           0xFFFC   Reserved for Future Use
Table 3.8: Characteristic Extended Properties bit field




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3.3.3.2 Characteristic User Description

The Characteristic User Description declaration is an optional characteristic
descriptor that defines a UTF-8 string of variable size that is a user textual
description of the Characteristic Value. If the Writable Auxiliary bit of the
Characteristic Properties is set then this characteristic descriptor can be
written. The characteristic descriptor may occur in any position within the
characteristic definition after the Characteristic Value. Only one Characteristic
User Description declaration shall exist in a characteristic definition.

The characteristic descriptor is contained in an Attribute and the Attribute Type
shall be set to the UUID for «Characteristic User Description» and the Attribute
Value shall be set to the characteristic user description UTF-8 string. The
Attribute Permissions are specified by the profile or may be implementation
specific if not specified otherwise.

 Attribute
 Handle          Attribute Type         Attribute Value            Attribute Permissions

 0xNNNN          0x2901 – UUID for      Characteristic User        Higher layer profile or
                 «Characteristic User   Description UTF-8 String   implementation specific
                 Description»
Table 3.9: Characteristic User Description declaration


3.3.3.3 Client Characteristic Configuration

The Client Characteristic Configuration declaration is an optional characteristic
descriptor that defines how the characteristic may be configured by a specific
client. The Client Characteristic Configuration descriptor value shall be
persistent across connections for bonded devices. The Client Characteristic
Configuration descriptor value shall be set to the default value at each
connection with non-bonded devices.The characteristic descriptor value is a bit
field. When a bit is set, that action shall be enabled, otherwise it will not be
used. The Client Characteristic Configuration descriptor may occur in any
position within the characteristic definition after the Characteristic Value. Only
one Client Characteristic Configuration declaration shall exist in a
characteristic definition.

A client may write this configuration descriptor to control the configuration of
this characteristic on the server for the client. Each client has its own
instantiation of the Client Characteristic Configuration. Reads of the Client
Characteristic Configuration only shows the configuration for that client and
writes only affect the configuration of that client. Authentication and
authorization may be required by the server to write the configuration
descriptor. The Client Characteristic Configuration declaration shall be
readable and writable.




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The characteristic descriptor is contained in an Attribute. The Attribute Type
shall be set to the UUID for «Client Characteristic Configuration». The Attribute
Value shall be set to the characteristic descriptor value. The Attribute
Permissions are specified by the profile or may be implementation specific if
not specified otherwise.

 Attribute
 Handle            Attribute Type              Attribute Value       Attribute Permissions

 0xNNNN            0x2902 – UUID for           Characteristic        Readable with no authentica-
                   «Client Characteristic      Configuration Bits    tion or authorization.
                   Configuration»                                    Writable with authentication
                                                                     and authorization defined by a
                                                                     higher layer specification or is
                                                                     implementation specific.

Table 3.10: Client Characteristic Configuration declaration

The following Client Characteristic Configuration bits are defined:

 Configuration         Value        Description

 Notification          0x0001       The Characteristic Value shall be notified.This value can only
                                    be set if the characteristic’s property has the notify bit set.

 Indication            0x0002       The Characteristic Value shall be indicated. This value can only
                                    be set if the characteristic’s property has the indicate bit set.
 Reserved for          0xFFFC       Reserved for future use.
 Future Use
Table 3.11: Client Characteristic Configuration bit field definition

The default value for the Client Characteristic Configuration descriptor value
shall be 0x0000.

In the case where multiple ATT bearers from the same device are supported by
the GATT server, each ATT bearer shall be considered to have a separate
GATT client instance. Therefore each GATT client shall have a separate Client
Characteristic Configuration.




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3.3.3.4 Server Characteristic Configuration

The Server Characteristic Configuration declaration is an optional
characteristic descriptor that defines how the characteristic may be configured
for the server. The characteristic descriptor value is a bit field. When a bit is set,
that action shall be enabled, otherwise it will not be used. The Server
Characteristic Configuration descriptor may occur in any position within the
characteristic definition after the Characteristic Value. Only one Server
Characteristic Configuration declaration shall exist in a characteristic definition.
The Server Characteristic Configuration declaration shall be readable and
writable.

A client may write this configuration descriptor to control the configuration of
this characteristic on the server for all clients. There is a single instantiation of
the Server Characteristic Configuration for all clients. Reads of the Server
Characteristic Configuration shows the configuration all clients and writes
affect the configuration for all clients. Authentication and authorization may be
required by the server to write the configuration descriptor.

The characteristic descriptor is contained in an Attribute. The Attribute Type
shall be set to the UUID for «Server Characteristic Configuration». The
Attribute Value shall be set to the characteristic descriptor value. The Attribute
Permissions are specified by the profile or may be implementation specific if
not specified otherwise.

 Attribute
 Handle           Attribute Type               Attribute Value         Attribute Permissions

 0xNNNN           0x2903 – UUID for            Characteristic          Readable with no authentica-
                  «Server Characteristic       Configuration Bits      tion or authorization.
                  Configuration»                                       Writable with authentication
                                                                       and authorization defined by a
                                                                       higher layer specification or is
                                                                       implementation specific.

Table 3.12: Server Characteristic Configuration declaration

The following Server Characteristic Configuration bits are defined:

 Configuration         Value        Description

 Broadcast             0x0001       The Characteristic Value shall be broadcast when the server is
                                    in the broadcast procedure if advertising data resources are
                                    available. This value can only be set if the characteristic’s prop-
                                    erty has the broadcast bit set.
 Reserved for          0xFFFE       Reserved for future use.
 Future Use
Table 3.13: Server Characteristic Configuration bit field definition




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3.3.3.5 Characteristic Presentation Format

The Characteristic Presentation Format declaration is an optional characteristic
descriptor that defines the format of the Characteristic Value. The
characteristic descriptor may occur in any position within the characteristic
definition after the Characteristic Value. If more than one Characteristic
Presentation Format declarations exist, in a characteristic definition, then a
Characteristic Aggregate Format declaration shall exist as part of the
characteristic definition.

The characteristic format value is composed of five parts: format, exponent,
unit, name space, and description.

The characteristic descriptor is contained in an Attribute. The Attribute Type
shall be set to the UUID for «Characteristic Format». The Attribute Value shall
be set to the characteristic descriptor value. The Attribute Permissions shall be
read only and not require authentication or authorization.

Attribute                                                                            Attribute
Handle Attribute Type                   Attribute Value                              Permissions

0xNNNN 0x2904 – UUID for Format Exponent Unit Name Description Read only
       «Characteristic                        Space            No Authentication,
       Format»                                                 NO authorization

Table 3.14: Characteristic Format declaration

The definition of the Characteristic Presentation Format descriptor Attribute
Value field is the following.

 Field Name                      Value Size       Description

 Format                          1 octet          Format of the value of this characteristic.
 Exponent                        1 octet          Exponent field to determine how the value of this
                                                  characteristic is further formatted.

 Unit                            2 octets         The unit of this characteristic as defined in [1]
 Name Space                      1 octet          The name space of the description as defined in [1]
 Description                     2 octets         The description of this characteristic as defined in a
                                                  higher layer profile.

Table 3.15: Characteristic Format Value definition


3.3.3.5.1 Bit Ordering

The bit ordering used for the Characteristic Format descriptor shall be little-
endian.




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3.3.3.5.2 Format

The format field determines how a single value contained in the Characteristic
Value is formatted. If a format is not a whole number of octets, then the data
shall be stored in the smallest number of octets that can contain the value. The
data shall occupy the whole of each octet except the most significant bits of the
last octet; all other bits in the last octet shall be reserved for future use.

Signed integers shall use two's-complement representation.

The following format values are defined:

 Format               Short Name        Description                            Exponent Value

 0x00                 rfu               Reserved for Future Use                No
 0x01                 boolean           unsigned 1-bit; 0 = false, 1 = true    No

 0x02                 2bit              unsigned 2-bit integer                 No
 0x03                 nibble            unsigned 4-bit integer                 No

 0x04                 uint8             unsigned 8-bit integer                 Yes
 0x05                 uint12            unsigned 12-bit integer                Yes
 0x06                 uint16            unsigned 16-bit integer                Yes

 0x07                 uint24            unsigned 24-bit integer                Yes
 0x08                 uint32            unsigned 32-bit integer                Yes
 0x09                 uint48            unsigned 48-bit integer                Yes

 0x0A                 uint64            unsigned 64-bit integer                Yes
 0x0B                 uint128           unsigned 128-bit integer               Yes
 0x0C                 sint8             signed 8-bit integer                   Yes

 0x0D                 sint12            signed 12-bit integer                  Yes
 0x0E                 sint16            signed 16-bit integer                  Yes
 0x0F                 sint24            signed 24-bit integer                  Yes

 0x10                 sint32            signed 32-bit integer                  Yes
 0x11                 sint48            signed 48-bit integer                  Yes
 0x12                 sint64            signed 64-bit integer                  Yes

 0x13                 sint128           signed 128-bit integer                 Yes
 0x14                 float32           IEEE-754 32-bit floating point         No
 0x15                 float64           IEEE-754 64-bit floating point         No

 0x16                 SFLOAT            IEEE-11073 16-bit SFLOAT               No
 0x17                 FLOAT             IEEE-11073 32-bit FLOAT                No
Table 3.16: Characteristic Format types


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 Format               Short Name        Description                Exponent Value

 0x18                 duint16           IEEE-20601 format          No
 0x19                 utf8s             UTF-8 string               No
 0x1A                 utf16s            UTF-16 string              No

 0x1B                 struct            Opaque structure           No
 0x1C – 0xFF          rfu               Reserved for Future Use    No
Table 3.16: Characteristic Format types

When encoding an IPv4 address, the uint32 Format type shall be used.

When encoding an IPv6 address, the uint128 Format type shall be used.

When encoding a Bluetooth BD_ADDR, the uint48 Format type shall be used.

A duint16 is two uint16 values concatenated together.

3.3.3.5.3 Exponent

The exponent field is used with integer data types to determine how the value
is further formatted. The exponent field is only used on integer format types as
indicated in the format field in Table 3.16. The exponent field is a two's-
complement signed integer.
               actual value = Characteristic Value * 10Exponent

As can be seen in the above equation, the actual value is a combination of the
Characteristic Value and the value 10 to the power Exponent. This is
sometimes known as a fixed point number.

For example, if the Exponent is 2 and the Characteristic Value is 23, the actual
value would be 2300.

For example, if the Exponent is -3 and the Characteristic Value is 3892, the
actual value would be 3.892.

3.3.3.5.4 Unit

The Unit is a UUID as defined in the Assigned Numbers document [1].

3.3.3.5.5 Name Space

The Name Space field is used to identify the organization as defined in the
Assigned Numbers document [1], that is responsible for defining the
enumerations for the description field.




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3.3.3.5.6 Description

The Description is an enumerated value as defined in the Assigned Numbers
document [1] from the organization identified by the Name Space field.

3.3.3.6 Characteristic Aggregate Format

The Characteristic Aggregate Format declaration is an optional characteristic
descriptor that defines the format of an aggregated Characteristic Value.

The characteristic descriptor may occur in any position within the characteristic
definition after the Characteristic Value. Only one Characteristic Aggregate
Format declaration shall exist in a characteristic definition.

The Characteristic Aggregate Format value is composed of a list of Attribute
Handles of Characteristic Presentation Format declarations, where each
Attribute Handle points to a Characteristic Presentation Format declaration.

The Attribute Permissions shall be read only and not require authentication or
authorization.

 Attribute
 Handle          Attribute Type         Attribute Value                 Attribute Permissions

 0xNNNN          0x2905 – UUID for      List of Attribute Handles for   Read only
                 «Characteristic        the Characteristic Presenta-    No authentication
                 Aggregate Format»      tion Format Declarations        No authorization
Table 3.17: Characteristic Aggregate Format declaration

The List of Attribute Handles is the concatenation of multiple 16-bit Attribute
Handle values into a single Attribute Value. The list shall contain at least two
Attribute Handle for Characteristic Presentation Format declarations. The
Characteristic Value shall be decomposed by each of the Characteristic
Presentation Format declarations pointed to by the Attribute Handles. The
order of the Attribute Handles in the list is significant.

If more than one Characteristic Presentation Format declarations exist in a
characteristic definition, there shall also be one Characteristic Aggregate
Format declaration. The Characteristic Aggregate Format declaration shall
include each Characteristic Presentation Format declaration in the
characteristic definition in the list of Attribute Handles. Characteristic
Presentation Format declarations from other characteristic definitions may also
be used.

A Characteristic Aggregate Format declaration may exist without a
Characteristic Presentation Format declaration existing in the characteristic
definition. The Characteristic Aggregate Format declaration may use
Characteristic Presentation Format declarations from other characteristic
definitions.


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3.4 SUMMARY OF GATT PROFILE ATTRIBUTE TYPES
The following table summarizes the Attribute Types defined by the GATT
Profile.

 Attribute Type                  UUID     Description

 «Primary Service»               0x2800   Primary Service Declaration
 «Secondary Service»             0x2801   Secondary Service Declaration
 «Include»                       0x2802   Include Declaration

 «Characteristic»                0x2803   Characteristic Declaration
 «Characteristic                 0x2900   Characteristic Extended Properties
 Extended Properties»
 «Characteristic User            0x2901   Characteristic User Description Descriptor
 Description»
 «Client Characteristic          0x2902   Client Characteristic Configuration Descriptor
 Configuration»
 «Server Characteristic          0x2903   Server Characteristic Configuration Descriptor
 Configuration»

 «Characteristic For-            0x2904   Characteristic Format Descriptor
 mat»
 «Characteristic Aggre-          0x2905   Characteristic Aggregate Format Descriptor
 gate Format»
Table 3.18: Summary of GATT Profile Attribute types




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4 GATT FEATURE REQUIREMENTS

4.1 OVERVIEW
There are 11 features defined in the GATT Profile:
1. Server Configuration
2. Primary Service Discovery
3. Relationship Discovery
4. Characteristic Discovery
5. Characteristic Descriptor Discovery
6. Reading a Characteristic Value
7. Writing a Characteristic Value
8. Notification of a Characteristic Value
9. Indication of a Characteristic Value
10.Reading a Characteristic Descriptor
11.Writing a Characteristic Descriptor

Each of the features is mapped to procedures and sub-procedures. These
procedures and sub-procedures describe how the Attribute Protocol is used to
accomplish the corresponding feature.

4.2 FEATURE SUPPORT AND PROCEDURE MAPPING
The table below maps each feature to the procedures used for that feature, and
indicates whether the procedure is optional or mandatory for that feature. The
procedures are described in the referenced section.

 Item                                                                Support        Support
 No.      Feature           Sub-Procedure                    Ref.    in Client      in Server

 1        Server Con-       Exchange MTU                     4.3.1   O              O
          figuration

 2        Primary Ser-      Discover All Primary Ser-        4.4.1   O              M
          vice Discov-      vices
          ery
                            Discover Primary Services        4.4.2   O              M
                            By Service UUID

 3        Relationship      Find Included Services           4.5.1   O              M
          Discovery
 4        Characteris-      Discover All Characteristic of   4.6.1   O              M
          tic Discovery     a Service
                            Discover Characteristic by       4.6.2   O              M
                            UUID

Table 4.1: GATT feature mapping to procedures


GATT Feature Requirements                                                        06 December 2016
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 Item                                                                   Support        Support
 No.       Feature           Sub-Procedure                   Ref.       in Client      in Server

 5         Characteris-      Discover All Characteristic     4.7.1      O              M
           tic Descriptor    Descriptors
           Discovery
 6         Characteris-      Read Characteristic Value       4.8.1      O              M
           tic Value
           Read              Read Using Characteristic       4.8.24.8   O              M
                             UUID                            .1

                             Read Long Characteristic        4.8.34.8   O              O
                             Values                          .2
                             Read Multiple Characteristic    4.8.44.8   O              O
                             Values                          .3
 7         Characteris-      Write Without Response          4.9.1      O              C.1
           tic Value
           Write             Signed Write Without            4.9.2      O              O
                             Response
                             Write Characteristic Value      4.9.3      O              C.2

                             Write Long Characteristic       4.9.4      O              O
                             Values
                             Characteristic Value Reliable   4.9.5      O              O
                             Writes
 8         Characteris-      Notifications                   4.10.1     O              O
           tic Value Noti-
           fication

 9         Characteris-      Indications                     4.11.1     M              C3
           tic Value Indi-
           cation
 10        Characteris-      Read Characteristic Descrip-    4.12.1     O              O
           tic Descriptor    tors
           Value Read
                             Read Long Characteristic        4.12.2     O              O
                             Descriptors

 11        Characteris-      Write Characteristic Descrip-   4.12.3     O              O
           tic Descriptor    tors
           Value Write
                             Write Long Characteristic       4.12.4     O              O
                             Descriptors
     C1: Write Without Response is mandatory if Signed Write Without Response is sup-
       ported otherwise optional
     C2: Write Characteristic Value is mandatory if Write Long Characteristic Values is sup-
       ported otherwise optional
     C3: If Service Changed Characteristic is present, this feature is mandatory, otherwise
       optional.

Table 4.1: GATT feature mapping to procedures




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4.3 SERVER CONFIGURATION
This procedure is used by the client to configure the Attribute Protocol. This
procedure has only one sub-procedure used to set the MTU sizes.

4.3.1 Exchange MTU

This sub-procedure is used by the client to set the ATT_MTU to the maximum
possible value that can be supported by both devices when the client supports
a value greater than the default ATT_MTU for the Attribute Protocol. This sub-
procedure shall only be initiated once during a connection.

This sub-procedure shall not be used on a BR/EDR physical link since the
MTU size is negotiated using L2CAP channel configuration procedures.

The Attribute Protocol Exchange MTU Request is used by this sub-procedure.
The Client Rx MTU parameter shall be set to the maximum MTU that this client
can receive.

Two possible responses can be sent from the server for the Exchange MTU
Request: Exchange MTU Response and Error Response.

Error Response is returned if an error occurred on the server.

The server shall respond to this message with an Exchange MTU Response
with the Server Rx MTU parameter set to the maximum MTU that this server
can receive.

If the Error Response is sent by the server with the Error Code set to Request
Not Supported, the Attribute Opcode is not supported and the default MTU
shall be used.

Once the messages have been exchanged, the ATT_MTU shall be set to the
minimum of the Client Rx MTU and Server Rx MTU values.



            $MJFOU                                                   4FSWFS



                                   &YDIBOHF.563FRVFTU Y

                               &YDIBOHF.563FTQPOTF Y




Figure 4.1: Exchange MTU


For example, in Figure 4.1, based on the exchanged ATT_MTU value in the
ATT_MTU would be 0x0032.


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4.4 PRIMARY SERVICE DISCOVERY
This procedure is used by a client to discover primary services on a server.
Once the primary services are discovered, additional information about the
primary services can be accessed using other procedures, including
characteristic discovery and relationship discovery to find other related primary
and secondary services.

There are two sub-procedures that can be used for primary service discovery:
Discover All Primary Services and Discover Primary Services by Service UUID.

4.4.1 Discover All Primary Services

This sub-procedure is used by a client to discover all the primary services on a
server.

The Attribute Protocol Read By Group Type Request shall be used with the
Attribute Type parameter set to the UUID for «Primary Service». The Starting
Handle shall be set to 0x0001 and the Ending Handle shall be set to 0xFFFF.

Two possible responses can be sent from the server for the Read By Group
Type Request: Read By Group Type Response and Error Response.

Error Response is returned if an error occurred on the server.

Read By Group Type Response returns a list of Attribute Handle, End Group
Handle, and Attribute Value tuples corresponding to the services supported by
the server. Each Attribute Value contained in the response is the Service UUID
of a service supported by the server. The Attribute Handle is the handle for the
service declaration. The End Group Handle is the handle of the last attribute
within the service definition. The End Group Handle of the last service in a
device can be 0xFFFF. The Read By Group Type Request shall be called again
with the Starting Handle set to one greater than the last End Group Handle in
the Read By Group Type Response.

This sub-procedure is complete when the Error Response is received and the
Error Code is set to «Attribute Not Found» or when the End Group Handle in
the Read by Type Group Response is 0xFFFF.

It is permitted to end the sub-procedure early if a desired primary service is
found prior to discovering all the primary services on the server.

Note: The service declaration described in Section 3.1 specifies that the
service declaration is readable and requires no authentication or authorization,
therefore insufficient authentication or read not permitted errors shall not occur.




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             &OLHQW                                                          6HUYHU



                            5HDG%\*URXS7\SH5HTXHVW [[))))


                            5HDG%\*URXS7\SH5HVSRQVH [[




                            5HDG%\*URXS7\SH5HTXHVW [[))))


                            5HDG%\*URXS7\SH5HVSRQVH [[




                            5HDG%\*URXS7\SH5HTXHVW [[))))




                                   0x0500




Figure 4.2: Discover All Primary Services example


4.4.2 Discover Primary Service by Service UUID

This sub-procedure is used by a client to discover a specific primary service on
a server when only the Service UUID is known. The specific primary service
may exist multiple times on a server. The primary service being discovered is
identified by the service UUID.

The Attribute Protocol Find By Type Value Request shall be used with the
Attribute Type parameter set to the UUID for «Primary Service» and the
Attribute Value set to the 16-bit Bluetooth UUID or 128-bit UUID for the specific
primary service. The Starting Handle shall be set to 0x0001 and the Ending
Handle shall be set to 0xFFFF.

Two possible responses can be sent from the server for the Find By Type Value
Request: Find By Type Value Response and Error Response.

Error Response is returned if an error occurred on the server.

Find By Type Value Response returns a list of Attribute Handle ranges. The
Attribute Handle range is the starting handle and the ending handle of the
service definition. The End Group Handle of the last service in a device can be
0xFFFF. If the Attribute Handle range for the Service UUID being searched is
returned and the End Found Handle is not 0xFFFF, the Find By Type Value

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Request may be called again with the Starting Handle set to one greater than
the last Attribute Handle range in the Find By Type Value Response.

This sub-procedure is complete when the Error Response is received and the
Error Code is set to «Attribute Not Found» or when the End Group Handle in
the Find By Type Value Response is 0xFFFF.

It is permitted to end the sub-procedure early if a desired primary service is
found prior to discovering all the primary services of the specified service UUID
supported on the server.

Note: The service declaration described in Section 3.1 specifies that the
service declaration is readable and requires no authentication or authorization,
therefore insufficient authentication or read not permitted errors shall not occur.



            $MJFOU                                                           4FSWFS



                            'JOE#Z5ZQF7BMVF3FRVFTU Y Y''''
                                    `1SJNBSZ4FSWJDFa `66*%a

                            'JOE#Z5ZQF7BMVF3FTQPOTF Y Y

                            'JOE#Z5ZQF7BMVF3FRVFTU Y Y''''
                                    `1SJNBSZ4FSWJDFa `66*%a

                               &SSPS3FTQPOTF `'JOE#Z5ZQF7BMVF
                              3FRVFTUa Y `"UUSJCVUF/PU'PVOEa




Figure 4.3: Discover Primary Service by Service UUID example




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4.5 RELATIONSHIP DISCOVERY
This procedure is used by a client to discover service relationships to other
services.

There is one sub-procedure that can be used for relationship discovery: Find
Included Services.

4.5.1 Find Included Services

This sub-procedure is used by a client to find include service declarations
within a service definition on a server. The service specified is identified by the
service handle range.

The Attribute Protocol Read By Type Request shall be used with the Attribute
Type parameter set to the UUID for «Include» The Starting Handle shall be set
to starting handle of the specified service and the Ending Handle shall be set to
the ending handle of the specified service. It is permitted to end the sub-
procedure early if a desired included service is found prior to discovering all the
included services of the specified service supported on the server.

Two possible responses can be sent from the server for the Read By Type
Request: Read By Type Response and Error Response.

Error Response is returned if an error occurred on the server.

Read By Type Response returns a set of Attribute Handle and Attribute Value
pairs corresponding to the included services in the service definition. Each
Attribute Value contained in the response is composed of the Attribute Handle
of the included service declaration and the End Group Handle. If the service
UUID is a 16-bit Bluetooth UUID it is also returned in the response. The Read
By Type Request shall be called again with the Starting Handle set to one
greater than the last Attribute Handle in the Read By Type Response.

The sub-procedure is complete when either the Error Response is received
with the Error Code set to Attribute Not Found or the Read By Type Response
has an Attribute Handle of the included service declaration that is equal to the
Ending Handle of the request.

To get the included service UUID when the included service uses a 128-bit
UUID, the Read Request is used. The Attribute Handle for the Read Request is
the Attribute Handle of the included service.

Note: The include declaration described in Section 3.2 specifies that the
include declaration is readable and requires no authentication or authorization,
therefore insufficient authentication or read not permitted errors shall not occur.




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            $MJFOU                                                      4FSWFS



                            3FBE#Z5ZQF3FRVFTU Y Y
                                         `*ODMVEFa

                                 3FBE#Z5ZQF3FTQPOTF Y
                               Y Y Y `66*%a

                            3FBE#Z5ZQF3FRVFTU Y Y
                                         `*ODMVEFa

                                   3FBE#Z5ZQF3FTQPOTF Y
                                     Y Y Y

                                      3FBE3FRVFTU Y

                                    3FBE3FTQPOTF `66*%a

                            3FBE#Z5ZQF3FRVFTU Y Y
                                         `*ODMVEFa

                            &SSPS3FTQPOTF `3FBE#Z5ZQF3FRVFTUa
                                  Y `"UUSJCVUF/PU'PVOEa




Figure 4.4: Find Included Services example


4.6 CHARACTERISTIC DISCOVERY
This procedure is used by a client to discover service characteristics on a
server. Once the characteristics are discovered additional information about
the characteristics can be discovered or accessed using other procedures.

There are two sub-procedures that can be used for characteristic discovery:
Discover All Characteristics of a Service and Discover Characteristics by
UUID.

4.6.1 Discover All Characteristics of a Service

This sub-procedure is used by a client to find all the characteristic declarations
within a service definition on a server when only the service handle range is
known. The service specified is identified by the service handle range.

The Attribute Protocol Read By Type Request shall be used with the Attribute
Type parameter set to the UUID for «Characteristic» The Starting Handle shall
be set to starting handle of the specified service and the Ending Handle shall
be set to the ending handle of the specified service.


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Two possible responses can be sent from the server for the Read By Type
Request: Read By Type Response and Error Response.

Error Response is returned if an error occurred on the server.

Read By Type Response returns a list of Attribute Handle and Attribute Value
pairs corresponding to the characteristics in the service definition. The Attribute
Handle is the handle for the characteristic declaration. The Attribute Value is
the Characteristic Properties, Characteristic Value Handle and Characteristic
UUID. The Read By Type Request shall be called again with the Starting
Handle set to one greater than the last Attribute Handle in the Read By Type
Response.

The sub-procedure is complete when the Error Response is received and the
Error Code is set to Attribute Not Found or the Read By Type Response has an
Attribute Handle that is equal to the Ending Handle of the request.

It is permitted to end the sub-procedure early if a desired characteristic is found
prior to discovering all the characteristics of the specified service supported on
the server.

Note: The characteristic declaration described in Section 3.3 specifies that the
characteristic declaration is readable and requires no authentication or
authorization, therefore insufficient authentication or read not permitted errors
should not occur.



            $MJFOU                                                              4FSWFS



                                3FBE#Z5ZQF3FRVFTU Y Y
                                          `$IBSBDUFSJTUJDa

                              3FBE#Z5ZQF3FTQPOTF Y Y Y
                            Y `66*%a Y Y Y `66*%a

                                3FBE#Z5ZQF3FRVFTU Y Y
                                          `$IBSBDUFSJTUJDa

                                &SSPS3FTQPOTF `3FBE#Z5ZQF3FRVFTUa
                                      Y `"UUSJCVUF/PU'PVOEa




Figure 4.5: Discover All Characteristics of a Service example


Note: In this example «UUID1» and «UUID2» are 16 bits (2 octets).
If they were 128 bits (16 octets) then the Read By Type Response data would
instead be:
0x15, 0x0203, 0x02, 0x0204, «UUID1», 0x0210, 0x02, 0x0212, «UUID2»

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4.6.2 Discover Characteristics by UUID

This sub-procedure is used by a client to discover service characteristics on a
server when only the service handle ranges are known and the characteristic
UUID is known. The specific service may exist multiple times on a server. The
characteristic being discovered is identified by the characteristic UUID.

The Attribute Protocol Read By Type Request is used to perform the beginning
of the sub-procedure. The Attribute Type is set to the UUID for «Characteristic»
and the Starting Handle and Ending Handle parameters shall be set to the
service handle range.

Two possible responses can be sent from the server for the Read By Type
Request: Read By Type Response and Error Response.

Error Response is returned if an error occurred on the server.

Read By Type Response returns a list of Attribute Handle and Attribute Value
pairs corresponding to the characteristics contained in the handle range
provided. Each Attribute Value in the list is the Attribute Value for the
characteristic declaration. The Attribute Value contains the characteristic
properties, Characteristic Value Handle and characteristic UUID. The Attribute
Value for each Attribute Handle and Attribute Value pairs are checked for a
matching characteristic UUID. Once found, the sub-procedure continues until
the end of the service handle range is exhausted. The Read By Type Request
is called again with the Starting Handle set to one greater than the last Attribute
Handle in the Read By Type Response.

If the Error Response is sent by the server with the Error Code set to Attribute
Not Found, the characteristic does not exist on the server within the handle
range provided.

It is permitted to end the sub-procedure early if a desired characteristic is found
prior to discovering all the characteristics for the specified service supported on
the server.

Note: The characteristic declaration described in Section 3.3 specifies that the
characteristic declaration is readable and requires no authentication or
authorization, therefore insufficient authentication or read not permitted errors
shall not occur.




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            &OLHQW                                                               6HUYHU



                                 5HDG%\7\SH5HTXHVW [[
                                           «Characteristic»)

                              5HDG%\7\SH5HVSRQVH [[[
                            [«UUID1», 0x0210, 0x02, 0x0212, «UUID2»)

                                 5HDG%\7\SH5HTXHVW [[
                                           «Characteristic»)

                                Error Response («Read By Type Request»,
                                      0x0213, «Attribute Not Found»)




Figure 4.6: Discover Characteristics by UUID example


4.7 CHARACTERISTIC DESCRIPTOR DISCOVERY
This procedure is used by a client to discover characteristic descriptors of a
characteristic. Once the characteristic descriptors are discovered additional
information about the characteristic descriptors can be accessed using other
procedures.

There is one sub-procedure that can be used for characteristic descriptor
discovery: Discover All Characteristic Descriptors.

4.7.1 Discover All Characteristic Descriptors

This sub-procedure is used by a client to find all the characteristic descriptor’s
Attribute Handles and Attribute Types within a characteristic definition when
only the characteristic handle range is known. The characteristic specified is
identified by the characteristic handle range.

The Attribute Protocol Find Information Request shall be used with the Starting
Handle set to the handle of the specified characteristic value + 1 and the
Ending Handle set to the ending handle of the specified characteristic.

Two possible responses can be sent from the server for the Find Information
Request: Find Information Response and Error Response.

Error Response is returned if an error occurred on the server.

Find Information Response returns a list of Attribute Handle and Attribute Value
pairs corresponding to the characteristic descriptors in the characteristic
definition. The Attribute Handle is the handle for the characteristic descriptor
declaration. The Attribute Value is the Characteristic Descriptor UUID. The

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Find Information Request shall be called again with the Starting Handle set to
one greater than the last Attribute Handle in the Find Information Response.

The sub-procedure is complete when the Error Response is received and the
Error Code is set to Attribute Not Found or the Find Information Response has
an Attribute Handle that is equal to the Ending Handle of the request.

It is permitted to end the sub-procedure early if a desired Characteristic
Descriptor is found prior to discovering all the characteristic descriptors of the
specified characteristic.



            $MJFOU                                                          4FSWFS



                            'JOE*OGPSNBUJPO3FRVFTU Y Y'

                             'JOE*OGPSNBUJPO3FTQPOTF Y Y
                                    `66*%a Y `66*%a

                            'JOE*OGPSNBUJPO3FRVFTU Y Y'

                            &SSPS3FTQPOTF `'JOE*OGPSNBUJPO3FRVFTUa
                                   Y `"UUSJCVUF/PU'PVOEa




Figure 4.7: Discover All Characteristic Descriptors example




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4.8 CHARACTERISTIC VALUE READ
This procedure is used to read a Characteristic Value from a server. There are
four sub-procedures that can be used to read a Characteristic Value: Read
Characteristic Value, Read Using Characteristic UUID, Read Long
Characteristic Values, and Read Multiple Characteristic Values.

4.8.1 Read Characteristic Value

This sub-procedure is used to read a Characteristic Value from a server when
the client knows the Characteristic Value Handle. The Attribute Protocol Read
Request is used with the Attribute Handle parameter set to the Characteristic
Value Handle. The Read Response returns the Characteristic Value in the
Attribute Value parameter.

The Read Response only contains the complete Characteristic Value if that is
less than or equal to (ATT_MTU – 1) octets in length. If the Characteristic Value
is greater than (ATT_MTU – 1) octets in length, the Read Response only
contains the first portion of the Characteristic Value and the Read Long
Characteristic Value procedure may be used if the rest is required.

An Error Response shall be sent by the server in response to the Read
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a read operation is not permitted
on the Characteristic Value. The Error Code parameter is set as specified in
the Attribute Protocol.



            $MJFOU                                                 4FSWFS



                                   3FBE3FRVFTU Y

                              3FBE3FTQPOTF &YBNQMF%FWJDF




Figure 4.8: Read Characteristic Value example


4.8.2 Read Using Characteristic UUID

This sub-procedure is used to read a Characteristic Value from a server when
the client only knows the characteristic UUID and does not know the handle of
the characteristic.

The Attribute Protocol Read By Type Request is used to perform the sub-
procedure. The Attribute Type is set to the known characteristic UUID and the
Starting Handle and Ending Handle parameters shall be set to the range over


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which this read is to be performed. This is typically the handle range for the
service in which the characteristic belongs.

Two possible responses can be sent from the server for the Read By Type
Request: Read By Type Response and Error Response.

Error Response is returned if an error occurred on the server.

Read By Type Response returns a list of Attribute Handle and Attribute Value
pairs corresponding to the first characteristics contained in the handle range
that will fit into the Read By Type Response PDU. This procedure does not
return the complete list of all characteristics with the given characteristic UUID
within the range of values. If such an operation is required, then the Discover
All Characteristics by UUID sub procedure shall be used.

If the Error Response is sent by the server with the Error Code set to Attribute
Not Found, the characteristic does not exist on the server within the handle
range provided.



            $MJFOU                                                           4FSWFS



                               3FBE#Z5ZQF3FRVFTU Y Y''''
                                            `66*%a

                            3FBE#Z5ZQF3FTQPOTF Y Y Y&$




Figure 4.9: Read Using Characteristic UUID example


4.8.3 Read Long Characteristic Values

This sub-procedure is used to read a Characteristic Value from a server when
the client knows the Characteristic Value Handle and the length of the
Characteristic Value is longer than can be sent in a single Read Response
Attribute Protocol message.

The Attribute Protocol Read Blob Request is used to perform this sub-
procedure. The Attribute Handle shall be set to the Characteristic Value Handle
of the Characteristic Value to be read. The Value Offset parameter shall be the
offset within the Characteristic Value to be read. To read the complete
Characteristic Value the offset should be set to 0x00 for the first Read Blob
Request. The offset for subsequent Read Blob Requests is the next octet that
has yet to be read. The Read Blob Request is repeated until the Read Blob
Response’s Part Attribute Value parameter is shorter than (ATT_MTU – 1).




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For each Read Blob Request a Read Blob Response is received with a portion
of the Characteristic Value contained in the Part Attribute Value parameter.

An Error Response shall be sent by the server in response to the Read Blob
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a read operation is not permitted
on the Characteristic Value. The Error Code parameter is set as specified in the
Attribute Protocol. If the Characteristic Value is not longer than (ATT_MTU – 1)
an Error Response with the Error Code set to Attribute Not Long shall be
received on the first Read Blob Request.

Note: The Read Blob Request may be used to read the remainder of an
Attribute where the first part was read using a simple Read Request.



            &OLHQW                                                             6HUYHU



                                     5HDG5HTXHVW [

                            5HDG5HVSRQVH $9HU\/RQJ'HYLFH1DP

                               5HDG%ORE5HTXHVW [[

                             5HDG%ORE5HVSRQVH H8VLQJ$/RQJ$WWULEX

                               5HDG%ORE5HTXHVW [[&

                                      5HDG%ORE5HVSRQVH WH




Figure 4.10: Read Long Characteristic Values example


4.8.4 Read Multiple Characteristic Values

This sub-procedure is used to read multiple Characteristic Values from a server
when the client knows the Characteristic Value Handles. The Attribute Protocol
Read Multiple Requests is used with the Set Of Handles parameter set to the
Characteristic Value Handles. The Read Multiple Response returns the
Characteristic Values in the Set Of Values parameter.

The Read Multiple Response only contains a set of Characteristic Values that
is less than or equal to (ATT_MTU – 1) octets in length. If the Set Of Values is
greater than (ATT_MTU – 1) octets in length, only the first (ATT_MTU – 1)
octets are included in the response.

Note: A client should not request multiple Characteristic Values when the
response’s Set Of Values parameter is equal to (ATT_MTU – 1) octets in length



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since it is not possible to determine if the last Characteristic Value was read or
additional Characteristic Values exist but were truncated.

An Error Response shall be sent by the server in response to the Read Multiple
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a read operation is not permitted
on any of the Characteristic Values. The Error Code parameter is set as
specified in the Attribute Protocol.

Refer to the Attribute Protocol specification for the format of the Set Of Handles
and Set Of Values parameter.



            $MJFOU                                                     4FSWFS



                            3FBE.VMUJQMF3FRVFTU Y Y

                            3FBE.VMUJQMF3FTQPOTF Y&$ Y"




Figure 4.11: Read Multiple Characteristic Values example


4.9 CHARACTERISTIC VALUE WRITE
This procedure is used to write a Characteristic Value to a server.

There are five sub-procedures that can be used to write a Characteristic Value:
Write Without Response, Signed Write Without Response, Write Characteristic
Value, Write Long Characteristic Values and Reliable Writes.

4.9.1 Write Without Response

This sub-procedure is used to write a Characteristic Value to a server when the
client knows the Characteristic Value Handle and the client does not need an
acknowledgment that the write was successfully performed. This sub-
procedure only writes the first (ATT_MTU – 3) octets of a Characteristic Value.
This sub-procedure cannot be used to write a long characteristic; instead the
Write Long Characteristic Values sub-procedure should be used.

The Attribute Protocol Write Command is used for this sub-procedure. The
Attribute Handle parameter shall be set to the Characteristic Value Handle. The
Attribute Value parameter shall be set to the new Characteristic Value.

If the Characteristic Value write request is the wrong size, or has an invalid
value as defined by the profile, then the write shall not succeed and no error
shall be generated by the server.


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            $MJFOU                                                           4FSWFS



                                    8SJUF$PNNBOE Y Y




Figure 4.12: Write Without Response example


4.9.2 Signed Write Without Response

This sub-procedure is used to write a Characteristic Value to a server when the
client knows the Characteristic Value Handle and the ATT Bearer is not
encrypted. This sub-procedure shall only be used if the Characteristic
Properties authenticated bit is enabled and the client and server device share a
bond as defined in [Vol 3] Part C, Generic Access Profile.

This sub-procedure only writes the first (ATT_MTU – 15) octets of an Attribute
Value. This sub-procedure cannot be used to write a long Attribute.

The Attribute Protocol Signed Write Command is used for this sub-procedure.
The Attribute Handle parameter shall be set to the Characteristic Value Handle.
The Attribute Value parameter shall be set to the new Characteristic Value
authenticated by signing the value, as defined in the Security Manager [Vol 3]
Part H, Section 2.4.5.

If the authenticated Characteristic Value that is written is the wrong size, has
an invalid value as defined by the profile, or the signed value does not
authenticate the client, then the write shall not succeed and no error shall be
generated by the server.

If a connection is already encrypted with LE security mode 1, level 2 or level 3
as defined in [Vol 3] Part C, Section 10.2 then, a Write Without Response as
defined in Section 4.9.1 shall be used instead of a Signed Write Without
Response.

Note: On BR/EDR, the ATT Bearer is always encrypted, due to the use of
Security Mode 4, therefore this sub-procedure shall not be used.



            $MJFOU                                                           4FSWFS



                            8SJUF$PNNBOE Y Y




Figure 4.13: Signed Write Without Response example

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4.9.3 Write Characteristic Value

This sub-procedure is used to write a Characteristic Value to a server when the
client knows the Characteristic Value Handle. This sub-procedure only writes
the first (ATT_MTU – 3) octets of a Characteristic Value. This sub-procedure
cannot be used to write a long Attribute; instead the Write Long Characteristic
Values sub-procedure should be used.

The Attribute Protocol Write Request is used to for this sub-procedure. The
Attribute Handle parameter shall be set to the Characteristic Value Handle. The
Attribute Value parameter shall be set to the new characteristic.

A Write Response shall be sent by the server if the write of the Characteristic
Value succeeded.

An Error Response shall be sent by the server in response to the Write
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a write operation is not permitted
on the Characteristic Value. The Error Code parameter is set as specified in
the Attribute Protocol. If the Characteristic Value that is written is the wrong
size, or has an invalid value as defined by the profile, then the value shall not
be written and an Error Response shall be sent with the Error Code set to
Application Error by the server.



            $MJFOU                                                    4FSWFS



                              8SJUF3FRVFTU Y .Z%FWJDF

                                       8SJUF3FTQPOTF




Figure 4.14: Write Characteristic Value example


4.9.4 Write Long Characteristic Values

This sub-procedure is used to write a Characteristic Value to a server when the
client knows the Characteristic Value Handle but the length of the
Characteristic Value is longer than can be sent in a single Write Request
Attribute Protocol message.

The Attribute Protocol Prepare Write Request and Execute Write Request are
used to perform this sub-procedure. The Attribute Handle parameter shall be
set to the Characteristic Value Handle of the Characteristic Value to be written.
The Part Attribute Value parameter shall be set to the part of the Attribute
Value that is being written. The Value Offset parameter shall be the offset
within the Characteristic Value to be written. To write the complete


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Characteristic Value the offset should be set to 0x0000 for the first Prepare
Write Request. The offset for subsequent Prepare Write Requests is the next
octet that has yet to be written. The Prepare Write Request is repeated until the
complete Characteristic Value has been transferred, after which an Executive
Write Request is used to write the complete value.

Note: The values in the Prepare Write Response do not need to be verified in
this sub-procedure.

An Error Response shall be sent by the server in response to the Prepare Write
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a write operation is not permitted
on the Characteristic Value. The Error Code parameter is set as specified in
the Attribute Protocol. If the Attribute Value that is written is the wrong size, or
has an invalid value as defined by the profile, then the write shall not succeed
and an Error Response shall be sent with the Error Code set to Application
Error by the server.



            $MJFOU                                                      4FSWFS



                            1SFQBSF8SJUF3FRVFTU Y Y
                                     .Z4QFDJBM%FWJDF

                            1SFQBSF8SJUF3FTQPOTF Y Y
                                     .Z4QFDJBM%FWJDF

                            1SFQBSF8SJUF3FRVFTU Y Y
                                    /FYU5P5IF,JUDIF

                            1SFQBSF8SJUF3FTQPOTF Y Y
                                     /FYU5P5IF,JUDIF

                            1SFQBSF8SJUF3FRVFTU Y Y
                                           O%PPS

                            1SFQBSF8SJUF3FTQPOTF Y Y
                                            O%PPS

                                   &YFDVUF8SJUF3FRVFTU Y

                                    &YFDVUF8SJUF3FTQPOTF




Figure 4.15: Write Long Characteristic Values example




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4.9.5 Reliable Writes

This sub-procedure is used to write a Characteristic Value to a server when the
client knows the Characteristic Value Handle, and assurance is required that
the correct Characteristic Value is going to be written by transferring the
Characteristic Value to be written in both directions before the write is
performed. This sub-procedure can also be used when multiple values must be
written, in order, in a single operation.

The sub-procedure has two phases; the first phase prepares the Characteristic
Values to be written. To do this, the client transfers the Characteristic Values to
the server. The server checks the validity of the Characteristic Values. The
client also checks each Characteristic Value to verify it was correctly received
by the server using the server responses. Once this is complete, the second
phase performs the execution of all of the prepared Characteristic Value writes
on the server from this client.

In the first phase, the Attribute Protocol Prepare Write Request is used. The
Attribute Handle shall be set to the Characteristic Value Handle that is to be
prepared to write. The Value Offset and Part Attribute Value parameter shall be
set to the new Characteristic Value.

There are two possible responses; Prepare Write Response or Error
Response.

If the number of prepared write requests exceeds the number of prepared
writes supported, then an Error Response with the Error Code set to Prepare
Queue Full shall be sent by the server.

An Error Response shall be sent by the server in response to the Prepare Write
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a write operation is not permitted
on the Characteristic Value. The Error Code parameter is set as specified in
the Attribute Protocol.

If a Characteristic Value is prepared two or more times during this sub-
procedure, then all prepared values are written to the same Characteristic
Value in the order that they were prepared.

If a Prepare Write Response is returned, then the Value Offset and Part
Attribute Value parameter in the response shall be checked with the Value
Offset and Part Attribute Value parameter that was sent in the Prepare Write
Request; if they are different, then the value has been corrupted during
transmission, and the sub-procedure shall be aborted by sending an Execute
Write Request with the Flags parameter set to 0x00 to cancel all prepared
writes. The complete sub-procedure may be restarted.

Multiple Prepare Write Requests can be sent by a client, each of which will be
queued by the server.


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In the second phase, the Attribute Protocol Execute Write Request is used.
The Attribute Flags parameter shall be set to 0x01 to immediately write all
pending prepared values in the order that they were prepared. The server shall
write the prepared writes once it receives this request and shall only send the
Execute Write Response once all the prepared values have been successfully
written. If the Characteristic Value that is written is the wrong size, or has an
invalid value as defined by the profile, then the write shall not succeed, and an
Error Response with the Error Code set to Application Error shall be send by
the server. The state of the Characteristic Values that were prepared is
undefined.



            $MJFOU                                                              4FSWFS



                             1SFQBSF8SJUF3FRVFTU Y Y Y

                             1SFQBSF8SJUF3FTQPOTF Y Y Y

                            1SFQBSF8SJUF3FRVFTU Y Y Y

                            1SFQBSF8SJUF3FTQPOTF Y Y Y

                             1SFQBSF8SJUF3FRVFTU Y Y Y$

                            1SFQBSF8SJUF3FTQPOTF Y Y Y$

                             1SFQBSF8SJUF3FRVFTU Y Y Y''

                             1SFQBSF8SJUF3FTQPOTF Y Y Y''

                             1SFQBSF8SJUF3FRVFTU Y Y Y

                             1SFQBSF8SJUF3FTQPOTF Y Y Y

                             1SFQBSF8SJUF3FRVFTU Y Y Y

                             1SFQBSF8SJUF3FTQPOTF Y Y Y

                                     &YFDVUF8SJUF3FRVFTU Y

                                       &YFDVUF8SJUF3FTQPOTF




Figure 4.16: Reliable Writes example


4.10 CHARACTERISTIC VALUE NOTIFICATION
This procedure is used to notify a client of the value of a Characteristic Value
from a server. There is one sub-procedure that can be used to notify a value:


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Notifications. Notifications can be configured using the Client Characteristic
Configuration descriptor (See Section 3.3.3.3).

A profile defines when to use Notifications.

4.10.1 Notifications

This sub-procedure is used when a server is configured to notify a
Characteristic Value to a client without expecting any Attribute Protocol layer
acknowledgment that the notification was successfully received.

The Attribute Protocol Handle Value Notification is used to perform this sub-
procedure. The Attribute Handle parameter shall be set to the Characteristic
Value Handle being notified, and the Attribute Value parameter shall be set to
the Characteristic Value.



            $MJFOU                                                        4FSWFS



                             )BOEMF7BMVF/PUJGJDBUJPO Y Y"




Figure 4.17: Notifications example


4.11 CHARACTERISTIC VALUE INDICATIONS
This procedure is used to indicate the Characteristic Value from a server to a
client. There is one sub-procedure that can be used to indicate a value:
Indications. Indications can be configured using the Client Characteristic
Configuration descriptor (See Section 3.3.3.3).

A profile defines when to use Indications.

4.11.1 Indications

This sub-procedure is used when a server is configured to indicate a
Characteristic Value to a client and expects an Attribute Protocol layer
acknowledgment that the indication was successfully received.

The Attribute Protocol Handle Value Indication is used to perform this sub-
procedure. The Attribute Handle parameter shall be set to the Characteristic
Value Handle being indicated, and the Attribute Value parameter shall be set to
the Characteristic Value. Once the Handle Value Indication is received by the
client, the client shall respond with a Handle Value Confirmation.




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            &OLHQW                                                      6HUYHU



                             +DQGOH9DOXH,QGLFDWLRQ [[

                                   +DQGOH9DOXH&RQILUPDWLRQ




Figure 4.18: Indications example




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4.12 CHARACTERISTIC DESCRIPTORS
This procedure is used to read and write characteristic descriptors on a server.
There are two sub-procedures that can be used to read and write characteristic
descriptors: Read Characteristic Descriptors and Write Characteristic
Descriptors.

4.12.1 Read Characteristic Descriptors

This sub-procedure is used to read a characteristic descriptor from a server
when the client knows the characteristic descriptor declaration’s Attribute
handle.

The Attribute Protocol Read Request is used for this sub-procedure. The Read
Request is used with the Attribute Handle parameter set to the characteristic
descriptor handle. The Read Response returns the characteristic descriptor
value in the Attribute Value parameter.

An Error Response shall be sent by the server in response to the Read
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a read operation is not permitted
on the Characteristic Value. The Error Code parameter is set accordingly.



            $MJFOU                                                    4FSWFS



                                    3FBE3FRVFTU Y

                            3FBE3FTQPOTF 0VUTJEF5FNQFSBUVSF




Figure 4.19: Read Characteristic Descriptors example


4.12.2 Read Long Characteristic Descriptors

This sub-procedure is used to read a characteristic descriptor from a server
when the client knows the characteristic descriptor declaration’s Attribute
handle and the length of the characteristic descriptor declaration is longer than
can be sent in a single Read Response Attribute Protocol message.

The Attribute Protocol Read Blob Request is used to perform this sub-
procedure. The Attribute Handle parameter shall be set to the characteristic
descriptor handle. The Value Offset parameter shall be the offset within the
characteristic descriptor to be read. To read the complete characteristic
descriptor the offset should be set to 0x00 for the first Read Blob Request. The
offset for subsequent Read Blob Requests is the next octet that has yet to be
read. The Read Blob Request is repeated until the Read Blob Response’s Part

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Attribute Value parameter is zero or an Error Response is sent by the server
with the Error Code set to Invalid Offset.

For each Read Blob Request a Read Blob Response is received with a portion
of the characteristic descriptor value contained in the Part Attribute Value
parameter.

An Error Response shall be sent by the server in response to the Read Blob
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a read operation is not permitted
on the characteristic descriptor. The Error Code parameter is set accordingly.

Note: The Read Blob Request may be used to read the remainder of an
characteristic descriptor value where the first part was read using a simple
Read Request.



            $MJFOU                                                    4FSWFS



                                    3FBE3FRVFTU Y

                             3FBE3FTQPOTF 0VUTJEF3FMBUJWF)

                              3FBE#MPC3FRVFTU Y Y

                                          VNJEJUZ




Figure 4.20: Read Long Characteristic Descriptors example


4.12.3 Write Characteristic Descriptors

This sub-procedure is used to write a characteristic descriptor value to a server
when the client knows the characteristic descriptor handle.

The Attribute Protocol Write Request is used for this sub-procedure. The
Attribute Handle parameter shall be set to the characteristic descriptor handle.
The Attribute Value parameter shall be set to the new characteristic descriptor
value.

A Write Response shall be sent by the server if the write of the characteristic
descriptor value succeeded.

An Error Response shall be sent by the server in response to the Write
Request if insufficient authentication, insufficient authorization, insufficient
encryption key size is used by the client, or if a write operation is not permitted
on the Characteristic Value. The Error Code parameter shall be set as
specified in the Attribute Protocol. If the characteristic descriptor value that is

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written is the wrong size, or has an invalid value as defined by the profile, or the
operation is not permitted at this time then the value shall not be written and an
Error Response shall be sent with the Error Code set to Application Error by
the server.



            $MJFOU                                                          4FSWFS



                            8SJUF3FRVFTU Y 1BUJP5FNQFSBUVSF

                                        8SJUF3FTQPOTF




Figure 4.21: Write Characteristic Descriptors example


4.12.4 Write Long Characteristic Descriptors

This sub-procedure is used to write a characteristic descriptor value to a server
when the client knows the characteristic descriptor handle but the length of the
characteristic descriptor value is longer than can be sent in a single Write
Request Attribute Protocol message.

The Attribute Protocol Prepare Write Request and Execute Write Request are
used to perform this sub-procedure. The Attribute Handle parameter shall be
set to the Characteristic Descriptor Handle of the Characteristic Value to be
written. The Part Attribute Value parameter shall be set to the part of the
Attribute Value that is being written. The Value Offset parameter shall be the
offset within the Characteristic Value to be written. To write the complete
Characteristic Value the offset should be set to 0x0000 for the first Prepare
Write Request. The offset for subsequent Prepare Write Requests is the next
octet that has yet to be written. The Prepare Write Request is repeated until the
complete Characteristic Value has been transferred, after which an Executive
Write Request is used to write the complete value.

Note: The values in the Prepare Write Response do not need to be verified in
this sub-procedure.

An Error Response shall be sent by the server in response to the Prepare Write
Request or Executive Write Request if insufficient authentication, insufficient
authorization, insufficient encryption key size is used by the client, or if a write
operation is not permitted on the Characteristic Value. The Error Code
parameter is set as specified in the Attribute Protocol. If the Attribute Value that
is written is the wrong size, or has an invalid value as defined by the profile,
then the write shall not succeed and an Error Response shall be sent with the
Error Code set to Application Error by the server.




GATT Feature Requirements                                                      06 December 2016
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            $MJFOU                                                                   4FSWFS



                     1SFQBSF8SJUF3FRVFTU Y Y .Z4QFDJBM%FWJDF

                     1SFQBSF8SJUF3FTQPOTF Y Y .Z4QFDJBM%FWJDF

                     1SFQBSF8SJUF3FRVFTU Y Y /FYU5P5IF,JUDIF

                     1SFQBSF8SJUF3FTQPOTF Y Y /FYU5P5IF,JUDIF

                            1SFQBSF8SJUF3FRVFTU Y Y O%PPS

                            1SFQBSF8SJUF3FTQPOTF Y Y O%PPS

                                      &YFDVUF8SJUF3FRVFTU Y

                                       &YFDVUF8SJUF3FTQPOTF




Figure 4.22: Write Long Characteristic Descriptors example


4.13 GATT PROCEDURE MAPPING TO ATT PROTOCOL
OPCODES
The following table describes the mapping of the ATT protocol opcodes to the
GATT procedures and sub-procedures. Only those portions of the ATT protocol
requests, responses, notifications or indications necessary to implement the
mandatory or supported optional sub-procedures is required.

 Feature              Sub-Procedure                                 ATT Protocol Opcodes

                                                                    Exchange MTU Request
 Server
                      Exchange MTU                                  Exchange MTU Response
 Configuration
                                                                    Error Response
                                                                    Read By Group Type Request
                      Discover All Primary Services                 Read By Group Type Response
 Primary                                                            Error Response
 Service
 Discovery                                                          Find By Type Value Request
                      Discover Primary Services By Service
                                                                    Find By Type Value Response
                      UUID
                                                                    Error Response

                                                                    Read By Type Request
 Relationship
                      Find Included Services                        Read By Type Response
 Discovery
                                                                    Error Response
Table 4.2: GATT Procedure mapping to ATT protocol opcodes


GATT Feature Requirements                                                              06 December 2016
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 Feature            Sub-Procedure                             ATT Protocol Opcodes

                                                              Read By Type Request
                    Discover All Characteristic of a
                                                              Read By Type Response
                    Service
 Characteristic                                               Error Response
 Discovery                                                    Read By Type Request
                    Discover Characteristic by UUID           Read By Type Response
                                                              Error Response

 Characteristic                                               Find Information Request
 Descriptor         Discover All Characteristic Descriptors   Find Information Response
 Discovery                                                    Error Response

                                                              Read Request
                    Read Characteristic Value                 Read Response
                                                              Error Response

                                                              Read By Type Request
                    Read Using Characteristic UUID            Read By Type Response

 Characteristic                                               Error Response
 Value Read                                                   Read Blob Request
                    Read Long Characteristic Values           Read Blob Response
                                                              Error Response
                                                              Read Multiple Request
                    Read Multiple Characteristic Values       Read Multiple Response
                                                              Error Response

                    Write Without Response                    Write Command
                    Signed Write Without Response             Write Command
                                                              Write Request
                    Write Characteristic Value                Write Response
                                                              Error Response
                                                              Prepare Write Request
                                                              Prepare Write Response
 Characteristic
 Value Write        Write Long Characteristic Values          Execute Write Request
                                                              Execute Write Response
                                                              Error Response

                                                              Prepare Write Request
                                                              Prepare Write Response
                    Characteristic Value Reliable Writes      Execute Write Request
                                                              Execute Write Response
                                                              Error Response

Table 4.2: GATT Procedure mapping to ATT protocol opcodes



GATT Feature Requirements                                                       06 December 2016
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 Feature            Sub-Procedure                           ATT Protocol Opcodes

 Characteristic                                             Handle Value Notification
 Value              Notifications
 Notification

 Characteristic                                             Handle Value Indication
 Value              Indications                             Handle Value Confirmation
 Indication

                                                            Read Request
                    Read Characteristic Descriptors         Read Response
 Characteristic                                             Error Response
 Descriptor
 Value Read                                                 Read Blob Request
                    Read Long Characteristic Descriptors    Read Blob Response
                                                            Error Response

                                                            Write Request
                    Write Characteristic Descriptors        Write Response
                                                            Error Response
 Characteristic
                                                            Prepare Write Request
 Descriptor
 Value Write                                                Prepare Write Response
                    Write Long Characteristic Descriptors   Prepare Write Request
                                                            Prepare Write Response
                                                            Error Response

Table 4.2: GATT Procedure mapping to ATT protocol opcodes


4.14 PROCEDURE TIMEOUTS
GATT procedures are protected from failure with an Attribute Protocol
transaction timeout.

If the Attribute Protocol transaction times out, the procedure shall be
considered to have failed, and the local higher layer shall be notified. No further
GATT procedures shall be performed. A new GATT procedure shall only be
performed when a new ATT Bearer has been established.




GATT Feature Requirements                                                     06 December 2016
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Generic Attribute Profile (GATT)


5 L2CAP INTEROPERABILITY REQUIREMENTS

The following default values shall be used by an implementation of this profile.
The default values used may be different depending on the physical channel
that the Attribute Protocol is being sent over.

5.1 BR/EDR L2CAP INTEROPERABILITY REQUIREMENTS
Over BR/EDR, L2CAP connection oriented channels are used to transmit
Attribute Protocol PDUs. These channels use the channel establishment
procedure from L2CAP using the fixed PSM (see [1]) including the
configuration procedure to determine the ATT_MTU. Therefore, the ATT
Bearer (or the logical link as referred to in the Attribute Protocol) is, in this case,
an established L2CAP connection-oriented channel.

5.1.1 ATT_MTU

At the end of the L2CAP configuration phase, upon transition to the OPEN
state, the ATT_MTU for this ATT Bearer shall be set to the minimum of the
negotiated Maximum Transmission Unit configuration options.

Note: The minimum ATT_MTU for BR/EDR is 48 octets, as defined by L2CAP
in [Vol 3] Part A, Section 5.1.

5.1.2 BR/EDR Channel Requirements

All Attribute Protocol messages sent by GATT over an L2CAP channel are sent
using a dynamic channel ID derived by connecting using a fixed PSM. The use
of a fixed PSM allows rapid reconnection of the L2CAP channel for Attribute
Protocol as a preliminary SDP query is not required.

All packets sent on this L2CAP channel shall be Attribute PDUs.

PDUs shall be reliably sent.

The flow specification for the Attribute Protocol shall be best effort.

If operating in Basic L2CAP mode, the information payload of the L2CAP B-
frame shall be a single Attribute PDU.

The channel shall be encrypted. The Key_Type shall be either an
Unauthenticated Combination Key or an Authenticated Combination Key.




L2CAP Interoperability Requirements                                       06 December 2016
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5.1.3 BR/EDR Channel Establishment Collisions

The L2CAP connection can be initiated by the client or by the server.

Only one BR/EDR L2CAP connection shall be established between a client
and a server. If the L2CAP connection already exists, the client or server shall
not initiate the connection request.

If both devices open an L2CAP connection simultaneously both channels shall
be closed and each device shall wait a random time (not more than 1 second
and not less than 100 ms) and then try to open the L2CAP connection again. If
it is known which device is the master, that device can re-try at once.

5.2 LE L2CAP INTEROPERABILITY REQUIREMENTS
Over LE, the ATT Bearer (or logical link as referred to in the Attribute Protocol)
is the Attribute L2CAP fixed channel.

Note: To remove the ATT Bearer, the physical channel has to be disconnected.

5.2.1 ATT_MTU

Both a GATT client and server implementations shall support an ATT_MTU not
less than the default value.

 Default Value        Value for LE

 ATT_MTU              23

Table 5.1: LE L2CAP ATT_MTU




L2CAP Interoperability Requirements                                   06 December 2016
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5.2.2 LE Channel Requirements

All Attribute Protocol messages sent by GATT over an L2CAP logical link are
sent using a fixed channel ID. This enables very fast transmission of the
Attribute Protocol messages once a Host connection setup is complete. The
use of a fixed channel ID also enables the default channel properties to be
defined.

L2CAP fixed CID 0x0004 shall be used for the Attribute Protocol. All packets
sent on this fixed channel shall be Attribute Protocol PDUs.

The flow specification for the Attribute Protocol shall be best effort.

PDUs shall be reliably sent, and not flushed.

The retransmission and flow control mode for this channel shall be Basic
L2CAP mode

The default parameters for the payload of the L2CAP B-frame shall be a single
Attribute PDU.

 Parameter            Value

 MTU                  23

 Flush Timeout        0xFFFF (Infinite)
 QoS                  Best Effort
 Mode                 Basic Mode

Table 5.2: Attribute Protocol Fixed channel configuration parameters




L2CAP Interoperability Requirements                                          06 December 2016
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Generic Attribute Profile (GATT)


6 GAP INTEROPERABILITY REQUIREMENTS

6.1 BR/EDR GAP INTEROPERABILITY REQUIREMENTS

6.1.1 Connection Establishment

To establish an ATT Bearer, the Channel Establishment procedure (as defined
in [Vol 3] Part C, Section 7.2) shall be used.

Either device may terminate a link at any time.

No idle mode procedures or modes are defined by this profile.

6.2 LE GAP INTEROPERABILITY REQUIREMENTS

6.2.1 Connection Establishment

To establish a link, the Connection Establishment procedure (as defined in [Vol
3] Part C, Section 9.3.5 through Section 9.3.8) shall be used.

Either device may terminate a link at any time.

No idle mode procedures or modes are defined by this profile.

6.2.2 Profile Roles

This profile can be used in the following profile roles (as defined in [Vol 3] Part
G):
• Central
• Peripheral




GAP Interoperability Requirements                                      06 December 2016
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6.3 DISCONNECTED EVENTS

6.3.1 Notifications and Indications While Disconnected

If a client has configured the server to send a notification or indication to the
client, it shall be configured to allow re-establishment of the connection when it
is disconnected.

If the client is disconnected, but intends to become a Central in the connection
it shall perform a GAP connection establishment procedure. If the client is
disconnected, but intends to become a Peripheral in the connection it shall go
into a GAP connectable mode.

A server shall re-establish a connection with a client when an event or trigger
operation causes a notification or indication to a client.

If the server is disconnected, but intends to become a Peripheral in the
connection it shall go into a GAP connectable mode. If the server is
disconnected, but intends to become a Central in the connection it shall
perform a GAP connection establishment procedure.

If the server cannot re-establish a connection, then the notification or indication
for this event shall be discarded and no further connection re-establishment
shall occur, until another event occurs.




GAP Interoperability Requirements                                      06 December 2016
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7 DEFINED GENERIC ATTRIBUTE PROFILE SERVICE

All characteristics defined within this section shall be contained in a primary
service with the service UUID set to «GATT Service» as defined in Section 3.1.
Only one instance of the GATT service shall be exposed on a GATT server.

Table 7.1 lists characteristics that may be present in the server and the
characteristics that may be supported by the client.

 Item
 No.         Characteristic          Ref.            Support in Client        Support in Server

 1           Service                 7.1             M                        C1
             Changed
Table 7.1: GATT Profile service characteristic support

 C1: Mandatory if service definitions on the server can be added, changed or removed;
   otherwise optional

The assigned UUIDs for these characteristics are defined in [1].

7.1 SERVICE CHANGED
The «Service Changed» characteristic is a control-point attribute (as defined in
[Vol 3] Part F, Section 3.2.6) that shall be used to indicate to connected devices
that services have changed (i.e., added, removed or modified). The
characteristic shall be used to indicate to clients that have a trusted relationship
(i.e. bond) with the server when GATT based services have changed when
they re-connect to the server. See Section 2.5.2.

This Characteristic Value shall be configured to be indicated, using the Client
Characteristic Configuration descriptor by a client. Indications caused by
changes to the Service Changed Characteristic Value shall be considered lost
if the client has not enabled indications in the Client Configuration
Characteristic Descriptor.

 Attribute       Attribute                                                         Attribute
 Handle          Type           Attribute Value                                    Permission

 0xNNNN          0x2803 –       Characteristic    0xMMMM =         0x2A05 –        No Authentication,
                 UUID for       Properties =      Handle of        UUID for        No Authorization
                 «Charac-       0x20              Characteristic   «Service
                 teristic»                        Value            Changed»
Table 7.2: Service Changed Characteristic declaration

The Service Changed Characteristic Value is two 16-bit Attribute Handles
concatenated together indicating the beginning and ending Attribute Handles
affected by an addition, removal, or modification to a GATT-based service on
the server. A change to a characteristic value is not considered a modification

Defined Generic Attribute Profile Service                                              06 December 2016
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of the service. If a change has been made to any of the GATT service definition
characteristic values other than the Service Changed characteristic value, the
range shall also include the beginning and ending Attribute Handle for the
GATT service definition.

 Attribute                                                                        Attribute
 Handle         Attribute Type                      Attribute Value               Permission

 0xM-           0x2A05 – UUID           0xuuuu – Start of    0xuuuu – End of      No Authentication,
 MMM            for «Service            Affected Attribute   Affected Attribute   No Authorization,
                Changed»                Handle Range         Handle Range         Not Readable, Not
                                                                                  Writable
Table 7.3: Service Changed Characteristic Value declaration

There is only one instance of the Service Changed characteristic within the
GATT service definition. A Service Changed characteristic value shall exist for
each client with a trusted relationship.

If the list of GATT based services and the service definitions cannot change for
the lifetime of the device then this characteristic shall not exist, otherwise this
characteristic shall exist.

If the Service Changed characteristic exists on the server, the Characteristic
Value Indication support on the server is mandatory.

The client shall support Characteristic Value Indication of the Service Changed
characteristic.

The Service Changed characteristic Attribute Handle on the server shall not
change if the server has a trusted relationship with any client.




Defined Generic Attribute Profile Service                                               06 December 2016
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8 SECURITY CONSIDERATIONS

8.1 AUTHENTICATION REQUIREMENTS
Authentication in the GATT Profile is applied to each characteristic
independently. Authentication requirements are specified in this profile, related
higher layer specifications or are implementation specific if not specified
otherwise.

The GATT Profile procedures are used to access information that may require
the client to be authenticated and have an encrypted connection before a
characteristic can be read or written.

If such a request is issued when the physical link is unauthenticated or
unencrypted, the server shall send an Error Response. The client wanting to
read or write this characteristic can then request that the physical link be
authenticated using the GAP authentication procedure, and once this has been
completed, send the request again.

The list of services and characteristics that a device supports is not considered
private or confidential information, and therefore the Service and Characteristic
Discovery procedures shall always be permitted. This implies that an
Insufficient Authentication status code shall not be used in an Error Response
for a Find Information Request.

Note: A characteristic may be allowed to be read by any device, but only
written by an authenticated device. An implementation should take this into
account, and not assume that if it can read a Characteristic Value, it will also be
able to write the Characteristic Value. Similarly, if a characteristic can be
written, it does not mean the characteristic can also be read. Each individual
characteristic could have different security properties.

Once sufficient authentication of the client has been established to allow
access to one characteristic within a service definition, a server may also allow
access to other characteristics within the service definition depending on the
higher level or implementation specific requirements.

A server may allow access to most characteristics within a service definition
once sufficient authentication has been performed, but restrict access to other
characteristics within the same service definition. This may result due to some
characteristics requiring stronger authentication requirements than currently
enabled.

Once a server has authenticated a client for access to characteristics in one
service definition, it may automatically allow access to characteristics in other
service definitions.




Security Considerations                                                06 December 2016
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8.2 AUTHORIZATION REQUIREMENTS
Authorization in the GATT Profile is applied to each characteristic
independently. Authorization requirements may be specified in this profile,
related higher layer specifications or are implementation specific if not
specified otherwise.

The GATT Profile can be used to access information that may require
authorization before a characteristic can be read or written.

If such a request is issued to a characteristic contained in a service definition
that is not authorized, the responder shall send an Error Response with the
status code set to Insufficient Authorization.

Once a server has authorized a client for access to characteristics in one group
or service definition, it may automatically allow access to characteristics in
other service definitions.




Security Considerations                                               06 December 2016
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Generic Attribute Profile (GATT)


9 SDP INTEROPERABILITY REQUIREMENTS

A device that supports GATT over BR/EDR shall publish the following SDP
record. The GATT Start Handle shall be set to the attribute handle of the
«Generic Attribute Profile» service declaration. The GATT End Handle shall be
set to the attribute handle of the last attribute within the «Generic Attribute
Profile» service definition group.

 Item                           Definition          Type     Value                        Status

 Service Class ID List                                                                    M
 Service Class #0                                   UUID     GATT Service                 M
 Protocol Descriptor List                                                                 M

 Protocol #0                                        UUID     L2CAP                        M
 Parameter #0 for               PSM                 Uint16   PSM = ATT                    M
 Protocol #0
 Protocol #1                                        UUID     ATT                          M

 Parameter #0 for               GATT Start Handle   Uint16                                M
 Protocol #1
 Parameter #1 for               GATT End Handle     Uint16                                M
 Protocol #1
 BrowseGroupList                                             PublicBrowseRoot             M

Table 9.1: SDP Record for the Generic Attribute Profile




SDP Interoperability Requirements                                                 06 December 2016
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10 REFERENCES

[1]   Assigned Numbers Specification:
      https://www.bluetooth.org/en-us/specification/assigned-numbers




References                                                        06 December 2016
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Generic Attribute Profile (GATT)


APPENDIX A EXAMPLE ATTRIBUTE SERVER
                                 ATTRIBUTES

The following table shows an example Server and the Attributes contained on
the server.

Note: This example does not necessarily use UUIDs or services defined by the
Bluetooth SIG or in adopted profiles.



 Handle                Attribute Type             Attribute Value

 0x0001                «Primary Service»          «GAP Service»
 0x0004                «Characteristic»           {0x02, 0x0006, «Device Name»}

 0x0006                «Device Name»              “Example Device”
 0x0010                «Primary Service»          «GATT Service»
 0x0011                «Characteristic»           {0x26, 0x0012, «Service Changed»}

 0x0012                «Service Changed»          0x0000, 0x0000
  0x0100               «Primary Service»          «Battery State Service»
 0x0106                «Characteristic»           {0x02, 0x0110, «Battery State»}

 0x0110                «Battery State»            0x04
 0x0200                «Primary Service»          «Thermometer Humidity Service»
 0x0201                «Include»                  {0x0500, 0x0504, «Manufacturer Service»}

 0x0202                «Include»                  {0x0550,0x0568}
 0x0203                «Characteristic»           {0x02, 0x0204, «Temperature»}
 0x0204                «Temperature»              0x028A

 0x0205                «Characteristic Format»    {0x0E, 0xFE, «degrees Celsius», 0x01,
                                                  «Outside»}
 0x0206                «Characteristic User       “Outside Temperature”
                       Description»

 0x0210                «Characteristic»           {0x02, 0x0212, «Relative Humidity»}
 0x0212                «Relative Humidity»        0x27
 0x0213                «Characteristic Format»    {0x04, 0x00, «Percent», «Bluetooth SIG»,
                                                  «Outside»}

 0x0214                «Characteristic User       “Outside Relative Humidity”
                       Description»
 0x0280                «Primary Service»          «Weight Service»
Table A.1: Example Attribute Server Attributes



Appendix A: Example Attribute Server Attributes                                   06 December 2016
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 Handle                Attribute Type             Attribute Value

 0x0281                «Include»                  0x0505, 0x0509, «Manufacturer Service»}
 0x0282                «Characteristic»           {0x02, 0x0283, «Weight kg»}
 0x0283                «Weight kg»                0x00005582

 0x0284                «Characteristic Format»    {0x08, 0xFD, «kilogram», «Bluetooth SIG»,
                                                  «Hanging»}
 0x0285                «Characteristic User       “Rucksack Weight”
                       Description»
 0x0300                «Primary Service»          «Position Service»

 0x0301                «Characteristic»           {0x02, 0x0302, «Latitude Longitude»}
 0x0302                «Latitude Longitude»       0x28BEAFA40B320FCE
 0x0304                «Characteristic»           {0x02, 0x0305, «Latitude Longitude Eleva-
                                                  tion»}
 0x0305                «Latitude Longitude Ele-   0x28BEAFA40B320FCE0176
                       vation»
 0x0400                «Primary Service»          «Alert Service»

 0x0401                «Characteristic»           {0x0E, 0x0402, «Alert Enumeration»}
 0x0402                «Alert Enumeration»        0x00
 0x0500                «Secondary Service»        «Manufacturer Service»

 0x0501                «Characteristic»           {0x02, 0x0502, «Manufacturer Name»}
 0x0502                «Manufacturer Name»        “ACME Temperature Sensor”
 0x0503                «Characteristic»           {0x02, 0x0504, «Serial Number»}

 0x0504                «Serial Number»            “237495-3282-A”
 0x0505                «Secondary Service»        «Manufacturer Service»
 0x0506                «Characteristic»           {0x02, 0x0507, «Manufacturer Name»}

 0x0507                «Manufacturer Name»        “ACME Weighing Scales”
 0x0508                «Characteristic»           {0x02, 0x0509, «Serial Number»}
 0x0509                «Serial Number»            “11267-2327A00239”

 0x0550                «Secondary Service»        «Vendor Specific Service»
 0x0560                «Characteristic»           {0x02, 0x0568, «Vendor Specific Type»}
 0x0568                «Vendor Specific Type»     0x56656E646F72

Table A.1: Example Attribute Server Attributes

As can be seen, the attribute server indicates support for ten services: GAP
Service, GATT Service, Battery State Service, Thermometer Humidity Service,
Weight Service, Position Service, Alert Service, two Manufacturer Services, and
a Vendor Specific Service.

Appendix A: Example Attribute Server Attributes                                  06 December 2016
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The server contains the following information about each of the services:
• The characteristic containing the name of the device is “Example Device”.
• The characteristic indicating the server supports all the attribute opcodes,
  and supports two prepared write values.
• The characteristic containing the battery state with a value of 0x04, meaning
  it is discharging.
• The characteristic containing the outside temperature with a value of 6.5 °C.
• The characteristic containing the outside relative humidity with a value of
  39%.
• The characteristic containing the weight hanging off the device with a value
  of 21.89 kg.
• The characteristic containing the position of this device with the value of
  68.3585444 degrees north, 18.7830222 degrees east, with an elevation of
  374 meters.
• The characteristic containing the temperature sensor manufacturer with the
  value of ACME Temperature Sensor.
• The characteristic containing the serial number for the temperature sensor
  with a value of 237495-3282-A.
• The characteristic containing the weighing sensor is manufacturer with a
  value of ACME Weight Scales.
• The characteristic containing the serial number for the weighing sensor with
  a value of 11267-2327A00239.

The device is therefore on the side of the Abisko Turiststation, Norrbottens Län,
Sweden, with a battery in good state, measuring a relatively warm day, with low
humidity, and a heavy rucksack.




Appendix A: Example Attribute Server Attributes                      06 December 2016
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                   Core System Package [Host volume]
                                              Part H




           PART H: SECURITY MANAGER
                       SPECIFICATION




                          The Security Manager (SM) defines the
                          protocol and behavior to manage
                          pairing, authentication and encryption
                          between LE-only or BR/EDR/LE
                          devices.




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1 INTRODUCTION

1.1 SCOPE
The Security Manager defines methods of pairing and key distribution, a
protocol for those methods and a security toolbox to be used by those methods
and other parts of an LE-only or BR/EDR/LE device.



                          GAP



                           SM                             ATT



                                  L 2C A P


Figure 1.1: Relationship of the Security Manager to the rest of the LE Bluetooth architecture


The document describes master and slave roles in terms of protocol and
requirements; these have the same meaning and are mapped to the LE device
roles described in [Vol 1] Part A, Section 1.2 or BR/EDR device roles (see [Vol
1] Part A, Section 1.1).

1.2 CONVENTIONS

1.2.1 Bit and Byte Ordering Conventions

When multiple bit fields are contained in a single octet and represented in a
drawing in this specification, the least significant (low-order) bits are shown
toward the left and most significant (high-order) bits toward the right.

Multiple-octet fields are drawn with the least significant octets toward the left
and the most significant octets toward the right. Multiple-octet fields shall be
transmitted with the least significant octet first.

Multiple-octet values written in hexadecimal notation have the most significant
octet towards the left and the least significant octet towards the right, for
example if ‘12’ is the most significant octet and ‘34’ is the least significant octet
it would be written as 0x1234.




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2 SECURITY MANAGER

2.1 INTRODUCTION
The Security Manager (SM) uses a key distribution approach to perform
identity and encryption functionalities in radio communication. This means that
each device generates and controls the keys it distributes and no other device
affects the generation of these keys. The strength of a key is as strong as the
algorithms implemented inside the distributing device.

The security architecture is designed such that memory and processing
requirements for a responding device are lower than the memory and
processing requirement for an initiating device.

Pairing is performed to establish keys which can then be used to encrypt a link.
A transport specific key distribution is then performed to share the keys which
can be used to encrypt a link in future reconnections, verify signed data and
random address resolution.

Pairing is a three-phase process. The first two phases are always used and
may be followed by an optional transport specific key distribution phase (see
Figure 2.1):
• Phase 1: Pairing Feature Exchange
• Phase 2 (LE legacy pairing): Short Term Key (STK) Generation
• Phase 2 (LE Secure Connections): Long Term Key (LTK) Generation
• Phase 3: Transport Specific Key Distribution




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           Initiator                                                                            Responder


                                           Established LL connection


                                            (Optional) Security_Request
                                                  Pairing_Request
                                                                                                       Phase 1
                                                 Pairing_Response




                                                 Pairing over SMP:
                                                                                                       Phase 2
                                        Legacy pairing or Secure Connections


                       Establishment of encrypted connection with key generated in phase 2


                                                  Key Distribution
                                                  Key Distribution
                                                                                                      Phase 3
                                                  Key Distribution




Figure 2.1: LE Pairing Phases


The devices shall first exchange authentication requirements and IO capabilities
in the Pairing Feature Exchange to determine which of the following methods
shall be used in Phase 2:
• Just Works
• Numeric Comparison (Only for LE Secure Connections)
• Passkey Entry
• Out Of Band (OOB)

Authentication requirements retrieved from the Pairing Feature Exchange also
determine whether LE Secure Connections or LE legacy pairing is used.

Optionally, Phase 3 may then be performed to distribute transport specific
keys, for example the Identity Resolving Key (IRK) value and Identity Address
information. Phase 1 and Phase 3 are identical regardless of the method used
in Phase 2.

Phase 3 shall only be performed on a link which is encrypted using:
•   The STK generated in Phase 2 when using LE legacy pairing or
• The LTK generated in Phase 2 when using LE Secure Connections or
• The shared Link Key generated using BR/EDR pairing (see Section 2.3.5.7).

Phase 1 and Phase 2 may be performed on a link which is either encrypted or
not encrypted.



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2.2 CRYPTOGRAPHIC TOOLBOX
In order to support random addressing, pairing and other operations SM
provides a toolbox of cryptographic functions. The following cryptographic
functions are defined:
• ah is used to create a 24-bit hash used in random address creation and
  resolution.

The following cryptographic functions are defined to support the LE legacy
pairing process:
• c1 is used to generate confirm values used during the pairing process.
• s1 is used to generate the STK during the pairing process.

The following cryptographic functions are defined to support the LE Secure
Connections pairing process:
• f4 is used to generate confirm values during the pairing process.
• f5 is used to generate the LTK and the MacKey during the pairing process.
• f6 is used to generate the check values during authentication stage 2 in the
  pairing process.
• g2 is used to generate the 6-digit numeric comparison values during
  authentication stage 1 in the pairing process.
• h6 is used to generate the LE LTK from a BR/EDR link key derived from
  Secure Connections and is used to generate the BR/EDR link key from an
  LE LTK derived from Secure Connections.
• h7 is used to generate intermediate keys while generating the LE LTK from a
  BR/EDR link key derived from Secure Connections and the BR/EDR link key
  from an LE LTK derived from Secure Connections.

The building block for the cryptographic functions ah, c1 and s1 is the security
function e.

The building block for the cryptographic functions f4, f5, f6, g2, h6, and h7 is
the security function AES-CMAC.

Inside the f4, f5, f6, g2, h6, and h7 functions when a multi-octet integer
parameter is used as input to AES-CMAC the most significant octet of the
integer shall be the first octet of the stream and the least significant octet of the
integer shall be the last octet of the stream. The output of AES-CMAC inside
these functions is a multi-octet integer where the first octet is MSB and the last
octet is LSB of this integer.




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2.2.1 Security function e

Security function e generates 128-bit encryptedData from a 128-bit key and
128-bit plaintextData using the AES-128-bit block cypher as defined in
FIPS-1971:

encryptedData = e(key, plaintextData)

The most significant octet of key corresponds to key[0], the most significant
octet of plaintextData corresponds to in[0] and the most significant octet of
encryptedData corresponds to out[0] using the notation specified in FIPS-1971.

Note: The security function e can be implemented in a Host or be implemented
using the HCI_LE_Encrypt command (see [Vol 2] Part E, Section 7.8.22).

2.2.2 Random Address Hash function ah

The random address hash function ah is used to generate a hash value that is
used in resolvable private addresses, see [Vol 3] Part C, Section 10.8.2.

The following are inputs to the random address hash function ah:
              k is 128 bits
              r is 24 bits
              padding is 104 bits

r is concatenated with padding to generate r’ which is used as the 128-bit input
parameter plaintextData to security function e:
              r’ = padding || r

The least significant octet of r becomes the least significant octet of r’ and the
most significant octet of padding becomes the most significant octet of r’.

For example, if the 24-bit value r is 0x423456 then r’ is
0x00000000000000000000000000423456.

The output of the random address function ah is:
              ah(k, r) = e(k, r’) mod 224

The output of the security function e is then truncated to 24 bits by taking the
least significant 24 bits of the output of e as the result of ah.




1. NIST Publication FIPS-197 (http://csrc.nist.gov/publications/fips/fips197/fips-197.pdf)


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2.2.3 Confirm value generation function c1 for LE Legacy Pairing

During the LE legacy pairing process confirm values are exchanged. This
confirm value generation function c1 is used to generate the confirm values.

The following are inputs to the confirm value generation function c1:
              k is 128 bits
              r is 128 bits
              pres is 56 bits
              preq is 56 bits
              iat is 1 bit
              ia is 48 bits
              rat is 1 bit
              ra is 48 bits
              padding is 32 bits or 0

iat is concatenated with 7-bits of 0 to create iat’ which is 8 bits in length. iat is
the least significant bit of iat’.

rat is concatenated 7-bits of 0 to create rat’ which is 8 bits in length. rat is the
least significant bit of rat’.

pres, preq, rat’ and iat’ are concatenated to generate p1 which is XORed with r
and used as 128-bit input parameter plaintextData to security function e:
              p1 = pres || preq || rat’ || iat’

The octet of iat’ becomes the least significant octet of p1 and the most
significant octet of pres becomes the most significant octet of p1.

For example, if the 8-bit iat’ is 0x01, the 8-bit rat’ is 0x00, the 56-bit preq is
0x07071000000101 and the 56 bit pres is 0x05000800000302 then p1 is
0x05000800000302070710000001010001.

ra is concatenated with ia and padding to generate p2 which is XORed with the
result of the security function e using p1 as the input parameter plaintextData
and is then used as the 128-bit input parameter plaintextData to security
function e:
              p2 = padding || ia || ra

The least significant octet of ra becomes the least significant octet of p2 and
the most significant octet of padding becomes the most significant octet of p2.

For example, if 48-bit ia is 0xA1A2A3A4A5A6 and the 48-bit ra is
0xB1B2B3B4B5B6 then p2 is 0x00000000A1A2A3A4A5A6B1B2B3B4B5B6.




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The output of the confirm value generation function c1 is:
              c1 (k, r, preq, pres, iat, rat, ia, ra) = e(k, e(k, r XOR p1) XOR p2)

The 128-bit output of the security function e is used as the result of confirm
value generation function c1.

For example, if the 128-bit k is 0x00000000000000000000000000000000, the
128-bit value r is 0x5783D52156AD6F0E6388274EC6702EE0, the 128-bit
value p1 is 0x05000800000302070710000001010001 and the 128-bit value p2
is 0x00000000A1A2A3A4A5A6B1B2B3B4B5B6 then the 128-bit output from
the c1 function is 0x1e1e3fef878988ead2a74dc5bef13b86.




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2.2.4 Key generation function s1 for LE Legacy Pairing

The key generation function s1 is used to generate the STK during the LE
legacy pairing process.

The following are inputs to the key generation function s1 :
              k is 128 bits
              r1 is 128 bits
              r2 is 128 bits

The most significant 64-bits of r1 are discarded to generate r1’ and the most
significant 64-bits of r2 are discarded to generate r2’.

For example if the 128-bit value r1 is
0x000F0E0D0C0B0A091122334455667788 then r1’ is 0x1122334455667788.
If the 128-bit value r2 is 0x010203040506070899AABBCCDDEEFF00 then r2’
is 0x99AABBCCDDEEFF00.

r1’ is concatenated with r2’ to generate r’ which is used as the 128-bit input
parameter plaintextData to security function e:
              r’ = r1’ || r2’

The least significant octet of r2’ becomes the least significant octet of r’ and the
most significant octet of r1’ becomes the most significant octet of r’.

For example, if the 64-bit value r1’ is 0x1122334455667788 and r2’ is
0x99AABBCCDDEEFF00 then r’ is
0x112233445566778899AABBCCDDEEFF00.

The output of the key generation function s1 is:
              s1(k, r1, r2) = e(k, r’)

The 128-bit output of the security function e is used as the result of key
generation function s1.

For example if the 128-bit value k is
              0x00000000000000000000000000000000

and the 128-bit value r' is
              0x112233445566778899AABBCCDDEEFF00

then the output from the key generation function s1 is
              0x9a1fe1f0e8b0f49b5b4216ae796da062.




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2.2.5 Function AES-CMAC

RFC-44931 defines the Cipher-based Message Authentication Code (CMAC)
that uses AES-128 as the block cipher function, also known as AES-CMAC.

The inputs to AES-CMAC are:
              m is the variable length data to be authenticated
              k is the 128-bit key

The 128-bit message authentication code (MAC) is generated as follows:2
              MAC = AES-CMACk(m)

A device can implement AES functions in the Host or can use the
HCI_LE_Encrypt command (see [Vol 2] Part E, Section 7.8.22) in order to use
the AES function in the Controller.

2.2.6 LE Secure Connections Confirm Value Generation Function f4

During the LE Secure Connections pairing process, confirm values are
exchanged. These confirm values are computed using the confirm value
generation function f4.

This confirm value generation function makes use of the MAC function AES-
CMACX, with a 128-bit key X.

The inputs to function f4 are:
              U is 256 bits
              V is 256 bits
              X is 128 bits
              Z is 8 bits

Z is zero (i.e. 8 bits of zeros) for Numeric Comparison and OOB protocol. In the
Passkey Entry protocol, the most significant bit of Z is set equal to one and the
least significant bit is made up from one bit of the passkey e.g. if the passkey
bit is 1, then Z = 0x81 and if the passkey bit is 0, then Z = 0x80.

U, V and Z are concatenated and used as input m to the function AES-CMAC
and X is used as the key k.




1. http://www.ietf.org/rfc/rfc4493.txt
2. RFC4493 uses the notation MAC = AES-CMAC(k,m) where k is the key. This is functionally
   the same as the notation used in this specification MAC = AES-CMACk(m)


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The inputs to f4 are different depending on different association models:

 Numeric Comparison/
 Just Works                       Out-Of-Band                  Passkey Entry

 Ca = f4(PKax, PKbx, Na, 0)       Ca = f4(PKax, PKax, ra, 0)   Cai = f4(PKax, PKbx, Nai, rai)
 Cb = f4(PKbx, PKax, Nb, 0)       Cb = f4(PKbx, PKbx, rb, 0)   Cbi = f4(PKbx, PKax, Nbi, rbi)

Table 2.1: Inputs to f4 for the different protocols

PKax denotes the x-coordinate of the public key PKa of A.
Similarly, PKbx denotes the x-coordinate of the public key PKb of B.
Nai is the nonce value of ith round. For each round Nai value is a new 128-bit
number. Similarly, rai is a one bit value of the passkey expanded to 8 bits
(either 0x80 or 0x81).

Na and Nb are nonces from Devices A and B. ra and rb are random values
generated by devices A and B.

The output of the confirm value generation function f4 is as follows:
              f4(U, V, X, Z) = AES-CMACX (U || V || Z)

The least significant octet of Z becomes the least significant octet of the AES-
CMAC input message m and the most significant octet of U becomes the most
significant octet of the AES-CMAC input message m.

2.2.7 LE Secure Connections Key Generation Function f5

The LE Secure Connections key generation function f5 is used to generate
derived keying material in order to create the LTK and keys for the commitment
function f6 during the LE Secure Connections pairing process.

The definition of this key generation function makes use of the MAC function
AES-CMACT with a 128-bit key T.

The inputs to function f5 are:
              W is 256 bits
              N1 is 128 bits
              N2 is 128 bits
              A1 is 56 bits
              A2 is 56 bits

The key (T) is computed as follows:
              T = AES-CMACSALT (W)

SALT is the 128-bit value:
              0x6C88 8391 AAF5 A538 6037 0BDB 5A60 83BE


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Counter, keyID, N1, N2, A1, A2, and Length are concatenated and used as
input m to the function AES-CMAC and T is used as the key k.
Counter is one octet. Length is two octets.

The string “btle” is mapped into keyID using extended ASCII as follows:
              keyID[0]    =   0110 0101
              keyID[1]    =   0110 1100
              keyID[2]    =   0111 0100
              keyID[3]    =   0110 0010
              keyID       =   0x62746c65

The output of the key generation function f5 is as follows:
   f5(W, N1, N2, A1, A2) = AES-CMACT (Counter = 0 || keyID ||N1 || N2|| A1||
   A2|| Length = 256)||AES-CMACT (Counter = 1 || keyID || N1 || N2|| A1|| A2 ||
   Length = 256)

The least significant octet of Length becomes the least significant octet of the
AES-CMAC input message m and the most significant octet of Counter
becomes the most significant octet of the AES-CMAC input message m.

The LTK and MacKey are calculated as:
              MacKey || LTK = f5(DHKey, N_master, N_slave, BD_ADDR_master,
              BD_ADDR_slave)

DHKey is the shared secret Diffie-Hellman key generated during LE Secure
Connections pairing phase 2.

N_master is the random number sent by the master to the slave and N_slave is
the random number sent by the slave to the master.

BD_ADDR_master is the device address of the master and BD_ADDR_slave
is the device address of the slave. The device addresses are the values used
during connection setup. The least significant bit in the most significant octet in
both BD_ADDR_master and BD_ADDR_slave is set to 1 if the address is a
random address and set to 0 if the address is a public address. The 7 most
significant bits of the most significant octet in both BD_ADDR_master and
BD_ADDR_slave are set to 0.

The LTK is the least significant 128 bits (Counter = 1) of f5. The MacKey (see
Section 2.2.8) is the most significant 128 bits (Counter = 0) of f5.

A device can implement Diffie-Hellman key generation in the Host or can use
the HCI_LE_Generate_DHKey command (see [Vol 2] Part E, Section 7.8.37) to
generate the key in the Controller. Note: When using the
HCI_LE_Generate_DHKey command, the device can only pair one remote
device at a time.


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2.2.8 LE Secure Connections Check Value Generation Function f6

The LE Secure Connections check value generation function f6 is used to
generate check values during authentication stage 2 of the LE Secure
Connections pairing process.

The definition of the f6 function makes use of the MAC function AES-CMACW
with a 128-bit key W.

The inputs to function f6 are:
              W is 128 bits
              N1 is 128 bits
              N2 is 128 bits
              R is 128 bits
              IOcap is 24 bits
              A1 is 56 bits
              A2 is 56 bits

N1, N2, R, IOcap, A1 and A2 are concatenated and used as input m to the
function AES-CMAC and W is used as the key k.

The inputs to f6 are different depending on different association models:

 Numeric Comparison/
 Just Works                       Out-Of-Band                   Passkey Entry

 Ea = f6(MacKey, Na, Nb, 0,       Ea = f6(MacKey, Na, Nb, rb,   Ea = f6(MacKey, Na20, Nb20,
 IOcapA, A, B)                    IOcapA, A, B)                 rb, IOcapA, A, B)
 Eb = f6(MacKey, Nb, Na, 0,       Eb = f6(MacKey, Nb, Na, ra,   Eb = f6(MacKey, Nb20, Na20,
 IOcapB, B, A)                    IOcapB, B, A)                 ra, IOcapB, B, A)
Table 2.2: Inputs to f6 for the different protocols

MacKey is the 128-bit MSBs of the output of f5.

Na is the random number sent by the master to the slave and Nb is the random
number sent by the slave to the master.

IOcapA is the capabilities of the master and IOcapB is the capabilities of the
slave. IOcapA and IOcapB are both three octets with the most significant octet
as the AuthReq parameter, the middle octet as the OOB data flag and the least
significant octet as the IO capability parameter. The AuthReq, OOB data flag
and IO capability parameters are present in the Pairing Request and Pairing
Response SMP packets.

In Passkey Entry, ra and rb are 6-digit passkey values expressed as a 128-bit
integer. For instance, if the 6-digit value of ra is 131313 then
              ra = 0x 00 00 00 00 00 00 00 00 00 00 00 00 00 02 00 f1


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A is the device address of the master and B is the device address of the slave.
The least significant bit in the most significant octet in both A and B is set to 1 if
the address is a random address and set to 0 if the address is a public address.
The 7 most significant bits of the most significant octet in both A and B are set
to 0.

The output of the check value generation function f6 is as follows:
              f6(W, N1, N2, R, IOcap, A1, A2) =
              AES-CMACW (N1 || N2 || R || IOcap || A1 || A2)

The least significant octet of A2 becomes the least significant octet of the AES-
CMAC input message m and the most significant octet of N1 becomes the
most significant octet of the AES-CMAC input message m.

2.2.9 LE Secure Connections Numeric Comparison Value Generation
Function g2

The LE Secure Connections numeric comparison value generation function g2
is used to generate the numeric comparison values during authentication stage
1 of the LE Secure Connections pairing process.

The definition of g2 makes use of the MAC function AES-CMACX with 128-bit
key X.

The inputs to function g2 are:
              U is 256 bits
              V is 256 bits
              X is 128 bits
              Y is 128 bits

U, V, and Y are concatenated and used as input m to the function AES-CMAC
and X is used as the key k.

The output of the numeric comparison value generation function g2 is as
follows:
              g2(U, V, X, Y) = AES-CMACX(U || V || Y) mod 232

The least significant octet of Y becomes the least significant octet of the AES-
CMAC input message m and the most significant octet of U becomes the most
significant octet of the AES-CMAC input message m.

The numeric verification value is taken as the six least significant digits of the
32-bit integer g2(PKax, PKbx, Na, Nb) where PKax denotes the x-coordinate of
the public key PKa of A and PKbx denotes the x-coordinate of the public key
PKb of B. Na and Nb are nonces from devices A and B. The value is then




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converted to decimal numeric value. The checksum used for numeric
comparison is the least significant six digits.
              Compare Value = g2 (U, V, X, Y) mod 106

For example, if output = 0x 01 2e b7 2a then decimal value = 19838762 and
the checksum used for numeric comparison is 838762.

2.2.10 Link Key Conversion Function h6

The function h6 is used to convert keys of a given size from one key type to
another key type with equivalent strength.

The definition of the h6 function makes use of the hashing function AES-
CMACW with 128-bit key W.

The inputs to function h6 are:
              W is 128 bits
              keyID is 32 bits

keyID is used as input m to the hashing function AES-CMAC and the most
significant 128-bits of W are used as the key k (2.2.5).

The output of h6 is as follows:
              h6(W, keyID) = AES-CMACW(keyID)

2.2.11 Link Key Conversion Function h7

The function h7 is used to convert keys of a given size from one key type to
another key type with equivalent strength.

The definition of the h7 function makes use of the hashing function AES-
CMACSALT with 128-bit key SALT.

The inputs to function h7 are:
              SALT is 128 bits
              W is 128 bits

W is used as input m to the hashing function AES-CMAC and SALT is used as
the key k (2.2.5).

The output of h7 is as follows:
              h7(SALT, W) = AES-CMACSALT(W)




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2.3 PAIRING METHODS
When pairing is started, the Pairing Feature Exchange shall be initiated by the
initiating device. If the responding device does not support pairing or pairing
cannot be performed then the responding device shall respond using the
Pairing Failed message with the error code “Pairing Not Supported” otherwise
it responds with a Pairing Response message.

The Pairing Feature Exchange is used to exchange IO capabilities, OOB
authentication data availability, authentication requirements, key size
requirements and which transport specific keys to distribute. The IO
capabilities, OOB authentication data availability and authentication
requirements are used to determine the key generation method used in Phase
2.

All of the LE legacy pairing methods use and generate 2 keys:
1. Temporary Key (TK): a 128-bit temporary key used in the pairing process
   which is used to generate STK (see Section 2.3.5.5).
2. Short Term Key (STK): a 128-bit temporary key used to encrypt a
   connection following pairing.

The LE Secure Connections pairing methods use and generate 1 key:
1. Long Term Key (LTK): a 128-bit key used to encrypt the connection following
   pairing and subsequent connections.

Authentication requirements are set by GAP, (see [Vol 3] Part C, Section 10.3).
The authentication requirements include the type of bonding and man-in-the-
middle protection (MITM) requirements.

The initiating device indicates to the responding device which transport specific
keys it would like to send to the responding device and which keys it would like
the responding device to send to the initiator. The responding device replies
with the keys that the initiating device shall send and the keys that the
responding device shall send. The keys that can be distributed are defined in
Section 2.4.3. If the device receives a command with invalid parameters, it
shall respond with Pairing Failed command with the error code “Invalid
Parameters.”




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2.3.1 Security Properties

Security properties provided by SM are classified into the following categories:
• LE Secure Connections pairing
• Authenticated MITM protection
• Unauthenticated no MITM protection
• No security requirements

LE Secure Connections pairing utilizes the P-256 elliptic curve.

In LE legacy pairing, Authenticated man-in-the-middle (MITM) protection is
obtained by using the passkey entry pairing method or may be obtained using
the out of band pairing method. In LE Secure Connections pairing,
Authenticated man-in-the-middle (MITM) protection is obtained by using the
passkey entry pairing method or the numeric comparison method or may be
obtained using the out of band pairing method. To ensure that Authenticated
MITM Protection is generated, the selected Authentication Requirements
option must have MITM protection specified.

Unauthenticated no MITM Protection does not have protection against MITM
attacks.

For LE Legacy Pairing, none of the pairing methods provide protection against
a passive eavesdropper during the pairing process as predictable or easily
established values for TK are used. If the pairing information is distributed
without an eavesdropper being present then all the pairing methods provide
confidentiality.

An initiating device shall maintain a record of the Security Properties for the
distributed keys in a security database.

A responding device may maintain a record of the distributed key sizes and
Security Properties for the distributed keys in a security database. Depending
upon the key generation method and negotiated key size a responding device
may have to reduce the key length (see Section 2.3.4) so that the initiator and
responder are using identical keys.

Security properties of the key generated in phase 2 under which the keys are
distributed shall be stored in the security database.




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2.3.2 IO Capabilities

Input and output capabilities of a device are combined to generate its IO
capabilities. The input capabilities are described in Table 2.3. The output
capabilities are described in Table 2.4.

 Capability                Description

 No input                  Device does not have the ability to indicate ‘yes’ or ‘no’
 Yes / No                  Device has at least two buttons that can be easily mapped to 'yes' and 'no'
                           or the device has a mechanism whereby the user can indicate either 'yes'
                           or 'no' (see note below).
 Keyboard                  Device has a numeric keyboard that can input the numbers '0' through '9'
                           and a confirmation. Device also has at least two buttons that can be easily
                           mapped to 'yes' and 'no' or the device has a mechanism whereby the user
                           can indicate either 'yes' or 'no' (see note below).

Table 2.3: User Input Capabilities

Note: 'yes' could be indicated by pressing a button within a certain time limit
otherwise 'no' would be assumed.

 Capability                Description

 No output                 Device does not have the ability to display or communicate a 6 digit deci-
                           mal number

 Numeric output            Device has the ability to display or communicate a 6 digit decimal number
Table 2.4: User Output Capabilities

The individual input and output capabilities are mapped to a single IO capability
for that device which is used in the pairing feature exchange. The mapping is
described in Table 2.5.



                                       Local output capacity

                              No output              Numeric output

                No input      NoInputNoOutput        DisplayOnly
  Local input
   capacity




                Yes/No        NoInputNoOutput1       DisplayYesNo

                Keyboard      KeyboardOnly           KeyboardDisplay

Table 2.5: I/O Capabilities Mapping
 1. None of the pairing algorithms can use Yes/No input and no output, therefore
    NoInputNoOutput is used as the resulting IO capability.




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2.3.3 OOB Authentication Data

An out of band mechanism may be used to communicate information which is
used during the pairing process. The information shall be a sequence of
Advertising Data structures (see [Vol 3] Part C, Section 11).

The OOB data flag shall be set if a device has the peer device's out of band
authentication data. A device uses the peer device's out of band authentication
data to authenticate the peer device. In LE legacy pairing, the out of band
method is used if both the devices have the other device's out of band
authentication data available. In LE Secure Connections pairing, the out of
band method is used if at least one device has the peer device's out of band
authentication data available.

2.3.4 Encryption Key Size

Each device shall have maximum and minimum encryption key length
parameters which defines the maximum and minimum size of the encryption
key allowed in octets. The maximum and minimum encryption key length
parameters shall be between 7 octets (56 bits) and 16 octets (128 bits), in 1
octet (8 bit) steps. This is defined by a profile or device application.

The smaller value of the initiating and responding devices maximum encryption
key length parameters shall be used as the encryption key size.

Both the initiating and responding devices shall check that the resultant
encryption key size is not smaller than the minimum key size parameter for that
device and if it is, the device shall send the Pairing Failed command with error
code “Encryption Key Size”.

The encryption key size may be stored so it can be checked by any service that
has minimum encryption key length requirements.

If a key has an encryption key size that is less than 16 octets (128 bits), it shall
be created by masking the appropriate MSBs of the generated key to provide a
resulting key that has the agreed encryption key size. The masking shall be
done after generation and before being distributed, used or stored.
Note: When the BR/EDR link key is being derived from the LTK, the derivation
is done before the LTK gets masked.

For example, if a 128-bit encryption key is
              0x123456789ABCDEF0123456789ABCDEF0

and it is reduced to 7 octets (56 bits), then the resulting key is
              0x0000000000000000003456789ABCDEF0.




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2.3.5 Pairing Algorithms

The information exchanged in Phase 1 is used to select which key generation
method is used in Phase 2.

When LE legacy pairing is used, the pairing is performed by each device
generating a Temporary Key (TK). The method to generate TK depends upon
the pairing method chosen using the algorithm described in Section 2.3.5.1. If
Just Works is used then TK shall be generated as defined in Section 2.3.5.2. If
Passkey Entry is used then TK shall be generated as defined in Section
2.3.5.3. If Out Of Band is used then TK shall be generated as defined in
Section 2.3.5.4. The TK value shall be used in the authentication mechanism
defined in Section 2.3.5.5 to generate the STK and encrypt the link.

2.3.5.1 Selecting Key Generation Method

If both devices have not set the MITM option in the Authentication
Requirements Flags, then the IO capabilities shall be ignored and the Just
Works association model shall be used.

In LE legacy pairing, if both devices have Out of Band authentication data, then
the Authentication Requirements Flags shall be ignored when selecting the
pairing method and the Out of Band pairing method shall be used. Otherwise,
the IO capabilities of the device shall be used to determine the pairing method
as defined in Table 2.8.

In LE Secure Connections pairing, if one or both devices have out of band
authentication data, then the Authentication Requirements Flags shall be
ignored when selecting the pairing method and the Out of Band pairing method
shall be used. Otherwise, the IO capabilities of the device shall be used to
determine the pairing method as defined in Table 2.8.

Table 2.6 defines the STK generation method when at least one of the devices
does not support LE Secure Connections.

                                                       Initiator

                             OOB Set      OOB Not Set      MITM Set              MITM Not Set

              OOB Set        Use OOB      Check MITM
              OOB Not Set    Check MITM   Check MITM
  Responder




                                                           Use                   Use
              MITM Set
                                                           IO Capabilities       IO Capabilities
                                                           Use                   Use
              MITM Not Set
                                                           IO Capabilities       Just Works
Table 2.6: Rules for using Out-of-Band and MITM flags for LE legacy pairing




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Table 2.7 defines the LTK generation method when both devices support LE
Secure Connections.

                                                              Initiator

                                OOB Set          OOB Not Set      MITM Set              MITM Not Set

              OOB Set           Use OOB          Use OOB
              OOB Not Set       Use OOB          Check MITM
  Responder




                                                                  Use                   Use
              MITM Set
                                                                  IO Capabilities       IO Capabilities
                                                                  Use                   Use
              MITM Not Set
                                                                  IO Capabilities       Just Works
Table 2.7: Rules for using Out-of-Band and MITM flags for LE Secure Connections Pairing




                                                        Initiator

                                       Display        Keyboard            NoInput          Keyboard
 Responder               DisplayOnly   YesNo          Only                NoOutput         Display

                                                      Passkey                              Passkey
                                                      Entry:                               Entry:
                         Just Works    Just Works     responder           Just Works       responder
 Display                                              displays, ini-                       displays, ini-
 Only                    Unauthenti-   Unauthenti-                        Unauthenti-
                         cated         cated          tiator inputs       cated            tiator inputs
                                                      Authenti-                            Authenti-
                                                      cated                                cated

                                                                                           Passkey
                                                                                           Entry (For
                                       Just Works
                                                                                           LE Legacy
                                       (For LE
                                                                                           Pairing):
                                       Legacy
                                                                                           responder
                                       Pairing)
                                                      Passkey                              displays, ini-
                                       Unauthenti-    Entry:                               tiator inputs
                         Just Works    cated          responder           Just Works
 Display                                                                                   Authenti-
                         Unauthenti-                  displays, ini-      Unauthenti-      cated
 YesNo                                                tiator inputs
                         cated                                            cated
                                       Numeric        Authenti-                            Numeric
                                       Comparison     cated                                Comparison
                                       (For LE                                             (For LE
                                       Secure Con-                                         Secure Con-
                                       nections)                                           nections)
                                       Authenti-                                           Authenti-
                                       cated                                               cated

Table 2.8: Mapping of IO Capabilities to Key Generation Method




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                                                       Initiator

                                    Display          Keyboard         NoInput        Keyboard
 Responder         DisplayOnly      YesNo            Only             NoOutput       Display

                   Passkey          Passkey          Passkey                         Passkey
                   Entry: initia-   Entry: initia-   Entry: initia-                  Entry: initia-
                   tor displays,    tor displays,    tor and          Just Works     tor displays,
 Keyboard          responder        responder        responder                       responder
 Only                                                                 Unauthenti-
                   inputs           inputs           inputs           cated          inputs
                   Authenti-        Authenti-        Authenti-                       Authenti-
                   cated            cated            cated                           cated

                   Just Works       Just Works       Just Works       Just Works     Just Works
 NoInput
 NoOutput          Unauthenti-      Unauthenti-      Unauthenti-      Unauthenti-    Unauthenti-
                   cated            cated            cated            cated          cated

                                    Passkey                                          Passkey
                                    Entry (For                                       Entry (For
                                    LE Legacy                                        LE Legacy
                                    Pairing):                                        Pairing):
                                    initiator dis-                                   initiator dis-
                                    plays,                                           plays,
                   Passkey                           Passkey
                                    responder                                        responder
                   Entry: initia-                    Entry:
                                    inputs                                           inputs
                   tor displays,                     responder        Just Works
 Keyboard          responder        Authenti-        displays, ini-                  Authenti-
 Display                                                              Unauthenti-
                   inputs           cated            tiator inputs                   cated
                                                                      cated
                   Authenti-        Numeric          Authenti-                       Numeric
                   cated            Comparison       cated                           Comparison
                                    (For LE                                          (For LE
                                    Secure Con-                                      Secure Con-
                                    nections)                                        nections)
                                    Authenti-                                        Authenti-
                                    cated                                            cated

Table 2.8: Mapping of IO Capabilities to Key Generation Method

The generated key will either be an Authenticated or Unauthenticated key. If
the out of band authentication method is used and the Out of Band mechanism
is known to be secure from eavesdropping the key is assumed to be
Authenticated; however, the exact strength depends upon the method used to
transfer the out of band information. If the Out of Band method is used and the
Out of Band mechanism is not secure from eavesdropping or the level of
eavesdropping protection is unknown, the key shall be Unauthenticated. The
mapping of IO capabilities to an authenticated or unauthenticated key is
described in Table 2.8.

In LE legacy pairing,if the initiating device has Out of Band data and the
responding device does not have Out of Band data then the responding device
may send the Pairing Failed command with the error code “OOB Not Available”
instead of the Pairing Response command.



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If the key generation method does not result in a key that provides sufficient
security properties then the device shall send the Pairing Failed command with
the error code “Authentication Requirements”.

2.3.5.2 LE Legacy Pairing - Just Works

The Just Works STK generation method provides no protection against
eavesdroppers or man in the middle attacks during the pairing process. If the
attacker is not present during the pairing process then confidentiality can be
established by using encryption on a future connection.

Both devices set the TK value used in the authentication mechanism defined in
Section 2.3.5.5 to zero.

2.3.5.3 LE Legacy Pairing - Passkey Entry

The Passkey Entry STK generation method uses 6 numeric digits passed out
of band by the user between the devices. A 6 digit numeric randomly
generated passkey achieves approximately 20 bits of entropy.

If the IO capabilities of a device are DisplayOnly or if Table 2.8 defines that the
device displays the passkey, then that device shall display a randomly
generated passkey value between 000,000 and 999,999. The display shall
ensure that all 6 digits are displayed – including zeros. The other device shall
allow the user to input a value between 000,000 and 999,999.

If entry of Passkey in UI fails to occur or is cancelled then the device shall send
Pairing Failed command with reason code “Passkey Entry Failed”.

For example, if the user entered passkey is ‘019655’ then TK shall be
0x00000000000000000000000000004CC7.

The passkey Entry method provides protection against active “man-in-the-
middle” (MITM) attacks as an active man-in-the-middle will succeed with a
probability of 0.000001 on each invocation of the method.

The Passkey Entry STK generation method provides very limited protection
against eavesdroppers during the pairing process because of the limited range
of possible TK values which STK is dependent upon. If the attacker is not
present during the pairing process then confidentiality and authentication can
be established by using encryption on a future connection.

The TK value shall then be used in the authentication mechanism defined in
Section 2.3.5.5.




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2.3.5.4 Out of Band

An out of band mechanism may be used to communicate information to help with
device discovery, for example device address, and the 128-bit TK value used in
the pairing process. The TK value shall be a 128-bit random number using the
requirements for random generation defined in [Vol 2] Part H, Section 2.

If the OOB communication is resistant to MITM attacks, then this association
method is also resistant to MITM attacks. Also, in the Out of Band method, the
size of authentication parameter (TK) need not be restricted by what the user
can comfortably read or type. For that reason, the Out of Band method can be
more secure than using the Passkey Entry or Just Works methods. However,
both devices need to have matching OOB interfaces.

MITM protection is only provided if an active man-in-the-middle chance of a
successful attack has a probability of 0.000001 or less in succeeding.

2.3.5.5 LE Legacy Pairing Phase 2

The initiating device generates a 128-bit random number (Mrand).

The initiating device calculates the 128-bit confirm value (Mconfirm) using the
confirm value generation function c1 (see Section 2.2.3) with the input
parameter k set to TK, the input parameter r set to Mrand, the input parameter
preq set to Pairing Request command as exchanged with the peer device (i.e.
without any modifications), the input parameter pres set to the Pairing
Response command as exchanged with the peer device (i.e. without any
modifications), the input parameter iat set to the initiating device address type,
ia set to the initiating device address, rat set to the responding device address
type and ra set to the responding device address:
              Mconfirm = c1(TK, Mrand,
              Pairing Request command, Pairing Response command,
              initiating device address type, initiating device address,
              responding device address type, responding device address)

Initiating and responding device addresses used for confirmation generation
shall be device addresses used during connection setup, see [Vol 3] Part C,
Section 9.3

The responding device generates a 128-bit random number (Srand).

The responding device calculates the 128-bit confirm value (Sconfirm) using
the confirm value generation function c1 (see Section 2.2.3) with the input
parameter k set to TK, the input parameter r set to Srand, the input parameter
preq set to Pairing Request command, the input parameter pres set to the
Pairing Response command, the input parameter iat set to the initiating device




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address type, ia set to the initiating device address, rat set to the responding
device address type and ra set to the responding device address:
              Sconfirm = c1(TK, Srand,
              Pairing Request command, Pairing Response command,
              initiating device address type, initiating device address,
              responding device address type, responding device address)

The initiating device transmits Mconfirm to the responding device. When the
responding device receives Mconfirm it transmits Sconfirm to the initiating
device. When the initiating device receives Sconfirm it transmits Mrand to the
responding device.

The responding device verifies the Mconfirm value by repeating the calculation
the initiating device performed, using the Mrand value received.

If the responding device’s calculated Mconfirm value does not match the
received Mconfirm value from the initiating device then the pairing process
shall be aborted and the responding device shall send the Pairing Failed
command with reason code “Confirm Value Failed”.

If the responding device’s calculated Mconfirm value matches the received
Mconfirm value from the initiating device the responding device transmits
Srand to the initiating device.

The initiating device verifies the received Sconfirm value by repeating the
calculation the responding device performed, using the Srand value received.

If the initiating devices calculated Sconfirm value does not match the received
Sconfirm value from the responding device then the pairing process shall be
aborted and the initiating device shall send the Pairing Failed command with
the reason code “Confirm Value Failed”.

If the initiating device’s calculated Sconfirm value matches the received
Sconfirm value from the responding device the initiating device then calculates
STK and tells the Controller to enable encryption.

STK is generated using the key generation function s1 defined in Section 2.2.4
with the input parameter k set to TK, the input parameter r1 set to Srand, and
the input parameter r2 set to Mrand:
              STK = s1(TK, Srand, Mrand)

If the encryption key size is less than 128 bits then the STK shall be masked to
the correct key size as described in Section 2.3.4.

The initiator shall use the generated STK to either enable encryption on the link
or if encryption has already been enabled, perform the encryption pause
procedure (see Section 2.4.4.1).




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2.3.5.6 LE Secure Connections Pairing Phase 2

The Long Term Key is generated in LE Secure Connections pairing phase 2.

2.3.5.6.1 Public Key Exchange

Initially, each device generates its own Elliptic Curve Diffie-Hellman (ECDH)
public-private key pair (phase 1). The public-private key pair contains a private
(secret) key, and a public key. The private keys of devices A and B are denoted
as SKa and SKb respectively. The public keys of devices A and B and denoted
as PKa and PKb respectively. This key pair needs to be generated only once
per device and may be computed in advance of pairing. A device may, at any
time, choose to discard its public-private key pair and generate a new one,
although there is not a requirement to do so.

Pairing is initiated by the initiating device sending its public key to the receiving
device (phase 1a). The responding device replies with its own public key
(phase 1b) These public keys are not regarded as secret although they may
identify the devices. Note that phases 1a and 1b are the same in all three
protocols.


                          ,QLWLDWLQJ                  1RQLQLWLDWLQJ
                          'HYLFH$                     'HYLFH%

                                                                   3XEOLF.H\([FKDQJH
                                       D3.D


       6WDUWFRPSXWLQJ'+.H\           E3.E                6WDUWFRPSXWLQJ'+.H\
      '+.H\ 3 6.D3.E                                    '+.H\ 3 6.E3.D



Figure 2.2: Public Key Exchange


After the public keys have been exchanged, the device can then start
computing the Diffie-Hellman Key.

When the Security Manager is placed in a Debug mode it shall use the
following Diffie-Hellman private / public key pair:
 Private key:      3f49f6d4 a3c55f38 74c9b3e3 d2103f50 4aff607b eb40b799
                   5899b8a6 cd3c1abd
 Public key (X): 20b003d2 f297be2c 5e2c83a7 e9f9a5b9 eff49111 acf4fddb
                   cc030148 0e359de6
 Public key (Y): dc809c49 652aeb6d 63329abf 5a52155c 766345c2 8fed3024
                   741c8ed0 1589d28b

Note: Only one side (initiator or responder) needs to set Secure Connections
debug mode in order for debug equipment to be able to determine the LTK and,
therefore, be able to monitor the encrypted connection.

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2.3.5.6.2 Authentication Stage 1 – Just Works or Numeric Comparison

The Numeric Comparison association model will be used during pairing if the
MITM bit is set to 1 in the Authentication Requirements in the Pairing Request
PDU and/or Pairing Response PDU and both devices have IO capabilities set
to either DisplayYesNo or KeyboardDisplay.

The sequence diagram of Authentication Stage 1 for the Just Works or
Numeric Comparison protocol from the cryptographic point of view is shown in
Figure 2.3.


            ,QLWLDWLQJ                                                    1RQLQLWLDWLQJ
            'HYLFH$                                                       'HYLFH%

                                                                                    $XWKHQWLFDWLRQ6WDJH
                                                                                               -XVW:RUNV

     D6HOHFW5DQGRP1D                                             E6HOHFW5DQGRP1E


      D6HWUDDQGUEWR                                           E6HWUEDQGUDWR


                                                                    F&RPSXWHFRQILUPDWLRQ
                                                                     &E I 3.E3.D1E
                                                                               
                                              &E
                                              1D
                                              1E


  D&KHFNLI&E I 3.E3.D1E
         ,IFKHFNIDLOVDERUW

                                      9DDQG9EDUHGLJLW
                                     QXPEHUVWREHGLVSOD\HG
                                     RQHDFKVLGHLISRVVLEOH

   D9D J 3.D3.E1D1E                                        E9E J 3.D3.E1D1E



 3URFHHGLIXVHU                    86(5FKHFNVLI9D 9E                      3URFHHGLIXVHU
 &RQILUPVಯ2.ರ                 3URFHHGLIHDFK86(5FRQILUPVಫ2.ಬ                 &RQILUPVಯ2.ರ




Figure 2.3: "Authentication Stage 1: Just Works or Numeric Comparison, LE Secure Connections


After the public keys have been exchanged, each device selects a pseudo-
random 128-bit nonce (step 2). This value is used to prevent replay attacks and
must be freshly generated with each instantiation of the pairing protocol. This
value should be generated directly from a physical source of randomness or


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with a good pseudo-random generator seeded with a random value from a
physical source.

Following this the responding device then computes a commitment to the two
public keys that have been exchanged and its own nonce value (step 3c). This
commitment is computed as a one-way function of these values and is
transmitted to the initiating device (step 4). The commitment prevents an
attacker from changing these values at a later time.

The initiating and responding devices then exchange their respective nonce
values (steps 5 and 6) and the initiating device confirms the commitment (step
6a). A failure at this point indicates the presence of an attacker or other
transmission error and causes the protocol to abort. The protocol may be
repeated with or without the generation of new public-private key pairs, but new
nonces must be generated if the protocol is repeated.

When Just Works is used, the commitment checks (steps 7a and 7b) are not
performed and the user is not shown the 6-digit values.

When Numeric Comparison is used, assuming that the commitment check
succeeds, the two devices each compute 6-digit confirmation values that are
displayed to the user on their respective devices (steps 7a, 7b, and 8). The
user is expected to check that these 6-digit values match and to confirm if there
is a match. If there is no match, the protocol aborts and, as before, new nonces
must be generated if the protocol is to be repeated.

An active MITM must inject its own key material into this process to have any
effect other than denial-of-service. A simple MITM attack will result in the two 6-
digit display values being different with probability 0.999999. A more
sophisticated attack may attempt to engineer the display values to match, but
this is thwarted by the commitment sequence. If the attacker first exchanges
nonces with the responding device, it must commit to the nonce that it will use
with the initiating device before it sees the nonce from the initiating device. If
the attacker first exchanges nonces with the initiating device, it must send a
nonce to the responding device before seeing the nonce from the responding
device. In each case, the attacker must commit to at least the second of its
nonces before knowing the second nonce from the legitimate devices. It
therefore cannot choose its own nonces in such a way as to cause the display
values to match.




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2.3.5.6.3 Authentication Stage 1 – Passkey Entry

The Passkey Entry protocol is used when SMP IO capability exchange
sequence indicates that Passkey Entry shall be used.

The sequence diagram for Authentication Stage 1 for Passkey Entry from the
cryptographic point of view is shown in Figure 2.4.


             ,QLWLDWLQJ                                                   1RQLQLWLDWLQJ
             'HYLFH$                                                      'HYLFH%

                                                                                     $XWKHQWLFDWLRQ6WDJH
                                                                                             3DVVNH\(QWU\

  D,QMHFWVHFUHWUDVHWUE UD                               E,QMHFWVHFUHWUEVHWUD UE

                                          ([HFXWHWLPHV
                                        UD UD_UD_ಹUD
                                        UE UE_UE_ಹUE
                                      1HZUDQGRPQXPEHUVDUH
                                       VHOHFWHGLQHDFKURXQG
      D6HOHFWUDQGRP1DL                                           E6HOHFWUDQGRP1EL


     D&RPSXWHFRQILUP                                            E&RPSXWHFRQILUP
   &DL I 3.D3.E1DLUDL                                       &EL I 3.E3.D1ELUEL
                                                                               
                                               &DL
                                               &EL
                                               1DL


                                                                         D&KHFNLI
                                                                  &DL I 3ND3.E1DLUEL 
                                                                     ,IFKHFNIDLOVDERUW

                                               1EL


          D&KHFNLI
   &EL I 3.E3ND1ELUDL 
     ,IFKHFNIDLOVDERUW



Figure 2.4: Authentication Stage 1: Passkey Entry, LE Secure Connections


The user inputs an identical Passkey into both devices. Alternately, the
Passkey may be generated and displayed on one device, and the user then
inputs it into the other (step 2). This short shared key will be the basis of the
mutual authentication of the devices. Steps 3 through 8 are repeated k times
for a k-bit Passkey — e.g., k=20 for a 6-digit Passkey (999999=0xF423F).

In Steps 3-8, each side commits to each bit of the Passkey, using a long nonce
(128 bits), and sending the hash of the nonce, the bit of the Passkey, and both

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public keys to the other party. The parties then take turns revealing their
commitments until the entire Passkey has been mutually disclosed. The first
party to reveal a commitment for a given bit of the Passkey effectively reveals
that bit of the Passkey in the process, but the other party then has to reveal the
corresponding commitment to show the same bit value for that bit of the
Passkey, or else the first party will then abort the protocol, after which no more
bits of the Passkey are revealed.

This "gradual disclosure" prevents leakage of more than 1 bit of un-guessed
Passkey information in the case of a MITM attack. A MITM attacker with only
partial knowledge of the Passkey will only receive one incorrectly-guessed bit
of the Passkey before the protocol fails. Hence, a MITM attacker who engages
first one side, then the other will only gain an advantage of at most two bits
over a simple brute-force guesser which succeeds with probability 0.000001.

The long nonce is included in the commitment hash to make it difficult to brute
force even after the protocol has failed. The public Diffie-Hellman values are
included to tie the Passkey protocol to the original ECDH key exchange, to
prevent a MITM from substituting the attacker's public key on both sides of the
ECDH exchange in standard MITM fashion.

At the end of this stage, Na is set to Na20 and Nb is set to Nb20 for use in
Authentication Stage 2.




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2.3.5.6.4 Authentication Stage 1 – Out of Band

The Out-of-Band protocol is used when authentication information has been
received by at least one of the devices and indicated in the OOB data flag
parameter included in the SMP Pairing Request and SMP Pairing Response
PDU. The mode in which the discovery of the peer device is first done in-band
and then followed by the transmission of authentication parameters through
OOB interface is not supported. The sequence diagram for Authentication
Stage 1 for Out of Band from the cryptographic point of view is shown in Figure
2.5.


                   ,QLWLDWLQJ                                              1RQLQLWLDWLQJ
                   'HYLFH$                                                 'HYLFH%

                                                                                            $XWKHQWLFDWLRQ6WDJH
                                                                                                      2XWRI%DQG

            2a. Set ra=rand, rb=0                                      2b. Set rb=rand, ra=0



          3a. Compute confirm:                                     3b. Compute confirm:
     Ca=f4(PKa,PKa,ra,0) and send 4a.                         Cb=f4(PKb,PKb,rb,0) and send 4b.




                                            4a. A, ra, Ca
                                                                                   OOB Communication
                                            OR / AND                              A = Device Address used
                                                                                      during pairing
                                            4b. B, rb, Cb                         B = Device Address used
                                                                                      during pairing
                                     Security Manager Pairing begins


      D,IEUHFHLYHGUHVHWUEWRWKH                     E,IDUHFHLYHGUHVHWUDWRWKH
            UHFHLYHGYDOXHDQGLI                                 UHFHLYHGYDOXHDQGLI
        &EำI 3.E3.EUE DERUW                             &DำI 3.D3.DUD DERUW
       ,IEUHFHLYHGDQG'HYLFH%ಬV                          ,IDUHFHLYHGDQG'HYLFH$ಬV
       ,2GDWDIODJGRHVQRWLQGLFDWH                         ,2GDWDIODJGRHVQRWLQGLFDWH
      22%DXWKHQWLFDWLRQGDWDSUHVHQW                       22%DXWKHQWLFDWLRQGDWDSUHVHQW
                   VHWUD                                                 VHWUE 



            6a. Select random Na                                       6b. Select random Nb

                                                7. Na

                                                8. Nb



Figure 2.5: Authentication Stage 1: Out of Band, LE Secure Connections


Principle of operation. If both devices can transmit and/or receive data over
an out-of-band channel, then mutual authentication will be based on the
commitments of the public keys (Ca and Cb) exchanged OOB in Authentication
stage 1. If OOB communication is possible only in one direction, then

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authentication of the device receiving the OOB communication will be based
on that device knowing a random number r sent via OOB. In this case, r must
be secret: r can be created afresh every time, or access to the device sending r
must be restricted. If r is not sent by a device, it is assumed to be 0 by the
device receiving the OOB information in step 4a or 4b.

Roles of A and B. The OOB Authentication Stage 1 protocol is symmetric with
respect to the roles of A and B. It does not require that device A always will
initiate pairing and it automatically resolves asymmetry in the OOB
communication.

Order of steps. The public key exchange must happen before the verification
step 5. In the diagram the in-band public key exchange between the devices
(step 1) is done before the OOB communication (step 4). But when the pairing
is initiated by an OOB interface, public key exchange will happen after the
OOB communication (step 1 will be between steps 4 and 5).

Values of ra and rb: Since the direction of the peer's OOB interface cannot be
verified before the OOB communication takes place, a device should always
generate and if possible transmit through its OOB interface a random number r
to the peer. Each device applies the following rules locally to set the values of
its own r and the value of the peer's r:
1. Initially, r of the device is set to a random number and r of the peer is set to 0
   (step 2).
2. If a device has received OOB, it sets the peer's r value to what was sent by
   the peer (Step 5).
3. If the remote device's OOB data flag sent in the SMP Pairing Request or
   SMP Pairing Response is set to “OOB Authentication data not present”, it
   sets its own r value to 0 (Step 5)




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2.3.5.6.5 Authentication Stage 2 and Long Term Key Calculation

The second stage of authentication then confirms that both devices have
successfully completed the exchange. This stage is identical in all three
protocols.

Each device computes the MacKey and the LTK using the previously
exchanged values and the newly derived shared key (step 9). Each device
then computes a new confirmation value that includes the previously
exchanged values and the newly derived MacKey (step 10a and 10b). The
initiating device then transmits its confirmation value, which is checked by the
responding device (step 11). If this check fails, it indicates that the initiating
device has not confirmed the pairing, and the protocol must be aborted. The
responding device then transmits its confirmation value, which is checked by
the initiating device (step 12). A failure indicates that the responding device has
not confirmed the pairing and the protocol should abort.


                   ,QLWLDWLQJ                                        1RQLQLWLDWLQJ
                   'HYLFH$                                           'HYLFH%

                                                                                      $XWKHQWLFDWLRQ6WDJH
                           IOcapA is from Pairing Request                                   /7.&DOFXODWLRQ
                           IOcapB is from Pairing Response
                           A = Device Address of A used during pairing
                           B = Device Address of B used during pairing


   &RPSXWHWKH/7.DQG0DF.H\                          &RPSXWHWKH/7.DQG0DF.H\
 0DF.H\__/7. I '+.H\1D1E$%                      0DF.H\__/7. I '+.H\1D1E$%



          D&RPSXWH(D                                       E&RPSXWH(E
    I 0DF.H\1D1EUE,2FDS$$%                           I 0DF.H\1E1DUD,2FDS%%$

                                              (D



                                                                  &KHFNLI(D 
                                                           I 0DF.H\1D1EUE,2FDS$$% 
                                                                 ,IFKHFNIDLOVDERUW

                                              (E



         D&KHFNLI(E 
   I 0DF.H\1E1DUD,2FDS%%$ 
         ,IFKHFNIDLOVDERUW



Figure 2.6: Authentication Stage 2 and Long Term Key Calculation




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2.3.5.7 Cross-transport Key Derivation

When a pair of BR/EDR/LE devices support Secure Connections on a
transport, the devices may optionally generate a key of identical strength for
the other transport. There are two sequences:
• If Secure Connections pairing occurs first on the LE transport the
  procedures in Section 2.4.2.4 may be used.
• If Secure connections pairing occurs first on the BR/EDR transport the
  procedures in Section 2.4.2.5 may be used.

2.3.6 Repeated Attempts

When a pairing procedure fails a waiting interval shall pass before the verifier
will initiate a new Pairing Request command or Security Request command to
the same claimant, or before it will respond to a Pairing Request command or
Security Request command initiated by a device claiming the same identity as
the failed device. For each subsequent failure, the waiting interval shall be
increased exponentially. That is, after each failure, the waiting interval before a
new attempt can be made, could be for example, twice as long as the waiting
interval prior to the previous attempt1. The waiting interval should be limited to
a maximum.

The maximum waiting interval depends on the implementation. The waiting
time shall exponentially decrease to a minimum when no new failed attempts
are made during a certain time period. This procedure prevents an intruder
from repeating the pairing procedure with a large number of different keys.

To protect a device's private key, a device should implement a method to
prevent an attacker from retrieving useful information about the device's private
key using invalid public keys. For this purpose, a device can use one of the
following methods:
• Change its private key after three failed attempts from any BD_ADDR and
  after 10 successful pairings from any BD_ADDR; or after a combination of
  these such that 3 successful pairings count as one failed pairing; or
• Verify that the received public keys from any BD_ADDR are on the correct
  curve; or
• Implement elliptic curve point addition and doubling using formulas that are
  valid only on the correct curve.




1. Another appropriate integer value larger than 1 may be used.


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2.4 SECURITY IN BLUETOOTH LOW ENERGY
Security shall be initiated by the Security Manager in the device in the master
role. The device in the slave role shall be the responding device. The slave
device may request the master device to initiate pairing or other security
procedures, see Section 2.4.6.

The slave in the key distribution phase gives keys to the master so a
reconnection can be encrypted, its random addresses can be resolved, or the
master device can verify signed data from the slave.

The master may also provide keys to the slave device so a reconnection can
be encrypted if the roles are reversed, the master’s random addresses can be
resolved, or the slave can verify signed data from the master.

2.4.1 Definition of Keys and Values

LE security uses the following keys and values for encryption, signing, and
random addressing:
1. Identity Resolving Key (IRK) is a 128-bit key used to generate and resolve
   random addresses.
2. Connection Signature Resolving Key (CSRK) is a 128-bit key used to sign
   data and verify signatures on the receiving device.
3. Long Term Key (LTK) is a 128-bit key used to generate the contributory
   session key for an encrypted connection. Link Layer encryption is described
   in [Vol 6] Part B, Section 5.1.3.
4. Encrypted Diversifier (EDIV) is a 16-bit stored value used to identify the LTK
   distributed during LE legacy pairing. A new EDIV is generated each time a
   unique LTK is distributed.
5. Random Number (Rand) is a 64-bit stored valued used to identify the LTK
   distributed during LE legacy pairing. A new Rand is generated each time a
   unique LTK is distributed.

2.4.2 Generation of Distributed Keys

Any method of generation of keys that are being distributed that results in the
keys having 128 bits of entropy can be used, as the generation method is not
visible outside the slave device (see Section Appendix B). The keys shall not
be generated only from information that is distributed to the master device or
only from information that is visible outside of the slave device.

2.4.2.1 Generation of IRK

The Identity Resolving Key (IRK) is used for resolvable private address
construction (see [Vol 3] Part C, Section 10.8.2). A master that has received
IRK from a slave can resolve that slave’s random device addresses. A slave


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that has received IRK from a master can resolve that master’s random device
addresses. The privacy concept only protects against devices that are not part
of the set to which the IRK has been given.

IRK can be assigned, or randomly generated by the device during
manufacturing, or some other method could be used. If IRK is randomly
generated then the requirements for random generation defined in [Vol 2] Part
H, Section 2 shall be used.

The encryption key size does not apply to IRK; therefore, its size does not need
to be reduced before distribution.

2.4.2.2 Generation of CSRK

The Connection Signature Resolving Key (CSRK) is used to sign data in a
connection. A device that has received CSRK can verify signatures generated
by the distributing device. The signature only protects against devices that are
not part of the set to which CSRK has been given.

CSRK can be assigned or randomly generated by the device during
manufacturing, or some other method could be used. If CSRK is randomly
generated then the requirements for random generation defined in [Vol 2] Part
H, Section 2 shall be used.

The encryption key size does not apply to CSRK, therefore its size does not
need to be reduced before distribution.

2.4.2.3 LE Legacy Pairing - Generation of LTK, EDIV and Rand

Devices which support encryption in the Link Layer Connection State in the
Slave Role shall be capable of generating LTK, EDIV, and Rand.

The EDIV and Rand are used by the slave device to establish a previously
shared LTK in order to start an encrypted connection with a previously paired
master device.

The generated LTK size must not exceed the negotiated encryption key size
and its size may need to be reduced (see Section 2.3.4).

New values of LTK, EDIV, and Rand shall be generated each time they are
distributed.

The slave device may store the mapping between EDIV, Rand and LTK in a
security database so the correct LTK value is used when the master device
requests encryption. Depending upon the LTK generation method additional
information may be stored, for example the size of the distributed LTK.

The master device may also distribute EDIV, Rand, and LTK to the slave
device which can be used to encrypt a reconnection if the device roles are
reversed in a future connection.

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2.4.2.4 Derivation of BR/EDR Link Key from LE LTK

The LTK from the LE physical transport can be converted to the BR/EDR link
key for the BR/EDR transport as follows, using intermediate link key (ILK) as
an intermediate value:

If at least one device sets CT2 = 0 then
       1.     ILK = h6(LTK, “tmp1”)
       2.     BR/EDR link key = h6(ILK, “lebr”)

If both devices set CT2 = 1 then
       1.     ILK = h7(SALT, LTK)
       2.     BR/EDR link key = h6(ILK, “lebr”)

The string “lebr” is mapped into keyID using extended ASCII as follows:
              keyID[0]    =   0111 0010
              keyID[1]    =   0110 0010
              keyID[2]    =   0110 0101
              keyID[3]    =   0110 1100
              keyID       =   0x6c656272

The string “tmp1” is mapped into keyID using extended ASCII as follows:
              keyID[0]    =   0011 0001
              keyID[1]    =   0111 0000
              keyID[2]    =   0110 1101
              keyID[3]    =   0111 0100
              keyID       =   0x746D7031

SALT is defined as follows:
              SALT = 0x00000000000000000000000000000000746D7031

Note: If the LTK has an encryption key size that is less than 16 octets (128
bits), the BR/EDR link key is derived before the LTK gets masked.

2.4.2.5 Derivation of LE LTK from BR/EDR Link Key

The BR/EDR Link Key from the BR/EDR physical transport can be converted to
the LTK for the LE transport as follows, using intermediate long term key (ILTK)
as an intermediate value:

If at least one device sets CT2 = 0 then
       1.     ILTK = h6(Link Key, “tmp2”)
       2.     LTK = h6(ILTK, “brle”)




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If both devices set CT2 = 1 then
       1.     ILTK = h7(SALT, Link Key)
       2.     LTK = h6(ILTK, “brle”)

The string “brle” is mapped into keyID using extended ASCII as follows:
              keyID[0]    =   0110 0101
              keyID[1]    =   0110 1100
              keyID[2]    =   0111 0010
              keyID[3]    =   0110 0010
              keyID       =   0x62726c65

The string “tmp2” is mapped into keyID using extended ASCII as follows:
              keyID[0]    =   0011 0010
              keyID[1]    =   0111 0000
              keyID[2]    =   0110 1101
              keyID[3]    =   0111 0100
              keyID       =   0x746D7032

The SALT is defined as follows:
              SALT = 0x00000000000000000000000000000000746D7032

2.4.3 Distribution of Keys

Key distribution for LE Legacy Pairing and LE Secure Connections is described
in the following sections.

2.4.3.1 LE Legacy Pairing Key Distribution

The slave may distribute to the master the following keys:
• LTK, EDIV, and Rand
• IRK
• CSRK

The master device may distribute to the slave the following keys:
• LTK, EDIV, and Rand
• IRK
• CSRK

The security properties of the distributed keys shall be set to the security
properties of the STK that was used to distribute them. For example if STK has
Unauthenticated no MITM Protection security properties then the distributed
keys shall have Unauthenticated no MITM Protection security properties.



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The link shall be encrypted or re-encrypted using STK generated in Phase 2
(see Section 2.4.4.1) before any keys are distributed.

Note: The distributed EDIV and Rand values are transmitted in clear text by the
master device to the slave device during encrypted session setup.

The BD_ADDR that is received in the Identity Address Information command
shall only be considered valid once a reconnection has occurred using the
BD_ADDR and LTK distributed during that pairing. Once this is successful the
BD_ADDR and the distributed keys shall be associated with that device in the
security database.

A device may request encrypted session setup to use the LTK, EDIV, and Rand
values distributed by the slave device when the key distribution phase has
completed; however, this does not provide any additional security benefit. If an
attacker has established the distributed LTK value then performing encrypted
session setup to use the distributed values does not provide any protection
against that attacker.




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2.4.3.2 LE Secure Connections Key Distribution

The master and slave may distribute the following keys:
• IRK
• CSRK

The security properties of the distributed keys shall be set to the security
properties of the LTK that was used to distribute them. For example if LTK has
Unauthenticated no MITM Protection security properties then the distributed
keys shall have Unauthenticated no MITM Protection security properties.

The link shall be encrypted or re-encrypted using LTK generated in Phase 2
(see Section 2.4.4.1) before any keys are distributed.

The BD_ADDR that is received in the Identity Address Information command
shall only be considered valid once a reconnection has occurred using the
BD_ADDR and LTK generated during that pairing. Once this is successful the
BD_ADDR and the distributed keys shall be associated with that device in the
security database.

2.4.4 Encrypted Session Setup

During the encrypted session setup the master device sends a 16-bit
Encrypted Diversifier value, EDIV, and a 64-bit Random Number, Rand,
distributed by the slave device during pairing, to the slave device. The master’s
Host provides the Link Layer with the Long Term Key to use when setting up
the encrypted session. The slave’s Host receives the EDIV and Rand values
and provides a Long Term Key to the slave’s Link Layer to use when setting up
the encrypted link.

When both devices support LE Secure Connections, the EDIV and Rand are
set to zero.

2.4.4.1 Encryption Setup using STK

To distribute LTK and other keys in pairing Phase 3 an encrypted session
needs to be established (see Section 2.3.5.5).

The encrypted session is setup using STK generated in Phase 2 (see Section
Section 2.3.5.5) as the Long Term Key provided to the Link Layer, (see [Vol 6]
Part B, Section 5.1.3.1) EDIV, and Rand values shall be set to zero.

If the link is already encrypted then the encryption pause procedure is
performed using STK generated in Phase 2 as the Long Term Key provided to
the Link Layer (see [Vol 6] Part B, Section 5.1.3.2). EDIV and Rand values
shall be set to zero.




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2.4.4.2 Encryption Setup using LTK

The master device must have the security information (LTK, EDIV, and Rand)
distributed by the slave device in LE legacy pairing or the LTK generated in LE
Secure Connections to setup an encrypted session.

The master initiates the encrypted session using the security information; see
[Vol 6] Part B, Section 5.1.3.1. If the link is already encrypted the encryption
pause procedure is performed using the security information; see [Vol 6] Part
B, Section 5.1.3.2.

In LE legacy pairing, the EDIV and Rand values are used to establish LTK
which is used as the Long Term Key on the slave device. If LTK cannot be
established from EDIV and Rand values then the slave shall reject the request
to encrypt the link and may optionally disconnect the link.

The LTK size must not exceed the negotiated encryption key size and its size
may need to be reduced (see Section 2.3.4).

When the security information is stored, subsequent encryption setups may fail
if the remote device has deleted the security information. Table 2.9 defines
what shall be done depending on the type of the security properties and
whether or not bonding was performed when subsequent encryption setup
fails.

 Security Properties     Devices Bonded       Action to take when enabling encryption fails

 Unauthenticated,        No                   Depends on security policy of the device:
 no MITM protection                           • Option 1: Automatically initiate pairing
                                              • Option 2: Notify user and ask if pairing is ok.
                                              Option 1 is recommended.

 Unauthenticated,        Yes                  Notify user of security failure
 no MITM protection

 Authenticated MITM      No                   Depends on security policy of the device:
 protection                                   • Option 1: Automatically initiate pairing
                                              • Option 2: Notify user and ask if pairing is ok.
                                              Option 2 is recommended.

 Authenticated MITM      Yes                  Notify user of security failure
 protection
Table 2.9: Action after encryption setup failure


2.4.5 Signing Algorithm

An LE device can send signed data without having to establish an encrypted
session with a peer device. Data shall be signed using CSRK. A device
performing signature verification must have received CSRK from the signing
device. The sending device will use its CSRK to sign the transmitted data.

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The following are inputs to the signing algorithm:
              m is variable length
              k is 128 bits
              SignCounter is 32 bits

Signing shall be performed using the algorithm defined in the NIST Special
Publication 800-38B (http://csrc.nist.gov/publications/PubsSPs.html) using
AES-128 as the block cipher. NIST SP 800-38B defines the message
authentication code (MAC) generation function:
              MAC = CMAC(K, M, Tlen)

The bit length of the MAC (Tlen) shall be 64 bits. The key used for signature
generation (k) shall be set to CSRK.

The message to be signed (M) by the CMAC function is the concatenation of
the variable length message to be signed (m) and 4 octet string representing
the 32-bit counter value (SignCounter) least significant octet first.
              M = m || SignCounter

For example, if data to be signed is the 7 octet sequence ‘3456789ABCDEF1’
and SignCounter is set to 67653874 (0x040850F2) then M is the octet
sequence ‘3456789ABCDEF1F2500804’. Examples of CMAC generation
using AES-128 as the block cipher are included in NIST Special Publication
800-38B Appendix.

The SignCounter shall be initialized to zero when CSRK is generated and
incremented for every message that is signed with a given CSRK.

Note: If a device generates 100,000 signed events a day, a 32-bit counter will
wrap after approximately 117 years.

The 64-bit result of the CMAC function is used as the result of the signing
algorithm.

To verify a signature a device computes the MAC of a received message and
SignCounter and compares it with the received MAC. If the MAC does not
match then the signature verification has failed. If the MACs match then the
signature verification has succeeded.

The device performing verification should store the last verified SignCounter in
the security database and compare it with a received SignCounter to prevent
replay attacks. If the received SignCounter is greater than the stored value
then the message has not been seen by the local device before and the
security database can be updated.




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2.4.6 Slave Security Request

The slave device may request security by transmitting a Security Request
command to the master. When a master device receives a Security Request
command it may encrypt the link, initiate the pairing procedure, or reject the
request.

The slave shall not send the Security Request command if the pairing
procedure is in progress, or if the encryption procedure is in progress.

The Security Request command includes the required security properties. A
security property of MITM protection required shall only be set if the slave’s IO
capabilities would allow the Passkey Entry association model to be used or out
of band authentication data is available.

The master shall ignore the slave’s Security Request if the master has sent a
Pairing Request without receiving a Pairing Response from the slave or if the
master has initiated encryption mode setup.

If pairing or encryption mode is not supported or cannot be initiated at the time
when the slave’s Security Request Command is received, then the master
shall respond with a Pairing Failed Command with the reason set to “Pairing
Not Supported.”

After receiving a Security Request, the master shall first check whether it has
the required security information to enable encryption; see Section 2.4.4.2. If
this information is missing or does not meet the security properties requested
by the slave, then the master shall initiate the pairing procedure. If the pairing
procedure is successful, the master’s security database is updated with the
keys and security properties are distributed during the pairing procedure.

If the master has the required security information to enable encryption and it
meets the security properties request by the slave, it shall perform encryption
setup using LTK, see Section 2.4.4.2.

Figure 2.7 shows a summary of the actions and decisions that a master shall
take when receiving a Security Request.

The slave shall check that any Pairing Request command received from the
master after sending a Security Request command contains Authentication
Requirements that meet the requested security properties.

If the slave requests a security property that is not Just Works and receives an
encryption procedure request after sending a Security Request command then
it shall check that any existing Security Information is of sufficient security
properties.




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Figure 2.7: Master actions after receiving Security Request




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3 SECURITY MANAGER PROTOCOL

3.1 INTRODUCTION
The Security Manager Protocol (SMP) is used for pairing and transport specific
key distribution.

3.2 SECURITY MANAGER CHANNEL OVER L2CAP
All SMP commands are sent over the Security Manager Channel which is an
L2CAP fixed channel (see [Vol 3] Part A, Section 2.1). The configuration
parameters for the Security Manager Channel when LE Secure Connections is
not supported shall be as shown below in Table 3.1.

 Parameter                  Value

 MTU                        23

 Flush Timeout              0xFFFF (Infinite)
 QoS                        Best Effort
 Mode                       Basic Mode

Table 3.1: Security Manager Channel Configuration Parameters without LE Secure
Connections

The configuration parameters for the Security Manager Channel when LE
Secure Connections is supported shall be as shown below in Table 3.2.

 Parameter                  Value

 MTU                        65
 Flush Timeout              0xFFFF (Infinite)

 QoS                        Best Effort
 Mode                       Basic Mode
Table 3.2: Security Manager Channel Configuration Parameters with LE Secure Connections




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3.3 COMMAND FORMAT
The general format for all SMP commands is shown in Figure 3.1.



           LSB     1 octet                        0-22 or 64 octets                     MSB

                    Code                                Data




Figure 3.1: SMP Command Format


The following are the fields shown:
• Code (1 octet)
  The Code field is one octet long and identifies the type of command. Table
  3.3 lists the codes defined by this document. If a packet is received with a
  Code that is reserved for future use it shall be ignored.

 Code                   Description                                   Logical Link Supported

 0x00                   Reserved for future use

 0x01                   Pairing Request                               LE-U, ACL-U
 0x02                   Pairing Response                              LE-U, ACL-U
 0x03                   Pairing Confirm                               LE-U

 0x04                   Pairing Random                                LE-U
 0x05                   Pairing Failed                                LE-U, ACL-U
 0x06                   Encryption Information                        LE-U

 0x07                   Master Identification                         LE-U
 0x08                   Identity Information                          LE-U, ACL-U
 0x09                   Identity Address Information                  LE-U, ACL-U

 0x0A                   Signing Information                           LE-U, ACL-U
 0x0B                   Security Request                              LE-U
 0x0C                   Pairing Public Key                            LE-U

 0x0D                   Pairing DHKey Check                           LE-U
 0x0E                   Pairing Keypress Notification                 LE-U

 0x0F – 0xFF            Reserved for future use
Table 3.3: SMP Command Codes




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• Data (0 or more octets)
  The Data field is variable in length. The Code field determines the format of
  the Data field.

If a device does not support pairing then it shall respond with a Pairing Failed
command with the reason set to “Pairing Not Supported” (see Section 3.5.5)
when any command is received. If pairing is supported then all commands
shall be supported.

3.4 SMP TIMEOUT
To protect the Security Manager protocol from stalling, a Security Manager
Timer is used. Upon transmission of the Security Request command or
reception of the Security Request command, the Security Manager Timer shall
be reset and restarted. Upon transmission of the Pairing Request command or
reception of the Pairing Request command, the Security Manager Timer shall
be reset and started.

The Security Manager Timer shall be reset when an L2CAP SMP command is
queued for transmission.

When a Pairing process completes, the Security Manager Timer shall be
stopped.

If the Security Manager Timer reaches 30 seconds, the procedure shall be
considered to have failed, and the local higher layer shall be notified. No further
SMP commands shall be sent over the L2CAP Security Manager Channel. A
new Pairing process shall only be performed when a new physical link has
been established.

3.5 PAIRING METHODS
The SMP commands defined in this section are used to perform Pairing
Feature Exchange and key generation (see Section 2.1).

3.5.1 Pairing Request

The initiator starts the Pairing Feature Exchange by sending a Pairing Request
command to the responding device. The Pairing Request command is defined
in Figure 3.2.

The rules for handing a collision between a pairing procedure on the LE
transport and a pairing procedure on the BR/EDR transport are defined in
[Vol 3] Part C, Section 14.2.




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             LSB       octet 0        octet 1          octet 2     octet 3       MSB

                                        IO              OOB
                     Code=0x01                                     AuthReq
                                     Capability        data flag
                     Maximum        Initiator Key   Responder
                     Encryption                         Key
                      Key Size      Distribution    Distribution

Figure 3.2: Pairing Request Packet


The following data fields are used:
• IO Capability (1 octet)
  Table 3.4 defines the values which are used when exchanging IO
  capabilities (see Section 2.3.2).

 Value                       Description

 0x00                        DisplayOnly

 0x01                        DisplayYesNo
 0x02                        KeyboardOnly
 0x03                        NoInputNoOutput

 0x04                        KeyboardDisplay
 0x05-0xFF                   Reserved for future use
Table 3.4: IO Capability Values

• OOB data flag (1 octet)
  Table 3.5 defines the values which are used when indicating whether OOB
  authentication data is available (see Section 2.3.3).

 Value                Description

 0x00                 OOB Authentication data not present
 0x01                 OOB Authentication data from remote device present

 0x02-0xFF            Reserved for future use
Table 3.5: OOB Data Present Values

• AuthReq (1 octet)
  The AuthReq field is a bit field that indicates the requested security
  properties (see Section 2.3.1) for the STK and LTK and GAP bonding
  information (see [Vol 3] Part C, Section 9.4).
   Figure 3.3 defines the authentication requirements bit field.




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      LSB                                                                                 MSB

             Bonding_Flags   MITM            SC       Keypress    CT2       RFU
                (2 bits)     (1 bit)        (1 bit)    (1 bit)   (1 bit)   (2 bits)



Figure 3.3: Authentication Requirements Flags


   The Bonding_Flags field is a 2-bit field that indicates the type of bonding
   being requested by the initiating device as defined in Table 3.6.

 Bonding_Flags
 b1b0                                  Bonding Type

 00                                    No Bonding
 01                                    Bonding
 10                                    Reserved for future use

 11                                    Reserved for future use
Table 3.6: Bonding Flags

   The MITM field is a 1-bit flag that is set to one if the device is requesting
   MITM protection, otherwise it shall be set to 0. A device sets the MITM flag
   to one to request an Authenticated security property for the STK when using
   LE legacy pairing and the LTK when using LE Secure Connections.
   The SC field is a 1 bit flag. If LE Secure Connections pairing is supported by
   the device, then the SC field shall be set to 1, otherwise it shall be set to 0. If
   both devices support LE Secure Connections pairing, then LE Secure
   Connections pairing shall be used, otherwise LE Legacy pairing shall be
   used.
   The keypress field is a 1-bit flag that is used only in the Passkey Entry
   protocol and is ignored in other protocols. When both sides set that field to
   one, Keypress notifications shall be generated and sent using SMP Pairing
   Keypress Notification PDUs.
   The CT2 field is a 1-bit flag that shall be set to 1 upon transmission to indicate
   support for the h7 function. See sections 2.4.2.4 and 2.4.2.5.
• Maximum Encryption Key Size (1 octet)
  This value defines the maximum encryption key size in octets that the device
  can support. The maximum key size shall be in the range 7 to 16 octets.
• Initiator Key Distribution / Generation (1 octet)
  The Initiator Key Distribution / Generation field indicates which keys the
  initiator is requesting to distribute / generate or use during the Transport
  Specific Key Distribution phase (see Section 2.4.3). The Initiator Key
  Distribution / Generation field format and usage is defined in Section 3.6.1.
• Responder Key Distribution / Generation (1 octet)


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   The Responder Key Distribution / Generation field indicates which keys the
   initiator is requesting the responder to distribute / generate or use during the
   Transport Specific Key Distribution phase (see Section 2.4.3). The
   Responder Key Distribution / Generation field format and usage is defined in
   Section 3.6.1.

If Secure Connections pairing has been initiated over BR/EDR, the following
fields of the SM Pairing Request PDU are reserved for future use:
• the IO Capability field,
• the OOB data flag field, and
• all bits in the Auth Req field except the CT2 bit.

3.5.2 Pairing Response

This command is used by the responding device to complete the Pairing
Feature Exchange after it has received a Pairing Request command from the
initiating device, if the responding device allows pairing. The Pairing Response
command is defined in Figure 3.4.

The rules for handing a collision between a pairing procedure on the LE
transport and a pairing procedure on the BR/EDR transport are defined in
[Vol 3] Part C, Section 14.2.

If a Pairing Request is received over the BR/EDR transport when either cross-
transport key derivation/generation is not supported or the BR/EDR transport is
not encrypted using a Link Key generated using P256, a Pairing Failed shall be
sent with the error code "Cross-transport Key Derivation/Generation not
allowed" (0x0E).


             LSB       octet 0      octet 1         octet 2      octet 3       MSB

                                      IO            OOB
                     Code=0x02                                   AuthReq
                                   Capability      data flag
                     Maximum      Initiator Key   Responder
                     Encryption                       Key
                      Key Size    Distribution    Distribution

Figure 3.4: Pairing Response Packet


The following data fields are used:
• IO Capability (1 octet)
  Table 3.4 defines the values which are used when exchanging IO
  capabilities (see Section 2.3.2).
• OOB data flag (1 octet)
  Table 3.5 defines the values which are used when indicating whether OOB
  authentication data is available (see Section 2.3.3).

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• AuthReq (1 octet)
  The AuthReq field is a bit field that indicates the requested security
  properties (see Section 2.3.1) for the STK or LTK and GAP bonding
  information (see [Vol 3] Part C, Section 9.4).
   Figure 3.3 defines the authentication requirements bit field.
   The Bonding_Flags field is a 2-bit field that indicates the type of bonding
   being requested by the responding device as defined in Table 3.6.
   The MITM field is a 1-bit flag that is set to one if the device is requesting
   MITM protection, otherwise it shall be set to 0. A device sets the MITM flag
   to one to request an Authenticated security property for the STK when using
   LE legacy pairing and the LTK when using LE Secure Connections.
   The SC field is a 1 bit flag. If LE Secure Connections pairing is supported by
   the device, then the SC field shall be set to 1, otherwise it shall be set to 0. If
   both devices support LE Secure Connections pairing, then LE Secure
   Connections pairing shall be used, otherwise LE Legacy pairing shall be
   used.
   The keypress field is a 1-bit flag that is used only in the Passkey Entry
   protocol and is ignored in other protocols. When both sides set that field to
   one, Keypress notifications shall be generated and sent using SMP Pairing
   Keypress Notification PDUs.
   The CT2 field is a 1-bit flag that shall be set to 1 upon transmission to indicate
   support for the h7 function. See Sections 2.4.2.4 and 2.4.2.5.
• Maximum Encryption Key Size (1 octet)
  This value defines the maximum encryption key size in octets that the device
  can support. The maximum key size shall be in the range 7 to 16 octets.
• Initiator Key Distribution (1 octet)
  The Initiator Key Distribution field defines which keys the initiator shall
  distribute and use during the Transport Specific Key Distribution phase (see
  Section 2.4.3). The Initiator Key Distribution field format and usage are
  defined in Section 3.6.1.
• Responder Key Distribution (1 octet)
  The Responder Key Distribution field defines which keys the responder shall
  distribute and use during the Transport Specific Key Distribution phase (see
  Section 2.4.3). The Responder Key Distribution field format and usage are
  defined in Section 3.6.1.

If Secure Connections pairing has been initiated over BR/EDR, the following
fields of the SM Pairing Response PDU are reserved for future use:
• the IO Capability field,
• the OOB data flag field, and
• all bits in the Auth Req field except the CT2 bit.




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3.5.3 Pairing Confirm

This is used following a successful Pairing Feature Exchange to start STK
Generation for LE legacy pairing and LTK Generation for LE Secure
Connections pairing. The Pairing Confirm command is defined in Figure 3.5.

This command is used by both devices to send the confirm value to the peer
device, see Section 2.3.5.5 for LE legacy pairing and Section 2.3.5.6 for LE
Secure Connections pairing.

The initiating device starts key generation by sending the Pairing Confirm
command to the responding device. If the initiating device wants to abort
pairing it can transmit a Pairing Failed command instead.

The responding device sends the Pairing Confirm command after it has
received a Pairing Confirm command from the initiating device.


                      LSB    octet 0    octet 1      octet 2      octet 3   MSB

                            Code=0x03             Confirm Value


                                           Confirm Value


                                           Confirm Value


                                           Confirm Value

                             Confirm
                              Value




Figure 3.5: Pairing Confirm Packet


The following data field is used:
• Confirm value (16 octets)
  In LE legacy pairing, the initiating device sends Mconfirm and the
  responding device sends Sconfirm as defined in Section 2.3.5.5.
  In LE Secure Connections, Ca and Cb are defined in Section 2.2.6.

3.5.4 Pairing Random

This command is used by the initiating and responding device to send the
random number used to calculate the Confirm value sent in the Pairing Confirm
command. The Pairing Random command is defined in Figure 3.6.

The initiating device sends a Pairing Random command after it has received a
Pairing Confirm command from the responding device.


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In LE legacy pairing, the responding device shall send a Pairing Random
command after it has received a Pairing Random command from the initiating
device if the Confirm value calculated on the responding device matches the
Confirm value received from the initiating device. If the calculated Confirm
value does not match then the responding device shall respond with the
Pairing Failed command.

In LE Secure Connections, the responding device shall send a Pairing Random
command after it has received a Pairing Random command from the initiating
device. If the calculated Confirm value does not match then the responding
device shall respond with the Pairing Failed command.

The initiating device shall encrypt the link using the generated key (STK in LE
legacy pairing or LTK in LE Secure Connections) if the Confirm value
calculated on the initiating device matches the Confirm value received from the
responding device. The successful encryption or re-encryption of the link is the
signal to the responding device that key generation has completed
successfully. If the calculated Confirm value does not match then the initiating
device shall respond with the Pairing Failed command.




                   LSB        octet 0   octet 1      octet 2     octet 3     MSB

                            Code=0x04             Random value


                                          Random value


                                          Random value


                                          Random value

                             Random
                              value


Figure 3.6: Pairing Random Packet


The following are the data fields:
• Random value (16 octets)
  In LE legacy pairing, the initiating device sends Mrand and the responding
  device sends Srand as defined in Section 2.3.5.5.
  In LE Secure Connections, the initiating device sends Na and the
  responding device sends Nb.




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3.5.5 Pairing Failed

This is used when there has been a failure during pairing and reports that the
pairing procedure has been stopped and no further communication for the
current pairing procedure is to occur. The Pairing Failed command is defined in
Figure 3.7.

Any subsequent pairing procedure shall restart from the Pairing Feature
Exchange phase.

This command may be sent at any time during the pairing process by either
device in response to a message from the remote device.


                            LSB        octet 0     octet 1     MSB

                                    Code=0x05    Reason


Figure 3.7: Pairing Failed Packet


The following data field is used:
• Reason (1 octets)

The Reason field indicates why the pairing failed. The reason codes are
defined in Table 3.7.

 Value             Name                          Description

 0x00                                            Reserved for future use

 0x01              Passkey Entry Failed          The user input of passkey failed, for exam-
                                                 ple, the user cancelled the operation
 0x02              OOB Not Available             The OOB data is not available
 0x03              Authentication Requirements   The pairing procedure cannot be per-
                                                 formed as authentication requirements
                                                 cannot be met due to IO capabilities of one
                                                 or both devices

 0x04              Confirm Value Failed          The confirm value does not match the cal-
                                                 culated compare value
 0x05              Pairing Not Supported         Pairing is not supported by the device

 0x06              Encryption Key Size           The resultant encryption key size is insuffi-
                                                 cient for the security requirements of this
                                                 device
 0x07              Command Not Supported         The SMP command received is not sup-
                                                 ported on this device
Table 3.7: Pairing Failed Reason Codes

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 Value             Name                          Description

 0x08              Unspecified Reason            Pairing failed due to an unspecified reason
 0x09              Repeated Attempts             Pairing or authentication procedure is dis-
                                                 allowed because too little time has elapsed
                                                 since last pairing request or security
                                                 request
 0x0A              Invalid Parameters            The Invalid Parameters error code indicates
                                                 that the command length is invalid or that a
                                                 parameter is outside of the specified range.

 0x0B              DHKey Check Failed            Indicates to the remote device that the
                                                 DHKey Check value received doesn’t
                                                 match the one calculated by the local
                                                 device.
 0x0C              Numeric Comparison Failed     Indicates that the confirm values in the
                                                 numeric comparison protocol do not match.

 0x0D              BR/EDR pairing in progress    Indicates that the pairing over the
                                                 LE transport failed due to a Pairing Request
                                                 sent over the BR/EDR transport in prog-
                                                 ress.
 0x0E              Cross-transport Key Deriva-   Indicates that the BR/EDR Link Key gener-
                   tion/Generation not allowed   ated on the BR/EDR transport cannot be
                                                 used to derive and distribute keys for the LE
                                                 transport.
 0x0F - 0xFF                                     Reserved for future use

Table 3.7: Pairing Failed Reason Codes




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3.5.6 Pairing Public Key

This message is used to transfer the device’s local public key (X and Y co-
ordinates) to the remote device. This message is used by both the initiator and
responder. This PDU is only used for Secure Connections.


            LSB        Octet 0        Octet 1          Octet 2          Octet 3     MSB
                    Code = 0x0C                 Public Key X [0-2]
                                        Public Key X [3-6]
                                       Public Key X [7-10]
                                       Public Key X [11-14]
                                       Public Key X [15-18]
                                       Public Key X [19-22]
                                       Public Key X [23-26]
                                       Public Key X [27-30]
                    Public Key X
                                                  Public Key Y [0-2]
                        [31]
                                        Public Key Y [3-6]
                                       Public Key Y [7-10]
                                       Public Key Y [11-14]
                                       Public Key Y [15-18]
                                       Public Key Y [19-22]
                                       Public Key Y [23-26]
                                       Public Key Y [27-30]
                    Public Key Y
                        [31]

Figure 3.8: Pairing Public Key PDU


3.5.7 Pairing DHKey Check

This message is used to transmit the 128-bit DHKey Check values (Ea/Eb)
generated using f6. This message is used by both initiator and responder. This
PDU is only used for LE Secure Connections.


            LSB        Octet 0        Octet 1          Octet 2          Octet 3     MSB
                   Code = 0x0D                  DHKey Check (E) [0-2]
                                      DHKey Check (E) [3-6]
                                     DHKey Check (E) [7-10]
                                     DHKey Check (E) [11-14]
                   DHKey check
                     (E) [15]

Figure 3.9: Pairing DHKey Check PDU




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3.5.8 Keypress Notification

This message is used during the Passkey Entry protocol by a device with
KeyboardOnly IO capabilities to inform the remote device when keys have
been entered or erased.


            LSB               Octet 0                 Octet 1              MSB
                            Code = 0x0E          Notification Type

Figure 3.10: Pairing Keypress Notification PDU


Notification Type can take one of the following values:

 Value             Parameter Description

 0                 Passkey entry started

 1                 Passkey digit entered
 2                 Passkey digit erased
 3                 Passkey cleared

 4                 Passkey entry completed
 5-255             Reserved for future use

Table 3.8: Notification Type




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3.6 SECURITY IN BLUETOOTH LOW ENERGY

3.6.1 Key Distribution and Generation

Bluetooth low energy devices can distribute keys from the slave to the master
and from the master to the slave device. When using LE legacy pairing, the
following keys may be distributed from the slave to the master:
• LTK using Encryption Information command
• EDIV and Rand using Master Identification command
• IRK using Identity Information command
• Public device or static random address using Identity Address Information
  command
• CSRK using Signing Information command

When using LE Secure Connections, the following keys may be distributed
from the slave to the master:
• IRK using Identity Information command
• Public device or static random address using Identity Address Information
  command
• CSRK using Signing Information command

When using LE legacy pairing, the master may distribute to the slave the
following key:
• LTK using Encryption Information command
• EDIV and Rand using Master Identification command
• IRK using Identity Information command
• Public device or static random address using Identity Address Information
  command
• CSRK using Signing Information command

When using LE Secure Connections, the master may distribute to the slave the
following key:
• IRK using Identity Information command
• Public device or static random address using Identity Address Information
  command
• CSRK using Signing Information command

The keys which are to be distributed in the Transport Specific Key Distribution
phase are indicated in the Key Distribution field of the Pairing Request and
Pairing Response commands see Section 3.5.1 and Section 3.5.2.



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The format of the Initiator Key Distribution / Generation field and Responder
Key Distribution / Generation field in the Pairing Request and Pairing
Response commands for LE is defined in Figure 3.11.


 LSB                                                                               MSB

        EncKey      IdKey     SignKey    LinkKey       RFU
         (1 bit)    (1 bit)    (1 bit)    (1 bit)     (4 bits)


Figure 3.11: LE Key Distribution Format


The Key Distribution / Generation field has the following flags:
• In LE legacy pairing, EncKey is a 1-bit field that is set to one to indicate that
  the device shall distribute LTK using the Encryption Information command
  followed by EDIV and Rand using the Master Identification command.
   In LE Secure Connections pairing, when SMP is running on the LE
   transport, then the EncKey field is ignored. EDIV and Rand shall be set to
   zero and shall not be distributed.
   When SMP is running on the BR/EDR transport, the EncKey field is set to
   one to indicate that the device would like to derive the LTK from the BR/EDR
   Link Key. When EncKey is set to 1 by both devices in the initiator and
   responder Key Distribution / Generation fields, the procedures for
   calculating the LTK from the BR/EDR Link Key shall be used.
• IdKey is a 1-bit field that is set to one to indicate that the device shall
  distribute IRK using the Identity Information command followed by its public
  device or static random address using Identity Address Information.
• SignKey is a 1-bit field that is set to one to indicate that the device shall
  distribute CSRK using the Signing Information command.
• LinkKey is a 1-bit field. When SMP is running on the LE transport, the
  LinkKey field is set to one to indicate that the device would like to derive the
  Link Key from the LTK. When LinkKey is set to 1 by both devices in the
  initiator and responder Key Distribution / Generation fields, the procedures
  for calculating the BR/EDR link key from the LTK shall be used. Devices not
  supporting LE Secure Connections shall set this bit to zero and ignore it on
  reception. When SMP is running on the BR/EDR transport, the LinkKey field
  is reserved for future use.

The Initiator Key Distribution / Generation field in the Pairing Request
command is used by the master to request which keys are distributed or
generated by the initiator to the responder. The Responder Key Distribution /
Generation field in the Pairing Request command is used by the master to
request which keys are distributed or generated by the responder to the
initiator. The Initiator Key Distribution / Generation field in the Pairing
Response command from the slave defines the keys that shall be distributed or
generated by the initiator to the responder. The Responder Key Distribution /
Generation field in the Pairing Response command from the slave defines the

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keys that shall be distributed or generated by the responder to the initiator. The
slave shall not set to one any flag in the Initiator Key Distribution / Generation
or Responder Key Distribution / Generation field of the Pairing Response
command that the master has set to zero in the Initiator Key Distribution /
Generation and Responder Key Distribution / Generation fields of the Pairing
Request command.

When using LE legacy pairing, the keys shall be distributed in the following
order:

       1.     LTK by the slave
       2.     EDIV and Rand by the slave
       3.     IRK by the slave
       4.     BD ADDR by the slave
       5.     CSRK by the slave
       6.     LTK by the master
       7.     EDIV and Rand by the master
       8.     IRK by the master
       9.  BD_ADDR by the master
       10. CSRK by the master

When using LE Secure Connections, the keys shall be distributed in the
following order:

       1.     IRK by the slave
       2.     BD ADDR by the slave
       3.     CSRK by the slave
       4.     IRK by the master
       5.     BD_ADDR by the master
       6.     CSRK by the master

If a key is not being distributed then the command to distribute that key shall
not be sent.

Note: If a key is not distributed, then the capabilities that use this key will not be
available. For example, if a LTK is not distributed from the slave to the master,
then the master cannot encrypt a future link with that slave, therefore pairing
would have to be performed again.

Note: The initiator should determine the keys needed based on the capabilities
that are required by higher layer specifications. For example, if the initiator
determines that encryption is required in a future link with that slave, then the
initiator must request that slave's LTK is distributed by setting the EncKey bit to
one in the Responder Key Distribution / Generation field of the Pairing Request
command.


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If EncKey, IdKey, and SignKey are set to zero in the Initiator Key Distribution /
Generation and Responder Key Distribution / Generation fields, then no keys
shall be distributed or generated and the link will be encrypted using the
generated STK when using LE legacy pairing and LTK when using LE Secure
Connections pairing.

Key distribution is complete in the device sending the final key when it receives
the baseband acknowledgment for that key and is complete in the receiving
device when it receives the final key being distributed.

3.6.2 Encryption Information

Encryption Information is used in the LE legacy pairing Transport Specific Key
Distribution to distribute LTK that is used when encrypting future connections.
The Encryption Information command is defined in Figure 3.12.

The Encryption Information command shall only be sent when the link has
been encrypted or re-encrypted using the generated STK.


                       LSB     octet 0   octet 1       octet 2     octet 3   MSB

                             Code=0x06             Long Term Key


                                           Long Term Key


                                           Long Term Key


                                           Long Term Key

                             Long Term
                                Key



Figure 3.12: Encryption Information Packet


The following is the data field:
• Long Term Key (16 octets)
  The generated LTK value being distributed, see Section 2.4.2.3.

3.6.3 Master Identification

Master Identification is used in the LE legacy pairing Transport Specific Key
Distribution phase to distribute EDIV and Rand which are used when
encrypting future connections. The Master Identification command is defined in
Figure 3.13.

The Master Identification command shall only be sent when the link has been
encrypted or re-encrypted using the generated STK.



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                      LSB     octet 0        octet 1          octet 2      octet 3   MSB

                            Code=0x07                  EDIV                Rand


                                                       Rand


                                             Rand



Figure 3.13: Master Identification Packet


The following data fields are used:
• EDIV (2 octets)
  The EDIV value being distributed (see Section 2.4.2.3).
• Rand (8 octets)
  64-bit Rand value being distributed (see Section 2.4.2.3).

3.6.4 Identity Information

Identity Information is used in the Transport Specific Key Distribution phase to
distribute the IRK. The Identity Information command is defined in Figure 3.14.

The Identity Information command shall only be sent when the link has been
encrypted or re-encrypted using the generated key.


              LSB       octet 0         octet 1           octet 2       octet 3      MSB

                      Code=0x08                   Identity Resolving Key


                                        Identity Resolving Key


                                        Identity Resolving Key


                                        Identity Resolving Key

                        Identity
                       Resolving
                          Key


Figure 3.14: Identity Information Packet


The following are the data fields:
• Identity Resolving Key (16 octets)
  128-bit IRK value being distributed (see Section 2.4.2.1).

Note: An all zero Identity Resolving Key data field indicates that a device does
not have a valid resolvable private address.

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3.6.5 Identity Address Information

Identity Address Information is used in the Transport Specific Key Distribution
phase to distribute its public device address or static random address. The
Identity Address Information command is defined in Figure 3.15.

The Identity Address Information command shall only be sent when the link
has been encrypted or re-encrypted using the generated key.


         LSB          octet 0      octet 1         octet 2   octet 3         MSB

                Code=0x09        AddrType               BD_ADDR


                                         BD_ADDR


Figure 3.15: Identity Address Information Packet


The data fields are:
• AddrType (1 octet)
  If BD_ADDR is a public device address, then AddrType shall be set to 0x00.
  If BD_ADDR is a static random device address then AddrType shall be set
  to 0x01.
• BD_ADDR (6 octets)
  This field is set to the distributing device’s public device address or static
  random address.




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3.6.6 Signing Information

Signing Information is used in the Transport Specific Key Distribution to
distribute the CSRK which a device uses to sign data. The Signing Information
command is defined in Figure 3.16.

The Signing Information command shall only be sent when the link has been
encrypted or re-encrypted using the generated key.

                        LSB    octet 0    octet 1       octet 2     octet 3   MSB

                              Code=0x0A             Signature Key


                                              Signature Key


                                              Signature Key


                                              Signature Key

                              Signature
                                 Key



Figure 3.16: Signing Information Packet


The following data field is used:
• Signature Key (16 octets)
  128-bit CSRK that is being distributed; see Section 2.4.2.2.




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3.6.7 Security Request

The Security Request command is used by the slave to request that the master
initiates security with the requested security properties, see Section 2.4.6. The
Security Request command is defined in Figure 3.17.



                            LSB    octet 0    octet 1     MSB

                                  Code=0x0B   AuthReq




Figure 3.17: Security Request Packet


The following data field is used:
• AuthReq (1 octet)
  The AuthReq field is a bit field that indicates the requested security
  properties (see Section 2.3.1) for the STK or LTK and GAP bonding
  information (see [Vol 3] Part C, Section 9.4).
   Figure 3.3 defines the authentication requirements bit field.
   The Bonding_Flags field is a 2-bit field that indicates the type of bonding
   being requested by the responding device as defined in Table 3.6.
   The MITM field is a 1-bit flag that is set to one if the device is requesting
   MITM protection, otherwise it shall be set to 0. A device sets the MITM flag
   to one to request an Authenticated security property for the STK when using
   LE legacy pairing and the LTK when using LE Secure Connections.
   The SC field is a 1 bit flag. If LE Secure Connections pairing is supported by
   the device, then the SC field shall be set to 1, otherwise it shall be set to 0. If
   both devices support LE Secure Connections pairing, then LE Secure
   Connections pairing shall be used, otherwise LE Legacy pairing shall be
   used.
   The keypress field is a 1-bit flag that is used only in the Passkey Entry
   protocol and is ignored in other protocols. When both sides set that field to
   one, Keypress notifications shall be generated and sent using SMP Pairing
   Keypress Notification PDUs.




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APPENDIX A EDIV AND RAND GENERATION

EDIV and Rand are used by the responding device to identify an initiator and
recover LTK. This section provides an example of how the distributed EDIV
value is a masked version of the real value (DIV) which is used to recover LTK.
Other methods can be used that provide equal or higher levels of confidentially
for DIV.

A.1 EDIV MASKING
The masking process uses a Diversifier Hiding Key (DHK) which is a 128-bit
key that is never distributed.

DHK can be assigned, randomly generated by the device during
manufacturing, part of a key hierarchy (see Appendix B, Section B.2.3) or
some other method could be used, that results in DHK having 128 bits of
entropy. If DHK is randomly generated then the requirements for random
generation defined in [Vol 2] Part H, Section 2 shall be used.

If DHK is changed then DIV values cannot be recovered from previously
distributed EDIV values.

Section A.1.1 defines a cryptographic function that is used by the responding
device when generating EDIV and recovering DIV.

Section A.1.2 describes how a responding device generates an EDIV value to
be distributed to an initiating device and Section A.1.3 describes how the
responding device recovers DIV from a distributed EDIV value.

A.1.1 DIV Mask generation function dm

DIV is masked before distribution and unmasked during the encryption session
setup using the output of the DIV mask generation function dm.

The following are inputs to the DIV mask generation function dm:
              k is 128 bits
              r is 64 bits
              padding is 64 bits

r is concatenated with padding to generate r’ which is used as the 128-bit input
parameter plaintextData to security function e:
              r’ = padding || r

The least significant octet of r becomes the least significant octet of r’ and the
most significant octet of padding becomes the most significant octet of r’.



Appendix A: EDIV and Rand Generation                                   06 December 2016
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For example, if the 64-bit value r is 0x123456789ABCDEF0 then r’ is
0x0000000000000000123456789ABCDEF0.

The output of the DIV mask generation function dm is
              dm(k, r) = e(k, r’) mod 216

The output of the security function e is then truncated to 16 bits by taking the
least significant 16 bits of the output of e as the result of dm.

A.1.2 EDIV Generation

The responding device generates a 64-bit random value, Rand. The Rand
value is used to generate 16-bit Y using the DIV mask generation function dm
with the input parameter k set to DHK and the input parameter r set to Rand.
              Y = dm(DHK, Rand)

The responding device then masks the DIV value to be distributed by bitwise
XORing it with Y to generate EDIV.
              EDIV = Y xor DIV

EDIV and Rand are distributed to an initiating device during the transport
specific key distribution phase using the Master Identification command.

A.1.3 DIV Recovery

When the responding device receives a request to encrypt a session it
calculates Y using the DIV mask generation function dm with the input
parameter k set to DHK and the input parameter r set to Rand. The Y value is
bitwise XORed with EDIV from the initiator to recover DIV.
              DIV = Y xor EDIV

The recovered DIV value can then used to recover LTK which is used to enable
encryption on the link.




Appendix A: EDIV and Rand Generation                                  06 December 2016
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APPENDIX B KEY MANAGEMENT

The security provided by different methods can vary and care should be taken
to ensure that a chosen method is suitable for a device’s requirements.

Section B.1 uses a database for managing the keys. Section B.2 uses a key
hierarchy to manage the keys.

B.1 DATABASE LOOKUP
The LTK which is distributed is a 128-bit random number which is stored in a
database, using EDIV as an index. There is no direct relationship between LTK
and EDIV.

The requirements for random generation defined in [Vol 2] Part H, Section 2
shall be used when generating LTK. This method provides an LTK with 128 bits
of entropy.

CSRK, IRK, and other keys shall also be stored in the database. There is no
relationship between the keys stored in the database or distributed LTKs,
EDIVs, or Rands.

If the example EDIV and Rand generation method described inAppendix A,
Section A.1 is used then the database shall be used to store DHK. DIV should
be used as the index to recover LTK.

B.2 KEY HIERARCHY
A key hierarchy can be used to generate the keys.



                     IR                           ER




                   IRK                LTK               CSRK

Figure B.1: Example Key Hierarchy




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Figure B.1 is an example key hierarchy where LTK and CSRK are generated
from a common ER key, and IRK is generated from a common IR key.

      1.     ER is a 128-bit key generated for each LE device that supports
             encrypted connections. It is used to generate LTK using EDIV; see
             Section B.2.2.
      2.     IR is a 128-bit key generated for each LE device that supports
             encrypted connections, uses random addresses or signing data. IR
             is used to generate IRK and CSRK, see Section B.2.3. It can also be
             used to generate DHK; see Appendix A.

New LTK, EDIV, Rand, and CSRK values shall be generated each time they
are distributed. If ER is changed then any previously distributed LTK or CSRK
keys will no longer be valid.

The distributed IRK shall be the same for all devices it is distributed to. If IR is
changed then any previously distributed IRK keys will no longer be valid.

The distributing device only needs to store IR and ER. LTK, IRK, and CSRK
can be regenerated when they are required. This reduces the storage
requirements on the distributing device.

Appendix B.2.1 defines an example of the key diversifying function which can
be used to generate LTK, IRK, CSRK, and other keys. Other implementations
of this function can be used depending upon the exact security requirements of
the device.

The NIST Special Publication 800-108 (http://csrc.nist.gov/publications/
PubsSPs.html) defines key derivation functions which could be used instead of
the example diversifying function d1.

B.2.1 Diversifying function d1

Diversified keys are generated with function d1. The diversifying function d1
makes use of the security function e.

The following are inputs to diversifying function d1:
             k is 128 bits
             d is 16 bits
             r is 16 bits
             padding is 96 bits

d is concatenated with r and padding to generate d’, which is used as the 128-
bit input parameter plaintextData to security function e:
             d’ = padding || r || d

The least significant octet of d becomes the least significant octet of d’ and the
most significant octet of padding becomes the most significant octet of d’.

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For example, if the 16-bit value d is 0x1234 and the 16-bit value r is 0xabcd,
then d’ is 0x000000000000000000000000abcd1234.

The output diversifying function d1 is:
             d1(k, d, r) = e(k, d’)

The 128-bit output of the security function e is used as the result of diversifying
function d1.

B.2.2 Generating Keys from ER

ER is used to generate LTK and CSRK. ER can be assigned, randomly
generated by the device during manufacturing or some other method could be
used, that results in ER having 128 bits of entropy. If ER is randomly generated
then the requirements for random generation defined in [Vol 2] Part H, Section
2 shall be used.

The EDIV and Rand generation method described in Appendix A shall be used.
LTK is the result of the diversifying function d1 with the ER as the input
parameter k, the DIV as the input parameter d, and the value 0 as the input
parameter r; see Section B.2.1.
             LTK = d1(ER, DIV, 0)

LTK can be recovered from ER and DIV by repeating the calculation when LTK
is required.

CSRK is the result of the diversifying function d1 with the ER as the input
parameter k, the DIV as the input parameter d, and the value 1 as the input
parameter r; see Section B.2.1.
             CSRK = d1(ER, DIV, 1)

CSRK can be recovered from ER and DIV by repeating the calculation when
CSRK is required.

This method provides an LTK and CSRK with limited amount of entropy
because LTK and CSRK are directly related to EDIV and may be less secure
than other generation methods.

To reduce the probability of the same LTK or CSRK value being generated, the
DIV values must be unique for each CSRK, LTK, EDIV, and Rand set that is
distributed.

A method for preventing a malicious device from repeatedly pairing and
collecting CSRK, LTK and DIV information, which could be used in a known
plain text attack in ER, should be implemented.

Note: The generation of LTK using ER is only applicable when doing LE
Legacy Pairing. The generation of CSRK using ER is applicable both when
doing LE Legacy Pairing and LE Secure Connections Pairing.

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B.2.3 Generating Keys from IR

IR can be used to generate IRK and other required keys. IR can be assigned,
randomly generated by the device during manufacturing or some other method
could be used, that results in IR having 128 bits of entropy. If IR is randomly
generated then the requirements for random generation defined in [Vol 2] Part
H, Section 2 shall be used.

IRK is the result of the diversifying function d1 with IR as the input parameter k
and the value 1 as the input parameter d and the value 0 as the input
parameter r; see Section B.2.1.
             IRK = d1(IR, 1, 0)

If the example EDIV and Rand generation method described in Appendix A,
Section A.1 is used then DHK can be the result of diversifying function d1 with
IR as the input parameter k and the value 3 as the input parameter d and the
value 0 as the input parameter r.
             DHK = d1(IR, 3, 0)

Other keys can be generated by using different values for k as the input to the
diversifying function d1. If the value of k is reused for a given IR then the
resulting key will be the same.

Note: The generation of DHK using IR is only applicable when doing LE
Legacy Pairing. The generation of IRK using IR is applicable both when doing
LE Legacy Pairing and LE Secure Connections Pairing.




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APPENDIX C MESSAGE SEQUENCE CHARTS

This section is informative and illustrates only the most common scenarios; it
does not cover all possible alternatives. Furthermore, the message sequence
charts do not consider errors over the air interface or Host interface.

A flow diagram of pairing is shown in Figure C.1. The process has 4 steps.
Step 2 has a number of different options.


                                             6WHS3DLULQJ)HDWXUH([FKDQJH



         6WHSD2SWLRQDO6KRUW                     6WHSE2SWLRQDO6KRUW                                6WHSF2SWLRQDO6KRUW
            7HUP.H\ 67.                          7HUP.H\ 67. *HQHUDWLRQ                                    7HUP.H\ 67. 
         *HQHUDWLRQದ-XVW:RUNV                         ದ3DVVNH\(QWU\                                        *HQHUDWLRQದ22%



                                     6WHS(QFU\SW/LQN8VLQJ*HQHUDWHG67.



                                      6WHS7UDQVSRUW6SHFLILF.H\'LVWULEXWLRQ


Figure C.1: Pairing Process Overview


Note: In all the MSCs, the Master device is also the Initiating Device and the
Slave device is also the Responding (non-Initiating) Device.

C.1 PHASE 1: PAIRING FEATURE EXCHANGE
The master initiates the pairing procedure using Pairing Request command as
shown in Figure C.2.




            0DVWHU                                                                                                                           6ODYH



                                                  6WHS0DVWHULQLWLDWHVSDLULQJ

                   Pairing Request (IO Capability, OOB data flag, AuthReq, Max Enc Key Size, Init Key Distribution, Resp Key Distribution)

                  Pairing Response (IO Capability, OOB data flag, AuthReq, Max Enc Key Size, Init Key Distribution, Resp Key Distribution)


          Phase 2 Pairing Method selected from parameters of Pairing Request and Pairing Response




Figure C.2: Pairing initiated by master



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C.1.1 Slave Security Request – Master Requests Pairing

The slave may request the master initiates security procedures. Figure C.3
shows an example where the slave requests security and the master initiates
pairing in response.




            0DVWHU                                                                                                                           6ODYH



                            6WHS6ODYHUHTXHVWVVHFXULW\PDVWHULQLWLDWHVSDLULQJ

                                                                Security Request (AuthReq)

                   Pairing Request (IO Capability, OOB data flag, AuthReq, Max Enc Key Size, Init Key Distribution, Resp Key Distribution)

                  Pairing Response (IO Capability, OOB data flag, AuthReq, Max Enc Key Size, Init Key Distribution, Resp Key Distribution)


                     LE Legacy Pairing Phase 2 Pairing Method selected from parameters of
                                     Pairing Request and Pairing Response




Figure C.3: Slave security request, master initiated pairing




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C.2 PHASE 2: AUTHENTICATING AND ENCRYPTING
After Pairing Feature Exchange has completed a pairing method is selected
one of the possible short term key generation sequences are used. This can be
Just Works, Passkey Entry or Out of Band pairing method.

C.2.1 LE Legacy Pairing

The following sub-sections include message sequence charts for LE legacy
pairing.

C.2.1.1 Legacy Phase 2: Short Term Key Generation – Just Works

After Pairing Feature Exchange has completed a pairing method is selected.
Figure C.4 shows the Just Works pairing method.



             0DVWHU                                                                                                6ODYH



                      6WHS-XVW:RUNV3DLULQJ$IWHU3KDVH3DLULQJ)HDWXUH&KDQJH


                Just Works pairing algorithm selected from parameters of Pairing Request
                      and Pairing Response on Phase 1: Pairing Feature Exchange


        &UHDWH0UDQG                                                                                         &UHDWH6UDQG
        7. [                                                                                                  7. [


       Mconfirm = c1(TK, Mrand, Pairing Request command,                Sconfirm = c1(TK, Srand, Pairing Request command,
       Pairing Response command, initiating device address              Pairing Response command, initiating device address
       type, initiating device address, responding device address       type, initiating device address, responding device address
       type, responding device address)                                 type, responding device address)

                                                         PairingConfirm (Mconfirm)

                                                         PairingConfirm (Sconfirm)

                                                          PairingRandom (Mrand)


                                                                                          &KHFNIRUFRQILUPYDOXHPDWFK

                                                          PairingRandom (Srand)


       &KHFNIRUFRQILUPYDOXHPDWFK


                      67.LVFDOFXODWHGE\UXQQLQJ6ZLWKWKH7.YDOXHDVWKHNH\LQSXW
                                DQGLQLWLDWRUDQGUHVSRQGHUUDQGRPQXPEHUV
                                         67. V 7.6UDQG0UDQG


                                                             [Vol 6] Part D, Section 6.6
                       /LQNLVWKHQHQFU\SWHGXVLQJ67.6HH>9RO@3DUW'6HFWLRQ




Figure C.4: Legacy Just Works Pairing Method

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C.2.1.2 Legacy Phase 2: Short Term Key Generation – Passkey Entry

After Pairing Feature Exchange has completed, a pairing method is selected.
Figure C.5 shows the Passkey Entry pairing method.



             0DVWHU                                                                                                6ODYH



                    6WHS3DVVNH\(QWU\3DLULQJ$IWHU3KDVH3DLULQJ)HDWXUH&KDQJH


              Passkey Entry pairing algorithm selected from parameters of Pairing Request
                    and Pairing Response on Phase 1: Pairing Feature Exchange


        &UHDWH0UDQG                                                                                     &UHDWH6UDQG
        6HW7. 8VHULQSXWSDVVNH\                                                       6HW7. 8VHULQSXWSDVVNH\


       Mconfirm = c1(TK, Mrand, Pairing Request command,                Sconfirm = c1(TK, Srand, Pairing Request command,
       Pairing Response command, initiating device address              Pairing Response command, initiating device address
       type, initiating device address, responding device address       type, initiating device address, responding device address
       type, responding device address)                                 type, responding device address)

                                                         PairingConfirm (Mconfirm)

                                                         PairingConfirm (Sconfirm)

                                                          PairingRandom (Mrand)


                                                                                          &KHFNIRUFRQILUPYDOXHPDWFK

                                                          PairingRandom (Srand)


       &KHFNIRUFRQILUPYDOXHPDWFK


                      67.LVFDOFXODWHGE\UXQQLQJ6ZLWKWKH7.YDOXHDVWKHNH\LQSXW
                                DQGLQLWLDWRUDQGUHVSRQGHUUDQGRPQXPEHUV
                                         67. V 7.6UDQG0UDQG


                                                             [Vol 6] Part D, Section 6.6
                       /LQNLVWKHQHQFU\SWHGXVLQJ67.6HH>9RO@3DUW'6HFWLRQ




Figure C.5: Legacy Passkey Entry Pairing Method




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C.2.1.3 Legacy Phase 2: Short Term Key Generation – Out of Band

After Pairing Feature Exchange has completed, a pairing method is selected.
Figure C.6 shows the Out of Band pairing method.



             0DVWHU                                                                                                6ODYH



                     6WHS2XW2I%DQG3DLULQJ$IWHU3KDVH3DLULQJ)HDWXUH&KDQJH


                Outof band pairing algorithm selected from parameters of Pairing Request
                      and Pairing Response on Phase 1: Pairing Feature Exchange


        &UHDWH0UDQG                                                                                      &UHDWH6UDQG
        6HW7.WRWKH22%6HFXULW\                                                         6HW7.WRWKH22%6HFXULW\
        0DQDJHU7.YDOXH                                                                             0DQDJHU7.YDOXH

       Mconfirm = c1(TK, Mrand, Pairing Request command,                Sconfirm = c1(TK, Srand, Pairing Request command,
       Pairing Response command, initiating device address              Pairing Response command, initiating device address
       type, initiating device address, responding device address       type, initiating device address, responding device address
       type, responding device address)                                 type, responding device address)

                                                         PairingConfirm (Mconfirm)

                                                         PairingConfirm (Sconfirm)

                                                          PairingRandom (Mrand)


                                                                                          &KHFNIRUFRQILUPYDOXHPDWFK

                                                          PairingRandom (Srand)


       &KHFNIRUFRQILUPYDOXHPDWFK


                      67.LVFDOFXODWHGE\UXQQLQJ6ZLWKWKH7.YDOXHDVWKHNH\LQSXW
                                DQGLQLWLDWRUDQGUHVSRQGHUUDQGRPQXPEHUV
                                         67. V 7.6UDQG0UDQG


                                                             [Vol 6] Part D, Section 6.6
                       /LQNLVWKHQHQFU\SWHGXVLQJ67.6HH>9RO@3DUW'6HFWLRQ




Figure C.6: Legacy OOB Pairing Method




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C.2.2 LE Secure Connections

The following sub-sections include message sequence charts for LE Secure
Connections.

C.2.2.1 Public Key Exchange

In Step 1a and 1b, the two devices exchange public keys. The master sends its
public key to the slave followed by slave sending its public key to the master.



            0DVWHU                                                       6ODYH



                               6WHSDDQGE3XEOLF.H\([FKDQJH

                                            Pairing Public Key

                                            Pairing Public Key




Figure C.7: Pairing Phase 2 - Public Key Exchange




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C.2.2.2 Authentication Stage 1

The following sub-sections include message sequence charts for the success
and failure cases in each association model.

C.2.2.2.1 Successful Numeric Comparison (or Just Works)

The numeric comparison step will be done when both devices have output
capabilities, or if one of the devices has no input or output capabilities.
If both devices have output capabilities, this step requires the displaying of a
user confirmation value. This value should be displayed until the end of step 2.
If one or both devices do not have output capabilities, the same protocol is
used but the Hosts will skip the step asking for the user confirmation.

Note: The sequence for Just Works is identical to that of Numeric Comparison
with the exception that the Host will not show the numbers to the user.



            0DVWHU                                                              6ODYH



                          6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ
                                 -XVW:RUNVRU1XPHULF&RPSDULVRQ


           3LFN1D                                                            3LFN1E
        6HWUD UE                                                      6HWUD UE 


                                                                              &DOFXODWH
                                                                             FRQILUPDWLRQ

                                            Pairing Confirm (Cb)

                                            Pairing Random (Na)

                                            Pairing Random (Nb)


        &KHFN&RQILUPDWLRQ
            VXFFHVV


        &DOFXODWH8VHU                                                      &DOFXODWH8VHU
        &RQILUP9DOXH                                                       &RQILUP9DOXH
                                         7KHVHYDOXHVDUH
                                       SUHVHQWHGWRWKHXVHU
        8VHU&RQILUPV                                                       8VHU&RQILUPV
           9DOXH                                                               9DOXH
          6XFFHVV                                                             6XFFHVV




Figure C.8: Pairing Phase 2, Authentication Stage 1, Successful Numeric Comparison




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C.2.2.2.2 Numeric Comparison – Confirm Check failure on the Initiator side

If the Confirm value calculated by the Initiator is not equal to the Commitment
value received from the Responder, the Initiator will abort Pairing process by
sending Pairing Failed with reason “Confirm Value Failed”.



            0DVWHU                                                                   6ODYH



                          6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ
                                 -XVW:RUNVRU1XPHULF&RPSDULVRQ


           3LFN1D                                                                 3LFN1E
        6HWUD UE                                                           6HWUD UE 


                                                                                   &DOFXODWH
                                                                                  FRQILUPDWLRQ

                                                Pairing Confirm (Cb)

                                                Pairing Random (Na)

                                                Pairing Random (Nb)


       &KHFN&RQILUPDWLRQ
        $ERUWLIPLVPDWFK

                                        Pairing Failed (confirm check failure)




Figure C.9: Pairing Phase 2, Authentication Stage 1, Numeric Comparison – Confirm Check failure
on Initiator side




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C.2.2.2.3 Numeric Comparison Failure on Initiator Side

If the numeric comparison fails on the initiating side due to the user indicating
that the confirmation values do not match, Pairing is terminated.



            0DVWHU                                                                     6ODYH



                          6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ
                                 -XVW:RUNVRU1XPHULF&RPSDULVRQ


           3LFN1D                                                                  3LFN1E
        6HWUD UE                                                             6HWUD UE 


                                                                                     &DOFXODWH
                                                                                    FRQILUPDWLRQ

                                                 Pairing Confirm (Cb)

                                                Pairing Random (Na)

                                                Pairing Random (Nb)


        &KHFN&RQILUPDWLRQ
            VXFFHVV


        &DOFXODWH8VHU                                                             &DOFXODWH8VHU
        &RQILUP9DOXH                                                              &RQILUP9DOXH
                                          7KHVHYDOXHVDUH
                                        SUHVHQWHGWRWKHXVHU
        8VHU'RHVQRW                                                              8VHU&RQILUPV
        &RQILUP9DOXH                                                                 9DOXH
                                                                                     6XFFHVV

                                      Pairing Failed (Numeric Comparison Failed)




Figure C.10: Pairing Phase 2, Authentication Stage 1, Numeric Comparison Failure on Initiator
Side




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C.2.2.2.4 Numeric Comparison Failure on Responding Side

If the numeric comparison fails on the responding side due to the user
indicating that the confirmation values do not match, Pairing is terminated.



            0DVWHU                                                                     6ODYH



                          6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ
                                 -XVW:RUNVRU1XPHULF&RPSDULVRQ


           3LFN1D                                                                  3LFN1E
        6HWUD UE                                                             6HWUD UE 


                                                                                     &DOFXODWH
                                                                                    FRQILUPDWLRQ

                                                 Pairing Confirm (Cb)

                                                Pairing Random (Na)

                                                Pairing Random (Nb)


        &KHFN&RQILUPDWLRQ
            VXFFHVV


        &DOFXODWH8VHU                                                             &DOFXODWH8VHU
        &RQILUP9DOXH                                                              &RQILUP9DOXH
                                          7KHVHYDOXHVDUH
                                        SUHVHQWHGWRWKHXVHU
         8VHU&RQILUP                                                              8VHU'RHVQRW
            9DOXH                                                                  &RQILUP9DOXH

                                      Pairing Failed (Numeric Comparison Failed)




Figure C.11: Pairing Phase 2, Authentication Stage 1, Numeric Comparison Failure on Responding
Side




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C.2.2.2.5 Successful Passkey Entry

The Passkey Entry step is used in two cases: when one device has numeric
input only and the other device has either a display or numeric input capability.
In this step, one device display a number to be entered by the other device or
the user enters a number on both devices. Key press notification messages are
shown during the user input phase.



            0DVWHU                                                               6ODYH



                  6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ3DVVNH\(QWU\

                                        Example Notifications

                                          Pairing Keypress Notification
                                                                                         8VHU
                                          Pairing Keypress Notification
                                                                                         ,QSXW


                                          Repeat 20 times


          3LFN1DUDUE                                                  3LFN1DUDUE
            &DOFXODWH                                                        &DOFXODWH
             &RQILUP                                                          &RQILUP

                                             Pairing Confirm (Cai)

                                             Pairing Confirm (Cbi)

                                             Pairing Random (Nai)


                                                                          &KHFN&RQILUP
                                                                          &RQILUPPDWFKHV

                                             Pairing Random (Nbi)


         &KHFN&RQILUP
         &RQILUPPDWFKHV




Figure C.12: Pairing Phase 2, Authentication Stage 1, Successful Passkey Entry


Note: Passkey Entry may prolong pairing experience because of the time
required to execute 20 repetitions over SMP.




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C.2.2.2.6 Passkey Entry – Confirm Check failure on the Responder side

If during one of the 20 repetitions, the Confirm calculated by the Responder is
not equal to the one received from the Initiator, the Responder will abort the
Pairing process by sending Pairing Failed with reason “Confirm Value Failed”.



            0DVWHU                                                                  6ODYH



                  6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ3DVVNH\(QWU\


        3LFN1DUDUE                                                         3LFN1DUDUE
          &DOFXODWH                                                               &DOFXODWH
           &RQILUP                                                                 &RQILUP

                                               Pairing Confirm (Cai)

                                               Pairing Confirm (Cbi)

                                               Pairing Random (Nai)


                                                                                &KHFN&RQILUP
                                                                                 &RQILUPGRHV
                                                                                  QRWPDWFK

                                        Pairing Failed (Confirm Value Failed)




Figure C.13: Pairing Phase 2, Authentication Stage 1, Passkey Entry – Confirm Check failure on
Responder side




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C.2.2.2.7 Passkey Entry – Confirm Check failure on the Initiator side

If during one of the 20 repetitions, the Confirm calculated by the Initiator is not
equal to the one received from the Responder, the Initiator will abort the Pairing
process by sending Pairing Failed with reason “Confirm Value Failed”.



            0DVWHU                                                               6ODYH



                  6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ3DVVNH\(QWU\

                                        Example Notifications

                                          Pairing Keypress Notification
                                                                                         8VHU
                                          Pairing Keypress Notification
                                                                                         ,QSXW


                                          Repeat 20 times


          3LFN1DUDUE                                                  3LFN1DUDUE
            &DOFXODWH                                                        &DOFXODWH
             &RQILUP                                                          &RQILUP

                                             Pairing Confirm (Cai)

                                             Pairing Confirm (Cbi)

                                             Pairing Random (Nai)


                                                                          &KHFN&RQILUP
                                                                          &RQILUPPDWFKHV

                                             Pairing Random (Nbi)


         &KHFN&RQILUP
         &RQILUP'RHVQRW
              0DWFK

                                                  Pairing Failed




Figure C.14: Pairing Phase 2, Authentication Stage 1, Passkey Entry – Confirm Check failure on
Initiator side




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C.2.2.2.8 Passkey Entry Failure on Responding Side

If the passkey entry fails on the responding side, Pairing is terminated.



            0DVWHU                                                                  6ODYH



                  6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ3DVVNH\(QWU\

                                                Pairing Confirm (Ca)

                                        Pairing Failed (Passkey Entry Failed)




Figure C.15: Pairing Phase 2, Authentication Stage 1, Passkey Entry Failure on Responding Side


C.2.2.2.9 Passkey Entry Failure on Initiator Side

If the passkey entry fails on the initiating side, Pairing is terminated.



            0DVWHU                                                                  6ODYH



                  6WHS6HFXUH&RQQHFWLRQV.H\ /7. *HQHUDWLRQ3DVVNH\(QWU\

                                        Pairing Failed (Passkey Entry Failed)




Figure C.16: Pairing Phase 2, Authentication Stage 1, Passkey Entry Failure on Initiator Side




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C.2.2.2.10 Successful Out of Band

The OOB authentication will only be done when at least one device has some
OOB information to use. This step requires no user interaction.



            0DVWHU                                                                       6ODYH



                     6WHS6HFXUH&RQQHFWLRQ.H\ /7. *HQHUDWLRQ2XWRI%DQG


          &KHFN&RQILUP                                                            &KHFN&RQILUP
        UHFHLYHGIURP22%                                                        UHFHLYHGIURP22%
         &RQILUPPDWFKHV                                                          &RQILUPPDWFKHV


           3LFN1D                                                                      3LFN1E

                                                 Pairing Random (Na)

                                                 Pairing Random (Nb)




Figure C.17: Pairing Phase 2, Authentication Stage 1, Successful Out of Band


C.2.2.2.11 Out of Band – Confirm Check failure on the Responder side

If the Confirm value received from OOB is not equal to the calculated Confirm
value, the Responder will abort the Pairing process by sending Pairing Failed
with reason “Confirm Value Failed”.



            0DVWHU                                                                       6ODYH



                     6WHS6HFXUH&RQQHFWLRQ.H\ /7. *HQHUDWLRQ2XWRI%DQG


          &KHFN&RQILUP                                                            &KHFN&RQILUP
        UHFHLYHGIURP22%                                                        UHFHLYHGIURP22%
         &RQILUPPDWFKHV                                                          &RQILUP1RPDWFK


           3LFN1D                                                                      3LFN1E

                                                 Pairing Random (Na)

                                         Pairing Failed (Confirm Value Failed)




Figure C.18: Pairing Phase 2, Authentication Stage 1, Out of Band – Confirm Check failure on
Responder side




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C.2.2.2.12 Out of Band - Confirm Check failure on the Initiating side

If the Confirm value received from OOB is not equal to the calculated Confirm
value, the Initiator will abort the Pairing process by sending Pairing Failed with
reason "Confirm Value Failed".




            0DVWHU                                                                    6ODYH



                     6WHS6HFXUH&RQQHFWLRQ.H\ /7. *HQHUDWLRQ2XWRI%DQG


         &KHFN&RQILUP                                                             &KHFN&RQILUP
       UHFHLYHGIURP22%                                                         UHFHLYHGIURP22%
        &RQILUP1RPDWFK                                                          &RQILUPPDWFKHV


           3LFN1D                                                                   3LFN1E

                                         Pairing Failed (Confirm Value Failed)




Figure C.19: Pairing Phase 2: Authentication Stage 1, Out of Band - Confirm Check failure on
Initiator side"


C.2.2.2.13 Out of Band Failure on Initiator side (OOB information not
available)

If the initiating side does not have the responder's OOB information, Pairing is
terminated.



            0DVWHU                                                                    6ODYH



                     6WHS6HFXUH&RQQHFWLRQ.H\ /7. *HQHUDWLRQ2XWRI%DQG

                                          Pairing Failed (OOB Not Available)




Figure C.20: Pairing Phase 2, Authentication Stage 1, Out of Band Failure on Initiator Side




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C.2.2.2.14 Out of Band Failure on Responding side (OOB information not
available)

If the responding side does not have the initiator's OOB information, Pairing is
terminated.



            .BTUFS                                                                   4MBWF



                     4UFQ4FDVSF$POOFDUJPO,FZ -5, (FOFSBUJPO0VUPG#BOE

                                                         

                                               




Figure C.21: Pairing Phase 2, Authentication Stage 1, Out of Band Failure on Responding Side


C.2.2.3 Long Term Key Calculation

Once the DHKey generation is complete, the Long Term Key (LTK) is
calculated from the DHKey.



            0DVWHU                                                                   6ODYH



                                      /RQJ7HUP.H\ /7. &DOFXODWLRQ


           &DOFXODWH                                                               &DOFXODWH
          /RQJ7HUP                                                               /RQJ7HUP
          .H\ /7.                                                                .H\ /7.




Figure C.22: Long Term Key Calculation




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C.2.2.4 Authentication Stage 2 (DHKey checks)

Once the LTK calculation has completed, the DHKey value generated is
checked. If this succeeds, then both devices would have finished displaying
information to the user about the process, and therefore the Host can stop
displaying this information.



            .BTUFS                                                            4MBWF



                                          %),FZ$IFDLT


            %),FZ                                                            %),FZ
          $BMDVMBUJPO                                                      $BMDVMBUJPO
           'JOJTIFE                                                         'JOJTIFE

                                      ! !


                                                                          $IFDL%),FZ
                                                                          $IFDL $IFDL
                                                                           TVDDFTTGVM

                                      ! !


        $IFDL%),FZ
        $IFDL $IFDL
         TVDDFTTGVM




Figure C.23: Pairing Phase 2, Authentication Stage 2, DHKey checks




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C.3 PHASE 3: TRANSPORT SPECIFIC KEY DISTRIBUTION
After short term key generation and the link has been encrypted, transport
specific keys are distributed. Figure C.24 shows an example of all keys and
values being distributed by Master and Slave.




            0DVWHU                                                                            6ODYH



                          6WHS3KDVH7UDQVSRUW6SHFLILF.H\'LVWULEXWLRQ
                          $OONH\VDQGYDOXHVGLVWULEXWHGE\6ODYHDQG0DVWHU


          .H\VWREHGLVWULEXWHGLVGHWHUPLQHGE\WKH.H\'LVWULEXWLRQSDUDPHWHUVRI3DLULQJ5HTXHVW
                    DQG3DLULQJ5HVSRQVHIURP3KDVH3DLULQJ)HDWXUH([FKDQJH

                                            Encryption Information (Long Term Key)

                                               Master Identification (EDIV, Rand)

                                          Identity Information (Identity Resolving Key)

                                       Identity Address Information (AddrType, BD_ADDR)

                                              Signing Information (Signature Key)

                                            Encryption Information (Long Term Key)

                                               Master Identification (EDIV, Rand)

                                          Identity Information (Identity Resolving Key)

                                       Identity Address Information (AddrType, BD_ADDR)

                                              Signing Information (Signature Key)




Figure C.24: Transport Specific Key Distribution


C.4 SECURITY RE-ESTABLISHED USING PREVIOUSLY
DISTRIBUTED LTK
Devices may re-establish security using a previously distributed LTK. The
master device always initiates the encryption procedures, and therefore there
are two possible sequences: master initiated and slave requested.

C.4.1 Master Initiated Security - Master Initiated Link Layer Encryption

The master initiates encryption procedures. There is no SM signaling to enable
this; the master initiates Link Layer encryption only. See [Vol 6] Part D, Section
6.6.




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C.4.2 Slave Security Request - Master Initiated Link Layer Encryption

The slave may request the master initiates security procedures. Figure C.25
shows an example where the slave requests security and the master initiates
Link Layer encryption.




            0DVWHU                                                                                                                  6ODYH



                 6WHS6ODYH,QLWLDWHV6HFXULW\0DVWHU,QLWLDWHV/LQN/D\HU(QFU\SWLRQ

                                                            Security Request (AuthReq)


                             /LQNLVHQFU\SWHGXVLQJSUHYLRXVO\GLVWULEXWHG/7.
                                           [Vol 6] Part D, Section 6.6
                                       6HH>9RO@3DUW'6HFWLRQ




Figure C.25: Slave security request, master initiates Link Layer encryption


C.5 FAILURE CONDITIONS
The following sequences show possible failure conditions and their associated
signaling.

C.5.1 Pairing Not Supported by Slave

If the slave device does not support pairing or pairing cannot be performed the
slave can reject the request from the master. Figure C.26 shows the slave
rejecting a Pairing Request command from the master.




            .BTUFS                                                                                                                  4MBWF



             4UFQ4MBWFEFWJDFEPFTOPUTVQQPSUQBJSJOHPSQBJSJOHDBOOPUCFQFSGPSNFE

                        "#$ %&' *'# "'+3 # 4& 56'$# 

                                                        7 5#&&  7




Figure C.26: Slave rejects pairing attempt




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C.5.2 Master Rejects Pairing Because of Key Size

During Pairing Feature Exchange the size of the Encryption Key is negotiated.
Figure C.27 shows an example where the master terminates the pairing
procedure because the resulting key size is not acceptable.




            .BTUFS                                                                                                                   4MBWF



               4UFQ4MBWFEFWJDFEPFTOPUTVQQPSUQBJSJOHPSQBJSJOHDBOOPUCFQFSGPSNFE

                         "#$ %&' *'# "'+3 # 4& 56'$# 

                        $& $ %&' *'# "'+3 # 4& 56'$# 

                                                          74& 567




Figure C.27: Master rejects pairing because of key size


C.5.3 Slave Rejects Pairing Because of Key Size

During Pairing Feature Exchange the size of the Encryption Key is negotiated.
Figure C.28 shows an example where the slave terminates the pairing
procedure because the resulting key size is not acceptable.




            0DVWHU                                                                                                                   6ODYH



               6WHS6ODYHUHMHFWVSDLULQJEHFDXVHWKH(QFU\SWLRQ.H\6L]HLVQRWVXIILFLHQW

                        Pairing Request (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)
         Alt
                       Pairing Response (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)

                                                             Pairing Confirm (Mconfirm)

                                                        Pairing Failed ("Encryption Key Size")




         Alt            Pairing Request (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)

                                                        Pairing Failed ("Encryption Key Size")




Figure C.28: Slave rejects pairing because of key size




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C.5.4 Passkey Entry Failure on Master

During Passkey Entry pairing the user enters a passkey on both devices.
Figure C.29 shows an example where the passkey entry fails on the master
device.




            0DVWHU                                                                                                                  6ODYH



                                      6WHS3DVVNH\(QWU\IDLOXUHRQPDVWHU

                      Pairing Request (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)

                      Pairing Response (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)




                                                                                                                    &UHDWH6UDQG
                                                                                                     6HW7. 8VHULQSXWSDVVNH\
       3DVVNH\LVQRWHQWHUHG
                                                                             Sconfirm = c1(TK, Srand, Pairing Request command,
                                                                             Pairing Response command, initiating device address
                                                                             type, initiating device address, responding device address
                                                                             type, responding device address)


                                                      Pairing Failed ("Passkey Entry Failed")




Figure C.29: Passkey Entry failure on master




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C.5.5 Passkey Entry Failure on Slave

During Passkey Entry pairing the user enters a passkey on both devices.
Figure C.30 shows an example where the passkey entry fails on the slave
device.




             0DVWHU                                                                                                                      6ODYH



                                      6WHS3DVVNH\HQWU\QRWSHUIRUPHGRQ6ODYH

                            Pairing Request (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)

                           Pairing Response (IO Capability, OOB data flag, AuthReq, Maximum Encryption Key Size, Key Distribution)



       &UHDWH0UDQG
       6HW7. 8VHULQSXWSDVVNH\

                                                                                                                     3DVVNH\LVQRWHQWHUHG
       Mconfirm = c1(TK, Mrand, Pairing Request command,
       Pairing Response command, initiating device address
       type, initiating device address, responding device address
       type, responding device address)


                                                                  PairingConfirm (Mconfirm)

                                                            Pairing Failed ("Passkey Entry Failed")




Figure C.30: Passkey Entry failure on slave




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C.5.6 Slave Rejects Master’s Confirm Value

During Passkey Entry pairing the user enters a passkey on both devices.
Figure C.31 shows an example where a different passkey is entered on both
devices. This sequence could also occur if any of the inputs to c1 (Passkey,
Mrand, Srand, Pairing Request command, Pairing Response command,
address types or addresses) are incorrect or altered.




             0DVWHU                                                                                                    6ODYH



                   6WHS3DVVNH\HQWU\ZLWKGLIIHUHQWSDVVNH\VHQWHUHGRQHDFKGHYLFH


        &UHDWH0UDQG                                                                                          &UHDWH6UDQG
        6HW7. 8VHULQSXWSDVVNH\                                                            6HW7. 8VHULQSXWSDVVNH\


       Mconfirm = c1(TK, Mrand, Pairing Request command,                    Sconfirm = c1(TK, Srand, Pairing Request command,
       Pairing Response command, initiating device address                  Pairing Response command, initiating device address
       type, initiating device address, responding device address           type, initiating device address, responding device address
       type, responding device address)                                     type, responding device address)

                                                           PairingConfirm (Mconfirm)

                                                           PairingConfirm (Sconfirm)

                                                            PairingRandom (Mrand)


                                                                                               &RQILUPYDOXHGRHVQRWPDWFK

                                                     Pairing Failed ("Confirm Value Failed")




Figure C.31: Different Passkeys entered




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C.5.7 Master Rejects Slave’s Confirm Value

During all the pairing methods the master and slave device send random
numbers and confirm values. Figure C.32 shows an example where the master
device rejects pairing because it cannot verify the confirm value from the slave
because any of the inputs to c1 (Passkey, Mrand, Srand, Pairing Request
command, Pairing Response command, address types or addresses) are
incorrect or altered.




             0DVWHU                                                                                                    6ODYH



                               6WHS6FRQILUPYHULILFDWLRQIDLOXUHRQ0DVWHUGHYLFH


        &UHDWH0UDQG                                                                                           &UHDWH6UDQG
        6HW7. 8VHULQSXWSDVVNH\                                                             6HW7. 8VHULQSXWSDVVNH\


       Mconfirm = c1(TK, Mrand, Pairing Request command,                    Sconfirm = c1(TK, Srand, Pairing Request command,
       Pairing Response command, initiating device address                  Pairing Response command, initiating device address
       type, initiating device address, responding device address           type, initiating device address, responding device address
       type, responding device address)                                     type, responding device address)

                                                           PairingConfirm (Mconfirm)

                                                           PairingConfirm (Sconfirm)

                                                            PairingRandom (Mrand)


                                                                                               &KHFNIRUFRQILUPYDOXHPDWFK

                                                            Pairing Random (Srand)


       &KHFNIRUFRQILUPYDOXHPDWFK

                                                     Pairing Failed ("Confirm Value Failed")




Figure C.32: Master rejects Sconfirm value from slave




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APPENDIX D SAMPLE DATA

In each data set in this section, the bytes are ordered from most significant on
the left to least significant on the right. ‘M’ represents the message byte array
for which the AES CMAC is calculated.

D.1 AES-CMAC RFC4493 TEST VECTORS
The following test vectors are referenced from RFC4493.
K                                2b7e1516 28aed2a6 abf71588 09cf4f3c
Subkey Generation
AES_128(key,0)                   7df76b0c 1ab899b3 3e42f047 b91b546f
K1                               fbeed618 35713366 7c85e08f 7236a8de
K2                               f7ddac30 6ae266cc f90bc11e e46d513b



D.1.1 Example 1: Len = 0

M                         <empty string>
AES_CMAC                  bb1d6929 e9593728 7fa37d12 9b756746

D.1.2 Example 2: Len = 16

M                         6bc1bee2 2e409f96 e93d7e11 7393172a
AES_CMAC                  070a16b4 6b4d4144 f79bdd9d d04a287c

D.1.3 Example 3: Len = 40

M0                        6bc1bee2   2e409f96 e93d7e11 7393172a
M1                        ae2d8a57   1e03ac9c 9eb76fac 45af8e51
M2                        30c81c46   a35ce411
AES_CMAC                  dfa66747   de9ae630 30ca3261 1497c827

D.1.4 Example 4: Len = 64

M0                        6bc1bee2   2e409f96   e93d7e11   7393172a
M1                        ae2d8a57   1e03ac9c   9eb76fac   45af8e51
M2                        30c81c46   a35ce411   e5fbc119   1a0a52ef
M3                        f69f2445   df4f9b17   ad2b417b   e66c3710
AES_CMAC                  51f0bebf   7e3b9d92   fc497417   79363cfe


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D.2 f4 LE SC CONFIRM VALUE GENERATION FUNCTION

U                         20b003d2   f297be2c   5e2c83a7   e9f9a5b9
                          eff49111   acf4fddb   cc030148   0e359de6
V                         55188b3d   32f6bb9a   900afcfb   eed4e72a
                          59cb9ac2   f19d7cfb   6b4fdd49   f47fc5fd
X                         d5cb8454   d177733e   ffffb2ec   712baeab
Z                         0x00
M0                        20b003d2   f297be2c   5e2c83a7   e9f9a5b9
M1                        eff49111   acf4fddb   cc030148   0e359de6
M2                        55188b3d   32f6bb9a   900afcfb   eed4e72a
M3                        59cb9ac2   f19d7cfb   6b4fdd49   f47fc5fd
                          00
AES_CMAC                  f2c916f1   07a9bd1c f1eda1be a974872d




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D.3 f5 LE SC KEY GENERATION FUNCTION

DHKey(W)                  ec0234a3   57c8ad05 341010a6 0a397d9b
                          99796b13   b4f866f1 868d34f3 73bfa698
T                         3c128f20   de883288 97624bdb 8dac6989
keyID                     62746c65
N1                        d5cb8454   d177733e ffffb2ec 712baeab
N2                        a6e8e7cc   25a75f6e 216583f7 ff3dc4cf
A1                        00561237   37bfce
A2                        00a71370   2dcfc1
Length                    0100
(LTK)
M0                        0162746c   65d5cb84   54d17773 3effffb2
M1                        ec712bae   aba6e8e7   cc25a75f 6e216583
M2                        f7ff3dc4   cf005612   3737bfce 00a71370
M3                        2dcfc101   00
AES_CMAC                  69867911   69d7cd23   980522b5 94750a38
(MacKey)
M0                        0062746c   65d5cb84   54d17773 3effffb2
M1                        ec712bae   aba6e8e7   cc25a75f 6e216583
M2                        f7ff3dc4   cf005612   3737bfce 00a71370
M3                        2dcfc101   00
AES_CMAC                  2965f176   a1084a02   fd3f6a20 ce636e20

D.4 f6 LE SC CHECK VALUE GENERATION FUNCTION

N1                        d5cb8454   d177733e   ffffb2ec   712baeab
N2                        a6e8e7cc   25a75f6e   216583f7   ff3dc4cf
MacKey                    2965f176   a1084a02   fd3f6a20   ce636e20
R                         12a3343b   b453bb54   08da42d2   0c2d0fc8
IOcap                     010102
A1                        00561237   37bfce
A2                        00a71370   2dcfc1
M0                        d5cb8454   d177733e   ffffb2ec   712baeab
M1                        a6e8e7cc   25a75f6e   216583f7   ff3dc4cf
M2                        12a3343b   b453bb54   08da42d2   0c2d0fc8
M3                        01010200   56123737   bfce00a7   13702dcf
M4                        c1
AES_CMAC                  e3c47398   9cd0e8c5 d26c0b09 da958f61

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D.5 g2 LE SC NUMERIC COMPARISON GENERATION
FUNCTION

U                         20b003d2   f297be2c   5e2c83a7   e9f9a5b9
                          eff49111   acf4fddb   cc030148   0e359de6
V                         55188b3d   32f6bb9a   900afcfb   eed4e72a
                          59cb9ac2   f19d7cfb   6b4fdd49   f47fc5fd
X                         d5cb8454   d177733e   ffffb2ec   712baeab
Y                         a6e8e7cc   25a75f6e   216583f7   ff3dc4cf
M0                        20b003d2   f297be2c   5e2c83a7   e9f9a5b9
M1                        eff49111   acf4fddb   cc030148   0e359de6
M2                        55188b3d   32f6bb9a   900afcfb   eed4e72a
M3                        59cb9ac2   f19d7cfb   6b4fdd49   f47fc5fd
M4                        a6e8e7cc   25a75f6e   216583f7   ff3dc4cf
AES_CMAC                  1536d18d   e3d20df9   9b7044c1   2f9ed5ba
g2                        2f9ed5ba

D.6 h6 LE SC LINK KEY CONVERSION FUNCTION

Key                       ec0234a3 57c8ad05 341010a6 0a397d9b
keyID                     6c656272
M                         6c656272
AES_CMAC                  2d9ae102 e76dc91c e8d3a9e2 80b16399

D.7 ah RANDOM ADDRESS HASH FUNCTIONS

IRK                       ec0234a3   57c8ad05   341010a6   0a397d9b
prand                     00000000   00000000   00000000   00708194
M                         00000000   00000000   00000000   00708194
AES_128                   159d5fb7   2ebe2311   a48c1bdc   c40dfbaa
ah                        0dfbaa

D.8 h7 LE SC LINK KEY CONVERSION FUNCTION

Key                       ec0234a3 57c8ad05 341010a6 0a397d9b
SALT                      00000000 00000000 00000000 746D7031
AES_CMAC                  fb173597 c6a3c0ec d2998c2a 75a57011




Appendix D: Sample Data                                             06 December 2016
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Security Manager Specification


D.9 LTK TO LINK KEY CONVERSION USING CT2=1

LTK                       368df9bc e3264b58 bd066c33 334fbf64
Link Key                  287ad379 dca40253 0a39f1f4 3047b835

D.10 LTK TO LINK KEY CONVERSION USING CT2=0

LTK                       368df9bc e3264b58 bd066c33 334fbf64
Link Key                  bc1ca4ef 633fc1bd 0d8230af ee388fb0

D.11 LINK KEY TO LTK CONVERSION USING CT2=1

Link Key                  05040302 01000908 07060504 03020100
LTK                       e85e09eb 5eccb3e2 69418a13 3211bc79

D.12 LINK KEY TO LTK CONVERSION USING CT2=0

Link Key                  05040302 01000908 07060504 03020100
LTK                       a813fb72 f1a3dfa1 8a2c9a43 f10d0a30




Appendix D: Sample Data                                       06 December 2016
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          Host Controller
          Interface
          [Transport Layer]



          Specification of the Bluetooth® System

          Specification Volume 4




          Covered Core Package Version: 5.0
          Publication Date: Dec 06 2016
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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
https://www.bluetooth.org/en-us/specification/adopted-specifications




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            Host Controller Interface [Transport Layer]
                                                 Part A




 PART A: UART TRANSPORT LAYER




                          This document describes the UART
                          transport layer (between the Host and
                          the Host Controller). HCI command,
                          event, and data packets flow through
                          this layer, but the layer does not
                          decode them.




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UART Transport Layer


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UART Transport Layer


1 GENERAL

The objective of this HCI UART Transport Layer is to make it possible to use
the Bluetooth HCI over a serial interface between two UARTs on the same
PCB. The HCI UART Transport Layer assumes that the UART communication
is free from line errors.



            Bluetooth              Bluetooth HCI       Bluetooth
            Host                                       Host
                                                       Controller


                            HCI UART Transport Layer

Figure 1.1: HCI UART Transport Layer




General                                                             06 December 2016
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UART Transport Layer


2 PROTOCOL

There are four kinds of HCI packets that can be sent via the UART Transport
Layer; i.e. HCI Command Packet, HCI Event Packet, HCI ACL Data Packet
and HCI Synchronous Data Packet (see [Vol 2] Part E, Host Controller
Interface Functional Specification). HCI Command Packets can only be sent to
the Bluetooth Host Controller, HCI Event Packets can only be sent from the
Bluetooth Host Controller, and HCI ACL/Synchronous Data Packets can be
sent both to and from the Bluetooth Host Controller.

HCI does not provide the ability to differentiate the four HCI packet types.
Therefore, if the HCI packets are sent via a common physical interface, a HCI
packet indicator has to be added according to Table 2.1 below.

 HCI packet type              HCI packet indicator

 HCI Command Packet           0x01

 HCI ACL Data Packet          0x02
 HCI Synchronous Data         0x03
 Packet
 HCI Event Packet             0x04

Table 2.1: HCI packet indicators

The HCI packet indicator shall be sent immediately before the HCI packet. All
four kinds of HCI packets have a length field, which is used to determine how
many bytes are expected for the HCI packet. When an entire HCI packet has
been received, the next HCI packet indicator is expected for the next HCI
packet. Over the UART Transport Layer, only HCI packet indicators followed by
HCI packets are allowed.




Protocol                                                           06 December 2016
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UART Transport Layer


3 RS232 SETTINGS

The HCI UART Transport Layer uses the following settings for RS232:

 Baud rate:                  manufacturer-specific

 Number of data bits:        8

 Parity bit:                 no parity
 Stop bit:                   1 stop bit
 Flow control:               RTS/CTS

 Flow-off response time:     manufacturer specific
Table 3.1: RS232 Settings

Flow control with RTS/CTS is used to prevent temporary UART buffer overrun.
It should not be used for flow control of HCI, since HCI has its own flow control
mechanisms for HCI commands, HCI events and HCI data.

If CTS is 1, then the Host/Host Controller is allowed to send.
If CTS is 0, then the Host/Host Controller is not allowed to send.

The flow-off response time defines the maximum time from setting RTS to 0
until the byte flow actually stops.

The RS232 signals should be connected in a null-modem fashion; i.e. the local
TXD should be connected to the remote RXD and the local RTS should be
connected to the remote CTS and vice versa.




RS232 Settings                                                       06 December 2016
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UART Transport Layer


4 ERROR RECOVERY

If the Host or the Host Controller lose synchronization in the communication
over RS232, then a reset is needed. A loss of synchronization means that an
incorrect HCI packet indicator has been detected, or that the length field in an
HCI packet is out of range.

If the UART synchronization is lost in the communication from Host to Host
Controller, then the Host Controller shall send a Hardware Error Event to tell
the Host about the synchronization error. The Host Controller will then expect
to receive an HCI_Reset command from the Host in order to perform a reset.
The Host Controller will also use the HCI_Reset command in the byte stream
from Host to Host Controller to re-synchronize.

If the UART synchronization is lost in the communication from Host Controller
to Host, then the Host shall send the HCI_Reset command in order to reset the
Host Controller. The Host shall then re-synchronize by looking for the HCI
Command Complete event for the HCI_Reset command in the byte stream
from Host Controller to Host.

See [Vol 2] Part E for HCI commands and HCI events in the Bluetooth
Specification v1.2 or later.




Error Recovery                                                       06 December 2016
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            Host Controller Interface [Transport Layer]
                                                Part B




    PART B: USB TRANSPORT LAYER




                          This document describes the USB
                          transport layer (between a Host and the
                          Host Controller). HCI commands flow
                          through this layer, but the layer does
                          not decode the commands.




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USB Transport Layer


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USB Transport Layer


1 OVERVIEW

This document discusses the requirements of the Universal Serial Bus (USB)
interface for Bluetooth hardware. Readers should be familiar with USB, USB
design issues, Advanced Configuration Power Interface (ACPI), the overall
Bluetooth architecture, and the basics of the radio interface.

The reader should also be familiar with the Bluetooth Host Controller Interface.

Referring to Figure 1.1 through Figure 1.3, notice that this document discusses
the implementation details of the two-way arrow labeled “USB Function.”



                                                                     Baseband
           Other Host
                                                                     Controller
            Drivers
                                                                   LMP Firmware

       Bluetooth HCI                      Bluetooth HCI
                                                                   Bluetooth HCI
           Driver                                                    Firmware


    Bluetooth Primary                     USB Function
       USB Driver
                                                                   Bluetooth USB
                                                                      Firmware
            Host OS
           USB Stack


                                                                         USB
           USB Host                     USB Interconnect                Device
           Controller
                                                                       Controller

                                                              Bluetooth Primary
   Bluetooth Host Device
                                                                  Controller
Figure 1.1: Relationship between the Host and Bluetooth Primary Controller


This document also specifies implementation of two other configurations:
• USB-connected AMP Controller (PAL, MAC, PHY)
• USB-connected composite (multifunction) device that combines a Primary
  Controller and an AMP Controller.

Overview                                                                           06 December 2016
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USB Transport Layer




           Other Host                                             Alternate PAL,
            Drivers                                                MAC & PHY


      Bluetooth AMP
                                                                  Bluetooth AMP
        Controller                     Bluetooth AMP HCI
                                                                  HCI Firmware
        HCI Driver


      Bluetooth AMP                      USB Function
        USB Driver
                                                                  Bluetooth USB
                                                                     Firmware
            Host OS
           USB Stack


                                                                      USB
           USB Host                     USB Interconnect             Device
           Controller
                                                                    Controller

   Bluetooth Host Device                                   Bluetooth Radio Module

Figure 1.2: Relationship between the Host and an AMP Controller




Overview                                                                    06 December 2016
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                                                             Baseband Alternate
      Other Host Drivers:                                    Controller  PAL,
        L2CAP, A2MP                                             LMP     MAC &
                                                             Firmware    PHY
                                                               Bluetooth HCI
    Bluetooth HCI                Bluetooth HCI                   Firmware        Bluetooth HCI
        Driver                                                    (Primary
                                                                                   Firmware
       (Primary                                                  Controller)
                      Bluetooth HCI              Bluetooth AMP HCI                  (AMP)
     Controller)
                      Driver (AMP)



     Bluetooth BR/EDR                     USB Function
     & AMP USB Drivers
                                                                   Bluetooth USB
                                                                      Firmware
             Host OS
            USB Stack

                                                                            USB
           USB Host                      USB Interconnect                  Device
           Controller
                                                                          Controller

   Bluetooth Host Device                                      Bluetooth Controllers

Figure 1.3: Relationship between Host and a Composite BR/EDR and AMP Controller


The USB hardware can be embodied in one of several ways:
1. As a USB dongle (e.g. cabled USB)
2. As a USB module integrated into the product and connected internally via a
   cable or connector
3. Integrated onto the motherboard of a notebook PC or other device and
   connected via circuit board traces with standard USB, Inter-Chip USB or
   High Speed Inter-Chip USB
4. Integrated as a subsystem on a single-chip System-on-Chip (SoC) design
   connected on-chip as part of a compound device.

Finally, for an overview of the connection that is established between two
Bluetooth devices, reference Figure 1.4.




Overview                                                                             06 December 2016
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USB Transport Layer



   Other Host Drivers                                                                 Service /
                                                                                     Function of
                                                                                    Other Device
    Bus Driver (L2CA)                                                                  L2CA               Bluetooth
     PC HCI Library           Bluetooth HC                Bluetooth HC              HCI Firmware      Connection Handling
   USB Function Driver                  Bluetooth   Bluetooth
                          Bluetooth        LM          LM         Bluetooth         Other Device          Transport
       USB Stack             USB        Bluetooth   Bluetooth     Interface           Interface         USB / Bluetooth
                          Firmware         LC          LC           Driver              Driver
       USB Host          USB Device     Bluetooth   Bluetooth    other HW            other HW              Hardware
       Controller         Controller      Radio       Radio      Interface           Interface




           PC                   Bluetooth                         Other Bluetooth
                               USB Device                             Device



Figure 1.4: Flow of data from one Bluetooth device to another




Overview                                                                                               06 December 2016
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USB Transport Layer


2 USB ENDPOINT EXPECTATIONS

This section outlines specific USB endpoints that are required in order to
function properly with the Host. This section assumes a basic familiarity with
USB. The endpoint numbers (labeled ‘Suggested Endpoint Address’ below)
may be dynamically recognized upon driver initialization – this depends on the
implementation.

2.1 DESCRIPTOR OVERVIEW
The UniversalSerial Bus is intended for high data rates. USB defines several
physical layers, ranging from 1.5 Mb/s to several Gb/s of bus bandwidth. A
Bluetooth USB device should provide a USB transport with sufficient bus
bandwidth to support the Bluetooth radio transports included in the device.

There are two USB Controller types:
• Primary Controller
• AMP Controller

2.1.1 Primary Controller Descriptors

The Primary Controller configuration consists of two interfaces. The first
interface has no alternate settings and contains the bulk and interrupt
endpoints. The second interface provides scalable isochronous bandwidth.
The recommended configuration for the second interface has four alternate
settings that provide different bandwidth. The default interface is empty so that
the device is capable of scaling down to zero isochronous bandwidth.

An HCI packet consisting of an HCI header and HCI data shall be contained in
one USB Transfer. A USB transfer is defined by the USB specification as one
or more USB transactions that contain the data from one IO request. For
example, an ACL data packet containing 256 bytes (both HCI header and HCI
data) would be sent over the bulk endpoint in one IO request. That IO request
will require four 64-byte full speed USB Transactions or a single 256-byte High-
speed USB Transaction, and forms a Transfer. If the Maximum Packet Size for
the endpoint on which the transfer is sent is 64 bytes, then that IO request will
require four 64-byte USB transactions.

The endpoints are spread across two interfaces so that when adjusting
isochronous bandwidth consumption (via select interface calls), any pending
bulk and/or interrupt transactions do not have to be terminated or resubmitted.

Table 2.1 and the following example calculations illustrate recommended
endpoint descriptor parameter values and how they are derived. The maximum
packet sizes for control endpoints, interrupt endpoints and bulk endpoints may
be any value allowed by the relevant USB core specifications. The maximum
packet size for isochronous endpoints must be large enough to accommodate

USB Endpoint Expectations                                            06 December 2016
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USB Transport Layer

the maximum average traffic; they may be set to accommodate the largest HCI
transfer, subject to the capabilities of the Controller. In Table 2.1, the service
interval is assumed to be 1 millisecond, for USB Full Speed (FS) frames.

Examples:
1. For a single 8 kHz audio channel with of 64 kb/s CVSD audio the Host may
   break HCI data into one USB transfers for each USB frame (e.g. 1 ms); in
   that case, the max packet size must be at least 11 = 3 octet HCI header + 8
   octets of data. To reduce HCI header overhead, a common strategy (see
   Table 2.2) is to consolidate 3 ms of data into a 27 octet HCI packet of 24
   octets of data + 3 octets of HCI header. These HCI packets can be
   exchanged as a single USB transfer on 3 ms intervals; this requires a max
   packet size of 27/3 = 9 octets per 1 millisecond USB Full Speed Frame.
2. For two 8 kHz audio channels of 64 kb/s CVSD audio the Host may double
   the payload size of each HCI packet, which would be 3 octets HCI header +
   48 octets of data = 51 octets. Posting these at 3 ms intervals requires 51/3 =
   17 octets of maximum packet size.
3. For one 16 kHz audio channel the HCI packets need to be large enough to
   accommodate single octet (128 kb/s) or 2-octet (256 kb/s) encoding. On 3
   ms intervals, these would have to be (48+3)/3 = 17 octets or (96+3)/3 = 33
   octets respectively.
4. For one mSBC1 compressed wideband audio channel the HCI packets will
   be 3 octets of HCI header + 60 octets of data. If the Controller can support a
   maximum packet size of 63 (or 64) octets, an entire mSBC frame may be
   exchanged in one USB transaction. If the maximum packet size is smaller
   than 63 octets, additional latency will be introduced. The USB Host
   Controller will reserve bandwidth that will only be used when the Bluetooth
   Host or Controller has data to transfer.
5. For combinations of audio channels, if the max packet size can
   accommodate the largest HCI packets, there is also sufficient bandwidth for
   the audio channels that have smaller HCI packets. See example 4 above.




1. For information about modified Sub Band Codec (mSBC), see Hands-Free Profile v1.6 or
   later


USB Endpoint Expectations                                                  06 December 2016
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The following table outlines a recommended configuration for a USB Full
Speed device.


                            Suggested                      Suggested     USB Polling
 Interface     Alternate    Endpoint      Endpoint         Max           Interval/HCI Packet
 Number        Setting      Address       Type             Packet Size   Interval

 HCI Commands

 N/A           N/A          0x00          Control          8/16/32/64    NA

 HCI Events

 0             0            0x81          Interrupt (IN)   16            variable

 ACL Data

 0             0            0x82          Bulk (IN)        32/64         variable

 0             0            0x02          Bulk (OUT)       32/64         variable

 No active voice channels (for USB compliance)

 1             0            0x83          Isoch (IN)       0             NA

 1             0            0x03          Isoch (OUT)      0             NA

 One 8 kHz voice channel with 8-bit encoding

 1             1            0x83          Isoch (IN)       9             1 ms/3 ms

 1             1            0x03          Isoch (OUT)      9             1 ms/3 ms


 Two 8 kHz voice channels with 8-bit encoding or
 one 8 kHz voice channel with 16-bit encoding

 1             2            0x83          Isoch (IN)       17            1 ms/3 ms

 1             2            0x03          Isoch (OUT)      17            1 ms/3ms

 Three 8 kHz voice channels with 8-bit encoding

 1             3            0x83          Isoch (IN)       25            1 ms/3ms

 1             3            0x03          Isoch (OUT)      25            1 ms/3ms

 Two 8 kHz voice channels with 16-bit encoding
 or one 16 kHz voice channel with 16-bit encoding

 1             4            0x83          Isoch (IN)       33            1 ms/3 ms
Table 2.1: USB Primary firmware interface and endpoint settings


USB Endpoint Expectations                                                      06 December 2016
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                               Suggested                            Suggested       USB Polling
 Interface     Alternate       Endpoint      Endpoint               Max             Interval/HCI Packet
 Number        Setting         Address       Type                   Packet Size     Interval

 1             4               0x03          Isoch (OUT)            33              1 ms/3 ms

 Three 8 kHz voice channels with 16-bit encoding
 or one 8 kHz voice channel with 16-bit encoding and one 16 kHz voice
 channel with 16-bit encoding

 1             5               0x83          Isoch (IN)             49              1 ms/3 ms

 1             5               0x03          Isoch (OUT)            49              1 ms/3 ms

 One mSBC voice channel

 1             6               0x83          Isoch (IN)             63              1 ms/7.5 ms
 1             6               0x03          Isoch (OUT)            63              1 ms/7.5 ms

Table 2.1: USB Primary firmware interface and endpoint settings

The following two examples are used to demonstrate the flow of data given the
described endpoints.

 Number of voice
 channels                   Duration of voice data      Encoding

 One                        3 ms per IO Request         8-bit




                                                  Queued
         USB data                                 data                                      Amount
 Time    (header refers to HCI header)            (read /       Time                        Received/
 (ms)    (Receive & Send from the Host)           write)        (ms)       Air data         Sent (ms)

 0       Receive 0 bytes                          0/6           0          Send 0           0/0
         Send 9 bytes (3 header, 6 data)
                                                  10 / 6        0.625      Receive 10       1.25 / 0

 1       Receive 0 bytes                          10 / 15       1.25       Send 0           1.25 / 0
         Send 9 bytes (9 bytes HCI data)

                                                  20 / 15       1.875      Receive 10       2.50 / 0
 2       Receive 0 bytes                          20 / 24       2.50       Send 0           2.50 / 0
         Send 9 bytes (9 bytes HCI data)
                                                  30 / 24       3.125      Receive 10       3.75 / 0
Table 2.2: Example USB single-channel voice traffic data flow




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                                                  Queued
         USB data                                 data                                 Amount
 Time    (header refers to HCI header)            (read /      Time                    Received/
 (ms)    (Receive & Send from the Host)           write)       (ms)     Air data       Sent (ms)

 3       Receive 9 bytes (3 header, 6 data)       24 / 20      3.75     Send 10        3.75 / 1.25
         Send 9 bytes (3 header, 6 data)

 4       Receive 9 bytes (9 bytes data)           25 / 29      4.375    Receive 10     5.0 / 1.25
         Send 9 bytes (9 bytes HCI data)

 5       Receive 9 bytes (9 bytes data)           16 / 28      5.0      Send 10        5.0 / 2.50
         Send 9 bytes (9 bytes HCI data)

                                                  26 / 28      5.625    Receive 10     6.25 / 2.50
 6       Receive 9 bytes (3 header, 6 data)       20 / 24      6.25     Send 10        6.25 / 3.75
         Send 9 bytes (3 header, 6 data)
                                                  30 / 24      6.875    Receive 10     7.5 / 3.75

 7       Receive 9 bytes (9 bytes data)           21 / 23      7.5      Send 10        7.5 / 5.0
         Send 9 bytes (9 bytes HCI data)

 8       Receive 9 bytes (9 bytes data)           22 / 32      8.125    Receive 10     8.75 / 5.0
         Send 9 bytes (9 bytes HCI data)

                                                  22 / 22      8.75     Send 10        8.75 / 6.25
 9       Receive 9 bytes (3 header, 6 data)       26 / 28      9.375    Receive 10     10.0 / 6.25
         Send 9 bytes (3 header, 6 data)
 10      Receive 9 bytes (9 bytes data)           17 / 27      10       Send 10        10.0 / 7.5
         Send 9 bytes (9 bytes HCI data)
                                                  27 / 27      10.625   Receive 10     11.25 / 7.5
 11      Receive 9 bytes (9 bytes data)           18 / 26      11.25    Send 10        11.25 / 8.75
         Send 9 bytes (9 bytes HCI data)
Table 2.2: Example USB single-channel voice traffic data flow

Convergence is expected because the radio is sending out an average of eight
bytes of voice data every one ms and USB is sending eight bytes of voice data
every one ms.

 Number of voice
 channels                   Duration of voice data     Encoding

 Two                        3 ms per IO Request        8-bit




USB Endpoint Expectations                                                            06 December 2016
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                                              Queued
          USB data                            data                              Amount
 Time     (header refers to HCI header)       (read      Time                   Received /
 (ms      (Receive & Send from the Host)      / write)   (ms)    Air data       Sent (ms)

 0        Receive 0 bytes for Channel #1      C1- 0/14   0       Send 0 for     C1- 0/0
          Send 17 bytes (3 header, 14 data)   C2- 0/0            C1             C2- 0/0
          for Channel #1

                                              C1- 20/    0.625   Receive        C1- 2.5/0
                                              14                 20 for C1      C2- 0/0
                                              C2- 0/0

 1        Receive 0 bytes for Channel #1      C1- 20/    1.25    Send 0 for     C1- 2.5/0
          Send 17 bytes (17 bytes HCI data)   31                 C2             C2- 0/0
          for Channel #1                      C2- 0/0

                                              C1- 20/    1.875   Receive        C1- 2.5/0
                                              31                 20 for C2      C2- 2.5/0
                                              C2- 20/0
 2        Receive 0 bytes for Channel #1      C1- 20/    2.50    Send 20        C1- 2.5/2.5
          Send 17 bytes (17 bytes HCI data)   28                 for C1         C2- 2.5/0
          for Channel #1                      C2- 20/0
                                              C1- 40/    3.125   Receive        C1- 5.0/2.5
                                              28                 20 for C1      C2- 2.5/0
                                              C2- 0/0
 3        Receive 0 bytes for Channel #2      C1- 40/    3.75    Send 0 for     C1- 5.0/2.5
          Send 17 bytes (3 header, 14 data)   28                 C2             C2- 2.5/0
          for Channel #2                      C2- 20/
                                              14
 4        Receive 0 bytes for Channel #2      C1- 40/    4.375   Receive        C1- 5.0/2.5
          Send 17 bytes (17 bytes HCI data)   28                 20 for C2      C2- 5.0/0
          for Channel #2                      C2- 40/
                                              31
 5        Receive 0 bytes for Channel #2      C1- 40/8   5.0     Send 20        C1- 5.0/5.0
          Send 17 bytes (17 bytes HCI data)   C2- 40/            for C1         C2- 5.0/0
          for Channel #2                      48
                                              C1- 60/8   5.625   Receive        C1- 7.5/5.0
                                              C2- 40/            20 for C1      C2- 5.0/0
                                              48
 6        Receive 17 bytes (3 header, 14      C1- 46/    6.25    Send 20        C1- 7.5/5.0
          data) for Channel #1                22                 for C2         C2- 5.0/2.5
          Send 17 bytes (3 header, 14 data)   C2- 40/
          for Channel #1                      28
Table 2.3: Example USB dual-channel voice traffic data flow



USB Endpoint Expectations                                                     06 December 2016
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                                              Queued
          USB data                            data                              Amount
 Time     (header refers to HCI header)       (read      Time                   Received /
 (ms      (Receive & Send from the Host)      / write)   (ms)     Air data      Sent (ms)

                                              C1- 46/    6.875    Receive       C1- 7.5/5.0
                                              22                  20 for C2     C2- 7.5/2.5
                                              C2- 60/
                                              28

 7        Receive 17 bytes (17 bytes data)    C1- 29/    7.5      Send 20       C1- 7.5/7.5
          for Channel #1                      19                  for C1        C2- 7.5/2.5
          Send 17 bytes (17 bytes HCI data)   C2- 60/
          for Channel #1                      28

 8        Receive 17 bytes (17 bytes data)    C1- 32/    8.125    Receive       C1- 10/7.5
          for Channel #1                      36                  20 for C1     C2- 7.5/2.5
          Send 17 bytes (17 bytes HCI data)   C2- 60/
          for Channel #1                      28
                                              C1- 32/    8.75     Send 20       C1- 10/7.5
                                              36                  for C2        C2- 7.5/5.0
                                              C2- 60/8
 9        Receive 17 bytes (3 header, 14      C1- 32/    9.375    Receive       C1- 10/7.5
          data) for Channel #2                36                  20 for C2     C2- 10/5.0
          Send 17 bytes (3 header, 14 data)   C2- 54/
          for Channel #2                      22
 10       Receive 17 bytes (17 bytes data)    C1- 32/    10       Send 20       C1- 10/10
          for Channel #2                      16                  for C1        C2- 10/5.0
          Send 17 bytes (17 bytes HCI data)   C2- 37/
          for Channel #2                      39
                                              C1- 52/    10.625   Receive       C1- 12.5/
                                              16                  20 for C1     10
                                              C2- 37/                           C2- 10/5.0
                                              39
 11       Receive 17 bytes (17 bytes data)    C1- 52/    11.25    Send 20       C1- 12.5/
          for Channel #2                      16                  for C2        10
          Send 17 bytes (17 bytes HCI data)   C2- 20/                           C2- 10/7.5
          for Channel #2                      36

Table 2.3: Example USB dual-channel voice traffic data flow

2.1.2 AMP Controller Descriptors

The AMP Controller configuration consists of one interface. That interface
(interface N - see device descriptors) has no alternate settings and contains
the bulk and interrupt endpoints.




USB Endpoint Expectations                                                     06 December 2016
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An HCI packet, consisting of an HCI header and HCI data, shall be contained
in one USB transfer.

 Interface        Alternate   Suggested             Endpoint         Suggested Max
 Number           Setting     Endpoint Address      Type             Packet Size

 HCI Commands

 N/A              N/A         0x00                  Control          64

 HCI Events

 N                0           0x81                  Interrupt (IN)   512

 AMP Data

 N                0           0x82                  Bulk (IN)        512
 N                0           0x02                  Bulk (OUT)       512

Table 2.4: USB AMP firmware interface and endpoint settings

NOTE: Endpoint addresses are reported by the device in the Endpoint
Descriptors.

2.2 CONTROL ENDPOINT EXPECTATIONS
Endpoint 0 is used to configure and control the USB device. Endpoint 0 will
also be used to allow the Host to send HCI-specific commands to the Host
Controller. HCI Command packets should be sent with the following
parameters:
     bmRequestType = 0x20 (Host-to-device class request, device as target)
     bRequest = 0x00
     wValue = 0x00
     wIndex = 0x00

Some Host devices on the market set bRequest to 0xE0. Hence, for historical
reasons, if the Bluetooth Controller firmware receives a class request over this
endpoint, it should treat the packet as an HCI command packet regardless of
the value of bRequest, wValue and wIndex.

All HCI Control Packets delivered to Endpoint 0 are addressed in the Setup
Data structure (See 9.3 of [2]). This structure contains fields which determine
the destination within the device. The bmRequestType can be used to select
the Device or the Interface. If Interface is selected, the wIndex parameter must
select the Index for the targeted Bluetooth Controller.




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2.2.1 Single Function Primary Controller

For a single function Primary Controller, the Host should address HCI
command packets to the Device. HCI command packets should be sent with
the following parameters:

 Parameter              Value    description

 bmRequestType          0x20     Host-to-device class request, device as target
 bRequest               0x00
 wValue                 0x00

 wIndex                 0x00
Table 2.5: HCI command packet addressing for single-function Primary Controllers

Note: For historical reasons, if the Primary Controller firmware receives a
packet over this endpoint, it should treat the packet as an HCI command
packet regardless of the value of bRequest, wValue and wIndex. Some Host
devices set bRequest to 0xE0.

2.2.2 Primary Controller Function in a Composite Device

For a Primary Controller included in a composite (multi-function) device, the
Host should address HCI control packets to the Interface of the Primary
Controller. HCI command packets should be sent with the following
parameters:

 Parameter              Value   description

 bmRequestType          0x21    Host-to-Interface class request, interface as target
 bRequest               0x00

 wValue                 0x00
 wIndex                 IF#     This is the actual Interface number within the composite
                                device.
Table 2.6: HCI command packet addressing for composite device Primary Controllers

If the Host system driver addresses USB requests containing HCI command
packets to the Device (see Section 2.2.1) instead of to the Interface, the device
implementation shall recognize these HCI command packets and correctly
route them to the Primary Controller function, to ensure correct operation of the
Primary Controller function and avoid malfunctions in other functions contained
in the composite device.

2.2.3 AMP Controller

For any AMP Controller, either in a single function device or included in a
composite device, the Host shall address HCI control packets to the Interface

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of the AMP Controller. HCI command packets shall be sent with the following
parameters:

 Parameter                  Value    description

 bmRequestType              0x21     Host-to-Interface class request, interface as target
 bRequest                   0x2B     Arbitrary value chosen to identify requests targeted to
                                     an AMP Controller function.

 wValue                     0x00
 wIndex                     IF#      This is the actual Interface number within the compos-
                                     ite device.
Figure 2.1: HCI command packet addressing for single-function AMP Controller


2.3 BULK ENDPOINTS EXPECTATIONS
Data integrity is a critical aspect for ACL data. This, in combination with
bandwidth requirements, is the reason for using a bulk endpoint. Multiple 64-
byte packets can be shipped per USB Frame (1 millisecond, full speed) or 512-
byte packets per USB Microframe (125 microseconds, high-speed), across the
bus.

Suggested bulk max packet size is 64 bytes for full-speed, or 512 bytes for high
speed.

Bulk has the ability to detect errors and correct them. In order to avoid
starvation, a flow control model similar to the shared endpoint model is
recommended for the Host Controller.

2.4 INTERRUPT ENDPOINT EXPECTATIONS
An interrupt endpoint is necessary to ensure that events are delivered in a
predictable and timely manner. Event packets can be sent across USB with a
guaranteed latency.

The interrupt endpoint should have an interval of 1 ms (full speed). For a
Controller using USB high-speed the interrupt interval may have an interval of
125 microseconds.

The USB software and firmware requires no intimate knowledge of the events
passed to the Host Controller.

2.5 ISOCHRONOUS ENDPOINTS EXPECTATIONS
These isochronous endpoints transfer synchronous data to and from the Host
Controller of the radio.




USB Endpoint Expectations                                                       06 December 2016
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Time is the critical aspect for this type of data. The USB firmware should
transfer the contents of the data to the Host Controllers' synchronous FIFOs. If
the FIFOs are full, the data should be overwritten with new data.

These endpoints have a one (1) ms interval, as required by Chapter 9 of the
USB Specification, Versions 1.0 and 1.1.

The radio is capable of three (3) 64Kb/s voice channels (and can receive the
data coded in different ways – 16-bit linear audio coding is the method that
requires the most data). A suggested max packet size for this endpoint would
be at least 64 bytes. (It is recommended that max packet sizes be on power of
2 boundaries for optimum throughput.) However, if it is not necessary to
support three voice channels with 16-bit coding, 32 bytes could also be
considered an acceptable max packet size.




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3 CLASS CODE

A class code will be used that is specific to all USB Bluetooth devices. This will
allow the proper driver stack to load, regardless of which vendor built the
device.

3.1 BLUETOOTH CODES
The values shown in the following tables shall be used in the Device Descriptor
for Bluetooth Controller devices with USB HCI transport.

 Code             Label               Value    Description

 Class            bDeviceClass        0xE0     Wireless Controller

 Subclass         bDeviceSubClass     0x01     RF Controller
 Protocol         bDeviceProtocol     0x01     Bluetooth Primary Controller
Table 3.1: USB Codes for Primary Controllers


 Code             Label               Value    Description

 Class            bDeviceClass        0xE0     Wireless Controller
 Subclass         bDeviceSubClass     0x01     RF Controller

 Protocol         bDeviceProtocol     0x04     Bluetooth AMP Controller
Table 3.2: USB Codes for AMP Controllers

These values should also be used in the interface descriptors for the interfaces
described in Section 2.1 and as described in the following sections.

3.1.1 Single Function Primary Controller

Set the Class, Subclass, and Protocol values for the Device Descriptor and for
each Interface Descriptor which applies to the Primary Controller as defined in
Table 3.1.

3.1.2 Single Function AMP Controller

Set the Class, Subclass, and Protocol values for the Device Descriptor and for
each Interface Descriptor which applies to the AMP Controller as defined in
Table 3.2.




Class Code                                                                 06 December 2016
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3.1.3 Composite Bluetooth Primary and AMP Controller

Set the Class, Subclass, and Protocol values for the Device Descriptor as
defined in the USB Interface Association Descriptor (IAD) ECN.

Set the Class, Subclass, and Protocol values for each Interface Descriptor
which applies to the Primary Controller as defined in Table 3.1.

 Code            Label                Value        Description

 Class           bDeviceClass         0xEF         Miscellaneous
 Subclass        bDeviceSubClass      0x02         Common Class

 Protocol        bDeviceProtocol      0x01         Interface Associa-
                                                   tion Descriptor
Table 3.3: USB Codes for composite devices using IAD

Set the Class, Subclass, and Protocol values for the each Interface Descriptor
which applies to the AMP Controller as defined in Table 3.2.

3.1.4 Composite Device Including Bluetooth Primary and AMP Controller

Set the Class, Subclass, and Protocol values for the Device Descriptor to as
defined in Table 3.3.

Set the Class, Subclass, and Protocol values for each Interface Descriptor
which applies to the Primary Controller as defined in Table 3.1.

Set the Class, Subclass, and Protocol values for the each Interface Descriptor
which applies to the AMP Controller as defined in Table 3.2.




Class Code                                                                    06 December 2016
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4 DEVICE FIRMWARE UPGRADE

Firmware upgrade capability is not a required feature. If implemented, the
firmware upgrade should be compliant with the “Universal Serial Bus Device
Class Specification for Device Firmware Upgrade” (version 1.1 or later)
available on the USB Forum web site at
http://www.usb.org.




Device Firmware Upgrade                                          06 December 2016
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5 LIMITATIONS

5.1 POWER SPECIFIC LIMITATIONS
Some USB Host Controllers in portable devices will not receive power while the
system is in a sleep mode. For example, many PCs do not supply power to the
USB port in system power states S3 or S4, as defined in ACPI. Hence, USB
wake-up can only occur when the system is in S1 or S2. Furthermore, all
connections and state information of the USB Bluetooth Controller will be lost
in the system sleep state if power is lost necessitating re-initialization when the
device returns to the active state.

Some USB Host Controllers further continually snoop memory when a device
is attached to see if there is any work that needs to be done. The snoop is
typically performed every 1ms for USB full-speed devices. This prevents the
processor from dropping into a low power state known as C3. Because the
processor is not able to enter the C3 state, significant power consumption may
occur. This is a major concern for battery-powered Hosts such notebook
computers. Some Host Controllers are capable of scheduling polling of USB
devices at short intervals while snooping the Host's memory much less
frequently. Systems with such Host Controllers may be able to greatly increase
the percentage of time spent in the C3 state even if Bluetooth connections are
maintained.

A feature called Link Power Management is also recommended for
implementation by Bluetooth devices. It is described in an ECN (Engineering
Change Notice) from the USB Implementers' Forum.

5.2 OTHER LIMITATIONS
Data corruption may occur across isochronous endpoints. Endpoints one and
two may suffer from data corruption.

USB provides 16-CRC on all data transfers. The USB has a bit error rate of
10-13.

Note that when a dongle is removed from the system, the radio will lose power
(assuming this is a bus-powered device). This means that devices will lose
connection.




Limitations                                                            06 December 2016
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6 BLUETOOTH COMPOSITE DEVICE
IMPLEMENTATION

A USB Composite contains multiple independent functions. This section
describes how to implement Bluetooth functions within a USB Composite
device. This may require the use of Interface Association Descriptors (IAD) to
aggregate multiple Interfaces. This also requires the Host to address USB
requests to the specific Interface (see [1]).

6.1 CONFIGURATIONS
There are several ways that Bluetooth Controller functions may be included in
a USB composite device:
• Primary Controller and AMP Controller (see Section 6.3)
• Primary Controller in a multi-radio device
• Primary Controller in a device also containing non-radio functions (e.g.
  memory)
• AMP Controller in a multi-radio device

6.2 USING USB INTERFACE ASSOCIATION DESCRIPTORS
FOR A PRIMARY CONTROLLER FUNCTION
A Primary Controller ([Vol 1] Part A, Section 2) shall contain at least two
interfaces:
• HCI Events and ACL data (3 endpoints)
• HCI SCO data (2 endpoints, multiple alternate settings)

A Primary Controller may also contain
• Device Firmware Upgrade (see [2])

When used in a USB Composite device, a Primary Controller function shall use
an IAD descriptor to associate the provided interfaces. The following is an
example IAD for a Primary function without Device Firmware Upgrade:
• It would be contained within a Configuration Descriptor set.
• It would be followed by two Interface Descriptors and associated Endpoint
  Descriptors.

 Offset        Field                        Size   Value    Description

 0             bLength                      1      0x08     Size of this descriptor in octets

 1             bDescriptorType              1      0x0B     INTERFACE ASSOCIATION
                                                            DESCRIPTOR
Table 6.1: Example Interface Association Descriptor used for a Primary Controller function

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 Offset        Field                         Size        Value      Description

 2             bFirstInterface               1           number     Interface number of the first
                                                                    interface associated with this
                                                                    device
 3             bInterfaceCount               1           0x02       Number of contiguous inter-
                                                                    faces associated with the func-
                                                                    tion
 4             bFunctionClass                1           0xE0       Wireless Controller

 5             bFunctionSubClass             1           0x01       RF Controller
 6             bFunctionProtocol             1           0x01       Bluetooth Primary Controller
 7             iFunction                     1           Index      Pointer to a name string for this
                                                                    function, if any is provide

Table 6.1: Example Interface Association Descriptor used for a Primary Controller function


6.3 COMBINED PRIMARY CONTROLLER FUNCTION AND
SINGLE AMP CONTROLLER FUNCTION
An AMP Controller (see Volume 5) shall contain at least one interface:
• HCI Events and ACL Data (3 endpoints)

An AMP Controller may also contain
• Device Firmware Upgrade (see [2])

When used in a USB Composite device, an AMP Controller does not need IAD.
If the device contains the Device Firmware Upgrade option as a separate
Device function, an IAD is not needed. If the Device Firmware Upgrade option
is bundled with the AMP Controller function, then an IAD is needed to bind the
two interfaces.

A USB Composite device containing only a Primary Controller and an AMP
Controller may include a Configuration Descriptor set with the following
structure:

 Offset     Field                     Size       Value   Description

                                       Configuration Descriptor

 0          bLength                   1          0x09    Configuration Descriptor size
 1          bDescriptorType           1          0x02    CONFIGURATION DESCRIPTOR
 2          wTotalLength              2                  Size of the entire bundle

Table 6.2: Example Configuration Descriptor used for a composite Primary and AMP
Controller device




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 Offset     Field                     Size     Value   Description

 4          bNumInterfaces            1        0x03    Three Interfaces:
                                                       IF#1 Primary events & ACL
                                                       IF#2 Primary SCO or eSCO
                                                       IF#3 AMP events & ACL

 5          bConfigurationValue       1        0x01
 6          iConfiguration            1        Index   Reference to a string describing this.

 7          bmAttributes              1                Attributes bitmap
 8          MaxPower                  1        0xFA    500 mA (i.e. 0xFA * 2 mA)

                                  Interface Association Descriptor

 0          bLength                   1        0x08    Interface Association Descriptor size

 1          bDescriptorType           1        0x0B    INTERFACE ASSOCIATION DESCRIPTOR
 2          bFirstInterface           1        IF#1    Interface number of the first interface asso-
                                                       ciated with this device.

 3          bInterfaceCount           1        0x03    Number of contiguous interfaces associ-
                                                       ated with the function.
 4          bFunctionClass            1        0xE0    Wireless Controller
 5          bFunctionSubClass         1        0x01    RF Controller

 6          bFunctionProtocol         1        0x01    Bluetooth Primary Controller
 7          iFunction                 1        Index   Pointer to a name string for this function, if
                                                       any is provided.

                                  Primary Events & ACL Interface

 0          bLength                   1        0x09

 1          bDescriptorType           1        0x04    INTERFACE DESCRIPTOR
 2          bInterfaceNumber          1        IF#1    This is the first interface in the device.
 3          bAlternateSetting         1        0x00    This is the first setting for this interface.

 4          bNumEndpoints             1        0x03    INT, Bulk OUT (ACL), Bulk IN (ACL)
 5          bFunctionClass            1        0xE0    Wireless Controller
 6          bFunctionSubClass         1        0x01    RF Controller

 7          bFunctionProtocol         1        0x01    Bluetooth Primary Controller
 8          iInterface                1        Index   Pointer to a name string for this interface, if
                                                       any is provided.
            Details omitted                 varies     INT ENDPOINT DESCRIPTOR

            Details omitted                 varies     BULK OUT ENDPOINT DESCIPTOR
Table 6.2: Example Configuration Descriptor used for a composite Primary and AMP
Controller device


Bluetooth Composite Device Implementation                                               06 December 2016
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USB Transport Layer


 Offset     Field                     Size     Value   Description

            Details omitted                 varies     BULK IN ENDPOINT DESCIPTOR

                                  Primary Controller SCO Interface

 0          bLength                   1        0x09
 1          bDescriptorType           1        0x04    INTERFACE DESCRIPTOR

 2          bInterfaceNumber          1        IF#2    This is the second interface in the device.
 3          bAlternateSetting         1        0x00    This is the first setting for this interface.
 4          bNumEndpoints             1        0x02    Isoch OUT (SCO), Isoch IN (SCO)

 5          bFunctionClass            1        0xE0    Wireless Controller
 6          bFunctionSubClass         1        0x01    RF Controller
 7          bFunctionProtocol         1        0x01    Bluetooth Primary Controller

 8          iInterface                1        Index   Pointer to a name string for this interface, if
                                                       any is provided.
            Details omitted                 varies     ISOCH OUT ENDPOINT DESCRIPTOR

            Details omitted                 varies     ISOCH IN ENDPOINT DESCRIPTOR

                              AMP Controller: Events & ACL Interface

 0          bLength                   1        0x09
 1          bDescriptorType           1        0x04    INTERFACE DESCRIPTOR

 2          bInterfaceNumber          1        IF#3    This is the third interface in the device.
 3          bAlternateSetting         1        0x00    This is the first setting for this interface.
 4          bNumEndpoints             1        0x03    INT, Bulk OUT (ACL), Bulk IN (ACL)

 5          bFunctionClass            1        0xE0    Wireless Controller
 6          bFunctionSubClass         1        0x01    RF Controller
 7          bFunctionProtocol         1        0x04    Bluetooth AMP Controller

 8          iInterface                1        Index   Pointer to a name string for this interface, if
                                                       any is provided.
            Details omitted                 varies     INT ENDPOINT DESCRIPTOR
            Details omitted                 varies     BULK OUT ENDPOINT DESCIPTOR

            Details omitted                 varies     BULK IN ENDPOINT DESCIPTOR
Table 6.2: Example Configuration Descriptor used for a composite Primary and AMP
Controller device




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USB Transport Layer


7 REFERENCES

[1]   USB 2.0, http://www.usb.org/developers/docs/docs, including:
      1.  Interface Association Descriptors ECN
      2.     Inter-Chip USB Supplement 1.0
      3.     High Speed Inter-Chip USB Supplement 1.0
      4.     Link Power Management 1.0
[2]   USB Device Firmware Upgrade 1.1




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            Host Controller Interface [Transport Layer]
                                                Part C




          PART C: SECURE DIGITAL (SD)
                   TRANSPORT LAYER




                          This document describes the SD
                          transport layer (between the Host and
                          Controller). HCI command, event and
                          data packets flow through this layer,
                          but the layer does not decode them.
                          The Bluetooth SD Transport layer is
                          defined in a document owned and
                          maintained by the Secure Digital
                          Association. Information regarding
                          that document is described herein.




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Secure Digital (SD) Transport Layer


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Secure Digital (SD) Transport Layer


1 INTRODUCTION

This document discusses the requirements of the Secure Digital (SD) interface
for Bluetooth hardware. Readers should be familiar with SD, SD design issues,
and the overall Bluetooth architecture. The reader should also be familiar with
the Bluetooth Host Controller Interface.

The SD Bluetooth Protocol is documented in the SDIO Card Type-A
Specification for Bluetooth, which is owned and maintained by the Secure
Digital Association (SDA). The full specification is available to members of the
SDA that have signed all appropriate SD NDA and license requirements. The
SDA also makes a Non-NDA version available, the Simplified Version of: SDIO
Card Type-A Specification for Bluetooth. There are no changes to the SDA
document to comply with the requirements of the Bluetooth SIG.




Introduction                                                         06 December 2016
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Secure Digital (SD) Transport Layer


2 GOALS

2.1 HARDWARE GOALS
The Bluetooth SD transport interface specification is designed to take
advantage of both the SD Physical Transport bus and the packet orientation of
the Bluetooth HCI protocol. Thus, all data is transferred in blocks as packets.
Since the block size used on the SD bus may be smaller than the HCI packet,
a segmentation and recombination protocol is defined.

SDIO [2] provides different data rate options, including different bit path widths
and clock rates. Systems using SDIO should choose options that provide
sufficient bandwidth to support the needs of the Controller, both for device
control (HCI commands and events) and for data (ACL, SCO).

The specification supports SDIO-connected Controller:
• Primary Controller
• AMP Controller
• Multifunction Controller incorporating some combination of Primary and
  AMP Controllers.

2.2 SOFTWARE GOALS
The Bluetooth SD transport interface specification is designed for non-
embedded solutions. It is assumed that the Host software does not necessarily
have a priori knowledge of the SD Bluetooth device.

The interface is not designed for embedded applications where much of the
information passed via the interface is known in advance.

The SDA also defines a Bluetooth interface for embedded applications where
the Controller contains protocol layers above HCI (RFComm, SDP etc.). This
specification is called SDIO Card Type-B Specification for Bluetooth.
Information about this specification can be obtained from the SDA:

http://www.sdcard.org.




Goals                                                                 06 December 2016
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Secure Digital (SD) Transport Layer


2.3 CONFIGURATION GOALS
The SDIO Card Specification [2] defines SDIO Standard Function Codes in
Table 6-4:
 0x2       This function supports the SDIO Type-A for
           Bluetooth standard interface
 0x3       This function supports the SDIO Type-B for
           Bluetooth standard interface
 0x9       This function supports the SDIO Type-A for
           Bluetooth AMP standard interface

The SDIO Card Type-A Specification for Bluetooth [3] specifies how to
implement a Primary Controller. Table 2.1 defines Service ID codes to route
HCI messages (codes 0x01 - 0x04). An AMP Controller shall conform to [3]
except for one Service ID code:

 SDIO Type-A
 service ID          Primary Controller        AMP Controller

 0x00                reserved for future use   reserved for future use

 0x01                HCI Command Packet        HCI Command Packet
 0x02                ACL Data                  ACL Data: Best Effort and Guaran-
                                               teed Logical Links
 0x03                SCO Data                  reserved for future use

 0x04                HCI Event Packet          HCI Event Packet
 0x05-0xFF           Reserved as per [3]       Reserved as per [3]
Table 2.1: Bluetooth SDIO Controller Service ID codes


2.4 CONFIGURATION FOR MULTIPLE CONTROLLERS
An SDIO device may contain one or more Controllers as defined in [3]. These
Controller functions shall conform to the requirements of [2] section 6.12.




Goals                                                                          06 December 2016
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Secure Digital (SD) Transport Layer


3 PHYSICAL INTERFACE DOCUMENTS

This specification references the SD SDIO Card Type-A Specification for
Bluetooth. This SDA document defines the Bluetooth HCI for all SD devices
that support an HCI level interface. Any SD Bluetooth device claiming
compliance with the SD Bluetooth Transport must support this interface and
additionally adhere to its device type specification, which is set by the Secure
Digital Association. The SDIO Card Type-A Specification for Bluetooth
document is based on the SDIO Card Specification, which in turn is based on
the SD Memory Card Specification: Part 1 Physical Layer Specification. All of
these documents are copyrighted by the SDA and are available ONLY to SDA
member companies that have signed the appropriate NDA documents with the
SDA. As an introduction to the SD Bluetooth Type A specification, the SDA has
created ‘Simplified’ versions of each of these documents. The simplified
versions do not contain enough information to fully implement a device,
however they do contain enough information to convey the structure and intent
of the specifications.

Applicable SDA Documents available to members of the SDA:

         SD Memory Card Specification: Part 1 Physical Layer Specification

         SDIO Card Specification

         SDIO Card Type-A Specification for Bluetooth.

Applicable Simplified SDA Documents available to non-members and
members of the SDA:

         Simplified Version of: SD Memory Card Specification: Part 1
         Physical Layer Specification

         Simplified Version of: SDIO Card Specification:

         Simplified Version of: SDIO Card Type-A Specification for
         Bluetooth

More information on the Secure Digital Association and the SD specifications
can be found at the SDA website at. http://www.sdcard.org.




Physical Interface Documents                                         06 December 2016
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Secure Digital (SD) Transport Layer


4 COMMUNICATION

4.1 OVERVIEW
Figure 4.1 below is a diagram of the communication interface between a
Bluetooth SD device and the Bluetooth Host protocol stack. Modifications to
this diagram might be needed for operating systems that do not support a
miniport model:



      Bluetooth Host Protocol
         Stack on Host PC



        Bluetooth HCI Driver                             Bluetooth HCI
                                                           Firmware


            SD HCI Driver
                                                          Bluetooth
                                                         SD-Compliant
                                                           Device
            SD Bus Driver



                                      SD Compliant Bus


Figure 4.1: SD Communication Diagram




Communication                                                        06 December 2016
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Secure Digital (SD) Transport Layer


APPENDIX A ACRONYMS AND ABBREVIATIONS


 Acronym              Description

 HCI                  Host Controller Interface
 NDA                  Non-Disclosure Agreement
 OS                   Operating System

 SD                   Secure Digital
 SDA                  Secure Digital Association
 SDIO                 Secure Digital Input/Output

 SDP                  Service Discovery Protocol
 SIG                  Special Interest Group
Table 4.1: Acronyms and Abbreviations




Appendix A: Acronyms and Abbreviations                      06 December 2016
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Secure Digital (SD) Transport Layer


APPENDIX B RELATED DOCUMENTS

A) Bluetooth Core Specification v1.2 or later.

B) Applicable SDA Documents available to members of the SDA:
[1]    B.1) SD Memory Card Specification: Part 1 Physical Layer Specification
[2]    B.2) SDIO Card Specification
[3]    B.3) SDIO Card Type-A Specification for Bluetooth
[4]    B.4) SDIO Card Type-B Specification for Bluetooth
[5]    B.5) SDIO Card Physical Test Specification
[6]    B.5) SDIO Host Physical Test Specification
[7]    B.6) SD Bluetooth Type A Test Specification

These documents are available to members of the SDA in the “Members
Only” section of the SDA web site (https://www.sdcard.org/members/). See
http://www.sdcard.org/developers/join/ for information on joining the SDA..

C) Applicable Simplified SDA Documents available to non-members and
members of the SDA:
        C.1) Simplified Version of: SD Memory Card Specification:
             Part 1 Physical Layer Specification
             https://www.sdcard.org/downloads/pls/

        C.2) Simplified Version of: SDIO Card Specification
             https://www.sdcard.org/downloads/pls/
        C.3) Simplified Version of: SDIO Card Type-A Specification for Bluetooth
             https://www.sdcard.org/downloads/pls/




Appendix B: Related Documents                                        06 December 2016
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Secure Digital (SD) Transport Layer


APPENDIX C TESTS

The SDA has defined formal test procedures for SDIO Type A Bluetooth cards
(Controller) and Hosts. It is expected that both Controllers and Hosts will
comply with all test requirements set forth by the SDA in accordance with the
rules of the SDA. The Bluetooth SIG does not require any formal testing to
comply with SIG requirements. The test document names are listed in
Appendix B.

C.1 TEST SUITE STRUCTURE
There are two types of tests defined for the HCI SD Transport Layer:

       1.     Functional Tests
       2.     Protocol Tests

Tests of both types are defined for both the Host and Controller.

The purpose of the functional tests is to verify that the SD Bluetooth Type A
Specification, SDIO Standard and SD Physical Standard have been
implemented according to the specifications. These tests and the test
environment for these tests are defined in documents provided by the SDA.

The purpose of the protocol tests are to verify that the Bluetooth Controller SD
implementation or the Host implementation are according to the SD Bluetooth
Type A specification.

The test environment for the protocol tests consists of the tester and the Device
Under Test (DUT) as illustrated in Figure C.1 below.




                    Tester                                 DUT


                                        SD Interface

Figure C.1: Protocol Test Environment


The tester is typically a PC with an SD interface. The DUT is placed into local
loopback mode and standard HCI commands are used to drive the tests. The
test results are verified in the tester.




Appendix C: Tests                                                    06 December 2016
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            Host Controller Interface [Transport Layer]
                                                Part D




               PART D: THREE-WIRE UART
                      TRANSPORT LAYER




                          This document describes the Three-
                          Wire UART transport layer (between
                          the Host and Controller). HCI
                          command, event and data packets flow
                          through this layer, but the layer does
                          not decode them.




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Three-wire UART Transport Layer


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Three-wire UART Transport Layer


1 GENERAL

The HCI Three-Wire UART Transport Layer makes it possible to use the
Bluetooth HCI over a serial interface between two UARTs. The HCI Three-Wire
UART Transport Layer assumes that the UART communication may have bit
errors, overrun errors or burst errors. See also Part A, UART Transport Layer.




General                                                            06 December 2016
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Three-wire UART Transport Layer


2 OVERVIEW

The HCI Three-Wire UART Transport Layer is a connection based protocol that
transports HCI commands, events, ACL and Synchronous packets between
the Host and the Controller. Packet construction is in done in two steps. First, it
adds a packet header onto the front of every HCI Packet which describes the
payload. Second, it frames the packets using a SLIP protocol. Finally, it sends
this packet over the UART interface.

The SLIP layer converts an unreliable octet stream into an unreliable packet
stream. The SLIP layer places start and end octets around the packet. It then
changes all occurrences of the frame start or end octet in the packet to an
escaped version.

The packet header describes the contents of the packet, and if this packet
needs to be reliably transferred, a way of identifying the packet uniquely,
allowing for retransmission of erroneous packets.


                Host                                                  Controller

                                                               Baseband Controller/
           Host HCI Drivers
                                                                 LMP Firmware

      Bluetooth HCI Library               Bluetooth HCI       Bluetooth HCI Firmware

           Three Wire UART                                         Three Wire UART
                                         Framed Packets
            Packets Library                                        Packet Firmware

             SLIP Library                 SLIP Packets              SLIP Firmware


            UART Interface                UART Cable                UART Interface


Figure 2.1: The Relationship Between the Host and the Controller




Overview                                                                       06 December 2016
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Three-wire UART Transport Layer


3 SLIP LAYER

The SLIP layer places packet framing octets around each packet being
transmitted over the Three-Wire UART Transport Layer. This delimits the
packets and allows packet boundaries to be detected if the receiver loses
synchronization. The SLIP layer is based upon the RFC 1055 Standard [1].

3.1 ENCODING A PACKET
The SLIP layer performs octet stuffing on the octets entering the layer so that
specific octet codes which may occur in the original data do not occur in the
resultant stream.

The SLIP layer places octet 0xC0 at the start and end of every packet it
transmits. Any occurrence of 0xC0 in the original packet is changed to the
sequence 0xDB 0xDC before being transmitted. Any occurrence of 0xDB in the
original packet is changed to the sequence 0xDB 0xDD before being
transmitted. These sequences, 0xDB 0xDC and 0xDB 0xDD are SLIP escape
sequences. All SLIP escape sequences start with 0xDB. All SLIP escape
sequences are listed in Table 3.1.




             C0   C0    Slip Packet 1    C0       C0     Slip Packet 2   C0        C0



Figure 3.1: SLIP Packets with 0xC0 at the Start and End of Each Packet


3.2 DECODING A PACKET
When decoding a SLIP stream, a device will first be in an unknown state, not
knowing if it is at the start of a packet or in the middle of a packet. The device
must therefore discard all octets until it finds a 0xC0. If the 0xC0 is followed
immediately by a second 0xC0, then the device will discard the first 0xC0 as it
was presumably the end of the last packet, and the second 0xC0 was the start
of the next packet. The device will then be in the decoding packet state. It can
then decode the octets directly changing any SLIP escape sequences back
into their unencoded form. When the device decodes the 0xC0 at the end of
the packet, it will calculate the length of the SLIP packet, and pass the packet
data into the packet decoder. The device will then seek the next packet. If the
device does not receive an 0xC0 for the start of the next packet, then all octets
up to and including the next 0xC0 will be discarded.




Slip Layer                                                                     06 December 2016
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Three-wire UART Transport Layer




 SLIP Escape Sequence      Unencoded form     Notes

 0xDB 0xDC                 0xC0
 0xDB 0xDD                 0xDB
 0xDB 0xDE                 0x11               Only valid when OOF Software Flow
                                              Control is enabled

 0xDB 0xDF                 0x13               Only valid when OOF Software Flow
                                              Control is enabled
Table 3.1: SLIP Escape Sequences




Slip Layer                                                             06 December 2016
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Three-wire UART Transport Layer


4 PACKET HEADER

Every packet that is sent over the Three-Wire UART Transport Layer has a
packet header. It also has an optional Data Integrity Check at the end of the
payload. The Transport Layer does not support packet segmentation and
reassembly. Each transport packet will contain at most one higher layer packet.

A packet consists of a Packet Header of 4 octets, a Payload of 0 to 4095
octets, and an optional Data Integrity Check of 2 octets. See Figure 4.1.

The Packet header consists of a Sequence Number of 3 bits, an Acknowledge
Number of 3 bits, a Data Integrity Check Present bit, a Reliable Packet bit, a
Packet Type of 4 bits, a Payload Length of 12 bits and an 8 bit Header
Checksum. See Figure 4.2.



          LSB 4 Octets                    0-4095                        2 MSB


                                                                        Data Integrity
          Packet Header                   Payload
                                                                        Check




Figure 4.1: Packet Format




     LSB 3 bits         3                1             1         4        12         8 MSB

      Sequence    Acknowledgment   Data Integrity   Reliable   Packet   Payload      Header
      Number      Number           Check Present    Packet     Type     Length       Checksum




Figure 4.2: Packet Header Format


4.1 SEQUENCE NUMBER
For unreliable packets this field will be set to 0 on transmit and ignored on
receive.

Each new reliable packet will be assigned a sequence number which will be
equal to the sequence number of the previous reliable packet plus one modulo
eight. A packet will use the same sequence number each time it is
retransmitted.




Packet Header                                                                        06 December 2016
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Three-wire UART Transport Layer


4.2 ACKNOWLEDGE NUMBER
The acknowledge number must be set to the sequence number of the next
reliable packet this device expects to receive. See Section 6.4.

4.3 DATA INTEGRITY CHECK PRESENT
If a 16 bit CCITT-CRC Data Integrity Check is appended to the end of the
payload, this bit shall be set to 1.

4.4 RELIABLE PACKET
If this bit it set to 1, then this packet is reliable. This means that the sequence
number field is valid, and the receiving end must acknowledge its receipt. If this
bit is set to 0, then this packet is unreliable.

4.5 PACKET TYPE
There are four kinds of HCI packets that can be sent via the Three-Wire UART
Transport Layer; these are HCI Command Packet, HCI Event Packet, HCI ACL
Data Packet and HCI Synchronous Data Packet (see “Host Controller Interface
Functional Specification” in the Bluetooth Core Specification v1.2 or later). HCI
Command Packets can be sent only to the Controller, HCI Event Packets can
be sent only from the Controller, and HCI ACL/ Synchronous Data Packets can
be sent both to and from the Controller.

HCI packet coding does not provide the ability to differentiate the four HCI
packet types. Therefore, the Packet Type field is used to distinguish the
different packets. The acceptable values for this Packet Type field are given in
Table 4.1.



 HCI Packet Type                         Packet Type

 Acknowledgment Packets                  0
 HCI Command Packet                      1
 HCI ACL Data Packet                     2

 HCI Synchronous Data Packet             3
 HCI Event Packet                        4
 Reserve                                 5-13

 Vendor Specific                         14
 Link Control Packet                     15
Table 4.1: Three-Wire UART Packet Type



Packet Header                                                          06 December 2016
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HCI Command Packets, HCI ACL Data Packets and HCI Event Packets are
always sent as reliable packets. HCI Synchronous Data Packets are sent as
unreliable packets unless HCI Synchronous Flow Control is enabled, in which
case they are sent as reliable packets.

In addition to the four HCI packet types, other packet types are defined. One
packet type is defined for pure Acknowledgment Packets, and one additional
packet type is to support link control. One packet type is made available to
vendors for their own use. All other Three-Wire UART Packet Types are
reserved for future use.

4.6 PAYLOAD LENGTH
The payload length is the number of octets in the payload data. This does not
include the length of the packet header, or the length of the optional data
integrity check.

4.7 PACKET HEADER CHECKSUM
The packet header checksum validates the contents of the packet header
against corruption. This is calculated by setting the Packet Header Checksum
to a value such that the 2’s complement sum modulo 256 of the four octets of
the Packet Header including the Packet Header Checksum is 0xFF.




Packet Header                                                      06 December 2016
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5 DATA INTEGRITY CHECK

The Data Integrity Check field is optional. It can be used to ensure that the
packet is valid. The Data Integrity Check field is appended onto the end of the
packet. Each octet of the Packet Header and Packet Payload is used to
compute the Data Integrity Check.

5.1 16 BIT CCITT-CRC
The CRC is defined using the CRC-CCITT generator polynomial
g(D) = D16 + D12 + D5 + 1

(see Figure 5.1)

The CRC shift register is filled with 1s before calculating the CRC for each
packet. Octets are fed through the CRC generator least significant bit first.

The most significant parity octet is transmitted first (where the CRC shift
register is viewed as shifting from the least significant bit towards the most
significant bit). Therefore, the transmission order of the parity octets within the
CRC shift register is as follows:

x[8] (first), x[9],..., x[15], x[0], x[1],..., x[7] (last)

where x[15] corresponds to the highest power CRC coefficient and x[0]
corresponds to the lowest power coefficient.

The switch S shall be set in position 1 while the data is shifted in. After the last
bit has entered the LFSR, the switch shall be set in position 2, and the registers
contents shall be read out for transmission.



     D0                            D5                                  D 12                         S
                                                                                                         2   D16
                                                                                                         1




 Position   0   1      2   3   4        5   6   7   8   9    10   11          12   13       14      15

                                                                                             Data in (LSB first)


Figure 5.1: The LFSR Circuit Generating the CRC




Data Integrity Check                                                                             06 December 2016
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Three-wire UART Transport Layer


6 RELIABLE PACKETS

To allow the reliable transmission of packets through the transport, a method
needs to be defined to recover from packet errors. The Host or Controller can
detect a number of different errors in the packet.

6.1 HEADER CHECKSUM ERROR
The header of the packet is protected by a Packet Header Checksum. If the 2’s
complement sum modulo 256 of the four octets of the header is not 0xFF, then
the packet has an unrecoverable error and all information contained in the
packet shall be discarded.

6.2 SLIP PAYLOAD LENGTH ERROR
The length of the SLIP packet shall be checked against the Packet Payload
Length. If the Data Integrity Check Present bit is set to 1, then the SLIP packet
length should be 6 + Packet Payload Length. If the Data Integrity Check
Present bit is set to 0, then the SLIP packet length should be 4 + Packet
Payload Length. If this check fails, then all information contained in the packet
shall be discarded. The SLIP packet length is the length of the data received
from the SLIP layer after the SLIP framing, and SLIP escape codes have been
processed.

6.3 DATA INTEGRITY CHECK ERROR
The packet may have a Data Integrity Check at the end of the payload. This is
controlled by the Data Integrity Check Present bit in the header. If this is set to
1, then the Data Integrity Check at the end of the payload is checked. If this is
different from the value expected, then the packet shall be discarded. If the link
is configured to not use data integrity checks, and a packet is received with the
Data Integrity Check Present bit set to 1, then the packet shall be discarded.

6.4 OUT OF SEQUENCE PACKET ERROR
Each device keeps track of the sequence number it expects to receive next.
This will be one more than the sequence number of the last successfully
received reliable packet, modulo eight. If a reliable packet is received which
has the expected sequence number, then this packet shall be accepted.

If a reliable packet is received which does not have the expected sequence
number, then the packet shall be discarded.




Reliable Packets                                                       06 December 2016
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6.5 ACKNOWLEDGMENT
Whenever a reliable packet is received, an acknowledgment shall be
generated.

If a packet is available to be sent, the Acknowledgment Number of that packet
shall be updated to the latest expected sequence number.

If a requirement to send an acknowledgment value is pending, but there are no
other packets available to be sent, the device can send a pure
Acknowledgment Packet. This is an Unreliable Packet, with the Packet Type
set to 0, Payload Length set to 0, and the Sequence Number set to 0. The
Acknowledge Number must be set correctly.

The maximum number of reliable packets that can be sent without
acknowledgment defines the sliding window size of the link. This is configured
during link establishment. See Sections 8.6, 8.7 and 8.8.

6.6 RESENDING PACKETS
A Reliable Packet shall be resent until it is acknowledged. Devices should
refrain from resending packets too quickly to avoid saturating the link with
retransmits. See Section 12.1.2.

6.7 EXAMPLE RELIABLE PACKET FLOW
Figure 6.1 shows the transmission of reliable packets between two devices.
Device A sends a packet with a Sequence Number of 6, and an
Acknowledgment Number of 3. Device B receives this packet correctly, so
needs to generate an acknowledgment. Device B then sends a packet with
Sequence Number 3 with its Acknowledgment Number set to the next
expected packet Sequence Number from Device A of 7.




Reliable Packets                                                     06 December 2016
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                   SEQ 6, ACK 3
                                                            SEQ 3, ACK 7
                   SEQ 7, ACK 4


                   SEQ 0, ACK 4
                                                            SEQ 4, ACK 1
                   SEQ 1, ACK 5


                   SEQ 2, ACK 5
                                                            SEQ 5, ACK 1
                   SEQ 1, ACK 6


                   SEQ 2, ACK 6
                                                                 ACK 3

Figure 6.1: Message Diagram Showing Transmission of Reliable Packets


Device A receives a packet with Sequence Number 3 and an Acknowledgment
Number of 7. Device A was expecting this sequence number so needs to
generate an acknowledgment. The Acknowledgment Number of 7 is one
greater than the last Sequence Number that was sent, meaning that this packet
was received correctly (see Section 6.6).

Device A sends two packets, Sequence Numbers 7 and 0. Both packets have
the Acknowledgment Number of 4, the next sequence number it expects from
Device B. Device B receives the first correctly, and increments its next
expected sequence number to 0. It then receives the second packet correctly,
and increments the next expected sequence number to 1.

Device B sends a packet with Sequence Number 4, and the Acknowledgment
Number of 1. This will acknowledge both of the previous two packets sent by
Device A.

Device A now sends two more packets, Sequence Numbers 1 and 2.
Unfortunately, the first packet is corrupted. Device B receives the first packet,
and discovers the error, so discards this packet (see Section 6.1, Section 6.2 or
Section 6.3). It must generate an acknowledgment of this erroneously received
reliable packet. Device B then receives the second packet. This is received out
of sequence, as it is currently expecting Sequence Number 1, but has received
Sequence Number 2 (see Section 6.4). Again, it must generate an
acknowledgment.


Reliable Packets                                                             06 December 2016
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Device B sends another packet with Sequence Number 5. It is still expecting a
packet with Sequence Number 1 next, so the Acknowledgment Number is set
to 1. Device A receives this, and accepts this packet.

Device A has not had either of its last two packets acknowledged, so it must
resend them (see 6.6). It does this, but must update the Acknowledgment
Number of the original packets that were sent (see Section 6.5). The Sequence
Numbers of these packets must stay the same (see Section 4.1).

Device B receives these packets correctly, and schedules the sending of an
acknowledgment. Because Device B doesn’t have any data packets that need
to be sent, it sends a pure Acknowledgment Packet (see Section 6.5).




Reliable Packets                                                  06 December 2016
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7 UNRELIABLE PACKETS

To allow the transmission of unreliable packets through the transport, the
following method shall be used.

7.1 UNRELIABLE PACKET HEADER
An unreliable packet header always has the Reliable Packet bit set to 0. The
sequence number shall be set to 0. The Data Integrity Check Present,
Acknowledgment Number, Packet Type, Payload Length and Packet Header
Checksum shall all be set the same as a Reliable Packet.

7.2 UNRELIABLE PACKET ERROR
If a packet that is marked as unreliable and the packet has an error, then the
packet shall be discarded.




Unreliable Packets                                                  06 December 2016
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8 LINK ESTABLISHMENT

Before any packets except Link Control Packets can be sent, the Link
Establishment procedure must be performed. This ensures that the sequence
numbers are initialized correctly, it also ensures that the two sides are using
the same baud rate, allow detection of peer reset, and allows the device to be
configured.

Link Establishment is defined by a state machine with three states:
Uninitialized, Initialized and Active. When the transport is first started, the link is
in the Uninitialized State. There are four messages that are defined: SYNC,
SYNC RESPONSE, CONFIG and CONFIG RESPONSE. All four link
establishment messages shall be sent with the Data Integrity Present flag set
to 0.



                     Uninitialized




                                     Receive SYNC RESPONSE



                     Initialized




                                     Receive CONFIG RESPONSE


                     Active



Figure 8.1: Link Establishment State Diagram




Link Establishment                                                        06 December 2016
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8.1 UNINITIALIZED STATE
In the Uninitialized State a device periodically1 sends SYNC messages. If a
SYNC message is received, the device shall respond with a SYNC
RESPONSE message. If a SYNC RESPONSE message is received, the
device shall move to the Initialized State. In the Uninitialized State only SYNC
and SYNC RESPONSE messages are valid, all other messages that are
received must be discarded. If an invalid packet is received, the device shall
respond with a SYNC message. The device shall not send any
acknowledgment packets in the Uninitialized State2.

In the Uninitialized State the Controller may wait until it receives a SYNC
message before sending its first SYNC message. This allows the Host to
control when the Controller starts to send data.

The SYNC message can be used for automatic baud rate detection. It is
assumed that the Controller shall stay on a single baud rate, while the Host
could hunt for the baud rate. Upon receipt of a SYNC RESPONSE message,
the Host can assume that the correct baud rate has been detected.

8.2 INITIALIZED STATE
In the Initialized State a device periodically sends CONFIG messages. If a
SYNC message is received, the device shall respond with a SYNC
RESPONSE message. If a CONFIG message is received, the device shall
respond with a CONFIG RESPONSE message. If a CONFIG RESPONSE
message is received, the device will move to the Active State. All other
messages that are received must be ignored.

8.3 ACTIVE STATE
In the Active State, a device can transfer higher layer packets through the
transport. If a CONFIG message is received, the device shall respond with a
CONFIG RESPONSE message. If a CONFIG RESONSE message is
received, the device shall discard this message.

If a SYNC message is received while in the Active State, it is assumed that the
peer device has reset. The local device should therefore perform a full reset of
the upper stack, and start Link Establishment again at the Uninitialized State.

Upon entering the Active State, the first packet sent shall have its SEQ and
ACK numbers set to zero.


1. During link establishment, various messages are sent periodically. It is suggested to send 4
   messages per second.
2. Any packet that was erroneous would normally be acknowledged, as the recipient does not
   know if the packet was a reliable packet or not. The recipient cannot do this in the Uninitial-
   ized State, as it is possible to receive corrupt data while the Uninitialized state.


Link Establishment                                                                 06 December 2016
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8.4 SYNC MESSAGE
The SYNC message is an unreliable message sent with the Packet Type of 15
and a Payload Length of 2.

The payload is composed of the octet pattern 0x01 0x7E1.



                     LSB                 MSB

                        0x01         0x7E


Figure 8.2: Sync Message Format


8.5 SYNC RESPONSE MESSAGE
The SYNC RESPONSE message is an unreliable message sent with the
Packet Type of 15 and a Payload Length of 2. The payload is composed of the
octet pattern 0x02 0x7D.



                     LSB                 MSB

                        0x02         0x7D


Figure 8.3: Sync Response Message Format


8.6 CONFIG MESSAGE
The CONFIG message is an unreliable message sent with the Packet Type of
15 and a Payload Length of 2 plus the size of the Configuration Field. The
payload is composed of the octet pattern 0x03 0xFC and the Configuration
Field.



       LSB                                              MSB

          0x03        0xFC         Configuration Field


Figure 8.4: Configuration Message Format


1. The second octet for all Link Control Packets equals the least significant 7 bits of the first
   octet, inverted, with the most significant bit set to ensure even parity.


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8.7 CONFIG RESPONSE MESSAGE
The CONFIG RESPONSE message is an unreliable message sent with the
Packet Type of 15 and a Payload Length of 2 plus the size of the Configuration
Field. The payload is composed of the octet pattern 0x04 0x7B and the
Configuration Field.



                      LSB                                        MSB

                         0x04            0x7B   Configuration Field


Figure 8.5: Configuration Response Message Format


8.8 CONFIGURATION FIELD
The Configuration Field contains the Version Number, Sliding Window Size, the
Data Integrity Check Type, and if Out Of Frame (OOF) Software Flow Control is
allowed.

The Configuration Field in a CONFIG message sent by the Host determines
what the Host can transmit and accept. The Configuration Field in a CONFIG
RESPONSE message sent by the Controller determines what the Host and
Controller shall transmit and can expect to receive.

The Controller sends CONFIG messages without a Configuration Field. The
Host sends CONFIG RESPONSE messages without a Configuration Field.



   LSB      3 Bits                       1                1                    3     MSB
     Sliding Window                                 Data Integrity        Version
                            OOF Flow Control
           Size                                     Check Type            Number


Figure 8.6: Configuration Field Detail


To allow for future extension of the Configuration Field, the size of the message
determines the number of significant Configuration Octets in the payload.
Future versions of this specification may use extra octets. Any bits that are not
included in the message shall be set to 0. Any bits that are not defined are
reserved for future use.

A device shall not change the values if sends in the Configuration Field during
Link Establishment.


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8.8.1 Configuration Messages

The CONFIG – CONFIG RESPONSE message sequence configures the link
in both directions. Until a CONFIG RESPONSE message is received only
unreliable Link Establishment messages may be sent. Once CONFIG
RESPONSE message has been received all other packet types may be sent,
and received messages passed up to the Host.

The CONFIG and CONFIG RESPONSE messages contain a set of options for
both devices on the link. The Host sends a CONFIG message with the set of
options that the Host would like to use. The Controller responds with a
CONFIG RESPONSE message with the set of options that the Host and the
Controller will use. This means that the Controller is in full control of the set of
options that will be used for all messages sent by both the Host and Controller.

8.8.2 Sliding Window Size

This is the maximum number of reliable packets a sender of the CONFIG
message can send without requiring an acknowledgment. The value of this
field shall be in the range one to seven. The value in the CONFIG RESPONSE
message shall be less than or equal to the value in the CONFIG message. For
example, the Host may suggest a window size of five in its CONFIG message
and the Controller may respond with a value of three in its CONFIG
RESPONSE message, but not six or seven. Both devices will then use a
maximum sliding window size of three.

8.8.3 Level of Data Integrity Check

The CONFIG message contains a bit field describing the types of Data Integrity
Checks the sender is prepared to transmit. The peer will select the one it is
prepared to use and send its choice in the CONFIG RESPONSE message.

If data integrity checks are not required, then the Data Integrity Check Present
bit shall be set to 0 by the Host and Controller.

 Level of Data
 Integrity           Parameter Description for CONFIG Message

 0                   No Data Integrity Check is supported.
 1                   16 bit CCITT-CRC may be used.
Table 8.1: Data Integrity Check Type in the CONFIG Message


 Level of Data
 Integrity           Parameter Description for CONFIG RESPONSE Message

 0                   No Data Integrity Check must be used.
 1                   16 bit CCITT-CRC may be used.

Table 8.2: Data Integrity Check Type in the CONFIG RESPONSE Message

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8.8.4 Out of Frame Software Flow Control

By default, the transport uses no flow control except that mandated by the HCI
Functional Specification and the flow control achieved by not acknowledging
reliable Host messages. If Software Flow Control is to be used, this needs to
be negotiated.

The CONFIG message specifies whether the sender of the CONFIG message
is prepared to receive Out of Frame Software Flow Control messages. The
CONFIG RESPONSE message specifies whether the peer can send Out of
Frame Software Flow Control messages. The CONFIG RESPONSE message
may have the field set to 1 only if the CONFIG message had it set to 1. (See
Section 10.1)

8.8.5 Version Number

The Version Number of this protocol shall determine which facilities are
available to be used.

The CONFIG message specifies the Version Number supported by the Host.
The CONFIG RESPONSE message specifies the Version Number that shall be
used by the Host and Controller when sent by the Controller. The value in the
CONFIG RESPONSE message shall be less than or equal to the value in the
CONFIG message. The Version Numbers are enumerated in Table 8.3. This
specification is version 1.0 (Version Number = 0).



 Version
 Number              Parameter Description for CONFIG and CONFIG RESPONSE Message

 0                   Version 1.0 of this Protocol
 1-7                 Reserved for future use
Table 8.3: Version Number in the CONFIG and CONFIG RESPONSE message




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9 LOW POWER

After a device is in the Active State, either side of the transport link may wish to
enter a low power state. Because recovery from a loss of synchronization is
possible, it is allowable to stop listening for incoming packets at any time.

To make the system more responsive after a device has entered a low power
state, a system of messages is employed to allow either side to notify the other
that they are entering a low power state and to wake a device from that state.
These messages are sent as Link Control Packets. It is optional for a device to
support the Sleep message. The Wakeup and Woken messages are
mandatory.

9.1 WAKEUP MESSAGE
The Wakeup message shall be the first message sent whenever the device
believes that the other side is asleep. The device shall then repeatedly send
the Wakeup message until the Woken message is received. There must be at
least a one character gap between the sending of each Wakeup message to
allow the UART to resynchronize. The Wakeup message is an unreliable
message sent with a Packet Type of 15, and a Payload Length of 2. The
payload is composed of the octet pattern 0x05 0xFA. The Wakeup message
shall be used after a device has sent a Sleep message. It is mandatory to
respond to the Wakeup message.



                  LSB               MSB

                     0x05         0xFA


Figure 9.1: Wakeup Message Payload Format




Low Power                                                               06 December 2016
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9.2 WOKEN MESSAGE
The Woken message shall be sent whenever a Wakeup message is received
even if the receiver is currently not asleep. Upon receiving a Woken message,
a device can determine that the other device is not in a low power state and
can send and receive data. The Woken message is an unreliable message
sent with a Packet Type of 15, and a Payload Length of 2. The payload is
composed of the octet pattern 0x06 0xF9.



                  LSB               MSB

                     0x06         0xF9


Figure 9.2: Woken Message Payload Format


9.3 SLEEP MESSAGE
A Sleep message can be sent at any time after Link Establishment has
finished. It notifies the other side that this device is going into a low power
state, and that it may also go to sleep. If a device sends a Sleep message it
shall use the Wakeup / Woken message sequence before sending any data. If
a device receives a Sleep message, then it should use the Wakeup / Woken
message sequence before sending any data. The Sleep message is an
unreliable message sent with a Packet Type of 15, and a Payload Length of 2.
The payload is composed of the octet pattern 0x07 0x78.

The sending of this message is optional. The receiver of this message need
not go to sleep, but cooperating devices may be able to schedule sleeping
more effectively with this message.



                   LSB              MSB

                      0x07        0x78


Figure 9.3: Sleep Message Payload Format




Low Power                                                           06 December 2016
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10 OUT OF FRAME CONTROL

It is possible to embed information in the SLIP data stream after a SLIP
ESCAPE character that can allow for Software Flow Control. This feature is
optional and must be negotiated in the Link Establishment configuration
messages.

10.1 SOFTWARE FLOW CONTROL
If Software Flow Control is enabled, then the standard XON / XOFF (0x11 and
0x13) characters will control the flow of data over the transport. To allow the
XON / XOFF characters to be sent in the payload, they shall be escaped as
follows: 0x11 shall be changed to 0xDB 0xDE, 0x13 shall be changed to 0xDB
DF. This means that the XON / XOFF characters in the data stream are used
only by software flow control.

If Software Flow Control is disabled, then the SLIP escape sequences 0xDB
0xDE and 0xDB 0xDF are undefined. In this case, the original octets of 0x11
and 0x13 shall not be changed. Flow control should always be provided by the
tunneled protocols, e.g. HCI Flow Control. Flow control is still available using
the standard Sequence Number / Acknowledge Number. This can be done by
not acknowledging packets until traffic can resume.




Out of Frame Control                                                 06 December 2016
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11 HARDWARE CONFIGURATION

The HCI Three-Wire UART Transport uses the following configurations.

11.1 WIRES
There are three wires used by the HCI Three-Wire UART Transport. These are
Transmit, Receive, and Ground.

11.1.1 Transmit & Receive

The transmit line from one device shall be connected to the receive line of the
other device.

11.1.2 Ground

A common ground reference shall be used.

11.2 HARDWARE FLOW
Hardware flow control may be used. The signaling shall be the same as a
standard RS232 flow control lines. If used, the signals shall be connected in a
null-modem fashion; for example, the local RTS shall be connected to the
remote CTS and vice versa.

11.2.1 RTS & CTS

Request to Send indicates to the remote side that the local device is able to
accept more data.

Clear to Send indicates if the remote side is able to receive data.

(See ITU.T recommendations V.24 [2] and V.28 [3])




Hardware Configuration                                                06 December 2016
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12 RECOMMENDED PARAMETERS

12.1 TIMING PARAMETERS
Because this transport protocol can be used with a wide variety of baud rates, it
is not possible to specify a single timing value. However, it is possible to specify
the time based on the baud rate in use. If Tmax is defined as the maximum time
in seconds it will take to transmit the largest packet over this transport, Tmax
can be expressed as:

Tmax = maximum size of a packet in bits / baud rate

The maximum size of a packet in bits is either the number of bits in a 4095
octet packet (32,760) or less if required in an embedded system or as
determined by the Host or Controller1. Thus, at a baud rate of 921,600 and the
maximum packet size of 4095 octets, Tmax is: (4095*10) / 921,600 = 44.434ms.

12.1.1 Acknowledgment of Packets

It is not necessary to acknowledge every packet with a pure acknowledgment
packet if there is a data packet that will be sent soon. The recommended
maximum time before starting to send an acknowledgment is 2 * Tmax.

12.1.2 Resending Reliable Packets

A reliable packet must be resent until it is acknowledged. The recommended
time between starting to send the same packet is 3 * Tmax.




1. This can be determined using the HCI_Read_Buffer_Size command.


Recommended Parameters                                                    06 December 2016
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Three-wire UART Transport Layer


13 REFERENCES

[1]   [IETF RFC 1055: Nonstandard for transmission of IP datagrams over
      serial lines: SLIP – http://www.ietf.org/rfc/rfc1055.txt
[2]   ITU Recommendation V.24: List of definitions for interchange circuits
      between data terminal equipment (DTE) and data circuit-terminating
      equipment (DCE) – http://www.itu.int/rec/recommendation.asp
[3]   ITU Recommendation V.28: Electrical characteristics for unbalanced
      double-current interchange circuits – http://www.itu.int/rec/
      recommendation.asp




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          Core System
          Package
          [AMP Controller volume]



          Specification of the Bluetooth® System

          Specification Volume 5




          Covered Core Package Version: 5.0
          Publication Date: Dec 06 2016
          Bluetooth SIG Proprietary
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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
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     Core System Package [AMP Controller volume]
                                          Part A




        PART A: 802.11 PROTOCOL
   ADAPTATION LAYER FUNCTIONAL
                  SPECIFICATION




                          This document specifies the Protocol
                          Adaptation Layer for the IEEE 802.11
                          conformant Alternate MAC/PHY.




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1 INTRODUCTION

This Part of the Bluetooth Core Specification describes the operation of the
Protocol Adaptation Layer (PAL) for a Controller incorporating an 802.11 device
compliant with the 2007 edition of the IEEE 802.11 Standard (see [1]) including
support for High Throughput (HT) MAC and PHY extensions. In this Part,
specific references in [1] will be given by clause number.

The 802.11 PAL defines the protocol state machines, data encapsulation
methods, event triggers, and data structures in support of the use of an 802.11
AMP.

1.1 ORGANIZATION OF THE 802.11 PAL
To aid understanding of functional descriptions, Figure 1.1 shows the
organization of the 802.11 PAL. This structure is informative.


  AMP HCI Interface

          PAL


                                     Physical             Logical
                                                                        Data
               PAL Manager            Link                 Link
                                                                       Manager
                                     Manager              Manager




       MLME SAP
                                 Control                               Data
        interface
                                                   802.11 MAC


Figure 1.1: Internal structure of the 802.11 PAL


The upper edge of the 802.11 PAL provides a single instance of the logical HCI
with AMP functionality. The behavior of the PAL is defined at this interface in
terms of logical HCI operations. Implementations may optionally use a physical
HCI transport.

For clarity of description, the lower edge of the PAL uses services including
those defined in [1] clause 10.3.


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The PAL Manager implements operations that are global to the PAL. This
includes responding to Host requests for AMP info and PAL version as well as
performing PAL reset.

The Physical Link Manager implements operations on physical links. Physical
link semantics are defined in Section 3. Supported operations include physical
link creation and acceptance, and deletion of physical links. Supported
operations at the MAC interface include PHY channel selection and security
establishment and maintenance.

The Logical Link Manager implements operations on logical links. Logical link
semantics are defined in Section 4. Each logical link exists with respect to a
single physical link. Supported operations include creation and deletion of
logical links and changes to QoS parameters for those logical links. At the MAC
interface this includes the mapping of extended flow specifications to user
priorities.

The Data Manager performs operations on data packets and is described in
Section 5. Each data packet is associated with exactly one extended flow
specification and therefore exactly one logical link. Supported operations
include transmit, receive and buffer management operations such as flush
events. At the MAC interface this includes interactions with the MAC transmit
and receive operations and determination of the next packet to send on any
particular link.




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2 AMP HOST CONTROLLER INTERFACE

A number of elements used in HCI commands and events are defined to be
AMP-type specific. This section describes the values to be used for the 802.11
PAL.

Octet ordering conventions for parameters and fields in this section shall be as
defined in HCI, [Vol 2] Part E, Section 5.2.

2.1 READ LOCAL VERSION INFORMATION COMMAND
Two return parameter values from this HCI command are defined to be AMP-
type specific. For the 802.11 PAL they shall be as follows.

PAL _Version                                                                   Size: 1 Octet
 Value                 Parameter Description

 0xXX                  Version of the current PAL in the Controller.
                       See Bluetooth Assigned Numbers.

PAL_Sub-version:                                                             Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                In an 802.11 PAL this value is vendor specific.


2.2 READ LOCAL AMP INFO COMMAND
See [Vol 2] Part E, Section 7.5.7.

There are six return parameters for the Read Local AMP Info command which
are 802.11 AMP specific.




AMP Host Controller Interface                                                  06 December 2016
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Total_Bandwidth:                                                                   Size: 4 Octets
 Value                 Parameter Description

 0xXXXXXXXX            An upper bound on the total data rate that can be achieved by the AMP for
                       applications. It accounts for the total bandwidth provided by the HCI trans-
                       port. No sustained combination of transmit and receive operations shall
                       exceed this value. This may be used to help in AMP selection and admis-
                       sion control. Expressed in kb/s.
                       For testing purposes, the achievable throughput deliverable to applica-
                       tions by an ERP or OFDM PHY shall be assumed to be no more than
                       30000 kb/s and for the HT PHY shall be assumed to be no more than
                       50000 kb/s.

Max_Guaranteed_Bandwidth:                                                          Size: 4 Octets
 Value                 Parameter Description

 0xXXXXXXXX            An upper bound on the maximum data rate as seen by the application that
                       the AMP can guarantee for a logical channel. Any request made by an
                       application above this level would be rejected. It accounts for any band-
                       width limitations of the HCI transport. No sustained combination of trans-
                       mit and receive operations shall exceed this value. This can be used to
                       help in AMP selection and admission control. Expressed in kb/s.
                       The Max_Guaranteed_Bandwidth parameter value returned shall be no
                       greater than the Total_Bandwidth parameter. This value is not a guarantee
                       of bandwidth and should be interpreted as an upper bound on the sum of
                       the bandwidths of all active flow specs.

Min_Latency:                                                                       Size: 4 Octets
 Value                 Parameter Description

 0xXXXXXXXX            The Min_Latency parameter value is the practical lower bound on the ser-
                       vice latency that can be provided by the 802.11 AMP. The lower bound of
                       the service latency is the time from when a frame is issued to the AMP
                       HCI until the MAC starts transmitting the frame with no contention window
                       back off. This shall be equal to the AMP HCI minimum latency + DIFS +
                       CWmin where the DIFS and CWmin are as given in [1] clause 9.2.10.

Max_PDU_Size:                                                                      Size: 4 Octets
 Value                 Parameter Description

                       An upper bound on the size of L2CAP PDU which may be provided for
                       transmission or reception on this AMP. The Host shall not require the AMP
                       to transport L2CAP PDUs larger than this value. Expressed in octets. The
                       Maximum PDU Size parameter described in [[Vol 3] Part A, Section 5.4]
                       for any connection over this AMP should not exceed this value.
                       The Max_PDU_Size parameter returned shall be Max80211PALPDUSize.




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Controller_Type:                                                                       Size: 1 Octet
 Value                 Parameter Description

 0x01                  802.11 AMP

PAL_Capabilities:                                                                    Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                Bit 0: "Service Type = Guaranteed" is not supported by PAL = 0
                       "Service Type = Guaranteed" is supported by PAL = 1
                       Bits 15-1: Reserved
                       (See L2CAP, [Vol 3] Part A, Section 5.6)

Bit 0 of the PAL_Capabilities parameter shall be set to 1 if the local 802.11
AMP device is capable of using the Enhanced Distributed Channel Access
(EDCA) mechanisms (see [1] clause 9.9.1), otherwise it shall be set to 0.

AMP_ASSOC_Length:                                                                    Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                AMP_ASSOC maximum length for this AMP Controller.

The 802.11 PAL shall set this to Max80211AMPASSOCLen.

Max_Flush_Timeout:                                                                   Size: 4 Octets
 Value                 Parameter Description

 0xXXXXXXXX            Maximum time period, in microseconds, which the AMP device may use to
                       attempt to transmit a frame on a guaranteed logical link. This value is the
                       sum of the durations of all 802.11 transmission attempts for a given frame.
                       It should be chosen with the expectation that the 802.11 MAC may be
                       denied access to the medium for a given transmission attempt. This may
                       be due to interference from collocated radios, or otherwise.
                       If the Controller is configured to retry frames for an unbounded time (there
                       is no flushing at all), then the PAL shall set this value to 0xFFFFFFFF.

Best_Effort_Flush_Timeout:                                                           Size: 4 Octets
 Value                 Parameter Description

 0xXXXXXXXX            The typical time period, in microseconds, which the AMP device may use
                       to attempt to transmit a frame on a best effort logical link. This value is the
                       sum of the duration of all 802.11 transmission attempts for a given frame.
                       It should be chosen with the expectation that the 802.11 MAC is usually
                       able to access the medium for each attempt. The value shall not exceed
                       the value given in Max_Flush_Timeout.
                       If the Controller is configured to retry frames for an unbounded time (i.e.
                       there is no flushing at all), then the PAL shall set this value to
                       0xFFFFFFFF.



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2.3 RESET COMMAND
See [Vol 2] Part E, Section 7.3.2.

In addition to setting the HCI parameters to their default values, when the
802.11 PAL receives an AMP HCI_Reset command it shall delete all existing
AMP physical links. Note: Non AMP links should not be deleted.

2.4 READ FAILED CONTACT COUNTER COMMAND
When the 802.11 PAL receives an HCI Read_Failed_Contact_Counter
command it shall return the number of consecutive incidents in which the
remote device didn't respond after the flush timeout had expired, and the
L2CAP packet that was currently being transmitted was automatically flushed.
The Failed Contact Counter is specific to each logical link.

2.5 READ LINK QUALITY COMMAND
See [Vol 2] Part E, Section 7.5.3.

The meaning of the Link_Quality parameter in the Read Link Quality command
is as shown below.

Link_Quality:                                                                           Size: 1 Octet
 Value                 Parameter Description

 0xXX                  In an 802.11 AMP this unsigned 8-bit value shall be the Link Quality Indi-
                       cator value. It shall be 0 if the Link Quality Indicator value is not available.
                       Range: 0x00 ≤ N ≤ 0xFF


2.6 READ RSSI COMMAND
See [Vol 2] Part E, Section 7.5.4.

The meaning of the RSSI parameter in the Read RSSI command is as shown
below.

RSSI:                                                                                   Size: 1 Octet
 Value                 Parameter Description

  0xXX                 This value is a signed 8-bit value, and is interpreted as an indication of
                       arriving signal strength at the antenna measured in dBm.
                       The value shall be 0x81 (-127 dBm) if the signal strength indication is not
                       available.




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2.7 SHORT RANGE MODE COMMAND
When the Host determines that the AMP peers may have insufficient
separation to obtain full AMP throughput, it may enable Short Range Mode in
the PAL. The Short Range Mode command may be used by the Host to
indicate to the PAL whether or not to operate in Short Range Mode.

When in Short Range Mode, the PAL shall limit to ShortRangeModePowerMax
the transmit power in dBm (measured at the antenna) for all 802.11 AMP ERP-
OFDM frames transmitted by the device on the given physical link, as
necessary to prevent exceeding the maximum input signal level of the peer. If
the Host does not enable Short Range Mode or if the Host sets Short Range
Mode to disabled, the PAL shall assume it may set the maximum transmit
power for the link as it deems appropriate, respecting regulatory limits. If the
AMP device is not able to limit its transmit power due to other existing
connections then it may use a transmit power greater than
ShortRangeModePowerMax in order to preserve those connections.

The meaning of the Short Range Mode parameter of the
HCI_Short_Range_Mode command is as follows:

Short Range Mode:                                                                 Size: 1 Octet
 Value                 Parameter Description

  0xXX                 0x00–Short range mode shall be disabled in the PAL (default)
                       0x01–Short range mode shall be enabled in the PAL.
                       0x02...0xFF - Reserved for future use

When the AMP Controller receives the Short_Range_Mode command, it shall
indicate a Command Status event. Later, after the MAC programming is
completed, the Controller shall generate a
Short_Range_Mode_Change_Completed event. See Section 2.13.

2.8 WRITE BEST EFFORT FLUSH TIMEOUT COMMAND
Best_Effort_Flush_Timeout:                                                       Size: 4 Octets
 Value                 Parameter Description

  0xXXXXXXXX           0x00000000–0xFFFFFFFE: Best Effort Flush Timeout value in microsec-
                       onds.
                       0xFFFFFFFF: No Best Effort Flush Timeout used (default)




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2.9 READ BEST EFFORT FLUSH TIMEOUT COMMAND
Best_Effort_Flush_Timeout:                                                       Size: 4 Octets
 Value                 Parameter Description

  0xXXXXXXXX           0x00000000–0xFFFFFFFE: Best Effort Flush Timeout value in microsec-
                       onds.
                       0xFFFFFFFF: No Best Effort Flush Timeout used (default)


2.10 PHYSICAL LINK LOSS EARLY WARNING EVENT
Implementation of this event is not required for 802.11 AMPs.

2.11 PHYSICAL LINK RECOVERY EVENT
Implementation of this event is not required for 802.11 AMPs.

2.12 CHANNEL SELECTED EVENT
See [Vol 2] Part E, Section 7.7.52.

When an HCI Channel Selected event is indicated by the PAL with successful
status, it signifies the local 802.11 MAC has been configured to start operating
on the selected channel.

Subsequent to the HCI Channel Selected event, the initiating AMP device shall
create an AMP_ASSOC containing its MAC address TLV, and with only the
selected channel in its PCL and/or PCLv2 TLV (see sections 2.14.4 and
2.14.7). Other TLVs may optionally be included. The Host may obtain this
AMP_ASSOC by issuing one or more HCI_Read_Local_AMP_ASSOC
commands.

2.13 SHORT RANGE MODE CHANGE COMPLETE EVENT
See [Vol 2] Part E, Section 7.7.60.

After the PAL is notified of a change of state in Short Range Mode, it shall
program the 802.11 device accordingly, unless the exceptions in Section 2.7
are in effect. When it has finished making such changes to the MAC
configuration, or if the PAL has changed the state of the Short Range Mode
autonomously, the PAL shall indicate this to the Host by indicating the Short
Range Mode Change Complete event. The Short_Range_State parameter
identifies the new configuration to the Host.




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2.14 DATA STRUCTURES

2.14.1 AMP_ASSOC Structure

The AMP_ASSOC is an AMP type specific structure and appears in various
HCI commands and events. The AMP_ASSOC structure used by the 802.11
PAL shall be composed of Type-Length-Value (TLV) triplets.

The general format of such a TLV, shown in Table 2.1, shall be a one-octet
TypeID field, a two-octet Length field, and a variable length Value field. The
length of the Value field in octets shall be exactly equal to the unsigned number
represented by the Length field. A TLV with zero in its Length field shall contain
no Value field. If an implementation does not have support for a triplet in a
received AMP_ASSOC, it shall ignore the triplet and continue processing any
remaining triplets.

The Length field is 2 octets in length and shall be ordered in the AMP_ASSOC
according to [Vol 2] Part B, Section 6.2. The Value field shall be interpreted as
a stream of octets.

The TypeID of 0xFF shall be reserved for use in debugging.

 TypeID                         Length                       Value

 1 octet                        2 octets                     Variable number of octets

Table 2.1: TLV format

The set of defined TypeIDs is given in Table 2.2.

 TypeID codepoint          Description                    AMP_ASSOC inclusion

 0x00                      Reserved for future use        not applicable
 0x01                      MAC Address                    Mandatory
 0x02                      Preferred Channel List         Mandatory for Responder; Manda-
                                                          tory for Initiator if last HCI Write
                                                          Remote AMP Assoc command did
                                                          not include a PCLv2 (typeID 0x06),
                                                          else Optional

 0x03                      Connected Channel List         Optional
 0x04                      802.11 PAL Capabilities List   Optional
 0x05                      802.11 PAL version             Mandatory

 0x06                      Preferred Channel List v2      Optional if PCL (typeID 0x02) is
                                                          included in AMP_Assoc. else Man-
                                                          datory
 0x07 - 0xFE               Reserved for future use        not applicable
Table 2.2: Requirements on contents of AMP_Assoc messages


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 TypeID codepoint          Description                       AMP_ASSOC inclusion

 0xFF                      Reserved for use in debugging     not applicable
Table 2.2: Requirements on contents of AMP_Assoc messages

2.14.2 MAC Address

The PAL shall use the following TLV to report the IEEE MAC address of its
local 802.11 MAC. The bit ordering of the address is given in [1] clause 7.1.1.

MAC_Address_TypeID:                                                                 Size: 1 Octet
 Value                          Parameter Description

 0x01                           MAC Address TypeID

MAC_Address_Length:                                                               Size: 2 Octets
 Value                          Parameter Description

 0x0006                         MAC Address Length

MAC_Address_Specifier:                                                            Size: 6 Octets
 Value                          Parameter Description

 0xXXXXXXXXXXXX                 MAC Address specifier


2.14.3 802.11 PAL Capabilities

The 802.11 PAL Capabilities is a bit field of supported capabilities of the
sending device.

802.11_PAL_Capabilities_TypeID:                                                     Size: 1 Octet
 Value                 Parameter Description

 0x04                  802.11 PAL Capabilities TypeID

802.11_PAL_Capabilities_Length:                                                   Size: 2 Octets
 Value                 Parameter Description

 0x0004                802.11 PAL Capabilities Length

802.11_PAL_Capabilities_Specifier:                                                Size: 4 Octets
 Bit format            Parameter Description

 Bit 0                 When set, signifies PAL capable of utilizing received Activity Reports

 Bit 1                 When set, signifies PAL is capable of utilizing scheduling information
                       received in an Activity Report



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 Bit format            Parameter Description

 Bit 2                 When set, signifies 802.11 MAC and PHY is compliant with HT operation
                       as specified in [1].
 Bits 3..31            Reserved for future use

The 802.11 PAL Capabilities TLV is optional to include in the AMP_ASSOC. If
an 802.11 PAL Capabilities TLV does not appear in an AMP_ASSOC, then the
receiver shall interpret this as receiving an 802.11 PAL Capabilities TLV with a
Value field containing the default value of all zeros.

2.14.4 Preferred Channel List

The Preferred Channel List (PCL) is a set of channels supported and usable by
the sending device. The receiver of the PCL shall interpret the contents of the
list with the assumption that the list is arranged in order of most preferred
channel to least preferred channel. The format of the list is identical to the
802.11 Country information element, excluding the 802.11 information, element
identifier, length, and pad fields. See [1] clause 7.3.2.9.

Preferred_Channel_List_TypeID:                                                       Size: 1 Octet
 Value                 Parameter Description

 0x02                  Preferred Channel List TypeID

Preferred_Channel_List_Length:                                                     Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                Length of Preferred Channel List

Preferred_Channel_List_Specifier:                                                  Size: Variable
 Value                 Parameter Description

 0xXX..XX              List of preferred 802.11 channels. See Section 3.2.3 for details.

The channels are described by table entries in [1], Annex J, tables J-1, J-2, and
J-3. For backward compatibility, the Preferred Channel List Specifier shall use
table indices in the inclusive range [1-12] to describe US channels, [1-4] to
describe EU country channels, and [1-32] to describe Japan channels.




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2.14.5 Connected Channel List

The Connected Channel List (CCL) specifies the channels which may currently
be in use by the sending device. If multiple channels are listed, the ordering
gives no implied preference. The format of the list is the same as the PCL, see
section 2.14.4.

The Connected Channel TLV is optional to include in the AMP_ASSOC. If it is
not included, then the receiver shall assume there are no channels which are
currently in use by the sending device.

Connected_Channel_List_TypeID:                                                     Size: 1 Octet
 Value                 Parameter Description

 0x03                  Connected Channel List TypeID

Connected_Channel_List_Length:                                                   Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                Length of Connected Channel List

Connected_Channel_List_Specifier:                                                Size: Variable
 Value                 Parameter Description

 0xXXXXXXXX            List of 802.11 channels currently in use by the sending device. See Sec-
                       tion 3.2.3 for details.

For backward compatibility, the Connected Channel List Specifier shall use
table indices in the inclusive range [1-12] to describe US channels, [1-4] to
describe EU country channels, and [1-32] to describe Japan channels.




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2.14.6 802.11 PAL Version

An AMP endpoint may need to discover the version of the remote PAL. The
information in the 802.11 PAL Version TLV shall be composed of the
PAL_Version from the HCI_Read_Local_Version_Information command, the
Bluetooth SIG Company Identifier (see Assigned Numbers, [4]) for the provider
of the PAL, and the PAL_Sub-version from the
HCI_Read_Local_Version_Information command. The Company Identifier and
PAL Sub-version parameters shall use the octet ordering as given in [Vol 2]
Part B, Section 6.2.

802.11_PAL_Version_TypeID:                                                 Size: 1 Octet
 Value                 Parameter Description

 0x05                  802.11 PAL Version TypeID

802.11_PAL_Version_Length:                                               Size: 2 Octets
 Value                 Parameter Description

 0x0005                Length of 802.11 PAL Version specifier

802.11_PAL_Version_Specifier:                                              Size: 1 Octet
 Value                 Parameter Description

 0xXX                  PAL Version

802.11_PAL_Company_Identifier:                                           Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                SIG Company identifier of 802.11 PAL vendor

802.11_PAL_Sub_Version:                                                  Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                PAL Sub-version specifier




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2.14.7 Preferred Channel List v2

The Preferred Channel List v2 (PCLv2) TLV specifies the channels supported
and usable by the sending device. The format of the list is identical to the
802.11 Country information element syntax, excluding the 802.11 infor-mation
element identifier, length, country string and pad fields. See [1] clause 7.3.2.9.
The receiver of a PCLv2 TLV shall interpret the contents of the list with the
assumption that the list is arranged in order of most preferred channel to least
preferred channel.

The PCLv2 may include channels with 20 MHz width, 40 MHz width, or both.
Channels are expressed as triplets of two types: the operating type contains a
table index from Table 3.8 below, and the sub-band type contains a channel
range. The PCLv2 shall contain at least one operating triplet. Country strings
are not used in the PCLv2, so the operating triplet appears directly following
the TLV length field. Sub-band triplets may be used to refine the list of chan-
nels expressed by the preceding operating triplet.

If a PCLv2 TLV is not included in the AMP Get AMP Assoc Request message
from a responder, then the initiating PAL shall not assume that the responder
has the ability to interpret PCLv2 TLVs. In this case the initiator shall include a
PCL in the AMP_Assoc in the AMP Create Physical Link Request, and the
PCLv2 TLV is optional. If an implementation supports PCLv2 TLVs and if it
receives a PCLv2 from its peer, then it shall ignore any PCL it receives.

Preferred_Channel_Listv2_TypeID:                                                   Size: 1 Octet
 Value                 Parameter Description

 0x06                  Preferred Channel List v2 TypeID

Preferred_Channel_Listv2_Length:                                                 Size: 2 Octets
 Value                 Parameter Description

 0xXXXX                Length of Preferred Channel Listv2.

Preferred_Channel_Listv2_Specifier:                                              Size: Variable
 Value                 Parameter Description

 0xXXXXXXXX            List of preferred channels, including 40 MHz channels if supported. See
                       Section 3.2.3 for details.




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2.15 CONNECTION ACCEPT TIMEOUT CONFIGURATION
     PARAMETER
See [Vol 2] Part E, Section 6.7.

The default value of the Connection Accept Timeout used by the 802.11 PAL
shall be 5 seconds.

2.16 ENABLE DEVICE UNDER TEST MODE
If the device under test supports 40 MHz channels, the
HCI_Enable_Device_Under_Test_Mode command (see [Vol 2] Part E, Section
7.6.3) change the state of the PAL so that it will always utilize 40 MHz channel
widths for connections if 40 MHz operation is supported by the AMP peer.

When an HCI_Read_Local_AMP_Assoc is issued following this command, the
AMP ASSOC which is returned shall include at least one channel which is 40
MHz in width in the PCLv2 (see above). When an
HCI_Write_Remote_AMP_ASSOC is issued following this command, and if the
AMP ASSOC included in that Write_Remote_AMP_ASSOC command
contains 40 MHz channels, then the selected channel shall be a 40 MHz
channel.

When the Host issues the HCI_Enable_Device_Under_Test_Mode command,
the PAL shall advertise or choose 40 MHz channels, depending on its role.
When serving as the Initiator, the PAL shall choose one of the 40 MHz
channels offered by the Responder. When serving as the Responder, the PAL
shall offer at least one 40 MHz channel in its PCLv2.

The described effect of the HCI_Enable_Device_Under_Test_Mode is
removed when the Host issues an HCI_Reset command.




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3 PHYSICAL LINK MANAGER

A physical link joins an initiating device and a responding device. The initiating
device is the device on which the HCI_Create_Physical_Link command was
issued. The responding device is the one on which the
HCI_Accept_Physical_Link command was issued. Physical link creation
collisions are resolved at a higher level, by the AMP Manager.

Support for the 802.11 ERP (see clause 19 of [1]) shall be mandatory for
802.11 AMP devices, but other PHY types may be supported. Channels 1
(2412 MHz) through 11 (2462 MHz) shall be supported for interoperability.

A physical link represents a transport between a single local 802.11 AMP
device and a single remote device with a matching 802.11 AMP. The AMP may
support multiple physical links (representing different remote devices) at one
time. There is a unique binding between the 802.11 MAC addresses of the
devices and the physical link.

For a physical link to exist in the CONNECTED state the two devices must
have established a PTKSA as described in [1] clause 8.4.1.

3.1 PHYSICAL LINK STATE MACHINE

3.1.1 General rules

The behavior of the PAL with respect to physical links is described in terms of a
finite state machine. The state machine describes the behavior of the PAL for
an individual physical link; extension to multiple physical links is outside the
scope of this document. The sequence of external stimulus and behavior at the
logical HCI shall be as though this state machine is present in the
implementation. Similarly, the sequence of stimulus and behavior at the 802.11
radio interface shall be as though this state machine is present in the
implementation.

3.1.2 State Diagram

The possible state events and transitions are summarized in this diagram. The
diagram itself is Informative.




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           MAC connection
           cancel indication
                                                      DISCONNECTED

                                              Create/Accept
                                             Phys Link, MAC
                                               not started                       Create/Accept
                                                                                Phys Link, MAC
                          Scan failed, no                                         on channel
                         suitable channel,
                         Disconnect Phys            STARTING
                           Link request

                                                                Start
                                    Connect failed,           completed
                                   Disconnect Phys
                                     Link request

     DISCONNECTING                                       CONNECTING


                                                                  Connect
                               4-way Handshake                   completed
                               failed, Disconnect
                               Phys Link request

                                                      AUTHENTICATING

                                                                    4-way
                                                                    Handshake
                                                                    succeeded

         MAC Media
        Disconnection
    indication, Disconnect                               CONNECTED
      Phys Link request

Figure 3.1: Physical Link finite state machine diagram


3.1.3 States
The following states have been defined to clarify the protocol. The states apply
to an individual physical link. At power-up or reset, no physical links exist and
the state is the DISCONNECTED state.
DISCONNECTED—The physical link is not active, and this is the initial state.
STARTING—Channel has been selected, the MAC is initializing.
CONNECTING—The initiating device waits for messages from the peer
device; the responding device commences network connection operations.
AUTHENTICATING—The devices perform the security association process.
CONNECTED—A secure physical link has been established with the remote device.
DISCONNECTING—The PAL waits for the MAC to complete disconnection
and return to the initial state.

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3.1.4 Events

The following events may cause transitions in the state diagram.

Create/Accept Physical Link—HCI commands from the local Host which
affect the state of a physical link.

Connection Accept Timeout—The timeout for this physical link create/accept
has expired.

MAC Start Completed—The MAC has started operation on the given channel.
This includes beaconing and listening for connections.

MAC Start Failed—The MAC has failed to start on the specified channel for
any reason.

MAC Connect Completed—The MAC has completed the process of
connecting to a peer in a specified channel.

MAC Connect Failed—The MAC fails to connect on the selected channel for
any reason

MAC Media Disconnection Indication—MAC has signaled an existing
connection is lost to a remote device.

MAC Connection Cancel Indication—MAC has completed the request to
cancel a prior connection.

HCI Disconnect Physical Link Request—The Host has given a disconnect
request to the PAL.

4-way Handshake Fails—The establishment of a secure link for this physical
link has failed.

4-way Handshake Succeeds—The establishment of a secure link for this
physical link has completed successfully.

3.1.5 Conditions

The following conditions are potential qualifiers for actions and state transitions
to occur.

MAC not yet started in selected channel—The MAC is not beaconing in any
PHY channel, or is beaconing in a different channel than the one specified.

MAC already in selected channel—The MAC is already beaconing in the
selected PHY channel.

No suitable channel—No suitable channel can be selected, or the selected
channel cannot be joined for any reason.


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Device is initiator—Role of device is physical link initiator due to reception of
Physical Link Create command.

Device is responder—Role of device is physical link responder due to
reception of Physical Link Accept command.

3.1.6 Actions

In some cases, a state transition causes one or more of the following actions to
occur. The actions for a state transition shall occur in their entirety before any
subsequent state transition occurs, as follows.

Determine selected channel—Using information from the AMP_ASSOC of
the remote device and preferences from the local device, select a channel

Set or clear Connection Accept Timeout —Start or stop the timer for the
current physical link.

Set or clear NeedPhysLinkCompleteEvent, DiscRequested —Set or clear
state variables which control subsequent behavior.

Set or PhysLinkCompleteStatus—Sets command status to be indicated to
Host.

Signal MAC to start on channel—Command the MAC to start the process of
connection on the specified channel.

Issue MAC connection command—Command the MAC to attempt to
connect to the remote device.

Initiate 4-way handshake—Command the authenticator to send the first
security message.

Send HCI event—send the indicated HCI event to the local Host.

Cancel MAC connect operation—This physical link no longer needs to be
present on this channel. The PAL signals the MAC to delete the connection.

Signal MAC to disconnect peer—Command MAC to send disconnection
frame to peer.




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3.1.7 DISCONNECTED State

This is the initial state. No timers shall be active.

 Event                  Condition         Action                                      Next State

 HCI_Create_-           MAC not yet in    Determine selected channel                  STARTING
 Physical_Link          selected chan-    Request MAC to start on channel
 command                nel
                                          Set Connection Accept timeout
                                          Set NeedPhysLinkCompleteEvent
                                          Set PhysLinkCompleteStatus to 0x00
                                          (no error)

 HCI_Create_-           MAC already       Determine selected channel                  CONNECT-
 Physical_Link          in selected       Send HCI Channel Select event               ING
 command                channel
                                          Set Connection Accept Timeout
                                          Set NeedPhysLinkCompleteEvent
                                          Set PhysLinkCompleteStatus to 0x00
                                          (no error)

 HCI_Create_-           No suitable       Determine selected channel                  DISCON-
 Physical_Link          channel           Send HCI Physical Link Complete             NECTED
 command                                  event with Status set to No Suitable
                                          Channel Found (0x39)
 HCI_Accept_-           MAC not yet in    Signal MAC to start on channel              STARTING
 Physical_Link          channel           Set Connection Accept Timeout
 command
                                          Set NeedPhysLinkCompleteEvent
                                          Set PhysLinkCompleteStatus to 0x00
                                          (no error)

 HCI_Accept_-           MAC already       Set Connection Accept Timeout               CONNECT-
 Physical_Link          in that channel   Issue MAC connection command                ING
 command
                                          Set NeedPhysLinkCompleteEvent
                                          Set PhysLinkCompleteStatus to 0x00
                                          (no error)

 HCI_Accept_-           No suitable       Send HCI Physical Link Complete             DISCON-
 Physical_Link          channel           event with Status set to No Suitable        NECTED
 command                                  Channel Found (0x39)
Table 3.1: DISCONNECTED State event table




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3.1.8 STARTING State

This state is used to begin MAC operation, if required.

 Event                  Condition         Action                          Next State

 Connection Accept                        SetPhysLinkCompleteStatus       DISCONNECTED
 Timeout                                  to Connection Accept Time-
                                          out (0x10)
 HCI_                                     Indicate HCI Disconnection      DISCONNECTED
 Disconnect_                              Physical Link Complete event
 Physical_Link                            with Status set to Success
 command                                  (0x00) and Reason set to
                                          Connection Terminated By
                                          Local Host (0x16)
                                          Clear Connection Accept
                                          Timeout
                                          Cancel MAC connect opera-
                                          tion
                                          Set PhysLinkCompleteSta-
                                          tus to Unknown connection
                                          identifier (0x02)

 MAC Start Com-         Device is link    Issue HCI Channel Select        CONNECTING
 pleted                 originator        event
 MAC Start Com-         Device is link    Issue MAC connection com-       CONNECTING
 pleted                 responder         mand

 MAC Start Failed                         Clear Connection Accept         DISCONNECTED
                                          Timeout
                                          Set PhysLinkCompleteSta-
                                          tus to MACConnection
                                          Failed(0x3F)

Table 3.2: STARTING State event table




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3.1.9 CONNECTING State

This state is used to cause the devices to start communication with each other,
over the 802.11 media.

 Event                  Condition           Action                          Next State

 Connection                                 Cancel MAC connect operation    DISCONNECTING
 Accept Time-                               Set PhysLinkCompleteStatus
 out                                        to 0x10 (Connection Accept
                                            timeout)
 MAC Connect            Device is                                           AUTHENTICATING
 Completed              responder

 MAC Connect            Device is initia-   Initiate four way handshake     AUTHENTICATING
 Completed              tor
 HCI_                                       Indicate HCI Disconnection      DISCONNECTING
 Disconnect_                                Physical Link Complete event
 Physical Link                              with Status set to Success
 command                                    (0x00) and Reason set to Con-
                                            nection Terminated By Local
                                            Host (0x16)
                                            Set PhysLinkCompleteStatus
                                            to Unknown connection identi-
                                            fier (0x02)
                                            Clear Connection Accept Tim-
                                            eout
                                            Cancel MAC connect operation

 MAC Connect                                Cancel MAC connect operation    DISCONNECTING
 Failed                                     Set PhysLinkCompleteStatus
                                            to MAC Connection Failed
                                            (0x3F)

Table 3.3: CONNECTING State event table




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3.1.10 AUTHENTICATING State

The AUTHENTICATING state is entered when the two devices have
established an unsecured connection.

While in the AUTHENTICATING state the two devices shall perform the 802.11
RSN 4-way handshake as described in Section 3.5, establish a PTKSA, and
insert key material into the MAC.

 Event                  Condition      Action                           Next State

 Connection                            Set PhysicalLinkCompleteSta-     DISCONNECTING
 Accept                                tus to 0x10 (MAC Connection
 Timeout                               Failed)

 HCI_                                  Indicate HCI Disconnection       DISCONNECTING
 Disconnect_-                          Physical Link Complete event
 Physical Link                         with Status set to Success
 command                               (0x00) and Reason set to Con-
                                       nection Terminated By Local
                                       Host (0x16)
                                       Set PhysLinkCompleteStatus to
                                       Unknown connection identifier
                                       (0x02
                                       Clear Connection Accept Time-
                                       out
                                       Signal MAC to disconnect peer

 4-way Hand-                           Signal MAC to disconnect peer    DISCONNECTING
 shake Failed                          Set PhysLinkCompleteStatus to
                                       0x05 (Authentication failure)
                                       Clear Connection Accept Time-
                                       out

 4-way Hand-                           Send HCI Physical Link Com-      CONNECTED
 shake Suc-                            plete event with Status set to
 ceeded                                Success (0x00)
                                       Configure MAC with Link
                                       Supervision Timeout
                                       Clear Connection Accept Time-
                                       out
                                       Clear NeedPhysLink
                                       CompleteEvent

Table 3.4: AUTHENTICATING State event table




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3.1.11 CONNECTED State

The CONNECTED state is the operational state for the physical link.

 Event                  Condition           Action                                 Next State

 HCI_                                       Indicate HCI Disconnection             DISCONNECTING
 Disconnect_                                Physical Link Complete event
 Physical Link                              with Status set to Success
 command                                    (0x00) and Reason set to Con-
                                            nection Terminated By Local
                                            Host (0x16)
                                            Clear Connection Accept Time-
                                            out
                                            Signal MAC to disconnect peer

 MAC Media Dis-                             Indicate HCI Disconnection             DISCONNECTING
 connection Indi-                           Logical Link Complete event for
 cation                                     each logical link, with Status set
                                            to Success (0x00) and Reason
                                            set to Connection Terminated
                                            by remote Host
                                            Cancel MAC connect operation

Table 3.5: CONNECTED State event table


3.1.12 DISCONNECTING State

This is a transit state to the DISCONNECTED state and is used to prevent the
PAL from preparing to accept or create new connections while a given
connection is being deleted by the PAL and the MAC. The PAL shall exit from
this state when the MAC is ready to accept new connections.

 Event                  Condition              Action                            Next State

 MAC Connection         PhysLinkCom-           Send HCI Physical Link            DISCONNECTED
 Cancel Indication      pleteEvent is set      Complete with status set to
                                               PhysLinkCompleteStatus

 MAC Connection         PhysLinkCom-                                             DISCONNECTED
 Cancel Indication      pleteEvent is
                        clear
Table 3.6: DISCONNECTING State event table




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3.2 CHANNEL SELECTION

3.2.1 Overview

Peer to peer networks in 802.11 can incur long connection latency unless there
is out of band coordination. Also, one or both of the AMP devices may already
be connected to an external network and may therefore need to remain on a
given channel. To solve these problems, the data structures and algorithms
specified here may be used to provide a coordination service during the
creation of the physical link.

An 802.11 channel should be chosen based on up-to-date dynamic information
obtained from both AMP peers. The channel selection process is outside the
scope of this document but the selected channel shall meet the following
criteria:
• The channel shall be legally permitted for use according to local regulatory
  agencies. If no locale is known, then a common mode configuration shall be
  used. See Section 3.2.2.
• The channel shall not use a 40 MHz channel width in the 2.4 GHz ISM band.
• If the channel width is 20 MHz, then the channel shall be included in the PCL
  TLV and in the PCLv2 TLV, if present, in the AMP_ASSOC provided by the
  initiator in connection establishment. If the channel width is 40 MHz, then
  the channel shall be present in the PCLv2 TLV.
• The channel selection process should avoid forcing either AMP device to
  move its channel.
• The channel selection process should favor channels with least impact on
  BR/EDR operation.

There may be no suitable channel that the initiating PAL can select or the
responding PAL may reject the selected channel. If the selection process
cannot identify a channel, then the physical link establishment shall be aborted.

The selected channel is transmitted to the responding AMP manager as a field
in the AMP_ASSOC parameter in the AMP Create Physical Link message, and
given to the responding PAL via the HCI_Write_Remote_AMP_ASSOC
command.




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3.2.2 Regulatory

Even though IEEE 802.11 devices operate in unlicensed spectral bands, the
unlicensed bands and the limits of allowable behavior in each band are specific
to a country and enforced by spectrum regulatory bodies. There is a consistent
set of rules for operation in the 2.4 GHz ISM band, as described in the following
text.

802.11 AMP equipment providers interpret these rules in independent ways
and meet the regulations with independent mechanisms so specification of an
algorithm to implement regulatory compliance for all situations is beyond the
scope of this document.

If an implementation has knowledge of local regulatory constraints then such
an implementation may be able to improve certain characteristics of the AMP
link, for example by selecting a 5 GHz channel of operation to provide better
performance with the collocated BR/EDR radio.

3.2.3 Specification of Channel Identifiers

Tables specifying regulatory class identifiers, channel frequencies, widths and
descriptors are given for three regulatory domains in [1] normative annex J.
When using these tables, to resolve all ambiguity of channel identification in
construction of a PCL TLV, the country string as specified in [4] and the
regulatory class are needed. To support channel descriptions for countries not
included in tables J-1, J-2, or J-3, the country string may be distinct from the
locale known by the implementation, if any. The country string is only used to
select a specific table from the set of tables listed above and is only used in the
PCL TLV.

AMP devices may utilize 40 MHz channel width in the 5 GHz UNII band. As
described in [1], 40 MHz channels are specified as two adjacent 20 MHz
channels, one with a role of the primary channel and the other with a role of the
extension channel. The role and relative positioning of the primary and
extension channels are given in Table 3.7. The operating index is contained
within an operating triplet.

                                   Channel
 Operating      Channel Starting   Spacing
 index          Frequency (GHz)    (MHz)         Channel Set               Behavior Limits Set

   1 – 80               NA             RFU               RFU                       RFU

                                                 1, 2, 3, 4, 5, 6, 7, 8,
      81                2.407           25
                                                  9, 10, 11, 12, 13

      82                NA             RFU               RFU                       RFU

      83                NA             RFU               RFU                       RFU
Table 3.7: Channel set descriptions for PCLv2


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                                   Channel
 Operating      Channel Starting   Spacing
 index          Frequency (GHz)    (MHz)         Channel Set          Behavior Limits Set

      84                NA             RFU              RFU                   RFU

   85-114               NA             RFU              RFU                   RFU

     115                5               20          36, 40, 44, 48    IndoorOnlyBehavor

                                                                      IndoorOnlyBehavior,
     116                5               40             36, 44         PrimaryChannelLow
                                                                          erBehavior

                                                                      IndoorOnlyBehavior,
     117                5               40             40, 48         PrimaryChannelUpp
                                                                          erBehavior

     118                5               20          52, 56, 60, 64

                                                                      PrimaryChannelLow
     119                5               40             52, 60
                                                                          erBehavior

                                                                      PrimaryChannelUpp
     120                5               40             56, 64
                                                                          erBehavor

                                                   100, 104, 108,
                                                   112, 116, 120,
     121                5               20
                                                   124, 128, 132,
                                                     136, 140

                                                   100, 108, 116,     PrimaryChannelLow
     122                5               40
                                                     124, 132             erBehavior

                                                   104, 112, 120,     PrimaryChannelUpp
     123                5               40
                                                     128, 136             erBehavior

     124                5               20       149, 153, 157, 161    NomadicBehavior

                                                   149, 153, 157,     LicenseExemptBeha
     125                5               20
                                                   161, 165, 169              vior

                                                                      PrimaryChannelLow
     126                5               40            149, 157
                                                                          erBehavior

                                                                      PrimaryChannelUpp
     127                5               40            153, 161
                                                                          erBehavior

  128-191               NA             RFU              RFU                   RFU

                                     Vendor
  192-253               NA                         Vendor Specific      Vendor Specific
                                     Specific
Table 3.7: Channel set descriptions for PCLv2




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                                   Channel
 Operating      Channel Starting   Spacing
 index          Frequency (GHz)    (MHz)         Channel Set               Behavior Limits Set

                                                                            Operating index for
                                                 1, 2, 3, 4, 5, 6, 7, 8,
     254                2.407           25                                  Bluetooth, 20 MHz
                                                       9, 10, 11
                                                                              operation only

     255                NA             RFU               RFU                       RFU

Table 3.7: Channel set descriptions for PCLv2

Multiple operating triplets may be given in the same PCL, PCLv2, or CCL TLVs.
If sub-band triplets are given then they are to be assumed to modify the
nearest preceding operating triplet. Sub-band triplets may be specified in any
order, but they must not contain overlapping channel sets, as noted in [1]
clause 7.3.2.9.

The PCL may be included in messages containing AMP_ASSOC fields
exchanged over the BR/EDR link during construction of the physical link. The
PCL shall contain exactly one country string and one or more operating triplets.
If the current locale is unknown, then the non-country designator of 'XXX' (see
definition of dot11CountryString in [1] normative Annex D) and regulatory class
of 254 shall be used. The set of channels preferred when using this designator
and regulatory index shall be channels 1 through 11 in the 2.4 GHz ISM band,
with channel 1 the most preferred of the set. Supporting examples are given
below.

The PCLv2 may be included in messages containing AMP_ASSOC fields
exchanged over the BR/EDR link during construction of the physical link. The
PCLv2 does not contain a country string. It shall contain one or more operating
triplets and zero or more sub-band triplets. Note: For the channel descriptions
given in Table 3.7, for a given operating index, not every associated channel
may be legal to use in a given locale. It is up to each AMP implementation to
maintain compliance with local regulatory rules. If the current locale is
unknown, then the PCLv2 shall not be included in any AMP_ASSOC sent over
the BR/EDR link.

The PCLv2 is included by the sender to describe both 20 MHz and 40 MHz
channels and also contains the same 20 MHz channels as described in the
required PCL TLV. However, the channels in the PCLv2 are specified using
operating indices as given in Table 3.7, not the specific regulatory domain
identifiers used in the PCL.

The CCL is used to inform the peer of the current channel usage of the sending
AMP.




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3.2.4 Channel List Examples

In the first example PCL, we assume the device does not know its locale and it
prefers operation on channel 1 in the 2.4 GHz ISM band, although operation on
channels 2 through 11 is acceptable. The absence of a specific sub-band triplet
implies all channels 1 through 11 are acceptable.

 Field                             Value   Comments

 Country String                    'XXX’   Applies to entire table. Signifies non-country
                                           (mobile applications).
 Regulatory Extension Identifier   201

 Regulatory Class                  254     In context of Country String. Signifies 2.4 GHz
                                           ISM band channels 1 through 11 unless modified
                                           by specific channel list.
 Coverage Class                    0       Not used by AMPs.

Table 3.8: Simple preferred channel list

In the next example, assume the PAL again does not know its locale, but it
prefers operation only on channels 6, 7 and 11, with 11 the most preferred.

 Field                             Value   Comments

 Country String                    'XXX’   Applies to entire table. Signifies non-country
                                           (mobile applications)
 Regulatory Extension Identifier   201

 Regulatory Class                  254     In context of Country String. Signifies 2.4 GHz
                                           ISM band channels 1 through 11 unless modified
                                           by specific channel list.
 Coverage Class                    0       Not used by AMPs.
 First Channel                     11      First sub-band triplet

 Number of channels                1
 Maximum transmit power level      20
 First Channel                     6       Second sub-band triplet

 Number of channels                2
 Maximum transmit power level      20
Table 3.9: Preferred channel list with non-contiguous channels

In the next example, assume the PAL knows that it is operating in the US and it
has determined that all channels in the 2.4 GHz ISM band and 2 channels of
20 MHz width, 36 and 40, in the 5 GHz U-NII I band should be communicated
to the other peer. It is also assumed that the PAL has determined that channels




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in the 2.4 GHz band are preferred to the 5 GHz channels. The PAL would use
the following PCL.

 Field                        Value             Comments

 Country String               'US’              Applies to entire table.
 Regulatory Extension         201               First operating triplet.
 Identifier

 Regulatory Class             12                In context of Country String, specifies chan-
                                                nels 1 through 11, inclusive, in 2.4 GHZ ISM
                                                band. Absence of specific channel list signi-
                                                fies all channels in this (FCC) regulatory
                                                class are available to the AMP.

 Coverage Class               0                 Not used by AMPs.
 Regulatory Extension         201               Second operating triplet.
 Identifier
 Regulatory Class             1                 In context of Country String, specifies 20
                                                MHz channel spacing. Presence of subse-
                                                quent channel list signifies not all channels
                                                in the regulatory class are available to the
                                                AMP.

 Coverage Class               0                 Not used by AMPS.

 First channel                36                First sub-band triplet.
 Number of channels           2                 Channels 36 and 40 are included, with
                                                channel 36 more preferred than channel 40.
 Maximum transmit power       20                Units in context of Country String (dBm,
 level                                          mW, etc).

Table 3.10: Mixed band preferred channel list example

In the next example consider the case of a PCL for Canada with 20 MHz
channel numbers 36 and 40 and a PCLv2 with 40 MHz channel widths for
channel pairs (36, 40) and (44, 48), as well as the 20 MHz channels in the PCL.
Assume for this example that Canada uses the same channel descriptions as
the US for the channels referenced. A country string of 'US' is used in the PCL
in order to indicate we are drawing the channel descriptions from Table J-1 in
[1]. The channel descriptor in the PCLv2 for the former channel pair shows that
36 is the primary channel, while the descriptor for the latter pair shows that 48
is the primary channel. The operating indices will be from the set {115, 116}.
Note: 2.4 GHz channels are not included at all in this example, implying that
only 5 GHz band channels will be used if any connection is made.




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The PCL TLV and PCLv2 TLV are shown in the tables 3.11 and 3.12 below. In the
PCLv2 TLV the 40 MHz pairs are shown first and the 20 MHz channels follow.

 Field                              Value            Comments

 Country String                     'US’             Applies to entire PCL
 Regulatory Extension Identifier    201              First operating triplet

 Regulatory Class                   1                Specifies channels 36 - 48 inclusive,
                                                     20 MHz width. Will be further re-
                                                     stricted by sub-band triplet
 Coverage Class                     0                Not used by AMPs
 First channel                      36               First sub-band triplet

 Number of channels                 2                Denotes channels 36, 40
 Transmit power                     20

Table 3.11: Example preferred channel list TLV for Canada


 Field                              Value            Comments

 Operating Extension Identifier     201              First operating triplet


 Operating index                    116              Specifies channels 36 and 44,
                                                     inclusive, are to be considered primary
                                                     channels with extension channels at
                                                     the higher adjacent frequencies, i.e.
                                                     channels 40 and 48 are extension
                                                     channels.

 Coverage Class                     0                Not used by AMPs

 First Channel                      36               First sub-band triplet. Specifies 36 is
                                                     primary and 40 is upper extension.

 Number of Channels                 1                There is one 40 MHz channel specified.

 Transmit power                     20


 Operating Extension Identifier     201              Operating triplet for the 20 MHz
                                                     channels

 Operating index                    115              Specifies channels 36 – 48 inclusive,
                                                     20 MHz width.

 Coverage Class                     0                Not used by AMPs

 First channel                      36               Sub-band triplet

 Number of channels                 2                Denotes channels 36, 40

 Transmit power                     20
Table 3.12: PCLv2 example


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3.3 802.11 LINK CREATION

3.3.1 Starting the AMP Network

After the initiator has selected a channel of operation, the initiating PAL shall
instruct the MAC to commence network operation, including beaconing. The
802.11 AMP devices shall use probe responses and/or beacons (respecting
regulatory restrictions) to advertise MAC capabilities.

AMP devices shall use beacons to enable effective coexistence with
neighboring 802.11 networks. For example, non-AMP devices can discover the
existence of AMP networks and such devices can also determine the EDCA
characteristics of the network. In regulatory domains where DFS operation is
required, an AMP device may need to passively observe the channel to check
for radar, as described in [1] clause 11.9, before it may start to beacon. For
AMP operation, the maximum beacon period shall be Max80211BeaconPeriod.

The SSID information element for AMP devices shall be of the form 'AMP-xx-
xx-xx-xx-xx-xx' (with no null termination and no quotes) where the "x"
characters are replaced by the lowercase hexadecimal characters of the MAC
address of the local 802.11 device. This is referred to here as the AMP SSID.
For example, if the MAC address of a device is 00:01:02:0A:0B:0C, then the
AMP SSID would be 'AMP-00-01-02-0a-0b-0c'.

AMP beacons shall be indicated as ESS-style beacons in the capability
information field as described in [1] clause 7.3.1.4 and shall include the AMP
SSID. Beacons shall be sent with standard beacon channel access semantics
as given in [1] clause 11.1.2.1. The contents of the Address2 and Address3
fields for beacons and probe responses shall be the MAC address of the
transmitting AMP node. Probe requests sent to AMP peers shall use the MAC
address of the intended recipient as the content of the Address1 and Address3
fields. In [1] clause 7.2.3.1 contains the details of the format of 802.11 beacon
frames and [1] clause 7.2.3.9 contains the details of the format of 802.11 probe
response frames, including a list of the required information elements is
specified.

3.3.1.1 HT Operation

The AMP peers shall maintain the HT protection field in the HT operation
information element in their beacons according to [1]. When communicating
with the initiator, the responder shall use the protection mechanism dictated by
the initiator's beacon.

The HT features of Greenfield, Reduced Inter-Frame Space (RIFS), dual Clear
to Send (CTS) protection and Phased Coexistence Operation (PCO) shall not
be used in AMP links. The respective fields in the 802.11 HT operation
information element shall be set to zero in transmitted MMPDUs and ignored in
received MMPDUs.


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When using a DFS channel, the AMP responder shall monitor the field which
indicates Overlapping BSS (OBSS) non-HT stations are present in the HT
operation element of the AMP initiator's beacon and adhere to the
requirements in [1]. The AMP initiator shall be responsible for setting this field.

3.3.2 Establishing the 802.11 Link

AMP devices may choose to obtain the timebase of their peer through the
timestamp field in 802.11 beacons and probe responses. The respective Target
Beacon Transmission Time (TBTT) of the peers may be independent and
occur at different times with respect to one another. The beacon period of the
devices may be different from one another.

AMPs shall use RSN security. RSN security requires the use of 802.11 open
authentication as specified in [1] clause 8.2.2.2. The AMP responder shall send
the first frame of the 802.11 authentication transaction sequence with
transaction ID of 1. Address fields Address1 and Address3 shall contain the
initiator's address.The AMP initiator shall respond with an 802.11
authentication frame with transaction ID of 2. Address fields Address2 and
Address3 shall contain the initiator's address.

AMPs shall use 802.11 (re)association frames to select features advertised by
their peer. The AMP responder shall send an (re)association request frame.
Address fields Address1 and Address3 shall contain the initiator's address.

The AMP initiator shall reply with an (re)association response frame. Address
fields Address2 and Address3 shall contain the initiator's address. The frame
body contents of both the (re)association request and response are given in [1]
clause 7.2.3.4 and [1] clause 7.2.3.5, respectively.

After successful 802.11 (re)association, unencrypted security frames may be
transmitted on the physical link.




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3.3.3 Address Fields of Data Frames

The 802.11 AMP shall support the use of four address field frame format for all
data frames after (re)association.

To use data frames with four address fields the AMP shall set the ToDS and
FromDS bits in the FrameControl field equal to one. The addresses used for
such frames shall be arranged as shown in Table 3.13. Because there is no
frame forwarding by AMPs, the RA is the same as the DA and the TA is the
same as the SA.

 Field                  Value

 Address1               Receiver Address (RA)
 Address2               Transmitter Address (TA)

 Address3               Receiver Address (RA)
 Address4               Transmitter Address (TA)

Table 3.13: Four address frame address fields


3.3.4 Admission Control

AMP devices should respond to probe requests with a probe response.

If Address2 of an 802.11 association request does not match the MAC address
from the AMP Assoc received during construction of the current physical link or
if the SSID in the association request does not match the AMP SSID of the
receiving AMP device, then the receiving AMP device shall not transmit an
802.11 association response with a status code of 0 (success).

3.4 PHYSICAL LINK MAINTENANCE
After a physical link is created, an AMP device shall monitor the state of the link
and provide an indication of link failure to the Host if no frames are received
from the AMP physical link peer for a period of Link Supervision Timeout
(LSTO). Correctly decrypted data frames received from the peer shall be
evidence of an existing physical link, but this is not true for 802.11 ACK and
CTS control frames.

If the PAL has not received a correctly decrypted data frame for a period less
than LSTO, then it shall solicit a response from its peer in an attempt to receive
the response before the expiration of LSTO. For this purpose, link supervision
request/response protocol identifiers are given in Table 5.2 and may be used to
construct link supervision data frames. When a PAL receives a data frame with
a protocol identifier of Link Supervision Request, it shall reply by transmitting a
data frame with a protocol identifier of Link Supervision Reply.




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3.5 PHYSICAL LINK SECURITY

3.5.1 Obtaining Key Material

The Host provides key material for use with a physical link as the
Dedicated_AMP_Link_Key parameter of the HCI_Create_Physical_Link or
HCI_Accept_Physical_Link command. See [Vol 2] Part E, Section 5.2 for octet
ordering of multi-octet HCI parameter values. The Dedicated_AMP_Link_Key
parameter shall be interpreted by the PAL as a 256 bit integer and used directly
as a Pairwise Master Key (PMK) by the two devices to create a PTK. Further
key material is derived from the PTK.

3.5.2 Creating a PTK

The 802.11 4-way handshake is used to create a PTK from the PMK. See [1]
clause 8.5.3.

Entities known as authenticator and supplicant are used to exchange security
information in the 802.11 security architecture. Since the responding AMP
device receives the 802.11 (re)association response frame, it shall serve the
role of supplicant; the initiating AMP device shall serve the role of
authenticator. The authenticator sends the first and third messages of the 4-
way handshake and the supplicant sends the second and fourth messages.
Only a single instance of the 4-way handshake is run by the 802.11 AMP to
establish its secure connection.

If a 4-way handshake fails then the PAL physical link state machine shall
transition to the DISCONNECTING state as described in Section 3.1.10.

The supported security configurations of the peers are given in the RSN
information element in beacons or probe responses exchanged by the AMP
devices. The PAL shall enforce the following restrictions:
• UseGroup (00:0F:AC:00), WEP-40 (00:0F:AC:01), TKIP (00:0F:AC:02),
  and WEP-104 (00:0F:AC:05) shall not be allowed as valid pairwise cipher
  suites.
• The group cipher shall be CCMP (00:0F:AC:04)
• The only valid AKMP shall be PSK (00:0F:AC:02) or a vendor-specific
  AKMP.
• The NoPairwise bit (B1) of the RSN Capabilities field shall be set to zero.
• The Management Frame Protection Required (MFPR) bit (B6) of the RSN
  Capabilities field shall be set to zero. Note: This does not prevent the use of
  Management Frame Protection.

The supplicant shall ensure a proper intersection of capabilities exists subject
to the constraints above. It may also choose a set according to its policy
requirements and may terminate a connection attempt if no policy match is


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found. Either the supplicant or the authenticator may terminate a connection
after AMP Create Physical Link Response is sent by indicating an HCI Physical
Link Complete event with an unsuccessful status code.

The AMP key received from the Host may be marked with a Link_Type of
debug. If it is, then the local PAL may choose to use the key, or it may choose
to refuse to establish the link, according to its own policy. The management of
this debug key policy is outside the scope of this document.

The PAL shall use the AMP key as a Pairwise Master Key (PMK) according to
the 802.11 key hierarchy described in [1] clause 8.5.1.2 and shall exchange
nonces (as part of a 4-way handshake) to add liveness in the derivation of a
Pairwise Transient Key (PTK). The PTK shall be derived specifically for a
session started by the HCI_Create_Physical_Link_Request command and
shall be deleted when the session is terminated by the
HCI_Disconnect_Physical_Link command. The construction of the AAD used
with CCMP shall include Address4 in the manner illustrated in [1] clause
8.3.3.3.2, Figure 8-17.

3.5.3 Using Encryption

Encryption keys are derived from the PTK and are inserted into the 802.11
MAC after the 4-way handshake has successfully completed. All data frames
after this point are encrypted and this state persists until the physical link is
deleted.

3.5.4 Refreshing a PTK

The PTKSA, if any, shall be discarded when the physical link to which it applies
enters the DISCONNECTED state. At this point the Host may reestablish the
connection which will cause the creation of a new PTKSA.

The PTKSA shall be discarded in the event its receive sequence counter
becomes exhausted. Since this is a 48 bit counter, this is an unlikely event.

To establish a new PTK, the physical link shall be torn down and re-
established.

3.5.5 Transporting Security Handshake Messages

Security handshake messages shall be sent after the physical link is created,
but before any logical link is created between the two devices.

The SNAP header composed of the OUI of the Bluetooth SIG as shown in
Table 5.1 and the protocol identifier given in Table 5.2 shall be used to
distinguish AMP 4-way handshake messages from external security traffic.




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3.6 PHYSICAL LINK SUPPORT FOR QOS

3.6.1 QoS Advertisement

If an AMP device supports 802.11 EDCA and is configured to use it, then it
should indicate this to the Host by setting the
Guaranteed_Service_Type_Supported field of the PAL_Capabilities parameter
included in the HCI_Read_Local_AMP_Info command.

If QoS is offered by an AMP device, it shall advertise EDCA in beacon and probe
response frames by including the EDCA Parameter Set information element, as
given in [1] clause 7.3.2.29. Note: The EDCA Parameter Set information element
is also included in (re)association response frames. For AMP devices, the use of
the EDCA parameter set shall be as follows. The QoS Info field shall be zero.
The ACI, AIFSN, and TXOPlimit values of the AC parameter record shall be as
given in [1] Table 7-37. The ECWmin and ECWmax values are specific to the
802.11 PHY type and are documented in their appropriate clauses in [1]. The
Admission Control Mandatory (ACM) bit should be zero.

The QoS Capability information element is described in [1] clause 7.3.2.35.
The QoS Info field (see [1] clause 7.3.1.17) is contained in the QoS Capability
information element as well as the first field of the EDCA Parameter Set
information element. AMP devices shall not include the QoS Capability
information element in beacons or probe responses.

The interpretation of the content of the QoS Info field is different depending on
if the enclosing frame is a beacon or probe response, or if it is a (re)association
request.

 802.11 Information element             Frame(s) contained in

 QoS Capability information element     Association Request, Reassociation Request
 EDCA Parameter Set information         Beacon, Probe Response, Association Response,
 element                                Reassociation Response
Table 3.14: EDCA advertisement and negotiation

The EDCA AC parameters shall not change unless the physical link is torn
down and re-established. Therefore the EDCA Parameter Set Update Count
subfield of the QoS Info field in beacons and probe responses shall be zero.

3.6.2 Negotiation

To request the use of EDCA on the physical link an AMP device shall include a
QoS Capability element in its (re)association request. If the AMP peer rejects
the EDCA negotiation then the (re)association response frame shall have no
EDCA Parameter Set element included. If the (re)association response frame
has a status code of successful and the EDCA Parameter Set element is
included, then the link shall be considered to support EDCA.

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4 LOGICAL LINK MANAGER

A logical link provides a (possibly) bidirectional path for in-order delivery of
L2CAP PDUs, with a specified set of traffic characteristics. Each logical link
exists with respect to a specific physical link in the CONNECTED state.

A logical link is characterized by a pair of Extended Flow specification
parameter sets, as described in [1]. An Extended Flow specification parameter
set is referred to simply as a flow spec here.

Each logical link is classified as either Best Effort or Guaranteed. The logical
link is known as Best Effort if either of its flow specs indicates Best Effort in its
Service Type field. Otherwise, it is known as Guaranteed.

Support for Guaranteed links is optional; the PAL may reject any guaranteed
flow spec. If 802.11 QoS (see Section 3.6.1) is not supported by both
endpoints, then there is no traffic prioritization in the MAC.

4.1 LOGICAL LINK CREATION
Creation of a logical link is initiated by the HCI_Create_Logical_Link or
HCI_Accept_Logical_Link command. If the physical link is not in state
CONNECTED, the PAL shall send the HCI Logical Link complete event with
status set to Command Disallowed (0x0C). The Controller shall indicate
successful completion of the logical link creation using the HCI Logical Link
Complete event, with Status set to Success (0x00).

4.1.1 Logical Link Handles

When a Logical Link is created or accepted the PAL shall create a Logical Link
handle, or logical handle. The logical handle is included in HCI ACL data
packets received from the HCI in the Handle field; the PAL may use the logical
handle to help it select the egress physical link. If the Host delivers an HCI ACL
data packet to the AMP Controller with an invalid Handle field, then the AMP
shall discard the ACL data packet and the PAL may indicate a Number of
Completed Blocks or Number of Completed Packets event (depending on the
configuration of the Flow Control setting) using the Host-supplied logical
handle.

When the PAL receives data frames from the MAC, it may use the source
address to determine the physical link. It shall place the physical link handle
corresponding to that link into the Handle field of the HCI ACL data packet
before the packet is indicated to HCI. Note: The PAL is not required to
determine a logical handle for frames it receives from the MAC.

4.1.2 Null Traffic Logical Links

Data frames may be discarded if attempted on a No Traffic flow.

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4.1.3 Best Effort Logical Links

There is a single logical link used to transport all Best Effort traffic.

If EDCA was successfully negotiated during the physical link creation, the PAL
shall map all egress frames marked with the Best Effort logical handle to a UP
of either BEUserPrio0 or BEUserPrio1, inclusive. Otherwise, if EDCA is not
used, no mapping is required and the UP shall be set to zero by the PAL.

4.1.4 Guaranteed Logical Links

Flow specs requesting guaranteed service may be accepted by the PAL if the
physical link was negotiated with 802.11 QoS.

EDCA shall be used by the 802.11 AMP devices if supported and available for
use by both devices. The PAL shall provide a priority field associated with each
egress 802.11 frame. The priority field is interpreted by the MAC as a User
Priority (UP) and is mapped to access category as specified in [1] clause
9.1.3.1.

If the 802.11 link was negotiated with QoS, then on receiving an
HCI_Create_Logical_Link or HCI_Accept_Logical_Link command specifying a
Guaranteed transmit flowspec the PAL shall use a UP with a value between
MinGUserPrio and MaxGUserPrio, inclusive. The determination of precisely
which UP to use is outside of the scope of this specification. A flow spec
expresses maximum bandwidth as the product of inter-SDU arrival time and
maximum SDU size. The PAL may use the specified maximum bandwidth or
latency requirements from the flow spec to establish mappings of logical
handles to UPs.

If a request for a guaranteed link cannot be mapped to a UP in the range
specified above, it may be rejected.

The PAL shall reject all requests to establish a guaranteed logical link with a
flow spec expressing a maximum bandwidth which is greater than the
Total_Bandwidth parameter of the Read Local AMP Info command minus the
sum of the requested maximum bandwidths of all existing guaranteed logical
links.

The transmitter shall store the logical channel to UP mapping for application to
future frame transmissions. The receiver shall create an HCI ACL data header
and insert the physical link handle into the Handle field of the packet before
indication to the Host.




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4.2 LOGICAL LINK UPDATES
The Host may indicate a change of traffic requirements on a logical link by
using the HCI_Flow_Spec_Modify command. An HCI_Flow_Spec_Modify
command will not change the Service Type of the flow specs for a logical link.

When the PAL receives an HCI_Flow_Spec_Modify command, it should
validate that the new flow spec requirements can be met with the available
resources. If not, then the PAL should reject the command.

4.3 LOGICAL LINK DELETION
The PAL shall rely on upper layers to flush any frames before a logical link is
deleted. See explicit flush in Section 5.3. The PAL may choose to re-use the
same logical link identifier for new logical links even on the same physical link.

The PAL should recover any allocated QoS resources when the logical link is
deleted. In particular, when deallocating resources for a flow spec which
expressed a maximum bandwidth, the PAL should subtract that parameter
from the total allocated bandwidth.




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5 DATA MANAGER

5.1 ENCAPSULATION
The PAL shall advertise a maximum PDU length of Max80211PALPDUSize
octets and each L2CAP PDU is transmitted by the MAC as a single MSDU.
The MSDU boundary determines the L2CAP PDU boundary for the receiver.

Before transmission, the PAL shall remove the HCI header, add LLC and
SNAP headers and insert an 802.11 MAC header. The LLC/SNAP frame
format used by the 802.11 AMP is shown in Table 5.1.

               DSAP     SSAP       Control      OUI         Protocol      Frame Body

 Value         0xAA     0xAA       0x03         00:19:58    XX:XX
 Octets        1        1          1            3           2             0-1492
Table 5.1: 802.11 AMP LLC/SNAP encapsulation

The protocol identifiers shall be as shown in Table 5.2:

 Value                        Protocol Description                     Logical Link

 0x0000                       Reserved for future use                  N/A

 0x0001                       L2CAP ACL data                           AMP-U
 0x0002                       Activity Report                          AMP-C
 0x0003                       Security frames                          AMP-C

 0x0004                       Link supervision request                 AMP-C
 0x0005                       Link supervision reply                   AMP-C
 0x0006-0xFFFF                Reserved for future use                  N/A

Table 5.2: Protocol Identifiers

All 802.11 data frames on the AMP link shall be sent with ToDS and FromDS
bits in the Frame Control field both set to one. For a description of the Frame
Control field, see [1] clause 7.1.3.1. If QoS was negotiated on the physical link
between the peers then the QoS Control field shall be included in the MAC
header, otherwise it shall not be included.

The receiving device can determine the physical link identity from the TA of the
received frame. The receiving PAL shall decapsulate the frame from 802.11
and into the HCI ACL data encapsulation.




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5.2 COEXISTENCE AND LOCAL INTERFERENCE

5.2.1 Interference from Collocated Radios

The BR/EDR radio, LE PHY and the ERP of 802.11 AMP operate in the
2.4GHz ISM band and mechanisms are required to help mitigate potential
interference. The BR/EDR and LE radio subsystems on an 802.11 AMP
capable device should employ AFH to attempt to avoid interference of
overlapping transmissions on the medium.

Protocols specified in [1] are designed to mitigate interface from non-collocated
radios.

On systems where the devices are collocated such that radio isolation is
insufficient to mitigate interference, the use of the shared medium should be
time-division multiplexed to ensure only one of the interfering radios will gain
access to the medium. In the case of the BR/EDR radio and the 802.11 radio
operating in the 2.4GHz band, the PAL should ensure that local high priority
BR/EDR traffic such as SCO, eSCO and ACL packets carrying A2DP
information have higher priority over potentially interfering local 802.11 AMP
packets. The PAL may ensure this prioritization through many ways including
employing the methods described in [3] but the exact methods are outside the
scope of this document.

Interference can also arise between the 802.11 AMP radio and collocated
licensed band radios (LBRs) operating in adjacent bands to the ISM spectrum.
Due to 802.11 AMP transmissions, the collocated LBR may be unable to
receive transmissions from its peer LBR. Again the use of the medium should
be time-division multiplexed to ensure only one of the radios will gain access to
the medium at one time. In the case of the 802.11 AMP radio and an LBR, the
PAL should ensure that the local LBR packets have higher priority over
potentially interfering local 802.11 AMP packets. Although the exact methods
are outside the scope of this document, similar collocated radio interference
mitigation mechanisms as described above may be used.

5.2.2 Unavailability of Remote Peer

Distributed AMP devices may experience 802.11 performance degradation due
to simultaneous BR/EDR activity occurring at one of the AMP peers. Local
interference mitigation schemes (see Section 5.2.1) employing time-divided
access to the medium will result in the 802.11 radio being periodically
unavailable to its peer. The PAL attempting to transmit to a periodically
unavailable AMP device may employ techniques to allow its transmissions to
consume minimal airtime and power while still achieving acceptable
performance for its own transmissions and those of neighboring networks.

When a physical link is created, the PAL shall configure the 802.11 MAC to use
RTS/CTS signaling by default. This behavior may be modified by using Activity
Reporting as given in Section 5.2.3.

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5.2.3 Activity Reports

AMP Activity Reports provide an optional mechanism for the 802.11 PAL to
inform its 802.11 AMP peer of events which may result in the 802.11 device
being unavailable to receive 802.11 traffic. Activity Reports may also be used to
inform a peer of the absence of local interference thereby allowing the remote
peer to disable its RTS/CTS signaling.

Examples of simultaneous traffic include, but are not limited to:
1. BR/EDR SCO/eSCO streams
2. 802.11 traffic required to maintain an external 802.11 connection
3. Traffic from other collocated radios such as LBRs in the 2.3 or 2.5 GHz band
   (including WiMax, LTE, and UMB)

When Activity Reports are used, it is the PAL which is aware of its unavailability
which may generate the interference information. The PAL can determine the
information to include in the Activity Report through methods including, for
example, the PTA model described in [3]. In many systems with collocated
radios there are PTA signals between the BR/EDR and 802.11 Controllers
which may be used to generate this information.

The information shall be transferred between the communicating 802.11 PALs
using a PAL Activity Report PDU encapsulated in an 802.11 data frame. The
frame body of the Activity Report PDU following the LLC/SNAP header is
shown in Table 5.3. It has a variable length.

Activity Report                                                                Size: Variable
 Value                 Octets      Description

 ScheduleKnown         1           Bit 0:
                                   1 if the sender knows the schedule of interference
                                   0 if the sender does not know the schedule of interference

 NumReports            1           The number of traffic reports in this PDU
 StartTime             4           The absolute time of the start of possible unavailability of
                                   the peer, expressed as the least significant 32 bits of the
                                   802.11 TSF of the transmitter of the PDU.
 Duration              4           Duration of the active phase of the traffic in microseconds.

 Periodicity           4           Periodicity of traffic in microseconds. May be zero to indi-
                                   cate aperiodic traffic.
Table 5.3: Activity Report

Processing of received Activity Reports is optional and support for it is
advertised in the 802.11 PAL Capabilities field.

The ScheduleKnown field shall indicate to the receiver of the Activity Report
whether or not the sender is aware of the schedule of subsequent data traffic.

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• If the ScheduleKnown is set to zero, this shall signify the sender is aware of
  the presence of traffic but not its schedule, and the receiving PAL shall
  configure the MAC with RTS/CTS signaling for all traffic on the physical link
  to the sender.
• If the ScheduleKnown is set to one, the sender shall describe the schedule
  of interference in the subsequent fields; the receiver of the report may either
  schedule all 802.11 AMP traffic around this schedule, configure the MAC
  with RTS/CTS signaling, or both.

If a PAL knows there is no interference from collocated radios before or during
establishment of a physical link, an Activity Report conveying this state should
be sent at the earliest possible opportunity after the physical link is established.

The StartTime, Duration and Periodicity form an Activity Report triplet. The
difference between the StartTime and the current TSF of the peer shall be
interpreted as a signed 32 bit value. A negative value shall denote a time in the
past. The NumReports value indicates the number of Activity Report triplets
which follow. The Duration shall specify the amount of time (in microseconds)
the PAL is in the mode specified. If the ScheduleKnown field is zero, there shall
be no Activity Report triplets and the NumReports field shall be zero. If the
Periodicity is non-zero, it shall be a value greater than the Duration.

An Activity Report may be created to describe a burst of interfering traffic by
setting ScheduleKnown to one, NumReports to one, StartTime to the time the
burst is predicted to start, Duration to the duration of the burst, and Periodicity
to zero.

The PAL may inform its peer that interference is no longer present by sending
an Activity Report with a ScheduleKnown field set to one, and a NumReports
field set to zero. Upon reception of such an Activity Report frame, a receiving
PAL may configure the MAC without RTS/CTS signaling.

The PAL may transmit an Activity Report frame periodically in order to correct
clock drift between its TSF and the schedule of unavailability caused by the
collocated radio. The most recent Activity Report shall supersede all others
received.




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5.3 EXPLICIT FLUSH
Explicit flush may be initiated at the HCI on any logical link by using the
HCI_Enhanced_Flush command. Explicit flush discards all data frames for
transmit on the indicated logical link.

5.4 AUTOMATIC FLUSH
If guaranteed logical links are supported, then automatic flush timeouts shall be
supported by the 802.11 PAL.

5.5 QUALITY OF SERVICE VIOLATIONS
The PAL may generate a HCI QoS Violation event when it is determined that
the parameters of the flow spec are not being met. This may occur for instance
when a data packet has been queued for transmission on a Guaranteed logical
link for longer than the Access Latency in the flow spec for transmitted traffic on
that link. It can also occur when a data packet fails to receive an
acknowledgment before the specified flush timeout.




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6 CONSTANTS

 Name                         Value       Units             Description

 Max80211PALPDUSize           1492        Octets            Maximum PDU size
 Max80211AMPASSOCLen          672         Octets            Maximum length of AMP_AS-
                                                            SOC for this AMP

 MinGUserPrio                 4           N/A               Minimum value of user priority
                                                            for guaranteed link
 MaxGUserPrio                 7           N/A               Maximum value of user priority
                                                            for guaranteed link
 BEUserPrio0                  0           N/A               Best effort User Priority

 BEUserPrio1                  3           N/A               Best effort User Priority
 Max80211BeaconPeriod         2000        milliseconds      Maximum value of AMP
                                                            dot11BeaconPeriod MIB vari-
                                                            able
 ShortRangeModePower-         4           dBm               Maximum transmit power for
 Max                                                        ERP-OFDM frames when in
                                                            Short Range Mode

Table 6.1: 802.11 PAL Constants




Constants                                                                       06 December 2016
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7 MESSAGE SEQUENCE CHARTS

The MSCs necessary to show the creation and deletion of physical and logical
links can be found in [Vol 2] Part F, Section 4.16, as the sequencing of steps is
determined by the logical HCI. However, an overview MSC for AMP physical
link creation is given in Figure 7.1.


  AMP_Manager                     802.11 PAL                         802.11 MAC                            802.11 MAC                              802.11 PAL                  AMP Manager
    Device A                       Device A                           Device A                              Device B                                Device B                     Device B


                                                                       AMP_Get_Info_Request (Amp_IDB)
                                                                                                                                                          HCI_Read_Local_AMP_Info
                                                                                                                                                             Command_complete
                                                                                                                                                                (AMP_InfoB)
                                                                                                                                                         HCI_Read_Local_AMP_Assoc
                                                                                                                                                             Command_complete
                                                                                                                                                               (AMP_AssocB)
                                                                 AMP_Get_Info_Response (Amp_IDB, Status)

                                                                 AMP_Get_AMP_Assoc_Request (Amp_IDB)
                                                       AMP_Get_AMP_Assoc_Response (Amp_IDB, AMP_AssocB)
             HCI_Create_Physical_Link
              HCI_Command_Status

        HCI_Write_Remote_AMP_Assoc
                (AMP_AssocB)
             HCI_Command_Complete
                                               Signal MAC to Scan

                                                                     Scan (optional)

                                                Scan list returned
                                               Signal MAC to start

                                                                     Start Beaconing

                                         MAC response to start cmd
              HCI_Channel_Selected
         HCI_Read_Local_Amp_Assoc
             HCI_Command_Complete
                 (AMP_AssocA)
                                                AMP_Create_Physical_Link_Request (Remote-Amp-IDB, AMP_AssocA)
                                                                                                                                                          HCI_Accept_Physical_Link
                                                                                                                                                           HCI_Command_Status
                                                                                                                                                        HCI_Write_Remote_AMP_Assoc
                                                                                                                                                                (AMP_Assoc )
                                                                                                                                                                           A
                                                                                                                                                           HCI_Command_Complete
                                                                                                                           Signal MAC to start

                                                                                                         Start Beaconing
                                                                                                                      MAC response to start cmd

                                                   AMP_Create_Physical_Link_Response (Local-Amp-IDB, Status)
                                                                                Optional active discovery
                                                                                       Discovery frame
                                                                                                                            Discovery indication
                                                                                                                           802.11 auth request
                                                                               802.11 AUTH (open alg req)
                                          802.11 auth indication
                                           802.11 auth response
                                                                                802.11 AUTH (open alg rsp)
                                                                                                                            802.11 auth confirm


                                                                                                                           802.11 assoc request
                                                                                  802.11 ASSOC_REQ
                                         802.11 assoc indication
                                          802.11 assoc response
                                                                                   802.11 ASSOC_RSP
                                                                                                                           802.11 assoc confirm



                                                                      4-way handshake over 802.11 medium


             Physical_Link_Complete                                                                                                                        Physical_Link_Complete
             (status, AMP_P_Handle)                                                                                                                        (status, AMP_P_Handle)




    Legend
                       Signaling over             AMP HCI                    PAL Control
                       BR/EDR radio



Figure 7.1: Overview MSC for physical link create/accept




Message Sequence Charts                                                                                                                                              06 December 2016
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8 REFERENCES

[1]   IEEE 802.11-2007 Standard and the following amendments: Amendment
      1 (Radio Resource Measurement), Amendment 2 (Fast BSS Transition),
      Amendment 3 (3650 MHz - 3700 MHz Operation in US), Amendment 4
      (Protected Management Frames), and Amendment 5 (Enhancements for
      Higher Throughput)
[2]   ISO/IEC 3166-2
[3]   IEEE 802.15.2 Recommended Practice: Coexistence of WPAN with other
      wireless devices operating in unlicensed frequency bands
[4]   Bluetooth SIG Company Identifiers https://www.bluetooth.org/en-us/
      specification/assigned-numbers/company-identifiers




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APPENDIX A TEST SUPPORT

This section provides the details of the AMP test commands and events
described in [Vol 2] Part E.

A.1 AMP TEST COMMAND

                                                    Command
 Command                               OCF          Parameters           Return Parameters

 HCI_AMP_Test                          0x0009       Test Parameters      Status



Description:

This command is used to configure and start a test. This command shall be
only valid in AMP Test Mode.

When a test scenario has completed or on receiving a HCI_AMP_Test_End
command the AMP shall send a HCI AMP Test End event and the AMP returns
to an idle state with the RX and TX off.

Test Parameters:                                                                Size: 18 octets
 Value                Parameter Description

 0xXX                 Test Scenario
                      0x01 – Transmit single frames with following parameters
                      0x02 – Receive frames with following parameters
                      All other values are reserved for future use
 0xXX                 Preamble
                      0x00 – ERP-OFDM preamble
                      0x01 – Short Preamble
                      0x02 – Long preamble
                      All other values are reserved for future use
 0xXX                 Payload
                      0x00 – All Zeros payload
                      0x01 – All ones payload
                      0x02 – PRBS9. The PRBS9 sequence is reinitialized for every frame.
                      Each PRBS9 payload is the same.
                      0x03 – PRBS15. The PRBS15 sequence is reinitialized for every frame.
                      Each PRBS15 payload is the same.
                      All other values are reserved for future use




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 0xXXXXXX             Country
 0xC9                 Operating Extension         Channel Descriptor
                      Identifier                  For AMP type 802.11, the channel is com-
                                                  pletely described by a four-tuple of {Country,
 0xXX                 Operating Class             Operating Extension Identifier, Regulatory
                                                  class, Channel number}. The Country identifier
 0xXX                 Channel Number              is an ISO/IEC-3166 three-octet field and the
                                                  Extension Identifier is equal to 201.
                                                  If the locale is unknown to the EUT, then it shall
                                                  only allow channel numbers as given in Ref [2]
                                                  Clause 18.4.6.2. Valid values are from 1 to 11.
                                                  All other values are reserved for future use

 0xXX                 Modulation
                      0x00 – ERP-DSSS
                      0x01 – ERP-CCK
                      0x02 – ERP-OFDM
                      0x03 – ERP-PBCC
                      0x04 – DSSS-OFDM
                      0x05 – OFDM
                      All other values are reserved for future use
 0xXX                 Rate (Mb/s)
                      Transmission data rate of PSDU.
                      See Ref [2] Clause 19.8.2 PHY MIB dot11SupportedDataratesTxValues
                      The allowed data rates are dependent on the modulation selected. Ref [2]
                      Table 19.1 Clause 19.2 and Clause 17.2.3.3.
                      All other values are reserved for future use
 0xXXXX               Payload length
                      1 to 1500. All other values are reserved for future use
 0xXX                 Transmit Power Control (TPC)
                      Valid values are 1 to 8 as defined in the Ref [2] implementation dependent.
                      All other values are reserved for future use

 0xXX                 Duty Cycle
                      10 to 99% (default 50%)
                      All other values are reserved for future use
 0xXXXX               Frame count
                      1 to 65525 – Number of frames to be transmitted. When the defined frame
                      count has been transmitted the system returns to the idle state and the
                      AMP Test End event is returned to the tester.
                      On receiving the Test End command the AMP returns to idle state.
                      All other values are reserved for future use




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 0xXX                 Scramble state
                      0x00 – OFF
                      0x01 – ON
                      All other values are reserved for future use

Return Parameters:

Status:                                                                            Size: 1 Octet
 Value                Parameter Description

 0x00                 AMP Test command succeeded

 0x01-0xFF            Test command failed. See [Vol 2] Part D, Error Codes.

Event(s) Generated (unless masked away):

When the AMP receives the HCI_AMP_Test command, the AMP shall send the
Command Status event to the AMP Test Manager which shall be routed to the
tester.

The HCI AMP Start Test event shall be generated when the HCI_AMP_Test
command has completed and the first data is ready to be sent or received.

The HCI Command Complete event shall not be sent by the AMP to indicate
that this command has been completed. Instead the HCI AMP Start Test event
shall indicate that this command has been completed.

When in a transmitter test scenario and the frames/bursts count have been
transmitted the HCI AMP Test End event shall be sent.

A.1.1 Test Scenarios

All AMP Test Mode frames shall be AMP Test Mode data frames.

Single Frame Transmission

When the test scenario is set to transmit single frames the format shall be as
defined by the parameters in the rest of the test configuration parameters. The
interval between frames shall be as defined by the transmission interval time.



           Transmission interval         Transmission interval


          Frame                          Frame                       Frame




Figure A.1: Single Frame test transmission

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The transmissions shall continue until the frame count is reached or a
HCI_AMP_Test_End command is received; when a HCI AMP Test End event
shall be sent to the tester via the AMP Test Manager.

The requirements of the frames are described in the AMP Test Mode data
frame format section.

Receive Frames

When the test scenario is set to receive frames the AMP shall receive the
frames defined in the other test scenario parameters and, when AMP receiver
reports are configured, return receiver reports as defined to the tester via the
AMP Test Manager.

A.1.2 Test Mode Data Frame Format

The frames transmitted in AMP Test Mode are not super frames. All frames
shall be Data frames. The format of the frame agrees with the PHY frames in
[2] section 19 with non connection AMP Test Mode fixed fields.

Source and Destination Address

When performing the AMP PHY non connection tests these fields are fixed
according to the direction of the message. The AMP shall use a fixed address
AMP_TEST_ADDRESS and shall expect to receive frames with an AMP_
TESTER_ADDRESS.

 Parameter                        Address

 AMP_TEST_ADDRESS                 0x5555 (0101010101010101 binary)
 AMP_TESTER_ADDRESS               0xAAAA (1010101010101010 binary)

These are fixed addresses for testing purposes only.

The AMP shall transmit frames in the transmit test scenarios with the SrcAddr
set to the AMP_TEST_ADDRESS and the DestAddr set to the AMP_
TESTER_ADDRESS.

The AMP shall receive test frames in the receiver test scenarios with the
SrcAddr set to AMP_TESTER_ADDRESS and the DestAddr set to the
AMP_TEST_ADDRESS.




Appendix A: Test Support                                                   06 December 2016
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802.11 Protocol Adaptation Layer Functional Specification


A.2 AMP START TEST EVENT

 Event                                     Event Code         Event Parameters

 HCI_AMP_Start_Test                        0x49               Status
                                                              Test Scenario

Description:

The HCI AMP Start Test event shall be generated when the HCI_AMP_Test
command has completed and the first data is ready to be sent or received.

Event Parameters:

Status:                                                                            Size: 1 Octet
 Value                Parameter Description

 0x00                 Test command succeeded

 0x01-0xFF            Test command failed. See [Vol 2] Part D, Error Codes

Test Scenario:                                                                     Size: 1 Octet
 Value                Parameter Description

 0xXX                 0x01 - Transmit single
                      0x02 – Receive frames
                      All other values are reserved for future use




Appendix A: Test Support                                                            06 December 2016
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802.11 Protocol Adaptation Layer Functional Specification


A.3 AMP TEST END EVENT

 Event                                     Event Code         Event Parameters

 HCI_AMP_Test_End                          0x4A               Status
                                                              Test Scenario

Description:

The HCI AMP Test End event shall be generated to indicate that the AMP has
transmitted or received the number of frames/bursts configured.

If the Receiver reports are enabled an HCI AMP Receiver Report event shall
be generated.

Event Parameters:

Status:                                                                             Size: 1 Octet
 Value                Parameter Description

 0x00                 AMP Test command succeeded
 0x01-0xFF            Test command failed. See [Vol 2] Part D, Error Codes

Test Scenario:                                                                      Size: 1 Octet
 Value                Parameter Description

 0xXX                 0x01 - Transmit single
                      0x02 – Receive frames
                      All other values are reserved for future use
                      Test Scenario for which the test end event has been generated




Appendix A: Test Support                                                            06 December 2016
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          Core System
          Package [Low Energy
          Controller volume]



          Specification of the Bluetooth® System

          Specification Volume 6




          Covered Core Package Version: 5.0
          Publication Date: Dec 06 2016
          Bluetooth SIG Proprietary
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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
https://www.bluetooth.org/en-us/specification/adopted-specifications




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    Core System Package [Low Energy Controller volume]
                                                               Part A




                  PART A: PHYSICAL LAYER
                           SPECIFICATION




                          This part of the specification describes
                          the Bluetooth low energy physical
                          layer.




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Physical Layer Specification


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Physical Layer Specification


1 SCOPE

Bluetooth Low Energy (LE) devices operate in the unlicensed 2.4 GHz ISM
(Industrial Scientific Medical) band. A frequency hopping transceiver is used to
combat interference and fading.1

Two modulation schemes are defined. The mandatory modulation scheme
(“1 Msym/s modulation”) uses a shaped, binary FM to minimize transceiver
complexity. The symbol rate is 1 Msym/s. An optional modulation scheme (“2
Msym/s modulation”) is similar but uses a symbol rate of 2 Msym/s.

The 1 Msym/s modulation supports two PHYs:
• LE 1M, with uncoded data at 1 Mb/s;
• LE Coded, with the Access Address, Coding Indicator, and TERM1 fields of
  the packet coded at 125 kb/s and the payload coded at either 125 kb/s or
  500 kb/s.

A device shall support the LE 1M PHY. Support for the LE Coded PHY is
optional.

The 2 Msym/s modulation supports a single PHY:
• LE 2M, with uncoded data at 2 Mb/s

A Time Division Duplex (TDD) scheme is used in both modes. This
specification defines the requirements for a Bluetooth radio for the Low Energy
radio.

Requirements are defined for two reasons:
• Provide compatibility between radios used in the system
• Define the quality of the system

An LE radio shall have a transmitter or a receiver, or both.

The LE radio shall fulfill the stated requirements for the operating conditions
declared by the equipment manufacturer (see Section A.1).

This specification is based on the established regulations for Europe, Japan,
North America, Taiwan, South Korea and China. The standard documents
listed below are only for information, and are subject to change or revision at
any time.




1. Note that the transceiver defined in this Part does not meet the requirements for ‘frequency
   hopping’ in some governmental regulations. See the Bluetooth Low Energy Regulatory
   Aspects White Paper for more information.


Scope                                                                           06 December 2016
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The Bluetooth SIG maintains regulatory content associated with Bluetooth
technology in the 2.4 GHz ISM band, posted at https://www.bluetooth.org/regu-
latory/newindex.cfm.

Europe:

Approval Standards: European Telecommunications Standards Institute, ETSI
Documents: EN 300 328, EN 300 440, EN 301 489-17

Japan:

Approval Standards: Japanese Radio Law, JRL
Documents: Japanese Radio Law: Article 4.3, Article 28, Article 29, Article 38

Radio Equipment Regulations: Article 5, Article 6, Article 7, Article 14,
Article 24, Article 9.4, Article 49.20.1.C.2, Article 49.20.1.E.3
Radio Law Enforcement Regulations: Article 6.2, Article 6.4.4.1, Article 7

North America:

Approval Standards: Federal Communications Commission, FCC, USA
Documents: CFR47, Part 15: Sections 15.205, 15.209 and 15.247

Approval Standards: Industry Canada, IC, Canada
Documents: RSS-210 and RSS139

Taiwan:

Approval Standards: National Communications Commission, NCC
Documents: Low Power 0002 (LP0002); Low-power Radio-frequency Devices
Technical Regulations

South Korea:

Approval Standards: Korea Communications Commission, KCC
Documents: Rules on Radio Equipment 2008-116

China:

Approval Standards: Ministry of Industry and Information Technology, MIIT
Documents: MIIT regulation [2002]353




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Physical Layer Specification


2 FREQUENCY BANDS AND CHANNEL
  ARRANGEMENT

The LE system operates in the 2.4 GHz ISM band at 2400-2483.5 MHz. The
LE system uses 40 RF channels. These RF channels have center frequencies
2402 + k * 2 MHz, where k = 0, ..., 39.

 Regulatory Range               RF Channels

 2.400-2.4835 GHz               f=2402+k*2 MHz, k=0, … ,39
Table 2.1: Operating frequency bands




Frequency Bands and Channel Arrangement                            06 December 2016
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3 TRANSMITTER CHARACTERISTICS

The requirements stated in this section are given as power levels at the
antenna connector of the LE device. If the device does not have a connector, a
reference antenna with 0 dBi gain is assumed.
Due to the difficulty in making accurate radiated measurements, systems with
an integral antenna should provide a temporary antenna connector during LE
PHY qualification testing.
For a transmitter, the output power level at the maximum power setting shall be
within the limits defined in Table 3.1.


 Minimum Output Power                        Maximum Output Power

 0.01 mW (-20 dBm)                           100 mW (+20 dBm)

Table 3.1: Transmission power

Devices shall not exceed the maximum allowed transmit power levels set by
the regulatory bodies that have jurisdiction over the locales in which the device
is to be sold or intended to operate. Implementers should be aware that the
maximum transmit power level permitted under a given set of regulations might
not be the same for all modulation modes.
Note: The maximum output power for LE in v4.0, v4.1, and v4.2 is 10 mW.
Note: Using high transmit power in use cases where short ranges could be
encountered may cause the receiver on the remote device to be saturated and
result in link failure. Implementers should avoid use of high output power in
such scenarios or employ a mechanism for switching between two or more
transmit power levels in an attempt to establish, re-establish, or maintain
connections.
The output power control of a device may be changed locally, for example to
optimize the power consumption or reduce interference to other equipment.
Bluetooth devices may be informatively classified into power classes based on
the highest output power the LE PHY supports, as defined in Table 3.2.

 Power Class                  Maximum Output Power (Pmax)       Minimum Output Power1

 1                            100 mW (+20 dBm)                  10 mW (+10 dBm)

 1.5                          10 mW (+10 dBm)                   0.01 mW (-20 dBm)
 2                            2.5 mW (+4 dBm)                   0.01 mW (-20 dBm)
 3                            1 mW (0 dBm)                      0.01 mW (-20 dBm)

Table 3.2: LE PHY power classes

 1. Minimum output power at maximum power setting

Transmitter Characteristics                                                   06 December 2016
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Physical Layer Specification


3.1 MODULATION CHARACTERISTICS
The modulation is Gaussian Frequency Shift Keying (GFSK) with a bandwidth-
bit period product BT=0.5. The modulation index shall be between 0.45 and
0.55. A binary one shall be represented by a positive frequency deviation, and
a binary zero shall be represented by a negative frequency deviation.


                                          Ideal Z ero C rossing
                    F t+fd




                                                                    Fm in-
       T ransm it
      F requency                                                                                       Tim e
           Ft
                               F m in +




                                                                                                     F t - fd
                                                                  Z ero C rossing E rror

Figure 3.1: GFSK parameters definition


For each transmission the minimum frequency deviation,
   Fmin = min { |Fmin+ | , Fmin- }

which corresponds to a 1010 sequence, shall be no smaller than ±80% of the
frequency deviation with respect to the transmit frequency, which corresponds
to a 00001111 sequence.

The minimum frequency deviation shall never be less than 185 kHz when
transmitting at 1 megasymbol per second (Msym/s) symbol rate and never be
less than 370 kHz when transmitting at 2 Msym/s symbol rate. The symbol
timing accuracy shall be better than ±50 ppm.

The zero crossing error is the time difference between the ideal symbol period
and the measured crossing time. This shall be less than ±1/8 of a symbol
period.




Transmitter Characteristics                                                                      06 December 2016
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3.1.1 Stable Modulation Index

An LE device with a transmitter that has a stable modulation index may inform
the receiving LE device of this fact through the feature support mechanism
(see [Vol 6] Part B, Section 4.6). The modulation index for these transmitters
shall be between 0.495 and 0.505. A device shall only state that it has a stable
modulation index if that applies to all LE transmitter PHYs it supports.

A transmitter that does not have a stable modulation index is said to have a
standard modulation index.

3.2 SPURIOUS EMISSIONS

3.2.1 Modulation Spectrum

For products intended to comply with FCC part 15.247 rules, the minimum 6 dB
bandwidth of the transmitter spectrum shall be at least 500 kHz using a
resolution bandwidth of 100 kHz.

3.2.2 In-band Spurious Emission

An adjacent channel power is specified for channels at least 2 MHz from the
carrier when transmitting with1 Msym/s modulation (applies to the LE 1M and
LE Coded PHYs) or at least 4 MHz from the carrier when transmitting with 2
Msym/s modulation (applies to the LE 2M PHY). This adjacent channel power
is defined as the sum of the measured power in a 1 MHz bandwidth.

The spectrum measurement shall be performed with a 100 kHz resolution
bandwidth and an average detector. The device shall transmit on an RF
channel with the center frequency M and the adjacent channel power shall be
measured on a 1 MHz RF frequency N. The transmitter shall transmit a pseudo
random data pattern in the payload throughout the test.

 Frequency offset                    Spurious Power

 2 MHz (|M-N| = 2)                   -20 dBm
 3 MHz or greater (|M-N| ≥ 3)        -30 dBm

Table 3.3: Transmit Spectrum mask when transmitting with 1 Msym/s modulation


 Frequency offset                    Spurious Power

 4 MHz (|M-N| = 4)                   -20 dBm

 5 MHz (|M-N| = 5)                   -20 dBm
 6 MHz or greater (|M-N| ≥ 6)        -30 dBm
Table 3.4: Transmit Spectrum mask when transmitting with 2 Msym/s modulation




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Exceptions are allowed in up to three bands of 1 MHz width, centered on a
frequency which is an integer multiple of 1 MHz. These exceptions shall have
an absolute value of -20 dBm or less.

3.2.3 Out-of-band Spurious Emission

The equipment manufacturer is responsible for the ISM out-of-band spurious
emissions requirements in the intended countries of sale.

3.3 RADIO FREQUENCY TOLERANCE
The deviation of the center frequency during the packet shall not exceed
±150 kHz, including both the initial frequency offset and drift. The frequency
drift during any packet shall be less than 50 kHz. The drift rate shall be less
than 400 Hz/µs.

The limits on the transmitter center frequency drift within a packet is shown in
Table 3.5.

 Parameter                             Frequency Drift

 Maximum drift                         ±50 kHz

 Maximum drift rate1                   400 Hz/μs

Table 3.5: Maximum allowable frequency drifts in a packet
 1. The maximum drift rate is allowed anywhere in a packet.




Transmitter Characteristics                                           06 December 2016
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4 RECEIVER CHARACTERISTICS

The reference sensitivity level referred to in this chapter is -70 dBm. The
packet error rate corresponding to the defined bit error ratio (BER) shall be
used in all receiver characteristic measurements.

4.1 ACTUAL SENSITIVITY LEVEL
The actual sensitivity level is defined as the receiver input level for which the
BER specified in Table 4.1 is achieved.

 Maximum Supported Payload Length (bytes)                 BER (%)

 ≤ 37                                                     0.1

 ≥ 38 and ≤ 63                                            0.064
 ≥ 64 and ≤ 127                                           0.034
 ≥ 128                                                    0.017

Table 4.1: Actual sensitivity BER by maximum payload length

The actual sensitivity level of the receiver for a given PHY shall be as specified
in Table 4.2. This shall apply with any transmitter compliant to the transmitter
specification specified in Section 3 together with any combination of the
following allowed parameter variations:
• Initial frequency offset
• Frequency drift
• Symbol rate
• Frequency deviation

                                                  Sensitivity
 PHY                                              (dBm)

 LE Uncoded PHYs                                  ≤ -70
 LE Coded PHY with S=2 coding                     ≤ -75

 LE Coded PHY with S=8 coding                     ≤ -82
Table 4.2: Receiver sensitivity for a given PHY




Receiver Characteristics                                                  06 December 2016
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4.2 INTERFERENCE PERFORMANCE
The interference performance shall be measured with a wanted signal 3 dB
over the reference sensitivity level. If the frequency of an interfering signal is
outside of the band 2400-2483.5 MHz, the out-of-band blocking specification
(see Section 4.3) shall apply. Both the desired and the interfering signal shall
be reference signals as specified in Section 4.6. The BER shall be ≤0.1% for all
the signal-to-interference ratios listed in Table 4.3, Table 4.4, Table 4.5, and
Table 4.6:



 Frequency of Interference                                                        Ratio

 Co-Channel interference, C/Ico-channel                                           21 dB

 Adjacent (1 MHz) interference1, C/I1 MHz                                         15 dB

 Adjacent (2 MHz) interference1, C/I2 MHz                                         -17 dB

 Adjacent (≥3 MHz) interference1, C/I≥3 MHz                                       -27 dB

 Image frequency interference1 2 3, C/IImage                                      -9 dB

 Adjacent (1 MHz) interference to in-band image frequency1, C/IImage±1MHz         -15 dB


Table 4.3: Interference performance for LE 1M PHY


 Frequency of Interference                                                        Ratio

 Co-Channel interference, C/Ico-channel                                           21 dB

 Adjacent (2 MHz) interference1, C/I2 MHz                                         15 dB

 Adjacent (4 MHz) interference1, C/I4 MHz                                         -17 dB

 Adjacent (≥6 MHz) interference1, C/I≥6 MHz                                       -27 dB

 Image frequency interference1 2 4, C/IImage                                      -9 dB

 Adjacent (2 MHz) interference to in-band image frequency1, C/IImage±2MHz         -15 dB

Table 4.4: Interference performance for LE 2M PHY



 Frequency of Interference                                            Ratio

 Co-Channel interference, C/Ico-channel                               12 dB

 Adjacent (1 MHz) interference1, C/I1 MHz                             6 dB

 Adjacent (2 MHz) interference1, C/I2 MHz                             -26 dB

Table 4.5: Interference performance for the LE Coded PHY with S=8 coding (125 kb/s data rate)

Receiver Characteristics                                                          06 December 2016
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 Frequency of Interference                                           Ratio

 Adjacent (≥3 MHz) interference1, C/I≥3 MHz                          -36 dB

 Image frequency interference1 2 3, C/IImage                         -18 dB

 Adjacent (1 MHz) interference to in-band image frequency1,          -24 dB
 C/IImage±2MHz

Table 4.5: Interference performance for the LE Coded PHY with S=8 coding (125 kb/s data rate)



 Frequency of Interference                                           Ratio

 Co-Channel interference, C/Ico-channel                              17 dB

 Adjacent (1 MHz) interference1, C/I1 MHz                            11 dB

 Adjacent (2 MHz) interference1, C/I2 MHz                            -21 dB

 Adjacent (≥3 MHz) interference1, C/I≥3 MHz                          -31 dB

 Image frequency interference1 2 3, C/IImage                         -13 dB

 Adjacent (1 MHz) interference to in-band image frequency1,          -19 dB
 C/IImage±2MHz

Table 4.6: Interference performance for the LE Coded PHY with S=2 coding (500 kb/s data rate)

Notes:
1. If two adjacent frequency specifications from Table 4.3, Table 4.4, Table 4.5,
   or Table 4.6 (as appropriate) are applicable to the same frequency, the more
   relaxed specification applies.
2. In-band image frequency.
3. If the image frequency ≠ n*1 MHz, then the image reference frequency is
   defined as the closest n*1 MHz frequency for integer n.
4. If the image frequency ≠ n*2 MHz, then the image reference frequency is
   defined as the closest n*2 MHz frequency for integer n.

Any frequencies where the requirements are not met are called spurious
response RF channels. Five spurious response RF channels are allowed with
a distance of ≥2 MHz from the wanted signal when receiving with 1 Msym/s
modulation and a distance of ≥4 MHz when receiving with 2 Msym/s
modulation; different spurious response channels are allowed for the two
modulation schemes. This excludes the image frequency with both 1 Msym/s
and 2 Msym/s modulation, the image frequency ±1MHz with 1 Msym/s
modulation, and the image frequency ±2 MHz with 2 Msym/s modulation. On
these spurious response RF channels, a relaxed interference requirement C/I
= -17 dB shall be met by both 1 Msym/s and 2 Msym/s modulation
transmitters.

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4.3 OUT-OF-BAND BLOCKING
The out-of-band blocking applies to interfering signals outside the band
2400-2483.5 MHz. The out-of-band suppression (or rejection) shall be
measured with a wanted signal 3 dB over the reference sensitivity level. The
interfering signal shall be a continuous wave signal. The desired signal shall be
a reference signal as specified in Section 4.6, with a center frequency of
2426 MHz. The BER shall be ≤ 0.1%. The out-of-band blocking shall fulfill the
following requirements:

 Interfering Signal             Interfering Signal Power
 Frequency                      Level                            Measurement resolution

 30 MHz – 2000 MHz              -30 dBm                          10 MHz

 2003 – 2399 MHz                -35 dBm                          3 MHz
 2484 – 2997 MHz                -35 dBm                          3 MHz

 3000 MHz – 12.75 GHz           -30 dBm                          25 MHz
Table 4.7: Out-of-band suppression (or rejection) requirements

Up to 10 exceptions are permitted, which are dependent upon the given RF
channel and are centered at a frequency which is an integer multiple of 1 MHz:
• For at least 7 of these spurious response frequencies, a reduced
  interference level of at least -50 dBm is allowed in order to achieve the
  required BER ≤ 0.1%.
• For a maximum of 3 of the spurious response frequencies, the interference
  level may be lower.




Receiver Characteristics                                                        06 December 2016
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4.4 INTERMODULATION CHARACTERISTICS
The actual sensitivity performance, BER ≤ 0.1%, shall be met under the
following conditions:
• The wanted signal shall be at a frequency f0 with a power level 6 dB over the
  reference sensitivity level. The wanted signal shall be a reference signal as
  specified in Section 4.6.
• A static sine wave signal shall be at a frequency f1 with a power level of -50
  dBm.
• An interfering signal shall be at a frequency f2 with a power level of -50 dBm.
  The interfering signal shall be a reference signal as specified in Section 4.6.

When receiving with 1 Msym/s modulation, frequencies f0, f1 and f2 shall be
chosen such that f0 = 2*f1 - f2 and
| f2-f1 | = n * 1 MHz, where n can be 3, 4, or 5.

When receiving with 2 Msym/s modulation, frequencies f0, f1 and f2 shall be
chosen such that
f0 = 2*f1 - f2 and
| f2-f1 | = n * 2 MHz, where n can be 3, 4, or 5.

The system shall fulfill at least one of the three alternatives (n=3, 4, or 5);
different modulation schemes can use different alternatives.

4.5 MAXIMUM USABLE LEVEL
The maximum usable input level the receiver can operate at shall be greater
than -10 dBm, and the BER shall be less than or equal to 0.1% at -10 dBm
input power. The input signal shall be a reference signal as specified in Section
4.6.




Receiver Characteristics                                                06 December 2016
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4.6 REFERENCE SIGNAL DEFINITION
The reference signal for LE is defined as:
   Modulation = GFSK
   Modulation index = 0.5 ± 1% for standard modulation index, 0.5 ± 0.5% for
   stable modulation index
   BT = 0.5 ± 1%
   Data Bit Rate =
• 1 Mb/s ±1 ppm for the LE 1M PHY
• 2 Mb/s ±1 ppm for the LE 2M PHY
• 125 kb/s ±1 ppm for the LE Coded PHY when using S=8 coding
• 500 kb/s ±1 ppm for the LE Coded PHY when using S=2 coding
   Modulating Data for wanted signal = PRBS9
   Modulating Data for interfering signal = PRBS15
   Frequency accuracy better than ±1 ppm

4.7 STABLE MODULATION INDEX
An LE device may have a receiver that can take advantage of the fact that the
remote device indicates support for the Stable Modulation Index - Transmitter
feature (see [Vol 6] Part B, Section 4.6). Such a receiver is said to have stable
modulation index support.




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Physical Layer Specification


APPENDIX A TEST CONDITIONS

A.1 NORMAL OPERATING CONDITIONS (NOC)

A.1.1 Normal Temperature and Air Humidity

The normal operating temperature shall be declared by the product
manufacturer. The nominal test temperature shall be within ±10°C of the
normal operating temperature.

A.1.2 Nominal Supply Voltage

The nominal test voltage for the equipment under normal test conditions shall
be the nominal supply voltage as declared by the product manufacturer.




Appendix A: Test Conditions                                        06 December 2016
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    Core System Package [Low Energy Controller volume]
                                                               Part B




                            PART B: LINK LAYER
                                SPECIFICATION




                          This part of the specification describes
                          the Bluetooth low energy Link Layer.




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Link Layer Specification


1 GENERAL DESCRIPTION

1.1 LINK LAYER STATES
The operation of the Link Layer can be described in terms of a state machine
with the following five states:
• Standby State
• Advertising State
• Scanning State
• Initiating State
• Connection State

The Link Layer state machine allows only one state to be active at a time. The
Link Layer shall have at least one Link Layer state machine that supports one
of Advertising State or Scanning State. The Link Layer may have multiple
instances of the Link Layer state machine.

The Link Layer in the Standby State does not transmit or receive any packets.
The Standby State can be entered from any other state.

The Link Layer in the Advertising State will be transmitting advertising channel
packets and possibly listening to and responding to responses triggered by
these advertising channel packets. A device in the Advertising State is known
as an advertiser. The Advertising State can be entered from the Standby State.

The Link Layer in the Scanning State will be listening for advertising channel
packets from devices that are advertising. A device in the Scanning State is
known as a scanner. The Scanning State can be entered from the Standby
State.

The Link Layer in the Initiating State will be listening for advertising channel
packets from a specific device(s) and responding to these packets to initiate a
connection with another device. A device in the Initiating State is known as an
initiator. The Initiating State can be entered from the Standby State.

The Connection State can be entered either from the Initiating State or the
Advertising State. A device in the Connection State is known as being in a
connection.

Within the Connection State, two roles are defined:
• Master Role
• Slave Role




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When entered from the Initiating State, the Connection State shall be in the
Master Role. When entered from the Advertising State, the Connection State
shall be in the Slave Role.

The Link Layer in the Master Role will communicate with a device in the Slave
Role and defines the timings of transmissions.

The Link Layer in the Slave Role will communicate with a single device in the
Master Role.




                                           Scanning




                      Advertising          Standby          Initiating




                                          Connection




Figure 1.1: State diagram of the Link Layer state machine


1.1.1 Permitted State and Role Combination Restrictions

The Link Layer may optionally support multiple state machines. If it does
support multiple state machines, then:
• The Link Layer in the Connection State may operate in the Master Role and
  Slave Role at the same time.
• The Link Layer in the Connection State operating in the Slave Role may
  have multiple connections.
• The Link Layer in the Connection State operating in the Master Role may
  have multiple connections.
• All other combinations of states and roles may also be supported.
• The Link Layer in the Connection State shall have at most one connection to
  another Link Layer in the Connection State.

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A Link Layer implementation is not required to support all the possible state
combinations that are allowed by this specification. However, if it supports a
state or state combination given in the "combination A" column of Table 1.1, it
shall also support the corresponding state or state combination in the
"combination B" column.

 Combination A                                   Combination B

 Initiating plus any combination C of other      Connection (Master role) plus the same
 states                                          combination C
 Connection (Master role) plus Initiating plus   Connection (Master role) to more than one
 any combination C of other states               device in the slave role plus the same
                                                 combination C

 Connectable or a directed advertising state     Connection (Slave role) plus the same
 plus any combination C of other states          combination C
 Connection (Slave role) plus Connectable or     Connection (Slave role) to more than one
 a directed advertising state plus any combi-    device in the Master role plus the same
 nation C of other states                        combination C

Table 1.1: Requirements on supported states and state combinations

In each case, the combination of other states C may be empty. Note that, in the
last two rows, "other states" includes other Connectable or directed advertising
states.

1.1.2 Devices supporting only some states

Devices supporting only some link layer states or only one of the two roles
within the Connection State are not required to support features (including
supporting particular PDUs, procedures, data lengths, or HCI commands or
particular features of an HCI command) that are only used by a state or mode
that the device does not support.

1.2 BIT ORDERING
The bit ordering when defining fields within the packet or Protocol Data Unit
(PDU) in the Link Layer specification follows the Little Endian format. The
following rules apply:
• The Least Significant Bit (LSB) corresponds to b0
• The LSB is the first bit sent over the air
• In illustrations, the LSB is shown on the left side

Furthermore, data fields defined in the Link Layer, such as the PDU header
fields, shall be transmitted with the LSB first. For instance, a 3-bit parameter
X=3 is sent as:
   b0b1b2 = 110


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Over the air, 1 is sent first, 1 is sent next, and 0 is sent last. This is shown as
110 in the specification.

Binary field values specified in this specification that follow the format
10101010b (e.g., the advertising channel Access Address in Section 2.1.2) are
written with the MSB to the left. There are two basic formats: one for the LE
Uncoded PHYs, described in Section 2.1, and one for the LE Coded PHY,
described in Section 2.2.

Multi-octet fields, with the exception of the Cyclic Redundancy Check (CRC)
and the Message Integrity Check (MIC), shall be transmitted with the least
significant octet first. Each octet within multi-octet fields, with the exception of
the CRC (see Section 3.1.1), shall be transmitted in LSB first order. For
example, the 48-bit addresses in the advertising channel PDUs shall be
transmitted with the least significant octet first, followed by the remainder of the
five octets in increasing order.

Multi-octet field values specified in this specification (e.g. the CRC initial value
in Section 2.3.3.1) are written with the most significant octet to the left; for
example in 0x112233445566, the octet 0x11 is the most significant octet.

1.3 DEVICE ADDRESS
Devices are identified using a device address. Device addresses may be either
a public device address or a random device address. A public device address
and a random device address are both 48 bits in length.

A device shall use at least one type of device address and may contain both.

A device's Identity Address is a Public Device Address or Random Static
Device Address that it uses in packets it transmits. If a device is using
Resolvable Private Addresses, it shall also have an Identity Address.

1.3.1 Public Device Address

The public device address shall be created in accordance with [Vol 2] Part B,
Section 1.2, with the exception that the restriction on LAP values does not
apply unless the public device address will also be used as a BD_ADDR for a
BR/EDR Controller.




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1.3.2 Random Device Address

The random device address may be of either of the following two sub-types:
• Static address
• Private address.

The term random device address refers to both static and private address
types.

The transmission of a random device address is optional. A device shall accept
the reception of a random device address from a remote device.

1.3.2.1 Static Device Address

A static address is a 48-bit randomly generated address and shall meet the
following requirements:
• The two most significant bits of the address shall be equal to 1
• At least one bit of the random part of the address shall be 0
• At least one bit of the random part of the address shall be 1

The format of a static address is shown in Figure 1.2.


             LSB                                                      MSB


                               Random part of static address      1    1

                                            static address
                                               (48 bits)


Figure 1.2: Format of static address


A device may choose to initialize its static address to a new value after each
power cycle. A device shall not change its static address value once initialized
until the device is power cycled.

Note: If the static address of a device is changed, then the address stored in
peer devices will not be valid and the ability to reconnect using the old address
will be lost.




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1.3.2.2 Private Device Address Generation

The private address may be of either of the following two sub-types:
• Non-resolvable private address
• Resolvable private address

To generate a non-resolvable address, the device shall generate a 48-bit
address with the following requirements:
• The two most significant bits of the address shall be equal to 0
• At least one bit of the random part of the address shall be 1
• At least one bit of the random part of the address shall be 0
• The address shall not be equal to the public address

The format of a non-resolvable private address is shown in Figure 1.3.


             LSB                                                                      MSB


                            Random part of non-resolvable address                0     0
                                      Non-resolvable private address
                                                 (48 bits)


Figure 1.3: Format of non-resolvable private address


To generate a resolvable private address, the device must have either the
Local Identity Resolving Key (IRK) or the Peer Identity Resolving Key (IRK).
The resolvable private address shall be generated with the IRK and a randomly
generated 24-bit number. The random number is known as prand and shall
meet the following requirements:
• The two most significant bits of prand shall be equal to 0 and 1 as shown in
  Figure 1.4
• At least one bit of the random part of prand shall be 0
• At least one bit of the random part of prand shall be 1

The format of the resolvable private address is shown in Figure 1.4.


            LSB                                                                        MSB


                                                      Random part of prand       1    0
                          hash                                       prand
                        (24 bits)                                   (24 bits)


Figure 1.4: Format of resolvable private address



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The hash is generated using the random address function ah defined in [Vol 3]
Part H, Section 2.2.2 with the input parameter k set to the device’s IRK and the
input parameter r set to prand.
               hash = ah(IRK, prand)

The prand and hash are concatenated to generate the random address
(randomAddress) in the following manner:
               randomAddress = hash || prand

The least significant octet of hash becomes the least significant octet of
randomAddress and the most significant octet of prand becomes the most
significant octet of randomAddress.

1.3.2.3 Private Device Address Resolution

A resolvable private address may be resolved if the corresponding device’s
IRK is available using this procedure. If a resolvable private address is
resolved, the device can associate this address with the peer device.

The resolvable private address (RPA) is divided into a 24-bit random part
(prand) and a 24-bit hash part (hash). The least significant octet of the RPA
becomes the least significant octet of hash and the most significant octet of
RPA becomes the most significant octet of prand. A localHash value is then
generated using the random address hash function ah defined in [Vol 3] Part H,
Section 2.2.2 with the input parameter k set to IRK of the known device and the
input parameter r set to the prand value extracted from the RPA.
               localHash = ah(IRK, prand)

The localHash value is then compared with the hash value extracted from RPA.
If the localHash value matches the extracted hash value, then the identity of
the peer device has been resolved.

If a device has more than one stored IRK, the device repeats the above
procedure for each stored IRK to determine if the received resolvable private
address is associated with a stored IRK, until either address resolution is
successful for one of the IRKs or all have been tried.

Note: A device that cannot resolve a private address within T_IFS may respond
on the reception of the next event.

A non-resolvable private address cannot be resolved.




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1.4 PHYSICAL CHANNEL
As specified in [Vol 6] Part A, Section 2, 40 RF channels are defined in the
2.4GHz ISM band. These RF channels are allocated into three LE physical
channels: advertising, periodic, and data. The advertising physical channel
uses all 40 RF channels for discovering devices, initiating a connection and
broadcasting data. These RF channels are divided into 3 RF channels, known
as the "primary advertising channel", used for initial advertising and all legacy
advertising activities, and 37 RF channels, known as the "secondary
advertising channel", used for the majority of the communications involved.
The data physical channel uses up to 37 (see Section 4.5.8) RF channels for
communication between connected devices. Each of these RF channels is
allocated a unique channel index (see Section 1.4.1). The periodic physical
channel uses the same RF channels as the secondary advertising channel
over the advertising physical channel.

Two devices that wish to communicate use a shared physical channel. To
achieve this, their transceivers must be tuned to the same RF channel at the
same time.

Given that the number of RF channels is limited, and that many Bluetooth
devices may be operating independently within the same spatial and temporal
area, there is a strong likelihood of two independent Bluetooth devices having
their transceivers tuned to the same RF channel, resulting in a physical
channel collision. To mitigate the unwanted effects of this collision, each
transmission on a physical channel starts with an Access Address that is used
as a correlation code by devices tuned to the physical channel. This Access
Address is a property of the physical channel. The Access Address is present
at the start of every transmitted packet.

The Link Layer uses one physical channel at a given time.

Whenever the Link Layer is synchronized to the timing, frequency, and Access
Address of a physical channel, it is said to be 'connected' on the data physical
channel or ‘synchronized’ to the periodic physical channel (whether or not it is
actively involved in communications over the channel).




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1.4.1 Advertising and Data Channel Indices

Table 1.2 shows the mapping from PHY Channel to Channel Index and
Channel Type. An ‘●’ in the table below indicates the PHY channel and index
are used by the specified channel type.

                                                         Channel Type

 RF              RF Center    Channel                      Primary           Secondary
 Channel         Frequency     Index           Data       Advertising        Advertising

      0          2402 MHz        37                            ●
      1          2404 MHz        0              ●                                   ●
      2          2406 MHz        1              ●                                   ●
     ...         …               …              …              …                   …
     11          2424 MHz        10             ●                                   ●
    12           2426 MHz        38                            ●
    13           2428 MHz        11             ●                                   ●
    14           2430 MHz        12             ●                                   ●
     ...         …               …              …              …                   …
    38           2478 MHz        36             ●                                   ●
    39           2480 MHz        39                            ●
Table 1.2: Mapping of PHY Channel to Channel Index and Channel Type




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2 AIR INTERFACE PACKETS

LE devices shall use the packets as defined in the following sections.

2.1 PACKET FORMAT FOR THE LE UNCODED PHYS
The following packet format is defined for the LE Uncoded PHYs (LE 1M and
LE 2M) and is used for both advertising channel packets and data channel
packets.

This packet format is shown in Figure 2.1. Each packet consists of four
mandatory fields. The mandatory fields are Preamble, Access Address, PDU,
and CRC.


    LSB                                                                                 MSB
       Preamble            Access Address                      PDU                   CRC
    (1 or 2 octets)          (4 octets)               (2 to 257 octets)           (3 octets)

Figure 2.1: Link Layer packet format for the LE Uncoded PHYs


The preamble is 1 octet when transmitting or receiving on the LE 1M PHY and
2 octets when transmitting or receiving on the LE 2M PHY. The Access
Address is 4 octets. The PDU range is from 2 to 257 octets. The CRC is 3
octets.

The Preamble is transmitted first, followed by the Access Address, followed by
the PDU followed by the CRC. The entire packet is transmitted at the same
symbol rate (either 1 Msym/s or 2 Msym/s modulation).

Packets take between 44 and 2120 µs to transmit.

2.1.1 Preamble

All Link Layer packets have a preamble which is used in the receiver to perform
frequency synchronization, symbol timing estimation, and Automatic Gain
Control (AGC) training. The preamble is a fixed sequence of alternating 0 and
1 bits. For packets transmitted on the LE 1M PHY, the preamble is 8 bits; for
packets transmitted on the LE 2M PHY, the preamble is 16 bits. The first bit of
the preamble (in transmission order) shall be the same as the LSB of the
Access Address. The preamble is shown in Figure 2.2.




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                        LSB                                LSB
    10101010 1…..                               01010101 0…..
    preamble Access                             preamble Access
             address                                     address
                              Preamble for LE 1M packets


                               LSB                                       LSB
   1010101010101010 1…..                       0101010101010101 0…..
       preamble     Access                         preamble     Access
                    address                                     address
                              Preamble for LE 2M packets
Figure 2.2: Preamble


2.1.2 Access Address

The AUX_SYNC_IND PDU, and any AUX_CHAIN_IND PDUs connected to it,
shall use the Access Address (AA) value set in the SyncInfo field (see Section
2.3.4.6) contained in the AUX_ADV_IND PDU that describes the periodic
advertising.

The Access Address for all other advertising channel packets shall be
10001110100010011011111011010110b (0x8E89BED6).

It is intended that each Link Layer connection between any two devices and
each periodic advertisement has a different Access Address.

The Link Layer in the Initiating State shall generate a new Access Address for
each initiating PDU it sends (see Section 2.3.3.1). The Link Layer in the
Advertising State shall generate a new Access Address each time that it
enables periodic advertising on an advertising set. The address is sent in the
SyncInfo field (see Section 2.3.4.6) of PDUs referring to that periodic
advertising.

The Access Address shall be a 32-bit value. Each time it needs a new Access
Address, the Link Layer shall generate a new random value that meets the
following requirements:
• It shall not be the Access Address for any existing Link Layer connection on
  this device.
• It shall not be the Access Address for any enabled periodic advertising.
• It shall have no more than six consecutive zeros or ones.
• It shall not be the advertising channel packets’ Access Address.



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• It shall not be a sequence that differs from the advertising channel packets’
  Access Address by only one bit.
• It shall not have all four octets equal.
• It shall have no more than 24 transitions.
• It shall have a minimum of two transitions in the most significant six bits.

The seed for the random number generator shall be from a physical source of
entropy and should have at least 20 bits of entropy.

If the random number does not meet the above requirements, new random
numbers shall be generated until the requirements are met.

On an implementation that also supports the LE Coded PHY (see Section 2.2,
the Access Address shall also meet the following requirements:
• It shall have at least three ones in the least significant 8 bits.
• It shall have no more than eleven transitions in the least significant 16 bits.

2.1.3 PDU

The preamble and Access Address are followed by a PDU. When a packet is
transmitted on either the primary or secondary advertising channel, the PDU
shall be the Advertising Channel PDU as defined in Section 2.3. When a
packet is transmitted on the data physical channel, the PDU shall be the Data
Channel PDU as defined in Section 2.4.

2.1.4 CRC

At the end of every Link Layer packet there is a 24-bit CRC. It shall be
calculated over the PDU. The CRC polynomial is defined in Section 3.1.1.




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2.2 PACKET FORMAT FOR THE LE CODED PHY
The following packet format is defined for the LE Coded PHY and is used for
both advertising channel packets and data channel packets. This packet format
is shown in Figure 2.3.
.
                                      S=8 coding                         S=2 or S=8 coding

         80 μs               256 μs         16 μs    24 μs           N*8*S μs    24*S μs       3*S μs


      Preamble          Access Address        CI    TERM1      PDU, N bytes         CRC TERM2

                                  FEC block 1                             FEC block 2
Figure 2.3: Link Layer packet format for the LE Coded PHY


Each packet consists of the Preamble, FEC block 1, and FEC block 2.

The Preamble is not coded.

The FEC block 1 consists of three fields: Access Address, Coding Indicator
(CI), and TERM1. These shall use the S=8 coding scheme as defined in
Section 3.3.1.

The CI field determines which coding scheme is used for FEC block 2.

The FEC block 2 consists of three fields: PDU, CRC, and TERM2. These shall
use either the S=2 or S=8 coding scheme as defined in Section 3.3, depending
on the value of the CI field.

The entire packet is transmitted with 1 Msym/s modulation.

Table 2.1 captures the size and duration of the data packet fields.

                                                              Fields

                                         Access
                          Preamble       Address     CI      TERM1         PDU          CRC       TERM2

 Number of Bits           Uncoded           32       2         3        16 – 2056         24            3

 Duration when               80            256       16       24       128 – 16448       192         24
 using S=8 coding
 (µs)
 Duration when               80            256       16       24        32 – 4112         48            6
 using S=2 coding
 (µs)
Table 2.1: LE Coded PHY field sizes and durations in microseconds

Packets take between 462 and 17040 µs to transmit.



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2.2.1 Preamble

The Preamble is 80 symbols in length and consists of 10 repetitions of the
symbol pattern '00111100' (in transmission order).

2.2.2 Access Address

The Access Address is specified in Section 2.1.2.

2.2.3 Coding Indication

The CI field consists of two bits as defined in Table 2.2.

 CI Field               Meaning

 00b                    FEC Block 2 coded using S=8
 01b                    FEC Block 2 coded using S=2

 All other values       Reserved for future use
Table 2.2: Meaning of CI field


2.2.4 PDU

When a packet is transmitted on either the primary or secondary advertising
channel, the PDU shall be the Advertising Channel PDU as defined in Section
2.3. When a packet is transmitted on the data physical channel, the PDU shall
be the Data Channel PDU as defined in Section 2.4.

2.2.5 CRC

The CRC is 24 bits in length and the value is calculated over all the PDU bits.
The CRC generator polynomial is defined in Section 3.1.1.

2.2.6 TERM1 and TERM2

There is a termination field at the end of each FEC block referred to as TERM1
and TERM2. Each termination field is 3 bits long and forms the termination
sequence defined in Section 3.3.1.




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2.3 ADVERTISING CHANNEL PDU
The advertising channel PDU has a 16-bit header and a variable size payload.
Its format is as shown in Figure 2.4. The 16-bit Header field of the advertising
channel PDU is as shown in Figure 2.5.


    LSB                                                                    MSB
    Header                  Payload
    (16 bits)               (1-255 octets)


Figure 2.4: Advertising channel PDU




    LSB                                                                                             MSB
    PDU Type            RFU             ChSel          TxAdd            RxAdd            Length
    (4 bits)            (1 bit)         (1 bit)        (1 bit)          (1 bit)          (8 bits)


Figure 2.5: Advertising channel PDU Header


The PDU Type field of the advertising channel PDU that is contained in the
header indicates the PDU type as defined in Table 2.3. This table also shows
which channel and which PHYs the packet may appear on.

                                                                                      Permitted PHYs

                                                                                                       LE
 PDU Type         PDU Name                        Channel                     LE 1M       LE 2M       Coded

 0000b            ADV_IND                         Primary Advertising             ●
 0001b            ADV_DIRECT_IND                  Primary Advertising             ●
 0010b            ADV_NONCONN_IND                 Primary Advertising             ●

                  SCAN_REQ                        Primary Advertising             ●
 0011b
                  AUX_SCAN_REQ                    Secondary Advertising           ●          ●            ●

 0100b            SCAN_RSP                        Primary Advertising             ●

                  CONNECT_IND                     Primary Advertising             ●
 0101b
                  AUX_CONNECT_REQ                 Secondary Advertising           ●          ●            ●

 0110b            ADV_SCAN_IND                    Primary Advertising             ●

Table 2.3: Advertising channel PDU Header’s PDU Type field encoding




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                                                                          Permitted PHYs

                                                                                           LE
 PDU Type         PDU Name                  Channel                 LE 1M     LE 2M       Coded

                  ADV_EXT_IND               Primary Advertising       ●                       ●

                  AUX_ADV_IND               Secondary Advertising     ●           ●           ●

 0111b            AUX_SCAN_RSP              Secondary Advertising     ●           ●           ●

                  AUX_SYNC_IND              Secondary Advertising     ●           ●           ●

                  AUX_CHAIN_IND             Secondary Advertising     ●           ●           ●

 1000b            AUX_CONNECT_RSP           Secondary Advertising     ●           ●           ●

 All other        Reserved for Future Use
 values
Table 2.3: Advertising channel PDU Header’s PDU Type field encoding

Each PDU shall only appear on those PHYs indicated with a bullet ‘●’ and on
the Advertising Channel shown in Table 2.3.

The ChSel, TxAdd and RxAdd fields of the advertising channel PDU that are
contained in the header contain information specific to the PDU type defined
for each advertising channel PDU separately. If the ChSel, TxAdd or RxAdd
fields are not defined as used in a given PDU then they shall be considered
Reserved for Future Use.

The Length field of the advertising channel PDU header indicates the payload
field length in octets. The valid range of the Length field shall be 1 to 255
octets.

The Payload fields in the advertising channel PDUs are specific to the PDU
Type and are defined in Section 2.3.1 through Section 2.3.4. The PDU Types
marked as Reserved for future use shall not be sent and shall be ignored upon
receipt.

Within advertising channel PDUs, advertising data or scan response data from
the Host may be included in the Payload in some PDU Types. The format of
this data is defined in [Vol 3] Part C, Section 11.

Some advertising channel PDUs contain an AuxPtr field (see Section 2.3.4.5)
which points to a packet containing another advertising channel PDU. In this
case, the second packet and PDU are the auxiliary packet and auxiliary PDU of
the original PDU, which in turn is the superior packet and superior PDU of the
second one. Note that a PDU can only have one auxiliary PDU but more than
one superior PDU.

Given a packet, its subordinate set consists of its auxiliary packet, if any, and
the subordinate set of the auxiliary packet. A packet without an AuxPtr field has
an empty subordinate set.

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2.3.1 Advertising PDUs

The following advertising channel PDU Types are called advertising PDUs:
• ADV_IND
• ADV_DIRECT_IND
• ADV_NONCONN_IND
• ADV_SCAN_IND
• ADV_EXT_IND
• AUX_ADV_IND
• AUX_SYNC_IND
• AUX_CHAIN_IND

These PDUs are sent by the Link Layer in the Advertising State and received
by a Link Layer in the Scanning State or Initiating State. The ADV_IND,
ADV_DIRECT_IND, ADV_NONCONN_IND, and ADV_SCAN_IND PDUs are
called “legacy advertising PDUs”. The ADV_EXT_IND, AUX_ADV_IND,
AUX_SYNC_IND, and AUX_CHAIN_IND PDUs are called “extended
advertising PDUs”. Advertising events using legacy advertising PDUs are
called “legacy advertising events”.

2.3.1.1 ADV_IND

The ADV_IND PDU has the Payload as shown in Figure 2.6. The PDU shall be
used in connectable and scannable undirected advertising events. The TxAdd
in the advertising channel PDU header indicates whether the advertiser’s
address in the AdvA field is public (TxAdd = 0) or random (TxAdd = 1). The
ChSel field in the advertising channel PDU header shall be set to 1 if the
advertiser supports the LE Channel Selection Algorithm #2 feature (see
Section 4.5.8.3).

                  Payload

        AdvA                AdvData
     (6 octets)         (0-31 octets)
Figure 2.6: ADV_IND PDU Payload

The Payload field consists of AdvA and AdvData fields. The AdvA field shall
contain the advertiser’s public or random device address as indicated by
TxAdd. The AdvData field may contain Advertising Data from the advertiser’s
Host.




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2.3.1.2 ADV_DIRECT_IND

The ADV_DIRECT_IND PDU has the Payload as shown in Figure 2.7. The
PDU shall be used in connectable directed advertising events. The TxAdd in
the advertising channel PDU header indicates whether the advertiser’s
address in the AdvA field is public (TxAdd = 0) or random (TxAdd = 1). The
RxAdd in the advertising channel PDU header indicates whether the target’s
address in the TargetA field is public (RxAdd = 0) or random (RxAdd = 1). The
ChSel field in the advertising channel PDU header shall be set to 1 if the
advertiser supports the LE Channel Selection Algorithm #2 feature (see
Section 4.5.8.3).

                  Payload

        AdvA                TargetA
     (6 octets)             (6 octets)
Figure 2.7: ADV_DIRECT_IND PDU Payload

The Payload field consists of AdvA and TargetA fields. The AdvA field shall
contain the advertiser’s public or random device address as indicated by
TxAdd. The TargetA field is the address of the device to which this PDU is
addressed. The TargetA field shall contain the target’s public or random device
address as indicated by RxAdd.

Note: This packet does not contain any Host data.

2.3.1.3 ADV_NONCONN_IND

The ADV_NONCONN_IND PDU has the Payload as shown in Figure 2.8. The
PDU shall be used in non-connectable and non-scannable undirected
advertising events. The TxAdd in the advertising channel PDU header indicates
whether the advertiser’s address in the AdvA field is public (TxAdd = 0) or
random (TxAdd = 1).

                  Payload

        AdvA                AdvData
     (6 octets)         (0-31 octets)
Figure 2.8: ADV_NONCONN_IND PDU Payload

The Payload field consists of AdvA and AdvData fields. The AdvA field shall
contain the advertiser’s public or random device address as indicated by
TxAdd. The AdvData field may contain Advertising Data from the advertiser’s
Host.




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2.3.1.4 ADV_SCAN_IND

The ADV_SCAN_IND PDU has the Payload as shown in Figure 2.9. The PDU
shall be used in scannable undirected advertising events. The TxAdd in the
advertising channel PDU header indicates whether the advertiser’s address in
the AdvA field is public (TxAdd = 0) or random (TxAdd = 1).

                  Payload

 AdvA                   AdvData
 (6 octets)             (0-31 octets)
Figure 2.9: ADV_SCAN_IND PDU Payload

The Payload field consists of AdvA and AdvData fields. The AdvA field shall
contain the advertiser’s public or random device address as indicated by
TxAdd. The AdvData field may contain Advertising Data from the advertiser’s
Host.

2.3.1.5 ADV_EXT_IND

The ADV_EXT_IND PDU uses the Common Extended Advertising Payload
Format described in Section 2.3.4. The PDU may be used in all advertising
events (except connectable and scannable undirected) as indicated by the
AdvMode field value. An advertising event using an ADV_EXT_IND PDU is
directed if, and only if, either the TargetA field is present or the AuxPtr field is
present and points to a PDU where the TargetA field is present.

The Common Extended Advertising Payload Format fields permitted in the
ADV_EXT_IND PDU are shown in Table 2.4.

                                        Common Extended Advertising Payload Format fields
                                                TargetA




                                                                             Power

                                                                                       ACAD
                                         AdvA




                            Adv                                 Aux   Sync                    Adv
                                                          ADI




                                                                             Tx




 Event Type                 Mode                                Ptr   Info                    Data

 Non-Connectable
 and Non-Scannable
                            00b         M       X         X     X      X      O        X        X
 Undirected without
 auxiliary packet
 Non-Connectable
 and Non-Scannable
                            00b         C1      X         M     M      X     C1        X        X
 Undirected with
 auxiliary packet

Table 2.4: Common Extended Advertising Payload Format fields permitted in the
ADV_EXT_IND PDU




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                                    Common Extended Advertising Payload Format fields




                                                TargetA




                                                                             Power

                                                                                       ACAD
                                      AdvA
                            Adv                                 Aux   Sync                    Adv




                                                          ADI




                                                                             Tx
 Event Type                 Mode                                Ptr   Info                    Data

 Non-Connectable
 and Non-Scannable
                            00b      M       M            X     X      X      O        X        X
 Directed without
 auxiliary packet
 Non-Connectable
 and Non-Scannable
                            00b      C1      C1           M     M      X     C1        X        X
 Directed with
 auxiliary packet

 Connectable
                            01b       X         X         M     M      X     C1        X        X
 Undirected
 Connectable
                            01b       X         X         M     M      X     C1        X        X
 Directed
 Scannable
                            10b       X         X         M     M      X     C1        X        X
 Undirected

 Scannable Directed         10b       X         X         M     M      X     C1        X        X
 RFU                        11b
Table 2.4: Common Extended Advertising Payload Format fields permitted in the
ADV_EXT_IND PDU

For the non-connectable and non-scannable directed and non-connectable
and non-scannable undirected event types without ACAD or AdvData, the
Controller can choose whether or not to use an auxiliary packet. See Sections
4.4.2.6 and 4.4.2.9.

In all tables (including subsequent sections) describing permitted Common
Extended Advertising Payload Format Fields:
 M     This field is mandatory.
 O     This field is optional.
 X     This field is reserved for future use.
 C1 This field is optional on the LE 1M PHY and reserved for future use on the LE Coded PHY.
       This field is mandatory if the corresponding field in the ADV_EXT_IND PDU is not
 C2
       present, otherwise it is reserved for future use.
       This field is mandatory if the corresponding field in the PDU pointing to this PDU is
 C3
       present, otherwise it is reserved for future use.
       This field is optional if the corresponding field in the ADV_EXT_IND PDU is not present,
 C4
       otherwise it is reserved for future use.

Fields reserved for future use shall not be present when the packet is sent and
shall be ignored when received.

Any auxiliary packet shall be an AUX_ADV_IND packet with the same
AdvMode as the ADV_EXT_IND packet.

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2.3.1.6 AUX_ADV_IND

The AUX_ADV_IND PDU uses the Common Extended Advertising Payload
Format described in Section 2.3.4. The PDU may be used in all advertising
events (except connectable and scannable undirected) as indicated by the
AdvMode field value.

The AdvMode field indicates the type of advertising event the AUX_ADV_IND
packet is being used for.

The Common Extended Advertising Payload Format fields permitted in the
AUX_ADV_IND PDU are shown in Table 2.5.

The PHY used for the AUX_ADV_IND shall be specified in the AuxPtr field of
the superior PDU. The PHY specified in any AuxPtr field in an AUX_ADV_IND
PDU shall be the same as the PHY the PDU was sent on.

The ADI field shall have the same value as the field in the PDU pointing to this
PDU. Note: The ADI field can be used to detect collisions.

Any auxiliary PDU shall be an AUX_CHAIN_IND PDU.

The SyncInfo field, when present, shall point to an AUX_SYNC_IND PDU.

                              Common Extended Advertising Payload Format fields
                                       TargetA




                                                                    Power


                                                                                ACAD
                               AdvA




 Adv                                                   Aux   Sync                      Adv
                                                 ADI




                                                                    Tx




 Mode       Event Type                                 Ptr   Info                      Data

            Non-Connectable
 00b        and Non-Scanna-   C4      X          M      O      O    O         O          O
            ble Undirected
            Non-Connectable
 00b        and Non-Scanna-   C4      C2         M      O      O    O         O          O
            ble Directed
            Connectable
 01b                          M       X          M      X      X    O         O          O
            Undirected
            Connectable
 01b                          M       M          M      X      X    O         O          O
            Directed

            Scannable
 10b                          M       X          M      X      X    O         O          X
            Undirected
            Scannable
 10b                          M       M          M      X      X    O         O          X
            Directed
 11b        RFU

Table 2.5: Common Extended Advertising Payload Format fields permitted in the
AUX_ADV_IND PDU




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2.3.1.7 AUX_SYNC_IND

The AUX_SYNC_IND PDU uses the Common Extended Advertising Payload
Format described in Section 2.3.4. The PDU is used in periodic advertising.

The AdvMode field shall be set to 00b.

The Common Extended Advertising Payload Format fields permitted in the
AUX_SYNC_IND PDU are shown in Table 2.6.

The PHY used for the AUX_SYNC_IND PDU shall be that specified in Section
4.4.2.12.

Any auxiliary PDU shall be an AUX_CHAIN_IND PDU.

                                Common Extended Advertising Payload Format fields
                                        TargetA




                                                                     Power


                                                                                ACAD
                                 AdvA




 Adv                                                    Aux   Sync                     Adv
                                                  ADI




                                                                     Tx
 Mode       Event Type                                  Ptr   Info                     Data

            Non-Connectable
            and Non-Scanna-
 00b                             X      X         X      O      X    O        O          O
            ble Undirected or
            Directed
 01b –
            RFU
 11b
Table 2.6: Common Extended Advertising Payload Format fields permitted in the
AUX_SYNC_IND PDU


2.3.1.8 AUX_CHAIN_IND

The AUX_CHAIN_IND PDU uses the Common Extended Advertising Payload
Format described in Section 2.3.4. The PDU is used to hold additional
AdvData. Its superior PDU is an AUX_ADV_IND, AUX_SYNC_IND,
AUX_SCAN_RSP or another AUX_CHAIN_IND PDU.

The AdvMode field shall be set to 00b.

The Common Extended Advertising Payload Format fields permitted in the
AUX_CHAIN_IND PDU are shown in Table 2.7.

The PHY used for the AUX_CHAIN_IND PDU shall be the same as the PHY
used for its superior PDU.

The ADI field, when present, shall have the same value as the field in the
superior PDU. Note: The ADI field can be used to detect collisions.




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Any auxiliary PDU shall be another AUX_CHAIN_IND PDU.

                                  Common Extended Advertising Payload Format fields




                                            TargetA




                                                                          Power


                                                                                    ACAD
                                     AdvA
 Adv                                                         Aux   Sync                    Adv




                                                       ADI




                                                                          Tx
 Mode       Event Type                                       Ptr   Info                    Data

 00b        Chained data             X      X         C3      O      X    O        X         O

 01b –
            RFU
 11b
Table 2.7: Common Extended Advertising Payload Format fields permitted in the
AUX_CHAIN_IND PDU


2.3.2 Scanning PDUs

The following advertising channel PDU types are called scanning PDUs.
• SCAN_REQ
• SCAN_RSP
• AUX_SCAN_REQ
• AUX_SCAN_RSP

The SCAN_REQ and AUX_SCAN_REQ PDUs are called scan request PDUs.
The SCAN_RSP and AUX_SCAN_RSP PDUs are called scan response PDUs.

Where these PDUs are used to reply to a scannable advertisement, the PHY
used for them shall be the same as the PHY used for the PDU that they reply to.

2.3.2.1 SCAN_REQ and AUX_SCAN_REQ

The SCAN_REQ and AUX_SCAN_REQ PDUs have the Payload as shown in
Figure 2.10. The TxAdd in the advertising channel PDU header indicates
whether the scanner’s address in the ScanA field is public (TxAdd = 0) or
random (TxAdd = 1). The RxAdd in the advertising channel PDU header
indicates whether the advertiser’s address in the AdvA field is public (RxAdd =
0) or random (RxAdd = 1).

                  Payload
       ScanA                  AdvA
     (6 octets)             (6 octets)

Figure 2.10: SCAN_REQ and AUX_SCAN_REQ PDU Payload

The Payload field consists of ScanA and AdvA fields. The ScanA field shall
contain the scanner’s public or random device address as indicated by TxAdd.
The AdvA field is the address of the device to which this PDU is addressed.


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The AdvA field shall contain the advertiser’s public or random device address
as indicated by RxAdd.

Note: These PDUs do not contain any Host Data.

2.3.2.2 SCAN_RSP

The SCAN_RSP PDU has a format as shown in Figure 2.11. The TxAdd in the
advertising channel PDU header indicates whether the advertiser’s address in
the AdvA field is public (TxAdd = 0) or random (TxAdd = 1). The Length field
indicates the size of the payload (AdvA and ScanRspData) in octets.

                  Payload

       AdvA             ScanRspData
    (6 octets)          (0-31 octets)
Figure 2.11: SCAN_RSP PDU payload

The Payload field consists of AdvA and ScanRspData fields. The AdvA field
shall contain the advertiser’s public or random device address as indicated by
TxAdd. The ScanRspData field may contain any data from the advertiser’s
Host.

2.3.2.3 AUX_SCAN_RSP

The AUX_SCAN_RSP PDU uses the Common Extended Advertising Payload
Format described in Section 2.3.4.

The AdvMode field shall be set to 00b.

The Common Extended Advertising Payload Format fields permitted in the
AUX_SCAN_RSP PDU are shown in Table 2.8.

Any auxiliary PDU shall be an AUX_CHAIN_IND PDU.

                                 Common Extended Advertising Payload Format fields
                                          TargetA




                                                                       Power


                                                                                 ACAD
                                   AdvA




 Adv                                                      Aux   Sync                    Adv
                                                    ADI




                                                                       Tx




 Mode       Event Type                                    Ptr   Info                    Data

 00b        Scan response         M       X         X      O      X    O        O        M

 01b –
            RFU
 11b
Table 2.8: Common Extended Advertising Payload Format fields permitted in the
AUX_SCAN_RSP PDU




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2.3.3 Initiating PDUs

The following advertising channel PDU Types are called initiating PDUs:
• CONNECT_IND
• AUX_CONNECT_REQ
• AUX_CONNECT_RSP

The CONNECT_IND and the AUX_CONNECT_REQ PDUs are sent by the
Link Layer in the Initiating State and received by the Link Layer in the
Advertising State.
The AUX_CONNECT_RSP PDU is sent by the Link Layer in the Advertising
State and received by the Link Layer in the Initiating State.

The PHY used for these PDUs shall be the same as the PHY used for the PDU
that they reply to.

2.3.3.1 CONNECT_IND and AUX_CONNECT_REQ

The CONNECT_IND and AUX_CONNECT_REQ PDUs have the Payload as
shown in Figure 2.12. TxAdd in the advertising channel PDU header indicates
whether the initiator’s device address in the InitA field is public (TxAdd = 0) or
random (TxAdd = 1). The RxAdd in the advertising channel PDU header
indicates whether the advertiser’s device address in the AdvA field is public
(RxAdd = 0) or random (RxAdd = 1).

The ChSel field in the CONNECT_IND PDU header shall be set to 1 if the
initiator supports the LE Channel Selection Algorithm #2 feature (see Section
4.5.8.3).The ChSel field in the AUX_CONNECT_REQ PDU header is
Reserved for Future Use.

                                 Payload

         InitA                  AdvA                      LLData
     (6 octets)               (6 octets)              (22 octets)

Figure 2.12: CONNECT_IND and AUX_CONNECT_REQ PDU payload

The format of the LLData field is shown in Figure 2.13.

                                                  LLData
    AA           CRCInit   WinSize WinOffset   Interval    Latency   Timeout    ChM       Hop      SCA
 (4 octets) (3 octets) (1 octet) (2 octets) (2 octets) (2 octets) (2 octets) (5 octets) (5 bits) (3 bits)

Figure 2.13: LLData field structure in CONNECT_IND and AUX_CONNECT_REQ PDU’s payload

The Payload field consists of InitA, AdvA and LLData fields. The InitA field shall
contain the Initiator’s public or random device address as indicated by TxAdd.
The AdvA field shall contain the advertiser’s public or random device address
as indicated by RxAdd.

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The LLData consists of 10 fields:
• The AA field shall contain the Link Layer connection’s Access Address
  determined by the Link Layer following the rules specified in Section 2.1.2.
• The CRCInit field shall contain the initialization value for the CRC calculation
  for the Link Layer connection, as defined in Section 3.1.1. It shall be a
  random value, generated by the Link Layer. The seed for the random
  number generator shall be from a physical source of entropy and should
  have at least 20 bits of entropy.
• The WinSize field shall be set to indicate the transmitWindowSize value, as
  defined in Section 4.5.3 in the following manner: transmitWindowSize =
  WinSize * 1.25 ms.
• The WinOffset field shall be set to indicate the transmitWindowOffset value,
  as defined in Section 4.5.3 in the following manner: transmitWindowOffset =
  WinOffset * 1.25 ms.
• The Interval field shall be set to indicate the connInterval as defined in
  Section 4.5.1 in the following manner: connInterval = Interval * 1.25 ms.
• The Latency field shall be set to indicate the connSlaveLatency value, as
  defined in Section 4.5.1 in the following manner: connSlaveLatency =
  Latency.
• The Timeout field shall be set to indicate the connSupervisionTimeout value,
  as defined in Section 4.5.2, in the following manner:
  connSupervisionTimeout = Timeout * 10 ms.
• The ChM field shall contain the channel map indicating Used and Unused
  data channels. Every channel is represented with a bit positioned as per the
  data channel index as defined in Section 1.4.1. The LSB represents data
  channel index 0 and the bit in position 36 represents data channel index 36.
  A bit value of 0 indicates that the channel is Unused. A bit value of 1
  indicates that the channel is Used. The bits in positions 37, 38 and 39 are
  Reserved for Future Use. Note: When mapping from RF channels to data
  channel index, care should be taken to remember that there is a gap where
  advertising channel 38 is placed.
• The Hop field shall be set to indicate the hopIncrement used in the data
  channel selection algorithm as defined in Section 4.5.8.2. It shall have a
  random value in the range of 5 to 16.
• The SCA field shall be set to indicate the masterSCA used to determine the
  worst case Master’s sleep clock accuracy as defined in Section 4.2.2. The
  value of the SCA field shall be set as defined in Table 2.9.

 SCA          masterSCA

 0            251 ppm to 500 ppm
 1            151 ppm to 250 ppm

Table 2.9: SCA field encoding



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 SCA          masterSCA

 2            101 ppm to 150 ppm
 3            76 ppm to 100 ppm
 4            51 ppm to 75 ppm

 5            31 ppm to 50 ppm
 6            21 ppm to 30 ppm
 7            0 ppm to 20 ppm

Table 2.9: SCA field encoding

2.3.3.2 AUX_CONNECT_RSP

The AUX_CONNECT_RSP PDU uses the Common Extended Advertising
Payload Format described in Section 2.3.4.

The AdvMode field shall be set to 00b.

The Common Extended Advertising Payload Format fields permitted in the
AUX_CONNECT_RSP PDU are shown in Table 2.10.

                                 Common Extended Advertising Payload Format fields
                                          TargetA




                                                                       Power


                                                                                    ACAD
                                   AdvA




 Adv                                                      Aux   Sync                       Adv
                                                    ADI




                                                                       Tx




 Mode       Event Type                                    Ptr   Info                       Data

            Connection
 00b                              M       M         X      X      X    X           X         X
            response
 01b –
            RFU
 11b
Table 2.10: Common Extended Advertising Payload Format fields permitted in the
AUX_CONNECT_RSP PDU


2.3.4 Common Extended Advertising Payload Format

The following extended Advertising Channel PDUs share the same Advertising
Channel PDU payload format, referred to in this specification as the “Common
Extended Advertising Payload Format”:
• ADV_EXT_IND
• AUX_ADV_IND
• AUX_SCAN_RSP
• AUX_SYNC_IND
• AUX_CHAIN_IND
• AUX_CONNECT_RSP

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The common extended advertising payload format is shown in Figure 2.14.

                                               Payload

     Extended Header Length             AdvMode          Extended Header              AdvData
                (6 bits)                 (2 bits)         (0 - 63 octets)         (0 - 254 octets)

Figure 2.14: Common Extended Advertising Payload Format

The Extended Header Length is a value between 0 and 63 and indicates the
size of the variable length Extended Header field.

The AdvMode field indicates the mode of the advertisement. The value of the
AdvMode field shall be set as defined in Table 2.11.

 Value                                 Mode

 00b            Non-connectable              Non-scannable
 01b            Connectable                  Non-scannable

 10b            Non-connectable              Scannable
 11b                          Reserved for future use
Table 2.11: AdvMode field encoding

AdvData may contain advertising data from the advertiser’s Host. The
maximum size of AdvData depends on the size of the Extended Header. The
size of the AdvData can be calculated by subtracting the length of the
Extended Header plus one octet from the Length specified in the Advertising
channel PDU Header.

The Extended Header field is a variable length header that is present if, and
only if, the Extended Header Length field is non-zero. The format of the
Extended Header is shown in Figure 2.15.

                                          Extended Header
  Extended      AdvA          TargetA     RFU      AdvData    AuxPtr     SyncInfo TxPower ACAD
 Header Flags (6 octets)     (6 octets) (1 octet) Info (ADI) (3 octets) (18 octets) (1 octet) (varies)
   (1 octet)                                      (2 octets)

Figure 2.15: Extended Header

The Extended Header Flags bit field definitions are shown in Table 2.12.

 Bit               Extended Header

 0                 AdvA
 1                 TargetA

 2                 Reserved for future use
Table 2.12: Extended Header Flags

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 Bit               Extended Header

 3                 AdvDataInfo (ADI)
 4                 AuxPtr
 5                 SyncInfo

 6                 TxPower
 7                 Reserved for future use
Table 2.12: Extended Header Flags

If a flag bit is set to 1, the corresponding Extended Header field is present;
otherwise, the corresponding Extended Header field is not present. The
Extended Header fields that are present are always in the same order as the
flags in the Extended Header flags (i.e., the AdvA field is first if present, then
the TargetA field if present, etc.).

Whether an Extended Header flag and corresponding Extended Header field is
mandatory, optional, or reserved for future use is dependent on the Advertising
Channel PDU in which the extended header is used.

2.3.4.1 AdvA field

When present, the AdvA field is six octets with the format shown in Figure 2.16.

                    AdvA

           Advertising Address
                  (6 octets)

Figure 2.16: AdvA field

The Advertising Address field contains the advertiser’s device address. The
TxAdd field of the Advertising Channel PDU Header applies to this value.

2.3.4.2 TargetA field

When present, the TargetA field is six octets with the format shown in Figure
2.17.

                  TargetA

              Target Address
                  (6 octets)
Figure 2.17: TargetA field

The Target Address field contains the scanner’s or initiator’s device address to
which the advertisement is directed. The RxAdd field of the Advertising
Channel PDU Header applies to this value.


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2.3.4.3 RFU

<Field and section reserved for a future feature>

2.3.4.4 AdvDataInfo field

When present, the AdvDataInfo (ADI) field is two octets with the format shown
in Figure 2.18.

                         AdvDataInfo

     Advertising Data ID           Advertising Set ID
            (DID)                        (SID)
           (12 bits)                       (4 bits)
Figure 2.18: AdvDataInfo field

The Advertising Set ID (SID) is set by the advertiser to distinguish between
different advertising sets transmitted by this device.

The Advertising Data ID (DID) is set by the advertiser to indicate to the scanner
whether it can assume that the data contents in the AdvData are a duplicate of
the previous AdvData sent in an earlier packet.

2.3.4.5 AuxPtr field

When present, the AuxPtr field is three octets with the format shown in Figure
2.19.

                                    AuxPtr

 Channel Index            CA       Offset Units       AUX Offset   AUX PHY
     (6 bits)           (1 bits)     (1 bits)          (13 bits)    (3 bits)
Figure 2.19: AuxPtr Field

The presence of the AuxPtr field indicates that some or all of the advertisement
data is in a subsequent auxiliary packet. The contents of the AuxPtr field
describe this packet.

The Channel Index field contains the secondary advertising channel index (see
Section 1.4.1) used to transmit the auxiliary packet.

The Offset Units field indicates the units used by the Aux Offset Field. The
value of the Offset Units field shall be set as defined in Table 2.13.

 Value                             Units

 0                                 30 µs

Table 2.13: Offset Units field encoding



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 Value                                  Units

 1                                      300 µs
Table 2.13: Offset Units field encoding

The Aux Offset field contains the time from the start of the packet containing
the AuxPtr field to the approximate start of the auxiliary packet. The value of
the AUX Offset field is in the unit of time indicated by the Offset Units field; the
offset is determined by multiplying the value by the unit. The Aux Offset shall
be at least the length of the packet plus T_MAFS (see Section 4.1.2). The
Offset Units field shall be set to 0 if the Aux Offset is less than 245,700 µs.The
auxiliary packet shall not start any earlier than the Aux Offset and shall start no
later than the Aux Offset plus one Offset Unit. This allows the LL to round the
Aux Offset to the Offset Unit.

                                                                                          Actual
      ADV_EXT_IND                ADV_EXT_IND                 ADV_EXT_IND               Transmission
                                                                                           Time

                                                                 AƵǆKīset (3)

                                             AƵǆKīset (2)
                        AƵǆKīset (1)


                                   Oīset Unit
                                                                                                  AUX_ADV_IND
                                   30μs or 300μs
                                                                                      Time
                                                                                  indicated by
                                                                                 AƵǆKīƐet (1)

Figure 2.20: Aux Offset Transmission Window


The Aux PHY field indicates the PHY used to transmit the auxiliary packet. The
value of the Aux PHY field shall be set as defined in Table 2.14.

 Value                                        PHY used

 000b                                         LE 1M
 001b                                         LE 2M
 010b                                         LE Coded

 011b – 111b                                  Reserved for future use
Table 2.14: Aux PHY field encoding

The CA field contains the clock accuracy of the advertiser that will be used
between the packet containing this data and the auxiliary packet. The value of
the CA field shall be set as defined in Table 2.15.

 CA Value               Advertiser’s Clock Accuracy

 0                      51 ppm to 500 ppm
Table 2.15: Clock Accuracy field encoding


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    CA Value                                               Advertiser’s Clock Accuracy

    1                                                      0 ppm to 50 ppm
Table 2.15: Clock Accuracy field encoding

An AuxPtr field with an Aux Offset of zero is permitted and indicates that no
auxiliary packet will be transmitted but the Host advertising data in the current
PDU is incomplete (see Section 2.3.4.9); it shall be treated as equivalent to
one referring to an AUX_CHAIN_IND PDU that is never received. The
remaining fields shall contain valid values.

2.3.4.6 SyncInfo field

When present, the SyncInfo field is 18 octets with the format shown in Figure
2.21.

                                                                                                      SyncInfo
 Sync Packet Offset




                                                                                                                                                                                   Event Counter
                                  Offset Units




                                                                                         (2 octets)




                                                                                                                                              (4 octets)



                                                                                                                                                                     (3 octets)



                                                                                                                                                                                                   (2 octets)
                      (13 bits)




                                                                                                            (37 bits)




                                                                                                                                                           CRCInit
                                                                              Interval
                                                                   (2 bits)




                                                                                                                              (3 bits)
                                                 (1 bit)




                                                                                                      ChM
                                                             RFU




                                                                                                                        SCA



                                                                                                                                         AA




Figure 2.21: SyncInfo field

The presence of the SyncInfo field indicates the presence of a periodic
advertisement (using AUX_SYNC_IND PDUs). The contents of the SyncInfo
field describe this periodic advertisement.

The Offset Units field indicates the units used by the Sync Packet Offset field.
The value of the Offset Units field shall be set as defined in Table 2.16.

    Value                                                                     Units

    0                                                                         30 µs

    1                                                                         300 µs
Table 2.16: Offset Units field encoding

The Sync Packet Offset field contains the time from the start of the
AUX_ADV_IND packet containing the SyncInfo field to the start of the
AUX_SYNC_IND packet. The value of the Sync Packet Offset field is in the unit
of time indicated by the Offset Units field; the actual offset is determined by
multiplying the value by the unit. The Offset Units field shall be set to 0 if the
Sync Packet Offset is less than 245,700 µs. As illustrated in Figure 2.22, the
AUX_ADV_IND packet containing the SyncInfo field shall start no later than the
Sync Packet Offset and no earlier than the Sync Packet Offset plus one Offset
unit prior to the start of the AUX_SYNC_IND.

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                                                      Actual
                                                   Transmission
                                                      Time

                           AUX_ADV_IND

                              Sync Packet Offset


                              Interval                                   Interval


              AUX_SYNC_IND                                AUX_SYNC_IND              AUX_SYNC_IND


                                              Time indicated by
                                                Sync Packet
                    Offset Unit                     Offset
                  ȝVRUȝV


Figure 2.22: Sync Packet Offset Transmission Window


A value of 0 for the Sync Packet Offset indicates that the time to the next
AUX_SYNC_IND packet is greater than can be represented.

The Interval field contains the time in 1.25 ms units from the start of one packet
of the periodic advertisement to the start of the next packet. The value shall not
be less than 6 (7.5 ms).

The ChM field contains the channel map indicating Used and Unused
secondary advertising channels. Every channel is represented with a bit
positioned as per the data channel index as defined in Section 1.4.1. The LSB
represents channel index 0 and the bit in position 36 represents channel index
36. A bit value of 0 indicates that the channel is Unused. A bit value of 1
indicates that the channel is Used.

The AA, CRCInit, and SCA fields have the same meaning as the
corresponding fields in the CONNECT_IND PDU (see Section 2.3.3.1).

The Event Counter field contains the value of paEventCounter (see Section
4.4.2.1) that applies to the AUX_SYNC_IND packet that this SyncInfo field
describes.

2.3.4.7 TxPower field

When present, the TxPower is one octet with the format shown in Figure 2.23.

                  TxPower

              Tx Power Level
                  (1 octet)

Figure 2.23: TxPower field

The Tx Power Level field is the same value defined for the Tx Power
Advertising Data type defined in Bluetooth Core Specification Supplement
(CSS).



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2.3.4.8 ACAD field

The remainder of the extended header forms the Additional Controller
Advertising Data (ACAD) field. The length of this field is the Extended Header
length minus the sum of the size of the extended header flags (1 octet) and
those fields indicated by the flags as present. ACAD cannot be fragmented
across multiple advertising data PDUs; it shall always fit inside a single
advertising data PDU.

The ACAD field holds data from the advertiser’s Controller or intended to be
used by the recipient’s Controller. It uses the same format as the AdvData field
in various Advertising Channel PDUs. This format is described in [Vol 3] Part C,
Section 11.

The ACAD type formats and meanings are defined in [CSS], Part A, Section 1.
The ACAD type identifier values are defined in the Assigned Numbers
document.

2.3.4.9 Host Advertising Data

The portion of the PDU after the extended header forms the AdvData field. The
length of this field is specified in Section 2.3.4.

The AdvData field holds data from the advertiser’s Host. The format of this data
is described in [Vol 3] Part C, Section 11. If the Host does not provide any data,
the AdvData field shall be omitted but, for all other purposes in this Part, this
shall be treated as if the Host had provided data.

The Controller may support fragmentation of Host Advertising Data. The total
amount of Host Advertising Data before fragmentation shall not exceed 1650
octets. When the Link Layer fragments the Host advertising data, the number
of fragments and the size of each fragment are chosen by the Controller. The
Controller should minimize the number of fragments to ensure more reliability
in delivering the entire Host advertising data. The Host may indicate a
preference whether the Controller should fragment the Host advertising data,
but the Controller may ignore the preference. If the amount of advertising or
scan response data to be sent in an extended advertising or scanning PDU
plus the Extended Header Length, AdvMode, and Extended Header exceed
the maximum Advertising Channel PDU payload (255 octets), the Link Layer
shall fragment the Host advertising data.

The Link Layer shall place the multiple fragments in the AdvData field of
different PDUs. When Host advertising data is fragmented the first fragment
shall be placed in the AUX_ADV_IND, AUX_SYNC_IND or AUX_SCAN_RSP
PDU while subsequent fragments shall be placed in AUX_CHAIN_IND PDUs.
Each AUX_CHAIN_IND PDU is the auxiliary PDU of the PDU containing the
previous fragment; the AUX_CHAIN_IND PDU holding the last fragment shall
not have an auxiliary PDU.



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If the Link Layer has fragmented the Host advertising data but is subsequently
unable to transmit all the fragments, the last fragment that it is able to transmit
should contain an AuxPtr field with an Aux Offset of zero so that scanners are
aware that the data has been truncated.

2.4 DATA CHANNEL PDU
The Data Channel PDU has a 16 bit header, a variable size payload, and may
include a Message Integrity Check (MIC) field.

The Data Channel PDU is as shown in Figure 2.24.


       LSB                                                                 MSB

              Header                        Payload                  MIC
              (16 bits)                                            (32 bits)

Figure 2.24: Data Channel PDU


The Header field of the Data Channel PDU is as shown in Figure 2.25.

                                             Header

     LLID               NESN       SN          MD        RFU           Length
   (2 bits)             (1 bit)   (1 bit)     (1 bit)   (3 bits)       (8 bits)
Figure 2.25: Data channel PDU header

The 16 bit Header field consists of 5 fields that are specified in Table 2.17.

The MIC field shall not be included in an un-encrypted Link Layer connection,
or in an encrypted Link Layer connection with a data channel PDU with a zero
length Payload.

The MIC field shall be included in an encrypted Link Layer connection, with a
data channel PDU with a non-zero length Payload and shall be calculated as
specified in [Vol 6] Part E, Section 1.

The payload format depends on the LLID field of the Header. If the LLID field is
01b or 10b, the Data Channel PDU Payload field contains an LL Data PDU as
defined in Section 2.4.1. If the LLID field is 11b then the Data Channel PDU
Payload field contains an LL Control PDU as defined in Section 2.4.2.

The NESN bit of the Header is defined in Section 4.5.9.

The SN bit of the Header is defined in Section 4.5.9.

The MD bit of the Header is defined in Section 4.5.6.



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The Length field of the Header indicates the length of the Payload and MIC if
included. The length field has the range of 0 to 255 octets. The Payload field
shall be less than or equal to 251 octets in length. The MIC is 4 octets in length.

 Field
 name             Description

 LLID             The LLID indicates whether the packet is an LL Data PDU or an LL Control
                  PDU.
                  00b = Reserved for future use
                  01b = LL Data PDU: Continuation fragment of an L2CAP message, or an
                        Empty PDU.
                  10b = LL Data PDU: Start of an L2CAP message or a complete L2CAP mes-
                        sage with no fragmentation.
                  11b = LL Control PDU

 NESN             Next Expected Sequence Number

 SN               Sequence Number

 MD               More Data

 Length           The Length field indicates the size, in octets, of the Payload and MIC, if
                  included.

Table 2.17: Data channel PDU Header field


2.4.1 LL Data PDU

An LL Data PDU is a data channel PDU that is used to send L2CAP data. The
LLID field in the Header shall be set to either 01b or 10b.

An LL Data PDU with the LLID field in the Header set to 01b, and the Length
field set to 00000000b, is known as an Empty PDU. The master’s Link Layer
may send an Empty PDU to the slave to allow the slave to respond with any
Data Channel PDU, including an Empty PDU.

An LL Data PDU with the LLID field in the Header set to 10b shall not have the
Length field set to 00000000b.




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2.4.2 LL Control PDU

An LL Control PDU is a Data Channel PDU that is used to control the Link
Layer connection.

The LL Control PDU Payload is as shown in Figure 2.26.

                  Payload

      Opcode                CtrData
      (1 octet)         (0 – 26 octets)
Figure 2.26: LL control PDU payload

An LL Control PDU shall not have the Length field set to 00000000b. All LL
Control PDUs have a fixed length, depending on the Opcode.

The Payload field consists of Opcode and CtrData fields.

The Opcode field identifies different types of LL Control PDU, as defined in
Table 2.18.

The CtrData field in the LL Control PDU is specified by the Opcode field and is
defined in the following subsections.

Except where explicitly stated otherwise, all fields within the CtrData field in an
LL Control PDU that hold an integer shall be interpreted as unsigned.

 Opcode                            Control PDU Name

 0x00                              LL_CONNECTION_UPDATE_IND
 0x01                              LL_CHANNEL_MAP_IND

 0x02                              LL_TERMINATE_IND
 0x03                              LL_ENC_REQ
 0x04                              LL_ENC_RSP

 0x05                              LL_START_ENC_REQ
 0x06                              LL_START_ENC_RSP

 0x07                              LL_UNKNOWN_RSP
 0x08                              LL_FEATURE_REQ
 0x09                              LL_FEATURE_RSP

 0x0A                              LL_PAUSE_ENC_REQ
 0x0B                              LL_PAUSE_ENC_RSP
 0x0C                              LL_VERSION_IND

Table 2.18: LL Control PDU Opcodes



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 Opcode                              Control PDU Name

 0x0D                                LL_REJECT_IND
 0x0E                                LL_SLAVE_FEATURE_REQ
 0x0F                                LL_CONNECTION_PARAM_REQ

 0x10                                LL_CONNECTION_PARAM_RSP
 0x11                                LL_REJECT_EXT_IND
 0x12                                LL_PING_REQ

 0x13                                LL_PING_RSP
 0x14                                LL_LENGTH_REQ
 0x15                                LL_LENGTH_RSP

 0x16                                LL_PHY_REQ
 0x17                                LL_PHY_RSP

 0x18                                LL_PHY_UPDATE_IND
 0x19                                LL_MIN_USED_CHANNELS_IND
 All other values                    Reserved for Future Use

Table 2.18: LL Control PDU Opcodes

If an LL Control PDU is received that is not used or not supported, the Link
Layer shall respond with an LL_UNKNOWN_RSP PDU. The UnknownType
field of the LL_UNKNOWN_RSP PDU shall be set to the value of the not used
or not supported Opcode.

If an LL Control PDU is received with an invalid Opcode, i.e. the Opcode field is
set to a value that is Reserved for Future Use, or with invalid CtrData fields, the
Link Layer shall respond with an LL_UNKNOWN_RSP PDU. The
UnknownType field of the LL_UNKNOWN_RSP PDU shall be set to the value
of the invalid Opcode.

2.4.2.1 LL_CONNECTION_UPDATE_IND

The format of the CtrData field is as shown in Figure 2.27.

                                                  CtrData

    WinSize             WinOffset      Interval         Latency      Timeout            Instant
    (1 octet)           (2 octets)    (2 octets)        (2 octets)   (2 octets)       (2 octets)
Figure 2.27: CtrData field of the LL_CONNECTION_UPDATE_IND PDU

The LL_CONNECTION_UPDATE_IND CtrData consists of six fields:




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• The WinSize field shall be set to indicate the transmitWindowSize value, as
  defined in Section 4.5.3 in the following manner: transmitWindowSize =
  WinSize * 1.25 ms.
• The WinOffset field shall be set to indicate the transmitWindowOffset value,
  as defined in Section 4.5.3, in the following manner: transmitWindowOffset =
  WinOffset * 1.25 ms.
• The Interval field shall be set to indicate the connInterval value, as defined in
  Section 4.5.1, in the following manner: connInterval = Interval * 1.25 ms.
• The Latency field shall be set to indicate the connSlaveLatency value, as
  defined by Section 4.5.1, in the following manner: connSlaveLatency =
  Latency.
• The Timeout field shall be set to indicate the connSupervisionTimeout value,
  as defined by Section 4.5.2, in the following manner:
  connSupervisionTimeout = Timeout * 10 ms.
• The Instant field shall be set to indicate the instant described in Section
  5.1.1.

2.4.2.2 LL_CHANNEL_MAP_IND

The format of the CtrData field is shown in Figure 2.28.

                   CtrData

 ChM                    Instant
 (5 octets)             (2 octets)
Figure 2.28: CtrData field of the LL_CHANNEL_MAP_IND PDU

The LL_CHANNEL_MAP_IND CtrData consists of two fields:
• The ChM field shall contain the channel map indicating Used and Unused
  data channels. Every channel is represented with a bit positioned as per the
  data channel index defined by Section 4.5.8. The format of this field is
  identical to the ChM field in the CONNECT_IND PDU (see Section 2.3.3.1).
• The Instant field shall be set to indicate the instant described in Section
  5.1.2.

2.4.2.3 LL_TERMINATE_IND

The format of the CtrData field is shown in Figure 2.29.

                   CtrData

                 ErrorCode
                  (1 octet)
Figure 2.29: CtrData field of the LL_TERMINATE_IND PDU



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The LL_TERMINATE_IND CtrData consists of one field:
• The ErrorCode field shall be set to inform the remote device why the
  connection is about to be terminated. See [Vol 2] Part D, Error Codes for
  details.

2.4.2.4 LL_ENC_REQ

The format of the CtrData field is shown in Figure 2.30.

                                  CtrData

      Rand                EDIV              SKDm        IVm
    (8 octets)          (2 octets)       (8 octets)   (4 octets)
Figure 2.30: CtrData field of the LL_ENC_REQ PDU

The LL_ENC_REQ CtrData consists of four fields:
• The Rand field contains a random number that is provided by the Host and
  used with EDIV (see [Vol 3] Part H, Section 2.4.4).
• The EDIV field contains the encrypted diversifier.
• The SKDm field contains the master’s portion of the session key diversifier.
• The IVm field contains the master’s portion of the initialization vector.

2.4.2.5 LL_ENC_RSP

The format of the CtrData field is shown in Figure 2.31.

                  CtrData
       SKDs                      IVs
     (8 octets)             (4 octets)

Figure 2.31: CtrData field of the LL_ENC_ RSP PDU

The LL_ENC_RSP CtrData consists of two fields.
• The SKDs field shall contain the slave’s portion of the session key diversifier.
• The IVs field shall contain the slave’s portion of the initialization vector.

2.4.2.6 LL_START_ENC_REQ

The LL_START_ENC_REQ PDU does not have a CtrData field.

2.4.2.7 LL_START_ENC_RSP

The LL_START_ENC_RSP PDU does not have a CtrData field.




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2.4.2.8 LL_UNKNOWN_RSP

The format of the CtrData field is shown in Figure 2.32.

                  CtrData
               UnknownType
                  (1 octet)

Figure 2.32: CtrData field of the LL_UNKNOWN_RSP PDU

The LL_UNKNOWN_RSP CtrData consists of one field:
• UnknownType shall contain the Opcode field value of the received LL
  Control PDU.

2.4.2.9 LL_FEATURE_REQ

The format of the CtrData field is shown in Figure 2.33.

                  CtrData
                 FeatureSet
                  (8 octets)
Figure 2.33: CtrData field of the LL_FEATURE_REQ PDU

The LL_FEATURE_REQ CtrData consists of one field:
• FeatureSet shall contain the set of features supported by the master’s Link
  Layer.

2.4.2.10 LL_FEATURE_RSP

The format of the CtrData field is shown in Figure 2.34.

                  CtrData

                 FeatureSet
                  (8 octets)
Figure 2.34: CtrData field of the LL_FEATURE_RSP PDU

The LL_FEATURE_RSP CtrData consists of one field:
• FeatureSet[0] shall contain a set of features supported by the Link Layers of
  both the master and slave.
• FeatureSet[1-7] shall contain a set of features supported by the Link Layer
  that transmits this PDU.

2.4.2.11 LL_PAUSE_ENC_REQ

The LL_PAUSE_ENC_REQ packet does not have a CtrData field.

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2.4.2.12 LL_PAUSE_ENC_RSP

The LL_PAUSE_ENC_RSP packet does not have a CtrData field.

2.4.2.13 LL_VERSION_IND

The format of the CtrData field is shown in Figure 2.35.

                                CtrData

        VersNr                 CompId         SubVersNr
       (1 octet)               (2 octets)      (2 octets)
Figure 2.35: CtrData field of the LL_VERSION_IND PDU

The LL_VERSION_IND CtrData consists of three fields:
• VersNr field shall contain the version of the Bluetooth Link Layer
  specification (see Bluetooth Assigned Numbers).
• CompId field shall contain the company identifier of the manufacturer of the
  Bluetooth Controller (see Bluetooth Assigned Numbers).
• SubVersNr field shall contain a unique value for each implementation or
  revision of an implementation of the Bluetooth Controller.

2.4.2.14 LL_REJECT_IND

The format of the CtrData field is shown in Figure 2.36.

                   CtrData

                 ErrorCode
                   (1 octet)
Figure 2.36: CtrData field of the LL_ REJECT_IND

ErrorCode shall contain the reason a request was rejected; see [Vol 2] Part D,
Error Codes.

2.4.2.15 LL_SLAVE_FEATURE_REQ

The format of the CtrData field is shown in Figure 2.37.

                   CtrData

          FeatureSet (8 octets)
Figure 2.37: CtrData field of the LL_SLAVE_FEATURE_REQ PDU

The LL_SLAVE_FEATURE_REQ CtrData consists of one field:
• FeatureSet shall contain the set of features supported by the slave’s Link Layer.


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2.4.2.16 LL_CONNECTION_PARAM_REQ

The format of the CtrData field is shown in Figure 2.38.

                                                                                                                                                                    CtrData




                                                                                                                                          ReferenceConnEventCount
                                                                                                       PreferredPeriodicity
                             Interval_Max
 Interval_Min
                (2 octets)


                                            (2 octets)


                                                                   (2 octets)


                                                                                          (2 octets)




                                                                                                                                                                    (2 octets)


                                                                                                                                                                                           (2 octets)


                                                                                                                                                                                                                  (2 octets)


                                                                                                                                                                                                                                         (2 octets)


                                                                                                                                                                                                                                                                (2 octets)


                                                                                                                                                                                                                                                                                       (2 octets)


                                                                                                                                                                                                                                                                                                              (2 octets)
                                                                                                                              (1 octet)
                                                                                Timeout
                                                         Latency




                                                                                                                                                                                 Offset0


                                                                                                                                                                                                        Offset1


                                                                                                                                                                                                                               Offset2


                                                                                                                                                                                                                                                      Offset3


                                                                                                                                                                                                                                                                             Offset4


                                                                                                                                                                                                                                                                                                    Offset5
Figure 2.38: CtrData field of the LL_CONNECTION_PARAM_REQ PDU

The LL_CONNECTION_PARAM_REQ CtrData consists of 12 fields:
• The Interval_Min field shall be set to indicate the minimum value of
  connInterval, as defined in Section 4.5.1, in the following manner:
  connInterval = Interval_Min * 1.25 ms.
• The Interval_Max field shall be set to indicate the maximum value of
  connInterval, as defined in Section 4.5.1, in the following manner:
  connInterval = Interval_Max * 1.25 ms.
• The Latency field shall be set to indicate the connSlaveLatency value, as
  defined by Section 4.5.1, in the following manner: connSlaveLatency =
  Latency. Latency is in units of number of connection events.
• The Timeout field shall be set to indicate the connSupervisionTimeout value,
  as defined by Section 4.5.2, in the following manner:
  connSupervisionTimeout = Timeout * 10 ms.
• The PreferredPeriodicity field shall be set to indicate a value the
  connInterval is preferred to be a multiple of. PreferredPeriodicity is in units of
  1.25 ms. E.g. if the PreferredPeriodicity is set to 100, it implies that
  connInterval is preferred to be any multiple of 125 ms. A value of zero
  means not valid. The PreferredPeriodicity shall be less than or equal to
  Interval_Max.
• The ReferenceConnEventCount field shall be set to indicate the value of the
  connEventCounter relative to which all the valid Offset0 to Offset5 fields
  have been calculated. The ReferenceConnEventCount field shall have a
  value in the range of 0 to 65535. Note: The ReferenceConnEventCount field
  is independent of the Instant field in the LL_CONNECTION_UPDATE_IND
  PDU.
• The Offset0, Offset1, Offset2, Offset3, Offset4, and Offset5 fields shall be
  set to indicate the possible values of the position of the anchor points of the
  LE connection with the updated connection parameters relative to the


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   ReferenceConnEventCount. The Offset0 to Offset5 fields are in units of 1.25
   ms and are in decreasing order of preference; that is, Offset0 is the most
   preferred value, followed by Offset1, and so on. Offset0 to Offset5 shall be
   less than Interval_Max. A value of 0xFFFF means not valid. Valid Offset0 to
   Offset5 fields shall contain unique values. Valid fields shall always be before
   invalid fields.

2.4.2.17 LL_CONNECTION_PARAM_RSP

The format of the LL_CONNECTION_PARAM_RSP PDU is identical to the
format of the LL_CONNECTION_PARAM_REQ PDU (see Section 2.4.2.16).

2.4.2.18 LL_REJECT_EXT_IND

The format of the CtrData field is shown in Figure 2.39.

                   CtrData

   RejectOpcode              ErrorCode
     (1 octet)                (1 octet)
Figure 2.39: CtrData field of the LL_REJECT_EXT_IND PDU

The LL_REJECT_EXT_IND CtrData consists of two fields:
• RejectOpcode shall contain the Opcode field value of the LL Control PDU
  being rejected.
• ErrorCode shall contain the reason the LL Control PDU was being rejected.
  See [Vol 2] Part D, Error Codes for a list of error codes and descriptions.

This PDU shall be issued only when the remote Link Layer supports the
Extended Reject Indication Link Layer feature (Section 4.6). Otherwise, the
LL_REJECT_IND PDU (Section 2.4.2.14) shall be issued instead.

2.4.2.19 LL_PING_REQ

The LL_PING_REQ PDU does not have a CtrData field.

2.4.2.20 LL_PING_RSP

The LL_PING_RSP PDU does not have a CtrData field.




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2.4.2.21 LL_LENGTH_REQ and LL_LENGTH_RSP

The format of the CtrData field for both the LL_LENGTH_REQ and
LL_LENGTH_RSP PDUs is shown in Figure 2.40.

                                CtrData

  MaxRxOctets           MaxRxTime        MaxTxOctets   MaxTxTime
   (2 octets)            (2 octets)       (2 octets)    (2 octets)
Figure 2.40: CtrData field of the LL_LENGTH_REQ and LL_LENGTH_RSP PDUs

The LL_LENGTH_REQ and LL_LENGTH_RSP CtrData consists of four fields:
• MaxRxOctets shall be set to the sender’s connMaxRxOctets value, as
  defined in Section 4.5.10. The MaxRxOctets field shall have a value not less
  than 27 octets.
• MaxRxTime shall be set to the sender’s connMaxRxTime value, as defined
  in Section 4.5.10. The MaxRxTime field shall have a value not less than 328
  microseconds.
• MaxTxOctets shall be set to the sender’s connMaxTxOctets value, as
  defined in Section 4.5.10. The MaxTxOctets field shall have a value not less
  than 27 octets.
• MaxTxTime shall be set to the sender’s connMaxTxTime value, as defined
  in Section 4.5.10. The MaxTxTime field shall have a value not less than 328
  microseconds.

2.4.2.22 LL_PHY_REQ and LL_PHY_RSP

The format of the CtrData field for both the LL_PHY_REQ and LL_PHY_RSP
PDUs is shown in Figure 2.41.

                   CtrData

     TX_PHYS                 RX_PHYS
      (1 octet)              (1 octet)
Figure 2.41: CtrData field of the LL_PHY_REQ and LL_PHY_RSP PDUs

The LL_PHY_REQ and LL_PHY_RSP CtrData consists of two fields:
• TX_PHYS shall be set to indicate the transmitter PHYs that the sender
  prefers to use.
• RX_PHYS shall be set to indicate the receiver PHYs that the sender prefers
  to use.




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These fields each consist of 8 bits as specified in Table 2.19. At least one bit in
each field shall be set to 1.

 Bit number         Meaning

 0                  Sender prefers to use the LE 1M PHY (possibly among others)
 1                  Sender prefers to use the LE 2M PHY (possibly among others)

 2                  Sender prefers to use the LE Coded PHY (possibly among others)
 3–7                Reserved for future use
Table 2.19: PHY field bit meanings


2.4.2.23 LL_PHY_UPDATE_IND

The format of the CtrData field is shown in Figure 2.42.

                               CtrlData

     M_TO_S_PHY             S_TO_M_PHY                Instant
        (1 octet)              (1 octet)          (2 octets)
Figure 2.42: CtrData field of the LL_PHY_UPDATE_IND PDU

The LL_PHY_UPDATE_IND CtrData consists of three fields:
• M_TO_S_PHY shall be set to indicate the PHY that shall be used for
  packets sent from the master to the slave. S_TO_M_PHY shall be set to
  indicate the PHY that shall be used for packets sent from the slave to the
  master. These fields each consist of 8 bits as specified in Table 2.20. If a
  PHY is changing, exactly one bit shall be set to the value 1 in the
  corresponding field; if a PHY is remaining unchanged, then the
  corresponding field shall be set to the value 0.
• Instant shall be set to indicate the instant described in Section 5.1.10.

If both the M_TO_S_PHY and S_TO_M_PHY fields are zero then there is no
Instant and the Instant field is reserved for future use.

 Bit Number             Meaning

 0                      The LE 1M PHY shall be used
 1                      The LE 2M PHY shall be used
 2                      The LE Coded PHY shall be used

 3–7                    Reserved for future use
Table 2.20: PHY field bit meanings




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2.4.2.24 LL_MIN_USED_CHANNELS_IND

The format of the CtrData field is as shown in Figure 2.43.

                        CtrData

         PHYS               MinUsedChannels
        (1 octet)                 (1 octet)
Figure 2.43: CtrData field of the LL_MIN_USED_CHANNELS_IND PDU

The LL_MIN_USED_CHANNELS_IND consists of two fields:
• The PHYS field shall be set to the PHY(s) for which the slave has a
  minimum number of used channels requirement. The PHYS field consists of
  8 bits as specified in Table 2.21. At least one bit in the field shall be set to 1.
• The MinUsedChannels field contains the minimum number of channels to be
  used on the specified PHY. The MinUsedChannels field shall have a value in
  the range of 2 to 37 channels.

 Bit Number              Meaning

 0                       LE 1M PHY

 1                       LE 2M PHY
 2                       LE Coded PHY
 3-7                     Reserved for Future Use

Table 2.21: PHY field bit meanings




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3 BIT STREAM PROCESSING

Bluetooth devices shall use the bit stream processing schemes as defined in
the following sections.

Figure 3.1 shows the bit stream processing for PDUs on the LE Uncoded
PHYs.


     TX payload
     (LSB first)
                         encryption               CRC generation            whitening


                                                                                                          RF Interface

     RX payload
                         decryption               CRC checking            dewhitening



Figure 3.1: Payload bit processes for the LE Uncoded PHYs


Figure 3.2 shows the bit stream processing for PDUs on the LE Coded PHYs.

  TX payload
  (LSB first)
                encryption       CRC generation        whitening    FEC encoding        Pattern mapper


                                                                                                             RF Interface
  RX payload
                                                                                           Pattern
                decryption        CRC checking        dewhitening   FEC decoding          demapper



Figure 3.2: Bit stream processing for the LE Coded PHYs


3.1 ERROR CHECKING
At packet reception, the Access Address shall be checked first. If the Access
Address is incorrect, the packet shall be rejected, otherwise the packet shall be
considered received. If the CRC is incorrect, the packet shall be rejected,
otherwise the packet shall be considered valid. A packet shall only be
processed if the packet is considered valid. A packet with an incorrect CRC
may cause a connection event to continue, as specified in Section 4.5.1.

3.1.1 CRC Generation

The CRC shall be calculated on the PDU field in all Link Layer packets. If the
PDU is encrypted, then the CRC shall be calculated after encryption of the
PDU has been performed.

The CRC polynomial is a 24-bit CRC and all bits in the PDU shall be processed
in transmitted order starting from the least significant bit. The polynomial has
the form of x24 + x10 + x9 + x6 + x4 + x3 + x + 1. For every Data Channel PDU,
the shift register shall be preset with the CRC initialization value set for the Link
Layer connection and communicated in the CONNECT_IND PDU. For the

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AUX_SYNC_IND PDU and its subordinate set, the shift register shall be preset
with the CRCInit value set in the SyncInfo field (see Section 2.3.4.6) contained
in the AUX_ADV_IND PDU that describes the periodic advertising. For all other
Advertising Channel PDUs, the shift register shall be preset with 0x555555.

Position 0 shall be set as the least significant bit and position 23 shall be set as
the most significant bit of the initialization value. The CRC is transmitted most
significant bit first, i.e. from position 23 to position 0 (see Section 1.2).

Figure 3.3 shows an example linear feedback shift register (LFSR) to generate
the CRC.

    x0        x1           x3       x4           x6               x9       x10                                                                         x24

              +            +        +            +                +        +                                                                           +
 Position 0        1   2        3        4   5        6   7   8        9         10   11   12   13   14   15   16   17   18   19   20   21   22   23
                                                                                                                                                     Data in
                                                                                                                                                   (LSB first)


Figure 3.3: The LFSR circuit generating the CRC


3.2 DATA WHITENING
Data whitening is used to avoid long sequences of zeros or ones, e.g.
0000000b or 1111111b, in the data bit stream. Whitening shall be applied on the
PDU and CRC fields of all Link Layer packets and is performed after the CRC
in the transmitter. De-whitening is performed before the CRC in the receiver
(see Figure 3.1).

The whitener and de-whitener are defined the same way, using a 7-bit linear
feedback shift register with the polynomial x7 + x4 + 1. Before whitening or de-
whitening, the shift register is initialized with a sequence that is derived from
the channel index (data channel index or advertising channel index) in which
the packet is transmitted in the following manner:
• Position 0 is set to one.
• Positions 1 to 6 are set to the channel index of the channel used when
  transmitting or receiving, from the most significant bit in position 1 to the
  least significant bit in position 6.

For example, if the channel index = 23 (0x17), the positions would be set as follows:
     Position 0 = 1
     Position 1 = 0
     Position 2 = 1
     Position 3 = 0
     Position 4 = 1
     Position 5 = 1
     Position 6 = 1


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Figure 3.4 shows an example linear feedback shift register (LFSR) to generate
data whitening.


              x0                                  x4                   x7    Data out



                                                  +                             +
   Position        0       1       2        3             4   5   6
                                                                              Data in
                                                                            (LSB first)

Figure 3.4: The LFSR circuit to generate data whitening


3.3 CODING
Coding only applies to the LE Coded PHY.

Coding consists of two processes. Data is first coded by the Forward Error
Correction (FEC) convolutional encoder as defined in Section 3.3.1 and then
spread by the pattern mapper as defined in Section 3.3.2.

3.3.1 Forward Error Correction Encoder

The convolutional FEC encoder uses a non-systematic, non-recursive rate ½
code with constraint length K=4. The generator polynomials are:

G0(x) = 1 + x + x2 + x3

G1(x) = 1 + x2 + x3

The bit coming from generator polynomial G0 (a0) is transmitted first; the bit
coming from generator polynomial G1 (a1) is transmitted second.

The initial state of the convolutional FEC encoder is set to all zeros. An input
sequence of three consecutive zeros always brings the convolutional FEC
encoder back to its original state. This sequence is known as the termination
sequence.

Figure 3.5 illustrates operation of the convolutional FEC encoder. Squares
represent bit storage operations and circles represent mod 2 binary additions.




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                                                             a0
                        +           +           +



              D             D            D


                                                             a1
                                    +           +

Figure 3.5: Convolutional Forward Error Correction Encoder


3.3.2 Pattern Mapper

The pattern mapper converts each bit from the convolutional FEC encoder into
P symbols, where the value of P depends on the coding scheme in use,
according to Table 3.1 (the entries in the table are in transmission order):

                                Output sequence when              Output sequence when
 Input bit from the             P=1                               P=4
 convolutional FEC encoder      (used by S=2)                     (used by S=8)

 0                              0                                 0011
 1                              1                                 1100
Table 3.1: Pattern Mapper inputs and outputs




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4 AIR INTERFACE PROTOCOL

The air interface protocol consists of the multiple access scheme, device
discovery and link layer connection methods.

4.1 FRAME SPACE

4.1.1 Inter Frame Space

The time interval between two consecutive packets on the same channel index
is called the Inter Frame Space. It is defined as the time from the end of the last
bit of the previous packet to the start of the first bit of the subsequent packet.
The Inter Frame Space is designated “T_IFS” and shall be 150 µs.

4.1.2 Minimum AUX Frame Space

The minimum time interval between a packet containing an AuxPtr and the
auxiliary packet it indicates is called the Minimum AUX Frame Space. It is
defined as the minimum time from the end of the last bit of the packet
containing the AuxPtr to the start of the auxiliary packet. The Minimum AUX
Frame Space is designated “T_MAFS” and shall be 300 µs.

Figure 4.1 illustrates an example where the Minimum AUX Frame Space
applies.


     AdverƟsing Event                                                  AdverƟsing Event
   (ADV_EXT_IND PDUs)                                                (ADV_EXT_IND PDUs)

                         ш T_MAFS             ш T_MAFS


                                    AUX_ADV              AUX_CHAIN
                                      _IND                 _IND



Figure 4.1: Example where the Minimum AUX Frame Space applies


4.2 TIMING REQUIREMENTS
The Link Layer shall use one of two possible clock accuracies. During a
connection event or advertising event the Link Layer shall use the active clock
accuracy; otherwise it shall use the sleep clock accuracy.

4.2.1 Active Clock Accuracy

The average timing of packet transmission during a connection event is
determined using the active clock accuracy, with a drift less than or equal to
±50 ppm. All instantaneous timings shall not deviate more than 2 µs from the
average timing.

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Note: This means that the start of a packet shall be transmitted 150±2 µs after
the end of the previous packet.

4.2.2 Sleep Clock Accuracy

The timing of advertising events (see Section 4.4.2.2) and connection events
(see Section 4.5.7) is determined using the sleep clock accuracy, with a drift
less than or equal to ±500 ppm.

The instantaneous timing of the anchor point (see Section 4.5.7) shall not
deviate more than 16 µs from the average timing.

Note: This means that a 1 s connection interval with a total ±1000ppm sleep
clock accuracy will give a window widening either side of the anchor point of
1ms plus 16us, assuming that the slave Controller was using its sleep clock for
almost the complete connection interval.

4.2.3 Range Delay

Where two devices are more than a few meters apart the time taken for a
signal to propagate between them will be significant compared with the Active
Clock Accuracy defined in Section 4.2.1. When a device is listening for a
packet that might be up to D meters away, it should listen for an extra 2D * 4 ns
after the nominal latest time (e.g. T_IFS + 2 µs) that the packet would have
been transmitted.

(1/c ~= 3.3 * refractive index ns/m, so 4 ns gives a conservative allowance.)

Figure 4.2 shows the range delays relative to a master packet transmission.


               Master Tx



                   Slave Rx                                              Slave Tx

                                               TIFS ± 2 μs

                                                                           Master Rx

                              Trange                            Trange



      Relative to the Master Tx:

      Slave Tx = (TIFS ± 2 μs) + Trange
      Master Rx = (TIFS ± 2 μs) + (2*Trange)

Figure 4.2: Range delays relative to a master packet transmission



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4.3 LINK LAYER DEVICE FILTERING
The Link Layer may perform device filtering based on the device address of the
peer device. Link Layer Device Filtering is used by the Link Layer to minimize
the number of devices to which it responds.

A Link Layer shall support Link Layer Device Filtering unless it only supports
non-connectable advertising.

The filter policies for the Advertising State, Scanning State and Initiating State
are independent of each other. When the Link Layer is in the Advertising State,
the advertising filter policy shall be used. When the Link Layer is in the
Scanning State, the scanning filter policy shall be used. When the Link Layer is
in the Initiating State, the initiator filter policy shall be used. If the Link Layer
does not support the Advertising State, Scanning State, or Initiating State, the
corresponding filter policy is not required to be supported.

4.3.1 White List

The set of devices that the Link Layer uses for device filtering is called the
White List.

A White List contains a set of White List Records used for Link Layer Device
Filtering. A White List Record contains both the device address and the device
address type (public or random). There is also a special device address type
"anonymous"; an entry with this type matches all advertisements sent with no
address. All Link Layers supporting Link Layer Device Filtering shall support a
White List capable of storing at least one White List Record.

On reset, the White List shall be empty.

The White List is configured by the Host and is used by the Link Layer to filter
advertisers, scanners or initiators. This allows the Host to configure the Link
Layer to act on a request without awakening the Host.

All the device filter policies shall use the same White List.

4.3.2 Advertising Filter Policy

The advertising filter policy determines how the advertiser’s Link Layer
processes scan and/or connection requests.
When the Link Layer is using non-connectable and non-scannable directed
advertising events, scannable directed advertising events, and connectable
directed advertising events the advertising filter policy shall be ignored.
Otherwise the Link Layer shall use one of the following advertising filter policy
modes which are configured by the Host:
• The Link Layer shall process scan and connection requests only from
  devices in the White List.

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• The Link Layer shall process scan and connection requests from all devices
  (i.e. the White List is not in use). This is the default on reset.
• The Link Layer shall process scan requests from all devices and shall only
  process connection requests from devices that are in the White List.
• The Link Layer shall process connection requests from all devices and shall
  only process scan requests from devices that are in the White List.

Only one advertising filter policy mode per advertising set shall be supported at
a time.

4.3.3 Scanner Filter Policy

The scanner filter policy determines how the scanner’s Link Layer processes
advertising packets. The Link Layer shall use one of the following scanner filter
policy modes which are configured by the Host:
• The Link Layer shall process advertising packets only from devices in the
  White List. A connectable directed advertising packet not containing the
  scanner’s device address shall be ignored.
• The Link Layer shall process all advertising packets (i.e., the White List is
  not used). A connectable directed advertising packet not containing the
  scanner’s device address shall be ignored. This is the default on reset.

If the Link Layer supports the Extended Scanner Filter policies, then the
following modes shall also be supported:
• The Link Layer shall process advertising packets only from devices in the
  White List. A connectable directed advertising packet shall not be ignored if
  the TargetA is the scanner's device address or a resolvable private address.
• The Link Layer shall process all advertising packets (i.e., the White List is
  not used). A connectable directed advertising packet shall not be ignored if
  the TargetA is the scanner's device address or a resolvable private address.

Only one scanner filter policy mode shall be supported at a time.

4.3.4 Initiator Filter Policy

The initiator filter policy determines how an initiator’s Link Layer processes
advertising packets. The Link Layer shall use one of the following initiator filter
policy modes which are configured by the Host:
• The Link Layer shall process connectable advertising packets from all
  devices in the White List.
• The Link Layer shall ignore the White List and process connectable
  advertising packets from a specific single device specified by the Host.




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If the Link Layer receives a connectable directed advertising packet from an
advertiser that is not contained in the White List or the single address specified
by the Host, the connectable directed advertising packet shall be ignored.

Only one initiator filter policy mode shall be supported at a time.

4.4 NON-CONNECTED STATES

4.4.1 Standby State

The Standby State is the default state in the Link Layer. The Link Layer shall
not send or receive packets in the Standby State. The Link Layer may leave the
Standby State to enter the Advertising State, Scanning State or Initiator State.

4.4.2 Advertising State

The Link Layer shall enter the Advertising State when directed by the Host.
When placed in the Advertising State, the Link Layer shall send advertising
PDUs (see Section 2.3.1) in advertising events.

Each advertising event is composed of one or more advertising PDUs sent on
used primary advertising channel indices. The advertising event shall be
closed after one advertising PDU has been sent on each of the used primary
advertising channel indices (see Section 4.4.2.1) or the advertiser may close
an advertising event earlier to accommodate other functionality.

The time between two consecutive advertising events is defined in Section
4.4.2.2.

An advertising event can be one of the following types:
• a connectable and scannable undirected event
• a connectable undirected event
• a connectable directed event
• a non-connectable and non-scannable undirected event
• a non-connectable and non-scannable directed event
• a scannable undirected event
• a scannable directed event

The first PDU of each advertising event shall be transmitted in the used
primary advertising channel with the lowest advertising channel index.

The advertising event type determines the allowable response PDUs. Table 4.1
specifies the allowable responses for each advertising event.

Connectable and scannable undirected, connectable undirected, and
connectable directed events are collectively referred to as connectable events;

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the remaining events (non-connectable and non-scannable undirected, non-
connectable and non-scannable directed, scannable undirected, and
scannable directed) are collectively referred to as non-connectable events.
Connectable and scannable undirected, scannable undirected, and scannable
directed events are collectively referred to as scannable events; the remaining
events (non-connectable and non-scannable undirected, non-connectable and
non-scannable directed, connectable undirected, and connectable directed)
are collectively referred to as non-scannable events.


                                                              Allowable response PDUs




                                                                                                 _CONNECT
                                                                                     AUX_SCAN
                                                                        CONNECT
                                                              _REQ1
                                                              SCAN




                                                                                     _REQ



                                                                                                 _REQ
                                                                        _IND1




                                                                                                 AUX
                                  Type of PDU being
 Advertising Event Type           responded to

 Connectable and Scannable
                                  ADV_IND                     YES       YES          NO            NO
 Undirected Event

 Connectable Undirected           ADV_EXT_IND                  NO       NO           NO            NO
 Event                            AUX_ADV_IND                  NO       NO           NO           YES

                                  ADV_DIRECT_IND               NO      YES2          NO            NO

 Connectable Directed Event       ADV_EXT_IND                  NO       NO           NO            NO

                                  AUX_ADV_IND                  NO       NO           NO           YES2
                                  ADV_NONCONN_IND              NO       NO           NO            NO
 Non-Connectable and Non-
 Scannable Undirected             ADV_EXT_IND                  NO       NO           NO            NO
 Event
                                  AUX_ADV_IND                  NO       NO           NO            NO
 Non-Connectable and Non-         ADV_EXT_IND                  NO       NO           NO            NO
 Scannable Directed
 Event                            AUX_ADV_IND                  NO       NO           NO            NO

                                  ADV_SCAN_IND                YES       NO           NO            NO
 Scannable Undirected Event       ADV_EXT_IND                  NO       NO           NO            NO
                                  AUX_ADV_IND                  NO       NO          YES            NO

                                  ADV_EXT_IND                  NO       NO           NO            NO
 Scannable Directed Event
                                  AUX_ADV_IND                  NO       NO          YES3           NO

Table 4.1: Advertising event types, PDUs used and allowable response PDUs
 1. Not permitted on the LE Coded PHY.
 2. Initiators other than the correctly addressed initiator shall not respond.
 3. Scanners other than the correctly addressed scanner shall not respond.


If the advertiser receives a PDU for the advertising event that is not explicitly
allowed it shall be ignored. If no PDU is received or the received PDU was


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ignored, the advertiser shall either send an advertising PDU on the next used
primary advertising channel index or close the advertising event.

4.4.2.1 Advertising Channel Index Selection

Advertising events use three predefined primary advertising channels. Primary
advertising channel indices are either used or unused.

For AUX_ADV_IND and AUX_CHAIN_IND PDUs, the secondary advertising
channel index used in the Channel Index subfield of the AuxPtr field is
implementation specific. It is recommended that sufficient channel diversity is
used to avoid collisions.

Each periodic advertisement shall have a 16-bit event counter
(paEventCounter). The initial value of this counter is implementation specific.
The counter shall be incremented by one for each AUX_SYNC_IND PDU; the
paEventCounter shall wrap from 0xFFFF to 0x0000. AUX_SYNC_IND PDUs
shall use the Channel Selection Algorithm #2 (see Section 4.5.8.3) with this
event counter.

The Link Layer shall use the primary and secondary advertising channel
indices as specified by the Host, and the used primary and secondary
advertising channel indices shall take effect when the Advertising State is
entered. The Link Layer need not use all the secondary channels that the Host
has marked as "unknown".

4.4.2.2 Advertising Events

Advertising events are defined as one or more advertising PDUs sent on the
primary advertising channel beginning with the first used advertising channel
index and ending with the last used advertising channel index. The advertising
event can be closed early after a CONNECT_IND is received or when a
SCAN_RSP is sent. The time between advertising events is the advertising
interval.

Advertising packets sent on the secondary advertising channel are not part of
the advertising event. Advertising events that use the ADV_EXT_IND PDU
may also be part of an extended advertising event. All ADV_EXT_IND PDUs
containing an AuxPtr field in the same advertising event shall point to the same
AUX_ADV_IND packet.

4.4.2.2.1 Advertising Interval

For all undirected advertising events or connectable directed advertising
events used in a low duty cycle mode, the time between the start of two
consecutive advertising events (T_advEvent) for the same advertising data set
(see Section 4.4.2.10) is computed as follows for each advertising event:
    T_advEvent = advInterval + advDelay


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The advInterval shall be an integer multiple of 0.625 ms in the range of 20 ms
to 10,485.759375 s.

The advDelay is a pseudo-random value with a range of 0 ms to 10 ms
generated by the Link Layer for each advertising event.

As illustrated in Figure 4.3, the advertising events are perturbed in time using
the advDelay.


            Advertising                    Advertising                           Advertising
              Event                          Event                                 Event

                   T_advEvent                            T_advEvent
                 advInterval                   advInterval

                                advDelay                              advDelay

   Advertising
     State
    entered

Figure 4.3: Advertising events perturbed in time using advDelay


4.4.2.2.2 Extended Advertising Event

An extended advertising event begins at the start of an advertising event and
consists of the PDUs in that advertising event plus their subordinate sets. The
extended advertising event ends with the last such PDU.

Multiple extended advertising events may overlap with each other. This can
occur when ADV_EXT_IND PDUs containing an AuxPtr field in multiple
advertising events point to the same AUX_ADV_IND packet, or when a
different advertising event is interposed between the ADV_EXT_IND PDUs
and the AUX_ADV_IND PDU.

T_advEvent, advInterval and advDelay have the same meaning as in Section
4.4.2.2.1.

Figure 4.4 illustrates an example of overlapping extended advertising events.




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                ĚǀĞƌƟƐŝng Event                                                     AdverƟƐŝŶŐ Event
              (ADV_EXT_IND WhƐͿ                                                   (ADV_EXT_IND PDUƐͿ


                                                                                                                                       AUX_ADV
                                                                                                                                         _IND
                                   T_advEvent
                                                                                                                      ш T_MAFS
                                advInterval


                                                                    advDelay


   AdverƟƐŝŶg                                                           AdverƟƐŝŶŐ
     Event &                                                              Event &
    Extended                          AdverƟƐŝŶg                         Extended                                AdverƟƐŝŶg                  Extended
   AdverƟƐŝŶg                          Event #1                         AdverƟƐŝŶŐ                               Event #2                AdverƟƐŝŶŐ Event
  Event #1 Start                         End                           Event #2 Start                               End                     #1 & #2 End

Figure 4.4: Example of overlapping extended advertising events


An auxiliary advertising segment starts with the first AUX_ADV_IND PDU in an
extended advertising event and ends at the end of the extended advertising
event (an auxiliary advertising segment can belong to more than one extended
advertising event). Two auxiliary advertising segments for the same advertising
set shall not overlap each other.

Figure 4.5 illustrates an example of auxiliary advertising segments belonging to
multiple extended advertising events.

    Extended                         Extended                       Extended                      Extended                      Extended
   AdverƟsing                       AdverƟƐŝŶg                     AdverƟsing                    AdverƟsing                    AdverƟsing
  Event #1 Start                   Event #2 Start                 Event #3 Start                Event #4 Start                Event #5 Start




         AdverƟsing                        AdverƟsing                     AdverƟsing                     AdverƟsing                   AdverƟsing
           Event                             Event                          Event                          Event                        Event


                                                                                                                                                       AUX_ADV
                                                                                                                                                         _IND



                                                                                        AUX_ADV                         AUX_CHAIN
                                                                                          _IND                            _IND

                         AUX_ADV                        AUX_CHAIN
                           _IND                           _IND




                    Auxiliary                             Auxiliary AdverƟƐŝng      Auxiliary                             Auxiliary AĚǀĞƌƟƐŝŶŐ     Auxiliary
                   AdverƟsing                                 Segment End          AdverƟsing                                 Segment End          AdverƟƐing
                    Segment                               Extended AdverƟsing       Segment                               Extended ĚǀĞƌƟƐŝŶŐ      Segment
                      Start                                   Event #1 End            Start                                Event #2 & #3 End          Start


Figure 4.5: Example of Auxiliary Advertising Segments


An advertiser should not space PDUs within the auxiliary advertising set so that
two of them would be within the same receive window. If an advertiser
transmits a PDU with an AuxPtr field containing an offset of T milliseconds,
then it should not start to transmit any other packet on the same RF channel as
the auxiliary packet within 2.5*T microseconds of the start of auxiliary packet of
the original PDU.

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4.4.2.2.3 Periodic Advertising Events

The Periodic Advertising Interval is the interval between the start of two
AUX_SYNC_IND PDUs from the same advertising set. The Periodic
Advertising Interval shall be an integer multiple of 1.25 ms in the range of 7.5
ms to 81.91875 s.

A periodic advertising event consists of an AUX_SYNC_IND PDU and its
subordinate set.

    AdveƌƟƐŝŶŐ ǀĞŶƚ                                                            AdveƌƟƐŝŶŐ ǀĞŶƚ
  (ADV_EXT_IND WhƐͿ                                                           (ADV_EXT_IND WhƐͿ


                        AUX_ADV                                                                      AUX_ADV
                          _IND                                                                         _IND


                                    AUX_SYNC   AUX_CHAIN      AUX_CHAIN                                        AUX_SYNC   AUX_CHAIN   AUX_CHAIN
                                      _IND       _IND           _IND                                             _IND       _IND        _IND

                                                     WĞƌŝŽĚŝĐ ĚǀĞƌƟƐŝŶŐ /ŶƚĞƌǀĂů




                            PeƌŝŽĚŝĐ EveŶƚ                          WĞƌŝŽĚŝĐ ǀĞŶƚ
                                 Sƚarƚ                                   ŶĚ


Figure 4.6: Example of Periodic Advertising Events from the same Advertising Set


Two periodic advertising events for the same advertising set shall not overlap
each other. The periodic advertising interval shall not change while the periodic
advertising is enabled.

4.4.2.3 Connectable and Scannable Undirected Event Type

When the connectable and scannable undirected advertising event type is
used, advertising indications (ADV_IND PDUs) are sent by the Link Layer.

The connectable and scannable undirected advertising event type allows a
scanner or initiator to respond with either a scan request or connect request. A
scanner may send a scan request (SCAN_REQ PDU) to request additional
information about the advertiser. An initiator may send a connect request
(CONNECT_IND PDU) to request the Link Layer to enter the Connection
State.

The Link Layer shall listen on the same primary advertising channel index for
requests from scanners or initiators.

If the advertiser receives a SCAN_REQ PDU that contains its device address
from a scanner allowed by the advertising filter policy, it shall reply with a
SCAN_RSP PDU on the same primary advertising channel index. After the
SCAN_RSP PDU is sent, or if the advertising filter policy prohibited processing
the SCAN_REQ PDU, the advertiser shall either move to the next used primary
advertising channel index to send another ADV_IND PDU, or close the
advertising event.



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If the advertiser receives a CONNECT_IND PDU that contains its device
address, from an initiator allowed by the advertising filter policy, the Link Layer
shall exit the Advertising State and transition to the Connection State in the
Slave Role as defined in Section 4.5.5. If the advertising filter policy prohibited
processing the received CONNECT_IND PDU, the advertiser shall either move
to the next used primary advertising channel index to send another ADV_IND
PDU, or close the advertising event.

The time between the beginning of two consecutive ADV_IND PDUs within an
advertising event shall be less than or equal to 10 ms. The advertising event
shall be closed within the advertising interval.

An illustration of an advertising event using all the primary advertising channel
indices and in which no SCAN_REQ or CONNECT_IND PDUs are received is
shown in Figure 4.7.


                ADV_IND                        ADV_IND                                     ADV_IND


                           ≤ 10 ms                            ≤ 10 ms
                   Adv_idx = 37                        Adv_idx = 38                           Adv_idx = 39



  Advertising                                                                                                   Advertising
     event                                                                                                        event
    started                                                                                                       closed

Figure 4.7: Connectable and scannable undirected advertising event with only advertising PDUs


Two illustrations of advertising events using all the primary advertising channel
indices during which a SCAN_REQ PDU is received and a SCAN_RSP PDU is
sent are shown in Figure 4.8 and in Figure 4.9.


          ADV_IND                    ADV_IND            SCAN_REQ                SCAN_RSP        ADV_IND

                                               T_IFS                    T_IFS
                      ≤ 10 ms                                 ≤ 10 ms

                Adv_idx = 37                            Adv_idx = 38                                 Adv_idx = 39



  Advertising                                                                                                       Advertising
     event                                                                                                            event
    started                                                                                                           closed


Figure 4.8: Connectable and scannable undirected advertising event with SCAN_REQ and
SCAN_RSP PDUs in the middle of an advertising event




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          ADV_IND                ADV_IND                        ADV_IND            SCAN_REQ                 SCAN_RSP

                                                                           T_IFS                   T_IFS
                      ≤ 10 ms              ≤ 10 ms

                Adv_idx = 37        Adv_idx = 38                                   Adv_idx = 39



  Advertising                                                                                                    Advertising
     event                                                                                                         event
    started                                                                                                        closed


Figure 4.9: Connectable and scannable undirected advertising event with SCAN_REQ and
SCAN_RSP PDUs at the end of an advertising event


Figure 4.10 illustrates an advertising event during which a CONNECT_IND
PDU is received on the second primary advertising channel index.


          ADV_IND               ADV_IND                  CONNECT
                                                           _IND

                   PV                    T_IFS


            Adv_idx = 37                  Adv_idx = 38




  Advertising                                                Advertising
     event                                                     event
    started                                                    closed

Figure 4.10: Connectable and scannable undirected advertising event when a CONNECT_IND
PDU is received


If Link Layer Privacy has been enabled then the requirements in Section 6.2.1
shall also be followed.

4.4.2.4 Connectable Directed Event Type

When the connectable directed advertising event type is used, directed
advertising indications are sent by the Link Layer.

The connectable directed advertising event type allows an initiator to respond
so that both the advertiser and initiator will enter the Connection State.

The connectable directed advertising event type may use either the
ADV_DIRECT_IND PDU (see Sections 4.4.2.4.1 to 4.4.2.4.3) or the
ADV_EXT_IND PDU (see Section 4.4.2.4.4). A single connectable directed
advertising event shall only use one of these two PDU types.

If Link Layer Privacy has been enabled then the requirements in Section 6.2.2
shall also be followed.




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4.4.2.4.1 Connectable Directed Event Type using ADV_DIRECT_IND

This procedure shall not be used when the connectable directed event type is
used on the LE Coded PHY.

The connectable directed advertising event type using ADV_DIRECT_IND
allows an initiator to respond with a connect request on the primary advertising
channel to establish a Link Layer connection.

The ADV_DIRECT_IND PDU contains both the initiator’s device address and
the advertiser’s device address. Only the addressed initiator may initiate a Link
Layer connection with the advertiser by sending a CONNECT_IND PDU to the
advertiser.

After every ADV_DIRECT_IND PDU sent by the advertiser, the advertiser shall
listen for CONNECT_IND PDUs on the same primary advertising channel
index. Any SCAN_REQ PDUs received shall be ignored.

If the advertiser receives a CONNECT_IND PDU that contains its device
address and the initiator device address is contained in the ADV_DIRECT_IND
PDU, the Link Layer shall exit the Advertising State and transition to the
Connection State in the Slave Role as defined in Section 4.5.5.

Otherwise, the advertiser shall either move to the next used primary
advertising channel index to send another ADV_DIRECT_IND PDU, or close
the advertising event.

Connectable directed advertising may be either used in a low duty cycle or high
duty cycle mode; these are described in the next two sections. Low duty cycle
connectable directed advertising is designed for cases where reconnection
with a specific device is required, but time is not of the essence or it is not
known if the central device is in range or not. High duty cycle connectable
directed advertising is designed for cases in which fast Link Layer connection
setup is essential (for example, a reconnection). Note that high duty cycle
connectable directed advertising is a power and bandwidth intensive
advertising scheme that should only be used when fast connection setup is
required.

4.4.2.4.2 Low Duty Cycle Connectable Directed Advertising

In low duty cycle connectable directed advertising, the time between the start
of two consecutive ADV_DIRECT_IND PDUs within an advertising event shall
be less than or equal to 10 ms. The advertising event shall be closed within the
advertising interval.

An illustration of an advertising event using all primary advertising channel
indices and in which no CONNECT_IND PDUs are received is shown in Figure
4.11.



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          ADV_DIRECT                 ADV_DIRECT                      ADV_DIRECT
             _IND                       _IND                            _IND



                          ≤ 10 ms                 ≤ 10 ms
                   Adv_idx=37               Adv_idx=38                        Adv_idx=39



    Advertising                                                                              Advertising
       Event                                                                                   Event
      started                                                                                  closed

Figure 4.11: Low duty cycle connectable directed advertising event with only advertising PDUs


Figure 4.12 illustrates an advertising event using ADV_DIRECT_IND
advertising PDUs during which a CONNECT_IND PDU is received on the
second primary advertising channel index.


       ADV_DIRECT                    ADV_DIRECT                CONNECT_
          _IND                          _IND                     IND



                         ≤ 10 ms                    T_IFS
                  Adv_idx = 37                  Adv_idx = 38



 Advertising                                                        Advertising
   Event                                                              Event
  started                                                             closed


Figure 4.12: Low duty cycle connectable directed advertising event during which a
CONNECT_IND PDU is received


4.4.2.4.3 High Duty Cycle Connectable Directed Advertising

In high duty cycle connectable directed advertising mode, the time between the
start of two consecutive ADV_DIRECT_IND PDUs sent on the same
advertising channel index shall be less than or equal to 3.75 ms.

The Link Layer shall exit the Advertising State no later than 1.28 s after the
Advertising State was entered.

A sequence of five ADV_DIRECT_IND PDUs in two advertising events without
CONNECT_IND PDUs is shown in Figure 4.13 for the case in which all the
primary advertising channels are used.




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        ADV_DIRECT        ADV_DIRECT           ADV_DIRECT               ADV_DIRECT               ADV_DIRECT
           _IND              _IND                 _IND                     _IND                     _IND

                                                    PV
                                   PV
           Adv_idx = 37      Adv_idx = 38        Adv_idx = 39                Adv_idx = 37           Adv_idx = 38




 Advertising                                              Advertising Advertising
   event                                                    event        event
  started                                                   closed      started


Figure 4.13: High duty cycle connectable directed advertising event with only advertising PDUs


4.4.2.4.4 Connectable Directed Event Type using ADV_EXT_IND

This procedure shall be used when the connectable directed event type is used
on the LE Coded PHY.

The connectable directed advertising event type using ADV_EXT_IND allows
an initiator to respond with a connect request on the secondary advertising
channel to establish a Link Layer connection.

In the ADV_EXT_IND PDU, the AdvMode field shall be set to connectable, the
ADI field shall be present, and the PDU shall not contain the AdvA and TargetA
fields. The ADV_EXT_IND PDU’s AuxPtr field shall point to an AUX_ADV_IND
PDU with the AdvMode field set to connectable; the AdvA, TargetA, and ADI
fields shall all be present. The ADI fields in the ADV_EXT_IND PDU and the
AUX_ADV_IND PDU shall be the same.

After every AUX_ADV_IND PDU related to this event it sends, the advertiser
shall listen for AUX_CONNECT_REQ PDUs on the same secondary
advertising channel index. Any AUX_SCAN_REQ PDUs received shall be
ignored.

If the advertiser receives an AUX_CONNECT_REQ PDU that contains its
device address and the initiator’s device address was contained in the
AUX_ADV_IND PDU, it shall reply with an AUX_CONNECT_RSP PDU that
contains those addresses on the same secondary advertising channel index.
After the AUX_CONNECT_RSP PDU is sent the Link Layer shall exit the
Advertising State and transition to the Connection State in the Slave Role as
defined in Section 4.5.5. Any AUX_SCAN_REQ PDUs received on the
secondary advertising channel shall be ignored.

The time between the start of two consecutive connectable directed
ADV_EXT_IND PDUs within an advertising event shall be less than or equal to
10 ms. The advertising event shall be closed within the advertising interval.

The channel index on the secondary channel, SAdv_idx, is contained in the
AuxPtr field of the ADV_EXT_IND PDU.

Figure 4.14 shows an advertising event in which no AUX_CONNECT_REQ
PDU is received.

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    ADV_EXT                                 ADV_EXT                                     ADV_EXT
     _IND                                    _IND                                        _IND

                     ч 10 ms                                ч 10 ms
    Adv_idx=37                              Adv_idx=38                                  Adv_idx=39
                                                                                                      ш T_MAFS



                                                                                                                    AUX_ADV
                                                                                                                      _IND

                                                                                                                      SAdv_idx=(x)


 AdverƟƐŝŶg
 EveŶt &                                                                                                                    ExteŶĚed
 ExteŶĚed                                                                                    AdverƟsiŶŐ                   AdverƟƐŝŶg
 AdverƟƐŝŶg                                                                                    EveŶt                            EveŶt
 EveŶƚ started                                                                                 closed                          closed

Figure 4.14: Connectable directed advertising event using the ADV_EXT_IND PDUs and
AUX_ADV_IND PDU containing advertising data


Figure 4.15 illustrates an advertising event using connectable directed
ADV_EXT_IND advertising PDUs during which an AUX_CONNECT_REQ
PDU is received on the second secondary advertising channel index.


    ADV_EXT               ADV_EXT             ADV_EXT
     _IND                  _IND                _IND

           ч 10 ms                ч 10 ms
    Adv_idx=37             Adv_idx=38         Adv_idx=39
                                                           ш T_MAFS
                                                                                T_IFS                       T_IFS


                                                                      AUX_ADV           AUX_CONNECT                 AUX_CONNECT
                                                                        _IND                _REQ                        _RSP

                                                                                             SAdv_idx=(x)

 AdverƟsing
 Event &
 Extended                                                                                                                   Extended
 AdverƟsing                                        AdverƟsing                                                             AdverƟsing
 Event started                                    Event closed                                                           Event closed

Figure 4.15: Connectable directed advertising event using ADV_EXT_IND PDUs and
AUX_ADV_IND PDUs containing advertising data with an AUX_CONNECT_REQ PDU




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4.4.2.5 Scannable Undirected Event Type

When the scannable undirected advertising event type is used, scannable
undirected advertising indications (ADV_SCAN_IND or scannable undirected
ADV_EXT_IND PDUs) are sent by the Link Layer.

A scannable undirected advertising event shall use either ADV_SCAN_IND or
scannable undirected ADV_EXT_IND PDUs but not both.

If Link Layer Privacy has been enabled then the requirements in Section 6.2.3
shall also be followed.

4.4.2.5.1 Scannable Undirected Event Type using ADV_SCAN_IND

The scannable undirected event type allows a scanner to respond with a scan
request (SCAN_REQ PDU) to request additional information about the
advertiser.

The Link Layer shall listen on the same primary advertising channel index for
requests from scanners. Any CONNECT_IND PDUs received shall be ignored.

If the advertiser receives a SCAN_REQ PDU that contains its device address
from a scanner allowed by the advertising filter policy it shall reply with a
SCAN_RSP PDU on the same advertising channel index. After the
SCAN_RSP PDU is sent or if the advertising filter policy prohibited processing
the SCAN_REQ PDU the advertiser shall either move to the next used primary
advertising channel index to send another ADV_SCAN_IND PDU, or close the
advertising event.

The time between the beginning of two consecutive ADV_SCAN_IND PDUs
within an advertising event shall be less than or equal to 10 ms. The
advertising event shall be closed within the advertising interval.

The structure of an advertising event in which no SCAN_REQ PDU was
received is shown in Figure 4.16 for the case in which all the primary
advertising channels are used.

              ADV_                      ADV_                          ADV_
             SCAN_                     SCAN_                         SCAN_
               IND                       IND                           IND

                         ≤ 10 ms                ≤ 10 ms
                 Adv_idx = 37             Adv_idx = 38                 Adv_idx = 39



   Advertising                                                                        Advertising
      event                                                                             event
     started                                                                            closed

Figure 4.16: Scannable undirected advertising event with only advertising PDUs




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Two example advertising events during which a SCAN_REQ PDU is received
and a SCAN_RSP PDU is sent are shown in Figure 4.17 and in Figure 4.18 for
the case in which all the primary advertising channels are used.

            ADV_                 ADV_                                                              ADV_
           SCAN_                SCAN_             SCAN_REQ               SCAN_RSP                 SCAN_
             IND                  IND                                                               IND
                                          T_IFS                  T_IFS
                      ≤ 10 ms                          ≤ 10 ms

                Adv_idx = 37                      Adv_idx = 38                                       Adv_idx = 39



  Advertising                                                                                                       Advertising
     event                                                                                                            event
    started                                                                                                           closed


Figure 4.17: Scannable undirected advertising event with SCAN_REQ and SCAN_RSP PDUs in
the middle of an advertising event



             ADV_                ADV_                             ADV_
            SCAN_               SCAN_                            SCAN_             SCAN_REQ                 SCAN_RSP
              IND                 IND                              IND
                                                                           T_IFS                   T_IFS
                      ≤ 10 ms           ≤ 10 ms

                Adv_idx = 37      Adv_idx = 38                                     Adv_idx = 39



  Advertising                                                                                                       Advertising
     event                                                                                                            event
    started                                                                                                           closed


Figure 4.18: Scannable undirected advertising event with SCAN_REQ and SCAN_RSP PDUs at
the end of an advertising event


4.4.2.5.2 Scannable Undirected Event Type using ADV_EXT_IND

The scannable undirected event type using the ADV_EXT_IND PDU allows
any scanner to respond with a scan request to receive scan response data on
the secondary advertising channel.

In the ADV_EXT_IND PDU the AdvMode field shall be set to scannable, the
ADI field shall be present, and the PDU shall not contain the AdvA field. The
ADV_EXT_IND PDU's AuxPtr field shall point to an AUX_ADV_IND PDU with
the AdvMode field set to scannable; the AdvA and ADI fields shall be present.
The ADI fields in the ADV_EXT_IND PDU and the AUX_ADV_IND PDU shall
be the same. A scanner may send a scan request using the AUX_SCAN_REQ
PDU on the same secondary advertising channel index as the received
AUX_ADV_IND PDU pointed to by the ADV_EXT_IND PDU.

After every AUX_ADV_IND PDU sent by the advertiser, the advertiser shall
listen for AUX_SCAN_REQ PDUs on the same secondary advertising channel
index from scanners. Any AUX_CONNECT_REQ PDUs received shall be
ignored.

If the advertiser receives an AUX_SCAN_REQ PDU that contains its device
address from a scanner allowed by the advertising filter policy, it shall reply
with an AUX_SCAN_RSP PDU on the same secondary advertising channel

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index prior to the start of the next advertising event. After the AUX_SCAN_RSP
PDU is sent, or if the advertising filter policy prohibits processing the
AUX_SCAN_REQ PDU, the advertising event shall be closed. Any
AUX_CONNECT_REQ PDUs on the secondary advertising channel shall be
ignored.

The time between the beginning of two consecutive ADV_EXT_IND PDUs
within an advertising event shall be less than or equal to 10 ms. The
advertising event shall be closed within the advertising interval.

Figure 4.19 shows an advertising event in which no AUX_SCAN_REQ PDU is
received.


    ADV_EXT                                                 ADV_EXT                                        ADV_EXT
     _IND                                                    _IND                                           _IND

                           ч 10 ms                                              ч 10 ms
    Adv_idx=37                                              Adv_idx=38                                     Adv_idx=39
                                                                                                                           ш T_MAFS



                                                                                                                                         AUX_ADV
                                                                                                                                           _IND

                                                                                                                                               SAdv_idx=(x)


 AdverƟƐŝŶg
 EveŶt &                                                                                                                                             ExteŶĚed
 ExteŶĚed                                                                                                          AdverƟsiŶŐ                      AdverƟƐŝŶg
 AdverƟƐŝŶg                                                                                                          EveŶt                               EveŶt
 EveŶƚ started                                                                                                       closed                             closed

Figure 4.19: Scannable undirected advertising event using the ADV_EXT_IND
PDUs and AUX_ADV_IND PDU containing advertising data

An example advertising event during which an AUX_SCAN_REQ PDU is
received and an AUX_SCAN_RSP PDU is sent on the secondary advertising
channel is shown in Figure 4.20.

   ADV_EXT                           ADV_EXT                             ADV_EXT
    _IND                              _IND                                _IND

                 ч 10 ms                          ч 10 ms
    Adv_idx=37                       Adv_idx=38                          Adv_idx=39

                                                                                      ш T_MAFS             T_IFS                       T_IFS



                                                                                                 AUX_ADV             AUX_SCAN                    AUX_SCAN
                                                                                                   _IND                _REQ                        _RSP

                                                                                                                        SAdv_idx=(y)

 AdverƟsing
 Event &
 Extended                                                                     AdverƟƐŝŶg                                                              Extended
 AdverƟsing                                                                     Event                                                               AdverƟƐŝŶg
 Event started                                                                  closed                                                             Event closed

Figure 4.20: Scannable undirected advertising event with ADV_EXT_IND and AUX_ADV_IND
PDUs with AUX_SCAN_REQ and AUX_SCAN_RSP PDUs on the secondary advertising channel




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4.4.2.6 Non-Connectable and Non-Scannable Undirected Event Type

When the non-connectable and non-scannable undirected advertising event
type is used, non-connectable and non-scannable undirected advertising
indications (ADV_NONCONN_IND or non-connectable and non-scannable
undirected ADV_EXT_IND PDUs) are sent by the Link Layer. The non-
connectable and non-scannable undirected advertising event shall use either
ADV_NONCONN_IND or non-connectable and non-scannable undirected
ADV_EXT_IND PDUs but not both. The ADV_NONCONN_IND PDU shall not
be used on the LE Coded PHY.

The non-connectable and non-scannable undirected event type allows a
scanner to receive information from the advertiser. This information is
contained either in the ADV_NONCONN_IND PDU or in an AUX_ADV_IND
PDU pointed to by the AuxPtr field of the ADV_EXT_IND PDU.

The advertiser shall either move to the next used primary advertising channel
index or close the advertising event after each ADV_NONCONN_IND or
ADV_EXT_IND PDU that is sent. The Link Layer does not listen, and therefore
cannot receive any requests from scanners or initiators.

The time between the beginning of two consecutive ADV_NONCONN_IND or
ADV_EXT_IND PDUs within an advertising event shall be less than or equal to
10 ms. The advertising event shall be closed within the advertising interval.

If an ADV_EXT_IND PDU is used, the AdvMode shall be set to non-
connectable and non-scannable.

If an ADV_EXT_IND PDU is used, the Controller may use an auxiliary packet.
It shall use an auxiliary packet if the advertisement includes ACAD or AdvData.

If an ADV_EXT_IND PDU is used without an auxiliary packet, it shall not
contain an AuxPtr field and shall contain an AdvA field.

If an ADV_EXT_IND PDU is used with an auxiliary packet, it shall contain an
AuxPtr field and an ADI field. Either the ADV_EXT_IND PDU or the
AUX_ADV_IND that it points to, but not both, may contain the AdvA field (the
AdvA field may be omitted entirely, in which case the advertising is
anonymous). In the AUX_ADV_IND PDU the AdvMode shall be set to non-
connectable and non-scannable and the ADI field shall be present. The ADI
fields in the ADV_EXT_IND PDU and the AUX_ADV_IND PDU shall be the
same. On the LE Coded PHY, the ADV_EXT_IND PDU shall not contain an
AdvA field.

Note: The Controller can decide which PDU contains the AdvA field and should
make this choice based on overall efficient use of the medium.

The TargetA field shall not be present in any PDU.



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An illustration of a non-connectable and non-scannable undirected advertising
event is shown in Figure 4.21 for the case in which all the primary advertising
channels are used.



                   ADV_                           ADV_                     ADV_
                 NONCONN_                       NONCONN_                 NONCONN_
                    IND                            IND                      IND


                         PV                       PV


                 Adv_idx = 37                   Adv_idx = 38             Adv_idx = 39




    Advertising                                                                            Advertising
   event started                                                                          event closed

Figure 4.21: Non-connectable and non-scannable undirected advertising event using
ADV_NONCONN_IND PDUs


Figure 4.22 shows an example of a non-connectable and non-scannable
undirected ADV_EXT_IND PDU.


    ADV_EXT                        ADV_EXT                       ADV_EXT
     _IND                           _IND                          _IND

                   ч 10 ms                          ч 10 ms
    Adv_idx=37                     Adv_idx=38                    Adv_idx=39

                                                                              ш T_MAFS



                                                                                          AUX_ADV
                                                                                            _IND

                                                                                            SAdv_idx=(x)

 AdverƟƐŝŶg
 EveŶt &
 ExteŶĚed                                                             AdverƟƐŝŶg                  ExteŶĚĞĚ
 AdverƟƐŝŶg                                                             EveŶt                   ĚǀĞƌƟƐŝŶŐ
 EveŶt started                                                          closed                 EveŶt closed

Figure 4.22: Non-connectable and non-scannable undirected advertising event using the
ADV_EXT_IND PDU


Figure 4.23 shows an example of a non-connectable and non-scannable
undirected ADV_EXT_IND PDU where the Host advertising data is fragmented
using the AUX_CHAIN_IND PDU.




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    ADV_EXT                ADV_EXT                ADV_EXT
     _IND                   _IND                   _IND

                 ч 10 ms                ч 10 ms
    Adv_idx=37             Adv_idx=38             Adv_idx=39

                                                               ш T_MAFS                  ш T_MAFS


                                                                          AUX_ADV                   AUX_CHAIN
                                                                            _IND                      _IND

                                                                          SAdv_idx=(x)              SAdv_idx=(y)

 AdverƟƐŝŶg
 EveŶt &
 ExteŶĚed                                              AdverƟƐiŶg
 AdverƟƐŝŶg                                                                                             ExteŶĚed
                                                         EveŶt                                        AdverƟƐŝŶg
 EveŶt started                                           closed                                      EvĞŶƚ closed

Figure 4.23: Non-connectable and non-scannable undirected advertising event using the
ADV_EXT_IND PDU with fragmented Host advertising data


If Link Layer Privacy has been enabled then the requirements in Section 6.2.3
shall also be followed.

4.4.2.7 Connectable Undirected Event Type

The connectable undirected advertising event type using the ADV_EXT_IND
PDU allows an initiator to respond with a connect request to establish a link
layer connection on the secondary advertising channel.

In the ADV_EXT_IND PDU, the AdvMode field shall be set to connectable, the
ADI field shall be present, and the PDU shall not contain the AdvA and TargetA
fields. The AuxPtr field shall point to an AUX_ADV_IND PDU with the
AdvMode field set to connectable and the AdvA and ADI fields present. The
ADI fields in the ADV_EXT_IND PDU and the AUX_ADV_IND PDU shall be
the same.

An initiator may send a connect request using the AUX_CONNECT_REQ PDU
on the same secondary advertising channel as the AUX_ADV_IND PDU to
request the Link Layer to enter the Connection State.

After every AUX_ADV_IND PDU sent related to this event by the advertiser,
the advertiser shall listen for AUX_CONNECT_REQ PDUs on the same
secondary advertising channel index. Any AUX_SCAN_REQ PDUs received
shall be ignored.

If the advertiser receives an AUX_CONNECT_REQ PDU that contains its
device address from an initiator allowed by the advertising filter policy it shall
reply with an AUX_CONNECT_RSP PDU on the same secondary advertising
channel index. After the AUX_CONNECT_RSP PDU is sent the Link Layer
shall exit the Advertising State and transition to the Connection State in the
Slave Role as defined in Section 4.5.5.



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The time between the beginning of two consecutive ADV_EXT_IND PDUs
within an advertising event shall be less than or equal to 10 ms. The
advertising event shall be closed within the advertising interval.

Figure 4.24 shows an advertising event in which no AUX_CONNECT_REQ
PDU is received.


      ADV_EXT                               ADV_EXT                                      ADV_EXT
       _IND                                  _IND                                         _IND

                       ч 10 ms                               ч 10 ms
      Adv_idx=37                            Adv_idx=38                                   Adv_idx=39

                                                                                                      ш T_MAFS



                                                                                                                     AUX_ADV
                                                                                                                       _IND

                                                                                                                       SAdv_idx=(x)




 ĚǀĞƌƟƐŝŶŐǀĞŶƚΘ                                                                          ĚǀĞƌƟƐŝŶŐ                     ǆƚĞŶĚĞĚ
 ǆƚĞŶĚĞĚĚǀĞƌƟƐŝŶŐ                                                                            ǀĞŶƚ                 ĚǀĞƌƟƐŝŶŐǀĞŶƚ
 ǀĞŶƚƐƚĂƌƚĞĚ                                                                                closed                           closed

Figure 4.24: Connectable undirected advertising event using the ADV_EXT_IND PDUs and
AUX_ADV_IND PDU containing advertising data


Figure 4.25 illustrates an advertising event during which an
AUX_CONNECT_REQ PDU is received and an AUX_CONNECT_RSP PDU is
sent on the secondary advertising channel index.


    ADV_EXT                ADV_EXT           ADV_EXT
     _IND                   _IND              _IND

           ч 10 ms                ч 10 ms
    Adv_idx=37             Adv_idx=38        Adv_idx=39

                                                          ш T_MAFS               T_IFS                       T_IFS


                                                                       AUX_ADV           AUX_CONNECT                  AUX_CONNECT
                                                                         _IND                _REQ                         _RSP

                                                                                              SAdv_idx=(y)

 AdverƟƐŝŶg
 EveŶt &
 ExteŶĚed                                          AdverƟsiŶŐ                                                                  ExteŶĚĞĚ
 AdverƟƐŝŶg                                          EveŶt                                                                    ĚǀĞƌƟƐŝŶŐ
 EveŶƚ started                                       closed                                                                  EveŶt closed

Figure 4.25: Connectable undirected advertising using ADV_EXT_IND PDUs when an
AUX_CONNECT_REQ PDU is received


If Link Layer Privacy has been enabled then the requirements in Section 6.2.4
shall also be followed.




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4.4.2.8 Scannable Directed Event Type

The scannable directed advertising event type using the ADV_EXT_IND PDU
allows a specific scanner to respond with a scan request to receive scan
response data on the secondary advertising channel.

In the ADV_EXT_IND PDU the AdvMode field shall be set to scannable, the
ADI field shall be present, and the PDU shall not contain the AdvA and TargetA
fields. The ADV_EXT_IND PDU’s AuxPtr field shall point to an AUX_ADV_IND
PDU with the AdvA, TargetA, and ADI fields all present. The ADI fields in the
ADV_EXT_IND PDU and the AUX_ADV_IND PDU shall be the same.

After every AUX_ADV_IND PDU sent, the advertiser shall listen for an
AUX_SCAN_REQ PDU on the same secondary advertising channel index
from the targeted scanner.

If the advertiser receives an AUX_SCAN_REQ PDU that contains its device
address and the scanner’s device address is contained in the AUX_ADV_IND
PDU, it shall reply with an AUX_SCAN_RSP PDU on the same secondary
advertising channel index prior to the next advertising event. The
AUX_SCAN_RSP PDU shall contain the scan response data.
AUX_SCAN_REQ PDUs from any other scanner or any
AUX_CONNECT_REQ PDUs received shall be ignored.

The time between the beginning of two consecutive ADV_EXT_IND PDUs
within an advertising event shall be less than or equal to 10 ms. The
advertising event shall be closed within the advertising interval.

See Section 4.4.2.5.2 for a description on how the AUX_SCAN_REQ packet is
used in conjunction with the AUX_SCAN_RSP packets on the secondary
advertising channel.

If Link Layer Privacy has been enabled then the requirements in Section 6.2.5
shall also be followed.

4.4.2.9 Non-Connectable and Non-Scannable Directed Event Type

The non-connectable and non-scannable directed advertising event type using
the ADV_EXT_IND PDU allows an advertiser to send non-connectable and
non-scannable directed ADV_EXT_IND PDUs on the primary advertising
channel with any advertising data sent on the secondary advertising channel
targeted for a specific scanner.

The AdvMode field in the ADV_EXT_IND PDU shall be set to non-connectable
and non-scannable.

The Controller shall use an auxiliary packet if the advertisement includes
ACAD or AdvData. Otherwise the Controller may use an auxiliary packet.



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If an auxiliary packet is not used, the ADV_EXT_IND PDU shall not contain an
AuxPtr field and shall contain the AdvA and TargetA fields.

If an auxiliary packet is used, the ADV_EXT_IND PDU shall contain an AuxPtr
field and an ADI field. Either the ADV_EXT_IND PDU or the AUX_ADV_IND
PDU it points to, but not both, may contain the AdvA field (the AdvA field may
be omitted entirely, in which case the advertising is anonymous). The TargetA
field shall be present in either PDU but not both. In the AUX_ADV_IND PDU
the AdvMode shall be set to non-connectable and non-scannable and the ADI
field shall be present. The ADI fields in the ADV_EXT_IND PDU and the
AUX_ADV_IND PDU shall be the same. On the LE Coded PHY, the
ADV_EXT_IND PDU shall not contain an AdvA or TargetA field.

Note: The Host cannot specify which PDU contains the AdvA or TargetA field;
the Controller should make this choice based on overall efficient use of the
medium.

The Link Layer does not listen, and therefore cannot receive any requests from
scanners or initiators.

If Link Layer Privacy has been enabled then the requirements in Section 6.2.5
shall also be followed.

4.4.2.10 Advertising Data Sets

The advertiser’s Host may instruct the Link Layer to interleave advertising
events. Advertising data belonging together is called an advertising data set.
The Link Layer may support multiple advertising data sets, with each set
having different advertising parameters such as advertising PDU type,
advertising interval, and PHY.

When advertising with the ADV_EXT_IND, AUX_ADV_IND, or
AUX_SYNC_IND PDUs, the advertising data set is identified by the Advertising
SID subfield of the ADI field. The Link Layer shall set the Advertising SID
subfield as directed by the Host.

The scanner may filter advertisements based on the Advertising SID.

The advertising events for each Advertising Data Set are considered a
separate instance of the Advertising State and each have their own Advertising
Interval (see Section 4.4.2.2.1).

Figure 4.26 illustrates an example of advertising using multiple advertising
sets.




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     AdverƟsing Event             AdveƌƟƐŝŶŐ Event                AdverƟsing Event               AdverƟƐing Event
          Set A                        Set B                           Set C                          Set A
                                                                                           T_advEventC


                                                          AdverƟsing State
                                                            Set C started

                                                                             T_advEventB


                         AdverƟsing State
                           Set B started

                                            T_advEventA                                                  T_advEventA


 AdverƟƐing State
 Set A started

Figure 4.26: Multiple advertising data sets example


On reset, all advertising sets are destroyed.

When an advertising set is created that includes advertising data, the
Controller shall guarantee that the set can contain at least 31 octets of
advertising data. The guarantee shall no longer apply after the Host first
specifies advertising data for that set or creates another advertising set.

When an advertising set is created that is scannable, the Controller shall
guarantee that the set can contain at least 31 octets of scan response data.
The guarantee shall no longer apply if the set is made non-scannable or after
the Host first specifies scan response data for that set or creates another
advertising set.

4.4.2.11 Using AdvDataInfo (ADI)

The AdvDataInfo (ADI) field is used to identify advertising sets and duplicate
AdvData in either the AUX_ADV_IND or AUX_SCAN_RSP PDUs. For
scannable advertising events using the ADV_EXT_IND PDU, AdvData is not
permitted in the AUX_ADV_IND PDU so the ADI only refers to the AdvData
contained in the AUX_SCAN_RSP PDU.

The Advertising DID for a given advertising set shall be initialized with a
randomly chosen value. Whenever the Host provides new advertising data or
scan response data for a given advertising set (whether it is the same as the
previous data or not), the Advertising DID shall be updated. The new value
shall be a randomly chosen value that is not the same as the previously used
value.

Note: Choosing Advertising DID field values randomly reduces the possibility of
PDUs from different advertisers containing the same ADI field value.




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4.4.2.12 Periodic Advertising

When advertising data is required to be sent regularly at a fixed interval,
periodic advertising is used. Periodic advertising consists of advertisements
sent at a fixed interval with the advertisement data changing from time to time.

When periodic advertising takes place, the advertiser shall send
AUX_SYNC_IND PDUs at regular intervals (the periodic advertising interval -
see Section 4.4.2.2.3), which are described in the SyncInfo field of
AUX_ADV_IND PDUs. The Periodic Advertising is identified by the
AdvDataInfo field of ADV_EXT_IND PDUs that point to AUX_ADV_IND PDUs
containing the SyncInfo field. The AUX_SYNC_IND PDUs and the PDUs that
point to them shall always be sent on the same PHY. The PHY used shall not
change while the periodic advertising is enabled. Advertising pointing to a
periodic advertisement shall not be anonymous. Each time that periodic
advertising is enabled, the Controller shall transmit at least one
AUX_IND_PDU pointing to the first AUX_SYNC_IND PDU of that periodic
advertising; after this, there is no requirement whether or when to transmit
advertising PDUs pointing to the periodic advertisements.

The Host may send periodic advertising data to the Link Layer. This advertising
data is placed by the Link Layer in the periodic AUX_SYNC_IND PDUs and
their subordinate sets. The Link Layer shall repeat the last advertising data
sent by the Host until it receives new advertising data. The AUX_SYNC_IND
PDUs are continuously sent out until the Host directs the Link Layer to
terminate the periodic advertising.

When an advertising set is first configured for periodic advertising, the
Controller shall guarantee that the set can contain at least 31 octets of
advertising data or else shall not allow periodic advertising on that advertising
set. The guarantee shall no longer apply after the Host first specifies periodic
advertising data for that set or creates another advertising set.

Figure 4.27 illustrates an example of periodic advertising.




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                                                                                                    ADV_EXT        ADV_EXT       ADV_EXT                                                                                                  ADV_EXT
                                                                                                     _IND           _IND          _IND                                                                                                     _IND
                                                                                                                                                                  T_advEvent
                                                                                                         ч10ms       ч10ms




                            Air Interface Protocol
                                                                                                    Adv_idx=37     Adv_idx=38    Adv_idx=39                                                                                               Adv_idx=37

                                                                                                                                              шdͺD&^
                                                                                                                                                                                                                                                       Link Layer Specification




                                                                                                                                                         AUX_ADV
                                                                                                                                                           _IND

                                                                                                                                                         SAdv_idx=(x)




                                                     Figure 4.27: Example of periodic advertising
                                                                                                                                                                               AUX_SYNC           AUX_SYNC            AUX_SYNC
                                                                                                                                                                                 _IND               _IND                _IND

                                                                                                                                                                                  SAdv_idx=f(y)     SAdv_idx=f(y+1)     SAdv_idx=f(y+2)
                                                                                                                                                                                                                                                                                  BLUETOOTH SPECIFICATION Version 5.0 | Vol 6, Part B




                                                                                                                                                                                   WĞƌŝŽĚŝĐ         WĞƌŝŽĚŝĐ           WĞƌŝŽĚŝĐ
                                                                                                                                                                                  ĚǀĞƌƟƐŝŶŐ        ĚǀĞƌƟƐŝŶŐ          ĚǀĞƌƟƐŝŶŐ
                                                                                                                                                                                   Interval          Interval            Interval

                                                                                                                                         PacketƟŵŝŶŐƐĂƌĞŶŽƚƚŽƐĐĂůĞ
                                                                                                                                                                                                                                                                                  page 2631




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4.4.3 Scanning State

The Link Layer shall enter the Scanning State when directed by the Host.
When scanning, the Link Layer shall listen on the primary advertising channel.
There are two types of scanning, determined by the Host: passive and active.

There are no strict timing or advertising channel index selection rules for
scanning.

During scanning, the Link Layer listens on a primary advertising channel index
for the duration of the scan window, scanWindow. The scan interval,
scanInterval, is defined as the interval between the start of two consecutive
scan windows.

The Link Layer should listen for the complete scanWindow every scanInterval
as directed by the Host unless there is a scheduling conflict. In each scan
window, the Link Layer should scan on a different primary advertising channel
index. The Link Layer shall use all the primary advertising channel indices.

The scanWindow and scanInterval parameters shall be less than 40.96 s. The
scanWindow shall be less than or equal to the scanInterval. If the scanWindow
and the scanInterval parameters are set to the same value by the Host, the
Link Layer should scan continuously.

The scanner filter policy shall apply when receiving an advertising PDU or
scanning PDU when scanning.

On receiving a PDU with the AuxPtr field present, the scanner should also
listen for the auxiliary PDU it points to (provided that it supports the PHY
specified in the AuxPtr field).

When a scanner receives ADV_EXT_IND PDUs that contain an AuxPtr field, it
may either always listen for the auxiliary packet or may sometimes skip
listening. In the latter case, the following requirements shall apply.

For each Advertising SID value received:
• The Controller shall keep a cache of one or more recent Advertising DID
  values used by each advertising device (for this purpose, all anonymous
  advertising is treated as being from a single device different to all real
  devices) and shall update them whenever a PDU containing an ADI field is
  received. The Controller may delete any cache entry at any time. The
  Controller should delete the cache entry relating to an ADV_EXT_IND PDU
  if it fails to receive that PDU's entire subordinate set.
• The Controller may only skip listening for the auxiliary packet if the cache
  has an entry specifying the Advertising DID value in the ADI field being used
  by a device; if the ADV_EXT_IND PDU contains an AdvA field, the entry
  shall be for that device. Otherwise, the Controller shall not skip listening for
  the auxiliary packet. The Controller should sometimes listen for the


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    AUX_ADV_IND PDU in case another advertiser has started using the same
    Advertising DID value.

If Link Layer Privacy has been enabled then the requirements in Section 6.3
shall also be followed.

4.4.3.1 Passive Scanning

When in passive scanning, the Link Layer will only receive packets; it shall not
send any packets.

4.4.3.2 Active Scanning

In active scanning, the Link Layer shall listen for advertising PDUs and,
depending on the advertising PDU type, it may request an advertiser to send
additional information.

After entering the Scanning State, if the Link Layer receives a scannable PDU
(i.e. an ADV_IND, ADV_SCAN_IND, or scannable AUX_ADV_IND PDU) from
an advertiser allowed by the scanner filter policy, it shall respond with a scan
request PDU and then listen for the scan response PDU. It shall continue to
respond to the same advertiser until it has successfully received the scan
response PDU. It may then either respond to or ignore subsequent scannable
PDUs from the same advertiser. It should ignore them if either they are legacy
PDUs or if the Advertising DID field has not changed since the last
advertisement from the same advertiser with the same Advertising SID field; it
should not ignore them otherwise.

The Link Layer shall only send a SCAN_REQ PDU to an advertiser from which
an ADV_IND PDU or ADV_SCAN_IND PDU is received. The Link Layer shall
only send an AUX_SCAN_REQ PDU to an advertiser from which a scannable
AUX_ADV_IND is received. The Link Layer shall ignore a scannable
ADV_EXT_IND or AUX_ADV_IND PDU if the TargetA field is present and it
does not match the Link Layer’s device address.

The scanner shall run a backoff procedure to minimize collisions of scan
request PDUs from multiple scanners. An example of such a procedure is
given in the following paragraphs.

The backoff procedure uses two parameters, backoffCount and upperLimit, to
restrict the number of scan request PDUs sent when collisions occur on scan
response PDUs. Upon entering the Scanning State, the upperLimit and
backoffCount are set to one.

On every received ADV_IND, ADV_SCAN_IND, or scannable AUX_ADV_IND
PDU that is allowed by the scanner filter policy and for which a scan request
PDU is to be sent, the backoffCount is decremented by one until it reaches the
value of zero. The scan request PDU is only sent when backoffCount becomes
zero.

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After sending a scan request PDU the Link Layer listens for a scan response
PDU from that advertiser. If the scan response PDU was not received from that
advertiser, it is considered a failure; otherwise it is considered a success. On
every two consecutive failures, the upperLimit is doubled until it reaches the
value of 256. On every two consecutive successes, the upperLimit is halved
until it reaches the value of one. After success or failure of receiving the scan
response PDU, the Link Layer sets backoffCount to a new pseudo-random
integer between one and upperLimit inclusive.

If a device uses a different backoff algorithm it shall share the medium
responsibly.

Two illustrations of advertising events using all the advertising channel indices
during which a SCAN_REQ PDU is received and a SCAN_RSP PDU is sent
are shown in Figure 4.8 and in Figure 4.9.

4.4.3.3 Advertising Data Sets

The ADV_EXT_IND PDU may contain an ADI field. When the ADI field is
present, it can be used to identify advertisement data that belong to the same
set. This is specified in the Advertising SID subfield in the ADI. The Advertising
SID is set by the Host of the advertiser.

4.4.3.4 Periodic Advertisements

For an AUX_ADV_IND PDU where the SyncInfo field is present the scanner
should, when instructed by the Host, listen for the AUX_SYNC_IND PDU
specified in the SyncInfo field. The scanner should then continue to listen for
AUX_SYNC_IND PDUs on the secondary advertising channel indices
specified in Section 4.4.2.1.

Because of sleep clock accuracies (see Section 4.2.2), the scanner should
perform the window widening specified in Section 4.5.7, with connection events
replaced by packets containing AUX_SYNC_IND PDUs.

If the Sync Packet Offset of the SyncInfo is zero, the scanner should listen for a
subsequent advertisement to be able to locate the periodic advertisement.

The Link Layer on the scanner shall report the advertising data received in the
periodic advertisements to the Host.

A scanner shall not attempt to synchronize to a periodic advertising set that it is
already synchronized to.

4.4.3.5 Advertising Reports

For each non-duplicate advertising or scan response PDU from an advertiser,
the Link Layer shall send an advertising report to the Host. However, if the
Controller receives an ADV_EXT_IND PDU with an AuxPtr field, it shall delay

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the report until after the corresponding AUX_ADV_IND PDU has been received
and the report shall combine the information in the PDUs; if the Controller does
not listen for or does not receive the AUX_ADV_IND PDU, no report shall be
generated. The advertising report shall contain at least the advertiser's device
address and advertising data or scan response data if present. The Host may
request that duplicate advertising reports are filtered.

Where a received ADV_EXT_IND PDU contains an ADI field, a duplicate
advertising report is an advertising report for the same device address where
the previous report that contained an ADI value with the same Advertising SID
also had the same Advertising DID. For this purpose, all anonymous
advertising is treated as being from a single device different to all non-
anonymous devices.

Where the ADV_EXT_IND PDU does not contain an ADI field or a legacy PDU
was received, a duplicate advertising report is an advertising report for the
same device address while the Link Layer stays in the Scanning State.

In either case the actual data may change; advertising data or scan response
data is not considered significant when determining duplicate advertising
reports.

4.4.4 Initiating State

The Link Layer shall enter the Initiating State when directed by the Host. When
initiating, the Link Layer shall listen on the primary advertising channel.

There are no strict timing or advertising channel index selection rules for
initiators.

During initiating, the Link Layer listens on a primary advertising channel index
for the duration of the scan window, scanWindow. The scan interval,
scanInterval, is defined as the interval between the start of two consecutive
scan windows.

The Link Layer should listen for the complete scanWindow every scanInterval
as directed by the Host unless there is a scheduling conflict. In each scan
window, the Link Layer should listen on a different primary advertising channel
index. The Link Layer shall use all the primary advertising channel indices.

The scanWindow and scanInterval parameters shall be less than or equal to
40.96 s. The scanWindow shall be less than or equal to the scanInterval. If the
scanWindow and the scanInterval parameters are set to the same value by the
Host, the Link Layer should listen continuously.

Connection indications or requests in response to a connectable advertisement
shall be sent on either the primary or secondary advertising channel depending
on which advertising PDU contains an AdvA field. The following sub-sections
describe the two procedures.


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If Link Layer Privacy has been enabled then the requirements in Section 6.4
shall also be followed.

4.4.4.1 Connect Requests on the Primary Advertising Channel

This procedure shall not be used when establishing a connection on the LE
Coded PHY.

If an ADV_IND PDU is received that is allowed by the initiator filter policy, the
initiator shall send a CONNECT_IND PDU to the advertiser. If an
ADV_DIRECT_IND PDU containing the initiator's Link Layer device address
and allowed by the initiator filter policy is received, the initiator shall send a
CONNECT_IND PDU to the advertiser; otherwise it shall be ignored.

After sending the CONNECT_IND PDU, the Link Layer shall exit the Initiating
State, and shall transition to the Connection State in the Master Role as
defined in Section 4.5.4.

4.4.4.2 Connect Requests on the Secondary Advertising Channel

This procedure shall be used when establishing a connection on the LE Coded
PHY.

If a connectable ADV_EXT_IND PDU is received, the initiator shall listen for
the connectable AUX_ADV_IND on the secondary advertising channel. If a
connectable undirected AUX_ADV_IND PDU, or a connectable directed
AUX_ADV_IND PDU containing the initiator's Link Layer device address, is
received and is allowed by the initiator filter policy, the initiator shall send an
AUX_CONNECT_REQ PDU to the advertiser; otherwise, it shall be ignored.

After sending the AUX_CONNECT_REQ PDU, the initiator shall wait for the
advertiser to send an AUX_CONNECT_RSP PDU. Once an
AUX_CONNECT_RSP PDU is received, the Link Layer shall exit the Initiating
State and shall transition to the Connection State in the Master Role as defined
in Section 4.5.4. If the initiator does not receive an AUX_CONNECT_RSP PDU
from the advertiser, it shall use the back-off algorithm described for
SCAN_REQ in Section 4.4.3.2 before responding to the next connectable
AUX_ADV_IND PDU.




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4.5 CONNECTION STATE
The Link Layer enters the Connection State when an initiator sends a
CONNECT_IND PDU on the primary advertising channel to an advertiser, an
advertiser receives a CONNECT_IND PDU on the primary advertising channel
from an initiator, an advertiser sends an AUX_CONNECT_RSP PDU on the
secondary advertising channel to an initiator, or an initiator receives an
AUX_CONNECT_RSP PDU on the secondary advertising channel from an
advertiser.

After entering the Connection State, the connection is considered to be
created. The connection is not considered to be established at this point. A
connection is only considered to be established once a data channel packet
has been received from the peer device. The only difference between a
connection that is created and a connection that is established is the Link
Layer connection supervision timeout value that is used (see Section 4.5.2).

If the connection is first created using the CONNECT_IND PDU on the primary
advertising channel, it shall use the LE 1M PHY in both directions. If the
connection is first created on the secondary channel using the
AUX_CONNECT_REQ and AUX_CONNECT_RSP PDUs, it shall use the
same PHY in both directions as was used for the AUX_CONNECT_REQ and
AUX_CONNECT RSP PDU. Either PHY may be changed subsequently using
the PHY Update Procedure (Section 5.1.10). When the LE Coded PHY is in
use, the coding of each packet is determined by the CI field as defined in
Section 2.2.3 and may be different in each direction and in adjacent packets in
a given direction.

When two devices are in a connection, the two devices act in different roles. A
Link Layer in the Master Role is called a master. A Link Layer in the Slave Role
is called a slave. The master controls the timing of a connection event. A
connection event is a point of synchronization between the master and the
slave. There shall be only one connection, whether or not established, between
two LE device addresses. An initiator shall not send a connection request to an
advertiser it is already connected to.

If an advertiser receives a connection request from an initiator it is already
connected to, it shall ignore that request.

If the initiator sent a CONNECT_IND PDU in response to an ADV_IND or
ADV_DIRECT_IND PDU and either or both device’s PDU had the ChSel field
set to 0, then Channel Selection Algorithm #1 (see Section 4.5.8.2) shall be
used on the connection. Otherwise, Channel Selection Algorithm #2 (see
Section 4.5.8.3) shall be used.




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4.5.1 Connection Events

The Link Layer in the Connection State shall only transmit Data Channel PDUs
(see Section 2.4) in connection events. The master and slave shall determine
the data channel index for each connection event as defined in Section 4.5.8.
The same data channel index shall be used for all packets in the connection
event. Each connection event contains at least one packet sent by the master.

During a connection event, the master and slave alternate sending and
receiving packets. The connection event is considered open while both devices
continue to send packets. The slave shall always send a packet if it receives a
packet from the master regardless of a valid CRC match, except after multiple
consecutive invalid CRC matches as specified in Section 4.5.6. The master
may send a packet if it receives a packet from the slave regardless of a valid
CRC match. The Length field of the Header is assumed to be correct even if
the CRC match was invalid. If the master does not receive a packet from the
slave, the master shall close the connection event.

The connection event can be closed by either device, as defined in Section
4.5.6.

The timing of connection events is determined by two parameters: connection
interval (connInterval), and slave latency (connSlaveLatency).

The start of a connection event is called an anchor point. At the anchor point, a
master shall start to transmit a Data Channel PDU to the slave. The start of
connection events are spaced regularly with an interval of connInterval and
shall not overlap. The master shall ensure that a connection event closes at
least T_IFS before the anchor point of the next connection event. The slave
listens for the packet sent by its master at the anchor point.

The connInterval shall be a multiple of 1.25 ms in the range of 7.5 ms to 4.0 s.
The connInterval is set by the Initiator’s Link Layer in the CONNECT_IND PDU
from the range given by the Host.

Slave latency allows a slave to use a reduced number of connection events.
The connSlaveLatency parameter defines the number of consecutive
connection events that the slave device is not required to listen for the master.
The value of connSlaveLatency should not cause a Supervision Timeout (see
Section 4.5.2). connSlaveLatency shall be an integer in the range of 0 to
((connSupervisionTimeout / (connInterval*2)) - 1). The connSlaveLatency
parameter shall also be less than 500. When connSlaveLatency is set to zero
the slave device shall listen at every anchor point. If the slave does not receive
a packet from the master after applying slave latency, it should listen at each
anchor point and not apply slave latency until it receives a packet from the
master.

Both the master and the slave shall have a 16-bit connection event counter
(connEventCounter), containing the value connEventCount, for each Link
Layer connection. It shall be set to zero on the first connection event sent by

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the master of the connection. It shall be incremented by one for each new
connection event sent by the master; the connEventCounter shall wrap from
0xFFFF to 0x0000. This counter is used to synchronize Link Layer control
procedures.

The slave shall increment connEventCounter for all connection events, even if
it is not listening to the master due to slave latency in those events.

4.5.2 Supervision Timeout

A connection can break down due to various reasons such as a device moving
out of range, encountering severe interference or a power failure condition.
Since this may happen without any prior warning, it is important for both the
master and the slave to monitor the status of the connection.

To be able to detect link loss, both the master and the slave shall use a Link
Layer connection supervision timer, TLLconnSupervision. Upon reception of a valid
packet, the timer shall be reset.

If the Link Layer connection supervision timer reaches 6 * connInterval before
the connection is established (see Section 4.5), the connection shall be
considered lost. This enables fast termination of connections that fail to
establish.

Connection supervision timeout (connSupervisionTimeout) is a parameter that
defines the maximum time between two received Data Packet PDUs before the
connection is considered lost. The connSupervisionTimeout shall be a multiple
of 10 ms in the range of 100 ms to 32.0 s and it shall be larger than
(1 + connSlaveLatency) * connInterval * 2.

If at any time in Connection State after the connection has been established
and the timer reaches the connSupervisionTimeout value, the connection shall
be considered lost.

If the connection is considered lost, the Link Layer shall not send any further
packets. The Link Layer exits the Connection State and shall transition to the
Standby State. The Host shall be notified of the loss of connection.

4.5.3 Connection Event Transmit Window

To allow the master to efficiently schedule connection events for multiple
connections or other activities it may be involved in, the master has the
flexibility to schedule the first connection event anchor point at a time of its
choosing. The CONNECT_IND and AUX_CONNECT_REQ PDUs include
parameters to determine when the master can send its first packet in the
Connection State to set the anchor point and when the slave must listen.

The CONNECT_IND and AUX_CONNECT_REQ PDUs include three
parameters used to determine the transmit window. The transmit window starts

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at transmitWindowDelay + transmitWindowOffset after the end of the packet
containing the CONNECT_IND PDU or AUX_CONNECT_REQ PDU, and the
transmitWindowSize parameter shall define the size of the transmit window.
The connInterval is used in the calculation of the maximum offset and size of
the transmit window. The transmitWindowOffset and transmitWindowSize
parameters are determined by the Link Layer.

The transmitWindowOffset shall be a multiple of 1.25 ms in the range of 0 ms
to connInterval. The transmitWindowSize shall be a multiple of 1.25 ms in the
range of 1.25 ms to the lesser of 10 ms and (connInterval - 1.25 ms).

Therefore the start of the first packet will be no earlier than
transmitWindowDelay + transmitWindowOffset and no later than
transmitWindowDelay + transmitWindowOffset + transmitWindowSize after the
end of the packet containing the CONNECT_IND PDU or
AUX_CONNECT_REQ PDU.

The value of transmitWindowDelay shall be 1.25 ms when a CONNECT_IND
PDU is used, 2.5 ms when an AUX_CONNECT_REQ PDU is used on an LE
Uncoded PHY, and 3.75 ms when an AUX_CONNECT_REQ PDU is used on
the LE Coded PHY.

4.5.4 Connection Setup – Master Role

After the initiator sends a CONNECT_IND PDU on the primary advertising
channel or receives an AUX_CONNECT_RSP PDU on the secondary
advertising channel, the Link Layer is in the Connection State in the Master
Role. The master shall reset the Link Layer connection supervision timer
TLLconnSupervision. The Link Layer shall notify the Host that the connection has
been created. The first connection event shall use the data channel index as
specified in Section 1.4.1.

The master shall start to send the first packet within the transmit window as
defined in Section 4.5.3. It is permitted that the master’s first packet can extend
beyond the transmit window.

The first packet sent in the Connection State by the master determines the
anchor point for the first connection event, and therefore the timings of all
future connection events in this connection.

The second connection event anchor point shall be connInterval after the first
connection event anchor point. All the normal connection event transmission
rules specified in Section 4.5.1 shall apply.

Two examples of the LL connection setup procedure timing from the master’s
perspective are shown in Figure 4.28 and in Figure 4.29.




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                                                                                                      transmitWindowSize


                                                                                                       Transmit Window
                                                                         transmitWindowOffset

  Advertising                CONNECT_
                                                                                                                             M->S            S->M                 M->S
    packet                     IND
                   T_IFS                     transmitWindowDelay                 transmitWindowOffset d t d                         T_IFS
                                                                         transmitWindowOffset + transmitWindowSize                            connInterval
        Primary .Adv. Channel                                                                                                Next data channel as

                                                                                                                    per the channel selection algorithm
                                       Adv. event                                                                    with previous_event_channel = 0
                                        closed


Figure 4.28: Master’s view of LL connection setup with CONNECT_IND


                                                                                                        transmitWindowSize



                                                                                                         Transmit Window
                                                                                transmitWindowOīset



  AUX_ADV                AUX_CONNECT                 AUX_CONNECT
                                                                                                                             M їS             S їM                M їS
    _IND                     _REQ                        _RSP
                T_IFS                      T_IFS                                                                                     T_IFS


                                                   transmitWindowDelay                 transmitWindowOīset ч t ч                          connInterval
                                                                               transmitWindowOīset + transmitWindowSize
                        Secondary Adv. Channel                                                                               Next data channel as per

                                                                                                                      the channel selecƟon algorithm with
                                                                                                                          previous_event_channel = 0

                                                               Adv. event
                                                                 closed


Figure 4.29: Master’s view of LL connection setup with AUX_CONNECT_REQ


4.5.5 Connection Setup – Slave Role

After the advertiser receives a CONNECT_IND PDU on the primary advertising
channel or sends an AUX_CONNECT_RSP PDU on the secondary advertising
channel, the Link Layer is in the Connection State in the Slave Role. The slave
shall reset the Link Layer connection supervision timer TLLconnSupervision. The
Link Layer shall notify the Host that the connection has been created. The first
connection event shall use the data channel index as specified in Section
1.4.1.

The slave shall start to listen for the first packet within the transmit window as
defined in Section 4.5.3. It is permitted that the master’s first packet can extend
beyond the transmit window, and therefore the slave must take this into
account.

The first packet received, regardless of a valid CRC match (i.e., only the
access code matches), in the Connection State by the slave determines the
anchor point for the first connection event, and therefore the timings of all
future connection events in this connection.

If a packet is not received in a transmit window, the slave shall attempt to
receive a packet in a subsequent transmit window. A subsequent transmit
window shall start connInterval after the start of the previous transmit window,
with the same transmitWindowSize. The data channel index shall be the next


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data channel index as specified in Section 1.4.1. The connEventCount shall
also be incremented by one.

Two examples of the procedure from the slave’s perspective are shown in
Figure 4.30 and in Figure 4.31. In these examples the slave fails to receive any
part of the first packet (i.e., connEventCount = 0) from the master and acquires
anchor point timing from the second packet (i.e., connEventCount = 1).

                                                                                      transmitWindowSize                    transmitWindowSize



                                                           transmitWindowOīset         Transmit Window                       Transmit Window




          CONNECT_IND                                                                   M їS                                   M їS              S їM
                                                                                                                                       T_IFS


                                     transmitWindowDelay                                              connInterval

    Primary Adv. Channel                                                              Next data channel as per               Next data channel as per
                                                                                                                          the channel selecƟon algorithm
                                                                                 the channel selecƟon algorithm with
                                                                                     previous_event_channel = 0

                                                                                                                        Anchor Point


Figure 4.30: Slave closing LL connection setup in the second LL connection event with
CONNECT_IND


                                                                                      transmitWindowSize                     transmitWindowSize



                                                           ƚƌĂŶƐŵŝƚtŝŶĚŽǁKīset         Transmit Window                         Transmit Window



     AUX_CONNECT                     AUX_CONNECT
                                                                                         M їS                                   M їS              S їM
         _REQ                            _RSP
                           T_IFS                                                                                                         T_IFS


                                   transmitWindowDelay                                                 connInterval

            Secondary Adv. Channel                                                    Next data channel as per                Next data channel as per
                                                                                                                           the channel selecƟŽŶ algorithm
                                                                                 the channel selecƟon algorithm with
                                                                                     previous_event_channel = 0

                                                                                                                        Anchor Point


Figure 4.31: Slave closing LL connection setup in the second LL connection event with
AUX_CONNECT_REQ


The slave shall be active in every connection event until it receives a packet
from the master with the NESN set to one. From then on it may use slave
latency as defined in Section 4.5.1.

4.5.6 Closing Connection Events

The MD bit of the Header of the Data Channel PDU is used to indicate that the
device has more data to send. If neither device has set the MD bit in their
packets, the packet from the slave closes the connection event. If either or both
of the devices have set the MD bit, the master may continue the connection
event by sending another packet, and the slave should listen after sending its
packet. If a packet is not received from the slave by the master, the master will



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close the connection event. If a packet is not received from the master by the
slave, the slave will close the connection event.

Two consecutive packets received with an invalid CRC match within a
connection event shall close the event.

MD bit usage is summarized in Table 4.2.

                                                             Master

                                       MD = 0                                  MD = 1

                         Master shall not send another           Master may continue the connec-
                         packet, closing the connection          tion event.
            MD = 0       event.                                  Slave should listen after sending
                         Slave does not need to listen after     its packet.
                         sending its packet.
 Slave
                         Master may continue the connec-         Master may continue the connec-
                         tion event.                             tion event.
             MD = 1
                         Slave should listen after sending       Slave should listen after sending
                         its packet.                             its packet.
Table 4.2: MD bit usage for closing connection events


4.5.7 Window Widening

Because of sleep clock accuracies (see Section 4.2.2), there is uncertainty in
the slave of the exact timing of the master’s anchor point. Therefore the slave
is required to re-synchronize to the master’s anchor point at each connection
event where it listens for the master. If the slave receives a packet from the
master regardless of a CRC match, the slave shall update its anchor point.

The slave calculates the time when the master will send the first packet of a
connection event (slaveExpectedAnchorPoint) taking clock jittering, and in the
case of connection setup or a connection parameter update the transmit
window, into account. In the absence of more accurate information about the
master's clock, the slave shall also use the master’s sleep clock accuracy
(masterSCA) from the CONNECT_IND PDU, together with its own sleep clock
accuracy (slaveSCA) and the anchor point of the last connection event where it
received a packet from the master (timeSinceLastAnchor) to calculate the time
it needs to receive.

The increase in listening time is called the window widening. Assuming the
clock inaccuracies are purely given in parts per million (ppm), it is calculated as
follows:
    windowWidening = ((masterSCA + slaveSCA) / 1000000) *
    timeSinceLastAnchor
If the slave has more accurate information about the master's clock, it may
select a smaller value for windowWidening.


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During connection setup or during a connection parameter update, the slave
should listen for windowWidening before the start of the transmit window and
until windowWidening after the end of the transmit window for the master's
anchor point.

At each subsequent connection event, the slave should listen for
windowWidening before the start of the slaveExpectedAnchorPoint and until
windowWidening after slaveExpectedAnchorPoint for the master’s anchor
point.

The windowWidening shall be smaller than ((connInterval/2) - T_IFS us). If the
windowWidening reaches ((connInterval/2) - T_IFS us) in magnitude, the
connection should be considered lost.

4.5.8 Data Channel Index Selection

4.5.8.1 Channel Classification

The master’s Link Layer shall classify data channels into used channels (used
for the connection) and unused channels (not used for the connection). This is
called the channel map. The minimum number of used channels shall be 2.

The Host may provide channel classification information to the Link Layer. The
Link Layer may use the information provided by the Host. The slave shall
receive the channel map from the master in the CONNECT_IND PDU. If the
master changes the channel map it shall notify the slave as specified in Section
5.1.2.

4.5.8.2 Channel Selection Algorithm #1

Channel Selection Algorithm #1 only supports channel selection for connection
events.

Channel Selection Algorithm #1 consists of two stages: calculation of the
unmapped channel index followed by mapping this index to a data channel
index from the set of used channels.

The unmappedChannel and lastUnmappedChannel are the unmapped
channel indices of two consecutive connection events. The unmappedChannel
is the unmapped channel index for the current connection event. The
lastUnmappedChannel is the unmapped channel index of the previous
connection event. The lastUnmappedChannel shall be 0 for the first connection
event of a connection.

At the start of a connection event, unmappedChannel shall be calculated using
the following basic algorithm:
    unmappedChannel = (lastUnmappedChannel + hopIncrement) mod 37



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When a connection event closes, the lastUnmappedChannel shall be set to the
value of the unmappedChannel.

If the unmappedChannel is a used channel according to the channel map,
Channel Selection Algorithm #1 shall use the unmappedChannel as the data
channel index for the connection event.

If the unmappedChannel is an unused channel according to the channel map,
the unmappedChannel shall be re-mapped to one of the used channels in the
channel map using the following algorithm:
    remappingIndex = unmappedChannel mod numUsedChannels

where numUsedChannels is the number of used channels in the channel map.

A remapping table is built that contains all the used channels in ascending
order, indexed from zero. The remappingIndex is then used to select the data
channel index for the connection event from the remapping table.

The complete procedure is as shown in Figure 4.32.


 lastUnmappedChannel
                                           unmappedChannel     Is unmapped     YES                    data channel index =
                         Basic algorithm                      Channel a used                          unmappedChannel
       hopIncrement                                              channel?


                                                                     NO




                                                                     remappingIndex                   data channel index =
                                                             MOD                                      channel according to
                               numUsedChannels                                                        remappingIndex



                                                                                 Used channels in
                                                                                 ascending order



Figure 4.32: Block diagram of data Channel Selection Algorithm #1


4.5.8.3 Channel Selection Algorithm #2

4.5.8.3.1 Overview

Channel Selection Algorithm #2 supports channel selection for connection
events and periodic advertising packets.

At the start of an event, which can be a connection event or a periodic
advertising packet, the algorithm described here generates an event channel
index (which is a data channel index or secondary advertising channel index,
as appropriate).

A block diagram of the overall algorithm is shown in Figure 4.33.


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                      16                         unmappedChannel
           counter
                             Unmapped Event                                  Event Mapping to         channel index

  channelIdentifier
                      16     Channel Selection         prn_e       16       Used Channel Index



Figure 4.33: General block diagram of Channel Selection Algorithm #2


4.5.8.3.2 Inputs and Basic Components

The algorithm makes use of the following inputs and basic components:
• The 6-bit input N is the number of channels classified as Used channels.
• The 16-bit input channelIdentifier is fixed for any given connection or
  periodic advertising; it is calculated from the Access Address by:
  channelIdentifier = (Access Address31-16) XOR (Access Address15-0)
• The 16-bit input counter changes for each event. For data connections it is
  the connection event counter connEventCounter defined in Section 4.5.1.
  For periodic advertising it is the event counter paEventCounter defined in
  Section 4.4.3.4.

The “XOR” operation always refers to a 16-bit bit-wise XOR.

The symbol ¬ ¼ is used to represent the floor function (the greatest integer less
than or equal to the argument).

The permutation operation consists of separately bit-reversing the lower 8 input
bits and upper 8 input bits, as illustrated in Figure 4.34.



         0        1      2   3    4    5     6     7           8        9     10   11   12      13      14      15




         0        1      2   3    4    5     6     7           8        9     10   11   12      13      14      15




Figure 4.34: Permutation operation

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The Multiply, Add, and Modulo (MAM) block performs a multiplication
operation, an addition operation, and a modulo operation, as illustrated in
Figure 4.35.



                                16                                                                  16
                      a                   x17                                 mod 216                       output

                                                           16

                                                            b
Figure 4.35: Multiply, Add, and Modulo block operation


The output of the MAM operation, given inputs a and b, is:

                                              output = (17 x a + b) mod 216

A remapping table is built that contains all the used channels in ascending
order, indexed from zero.

4.5.8.3.3 Unmapped Event Channel Selection

The unmapped event channel selection process consists of two stages. First,
the unsigned pseudo-random number prn_e is generated, after which the
unmapped channel index unmappedChannel is derived from prn_e.

The first stage shall be as shown in Figure 4.36.


                                          P                          P                          P
                          16    X    16       16                16       16              16         16           16   X prn_e 16
                                          E                          E                          E
            counter             O                  a MAM                        a MAM                    a MAM        O
                                          R                          R                          R
                                R                                                                                     R
                                          M          b               M              b           M          b
                          16
 channelIdentifier



Figure 4.36: Event pseudo-random number generation


unmappedChannel is then calculated as prn_e modulo 37. A block diagram of
the overall process is shown in Figure 4.37.


                                     16
                      counter
                                               Pseudo Random                  prn_e 16                    unmappedChannel
                                                                                              mod 37
            channelIdentifier
                                     16       Number Generator



Figure 4.37: Unmapped channel selection process




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4.5.8.3.4 Event Mapping to Used Channel Index

If unmappedChannel is the channel index of a used channel according to the
channel map, it is used as the channel index for the event. If
unmappedChannel is the index of an unused channel according to the channel
map, then the channel index for the event is calculated from prn_e and N (the
number of used channels) by first calculating the value remappingIndex as:

                                                         «§ N * prn _ e ·»
                                  remappingindex         «¨             ¸»
                                                         ¬©    216      ¹¼

and then using remappingIndex as an index into the remapping table to obtain
the channel index for the event.

The overall process is illustrated in Figure 4.38.



     UnmappedChannel                Is unmapped      YES                     channel index =
                                   channel a used                            unmappedChannel
                                      channel?


                                           NO



     prn_e 16            « prn _ e »   remappingIndex                        channel index =
                         «N  216 »¼
                                                                             channel according to
                                                                             remappingIndex
                         ¬

                                                    N used channels in
                                                     ascending order


Figure 4.38: Event mapping to used channel index process


4.5.9 Acknowledgment and Flow Control

The Link Layer acknowledgment and flow control scheme shall be used in all
Link Layer connections.

For each connection the Link Layer has two parameters, transmitSeqNum and
nextExpectedSeqNum, each one bit in size. The transmitSeqNum parameter is
used to identify packets sent by the Link Layer. The nextExpectedSeqNum
parameter is used by the peer to either acknowledge the last Data Channel
PDU sent, or to request resending of the last Data Channel PDU sent.

The transmitSeqNum and nextExpectedSeqNum parameters shall be set to
zero upon entering the Connection State.

If the last Data Channel PDU was sent on the LE Coded PHY, the coding
scheme (see Section 2.2.3) used when resending may be the same as or
different from that used in the last Data Channel PDU. If the instant of a PHY

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Update procedure (see Section 5.1.10) occurs while a Data Channel PDU is
waiting to be resent, the new PHY shall be used when resending.

A new Data Channel PDU is a Data Channel PDU sent for the first time by the
Link Layer. A last Data Channel PDU is a Data Channel PDU that is resent by
the Link Layer. When resending a Data Channel PDU, the LLID field, the SN
field and the payload of the sent Data Channel PDU shall be equal to those of
the last Data Channel PDU sent by the Link Layer.

For each new Data Channel PDU that is sent, the SN bit of the Header shall be
set to transmitSeqNum. If a Data Channel PDU is resent, then the SN bit shall
not be changed.

Upon reception of a Data Channel PDU, the SN bit shall be compared to
nextExpectedSeqNum. If the bits are different, then this is a resent Data
Channel PDU, and nextExpectedSeqNum shall not be changed. If the bits are
the same, then this is a new Data Channel PDU, and nextExpectedSeqNum
may be incremented by one (see Section 4.5.9.1).

When a Data Channel PDU is sent, the NESN bit of the Header shall be set to
nextExpectedSeqNum.

Upon receiving a Data Channel PDU, if the NESN bit of that Data Channel
PDU is the same as transmitSeqNum, then the last sent Data Channel PDU
has not been acknowledged and shall be resent. If the NESN bit of the Data
Channel PDU is different from transmitSeqNum, then the last sent Data
Channel PDU has been acknowledged, transmitSeqNum shall be incremented
by one, and a new Data Channel PDU may be sent.

The above process is illustrated in Figure 4.39.


        Transmitting Data                             Receiving Data




                            different                                   different
                              (ack)                                    (old data)
           SN = NESN?                                   SN = NESN?


                   Same                                      Same
                   (nak)                                     (new data)

                                Inc SN                   Inc NESN



        TX old data, SN        TX new data, SN          RX new data       Ignore RX data


Figure 4.39: Transmit and Receive SN and NESN flow diagram



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If a Data Channel PDU is received with an invalid CRC match,
nextExpectedSeqNum shall not be changed; this means that the Data Channel
PDU will not be acknowledged, causing the peer to resend the Data Channel
PDU. Since the received Data Channel PDU has been rejected, the
nextExpectedSeqNum from the peer device cannot be trusted, and therefore
the last sent Data Channel PDU from this device was not acknowledged and
must be retransmitted.

SN, NESN and MD bits shall be used from every received Data Channel PDU
which has passed the CRC check. The Data Channel PDU payload shall be
ignored on every received Data Channel PDU that has the same SN value as
the previously received Data Channel PDU.

4.5.9.1 Flow Control

A Link Layer may fail to update nextExpectedSeqNum for reasons, including,
but not limited to, lack of receive buffer space. This will cause the peer to
resend the Data Channel PDU at a later time, thus enabling flow control.

4.5.10 Data PDU Length Management

The Controller shall maintain the following global parameters:
• connInitialMaxTxOctets - the value of connMaxTxOctets that the Controller
  will use for a new connection.
• connInitialMaxTxTime - a value that the Controller will use to determine the
  value of connMaxTxTime that it will use for a new connection.
• connInitialMaxTxTimeUncoded - the value of connMaxTxTime that the
  Controller will use for a new connection on an LE Uncoded PHY. The value
  of connInitialMaxTxTimeUncoded shall be the greater of 328 and the value
  of connInitialMaxTxTime.
• connInitialMaxTxTimeCoded - the value of connMaxTxTime that the
  Controller will use for a new connection on the LE Coded PHY. The value of
  connInitialMaxTxTimeCoded shall be the greater of 2704 and the value of
  connInitialMaxTxTime.
• supportedMaxTxOctets - the maximum value of connMaxTxOctets that the
  Controller supports.
• supportedMaxTxTime - the maximum value of connMaxTxTime that the
  Controller supports.
• supportedMaxRxOctets - the maximum value of connMaxRxOctets that the
  Controller supports.
• supportedMaxRxTime - the maximum value of connMaxRxTime that the
  Controller supports.

  Note: 2704 µs is derived from the duration of a packet with a 27 octet payload
  when sent on the LE Coded PHY using S=8 coding.


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The Controller shall maintain the following parameters for each connection:
• connMaxTxOctets - the maximum number of octets in the Payload field that
  the local device will send to the remote device.
• connMaxRxOctets - the maximum number of octets in the Payload field that
  the local device is able to receive from the remote device.
• connRemoteMaxTxOctets - the maximum number of octets in the Payload
  field that the remote device will send to the local device.
• connRemoteMaxRxOctets - the maximum number of octets in the Payload
  field that the remote device is able to receive from the local device.
• connMaxTxTime - the maximum number of microseconds that the local
  device will take to transmit a PDU to the remote device.
• connMaxRxTime - the maximum number of microseconds that the local
  device can take to receive a PDU from the remote device.
• connRemoteMaxTxTime - the maximum number of microseconds that the
  remote device will take to transmit a PDU to the local device.
• connRemoteMaxRxTime - the maximum number of microseconds that the
  remote device can take to receive a PDU from the local device.

The values of these parameters shall each be within the range given in Table 4.3:

                           LE Coded    Parameters with names   Parameters with names
 LE Data Packet            PHY         ending in "Octets"      ending in "Time"
 Length Extension          feature
 feature supported         supported   Minimum    Maximum      Minimum        Maximum

 No                        No          27         27           328            328
 Yes                       No          27         251          328            2120
 No                        Yes         27         27           328            2704

 Yes                       Yes         27         251          328            17040
Table 4.3: Valid ranges for data PDU length management parameters

The following values are derived from the parameters maintained by the Controller:
• connEffectiveMaxTxOctets - the lesser of connMaxTxOctets and
  connRemoteMaxRxOctets.
• connEffectiveMaxRxOctets - the lesser of connMaxRxOctets and
  connRemoteMaxTxOctets.
• connEffectiveMaxTxTimeUncoded - the lesser of connMaxTxTime and
  connRemoteMaxRxTime.
• connIntervalPortionAvailable - the current connInterval for the connection
  minus C, where:
  C = (2*T_IFS) + min (connEffectiveMaxRxTime,
  ((connEffectiveMaxRxOctets * 64) + 976))


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    Note: 976 µs is the duration of a packet with a zero octet payload when sent
    on the LE Coded PHY using S=8 coding.
• connEffectiveMaxTxTimeAvailable - the lesser of
  connEffectiveMaxTxTimeUncoded and connIntervalPortionAvailable.
• connEffectiveMaxTxTimeCoded - the greater of 2704 and
  connEffectiveMaxTxTimeAvailable.
• connEffectiveMaxTxTime - equal to connEffectiveMaxTxTimeUncoded
  while the connection is on an LE Uncoded PHY and equal to
  connEffectiveMaxTxTimeCoded while the connection is on the LE Coded
  PHY.
• connEffectiveMaxRxTimeUncoded - the lesser of connMaxRxTime and
  connRemoteMaxTxTime.
• connEffectiveMaxRxTimeCoded - the greater of 2704 and
  connEffectiveMaxRxTimeUncoded.
• connEffectiveMaxRxTime - equal to connEffectiveMaxRxTimeUncoded
  while the connection is on an LE Uncoded PHY and equal to
  connEffectiveMaxRxTimeCoded while the connection is on the LE Coded
  PHY.

Note: Corresponding octet and time parameters do not have to be mutually
consistent. For example, it is permissible for a time parameter to be 2120 µs even
though, on some PHYs, the maximum possible time is less.

The Controller shall not change the values of supportedMaxTxOctets,
supportedMaxTxTime, supportedMaxRxOctets, and supportedMaxRxTime.

For a new connection:
• connMaxTxOctets shall be set to connInitialMaxTxOctets and
  connMaxRxOctets shall be chosen by the Controller. If either value is not 27
  then the Controller should initiate the Data Length Update Procedure
  (Section 5.1.9) at the earliest practical opportunity.
• connRemoteMaxTxOctets and connRemoteMaxRxOctets shall be 27.

For a new connection on an LE Uncoded PHY:
• connMaxTxTime shall be set to connInitialMaxTxTimeUncoded and
  connMaxRxTime shall be chosen by the Controller. If either value is not 328,
  then the Controller should initiate the Data Length Update Procedure
  (Section 5.1.9) at the earliest practical opportunity.
• connRemoteMaxTxTime and connRemoteMaxRxTime shall be 328.

For a new connection on the LE Coded PHY:
• connMaxTxTime shall be set to connInitialMaxTxTimeCoded and
  connMaxRxTime shall be chosen by the Controller. If either value is not



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    2704, then the Controller should initiate the Data Length Update Procedure
    (Section 5.1.9) at the earliest practical opportunity.
• connRemoteMaxTxTime and connRemoteMaxRxTime shall be 2704.

The Controller may change the values of connMaxTxOctets,
connMaxRxOctets, connMaxTxTime, and connMaxRxTime at any time after
entering the Connection State. Whenever it does so, it shall communicate
these values to the peer device using the Data Length Update Procedure.
The values shall not exceed the values of supportedMaxTxOctets,
supportedMaxTxTime, supportedMaxRxOctets, and supportedMaxRxTime
respectively.

The Controller shall not transmit packets as part of a connection that have a
maximum Payload Length greater than connEffectiveMaxTxOctets or that take
more than connEffectiveMaxTxTime microseconds to transmit except during
the period where the values of either connEffectiveMaxTxOctets or
connEffectiveMaxTxTime are being modified. During that period, the Controller
may still have Data Channel PDUs queued for transmission that conformed to
the old parameters but violate the new ones. These PDUs remain valid; only
PDUs queued after the Data Length Update Procedure is completed are
required to conform to the changed parameters. However, a Controller should
ensure that it has no Data Channel PDUs queued for transmission when it
transmits an LL_LENGTH_REQ or LL_LENGTH_RSP PDU.

If the Controller decreases the value of connMaxRxOctets or connMaxRxTime,
it shall not apply the new values until a Data Length Update Procedure
(Section 5.1.9) that sends the new value has completed.

The Controller shall notify its Host if any of the parameters
connEffectiveMaxTxOctets, connEffectiveMaxRxOctets,
connEffectiveMaxTxTime, or connEffectiveMaxRxTime have changed.

4.6 FEATURE SUPPORT
The set of features supported by a Link Layer is represented by a bit mask
called FeatureSet. The value of FeatureSet shall not change while the
Controller has a connection to another device. A peer device may cache
information about features that the device supports. The Link Layer may cache
information about features that a peer supports during a connection.
Within FeatureSet, a bit set to 0 indicates that the Link Layer Feature is not
supported in this Controller; a bit set to 1 indicates that the Link Layer Feature
is supported in this Controller.
A Link Layer shall not use a procedure that is not supported by the peer’s Link
Layer. A Link Layer shall not transmit a PDU listed in the following subsections
unless it supports at least one of the features that requires support for that PDU.




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The bit positions for each Link Layer Feature shall be as shown in Table 4.4.
This table also shows if these bits are valid between Controllers. If a bit is
shown as not valid, using ‘N’, then this bit shall be ignored upon receipt by the
peer Controller.



 Bit                                                                 Valid from Controller
                         Link Layer Feature
 position                                                            to Controller

 0                       LE Encryption                                          Y
 1                       Connection Parameters Request Procedure                Y

 2                       Extended Reject Indication                             Y
 3                       Slave-initiated Features Exchange                      Y
 4                       LE Ping                                                N

 5                       LE Data Packet Length Extension                        Y
 6                       LL Privacy                                             N

 7                       Extended Scanner Filter Policies                       N
 8                       LE 2M PHY                                              Y
 9                       Stable Modulation Index - Transmitter                  Y

 10                      Stable Modulation Index - Receiver                     Y
 11                      LE Coded PHY                                           Y
 12                      LE Extended Advertising                                N

 13                      LE Periodic Advertising                                N
 14                      Channel Selection Algorithm #2                         Y
 15                      LE Power Class 1                                       Y

 16                      Minimum Number of Used Channels Procedure
 All other values        Reserved for Future Use
Table 4.4: FeatureSet field’s bit mapping to Controller features




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4.6.1 LE Encryption
A Controller that supports LE Encryption shall support the following sections
within this document:
• LL_ENC_REQ (Section 2.4.2.4)
• LL_ENC_RSP (Section 2.4.2.5)
• LL_START_ENC_REQ (Section 2.4.2.6)
• LL_START_ENC_RSP (Section 2.4.2.7)
• LL_PAUSE_ENC_REQ (Section 2.4.2.11)
• LL_PAUSE_ENC_RSP (Section 2.4.2.12)
• Encryption Start Procedure (Section 5.1.3.1)
• Encryption Pause Procedure (Section 5.1.3.2)

4.6.2 Connection Parameters Request Procedure

A Controller that supports Connection Parameters Request Procedure shall
support the following sections within this document:
• LL_REJECT_EXT_IND (Section 2.4.2.18)
• LL_CONNECTION_PARAM_REQ (Section 2.4.2.16)
• LL_CONNECTION_PARAM_RSP (Section 2.4.2.17)
• Connection Parameters Request Procedure (Section 5.1.7)

4.6.3 Extended Reject Indication

A Controller that supports Extended Reject Indication shall support the
following sections within this document:
• LL_REJECT_EXT_IND (Section 2.4.2.18)

4.6.4 Slave-initiated Features Exchange

A Controller that supports Slave-initiated Features Exchange shall support the
following sections within this document:
• LL_SLAVE_FEATURE_REQ (Section 2.4.2.15)
• LL_FEATURE_RSP (Section 2.4.2.10)




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4.6.5 LE Ping

A Controller that supports LE Ping shall support the following sections of this
document.
• LL_PING_REQ (Section 2.4.2.19)
• LL_PING_RSP (Section 2.4.2.20)
• LE Ping Procedure (Section 5.1.8)
• LE Authenticated Payload Timeout (Section 5.4)

4.6.6 LE Data Packet Length Extension

A Controller that supports LE Data Packet Length Extension shall support the
following sections of this document.
• LL_LENGTH_REQ and LL_LENGTH_RSP (Section 2.4.2.21)
• Data Length Update Procedure (Section 5.1.9)

4.6.7 LL Privacy

A Controller that supports LL Privacy shall support the following sections of this
document.
• LL Privacy (Section 6)

4.6.8 Extended Scanner Filter Policies

A Controller that supports Directed Advertising Report shall support the
following sections of this document.
• Scanner Filter Policy (Section 4.3.3)

4.6.9 Multiple PHYs

A Controller that supports any PHY other than LE 1M PHY shall support the
following sections within this document:
• Transmission and reception using the supported modulation schemes ([Vol
  6] Part A, Section 1)
• LL_REJECT_EXT_IND Section 2.4.2.18)
• LL_PHY_REQ (Section 2.4.2.22)
• LL_PHY_RSP (Section 2.4.2.22)
• LL_PHY_UPDATE_IND (Section 2.4.2.23)
• PHY Update Procedure (Section 5.1.10)




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4.6.9.1 Symmetric and Asymmetric Connections

A Controller shall support connections using the same PHY in each direction
(“symmetric connections”) and may support connections using different PHYs
in each direction (“asymmetric connections”).

If a Controller cannot support asymmetric connections then, in the PHY Update
Procedure:
• Any LL_PHY_REQ or LL_PHY_RSP PDUs sent shall indicate that it wants a
  symmetric connection.
• Any LL_PHY_UPDATE_IND PDU sent shall not specify an asymmetric
  connection.

4.6.10 Stable Modulation Index - Transmitter

A Controller that supports Stable Modulation Index - Transmitter shall support
the following section within this document:
• Stable Modulation Index ([Vol 6] Part A, Section 3.1.1)

4.6.11 Stable Modulation Index - Receiver

A Controller that supports Stable Modulation Index - Receiver shall support the
following section within this document:
• Stable Modulation Index ([Vol 6] Part A, Section 4.7)

4.6.12 LE Extended Advertising

A Controller that supports LE Extended Advertising shall support reception of
an Advertising Channel PDU payload of 255 octets and support the following
sections of this document.
• ADV_EXT_IND (Section 2.3.1.5)
• AUX_ADV_IND (Section 2.3.1.6)
• AUX_CHAIN_IND (Section 2.3.1.8)
• AUX_SCAN_REQ (Section 2.3.2.1)
• AUX_SCAN_RSP (Section 2.3.2.3)
• AUX_CONNECT_REQ (Section 2.3.3.1)
• AUX_CONNECT_RSP (Section 2.3.3.2)
• Common Extended Advertising Payload Format (Section 2.3.4)
• Connectable Directed Event Type using ADV_EXT_IND (Section 4.4.2.4.4)
• Scannable Undirected Event Type using ADV_EXT_IND (Section 4.4.2.5.2)
• Connectable Undirected Event Type (Section 4.4.2.7)


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• Scannable Directed Event Type (Section 4.4.2.8)
• Non-Connectable and Non-Scannable Directed Event Type (Section
  4.4.2.9)
• Advertising Data Sets (Section 4.4.2.10)
• Using AdvDataInfo (ADI) (Section 4.4.2.11)
• Advertising Data Sets (Section 4.4.3.3)
• Connect Requests on the Secondary Advertising Channel (Section 4.4.4.2)

A Controller that supports connections shall also support the Channel
Selection Algorithm #2 feature.

4.6.13 LE Periodic Advertising

A Controller that supports LE Periodic Advertising shall support the LE
Extended Advertising feature, Channel Selection Algorithm #2 feature, and the
following sections of this document.
• AUX_SYNC_IND (Section 2.3.1.7)
• Periodic Advertising (Section 4.4.2.12 and Section 4.4.3.4)

4.6.14 Channel Selection Algorithm #2

A Controller that supports Channel Selection Algorithm #2 shall support the
following sections within this document:
• ChSel bit set to 1 (Sections 2.3, 2.3.1.1, 2.3.1.2, and 2.3.3.1)
• Channel Selection Algorithm #2 (Section 4.5.8.3).

4.6.15 Minimum Number of Used Channels Procedure

A Controller that supports the Minimum Number of Used Channels Procedure
shall support the following sections of this document:
• LL_MIN_USED_CHANNELS_IND (Section 2.4.2.24)
• Minimum Number Of Used Channels Procedure (Section 5.1.11)




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4.7 RESOLVING LIST
All Link Layers supporting Link Layer Privacy (see Section 6) shall contain a
set of records for local and peer IRK value pairs. These values are known as
the Local IRK and the Peer IRK. The Resolving List IRK pairs shall be
associated with a public or static device address known as the Identity
Address. The Identity Address may be in the White List. All Link Layers
supporting Link Layer Privacy shall support a Resolving List capable of storing
at least one Resolving List Record.

On reset, the Resolving List shall be empty.

The Resolving List is configured by the Host and is used by the Link Layer to
resolve Resolvable Private Addresses used by advertisers, scanners or
initiators. This allows the Host to configure the Link Layer to act on a request
without awakening the Host.

The White List and filter policies set by the Host are applied to the associated
Identity Address once the Resolvable Private Address has been resolved.

If the Host, when populating the resolving list, sets a peer IRK to all zeros, then
the peer address used within an advertising channel PDU shall use the peer’s
Identity Address, which is provided by the Host.

The Host specifies the privacy mode to be used with each peer identity on the
resolving list. If it specifies that device privacy mode is to be used, then the
Controller shall accept both the peer's device identity address and a resolvable
private address generated by the peer device using its distributed IRK. Otherwise,
network privacy mode is used: the Controller shall only accept resolvable private
addresses generated by the peer device using its distributed IRK. If the Host has
added the peer device to the resolving list with an all-zero peer IRK, the Controller
shall only accept the peer's identity address, as defined in Section 6.5.

If the Host, when populating the resolving list, sets a local IRK to all zeros, then
any local address used within an advertising channel PDU shall use the local
Identity Address, which is provided by the Host.

If the Link Layer is using the Resolving List and the peer device has been
resolved, the Address returned to the Host is the peer device’s Identity Address.

If the Link Layer is using the Resolving List and the peer device has been
resolved but the encryption fails then the current Resolvable Private
Address(es) shall be immediately discarded and new Resolvable Private
Address(es) shall be generated.

Note: Encryption may fail when the address was resolved successfully using
an incorrect IRK and, therefore, encryption keys on both sides did not match.

When the Controller address resolution is enabled, both peer and local RPAs
received by the Link Layer shall be resolved using the Resolving List.

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5 LINK LAYER CONTROL

The Link Layer Control Protocol (LLCP) is used to control and negotiate
aspects of the operation of a connection between two Link Layers. This
includes procedures for control of the connection, starting and pausing
encryption and other link procedures.

Procedures have specific timeout rules as defined in Section 5.2. The
Termination Procedure may be initiated at any time, even if any other Link
Layer Control Procedure is currently active. For all other Link Layer Control
Procedures, only one Link Layer Control Procedure shall be initiated in the Link
Layer at a time per connection per device. A new Link Layer Control Procedure
can be initiated only after a previous Link Layer Control Procedure has
completed. However, except where prohibited elsewhere in this section, a Link
Layer may initiate an LL Control Procedure while responding to a procedure
initiated by its peer device.

There are no restrictions on the order that Link Layer Control Procedures are
carried out except that no procedure can be started until after entering the
Connection State; i.e., no procedure requires a different procedure to be
carried out previously.

The prioritization of LL Control PDUs and LL Data PDUs is implementation
specific. For example, a Host cannot assume that pending data will be sent
when a termination of the link is requested without waiting for those data PDUs
to be completed and indicated to the Host.

5.1 LINK LAYER CONTROL PROCEDURES

5.1.1 Connection Update Procedure

The Link Layer parameters for a connection (connInterval, connSlaveLatency
and connSupervisionTimeout) may be updated after entering the Connection
State. The master may initiate the update of the connection parameters by
sending an LL_CONNECTION_UPDATE_IND PDU if either the master or
slave or both do not support the Connection Parameters Request procedure
(Section 5.1.7). The slave shall not send this PDU. The slave may request a
change to the connection parameters using the L2CAP LE signaling channel if
either the master or the slave or both do not support the Connection
Parameters Request procedure (Section 5.1.7). The slave may request a
change to the connection parameters using the Connection Parameters
Request Procedure if both the master and slave support the Connection
Parameters Request procedure.

In order to request a change to the connection parameters, the master shall
use the Connection Parameters Request Procedure if both the master and
slave support that procedure. If the slave rejects the Connection Parameters


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Request Procedure, then the master may update the connection parameters
using the Connection Update Procedure.

The Link Layer of the master shall determine the connInterval from the interval
range given by the Host (connIntervalmin and connIntervalmax). However, if the
current PHY is the LE Coded PHY and the Controller supports the LE Data
Packet Length Extension feature, then the new connection interval shall be at
least C µs, where:

C = (2*T_IFS) + min (connEffectiveMaxRxTime, ((connEffectiveMaxRxOctets *
64) + 976)) + 2704

Note: 976 µs and 2704 µs are derived from the durations of packets with a zero
octet payload and with a 27 octet payload when sent on the LE Coded PHY
using S=8 coding.

The Link Layer shall indicate to the Host the selected interval value.

Section 5.5 shall apply to the LL_CONNECTION_UPDATE_IND PDU. When
the slave receives such a PDU with the instant in the future, it shall listen to the
connection event where connEventCount equals Instant and the connection
event before it.

The connection interval used before the instant is known as connIntervalOLD.
The connection interval contained in the LL_CONNECTION_UPDATE_IND
PDU and used at the instant and after, is known as connIntervalNEW.

The connection slave latency used before the instant is known as
connSlaveLatencyOLD. The connection slave latency contained in the
LL_CONNECTION_UPDATE_IND PDU and used at the instant and after, is
known as connSlaveLatencyNEW.

The connection supervision timeout used before the instant is known as
connSupervisionTimeoutOLD. The connection supervision timeout contained in
the LL_CONNECTION_UPDATE_IND PDU and used at the instant and after,
is known as connSupervisionTimeoutNEW. The connection supervision timer
shall be reset at the instant.


                                                               transmitWindowSize


                                Instant
                                                                 Transmit Window
                                      transmitWindowOffset

 Last event transmitted with                                             First event transmitted with          Second event transmitted with
 old connection parameters                                               new connection parameters              new connection parameters


   M->S             S->M                                                     M->S           S->M                  M->S            S->M
                                             transmitWindowOffset
          T_IFS                                      ≤t≤                            T_IFS                                T_IFS
                                   transmitWindowOffset+transmitWindowSize
             connInterval OLD                                                               connIntervalnew



Figure 5.1: Connection event timing in the case of connection parameter update




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For example, the interval between the preceding connection event before the
instant and the instant will be connIntervalOLD. The interval between the
connection event after the instant and the following connection event will be
connIntervalNEW.

The master may adjust the anchor point when deciding the timing of the first
packet transmitted with new connection parameters. A transmit window is
used, as defined in Section 4.5.3. The transmit window starts at
connIntervalOLD + transmitWindowOffset after the anchor point of the
connection event before the instant. The transmitWindowOffset shall be a
multiple of 1.25 ms in the range of 0 ms to connIntervalNEW. The
transmitWindowSize shall be a multiple of 1.25 ms in the range of 1.25 ms to
the lesser of 10 ms and (connIntervalNEW - 1.25 ms).

The master shall start to send the first packet within the transmit window as
defined in Section 4.5.3. It is permitted that the master’s first packet can extend
beyond the transmit window.

The first packet sent after the instant by the master determines the new anchor
point for the connection events, and therefore the timings of all future
connection events in this connection.

The instant occurs after connIntervalOLD and before transmitWindowOffset. All
the normal connection event transmission rules specified in Section 4.5.1, shall
apply.

At the start of the transmit window, the Link Layer shall reset TLLconnSupervision.

If the Link Layer of the master transmits an LL_CONNECTION_UPDATE_IND
PDU autonomously, for example without being requested to by the Host, the
Latency and Timeout parameters shall not be changed and shall remain the
same as in the last LL_CONNECTION_UPDATE_IND or CONNECT_IND
PDU, any of the other parameters (transmitWindowSize,
transmitWindowOffset, connInterval, Instant) may be changed within the
restrictions given above. Note: Autonomous updates can be used to change
the anchor points to allow the master to change the scheduling of the
connection due to other activities.

The Link Layer shall notify its Host if any of the three connection parameters
have changed. If no connection parameters are changed, the Host would not
be notified; this is called an anchor point move.

The procedure is complete when the instant has passed, and the new
connection event parameters have been applied.

5.1.2 Channel Map Update Procedure

The Link Layer parameter for channel map (channelMap) may be updated after
entering the Connection State. The master can update the channel map by


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sending an LL_CHANNEL_MAP_IND PDU. The slave shall not send this PDU.
The master Controller can update the channel map without being requested to
by the Host.

Section 5.5 shall apply to the LL_CHANNEL_MAP_IND PDU.

The channel map used before the instant is known as channelMapOLD. The
channel map contained in the LL_CHANNEL_MAP_IND PDU and used at the
instant and after, is known as channelMapNEW.

When connEventCount is equal to the Instant field, the channelMapNEW shall
be the current channelMap. The lastUnmappedChannel shall not be reset. If
the unmappedChannel is an unused channel, then the channelMapNEW will be
used when remapping. The only parameter that changes is the channelMap.

For example:

At connection set-up:
   -    initial channelMapOLD: 0x1FFFFFFFFF (i.e., all channels enabled)
   -    initial hopIncrement: 10 (decimal)

An LL_CHANNEL_MAP_IND PDU with the following parameters is then
issued:
   -    Instant: 100 (decimal). Assume that no connection event count wrap-
        around occurred since the start of the connection.
   -    channelMapNEW: 0x1FFFFFF7FF (i.e. all channels enabled except
        channel 11)

Channels used:
   -    connEventCount 99 --> data channel index 1 (channelMapOLD)
   -    connEventCount 100 --> data channel index 12 (remapped from 11)
        (channelMapNEW)
   -    connEventCount 101 --> data channel index 21 (channelMapNEW)

The procedure is complete when the instant has passed, and the new channel
map has been applied.

5.1.3 Encryption Procedure

The Link Layer, upon request from the Host, can enable the encryption of
packets after entering the Connection State.

If the connection is not encrypted, the Link Layer shall only use the encryption
start procedure.

If the connection is encrypted, the Link Layer shall first use the encryption
pause procedure followed by the encryption start procedure.

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5.1.3.1 Encryption Start Procedure

To enable encryption, two parameters must be exchanged, IV and SKD. Both
are composed of two parts, a master part and a slave part, and exchanged in
LL_ENC_REQ and LL_ENC_RSP PDUs. After these are exchanged, and the
Host has notified the Link Layer of the Long Term Key to be used on this
connection, encryption can be started using a three way handshake, using
LL_START_ENC_REQ and LL_START_ENC_RSP PDUs.

To start encryption, the Link Layer of the master shall generate the master’s part
of the initialization vector (IVm) and the master’s part of the session key
diversifier (SKDm). IVm shall be a 32 bit random number generated by the Link
Layer of the master. SKDm shall be a 64 bit random number generated by the
Link Layer of the master. Both IVm and SKDm shall be generated using the
requirements for random number generation defined in [Vol 2] Part H, Section 2.

The Link Layer of the master shall finalize the sending of the current Data
Channel PDU and may finalize the sending of additional Data Channel PDUs
queued in the Controller. After these Data Channel PDUs are acknowledged,
the Link Layer of the master shall only send Empty PDUs or LL_ENC_REQ,
LL_START_ENC_RSP, LL_TERMINATE_IND, LL_REJECT_IND or
LL_REJECT_EXT_IND PDUs.

The Link Layer of the master shall then send an LL_ENC_REQ PDU; the Rand
and EDIV fields are provided by the Host.

If encryption is not supported by the Link Layer of the slave, the Link Layer of
the slave shall send an LL_REJECT_IND or LL_REJECT_EXT_IND PDU with
the ErrorCode set to Unsupported Remote Feature / Unsupported LMP
Feature (0x1A). The Link Layer of the master receiving the LL_REJECT_IND
or LL_REJECT_EXT_IND PDU shall notify the Host. The Link Layer of the
master can now send LL Data Packets and LL Control Packets; these packets
will not be encrypted. This procedure is complete in the master when the
master receives the LL_REJECT_IND or LL_REJECT_EXT_IND PDU from the
slave. The procedure is complete in the slave when the acknowledgment for
the LL_REJECT_IND or LL_REJECT_EXT_IND PDU is received from the
master.

Otherwise, when the Link Layer of the slave receives an LL_ENC_REQ PDU it
shall generate the slave’s part of the initialization vector (IVs) and the slave’s
part of the session key diversifier (SKDs). IVs shall be a 32 bit random number
generated by the Link Layer of the slave. SKDs shall be a 64 bit random
number generated by the Link Layer of the slave. Both IVs and SKDs shall be
generated using the requirements for random number generation defined in
[Vol 2] Part H, Section 2.

The Link Layer of the slave shall finalize the sending of the current Data
Channel PDU and may finalize the sending of additional Data Channel PDUs
queued in the Controller. After these Data Channel PDUs are acknowledged,


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the Link Layer of the slave is only allowed to send Empty PDUs or
LL_ENC_RSP, LL_START_ENC_REQ, LL_START_ENC_RSP,
LL_TERMINATE_IND, LL_REJECT_IND or LL_REJECT_EXT_IND PDUs.

The Link Layer of the slave shall then send an LL_ENC_RSP PDU. The Link
Layer of the slave shall then notify the Host with the Rand and EDIV fields.
After having sent the LL_ENC_RSP PDU, the Link Layer of the slave can
receive an LL_UNKNOWN_RSP PDU corresponding to a LL Control PDU sent
by the slave. The slave should not disconnect the link in this case.

Each Link Layer shall combine the initialization vector parts and session key
diversifier parts in the following manner:
   SKD = SKDm || SKDs
   IV = IVm || IVs

The SKDm is concatenated with the SKDs. The least significant octet of SKDm
becomes the least significant octet of SKD. The most significant octet of SKDs
becomes the most significant octet of SKD.

The IVm is concatenated with the IVs. The least significant octet of IVm
becomes the least significant octet of IV. The most significant octet of IVs
becomes the most significant octet of IV.

The Long Term Key is provided by the Host to the Link Layer in the master and
slave, and one of the following three actions shall occur:
• If this procedure is being performed after a Pause Encryption Procedure,
  and the Host does not provide a Long Term Key, the slave shall perform the
  Termination Procedure with the error code PIN or key Missing (0x06).
• If the Host does not provide a Long Term Key, either because the event to
  the Host was masked out or if the Host indicates that a key is not available,
  the slave shall either send an LL_REJECT_IND with the ErrorCode set to
  PIN or key Missing (0x06) or an LL_REJECT_EXT_IND PDU with the
  RejectOpcode set to "LL_ENC_REQ" and the ErrorCode set to PIN or key
  Missing (0x06). Upon receiving an LL_REJECT_IND or
  LL_REJECT_EXT_IND PDU, the Link Layer shall notify the Host. The Link
  Layer can now send LL Data PDUs and LL Control PDUs; these packets will
  not be encrypted. This procedure is complete in the master when the master
  receives the LL_REJECT_IND or LL_REJECT_EXT_IND PDU from the
  slave. The procedure is completed in the slave when the acknowledgment
  has been received for the LL_REJECT_IND or LL_REJECT_EXT_IND PDU
  from the master.
• If the Host does provide a Long Term Key, the Link Layer of the slave shall
  calculate sessionKey using the encryption engine with LTK as the key, and
  SKD as the plain text input. The sessionKey parameter shall be set to the
  output of the encryption engine.




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The sessionKey shall be used as the key for the encryption engine for all
encrypted packets.

After sessionKey has been calculated, the Link Layer of the slave shall send an
LL_START_ENC_REQ PDU. This packet shall be sent unencrypted, and the
Link Layer shall be set up to receive an encrypted packet in response.

When the Link Layer of the master receives an LL_START_ENC_REQ PDU it
shall send an LL_START_ENC_RSP PDU. This PDU shall be sent encrypted
and set up to receive encrypted.

When the Link Layer of the slave receives an LL_START_ENC_RSP PDU it
shall transmit an LL_START_ENC_RSP PDU. This packet shall be sent
encrypted.

When the Link Layer of the master receives the LL_START_ENC_RSP PDU,
the connection is encrypted. The Link Layer can now send LL Data PDUs and
LL Control PDUs; these PDUs will be encrypted.

The Link Layers shall notify the Hosts that the connection is encrypted.

The procedure is complete in the master when the master receives the
LL_START_ENC_RSP PDU from the slave. The procedure is complete in the
slave when the slave receives the LL_START_ENC_RSP PDU from the
master.

If at any time during the encryption start procedure, the Link Layer of the
master or the slave receives an unexpected Data Channel PDU from the peer
Link Layer, it shall immediately exit the Connection State, and shall transition to
the Standby State. The Host shall be notified that the link has been
disconnected with the error code Connection Terminated Due to MIC Failure
(0x3D).

5.1.3.2 Encryption Pause Procedure

To enable a new encryption key to be used without disconnecting the link,
encryption must be disabled and then enabled again. During the pause, data
PDUs shall not be sent unencrypted to protect the data.

The Link Layer of the master shall finalize the sending of the current Data
Channel PDU and may finalize the sending of additional Data Channel PDUs
queued in the Controller. After these Data Channel PDUs are acknowledged,
the Link Layer of the master shall only send Empty PDUs or
LL_PAUSE_ENC_REQ or LL_TERMINATE_IND PDUs.

The Link Layer of the master shall then send an LL_PAUSE_ENC_REQ PDU.

When the Link Layer of the slave receives an LL_PAUSE_ENC_REQ PDU it
shall finalize the sending of the current Data Channel PDU and may finalize the
sending of additional Data Channel PDUs queued in the Controller. After these

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Data Channel PDUs are acknowledged, the Link Layer of the slave is only
allowed to send Empty PDUs or LL_PAUSE_ENC_RSP or
LL_TERMINATE_IND PDUs.

The Link Layer of the slave shall then send an LL_PAUSE_ENC_RSP PDU.
This packet shall be sent encrypted, and Link Layer shall be set up to receive
unencrypted.

When the Link Layer of the master receives an LL_PAUSE_ENC_RSP PDU it
shall set up to send and receive unencrypted. It shall then send an
LL_PAUSE_ENC_RSP PDU to the slave unencrypted.

When the Link Layer of the slave receives an LL_PAUSE_ENC_RSP PDU it
shall set up to also send unencrypted.

The encryption start procedure shall now be used to re-enable encryption
using a new session key.

If at any time during the encryption pause procedure, the Link Layer of the
master or the slave receives an unexpected Data Channel PDU from the peer
Link layer, it shall immediately exit the Connection State, and shall transition to
the Standby State. The Host shall be notified that the link has been
disconnected with the error code Connection Terminated Due to MIC Failure
(0x3D).

5.1.4 Feature Exchange Procedure

The Link Layer parameter for the current supported feature set (FeatureSet)
may be exchanged after entering the Connection State. Both the master and
slave can initiate this procedure.

The FeatureSet information may be cached either during a connection or
between connections. A Link Layer should not request this information on
every connection if the information has been cached for this device. Cached
information for a device from a previous connection is not authoritative and,
therefore, an implementation must be able to accept the LL_UNKNOWN_RSP
PDU if use of a feature is attempted that is not currently supported or used by
the peer.

The FeatureSetM parameter is the feature capabilities of the Link Layer of the
master.

The FeatureSetS parameter is the feature capabilities of the Link Layer of the
Slave.

The FeatureSetUSED parameter is one octet long and is the logical AND of
FeatureSetM[0] and FeatureSetS[0].




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5.1.4.1 Master-initiated Feature Exchange Procedure

The master initiates this procedure with an LL_FEATURE_REQ PDU, and the
slave responds with an LL_FEATURE_RSP PDU.

When the Link Layer of the master sends an LL_FEATURE_REQ PDU, the
FeatureSet field shall be set to FeatureSetM.

When the Link Layer of the slave sends an LL_ FEATURE_RSP PDU, octet 0
of the FeatureSet field shall be set to FeatureSetUSED and the remaining octets
shall be set to the corresponding octets of FeatureSetS.

The Link Layer of the master sends an LL_FEATURE_REQ PDU. This can be
sent on request from the Host or autonomously.

When the Link Layer of the slave receives an LL_FEATURE_REQ PDU it shall
send an LL_FEATURE_RSP PDU.

The procedure is complete when the master receives the LL_FEATURE_RSP
PDU from the slave.

5.1.4.2 Slave-initiated Feature Exchange Procedure

The slave initiates this procedure with an LL_SLAVE_FEATURE_REQ PDU,
and the master responds with an LL_FEATURE_RSP PDU.

When the Link Layer of the slave sends an LL_SLAVE_FEATURE_REQ PDU,
the FeatureSet field shall be set to FeatureSetS.

When the Link Layer of the master sends an LL_FEATURE_RSP PDU, octet 0
of the FeatureSet field shall be set to FeatureSetUSED and the remaining octets
shall be set to the corresponding octets of FeatureSetM.

The Link Layer of the slave sends an LL_SLAVE_FEATURE_REQ PDU. This
can be sent on request from the Host or autonomously.

When the Link Layer of the master receives an LL_SLAVE_FEATURE_REQ
PDU, it shall send an LL_FEATURE_RSP PDU.

If the Link Layer of the slave sends the LL_SLAVE_FEATURE_REQ PDU to a
master that does not understand that PDU, then the slave should expect an
LL_UNKNOWN_RSP PDU in response. If the LL_SLAVE_FEATURE_REQ
PDU was issued as a result of a Host-initiated read remote features procedure
(see [Vol 2] Part E, Section 7.8.21), then the Host shall be notified that the read
remote features procedure has completed with the ErrorCode set to
Unsupported Remote Feature / Unsupported LMP Feature (0x1A).

The procedure is complete when the slave receives the LL_FEATURE_RSP or
LL_UNKNOWN_RSP PDU from the master.



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5.1.5 Version Exchange

The Link Layer parameters for version information (companyID, subVerNum,
linkLayerVer, as defined in Section 2.4.2.13) may be exchanged after entering
the Connection State. Either the Link Layer of the master or slave can initiate
this procedure by sending an LL_VERSION_IND PDU. This procedure should
be used when requested by the Host. This procedure may be initiated
autonomously by the Link Layer.

The Link Layer shall only queue for transmission a maximum of one
LL_VERSION_IND PDU during a connection.

If the Link Layer receives an LL_VERSION_IND PDU and has not already sent
an LL_VERSION_IND then the Link Layer shall send an LL_VERSION_IND
PDU to the peer device.

If the Link Layer receives an LL_VERSION_IND PDU and has already sent an
LL_VERSION_IND PDU then the Link Layer shall not send another
LL_VERSION_IND PDU to the peer device.

The procedure has completed when an LL_VERSION_IND PDU has been
received from the peer device.

5.1.6 Termination Procedure

This procedure is used for voluntary termination of a connection while in the
Connection State. Voluntary termination occurs when the Host requests the
Link Layer to terminate the connection. Either the Link Layer of the master or
slave can initiate this procedure by sending an LL_TERMINATE_IND PDU.
The termination procedure is not used in the event of the loss of the
connection, for example after link supervision timeout or after a procedure
timeout.

The Link Layer shall start a timer, Tterminate, when the LL_TERMINATE_IND
PDU has been queued for transmission. The initiating Link Layer shall send
LL_TERMINATE_IND PDUs until an acknowledgment is received or until the
timer, Tterminate, expires, after which it shall exit the Connection State and
transition to the Standby State. The initial value for Tterminate shall be set to
value of the connSupervisionTimeout.

When the Link Layer receives an LL_TERMINATE_IND PDU it shall send the
acknowledgment, exit the Connection State and shall transition to the Standby
State.

The procedure has completed when the acknowledgment has been received or
the timer, Tterminate, expires.




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5.1.7 Connection Parameters Request Procedure

The master or slave may initiate a Connection Parameters Request procedure
to request the remote device to have the Link Layer parameters for the
connection (connInterval, connSlaveLatency and connSupervisionTimeout)
updated any time after entering the Connection State.

5.1.7.1 Issuing an LL_CONNECTION_PARAM_REQ PDU

The Connection Parameters Request procedure is initiated by issuing an
LL_CONNECTION_PARAM_REQ PDU. The procedure can be initiated as a
result of a Host initiated connection update procedure (see [Vol 2] Part E,
Section 7.8.18) or autonomously by the Link Layer (that is, without being
requested by the Host).

If the Link Layer of the master or slave sends the
LL_CONNECTION_PARAM_REQ PDU to a device that does not understand
that PDU, then the device should expect an LL_UNKNOWN_RSP PDU in
response. If the LL_CONNECTION_PARAM_REQ PDU was issued by the
Link Layer of the slave as a result of a Host initiated connection update
procedure, then the Host shall be notified that the connection update
procedure has completed with the ErrorCode set to Unsupported Remote
Feature / Unsupported LMP Feature (0x1A).

If the Link Layer initiates this procedure as a result of a Host initiated
connection update procedure, then the Link Layer:
• Should set the Interval_Min, Interval_Max, Timeout, and Latency fields to
  the values received from the Host. Note: The Link Layer may modify the
  values of these fields, for example, because the values received from the
  Host would prevent the Link Layer from meeting commitments in another
  piconet.
• May indicate the preferred periodicity by setting the PreferredPeriodicity field
  to a value other than zero, as described in Section 2.4.2.16.
• May set the Offset0 to Offset5 fields to a value other than 0xFFFF as
  described in Section 2.4.2.16. If one or more of the Offset0 to Offset5 fields
  have been set, then:
  - The ReferenceConnEventCount field shall be set to indicate that at least
     one of the Offset0 to Offset5 fields is valid. If the ReferenceConnEvent-
     Count field is set, then it shall always be set to the connEventCount of a
     connection event that is less than 32767 connection events in the future
     from the first transmission of the PDU. Note: Retransmissions of the PDU
     can result in the ReferenceConnEventCount to be up to 32767 events in
     the past when the PDU is successfully received by the remote device.
     See Section 5.1.7.3.2 for examples on how to set the ReferenceConnE-
     ventCount field.
  - If Interval_Min is not equal to Interval_Max then the PerferredPeriodicity
     field shall be set to a value other than zero. If Interval_Min is equal to

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        Interval_Max then the PreferredPeriodicity field may be set to any value
        and shall be ignored by the recipient.

If the Link Layer initiates this procedure autonomously, then the Latency field
shall be set to the current value of connSlaveLatency and the Timeout field (in
milliseconds) shall be set to the current value of connSupervisionTimeout.
Any of the other fields (Interval_Min, Interval_Max, PreferredPeriodicity,
ReferenceConnEventCount and Offset0 to Offset5) may be changed within the
restrictions given above.

The Link Layer shall ensure that the parameters in the
LL_CONNECTION_PARAM_REQ shall not cause supervision timeout. That is,
the Link Layer shall ensure that the Timeout (in milliseconds) is greater than 2*
Interval_Max * (Latency + 1).

5.1.7.2 Responding to LL_CONNECTION_PARAM_REQ and
LL_CONNECTION_PARAM_RSP PDUs

Upon receiving an LL_CONNECTION_PARAM_REQ PDU:
• The slave shall respond with either an LL_CONNECTION_PARAM_RSP
  PDU or an LL_REJECT_EXT_IND PDU.
• The master shall respond with either an LL_CONNECTION_UPDATE_IND
  PDU or an LL_REJECT_EXT_IND PDU.

Upon receiving an LL_CONNECTION_PARAM_RSP PDU, the master shall
respond with either an LL_CONNECTION_UPDATE_IND PDU or an
LL_REJECT_EXT_IND PDU.

The master shall not send the LL_CONNECTION_PARAM_RSP PDU. The
slave shall send an LL_CONNECTION_PARAM_RSP PDU only in response to
an LL_CONNECTION_PARAM_REQ PDU.

If the received LL_CONNECTION_PARAM_REQ PDU contains parameters
that are not acceptable to the Link Layer, then the Link Layer of the device shall
respond to the LL_CONNECTION_PARAM_REQ PDU with one of the
following:
• An LL_CONNECTION_PARAM_RSP PDU (if the Link Layer is the slave of
  the connection) or an LL_CONNECTION_UPDATE_IND PDU (if the Link
  Layer is the master of the connection) containing alternative parameters.
• An LL_REJECT_EXT_IND PDU with the ErrorCode set to Unsupported LL
  Parameter Value (0x20).

If the received LL_CONNECTION_PARAM_REQ PDU contains any fields that
are out of valid range, then the Link Layer shall reject the
LL_CONNECTION_PARAM_REQ PDU by issuing an LL_REJECT_EXT_IND
PDU with the ErrorCode set to Invalid LL Parameters (0x1E).



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If an LL_REJECT_EXT_IND PDU is sent during the Connection Parameters
Request procedure, then the procedure is complete on a device when it
receives the LL_REJECT_EXT_IND PDU, and is complete on the device that
issued the LL_REJECT_EXT_IND PDU when it receives the acknowledgment
for the LL_REJECT_EXT_IND PDU.

If the received LL_CONNECTION_PARAM_REQ PDU requests only a change
in the anchor points of the LE connection, then the Link Layer shall not indicate
this request to its Host.

If the received LL_CONNECTION_PARAM_REQ PDU requests a change to
one or more of connInterval, connSlaveLatency, and connSupervisionTimeout
and if the values selected by the Link Layer are, respectively, within the range
of the connInterval, the value of connSlaveLatency and the value of
connSupervisionTimeout provided by the local Host, then the Link Layer may
choose to not indicate this request to its Host and proceed as if the Host has
accepted the remote device’s request. Otherwise, if the event to the Host is not
masked, then the Link Layer shall first indicate this request to its Host.

If the local Host has not provided the range of connInterval, the value of
connSlaveLatency and the value of connSupervisionTimeout to the Link Layer
of the slave, then the Link Layer of the slave may indicate the received request
to its Host if the event to the Host is not masked.

If the request is being indicated to the Host and the event to the Host is
masked, then the Link Layer shall issue an LL_REJECT_EXT_IND PDU with
the ErrorCode set to Unsupported Remote Feature / Unsupported LMP
Feature (0x1A). Note: The device could have issued the
LL_REJECT_EXT_IND PDU temporarily. The initiating device may retry.
Note: If the request is not being indicated to the Host, then the event mask is
ignored.

If the Host is indicated of the request, it shall either accept or reject this
request. If the Host rejects this request, then the device shall issue an
LL_REJECT_EXT_IND PDU with the ErrorCode set to a value provided by the
Host. The Host shall only use the error code Unacceptable Connection
Parameters (0x3B) in order to reject the request.

If the Host accepts this request or if the request was not indicated to the Host,
then:
• The slave shall respond to an LL_CONNECTION_PARAM_REQ PDU with
  an LL_CONNECTION_PARAM_RSP PDU. The rules for filling in various
  fields of the LL_CONNECTION_PARAM_RSP PDU are the same as those
  for filling in various fields of the LL_CONNECTION_PARAM_REQ PDU, as
  described in Section 5.1.7.1. The rules for handling a received
  LL_CONNECTION_PARAM_RSP PDU on the Link Layer of the master are
  identical to the rules for handling a received
  LL_CONNECTION_PARAM_REQ PDU that are described earlier in this
  section.

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• The master shall respond to an LL_CONNECTION_PARAM_REQ PDU or
  an LL_CONNECTION_PARAM_RSP PDU with an
  LL_CONNECTION_UPDATE_IND PDU. The master should try to choose a
  value of Interval that is a multiple of PreferredPeriodicity if the slave has set
  the PreferredPeriodicity field of the LL_CONNECTION_PARAM_REQ or
  LL_CONNECTION_PARAM_RSP PDU. The master should try to pick the
  values of WinOffset and WinSize such that the timing of the new connection
  events matches one of the Offset0 to Offset5 fields of the
  LL_CONNECTION_PARAM_REQ PDU or the
  LL_CONNECTION_PARAM_RSP PDU sent by the slave. The Instant field
  of the LL_CONNECTION_UPDATE_IND PDU is set as described in Section
  5.1.1.

Once the master issues the LL_CONNECTION_UPDATE_IND PDU, the
connection parameters get updated as described in Section 5.1.1.

The procedure is complete when the instant has passed and the new
connection event parameters have been applied.

5.1.7.3 Examples

5.1.7.3.1 Slave initiated anchor point move

The following example shows the Link Layer of the slave requesting a change
in the anchor points of the LE connection by 3.75ms.

The Link Layer of the slave issues an LL_CONNECTION_PARAM_REQ PDU
with the following parameters:
• Interval_Min: connInterval
• Interval_Max: connInterval
• Latency: connSlaveLatency
• Timeout: connSupervisionTimeout
• PreferredPeriodicity: 0
• ReferenceConnEventCount: <any value that is less than 32767 connection
  events in the future>
• Offset0: 0x0003
• Offset1: 0xFFFF
• Offset2: 0xFFFF
• Offset3: 0xFFFF
• Offset4: 0xFFFF
• Offset5: 0xFFFF

If the Link Layer of the master accepts the slave’s request, then it could
respond with an LL_CONNECTION_UPDATE_IND PDU that contains any one

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of the following set of parameters. In all the sets, Interval is set to connInterval,
Latency is set to connSlaveLatency, Timeout is set to connSupervisionTimeout
and Instant is set to any value that is less than 32767 connection events in the
future.
• Option 1: the first packet sent after the instant by the master is inside the
  Transmit Window and 3.75ms from the beginning of the Transmit Window.
   -    3 ≤ WinSize ≤ 8
   -    WinOffset: 0
• Option 2: the first packet sent after the instant by the master is inside the
  Transmit Window and 2.5ms from the beginning of the Transmit Window.
   -    2 ≤ WinSize ≤ 8
   -    WinOffset: 1
• Option 3: the first packet sent after the instant by the master is inside the
  Transmit Window and1.25ms from the beginning of the Transmit Window.
  - 1 ≤ WinSize ≤ 8
   -    WinOffset: 2
• Option 4: the first packet sent after the instant by the master is inside the
  Transmit Window and 0ms from the beginning of the Transmit Window.
  - 1 ≤ WinSize ≤ 8
  - WinOffset: 3

5.1.7.3.2 ReferenceConnEventCount

Figure 5.2 and Figure 5.3 show examples of how the
ReferenceConnEventCount and the Offset0 to Offset5 fields of the
LL_CONNECTION_PARAM_REQ and the LL_CONNECTION_PARAM_RSP
PDU can be utilized to indicate the possible position of the anchor points of the
connection with the new connection parameters relative to the anchor points of
the connection with the old connection parameters. This figure only shows
Offset0 (and not Offset1 to Offset5) for simplicity. The figure also shows the
Instant where the updated connection parameters are applied. Note that the
actual Instant occurs connIntervalOLD after the last connection event
transmitted with the old connection parameters whereas the Instant field in the
LL_CONNECTION_UPDATE_IND PDU is set to the connEventCount of the
connection event transmitted with the old connection parameters.

The ReferenceConnEventCount is set to the connEventCount of the
connection event on the old connection parameters such that the start of the
very next connection event on the new connection parameters is Offset0 (in
milliseconds) away from the start of the ReferenceConnEventCount connection
event.

Figure 5.2 shows the case where the Instant is before the
ReferenceConnEventCount. Figure 5.3 shows the case where the Instant is
after the ReferenceConnEventCount. Imaginary connection events transmitted

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with the old connection parameters have been shown beyond the Instant and
imaginary connection events transmitted with the new connection parameters
have been shown before the Instant.

In Figure 5.2 and Figure 5.3, the time interval, ∆t, between the Instant and the
start of the first connection event transmitted with the new connection
parameters can be calculated using the following equation:

∆t = (connIntervalNEW - ((Instant - ReferenceConnEventCount) *
connIntervalOLD) % connIntervalNEW + offset0) % connIntervalNEW

Note: The case where the ReferenceConnEventCount and Instant are on
different sides of the eventCount wraparound point is not shown in the
equations above.

Based on the calculated ∆t, the WinOffset and WinSize fields in the
LL_CONNECTION_UPDATE_IND PDU could be set accordingly. See Section
5.1.7.3.3 for an example.




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                                                                                                                                                                                                                       Instant                                                       ReferenceConnEventCount


                                                                                                                                                                                        Last event
                                                                                                                                                                                     transmitted with




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                                                                                                                                                                                      old connection
                                                                                                                                                                                        parameters
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                                                                                                                                                    M->S       S->M                 M->S       S->M                 M->S         S->M           M->S       S->M                 M->S       S->M               M->S          S->M



                                                                                                                                                           connInteval OLD                 connInteval OLD                 connInteval OLD             connInteval OLD                 connInteval OLD




                                                                                                                                                                                                                                                                                 Offset0 (in ms)




                                                                                                                                                                                                                                             transmitWindowSize



                                                                                                                                                                                                                                              Transmit Window
                                                                                                                                                                                                                    transmitWindowOffset
                                                                                                                                                                                                                                                                                                                                                              BLUETOOTH SPECIFICATION Version 5.0 | Vol 6, Part B




                                                                                                                                                                                                                                                                                                         Second event
                                                                                                                                                                                                                                                   First event transmitted                           transmitted with new
                                                                                                                                                                                                                                   ¨W              with new connection                             connection parameters
                                                                                                                                                                                                                                                         parameters




                                                 new anchor points – Instant is before the ReferenceConnEventCount
                                                                                                                                                      M->S         S->M                                 M->S        S->M                           M->S        S->M                                 M->S      S->M



                                                                                                                                                                       connInteval NEW                                connInteval NEW                              connInteval NEW                               connInteval NEW




                                                                                                                                                                                    M->S       S->M          An actual connection event            M->S        S->M      An imaginary connection event




                                                 Figure 5.2: Utilizing the ReferenceConnEventCount and Offset0 fields to indicate position of the
                                                                                                                                                                                                                                                                                                                                                              page 2676




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                                                                                                                                                                                                                                                                                                                                                                                                                    Case 6:20-cv-00980-ADA Document 70-7 Filed 10/12/21 Page 2677 of 2823
                                                                                                                                                                                                                                                           Instant
                                                                                                                                                       ReferenceConnEventCount
                                                                                                                                                                                                                          Last event
                                                                                                                                                                                                                       transmitted with




                            Link Layer Control
                                                                                                                                                                                                                        old connection
                                                                                                                                                                                                                          parameters
                                                                                                                                                                                                                                                                                                                                                      Link Layer Specification




                                                                                                                                                    M->S       S->M                   M->S       S->M                 M->S       S->M                   M->S          S->M           M->S       S->M                 M->S   S->M



                                                                                                                                                           connInteval OLD                   connInteval OLD                 connInteval OLD                    connInteval OLD             connInteval OLD




                                                                                                                                                                                                                                                                                  transmitWindowSize



                                                                                                                                                                                                                                                                                   Transmit Window
                                                                                                                                                                                                                                                        transmitWindowOffset
                                                                                                                                                                                                                                                                                                                                    Second event
                                                                                                                                                                                                                                                                                            First event                            transmitted with
                                                                                                                                                             Offset0 (in ms)                                                                                                             transmitted with                          new connection
                                                                                                                                                                                                                                                                        ¨W              new connection
                                                                                                                                                                                                                                                                                                                                                                                 BLUETOOTH SPECIFICATION Version 5.0 | Vol 6, Part B




                                                                                                                                                                                                                                                                                                                                      parameters
                                                                                                                                                                                                                                                                                            parameters

                                                                                                                                                                                        M->S         S->M                                 M->S          S->M                            M->S         S->M                          M->S      S->M




                                                 new anchor points – Instant is after the ReferenceConnEventCount
                                                                                                                                                                                                         connInteval NEW                                  connInteval NEW                               connInteval NEW




                                                                                                                                                                M->S           S->M    An actual connection event                                M->S          S->M     An imaginary connection event




                                                 Figure 5.3: Utilizing the ReferenceConnEventCount and Offset0 fields to indicate position of the
                                                                                                                                                                                                                                                                                                                                                                                 page 2677




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                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 6:20-cv-00980-ADA Document 70-7 Filed 10/12/21 Page 2678 of 2823
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5.1.7.3.3 Slave initiated interval and anchor point move

The following example shows the Link Layer of the slave requesting a change
in both the connection interval (by indicating a PreferredPeriodicity such that
PreferredPeriodicity and connIntervalOLD are not integral multiples of one
another) and a change in anchor points of the LE connection by 3.75ms with
respect to the ReferenceConnEventCount.

In this example, connIntervalOLD is 0x0C (15 ms). The Link Layer of the slave
issues an LL_CONNECTION_PARAM_REQ PDU with the following
parameters:
• Interval_Min: 0x16
• Interval_Max: 0x20
• Latency: connSlaveLatency
• Timeout: connSupervisionTimeout
• PreferredPeriodicity: 0x0A
• ReferenceConnEventCount: 0x1F00
• Offset0: 0x0003
• Offset1: 0xFFFF
• Offset2: 0xFFFF
• Offset3: 0xFFFF
• Offset4: 0xFFFF
• Offset5: 0xFFFF

If the Link Layer of the master accepts the slave’s request, then it could
respond with an LL_CONNECTION_UPDATE_IND PDU that contains any one
of the following set of parameters. In all the sets, the new connection interval
connIntervalNEW is set to 0x1E (37.5 ms), Latency is set to connSlaveLatency,
Timeout is set to connSupervisionTimeout and Instant is set to 0x1F06.

∆t, as described in Section 5.1.7.3.2 is calculated as 21 (26.25 ms).

The WinSize and WinOffset fields in the LL_CONNECTION_UPDATE_IND
PDU can contain any of the following example set of parameters:
• Option 1: the first packet sent after the instant by the master is inside the
  Transmit Window and 3.75 ms from the beginning of the Transmit Window.
  - 3 ≤ WinSize ≤ 8
  - WinOffset: 18
• Option 2: the first packet sent after the instant by the master is inside the
  Transmit Window and 2.5 ms from the beginning of the Transmit Window.
  - 2 ≤ WinSize ≤ 8
  - WinOffset: 19

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• Option 3: the first packet sent after the instant by the master is inside the
  Transmit Window and 1.25ms from the beginning of the Transmit Window.
   -    1 ≤ WinSize ≤ 8
   -    WinOffset: 20
• Option 4: the first packet sent after the instant by the master is inside the
  Transmit Window and 0ms from the beginning of the Transmit Window.
  - 1 ≤ WinSize ≤ 8
   -    WinOffset: 21

5.1.7.4 Packet Transmit Time Restrictions

This section only applies if the current PHY is the LE Coded PHY and the
Controller supports the LE Data Packet Length Extension feature.

After having sent or received an LL_CONNECTION_UPDATE_IND PDU that
decreases the connection interval, and until the instant has been reached, the
Link Layer shall not transmit a packet that would take longer than
connEffectiveMaxTxTime microseconds (see Section 4.5.10) to transmit,
calculated using the connection interval that will apply after the instant.

After a slave sends an LL_CONNECTION_PARAM_REQ or
LL_CONNECTION_PARAM_RSP PDU where Interval_Min indicates an
interval less than the current connection interval, and until it receives an
LL_CONNECTION_UPDATE_IND, LL_UNKNOWN_RSP, or
LL_REJECT_EXT_IND PDU in response, its link layer shall not transmit a
packet that would take longer than connEffectiveMaxTxTime microseconds to
transmit, calculated using a connection interval corresponding to the
Interval_Min value in the transmitted PDU.

If the value of connEffectiveMaxTxTime changes during the procedure, the
above requirements apply to the value at the moment the Data Channel PDU is
queued for transmission.

Note: The requirements of this section are in addition to, and do not override,
those in Section 4.5.10.

Note: If a Link Layer has any Data Channel PDUs queued for transmission at
the start of the procedure or queues any during the procedure, it may need to
re-fragment those PDUs in order to meet these requirements.

5.1.8 LE Ping Procedure

The LE Ping procedure, when supported, can be used at the Link Layer to
verify presence of the remote Link Layer. The procedure can also be used to
verify message integrity on the LE ACL logical transport by forcing the remote
device to send an LE ACL packet that contains a valid MIC.



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Either the master or the slave Link Layer may initiate this procedure at any time
after entering the Connection State by sending an LL_PING_REQ PDU. The
responding Link Layer responds with the LL_PING_RSP PDU.

The Link Layer supporting this feature shall send an LL_PING_REQ PDU
when the remote device has not sent a packet containing a payload protected
by a MIC within the authenticated payload timeout set by the Host ([Vol 2] Part
E, Section 7.3.94).

The procedure is completed when either an LL_PING_RSP is received or, in
the case the remote device does not support the LE Ping feature, an
LL_UNKNOWN_RSP is received with the Unknown type set to
LL_PING_REQ.

5.1.9 Data Length Update Procedure

A Controller uses the Data Length Update Procedure to transmit the latest
values of the current maximum Receive Data Channel PDU Payload Length
and PDU Time (connMaxRxOctets and connMaxRxTime) and the current
maximum Transmit Data Channel PDU Payload Length and PDU Time
(connMaxTxOctets and connMaxTxTime) to the peer device.

Both the master and slave can initiate this procedure at any time after entering
the Connection State by sending an LL_LENGTH_REQ PDU. This procedure
shall be initiated by the Link Layer whenever any of these parameters change,
whether requested by the Host or autonomously by the Link Layer. However, if
this procedure has already been initiated by the remote Controller and the local
Controller has not yet responded, it shall use the response to communicate the
changes instead of initiating a new procedure.

If the Link Layer receives an LL_LENGTH_REQ, or an LL_LENGTH_RSP
PDU that was a response to an LL_LENGTH_REQ PDU, then it shall update
its connRemoteMaxTxOctets, connRemoteMaxRxOctets,
connRemoteMaxTxTime, and connRemoteMaxRxTime parameters for the
connection with the values in the PDU. It shall immediately start using the
updated values for all new Data Channel PDUs queued for transmission
(including any response as specified in the next paragraph). The length of any
Data Channel PDUs that have already been queued for transmission or
transmitted at least once shall not be changed.

Note: Because Link Layer PDUs are not required to be processed in real time,
it is possible for the local Controller to have queued but not yet transmitted an
LL_LENGTH_REQ PDU when it receives an LL_LENGTH_REQ PDU from the
peer device. In this situation each device responds as normal; the resulting
collision is harmless.

Upon receiving an LL_LENGTH_REQ PDU, the Link Layer shall respond with
an LL_LENGTH_RSP PDU containing its own connMaxTxOctets,
connMaxRxOctets, connMaxTxTime, and connMaxRxTime values for the

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connection (which it may have updated based on the values received, for
example so as to allow the remote device to transmit longer packets).

If the peer device does not support the LE Coded PHY feature, then the
MaxRxTime and MaxTxTime fields in the LL_LENGTH_REQ and
LL_LENGTH_RSP PDUs shall be set to a value less than or equal to 2120
microseconds.

If the Link Layer of the master or slave sends the LL_LENGTH_REQ PDU to a
device that does not understand that PDU, then the device should expect an
LL_UNKNOWN_RSP PDU in response.

The procedure is completed when the initiating Controller receives either an
LL_LENGTH_RSP PDU or, in the case the remote device does not support the
LE Data Packet Length Extension feature, an LL_UNKNOWN_RSP PDU with
the Unknown type set to LL_LENGTH_REQ.

5.1.10 PHY Update Procedure

The PHY Update Procedure, when supported, is used to change the transmit
or receive PHYs, or both. The procedure can be initiated either on a request by
the Host or autonomously by the Link Layer. Either the master or the slave may
initiate this procedure at any time after entering the Connection State. Link
Layer PHY preferences may change during a connection or between
connections and, therefore, they should not be cached by the peer device.

When this procedure is initiated by the master, it sends an LL_PHY_REQ PDU.
The slave responds with an LL_PHY_RSP PDU. The master then responds to
this with an LL_PHY_UPDATE_IND PDU.

When this procedure is initiated by the slave, it sends an LL_PHY_REQ PDU.
The master responds with an LL_PHY_UPDATE_IND PDU.

The TX_PHYS and RX_PHYS fields of the LL_PHY_REQ and LL_PHY_RSP
PDUs shall be used to indicate the PHYs that the sending Link Layer prefers
to use. If the sender wants a symmetric connection (one where the two PHYs
are the same) it should make both fields the same, only specifying a single
PHY.

The M_TO_S_PHY and S_TO_M_PHY fields of the LL_PHY_UPDATE_IND
PDU shall indicate the PHYs that shall be used after the instant.

If the master initiated the procedure, it shall determine the PHY to use in each
direction based on the contents of the LL_PHY_REQ and LL_PHY_RSP PDUs
using the following rules:
• the M_TO_S_PHY field of the LL_PHY_UPDATE_IND PDU shall be
  determined from the master's TX_PHYS field and the slave's RX_PHYS
  field;


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• the S_TO_M_PHY field of the LL_PHY_UPDATE_IND PDU shall be
  determined from the master's RX_PHYS field and the slave's TX_PHYS
  field.

In each of those cases the following rules apply:
• if, for at least one PHY, the corresponding bit is set to 1 in both the
  TX_PHYS and RX_PHYS fields, the master shall select any one of those
  PHYs for that direction;
• if there is no PHY for which the corresponding bit is set to 1 in both the
  TX_PHYS and RX_PHYS fields, the master shall not change the PHY for
  that direction.

If the slave initiated the procedure, the master shall determine the PHY to use
in each direction based on the contents of the LL_PHY_REQ PDU sent by the
slave using the following rules:
• the M_TO_S_PHY field of the LL_PHY_UPDATE_IND PDU shall be
  determined from the RX_PHYS field of the slave’s PDU;
• the S_TO_M_PHY field of the LL_PHY_UPDATE_IND PDU shall be
  determined from the TX_PHYS field of the slave’s PDU.

In each of those cases the following rules apply:
• if, for at least one PHY, the PHY is one that the master prefers to use and
  the corresponding bit is set to 1 in the relevant field of the slave’s PDU, the
  master shall select any one of those PHYs for that direction;
• if there is no PHY which the master prefers to use and for which the
  corresponding bit is set to 1 in the relevant field of the slave’s PDU, the
  master shall not change the PHY for that direction.

The remainder of this section shall apply irrespective of which device initiated
the procedure.

Irrespective of the above rules, the master may leave both directions
unchanged. If the slave specified a single PHY in both the TX_PHYS and
RX_PHYS fields and both fields are the same, the master shall either select
the PHY specified by the slave for both directions or shall leave both directions
unchanged.

If either PHY will change, Section 5.5 shall apply to the
LL_PHY_UPDATE_IND PDU. Both devices shall use the new PHYs starting at
the instant.

If a master or slave sends an LL_PHY_REQ PDU to a device that does not
understand that PDU, then the receiving device shall send an
LL_UNKNOWN_RSP PDU in response.

The procedure has completed when:


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• an LL_UNKNOWN_RSP or LL_REJECT_EXT_IND PDU has been sent or
  received;
• an LL_PHY_UPDATE_IND PDU indicating that neither PHY will change has
  been sent or received; or
• the master sends an LL_PHY_UPDATE_IND PDU indicating that at least
  one PHY will change and the instant has been reached. In this case, the
  procedure response timeout shall be stopped on the master when it sends
  that PDU and on the slave when it receives that PDU.

The Controller shall notify the Host of the PHYs now in effect when the PHY
Update Procedure completes if either it has resulted in a change of one or both
PHYs or if the procedure was initiated by a request from the Host. Otherwise, it
shall not notify the Host that the procedure took place.

5.1.10.1 Packet Transmit Time Restrictions

After having sent or received an LL_PHY_UPDATE_IND PDU that changes
either PHY, and until the instant has been reached, the Link Layer shall not
transmit a packet that would take longer than connEffectiveMaxTxTime
microseconds (see Section 4.5.10) to transmit on the PHY that will apply after
the instant.

After a slave sends an LL_PHY_REQ PDU, and until it receives an
LL_PHY_UPDATE_IND, LL_UNKNOWN_RSP, or LL_REJECT_EXT_IND
PDU in response, its link layer shall not transmit a packet that would take
longer than connEffectiveMaxTxTime microseconds to transmit on any PHY
that appears in the TX_PHYS field of that LL_PHY_REQ PDU.

If a slave responds to the PHY Update Procedure then, during the period
starting when it sends the LL_PHY_RSP PDU and ending when it receives the
LL_PHY_UPDATE_IND PDU in response, the slave's Link Layer shall not
transmit a packet that would take longer than connEffectiveMaxTxTime
microseconds to transmit on any PHY that appears in both the TX_PHYS field
of its LL_PHY_RSP PDU and the RX_PHYS field of the master's
LL_PHY_REQ PDU.

If the value of connEffectiveMaxTxTime changes during the procedure, the
above requirements apply to the value at the moment the Data Channel PDU is
queued for transmission.

Note: The requirements of this section are in addition to, and do not override,
those in Section 4.5.10.

Note: If a Link Layer has any Data Channel PDUs queued for transmission at
the start of the procedure or queues any during the procedure, it may need to
re-fragment those PDUs in order to obey these requirements.




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5.1.11 Minimum Number Of Used Channels Procedure

A Controller uses the Minimum Number Of Used Channels Procedure to
request that the peer device uses a minimum number of channels on a given
PHY.

The slave can initiate this procedure at any time after entering the Connection
State by sending an LL_MIN_USED_CHANNELS_IND PDU. The Master shall
not send this PDU.

If the Link Layer receives an LL_MIN_USED_CHANNELS_IND PDU, it should
ensure that, whenever the slave-to-master PHY is one of those specified, the
connection uses at least the number of channels given in the
MinUsedChannels field of the PDU.

The procedure has completed when the Link Layer acknowledgment of the
LL_MIN_USED_CHANNELS_IND PDU is sent or received.

If the channel map does not include the minimum number of channels the
slave requires for regulatory compliance, the slave must take steps to remain
regulatory compliant, which can include disconnecting the link or reducing the
output power.

5.2 PROCEDURE RESPONSE TIMEOUT
This section specifies procedure timeout rules that shall be applied to all the
Link Layer control procedures specified in Section 5.1, except for the
Connection Update and Channel Map Update procedures for which there are
no timeout rules.

To be able to detect a non-responsive Link Layer Control Procedure, both the
master and the slave shall use a procedure response timeout timer, TPRT.
Upon the initiation of a procedure, the procedure response timeout timer shall
be reset and started.

Each LL Control PDU that is queued for transmission resets the procedure
response timeout timer.

When the procedure completes, the procedure response timeout timer shall be
stopped.

If the procedure response timeout timer reaches 40 seconds, the connection is
considered lost. The Link Layer exits the Connection State and shall transition
to the Standby State. The Host shall be notified of the loss of connection.




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5.3 PROCEDURE COLLISIONS
Since LL Control PDUs are not interpreted in real time, collisions can occur
where the Link Layer of the master and the Link Layer of the slave initiate
incompatible procedures. Two procedures are incompatible if they both involve
an instant. In this situation, the rules in this section shall be followed:

A device shall not initiate a procedure after responding to a PDU that had
initiated an incompatible procedure until that procedure is complete.

If device initiates a procedure A and, while that procedure is not complete,
receives a PDU from its peer that initiates an incompatible procedure B, then:
• If the peer has already sent at least one PDU as part of procedure A, the
  device should immediately exit the Connection State and transition to the
  Standby State.
• Otherwise, if the device is the master, it shall reject the PDU received from
  the slave by issuing an LL_REJECT_EXT_IND (if supported by both
  devices) or LL_REJECT_IND (otherwise) PDU. It shall then proceed with
  procedure A.
• Otherwise (the device is the slave) it shall proceed to handle the master-
  initiated procedure B and take no further action in the slave-initiated
  procedure A except processing the rejection from the master.

The Host shall be notified that the link has been disconnected with, or the
rejection PDU shall use (as appropriate):
• the error code LMP Error Transaction Collision / LL Procedure Collision
  (0x23) if procedures A and B are the same procedure;
• the error code LMP Error Transaction Collision / LL Procedure Collision
  (0x23) if procedure A is the Connection Update Procedure and procedure B
  is the Connection Parameters Update Procedure;
• the error code Different Transaction Collision (0x2A) otherwise.




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5.4 LE AUTHENTICATED PAYLOAD TIMEOUT
LE Authenticated Payload Timeout (authenticatedPayloadTO) is a parameter
that defines the maximum amount of time in milliseconds allowed between
receiving packets containing a valid MIC. The Host can change the value of
authenticatedPayloadTO using the
HCI_Write_Authenticated_Payload_Timeout Command ([Vol 2] Part E, Section
7.3.94). The default value for authenticatedPayloadTO is 30 seconds.

When the connection is encrypted, a device supporting LE Ping feature shall
start the LE Authenticated Payload timer TLE_Authenticated_Payload to monitor the
time since the last reception of a packet containing a valid MIC from the remote
device. Each device shall reset the timer TLE_Authenticated_Payload upon
reception of a packet with a valid MIC.

If at any time in the CONNECTION state the timer TLE_Authenticated_Payload
reaches the authenticatedPayloadTO value, the Host shall be notified using the
HCI Authenticated Payload Timeout Expired event ([Vol 2] Part E, Section
7.7.75). The TLE_Authenticated_Payload Timer restarts after it is expired.

The timer TLE_Authenticated_Payload shall continue to run during encryption pause
procedure.

Whenever the Host sets the authenticatedPayloadTO while the timer
TLE_Authenticated_Payload is running, the timer shall be reset.




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5.5 PROCEDURES WITH INSTANTS
Where a procedure involves a PDU with an Instant field, then the following
rules shall apply.

The Instant field shall be used to indicate the connEventCount when the
relevant change shall be applied; this is known as the instant for the procedure.
The master should allow a minimum of 6 connection events that the slave will
be listening for before the instant occurs, considering that the slave may only
be listening once every connSlaveLatency events.

When a slave receives such a PDU where (Instant – connEventCount) modulo
65536 is less than 32767 and Instant is not equal to connEventCount, the slave
shall listen to all the connection events until it has confirmation that the master
has received its acknowledgment of the PDU or connEventCount equals
Instant.

When a slave receives such a PDU where (Instant – connEventCount) modulo
65536 is greater than or equal to 32767 (because the instant is in the past), the
Link Layer of the slave shall consider the connection to be lost, shall exit the
Connection State and transition to the Standby State, and shall notify the Host
using the error code Instant Passed (0x28).

Note: The comparison of the connEventCount and the received Instant field is
performed using modulo 65536 math (only values from 0 to 65535 are
allowed), to handle the situation when the connEventCount field has wrapped.




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6 PRIVACY

The Link Layer provides Privacy by using Private Addresses (see Section
1.3.2).

If a device is using Resolvable Private Addresses Section 1.3.2.2, it shall also
have an Identity Address that is either a Public or Random Static address type.

6.1 PRIVATE ADDRESS GENERATION INTERVAL
A private address shall be generated using the Resolvable Private Address
Generation (see Section 1.3.2.2).

The Link Layer shall set a timer determined by the Host. A new private address
shall be generated when the timer expires. If the Link Layer is reset, a new
private address shall be generated and the timer started with any value in the
allowed range.

Note: If the private address is generated frequently, connection establishment
times may be affected. It is recommended to set the timer to 15 minutes.

6.2 PRIVACY IN THE ADVERTISING STATE
Privacy in the advertising state determines how the Link Layer processes
Resolvable Private Addresses for advertising events.

The requirements in the following sub-sections apply in addition to those in
Section 4.4.2.

6.2.1 Connectable and Scannable Undirected Event Type

The Link Layer may use resolvable private addresses or non-resolvable private
addresses for the advertiser’s device address (AdvA field) when entering the
Advertising State and using connectable and scannable undirected events.

The AdvA field of the connectable and scannable undirected advertising event
PDU is generated using the Local IRK value and the Resolvable Private
Address Generation Procedure (see Section 1.3.2.2). If the Host has not
provided any Resolving List IRK pairs for the peer to the Link Layer, then the
AdvA field shall use a Host-provided address.

When an advertiser receives a connection request that contains a resolvable
private address for the initiator’s address (InitA field), the Link Layer shall
resolve the private address (see Section 1.3.2.3). The advertising filter policy,
where the White List is enabled (see Section 4.3.2), shall determine if the
advertiser establishes a connection.



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When an advertiser receives a connection request that contains a device
identity address for the initiator's address field (InitA field), and if that device is
in the Resolving List with a non-zero peer IRK for which the Host has specified
device privacy mode, then the advertising filter policy, where the White List is
enabled (see Section 4.3.2), shall determine if the advertiser establishes a
connection.

When an advertiser receives a scan request that contains a resolvable private
address for the scanner’s device address (ScanA field), the Link Layer shall
resolve the private address (see Section 1.3.2.3). The advertising filter policy,
where the White List is enabled (see Section 4.3.2), shall determine if the
advertiser processes the scan request.

When an advertiser receives a scan request that contains a device identity
address for the scanner's device address (ScanA field), and if that device is in
the Resolving List with a non-zero peer IRK for which the Host has specified
device privacy mode, then the advertising filter policy, where the White List is
enabled (see Section 4.3.2), shall determine if the advertiser processes the
scan request.

When an advertiser receives a scan or connection request that contains a non-
resolvable private address, the advertising filter policy (see Section 4.3.2) shall
determine if the advertiser processes the scan or connection request.

If the advertiser processes the scan request, the advertiser’s device address
(AdvA field) in the SCAN_RSP PDU shall be the same as the advertiser’s
device address (AdvA field) in the SCAN_REQ PDU to which it is responding.

6.2.2 Connectable Directed Event Type

The Link Layer shall use resolvable private addresses for the advertiser’s
device address (AdvA field). If an IRK is available in the Link Layer Resolving
List for the peer device, then the target’s device address (TargetA field) shall
use a resolvable private address. If an IRK is not available in the Link Layer
Resolving List or the IRK is set to zero for the peer device, then the target’s
device address (TargetA field) shall use the Identity Address when entering the
Advertising State and using connectable directed events.

The AdvA field of the connectable directed advertising event PDU is generated
using the Local IRK value and the Resolvable Private Address Generation
Procedure (see Section 1.3.2.2).

The TargetA field of the connectable directed advertising event PDU is
generated using the Peer IRK value and the Resolvable Private Address
Generation Procedure (see Section 1.3.2.2). The TargetA field uses the public
or static device address of the peer device if no peer IRK is available.




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When an advertiser receives a connection request that contains a resolvable
private address for the initiator’s address (InitA field), the Link Layer shall
resolve the private address (see Section 1.3.2.3).

When an advertiser receives a connection request that contains a device
identity address for the initiator's address field (InitA field), and if that device is
in the Resolving List with a non-zero peer IRK for which the Host has specified
device privacy mode, then the advertising filter policy, where the White List is
enabled (see Section 4.3.2), shall determine if the advertiser establishes a
connection.

6.2.3 Non-connectable and Non-scannable Undirected and Scannable
Undirected Event Types

The Link Layer may use resolvable private addresses or non-resolvable private
addresses for the advertiser’s device address (AdvA field) when entering the
Advertising State and using the following event types:
• non-connectable and non-scannable undirected event
• scannable undirected event

The AdvA field of the non-connectable and non-scannable undirected
advertising event PDU and scannable undirected event PDU are generated
using the advertiser’s Local IRK value and the Resolvable Private Address
Generation Procedure or Non-Resolvable Private Address Generation
Procedure (see Section 1.3.2.2).

When an advertiser receives a scan request that contains a resolvable private
address for the scanner’s device address (ScanA field), the Link Layer shall
resolve the private address (see Section 1.3.2.3). The advertising filter policy,
where the White List is enabled (see Section 4.3.2), shall determine if the
advertiser processes the scan request.

When an advertiser receives a scan request that contains a device identity
address for the scanner's device address (ScanA field), and if that device is in
the Resolving List with a non-zero peer IRK for which the Host has specified
device privacy mode, then the advertising filter policy, where the White List is
enabled (see Section 4.3.2), shall determine if the advertiser processes the
scan request.

When an advertiser receives a scan request that contains a non-resolvable
private address, the advertising filter policy (see Section 4.3.2) shall determine
if the advertiser processes the scan request.

If the advertiser processes the scan request, the advertiser’s device address
(AdvA field) in the scan response PDU shall be the same as the advertiser’s
device address (AdvA field) in the scan request PDU to which it is responding.




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6.2.4 Connectable Undirected Event Type

The Link Layer may use resolvable private addresses or non-resolvable private
addresses for the advertiser’s device address (AdvA field) when entering the
Advertising State and using connectable undirected events.

The AdvA field of the connectable undirected advertising event PDU is
generated using the Local IRK value and the Resolvable Private Address
Generation Procedure (see Section 1.3.2.2). If the Host has not provided any
Resolving List IRK pairs for the peer to the Link Layer, then the AdvA field shall
use a Host-provided address.

When an advertiser receives a connection request that contains a resolvable
private address for the target’s address (TargetA field), the Link Layer shall
resolve the private address (see Section 1.3.2.3). The advertising filter policy,
where the White List is enabled (see Section 4.3.2), shall determine if the
advertiser establishes a connection.

The advertising filter policy (see Section 4.3.2) shall determine if the advertiser
processes the connect request if an advertiser receives a connect request that
contains a non-resolvable private address.

6.2.5 Non-connectable and Non-scannable Directed and Scannable
Directed Event Types

The Link Layer may use resolvable private addresses or non-resolvable private
addresses for the advertiser’s device address (AdvA field) when entering the
Advertising State and using the following event types:
• non-connectable and non-scannable directed event
• scannable directed event

If an IRK is available in the Link Layer Resolving List for the peer device, then
the target’s device address (TargetA field) shall use a resolvable private
address. If an IRK is not available in the Link Layer Resolving List or the IRK is
set to zero for the peer device, then the target’s device address (TargetA field)
shall use the Identity Address when entering the Advertising State and using
non-connectable and non-scannable directed and scannable directed events.

The AdvA field of the non-connectable and non-scannable directed advertising
event PDU and scannable directed event PDU is generated using the
advertiser’s Local IRK value and the Resolvable Private Address Generation
Procedure or Non-Resolvable Private Address Generation Procedure (see
Section 1.3.2.2).

The TargetA field of the scannable directed advertising event PDU is generated
using the Peer IRK value and the Resolvable Private Address Generation
Procedure (see Section 1.3.2.2). The TargetA field uses the public or static
device address of the peer device if no peer IRK is available.


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When an advertiser receives a scan request that contains a resolvable private
address for the scanner’s device address (ScanA field), the Link Layer shall
resolve the private address (see Section 1.3.2.3).

If the advertiser processes the scan request, the advertiser’s device address
(AdvA field) in the AUX_SCAN_RSP PDU shall be the same as the
advertiser’s device address (AdvA field) in the AUX_SCAN_REQ PDU to
which it is responding.

6.3 PRIVACY IN THE SCANNING STATE
The requirements in this section apply in addition to those in Section 4.4.3.

The Link Layer may use resolvable private addresses or non-resolvable private
addresses for the scanner’s device address (ScanA field) when entering the
Scanning State.

The ScanA field of the scanning PDU is generated using the Resolving List’s
Local IRK value and the Resolvable Private Address Generation Procedure
(see Section 1.3.2.2), or the address is provided by the Host.

The advertiser’s device address (AdvA field) in the scan request PDU shall be
the same as the advertiser’s device address (AdvA field) received in the
advertising PDU to which the scanner is responding.

When a scanner receives an advertising event that contains a resolvable
private address for the advertiser’s device address (AdvA field), the Link Layer
shall resolve the private address (see Section 1.3.2.3). The scanner’s filter
policy, where the White List is enabled (see Section 4.3.3), shall determine if
the scanner responds with a scan request.

When a scanner receives an advertising packet that contains a device identity
address for the advertiser's device address (AdvA field), and if that device is in
the Resolving List with a non-zero peer IRK for which the Host has specified
device privacy mode, then the scanner's filter policy, where the White List is
enabled (see Section 4.3.3), shall determine if the scanner responds with a
scan request.

When a scanner receives an advertising event that contains a non-resolvable
private address, the scanner’s filter policy (see Section 4.3.3) shall determine if
the scanner processes the advertising event.




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6.4 PRIVACY IN THE INITIATING STATE
The requirements in this section apply in addition to those in Section 4.4.4.

The Link Layer may use resolvable private addresses or an address provided
by the Host for the initiator’s device address (InitA field) when in the Initiating
state.

When an initiator receives a connectable advertising event that contains a
resolvable private address for the advertiser’s address (AdvA field), the Link
Layer shall resolve the private address using the Peer IRK values (see Section
1.3.2.3). The initiator’s filter policy (see Section 4.3.4) shall determine if the
initiator establishes a connection.

The advertiser’s device address (AdvA field) in the initiating PDU shall be the
same as the advertiser’s device address (AdvA field) received in the
advertising event PDU to which the initiator is responding.

When an initiator receives a directed connectable advertising event that
contains a resolvable private address for the target’s address (TargetA field),
the Link Layer shall resolve the private address using the Local IRK values
(see Section 1.3.2.3). An initiator that has been instructed by the Host to use
Resolvable Private Addresses shall not respond to directed connectable
advertising events that contain Public or Static addresses for the target’s
address (TargetA field).

When an initiator receives a connectable advertising event that contains a
device identity address for the advertiser's device address (AdvA field), and if
that device is in the Resolving List with a non-zero peer IRK for which the Host
has specified device privacy mode, then the initiator's filter policy, where the
White List is enabled (see Section 4.3.4), shall determine if the initiator
establishes a connection.

The Link Layer shall use resolvable private addresses for the initiator’s device
address (InitA field) when initiating connection establishment with an
associated device that exists in the Resolving List. The initiator’s device
address (InitA field) in the initiating PDU is generated using the Resolving List
Local IRK and the Resolvable Private Address Generation Procedure (see
Section 1.3.2.2). The Link Layer should not set the InitA field to the same value
as the TargetA field in the received advertising PDU.

The Link Layer shall use the Host-provided address for the initiator’s device
address (InitA field) when initiating connection establishment with a device that
is not in the Resolving List.




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6.5 PRIVACY OF THE DEVICE
A private device shall not use its Identity Address in any advertising PDU. The
Host may command the Controller to advertise, scan, or initiate a connection
using a Resolvable Private Address when the resolving list is enabled. If the
local IRK in the resolving list associated with the peer Identity Address is all
zeros, the Controller will use the Identity Address. If the peer IRK in the
resolving list associated with the peer Identity Address is all zeros, the
Controller will accept the Identity Address. If the Host has instructed the
Controller to use device privacy mode with a peer Identity Address, the
Controller will accept the peer’s Identity Address. This implies that the device's
network privacy is violated. To maintain a device’s network privacy, the Host
should only populate entries in the Controller’s resolving list with non-zero IRKs
and not instruct the Controller to use device privacy mode.




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    Core System Package [Low Energy Controller volume]
                                                               Part C




                        PART C: SAMPLE DATA




                          This part of the specification contains
                          sample data for Bluetooth low energy.
                          All sample data are provided for
                          reference purpose only. They can be
                          used to check the behavior of an
                          implementation and avoid
                          misunderstandings.




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Sample Data


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Sample Data


1 ENCRYPTION SAMPLE DATA

This section contains sample data for the Low Energy encryption process.

The following scenario describes the start of encryption, followed by the
transfer of an encrypted data channel data packet in each direction. It
describes:
• how the derived values are calculated (fixed values are given in red)
• which HCI command and events are exchanged (given in italic)
• which LL messages are exchanged over the air (given in green).

Note: CRCs are not shown because they depend on a random CRC init value.
Scrambling is disabled.

The following parameters are set to the fixed values below:

LTK = 0x4C68384139F574D836BCF34E9DFB01BF (MSO to LSO)
EDIV = 0x2474 (MSO to LSO)


RAND = 0xABCDEF1234567890 (MSO to LSO)
SKDm = 0xACBDCEDFE0F10213 (MSO to LSO)
SKDs = 0x0213243546576879 (MSO to LSO)
IVm = 0xBADCAB24 (MSO to LSO)
IVs = 0xDEAFBABE (MSO to LSO)

HCI_LE_Start_Encryption (length 0x1C) – master HCI command
  Pars (LSO to MSO)    00 08 90 78 56 34 12 ef cd ab 74 24 bf 01 fb 9d 4e f3 bc 36
d8 74 f5 39 41 38 68 4c
    Handle (2-octet value MSO to LSO) 0x0800
    Random (8-octet value MSO to LSO) 0xabcdef1234567890
    Encrypted Diversifier (2-octet value MSO to LSO) 0x2474
    Long Term Key (16-octet value MSO to LSO) 0x4c68384139f574d836bcf34e9dfb01bf

SKDm (LSO to MSO)        :0x13:0x02:0xF1:0xE0:0xDF:0xCE:0xBD:0xAC:

IVm (LSO to MSO)         :0x24:0xAB:0xDC:0xBA

LL_ENC_REQ 03 17 03 90 78 56 34 12 ef cd ab 74 24 13 02 f1 e0 df ce bd ac 24
ab dc ba
  Length 0x17
  Control Type 0x03
  Rand 90 78 56 34 12 ef cd ab
  EDIV 74 24
  SKDm 13 02 f1 e0 df ce bd ac
  IVm 24 ab dc ba


SKDs (LSO to MSO)        :0x79:0x68:0x57:0x46:0x35:0x24:0x13:0x02:

IVs (LSO to MSO)         :0xBE:0xBA:0xAF:0xDE



Encryption sample data                                                     06 December 2016
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Sample Data

LL_ENC_RSP 0b 0d 04 79 68 57 46 35 24 13 02 be ba af de
  Length 0x0D
  Control Type 0x04
  SKDs 79 68 57 46 35 24 13 02
  IVs be ba af de

IV = IVm || IVs
IV (LSO to MSO)          :0x24:0xAB:0xDC:0xBA:0xBE:0xBA:0xAF:0xDE

HCI_Long_Term_Key_Requested(length 0x0D) – slave event
  Pars (LSO to MSO)05 01 08 90 78 56 34 12 ef cd ab 74 24
    LE_Event_Code 0x05
    Handle (2-octet value MSO to LSO) 0x0801
    Random (8-octet value MSO to LSO) 0xabcdef1234567890
    Encrypted Diversifier (2-octet value MSO to LSO) 0x2474

HCI_LE_Long_Term_Key_Request_Reply (length 0x12) – slave command
  Pars (LSO to MSO)    01 08 bf 01 fb 9d 4e f3 bc 36 d8 74 f5 39 41 38 68 4c
    Handle (2-octet value MSO to LSO) 0x0801
    Key (16-octet value MSO to LSO) 0x4C68384139F574D836BCF34E9DFB01BF



SKD = SKDm || SKDs
SKD (LSO to MSO)
:0x13:0x02:0xF1:0xE0:0xDF:0xCE:0xBD:0xAC:0x79:0x68:0x57:0x46:0x35:0x24:0x13:0x02:

SK = Encrypt(LTK, SKD)
SK (LSO to MSO)
:0x66:0xC6:0xC2:0x27:0x8E:0x3B:0x8E:0x05:0x3E:0x7E:0xA3:0x26:0x52:0x1B:0xAD:0x99:

LL_START_ENC_REQ 07 01 05
  Length 0x01
  Control Type 0x05

LL_START_ENC_RSP1 0f 05 9f cd a7 f4 48
  Length 0x05
  Control Type Encrypted:0x9F Clear:0x06
  MIC (32-bit value MSO to LSO) 0xCDA7F448 (note that MICs are sent MSO first on
the air)

LL_START_ENC_RSP2 07 05 a3 4c 13 a4 15
  Length 0x05
  Control Type Encrypted:0xA3 Clear:0x06
  MIC (32-bit value MSO to LSO) 0x4C13A415

HCI_ACL_Data_Packet Master Host to Controller
  00 08 1b 00 17 00 63 64 65 66 67 68 69 6a 6b 6c 6d 6e 6f 70 71 31 32 33 34 35 36
37 38 39 30
    Handle (12-bit value MSO to LSO) 0x0800
    Data Total Length (16-bit value MSO to LSO) 0x001B (27 dec)
    Data (LSO to MSO) 17 00 63 64 65 66 67 68 69 6a 6b 6c 6d 6e 6f 70 71 31 32 33
34 35 36 37 38 39 30

LL_DATA1 0e 1f 7a 70 d6 64 15 22 6d f2 6b 17 83 9a 06 04 05 59 6b d6 56 4f 79 6b 5b
9c e6 ff 32 f7 5a 6d 33
  Length 0x1F (i.e. 27 + 4 = 31 dec)
  Data (LSO to MSO)




Encryption sample data                                                    06 December 2016
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Sample Data

    Clear     17 00 63 64 65 66 67 68 69 6a 6b 6c 6d 6e 6f 70 71 31 32 33 34 35 36
37 38 39 30
    Encrypted 7a 70 d6 64 15 22 6d f2 6b 17 83 9a 06 04 05 59 6b d6 56 4f 79 6b 5b
9c e6 ff 32
  MIC (32-bit value MSO to LSO)    0xF75A6D33

HCI_ACL_Data_Packet Slave Host to Controller
  01 08 1b 00 17 00 37 36 35 34 33 32 31 30 41 42 43 44 45 46 47 48 49 4a 4b 4c 4d
4e 4f 50 51
    Handle (12-bit value MSO to LSO) 0x0801
    Data Total Length (16-bit value MSO to LSO) 0x001B (27 dec)
    Data (LSO to MSO) 17 00 37 36 35 34 33 32 31 30 41 42 43 44 45 46 47 48 49 4a
4b 4c 4d 4e 4f 50 51



LL_DATA2 06 1f f3 88 81 e7 bd 94 c9 c3 69 b9 a6 68 46 dd 47 86 aa 8c 39 ce 54 0d 0d
ae 3a dc df 89 b9 60 88
  Length 0x1F (i.e. 27 + 4 = 31 dec)
  Data (LSO to MSO)
    Clear     17 00 37 36 35 34 33 32 31 30 41 42 43 44 45 46 47 48 49 4a 4b 4c 4d
4e 4f 50 51
    Encrypted f3 88 81 e7 bd 94 c9 c3 69 b9 a6 68 46 dd 47 86 aa 8c 39 ce 54 0d 0d
ae 3a dc df
  MIC (32-bit value MSO to LSO)    0x89B96088


1.1 ENCRYPT COMMAND
HCI_LE_Encrypt (length 0x20) – command
  Pars (LSO to MSO) bf 01 fb 9d 4e f3 bc 36 d8 74 f5 39 41 38 68 4c 13 02 f1 e0 df
ce bd ac 79 68 57 46 35 24 13 02
    Key (16-octet value MSO to LSO):            0x4C68384139F574D836BCF34E9DFB01BF
    Plaintext_Data (16-octet value MSO to LSO): 0x0213243546576879acbdcedfe0f10213

HCI_Command_Complete (length 0x14) – event
  Pars (LSO to MSO) 02 17 20 00 66 c6 c2 27 8e 3b 8e 05 3e 7e a3 26 52 1b ad 99
    Num_HCI_Commands_Packets: 0x02
    Command_Opcode (2-octet value MSO to LSO): 0x2017
    Status: 0x00
    Encrypted_Data (16-octet value MSO to LSO): 0x99ad1b5226a37e3e058e3b8e27c2c666


1.2 DERIVATION OF THE MIC AND ENCRYPTED DATA
All B/X/A/S values below follow the notation: LSbyte to MSbyte & msbit to lsbit.

IV = DEAFBABEBADCAB24
SK = 99AD1B5226A37E3E058E3B8E27C2C666

1.START_ENC_RSP1 (packet 0, M --> S)
----------------

B0 = 49000000008024ABDCBABEBAAFDE0001
B1 = 00010300000000000000000000000000
B2 = 06000000000000000000000000000000



Encryption sample data                                                 06 December 2016
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Sample Data


X1   = 712eaaaae60603521d245e50786eefe4
X2   = debc43782a022675fca0aa6f0854f1ab
X3   = 6399913fede5fa111bdb993bbfb9be06
=>   MIC = 6399913f

A0 = 01000000008024ABDCBABEBAAFDE0000
A1 = 01000000008024ABDCBABEBAAFDE0001

S0 = ae3e6577f64a8f25408c9c10d53acf8e
S1 = 99190d88f4aa1b60b97ecfe6f5fee777

So, encrypted packet payload = 9F
    encrypted MIC = CDA7F448

Which results in the following packet:

LL_START_ENC_RSP1 - 0f 05 9f cd a7 f4 48
  Length: 05
  Control Type:
    Clear:      06
    Encrypted: 9f
  MIC: CD A7 F4 48



2.START_ENC_RSP2 (packet 0, S --> M)
----------------

B0 = 49000000000024ABDCBABEBAAFDE0001
B1 = 00010300000000000000000000000000
B2 = 06000000000000000000000000000000

X1   = ddc86e3094f0c29cf341ef4c2c1e0088
X2   = fe960f5c93fba45a53959842ea8a0c0a
X3   = db403db3a32f39156faf6a6b472e1010
=>   MIC = db403db3

A0 = 01000000000024ABDCBABEBAAFDE0000
A1 = 01000000000024ABDCBABEBAAFDE0001

S0 = 975399a66acdc39124886930d7bca95f
S1 = a5add4127b2f43788ddc9cd86b0b89d2

So, encrypted packet payload = A3
    encrypted MIC = 4c13a415

Which results in the following packet:

LL_START_ENC_RSP2 07 05 a3 4c 13 a4 15
  Length: 05
  Control Type:
    Clear:      06


Encryption sample data                                      06 December 2016
                                                      Bluetooth SIG Proprietary
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Sample Data


       Encrypted: A3
     MIC: 4c 13 a4 15



3. Data packet1 (packet 1, M --> S)
---------------

B0    =   49010000008024ABDCBABEBAAFDE001B
B1    =   00010200000000000000000000000000
B2    =   1700636465666768696A6B6C6D6E6F70
B3    =   71313233343536373839300000000000

X1    = 7c688612996de101f3eacb68b443969c
X2    = e3f1ef5c30161c0a9ec07274a0757fc8
X3    = e7e346f5b7c8a6072890a60dcf4ec20a
X4    = 3db113320b182f9fed635db14cac2df0
=>    MIC = 3db11332

A0 = 01010000008024ABDCBABEBAAFDE0000
A1 = 01010000008024ABDCBABEBAAFDE0001
A2 = 01010000008024ABDCBABEBAAFDE0002

S0 = caeb7e017296dd2fa9a2ce789179501a
S1 = 6d70b50070440a9a027de8f66b6a6a29
S2 = 1ae7647c4d5e6dabdec602404c302341


So, encrypted packet payload =
7A70D66415226DF26B17839A060405596BD6564F796B5B9CE6FF32
    encrypted MIC = F75A6D33


which results in the following packet:


LL_DATA1 0E 1F 7A 70     D6 64 15 22 6D F2 6B 17 83 9A 06 04 05 59 6B D6
56 4F 79 6B 5B 9C E6     FF 32 F7 5A 6D 33
  Length: 1F
  Data:
    Clear:     17 00     63   64 65 66 67 68 69 6a 6b 6c 6d 6e 6f 70 71 31
32 33 34 35 36 37 38     39   30
    Encrypted: 7A 70     D6   64 15 22 6D F2 6B 17 83 9A 06 04 05 59 6B D6
56 4F 79 6B 5B 9C E6     FF   32
  MIC: F7 5A 6D 33

4. Data packet2 (packet 1, S --> M)
---------------

B0    =   49010000000024ABDCBABEBAAFDE001B
B1    =   00010200000000000000000000000000
B2    =   17003736353433323130414243444546
B3    =   4748494A4B4C4D4E4F50510000000000


Encryption sample data                                            06 December 2016
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Sample Data



X1   =   714234d50d6f1da5663be3e78460ad87
X2   =   96df1d97959e6176ac215c7baf90c674
X3   =   6cc52c3dcecdc2fa81eb347887960673
X4   =   a776a26be617366496c391e36f6374a1 => MIC = a776a26b

A0 = 01010000000024ABDCBABEBAAFDE0000
A1 = 01010000000024ABDCBABEBAAFDE0001
A2 = 01010000000024ABDCBABEBAAFDE0002

S0 = 2ecfc2e31e01875653c0f306fc7bfb96
S1 = e488b6d188a0faf15889e72a059902c0
S2 = edc470841f4140e0758c8e8f708399bd


So, encrypted packet payload =
F38881E7BD94C9C369B9A66846DD4786AA8C39CE540D0DAE3ADCDF
    encrypted MIC = 89B96088


Which results in the following packet:


LL_DATA2 06 1F           F3 88 81 E7 BD 94 C9 C3 69 B9 A6 68 46 DD 47 86 AA 8C
39 CE 54 0D 0D           AE 3A DC DF 89 B9 60 88
  Length: 1F
  Data:
    Clear:               17   00   37   36 35 34 33 32 31 30 41 42 43 44 45 46 47 48
49 4a 4b 4c 4d           4e   4f   50   51
    Encrypted:           F3   88   81   E7 BD 94 C9 C3 69 B9 A6 68 46 DD 47 86 AA 8C
39 CE 54 0D 0D           AE   3A   DC   DF

MIC: 89 B9 60 88




Encryption sample data                                                      06 December 2016
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Sample Data


2 LE CODED PHY SAMPLE DATA

Whenever bits are specified, they are in transmission order irrespective of
spacing.

2.1 REFERENCE INFORMATION PACKET
The reference packet is described as bytes in transmission order (the leftmost
byte in a line is transmitted first). Inside a byte, bits are transmitted LSB first.
Access address:            D6 BE 89 8E
PDU:                       00 03 42 4C 45
CRC:                       29 0A CE


2.2 FORWARD ERROR CORRECTION ENCODER
This data shows the bits input to and output by the FEC encoder and its
internal state.

The encoder state is expressed in octal notation where the LSB represents the
rightmost bit store in Figure 3.5 of [Vol 6] Part B, Section 3.3.1. The state
specified is that after the bits are output and the shift operations have taken
place.
Access address
Input:      0   1   1   0   1   0   1   1   0   1   1   1   1   1   0   1
            1   0   0   1   0   0   0   1   0   1   1   1   0   0   0   1
State:      0   4   6   3   5   2   5   6   3   5   6   7   7   7   3   5
            6   3   1   4   2   1   0   4   2   5   6   7   3   1   0   4
Output:     0 0 1 1 0 1 0 1 1 1 0 1 0 0 1 0 0 1 1 1 1 0 1 0 0 1 0 1 1 0 1 1
            1 0 0 1 0 0 0 0 1 0 1 1 1 1 1 1 1 0 0 0 1 0 1 0 1 0 0 0 1 1 1 1

Note to reviewers: this spacing makes it more obvious where the bits come
from.
CI

            If S=2                  If S=8
Input:      1   0                   0   0
State:      6   3                   2   1
Output:     0 1 0 1                 1 0 1 1

TERM1
            If S=2                  If S=8
Input:      0   0     0             0   0     0
State:      1   0     0             0   0     0
Output:     0 0 1 1 0 0             1 1 0 0 0 0

PDU

Input:      0    0    0     0   0   0   0     0   1   1   0   0   0     0     0     0
            0    1    0     0   0   0   1     0   0   0   1   1   0     0     1     0
            1    0    1     0   0   0   1     0
State:      0    0    0     0   0   0   0     0   4   6   3   1   0     0     0     0
            0    4    2     1   0   0   4     2   1   0   4   6   3     1     4     2


LE Coded PHY Sample Data                                                    06 December 2016
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Sample Data

              5   2     5   2      1   0     4   2
Output:       0 0 0 0   0 0 0 0    0 0 0 0   0 0 0 0 1 1 0 1 0 1 0 0 1 1 0 0 0 0 0 0
              0 0 1 1   1 0 1 1    1 1 0 0   1 1 1 0 1 1 1 1 1 1 0 1 0 1 0 0 0 0 1 0
              0 0 0 1   0 0 0 1    1 1 1 1   1 1 1 0
CRC
Input:        1   0   0   1   0   1   0   0   0   1   0   1   0   0   0   0
              0   1   1   1   0   0   1   1
State:        5   2   1   4   2   5   2   1   0   4   2   5   2   1   0   0
              0   4   6   7   3   1   4   6
Output:       0 0 0 1 1 1 0 0 1 0 0 0 0 1 1 1 1 1 1 1 1 0 0 0 0 1 1 1 1 1 0 0
              0 0 1 1 0 1 1 0 1 0 0 0 0 0 0 1
TERM2
Input:        0   0   0
State:        3   1   0
Output:       0 1 0 0 1 1


2.3 TRANSMITTED SYMBOLS (S=2)
Preamble
0011 1100 0011 1100 0011 1100 0011 1100 0011 1100 0011 1100
0011 1100 0011 1100 0011 1100 0011 1100

Access Address
0011   0011   1100   1100   0011   1100   0011   1100   1100   1100   0011   1100
0011   0011   1100   0011   0011   1100   1100   1100   1100   0011   1100   0011
0011   1100   0011   1100   1100   0011   1100   1100   1100   0011   0011   1100
0011   0011   0011   0011   1100   0011   1100   1100   1100   1100   1100   1100
1100   0011   0011   0011   1100   0011   1100   0011   1100   0011   0011   0011
1100   1100   1100   1100

CI
0011 1100 0011 1100

TERM1
0011 0011 1100 1100 0011 0011

PDU
0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 1 1 0 1 0 1 0 0 1 1 0 0 0 0 0 0 0 0 1 1 1 0 1
1 1 1 0 0 1 1 1 0 1 1 1 1 1 1 0 1 0 1 0 0 0 0 1 0 0 0 0 1 0 0 0 1 1 1 1 1 1 1
1 0

CRC
0 0 0 1 1 1 0 0 1 0 0 0 0 1 1 1 1 1 1 1 1 0 0 0 0 1 1 1 1 1 0 0 0 0 1 1 0 1 1
0 1 0 0 0 0 0 0 1

TERM2
0 1 0 0 1 1

Total Packet Duration 510 µs

Note: Groupings of 4 bits show the effects of the P=4 pattern mapper.

2.4 TRANSMITTED SYMBOLS (S=8)
Preamble
0011 1100 0011 1100 0011 1100 0011 1100 0011 1100 0011 1100
0011 1100 0011 1100 0011 1100 0011 1100




LE Coded PHY Sample Data                                                                  06 December 2016
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Sample Data

Access Address
0011   0011   1100   1100   0011   1100   0011   1100   1100   1100   0011   1100
0011   0011   1100   0011   0011   1100   1100   1100   1100   0011   1100   0011
0011   1100   0011   1100   1100   0011   1100   1100   1100   0011   0011   1100
0011   0011   0011   0011   1100   0011   1100   1100   1100   1100   1100   1100
1100   0011   0011   0011   1100   0011   1100   0011   1100   0011   0011   0011
1100   1100   1100   1100

CI
1100 0011 1100 1100

TERM1
1100 1100 0011 0011 0011 0011

PDU
0011   0011   0011   0011   0011   0011   0011   0011   0011   0011   0011   0011
0011   0011   0011   0011   1100   1100   0011   1100   0011   1100   0011   0011
1100   1100   0011   0011   0011   0011   0011   0011   0011   0011   1100   1100
1100   0011   1100   1100   1100   1100   0011   0011   1100   1100   1100   0011
1100   1100   1100   1100   1100   1100   0011   1100   0011   1100   0011   0011
0011   0011   1100   0011   0011   0011   0011   1100   0011   0011   0011   1100
1100   1100   1100   1100   1100   1100   1100   0011

CRC
0011   0011   0011   1100   1100   1100   0011   0011   1100   0011   0011   0011
0011   1100   1100   1100   1100   1100   1100   1100   1100   0011   0011   0011
0011   1100   1100   1100   1100   1100   0011   0011   0011   0011   1100   1100
0011   1100   1100   0011   1100   0011   0011   0011   0011   0011   0011   1100

TERM2
0011 1100 0011 0011 1100 1100

Total Packet Duration 912 µs

Note: Groupings of 4 bits show the effects of the P=4 pattern mapper.




LE Coded PHY Sample Data                                                                  06 December 2016
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Sample Data


3 LE CHANNEL SELECTION ALGORITHM #2
  SAMPLE DATA

This section contains two sets of sample data with different channel maps for
the LE Channel Selection Algorithm #2.

The test access address is 0x8E89BED6, meaning the channelIdentifier is
0x305F.

3.1 SAMPLE DATA 1 (37 USED CHANNELS)
Channel map [36:0] = 11111_11111111_11111111_11111111_11111111b.

 Counter                                          1      2                  3
 prn_e                                          1685   38301             27475
 unmappedChannel                                 20      6                 21
 mappedChannel                                   20      6                 21




LE Channel Selection Algorithm #2 Sample Data                        06 December 2016
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Sample Data


3.2 SAMPLE DATA 2 (9 USED CHANNELS)
Channel map [36:0] =11110_00000000_11100000_00000110_00000000b.

The remapping table is [9, 10, 21, 22, 23, 33, 34, 35, 36].

 Counter                                        6       7          8
 prn_e                                          10975   5490       46970
 unmappedChannel                                23      14         17
 mappedChannel                                  23      9          34




LE Channel Selection Algorithm #2 Sample Data                        06 December 2016
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    Core System Package [Low Energy Controller volume]
                                                               Part D




         PART D: MESSAGE SEQUENCE
                           CHARTS




                          Examples of message sequence charts
                          showing the interactions of the Host
                          Controller Interface with the Link
                          Layer.




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Message Sequence Charts


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Message Sequence Charts


1 INTRODUCTION

This section shows typical interactions between Host Controller Interface (HCI)
Commands and Events and the Link Layer (LL). It focuses on the message
sequence charts (MSCs) for the procedures specified in “Bluetooth Host
Controller Interface Functional Specification” with regard to Link Layer Control
Procedures from “Link Layer”. This section illustrates only the most useful
scenarios; it does not cover all possible alternatives. Furthermore, the
message sequence charts do not consider errors over the air interface or Host
interface. In all message sequence charts it is assumed that all events are not
masked, so the Host Controller will not filter out any events.

The sequence of messages in these message sequence charts is for
illustrative purposes. The messages may be sent in a different order where
allowed by the Link Layer or HCI sections. If any of these charts differ with text
in the Link Layer or HCI sections, the text in those sections shall be considered
normative. This section is informative.

1.1 NOTATION
The notation used in the message sequence charts (MSCs) consists of ovals,
elongated hexagons, boxes, lines, and arrows. The vertical lines terminated on
the top by a shadow box and at the bottom by solid oval indicate a protocol
entity that resides in a device. MSCs describe interactions between these
entities and states those entities may be in.

The following symbols represent interactions and states:
 Oval               Defines the context for the message sequence chart

 Hexagon            Indicates a condition needed to start the transactions below this hexa-
                    gon. The location and width of the Hexagon indicates which entity or
                    entities make this decision.
 Box                Replaces a group of transactions. May indicate a user action, or a pro-
                    cedure in the baseband.
 Dashed Box         Optional group of transactions.

 Solid Arrow        Represents a message, signal or transaction. Can be used to show
                    Link Layer and HCI traffic.
                    Some baseband packet traffic is also shown. These are prefixed by BB
                    followed by either the type of packet, or an indication that there is an
                    ACK signal in a packet.

 Dashed Arrow       Represents an optional message, signal or transaction. Can be used
                    to show Link Layer and HCI traffic.




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Message Sequence Charts


1.2 CONTROL FLOW
Some message sequences are split into several charts. These charts are
marked in sequence with different step numbers with multiple paths through
with optional letters after the step numbers. Numbers indicate normal or
required ordering. The letters represent alternative paths. For example, Step 4
is after Step 3, and Step 5a could be executed instead of Step 5b.

1.3 EXAMPLE MSC
The protocol entities represented in the example shown in Figure 1.1 illustrate
the interactions of two devices named A and B. Note that each device includes
a Host and a LL entity in this example. Other MSCs in this section may show
the interactions of more than two devices.




                +RVW$                        //$                   //%                      +RVW%



                                    6WHS&RQWHQWVWDWHPHQWIRUIROORZLQJFKDUW


               8VHU,QSXW

                            HCI_Command

                             HCI_Event

                                                          LL PDU


                                                 *URXSRI7UDQVDFWLRQV

                                                          LL PDU


                                          //$'HFLVLRQ

                                                          LL PDU


                                                  //$ //%'HFLVLRQ

                                                          LL PDU

                                                          LL PDU

                             HCI_Event                                          HCI_Event




Figure 1.1: Example MSC




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Message Sequence Charts


2 STANDBY STATE

2.1 INITIAL SETUP
To perform initial setup of a LE Controller, the following sequence of actions
may be required.

First, the Host would wait for the Controller to indicate the number of HCI
Command Packets the Host is currently allowed to send using a Command
Complete event on a No OPeration command opcode. Then it would reset the
Controller to a known state. Then it needs to read the local supported features
to check that low energy is supported on this Controller. It would then set the
event mask and LE event mask to enable the events that it wants the Controller
to generate to the Host. Next, it will check the buffers that are available for data
flow, using the Read Buffer Size and LE Read Buffer Size commands. Then it
would read the locally supported LE features and select the features that it
wishes to use. Finally, it will read the public device address if the Controller has
one (see Figure 2.1).



                +RVW$                                //$                //%        +RVW%



                                                  6WHS'HYLFH$LVSRZHUHGXS

                           Command Complete
                             (No Operation)
                                 Reset

                           Command Complete

                     Read Local Supported Commands

                           Command Complete

                      Read Local Supported Features

                           Command Complete

                             Set Event Mask

                           Command Complete

                           LE Set Event Mask

                           Command Complete

                           LE Read Buffer Size

                           Command Complete

                            Read Buffer Size

                           Command Complete

                     LE Read Local Supported Features

                           Command Complete

                            Read BD_ADDR

                           Command Complete




Figure 2.1: Initial Setup


Standby State                                                                            06 December 2016
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Message Sequence Charts


2.2 RANDOM DEVICE ADDRESS
A device may use a random device address, but this address has to be
configured before being used during advertising, scanning or initiating (see
Figure 2.2).



                )PTU"                                 --"           --#                     )PTU#



                                4UFQ)PTU"XBOUTUPNBLFBSBOEPNEFWJDFBEESFTT

                                  94 

                                       &

                                 944&

                                       &

                          945         $$

                                       &




Figure 2.2: Random Device Address


2.3 WHITE LISTS
Before advertising, scanning or initiating can use White Lists, the White List
may be cleared and devices added in as required (see Figure 2.3).



                +RVW$                                 //$           //%                     +RVW%



                                 6WHS+RVW$FRQILJXUHV&RQWUROOHUWRXVHD:KLWH/LVW

                           LE Read White List Size

                            Command Complete

                             LE Clear White List

                            Command Complete

                         LE Add Device To White List

                            Command Complete




Figure 2.3: White Lists




Standby State                                                                                     06 December 2016
                                                                                            Bluetooth SIG Proprietary
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Message Sequence Charts


2.4 ADDING IRK TO RESOLVING LIST
Before advertising, scanning or initiating can use resolving lists, the resolving
list may be cleared and devices added in as required (see Figure 2.4).



                +RVW$                                   //$          //%                  +RVW%



                  6WHS+RVW$FRQILJXUHV&RQWUROOHUWRXVHDUHVROYLQJOLVWZLWK,5.YDOXHV

                         LE Read Resolving List Size

                            Command Complete

                           LE Clear Resolving List

                            Command Complete

                       LE Add Device to Resolving List

                            Command Complete




Figure 2.4: Resolving Lists


2.5 DEFAULT DATA LENGTH
Before creating a connection, the Host may specify its preferred values for the
Controller’s maximum transmission packet size and maximum packet
transmission time to be used for new connections. This may be done on either
the master or the slave.



                +RVW$                                   //$          //%                  +RVW%



                                    6WHS+RVW$ZDQWVWRVXJJHVWGHIDXOWGDWDOHQJWK

                   LE Write Suggested Default Data Length

                            Command Complete

                   LE Read Suggested Default Data Length

                            Command Complete




Figure 2.5: Default Data Length




Standby State                                                                                   06 December 2016
                                                                                          Bluetooth SIG Proprietary
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Message Sequence Charts


2.6 PERIODIC ADVERTISER LIST
The Periodic Advertiser List may be cleared and devices added in as required,
before it is made use of (see Figure 2.6).



                )PTU"                             --"          --#                   )PTU#



                   4UFQ)PTU"DPOGJHVSFT$POUSPMMFSUPVTFUIF1FSJPEJD"EWFSUJTFS-JTU

                           94   
                           $9$56
                                      &

                           94 
                               $9$
                                      &

                           94 :
                           $9$
                                      &




Figure 2.6: Periodic Advertiser List




Standby State                                                                                 06 December 2016
                                                                                     Bluetooth SIG Proprietary
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Message Sequence Charts


3 ADVERTISING STATE

3.1 UNDIRECTED ADVERTISING
A device may enter the Advertising State by enabling advertising. It should also
configure the advertising parameters before doing this (see Figure 3.1).




              +RVW$                 //$                //%                                   +RVW%



                             6WHS6HWXS'HYLFH%WRVHQG$GYHUWV

                                                                LE Set Advertising Parameters

                                                                     Command Complete

                                                                LE Read Advertising Channel Tx
                                                                            Power
                                                                     Command Complete

                                                                    LE Set Advertising Data

                                                                     Command Complete

                                                                 LE Set Scan Response Data

                                                                     Command Complete

                                                                  LE Set Advertising Enable
                                                                           (Enable)
                                                                     Command Complete

                                              Advert

                                              Advert

                                              Advert



                                              Advert

                                              Advert

                                              Advert

                                                                  LE Set Advertising Enable
                                                                           (Disable)
                                                                     Command Complete




Figure 3.1: Undirected Advertising




Advertising State                                                                                 06 December 2016
                                                                                        Bluetooth SIG Proprietary
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Message Sequence Charts


3.2 DIRECTED ADVERTISING
A device may use directed advertising to allow an initiator to connect to it. High
duty cycle directed advertising is time limited in the Controller and therefore
this may fail before a connection is created. This example only shows the
failure case (see Figure 3.2).




              +RVW$              //$                       //%                                   +RVW%



                               6WHS6HWXS'HYLFH%WR$GYHUWLVH

                                                                    LE Set Advertising Parameters

                                                                        Command Complete

                                                                      LE Set Advertising Enable
                                                                              (Enable)
                                                                        Command Complete

                                            ADV_DIRECT_IND

                                            ADV_DIRECT_IND

                                            ADV_DIRECT_IND



                                            ADV_DIRECT_IND

                                            ADV_DIRECT_IND

                                            ADV_DIRECT_IND

                                                                      LE Connection Complete
                                                                        (Advertising Timeout)




Figure 3.2: High Duty Cycle Directed Advertising showing failure case




Advertising State                                                                                     06 December 2016
                                                                                           Bluetooth SIG Proprietary
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Message Sequence Charts

Low duty cycle directed advertising must similarly be enabled in order to enter
the Advertising State. A device should also configure the advertising
parameters before doing this (see Figure 3.3).




              +RVW$              //$                      //%                                   +RVW%



                             6WHS6HWXS'HYLFH%WRVHQG$GYHUWV

                                                                   LE Set Advertising Parameters

                                                                       Command Complete

                                                                     LE Set Advertising Enable
                                                                             (Enable)
                                                                       Command Complete

                                           ADV_DIRECT_IND

                                           ADV_DIRECT_IND

                                           ADV_DIRECT_IND



                                           ADV_DIRECT_IND

                                           ADV_DIRECT_IND

                                           ADV_DIRECT_IND

                                                                     LE Set Advertising Enable
                                                                             (Disable)
                                                                       Command Complete




Figure 3.3: Low Duty Cycle Directed Advertising




Advertising State                                                                                    06 December 2016
                                                                                          Bluetooth SIG Proprietary
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Message Sequence Charts


3.3 ADVERTISING USING ADV_EXT_IND
A device may enter the Advertising State by enabling advertising a set. It
should also configure the advertising set parameters before doing this (see
Figure 3.4).



              )PTU"           --"                    --#                                )PTU#



                           4UFQ4FUVQ%FWJDF#UPTFOEBEWFSUT

                                                                    94543 
                                                                $ $
                                                                            &

                                                                    94543 
                                                                     $
                                                                            &

                                                               94543  5
                                                                      $& $
                                                                            &

                                                                    94543 
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                                                                            &




Figure 3.4: Advertising using ADV_EXT_IND




Advertising State                                                                            06 December 2016
                                                                                       Bluetooth SIG Proprietary
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Message Sequence Charts


3.4 SCAN REQUEST NOTIFICATIONS
A device may enable scan request notifications in an advertising set (see
Figure 3.5).



              )PTU"                 --"                     --#                                )PTU#



                       4UFQ)PTU#XBOUTUPSFDFJWFTDBOSFRVFTUOPUJGJDBUJPOT

                                                                            94543 
                                                                        $ $
                                                                  5< "#$< * <4@
                                                                               4
                                                                                    &

                                                                            94543 
                                                                             $
                                                                                    &

                                                                       94543  5
                                                                              $& $
                                                                                    &

                                                                            94543 
                                                                       $4 4
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                                                                     945 "#$ 

                                               ?><5< 5




Figure 3.5: Scan Request Notifications




Advertising State                                                                                     06 December 2016
                                                                                               Bluetooth SIG Proprietary
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Message Sequence Charts


3.5 ADVERTISING DURATION ENDED
A device may enter the Advertising State by enabling advertising a set for a
limited duration of time (see Figure 3.6).



              )PTU"             --"                    --#                                  )PTU#



                             4UFQ4FUVQ%FWJDF#UPTFOEBEWFSUT

                                                                        94543 
                                                                    $ $
                                                                                &

                                                                        94543 
                                                                         $
                                                                                &

                                                                   94543  5
                                                                          $& $
                                                                                &

                                                                        94543 
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                                                                                &

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Figure 3.6: Advertising Duration Ended




Advertising State                                                                                06 December 2016
                                                                                           Bluetooth SIG Proprietary
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Message Sequence Charts


3.6 PERIODIC ADVERTISING
A device may enter the Advertising State by enabling periodic advertising in a
set. It should also configure the advertising set parameters before doing this
(see Figure 3.7).



              )PTU"               --"                    --#                                )PTU#



                          4UFQ4FUVQ%FWJDF#UPTFOEQFSJPEJDBEWFSUT

                                                                        94543 
                                                                    $ $
                                                                                &

                                                                        945 
                                                                    $ $
                                                                                &

                                                                        945 
                                                                   $4 4
                                                                                &

                                                                        94543 
                                                                   $4 4
                                                                                &

                                                                        945 
                                                                         $
                                                                                &

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                                                                        945 
                                                                         $
                                                                                &

                                            ?><5J<%

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                                            ?><5J<%

                                                                        945 
                                                                   $4 $
                                                                                &

                                                                        94543 
                                                                   $4 $
                                                                                &




Figure 3.7: Periodic Advertising




Advertising State                                                                                06 December 2016
                                                                                           Bluetooth SIG Proprietary
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Message Sequence Charts


4 SCANNING STATE

4.1 PASSIVE SCANNING
A device can use passive scanning to find advertising devices in the area. This
would receive advertising packets from peer devices and report these to the
Host (see Figure 4.1).




             +RVW$                            //$            //%               +RVW%



                  6WHS'HYLFH%LVVHQGLQJ$GYHUWV'HYLFH$LV3DVVLYH6FDQQLQJ

                      LE Set Scan Parameters
                        (Passive Scanning)
                       Command Complete

                        LE Set Scan Enable
                             (Enable)
                       Command Complete

                                                      Advert

                       LE Advertising Report




                                                      Advert

                       LE Advertising Report

                        LE Set Scan Enable
                             (Disable)
                         Command Complete




Figure 4.1: Passive Scanning




Scanning State                                                                        06 December 2016
                                                                               Bluetooth SIG Proprietary
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Message Sequence Charts


4.2 ACTIVE SCANNING
A device may use active scanning to obtain more information about devices
that may be useful to populate a user interface. Active scanning involves more
link layer advertising messages (see Figure 4.2).




             +RVW$                            //$              //%             +RVW%



                 6WHS'HYLFH%LVVHQGLQJ$GYHUWV'HYLFH$ZLVKHVWR$FWLYH6FDQ

                      LE Set Scan Parameters
                         (Active Scanning)
                       Command Complete

                        LE Set Scan Enable
                             (Enable)
                       Command Complete

                                                       Advert

                                                      SCAN_REQ

                                                      SCAN_RSP

                       LE Advertising Report




                                                       Advert

                                                      SCAN_REQ
                                                                 X
                       LE Advertising Report

                        LE Set Scan Enable
                             (Disable)
                         Command Complete




Figure 4.2: Active Scanning




Scanning State                                                                         06 December 2016
                                                                               Bluetooth SIG Proprietary
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Message Sequence Charts


4.3 PASSIVE SCANNING FOR DIRECTED ADVERTISEMENTS
    WITH PRIVACY
If a device does not support Privacy in the Controller, it may choose to forward
LE Directed Advertising Report events from devices supporting Privacy without
requiring filtering through the Controller Resolving List.



             +RVW$                                   //$                    //%                                    +RVW%



                 6WHS6HWXS'HYLFH$WR$FWLYH6FDQZLWK+RVW%DVHG5HVROXWLRQRI53$V
                                6HWXS'HYLFH%WRVHQGDGYHUWVXVLQJ53$V

                                                                                      LE Add Device to Resolving List

                                                                                           Command Complete

                                                                                     LE Set Address Resolution Enable

                                                                                           Command Complete

                       LE Set Scan Parameters                                         LE Set Advertising Parameters

                         Command Complete                                                  Command Complete

                          LE Set Scan Enable                                            LE Set Advertising Enable

                         Command Complete                                                  Command Complete

                                                             ADV_DIRECT_IND

                     LE Directed Advertising Report




Figure 4.3: Directed Advertising with Privacy




Scanning State                                                                                                          06 December 2016
                                                                                                              Bluetooth SIG Proprietary
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Message Sequence Charts


4.4 ACTIVE SCANNING WITH PRIVACY
A device may use active scanning to obtain more information about devices
that may be useful

to populate a user interface. Privacy may be used during active scanning to
make it more

difficult to track either device during active scanning (see Figure 4.4).



             +RVW$                                  //$               //%                                    +RVW%



                                6WHS6HWXS'HYLFH$WR$FWLYH6FDQXVLQJ53$V
                                   6HWXS'HYLFH%WRVHQGDGYHUWVXVLQJ53$V

                   LE Add Device to Resolving List                              LE Add Device to Resolving List

                        Command Complete                                             Command Complete

                  LE Set Address Resolution Enable                             LE Set Address Resolution Enable

                        Command Complete                                             Command Complete

                      LE Set Scan Parameters                                    LE Set Advertising Parameters

                        Command Complete                                             Command Complete

                        LE Set Scan Enable                                        LE Set Advertising Enable

                        Command Complete                                             Command Complete

                                                            ADV_IND


                                      5HVROYH$GY$53$

                       LE Advertising Report


                                      8VH$GY$53$
                                    *HQHUDWH6FDQ$53$
                                                            SCAN_REQ


                                                                   9HULI\$GY$53$
                                                                  5HVROYH6FDQ$53$

                                                            SCAN_RSP

                       LE Advertising Report




Figure 4.4: Active Scanning with Privacy




Scanning State                                                                                                    06 December 2016
                                                                                                        Bluetooth SIG Proprietary
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Message Sequence Charts


4.5 ACTIVE SCANNING WITH PRIVACY AND CONTROLLER
    BASED RESOLVABLE PRIVATE ADDRESS GENERATION
A Controller will periodically update the resolvable private addresses used on
both devices if the devices use active scanning and advertising with Privacy. A
Host may at anytime retrieve the read from the Controller the current
addresses being used (see Figure 4.5).



             +RVW$                                  //$               //%                                     +RVW%



                                6WHS6HWXS'HYLFH$WR$FWLYH6FDQXVLQJ53$V
                                   6HWXS'HYLFH%WRVHQGDGYHUWVXVLQJ53$V

                   LE Add Device to Resolving List                              LE Add Device to Resolving List

                        Command Complete                                             Command Complete

                  LE Set Address Resolution Enable                             LE Set Address Resolution Enable

                        Command Complete                                             Command Complete

                      LE Set Scan Parameters                                     LE Set Advertising Parameters

                        Command Complete                                             Command Complete

                        LE Set Scan Enable                                         LE Set Advertising Enable

                        Command Complete                                             Command Complete

                                                            ADV_IND


                                      5HVROYH$GY$53$
                       LE Advertising Report


                                      8VH$GY$53$
                                    *HQHUDWH6FDQ$53$

                                                            SCAN_REQ


                                                                   9HULI\$GY$53$
                                                                  5HVROYH6FDQ$53$

                                                            SCAN_RSP

                       LE Advertising Report


                      6WHS'HYLFH$UHDGV/RFDODQG5HPRWH5HVROYDEOH$GGUHVV
                         'HYLFH%UHDGV/RFDODQG5HPRWH5HVROYDEOH$GGUHVV

                 LE Read Local Resolvable Address                              LE Read Local Resolvable Address

                        Command Complete                                             Command Complete

                  LE Read Peer Resolvable Address                              LE Read Peer Resolvable Address

                        Command Complete                                             Command Complete




Figure 4.5: Retrieving local and remote resolvable address updates from the Controller




Scanning State                                                                                                     06 December 2016
                                                                                                        Bluetooth SIG Proprietary
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Message Sequence Charts


4.6 ACTIVE SCANNING ON THE SECONDARY ADVERTISING
    CHANNEL
A device may use active scanning on the secondary advertising channel in
order to obtain more information about devices that may be useful to populate
a user interface (see Figure 4.6).



             +RVW$                              //$                  //%              +RVW%



                      6WHS'HYLFH%LVVHQGLQJ$GYHUWV'HYLFH$LVDFWLYHVFDQQLQJ

                          LE Set Extended
                          Scan Parameters
                        Command Complete

                          LE Set Extended
                            Scan Enable
                        Command Complete

                                                        ADV_EXT_IND

                                                        AUX_ADV_IND

                       LE Extended Advertising
                               Report
                                                        AUX_SCAN_REQ

                                                        AUX_SCAN_RSP

                       LE Extended Advertising
                               Report
                                                        ADV_EXT_IND

                                                        AUX_ADV_IND
                                                   X

                                                        ADV_EXT_IND

                                                        AUX_ADV_IND

                       LE Extended Advertising
                               Report
                                                        AUX_SCAN_REQ
                                                                       X
                                                        ADV_EXT_IND

                                                        AUX_ADV_IND

                       LE Extended Advertising
                               Report
                                                        AUX_SCAN_REQ

                                                        AUX_SCAN_RSP
                                                   X


Figure 4.6: Extended active scanning on the secondary advertising channel




Scanning State                                                                             06 December 2016
                                                                                   Bluetooth SIG Proprietary
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Message Sequence Charts


4.7 SCAN TIMEOUT
A device may scan for a limited duration of time (see Figure 4.7).



             )PTU"                             --"                 --#         )PTU#



                  4UFQ%FWJDF#JTTFOEJOH"EWFSUT %FWJDF"JTQBTTJWFTDBOOJOH

                           94543 
                           5 $
                                   &

                           94543 
                            54
                                   &

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                      9443   $
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                      9443   $
                                & 

                                                          
                           945:  #




Figure 4.7: Scan Timeout




Scanning State                                                                        06 December 2016
                                                                               Bluetooth SIG Proprietary
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Message Sequence Charts


4.8 PERIODIC SCANNING
A device may establish synchronization with a periodic advertiser and report
periodic advertising packets to the Host (see Figure 4.8).



             +RVW$                             //$                  //%           +RVW%



          6WHS'HYLFH%VHQGLQJSHULRGLFDGYHUWVVHWXS'HYLFH$WRUHFHLYHSHULRGLFDGYHUWV

                         LE Set Extended
                         Scan Parameters
                       Command Complete

                         LE Set Extended
                           Scan Enable
                       Command Complete

                                                       ADV_EXT_IND

                                                       AUX_ADV_IND

                      LE Extended Advertising
                              Report
                      LE Periodic Advertising
                           Create Sync
                         Command Status

                                                       ADV_EXT_IND

                                                       AUX_ADV_IND

                                                       AUX_SYNC_IND

                      LE Periodic Advertising
                         Sync Established
                            LE Periodic
                        Advertising Report
                                                       AUX_SYNC_IND

                            LE Periodic
                        Advertising Report
                                                       AUX_SYNC_IND

                            LE Periodic
                        Advertising Report
                                                       AUX_SYNC_IND

                            LE Periodic
                        Advertising Report




Figure 4.8: Periodic Scanning




Scanning State                                                                          06 December 2016
                                                                                  Bluetooth SIG Proprietary
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Message Sequence Charts


4.9 PERIODIC SCANNING CANCEL
A device may cancel a pending request to establish synchronization with a
periodic advertiser. This example shows an unsuccessful synchronization,
followed by cancellation of the synchronization (see Figure 4.9).



             +RVW$                                   //$                 //%          +RVW%



                      6WHS6HWXS'HYLFH$WRUHFHLYHSHULRGLFDGYHUWVIURP'HYLFH%

                           LE Set Extended
                           Scan Parameters
                          Command Complete

                           LE Set Extended
                             Scan Enable
                          Command Complete

                                                             ADV_EXT_IND

                                                             AUX_ADV_IND

                        LE Extended Advertising
                                Report
                        LE Periodic Advertising
                              Create Sync
                           Command Status

                        LE Periodic Advertising
                          Create Sync Cancel
                          Command Complete

                      LE Periodic Advertising Sync
                               Established
                      (Operation Cancelled by Host)




Figure 4.9: Periodic Scanning Cancel




Scanning State                                                                             06 December 2016
                                                                                  Bluetooth SIG Proprietary
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Message Sequence Charts


4.10 PERIODIC SCANNING TIMEOUT
A device may lose synchronization with a periodic advertiser (see Figure 4.10).



             +RVW$                             //$                  //%              +RVW%



                         6WHS'HYLFH$UHFHLYLQJSHULRGLFDGYHUWVIURP'HYLFH%

                                                       AUX_SYNC_IND

                           LE Periodic
                        Advertising Report
                                                       AUX_SYNC_IND

                           LE Periodic
                        Advertising Report
                                                       AUX_SYNC_IND

                           LE Periodic
                        Advertising Report
                                                       AUX_SYNC_IND
                                                  X
                                                       AUX_SYNC_IND
                                                  X
                      LE Periodic Advertising
                            Sync Lost




Figure 4.10: Periodic Scanning Timeout




Scanning State                                                                             06 December 2016
                                                                                     Bluetooth SIG Proprietary
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Message Sequence Charts


4.11 PERIODIC SCANNING TERMINATE
Once synchronized with a periodic advertiser, the Host can terminate the
synchronization (see Figure 4.11).



             )PTU"                            --"                  --#                 )PTU#



                           4UFQ%FWJDF"SFDFJWJOHQFSJPEJDBEWFSUTGSPN%FWJDF#

                                                      ?><5J<%

                            94 
                         $ & 
                                                      ?><5J<%

                            94 
                         $ & 
                                                      ?><5J<%

                            94 
                         $ & 


                 4UFQ)PTU"XBOUTUPTUPQSFDFJWJOHQFSJPEJDBEWFSUTGSPN%FWJDF#

                      94  $
                           : 5
                                 &




Figure 4.11: Periodic Scanning Terminate




Scanning State                                                                               06 December 2016
                                                                                       Bluetooth SIG Proprietary
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Message Sequence Charts


5 INITIATING STATE

5.1 INITIATING A CONNECTION
A device can initiate a connection to an advertiser. This example shows a
successful initiation, resulting in both devices able to send application data
(see Figure 5.1).




                   +RVW$                            //$                      //%                            +RVW%



                   6WHS'HYLFH%LVVHQGLQJ$GYHUWV'HYLFH$LQLWLDWHVFRQQHFWLRQWR'HYLFH%

                             LE Create Connection

                               Command Status

                                                                Advert

                                                            CONNECT_,1'

                            LE Connection Complete                                    LE Connection Complete

                                                            Data Channel PDU

                                                            Data Channel PDU

                                                            Data Channel PDU

                                                            Data Channel PDU




Figure 5.1: Initiating a Connection




Initiating State                                                                                                 06 December 2016
                                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts


5.2 CANCELING AN INITIATION
A device can cancel a pending connection creation. This example shows an
unsuccessful initiation, followed by a cancellation of the initiation (see Figure
5.2).




               +RVW$                                 //$          //%                    +RVW%



                               6WHS'HYLFH$LVLQLWLDWLQJDFRQQHFWLRQWR'HYLFH%

                        LE Create Connection

                           Command Status

                        LE Create Connection
                                Cancel
                         Command Complete

                        LE Connection Complete
                    (Unknown Connection Identifier)




Figure 5.2: Canceling an Initiation




Initiating State                                                                               06 December 2016
                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts


5.3 INITIATING A CONNECTION USING UNDIRECTED
    ADVERTISING WITH PRIVACY
A device can initiate a connection to an advertiser. Privacy may be used during
connection initiation to make it more difficult to track either device during
connection setup. The example shows a successful initiation, resulting in both
devices able to send application data (see Figure 5.3).



               +RVW$                                  //$                      //%                                    +RVW%



                           6WHS6HWXS'HYLFH$WR,QLWLDWHDFRQQHFWLRQXVLQJ53$V
                                  6HWXS'HYLFH%WRVHQGDGYHUWVXVLQJ53$V

                           LE Set Event Mask                                                   LE Set Event Mask

                          Command Complete                                                    Command Complete

                     LE Add Device to Resolving List                                     LE Add Device to Resolving List

                          Command Complete                                                    Command Complete

                    LE Set Address Resolution Enable                                    LE Set Address Resolution Enable

                          Command Complete                                                    Command Complete

                         LE Create Connection                                            LE Set Advertising Parameters

                            Command Status                                                    Command Complete

                                                                                           LE Set Advertising Enable

                                                                                              Command Complete

                                                                 ADV_IND


                                        5HVROYH$GY$53$


                                        8VH$GY$53$
                                       *HQHUDWH,QLW$53$

                                                              CONNECT_IND
                    LE Enhanced Connection Complete


                                                                           9HULI\$GY$53$
                                                                           5HVROYH,QLW$53$

                                                                                     LE Enhanced Connection Complete

                                                              Data Channel PDU

                                                              Data Channel PDU

                                                              Data Channel PDU

                                                              Data Channel PDU




Figure 5.3: Initiating a connection using Undirected Advertising with Privacy




Initiating State                                                                                                           06 December 2016
                                                                                                                 Bluetooth SIG Proprietary
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Message Sequence Charts


5.4 INITIATING A CONNECTION USING DIRECTED
    ADVERTISING WITH PRIVACY
A device can initiate a connection to an advertiser who is using Directed
Advertising. Privacy may be used during connection initiation to make it more
difficult to track either device during connection setup as well as target a single
initiator. The example shows a successful initiation, resulting in both devices
able to send application data (see Figure 5.4).



               +RVW$                                  //$                      //%                                    +RVW%



                           6WHS6HWXS'HYLFH$WR,QLWLDWHDFRQQHFWLRQXVLQJ53$V
                                  6HWXS'HYLFH%WRVHQGDGYHUWVXVLQJ53$V

                           LE Set Event Mask                                                   LE Set Event Mask

                          Command Complete                                                    Command Complete

                     LE Add Device to Resolving List                                     LE Add Device to Resolving List

                          Command Complete                                                    Command Complete

                    LE Set Address Resolution Enable                                    LE Set Address Resolution Enable

                          Command Complete                                                    Command Complete

                         LE Create Connection                                            LE Set Advertising Parameters

                            Command Status                                                    Command Complete

                                                                                           LE Set Advertising Enable

                                                                                              Command Complete

                                                              ADV_DIRECT_IND


                                        5HVROYH$GY$53$
                                        5HVROYH,QLW$53$


                                        8VH$GY$53$
                                       *HQHUDWH,QLW$53$

                                                               CONNECT_IND
                    LE Enhanced Connection Complete


                                                                          9HULI\$GY$53$
                                                                          5HVROYH,QLW$53$

                                                                                    LE Enhanced Connection Complete

                                                              Data Channel PDU

                                                              Data Channel PDU

                                                              Data Channel PDU

                                                              Data Channel PDU




Figure 5.4: Initiating a connection using Directed Advertising with Privacy




Initiating State                                                                                                           06 December 2016
                                                                                                                 Bluetooth SIG Proprietary
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Message Sequence Charts


5.5 INITIATING A CONNECTION THAT FAILS TO ESTABLISH
This example shows an initiation that fails to establish because Device B (the
advertiser) fails to respond to the Data Channel PDUs sent by Device A.



               +RVW$                                 //$                      //%        +RVW%



                   6WHS'HYLFH%LVVHQGLQJ$GYHUWV'HYLFH$LQLWLDWHVFRQQHFWLRQWR'HYLFH%

                            LE Create Connection

                              Command Status

                                                                 Advert

                                                             CONNECT_IND

                           LE Connection Complete

                                                             Data Channel PDU



                                  FRQQHFWLRQLQWHUYDOVZLWKQRSDFNHWVIURP'HYLFH%

                          LE Disconnection Complete




Figure 5.5: Initiating a Connection that fails to establish


Device A may or may not send data channel PDUs in the 6 connection
intervals before establishment fails. If it does not do so, Device B is unable to
respond.




Initiating State                                                                               06 December 2016
                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts


5.6 INITIATING A CONNECTION ON THE SECONDARY
    ADVERTISING CHANNEL
A device can initiate a connection to an advertiser on the secondary channel.
This example shows a successful initiation, resulting in both devices able to
send application data (see Figure 5.6).



          )PTU" .BTUFS                        --" .BTUFS                       --# 4MBWF                 )PTU# 4MBWF



                   4UFQ%FWJDF#JTTFOEJOH"EWFSUT %FWJDF"JOJUJBUFTDPOOFDUJPOUP%FWJDF#

                           94  

                                   5#$

                                                                 ;<4>:<%

                                                                 ?><;<%

                                                           ?><4:< 4G

                                                               ?><4:< 5

                          94     &                                            94     &

                                                                ?

                                                                ?

                                                                ?

                                                                ?




Figure 5.6: Initiating a connection on the secondary advertising channel




Initiating State                                                                                                       06 December 2016
                                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts


5.7 INITIATING A CHANNEL SELECTION ALGORITHM #2
    CONNECTION
Where a device supports the Channel Selection Algorithm #2 feature, it can
initiate a connection which will use Channel Selection Algorithm #2 to an
advertiser who has the ChSel field of the advertising channel PDU set to 1. The
example shows a successful initiation, resulting in the connection using
Channel Selection Algorithm #2.




               +RVW$                            //$                          //%                            +RVW%



         6WHS'HYLFH$VHQGLQJ$GYHUWVZLWK&K6HOVHWWR'HYLFH$LQLWLDWHVFRQQHFWLRQWR'HYLFH%

                         LE Create Connection

                           Command Status

                                                           Advert(ChSel =1)

                                                        CONNECT_IND(ChSel=1)

                        LE Connection Complete                                        LE Connection Complete

                         LE Channel Selection                                          LE Channel Selection
                              Algorithm                                                     Algorithm
                                                          Data Channel PDU

                                                          Data Channel PDU

                                                          Data Channel PDU

                                                          Data Channel PDU




Figure 5.7: Initiating a Channel Selection Algorithm #2 Connection




Initiating State                                                                                                 06 December 2016
                                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts


6 CONNECTION STATE

6.1 SENDING DATA
Once two devices are in a connection, either device can send data. This
example shows both devices sending data, for example when the Attribute
Protocol does a read request and a read response is returned (see Figure 6.1).




             )PTU"                               --"                    --#                              )PTU#



                                      4UFQ%FWJDF"BOE#BSFJOBDPOOFDUJPO

                           9

                                                         99!

                                                            99!

                   # *   & !$                                          9

                                                                                         9

                                                         99!

                                                            99!

                           9                                              # *   & !$




Figure 6.1: Sending Data




Connection State                                                                                                06 December 2016
                                                                                                      Bluetooth SIG Proprietary
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Message Sequence Charts


6.2 CONNECTION UPDATE
The master of the connection may request a connection update using a Link
Layer Control Procedure (see Figure 6.2).




             +RVW$                                     //$                             //%                               +RVW%



                                   6WHS'HYLFH$DQG%DUHLQDFRQQHFWLRQ
                                +RVW$ZLVKHVWRFKDQJHWKHFRQQHFWLRQSDUDPHWHUV

                         LE Connection Update

                           Command Status

                                                               LL_CONECTION_UPDATE_,1'


                                              8SGDWHGFRQQHFWLRQSDUDPHWHUVXVHG

                    LE Connection Update Complete                                               LE Connection Update Complete




Figure 6.2: Connection Update


6.3 CHANNEL MAP UPDATE
The Controller of the master may receive some channel classification data
from the Host and then perform the Channel Update Link Layer Control
Procedure (see Figure 6.3).




             +RVW$                                 //$                                 //%                              +RVW%



                                    6WHS'HYLFH$DQG%DUHLQDFRQQHFWLRQ
                                  +RVW$ZLVKHVWRFKDQJHWKHFKDQQHOFODVVLILFDWLRQ

                   LE Set Host Channel Classification

                         Command Complete

                                                                 LL_CHANNEL_MAP_,1'


                                                        8SGDWHGFKDQQHOPDSXVHG

                        LE Read Channel Map                                                         LE Read Channel Map

                         Command Complete                                                            Command Complete




Figure 6.3: Channel Map Update




Connection State                                                                                                                06 December 2016
                                                                                                                      Bluetooth SIG Proprietary
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Message Sequence Charts


6.4 FEATURES EXCHANGE
Both the master and slave devices can discover the set of features available on
the remote device. To achieve this, the Feature Exchange Link Layer Control
Procedure is used (see Figure 6.4 and Figure 6.5).



             +RVW$                                //$                           //%                               +RVW%



                   6WHS'HYLFH$DV0DVWHUUHTXHVWV5HPRWH8VHG)HDWXUHVIURP6ODYH

                    LE Read Local Supported Features                                 LE Read Local Supported Features

                          Command Complete                                                 Command Complete

                        LE Read Remote Features

                            Command Status

                                                             LL_FEATURE_REQ

                                                             LL_FEATURE_RSP

                           LE Read Remote
                           Features Complete




Figure 6.4: Master-initiated Features Exchange




             +RVW$                                //$                           //%                                  +RVW%
             0DVWHU                               0DVWHU                          6ODYH                                 6ODYH


                   6WHS'HYLFH%DV6ODYHUHTXHVWV5HPRWH8VHG)HDWXUHVIURP0DVWHU

                        LE Read Local Supported                                            LE Read Local Supported
                                Features                                                          Features
                           Command Complete                                                  Command Complete

                                                                                            LE Read Remote Features


                                                                                               Command Status

                                                           LL_SLAVE_FEATURE_REQ

                                                              LL_FEATURE_RSP

                                                                                          LE Read Remote Features
                                                                                                  Complete




Figure 6.5: Slave-initiated Features Exchange




Connection State                                                                                                              06 December 2016
                                                                                                                     Bluetooth SIG Proprietary
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Message Sequence Charts


6.5 VERSION EXCHANGE
Either device may perform a version exchange (see Figure 6.6 and Figure 6.7).




            )PTU"                                         --"                     --#                                  )PTU#



              4UFQ%FWJDF"BT.BTUFSSFRVFTUT3FNPUF7FSTJPO*OGPSNBUJPOGSPN4MBWF

                       9 ;$ %*   

                                       &

                              ;$ %*   

                                    5#$

                                                                   99<;4 5%<%

                                                                   99<;4 5%<%

                                   ;$ 
                         %*         &




Figure 6.6: Version Exchange from Master




             )PTU"                                         --"                    --#                                   )PTU#



              4UFQ%FWJDF#BT4MBWFSFRVFTUT3FNPUF7FSTJPO*OGPSNBUJPOGSPN.BTUFS

                                                                                             9 ;$ %*   

                                                                                                            &

                                                                                                   ;$ %*   

                                                                                                         5#$

                                                                   99<;4 5%<%

                                                                   99<;4 5%<%

                                                                                                        ;$ 
                                                                                               %*        &


            4UFQ%FWJDF"BT.BTUFSUIFOSFRVFTUT3FNPUF7FSTJPO*OGPSNBUJPOGSPN4MBWF

                               ;$ %*   

                                      5#$

                                    ;$ 
                          %*         &




Figure 6.7: Version Exchange from Slave




Connection State                                                                                                                06 December 2016
                                                                                                                      Bluetooth SIG Proprietary
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Message Sequence Charts


6.6 START ENCRYPTION
If encryption has not been started on a connection, it may be started by the
master (see Figure 6.8).




             )PTU"                              --"                       --#                                )PTU#



                                                4UFQ)PTU"TUBSUTFODSZQUJPO

                        9454& 

                               5#$

                                                           99<4< 4G

                                                            99<4< 5

                                                                                     949 :  "#$

                                                                                   949 :  "#$ &

                                                                                                 &

                                                         99<5: :<4< 4G

                                                         99<5: :<4< 5

                                                         99<5: :<4< 5

                      4& 4                                         4& 4




Figure 6.8: Start Encryption




Connection State                                                                                                    06 December 2016
                                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts


6.7 START ENCRYPTION WITHOUT LONG TERM KEY
If encryption has not been started on a connection, it may be started by the
master. Figure 6.9 shows the failure case of the slave not having the long term
key for the master.



             +RVW$                                //$                            //%                               +RVW%
             0DVWHU                               0DVWHU                           6ODYH                              6ODYH


                   6WHS+RVW$VWDUWVHQFU\SWLRQ+RVW%GRHVQRWSURYLGH/RQJ7HUP.H\

                          LE Start Encryption

                           Command Status

                                                              LL_ENC_REQ

                                                               LL_ENC_RSP

                                                                                           LE Long Term Key Request

                                                                                           LE Long Term Key Request
                                                                                                Negative Reply
                                                                                              Command Complete

                                                            LL_REJECT_IND or
                                                           LL_REJECT_EXTB,1'
                                                            (PIN or key Missing)
                        Encryption Change Event




Figure 6.9: Start encryption without long-term key




Connection State                                                                                                        06 December 2016
                                                                                                                 Bluetooth SIG Proprietary
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Message Sequence Charts


6.8 START ENCRYPTION WITH EVENT MASKED
If encryption has not been started on a connection, it may be started by the
master. Figure 6.10 shows the failure case when the slave has masked out the
LE Long Term Key Request event.



             +RVW$                              //$                            //%       +RVW%
             0DVWHU                             0DVWHU                           6ODYH      6ODYH


           6WHS+RVW$VWDUWVHQFU\SWLRQ+RVW%KDVPDVNHG/(/RQJ7HUP.H\5HTXHVWHYHQW

                        LE Start Encryption

                         Command Status

                                                            LL_ENC_REQ

                                                             LL_ENC_RSP

                                                          LL_REJECT_IND or
                                                         LL_REJECT_EXTB,1'
                                                          (PIN or key Missing)
                      Encryption Change Event




Figure 6.10: Start encryption with slave masking out event




Connection State                                                                               06 December 2016
                                                                                         Bluetooth SIG Proprietary
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Message Sequence Charts


6.9 START ENCRYPTION WITHOUT SLAVE SUPPORTING
    ENCRYPTION
If Encryption has not been started on a connection, it may be started by the
master. Figure 6.11 shows the failure case of the slave that does not support
the encryption feature.



             +RVW$                              //$                                   //%       +RVW%
             0DVWHU                             0DVWHU                                  6ODYH      6ODYH


                   6WHS+RVW$VWDUWVHQFU\SWLRQ//%GRHVQRWVXSSRUW(QFU\SWLRQ

                        LE Start Encryption

                         Command Status

                                                                LL_ENC_REQ

                                                             LL_REJECT_IND or
                                                            LL_REJECT_EXTB,1'
                                                         (Unsupported Remote Feature)
                      Encryption Change Event




Figure 6.11: Start Encryption failure when slave does not support encryption




Connection State                                                                                      06 December 2016
                                                                                                Bluetooth SIG Proprietary
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Message Sequence Charts


6.10 RESTART ENCRYPTION
If encryption has already been started on a connection, it may be restarted by
the master. This may be required to use a stronger encryption as negotiated by
the Security Manager Protocol (see Figure 6.12).




            )PTU"                                     --"                      --#                                  )PTU#



            4UFQ&ODSZQUJPOJTBMSFBEZFOBCMFE&ODSZQUJPOJTQBVTFEBOEUIFOSFTUBSUFE

                         9454& 

                                5#$

                                                              99<?54<4< 4G

                                                              99<?54<4< 5

                                                              99<?54<4< 5

                                                                 99<4< 4G

                                                                 99<4< 5

                                                                                          949 :  "#$

                                                                                        949 :  "#$ &

                                                                                                       &

                                                              99<5: :<4< 4G

                                                              99<5: :<4< 5

                                                              99<5: :<4< 5

                   4&  *$    &                                    4&  *$    &




Figure 6.12: Restart Encryption




Connection State                                                                                                            06 December 2016
                                                                                                                   Bluetooth SIG Proprietary
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6.11 DISCONNECT
Once a connection has no need to be kept active, the Host can disconnect it.
This can be done by either device (see Figure 6.13 and Figure 6.14).




             )PTU"                                 --"                      --#                               )PTU#



                   4UFQ%FWJDF"BOE#BSFJOBDPOOFDUJPO)PTU"XJTIFTUPEJTDPOOFDU

                               $ 

                                  5#$

                                                           99<:4 +%:4<%

                                                                99!

                        $       &                                    $       &




Figure 6.13: Disconnect from Master




             )PTU"                                 --"                      --#                               )PTU#



                   4UFQ%FWJDF"BOE#BSFJOBDPOOFDUJPO)PTU#XJTIFTUPEJTDPOOFDU

                                                                                            $ 

                                                                                               5#$

                                                           99<:4 +%:4<%

                                                                99!

                        $       &                                    $       &




Figure 6.14: Disconnect from Slave




Connection State                                                                                                   06 December 2016
                                                                                                            Bluetooth SIG Proprietary
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Message Sequence Charts


6.12 CONNECTION PARAMETERS REQUEST
The master or the slave of the connection may request change in connection
parameters using a Link Layer Control Procedure (see Figure 6.15 to Figure
6.22).



             +RVW$                   //$                            //%            +RVW%
             0DVWHU                  0DVWHU                           6ODYH           6ODYH


                      6WHS//%ZLVKHVWRGRDQDQFKRUSRLQWPRYH//$DFFHSWV

                                           LL_CONNECTION_PARAM_REQ

                                           LL_CONNECTION_UPDATE_,1'


                                  8SGDWHGFRQQHFWLRQSDUDPHWHUVXVHG




Figure 6.15: Slave-initiated Connection Parameters Request procedure – slave requests a change
in anchor points, master accepts




             +RVW$                   //$                            //%            +RVW%
             0DVWHU                  0DVWHU                           6ODYH           6ODYH


                      6WHS//%ZLVKHVWRGRDQDQFKRUSRLQWPRYH//$UHMHFWV

                                           LL_CONNECTION_PARAM_REQ

                                               LL_REJECT_EXTB,1'




Figure 6.16: Slave-initiated Connection Parameters Request procedure – slave requests a change
in anchor points, master rejects




Connection State                                                                        06 December 2016
                                                                                 Bluetooth SIG Proprietary
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Message Sequence Charts




             +RVW$                              //$                           //%                                +RVW%
             0DVWHU                             0DVWHU                          6ODYH                               6ODYH


              6WHS+RVW%ZLVKHVWRFKDQJHWKHFRQQHFWLRQSDUDPHWHUV+RVW$DFFHSWV

                                                                                            LE Connection Update

                                                                                              Command Status

                                                     LL_CONNECTION_PARAM_REQ

                       LE Remote Connection
                         Parameter Request
                       LE Remote Connection
                      Parameter Request Reply
                         Command Complete

                                                     LL_CONNECTION_UPDATE_,1'


                                             8SGDWHGFRQQHFWLRQSDUDPHWHUVXVHG

                   LE Connection Update Complete                                        LE Connection Update Complete




Figure 6.17: Slave-initiated Connection Parameters Request procedure – slave requests change in
LE connection parameters, master’s Host accepts




             +RVW$                              //$                           //%                                +RVW%
             0DVWHU                             0DVWHU                          6ODYH                               6ODYH


              6WHS+RVW%ZLVKHVWRFKDQJHWKHFRQQHFWLRQSDUDPHWHUV+RVW$UHMHFWV

                                                                                            LE Connection Update

                                                                                              Command Status

                                                     LL_CONNECTION_PARAM_REQ

                       LE Remote Connection
                         Parameter Request
                   LE Remote Connection Parameter
                       Request Negative Reply
                         Command Complete

                                                         LL_REJECT_EXTB,1'

                                                                                        LE Connection Update Complete




Figure 6.18: Slave-initiated Connection Parameters Request procedure – slave requests change in
LE connection parameters, master’s Host rejects




Connection State                                                                                                        06 December 2016
                                                                                                               Bluetooth SIG Proprietary
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Message Sequence Charts




             )PTU"                   --"                            --#            )PTU#
             .BTUFS                  .BTUFS                           4MBWF           4MBWF


                      4UFQ--"XJTIFTUPEPBOBODIPSQPJOUNPWF--#BDDFQUT

                                           99<4:%< +< 4G

                                           99<4:%< +< 5

                                           99<4:%<?:4B,1'


                                  6QEBUFEDPOOFDUJPOQBSBNFUFSTVTFE




Figure 6.19: Master-initiated Connection Parameters Request procedure –master requests a
change in anchor points, slave accepts




             )PTU"                   --"                            --#            )PTU#
             .BTUFS                  .BTUFS                           4MBWF           4MBWF


                      4UFQ--"XJTIFTUPEPBOBODIPSQPJOUNPWF--#SFKFDUT

                                           99<4:%< +< 4G

                                               99< 4\4:<4>:B,1'




Figure 6.20: Master-initiated Connection Parameters Request procedure –master requests a
change in anchor points, slave rejects




Connection State                                                                        06 December 2016
                                                                                 Bluetooth SIG Proprietary
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Message Sequence Charts




             +RVW$                             //$                           //%                                 +RVW%
             0DVWHU                            0DVWHU                          6ODYH                                6ODYH


              6WHS+RVW$ZLVKHVWRFKDQJHWKHFRQQHFWLRQSDUDPHWHUV+RVW%DFFHSWV

                       LE Connection Update

                         Command Status

                                                    LL_CONNECTION_PARAM_REQ

                                                                                           LE Remote Connection
                                                                                            Parameter Request
                                                                                           LE Remote Connection
                                                                                          Parameter Request Reply
                                                                                            Command Complete

                                                    LL_CONNECTION_PARAM_RSP

                                                    LL_CONNECTION_UPDATE_,1'


                                          8SGDWHGFRQQHFWLRQSDUDPHWHUVXVHG

                   LE Connection Update Complete                                       LE Connection Update Complete




Figure 6.21: Master-initiated Connection Parameters Request procedure – master requests
change in LE connection parameters, slave’s Host accepts




             +RVW$                             //$                           //%                                 +RVW%
             0DVWHU                            0DVWHU                          6ODYH                                6ODYH


              6WHS+RVW$ZLVKHVWRFKDQJHWKHFRQQHFWLRQSDUDPHWHUV+RVW%UHMHFWV

                       LE Connection Update

                         Command Status

                                                    LL_CONNECTION_PARAM_REQ

                                                                                           LE Remote Connection
                                                                                            Parameter Request
                                                                                   LE Remote Connection Parameter
                                                                                          Request Negative Reply
                                                                                            Command Complete

                                                        LL_REJECT_EXTB,1'

                   LE Connection Update Complete




Figure 6.22: Master-initiated Connection Parameters Request procedure – master requests
change in LE connection parameters, slave’s Host rejects




Connection State                                                                                                       06 December 2016
                                                                                                             Bluetooth SIG Proprietary
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Message Sequence Charts


6.13 LE PING
A Host may use the HCI_Write_Authenticated_Payload_Timeout command to
change the maximum interval between packets containing a valid MIC that the
link layer will enforce when encryption is used.




             )PTU"                                --"                                --#      )PTU#



                             4UFQ8SJUF"VUIFOUJDBUFE1BZMPBE5JNFPVUPO%FWJDF"

                      ^#  
                               :  #
                                    &




Figure 6.23: Set LE Authenticated Payload Timeout


Either Link Layer can authenticate the remote device using the LE Ping
Procedure even if the remote device does not support the LE Ping feature. This
procedure can also be used for soliciting a packet from the remote device
containing a valid MIC. LL A may be a master or a slave.



             +RVW$                                //$                                //%      +RVW%



                                                           /LQNLVHQFU\SWHG

                                                             Packet containing a MIC



                                         7/(B$XWKHQWLFDWHGB3D\ORDG
                                          QHDUO\H[SLUHG
                                                                 LL_PING_REQ

                                                                LL_PING_RSP or
                                                               LL_UNKNOWN_RSP




Figure 6.24: Successful LE Ping




Connection State                                                                                    06 December 2016
                                                                                              Bluetooth SIG Proprietary
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Message Sequence Charts

When a packet with a valid MIC has not been received within the LE
Authenticated Payload Timeout, the Host is notified that the timer has expired.



             +RVW$                                 //$                               //%      +RVW%



                                                           /LQNLVHQFU\SWHG

                                                             Packet containing a MIC



                                         7/(B$XWKHQWLFDWHGB3D\ORDG
                                          QHDUO\H[SLUHG
                                                                 LL_PING_REQ


                                         7/(B$XWKHQWLFDWHGB3D\ORDG
                                              H[SLUHG
                        Authenticated Payload
                        Timeout Expired Event

                                             3URFHGXUH
                                             UHVSRQVH
                                          WLPHRXWH[SLUHG

                       Disconnection Complete




Figure 6.25: Unsuccessful LE Ping


The TLE_Authenticated_Payload Timer gets reset when the Host sets the
Authenticated Payload Timeout.



             +RVW$                                 //$                               //%      +RVW%



                                                           /LQNLVHQFU\SWHG

                                         7/(B$XWKHQWLFDWHGB3D\ORDG
                                             LVUXQQLQJ

                           6WHS:ULWH$XWKHQWLFDWHG3D\ORDG7LPHRXWRQ'HYLFH$

                      Write Authenticated Payload
                               Timeout


                                  5HVWDUW7/(B$XWKHQWLFDWHGB3D\ORDG
                                    ZLWKPRGLILHGYDOXH

                         Command Complete




Figure 6.26: TLE_Authenticated_Payload Timer reset


Connection State                                                                                    06 December 2016
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Message Sequence Charts


6.14 DATA LENGTH UPDATE
Once a connection has been created, the Host may suggest maximum
transmission packet size and maximum packet transmission time to be used
for the connection. This may be done on either the master or the slave.



             +RVW$                              //$                         //%                            +RVW%



                           6WHS+RVW$ZDQWVWRVHWWKHPD[LPXPSD\ORDGOHQJWK

                         LE Set Data Length

                         Command Complete

                                                            LL_LENGTH_REQ

                                                            LL_LENGTH_RSP

                       LE Data Length Change                                         LE Data Length Change




Figure 6.27: Data Length Update


6.15 PHY UPDATE
The master or slave of the connection may request a change in the PHY using
a Link Layer Control Procedure (see Figure 6.28 to Figure 6.36).




             +RVW$                           0DVWHU//$                   6ODYH//%                        +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ+RVW$ZLVKHVWRFKDQJHWKH3+<

                            LE Set PHY

                          Command Status

                                                             LE_PHY_REQ

                                                             LL_PHY_RSP

                                                        LL_PHY_UPDATE_IND


                                                        &KDQJHRI3+<

                       LE PHY Update Complete                                        LE PHY Update Complete




Figure 6.28: Master initiated PHY Update procedure – master requests a change of PHY, PHY
changed in at least one direction




Connection State                                                                                                06 December 2016
                                                                                                       Bluetooth SIG Proprietary
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Message Sequence Charts




             +RVW$                       0DVWHU//$                    6ODYH//%      +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ+RVW$ZLVKHVWRFKDQJHWKH3+<

                           LE Set PHY

                         Command Status

                                                          LE_PHY_REQ

                                                          LL_PHY_RSP

                                                    LL_PHY_UPDATE_IND


                                                 1RFKDQJHRI3+<

                      LE PHY Update Complete




Figure 6.29: Master initiated PHY Update procedure, PHY not changed (either because slave
doesn't specify PHYs that the master prefers, or because the master concludes that the current
PHYs are still best)




             +RVW$                       0DVWHU//$                    6ODYH//%      +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ+RVW$ZLVKHVWRFKDQJHWKH3+<

                           LE Set PHY

                         Command Status

                                                          LE_PHY_REQ

                                                        LL_UNKNOWN_RSP

                      LE PHY Update Complete




Figure 6.30: Master initiated PHY Update procedure – master requests a change of PHY,
slave does not support the feature




Connection State                                                                            06 December 2016
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Message Sequence Charts




             +RVW$                      0DVWHU//$                   6ODYH//%                        +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ+RVW%ZLVKHVWRFKDQJHWKH3+<

                                                                                      LE Set PHY

                                                                                    Command Status

                                                       LE_PHY_REQ

                                                   LL_PHY_UPDATE_IND


                                                  &KDQJHRI3+<

                      LE PHY Update Complete                                    LE PHY Update Complete




Figure 6.31: Slave initiated PHY Update procedure – slave requests a change of PHY, PHY
changed in at least one direction




             +RVW$                      0DVWHU//$                   6ODYH//%                        +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ+RVW%ZLVKHVWRFKDQJHWKH3+<

                                                                                      LE Set PHY

                                                                                    Command Status

                                                       LE_PHY_REQ

                                                   LL_PHY_UPDATE_IND


                                                 1RFKDQJHRI3+<

                                                                                LE PHY Update Complete




Figure 6.32: Slave initiated PHY Update procedure, PHY not changed (either because slave
doesn't specify PHYs that the master prefers, or because the master concludes that the current
PHYs are still best)




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                                                                                                     Bluetooth SIG Proprietary
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Message Sequence Charts




             +RVW$                      0DVWHU//$                    6ODYH//%                        +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ+RVW%ZLVKHVWRFKDQJHWKH3+<

                                                                                       LE Set PHY

                                                                                     Command Status

                                                         LE_PHY_REQ

                                                       LL_UNKNOWN_RSP

                                                                                 LE PHY Update Complete




Figure 6.33: Slave initiated PHY Update procedure – slave requests a change of PHY, master
does not support the feature




             +RVW$                      0DVWHU//$                    6ODYH//%                        +RVW%



               6WHS'HYLFH$ %LQDFRQQHFWLRQ//$DXWRQRPRXVO\FKDQJHVWKH3+<

                                                         LE_PHY_REQ

                                                         LL_PHY_RSP

                                                   LL_PHY_UPDATE_IND


                                                  &KDQJHRI3+<

                      LE PHY Update Complete

                                                                                 LE PHY Update Complete




Figure 6.34: Autonomous master-initiated PHY Update procedure – master requests a change
of PHY, slave accepts, PHY changed in at least one direction




Connection State                                                                                            06 December 2016
                                                                                                      Bluetooth SIG Proprietary
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Message Sequence Charts




             +RVW$                       0DVWHU//$                        6ODYH//%                        +RVW%



              'HYLFH$ %LQDFRQQHFWLRQ//$DXWRQRPRXVO\DWWHPSWVWRFKDQJH3+<

                                                            LE_PHY_REQ

                                                              LL_PHY_RSP

                                                        LL_PHY_UPDATE_IND




Figure 6.35: Autonomous master-initiated PHY Update procedure – master requests a change
of PHY, PHY not changed (either because slave doesn't specify PHYs that the master prefers,
or because the master concludes that the current PHYs are still best)




             +RVW$                       0DVWHU//$                        6ODYH//%                        +RVW%



                   6WHS'HYLFH$ %LQDFRQQHFWLRQ%RWKZLVKWRFKDQJHWKH3+<

                           LE Set PHY

                                                                                            LE Set PHY

                         Command Status

                                                                                          Command Status

                                                LL_
                                                   PH                           EQ
                                                      Y_R                    Y_R
                                                         EQ                PH
                                                                       LL_




                                                        LL_REJECT_EXT_IND

                                                                                      LE PHY Update Complete

                                                              LL_PHY_RSP

                                                        LL_PHY_UPDATE_IND


                                                      &KDQJHRI3+<

                                                                                      LE PHY Update Complete

                      LE PHY Update Complete




Figure 6.36: Master and slave crossover PHY Update procedure – master and slave request a
change of PHY concurrently




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                                                                                                           Bluetooth SIG Proprietary
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Message Sequence Charts


6.16 MINIMUM NUMBER OF USED CHANNELS REQUEST
Where a slave device supports the Minimum Number of Used Channels
procedure, it can request that a certain minimum number of channels be used
on the indicated PHY. The example shows a successful request, resulting in a
channel map update with the requested minimum number of channels used for
the connection.



             +RVW$                //$                            //%         +RVW%
             0DVWHU               0DVWHU                           6ODYH        6ODYH




          6WHS'HYLFH$DQG%DUHLQDFRQQHFWLRQDQGIHDWXUHVPD\KDYHEHHQH[FKDQJHG

                                        LL_MIN_USED_CHANNELS_IND

                                           LL_CHANNEL_MAP_IND


                                6WHS8SGDWHGFKDQQHOPDSXVHG




Figure 6.37: Requesting minimum number of used channels




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                                                                             Bluetooth SIG Proprietary
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6.17 LL PROCEDURE COLLISION
The Link Layers of both the master and slave may initiate the same LL
procedure at the same time.



             +RVW$                             //$                                      //%                                  +RVW%
             0DVWHU                            0DVWHU                                     6ODYH                                 6ODYH


              6WHS%RWK+RVW$DQG+RVW%UHTXHVWDFKDQJHLQFRQQHFWLRQSDUDPHWHUV

                       LE Connection Update                                                           LE Connection Update

                         Command Status                                                                 Command Status

                                                     LL_
                                                         C                                 ON
                                                   _PA ONNE                            CTI
                                                                                    NE
                                                       RA
                                                          M_
                                                                CTI
                                                                    ON       _ C ON       E Q
                                                                          LL            R
                                                             RE                      M_
                                                                Q                 RA
                                                                            _PA




                                                                                                      LE Remote Connection
                                                                                                       Parameter Request
                                                            LL_REJECT_EXT_IND
                                                            (LL Procedure Collision)
                                                                                                  LE Connection Update Complete
                                                                                                     (LL Procedure Collision)
                                                                                                      LE Remote Connection
                                                                                                     Parameter Request Reply
                                                                                                       Command Complete

                                                       LL_CONNECTION_PARAM_RSP

                                                      LL_CONNECTION_UPDATE_REQ


                                          8SGDWHGFRQQHFWLRQSDUDPHWHUVXVHG

                   LE Connection Update Complete                                                  LE Connection Update Complete




Figure 6.38: LL Procedure Collision




Connection State                                                                                                                  06 December 2016
                                                                                                                          Bluetooth SIG Proprietary
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    Core System Package [Low Energy Controller volume]
                                                               Part E




 PART E: LOW ENERGY LINK LAYER
                      SECURITY




                          This part of the specification describes
                          the Link Layer security for Bluetooth
                          low energy.




                                                     Bluetooth SIG Proprietary
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Low Energy Link Layer Security


1 ENCRYPTION AND AUTHENTICATION OVERVIEW

The Link Layer provides encryption and authentication using Counter with
Cipher Block Chaining-Message Authentication Code (CCM) Mode, which
shall be implemented consistent with the algorithm as defined in IETF RFC
3610 (http://www.ietf.org/rfc/rfc3610.txt) in conjunction with the AES-128 block
cipher as defined in NIST Publication FIPS-197 (http://csrc.nist.gov/
publications/fips/fips197/fips-197.pdf). A description of the CCM algorithm can
also be found in the NIST Special Publication 800-38C
(http://csrc.nist.gov/publications/PubsSPs.html).

This specification uses the same notation and terminology as the IETF RFC
except for the Message Authentication Code (MAC) that in this specification is
called the Message Integrity Check (MIC) to avoid confusion with the term
Media Access Controller.

CCM has two size parameters, M and L. The Link Layer defines these to be:
• M = 4; indicating that the MIC (authentication field) is 4 octets
• L = 2; indicating that the Length field is 2 octets

CCM requires a new temporal key whenever encryption is started. CCM also
requires a unique nonce value for each Data Channel PDU protected by a
given temporal key. The CCM nonce shall be 13 octets.

The Link Layer connection may be either encrypted and authenticated or
unencrypted and unauthenticated. In an encrypted and authenticated
connection, all the Data Channel PDUs with a non-zero length Payload shall be
encrypted and authenticated. Authentication is performed by appending a MIC
field to the Payload. The MIC shall be calculated over the Data Channel PDU’s
Payload field and the first octet of the header ([Vol 6] Part B, Section 2.4) with
the NESN, SN and MD bits masked to zero.

Encryption shall be applied to the Data Channel PDU’s Payload field and MIC.

Each new Data Channel PDU with a non-zero length Payload shall be
decrypted and authenticated before being sent to the Host or processed by the
Link Layer. Authentication is unrelated to Link Layer acknowledgment scheme;
authentication does not have to be performed before the packet is
acknowledged by the Link Layer.

In the unlikely event of an authentication failure being detected, the connection
shall be considered lost. The Link Layer shall not send or receive any further
packets on that connection. The Link Layer shall exit the Connection State and
transition to the Standby State. The Host shall be notified of the loss of
connection due to an authentication failure. The peer Link Layer will detect this
loss of connection through the supervision timeout procedure.



Encryption and Authentication Overview                                06 December 2016
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2 CCM

This section provides the details for using the CCM algorithm. As specified, the
CCM algorithm requires the payload and some additional parameters to be
formatted into the CCM nonce, counter-mode blocks and encryption blocks.
The CCM nonce provides uniqueness to each packet. The counter-mode
blocks are used to calculate the MIC. The encryption blocks provide the
keystream that is used to encrypt the payload and the MIC of the Data Channel
PDU.

Sample data of the blocks (see Section 2.2 and Section 2.3) can be found in
[Vol 6] Part C, Section 1 and Section 1.2.

2.1 CCM NONCE
The CCM nonce is constructed from a 39-bit packetCounter, 1-bit directionBit
and an 8-octet IV (initialization vector). The format of the 13-octet nonce shall
be as shown in Table 2.1.

                            Size
 Octet      Field           (octets)   Value      Description

   0        Nonce0               1     variable   Octet0 (LSO) of packetCounter
   1        Nonce1               1     variable   Octet1 of packetCounter
   2        Nonce2               1     variable   Octet2 of packetCounter

   3        Nonce3               1     variable   Octet3 of packetCounter
   4        Nonce4               1     variable   Bit 6 – Bit 0: Octet4 (7 most significant
                                                  bits of packetCounter, with Bit 6 being
                                                  the most significant bit)
                                                  Bit7:directionBit
   5        Nonce5               1     variable   Octet0 (LSO) of IV
   6        Nonce6               1     variable   Octet1 of IV

   7        Nonce7               1     variable   Octet2 of IV
   8        Nonce8               1     variable   Octet3 of IV

   9        Nonce9               1     variable   Octet4 of IV
  10        Nonce10              1     variable   Octet5 of IV
  11        Nonce11              1     variable   Octet6 of IV

  12        Nonce12              1     variable   Octet7 (MSO) of IV
Table 2.1: CCM nonce format

The Link Layer shall maintain one packetCounter per Role for each connection.



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For each connection, the packetCounter shall be set to zero for the first
encrypted Data Channel PDU sent during the encryption start procedure. The
packetCounter shall then be incremented by one for each new Data Channel
PDU that is encrypted. The packetCounter shall not be incremented for
retransmissions.

The directionBit shall be set to 1 for Data Channel PDUs sent by the master
and set to 0 for Data Channel PDUs sent by the slave.

The IV is common for both Roles of a connection. Whenever encryption is
started or restarted, a new 8-octet IV shall be used for each pair of
communicating devices. The IV is determined as specified in [Vol 6] Part B,
Section 5.1.3.1.

2.2 COUNTER MODE BLOCKS
For calculating the MIC, the multiple counter mode blocks are generated
according to the CCM specification. These are referred to as blocks B0 – Bn.
Table 2.2 defines the format of block B0. Table 2.3 defines the format of block
B1 that is devoted to the authentication of the additional authenticated data.
Additional B blocks are generated as needed for authentication of the payload.

 Offset                          Size
 (octets)     Field              (octets)     Value       Description

      0       Flags               1           0x49        As per the CCM specification
      1       Nonce              13           variable    The nonce as described in Table 2.1.
                                                          Nonce0 shall have offset 1. Nonce12
                                                          shall have offset 13.
      14      Length[MSO]         1           0x00        The most significant octet of the
                                                          length of the payload
      15      Length[LSO]         1           variable    The least significant octet of the
                                                          length of the payload

Table 2.2: Block B0 format


                                   Size
  Offset    Field                  (octets)           Value      Description

      0     AAD_Length[MSO]            1              0x00       The most significant octet of
                                                                 the length of the additional
                                                                 authenticated data
      1     AAD_Length[LSO]            1              0x01       The least significant octet of
                                                                 the length of the additional
                                                                 authenticated data

Table 2.3: Block B1 format




CCM                                                                               06 December 2016
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                                  Size
  Offset    Field                 (octets)              Value       Description

      2     AAD                         1              variable     The data channel PDU
                                                                    header’s first octet with
                                                                    NESN, SN and MD bits
                                                                    masked to 0
      3     Padding                     13          0x00, 0x00,     These octets are only used to
                                                    0x00, 0x00,     pad the block. They are not
                                                    0x00, 0x00,     part of the packet and never
                                                    0x00, 0x00,     transmitted.
                                                    0x00, 0x00,
                                                    0x00, 0x00,
                                                    0x00, 0x00

Table 2.3: Block B1 format


2.3 ENCRYPTION BLOCKS
The CCM algorithm uses the Ai blocks to generate keystream that is used to
encrypt the MIC and the Data Channel PDU payload. Block A0 is always used
to encrypt and decrypt the MIC. Block A1 is always used to encrypt and decrypt
the first 16 octets of the Payload. Subsequent blocks are always used to
encrypt and decrypt the rest of the Payload as needed.

 Offset                      Size
 (octets)   Field            (octets)       Value        Description

      0     Flags             1             0x01         As per the CCM specification
      1     Nonce            13             variable     The nonce as described above
                                                         Nonce0 shall have offset 1. Nonce12
                                                         shall have offset 13.
      14    i[MSO]            1             variable     The most significant octet of the
                                                         counter i

      15    i[LSO]            1             variable     The least significant octet of the
                                                         counter i
Table 2.4: Block Ai format




CCM                                                                                  06 December 2016
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    Core System Package [Low Energy Controller volume]
                                                                Part F




             PART F: DIRECT TEST MODE




                          This part of the specification describes
                          the Direct Test Mode for RF PHY
                          testing of Bluetooth low energy
                          devices.




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Direct Test Mode


1 INTRODUCTION

Direct Test Mode is used to control the Device Under Test (DUT) and provides
a report back to the Tester.

 Direct Test Mode shall be set up using one of two alternate methods:

        1.      over HCI (as defined in Section 2) or
        2.      through a 2-wire UART interface (as defined in Section 3)

Each DUT shall implement one of the two Direct Test Mode methods in order to
test the Low Energy PHY layer. Figure 1.1 illustrates the alternatives for Direct
Test Mode setup.


  DUT (Accessible Host Controller Interface)            DUT (Non - Accessible Host Controller Interface)


      LE PHY
                 HCI                                              LE PHY, LL, HOST, Application
         &
        LL




                                                                       2-Wire UART
                             HCI           Upper                       Test Interface               Upper
                                           Tester                                                   Tester


Figure 1.1: Setup alternatives for LE Direct Test Mode: Designs with accessible HCI (left) and
designs without accessible HCI (right)


Figure 1.2 illustrates the Bluetooth LE Direct Test Mode setup principle using a
2-wire UART interface.


               DUT                                                                 Upper Tester

                       RXD                                                  TXD

                       TXD                                                  RXD


                                               RF (2.4GHz)
                                                                                  Lower Tester


Figure 1.2: RF PHY test setup for Direct Test Mode (UART control)




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2 LOW ENERGY TEST SCENARIOS

2.1 TEST SEQUENCES
These sequences are used as routines and used to control an LE DUT with an
accessible HCI or a 2-wire UART interface for RF testing.

The following mapping shall be performed from the RF testing commands to
HCI commands and events or 2-wire UART commands and events:


                                                                 2-wire UART
 RF Test Command / Event        HCI Command / Event              Command / Event

 LE_TRANSMITTER_TEST            LE Transmitter Test command or   LE Transmitter Test
                                LE Enhanced Transmitter Test
                                command

 LE_RECEIVER_TEST               LE Receiver Test command or      LE Receiver Test
                                LE Enhanced Receiver Test
                                command
 LE_TEST_END                    LE Test End command              LE Test End
 LE_STATUS                      Command Complete event           LE Test Status

 LE_PACKET_REPORT               Command Complete event           LE Packet Report
Table 2.1: Mapping table of HCI / 2-wire Commands/Events

The HCI commands and events used in Direct Test Mode are defined in [Vol 2]
Part E, Section 7.8.




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2.2 MESSAGE SEQUENCE CHARTS
Transmitter Test


         /RZHU7HVWHU                        '87                         8SSHU7HVWHU


                                                   LE_TRANSMITTER_TEST

                                                       LE_STATUS

                            LE Test Packet

                            LE Test Packet

                            LE Test Packet




                            LE Test Packet

                                                      LE_TEST_END

                                                    LE_PACKET_REPORT




Figure 2.1: Transmitter Test MSC


Receiver Test


         /RZHU7HVWHU                        '87                         8SSHU7HVWHU


                                                    LE_RECEIVER_TEST

                                                        LE_STATUS

                            LE Test Packet

                            LE Test Packet

                            LE Test Packet




                            LE Test Packet

                                                       LE_TEST_END

                                                    LE_PACKET_REPORT




Figure 2.2: Receiver Test MSC




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3 UART TEST INTERFACE

3.1 UART INTERFACE CHARACTERISTICS
The UART interface characteristics shall be set to use the following
parameters:
• Baud rate: One of the following shall be supported by the DUT:
   1200, 2400, 9600, 14400, 19200, 38400, 57600, 115200
• Number of data bits: 8
• No parity
• 1 stop bit
• No flow control (RTS or CTS)

3.2 UART FUNCTIONAL DESCRIPTION
The Upper Tester shall always initiate any a test scenario using the UART
interface. The DUT shall respond to the commands from the Upper Tester.

The Upper Tester sends test commands to the DUT. The DUT shall respond
with a test status event or packet report event.

The Upper Tester shall not transmit further commands before it receives a
response from the DUT. If the Upper Tester does not receive a response from
the DUT within the time tTIMEOUT, the Upper Tester shall transmit a reset
command (i.e., a test setup command with the control argument set to 0x00) to
the DUT and display an appropriate error message. For the reset command,
tRESPONSE and tTIMEOUT do not apply.

On reception of a reset command, the DUT shall reset all parameters to their
default state.

Definitions
• All Commands and Events consist of 16 bits (2 bytes).
• The most significant bit is bit number 15.
• The least significant bit is bit number 0.
• The most significant byte is from bit 15 to 8.
• The least significant byte is from bit 7 to 0.
• Commands and Events are sent most significant byte (MSB) first, followed
  by the least significant byte (LSB).




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3.3 COMMANDS AND EVENTS

3.3.1 Command and Event Behavior

Table 3.1 outlines the set of commands which can be received by the DUT and
the corresponding response events that can be transmitted by the DUT.

 Command (DUT RXD)                             Event (DUT TXD)

 LE_Test_Setup                                 LE_Test_Status SUCCESS
                                               LE_Test_Status FAIL
 LE_Receiver_Test                              LE_Test_Status SUCCESS
                                               LE_Test_Status FAIL
 LE_Transmitter_Test                           LE_Test_Status SUCCESS
                                               LE_Test_Status FAIL
 LE_Test_End                                   LE_Packet_Report
                                               LE_Test_Status FAIL
Table 3.1: 2-Wire command and event behavior


3.3.2 Commands

Command packet formats are shown in Figure 3.1 and Figure 3.2.


   15                 MSByte              8    7               LSByte                       0

        CMD            FREQUENCY                          LENGTH                    PKT


Figure 3.1: Command message format for Transmitter Test and Receiver Test commands



   15                 MSByte              8    7               LSByte                       0

        CMD            CONTROL                          PARAMETER                   DC


Figure 3.2: Command message format for Test Setup and Test End commands




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CMD (command):                                                                      Size: 2 Bits
 Value b1b0              Parameter Description

 00                      Test Setup

 01                      Receiver Test
 10                      Transmitter Test
 11                      Test End

Test Setup Command:                                                               Size: 12 Bits
 Control         Parameter
 (6 bits)        (6 bits)      Description

 0x00            0x00          RESET; the upper 2 bits of the data length for any Transmitter
                               or Receiver commands following are set to 00, the PHY is set
                               to LE 1M, and the receiver assumes the transmitter has a stan-
                               dard modulation index
                 0x01 – 0x3F   Reserved for future use

 0x01            0x00 – 0x03   Set the upper 2 bits of the data length for any Transmitter or
                               Receiver commands following (to enable a length greater than
                               0x3F to be used)
                 0x04 – 0x3F   Reserved for future use
 0x02            0x00          Reserved for future use

                 0x01          PHY set to LE 1M
                 0x02          PHY set to LE 2M

                 0x03          PHY set to LE Coded; transmitter is to use S=8 data coding
                 0x04          PHY set to LE Coded; transmitter is to use S=2 data coding
                 0x05 – 0x3F   Reserved for future use

 0x03            0x00          Receiver assumes transmitter has a standard modulation index
                 0x01          Receiver assumes transmitter has a stable modulation index
                 0x02 - 0x3F   Reserved for future use

 0x04            0x00\         Read the test case supported features.
                               The Test Status event will return the state of the test case sup-
                               ported features as detailed in the Test Status event (Section
                               3.4.1).

                 Any other     Reserved for future use
                 value




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 Control         Parameter
 (6 bits)        (6 bits)           Description

 0x05            0x00               Read supportedMaxTxOctets (see [Vol 6] Part B, Section 4.5.10)
                 0x01               Read supportedMaxTxTime (see [Vol 6] Part B, Section 4.5.10)
                 0x02               Read supportedMaxRxOctets (see [Vol 6] Part B, Section 4.5.10)

                 0x03               Read supportedMaxRxTime (see [Vol 6] Part B, Section 4.5.10)
                 Any other          Reserved for future use
                 value

Test End Command:                                                                    Size: 12 Bits
 Control              Parameter
 (6 bits)             (6 bits)       Description

 0x00                 0x00           Test End Command
 0x00                 0x01 – 0x3F    Reserved for future use
 0x01 – 0x3F          0x00 – 0x3F    Reserved for future use




Transmit and receive commands:
Frequency:                                                                             Size: 6 Bits
 Value                       Parameter Description

 0x00 – 0x27                 The frequency to be used; a value of N represents a frequency of
                             (2N+2402) MHz (the available range is therefore even MHz values
                             from 2402 to 2480 inclusive)
 0x28 – 0x3F                 Reserved for future use

Length:                                                                                Size: 6 Bits
 Value                       Parameter Description

 0x00 - 0x3F                 The lower 6 bits of the packet length in bytes of payload data in each
                             packet (the top two bits are set by the Test Setup command)

PKT (Packet Type):                                                                     Size: 2 Bits
 Value b1b0                  Parameter Description

 00                          PRBS9 Packet Payload
 01                          11110000 Packet Payload

 10                          10101010 Packet Payload
 11                          On the LE Uncoded PHYs: Vendor Specific
                             On the LE Coded PHY: 11111111



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3.4 EVENTS
There are two types of events sent by the DUT:

          1.   LE_Test_Status_Event
          2.   LE_Packet_Report_Event

The event packet format is shown in Figure 3.3. This packet format is used for
both Test Status Events and Packet Report Events.


     15               MSByte             8      7     LSByte                    0

      EV


Figure 3.3: Event packet format


EV (Event):                                                              Size: 1 Bit
 Value                  Parameter Description

 0                      LE_Test_Status_Event
 1                      LE_Packet_Report_Event




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3.4.1 LE_Test_Status_Event

The LE_Test_Status_Event packet format is as shown in Figure 3.4.

     15                 MSByte                 8      7              LSByte                      0

      EV                  Response                                 Response                 ST


Figure 3.4: LE Test Status event


ST (status):                                                                             Size: 1 Bit
 Value                        Parameter Description

 0                            Success

 1                            Error


Response1                                                                            Size: 14 Bits
 Test Setup
 command
 control
 parameter            Value bits 1 to 142

 0x04                 Bit 1                   LE Data Packet Length Extension
                                              feature supported
                      Bit 2                   LE 2M PHY supported
                      Bit 3                   Transmitter has a Stable Modulation Index

                      Bits 4 to 14            Reserved for future use
 0x05                 Bits 1 to 14            Maximum transmit or receive time divided by 2 or
                                              maximum number of payload octets (depending
                                              on the parameter in the original query) that the
                                              local Controller supports for transmission of
                                              a single Link Layer Data Channel PDU.
                                              Range 0x00A4-0x2148 for times or 0x001B-
                                              0x00FF for number of octets (all other values
                                              reserved for future use).

 All other                                    Reserved for future use
 values

 1    If the event has a status of "Error" or was generated in response to a command other
      than Test Setup, then this field is Reserved for future use.
 2
      This field is described as having bits 1 to 14 rather than 0 to 13 to avoid confusion.




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3.4.2 LE_Packet_Report_Event

The LE_Packet_Report_Event packet format is shown in Figure 3.5. The
Packet Count parameter indicates the number of received LE Test Packets.
The Packet Count in the Packet Report ending a transmitter test shall be 0.


  15                     MSByte                  8    7                LSByte                      0

     EV               PACKET COUNT                                 PACKET COUNT

Figure 3.5: LE Packet Report event


PACKET COUNT:                                                                          Size: 15 Bits
 Value                         Parameter Description

 N                             N is the number of packets received
                               Range = 0 to 32767.

Note: The DUT is not responsible for any overflow conditions of the packet
counter. That responsibility belongs with the RF PHY Tester or other auxiliary
equipment.

3.5 TIMING – COMMAND AND EVENT
The timing requirements are as shown in Table 3.2.

 Symbol               Parameter                                                 Min.    Max.     Unit

 bERR                 Baud rate accuracy                                                ±5       %

 tMIN                 The time between the first and second byte of the         0       5        ms
                      command (end of stop bit to start of start bit)
 tRESPONSE            The time from a DUT receiving a command (end of           0       50       ms
                      stop bit) until the DUT responds (start of start bit)

 tTURNAROUND          The time from when the tester receives a response         5       -        ms
                      (end of stop bit) until the tester sends another com-
                      mand (start of start bit)
 tTIMEOUT             The time from when a tester sends a command (end          51      100      ms
                      of stop bit) until the tester times out (not having
                      received end of the stop bit in the response)
Table 3.2: Parameter requirements table for 2-wire UART interface




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                           8 Bits                               8 Bits                                                                                   8 Bits
  DUT RXD                Command                              Command                                                                                  Command

            Start Bit               Stop Bit          Start              Stop                                                                  Start              Stop

                                                                                            8 Bits                         8 Bits
  DUT TXD                                                                                   Event                          Event

                                                                                   Start             Stop          Start            Stop



                                               tMIN                         tRESPONSE                       tMIN                     tTURNAROUND



Figure 3.6: Command and event timing on 2-wire UART interface


The commands and events shall be transmitted with two 8-bit bytes with a
maximum time between the 2 transmissions. A timeout is required for no
response or an invalid response from the DUT.



  DUT RXD                 8 Bits                               8 Bits                                                                                   Reset


             Start Bit              Stop Bit          Start              Stop                                                                  Start              Stop


  DUT TXD                                                                                   8 Bits                         8 Bits


                                                                                    Start            Stop          Start            Stop



                                               tMIN                         tRESPONSE                       tMIN                       WTIMEOUT


                                                                                                     < tTIMEOUT



Figure 3.7: Command and event timing on 2-wire UART interface showing timeout




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Direct Test Mode


4 LE TEST PACKET DEFINITION

4.1 LE TEST PACKETS FORMAT
The LE Test packet format for the LE Uncoded PHYs shall be as shown in
Figure 4.1. The LE Test packet format for the LE Coded PHY shall be as shown
in Figure 4.2. LE test packets are required for LE RF PHY conformance testing
using Direct Test Mode.

Depending on the test, the packet payload content may vary.

For the LE Uncoded PHYs, the LE test packet consists of the following fields;
preamble (8 bits with the LE 1M PHY or 16 bits with the LE 2M PHY),
synchronization word (32 bits), PDU header (8 bits), PDU length (8 bits),
payload (0-2040 bits) and CRC (24 bits).

                                                                   Total packet duration = 44-2120 μs
                                         Sync word (32b)
              Preamble (8b or 16b)       PDU header (8b)        PDU payload (0-255 bytes; 0-2040b)                                     CRC (24b)
                                         PDU length (8b)




                                                                                                                                                         t [μs]



                                              Start of                                                                    End of              End of
     Start of Packet Start of               payload field                                                              payload field          packet
  (first preamble bit) packet
                       header
                        field
                                                             Sync word (32)                               PDU header (8)    PDU Length (8)



Figure 4.1: LE Test packet format for the LE Uncoded PHYs



                                                                 Total packet duration = 462-17040 μs
                                       S=8 coding                                             S=2 or S=8 coding

                                                  Coding                PDU Header
                Preamble         Sync Word       Indicator TERM1                           PDU Payload                         CRC          TERM2
                                                                        (8b, 8*S μs)
               (80b, 80 μs)     (32b, 256 μs)   (2b, 16 μs) (3b, 24 μs) PDU Length      (N=0-2040b (N*S μs)                (24b, 24*S μs) (3b, 3*S μs)
                                                                         (8b, 8*S μs)




                                                                                                                                                         t [μs]



                                                               Start of payload                                             End of       End of
     Start of Packet Start of                                        field                                                 PDU field     packet
  (first preamble bit) Sync
                                                      PDU Header (8) PDU Length (8)
                       Word
                       field


Figure 4.2: LE Test packet format for the LE Coded PHY


4.1.1 Whitening

LE test packets shall not use whitening.




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Direct Test Mode

4.1.2 Preamble and Synchronization Word

LE test packets shall have ‘10010100100000100110111010001110’ (in
transmission order) as the synchronization word. The preamble for all LE test
packets is thus ‘10101010’ (in transmission order) when the device under test
is configured for the LE 1M PHY, ‘1010101010101010’ (in transmission order)
if the device under test is configured for the LE 2M PHY, and the preamble
described in [Vol 6] Part B, Section 2.1.1 if the device under test is configured
for the LE Coded PHY.

4.1.3 CRC

The CRC shift register shall be preset with 0x555555 for every LE test packet.




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Direct Test Mode

4.1.4 LE Test Packet PDU

The LE test packet PDU consists of an 8-bit header, an 8-bit length field and a
variable size payload. Its structure is as shown in Figure 4.3.


      PDU header (8)        PDU Length (8)   PDU payload
                                             (length and payload type as per
                                             header and length fields)
  LSB                                                                                                    MSB

Figure 4.3: LE Test packet PDU structure



                Payload type (4 bits)                       Payload length in bytes (8 bits)
                                        RFU (4 bits)


                                        0000
              LSB              PDU header                             PDU length               MSB

Figure 4.4: LE Test packet header and length field structure


The first four bits of the PDU header field indicate the payload content type as
defined in Table 4.1. The length field expresses the payload field length in
bytes.

Note: On the LE Coded PHY, this section defines the PDU contents before
coding.

 Payload type
 b3b2b1b0             Payload description

 0000b                PRBS9 sequence ‘11111111100000111101…’ (in transmission order) as
                      described in Section 4.1.5
 0001b                Repeated ‘11110000’ (in transmission order) sequence as described in
                      Section 4.1.5

 0010b                Repeated ‘10101010’ (in transmission order) sequence as described in
                      Section 4.1.5
 0011b                PRBS15 sequence as described in Section 4.1.5
 0100b                Repeated ‘11111111’ (in transmission order) sequence

 0101b                Repeated ‘00000000’ (in transmission order) sequence
 0110b                Repeated ‘00001111’ (in transmission order) sequence

 0111b                Repeated ‘01010101’ (in transmission order) sequence
Table 4.1: LE test packet PDU header’s Type field encoding




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Example: For LE test packets with 0x0F payload contents (‘11110000’ in
transmission order) and with an LE test packet payload length of 37 bytes (296
bits), the LE test packet header and length type field will be
‘1000000010100100’ in transmission order.




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Direct Test Mode

4.1.5 LE Test Packet Payload Description

The LE test packet payload content alternatives required for the Bluetooth low
energy RF PHY conformance tests are:

PRBS9:
A 9-bit pseudorandom binary sequence used for wanted signal payload con-
tent. The PRBS9 sequence repeats itself after the (29 -1 = 511) bit. The PRBS9
sequence may be generated in a nine stage shift register whose 5th and 9th
stage outputs are added in a modulo-two addition stage (see Figure 4.5) and
the result is fed back to the input of the first stage. The sequence begins with
the first ONE of 9 consecutive ONEs (i.e. the shift register is initialized with nine
ONEs).




                                                   +
Figure 4.5: Linear feedback shift register for generation of the PRBS9 sequence

The same pseudorandom sequence of bits shall be used for each transmission
(i.e. the packet is repeated).

PRBS15:
A 15-bit pseudorandom binary sequence that is used for the interfering signal
and can optionally be used for wanted signal payload content. The PRBS15
sequence repeats itself after the (215 -1 = 32767) bit. The PRBS15 sequence
may be generated in a fifteen stage shift register whose 14th and 15th stage
outputs are added in a modulo-two addition stage (See Figure 4.6) and the
result is fed back to the input of the first stage. The sequence begins with the
first ONE of 15 consecutive ONEs (i.e., the shift register is initialized with fifteen
ONEs).

This PRBS15 definition is consistent with ITU T-REC-01 150-199605-I.
SERIES O: SPECIFICATIONS OF MEASURING EQUIPMENT - Equipment for
the measurement of digital and analogue/digital parameters.




                                                                                       +

Figure 4.6: Linear feedback shift register for generation of the PRBS15 sequence

The same pseudorandom sequence of bits shall be used for each transmission
(i.e. the packet is repeated).



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10101010:
Repeated sequence of alternating 1’s and 0’s, starting at the first payload bit
and ending at the start of the first bit in the CRC field. This pattern is used to
verify the frequency deviation and the Gaussian filtering properties of the trans-
mitter modulator.

11110000:
Repeated sequence of alternating 0’s and 1’s in groups of four (i.e.
1111000011110000…), starting at the first payload bit and ending at the start of
the first bit in the CRC field. This pattern is used to verify the frequency devia-
tion and the Gaussian filtering properties of the transmitter modulator.




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Direct Test Mode

4.1.6 LE Test Packet Interval

While in LE direct TX mode, LE test packets shall be transmitted from the EUT
with a packet interval I(L) as defined below; see the top half of Figure 4.7 for
reference.

While in LE direct RX mode, the nominal packet interval of the LE test packets
transmitted from the tester is I(L), but the tester packet interval may be
extended to a maximum of T(L) upon change of the dirty transmitter parameter
settings and during verification of the EUT PER reporting functionality. See the
bottom half of Figure 4.7 for reference.

                L                I(L)

                                               (87WUDQVPLWWHVWHUUHFHLYH
 From EUT




                                                                                                    t

                    , / 3DFNHWLQWHUYDOPD[ , / PVPV
 From Tester




                                                                                                    t
                                        7HVWHUWUDQVPLW(87UHFHLYH


Figure 4.7: LE Test packet interval in LE Direct Test Mode


For an LE Test Packet length of L µs, I(L) = ceil((L + 249) / 625) * 625 µs,
where ceil(x) is the smallest integer greater than or equal to x, and T(L) = max
(I(L) + 10 ms, 12.5 ms).




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          Core System
          Package [Wireless
          Coexistence volume]



          Specification of the Bluetooth® System

          Specification Volume 7




          Covered Core Package Version: 5.0
          Publication Date: Dec 06 2016
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Revision History
The Revision History is shown in the [Vol 0] Part C, Appendix.

Contributors
The persons who contributed to this specification are listed in the [Vol 0] Part C,
Appendix.

Web Site
This specification can also be found on the official Bluetooth web site:
https://www.bluetooth.org/en-us/specification/adopted-specifications




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     Core System Package [Wireless Coexistence volume]
                                                               Part A




             PART A: MWS COEXISTENCE
                    LOGICAL SIGNALING
                        SPECIFICATION




                         This part specifies the Mobile Wireless
                         Standards (MWS) coexistence logical
                         interface between the Host Controller
                         and an MWS device.




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MWS Coexistence Logical Signaling Specification


1 INTRODUCTION

This part of the Bluetooth Core Specification describes the MWS Coexistence
Logical Signaling. A Bluetooth Controller may incorporate a real-time transport
interface to transport the logical signals defined in this section between the
Bluetooth Controller and an MWS device.

Figure 1.1 depicts the signaling and messaging architecture.


                                               This interface is implementation specific




                                                                                                                            Bluetooth Host




                                                                                                                                 HCI
                                                        MWS Coex Transport Interface




                                             Physical Bus                                  Physical Bus
                                          Physical Bus                                  Physical Bus
                        MWS Coex                                  MWS Coex                                  MWS Coex          Bluetooth
         MWS Device                     Bus Hardware                                  Bus Hardware
                      Logical Signals                            Physical Bus                             Logical Signals     Controller




Figure 1.1: Coexistence signaling/messaging architecture


MWS Coexistence logical signaling is designed to enable a standard interface
to allow an MWS device and a Bluetooth Controller to exchange information
and support cooperative coexistence.

MWS Coexistence logical signaling defines a set of signals between the
collocated Bluetooth Controller and MWS device. Those signals carry time
critical, real-time information such as the start point of an MWS frame. The
coexistence logical signaling architecture also includes a transparent data
messaging mechanism to enable passing of information between the MWS
device and Bluetooth Controller when such information cannot tolerate the long
latency (tens of milliseconds) of the signaling path via the Bluetooth Host.




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2 LOGICAL INTERFACE

2.1 COEXISTENCE SIGNALS
Table 2.1 defines the logical signals. These logical signals assist in time
alignment, protecting the MWS device and the Bluetooth Controller from
mutual interference, thus maximizing the usability of the Bluetooth radio.

 Name                                   Direction         Description

 FRAME_SYNC                             MWS → Bluetooth   See Section 2.1.1
 MWS_RX                                 MWS → Bluetooth   See Section 2.1.2
 BLUETOOTH_RX_PRI                       Bluetooth → MWS   See Section 2.1.3

 BLUETOOTH_TX_ON                        Bluetooth → MWS   See Section 2.1.4
 MWS_PATTERN                            MWS → Bluetooth   See Section 2.1.5
 MWS_TX                                 MWS → Bluetooth   See Section 2.1.6

 802_RX_PRI                             Bluetooth → MWS   See Section 2.1.7
 802_TX_ON                              Bluetooth → MWS   See Section 2.1.8
 MWS_INACTIVITY_DURATION                MWS → Bluetooth   See Section 2.1.9

 MWS_SCAN_FREQUENCY                     MWS → Bluetooth   See Section 2.1.10
Table 2.1: Coexistence signals

The first 8 of these (FRAME_SYNC, MWS_RX, BLUETOOTH_RX_PRI,
BLUETOOTH_TX_ON, MWS_PATTERN, MWS_TX, 802_RX_PRI, and
802_TX_ON) are also referred to as the "real-time coexistence signals".

Many of the signals have associated parameters, which are configured by the
Bluetooth Host using HCI commands. There is no requirement for signals that
are used internally to be connected to an external interface, although testing
requires external control of the FRAME_SYNC signal. For example, a combo-
device that integrates a Bluetooth Controller and an MWS radio together does
not need to bring out the coexistence signals.

Section 2.2 provides recommended values for the defined offset and jitter
parameters.

2.1.1 FRAME_SYNC

The FRAME_SYNC signal is sent by the MWS device to indicate the time of
the beginning of MWS frames according to the MWS network timing. It
provides the anchor point for the Bluetooth Controller to properly align
Bluetooth transmission and reception activity with the MWS network frame
structure. The time when FRAME_SYNC is sent over the transport, adjusted
for Ext_Frame_Sync_Assert_Offset, indicates the start time of the first

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Period_Duration parameter in the HCI_Set_External_Frame_Configuration
command.

The MWS device will inform the Bluetooth Controller about changes to the
layout and timing of the MWS frame by issuing new
HCI_Set_External_Frame_Configuration commands.




 MWS Frame             Period[0]            Period[1]         Period[2]         Period[3]          Period[0]     Period[1]




 FRAME_SYNC

                                          MWS_Frame_Sync_Offset



                                               MWS_Frame_Duration



                    Period_Duration[0]                   Period_Duration[2]
                                         Period_Duration[1]                   Period_Duration[3]


Figure 2.1: Illustration of FRAME_SYNC


2.1.2 MWS_RX

The MWS_RX signal is sent by the MWS device to indicate that an MWS
reception is occurring and to request that the Bluetooth Controller cease
ongoing transmission and not start a new transmission. The Bluetooth
Controller can occasionally disregard the MWS_RX signal for critical
transmissions.

The MWS RX signal should be de-asserted at the time an MWS device stops
actively receiving. If there are multiple distinct periods of reception within an
MWS downlink duration, the signal may stay asserted until the last period has
finished receiving.

2.1.3 BLUETOOTH_RX_PRI

The BLUETOOTH_RX_PRI signal is used by the Bluetooth Controller to
request that the MWS device cease its transmission and/or refrain from starting
a transmission because the Bluetooth Controller is expecting a high priority
reception.

The signal should be used minimally by the Bluetooth system so as not to
adversely affect the MWS system. There is no guarantee that the MWS device
will honor the signal and not transmit or abort an ongoing transmission.




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2.1.4 BLUETOOTH_TX_ON

The BLUETOOTH_TX_ON signal is sent by the Bluetooth Controller to indicate
that it is actively transmitting.

2.1.5 MWS_PATTERN

The MWS_PATTERN signal is sent by the MWS device to inform the Bluetooth
Controller which MWS_PATTERN is in use.

Up to three different MWS_PATTERNs can be selected: 0, 1, and 2. The MWS
device may indicate that the MWS_PATTERN has not changed by setting it to
3. The definitions of the patterns are communicated to the Bluetooth Controller
using the HCI_Set_MWS_PATTERN_Configuration command. If the pattern is
not currently configured, the behaviour is equivalent to setting a pattern that
allows unrestricted activity by the Bluetooth Controller.

At the start of each MWS Frame, as defined by the FRAME_SYNC signal plus
the MWS_Frame_Sync_Offset, the most recent MWS_PATTERN value takes
effect as follows.
• If it is 3, the current pattern continues in use.
• If it is the index of the current pattern, then that pattern is restarted.
• Otherwise the indicated pattern is started.

2.1.6 MWS_TX

The MWS_TX signal is sent by the MWS device to indicate its transmission state.

The signal should be asserted at the beginning of an MWS transmission and
de-asserted at the end of a transmission. If there are multiple transmission
periods during an uplink frame, the signal may stay asserted until the end of
the last transmission period.

2.1.7 802_TX_ON

Bluetooth technology and 802.11 may be collocated and share an interface to
coordinate access to the 2.4 GHz ISM band.

The 802_TX_ON is used by the 802.11 device to indicate the state of the
802.11 transmission.

Interference generated by 802.11 to the MWS device will not necessarily be
distinguishable from interference created by Bluetooth transmissions.

This signal allows the MWS device to distinguish the interference generated by
802.11 transmissions from the interference generated by the Bluetooth
transmissions. The MWS device can use that information to optimize its channel
access.

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2.1.8 802_RX_PRI

This signal requests that the MWS device stop or refrain from any transmission
because the WLAN device collocated with the Bluetooth Controller is expecting
a high priority reception.

The signal should be used minimally by the 802.11 system so as not to
adversely affect the MWS system. There is no guarantee that the MWS device
will honor the signal and not transmit or abort an ongoing transmission.

2.1.9 MWS_INACTIVITY_DURATION

The MWS_INACTIVITY_DURATION signal provides the time duration until the
MWS device is active again. Subsequent MWS_INACTIVITY_DURATION
signals override previously sent time durations.

MWS_INACTIVITY_DURATION may be set to zero (i.e. cancel), infinite, or a
positive finite duration. The transport layer defines the value for infinite duration
and the set of finite durations available.

2.1.10 MWS_SCAN_FREQUENCY

The MWS_SCAN_FREQUENCY signal provides an index to a table of RF
frequencies during MWS scan operation.

The MWS device signals MWS_SCAN_FREQUENCY if it starts an inter-
frequency scan.

Setting MWS_SCAN_FREQUENCY to a non-zero value indicates the start of
the MWS scan period. Setting MWS_SCAN_FREQUENCY to zero indicates
the end of the scan period.

The Bluetooth Controller should avoid any transmissions that can interfere with
the scan while a scan is active. The Bluetooth Controller can occasionally
disregard the signal for critical transmissions.

2.2 TOLERANCES FOR OFFSETS AND JITTER
This section lists the recommended tolerances for the signal assertion and de-
assertion offsets and jitter for those signals. Note: The transmitting side should
use a value within the range and the receiving side should accept any value
within the range and may accept other values.

An offset is a static advance notification or delay between the real physical
event and the time when the corresponding signal is issued.

Jitter is variation in the timing of each signal from ideal timing.




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Signals that are turned on and off around a period of time have specified
values for both assertion and de-assertion offsets and jitter. Signals that
represent a single event at a single instant in time have only assertion offset
and jitter timing specified.

All jitter values are given as an unsigned value representing the maximum
allowable jitter in positive and negative directions. De-assertion and
MWS_Frame_Sync_Assert_Offset may be negative (i.e., signal is asserted
before the event) or positive (i.e., signal is asserted after the event). All other
assertion signals should be negative (i.e., signal is issued before the event).

                          t1           t2                      t3                      t4


     Activity




     Signal

                    Signal_Assert_Offset = t1-t2            Signal_Deassert_Offset = t3-t4

Figure 2.2: Signal with negative Assert Offset and negative De-assert Offset



                         t1                 t2                                   t3 t4


    Activity




    Signal

                     Signal_Assert_Offset = t1-t2                   Signal_Deassert_Offset = t4-t3

Figure 2.3: Signal with negative Assert Offset and positive De-assert Offset




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                                    t1                                           t2


    Ideal Signal


                             t1-x        t1+x                             t2-y        t2+y
    Possible Signal
    Variations


                        Signal_Assert_Jitter = ±x                  Signal_Deassert_Jitter = ±y

Figure 2.4: Signal assertion and de-assertion jitter



 Parameter                                          Earliest               Latest

 MWS_Frame_Sync_Assert_Offset                       -Ext_Frame_Duration    +Ext_Frame_Duration
 MWS_Frame_Sync_Assert_Jitter                       N/A                    ±3 µs

 MWS_Rx_Assert_Offset                               -2 ms                  -20 µs
 MWS_Rx_Assert_Jitter                               N/A                    ±5 µs
 MWS_Rx_Deassert_Offset                             -2 ms                  0

 MWS_Rx_Deassert_Jitter                             N/A                    ±5 µs
 MWS_Tx_Assert_Offset                               -2 ms                  0
 MWS_Tx_Assert_Jitter                               N/A                    ±5 µs

 MWS_Tx_Deassert_Offset                             -2 ms                  0
 MWS_Tx_Deassert_Jitter                             N/A                    ±5 µs
 MWS_Pattern_Assert_Offset                          0                      +Ext_Frame_Duration

 MWS_Pattern_Assert_Jitter                          N/A                    ±5 µs
 MWS_Inactivity_Duration_Assert_Offset              0                      +Ext_Frame_Duration
 MWS_Inactivity_Duration_Assert_Jitter              N/A                    ±5 µs

 MWS_Scan_Frequency_Assert_Offset                   -2 ms                  -20 µs
 MWS_Scan_Frequency_Assert_Jitter                   N/A                    ±5 µs
 Bluetooth_Rx_Priority_Assert_Offset                -1 ms                  0

 Bluetooth_Rx_Priority_Assert_Jitter                N/A                    ±5 µs
 Bluetooth_Rx_Priority_Deassert_Offset              -1 ms                  0

 Bluetooth_Rx_Priority_Deassert_Jitter              N/A                    ±5 µs
 802_Rx_Priority_Assert_Offset                      -1 ms                  0
 802_Rx_Priority_Assert_Jitter                      N/A                    ±5 µs

Table 2.2: Tolerances for offsets and jitter


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 Parameter                                     Earliest   Latest

 802_Rx_Priority_Deassert_Offset               -1 ms      0
 802_Rx_Priority_Deassert_Jitter               N/A        ±5 µs
 Bluetooth_Tx_On_Assert_Offset                 -100 µs    0

 Bluetooth_Tx_On_Assert_Jitter                 N/A        ±5 µs
 Bluetooth_Tx_On_Deassert_Offset               0          100 µs
 Bluetooth_Tx_On_Deassert_Jitter               N/A        ±5 µs

 802_Tx_On_Assert_Offset                       -100 µs    0
 802_Tx_On_Assert_Jitter                       N/A        ±5 µs
 802_Tx_On_Deassert_Offset                     0          100 µs

 802_Tx_On_Deassert_Jitter                     N/A        ±5 µs
 MWS_Priority_Assert_Offset_Request            -1 ms      -200 µs

Table 2.2: Tolerances for offsets and jitter




Logical Interface                                                   06 December 2016
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     Core System Package [Wireless Coexistence volume]
                                                               Part B




  PART B: WIRELESS COEXISTENCE
  INTERFACE 1 (WCI-1) TRANSPORT
                  SPECIFICATION




                          This part specifies the MWS Wireless
                          Coexistence Interface 1 (WCI-1)
                          Transport Interface between the
                          Bluetooth Controller and an MWS
                          device.




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Wireless Coexistence Interface 1 (WCI-1) Transport Specification


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Wireless Coexistence Interface 1 (WCI-1) Transport Specification


1 INTRODUCTION

This part of the Bluetooth Core Specification describes the MWS Wireless
Coexistence Interface 1 (WCI-1) Transport for a Bluetooth Controller. It
provides a half-duplex UART carrying logical signals framed as UART
characters. Only the TXD and RXD UART signals are used.

Note: The physical layers for WCI-1 and WCI-2 (See [Vol 7] Part C) differ but
the transport layers are identical.




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Wireless Coexistence Interface 1 (WCI-1) Transport Specification


2 PHYSICAL LAYER

The WCI-1 physical layer multiplexes the UART TXD and RXD onto a single
wire, using drive strengths to resolve contention. The MWS device uses direct
drive to transmit its signals, while the Bluetooth Controller uses a pull up / pull
down drive to transmit its signals. The configuration is illustrated in Figure 2.1.

                  MWS Device                                                  Bluetooth Controller


                                                                                              Signaling logic
                Signaling logic
                                                                                             (implementation
          (implementation specific)
                                                                                                 specific)
                                                                               PU
                                            Bluetooth ļ MWS
                                 EN           (PCB routing)
                                           IO                IO                          O

                                                      Bus
                                                      Capacitance
                                                                               PD




Figure 2.1: WCI-1 physical interface


A high voltage on the wire shall be interpreted as a logical 1 and a low voltage
shall be interpreted as a logical 0. The actual voltage levels are vendor
specific.

The MWS device output buffer shall be in the high impedance state when it is
not transmitting. The Bluetooth Controller shall be in the pulled-up state when it
is not transmitting.

The MWS device may transmit at any time, using the waveform illustrated in
Figure 2.2.


       PREAMBLE            START      b0   b1    b2        b3       b4   b5         b6       b7      STOP


Figure 2.2: UART waveform for MWS-to-Bluetooth signals


Every MWS-to-Bluetooth message shall be preceded by a preamble, which
consists of 5 bits ‘01011’ (in transmission order). The preamble is sent at a
baud rate that is at least twice the baud rate of Bluetooth-to-MWS signals1. The
nominal drive strength for the preamble should be targeted at no more than
250Ω equivalent output resistance. The Bluetooth Controller shall be able to
detect the preamble and go into the reception mode to receive the message


1. The preamble baud rate should be one that is supported by the underlying UART of the
   Bluetooth device.


Physical Layer                                                                                06 December 2016
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that follows. If the Bluetooth Controller detects a preamble while it is
transmitting, it shall stop the transmission and go into the reception mode. After
completion of the reception, it may retransmit the message that was
interrupted.

When the Bluetooth Controller is not in the reception mode, it may transmit a
message using the pull up / pull down mechanism. The nominal pull strength
should be targeted at 4 kΩ ± 1 kΩ equivalent resistance for both pull up and
pull down. The Bluetooth-to-MWS waveform is illustrated in Figure 2.3.


                 START    b0       b1    b2     b3      b4     b5     b6   b7   STOP


Figure 2.3: UART waveform for Bluetooth-to-MWS signals


2.1 PHYSICAL SIGNAL SPECIFICATIONS (INFORMATIVE)
The tables below provide more complete specifications for the physical signals.
They are provided as a reference to device makers:

                                                                            Value
 Symbol      Parameter                        Condition
                                                                Min             Max

 VIL         Low level input voltage          VDD=1.8~2.5V1     -0.5V           0.2VDD

 VIH         High level input voltage         VDD =1.8~2.5V1    0.8 VDD         VDD+0.5V

 VOL         Low level output voltage         VDD =1.8~2.5V1    0               0.1VDD
             (with extra pull high RB)
                                              RB=2.5kΩ

 VOH         High level output voltage        VDD=1.8~2.5V1     0.9VDD          VDD
             (with extra pull low RB)
                                              RB=2.5kΩ

 CIO         Capacitance for I/O                                --              5pF

 CB          Capacitive load for bus                            --              10pF

 RON         Turn on impedance                                                  250Ω

 TR          Rise time (10% to 90%            RB=2.5kΩ          --              50 ns
             swing time, with extra pull
                                              CL=15pF
             low RB and capacitive load
             CL = CB + other IO)

 TF          Fall time (90% to 10% swing      RB=2.5kΩ          --              50 ns
             time, with extra pull high RB
                                              CL=15pF
             and capacitive load CL = CB
             + other IO)
Table 2.1: WCI-1 UART physical signal specification for the MWS device



Physical Layer                                                                   06 December 2016
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Wireless Coexistence Interface 1 (WCI-1) Transport Specification


                                                                           Value
 Symbol      Parameter                         Condition
                                                                Min            Max

 F           Frequency                                          (1-1%)*4MHz2   (1+1%)*4MHz2

 CLKj        Clock jitter                                                      1%

Table 2.1: WCI-1 UART physical signal specification for the MWS device




                                                                          Value
 Symbol          Parameter                     Condition
                                                                Min            Max

 VIL             Low level input voltage       VDD =1.8~2.5V1   -0.5V          0.2VDD

 VIH             High level input voltage      VDD =1.8~2.5V1   0.8VDD         VDD+0.5V

 VOL             Low level output voltage      VDD =1.8~2.5V1   0              0.1VDD

 VOH             High level output voltage     VDD =1.8~2.5V1   0.9VDD         VDD

 CIO             Capacitance for I/O                            --             5 pF

 CB              Capacitive load for bus                        --             10 pF

 RP              Pull up/pull down                              3kΩ            5kΩ
                 resistance
 TR              Rise time (10% to 90%         CL=15pF          --             220 ns
                 swing time, with capacitive
                 load CL = CB + other IO)

 TF              Fall time (90% to 10%         CL =15pF         --             220 ns
                 swing time, with capacitive
                 load CL = CB + other IO)

 F               Frequency                                      (1-1%)*1MHz2   (1+1%)*1MHz2

 CLKj            Clock jitter                                                  1%

Table 2.2: WCI-1 UART physical signal specification for the Bluetooth Controller

Notes:
1. The voltage levels are vendor specific. The tables in this section do not
   cover all possible ranges of voltage for all devices, nor is it required that a
   single device be able to operate in the full range indicated here.
2. The frequencies are vendor specific.




Physical Layer                                                                  06 December 2016
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Wireless Coexistence Interface 1 (WCI-1) Transport Specification


3 TRANSPORT LAYER

The transport layer defines the mapping of the logical coexistence signals (see
[Vol 7] Part A) onto the physical transport channel.

The 8-bit UART character is divided into two portions with three bits for the
message type indicator and five bits for the message body. The bit with index 0
is the LSB and shall be transmitted first.

 b0               b1          b2        b3         b4          b5          b6             b7

 Type[0]          Type[1]     Type[2]   MSG[0]     MSG[1]      MSG[2]      MSG[3]         MSG[4]
Table 3.1: Transport layer format


3.1 MESSAGE TYPES
This section describes the message formats for the logical coexistence signals.
The message types are listed in Table 3.2.

 Message Type
 Indicator                  Direction                   Message Type

 0                          MWS ↔ Bluetooth             Real-time Signal message

 1                          MWS ↔ Bluetooth             Transport Control message

 2                          MWS ↔ Bluetooth             Transparent Data message

 3                          MWS → Bluetooth             MWS Inactivity Duration message

                            Bluetooth → MWS             RFU

 4                          MWS → Bluetooth             MWS Scan Frequency message

                            Bluetooth → MWS             RFU

 5                          MWS → Bluetooth             RFU

                            Bluetooth → MWS             RFU

 6                                                      Vendor specific

 7                                                      Vendor specific
Table 3.2: Message types

The logical coexistence signals are listed in Table 3.3.

 Signal Name                                     Description

 FRAME_SYNC                                      See [Vol 7] Part A, Section 2.1.1
Table 3.3: Coexistence signals


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Wireless Coexistence Interface 1 (WCI-1) Transport Specification


 Signal Name                                 Description

 MWS_RX                                      See [Vol 7] Part A, Section 2.1.2
 BLUETOOTH_RX_PRI                            See [Vol 7] Part A, Section 2.1.3
 BLUETOOTH_TX_ON                             See [Vol 7] Part A, Section 2.1.4

 MWS_PATTERN                                 See [Vol 7] Part A, Section 2.1.5
 MWS_TX                                      See [Vol 7] Part A, Section 2.1.6
 802_TX_ON                                   See [Vol 7] Part A, Section 2.1.7

 802_RX_PRI                                  See [Vol 7] Part A, Section 2.1.8
 MWS_INACTIVITY_DURATION                     See [Vol 7] Part A, Section 2.1.9
 MWS_SCAN_FREQUENCY                          See [Vol 7] Part A, Section 2.1.10

Table 3.3: Coexistence signals

3.1.1 Real-time Signal Message (Type 0)

The Real-time Signal message is used to transport the real-time coexistence
signals (see [Vol 7] Part A) over the WCI-1 transport interface.

The Real-time Signal message conveys all the real-time coexistence signals in
one message. The time reference point for the Real-time Signal message is
the end of MSG[4] (i.e. the transition to the STOP bit).

Two Real-time Signal messages are defined, one from the Bluetooth Controller
to the MWS device and another from the MWS device to the Bluetooth
Controller.

 MSG[0]             MSG[1]        MSG[2]       MSG[3]                  MSG[4]

 FRAME_SYNC         MWS_RX        MWS_TX       MWS_PATTERN[0]          MWS_PATTERN[1]

Table 3.4: Real-time Signal message from MWS device to Bluetooth Controller


 MSG[0]                    MSG[1]                   MSG[2]           MSG[3]            MSG[4]

 BLUETOOTH_RX_PRI          BLUETOOTH_TX_ON          802_RX_PRI       802_TX_ON         RFU

Table 3.5: Real-time Signal message from Bluetooth Controller to MWS device




Transport Layer                                                                  06 December 2016
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Wireless Coexistence Interface 1 (WCI-1) Transport Specification

3.1.2 Transport Control Message (Type 1)

The Transport Control message can request state information from the MWS
device’s coexistence interface.

 MSG[0]                                MSG[1]        MSG[2]         MSG[3]           MSG[4]

 RESEND_REAL_TIME                      RFU           RFU            RFU              RFU

Table 3.6: Transport Control message


 Signal Name               Description

 RESEND_REAL_TIME          This bit is set if a device wants to get a status update of the real-
                           time coexistence signals. The signal is usually used after wake-
                           up from sleep of the transport interface.
                           If the receiving device’s transport interface is awake it shall send
                           a Real-time message with the current status of the real-time
                           coexistence signals within 4 UART character periods. If the signal
                           is not received within 4 UART character periods the device is con-
                           sidered asleep.

Table 3.7: Transport control signals


3.1.3 Transparent Data Message (Type 2)

The Transparent Data message can be used to exchange non-time critical
signals between the MWS device and the Bluetooth Controller. The interface
does not guarantee the delivery of a message. Protocol and content of the
message are vendor specific.

The least significant nibble of each octet shall be transmitted first.

A least significant nibble shall be discarded if the next nibble is a least
significant nibble. A most significant nibble shall only be accepted if the
preceding nibble was a least significant nibble.

 MSG[0]                        MSG[1]           MSG[2]           MSG[3]             MSG[4]

 NIBBLE_POSITION               DATA[0] /        DATA[1] /        DATA[2] /          DATA[3] /
                               DATA[4]          DATA[5]          DATA[6]            DATA[7]
Table 3.8: Transparent Data message


 Signal Name                                       Description

 NIBBLE_POSITION                                   0 – Least Significant Nibble
                                                   1 – Most Significant Nibble
 DATA[n]; n = 0..7                                 Data bits of the message octet

Table 3.9: Transparent data bits




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Wireless Coexistence Interface 1 (WCI-1) Transport Specification

3.1.4 MWS Inactivity Duration Message (Type 3)

The MWS Inactivity Duration message is used to send the
MWS_INACTIVITY_DURATION signal from the MWS device to the Bluetooth
Controller.

The message is sent at the beginning of an MWS inactivity period.

 MSG[0]            MSG[1]             MSG[2]            MSG[3]            MSG[4]

 DURATION[0]       DURATION[1]        DURATION[2]       DURATION[3]       DURATION[4]
Table 3.10: MWS Inactivity Duration message

The MWS Inactivity Duration is encoded in 5 bits. DURATION is unsigned.

When DURATION = 0, MWS_INACTIVITY_DURATION is cancelled.
When DURATION = 31, MWS_INACTIVITY_DURATION is infinite.
Otherwise, MWS_INACTIVITY_DURATION is given by the formula:
   MWS_INACTIVITY_DURATION = DURATION * 5 ms

3.1.5 MWS Scan Frequency Message (Type 4)

The MWS Scan Frequency message is used to send the
MWS_SCAN_FREQUENCY signal from the MWS device to the Bluetooth
Controller.

 MSG[0]              MSG[1]            MSG[2]            MSG[3]           MSG[4]

 FREQ[0]             FREQ[1]           FREQ[2]           FREQ[3]          FREQ[4]

Table 3.11: MWS Scan Frequency message

The MWS Scan Frequency index is encoded in 5 bits. FREQ is unsigned.




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     Core System Package [Wireless Coexistence volume]
                                                               Part C




  PART C: WIRELESS COEXISTENCE
  INTERFACE 2 (WCI-2) TRANSPORT
                 SPECIFICATION




                          This part specifies the MWS Wireless
                          Coexistence Interface 2 (WCI-2)
                          Transport Interface between the
                          Bluetooth Controller and an MWS
                          device.




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Wireless Coexistence Interface 2 (WCI-2) Transport Specification


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Wireless Coexistence Interface 2 (WCI-2) Transport Specification


1 INTRODUCTION

This part of the Bluetooth Core Specification describes the MWS Wireless
Coexistence Interface 2 (WCI-2) Transport Interface for a Bluetooth Controller.

Note: The physical layers for WCI-2 and WCI-1 (see volume 7 part B) differ but
the transport layers are identical.




Introduction                                                             06 December 2016
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Wireless Coexistence Interface 2 (WCI-2) Transport Specification


2 PHYSICAL LAYER

The WCI-2 Transport is based on a standard full duplex UART carrying logical
signals framed as UART characters. Only the TXD and RXD UART signals are
used. The interface supports multiple logical channels.

The messaging is based on a standard UART format.


                 START    b0    b1      b2   b3    b4     b5       b6   b7     STOP


Figure 2.1: UART waveform


The UART signals shall be connected in a null-modem fashion; i.e. the local
TXD shall be connected to the remote RXD and vice versa.


                         MWS Device                     Bluetooth Controller




                                      TXD               RXD




                                      RXD               TXD




Figure 2.2: WCI-2 physical interface




Physical Layer                                                                 06 December 2016
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Wireless Coexistence Interface 2 (WCI-2) Transport Specification


3 TRANSPORT LAYER

The transport layer defines the mapping of the logical signals (see [Vol 7] Part
A) onto the physical transport channel.

The 8 bit UART character is divided into two portions with three bits for the
message type indicator and five bits for the message body. The bit with index 0
is the LSB and shall be transmitted first.

 b0               b1          b2        b3           b4          b5          b6           b7

 Type[0]          Type[1]     Type[2]   MSG[0]       MSG[1]      MSG[2]      MSG[3]       MSG[4]
Table 3.1: Transport layer format


3.1 MESSAGE TYPES
This section describes the message formats for the logical coexistence signals.
The message types are listed in Table 3.2.

 Message Type
 Indicator                  Direction                     Message Type

 0                          MWS ↔ Bluetooth               Real-time Signal message

 1                          MWS ↔ Bluetooth               Transport Control message

 2                          MWS ↔ Bluetooth               Transparent Data message

 3                          MWS → Bluetooth               MWS Inactivity Duration message

                            Bluetooth → MWS               RFU

 4                          MWS → Bluetooth               MWS Scan Frequency message

                            Bluetooth → MWS               RFU

 5                          MWS → Bluetooth               RFU

                            Bluetooth → MWS               RFU

 6                                                        Vendor specific

 7                                                        Vendor specific
Table 3.2: Message types

The logical coexistence signals are listed in Table 3.3.

 Logical Signal Name                             Description

 FRAME_SYNC                                      See [Vol 7] Part A, Section 2.1.1
Table 3.3: Coexistence signals


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Wireless Coexistence Interface 2 (WCI-2) Transport Specification


 Logical Signal Name                       Description

 MWS_RX                                    See [Vol 7] Part A, Section 2.1.2
 BLUETOOTH_RX_PRI                          See [Vol 7] Part A, Section 2.1.3
 BLUETOOTH_TX_ON                           See [Vol 7] Part A, Section 2.1.4

 MWS_PATTERN                               See [Vol 7] Part A, Section 2.1.5
 MWS_TX                                    See [Vol 7] Part A, Section 2.1.6
 802_TX_ON                                 See [Vol 7] Part A, Section 2.1.7

 802_RX_PRI                                See [Vol 7] Part A, Section 2.1.8
 MWS_INACTIVITY_DURATION                   See [Vol 7] Part A, Section 2.1.9
 MWS_SCAN_FREQUENCY                        See [Vol 7] Part A, Section 2.1.10

Table 3.3: Coexistence signals

3.1.1 Real-time Signal Message (Type 0)

The Real-time Signal message is used to transport the real-time coexistence
signals (see [Vol 7] Part A) over the WCI-2 transport.

The Real-time Signal message conveys all the real-time coexistence signals in
one message. The time reference point for the Real-time Signal message is
the end of MSG[4] (i.e. the transition to the Stop bit).

Two Real-time Signal messages are defined, one from the Bluetooth Controller
to the MWS device and another from the MWS device to the Bluetooth
Controller.

 MSG[0]            MSG[1]         MSG[2]        MSG[3]                MSG[4]

 FRAME_SYNC        MWS_RX         MWS_TX        MWS_PATTERN[0]        MWS_PATTERN [1]

Table 3.4: Real-time Signal message from MWS device to Bluetooth Controller


 MSG[0]                     MSG[1]                  MSG[2]          MSG[3]           MSG[4]

 BLUETOOTH_RX_PRI           BLUETOOTH_TX_ON         802_RX_PRI      802_TX_ON        RFU

Table 3.5: Real-time Signal message from Bluetooth Controller to MWS device




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Wireless Coexistence Interface 2 (WCI-2) Transport Specification

3.1.2 Transport Control Message (Type 1)

The Transport Control message can request state information from the MWS
device’s coexistence interface.

 MSG[0]                                MSG[1]        MSG[2]          MSG[3]          MSG[4]

 RESEND_REAL_TIME                      RFU           RFU             RFU             RFU

Table 3.6: Transport Control message


 Signal Name                Description

 RESEND_REAL_TIME           This bit is set if a device wants to get a status update of the real-
                            time coexistence signals. The signal is usually used after wake-
                            up from sleep of the transport interface.
                            If the receiving device’s transport interface is awake it shall send
                            a Real-time message with the current status of the real-time
                            coexistence signals within 4 UART character periods. If the sig-
                            nal is not received within 4 UART character periods the device is
                            considered asleep.

Table 3.7: Transport control signals


3.1.3 Transparent Data Message (Type 2)

The Transparent Data message can be used to exchange non-time critical
messages between the MWS device and the Bluetooth Controller. The
interface does not guarantee the delivery of a message. Protocol and content
of the message are vendor specific.

The least significant nibble of each octet shall be transmitted first.

A least significant nibble shall be discarded if the next nibble is a least
significant nibble. A most significant nibble shall only be accepted if the
preceding nibble was a least significant nibble.

 MSG[0]                         MSG[1]           MSG[2]           MSG[3]            MSG[4]

 NIBBLE_POSITION                DATA[0]/         DATA[1]/         DATA[2]/          DATA[3]/
                                DATA[4]          DATA[5]          DATA[6]           DATA[7]
Table 3.8: Transparent Data message


 Signal Name                                       Description

 NIBBLE_POSITION                                   0 – Least Significant Nibble
                                                   1 – Most Significant Nibble
 DATA[n]; n=0 .. 7                                 Data bits of the message octet

Table 3.9: Transparent data bits




Transport Layer                                                                    06 December 2016
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Wireless Coexistence Interface 2 (WCI-2) Transport Specification

3.1.4 MWS Inactivity Duration Message (Type 3)

The MWS Inactivity Duration message is used to send the
MWS_INACTIVITY_DURATION signal from the MWS device to the Bluetooth
Controller.

The message is sent at the beginning of the MWS inactivity period.

 MSG[0]            MSG[1]             MSG[2]             MSG[3]           MSG[4]

 DURATION[0]       DURATION[1]        DURATION[2]        DURATION[3]      DURATION[4]
Table 3.10: MWS Inactivity Duration message

The MWS Inactivity Duration is encoded in 5 bits. DURATION is unsigned.

When DURATION = 0, MWS_INACTIVITY_DURATION is cancelled.
When DURATION = 31, MWS_INACTIVITY_DURATION is infinite.
Otherwise, MWS_INACTIVITY_DURATION is given by the formula:
   MWS_INACTIVITY_DURATION = DURATION * 5 ms

3.1.5 MWS Scan Frequency Message (Type 4)

The MWS Scan Frequency message is used to send the
MWS_SCAN_FREQUENCY signal from the MWS device to the Bluetooth
Controller.

 MSG[0]            MSG[1]             MSG[2]             MSG[3]           MSG[4]

 FREQ[0]           FREQ[1]            FREQ[2]            FREQ[3]          FREQ[4]
Table 3.11: MWS Scan Frequency message

The MWS Scan Frequency index is encoded in 5 bits. FREQ is unsigned.




Transport Layer                                                              06 December 2016
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                               unthinkably connected
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